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Name                    Address1                        Address2                      Address3   Address4         City               State Zip
MILLER, DOLORES G       5782 VICTOR DR                                                                            ELDERSBURG          MD 21784‐8920
MILLER, DOLORES G       5782 VICTOR DR.                                                                           ELDERSBURG          MD 21784‐8920
MILLER, DON
MILLER, DON J           3674 MILDRED AVE                                                                          ROCHESTER HLS      MI   48309‐4264
MILLER, DON R           3160 HUMPHREY HWY                                                                         PALMYRA            MI   49268‐9779
MILLER, DONALD          8504 RAIL FENCE RD                                                                        FORT WAYNE         IN   46835‐4494
MILLER, DONALD          625 MEADE ST                                                                              SAGINAW            MI   48602‐1163
MILLER, DONALD          6504 RAIL FENCE RD                                                                        FORT WAYNE         IN   46835‐4494
MILLER, DONALD          THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES       FL   33146
MILLER, DONALD          PO BOX 359                                                                                SOUTH SOLON        OH   43153‐0359
MILLER, DONALD          LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                   MIAMI              FL   33143‐5163
MILLER, DONALD A        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                        STREET, SUITE 600
MILLER, DONALD A        APT 222                         3221 EAST BALDWIN ROAD                                    GRAND BLANC        MI   48439‐7355
MILLER, DONALD A        24 ROOSEVELT DR                                                                           LOCKPORT           NY   14094‐5026
MILLER, DONALD A        118 PRESTWICK DR                                                                          BOARDMAN           OH   44512‐1015
MILLER, DONALD A        615 SOMERSET DR                                                                           FLUSHING           MI   48433‐1926
MILLER, DONALD A        BOX 452 306 E MAIN ST                                                                     WESTPHALIA         MI   48894
MILLER, DONALD ANDREW   615 SOMERSET DR                                                                           FLUSHING           MI   48433‐1926
MILLER, DONALD B        5885 DENISON DR                                                                           VENICE             FL   34293‐6803
MILLER, DONALD C        45856 LONE PINE LN                                                                        MACOMB             MI   48044‐6058
MILLER, DONALD C        98 PATRICK CT N                                                                           BATTLE CREEK       MI   49037‐1401
MILLER, DONALD C        502 E 4TH AVE                                                                             BRODHEAD           WI   53520‐1123
MILLER, DONALD D        PO BOX 589                                                                                GENESEE            MI   48437‐0589
MILLER, DONALD D        233 NW 131 HWY                  R4                                                        HOLDEN             MO   64040
MILLER, DONALD D        PO BOX 190426                                                                             BURTON             MI   48519
MILLER, DONALD E        61365 NORTH RIDGE TRAIL                                                                   WASHINGTON         MI   48094‐1128
MILLER, DONALD E        9877 11 MILE RD                                                                           MECOSTA            MI   49332‐9743
MILLER, DONALD E        36 LINCOLN CIR E                                                                          RED BANK           NJ   07701
MILLER, DONALD E        142 E TIMOTHY RIDGE RD                                                                    STRAFFORD          MO   65757‐7848
MILLER, DONALD E        330 E WILLIS RD                                                                           SALINE             MI   48176‐9210
MILLER, DONALD E        10619 N COUNTY LINE RD LOT 62                                                             WHITEWATER         WI   53190‐3150
MILLER, DONALD E        31128 CARRIAGE HILL CT                                                                    FARMINGTON HILLS   MI   48331‐1503
MILLER, DONALD E        735 SPENCER LN                                                                            LINDEN             MI   48451‐9667
MILLER, DONALD E        11701 MASON RD                                                                            CASTALIA           OH   44824‐9395
MILLER, DONALD E        2822 FREMBES RD                                                                           WATERFORD          MI   48329‐3617
MILLER, DONALD E        1500 GUTHRIE CROSSING DRIVE                                                               LOGANVILLE         GA   30052‐9404
MILLER, DONALD F        RR 3 BOX 1569                                                                             LINTON             IN   47441‐9766
MILLER, DONALD F        3720 GOODWILL CT                                                                          ABINGDON           MD   21009‐2048
MILLER, DONALD G        PO BOX 5336                     1710 INDIANA AVE                                          BRADENTON          FL   34281‐5336
MILLER, DONALD G        2137 HALLSTON ST                                                                          LAS VEGAS          NV   89134‐5104
MILLER, DONALD G        405 EARLY DR W                                                                            MIAMISBURG         OH   45342‐3303
MILLER, DONALD I        67 KELLER AVE                                                                             BUFFALO            NY   14217‐2503
MILLER, DONALD J        1312 DIMMERS RD                                                                           READING            MI   49274‐9877
MILLER, DONALD J        11601 WOODVIEW BLVD                                                                       PARMA HEIGHTS      OH   44130‐4314
MILLER, DONALD J        175 N 8TH ST UNIT 4F                                                                      WILLIAMSBURG       OH   45176‐1160
MILLER, DONALD K        12648 PLUM CREEK BLVD                                                                     CARMEL             IN   46033‐8202
MILLER, DONALD L        13024 S LAKE BREEZE                                                                       SAND LAKE          MI   49343‐8993
MILLER, DONALD L        609 W SUNRISE DR                                                                          BELTON             MO   64012‐2964
MILLER, DONALD L        15340 DUFFIELD RD                                                                         BYRON              MI   48418‐9543
MILLER, DONALD L        15696 MICHAEL ST                                                                          TAYLOR             MI   48180‐5018
MILLER, DONALD L        219 E MAIN ST                                                                             W CARROLLTON       OH   45449‐1417
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Name                    Address1                       Address2                      Address3   Address4         City                State Zip
MILLER, DONALD L        1602 YOUNCE ST                                                                           FRANKLIN             IN 46131‐1146
MILLER, DONALD L        2870 N GREENWOOD AVE                                                                     ARLINGTON HEIGHTS     IL 60004
MILLER, DONALD M        N6741 STATE RD #104                                                                      EVANSVILLE           WI 53536
MILLER, DONALD P        5677 SCOTCH RD                                                                           VASSAR               MI 48768‐9235
MILLER, DONALD R        207 S G ST                                                                               TILTON                IL 61833‐7817
MILLER, DONALD R        1831 S 600 W                                                                             NEW PALESTINE        IN 46163‐9790
MILLER, DONALD R        1903 KINGSTON DR                                                                         PINCKNEY             MI 48169‐8549
MILLER, DONALD R        6029 TRIUMPH LN W                                                                        JACKSONVILLE         FL 32244‐2405
MILLER, DONALD R        110 RASMUSSEN DR                                                                         TRUFANT              MI 49347‐9591
MILLER, DONALD R        3921 SUNVALLEY DR                                                                        NORMAN               OK 73026‐0635
MILLER, DONALD R        PO BOX 267                                                                               PURGITSVILLE         WV 26852‐0267
MILLER, DONALD R        5036 COUNTY LINE TURNPIKE RD                                                             SOUTHINGTON          OH 44470‐9783
MILLER, DONALD R        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                       STREET, SUITE 600
MILLER, DONALD R        5036 CITY LINE TNPK RD                                                                   SOUTHINGTON         OH   44470‐4470
MILLER, DONALD RALPH    1903 KINGSTON DR                                                                         PINCKNEY            MI   48169‐8549
MILLER, DONALD S        10830 BALFOUR AVE                                                                        ALLEN PARK          MI   48101‐1163
MILLER, DONALD S        10201 COUNTY ROAD 487                                                                    ATLANTA             MI   49709‐9084
MILLER, DONALD T        321 UNION ST                                                                             BELLEVUE            OH   44811‐1040
MILLER, DONALD W        9008 MOUNT HILL DR                                                                       LAKELAND            TN   38002‐4652
MILLER, DONALD W        4499 BROKEN BOW DR                                                                       GREENWOOD           IN   46143‐8726
MILLER, DONALD W        19411 GARFIELD                                                                           REDFORD             MI   48240‐1318
MILLER, DONALD W        1045 MADISON #222                                                                        FREDERICKTOWN       MO   63645
MILLER, DONALD W        35902 FIERIMONTE DRIVE                                                                   CLINTON TWP         MI   48035‐2120
MILLER, DONNA           43757 ROYAL SAINT GEORGE DR                                                              INDIO               CA   92201‐8903
MILLER, DONNA A         3575 OAKLEAF DR                                                                          WEST BLOOMFIELD     MI   48324‐2573
MILLER, DONNA B         2418 GOLDEN SHORE DR                                                                     FENTON              MI   48430‐1051
MILLER, DONNA G         7721 KENTUCKY ST                                                                         DEARBORN            MI   48126‐1207
MILLER, DONNA J         19932 OUTEN RD                                                                           SOUTH VEND          IN   46637
MILLER, DONNA K         715 CHERRYMONTE DR                                                                       COLUMBUS            OH   43228‐5702
MILLER, DONNA L         PO BOX 148                                                                               ATLANTA             IN   46031‐0148
MILLER, DONNA M         16731 RUTHERFORD ST                                                                      DETROIT             MI   48235‐3646
MILLER, DONNA M         5051 W STANLEY RD                                                                        MOUNT MORRIS        MI   48458‐9427
MILLER, DONNA R         3233 TOD AVE NW                                                                          WARREN              OH   44485‐1358
MILLER, DONNA R         750 CLIFF DRIVE APT. #102A                                                               YPSILANTI           MI   48198
MILLER, DONNIE L        307 DAVIS DR                                                                             COLUMBIA            TN   38401‐9351
MILLER, DONOVAN D       4383 S M 76                                                                              WEST BRANCH         MI   48661‐8745
MILLER, DONOVAN E       26 GLENABBEY DR NW                                                                       CARTERSVILLE        GA   30120
MILLER, DORIS           1008 S MONROE ST                                                                         BAY CITY            MI   48708‐7215
MILLER, DORIS A         6490 ‐ 24 MILE RD                                                                        SHELBY TWP          MI   48316‐3304
MILLER, DORIS A         6490 24 MILE RD                                                                          SHELBY TWP          MI   48316‐3304
MILLER, DORIS B         7934 CAMDEN HOLLOW RD                                                                    HUNTERVILLE         NC   28078‐4840
MILLER, DORIS BURRAGE   7934 CAMDEN HOLLOW RD                                                                    HUNTERVILLE         NC   28078‐4840
MILLER, DORIS E         4320 VALDEZ AVE                                                                          ATASCADERO          CA   93422‐2745
MILLER, DORIS L         11011 ELDERBERRY DR                                                                      PORT RICHEY         FL   34668‐2304
MILLER, DORIS M         3811 ROHR ROAD                                                                           LAKE ORION          MI   48359‐1440
MILLER, DORIS M         609 PATOLITA DR                                                                          CORONA DEL MAR      CA   92625‐1736
MILLER, DORIS M         4220 BRISTOL DR                                                                          JANESVILLE          WI   53546‐1764
MILLER, DORIS R         20933 DANBURY ST                                                                         CLINTON TWP         MI   49035‐2708
MILLER, DOROTHY         449 MAIN STREET,               APT 218,                                                  ANDERSON            IN   46016
MILLER, DOROTHY         21741 AUDREY ST                                                                          DEARBORN            MI   48124
MILLER, DOROTHY A       1341 PIERCE AVE #1                                                                       N. TOMAWANDA        NY   14120‐3051
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Name                      Address1                      Address2              Address3         Address4         City              State Zip
MILLER, DOROTHY A         5418 S NARRAGANSETT                                                                   CHICAGO             IL 60638‐2529
MILLER, DOROTHY A         4276 BATAVIA ELBA RD                                                                  BATAVIA            NY 14020‐1039
MILLER, DOROTHY A         806 CALHOUN DR                                                                        ABBEVILLE          AL 36310‐5642
MILLER, DOROTHY A.        1170 N PARK DR                                                                        TEMPERANCE         MI 48182‐9450
MILLER, DOROTHY B         1021 HARDING AVE                                                                      ROCHESTER HILLS    MI 48307‐2523
MILLER, DOROTHY C         317 ORANGEWOOD RD                                                                     HURON              OH 44839‐1356
MILLER, DOROTHY E         7981 14 MILE ROAD                                                                     MECOSTA            MI 49332‐9625
MILLER, DOROTHY F         2564 S 975 W                                                                          SWAYZEE            IN 46986‐9614
MILLER, DOROTHY F         4375 WEISS RD.                                                                        SAGINAW            MI 48603‐4149
MILLER, DOROTHY F         4375 WEISS ST                                                                         SAGINAW            MI 48603‐4149
MILLER, DOROTHY J         1255 EAST MOUNT MORRIS ROAD                                                           MOUNT MORRIS       MI 48458‐2909
MILLER, DOROTHY J         1255 E MOUNT MORRIS RD                                                                MOUNT MORRIS       MI 48458‐2909
MILLER, DOROTHY J         5100 FARRAND RD                                                                       CLIO               MI 48420
MILLER, DOROTHY J         199 N COLONIAL DRIVE                                                                  CORTLAND           OH 44410‐1105
MILLER, DOROTHY J         1350 BANDERA HWY APT 312                                                              KERRVILLE          TX 78028‐8016
MILLER, DOROTHY J         3117 ROTTERDAM DR                                                                     CLIO               MI 48420‐2318
MILLER, DOROTHY J         5100 W FARRAND RD                                                                     CLIO               MI 48420‐8251
MILLER, DOROTHY L         539 W MAIN ST                                                                         TIPP CITY          OH 45371‐1438
MILLER, DOROTHY L         539 W. MAIN STREET                                                                    TIPP CITY          OH 45371‐1438
MILLER, DOROTHY M         5055 LAUDERDALE DRIVE                                                                 MORAINE            OH 45439‐2926
MILLER, DOROTHY M         9 FORBES PL APT 610                                                                   DUNEDIN            FL 34698‐8514
MILLER, DOROTHY M         3427 SANTA CLARA CT                                                                   FLINT              MI 48504‐3234
MILLER, DOROTHY MARIE     7717 LOS ALAMITOS DR                                                                  DALLAS             TX 75232‐4112
MILLER, DOROTHY W         2120 W QUAY RD                                                                        SAINT AUGUSTINE    FL 32092‐1094
MILLER, DORTHY            19324 GALLOPING HILL RD                                                               APPLE VALLEY       CA 92308
MILLER, DOUG S            1811 LANCASTER DR                                                                     YOUNGSTOWN         OH 44511‐1068
MILLER, DOUGLAS           9608 S HIGHPOINT DR                                                                   MUNCIE             IN 47302‐8343
MILLER, DOUGLAS           6644 ROBERTA DR                                                                       TIPP CITY          OH 45371‐2344
MILLER, DOUGLAS A         12848 E GREENFIELD RD                                                                 GRAND LEDGE        MI 48837‐8996
MILLER, DOUGLAS B         303 W MUSTANG MOON TRL                                                                GRANT              MI 49327‐8464
MILLER, DOUGLAS C         8342 COLDWATER RD                                                                     FLUSHING           MI 48433‐1191
MILLER, DOUGLAS C         6927 HUBBARD ST                                                                       GARDEN CITY        MI 48135‐1720
MILLER, DOUGLAS C         2108 SENIOR AVE                                                                       VIENNA              IL 62995‐1581
MILLER, DOUGLAS C         26 HITREE LN                                                                          ROCHESTER          NY 14624‐4742
MILLER, DOUGLAS CHARLES   6927 HUBBARD ST                                                                       GARDEN CITY        MI 48135‐1720
MILLER, DOUGLAS E         3330 E CLARICE AVE                                                                    HIGHLAND           MI 48356‐2316
MILLER, DOUGLAS E         148 HILL ST                                                                           XENIA              OH 45385‐5616
MILLER, DOUGLAS E         3050 N TOWER WAY NE                                                                   CONYERS            GA 30012‐2655
MILLER, DOUGLAS E         148 HILL ST.                                                                          XENIA              OH 45385‐5616
MILLER, DOUGLAS H         4339 RICHALVA CT                                                                      WATERFORD          MI 48329‐4035
MILLER, DOUGLAS J         6235 DAFT ST                                                                          LANSING            MI 48911‐5506
MILLER, DOUGLAS J         1752 ROMAN DR                                                                         MONROE             MI 48162‐4165
MILLER, DOUGLAS J         3053 146TH AVE                                                                        DORR               MI 49323‐9710
MILLER, DOUGLAS J.        3053 146TH AVE                                                                        DORR               MI 49323‐9710
MILLER, DOUGLAS K.        9608 S HIGHPOINT DR                                                                   MUNCIE             IN 47302
MILLER, DOUGLAS M         11353 BENTON RD                                                                       GRAND LEDGE        MI 48837‐9728
MILLER, DOUGLAS M         21 STEEPLEVIEW DR                                                                     HUDSON             OH 44236‐2299
MILLER, DOUGLAS P         2077 FAIRKNOLL DR.                                                                    BEAVERCREEK        OH 45431‐3212
MILLER, DREW D            53594 POINSETTIA DR                                                                   MACOMB             MI 48042‐5795
MILLER, DROUNDA           399 PARKWAY DRIVE                                                                     SCOTTSVILLE        KY 42164
MILLER, DROUNDA           399 PARKWAY DR                                                                        SCOTTSVILLE        KY 42164‐9432
MILLER, DUANE A           5224 N SANDALWOOD DR                                                                  BEVERLY HILLS      FL 34465‐2438
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Name                     Address1                        Address2              Address3         Address4         City               State Zip
MILLER, DUANE A          10810 NE 79TH CIR                                                                       VANCOUVER           WA 98662
MILLER, DUANE B          113 AMORA AVE                                                                           VENICE              FL 34285‐3245
MILLER, DUANE B          113 AMORA AVENUE                                                                        VENICE              FL 34285‐3245
MILLER, DUANE D          665 S NELLSVILLE RD                                                                     HOUGHTON LAKE       MI 48629‐9085
MILLER, DUANE D          2351 MILLVILLE RD                                                                       LAPEER              MI 48446‐7729
MILLER, DUANE F          7811 FIELDSTONE RDG                                                                     CLARKSTON           MI 48348‐4359
MILLER, DUANE F          2861 HIDDEN VALLEY RD                                                                   HIAWASSEE           GA 30546‐1752
MILLER, DUDLEY M         4990 ISLAND HWY                                                                         CHARLOTTE           MI 48813‐9300
MILLER, DWIGHT E         18509 BAINBROOK CT                                                                      CERRITOS            CA 90703‐6310
MILLER, DWIGHT H         5710 FARMBROOK ST                                                                       DETROIT             MI 48224‐1350
MILLER, DWON M           309 S HAWTHORNE RD                                                                      MUNCIE              IN 47304‐4110
MILLER, E                33 LINCOLN AVE APT 8L                                                                   NEW ROCHELLE        NY 10801‐3415
MILLER, E L              4301 WYNDHAM PARK DR                                                                    SAINT PETERS        MO 63376‐2987
MILLER, E M              6649 S STEEL RD                                                                         SAINT CHARLES       MI 48655‐8701
MILLER, E M              6649 SOUTH STEELE ROAD                                                                  ST. CHARLES         MI 48655‐8701
MILLER, EARL B           74 LAKEWOOD DR                                                                          SAULSBURY           TN 38067‐6408
MILLER, EARL G           21611 N 160TH DR                                                                        SUN CITY WEST       AZ 85375‐6649
MILLER, EARL H           2109 BRIAR LN                                                                           BURTON              MI 48509‐1230
MILLER, EARL L           4045 S PINE DELL DR                                                                     LANSING             MI 48911‐6128
MILLER, EARL M           709 SCARLET OAK DR                                                                      LAKE ST LOUIS       MO 63367‐2141
MILLER, EARL R           10979 KELLER RD                                                                         CLARENCE            NY 14031‐1047
MILLER, EARL R           5560 N 3 RD                                                                             MESICK              MI 49668‐9118
MILLER, EARL R           1209 SUNNYDALE ST                                                                       BURTON              MI 48509‐1939
MILLER, EARL ROSS        10979 KELLER RD                                                                         CLARENCE            NY 14031‐1047
MILLER, EARL W           2866 RIVERSIDE DR                                                                       WATERFORD           MI 48329‐3678
MILLER, EARLENE A        2010 COTTONWOOD RD                                                                      NORMAN              OK 73071‐7434
MILLER, EARSELENE        4901 CLOVERLAWN DR                                                                      FLINT               MI 48504‐5418
MILLER, EBONY            4477 STONE GATE DR APT 1202                                                             MEMPHIS             TN 38128‐7028
MILLER, EDDIE            4342 STERLING FOREST DR                                                                 DECATUR             GA 30034‐2449
MILLER, EDDIE A          2890 WALLIN LAKE DR                                                                     WEST BRANCH         MI 48661‐9494
MILLER, EDITA L          2700 MAYFIELD AVE NE                                                                    GRAND RAPIDS        MI 49505‐3864
MILLER, EDITH F          99 BELVIEW DR                                                                           MARTINSBURG         WV 25401‐0655
MILLER, EDITH R          827 WAVERLY AVE                                                                         KANSAS CITY         KS 66101‐1563
MILLER, EDITH W          132 BUCKINGHAM DRIVE                                                                    ANDERSON            IN 46013‐4412
MILLER, EDMOND E         5300 ARNOLD DR                                                                          BURTON              MI 48509
MILLER, EDMOND ELMOR     5300 ARNOLD DR                                                                          BURTON              MI 48509
MILLER, EDNA             2093 SPRINGFIELD DRIVE                                                                  SOUTH JORDAN        UT 84095‐9275
MILLER, EDNA E           13 NEW CASTLE DRIVE                                                                     MT KISCO            NY 10549‐3509
MILLER, EDNA I           311 EAST 8TH                                                                            GEORGETOWN           IL 61846‐1522
MILLER, EDNA I           311 E 8TH ST                                                                            GEORGETOWN           IL 61846‐1522
MILLER, EDNA J           1069 N. 41/2 RD.                                                                        MANTON              MI 49663
MILLER, EDNA J           23 WOOD STONE RISE              C/O SUANNE LIPPMAN                                      PITTSFORD           NY 14534‐3668
MILLER, EDNA M           8004 E 128TH ST                                                                         GRANDVIEW           MO 64030‐2111
MILLER, EDNA S           1510 JOHN GLENN RD                                                                      DAYTON              OH 45410‐3219
MILLER, EDWARD           32 E MONESSEN ST                                                                        MONONGAHELA         PA 15063‐3624
MILLER, EDWARD           PORTER & MALOUF PA              4670 MCWILLIE DR                                        JACKSON             MS 39206‐5621
MILLER, EDWARD           PO BOX 231                                                                              OLDEN               TX 76466‐0231
MILLER, EDWARD           12225 HUFFMAN RD APT 318                                                                PARMA HEIGHTS       OH 44130‐2259
MILLER, EDWARD A         44300 CADBURRY DR                                                                       CLINTON TOWNSHIP    MI 48038‐1451
MILLER, EDWARD A         3651 SW POMPANO RD                                                                      DUNNELLON           FL 34431‐3551
MILLER, EDWARD ANTHONY   2951 WAYLAND AVE                                                                        DAYTON              OH 45420‐3056
MILLER, EDWARD C         1512 CARDINGTON RD                                                                      DAYTON              OH 45409‐1745
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Name                  Address1                            Address2                       Address3   Address4         City            State Zip
MILLER, EDWARD C      PO BOX 148                                                                                     ATLANTA          IN 46031‐0148
MILLER, EDWARD C      8 CHATEAU WAY                                                                                  NAPLES           FL 34112‐9122
MILLER, EDWARD D      6225 KING GRAVES RD                                                                            FOWLER           OH 44418‐9722
MILLER, EDWARD F      1224 RIVERSIDE DR                                                                              FORT ATKINSON    WI 53538‐1501
MILLER, EDWARD H      105 EDGEWOOD DR                                                                                PRUDENVILLE      MI 48651‐9753
MILLER, EDWARD H      31 W LOS REALES RD UNIT 447                                                                    TUCSON           AZ 85756
MILLER, EDWARD J      3147 DUFFIELD RD                                                                               FLUSHING         MI 48433‐9793
MILLER, EDWARD J      3325 ROSEVIEW DR                                                                               HUBBARD          OH 44425‐1361
MILLER, EDWARD J      34759 ROAD J                                                                                   OCONOMOWOC       WI 53066
MILLER, EDWARD L      2 NIXON PL                                                                                     LOCKPORT         NY 14094‐5720
MILLER, EDWARD L      1216 N SAYBROOK LN                                                                             MUNCIE           IN 47304‐5330
MILLER, EDWARD P      957 N DERBY AVE                                                                                DERBY            KS 67037‐1851
MILLER, EDWARD P      957 NORTH DERBY AVE                                                                            DERBY            KS 67037‐1851
MILLER, EDWARD P      PO BOX 282                                                                                     WASKOM           TX 75692‐0282
MILLER, EDWARD R      2942 BAFFIN DR                                                                                 HAMILTON         OH 45011‐8212
MILLER, EDWARD R      64871 PRAIRIE LAKE RD                                                                          STURGIS          MI 49091‐9138
MILLER, EDWARD S      1501 N BEELINE HWY UNIT 34                                                                     PAYSON           AZ 85541‐3271
MILLER, EDWARD T      11601 FRAZIER LN                                                                               CROWLEY          TX 76036‐5201
MILLER, EDWARD W      3055 HUNTINGTON PARK DR                                                                        WATERFORD        MI 48329‐4532
MILLER, EDWARD W      114 GROVE ST                                                                                   BUFFALO          NY 14207‐1804
MILLER, EDWIN C       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW          MI 48604‐2602
                                                          260
MILLER, EDWIN C       1534 SHERIDAN AVE NE                                                                           WARREN          OH   44483‐3970
MILLER, EDWIN J       35 W HUNTERS CREEK RD                                                                          LAPEER          MI   48446‐9468
MILLER, EFROZINE A    5266 TOW PATH TRAIL                                                                            FLORISSANT      MO   63033
MILLER, EILEEN G      808 DEERFIELD RD                                                                               ANDERSON        IN   46012‐9625
MILLER, EILEEN I      130 W CLEMENT ST                                                                               BALTIMORE       MD   21230‐4237
MILLER, ELAINE        4485 FAIRWOOD DR                                                                               BURTON          MI   48529‐1920
MILLER, ELAINE        8404 METCALF AVE                                                                               OVERLAND PARK   KS   66212‐1163
MILLER, ELAINE E      350 S KOBS RD                                                                                  TAWAS CITY      MI   48763‐9522
MILLER, ELAINE M      2122 MANOA DR 107                                                                              HOLIDAY         FL   34691
MILLER, ELAINE RAE    385 NEWCASTLE DR                                                                               ALPHARETTA      GA   30009‐7163
MILLER, ELAINE W      1679 VALDOSTA CIR                                                                              PONTIAC         MI   48340‐1083
MILLER, ELDIN H       8072 MONROE RD                                                                                 LAMBERTVILLE    MI   48144‐9721
MILLER, ELEANOR       952 PIONEER DR                                                                                 N TONAWANDA     NY   14120‐2926
MILLER, ELEANOR       29162 PERTH COURT                                                                              LIVONIA         MI   48154‐4561
MILLER, ELEANOR       29162 PERTH ST                                                                                 LIVONIA         MI   48154‐4561
MILLER, ELEANOR A     34418 JOEL                                                                                     NEW BALTIMORE   MI   48047‐3687
MILLER, ELEANOR C     1160 E MOORESTOWN RD                                                                           LAKE CITY       MI   49651‐9352
MILLER, ELEANOR J     1461 PARKHAVEN DR                                                                              PARMA           OH   44134‐4814
MILLER, ELEANOR M     144 CARL SUTTON RD                                                                             LIZELLA         GA   31052‐7542
MILLER, ELEANOR M     9241 S KENT ST                                                                                 PORTLAND        MI   48875
MILLER, ELEANOR M     10567 BRIARWOOD COURT                                                                          RAPID CITY      SD   57702‐8628
MILLER, ELEANORA      31 BRENNER AVE                                                                                 DAYTON          OH   45403‐1121
MILLER, ELEANORE C    4151 WESTBROOK DR                                                                              ANN ARBOR       MI   48108‐9663
MILLER, ELGENE W      8100 CONNECTICUT AVE APT 1515                                                                  CHEVY CHASE     MD   20815‐2821
MILLER, ELISA         154 BATTLE CREEK ROAD                                                                          JASPER          AL   35503‐5401
MILLER, ELISHA R      3925 N FIELD DR                                                                                BELLBROOK       OH   45305‐8803
MILLER, ELIZABETH     12937 4TH ST                                                                                   FORT MYERS      FL   33905‐1921
MILLER, ELIZABETH     3151 S WASHINGTON AVE                                                                          SAGINAW         MI   48601‐4356
MILLER, ELIZABETH     313 FRONTIER AVENUE                                                                            N TONAWANDA     NY   14120‐2415
MILLER, ELIZABETH A   2835 JAMES RD                                                                                  AUBURN HILLS    MI   48326‐2111
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Name                    Address1                      Address2               Address3         Address4         City               State Zip
MILLER, ELIZABETH A     722 MCLAUGHLIN RD                                                                      WACO                TX 76712‐2519
MILLER, ELIZABETH A     629 WILLOW WAY                                                                         WYLIE               TX 75098‐4060
MILLER, ELIZABETH J     9357 ASH HOLLOW LN                                                                     CENTERVILLE         OH 45458‐9665
MILLER, ELIZABETH J     9357 ASH HALLOW LANE                                                                   CENTERVILLE         OH 45458‐5458
MILLER, ELIZABETH M     3383 PENNSYLVANIA RD                                                                   OLEAN               NY 14760‐9795
MILLER, ELIZABETH M     PO BOX 233                    10770 E 2ND ST                                           FOWLER              MI 48835‐0233
MILLER, ELIZABETH M     6518 E SUNNYSIDE DR                                                                    SCOTTSDALE          AZ 85254‐5071
MILLER, ELIZABETH MAY   PO BOX 233                    10770 E 2ND ST                                           FOWLER              MI 48835‐0233
MILLER, ELLA J          20003 MURRAY HILL                                                                      DETROIT             MI 48235‐2477
MILLER, ELLA L          1121 RUTHERWOOD CT                                                                     INDIANAPOLIS        IN 46280‐1752
MILLER, ELLEN           2870 IDLEWEISE DR                                                                      DELTONA             FL 32738‐9530
MILLER, ELLEN M         30 CLOVE HOLLOW                                                                        W SENECA            NY 14224
MILLER, ELLEN M         30 COVE HOLW                                                                           WEST SENECA         NY 14224‐3937
MILLER, ELLEN M         416 GOLDENROD DR                                                                       HOUGHTON LAKE       MI 48629‐8919
MILLER, ELLEN S         4309 12TH AVE                                                                          PARKERSBURG         WV 26101‐7009
MILLER, ELLIOTT D       10 COLLEGE ST                                                                          BRUCETON            TN 38317‐2208
MILLER, ELMER A         10600 7 MILE RD                                                                        EVART               MI 49631‐8468
MILLER, ELMER D         4908 S 7 MILE RD                                                                       WHEELER             MI 48662‐9617
MILLER, ELMER G         30815 PARDO ST                                                                         GARDEN CITY         MI 48135‐1847
MILLER, ELMER J         2044 AUDUBON AVE              APT 405                                                  NAPERVILLE           IL 60563‐4274
MILLER, ELMER L         5095 HASSLICK RD                                                                       NORTH BRANCH        MI 48461‐8524
MILLER, ELMER R         4712 GARY AVENUE                                                                       LORAIN              OH 44055‐3517
MILLER, ELNORA          7505 BURNETTE ST                                                                       DETROIT             MI 48210‐3304
MILLER, ELNORA          7505 BURNETTE                                                                          DETROIT             MI 48210‐3304
MILLER, ELOISE          10370 OLD 3 C                                                                          CLARKSVILLE         OH 45113‐9506
MILLER, ELSIE C         2951 SHADY LANE DRIVE                                                                  SEVEN HILLS         OH 44131
MILLER, ELSIE E         14070 SHAWNEE TRAIL                                                                    MIDDLEBURG HGTS     OH 44130‐4915
MILLER, ELSIE L         2006 OHIO AVE                                                                          ANDERSON            IN 46016‐2158
MILLER, ELSIE M         508 CATALINA AVE                                                                       VIRGINIA BEACH      VA 23452‐3628
MILLER, ELWOOD          25657 LINDENWOOD LN                                                                    SOUTHFIELD          MI 48033‐6192
MILLER, ELWOOD L        PO BOX 58                                                                              FOWLERVILLE         MI 48836‐0058
MILLER, EMBRY           20256 ARCHER ST                                                                        DETROIT             MI 48219‐1170
MILLER, EMIL            650 CANAAN RD                                                                          COLUMBIA            TN 38401‐6073
MILLER, EMIL            1017 FORESTVIEW DR                                                                     COLONIAL HEIGHTS    VA 23834‐1218
MILLER, EMILY           1832 ELMSFORD LN                                                                       CHESTERFIELD        MO 63005‐4591
MILLER, EMILY A         700 W SOUTH ST                                                                         OWOSSO              MI 48867‐8908
MILLER, EMMA D          2304 NEW CUT RD                                                                        ALVATON             KY 42122‐8639
MILLER, EMMA JOYCE      7000 E 10 MILE RD APT 307                                                              CENTER LINE         MI 48015‐1129
MILLER, EMMA M          323 BRANDON ST                                                                         GREENSBURG          PA 15601
MILLER, EMMA P          426 ROLLING MEADOWS DRIVE                                                              VALPARAISO          IN 46385‐9093
MILLER, EMORY W         THE LAURALS OF DIFIANCE       1701                   S. JEFFERSON                      DEFIANCE            OH 43512
MILLER, ENOCH R         54 MILLER LN                                                                           HINESVILLE          GA 31313‐7905
MILLER, ERELCELY        3600 SOUTHFIELD DR                                                                     SAGINAW             MI 48601‐5651
MILLER, ERIC B          91 ALASKA ST                                                                           CHEEKTOWAGA         NY 14206‐2528
MILLER, ERIC H          16064 E GLENBROOK BLVD                                                                 FOUNTAIN HILLS      AZ 85268‐2235
MILLER, ERIC W          7395 CHARLES CT                                                                        LINDEN              MI 48451‐8616
MILLER, ERIK E          1470 FREDERICK CT                                                                      MANSFIELD           OH 44906‐2455
MILLER, ERNA M          18648 190TH RD                                                                         DENISON             KS 66419‐9657
MILLER, ERNEST C        2419 TRENTWOOD DR SE                                                                   WARREN              OH 44484‐3772
MILLER, ERNEST E        44238 WICLIF COURT                                                                     CANTON              MI 48187‐2717
MILLER, ERNEST L        12290 TIERRA MAR WAY                                                                   EL PASO             TX 79938‐4473
MILLER, ERNEST W        OFC                           800 15TH STREET                                          MEXICO BEACH        FL 32456‐7106
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MILLER, ERNEST W        800 NORTH 15TH ST, C‐8         P.O. BOX 13638                                                  MEXICO BEACH       FL 32456
MILLER, ERWIN W         10595 GRANGE RD                                                                                PORTLAND           MI 48875‐9307
MILLER, ERYN            MEYER & FORD MICHAEL GLASSER   120 CAPITOL STREET, PO BOX 1 1090                               CHARLESTON         WV 25339

MILLER, ESPY H          5022 STATE ROUTE 305                                                                           SOUTHINGTON       OH   44470‐9714
MILLER, ESTA M          538 CROWN LAKE RD                                                                              DALTON            GA   30721‐5309
MILLER, ESTELLA A       5790 DENLINGER RD              APT 6206                                                        TROTTWOOD         OH   45426‐5426
MILLER, ESTELLA A       PO BOX 303                                                                                     BURKESVILLE       KY   42717‐0303
MILLER, ESTELLE         5941 HODGEMAN DR                                                                               PARMA HEIGHTS     OH   44130‐2154
MILLER, ESTELLE         5941 HODGMAN DRIVE                                                                             PARMA HTS         OH   44130‐2154
MILLER, ESTER B.        2403 E 10TH ST                                                                                 ANDERSON          IN   46012‐4316
MILLER, ESTHER GANGER   2571 WENDOVER DR                                                                               DAYTON            OH   45431‐1643
MILLER, ESTHER M        342 N COOLIDGE DR                                                                              SIX LAKES         MI   48886‐8757
MILLER, ESTHER M        8690 TERRI DR                                                                                  WESTLAND          MI   48185‐1633
MILLER, ETHEL M         3185 EDGEMONT WAY                                                                              DECATUR           GA   30032‐5850
MILLER, ETHEL M         127 N CHESTNUT DR                                                                              COLUMBUS          MS   39705‐3265
MILLER, ETHEL P         PO BOX 1809                                                                                    DAYTON            OH   45401‐1809
MILLER, ETHEL Z         PO BOX 731                                                                                     MOUNT MORRIS      MI   48458‐0731
MILLER, EUGENE A        1065 ALHI ST                                                                                   WATERFORD         MI   48328‐1501
MILLER, EUGENE B        14127 N PALMYRA RD                                                                             NORTH JACKSON     OH   44451‐9728
MILLER, EUGENE C        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510
                                                       STREET, SUITE 600
MILLER, EUGENE E        3228 KILBURN RD                                                                                BERKEY            OH   43504‐9631
MILLER, EUGENE E        240 MASTERS DR S                                                                               PEACHTREE CITY    GA   30269‐2790
MILLER, EUGENE H        4459 WICKFIELD CIR                                                                             FLINT             MI   48507‐3758
MILLER, EUGENE J        48406 HUNTER DR                                                                                MACOMB            MI   48044‐5566
MILLER, EUGENE R        8096 GEDDES RD                                                                                 SAGINAW           MI   48609‐9530
MILLER, EUGENIA         9906 S LA SALLE ST                                                                             CHICAGO           IL   60628‐1312
MILLER, EULA F          14 CHURCHILL DR                                                                                WINCHESTER        KY   40391‐1612
MILLER, EULALIA
MILLER, EUNICE J        1219 SW 49TH TER                                                                               CAPE CORAL        FL   33914‐7050
MILLER, EUNICE R        C/O MOODY                      801 WEST FOURTH ST                                              LITTLE ROCK       AR   72201
MILLER, EUSETT          3724 GLOUCESTER ST                                                                             FLINT             MI   48503‐4538
MILLER, EVA A           SOUTHVILLE TOWERS              904 DIVISION STREET                                             HUNTINGTON        IN   46750‐2231
MILLER, EVA M           408 RICES CREEK ROAD                                                                           LIBERTY           SC   29657‐9256
MILLER, EVA M           1036 HIGHWAY 1729                                                                              RUSSELL SPRINGS   KY   42642‐9547
MILLER, EVALEE          521 RIVER ST                                                                                   GASSAWAY          WV   26624
MILLER, EVALENA         322 ARBORWOOD LN                                                                               ROCHESTER         NY   14615‐3857
MILLER, EVELYN          2 NORWAY PARK                                                                                  BUFFALO           NY   14208‐2519
MILLER, EVELYN          1224 SUGAR PINE DR                                                                             ANDERSON          IN   46012‐5502
MILLER, EVELYN E        15839 BRIDGE RD                                                                                KENT              NY   14477‐9773
MILLER, EVELYN J        4745 PALMBROOK LANE                                                                            KALAMAZOO         MI   49004‐3753
MILLER, EVELYN L        310 S WASHINGTON ST                                                                            BEVERLY HILLS     FL   34465‐4091
MILLER, EVELYN T        5468 OLYMPIA DR                                                                                GREENDALE         WI   53129‐2571
MILLER, EVERLINE        PO BOX 1988                                                                                    WARREN            OH   44482‐1988
MILLER, FAIRCHILD       PO BOX 1433                                                                                    MARION            IN   46952‐7833
MILLER, FANNIE J        320 SOUTH JACKSON STREET       APARTMENT 127                                                   ALBANY            GA   31707
MILLER, FARRIS          2407 SPRINGHOUSE CIR                                                                           STONE MOUNTAIN    GA   30087‐6762
MILLER, FAYE G          303 S WINTERHAVEN                                                                              MESA              AZ   85204‐1513
MILLER, FAYE M          PO BOX 142                                                                                     FLAT LICK         KY   40935‐0142
MILLER, FERN            2013 POWER DAM RD              C/O JOHN FETTER                                                 DEFIANCE          OH   43512‐3322
MILLER, FERN            C/O JOHN FETTER                2013 POWER DAM ROAD                                             DEFIANCE          OH   43512
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MILLER, FERN I           1530 S MAIN ST                                                                             KOKOMO             IN 46902‐2141
MILLER, FIRMAN S
MILLER, FLONNIE R        6247 LORIMER ST                                                                            DAYTON            OH   45427‐2044
MILLER, FLORA H          596 W SCHLEIER ST                                                                          FRANKENMUTH       MI   48734‐1055
MILLER, FLORENCE         9545 KILE RD                                                                               CHARDON           OH   44024
MILLER, FLORENCE         26 HITREE LN                                                                               ROCHESTER         NY   14624‐4742
MILLER, FLORENCE         5010 N KELLEY AVE                                                                          OKLAHOMA CITY     OK   73111‐5649
MILLER, FLORENCE C       1213 HURON CT                                                                              SIDNEY            OH   45365‐5365
MILLER, FLORENCE E       6401 MEADOWBROOK LN                                                                        NEW PORT RICHEY   FL   34653‐4838
MILLER, FLORENCE M       845 BENTLEY ST                  APT 23                                                     CHESANING         MI   48616‐1290
MILLER, FLORENCE M       845 BENTLEY ST APT 23                                                                      CHESANING         MI   48616‐1290
MILLER, FLORITA M        6 NOTRE DAME CT                                                                            O FALLON          MO   63366‐1782
MILLER, FLOYD A          443 FRANCONIAN DR E                                                                        FRANKENMUTH       MI   48734‐1001
MILLER, FLOYD E          8942 WEST 30TH ST., BOX 34396                                                              CLERMONT          IN   46234
MILLER, FLOYD T          28 CRESTLAN CIR                                                                            WORCESTER         MA   01604‐1402
MILLER, FLOYD W          5660 KAUFMAN ST                                                                            DEARBORN HTS      MI   48125‐2424
MILLER, FORREST B        6410 ROUNDS RD                                                                             NEWFANE           NY   14108‐9732
MILLER, FORREST E        438 BERYL AVE                                                                              MANSFIELD         OH   44907‐1420
MILLER, FORREST L        803 OLD 7 HWY.                                                                             GARDEN CITY       MO   64747
MILLER, FORREST W        13622 GRACE DR                                                                             EAGLE             MI   48822‐9622
MILLER, FRANCES          14536 TRISKETT ROAD                                                                        CLEVELAND         OH   44111
MILLER, FRANCES          100 HAMPTON RD #200                                                                        CLEARWATER        FL   34619‐3914
MILLER, FRANCES          4615 ROSALIE ST                                                                            DEARBORN          MI   48126‐4109
MILLER, FRANCES A        4210 DARTMOUTH AVE. NORTH                                                                  ST. PETERSBOURG   FL   33713
MILLER, FRANCES I        645 E BALTIMORE                                                                            FLINT             MI   48505‐6404
MILLER, FRANCES J        1191 SUNVIEW DRIVE                                                                         ST JOHNS          MI   48879‐2441
MILLER, FRANCES M        396 S EDGEWATER DR                                                                         PLANT CITY        FL   33565‐9268
MILLER, FRANCES M        6411 W 15TH ST                                                                             INDIANAPOLIS      IN   46214‐3334
MILLER, FRANCES N
MILLER, FRANCES N        7485 FALLING LEAF CT                                                                       FLUSHING          MI   48433
MILLER, FRANCES P        19 PAUL RD                                                                                 WATERBURY         CT   06708‐3429
MILLER, FRANCINE O       43 S PLUM ST                                                                               GERMANTOWN        OH   45327‐1361
MILLER, FRANCINE O       43 SOUTH PLUM STREET                                                                       GERMANTOWN        OH   45327‐5327
MILLER, FRANCIS A        18140 TOEPFER DR                                                                           EASTPOINTE        MI   48021‐2766
MILLER, FRANCIS C        9611 SAGINAW ST                                                                            REESE             MI   48757‐9206
MILLER, FRANCIS L        1754 W 400 S                                                                               PERU              IN   46970‐7925
MILLER, FRANCIS P        400 S MAIN ST                                                                              HICKSVILLE        OH   43526‐1363
MILLER, FRANCIS PHILIP   400 S MAIN ST                                                                              HICKSVILLE        OH   43526‐1363
MILLER, FRANCIS S        1662 SCENIC DR                                                                             DAYTON            OH   45414‐3047
MILLER, FRANK            1918 N 46TH TER                                                                            FORT SMITH        AR   72904‐6332
MILLER, FRANK B          PO BOX 9022                     C/O L. VICTORIA (TOLUCA)                                   WARREN            MI   48090‐9022
MILLER, FRANK D          2472 E COUNTY ROAD 350 S                                                                   LOGANSPORT        IN   46947‐8191
MILLER, FRANK E          114 LYNCH FARM DR                                                                          NEWARK            DE   19713‐2813
MILLER, FRANK E          6802 US HIGHWAY 80 E                                                                       LIZELLA           GA   31052‐6012
MILLER, FRANK H          617 MCDONALD ST                                                                            SEYMOUR           IN   47274‐2946
MILLER, FRANK H          1222 ELDORADO DR                                                                           FLINT             MI   48504‐3218
MILLER, FRANK J          8730 TRILLIUM                                                                              FARWELL           MI   48622‐9656
MILLER, FRANK T          2359 CHATEAU ST                                                                            GROVE CITY        OH   43123‐1405
MILLER, FRANKIE A        PO BOX 51                                                                                  LACHINE           MI   49753‐0051
MILLER, FRANKIE JO       COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                    HOUSTON           TX   77002‐1751
MILLER, FRANKIE M        1419 SW 43RD ST                                                                            OKLAHOMA CITY     OK   73119‐4033
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Name                     Address1                              Address2                       Address3   Address4         City                State Zip
MILLER, FRANKLIN         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH           PA 15219

MILLER, FRANKLIN E       226 COUNTY ROAD 4852                                                                             NEWARK              TX 76071‐3014
MILLER, FRANKLIN H       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510
                                                               STREET, SUITE 600
MILLER, FRED             14151 N OLD 41                                                                                   OAKTOWN             IN 47561‐8368
MILLER, FRED D           7405 N NAVAJO RD                                                                                 FOX POINT           WI 53217‐3463
MILLER, FRED E           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510
                                                               STREET, SUITE 600
MILLER, FRED J           165 QUEENS COVE WAY                                                                              WHISPERING PINES    NC   28327‐9799
MILLER, FRED K           9634 PITTSFIELD ST                                                                               COMMERCE TOWNSHIP   MI   48382‐4151
MILLER, FRED W           1400 HONEY LN                                                                                    KOKOMO              IN   46902
MILLER, FREDDIE GORDON   2692 W 600 S                                                                                     ANDERSON            IN   46013‐9741
MILLER, FREDDIE L        931 OSSINGTON AVE                                                                                FLINT               MI   48507‐1641
MILLER, FREDERICK E      6606 S 200 E                                                                                     MARKLEVILLE         IN   46056‐9704
MILLER, FREDERICK J      28100 DOVEWOOD CT APT 103                                                                        BONITA SPRINGS      FL   34135‐2890
MILLER, FREDERICK L      12452 SEYMOUR RD                                                                                 BURT                MI   48417‐9704
MILLER, FREDERICK L      6848 RANCH HILL DR                                                                               DAYTON              OH   45415‐1410
MILLER, FREDERICK S      10 BRIARWOOD RD                                                                                  SHREWSBURY          PA   17361‐1802
MILLER, FREDERICK T      4139 ALLENWOOD SE                                                                                WARREN              OH   44484‐2929
MILLER, FREDERICK V      3326 VILLAGE DR                                                                                  FAIRFIELD           OH   45014‐8110
MILLER, FREDERICK W      37383 GOLFVIEW DR                                                                                STERLING HTS        MI   48312‐2268
MILLER, FREDERICKA A     695 S. ELBA RD                                                                                   LAPEER              MI   48446‐2776
MILLER, FREDERICKA A     695 S ELBA RD                                                                                    LAPEER              MI   48446‐2776
MILLER, FREEMAN          PORTER & MALOUF PA                    4670 MCWILLIE DR                                           JACKSON             MS   39206‐5621
MILLER, GAIL
MILLER, GAIL C           4024 E 25TH ST                                                                                   JOPLIN              MO   64804
MILLER, GAIL I           6220 W 1000 N                                                                                    HUNTINGTON          IN   46750‐9748
MILLER, GAIL L           6323 WRECKENRIDGE RD                                                                             FLINT               MI   48532‐3234
MILLER, GAIL R           8 KENTWORTH CT                                                                                   TAYLORS             SC   29687‐6160
MILLER, GALEN L          PO BOX 71                                                                                        PALESTINE           OH   45352‐0071
MILLER, GARNET G         PO BOX 68                                                                                        WESTVILLE           IL   61883‐0068
MILLER, GARRY A          816 S HURD RD                                                                                    OXFORD              MI   48371‐2838
MILLER, GARRY L          338 BRONCO WAY                                                                                   LANSING             MI   48917‐2728
MILLER, GARY             CONSUMER LEGAL SERVICES P.C.          30928 FORD RD                                              GARDEN CITY         MI   48135‐1803
MILLER, GARY             41 CLEARCOVE DR                                                                                  REEDS SPRING        MO   65737‐8910
MILLER, GARY A           9109 HAVENWAY DR                                                                                 NEW HAVEN           IN   46774‐2416
MILLER, GARY A           741 WAVELAND RD                                                                                  JANESVILLE          WI   53548‐6716
MILLER, GARY A           3419 PERKINS AVE                                                                                 HURON               OH   44839‐1052
MILLER, GARY A           1905 PENBROOK LN                                                                                 FLINT               MI   48507‐2278
MILLER, GARY A           12414 LOXLEY DR                                                                                  FRISCO              TX   75035‐9150
MILLER, GARY ALAN        1905 PENBROOK LN                                                                                 FLINT               MI   48507‐2278
MILLER, GARY B           1001 N HIGHWAY 76                                                                                NEWCASTLE           OK   73065‐6058
MILLER, GARY D           257 HAMILTON ROAD                                                                                MOUNT MORRIS        MI   48458‐8903
MILLER, GARY D           S0982 WEISTER CREEK RD                                                                           CASHTON             WI   54619‐8417
MILLER, GARY D           10594 BARNES RD                                                                                  EATON RAPIDS        MI   48827‐9233
MILLER, GARY D           7024 S BLUEWATER DR                                                                              CLARKSTON           MI   48348‐4275
MILLER, GARY D           257 HAMILTON RD                                                                                  MT. MORRIS          MI   48458‐8903
MILLER, GARY D           7712 S 25TH AVE                                                                                  PHOENIX             AZ   85041‐7663
MILLER, GARY DON         TRACY FIRM                            5473 BLAIR RD STE 200                                      DALLAS              TX   75231‐4168
MILLER, GARY E           7 RAE DRIVE                                                                                      PALM COAST          FL   32164‐6863
MILLER, GARY E           5200 SUNLYN DR                                                                                   GRAND BLANC         MI   48439‐9505
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MILLER, GARY E          323 SHADY ACRES RD                                                                      LUCAS                KY 42156‐9338
MILLER, GARY E          6153 RED FOX RD                                                                         PENDLETON            IN 46064‐9058
MILLER, GARY E          910 106TH AVE                                                                           PLAINWELL            MI 49080‐9573
MILLER, GARY E          6915 PATTEN TRACT RD                                                                    SANDUSKY             OH 44870‐9712
MILLER, GARY E          7 RAE DR                                                                                PALM COAST           FL 32164‐6863
MILLER, GARY E          117 W SOUTH ST                                                                          HILLSBORO            OH 45133‐1440
MILLER, GARY L          2802 R 4 PARTRIDGE HOLLOW                                                               JANESVILLE           WI 53548
MILLER, GARY L          APT 304                        1609 NORTHWEST OBRIEN ROAD                               LEES SUMMIT          MO 64081‐1549
MILLER, GARY L          6209 N HINMAN RD                                                                        FOWLER               MI 48835‐9782
MILLER, GARY L          PO BOX 307                                                                              VERNON               MI 48476‐0307
MILLER, GARY L          5131 N THOMAS RD                                                                        FREELAND             MI 48623‐8404
MILLER, GARY L          1689 DEVONSHIRE DR                                                                      BRUNSWICK            OH 44212‐3637
MILLER, GARY LEE        239 DARROW ST                                                                           CLIO                 MI 48420‐1139
MILLER, GARY M          633 W PINE GROVE RD                                                                     FAIR PLAY            SC 29643‐2628
MILLER, GARY P          1624 LINKSVIEW WAY                                                                      GLADWIN              MI 48624‐8139
MILLER, GARY R          12151 JENNINGS RD                                                                       LINDEN               MI 48451‐9476
MILLER, GARY R          3121 FAIR AVE                                                                           SAINT LOUIS          MO 63115‐3200
MILLER, GARY R          2704 DUNLOP ST                                                                          TRENTON              MI 48183‐4166
MILLER, GARY T          5925 COACHMONT DR                                                                       FAIRFIELD            OH 45014‐4817
MILLER, GARY W          117 CENTRAL PARKE E                                                                     BERLIN               MD 21811‐3213
MILLER, GARY W          2190 POPLAR SPRINGS RD                                                                  HAZLEHURST           MS 39083‐9132
MILLER, GARY W          4190 N 580 W                                                                            HUNTINGTON           IN 46750‐8916
MILLER, GAYLE R         423 JACKSON ST                                                                          GRAND LEDGE          MI 48837‐1703
MILLER, GENE A          25007 S CENTER ST                                                                       CHANNAHON             IL 60410‐5010
MILLER, GENE D          PO BOX 553                                                                              FENTO                MI 48430‐0553
MILLER, GENE E          G7309 W POTTER ROAD                                                                     FLUSHING             MI 48433
MILLER, GENE H          515 W JEFFERSON ST                                                                      GRAND LEDGE          MI 48837‐1442
MILLER, GENE H          3276 HORRELL CT                                                                         FENTON               MI 48430‐1005
MILLER, GENE L          306 4TH ST                                                                              CHARLOTTE            MI 48813‐2186
MILLER, GENE R          3755 COVERT RD                                                                          WATERFORD            MI 48328‐1323
MILLER, GENERAL         1443 E AUDUBON RD                                                                       MONTGOMERY           AL 36111‐2615
MILLER, GENEVA          149 ROBERT ST                                                                           W CARROLLTON         OH 45449‐1223
MILLER, GENEVA M        9121 OREGONIA RD                                                                        WAYNESVILLE          OH 45068‐9413
MILLER, GENEVA M        175 QUAIL HOLLOW LN                                                                     FORT VALLEY          GA 31030‐7127
MILLER, GENEVIEVE D     3364 CARDINAL LN                                                                        MARATHON             WI 54448‐9316
MILLER, GENEVIEVE J     31053 STATE HIGHWAY 194                                                                 LA JUNTA             CO 81050‐9519
MILLER, GENEVIEVE J     31053 STATE HWY 194                                                                     LAJUNTA              CO 81050
MILLER, GENEVIEVE M     4505 LANE RD                                                                            PERRY                OH 44081‐9547
MILLER, GENEVIEVE M     4505 LANE ROAD                                                                          PERRY                OH 44081‐9547
MILLER, GENIA R         441 CATALPA CT                                                                          FLINT                MI 48506‐4557
MILLER, GENIA RENNELL   441 CATALPA CT                                                                          FLINT                MI 48506‐4557
MILLER, GENOVIEVE J     63640 INDIAN TRAIL                                                                      RAY                  MI 48096
MILLER, GEORGE A        1008 N WATER ST                                                                         OWOSSO               MI 48867‐1734
MILLER, GEORGE E        2893 BENSTEIN RD                                                                        COMMERCE TOWNSHIP    MI 48390‐1103
MILLER, GEORGE E        12825 BEAVER CREEK RD                                                                   SALEM                OH 44460‐7205
MILLER, GEORGE E        11882 WELSH RUN RD                                                                      MERCERSBURG          PA 17236‐9506
MILLER, GEORGE E        PO BOX 431664                                                                           PONTIAC              MI 48343‐1664
MILLER, GEORGE EDWARD   11882 WELSH RUN RD                                                                      MERCERSBURG          PA 17236‐9506
MILLER, GEORGE F        4522 MARTIN RD                                                                          WARREN               MI 48092‐4106
MILLER, GEORGE F        701 S INDEPENDENCE ST                                                                   WINDFALL             IN 46076‐9220
MILLER, GEORGE G        1163 COUNTY ROAD #2240                                                                  SALEM                MO 65560
MILLER, GEORGE H        8004 25TH AVE W                                                                         BRADENTON            FL 34209‐5245
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Name                     Address1                          Address2                         Address3   Address4         City             State Zip
MILLER, GEORGE H         279 SYCAMORE RD                                                                                ELKTON            MD 21921‐4113
MILLER, GEORGE H         606 HARVEY RD                                                                                  CLAYMONT          DE 19703‐1948
MILLER, GEORGE HENRY     279 SYCAMORE RD                                                                                ELKTON            MD 21921‐4113
MILLER, GEORGE J         4563 STANTON LAKE RD                                                                           ATTICA            MI 48412‐9329
MILLER, GEORGE J         11350 R.R.#3 WOLF CREEK PIKE                                                                   BROOKVILLE        OH 45309
MILLER, GEORGE J.        4563 STANTON LAKE RD                                                                           ATTICA            MI 48412‐9329
MILLER, GEORGE L         2048 MCPHAIL ST                                                                                FLINT             MI 48503‐4330
MILLER, GEORGE L         21 FAYE AVE                                                                                    INOLA             OK 74036‐5454
MILLER, GEORGE L         137 LYNCH FARM DR                                                                              NEWARK            DE 19713‐2812
MILLER, GEORGE L         127 RIDGE HILL DR                                                                              HIGHLAND HGTS     KY 41076‐1621
MILLER, GEORGE M         865 HARRIET TRL                                                                                WEST BRANCH       MI 48661‐9406
MILLER, GEORGE M         355 SOMERSHIRE DR                                                                              ROCHESTER         NY 14617‐5649
MILLER, GEORGE M         159 HARRIS DRIVE                                                                               SEBASTIAN         FL 32958‐5216
MILLER, GEORGE V         7330 EUCLID AVE                                                                                KANSAS CITY       MO 64132‐1702
MILLER, GEORGE W         826 ROSEDALE DR                                                                                DAYTON            OH 45402‐5737
MILLER, GEORGE W         1405 STANTON ST                                                                                BAY CITY          MI 48708‐8659
MILLER, GEORGE W         1946 BRIARFIELD ST                                                                             CANTON            MI 48188‐1815
MILLER, GEORGE W         826 ROSEDALE ST                                                                                DAYTON            OH 45407‐1737
MILLER, GEORGE W         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
MILLER, GEORGE WILLIAM   1946 BRIARFIELD ST                                                                             CANTON           MI   48188‐1815
MILLER, GEORGIA          1531 NE 501                                                                                    ANDREWS          TX   79714‐9151
MILLER, GEORGIA A        4646 HESS RD                                                                                   SAGINAW          MI   48601‐6957
MILLER, GEORGIA A        4646 HESS STREET                                                                               SAGINAW          MI   48601‐6957
MILLER, GEORGIA L        22522 BRAKEN CARTER LANE                                                                       KATY             TX   77449‐3618
MILLER, GEORGIA L        1814E 400 SOUTH                                                                                KOKOMO           IN   46902
MILLER, GERALD           211 N HOLLYWOOD DR                                                                             SURFSIDE BEACH   SC   29575‐3858
MILLER, GERALD A         7255 MAPLE RD                                                                                  FRANKENMUTH      MI   48734‐9547
MILLER, GERALD B         1528 SILVER CREEK RD                                                                           WHITEHALL        MI   49461‐9551
MILLER, GERALD B         13614 LIGHTENING ROD CT                                                                        BAYONET POINT    FL   34669
MILLER, GERALD D         2618 SCHROEDER ST                                                                              TOLEDO           OH   43613‐2046
MILLER, GERALD D         1997 INDIAN RD                                                                                 LAPEER           MI   48446‐8048
MILLER, GERALD DAVID     2618 SCHROEDER ST                                                                              TOLEDO           OH   43613‐2046
MILLER, GERALD E         2260 ENTARA CT                                                                                 LAKE ORION       MI   48362‐1144
MILLER, GERALD E         6400 LAKE MICHIGAN RD                                                                          HONOR            MI   49640‐9514
MILLER, GERALD E         3 WASHINGTON ST                                                                                MIDDLEPORT       NY   14105‐1109
MILLER, GERALD F         39 PARKWOOD AVE                                                                                BUFFALO          NY   14217‐2715
MILLER, GERALD G         PO BOX 695                        C/O KELLY TAYES, PRIVATE CONSE                               COOKEVILLE       TN   38503‐0695

MILLER, GERALD J         41520 WESTMEATH CIR                                                                            CLINTON TWP      MI   48038‐5811
MILLER, GERALD J         14206 EASTVIEW DR                                                                              FENTON           MI   48430‐1306
MILLER, GERALD J         5330 OLD HARDING RD                                                                            FRANKLIN         TN   37064
MILLER, GERALD JOHN      41520 WESTMEATH CIR                                                                            CLINTON TWP      MI   48038‐5811
MILLER, GERALD L         3118 OAK POINTE DR                                                                             LOMPOC           CA   93436‐2383
MILLER, GERALD M         4025 S SHADY LANE CT                                                                           GREENFIELD       WI   53228‐2150
MILLER, GERALD P         6553 HARTWOOD DR                                                                               FENTON           MI   48430‐9024
MILLER, GERALD R         12099 RIVERBEND DR                                                                             GRAND BLANC      MI   48439‐1723
MILLER, GERALD R         124 OLDBURY DR                                                                                 WILMINGTON       DE   19808‐1420
MILLER, GERALD R         2205 N LEXINGTON DR                                                                            JANESVILLE       WI   53545‐0537
MILLER, GERALD R         6637 DAVIS RD                                                                                  HILLIARD         OH   43026‐9453
MILLER, GERALD R         8105 N SANTA BARBARA DR                                                                        MUNCIE           IN   47303‐9365
MILLER, GERALD R         131 PONDEROSA PINE DR                                                                          DEFIANCE         OH   43512‐3575
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Name                  Address1                       Address2                   Address3    Address4            City               State Zip
MILLER, GERALD T      7076 GRANADA DR                                                                           FLINT               MI 48532‐3022
MILLER, GERALD W      1007 LAMBERTON ST NE                                                                      GRAND RAPIDS        MI 49505‐3240
MILLER, GERALD W      5087 DUNBAR CT                                                                            GLADWIN             MI 48624‐8520
MILLER, GERALD W      802 E HIGH ST                                                                             EATON               OH 45320‐1958
MILLER, GERALD W      802 EAST HIGH ST                                                                          EATON               OH 45320‐1958
MILLER, GERALD W      2238 PARKER CT                                                                            SIMI VALLEY         CA 93065‐2441
MILLER, GERALDINE     1505 KENWOOD DR                                                                           BETHLEHEM           PA 18017‐2220
MILLER, GERALDINE     39205 MAES                                                                                WESTLAND            MI 48186‐3714
MILLER, GERALDINE     19310 HICKORY RIDGE RD                                                                    FENTON              MI 48430‐8529
MILLER, GERALDINE     28 HICKORY RDG                                                                            DAVISON             MI 48423
MILLER, GERALDINE     39205 MAES ST                                                                             WESTLAND            MI 48186‐3714
MILLER, GERALDINE     18145 ALTA VISTA DR                                                                       SOUTHFIELD          MI 48075‐1805
MILLER, GERALDINE B   262 FOLSOM ST NW APT 6                                                                    WARREN              OH 44483
MILLER, GERALDINE K   6659 E SIDEWINDER LN                                                                      APACHE JUNCTION     AZ 85219‐8365
MILLER, GERALDINE M   2959 PORT AUSTIN RD                                                                       PORT AUSTIN         MI 48467‐9725
MILLER, GERARD E      228 JUNIPER DR                                                                            DAVISON             MI 48423‐1829
MILLER, GERRY J       1221 MAGNOLIA ST                                                                          DEFIANCE            OH 43512‐3028
MILLER, GERTHA L      3476 IVY HILL CIR UNIT D                                                                  CORTLAND            OH 44410‐9246
MILLER, GERTHA L      3476 D IVY HILL CIRCLE                                                                    CORTLAND            OH 44410‐9246
MILLER, GIGETA M      17700 WELLS RD                                                                            NORTH FORT MYERS    FL 33917‐2122
MILLER, GILBERT R     2554 N FOREST RD                                                                          GETZVILLE           NY 14068‐1227
MILLER, GILBERT R     151 OAK CIR                                                                               SMITHS GROVE        KY 42171‐8896
MILLER, GLADYS M      1255 N LEIGHTON DRIVE                                                                     BATON ROUGE         LA 70806‐1840
MILLER, GLADYS V      202 CLUBHOUSE DRIVE                                                                       WASHINGTON          PA 15301‐6281
MILLER, GLEN          2082 N 300 W                                                                              KOKOMO              IN 46901‐9180
MILLER, GLEN A        1207 COLUMBUS AVE                                                                         DEFIANCE            OH 43512‐3140
MILLER, GLEN E        339 116TH AVE                                                                             MARTIN              MI 49070‐8702
MILLER, GLEN E        5312 DUTCHER RD                                                                           HOWELL              MI 48843
MILLER, GLEN M        11442 N ELMS RD                                                                           CLIO                MI 48420‐9468
MILLER, GLEN M        4101 W SAINT CHARLES AVE                                                                  PHOENIX             AZ 85041‐4980
MILLER, GLENDA        3718 HUNTINGTON ROAD                                                                      MARION              IN 46952‐1228
MILLER, GLENDA        3718 N HUNTINGTON RD                                                                      MARION              IN 46952‐1228
MILLER, GLENDA M      2711 MINERVA ST                                                                           WARREN              MI 48091‐3267
MILLER, GLENN         8313 TANGLEROSE DR                                                                        FRISCO              TX 75034‐6223
MILLER, GLENN B       APT 122                        435 SOUTH LIVERNOIS ROAD                                   ROCHESTER HLS       MI 48307‐2571
MILLER, GLENN C       470 PLEASANT VIEW DR                                                                      LANCASTER           NY 14086‐1402
MILLER, GLENN D       233 D F PETTY RD                                                                          BOWLING GREEN       KY 42103‐9505
MILLER, GLENN E       3431 LA SALLE DR                                                                          ANN ARBOR           MI 48108‐2900
MILLER, GLENN G       235 S 78TH ST                                                                             KANSAS CITY         KS 66111‐2911
MILLER, GLENN H       5666 WENDY CIR                                                                            LOCKPORT            NY 14094‐6015
MILLER, GLENN K       2688 GLYNN CT                                                                             DETROIT             MI 48206‐1618
MILLER, GLENN L       1447 S SEYMOUR RD                                                                         FLINT               MI 48532‐5517
MILLER, GLENN R       8462 FORREST DR                                                                           CANTON              MI 48187‐4206
MILLER, GLENN R       2675 WINDMILL PKWY             APT 1221                                                   HENDERSON           NV 89074‐3397
MILLER, GLORIA        76 DIXON CRESENT                                                      WELLAND ON CANADA
                                                                                            L3C6P4
MILLER, GLORIA J      4824 BERRYWOOD DR. W                                                                      SAGINAW            MI   48603‐1048
MILLER, GLORIA J      20403 OHIO ST                                                                             DETROIT            MI   48221‐1118
MILLER, GLORIA P      1797 DODGE ST. N.W.                                                                       WARREN             OH   44485‐1824
MILLER, GLORIA P      1797 DODGE DR NW                                                                          WARREN             OH   44485‐1824
MILLER, GOLDIE L      84 CLARK ST                                                                               LUCASVILLE         OH   45648
MILLER, GORDON E      19 KOVE BLVD                                                                              OSTEEN             FL   32764‐8505
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Name                   Address1                         Address2                        Address3   Address4         City            State Zip
MILLER, GORDON L       33 CASCADE DR                                                                                AMHERST          NY 14228‐1827
MILLER, GORDON M       3486 NORWAY LAKE RD                                                                          COLUMBIAVILLE    MI 48421‐9781
MILLER, GORDON M       1651 CASTLE RD                                                                               NORTH BRANCH     MI 48461‐8760
MILLER, GRACE A        2101 ARLINGTON AVE APT 318                                                                   TOLEDO           OH 43609‐1981
MILLER, GRACE L        62 HERMITAGE HILLS BLVD                                                                      HERMITAGE        PA 16148‐5712
MILLER, GRACE M        10299 WILDWOOD RD                                                                            INTERLOCHEN      MI 49643‐9758
MILLER, GRACE W        53 MONTEREY BLVD                                                                             PONTIAC          MI 48342‐2423
MILLER, GRACE W        53 MONTEREY ST                                                                               PONTIAC          MI 48342‐2423
MILLER, GRANT E        11157 VILLAGE LN                                                                             CLINTON          MI 49236
MILLER, GREG           18275 SWAN CREEK RD                                                                          HEMLOCK          MI 48626‐9750
MILLER, GREG           DOWD & DOWN                      100 NORTH BROADWAY ‐ STE 1580                               SAINT LOUIS      MO 63102

MILLER, GREG           HENNING LAW FIRM PC              1044 MAIN ST STE 500                                        KANSAS CITY     MO   64105‐2124
MILLER, GREG           WENDLER & EZRA                   850 VANDALIA ST STE 310                                     COLLINSVILLE    IL   62234‐4068
MILLER, GREG           ISBELL JONATHAN LAW OFFICE OF    PO BOX 598                                                  EDWARDSVILLE    IL   62026‐0001
MILLER, GREG A         7494 GRANDWOOD DR                                                                            SWARTZ CREEK    MI   48473‐9412
MILLER, GREG ALAN      7494 GRANDWOOD DR                                                                            SWARTZ CREEK    MI   48473‐9412
MILLER, GREGG A        1313 KEYSTONE CT                                                                             FRANKLIN        TN   37064‐9692
MILLER, GREGORY A      113 STREAMVIEW DR                                                                            TROY            MI   48085‐4763
MILLER, GREGORY G      1760 SHEFFIELD CT                                                                            DUBUQUE         IA   52003‐7897
MILLER, GREGORY K      43 BELLWOOD DRIVE                                                                            SWARTZ CREEK    MI   48473‐8283
MILLER, GREGORY K      43 BELLWOOD DR                                                                               SWARTZ CREEK    MI   48473‐8283
MILLER, GREGORY L      4116 ARROYO TRL                                                                              FORT WORTH      TX   76135‐2302
MILLER, GREGORY L      436 OSMUN ST                                                                                 PONTIAC         MI   48342‐3253
MILLER, GREGORY L      9386 W 500 N                                                                                 PENNVILLE       IN   47369‐9782
MILLER, GREGORY LEON   9386 W 500 N                                                                                 PENNVILLE       IN   47369‐9782
MILLER, GREGORY Q      3620 NUGGET DR                                                                               BOWLING GREEN   KY   42104‐7618
MILLER, GREGORY R      4108 S TRACEY RD                                                                             JANESVILLE      WI   53548‐9714
MILLER, GRETA B        741 WILLIAMS DR                                                                              LAKE CHARLES    LA   70607‐7407
MILLER, GUERIN D       255 W FAIRMOUNT AVE                                                                          PONTIAC         MI   48340‐2741
MILLER, GUSTELLA       5244 N SPAULDING AVE                                                                         CHICAGO         IL   60625‐4720
MILLER, GWENDOLYN K    5918 NW 47TH WAY                                                                             RIVERSIDE       MO   64150
MILLER, GWENDOLYN R    4271 BRIAR PLACE                                                                             DAYTON          OH   45405‐1814
MILLER, GWENDOLYN R    4271 BRIAR PL                                                                                DAYTON          OH   45405‐1814
MILLER, H E            418 JASMINE WAY                                                                              CLEARWATER      FL   33756‐3822
MILLER, H M            6528 W GRAND LEDGE HWY                                                                       SUNFIELD        MI   48890
MILLER, HANNAH K       P. O. BOX 81                                                                                 GERMANTOWN      OH   45327‐0081
MILLER, HANNAH K       PO BOX 81                                                                                    GERMANTOWN      OH   45327‐0081
MILLER, HAPPY C        36835 PERRY ST                                                                               ROMULUS         MI   48174‐3933
MILLER, HARLAN E       1645 ROCK RD                                                                                 MANSFIELD       OH   44903‐7348
MILLER, HARLAN H       PO BOX 324                                                                                   MEDINA          OH   44258‐0324
MILLER, HARLEY         2528 BLUEGRASS DR                                                                            BOWLING GREEN   KY   42104‐4506
MILLER, HARLIN W       123 N 5TH ST                                                                                 EVANSVILLE      WI   53536‐1043
MILLER, HARLING        10517 OLD DAYTON RD                                                                          NEW LEBANON     OH   45345‐9685
MILLER, HAROLD         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                        STREET, SUITE 600
MILLER, HAROLD A       10543 SPRING GARDEN DR                                                                       SAINT LOUIS     MO   63137‐4433
MILLER, HAROLD C       7764 CLARKS CV                                                                               ADDISON         MI   49220‐9777
MILLER, HAROLD D       414 S MADISON ST                                                                             EVANSVILLE      WI   53536‐1326
MILLER, HAROLD E       318 DRINA AVE                                                                                NEW LEBANON     OH   45345‐1122
MILLER, HAROLD E       2450 KROUSE RD LOT 494                                                                       OWOSSO          MI   48867‐8148
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Name                  Address1                        Address2                      Address3   Address4         City               State Zip
MILLER, HAROLD E      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                      STREET, SUITE 600
MILLER, HAROLD E      7340 ROSS RD                                                                              NEW CARLISLE       OH   45344‐8645
MILLER, HAROLD F      11951 BLUE HERON DRIVE                                                                    SHELBY TWP         MI   48315‐3305
MILLER, HAROLD G      1604 VENUS AVE                                                                            JUPITER            FL   33469‐3105
MILLER, HAROLD H      7482 SHARP ROAD                                                                           SWARTZ CREEK       MI   48473‐9409
MILLER, HAROLD J      13120 N LINDEN RD                                                                         CLIO               MI   48420‐8233
MILLER, HAROLD J      47416 FORTON ST                                                                           CHESTERFIELD       MI   48047‐3403
MILLER, HAROLD K      8840 HARDING AVE                                                                          FARWELL            MI   48622‐9758
MILLER, HAROLD R      712 AIRPORT RD                                                                            BROWNSBURG         IN   46112‐1904
MILLER, HAROLD W      4481 CENTER HILL CHURCH RD                                                                LOGANVILLE         GA   30052‐4272
MILLER, HAROLD W      1204 MEADOW LN                                                                            ANDERSON           IN   46011‐2448
MILLER, HARRIET J     100 PIN OAK DR                                                                            COOPERSVILLE       MI   49404‐1407
MILLER, HARRIS E      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                      STREET, SUITE 600
MILLER, HARRIS I      3090 NOBLE RD                                                                             OXFORD             MI   48370‐1500
MILLER, HARRY         3007 PICKETT RD APT 502                                                                   DURHAM             NC   27705
MILLER, HARRY         PINE HAVEN POST OFFICE 73025                                                              NORTH CHARLESTON   SC   29405
MILLER, HARRY J       5342 S DYEWOOD DR                                                                         FLINT              MI   48532‐3326
MILLER, HARRY L       3317 MORRIS FARM DR                                                                       JAMESTOWN          NC   27282‐8670
MILLER, HARRY P       7140 SPRINGDALE DR                                                                        BROOKFIELD         OH   44403‐9621
MILLER, HARVEY        2905 BUICE LN                                                                             GAINESVILLE        GA   30504‐5807
MILLER, HATTIE        21418 PANAMA ST                                                                           WARREN             MI   48091‐2816
MILLER, HAYDEN S      REGER RIZZO & DARNALL LLP       DARLINGTON COMMONS 158 WEST                               WEST CHESTER       PA   19382
                                                      GAY STREET SUITE 210
MILLER, HAYWARD       18903 SANTA BARBARA DR                                                                    DETROIT            MI   48221‐2151
MILLER, HAZEL         1222 ELDORADO DR                                                                          FLINT              MI   48504‐3218
MILLER, HAZEL C       8096 INGALLS ST                                                                           SWARTZ CREEK       MI   48473‐1384
MILLER, HAZEL E       4 FAY ST                                                                                  CLARKSTON          MI   48346‐4110
MILLER, HAZEL L       3104 RUGER AVE                                                                            JANESVILLE         WI   53546
MILLER, HEATHER       213 CEDAR AVE                                                                             ELK CITY           OK   73644‐3801
MILLER, HELEN         11430 N ELMS RD                                                                           CLIO               MI   48420‐9468
MILLER, HELEN         4455 LAPORTE                                                                              FREELAND           MI   48623‐9446
MILLER, HELEN         2851 OMAR                                                                                 PORT HURON         MI   48060‐2960
MILLER, HELEN         2851 OMAR ST                                                                              PORT HURON         MI   48060‐2960
MILLER, HELEN         4455 E LAPORTE RD                                                                         FREELAND           MI   48623‐9446
MILLER, HELEN A       42 BRECKENRIDGE CT                                                                        ENTERPRISE         AL   36330‐1205
MILLER, HELEN AMEND   297 LINWOOD AVE APT 18                                                                    WARSAW             NY   14569‐1047
MILLER, HELEN ANN     4030 FRIEGEL RD #1                                                                        LAINGSBURG         MI   48848‐8767
MILLER, HELEN B       1993 N PERRINE RD                                                                         MIDLAND            MI   48642
MILLER, HELEN J       13750 TREELAND DR                                                                         SHELBY TOWNSHIP    MI   48315‐6055
MILLER, HELEN J       PO BOX 332                                                                                BEECHER            IL   60401‐0332
MILLER, HELEN M       414 CHESTER                                                                               DANVILLE           IL   61832‐1547
MILLER, HELEN M       4761 TERRACE AVE                                                                          SAINT LOUIS        MO   63116‐1281
MILLER, HELEN M       412 E 11TH ST                                                                             PORT CLINTON       OH   43452‐2448
MILLER, HELEN M       414 CHESTER AVE                                                                           DANVILLE           IL   61832‐1547
MILLER, HELEN R       3482 FERN AVE                                                                             BURTON             MI   48529‐1345
MILLER, HELEN V       1319 MILLERS CREEK RD                                                                     LENOIR             NC   28645‐8217
MILLER, HELEN V       1319 MILLER CREEK RD S.E.                                                                 LENOIR             NC   28645‐8217
MILLER, HELENA J      PO BOX 175                                                                                DURANGO            CO   81302
MILLER, HELENE V      35072 DEARING DR                                                                          STERLING HEIGHTS   MI   48312‐3817
MILLER, HENRY         1511 VANDYKE GREENSPRING RD                                                               SMYRNA             DE   19977‐9489
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Name                    Address1                            Address2                       Address3        Address4         City              State Zip
MILLER, HENRY           GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                    SAGINAW            MI 48604‐2602
                                                            260
MILLER, HENRY           BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                    NORTHFIELD        OH 44067
                                                            PROFESSIONAL BLDG
MILLER, HENRY A         3761 CUMBERLAND RD                                                                                  BERKLEY           MI 48072‐1653
MILLER, HENRY C         1818 DOGWOOD DR                                                                                     HOLT              MI 48842‐1531
MILLER, HENRY D         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
MILLER, HENRY E         PATTEN WORNOM & WATKINS             12350 JEFFERSON AVE STE 360                                     NEWPORT NEWS      VA   23602‐6956
MILLER, HENRY E         1047 ARDYTHE LN                                                                                     DAVISON           MI   48423‐7904
MILLER, HENRY L         170 GALE BLVD APT 302                                                                               MELVINDALE        MI   48122‐1735
MILLER, HENRY M         50 HOWARD ST APT 134                                                                                FREDONIA          NY   14063‐2156
MILLER, HENRY W         12050 PRIOR RD                                                                                      SAINT CHARLES     MI   48655‐9512
MILLER, HERBERT A       3 MADISON AVE                                                                                       W HAZELTON        PA   18202
MILLER, HERBERT A       3 W MADISON AVE                                                                                     WEST HAZLETON     PA   18202‐2109
MILLER, HERBERT C       14335 BAINBRIDGE ST                                                                                 LIVONIA           MI   48154‐4358
MILLER, HERBERT D       RT 7 BOX 171                                                                                        DONIPHAN          MO   63935
MILLER, HERBERT E       5020 MANGROVE POINT ROAD                                                                            BRADENTON         FL   34210‐2131
MILLER, HERBERT J       12104 E 39TH TER S                                                                                  INDEPENDENCE      MO   64052‐2406
MILLER, HERBERT M       9591 APPLE HARVEST DR                                                                               MARTINSBURG       WV   25403‐6015
MILLER, HERCHAL L       6715 W 80TH ST                                                                                      OVERLAND PARK     KS   66204‐3815
MILLER, HERLING         8913 S STATE ROUTE 73                                                                               WILMINGTON        OH   45177‐9330
MILLER, HERSCHELL O     1224 SUGAR PINE DR                                                                                  ANDERSON          IN   46012‐5502
MILLER, HILDA           2770 INDIANWOOD DRIVE                                                                               NORTH FORT MYER   FL   33917‐1881
MILLER, HIRAM B         55 E. PLESANTE ST                                                                                   RIVER ROUGE       MI   48218
MILLER, HIRAM BERTRAM   55 E. PLESANTE ST                                                                                   RIVER ROUGE       MI   48218
MILLER, HOBERT L        210 W SOUTH ST APT B25                                                                              DAVISON           MI   48423‐1578
MILLER, HOLLY B         6535 W RANGE MULE DR                                                                                PHOENIX           AZ   85083‐1804
MILLER, HOLLY G         3430 BERKELEY RD                                                                                    ANDERSON          IN   46011‐3810
MILLER, HOMER W         330 WOODRUFF LAKE RD                                                                                HIGHLAND          MI   48357‐3565
MILLER, HORACE          17178 STAHELIN AVE                                                                                  DETROIT           MI   48219‐3543
MILLER, HORACE C        933 WILDWOOD DR                                                                                     MELBOURNE         FL   32940‐1504
MILLER, HOWARD A        2378 HARVEST RIDGE DR                                                                               STATE COLLEGE     PA   16803‐2431
MILLER, HOWARD A        C/O EARLY LUDWICK & SWEENEY L.L.C.  ONE CENTURY TOWER, 11TH FL     265 CHURCH ST                    NEW HAVEN         CT   06508
MILLER, HOWARD C        10304 NW MEADOW LANE DR                                                                             KANSAS CITY       MO   64152‐2530
MILLER, HOWARD E        1409 E HELMICK ST                                                                                   CARSON            CA   90746‐3109
MILLER, HOWARD E        7004 N LAKE DR                                                                                      BRENTWOOD         TN   37027‐7846
MILLER, HOWARD E        4119 CIRCLEWOOD DR                                                                                  ERLANGER          KY   41018‐2853
MILLER, HOWARD E        6306 CARNATION RD                                                                                   DAYTON            OH   45449‐3058
MILLER, HOWARD H        13842 FORDHAM ST                                                                                    DETROIT           MI   48205‐2326
MILLER, HOWARD J        9304 N MATTOX AVE                                                                                   KANSAS CITY       MO   64154‐2028
MILLER, HOWARD WADE     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
MILLER, HUBERT L        2465 BELVOIR BLVD                                                                                   SOUTH EUCLID      OH   44121‐1246
MILLER, HUBERT W        1119 ASHBURTON ST                                                                                   BALTIMORE         MD   21216‐4304
MILLER, HUGH            6635 EASTLAWN AVE                                                                                   CLARKSTON         MI   48346‐2138
MILLER, HUGH O          1140 SPRINGVIEW DR                                                                                  FLUSHING          MI   48433‐1440
MILLER, HUGH W          9162 PINE WALK PASS                                                                                 LINDEN            MI   48451‐8578
MILLER, IDA             1010 S 27TH ST                                                                                      SAGINAW           MI   48601‐6542
MILLER, ILLONA          DURST LAW FIRM PC                   319 BROADWAY                                                    NEW YORK          NY   10007
MILLER, IMOGENE         3204 HAGEMANN                                                                                       KANSAS CITY       KS   66106‐4240
MILLER, IMOGENE         3204 HAGEMANN ST                                                                                    KANSAS CITY       KS   66106‐4240
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Name                Address1                       Address2                 Address3      Address4         City             State Zip
MILLER, INA M       PO BOX 1924                                                                            HOMOSASSO SPG     FL 34447‐1924
MILLER, IRENE       PO BOX 81                                                                              LEWISVILLE        OH 43754‐0081
MILLER, IRENE       502 MACDUFF DR                                                                         MOUNT MORRIS      MI 48458‐8921
MILLER, IRENE F     206 ELIZABETH ST NE                                                                    LENOIR            NC 28645‐3529
MILLER, IRENE H     4603 SARATOGA RD                                                                       RICHTON PARK       IL 60471‐1124
MILLER, IRENE L     8200 WESTWOLD DR APT 214       CARRIAGE HOUSE ESTATES                                  BAKERSFIELD       CA 93311‐3444
MILLER, IRENE T     518 LINDEN WAY DR                                                                      SANDUSKY          OH 44870‐6300
MILLER, IRIS B      102 DANVERS FARM CIR                                                                   UNION             OH 45322‐3406
MILLER, IRIS H      1728 FERNMONT AVE                                                                      NEW CARLISLE      OH 45344‐2419
MILLER, IRIS H      1728 FERNMONT DR                                                                       NEW CARLISLE      OH 45344‐2419
MILLER, IRMA D      63 LAKECREST BOULEVARD                                                                 HINCKLEY          OH 44233‐9624
MILLER, IRMA R      3157 HIGHWAY 171                                                                       STONEWALL         LA 71078‐9432
MILLER, IRVIN       GOLDENBERG, MILLER, HELLER &   PO BOX 959                                              EDWARDSVILLE       IL 62025‐0959
                    ANTOGNOLI
MILLER, IRVING P    509 HARMAN AVE                                                                         PAGOSA SPRINGS   CO   81147‐8703
MILLER, ISABEL M    4193 OLD STATE ROUTE 14                                                                DUNDEE           NY   14837‐9130
MILLER, ISABEL M    4183 OLD STATE ROUTE 14                                                                DUNDEE           NY   14837‐9130
MILLER, IVA J       618 LISCUM DR                                                                          DAYTON           OH   45427‐2705
MILLER, IVA J       618 LISCUM DRIVE                                                                       DAYTON           OH   45427‐2705
MILLER, IVAN L      2084 TIMBER TRL                                                                        NATIONAL CITY    MI   48748‐9513
MILLER, IVAN L      310 GARFIELD ST                                                                        BAY CITY         MI   48708
MILLER, IVORY E     2726 FULS RD                                                                           FARMERSVILLE     OH   45325‐9232
MILLER, IVORY L     6242 BERMUDA LN                                                                        MOUNT MORRIS     MI   48458‐2625
MILLER, IVORY O     138 MINGES CIR                                                                         BATTLE CREEK     MI   49015‐4716
MILLER, J           1525 PRUETER RD                                                                        SAGINAW          MI   48601‐6614
MILLER, J A         2046 COUNTY LINE RD                                                                    BARKER           NY   14012‐9673
MILLER, J L         5309 DUPONT ST                                                                         FLINT            MI   48505‐2648
MILLER, J S         902 W LINCOLN AVE                                                                      COPPERAS COVE    TX   76522‐1420
MILLER, J S         7704 ADEL RD                                                                           SPENCER          IN   47460‐5818
MILLER, J S         19126 E TONTO TRL                                                                      RIO VERDE        AZ   85263‐7208
MILLER, J W         6224 WOODLAND DR                                                                       GRAND BLANC      MI   48439‐4819
MILLER, JACALYN S   PO BOX 29                      APT #9                                                  LEVELS           WV   25431‐0029
MILLER, JACK        7435 WILLIAM HENSLEY DR                                                                FAIRFIELD        OH   45014‐7675
MILLER, JACK A      1295 HARDER CT                                                                         ROCKFORD         IL   61103‐1182
MILLER, JACK A      1304 CARPATHIAN WAY                                                                    CLIO             MI   48420‐2147
MILLER, JACK D      1020 SE 3RD ST                                                                         CAPE CORAL       FL   33990‐1203
MILLER, JACK D      1977 W STATE ROAD 128                                                                  ALEXANDRIA       IN   46001‐8238
MILLER, JACK E      101 MEADOW LAKE DR APT B                                                               MOORESVILLE      IN   45158‐1878
MILLER, JACK E      3467 W WOODMONT WAY                                                                    PALM HARBOR      FL   34684‐3047
MILLER, JACK E      10721 US HIGHWAY 98                                                                    DADE CITY        FL   33525‐1698
MILLER, JACK E      1033 BURNS ST                                                                          MOUNT MORRIS     MI   48458‐1107
MILLER, JACK E      823 CLYDE ST                                                                           OWOSSO           MI   48867‐4228
MILLER, JACK E      4235 E 1200 S                                                                          AMBOY            IN   46911‐9317
MILLER, JACK H      1670 ALCAZAR WAY                                                                       FORT MOHAVE      AZ   86426‐8329
MILLER, JACK H      RR 2 # 6                                                                               ROME             OH   44085
MILLER, JACK J      7038 LEWISTON RD FL 3                                                                  OAKFIELD         NY   14125‐9701
MILLER, JACK L      5157 PINT VIEW DRIVE                                                                   HARRISON         MI   48625‐9628
MILLER, JACK L      6100 GREEN RD                                                                          HASLETT          MI   48840‐9788
MILLER, JACK L      6285 F 30                                                                              GLENNIE          MI   48737‐9595
MILLER, JACK L      1909 YOULL ST                                                                          NILES            OH   44446‐4018
MILLER, JACK M      3712 S TRAIL RIDGE AVE                                                                 INDEPENDENCE     MO   64055‐3763
MILLER, JACK R      14835 NARCISSUS CREST AVE                                                              CANYON CNTRY     CA   91387‐2264
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Name                   Address1                        Address2                      Address3   Address4         City            State Zip
MILLER, JACK T         4367 ROUNDTREE DR                                                                         DAYTON           OH 45432‐1840
MILLER, JACK W         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                       STREET, SUITE 600
MILLER, JACKIE D       550 N HARRISON RD               UNIT 2106                                                 TUCSON          AZ   85748
MILLER, JACKIE D       APT 2106                        550 NORTH HARRISON ROAD                                   TUCSON          AZ   85748‐2770
MILLER, JACKIE L       11220 W STATE ROAD 32                                                                     YORKTOWN        IN   47396‐9797
MILLER, JACOB
MILLER, JACQUE L       2550 S ELLSWORTH RD UNIT 214                                                              MESA            AZ   85209‐2455
MILLER, JACQUELINE     5707 VICKSBURG DRIVE                                                                      INDIANAPOLIS    IN   46254‐5096
MILLER, JACQUELINE A   3009 ANDREA DR                                                                            LANSING         MI   48906‐2606
MILLER, JACQUELINE P   1775 NORTHWEST ARTHUR CIRCLE                                                              CORVALLIS       OR   97330‐1940
MILLER, JACQUELINEC    1931 WILSON AVE                                                                           SAINT ALBANS    WV   25177‐3135
MILLER, JACQUELYN      607 N WINTER ST                                                                           ADRIAN          MI   49221‐1644
MILLER, JACQUELYN G    467 CREEKWOOD CIR                                                                         LINDEN          MI   48451‐9115
MILLER, JAMES          1222 CHURCH ST                                                                            FLINT           MI   48502‐1032
MILLER, JAMES          8306 INDIANA ST                                                                           DETROIT         MI   48204‐3279
MILLER, JAMES          436 OSMUN ST                                                                              PONTIAC         MI   48342‐3253
MILLER, JAMES
MILLER, JAMES          E9325 69TH AVE                                                                            ELK MOUND       WI   54739
MILLER, JAMES          GUY WILLIAM S                   PO BOX 509                                                MCCOMB          MS   39649‐0509
MILLER, JAMES          19634 HEALY ST                                                                            DETROIT         MI   48234‐2158
MILLER, JAMES A        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
MILLER, JAMES A        1325 E 7TH ST                                                                             MUNCIE          IN   47302‐3613
MILLER, JAMES A        253 OAK ORCHARD EST                                                                       ALBION          NY   14411‐1056
MILLER, JAMES A        9839 ARN DR                                                                               CENTERVILLE     OH   45458‐4144
MILLER, JAMES A        3292 S CHANNEL DR                                                                         HARSENS IS      MI   48028‐9547
MILLER, JAMES A        9100 S COUNTY ROAD 375 W                                                                  REELSVILLE      IN   46171‐9443
MILLER, JAMES A        PO BOX 9022                     C/O GM ZURICH                                             WARREN          MI   48090‐9022
MILLER, JAMES A        1593 CHAPIN AVE                                                                           BIRMINGHAM      MI   48009‐5169
MILLER, JAMES A        10261 ROSEWOOD DR                                                                         OVERLAND PARK   KS   66207‐3456
MILLER, JAMES A        2432 N MAPLE GROVE HWY                                                                    HUDSON          MI   49247‐9730
MILLER, JAMES A        380 E UTICA ST                                                                            BUFFALO         NY   14208‐2109
MILLER, JAMES A        610 N JOHNSON ST                                                                          BAY CITY        MI   48708‐6729
MILLER, JAMES B        6365 RING NECK DR                                                                         DAYTON          OH   45424‐4196
MILLER, JAMES B        32500 ALLEN CT                                                                            LIVONIA         MI   48154‐4186
MILLER, JAMES B        5463 STATE ROUTE 122                                                                      FRANKLIN        OH   45005‐9602
MILLER, JAMES BRIAN    32500 ALLEN CT                                                                            LIVONIA         MI   48154‐4186
MILLER, JAMES C        6364 BUCKINGHAM AVE                                                                       ALLEN PARK      MI   48101‐2330
MILLER, JAMES C        978 SODA PARK DR                                                                          TEMPERANCE      MI   48182‐9162
MILLER, JAMES C        PO BOX 224                                                                                SOLON SPRINGS   WI   54873
MILLER, JAMES C        507 MORGAN ST                                                                             CALIFORNIA      MO   65018‐1476
MILLER, JAMES C        9029 E GOODALL RD                                                                         DURAND          MI   48429‐9737
MILLER, JAMES C        429 GRANADA AVE                                                                           EL PASO         TX   79912‐5223
MILLER, JAMES C        BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD    TX   75638‐2107
MILLER, JAMES D        904 DIVISION ST                                                                           HUNTINGTON      IN   46750‐2231
MILLER, JAMES D        796 JOBIN DR                                                                              WEST BRANCH     MI   48661‐8436
MILLER, JAMES D        7377 SMITH RD                                                                             GAINES          MI   48436‐9728
MILLER, JAMES D        1337 BECK ST                                                                              LEBANON         IN   46052‐2906
MILLER, JAMES D        912 CHICKASAW DR                                                                          MASON           MI   48854‐9610
MILLER, JAMES D        28242 NEWPORT DR                                                                          WARREN          MI   48088‐4263
MILLER, JAMES D        550 LIVE OAK TRL NE                                                                       CLEVELAND       TN   37323‐5532
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Name                    Address1                       Address2                      Address3   Address4         City            State Zip
MILLER, JAMES DOUGLAS   904 DIVISION ST                                                                          HUNTINGTON       IN 46750‐2231
MILLER, JAMES E         12089 MARIES COUNTY RD 611                                                               BRINKTOWN        MO 65443
MILLER, JAMES E         19321 AVON AVE                                                                           DETROIT          MI 48219‐2748
MILLER, JAMES E         305 DUPONT AVE                                                                           TONAWANDA        NY 14150‐7833
MILLER, JAMES E         308 KIWANIS AVE                                                                          HURON            OH 44839‐1820
MILLER, JAMES E         5935 SCHOOL ST                                                                           BERKELEY          IL 60163‐1550
MILLER, JAMES E         2235 DEXTER RD                                                                           AUBURN HILLS     MI 48326‐2307
MILLER, JAMES E         206 MULLIS ST                                                                            SYLVESTER        GA 31791
MILLER, JAMES F         431 S MORRICE RD                                                                         MORRICE          MI 48857‐9795
MILLER, JAMES F         2376 E FRANCES RD                                                                        CLIO             MI 48420‐9769
MILLER, JAMES G         826 N 91ST WAY                                                                           MESA             AZ 85207‐5102
MILLER, JAMES H         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                       STREET, SUITE 600
MILLER, JAMES H         3425 CLEMENT ST                                                                          FLINT           MI   48504‐2472
MILLER, JAMES HERBERT   3425 CLEMENT ST                                                                          FLINT           MI   48504‐2472
MILLER, JAMES I         G7357 ELMCREST AVE                                                                       MOUNT MORRIS    MI   48458
MILLER, JAMES I         3602 SAINT ALBAN DR                                                                      SAINT CHARLES   MO   63301‐0350
MILLER, JAMES I         1997 W LAKE DR                                                                           MARTIN          MI   49070‐9786
MILLER, JAMES J         N13256M95                                                                                CHANNING        MI   49815
MILLER, JAMES J         619 N NEW DEXTER ST                                                                      IONIA           MI   48846‐1163
MILLER, JAMES K         251 OLD SQUAN RD                                                                         BRICK           NJ   08724
MILLER, JAMES L         242 E RAHN RD                                                                            KETTERING       OH   45429‐5424
MILLER, JAMES L         885 W PIDGEON RD                                                                         SALEM           OH   44460‐4135
MILLER, JAMES L         9012 GARY RD                                                                             CHESANING       MI   48616‐9425
MILLER, JAMES L         347 W GLOUCESTER DR                                                                      SAGINAW         MI   48609‐9609
MILLER, JAMES L         9066 VIENNA RD                                                                           OTISVILLE       MI   48463‐9703
MILLER, JAMES L         119 LAKEVIEW AVE                                                                         HOUGHTON LAKE   MI   48629‐9370
MILLER, JAMES L         3692 BASS LAKE RD                                                                        IRON MOUNTAIN   MI   49801
MILLER, JAMES L         739 BETNER DR                                                                            MANSFIELD       OH   44907‐2707
MILLER, JAMES L         3077 ROCHESTER RD                                                                        LEONARD         MI   48367‐2411
MILLER, JAMES L         418 WATTS RD                                                                             SHREVEPORT      LA   71106‐6408
MILLER, JAMES L         3419 BUCKHAVEN DR                                                                        SAN ANTONIO     TX   78230‐4028
MILLER, JAMES M         6611 PARK HEIGHTS AVE          #314                                                      BALTIMORE       MD   21215
MILLER, JAMES M         30 CLOVE CT                                                                              SPRINGBORO      OH   45066‐1009
MILLER, JAMES M         O‐6943 KENOWA AVE SW                                                                     GRANDVILLE      MI   49418
MILLER, JAMES M         11430 N ELMS RD                                                                          CLIO            MI   48420‐9468
MILLER, JAMES M         HOFFMANN HERMAN JR             1100 POYDRAS ST                                           NEW ORLEANS     LA   70163
MILLER, JAMES MERLE     APT 4                          9150 CHATWELL CLUB LANE                                   DAVISON         MI   48423‐2870
MILLER, JAMES N         6550 TALLADAY RD                                                                         MILAN           MI   48160‐8814
MILLER, JAMES N         845 BURWICK TRCE                                                                         GREENWOOD       IN   46143‐1911
MILLER, JAMES O         920 S WASHINGTON AVE APT 8G                                                              LANSING         MI   48910‐1664
MILLER, JAMES O         5064 BEACONSFIELD ST                                                                     DETROIT         MI   48224‐3123
MILLER, JAMES O         1355 WIKEL RD                                                                            W MANCHESTER    OH   45382‐9709
MILLER, JAMES O         1012 SOUTHPORT AVE                                                                       LISLE           IL   60532‐1346
MILLER, JAMES O         178 LENOX ST                                                                             DETROIT         MI   48215‐3005
MILLER, JAMES P         6063 TORREY RD                                                                           FLINT           MI   48507‐3841
MILLER, JAMES P         11332 W ROYAL RD                                                                         STANWOOD        MI   49346‐8932
MILLER, JAMES R         2851 W BAKER RD                                                                          COLEMAN         MI   48618‐9561
MILLER, JAMES R         2443 N EAST DR                                                                           TAWAS CITY      MI   48763‐8703
MILLER, JAMES R         5752 WILSON RD                                                                           COLUMBIAVILLE   MI   48421‐8969
MILLER, JAMES R         776 BIGHAM ST                                                                            PONTIAC         MI   48342‐1702
MILLER, JAMES R         8730 EDGAR CT                                                                            CLARKSTON       MI   48346‐1916
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Name                   Address1                      Address2                         Address3   Address4         City                 State Zip
MILLER, JAMES R        17000 MIDWEST BLVD                                                                         NORMAN                OK 73026‐7950
MILLER, JAMES R        1110 BLUEGRASS CT                                                                          MIDLOTHIAN            TX 76065‐5441
MILLER, JAMES R        2429 SEMMES STREET                                                                         ATLANTA               GA 30344‐2435
MILLER, JAMES R        8736 SAN MARCO BLVD                                                                        STERLING HTS          MI 48313‐4862
MILLER, JAMES R        RM 3‐220 GM BLDG              (DELPHI SINGAPORE)                                           DETROIT               MI 48202
MILLER, JAMES R        8283 CENTER RD                                                                             HOLLAND               NY 14080‐9682
MILLER, JAMES R.       1645 HILLSIDE ST                                                                           LAKE ORION            MI 48362‐2214
MILLER, JAMES S        16630 PREST ST                                                                             DETROIT               MI 48235‐3872
MILLER, JAMES S        7663 NW LENOX LN                                                                           SILVERDALE            WA 98383‐7393
MILLER, JAMES S        6144 LAKE WALDON DR                                                                        CLARKSTON             MI 48346‐2293
MILLER, JAMES T        ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                                  SOUTHFIELD            MI 48075‐3727
MILLER, JAMES T        7 PRAIRIE CROSSING DR                                                                      SAINT PAUL            MO 63366‐4633
MILLER, JAMES V        40751 GUALALA PL                                                                           FREMONT               CA 94539‐3748
MILLER, JAMES W        PO BOX 291                                                                                 GENESEE               MI 48437‐0291
MILLER, JAMES W        5465 TOWNSHIP ROAD 59                                                                      MOUNT GILEAD          OH 43338‐9761
MILLER, JAMES W        2519 UPPER BELLBROOK RD                                                                    XENIA                 OH 45385‐9368
MILLER, JAMES W        5317 ROSE ST                                                                               GLADWIN               MI 48624‐8928
MILLER, JAN B          KIMMEL & SILVERMAN PC         30 EAST BUTLER PIKE, SUITE 310                               AMBLER                PA 19002
MILLER, JAN C          3275 SNODGRASS RD                                                                          MANSFIELD             OH 44903‐8933
MILLER, JAN S          2155 DARLINGTON DR                                                                         THE VILLAGES          FL 32162‐7724
MILLER, JANE           5002 MEYERS HILL RD                                                                        SANBORN               NY 14132‐9317
MILLER, JANE B         2 LAKE SHORE DR                                                                            MIDDLEFIELD           CT 06455‐1053
MILLER, JANE E         2037 SPENCER RD                                                                            STERLING              MI 48659‐9720
MILLER, JANET          303 CRESTWOOD ST                                                                           TILTON                 IL 61833‐7526
MILLER, JANET          303 CRESTWOOD                                                                              TILTON                 IL 61833‐7256
MILLER, JANET          HC 89 BOX 1972                                                                             BARBOURVILLE          KY 40906‐8119
MILLER, JANET A        7146 EAGLE COVE DR                                                                         INDIANAPOLIS          IN 46254‐4678
MILLER, JANET E        13314 LILLIAN LN                                                                           STERLING HTS          MI 48313‐2640
MILLER, JANET H        2618 ANDREW CT                                                                             MUNCIE                IN 47302‐5513
MILLER, JANET L        76 FELLOWSHIP CT                                                                           MARTINSBURG           WV 25405‐2568
MILLER, JANET L        793 MCPHERSON STREET                                                                       MANSFIELD             OH 44903‐7138
MILLER, JANET L        4701 HILLTOP DRIVE                                                                         OCEAN SPRINGS         MS 39564‐6008
MILLER, JANET L        14242 LANDINGS WAY                                                                         FENTON                MI 48430‐1318
MILLER, JANET L        3555 DIAMONDALE DR W                                                                       SAGINAW               MI 48601‐5808
MILLER, JANET LEE      14242 LANDINGS WAY                                                                         FENTON                MI 48430‐1318
MILLER, JANET R.       2 ELIZABETH AVENUE APT#4                                                                   MASSENA               NY 13662
MILLER, JANET S        24 DI FRANCO LN                                                                            O FALLON              MO 63366‐2722
MILLER, JANETTE        14804 E 40TH ST S                                                                          INDEPENDENCE          MO 64055‐4243
MILLER, JANICE J       93 PARADISE VALLEY DRIVE                                                                   CONROE                TX 77304
MILLER, JANICE L       207 EAST MAY ST. #4                                                                        GLADWIN               MI 48624‐2100
MILLER, JANICE L       207 E MAY ST APT 4                                                                         GLADWIN               MI 48624‐2100
MILLER, JANICE Y       1702 SHAMROCK LN                                                                           FLINT                 MI 48504‐2013
MILLER, JANNETTA G     202 APPIAN WAY                                                                             ANDERSON              IN 46013‐4776
MILLER, JASMINE M      4707 BIRCHCREST DR                                                                         FLINT                 MI 48504‐2001
MILLER, JASON          21715 COLONY ST                                                                            SAINT CLAIR SHORES    MI 48080‐2913
MILLER, JASON ALLEN    1297 142ND ST                                                                              NEW RICHMOND          WI 54017‐6644
MILLER, JASON ANDREW   940 SHERRY DR                                                                              LAKE ORION            MI 48362‐2870
MILLER, JASON E        6163 PINE CONE CT S           SOUTH                                                        BRIGHTON              MI 48116‐5163
MILLER, JASON F        1695 S DIAMOND MILL RD                                                                     NEW LEBANON           OH 45345
MILLER, JAY H          1600 AIRPORT DR                                                                            MECHANICSBURG         PA 17050‐2101
MILLER, JAY H          4571 W 400 S                                                                               MARION                IN 46953‐9738
MILLER, JAYNE          106 TANGLEWOOD DRIVE                                                                       ANDERSON              IN 46012
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Name                     Address1                         Address2                      Address3   Address4         City              State Zip
MILLER, JAYNE L          983 CHESTER ST                                                                             BIRMINGHAM         MI 48009‐4102
MILLER, JEAN E           PO BOX 16                                                                                  SPALDING           MI 49886‐0016
MILLER, JEAN E           641 LOCUST ST                                                                              LOCKPORT           NY 14094‐5920
MILLER, JEAN L           102 1/2 N HURON ST                                                                         LAKE CITY          MI 46510‐8442
MILLER, JEAN M           24500 MEADOWBROOK RD             THE MANOR OF NOVI                                         NOVI               MI 48375‐2844
MILLER, JEAN M           49571 ASH CT                                                                               PLYMOUTH           MI 48170‐6380
MILLER, JEAN M           819 S BALL ST                                                                              OWOSSO             MI 48867‐4402
MILLER, JEAN M           THE MANOR OF NOVI                24500 MEADOWBROOK                                         NOVI               MI 48375
MILLER, JEANETTA R       6408 S KELLEY AVE                                                                          OKLAHOMA CITY      OK 73149‐2310
MILLER, JEANETTE C       PO BOX 1325                                                                                YOUNGSTOWN         OH 44501‐1325
MILLER, JEANETTE L       8570 OLD TOWNE WAY                                                                         BOCA RATON         FL 33433‐6202
MILLER, JEANETTE L       2213 LEIGHTON DR                                                                           SHELBY TOWNSHIP    MI 48317‐2792
MILLER, JEANINE A        501 ROSEGARDEN DR NE                                                                       WARREN             OH 44484‐1832
MILLER, JEANNE Y         141 RIVER'S EDGE DR #303                                                                   TRAVERSE CITY      MI 49684
MILLER, JEANNINE P       8174 S HARRISON CIR                                                                        CENTENNIAL         CO 80122‐3619
MILLER, JEFF M           10112 MIAMISBURG SPRINGBORO RD                                                             MIAMISBURG         OH 45342‐4755
MILLER, JEFF R           12626 RUST LN                                                                              KEITHVILLE         LA 71047‐9216
MILLER, JEFF ROBERT      12626 RUST LN                                                                              KEITHVILLE         LA 71047‐9216
MILLER, JEFFERY A        3296 NORTON RD                                                                             HOWELL             MI 48843‐8982
MILLER, JEFFERY EARL     2530 KNOLLWOOD DR                                                                          INDIANAPOLIS       IN 46228‐2188
MILLER, JEFFERY G        31242 W RUTLAND ST                                                                         BEVERLY HILLS      MI 48025‐5430
MILLER, JEFFERY L        10310 SEYMOUR RD                                                                           MONTROSE           MI 48457‐9014
MILLER, JEFFERY L        PO BOX 116                                                                                 WHITTAKER          MI 48190
MILLER, JEFFERY LYNN     10310 SEYMOUR RD                                                                           MONTROSE           MI 48457‐9014
MILLER, JEFFREY          KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                  INDEPENDENCE       OH 44131‐2598
MILLER, JEFFREY A        5908 SCHOOLWOOD DR                                                                         SPEEDWAY           IN 46224‐3230
MILLER, JEFFREY A        3221 E DIX DR                                                                              MILTON             WI 53563‐9245
MILLER, JEFFREY A        PO BOX 274                                                                                 DURAND             MI 48429‐0274
MILLER, JEFFREY A        9106 N RAVEN DR                                                                            MILTON             WI 53563‐9654
MILLER, JEFFREY A        6006 ALTA VERDE CT                                                                         ARLINGTON          TX 76017‐0529
MILLER, JEFFREY A        1610 E LINCOLN AVE                                                                         ROYAL OAK          MI 48067‐3487
MILLER, JEFFREY A        2236 S 56TH ST                                                                             MILWAUKEE          WI 53219
MILLER, JEFFREY A        1262 SPRING BROOK CT 1262                                                                  WESTERVILLE        OH 43081
MILLER, JEFFREY ALAN     PO BOX 274                                                                                 DURAND             MI 48429‐0274
MILLER, JEFFREY D        15336 W COUNTY ROAD A                                                                      EVANSVILLE         WI 53536‐8557
MILLER, JEFFREY D        10395 EAGLE RD                                                                             DAVISBURG          MI 48350‐2128
MILLER, JEFFREY D        8662 RIVERBEND DR                                                                          PORTLAND           MI 48875‐1754
MILLER, JEFFREY D        368 CAPEN BLVD                                                                             AMHERST            NY 14226‐3014
MILLER, JEFFREY DAVID    368 CAPEN BLVD                                                                             AMHERST            NY 14226‐3014
MILLER, JEFFREY DENNIS   10395 EAGLE RD                                                                             DAVISBURG          MI 48350‐2128
MILLER, JEFFREY E        1504 CHARLESTON DR                                                                         ALLEN              TX 75002‐0913
MILLER, JEFFREY H        501 S CASTELL AVE                                                                          ROCHESTER          MI 48307‐2628
MILLER, JEFFREY J        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
MILLER, JEFFREY L        1141 SOUTHWOOD DR                                                                          INDIANAPOLIS      IN   46227‐4868
MILLER, JEFFREY L        8911 SURREY DR                                                                             PENDLETON         IN   46064‐9335
MILLER, JEFFREY S        118 MICHAEL LN                                                                             SHARPSVILLE       IN   46068‐9308
MILLER, JEFFREY S        27 DICKINSON ST UNIT D                                                                     MOUNT CLEMENS     MI   48043‐8203
MILLER, JEFFREY S        204 RISEMAN CT                                                                             OXFORD            MI   48371‐4187
MILLER, JEFFREY S        4549 HILLVIEW SHRS                                                                         CLARKSTON         MI   48348‐2326
MILLER, JEFFREY T        15259 CATALINA WAY                                                                         HOLLY             MI   48442‐1103
MILLER, JEFFREY W        8130 VENICE HEIGHTS DR NE 1                                                                WARREN            OH   44484
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Name                         Address1                              Address2                       Address3   Address4         City               State Zip
MILLER, JEFFRY R             440 TREMONT AVE                                                                                  KENMORE             NY 14217‐2234
MILLER, JENNIBEL             115 HALIFAX DR                                                                                   VANDALIA            OH 45377‐2907
MILLER, JENNIE M             2612 SO. 68TH STREET                                                                             MILWAUKEE           WI 53219‐2616
MILLER, JENNIE M             2612 S 68TH ST                                                                                   MILWAUKEE           WI 53219‐2616
MILLER, JENNIFER L           7416 WINDSOR LAKES DR BLDG 23                                                                    INDIANAPOLIS        IN 46237‐8322
MILLER, JENNIFER L           5416 CHESTERTON PL. #1                                                                           INDIANAPOLIS        IN 46237
MILLER, JENNIFER ROSE ANNE   17646 WESTMORELAND RD                                                                            DETROIT             MI 48219‐4236
MILLER, JENNIFER S           2206 BROOKDALE DR                                                                                ARLINGTON           TX 76014‐2764
MILLER, JENNIFER S.          2206 BROOKDALE DR                                                                                ARLINGTON           TX 76014‐2764
MILLER, JEREMY               1170 N MAPLELEAF RD                                                                              LAPEER              MI 48446‐8074
MILLER, JEREMY J             38935 BRONSON DR                                                                                 STERLING HEIGHTS    MI 48310‐2818
MILLER, JERI M               901 MARYLAND AVENUE                                                                              LANSING             MI 48906‐5451
MILLER, JEROLD               11011 ELDERBERRY DR                                                                              PORT RICHEY         FL 34668‐2304
MILLER, JEROME               20 5 OAKS DR                                                                                     SAGINAW             MI 48638‐5953
MILLER, JEROME               436 OSMUN ST                                                                                     PONTIAC             MI 48342‐3253
MILLER, JEROME               20 FIVE OAKS DR                                                                                  SAGINAW             MI 48603‐5953
MILLER, JEROME A             3042 AUBURN RD                                                                                   AUBURN HILLS        MI 48326‐3215
MILLER, JEROME A             572 TULIP CIR E                                                                                  AUBURNDALE          FL 33823‐5643
MILLER, JEROME E             10476 RED STONE DRIVE                                                                            COLLIERVILLE        TN 38017‐1972
MILLER, JEROME M             52515 COVECREEK DR                                                                               MACOMB              MI 48042‐2951
MILLER, JERROLD D            12444 DANIELLE DR                                                                                SOUTH LYON          MI 48178‐8540
MILLER, JERRY                992 HOMEWOOD AVE SE                                                                              WARREN              OH 44484‐4907
MILLER, JERRY A              7841 HATTERAS RD                                                                                 ORLANDO             FL 32822‐7113
MILLER, JERRY A              BOONE ALEXANDRA                       205 LINDA DR                                               DAINGERFIELD        TX 75638‐2107
MILLER, JERRY G              137 E LAKEVIEW AVE                                                                               FLINT               MI 48503‐4152
MILLER, JERRY L              TARADASH & BRAMMER                    908 SOUTH ROUTE 31                                         MCHENRY              IL 60050
MILLER, JERRY L              5200 W COUNTY ROAD 200 S                                                                         YORKTOWN            IN 47396‐9811
MILLER, JERRY N              39969 MYERS ST                                                                                   MALDEN              MO 63863‐9004
MILLER, JERRY N              809 SHADY CREEK DR                                                                               KENNEDALE           TX 76060‐5442
MILLER, JERRY P              117 CANTERBURY DR                                                                                CROSSVILLE          TN 38558‐7096
MILLER, JERRY P              1709 ARBOR CT                                                                                    MOUNTAIN HOME       AR 72653‐5253
MILLER, JERRY S              4660 N SPRINGWATER DR                                                                            FRANKFORT           IN 46041‐8074
MILLER, JERRY S              8830 WINDBLUFF PT                                                                                CENTERVILLE         OH 45458‐2855
MILLER, JERRY W              425 N CAMP MEADE RD                                                                              LINTHICUM           MD 21090‐1809
MILLER, JERRY W              415 81ST ST                                                                                      NIAGARA FALLS       NY 14304‐3305
MILLER, JESSE                7209 RADNOR RD                                                                                   BETHESDA            MD 20817‐6128
MILLER, JESSE L              835 PARK CENTRAL N DR APT D                                                                      INDIANAPOLIS        IN 46260
MILLER, JESSE W              5840 MILLER RD                                                                                   VASSAR              MI 48768‐9259
MILLER, JESSE W              2806 FRAZER RD                                                                                   NEWARK              DE 19702‐4530
MILLER, JESSICA              6371 FAITH CIR                                                                                   INDIANAPOLIS        IN 46268‐5140
MILLER, JESSIE               1499 W YALE AVE                                                                                  FLINT               MI 48505‐1173
MILLER, JESSIE N             809 DORGENE LANE                                                                                 CINCINNATI          OH 45244‐5009
MILLER, JEWEL                3706 RACE ST                                                                                     FLINT               MI 48504‐2216
MILLER, JEWELL R             4608 BLOOMFIELD DR                                                                               DAYTON              OH 45426‐1806
MILLER, JHON K               3800 GALE RD                                                                                     EATON RAPIDS        MI 48827‐9657
MILLER, JILL I               1342 OGAN AVE                                                                                    HUNTINGTON          IN 46750‐3844
MILLER, JIM V                246 BAILEY HOLLOW RD                                                                             GRAY                KY 40734‐6584
MILLER, JIMMIE C             6242 BERMUDA LN                                                                                  MOUNT MORRIS        MI 48458‐2625
MILLER, JIMMIE D             GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH          PA 15219

MILLER, JIMMIE L             PO BOX 494                                                                                       MORGANTOWN          IN   46160‐0494
MILLER, JIMMIE O             328 COUNTY ROAD 197                                                                              GARY                TX   75643‐3818
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Name                   Address1                             Address2                  Address3    Address4         City                 State Zip
MILLER, JIMMIE R       3127 AMSTERDAM DR                                                                           CLIO                  MI 48420‐1495
MILLER, JIMMIE R       1214 EVERGREEN LN                                                                           YORKVILLE              IL 60560‐9260
MILLER, JIMMIE RAY     3127 AMSTERDAM DRIVE                                                                        CLIO                  MI 48420‐1495
MILLER, JIMMY D        LAW OFFICES OF VICTOR L. GEORGE      20355 HAWTHORNE BLVD                                   TORRANCE              CA 90503‐2401
MILLER, JIMMY E        229 N BEECH ST                                                                              EATON                 OH 45320‐1713
MILLER, JIMMY L        401 BATISTE LN                                                                              JONESBORO             GA 30236‐4920
MILLER, JO A           5311 SYRACUSE ST                                                                            DEARBORN HTS          MI 48125‐2140
MILLER, JOAN D         10510 AMIATA WAY APT 102                                                                    FORT MYERS            FL 33913‐5700
MILLER, JOAN F         P0 BOX 520                                                                                  GALVESTON             IN 46932
MILLER, JOAN G         650 PINE GROVE AVE                                                                          ROCHESTER             NY 14617‐3338
MILLER, JOAN L         2533 CHATHAM WOODS DR SE                                                                    GRAND RAPIDS          MI 49546‐6752
MILLER, JOAN M         2706 PLAINFIELD                                                                             FLINT                 MI 48506
MILLER, JOANN          3594 N PROSPECT RD                                                                          YPSILANTI             MI 48198‐9482
MILLER, JOANN          5304 E FRANCES RD                                                                           MOUNT MORRIS          MI 48458‐9752
MILLER, JOANN B        2359 MARION AVE                                                                             MANSFIELD             OH 44903‐9491
MILLER, JOANN M        730 N ROCHESTER APT# 8                                                                      MUKWONAGO             WI 53149‐1152
MILLER, JOANNA R       866 E HIGH ST                                                                               LOCKPORT              NY 14094‐5305
MILLER, JOANNE         30 W CASTLE RD                                                                              FOSTORIA              MI 48435‐9613
MILLER, JOANNE A       7949 BROOKWOOD DR                                                                           WARREN                OH 44484‐4484
MILLER, JOANNE L       3416 BULAH                                                                                  DAYTON                OH 45429
MILLER, JOANNE L       7143 FALLEN OAK TRCE                                                                        CENTERVILLE           OH 45459‐4845
MILLER, JOANNE M       2726 MIRADERO DR                                                                            SANTA BARBARA         CA 93105‐3022
MILLER, JODYLYNNE M.   26339 COTTAGE AVE                                                                           ELKHART               IN 46514‐6331
MILLER, JOE DEAN       18572 KOESTER STREET                                                                        RIVERVIEW             MI 48193‐7423
MILLER, JOE E          716 GRAND RAPIDS ST                                                                         MIDDLEVILLE           MI 49333‐8698
MILLER, JOE E          4331 KNICKERBOCKER RD                                                                       SHEFFIELD LK          OH 44054‐2125
MILLER, JOE E.         716 GRAND RAPIDS ST                                                                         MIDDLEVILLE           MI 49333‐8698
MILLER, JOE L          6104 FREEPORT DR                                                                            SPRING HILL           FL 34606‐1031
MILLER, JOE W          2344 E GIMBER ST                                                                            INDIANAPOLIS          IN 46203‐5561
MILLER, JOEL A         1539 BROCKTON AVE APT 5                                                                     LOS ANGELES           CA 90025
MILLER, JOEL R         8439 N STATE ROAD 109                                                                       WILKINSON             IN 46186‐9613
MILLER, JOHN           PO BOX 1681                                                                                 VASSAR                MI 48768
MILLER, JOHN           6643 RANCHITO AVE                                                                           VAN NUYS              CA 91405‐4833
MILLER, JOHN           4901 S DUCK LAKE RD                                                                         MILFORD               MI 48381‐2130
MILLER, JOHN           1460 N GRANGE RD                                                                            FOWLER                MI 48835‐9276
MILLER, JOHN           8827 FAIRVIEW BLF                                                                           ALPHARETTA            GA 30022
MILLER, JOHN           42945 NORTHVILLE PLACE DR APT 1301                                                          NORTHVILLE            MI 48167‐2918
MILLER, JOHN           270 SPENCE RD                                                                               MONROE                LA 71203‐8111
MILLER, JOHN A         54 LILY CT                                                                                  TIPP CITY             OH 45371‐2963
MILLER, JOHN A         10641 WOOD DUCK CT                                                                          AURORA                OH 44202‐8137
MILLER, JOHN A         270 SPENCE RD                                                                               MONROE                LA 71203‐8111
MILLER, JOHN A         4707 N HARMONY TOWN HALL RD                                                                 JANESVILLE            WI 53546‐9624
MILLER, JOHN A         3770 COUNTRY SIDE DRIVE                                                                     ADRIAN                MI 49221‐7700
MILLER, JOHN A         LOT 327                              2900 MORTH APPERSON WAY                                KOKOMO                IN 46901
MILLER, JOHN A         7485 FALLING LEAF CT                                                                        FLUSHING              MI 48433‐2255
MILLER, JOHN A         204 COUNTRY CLUB                                                                            SAINT CLAIR SHORES    MI 48082
MILLER, JOHN A         2189 FOREST LN                                                                              ARNOLD                MO 63010‐3400
MILLER, JOHN A         33 ALTAMONT RD                                                                              EDISON                NJ 08817‐4024
MILLER, JOHN A         3728 CADWALLADER SONK RD                                                                    CORTLAND              OH 44410‐9412
MILLER, JOHN ALBERT
MILLER, JOHN B         1411 BRADY AVE                                                                              BURTON               MI 48529‐2009
MILLER, JOHN C         45871 EDGEWATER ST                                                                          CHESTERFIELD         MI 48047‐5322
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Name                 Address1                          Address2                          Address3   Address4         City              State Zip
MILLER, JOHN C       1206 NUNNERY DR                                                                                 MIAMISBURG         OH 45342‐1715
MILLER, JOHN C       4566 PERU CENTER RD N                                                                           MONROEVILLE        OH 44847‐9512
MILLER, JOHN C       PORTER & MALOUF PA                4670 MCWILLIE DR                                              JACKSON            MS 39206‐5621
MILLER, JOHN D       6573 GRAHAM LN                                                                                  KEITHVILLE         LA 71047‐8941
MILLER, JOHN D       60 ELMWOOD DR                                                                                   SPRINGBORO         OH 45066‐1406
MILLER, JOHN D       522 E 48TH ST                                                                                   INDIANAPOLIS       IN 46205
MILLER, JOHN D       PO BOX 100                                                                                      WILLIAMSTON        MI 48895‐0100
MILLER, JOHN DAVID   6573 GRAHAM LN                                                                                  KEITHVILLE         LA 71047‐8941
MILLER, JOHN E       498 SILVER CIR                                                                                  CLIMAX SPRINGS     MO 65324‐2136
MILLER, JOHN E       1661 ARTHUR RD                                                                                  HARRISON           MI 48625‐9556
MILLER, JOHN E       135 BELLA VISTA DR                APT 38                                                        GRAND BLANC        MI 48439‐1561
MILLER, JOHN E       751 MONTICELLO AVE                                                                              PONTIAC            MI 48340‐2321
MILLER, JOHN E       5057 N STARK RD                                                                                 HOPE               MI 48628‐9400
MILLER, JOHN E       2440 FENTON CREEK LN                                                                            FENTON             MI 48430‐1396
MILLER, JOHN E       7860 N. 1200E                                                                                   SHIRLEY            IN 47384
MILLER, JOHN F       9725 EE POINTE 25 RD.                                                                           RAPID RIVER        MI 49878
MILLER, JOHN F       2916 VERO DR                                                                                    HIGHLAND           MI 48356‐2257
MILLER, JOHN F       215 CARNATION AVE                                                                               CORONA DEL MAR     CA 92625‐2806
MILLER, JOHN G       4740 JOY RD                                                                                     DEXTER             MI 48130‐9706
MILLER, JOHN H       7573 PELBROOK FARM DR                                                                           CENTERVILLE        OH 45459‐5015
MILLER, JOHN H       1366 LIBERTY PIKE                                                                               FRANKLIN           TN 37067‐5610
MILLER, JOHN H       5530 DELCASTLE DR                                                                               FLORISSANT         MO 63034‐2625
MILLER, JOHN H       2743 NORWOOD AVE                                                                                NORWOOD            OH 45212‐2413
MILLER, JOHN H       724 WESTMINSTER LN                                                                              KOKOMO             IN 46901‐1883
MILLER, JOHN H       806 BORDEN RD                                                                                   CHEEKTOWAGA        NY 14227‐2635
MILLER, JOHN H       6317 S CRESTLINE ST                                                                             SPOKANE            WA 99223‐8420
MILLER, JOHN I       1260 E DODGE RD                                                                                 MOUNT MORRIS       MI 48458‐9127
MILLER, JOHN J       1430 BAY ST                                                                                     SAGINAW            MI 48602‐3903
MILLER, JOHN J       700 W WESTOVER BOX 428                                                                          EAST TAWAS         MI 48730
MILLER, JOHN J       1653 MAPLE LANE                                                                                 BENTON HARBOR      MI 49022‐9503
MILLER, JOHN J       1993 N PERRINE RD                                                                               MIDLAND            MI 48642‐7901
MILLER, JOHN J       1653 MAPLE LN                                                                                   BENTON HARBOR      MI 49022‐9503
MILLER, JOHN J       949 BEXLEY DR                                                                                   PERRYSBURG         OH 43551‐2962
MILLER, JOHN J       2333 BROWN OAKS DR 1507                                                                         ARLINGTON          TX 76011
MILLER, JOHN J       7131 SPIKERUSH CT                                                                               LAKEWOOD RANCH     FL 34202‐5110
MILLER, JOHN K       5173 E MEAD RD                                                                                  ELSIE              MI 48831‐9773
MILLER, JOHN L       1161 HOLLACE CHASTINE RD                                                                        MITCHELL           IN 47446‐5968
MILLER, JOHN M       5914 COLLINS DR                                                                                 LOCKPORT           NY 14094‐6653
MILLER, JOHN M       10855 WHIPPLE ST APT 203                                                                        NORTH HOLLYWOOD    CA 91602‐3222
MILLER, JOHN M       2466 ANDERS DR                                                                                  WATERFORD          MI 48329‐4404
MILLER, JOHN M       456 GREENTREE LN                                                                                BOLINGBROOK         IL 60440‐2937
MILLER, JOHN M       3896 BALD MOUNTAIN RD                                                                           LAKE ORION         MI 48360‐2407
MILLER, JOHN M       16035 HEISER RD                                                                                 BERLIN CENTER      OH 44401‐9721
MILLER, JOHN M       6533 CLARK LAKE RD                                                                              JACKSON            MI 49201‐9205
MILLER, JOHN O       12967 DOHONEY RD                                                                                DEFIANCE           OH 43512‐8712
MILLER, JOHN O       CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND          OH 44115
                     GAROFOLI                          FL
MILLER, JOHN P       4419 PARK AVE W                                                                                 MANSFIELD         OH   44903‐8612
MILLER, JOHN P       7326 STATE ROUTE 19 UNIT 809                                                                    MOUNT GILEAD      OH   43338‐9486
MILLER, JOHN P       4154 CRYSTA CREEK ESTATES                                                                       LAPEER            MI   48446
MILLER, JOHN P       4154 CRYSTAL CRK                                                                                LAPEER            MI   48446‐8674
MILLER, JOHN R       535 E STATE ROAD 42                                                                             MOORESVILLE       IN   46158‐6022
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Name                    Address1                         Address2                    Address3   Address4         City             State Zip
MILLER, JOHN T          1921 BONNIE BROOK LN                                                                     WENTZVILLE        MO 63385‐3265
MILLER, JOHN T          320 MANSON AVE                                                                           METAIRIE          LA 70001‐4821
MILLER, JOHN T          PO BOX 383                                                                               DRUMMOND IS       MI 49726‐0383
MILLER, JOHN THOMAS     PO BOX 383                                                                               DRUMMOND IS       MI 49726‐0383
MILLER, JOHN W          1723 DANIELS RIDGE RD                                                                    TAYLORSVILLE      NC 28681‐7444
MILLER, JOHN W          3220 W BIRCH RUN RD                                                                      BURT              MI 48417‐9616
MILLER, JOHN W          RR #                                                                                     GALVESTON         IN 46932
MILLER, JOHN W          R R 9552 E COUNTY RD 1225S                                                               GALVESTON         IN 46932‐9478
MILLER, JOHNNIE E       2011 AYERSVILLE AVE                                                                      DEFIANCE          OH 43512‐3614
MILLER, JOHNNIE F       193 BRAMEL DR                                                                            ABERDEEN          OH 45101‐9535
MILLER, JOHNNIE L       2229 WALSHIRE AVE                                                                        BALTIMORE         MD 21214‐1047
MILLER, JOHNNIE M       230 COLGATE AVE                                                                          DAYTON            OH 45427‐2847
MILLER, JOHNNY          120 SALEM RD                                                                             CULLODEN          GA 31016‐5364
MILLER, JOHNNY B        130 E PIPER AVE                                                                          FLINT             MI 48505‐2718
MILLER, JOHNNY L        16836 COLLINSON AVE                                                                      EAST DETROIT      MI 48021‐4519
MILLER, JOHNNY LEE      SHANNON LAW FIRM                 100 W GALLATIN ST                                       HAZLEHURST        MS 39083‐3007
MILLER, JOHNNY W        1215 CHATHAM DR                                                                          FLINT             MI 48505‐2583
MILLER, JOLEEN M        4380 GREEN RD                                                                            LOCKPORT          NY 14094‐8804
MILLER, JON A           5194 EAGLE HARBOR ROAD                                                                   ALBION            NY 14411‐9334
MILLER, JON C           7528 DRIFTWOOD DR                                                                        FENTON            MI 48430‐4314
MILLER, JON E           9512 PHEASANT WOOD TRL                                                                   DAYTON            OH 45458‐9634
MILLER, JON P           14296 EASTVIEW DR                                                                        FENTON            MI 48430‐1306
MILLER, JON PAUL        14296 EASTVIEW DR                                                                        FENTON            MI 48430‐1306
MILLER, JON T           5236 45 NORTH                                                                            BRUCE CROSSING    MI 49912
MILLER, JON W           6244 N HIGHLANDS CIR                                                                     HARRISBURG        PA 17111‐6937
MILLER, JONATHAN        W2555 FONTANA WAY                                                                        APPLETON          WI 54915‐8793
MILLER, JONATHAN        908 INDIANA AVE                                                                          MC DONALD         OH 44437‐1705
MILLER, JONATHAN K      24565 CRANBERRY MARSH RD                                                                 WEBSTER           WI 54893
MILLER, JOSEPH          705 36TH AVE NW                                                                          NORMAN            OK 73072‐4108
MILLER, JOSEPH          530 SOLOMON DR                                                                           FRANKLIN          TN 37064‐5041
MILLER, JOSEPH          821 DIVOT CIR                                                                            BOWLING GREEN     KY 42104‐5563
MILLER, JOSEPH          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE         MD 21202
                                                         CHARLES CENTER 22ND FLOOR
MILLER, JOSEPH          3151 S WASHINGTON AVE                                                                    SAGINAW          MI   48601‐4356
MILLER, JOSEPH A        1444 TROJAN AVE                                                                          SAN LEANDRO      CA   94579‐1542
MILLER, JOSEPH A        1912 FAIRVIEW RD                                                                         LYNNVILLE        TN   38472‐5056
MILLER, JOSEPH A        7548 N 450 E                                                                             OSSIAN           IN   46777‐9639
MILLER, JOSEPH A        7251 SYCAMORE RUN DR                                                                     INDIANAPOLIS     IN   46237‐9441
MILLER, JOSEPH C        13725 PARIS ST                                                                           HUNTINGDON       TN   38344‐1926
MILLER, JOSEPH D        312 S SQUIRREL RD                                                                        AUBURN HILLS     MI   48326‐3257
MILLER, JOSEPH E        10102 CHARTER OAKS DR                                                                    DAVISON          MI   48423‐3200
MILLER, JOSEPH E        6231 DENHILL AVE                                                                         BURTON           MI   48519‐1335
MILLER, JOSEPH E        148 VERONA PITSBURG RD                                                                   ARCANUM          OH   45304‐9478
MILLER, JOSEPH E        2116 MANGO CIR                                                                           FAYETTEVILLE     NC   28304
MILLER, JOSEPH E        2306 COLGATE DR                                                                          FAYETTEVILLE     NC   28304‐5304
MILLER, JOSEPH G        1920 LOON LAKE RD                                                                        WIXOM            MI   48393‐1642
MILLER, JOSEPH H        4 BERRYWOOD CT                                                                           WILMINGTON       DE   19810‐3417
MILLER, JOSEPH H        25 TOPPING LN                                                                            DES PERES        MO   63131‐1913
MILLER, JOSEPH H        200 DOMINICAN DRIVE              APT 1301                                                MADISON          MS   39110
MILLER, JOSEPH HOWARD   4 BERRYWOOD CT                                                                           WILMINGTON       DE   19810‐3417
MILLER, JOSEPH L        401 CREEKVIEW DR                                                                         GREENVILLE       MI   48838‐2078
MILLER, JOSEPH L        13819 ANSARI LN                                                                          BALDWIN          MD   21013‐9766
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Name                     Address1                         Address2                      Address3   Address4         City                 State Zip
MILLER, JOSEPH M         900 HAMLIN ST                                                                              LAKE ORION            MI 48362‐2520
MILLER, JOSEPH M         17533 ROY ST                                                                               LANSING                IL 60438‐2018
MILLER, JOSEPH M         7385 WOODWARD CLAYPOOL RD                                                                  MORROW                OH 45152
MILLER, JOSEPH MICHAEL   900 HAMLIN ST                                                                              LAKE ORION            MI 48362‐2520
MILLER, JOSEPH O         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                          STREET, SUITE 600
MILLER, JOSEPH R         5624 N RAINBOW LN                                                                          WATERFORD            MI   48329‐1557
MILLER, JOSEPH T         244 1000 OAKS DR                                                                           ATLANTIC HIGHLANDS   NJ   07716‐2453
MILLER, JOSEPH V         2782 E 600 N                                                                               ALEXANDRIA           IN   46001‐8778
MILLER, JOSEPH W         19 CEDAR AVE                                                                               RIVERSIDE            RI   02915‐4407
MILLER, JOSEPH W         3201 HUGGINS AVE                                                                           FLINT                MI   48506‐1931
MILLER, JOSEPH W         144 PRITTSTOWN RD                                                                          MT PLEASANT          PA   15666‐2200
MILLER, JOSEPH W         1456 OVERLOOK WAY                                                                          BEL AIR              MD   21014‐1935
MILLER, JOSEPH WILLIAM   3201 HUGGINS AVE                                                                           FLINT                MI   48506‐1931
MILLER, JOSHUA P         6513 FARMDALE LN                                                                           AUSTIN               TX   78749‐3442
MILLER, JOYCE A          407 YORK RD                                                                                GALVESTON            IN   46932
MILLER, JOYCE C          1950 E 24TH ST LOT 136                                                                     YUMA                 AZ   85365‐3151
MILLER, JOYCE E          41 GLAZER DR                                                                               ROCHESTER            NY   14625
MILLER, JOYCE L          9440 N LINDEN RD                                                                           CLIO                 MI   48420‐8554
MILLER, JOYCE M          62341 ARLINGTON CIR UNIT 2                                                                 SOUTH LYON           MI   48178‐1755
MILLER, JOYCE S          4431 LIMBERLOST TRL                                                                        GLENNIE              MI   48737‐9527
MILLER, JR.,JOHN J       2163 LEHIGH PL                                                                             MORAINE              OH   45439‐3013
MILLER, JUAN C           6707 WINTERSET GARDENS RD                                                                  WINTER HAVEN         FL   33884‐3154
MILLER, JUANITA          1246 PYLE ROAD                                                                             CLARKSVILLE          OH   45113
MILLER, JUANITA D        498 WESTGATE BLVD                                                                          YOUNGSTOWN           OH   44515‐3405
MILLER, JUANITA P        5320 TAYLOR LANE AVE                                                                       HILLIARD             OH   43026‐9201
MILLER, JUDITH           5308 HARRY S TRUMAN DR           APT# 107                                                  GRANDVIEW            MO   64030
MILLER, JUDITH           470 OLD ORCHARD DR APT 3                                                                   ESSEXVILLE           MI   48732‐9644
MILLER, JUDITH           9164 SUPRIOR ST                                                                            SAINT HELEN          MI   48656
MILLER, JUDITH           5308 HARRY S TRUMAN DR APT 107                                                             GRANDVIEW            MO   64030‐4747
MILLER, JUDITH A         3745 E MARKET ST APT 115                                                                   WARREN               OH   44484‐4717
MILLER, JUDITH A         3745 EAST MARKET ST              APT 115                                                   WARREN               OH   44484‐4484
MILLER, JUDITH ANNA      4671 WEXMOOR DR                                                                            KOKOMO               IN   46902‐9598
MILLER, JUDITH C         965 OAKMONT CT                                                                             UNION                KY   41091‐7702
MILLER, JUDITH E         6235 DAFT ST                                                                               LANSING              MI   48911‐5506
MILLER, JUDITH E         24377 RIDGEVIEW DR                                                                         FARMINGTON HILLS     MI   48336‐1933
MILLER, JUDITH J         6413 LAKEVIEW LN                                                                           BRIGHTON             MI   48114‐8808
MILLER, JUDITH W         2052 HUBBARD THOMAS RD                                                                     HUBBARD              OH   44425‐9784
MILLER, JUDITH W         2052 THOMAS RD                                                                             HUBBARD              OH   44425‐9784
MILLER, JUDY             7601 FRAMPTON DR                                                                           WASHINGTON           MI   48095‐1234
MILLER, JUDY F           1342 WOODBRIDGE ST                                                                         FLINT                MI   48504‐3444
MILLER, JUDY J           PO BOX 9022                                                                                WARREN               MI   48090‐9022
MILLER, JUDY J           211 E MERRILL ST APT 410                                                                   BIRMINGHAM           MI   48009‐6139
MILLER, JUDY K           6918 WILDERNESS RESORT RD                                                                  STRUNK               KY   42649‐9387
MILLER, JUDY L           7601 FRAMPTON DR                                                                           WASHINGTON           MI   48095‐1234
MILLER, JUDY L           PO BOX 26336                                                                               FAIRVIEW PARK        OH   44126‐0336
MILLER, JUDY M           2217 MALLARD DRIVE                                                                         REESE                MI   48757‐9465
MILLER, JULIA            2661 HOUNDS CHASE DR                                                                       TROY                 MI   48098‐2306
MILLER, JULIA D          PO BOX 593                                                                                 THONOTOSASSA         FL   33592‐0593
MILLER, JULIA S          1010 N OXFORD RD                                                                           GROSSE POINTE        MI   48236‐1852
MILLER, JULIE E          42688 FLIS DR                                                                              STERLING HEIGHTS     MI   48314‐2847
MILLER, JUNE             7550 ADEL RD                                                                               SPENCER              IN   47460
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Name                            Address1                          Address2                        Address3   Address4         City                   State Zip
MILLER, JUNE
MILLER, JUNE M                  3678 LAKE BAYSHORE DR                                                                         BRADENTON              FL    34205‐5181
MILLER, JUNIOR                  SHANNON LAW FIRM                  100 W GALLATIN ST                                           HAZLEHURST             MS    39083‐3007
MILLER, JUSTIN                  13921 BRUSH RUN RD                                                                            LOUISVILLE             KY    40299‐5303
MILLER, JUSTIN B                3235 WEST RD                                                                                  METAMORA               MI    48455‐9356
MILLER, JUSTIN G                TRACY FIRM                        5473 BLAIR RD STE 200                                       DALLAS                 TX    75231‐4168
MILLER, JUSTIN K                2605 BURBANK AVE                                                                              JANESVILLE             WI    53546
MILLER, JUSTIN M                1408 OLD FORGE RD                                                                             NILES                  OH    44446‐3242
MILLER, JUSTINE                 COHEN MILSTEIN HAUSFELD & TOLL    1100 NEW YORK AVENUE NW, WEST                               WASHINGTON             DC    20005‐3943
                                                                  TOWER SUITE 500
MILLER, JUSTINE E               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK                 VA 23510‐2212
                                                                  STREET, SUITE 600
MILLER, JUSTUS                  15250 13 MILE RD                  P.O.BOX 465                                                 BEAR LAKE              MI 49614‐9687
MILLER, KAREN                   1185 HAWTHORNE DR                                                                             BROOKFIELD             OH 44403‐9513
MILLER, KAREN                   # 135                             3509 RANSOMVILLE ROAD                                       RANSOMVILLE            NY 14131‐9602
MILLER, KAREN
MILLER, KAREN A                 35072 DEARING DR                                                                              STERLING HTS            MI 48312‐3817
MILLER, KAREN A
MILLER, KAREN A                 PO BOX 1                                                                                      BRACEVILLE             IL    60407‐0001
MILLER, KAREN D                 33256 STATE HIGHWAY A                                                                         WARRENTON              MO    63383‐3705
MILLER, KAREN E                 1091 BUCKSKIN TRAIL                                                                           XENIA                  OH    45385‐4115
MILLER, KAREN K                 3209 BONAIR NW                                                                                WARREN                 OH    44485‐1302
MILLER, KAREN K                 3209 BON AIR AVE NW                                                                           WARREN                 OH    44485‐1302
MILLER, KAREN L                 5581 LAKESIDE DR                                                                              CRYSTAL                MI    48818‐9634
MILLER, KAREN L                 3530 CARLISLE HWY                                                                             CHARLOTTE              MI    48813‐9560
MILLER, KAREN R                 1562 PIMLICO                                                                                  AUSTINTOWN             OH    44515‐4515
MILLER, KAREN R                 1562 PIMLICO DR                                                                               YOUNGSTOWN             OH    44515‐5162
MILLER, KAREN S                 7917 BRIDLEWOOD DR                                                                            NORTH RICHLAND HILLS   TX    76180‐2345
MILLER, KAREN S                 35 SUNSET PL                                                                                  GERMANTOWN             OH    45327
MILLER, KARI L                  11808 LEDGEROCK CT                                                                            FISHERS                IN    46037
MILLER, KARLA K                 850 VALLEY VIEW DR                                                                            LOWELL                 IN    46356
MILLER, KARLENE S               570 EARICK RD                                                                                 MANSFIELD              OH    44903‐8621
MILLER, KARYL L                 2532 DRUM RD                                                                                  MIDDLEPORT             NY    14105‐9731
MILLER, KATHERINE A             1112 DOWLING PLACE                                                                            OWOSSO                 MI    48867‐9022
MILLER, KATHERINE D             2329 FOREST HILL AVENUE                                                                       FLINT                  MI    48504‐7117
MILLER, KATHERINE E             8886 FISK RD                                                                                  AKRON                  NY    14001
MILLER, KATHERINE E             927 FORD BOULEVARD                                                                            LINCOLN PARK           MI    48146‐4222
MILLER, KATHERINE E             927 FORD BLVD                                                                                 LINCOLN PARK           MI    48146‐4222
MILLER, KATHERINE J             620 PRAIRIE CREEK RD                                                                          IONIA                  MI    48846‐9772
MILLER, KATHERINE JANE          3102 CARTER ST S                                                                              KOKOMO                 IN    46901‐7047
MILLER, KATHERINE L             665 WOOD PATH CT                                                                              STONE MTN              GA    30083‐4658
MILLER, KATHERINE LEATHERWOOD   665 WOOD PATH CT                                                                              STONE MTN              GA    30083‐4658
MILLER, KATHERYNE J             6102 WOODSON RD                                                                               RAYTOWN                MO    64133‐4477
MILLER, KATHLEEN A              13259 LAKE SHORE DR                                                                           FENTON                 MI    48430‐1019
MILLER, KATHLEEN A              1809 SHADY HILL LN                                                                            WAKE FOREST            NC    27587‐6294
MILLER, KATHLEEN G              UPPR                              69 SAINT JOAN LANE                                          BUFFALO                NY    14227‐3446
MILLER, KATHLEEN G              69 ST JOAN LANE                                                                               CHEEKTOWAGA            NY    14227
MILLER, KATHLEEN GAIL           912 BONHURST DR                                                                               HOLLY SPRINGS          NC    27540‐8749
MILLER, KATHLEEN J              1516 SPRINGMOOR CIR               SPRINGMOOR LIFE CARE                                        RALEIGH                NC    27615‐5704
                                                                  RETIREMENT
MILLER, KATHLEEN J              1670 16 MILE RD NE                                                                            CEDAR SPRINGS           MI 49319‐8406
MILLER, KATHLEEN L              3169 SPANGLE ST                                                                               CANANDAIGUA             NY 14424‐9535
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Name                   Address1                          Address2                       Address3   Address4         City              State Zip
MILLER, KATHLEEN M     19001 HEATHER RIDGE DR                                                                       NORTHVILLE         MI 48168‐6811
MILLER, KATHLEEN M     8435 LAMBS CREEK CHURCH RD                                                                   KING GEORGE        VA 22485‐7213
MILLER, KATHLEEN M     2436 MALLARD ST                                                                              CAMERON            LA 70631‐4508
MILLER, KATHLEEN S     PO BOX 2160                                                                                  GREEN BAY          WI 54306‐2160
MILLER, KATHLEEN S     8920 W 100 S                                                                                 ANDREWS            IN 46702‐9741
MILLER, KATHLYN        5549 EAGLE VALLEY DR                                                                         SAINT LOUIS        MO 63136‐1141
MILLER, KATHRYN        4337 COUNTY ROAD 4560                                                                        WINNSBORO          TX 75494‐7979
MILLER, KATHRYN M      425 BALSAM DR                                                                                DAVISON            MI 48423‐1801
MILLER, KATHY          27734 EASTWICK SQ                                                                            ROSEVILLE          MI 48066‐4809
MILLER, KATHY J        23162 LA CASA CT                                                                             TRACY              CA 95304
MILLER, KATHY J        4909A 23RD ST W                                                                              BRADENTON          FL 34207
MILLER, KATHY J        4909 23RD ST W APT A                                                                         BRADENTON          FL 34207
MILLER, KATHY L        PO BOX 1891                                                                                  HELENDALE          CA 92342
MILLER, KATHY M        212 WEBSTER ST                                                                               DEFIANCE           OH 43512‐1855
MILLER, KATIE L        273 CAMBRIDGE DR                                                                             DIAMONDALE         MI 48821‐9775
MILLER, KEITH          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                         PROFESSIONAL BLDG
MILLER, KEITH A        PO BOX 92                         8208 SORGHAN                                               DALEVILLE         IN   47334‐0092
MILLER, KEITH E        3125 N 26TH ST                                                                               KALAMAZOO         MI   49048‐9215
MILLER, KEITH E        RR 2 BOX 125                                                                                 DALEVILLE         IN   47334
MILLER, KEITH G        6271 ANTRIM RD                                                                               ELYRIA            OH   44035‐1205
MILLER, KEITH L        2419 POPLAR DR                                                                               KAWKAWLIN         MI   48631‐9135
MILLER, KEITH W        16119 SILVERSHORE DR                                                                         FENTON            MI   48430‐9156
MILLER, KEITH W        11943 W GRAND RIVER AVE                                                                      LOWELL            MI   49331‐9203
MILLER, KELLEY S       14780 BROWN RD                                                                               SUNFIELD          MI   48890‐9770
MILLER, KELLY          16821 OAK LN                                                                                 CHANNELVIEW       TX   77530‐2943
MILLER, KELLY
MILLER, KELLY A        934 PRAIRIE LILLY DRIVE                                                                      LAS CRUCES        NM   88007‐6958
MILLER, KELLY D        1160 DEFOREST RD SE                                                                          WARREN            OH   44484‐3528
MILLER, KENNETH A      25412 WATERBROOK CT                                                                          LEESBURG          FL   34748‐7442
MILLER, KENNETH A      2301 GLACIER WAY                                                                             HASTINGS          MN   55033‐3757
MILLER, KENNETH A      992 S EUREKA AVE                                                                             COLUMBUS          OH   43204‐2834
MILLER, KENNETH A      640 BEAVER ST                                                                                GIRARD            OH   44420‐2064
MILLER, KENNETH B      325 CROOKED TREE DR                                                                          KERNERSVILLE      NC   27284‐8965
MILLER, KENNETH C      15083 MARL DR                                                                                LINDEN            MI   48451‐9016
MILLER, KENNETH D      276 3RD ST                                                                                   METAMORA          MI   48455‐9784
MILLER, KENNETH D      8200 RITA DR                      PO BOX 215                                                 PORT AUSTIN       MI   48467‐9116
MILLER, KENNETH D      DALEY ROBERT                      707 GRANT ST STE 2500                                      PITTSBURGH        PA   15219‐1945
MILLER, KENNETH E      3094 S BLACKMOUNTAIN DR                                                                      INVERNESS         FL   34450‐7546
MILLER, KENNETH E      6416 FARMERSVILLE‐GERMANTWN PK                                                               GERMANTOWN        OH   45327
MILLER, KENNETH E      1572 MADISON‐244                                                                             FREDERICKTOWN     MO   63645
MILLER, KENNETH G      6443 E 4TH ST                                                                                WHITE CLOUD       MI   49349‐9166
MILLER, KENNETH L      3006 DANIEL DR                                                                               ZOLFO SPRINGS     FL   33890‐9210
MILLER, KENNETH L      PO BOX 199                                                                                   PENTWATER         MI   49449‐0199
MILLER, KENNETH L      95 WINSTON RD                                                                                INDIANOLA         MS   38751‐2789
MILLER, KENNETH L      606 BECKER AVE                                                                               WILMINGTON        DE   19804‐2106
MILLER, KENNETH L      2728 WEST 1100 NORTH                                                                         ALEXANDRIA        IN   46001‐8587
MILLER, KENNETH L      5769 TROY VILLA BLVD                                                                         DAYTON            OH   45424‐2647
MILLER, KENNETH L      578 E EUCLID AVE                                                                             SALEM             OH   44460‐3704
MILLER, KENNETH L      2203 DEL WEBB BLVD W                                                                         SUN CITY CENTER   FL   33573‐4845
MILLER, KENNETH LEON   11645 LARIMORE RD                                                                            SAINT LOUIS       MO   63138‐2915
MILLER, KENNETH M      2873 JAYSVILLE SAINT JOHNS RD                                                                ARCANUM           OH   45304‐9260
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Name                         Address1                             Address2             Address3         Address4         City              State Zip
MILLER, KENNETH M            5051 VALERO CT                                                                              PAHRUMP            NV 89060‐1355
MILLER, KENNETH N            2722 FIELDING ST                                                                            FLINT              MI 48503‐3002
MILLER, KENNETH R            2209 ARGONNE MEADOWS DR                                                                     LAKE ST LOUIS      MO 63367‐2324
MILLER, KENNETH W            315 STONEHEDGE DR                                                                           ELYRIA             OH 44035‐8382
MILLER, KENNIE               920 CASE RD                                                                                 PROSPECT           TN 38477‐6302
MILLER, KENT                 4657 HIGH POINT DR APT 33                                                                   ROCKFORD            IL 61114‐4842
MILLER, KENT A               1372 ARTHURS CT                                                                             PINCKNEY           MI 48169‐9077
MILLER, KENT A               14183 REED RD                                                                               BYRON              MI 48418‐9747
MILLER, KENT ANTHONY         14183 REED RD                                                                               BYRON              MI 48418‐9747
MILLER, KENT M               1263 E 1125 S                                                                               GALVESTON          IN 46932
MILLER, KERI A               4183 CHARTER OAK DR                                                                         FLINT              MI 48507‐5551
MILLER, KERI ANNE            4183 CHARTER OAK DR                                                                         FLINT              MI 48507‐5551
MILLER, KERRI R              25 E ANN ARBOR AVE                                                                          PONTIAC            MI 48340‐1901
MILLER, KERRY S              6222 N GENESEE RD                                                                           FLINT              MI 48506‐1162
MILLER, KETTY                4444 W COURT ST                                                                             FLINT              MI 48532‐4329
MILLER, KETTY                C/O BENTE STRONG                     4495 CALKINS RD                                        FLINT              MI 48532
MILLER, KEVIN                4035 FRANKLIN RD                                                                            JACKSON            MI 49203
MILLER, KEVIN                61396 N RIDGE TRL                                                                           WASHINGTON         MI 48094‐1127
MILLER, KEVIN A              21148 FOREST VILLA DR                                                                       MACOMB             MI 48044‐2233
MILLER, KEVIN A.             21148 FOREST VILLA DR                                                                       MACOMB             MI 48044‐2233
MILLER, KEVIN AND DANIELLE   MILLER, KEVIN & DANIELLE
MILLER, KEVIN C              12911 ROAD 22K                                                                              CLOVERDALE        OH   45827‐9455
MILLER, KEVIN E              4265 RENEE DR                                                                               TROY              MI   48085‐4893
MILLER, KEVIN E.             6302 DUNNEL RD.                                                                             MILLINGTON        MI   48746
MILLER, KEVIN J              511 EAST THOMAS STREET                                                                      LANSING           MI   48906‐4149
MILLER, KEVIN J              5150 S BULLARD CHAPEL RD                                                                    TISHOMINGO        OK   73460‐4022
MILLER, KEVIN K              7669 HORSEMILL RD                                                                           GROSSE ILE        MI   48138‐1127
MILLER, KEVIN L              309 JEFFERSON BLVD                                                                          GREENFIELD        IN   46140
MILLER, KEVIN L              15118 BUCKSKIN RD                                                                           SHERWOOD          OH   43556‐9732
MILLER, KEVIN L              7228 W FARRAND RD LOT 18                                                                    CLIO              MI   48420‐9428
MILLER, KEVIN L              919 W DANSVILLE RD                                                                          MASON             MI   48854‐9661
MILLER, KEVIN L              326 BRADFORD PLACE DR                                                                       HIXSON            TN   37343‐2774
MILLER, KEVIN LEE            7228 W FARRAND RD LOT 18                                                                    CLIO              MI   48420‐9428
MILLER, KEVIN M              9603 E MULBERRY RD                                                                          BLISSFIELD        MI   49228‐9722
MILLER, KEVIN M              889 ANKENEY RD                                                                              BEAVERCREEK       OH   45434‐7128
MILLER, KEVIN R              202 W OAK ST                                                                                SAINT JOHNS       MI   48879‐2183
MILLER, KEVIN R              7960 NANKIN MILLS ST                                                                        WESTLAND          MI   48185‐9450
MILLER, KEVIN R              27804 OSBORN RD                                                                             BAY VILLAGE       OH   44140‐2007
MILLER, KEVIN RAY            202 W OAK ST                                                                                SAINT JOHNS       MI   48879‐2183
MILLER, KEVIN T              479 S 400 E                                                                                 KOKOMO            IN   46902‐9325
MILLER, KEVIN TODD           479 S 400 E                                                                                 KOKOMO            IN   46902‐9325
MILLER, KEVIN V              2874 FM 1997 W                                                                              MARSHALL          TX   75670‐2393
MILLER, KEVIN V              PO BOX 382                                                                                  SCOTTSVILLE       TX   75688‐0382
MILLER, KEVIN VERN           2874 FM 1997 W                                                                              MARSHALL          TX   75670‐2393
MILLER, KILA L               PO BOX 31403                                                                                CINCINNATI        OH   45231‐0403
MILLER, KIM A                1011 SOUTHEAST AVE                                                                          TALLMADGE         OH   44278‐3156
MILLER, KIM M                8055 CAMELLA DR                                                                             POLAND            OH   44514‐2749
MILLER, KIMBERLY A           2766 GERALD AVE                                                                             ROCHESTER HILLS   MI   48307
MILLER, KIMBERLY L           2010 BENSON DRIVE                                                                           DAYTON            OH   45406‐4406
MILLER, KIRK A               7536 DARKE PREBLE COUNTY LINE RO                                                            ARCANUM           OH   45304
MILLER, KIRK ALAN            7536 DARKE PREBLE COUNTY LINE ROAD                                                          ARCANUM           OH   45304
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Name                    Address1                          Address2                  Address3     Address4         City               State Zip
MILLER, KIRK E          120 CAMPBELL ST APT 7                                                                     ROCHESTER           MI 48307‐2615
MILLER, KIRK M          1516 CR 434A                                                                              LAKE PANASOFFKEE    FL 33538‐5100
MILLER, KISHINA P       2484 TYLER WAY                                                                            DECATUR             GA 30032‐5637
MILLER, KOBIE           SPEAR & GREENFIELD                230 S BROAD ST STE 1800                                 PHILADELPHIA        PA 19102‐4102
MILLER, KRISTEN M       355 MOUNT ROYAL AVE                                                                       ABERDEEN            MD 21001‐1946
MILLER, KRISTINE D      3335 VIRGINIA DR                                                                          COLUMBIAVILLE       MI 48421‐9305
MILLER, KRISTY S
MILLER, KURT B          7631 OAK RD                                                                               MILLINGTON         MI    48746‐9630
MILLER, KURT C          PO BOX 456                                                                                DAVISON            MI    48423‐0456
MILLER, KYLE J          2688 GLYNN CT                                                                             DETROIT            MI    48206‐1618
MILLER, L C             16204 ROSELAWN ST                                                                         DETROIT            MI    48221‐4928
MILLER, L L             5994 PORT AUSTIN RD                                                                       CASEVILLE          MI    48725‐9585
MILLER, L R INC         PO BOX 277707                                                                             RIVERDALE           IL   60827‐7707
MILLER, LADONNA         3155 FARNSWORTH RD                                                                        LAPEER             MI    48446‐8721
MILLER, LAGRETTA K      PO BOX 50726                                                                              FORT WORTH         TX    76105‐0726
MILLER, LAHNA L         221 PRESTON AVE                                                                           WATERFORD          MI    48328‐3655
MILLER, LAJOYCE T       28498 BROOKS LN                                                                           SOUTHFIELD         MI    48034‐2091
MILLER, LAMAR           2916 MONTEREY DR                                                                          DECATUR            GA    30032‐3530
MILLER, LAMONT R        1200 IRON BRIDGE RD 5                                                                     COLUMBIA           TN    38401
MILLER, LANCE A         471 HIGHWAY 289 S                                                                         SALEM              AR    72576‐9025
MILLER, LANNY R         PO BOX 18                                                                                 LAKE CITY          MI    49651
MILLER, LANNY R         900 DAMON ST                                                                              AKRON              OH    44310‐3419
MILLER, LARITA M        3475 E 1150 S                                                                             AMBOY              IN    46911‐9489
MILLER, LAROY L         10009 STANLEY RD                                                                          FLUSHING           MI    48433‐9204
MILLER, LAROY LEE       10009 STANLEY RD                                                                          FLUSHING           MI    48433‐9204
MILLER, LARRY           2223 HIGHLAND ST                                                                          DETROIT            MI    48206‐1233
MILLER, LARRY           1569 BOULDER LAKE DR                                                                      MILFORD            MI    48380‐3243
MILLER, LARRY           13520 S 500 E                                                                             AMBOY              IN    46911
MILLER, LARRY           GUY WILLIAM S                     PO BOX 509                                              MCCOMB             MS    39649‐0509
MILLER, LARRY A         934 PRAIRIE LILLY DRIVE                                                                   LAS CRUCES         NM    88007‐6958
MILLER, LARRY B         9508 LAZY CIRCLES DR                                                                      OOLTEWAH           TN    37363‐9386
MILLER, LARRY B         211 WINGED FOOT DR                                                                        SHREVEPORT         LA    71106‐8411
MILLER, LARRY B         PO BOX 434                                                                                SHINGLETOWN        CA    96088‐0434
MILLER, LARRY C         346 FRANCIS PARKER RD                                                                     GEORGETOWN         SC    29440‐6874
MILLER, LARRY CLINTON   5311 UNIONVILLE RD                                                                        MONROE             NC    28110‐9441
MILLER, LARRY D         504 SAGECREEK COURT                                                                       WINTER SPGS        FL    32708‐2730
MILLER, LARRY D         4030 OAK TREE CIR                                                                         ROCHESTER          MI    48306‐4656
MILLER, LARRY E         PO BOX 33150                                                                              LAUGHLIN           NV    89028
MILLER, LARRY E         5405 CANADA RD                                                                            BIRCH RUN          MI    48415
MILLER, LARRY E         9418 GRANDVIEW CT                                                                         DAVISON            MI    48423‐1196
MILLER, LARRY E         4490 E BRISTOL RD                                                                         BURTON             MI    48519‐1410
MILLER, LARRY E         6650 AHERN COURT                                                                          INDIANAPOLIS       IN    46268‐8647
MILLER, LARRY E         21530 NO WAKE AVE                                                                         WILMINGTON          IL   60481‐1086
MILLER, LARRY G         248 NE 251ST RD                                                                           CLINTON            MO    64735‐9329
MILLER, LARRY G         2462 VALLEY CHURCH DR                                                                     CLIO               MI    48420‐9722
MILLER, LARRY G         10315 US ROUTE 127                                                                        W MANCHESTER       OH    45382‐9761
MILLER, LARRY G         7348 BILTMORE DR                                                                          SARASOTA           FL    34231‐7907
MILLER, LARRY G         7348 BILTIMORE DR                                                                         SARASOTA           FL    34231‐7907
MILLER, LARRY GENE      2462 VALLEY CHURCH DR                                                                     CLIO               MI    48420‐9722
MILLER, LARRY J         4701 CHRISTIANSEN RD                                                                      LANSING            MI    48910‐5187
MILLER, LARRY J         8984 GARY RD, ROUTE #3                                                                    CHESANING          MI    48616
MILLER, LARRY J         1701 ESSEX RD                                                                             TAWAS CITY         MI    48763‐9763
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Name                      Address1                          Address2                        Address3   Address4         City                 State Zip
MILLER, LARRY J           4126 HECHT RD                                                                                 VASSAR                MI 48768‐9473
MILLER, LARRY K           5670 ESTERO BLVD                                                                              FORT MYERS BEACH      FL 33931‐4122
MILLER, LARRY L           7571 PALOS VERDES DR                                                                          GOLETA                CA 93117‐2414
MILLER, LARRY N           5935 SHULL RD                                                                                 HUBER HEIGHTS         OH 45424‐1209
MILLER, LARRY P           763 PENSACOLA AVE                                                                             PONTIAC               MI 48340‐2358
MILLER, LARRY P           909 OAK DR                                                                                    GAS CITY              IN 46933‐2157
MILLER, LARRY P           1950 SCHWILK RD SE                                                                            LANCASTER             OH 43130‐9496
MILLER, LARRY R           5333 2 MILE RD                                                                                BAY CITY              MI 48706‐3074
MILLER, LARRY R           3305 TRENDLEY AVE                                                                             EAST SAINT LOUIS       IL 62207‐1642
MILLER, LARRY W           8250 PINE LAKE DR                                                                             DAVISBURG             MI 48350‐2046
MILLER, LAURA A           10287 CONTINENTAL DR                                                                          TAYLOR                MI 48180‐3108
MILLER, LAURA L           2481 HIGHLAND TRAIL                                                                           WEST BRANCH           MI 48661
MILLER, LAURA MARIE       937 VOSHOLL                                                                                   WARRENTON             MO 63383‐2221
MILLER, LAURA MARIE       937 VOSHOLL AVE                                                                               WARRENTON             MO 63383‐2221
MILLER, LAURENCE A        12284 N JENNINGS RD                                                                           CLIO                  MI 48420‐8218
MILLER, LAURIE A          14296 EASTVIEW DR                                                                             FENTON                MI 48430‐1306
MILLER, LAURIE B          40658 DOUGLAS DR APT 104                                                                      CANTON                MI 48188‐1362
MILLER, LAURINDA          1888 COLONIAL VILAGE WAY          APT # 1                                                     WATERFORD             MI 48328‐1966
MILLER, LAURINDA          1888 COLONIAL VILLAGE WAY APT 1                                                               WATERFORD             MI 48328‐1966
MILLER, LAVERNE           636 SOTUH BLACK TAIL TRAIL                                                                    MARICOPA              AZ 85239
MILLER, LAVERNE M         8967 NORTH ROCKFORD AVENUE                                                                    MILTON                WI 53563‐9201
MILLER, LAVINA R          6880 PARKER RANCH RD                                                                          WICHITA FALLS         TX 76310‐7102
MILLER, LAVON W           22408 SUZAN CT                                                                                SAINT CLAIR SHORES    MI 48080‐2533
MILLER, LAWANDA W         2112 STRANG BLVD                                                                              LITHONIA              GA 30058‐6518
MILLER, LAWRENCE          8704 245TH AVENUE                                                                             SALEM                 WI 53168‐9085
MILLER, LAWRENCE          209 LARK DR                                                                                   LARGO                 FL 33778‐2130
MILLER, LAWRENCE          125 FAIR LAWN CT                                                                              STEPHENS CITY         VA 22655‐2398
MILLER, LAWRENCE A        12044 LAKE RD                                                                                 MONTROSE              MI 48457‐9428
MILLER, LAWRENCE A        11917 GANSSLEY DR                                                                             LENNON                MI 48449‐9314
MILLER, LAWRENCE C        2640 S CHANNEL DR                                                                             HARSENS ISLAND        MI 48028‐9601
MILLER, LAWRENCE D        347 RIVER ISLE                                                                                BRADENTON             FL 34208‐9048
MILLER, LAWRENCE E        177 SUNSET DR                                                                                 SPRINGTOWN            TX 76082‐6805
MILLER, LAWRENCE E        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510‐2212
                                                            STREET, SUITE 600
MILLER, LAWRENCE G        18950 MILBURN ST                                                                              LIVONIA              MI   48152‐3350
MILLER, LAWRENCE G        48826 KINGS DR                                                                                SHELBY TWP           MI   48315‐4038
MILLER, LAWRENCE J        18 RICHARDS DR                                                                                WHITNEY POINT        NY   13862‐1817
MILLER, LAWRENCE LEROY    BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                               DALLAS               TX   75219
MILLER, LAWRENCE S        P.O. BOX 81                                                                                   GERMANTOWN           OH   45327‐0081
MILLER, LAWRENCE S        PO BOX 81                                                                                     GERMANTOWN           OH   45327‐0081
MILLER, LAWRENCE T        24851 ELLIOTT RD                                                                              DEFIANCE             OH   43512‐9125
MILLER, LAWRENCE T        64 HIGLEY ST                                                                                  LAPEER               MI   48446‐2511
MILLER, LAWRENCE TREVER   24851 ELLIOTT RD                                                                              DEFIANCE             OH   43512‐9125
MILLER, LAWRENCE W        250 DECLARATION LN                                                                            FLINT                MI   48507‐5918
MILLER, LAYMON F          278 TEAKWOOD DR                                                                               ALTO                 GA   30510‐4470
MILLER, LAYNE P           6733 BERWICK DR                                                                               CLARKSTON            MI   48346‐4715
MILLER, LEAH M            377 BIRCHWOOD DR                                                                              LOCKPORT             NY   14094‐9157
MILLER, LEBURN L          449 MAIN ST APT 231                                                                           ANDERSON             IN   46016
MILLER, LEE A             7212 BURRWOOD DR APT B                                                                        SAINT LOUIS          MO   63121‐1652
MILLER, LEE P             5973 STATE ROUTE 7                                                                            KINSMAN              OH   44428‐4428
MILLER, LEE R             345 P CROMER RD                                                                               ABBEVILLE            SC   29620‐3381
MILLER, LEE W             906 MANSELL DR                                                                                YOUNGSTOWN           OH   44505‐2241
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Name                      Address1                         Address2                      Address3   Address4         City              State Zip
MILLER, LEIGHTON E        4777 CRAINS RUN RD                                                                         MIAMISBURG         OH 45342‐6215
MILLER, LELA              5617 RIDGE RD                                                                              LOCKPORT           NY 14094‐9463
MILLER, LELA              7919 S MAY ST                                                                              CHICAGO             IL 60620‐3059
MILLER, LELA              7919 S. MAY STREET                                                                         CHICAGO             IL 60620‐3059
MILLER, LENA KATE         2420 MAPLE AVE                                                                             FLINT              MI 48507
MILLER, LENA KATE         2420 W MAPLE AVE                                                                           FLINT              MI 48507‐3430
MILLER, LENA W            115 MAPLE VALLEY DRIVE                                                                     VILLA RICA         GA 30180
MILLER, LEO               110 HUNTER LN                                                                              JONESBOROUGH       TN 37659‐6556
MILLER, LEO C             11335 DEHMEL RD                                                                            BIRCH RUN          MI 48415‐9707
MILLER, LEO N             5261 HAROLD DR                                                                             FLUSHING           MI 48433‐2506
MILLER, LEO V             2093 SPRINGFIELD DRIVE                                                                     SOUTH JORDAN       UT 84095‐9275
MILLER, LEOLA A           PO BOX 739                                                                                 CENTRAL LAKE       MI 49622
MILLER, LEON              4414 GREENLAWN DR                                                                          FLINT              MI 48504‐2028
MILLER, LEON A            120 FRANKLIN ST                                                                            DANSVILLE          NY 14437‐1041
MILLER, LEON B            9614 NEWTON DR                                                                             SAINT LOUIS        MO 63136‐1925
MILLER, LEON F            210 W MAIN ST                                                                              ROCHESTER          NY 14614
MILLER, LEON F            5900 TAXTON RD                                                                             SAINT JOHNS        MI 48879
MILLER, LEON F            350 DICKERSON DR N                                                                         CAMILLUS           NY 13031‐1704
MILLER, LEON S            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
MILLER, LEON T            8814 WEST MEADOWS DRIVE                                                                    ECKERTY           IN   47116‐9542
MILLER, LEONA J           26983 33 MILE RD                                                                           RICHMOND          MI   48062‐4421
MILLER, LEONARD D         1023 JEFFERSON AVE EXT.                                                                    JEANNETTE         PA   15644
MILLER, LEONARD D         13466 STUART RD                                                                            SAINT CHARLES     MI   48655‐9644
MILLER, LEONARD E         7533 SUNBURST AVE                                                                          CHESTERTOWN       MD   21620‐4766
MILLER, LEONARD H         1420 GREENWICH LN                                                                          JANESVILLE        WI   53545‐1220
MILLER, LEONARD J         8511 WAGER RD                                                                              LYONS             MI   48851‐9678
MILLER, LEONARD JAMES     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                           STREET, SUITE 600
MILLER, LEONARD K         154 TRAVISWOOD ST                                                                          JACKSON           MS   39212‐9212
MILLER, LEONARD L         3410 STONYRIDGE DR                                                                         SANDUSKY          OH   44870‐5469
MILLER, LEONARD R         3227 CHANSON VALLEY RD                                                                     LAMBERTVILLE      MI   48144‐9760
MILLER, LEONARD RICHARD   3227 CHANSON VALLEY RD                                                                     LAMBERTVILLE      MI   48144‐9760
MILLER, LEONIDA G         135 SURRY CIR N                                                                            PINEHURST         NC   28374‐8424
MILLER, LEROY             160 S MILLER RD                                                                            MC COOL           MS   39108‐4240
MILLER, LEROY             3014 HULL RD                                                                               HERON             OH   44839
MILLER, LEROY             BOONE ALEXANDRA                  205 LINDA DR                                              DAINGERFIELD      TX   75638‐2107
MILLER, LEROY A           12005 POTTER RD                                                                            BELLEVUE          OH   44811‐9660
MILLER, LEROY C           801 N 70TH TER                                                                             KANSAS CITY       KS   66112‐3013
MILLER, LEROY C           11503 BALFOUR DR                                                                           FENTON            MI   48430‐9073
MILLER, LEROY CURT        801 N 70TH TER                                                                             KANSAS CITY       KS   66112‐3013
MILLER, LEROY E           2815 SW 31ST ST                                                                            GRESHAM           OR   97080‐9577
MILLER, LEROY J           525 W DAVISBURG RD                                                                         HOLLY             MI   48442‐8545
MILLER, LEROY V           PO BOX 79                                                                                  ROACHDALE         IN   46172‐0079
MILLER, LESLIE C          4894 NO NAME RD                                                                            ANDERSON          IN   46017‐9731
MILLER, LESLIE J          8439 STEPHESON                                                                             CENTER LINE       MI   48015
MILLER, LESLIE S          2958 130TH AVE                                                                             ALLEGAN           MI   49010‐9252
MILLER, LESLIE W          2607 HATHON DR                                                                             WATERFORD         MI   48329‐3641
MILLER, LESTER
MILLER, LESTER C          1341 PIERCE AVE APT 1                                                                      NORTH TONAWANDA   NY 14120‐3098
MILLER, LEVI E            307 CENTER ST                                                                              HOLLY             MI 48442‐1712
MILLER, LEWIS C           6745 PEACH ORCHARD RD                                                                      DALZELL           SC 29040‐8623
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Name                   Address1                      Address2              Address3         Address4         City              State Zip
MILLER, LEWIS E        112 LINDEN DR                                                                         NORTH BRANCH       MI 48461‐9609
MILLER, LEWIS W        5474 HONEY BEE LN                                                                     REPUBLIC           MI 49879‐9010
MILLER, LEXIE F        10156 STANLEY RD                                                                      FLUSHING           MI 48433‐9259
MILLER, LIAL J         10048 E MOUNT MORRIS RD                                                               DAVISON            MI 48423‐9333
MILLER, LILLIAN        512 LASALLE BLVD                                                                      LANSING            MI 48912‐4222
MILLER, LILLIAN        512 LASALLE                                                                           LANSING            MI 48912‐4222
MILLER, LILLIAN L      3900 HAMMERBERG RD APT 348                                                            FLINT              MI 48507‐6027
MILLER, LILLY          PO BOX 2277                                                                           CEDAR BLUFF        VA 24609‐2277
MILLER, LINA F         625 ADDISON ST                                                                        ADRIAN             MI 49221‐2404
MILLER, LINDA          8168 S COUNTY ROAD 1100 E                                                             GALVESTON          IN 46932‐8908
MILLER, LINDA          LEE WILLIAM L JR              PO BOX 14047                                            JACKSON            MS 39236‐4047
MILLER, LINDA A        21 MONTICELLO CV                                                                      JACKSON            TN 38305‐1676
MILLER, LINDA C        4009 CLEARVIEW PKWY                                                                   METAIRIE           LA 70006‐2734
MILLER, LINDA J        5225 EAST CREEK ROAD                                                                  BELOIT             WI 53511‐8932
MILLER, LINDA J        8649 E HAMPTON POINT RD                                                               INVERNESS          FL 34450‐7444
MILLER, LINDA J        8649 HAMPTON POINT RD E                                                               INVERNESS          FL 34450‐7444
MILLER, LINDA J        119 HAYES LN                                                                          FITZGERALD         GA 31750‐6110
MILLER, LINDA J.       721 RUSTIC RD                                                                         ANDERSON           IN 46013
MILLER, LINDA K        5218 MILL WHEEL DRIVE                                                                 FLINT              MI 48507
MILLER, LINDA L        10135 W STATE ROAD 42                                                                 STILESVILLE        IN 46180‐9681
MILLER, LINDA L        4995 VIA COLINAS DR                                                                   FORT MOHAVE        AZ 86426‐8330
MILLER, LINDA L        425 HILLCREST RD E                                                                    LAKE QUIVIRA       KS 66217‐8780
MILLER, LINDA L        8535 SYCAMORE TRAILS DRIVE                                                            SPRINGBORO         OH 45066‐5066
MILLER, LINDA L        25515 RAY PARKER RD                                                                   ARCADIA            IN 46030‐9409
MILLER, LINDA LOUISE   71 KINGSTON DR SW                                                                     KINGSTON           GA 30145
MILLER, LINDA M        PO BOX 204                                                                            OMER               MI 48749‐0204
MILLER, LINDA M        7201 KIRKVILLE RD                                                                     E SYRACUSE         NY 13057
MILLER, LINDA M        367 SHIELDS RD. APT. 6                                                                BOARDMAN           OH 44512‐4512
MILLER, LINDA M        9150 LUEA LN                                                                          SWARTZ CREEK       MI 48473‐1076
MILLER, LINDA M        367 SHIELDS RD APT 6                                                                  BOARDMAN           OH 44512‐1929
MILLER, LINDA R        5117 S WILLIS AVE                                                                     INDEPENDENCE       MO 64055‐5677
MILLER, LINDA R        8803 EDINBURGH CIR                                                                    HIGHLANDS RANCH    CO 80129‐2241
MILLER, LINDA S        132 SKYVIEW DR                                                                        VANDALIA           OH 45377‐2243
MILLER, LINDA S        14200 S HAVEN RD                                                                      GRANDVIEW          MO 64030
MILLER, LINDA SUE      132 SKYVIEW DR                                                                        VANDALIA           OH 45377‐2243
MILLER, LINDA V        1256 LINDEN ST APT 1                                                                  CAPE GIRARDEAU     MO 63703‐7721
MILLER, LINDELL L      216 E 49TH ST                                                                         ANDERSON           IN 46013‐4800
MILLER, LINDY          6161 THORNCLIFF DR                                                                    SWARTZ CREEK       MI 48473‐8820
MILLER, LISA A         6002 MARJA ST                                                                         FLINT              MI 48505‐5804
MILLER, LISA R         46684 PEACH GROVE AVE                                                                 MACOMB             MI 48044‐4609
MILLER, LLOYD A        609 CHERRY ST                                                                         NEW CASTLE         IN 47362‐5283
MILLER, LLOYD E        PO BOX 34                                                                             OWOSSO             MI 48867‐0034
MILLER, LLOYD E        223 PORTER ST                                                                         NEW IBERIA         LA 70560‐4472
MILLER, LLOYD W        821 BUCKEYE ST                                                                        MIAMISBURG         OH 45342‐2415
MILLER, LLOYD W        821 BUCKEYE STREET                                                                    MIAMISBURG         OH 45342‐2415
MILLER, LOIS           3055 HUNTINGTON PK DR                                                                 WATERFORD          MI 48329‐4532
MILLER, LOIS A         1946 VICTORIA ST                                                                      CUYAHOGA FALLS     OH 44221‐4123
MILLER, LOIS C         2111 LYCHEE LN                                                                        NOKOMIS            FL 34275
MILLER, LOIS C         894 DRIFTWOOD                                                                         LA MARQUE          TX 77568
MILLER, LOIS J         6899 EVERGREEN CIR                                                                    HUBER HEIGHTS      OH 45424‐3992
MILLER, LOIS J         1741 WILLAMET ROAD                                                                    KETTERING          OH 45429‐4250
MILLER, LOIS J         520 DODGE ST                                                                          BUFFALO            NY 14208‐2433
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Name                 Address1                          Address2                      Address3   Address4                City           State Zip
MILLER, LOIS M       201 UNIVERSITY DR S               RM 232                                                           FARGO           ND 58103
MILLER, LOIS M       328 CARMELL DR                                                                                     PITTSBURGH      PA 15241‐1753
MILLER, LOIS S       216 E 49TH ST                                                                                      ANDERSON        IN 46013‐4800
MILLER, LOIS T       412 CARSON SPRINGS RD                                                                              NEWPORT         TN 37821‐7747
MILLER, LOLA         407 S HIGH ST                                                                                      RISING SUN      IN 47040‐1122
MILLER, LOLA E       8550 NORTH GRANBY AVE             APT 207                                                          KANSAS          MO 64154
MILLER, LOLA E       8550 N GRANBY AVE APT 207                                                                          KANSAS CITY     MO 64154‐1238
MILLER, LON A        7375 MOORISH RD                                                                                    BRIDGEPORT      MI 48722‐9768
MILLER, LON W        13618 COUNTY ROAD 171                                                                              DEFIANCE        OH 43512‐8313
MILLER, LONNIE J     237 LISBON AVE                                                                                     BUFFALO         NY 14215‐1027
MILLER, LORAINE      16134 OHIO ST                                                                                      DETROIT         MI 48221‐2954
MILLER, LOREN J      1159 S ETON ST                                                                                     BIRMINGHAM      MI 48009‐7141
MILLER, LOREN L      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA 23510‐2212
                                                       STREET, SUITE 600
MILLER, LORENE       4318 EASTBROOK DRIVE                                                                               LAFAYETTE      IN   47905‐7865
MILLER, LORENZA      3748 RINGLE RD                                                                                     VASSAR         MI   48768‐9737
MILLER, LORENZA      3748 S RINGLE                                                                                      VASSAR         MI   48768‐9737
MILLER, LORETTA      1409 E. ST. RD. 28                                                                                 MUNCIE         IN   47303‐9754
MILLER, LORETTA      1399 STANWIX                                                                                       COLUMBUS       OH   43223‐3295
MILLER, LORETTA      2669 LUELLA AVE                                                                                    SAGINAW        MI   48603‐3041
MILLER, LORETTA      1409 E STATE ROAD 28                                                                               MUNCIE         IN   47303‐9754
MILLER, LORETTA      1399 STANWIX CT                                                                                    COLUMBUS       OH   43223‐3295
MILLER, LORETTA J    8435 GRUBBS REX ROAD                                                                               ARCANUM        OH   45304‐9439
MILLER, LORI A       942 JOHNSON PLANK RD NE                                                                            WARREN         OH   44481‐9327
MILLER, LORI A       3870 PINTAIL DR                                                                                    JANESVILLE     WI   53546‐3418
MILLER, LORI A       1054 MCCABE RD                                                                                     LANDISBURG     PA   17040
MILLER, LORI L       33 TERRAMA CRT                                                             SAINT CATHARINES ONT
                                                                                                CANADA L2S‐3X1
MILLER, LORI L       1297 142ND ST                                                                                      NEW RICHMOND   WI 54017‐6644
MILLER, LORI L       33 TERRAMA COURT                                                           ST. CATHARINES ON L2S
                                                                                                3X1 CANADA
MILLER, LORI L.      1297 142ND ST                                                                                      NEW RICHMOND   WI   54017‐6644
MILLER, LORING       BARTON & WILLIAMS                 3007 MAGNOLIA ST                                                 PASCAGOULA     MS   39567‐4126
MILLER, LORRAINE     286 THURMAN BR                                                                                     OLIVE HILL     KY   41164‐8055
MILLER, LORRAINE     6514 DALLAIVS DR                                                                                   FLORISSANT     MO   63033‐7906
MILLER, LORRAINE     286 THURMAN BRANCH                                                                                 OLIVE HILL     KY   41164‐8055
MILLER, LORRAINE     6514 DALLAVIS DR                                                                                   FLORISSANT     MO   63033‐7906
MILLER, LORRAINE H   4468 RAINBOW LANE                                                                                  FLINT          MI   48507‐6227
MILLER, LORRAINE J   431 TRAFALGAR LN                                                                                   SPRING HILL    FL   34606‐5242
MILLER, LOTTIE ANN   923 E WASHINGTON                                                                                   FAIRMOUNT      IN   46928‐1809
MILLER, LOTTIE B     1227 S L ST APT 3                                                                                  ELWOOD         IN   46036‐2755
MILLER, LOUIS C      1200 JUNEAU ST                                                                                     WATERTOWN      WI   53098‐3330
MILLER, LOUIS C      2916 BERNADETTE AVE                                                                                YOUNGSTOWN     OH   44509‐3004
MILLER, LOUIS E      PO BOX 78801                                                                                       SAINT LOUIS    MO   63178‐8801
MILLER, LOUIS F      24381 CORTES DR                                                                                    DANA POINT     CA   92629‐1604
MILLER, LOUIS T      805 SHADY AVE NW                                                                                   WARREN         OH   44483‐2105
MILLER, LOUIS T      805 SHADY AVE. N.W.                                                                                WARREN         OH   44483‐2105
MILLER, LOUIS T      340 WEIMAR ST                                                                                      BUFFALO        NY   14206‐3210
MILLER, LOUISE C     54 WATTERSON ST.                                                                                   DAYTON         OH   45408‐5408
MILLER, LOUISE E     600 HOPPER RD                                                                                      ALTOONA        AL   35952‐6205
MILLER, LOVELL M     2754 MILLIKEN CT                                                                                   FLINT          MI   48505‐2407
MILLER, LOVINA M     3901 BAHIA VISTA ST LOT #126                                                                       SARASOTA       FL   34232‐2434
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Name                 Address1                           Address2              Address3         Address4         City                  State Zip
MILLER, LOWELL E     5515 S MERRILL RD                                                                          MERRILL                MI 48637‐9794
MILLER, LOWELL E     1342 COBBLESTONE ST                                                                        DAYTON                 OH 45432‐3405
MILLER, LOWELL T     1498 WILLIAMSBURG RD                                                                       FLINT                  MI 48507‐5641
MILLER, LOY D        2589 HARMONY RD                                                                            TEMPLE                 GA 30179‐2921
MILLER, LOYAL D      PO BOX 684                                                                                 TAZEWELL               TN 37879‐0684
MILLER, LOYAL F      PO BOX 4262                                                                                HARROGATE              TN 37752‐4262
MILLER, LOYD E       220 SW SEASIDE SPARROW ST                                                                  LEES SUMMIT            MO 64082‐4519
MILLER, LU A         PO BOX 282                                                                                 WASKOM                 TX 75692‐0282
MILLER, LU ANN       PO BOX 282                                                                                 WASKOM                 TX 75692‐0282
MILLER, LUCIA ANN    7170 S HEMLOCK LN                                                                          MT MORRIS              MI 48458‐9486
MILLER, LUCILLE B    7064 W CRAWFORD AVE                                                                        MILWAUKEE              WI 53220‐1817
MILLER, LUDILLE M    5320 SUSAN ST                                                                              FLINT                  MI 48505‐2526
MILLER, LUE          PO BOX 945                                                                                 MUNCIE                 IN 47308‐0945
MILLER, LUE          P.O. BOX 945                                                                               MUNCIE                 IN 47308‐0945
MILLER, LUE          PO BOX 1102                                                                                EAGLE LAKE             FL 33839
MILLER, LUTHER B     5 LEE CT                                                                                   MAPLEWOOD              NJ 07040‐3027
MILLER, LYDA P       10207 LAFAYETTE LN                                                                         DIMONDALE              MI 48821‐9521
MILLER, LYDIA        2580 LONE PINE CT                                                                          CHULA VISTA            CA 91915‐1543
MILLER, LYDIA E      PO BOX 433                                                                                 ALGONAC                MI 48001‐0433
MILLER, LYLE C       211 E SMITH ST                                                                             BAY CITY               MI 48706‐3876
MILLER, LYLE J       17426 4 MILE RD                                                                            MORLEY                 MI 49336‐9527
MILLER, LYLE R       3304 RENAULT DR                                                                            FLINT                  MI 48507‐3364
MILLER, LYMAN B      3553 W MAPLE RAPIDS RD                                                                     SAINT JOHNS            MI 48879‐8510
MILLER, LYNETTA Q    PO BOX 605204                                                                              CLEVELAND              OH 44105‐0204
MILLER, LYNN
MILLER, LYNN         5541 DYER ST                                                                               MALVERN               AR   72104‐8105
MILLER, LYNN A       154 CASTANO DR                                                                             HOT SPRINGS VILLAGE   AR   71909‐4510
MILLER, LYNN A       37678 LARAMIE ST                                                                           WESTLAND              MI   48185‐5653
MILLER, LYNN A       1149 SOUTH PERU ST                                                                         CICERO                IN   46034
MILLER, LYNN A       697 BUCKLEW RD                                                                             SPENCER               IN   47460‐6226
MILLER, LYNN E       367 CATAMARAN CT                                                                           NORTH PORT            FL   34287‐6525
MILLER, LYNN I       1983 OAKVIEW DR                                                                            ANN ARBOR             MI   48108‐8549
MILLER, LYNN L       9940 CHASEFIELD CT                                                                         PEYTON                CO   80831‐6881
MILLER, LYNN R       8652 N PEOPLES RD                                                                          EDMORE                MI   48829‐9736
MILLER, LYNN R       20111 E 351ST ST                                                                           ARCHIE                MO   64725‐9703
MILLER, M C          6150 SUNSET DRIVE                                                                          CEDAR HILL            MO   63016‐1602
MILLER, M D          9456 ENGLISHMAN DR                                                                         FENTON                MI   48430‐8742
MILLER, M J          1360 BOOMER CIRCLE                                                                         SUWANEE               GA   30024‐6611
MILLER, MABLE E      PO BOX 310099                                                                              FLINT                 MI   48531‐0099
MILLER, MADELINE A   4148 WINCHESTER AVE                                                                        MARTINSBURG           WV   25401‐2546
MILLER, MADELINE J   2490 W YOWELL CT UNIT 24                                                                   YUMA                  AZ   85364‐1732
MILLER, MADONNA S    8884 MICHAELA LANE                                                                         WAYNESVILLE           OH   45068‐5068
MILLER, MAE          ROUTE 2                            BOX 230                                                 URICH                 MO   64788‐9804
MILLER, MAE          RR 2 BOX 230                                                                               URICH                 MO   64788‐9129
MILLER, MAE R        PO BOX 284                                                                                 LOUISVILLE            MS   39339‐0284
MILLER, MAGNOLIA     3788 IROQUOIS                                                                              DETROIT               MI   48214‐1219
MILLER, MAGNOLIA     3788 IROQUOIS ST                                                                           DETROIT               MI   48214‐1219
MILLER, MAJOR L      3277 SPRING VALLEY DR                                                                      FLINT                 MI   48504‐1715
MILLER, MALCOLM      5707 NORTON ST                                                                             SHREVEPORT            LA   71109‐7531
MILLER, MALCOLM M    1 N 1025 E                                                                                 LAFAYETTE             IN   47905‐9638
MILLER, MALK         405 KENTON DR                                                                              IRMO                  SC   29063‐2193
MILLER, MAMIE K      PO BOX 1454                                                                                BUFFALO               NY   14225‐8454
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Name                      Address1                          Address2                  Address3                Address4         City              State Zip
MILLER, MARC A            3400 MAGNOLIA WAY                                                                                    PUNTA GORDA        FL 33950‐7097
MILLER, MARC D            34 HAMPTON CT                                                                                        LANCASTER          NY 14086
MILLER, MARC L            5166 PERRY AVE                                                                                       ANDERSON           IN 46013‐3797
MILLER, MARCELLA C        719 S CURRIER CT                                                                                     PORT ANGELES       WA 98362‐4966
MILLER, MARCELLE F        3420 NW 41ST ST                                                                                      OKLAHOMA CITY      OK 73112‐6349
MILLER, MARCIA A          144 WILCOX RD                                                                                        YOUNGSTOWN         OH 44515‐4240
MILLER, MARCIA L          12860 DIXON RD                                                                                       DUNDEE             MI 48131‐9729
MILLER, MARGARET          17178 STAHELIN                                                                                       DETROIT            MI 48219‐3543
MILLER, MARGARET          3066 MUIRFIELD CIR                                                                                   WHITE LAKE         MI 48383‐2361
MILLER, MARGARET A        5931 HIGHGATE AVE                                                                                    EAST LANSING       MI 48823‐2331
MILLER, MARGARET A        6422 CLOVERTON DR                                                                                    WATERFORD          MI 48329‐1313
MILLER, MARGARET A        113 SHARPE ST                                                                                        ESSEXVILLE         MI 48732‐1631
MILLER, MARGARET B        3505 DALE AVE                                                                                        FLINT              MI 48506‐4711
MILLER, MARGARET E        3304 RENAULT DR                                                                                      FLINT              MI 48507‐3364
MILLER, MARGARET ELOISE   2900 W SUPERSTITION BLVD LOT 87                                                                      APACHE JUNCTION    AZ 85220‐2997
MILLER, MARGARET ELOISE   2900 W. SUPERSTITION              LOT 87                                                             APACHE JUNCTION    AZ 85220‐2997
MILLER, MARGARET J        P.O. BOX 199                                                                                         SHARPSVILLE        IN 46068‐0199
MILLER, MARGARET J        346 FRANCIS PARKER RD                                                                                GEORGETOWN         SC 29440‐6874
MILLER, MARGARET J        PO BOX 199                                                                                           SHARPSVILLE        IN 46068‐0199
MILLER, MARGARET L        503 SALEM DR                                                                                         KOKOMO             IN 46902‐4993
MILLER, MARGARET L        7647 TERRI DR.                                                                                       WESTLAND           MI 48185‐9449
MILLER, MARGARET L        7647 TERRI DR                                                                                        WESTLAND           MI 48185‐9449
MILLER, MARGARET L.       PO BOX 537                                                                                           MAXTON             NC 28364‐0537
MILLER, MARGARET L.       P.O. BOX 537                                                                                         MAXTON             NC 28364‐0537
MILLER, MARGARET M        101 SHELLEY DR.                                                                                      WINTERHAVEN        FL 33884‐3884
MILLER, MARGARET M        101 SHELLEY DR                                                                                       WINTER HAVEN       FL 33884‐2366
MILLER, MARGARET M        5038 SANDALWOOD DR                                                                                   GRAND BLANC        MI 48439‐4260
MILLER, MARGARET M        8374 LAKESHORE RD                                                                                    BURTCHVILLE        MI 48059‐1327
MILLER, MARGARET R        1190 CEDAR CREEK CIR              C/O LINDA K BRUNER                                                 DAYTON             OH 45459‐3222
MILLER, MARGARET R        C/O LINDA K BRUNER                1190 CEDAR CREEK CIRCLE                                            DAYTON             OH 45459‐5459
MILLER, MARGARET R.       906 ROBBINS AVENUE                                                                                   NILES              OH 44446‐2442
MILLER, MARGARET T        GRANITE FARM ESTATES              APT B206                  1343 W BALTIMORE PIKE                    MEDIA              PA 19063
MILLER, MARGERTE J        20 KENTUCKY FAMILY DR                                                                                CORBIN             KY 40701‐4775
MILLER, MARGIE            106 GROVE CIR                                                                                        MERIDIANVILLE      AL 35759‐2316
MILLER, MARGIE N          320 GUY NEAVES RD                                                                                    CRUMPLER           NC 28617‐9528
MILLER, MARGIETTA M       7265 GILLETTE RD                                                                                     FLUSHING           MI 48433‐9254
MILLER, MARIA             11247 CLOVERLAWN DR                                                                                  BRIGHTON           MI 48114‐8130
MILLER, MARIA             3619 RIDGEDALE AVE                                                                                   UPLANDS PARK       MO 63121‐5338
MILLER, MARIA             11984 CANDEN                                                                                         LIVONIA            MI 48150‐2351
MILLER, MARIA             7340 WILSON RD                                                                                       OTISVILLE          MI 48463‐9473
MILLER, MARIA             11984 CAMDEN ST                                                                                      LIVONIA            MI 48150‐2351
MILLER, MARIA E           1437 CHARWOOD RD                                                                                     MOUNT MORRIS       MI 48458‐2776
MILLER, MARIA S           3400 JENKINS RD APT 207                                                                              CHATTANOOGA        TN 37421‐1156
MILLER, MARIAN            30611 ROSSLYN AVE                                                                                    GARDEN CITY        MI 48135‐1396
MILLER, MARIAN JEAN       32 DOVETREE DR                                                                                       NEWARK             DE 19713‐2882
MILLER, MARIAN L          2040 E RAHN RD                                                                                       KETTERING          OH 45440‐2535
MILLER, MARIAN S          12240 NE SISKIYOU #7                                                                                 PORTLAND           OR 97230‐1657
MILLER, MARIANNE          2308 CEDAR DRIVE                                                                                     READING            MI 49274‐9401
MILLER, MARIANNE T        8190 NEFF RD                                                                                         MOUNT MORRIS       MI 48458‐1329
MILLER, MARIANNE T        4419 AUTUMN RDG                                                                                      SAGINAW            MI 48603‐8706
MILLER, MARIE A           1123 AVENUE G                                                                                        ORMOND BEACH       FL 32174‐6855
MILLER, MARIE B           1907 FOSTER AVENUE                                                                                   JANESVILLE         WI 53545‐0812
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Name                    Address1                         Address2              Address3         Address4         City               State Zip
MILLER, MARIE D         6543 KENTWOOD DR                                                                         HOLLY               MI 48442‐8745
MILLER, MARIE D         320 BROADWAY                                                                             DAVISBURG           MI 48350‐2516
MILLER, MARIE H         23887 HARVEST DR                                                                         NOVI                MI 48375‐3149
MILLER, MARILYN         3411 W COLDWATER RD                                                                      MOUNT MORRIS        MI 48458‐9401
MILLER, MARILYN G.      1588 GREENVILLE RD                                                                       COLUMBUS            OH 43223‐3510
MILLER, MARILYN H       409 S WOODPECKER RD                                                                      HAGERSTOWN          IN 47346‐1600
MILLER, MARILYN J       10163 COUGAR RIDGE PKWY                                                                  WACO                TX 76708‐5637
MILLER, MARILYN J       4533 W COOK RD                                                                           FORT WAYNE          IN 46818‐9402
MILLER, MARILYN K       2164 BERTHA ST                                                                           HOLT                MI 48842‐1416
MILLER, MARILYN K       1475 TRANSIT AVE                                                                         ROSEVILLE           MN 55113‐3149
MILLER, MARILYN R       3855 S ATLANTIC AVE PH 3                                                                 DAYTONA BEACH       FL 32118‐7748
MILLER, MARILYN R       6034 WOODHAVEN RD                                                                        JACKSON             MS 39206‐2527
MILLER, MARILYN S       2133 N. LYNDHURST DR.                                                                    SPEEDWAY            IN 46224‐5004
MILLER, MARILYN T       472 LOCH LOMOND RD                                                                       STERLINGTON         LA 71280‐3036
MILLER, MARILYNN J      2800 TRANSIT RD                                                                          ALBION              NY 14411‐9727
MILLER, MARION A        1275 N HIGH SCHOOL RD                                                                    INDIANAPOLIS        IN 46224‐6105
MILLER, MARION C        7813 S 46TH DR                                                                           LAVEEN              AZ 85339
MILLER, MARJORIE        40 BROWN ST                                                                              WEST HAVEN          CT 06516‐4914
MILLER, MARJORIE A      708 JOHNS AVE                                                                            LEHIGH ACRES        FL 33972‐4641
MILLER, MARJORIE A      415 S 3RD ST                                                                             EDMORE              MI 48829‐9408
MILLER, MARJORIE B      155 TULIP DR                                                                             INDIANAPOLIS        IN 46227‐2362
MILLER, MARJORIE B      155 E TULIP DR                                                                           INDIANAPOLIS        IN 46227‐2362
MILLER, MARJORIE B      1709 CORRIDALE CT                                                                        DEFIANCE            OH 43512‐3621
MILLER, MARJORIE C      7286 CENTENNIAL GLEN DRIVE                                                               COLORADO SPGS       CO 80919‐5019
MILLER, MARK
MILLER, MARK            4800 HUNTER CREEK LN                                                                     ROCHESTER HILLS    MI   48306‐1516
MILLER, MARK            950 CLARK ST                                                                             SAINT PAUL         MN   55130‐4032
MILLER, MARK A          8212 FRIE AVE                                                                            KALAMAZOO          MI   49009‐9442
MILLER, MARK A          11828 E 100 N                                                                            SHERIDAN           IN   46069‐9029
MILLER, MARK A          3870 PINTAIL DR                                                                          JANESVILLE         WI   53546‐3418
MILLER, MARK A          1297 142ND ST                                                                            NEW RICHMOND       WI   54017‐6644
MILLER, MARK A          4780 SHERIDAN RD                                                                         SAGINAW            MI   48601‐9301
MILLER, MARK A          3501 S PENN ST                                                                           MUNCIE             IN   47302‐5868
MILLER, MARK ALLEN      950 CLARK ST                                                                             SAINT PAUL         MN   55130‐4032
MILLER, MARK ALLEN JR   950 CLARK ST                                                                             SAINT PAUL         MN   55130‐4032
MILLER, MARK D          148 SOUTHERN PKWY                                                                        BUFFALO            NY   14225
MILLER, MARK D          1708 N LEXINGTON DR                                                                      JANESVILLE         WI   53545‐0999
MILLER, MARK E          1746 ANDREWS DR                                                                          AVON               IN   46123‐8165
MILLER, MARK E          508 GAINSBOROUGH DR                                                                      EAST LANSING       MI   48823
MILLER, MARK E          2524 KIRK RD                                                                             YOUNGSTOWN         OH   44511‐2216
MILLER, MARK E          11513 COUNTY ROAD 23K                                                                    CLOVERDALE         OH   45827
MILLER, MARK EDWARD     11513 COUNTY ROAD 23K                                                                    CLOVERDALE         OH   45827
MILLER, MARK J          103 HIBERNIA DR                                                                          HARMONY            PA   16037‐8519
MILLER, MARK J          22674 VACRI LN                                                                           FARMINGTON HILLS   MI   48335‐3856
MILLER, MARK L          6005 CALICO LN                                                                           CANFIELD           OH   44406‐9777
MILLER, MARK L          404 CIRCLE M DR                                                                          GRAND CANE         LA   71032‐6338
MILLER, MARK L          11535 XINGS KNIGHT CIR                                                                   GRAND BLANC        MI   48439‐8621
MILLER, MARK L          35 QUAIL RUN LN                                                                          LANCASTER          NY   14086‐1444
MILLER, MARK L          11535 KINGS KNIGHT CIR                                                                   GRAND BLANC        MI   48439‐8621
MILLER, MARK L          5161 KOCHVILLE RD                                                                        SAGINAW            MI   48604‐9302
MILLER, MARK L          390 OLD ELK NECK ROAD                                                                    NORTH EAST         MD   21901‐5708
MILLER, MARK L          510 ELM ST                                                                               WYANDOTTE          MI   48192‐5705
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Name                   Address1                         Address2                      Address3   Address4         City            State Zip
MILLER, MARK L.        510 ELM ST                                                                                 WYANDOTTE        MI 48192‐5705
MILLER, MARK LEE       35 QUAIL RUN LN                                                                            LANCASTER        NY 14086‐1444
MILLER, MARK O         233 GRANT STREET                                                                           TROY             OH 45373‐3117
MILLER, MARK P         PO BOX 14182                                                                               SCOTTSDALE       AZ 85267‐4182
MILLER, MARK S         8226 GRAND RIVER TRL                                                                       PORTLAND         MI 48875‐9402
MILLER, MARK T         6847 BEARD RD                                                                              BYRON            MI 48418‐8982
MILLER, MARLENE O      3003 COOMER RD                                                                             NEWFANE          NY 14108‐9679
MILLER, MARLEY F       75 GARLAND DR                                                                              BREMEN           GA 30110‐4363
MILLER, MARLIN         9474 SEVEN COURTS DR                                                                       NOTTINGHAM       MD 21236‐4788
MILLER, MARNE G        3673 ELMLAWN DR                                                                            TOLEDO           OH 43614‐3566
MILLER, MARNE GEORGE   3673 ELMLAWN DR                                                                            TOLEDO           OH 43614‐3566
MILLER, MARSHA C.      316 WAYNE ST                                                                               OLEAN            NY 14760‐2441
MILLER, MARSHA G       500 W PAYTON ST                                                                            GREENTOWN        IN 46936
MILLER, MARSHA GAYLE   500 W PAYTON ST                                                                            GREENTOWN        IN 46936
MILLER, MARSHA L       2920 S BAY DR APT K15                                                                      WESTLAKE         OH 44145‐6004
MILLER, MARSHALL B     9356 VAN BUREN RD                                                                          FOWLERVILLE      MI 48836‐9230
MILLER, MARSHALL W     35 BUDLONG ST                                                                              HILLSDALE        MI 49242‐1842
MILLER, MARTHA         12 BROMPTON CT                                                                             CROSSVILLE       TN 38558‐4402
MILLER, MARTHA H       74 HILLIARD ROME RD                                                                        COLUMBUS         OH 43228‐1123
MILLER, MARTHA H       74 ROME HILLIARD ROAD                                                                      COLUMBUS         OH 43228‐1123
MILLER, MARTHA M       575 BUENA VISTA RD                                                                         SOUTH VIENNA     OH 45369‐8765
MILLER, MARTHA M       575 N. BUENA VISTA RD.                                                                     SOUTH VIENNA     OH 45369‐8765
MILLER, MARTIN         WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK         NY 10038
MILLER, MARTIN         MILLER LAW FIRM PC               300 MILLER BUILDING                                       ROCHESTER        MI 48307
MILLER, MARTIN M       14200 S HAVEN RD                                                                           GRANDVIEW        MO 64030‐4059
MILLER, MARVIN         1303 25TH ST                                                                               BEDFORD          IN 47421‐5021
MILLER, MARVIN A       5433 HOSNER RD                                                                             METAMORA         MI 48455
MILLER, MARVIN B       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                        STREET, SUITE 600
MILLER, MARVIN D       816 MILLERTOWN RD                                                                          TEMPLE          GA   30179‐2936
MILLER, MARVIN H       8191 FOUNTAIN VIEW DR                                                                      FLUSHING        MI   48433‐2198
MILLER, MARVIN P       1026 62ND PL                                                                               DOWNERS GROVE   IL   60516‐1816
MILLER, MARY           108 S HAZELWOOD AVE                                                                        YOUNGSTOWN      OH   44509‐2717
MILLER, MARY           1963 KREGEL AVE                                                                            MUSKEGON        MI   49442
MILLER, MARY           108 SOUTH HAZELWOOD AVE                                                                    YOUNGSTOWN      OH   44509‐2717
MILLER, MARY           3095 LINDEN LANE #410                                                                      FLINT           MI   48507‐1134
MILLER, MARY           5933 SARATOGA DRIVE                                                                        OXFORD          MI   48371
MILLER, MARY           3095 LINDEN LN APT 410                                                                     FLINT           MI   48507‐1134
MILLER, MARY           5710 FARMBROOK ST                                                                          DETROIT         MI   48224‐1350
MILLER, MARY           425 ALICE ST                                                                               SAGINAW         MI   48602‐2782
MILLER, MARY A         2334 KERSTETTER RD                                                                         BUCYRUS         OH   44820‐9706
MILLER, MARY A         2898 N MECHANICSBURG RD                                                                    SHIRLEY         IN   47384‐9653
MILLER, MARY A         6571 BEAVER CRK                                                                            WASHINGTON      MI   48094‐3523
MILLER, MARY A         3904 CARMELITA BLVD                                                                        KOKOMO          IN   46902‐4625
MILLER, MARY A         1979 EAST ROAD BOX 2                                                                       WATERPORT       NY   14571
MILLER, MARY A         9547 HEMINGWAY LN                                                                          FORT MYERS      FL   33913
MILLER, MARY A         4331 HUNTERS CHASE LANE                                                                    WOOSTER         OH   44691‐7301
MILLER, MARY ANN       3355 S ELMS RD                                                                             SWARTZ CREEK    MI   48473‐7929
MILLER, MARY ANN       6571 BEAVER CRK                                                                            WASHINGTON      MI   48094‐3523
MILLER, MARY B         12362 PARKIN LN                                                                            FENTON          MI   48430‐8726
MILLER, MARY B         3651 S.W. POMPANO RD                                                                       DUNELLON        FL   34431‐3551
MILLER, MARY BETH      12362 PARKIN LN                                                                            FENTON          MI   48430‐8726
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Name                    Address1                        Address2              Address3         Address4         City              State Zip
MILLER, MARY C          4257 OLD CLAIRTON RD                                                                    PITTSBURGH         PA 15227‐2601
MILLER, MARY C          56 MACKINAW CT                                                                          SAGINAW            MI 48602‐3341
MILLER, MARY C          37834 VIA ROSALIE                                                                       CLINTON TWP        MI 48036‐2973
MILLER, MARY C          2605 SEMECA                                                                             FLINT              MI 48504‐7132
MILLER, MARY D          155 MARKET RD                                                                           TIPTON             IN 46072‐1051
MILLER, MARY E          6515 W 133RD TER                                                                        OVERLAND PARK      KS 66209‐4079
MILLER, MARY E          11828 E 100 N                                                                           SHERIDAN           IN 46069‐9029
MILLER, MARY E          606 DORWOOD PARK                                                                        RANSOMVILLE        NY 14131
MILLER, MARY E          265 KRATZ PLACE                                                                         HEMLOCK            MI 48626‐9311
MILLER, MARY E          265 KRATZ PL                                                                            HEMLOCK            MI 48626‐9311
MILLER, MARY E          2987 N BISCAYNE DR                                                                      NORTH PORT         FL 34291‐3806
MILLER, MARY E          840 S PERU ST                                                                           CICERO             IN 46034‐9609
MILLER, MARY E          1486 LATHRUP AVE                                                                        SAGINAW            MI 48638‐4788
MILLER, MARY E          417 ROBINHOOD DR                                                                        FLORENCE           AL 35633‐1618
MILLER, MARY E          11301 WEBB AVE NE                                                                       ALLIANCE           OH 44601‐1445
MILLER, MARY ELLEN      PO BOX 334                                                                              LOUISVILLE         MS 39339‐0334
MILLER, MARY F          30 LAFAYETTE AVE                                                                        BUFFALO            NY 14213‐1346
MILLER, MARY F          30 LAYFAYETTE AVE                                                                       BUFFALO            NY 14213
MILLER, MARY H          233 GRANT STREET                                                                        TROY               OH 45373‐3117
MILLER, MARY H          309 KIMBERLY DR                                                                         COLUMBIA           TN 38401‐6909
MILLER, MARY I          7253 SCARLET OAK DR                                                                     ROANOKE            VA 24019‐2134
MILLER, MARY I          2043 TOWN HALL TERRACE          APT #6                                                  GRAND ISLAND       NY 14072‐1754
MILLER, MARY I          2043 TOWNHALL TER APT 6                                                                 GRAND ISLAND       NY 14072‐1754
MILLER, MARY J          27 ONTARIO ST 1                                                                         BUFFALO            NY 14207
MILLER, MARY J          603 SAINT JOSEPH DR APT 120                                                             KOKOMO             IN 46901‐4190
MILLER, MARY J          27 ONTARIO ST                                                                           BUFFALO            NY 14207‐1401
MILLER, MARY J          5804 MARION AVE                                                                         KANSAS CITY        MO 64133‐7603
MILLER, MARY J          15756 APPOLINE ST                                                                       DETROIT            MI 48227‐4010
MILLER, MARY K          2019 KENWOOD DRIVE                                                                      FLINT              MI 48532‐4033
MILLER, MARY K          5243 COURTNEY RD                                                                        MONTROSE           MI 48457‐9612
MILLER, MARY K          522 E PEARL ST                                                                          MIAMISBURG         OH 45342‐2356
MILLER, MARY KAY        2019 KENWOOD DRIVE                                                                      FLINT              MI 48532‐4033
MILLER, MARY L          2635 N GUNNELL RD                                                                       EATON RAPIDS       MI 48827‐9342
MILLER, MARY L          5923 WALWORTH RD                                                                        ONTARIO            NY 14519‐9592
MILLER, MARY L          60 ALEX CT                                                                              WEST CARROLLTON    OH 45449‐1906
MILLER, MARY L          PO BOX 938                                                                              CONCORDIA          MO 64020‐0938
MILLER, MARY L          807 S BELLE VISTA AVE                                                                   YOUNGSTOWN         OH 44509‐2141
MILLER, MARY L          60 ALEX CT.                                                                             WEST CARROLLTON    OH 45449‐1906
MILLER, MARY L          807 SOUTH BELLE VISTA AVE                                                               YOUNGSTOWN         OH 44509‐4509
MILLER, MARY LEE        118 SAVOY AVE                                                                           WEST CARROLLTON    OH 45449‐1725
MILLER, MARY LOU        1853 LONGWOOD AVENUE                                                                    COLUMBUS           OH 43223‐3721
MILLER, MARY LYNETTE    2635 N GUNNELL RD                                                                       EATON RAPIDS       MI 48827‐9342
MILLER, MARY M          PO BOX 408                                                                              BUFFALO            NY 14207‐0408
MILLER, MARY M          262 MISTY OAKS CT                                                                       DAYTON             OH 45415‐1373
MILLER, MARY M          22780 KYES RD                                                                           HILLMAN            MI 49746‐9558
MILLER, MARY MARGARET   PO BOX 193                                                                              GLENNIE            MI 48737‐0193
MILLER, MARY R          5529 COLUMBIA DR SOUTH                                                                  FRESNO             CA 93727‐6021
MILLER, MARY S          57 SIMEON DR                                                                            HEDGESVILLE        WV 25427‐7048
MILLER, MARY S          14623 THORNLAKE                                                                         NORWALK            CA 90650‐6060
MILLER, MARY THELMA     1721 RAWSON PL                                                                          DAYTON             OH 45432‐3544
MILLER, MARY V          2032 NC HIGHWAY 67                                                                      JONESVILLE         NC 28642‐9143
MILLER, MARY W          5079 SODOM HUTCHINGS RD                                                                 FARMDALE           OH 44417‐9711
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Name                    Address1                         Address2                      Address3   Address4         City            State Zip
MILLER, MARYANN K       205 MASON ST                                                                               CHESANING        MI 48616‐1440
MILLER, MASON           4506 TRUMBULL DR                                                                           FLINT            MI 48504‐3759
MILLER, MASON A         4016 GRAND PRAIRIE RD                                                                      KALAMAZOO        MI 49006‐1437
MILLER, MATHEW J        8450 MORNINGSIDE DRIVE                                                                     YOUNGSTOWN       OH 44514‐2960
MILLER, MATHEW R        1870 HOLLOWBROOK DR                                                                        HOLT             MI 48842‐8639
MILLER, MATTHEW         311 LUZEM ST                                                                               SUGARCREEK       OH 44681
MILLER, MATTHEW         PROGRESSIVE                      PO BOX 89440                                              CLEVELAND        OH 44101‐6440
MILLER, MATTHEW A       3625 N BANCROFT ST                                                                         INDIANAPOLIS     IN 46218‐1708
MILLER, MATTHEW BRYAN   2704 DUNLOP STREET                                                                         TRENTON          MI 48183‐4166
MILLER, MATTHEW C       2141 STATE ROUTE 179                                                                       JEROMESVILLE     OH 44840‐9745
MILLER, MATTHEW G       1505 THREAD VLY                                                                            HOLLY            MI 48442‐9606
MILLER, MATTHEW J       227 E LEGRAND ST                                                                           HOWELL           MI 48843‐2529
MILLER, MATTHEW SCOTT   2958 130TH AVE                                                                             ALLEGAN          MI 49010‐9252
MILLER, MATTHEW W       APT 2                            7311 CRYSTAL LAKE DRIVE                                   SWARTZ CREEK     MI 48473‐8957
MILLER, MATTHEW W       5499 E 00 W                                                                                MARION           IN 46952
MILLER, MATTIE          5802 GUION LAKES DR                                                                        INDIANAPOLIS     IN 46254‐1583
MILLER, MATTIE L        20257 ARCHER                                                                               DETROIT          MI 48219‐1124
MILLER, MATTIE M        116 EAST MCCLELLAN                                                                         FLINT            MI 48505
MILLER, MATTIE M        570 E WITHERBEE ST 1E                                                                      FLINT            MI 48505
MILLER, MATTIE M        116 E MCCLELLAN ST                                                                         FLINT            MI 48505‐4224
MILLER, MAUREEN A       7485 FALLING LEAF CT                                                                       FLUSHING         MI 48433‐2255
MILLER, MAUREEN A       6412 MICHELLE DR                                                                           LOCKPORT         NY 14094‐1135
MILLER, MAURICE E       4278 CHAPEL LANE                                                                           SWARTZ CREEK     MI 48473‐1702
MILLER, MAURINE J       15771 24 MILE RD                                                                           MACOMB           MI 48042‐2803
MILLER, MAVIS F         5272 GOODRICK RD                                                                           TRAVERSE CITY    MI 49684
MILLER, MAX A           237 N 5TH ST                                                                               DECATUR          IN 46733‐1354
MILLER, MAX A           5015 TENNY ST                                                                              LANSING          MI 48910‐5344
MILLER, MAX A.          237 N 5TH ST                                                                               DECATUR          IN 46733‐1354
MILLER, MAX F           4485 FAIRWOOD DR                                                                           BURTON           MI 48529‐1920
MILLER, MAXIE           3440 RISHER RD SW                                                                          WARREN           OH 44481‐9175
MILLER, MAXIE J         635 MILLER CIR                                                                             PELHAM           AL 35124‐3753
MILLER, MAXINE          16940 SOUTH OAKLEY ROAD LOT 30                                                             CHESANING        MI 48616‐9589
MILLER, MAXINE A        1981 PLAYER PL                                                                             KOKOMO           IN 46902‐5080
MILLER, MAXINE L        6615 TOWNMINE ROAD                                                                         BIRCH RUN        MI 48415
MILLER, MAXINE M        528 SPENCERVILLE ST                                                                        HICKSVILLE       OH 43526‐1018
MILLER, MAYNARD G       2917 CHESTER RD R 5                                                                        CHARLOTTE        MI 48813
MILLER, MAYNARD J       4330 MEADOW LN                                                                             OSCODA           MI 48750‐1335
MILLER, MEARL M         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
MILLER, MELANIE M       89 COLONIAL AVE                                                                            KENMORE         NY   14217‐1103
MILLER, MELINDA F       8424 W TAFT RD                                                                             SAINT JOHNS     MI   48879‐9567
MILLER, MELODY A        13276 GOLDEN CIR                                                                           FENTON          MI   48430‐1014
MILLER, MELTON R        8251 OLD WHITE LAKE RD                                                                     WHITE LAKE      MI   48386‐1109
MILLER, MELVIN C        RT 1 BOX 45                                                                                IRONTON         MO   63650
MILLER, MELVIN D        1408 HUGHEL DR                                                                             ANDERSON        IN   46012‐4610
MILLER, MELVIN D        11030 W PLEASANT VALLEY RD                                                                 SUN CITY        AZ   85351‐1558
MILLER, MELVIN E        PO BOX 214                                                                                 CRYSTAL         MI   48818‐0214
MILLER, MELVIN E        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                         STREET, SUITE 600
MILLER, MELVIN J        7870 LUMLEY RD                                                                             BEAR LAKE       MI 49614‐9327
MILLER, MELYSSA         95 OAKRIDGE DR                                                                             BAY SHORE       NY 11706‐3018
MILLER, MERCEDES        9445 TILMONT ST                                                                            PICO RIVERA     CA 90660‐1841
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Name                    Address1                        Address2                Address3         Address4         City               State Zip
MILLER, MEREL J         1115 E YALE AVE                                                                           FLINT               MI 48505‐1518
MILLER, MERLIN D        8760 OGDEN LANDING RD                                                                     WEST PADUCAH        KY 42086‐9420
MILLER, MERLIN R        2829 DAVID DR R2                                                                          SPRINGPORT          MI 49284
MILLER, MERRIL S        20104 BINDER ST                                                                           DETROIT             MI 48234‐1910
MILLER, MERVIN D        810 LEA AVE                                                                               MIAMISBURG          OH 45342‐3412
MILLER, META E          106 LAKE GLEN DR                                                                          CARSON CITY         NV 89703‐5132
MILLER, MICHAEL         4329 OLD US 23                                                                            FENTON              MI 48430‐9371
MILLER, MICHAEL A       6509 JACKMAN RD                                                                           TEMPERANCE          MI 48182‐1046
MILLER, MICHAEL A       188 MONROE DR                                                                             DAVISON             MI 48423‐8549
MILLER, MICHAEL A       6097 BYRAM LAKE DRIVE                                                                     LINDEN              MI 48451‐8784
MILLER, MICHAEL A       7231 N US HIGHWAY 23                                                                      OSCODA              MI 48750
MILLER, MICHAEL A       4665 KOCHVILLE RD                                                                         SAGINAW             MI 48604‐9764
MILLER, MICHAEL A       3104 E OAKLAWN DR                                                                         MUNCIE              IN 47303‐9437
MILLER, MICHAEL ALLEN   4665 KOCHVILLE RD                                                                         SAGINAW             MI 48604‐9764
MILLER, MICHAEL C       4595 PIER RD                                                                              COLOMA              MI 49038‐9138
MILLER, MICHAEL C       4595 PIER ROAD                                                                            COLOMA              MI 49038‐9138
MILLER, MICHAEL D       823 WALLER ST                                                                             SAGINAW             MI 48602‐1614
MILLER, MICHAEL D       13183 SHERIDAN RD                                                                         MONTROSE            MI 48457‐9346
MILLER, MICHAEL D       2397 FIVE FORKS TRL                                                                       THE VILLAGES        FL 32162‐1216
MILLER, MICHAEL D       29840 FOX GROVE RD                                                                        FARMINGTN HLS       MI 48334‐1955
MILLER, MICHAEL D       713 CANAL ST                                                                              ANDERSON            IN 46012‐9471
MILLER, MICHAEL D       280 WINTHROP RD                                                                           NEW WHITELAND       IN 46184‐1036
MILLER, MICHAEL E       11767 WHITEHALL DR                                                                        STERLING HEIGHTS    MI 48313‐5078
MILLER, MICHAEL E       4927 REGENCY PL                                                                           CARMEL              IN 46033‐5959
MILLER, MICHAEL E       4114 NORTHWOOD LN                                                                         ANDERSON            IN 46012‐9777
MILLER, MICHAEL E       PO BOX 188                                                                                KANSASVILLE         WI 53139‐0188
MILLER, MICHAEL E       607 WADSWORTH ST                                                                          EAST TAWAS          MI 48730‐1447
MILLER, MICHAEL E       1058 ANGOLA AVE                                                                           MOUNT MORRIS        MI 48458‐2122
MILLER, MICHAEL E       219 E MAIN ST                                                                             W CARROLLTON        OH 45449‐1417
MILLER, MICHAEL F       714 EDWARDS RD                                                                            WEST MONROE         LA 71292‐0162
MILLER, MICHAEL F       2101 N 300 E                                                                              ANDERSON            IN 46012‐9404
MILLER, MICHAEL F       1209 DENNIS RD                                                                            SOUTHAMPTON         PA 18966‐3533
MILLER, MICHAEL G       2550 S ELLSWORTH RD UNIT 214                                                              MESA                AZ 85209‐2455
MILLER, MICHAEL H       4198 W 046 N                                                                              HUNTINGTON          IN 46750‐7825
MILLER, MICHAEL H       6070 CARRIAGE HILL DR APT 22                                                              EAST LANSING        MI 48823‐2241
MILLER, MICHAEL H       4852 TONAWANDA CREEK RD                                                                   N TONAWANDA         NY 14120‐9528
MILLER, MICHAEL J       6815 HAMMOCK RD                                                                           PORT RICHEY         FL 34668
MILLER, MICHAEL J       25399 THE OLD RD                8‐201                                                     STEVENSON RANCH     CA 91381
MILLER, MICHAEL J       8115 PEPPERIDGE LA                                                                        PORT RICHEY         FL 34668
MILLER, MICHAEL J       11220 FEES RD                                                                             GRAND LEDGE         MI 48837‐9722
MILLER, MICHAEL J       3852 N BRIARVALE RD                                                                       AUBURN HILLS        MI 48326‐3327
MILLER, MICHAEL J       1155 BROOKFIELD RD                                                                        CHARLOTTE           MI 48813‐9158
MILLER, MICHAEL J       APT 213                         1450 WHISPERING WOODS                                     WATERFORD           MI 48327‐4106
MILLER, MICHAEL J       56690 FAIRCHILD RD                                                                        MACOMB              MI 48042‐1518
MILLER, MICHAEL J       3840 HUNT CLUB CT                                                                         SHELBY TOWNSHIP     MI 48316‐4820
MILLER, MICHAEL J       75 COBBLYNOB LANE                                                                         ONEONTA             AL 35121
MILLER, MICHAEL K       115 CIRCLE DR                                                                             ANDERSON            IN 46013‐4701
MILLER, MICHAEL L       284 LUTHER AVE                                                                            PONTIAC             MI 48341
MILLER, MICHAEL L       PO BOX 78                                                                                 KALIDA              OH 45853‐0078
MILLER, MICHAEL L       5809 NW RAINTREE DR                                                                       PARKVILLE           MO 64152‐3316
MILLER, MICHAEL L       10206 COUNTY RD                                                                           MIDDLEBURY          IN 46540
MILLER, MICHAEL L       PO BOX 161                                                                                MEXICO              IN 46958‐0161
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Name                       Address1                          Address2                     Address3   Address4             City                State Zip
MILLER, MICHAEL L          18007 ROLLINS DR                                                                               SMITHVILLE           MO 64089‐9081
MILLER, MICHAEL LAWRENCE   PO BOX 78                                                                                      KALIDA               OH 45853‐0078
MILLER, MICHAEL LEE        ASHCRAFT & GEREL                  10 E BALTIMORE ST STE 1212                                   BALTIMORE            MD 21202‐1624
MILLER, MICHAEL M          2885 IROQUOIS DR                                                                               THOMPSONS STATION    TN 37179‐5011
MILLER, MICHAEL M          3155 FARNSWORTH RD                                                                             LAPEER               MI 48446‐8721
MILLER, MICHAEL M          2204 S COURTLAND AVE                                                                           KOKOMO               IN 46902‐3351
MILLER, MICHAEL O          2840 S ROGERS HWY                                                                              PALMYRA              MI 49268‐9718
MILLER, MICHAEL O          1081 W REID RD                                                                                 FLINT                MI 48507‐4671
MILLER, MICHAEL P          110 CHERRY GROVE RD                                                                            CANTON               MI 48188‐5252
MILLER, MICHAEL P          3457 KEEFER HWY                                                                                LYONS                MI 48851‐9722
MILLER, MICHAEL R          42868 DELLEFIELD RD                                                                            ELYRIA               OH 44035‐1004
MILLER, MICHAEL R          6935 HILLSBORO CT                                                                              FORT WAYNE           IN 46835‐1818
MILLER, MICHAEL R          614 SUNFLOWER DR                                                                               LINDEN               MI 48451‐9155
MILLER, MICHAEL RAY        614 SUNFLOWER DR                                                                               LINDEN               MI 48451‐9155
MILLER, MICHAEL S          218 MADISON ST                                                                                 JANESVILLE           WI 53548‐3638
MILLER, MICHAEL S          14785 POWER DAM RD                                                                             DEFIANCE             OH 43512‐6807
MILLER, MICHAEL S          PO BOX 487                                                                                     FRANKTON             IN 46044‐0487
MILLER, MICHAEL T          PO BOX 50399                                                                                   BOWLING GREEN        KY 42102‐2999
MILLER, MICHAEL T          6352 REDEAGLE CREEK DR                                                                         FORT WORTH           TX 76179‐4705
MILLER, MICHAEL W          11079 BISHOP HWY                                                                               LANSING              MI 48911‐6200
MILLER, MICHAEL W          908 THROOP ST                                                                                  SAGINAW              MI 48602‐4560
MILLER, MICHAEL W          456 WESLEY AVE                                                                                 YOUNGSTOWN           OH 44509‐1833
MILLER, MICHEAL B          7548 HOLIDAY DR                                                                                SPRING HILL          FL 34606‐6221
MILLER, MICHELE N          2463 MIDDLETOWN EATON RD                                                                       MIDDLETOWN           OH 45042‐9553
MILLER, MICHELE S          48052 AMANDA DR                                                                                MACOMB               MI 48044‐4955
MILLER, MICHELLE A         3849 JIM DR                                                                                    BRIDGEPORT           MI 48722‐9617
MILLER, MICHELLE ANNETTE   3849 JIM DR                                                                                    BRIDGEPORT           MI 48722‐9617
MILLER, MICHELLE L         APT 6                             2901 WOODLANE DRIVE                                          JANESVILLE           WI 53545‐0280
MILLER, MICHIKO F          926 17 STREET N W                                                         CALGERY AB T2N 2E4
                                                                                                     CANADA
MILLER, MICKUAL R          1495 ALLEN SPRINGS RD                                                                          ALVATON             KY   42122‐8701
MILLER, MIKE               122 CLINTON ST                                                                                 WYANDOTTE           MI   48192‐2720
MILLER, MIKE A             5462 ERIC ST                                                                                   ALLENDALE           MI   49401‐8309
MILLER, MIKE ALAN          5462 ERIC ST                                                                                   ALLENDALE           MI   49401‐8309
MILLER, MIKE F             501 ROSEGARDEN DR. NE                                                                          WARREN              OH   44484‐1832
MILLER, MIKE J             953 BONNIE BLUE LN                                                                             COLUMBIA            TN   38401‐6765
MILLER, MILDRED F          4401 TRAFALGAR DR                                                                              ANDERSON            IN   46013‐4541
MILLER, MILDRED W          2668 STONEBRIDGE                                                                               TROY                OH   45373‐5422
MILLER, MILES E            3355 S ELMS RD                                                                                 SWARTZ CREEK        MI   48473‐7929
MILLER, MILISSA D          3212 MCLEOD AVE                                                                                WEST COLUMBIA       SC   29172‐1429
MILLER, MILTON E           227 N BIRNEY ST                                                                                BAY CITY            MI   48708‐6635
MILLER, MILTON F           3674 LOOKOUT LN                                                                                NORTH PORT          FL   34288‐8563
MILLER, MINNIE C           27706 LISA DR                                                                                  TAVARES             FL   32778‐9714
MILLER, MINYON BRANTLEY    19117 CAMPAIGN DR                                                                              CARSON              CA   90746‐2019
MILLER, MIRA               320 PERKINSWOOD BLVD NORTH EAST                                                                WARREN              OH   44483‐4483
MILLER, MIRIAM J           34759 ROAD J                                                                                   OCONOMOWOC          WI   53066
MILLER, MIRIAM M           306 E SOUTH E ST                                                                               GAS CITY            IN   46933‐1841
MILLER, MITCHELL           PO BOX 37                                                                                      MARKLEVILLE         IN   46056‐0037
MILLER, MITCHELL
MILLER, MITCHELL J.        PO BOX 37                                                                                      MARKLEVILLE         IN 46056‐0037
MILLER, MITCHELL L         20275 BREWER ST                                                                                DECATUR             MI 49045‐9407
MILLER, MITCHELL W         15146 BELLE RIVER RD                                                                           BERLIN              MI 48002‐1800
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Name                  Address1                         Address2                      Address3   Address4         City              State Zip
MILLER, MONA I        216 SERENITY CIRCLE                                                                        ANDERSON           IN 46013‐1094
MILLER, MONA L        5424 STEVEN DR                                                                             GREENWOOD          IN 46142‐7753
MILLER, MONICA        APT 6                            2284 MAIN STREET                                          HOLT               MI 48842‐1037
MILLER, MONICA M      APT 6                            2284 MAIN STREET                                          HOLT               MI 48842‐1037
MILLER, MONTE E       6350 IDA ST                                                                                INDIANAPOLIS       IN 46241‐1019
MILLER, MONTE R       BOONE ALEXANDRA                  205 LINDA DR                                              DAINGERFIELD       TX 75638‐2107
MILLER, MONTELLE L    3311 70TH ST W                                                                             BRADENTON          FL 34209‐5957
MILLER, MURIEL G      15 N SHORE PARK                                                                            CASSADAGA          NY 14718
MILLER, MURLAN R      908 WILHELM ST                                                                             DEFIANCE           OH 43512‐2949
MILLER, MURRELL D     1404 W MAIN ST                                                                             WAXAHACHIE         TX 75165‐2242
MILLER, MYRABA        81 ESSEX RD                                                                                LEXINGTON          OH 44904‐1005
MILLER, MYRAL M       218 MADISON ST                                                                             JANESVILLE         WI 53548‐3638
MILLER, MYRNA         332 OLDHAM WAY                                                                             ENGLEWOOD          OH 45322‐1744
MILLER, MYRON E       PO BOX 200                       4510 PRATT RD                                             HADLEY             MI 48440‐0200
MILLER, MYRON M       2360 W DECKERVILLE RD                                                                      CARO               MI 48723‐9780
MILLER, MYRTLE        13105 BRENNAN ROAD                                                                         CHESANING          MI 48616‐9534
MILLER, MYRTLE M      7741 VICTOR MENDON RD                                                                      VICTOR             NY 14564‐9170
MILLER, NANCY         5355 TIMERWOOD POINT DR                                                                    FLINT              MI 48532‐2266
MILLER, NANCY         703 BINFORD ST                                                                             CRAWFORDSVILLE     IN 47933‐1904
MILLER, NANCY         703 BINFORD                                                                                CRAWFORDSVILLE     IN 47933‐1904
MILLER, NANCY         210 JEFFERSON AVE                APT # 503                                                 BUFFALO            NY 14204
MILLER, NANCY         1375 WINDSOR RIDGE DR                                                                      ROCK HILL          SC 29732‐7000
MILLER, NANCY A       39 BRUNNELL DR                                                                             HOLDEN             MA 01520
MILLER, NANCY A       12250 BELDING RD NE                                                                        BELDING            MI 48809‐9350
MILLER, NANCY E       723 JACKSON ST NE                                                                          MINNEAPOLIS        MN 55413‐2307
MILLER, NANCY J       41 CROSSTRAILS                                                                             WINCHESTER         TN 37398‐4588
MILLER, NANCY J       10156 STANLEY RD                                                                           FLUSHING           MI 48433‐9259
MILLER, NANCY JANE    41 CROSSTRAILS                                                                             WINCHESTER         TN 37398‐4588
MILLER, NANCY L       PO BOX 1810                                                                                FALLING WATERS     WV 25419‐1810
MILLER, NANCY L       17226 BEACON WOODS                                                                         SAN ANTONIO        TX 78248‐1513
MILLER, NANCY L       8087 N GENESEE RD                                                                          MT MORRIS          MI 48458‐8828
MILLER, NANCY L       1720 YORKTOWN DRIVE                                                                        ARLINGTON          TX 76014‐2535
MILLER, NANCY M       3200 NIAGARA ST                  APT 2                                                     WAYNE              MI 48184‐1474
MILLER, NANCY M       302 E DAVIS ST BOX 112                                                                     SWEETSER           IN 46987
MILLER, NANCY M.      317 DOUGLAS ST NW                                                                          WARREN             OH 44483‐3217
MILLER, NANCY M.      4765 CRAWFORD RD                                                                           DRYDEN             MI 48428‐9623
MILLER, NANCY MARIE   302 E DAVIS ST BOX 112                                                                     SWEETSER           IN 46987
MILLER, NANCY P       402 WILTSHIRE BLVD                                                                         DAYTON             OH 45419‐2638
MILLER, NANCY R       4800 OLIVE RD                                                                              TROTWOOD           OH 45426‐2284
MILLER, NANCY T       4719 EVERETT HULL RD                                                                       CORTLAND           OH 44410‐9774
MILLER, NAOMI D       7614 COTTMAN ST                                                                            HUDSON             FL 34667‐1215
MILLER, NATHAN        DAILEY LAW FIRM PC               28000 WOODWARD AVE STE 201                                ROYAL OAK          MI 48067‐0962
MILLER, NATHAN L      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                       STREET, SUITE 600
MILLER, NATHANIEL     2213 LEIGHTON DR                                                                           SHELBY TOWNSHIP   MI   48317‐2792
MILLER, NEIL E        RT#1 5581 LAKE DRIVE                                                                       CRYSTAL           MI   48818
MILLER, NEIL E        4790 SHERIDAN RD                                                                           SAGINAW           MI   48601‐9301
MILLER, NEIL E        6468 BLUE GROSBEAK CIR                                                                     LAKEWOOD RANCH    FL   34202‐8235
MILLER, NEIL L        7601 FRAMPTON DR                                                                           WASHINGTON        MI   48095‐1234
MILLER, NEIL R        2419 N GENESEE RD                                                                          BURTON            MI   48509‐1133
MILLER, NEIL W        915 CANDELA LN                                                                             GRAND LEDGE       MI   48837‐2240
MILLER, NELLIE J      6177 E BRISTOL RD                                                                          BURTON            MI   48519‐1738
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MILLER, NELSON B       610 S WEST AVE                                                                                   JACKSON             MI 49203
MILLER, NELSON C       200 S PARK ST                                                                                    ALBANY              WI 53502‐9539
MILLER, NELSON K       17 W RAILROAD ST                                                                                 CASTILE             NY 14427‐9719
MILLER, NEVA D         133 GINA LYNN DR                                                                                 NEW CASTLE          IN 47362‐1876
MILLER, NEVA J         2338 HOUSEL CRAFT RD.                                                                            BRISTOVILLE         OH 44402‐4402
MILLER, NICOLE M       28 SOUTHGATE RD                                                                                  FRANKLIN            MA 02038‐2747
MILLER, NICOLE M       2004 PAULETTE RD APT 4                                                                           DUNDALK             MD 21222
MILLER, NIKITA M       23401 RIVERPARK                                                                                  REDFORD             MI 48239‐1409
MILLER, NILE W         480 W HANLEY RD                                                                                  MANSFIELD           OH 44903‐9040
MILLER, NINA E         789 STATE ROUTE 534 SW                                                                           NEWTON FALLS        OH 44444‐9560
MILLER, NINA E         789 ST. RT. 534 SW                                                                               NEWTON FALLS        OH 44444‐9560
MILLER, NOEL J         8470 GALBRAITH ROAD                                                                              CHEBOYGAN           MI 49721‐9070
MILLER, NONA MAE       4014 BROWN ST                                                                                    FLINT               MI 48532
MILLER, NONDAS A       3800 N. CO. RD 1000W                                                                             ALEXANDRIA          IN 46001‐9341
MILLER, NONDAS A       3800 N COUNTY ROAD 1000 W                                                                        ALEXANDRIA          IN 46001‐9341
MILLER, NORMA          612 MOHICAN CT                                                                                   SIDNEY              OH 45365‐1812
MILLER, NORMA          284 MAPLE RUN                                                                                    MASON               MI 48854‐1057
MILLER, NORMA C        14772 MERRY LAKE DR, E                                                                           CAMDEN              MI 49232
MILLER, NORMA D        4490 E BRISTOL RD                                                                                BURTON              MI 48519‐1410
MILLER, NORMA J        900 LONG BLVD APT 723                                                                            LANSING             MI 48911‐6829
MILLER, NORMA J        3212 THRUSH DR                                                                                   SAINT CHARLES       MO 63301‐0445
MILLER, NORMA J        3212 THURSH DRIVE                                                                                ST CHARLES          MO 63301‐0445
MILLER, NORMA L        12 HUMMINGBIRD ST                                                                                FREDERICKTOWN       MO 63645‐1082
MILLER, NORMA Z        240 S INGLEWOOD AVE APT 208                                                                      RUSSELLVILLE        AR 72801‐3326
MILLER, NORMAN         BOONE ALEXANDRA                   205 LINDA DR                                                   DAINGERFIELD        TX 75638‐2107
MILLER, NORMAN         2203 27TH ST                                                                                     BEDFORD             IN 47421‐4945
MILLER, NORMAN         37421 STONEGATE CIR                                                                              CLINTON TOWNSHIP    MI 48036‐2965
MILLER, NORMAN         2025 HIDDEN RIDGE LANE                                                                           HIGHLAND PARK        IL 60035‐2867
MILLER, NORMAN C       2741 LOCKPORT RD                                                                                 SANBORN             NY 14132‐9351
MILLER, NORMAN D       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
MILLER, NORMAN G       5038 SANDALWOOD DR                                                                               GRAND BLANC        MI   48439‐4260
MILLER, NORMAN G       G 2480 BETTY LANE                                                                                FLINT              MI   48507
MILLER, NORMAN W       4847 CHADBOURNE DR                                                                               STERLING HTS       MI   48310‐5115
MILLER, NORRIS D       6573 LONGWORTH DR                                                                                WATERFORD          MI   48329‐1342
MILLER, NORRIS E       1555 COUNTY RD 5‐2                                                                               DELTA              OH   43515
MILLER, NOVELLA        3706 RACE ST                                                                                     FLINT              MI   48504‐2216
MILLER, OBA J          3475 E 1150 S                                                                                    AMBOY              IN   46911‐9489
MILLER, OCIE V         8650 S OCEAN DR APT 306                                                                          JENSEN BEACH       FL   34957‐2152
MILLER, OLGA           APARTMENT BUILDING                517‐20 S PORT ST                          TORONTO ON M6S‐4Y8
                                                                                                   CANADA
MILLER, OLIVER E       3711 VISTA BLVD                                                                                  SPARKS             NV   89436‐6700
MILLER, OLIVIA A       10 BRIARWOOD RD                                                                                  SHREWSBURG         PA   17361‐1802
MILLER, OLIVIA A       1400 PATCHEN SE                                                                                  WARREN             OH   44484‐2803
MILLER, OLIVIA D       11334 SAINT JOE ROAD                                                                             FORT WAYNE         IN   46835‐9737
MILLER, ONIE EDWARD    14780 BROWN RD                                                                                   SUNFIELD           MI   48890‐9770
MILLER, OPAL E         3164 NORMAN CIRCLE                                                                               DULUTH             GA   30096‐3669
MILLER, OPAL L         501 FRISBY BRANCH RD                                                                             GREEN ROAD         KY   40946‐6527
MILLER, OPAL M         7309 POTTER ROAD                                                                                 FLUSHING           MI   48433‐9474
MILLER, ORA N          10413 PARKGATE AVE                                                                               CLEVELAND          OH   44108‐3337
MILLER, ORAL WILLIAM   HUMPHREYS JAMES F                 BANK ONE PLAZA STE 1113, 707                                   CHARLESTON         WV   25301
                                                         VIRGINIA ST E
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Name                     Address1                           Address2                         Address3   Address4         City               State Zip
MILLER, ORIAN C          313 SEELEY RD                                                                                   SYRACUSE            NY 13224‐1117
MILLER, ORVETTA J        1410 S GENEVIEVE ST                                                                             BURTON              MI 48509‐2402
MILLER, ORVETTA J        1410 S. GENEVIEVE ST.                                                                           BURTON              MI 48509‐2402
MILLER, ORVILLE          1700 MEMORIAL DR APT 167                                                                        CALUMET CITY         IL 60409‐4342
MILLER, ORVILLE          2510 3R ST E                                                                                    BRADENTON           FL 34208
MILLER, ORVILLE T        3525 NEEDHAM RD                                                                                 LEXINGTON           OH 44904‐9216
MILLER, OSWALD           C/O THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD          SUITE 44                    CORAL GABLES        FL 33146
MILLER, OSWALD           ANANIA, BANDKLAYER, BLACKWELL,     SUITE 4300 ‐ BANK OF AMERICA                                 MIAMI               FL 33131
                         BAUMGARTEN, TONICELLA & STERN      TOWER ‐ 100 SOUTHEAST SECOND
                                                            ST
MILLER, OTTO J           7740 FIR DR                                                                                     TEMPERANCE         MI   48182‐1537
MILLER, OVARA O          5302 CLEVELAND                                                                                  KANSAS CITY        MO   64130‐4008
MILLER, PALMA R          4153 JAMIE DR                                                                                   HAMILTON           OH   45011‐8624
MILLER, PAMALA R         10128 ABERDEEN DR                                                                               GRAND BLANC        MI   48439‐9574
MILLER, PAMELA A         2 RAILROAD AVE                                                                                  DOUGLAS            MA   01516
MILLER, PAMELA A         7542 BEARD RD                                                                                   BYRON              MI   48418‐8984
MILLER, PAMELA D         2985 FLORENCE DR                                                                                MIDDLEBURG         FL   32068
MILLER, PAMELA D         120 MEADOW LN APT C                                                                             CARMEL             IN   46032
MILLER, PAMELA J         712 E 400 S                                                                                     OAKFORD            IN   46965
MILLER, PAMELA J.        125 E MOLER ST APT B                                                                            COLUMBUS           OH   43207‐1124
MILLER, PAMELA K         8415 KINGSTON DR                                                                                FRANKLIN           OH   45005‐3943
MILLER, PAMELA M         35 WILDERNESS LN                                                                                DEFIANCE           MO   63341‐2402
MILLER, PAMELA P         448 PENN LANE                                                                                   BRANDON            MS   39047‐7285
MILLER, PANSY A          103 DOTSON DR                                                                                   MILLWOOD           WV   25262‐9710
MILLER, PARIS M          737 HUNTERS RUN                                                                                 GAHANNA            OH   43230‐4379
MILLER, PATIA L          C/O BERKSHIRE ASSISTED LIVING CO   5484 VILLAGE BROOKE DR S APT B                               NOBLESVILLE        IN   46062‐7780
MILLER, PATRICIA         15537 MUNN RD                                                                                   CLEVELAND          OH   44111‐2061
MILLER, PATRICIA         22737 PORT ST                                                                                   ST CLAIR SHRS      MI   48082‐2486
MILLER, PATRICIA         240 DOCTOR WILLIAMS RD                                                                          KENANSVILLE        NC   28349‐8832
MILLER, PATRICIA A       49 GREGORY DR                                                                                   MARTINSBURG        WV   25404
MILLER, PATRICIA A       8401 18 MILE #16A                                                                               STERLING HEIGHTS   MI   48313
MILLER, PATRICIA A       1926 US 36 W                                                                                    GREENVILLE         OH   45331
MILLER, PATRICIA A       8541 LOIRE VALLEY DR                                                                            TECUMSEH           MI   49286‐9610
MILLER, PATRICIA A       126 WALNUT ST                                                                                   WAYLAND            MI   49348‐1140
MILLER, PATRICIA C       2234 ELM ST                                                                                     YOUNGSTOWN         OH   44505‐2512
MILLER, PATRICIA C       2234 ELM ST.                                                                                    YOUNGSTOWN         OH   44505‐2512
MILLER, PATRICIA C.      125 OLD RD                                                                                      MONROE TWP         NJ   08831‐1226
MILLER, PATRICIA C.      125 OLD ROAD                                                                                    MONROE TWP.        NJ   08831‐1226
MILLER, PATRICIA H       258 BEECHWOOD DR                                                                                BRYN MAWR          PA   19010‐1203
MILLER, PATRICIA I       406 TUPELO GRV                                                                                  AMBLER             PA   19002‐5073
MILLER, PATRICIA J       9434 LYLE MEADOW LN                                                                             CLIO               MI   48420‐9725
MILLER, PATRICIA J       641 SYCAMORE ST                                                                                 ELYRIA             OH   44035‐4049
MILLER, PATRICIA J       36509 HAZELWOOD ST                                                                              WESTLAND           MI   48186‐4012
MILLER, PATRICIA J       39219 AVONDALE ST                                                                               WESTLAND           MI   48186‐3756
MILLER, PATRICIA J       2359 OAKWAY DR                                                                                  W BLOOMFIELD       MI   48324‐1856
MILLER, PATRICIA L       5650 DAYFLOWER CIR                                                                              TALLAHASSEE        FL   32311‐9001
MILLER, PATRICIA L       1725 BITTERSWEET DR                                                                             ANDERSON           IN   46011
MILLER, PATRICIA LOSER   1725 BITTERSWEET DR                                                                             ANDERSON           IN   46011‐9202
MILLER, PATRICIA M       8347 BELLE BLUFF DR                                                                             GRAND BLANC        MI   48439‐8954
MILLER, PATRICIA M       47777 SHELBY RD                                                                                 SHELBY TWP         MI   48317‐3165
MILLER, PATRICIA M       6802 US HIGHWAY 80 E                                                                            LIZELLA            GA   31052‐6012
MILLER, PATRICIA S       1320 CAMERON RD.                                                                                CARO               MI   48723
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MILLER, PATRICIA S      1361 SIOUX DRIVE                                                                            XENIA               OH 45385‐4232
MILLER, PATRICIA T      11911 66TH ST LOT 107                                                                       LARGO               FL 33773‐3615
MILLER, PATRICK F       5129 SHERETON PL                                                                            TOLEDO              OH 43615‐2950
MILLER, PATRICK FRANK   5129 SHERETON PL                                                                            TOLEDO              OH 43615‐2950
MILLER, PATRICK L       426 EPARD LN                                                                                WOODSTOCK           VA 22664‐1342
MILLER, PATRICK W       5026 E WESTON RD                                                                            BLISSFIELD          MI 49228‐9630
MILLER, PATSY           2100 WEST COMMONWEALTH AVENUE                                                               FULLERTON           CA 92833‐3019
MILLER, PATSY C         5176 WEMBLY CT. #16                                                                         STERLING HEIGHTS    MI 48310
MILLER, PATSY JANE      318 DRINA AVE                                                                               NEW LEBANON         OH 45345‐1122
MILLER, PATSY JUNE      875 PARKSIDE PL D202                                                                        OSAGE BEACH         MO 65065‐2997
MILLER, PAUL            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                         PROFESSIONAL BLDG
MILLER, PAUL A          8110 S RICHMOND AVE                                                                         TULSA              OK   74137‐1821
MILLER, PAUL A          PO BOX 96                                                                                   DRUMMOND ISLAND    MI   49726‐0096
MILLER, PAUL A          70 LEMMOND CIR                                                                              SOMERVILLE         AL   35670‐3755
MILLER, PAUL D          13333 N SAGINAW RD                                                                          CLIO               MI   48420‐1009
MILLER, PAUL D          3631 LAKEVIEW DR                                                                            HIGHLAND           MI   48356‐2379
MILLER, PAUL D          8071 ELLIS CREEK DR                                                                         CLARKSTON          MI   48348‐2617
MILLER, PAUL D          44 SADDLE CREEK DR                                                                          ATTICA             MI   48412‐9103
MILLER, PAUL D          561 E ORANGE GROVE AVE APT C                                                                BURBANK            CA   91501‐2020
MILLER, PAUL E          5438 FOREST RIDGE CIR                                                                       MILFORD            OH   45150‐2821
MILLER, PAUL E          4109 E EPLER AVE                                                                            INDIANAPOLIS       IN   46237‐2422
MILLER, PAUL E          2615 OAK HILL RD                                                                            ALVARADO           TX   76009‐7168
MILLER, PAUL E          698 S 400 E                                                                                 KOKOMO             IN   46902‐9321
MILLER, PAUL F          5280 MAGNOLIA DR                                                                            GRAND BLANC        MI   48439‐8664
MILLER, PAUL H          310 LARSON RD                                                                               ATTICA             MI   48412‐9691
MILLER, PAUL H          11218 WILD POND DR NE                                                                       ROCKFORD           MI   49341‐7602
MILLER, PAUL J          2432 CALLE ANDALUCIA                                                                        SANTA BARBARA      CA   93109‐1124
MILLER, PAUL J          4038 N BERKEY SOUTHERN RD                                                                   BERKEY             OH   43504‐9619
MILLER, PAUL J          APT 183                          28413 ABBEY LANE                                           NEW HUDSON         MI   48165‐2804
MILLER, PAUL J          14623 THORNLAKE AVE                                                                         NORWALK            CA   90650‐6060
MILLER, PAUL J          PO BOX 9022                      C/O KOREA                                                  WARREN             MI   48090‐9022
MILLER, PAUL L          3900 SQUIRREL RUN                                                                           GREGORY            MI   48137‐9531
MILLER, PAUL N          2835 S 103RD ST                                                                             WEST ALLIS         WI   53227‐3217
MILLER, PAUL O          1303 N FRANKLIN ST                                                                          WESTVILLE          IL   61883
MILLER, PAUL S          5493 CRAINS RUN RD                                                                          MIAMISBURG         OH   45342‐4705
MILLER, PAUL T          3117 N DEXTER ST                                                                            FLINT              MI   48506‐2668
MILLER, PAUL T          PO BOX 515                                                                                  KALIDA             OH   45853‐0515
MILLER, PAUL TIMOTHY    3117 N DEXTER ST                                                                            FLINT              MI   48506‐2668
MILLER, PAUL W          47220 LAUREN CT                                                                             BELLEVILLE         MI   48111‐4295
MILLER, PAUL W          695 GALA RD                                                                                 INWOOD             WV   25428‐4199
MILLER, PAULA Y         16484 LIZANA SCHOOL RD                                                                      GULFPORT           MS   39503‐8208
MILLER, PAULETTE D      1084 WORTHINGTON SLATE LICK RD                                                              WORTHINGTON        PA   16262‐3616
MILLER, PAULINE B       1629 GLENEAGLES DR                                                                          KOKOMO             IN   46902‐3193
MILLER, PAULINE I       4650 E CAREY AVE                 TRAILOR 70                                                 LAS VEGAS          NV   89115
MILLER, PAULINE I       TRLR 70                          4650 EAST CAREY AVENUE                                     LAS VEGAS          NV   89115‐4416
MILLER, PAULINE K       601 1/1 E CENTRAL AVE                                                                       MIAMISBURG         OH   45342
MILLER, PAULINE R       8730 EDGAR CT                                                                               CLARKSTON          MI   48346‐1916
MILLER, PEARL B         6316 LANGWOOD BLVD                                                                          FORT WAYNE         IN   46835‐1881
MILLER, PEARL E         2061 SOUTHWEST FALLON LN.                                                                   LAKE CITY          FL   32025‐1315
MILLER, PEGGY           2724 HAWTHORNE DR S                                                                         SHELBY TOWNSHIP    MI   48316‐5541
MILLER, PEGGY           5582 CENTRAL COLLEGE ROAD                                                                   WESTERVILLE        OH   43081‐9592
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MILLER, PEGGY CATERA      1606 HARVEST GLEN DR                                                                       CHICO            CA 95928‐7372
MILLER, PEGGY H           733 SUNSET LN                                                                              FORTVILLE        IN 46040‐1159
MILLER, PEGGY J           4097 SAUNDERS SETTLEMENT RD                                                                SANBORN          NY 14132‐9254
MILLER, PEGGY L           PO BOX 321042                                                                              DETROIT          MI 48232‐1042
MILLER, PENNINA           134 W GRAND                                                                                HIGHLAND PARK    MI 48203‐3645
MILLER, PEREZ A           23734 BRAZIL AVE                                                                           SOUTHFIELD       MI 48033‐2503
MILLER, PEREZ ALFONSO     23734 BRAZIL AVE                                                                           SOUTHFIELD       MI 48033‐2503
MILLER, PERRY             1212 WINDSOR DR                                                                            HATTIESBURG      MS 39402‐2849
MILLER, PETER C           8725 CADE RD                                                                               BROWN CITY       MI 48416‐9796
MILLER, PETER J           2294 108TH ST SW                                                                           BYRON CENTER     MI 49315‐9107
MILLER, PETER J           PO BOX 795                                                                                 ATLANTA          MI 49709‐0795
MILLER, PETER J           8515 APPLE BLOSSOM LN                                                                      FLUSHING         MI 48433‐1113
MILLER, PETER JEFFREY     8515 APPLE BLOSSOM LN                                                                      FLUSHING         MI 48433‐1113
MILLER, PETER M           3030 VILLAGE LN                                                                            BROOKLYN         MI 49230‐9372
MILLER, PETER T           851 MENOMINEE RD                                                                           PONTIAC          MI 48341‐1550
MILLER, PHIL              KROHN & MOSS ‐ IN               120 WEST MADISON STREET 10TH                               CHICAGO           IL 60602
                                                          FLOOR
MILLER, PHILIP A          105 WILDWOOD                                                                               EATON           OH   45320‐5320
MILLER, PHILIP A          105 WILDWOOD DR POB162                                                                     EATON           OH   45320
MILLER, PHILIP E          4923 VANDEMARK RD                                                                          LITCHFIELD      OH   44253‐9716
MILLER, PHILIP E          2 LANGLEAF WAY                                                                             PIEDMONT        SC   29673‐6489
MILLER, PHILIP H          743 W COOKE AVE                                                                            GLENOLDEN       PA   19036‐1237
MILLER, PHILIP J          3558 COVEVIEW                                                                              LUPTON          MI   48635‐9304
MILLER, PHILIP R          4119 TEE LAKE RD                                                                           LEWISTON        MI   49756‐8553
MILLER, PHILIP U          UNIT B                          3549 IVY HILL CIRCLE                                       CORTLAND        OH   44410‐9386
MILLER, PHILLIP A         660 BROADOAK LOOP                                                                          SANFORD         FL   32771‐7104
MILLER, PHILLIP B         9212 PORTAGE RD                                                                            PORTAGE         MI   49002‐6424
MILLER, PHILLIP D         616 E COLUMBIA ST                                                                          FLORA           IN   46929‐1110
MILLER, PHILLIP D         4672 OSPREY DR                                                                             GREENWOOD       IN   46143‐8281
MILLER, PHILLIP D         1405 BRAMBLE WAY                                                                           ANDERSON        IN   46011‐2832
MILLER, PHILLIP D         6047 CENTER RD                                                                             GRAND BLANC     MI   48439‐7949
MILLER, PHILLIP F         218 46TH ST                                                                                SANDUSKY        OH   44870‐4858
MILLER, PHILLIP FRANCIS   218 46TH ST                                                                                SANDUSKY        OH   44870‐4858
MILLER, PHILLIP G         6401 S FOREST HILL RD                                                                      SAINT JOHNS     MI   48879‐9231
MILLER, PHILLIP L         1149 S PERU ST                                                                             CICERO          IN   46034‐9601
MILLER, PHILLIP M         PO BOX 651                                                                                 SCOTTSVILLE     KY   42164‐0651
MILLER, PHILLIP MICHAEL   PO BOX 651                                                                                 SCOTTSVILLE     KY   42164‐0651
MILLER, PHILLIP R         202 MAIN ST                                                                                ASHLEY          OH   43003‐9751
MILLER, PHILLIP W         3802 PONCE DE LEON BLVD                                                                    SEBRING         FL   33872‐2204
MILLER, PHYLLIS A         PO BOX 8366                                                                                PALM SPRINGS    CA   92263
MILLER, PHYLLIS G         115 CROSS STREET                                                                           HUDSON          MI   49247‐9706
MILLER, PHYLLIS G         115 CROSS ST                                                                               HUDSON          MI   49247‐9706
MILLER, PHYLLIS J         3282 LAKE BAYSHORE DR                                                                      BRADENTON       FL   34205
MILLER, PHYLLIS M         7364 CRYSTAL LAKE DR APT 9                                                                 SWARTZ CREEK    MI   48473‐8946
MILLER, PHYLLIS M         26465 DARTMOUTH ST APT 3                                                                   INKSTER         MI   48141‐3263
MILLER, PHYLLIS M         1317 THOMAS DR                                                                             LEBANON         IN   46052‐1096
MILLER, PHYLLIS W         2680 CYPRESS LN                                                                            KISSIMMEE       FL   34746‐3813
MILLER, PRISCILLA A       207 S G ST                                                                                 TILTON          IL   61833‐7817
MILLER, PRISCILLA L       90 SCHOOL ST                                                                               PISCATAWAY      NJ   08854‐5931
MILLER, R C               2581 MURAL DR                                                                              CHAMBLEE        GA   30341‐3829
MILLER, R J               57 CARLTON AVE                                                                             JERSEY CITY     NJ   07306‐3401
MILLER, R L               18831 WOODS                                                                                MELVINDALE      MI   48122‐1443
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MILLER, RACHEL A        1500 GUTHRIE CROSSING DRIVE                                                                      LOGANVILLE         GA 30052
MILLER, RACHEL M        2381 ALTA WEST RD                                                                                MANSFIELD          OH 44903‐8230
MILLER, RADA M          146 DAVIDSEN RD                                                                                  CADILLAC           MI 49601‐9379
MILLER, RALPH           4325 COOLIDGE HWY                                                                                TROY               MI 48098‐4315
MILLER, RALPH           7522 HESSLER DR NE                                                                               ROCKFORD           MI 49341‐9509
MILLER, RALPH A         1250 US HIGHWAY 59 NORTH                                                                         TIMPSON            TX 75975‐5128
MILLER, RALPH A         PO BOX 67                                                                                        GREENWOOD          LA 71033‐0067
MILLER, RALPH A         574 MAYER RD                                                                                     COLUMBUS           MI 48063‐2100
MILLER, RALPH A         1493 TERRAWENDA DR                                                                               DEFIANCE           OH 43512‐3701
MILLER, RALPH AUSTIN    PO BOX 67                                                                                        GREENWOOD          LA 71033‐0067
MILLER, RALPH E         1342 OGAN AVE                                                                                    HUNTINGTON         IN 46750‐3844
MILLER, RALPH E         GLASSER AND GLASSER            CROWN CENTER          580 EAST MAIN STREET STE                    NORFOLK            VA 23510‐2212
                                                                             600
MILLER, RALPH G         3003 COOMER RD                                                                                   NEWFANE           NY   14108‐9679
MILLER, RALPH J         130 SAINT THOMAS LN                                                                              CAHOKIA           IL   62206‐1802
MILLER, RALPH L         206 N SPRUCE DR                                                                                  MAHOMET           IL   61853‐9277
MILLER, RALPH L         PO BOX 11735                                                                                     ZEPHYR COVE       NV   89448‐3735
MILLER, RALPH N         HC 74 BOX 93                                                                                     MONTICELLO        KY   42633‐9203
MILLER, RALPH T         606 HERITAGE LN                                                                                  ROCHESTER HILLS   MI   48309‐1534
MILLER, RANDALL J       7352 DAVIS HWY                                                                                   CHARLOTTE         MI   48813‐9339
MILLER, RANDALL L       15398 POWERLINE RD                                                                               HOLLEY            NY   14470‐9033
MILLER, RANDALL L       316 SPRINGHOUSE CIR                                                                              FRANKLIN          TN   37067‐5833
MILLER, RANDALL L       4633 STATE ROUTE 364                                                                             CANANDAIGUA       NY   14424
MILLER, RANDALL R       505 2ND ST                                                                                       OXFORD            MI   48371‐1513
MILLER, RANDI H         4028 EVALINE ST SE                                                                               WARREN            OH   44484‐4006
MILLER, RANDY J         923 DOWNS STREET                                                                                 DEFIANCE          OH   43512‐2903
MILLER, RANDY L         PO BOX 982                                                                                       FENTON            MI   48430‐0982
MILLER, RANDY S         4 MISSION RDG                                                                                    FRANKENMUTH       MI   48734‐1400
MILLER, RANDY U         309 OVERBROOK AVE                                                                                YOUNGSTOWN        OH   44505‐1137
MILLER, RANDY W         102 SECRETARIAT CT                                                                               BEAR              DE   19701‐3317
MILLER, RAY E           148 PRITTSTOWN RD                                                                                MT PLEASANT       PA   15666‐2200
MILLER, RAY J           3315 MOHAWK LN                                                                                   KANSAS CITY       MO   64116‐2819
MILLER, RAY N           126 THOREAU DR                                                                                   BURNSIDE          KY   42519‐9167
MILLER, RAYMON H        2800 TRANSIT RD                                                                                  ALBION            NY   14411‐9727
MILLER, RAYMOND C       3902 NEWTON FALLS RD                                                                             DIAMOND           OH   44412‐9624
MILLER, RAYMOND D       4023 S GENESEE RD                                                                                GRAND BLANC       MI   48439‐7912
MILLER, RAYMOND D       14196 N WHITEFISH POINT RD                                                                       PARADISE          MI   49768‐9606
MILLER, RAYMOND D       3900 HAMMERBERG RD APT 350     ROSE HAVEN MANOR                                                  FLINT             MI   48507‐6027
MILLER, RAYMOND E       215 W STOCKER                                                                                    GLENDALE          CA   91202
MILLER, RAYMOND E       4434 STILLWAGON RD                                                                               WEST BRANCH       MI   48661‐9656
MILLER, RAYMOND J       7065 BACKWATER CV                                                                                AUSTINTOWN        OH   44515‐2163
MILLER, RAYMOND J       2436 MALLARD ST                                                                                  CAMERON           LA   70631‐4508
MILLER, RAYMOND JESSE   7065 BACKWATER CV                                                                                AUSTINTOWN        OH   44515‐2163
MILLER, RAYMOND K       8181 W COUNTY RD 100S                                                                            FARMLAND          IN   47340
MILLER, RAYMOND K       1130 OAKLAND DR                                                                                  ANDERSON          IN   46012‐4536
MILLER, RAYMOND L       G‐1479 W YALE AVE                                                                                FLINT             MI   48505
MILLER, RAYMOND L       1567 BRADLEY AVE                                                                                 FLINT             MI   48503‐3448
MILLER, RAYMOND L       7075 LOGSDON ROAD                                                                                HAMILTON          OH   45011‐5466
MILLER, RAYMOND L       34067 CLAY RD                                                                                    LEWES             DE   19958‐6205
MILLER, RAYMOND L       7075 LOGSDON RD                                                                                  HAMILTON          OH   45011‐5466
MILLER, RAYMOND M       16512 LAKE SHORE DR                                                                              GOWEN             MI   49326‐9513
MILLER, RAYMOND P       SO 2401 THREE ROD ROAD                                                                           EAST AURORA       NY   14052
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Name                    Address1                        Address2                 Address3      Address4         City               State Zip
MILLER, RAYMOND R       17205 ROAD J                                                                            OTTAWA              OH 45875‐9440
MILLER, RAYMOND T       10350 OAKHILL RD                                                                        HOLLY               MI 48442‐8856
MILLER, REBECCA         18424 VAUGHAN ST                                                                        DETROIT             MI 48219‐3438
MILLER, REBECCA A       37 WESTMORE DRIVE                                                                       LONDON              OH 43140
MILLER, REBECCA L       11535 KINGS KNIGHT CIR                                                                  GRAND BLANC         MI 48439‐8621
MILLER, REBECCA P       439 NORTHDALE RD                                                                        LAWRENCEVILLE       GA 30045‐4529
MILLER, REBECCA R       2330 CLEVELAND ST                                                                       PARIS               TX 75460
MILLER, REED            7476 FOARD RD                                                                           BEAUMONT            TX 77705‐7401
MILLER, REED T          ROUTE 1 BOX 1031A                                                                       GAINESVILLE         GA 30506
MILLER, REGINA F        2265 CORONADO AVE                                                                       YOUNGSTOWN          OH 44504‐1308
MILLER, REGINA G        463 BRANDERMILL RD                                                                      FAYETTEVILLE        NC 28314
MILLER, REGINALD        18825 LINCOLN DR                                                                        SOUTHFIELD          MI 48076
MILLER, REGINALD J      4488 ASH ST                                                                             INKSTER             MI 48141‐2938
MILLER, RENA C          15224 W WINDS DR                                                                        NORTHPORT           AL 35475‐3341
MILLER, RENA D          28730 FAIRFAX ST                                                                        SOUTHFIELD          MI 48076‐3032
MILLER, RENEE E         PO BOX 81                                                                               PAEONIAN SPRINGS    VA 20129‐0081
MILLER, RENEE M         18100 MAPLE HILL CT                                                                     NORTHVILLE          MI 48168‐3256
MILLER, RENEE'          853 JUNIPER DR                                                                          WATERLOO             IA 50702‐4630
MILLER, RENEE' M        2226 STEWART RD                                                                         XENIA               OH 45385‐8934
MILLER, RENNIE          11172 COUNTY RD 29                                                                      ALBERTA             AL 36720‐3207
MILLER, RENNIE          11172 COUNTY ROAD 29                                                                    ALBERTA             AL 36720‐3207
MILLER, RETHA M         5316 OAKCREST AVE                                                                       YOUNGSTOWN          OH 44515‐4044
MILLER, REVA M          633 RIDGEWOOD AVE                                                                       LANSING             MI 48910‐4651
MILLER, REX D           4681 KON TIKI LN                                                                        BONITA SPGS         FL 34134‐7137
MILLER, REX L           PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                  PHILADELPHIA        PA 19103‐5446
MILLER, RHONDA          518 PARK ST                                                                             BOWLING GREEN       KY 42101‐1766
MILLER, RHONDA R        2736 TUMBLEWEED DR                                                                      KOKOMO              IN 46901‐4022
MILLER, RHONDA S        518 PARK ST                                                                             BOWLING GREEN       KY 42101
MILLER, RICHARD         5228 BLACK STONE CIR                                                                    BILLINGS            MT 59106‐2303
MILLER, RICHARD         15754 INDIAN CREEK TRL                                                                  RIVERSIDE           CA 92506‐5783
MILLER, RICHARD         203 BLENHEIM RD                                                                         COLUMBUS            OH 43214‐3217
MILLER, RICHARD A       3925 WILLSHIRE ESTATES DR D                                                             FORT WAYNE          IN 46815
MILLER, RICHARD A       5354 VAN NUYS BLVD #397                                                                 SHERMAN OAKS        CA 91401
MILLER, RICHARD A       7228 RIDGE RD                                                                           LOCKPORT            NY 14094‐9424
MILLER, RICHARD A       27250 SYLVAN AVE                                                                        WARREN              MI 48093‐4416
MILLER, RICHARD A       4114 LASER RD                                                                           SHELBY              OH 44875‐9317
MILLER, RICHARD A       302 DC LAKESIDE WAY                                                                     DEERFIELD BEACH     FL 33442
MILLER, RICHARD B       355 OAK TREE DR                                                                         GLENDORA            CA 91741‐3060
MILLER, RICHARD C       702 STOVER AVE                                                                          INDIANAPOLIS        IN 46227‐1557
MILLER, RICHARD C       23766 GLENWOOD ST                                                                       CLINTON TWP         MI 48035‐2944
MILLER, RICHARD C       10779 BOND RD                                                                           DEWITT              MI 48820‐8446
MILLER, RICHARD C       6800 OAKWOOD RD                                                                         PARMA HEIGHTS       OH 44130‐3735
MILLER, RICHARD D       49413 BURSLEY RD                                                                        WELLINGTON          OH 44090‐9250
MILLER, RICHARD D       8391 E COURT ST                                                                         DAVISON             MI 48423‐3396
MILLER, RICHARD D       6173 N MCKINLEY RD                                                                      FLUSHING            MI 48433‐2901
MILLER, RICHARD D       2276 MT ROYAL                                                                           WATERFORD           MI 48329
MILLER, RICHARD DUANE   8391 E COURT ST                                                                         DAVISON             MI 48423‐3396
MILLER, RICHARD E       27959 WATSON RD                                                                         DEFIANCE            OH 43512‐8850
MILLER, RICHARD E       411 W MAIN ST APT 1                                                                     GRAND LEDGE         MI 48837‐1062
MILLER, RICHARD E       226 N 2ND ST                                                                            GREENFIELD          OH 45123‐1304
MILLER, RICHARD E       6426 CENTENNIAL DR                                                                      TEMPERANCE          MI 48182‐1122
MILLER, RICHARD E       1342 N MAIN ST BOX 276                                                                  HAMPSTEAD           MD 21074
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Name                    Address1                        Address2             Address3         Address4         City             State Zip
MILLER, RICHARD F       2214 DIETZ RD                                                                          WILLIAMSTON       MI 48895‐9525
MILLER, RICHARD G       8580 W HIBBARD RD                                                                      OVID              MI 48866‐9503
MILLER, RICHARD G       1686 DEEPWOOD CIR                                                                      ROCHESTER         MI 48307‐6097
MILLER, RICHARD H       746 CREST ST                                                                           MOUNT CLEMENS     MI 48043‐6414
MILLER, RICHARD H       3675 E SANILAC RD                                                                      CARSONVILLE       MI 48419‐9108
MILLER, RICHARD I       25 PINE ST                                                                             WAYLAND           NY 14572‐1043
MILLER, RICHARD J       19 CEDAR AVE                                                                           RIVERSIDE          RI 02915‐4407
MILLER, RICHARD J       10257 LANGLEY DR                CEDAR BEACH RESORT                                     PINCKNEY          MI 48169‐9352
MILLER, RICHARD J       BILLMAN RD 425 HUNTING PTY CT                                                          ROSCOMMON         MI 48653
MILLER, RICHARD J       1714 US HIGHWAY 47 W                                                                   TROY              MO 63379‐2278
MILLER, RICHARD J       3745 E MARKET ST                                                                       WARREN            OH 44484
MILLER, RICHARD J       20950 NORWOOD DR                                                                       HARPER WOODS      MI 48225‐1729
MILLER, RICHARD K       2348 PINEVIEW CT                                                                       FLUSHING          MI 48433‐2540
MILLER, RICHARD L       2040 W MAIN ST 210 ‐ 1557                                                              RAPID CITY        SD 57702
MILLER, RICHARD L       PO BOX 520                                                                             GALVESTON         IN 46932‐0520
MILLER, RICHARD L       6386 W FRANCES RD                                                                      CLIO              MI 48420‐8549
MILLER, RICHARD L       1805 WALTONS STORE ROAD                                                                LOUISA            VA 23093‐2338
MILLER, RICHARD L       645 VALKYRIE ST                                                                        GWINN             MI 49841
MILLER, RICHARD L       3021 E STATE ROAD 28                                                                   FRANKFORT         IN 46041‐9468
MILLER, RICHARD L       2415 SAINT CHARLES AVE                                                                 DAYTON            OH 45410‐2718
MILLER, RICHARD L       107 AUTUMN LANE                                                                        ROSCOMMON         MI 48653‐8149
MILLER, RICHARD L       714 SPOKANE AVE                                                                        LANSING           MI 48910‐5664
MILLER, RICHARD L       PO BOX 4513                                                                            SHERWOOD          OH 43556‐0513
MILLER, RICHARD L       PO BOX 312                                                                             DAVISON           MI 48423‐0312
MILLER, RICHARD L       3636 FORDWAY DR.                                                                       LAMBERT           MI 48144‐9773
MILLER, RICHARD L       2415 ST. CHARLES AVE.                                                                  DAYTON            OH 45410‐2718
MILLER, RICHARD L       2389 E RIDGE RD APT 126                                                                ROCHESTER         NY 14622‐2737
MILLER, RICHARD LEE     PO BOX 4513                                                                            SHERWOOD          OH 43556‐0513
MILLER, RICHARD LEROY   PO BOX 312                                                                             DAVISON           MI 48423‐0312
MILLER, RICHARD LM L    1065 W MOUNT HOPE HWY                                                                  CHARLOTTE         MI 48813‐8631
MILLER, RICHARD M       4132 MELLEN DR                                                                         ANDERSON          IN 46013‐5047
MILLER, RICHARD M       1612 N PONCA DR                                                                        INDEPENDENCE      MO 64058‐1032
MILLER, RICHARD O       16 BLOSSOM ST                                                                          HUDSON            MA 01749‐1792
MILLER, RICHARD P       1549 STONEHAVEN DR                                                                     HOLT              MI 48842‐1994
MILLER, RICHARD P       9022 N LINDEN RD                                                                       CLIO              MI 48420‐8582
MILLER, RICHARD P       15 SOUTHARD LN                                                                         DAYTON            OH 45449‐1772
MILLER, RICHARD P       2629 STATE ROAD 37                                                                     MITCHELL          IN 47446‐6018
MILLER, RICHARD P       2495 WEIR RD NE                                                                        WARREN            OH 44483‐2515
MILLER, RICHARD PAUL    2629 STATE ROAD 37                                                                     MITCHELL          IN 47446‐6018
MILLER, RICHARD R       PO BOX 357                                                                             LEWISTON          MI 49756‐0357
MILLER, RICHARD R       7516 E CLAY ST                                                                         WICHITA           KS 67207‐2235
MILLER, RICHARD S       130 N ARTIZAN ST                                                                       WILLIAMSPORT      MD 21795‐1104
MILLER, RICHARD S       12475 S 145 W                                                                          CLINTON           IN 47842‐7448
MILLER, RICHARD T       41 CROSSTRAILS                                                                         WINCHESTER        TN 37398‐4588
MILLER, RICHARD T       5024 S NORFLEET RD                                                                     INDEPENDENCE      MO 64055‐5669
MILLER, RICHARD W       2728 CHIPPERFIELD RD                                                                   LAWRENCE          KS 66047‐3180
MILLER, RICHARD W       1191 MCKIMMY DR                                                                        BEAVERTON         MI 48612‐8620
MILLER, RICHARD W       311 ANNA RUBY COURT                                                                    GRIFFIN           GA 30223‐5896
MILLER, RICHARD W       2351 SAFFRON CT                                                                        TROY              MI 48085‐6715
MILLER, RICHARD W       258 DARLINGTON RD                                                                      HAVRE DE GRACE    MD 21078‐1105
MILLER, RICHARD W       3801 VILLAGE VIEW               APT 1304                                               GAINESVILLE       GA 30506
MILLER, RICK A          16318 BISHOP RD                                                                        CHESANING         MI 48616‐9751
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Name                 Address1                          Address2                       Address3                   Address4         City              State Zip
MILLER, RICK A       4040 N COON ISLAND RD                                                                                        EVANSVILLE         WI 53536‐8600
MILLER, RICK ALLEN   16318 BISHOP RD                                                                                              CHESANING          MI 48616‐9751
MILLER, RICK W       8366 AMSELL CT                                                                                               CITRUS HEIGHTS     CA 95610‐3302
MILLER, RICKIE L     1901 BRENTRIDGE CIRCLE                                                                                       ANTIOCH            TN 37013‐3788
MILLER, RICKY J      56634 M #43                                                                                                  BANGOR             MI 49013
MILLER, RICKY L      9232 HENDERSON RD                                                                                            OTISVILLE          MI 48463‐9743
MILLER, RITA         614 JEFFERSON ST                                                                                             MIAMISBURG         OH 45342‐3328
MILLER, RITA         200 DOMINICAN DRIVE               APT 1301                                                                   MADISON            MS 39110
MILLER, RITA A       3016 N 84TH TER                                                                                              KANSAS CITY        KS 66109‐1435
MILLER, RITA D       1997 INDIAN RD                                                                                               LAPEER             MI 48446‐8048
MILLER, RITA K       4850 S 7 MILE RD                                                                                             WHEELER            MI 48662‐9617
MILLER, RITA L       781 RAVEN DR                                                                                                 FT WORTH           TX 76131‐4883
MILLER, RITA L       104 MORNING VIEW CT                                                                                          GOODLETTSVILLE     TN 37072‐9604
MILLER, RITA M       35 NORMANDY HEIGHTS RD                                                                                       MORRISTOWN         NJ 07960‐4614
MILLER, ROBERT       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                               NORTHFIELD         OH 44067
                                                       PROFESSIONAL BLDG
MILLER, ROBERT       598 CHARLES PINCKNEY ST                                                                                      ORANGE PARK       FL   32073‐8750
MILLER, ROBERT       829 NUTWOOD ST                                                                                               BOWLING GREEN     KY   42103‐4927
MILLER, ROBERT       800RED MILLS RD.                                                                                             WALLKILL          NY   12589
MILLER, ROBERT       37022 LAKOTA CT                                                                                              ZEPHYRHILLS       FL   33542‐7008
MILLER, ROBERT A     10407 SANDPIPER RD W                                                                                         BRADENTON         FL   34209‐3007
MILLER, ROBERT A     295 15 MILE RD NW                                                                                            SPARTA            MI   49345‐8591
MILLER, ROBERT A     2750 VAUGHN BRIDGE RD                                                                                        HARTSELLE         AL   35640‐7837
MILLER, ROBERT A     G4124 W CARPENTER RD                                                                                         FLINT             MI   48504
MILLER, ROBERT A     900 INDIANA AVE                                                                                              MC DONALD         OH   44437‐1705
MILLER, ROBERT A     310 S HURON ST                                                                                               YPSILANTI         MI   48197‐8403
MILLER, ROBERT A     912 S JEFFERSON ST                                                                                           BAY CITY          MI   48708‐4704
MILLER, ROBERT A     1182 FOREST BAY DR                                                                                           WATERFORD         MI   48328‐4287
MILLER, ROBERT A     208 SCENIC DRIVE                                                                                             OAK RIDGE         TN   37830‐4213
MILLER, ROBERT A     1440 S WOODRUFF AVE                                                                                          IDAHO FALLS       ID   83404‐5542
MILLER, ROBERT A     GLASSER AND GLASSER               CROWN CENTER                   580 EAST MAIN STREET STE                    NORFOLK           VA   23510‐2212
                                                                                      600
MILLER, ROBERT A     822 FLAT ROCK RD                                                                                             BELLEVUE          OH   44811‐9410
MILLER, ROBERT A     2133 N LYNHURST DR                                                                                           SPEEDWAY          IN   46224‐5004
MILLER, ROBERT A     PO BOX 404                                                                                                   BELLE             MO   65013‐0404
MILLER, ROBERT A     2268 BERRYCREEK DR                                                                                           DAYTON            OH   45440‐2621
MILLER, ROBERT B     21326 CACHET DR                                                                                              MACOMB            MI   48044‐3648
MILLER, ROBERT B     536 WESTERNMILL DR                                                                                           CHESTERFIELD      MO   63017‐2737
MILLER, ROBERT B     5621 VICTORY CIR #57                                                                                         STERLING HTS      MI   48310‐7704
MILLER, ROBERT C     PO BOX 247                                                                                                   MILFORD           NJ   08848‐0247
MILLER, ROBERT C     3855 CASSTOWN SIDNEY RD                                                                                      TROY              OH   45373‐7720
MILLER, ROBERT C     6638 PINE RIDGE AVE                                                                                          ENON              OH   45323‐1742
MILLER, ROBERT C     823 DREXEL BLVD                                                                                              SOUTH MILWAUKEE   WI   53172‐3226
MILLER, ROBERT C     5180 N COOLIDGE AVE                                                                                          HARRISON          MI   48625
MILLER, ROBERT C     915 E 29TH ST                                                                                                MARION            IN   46953‐3744
MILLER, ROBERT C     9 CHASE ST                                                                                                   MASSENA           NY   13662‐1320
MILLER, ROBERT C     1607 CRANBROOK DR                                                                                            SAGINAW           MI   48638
MILLER, ROBERT C     3399 QUICK RD                                                                                                HOLLY             MI   48442‐1060
MILLER, ROBERT C     3855 N CASSTOWN SIDNEY RD                                                                                    TROY              OH   45373‐7720
MILLER, ROBERT C     408 RICES CREEK RD                                                                                           LIBERTY           SC   29657‐9256
MILLER, ROBERT D     36 N WILMETTE AVE                                                                                            WESTMONT          IL   60559‐1729
MILLER, ROBERT D     986‐A HENLEY DEEMER RD                                                                                       MC DERMOTT        OH   45652‐9065
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Name                 Address1                          Address2                Address3                   Address4         City               State Zip
MILLER, ROBERT D     139 S WALNUT                                                                                          WESTVILLE            IL 61883
MILLER, ROBERT D     12119 W 460 N                                                                                         PARKER CITY         IN 47368‐9282
MILLER, ROBERT D     17547 TWIN HILLS RD                                                                                   DANVILLE             IL 61834‐7932
MILLER, ROBERT D     5678 MCKINLEY CT                                                                                      DEARBORN HEIGHTS    MI 48125‐2581
MILLER, ROBERT D     6102 WOODSON RD                                                                                       RAYTOWN             MO 64133‐4477
MILLER, ROBERT D     7623 W US HIGHWAY 62                                                                                  MALDEN              MO 63863‐9106
MILLER, ROBERT D     4205 PENDLEY CT                                                                                       OWENSBORO           KY 42303‐1825
MILLER, ROBERT D     24811 FOXMOOR BLVD                                                                                    WOODHAVEN           MI 48183
MILLER, ROBERT D     986A HENLEY DEEMER RD                                                                                 MC DERMOTT          OH 45652‐9065
MILLER, ROBERT D     4316 PUEBLO TRL                                                                                       JAMESTOWN           OH 45335
MILLER, ROBERT E     5241 DIETRICH AVE                                                                                     ORIENT              OH 43146‐9073
MILLER, ROBERT E     1151 ROODS LAKE RD                                                                                    LAPEER              MI 48446‐8366
MILLER, ROBERT E     10094 E MAPLE AVE                                                                                     DAVISON             MI 48423‐8636
MILLER, ROBERT E     510 SOUTH ST                      APT B                                                               LOCKPORT            NY 14094‐3982
MILLER, ROBERT E     260 AVENUE C                                                                                          BAYONNE             NJ 07002‐2549
MILLER, ROBERT E     32010 PENDLEY RD                                                                                      WILLOWICK           OH 44095‐3872
MILLER, ROBERT E     510 S ST                                                                                              LOCKPORT            NY 14094
MILLER, ROBERT E     2751 ASPEN DR                                                                                         GIRARD              OH 44420‐4420
MILLER, ROBERT E     209 CHERRY ST                                                                                         NILES               OH 44446‐2553
MILLER, ROBERT E     702 S PONCA AVE                                                                                       NORMAN              OK 73071‐5034
MILLER, ROBERT E     209 CHERRY AVE                                                                                        NILES               OH 44446‐2553
MILLER, ROBERT E     118 MCLEAN ST                                                                                         RED BANK            NJ 07701‐5634
MILLER, ROBERT E     3658 W 1000 N ‐90                                                                                     MARKLE              IN 46770
MILLER, ROBERT E G   702 S PONCA AVE                                                                                       NORMAN              OK 73071‐5034
MILLER, ROBERT F     313 GROVETHORN RD                                                                                     MIDDLE RIVER        MD 21220‐4826
MILLER, ROBERT F     4522 MARTIN RD                                                                                        WARREN              MI 48092‐4106
MILLER, ROBERT F     2490 ALLEN RD                                                                                         ORTONVILLE          MI 48462‐8432
MILLER, ROBERT F     10016 BIDDULPH ROAD                                                                                   CLEVELAND           OH 44144‐3025
MILLER, ROBERT F     3201 SUSAN DR                                                                                         KOKOMO              IN 46902‐7506
MILLER, ROBERT F     3414 LAFITTES CV                                                                                      FLOYDS KNOBS        IN 47119‐9759
MILLER, ROBERT F     GLASSER AND GLASSER               CROWN CENTER            580 EAST MAIN STREET STE                    NORFOLK             VA 23510‐2212
                                                                               600
MILLER, ROBERT F     1058 YANKEE RUN RD                                                                                    MASURY             OH   44438‐9759
MILLER, ROBERT F     1570 LOMOND LN                                                                                        ROCHESTER HILLS    MI   48309‐1805
MILLER, ROBERT F     2845 CUSTER ORANGEVILLE RD N.E.                                                                       BURGHILL           OH   44404‐4404
MILLER, ROBERT G     ROUTE =2 BOX 103                                                                                      KOSHKONONG         MO   65692‐9509
MILLER, ROBERT G     101 SHELLEY DR.                                                                                       WINTERHAVEN        FL   33884‐3884
MILLER, ROBERT G     PO BOX 416                                                                                            RAVENNA            OH   44266‐0416
MILLER, ROBERT G     101 SHELLEY DR                                                                                        WINTER HAVEN       FL   33884‐2366
MILLER, ROBERT G     16398 SHETLAND LN                                                                                     WARRENTON          MO   63383‐7665
MILLER, ROBERT G     10172 BARON BLVD                                                                                      DIMONDALE          MI   48821‐9545
MILLER, ROBERT G     1431 HEATHER CT                                                                                       SPARKS             NV   89434‐2615
MILLER, ROBERT G     RR 2 BOX 103                                                                                          KOSHKONONG         MO   65692‐9509
MILLER, ROBERT G     3814 RIVERVIEW TRR S                                                                                  EAST CHINA         MI   48054
MILLER, ROBERT G     14452 MONTLE RD                                                                                       CLIO               MI   48420‐7928
MILLER, ROBERT H     6946 LEE RD                                                                                           CANANDAIGUA        NY   14424‐9325
MILLER, ROBERT H     23048 VASSAR AVE                                                                                      HAZEL PARK         MI   48030‐2708
MILLER, ROBERT H     634 BIRCHWOOD DR                                                                                      LOCKPORT           NY   14094‐9165
MILLER, ROBERT I     110 E CENTER ST. # 463                                                                                MADISON            SD   57042
MILLER, ROBERT I     110 EAST CENTER STREET                                                                                MADISON            SD   57042‐2908
MILLER, ROBERT J     972 SW HUNT CLUB CIR                                                                                  PALM CITY          FL   34990‐2031
MILLER, ROBERT J     211 N CHURCH ST BOX 344                                                                               BYRON              MI   48418
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MILLER, ROBERT J         9200 RIDGE HWY                                                                            BRITTON          MI 49229‐9590
MILLER, ROBERT J         RR 1 BOX 20B                                                                              PADEN            OK 74860
MILLER, ROBERT J         4758 MILLIKIN RD                                                                          LIBERTY TWP      OH 45011‐2390
MILLER, ROBERT J         920 5TH AVENUE SOUTH                                                                      ESCANABA         MI 49829‐3613
MILLER, ROBERT J         PO BOX 1168                                                                               GULF BREEZE      FL 32562‐1168
MILLER, ROBERT J         7300 E RONRICK PL                                                                         FRANKENMUTH      MI 48734‐9103
MILLER, ROBERT J         3245 SHANNON RD                                                                           BURTON           MI 48529‐1834
MILLER, ROBERT J         5344 PERCY AVE                                                                            KALAMAZOO        MI 49048‐1153
MILLER, ROBERT J         515 W HURON AVE                                                                           VASSAR           MI 48768
MILLER, ROBERT J         53767 JOE WOOD DR                                                                         MACOMB           MI 48042‐2887
MILLER, ROBERT J         8426 CRANBROOK DR                                                                         GRAND BLANC      MI 48439‐7455
MILLER, ROBERT J         223 ZIMMERMAN ST                                                                          NEW CARLISLE     OH 45344‐1514
MILLER, ROBERT J         600 TYSON AVENUE                                                                          PARIS            TN 38242
MILLER, ROBERT J         8884 MICHAELA LANE                                                                        WAYNESVILLE      OH 45068‐8341
MILLER, ROBERT J         499 MCDONALD DR                                                                           HOUGHTON LAKE    MI 48629
MILLER, ROBERT JAMES     9200 RIDGE HWY                                                                            BRITTON          MI 49229‐9590
MILLER, ROBERT JOHN      8426 CRANBROOK DR                                                                         GRAND BLANC      MI 48439‐7455
MILLER, ROBERT K         5405 COOK RD                                                                              SWARTZ CREEK     MI 48473‐9183
MILLER, ROBERT L         23800 WILMOT AVE                                                                          EASTPOINTE       MI 48021‐4607
MILLER, ROBERT L         923 LINSDALE RD                                                                           DELANO           TN 37325‐7635
MILLER, ROBERT L         4648 CASABLANCA DR                                                                        JACKSON          MS 39206
MILLER, ROBERT L
MILLER, ROBERT L         6899 EVERGREEN CIR                                                                        HUBER HEIGHTS   OH   45424‐3992
MILLER, ROBERT L         2722 BURWELL DR                                                                           TOLEDO          OH   43609‐1548
MILLER, ROBERT L         5706 EDEN VILLAGE DR                                                                      INDIANAPOLIS    IN   46254‐5191
MILLER, ROBERT L         5927 STATE ROUTE 123                                                                      FRANKLIN        OH   45005‐4633
MILLER, ROBERT L         3411 S SCOTT RD RT 5                                                                      SAINT JOHNS     MI   48879
MILLER, ROBERT L         6029 WALNUT ST                                                                            KINGSTON        MI   48741‐5108
MILLER, ROBERT L         2517 SWAYZE ST                                                                            FLINT           MI   48503‐3352
MILLER, ROBERT L         970 CASS                                                                                  BAY CITY        MI   48708
MILLER, ROBERT L         4360 DORNOCH PL                                                                           MYRTLE BEACH    SC   29579‐6827
MILLER, ROBERT L         3930 E COUNTY ROAD 650 S                                                                  MUNCIE          IN   47302‐8729
MILLER, ROBERT L         4209 MOUNDS RD                                                                            ANDERSON        IN   46017‐1836
MILLER, ROBERT L         82 CROSS CREEK LOOP APT 134                                                               SOMERVILLE      AL   35670
MILLER, ROBERT L         2913 TEPEE AVE APT C                                                                      INDEPENDENCE    MO   64057‐1662
MILLER, ROBERT L         804 WARRIOR RIDGE CT                                                                      WARRENTON       MO   63383‐2357
MILLER, ROBERT L         2208 S ARCH ST                                                                            JANESVILLE      WI   53546‐5956
MILLER, ROBERT L         2516 HACKNEY DR                                                                           KETTERING       OH   45420‐1060
MILLER, ROBERT L         15 HILLCOVE DR                                                                            LAFAYETTE       TN   37083
MILLER, ROBERT LEE       GUY WILLIAM S                   PO BOX 509                                                MCCOMB          MS   39649‐0509
MILLER, ROBERT M         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                         STREET, SUITE 600
MILLER, ROBERT M         3513 STIMSON RD                                                                           NORTON          OH 44203‐6439
MILLER, ROBERT MICHAEL
MILLER, ROBERT N         6060 RED DAY RD                                                                           MARTINSVILLE    IN   46151‐8861
MILLER, ROBERT N         PO BOX 192                                                                                DIAMOND         OH   44412‐0192
MILLER, ROBERT P         5259 WADE ST SE                                                                           CALEDONIA       MI   49316‐8980
MILLER, ROBERT R         PO BOX 145                                                                                MIDDLE POINT    OH   45863‐0145
MILLER, ROBERT R         206 JEFFREY AVE                                                                           ROYAL OAK       MI   48073‐2581
MILLER, ROBERT R         300 SHEEP RD                                                                              NEW LEBANON     OH   45345‐9218
MILLER, ROBERT S         95 NORWOOD DR                                                                             WEST SENECA     NY   14224‐3005
MILLER, ROBERT S         485 REDBUD LN                                                                             ZIONSVILLE      IN   46077‐9488
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Name                     Address1                      Address2                     Address3   Address4         City               State Zip
MILLER, ROBERT S         4414 HUCKLEBERRY LN                                                                    FLINT               MI 48507‐2333
MILLER, ROBERT STEWART   4414 HUCKLEBERRY LN                                                                    FLINT               MI 48507‐2333
MILLER, ROBERT T         2773 W DEXTER DR                                                                       SAGINAW             MI 48603‐3277
MILLER, ROBERT T         6472 CREST DR                                                                          MIDDLETOWN          OH 45042‐8948
MILLER, ROBERT T         15 WHISPERWOOD CT                                                                      BROWNSBURG          IN 46112‐1755
MILLER, ROBERT T         6472 CREST DRIVE                                                                       MIDDLETOWN          OH 45042‐8948
MILLER, ROBERT VERNON    BARON & BUDD                  THE CENTRUM, 3102 OAK LAWN                               DALLAS              TX 75219
                                                       AVE, STE 1100
MILLER, ROBERT W         APT 6V                        10460 QUEENS BOULEVARD                                   FOREST HILLS       NY   11375‐7333
MILLER, ROBERT W         10135 W STATE ROAD 42                                                                  STILESVILLE        IN   46180‐9681
MILLER, ROBERT W         7 SCANTIC DR                                                                           EAST LONGMEADOW    MA   01028‐3042
MILLER, ROBERT W         PHILLIPS REBECCA K            PO BOX 357                                               GRAYSON            KY   41143‐0357
MILLER, ROBERT W         480 REED CT                                                                            GOLETA             CA   93117‐2905
MILLER, ROBERT W         2773 CEDAR LN                                                                          BAY CITY           MI   48706‐2610
MILLER, ROBERT W         82 PARLIAMENT LN                                                                       FLINT              MI   48507‐5929
MILLER, ROBERT W         702 GROVE ST                                                                           JANESVILLE         WI   53545‐4923
MILLER, ROBERTA J        3132 N WRIGHT RD                                                                       JANESVILLE         WI   53546‐4215
MILLER, ROBERTA S        1251 N GRANGE RD                                                                       FOWLER             MI   48835‐9276
MILLER, ROBIN            1303 25TH ST                                                                           BEDFORD            IN   47421‐5021
MILLER, ROBIN K          128 E LAKEVIEW AVE                                                                     FLINT              MI   48503‐4153
MILLER, ROBIN R          1314 ROLLINS ST                                                                        GRAND BLANC        MI   48439‐5120
MILLER, ROBIN S          5006 E CENTERLINE RD                                                                   SAINT JOHNS        MI   48879‐9155
MILLER, ROBIN S          4900 RIDGEWOOD RD. WEST,                                                               SPRINGFIELD        OH   45503‐5503
MILLER, ROCKNE L         1303 W NORTHRUP ST                                                                     LANSING            MI   48911‐3648
MILLER, RODERICK         LANIER & WILSON L.L.P.        1331 LAMAR, SUITE 675                                    HOUSTON            TX   77010
MILLER, RODGER E         15 BEECH CT                                                                            GREENWOOD          IN   46142‐7402
MILLER, RODGER L         1030 TORRENCE DR                                                                       WELLSVILLE         OH   43968‐1845
MILLER, RODNEY A         9502 N PINE RD                                                                         MILTON             WI   53563‐9252
MILLER, RODNEY D         220 WASHINGTON ST                                                                      HAMLER             OH   43524
MILLER, RODNEY R         211 COMPETITION RD                                                                     RALEIGH            NC   27603‐1966
MILLER, RODNEY S         7675 R.D. #87                                                                          PAULDING           OH   45879
MILLER, RODNEY S.        7675 R.D. #87                                                                          PAULDING           OH   45879
MILLER, ROGER            8207 TRAVIS CT                                                                         FRANKLIN           OH   45005‐4035
MILLER, ROGER A          303 S AUBURN RD                                                                        AUBURN             MI   48611‐9301
MILLER, ROGER D          106 MILLER DR                                                                          HOUGHTON LAKE      MI   48629‐9365
MILLER, ROGER D          10985 REED RD                                                                          COLUMBIA STATION   OH   44028‐9158
MILLER, ROGER D          5561 RIDGE RD                                                                          LOCKPORT           NY   14094‐9442
MILLER, ROGER D          1033 WOODGLEN AVE                                                                      NEWTON FALLS       OH   44444‐9706
MILLER, ROGER G          525 DREAM ST                                                                           ANDERSON           IN   46013‐1162
MILLER, ROGER I          12521 E US HIGHWAY 23                                                                  CHEBOYGAN          MI   49721‐8964
MILLER, ROGER K          5515 GLEN COURT                                                                        FRANKLIN           OH   45005‐4172
MILLER, ROGER L          7139 HISTORY CT                                                                        INDIANAPOLIS       IN   46239‐7742
MILLER, ROGER L          2225 PEPPERMILL CT                                                                     HARTLAND           MI   48353‐3146
MILLER, ROGER L          1717 YALLUP RD                                                                         SAINT JOHNS        MI   48879‐8225
MILLER, ROGER L          LEE WILLIAM L JR              PO BOX 14047                                             JACKSON            MS   39236‐4047
MILLER, ROGER R          2435 DEXTER RD                                                                         AUBURN HILLS       MI   48326‐2311
MILLER, ROGER W          7744 WILSON RD                                                                         EATON RAPIDS       MI   48827‐9577
MILLER, ROGER W          1064 KENSINGTON AVE                                                                    BUFFALO            NY   14215‐2734
MILLER, ROGER W          35 STARR DR                                                                            TROY               MI   48083‐1647
MILLER, ROGER W          10675 S JEROME RD                                                                      PERRINTON          MI   48871‐9769
MILLER, ROLAND A         2433 W NAUTILUS RD                                                                     AVON PARK          FL   33825‐8452
MILLER, ROLAND E         7760 MOUNT MORIAH RD                                                                   NINEVEH            IN   46164‐9474
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Name                   Address1                         Address2                      Address3   Address4         City             State Zip
MILLER, ROLAND H       100 COTSWOLD CT                                                                            LANSING           MI 48906‐1500
MILLER, ROMAN M        406 LORWOOD DR W                                                                           SHELBY            OH 44875‐1717
MILLER, RONALD         1541 JACOBS RD                                                                             COLUMBIA          TN 38401‐1358
MILLER, RONALD         12 STATE ST                                                                                NORWALK           OH 44857‐1430
MILLER, RONALD
MILLER, RONALD A       37298 INGLESIDE ST                                                                         CLINTON TWP      MI   48036‐2615
MILLER, RONALD A       1129 126TH AVENUE                                                                          SHELBYVILLE      MI   49344‐9521
MILLER, RONALD A       4668 ASHWOOD DR W                                                                          SAGINAW          MI   48603‐1064
MILLER, RONALD A       30037 TAYLOR ST                                                                            ST CLAIR SHRS    MI   48082‐2648
MILLER, RONALD A       28711 WAVERLY ST                                                                           ROSEVILLE        MI   48066‐2446
MILLER, RONALD A       5335 ANN DR                                                                                BATH             MI   48808‐9742
MILLER, RONALD A       5408 REMINGTON PARK DR                                                                     FLOWER MOUND     TX   75028‐3168
MILLER, RONALD C       22041 CASTELLE ST                                                                          ROMULUS          MI   48174‐9517
MILLER, RONALD C       1220 LAVALLE CT                                                                            SAINT JOHNS      MI   48879‐2497
MILLER, RONALD D       3000 SLATER RD                                                                             SALEM            OH   44460‐8918
MILLER, RONALD D       33 FRENCH LEA RD                                                                           WEST SENECA      NY   14224‐1609
MILLER, RONALD D       4890 PINE EAGLES CT                                                                        BRIGHTON         MI   48116‐9763
MILLER, RONALD D       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                        STREET, SUITE 600
MILLER, RONALD DALE    733 SUNSET LN                                                                              FORTVILLE        IN   46040‐1159
MILLER, RONALD DAVID   33 FRENCH LEA RD                                                                           WEST SENECA      NY   14224‐1609
MILLER, RONALD E       4700 S BAILEY RD                                                                           NORTH JACKSON    OH   44451‐9732
MILLER, RONALD E       RR 2 BOX 2607                                                                              PIEDMONT         MO   63957‐9628
MILLER, RONALD E       5611 MADRID DR                                                                             AUSTINTOWN       OH   44515‐4137
MILLER, RONALD E       10237 MOTTOWN RD                                                                           DEERFIELD        OH   44411‐9752
MILLER, RONALD E       310 JULIAN AVE                                                                             LANSING          MI   48917‐2712
MILLER, RONALD E       4550 285TH ST                                                                              TOLEDO           OH   43611‐1951
MILLER, RONALD E       4995 VIA COLINAS DR                                                                        FORT MOHAVE      AZ   86426‐8330
MILLER, RONALD F       9570 SW 7TH CT                                                                             PEMBROKE PINES   FL   33025‐1124
MILLER, RONALD G       3683 FRANDOR PL                                                                            SAGINAW          MI   48603‐7233
MILLER, RONALD G       3384 NORWAY LAKE RD                                                                        COLUMBIAVILLE    MI   48421‐9781
MILLER, RONALD G       14829 MURTHUM AVE                                                                          WARREN           MI   48088‐1508
MILLER, RONALD G       1608 HUMPHREY AVE                                                                          DAYTON           OH   45410‐3309
MILLER, RONALD G       1518 HIGH ST                                                                               CHARLOTTE        NC   28211‐1700
MILLER, RONALD J       15151 AMBER CT                                                                             PLYMOUTH         MI   48170‐2701
MILLER, RONALD J       11526 PORTAGE RD                                                                           MEDINA           NY   14103‐9601
MILLER, RONALD J       709 BRIGHTON AVE                                                                           TOLEDO           OH   43609‐2935
MILLER, RONALD J       11018 LOVELAND ST                                                                          LIVONIA          MI   48150‐2788
MILLER, RONALD K       10200 W BETHEL AVE                                                                         GASTON           IN   47342‐9781
MILLER, RONALD L       UNIT 1501                        1620 KERI DRIVE SOUTHWEST                                 WARREN           OH   44485‐5811
MILLER, RONALD L       805 FRANK ST                                                                               BAY CITY         MI   48706‐5504
MILLER, RONALD L       2006 OTTAWA ST                                                                             SAGINAW          MI   48602‐2745
MILLER, RONALD L       4218 EMILY CT                                                                              HOWELL           MI   48843‐5423
MILLER, RONALD L       4186 CULVER ST                                                                             DEARBORN HTS     MI   48125‐3343
MILLER, RONALD L       9274 MONICA DR                                                                             DAVISON          MI   48423‐2863
MILLER, RONALD L       2326 W STATE ROUTE 571                                                                     TIPP CITY        OH   45371‐9115
MILLER, RONALD L       2594 CHEYENNE PL                                                                           SAGINAW          MI   48603‐2912
MILLER, RONALD L       1620 KERI DRIVE SW               UNIT 1501                                                 WARREN           OH   44485‐4485
MILLER, RONALD L       2326 W ST RT 571                                                                           TIPP CITY        OH   45371‐9115
MILLER, RONALD L       239 OAK KNOLL AVE                                                                          NEWTON FALLS     OH   44444‐1734
MILLER, RONALD L       1408 N LAKESHORE DR                                                                        MARION           IN   46952‐1588
MILLER, RONALD M       349 SOUTHSIDE AVE                                                                          FREEPORT         NY   11520‐4237
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Name                 Address1                         Address2                        Address3   Address4         City              State Zip
MILLER, RONALD O     1194 CAMELLIA DR                                                                             MOUNT MORRIS       MI 48458‐2802
MILLER, RONALD O     754 FULS RD                                                                                  NEW LEBANON        OH 45345‐9114
MILLER, RONALD P     119 WOODSIDE AVE                                                                             BUFFALO            NY 14220‐1918
MILLER, RONALD R     202 LIBERTY ST                   PO BOX 199                                                  PLEASANT HILL      OH 45359‐5359
MILLER, RONALD R     84 CORINTHIA ST                                                                              LOCKPORT           NY 14094‐2110
MILLER, RONALD R     PO BOX 199                       202 LIBERTY ST                                              PLEASANT HILL      OH 45359‐0199
MILLER, RONALD R     101 E 3RD ST                                                                                 TILTON              IL 61833‐7406
MILLER, RONALD R     857 WESTRIDGE CIRCLE                                                                         NOBLESVILLE        IN 46062‐9203
MILLER, RONALD R     28441 NEWPORT DR                                                                             WARREN             MI 48088‐4229
MILLER, RONALD S     6403 E 100 N                                                                                 KOKOMO             IN 46901‐9553
MILLER, RONALD W     6271 E COUNTY ROAD 500 N                                                                     ALBANY             IN 47320‐9217
MILLER, RONALD W     9043 PETTIS RD                                                                               MEADVILLE          PA 16335
MILLER, RONALD W     128 DON CARSON RD                                                                            TELFORD            TN 37690
MILLER, RONALD W     4460 CASEY RD                                                                                DRYDEN             MI 48428‐9360
MILLER, RONALD W     4113 W 50TH ST # 3                                                                           MOUNT MORRIS       MI 48458
MILLER, RONALD W     176 REDMAN RD                                                                                MILAN              MI 48160‐1615
MILLER, RONALD W     9012 N KENTUCKY AVE                                                                          KANSAS CITY        MO 64157‐8519
MILLER, RONALD W     3413 COURT ST                                                                                NEW WATERFORD      OH 44445‐9633
MILLER, RONNIE       134 AVALON WAY                                                                               RIVERDALE          GA 30274‐4461
MILLER, RONNIE A     19400 E PONCA TER                                                                            INDEPENDENCE       MO 64056‐2198
MILLER, RONNIE D     5115 HENDRICKSON RD                                                                          FRANKLIN           OH 45005‐9727
MILLER, RONNIE L     9020 DEARDOFF RD                                                                             FRANKLIN           OH 45005‐1462
MILLER, RONNIE L     4593 WHITTUM RD                                                                              EATON RAPIDS       MI 48827‐8035
MILLER, ROOSEVELT    1342 WOODBRIDGE ST                                                                           FLINT              MI 48504‐3444
MILLER, ROSA         5010 TRAILWOOD LN                                                                            WARREN             MI 48092‐2399
MILLER, ROSALIE      1497 SHADY OAK DR                                                                            SPARKS             NV 89434‐2636
MILLER, ROSALIE M    122 N 114TH ST                                                                               APACHE JUNCTION    AZ 85220‐3508
MILLER, ROSE ANN     5820 S WINDERMERE ST APT 268                                                                 LITTLETON          CO 80120‐2150
MILLER, ROSE B       2845 CUSTER ORANGEVILLE RD NE                                                                BURGHILL           OH 44404‐9708
MILLER, ROSE M       796 HENN HYDE RD NE                                                                          WARREN             OH 44484‐1213
MILLER, ROSE M       796 HENN‐HYDE NE                                                                             WARREN             OH 44484‐1213
MILLER, ROSE MARIE   1820 BATES RD                                                                                IONIA              MI 48846‐8300
MILLER, ROSEANNE     4130 DRIFTWOOD DR                                                                            DEWITT             MI 48820‐226
MILLER, ROSEMARY     14134 ZIEGLER                                                                                TAYLOR             MI 48180‐5354
MILLER, ROSEMARY
MILLER, ROSEMARY     14134 ZIEGLER ST                                                                             TAYLOR            MI    48180‐5354
MILLER, ROSEMARY     401 W RIDGEWAY AVE                                                                           FLINT             MI    48505
MILLER, ROSEMARY J   1106 S WILSON AVE                                                                            ROYAL OAK         MI    48067‐3444
MILLER, ROSEMARY M   412 N MACKINAW ST                                                                            DURAND            MI    48429‐1324
MILLER, ROSEMARY M   412 MACKINAW                                                                                 DURAND            MI    48429
MILLER, ROSIE F      259 N 600 W                      C/O ROY V. BLAIR                                            ANDERSON          IN    46011‐8744
MILLER, ROSS E       2525 TITANS LN                                                                               BRENTWOOD         TN    37027‐3735
MILLER, ROSS I       3718 N HUNTINGTON RD                                                                         MARION            IN    46952‐1228
MILLER, ROXANNE C    2424 W WARDLOW RD                                                                            HIGHLAND          MI    48357‐4127
MILLER, ROY          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                   BALTIMORE         MD    21202
                                                      CHARLES CENTER 22ND FLOOR
MILLER, ROY          KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                CLEVELAND         OH 44114
                                                      BOND COURT BUILDING
MILLER, ROY          BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE       FL   32202
                     MCCLAMMA & YEGELWEL P.A.         BAY STREET
MILLER, ROY D        12188 CROSS CREEK RD                                                                         BOWLING GREEN     OH 43402‐8814
MILLER, ROY D        1 BLUEGRASS AVE                                                                              FT WRIGHT         KY 41011
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Name                            Address1                         Address2                      Address3   Address4         City              State Zip
MILLER, ROY D                   PO BOX 268                                                                                 SEVILLE            OH 44273‐0268
MILLER, ROY DALE                12188 CROSS CREEK ROAD                                                                     BOWLING GREEN      OH 43402‐8814
MILLER, ROY E                   14114 VALLEY VIEW DR                                                                       WHITE OAK          PA 15131‐4233
MILLER, ROY FREIGHT LINES INC   PO BOX 18419                                                                               ANAHEIM            CA 92817‐8419
MILLER, ROY L                   117 MEADOW BROOK DR                                                                        ROCKY MOUNT        VA 24151‐3974
MILLER, ROY L                   14700 CORUNNA RD                                                                           CHESANING          MI 48616‐9491
MILLER, ROY L                   4504 HARRIS AVE                                                                            SAINT LOUIS        MO 63115‐3131
MILLER, ROY L                   1070 ROYCO DR SE                                                                           ACWORTH            GA 30101‐3349
MILLER, ROY M                   5511 W C AVE                                                                               KALAMAZOO          MI 49009‐5005
MILLER, ROY R                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                 STREET, SUITE 600
MILLER, ROY R                   3841 SABLE CREEK DR                                                                        MINERAL RIDGE     OH   44440‐9048
MILLER, ROY T                   1746 RANCH DR NW                                                                           WALKER            MI   49504
MILLER, ROY T                   821 CAMBRIDGE ST APT 170                                                                   MIDLAND           MI   48642‐4635
MILLER, ROYAL L                 2718 LONE PINE RD                                                                          FARWELL           MI   48622‐9490
MILLER, ROYALL H                9853 W M‐21                                                                                OVID              MI   48866
MILLER, ROYCE                   2032 NC HIGHWAY 67                                                                         JONESVILLE        NC   28642‐9143
MILLER, ROYCE D                 6659 E SIDEWINDER                                                                          APACHE JUNCTION   AZ   85219‐8365
MILLER, RUBEN                   3232 EASTGATE ST                                                                           BURTON            MI   48519‐1555
MILLER, RUBY E                  PO BOX 443                                                                                 MARENGO           OH   43334‐0443
MILLER, RUBY F                  3601 GRAPE CREEK RD                                                                        SAN ANGELO        TX   76903
MILLER, RUBY I                  698 S 400 E                                                                                KOKOMO            IN   46902‐9321
MILLER, RUBY IRENE              698 S 400 EAST                                                                             KOKOMO            IN   46902‐9321
MILLER, RUBY L.                 1223 19TH AVE NE                                                                           ROCHESTER         MN   55906
MILLER, RUBY M                  11705 ERWIN AVE                                                                            CLEVELAND         OH   44135‐3539
MILLER, RUBY P                  2907 HEATHWOOD CT                                                                          CHAMPAIGN         IL   61822‐7659
MILLER, RUBY W                  4209 MOUNDS RD                                                                             ANDERSON          IN   46017‐1836
MILLER, RUBY W                  4209 MOUNDS ROAD                                                                           ANDERSON          IN   46017‐1836
MILLER, RUDOLPH G               15942 VAN AVE                                                                              FRASER            MI   48026‐2709
MILLER, RUDOLPH R               4845 SQUIRE DR                                                                             GREENDALE         WI   53129‐2010
MILLER, RUFUS                   18506 MARLOWE ST                                                                           DETROIT           MI   48235‐2739
MILLER, RUFUS P                 3081 DOGWOOD AVENUE                                                                        DECATUR           GA   30034‐7314
MILLER, RUMELDA                 6470 W SUNRISE LANE                                                                        HOMOSASSA         FL   34446
MILLER, RUSSEL D                11191 RIVERVIEW DR                                                                         GRAND BLANC       MI   48439‐1046
MILLER, RUSSELL D               10811 W 72ND ST                                                                            SHAWNEE           KS   66203‐4401
MILLER, RUSSELL E               2334 WEBSTER RD                                                                            LANSING           MI   48917‐8627
MILLER, RUSSELL E               209 SADDLEBRIDGE LN                                                                        FRANKLIN          TN   37069‐4316
MILLER, RUSSELL F               3414 WALLINGFORD CT                                                                        GRAND BLANC       MI   48439‐7932
MILLER, RUSSELL J               23067 JOY ST                                                                               ST CLAIR SHRS     MI   48082‐2523
MILLER, RUSSELL L               15957 BARNES DR                                                                            BELLE CENTER      OH   43310‐9797
MILLER, RUTH                    4400 CLIFFORD DRIVE APT 105                                                                HERMITAGE         PA   16148‐6148
MILLER, RUTH                    183 EAST DELAVAN AVE                                                                       BUFFALO           NY   14208‐1234
MILLER, RUTH                    9370 N 300 W                                                                               FOUNTAINTOWN      IN   46130‐9544
MILLER, RUTH                    9725 EE POINTE 25 RD.                                                                      RAPID RIVER       MI   49878
MILLER, RUTH                    183 E DELAVAN AVE                                                                          BUFFALO           NY   14208‐1234
MILLER, RUTH                    3841 SUMMIT VIEW DR NE                                                                     GRAND RAPIDS      MI   49525‐2030
MILLER, RUTH                    32010 PENDLEY RD                                                                           WILLOWICK         OH   44095‐3872
MILLER, RUTH A                  9035 GREENWAY BLVD APT C36                                                                 SAGINAW           MI   48609‐6706
MILLER, RUTH A                  1416 GREENVIEW DR                                                                          GRAND BLANC       MI   48439‐1709
MILLER, RUTH A                  1271 MAIN ST                                                                               SNOVER            MI   48472‐9384
MILLER, RUTH A                  3222 FRANCES LN                                                                            KOKOMO            IN   46902‐9706
MILLER, RUTH A                  302 THOMPSON ST                                                                            ESSEXVILLE        MI   48732‐1162
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MILLER, RUTH ANN      585 BIAS BRANCH                                                                        JEFFERSON             WV 25114
MILLER, RUTH ANN
MILLER, RUTH ANNE     1416 GREENVIEW DR                                                                      GRAND BLANC          MI   48439‐1709
MILLER, RUTH E        5501 E HASKELL LAKE RD                                                                 HARRISON             MI   48625‐8739
MILLER, RUTH E        3159 RIVERVIEW DR NW APT 1A                                                            GRAND RAPIDS         MI   49544‐8538
MILLER, RUTH E        951 TOWNLINE AVE                                                                       BELOIT               WI   53511‐4964
MILLER, RUTH E        1926 MERAMEC DR                                                                        ANDERSON             IN   46012‐3188
MILLER, RUTH E        951 TOWN LINE AVENUE                                                                   BELOIT               WI   53511
MILLER, RUTH L        2029 MONACO ST                 UNIT 1                                                  FLINT                MI   48532‐4554
MILLER, RUTH L        2029 MONACO ST UNIT 1                                                                  FLINT                MI   48532‐4554
MILLER, RUTH L        RR 1                                                                                   RUSSIAVILLE          IN   46979
MILLER, RUTH M        105 OXLEY RD                                                                           COLUMBUS             OH   43228‐1735
MILLER, RUTH M        11030 W PLEASANT VALLEY RD                                                             SUN CITY             AZ   85351‐1558
MILLER, RUTH M        246 MIDWAY PARK LN                                                                     TAYLORSVILLE         NC   28681‐3677
MILLER, RUTH N        1860 BRANDONHALL DR                                                                    MIAMISBURG           OH   45342‐6326
MILLER, RUTH R        815 N 2ND ST                                                                           STOCKTON             KS   67669
MILLER, RUTH V        33484 MICHELE ST                                                                       LIVONIA              MI   48150‐2673
MILLER, RUTH V        8484 SHIELDS DRIVE‐#202                                                                SAGINAW              MI   48609‐8517
MILLER, RUTH W        14040 CANAL‐A‐WAY                                                                      PENSACOLA            FL   32507
MILLER, RUTH W        3201 SUSAN DR                                                                          KOKOMO               IN   46902‐7506
MILLER, RUTHANNE T    2304 WILLOWSIDE LN                                                                     GROVE CITY           OH   43123‐8848
MILLER, RUTHIE L      1908 W PULLEN ST                                                                       PINE BLUFF           AR   71601‐3354
MILLER, RYAN D        165 PARKVIEW DR                                                                        NEW LEBANON          OH   45345‐8702
MILLER, SALLY ANN     312 N OAK ST APT 104                                                                   DURAND               MI   48429‐1286
MILLER, SAM M         414 W MAIN ST                                                                          SPENCER              OH   44275‐9534
MILLER, SAMANTHA L    872 BLACKBIRD GREENSPRING RD                                                           SMYRNA               DE   19977‐9462
MILLER, SAMUEL C      5505 WENTWORTH LN                                                                      MUNCIE               IN   47304‐7602
MILLER, SAMUEL E      3342 NOTTINGHILL DR E                                                                  PLAINFIELD           IN   46168‐8307
MILLER, SAMUEL J      814 W OAKLEY PARK RD                                                                   COMMERCE TOWNSHIP    MI   48390‐1245
MILLER, SAMUEL L      49822 SERENITY LN                                                                      SHELBY TOWNSHIP      MI   48315‐3382
MILLER, SAMUEL M      40 IRIS AVE                                                                            INDIANAPOLIS         IN   46241‐1318
MILLER, SAMUEL R      6421 WEST ST                                                                           LEBANON              OH   45036
MILLER, SANDRA A      572 W AREBA AVE                                                                        HERSHEY              PA   17033‐1605
MILLER, SANDRA D      979 E HOLLYWOOD                                                                        DETROIT              MI   48203‐2129
MILLER, SANDRA E      2661 HOUNDS CHASE DR                                                                   TROY                 MI   48098‐2306
MILLER, SANDRA I      4587 E TU AVE                                                                          VICKSBURG            MI   49097‐8442
MILLER, SANDRA J      W19105 DILLER RD                                                                       GERMFASK             MI   49836‐9239
MILLER, SANDRA J      31505 SHARE ST                                                                         SAINT CLAIR SHORES   MI   48082‐1283
MILLER, SANDRA J      6830 RIDGE RD                                                                          LOCKPORT             NY   14094‐9436
MILLER, SANDRA JO A   2114 FAIRVIEW DR                                                                       BELOIT               WI   53511‐2742
MILLER, SANDRA K      3030 VILLAGE LN                                                                        BROOKLYN             MI   49230‐9372
MILLER, SANDRA K      215 N CANAL RD LOT 168                                                                 LANSING              MI   48917‐8674
MILLER, SANDRA L      24 PRENTICE ST                 LOWER                                                   LOCKPORT             NY   14094‐2120
MILLER, SANDRA L      4451 SPRINGBROOK DR 117                                                                SWARTZ CREEK         MI   48473
MILLER, SANDRA L      39206 FLORIA AVE                                                                       ZEPHYRHILLS          FL   33542
MILLER, SANDRA L      8226 GRAND RIVER TRL                                                                   PORTLAND             MI   48875‐9402
MILLER, SANDRA M      2387 BINGHAM RD                                                                        CLIO                 MI   48420‐1954
MILLER, SANDY S       16 RANGER RD                                                                           MARY ESTHER          FL   32569
MILLER, SARA L        369 E 307TH ST                                                                         WILLOWICK            OH   44095‐3725
MILLER, SARAH J       1201 LA RUE CT                                                                         SAINT LOUIS          MO   63137‐1121
MILLER, SARAH J       625 ROYCROFT BLVD                                                                      CHEEKTOWAGA          NY   14225‐1066
MILLER, SARAH J       625 ROYCROFT BOULEVARD                                                                 BUFFALO              NY   14225‐1066
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Name                   Address1                         Address2                     Address3   Address4         City              State Zip
MILLER, SARAH S        4894 NO NAME RD                                                                           ANDERSON           IN 46017‐9731
MILLER, SCOTT A        223 E CAROLINE ST                                                                         BELLEVUE           MI 49021‐1217
MILLER, SCOTT A        RR 2 BOX 464 HILL DR                                                                      EVANSVILLE         WI 53536
MILLER, SCOTT A        10305 BREEZEWAY CIR                                                                       BROWNSBURG         IN 46112‐8955
MILLER, SCOTT A        5410 MILL RACE WAY                                                                        COMMERCE TWP       MI 48382‐5002
MILLER, SCOTT D        114 N SANDERSON AVE                                                                       ELSBERRY           MO 63343‐1134
MILLER, SCOTT D        1548 KELLOGG AVE                                                                          JANESVILLE         WI 53546‐6024
MILLER, SCOTT E        PO BOX 9022                                                                               WARREN             MI 48090‐9022
MILLER, SCOTT EDWARD   291 LOWELL RD                                                                             XENIA              OH 45385‐2727
MILLER, SCOTT G        6080 SADDLEWOOD DR                                                                        TOLEDO             OH 43613‐1659
MILLER, SCOTT H        55 OPEN GATE CT                                                                           NOTTINGHAM         MD 21236‐1680
MILLER, SCOTT L        554 WATSON BRANCH DR                                                                      FRANKLIN           TN 37064‐5129
MILLER, SCOTT L        S 2401 THREE ROD RD                                                                       EAST AURORA        NY 14052
MILLER, SCOTT W        3830 W 44TH ST                                                                            DAVENPORT           IA 52806‐5055
MILLER, SCOTTIE B      900 MAYNARD RD # MI                                                                       PORTLAND           MI 48875
MILLER, SEAN F         3800 FAWN DRIVE                                                                           CANFIELD           OH 44406‐9597
MILLER, SERENA         3941 BIG PL CIRCLVL ROAD                                                                  LONDON             OH 43140
MILLER, SERENA L       5239 BROOKMILL CT                                                                         DAYTON             OH 45414‐6708
MILLER, SHANNON J      2954 POWHATTAN PL                                                                         KETTERING          OH 45420‐3849
MILLER, SHANNON L      714 UNADILLA ST                                                                           SHREVEPORT         LA 71106‐1244
MILLER, SHARI L        1806 W MCCLELLAN ST                                                                       FLINT              MI 48504‐2511
MILLER, SHARLA M       6341 ROSWELL AVE                                                                          KANSAS CITY        KS 66104
MILLER, SHARON         372 MEADOW BRIDGE DR                                                                      ROCHESTER HILLS    MI 48307‐3045
MILLER, SHARON A       2224 PARK HURST DR                                                                        ARLINGTON          TX 76001‐5639
MILLER, SHARON B       1716 W 11TH ST                                                                            ANDERSON           IN 46016‐2725
MILLER, SHARON D       309 BLAINE AVE                                                                            CLOQUET            MN 55720‐1266
MILLER, SHARON E       8466 CONLEY RD                                                                            WINCHESTER         OH 45697‐9606
MILLER, SHARON E       4915 COURTNEY RIDGE LN APT 321                                                            CHARLOTTE          NC 28217‐2593
MILLER, SHARON G       11140 W WOODSIDE DR                                                                       HALES CORNERS      WI 53130‐1213
MILLER, SHARON K       11157 VILLAGE LN                                                                          CLINTON            MI 49236
MILLER, SHARON L       615 SOMERSET DR                                                                           FLUSHING           MI 48433‐1926
MILLER, SHARON L       403 E ADAMS ST                                                                            SANDUSKY           OH 44870‐2907
MILLER, SHARON L       105 WILDWOOD DR                                                                           EATON              OH 45320‐5320
MILLER, SHARON LEE     5620 JOSHUA                                                                               LANSING            MI 48911‐3964
MILLER, SHARON LEE     5620 JOSHUA ST                                                                            LANSING            MI 48911‐3964
MILLER, SHARON LEE     615 SOMERSET DR                                                                           FLUSHING           MI 48433‐1926
MILLER, SHARON M       1710 SANDRA ST SW                                                                         DECATUR            AL 35601‐5458
MILLER, SHARON R       624 N APPERSON WAY                                                                        KOKOMO             IN 46901‐2944
MILLER, SHARON Z       920 NORTH ST                                                                              ANDERSON           IN 46017
MILLER, SHAWN E        1215 E 135TH PLACE                                                                        GLENPOOL           OK 74033
MILLER, SHAWN E        613 SOUTHWEST 24TH STREET                                                                 EL RENO            OK 73036‐5957
MILLER, SHAWN M        APT 103                          15700 SILVER PARKWAY                                     FENTON             MI 48430‐3492
MILLER, SHAWN P        151 N CHURCH ST                                                                           NEW LEBANON        OH 45345‐1247
MILLER, SHAWN S        7140 PHILLIPS RICE RD                                                                     CORTLAND           OH 44410‐9680
MILLER, SHEILA C       18309 W 13 MILE RD APT 22                                                                 SOUTHFIELD         MI 48076‐1145
MILLER, SHEILA C       35455 EDGETON CT                 APT 207                                                  FARMINGTON         MI 48335‐2443
MILLER, SHELIA M       5480 SHIREWICK LN                                                                         LITHONIA           GA 30058‐3872
MILLER, SHELIA MARIE   5480 SHIREWICK LN                                                                         LITHONIA           GA 30058‐3872
MILLER, SHELLY E       5301 POLLARD WAY                                                                          HUBER HEIGHTS      OH 45424‐5839
MILLER, SHERRI A       2348 OAK TRACE ST                                                                         AUSTINTOWN         OH 44515‐4921
MILLER, SHERRI L       APT 213                          2525 PRESTON ROAD                                        PLANO              TX 75093‐3500
MILLER, SHERRI SUE     DAILEY LAW FIRM PC               28000 WOODWARD AVE STE 201                               ROYAL OAK          MI 48067‐0962
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Name                   Address1                         Address2                      Address3   Address4         City               State Zip
MILLER, SHERRY         2466 ANDERS                                                                                WATERFORD           MI 48329
MILLER, SHERRY         2466 ANDERS DR                                                                             WATERFORD           MI 48329‐4404
MILLER, SHERRY L       9715 W 49TH TER                                                                            MERRIAM             KS 66203‐4807
MILLER, SHERRY L.      8004 N WELLING RD                                                                          ELSIE MI            MI 48831‐8721
MILLER, SHERYL A       906 TIDEWATER WAY                                                                          DEERFIELD BCH       FL 33442‐3620
MILLER, SHERYLE ANNE   10395 EAGLE RD                                                                             DAVISBURG           MI 48350‐2128
MILLER, SHIRLEY        35902 FIERIMONTE DR                                                                        CLINTON TOWNSHIP    MI 48035‐2120
MILLER, SHIRLEY        16816 GREENWOOD AVE                                                                        SOUTH HOLLAND        IL 60473‐3134
MILLER, SHIRLEY        619 N NEW DEXTER ST                                                                        IONIA               MI 48846‐1163
MILLER, SHIRLEY        8760 OGDEN LANDING RD                                                                      WEST PADUCAH        KY 42086‐9420
MILLER, SHIRLEY        1290 W 450 N                                                                               KOKOMO              IN 46901‐8148
MILLER, SHIRLEY A      1008 SOUTH MAGNOLIA AVENUE                                                                 YUMA                AZ 85364‐3522
MILLER, SHIRLEY A      1691 SPARTA HIGHWAY APT 101                                                                CROSSVILLE          TN 38555
MILLER, SHIRLEY A      777 WOOLDRIDGE LANE                                                                        JELLICO             TN 37762‐3517
MILLER, SHIRLEY A      1691 SPARTA HWY APT 101                                                                    CROSSVILLE          TN 38572‐0502
MILLER, SHIRLEY A      4623 GLEN MOOR WAY                                                                         KOKOMO              IN 46902‐9102
MILLER, SHIRLEY A      3024 RED FOX RUN DR NW                                                                     WARREN              OH 44485‐1576
MILLER, SHIRLEY B      346 EARL DR NW                                                                             WARREN              OH 44483‐1114
MILLER, SHIRLEY B      346 EARL DR. N.W.                                                                          WARREN              OH 44483‐1114
MILLER, SHIRLEY J      4400 CLINTON STREET                                                                        BUFFALO             NY 14224‐1706
MILLER, SHIRLEY K      6431 LAKE DRIVE                                                                            HASLETT             MI 48840
MILLER, SHIRLEY K      7987 W 600 N                                                                               SHARPSVILLE         IN 46068‐9396
MILLER, SHIRLEY K      6431 LAKE DR                                                                               HASLETT             MI 48840‐8989
MILLER, SHIRLEY M      PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                    PHILADELPHIA        PA 19103‐5446
MILLER, SHIRLEY M      12108 CHATTMAN DRIVE                                                                       STERLING HGTS       MI 48313‐1724
MILLER, SHIRLEY N      3769 NE SKYLINE DR                                                                         JENSEN BEACH        FL 34957‐3919
MILLER, SHIRLEY P      8805 MADISON AVE APT 106B                                                                  INDIANAPOLIS        IN 46227‐6427
MILLER, SHIRLEY P      8805 MADISON AVE                 APT. 106B                                                 INDIANAPOLIS        IN 46227‐6427
MILLER, SHIRLEY V      596 RUSTIC                                                                                 SAGINAW             MI 48604‐2154
MILLER, SHIRLEY V      596 RUSTIC DR                                                                              SAGINAW             MI 48604‐2154
MILLER, SIDNEY L       427 SEVIER ST                                                                              HIXSON              TN 37343‐1652
MILLER, SIRKKA S       907 E BUDLONG ST                                                                           CARTHAGE            MO 64836‐3873
MILLER, SLANA K        3727 E 200 N                                                                               PERU                IN 46970‐8318
MILLER, SONYA H        402 NAPLES CT                                                                              KISSIMMEE           FL 34759‐4601
MILLER, SOPHIA M       414 FALL CREEK DR                                                                          ANDERSON            IN 46013‐3715
MILLER, STACEY         15400 W7 MI RD                                                                             DETROIT             MI 48235
MILLER, STACIE A       202 ASHLEYS WAY                                                                            WALESKA             GA 30183
MILLER, STANLEY A      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                        STREET, SUITE 600
MILLER, STANLEY A      124 WYKOFF BLVD                                                                            HOUGHTON LAKE      MI   48629‐9334
MILLER, STANLEY D      2025 ADAMS AVE                                                                             FLINT              MI   48505‐5033
MILLER, STANLEY D      1515 BULGER RD                                                                             ALKOL              WV   25501‐9527
MILLER, STANLEY E      10434 N ELLENDALE RD                                                                       EDGERTON           WI   53534‐8406
MILLER, STANLEY G      PO BOX 16376                                                                               GALVESTON          TX   77552‐6376
MILLER, STANLEY G      16520 SCHROEDER RD                                                                         BRANT              MI   48614‐9788
MILLER, STANLEY H      4774 GOODISON PLACE DR                                                                     ROCHESTER          MI   48306‐1673
MILLER, STANLEY N      3710 CHILDERS RD                                                                           ORTONVILLE         MI   48462‐8489
MILLER, STANLEY P      2600 WESTWIND DR                                                                           HIGHLAND           MI   48357‐3418
MILLER, STANLEY Z      9834 WOODMAN AVE                                                                           ARLETA             CA   91331‐5047
MILLER, STANTON E      1922 BASSWOOD TRL                                                                          FORT WAYNE         IN   46814‐9559
MILLER, STELLA         345 E LORADO AVE                                                                           FLINT              MI   48505‐2164
MILLER, STEPHANIE D    3711 CASS ELIZABETH RD APT 301                                                             WATERFORD          MI   48328‐4536
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Name                         Address1                         Address2             Address3         Address4         City                 State Zip
MILLER, STEPHANIE DANIELLE   3711 CASS ELIZABETH RD APT 301                                                          WATERFORD             MI 48328‐4536
MILLER, STEPHANIE J          1400 HONEY LN                                                                           KOKOMO                IN 46902‐3920
MILLER, STEPHANIE M          9945 W GULF HILLS DR                                                                    SUN CITY              AZ 85351‐1213
MILLER, STEPHEN A            1006 YELLOWBRICK RD                                                                     PENDLETON             IN 46064‐9130
MILLER, STEPHEN E            2930 PALMETTO ST                                                                        NORTHPORT             AL 35475‐4874
MILLER, STEPHEN F            5337 HOPKINS RD                                                                         FLINT                 MI 48506‐1543
MILLER, STEPHEN H            13080 MICHALEK LN                                                                       SOUTH LYON            MI 48178‐9169
MILLER, STEPHEN J            191 BLANCHE DR                                                                          TROY                  MI 48098‐2934
MILLER, STEPHEN J            3717 S SCATTERFIELD RD                                                                  ANDERSON              IN 46013
MILLER, STEPHEN J            5105 JOHN ST                                                                            DECATUR               IN 46733‐7924
MILLER, STEPHEN J            879 N COUNTY ROAD 450 E                                                                 AVON                  IN 46123‐8023
MILLER, STEPHEN J            2444 COLLINS AVE                                                                        SHELBY TWP            MI 48317‐3620
MILLER, STEPHEN JOHN         2444 COLLINS AVE                                                                        SHELBY TWP            MI 48317‐3620
MILLER, STEPHEN L            342 S WAYMAN ST APT 305                                                                 LONGWOOD              FL 32750‐5351
MILLER, STEPHEN M            1559 STILLWAGON RD                                                                      NILES                 OH 44446‐4432
MILLER, STEPHEN M            125 HOLLYWOOD AVE                                                                       OXNARD                CA 93035‐4614
MILLER, STEPHEN MICHAEL      1559 STILLWAGON RD                                                                      NILES                 OH 44446‐4432
MILLER, STEPHEN P            815 N GRAY ST                                                                           INDIANAPOLIS          IN 46201‐2427
MILLER, STEPHEN R            4319 SPRINGMILL DRIVE                                                                   KOKOMO                IN 46902‐5177
MILLER, STEPHEN T            9855 HOLLY ST                                                                           RANCHO CUCAMONGA      CA 91701
MILLER, STEPHEN W            110 WEDGEWOOD DR                                                                        TROY                  MO 63379‐2005
MILLER, STEPHEN W            16626 RIDGE RD                                                                          HOLLEY                NY 14470‐9366
MILLER, STEPHEN WAYNE        110 WEDGEWOOD DR                                                                        TROY                  MO 63379‐2005
MILLER, STEVE                35 SHADOW LN                                                                            ROCHESTER             NY 14606‐4359
MILLER, STEVE J              11247 CLOVERLAWN DR                                                                     BRIGHTON              MI 48114‐8130
MILLER, STEVE M              13768 W WALKER RD                                                                       FOWLER                MI 48835‐9277
MILLER, STEVEN C             1284 WINEBRENNER RD                                                                     MARTINSBURG           WV 25404‐0575
MILLER, STEVEN C             2616 MULBERRY DR                                                                        SANDUSKY              OH 44870‐5655
MILLER, STEVEN D             11803 CAPPY LN                                                                          WHITMORE LAKE         MI 48189
MILLER, STEVEN E             5287 PARVIEW DR                                                                         CLARKSTON             MI 48346‐2809
MILLER, STEVEN E             4500 HIBBARD RD                                                                         CORUNNA               MI 48817‐9312
MILLER, STEVEN E             636 ALLCUTT AVE                                                                         BONNER SPRINGS        KS 66012‐1162
MILLER, STEVEN E             2613 N STATE ROAD 75                                                                    NORTH SALEM           IN 46165‐9304
MILLER, STEVEN EDWIN         4500 HIBBARD RD                                                                         CORUNNA               MI 48817‐9312
MILLER, STEVEN H             PO BOX 733                                                                              NORTHPORT             AL 35476‐0733
MILLER, STEVEN H             265 CROSBY BLVD                                                                         EGGERTSVILLE          NY 14226‐3317
MILLER, STEVEN H             10245 E 200 N                                                                           LOGANSPORT            IN 46947
MILLER, STEVEN J             9834 E 11TH ST                                                                          INDIANAPOLIS          IN 46229‐2345
MILLER, STEVEN J             4141 SELBY WAY                                                                          WILLIAMSON            NY 14589‐9740
MILLER, STEVEN J             23133 BROOKDALE BLVD                                                                    SAINT CLAIR SHORES    MI 48082‐1135
MILLER, STEVEN J             7705 S STATE ROAD 29                                                                    FRANKFORT             IN 46041‐9682
MILLER, STEVEN K             6281 N CHESTER AVE                                                                      INDIANAPOLIS          IN 46220‐4417
MILLER, STEVEN K             3716 N RIVER RD                                                                         FREELAND              MI 48623‐8839
MILLER, STEVEN M             2623 OLE DAVIDSON RD                                                                    RACINE                WI 53405
MILLER, STEVEN M             2608 ARLINGTON RD                                                                       LANSING               MI 48906‐3710
MILLER, STEVEN M             158 N RIVER DR                                                                          CLARKSTON             MI 48346‐4168
MILLER, STEVEN M             1919 ELSMERE AVE                                                                        DAYTON                OH 45406‐4427
MILLER, STEVEN MICHAEL       158 N RIVER DR                                                                          CLARKSTON             MI 48346‐4168
MILLER, STEVEN P             589 JOHNNIE BUSH RD                                                                     HORSE CAVE            KY 42749
MILLER, STEVEN S             10664 WESTDALE DR                                                                       JEROME                MI 49249‐9582
MILLER, STEVEN SCOTT         10664 WESTDALE DR                                                                       JEROME                MI 49249‐9582
MILLER, STEVEN T             12033 CHEYENNE ST                                                                       DETROIT               MI 48227‐3772
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Name                      Address1                           Address2                 Address3     Address4         City           State Zip
MILLER, STEVEN W          9300 BOOTS ST                                                                             PUNTA GORDA     FL 33982‐2359
MILLER, STEVEN W          323 W 700 N                                                                               KOKOMO          IN 46902‐9307
MILLER, STEVEN W          5646 N STATE ROAD 75                                                                      NORTH SALEM     IN 46165‐9316
MILLER, STUART A          2015 PEGGY PL                                                                             LANSING         MI 48910‐2554
MILLER, STUART F          4400 W UNIVERSITY BLVD APT 13104                                                          DALLAS          TX 75209‐3899
MILLER, SUSAN A           1941 ELM ST                                                                               HOLT            MI 48842‐1603
MILLER, SUSAN C           6817 COLLEEN DR                                                                           YOUNGSTOWN      OH 44512‐3834
MILLER, SUSAN L           8704 245TH AVE                                                                            SALEM           WI 53168‐9085
MILLER, SUSAN L.          8704 245TH AVENUE                                                                         SALEM           WI 53168‐9085
MILLER, SUSAN M           86A FOXBERRY DR                                                                           GETZVILLE       NY 14068‐1010
MILLER, SUSAN M           3654 COUNTRY POINTE PL                                                                    PALM HARBOR     FL 34684‐4769
MILLER, SUSAN R           3450 HOWARD RD LOT 72                                                                     HAMBURG         NY 14075‐2101
MILLER, SUVIT             2050 PRIMROSE LN                                                                          FENTON          MI 48430‐8523
MILLER, SUZANNE B         PO BOX 5581                                                                               EDMOND          OK 73083‐5581
MILLER, SUZANNE L         7405 BRAYMONT ST                                                                          MOUNT MORRIS    MI 48458‐2905
MILLER, SUZANNE LESLIE    7405 BRAYMONT ST                                                                          MOUNT MORRIS    MI 48458‐2905
MILLER, SUZANNE M         3221 E DIX DR                                                                             MILTON          WI 53563‐9245
MILLER, SYLVIA F          1416 E STATE ROAD 18                                                                      KOKOMO          IN 46901‐7611
MILLER, SYLVIA L
MILLER, SYLVIA L          5652 GLASS CHIMNEY LN                                                                     INDIANAPOLIS   IN   46235‐6091
MILLER, SYLVIA M          5204 ROSAMOND LN                                                                          WATERFORD      MI   48327‐3123
MILLER, T G               9545 HELEN AVE                                                                            ATLANTA        MI   49709‐9022
MILLER, TAMARA L          501 COTILLION CT                                                                          LEBANON        OH   45036‐7733
MILLER, TAMARA M          5167 LOGANBERRY DR                                                                        SAGINAW        MI   48603‐1137
MILLER, TAMARA S          4499 BROKEN BOW DR                                                                        GREENWOOD      IN   46143‐8726
MILLER, TAMMIE MARIE      5445 N MUD RD                                                                             SANFORD        MI   48657‐9142
MILLER, TAMMY             LAW OFFICES OF DAVID GORBERG &     32 PARKING PLZ STE 700                                 ARDMORE        PA   19003‐2440
                          ASSOCIATES
MILLER, TAMMY J           44 WARWICK CIR APT 102                                                                    CLOVER         SC   29710
MILLER, TAMMY L           758 SOMMERSET DR                                                                          TROY           MO   63379‐1604
MILLER, TAMMY L           6900 SOUTH PALMER ROAD                                                                    NEW CARLISLE   OH   45344‐8621
MILLER, TARA L            6070 RAPHAEL CT                                                                           WHITE LAKE     MI   48383‐1199
MILLER, TASSIE J          291 LOWELL RD                                                                             XENIA          OH   45385‐2727
MILLER, TAWNYA M          10485 E COLE RD                                                                           DURAND         MI   48429‐9494
MILLER, TED J             PO BOX 143                                                                                RUSSIAVILLE    IN   46979‐0143
MILLER, TERENCE W         314 DOGWOOD LN                                                                            ORTONVILLE     MI   48462‐8477
MILLER, TERENCE WILLIAM   314 DOGWOOD LN                                                                            ORTONVILLE     MI   48462‐8477
MILLER, TERESA            4296 SAGE LAKE RD                                                                         LUPTON         MI   48635‐9744
MILLER, TERESA A          3345 SHERMAN RD                                                                           MANSFIELD      OH   44903‐8796
MILLER, TERESA J          62811 MT VERNON                                                                           ROMEO          MI   48094
MILLER, TERESA J          7314 NORTH LIBERTY STREET                                                                 KANSAS CITY    MO   64118‐6403
MILLER, TERESA M          2109 ROYAL OAK AVE                                                                        DEFIANCE       OH   43512‐3527
MILLER, TERESA M          617 SHORELINE DR                                                                          FENTON         MI   48430‐2197
MILLER, TERRANCE A        2025 ADAMS AVE                                                                            FLINT          MI   48505‐5033
MILLER, TERRANCE D        706 HENDRICKSON BLVD                                                                      CLAWSON        MI   48017‐1695
MILLER, TERRANCE R        1303 POLO FIELDS LN                                                                       COLUMBIA       TN   38401‐7360
MILLER, TERRENCE J        5025 SPIDER LAKE RD                                                                       RHINELANDER    WI   54501‐8665
MILLER, TERRI G           1267 TWIN MAPLES LN                                                                       BLOOMFIELD     MI   48301‐2251
MILLER, TERRI L           23199 W LE BOST                                                                           NOVI           MI   48375‐3410
MILLER, TERRI T           PO BOX 281                                                                                GENESEE        MI   48437‐0281
MILLER, TERRILL E         5750A AUDUBON RD                                                                          DETROIT        MI   48224
MILLER, TERRY A           503 S SILVER TOP LN                                                                       RAYMORE        MO   64083‐9257
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Name                    Address1                         Address2                        Address3   Address4         City               State Zip
MILLER, TERRY A         5868 GENESEE RD                                                                              LAPEER              MI 48446‐2713
MILLER, TERRY C         1435 CAROLINA DR                                                                             VANDALIA            OH 45377‐9757
MILLER, TERRY D         1211 FARRAGUT DR N                                                                           SAINT PETERSBURG    FL 33710
MILLER, TERRY D         1701 WELCH BLVD                                                                              FLINT               MI 48504‐3026
MILLER, TERRY DEE       1701 WELCH BLVD                                                                              FLINT               MI 48504‐3026
MILLER, TERRY E         3280 WEST SMOKEY ROW ROAD                                                                    BARGERSVILLE        IN 46106‐8886
MILLER, TERRY E         15351 ROAD 143                                                                               CECIL               OH 45821‐9737
MILLER, TERRY L         PO BOX 65                                                                                    BURNETT             WI 53922‐0065
MILLER, TERRY L         6013 TURNER RD                                                                               FLUSHING            MI 48433‐9248
MILLER, TERRY L         PO BOX 49664                                                                                 DAYTON              OH 45449‐0664
MILLER, TERRY L         643 W COOK RD                                                                                MANSFIELD           OH 44907‐2215
MILLER, TERRY L         989 72ND ST SE                                                                               GRAND RAPIDS        MI 49508‐7407
MILLER, TERRY L         2164 N BALDWIN RD                                                                            OXFORD              MI 48371‐2902
MILLER, TERRY L         9433 W DIXON RD                                                                              REESE               MI 48757‐9209
MILLER, TERRY L         6879 VIENNA WOODS TRL                                                                        DAYTON              OH 45459‐1273
MILLER, TERRY L.        2164 N BALDWIN RD                                                                            OXFORD              MI 48371‐2902
MILLER, TERRY M         8405 BOYER RD                                                                                BRADFORD            OH 45308‐9641
MILLER, TERRY R         188 SWEET BIRCH LN                                                                           ROCHESTER           NY 14615‐1216
MILLER, TERRY S         2647 TOD AVE NW                                                                              WARREN              OH 44485‐1501
MILLER, TEWERATHIA      18295 STOEPEL ST                                                                             DETROIT             MI 48221‐2266
MILLER, TEXA W          A.C.C. 458                       243 REBECCA DR ACC45                                        ALAMO               TX 78516
MILLER, THELMA          2509 DEERPATH DRIVE                                                                          NASHVILLE           TN 37217
MILLER, THELMA B        46 COAL HILL RD.                                                                             GREENVILLE          PA 16125‐8606
MILLER, THELMA H        10085 N COUNTY RD 650E                                                                       ALBANY              IN 47320
MILLER, THELMA J.       3723 HOLLY AVE                                                                               FLINT               MI 48506‐3125
MILLER, THELMA L        2001 SHERMAN SQUARE DR                                                                       ST CHARLES          MO 63303
MILLER, THELMA L        PO BOX 1896                                                                                  DE LEON SPRINGS     FL 32130‐1896
MILLER, THEODORE        BARON & BUDD                     PLAZA SOUTH TWO ‐ SUITE 200 ‐                               CLEVELAND           OH 44130
                                                         7261 ENGLE ROAD
MILLER, THEODORE A      2168 SANDLEWOOD DR                                                                           SHELBY TWP         MI   48316‐1053
MILLER, THEODORE E      1832 RAINBOW DR                                                                              KETTERING          OH   45420‐3655
MILLER, THEODORE J      1294 N 300 E                                                                                 ANDERSON           IN   46012‐9749
MILLER, THEODORE J      5700 N CATTLEMEN DR                                                                          PRESCOTT VLY       AZ   86314‐4303
MILLER, THERESA         106 BROADWAY BLVD                                                                            BATTLE CREEK       MI   49037‐1524
MILLER, THERESA J       10305 BREEZEWAY CIR                                                                          BROWNSBURG         IN   46112‐8955
MILLER, THERESE N       506 MALLEE CT                                                                                CLAYTON            OH   45315‐9662
MILLER, THERON LOUIS    MEGGESIN LAURIE J                3102 OAK LAWN AVE STE 1100                                  DALLAS             TX   75219‐4283
MILLER, THOMAS          362 HORSESHOE CT                                                                             GRAND BLANC        MI   48439‐7081
MILLER, THOMAS          3711 RED CEDAR COURT                                                                         OAKLAND            MI   48363‐2671
MILLER, THOMAS A        6189 LAKEVIEW S                                                                              SAGINAW            MI   48603‐4249
MILLER, THOMAS A        1587 PLAINFIELD AVE NE APT 2                                                                 GRAND RAPIDS       MI   49505‐4944
MILLER, THOMAS A        34550 NANCY ST                                                                               WESTLAND           MI   48186‐4325
MILLER, THOMAS A        34636 HAZELWOOD ST                                                                           WESTLAND           MI   48186‐9714
MILLER, THOMAS A        513 BUCKEYE ST                                                                               GENOA              OH   43430‐1723
MILLER, THOMAS A        8342 WASHBURN RD                                                                             GOODRICH           MI   48438‐9776
MILLER, THOMAS A        48761 DENTON RD                  BLDG 2 APT 4                                                BELLEVEVILLE       MI   48111
MILLER, THOMAS C        2245 OAKRIDGE DR                                                                             FARWELL            MI   48622‐9751
MILLER, THOMAS C        2261 GARNER RD                                                                               MT PLEASANT        TN   38474‐2820
MILLER, THOMAS D        212 E JEFFERSON ST                                                                           GERMANTOWN         OH   45327‐1461
MILLER, THOMAS D        48052 AMANDA DR                                                                              MACOMB             MI   48044‐4955
MILLER, THOMAS D        1326 WALWOOD DR NE                                                                           GRAND RAPIDS       MI   49505‐5749
MILLER, THOMAS DONALD   48052 AMANDA DR                                                                              MACOMB             MI   48044‐4955
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MILLER, THOMAS E        7781 SEDGEWICK DR                                                                     FREELAND           MI 48623‐8428
MILLER, THOMAS E        4375 WEISS ST                                                                         SAGINAW            MI 48603‐4149
MILLER, THOMAS E        1125 CHASEWOOD TRL                                                                    ALPHARETTA         GA 30005‐8877
MILLER, THOMAS E        1113 VINE ST                                                                          CONNELLSVILLE      PA 15425‐4734
MILLER, THOMAS F        400 ELMGROVE RD                                                                       ROCHESTER          NY 14606‐3426
MILLER, THOMAS F        9183 LAKESIDE DR                                                                      PERRINTON          MI 48871‐9639
MILLER, THOMAS F        7987 W 600 N                                                                          SHARPSVILLE        IN 46068‐9396
MILLER, THOMAS F        396 CHARLES AVE                                                                       CORTLAND           OH 44410‐1287
MILLER, THOMAS G        4148 WINCHESTER AVE                                                                   MARTINSBURG        WV 25405‐2546
MILLER, THOMAS G        6236 MCKENZIE DR                                                                      FLINT              MI 48507‐3836
MILLER, THOMAS H        3335 VIRGINIA DR                                                                      COLUMBIAVILLE      MI 48421‐9305
MILLER, THOMAS J        7287 COLDWATER RD                                                                     FLUSHING           MI 48433‐9060
MILLER, THOMAS J        506 W BENWAY RD                                                                       SANFORD            MI 48657‐9303
MILLER, THOMAS J        1991 HARDWICK DR                                                                      LAPEER             MI 48446‐9719
MILLER, THOMAS J        9265 EAST RD                                                                          BURT               MI 48417‐9782
MILLER, THOMAS J        3194 S VASSAR RD                                                                      BURTON             MI 48519‐1671
MILLER, THOMAS J        6927 FAIRVIEW ST                                                                      ANDERSON           IN 46013‐3603
MILLER, THOMAS J        7326 EAST CREEK RD                                                                    LOCKPORT           NY 14094
MILLER, THOMAS J        1453 KEYPORT LN                                                                       GRAYLING           MI 49738‐6751
MILLER, THOMAS J        4239 FLICKINGER RD                                                                    NEY                OH 43549‐9732
MILLER, THOMAS JAMES    3194 S VASSAR RD                                                                      BURTON             MI 48519‐1671
MILLER, THOMAS JOE      4239 FLICKINGER ROAD                                                                  NEY                OH 43549‐9732
MILLER, THOMAS JOSEPH   5261 HAROLD DR                                                                        FLUSHING           MI 48433‐2506
MILLER, THOMAS L        3709 FROST ST NW                                                                      HUNTSVILLE         AL 35810‐2125
MILLER, THOMAS L        23028 COUNTY ROAD H                                                                   ARCHBOLD           OH 43502‐9758
MILLER, THOMAS LEE      23028 COUNTY ROAD H                                                                   ARCHBOLD           OH 43502‐9758
MILLER, THOMAS M        1607 KREMER AVE                                                                       RACINE             WI 53402‐2725
MILLER, THOMAS M        2309 4 MILE RD                                                                        KAWKAWLIN          MI 48631‐9120
MILLER, THOMAS M        62 HALE LN                                                                            GERMANTOWN         OH 45327‐8335
MILLER, THOMAS N        PO BOX 503                                                                            KALIDA             OH 45853‐0503
MILLER, THOMAS R        7415 CANADICE LAKE RD                                                                 SPRINGWATER        NY 14560
MILLER, THOMAS R        13970 RAMHURST DR APT 4                                                               LA MIRADA          CA 90638‐1781
MILLER, THOMAS R        448 OXFORD AVE                                                                        AKRON              OH 44310‐3354
MILLER, THOMAS R        5465 LEXINGTON WOODS LN                                                               ALPHARETTA         GA 30005‐6777
MILLER, THOMAS R        3044 W GRAND BLVD             C/O CORDOBA RM 3‐220                                    DETROIT            MI 48202‐3009
MILLER, THOMAS S        41500 RACHAEL DRIVE                                                                   LAGRANGE           OH 44050‐9003
MILLER, THOMAS W        7319 MONROE ST                ENCHANTED VALLEY RANCH                                  MISSION            TX 78572‐8949
MILLER, THOMAS W        4401 HODGKINS RD                                                                      FORT WORTH         TX 76135‐2136
MILLER, THOMAS W        71 KENILWORTH RD                                                                      MOUNTAIN LAKES     NJ 07046‐1005
MILLER, THURMAN R       3777 AVON LAKE RD                                                                     LITCHFIELD         OH 44253‐9522
MILLER, TIFFANY ANN     8251 OLD WHITE LAKE RD                                                                WHITE LAKE         MI 48386‐1109
MILLER, TIFFANY D       405 S WALNUT ST                                                                       ENGLEWOOD          OH 45322‐1627
MILLER, TIM A           2970 DEARBORN AVE                                                                     ROCHESTER HILLS    MI 48309‐4303
MILLER, TIMOTHY         15493 GRANDVILLE AVE                                                                  DETROIT            MI 48223‐1710
MILLER, TIMOTHY         11450 MOORE ST                                                                        ROMULUS            MI 48174‐3823
MILLER, TIMOTHY         5127 PINEBROOK CT                                                                     FLUSHING           MI 48433‐1389
MILLER, TIMOTHY A       6525 CROSS CREEK TRAIL                                                                BRECKSVILLE        OH 44141‐3138
MILLER, TIMOTHY A       143 TEAL ST                                                                           ELYRIA             OH 44035‐8384
MILLER, TIMOTHY A       200 PINEVIEW DR NE                                                                    WARREN             OH 44484‐6412
MILLER, TIMOTHY EARL    8118 JORDAN RD                                                                        GRAND BLANC        MI 48439‐9623
MILLER, TIMOTHY K       5336 TIMBERWOOD POINT DR                                                              FLINT              MI 48532‐2266
MILLER, TIMOTHY L       1130 N PATTERSON AVE                                                                  SANTA BARBARA      CA 93111‐1136
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Name                    Address1                        Address2              Address3         Address4         City                   State Zip
MILLER, TIMOTHY M       3952 S 9 MILE RD                                                                        WHEELER                 MI 48662‐9607
MILLER, TIMOTHY R       1725 CLIFF VIEW DR.             APT R1034                                               ROCHESTER HILLS         MI 48306
MILLER, TIMOTHY R       5051 GLENMORE RD                                                                        ANDERSON                IN 46012‐9734
MILLER, TIMOTHY R       54355 ROYAL TROON DR                                                                    SOUTH LYON              MI 48178‐9414
MILLER, TIMOTHY R.      5051 GLENMORE RD                                                                        ANDERSON                IN 46012‐9734
MILLER, TIMOTHY S       43 WEDGEWOODE LN                                                                        PONTIAC                 MI 48340‐2271
MILLER, TIMOTHY S       2680 N. 250 E. RD.                                                                      DANVILLE                IN 46122
MILLER, TIMOTHY SCOTT   2680 N. 250 E. RD.                                                                      DANVILLE                IN 46122
MILLER, TIMOTHY T       54 FOREST HILL DR                                                                       HUBBARD                 OH 44425‐2164
MILLER, TIMOTHY W       213 GROVE ST                                                                            MANITOU BEACH           MI 49253‐9009
MILLER, TINA K          3557 LYNWOOD DR NW                                                                      WARREN                  OH 44485‐1316
MILLER, TOBBY D         849 HENDERSON RD                                                                        HOWELL                  MI 48855‐8762
MILLER, TODD A          500 W SABINE ST                                                                         CARTHAGE                TX 75633‐2424
MILLER, TODD ANDREW     500 W SABINE ST                                                                         CARTHAGE                TX 75633‐2424
MILLER, TODD L          S76W39985 COUNTY ROAD ZZ                                                                EAGLE                   WI 53119‐1143
MILLER, TODD LOUIS      S76W39985 COUNTY ROAD ZZ                                                                EAGLE                   WI 53119‐1143
MILLER, TODD R          535 ROHM DR                                                                             NAPOLEON                OH 43545‐2318
MILLER, TOM             1200 NW TRENTON PL                                                                      BLUE SPRINGS            MO 64015‐2335
MILLER, TOM J           5021 STATE ROAD 37                                                                      MITCHELL                IN 47446‐5373
MILLER, TOM L.          1200 NW TRENTON PL                                                                      BLUE SPRINGS            MO 64015‐2335
MILLER, TOM M           3717 FRANCIS AVE SE                                                                     WYOMING                 MI 49548‐3257
MILLER, TOMEKA M        201 N SQUIRREL RD APT 1804                                                              AUBURN HILLS            MI 48326
MILLER, TOMMIE W        2908 GLENBROOK DR                                                                       LANSING                 MI 48911‐2339
MILLER, TOMMIE WESLEY   2908 GLENBROOK DR                                                                       LANSING                 MI 48911‐2339
MILLER, TONI D          2602 ELLIOTT AVE                                                                        MANSFIELD               TX 76063‐3700
MILLER, TONY
MILLER, TORI T          739 BETNER DR                                                                           MANSFIELD              OH   44907‐2707
MILLER, TRACI M         PO BOX 23018                                                                            GRELTON                OH   43523‐0018
MILLER, TRACI MARIE     PO BOX 23018                                                                            GRELTON                OH   43523‐0018
MILLER, TRACY M         1271 E 16TH AVE                                                                         COLUMBUS               OH   43211
MILLER, TRAVIS          7010 GREENSPRING DR                                                                     ARLINGTON              TX   76016‐5033
MILLER, TRAVIS T        1437 CHARWOOD RD                                                                        MOUNT MORRIS           MI   48458‐2776
MILLER, TREVOR K        8207 TRAVIS CT                                                                          FRANKLIN               OH   45005‐4035
MILLER, TRISHA J        427 CRESTWOOD DR                                                                        DIMONDALE              MI   48821‐9770
MILLER, TRISHA JO       427 CRESTWOOD DR                                                                        DIMONDALE              MI   48821‐9770
MILLER, TROY            7212 BURRWOOD DR APT B                                                                  SAINT LOUIS            MO   63121‐1652
MILLER, TROY D          9035 TUCKER RD                                                                          EATON RAPIDS           MI   48827‐9587
MILLER, TROY M          3143 VENTURA BLVD                                                                       GROVE CITY             OH   43123‐3471
MILLER, ULYSS F         210 S FISHER ST                                                                         MCPHERSON              KS   67460
MILLER, ULYSS FRED      210 S FISHER ST                                                                         MCPHERSON              KS   67460
MILLER, URBAN E         2545 CHEROKEE RD                                                                        JANESVILLE             WI   53545‐2201
MILLER, URI F           4807 CHRISTIANSEN RD                                                                    LANSING                MI   48910‐5122
MILLER, VALERIA J       47074 GLASTONBURY DR                                                                    CANTON                 MI   48188‐6241
MILLER, VALERIA JANE    47074 GLASTONBURY DR                                                                    CANTON                 MI   48188‐6241
MILLER, VALERIE         14 STEVE MILLER DR                                                                      WAYNESBORO             MS   39367‐8002
MILLER, VALLEY L        1180 HAYWOOD RD APT 116                                                                 GREENVILLE             SC   29615‐2204
MILLER, VAN G           908 TULIP ST                                                                            LAUREL                 MS   39440‐4862
MILLER, VAUGHN C        4711 COUNTY ROAD 3                                                                      SWANTON                OH   43558‐9048
MILLER, VAXTER L        19703 HATHAWAY LN                                                                       WARRENSVILLE HEIGHTS   OH   44122‐6937
MILLER, VELDA M         2709 GLENWOOD                                                                           INDEPENDENCE           MO   64052‐1338
MILLER, VELDA M         2709 S GLENWOOD AVE                                                                     INDEPENDENCE           MO   64052‐1338
MILLER, VELMA L         25400 ROCKSIDE RD APT 517                                                               BEDFORD HEIGHTS        OH   44146‐1919
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Name                   Address1                          Address2                      Address3   Address4         City               State Zip
MILLER, VELMA R        2673 ENGLISH IVY CIR                                                                        THE VILLAGES        FL 32162‐2060
MILLER, VELMER J       167 COUNTRYSIDE DR                                                                          MEDINA              OH 44256‐3820
MILLER, VENUS C        1805 WILLAMET                                                                               KETTERING           OH 45429‐4252
MILLER, VENUS C        1805 WILLAMET RD                                                                            KETTERING           OH 45429‐4252
MILLER, VERA           527 W SOUTH ST                                                                              UPLAND              IN 46989‐9015
MILLER, VERA           527 W. SOUTH STREET                                                                         UPLAND              IN 46989‐9015
MILLER, VERA E         905 LARCH PINES CT                                                                          LADSON              SC 29456‐3117
MILLER, VERA J         13663 NORTHLAWN ST                                                                          DETROIT             MI 48238‐2487
MILLER, VERA M         127 GRACE ST                                                                                DANVILLE             IL 61832‐6115
MILLER, VERA M         127 GRACE                                                                                   DANVILLE             IL 61832‐6115
MILLER, VERLE D        206 GEORGE ST                                                                               FLUSHING            MI 48433‐1646
MILLER, VERNA A        DAWN VAN BECK                     CO‐GUARDIAN OF VERNA MILLER                               SARASOTA            FL 34232
MILLER, VERNA J        561 SOUTH PEPPERTREE DR                                                                     GILBERT             AZ 85296
MILLER, VERNA M        6105 BRIDGE AVE                                                                             CLEVELAND           OH 44102‐3120
MILLER, VERNA W        1617 SW 93RD ST                                                                             OKLAHOMA CITY       OK 73159‐7111
MILLER, VERNON A       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
MILLER, VERNON D       29503 TURNBERRY DR                                                                          DAGSBORO           DE   19939‐3419
MILLER, VERNON L       6510 SALLY CT                                                                               FLINT              MI   48505‐2551
MILLER, VERNON P       4433 EAST SHELBY ROAD                                                                       MEDINA             NY   14103‐9787
MILLER, VERNON S       PO BOX 73                                                                                   MIDDLETOWN         IN   47356‐0073
MILLER, VERNON W       PO BOX 487                                                                                  PECULIAR           MO   64078‐0487
MILLER, VERONICA       3701 CIRCLE DR                                                                              FLINT              MI   48507‐1878
MILLER, VERONICA M     526 W 3RD ST                                                                                WILMINGTON         DE   19801‐2320
MILLER, VICKI L        6380 E MOUNT MORRIS RD                                                                      MOUNT MORRIS       MI   48458‐9704
MILLER, VICKIE L       2721 W WASHTENAW ST                                                                         LANSING            MI   48917‐3869
MILLER, VICKIE S       6157 N VASSAR RD                                                                            FLINT              MI   48506‐1237
MILLER, VICKY L        208 HOLLAND AVE                                                                             DAYTON             OH   45427
MILLER, VICKY M        2247 NORTH CAROLINA STREET                                                                  SAGINAW            MI   48602‐3870
MILLER, VICTOR B       2275 MARA DR                                                                                KAWKAWLIN          MI   48631‐9448
MILLER, VICTOR G       2169 N PORTER RD                                                                            ONAWAY             MI   49765‐8992
MILLER, VICTOR J       7340 WILSON RD                                                                              OTISVILLE          MI   48463‐9473
MILLER, VICTOR JAMES   7340 WILSON RD                                                                              OTISVILLE          MI   48463‐9473
MILLER, VICTOR L       74 CREE TER                                                                                 RISING SUN         MD   21911‐1314
MILLER, VINA           1882 BLUE CEDAR DR                                                                          MANSFIELD          OH   44904‐1702
MILLER, VINCE          5456 S NINEVEH RD                                                                           FRANKLIN           IN   46131‐7244
MILLER, VINE B         1409 E S.R. 28                                                                              MUNCIE             IN   47303
MILLER, VIOLA          4141 MCCARTY ROAD                 APT 204                                                   SAGINAW            MI   48603
MILLER, VIOLA          4141 MCCARTY RD APT 204                                                                     SAGINAW            MI   48603‐9329
MILLER, VIOLA M        238 E CARROLL AVE                                                                           NEWFOLDEN          MN   56738‐3753
MILLER, VIOLET         2130 CHEVY CHASE                                                                            DAVIDSON           MI   48423‐2004
MILLER, VIOLET M       1514 HOUGHTON ST                                                                            SAGINAW            MI   48602‐5119
MILLER, VIOLET M.      801 CLAYPOOL ROAD                                                                           MUNCIE             IN   47303‐3348
MILLER, VIOLET M.      801 N CLAYPOOL RD                                                                           MUNCIE             IN   47303‐3348
MILLER, VIRGIL L       5275 W FRANKLIN RD                                                                          MERIDIAN           ID   83642‐5351
MILLER, VIRGIL O       650 N PLEASANT VALLEY AVE                                                                   DAYTON             OH   45404‐2436
MILLER, VIRGIL R       1A CAPE WAY                                                                                 LEBANON            OH   45036‐1312
MILLER, VIRGIL T       10469 INDIAN CREEK RD                                                                       TUSCALOOSA         AL   35405‐9599
MILLER, VIRGINIA       9103 S SIRE ST                                                                              DETROIT            MI   48209‐2631
MILLER, VIRGINIA       42950 CHRISTINA DR                                                                          STERLING HEIGHTS   MI   48313‐2627
MILLER, VIRGINIA A     5 BENNETT LN UNIT B                                                                         NORWALK            OH   44857‐2636
MILLER, VIRGINIA A     5 BENNETT LANE                    APT B                                                     NORWALK            OH   44857‐2636
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Name                 Address1                      Address2                    Address3   Address4         City              State Zip
MILLER, VIRGINIA B   4720 TALMADGE RD.                                                                     TOLEDO             OH 43623‐3009
MILLER, VIRGINIA E   19747 GLENNELL                                                                        MOKENA              IL 60448‐1253
MILLER, VIRGINIA M   3 PEARSON DR                                                                          BYFIELD            MA 01922‐1428
MILLER, VIRGINIA R   PO BOX 84                                                                             NEW CASTLE         IN 47362‐0084
MILLER, VIVIAN A     1109 EMERY ST                                                                         KOKOMO             IN 46902‐2636
MILLER, VIVIAN G     8202 PERKINS ST.                                                                      MASURY             OH 44438‐8726
MILLER, VIVIAN J     1455 COHANSEY ST                                                                      SAINT PAUL         MN 55117‐3517
MILLER, VIVIAN L     1106 PARADISE DR                                                                      LADY LAKE          FL 32159‐6108
MILLER, VIVIAN M     C/O KAREN BUNDY               8814 W MEADOWS DR                                       ECKERTY            IN 47116
MILLER, VIVIAN M     9500 NE 46TH ST                                                                       SPENCER            OK 73084‐2709
MILLER, VIVIAN M     8814 W MEADOWS DR             C/O KAREN BUNDY                                         ECKERTY            IN 47116‐9542
MILLER, VIVIN L      607 HIGH ST                                                                           ELYRIA             OH 44035‐3149
MILLER, VONDA P      1975 N THOMPSON ST                                                                    KANSAS CITY        KS 66101‐1745
MILLER, WALLACE C    5424 COUNTRY HEARTH LANE                                                              GRAND BLANC        MI 48439‐9187
MILLER, WALLACE G    111 CIMARAND DR                                                                       WILLIAMSVILLE      NY 14221‐1429
MILLER, WALTER C     2013 29TH AVENUE NORTHWEST                                                            SAINT PAUL         MN 55112‐5349
MILLER, WALTER C     538 CROWN LAKE DR SE                                                                  DALTON             GA 30721‐4976
MILLER, WALTER E     8077 WOODLAND DR                                                                      HONOR              MI 49640‐9443
MILLER, WALTER G     16074 66TH CT N                                                                       LOXAHATCHEE        FL 33470‐5711
MILLER, WALTER H     8840 CR 622A                                                                          BUSHNELL           FL 33513
MILLER, WALTER J     918 VICTORIA DR                                                                       FRANKLIN           OH 45005‐1558
MILLER, WALTER K     1603 S WALL AVE                                                                       MUNCIE             IN 47302‐3849
MILLER, WALTER L     3948 PELICAN CT                                                                       LAKELAND           FL 33812‐4143
MILLER, WALTER R     122 AUBURN WOODS CIR                                                                  VENICE             FL 34292‐3085
MILLER, WALTER W     SIMMONS FIRM                  PO BOX 559                                              WOOD RIVER          IL 62095‐0559
MILLER, WANDA        411 ELM ST                    APT# 204                                                NEWPORT            KY 41071‐1201
MILLER, WANDA J      2329 GLENWOOD AVE                                                                     SAGINAW            MI 48601‐3538
MILLER, WANDA L      1088 SHADOW RIDGE RD                                                                  INDIANAPOLIS       IN 46280‐2757
MILLER, WANDA N      711 TOMAHAWK BLVD                                                                     KOKOMO             IN 46902‐5557
MILLER, WANDA P      3242 FRANCES LN                                                                       KOKOMO             IN 46902‐9706
MILLER, WARD D       2724 HAWTHORNE DR S                                                                   SHELBY TOWNSHIP    MI 48316‐5541
MILLER, WARREN D     5542 OLD FINGLAS CT                                                                   DUBLIN             OH 43017‐2441
MILLER, WARREN D     3441 ELECTRIC AVE                                                                     LINCOLN PARK       MI 48146‐3109
MILLER, WARREN D     313 JEANWOOD CT                                                                       BALTIMORE          MD 21222‐2857
MILLER, WARREN G     19711 SAINT MARYS ST 2                                                                DETROIT            MI 48235
MILLER, WARREN L     733 WOODVALLEY DR                                                                     CORUNNA            MI 48817‐2209
MILLER, WASH H       86 PAWPAW ST                                                                          DAYTON             OH 45404‐2251
MILLER, WAYNE A      624 E PEARL ST                                                                        GREENWOOD          IN 46143‐1413
MILLER, WAYNE A      6070 RAPHAEL CT                                                                       WHITE LAKE         MI 48383‐1199
MILLER, WAYNE D      3191 EGGERS DR                                                                        FREMONT            CA 94536‐5270
MILLER, WAYNE D      2216 ANOKA ST                                                                         FLINT              MI 48532‐4405
MILLER, WAYNE E      PO BOX 441                                                                            ROCKMART           GA 30153‐0441
MILLER, WAYNE F      ANGELOS PETER G               100 N CHARLES STREET, ONE                               BALTIMORE          MD 21201‐3812
                                                   CHARLES CENTER
MILLER, WAYNE J      4826 JUDAH LOGAN RD                                                                   BEDFORD           IN   47421‐8006
MILLER, WAYNE J      4501 WILLOW DR                                                                        KOKOMO            IN   46901‐6448
MILLER, WAYNE J      801 BROWN ST                                                                          MARINE CITY       MI   48039‐1742
MILLER, WAYNE J      34378 IVY CT                                                                          CHESTERFIELD      MI   48047‐3170
MILLER, WAYNE JOHN   801 BROWN ST                                                                          MARINE CITY       MI   48039‐1742
MILLER, WAYNE L      6924 MAPLEWOOD DR                                                                     TEMPERANCE        MI   48182‐1325
MILLER, WAYNE L      2010 HOLTMAN DR NE                                                                    GRAND RAPIDS      MI   49525‐2418
MILLER, WAYNE P      4481 BRISTOLWOOD DR                                                                   FLINT             MI   48507‐3722
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Name                    Address1                          Address2                       Address3   Address4         City              State Zip
MILLER, WAYNE R         10050 SPRINGFIELD CIR                                                                        DAVISBURG          MI 48350‐1186
MILLER, WAYNE T         6382 W COLDWATER RD                                                                          FLUSHING           MI 48433‐9038
MILLER, WAYNE W         5830 BRICKEL DR                                                                              SAGINAW            MI 48601‐9221
MILLER, WENDELL D       2545 STATE ROUTE 503                                                                         ARCANUM            OH 45304‐9208
MILLER, WENDY S         113 S VISTA                                                                                  AUBURN HILLS       MI 48326‐1447
MILLER, WENDY W         1807 SHERIDAN AVE NE                                                                         WARREN             OH 44483‐3539
MILLER, WESLEY          3957 AKIN RIDGE RD                                                                           WILLIAMSPORT       TN 38487‐2106
MILLER, WESLEY          7062 LEAF CIRCLE                                                                             MT MORRIS          MI 48458
MILLER, WESLEY          7062 LEAF CIR                                                                                MOUNT MORRIS       MI 48458‐9424
MILLER, WESLEY A        123 W MCGUIRE ST                                                                             BELL BUCKLE        TN 37020‐6056
MILLER, WESLEY C        4085 MILLSBORO RD W                                                                          MANSFIELD          OH 44903‐8788
MILLER, WESLEY E        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                          STREET, SUITE 600
MILLER, WESLEY J        9210 COLEMAN RD                                                                              HASLETT           MI   48840‐9326
MILLER, WILBER J        8484 SHIELDS DRIVE‐#202                                                                      SAGINAW           MI   48609
MILLER, WILBERT D       762 E MANSFIELD AVE                                                                          PONTIAC           MI   48340‐2950
MILLER, WILEY R         ROUTE 1, BOX 79                                                                              WATERFORD         WI   53185
MILLER, WILFRED L       WISE & JULIAN                     156 N MAIN ST STOP 1                                       EDWARDSVILLE      IL   62025‐1972
MILLER, WILLA D         3693 MANCHESTER DR                                                                           BRUNSWICK         OH   44212‐4125
MILLER, WILLARD E       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510
                                                          STREET, SUITE 600
MILLER, WILLARD L       3345 BROCK DR                                                                                TOLEDO            OH   43613‐1034
MILLER, WILLARD LLOYD   3345 BROCK DR                                                                                TOLEDO            OH   43613‐1034
MILLER, WILLARD R       9348 STATE ROUTE 82                                                                          GARRETTSVILLE     OH   44231‐9427
MILLER, WILLIAM         FARM BUREAU INS                   7373 W SAGINAW HWY BOX 30400                               LANSING           MI   48909

MILLER, WILLIAM         PORTER & MALOUF PA                4670 MCWILLIE DR                                           JACKSON           MS 39206‐5621
MILLER, WILLIAM         ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                  BALTIMORE         MD 21202
                                                          CHARLES CENTER 22ND FLOOR
MILLER, WILLIAM         70769 NATURES WAY                                                                            RICHMOND          MI 48062‐5549
MILLER, WILLIAM         830 PARK CENTRAL NORTH COURT      APT B                                                      INDIANAPOLIS      IN 46260
MILLER, WILLIAM
MILLER, WILLIAM A       97 BOWMAN RD                                                                                 HANOVER           PA   17331‐4229
MILLER, WILLIAM A       3066 JUDAH RD                                                                                ORION             MI   48359‐2152
MILLER, WILLIAM A       633 RASKOB ST                                                                                PONTIAC           MI   48340‐3040
MILLER, WILLIAM A       7520 GREER DR                                                                                FORT WASHINGTON   MD   20744‐3319
MILLER, WILLIAM A       6116 IRVING WAY                                                                              SALISBURY         MD   21801
MILLER, WILLIAM A       3190 N ATLANTIC AVE APT 211                                                                  COCOA BEACH       FL   32931‐3363
MILLER, WILLIAM A       8717 CHRISTY RD. RT. 2                                                                       DEFIANCE          OH   43512
MILLER, WILLIAM B       PO BOX 2273                                                                                  HOWELL            MI   48844‐2273
MILLER, WILLIAM C       8233 N GENESEE RD                                                                            MOUNT MORRIS      MI   48458‐8985
MILLER, WILLIAM C       1869 HIGHNESS CT                                                                             ORLANDO           FL   32810
MILLER, WILLIAM C       616 DEWITT ST                                                                                LINDEN            NJ   07036‐5010
MILLER, WILLIAM C       18560 CREST CT                                                                               BROOKFIELD        WI   53045‐7415
MILLER, WILLIAM D       4309 N JANE WAY                                                                              WILMINGTON        DE   19804‐4008
MILLER, WILLIAM D       LOT 93                            8499 EAST M 71                                             DURAND            MI   48429‐1005
MILLER, WILLIAM D       2411 LANGLEY RD                                                                              PADUCAH           KY   42003‐0257
MILLER, WILLIAM D       845 WEMPLE RD                                                                                BOSSIER CITY      LA   71111‐2078
MILLER, WILLIAM D       16 TOWER PL                                                                                  FORT THOMAS       KY   41075‐2135
MILLER, WILLIAM D       1560 PEBBLE BEACH DR                                                                         PONTIAC           MI   48340‐1367
MILLER, WILLIAM D       11035 WILLOW CREEK DR                                                                        FORT WAYNE        IN   46845‐8932
MILLER, WILLIAM D       332 OLDHAM WAY                                                                               ENGLEWOOD         OH   45322‐1744
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Name                       Address1                            Address2                     Address3   Address4         City            State Zip
MILLER, WILLIAM D          8499 E M 71 LOT 93                                                                           DURAND           MI 48429‐1005
MILLER, WILLIAM D          2670 SIGNATURE CIR                                                                           PINCKNEY         MI 48169‐8165
MILLER, WILLIAM E          315 ROOT RD                                                                                  BROCKPORT        NY 14420
MILLER, WILLIAM E          1212 PEARL ST APT 303                                                                        ANDERSON         IN 46016
MILLER, WILLIAM E          2905 RIDGEVIEW CT                                                                            AUGUSTA          GA 30909‐9651
MILLER, WILLIAM E          2934 S LEAVITT RD SW                                                                         WARREN           OH 44481‐9119
MILLER, WILLIAM E          319 JEFFERSON BLVD                                                                           GREENFIELD       IN 46140‐1856
MILLER, WILLIAM E          5164 MARK DAVID DR                                                                           SWARTZ CREEK     MI 48473‐8500
MILLER, WILLIAM E          7064 W 200 S                                                                                 RUSSIAVILLE      IN 46979‐9428
MILLER, WILLIAM F          4250 DUKE CT B20‐3                                                                           BRUNSWICK        OH 44212
MILLER, WILLIAM F          520 RICHMOND DR                                                                              PATASKALA        OH 43062‐8095
MILLER, WILLIAM F          2303 FAIRWAY CIR SE                                                                          DECATUR          AL 35601‐6529
MILLER, WILLIAM F          3605 PRATT RD                                                                                METAMORA         MI 48455‐9713
MILLER, WILLIAM F          11098 ARMSTRONG DR N                                                                         SAGINAW          MI 48609‐9466
MILLER, WILLIAM F          1981 PLAYER PL                                                                               KOKOMO           IN 46902‐5080
MILLER, WILLIAM F          102 EAST GREEN STREET                                                                        MIDDLETOWN       DE 19709‐1423
MILLER, WILLIAM G          1088 W REID RD                                                                               FLINT            MI 48507‐4658
MILLER, WILLIAM G          5448 MONTICELLO DR                                                                           LAPEER           MI 48446‐9768
MILLER, WILLIAM G          1709 HAYSHED RD                                                                              CHARLOTTE        TN 37036
MILLER, WILLIAM G          1227 FAVERSHAM LN                                                                            ROCK HILL        SC 29730‐7063
MILLER, WILLIAM H          507 MOSSOAK DR APT 4                                                                         KETTERING        OH 45429‐3234
MILLER, WILLIAM H          303 CRESTWOOD ST                                                                             TILTON            IL 61833‐7526
MILLER, WILLIAM H          15865 KINGSLEY ST                                                                            SOUTHGATE        MI 48195‐3067
MILLER, WILLIAM H          3991 DAVISON RD                                                                              LAPEER           MI 48446‐2884
MILLER, WILLIAM H          APT 4                               507 MOSSOAK DRIVE                                        DAYTON           OH 45429‐3234
MILLER, WILLIAM H          1931 WORD RD                                                                                 LEWISBURG        TN 37091‐6708
MILLER, WILLIAM H          7215 39TH LN E                                                                               SARASOTA         FL 34243‐5134
MILLER, WILLIAM H          3850 SAILMAKER LN 2305                                                                       HOLIDAY          FL 34691
MILLER, WILLIAM HOWARD     3991 DAVISON RD                                                                              LAPEER           MI 48446‐2884
MILLER, WILLIAM J          158 LINDEN AVE                                                                               SPRINGFIELD      NJ 07081‐1833
MILLER, WILLIAM J          8435 LAMBS CREEK CHURCH RD                                                                   KING GEORGE      VA 22485‐7213
MILLER, WILLIAM J          2514 DEVONSHIRE AVENUE                                                                       LANSING          MI 48910‐3645
MILLER, WILLIAM J          922 N 2ND ST                                                                                 DECATUR          IN 46733‐1341
MILLER, WILLIAM J          4007 RETRO HUGHES RD                                                                         GRAYSVILLE       TN 37338‐6901
MILLER, WILLIAM J          1005 FOXCHASE LN                                                                             BALTIMORE        MD 21221‐5909
MILLER, WILLIAM J          14328 ELSETTA AVE                                                                            CLEVELAND        OH 44135‐2031
MILLER, WILLIAM J          17 BURNHAM GLN                                                                               SAN ANTONIO      TX 78257‐1256
MILLER, WILLIAM J          220 WHITE PICKET TRL                                                                         MERIDIANVILLE    AL 35759
MILLER, WILLIAM J          3881 BRISTOL CT                                                                              CLARKSTON        MI 48348‐3613
MILLER, WILLIAM JOHNSTON   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                               BIRMINGHAM       MI 48009‐5394
                                                               406
MILLER, WILLIAM L          1324 FAIRWAY DR                                                                              BIRMINGHAM      MI   48009‐1808
MILLER, WILLIAM L          4161 WHITEGATE DR                                                                            DAYTON          OH   45430‐1956
MILLER, WILLIAM L          4601 MARBLE CT                                                                               NEWBURGH        IN   47630‐8727
MILLER, WILLIAM L          2041 W CATALPA AVE                                                                           ANAHEIM         CA   92801‐3407
MILLER, WILLIAM L          1025 FOREST COMMONS DR                                                                       AVON            IN   46123‐7592
MILLER, WILLIAM L          993 WPA RD                                                                                   MITCHELL        IN   47446‐5470
MILLER, WILLIAM L          518 LINDEN WAY DR                                                                            SANDUSKY        OH   44870‐6300
MILLER, WILLIAM L          404 S STATE RD APT 3                                                                         DAVISON         MI   48423‐1565
MILLER, WILLIAM L          7871 DAVMOR AVE                                                                              STANTON         CA   90680‐3110
MILLER, WILLIAM L          PO BOX 269                                                                                   SWARTZ CREEK    MI   48473‐0269
MILLER, WILLIAM M          284 MAPLE RUN                                                                                MASON           MI   48854‐1057
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Name                    Address1                           Address2                      Address3   Address4         City              State Zip
MILLER, WILLIAM M       602 CARTER ST                                                                                COLUMBIA           TN 38401‐2836
MILLER, WILLIAM M       416 GOLDENROD DR                                                                             HOUGHTON LAKE      MI 48629‐8919
MILLER, WILLIAM M       2689 WINDEMERE                                                                               NORTH BRANCH       MI 48461‐9758
MILLER, WILLIAM N       607 CHESTNUT DR                                                                              GAS CITY           IN 46933‐1248
MILLER, WILLIAM O       4415 CAROL AVE SW                                                                            GRAND RAPIDS       MI 49519‐4519
MILLER, WILLIAM O       21045 W BRAXTON LN                                                                           PLAINFIELD          IL 60544
MILLER, WILLIAM P       BRAYTON PURCELL                    PO BOX 6169                                               NOVATO             CA 94948‐6169
MILLER, WILLIAM R       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                           STREET, SUITE 600
MILLER, WILLIAM R       12995 SW 52ND LANE RD                                                                        OCALA             FL   34481‐6382
MILLER, WILLIAM R       9600 SW 33RD ST                                                                              OKLAHOMA CITY     OK   73179‐1214
MILLER, WILLIAM R       PO BOX 126                                                                                   WEBSTER SPRINGS   WV   26288‐0126
MILLER, WILLIAM R       230 COLGATE AVE                                                                              DAYTON            OH   45427‐2847
MILLER, WILLIAM R       6977 E. NORTH RIDGE RD.                                                                      NEW LOTHROP       MI   48460
MILLER, WILLIAM R       10449 N FORMAN RD                                                                            IRONS             MI   49644‐9080
MILLER, WILLIAM R       1715 HIGHLAND AVE                                                                            JANESVILLE        WI   53548‐2828
MILLER, WILLIAM R       35500 E PINK HILL RD                                                                         OAK GROVE         MO   64075‐7138
MILLER, WILLIAM R       2015 SHEPHERDSTOWN RD                                                                        MARTINSBURG       WV   25404‐1375
MILLER, WILLIAM R       1302 STRATTON AVE                                                                            NASHVILLE         TN   37206‐2718
MILLER, WILLIAM R       1552 JUTLAND DR                                                                              TRINITY           FL   34655‐4543
MILLER, WILLIAM R       8031 WOODRUSH DR NW                                                                          NORTH CANTON      OH   44720‐5720
MILLER, WILLIAM R       48238 TELEGRAPH RD                                                                           SOUTH AMHERST     OH   44001‐9520
MILLER, WILLIAM S       207 E FRANKLIN ST                                                                            CLINTON           MI   49236‐9583
MILLER, WILLIAM S       409 AMELIA AVENUE                                                                            LEXINGTON         MO   64067‐1719
MILLER, WILLIAM S       6621 7 PINES DR                                                                              BRADENTON         FL   34203‐7870
MILLER, WILLIAM S       409 AMELIA AVE                                                                               LEXINGTON         MO   64067‐1719
MILLER, WILLIAM T       4233 GARIBALDI AVE                                                                           JACKSONVILLE      FL   32210‐8513
MILLER, WILLIAM W       80 HART DR                                                                                   TROY              MI   48098‐4617
MILLER, WILLIAM W       56300 SCHOENHERR RD                                                                          SHELBY TWP        MI   48315‐6412
MILLER, WILLIAM W       1345 HAMMERBERG CT.                APT.5D                                                    FLINT             MI   48507
MILLER, WILLIE B        5265 N 55TH ST                                                                               MILWAUKEE         WI   53218‐3202
MILLER, WILLIE B        3446 RANGELEY ST APT 7                                                                       FLINT             MI   48503‐2964
MILLER, WILLIE J        199 AXTELL AVE                                                                               VINELAND          NJ   08360‐5112
MILLER, WILLIE J        821 SCOTT ST                                                                                 TALLABEGA         AL   35160
MILLER, WILLIE J        412 25TH PL HACKBERRY LN                                                                     TUSCALOOSA        AL   35401
MILLER, WILLIE M        1505 PETTIBONE AVE                                                                           FLINT             MI   48507‐4814
MILLER, WILLIE M        5021 INDIANOLA AVE                                                                           INDIANAPOLIS      IN   46205‐1227
MILLER, WILLIE MAE      4414 GREENLAWN DR                                                                            FLINT             MI   48504‐2028
MILLER, WILLIE MARION   1505 PETTIBONE AVE                                                                           FLINT             MI   48507‐4814
MILLER, WILLIE R        118 NYGARD ST                                                                                MADISON           WI   53713‐2020
MILLER, WILLIS C        10357 MONROE RD                                                                              DURAND            MI   48429‐1818
MILLER, WILLIS C.       10357 MONROE RD                                                                              DURAND            MI   48429‐1818
MILLER, WILMA B         4320 CRESTWOOD AVENUE                                                                        DAYTON            OH   45431‐1805
MILLER, WILMA G         UPPR                               1367 ANDREWS AVENUE                                       LAKEWOOD          OH   44107‐2405
MILLER, WILMA J         5276 RUTH AMY AVE                                                                            WESTERVILLE       OH   43081‐8738
MILLER, WILMA P         904 CORNELL RD                                                                               KOKOMO            IN   46901‐1572
MILLER, WILMER J        938 MAYNARD RD                                                                               PORTLAND          MI   48875‐1222
MILLER, WILSON          9219 JILL MARIE LN                                                                           SWARTZ CREEK      MI   48473‐8613
MILLER, WILSON L        523 HIGH ST                                                                                  FREMONT           OH   43420‐3409
MILLER, WINDA           4383 S M 76                                                                                  WEST BRANCH       MI   48661‐8745
MILLER, WINFRED L       6588 S 200 E                                                                                 MARKLEVILLE       IN   46056‐9704
MILLER, WINOLA L        603 N VIERWOOD WAY                                                                           MUNCIE            IN   47304‐3502
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Name                                   Address1                         Address2                   Address3   Address4         City                   State Zip
MILLER, WINSTON C                      53 PROMENADE AVE                                                                        STANTON                 KY 40380‐2033
MILLER, WINSTON W                      PO BOX 301                                                                              WYANDOTTE               MI 48192‐0301
MILLER, WORTH R                        PO BOX 191                                                                              MARENGO                 IN 47140‐0191
MILLER, WYINONA A                      1170 HOLTSLANDER AVE                                                                    FLINT                   MI 48505‐1646
MILLER, YOLANDA D                      305 APPLEWOOD DR                                                                        ROCHESTER               NY 14612‐3541
MILLER, YVONNE D                       APT 15102                        9807 NORTH FM 620                                      AUSTIN                  TX 78726‐2274
MILLER, ZACHARY L                      PO BOX 96                        250 W WATER ST (                                       MAPLE RAPIDS            MI 48853‐0096
MILLER, ZACHARY LEE                    PO BOX 96                        250 W WATER ST (                                       MAPLE RAPIDS            MI 48853‐0096
MILLER, ZANA                           104 POLK ST                                                                             COLUMBIA                TN 38401‐4450
MILLER,DAVID J                         964 GARVER RD                                                                           MIDDLETOWN              OH 45044‐8929
MILLER,DREW D                          53594 POINSETTIA DR                                                                     MACOMB                  MI 48042‐5795
MILLER,EDWARD C                        1512 CARDINGTON RD                                                                      DAYTON                  OH 45409‐1745
MILLER,JEFF M                          10112 MIAMISBURG SPRINGBORO RD                                                          MIAMISBURG              OH 45342‐4755
MILLER,JOHN C                          1206 NUNNERY DR                                                                         MIAMISBURG              OH 45342‐1715
MILLER,JOHN D                          60 ELMWOOD DR                                                                           SPRINGBORO              OH 45066‐1406
MILLER,MARY K                          522 E PEARL ST                                                                          MIAMISBURG              OH 45342‐2356
MILLER,MATTHEW C                       8021 ODELL ST                                                                           NORTH RICHLAND HILLS    TX 76180‐3543
MILLER,TERRY L                         PO BOX 49664                                                                            DAYTON                  OH 45449‐0664
MILLER‐ HYDE, IRENE M                  9251 MONICA DRIVE                                                                       DAVISON                 MI 48423
MILLER‐ HYDE, IRENE M                  9251 MONICA DR                                                                          DAVISON                 MI 48423‐2861
MILLER‐BRONIAK, PAMALA R               10128 ABERDEEN DR                                                                       GRAND BLANC             MI 48439‐9574
MILLER‐COLE, ANNETTE L                 PO BOX 577                                                                              SPRING HILL             TN 37174‐0577
MILLER‐COLE, ANNETTE LOUISE            PO BOX 577                                                                              SPRING HILL             TN 37174‐0577
MILLER‐FRANCIS, SHERRY L               15004 KNEISEL RD                                                                        VERMILION               OH 44089‐9542
MILLER‐FRANCIS, SHERRY LYNN            15004 KNEISEL RD                                                                        VERMILION               OH 44089‐9542
MILLER‐GARDNER, CRYSTAL N              PO BOX 9188                                                                             MONROE                  LA 71211‐9188
MILLER‐HANCOCK, PATRICE L              3097 EMO RD                                                                             WAYLAND                 NY 14572‐9419
MILLER‐HANCOCK, PATRICE L              3097 EMO ROAD                                                                           WAYLAND                 NY 14572
MILLER‐HOFFMAN, GRETE E                1163 MERRICK AVE NW                                                                     PALM BAY                FL 32907‐7925
MILLER‐HOLT, CHARLENE A                5901 CROSSCREEK DR.                                                                     SWARTZ CREEK            MI 48473‐1484
MILLER‐HOLT, CHARLENE A                5901 CROSS CREEK DR                                                                     SWARTZ CREEK            MI 48473‐1484
MILLER‐KAHN, CAROL A                   5645 GREENSBORO WAY                                                                     GLADWIN                 MI 48624‐8115
MILLER‐KLAMUT, BARRI M                 2044 S 74TH ST                                                                          MILWAUKEE               WI 53219‐1248
MILLER‐LAZAR                           1275 DELAWARE AVE STE B12                                                               BUFFALO                 NY 14209‐2409
MILLER‐PATER, MARY E.                  3338 WOODWIND DR NE                                                                     GRAND RAPIDS            MI 49525‐9679
MILLER‐PAUL, SAMMIE J                  6226 CRESTWOOD AVE                                                                      KALAMAZOO               MI 49048‐9462
MILLER‐PECO, CANDY L                   100 S LAURA CT                                                                          WILMINGTON              DE 19804‐2046
MILLER‐RERKO, BARBARA V                7759 SHAUGHNESSY ROAD                                                                   MINNEAPOLIS             MN 55439‐2639
MILLER‐RERKO, BARBARA V                4291 YGNSTN‐KINGSVILLE RD.                                                              CORTLAND                OH 44410
MILLER‐RICE, PAULA D                   237 BEAVER ST                                                                           BRIGHTON                MI 48116‐1145
MILLER‐STARNES CHEVROLET‐BUICK, INC    476 W CAMERON AVE                                                                       ROCKDALE                TX 76567‐2823

MILLER‐STARNES CHEVROLET‐BUICK, INC.   476 W CAMERON AVE                                                                       ROCKDALE                TX   76567‐2823

MILLER‐STARNES CHEVROLET‐BUICK, INC.   ALLAN MILLER                     476 W CAMERON AVE                                      ROCKDALE                TX   76567‐2823

MILLER‐TATE, GIRLLEANE                 5805 MARLOWE DR                                                                         FLINT                  MI 48504‐7055
MILLER‐VALENTINE PROPERTY              PO BOX 744                                                                              DAYTON                 OH 45401‐0744
MANAGEMENT LTD
MILLER‐VALENTINE REALTY INC            ATTN: STEVE PETERS               4000 MILLER VALENTINE CT                               MORAINE                OH 45439‐1480
MILLER‐VANDENBOS, JONI                 955 LEE ST                                                                              MARTIN                 MI 49070‐5101
MILLER‐WEIAND JUDY                     8201 MACKENZIE RD                                                                       LINCOLN                NE 68505
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Name                          Address1                         Address2                      Address3   Address4         City                  State Zip
MILLER‐ZELL INC               4715 FREDERICK DR SW                                                                       ATLANTA                GA 30336‐1809
MILLERCOORS BREWING COMPANY   BILL DEMPSEY                     PO BOX 4030                                               GOLDEN                 CO 80401‐0030
MILLERIN, GORDON W            503 OAK ST                                                                                 LOCKPORT                IL 60441‐2737
MILLERING, BETTY J            4763 WAKEFIELD NE                                                                          COMSTOCK PARK          MI 49321‐8958
MILLERING, DUANE D            5106 13 MILE RD NE                                                                         ROCKFORD               MI 49341‐8433
MILLERING, DUANE D            12345 STOUT AVE NE                                                                         CEDAR SPRINGS          MI 49319‐8026
MILLERING, LLOYD B            4763 WAKEFIELD AVE NE                                                                      COMSTOCK PARK          MI 49321‐8958
MILLERING, MIKE L             15361 GREEN OAK ST                                                                         GRAND HAVEN            MI 49417‐8857
MILLERING, WILLIAM L          2920 13 MILE RD NE                                                                         ROCKFORD               MI 49341‐8069
MILLERLEILE, GERALDINE H      624 ELMWOOD DR                                                                             HUBBARD                OH 44425‐1470
MILLERLINE, JACOB A           27 OAKLYNN CT                                                                              COLUMBUS               NJ 08022
MILLERMAN, ALEXANDER          2529 RAMBLING WAY                                                                          BLOOMFIELD TOWNSHIP    MI 48302‐1039
MILLEROV, BRIAN D             4097 S VASSAR RD                                                                           VASSAR                 MI 48768‐9436
MILLEROV, STEVE G             PO BOX 49                                                                                  REESE                  MI 48757‐0049
MILLERS AUTO REPAIR           12300 BELLEFONTAINE RD                                                                     SAINT LOUIS            MO 63138‐1401
MILLERS AUTOMOTIVE            120 N GILBERT ST                                                                           FULLERTON              CA 92833‐2505
MILLERS CHEVROLET INC CHIC    OCONNELL FLAHERTY ATTMORE &      HARTFORD SQUARE NORTH , TEN                               HARTFORD               CT 06106‐1944
                              FORSYTH                          COLUMBUS BLVD
MILLERS TAVERN                ATTN: BRIAN DAVIS                125 W ELM ST # X                                          KOKOMO                IN   46901‐2860
MILLERS, VIKTORS              2456 BRANTWOOD DR                                                                          WESTLAKE              OH   44145‐4801
MILLERSVILLE UNIVERSITY       BURSARS OFFICE                   PO BOX 1002                                               MILLERSVILLE          PA   17551‐0302
MILLERT LEINONEN              2262 HULL RD                                                                               STANDISH              MI   48658‐9184
MILLERTON JR, JOHN M          3024 MARLAY RD.                                                                            DAYTON                OH   45405‐5405
MILLERTON JR, JOHN M          3024 MARLAY RD                                                                             DAYTON                OH   45405‐2021
MILLERTON, JAMES E            1412 W. GRAND AVE.                                                                         DAYTON                OH   45402‐5402
MILLERTON, JAMES E            1412 W GRAND AVE                                                                           DAYTON                OH   45402‐6057
MILLERTON, JEFFREY C          611 WHITMORE AVE                                                                           DAYTON                OH   45417‐1236
MILLERTON,JEFFREY C           611 WHITMORE AVE                                                                           DAYTON                OH   45417‐1236
MILLERWISE, JAMES G           5775 PARADISE LANE                                                                         UNIONVILLE            MI   48767‐9319
MILLES RODELL (461456)        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                BALTIMORE             MD   21202
                                                               CHARLES CENTER 22ND FLOOR
MILLES, RODELL                ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE             MD 21202
                                                               CHARLES CENTER 22ND FLOOR
MILLESON JR, DONALD C         5703 WILLOW WAY                                                                            BUFORD                GA   30518‐5812
MILLESON, SHARON M            147 FAIR AVE NW APT 403                                                                    NEW PHILADELPHIA      OH   44663
MILLET TAMMY                  MILLET, TAMMY                    3813 HILL DR                                              JONESBORO             AR   72401‐1890
MILLET THERESA                NEED BETTER ADDRESS 12/04/06CP   112 LA COSTA CIRCLE                                       WEATHERFORD           TX   76088
MILLET, CHARLES A             8873 OLD ROUTE 36                                                                          BRADFORD              OH   45308‐9655
MILLET, DENISE M              5718 PISGAH ROAD                                                                           MECHANICSBURG         OH   43044‐9758
MILLET, GUNLOG                66 OTTER COVE DR                                                                           OLD SAYBROOK          CT   06475‐1336
MILLET, JAMES E               4 W BEACH DR                                                                               HILTON                NY   14468‐9505
MILLET, JENNIFER L            8868 OLD ROUTE 36                                                                          BRADFORD              OH   45308‐9655
MILLET, JOHN P                6086 E LYNN DR                                                                             MOORESVILLE           IN   46158‐6577
MILLET, KATHERINE E           362 ARMAND DR                                                                              TROY                  OH   45373‐2758
MILLET, KATHY S               2370 RUMFORD WAY                                                                           DAYTON                OH   45431
MILLET, ROBERT C              6794 SMITH RD                                                                              BRADFORD              OH   45308‐9658
MILLET, VIRGINIA M            6086 E LYNN DR                                                                             MOORESVILLE           IN   46158‐6577
MILLETT JEROME                155 CENTER STREET                                                                          AUBURN                ME   04210
MILLETT JR, BEVEL C           726 SW 163RD ST                                                                            LEES SUMMIT           MO   64082‐4575
MILLETT KEITH                 18509 E POCO VIS                                                                           RIO VERDE             AZ   85263‐7124
MILLETT RANDOLPH              MILLETT, RANDOLPH                1130 SAINT CHARLES AVE                                    NEW ORLEANS           LA   70130‐4332
MILLETT, KENNETH G            21 FOREST RD                                                                               ACTON                 MA   01720‐4508
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Name                                   Address1                        Address2                          Address3   Address4         City                 State Zip
MILLETT, NORMAN                        3057 BAYARD AVE                                                                               SAINT LOUIS           MO 63115‐2048
MILLETT, RANDOLPH
MILLETT, ROMAN L                       39603 TWENLOW DR                                                                              CLINTON TWP          MI    48038‐5710
MILLETT, RONALD LEE                    3009 OLD SELLARS RD                                                                           MORAINE              OH    45439‐1463
MILLETTE, JAMES E                      1333 ANGELICA CT                                                                              BOWLING GREEN        KY    42104‐5572
MILLETTE, JAMES ERIC                   1333 ANGELICA CT                                                                              BOWLING GREEN        KY    42104‐5572
MILLEUR, CHARLES D                     6251 MUNCE RD                                                                                 WHITE LAKE           MI    48383‐1026
MILLEUR, JOHN W                        353 JUNIPER WAY                                                                               TAVARES              FL    32778‐5609
MILLEVILLE, LARRY E                    1136 GREENYARD WAY                                                                            NORCROSS             GA    30093‐4249
MILLEVOI, ANN MARIE J                  6631 NW 21ST ST                                                                               MARGATE              FL    33063‐2113
MILLEVOI, ANTHONY                      59 MAPLE AVE                                                                                  SOUTH HACKENSACK     NJ    07606‐1655
MILLEY, EDWARD R                       1289 TRAILSIDE BLVD                                                                           WIXOM                MI    48393‐1586
MILLEY, PETER                          2207 PINE HILL CT                                                                             MURFREESBORO         TN    37129‐6446
MILLHEIM NELSON T (ESTATE OF) (499189) ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                      WILMINGTON           DE    19801‐1813

MILLHEIM, NELSON T                    ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                      WILMINGTON           DE    19801‐1813
MILLHOLEN, NEAL                       10049 YUKON RIVER WAY                                                                          RANCHO CORDOVA       CA    95670‐2725
MILLHOUPT, FIREL W                    10450 8TH AVE NW                                                                               GRAND RAPIDS         MI    49534
MILLHOUSE, BARBARA G                  APT 417                          1200 HIGHWAY AVENUE                                           COVINGTON            KY    41011‐1095
MILLHOUSE, BARBARA G                  10907 MAPEL HILL DR                                                                            CINCINNATI           OH    45240
MILLHOUSE, BILLIE J                   3768 GROVE CIR                                                                                 ZELLWOOD             FL    32798‐9780
MILLHOUSE, CHARLES E                  18435 WESTMORELAND RD                                                                          DETROIT              MI    48219‐2831
MILLHOUSE, DUONE L                    8139 CARINA DR                                                                                 INDIANAPOLIS         IN    46268‐2869
MILLHOUSE, FRANK T                    2343 JILL WAY                                                                                  SACRAMENTO           CA    95821‐1719
MILLHOUSE, MATTHEW T                  PO BOX 46108                                                                                   BEDFORD              OH    44146‐0108
MILLIAN, HENRY J                      N7683 PINE KNOLLS DR                                                                           WHITEWATER           WI    53190‐4228
MILLIAN, JERRY R                      N7683 PINE KNOLLS DR                                                                           WHITEWATER           WI    53190‐4228
MILLIANS JACKIE (504549)              EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                               NEW HAVEN            CT    06510
                                                                       265 CHURCH STREET
MILLIANS, JACKIE                      EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                NEW HAVEN             CT   06508‐1866
                                                                       265 CHURCH STREET
MILLICAN, BESSIE P                    3277 MENOMINEE                                                                                 BURTON               MI    48529‐1413
MILLICAN, CHERYL L                    PO BOX 682                                                                                     PECULIAR             MO    64078‐0682
MILLICAN, CHERYL LYNN                 PO BOX 682                                                                                     PECULIAR             MO    64078‐0682
MILLICAN, GERALD W                    114 PINETREE CIR                                                                               COLUMBIANA           AL    35051‐9333
MILLICAN, GERTRUDE M                  336 COUNTY ROAD 540 5                                                                          HEFLIN               AL    36264
MILLICAN, GERTRUDE M                  1516 FISH HATCHERY RD.                                                                         SUMMERVILLE          GA    30747
MILLICAN, HENRY I                     761 ROCK SPRINGS RD                                                                            LAWRENCEVILLE        GA    30043‐2116
MILLICAN, JAMES T                     6225 BUCK FEVER RD               P.O. BOX 537                                                  POLK CITY            FL    33868‐4011
MILLICAN, JERRY L                     336 COUNTY ROAD 540                                                                            HEFLIN               AL    36264‐8853
MILLICAN, MARY W                      327 ASTER RIDGE TRAIL                                                                          PEACHTREE CITY       GA    30269
MILLICAN, RONALD C                    PO BOX 247                                                                                     DE BERRY             TX    75639‐0247
MILLICAN, ROSEMARIE
MILLICAN, SUSAN E                     6225 BUCK FEVER RD                                                                             POLK CITY            FL    33868‐4011
MILLICAN, TONY L                      1155 NORTHWEST 850TH ROAD                                                                      ODESSA               MO    64076‐8112
MILLICENT BARTLETT                    4805 HALEY LN                                                                                  COLUMBIA             TN    38401‐8420
MILLICENT CATO                        2223 HAZELNUT LN                                                                               KOKOMO               IN    46902‐4497
MILLICENT DOYEL                       1176 E LINCOLN ST                                                                              EAST TAWAS           MI    48730‐1600
MILLICENT HURLEY                      159 OAK ST                                                                                     NEWTON UPPER FALLS   MA    02464‐1443
MILLICENT L HEUREUX                   14440 N SHERWOOD DR APT B                                                                      FOUNTAIN HILLS       AZ    85268‐2144
MILLICENT MADDOX                      1001 DRURY LN                                                                                  FLUSHING             MI    48433‐1419
MILLICENT MENSAH                      4833 LAUDERDALE DR APT 4                                                                       MORAINE              OH    45439‐2847
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Name                      Address1                       Address2                      Address3   Address4         City                State Zip
MILLICENT PAXTON          G 10036 N LINDEN RD.                                                                     CLIO                 MI 48420
MILLICENT RUSSELL         PO BOX 506                                                                               WILSON               NY 14172‐0506
MILLICENT SEALS           448 DEEDS AVE                                                                            DAYTON               OH 45404‐1722
MILLICENT SUE MACDONALD   301 S SIGNAL BUTTE RD LOT 28                                                             APACHE JUNCTION      AZ 85220‐4535
MILLICENT WARREN          PO BOX 1237                                                                              MADISONVILLE         LA 70447‐1237
MILLICHAMP, ELVA E        6799 TOEPFER RD                                                                          WARREN               MI 48091‐3045
MILLICK, DANIEL J         96 WOODSIDE AVE                                                                          BUFFALO              NY 14220‐1907
MILLIE A WALTON           11300 GRANDVILLE AVE                                                                     DETROIT              MI 48228‐1369
MILLIE ANDERSON           3151 N E 56TH AVE              P 16                                                      SILVER SPRINGS       FL 34488
MILLIE ANDERSON           C/O THE MADEKSHO LAW FIRM      8866 GULF FREEWAY SUITE 440                               HOUSTON              TX 77017
MILLIE BALL               9584 PINE VALLEY DR                                                                      GRAND BLANC          MI 48439‐2676
MILLIE BASKIN             2138 GREENVIEW CT SW           GREENVIEW COURT SW                                        WYOMING              MI 49519‐4259
MILLIE BELLAMY            6150 HAZELWOOD AVE                                                                       INDIANAPOLIS         IN 46228‐1317
MILLIE BELUSIC            10401 N SAGUARO BLVD APT 227                                                             FOUNTAIN HILLS       AZ 85268‐5755
MILLIE BISSET             1317 TRINITY PL APT D1                                                                   MIDDLETOWN           OH 45042‐8101
MILLIE BULLARD            3465 OLD LOST MOUNTAIN RD                                                                POWDER SPRINGS       GA 30127‐1934
MILLIE COOLEY             224 WHITE ST                                                                             ECORSE               MI 48229‐1052
MILLIE D TEIPEN           953 SANTA MARIA DR                                                                       GREENWOOD            IN 46143
MILLIE DONNELLY           828 PINE VILLAGE CT                                                                      BALLWIN              MO 63021‐6144
MILLIE EISENHAUER         APT 22                         437 WEST SCHLEIER STREET                                  FRANKENMUTH          MI 48734‐1094
MILLIE GALAGAZA           4560 BROADWAY BOULEVARD                                                                  MONROEVILLE          PA 15146
MILLIE GIBSON             950 GARDNER RD                                                                           KETTERING            OH 45429‐4550
MILLIE H KIRKLAND         3020 REGAL DRIVE NW                                                                      WARREN               OH 44485
MILLIE HALL               RR 1 BOX 124                                                                             ELLENBORO            WV 26346
MILLIE HARGROVE           1394 E JULIAH AVE                                                                        FLINT                MI 48505‐1734
MILLIE HOUCK              744 WALTHAM DR                                                                           MOUNT MORRIS         MI 48458‐8715
MILLIE IGOE               7800 FORESTHILL LN #106A                                                                 PALOS HEIGHTS         IL 60463
MILLIE J WILLIAMS         1942 N TIBBS AVE                                                                         INDIANAPOLIS         IN 46222‐4839
MILLIE JOHNSON            644 W DIXIE DR                                                                           MONTGOMERY           AL 36107‐1322
MILLIE JOHNSON            403 JORDAN RD                                                                            PONTIAC              MI 48342‐1738
MILLIE KELLER             215 STATE ST                   C/O RICHARD R ZIEGLER                                     OBERLIN              OH 44074‐9658
MILLIE KIRKLAND           3020 REGAL DR NW                                                                         WARREN               OH 44485‐1248
MILLIE KONKLER            1240 WALLABY DRIVE                                                                       DAYTON               OH 45432‐2822
MILLIE KUTEY              4010 DUTCHER RD                                                                          CASS CITY            MI 48726‐9491
MILLIE LEE                400 LAKESIDE DR                                                                          WATERFORD            MI 48328‐4038
MILLIE LOBDELL            1528 GARY RD                                                                             MONTROSE             MI 48457‐9326
MILLIE MAHAN              7260 MI STATE ROAD 52                                                                    MANCHESTER           MI 48158‐9443
MILLIE MORRIS             6601 E 51ST TER                                                                          KANSAS CITY          MO 64129‐2812
MILLIE MOURES             373 BURWELL RD                                                                           LEAVITTSBURG         OH 44430
MILLIE NASH               PO BOX 898                                                                               FLINT                MI 48501‐0898
MILLIE NENADOVIC          1027 LOGAN AVE                                                                           MC DONALD            OH 44437‐1650
MILLIE ORELLI             9273 SHADY LAKE DR APT 107                                                               STREETSBORO          OH 44241‐5289
MILLIE R DONNELLY         828 PINE VILLAGE CT                                                                      BALLWIN              MO 63021‐6144
MILLIE REED               303 LISA ANN DR                                                                          HURON                OH 44839‐2811
MILLIE RIVERS             25 SEVEN CIRCLE DR             APT 416                                                   CLEVELAND HEIGHTS    OH 44118
MILLIE ROOKS              2534 URMSTON AVE                                                                         HAMILTON             OH 45011‐5048
MILLIE S GIBSON           950 GARDNER RD                                                                           KETTERING            OH 45429‐4550
MILLIE SINN               4558 WESTFIELD CT                                                                        BAY CITY             MI 48706‐2726
MILLIE SPRINGER           2213 WESTBURY DRIVE                                                                      MIDLAND              MI 48642‐3254
MILLIE THRELKELD          61 S ASTOR ST                                                                            PONTIAC              MI 48342‐2910
MILLIE TURNER             RR 2 BOX 59C                                                                             BOONEVILLE           KY 41314
MILLIE WALTON             11300 GRANDVILLE AVE                                                                     DETROIT              MI 48228‐1369
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Name                           Address1                           Address2                      Address3   Address4         City               State Zip
MILLIE WARD                    10280 EATON PIKE                                                                             NEW LEBANON         OH 45345‐9630
MILLIE WATKINS                 2013 HOWARD AVE                                                                              FLINT               MI 48503‐4208
MILLIE WILLIAMS                1942 N TIBBS AVE                                                                             INDIANAPOLIS        IN 46222‐4839
MILLIE WILSON                  3303 BENT CREEK CT APT 3                                                                     LOUISVILLE          KY 40218‐1844
MILLIEAN, DEREK B              18521 MIDWAY AVE                                                                             SOUTHFIELD          MI 48075‐7142
MILLIER, URSULA H              18341 W MAIN ST                                                                              HAUSER              ID 83854‐5665
MILLIES JR., WALTER            1069 N 68TH ST                                                                               WAUWATOSA           WI 53213‐3172
MILLIFF, JACK                  630 MCLAIN ST                                                                                DAYTON              OH 45403‐2330
MILLIGAN ADAM                  MILLIGAN, ADAM                     21065 ASHLEY LN                                           LAKE FOREST         CA 92630‐5868
MILLIGAN ADAM                  WEIK, LAURA                        21471 RUSHFORD DR                                         LAKE FOREST         CA 92630
MILLIGAN ADAM                  WEIK, STEVE                        21471 RUSHFORD DR                                         LAKE FOREST         CA 92630
MILLIGAN CECIL C (626663)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MILLIGAN COLLEGE               STUDENT ACCOUNTS                   PO BOX 750                                                MILLIGAN COLLEGE   TN   37682‐0750
MILLIGAN DEBORAH               3851 MOUNT ENA CHURCH RD                                                                     MONROE             GA   30655‐5364
MILLIGAN DEWITT III (402082)   WILENTZ GOLDMAN & SPITZER          PO BOX 10                                                 WOODBRIDGE         NJ   07095‐0958
MILLIGAN ELLIOTT               MILLIGAN, ELLIOTT                  333 W FORT ST STE 1400                                    DETROIT            MI   48226‐3149
MILLIGAN JR, BURRELL F         6206 WESTLAKE AVE                                                                            PARMA              OH   44129‐2354
MILLIGAN MOTORS, INC.          202 E NORTH ST                                                                               ENTERPRISE         OR   97828‐1131
MILLIGAN MOTORS, INC.          TERRY DECKER                       202 E NORTH ST                                            ENTERPRISE         OR   97828‐1131
MILLIGAN STEPHEN A (400696)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                  STREET, SUITE 600
MILLIGAN TIMOTHY E             1550 FURNACE ST                                                                              MINERAL RIDGE      OH 44440‐9729
MILLIGAN TRANSPORT INC         1061 HD ATHA RD                                                                              MONROE             GA 30855
MILLIGAN WARREN (459209)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MILLIGAN, ADAM                 21065 ASHLEY LN                                                                              LAKE FOREST        CA   92630‐5868
MILLIGAN, ANA M                9804 HENDERSON DR                                                                            OKLAHOMA CITY      OK   73139‐5429
MILLIGAN, BARRY L              159 VAUGHN LN                                                                                MENA               AR   71953‐8123
MILLIGAN, BENJUMAN A           5234 DUNN HILL DR                                                                            GRAND BLANC        MI   48439‐7990
MILLIGAN, BENJUMAN ANDREW      5234 DUNN HILL DR                                                                            GRAND BLANC        MI   48439‐7990
MILLIGAN, BLANCHE L            3127 GREENFIELD RD LOT 274                                                                   PEARL              MS   39208‐8776
MILLIGAN, BRIAN L              749 ELLSWORTH BAILEY RD SW                                                                   WARREN             OH   44481‐9724
MILLIGAN, BRIAN LESLIE         2406 ILLINOIS AVE                                                                            FLINT              MI   48506‐3728
MILLIGAN, CECIL C              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
MILLIGAN, CHARLES E            640 N BROADWAY ST                                                                            CAVE IN ROCK       IL   62919‐2101
MILLIGAN, CLARENCE R           2689 N M 18                                                                                  GLADWIN            MI   48624‐9206
MILLIGAN, CYNTHIA B            12065 N ADRIAN HWY                                                                           CLINTON            MI   49236‐9649
MILLIGAN, CYNTHIA BETH         12065 N ADRIAN HWY                                                                           CLINTON            MI   49236‐9649
MILLIGAN, DENNIS S             12065 N ADRIAN HWY                                                                           CLINTON            MI   49236‐9649
MILLIGAN, DEWITT               WILENTZ GOLDMAN & SPITZER          PO BOX 10                                                 WOODBRIDGE         NJ   07095‐0958
MILLIGAN, DONALD A             1009 DIANEWOOD DR                                                                            MANSFIELD          OH   44903‐8830
MILLIGAN, DREWERY H            2657 FERNCLIFF AVE                                                                           DAYTON             OH   45420‐3317
MILLIGAN, E L                  PO BOX 5049                                                                                  TOPEKA             KS   66605‐0049
MILLIGAN, E L                  1608 SW 37TH ST APT G5                                                                       TOPEKA             KS   66611‐2589
MILLIGAN, EDDIE J              610 MAPLEWOOD DR                                                                             OSSIAN             IN   46777‐9308
MILLIGAN, EDDIE L              45323 UTICA GREEN E                BLDG14                                                    SHELBY TOWNSHIP    MI   48317
MILLIGAN, ELLIOTT
MILLIGAN, ELLIOTT              BERGER MILLER & STRAGER PC         333 W FORT ST STE 1400                                    DETROIT            MI 48226‐3149
MILLIGAN, GEORGE R             355 MILLIGANS MOUNTAIN LN L                                                                  HIDDENITE          NC 28636
MILLIGAN, HERBERT R            3126 COUNTY ROAD 327                                                                         MOULTON            AL 35650‐6913
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Name                      Address1                           Address2                      Address3   Address4         City              State Zip
MILLIGAN, HOWARD N        4617 MIDLAND AVE                                                                             WATERFORD          MI 48329‐1838
MILLIGAN, JACK L          6005 CONDOR DR                                                                               LAKELAND           FL 33809‐5690
MILLIGAN, JAMES J         21702 COUNTY A                                                                               RICHLAND CENTER    WI 53581
MILLIGAN, JAMES T         6154 OLD MONTICELLO ST SE                                                                    COVINGTON          GA 30014‐3924
MILLIGAN, JAMES W         1112 W RIVIERA BLVD                                                                          OVIEDO             FL 32765‐5638
MILLIGAN, JEAN B          2266 SALT SPRINGS RD.                                                                        MCDONALD           OH 44437‐1114
MILLIGAN, JERRY A         18234 LEXINGTON                                                                              REDFORD            MI 48240‐1937
MILLIGAN, JOHN A          1279 FM 123                                                                                  CARTHAGE           TX 75633‐4398
MILLIGAN, JOHN R          1043 PATRICIA DR                                                                             GIRARD             OH 44420
MILLIGAN, JOHN R          1179 MARIE DR                                                                                GIRARD             OH 44420‐4420
MILLIGAN, JOSEPHINE P     488 CALIFORNIA AVE                                                                           PONTIAC            MI 48341‐2511
MILLIGAN, KATRINA A       45323 UTICA GREEN E                BLDG14                                                    UTICA              MI 48317‐5131
MILLIGAN, KENNETH A       2799 CHESTER HWY                                                                             YORK               SC 29745‐2145
MILLIGAN, KENNETH D       186 PECK RD                                                                                  HILTON             NY 14468‐9354
MILLIGAN, KEVIN J         152 ASPEN DR NW                                                                              WARREN             OH 44483‐1175
MILLIGAN, LENA B          4600 ZARING MILL ROAD                                                                        SHELBYVILLE        KY 40065‐9240
MILLIGAN, LESTER J        301 HOLMES RD                                                                                YPSILANTI          MI 48198‐3038
MILLIGAN, LINDA M         2799 CHESTER HWY                                                                             YORK               SC 29745‐2145
MILLIGAN, MARGARET P      206 DESOTA COURT                                                                             LADY LAKE          FL 32159‐5669
MILLIGAN, MARGARET P      206 DESOTA CT                                                                                LADY LAKE          FL 32159‐5669
MILLIGAN, MARLO           2961 DAY DRIVE                                                                               ANDERSON           IN 46017
MILLIGAN, MARLO           2961 E DAY DR                                                                                ANDERSON           IN 46017‐9772
MILLIGAN, MARTHA B        516 CRESTHAVEN DR                                                                            INDIANAPOLIS       IN 46217‐3280
MILLIGAN, MARTIN H        139 RIDGEFIELD RD                                                                            NEWTOWN SQ         PA 19073‐3812
MILLIGAN, MARY
MILLIGAN, METTIE M        3831 BOCA BAY DR                                                                             DALLAS            TX   75244‐7206
MILLIGAN, NANCY L         795 STATON PLACE WEST DR                                                                     INDIANAPOLIS      IN   46234‐2163
MILLIGAN, NORA            615 BENTON RD SE                                                                             BOLIVIA           NC   28422
MILLIGAN, PAMELA K        1009 DIANEWOOD DR                                                                            MANSFIELD         OH   44903‐8830
MILLIGAN, PETER J         1666 W N BLOOMFIELD RD                                                                       LAKE GENEVA       WI   53147
MILLIGAN, RAY L           2537 THOMASON CIR APT 274                                                                    ARLINGTON         TX   76006‐5072
MILLIGAN, ROBERT H        12263 W MELLOW CT                                                                            BOISE             ID   83709‐5180
MILLIGAN, ROBERT L        720 COUNTY ROAD 217                                                                          MOULTON           AL   35650‐4818
MILLIGAN, ROBERT S        771 JOSELYN AVE                                                                              LEXINGTON         OH   44904‐1664
MILLIGAN, ROBERT W        300 CHALK HILL CHURCH RD                                                                     CAMDEN            TN   38320‐7724
MILLIGAN, RONNIE E        9103 THOMAS RD                                                                               JONESBORO         GA   30238‐5733
MILLIGAN, SAM             4220 RICHFIELD LN                                                                            FORT WAYNE        IN   46816‐4131
MILLIGAN, SHIRLEY ANN     78 SEXTON ST                                                                                 STRUTHERS         OH   44471‐1732
MILLIGAN, SHIRLEY ANN     78 SEXTON STREET                                                                             STRUTHERS         OH   44471
MILLIGAN, SHIRLEY R       1226 GENELLA ST                                                                              WATERFORD         MI   48328‐1337
MILLIGAN, SHIRLEY RAE     1226 GENELLA ST                                                                              WATERFORD         MI   48328‐1337
MILLIGAN, STEPHEN A       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
MILLIGAN, THOMAS E        15575 MCLAIN AVE                                                                             ALLEN PARK        MI   48101‐2023
MILLIGAN, THOMAS EDWARD   15575 MCLAIN AVE                                                                             ALLEN PARK        MI   48101‐2023
MILLIGAN, TIMOTHY E       1550 FURNACE ST                                                                              MINERAL RIDGE     OH   44440‐9729
MILLIGAN, TINA M          2277 S GROVE ST APT 714W                                                                     YPSILANTI         MI   48198‐9304
MILLIGAN, WARREN          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
MILLIGAN, WILLARDETTE     8116 GREENSPAN AVE                                                                           DALLAS            TX 75232‐4839
MILLIGAN, WILLIAM S       121 PARKER CT                                                                                HUDSON            MI 49247‐9317
MILLIGAN, WILLIAM W       213 PIN OAK CT                                                                               SPRING HILL       TN 37174‐2593
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Name                          Address1                             Address2                      Address3   Address4         City            State Zip
MILLIK, BRON                  301 INDIANA AVE                                                                                MC DONALD        OH 44437‐1921
MILLIK, MARIE B               179 WILLARD AVE NE                                                                             WARREN           OH 44483‐5525
MILLIK, STEPHEN J             6797 OAK HILL DR                                                                               W FARMINGTON     OH 44491‐8707
MILLIKAN TRUCKING CO          RTE 1                                                                                          CAVE IN ROCK      IL 62919
MILLIKAN, BERYLANN            5061 PINE KNOB TRL                                                                             CLARKSTON        MI 48346‐4125
MILLIKAN, CARSON R            1071 JOANGAY BLVD                                                                              WATERFORD        MI 48327‐2444
MILLIKAN, DALLAS K            164 MYERS LAKE DR                                                                              NOBLESVILLE      IN 46062‐8663
MILLIKAN, DORIS C             905 SOUTH PARKWAY                                                                              ANDERSON         IN 46013‐3261
MILLIKAN, DORIS C             905 S PARKWAY DR                                                                               ANDERSON         IN 46013‐3261
MILLIKAN, ERNEST R            729 ROXBURY LN                                                                                 NOBLESVILLE      IN 46062‐9060
MILLIKAN, GARY E              4235 DABISH DR                                                                                 LAKE ORION       MI 48362‐1023
MILLIKAN, GARY E.             4235 DABISH DR                                                                                 LAKE ORION       MI 48362‐1023
MILLIKAN, HALDON R            1189 S PERU ST APT B                                                                           CICERO           IN 46034‐9601
MILLIKAN, JERROLD T           17070 SOUTH MILL CREEK ROAD                                                                    NOBLESVILLE      IN 46062‐9100
MILLIKAN, LARRY A             5061 PINE KNOB TRL                                                                             CLARKSTON        MI 48346‐4125
MILLIKAN, LEVERA F            345 E 161ST ST                                                                                 WESTFIELD        IN 46074‐7608
MILLIKAN, LEVERA F            345 EAST 161ST STREET                                                                          WESTFIELD        IN 46074
MILLIKAN, LYNER E             5069 FRANKWILL AVE                                                                             CLARKSTON        MI 48346‐3717
MILLIKAN, ORA                 1071 JOANGAY BLVD                                                                              WATERFORD        MI 48327‐2444
MILLIKAN, ROGER G             11041 FAWNHAVEN DR                                                                             SAINT LOUIS      MO 63126‐3503
MILLIKAN, STANLEY A           17215 WILLOW VIEW RD                                                                           NOBLESVILLE      IN 46062‐9223
MILLIKAN, STEVEN A            1623 E 44TH ST                                                                                 ANDERSON         IN 46013‐2554
MILLIKEN & CO                 ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 843234                                             DALLAS           TX 75284‐3234
                              AGENT
MILLIKEN & CO                 920 MILLIKEN RD                      PO BOX 1926                                               SPARTANBURG     SC   29303‐4906
MILLIKEN & CO                 201 LUKKEN INDUSTRIAL DR W                                                                     LAGRANGE        GA   30240‐5913
MILLIKEN & CO                 24007 TELEGRAPH RD                                                                             SOUTHFIELD      MI   48033‐3031
MILLIKEN & CO                 920 MILLIKEN RD                                                                                SPARTANBURG     SC   29303‐4906
MILLIKEN & COMPANY            DEBBIE POWELL                        920 MILLIKEN RD                                           SPARTANBURG     SC   29303‐4906
MILLIKEN JR, JOHN             84 NEWELL AVE                                                                                  TONAWANDA       NY   14150‐6204
MILLIKEN LETICIA C            229 STRATUS RD                                                                                 EL PASO         TX   79912‐3821
MILLIKEN ROBERT H (429475)    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                   STREET, SUITE 600
MILLIKEN WILLIAM L (442620)   ANGELOS PETER G LAW OFFICE           1300 N MARKET ST STE 212                                  WILMINGTON      DE   19801‐1813
MILLIKEN, BESSIE M            42 FAXON CHURCH RD                                                                             BIG SANDY       TN   38221‐4418
MILLIKEN, CLARENCE E          PO BOX 92                                                                                      DAMASCUS        OH   44619‐0092
MILLIKEN, DAVID A             446 COOMBS DR                                                                                  BOWLING GREEN   KY   42101‐1125
MILLIKEN, DAVID A.            446 COOMBS DR                                                                                  BOWLING GREEN   KY   42101‐1125
MILLIKEN, EVELYN J            12000 N 90TH ST UNIT 2122                                                                      SCOTTSDALE      AZ   85260‐8634
MILLIKEN, JACKIE E            1218 LEWERENZ ST                                                                               DETROIT         MI   48209‐4506
MILLIKEN, JAMES C             20 17TH AVE LOWER                                                                              N TONAWANDA     NY   14120
MILLIKEN, JAMES C             5015 RED TAIL RUN                                                                              WILLIAMSVILLE   NY   14221‐4177
MILLIKEN, JAMES CHARLTON      5015 RED TAIL RUN                                                                              WILLIAMSVILLE   NY   14221‐4177
MILLIKEN, JANE M              525 W PALM ST                                                                                  LANTANA         FL   33462‐2817
MILLIKEN, JANE M              525 W PALM STREET                                                                              LANTANA         FL   33462
MILLIKEN, K L                 101 SOUTH MCCALL ROAD                                                                          ENGLEWOOD       FL   34223‐3227
MILLIKEN, KAREN L             72 IRENE ST                                                                                    BUFFALO         NY   14207‐1012
MILLIKEN, KIMBERLY            407 WEST ST                                                                                    FRANKLIN        KY   42134‐1755
MILLIKEN, LAWRENCE P          7426 ARBOR OAKS DR                                                                             DALLAS          TX   75248‐2256
MILLIKEN, ROBERT H            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                   STREET, SUITE 600
MILLIKEN, WILLIAM E           26605 JOHN R                                                                                   MADISON HTS     MI 48071
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Name                              Address1                       Address2                      Address3   Address4         City               State Zip
MILLIKEN, WILLIAM J               387 ATHERTON ST                                                                          MILTON              MA 02186‐3614
MILLIKEN, WILLIAM L               ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                  WILMINGTON          DE 19801‐1813
MILLIKEN‐SOMMER                   24007 TELEGRAPH RD                                                                       SOUTHFIELD          MI 48033‐3031
MILLIKEN/C/O MORRIS               24007 TELEGRAPH RD             C/O MORRIS ASSOCIATES                                     SOUTHFIELD          MI 48033‐3031
MILLIKEN/TELEGRAPH                24007 TELEGRAPH RD                                                                       SOUTHFIELD          MI 48033‐3031
MILLIKIN UNIVERSITY               1184 W MAIN ST                                                                           DECATUR              IL 62522‐2039
MILLIKIN UNIVERSITY               9873 RELIABLE PKWY                                                                       CHICAGO              IL 60686‐0001
MILLIKIN, ANNIE D                 300 WATERS DR APT B112                                                                   SOUTHERN PINES      NC 28387‐2267
MILLIKIN, BETTY E                 6701 OAKWOOD LN                                                                          DAYTON              OH 45424‐2464
MILLIKIN, CLARENCE E              9011 WATERMAN RD                                                                         VASSAR              MI 48768‐9456
MILLIKIN, DONALD K                4551 BADGER RD                                                                           LYONS               MI 48851‐9798
MILLIKIN, EMILY                   PO BOX 867                                                                               LANCASTER           CA 93584
MILLIKIN, GEORGE A                PO BOX 95                      VINTON STREET                                             HENNING              IL 61848‐0095
MILLIKIN, GERALD R                3869 TRESSLA RD                                                                          VASSAR              MI 48768
MILLIKIN, KIM D                   1116 TURRILL RD                                                                          LAPEER              MI 48446‐3721
MILLIKIN, MARK R                  731 E COREY ST                                                                           BRONSON             MI 49028
MILLIKIN, MICHAEL P               1717 MORTON AVE                                                                          ANN ARBOR           MI 48104‐4521
MILLIKIN, ROBERT A                3306 SHADY SHORES RD                                                                     LUPTON              MI 48635‐9609
MILLIKIN, ROBERT R                15812 LAVENHAM RD                                                                        HUNTERSVILLE        NC 28078
MILLIKIN,MICHAEL P                1717 MORTON AVE                                                                          ANN ARBOR           MI 48104‐4521
MILLIMAN ROBERT                   3300 PATRICIA DR                                                                         URBANDALE            IA 50322‐6864
MILLIMAN, RICHARD J               369 E SOUTHLAWN BLVD                                                                     BIRMINGHAM          MI 48009‐4716
MILLIMAN, ROBERT P                PO BOX 218                                                                               DIMONDALE           MI 48821‐0218
MILLIMAN, ROBERT P                1847 WAVERLY RD                                                                          HOLT                MI 48842‐8607
MILLIMAN, ROGER D                 3604 BERNIE RD                                                                           CLIMAX              NC 27233‐9103
MILLIN JOHN RUSSELL (429476)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                 STREET, SUITE 600
MILLIN, JOHN RUSSELL              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                 STREET, SUITE 600
MILLIN, RACHEL A                  12026 W OAKWOOD RD                                                                       FRANKLIN           WI   53132‐9544
MILLIN, ROBERT O                  12026 W OAKWOOD RAOD                                                                     FRANKLIN           WI   53132‐9544
MILLINA STICCO                    508 PARKVIEW DR                PARKVIEW ESTATES                                          PITTSBURGH         PA   15236‐4592
MILLINDER, LORENE F               504 HOPEWOOD CT                                                                          FRANKLIN           TN   37064‐5529
MILLINDER, WOODROW                504 HOPEWOOD CT                                                                          FRANKLIN           TN   37064‐5529
MILLINEA SCOTT                    2407 COUNTY ROAD 86                                                                      ROGERSVILLE        AL   35652‐5029
MILLINER, BERNARD J               2456 LAKESHORE BLVD APT 946                                                              YPSILANTI          MI   48198‐6948
MILLINER, BERNARD JOHN            2456 LAKESHORE BLVD APT 946                                                              YPSILANTI          MI   48198‐6948
MILLINER, EZZIE D                 369 DEEP CREEK CIR                                                                       NORTHFIELD         OH   44067‐5005
MILLINER, WATHEN D                20757 BOWLING GREEN RD                                                                   MAPLE HEIGHTS      OH   44137‐3103
MILLINER, WILFORD T               25406 HALBURTON RD                                                                       BEACHWOOD          OH   44122‐4181
MILLING ROBERT                    45 WATSON ST                                                                             BRAINTREE          MA   02184‐4125
MILLING, KENNETH                  22317 LA SEINE ST APT 229      CHATEAU RIVIERA APTS                                      SOUTHFIELD         MI   48075‐4043
MILLINGTON CHEVROLET              INTERCOMPANY
MILLINGTON CHEVROLET INC          PO BOX 280809                                                                            MEMPHIS            TN 38168‐0809
MILLINGTON CLARENCE (ESTATE OF)   GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                EDWARDSVILLE       IL 62025‐0959
(630851)                          ANTOGNOLI
MILLINGTON TOWNSHIP TREASURER     PO BOX 247                     8553 STATE STREET                                         MILLINGTON          MI 48746‐0247
MILLINGTON, CLARENCE              GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                EDWARDSVILLE        IL 62025‐0959
                                  ANTOGNOLI
MILLINGTON, DONALD L              37300 TIMBERVIEW LN                                                                      FARMINGTON HILLS   MI 48331‐3077
MILLINGTON, DOROTHY A             4749 BAUM BLVD                                                                           PITTSBURGH         PA 15213‐1320
MILLINGTON, EARNESTINE            4951 N LAKE RD                                                                           COLUMBIAVILLE      MI 48421‐9103
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Name                       Address1                       Address2              Address3         Address4         City                State Zip
MILLINGTON, EDDISON C      3838 SWAFFER RD                                                                        MILLINGTON           MI 48746‐9142
MILLINGTON, RICHARD L      8651 LEWIS RD                                                                          VANDERBILT           MI 49795‐9414
MILLINGTON, RONALD E       239 AZALEA CT                                                                          BRANDON              MS 39047‐7854
MILLINGTON, THOMAS K       11515 HILLCREST BLVD NE                                                                KALKASKA             MI 49646‐9080
MILLINGTON, WAYNE L        330 LEEWARD IS                                                                         CLEARWATER           FL 33767‐2307
MILLINKOV, RONALD A        2457 PEBBLE RIDGE CT                                                                   DAVISON              MI 48423‐8621
MILLION, HAROLD H          270 MEANY RD                                                                           WRIGHTSTOWN          NJ 08562‐1614
MILLION, HERSHEL           12416 OLD DAYTON RD                                                                    BROOKVILLE           OH 45309‐8379
MILLION, JEFFERY W         326 DOROTHY LN                                                                         NEW LEBANON          OH 45345‐1617
MILLION, KIMBERLEE S       3024 BEAVER AVE                                                                        KETTERING            OH 45429‐3802
MILLION, RICHARD W         PO BOX 421                                                                             MEXICO               IN 46958‐0421
MILLION, SONDRA D          257 RONDAL DR                                                                          BOWLING GREEN        KY 42104‐7860
MILLION, SONDRA D          257 RONDAL DR.                                                                         BOWLING GREEN        KY 42104‐7860
MILLION, TIMOTHY C         326 DOROTHY LN                                                                         NEW LEBANON          OH 45345‐1617
MILLION, TODD A            14784 BROOKVILLE PYRMONT RD                                                            BROOKVILLE           OH 45309‐9704
MILLION,JEFFERY W          326 DOROTHY LN                                                                         NEW LEBANON          OH 45345‐1617
MILLION,TODD A             14784 BROOKVILLE PYRMONT RD                                                            BROOKVILLE           OH 45309‐9704
MILLIOUS, CHARLES A        227 JASPER ST                                                                          SYRACUSE             NY 13203
MILLIPORE CORP             290 CONCORD RD                                                                         BILLERICA            MA 01821‐3405
MILLIPORE CORPORATION      290 CONCORD RD                 MAILSTOP CCR                                            BILLERICA            MA 01821‐3405
MILLIREN, BONNIE
MILLIREN, JOHN             3156 ROCKWOOD DRIVE                                                                    ROCKFORD            IL   61109
MILLIRON, ARNOLD P         6022 S 650 E                                                                           PIERCETON           IN   46562‐9784
MILLIRON, CANDACE KNIGHT   2152 ROLLING ROCK DR                                                                   BRIGHTON            MI   48114‐7345
MILLIRON, CHARLOTTE        636 VALLEY DR                                                                          ROSSFORD            OH   43460‐1520
MILLIRON, DAVID L          2152 ROLLING ROCK DR                                                                   BRIGHTON            MI   48114‐7345
MILLIRON, DAVID LEE        2152 ROLLING ROCK DR                                                                   BRIGHTON            MI   48114‐7345
MILLIRON, DONALD B         1240 W TOBIAS RD                                                                       CLIO                MI   48420‐1777
MILLIRON, FORREST C        3401 LYNWOOD DR NW                                                                     WARREN              OH   44485‐1314
MILLIRON, JAMES W          688 MEADOWBROOK DR                                                                     NORTH TONAWANDA     NY   14120‐1980
MILLIRON, JANNETTE L       6322 KELLEY DR                                                                         MILLERSBURG         MI   49759‐9502
MILLIRON, JOANNE L         1096 RAYMOND ST NW                                                                     WARREN              OH   44485‐2430
MILLIRON, JOSEPH E         1101 KURTZ ST                                                                          MAUMEE              OH   43537‐2946
MILLIRON, LESTER E         10882 ROUTE 536                                                                        PUNXSUTAWNEY        PA   15767‐6018
MILLIRON, MERLE F          6502 N PARK AVE                                                                        BRISTOLVILLE        OH   44402‐9729
MILLIRON, MERLE F          6502 NORTH PARK AVE.                                                                   BRISTOLVILLE        OH   44402‐9729
MILLIRON, RICHARD G        2315 FOWLER ST                                                                         ANDERSON            IN   46012‐3628
MILLIRON, ROBERT E         5790 S 50 W                                                                            TRAFALGAR           IN   46181‐9798
MILLIRON, ROBERT E.        5790 S 50 W                                                                            TRAFALGAR           IN   46181‐9798
MILLIRON, THOMAS E         14408 LAKOTA AVE                                                                       CLEVELAND           OH   44111‐4340
MILLIRON, VAUGHN B         351 W MILL ST                                                                          OSCODA              MI   48750‐1323
MILLIS JR, ELMER           1020 EASTVIEW DR                                                                       MADISONVILLE        KY   42431‐3623
MILLIS MASSEY              PO BOX 95                                                                              ROCKY HILL          KY   42163‐0095
MILLIS TRANSFER INC        PO BOX 550                                                                             BLACK RIVER FALLS   WI   54615‐0550
MILLIS, CHARLES R          7027 MELODY LN                                                                         FORT WAYNE          IN   46804‐2835
MILLIS, CYNTHIA H          117 MONROE ST                                                                          ELYRIA              OH   44035‐4937
MILLIS, DONALD E           53 W WASHINGTON ST                                                                     NORWALK             OH   44857‐1301
MILLIS, LINDA              21490 RIVER RIDGE CT                                                                   FARMINGTON HILLS    MI   48335‐4605
MILLIS, PAUL L             21490 RIVER RIDGE CT                                                                   FARMINGTON HILLS    MI   48335‐4605
MILLIS, RICHARD C          5285 N GENOA CLAY CENTER RD                                                            CURTICE             OH   43412‐9618
MILLIS, SHIRLEY A          320 LOREWOOD AVENUE                                                                    WILMINGTON          DE   19804‐1419
MILLITELLO, BARBARA A      11353 PLUMRIDGE BLVD                                                                   STERLING HEIGHTS    MI   48313‐4958
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Name                           Address1                         Address2                 Address3      Address4         City               State Zip
MILLITELLO, JOANNA L           492 KEENAN CT                                                                            FORT MYERS          FL 33919‐3110
MILLITELLO, YVONNE R           33478 BORDEAUX CT                                                                        WESTLAND            MI 48185‐9603
MILLJOUR, BERNICE C.           54 WOOLEN MILL RD                                                                        FT COVINGTON        NY 12937‐2631
MILLMAN‐DERR CTR FOR           PO BOX 80070                                                                             ROCHESTER           MI 48308‐0070
MILLMINE, CATHY D              210 COLFAX ST                                                                            FENTON              MI 48430‐2024
MILLMINE, DAVID A              210 BARRON RD                                                                            HOLLY               MI 48442‐8824
MILLMINE, EUGENE R             784 E TENNYSON AVE                                                                       PONTIAC             MI 48340‐2962
MILLMINE, LEON C               34629 LILY LN                                                                            ZEPHYRHILLS         FL 33541‐2433
MILLMINE, LINDA T              13738 NORTHRIDGE DR                                                                      HOLLY               MI 48442‐8229
MILLMINE, MICHAEL G            210 COLFAX ST                                                                            FENTON              MI 48430‐2024
MILLMINE, VIOLA L              2637 SINCLAIR AVE                                                                        WATERFORD           MI 48328‐2749
MILLMINE, WILLIAM G            247 FLYNN DR                                                                             SPRING CITY         TN 37381‐2822
MILLNER, DANIEL G              1540 E MUNGER RD                                                                         TECUMSEH            MI 49286‐8735
MILLNER, DANIEL R              31600 TRESTAIN ST                                                                        FARMINGTON HILLS    MI 48336‐1156
MILLNER, DELMA                 319 BUCKLEY AVE                                                                          MANSFIELD           OH 44903‐1110
MILLNER, JACK A                PO BOX 11442                                                                             TOLEDO              OH 43611‐0442
MILLNER, JEFF R                7521 GENESEO LN                                                                          ARLINGTON           TX 76002‐3332
MILLNER, JEFF REED             7521 GENESEO LN                                                                          ARLINGTON           TX 76002‐3332
MILLNER, WARREN G              4515 WOODROW AVENUE                                                                      GALVESTON           TX 77551‐5730
MILLNER, WARREN G              PO BOX 1790                                                                              PAHRUMP             NV 89041
MILLNIK, JENNY                 34 GOLD ST                                                                               EDISON              NJ 08837‐3210
MILLNIK, JOSEPH                34 GOLD ST                                                                               EDISON              NJ 08837‐3210
MILLNS, LUCINDA M              27656 ROAN DR.                                                                           WARREN              MI 48093‐8334
MILLON FLORENCE                7318 CLEOPATRA DRIVE                                                                     LAND O LAKES        FL 34637‐7446
MILLON, DEBORAH J              35 S CENTRAL ST                                                                          MILFORD             MA 01757‐3672
MILLON, DOLORES                1324 NORTH BRIARWOOD ROAD                                                                DERBY               KS 67037‐4026
MILLON, FLORENCE F             7318 CLEOPATRA DR                                                                        LAND O LAKES        FL 34637‐7446
MILLON, STEVEN L               100 HELMAR CT                                                                            BENTON HARBOR       MI 49022
MILLONZI, JAMES F              1345 76TH ST                                                                             CALEDONIA           WI 53108‐9711
MILLONZI, PATRICIA J           2409 10TH AVE APT 303                                                                    SOUTH MILWAUKEE     WI 53172‐2578
MILLONZI, PATRICIA J           2409 10TH AVE #303                                                                       SOUTH MILWAUKEE     WI 53172‐2578
MILLOT
MILLOTT, STELLA F              5163 LAMME RD                                                                            MORAINE            OH   45439‐3210
MILLOW MCCARTY                 HC 62 BOX 605                                                                            SALYERSVILLE       KY   41465‐8708
MILLOY, ELSIE A                2415 NEWPORT DR                                                                          LANSING            MI   48906‐3542
MILLOY, GREGORY T              227 PARK MEADOWS DR                                                                      LANSING            MI   48917‐3412
MILLOY, KATHLEEN L             2152 MORRIS AVE                                                                          BURTON             MI   48529‐2105
MILLOYS PHOTO‐GRAPHICS INC     2303 MILAM ST                                                                            SHREVEPORT         LA   71103‐2433
MILLRIGHT INC                  30 E CENTRAL PARKWAY                                                                     CINCINNATI         OH   45202
MILLS AUTO                     14138 DELLWOOD DR                                                                        BAXTER             MN   56425‐7441
MILLS AUTO CENTER, INC.        2000 1ST ST S                                                                            WILLMAR            MN   56201‐4200
MILLS AUTO CENTER, INC.                                                                                                 WILLMAR            MN   56201‐4200
MILLS AUTO CENTER, INC.        STEWART MILLS                    2000 1ST ST S                                           WILLMAR            MN   56201‐4200
MILLS AUTO CENTER, INC.        2508 AIRPORT DR                                                                          WILLMAR            MN   56201‐2706
MILLS AUTO ENTERPRISES, INC.   HENRY MILLS                      14138 DELLWOOD DR                                       BAXTER             MN   56425‐7441
MILLS BARJEANA                 ICO THE LANIER LAW FIRM P C      6810 FM 1960 WEST                                       HOUSTON            TX   77069
MILLS BILL                     420 LINVILLE ROAD                                                                        MEDIA              PA   19063‐5430
MILLS BRADLEY                  709 OAKLANDS DR                                                                          ROUND ROCK         TX   78681‐4029
MILLS BROOKE NACOLE            MILLS, BROOKE NACOLE             1700 S SECOND ST                                        BOONEVILLE         MS   38829‐9484
MILLS BROOKE NACOLE            SMITH, SHEILA                    1700 S SECOND ST                                        BOONEVILLE         MS   38829‐9484
MILLS CHARLES (656223)         PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                  PHILADELPHIA       PA   19103‐5446
MILLS CHEVROLET CO.            1610 39TH AVE                                                                            MOLINE             IL   61265‐7229
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Name                                 Address1                            Address2                         Address3   Address4                 City            State Zip
MILLS CHEVROLET CO.                  DAVID MILLS                         1610 39TH AVE                                                        MOLINE            IL 61265‐7229
MILLS CHEVROLET‐OLDS‐PONTIAC, INC.   153 N FRANKLIN ST                                                                                        RICHWOOD         OH 43344‐1055

MILLS CLARICE                        613 E 10TH ST                                                                                            ALLIANCE        NE 69301‐2738
MILLS CLIFFORD A (488185)            GEORGE & SIPES                      151 N DELAWARE ST STE 1700                                           INDIANAPOLIS    IN 46204‐2503
MILLS CONSTRUCTION INC STEVE         NORLING KOLSRUD SIFFERMAN & DAVIS   SUITE 690‐NATIONAL BANK PLAZA,                                       PHOENIX         AZ 85012
                                     P.L.C.                              3101 NORTH CENTRAL AVENUE

MILLS COUNTY APPRAISAL DISTRICT      PO BOX 565                                                                                               GOLDTHWAITE     TX   76844‐0565
MILLS DON                            7611 ZIEGLER RD                                                                                          CHATTANOOGA     TN   37421‐3159
MILLS ELIZABETH                      MILLS, ELIZABETH                    15 CLUB HOUSE DRIVE                                                  ALBERTVILLE     AL   35950‐3562
MILLS ERNESTEEN                      1025 KAYLIE ST                                                                                           GRAND PRAIRIE   TX   75052‐7152
MILLS FLOYD                          2546 OME AVE                                                                                             DAYTON          OH   45414‐5113
MILLS FLOYD E (429477)               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510
                                                                         STREET, SUITE 600
MILLS GEORGE E (471009)              ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET , ONE                                           BALTIMORE       MD 21202
                                                                         CHARLES CENTER 22ND FLOOR
MILLS HOWARD                         PO BOX 247                                                                                               CULPEPER        VA 22701‐0247
MILLS HUSSEY & PITTMAN               ATTN: JOSEPH TYWNE                  111 MANITOBA DRIVE, SUITE 201               CLARENVILLE, NL CANADA
                                                                                                                     A5A 1K2
MILLS I I I, CHARLES H               15918 E VIEW DR                                                                                          MACOMB          MI   48044‐3925
MILLS I I I, F J                     5925 HARPER RD                                                                                           HOLT            MI   48842‐8618
MILLS I I, MICHAEL K                 2204 E FARRAND RD                                                                                        CLIO            MI   48420‐9150
MILLS I V, FLOYD                     2542 OME AVE                                                                                             DAYTON          OH   45414‐5113
MILLS II, MICHAEL K                  2204 E FARRAND RD                                                                                        CLIO            MI   48420‐9150
MILLS III, F JOSEPH                  5925 HARPER RD                                                                                           HOLT            MI   48842‐8618
MILLS III, FLOYD                     2546 OME AVE                                                                                             DAYTON          OH   45414‐5113
MILLS III, WILLIAM M                 2301 N GLENWOOD AVE                                                                                      MUNCIE          IN   47304‐2334
MILLS IV, FLOYD                      2542 OME AVE                                                                                             DAYTON          OH   45414‐5113
MILLS JACK (ESTATE OF) (441869)      ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET , ONE                                           BALTIMORE       MD   21202
                                                                         CHARLES CENTER 22ND FLOOR
MILLS JAMES                          101 HALIFAX CV                                                                                           JACKSONVILLE    AR   72076‐3319
MILLS JEFF                           ALEC, GERALDINE                     PO BOX 762                                                           AUBERRY         CA   93602‐0762
MILLS JOANNE                         118 NORTH STREET                                                                                         DANVERS         MA   01923‐1241
MILLS JOE C (472120)                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510
                                                                         STREET, SUITE 600
MILLS JOYCE & BILLY                  NEED BETTER ADDRESS 10/03/06CP      RR 4 BOX 446                                                         CLEBURNE        TX   76031
MILLS JR, CHARLES R                  1390 BELVO ESTATES DR                                                                                    MIAMISBURG      OH   45342‐3896
MILLS JR, CHARLES ROSS               1390 BELVO ESTATES DR                                                                                    MIAMISBURG      OH   45342‐3896
MILLS JR, CLEOPHIS J                 PO BOX 1817                                                                                              MARION          IN   46952‐8217
MILLS JR, CLYDE F                    4519 THOMPSON RD                                                                                         LINDEN          MI   48451‐9412
MILLS JR, FRED                       1823 LEE RD APT 108                                                                                      CLEVELAND       OH   44118‐2152
MILLS JR, JERRY A                    9770 WILLOW LOT 3                                                                                        OVID            MI   48866
MILLS JR, JERRY ALLEN                9770 WILLOW LOT 3                                                                                        OVID            MI   48866
MILLS JR, JOE                        9085 KY 223                                                                                              FLAT LICK       KY   40935‐6121
MILLS JR, JOHN T                     1136 MILLS LN                                                                                            NEW BETHLEHEM   PA   16242‐8536
MILLS JR, MILTON L                   4807 CORAL BLVD                                                                                          BRADENTON       FL   34210‐2108
MILLS JR, OLA                        1610 WAYNE ST                                                                                            FLINT           MI   48503‐4254
MILLS JR, RALPH W                    356 CENTRAL ST                                                                                           FRAMINGHAM      MA   01701‐4148
MILLS JR, ROBERT L                   3662 STUTSMAN RD                                                                                         BELLBROOK       OH   45305‐9794
MILLS JR, SAMUEL C                   5596 BURING CT                                                                                           FORT MYERS      FL   33919‐2723
MILLS JR, THOMAS J                   151 S EMERSON LAKE DR                                                                                    BRANCH          MI   49402‐9628
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Name                                 Address1                            Address2                          Address3   Address4         City               State Zip
MILLS JR, THOMAS J                   8670 W 48 RD                                                                                      WELLSTON            MI 49689‐9545
MILLS JR, VOORHIES                   141 SOUTH BLVD W                                                                                  PONTIAC             MI 48341‐2957
MILLS JR,CHARLES ROSS                1390 BELVO ESTATES DR                                                                             MIAMISBURG          OH 45342‐3896
MILLS JR,ROBERT L                    3662 STUTSMAN RD                                                                                  BELLBROOK           OH 45305‐9794
MILLS KENNETH (ESTATE OF) (635408)   COONEY & CONWAY                     120 NORTH LASALLE STREET , 30TH                               CHICAGO              IL 60602
                                                                         FLOOR
MILLS LISA                           MILLS, LISA                         7935 AVENIDA ALAMAR                                           LA JOLLA           CA   92037
MILLS MCNEAL, SARAH A                3404 WILLIAMSBURG ST NW                                                                           WARREN             OH   44485‐2261
MILLS MICHAEL                        MILLS, MICHAEL                      200 E BIG BEAVER RD                                           TROY               MI   48083‐1208
MILLS MICHAEL                        601 AUBURN AVE                                                                                    MONROE             LA   71201‐5305
MILLS MILDRED (ESTATE OF) (655708)   BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                                   WILMINGTON         DE   19899‐2165
MILLS PAMELA                         MILLS, PAMELA                       135 WILSON ROAD                                               CENTRAL POINT      OR   97502
MILLS PAUL                           2341 NEW HOLLAND RD                                                                               BATESBURG          SC   29006‐9487
MILLS ROBERT                         14675 FOLTZ PKWY                                                                                  STRONGSVILLE       OH   44149‐4720
MILLS ROBERT                         7256 NORTHWEST 100TH STREET                                                                       GRIMES             IA   50111‐8028
MILLS ROBERT F (626664)              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                         STREET, SUITE 600
MILLS ROBERT L (659546)              GORI, JULIAN & ASSOCIATES PC        156 N MAIN ST                                                 EDWARDSVILLE       IL   62025
MILLS ROBERTS                        2120 N MACARTHUR BLVD                                                                             IRVING             TX   75061
MILLS ROGER (ESTATE OF) (487587)     BOYCE HOLLMAN & ASSOCIATES          PO BOX 1030                                                   GULFPORT           MS   39502‐1030
MILLS SAVAGE                         1746 BOWERS ST                                                                                    BIRMINGHAM         MI   48009‐6885
MILLS SR, LESLIE H                   2369 E MAIN ST                                                                                    PLEASANT HILL      LA   71065‐5609
MILLS STEVEN D (488514)              BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD         OH   44067
                                                                         PROFESSIONAL BLDG
MILLS STEVEN K                       AN CHEVROLET ARROWHEAD INC          SUITE 690‐NATIONAL BANK PLAZA ,                               PHOENIX            AZ   85012
                                                                         3101 NORTH CENTRAL AVENUE

MILLS TURNER                         3024 GRACELAND AVE                                                                                INDIANAPOLIS       IN 46208‐4616
MILLS VIVIAN                         10624 CLOUDVIEW DR                                                                                ORLANDO            FL 32825‐8549
MILLS WAYNE E (654770)               JOHN I. KITTEL                      30665 NORTHWESTERN HWY STE                                    FARMINGTON HILLS   MI 48334‐3145
                                                                         175
MILLS WILLIAM A (400751)             ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                           NEW YORK           NY   10006‐1638
MILLS, ADELYN L                      1960 CHELTENHAM PLACE                                                                             HOFFMAN EST        IL   60169‐2406
MILLS, AGNES M                       5 NEW HILLCREST AVE                                                                               EWING              NJ   08638‐3519
MILLS, ALBERT H                      3629 CHELTON ROAD                                                                                 CLEVELAND          OH   44120‐5065
MILLS, ALBERT J                      1208 E 38TH ST                                                                                    ANDERSON           IN   46013‐5332
MILLS, ALEXANDER                     PO BOX 5923                                                                                       BRADENTON          FL   34281‐5923
MILLS, ALEXANDRA M                   8328 BURR HILL RD                                                                                 RHOADESVILLE       VA   22542
MILLS, ALLEN S                       143 GREY GHOST LN                                                                                 MOUNT AIRY         NC   27030‐5922
MILLS, ALMA J                        222 EARLMOOR BLVD                                                                                 PONTIAC            MI   48341‐2748
MILLS, ALTON                         15591 PORTER RD                                                                                   VERONA             KY   41092‐9205
MILLS, AMY H                         811 E. BAIRD ST                                                                                   HOLLY              MI   48442
MILLS, ANDREW                        C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                        EDWARDSVILLE       IL   62025
                                     ROWLAND PC
MILLS, ANDREW V                      1421 ALYSSA DR                                                                                    CHAPEL HILL        TN   37034‐4041
MILLS, ANGELA M                      31 CHURCHILL RD                                                                                   GIRARD             OH   44420‐1864
MILLS, ANGELIA B                     717 GARFIELD AVE                                                                                  LANSING            MI   48917‐9245
MILLS, ANTHONY V                     104 MCKINLEY DR                                                                                   COLUMBIA           TN   38401‐5916
MILLS, APRIL A                       1229 W 36TH ST                                                                                    INDIANAPOLIS       IN   46208‐4133
MILLS, AQUE                          11618 DELMAR ST                                                                                   KANSAS CITY        MO   64134‐3948
MILLS, ARCHIE C                      2722 WELTON CIR                                                                                   DELTONA            FL   32738‐8961
MILLS, ARTHUR R                      36966 ELLIS ST                                                                                    NEW BOSTON         MI   48164‐9564
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Name                   Address1                         Address2                       Address3   Address4         City           State Zip
MILLS, AUDREA E        609 N MORTON ST LOT 80                                                                      SAINT JOHNS     MI 48879‐1287
MILLS, AUDREY J        26373 37TH ST                                                                               GOBLES          MI 49055‐9632
MILLS, AUDREY J        26373 37TH ST.                                                                              GOBLES          MI 49055‐9632
MILLS, AUTUMN
MILLS, AUTUMN          HC 69 BOX 2532                                                                              INEZ           KY   41224‐9410
MILLS, AZZY E          10940 W ROUNDELAY CIR                                                                       SUN CITY       AZ   85351‐2111
MILLS, BARABARA J.     1121 OLYNGER RD APT 64                                                                      GAS CITY       IN   46933‐1640
MILLS, BARJEANA        LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                               HOUSTON        TX   77069
MILLS, BENCIE H        PO BOX 1690                                                                                 CLARKESVILLE   GA   30523‐0029
MILLS, BENJAMIN G      4707 NEPTUNE LANE                                                                           HUBER HTS.     OH   45424‐6007
MILLS, BENJAMIN G      4707 NEPTUNE LN                                                                             DAYTON         OH   45424‐6007
MILLS, BERNARD L       87 S PROGRESS DR                                                                            XENIA          OH   45385‐2671
MILLS, BERNARD L       2207 MARDELL DR                                                                             DAYTON         OH   45459‐3633
MILLS, BERNICE E       361 LINCOLN AVE                                                                             MOUNT MORRIS   MI   48458‐1110
MILLS, BERNIE          7412 S. COLES, BASEMENT                                                                     CHICAGO        IL   60649
MILLS, BETTY C         1346 HICKORY MOSS PL                                                                        TRINITY        FL   34655‐7015
MILLS, BETTY J         2659 ALLISTER CIRCLE                                                                        MIAMISBURG     OH   45342‐5855
MILLS, BETTY M         3321 WEATHERED ROCK CIR                                                                     KOKOMO         IN   46902‐6065
MILLS, BETTY M         100 BRITTANY DR                                                                             LANSING        MI   48906‐1609
MILLS, BETTY W         2625 OME AVE                                                                                DAYTON         OH   45414‐5114
MILLS, BETTY W         2625 OME AVENUE                                                                             DAYTON         OH   45414‐5114
MILLS, BILLY J         43371 STONY HILL CT B                                                                       PALM DESERT    CA   92260
MILLS, BIRLEY          8473 W DELPHI PIKE                                                                          CONVERSE       IN   46919‐9575
MILLS, BOBBY C         29 TIMON ST                                                                                 BUFFALO        NY   14211‐2919
MILLS, BOBBY C         3742 TRAILS END                                                                             N TONAWANDA    NY   14120‐3633
MILLS, BOBBY O         11385 N LAKESIDE TRL                                                                        SHEPHERD       MI   48883‐8601
MILLS, BOBBY W         5041 WEBSTER RD                                                                             FLUSHING       MI   48433‐9028
MILLS, BRIAN L         217 SAINT IVES N                                                                            LANSING        MI   48906‐1528
MILLS, BROOKE
MILLS, BROOKE NACOLE   MICHAEL, RONALD D                1700 S SECOND ST                                           BOONEVILLE     MS   38829‐9484
MILLS, BROOKIE M       878 GLENDOWER AVE                                                                           COLUMBUS       OH   43207‐3142
MILLS, BRUCE E         522 DAVIS DR                                                                                ANDERSON       IN   46011‐1813
MILLS, CALVIN L        ANGELOS PETER G                  100 N CHARLES STREET, ONE                                  BALTIMORE      MD   21201‐3812
                                                        CHARLES CENTER
MILLS, CAREY R         2527 S GRANT CITY RD                                                                        SHIRLEY        IN   47384‐9635
MILLS, CARL E          801 BRYANT RIDGE RD                                                                         BAXTER         TN   38544‐3902
MILLS, CAROL J         6657 COUNTRY LANE DRIVE                                                                     DAVISBURG      MI   48350
MILLS, CAROLYN J       105 WEST ALDRICH ST                                                                         CAPAC          MI   48014‐3000
MILLS, CAROLYN J       105 W ALDRICH ST                                                                            CAPAC          MI   48014‐3000
MILLS, CAROLYN M       3764 KINGSWOOD DR                                                                           KETTERING      OH   45429‐4320
MILLS, CAROLYN S       5702 S WEBSTER ST                                                                           KOKOMO         IN   46902‐5252
MILLS, CARY L          9276 COUNTRY CLUB LN                                                                        DAVISON        MI   48423‐8357
MILLS, CECIL B         7333 E WISER AVE                                                                            CAMBY          IN   46113‐8583
MILLS, CECIL G         2651 LEONE AVE                                                                              LOGANVILLE     GA   30052‐6137
MILLS, CHARLANNE K     4207 KELLY COURT                                                                            KOKOMO         IN   46902‐4107
MILLS, CHARLENE H      9107 WESLEY PROVIDENCE PKWY                                                                 LITHONIA       GA   30038‐6969
MILLS, CHARLES         5243 CYPRESS DRIVE                                                                          LAKE PARK      GA   31636‐3161
MILLS, CHARLES         PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                     PHILADELPHIA   PA   19103‐5446
MILLS, CHARLES E       2508 N 900 W                                                                                PARKER CITY    IN   47368‐9795
MILLS, CHARLES E       305 BEDINGTON RD                                                                            MARTINSBURG    WV   25404‐6510
MILLS, CHARLES E       133 SUNSET RD                                                                               AVON LAKE      OH   44012‐1721
MILLS, CHARLES E.      523 OAK ST                                                                                  DUNDEE         MI   48131‐1313
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Name                   Address1                       Address2                     Address3   Address4         City               State Zip
MILLS, CHARLES L       4021 WESTERN DR                                                                         ANDERSON            IN 46012‐9272
MILLS, CHARLES R       415 TARA CIR                                                                            GREENWOOD           IN 45142‐7702
MILLS, CHARLIE L       7114 JULIAN ST                                                                          DETROIT             MI 48204‐3341
MILLS, CHARLOTTE M     11880 WOODSPOINTE DR                                                                    GRAND LEDGE         MI 48837‐9100
MILLS, CHARLOTTE S     27250 MURRIETA RD SPC 170                                                               SUN CITY            CA 92586‐3760
MILLS, CHESTER         BOONE ALEXANDRA                205 LINDA DR                                             DAINGERFIELD        TX 75638‐2107
MILLS, CHRISTIE
MILLS, CHRISTOPHER J   40 SWEENEY CT                                                                           SPRINGBORO         OH   45066‐8521
MILLS, CLAIRE MACON    2711 ARBOR AVE SE                                                                       ATLANTA            GA   30317‐2903
MILLS, CLEVELAND       3434 FLAJOLE RD                                                                         MIDLAND            MI   48642‐9236
MILLS, CLIFFORD A      GEORGE & SIPES                 151 N DELAWARE ST STE 1700                               INDIANAPOLIS       IN   46204‐2503
MILLS, CLINTON L       9158 HEATHERFIELD LN                                                                    SAGINAW            MI   48609‐6788
MILLS, CLYDE           235 PORTER DR                                                                           ENGLEWOOD          OH   45322‐2449
MILLS, COMMODORE       1559 ACADEMY PLACE                                                                      DAYTON             OH   45406‐4719
MILLS, CONSTANCE L     5019 BALLARD DR                                                                         DAYTON             OH   45418‐2019
MILLS, COY D           PO BOX 857                                                                              CHOCTAW            OK   73020‐0857
MILLS, CRAIG R         1654 PRATT LAKE RD                                                                      GLADWIN            MI   48624‐9623
MILLS, CURTIS L        4455 COOK RD                                                                            SWARTZ CREEK       MI   48473‐9105
MILLS, CURTISS         73 FLORIDA STREET                                                                       BUFFALO            NY   14208‐1124
MILLS, CYNTHIA L       9326 HERITAGE GLEN DR                                                                   MIAMISBURG         OH   45342‐4486
MILLS, DAFFO           1012 EMORY LN                                                                           INDIANAPOLIS       IN   46241‐1819
MILLS, DAFFO           1012 SOUTH EMORY LANE                                                                   INDIANAPOLIS       IN   46241‐1819
MILLS, DALE W          702 CAMINO DEL REY DR                                                                   LADY LAKE          FL   32159‐9155
MILLS, DALLAS L        1049 FOXGLOVE LN                                                                        DAVISON            MI   48423‐7905
MILLS, DANIEL E        11382 HIDDEN OAKS DR                                                                    CLIO               MI   48420‐2904
MILLS, DANIEL L        10704 PAGELS RD                                                                         BIRCH RUN          MI   48415‐9433
MILLS, DANNI D         700 S PINEHURST LN                                                                      YORKTOWN           IN   47396
MILLS, DARRELL         6070 FOX CHASE TRL                                                                      SHREVEPORT         LA   71129
MILLS, DARRELL         DALEY ROBERT                   707 GRANT ST STE 2500                                    PITTSBURGH         PA   15219‐1945
MILLS, DAVID G         711 E CENTER ST                                                                         ITHACA             MI   48847‐1511
MILLS, DAVID H         1540 LOMA VISTA ROAD                                                                    BULLHEAD CITY      AZ   86442‐6025
MILLS, DAVID M         241 MAPLE AVE                                                                           CARLISLE           OH   45005‐1329
MILLS, DAVID R         5 NEWTON ST                                                                             SILVER CREEK       NY   14136‐1615
MILLS, DAVID T         5665 S PARK AVE UNIT 20                                                                 HAMBURG            NY   14075‐7508
MILLS, DAVID W         4237 PINE ST                                                                            NEW BOSTON         OH   45662‐5116
MILLS, DEAN A          4373 SHUBERT AVE                                                                        BURTON             MI   48529‐2138
MILLS, DEAN ALLEN      4373 SHUBERT AVE                                                                        BURTON             MI   48529‐2138
MILLS, DELIA M         3545 S AIRPORT RD                                                                       BRIDGEPORT         MI   48722‐9587
MILLS, DELIA V         7287 101ST ST                                                                           FLUSHING           MI   48433‐8706
MILLS, DELORIS         1739 WINDSOR RD                                                                         MANSFIELD          OH   44905‐1752
MILLS, DELORIS         1739 WINDSOR ROAD                                                                       MANSFIELD          OH   44905‐1752
MILLS, DENISE          1440 N LAWNWOOD CIR APT 16B                                                             FORT PIERCE        FL   34950‐6954
MILLS, DENNIS
MILLS, DENNIS J        10490 S STATE RD                                                                        ASHLEY             MI   48806‐9717
MILLS, DENNIS M        PO BOX 527                                                                              WENTZVILLE         MO   63385‐0527
MILLS, DEWAYNE         540 S WINANS RD                                                                         ITHACA             MI   48847‐9747
MILLS, DEWEY           9260 MADISON RD NE                                                                      WASHINGTON COURT   OH   43160‐8633
                                                                                                               HOUSE
MILLS, DOLORES         3233 GLENDALE ST                                                                        DETROIT            MI   48238‐3332
MILLS, DOLORES         3233 GLENDALE                                                                           DETROIT            MI   48238‐3332
MILLS, DOLORES         1030 BENNINGTON ST APT 6                                                                EAST BOSTON        MA   02128‐1130
MILLS, DOLORES L       1863 S. ARGUS CT.                                                                       JACKSON            MI   49203‐5103
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Name                  Address1                            Address2                      Address3   Address4         City             State Zip
MILLS, DOLORES L      1863 S ARGUS CT                                                                               JACKSON           MI 49203‐5103
MILLS, DONALD G       4833 WOLF CREEK PIKE                                                                          DAYTON            OH 45427‐3339
MILLS, DONALD R       PO BOX 745                                                                                    WEST CHESTER      OH 45071‐0745
MILLS, DONALD S       2500 BRETON WOODS DR SE UNIT 2034                                                             GRAND RAPIDS      MI 49512‐9128
MILLS, DONALD S       311 HELMSLEY DR                                                                               BRANDON           MS 39047‐8160
MILLS, DONNA M        12683 ILENE ST                                                                                DETROIT           MI 48238‐3053
MILLS, DORA CAROLYN
MILLS, DORIS RUTH     730 BLACKBURN BLVD                                                                            NORTH PORT       FL   34287
MILLS, DOROTHY G      3215 VULCAN RD                                                                                BALTIMORE        MD   21222‐2716
MILLS, DOROTHY L      2226 NANDI HILLS TR                                                                           SWARTZ CREEK     MI   48473‐7912
MILLS, DOUGLAS J      30159 WARNER AVE                                                                              WARREN           MI   48092‐4860
MILLS, DWENELL
MILLS, DWENELL A      PO BOX 9022                         C/O GM KOREA                                              WARREN           MI   48090‐9022
MILLS, E M            1229 W TOBIAS RD                                                                              CLIO             MI   48420‐1764
MILLS, EARL L         G7163 N CENTER RD                                                                             MOUNT MORRIS     MI   48458
MILLS, EARL W         3912 N LINDEN ST                                                                              MUNCIE           IN   47304‐1529
MILLS, EDGAR T        2659 ALLISTER CIR                                                                             MIAMISBURG       OH   45342‐5855
MILLS, EDNA M         1093 MEADOW LAKE DR                                                                           MASON CITY       IA   50401‐7125
MILLS, EDWARD D       901 ELMWOOD CT                                                                                BOWLING GREEN    KY   42103‐2434
MILLS, EDWARD H       26400 CAMPAU LN                                                                               HARRISON TWP     MI   48045‐2437
MILLS, EDWARD W       2309 SHERMAN AVE                                                                              WILMINGTON       DE   19804‐3828
MILLS, EDWIN J        4677 FLEMING ST                                                                               DEARBORN HTS     MI   48125‐3329
MILLS, ELISABETH M    11325 S OLD JONES RD                                                                          FLORAL CITY      FL   34436‐5104
MILLS, ELIZABETH      15 CLUB HOUSE DR                                                                              ALBERTVILLE      AL   35950‐3562
MILLS, ELIZABETH J    4757 PLANK RD.                                                                                NORWALK          OH   44857‐9792
MILLS, ELIZABETH J    4757 PLANK RD                                                                                 NORWALK          OH   44857‐9792
MILLS, ELIZABETH M    9602 SHEPHERD ROAD                                                                            ONSTED           MI   49265‐9524
MILLS, ELMER L        6410 OAK HILLS DR                                                                             FESTUS           MO   63028‐5237
MILLS, ELOUISE        645 CASTLEBROOKE WAY                                                                          LAWRENCEVILLE    GA   30045
MILLS, ELVIA          337 S. 19TH ST                                                                                SAGINAW          MI   48601‐1522
MILLS, ELVIA          337 S 19TH ST                                                                                 SAGINAW          MI   48601‐1522
MILLS, EMMA L         1687 DAVES CREEK RD                                                                           CUMMING          GA   30041‐6506
MILLS, ESTHER L       2700 EATON RAPIDS RD #148                                                                     LANSING          MI   48911‐6321
MILLS, EUGENE C       1000 E 10200 S                                                                                UPLAND           IN   46989
MILLS, EUGENE K       5441 WENDY CIR                                                                                LANSING          MI   48911‐3700
MILLS, EUGENE W       1511 JADE ST                                                                                  PRATTVILLE       AL   36067‐7624
MILLS, FLOYD E        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                          STREET, SUITE 600
MILLS, FLOYD J        265 KINSMAN RD                                                                                GREENVILLE       PA   16125‐6125
MILLS, FRANK          41808 RAMBLER AVE                                                                             ELYRIA           OH   44035‐2156
MILLS, FRANK A        5233 DANIEL DR                                                                                BRIGHTON         MI   48114‐9036
MILLS, FRANK D        958 EAST DOUBLETREE LANE                                                                      SPRINGFIELD      MO   65810‐3262
MILLS, FRANK E        294 CAMBRIDGE DR                                                                              DIMONDALE        MI   48821‐9775
MILLS, FRANK H        1482 TRIPODI CIRCLE                                                                           NILES            OH   44446‐3563
MILLS, FRANKIE        5440 ROXFORD DR                                                                               DAYTON           OH   45432‐3628
MILLS, FRED           11790 ENGLESIDE ST                                                                            DETROIT          MI   48205‐3320
MILLS, FREDDIE P      BOX 349 JIM HILL RD                                                                           PILOT MOUNTAIN   NC   27041
MILLS, GARLAND H      1410 W 35TH ST                                                                                INDIANAPOLIS     IN   46208‐4161
MILLS, GARY           101 E DAVID RD                                                                                KETTERING        OH   45429‐5203
MILLS, GARY           571 KATHYS WAY                                                                                XENIA            OH   45385‐5385
MILLS, GARY D         4157 E M 71                                                                                   CORUNNA          MI   48817‐9509
MILLS, GARY DALE      4157 E M 71                                                                                   CORUNNA          MI   48817‐9509
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Name                  Address1                         Address2                    Address3   Address4             City           State Zip
MILLS, GARY G         300 AIRPORT DR                                                                               HOLLY           MI 48442‐1247
MILLS, GARY L         10714 TUMILTY AVE                                                                            MIDWEST CITY    OK 73130‐2230
MILLS, GARY L         959 KOOGLE RD                                                                                MANSFIELD       OH 44903‐8209
MILLS, GARY W         11815 E GOODALL RD                                                                           DURAND          MI 48429‐9782
MILLS, GAVIN N        92 RANDOLPH RD                                                          TORONTO ON M4G 3R9
                                                                                              CANADA
MILLS, GENEVA H       985 ROME RD                                                                                  LANCING        TN   37770‐2708
MILLS, GEORGE         BOONE ALEXANDRA                  205 LINDA DR                                                DAINGERFIELD   TX   75638‐2107
MILLS, GEORGE A       1980 LEHNER RD                   C/O JOSE MILLS                                              COLUMBUS       OH   43224‐2233
MILLS, GEORGE E       2145 NEWBERRY RD                                                                             POCAHONTAS     AR   72455‐7170
MILLS, GEORGE E       1634 VIRGILENE DR                                                                            ROGERS CITY    MI   49779‐1450
MILLS, GEORGE E       1654 POLES RD                                                                                BALTIMORE      MD   21221‐2913
MILLS, GEORGE E       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                   BALTIMORE      MD   21202
                                                       CHARLES CENTER 22ND FLOOR
MILLS, GEORGE R       G9125 CLIO RD                                                                                CLIO           MI   48420
MILLS, GEORGE R       12865 HOUGH RD                                                                               RILEY          MI   48041‐3504
MILLS, GERALD A       609 N MORTON ST LOT 80                                                                       SAINT JOHNS    MI   48879‐1287
MILLS, GERALD B       53327 MARK DR                                                                                SHELBY TWP     MI   48316‐2374
MILLS, GERALD E       410 KATYDID DR                                                                               WINCHESTER     VA   22603‐4035
MILLS, GERALDINE L    121 ABBOTT RD                                                                                LENOIR CITY    TN   37771‐7689
MILLS, GERE' L        200 SOUTH SMITH AVE APT F2‐804                                                               PENNS GROVE    NJ   08069
MILLS, GERTRUDE       3122 MONTANA AVE                                                                             FLINT          MI   48506‐2540
MILLS, GLADYS F       129 CORONADO DR                                                                              BROOKVILLE     OH   45309
MILLS, GLADYS M       11379 TERRY ST                                                                               DETROIT        MI   48227‐2420
MILLS, GOVENOR C      4016 CATHERINE AVE                                                                           NORWOOD        OH   45212‐4030
MILLS, GRACE          135 OAK SPRINGS CT.                                                                          EASLEY         SC   29640‐8763
MILLS, GREG W         1634 NORTHDALE RD                                                                            DAYTON         OH   45432‐3510
MILLS, GREGORY L      650 KASEY LN                                                                                 HASLETT        MI   48840‐9774
MILLS, GREGORY M      1865 KENNEDY RD                                                                              SAINT CLAIR    MI   48079‐3213
MILLS, HAROLD K       600 DENMARK ST                                                                               BALDWIN        MI   49304‐7500
MILLS, HARRY A        61 STOTELMYER LN                                                                             MARTINSBURG    WV   25405‐6814
MILLS, HARRY ANDREW   61 STOTELMYER LN                                                                             MARTINSBURG    WV   25405‐6814
MILLS, HARVEY A       3790 LAWNDALE LN N APT 121                                                                   PLYMOUTH       MN   55446‐2952
MILLS, HARVEY O       3413 S 740 E                                                                                 BRINGHURST     IN   46913‐9674
MILLS, HENRY BRUCE    2316 SOUTHAMPTON AVE                                                                         FLINT          MI   48507‐4452
MILLS, HENRY E        403 FAIRMONT DR                                                                              EDEN           NC   27288‐2800
MILLS, HERBERT D      PO BOX 1107                                                                                  SPRING HILL    TN   37174‐1107
MILLS, HERBERT H      10 QUAYLE RUN                                                                                HUNTINGTON     IN   46750‐9082
MILLS, HOMER M        PO BOX 1831                                                                                  NORTH CONWAY   NH   03860‐1831
MILLS, HOWARD B       26373 37TH ST                                                                                GOBLES         MI   49055‐9632
MILLS, HOWARD E       16601 POWERLINE RD                                                                           HOLLEY         NY   14470‐9002
MILLS, HUBERT D       3107 ANDREWS CHAPEL RD                                                                       THOMASTON      GA   30286‐4431
MILLS, HUBERT L       4101 CAMPBELL AVE                                                                            INDIANAPOLIS   IN   46226‐4840
MILLS, IDABELLE B     8308 W S.R. 32                                                                               LAPEL          IN   46051
MILLS, ILENE V.       2156 FLAJOLE RD                                                                              MIDLAND        MI   48642
MILLS, ISAAC          5722 KINGLET LN                                                                              CHARLOTTE      NC   28269‐7116
MILLS, ISIAH          124 EARLMOOR BLVD                                                                            PONTIAC        MI   48341‐2743
MILLS, JACK           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                   BALTIMORE      MD   21202
                                                       CHARLES CENTER 22ND FLOOR
MILLS, JACK F         2010 E 5TH ST                                                                                ANDERSON       IN 46012‐3527
MILLS, JACQUE L       5968 BEATY LN                                                                                HAMILTON       OH 45011‐2201
MILLS, JACQUELYN A    192 FAIRFIELD                                                                                KENMORE        NY 14223
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Name                  Address1                      Address2                      Address3   Address4         City              State Zip
MILLS, JACQUELYN A    192 FAIRFIELD AVE                                                                       KENMORE            NY 14223‐2846
MILLS, JAKE L         9550 ELLA LEE LN APT 1436                                                               HOUSTON            TX 77063‐1274
MILLS, JAMES          23984 STONY CREEK DR                                                                    FARMINGTN HLS      MI 48336‐2234
MILLS, JAMES A        1730 N GLEANER RD                                                                       SAGINAW            MI 48609‐9472
MILLS, JAMES B        545 SEAWRIGHT ST                                                                        ORANGEBURG         SC 29115‐3040
MILLS, JAMES C        507 S CENTER ST                                                                         ARLINGTON          TX 76010‐1663
MILLS, JAMES C        6339 ROSEDALE RD                                                                        LANSING            MI 48911‐5616
MILLS, JAMES E        12659 LEEVILLE RD                                                                       COLLINSVILLE       MS 39325‐9721
MILLS, JAMES E        5212 GRAPEVINE DRIVE                                                                    W LAFAYETTE        IN 47906‐9044
MILLS, JAMES E        PO BOX 199                                                                              ARJAY              KY 40902‐0199
MILLS, JAMES E        5671 CULPEPPER DR                                                                       WEST BLOOMFIELD    MI 48322‐1515
MILLS, JAMES E        30115 WELLTON MOHAWK DRIVE    110                                                       WELLTON            AZ 85356
MILLS, JAMES H        PO BOX 844                                                                              PINE LAKE          GA 30072‐0844
MILLS, JAMES H        422 BUSHMILL RD                                                                         BREMEN             GA 30110‐3482
MILLS, JAMES J        1540 E CLEVELAND RD                                                                     ASHLEY             MI 48806‐9741
MILLS, JAMES L        520 CHERRY LN                                                                           GAS CITY           IN 46933‐1209
MILLS, JAMES L        3802 W 79TH ST                                                                          INDIANAPOLIS       IN 46268‐1920
MILLS, JAMES M        1029 W 39TH ST                                                                          ANDERSON           IN 46013‐4031
MILLS, JAMES M        5123 W STATE ROAD 132                                                                   PENDLETON          IN 46064‐9097
MILLS, JAMES O        8075 FREDA ST                                                                           DETROIT            MI 48204‐3125
MILLS, JAMES R        1926 SPRINGHILL DR                                                                      O FALLON           MO 63366‐3933
MILLS, JAMES R        1735 GORSUCH AVE                                                                        BALTIMORE          MD 21218‐4927
MILLS, JAMES W        3050 ANN ST                                                                             HOLLY              MI 48442‐8009
MILLS, JANE E         142 CREAMER DR                                                                          CEDARVILLE         OH 45314‐8505
MILLS, JANET C        432 MARTIN RD APT C                                                                     ROCK FALLS          IL 61071‐1956
MILLS, JANICE G       240 PARLIAMENT LN                                                                       FLINT              MI 48507‐5930
MILLS, JANICE K       1600 N VAN RD                                                                           HOLLY              MI 48442‐9452
MILLS, JASON A        85 KATHIE CT                                                                            GERMANTOWN         OH 45327‐8326
MILLS, JEAN E         630 SAGINAW ST.                                                                         VASSAR             MI 48768
MILLS, JEAN E         630 SAGINAW ST                                                                          VASSAR             MI 48768‐1133
MILLS, JEFFREY J      823 COLORADO AVE                                                                        ALLIANCE           NE 69301‐2829
MILLS, JEFFREY W      1458 N OAK RD                                                                           DAVISON            MI 48423‐9101
MILLS, JENNIFER       11215 DRAKE RD                                                                          CATO               NY 13033‐3261
MILLS, JEREMY D       45870 S STONEWOOD RD                                                                    CANTON             MI 48187‐6630
MILLS, JEREMY WAYNE
MILLS, JERRY W        3013 W FEDERAL HWY                                                                      ROSCOMMON         MI 48653‐9611
MILLS, JESSICA
MILLS, JILL M         7264 DAVISON RD                                                                         DAVISON           MI   48423‐2010
MILLS, JIMMIE E       238 SATELLITE AVE                                                                       INVERNESS         FL   34450
MILLS, JODIE O        1035 E LAKE RD                                                                          CLIO              MI   48420‐8825
MILLS, JOE A          845 PATRIOTS WAY                                                                        MEDINA            OH   44256‐7143
MILLS, JOE C          GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                    STREET, SUITE 600
MILLS, JOE N          4704 BONNEVILLE DR                                                                      ARLINGTON         TX   76016‐1704
MILLS, JOHN           HC 69 BOX 2532                                                                          INEZ              KY   41224‐9410
MILLS, JOHN           PATTON JERRY A                252 E COURT ST                                            PRESTONSBURG      KY   41653‐7932
MILLS, JOHN A         10065 MINX RD                                                                           TEMPERANCE        MI   48182‐9359
MILLS, JOHN C         14760 WOODMONT AVE                                                                      DETROIT           MI   48227‐1454
MILLS, JOHN E         1750 OAK GROVE RD                                                                       HOWELL            MI   48855‐7357
MILLS, JOHN E         4620 TOLES RD                                                                           MASON             MI   48854‐9725
MILLS, JOHN H         222 EARLMOOR BLVD                                                                       PONTIAC           MI   48341‐2748
MILLS, JOHN R         2940 HAZELWOOD ST                                                                       DETROIT           MI   48206‐2133
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Name                  Address1                            Address2                         Address3   Address4         City               State Zip
MILLS, JOHN R         1013 E BEARD RD                                                                                  PERRY               MI 48872‐9521
MILLS, JOSEPH B
MILLS, JOSEPH E       5 NEW HILLCREST AVE                                                                              EWING              NJ    08638‐3519
MILLS, JOSEPH H       3116 WARREN BURTON RD                                                                            SOUTHINGTON        OH    44470‐9581
MILLS, JOSEPH L       1684 WYNTERBROOKE DR                                                                             KOKOMO             IN    46901‐0709
MILLS, JOYCE L        PO BOX 781                                                                                       KOKOMO             IN    46903‐0781
MILLS, JUANITA M      2901 AIRPORT AVENUE                 APT 1004                                                     ROSENBERG          TX    77471
MILLS, JUDITH A       PO BOX 134                                                                                       HARVEYSBURG        OH    45032‐0134
MILLS, JUDITH H       3802 W 79TH ST                                                                                   INDIANAPOLIS       IN    46268‐1920
MILLS, JULIA A        807 IRIS ST                                                                                      BAKERSFIELD        CA    93308‐4415
MILLS, JULIANN        PO BOX 73                                                                                        BIRCH RUN          MI    48415‐0073
MILLS, JUNE M         5844 S CURTICE ST APT 101                                                                        LITTLETON          CO    80120
MILLS, JUSTIN ALLEN   49698 GLOUCESTER CT                                                                              SHELBY TWP         MI    48315‐3702
MILLS, KAREN M        751 CHURCHILL RD APT 5                                                                           GIRARD             OH    44420
MILLS, KAREN S        8299 THORNHILL DR                                                                                YPSILANTI          MI    48197‐6199
MILLS, KATHIE S       PO BOX 300312                                                                                    DRAYTON PLAINS     MI    48330‐0312
MILLS, KATHLEEN A     PO BOX 754                                                                                       BEAVER             WV    25813‐0754
MILLS, KATHRYN C      2814 WINDRUSH PASS                                                                               FLINT              MI    48506‐1337
MILLS, KATHRYN C      2309 QUAIL HOLLOW DR                                                                             GRAND PRAIRIE      TX    75051‐4210
MILLS, KELLY A        2455 BAZETTA RD NE                                                                               WARREN             OH    44481‐9303
MILLS, KENDRA K       1801 E COURT ST                                                                                  FLINT              MI    48503‐5343
MILLS, KENNETH        1212 WELBORN RD                                                                                  WILMINGTON         NC    28409‐4449
MILLS, KENNETH        COONEY & CONWAY                     120 NORTH LASALLE STREET, 30TH                               CHICAGO             IL   60602
                                                          FLOOR
MILLS, KENNETH A      2245 W 950 NORTH                                                                                 MUNCIE             IN    47302
MILLS, KENNETH E      218 E BOULEVARD                                                                                  KOKOMO             IN    46902‐2209
MILLS, KENNETH E      1536 CANFIELD AVE                                                                                DAYTON             OH    45406‐4207
MILLS, KENNETH E      2287 STRADER DR                                                                                  W BLOOMFIELD       MI    48324‐1371
MILLS, KENNETH F      3915 EDMONTON RD                                                                                 TOMPKINSVILLE      KY    42167‐9409
MILLS, KENNETH L      6007 W FRANCES RD                                                                                CLIO               MI    48420‐8512
MILLS, KENNETH L      5154 CENTREVILLE                                                                                 GRAND BLANC        MI    48439‐8733
MILLS, KENRICK F      1755 S 65TH ST                                                                                   PHILADELPHIA       PA    19142‐1432
MILLS, KEVIN D        7404 ROCHESTER LANE                                                                              ARLINGTON          TX    76002‐3491
MILLS, KEVIN DWAIN    7404 ROCHESTER LANE                                                                              ARLINGTON          TX    76002‐3491
MILLS, KEVIN T        8711 ESSEN DR                                                                                    STERLING HEIGHTS   MI    48314‐1649
MILLS, KEVIN W        BREIT DRESCHER AND BRETT PC         1000 DOMINION TOWER 999                                      NORFOLK            VA    23510
                                                          WATERSIDE DRIVE
MILLS, KEVIN W        CARTER CRAIG BASS BLAIR & KUSHNER   PO BOX 601                                                   DANVILLE           VA    24543‐0601
MILLS, KIMBERLY Y     510 9TH STREET                                                                                   ROYAL OAK          MI    48067‐3143
MILLS, KIRK D         16475 KINGSTON                                                                                   FRASER             MI    48026‐3270
MILLS, KIRK DAVID     16475 KINGSTON                                                                                   FRASER             MI    48026‐3270
MILLS, KRISTIE        HC 69 BOX 2532                                                                                   INEZ               KY    41224‐9410
MILLS, LARRY A        3096 W FRANCES RD                                                                                CLIO               MI    48420‐8565
MILLS, LARRY D        4014 PROCTOR AVE                                                                                 FLINT              MI    48504‐2265
MILLS, LARRY J        3402 BRUNSWICK AVE                                                                               FLINT              MI    48507‐1741
MILLS, LARRY L        5417 MAJESTIC CT                                                                                 SWARTZ CREEK       MI    48473‐8938
MILLS, LARRY L        346 RIVER ENCLAVE CT                                                                             BRADENTON          FL    34212‐3297
MILLS, LARRY T        1347 THREE FORKS FLATROCK RD                                                                     OAKLAND            KY    42159‐9750
MILLS, LARRY W        918 PARK DR                                                                                      LEBANON            IN    46052‐1539
MILLS, LAURENCE M     6980 SCRIPPS CRESCENT ST                                                                         GOLETA             CA    93117
MILLS, LAWRENCE P     16730 OLE R R GRADE RD                                                                           ATLANTA            MI    49709‐8997
MILLS, LEAH           4233 W COURT ST APT 10                                                                           FLINT              MI    48532‐4304
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Name                  Address1                         Address2               Address3         Address4         City            State Zip
MILLS, LEAH           529 E 6TH ST                                                                              ROYAL OAK        MI 48067‐2850
MILLS, LEAMON         350 POWDER MILL SCHOOLHOUSE RD                                                            MAGNOLIA         KY 42757‐7910
MILLS, LEDENE         115 PROVIDENCE DR                                                                         COVINGTON        GA 30016‐9081
MILLS, LEE ANN        3482 KEITH BRIDGE ROAD           #107                                                     CUMMING          GA 30041
MILLS, LEMAN J        5005 MCCOY CIR                                                                            CUMMING          GA 30040‐4269
MILLS, LENA B         8616 W 10TH ST APT 302                                                                    INDIANAPOLIS     IN 46234‐2170
MILLS, LEON R         13227 BACK CREEK VALLEY RD                                                                HEDGESVILLE      WV 25427‐5526
MILLS, LEONARD L      PO BOX 552                                                                                GARDEN CITY      MO 64747‐0552
MILLS, LEOTA L        1723 S JANEWAY AVE                                                                        MOORE            OK 73160‐2764
MILLS, LESLIE M       300 HUFF N PUFF HILL LN                                                                   GRAVOIS MILLS    MO 65037‐6805
MILLS, LILLIE A       815 E CENTER RD                                                                           KOKOMO           IN 46902‐5366
MILLS, LILLIE A       815 EAST CENTER ROAD                                                                      KOKOMO           IN 46902
MILLS, LINDA A        PO BOX 52                                                                                 LEBANON          GA 30146‐0052
MILLS, LINDA K        30115 E WELLTON MOHAWK DR        SPC 110                                                  WELLTON          AZ 85356‐6598
MILLS, LINDA K        238 SATELLITE AVE                                                                         INVERNESS        FL 34450
MILLS, LINDA L        11320 S RIDGE RD                                                                          GALVESTON        IN 46932‐8644
MILLS, LISA A         4018 SWEET RD                                                                             HOWELL           MI 48843‐8817
MILLS, LLOYD H        5702 SOUTH WEBSTER STREET                                                                 KOKOMO           IN 46902‐5252
MILLS, LOIS H         15655 STATE ROAD 32 E                                                                     NOBLESVILLE      IN 46060‐6997
MILLS, LOIS M         6284 LAKE RD                                                                              MILLINGTON       MI 48746‐9232
MILLS, LORENZO        451 STUYVESANT AVE                                                                        IRVINGTON        NJ 07111‐2003
MILLS, LORENZO G      16528 STRATHMOOR ST                                                                       DETROIT          MI 48235‐4069
MILLS, LOY J          4266 E CLINTON TRL                                                                        EATON RAPIDS     MI 48827‐9013
MILLS, LUCILLE        124 EARLMO0R                                                                              PONTIAC          MI 48341
MILLS, LYNN M         905 JEWETT HOLMWOOD ROAD                                                                  AURORA           NY 14052
MILLS, MABEL P        PO BOX 99                                                                                 LINDEN           MI 48451‐0099
MILLS, MADELINE       1610 WAYNE ST                                                                             FLINT            MI 48503‐4254
MILLS, MARCIA         8901 W 125 N                                                                              ANDERSON         IN 46011‐9148
MILLS, MARIA          267 WINTERGREEN LANE                                                                      CARNEYS POINT    NJ 08069
MILLS, MARIE A        2 DEER TRACK TRL UNIT B                                                                   NORWALK          OH 44857‐9009
MILLS, MARIE A        2B DEER TRACK TRL                                                                         NORWALK          OH 44857‐9009
MILLS, MARIE C        2849 STEVENSON STREET                                                                     FLINT            MI 48504‐7538
MILLS, MARIE E        302 AIRPORT DR.                                                                           HOLLY            MI 48442‐1247
MILLS, MARIE E        302 AIRPORT DR                                                                            HOLLY            MI 48442‐1247
MILLS, MARILYN I      1024 TABASCO TRL                                                                          ARLINGTON        TX 76002‐3041
MILLS, MARILYN INEZ   1024 TABASCO TRL                                                                          ARLINGTON        TX 76002‐3041
MILLS, MARILYN J      7560 ROAD 192                                                                             ANTWERP          OH 45813‐9203
MILLS, MARION J       201 W JOLLY RD APT 607                                                                    LANSING          MI 48910‐6655
MILLS, MARJORIE N     7736 POCANNO RD                                                                           KNOXVILLE        TN 37919‐7119
MILLS, MARK D         14604 S ROBINSON AVE                                                                      OKLAHOMA CITY    OK 73170‐7236
MILLS, MARK H         2537 LAKERIDGE DR                                                                         COLUMBIA         TN 38401‐7426
MILLS, MARK H         8137 NE SAN RAFAEL DR                                                                     KANSAS CITY      MO 64119‐4232
MILLS, MARK W         9423 WEST CONSTELLATION DRIVE                                                             PENDLETON        IN 46064‐7512
MILLS, MARLYN C       8005 WALLACE RD                                                                           DUNDALK          MD 21222‐2608
MILLS, MARTIN C       7887 TIPSICO TRAIL ROUTE 3                                                                HOLLY            MI 48442
MILLS, MARVIN J       1021 ARCHAMBAULT LN                                                                       VESTABURG        MI 48891‐9432
MILLS, MARY           1640 LITTLETON DR                                                                         LOUDON           TN 37774‐4716
MILLS, MARY           28 HEWARD AVE                                                                             BUFFALO          NY 14207‐1411
MILLS, MARY A         84 MARGARET ST                                                                            STATEN ISLAND    NY 10308‐2216
MILLS, MARY A         200 LOVE AVE                                                                              GREENWOOD        IN 46142‐1410
MILLS, MARY E         #6 SEVENS ESTATES DR.                                                                     WINFIELD         MO 63389
MILLS, MARY E         6702 CREEK BAY DR APT D                                                                   INDIANAPOLIS     IN 46217‐3046
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Name                       Address1                         Address2               Address3        Address4         City            State Zip
MILLS, MARY J              640 CLIFFS DR                    APT 202 B                                               YPSILANTI        MI 48198
MILLS, MARY M              131 HINMAN AVE                                                                           BUFFALO          NY 14216‐1109
MILLS, MATTHEW
MILLS, MATTHEW             HC 69 BOX 2532                                                                           INEZ            KY   41224‐9410
MILLS, MATTHEW S           311 W BURT DR                                                                            COLUMBIA        TN   38401‐2073
MILLS, MAXINE L            6007 WEST FRANCIS ROAD                                                                   CLIO            MI   48420
MILLS, MAXINE L            6007 W FRANCES RD                                                                        CLIO            MI   48420‐8512
MILLS, MELVIN D            21 BURDETTE DR                                                                           BUFFALO         NY   14225‐1703
MILLS, MERRITT R           604 N PURSLEY ST                                                                         FARMLAND        IN   47340‐9788
MILLS, MICHAEL C           1609 BURTON ST SE                                                                        GRAND RAPIDS    MI   49506‐4418
MILLS, MICHAEL J           1146 S BRIER CREEK CT                                                                    NEW PALESTINE   IN   46163
MILLS, MICHAEL JAMES       3142 BRIANS CREEK DR SE                                                                  CONYERS         GA   30013‐6437
MILLS, MICHAEL K           3001 HUSTON DR                                                                           MILLINGTON      MI   48746
MILLS, MICHAEL L           1919 BEAUMONT DR APT C                                                                   NORMAN          OK   73071‐2278
MILLS, MICHAEL L           1960 E 75 N                                                                              LEBANON         IN   46052‐8120
MILLS, MICHAEL LYNN        1960 E 75 N                                                                              LEBANON         IN   46052‐8120
MILLS, MICHELLE            BLALOCK TIM DAVID                220 MAIN ST                                             NATCHEZ         MS   39120‐3460
MILLS, MICHELYN G          16475 KINGSTON                                                                           FRASER          MI   48026‐3270
MILLS, MICHELYN GILBERTE   16475 KINGSTON                                                                           FRASER          MI   48026‐3270
MILLS, MILDRED J           APT 2002                         3350 MCCUE ROAD                                         HOUSTON         TX   77056‐7129
MILLS, MILDRED L           86 W TWINBAIL LOOP                                                                       THE WOODLANDS   TX   77384
MILLS, NANCY CAROLE        1500 SAINT CLAIR RIVER DR 4                                                              ALGONAC         MI   48001‐1386
MILLS, NANCY K             4085 WIDEVIEW DRIVE                                                                      MORRISTOWN      TN   37814‐6729
MILLS, NANCY K             4085 WIDE VIEW DR                                                                        MORRISTOWN      TN   37814‐6729
MILLS, NANCY P             30125 SAINT MARTINS ST # 415                                                             LIVONIA         MI   48152‐1957
MILLS, NAOMI R             609 E MARKLAND AVE                                                                       KOKOMO          IN   46901‐6212
MILLS, NATHAN
MILLS, NED                 1524 EMILY ST                                                                            SAGINAW         MI   48601‐3036
MILLS, NITA G              3142 HARPERS FERRY CT                                                                    WAKE FOREST     NC   27587‐3858
MILLS, NOAH                224 MOUNTAIN VIEW RD                                                                     JACKSBORO       TN   37757‐2329
MILLS, NORMA A             10940 SOUTH 560 WEST                                                                     MODOC           IN   47358‐9419
MILLS, NORMA A             10940 S 560 W                                                                            MODOC           IN   47358‐9419
MILLS, NORMA L.            1725 PATHWAY DR S                                                                        GREENWOOD       IN   46143‐8826
MILLS, OSMUM V             9260 OAKHILL RD                                                                          HOLLY           MI   48442‐8723
MILLS, PAMELA              135 WILSON ROAD                                                                          CENTRAL POINT   OR   97502
MILLS, PAMELA              135 WILSON RD                                                                            CENTRAL POINT   OR   97502‐3032
MILLS, PATRICIA E          RR 2 BOX 159                                                                             MINCO           OK   73059‐9323
MILLS, PAUL A              1035 HEATHWOOD WEST DRIVE                                                                COOKEVILLE      TN   38506‐6633
MILLS, PAUL L              233 SYCAMORE ST                                                                          CHESTERFIELD    IN   46017‐1551
MILLS, PAUL W              6997 SILVER FOX DR               C/O JONATHAN A MILLS                                    SAN JOSE        CA   95120‐3129
MILLS, PEARL Z             9543 SE LITTLE CLUB WAY S                                                                TEQUESTA        FL   33469‐1376
MILLS, PHILLIP A           14267 NEFF RD                                                                            CLIO            MI   48420‐8846
MILLS, R L                 6975 JAYSVILLE SAINT JOHNS RD                                                            GREENVILLE      OH   45331‐8252
MILLS, R S
MILLS, RALPH A             6772 LEESVILLE ROAD                                                                      CRESTLINE       OH   44827‐9416
MILLS, RALPH J             6384 VIOLET BLOSSOM DR                                                                   LAS VEGAS       NV   89108‐0834
MILLS, RANDAL E            1478 JAMES ST                                                                            BURTON          MI   48529‐1234
MILLS, RANDALL J           5335 STADLER RD                                                                          MONROE          MI   48162‐9426
MILLS, RANDLE D            1807 VERSAILLES DR                                                                       KOKOMO          IN   46902‐5960
MILLS, RAY                 24127 WICK RD                                                                            TAYLOR          MI   48180‐3360
MILLS, RAYMOND M           1439 WALKER RD                                                                           WALKER          KY   40997‐6413
MILLS, REBECCA A           6904 CORTEZ RD W LOT 208                                                                 BRADENTON       FL   34210‐6539
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Name                    Address1                       Address2                      Address3   Address4         City                    State Zip
MILLS, RICHARD A        19903 LAHSER RD                                                                          DETROIT                  MI 48219‐1231
MILLS, RICHARD A        22701 PROVIDENCE DR APT 201                                                              SOUTHFIELD               MI 48075‐4811
MILLS, RICHARD E        28 W CAPE HORN RD                                                                        MERCER                   PA 16137‐5402
MILLS, RICHARD E        823 WHITNEY ST                                                                           GRAND LEDGE              MI 48837‐1217
MILLS, RICHARD E        2942 DEMOREST RD                                                                         GROVE CITY               OH 43123‐9110
MILLS, RICHARD E        42297 BARCHESTER RD                                                                      CANTON                   MI 48187‐3501
MILLS, RICHARD E        4912 OAK GROVE RENDON RD                                                                 BURLESON                 TX 76028‐3172
MILLS, RICHARD E.       823 WHITNEY ST                                                                           GRAND LEDGE              MI 48837‐1217
MILLS, RICHARD EUGENE   4912 OAK GROVE RENDON RD                                                                 BURLESON                 TX 76028‐3172
MILLS, RICKY L          G‐6480 CORUNNA ROAD                                                                      FLINT                    MI 48532
MILLS, RICKY LEE        G‐6480 CORUNNA ROAD                                                                      FLINT                    MI 48532
MILLS, ROBERT A         12680 FOUNDRY HILL RD                                                                    HANOVERTON               OH 44423‐9635
MILLS, ROBERT C         8833 W STATE ROUTE 571                                                                   WEST MILTON              OH 45383‐9659
MILLS, ROBERT CARTER    8833 W STATE ROUTE 571                                                                   WEST MILTON              OH 45383‐9659
MILLS, ROBERT E         LOT 99 ROCKY LN                                                                          MOUNT MORRIS             MI 48458
MILLS, ROBERT F         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK                  VA 23510‐2212
                                                       STREET, SUITE 600
MILLS, ROBERT G         3975 N SQUIRREL RD                                                                       AUBURN HILLS            MI   48326‐3946
MILLS, ROBERT L         12120 COOK RD                                                                            GAINES                  MI   48436‐9617
MILLS, ROBERT L         12130 ROUGET RD                                                                          DEERFIELD               MI   49238‐9782
MILLS, ROBERT M         2420 N BETSY ANN CT                                                                      NEW CASTLE              IN   47362‐5001
MILLS, ROBERT T         6072 JONES CIR                                                                           SANFORD                 NC   27332‐7309
MILLS, ROBERT T         1346 HICKORY MOSS PL                                                                     TRINITY                 FL   34655‐7015
MILLS, ROBERT W         3729 MARSHALL RD                                                                         KETTERING               OH   45429‐4919
MILLS, ROBERT W         821 ARBOR LN                                                                             CENTRALIA               IL   62801‐8237
MILLS, ROBERT W         1550 MAGNOLIA LN                                                                         PRESCOTT                AZ   86301‐6693
MILLS, ROBERTA C        18900 LINNET STREET                                                                      TARZANA                 CA   91356‐3210
MILLS, ROBIN M          1508 E APPLEGATE RD                                                                      SANDUSKY                MI   48471
MILLS, ROGER            BOYCE HOLLMAN & ASSOCIATES     PO BOX 1030                                               GULFPORT                MS   39502‐1030
MILLS, ROGER W          12305 COOK YANKEETOWN RD NE                                                              MT STERLING             OH   43143‐9640
MILLS, RONALD A         3719 NORTH CLARKS ST                                                                     RADISSON                WI   54867
MILLS, RONALD D         17105 GULF BLVD APT 416                                                                  NORTH REDINGTON BEACH   FL   33708‐1409

MILLS, RONALD J         10443 RINGTAIL PL                                                                        FISHERS                 IN   46038‐5687
MILLS, RONALD L         10415 COLWORTH PL                                                                        KEITHVILLE              LA   71047‐9064
MILLS, RONALD M         5613 STAFFORD DR                                                                         FORT WORTH              TX   76134‐2336
MILLS, RONALD P         871 OAKLAND AVE                                                                          BIRMINGHAM              MI   48009‐5758
MILLS, RONALD R         1544 KEWALO ST                 APT 403                                                   HONOLULU                HI   96822‐5209
MILLS, RONALD R         APT 403                        1544 KEWALO STREET                                        HONOLULU                HI   96822‐5209
MILLS, RONELL T         2245 E 46TH ST                                                                           CLEVELAND               OH   44103‐4419
MILLS, ROSANNA K        3560 S 562 E                                                                             BRINGHURST              IN   46913‐9451
MILLS, ROSE             68565 ILENE ST                                                                           STURGIS                 MI   49091‐1775
MILLS, ROSE M           11561 S DIXIE HWY                                                                        ERIE                    MI   48133‐9720
MILLS, ROYCE G          817 E 27TH ST                                                                            MARION                  IN   46953‐3717
MILLS, RUDY D           524 LONSVALE DR                                                                          ANDERSON                IN   46013‐3213
MILLS, RUSSELL F        3637 N 700 W                                                                             CONVERSE                IN   46919
MILLS, RUTH             9125 NORTH CLIO ROAD                                                                     CLIO                    MI   48420‐8556
MILLS, RUTH E           235 PORTER DR                                                                            ENGLEWOOD               OH   45322‐2449
MILLS, RUTH M           1203 SHAWNEE TRL                                                                         CARROLLTON              TX   75007‐6284
MILLS, RYAN W           2470 RUTH DR                                                                             FENTON                  MI   48430‐8806
MILLS, SAM L            1115 E 8TH ST                                                                            MUNCIE                  IN   47302‐3526
MILLS, SAMUEL F         39204 RICHLAND ST                                                                        LIVONIA                 MI   48150‐4541
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Name                    Address1                            Address2                         Address3   Address4         City            State Zip
MILLS, SAMUEL J         417 JOAN AVE                                                                                     GIRARD           OH 44420‐2716
MILLS, SANDRA           68 VILLA POINTE DRIVE                                                                            SPRINGBORO       OH 45066‐8309
MILLS, SANDRA J         6246 GILSTON PARK RD                                                                             BALTIMORE        MD 21228‐2840
MILLS, SANDRA M         809 CAIN RD                                                                                      MOUNT AIRY       NC 27030‐7451
MILLS, SAUDIA Y         1229 NORTH RD APT 221                                                                            NILES            OH 44446
MILLS, SAUNDRA J        18855 MARTINSVILLE RD                                                                            BELLEVILLE       MI 48111‐8702
MILLS, SAVOLA J         700 E COURT ST APT 319                                                                           FLINT            MI 48503‐6224
MILLS, SCOTT G          560 HILL ST                                                                                      MILFORD          MI 48381‐1751
MILLS, SHANNA D         2542 OME AVE                                                                                     DAYTON           OH 45414‐5113
MILLS, SHARON L         915 LAKESHORE DR                                                                                 COLUMBIAVILLE    MI 48421‐9769
MILLS, SHELBY J         43402A CALLAWAY CT                                                                               PALM DESERT      CA 92260‐9328
MILLS, SHIRLEY M        300 S MAIN ST APT 306                                                                            DAVISON          MI 48423‐1634
MILLS, SHIRLEY M        5 QUARRY RUN CT.                                                                                 WALLINGFORD      CT 06492
MILLS, STEPHEN C        703 FALL RIVER RD                                                                                LAWRENCEBURG     TN 38464‐3907
MILLS, STEVE A          3740 SEVILLE DR                                                                                  FLORISSANT       MO 63033‐2831
MILLS, STEVEN K         NORLING KOLSRUD SIFFERMAN & DAVIS   SUITE 690‐NATIONAL BANK PLAZA,                               PHOENIX          AZ 85012
                        P.L.C.                              3101 NORTH CENTRAL AVENUE

MILLS, STEVEN M         42047 ZACHARY ST                                                                                 BELLEVILLE      MI   48111‐1453
MILLS, SUSAN E          8112 MANCHESTER DR                                                                               GRAND BLANC     MI   48439‐9592
MILLS, SUSAN J          784 CAMINO CASCADA                                                                               SANTA BARBARA   CA   93111
MILLS, TERESA           239 BURTON STREET, S.E.                                                                          GRAND RAPIDS    MI   49507‐3046
MILLS, TERESA           239 BURTON ST SE                                                                                 GRAND RAPIDS    MI   49507‐3046
MILLS, TERESA F         27974 TERRACE DR                                                                                 NORTH OLMSTED   OH   44070‐4961
MILLS, TERRI L          31675 LEXINGTON ST                                                                               WARREN          MI   48092‐1457
MILLS, TERRY G          13734 SAXON LAKE DR                                                                              JACKSONVILLE    FL   32225‐2617
MILLS, TERRY W          1785 KINMOUNT DR                                                                                 ORION           MI   48359‐1641
MILLS, THEODORE S       51097 UNION ST                                                                                   BELLEVILLE      MI   48111
MILLS, THOMAS E         612 CENTRAL AVE                                                                                  MARTINSBURG     WV   25404‐4617
MILLS, THOMAS G         505 PERSIMMON LN                                                                                 FREDERICKSBRG   VA   22408‐2518
MILLS, THOMAS J         3458 CARDINAL DR                                                                                 SAGINAW         MI   48601‐5711
MILLS, THOMAS O         1116 GEORGIAN DR                                                                                 KETTERING       OH   45429‐5634
MILLS, THOMAS O         1116 GEORGINA DRIVE                                                                              KETTERING       OH   45429‐5634
MILLS, THOMAS P         2225 ETTA LN                                                                                     BURLESON        TX   76028‐1648
MILLS, THOMAS R         3205 TIMOTHY CIR                                                                                 SHREVEPORT      LA   71119‐5329
MILLS, THOMAS W         97 ARGONNE AVE                                                                                   YARDVILLE       NJ   08620‐1633
MILLS, TIMOTHY M        322 E JACKSON ST                                                                                 FARMLAND        IN   47340‐9718
MILLS, TOBIAS           2613 DAKOTA AVE                                                                                  FLINT           MI   48506‐2807
MILLS, TODD ALLEN       6488 GLASTONBURY CT                                                                              FRANKLIN        OH   45005
MILLS, TONY DEAN        10940 S 560 W                                                                                    MODOC           IN   47358‐9419
MILLS, TONY J           APT B                               15 MELLO AVENUE                                              DAYTON          OH   45410‐2175
MILLS, TONY L           2062 W REID RD                                                                                   FLINT           MI   48507‐4645
MILLS, TONY LEE         2062 W REID RD                                                                                   FLINT           MI   48507‐4645
MILLS, TONY WILLIAM
MILLS, TRESSIA M        16757 LINDSAY ST                                                                                 DETROIT         MI   48235‐3406
MILLS, TY R             1837 JOHN GLENN RD                                                                               DAYTON          OH   45420‐2412
MILLS, VALERIE D        1213 LIPPINCOTT BLVD                                                                             FLINT           MI   48503‐5849
MILLS, VALERIE DENISE   1213 LIPPINCOTT BLVD                                                                             FLINT           MI   48503‐5849
MILLS, VEROLA           412 OAK COURT                                                                                    HASTINGS        MI   49058‐1696
MILLS, VEROLA           412 OAK CT                                                                                       HASTINGS        MI   49058‐1696
MILLS, VI VAN L         6 SEVEN ESTATES DR                                                                               WINFIELD        MO   63389‐2508
MILLS, VICKIE L         26 EVERGREEN DR                                                                                  SAINT LOUIS     MI   48880‐1006
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Name                               Address1                        Address2                     Address3   Address4         City                   State Zip
MILLS, VICKIE S                    9158 HEATHERFIELD LN                                                                     SAGINAW                 MI 48609‐6788
MILLS, VICTORIA L                  11978 OLD DAYTON ROAD                                                                    BROOKVILLE              OH 45309‐5309
MILLS, VIRGIL L                    18 E TOWNLINE RD                                                                         AUBURN                  MI 48611‐9739
MILLS, VIRGINIA                    198 CORAL AVE                                                                            IRVINE                  KY 40336‐9501
MILLS, VIRGINIA                    198 CORAL                                                                                IRVINE                  KY 40336‐9501
MILLS, VIRGINIA C                  6 SOUTH PARK DR                                                                          MEDWAY                  OH 45341‐5341
MILLS, VIRGINIA C                  6 S PARK DR                                                                              MEDWAY                  OH 45341‐1344
MILLS, VIRGINIA L                  PO BOX 2377                                                                              MUNCIE                  IN 47307‐0377
MILLS, VIVIAN J                    3701 MOUNTAIN COVE RD                                                                    SNELLVILLE              GA 30039‐8411
MILLS, WALTER W                    9029 STONES BLUFF PL                                                                     CAMBY                   IN 46113‐9463
MILLS, WAYNE                       1600 N VAN RD                                                                            HOLLY                   MI 48442‐9452
MILLS, WAYNE E                     JOHN I. KITTEL                  30665 NORTHWESTERN HWY STE                               FARMINGTON HILLS        MI 48334‐3145
                                                                   175
MILLS, WENDY F                     270 S 420 W                                                                              AMERICAN FORK          UT   84003‐2620
MILLS, WILHELMINA E                377 GUINEVERE DRIVE                                                                      ROCHESTER              NY   14626
MILLS, WILLARD E                   8464 ENGLER AVE                                                                          SAINT LOUIS            MO   63114‐4149
MILLS, WILLARD L                   2643 COREY ST                                                                            WATERFORD              MI   48328‐2723
MILLS, WILLIAM                     1012 EMORY LN                                                                            INDIANAPOLIS           IN   46241‐1819
MILLS, WILLIAM A                   ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                      NEW YORK               NY   10006‐1638
MILLS, WILLIAM ALAN                4995 MCCOY CIR                                                                           CUMMING                GA   30040‐3845
MILLS, WILLIAM H                   8923 KOENIG                                                                              SAN ANTONIO            TX   78251‐2935
MILLS, WILLIE J                    844 S 17TH ST                                                                            SAGINAW                MI   48601‐2245
MILLS, WILLIE R                    101 LAREDO AVE                                                                           SAINT LOUIS            MO   63125‐3704
MILLS,JASON A                      85 KATHIE CT                                                                             GERMANTOWN             OH   45327‐8326
MILLS,SHANNA D                     2542 OME AVE                                                                             DAYTON                 OH   45414‐5113
MILLS,TY R                         1837 JOHN GLENN RD                                                                       DAYTON                 OH   45420‐2412
MILLS‐LANDERS, VICKY H             1109 GENESEE AVE NE                                                                      WARREN                 OH   44483‐4213
MILLS‐MANN, SUSAN D                7102 VZ COUNTY ROAD 3504                                                                 WILLS POINT            TX   75169‐6038
MILLS‐RIOJAS, CAROLE A             8790 CRESTLINE LN 25                                                                     OVID                   MI   48866
MILLSAP CLAUDE                     109 W OAK ST                                                                             HOMINY                 OK   74035‐1073
MILLSAP, ARNOLD W                  2383 CURTIS RD                                                                           LEONARD                MI   48367‐2009
MILLSAP, BOBBY L                   2549 S POTTAWATOMIE RD                                                                   HARRAH                 OK   73045‐5949
MILLSAP, CARL A                    526 KIPLING CT                                                                           RICHMOND HTS           OH   44143‐2719
MILLSAP, CARRIE D                  111 KENWAY DR                                                                            LANSING                MI   48917‐3034
MILLSAP, ELAINE M                  4875 SCHNEIDER ST                                                                        SAGINAW                MI   48638‐4546
MILLSAP, JIMMIE V                  4313 KEN MICHAEL CT                                                                      NORTH RICHLAND HILLS   TX   76180‐8259
MILLSAP, JUANITA R                 705 COLLEGE AVE                                                                          GAINESVILLE            GA   30501‐4608
MILLSAP, LAMAR J                   1969 KUNUGA DR                                                                           JONESBORO              GA   30236‐5248
MILLSAP, LLOYD D                   256 LAUREL AVE 2ND FL.                                                                   HAMILTON               OH   45015
MILLSAP, R E                       641 N WOODLAWN ST APT 50                                                                 WICHITA                KS   67208‐3669
MILLSAP, RAYMOND L                 3550 MAPLE GROVE RD                                                                      DECKERVILLE            MI   48427‐9766
MILLSAP, SHANDA L                  1109 EASTWICK DR                                                                         ARLINGTON              TX   76002‐5557
MILLSAP, WALTER C                  985 CASSVILLE RD SE                                                                      CARTERSVILLE           GA   30120‐7835
MILLSAPP, CONRAD M                 125 WBASH AVE                                                                            KANSAS CITY            MO   64124‐1633
MILLSAPP, CONRAD M                 126 WABASH AVE                                                                           KANSAS CITY            MO   65412‐1633
MILLSAPS CHEVROLET PONTIAC BUICK   200 HIGHWAY 25 S                                                                         STARKVILLE             MS   39759‐5000
MILLSAPS COLLEGE                   BUSINESS OFFICE                 PO BOX 150433                                            JACKSON                MS   39210‐0001
MILLSAPS COLLEGE OFFICE OF ADULT   PO BOX 150035                                                                            JACKSON                MS   39210‐0001
LEARNING
MILLSAPS, BRADLEY L                235 KIM TRL                                                                              STOCKBRIDGE            GA 30281‐6512
MILLSAPS, H L                      6 N IVY RIDGE RD SE                                                                      ROME                   GA 30161‐3908
MILLSAPS, HELEN E                  412 RANKIN DR                                                                            ENGLEWOOD              OH 45322‐1140
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MILLSAPS, LORENE                 235 KIM TRL                                                                                   STOCKBRIDGE         GA 30281‐6512
MILLSAPS, LORENE                 235 KIM TRAIL                                                                                 STOCKBRIDGE         GA 30281‐6512
MILLSAPS, NOAH                   APT 2                             1127 VILLAGE ROAD                                           BENTON              KY 42025‐8106
MILLSAPS, RALPH W                ICO THE LANIER LAW FIRM PC        6810 FM 1960 WEST                                           HOUSTON             TX 77069
MILLSAPS, ROBERT H               114 W LEGACY DR                                                                               BRANDON             MS 39042‐5518
MILLSAPS, ROBERT K               13139 ASHEFORD WOODS LN                                                                       CHARLOTTE           NC 28278‐7846
MILLSAPS, TERRY L                412 RANKIN DR                                                                                 ENGLEWOOD           OH 45322‐1140
MILLSAPS, TOMMY R                680 CITICO RD                                                                                 VONORE              TN 37885‐3119
MILLSLAGLE, FRED A               40 BUTCHER RD                                                                                 HILTON              NY 14468‐9706
MILLSPAUGH, AGNES C              1535 S L ST                                                                                   ELWOOD              IN 46036‐2840
MILLSPAUGH, BERTHA T             1800 E 50TH ST APT A                                                                          ANDERSON            IN 46013‐2847
MILLSPAUGH, BRAD L               2301 W ADAMS ST                                                                               MUNCIE              IN 47303‐4714
MILLSPAUGH, CHAD E               5771 N PEPPEREEL WAY                                                                          MC CORDSVILLE       IN 46055‐9328
MILLSPAUGH, CHAD EDWARD          5771 N PEPPEREEL WAY                                                                          MC CORDSVILLE       IN 46055‐9328
MILLSPAUGH, DANNY R              1260 S ANGLING PIKE                                                                           HARTFORD CITY       IN 47348‐8830
MILLSPAUGH, JON L                2610 N ORCHARD RD                                                                             MARION              IN 46952‐1135
MILLSPAUGH, KATHYRN L            PO BOX 89                                                                                     GRANVILLE           TN 38564‐0089
MILLSPAUGH, MORRIS V             1301 N LINCOLNSHIRE BLVD                                                                      MARION              IN 46952‐1615
MILLSPAUGH, PATRICIA H           458 REDBUD BLVD S                                                                             ANDERSON            IN 46013‐1046
MILLSPAUGH, REX W                PO BOX 89                                                                                     GRANVILLE           TN 38564‐0089
MILLSPAUGH, SHIRLEY A            3324 LORAL DR                                                                                 ANDERSON            IN 46013‐2221
MILLSPAUGH, SIDNEY C             3324 LORAL DR                                                                                 ANDERSON            IN 46013‐2221
MILLSPAUGH, THOMAS E             PO BOX 83                                                                                     EATON               IN 47338‐0083
MILLSPAUGH, THOMAS L             1707 RAINTREE DR                                                                              ANDERSON            IN 46011‐2636
MILLSPAUGH, WOODROW E            7098 VASSAR RD                                                                                GRAND BLANC         MI 48439‐7404
MILLSTEAD, LINDA C               127 BELLA VISTA DR                APT 10                                                      GRAND BLANC         MI 48439‐1589
MILLWARD ANDREW                  13 SEATTLE LANE                                                                               LONGMONT            CO 80501‐6916
MILLWARD BROW/NPRVIL             535 EAST DIEHL ROAD                                                                           NAPERVILLE           IL 60563
MILLWARD BROWN GOLDFARB
MILLWARD BROWN INC               535 E DIEHL RD                                                                                NAPERVILLE         IL   60563
MILLWARD DAVE                    MILLWARD, DAVE                    304 W MARIPOSA DR                                           WASHINGTON         UT   84780
MILLWARD, DALE E                 1122 LAKE RIDGE DR UNIT 302                                                                   TRAVERSE CITY      MI   49684‐6641
MILLWARD, DAVE                   304 W MARIPOSA DR                                                                             WASHINGTON         UT   84780‐2127
MILLWARD, WILLIAM D              6049 FARLEY RD                                                                                CLARKSTON          MI   48346‐1837
MILLWARD, WILMER E               2691 CROSS COUNTRY RD                                                                         BEAVERCREEK        OH   45431‐8760
MILLWEE, MICHAEL T               104 N RAMBLIN OAKS DR                                                                         MOORE              OK   73160‐7833
MILLWOOD, ALBERTA                5949 CURRY HWY                                                                                JASPER             AL   35503‐5841
MILLWOOD, BOYCE F                6630 LAWSON CIR                                                                               GAINESVILLE        GA   30506‐4716
MILLWOOD, CARRIE ANN J.          1351 OVERLAND PARK DR                                                                         BRASELTON          GA   30517‐1408
MILLWOOD, JESSIE P               530 LINCOLN AVE                                                                               DEFUNIAK SPRINGS   FL   32433
MILLWOOD, JOHN H                 9360 FLEETWOOD TER                                                                            GAINSVILLE         GA   30506‐3988
MILLWOOD, JOHN H                 7740 MOUNT TABOR RD                                                                           CUMMING            GA   30028‐3056
MILLWOOD, JUAN O                 184 STATION DR                                                                                PENDERGRASS        GA   30567‐2254
MILLWOOD, LOUIS G                2355 COUNTY ROAD 38                                                                           HANCEVILLE         AL   35077‐2725
MILLWOOD, NANCY A                140 ROYSTER RD                                                                                SILEX              MO   63377‐2104
MILLWORK & BUILDING SUPPLIES     1279 SIMCOE ST N                                                         OSHAWA ON L1G 4X1
                                                                                                          CANADA
MILLWORK & BUILDING SUPPLIES L   1279 SIMCOE STREET N                                                     OSHAWA, ON L1G 4X1
                                                                                                          CANADA
MILLY ANDERSON                   418 W 10TH AVE                                                                                FLINT              MI 48503‐1366
MILLY BEGAN                      3100 POWELL AVE APT 338                                                                       KANSAS CITY        KS 66106‐2151
MILLY HUNTER                     1170 BALDWIN RD                                                                               LAPEER             MI 48446‐3013
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Name                                    Address1                       Address2                        Address3   Address4         City                State Zip
MILLY ROBERTS                           PO BOX 57                                                                                  IRVINE               KY 40336‐0057
MILLYCENT MARCUS                        102 LAKE HELEN DR                                                                          WEST PALM BEACH      FL 33411
MILNAR, ANN M                           11415 MOURNING DRIVE                                                                       CONCORD TOWNSHIP     OH 44077
MILNE JAMES                             504 EAST 74TH STREET                                                                       NEW YORK             NY 10021
MILNE JR, KENNETH T                     PO BOX 403                                                                                 EASTPORT             MI 49627‐0403
MILNE TRAVEL AGENCY INC                 169 MAIN ST                                                                                WHITE PLAINS         NY 10601‐3101
MILNE, AUDREY D                         6012 MAGNOLIA BEACH RD         VILLA# 604                                                  PANAMA CITY BEACH    FL 32408
MILNE, DAVID R                          2416 ASHLAND ST                                                                            CLIO                 MI 48420‐1444
MILNE, EUNICE M                         623 PARK CIR                                                                               CLIO                 MI 48420‐1482
MILNE, EUNICE M                         623 PARK CIRCLE                                                                            CLIO                 MI 48420‐1482
MILNE, HUGH A                           36618 QUAKERTOWN LN                                                                        FARMINGTON HILLS     MI 48331‐3887
MILNE, JACKIE L                         3373 W US HIGHWAY 36                                                                       MIDDLETOWN           IN 47356‐9415
MILNE, JEFFREY                          203 DIMATTEO DR                                                                            N TONAWANDA          NY 14120‐6477
MILNE, MARY E                           2103 HARRISON AVE NW STE 2                                                                 OLYMPIA              WA 98502‐2607
MILNE, MARY E                           656 PERRY CREEK DR                                                                         GRAND BLANC          MI 48439‐1474
MILNE, MOIRA L                          36618 QUAKERTOWN LN                                                                        FARMINGTON HILLS     MI 48331‐3887
MILNE, PATRICIA A                       317 MILL ST                                                                                CHURUBUSCO           IN 46723‐1906
MILNE, PETER T                          5139 THORNCROFT CT                                                                         ROYAL OAK            MI 48073‐1109
MILNE, RICHARD T                        5380 E FLAMINGO RD SPC 96                                                                  LAS VEGAS            NV 89122‐5348
MILNE, ROBINA D                         2550 GREYFIELD CT NE                                                                       MARIETTA             GA 30062‐4469
MILNE, THOMAS M                         2 VALLEY VIEW FARM RD R                                                                    HAVERHILL            MA 01835
MILNE, WILLIAM P                        3106 AVENIDA SIMI                                                                          SIMI VALLEY          CA 93063‐1504
MILNER GENA (493058)                    BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                                       PROFESSIONAL BLDG
MILNER I I I, HENRY R                   1650 N 2ND STREET EXT                                                                      GRIFFIN             GA 30223‐1629
MILNER III, HENRY R                     1650 N 2ND STREET EXT                                                                      GRIFFIN             GA 30223‐1629
MILNER RICHARD DAMON                    MILNER, MERILEE ANN
MILNER RICHARD DAMON                    MILNER, RICHARD DAMON
MILNER RICHARD M (ESTATE OF) (667174)   THORNTON EARLY & NAUMES        100 SUMMER ST LBBY 3                                        BOSTON              MA 02110‐2104

MILNER STEVE                            517 JOANNE LN                                                                              DEKALB              IL   60115‐1860
MILNER YANCEY                           227 BLUEGILL RD                                                                            EATONTON            GA   31024‐7167
MILNER, ALBERTA B                       745 N SWOPE ST                                                                             GREENFIELD          IN   46140‐1332
MILNER, ARMAND K                        7570 FOSTORIA RD                                                                           MAYVILLE            MI   48744‐9572
MILNER, ARNOLD N                        1933 GOLD LAKE DRIVE                                                                       FORT MOHAVE         AZ   86426‐6773
MILNER, BETTY                           3670 W 1400 S                                                                              KOKOMO              IN   46901‐9442
MILNER, CHARLES R                       12662 KLEIN RD                                                                             MORNING VIEW        KY   41063
MILNER, DAVIS L                         5307 FALCON LN                                                                             INDIANAPOLIS        IN   46224‐1420
MILNER, DEBORAH M                       51006 FORSTER LN                                                                           SHELBY TWP          MI   48316‐3869
MILNER, DEBORAH MACMASTERS              51006 FORSTER LN                                                                           SHELBY TWP          MI   48316‐3869
MILNER, DELMAR                          319 BULKLEY AVE                                                                            MANSFIELD           OH   44903‐1110
MILNER, DONALD C                        35738 SCHMID DR                                                                            NEW BALTIMORE       MI   48047‐2440
MILNER, DONALD E                        10500 WALLACE LAKE DRIVE                                                                   BRIGHTON            MI   48114‐3804
MILNER, DONALD W                        4902 BAY DR                                                                                LEWISTON            MI   49756‐8120
MILNER, DOUGLAS L                       1002 W SWAFFER RD                                                                          MAYVILLE            MI   48744‐9539
MILNER, ELSIE F                         103 GRENADA ST NE                                                                          LAKE PLACID         FL   33852‐3541
MILNER, GENA M                          503 WALNUT ST APT 39                                                                       ELYRIA              OH   44035‐3364
MILNER, GENE H                          3625 MAPLE LEAF AVE                                                                        CODY                WY   02414‐7735
MILNER, GERALD F                        2025 TARRY DR                                                                              STERLING HEIGHTS    MI   48310‐5825
MILNER, GORDON D                        11455 E RIVER DR                                                                           DEWITT              MI   48820‐9728
MILNER, HAROLD W                        3623 VILLAGE DR                                                                            ANDERSON            IN   46011‐3881
MILNER, HELMUT R                        4205 W 700 N                                                                               SHARPSVILLE         IN   46068‐8913
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Name                             Address1                       Address2                 Address3      Address4         City               State Zip
MILNER, JACQULYN A               346 E SHERMAN DR                                                                       CARSON              CA 90746
MILNER, JEFFREY F                4906 KEBBE DR                                                                          STERLING HEIGHTS    MI 48310‐5177
MILNER, JERRY C                  PO BOX 96                                                                              FOREST              IN 46039‐0096
MILNER, JESSICA K.               640 NORTH WILLOW STREET                                                                INGALLS             IN 46048‐9785
MILNER, JOHN D                   51006 FORSTER LN                                                                       SHELBY TOWNSHIP     MI 48316‐3869
MILNER, JOHN L                   6406 S 625 W                                                                           PENDLETON           IN 46064‐8833
MILNER, KATHY J                  PO BOX 326                                                                             LAPEL               IN 46051‐0326
MILNER, KENNETH L                24885 W 129TH TER                                                                      OLATHE              KS 66061‐9265
MILNER, KENNETH R                149 TELFORD GRV                                                                        HOLLY               MI 48442‐9405
MILNER, KENNETH RAE              149 TELFORD GRV                                                                        HOLLY               MI 48442‐9405
MILNER, LEE A                    PO BOX 1896                                                                            DEARBORN            MI 48121‐1896
MILNER, LEE A                    1418 TIGER LAKE DR                                                                     GULF BREEZE         FL 32563
MILNER, MARA A                   3626 MAPLE LEQF AVE                                                                    CODY                WY 82414‐7735
MILNER, MARA A                   8846 W 900 S                                                                           SOUTH WHITLEY       IN 46787
MILNER, MARC K                   4575 FELLA ST                                                                          SHELBY TOWNSHIP     MI 48316‐4033
MILNER, MARION                   35738 SCHMID DR                                                                        NEW BALTIMORE       MI 48047‐2440
MILNER, MARION                   35738 SCHMID CT                                                                        NEW BALTIMORE       MI 48047‐2440
MILNER, MERILEE ANN & MILNER,    4503 NEWTON DR                                                                         LAS VEGAS           NV 89121‐6753
RICHARD D
MILNER, NANCY                    1933 GOLDLAKE DRIVE                                                                    FORT MOHAVE        AZ   86426
MILNER, NANCY E                  4059 SILVER BIRCH DR                                                                   WATERFORD          MI   48329‐3870
MILNER, NED L                    12031 WARD ST                                                                          DETROIT            MI   48227‐3760
MILNER, PAMELA J                 9014 E LITTLE LN                                                                       CLINTON            WI   53525‐8656
MILNER, PATRICIA D               3944 WEDDELL ST                                                                        DEARBORN HTS       MI   48125‐3028
MILNER, PETER C                  464 BROOK RD                                                                           MILTON             MA   02186‐2802
MILNER, RAY G                    4983 W CHERRY CREEK RD                                                                 LEWISTON           MI   49756‐7510
MILNER, RICHARD DAMON            WINKLER JEANNE & ASSOCIATES    500 S RANCHO DR STE A2                                  LAS VEGAS          NV   89106‐4889
MILNER, RICHARD M                THORNTON EARLY & NAUMES        100 SUMMER ST LBBY 3                                    BOSTON             MA   02110‐2104
MILNER, RITA M                   221 CRANBERRY BEACH BLVD                                                               WHITE LAKE         MI   48386‐1922
MILNER, ROBERT                   240 CLARE RD                                                                           MANSFIELD          OH   44906‐1362
MILNER, SANDRA J                 2025 TARRY DR                                                                          STERLING HEIGHTS   MI   48310‐5825
MILNER, SARAH M                  315 OLD BUFFALO RD                                                                     UNION              SC   29379‐1531
MILNER, THOMAS B                 999 STONE SPRING DRIVE                                                                 EUREKA             MO   63025‐3619
MILNES CHEV‐OLDS‐PONT., INC.     1900 S CEDAR ST                                                                        IMLAY CITY         MI   48444‐9648
MILNES CHEVROLET‐OLDSMOBILE‐     BRUCE MILNES                   1900 S CEDAR ST                                         IMLAY CITY         MI   48444‐9648
PONTIAC, INC.
MILNES CHEVROLET‐PONTIAC, INC.   1900 S CEDAR ST                                                                        IMLAY CITY         MI   48444‐9648
MILNES DEBORAH                   MILNES, DEBORAH                1745 S WASHINGTON ST                                    NAPERVILLE         IL   60565‐2481
MILNES, BETTY J                  396 E 328TH ST                                                                         WILLOWICK          OH   44095‐3308
MILNES, DEBORAH                  1745 S WASHINGTON ST                                                                   NAPERVILLE         IL   60565‐2481
MILNES, JAMES W                  1884 CALDWELL ST                                                                       SAGINAW            MI   48601‐6805
MILNES, JEFFREY M                7520 LIQUORI CT                                                                        INDIANAPOLIS       IN   46214‐2204
MILNES, PATRICIA S               4370 63RD ST N                                                                         KENNETH CITY       FL   33709‐5042
MILNICKEL, JANSON E              15 WAINWRIGHT DR                                                                       DAYTON             OH   45431‐1317
MILNKEN ASSOCIATES INC           PO BOX 506                     16933 CUTLER CT                                         FRASER             MI   48026‐0506
MILNKEN ASSOCIATES INC           16933 CUTLER COURT                                                                     CLINTON TOWNSHIP   MI   48035‐2339
MILNKEN INC                      PO BOX 506                                                                             FRASER             MI   48026‐0506
MILO & MARIE CARROLL             PO BOX 144                                                                             ELLENDALE          MN   56026
MILO BEERS                       4029 N MAIN ST                                                                         LESLIE             MI   49251‐9425
MILO BETTY M                     2351 S DUCK CREEK RD                                                                   NORTH JACKSON      OH   44451‐9660
MILO BOWMAN                      301 KEMP RD                    RR#2, BOX 211B                                          WEATHERFORD        TX   76087‐5222
MILO BROWN                       PO BOX 46632                                                                           KANSAS CITY        MO   64188‐6632
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Name                          Address1                          Address2                           Address3   Address4         City               State Zip
MILO CHARLES (355942)         ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                            NEW YORK            NY 10006‐1638
MILO COY JR                   14655 SE 47TH AVE                                                                                SUMMERFIELD         FL 34491‐3932
MILO CRANKSHAW                2044 WINTHROP DR                                                                                 SWARTZ CREEK        MI 48473‐9721
MILO CROCKETT                 29052 HAGY RD                                                                                    DEFIANCE            OH 43512‐6912
MILO DOCKHAM                  1091 WADSWORTH ST                                                                                EAST TAWAS          MI 48730‐9644
MILO GORDON AUTOMALL          4455 NW CACHE RD                                                                                 LAWTON              OK 73505‐3401
MILO GROB, LAWRENCE J         4064 EILEEN ST                                                                                   SANTA SUSANA        CA 93063‐2811
MILO GROOMS                   18147 E LA POSDA CT                                                                              GOLD CANYON         AZ 85118‐7507
MILO JOAN                     19 SUMMIT TER                                                                                    MALDEN              MA 02148‐3038
MILO JOHNSON                  8005 OLD STATE RD                                                                                WHITTEMORE          MI 48770‐9724
MILO LEACH                    5377 GRAND BLANC RD                                                                              SWARTZ CREEK        MI 48473‐9413
MILO LOOP                     5915 DVORAK ST                                                                                   CLARKSTON           MI 48346‐3225
MILO MACHINING INC            DBA MILO ENGINEERING              2675 SKYPARK DR STE 304                                        TORRANCE            CA 90505‐5330
MILO MANEVAL                  6698 N SCOTT RD                                                                                  SAINT JOHNS         MI 48879‐9450
MILO MATHES JR                77 BEECH ST                                                                                      BRISTOL             CT 06010‐3529
MILO MUZZY                    1100 N DURAND RD                                                                                 CORUNNA             MI 48817‐9525
MILO SINCICH                  500 SEAWALL BLVD UNIT 807                                                                        GALVESTON           TX 77550‐5772
MILO SINCICH                  500 SEAWALL BLVD                  UNIT 807                                                       GALVESTON           TX 77550
MILO SMITH                    2707 N LEXINGTON DR APT 314                                                                      JANESVILLE          WI 53545‐0341
MILO SPENCER                  607 WOODLAWN AVE                                                                                 OWOSSO              MI 48867‐4636
MILO STEELE                   5136 CASPER ST                                                                                   DETROIT             MI 48210‐2203
MILO TAYLOR                   3107 WESTGATE LN                                                                                 JOLIET               IL 60435‐1152
MILO V BROWN                  PO BOX 46632                                                                                     KANSAS CITY         MO 64188‐6632
MILO VAUGHN JR                6922 SHUMAN RD                                                                                   SUNFIELD            MI 48890‐9737
MILO VUKOVICH                 8211 N MORLEY DR                                                                                 WILLIS              MI 48191‐9685
MILO WELLS                    3719 JOSEPHINE LN                                                                                MASON               MI 48854‐9540
MILO'S AUTOMOTIVE INC.        301 OSUNA RD NE                                                                                  ALBUQUERQUE         NM 87107‐5931
MILO, CHARLES                 ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                            NEW YORK            NY 10006‐1638
MILO, HELEN L                 12365 OAKLAND STREET                                                                             HENDERSON           CO 80640‐9633
MILO, MIGUEL                  5690 N ANDREWS AVE                                                                               FT LAUDERDALE       FL 33309‐2326
MILOAGA DANA G                4465 MOUNT TROY ROAD EXTENSION                                                                   PITTSBURGH          PA 15214‐1431
MILOBAR JR, STEPHEN J         3261 CHANUTE PL                                                                                  LAKE HAVASU CITY    AZ 86406‐9066
MILOBAR, CAROL R              9704 GOLDEN DR                                                                                   ORANGEVALE          CA 95662‐5727
MILOBOSZEWSKI, WALENTYNA      2514 BENEDICT LANE                                                                               SHELBY TOWNSHIP     MI 48316
MILOCHIK MICHAEL              APT D                             5915 COVERDALE WAY                                             ALEXANDRIA          VA 22310‐5408
MILODRAGOVICH DALE            STEINBRENNER & BINNEY PC          PO BOX 4947                                                    MISSOULA            MT 59806‐4947
MILODROWSKI DENNIS (453998)   CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND           OH 44115
                              GAROFOLI                          FL
MILODROWSKI, CARL             53464 ABRAHAM DR                                                                                 MACOMB             MI 48042‐2819
MILODROWSKI, DENNIS           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND          OH 44115
                              GAROFOLI                          FL
MILODROWSKI, JANICE A         46730 COUNTRY LN                                                                                 MACOMB             MI   48044‐3331
MILON DAVID E (657762)        ZAMLER, MELLEN & SHIFFMAN         23077 GREENFIELD RD STE 557                                    SOUTHFIELD         MI   48075‐3727
MILON, DAVID E                ZAMLER, MELLEN & SHIFFMAN         23077 GREENFIELD RD STE 557                                    SOUTHFIELD         MI   48075‐3727
MILONCZYK, RALPH J            6511 W FOREST HOME AVE                                                                           GREENFIELD         WI   53220‐2403
MILONE, DONALD P              538 W CASHEW                                                                                     PUNTA GORDA        FL   33955‐1011
MILONE, MARISA A              751 HOWLAND WILSON RD SE                                                                         WARREN             OH   44484‐2513
MILONE, MICHAEL A             2989 BEAVER TRL                                                                                  CORTLAND           OH   44410‐9101
MILONE, ROBERT J              285 SEXTON ST                                                                                    STRUTHERS          OH   44471‐1751
MILONE, ROSE C                90 STAFFORD WAY                   C/O PATRICIA M GILL                                            ROCHESTER          NY   14626‐1652
MILONE, ROSE C                C/O PATRICIA M GILL               90 STAFFORD WAY                                                ROCHESTER          NY   14626
MILOR JEAN PAUL               MILORD, PIERRE E                  4360 NW 32ND CT                                                LAUDERDALE LAKES   FL   33319
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Name                      Address1                          Address2                    Address3   Address4                  City               State Zip
MILOR JEAN PAUL           MILOR, JEAN PAUL                  4360 NW 32ND CT                                                  LAUDERDALE LAKES    FL 33319
MILOR, JACK E             APT 606                           1400 TOPPING AVENUE                                              KANSAS CITY         MO 64126‐2085
MILOR, JACK E             1400 TOPPING APT 606                                                                               KANSAS CITY         MO 64126‐2091
MILOR, JEAN PAUL          PAJCIC & PAJCIC                   1 INDEPENDENT DR STE 3100                                        JACKSONVILLE        FL 32202‐5025
MILORAD KOTARAC           21534 VIOLET ST                                                                                    ST CLR SHORES       MI 48082‐1544
MILORD MARIE ALINA        MILORD, MARIE ALINA               1900 INDEPENDENT SQ                                              JACKSONVILLE        FL 32202‐5023
MILORD MARIE ALINA        MILORD, PIERRE E                  1900 INDEPENDENT SQ                                              JACKSONVILLE        FL 32202‐5023
MILORD, JEAN PAUL
MILORD, MARIE ALINA       PAJCIC & PAJCIC PA                1900 INDEPENDENT SQ                                              JACKSONVILLE        FL   32202‐5023
MILORD, PIERRE E          PAJCIC & PAJCIC PA                1900 INDEPENDENT SQ                                              JACKSONVILLE        FL   32202‐5023
MILORD, PIERRE E          PAJCIC & PAJCIC                   1 INDEPENDENT DR STE 3100                                        JACKSONVILLE        FL   32202‐5025
MILOS AND VLASTA KOKRDA   165A ROUTE DU GRAND‐LANCY                                                1213 ONEX‐GENEVE‐SUISSE
                                                                                                   SWITZERLAND
MILOS CINKE               7206 MORTON PL                                                                                     CASTRO VALLEY      CA    94552‐5284
MILOS DOBRIC              8921 W 98TH ST                                                                                     PALOS HILLS        IL    60465‐1018
MILOS KOVACEVIC           30303 CALAHAN RD                                                                                   ROSEVILLE          MI    48066‐1457
MILOS LACKOVICH           2674 DEER TRL                                                                                      NILES              OH    44446‐4457
MILOS LAZAREVIC           16555 CHRISTOPHER DR                                                                               LEMONT             IL    60439‐4647
MILOS MATEJIC             6340 AMERICAN DR.                                                                                  WILLOWBROOK        IL    60527
MILOS STAKICH             5999 PINECROFT DR                                                                                  WEST BLOOMFIELD    MI    48322‐1670
MILOS VUJANOVIC           21501 LAKE ST CLAIR DR                                                                             CREST HILL         IL    60403‐1554
MILOS, EDITH T            3341 UNICORN AVE                                                                                   PAHRUMP            NV    89048‐0915
MILOSAVLEVSKI, ATANAS     16277 RICHFIELD ST                                                                                 LIVONIA            MI    48154‐1424
MILOSAVLEVSKI, RADOMIR    16319 RICHFIELD ST                                                                                 LIVONIA            MI    48154‐1424
MILOSEK, CHRISTOPHE R     4614 E RED BIRD RD                                                                                 CAVE CREEK         AZ    85331‐2671
MILOSER, DORIS E          8184 POTOMAC                                                                                       CENTER LINE        MI    48015‐1650
MILOSER, JULIA J          18338 BAINBRIDGE                                                                                   LIVONIA            MI    48152‐3375
MILOSEVIC STOJAN          1693 EMMONS BLVD                                                                                   LINCOLN PARK       MI    48146‐3819
MILOSEVIC, MARIA          32121 DICKERSON RD                                                                                 WILLOWICK          OH    44095‐3833
MILOSEVIC, STOJAN         1693 EMMONS BLVD                                                                                   LINCOLN PARK       MI    48146‐3819
MILOSEVICH, JOHN          720 E 256TH ST                                                                                     EUCLID             OH    44132‐2510
MILOSEVICH, PETER         203 CEDAR BRANCH RD                                                                                KINGSPORT          TN    37664
MILOSEVICH, WILMA R       PO BOX 1963                                                                                        OLIVER             PA    15472
MILOSEVSKI, GEORGI        6250 N BEECH DALY RD                                                                               DEARBORN HTS       MI    48127‐3064
MILOSEVSKI, ZLATKA        26039 HASS ST                                                                                      DEARBORN HTS       MI    48127‐2949
MILOSIC, ANA              6050 SEA PINES DR                                                                                  MENTOR             OH    44060
MILOSTAN JOHN E           80205 OMO RD                                                                                       ARMADA             MI    48005‐1536
MILOSTAN, JOAN E          4034 WILLOWAY PLACE DR                                                                             BLOOMFIELD HILLS   MI    48302‐2052
MILOSTAN, JOANNE M.       59173 ELM CT                                                                                       WASHINGTON         MI    48094‐3727
MILOSTAN, JOHN E          80205 OMO RD                                                                                       ARMADA             MI    48005‐1536
MILOSTAN, PATRICK E       3703 MERRIWEATHER LN                                                                               ROCHESTER HLS      MI    48306‐3676
MILOSTAN, RICHARD P       6345 CAINE RD                                                                                      VASSAR             MI    48768‐9518
MILOSTAN, STANLEY M       5210 MAIN ST                                                                                       PINCONNING         MI    48650‐7972
MILOSTAN, STEVEN J        5633 ABBOTTSFORD ST                                                                                CINCINNATI         OH    45212‐1345
MILOSZEWSKI, BETTY J      5537 E VOLTAIRE AVE                                                                                SCOTTSDALE         AZ    85254‐3646
MILOT, ROBERT M           38 RUSSETT RD                                                                                      SANDY HOOK         CT    06482‐1455
MILOT, STEVEN A           11042 NORTH 12TH STREET                                                                            PHOENIX            AZ    85020‐1133
MILOTTE, DICK             5001 ALEX LEE BLVD                                                                                 HICKORY            NC    28601‐3395
MILOUISE DEARMAN          1852 W 109TH ST                                                                                    LOS ANGELES        CA    90047‐4603
MILOVICH, KATHLEEN A      5275 SODERQUIST RD                                                                                 MANCELONA          MI    49659‐8928
MILOVICH, STEVEN          5275 SODERQUIST RD                                                                                 MANCELONA          MI    49659‐8928
MILOW, JOHNNIE L          3025 CLEMENT ST                                                                                    FLINT              MI    48504‐2981
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Name                                 Address1                          Address2                      Address3       Address4         City                 State Zip
MILOW, JOHNNIE LEE                   3025 CLEMENT ST                                                                                 FLINT                 MI 48504‐2981
MILOW, LINDA M                       4227 KELLAR AVE                                                                                 FLINT                 MI 48504‐2162
MILOW, ROY S                         5139 BRIARCREST DR                                                                              FLINT                 MI 48532‐2304
MILRETA D BATTEE                     2270 BRIER ST.                                                                                  WARREN                OH 44484‐5274
MILROSE CONSULTANTS INC              498 SEVENTH AVE                                                                                 NEW YORK              NY 10018
MILROY ENTERPRISES INC               100 PARK AVE                                                                                    SINKING SPRING        PA 19608
MILROY, CELIA E                      PO BOX 74                         6918 HUTCHINSON STREET                                        PAVILION              NY 14525‐0074
MILROY, SUSAN                        55 BARRETT RD APT 826                                                                           BEREA                 OH 44017‐1670
MILSAP, JOAN M                       PO BOX 935                                                                                      BELOIT                WI 53512
MILSAP, JONATHAN E                   2556 FIELD ST                                                                                   DETROIT               MI 48214‐1781
MILSO INDUSTRIES & MATHEWS ASS       2 N SHORE CTR STE 100                                                                           PITTSBURGH            PA 15212‐5838
MILSO YORK GROUP                     ATTN: ROBERT BRINKS               425 36TH ST SW # G1                                           GRAND RAPIDS          MI 49548‐2161
MILSOCK, DAMIAN                      313 WHITEHALL DR                                                                                CREEDMOOR             NC 27522‐7005
MILSOM, MARY ANN L                   PO BOX 188                        450 MAPLE                                                     WASHINGTONVILLE       OH 44490‐0188
MILSOM, MARY ANN L                   450 MAPLE PO BOX 188                                                                            WASHINGTONVILLE       OH 44490‐0188
MILSTEAD AND MILSTEAD INC PLUMBING   1350 BELMAN RD                                                                                  FREDERICKSBURG        VA 22401‐7077
HEATING & A/C
MILSTEAD AUTOMOTIVE                  29707 W HAWTHORNE DR                                                                            SPRING               TX 77386‐2156
MILSTEAD AUTOMOTIVE OF CONROE        2416 N FRAZIER ST                                                                               CONROE               TX 77303‐1751
MILSTEAD GENE M (494017)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510
                                                                       STREET, SUITE 600
MILSTEAD, GENE M                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510‐2212
                                                                       STREET, SUITE 600
MILSTEAD, KENNETH L                  141 UPPER VALLEY LN                                                                             NEWARK               DE   19711
MILSTED, ALICE                       2135 SE MINTER BRIDGE ROAD                                                                      HILLSBORO            OR   97123‐5103
MILSTEIN, DAVID J                    10544 TWAIN ST                                                                                  DIMONDALE            MI   48821‐9752
MILSTEIN, DAVID J.                   10544 TWAIN ST                                                                                  DIMONDALE            MI   48821‐9752
MILSTER, DAVID C                     449 TIMBERIDGE DR                                                                               SAINT PETERS         MO   63376‐6856
MILT JACOT
MILT W RAYMAN JR                     3128 WAYNE AVE                                                                                  DAYTON               OH 45420
MILT WEISS APPAREL INC               ACCT OF TOMMIE D MILLER
MILT WEISS APPAREL, INC              ACCT OF ELLIS R BUCKNER           428 S SAGINAW ST                                              FLINT                MI 48502‐1803
MILT WEISS APPAREL, INC              ACCT OF GRAYLIN ETHERLY
MILTEC CORP                          146 LOG CANOE CIR                                                                               STEVENSVILLE         MD   21666‐2128
MILTEER FELTON JR (456574)           BILMS KEVIN P                     430 CRAWFORD ST STE 202                                       PORTSMOUTH           VA   23704‐3813
MILTEER, FELTON                      BILMS KEVIN P                     430 CRAWFORD ST STE 202                                       PORTSMOUTH           VA   23704‐3813
MILTENBERGER, DOROTHY V              4725 S COLONIAL OAKS DR           COLONIAL OAKS HEALTH CARE                                     MARION               IN   46953‐5341
                                                                       CENTER
MILTENBERGER, PHIL H                 7979 PEBBLESTONE DR                                                                             YPSILANTI            MI   48197
MILTENBERGER, TINA M                 9085 ALCOSTA BLVD APT 422                                                                       SAN RAMON            CA   94583‐4129
MILTER, DONALD J                     9541 ENDERBY DR                                                                                 PARMA                OH   44130‐1634
MILTHALER SR, JOHN C                 1005 ANNE ST                                                                                    NORTH MYRTLE BEACH   SC   29582‐3601
MILTHALER, GREAL C                   5564 ELBON RD                                                                                   WAYNESVILLE          OH   45068‐9440
MILTHALER, GREAL C                   5564 ELBON ROAD                                                                                 WAYNESVILLE          OH   45068‐9440
MILTHALER, JAMES B                   424 W BROADWAY ST                                                                               TIPP CITY            OH   45371‐1643
MILTIADIS ANDRIOTELIS                THE PUBLIC PROSECUTOR'S OFFICE    121 ALEXANDRAS AVENUE         ATHENS 11510
MILTON & ELAINE JONES LIVING TRUST   MILTON & ELAINE JONES             1557 MT BAKER HWY                                             BELLINGHAM           WA   98226
MILTON A BATTLES JR.                 3701 GRADY ST                                                                                   FOREST HILL          TX   76119‐7278
MILTON A GRUMBLING III               PO BOX 547                                                                                      LEAVITTSBURG         OH   44430‐0547
MILTON A WILLIAMS                    2290 KENWOOD DR SW                                                                              WARREN               OH   44485
MILTON ABRAM                         6845 MARGARET DR                                                                                FOREST HILL          TX   76140‐1323
MILTON ADAMS                         3201 SOUTHFIELD DR                                                                              SAGINAW              MI   48601‐5643
                                 09-50026-mg              Doc 7123-28       Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                             Address1                             Address2                   Address3     Address4         City            State Zip
MILTON ADKINS                    110 E SHIELDS ST                                                                              CINCINNATI       OH 45220‐2211
MILTON ALBAUGH                   PO BOX 3083                                                                                   WARREN           OH 44485‐0083
MILTON ALBRIGHT                  249 PINEVIEW DR                                                                               MOORESVILLE      IN 46158‐2774
MILTON ALLEN                     8267 HIDDEN CREEK CT                                                                          FLUSHING         MI 48433‐9429
MILTON ANDERSON JR               2725 WINTER GARDEN CT                                                                         ANN ARBOR        MI 48105‐1567
MILTON ARDER JR                  3123 CIRCLE DR                                                                                FLINT            MI 48507‐4316
MILTON ARMSTRONG                 605 W WITHERBEE ST                                                                            FLINT            MI 48503‐5167
MILTON B BEASLEY                 1140 LATHAM HILL ROAD                                                                         PEEBLES          OH 45660
MILTON B JONES & GRACE G JONES   1501 E 1500 N                                                                                 PROVO            UT 84604
MILTON BABLE                     57 GAIL AVE                                                                                   BUFFALO          NY 14215‐2901
MILTON BAIN                      431 CEMETERY ST                                                                               GLADWIN          MI 48624‐1909
MILTON BAKER                     3872 FOX ST                                                                                   INKSTER          MI 48141‐2725
MILTON BALL                      454 RIMER POND RD                                                                             BLYTHEWOOD       SC 29016‐9504
MILTON BARGER                    128 UNION AVE                                                                                 HAMILTON         OH 45011‐5646
MILTON BARNETT                   7489 S CENTER LINE RD                                                                         NINEVEH          IN 46164‐8942
MILTON BATHGATE                  4040 N CUSTER RD                                                                              MONROE           MI 48162‐9604
MILTON BATTLES                   3701 GRADY ST                                                                                 FOREST HILL      TX 76119‐7278
MILTON BATTLES JR                3701 GRADY ST                                                                                 FOREST HILL      TX 76119‐7278
MILTON BAXA                      35125 RUTHERFORD ST                                                                           CLINTON TWP      MI 48035‐2665
MILTON BEASLEY                   1140 LATHAM HILL ROAD                                                                         PEEBLES          OH 45660
MILTON BEMENT                    2500 N MUNDY AVE                                                                              WHITE CLOUD      MI 49349‐9422
MILTON BETZ                      5555 W NATIONAL RD                                                                            CLAYTON          OH 45315
MILTON BETZ                      5555 W. NATIONAL RD                                                                           CLAYTON          OH 45315
MILTON BOCKELMAN                 4145 RIDGE RD                                                                                 CORTLAND         OH 44410‐9780
MILTON BOOKER                    25541 HANOVER ST                                                                              DEARBORN HTS     MI 48125‐1730
MILTON BOYCE                     38 COUNTRY CLUB RD                                                                            WILLINGBORO      NJ 08046‐3504
MILTON BRISSETTE                 4448 ALVARADO DR                                                                              BAY CITY         MI 48706‐2516
MILTON BRITTAIN                  92 BROOKFIELD DR                                                                              OXFORD           MI 48371‐4401
MILTON BROOKS                    3811 DARKE RD                                                                                 KALKASKA         MI 49646‐9579
MILTON BROWN                     8499 M71 LOT #15                                                                              DURAND           MI 48429
MILTON BROWN                     THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                    BALTIMORE        MD 21201

MILTON BROWN JR                  1854 E GRAND BLVD                                                                             DETROIT         MI   48211‐3042
MILTON BRZOZOWSKI JR             4305 CARLYLE GARTH                                                                            BELCAMP         MD   21017‐1345
MILTON BURDICK                   104 SPRINGFIELD AVE                                                                           TONAWANDA       NY   14150‐9118
MILTON BURGE                     21480 VIRGINIA ST                                                                             SOUTHFIELD      MI   48076‐6006
MILTON BUSH                      17331 FERRY RD                                                                                ATHENS          AL   35611‐7015
MILTON BUSH                      2942 OXFORD REILY RD                                                                          OXFORD          OH   45056‐9253
MILTON BUTLER                    7860 PINGREE RD                                                                               PINCKNEY        MI   48169‐8899
MILTON C KELLEY                  39 MAPLE STREET                                                                               SOUTH RIVER     NJ   08882‐1036
MILTON C TACKETT                 3122 ELECTRIC AVE                                                                             LINCOLN PARK    MI   48146‐3102
MILTON CALHOUN                   3109 NW 47TH ST                                                                               OKLAHOMA CITY   OK   73112‐6025
MILTON CAMP                      2231 HOOVER AVE                                                                               DAYTON          OH   45402‐5524
MILTON CAMP                      2231 HOOVER AVE                                                                               DAYTON          OH   45407‐1524
MILTON CARROLL                   3220 W RIDGEWAY AVE                                                                           FLINT           MI   48504‐6929
MILTON CARTER                    5505 KEYWAY BLVD APT F                                                                        CHARLOTTE       NC   28215‐5747
MILTON CASE                      171 E MAIN ST                                                                                 PERU            IN   46970‐2335
MILTON CASON                     3238 N JENNINGS RD                                                                            FLINT           MI   48504‐1759
MILTON CATER JR                  924 GAYE LANE                                                                                 ARLINGTON       TX   76012‐3106
MILTON CHANEY                    PO BOX 310441                                                                                 FLINT           MI   48531‐0441
MILTON CHERRY                    PO BOX 56                                                                                     JARRATT         VA   23867‐0056
MILTON CHEVROLET, INC.           MONIR SOBH                           5925 HIGHWAY 90 W                                        MILTON          FL   32583‐1760
                                    09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                      Part 26 of 40 Pg 100 of 937
Name                                Address1                       Address2              Address3       Address4         City                 State Zip
MILTON CHEVROLET, INC.              M. LOU SOBH                    5925 HIGHWAY 90 W                                     MILTON                GA 31539
MILTON CHEVROLET, INC.              ATTENTION: MONIR L. SOBH       5925 HIGHWAY 90 W                                     MILTON                FL 32583‐1760
MILTON CHEVROLET, INC.              5925 HIGHWAY 90 W                                                                    MILTON                FL 32583‐1760
MILTON CHEVROLET, INC., DBA SOBH‐   5925 HIGHWAY 90 W                                                                    MILTON                FL 32583‐1760
LOCKLEAR CHEVROLET OF MILTON
MILTON CHRIST                       5916 CEDAR SHORES DR LOT 39                                                          HARRISON             MI   48625‐8968
MILTON COCKERHAM JR                 8120 ANDREAS PATH                                                                    SEYMOUR              IN   47274‐8213
MILTON COLE                         1070 KIMBALL AVE                                                                     KANSAS CITY          KS   66104‐5231
MILTON COLLINS                      1203 THANKFUL RD                                                                     MADISON              GA   30650‐4421
MILTON COLLINS                      722 JUDY CT                                                                          MASON                MI   48854‐2025
MILTON COOK                         528 JUNE APPLE CT                                                                    ABINGDON             MD   21009‐2414
MILTON COOKSEY                      3917 NW 85TH TER APT B                                                               KANSAS CITY          MO   64154‐3777
MILTON COON                         13531 TURNER RD                                                                      DEWITT               MI   48820‐9063
MILTON COPELAND JR                  6133 GRANNER DR                                                                      INDIANAPOLIS         IN   46221‐4718
MILTON COUNTS                       4850 FM 2034                                                                         ROBERT LEE           TX   76945‐4200
MILTON COWANS                       824 W JACKSON ST                                                                     PAULDING             OH   45879‐1356
MILTON COZART                       7510 OAKMONT LN                                                                      TUSCALOOSA           AL   35405‐3945
MILTON CROOK                        634 CLEOPHUS PKWY                                                                    LINCOLN PARK         MI   48146‐2618
MILTON CROSS                        9827 AMBLEWOOD LN                                                                    SHREVEPORT           LA   71118‐5055
MILTON CULVER                       LEVY PHILLIPS & KONIGSBERG     800 3RD AVE 13TH FL                                   NEW YORK             NY   10022‐4213
MILTON CUMMINGS                     100 BUELL ST                                                                         AKRON                NY   14001‐1309
MILTON CURTIS                       2705 GROVELAND RD                                                                    ORTONVILLE           MI   48462‐8846
MILTON CYCAN                        1845 MONROVIA AVE SPC 95                                                             COSTA MESA           CA   92627‐4572
MILTON D HATFIELD                   10113 VILLA RIDGE DRIVE                                                              LAS VEGAS            NV   89134
MILTON D RAMEY                      WEITZ & LUXENBERG PC           700 BROADWAY                                          NEW YORK CITY        NY   10003
MILTON D STOAKLEY                   1504 DORCHESTER AVE                                                                  BALTIMORE            MD   21207‐5021
MILTON DAVIS                        554 ALGER ST                                                                         DETROIT              MI   48202‐2106
MILTON DAVIS                        964 WINTER GARDEN DR UNIT 27                                                         SHREVEPORT           LA   71107‐3143
MILTON DAWKINS                      1185 CARTER DR                                                                       FLINT                MI   48532‐2715
MILTON DECKER                       3915 KINGSTON ST                                                                     DEARBORN HTS         MI   48125‐3235
MILTON DEMORY                       135 FULKS TER                                                                        MARTINSBURG          WV   25405‐5216
MILTON DENNIS                       12126 E MN AVE                                                                       CLIMAX               MI   49034‐9735
MILTON DENSLOW                      13311 30TH AVE                                                                       REMUS                MI   49340‐9527
MILTON DES FORGES                   4780 FLOSSMOOR RD                                                                    COUNTRY CLUB HILLS   IL   60478‐5471
MILTON DEVINNEY                     4710 LOWCROFT AVE                                                                    LANSING              MI   48910‐5329
MILTON DIEHL                        1912 RUSH RD                                                                         WICKLIFFE            OH   44092‐1101
MILTON DOUGLAS                      1459 COLLINS AVE                                                                     RICHMOND HTS         MO   63117‐2127
MILTON DOUGLASS                     1426 MAR LEE LN                                                                      LEBANON              IN   46052‐1043
MILTON DOWD                         8530 N RUESS RD                                                                      HENDERSON            MI   48841‐9732
MILTON DOWNER                       14149 SANTIAGO RD                                                                    SAN LEANDRO          CA   94577‐6527
MILTON DRAVES                       2200 CLEVELAND AVE APT 227                                                           MIDLAND              MI   48640‐5588
MILTON E AND IRENE S NATHAN         19435 FRIAR ST                                                                       TARZANA              CA   91335
MILTON E EVERETT                    9161 SWAFFER RD                                                                      VASSAR               MI   48768‐9627
MILTON E KINCANNON                  32898 EDGEWATER ISLE                                                                 SAN BENITO           TX   78586
MILTON ECHLES                       PO BOX 420607                                                                        PONTIAC              MI   48342‐0607
MILTON EDDIE                        541 ELDON DR NW                                                                      WARREN               OH   44483‐1349
MILTON EDMONDS                      6542 LONG HWY                                                                        EATON RAPIDS         MI   48827‐9397
MILTON EVANS                        527 AVON RD                                                                          PONTIAC              MI   48341‐2306
MILTON EVERETT                      9161 SWAFFER RD                                                                      VASSAR               MI   48768‐9627
MILTON FAIRMAN                      1904 E 29TH ST                                                                       BALTIMORE            MD   21218‐3135
MILTON FAYNOR                       7288 5 POINT HWY                                                                     EATON RAPIDS         MI   48827‐8026
MILTON FEREBEE JR.                  PO BOX 4356                                                                          WARREN               OH   44482
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Name                   Address1                       Address2                     Address3   Address4         City             State Zip
MILTON FIEBACH         280 PROSPECT AV‐3F                                                                      HACKENSACK        NJ 07601‐2596
MILTON FIELDS          C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                               HOUSTON           TX 77007
                       BOUNDAS, LLP
MILTON FIELDS          3259 SKANDER DR                                                                         FLINT            MI   48504‐1231
MILTON FINCH           18134 N 113TH AVE                                                                       SURPRISE         AZ   85374‐6954
MILTON FLETCHER        16500 N PARK DR APT 1811                                                                SOUTHFIELD       MI   48075‐4757
MILTON FLOURNOY        CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                    CHICAGO          IL   60607
MILTON FORSYTHE JR     5334 ARREL RD                                                                           LOWELLVILLE      OH   44436‐9519
MILTON FULLER          10198 GLENDALE AVE                                                                      CLIO             MI   48420‐1608
MILTON FULLER          855 E DAVISBURG RD                                                                      HOLLY            MI   48442‐8597
MILTON FUST            8365 LINDEN RD                                                                          FENTON           MI   48430‐9357
MILTON G DAMLICH       14371 N RUSTY GATE TRAIL                                                                OROVALLEY        AZ   85755
MILTON G HOWZE         20428 WARRINGTON DR                                                                     DETROIT          MI   48221‐1360
MILTON GADDIS          15205 W 48TH AVE                                                                        GOLDEN           CO   80403‐1722
MILTON GAINES          16614 MANSFIELD ST                                                                      DETROIT          MI   48235‐3642
MILTON GARLAND         PO BOX 8645                                                                             EMERYVILLE       CA   94662‐0645
MILTON GASKELL         428 CIRCLE DR                                                                           NEWTON FALLS     OH   44444‐1222
MILTON GASTON          6507 LAKEWAY ST                                                                         YPSILANTI        MI   48197‐1055
MILTON GEE             6096 BLACK MOUNTAIN RD                                                                  ONAWAY           MI   49765‐9668
MILTON GIBSON          3818 SENECA ST                                                                          FLINT            MI   48504‐3742
MILTON GIGEAR          PO BOX 276                                                                              SUTHERLIN        OR   97479
MILTON GILLESPIE JR    15 BELVEDERE LN                                                                         CROSSVILLE       TN   38558‐6400
MILTON GIVENS          239 SHERIDAN AVE                                                                        MANSFIELD        OH   44903‐1531
MILTON GOSSELIN        1038 VILAS ST                                                                           LEAVENWORTH      KS   66048‐4243
MILTON GRAY IRA        1002 11TH ST NW                                                                         GREAT FALLS      MT   59404‐1707
MILTON GREEN           9423 SOMERSET AVE                                                                       DETROIT          MI   48224‐2873
MILTON GRUBAUGH        3759 RIVERVIEW DR                                                                       HERSEY           MI   49639‐8444
MILTON GRUMBLING III   PO BOX 547                                                                              LEAVITTSBURG     OH   44430‐0547
MILTON GRUNER          411 WALNUT ST                                                                           GREEN CV SPGS    FL   32043‐3443
MILTON GUZMAN          510 BUCKSTONE GARTH                                                                     ABINGDON         MD   21009‐3060
MILTON HAASE           3222 PATSIE DR                                                                          BEAVERCREEK      OH   45434‐6034
MILTON HADLEY          232 SPRING RIVER AVE                                                                    LAS VEGAS        NV   89123‐2979
MILTON HAGER           224 SUN SWEPT DR                                                                        TROY             MO   63379‐3910
MILTON HAINES          5290 MARY SUE AVE                                                                       CLARKSTON        MI   48346‐3927
MILTON HAMILTON        628 CASCADE FALLS DR                                                                    WESTON           FL   33327‐1211
MILTON HANCOCK         3308 COUNTRYSIDE DR                                                                     BRANDON          FL   33511
MILTON HANCOK          3308 COUNTRYSIDE DR                                                                     BRANDON          FL   33511
MILTON HANSON          9700 PLANK RD                                                                           MAYBEE           MI   48159‐9791
MILTON HARRISON        202 MEADOW WOOD LN                                                                      MONROE           GA   30656‐7027
MILTON HATFIELD        10113 VILLA RIDGE DR                                                                    LAS VEGAS        NV   89134‐7639
MILTON HATHAWAY JR     17110 HANS DR                                                                           FRASER           MI   48026‐1725
MILTON HAZELRIGG       731 E STATE ST                                                                          MOUNTAIN GROVE   MO   65711‐1830
MILTON HEATH           5214 E FRANCES RD                                                                       MOUNT MORRIS     MI   48458‐9751
MILTON HENDERSON       1391 EASTLAND AVE.                                                                      WARREN           OH   44484
MILTON HILL            63 N BALDWIN RD                                                                         CLARKSTON        MI   48348‐2301
MILTON HODGE           2615 KELLAR AVE                                                                         FLINT            MI   48504‐2761
MILTON HODGE           1437 REMBRANDT ST                                                                       INDIANAPOLIS     IN   46202‐2138
MILTON HOFFMAN         1263 WOODVALE DR                                                                        GALLATIN         TN   37066‐4051
MILTON HOFFMAN         33475 SENECA DR                                                                         SOLON            OH   44139‐5576
MILTON HOGUE           8602 RANCHO VISTA ST                                                                    PARAMOUNT        CA   90723‐4582
MILTON HOLLINS         PO BOX 470                                                                              BRIDGEPORT       MI   48722‐0470
MILTON HOLLOWAY        4306 RUSKIN RD                                                                          WILMINGTON       DE   19802‐1319
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Name                                  Address1                             Address2                      Address3           Address4         City               State Zip
MILTON HONDRAKIS                      2208 FULTON ROAD N W                                                                                   CANTON              OH 44709
MILTON HOPKINS                        2806 EDEN RD                                                                                           HAMERSVILLE         OH 45130‐8701
MILTON HOUGHTALIN                     1045 BEECH ST SW                                                                                       WYOMING             MI 49509‐3927
MILTON HOWZE                          20428 WARRINGTON DR                                                                                    DETROIT             MI 48221‐1360
MILTON HOWZE                          18603 HARLOW ST                                                                                        DETROIT             MI 48235‐3276
MILTON HUDSON                         616 HAZELWOOD ST                                                                                       MOORE               OK 73160‐8308
MILTON HUNT                           THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES             22ND FLOOR                          BALTIMORE           MD 21201

MILTON HUTCHINS                       G2492 S VASSAR ROAD                                                                                    BURTON             MI   48519
MILTON II, MARVIN S                   4720 DAHLONEGA HWY                                                                                     CUMMING            GA   30028‐5945
MILTON J CASEY                        1818 SUMAN AVE                       APT B                                                             DAYTON             OH   45403‐3183
MILTON J OLIVER                       3977 SNOWBERRY RD                                                                                      BRIDGEPORT         MI   48722‐9539
MILTON J SANDULA                      505 CEMETARY RD, BX 73                                                                                 MAPLE CITY         MI   49664
MILTON J SINGLETON JR                 19950 BURGESS                                                                                          DETROIT            MI   48219‐1327
MILTON JACKSON                        504 AERIE LNDG                                                                                         ANTIOCH            TN   37013‐7441
MILTON JACOBS                         1809 S GENESEE DR                                                                                      LANSING            MI   48915‐1238
MILTON JAMES JR                       550 MONCEAU DR                                                                                         SAINT LOUIS        MO   63135‐1273
MILTON JAMES R (439338)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                                           STREET, SUITE 600
MILTON JAYNES                         5944 DUBOIS RD                                                                                         VASSAR             MI 48768‐9608
MILTON JOHNSON                        AARYN GIBLIN, ATTORNEY FOR MILTON    PROVOST UMPHREY LAW FIRM, LLP 490 PARK STREET                     BEAUMONT           TX 77701
                                      JOHNSON
MILTON JONES                          3218 YORK DR                                                                                           MANSFIELD          TX   76063‐7622
MILTON JONES JR                       617 S JENISON AVE                                                                                      LANSING            MI   48915‐1135
MILTON JONES JR                       3309 ELSMERE RD                                                                                        SHAKER HEIGHTS     OH   44120‐3441
MILTON JOY                            570 S WESTGATE AVE                                                                                     COLUMBUS           OH   43204‐1849
MILTON JR, ARTHUR                     PO BOX 13306                                                                                           FLINT              MI   48501‐3306
MILTON JR, MELVIN L                   603 DENALI DR                                                                                          ARLINGTON          TX   76002‐3073
MILTON JR, MELVIN LOUIS               603 DENALI DR                                                                                          ARLINGTON          TX   76002‐3073
MILTON JR, SAMUEL                     1980 LANDMARK DR APT 401                                                                               INDIANAPOLIS       IN   46260‐3062
MILTON K BALL                         454 RIMER POND RD                                                                                      BLYTHEWOOD         SC   29016‐9504
MILTON K KELLEY                       353 HILLCREST AVE.                                                                                     SOMERSET           NJ   08873‐3013
MILTON K SYLWESTER
MILTON KAMINSKY                       1025 PLEASANT PL APT 2F                                                                                OAK PARK           IL   60302‐3167
MILTON KANEHL                         7968 FLETCHER RD                                                                                       AKRON              NY   14001‐9435
MILTON KEENE                          5265 HILL RD                                                                                           SWARTZ CREEK       MI   48473‐8267
MILTON KEMP                           1416 ALCONA DR                                                                                         BURTON             MI   48509‐2004
MILTON KEVIN                          848 HAWK DR                                                                                            WALLED LAKE        MI   48390‐3054
MILTON KEYNES PRESSINGS LTD           DAVID WILLIAMS 0114                  43A BARTON RD‐WATER EATON IND. MILTON KEYNES                      WASHINGTON         NC   27889
                                                                                                          BUCKINGHAMSHIRE
MILTON KING                           4663 E M‐55                                                                                            PRESCOTT           MI   48756
MILTON KNAPP                          30685 SUDBURY CT                                                                                       FARMINGTON HILLS   MI   48331‐1369
MILTON KOSTROFF                       23 GRASSFIELD RD                                                                                       GREAT NECK         NY   11024
MILTON KOTOWSKI                       1262 HALSTEAD RD                                                                                       BALTIMORE          MD   21234‐6019
MILTON KOVACHEVICH                    2161 E WILLIAMSON ST                                                                                   BURTON             MI   48529‐2445
MILTON L CHRIST                       5916 CEDAR SHORES DR LOT 39                                                                            HARRISON           MI   48625‐8968
MILTON L GAMSEY & ROSALIND L GAMSEY   6034 RIVER RD                                                                                          NORFOLK            VA   23505

MILTON L GASTON                       6607 LAKEWAY ST                                                                                        YPSILANTI          MI 48197‐1055
MILTON L LAXTON                       10712 S CEMETERY RD                                                                                    MUSTANG            OK 73064‐9752
MILTON L MEYER                        10864 284TH LANE                                                                                       ARKANSAS CITY      KS 67005
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Name                       Address1                           Address2                     Address3                    Address4         City            State Zip
MILTON L MORRIS            ATTN ROBERT W PHILLIPS             C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                  EAST ALTON        IL 62024
                                                              ANGELIDES & BARNERD LLC      521

MILTON L WILLIAMS          PO BOX 2903                                                                                                  DETROIT         MI 48202‐0933
MILTON LABRY               THE MADEKSHO LAW FIRM              8866 GULF FREEWAY STE 440                                                 HOUSTON         TX 77017
MILTON LANG                C/O THE LAW OFFICES OF PETER G     100 N CHARLES ST               22ND FL                                    BALTIMORE       MD 21201
                           ANGELOS
MILTON LAW                 275 E POOL RD                                                                                                MORGANTOWN      IN   46160‐8998
MILTON LAWRENCE PERRY      C/O FOSTER & SEAR, LLP             817 GREENVIEW DR                                                          GRAND PRAIRIE   TX   75050
MILTON LAXTON              10712 S CEMETERY RD                                                                                          MUSTANG         OK   73064‐9752
MILTON LEAMAN              2200 LEAMAN TRL                                                                                              LAKE            MI   48632‐8704
MILTON LEATHERS JR         11191 UPTON RD                                                                                               BATH            MI   48808‐9435
MILTON LESTER              6775 MARSH RD                                                                                                COTTRELLVILLE   MI   48039‐2107
MILTON LEWIS               8067 GREENLAWN ST                                                                                            DETROIT         MI   48204‐3201
MILTON LITTLES             1450 N STATE HIGHWAY 360 APT 188                                                                             GRAND PRAIRIE   TX   75050‐4107
MILTON LOCKMILLER          70 E BARRETT AVE                                                                                             MADISON HTS     MI   48071‐4002
MILTON LOVELACE            9820 COLONY DR                                                                                               SAINT LOUIS     MO   63137‐1439
MILTON LOWHORN             5990 OAK HILL EAST DR                                                                                        PLAINFIELD      IN   46168‐9317
MILTON MACKIN              9133 COOGAN DR                                                                                               CINCINNATI      OH   45231‐2909
MILTON MADDUX              32 AIRSTREAM DR                                                                                              DAYTON          OH   45449‐1902
MILTON MAIN                2690 OLD HIGHWAY 69                                                                                          CAMDEN          TN   38320‐7822
MILTON MALONE              3860 FISCHER ST                                                                                              DETROIT         MI   48214‐1287
MILTON MANUFACTURING INC   301 E GRIXDALE                                                                                               DETROIT         MI   48203‐2036
MILTON MARK                PO BOX 214                                                                                                   LIMA            OH   45802‐0214
MILTON MARSACK             33054 GRENNADA ST                                                                                            LIVONIA         MI   48154‐4171
MILTON MARSHALL            PO BOX 14566                                                                                                 SAGINAW         MI   48601‐0566
MILTON MARTIN              8631 INTERVALE ST                                                                                            DETROIT         MI   48238‐2338
MILTON MARTINEZ            1923 OAKBROOKE DR APT 4                                                                                      HOWELL          MI   48843‐6322
MILTON MARVIN              307 E ALLEN ST                                                                                               ALEXANDRIA      IN   46001‐9226
MILTON MAULDIN             3809 NIKKI LN                                                                                                LOGANVILLE      GA   30052‐4385
MILTON MAYES               PO BOX 538                                                                                                   FLINT           MI   48501‐0538
MILTON MAZAN JR            183 COLD STREAM TRL                                                                                          FELTON          PA   17322‐9246
MILTON MC NEILL            809 MCNEIL ST                                                                                                SPRING LAKE     NC   28390‐2634
MILTON MCCLINTOCK          8474 VIENNA RD                                                                                               MONTROSE        MI   48457‐9141
MILTON MCDONALD            3270 WINTERGREEN DR W                                                                                        SAGINAW         MI   48603‐1977
MILTON MCDONNELL           4349 SEDUM GLN                                                                                               WATERFORD       MI   48328‐1152
MILTON MCGEE               235 W NEWALL ST                                                                                              FLINT           MI   48505‐4154
MILTON MCGUIRE             405 MARLAY RD                                                                                                DAYTON          OH   45405‐1858
MILTON MCKAY JR            229 DWYER ST                                                                                                 BUFFALO         NY   14224‐1190
MILTON MCLAIN JR           PO BOX 771                                                                                                   OWOSSO          MI   48867‐0771
MILTON MCMASTER            2360 W TRASK LAKE RD                                                                                         BARTON CITY     MI   48705‐9710
MILTON MCMILLAN            1950 CLARKS DR                                                                                               CONWAY          AR   72034‐2929
MILTON MEYER               1269 WATTLES RD                                                                                              COLON           MI   49040‐9700
MILTON MILLER              227 N BIRNEY ST                                                                                              BAY CITY        MI   48708‐6635
MILTON MILLER              3674 LOOKOUT LN                                                                                              NORTH PORT      FL   34288‐8563
MILTON MITCHEM             5080 SHIPMAN RD                                                                                              CORUNNA         MI   48817‐9404
MILTON MOBLEY I I I        2359 LIBERTY ELLERTON                                                                                        DAYTON          OH   45418
MILTON MORAN               15 VIRGINIA DR                                                                                               ROCHDALE        MA   01542‐1201
MILTON MORNING JR          4725 3 OAKS RD                                                                                               BALTIMORE       MD   21208‐2037
MILTON MOSS II             N108W15763 HUDSON DR                                                                                         GERMANTOWN      WI   53022‐4221
MILTON MOSS JR             1185 HOLTON WHITEHALL RD                                                                                     WHITEHALL       MI   49461‐9143
MILTON MYERS               409 FELICIA ST                                                                                               SWIFTON         AR   72471‐9013
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Name                           Address1                        Address2                     Address3   Address4         City            State Zip
MILTON NAUGLE JR               7195 PENNINGTON RD                                                                       CLINTON          MI 49236‐9536
MILTON NICHOLSON               6311 19TH AVE N                                                                          ST PETERSBURG    FL 33710‐4860
MILTON NICKERSON               2404 HOSMER ST                                                                           SAGINAW          MI 48601‐1571
MILTON NIDDEL                  BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
MILTON NOLAN                   C/O CASCINO, MICHAEL P          220 S ASHLAND AVE                                        CHICAGO           IL 60607
MILTON OLDS                    43181 HARRIS RD                                                                          BELLEVILLE       MI 48111‐9188
MILTON OLIVER                  3977 SNOWBERRY RD                                                                        BRIDGEPORT       MI 48722‐9539
MILTON ONEAL                   4977 BRAID HILLS DR                                                                      SAINT PETERS     MO 63304‐7543
MILTON OTTO                    13541 ELM ST                                                                             ORLAND PARK       IL 60462‐1505
MILTON P VASQUEZ               4000 PIERCE ST. SPC 25                                                                   RIVERSIDE        CA 92505‐3813
MILTON PADUK                   5923 OAK RD                                                                              ROSE CITY        MI 48654‐9601
MILTON PALMER                  501 KING ST APT 120                                                                      EATON RAPIDS     MI 48827
MILTON PAPPAS                  4461 GREGORY RD                                                                          GOODRICH         MI 48438‐9650
MILTON PESTI                   2715 SNOW RD APT 101                                                                     PARMA            OH 44134‐2972
MILTON PETERS                  # 220                           351 KENY BOULEVARD                                       LONDON           OH 43140‐8524
MILTON PETERSON                896 FM 744                                                                               MALONE           TX 76660‐3103
MILTON POLLY                   6627 YALE ST APT 722                                                                     WESTLAND         MI 48185‐2143
MILTON POPE                    PO BOX 5831                                                                              CHICAGO           IL 60680‐5831
MILTON PRICE                   27347 FAIRFIELD DR                                                                       WARREN           MI 48088‐4762
MILTON PRICE                   2158 COOLIDGE RD                                                                         EAST LANSING     MI 48823‐1332
MILTON PRINCE                  5036 DR PHILLIPS BLVD           STE 162                                                  ORLANDO          FL 32819
MILTON PRIOR                   3501 WOODWARD AVE APT 1002                                                               DETROIT          MI 48201‐2439
MILTON PROCTOR                 8584 W CAMERON BRIDGE RD                                                                 FREDERIC         MI 49733‐9765
MILTON R JACKSON               504 AERIE LNDG                                                                           ANTIOCH          TN 37013‐7441
MILTON R SCHAFFER              1354 EASTVIEW DR                                                                         FAIRBORN         OH 45324‐5620
MILTON R THOMAS SR             1303 OLD HILLSBORO RD                                                                    FRANKLIN         TN 37069‐9132
MILTON RAMEY                   3819 BOSTEDOR RD                                                                         EATON RAPIDS     MI 48827‐8014
MILTON RANSBURG                947 OLD JACKSON RD                                                                       CANTON           MS 39046
MILTON RANSEY                  6136 APPLEGATE DR                                                                        TOLEDO           OH 43615‐2543
MILTON RARICK                  3388 LUCE RD                                                                             FLUSHING         MI 48433‐2373
MILTON RATLIFF                 906 LANE RD NW                                                                           HARTSELLE        AL 35640‐8511
MILTON REED                    1166 YORKWOOD RD                                                                         MANSFIELD        OH 44907‐2437
MILTON REID                    2960 STURTEVANT ST                                                                       DETROIT          MI 48206‐1137
MILTON RHINEVAULT              1001 ODESSA DR                                                                           HOLLY            MI 48442‐1056
MILTON RHOADS JR               10435 WILLOUGHBY CIR                                                                     KEITHVILLE       LA 71047‐9565
MILTON RHONE                   11699 ROSEMONT AVE                                                                       DETROIT          MI 48228‐1132
MILTON RICHARDS                400 N VAL VERDE RD LOT 55                                                                DONNA            TX 78537‐5403
MILTON RICHTER                 6114 EASTMORELAND DR                                                                     BURTON           MI 48509‐1618
MILTON RICK                    16305 KENNEDY ST                                                                         ROSEVILLE        MI 48066‐2351
MILTON RILEY                   2883 HIGHWAY 145 N                                                                       QUITMAN          MS 39355‐8807
MILTON ROAT                    2121 S PANTANO RD UNIT 256                                                               TUCSON           AZ 85710‐6110
MILTON ROGERS                  1921 GOLDEN PL                                                                           COLUMBIA         TN 38401‐6857
MILTON RUBEN CHEVROLET, INC.   3514 WASHINGTON RD                                                                       AUGUSTA          GA 30907‐2948
MILTON RUBEN CHEVROLET, INC.   MILTON RUBEN                    3514 WASHINGTON RD                                       AUGUSTA          GA 30907‐2948
MILTON SALTMARSH JR            1949 GRATIOT AVE                                                                         SAGINAW          MI 48602‐2763
MILTON SANDERS                 26843 STANFORD DR E                                                                      SOUTHFIELD       MI 48033‐6129
MILTON SANDULA                 PO BOX 73                                                                                MAPLE CITY       MI 49664‐0073
MILTON SAWYERS                 615 BENDWOOD WAY                                                                         DAYTON           OH 45430‐1602
MILTON SAWYERS                 615 BENDWOOD WAY                                                                         DAYTON           OH 45430‐1602
MILTON SCHERTZ                 8180 BELLWORT PL                                                                         BOYNTON BEACH    FL 33472
MILTON SCOTT JR                20045 OAKFIELD ST                                                                        DETROIT          MI 48235‐2245
MILTON SEALS JR                4515 SANFORD LN                                                                          FORT WAYNE       IN 46816‐2293
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Name                  Address1                           Address2                      Address3   Address4         City                State Zip
MILTON SELL           THE MADEKSHO LAW FIRM              8866 GULF FREEWAY STE 440                                 HOUSTON              TX 77017
MILTON SERVICE INC.   303 OAKLAND                                                                                  MILTON               ND 58260
MILTON SERVICE INC.   303 OAKLAND                                                                                  MILTON               ND 58260
MILTON SHADDOW        39 COUNTRY LN                                                                                COLUMBUS             NJ 08022‐1136
MILTON SHARP JR       303 W REID ST                                                                                HOLLIDAY             MO 65258‐1007
MILTON SHEALEY        PO BOX 401501                                                                                REDFORD              MI 48240‐9501
MILTON SHUGERMAN      1245 MEINEL RD                                                                               HUNTINGTON VALLEY    PA 19006
MILTON SIETING        3331 GALL BLVD                     LOT 436A                                                  ZEPHYRHILLS          FL 33541
MILTON SILAS          18465 GLASTONBURY RD                                                                         DETROIT              MI 48219‐2914
MILTON SILAS          12025 GRIEGGS                                                                                DETROIT              MI 48204‐1841
MILTON SIMMONS        527 MARTIN LUTHER KING JR BLVD N                                                             PONTIAC              MI 48342‐1718
MILTON SIMMONS JR     2220 W WASHINGTON ST                                                                         INDIANAPOLIS         IN 46222‐4278
MILTON SIMPSON        401 W GREEN ST                                                                               MARSHALL             MI 49068‐1423
MILTON SIMS           2231 RIDGEMOOR CT                                                                            BURTON               MI 48509‐1391
MILTON SINGLETON JR   19950 BURGESS                                                                                DETROIT              MI 48219‐1327
MILTON SISK           400 N CHURCH ST                                                                              DECATUR              TX 76234‐1407
MILTON SIZER          1934 E 74TH ST APT 305                                                                       CHICAGO               IL 60649‐3173
MILTON SLADE          FOSTER & SEAR, LLP                 817 GREENVIEW DR.                                         GRAND PRAIRIE        TX 75050
MILTON SLOWIKOWSKI    2113 BROOKHAVEN CT                                                                           FALLSTON             MD 21047‐1604
MILTON SMITH          1511 CHESTERFIELD DR                                                                         ANDERSON             IN 46012‐4437
MILTON SMITH          4197 INDEPENDENCE DR                                                                         FLINT                MI 48506‐1628
MILTON SOLOMON        7108 HULL CT                                                                                 WINDSOR MILL         MD 21244‐3475
MILTON SR, ROBERT     RR 2 BOX 160                                                                                 UNIONTOWN            AL 36786‐9329
MILTON SR, ROBERT     R.R. 2, BOX 160                                                                              UNIONTOWN            AL 36786‐9329
MILTON STANDIFER      5372 MAPLEWOOD ST                                                                            DETROIT              MI 48204‐3696
MILTON STOAKLEY       1504 DORCHESTER AVE                                                                          BALTIMORE            MD 21207‐5021
MILTON STRAHAM        425 W HOME AVE                                                                               FLINT                MI 48505‐2633
MILTON STRUTTS JR     8166 MANCHESTER DR                                                                           GRAND BLANC          MI 48439‐9584
MILTON SWAIN          4750 N 200 E                                                                                 DANVILLE             IN 46122
MILTON SWIGERT        18 APPLE TREE STREET                                                                         POPLAR BLUFF         MO 63901‐8933
MILTON T C (346533)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                         STREET, SUITE 600
MILTON TACKETT        3122 ELECTRIC AVE                                                                            LINCOLN PARK        MI   48146‐3102
MILTON TANNER         1722 CARLA DR                                                                                MORROW              GA   30260‐1828
MILTON TAYLOR         537 WESTVIEW RD                                                                              BEDFORD             OH   44146‐2240
MILTON TERRY          7652 VAMOCO DR                                                                               WATERFORD           MI   48327‐3699
MILTON THOMAS         7711 PRAIRIE ST                                                                              DETROIT             MI   48210‐1021
MILTON THOMAS SR      1303 OLD HILLSBORO RD                                                                        FRANKLIN            TN   37069‐9132
MILTON THOMPSON       G‐3270 WALTON                                                                                FLINT               MI   48504
MILTON TOMKINSON      4437 THRUSHFIELD CT                                                                          FLINT               MI   48507‐5644
MILTON TOWNSEND       3219 FLAMINGO DR                                                                             SAGINAW             MI   48601‐5758
MILTON TROXELL        3718 SHERWOOD ST                                                                             SAGINAW             MI   48603‐2092
MILTON TRUSS          PO BOX 27024                                                                                 LANSING             MI   48909‐7024
MILTON TULGETSKE      9609 HAMILL RD                                                                               OTISVILLE           MI   48463‐9612
MILTON TURNER         ABOVE                              8361 E BROADWAY BLVD                                      TUCSON              AZ   85710‐4007
MILTON V WEST         1451 UNION ST. EXT. NE                                                                       BROOKHAVEN          MS   39601
MILTON VANN           201 N HAGADORN RD                                                                            EAST LANSING        MI   48823‐4616
MILTON VANWAGONER     1560 HARDING RD                                                                              BLACKSBURG          VA   24060
MILTON VASQUEZ        4000 PIERCE ST SPC 25                                                                        RIVERSIDE           CA   92505‐3813
MILTON VICENTENO      3592 SOUTHPOINTE DR                                                                          ORLANDO             FL   32822‐3756
MILTON W KELLEY       1333 WINDING RIDGE CIRCLE                                                                    VALBOSTA            GA   31605
MILTON WALDIE JR      3960 HANES RD                                                                                VASSAR              MI   48768‐9297
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Name                     Address1                         Address2                     Address3   Address4         City             State Zip
MILTON WARREN JR         8305 BUTTERNUT CT                                                                         GRAND BLANC       MI 48439‐2080
MILTON WATSON            1213 LIPPINCOTT BLVD                                                                      FLINT             MI 48503‐5849
MILTON WEST              5041 BELL DR SE                                                                           SMYRNA            GA 30080‐2640
MILTON WEST              1451 UNION STREET EXT NE                                                                  BROOKHAVEN        MS 39601‐9120
MILTON WHALEY            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH 44236
MILTON WHIREN            6552 PEET RD                                                                              CHESANING         MI 48616‐9752
MILTON WHITE             5018 W WATERBERRY DR                                                                      HURON             OH 44839‐2274
MILTON WHITE             1861 ECKLEY AVE                                                                           FLINT             MI 48503‐4525
MILTON WHITTEN I I I     20 BARTLEY AVE                                                                            MANSFIELD         OH 44906‐3107
MILTON WILD              7104 WILLARD RD                                                                           MILLINGTON        MI 48746‐9203
MILTON WILLIAMS          PO BOX 361687                                                                             DECATUR           GA 30036‐1687
MILTON WILLIAMS          7732 W 7 MILE RD                                                                          DETROIT           MI 48221‐2102
MILTON WILLIAMS          18446 WINSTON ST                                                                          DETROIT           MI 48219‐3051
MILTON WINTSTON          9928 CASTLE DR                                                                            SAINT LOUIS       MO 63136‐5445
MILTON WOODHOUSE         3615 DEATH VALLEY DR                                                                      LAS VEGAS         NV 89122‐3957
MILTON WOODMAN           1921 FOSTER AVE                                                                           JANESVILLE        WI 53545‐0812
MILTON WOODS             624 S GRAND TRAVERSE ST STE 1                                                             FLINT             MI 48502‐1230
MILTON WOODS             254 MORHOUSE DR                                                                           GALESBURG         MI 49053‐8712
MILTON YATES             PO BOX 4545                      227 FOUR SEASONS DR                                      HARBOR SPRINGS    MI 49740‐4545
MILTON YOUNG             600 MOUNT HOOD DR                                                                         ANTIOCH           TN 37013‐1787
MILTON YOUNG             2436 NE ANGEL FISH CIR                                                                    LEES SUMMIT       MO 64086‐7097
MILTON ZAAGMAN           2121 RAYBROOK SE                 APT 160                                                  GRAND RAPIDS      MI 49546
MILTON ZIMMERMAN         360 VIRGINIA DR                                                                           WAUSEON           OH 43567‐1537
MILTON, AARON            2914 WOODVIEW DR                                                                          LANSING           MI 48911‐1729
MILTON, ALBERT R         901 SHOREWOOD DR                                                                          MEDINA            OH 44256‐1648
MILTON, ALBERTA          PO BOX 7787                                                                               BLOOMFIELD        MI 48302‐7787
MILTON, ANTOINETTE Y     127 GABION LOOP                                                                           ELLENWOOD         GA 30294
MILTON, ASLINE           30 GREEN ST                                                                               PONTIAC           MI 48341‐1710
MILTON, BRANDON          TRACY FIRM                       5473 BLAIR RD STE 200                                    DALLAS            TX 75231‐4168
MILTON, BRANDON          BARR & ASSOCIATES BURT           PO BOX 223667                                            DALLAS            TX 75222‐3667
MILTON, BRANDON          2524 WHISTLE STOP #2914                                                                   FORT WORTH        TX 76131
MILTON, C M              2547 E COLVIN ST                                                                          SYRACUSE          NY 13224‐2213
MILTON, CARLA S          421 HICKMAN ST                                                                            COLUMBIA          TN 38401‐4028
MILTON, CARLA S          308 8TH AVE                                                                               COLUMBIA          TN 38401‐2862
MILTON, CAROL E          1172 MAURER AVE                                                                           PONTIAC           MI 48342‐1959
MILTON, CHERYL M         650 DESOTA PL                                                                             PONTIAC           MI 48342
MILTON, DAVID            4149 W 21ST ST                                                                            CHICAGO            IL 60623‐2834
MILTON, DIANE            317 DEVONSHIRE DRIVE                                                                      PRUDENVILLE       MI 48651‐9653
MILTON, DONNY L          PO BOX 151                                                                                SAINT JOHNS       MI 48879‐0151
MILTON, EARNEST          PO BOX 3122                                                                               BROOKHAVEN        MS 39603
MILTON, EDWARD E         254 WHITTEMORE ST                                                                         PONTIAC           MI 48342‐3070
MILTON, ELDER J          4137 12TH STREET                                                                          ECORSE            MI 48229‐1223
MILTON, ERVIN            6046 PHEASANT AVE                                                                         LANSING           MI 48911‐4567
MILTON, EUNICE           PO BOX 723                                                                                FLINT             MI 48501‐0723
MILTON, FLORENCE LEONE   7237 CASTLE DR                                                                            SARASOTA          FL 34240‐9513
MILTON, GERALD G         PO BOX 80126                                                                              LANSING           MI 48908‐0126
MILTON, GILMER D         2038 ROBERT T LONGWAY BLVD                                                                FLINT             MI 48503‐2197
MILTON, HELEN C          515 VALENCIA DR                                                                           PONTIAC           MI 48342‐1771
MILTON, HENRY            2168 PLEASANT HILL ROAD                                                                   BOLTON            MS 39041‐9041
MILTON, HERBERT
MILTON, HERSHEL L        3333 MOORES RIVER DR APT 304                                                              LANSING           MI 48911‐1056
MILTON, HETTIE T         247 SINKING VALLEY SCHOOL ROAD                                                            MC KEE            KY 40447‐9667
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Name                 Address1                         Address2                      Address3   Address4         City            State Zip
MILTON, JACK C       220 ARDEN RD                                                                               SANTA BARBARA    CA 93105‐3306
MILTON, JAMES R      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                      STREET, SUITE 600
MILTON, JANICE M     1213 SHERIDAN ST                                                                           RICHMOND        IN    47374
MILTON, JANICE M     PO BOX 703                                                                                 RICHMOND        IN    47374
MILTON, JOSEPH H     1023 S MOUNTVALE CT                                                                        ANAHEIM         CA    92808‐2108
MILTON, JULIE L      RICHARDSON STOOPS RICHARDSON &   6555 S LEWIS AVE STE 200                                  TULSA           OK    74136‐1075
                     WARD
MILTON, KEVIN L      848 HAWK DRIVE                                                                             WOLVERINE LK    MI    48390‐3054
MILTON, LARRY        693 HAMLET RD                                                                              AUBURN HILLS    MI    48326‐3523
MILTON, LARRY D      1532 ARGUS RD                                                                              COLUMBUS        OH    43227
MILTON, LARRY F      P. O. BOX 3716                                                                             DAYTON          OH    45401‐3716
MILTON, LARRY F      PO BOX 3716                                                                                DAYTON          OH    45401‐3716
MILTON, LEONARD A    705 ANTELOPE WAY                                                                           LAS VEGAS       NV    89145‐6153
MILTON, LUCILLE      2901 IROQUOIS AVE                                                                          FLINT           MI    48505‐4000
MILTON, MAC A        34072 JOHN ST                                                                              WAYNE           MI    48184‐2423
MILTON, MAC ALLEN    34072 JOHN ST                                                                              WAYNE           MI    48184‐2423
MILTON, MARIE        967 BERWICK BLVD                                                                           PONTIAC         MI    48341‐2316
MILTON, MARK A       915 RIVERVIEW AVE                                                                          LANSING         MI    48915‐1035
MILTON, MATTIE       7035 SANTA IRENE CIRCLE APT 8                                                              BUENA PARK      CA    90620
MILTON, MELVIN L     546 HARVEY AVE                                                                             PONTIAC         MI    48341‐2829
MILTON, MICHAEL      1760 RIDGEMOOR DR                                                                          FAIRVIEW        TX    75069‐1921
MILTON, MURENEATHE   254 WHITTEMORE                                                                             PONTIAC         MI    48342‐3070
MILTON, N Y          2760 BALTIMORE AVE                                                                         INDIANAPOLIS    IN    46218
MILTON, NANCY        1699 HIGHWAY 159                                                                           NORTONVILLE     KS    66060‐5060
MILTON, NANCY        1699 U S HWY 159                                                                           NORTONVILLE     KS    66060‐5060
MILTON, ORLANDO P    6368 BEECHTON ST                                                                           DETROIT         MI    48210‐1121
MILTON, PEARLENE     1320 SHERMAN ST SE                                                                         GRAND RAPIDS    MI    49506‐2614
MILTON, RANDY L      1128 W HAPPY HOLLOW RD                                                                     JANESVILLE      WI    53546‐9028
MILTON, RICHARD      3122 KENNEDY FORD RD                                                                       BETHEL          OH    45106‐9319
MILTON, ROBERT C     3954 CAMELLIA LANE                                                                         SANTA BARBARA   CA    93110‐1502
MILTON, ROBERT E     1349 BIG CREEK RD                                                                          RAYMOND         MS    39154‐9609
MILTON, ROBERT H     306 E PIERSON RD                                                                           FLINT           MI    48505‐3358
MILTON, ROBERT L     4211 N OAKWOOD AVE                                                                         MUNCIE          IN    47304‐1416
MILTON, ROBERTO M    546 HARVEY AVE                                                                             PONTIAC         MI    48341‐2829
MILTON, ROSA         4490 HATLEY RD                                                                             HOLLADAY        TN    38341‐3808
MILTON, ROY          313 S TROTTER ST                                                                           DERMOTT         AR    71638‐2140
MILTON, SAM          1102 W 11TH ST                                                                             ANDERSON        IN    46016‐2918
MILTON, SAMMIE S     4330 NE 83RD TER                                                                           KANSAS CITY     MO    64119‐7602
MILTON, SAN B        4211 N OAKWOOD AVE                                                                         MUNCIE          IN    47304‐1416
MILTON, SANDRA L     630 KIMBERTON DR                                                                           FORT WAYNE      IN    46816‐1151
MILTON, SARAH B      2031 WHITTLESEY ST                                                                         FLINT           MI    48503‐4348
MILTON, T C          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510‐2212
                                                      STREET, SUITE 600
MILTON, TERRY L      5402 HACKNEY CIR                                                                           BOSSIER CITY     LA   71111‐5507
MILTON, THOMAS J     23165 GRASSY PINE DR                                                                       ESTERO           FL   33928‐4329
MILTON, TIFFANY
MILTON, TOMMY L      2439 OVERBROOK DR                                                                          JACKSON         MS    39213‐4733
MILTON, TRACY A      2323 ROSEMARY RD                                                                           TERRY           MS    39170
MILTON, VIOLET       15919 WHITCOMB ST                                                                          DETROIT         MI    48227‐2668
MILTON, VIRGIE M     2914 WOODVIEW DR                                                                           LANSING         MI    48911‐1729
MILTON, WARDELL      1188 ECKMAN AVE                                                                            PONTIAC         MI    48342‐1933
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MILTON‐MIL, BARBARA                  12801 MOUND                                                                                             DETROIT          MI 48212
MILTORETTA WHITAKER                  8 FAIRWAY DR                                                                                            TRENTON          NJ 08618‐4704
MILUKAS RAYMOND W SR (641987)        THORNTON EARLY & NAUMES       100 SUMMER ST LBBY 3                                                      BOSTON           MA 02110‐2104
MILUKAS, RAYMOND W                   THORNTON EARLY & NAUMES       100 SUMMER ST LBBY 3                                                      BOSTON           MA 02110‐2104
MILUM, ANN M                         4901 S VALLEY VIEW RD                                                                                   BLUE SPRINGS     MO 64015
MILUM, MARILYN K                     3831 SARRIA AVE                                                                                         SEBRING          FL 33872‐2353
MILUN PERISIC                        APT 11                        3455 EMERALD STREET                                                       TORRANCE         CA 90503‐3766
MILUN, JAN                           9 SHURTLEFF ST APT 3                                                                                    CHELSEA          MA 02150
MILUNAS, RIMAS S                     1138 LOYOLA DR                                                                                          LIBERTYVILLE      IL 60048‐1278
MILUS, EVELYN M                      5828 MARBLE CT                                                                                          ANDERSON         IN 46013‐2015
MILUS, GLENN E                       5828 MARBLE CT                                                                                          ANDERSON         IN 46013‐2015
MILUS, GLENN ERWIN                   5828 MARBLE CT                                                                                          ANDERSON         IN 46013‐2015
MILWARD ALLOYS INC                   500 MILL ST                                                                                             LOCKPORT         NY 14094‐1712
MILWAUKEE & JOHN R AUTO REPAIR       ATTN: FRANK BLYTHE            104 E MILWAUKEE ST                                                        DETROIT          MI 48202‐3232
MILWAUKEE ALE HOUSE                  233 N WATER ST                                                                                          MILWAUKEE        WI 53202
MILWAUKEE AREA TECHNICAL COLLEGE     700 W STATE ST                ATTN ACCOUNTS RECEIVABLE                                                  MILWAUKEE        WI 53233‐1419

MILWAUKEE BREWERS BASEBALL CLUB LP   MILLER PARK                   ONE BREWERS WAY                                                           MILWAUKEE       WI 53214

MILWAUKEE BREWERS BASEBALL CLUB,     MR. GREG HILT                 ONE BREWERS WAY, MILWAUKEE                                                MILWAUKEE       WI 53214
L.P.
MILWAUKEE BUCKS INC                  ATTN ACCOUNTING               1001 N 4TH STREET                                                         MILWAUKEE       WI   53203
MILWAUKEE CHAPLET & MFG CO INC       17000 W ROGERS DR                                                                                       NEW BERLIN      WI   53151‐2233
MILWAUKEE CIRCUIT CRT‐FAMILY         SUPPORT DIV‐FOR ACCOUNT OF    W E HELLPAP CASE#            ROOM 104 COURTHOUSE                          MILWAUKEE       WI   00000
MILWAUKEE CIRCUIT CRT‐FAMILY         SUPPORT DIV‐FOR ACCOUNT OF    J H DANLEY CASE#XRP56‐740    ROOM 104 COURTHOUSE                          MILWAUKEE       WI   39458
MILWAUKEE CIRCUIT CRT‐FAMILY         SUPPORT DIV‐FOR ACCOUNT OF    T FALVEY CASE#694‐106        ROOM 104 COURTHOUSE                          MILWAUKEE       WI   00000
MILWAUKEE CO PAROMEDIC PROGRAM       PO BOX 78699                                                                                            MILWAUKEE       WI   53278‐0699

MILWAUKEE COUNTY CIRCUIT COURT       ACCT OF WAYNE LOAR SR.
MILWAUKEE COUNTY FLEET               10320 W WATERTOWN PLANK RD                                                                              WAUWATOSA       WI 53226‐3553
MANAGEMENT
MILWAUKEE COUNTY FLEET                                             10320 W WATERTOWN PLANK RD                                                                WI 53226
MANAGEMENT
MILWAUKEE COUNTY LABOR COUNCIL       633 S HAWLEY ROAD                                                                                       MILWAUKEE       WI 53214
MILWAUKEE ELECTRIC TOOL              ERIC PRIGGE                   13135 W LISBON RD                                                         BROOKFIELD      WI 53005‐2550
CORPORATION
MILWAUKEE GOLF CHARITIES INC         6300 N PORT WASHINGTON RD                                                                               MILWAUKEE       WI   53217
MILWAUKEE JOURNAL SENTINEL           PO BOX 78932                                                                                            MILWAUKEE       WI   53278‐0932
MILWAUKEE RESISTOR CORP              8920 W HEATHER AVE                                                                                      MILWAUKEE       WI   53224‐2414
MILWAUKEE RESISTOR CORPORATION       8920 W HEATHER AVE                                                                                      MILWAUKEE       WI   53224‐2414
MILWAUKEE ROAD ‐ DIVISION ENGINEER   ATTN: SOUTHERN DIVISION       PO BOX 650                                                                FRANKLIN PARK   IL   60131‐0650

MILWAUKEE S & F SUPPLY CO         5070 W STATE ST                                                                                            MILWAUKEE       WI 53208‐2615
MILWAUKEE SCHOOL OF ENGINEERING   1025 N BROADWAY                  STUDENT ACCTS                                                             MILWAUKEE       WI 53202‐3109
MILWAUKEE WIRE PRODUCTS CANADAINC FRMLY PROTUBE DESIGN LTD         171 EXETER ROAD UNIT B                             LONDON CANADA ON N6L
                                                                                                                      1A4 CANADA
MILWAUKEE WIRE PRODUCTS CANADAINC 4099 BRECK AVE                                                                      LONDON CANADA ON N6L
                                                                                                                      1B3 CANADA
MILWAUKEE WIRE PRODUCTS DIV        9201 W HEATHER AVE                                                                                        MILWAUKEE       WI 53224‐2419
MILWAUKEE WIRE PRODUCTS‐CANADA INC 4099 BRECK AVE                                                                     LONDON ON N6L 1B3
                                                                                                                      CANADA
MILWAUKEE WIRE/MILWA                 9201 W HEATHER AVE                                                                                      MILWAUKEE       WI 53224‐2419
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Name                           Address1                             Address2                     Address3           Address4               City               State Zip
MILWAUKEE WIRE/SCH             7850 N 81ST ST                                                                                              MILWAUKEE           WI 53223‐3829
MILWEE, KATHERINE              565 MALLARD                                                                                                 ROCHESTER HILLS     MI 48309‐3432
MILWEE, KATHERINE              565 MALLARD ST                                                                                              ROCHESTER HILLS     MI 48309‐3432
MILWEE, OPAL F                 PO BOX 766                                                                                                  EAST BERNSTADT      KY 40729‐0766
MILWRICK, BARBARA JO           801 E HOTCHKISS RD                                                                                          BAY CITY            MI 48706‐9707
MILWRICK, LOIS J               2100 N HINTZ RD LOT 37                                                                                      OWOSSO              MI 48867‐9496
MILWRICK, THOMAS J             801 E HOTCHKISS RD                                                                                          BAY CITY            MI 48706‐9707
MILZ, JANA                     SCHUSTER ALAN G                      1866 SHERIDAN RD STE 213                                               HIGHLAND PARK        IL 60035‐2545
MILZ, JEFFREY
MILZ, RONALD F                 7880 ALLAN CT                                                                                               WATERFORD          MI   48327‐4195
MILZ, STEVEN P                 2903 CORTLAND DR                                                                                            JANESVILLE         WI   53548‐3222
MILZARSKI, MICHAEL             11093 BOXWOOD DRIVE                                                                                         CANADIAN LAKE      MI   49346
MIMA BENTLEY                   4810 BEECH ST                                                                                               NORWOOD            OH   45212‐2710
MIMA DEMPSEY                   152 KENNISON RD                                                                                             LUCASVILLE         OH   45648‐8837
MIMA JONES                     40 LOCUST DR                                                                                                SPRINGBORO         OH   45066‐1414
MIMA L JONES                   40 LOCUST ST                                                                                                SPRINGBORO         OH   45066‐1414
MIMA, EDWARD A                 1161 PORTSMOUTH DR                                                                                          MCKEESPORT         PA   15133‐3707
MIME M MC HONE                 5821 IVY HILL RD                                                                                            HILLSBORO          OH   45133‐9505
MIME MC HONE                   5821 IVY HILL RD                                                                                            HILLSBORO          OH   45133‐9605
MIMI C CERNIGLIA CO TRUSTEE    WILLIAM N CERNIGLIA CO TRUSTEE       U/A/D 11‐4‐85 BY SAMUEL      40 RAINTREE LANE                          ORMOND BEACH       FL   32174
                                                                    CERNIGLIA GRANTOR
MIMI DI FRANCESCO              15 SHADYWOOD DR                                                                                             ROCHESTER          NY   14606‐4920
MIMI DI FRANCESCO              15 SHADYWOOD DR                                                                                             ROCHESTER          NY   14606‐4920
MIMI DINDA                     1277 ELLIOTT AVE                                                                                            MADISON HTS        MI   48071‐2632
MIMI KUE                       26311 W 14 MILE RD                                                                                          FRANKLIN           MI   48025‐1763
MIMI NGUYEN                    37327 TERICREST DR                                                                                          STERLING HEIGHTS   MI   48310‐3960
MIMI RATERMAN CUST FBO LANCE   MIMI AND BRYAN RATERMAN              2063 HILLSIDE LN                                                       HERMANN            MO   65041
RATERMAN UTMA/MO
MIMI TREUSCH                   11403 BALFOUR DR                                                                                            FENTON             MI   48430‐9061
MIMI'S FAMILY DINING           ATTN: JIMMY MYRTAJ                   28750 PLYMOUTH RD                                                      LIVONIA            MI   48150‐2336
MIMIA BENTLEYEY                PO BOX 343                                                                                                  MOUNT MORRIS       MI   48458‐0343
MIMIC STUDIOS                  ATTN: CORPORATE OFFICER/AUTHORIZED   207 W LOS ANGELES AVE #133                                             MOORPARK           CA   93021‐1824
                               AGENT
MIMIC STUDIOS INC              207 W LOS ANGELES AVE #133                                                                                  MOORPARK            CA 93021
MIMIK IND/CAMBRIDGE            131 SHELDON DRIVE #10‐13                                                             CAMBRIDGE ON N1R 6S2
                                                                                                                    CANADA
MIMIO                          DIV OF NEWELL RUBBERMAID             1 CHARLES PARK               #3                                        CAMBRIDGE          MA 02142‐1254
MIMMIE VALENTE                 111 BLACKFORD AVE                                                                                           STATEN ISLAND      NY 10302‐1618
MIMMO FRANCO CECCONI           VIA GABBIOLO 1                       38100 TRENTO
MIMMO PHILIP (436935)          ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                                    NEW YORK           NY   10006‐1638
MIMMO RUGGIERO                 3 MT RAINIER AVE                                                                                            FARMINGVILLE       NY   11738
MIMMO, PHILIP                  ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                                    NEW YORK           NY   10006‐1638
MIMMS, DAVID E                 PO BOX 3237                                                                                                 GLEN ROSE          TX   76043‐3237
MIMMS, ELLA G                  2817 BRENTWOOD DR                                                                                           ANDERSON           IN   46011‐4044
MIMMS, FRED B                  11675 WAYBURN ST                                                                                            DETROIT            MI   48224‐1637
MIMMS, GEORGE C                5316 BAY HARBOR DR                                                                                          INDIANAPOLIS       IN   46254‐4500
MIMMS, JASON T                 PO BOX 145                                                                                                  APOPKA             FL   32704‐0145
MIMMS, JOSEPH T                2817 BRENTWOOD DR                                                                                           ANDERSON           IN   46011‐4044
MIMMS, ROBERT L                3249 GERRARD AVE                                                                                            INDIANAPOLIS       IN   46224‐2390
MIMMS, ROBERT L                917 EAST 20TH STREET                                                                                        INDIANAPOLIS       IN   46202‐1832
MIMMS, ROBERT L                3125 N DEQUINCY ST                                                                                          INDIANAPOLIS       IN   46218‐2340
MIMMS, TAWANA D                10733 GLENAYR DRIVE                                                                                         CAMBY              IN   46113‐8908
                                   09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                               Address1                              Address2                      Address3             Address4         City              State Zip
MIMMS, WINONA L                    1985 LEESBURG DR                                                                                          CLOVER             SC 29710‐6528
MIMMS, WINONA L.                   1985 LEESBURG DR                                                                                          CLOVER             SC 29710‐6528
MIMNAUGH, CAROL A                  9 E ANN ST                                                                                                PLAINS             PA 18705‐1001
MIMNAUGH, JAMES P                  2805 DEXTER RD                                                                                            ANN ARBOR          MI 48103‐2705
MIMNAUGH, JAMES PATRICK            2805 DEXTER RD                                                                                            ANN ARBOR          MI 48103‐2705
MIMNAUGH, JOHN F                   9 E ANN ST                                                                                                PLAINS             PA 18705‐1001
MIMRANEK, JOHN P                   5800 HAMMOND RD                                                                                           OVID               MI 48866‐9416
MIMRANEK, JOSEPH L                 571 E PIERCE RD                                                                                           ITHACA             MI 48847‐9574
MIMS ALBERT                        200 DOGWOOD LN                                                                                            LAKE CITY          SC 29560‐4007
MIMS ALFRED E (506866)             (NO OPPOSING COUNSEL)
MIMS CHARLES F                     MIMS, CHARLES F                       BEASLEY ALLEN CROW METHVIN    P O BOX 4160 , 218                    MONTGOMERY         AL   36103‐4160
                                                                         PORTIS & MILES                COMMERCE STREET
MIMS CHARLES F                     MIMS, CHARLES F                       RILEY & JACKSON               1744 OXMOOR ROAD                      BIRMINGHAM         AL   35209
MIMS CHARLES F                     MIMS, ETOICE                          BEASLEY ALLEN CROW METHVIN    P O BOX 4160 , 218                    MONTGOMERY         AL   36103‐4160
                                                                         PORTIS & MILES                COMMERCE STREET
MIMS CHARLES F                     MIMS, ETOICE                          RILEY & JACKSON               1744 OXMOOR ROAD                      BIRMINGHAM        AL 35209
MIMS JR, JUDGE R                   19613 RIVERVIEW STREET                                                                                    DETROIT           MI 48219‐1622
MIMS JR, LLOYD O                   506 WHIPPLE AVE                                                                                           CAMPBELL          OH 44405‐1536
MIMS ROBERT (ESTATE OF) (506867)   (NO OPPOSING COUNSEL)
MIMS ROBINSON JR                   12116 PRAIRIE ST                                                                                          DETROIT           MI    48204‐5313
MIMS SR, LLOYD O                   65 LANSDOWNE BOULEVARD                                                                                    YOUNGSTOWN        OH    44506‐1134
MIMS SR, LLOYD O                   65 LANSDOWNE BLVD                                                                                         YOUNGSTOWN        OH    44506‐1134
MIMS SR, PARIS                     175 PERSHING AVE APT 715                                                                                  BUFFALO           NY    14208‐2454
MIMS, ADDIE L                      5141 DORTCH DR                                                                                            BURTON            MI    48519‐1223
MIMS, AGNES                        4101 TWENTY FIRST ST NE                                                                                   WASHINGTON        DC    20018
MIMS, AGNES E                      5834 STARFISH BAY LN                                                                                      NORTH LAS VEGAS   NV    89031‐1160
MIMS, ANN P                        241 HAZELWOOD AVE                                                                                         BUFFALO           NY    14215‐3566
MIMS, BETTY L                      1501 PINE ST                                                                                              ATHENS            AL    35611‐4628
MIMS, CALLIE M                     2420 KENSINGTON DR                                                                                        SAGINAW           MI    48601‐4518
MIMS, CAROL                        3225 SE 56TH ST                                                                                           OKLAHOMA CITY     OK    73135‐1623
MIMS, CHARLES F                    BEASLEY ALLEN CROW METHVIN PORTIS &   P O BOX 4160 , 218 COMMERCE                                         MONTGOMERY        AL    36103‐4160
                                   MILES                                 STREET
MIMS, CHARLES F                    RILEY & JACKSON                       1744 OXMOOR ROAD                                                    BIRMINGHAM        AL    35209
MIMS, COREY O                      1316 GILDAY DR                                                                                            ARLINGTON         TX    76002‐3701
MIMS, COZETTA                      4071 GLENWOOD AVE APT 203                                                                                 YOUNGSTOWN        OH    44512‐1047
MIMS, DONNIE R                     3458 STONEVINE WAY                                                                                        BUFORD            GA    30519‐8437
MIMS, EDWARD E                     6679 LEARNED RD                                                                                           EDWARDS           MS    39066‐9477
MIMS, ELEANOR D                    5206 MIDDLETON ST                                                                                         COLUMBIA          SC    29203‐6060
MIMS, ETOICE                       BEASLEY ALLEN CROW METHVIN PORTIS &   P O BOX 4160 , 218 COMMERCE                                         MONTGOMERY        AL    36103‐4160
                                   MILES                                 STREET
MIMS, ETOICE                       RILEY & JACKSON                       1744 OXMOOR ROAD                                                    BIRMINGHAM        AL    35209
MIMS, FRANKIE L                    8080 ROBSON ST                                                                                            DETROIT           MI    48228‐2456
MIMS, GERRY L                      253 TOMLON RD                                                                                             CROSSVILLE        TN    38555‐9710
MIMS, GLORIA                       423 WALKER ST APTA2                                                                                       FAIRVIEW          NJ    07022‐1425
MIMS, GLORIA D                     PO BOX 851154                                                                                             WESTLAND          MI    48185‐6054
MIMS, HERBERT T                    PO BOX 786                                                                                                CORDOVA           TN    38088‐0786
MIMS, HERMAN W                     1501 PINE ST                                                                                              ATHENS            AL    35611‐4628
MIMS, JACQUELINE W                 12 WATSON RD                                                                                              JACKSON           MS    39272‐9446
MIMS, JACQUELINE WALKER            12 WATSON RD                                                                                              JACKSON           MS    39272‐9446
MIMS, JOHN C                       2008 CLEARY RD                                                                                            FLORENCE          MS    39073‐9224
MIMS, JOHN C                       2008 CLEARY RD.                                                                                           FLORENCE          MS    39073‐9073
MIMS, JUANITA                      1048 AVE E ENSLEY                                                                                         BIRMINGHAM        AL    35218‐1043
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Name                            Address1                          Address2                       Address3   Address4              City               State Zip
MIMS, JULIE M                   11325 N JENNINGS RD                                                                               CLIO                MI 48420‐1513
MIMS, LANKTUM                   343 S 14TH ST                                                                                     SAGINAW             MI 48601‐1843
MIMS, LINDA L                   2084 IOWA AVE NE                                                                                  ST PETERSBURG       FL 33703‐3428
MIMS, LYNETTE C                 4319 HOWARD ST                                                                                    YOUNGSTOWN          OH 44512‐1505
MIMS, MARY L                    2012 S WASHINGTON AVE                                                                             SAGINAW             MI 48601‐3227
MIMS, MARY L                    2012 SO WASHINGTON ST                                                                             SAGINAW             MI 48601‐3227
MIMS, MARY L                    1159 DUDLEY                                                                                       PONTIAC             MI 48342‐1931
MIMS, MOZELLE C                 2728 CHURCHLAND AVE                                                                               DAYTON              OH 45406‐1203
MIMS, PATRICIA J                4071 S ELMS RD                                                                                    SWARTZ CREEK        MI 48473‐1504
MIMS, PAULINE A                 1316 GILDAY DR                                                                                    ARLINGTON           TX 76002‐3701
MIMS, PAULINE A.                1316 GILDAY DR                                                                                    ARLINGTON           TX 76002‐3701
MIMS, PREZELL                   105 NW 101ST PL                                                                                   KANSAS CITY         MO 64155‐1771
MIMS, RICKY L                   9162 SIMMONS BLVD                                                                                 SHREVEPORT          LA 71118
MIMS, ROBERT G                  10076 SHERIDAN RD                                                                                 BURT                MI 48417‐9759
MIMS, ROBERT L                  19613 RIVERVIEW ST                                                                                DETROIT             MI 48219‐1622
MIMS, ROSIE M                   1601 ROBERT BRADBY DR             APT 502                                                         DETROIT             MI 48207‐3852
MIMS, TAMMY W                   4407 SUNSET DR                                                                                    MINT HILL           NC 28227‐8547
MIMS, THELMA L                  1962 SEWARD                                                                                       DETROIT             MI 48206‐2662
MIMS, THELMA L                  1962 SEWARD ST                                                                                    DETROIT             MI 48206‐2662
MIMS, THEODIS                   1417 HAGERMAN DR                                                                                  DAYTON              OH 45417
MIMS, THOMAS J                  PO BOX 27                                                                                         UNION SPRINGS       AL 36089‐0027
MIN DAI                         4421 PACIFIC COAST HWY APT E205                                                                   TORRANCE            CA 90505‐5685
MIN GU                          964 EMERSON DR                                                                                    TROY                MI 48084‐1689
MIN KIM                         3716 ACORN DR                                                                                     TROY                MI 48083‐5789
MIN KIM                         1340 FORESTGLEN CT.                                                                               BLOOMFIELD          MI 48304‐1507
MIN LING                        44569 WHITE PINE CIR W                                                                            NORTHVILLE          MI 48168‐4357
MIN SUN                         2584 LOCKSLEY CT                                                                                  TROY                MI 48083‐5710
MIN WANG                        1796 NEW CASTLE DR                                                                                TROY                MI 48098‐6548
MIN YOUNG KANG                  1301 ORLEANS ST APT 1313                                                                          DETROIT             MI 48207
MIN YU                          11200 FELLOWS CREEK DR                                                                            PLYMOUTH            MI 48170‐6382
MIN YU                          2340 N COMMONWEALTH APT 507                                                                       CHICAGO              IL 60614‐3451
MIN, KONG H                     1978 GLENWOOD DR                                                                                  STERLING HEIGHTS    MI 48310‐1752
MIN, KONG HYO                   1978 GLENWOOD DR                                                                                  STERLING HEIGHTS    MI 48310‐1752
MIN‐CHEM CANADA LTD             460 WYECROFT ROAD                                                           OAKVILLE ON L6K 2G7
                                                                                                            CANADA
MIN‐JIA HU                      28492 GOLF POINTE BLVD                                                                            FARMINGTON HILLS   MI   48331‐2942
MINA                            202 TAUGHANNOCK                   BOX 366                                                         ITHACA             NY   14850
MINA & MEHDI KAROON JTWROS      10590 WILSHIRE BLVD #1201                                                                         LOS ANGELES        CA   90024‐7311
MINA ADE                        216 N 3RD ST                                                                                      ELSIE              MI   48831‐8736
MINA AND MEHDI KAROON JT WROS   MINA AND MEHDI KAROON             10590 WILSHIRE BLVD APT 1201                                    LOS ANGELES        CA   90024‐7311
MINA BARRY                      5320 CLEAR LAKE RD                                                                                NORTH BRANCH       MI   48461‐8944
MINA BROWN                      20090 LAHSER RD                                                                                   DETROIT            MI   48219‐1234
MINA BRUNETTE                   PO BOX 642                                                                                        ALPENA             MI   49707‐0642
MINA BURNETTE                   3615 ALBRIGHT RD                                                                                  KOKOMO             IN   46902‐4475
MINA COX                        2123 CHALGROVE DR                                                                                 TROY               MI   48098‐2296
MINA FRENCH                     P.O. 755                                                                                          CLIFTON            IL   60927
MINA G CASE                     130 LIND AVE                                                                                      SYRACUSE           NY   13211‐1821
MINA GENTRY                     3453 W 100 N                                                                                      KOKOMO             IN   46901‐3976
MINA HENEIN                     20970 MAYBURY PARK DR                                                                             NORTHVILLE         MI   48167‐0149
MINA HOOG                       120 SKYLAR DR NE                                                                                  CLEVELAND          TN   37312‐7408
MINA I RIFE                     1736 WINCHESTER RD                                                                                XENIA              OH   45385‐7632
MINA KHOEE‐FARD                 46231 PINEHURST DR                                                                                NORTHVILLE         MI   48168‐8584
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Name                                    Address1                           Address2                     Address3   Address4                    City               State Zip
MINA METZ                               2996 POND LN SW                                                                                        WARREN              OH 44481‐9279
MINA NICHOLAS                           3505 CANDY LN                                                                                          KOKOMO              IN 46902‐4415
MINA O ROBERSON                         1210 DEMPHLE AVENUE                                                                                    DAYTON              OH 45410‐2215
MINA POWERS                             708 MAPLEHILL AVE                                                                                      LANSING             MI 48910‐4555
MINA R METZ                             2996 POND LN                                                                                           WARREN              OH 44481‐9279
MINA ROBERSON                           1210 DEMPHLE AVE                                                                                       DAYTON              OH 45410‐2215
MINA ROSS                               803 KIMBALL DR                                                                                         DURHAM              NC 27705‐1859
MINA SCHLIEP                            4451 S LACHANCE RD                                                                                     LAKE CITY           MI 49651‐8968
MINA STANLEY                            2466 SPRUCE ST                                                                                         GIRARD              OH 44420‐3151
MINA STEPHENS                           124 BRYON J DRIVE                                                                                      HOUGHTON LAKE       MI 48629
MINA THOMAS                             8194 DAVIS ST                                                                                          MASURY              OH 44438‐1121
MINA WEISS                              10175 COLLINS AVE APT 306                                                                              BAL HORBOUR         FL 33154
MINA WILLMARTH                          2153 DELENCE ST                                                                                        TOLEDO              OH 43605‐2511
MINA YU                                 200 E 71ST ST APT 4H                                                                                   NEW YORK            NY 10021‐5149
MINA'S LOUNGE
MINA, ALDO J                            2161 N MERIDIAN ST                 APT 2                                                               INDIANAPOLIS       IN   46202‐1359
MINA, ALDO J                            2151 N MERIDIAN ST                 APT 2                                                               INDIANAPOLIS       IN   46202‐1359
MINA, FILEMON H                         2851 WOODFORD DR                                                                                       STERLING HTS       MI   48310‐6936
MINA, FRANCIA N                         16760 CEDARBROOK DR                                                                                    HASLETT            MI   48840
MINA, M.D.                              77 W BARNEY ST                                                                                         GOUVERNEUR         NY   13642‐1040
MINA, VINCENT J                         SHEPARD LAW FIRM, PC               10 HIGH STREET, SUITE 1100                                          BOSTON             MA   02114
MINACS (ADITYA BIRLA) P.O.# GMB07112,
113
MINACS GROUP INC, THE
MINACS GROUP INC, THE                   1189 COLONEL SAM DR                                                        OSHAWA ON L1H 8W8
                                                                                                                   CANADA
MINACS GROUP INC, THE                   34115 W 12 MILE RD                                                                                     FARMINGTON HILLS   MI 48331‐3368
MINACS GROUP INC, THE                   ROSS HILL                          180 DUNCAN MILL RD                      TORONTO ON MSB 1Z6
                                                                                                                   CANADA
MINACS GROUP USA INC, THE               34115 W 12 MILE RD                                                                                     FARMINGTON HILLS   MI 48331‐3368
MINACS WORLDWIDE                        ROSS HILL                          180 DUNCAN MILL RD                      TORONTO ON MSB 1Z6
                                                                                                                   CANADA
MINACS WORLDWIDE                        180 DUNCAN MILL RD                                                         TORONTO CANADA ON
                                                                                                                   M3B 1Z6 CANADA
MINACS WORLDWIDE INC                    FRMLY MOORE NORTH AMERICA          915 SANDY BEACH RD                      PICKERING CANADA ON
                                                                                                                   L1W 1Z5 CANADA
MINACS WORLDWIDE INC                    34115 W 12 MILE RD STE 200                                                                             FARMINGTON HILLS   MI 48331
MINACS WORLDWIDE INC                    1189 COLONEL SAM DR                                                        OSHAWA ON L1H 8W8
                                                                                                                   CANADA
MINAHAN, JOSEPH E                       894 SAN PABLO DR                                                                                       SAN MARCOS         CA 92078‐4829
MINAKOWSKI, CHARLES                     200 RUTH ELLEN CT N                                                                                    NEWARK             DE 19711‐8512
MINAKOWSKI, DEBBORAH L                  200 RUTH ELLEN CT N                                                                                    NEWARK             DE 19711‐8512
MINALDO CARLO & DAINESE CRISTINA        VIA GIORGIO LA PIRA NO13                                                   35030 RUBANO ‐ PD ‐ ITALY
MINALEE COLEMAN                         1006 COUNTY ROAD 172                                                                                   ATHENS             TN   37303‐7828
MINAMYER, FREDERICK L                   870 CUNNINGHAM RD                                                                                      SALEM              OH   44460‐9016
MINANO, DENNIS R                        7640 E CANON DE LA VIS                                                                                 TUCSON             AZ   85750‐1371
MINAR, BARBARA J                        30151 GARRETT AVE                                                                                      NORTHFIELD         MN   55057‐5144
MINAR, DEBBIE L                         4385 S BLOCK RD                                                                                        FRANKENMUTH        MI   48734‐9760
MINAR, NELLIE J                         255 MAYER RD                       APT 270L                                                            FRANKENMOUTH       MI   48734‐1344
MINAR, NELLIE J                         255 MAYER RD APT 270L                                                                                  FRANKENMUTH        MI   48734‐1662
MINAR, PAUL
MINAR, RONALD J                         6311 GOLF LAKES COURT B                                                                                BAY CITY           MI 48706‐9367
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Name                     Address1                             Address2                      Address3   Address4         City               State Zip
MINARCIK, ANTHONY A      15236 WINDSOR DR                                                                               ORLAND PARK          IL 60462‐3819
MINARCIN, MONIKA A       20650 NORTHVILLE PLACE DR APT 1905                                                             NORTHVILLE          MI 48167‐2937
MINARD LEVI L (472121)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                              STREET, SUITE 600
MINARD, BONNIE M         3633 MUSHROOM BOX 94                                                                           SNOVER             MI    48472‐9724
MINARD, BURT A           1441 NICHOLAS LN                                                                               CHARLOTTE          MI    48813‐8786
MINARD, BURT ALAN        1441 NICHOLAS LN                                                                               CHARLOTTE          MI    48813‐8786
MINARD, CARROL B         5694 N SEAGULL DR NE                                                                           BELMONT            MI    49306‐9629
MINARD, CHARLES W        906 MAGNOLIA CT                                                                                ROCHESTER HILLS    MI    48307‐3029
MINARD, DOROTHY L        3701 SCOTTLEY DR                                                                               SANDUSKY           OH    44870‐5455
MINARD, EBONI M.         528 RIVER AVENUE                                                                               SOUTH BEND         IN    46601‐3236
MINARD, GEORGE F         6155 LUCAS RD                                                                                  FLINT              MI    48506
MINARD, GREGORY L        34724 FOUNTAIN BLVD                                                                            WESTLAND           MI    48185‐9434
MINARD, HORACE A         1201 VALDEZ WAY                                                                                FREMONT            CA    94539‐3660
MINARD, JAMES E          7205 HUNTINGTON DR                                                                             OSCODA             MI    48750‐9772
MINARD, KRISTI L         1441 NICHOLAS LN                                                                               CHARLOTTE          MI    48813‐8786
MINARD, LEVI L           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510‐2212
                                                              STREET, SUITE 600
MINARD, LISA A           795 4TH AVE                                                                                    PONTIAC            MI    48340‐2029
MINARD, MARTIN G         10440 PAMPLONA ST NW                                                                           ALBUQUERQUE        NM    87114‐5597
MINARD, MICHAEL J        367 W COON LAKE RD                                                                             HOWELL             MI    48843‐7926
MINARD, MICHAEL JOHN     367 W COON LAKE RD                                                                             HOWELL             MI    48843‐7926
MINARD, ROBERT B         936 MELROSE ST                                                                                 PONTIAC            MI    48340‐3129
MINARD, ROSANNA          408 SEMINOLE DRIVE                                                                             GREENVILLE         MI    48838‐2063
MINARDEAN GRAHAM         1241 N CO RD ‐ 1100 E                                                                          GREENTOWN          IN    46936
MINARDI BART (654410)    LEVY PHILLIPS & KONIGSBERG           800 3RD AVENUE 13TH FLOOR                                 NEW YORK           NY    10022‐4213
MINARDI, ARMAND M        30 HILLSIDE PL                                                                                 TARRYTOWN          NY    10591‐3008
MINARDI, MICHAEL J       10216 VINTAGE DR                                                                               KELLER             TX    76248‐6652
MINARDI, RANDY J         95 BEEKMAN AVE APT. 238 S                                                                      SLEEPY HOLLOW      NY    10591
MINARDI, SALVATORE       5644 RADCLIFFE AVE                                                                             AUSTINTOWN         OH    44515‐4126
MINARICK, JOHN F         3836 JUNEBREEZE LN                                                                             NAPERVILLE          IL   60564‐4229
MINARIK GEORGE           MINARIK, GEORGE                      55955 CANDACE LN                                          MISHAWAKA          IN    46545
MINARIK, DONALD C        5233 W TAFT RD                                                                                 SAINT JOHNS        MI    48879‐9574
MINARIK, FRANK S         10344 W PIERSON RD                                                                             FLUSHING           MI    48433‐9767
MINARIK, FRANK STEVEN    10344 W PIERSON RD                                                                             FLUSHING           MI    48433‐9767
MINARIK, GEORGE          55955 CANDACE LN                                                                               MISHAWAKA          IN    46545‐7539
MINARIK, GERALD L        4114 S GROVE RD                                                                                SAINT JOHNS        MI    48879‐9577
MINARIK, JOSEPH A        APT 115                              3900 HAMMERBERG ROAD                                      FLINT              MI    48507‐6023
MINARIK, MELVIN W        3519 LYELL RD                                                                                  ROCHESTER          NY    14606‐4543
MINARIK, PAUL M          4264 S. GROVE, R#2                                                                             SAINT JOHNS        MI    48879
MINARIK, WILLIAM J       21725 MICHIGAN AVE                                                                             THREE RIVERS       MI    49093‐9631
MINARSICH, JILL C        13822 SE 78TH PL                                                                               NEWCASTLE          WA    98059‐9106
MINAS MINASIAN           417 CHURCHILL AVE APT 206                                                                      SYRACUSE           NY    13205‐2102
MINASIAN, GEORGE         18127 RAYEN ST                                                                                 NORTHRIDGE         CA    91325‐2739
MINASIAN, MARTIN J       733 KNAPP DR                                                                                   MONTECITO          CA    93108‐1908
MINASIAN, MINAS H        417 CHURCHILL AVE APT 206                                                                      SYRACUSE           NY    13205‐2102
MINASOLA, ANTOINETTE M   7414 STAGE AVE                                                                                 CONKLIN            MI    49403‐9602
MINASSIAN II, GEORGE     28989 SPYGLASS                                                                                 FARMINGTON HILLS   MI    48331‐4825
MINATEL, ANTHONY V       7187 HILLCREST                                                                                 FENTON             MI    48430
MINATEL, MICHELLE M      7187 HILLCREST DRIVE                                                                           FENTON             MI    48430
MINAUDO JR, MICHAEL J    9277 STANLEY RD                                                                                FLUSHING           MI    48433‐1072
MINAUDO, B P             14924 RIVENDELL DR                                                                             STERLING HEIGHTS   MI    48313‐5752
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Name                               Address1                           Address2                       Address3                 Address4             City               State Zip
MINAUDO, B PHILIP                  14924 RIVENDELL DR                                                                                              STERLING HEIGHTS    MI 48313‐5752
MINAUDO, FILIPPO B                 34162 W GARDENIA DR                                                                                             FRASER              MI 48026‐3535
MINAUDO, GARY T                    5458 OLD FRANKLIN RD                                                                                            GRAND BLANC         MI 48439‐8758
MINAUDO, JOSEPH P                  15871 BRIDAL PATH CT                                                                                            CLINTON TWP         MI 48035‐1006
MINAYA, LUZ V                      6826 CLOWSER CT                                                                                                 SPRINGFIELD         VA 22150‐3002
MINAYA, RAYMOND                    110 W 94TH ST APT 1A                                                                                            NEW YORK            NY 10025‐7018
MINBURN MOTORS (1982)              4836 50TH AVENUE P O BOX 115                                                               MINBURN AB T0B 3B0
                                                                                                                              CANADA
MINCA, IRMA L                      1410 HUGHES AVE                                                                                                 FLINT              MI 48503‐6704
MINCA, JACK A                      2314 TANDY DR                                                                                                   FLINT              MI 48532‐4958
MINCA, JACK ALLEN                  2314 TANDY DR                                                                                                   FLINT              MI 48532‐4958
MINCE SUSAN                        MINCE, SUSAN
MINCE SUSAN E ‐ 2ND ACTION         MINCE ‐ 2ND ACTION, SUSAN E
MINCE, ALLEN R                     N10458 STATE HIGHWAY M64                                                                                        MARENISCO          MI   49947‐9726
MINCE, BILLY J                     1409 W JUDD RD                                                                                                  FLINT              MI   48507‐3656
MINCE, DONALD H                    612 STONE CREEK PASS                                                                                            CLIO               MI   48420‐2029
MINCE, DOUGLAS C                   1237 KRA NUR DR                                                                                                 BURTON             MI   48509‐1630
MINCE, EDITH P                     852 TACKEN                                                                                                      FLINT              MI   48532‐3869
MINCE, EDITH P                     852 TACKEN ST                                                                                                   FLINT              MI   48532‐3869
MINCE, EVELYN L                    2240 W MAPLE AVE                                                                                                FLINT              MI   48507‐3506
MINCE, GARY R                      7958 CEDAR LAKE RD                                                                                              OSCODA             MI   48750‐9494
MINCE, GEOFFREY T                  95 WOODSIDE CT                                                                                                  LEXINGTON          OH   44904‐8003
MINCE, JAMES                       123 S OAK AVE                                                                                                   JOPLIN             MO   64801‐3308
MINCE, JANET L                     931 TACKEN ST                                                                                                   FLINT              MI   48532‐5073
MINCE, JANET N                     612 STONE CREEK PASS                                                                                            CLIO               MI   48420‐2029
MINCE, KATHARENE R                 N10458 STATE HIGHWAY M64                                                                                        MARENISCO          MI   49947‐9726
MINCE, LEE R                       2505 LOCKSLEY ST                                                                                                SUN CITY CENTER    FL   33573‐6536
MINCE, MICHAEL J                   8406 MABLEY HILL ROAD                                                                                           FENTON             MI   48430‐9454
MINCE, MICHAEL JAMES               8406 MABLEY HILL ROAD                                                                                           FENTON             MI   48430‐9454
MINCE, RICHARD A                   PO BOX 2932                                                                                                     KOKOMO             IN   46904‐2932
MINCE, ROBERT W                    24681 KENOSHA ST                                                                                                OAK PARK           MI   48237‐1421
MINCE, SANDRA K                    PO BOX 2932                                                                                                     KOKOMO             IN   46904‐2932
MINCE, SHERRY D                    5301W 00NS                                                                                                      KOKOMO             IN   46901
MINCE, SUSAN E                     1237 KRA NUR DR                                                                                                 BURTON             MI   48509‐1630
MINCEL, ROBERT A                   27247 WILSON DR                                                                                                 DEARBORN HTS       MI   48127‐5200
MINCER, MARY H                     4852 E HERITAGE CIR                                                                                             MUNCIE             IN   47303‐2694
MINCER, MARY H                     4852 E. HERITAGE CIRCLE                                                                                         MUNCIE             IN   47303‐2694
MINCEY CHRISTOPHER WRONGFUL DEATH C/O HAROWITZ & TIGERMAN LLP         450 SANSOME STREET 3RD FLOOR                                                 SAN FRANCISCO      CA   94111‐3311
HEIR
MINCEY VIOLET SII TO THE ESTATE OF WRONGFUL DEATH HEIR                C/O HAROWITZ & TIGERMAN LLP    450 SANSOME STREET 3RD                        SAN FRANCISCO      CA 94111‐3311
FLOYD MINCEY LOSS OF CONSORTIUMAND                                                                   FLOOR

MINCEY, BOBBY C                    5456 STIFFLER RD                                                                                                FLINT              MI   48505‐1094
MINCEY, CAREY R                    10074 TOULOUSE DR                                                                                               SHREVEPORT         LA   71106‐8521
MINCEY, CAROLYN                    1004 VILLA VIEW WAY                                                                                             HAMPTON            GA   30228‐3624
MINCEY, JAMES M                    412 THORNTON ST                                                                                                 NEWPORT            KY   41071‐1549
MINCEY, JODY C                     4121 PEPPERDINE DR                                                                                              DECATUR            GA   30034‐5905
MINCEY, MARY F                     518 DUNAHOO RD                                                                                                  WINDER             GA   30680‐3105
MINCEY, O Z                        23610 EMILS DR                                                                                                  BROWNSTOWN         MI   48174‐9647
MINCEY, SAMIE L                    6199 NATCHEZ DR                                                                                                 MOUNT MORRIS       MI   48458‐2701
MINCEY, SAMIE LEWIS                6199 NATCHEZ DR                                                                                                 MOUNT MORRIS       MI   48458‐2701
MINCEY, TUBAL                      1165 MARSEILLE DR APT 12                                                                                        MIAMI BEACH        FL   33141‐2826
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MINCH JR, JAMES J                 12 WINDSOR LANE                                                                          TRENTON              NJ 08620‐9410
MINCH, ABBIGAIL T                 305 E FULTON ST                                                                          EDGERTON             WI 53534‐1921
MINCH, DOROTHY L                  17749 WESTBROOK DR                                                                       LIVONIA              MI 48152‐2739
MINCH, GARRY E                    11437 N. M‐37                                                                            IRONS                MI 49644
MINCH, HELEN D                    2300 GRAND HAVEN DR APT 121                                                              TROY                 MI 48083‐4420
MINCH, HELEN D                    2300 GRAND HAVEN DRIVE         APT 121                                                   TROY                 MI 48083
MINCH, JANE                       109 W NO D ST                                                                            GAS CITY             IN 46933
MINCH, JEFFREY A                  26379 S RIVER RD                                                                         HARRISON TOWNSHIP    MI 48045‐5609
MINCH, JOYCE A                    220 HILLCREST DR                                                                         LAKE                 MI 48632‐9016
MINCH, LYLE E                     8950 S WOLF RD                                                                           HINSDALE              IL 60521
MINCH, MARK T                     32702 ROSSLYN AVE                                                                        GARDEN CITY          MI 48135‐3220
MINCH, MARK TERRY                 32702 ROSSLYN AVE                                                                        GARDEN CITY          MI 48135‐3220
MINCH, PAUL E                     4600 N HEREFORD DR                                                                       MUNCIE               IN 47304‐1237
MINCH, PHILLIP                    4219 CALUMET DR                                                                          OAKLAND TOWNSHIP     MI 48306‐1462
MINCH, PHILLIP D                  4219 CALUMET DR                                                                          OAKLAND TOWNSHIP     MI 48306‐1462
MINCH, RONALD L                   BOX 218 GREENVALLEY RD                                                                   VEVAY                IN 47043
MINCHEFF JR, GEORGE               10714 JACKMAN RD                                                                         TEMPERANCE           MI 48182‐9628
MINCHELLA, STEVEN J               143 LYNCOURT PARK                                                                        ROCHESTER            NY 14612‐3823
MINCHER, DOUGLAS J                1351 MURRAYS LOCH PL NW                                                                  KENNESAW             GA 30152
MINCHER, LAUREN                   6345 NEW CASTLE RD                                                                       LOWELLVILLE          OH 44436
MINCHER, MICHAEL J                4205 PEMBROOK ROAD                                                                       YOUNGSTOWN           OH 44515‐4516
MINCHEW MOTORS, INC.              5099 US HWY 117 N                                                                        WALLACE              NC 28466
MINCHEW MOTORS, INC.              TODD MINCHEW                   5099 US HWY 117 N                                         WALLACE              NC 28466
MINCHEW, ARBY L                   HC 69 BOX 487                                                                            HUGO                 OK 74743‐9281
MINCHEW, ARBY L                   1524 N 4260 RD                                                                           HUGO                 OK 74743‐5708
MINCHEW, JAMES                    PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON              MS 39206‐5621
MINCHEW, MALLARD                  PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON              MS 39206‐5621
MINCHIN BUICK PONTIAC GMC         131 JEFFERSON ST                                                                         STAMFORD             CT 06902‐5917
MINCHIN BUICK PONTIAC GMC, INC.   HENRY MINCHIN                  131 JEFFERSON ST                                          STAMFORD             CT 06902‐5917
MINCHOKOVICH, NICHOLAS            6651 MELBOURNE DR                                                                        HUNTINGTON BEACH     CA 92647‐2608
MINCK, BEVERLY D                  10415 STEVENS RD                                                                         DEFIANCE             OH 43512‐8706
MINCK, DAVID B                    11281 ROAD 192                                                                           CECIL                OH 45821‐9318
MINCK, GARY A                     13613 US ROUTE 24                                                                        CECIL                OH 45821‐9408
MINCK, JOSEPH F                   10415 STEVENS RD                                                                         DEFIANCE             OH 43512‐8706
MINCKLEY, GLADYS L                98 NIAGARA STREET                                                                        LOCKPORT             NY 14094‐2734
MINCKS, DANIEL R                  4012 SUNSET BLVD                                                                         YOUNGSTOWN           OH 44512‐1309
MINCKS, ROGER G                   2641 LEETONIA RD                                                                         LEETONIA             OH 44431‐9725
MINCO INDUSTRIAL SERVICES INC     439 JONESTOWN RD                                                                         JONESTOWN            PA 17038‐9502
MINCO PRODUCTS INC                7300 COMMERCE LN NE                                                                      MINNEAPOLIS          MN 55432‐3113
MINCOLELLI, SALVATORE             36 S JEFFERSON ST                                                                        ORANGE               NJ 07050‐1513
MINCONE, JOSEPH M                 43610 PERIGNON DR                                                                        STERLING HTS         MI 48314‐1927
MINCOVSKY, CATHERINE G            31555 ANN ARBOR TRAIL                                                                    WESTLAND             MI 48185‐1685
MINCY, RUMALDA N                  636 S 14TH ST                                                                            SAGINAW              MI 48601‐1921
MIND BODY & BEYOND EXPO           136 1/2 N SYCAMORE AVE                                                                   LOS ANGELES          CA 90036‐2908
MIND EXTENSION UNIVERSITY         PO BOX 6612                                                                              ENGLEWOOD            CO 80155‐6612
MIND EXTENTION UNIVERSITY         ATTN EDUCATION CENTER          9697 E MINERAL AVE   P.O. BOX 3309                        ENGLEWOOD            CO 80112‐3408
MIND MATTERS                      PO BOX 3001                                                                              STANFORD             CA 94389
MINDA FLORES                      2298 FLAGSTONE WAY                                                                       CONCORD              CA 94521‐1600
MINDA INDUSTRIES LTD              VILLAGE NAWADA FATEHPUR POST                                        GURGAON HARYANA IN
                                                                                                      122004 INDIA
MINDA JOYE                        15026 CRAIG ST                                                                           BASEHOR             KS 66007‐9716
MINDA KIM M                       5116 VILLAGE TRACE                                                                       NASHVILLE           TN 37211‐6250
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Name                            Address1                            Address2                 Address3   Address4         City               State Zip
MINDA, KATHRYN M                1120 AVE G                                                                               ORMOND BEACH        FL 32174‐6853
MINDA, KATHRYN M                1120 AVENUE G                                                                            ORMOND BEACH        FL 32174‐6853
MINDA, KIM M                    5116 VILLAGE TRCE                                                                        NASHVILLE           TN 37211‐6250
MINDA, KIM MARIE                8924 HEADLEY DR                                                                          STERLING HEIGHTS    MI 48314‐2658
MINDA, LOUIS R                  2850 N 80TH ST                                                                           KANSAS CITY         KS 66109‐1514
MINDAK, THOMAS                  6903 245TH AVE                                                                           SALEM               WI 53168‐9790
MINDAS ROBERT                   138 CLIFTON ST                                                                           WESTFIELD           NJ 07090‐1653
MINDEK JR, PAUL                 1189 ROSEWAY AVE SE                                                                      WARREN              OH 44484‐2810
MINDEK, AMY                     1189 ROSEWAY AVE SE                                                                      WARREN              OH 44484‐2810
MINDEK, MARK A                  4909 STATE ROUTE 45                                                                      BRISTOLVILLE        OH 44402‐9656
MINDEL, DALE H                  PO BOX 461                                                                               BOWLING GREEN       KY 42102‐0461
MINDEL, THOMAS G                1155 HICKORY HOLLOW LN                                                                   DEXTER              MI 48130‐9764
MINDEL, THOMAS GEORGE           1155 HICKORY HOLLOW LN                                                                   DEXTER              MI 48130‐9764
MINDEL, VIOLA                   3190 JENSEN RD.                                                                          PETOSKEY            MI 49770‐9525
MINDEL, VIOLA                   3190 JENSEN RD                                                                           PETOSKEY            MI 49770‐9525
MINDEMANN, LORA D               25422 SAINT JAMES                                                                        SOUTHFIELD          MI 48075‐1247
MINDEN COUNTRY CHEVROLET        1380 HOMER RD                                                                            MINDEN              LA 71055‐6276
MINDEN COUNTRY CHEVROLET        LARRY COKER                         332 SWEET BAY                                        SHREVEPORT          LA 71106‐8370
MINDER JR, RICHARD R            1104 CARYL CIR                                                                           GRAND BLANC         MI 48439‐8913
MINDER, ERNEST A                639 BAKER ST                                                                             ROCHESTER HLS       MI 48307‐4202
MINDER, GENEVA B                476 HALLS BRIDGE RD                                                                      CAMPOBELLO          SC 29322‐8302
MINDER, MICHAEL C               9396 BUTWELL ST                                                                          LIVONIA             MI 48150‐3442
MINDER, MICHAEL CHARLES         9396 BUTWELL ST                                                                          LIVONIA             MI 48150‐3442
MINDER, SCOTT A                 3545 HAWTHORN CT                                                                         OAKLAND             MI 48363‐2658
MINDERA JR, STEPHEN W           5 VIRGINIA RD                                                                            TERRYVILLE          CT 06786‐5500
MINDERA, HARRY P                PO BOX 633                                                                               SANDUSKY            OH 44871‐0633
MINDERHOUT, VIOLA               2500 BRETON WOODS DR SE UNIT 3022                                                        GRAND RAPIDS        MI 49512‐9131
MINDERMAN, ADELAIDE M           104 SILVER CIRCLE                                                                        MANTENO              IL 60950
MINDI A BROWN                   1579 WAYNE AVE.                                                                          DAYTON              OH 45410
MINDI M WHITE                   212 E 5TH ST                                                                             TILTON               IL 61833‐7425
MINDI STARK STEINBERG           MINDI STARK                         20 PHEASANT RUN                                      SCARSDALE           NY 10583
MINDICK, DOROTHY M              33355 MYRNA CT                                                                           LIVONIA             MI 48154‐2954
MINDICK, RICHARD A              38642 GRENNADA ST                                                                        LIVONIA             MI 48154‐4753
MINDIGO, NADINE F               364 TOPSFIELD RD                                                                         COLUMBUS            OH 43228‐1241
MINDIGO, RUTH A                 214 RIDGELAND DRIVE                                                                      GALLOWAY            OH 43119‐8395
MINDINGALL, ANNIE               PO BOX 2033                                                                              TUSKEGEE            AL 36083
MINDISH, GEORGE N               834 N. #4TH AVE.                                                                         DELTONA             FL 32725
MINDISH, LOUISE M               6585 N LAKE RD                                                                           BERGEN              NY 14416
MINDLIN, IRVING                 307 EATON RD                                                                             ROCHESTER           NY 14617‐1623
MINDOCK JOHN                    N8702 N JOBES DAM RD                                                                     PHILLIPS            WI 54555‐6865
MINDWARE ENGINEERING INC        32605 W 12 MILE RD STE 350                                                               FARMINGTON HLS      MI 48334‐3379
MINDWARE INC                    32605 W 12 MILE RD STE 350                                                               FARMINGTON          MI 48334‐3379
MINDWARE TECHNOLOGIES LTD LLC   A LAFAYETTE INSTURMENT CO           1020 TAYLOR STATION RD   STE F                       COLUMBUS            OH 43230‐6675
MINDY BARTH                     28441 BRANDYWINE RD                                                                      FARMINGTON HILLS    MI 48334‐3425
MINDY BERSTEIN IRA              MINDY BERSTEIN                      300 EDWARDS ST 3MW                                   ROSLYN HEIGHTS      NY 11577
MINDY BRENT                     247 PARKEDGE AVE                                                                         TONAWANDA           NY 14150‐7820
MINDY DOERR                     28706 MILLBROOK RD                                                                       FARMINGTON HILLS    MI 48334‐3114
MINDY DUPUIS                    5388 N MCKINLEY RD                                                                       FLUSHING            MI 48433‐1158
MINDY E TOMLIN                  8425 N BIRDIE LN                                                                         EVANSVILLE          WI 53536‐9300
MINDY ESTADEZ                   61 MAY ST                                                                                NEW BRUNSWICK       NJ 08901‐3438
MINDY J COTTRELL                515 FLORIDA RD                                                                           SYRACUSE            NY 13211‐1220
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Name                            Address1                           Address2                      Address3   Address4                City            State Zip
MINDY L HURD                    3209 W FLORENCE CAMPBELLSTOWN RD                                                                    EATON            OH 45320

MINDY L SMEAD                   11274 TRAILING OAK                                                                                  MIAMISBURG      OH   45342
MINDY R BANKS                   7680 SOMERVILLE DR                                                                                  HUBER HEIGHTS   OH   45424
MINDY SIDLE                     1807 COUNTY ROAD 22A                                                                                STRYKER         OH   43557‐9778
MINDY TOMLIN                    8425 N BIRDIE LN                                                                                    EVANSVILLE      WI   53536‐9300
MINDY V NORMAN                  2208 CAROLINA                                                                                       MIDDLETOWN      OH   45044‐6930
MINDY, CATHY LORENE             3946 BANGOR RD                                                                                      BAY CITY        MI   48706‐2217
MINDY, JAMES A                  4243 ANN CT                                                                                         BAY CITY        MI   48706‐2465
MINDYAS, PETER A                13809 HAROLD AVE                                                                                    CLEVELAND       OH   44135‐1662
MINDYKOWSKI, DANIEL G           1707 S GRANT ST                                                                                     BAY CITY        MI   48708‐8094
MINDYKOWSKI, DENNIS D           1582 WHEELER RD                                                                                     BAY CITY        MI   48706‐9445
MINDYKOWSKI, JOANN M.           1003 S SHERMAN ST                                                                                   BAY CITY        MI   48708‐7432
MINDYKOWSKI, THERESA A          1301 S GRANT ST                                                                                     BAY CITY        MI   48708‐8057
MINE & PROCESS SERVICE INC      PO BOX 484                                                                                          KEWANEE         IL   61443‐0484
MINE & PROCESS SERVICE INC      336 TENNEY ST                      PO BOX 484                                                       KEWANEE         IL   61443‐3452
MINE SAFETY APPLIANCES CO       PO BOX 640348                                                                                       PITTSBURGH      PA   15264‐0348
MINE SAFETY APPLIANCES CO       PO BOX 426                         1901 WILLIAM FLYNN HWY                                           PITTSBURGH      PA   15230‐0426
MINE SAFETY APPLIANCES CO INC   PO BOX 426                         121 GAMMA DR RIDC PARK                                           PITTSBURGH      PA   15230‐0426
MINE SAFETY APPLIANCES CO INC
MINE SAFETY APPLIANCES CORP     MULLER MULLER RICHMOND HARMS       33233 WOODWARD AVE                                               BIRMINGHAM      MI 48009
                                MYERS & SGROI PC
MINE TASCI                      455 WOODLAND HILLS DR                                                                               WALLED LAKE     MI   48390‐2976
MINEAR OWEN                     411 BELVIEW AVE                                                                                     NORMAL          IL   61761‐1213
MINEAR, DANNETTE S              4298 W ROUNDHOUSE RD APT 5                                                                          SWARTZ CREEK    MI   48473
MINEAR, JOHN M                  3700 SOUTH WEST PORT AVENUE        # 642                                                            SIOUX FALLS     SD   57106
MINEER, MICHAEL R               3612 DAWSON DR                                                                                      WARREN          MI   48092‐3252
MINEER, PAULINE M               8751 LANE ST                                                                                        DETROIT         MI   48209‐1408
MINEHART, AMY S                 575 DIRLAM LN                                                                                       MANSFIELD       OH   44904‐1720
MINEHART, AMY SUZANNE           575 DIRLAM LN                                                                                       MANSFIELD       OH   44904‐1720
MINEHART, KIM M                 246 W MAIN ST EXT                                                                                   LEETONIA        OH   44431
MINEHART, LAWRENCE W            575 DIRLAM LN                                                                                       MANSFIELD       OH   44904‐1720
MINEHART, LAWRENCE WILLIAM      575 DIRLAM LN                                                                                       MANSFIELD       OH   44904‐1720
MINEHART, LESLIE                2617 NANCY AVE                                                                                      GRANITE CITY    IL   62040‐2061
MINEHART, RICKY A               1812 WEATHER STONE LN                                                                               COLUMBUS        OH   43235‐5987
MINELLA VINCENT                 MINELLA, VINCENT                   12 HARDING STREET SUITE 110                                      LAKEVILLE       MA   02347
MINELLA, ALBERT C               16 MERRITT AVE                                                                                      HIGHLAND        NY   12528‐1011
MINELLA, ALBERT R               1134 WAGONER DR                                                                                     WILMINGTON      DE   19805‐1119
MINELLA, JEFFREY R              38 LOST COVE RD                                                                                     WEAVERVILLE     NC   28787‐8202
MINELLA, JOAN M                 800 N. FORK RD 10‐2                                                                                 STUART          FL   34994‐8908
MINELLA, JOAN M                 800 NW FORK RD APT 10‐2                                                                             STUART          FL   34994‐8908
MINELLA, JOSEPH B               576 SADDELL BAY LOOP                                                                                OCOEE           FL   34761‐5602
MINELLA, JOSEPH B               1709 DUBLIN CT                                                                                      SPRING HILL     TN   37174‐9506
MINELLA, MATTHEW J              1134 WAGONER DR                                                                                     WILMINGTON      DE   19805‐1119
MINELLA, MICHAEL                1014 LAWN VIEW CT                                                                                   FRANKLIN        TN   37064‐5564
MINELLA, PEARL                  576 SADDELL BAY LOOP                                                                                OCOEE           FL   34761‐5602
MINELLA, ROCCO S                13 PLEASANT ST                                                                                      SLEEPY HOLLOW   NY   10591
MINELLA, VINCENT G              SOUTH RD                                                                                            HARWINTON       CT   06791
MINELLA, YOLANDE J              1747 REUVEN CIR APT 1                                                                               NAPLES          FL   34112‐3695
MINELLI, BETTY M                19 SANDS POINT RD                                                                                   WARETOWN        NJ   08758‐1644
MINELLO BOB                     2423 BUCKINGHAM RD                                                          WINDSOR CANADA ON N8T
                                                                                                            2B4 CANADA
                                     09-50026-mg              Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                                 Address1                            Address2                        Address3   Address4         City                State Zip
MINEMANN, RONDAL J                   4044 MODOC RD                                                                                   MODOC                 IL 62261‐1008
MINENOK, FRANK T                     2811 BEARS DEN CT                                                                               YOUNGSTOWN           OH 44511‐1213
MINEO, AGOSTINO S                    45 CHARIT WAY                                                                                   ROCHESTER            NY 14626‐1101
MINEO, ANTHONY L                     9 DORCHESTER CT                                                                                 LANCASTER            NY 14086‐9357
MINEO, BLONDENA                      5019 MEMPHIS AVENUE                                                                             SANDUSKY             OH 44870‐5826
MINEO, CECI                          345 MORTON AVE                                                                                  DAYTON               OH 45410‐1303
MINEO, DOMINIC                       26 CONSTANCE LN                                                                                 CHEEKTOWAGA          NY 14227‐1362
MINEO, JOSEPHINE                     40 SWEETWOOD DR N                                                                               AMHERST              NY 14228‐3419
MINEO, LORETTA R                     26 CONSTANCE LN                                                                                 CHEEKTOWAGA          NY 14227‐1362
MINEO, RANDY J                       467 NIAGARA ST                                                                                  TONAWANDA            NY 14150‐1809
MINEO, SYLVIA C                      531 LOCUST ST                                                                                   N TONAWANDA          NY 14120‐4630
MINEOLA ISD                          PO BOX 268                                                                                      MINEOLA              TX 75773‐0268
MINER & MINER                        ATTN: JAMES S MINER II              820 N MONROE ST                                             BAY CITY             MI 48708‐5931
MINER DAVID (460058)                 KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND            OH 44114
                                                                         BOND COURT BUILDING
MINER GLENN (446423)                 KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                                         BOND COURT BUILDING
MINER III, REIGNOLD A                6622 WARNER RD                                                                                  SALINE              MI    48176‐8719
MINER JR, DONALD G                   19 CEDARBURG CT APT D                                                                           BALTIMORE           MD    21234‐1937
MINER JR, FREDERICK A                3975 LOTUS DR                                                                                   WATERFORD           MI    48329‐1391
MINER NORVAL M (488515)              BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH    44067
                                                                         PROFESSIONAL BLDG
MINER OSCAR (ESTATE OF) (656849)     GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                  EDWARDSVILLE         IL   62025‐0959
                                     ANTOGNOLI
MINER RICHARD (ESTATE OF) (639964)   GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                  EDWARDSVILLE         IL   62025‐0959
                                     ANTOGNOLI
MINER RON                            DBA CRUSH ENTERTAINMENT             1229 ROWIN RD                                               INDIANAPOLIS        IN    46220‐3236
MINER WARREN                         8000 N DUVAL DR                                                                                 CITRUS SPRINGS      FL    34434‐5805
MINER, ANTONETTE                     1012 MANNING DR                                                                                 FREDERICKSBURG      VA    22405
MINER, B P                           2227 E ROCKWELL AVE                                                                             SPOKANE             WA    99207‐4457
MINER, BARBARA J                     3448 LOGANVIEW DR                                                                               BALTIMORE           MD    21222‐5951
MINER, BETTY WICKHAM V               613 MAGNOLIA DR                                                                                 GREENVILLE          OH    45331‐4331
MINER, BEVERLY A                     1226 N STATE RD                                                                                 OWOSSO              MI    48867‐9699
MINER, BILLIE J                      602 E 27TH ST                                                                                   ANDERSON            IN    46016‐5400
MINER, BRADLEY J                     2404 COGSWELL DR                                                                                LANSING             MI    48906‐3615
MINER, BRUCE A                       7518 S CROOKED LAKE DR                                                                          DELTON              MI    49046‐8427
MINER, BRYAN E                       3448 LOGANVIEW DR                                                                               BALTIMORE           MD    21222‐5951
MINER, CATHERINE A                   3400 E SAINT ANDREWS DR                                                                         AVON PARK           FL    33825‐6065
MINER, DANIEL F                      PO BOX 2015                                                                                     HOWELL              MI    48844‐2015
MINER, DANIEL L                      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                SAGINAW             MI    48604‐2602
                                                                         260
MINER, DAVID                         KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                CLEVELAND           OH 44114
                                                                         BOND COURT BUILDING
MINER, DENNIS C                      8350 HILL RD                                                                                    SWARTZ CREEK        MI    48473‐7603
MINER, DONALD G                      198 SOMERSET BRIDGE RD UNIT 107                                                                 SANTA ROSA BEACH    FL    32459‐0450
MINER, DONALD G                      198 SUMMERSET BRIDGE RD             UNIT 107                                                    SAINTA ROSA BEACH   FL    32459
MINER, DONALD L                      1945 BIG CRANE LOOP                                                                             PORT ORANGE         FL    32128‐2553
MINER, DONALD L                      3313 W. M‐115 HWY                                                                               MESICK              MI    49668
MINER, DONALD L                      4541 MICHAEL ERIC DR                                                                            GOODRICH            MI    48438‐9617
MINER, DONALD LEE                    4541 MICHAEL ERIC DR                                                                            GOODRICH            MI    48438‐9617
MINER, DONNA J                       5524 BLUE RIDGE BLVD                                                                            RAYTOWN             MO    64133‐2977
MINER, DOUGLAS S                     1137 W MIDLAND RD                                                                               AUBURN              MI    48611‐9538
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Name                           Address1                          Address2                       Address3   Address4         City             State Zip
MINER, EDITH M                 605 HOLLY BUSH DR                                                                            HOLLY             MI 48442‐1318
MINER, EFFIE M                 4292 ALE ST.                                                                                 CASS CITY         MI 48726
MINER, EFFIE M                 4292 ALE ST                                                                                  CASS CITY         MI 48726‐1602
MINER, EULA V                  PO BOX 234                                                                                   COLUMBIAVILLE     MI 48421‐0234
MINER, EULA V                  3419 NORTHWOOD DRIVE                                                                         COLUMBIAVILLE     MI 48421‐8926
MINER, FRANCES L               5520 CRAWFORDSVILLE RD.                                                                      INDIANAPOLIS      IN 46224‐5428
MINER, FRANK L                 9180 MANTISIQUE                                                                              DETROIT           MI 48224
MINER, GARY                    5632 W SPRING KNOLL DR                                                                       BAY CITY          MI 48706‐5614
MINER, GLENN                   KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                                 BOND COURT BUILDING
MINER, HUGH L                  90 PADDOCK LN                                                                                SOUTHERN PINES   NC   28387‐2947
MINER, IRENE MARIE             3908 AUTUMN LN                    C/O JOHN JOSEPH SANTORO                                    VALPARAISO       IN   46385‐7411
MINER, JANET MARIE             3855 KLAM RD                                                                                 COLUMBIAVILLE    MI   48421‐9374
MINER, JEFFREY L               1660 WINCHESTER AVE                                                                          LINCOLN PARK     MI   48146‐3845
MINER, JERALD E                3300 VIRGINIA DR                                                                             COLUMBIAVILLE    MI   48421‐9305
MINER, JOHN A                  3539 RIDGESTONE DR                                                                           MANSFIELD        OH   44903‐8425
MINER, KATHERINE N             156 MAYNARD CIR                                                                              OXFORD           MI   48371‐5240
MINER, KENNETH E               116 COUNTY ROAD 4150                                                                         SALEM            MO   65560‐8294
MINER, KENNETH L               105 W 3RD ST                                                                                 MC DONALD        OH   44437‐1946
MINER, LARRY L                 6352 STATE RD                                                                                VASSAR           MI   48768‐9215
MINER, LARRY W                 1754 TEMPLETON BEND RD LOT 4                                                                 COLUMBIA         LA   71418‐6300
MINER, MAJOR N                 PO BOX 1020                                                                                  PONTIAC          MI   48343
MINER, MARY H                  4111 RYAN CT                                                                                 KOKOMO           IN   46902‐4491
MINER, MEGAN L                 8525 GILMOUR LN                                                                              FREELAND         MI   48623‐9045
MINER, MEGAN L                 2359 N BIRCH RIDGE DR                                                                        MIDLAND          MI   48642‐9488
MINER, NANCY L                 806 E 143RD ST                                                                               BURNSVILLE       MN   55337‐4613
MINER, OSCAR                   GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                 EDWARDSVILLE     IL   62025‐0959
                               ANTOGNOLI
MINER, PATRICK T               413 ENCHANTED DR                                                                             ANDERSON         IN   46013‐1074
MINER, PAUL K                  14 TUTTLE ST                                                                                 DORCHESTER       MA   02125‐1435
MINER, PAUL R                  1118 FAIRFIELD SCHOOL RD                                                                     COLUMBIANA       OH   44408‐9464
MINER, PHILIP H                120 CLARENCE ST                                                                              HOLLY            MI   48442‐1414
MINER, PLUMAS E                13218 HIGHWAY KK                                                                             BOSS             MO   65440‐7568
MINER, PLUMAS E                HCR 1 ‐ BOX 1375                                                                             BOSS             MO   65440‐9607
MINER, RICHARD                 GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                 EDWARDSVILLE     IL   62025‐0959
                               ANTOGNOLI
MINER, RICHARD L               4311 OTTER LAKE RD                                                                           OTTER LAKE       MI   48464‐9764
MINER, ROBERT E                5520 CRAWFORDSVILLE RD                                                                       INDIANAPOLIS     IN   46224‐5428
MINER, ROBERT L                20807 MCMULLEN HWY SW                                                                        RAWLINGS         MD   21557‐2417
MINER, ROGER D                 3855 KLAM RD                                                                                 COLUMBIAVILLE    MI   48421‐9374
MINER, RONALD J                189 STAFFORD WAY                                                                             ROCHESTER        NY   14626‐1634
MINER, ROSE C                  501 TABERNA CIR                                                                              NEW BERN         NC   28562‐8785
MINER, SHIRLEY J               1507 RAMBLEWOOD WAY                                                                          PLEASANTON       CA   94566‐6025
MINER, STEVEN A                4621 VALLEYRIDGE AVE SW                                                                      WYOMING          MI   49519‐4514
MINER, TERRY A                 3400 E SAINT ANDREWS DR                                                                      AVON PARK        FL   33825‐6065
MINER, VERNON L                25353 FRANKLIN TER                                                                           SOUTH LYON       MI   48178‐1032
MINER, VERONICA T              13037 PRAIRIE VIEW DR APT 1                                                                  DEWITT           MI   48820‐9589
MINER, VIVIAN A.               2517 LYNN LAKE CIR S                                                                         ST PETERSBURG    FL   33712‐6167
MINER, WALTER B                14494 Q AVE E                                                                                SCOTTS           MI   49088‐8325
MINERAL AREA COLLEGE           PO BOX 1000                                                                                  DESLOGE          MO   63601‐1000
MINERAL COUNTY TAX COLLECTOR   SHERIFF'S OFFICE                  150 ARMSTRONG STREET                                       KEYSER           WV   26726
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Name                               Address1                          Address2                         Address3    Address4                 City             State Zip
MINERALS METALS AND MATERIALS      184 THORN HILL RD                 ATTN JACQUELINE DELUCA                                                WARRENDALE        PA 15086‐7528
SOCIETY
MINERALS TECHNOLOGIES INC          260 COLUMBIA ST                                                                                         ADAMS            MA   01220‐1347
MINERD ZUIDEMA                     2014 ROSEWOOD ST                                                                                        JENISON          MI   49428‐8136
MINERD, EARL C                     3386 COUNTRY CLUB RD                                                                                    MT PLEASANT      PA   15666‐2228
MINERD, MARTHA A                   4745 CELTIC CIR                                                                                         SALEM            VA   24153‐8275
MINERD, NORMA E                    611 DAVIDSON AVE                                                                                        CONNELLSVILLE    PA   15425‐4740
MINERLY CHRIS                      75 LIDO RD                                                                                              UNIONVILLE       CT   06085‐1563
MINERVA ALICEA                     405 MORRISTOWN RD                                                                                       LINDEN           NJ   07036‐5106
MINERVA BLAIR                      14615 HIGHWAY 12 SPC A1                                                                                 OROFINO          ID   83544‐9128
MINERVA BURKEY                     120 E KENTUCKY AVE                                                                                      SEBRING          OH   44672‐2130
MINERVA C BLAIR                    14615 HIGHWAY 12,                 SPACE A‐1,                                                            OROFINO          ID   83544‐9128
MINERVA CAMPOS                     1105 STARLING CT                                                                                        BURLESON         TX   76028‐0601
MINERVA COLTON                     3030 W CARO RD                                                                                          CARO             MI   48723‐9610
MINERVA CROWLEY                    2435 W WOODLAWN AVE                                                                                     SAN ANTONIO      TX   78228‐5319
MINERVA DELEON                     220 HOLLYWOOD DR                                                                                        EDINBURG         TX   78539‐6116
MINERVA DINNAN                     11159 BARE DR                                                                                           CLIO             MI   48420‐1576
MINERVA DROPPS                     149 W FAIRMOUNT AVE                                                                                     PONTIAC          MI   48340‐2737
MINERVA EDUCATION & DEVELOPMENT    PO BOX 21655                                                                                            DETROIT          MI   48221‐0655
FOUNDATION INC
MINERVA G CAMPOS                   1105 STARLING CT                                                                                        BURLESON         TX   76028‐0601
MINERVA GARCIA                     2614 E WILLIAMSBURG MNR                                                                                 ARLINGTON        TX   76014‐1221
MINERVA GIFFEN                     4251 HOOVER RD                                                                                          GROVE CITY       OH   43123‐3618
MINERVA HAYS                       1112 BLACKTHORN RD                                                                                      LOUISVILLE       KY   40299‐4670
MINERVA HOLIFIELD                  1339 WESLEYAN RD                                                                                        DAYTON           OH   45406
MINERVA J HILTON                   1814 SHADY DR.                                                                                          FARRELL          PA   16121
MINERVA KOVALA                     7955 NORTH DIXBORO ROAD                                                                                 SOUTH LYON       MI   48178‐7009
MINERVA L VADALA                   288 WELLINGTON RD.                                                                                      WEBSTER          NY   14580‐1442
MINERVA LEAH GLASTON               8288 WATERLINE DR #106                                                                                  BOYNTON BEACH    FL   33412‐2358
MINERVA LEWIS                      PO BOX 144                                                                                              KOKOMO           IN   46903‐0144
MINERVA M HOLIFIELD                1339 WESLEYAN RD                                                                                        DAYTON           OH   45406
MINERVA MONTERO                    CALLE 41 BL 12 RETEVILLE                                                                                BAYAMON          PR   00957
MINERVA MORALES                    300A MITTEN LN                                                                                          MOUNT LAUREL     NJ   08054‐3174
MINERVA N.V.                       PO BOX 18
MINERVA N.V.                       KOERSELSCSTEENWEG 33                                                           BERINGEN S580 BELGIUM
MINERVA RICHARDS                   5117 MAHER AVE                                                                                          MADISON          WI   53716‐2821
MINERVA RODRIGUEZ                  4905 TRINITY DR                                                                                         CORPUS CHRISTI   TX   78411‐4036
MINERVA ROMERO                     6267 ASHTON AVE                                                                                         DETROIT          MI   48228‐3835
MINERVA SANCHEZ‐BRASHER            7330 S 500 W                                                                                            WARREN           IN   46792‐9760
MINERVA TRUST COMPANY LIMITED AS   THE JUDITH ANN PLUNKET 1981       PO BOX 218 43/45 LA MOTTE STREET ST HELIER   JE4 8SD JERSEY CHANNEL
TRUSTEE OF                         SETTLEMENT                                                                     ISLANDS GREAT BRITAIN
MINERVA VADALA                     288 WELLINGTON RD                                                                                       WEBSTER          NY   14580‐1442
MINERVA VINCENT S (502209)         WEITZ & LUXENBERG                 51 HADDONFIELD RD STE 160                                             CHERRY HILL      NJ   08002‐4804
MINERVA'S/FREMONT                  37463 FREMONT BLVD                                                                                      FREMONT          CA   94536‐3704
MINERVA, VINCENT S                 WEITZ & LUXENBERG                 51 HADDONFIELD RD STE 160                                             CHERRY HILL      NJ   08002‐4804
MINERVINO, JOE                     10740 OXFORD AVE                                                                                        CHICAGO RIDGE    IL   60415‐2152
MINES, BEVERLY A                   9806 DUNLAP AVE                                                                                         CLEVELAND        OH   44105
MINES, GENEVA B                    PO BOX 218                                                                                              WHEATLAND        PA   16161‐0218
MINES, HENRY C                     2601 HOWLAND‐WILSON RD.                                                                                 CORTLAND         OH   44410‐9449
MINES, HENRY C                     2601 HOWLAND WILSON RD                                                                                  CORTLAND         OH   44410‐9449
MINES, KEVIN C                     1031 HOLCOMBE RD APT C                                                                                  DECATUR          GA   30032
MINES, LAWRENCE R                  1229 BRIS CHAMP TN LN                                                                                   BRISTOLVILLE     OH   44402
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Name                          Address1                            Address2                       Address3             Address4               City              State Zip
MINES, LOIS R                 1358 STILLWAGON RD SE                                                                                          WARREN             OH 44484‐3153
MINES, MARK W                 207 GLENDOLA AVE NW                                                                                            WARREN             OH 44483‐1246
MINES, MATTHEW                107 LINCOLN AVE                                                                                                NILES              OH 44446‐3122
MINES, PARRISH A              14325 TURNEY RD                                                                                                MAPLE HEIGHTS      OH 44137‐4716
MINES, PARRISH A              18227 LIBBY RD                                                                                                 MAPLE HEIGHTS      OH 44137‐1515
MINES, SAMUEL L               PO BOX 80991                                                                                                   LANSING            MI 48908‐0991
MINES, SAMUEL L               2313 MARCH DR                                                                                                  SPRING HILL        TN 37174‐7510
MINES, SAMUEL LOUIS           3713 N TERM ST                                                                                                 FLINT              MI 48506‐2679
MINESAL GLORIA (644141)       RHOADES JOSEPH J LAW OFFICES OF     1225 NORTH KING STREET SUITE                                               WILMINGTON         DE 19801‐3524
                                                                  1200
MINESOFT LTD                  100 SOUTH WORPLE WAY                LONDON SW14 8ND                                     UNITED KINGDOM GREAT
                                                                                                                      BRITAIN
MINESOFT LTD.                 100 SOUTH WORPLE WAY                LONDON, SW14 8ND                                    GREAT BRITAIN
MINESOFT LTD.                 100 SOUTH WORPLE WAY, LONDO, SW14                                                       GREAT BRITAIN
                              8ND, UK
MINESSALE, PHILIP N           1818 STAIMFORD CIR                                                                                             WELLINGTON        FL   33414‐8937
MINETA EGERSTAFFER            702 E MADISON AVE APT I53                                                                                      MILTON            WI   53563‐3301
MINETTA BIOCCHI               805 GEORGE BUSH BLVD                                                                                           DELRAY BEACH      FL   33483‐5719
MINETTA R VICKERS             10354 CHAMPIONS CIRCLE                                                                                         GRAND BLANC       MI   48439‐9442
MINETTA VICKERS               10354 CHAMPIONS CIRCLE                                                                                         GRAND BLANC       MI   48439‐9442
MINETTE VERMEYLEN             2630 INTERNATIONAL DR, APT 924A                                                                                YPSILANTI         MI   48197
MINETTI ALBERTO               LA SCALA                            STUDIO LEGALE E TRIBUTARIO     CORSO MAGENTA N 42   20123 MILANO ITALY
MINEVA FLORES                 281 WOODBURY AVE                                                                                               MARTINSBURG       WV   25404‐4845
MINEVIA THURMAN               7859 E 400 N                                                                                                   VAN BUREN         IN   46991‐9710
MINEWEASER JR, ALBERT A       277 STREETS RUN RD                                                                                             PITTSBURGH        PA   15236‐2004
MINEWEASER, JAMES B           1059 NASH RD                                                                                                   N TONAWANDA       NY   14120‐3414
MINEWEASER, MARIE             600 W WALTON BLVD                   APT 135                                                                    PONTIAC           MI   48340‐1095
MINEWEASER, MARIE             600 W WALTON BLVD APT 135                                                                                      PONTIAC           MI   48340‐1095
MINEWEASER, MARK              5566 OAKWOOD DR                                                                                                N TONAWANDA       NY   14120‐9621
MINEYEV MARTINE P             PO BOX 222724                                                                                                  CARMEL            CA   93922‐2724
MING C KUO
MING CAO                      3658 HOLLENSHADE DR                                                                                            ROCHESTER HILLS   MI   48306‐3788
MING CHA                      2400 PARMENTER BLVD APT 208                                                                                    ROYAL OAK         MI   48073‐1334
MING GIN                      1805 SKYLINE DR                                                                                                ROCHESTER HILLS   MI   48306‐3253
MING NUNG                     510 DELAWARE ST APT 302                                                                                        KANSAS CITY       MO   64105‐1271
MING ZHAO                     50625 HAWTHORNE CT                                                                                             NORTHVILLE        MI   48168‐6818
MING, ALBERT                  820 BELLS MILL RD                                                                                              SHEPHERDSVILLE    KY   40165‐8988
MING‐CHIOU KUO                EDERSTRASSE 6                                                                           5400 HALLEIN AUSTRIA
MINGARINI MARTA               VIA CASTELMERLO, 50                                                                     40100 BOLOGNA, ITALY
MINGE, BOBIE L                5111 W WILSON RD                                                                                               CLIO              MI   48420‐9461
MINGE, LEAH                   5111 W WILSON RD                                                                                               CLIO              MI   48420‐9461
MINGEE, CHRISTOPHE M          3622 W 103RD ST                                                                                                CLEVELAND         OH   44111‐3811
MINGEE, ELAINE                17117 GULF BLVD                     APT 131                                                                    ST PETERSBURG     FL   33708‐1410
MINGEE, GARY L                790 HARRIS RD                                                                                                  SHEFFIELD LAKE    OH   44054‐1414
MINGEE, JOHN L                6490 SANDFIELD DR                                                                                              BROOK PARK        OH   44142‐3752
MINGEE, ROBERT D              810 KINGSDALE AVE                                                                                              TILTON            IL   61833‐7956
MINGER, LYNN A                6 AVENUE MONET                                                                                                 PALM COAST        FL   32137‐2271
MINGER, RUSSELL F             5281 COBBLEGATE DR                  APT F                                                                      DAYTON            OH   45439‐6133
MINGER, RUSSELL F             5281 COBBLEGATE BLVD APT F                                                                                     MORAINE           OH   45439‐6133
MINGER, RUTH I                10845 LA COSTA LN                                                                                              FRANKFORT         IL   60423‐8563
MINGERINK, ERNEST E           7801 HEARTHWAY AVE                                                                                             JENISON           MI   49428‐9184
MINGES BOTTLING GROUP, INC.                                       128 PEPSI WAY                                                                                NC   28513
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Name                        Address1                      Address2                         Address3   Address4         City                State Zip
MINGES, DONALD J            6939 THOMPSON RD                                                                           CINCINNATI           OH 45247‐2648
MINGGUANG YU                5257 BEECHTREE TRL                                                                         WEST BLOOMFIELD      MI 48322‐3298
MINGHUA YANG                135 TIMBERVIEW DR                                                                          TROY                 MI 48084‐1741
MINGHUI KAO                 2689 STEAMBOAT SPRINGS DR                                                                  ROCHESTER HILLS      MI 48309‐1364
MINGIN, SHIRLEY A           2946 N. 64TH ST TERRACE                                                                    KANSAS CITY          KS 66104
MINGIONE, DANIEL J          5835 LIVINGSTON DR                                                                         TOLEDO               OH 43613‐1707
MINGIONE, JOSEPH            1040 SE 10TH ST                                                                            CAPE CORAL           FL 33990
MINGLE MELVIN M (347065)    GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA 23510
                                                          STREET, SUITE 600
MINGLE WISEMAN              PO BOX 7                      3700 PARKSCREEK RD                                           PLAINFIELD          IN   46168‐0007
MINGLE, DUANE A             3643 SOUTH 500 EAST                                                                        MIDDLETOWN          IN   47356
MINGLE, GEORGE F.           PO BOX 1467                                                                                MUNCIE              IN   47308‐1467
MINGLE, MELVIN M            GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA   23510‐2212
                                                          STREET, SUITE 600
MINGLE, ROBERT A            10110 W RIVER RD                                                                           YORKTOWN            IN   47396‐9524
MINGLE, RUTH M              113 DIRKSON AVENUE                                                                         WEST SENECA         NY   14224‐1815
MINGLE, WILLA D             5430 STAUNTON WAY                                                                          LITHONIA            GA   30038‐4807
MINGLEDORFFS INC            6675 JONES MILL CT                                                                         NORCROSS            GA   30092‐3622
MINGLIN, IVAN C             4505 ORLEANS DR                                                                            KOKOMO              IN   46902‐5354
MINGLIN, ROBERT L           26 GOLDERSGREEN DR                                                                         LAFAYETTE           IN   47905‐7811
MINGO ROBERT J C (305899)   BROWN TERRELL HOGAN ELLIS     804 BLACKSTONE BLDG , 233 EAST                               JACKSONVILLE        FL   32202
                            MCCLAMMA & YEGELWEL P.A.      BAY STREET
MINGO THAMES                53 COUNTY ROAD 141                                                                         HEIDELBERG          MS   39439‐3570
MINGO, CHARLES L            30 S MIDLAND DR                                                                            PONTIAC             MI   48342‐2960
MINGO, ERNEST L             960 NW 56TH AVE                                                                            OCALA               FL   34482‐5148
MINGO, JAMES                GUY WILLIAM S                 PO BOX 509                                                   MCCOMB              MS   39649‐0509
MINGO, MICHAEL D            5436 BENTWOOD DR                                                                           TOLEDO              OH   43615‐6702
MINGO, NAOMI L.             18176 GREELEY ST                                                                           DETROIT             MI   48203‐2473
MINGO, ROBERT               BROWN TERRELL HOGAN ELLIS     804 BLACKSTONE BLDG, 233 EAST                                JACKSONVILLE        FL   32202
                            MCCLAMMA & YEGELWEL P.A.      BAY STREET
MINGO, SHIRLEY A            42 PURITAN ST                                                                              HIGHLAND PARK       MI   48203‐3712
MINGO, WAYNE J              3436 VALENTO CIRCLE                                                                        SAINT PAUL          MN   55127‐7161
MINGO, WILLIE               218 LONGHORN TRL                                                                           GRAND PRAIRIE       TX   75052‐3588
MINGS DERRICK               MINGS, DERRICK                520 CAMBERTREE WAY                                           NEWPORT NEWS        VA   23608‐1626
MINGS, DERRICK              520 CAMBERTREE WAY                                                                         NEWPORT NEWS        VA   23608‐1626
MINGS, MARVIN E             7422 RICHARDS DR                                                                           SHAWNEE             KS   66216‐4122
MINGS, MARVIN ERIC          7422 RICHARDS DR                                                                           SHAWNEE             KS   66216‐4122
MINGUCCI, JAMES R           APT A                         28 NORTHWEST 72ND STREET                                     KANSAS CITY         MO   64118‐1813
MINGUS, CLEON G             STE 100                       2201 EAST GRAND RIVER AVENUE                                 LANSING             MI   48912‐3297
MINGUS, DOUGLAS R           2170 COTTONTAIL DRIVE                                                                      FLORISSANT          MO   63033‐1711
MINGUS, MARCIA A            10302 COUNTY ROAD 312                                                                      BELLEVUE            OH   44811‐9655
MINGUS, ROBERT E            5 N HIGH SCHOOL RD                                                                         INDIANAPOLIS        IN   46214‐3951
MINGXING ZHOU               6712 SMITH CT                                                                              TROY                MI   48098‐1781
MINH DOAN                   4080 PHEASANT RUN                                                                          HOLT                MI   48842‐8772
MINH HOANG                  34237 SURF DR                                                                              STERLING HEIGHTS    MI   48310‐5551
MINH NGUYEN                 1546 TAMARACK AVE NW                                                                       GRAND RAPIDS        MI   49504‐3041
MINH NGUYEN                 9134 N HELENA AVE                                                                          KANSAS CITY         MO   64154‐2047
MINH NGUYEN                 5448 LAMPEN DR                                                                             EAST LANSING        MI   48823‐7258
MINH TRUONG                 12103 ADDINGTON DR                                                                         COMMERCE TOWNSHIP   MI   48390‐4016
MINH'S AUTO CARE CENTER     578 3RD AVE                                                                                BROOKLYN            NY   11215‐4612
MINHINNICK JR, JAMES W      528 PARKE CT                                                                               GRAND BLANC         MI   48439‐1552
MINHINNICK, CORINNE D       C/O JON B MUNGER              7152 GATEWAY PARK DR                                         CLARKSTON           MI   48346‐2574
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Name                                Address1                           Address2                         Address3                    Address4                 City               State Zip
MINHINNICK, WILLIAM O               779 MILL ST                                                                                                              ALGONAC             MI 48001‐1028
MINHO JOO                           52717 COVECREEK DR                                                                                                       MACOMB              MI 48042‐2955
MINHTAM DO                          13480 WENTWORTH LN                 APT#125 C                                                                             SEAL BEACH          CA 90740
MINI STORAGE LLC                    STOLOFF & SILVER LLP               ATTN: RICHARD STOLOFF            26 HAMILTON AVENUE          PO BOX 1129              MONTICELLO          NY 12701
MINI STORAGE, LLC                   C/O GITLIN KNACK & PAVOF           ATTN: IRWING GITLIN              55 S MAIN STREET                                     LIBERTY             NY 12754
MINI STORAGE, LLC                   ATTN: IRWING GITLIN                55 S MAIN ST                     STOLOFF & SILVER LLPATTN:                            LIBERTY             NY 12754‐1830
                                                                                                        RICHARD STOLOFF26
                                                                                                        HAMILTON AVENUEPO BOX
                                                                                                        1129
MINI TEC FRAMING SYSTEMS LLC        100 RAWSON RD STE 228                                                                                                    VICTOR             NY    14564‐1151
MINIARD, AMANDA K                   8525 CODY CT                                                                                                             DAYTON             OH    45424
MINIARD, TERESA J                   PO BOX 214                                                                                                               NEW LEBANON        OH    45345‐0214
MINIATURE PRE/SOUTHF                29200 NORTHWESTERN HWY STE 250                                                                                           SOUTHFIELD         MI    48034‐1052
MINIATURE PRECISION COMPONENTS      1140 W INDUSTRIAL PARK DR UNIT                                                                                           NOGALES            AZ    85621
MINIATURE PRECISION COMPONENTS      29200 NORTHWESTERN HWY STE 250                                                                                           SOUTHFIELD         MI    48034‐1052
MINIATURE PRECISION COMPONENTS      ROBIN GALAN 5516                   350 INDUSTRIAL DR.                                                                    PRAIRIE DU CHIEN   WI    53821
MINIATURE PRECISION COMPONENTS      ROBIN GALAN X5516                  ROUTE #2 HIGHWAY #18                                                                  ROSSFORD           OH    43460
MINIATURE PRECISION COMPONENTS      BETTY CHALMERS X5516               MPC                              850 WALWORTH STREET                                  FORT MILL          SC
MINIATURE PRECISION COMPONENTS      ROBIN GALAN X5516                  1140 W INDUSTRIAL PARK DR UNIT                                                        MUSKEGON           MI

MINIATURE PRECISION COMPONENTS     MIKE TERRY 5523                     PO BOX 1901                                                                           WALWORTH           WI 53184‐1901
MINIATURE PRECISION COMPONENTS INC                                     100 WISCONSIN ST                                                                      WALWORTH           WI 53184

MINIATURE PRECISION COMPONENTS INC 29200 NORTHWESTERN HWY STE 250                                                                                            SOUTHFIELD         MI 48034‐1052

MINIATURE PRECISION COMPONENTS INC 63095 VINEYARD RD                                                                                                         PRAIRIE DU CHIEN   WI 53821‐8851

MINIATURE PRECISION COMPONENTS INC AV SERNA Y CALLE 13                                                                              SANTA ANA SONORA 84600
                                                                                                                                    MEXICO
MINIATURE PRECISION COMPONENTS INC BETTY CHALMERS X5516                MPC                              850 WALWORTH STREET                                  FORT MILL           SC

MINIATURE PRECISION COMPONENTS INC MIKE TERRY 5523                     PO BOX 1901                                                                           WALWORTH           WI 53184‐1901

MINIATURE PRECISION COMPONENTS INC PROLONGACION SERNA Y CALLE 13 900   INFONAVIT                                                    SANTA ANA SO 84600
                                                                                                                                    MEXICO
MINIATURE PRECISION COMPONENTS INC PROLONGACION SERNA Y CALLE 13 NO                                                                 SANTA ANA SONORA SO
                                                                                                                                    84600 MEXICO
MINIATURE PRECISION COMPONENTS INC 1615 GREBBY                                                                                                               DELAVAN            WI 53115

MINIATURE PRECISION COMPONENTS INC 1140 W INDUSTRIAL PARK DR UNIT                                                                                            NOGALES            AZ    85621

MINIATURE PRECISION COMPONENTS INC ROBIN GALAN 5516                    350 INDUSTRIAL DR.                                                                    PRAIRIE DU CHIEN   WI 53821

MINIATURE PRECISION COMPONENTS INC ROBIN GALAN X5516                   1140 W INDUSTRIAL PARK DR UNIT                                                        NOGALES            AZ    85621

MINIATURE PRECISION COMPONENTS INC ROBIN GALAN X5516                   ROUTE #2 HIGHWAY #18                                                                  ROSSFORD           OH 43460

MINIATURE PRECISION COMPONENTS INC 100 WISCONSIN ST                                                                                                          WALWORTH           WI 53184‐9545

MINIATURE PRECISION COMPONENTS INC 350 INDUSTRIAL DR                                                                                                         RICHLAND CENTER    WI 53581‐9208
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Name                               Address1                            Address2                      Address3   Address4                City             State Zip
MINIATURE PRECISION COMPONENTS INC 850 WALWORTH ST                                                                                      WALWORTH          WI 53184‐9515

MINIATURE PRECISION COMPONENTSINC     100 WISCONSIN ST                 PO BOX 1901                                                      WALWORTH         WI 53184‐9545

MINIATURE/100 WISCON                  100 WISCONSIN ST                                                                                  WALWORTH         WI   53184‐9545
MINIATURE/DRAWER L                    29200 NORTHWESTERN HWY STE 250                                                                    SOUTHFIELD       MI   48034‐1052
MINIATURE/IND PARK                    29200 NORTHWESTERN HWY STE 250                                                                    SOUTHFIELD       MI   48034‐1052
MINIATURE/SOUTHFIELD                  29200 NORTHWESTERN HWY STE 250                                                                    SOUTHFIELD       MI   48034‐1052
MINICH HOWARD E (411027)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510
                                                                       STREET, SUITE 600
MINICH JR, MICHAEL                    15406 E JOJOBA LN                                                                                 FOUNTAIN HILLS   AZ   85268‐4146
MINICH MOBILE HOME INC
MINICH, BETTY L                       6839 EAST 300 NORTH                                                                               CAMDEN           IN 46917‐9625
MINICH, EUGENE J                      13 RIVER BANK DR                                                                                  ROEBLING         NJ 08554‐1519
MINICH, HOWARD E                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
MINICH, JAMES M                       400 KLINGER AVE                                                                                   ALLIANCE         OH   44601‐1545
MINICH, JOHN E                        1510 E ROAD 5                                                                                     EDGERTON         WI   53534‐8764
MINICH, JUDY L                        14191 BERWICK ST                                                                                  LIVONIA          MI   48154‐4242
MINICH, KATHLEEN B                    128 CANTERBURY ROAD                                                                               SANFORD          NC   27332
MINICH, MICHAEL E                     18127 UNIVERSITY PARK DR                                                                          LIVONIA          MI   48152‐2643
MINICH, TIMOTHY L                     7810 TURNBERRY DR                                                                                 WHITMORE LAKE    MI   48189‐9484
MINICHILLI, BERNARD P                 5697 GREEN CIRCLE DR APT 112                                                                      MINNETONKA       MN   55343‐9642
MINICIPAL & HEALTH SVC                144 E PIKE ST                                                                                     PONTIAC          MI   48342‐2632
MINICK, JOSEPH J                      660 S GEARY ST                                                                                    MT PLEASANT      PA   15666‐1220
MINICK, PAUL A                        157 CADMAN DR                                                                                     WILLIAMSVILLE    NY   14221‐6963
MINICK, RUSSELL D                     1605 WARNER AVE                                                                                   MINERAL RIDGE    OH   44440‐9500
MINICK, THOMAS                        17135 N W 51 PLACE                                                                                OPALOCKA         FL   33055‐4128
MINICK, THOMAS                        17135 NW 51ST PL                                                                                  MIAMI GARDENS    FL   33055‐4128
MINICKY, LARRY C                      6176 COOPER RD                                                                                    HALE             MI   48739‐9065
MINICUCI JR, JOHN B                   2120 GABRIEL DR                                                                                   TROY             MI   48083‐2506
MINIDIS, CHRISTINE A                  839 LINCOLN AVE                                                                                   LICAOLN PARK     MI   48146
MINIDOKA COUNTY TAX COLLECTOR         PO BOX 368                                                                                        RUPERT           ID   83350‐0368
MINIE WASHINGTON                      16051 HARDEN CIR                                                                                  SOUTHFIELD       MI   48075‐3021
MINIEAR, DONALD R                     7454 ALEXANDER ST                                                                                 MOUNT MORRIS     MI   48458‐2927
MINIER, DELMA                         1205 WHITESVILLE ROAD                                                                             ALBERTVILLE      AL   35950
MINIER, ROBERT R                      5031 BENSETT TRL                                                                                  DAVISON          MI   48423‐8781
MINIER, RONALD K                      1358 JACKSON RD                                                                                   WEBSTER          NY   14580‐8701
MINIER, VIRGINIA M                    1010 KERI ISLAND ROAD                                                                             NAPLES           FL   34120‐3869
MINIK, WILLIAM C                      30 TUCKER RIDGE CT                                                                                HILTON HEAD      SC   29926‐2773
MINIKA BENNING                        22480 CURRENT DR                                                                                  MACOMB           MI   48044‐3729
MINIKEY, DANNY L                      1747 E CARSON CITY RD                                                                             SHERIDAN         MI   48884‐9708
MINIMAX IMPORT AND EXPORT CO., LTD.

MINIMAX INTERNATIONAL                 218 SAN GABRIEL LN                                                                                PLACENTIA        CA   92870‐6221
MININCHELLI, RICHARD W                7 THORNE PL                                                                                       KEANSBURG        NJ   07734‐3139
MININGER, TIMOTHY P                   1251 BORG AVE                                                                                     TEMPERANCE       MI   48182‐2606
MINISCHETTI, MICHAEL J                11331 UNION TPKE                                                                                  FOREST HILLS     NY   11375‐6849
MINISH, BOBBY R                       9017 N 128TH EAST AVE                                                                             OWASSO           OK   74055‐5310
MINISTER OF FINANCE                   C/O TORONTO SMALL CLAIMS COURT   47 SHEPPARD AVE E FLOOR 3                NORTH YORK ON M2N 5N1
                                                                                                                CANADA
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Name                                Address1                             Address2                      Address3                      Address4             City        State Zip
MINISTER OF FINANCE                 C/O KINGSTON SMALL CLAIMS COURT      FRONTENAC COUNTY COURT HOUSE,                               KINGSTON ON K7L 2N4
                                                                         5 COURT ST.                                                 CANADA
MINISTER OF FINANCE                  33 KING ST., W.                                                                                 OSHAWA ON L1H 8E9
                                                                                                                                     CANADA
MINISTER OF FINANCE                  C/O OTTAWA SMALL CLAIMS COURT          161 ELGIN ST ROOM 2059                                   OTTAWA ON K2P 2K1
                                                                                                                                     CANADA
MINISTER OF FINANCE                  101‐401 YORK AVE                                                                                WINNIPEG MB R3C 0P8
                                                                                                                                     CANADA
MINISTER OF FINANCE                  TECHNOLOGY CENTRE, 875 HERON RD.       CANADA REVENUE AGENCY                                    OTTAWA ON K1A 1B1
                                                                                                                                     CANADA
MINISTER OF FINANCE                  C/O COBOURG SMALL CLAIMS COURT         860 WILLIAM ST.                                          COBOURG ON K9A 3A9
                                                                                                                                     CANADA
MINISTER OF FINANCE                  REVENUE SERVICES BC,, MEWDICAL         P.O. BOX 9482, STN PROV. GOV'T                           VICTORIA BC V8W 9W6
                                     SERVICES PLAN BILLING                                                                           CANADA
MINISTER OF FINANCE AND CORPORATE    SASKATCHEWAN                           SASKATCHEWAN FINANCE REVENUE 2350 ALBERT STREET          REGINA SK S4P 4A6
RELATIONS                                                                   DIVISION                                                 CANADA
MINISTER OF FINANCE MANITOBA         THE DEPARTMENT OF FINANCE              CORPORATION CAPITAL TAX BRANCH 300 NORQUAY BUILDING      WINNIPEG MB R3C 0P8
                                                                                                                                     CANADA
MINISTER OF REVENUE                  3800 RUE DE MARLY                                                                               QUEBEC QC G1X 4A5
                                                                                                                                     CANADA
MINISTER OF REVENUE OF QUEBEC        C.P. 4000 SUCC PL‐DESJARDINS                                                                    MONTREAL QC H5B 1A5
                                                                                                                                     CANADA
MINISTER OF REVENUE OF QUEBEC        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2215, BOULEVARD MARCEL‐LAURIN                            SAINT‐LAURENT QC H4R
                                                                                                                                     1K4 CANADA
MINISTER OF REVENUE OF QUEBEC        2215, BOULEVARD MARCEL‐LAURIN                                                                   SAINT‐LAURENT QC H4R
                                                                                                                                     1K4 CANADA
MINISTER OF TRANSPORATION ‐ PROVINCE ATTN: LICENSING ADMINISTRATION OFFICE 2680 KEELE ST                   MAIN FLOOR, EAST BUILDING DOWNSVIEW ON M3M 3E6
OF ONTARIO                                                                                                                           CANADA
MINISTERE DU REVENU                  DIRECTION GENERALE DU CENTRE DE        ET DES BIENS NON RECLAMES      3‐1600 BOUL RENE‐LEVESQUE MONTREAL QC H3H 2V2
                                     PERCEPTION FISCALE                                                    O ETAGE, SECTEURE R42CPF  CANADA

MINISTERE DU REVENU                 FONDS PENSION ALIMENTAIRE            C.P. 4000 SUCC DESJARDINS                                MONTREAL PQ H5B 1A5
                                                                                                                                  CANADA
MINISTERE DU REVENU                 C.P.4000 SUCCURSALE DESJARDINS                                                                MONTREAL PQ H5B 1A5
                                                                                                                                  CANADA
MINISTERO, LUCY R                   219 EUCLID AVE                                                                                                        KENMORE      NY 14217‐2830
MINISTRELLI, DAVID P                520 HOLICK AVE                                                                                                        HENDERSON    NV 89011
MINISTRELLI, PETER L                11799 CAMDEN ST                                                                                                       LIVONIA      MI 48150‐2361
MINISTRY OF ECONOMIC DEVELOPMENT    ATTN: ASSISTANT DEPUTY MINISTER      7TH FLOOR                      900 BAY ST.               TORONTO ON M7A 2E1
AND TRADE                           INDUSTRY DIVISION                                                                             CANADA
MINISTRY OF ECONOMIC DEVELOPMENT    ATTN: ASSISTANT DEPUTY MINISTRY,     7TH FLOOR, HEARST BLOCK        900 BAY STREET            TORONTO ON M7A 2E1
AND TRADE                           INDUSTRY DIVISION                                                                             CANADA
MINISTRY OF FINANCE                 REVENUE DIVISION                     2350 ALBERT STREET                                       REGINA SK S4P 4A6
                                                                                                                                  CANADA
MINISTRY OF FINANCE                 REVENUE OPERATIONS AND CLIENT        33 KING ST W                   PO BOX 6620               OSHAWA ON L1H 8E9
                                    SERVICES BRANCH                                                                               CANADA
MINISTRY OF FINANCE                 PO BOX 620                           33 KING STREET WEST                                      OSHAWA ON L1H 8E9
                                                                                                                                  CANADA
MINISTRY OF INDUSTRY ‐ CANADA       3901 HIGHWAY 7                       SUITE 600                                                WOODBRIDGE ON L4L 8L5
                                                                                                                                  CANADA
MINISTRY OF TRANSPORTATIO           301 ST PAUL ST                                                                                ST CATHARINES ON 0
                                                                                                                                  CANADA
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Name                                 Address1                        Address2            Address3        Address4                 City            State Zip
MINIT AUTO SERVICE CENTRE            1393 FOURTH AVE RR 3                                                ST CATHARINES ON L2R 6P9
                                                                                                         CANADA
MINIT‐TUNE & BRAKE SCOTT RD          8832 120 ST                                                         SURREY BC V3V 4B4
                                                                                                         CANADA
MINITAB INC                          1829 PINE HALL RD                                                                            STATE COLLEGE    PA 16801‐3210
MINITAB INC.                         ATTN: CONTRACTS ADMINISTRATOR   1829 PINE HALL RD   QUALITY PLAZA                            STATE COLLEGE    PA 16801‐3210
MINITAB, INC
MINITAB, INC                         ATTN: CONTRACTS ADMINISTRATOR   1829 PINE HALL RD   QUALITY PLAZA                           STATE COLLEGE    PA    16801‐3210
MINIUK, JAMES M                      19706 MACKAY ST                                                                             DETROIT          MI    48234‐1488
MINIX, C. SUE                        199 GREENWOOD DR                                                                            LUCASVILLE       OH    45648‐8746
MINIX, PRINTICE H                    PO BOX 101                                                                                  PHILLIPSBURG     OH    45354‐0101
MINIX, PRINTICE H                    BOX 101                                                                                     PHILLIPSBURG     OH    45354‐0101
MINJARES, DENNIS K                   21721 POPLAR ST                                                                             WOODHAVEN        MI    48183‐1533
MINJARES, RICHARD W                  27906 WHITE OAK DR                                                                          BROWNSTOWN TWP   MI    48183‐4877
MINJARES, SYLVESTER                  38060 PALMA RD                                                                              NEW BOSTON       MI    48164‐9386
MINK III, ERNEST F                   35378 SAINT CLAIR DR 437                                                                    NEW BALTIMORE    MI    48047
MINK JR, EDWARD A                    1231 IRVING AVE                                                                             DAYTON           OH    45419‐4149
MINK JR, HARRISON                    PO BOX 272                                                                                  GOSHEN           OH    45122‐0272
MINK JR, JOHNNY H                    220 TIMBER TRL                                                                              SPARTA           TN    38583‐2864
MINK JR, THOMAS                      897 BURKEWOOD DR                                                                            LEXINGTON        KY    40509‐4132
MINK PONTIAC‐BUICK‐GMC TRUCK, INC.   JERRY MINK                      627 GLENDALE RD                                             GALAX            VA    24333‐2209

MINK PONTIAC‐BUICK‐GMC TRUCK, INC.   627 GLENDALE RD                                                                             GALAX             VA 24333‐2209

MINK, BILLY M                        313 S MAIN ST                                                                               MILAN            OH    44846‐9761
MINK, CARMEN                         7252 RIVERSIDE DR 709                                                                       CLAY             MI    48001
MINK, CAROL ANN                      408 COOL EVENING RD                                                                         CLOVERDALE       IN    46120‐8870
MINK, CYNTHIA M                      9403 W GLEN OAKS CIR                                                                        SUN CITY         AZ    85351‐1409
MINK, DARRELL                        20625 SHERWOOD RD                                                                           BELLEVILLE       MI    48111‐9380
MINK, DEBRA J                        28785 S KOTT LN                                                                             GOETZVILLE       MI    49736‐9409
MINK, DONALD V                       8709 N GILMORE RD                                                                           FARWELL          MI    48622‐9240
MINK, DOSHIA                         677 W KEMPER RD                                                                             CINCINNATI       OH    45246‐2146
MINK, EDITH                          PO BOX 272                                                                                  GOSHEN           OH    45122‐0272
MINK, EDITH                          P O BOX 272                                                                                 GOSHEN           OH    45122‐0272
MINK, FLORENCE A                     20419 KINLOCH                                                                               REDFORD          MI    48240‐1116
MINK, FREDIA                         897 BURKEWOOD DR                                                                            LEXINGTON        KY    40509
MINK, GLENDA E                       5135 CHELSEA RD                                                                             INDIANAPOLIS     IN    46241‐3503
MINK, JAMES H                        32941 WINNIE AVE                                                                            WARREN           MI    48093‐8153
MINK, JOSEPH P                       6 WINNERS CIR APT 514                                                                       ALBANY           NY    12205‐5923
MINK, JOSEPH T                       808 WARRINGTON CT                                                                           INDIANAPOLIS     IN    46234‐2344
MINK, KEITH B                        1425 THISTLERIDGE DR                                                                        HOLLY            MI    48442‐9764
MINK, KENNETH E                      26743 FERNWOOD STREET                                                                       ROSEVILLE        MI    48066‐3429
MINK, LINDA G                        5620 CROW CREEK RD                                                                          BETTENDORF       IA    52722
MINK, MARY                           17858 DENNIS ST                                                                             ROMULUS          MI    48174
MINK, MARY JANE                      APT 514                         6 WINNERS CIRCLE                                            ALBANY           NY    12205‐5923
MINK, MICHAEL E                      1494 MILLIKIN PL NE                                                                         WARREN           OH    44483‐4454
MINK, MILDRED‐MARIE A                209 HELTON ROAD                                                                             E BERNSTADT      KY    40729‐6623
MINK, MILDRED‐MARIE A                207 HELTON RD                                                                               EAST BERNSTADT   KY    40729‐6623
MINK, OPAL M                         122 CARMELL ST                                                                              BELLVILLE        MI    48111
MINK, OPAL M                         62 MENLO PARK DR                                                                            BELLEVILLE       MI    48111‐2917
MINK, PEARL M                        2929 NORTHWEST BLVD NW                                                                      WARREN           OH    44485‐2235
MINK, RICHARD W                      2520 GLENSIDE BLVD                                                                          MUSKEGON         MI    49441‐3273
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Name                             Address1                             Address2                 Address3   Address4         City              State Zip
MINK, ROBERT                     56 ROLLING MEADOWS RD                                                                     CORBIN             KY 40701‐4881
MINK, RONALD E                   3465 POINTE TREMBLE RD                                                                    ALGONAC            MI 48001‐4643
MINK, STANLEY C                  1061 GARY AVE                                                                             GIRARD             OH 44420‐1943
MINK, STEVEN J                   3897 CORNELL ST                                                                           HAMBURG            NY 14075
MINK, WILLIAM E                  5850 NORTH RIVER BAY RD                                                                   WATERFORD          WI 53185‐3185
MINKE, RICHARD C                 641 W SCHLEIER ST                    APT C3                                               FRANKENMUTH        MI 48734
MINKEBIGE, DEBORAH J             3503 DISCUS CT                                                                            LAKE ORION         MI 48360‐2497
MINKEL, GEORGE W                 5865 9 MILE RD                                                                            MECOSTA            MI 49332‐9738
MINKER FIRE PROTECTION INC       181 WELSH TRACT RD                                                                        NEWARK             DE 19702‐1027
MINKER, JULIA B                  7 MACKAY LN                                                                               NEWARK             DE 19713‐2509
MINKER, JULIA B                  7 MACKAY LANE                                                                             NEWARK             DE 19713‐2509
MINKEWICZ, EBYK                  18 RESERVATION ST                                                                         BUFFALO            NY 14207‐2922
MINKEWICZ, ROMAN                 138 GREENTREE RD                                                                          TONAWANDA          NY 14150‐6434
MINKEY, BETTY                    3151 W 18TH ST                                                                            ANDERSON           IN 46011‐3972
MINKEY, BETTY                    3151 W 18 ST                                                                              ANDERSON           IN 46011
MINKEY, PAUL D                   13606 HAMMERHILL WAY                                                                      FORT WAYNE         IN 46845‐9049
MINKEY, WALLACE F                3151 W 18TH ST                                                                            ANDERSON           IN 46011‐3972
MINKIEWICZ, SOPHIE C             75 HARTWOOD RD                                                                            LEE                MA 01238‐9503
MINKIN CHANDLER CORP             15400 OAKWOOD DRIVE                                                                       ROMULUS            MI 48174‐3653
MINKLER, NANCY B                 251 CALLAHAN RD                                                                           CANFIELD           OH 44406‐1308
MINKLER, WALTON J                7240 WASHBURN RD                                                                          GOODRICH           MI 48438‐8825
MINKLER, WALTON JEFFERY          7240 WASHBURN RD                                                                          GOODRICH           MI 48438‐8825
MINKNER, DOUGLAS W               106 E FRANKLIN ST                                                                         CENTERVILLE        OH 45459‐5916
MINKNER, PHILIP M                883 COLUMBIA CT                                                                           AVON               IN 46123‐8509
MINKNER, WILBUR R                860 SALEM ST                                                                              BROOKVILLE         OH 45309‐9656
MINKO, JOHN P                    491 CASTANEA DR                                                                           MARTINSBURG        WV 25403‐1057
MINKO, MARTHA                    8360 MENGE                                                                                CENTERLINE         MI 48015‐1619
MINKOSKY JR, WALTER N            1207 TIMBERLAKE TRL                                                                       FORT WAYNE         IN 46804‐7718
MINKOSKY, DAVID W                1207 TIMBERLAKE TRL                                                                       FORT WAYNE         IN 46804‐7718
MINKS CHRISTOPHER H              C\O CHASAN LEYNER ET AL              300 HARMON MEADOW BLVD                               SECAUCUS           NJ 07094
MINKS CHRISTOPHER H C\O CHASAN   ATTN: CORPORATE OFFICER/AUTHORIZED   300 HARMON MEADOW BLVD                               SECAUCUS           NJ 07094
LEYNER ET AL                     AGENT
MINKS MATTHEWS                   218 KNOX AVE                                                                              CLIFFSIDE PARK    NJ   07010‐2510
MINKS, CURTIS L                  1210 N MAIN ST                                                                            HIGGINSVILLE      MO   64037‐1227
MINKS, J E                       5294                                 COMET DR                                             GREENWOOD         IN   46143
MINKS, JAMES D                   5294 COMET DR                                                                             GREENWOOD         IN   46143
MINKS, WANDA                     1511 DEL WEBB BLVD W                                                                      SUN CITY CENTER   FL   33573‐5253
MINKS, WANDA                     1511 DEL WEBB W                                                                           SUN CITY CENTER   FL   33573‐5253
MINKSTEIN, EDWARD                6099 BOOTH RD                                                                             NORTH BRANCH      MI   48461‐9520
MINKUS, EUGENE V                 3632 WILKINSON RD                                                                         SARASOTA          FL   34233‐1018
MINKWITZ, DONNA R                19340 JACQUIE AVE                                                                         LOCKPORT          IL   60441‐3901
MINKWITZ, DONNA R                19340 W JACQUIE AVE                                                                       LOCKPORT          IL   60441‐3901
MINLEY, KEITH A                  4172 9TH ST                                                                               ECORSE            MI   48229
MINNA LANTNER                    2611 E 63RD ST                                                                            BROOKLYN          NY   11234
MINNAERT, HERBERT L              82365 ODLUM DR                                                                            INDIO             CA   92201‐9778
MINNE VINCENT                    411 E 12TH ST                                                                             FLINT             MI   48503‐4092
MINNE, ERIC M                    1500 N MARKDALE UNIT 69                                                                   MESA              AZ   85201‐2428
MINNE, JAMES R                   22948 SAINT JOAN ST                                                                       ST CLAIR SHRS     MI   48080‐3871
MINNE, JAMES RAYMOND             22948 SAINT JOAN ST                                                                       ST CLAIR SHRS     MI   48080‐3871
MINNE, THOMAS P                  296 KNIGHT ST                                                                             KALAMAZOO         MI   49048‐5921
MINNEAPOLIS COLLEGE OF ART       2501 STEVENS AVE                     ATTN ACCOUNTING OFFICE                               MINNEAPOLIS       MN   55404‐4347
ANDDESIGN
                                     09-50026-mg              Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                                Address1                              Address2                           Address3                   Address4         City              State Zip
MINNEAPOLIS CONVENTION CENTER       1301 2ND AVE S                                                                                                       MINNEAPOLIS        MN 55403‐2710
MINNEAR, JAMES L                    1603 W PARKVIEW DR                                                                                                   MARION             IN 46952‐1428
MINNEFIELD, ARTHUR L                11119 CABRIOLET RUN                                                                                                  FORT WAYNE         IN 46845‐2107
MINNEFIELD, JAMES M                 2559 W 12TH ST                                                                                                       ANDERSON           IN 46011‐2547
MINNEFIELD‐JENKINS, JAMIE           8984 MARISA DR                                                                                                       FISHERS            IN 46038‐5274
MINNEFIELD‐JENKINS, JAMIE K.        8984 MARISA DR                                                                                                       FISHERS            IN 46038‐5274
MINNEHAHA LEASING                   2801 JAYCEE LANE                                                                                                     SIOUX FALLS        SD 57104
MINNEKER JAMES                      377 WINRY DR                                                                                                         ROCHESTER HILLS    MI 48307‐1163
MINNEKER JR, JAMES C                377 WINRY DR                                                                                                         ROCHESTER HILLS    MI 48307‐1163
MINNEKER, PATRICIA A                10739 ADUATO #A                                                                                                      EL PASO            TX 79935‐3210
MINNEKER, PATRICIA A                10739 ADAUTO CT # A                                                                                                  EL PASO            TX 79935‐3210
MINNELEY, CHARLES W                 295 W MARKET ST APT 307                                                                                              WARREN             OH 44481‐1048
MINNELEY, CHARLES W                 3695 STATE ROUTE 7                                                                                                   BURGHILL           OH 44404‐9734
MINNELLA, CARMENLINA JANE           179 MARIETTA AVENUE                                                                                                  HAWTHORNE          NY 10532‐2342
MINNEMA TUFF COVER                  2032 CALVIN AVE SE                                                                                                   GRAND RAPIDS       MI 49507‐3306
MINNEMA TUFF‐COVER INC              1215 HOYT ST SE                                                                                                      GRAND RAPIDS       MI 49507‐3720
MINNEMA, DENNIS L                   2919 CREEK VIEW DR                                                                                                   ZEELAND            MI 49464‐9110
MINNEMA, JAMES A                    3832 8TH AVE                                                                                                         HUDSONVILLE        MI 49426‐9649
MINNEMA, JAMES G                    5932 GLEN EAGLE DR                                                                                                   HUDSONVILLE        MI 49426‐9579
MINNER, AARON L                     5280 EMPRESS DR                                                                                                      GRAND BLANC        MI 48439‐8671
MINNER, DAVID W                     8414 ABALONE WAY                                                                                                     PINCKNEY           MI 48169‐9620
MINNER, PATRICIA A                  366 3RD ST                                                                                                           YOUNGSTOWN         NY 14174‐1046
MINNER, PATRICIA ANN                366 3RD ST                                                                                                           YOUNGSTOWN         NY 14174‐1046
MINNER, TYREE O                     12808 TOPPING MDWS                                                                                                   SAINT LOUIS        MO 63131
MINNERUP, HUGO P                    5309 ANACONDA LN                                                                                                     AUSTIN             TX 78730‐3567
MINNESOTA CLE                       40 MILTON ST N STE 174                                                                                               SAINT PAUL         MN 55104
MINNESOTA DEPART OF TRANSPORTAION‐‐                                       3485 HADLEY AVE N                                                                                 MN 55128
OAKDALE
MINNESOTA DEPARTMENT OF NATURAL     REGION 5                              500 LAFAYETTE RD                                                               SAINT PAUL        MN 55155‐4040
RESOURCES
MINNESOTA DEPARTMENT OF             444 CEDAR ST STE 223                                                                                                 SAINT PAUL        MN 55101‐3168
PUBLICSAFETY
MINNESOTA DEPARTMENT OF REVENUE     PO BOX 7153                                                                                                          SAINT PAUL        MN 55107‐0153

MINNESOTA DEPARTMENT OF REVENUE     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 64622                                                                  SAINT PAUL        MN 55164‐0622

MINNESOTA DEPARTMENT OF REVENUE     PO BOX 64622                                                                                                         SAINT PAUL        MN 55164‐0622

MINNESOTA DEPT OF COMMERCE          UNCLAIMED PROPERTY UNIT               85 7TH PL E STE 600                                                            SAINT PAUL        MN 55101‐3165
MINNESOTA DEPT OF JOBS AND TRAINING TAX ACCOUNTING SECTION ‐              TAX BRANCH

MINNESOTA DEPT OF PUBLIC            SAFETY‐DVS DIVISION                   445 MINNESOTA ST                   ATTN DEALER UNIT STE 186                    SAINT PAUL        MN 55101‐2121
MINNESOTA DEPT OF REVENUE           SALES & USE TAX DV                                                                                                   SAINT PAUL        MN 55145‐0001
MINNESOTA DEPT OF REVENUE
MINNESOTA DEPT OF REVENUE           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 12300 FORD RD STE 285                                                         DALLAS             TX   75234‐8113

MINNESOTA DEPT OF REVENUE           12300 FORD RD STE 285                                                                                                DALLAS            TX    75234‐8113
MINNESOTA DEPT. OF REVENUE          COLLECTION DIVISION                   PO BOX 700                                                                     SAINT PAUL        MN    55164
MINNESOTA DEPT. OF REVENUE          SALES & USE TAX                       PO BOX 7871                                                                    SAINT PAUL        MN    55107‐0871
MINNESOTA FARM BUREAU               3080 EAGANDALE PL                                                                                                    EAGAN             MN    55121‐2118
MINNESOTA FARM BUREAU FEDERATION    ROBERT SHEPARD                        3080 EAGENDALE PLACE, SAINT PAUL                                               SAINT PAUL        MN    55121
                                      09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
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Name                                 Address1                              Address2                      Address3                        Address4            City           State Zip
MINNESOTA FARM BUREAU FEDERATION     JULIE ANNA POTTS                      600 MARYLAND AVE SW STE 1000W                                                                     DC 20024‐2555

MINNESOTA FARM BUREAU FEDERATION     3080 EAGANDALE PL                                                                                                                      MN 55121‐2118

MINNESOTA MINING & MFG CO          BETTY HAGOPIAN                          3M COMPANY                       2300 WHITE OAK CIRCLE                            DESHLER        OH 43516
MINNESOTA MINING AND               CORPORATE ENTERPRISE DEVELOPMENT        PO BOX 33427                                                                      SAINT PAUL     MN 55133‐3427
MANUFACTURING COMPANY
MINNESOTA MOLD & ENGINEERING       ED FARNAN                               1025 KRISTEN CT                                                                   SALINE         MI 48176
MINNESOTA MOLD & ENGINEERING CO    ED FARNAN                               1025 KRISTEN CT                                                                   SALINE         MI 48176
INC
MINNESOTA MOLD & ENGINEERING CO    1025 KRISTEN CT                                                                                                           SAINT PAUL     MN 55110‐5165
INC
MINNESOTA MOLD AND ENGINEERING     1025 KRISTEN CT                                                                                                           SAINT PAUL     MN   55110‐5165
MINNESOTA MOTOR COMPANY            1108 PEBBLE LAKE RD                                                                                                       FERGUS FALLS   MN   56537‐3851
MINNESOTA POLICY GROUP LLC         808 BERRY ST APT 137                                                                                                      SAINT PAUL     MN   55114‐1454
MINNESOTA POLICY GROUP LLC, TH     808 BERRY ST APT 137                                                                                                      SAINT PAUL     MN   55114‐1454
MINNESOTA POLICY GROUP LLC, THE    808 BERRY ST APT 137                                                                                                      SAINT PAUL     MN   55114‐1454
MINNESOTA POLLUTION CONTROL AGENCY 520 LAFAYETTE ROAD                                                                                                        ST PAUL        MN   55155

MINNESOTA POLLUTION CONTROL AGENCY ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 520 LAFAYETTE RD                                                                   SAINT PAUL     MN 55155‐4102

MINNESOTA POLLUTION CONTROL AGENCY REGION 5                                520 LAFAYETTE RD                                                                  SAINT PAUL     MN 55155‐4194

MINNESOTA REVENUE                    1250 MAIL STA                          STATE HOUSE, ROOM 102                                                            SAINT PAUL     MN 55145‐0001
MINNESOTA REVENUE                    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1250 MAIL STA                   STATE HOUSE, ROOM 102                            SAINT PAUL     MN 55145‐0001

MINNESOTA REVENUE                    PO BOX 64650                                                                                                            SAINT PAUL     MN   55164‐0650
MINNESOTA RUB/DET                    42207 ANN ARBOR RD E                                                                                                    PLYMOUTH       MI   48170‐4364
MINNESOTA RUBBER AND                 434 HIGHLAND DR                                                                                                         RIVER FALLS    WI   54022‐5202
MINNESOTA RUBBER AND PLASTICS        434 HIGHLAND DR                       FRMLY QMR PLASTICS                                                                RIVER FALLS    WI   54022‐5202
MINNESOTA RUBBER AND PLASTICS        FRMLY MINNESOTA RUBBER CO             3630 WOODDALE AVE S                                                               MINNEAPOLIS    MN   55416
MINNESOTA RUBBER MEXICO S DE RL DE   AV INDUSTRIAL FALCON LOTE 13                                                                        REYNOSA TM 88736
                                                                                                                                         MEXICO
MINNESOTA SECRETARY OF STATE         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 180 STATE OFC BLDG              100 REV DR MARTIN LUTHER                         SAINT PAUL     MN 55155‐1299
                                                                                                            KING JR BLVD
MINNESOTA SECRETARY OF STATE         180 STATE OFC BLDG                     100 REV DR MARTIN LUTHER KING JR                                                 SAINT PAUL     MN 55155‐1299
                                                                            BLVD
MINNESOTA STATE TREASURER            400 CENTENNIAL                         658 CEDAR STREET                                                                 SAINT PAUL     MN 55155‐0001
MINNESOTA STATE TREASURER            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 400 CENTENNIAL                   658 CEDAR STREET                                SAINT PAUL     MN 55155‐0001

MINNESOTA STATE UNIVERSITY           MANKATO                               236 WIGLEY ADMINISTRATION CTR    OFFICE OF BUSINESS AFFAIRS                       MANKATO        MN 56001‐6067

MINNESOTA STATE UNIVERSITY           STUDENT FINANCIAL SERVICES            120 WIGLEY ADMINISTRATION CENT                                                    MANKATO        MN 56001

MINNESOTA TIMBERWOLVES BASKETBALL    DBA MINNESOTA TIMBERWOLVES            600 FIRST AVENUE NORTH                                                            MINNEAPOLIS    MN 55403
LIMITED PARTNERSHIP
MINNESOTA, STATE OF                  CORPORATION INCOME TAX                COMMISSIONER OF REVENUE          MAIL STATION 1750                                SAINT PAUL     MN 55146‐0001
MINNEWEATHER, KATHRYN S              7000 CONCORD CT                                                                                                         FOREST HILL    TX 76140‐1906
MINNEY BURLIN O (429478)             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                       NORFOLK        VA 23510
                                                                           STREET, SUITE 600
MINNEY CURTIS                        7808 NORTHEAST 109TH CIRCLE                                                                                             KANSAS CITY    MO 64157‐1222
MINNEY JR, GEORGE H                  6376 U S 35 E                                                                                                           JAMESTOWN      OH 45335
                                     09-50026-mg               Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                                 Address1                          Address2                        Address3   Address4         City           State Zip
MINNEY JR, LEWIS H                   500 CRESCENT DR APT B                                                                         TROY            OH 45373‐3890
MINNEY JR, LEWIS H                   500 CRESENT ST.                   APT B                                                       TROY            OH 45373‐5373
MINNEY, BURLIN O                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
MINNEY, FOREST D                     PO BOX 79                                                                                     KIPTON         OH    44049‐0079
MINNEY, KURTIS C                     7808 NE 109TH CIR                                                                             KANSAS CITY    MO    64157‐1222
MINNEY, LEON                         4098 WEST VIRGINIA HWY            5 WEST                                                      GLENVILLE      WV    26351
MINNEY, ROBERT L                     7922 ST. RT. #73, SOUTH                                                                       WILMINGTON     OH    45177
MINNEY, SHAUN T                      613 GREENWALD ST                                                                              DAYTON         OH    45410‐3003
MINNICH ALLEN (ESTATE OF) (641081)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD     OH    44067
                                                                       PROFESSIONAL BLDG
MINNICH DONALD (491239)              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
MINNICH JAMES WALTER (429479)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA 23510
                                                                       STREET, SUITE 600
MINNICH JR, EDWARD J                 6135 S MASSASOIT AVE                                                                          CHICAGO        IL 60638‐4515
MINNICH, ALLEN                       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
MINNICH, GLADYS L                    PO BOX 1015                                                                                   AZTEC          NM 87410‐1015
MINNICH, JAMES L                     2555 LARKMOOR ST                                                                              LORAIN         OH 44052‐3161
MINNICH, JAMES WALTER                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA 23510‐2212
                                                                       STREET, SUITE 600
MINNICH, JANET S                     230 BRAMBLEBUSH LN                                                                            SPRINGBORO     OH    45066‐9723
MINNICH, JOHN B                      4555 DICKSON RD                                                                               INDIANAPOLIS   IN    46226‐2109
MINNICH, JOHN L                      117 A B CT                                                                                    WELLINGTON     OH    44090‐1026
MINNICH, JOHN M                      3576 CREEKWOOD DR                                                                             SAGINAW        MI    48601‐5603
MINNICH, JOSEPH A                    6441 POND RIDGE DR                                                                            CENTERVILLE    OH    45459‐2880
MINNICH, NEDWIN L                    4511 S JANE WAY                                                                               WILMINGTON     DE    19804‐4012
MINNICH, THOMAS M                    209 W LOCUST ST                                                                               WATSEKA        IL    60970‐1535
MINNICHBACH, DEAN E                  1701 GILLINGHAM DR                                                                            BEL AIR        MD    21015‐2014
MINNICHVACH WILLIAM                  MINNICHVACH, WILLIAM              645 CYPRESS R                                               WARMINSTER     PA    18974
MINNICHVACH, WILLIAM                 645 CYPRESS RD                                                                                WARMINSTER     PA    18974‐4302
MINNICK EDWARD L SR (491652)         ANGELOS PETER G                   100 N CHARLES STREET , ONE                                  BALTIMORE      MD    21201
                                                                       CHARLES CENTER
MINNICK ELBERT C SR (358179)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA 23510
                                                                       STREET, SUITE 600
MINNICK JR, LOREN F                  3120 BULAH DR                                                                                 KETTERING      OH    45429‐3912
MINNICK RALPH D (485430)             GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                  INDIANAPOLIS   IN    46204‐2503
MINNICK, AIDA H                      859 PROGRESS ST                                                                               MIDDLETOWN     IN    47356‐1322
MINNICK, CAROLINE                    PO BOX 766                                                                                    GENEVA         IL    60134‐0766
MINNICK, CAROLINE                    PO BOX 756                                                                                    GENEVA         IL    60134
MINNICK, CHARLES S                   PO BOX 115                                                                                    FREEDOM        IN    47431‐0115
MINNICK, CHRISTINE                   615 WALNUT                                                                                    ST CHARLES     MI    48655
MINNICK, DAVID L                     526 N 31ST ST                                                                                 NEW CASTLE     IN    47362‐3614
MINNICK, DAVID L                     PO BOX 46                                                                                     YORKTOWN       IN    47396‐0046
MINNICK, EDWARD L                    ANGELOS PETER G                   100 N CHARLES STREET, ONE                                   BALTIMORE      MD    21201‐3812
                                                                       CHARLES CENTER
MINNICK, ELBERT C                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA 23510‐2212
                                                                       STREET, SUITE 600
MINNICK, JAMES D                     PO BOX 111                                                                                    KNIGHTSVILLE    IN   47857‐0111
MINNICK, JAMES F                     144 N 7TH ST                                                                                  MIDDLETOWN      IN   47356‐1302
MINNICK, JEFF W                      16236 FEIGHNER RD                                                                             ROANOKE         IN   46783‐9615
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Name                      Address1                        Address2                     Address3   Address4         City              State Zip
MINNICK, JOHN R           905 NE 1ST AVE                                                                           GRAND RAPIDS       MN 55744‐2699
MINNICK, MARLENE K        1141 ARTHUR DR                                                                           MILTON             WI 53563‐1779
MINNICK, MARTHA L         157 N 8TH ST                                                                             MIDDLETOWN         IN 47356‐1305
MINNICK, MAXINE BLAKELY   4341 MOSTETLER RD                                                                        HARRISON           MI 48625‐9230
MINNICK, MICHAEL A        613 EAGLE CREST DR                                                                       LAKE PARK          GA 31636‐2752
MINNICK, RALPH D          GEORGE & SIPES                  151 N DELAWARE ST STE 1700                               INDIANAPOLIS       IN 46204‐2503
MINNICK, ROBERT G         7606 EAGLE VALLEY PASS                                                                   INDIANAPOLIS       IN 46214‐1553
MINNICK, WAYNE J          14501 HESS RD                                                                            HOLLY              MI 48442‐8241
MINNICK, WENDELL L        844 WENDEMERE DR                                                                         SEYMOUR            IN 47274‐2704
MINNICK, WILLIAM E        842 CALLAN ST                                                                            ENGLEWOOD          FL 34223‐2614
MINNICKS, DENNIS E        190 ALTMAN RD                                                                            JEANNETTE          PA 15644‐9752
MINNIE A BENNETT          2838 BEAL N.W.                                                                           WARREN             OH 44485‐1208
MINNIE A QUEENER          2535 CORNWALL                                                                            YOUNGSTOWN         OH 44505‐3907
MINNIE A YURCO            2349 STILLWAGON RD SE                                                                    WARREN             OH 44484‐3173
MINNIE ABERNATHY          G 2206 CENTERWOOD ST                                                                     BURTON             MI 48509
MINNIE ADAMS              4001 DONEY ST                                                                            WHITEHALL          OH 43213‐2304
MINNIE ALEXANDER          3642 FREDERICK ST                                                                        DETROIT            MI 48211‐3169
MINNIE ALFORD             505 RUBYTHROAT LN                                                                        CLAYTON            OH 45315‐8742
MINNIE ALLEN              18 CAVELL ST                                                                             TRENTON            NJ 08618‐3820
MINNIE AMATO              PO BOX 88                                                                                WEST FARMINGTON    OH 44491‐0088
MINNIE ANDERSON           2880 EWALD CIR APT 202                                                                   DETROIT            MI 48238‐2548
MINNIE ANDERSON           5203 SILVERDOME DR                                                                       DAYTON             OH 45414‐3645
MINNIE APPLEWHITE         4 E ALEXANDRINE ST              APT 525                                                  DETROIT            MI 48201‐2037
MINNIE ARMSTRONG          32 MELROSE AVE                                                                           TOLEDO             OH 43610‐1522
MINNIE AUBREY             1813 SENECA ST                                                                           FLINT              MI 48504‐2937
MINNIE B THOMPSON         2902 MEADOW FOREST DRIVE                                                                 JACKSON            MS 39212
MINNIE BALL               3756 EMBARCADERO ST                                                                      WATERFORD          MI 48329‐2241
MINNIE BALL               845 ROZELLE CREEK RD                                                                     CHILLICOTHE        OH 45601‐8376
MINNIE BARNARD            2812 FOREST RIDGE PKWY          APT 112                                                  NEW CASTLE         IN 47362
MINNIE BASSINGER          20 COZUMEL LN                   SPANISH LAKE RIVERFRONT                                  PORT ST LUCIE      FL 34952‐2312
MINNIE BATTISTA           325 JERSEY ST                                                                            TRENTON            NJ 08611‐3113
MINNIE BAUGHMAN           10015 CHERRY CREEK LN                                                                    PORT RICHEY        FL 34668‐3708
MINNIE BEAM               96 WAGNER RD                                                                             EVANS CITY         PA 16033‐3036
MINNIE BENNETT            2838 BEAL ST NW                                                                          WARREN             OH 44485‐1208
MINNIE BERRY              3426 STONE ST                                                                            MEMPHIS            TN 38118‐5309
MINNIE BIBBS              731 E 89TH PL                                                                            CHICAGO             IL 60619‐6821
MINNIE BINGLEY            1976 MUSKEGON RD                                                                         HARRISON           MI 48625‐8576
MINNIE BLACKMON           1767 VIRGINIA AVE                                                                        NIAGARA FALLS      NY 14305‐2115
MINNIE BLAKE              2020 STONEY BROOK CT                                                                     FLINT              MI 48507‐2273
MINNIE BLAND              PO BOX 92                                                                                GRAND BLANC        MI 48480‐0092
MINNIE BOONE              PO BOX 2345                                                                              ANDERSON           IN 46018‐2345
MINNIE BOTKE              7995 STOLL RD                                                                            EAST LANSING       MI 48823‐9420
MINNIE BOWMAN             5201 SCENICVUE DR                                                                        FLINT              MI 48532‐2357
MINNIE BOWMAN             3519 DUNSTAN DR NW                                                                       WARREN             OH 44485‐1405
MINNIE BOYD               5001 LONGFELLOW AVE                                                                      FLINT              MI 48505‐3256
MINNIE BRANDON            PO BOX 79                                                                                BUMPUS MILLS       TN 37028
MINNIE BRANDYBERRY        840 S SUNSET PNES                                                                        SPARTA             MI 49345‐8480
MINNIE BRAYE              125 ONEAL CIRCLE                                                                         VINCENT            AL 35178‐9530
MINNIE BRITT              57 SOENKER CIR                                                                           SAINT PETERS       MO 63376‐4466
MINNIE BRITT              1380 ELM ST                                                                              CLIO               MI 48420‐2701
MINNIE BROWN              51 WOODLAND CHASE BLVD                                                                   NILES              OH 44446‐5353
MINNIE BROWN              3120 CROSS KEYS PLACE DRIVE                                                              FLORISSANT         MO 63033‐3129
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Name                 Address1                        Address2              Address3       Address4         City               State Zip
MINNIE BROWN         12925 SHARON VALLEY RD                                                                BROOKLYN            MI 49230‐8419
MINNIE BUCHANAN      PO BOX 353                                                                            BREMEN              KY 42325‐0353
MINNIE BUCHHOLZ      1970 BEDFORD DRIVE                                                                    TITUSVILLE          FL 32796‐1015
MINNIE BUFORD        4830 S WASHINGTON RD                                                                  SAGINAW             MI 48601‐7204
MINNIE BUFORD        PO BOX 26131                                                                          TROTWOOD            OH 45426‐0131
MINNIE BUNCH         PO BOX 2062                                                                           CARROLLTON          GA 30112‐0039
MINNIE BURRELL       # 103                           22458 CHESTER COURT                                   FARMINGTN HLS       MI 48335‐3906
MINNIE BUTLER        4909 N GLENN AVE APT A                                                                FRESNO              CA 93704‐3459
MINNIE BUYTAS        301 S VERNON AVE                                                                      FLINT               MI 48503
MINNIE C BOONE       PO BOX 2345                                                                           ANDERSON            IN 46018‐2345
MINNIE C BROWN       51 WOODLAND CHASE BLVD.                                                               MILES               OH 44446‐5353
MINNIE C MILLER      27706 LISA DR                                                                         TAVARES             FL 32778‐9714
MINNIE CAMBRIDGE     159‐38 HARLEM RIVER DR APT 7F                                                         NEW YORK            NY 10039‐1233
MINNIE CART          5475 RED SKY DR                                                                       COLORADO SPRINGS    CO 80915‐1488
MINNIE CARTER        924 MAPLE CREEK RD                                                                    WILLIAMSBURG        KY 40769‐7219
MINNIE CHAPMAN       2045 ORMOND AVE                                                                       COLUMBUS            OH 43224‐2413
MINNIE CHENEY        78 GRENWICH DR                                                                        NAPOLEON            OH 43545‐9465
MINNIE CHILDS        5815 N COLEMAN RD RT #3                                                               COLEMAN             MI 48618
MINNIE CHRISTOPHER   6004 VEL DR                                                                           FORT WORTH          TX 76112‐7940
MINNIE CLARK         6 ORANGE TREE CIR                                                                     WINTER GARDEN       FL 34787‐3823
MINNIE CLAYTON       1018 N 4TH AVE                                                                        SAGINAW             MI 48601‐1001
MINNIE COLLINS       1054 SOUTH UNION STREET                                                               LIMA                OH 45804‐2063
MINNIE COURTNEY      9188 SPRINGVIEW LOOP                                                                  ESTERO              FL 33928‐3404
MINNIE COWAN         4819 PERSIMMON BEND LN                                                                FLORISSANT          MO 63033‐4569
MINNIE CRAIG         PO BOX 186                                                                            DURAND              MI 48429‐0186
MINNIE CRANFORD      2703 DELLA DR                                                                         DAYTON              OH 45408‐2431
MINNIE D KELSO       PO BOX 310492                                                                         FLINT               MI 48531‐0492
MINNIE DATCHUK       31 WASHINGTON AVE                                                                     NILES               OH 44446‐2433
MINNIE DAVENPORT     2101 PRINCE HALL DR APT 1B      BLDG. 4                                               DETROIT             MI 48207‐3388
MINNIE DAVIS         3679 OAK STREET EXT.                                                                  LOWELLVILLE         OH 44436
MINNIE DORSETT       4527 HESS AVE                                                                         SAGINAW             MI 48601‐6734
MINNIE DOWSEY        1604 DAVIS CIR                                                                        MOUNTAIN GROVE      MO 65711‐1284
MINNIE DRAY          217 OTIS ST                                                                           WEST MONROE         LA 71291‐2439
MINNIE DUNMIRE       548 BANK ST NE                                                                        WARREN              OH 44483‐3816
MINNIE E COLLINS     1359 NALLS LN                                                                         YAZOO CITY          MS 39194
MINNIE E DAVIS       3679 OAK STREET EXT.                                                                  LOWELLVILLE         OH 44436‐9797
MINNIE E DAVIS       3679 OAK ST EXT                                                                       LOWELLVILLE         OH 44436
MINNIE EARLE         108 FAIRVIEW AVE                                                                      ROCHESTER           NY 14619‐2218
MINNIE EAST          5826 SOUTH BEAR DRIVE                                                                 DOUGLASVILLE        GA 30135‐3944
MINNIE EDWARDS       9527 OZGA ST                                                                          ROMULUS             MI 48174‐1337
MINNIE ELLER         1653 WOODHURST AVE                                                                    MAYFIELD HEIGHTS    OH 44124‐3407
MINNIE ELLIOTT       6476 EPPHINGHAM LN                                                                    FLORISSANT          MO 63033‐4704
MINNIE EUART         PO BOX 285                                                                            FAITH               NC 28041‐0285
MINNIE EVANS         401 N 14TH ST                                                                         SAGINAW             MI 48601‐1612
MINNIE EVANS         909 KENNELWORTH AVE                                                                   FLINT               MI 48503
MINNIE EVERETT       PO BOX 7211                                                                           AMERICUS            GA 31709‐7211
MINNIE FICKLIN       2141 LAGRANCE ROAD                                                                    BEAVERCREEK         OH 45431
MINNIE FLINT         601 W 156TH ST APT 14                                                                 NEW YORK            NY 10032‐7519
MINNIE FORD          3250 PINECREST DR                                                                     BRUNSWICK           OH 44212‐3835
MINNIE FULLER        5830 MICHIGAN AVE                                                                     KANSAS CITY         MO 64130‐3348
MINNIE FUNDUNBURKS   3525 GINGERSNAP LN                                                                    LANSING             MI 48911‐1517
MINNIE GARRETT       5780 KNOLL CT                                                                         SAGINAW             MI 48603‐1607
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Name                    Address1                             Address2                      Address3     Address4         City                   State Zip
MINNIE GIBSON           2211 S 10TH AVE APT 1                                                                            BROADVIEW                IL 60155‐4059
MINNIE GILL             18227 ILENE ST                                                                                   DETROIT                 MI 48221‐1923
MINNIE GIST             2206 MONTEITH STREET                                                                             FLINT                   MI 48504‐4656
MINNIE GLASS            35200 SIMS ST APT 706                                                                            WAYNE                   MI 48184‐1286
MINNIE GLOVER           1910 W PIERSON RD APT 149                                                                        FLINT                   MI 48504‐1963
MINNIE GRADY            5076 E OUTER DR                                                                                  DETROIT                 MI 48234‐3401
MINNIE GUNDERMAN        THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET      22ND FLOOR                    BALTIMORE               MD 21201

MINNIE H SFERRAZZA      8 BLAKE AVE                                                                                      SOMERSET               NJ   08873‐2003
MINNIE HAMILTON         5966 LANE CIR N                                                                                  JACKSONVILLE           FL   32254‐2242
MINNIE HAMMOND          476 SHINGLE LAKE DR BOX 113                                                                      LAKE GEORGE            MI   48633
MINNIE HARDMAN          5435 PHILLIPSBURG UNION RD                                                                       ENGLEWOOD              OH   45322‐9761
MINNIE HARRIS           PO BOX 848                                                                                       STERLINGTON            LA   71280‐0848
MINNIE HATFIELD         500 ASH LN                                                                                       GAS CITY               IN   46933‐1205
MINNIE HAYES            2338 72ND ST SW                                                                                  BYRON CENTER           MI   49315‐9412
MINNIE HAYNES           300 FUDGE AVE                                                                                    EATON                  OH   45320‐1001
MINNIE HEIDENREIC       9785 YOUNGMAN RD BOX 224                                                                         LAKEVIEW               MI   48850
MINNIE HENDERSON        640 PARKINSON AVE                                                                                HAMILTON               NJ   08610‐5017
MINNIE HICKS            9468 TERRY ST                                                                                    ROMULUS                MI   48174‐1555
MINNIE HILL             414 EAST MARSHALL SREET                                                                          MARION                 IN   46952
MINNIE HILLLL           APT 903 MAGNOLIA GARDENS                                                                         FLORENCE               AL   35630
MINNIE HOLLOWAY         1942 VERMONT ST                                                                                  GARY                   IN   46407‐2830
MINNIE HOLMES           3142 CONGRESS DR                                                                                 KOKOMO                 IN   46902‐8018
MINNIE HOPE             10300 THREE CHOPT RD APT 211                                                                     HENRICO                VA   23233‐2072
MINNIE HOPE             2605 S 23RD ST                                                                                   SAGINAW                MI   48601‐4215
MINNIE HOWARD           2426 LYNN AVE                                                                                    DAYTON                 OH   45406‐1922
MINNIE HOWARD           2060 WESTWOOD AVE SW                                                                             ATLANTA                GA   30310‐2264
MINNIE HOWARD           3403 WEST FAIRWAY DRIVE                                                                          MCHENRY                IL   60050‐6105
MINNIE HUDDLESTON       5572 KIRKRIDGE TRL                                                                               OAKLAND TWP            MI   48306‐2266
MINNIE HUGHES           201 S WASHINGTON ST                                                                              YPSILANTI              MI   48197‐8410
MINNIE J WALKER         2683 MILTON ST. S.E.                                                                             WARREN                 OH   44484‐5254
MINNIE JACKSON          554 S 29TH ST                                                                                    SAGINAW                MI   48601‐6427
MINNIE JALIS            PO BOX 105                                                                                       NORTH EAST             MD   21901‐0105
MINNIE JAMES            4422 MCGRAW ST                                                                                   DETROIT                MI   48210
MINNIE JARVIS           APT B2                               1223 NORTH EDMONDSON AVENUE                                 INDIANAPOLIS           IN   46219‐3529

MINNIE JO CORNELL IRA   2020 FAIRFIELD AVE                                                                               CLOVIS                 NM   88101
MINNIE JOHNSON          635 TRUMAN CT                                                                                    DUNCANVILLE            TX   75137‐2542
MINNIE JOHNSON          130 S 13TH ST                                                                                    SAGINAW                MI   48601‐1836
MINNIE JOHNSON          6511 S WASHINGTON AVE                                                                            LANSING                MI   48911‐5549
MINNIE JONES            19405 HOLIDAY LN                                                                                 WARRENSVILLE HEIGHTS   OH   44122‐6955
MINNIE JONES            501 S 10TH ST                                                                                    NEWARK                 NJ   07103‐1828
MINNIE JONES            242 SOUTH 6TH STREET                                                                             JESUP                  GA   31545‐0500
MINNIE K DATCHUK        31 WASHINGTON AVE                                                                                NILES                  OH   44446‐2433
MINNIE KEEL             813 E PIERSON RD                                                                                 FLINT                  MI   48505‐3558
MINNIE KELLER           2322 ELM CT                                                                                      NIAGARA FALLS          NY   14305‐2139
MINNIE KELSO            PO BOX 310492                                                                                    FLINT                  MI   48531‐0492
MINNIE KILBREATH        4271 SOUTH GENESEE ROAD                                                                          GRAND BLANC            MI   48439‐7966
MINNIE KING             307 W HICKLAND ST                                                                                PRINCETON              MO   64673‐1129
MINNIE KING             50 MARTIN LUTHER KING JR BLVD N                                                                  PONTIAC                MI   48342‐2919
MINNIE KNOX             1286 PEARL RD APT 57                                                                             BRUNSWICK              OH   44212‐5400
MINNIE KOWALIK          599 HILLCREST AVE                                                                                MCKEES ROCKS           PA   15136‐2065
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Name                        Address1                        Address2            Address3         Address4         City             State Zip
MINNIE KREBS                116 HUMBOLDT HWY                                                                      TRENTON           TN 38382‐7914
MINNIE L BUNCH              PO BOX 2062                                                                           CARROLLTON        GA 30112‐‐ 00
MINNIE L HOWARD             2937 WYLIE DRIVE                                                                      FAIRBORN          OH 45324‐2239
MINNIE L JAMISON            137 W BEVERLY AVE                                                                     PONTIAC           MI 48340‐2621
MINNIE L MADISON            1036 LAKEMONT RD                                                                      BALTIMORE         MD 21228‐1249
MINNIE L SHOEMAKER          717 N EPPINGTON DR                                                                    TROTWOOD          OH 45426‐2519
MINNIE L TURRENTINE         789 FOX AVE                                                                           YPSILANTI         MI 48198‐6197
MINNIE L WARREN             777 COTTON HILL RD.                                                                   MADISON           MS 39110‐9468
MINNIE LAWRENCE             812 E BYRD RD                                                                         HARTSELLE         AL 35640‐4741
MINNIE LAYMAN               1821 CAPITOL AVE                                                                      LINCOLN PARK      MI 48146‐3214
MINNIE LEE ABNEY            169 RATHBUN ST                  APT 1                                                 WOONSOCKET         RI 02895
MINNIE LEMON                16871 WASHBURN ST                                                                     DETROIT           MI 48221‐2844
MINNIE LEWIS                743 SOUTHAMPTON ST                                                                    AUBURN HILLS      MI 48326‐3541
MINNIE LEWIS                10000 SE 57TH ST                                                                      OKLAHOMA CITY     OK 73150‐4526
MINNIE LOONEY               5707 SNOW RD                                                                          PARMA             OH 44129‐3317
MINNIE LUNSFORD             1821 S PATRIOT DR                                                                     YORKTOWN          IN 47396‐9000
MINNIE LYNCH                1360 MAPLEWOOD ST NE                                                                  WARREN            OH 44483‐4164
MINNIE M NICHOLS            5291 HARRY ST                                                                         FLINT             MI 48505‐1729
MINNIE MADISON              1036 LAKEMONT RD                                                                      BALTIMORE         MD 21228‐1249
MINNIE MAHONE               328 ARNOLD AVE                                                                        PONTIAC           MI 48341‐1060
MINNIE MAMONE               8550 MORRIS RD                                                                        HILLIARD          OH 43026‐8484
MINNIE MC KENZIE            PO BOX 36790                                                                          GROSSE POINTE     MI 48236
MINNIE MCCARROLL            PO BOX 1371                                                                           ANDERSON          IN 46015‐1371
MINNIE MCCASKILL            3842 OLD STAGECOACH RD                                                                BETHUNE           SC 29009‐9635
MINNIE MCCLENDON            706 PRICEWOOD CT                                                                      ANDERSON          IN 46013‐5143
MINNIE MCKELVY              227 WESTERN DR                                                                        MEDWAY            OH 45341‐9521
MINNIE MEANS                566 OAK RIDGE TRAILS COURT                                                            BALLWIN           MO 63021‐4415
MINNIE MIKE                 HC 58 BOX 70                                                                          GANADO            AZ 86505
MINNIE MILLER               27706 LISA DR                                                                         TAVARES           FL 32778‐9714
MINNIE MONTGOMERY           521 LAWRENCE ST                                                                       SANDUSKY          OH 44870‐2351
MINNIE MOORE                4038 ROCHDALE DR                                                                      FLINT             MI 48504‐1132
MINNIE MORRIS               614 S ANDRE ST APT 2                                                                  SAGINAW           MI 48602
MINNIE MORROW               1405 TAM O SHANTER LN                                                                 KOKOMO            IN 46902‐3118
MINNIE MURDOCK              240 WEBBER ST                                                                         SAGINAW           MI 48601‐4847
MINNIE MYERS                16409 SW 27TH CIR                                                                     OCALA             FL 34473‐4338
MINNIE N STAGGS             104 RADCLIFF LANE                                                                     HENDERSONVILLE    TN 37075
MINNIE NASH                 3652 ROSELAWN AVE                                                                     BEACHWOOD         OH 44122‐4534
MINNIE NICHOLS              G‐5291 HARRY ST                                                                       FLINT             MI 48505
MINNIE NICHOLS              1294 E CORNELL AVE                                                                    FLINT             MI 48505‐1751
MINNIE NIXON                1542 LAKE CREST CIR                                                                   COOKEVILLE        TN 38506‐5943
MINNIE NOBLES               1565 MILITARY ST                                                                      DETROIT           MI 48209‐2559
MINNIE NORMAN               6343 WHITEWOOD ST                                                                     DETROIT           MI 48210‐1237
MINNIE OETTEL               1056 IDLEWILD DR                                                                      SPARTA            TN 38583‐3119
MINNIE OLIVER               217 E DELAVAN AVE                                                                     BUFFALO           NY 14208‐1226
MINNIE P DAVIS              1359 W PRINCETON AVE                                                                  FLINT             MI 48505‐1015
MINNIE P HUGHLEY‐VARDIMAN   21414 PEMBROKE AVE                                                                    DETROIT           MI 48219‐1317
MINNIE P WEST               1489 ELMDALE DR                                                                       KETTERING         OH 45409‐1615
MINNIE PALAZZOLO            22812 COACHLIGHT CIR                                                                  TAYLOR            MI 48180‐6398
MINNIE PARRISH              164 MILLCREEK DR                                                                      CHESTERFIELD      IN 46017‐1702
MINNIE PAYNE                111 13TH ST NE                                                                        CULLMAN           AL 35055‐5908
MINNIE PEGGINS              921 4TH CT                                                                            PLEASANT GROVE    AL 35127‐2044
MINNIE PERKINS              4295 BROOKSIDE BLVD                                                                   CLEVELAND         OH 44135‐1667
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Name                    Address1                       Address2             Address3        Address4         City              State Zip
MINNIE PIERSON          1007 WALTON DR                                                                       PLAINFIELD         IN 46168‐2241
MINNIE POKE             508 ANDERSON ST                                                                      DANVILLE            IL 61832‐4804
MINNIE POPE             164 BASSETT ST                                                                       PONTIAC            MI 48341‐2707
MINNIE QUEENER          2535 CORNWALL AVE                                                                    YOUNGSTOWN         OH 44505‐3907
MINNIE RAY              10720 STATE RUTE 295                                                                 GRAND RAPIDS       OH 43522
MINNIE REAGAN           1603 VIRGINIA PL                                                                     CLEBURNE           TX 76033‐6438
MINNIE REED             UNIT 1                         2211 FARMER STREET                                    SAGINAW            MI 48601‐4673
MINNIE REYNOLDS         1018 SOUTH HENRY RUFF ROAD                                                           WESTLAND           MI 48186‐5012
MINNIE RITTER           705 NW SUMMERCREST BLVD                                                              BURLESON           TX 76028
MINNIE ROBERTS          145 N MILL ST                                                                        MERRILL            MI 48637‐8724
MINNIE ROBETOY          1912 ENGLEWOOD DR                                                                    BAY CITY           MI 48708‐6948
MINNIE RODGERS          10595 MCKEAN RD                                                                      WILLIS             MI 48191‐9735
MINNIE ROSS             111 W PULASKI AVE                                                                    FLINT              MI 48505‐3368
MINNIE S CLARK          3159 SUMRALL RD                                                                      CRYSTAL SPGS       MS 39059‐9412
MINNIE SADLER           RT71 BOX 265                                                                         SILVER POINT       TN 38582
MINNIE SAGRAVES         45 EASTWOOD HTS                                                                      MOREHEAD           KY 40351‐9072
MINNIE SANDERS          19 LANGDON RD                                                                        BURLINGTON         NJ 08016‐2921
MINNIE SANDERS          707 E SEYMOUR ST                                                                     MUNCIE             IN 47302‐2467
MINNIE SCHOENTHALER     11 BUTLER DRIVE                                                                      LANCASTER          NY 14086‐9334
MINNIE SFERRAZZA        8 BLAKE AVENUE                                                                       SOMERSET           NJ 08873‐2003
MINNIE SHIELDS          3045 INDIANWOOD RD                                                                   LAKE ORION         MI 48362‐1116
MINNIE SHOEMAKER        717 N EPPINGTON DR                                                                   TROTWOOD           OH 45426‐2519
MINNIE SIMON            809 PINGREE ST                                                                       DETROIT            MI 48202‐1939
MINNIE SIMPSON          2582 LACONIA AVENUE                                                                  LAS VEGAS          NV 89121‐5458
MINNIE SINGLETARY       8654 YOLANDA ST                                                                      DETROIT            MI 48234‐3322
MINNIE SMITH            1231 HILLSIDE RD                                                                     PASADENA           MD 21122‐2414
MINNIE SOLOMON          40305 168TH ST E                                                                     PALMDALE           CA 93591‐3031
MINNIE SPECK            1705 SERENITY LN                                                                     SANIBEL            FL 33957‐4220
MINNIE SPOON            318 PINE ST                                                                          LOCKPORT           NY 14094‐4929
MINNIE STAGGS           104 RADCLIFF LN                                                                      HENDERSONVILLE     TN 37075‐7116
MINNIE STATEN           1016 HALLER AVE                                                                      DAYTON             OH 45408‐2508
MINNIE STEPHENSON       PO BOX 113                                                                           RUSSELLVILLE       AL 35653‐0113
MINNIE STEVENS‐LASLEY   2910 ROOSEVELT AVE                                                                   KANSAS CITY        KS 66104‐5251
MINNIE STEWART          18953 SAN JUAN DR                                                                    DETROIT            MI 48221‐2175
MINNIE T DUNMIRE        548 BANK ST. N.E.                                                                    WARREN             OH 44483‐3816
MINNIE TARTER           8708 TUDOR CT                                                                        CINCINNATI         OH 45242‐7839
MINNIE TAYLOR           10700 SIBLEY CT                                                                      SAINT LOUIS        MO 63136‐4416
MINNIE TAYLOR           317 SYCAMORE GLEN DR APT 12                                                          MIAMISBURG         OH 45342‐5706
MINNIE TAYLOR           G 3075 N.JENNINGS RD                                                                 FLINT              MI 48504
MINNIE TAYLOR           2441 WHITTIER ST                                                                     SAGINAW            MI 48601‐2465
MINNIE TAYLOR           3280 BARNARD RD                                                                      SAGINAW            MI 48603‐2559
MINNIE THOMAS           229 S 13TH ST                                                                        SAGINAW            MI 48601‐1837
MINNIE THOMPSON         21 W PEASE AVE                                                                       WEST CARROLLTON    OH 45449‐1433
MINNIE THORNE           PO BOX 517                                                                           CHOWCHILLA         CA 93610‐0517
MINNIE TOLBERT          4606 BEECHER RD APT D1         HUNTINGTON CIRCLE                                     FLINT              MI 48532‐2623
MINNIE TURNER           339 ETHEL AVE                                                                        CARLISLE           OH 45005‐1309
MINNIE TURNER           898 WEBB ST                                                                          DETROIT            MI 48202‐1025
MINNIE UMSTEAD          6910 WOODROW AVE                                                                     SAINT LOUIS        MO 63121‐5118
MINNIE V LYNCH          1360 MAPLEWOOD N E                                                                   WARREN             OH 44483‐4164
MINNIE VARDIMAN         21414 PEMBROKE AVE                                                                   DETROIT            MI 48219‐1317
MINNIE VAUGHN           18810 BRADEN RD                                                                      WARSAW             MO 65355‐4449
MINNIE WAITE            8711 MARTY LN                                                                        OVERLAND PARK      KS 66212‐2033
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Name                        Address1                        Address2                   Address3   Address4         City               State Zip
MINNIE WALKER               APT 7101                        1109 EAST HEBRON PARKWAY                               CARROLLTON          TX 75010‐1337
MINNIE WALKER               2683 MILTON ST SE                                                                      WARREN              OH 44484‐5254
MINNIE WARREN               777 COTTON HILL RD                                                                     MADISON             MS 39110‐9468
MINNIE WASHINGTON           6317 SNOWDEN DR                                                                        SHREVEPORT          LA 71109‐8209
MINNIE WASHINGTON           420 S OPDYKE RD APT 10C                                                                PONTIAC             MI 48341‐3101
MINNIE WEBER                13129 EVELYN CT                                                                        BELLEVILLE          MI 48111‐2834
MINNIE WEBSTER              609 CATALPA AVE                                                                        LIMA                OH 45804‐2025
MINNIE WEST                 1489 ELMOALE DR                                                                        KETTERING           OH 45409‐1616
MINNIE WESTBROOK            300 JOHNSON FERRY RD NE         MOUNT VERNON TOWERS                                    ATLANTA             GA 30328‐4165
MINNIE WHITE                2029 BRENTWOOD DR                                                                      ANDERSON            IN 46011‐4041
MINNIE WHITE                19431 ANNCHESTER RD                                                                    DETROIT             MI 48219‐2141
MINNIE WHITENER             1852 SANTA FE ST                                                                       SAINT CHARLES       MO 63303‐5120
MINNIE WHITING              137 E IROQUOIS RD                                                                      PONTIAC             MI 48341‐1610
MINNIE WHITLEY              868 ANDOVER CT SE                                                                      GRAND RAPIDS        MI 49508‐4770
MINNIE WIGGINS              15325 S LONE ELM RD APT 112                                                            OLATHE              KS 66061‐5445
MINNIE WILLIAMS             1665 LAWRENCE ST                                                                       DETROIT             MI 48206‐1518
MINNIE WILLIAMS             551 HARRIET ST                                                                         FLINT               MI 48505‐4730
MINNIE WILLIAMS             3070 RADCLIFF ROAD                                                                     GADSDEN             AL 35907‐7935
MINNIE WILLIAMS             10 PALO ALTO DR                                                                        ROCHESTER           NY 14623‐3722
MINNIE WILSON               PO BOX 525                                                                             SWARTZ CREEK        MI 48473‐0525
MINNIE WINKLER              96 ONSTOTT DR                                                                          DANVILLE            KY 40422‐2262
MINNIE WRIGHT               RT #2 BOX 378                                                                          MILAN               GA 31060
MINNIE WRIGHT               3095 LINDEN LN APT 418                                                                 FLINT               MI 48507‐1134
MINNIE YOUNG                9913 HEATH AVE                                                                         CLEVELAND           OH 44104‐5521
MINNIE YURCO                2349 STILLWAGON RD SE                                                                  WARREN              OH 44484‐3173
MINNIE, BETTY               38121 DELACROIX DR                                                                     CLINTON TOWNSHIP    MI 48038‐3150
MINNIE, JEAN MARY           1602 NEW YORK AVE                                                                      FLINT               MI 48506‐3331
MINNIE, MARCIA              6188 BELSHIRE AVE NE                                                                   BELMONT             MI 49306‐9744
MINNIE, MICHAEL J           1248‐1 N. US 23                                                                        EAST TAWAS          MI 48730
MINNIE, PATRICIA M          418 DEVONSHIRE DR                                                                      LAPEER              MI 48446‐4796
MINNIEAR CRANE, BARBARA A   1464 JOLSON AVE                                                                        BURTON              MI 48529‐2030
MINNIEAR, BILL L            2719 E BOULEVARD                                                                       KOKOMO              IN 46902
MINNIEAR, JAMES T           6703 LIBERTY PARK DR                                                                   LIBERTY TOWNSHIP    OH 45044‐9291
MINNIEFIELD JR, GEORGE      61 MINNIEFIELD DR                                                                      WETUMPKA            AL 36093‐3522
MINNIEFIELD SR, PARIS       5006 RETFORD DR                                                                        DAYTON              OH 45418‐2045
MINNIEFIELD, CLARENCE E     5912 STEEPLE CHASE CIR                                                                 TOLEDO              OH 43615‐4382
MINNIEFIELD, GENEVA R       3713 GRIDLEY RD                                                                        SHAKER HTS          OH 44122‐5036
MINNIEFIELD, GENEVA R       3713 GRIDLEY ROAD                                                                      SHAKER HTS          OH 44122
MINNIEWEATHER, WILLIE M     1301 S 9TH ST                                                                          MONROE              LA 71202‐2919
MINNIFIELD JR., JOE N       1908 HAVERHILL DR                                                                      DAYTON              OH 45406‐4634
MINNIFIELD JR., JOE N.      1908 HAVERHILL DR                                                                      DAYTON              OH 45406‐4634
MINNIFIELD ROSALIND         3922 E CORRINE DR                                                                      PHOENIX             AZ 85032‐7337
MINNIFIELD, CALVIN          4510 ROBINHILL CT                                                                      DAYTON              OH 45416‐1640
MINNIFIELD, WILLIAM         63 SAINT LOUIS AVE                                                                     BUFFALO             NY 14211‐2330
MINNIHAN, JOANNE A          6800 GULF COURSE BLVD P3                                                               PUNTA GORDA         FL 33982
MINNINGER, ROSEANNA M       10414 PLYMOUTH                                                                         GARFIELDHEIGHTS     OH 44125
MINNIS, ALFRED D            128 HERON PT                                                                           TINTON FALLS        NJ 07753‐7778
MINNIS, BERYL M             PO BOX 721                                                                             FREELAND            MI 48623‐0721
MINNIS, EDDIE M             18421 MIDWAY AVE                                                                       SOUTHFIELD          MI 48075‐7140
MINNIS, EDWARD T            20566 WOODBINE ST                                                                      DETROIT             MI 48219‐4512
MINNIS, EUNICE C            3318 LARCHMONT ST                                                                      FLINT               MI 48503‐6607
MINNIS, GRACE C             5342 COOL RD SE                                                                        KALKASKA            MI 49646‐9392
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Name                                  Address1                            Address2                        Address3   Address4         City              State Zip
MINNIS, LORRAINE M                    9212 APPOLINE ST                                                                                DETROIT            MI 48228‐2626
MINNIS, MARK D                        PO BOX 1703                                                                                     BELMAR             NJ 07719
MINNIS, ROBERT J                      26834 STANFORD DR W                                                                             SOUTHFIELD         MI 48033‐6134
MINNIS, TIMOTHY E                     PO BOX 9022                         C/O BUENOS AIRES                                            WARREN             MI 48090‐9022
MINNIS, TYEECHIA                      1159 NW 46TH ST                                                                                 MIAMI              FL 33127
MINNIS, VICTOR L                      514 ANDYPAUL CT                                                                                 RAYMORE            MO 64083‐8190
MINNISH, MARGUERITE C                 110 WUNDERWOOD DRIVE                                                                            TIPP CITY          OH 45371‐1231
MINNISH, ROBERT E                     2655 HALE RD                                                                                    WILMINGTON         OH 45177‐8511
MINNITI SAMUEL (ESTATE OF) (663299)   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                SAGINAW            MI 48604‐2602
                                                                          260
MINNITI, SAMUEL                       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                SAGINAW           MI 48604‐2602
                                                                          260
MINNIX, DANNY L                       410 WITHERBY DR                                                                                 KETTERING         OH    45429‐5256
MINNIX, DOLLIE C                      6968 CROSSBROOK DR                                                                              CENTERVILLE       OH    45459‐7505
MINNIX, GARY D                        PO BOX 56                                                                                       FRANKLIN          GA    30217‐0056
MINNIX, GORDON E                      APT 42                              1125 NORTHWEST WASHINGTON                                   HAMILTON          OH    45013‐6365
                                                                          BLVD
MINNIX, HOMER                         41 TROOPER LN                                                                                   WEST LIBERTY      KY 41472‐1282
MINNIX, JANICE                        APT 42                              1125 NORTHWEST WASHINGTON                                   HAMILTON          OH 45013‐6365
                                                                          BLVD
MINNIX, JANICE                        1125 NW WASHINGTON BLVD             APT # 42                                                    HAMILTON          OH    45013
MINNIX, LOUISE                        25056 OLD DEPOT DR                                                                              GROSSE ILE        MI    48138
MINNIX, WILMA                         6162 RENDON NEW HOPE RD                                                                         FORT WORTH        TX    76140‐8214
MINNNE NEWPORT                        4345 SEYBOLD RD                                                                                 DAYTON            OH    45426‐4109
MINNNE S NEWPORT                      4345 SEYBOLD RD                                                                                 DAYTON            OH    45426‐4109
MINNOCK, MARTHA J                     1010 MURRAY STREET                                                                              GRAND BLANC       MI    48439‐9385
MINNOZZI, ADAM J                      1595 LAURIE LN                                                                                  HINCKLEY          OH    44233‐9704
MINNS, JUDITH A                       12390 WAYFARER CT.                                                                              SHELBY TOWNSHIP   MI    48315‐3428
MINNS, LOLITA                         6141 NEWTON ABBOTT DR                                                                           SHREVEPORT        LA    71129‐3910
MINNS, WILLARD A                      1194 NORMANDY TERRACE DR                                                                        FLINT             MI    48532‐3550
MINNS, WILLIAM C                      6141 NEWTON ABBOTT DR                                                                           SHREVEPORT        LA    71129‐3910
MINO & GREG AUTOMOTIVE                11 W GUTIERREZ                      UNIT 3809                                                   SANTA FE          NM    87506‐0228
MINO & GREG AUTOMOTIVE                1761 STATE ROAD 502                                                                             SANTA FE          NM    87506‐8904
MINO, CRISTOBAL                       6254 E. ST RT 40                    LOT 43                                                      TIPP CITY         OH    45371‐9446
MINO, CRISTOBAL                       6254 US ROUTE 40 LOT 43                                                                         TIPP CITY         OH    45371‐9446
MINO, EVELYN D                        204 NASSAU DR                                                                                   PITTSBURGH        PA    15239‐2141
MINO, EVELYN D                        204 NASSAU                                                                                      PITTSBURGH        PA    15239‐2141
MINO, PATRICK A                       145 HOLIDAY PARK DR                                                                             PITTSBURGH        PA    15239‐2360
MINOCK, BRUCE A                       PO BOX 118                                                                                      LAKELAND          MI    48143‐0118
MINOCK, JANET L                       5621 HUNTERS GLEN DRIVE                                                                         GLEN ALLEN        VA    23059‐6970
MINOCK, JOHN J                        525 THOMPSON LAKE AVE                                                                           HOWELL            MI    48843
MINOGUE, DENNIS                       135 PROSPECT PARK SOUTH WEST                                                                    BROOKLYN          NY    11218
MINOIA, EDITH L                       26 RAVEN WOOD                                                                                   ROCHESTER         NY    14624‐4457
MINOL LP                              15280 ADDISON RD STE 100                                                                        ADDISON           TX    75001‐4503
MINOLETTI, JANE P                     4375 CAHILL DR                                                                                  TROY              MI    48098‐4488
MINOLETTI, VIRGINIA                   49715 WINTERGREEN DR                                                                            SHELBY TWP        MI    48315‐3446
MINOR CHRIS                           MINOR, CHRIS                        104 W NELSON ROAD                                           MONROE            LA    71203
MINOR FRANKS                          3016 CASTLE VALLEY DRIVE                                                                        BENTON            AK    72019
MINOR JAMES                           MINOR, JAMES                        429 W WESLEY ST                                             WHEATON            IL   60187‐4925
MINOR JAMES (481247)                  KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND         OH    44114
                                                                          BOND COURT BUILDING
MINOR JR, ANDREW                      3216 COUNTRY LAWN DR                                                                            ANTIOCH           TN 37013‐1238
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Name                        Address1                            Address2                        Address3   Address4         City             State Zip
MINOR JR, JESSE             10020 TERRY ST                                                                                  DETROIT           MI 48227‐2475
MINOR KINSER                4763 MORGANTOWN RD                                                                              BROWNSVILLE       KY 42210‐8213
MINOR LAWRENCE E (404337)   ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                         NEW YORK          NY 10006‐1638
MINOR LEAMON J (496142)     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                SAGINAW           MI 48604‐2602
                                                                260
MINOR LEMLEY                1158 MANITOULIN PIKE                                                                            BRUNSWICK        OH   44212‐2823
MINOR MICHAEL               4483 E HARBORS EDGE DR 81                                                                       PORT CLINTON     OH   43452
MINOR PALM JR               8245 MENDOTA ST                                                                                 DETROIT          MI   48204‐3028
MINOR REESE                 THE MADEKSHO LAW FIRM               8866 GULF FREEWAY STE 440                                   HOUSTON          TX   77017
MINOR SR, JULIAN F          116 PHYLLIS DR                                                                                  NEWARK           DE   19711‐6606
MINOR SR, TERENCE E         5038 NORTH WOODBRIDGE TRAIL                                                                     STONE MTN        GA   30088‐1735
MINOR SR, TERENCE E.        5038 NORTH WOODBRIDGE TRAIL                                                                     STONE MTN        GA   30088‐1735
MINOR THOMAS                1570 W 7 MILE RD                                                                                DETROIT          MI   48203‐1703
MINOR WILLIAMS JR           3430 GREENWOOD DR                                                                               ROCHESTER HLS    MI   48309‐3929
MINOR WILLIE (484870)       KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND        OH   44114
                                                                BOND COURT BUILDING
MINOR, ALVINA S             3322 KETTERING RD                                                                               SAGINAW          MI   48603‐2301
MINOR, ANGELA D             2148 COUNTY ROAD 328                                                                            DAWSON           AL   35963
MINOR, ARDEILIA E           5038 N WOODBRIDGE TRL                                                                           STONE MOUNTAIN   GA   30088‐1735
MINOR, AYRRICKA             5086 BOSUNS WAY APT B4                                                                          YPSILANTI        MI   48197‐8317
MINOR, BARBARA C            15761 MAIN ST                                                                                   TOWN CREEK       AL   35672‐4043
MINOR, BASIL E              2245 S RIVER RD                                                                                 SAGINAW          MI   48609‐5385
MINOR, BETTY J              3072 N JENNINGS RD                                                                              FLINT            MI   48504‐1732
MINOR, BRENDA J             9703 GROVE CREST LANE               APARTMENT 1604                                              CHARLOTTE        NC   28262
MINOR, BRENDA J             APT 1604                            9703 GROVE CREST LANE                                       CHARLOTTE        NC   28262‐7480
MINOR, CARRIE M             14815 ASHLIN PINES LANES                                                                        HUMBLE           TX   77396
MINOR, CATHERINE            6413 VALORIE LN                                                                                 FLINT            MI   48504‐3615
MINOR, CHARLES              2590 JOHN QUILL DR                                                                              MEMPHIS          TN   38133
MINOR, CHARLES J.           SHANNON LAW FIRM                    100 W GALLATIN ST                                           HAZLEHURST       MS   39083‐3007
MINOR, CHRIS                104 W NELSON RD                                                                                 MONROE           LA   71203‐9534
MINOR, CHRISTY L            2932 BERKLEY DR                                                                                 EDMOND           OK   73034
MINOR, CLARK E              11826 TENNYSON DR                                                                               CINCINNATI       OH   45241‐2192
MINOR, CURTIS               2053 WYNDHAM HILLS DRIVE                                                                        HOLT             MI   48842‐1097
MINOR, DAVID                SHANNON LAW FIRM                    100 W GALLATIN ST                                           HAZLEHURST       MS   39083‐3007
MINOR, DEBRA A              116 PHYLLIS DR                                                                                  NEWARK           DE   19711‐6606
MINOR, DON K                40477 W 134TH ST                                                                                RICHMOND         MO   64085‐9254
MINOR, DONALD K             1472 SALT SPRINGS RD                                                                            WARREN           OH   44481‐9623
MINOR, DONLEY D             PO BOX 2454                                                                                     GARDENA          CA   90247‐0454
MINOR, EDDIE                PORTER & MALOUF PA                  4670 MCWILLIE DR                                            JACKSON          MS   39206‐5621
MINOR, EDWARD               PORTER & MALOUF PA                  4670 MCWILLIE DR                                            JACKSON          MS   39206‐5621
MINOR, ELIZABETH G          3376 A EAGLES LOFT.                                                                             CORTLAND         OH   44410‐9291
MINOR, ELIZABETH G          3376 EAGLES LOFT UNIT A                                                                         CORTLAND         OH   44410‐9291
MINOR, EMOGENE L            6015 W 119TH ST APT 2111                                                                        OVERLAND PARK    KS   66209‐3706
MINOR, EMOGENE L            6015 WEST 119TH STREET              APT 2111                                                    OVERLAND PARK    KS   66209
MINOR, ERIC B               23334 HICKORY CREEK DR                                                                          MACOMB           MI   48042‐5029
MINOR, FANNIE M             6718 COUNTY ROAD 15                                                                             FLORENCE         AL   35633‐5501
MINOR, FRANKIE              415 S 13TH ST                                                                                   SAGINAW          MI   48601‐1950
MINOR, FREDA JANE           4412 PIERCE                                                                                     FORT WORTH       TX   76119‐4016
MINOR, FREDA JANE           4412 PIERCE ST                                                                                  FORT WORTH       TX   76119‐4016
MINOR, GARY L               2547 57TH PL N                                                                                  ST PETERSBURG    FL   33714‐2023
MINOR, GERALD J             29 PINEHURST AVE.                                                                               YOUNGSTOWN       OH   44512‐4512
MINOR, GLEN D               120 S 6TH ST                                                                                    LEXINGTON        MO   64067‐1266
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Name                Address1                              Address2                       Address3   Address4         City               State Zip
MINOR, GRACE A      10130 BLAKENEY PRESERVE DRIVE                                                                    CHARLOTTE           NC 28277‐5702
MINOR, HANNAH       2547 57TH PL N                                                                                   ST PETERSBURG       FL 33714‐2023
MINOR, IKE          SHANNON LAW FIRM                      100 W GALLATIN ST                                          HAZLEHURST          MS 39083‐3007
MINOR, IKE          4708 LILLIE ST                                                                                   FORT WAYNE          IN 46806‐4818
MINOR, JAMES        KELLEY & FERRARO LLP                  1300 EAST NINTH STREET, 1901                               CLEVELAND           OH 44114
                                                          BOND COURT BUILDING
MINOR, JAMES C      6777 MERTENS RD                                                                                  DEVALLS BLUFF      AR   72041‐9856
MINOR, JAMES M      PO BOX 7126                                                                                      LONGVIEW           TX   75607‐7126
MINOR, JAMES M      333 E DODD ST                                                                                    LONGVIEW           TX   75603‐5825
MINOR, JAMES N      5103 S. MEENNAH AVE                                                                              CHICAGO            IL   60638
MINOR, JANET        UPPR                                  3469 EAST 119TH STREET                                     CLEVELAND          OH   44120‐4315
MINOR, JANET        3155 YORKSHIRE RD                                                                                CLEVELAND HTS      OH   44118‐2429
MINOR, JERRY L      312 3RD AVE                                                                                      COLUMBIA           TN   38401‐2918
MINOR, JERRY W      1312 CLARITA ST                                                                                  YPSILANTI          MI   48198‐8204
MINOR, JO A         3012 WINTHROP LN                                                                                 KOKOMO             IN   46902‐4578
MINOR, JOHN E       802 W ALMA AVE                                                                                   FLINT              MI   48505‐1944
MINOR, JOYCE        829 GRN VALLEY CIR W                                                                             BURLESON           TX   76028
MINOR, JULIANE      328 W SANTA GERTRUDIS ST APT A                                                                   KINGSVILLE         TX   78363‐4443
MINOR, L M          1890 EMBARCADERO WAY                                                                             NORTH FORT MYERS   FL   33917‐6748
MINOR, LAWRENCE     SHANNON LAW FIRM                      100 W GALLATIN ST                                          HAZLEHURST         MS   39083‐3007
MINOR, LAWRENCE E   ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                        NEW YORK           NY   10006‐1638
MINOR, LAWRENCE K   3715 OAKWOOD AVE                                                                                 YOUNGSTOWN         OH   44505‐1433
MINOR, LEAMON J     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW            MI   48604‐2602
                                                          260
MINOR, LEO C        35535 BROOKE CT                                                                                  NEW BALTIMORE      MI   48047‐1137
MINOR, LEO CLYDE    35535 BROOKE CT                                                                                  NEW BALTIMORE      MI   48047‐1137
MINOR, LETHA R      515 3RD AVE                                                                                      JOLIET             IL   60433‐1917
MINOR, LETHA R      515 THIRD AVENUE                                                                                 JOLIET             IL   60433‐1917
MINOR, LORNE E      39763 FORBES DR                                                                                  STERLING HTS       MI   48310‐2511
MINOR, MARGERY I    100 N GARY AVE APT 202                                                                           WHEATON            IL   60187‐4989
MINOR, MARY F       PO BOX 124                                                                                       GARDEN             MI   49835‐0124
MINOR, MARY J       8023 1/2 N 30TH ST                                                                               OMAHA              NE   68112‐2460
MINOR, MELBA JO     633 W PHILADELPHIA BLVD B                                                                        FLINT              MI   48505
MINOR, MELONEY P    1001 KIMBALL AVE                                                                                 KANSAS CITY        KS   66104‐5232
MINOR, MICHAEL      4036 COTTONWOOD CT                                                                               LEWISBURG          TN   37091‐6693
MINOR, MICHAEL D    3711 RAIBLE AVENUE                                                                               ANDERSON           IN   46011‐4733
MINOR, NORMA DAWN   477 W HIGHLAND ST                                                                                WHITE CLOUD        MI   49349‐9490
MINOR, NORMA DAWN   477 WEST HIGHLAND STREET                                                                         WHITE CLOUD        MI   49349‐9490
MINOR, PRENTISS     SHANNON LAW FIRM                      100 W GALLATIN ST                                          HAZLEHURST         MS   39083‐3007
MINOR, PRINCELLA    6090‐04 WOODFIELD DR                                                                             GRAND RAPIDS       MI   49548
MINOR, PRINCELLA    1845 EASTERN AVE SE                                                                              GRAND RAPIDS       MI   49507‐2719
MINOR, RALPH J      3421 E 12TH ST                                                                                   WHITE CLOUD        MI   49349‐9538
MINOR, RAYMOND A    2747 SOLDIERS HOME WEST CAR RD                                                                   DAYTON             OH   45418‐2451
MINOR, RAYMOND A    2747 SLDRS HOME W CAR                                                                            DAYTON             OH   45418‐2451
MINOR, REGINALD     PO BOX 211                                                                                       RUTHER GLEN        VA   22546‐0211
MINOR, RICHARD A    4843 WESTCHESTER DR A 321                                                                        AUSTINTOWN         OH   44515
MINOR, ROBERT D     PO BOX 272                                                                                       LEWISTON           MI   49756‐0272
MINOR, RONALD E     103 S HUGHES RD                                                                                  HOWELL             MI   48843‐9176
MINOR, RONALD E     8450 EASTWAY DR                                                                                  WHITE LAKE         MI   48386‐3584
MINOR, RONALD E     103 S. HUGHES ROAD                                                                               HOWELL             MI   48843‐9176
MINOR, ROSALEE      1813 SPRINGFIELD ST                                                                              FLINT              MI   48503‐4579
MINOR, RUDOLPH      308 MANSION DR APT 12                                                                            PERRYVILLE         MD   21903‐2648
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Name                                     Address1                           Address2                       Address3   Address4         City              State Zip
MINOR, SAMMIE L                          1446 COUNTY ROAD 78                                                                           ALICEVILLE         AL 35442‐4769
MINOR, SAMMIE L                          715 5TH ST NW                                                                                 ALICEVILLE         AL 35442‐1604
MINOR, SCOTT                             4036 COTTONWOOD CT                                                                            LEWISBURG          TN 37091‐6693
MINOR, SCOTT D                           539 S BATES ST                                                                                BIRMINGHAM         MI 48009‐1422
MINOR, SHELBY L                          APT B4                             5086 BOSUNS WAY                                            YPSILANTI          MI 48197‐8317
MINOR, SHELBY LEE                        APT B4                             5086 BOSUNS WAY                                            YPSILANTI          MI 48197‐8317
MINOR, SHIRLEY A                         4036 COTTONWOOD CT                                                                            LEWISBURG          TN 37091‐6693
MINOR, SIDNEY R                          3513 MINGER RD                                                                                INDIANAPOLIS       IN 46222‐1041
MINOR, STEPHANIE P                       6112 MASSEY RD                                                                                SPOTSYLVANIA       VA 22551‐6123
MINOR, SUSAN L                           2630 S KEYSTONE AVE                                                                           INDIANAPOLIS       IN 46203‐5563
MINOR, SUSAN M                           4406 AIRPORT RD                                                                               CRANDON            WI 54520
MINOR, THELMA B                          123 CHICAGO AVE.                                                                              YOUNGSTOWN         OH 44507‐1321
MINOR, THOMAS F                          38 MILLS AVE                                                                                  PORT MONMOUTH      NJ 07758‐1127
MINOR, THOMAS J                          26258 W AZTEC CIR                                                                             FLAT ROCK          MI 48134‐1716
MINOR, TONY                              SHANNON LAW FIRM                   100 W GALLATIN ST                                          HAZLEHURST         MS 39083‐3007
MINOR, TONYA                             1028 W GALLMAN RD                                                                             HAZLEHURST         MS 39083‐9524
MINOR, TOWSON K                          160 RHUM RD                        # 13                                                       KERRVILLE          TX 78028
MINOR, WILLIAM                           530 SANDPIPER TRL SE                                                                          WARREN             OH 44484‐2480
MINOR, WILLIAM R.                        530 SANDPIPER TRL SE                                                                          WARREN             OH 44484‐2480
MINOR, WILLIE                            KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND          OH 44114
                                                                            BOND COURT BUILDING
MINOR, WILLIE E                          SHANNON LAW FIRM                   100 W GALLATIN ST                                          HAZLEHURST        MS   39083‐3007
MINOR, WILLIE E                          5819 ROCKINGHAM DR                                                                            LANSING           MI   48911‐4320
MINORE, STEFFAN W                        7405 W FARRAND RD                                                                             CLIO              MI   48420‐9470
MINORE, WILLIAM J                        19552 DORSET ST                                                                               SOUTHFIELD        MI   48075‐7112
MINORITY ACHIEVERS PROGRAM               7375 WOODWARD AVE # 2600                                                                      DETROIT           MI   48202‐3157
MINORITY ALLIANCE
MINORITY ALLIANCE                        CROWLEY.K@MAC‐LEASING.COM          6960 ORCHARD LAKE ROAD                                     WEST BLOOMFIELD   MI   48322
MINORITY ALLIANCE CAPITAL                C/O CITICAPITAL                    2300 CABOT DR STE 300                                      LISLE             IL   60532‐4616
MINORITY ALLIANCE CAPITAL                6960 ORCHARD LAKE RD STE 306                                                                  WEST BLOOMFIELD   MI   48322‐4527
MINORITY ALLIANCE CAPITAL                MERRILL LYNCH                      135 S LA SALLE DEPT 4660                                   CHICAGO           IL   60674‐4660
MINORITY ALLIANCE CAPITAL                PO BOX                                                                                        CLEVELAND         OH   44101
MINORITY ALLIANCE CAPITAL                C/O GE CAPITAL                     PO BOX 3083                                                CEDAR RAPIDS      IA   52406‐3083
MINORITY ALLIANCE CAPITAL                C/O GE CAPITAL SOLUTIONS           PO BOX 360189                                              PITTSBURGH        PA   15251‐6189
MINORITY ALLIANCE CAPITAL                C/O WINMARK EQUIPMENT FINANCE      901 MAIN ST FL 19                                          DALLAS            TX   75286‐0001
MINORITY ALLIANCE CAPITAL (BANK OF       TFINANCELLC                        PO BOX 404247                                              ATLANTA           GA   30384‐4247
AMERICA)
MINORITY ALLIANCE CAPITAL LLC            170 WOOD AVE S                                                                                ISELIN            NJ   08830‐2704
MINORITY ALLIANCE CAPITAL LLC            PO BOX 3083                                                                                   CEDAR RAPIDS      IA   52406‐3083
MINORITY ALLIANCE CAPITAL LLC            6960 ORCHARD LAKE RD STE 306                                                                  WEST BLOOMFIELD   MI   48322‐4527
MINORITY ALLIANCE CAPITAL LLC (LESSOR)   6960 ORCHARD LAKE ROAD             SUITE 306                                                  WEST BLOOMFIELD   MI   48322

MINORITY ALLIANCE CAPITAL LLC (LESSOR) ATTN: CORPORATE OFFICER/AUTHORIZED   6960 ORCHARD LAKE RD STE 306                               WEST BLOOMFIELD   MI 48322‐4527
                                       AGENT
MINORITY AUTO HANDLING SPECIALISTS     9850 PELHAM RD                                                                                  TAYLOR            MI 48180‐3852
INC
MINORITY BUSINESS ENTERPRISE           3011 W GRAND BLVD # 230                                                                         DETROIT           MI   48202‐3042
MINORITY BUSINESS NEWS                 PO BOX 740367                                                                                   DALLAS            TX   75374‐0367
MINORITY, TV CO INC                    410 CLAY ST                                                                                     BOWLING GREEN     KY   42101‐1129
MINORITY, TV CO INC                    9850 PELHAM RD                                                                                  TAYLOR            MI   48180‐3852
MINORITY, TV CO INC                    GREGORY POWRIE                       9850 PELHAM RD                                             TAYLOR            MI   48180‐3852
MINORITY, TV CO INC                    JASON LEACH                          1700 EAST MONUMENT AVE                                     DAYTON            OH   45402
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Name                           Address1                           Address2               Address3   Address4                City              State Zip
MINORITY, TV CO INC            MARK WAGNER                        9850 PELHAM RD                                            TAYLOR             MI 48180‐3852
MINORITY, TV CO INC            NORM KLEIN                         9850 PELHAM RD                                            TAYLOR             MI 48180‐3852
MINORITY, TV CO INC            NORM KLEIN JR                      9850 PELHAM RD                                            TAYLOR             MI 48180‐3852
MINORITY, TV CO INC            NORM KLEIN JR                      9851 PELHAM RD                                            TAYLOR             MI 48180
MINOT TIRES INC.               1301 20TH AVE SW                                                                             MINOT              ND 58701‐6451
MINOTAS, JOHN T                640 TIMBERLINE DR                                                                            ROCHESTER HILLS    MI 48309‐1313
MINOTT, JESSICA L              106 ESSEX ST                                                                                 CLAWSON            MI 48017‐1775
MINOTT, JESSICA LOU            106 ESSEX ST                                                                                 CLAWSON            MI 48017‐1775
MINOTT, KEITH E                26680 SUMMERDALE UNIT NO. 6                                                                  SOUTHFIELD         MI 48033
MINOTT, KENNETH J              515 HERMES AVE                                                                               AURORA              IL 60505‐2225
MINOTT, LARRY E                2003 N GRANITE DR                                                                            JANESVILLE         WI 53548‐8420
MINOTT, NORMA J                19029 US HWY 19 N                  BUILDING 26 UNIT 102                                      CLEARWATER         FL 33764
MINOTT, ROBERT A               5420 BEAVER DAM LN                                                                           MINT HILL          NC 28227‐9304
MINOTT, ROBERT D               19029 US HIGHWAY 19 N APT 26‐102                                                             CLEARWATER         FL 33764‐3043
MINOTTI, BONNIE LOU            1722 DEVONSHIRE DR                                                                           SALEM              OH 44460‐3624
MINOTTI, BRENT A               3260 WARREN RAVENNA RD                                                                       NEWTON FALLS       OH 44444
MINOTTI, DONALD E              677 ROOSEVELT ST NW                                                                          WARREN             OH 44483‐3139
MINOTTI, ELVINA C              5263 CALLA STREET                                                                            WARREN             OH 44483‐1221
MINOTTI, ELVINA C              5263 CALLA AVE NW                                                                            WARREN             OH 44483‐1221
MINOTTI, LAURA J               PO BOX 2722                                                                                  STATELINE          NV 89449‐2722
MINOTTI, LINDA M               2134 TIBBETTS WICK RD                                                                        GIRARD             OH 44420‐1227
MINOTTI, PAMELA L              677 ROOSEVELT ST NW                                                                          WARREN             OH 44483‐3139
MINOTTI, PATTY W               8637 HUNTERS TRL SE                                                                          WARREN             OH 44484‐2412
MINOTTI, SAMUEL L              8230 DAWSON DRIVE SOUTHEAST                                                                  WARREN             OH 44484‐3014
MINOTTO LINO                   VIA S CROCE 18                                                       35011 CAMPODARSEGO PD
                                                                                                    ITALY
MINOTTO LINO                   VIA S. CROCE 18                    CAMPODARSEGO           PADOVA     35010
MINSEL, CURTIS F               2010 AYERSVILLE AVE                                                                          DEFIANCE          OH 43512‐3615
MINSEONG, KANG
MINSHALL JR, THOMAS E          1150 DRURY LN                                                                                FLUSHING          MI   48433‐1489
MINSHALL, EVELYN M             14713 COLTER WAY                                                                             MAGALIA           CA   95954‐9205
MINSHALL, KERRY J              808 CINDY ST                                                                                 MASON             MI   48854‐1812
MINSHALL, NORMAN A             7633 AUTUMN ST                                                                               PORTAGE           MI   49002‐9448
MINSHEW, LARRY J               106 FIRECREST DR                                                                             BRANDON           MS   39042‐1931
MINSHEW, WILLIE M              259 MINSHEW DR                                                                               ALTOONA           AL   35952‐8028
MINSKE, SHEILA M               1311 WEST 31ST STREET                                                                        MINNEAPOLIS       MN   55408‐2704
MINSKY, WENDY A                17706 SAYRE AVE                                                                              TINLEY PARK       IL   60477‐3909
MINSON, D H                    1731 SPRING LAKE DR                                                                          ARLINGTON         TX   76012‐2316
MINSOR POWERTRAIN SYS LLC      DBA PROMET                         950 BRIDGEVIEW N                                          SAGINAW           MI   48604‐1166
MINSOR SYSTEM INC              4068 BALDWIN RD                                                                              HOLLY             MI   48442‐9326
MINSTER MACHINE CO             240 W 5TH ST                                                                                 MINSTER           OH   45865‐1065
MINSTER MACHINE CO, THE        240 W 5TH ST                       PO BOX 120                                                MINSTER           OH   45865‐1065
MINSTER MECHANICAL SALES INC   2120 S HALSTED ST                                                                            CHICAGO HEIGHTS   IL   60411‐4282
MINSTER, ARTHUR N              125 CEDAR RIDGE DR APT S339                                                                  WEST BEND         WI   53095‐3676
MINSTER, BEVERLY               1617 SOUTH MONROE                                                                            BAY CITY          MI   48708‐8099
MINSTER, BEVERLY               1617 S MONROE ST                                                                             BAY CITY          MI   48708‐8099
MINSTER, FRED E                11694 SW 139TH ST                                                                            DUNNELLON         FL   34432‐8764
MINSTER, GEORGE W              2963 PEPPERBERRY DR                                                                          BAY CITY          MI   48706‐3070
MINSTER, LOIS B                9525 UNION ST                                                                                SCOTTSVILLE       NY   14546‐9511
MINT M THOMPSON                108 1/2 N L ST APT B                                                                         TILTON            IL   61833‐7456
MINTA UPTON                    228 TOM SMITH LN                                                                             LIVINGSTON        TN   38570‐8268
MINTEER, GARRETH T             PO BOX 20622                                                                                 LOUISVILLE        KY   40250‐0622
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Name                             Address1                          Address2                          Address3   Address4         City            State Zip
MINTEER, JOHN                    2624 143RD PLACE SE                                                                             MILL CREEK       WA 98012‐8012
MINTEER, JOHN                    3832 171ST PL NE                                                                                BELLEVUE         WA 98008
MINTEN, MARY C                   PO BOX 1437                                                                                     ABERDEEN         NC 28315‐1437
MINTEN, RAYMOND J                PO BOX 1437                                                                                     ABERDEEN         NC 28315‐1437
MINTER & CHARLOTTE CARPENTER     MCKENNA & ASSOCIATES PC           436 BOULEVARD OF THE ALLIES STE                               PITTSBURGH       PA 15219
                                                                   500
MINTER CHARLES E (481904)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                   STREET, SUITE 600
MINTER DONALD M (352952)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                   STREET, SUITE 600
MINTER HUTCHINS                  5547 LINSDALE ST                                                                                DETROIT         MI 48204‐3603
MINTER JR, BUNNIE C              765 RODNEY DR SW                                                                                ATLANTA         GA 30311‐2333
MINTER L CARPENTER & CHARLOTTE   MCKENNA & ASSOCIATES PC           436 BOULEVARD OF THE ALLIES STE                               PITTSBURGH      PA 15219‐1331
CARPENTER                                                          500
MINTER LAUREN L (626665)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                   STREET, SUITE 600
MINTER SR, MIKE P                135 LONGWOOD DR                                                                                 JONESBORO       GA   30236‐5565
MINTER TOM                       75 STONEBROOKE                                                                                  TROY            IL   62294‐2467
MINTER, CARRIE L                 PO BOX 621                                                                                      BUFFALO         NY   14201‐0621
MINTER, CHARLES E                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510‐2212
                                                                   STREET, SUITE 600
MINTER, DONALD M                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510‐2212
                                                                   STREET, SUITE 600
MINTER, DOROTHY J                819 NEWTON STREET                                                                               DENTON          TX   76205‐6234
MINTER, EARL D                   24734 LYNDON                                                                                    REDFORD         MI   48239‐3308
MINTER, ELAINE M                 PO BOX 393                        10714 RT303                                                   WINDHAM         OH   44288‐0393
MINTER, FLORENCE L               819 NEWTON ST                                                                                   DENTON          TX   76205‐6234
MINTER, GARRETT                  24810 GLENBROOKE DR                                                                             SOUTHFIELD      MI   48033‐2502
MINTER, JACK C                   BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                                 DALLAS          TX   75219
MINTER, JAMES E                  3278 EDINWICK WAY                                                                               COLUMBUS        OH   43232
MINTER, JOHN A                   6960 STATE ROUTE 162 APT 328                                                                    MARYVILLE       IL   62062‐8540
MINTER, JUANITA                  7950 MARKET ST APT 2                                                                            BOARDMAN        OH   44512‐5934
MINTER, LARRY J                  1269 N 950 E                                                                                    CHURUBUSCO      IN   46723‐9519
MINTER, LAUREN L                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510
                                                                   STREET, SUITE 600
MINTER, MARY J                   1728 LAKEVIEW AVE                                                                               LORAIN          OH   44053‐1020
MINTER, MARY J                   1728 LAKEWVIEW AVE                                                                              LORAIN          OH   44053‐1020
MINTER, PAUL M                   3700 E 4TH STREET                                                                               DAYTON          OH   45403‐2832
MINTER, PAUL M                   3700 E 4TH ST                                                                                   DAYTON          OH   45403‐2832
MINTER, RAYMOND                  27577 LAHSER RD APT 330                                                                         SOUTHFIELD      MI   48034
MINTER, RHONDA V                 24810 GLENBROOKE DR                                                                             SOUTHFIELD      MI   48033‐2502
MINTER, RICHARD L                PO BOX 393                                                                                      WINDHAM         OH   44288‐0393
MINTER, ROGER D                  1525 GABRIEL DRIVE                                                                              LAWRENCEVILLE   GA   30043‐4289
MINTER, SANDRA E                 3646 MECKLINBURG PL                                                                             DECATUR         GA   30032‐3867
MINTER, THOMAS                   123 AUBURN AVE                                                                                  BUFFALO         NY   14213‐1514
MINTER, THOMAS W                 75 STONEBROOKE                                                                                  TROY            IL   62294‐2467
MINTER, THOMAS W.                75 STONEBROOKE                                                                                  TROY            IL   62294‐2467
MINTER, WILLIAM H                315 E BOSTON AVE                                                                                YOUNGSTOWN      OH   44507‐1761
MINTER, WILLIAM S                451 MCINTOSH                                                                                    ALMONT          MI   48003‐8738
MINTERFERING, MICHAEL R          6472 LEWIS RD                                                                                   MOUNT MORRIS    MI   48458‐2553
MINTERS, ETHEL M                 17412 WALDEN AVE                                                                                CLEVELAND       OH   44128‐1612
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Name                         Address1                             Address2                        Address3             Address4                  City            State Zip
MINTH GROUP LTD                                                   YARD CRICKET S HUTCHINS DRIVE                        GEORGE TOWN GRAND
                                                                                                                       CAYMAN,KY,0,CAYMAN
                                                                                                                       ISLANDS
MINTH GROUP LTD              2240 RICHARD ST                                                                                                     DAYTON          OH    45403‐2551
MINTH GROUP LTD              3909 RESEARCH BLVD                                                                                                  DAYTON          OH    45430‐2109
MINTH GROUP LTD              935 AULERICH RD                                                                                                     EAST TAWAS      MI    48730‐9565
MINTH GROUP LTD              KATHY MITCHELL                       3909 RESEARCH BLVD              PLASTIC TRIM                                   DAYTON          OH    45430‐2109
MINTH GROUP LTD              KATHY MITCHELL                       PLASTIC TRIM                    3909 RESEARCH BLVD                             NORWALK         CT    06851
MINTH GROUP LTD              YARD CRICKET S HUTCHINS DRIVE                                                             GEORGE TOWN GRAND
                                                                                                                       CAYMAN KY CAYMAN
                                                                                                                       ISLANDS
MINTH INTERNATIONAL LTD      3/F SHUN FENG INTERNATIONAL          CENTRE 182 QUEENS RD EAST                            HONG KONG
MINTH INTERNATIONAL LTD      #1 YAZHONG RD                        ASIA‐PACIFIC PARK                                    NANHU DISTRICT, JIAXING
                                                                                                                       PR CHINA
MINTH INTERNATIONAL LTD      3/F SHUN FENG INTERNATIONAL CENTRE   182 QUEENS ROAD EAST                                 WANCHAI HONK KONG
                                                                                                                       315800 HONG KONG,
                                                                                                                       CHINA
MINTLINE, EDWARD M           PO BOX 2100                                                                                                         TWAIN HARTE     CA    95383‐2100
MINTLINE, JEFFREY A          1009 S FRANKLIN AVE                                                                                                 FLINT           MI    48503‐6407
MINTNER, LINDA S             W145S7845 DURHAM DR                                                                                                 MUSKEGO         WI    53150‐3807
MINTNER, MIKE R              W145 7845 S DURHAM DR                                                                                               MUSKEGO         WI    53150
MINTO, CATHERINE M           9007 E COLDWATER RD                                                                                                 DAVISON         MI    48423‐8936
MINTO, EVERETT L             4631 E WEBB RD                                                                                                      YOUNGSTOWN      OH    44515‐1218
MINTO, JOHN W                10 5TH ST                                                                                                           ELIZABETH       NJ    07206‐1102
MINTO, MARC E                1466 HARDING AVE BOX 483                                                                                            MINERAL RIDGE   OH    44440
MINTO, MARVIN M              460 N MIDLAND ST                                                                                                    MERRILL         MI    48637‐9415
MINTO, PATTY J               2655 S M‐76                                                                                                         WEST BRANCH     MI    48661
MINTO, RICHARD C             400 BOONE ST                                                                                                        FLORISSANT      MO    63031‐5704
MINTO, THOMAS A              48 BONNIE BRAE RD                                                                                                   LUPTON          MI    48635‐9772
MINTO, THOMAS D              36 BONNIE BRAE RD                                                                                                   LUPTON          MI    48635‐9772
MINTO, THOMAS DAVID          36 BONNIE BRAE RD                                                                                                   LUPTON          MI    48635‐9772
MINTON CARL H & AUDREY J     1268 TAIT RD SW                                                                                                     WARREN          OH    44481‐8655
MINTON CHARLES               3248 NC HIGHWAY 268                                                                                                 LENOIR          NC    28645‐6550
MINTON EDNA                  MINTON, EDNA                         800 THOMAS LANE                                                                LILLIAN         TX    76061
MINTON EVELYN M              5412 PALMYRA RD SW                                                                                                  WARREN          OH    44481‐9785
MINTON JAMES E (352573)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA    23510
                                                                  STREET, SUITE 600
MINTON JR, JODIE L           940 E ALMA DR                                                                                                       WILMINGTON      IL    60481‐1601
MINTON REBECCA               816 N ATLANTA ST                                                                                                    METAIRIE        LA    70003‐6912
MINTON ROAD SERVICE CENTER   5164 MINTON RD NW                                                                                                   PALM BAY        FL    32907‐1101
MINTON, ALAN L               13805 RICHEY RD                                                                                                     VAN WERT        OH    45891‐9170
MINTON, ANNE J               12212 EAST 49TH STREET SOUTH                                                                                        INDEPENDENCE    MO    64055‐5715
MINTON, CAROLYN R            PO BOX 1146                                                                                                         LONDON          KY    40743‐1146
MINTON, CHARLES              1350 MORRIS AVE                                                                                                     UNION           NJ    07083‐3312
MINTON, CHARLES D            9330 STATE ROUTE 136                                                                                                WEST UNION      OH    45693‐8997
MINTON, CHRIS A              3907 OLD PLACE RD                                                                                                   ARLINGTON       TX    76016‐2736
MINTON, CHRIS D              3483 E COUNTY ROAD 350 S                                                                                            DANVILLE        IN    46122‐8418
MINTON, CLARENCE E           5269 LINWORTH RD                                                                                                    COLUMBUS        OH    43235‐3428
MINTON, DENISE K             5245 OTTER LAKE RD                                                                                                  OTTER LAKE      MI    48464‐9760
MINTON, DORIS J              406 NE 8TH AVE                                                                                                      OKEECHOBEE      FL    34972‐4509
MINTON, EARL W               9050 MCKENDREE RD                                                                                                   MT STERLING     OH    43143‐9120
MINTON, EDNA                 800 THOMAS LANE                                                                                                     LILLIAN         TX    76061
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MINTON, EDNA           PO BOX 169                                                                                    LILLIAN            TX 76061‐0169
MINTON, EUNICE C       6878‐C THYME LANE                                                                             INDIANAPOLIS       IN 46241‐2962
MINTON, FRANCIS R      3603 ST RD                          58 EAST                                                   HELTONVILLE        IN 47436
MINTON, GEORGE K       1335 E PARK RD                                                                                GRAND ISLAND       NY 14072‐2314
MINTON, GLENN A        16298 JAKES RD                                                                                LACHINE            MI 49753‐9202
MINTON, HELEN E        912 COUNTY ROAD 324                                                                           JONESBORO          AR 72401‐9030
MINTON, HELEN E        912 CR324                                                                                     JONESBORO          AR 72401‐9030
MINTON, JAMES E        3030 HALLBROOK DR                   BOX 32                                                    KNOXVILLE          TN 37918
MINTON, JAMES E        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                           STREET, SUITE 600
MINTON, JAMES E        PO BOX 32                           3030 HALLBROOK DRIVE                                      KNOXVILLE         TN   37901‐0032
MINTON, JANICE J       1404 MIDDLETREE RD                                                                            JOLIET            IL   60433‐2913
MINTON, JOANN          6895 EAST ROSS RD                                                                             NEW CARLISLE      OH   45344‐9670
MINTON, JOHN L         3377 ELLIS PARK DR                                                                            BURTON            MI   48519‐1413
MINTON, JOHNNY E       6146 CONCORD PASS                                                                             FLINT             MI   48506‐1645
MINTON, JONATHAN D     300 ETHELROB CIR                                                                              CARLISLE          OH   45005‐4295
MINTON, KALVIN A       794 LITTLE BEAVER CREEK RD                                                                    BOWLING GREEN     KY   42101‐9028
MINTON, KENNETH E
MINTON, KENNY W        1204 W 4TH ST                                                                                 IRVING            TX   75060‐2620
MINTON, LAWRENCE E     581 ARMAND DR                                                                                 TROY              OH   45373‐2788
MINTON, LAWRENCE E     581 ARMAND DRIVE                                                                              TROY              OH   45373‐5373
MINTON, LOIS M         148 MAGNOLIA LOOP                                                                             PORT ORANGE       FL   32128‐7505
MINTON, LUCILLE E      4217 KITRIDGE RD                                                                              HUBER HEIGHTS     OH   45424‐5807
MINTON, MAGALENE       2618 EASTWOOD DR                                                                              SANDUSKY          OH   44870‐5629
MINTON, MARGRETT R     12251 COUNTY ROAD 65                                                                          FOLEY             AL   36535‐4152
MINTON, MICHELLE G     13021 ALMOND DR                                                                               OKLAHOMA CITY     OK   73170‐1157
MINTON, MONTE          2618 EASTWOOD DR                                                                              SANDUSKY          OH   44870‐5629
MINTON, NOEL E         307 LAWTON AVE                                                                                SAVANNAH          GA   31404‐1741
MINTON, OTHA L         4153 COLLEGE AVE                                                                              KANSAS CITY       MO   64130‐1449
MINTON, OTHA L         4153 COLLEGE ST                                                                               KANSAS CITY       MO   64130‐1449
MINTON, PANSY I        3437 GAINSBORO ROAD                 EL JOBEAN                                                 PORT CHARLOTTE    FL   33953‐6033
MINTON, RAYBURN T      4255 MILLIS RD                                                                                NORTH BRANCH      MI   48461‐9741
MINTON, REBECCA JEAN   3338A EAGLES LOFT BOX 16                                                                      CORTLAND          OH   44410
MINTON, REX W          1817 PARK MEADOW LN                                                                           RICHARDSON        TX   75081‐2162
MINTON, RICHARD R      4608 DURHAM RD                                                                                SHELBY TWP        MI   48317‐2837
MINTON, RICHARD RAY    4608 DURHAM RD                                                                                SHELBY TWP        MI   48317‐2837
MINTON, RITA JOAN      PO BOX 320                                                                                    HAMBURG           NY   14075‐0320
MINTON, ROBERT N       703 SNOWMASS DR                                                                               ROCHESTER HILLS   MI   48309‐1325
MINTON, ROGER L        737 ROTHROCK DR                                                                               GALLOWAY          OH   43119‐8692
MINTON, ROGER L        1301 MODAFF ROAD                    UNIT C1                                                   NAPERVILLE        IL   60565‐8692
MINTON, RUSSELL L      16 BUNKER LN                                                                                  ROTONDA WEST      FL   33947‐2112
MINTON, SHIRLEY A      5070 WATERFORD                                                                                CLARKSTON         MI   48346‐3459
MINTON, STEVEN W       6290 TOWNSHIP LINE RD                                                                         WAYNESVILLE       OH   45068‐9526
MINTON, TERRELL E      510 S 300 E                                                                                   ANDERSON          IN   46017
MINTON, THOMAS A       1295 OLD SPRINGFIELD PIKE                                                                     XENIA             OH   45385‐1241
MINTON, VERA           5311 VERDUN DR                                                                                COLUMBUS          OH   43232‐6032
MINTON, VIOLET M       12787 W 108TH TER                                                                             OVERLAND PARK     KS   66210‐1141
MINTON, WILLIAM E      4150 ENGLAND BEACH RD                                                                         WHITE LAKE        MI   48383‐1719
MINTON, WILLIAM L      600 S WATER ST APT D                                                                          WILMINGTON        IL   60481‐1697
MINTURN, EVELYN M      612 FAIRWAY CT 612                                                                            PLANT CITY        FL   33565
MINTURN, EVELYN M      695 GRAFTON RD                      APT 8                                                     NEWARK            OH   43055
MINTURN, LESTER R      709 WOOD                            APT 135                                                   OLATHE            KS   66062
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Name                                    Address1                           Address2                         Address3                     Address4                City              State Zip
MINTURN, LESTER R                       709 S WOOD ST APT 135                                                                                                    OLATHE             KS 66062‐1882
MINTUS, ANGELA                          12915 CAVES RD                                                                                                           CHESTERLAND        OH 44026‐3014
MINTUS, DENNIS J                        3104 MEADOW LN NE                                                                                                        WARREN             OH 44483‐2632
MINTZ, CATHERINE L                      1480 GULF BLVD APT 907                                                                                                   CLEARWATER         FL 33767‐2853
MINTZ, EDWARD M                         45671 LARCHMONT DR                                                                                                       CANTON             MI 48187‐4722
MINTZ, EMO J.                           788 BAIR RD                                                                                                              DELTA              PA 17314‐8611
MINTZ, ERIC L                           13320 CRYSTAL AVE                                                                                                        GRANDVIEW          MO 64030‐3339
MINTZ, ERIC LEONARD                     13320 CRYSTAL AVE                                                                                                        GRANDVIEW          MO 64030‐3339
MINTZ, LEVIN, COHN, FERRIS, GLOVSKY &   ATTY FOR HITACHI, LTD., HITACHI    TOKICO (USA), INC. AND HITACHI   ATT: PAUL J. RICOTTA, ESQ.   ONE FINANCIAL CENTER    BOSTON             MA 02111
POPEO, P.C.                             AUTOMOTIVE PRODUCTS (USA), INC.,   CABLE INDIANA, INC.
MINTZE, EDDIE N                         11033 CLEARSPRING WAY                                                                                                    INDIANAPOLIS      IN   46239‐8840
MINUCCI JR, DANIEL J                    208 FORT DE FRANCE AVE                                                                                                   TOMS RIVER        NJ   08757‐4233
MINUNNI, MARILYN G                      73 PARK LANE CIRCLE                                                                                                      LOCKPORT          NY   14094‐4710
MINUS DAVID                             750 CHENE ST                                                                                                             DETROIT           MI   48207‐3933
MINUS JAVAIAS                           TOMMIE, SHAMAY                     3413 SALLY TOMMIE WAY                                                                 FORT PIERCE       FL   34945
MINUS JAVAIAS                           WHITEHEAD, DAVID                   7010 SALERNO RD                                                                       FORT PIERCE       FL   34951
MINUSKI, JOHN J                         380 SPRING HILL DR                                                                                                       HUNLOCK CREEK     PA   18621‐3323
MINUSKI, LOUISE E                       380 SPRING HILL DR                                                                                                       HUNLOCK CREEK     PA   18621‐3323
MINUT, ALBERTA                          18800 WESTWOOD DR APT 616                                                                                                STRONGSVILLE      OH   44136‐3436
MINUTE MUFFLER & BRAKE (CJL             1103E 18 ST SE                                                                                   HIGH RIVER AB T1V 2A9
HOLDINGS)                                                                                                                                CANADA
MINUTOLA, ANTHONY M                     703 CENTER LN                                                                                                            MIDDLETOWN        DE   19709‐8501
MINUTOLI SALVATORE                      C/O GOLDBERG PERSKY & WHITE PC     1030 FIFTH AVENUE                                                                     PITTSBURGH        PA   15219
MINUTOLO, GIOVANNI                      18102 KOESTER ST                                                                                                         RIVERVIEW         MI   48193‐7470
MINUTTE, GLADYS                         116 NEW ST                                                                                                               LEBANON           OH   45036‐1806
MINYARD, BENNIE J                       BOONE ALEXANDRA                    205 LINDA DR                                                                          DAINGERFIELD      TX   75638‐2107
MINYARD, BILLIE J                       8808 THE BRIERS CT                                                                                                       GRANBURY          TX   76049‐4020
MINYARD, EVE                            208 N PINECREST                                                                                                          BOLINGBROOK       IL   60440‐2406
MINYARD, JACK B                         241 GOODE RD LOT 1                                                                                                       MOORESBORO        NC   28114
MINYARD, JOHNNY R                       2515 NEW GROVE RD                                                                                                        SMITHS GROVE      KY   42171‐8818
MINYARD, JOHNNY RAY                     2515 NEW GROVE RD                                                                                                        SMITHS GROVE      KY   42171‐8818
MINYARD, LARRY G                        1729 FOSTER DRIVE                                                                                                        ARLINGTON         TX   76012‐2323
MINYARD, LARRY J                        102 HEMINGWAY DR                                                                                                         COLUMBIA          TN   38401‐5302
MINYARD, RICHARD P                      554 SAINT CHARLES RD                                                                                                     GLEN ELLYN        IL   60137‐3744
MINYON BRANTLEY MILLER                  19117 CAMPAIGN DR                                                                                                        CARSON            CA   90746‐2019
MINYON MC CONNEY                        115 RAEBURN ST                                                                                                           PONTIAC           MI   48341‐3043
MINYON MILLER                           19117 CAMPAIGN DR                                                                                                        CARSON            CA   90746‐2019
MINYON O MC CONNEY                      115 RAEBURN ST                                                                                                           PONTIAC           MI   48341‐3043
MINYOUGHN HARPER                        PO BOX 393                         501 PLUM STREET                                                                       FRANKTON          IN   46044‐0393
MINZES, EMMA L                          947 RIVERWOOD PLACE DR                                                                                                   FLORISSANT        MO   63031‐6549
MINZES, JOHN C                          400 NE NOELEEN LN                                                                                                        LEES SUMMIT       MO   64086‐3025
MINZEY, BEVERLY E                       13420 GERA RD                                                                                                            BIRCH RUN         MI   48415‐9306
MINZEY, MICHAEL D                       126 N SAGINAW ST                                                                                                         MONTROSE          MI   48457‐9785
MINZEY, THEODORE D                      1440 CALDWELL RD                                                                                                         MIO               MI   48647‐9711
MINZEY, WILLIAM D                       13420 GERA RD                                                                                                            BIRCH RUN         MI   48415‐9306
MIO, NADHIR A                           7365 MAPLE MILL CT                                                                                                       WEST BLOOMFIELD   MI   48323
MIOBI PROGRESSIVE CYCLE CONCEPTS        28860 7 MILE RD                                                                                                          LIVONIA           MI   48152‐3557
CORP
MIOCIC, DINKO                           9715 SYLVAN LN                                                                                                           MENTOR            OH   44060‐8107
MIOCIC, IVA                             6394 CARTER BLVD                                                                                                         MENTOR            OH   44060‐3513
MIOCIC, IVAN                            34200 RIDGE RD APT 116                                                                                                   WILLOUGHBY        OH   44094‐2957
MIOCIC, SIME                            4023 MAYFAIR RD                                                                                                          UNIONTOWN         OH   44685
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Name                         Address1                         Address2            Address3       Address4                 City               State Zip
MIODONSKI, ARLENE            3829 SPRINGWOOD CT                                                                           AUBURN HILLS        MI 48326‐1887
MIODONSKI, ROBERT A          901 S ATLANTIC AVE APT 208                                                                   ORMOND BEACH        FL 32176‐7886
MIODONSKI, ROY C             7258 AUDUBON ST                                                                              CLAY                MI 48001‐4100
MIODRAG DJORDJEVIC           203 S VENOY CIR                                                                              GARDEN CITY         MI 48135‐1057
MIODRAG ILIEVSKI             16 CHI MAR DR                                                                                ROCHESTER           NY 14624‐4015
MIODRAG ILIEVSKI             16 CHI‐MAR DR                                                                                ROCHESTER           NY 14624‐4015
MIODRAG KOTUR                4050 CENTER AVE                                                                              LYONS                IL 60534‐1316
MIODRAG, JEROME E            7909 KANE RD                                                                                 TRANSFER            PA 16154‐8943
MIODRAG, JOSEPH              RR 1                                                                                         TRANSFER            PA 16154
MIODRAG, JOSEPH              R. D. # 1                                                                                    TRANSFER            PA 16154‐9801
MIODUS, ANTHONY G            5017 RIDGEDALE DR                                                                            FORT WAYNE          IN 46835‐3949
MIODUSZEWSKI, CHESTER        26952 COOLIDGE ST N                                                                          DEARBORN HTS        MI 48127‐2868
MIOLA HYZER                  525 RIVER ST APT 223                                                                         ALPENA              MI 49707‐2449
MIOLINI, CAROL J             1304 RIDGECREST WAY                                                                          ROSEVILLE           CA 95661‐5050
MION DANTE                   RUE DE LA GERENNE 2B9                                               6000 CHARLEROI BELGIUM
MIONE, JAMES G               5 RYEGATE LN                                                                                 ENGLISHTOWN        NJ   07726‐8210
MIONE, MICHAEL T             1040 DOUGLAS ST SE                                                                           PALM BAY           FL   32909‐3833
MIONI DAVID A                1002 E POLAND AVE                                                                            BESSEMER           PA   16112‐9738
MIONI, DAVID A               1002 E POLAND AVE                                                                            BESSEMER           PA   16112‐9738
MIOSKU, TRAJAN               1012 CONGRESS DR                                                                             TROY               MI   48085‐1383
MIOTKE JR., GEORGE J         1967 KEMP RD                                                                                 BLOOMFIELD HILLS   MI   48302‐0142
MIOTKE, ALLEN T              26180 CLARKSTON DR UNIT 23206                                                                BONITA SPRINGS     FL   34135‐3352
MIOTKE, CLIFFORD F           5595 MOUNTAIN RD                                                                             BRIGHTON           MI   48116‐7713
MIOTKE, DANIEL B             7245 BALDWIN RD                                                                              SWARTZ CREEK       MI   48473‐9134
MIOTKE, DANIEL BERNARD       7245 BALDWIN RD                                                                              SWARTZ CREEK       MI   48473‐9134
MIOTKE, JUDITH A             11356 NORWAY DR                                                                              HARTLAND           MI   48353‐3431
MIOTKE, MARK D               3320 GOLFHILL DR                                                                             WATERFORD          MI   48329‐4521
MIOTKE, PAUL D               3650 CHARLWOOD DR                                                                            ROCHESTER HILLS    MI   48306‐3625
MIOTKE, VIRGINIA             26835 NORTHMORE ST                                                                           DEARBORN HEIGHTS   MI   48127‐3619
MIOTTEL, CHARLES G           14944 JENNY DR                                                                               WARREN             MI   48088‐6256
MIOTTO, CHRISTINE M          38740 MEADOWLAWN ST                                                                          WAYNE              MI   48184‐1037
MIQUEL VALDEZ                707 E MOLLOY RD                                                                              SYRACUSE           NY   13211‐1605
MIQUELETTI‐KERR MARIA        10330 DENTON CREEK DR                                                                        FENTON             MI   48430‐3523
MIQUELETTI‐KERR, MARIA I     10330 DENTON CREEK DR                                                                        FENTON             MI   48430‐3523
MIQUELINA BARROSO            37 OLIVER ST                                                                                 MILFORD            MA   01757‐3129
MIQUELON, JOHN R             PO BOX 180098                                                                                CORONADO           CA   92178‐0098
MIR MOHAMMED AJMAL
MIR'S AUTO WORKS             1775 S US HIGHWAY 17 92                                                                      LONGWOOD           FL   32750‐6542
MIRA AKINS                   6414 VERNON AVENUE                                                                           EDINA              MN   55436
MIRA ASMAN                   13447 DEAN STREET                                                                            HAMTRAMCK          MI   48212‐1709
MIRA B CAMP                  2231 HOOVER AVENUE                                                                           DAYTON             OH   45407‐1524
MIRA CAMP                    2231 HOOVER AVE                                                                              DAYTON             OH   45402‐5524
MIRA DANNY                   C/O GOLDBERG PERSKY & WHITE PC   1030 FIFTH AVENUE                                           PITTSBURG          PA   15219
MIRA DUKES                   1405 WOODHALL DR                                                                             FLINT              MI   48504
MIRA KOVACEVIC               10806 BRAINARD DR                                                                            PARMA              OH   44130‐1536
MIRA MILLER                  320 PERKINSWOOD BLVD NE                                                                      WARREN             OH   44483‐4404
MIRA MOTORS SALES, LIMITED   148 RUE D'ARGENS                                                    MSIDA MALTA
MIRA NEKIC                   29 SHAWONDASSEE DR                                                                           TIMBERLAKE         OH   44095‐1931
MIRA PARIKH                  3295 FANTAIL DR                                                                              ROCHESTER HILLS    MI   48309‐4295
MIRA STANIEC                 152 S MAIN ST APT 1                                                                          YARDLEY            PA   19067‐1643
MIRA, ANTHONY J              1420 E MAIN ST LOT #30                                                                       BELLEVUE           OH   44811
MIRA, JAMES J                6610 COUNTY ROAD 175                                                                         BELLEVUE           OH   44811‐9457
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Name                                 Address1                         Address2                        Address3        Address4                 City              State Zip
MIRA, ROBERT J                       2423 LASSITER DR                                                                                          ROCHESTER HLS      MI 48309‐1522
MIRA, ROBERT JOSEPH                  2423 LASSITER DR                                                                                          ROCHESTER HLS      MI 48309‐1522
MIRA, SCOTT J                        14792 BASSETT ST                                                                                          LIVONIA            MI 48154‐4702
MIRABAL, ALVIN J                     3546 DIVISION ST                                                                                          LOS ANGELES        CA 90065‐3302
MIRABAL, IRMA O                      15155 SHERMAN WAY UNIT 17                                                                                 VAN NUYS           CA 91405‐2077
MIRABAL, RONALD A                    20522 EAST 43RD AVENUE                                                                                    DENVER             CO 80249‐6908
MIRABAUD & CLE BANQUIERS PRIVES      29 BOULEVARD GEORGES‐FAVON                                                       CH ‐ 1204 GENEVE
                                                                                                                      SWITZERLAND
MIRABAUD & CLE BANQULERS PRIVES      29 BOULEVARD GEORGES‐FAVON                                                       CH ‐ 1204 GENEVE
                                                                                                                      SWITZERLAND
MIRABELLA, FERDINAND                 1772 W HILLSBOROUGH AVE                                                                                   TAMPA             FL   33603
MIRABELLA, GAETANO                   46732 BEN FRANKLIN DR                                                                                     SHELBY TOWNSHIP   MI   48315‐5218
MIRABELLA, MADELINE                  108 ASH ST                                                                                                YONKERS           NY   10701‐3927
MIRABELLA, MADELINE                  108 ASH STREET                                                                                            YONKERS           NY   10701‐3927
MIRABELLA, VINCENT A                 108 ASH ST                                                                                                YONKERS           NY   10701‐3927
MIRABELLA, VINCENZA                  338 VIO DEL ASTRO                                                                                         OCEANSIDE         CA   92057‐7339
MIRABELLI EVELYN                     6065 PETALUMA DR                                                                                          BOCA RATON        FL   33433‐5409
MIRABELLI, JINNY K                   506 KENMORE AVE SE                                                                                        WARREN            OH   44483‐6153
MIRABILE, CALOGERO                   6 SANDALWOOD DR                                                                                           EDISON            NJ   08820‐1249
MIRABILE, MIRIAM E                   415 N STATE ST APT 304                                                                                    BELLINGHAM        WA   98225‐5344
MIRABILE, WILLIAM A                  1 PRINCETON DR                                                                                            MILFORD           MA   01757‐1807
MIRABITUR, REYNOLD J                 33261 WINCHESTER ST                                                                                       WESTLAND          MI   48185‐2835
MIRABITUR, RICHARD S                 7517 LEONARD AVENUE                                                                                       MANISTEE          MI   49660‐9787
MIRABITUR, RICHARD STEPHEN           7517 LEONARD AVENUE                                                                                       MANISTEE          MI   49660‐9787
MIRABITUR‐SPITZA, VERONICA L         3151 EDEN TRL                                                                                             BRIGHTON          MI   48114‐9185
MIRACLE DARIA                        702 MALVERN ST                                                                                            MIDDLETOWN        OH   45042‐2258
MIRACLE EAR CENTER                   2200 COOLIDGE RD STE 9                                                                                    EAST LANSING      MI   48823‐1363
MIRACLE JR, FRED P                   13603 HIGHWAY 987 BROWNIES CRK                                                                            MIRACLE           KY   40856‐8953
MIRACLE JR, FRED P                   HC 62 BOX 685                                                                                             MIRACLE           KY   40856‐9705
MIRACLE JR, GEORGE                   3212 VERNELL DR                                                                                           WEST CARROLLTON   OH   45449‐2759
MIRACLE JR, LEEMAN                   912 C0LEMAN RD                                                                                            TAZEWELL          TN   37879
MIRACLE JR, LUTHER G                 3695 JOSLYN RD                                                                                            LAKE ORION        MI   48359‐1217
MIRACLE MILE CHEVROLET BUICK INC     2142 AUSTIN DR                                                                                            TROY              MI   48083‐2238
MIRACLE MILE CHEVROLET BUICK, INC.   INTERCOMPANY
MIRACLE MILE CHEVROLET INC           CITY OF LOS ANGELES
MIRACLE MILE MEDICAL                 PO BOX 17358                                                                                              ENCINO            CA   91416‐7358
MIRACLE RIDE                         C/O BILL CORRELL                 105 GM DR                       GM POWERTRAIN                            BEDFORD           IN   47421‐1558
MIRACLE SOFTWARE SYSTEMS             VANGUARD CENTER                  23800 W 10 MILE RD SUITE 190A                                            SOUTHFIELD        MI   48033
MIRACLE, ALAN P                      17 BENT CREEK DR                                                                                          SMITHS GROVE      KY   42171‐8949
MIRACLE, ALONZO                      PO BOX 416                                                                                                MIDDLESBORO       KY   40965‐0416
MIRACLE, ARGENE C                    265 INDIAN LAKE RD                                                                                        OXFORD            MI   48371‐6215
MIRACLE, ARLUS P                     3080 SHIMMONS RD                                                                                          AUBURN HILLS      MI   48326‐2063
MIRACLE, ARTHUR                      5533 ELDRIDGE DR                                                                                          WATERFORD         MI   48327‐2727
MIRACLE, ASHLEY                      814 GREENFIELD DR                                                                                         MANSFIELD         OH   44904‐1815
MIRACLE, BASEL L                     1037 ACRES VIEW DR                                                                                        WAYNESVILLE       NC   28786‐7904
MIRACLE, BETTY J                     506 LOOKOUT RIDGE DR                                                                                      LEBANON           OH   45036‐6411
MIRACLE, CARLOW B                    2500 MANN RD LOT 353                                                                                      CLARKSTON         MI   48346‐4291
MIRACLE, CECIL D                     30 E CORNELL AVE                                                                                          PONTIAC           MI   48340‐2628
MIRACLE, CHARLES                     7937 S ESTON RD                                                                                           CLARKSTON         MI   48348‐4012
MIRACLE, CHARLES F                   136 RHODES LN                                                                                             HARROGATE         TN   37752‐7816
MIRACLE, CLARENCE                    48 S BRADLEYVILLE RD                                                                                      REESE             MI   48757‐9526
MIRACLE, CLINT D                     1241 HURON WAY                                                                                            BOWLING GREEN     KY   42101
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Name                 Address1                       Address2            Address3         Address4         City              State Zip
MIRACLE, CONDIE      3873 MINTON RD                                                                       ORION              MI 48359‐1555
MIRACLE, DARIA G     702 MALVERN ST                                                                       MIDDLETOWN         OH 45042‐2258
MIRACLE, DARRELL     5157 REMINGTON DR                                                                    LAPEER             MI 48446‐8063
MIRACLE, DARRELL E   5806 SAGE LAKE RD                                                                    PRESCOTT           MI 48756
MIRACLE, DAWN L      P.O BOX 63                                                                           MIRACLE            KY 40856‐0063
MIRACLE, DEBI A      802 MALVERN ST                                                                       MIDDLETOWN         OH 45042‐2260
MIRACLE, DEMPSEY     RT =2 BOX 47‐A                                                                       MIDDLESBORO        KY 40965
MIRACLE, DENNIS B    814 GREENFIELD DR                                                                    MANSFIELD          OH 44904‐1815
MIRACLE, DILLARD D   3184 WESTPOINTE DR                                                                   FRANKLIN           IN 46131‐8877
MIRACLE, DONNA       PO BOX 74                      233 N MAIN ST                                         CALEDONIA          OH 43314‐0074
MIRACLE, DONNA       233 N MAIN ST                  BX 74                                                 CALEDONIA          OH 43314‐0074
MIRACLE, DONNA L     102 W GROVE AVE                                                                      MICHIGAN CENTER    MI 49254‐1517
MIRACLE, DORA        326 BLACKLICK BRANCH RD                                                              MIRACLE            KY 40856
MIRACLE, DOUGLAS     54 OAKWOOD AVE                                                                       SUMMERTOWN         TN 38483‐7608
MIRACLE, EARL        20220 SHERWOOD RD                                                                    BELLEVILLE         MI 48111‐9378
MIRACLE, EDDIE       13705 DAVISBURG RD                                                                   DAVISBURG          MI 48350‐2313
MIRACLE, ERIK J      3850 CADWALLADER SONK RD                                                             CORTLAND           OH 44410‐9444
MIRACLE, ERNEST      HC 62 BOX 335                                                                        MIRACLE            KY 40856‐9702
MIRACLE, ESTON       5781 S US HIGHWAY 25                                                                 CORBIN             KY 40701‐4944
MIRACLE, EUGENE      1409 HILLSIDE DR                                                                     SEVIERVILLE        TN 37876‐0267
MIRACLE, FANNIE F    7008 MOUNTAIN RDG SE                                                                 ACWORTH            GA 30102
MIRACLE, FAUN        8663 BUNNELL HILL RD                                                                 SPRINGBORO         OH 45066‐9376
MIRACLE, FAYE E      1037 ACRES VIEW DR                                                                   WAYNESVILLE        NC 28786‐7904
MIRACLE, GARNER      23 OAKWOOD AVE                                                                       SUMMERTOWN         TN 38483‐7604
MIRACLE, GLENNIS R   2930 AUTEN RD                                                                        ORTONVILLE         MI 48462‐8841
MIRACLE, GLORIA E    1028 TIN DALL DR                                                                     LAPEER             MI 48446‐3359
MIRACLE, GREGORY     880 SW JAVA AVE                                                                      PORT ST LUCIE      FL 34953‐5649
MIRACLE, HAROLD K    35 ROY JENKINS DR                                                                    CORBIN             KY 40701‐4999
MIRACLE, HOWARD      1124 COBB RD                                                                         SAVANNAH           GA 31410‐2607
MIRACLE, JAMES E     4148 KEAVY RD                                                                        LONDON             KY 40744‐7027
MIRACLE, JAMES E     242 NEW HOPE RD                                                                      NEW TAZEWELL       TN 37825‐4522
MIRACLE, JAMES S     8094 SHARON CT                                                                       FRANKLIN           OH 45005‐4064
MIRACLE, JAMES W     7515 SENECA RD                                                                       SHARPSVILLE        PA 16150‐8423
MIRACLE, JANET       19775 NEGAUNEE                                                                       REDFORD            MI 48240‐1643
MIRACLE, JERRY B     2236 MARDELL DR                                                                      DAYTON             OH 45459‐3634
MIRACLE, JERRY W     57 DESERT CASTLE CT                                                                  HENDERSON          NV 89012‐4428
MIRACLE, JERRY W     105 DEERFIELD DR                                                                     COLUMBIA           TN 38401‐5257
MIRACLE, JESSE C     4809 W ISABELLA RD                                                                   SHEPHERD           MI 48883‐9676
MIRACLE, JESSICA A   1997 HEATHER LN                                                                      YOUNGSTOWN         OH 44511‐1253
MIRACLE, JOANNE      3094 BESSIE                                                                          AUBURN HILLS       MI 48326‐3600
MIRACLE, JOANNE      3094 BESSIE ST                                                                       AUBURN HILLS       MI 48326‐3600
MIRACLE, JOHN B      2091 GALLOWAY ST                                                                     AUBURN HILLS       MI 48326‐2421
MIRACLE, KAREN R     483 GREYSTONE DR                                                                     DAYTON             OH 45458‐4953
MIRACLE, KAREN S     1525 BARNEY AVE                                                                      KETTERING          OH 45420‐3212
MIRACLE, KEITH A     122 MONUMENT CIR                                                                     SUMMERTOWN         TN 38483‐7637
MIRACLE, KENNETH R   5422 BROWN CITY RD                                                                   BROWN CITY         MI 48416‐9348
MIRACLE, LARRY D     144 S JERSEY ST                                                                      DAYTON             OH 45403‐2151
MIRACLE, LELA MAE    39500 WARREN RD LOT 218                                                              CANTON             MI 48187‐4348
MIRACLE, LEONARD J   3139 HIGHWAY 72                                                                      HULEN              KY 40845‐9033
MIRACLE, LEVI T      5622 SCOFIELD CARLETON RD                                                            CARLETON           MI 48117‐9596
MIRACLE, LINDA L     600 W WALTON BLVD APT 357                                                            PONTIAC            MI 48340‐3502
MIRACLE, MARK A      230 HURD ST                                                                          MILAN              MI 48160‐1323
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Name                          Address1                           Address2           Address3      Address4             City                     State Zip
MIRACLE, MARK ALLAN           230 HURD ST                                                                              MILAN                     MI 48160‐1323
MIRACLE, MARSHAL              PO BOX 13                                                                                FLAT LICK                 KY 40935‐0013
MIRACLE, MARY J               6585 TACH COURT                                                                          BURTON                    MI 48509‐2394
MIRACLE, MARY J               6585 TACH CT                       CENTINNIAL FARMS                                      BURTON                    MI 48509‐2394
MIRACLE, NELSON               5930 FORT RD                                                                             SAGINAW                   MI 48601‐9361
MIRACLE, ORVIAL               6905 MIDNIGHT SUN DR                                                                     MAINEVILLE                OH 45039‐8953
MIRACLE, OTIS W               5240 WASHBURN RD                                                                         VASSAR                    MI 48768‐8901
MIRACLE, PERRY L              5526 SCENERY DR                                                                          SALEM                     VA 24153
MIRACLE, PHILIP K             6054 BARKER DR                                                                           WATERFORD                 MI 48329‐3100
MIRACLE, QUINLAN              16124 HIGHWAY 987 BROWNIES CRK                                                           MIRACLE                   KY 40856‐8978
MIRACLE, QUINLAN              HC 62, BOX 830                                                                           MIRACLE                   KY 40856‐9709
MIRACLE, RACHEL               HC62 BOX 485                                                                             MIRACLE                   KY 40856‐9704
MIRACLE, RACHEL               57 JENNY BRANCH RD                                                                       MIRACLE                   KY 40856‐8993
MIRACLE, RICHARD J            8594 DYER RD                                                                             WHITTEMORE                MI 48770‐9410
MIRACLE, ROGER                398 LYDIA LN                                                                             LINDEN                    MI 48451‐8838
MIRACLE, ROGER                1200 E SOUTH LAKE VIEW LN                                                                MUSTANG                   OK 73064‐6819
MIRACLE, RONALD               2500 MANN RD LOT 330                                                                     CLARKSTON                 MI 48346‐4226
MIRACLE, SCOTT A              53697 HURON DR                                                                           CHESTERFIELD              MI 48051‐1686
MIRACLE, SCOTT A              3111 EASTGATE ST                                                                         BURTON                    MI 48519‐1552
MIRACLE, SCOTTY               3325 MIDDLETON DR                                                                        ROCKVALE                  TN 37153‐4488
MIRACLE, SHARON A             4436 HARBOR DR                                                                           MORRISTOWN                TN 37814‐7711
MIRACLE, SHIRLEY M            4136 FULTON AVE                                                                          MORAINE                   OH 45439‐2122
MIRACLE, THELMA P             P.O. BOX 12627                                                                           CINCINNATI                OH 45212
MIRACLE, THELMA P             PO BOX 12627                                                                             CINCINNATI                OH 45212‐0627
MIRACLE, THERESA L            5024 ISLAND VIEW DR                                                                      LINDEN                    MI 48451‐9031
MIRACLE, THOMAS               11637 CARPENTER RD                                                                       MILAN                     MI 48160
MIRACLE, VELDIE               1031 KNOXVILLE GARDNERSVILLE RD                                                          WILLIAMSTOWN              KY 41097‐9135
MIRACLE, VELDIE               1031 KNOXVILLE‐GARDNERSVILLE RD                                                          WILLIAMSTOWN              KY 41097‐9135
MIRACLE, VIRGINIA A           136 RHODES LANE                                                                          HARROGATE                 TN 37752‐7816
MIRACLE, VIRGINIA A           136 RHODES LN                                                                            HARROGATE                 TN 37752‐7816
MIRACLE, WAYNE                31 MIRACLE MOUNTAIN LN                                                                   BARBOURVILLE              KY 40906‐7284
MIRACLE, WENDELL              9122 HIGHWAY 987 BROWNIES CRK                                                            MIRACLE                   KY 40856‐8908
MIRACLE, WENDELL              HC 62                              BOX 390                                               MIRACLE                   KY 40856‐9704
MIRACLE, WILLIS R             50 TANGLEWOOD LN                                                                         SUMITON                   AL 35148‐4729
MIRACLE, WINFRED              6293 PINE KNOB RD                                                                        CLARKSTON                 MI 48348‐5143
MIRACLE,DARIA G               702 MALVERN ST                                                                           MIDDLETOWN                OH 45042‐2258
MIRACLE,DEBI A                802 MALVERN ST                                                                           MIDDLETOWN                OH 45042‐2260
MIRACLE,KAREN S               1525 BARNEY AVE                                                                          KETTERING                 OH 45420‐3212
MIRACLE‐HART, PAMELA G        6358 SANDALWOOD DR                                                                       BELLEVILLE                MI 48111‐6174
MIRACLE‐SHALLCROSS, ROBIN L   16651 IRISH RIDGE RD                                                                     EAST LIVERPOOL            OH 43920‐4040
MIRACLE‐SMITH, DIANA E        7320 100TH ST                                                                            FLUSHING                  MI 48433‐8703
MIRACLE‐STABER, LINDA D       5312 BEDFORD ST                                                                          DEARBORN HTS              MI 48125‐3406
MIRACOLA, LAWRENCE            40626 LIZABETH DR                                                                        STERLING HEIGHTS          MI 48313‐4037
MIRAGE GENERAL TRADING        3551                                                                DUBAI UNITED ARAB
ESTABLISHMENT                                                                                     EMIRATES
MIRAGE GENERAL TRADING        P.O. BOX 3551                                                       DUBAI UNITED ARAB
ESTABLISHMENT                                                                                     EMIRATES
MIRAGLIA MARCO                VIA DELLE CASE BASSE, 93 00126                                                           ROME
MIRAGLIA MASSIMILIANO         VIA COSTANTINO BELTRAMI,28 00154                                                         ROME
MIRAGLIA, ANN M               28 SHEFFIELD AVENUE                                                                      PAWTUCKET                 RI   02860‐5732
MIRAGLIA, CAROL               315 MOUNTAIN AVE                                                                         TOWNSHIP OF WASHINGTON    NJ   07676‐5042
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Name                                Address1                         Address2                           Address3   Address4         City                State Zip
MIRAGLIA, JAMES F                   4225 BRANCH RD                                                                                  FLINT                MI 48506‐1902
MIRAGLIA, LAURA                     507B PEMBROOK CT N                                                                              CRYSTAL LAKE          IL 60014‐2717
MIRAGLIA, ROBERT A                  4633 E ROBIN LN                                                                                 PHOENIX              AZ 85050
MIRAGLIA, WILLIAM G                 48 GREAT WOODS RD                                                                               SAUGUS               MA 01906‐1111
MIRAGLIOTTA, ANTHONY N              28 SEYMOUR AVE                                                                                  EDISON               NJ 08817‐3564
MIRAGLIOTTA, JOSEPH                 11 E GRANT AVE                                                                                  COLONIA              NJ 07067‐1404
MIRAK CHEVROLET INC                 1125 MASSACHUSETTS AVE                                                                          ARLINGTON            MA 02476‐4316
MIRAK CHEVROLET, INC.               1125 MASSACHUSETTS AVE                                                                          ARLINGTON            MA 02476‐4316
MIRAK CHEVROLET, INC.               ROBERT MIRAK                     1125 MASSACHUSETTS AVE                                         ARLINGTON            MA 02476‐4316
MIRAKOV, ELAZAR                     1776 W 13TH ST                                                                                  BROOKLYN             NY 11223‐1021
MIRAL, DAVID S                      5430 HURON HILLS DR                                                                             COMMERCE TWP         MI 48382‐4818
MIRALLES JR, JUAN J                 44 FRESH PONDS RD                                                                               EAST BRUNSWICK       NJ 08816‐2511
MIRALLES, MARIO                     9639 BRUNSWICK DR                                                                               BRENTWOOD            TN 37027‐8464
MIRALLES, MARIO                     4408 PADRE CT                                                                                   KELLER               TX 76248‐1821
MIRAM, HARRY O                      11555 PROSPECT HILL DR                                                                          GOLD RIVER           CA 95670‐8215
MIRAMAR 76 SERVICE CENTER           5726 MIRAMAR RD                                                                                 SAN DIEGO            CA 92121‐2523
MIRAMAR AUTOMOTIVE FACILITY                                          12036 MIRAMAR PKWY                                                                  FL 33025
MIRAMAR OFFICE I LTD                C\O STILES PROPERTY MGMT CO      300 SE 2ND STREET                                              FT LAUDERDALE        FL 33301
MIRAMAR OFFICE I, LTD.              C/O STILES PROPERTY MANAGEMENT   6400 N. ANDREWS AVENUE                                         FT LAUDERDALE        FL 33309
                                    COMPANY
MIRAMBELL, HAROLD J                 16850 COLLINS AVE STE 112                                                                       SUNNY ISLES BEACH   FL   33160
MIRAMONTES IVAN                     MIRAMONTES, IVAN                 5055 WILSHIRE BLVD STE 300                                     LOS ANGELES         CA   90036‐6101
MIRAMONTES JR, JOHN M               33349 9TH ST                                                                                    UNION CITY          CA   94587‐2139
MIRAMONTES JUAN                     MIRAMONTES, JUAN                 7825 FAY AVE STE 200                                           LA JOLLA            CA   92037‐4270
MIRAMONTES JUAN                     MIRAMONTES, REGINA               7825 FAY AVE STE 200                                           LA JOLLA            CA   92037‐4270
MIRAMONTES, DANIEL C                1944 BELMONT PL                                                                                 MANTECA             CA   95337‐8417
MIRAMONTES, DAVID                   22180 TAJANTA RD                                                                                APPLE VALLEY        CA   92307‐4050
MIRAMONTES, ESTEBAN S               1721 S GRANT AVE                                                                                JANESVILLE          WI   53546‐5711
MIRAMONTES, JUAN                    BICKEL LAW FIRM INC              7825 FAY AVE STE 200                                           LA JOLLA            CA   92037‐4270
MIRAMONTES, REGINA                  BICKEL LAW FIRM INC              7825 FAY AVE STE 200                                           LA JOLLA            CA   92037‐4270
MIRAMONTES, ROBERTO C               3825 SHEFFIELD CIR                                                                              DANVILLE            CA   94506‐1261
MIRAMONTES, VIRGINIA                22532 CARDIFF DR                                                                                SANTA CLARITA       CA   91350‐3028
MIRAMONTEZ, GEORGE A                6000 NUTCRACKER DR                                                                              GRANBURY            TX   76049‐4186
MIRAN AWEDIAN                       261 E MAPLE RD                                                                                  BIRMINGHAM          MI   48009‐6324
MIRAN, JOSEPH P                     2435 CLOVER ST                                                                                  ROCHESTER           NY   14618‐4503
MIRANDA ALEXIS                      C11 AVE SAN AGUSTIN              VILLAS DE SAN AGUSTIN AVE                                      BAYAMON             PR   00959‐2037
MIRANDA C GOVER                     102 S RANDOLPH ST                                                                               UNION               OH   45322‐3347
MIRANDA CARDENAS LAW OFFICE         PO BOX 152                       OLD SAN JUAN STATION                                           SAN JUAN            PR   00902
MIRANDA CLAUDIA                     MIRANDA, CLAUDIA                 425 W BROADWAY STE 220                                         GLENDALE            CA   91204‐1269
MIRANDA CLAUDIA                     RUIZ, EFREN                      425 W BROADWAY STE 220                                         GLENDALE            CA   91204‐1269
MIRANDA CONNIE                      14526 W ANDREA DR                                                                               SURPRISE            AZ   85387‐6374
MIRANDA ERNESTO                     LEVY PHILLIPS & KONIGSBERG       800 3RD AVE 13TH FL                                            NEW YORK            NY   10022‐4213
MIRANDA ERNESTO (652453)            LEVY PHILLIPS & KONIGSBERG       520 MADISON AVE , 31ST FLOOR                                   NEW YORK            NY   10022
MIRANDA FRED JR                     PO BOX 1414                                                                                     SAN JACINTO         CA   92581‐1414
MIRANDA GUTIERREZ, JOSE FRANCISCO   38327 COVINGTON DR                                                                              STERLING HEIGHTS    MI   48312‐1307

MIRANDA JR., EDWIN                  136 HELENA DR                                                                                   STRUTHERS           OH   44471‐1512
MIRANDA L BYRD                      2832 FERNCLIFF AVE                                                                              DAYTON              OH   45420‐3202
MIRANDA L DUNN                      526 BLYTHE ST                                                                                   GADSDEN             AL   35903‐1719
MIRANDA MATTHEWS                    9065 FOSTORIA RD                                                                                FOSTORIA            MI   48435‐9707
MIRANDA SEE                         3109 W 11TH ST                                                                                  ANDERSON            IN   46011‐2469
MIRANDA WARWICK MILAZZO             GIORDANO & HEBBLER               3636 S I 10 SERVICE RD W STE 300                               METAIRIE            LA   70001‐6418
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Name                  Address1                        Address2                      Address3   Address4         City             State Zip
MIRANDA, ANA M        4151 WESTERN                                                                              DETROIT           MI 48210‐3509
MIRANDA, ANA M        4151 WESTERN ST                                                                           DETROIT           MI 48210‐3509
MIRANDA, ANTONIO      4852 MIRA SOL DR                                                                          MOORPARK          CA 93021‐9745
MIRANDA, ARCADIO      1022 ANNISTON AVE # 1/2                                                                   SHREVEPORT        LA 71105‐3009
MIRANDA, ARCADIO      PO BOX 52284                                                                              SHREVEPORT        LA 71135‐2284
MIRANDA, BRANDY ANN   TRACY FIRM                      5473 BLAIR RD STE 200                                     DALLAS            TX 75231‐4168
MIRANDA, BRUNO        404 4TH ST                                                                                BELTON            MO 64012‐2530
MIRANDA, CARLOS       836 BRANDON AVE                                                                           PONTIAC           MI 48340‐1381
MIRANDA, CHRISTINE    PO BOX 475                                                                                SALKUM            WA 98582
MIRANDA, CLAUDIA      TAYLOR & ASSOCIATES NORMAN      425 W BROADWAY STE 220                                    GLENDALE          CA 91204‐1269
MIRANDA, DANIEL       3546 WALLACE BLVD                                                                         TOLEDO            OH 43611‐1730
MIRANDA, ELIA V       1359 DOVE ST                                                                              LOS BANOS         CA 93635‐3005
MIRANDA, ELOINA       2729 WEST 35TH STREET                                                                     CHICAGO            IL 60632‐1603
MIRANDA, ERIC J       900 E PITTSBURGH ST APT# F‐23                                                             GREENSBURG        PA 15601
MIRANDA, ERNESTO      2460 SW 122ND CT                                                                          MIAMI             FL 33175‐7319
MIRANDA, ERNESTO      LEVY PHILLIPS & KONIGSBERG      520 MADISON AVE, 31ST FLOOR                               NEW YORK          NY 10022
MIRANDA, FRANK M      14784 WESTERN RESERVE RD                                                                  SALEM             OH 44460‐9651
MIRANDA, GABRIEL M    15265 CENTRAL AVE                                                                         SAN LEANDRO       CA 94578‐3932
MIRANDA, GARY         PO BOX 475                                                                                SALKUM            WA 98582
MIRANDA, GIL J        900 E PGH ST APT F‐23                                                                     GREENSBURG        PA 15601
MIRANDA, GILBERT V    9004 THURBER LN                                                                           BAKERSFIELD       CA 93311‐1412
MIRANDA, IRVING       37C COMMONDORE LN WEST                                                                    BABYLON           NY 11704
MIRANDA, ISABEL L     23360 GRAYSON DR                                                                          SOUTHFIELD        MI 48075‐3691
MIRANDA, JAMES M      PO BOX 4343                                                                               SAN CLEMENTE      CA 92674‐4343
MIRANDA, JEANNIE      PARICHAN RENBERG & CROSSMAN     1540 E SHAW AVE STE 123                                   FRESNO            CA 93710‐8008
MIRANDA, JOE O        8308 FRUITVALE AVE                                                                        MOORPARK          CA 93021‐9721
MIRANDA, JOHN         2870 ROYSTON DR                                                                           DULUTH            GA 30097‐2821
MIRANDA, JOHNNY G     PO BOX 610                                                                                SPRING HILL       TN 37174‐0610
MIRANDA, JOSE G       1048 ALBERT ST                                                                            TOLEDO            OH 43605‐3608
MIRANDA, JOSEPH J     32 NEWTON RD                                                                              HAMBURG           NY 14075‐5325
MIRANDA, KAREN        1927 N GARLAND ST                                                                         WICHITA           KS 67203‐2235
MIRANDA, LARRY L      10690 FREDERICK PIKE                                                                      VANDALIA          OH 45377‐9727
MIRANDA, LOUIS O      13732 CHRISTIAN BARRETT DR                                                                MOORPARK          CA 93021‐2803
MIRANDA, LUIS         295 LOVELL LN                                                                             MOUNT VERNON      KY 40456‐2917
MIRANDA, MANUEL H     13235 HUBBARD ST                                                                          SYLMAR            CA 91342‐3329
MIRANDA, MANUEL M     2038 WAVERLY CIR                                                                          HENDERSON         NV 89014‐4566
MIRANDA, MARGIE C     12951 WOODCOCK AVE                                                                        SYLMAR            CA 91342‐3820
MIRANDA, MARIA        4764 SUNNY LN                                                                             BROOKLYN          OH 44144‐3055
MIRANDA, MARIA        4764 SUNNY LANE                                                                           BROOKLYN          OH 44144‐3055
MIRANDA, MARIA C      1947 WOOD BEND ST                                                                         TARPON SPRINGS    FL 34689‐7505
MIRANDA, MARIE S      5239 W MONTANA                                                                            CHICAGO            IL 60639‐1411
MIRANDA, MARILYN J    699 HAVEN BLVD.                 APT 221                                                   PALMETTO          FL 34221
MIRANDA, MARILYN J    699 HABEN BLVD APT 221                                                                    PALMETTO          FL 34221‐7107
MIRANDA, MARY E       111 E EL PORTAL                                                                           SAN CLEMENTE      CA 92672‐3912
MIRANDA, MARY L       1750 CORTE VISTA ST                                                                       BRENTWOOD         CA 94513‐6512
MIRANDA, MAURIAT J    3191 OTTER CREEK CT                                                                       ANN ARBOR         MI 48105‐9268
MIRANDA, MICHAEL A    1601 81ST ST                                                                              BROOKLYN          NY 11214‐2107
MIRANDA, MITCHELL
MIRANDA, MORAIS A     32 PINE ST                                                                                SLEEPY HOLLOW    NY   10591‐1716
MIRANDA, NANCY        PO BOX 87                                                                                 NILES            OH   44446‐0087
MIRANDA, NANCY M      PO BOX 87                                                                                 NILES            OH   44446‐0087
MIRANDA, NANCY R      116 N CRANDON AVE                                                                         NILES            OH   44446‐3415
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Name                     Address1                          Address2                      Address3   Address4                City               State Zip
MIRANDA, OSCAR M         11045 HILLSBOROUGH CT                                                                              ADELANTO            CA 92301‐6141
MIRANDA, OSCAR M         29025 CALLE DEL BUHO                                                                               MURRIETA            CA 92563‐5861
MIRANDA, PEDRO M         5331 MILANI AVE                                                                                    NEWARK              CA 94560‐3208
MIRANDA, PHILIP J        31 BELMONT AVENUE                                                                                  NILES               OH 44446‐3007
MIRANDA, RAUL L          11325 SHADE LANE ST                                                                                SANTA FE SPGS       CA 90670
MIRANDA, REBECCA J       7843 ALVIRA AVE                                                                                    DAYTON              OH 45414‐1351
MIRANDA, ROBERT X        111 E EL PORTAL                                                                                    SAN CLEMENTE        CA 92672
MIRANDA, ROSANNA D
MIRANDA, SALVADOR M      13922 REX ST                                                                                       SYLMAR             CA   91342‐1716
MIRANDA, SHAWN           101 BOOTH RD                                                                                       STATHAM            GA   30666
MIRANDA, SHAWN           190 BAXTER DR APT 115                                                                              ATHENS             GA   30606‐6358
MIRANDA, SYLVIA          1711 BALTIMORE DR APT C                                                                            CLARKSVILLE        TN   37043
MIRANDA, SYLVIA          2251 KIM DRIVE                                                                                     CLARKSVILLE        TN   37043‐1937
MIRANDA, VINCENT C       40 FOWLER AVE                                                                                      KENMORE            NY   14217‐1502
MIRANDA, VINCENTE C      1000 ZOOK DR                                                                                       GLENDALE           CA   91202‐2623
MIRANDA, WALTER R        6224 DONNYBROOK DR                                                                                 SHELBY TWP         MI   48316‐3326
MIRANDE MARGARET         5707 COUNTY ROAD 200                                                                               ORLAND             CA   95963‐9020
MIRANTE, VALERIE M       3097 LOUISE RITA CT                                                                                YOUNGSTOWN         OH   44511‐3327
MIRANTE, VALERIE MZ      3097 LOUISE RITA CT                                                                                YOUNGSTOWN         OH   44511‐3327
MIRARCK, ANTHONY F       2885 PEASE DR APT 321                                                                              ROCKY RIVER        OH   44116‐3263
MIRAS REBECCA            MIRAS, AUGUSTIN                   445 BUSH STREET 6TH FLOOR ,                                      SAN FRANCISCO      CA   94108
                                                           PACIFIC STATES BUILDING
MIRAS REBECCA            MIRAS, REBECCA                    445 BUSH STREET 6TH FLOOR ,                                      SAN FRANCISCO      CA 94108
                                                           PACIFIC STATES BUILDING
MIRAS, AUGUSTIN          KEMNITZER ANDERSON BARRON &       445 BUSH STREET 6TH FLOOR,                                       SAN FRANCISCO      CA 94108
                         OGILVIE                           PACIFIC STATES BUILDING
MIRAS, REBECCA           KEMNITZER ANDERSON BARRON &       445 BUSH STREET 6TH FLOOR,                                       SAN FRANCISCO      CA 94108
                         OGILVIE                           PACIFIC STATES BUILDING
MIRASOL GROUP INC        GWEN ANDREWS                      PO BOX 66/2044 ROGERS RD.                MISSISSAUGA ON CANADA
MIRASOLA, JOAN
MIRASOLO, JACQUELINE K   12230 DIXIE HWY                                                                                    HOLLY              MI   48442‐9484
MIRASOLO, JOSEPH J       12230 DIXIE HWY                                                                                    HOLLY              MI   48442‐9484
MIRATECH CORP            420 S 145TH EAST AE               STE A                                                            TULSA              OK   74108‐1305
MIRATECH CORP            420 S 145TH EAST AVE STE A                                                                         TULSA              OK   74108‐1305
MIRATECH CORPORATION     DEPARTMENT 1768                                                                                    TULSA              OK   74182‐0001
MIRATECH HOLDINGS INC
MIRAVALLE MARC           35 AARON DR                                                                                        NOVATO             CA   94949‐5497
MIRAVITE, REYNALDO V     2079 CAMBRIDGE SPRINGS DR                                                                          HENDERSON          NV   89052‐8753
MIRBACH, FLORENCE M      127 S BRUNER ST                                                                                    HINSDALE           IL   60521‐3004
MIRCA COLAK              5535 24 MILE RD                                                                                    SHELBY TWP         MI   48316‐3203
MIRCEA ABRAMOVICI IRA    FCC AS CUSTODIAN                  30 SPICE DR                                                      WASHINGTON TP      NJ   07676‐3840
MIRCEA LUNGOCIU          1370 GREENVILLE WAY                                                                                THE VILLAGES       FL   32162‐7750
MIRCHANDANI, GAUTAM      6070 WHETHERSFIELD LANE           36B                                                              BLOOMFIELD HILLS   MI   48301
MIRCO CERCATO            C/O AVV PIETRO PAOLO MENNEA       VIA SILLA NO 7                           00192 ROME ITALY
MIRCO GAVAGNIN           VIA MALAMOCCO 40 LIDO VE
MIRE, ELLEN K            321 BONHAM LOOP                                                                                    GEORGETOWN         TX   78633‐5034
MIRE, SHIRLEY A          23026 SAXONY AVE                                                                                   EASTPOINTE         MI   48021‐1846
MIREE, BETTY G           9050 ESPER                                                                                         DETROIT            MI   48204‐2766
MIREE, BETTY G           9050 ESPER ST                                                                                      DETROIT            MI   48204‐2766
MIREE, CAROLYN F         18945 CHAPEL ST                                                                                    DETROIT            MI   48219‐2402
MIREE, CHARLES           4409 WHITEFORD LN                                                                                  FORT WAYNE         IN   46816‐2277
MIREE, CLIFTON           2133 WHITTIER ST                                                                                   SAGINAW            MI   48601
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Name                                  Address1                        Address2                       Address3   Address4                   City                 State Zip
MIREE, ROY                            1801 PATTERSON ST                                                                                    MCKEESPORT            PA 15132‐5545
MIREILLE HUNTINGTON                   14257 S 29TH ST                                                                                      VICKSBURG             MI 49097‐9556
MIREK, KAZIMIERZ                      11194 OLD BARN TRL                                                                                   EATON RAPIDS          MI 48827‐8701
MIREK, MARIUSZ                        11194 OLD BARN TRL                                                                                   EATON RAPIDS          MI 48827‐8701
MIRELES BETH                          241 ASHWOOD LN                                                                                       ORCHARD PARK          NY 14127‐4851
MIRELES GILBERT W JR                  MIRELES, GILBERT W JR           900 TWO HOUSTON CENTER , 909                                         HOUSTON               TX 77010
                                                                      FANNIN
MIRELES III, EMILIO                   3712 RICHMOND ST                                                                                     LANSING              MI 48911‐2416
MIRELES JR, EMILIO                    4557 OLD LANSING RD                                                                                  LANSING              MI 48917‐4481
MIRELES JR, MANUEL A                  15250 W VOLTAIRE ST                                                                                  SURPRISE             AZ 85379‐8171
MIRELES MARTINEZ RAUL                 JUAN VAZQUEZ DE ACUNA NO 780    COLONIA VIRREYES POPULAR                  COAHUILA MEXICO MEXICO
MIRELES MARTINEZ, RAUL                JUAN VAZQUEZ DE ACUNA NO 780    COL VIRREYES POPULAR                      SALTILLO CH 25220 MEXICO
MIRELES, AGRIPINIA OVIEDO
MIRELES, ALEJANDRIN                   2629 W 22ND PL                                                                                       CHICAGO              IL   60608‐3516
MIRELES, CRYSTAL A                    527 FLORENCE STREET                                                                                  LANSING              MI   48910‐9121
MIRELES, ERICA M                      2771 SELBY AVE                                                                                       LOS ANGELES          CA   90064
MIRELES, JOHN                         PORTER & MALOUF PA              4670 MCWILLIE DR                                                     JACKSON              MS   39206‐5621
MIRELES, JOSE P                       2219 BEGOLE ST                                                                                       FLINT                MI   48504‐3119
MIRELES, LUPE M                       PO BOX 9783                                                                                          ANAHEIM              CA   92812
MIRELES, NADIA YASMIN                 4504 MARVIN DR                                                                                       FORT WAYNE           IN   46806‐2502
MIRELES, PETE J                       5308 DEVONSHIRE AVE                                                                                  LANSING              MI   48911‐4022
MIRELES, TEODORA                      218 RIVERBANK DR                                                                                     LAREDO               TX   78045‐8521
MIRELEZ, CHERRIE A                    8473 ROSCOMMON COURT                                                                                 ONSTED               MI   49265‐9466
MIRELEZ, DANIEL E                     604 S LANE ST                                                                                        BLISSFIELD           MI   49228‐1235
MIRELEZ, FIDENCIO ‐                   8473 ROSCOMMON COURT                                                                                 ONSTED               MI   49265‐9466
MIRELEZ, VIRGINIA                     308 E ADRIAN ST                                                                                      BLISSFIELD           MI   49228‐1304
MIRELLA DAN                           4729 CRESTVIEW AVE                                                                                   YPSILANTI            MI   48197‐3723
MIRELLA FULMER                        6735 HURD AVE                                                                                        CINCINNATI           OH   45227‐2526
MIRELLA RENDULICH                     5765 9TH AVE                                                                                         COUNTRYSIDE          IL   60525‐4002
MIRELLI PANOZZO                       3262 E BRADFORD DR                                                                                   BLOOMFIELD           MI   48301‐4142
MIRENDA, CARMI A                      2545 WILSON RD                                                                                       BILOXI               MS   39531‐4736
MIRENDA, MARY C                       33321 FAIRPORT DR                                                                                    AVON LAKE            OH   44012‐2377
MIRENDA, MARY O                       22 FEDERAL CITY RD              C/O MARGARET NESTAR                                                  EWING                NJ   08638‐1308
MIRENO STEFANI                        2520 CANARY ISLES DR                                                                                 MELBOURNE            FL   32901‐6800
MIRES, FRANK C                        PO BOX 352                                                                                           MITCHELL             IN   47446‐0352
MIRES, LINDA L                        1331 PROVIDENCE BLVD                                                                                 PROVIDENCE VILLAGE   TX   76227‐7569
MIRETTI, HORACIO A                    555 WYNGATE DR                                                                                       ROCHESTER            MI   48307‐6014
MIREYA A ORTIZ                        3229 CORLEAR AVE.                                                                                    BRONX                NY   10463
MIREYA MONTOYA                        804 N GRANT AVE                                                                                      JANESVILLE           WI   53548‐2382
MIREYA ORTIZ                          3229 CORLEAR AVE.                                                                                    BRONX                NY   10463
MIRGON, JAMES W                       5900 GOLDEN BROOK LN                                                                                 KEWADIN              MI   49648‐8980
MIRI, TALAL                           47500 RIVER WOODS DR                                                                                 CANTON               MI   48188‐3295
MIRIAM A BERKSHIRE                    5327 WILMINGTON PIKE                                                                                 CENTERVILLE          OH   45440‐2252
MIRIAM A DERNBACH                     8660 MARKLEY ROAD                                                                                    LUDLOW FALLS         OH   45339‐9760
MIRIAM A DUFF                         1523 OHMER AVE                                                                                       DAYTON               OH   45410‐3013
MIRIAM A EDWARDS                      28455 CANO                                                                                           MISSION VIEJO        CA   92692
MIRIAM A WELLS                        12040 PEARL ST                                                                                       SOUTHGATE            MI   48195‐1882
MIRIAM B MADDUX & BARBARA J BEGG JT   1055 2ND AVE # 2A                                                                                    NEW YORK             NY   10022‐4026
TEN
MIRIAM BENQUIS ENGAS                  AVDA QUINCHAMALI #14258         LAS CONDES                                SANTIAGO DE CHILE
MIRIAM BERKSHIRE                      5327 WILMINGTON PIKE                                                                                 CENTERVILLE          OH 45440‐2252
MIRIAM BOSTIC                         1810 PARK AVE W                                                                                      MANSFIELD            OH 44906‐2225
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Name                          Address1                          Address2                Address3   Address4               City               State Zip
MIRIAM BROWNSTEN              152 HARTFORD AVE                                                                            BUFFALO             NY 14223‐2738
MIRIAM CADIGAN                229 AUBURN WOODS CIRCLE                                                                     VENICE              FL 34292‐3088
MIRIAM CASTO                  189 LAWRENCE AVE                                                                            COLUMBUS            OH 43228‐6101
MIRIAM CHARKOWSKY             2451 SAINT GEORGES AVE FL 2                                                                 RAHWAY              NJ 07065‐2150
MIRIAM COLDEN                 420 STRATFORD SQUARE BLVD APT 3                                                             DAVISON             MI 48423‐1663
MIRIAM COLEMAN                DPC CARVEL UNIT                   1901 NORTH DUPONT HWY                                     NEW CASTLE          DE 19720
MIRIAM COOK                   6300 N WICKHAM RD STE 130 # 177                                                             MELBOURNE           FL 32940‐2029
MIRIAM DENNIS                 14028 CAMBERRA CT                                                                           CHESTERFIELD        MO 63017
MIRIAM DERNBACH               8660 MARKLEY RD                                                                             LUDLOW FALLS        OH 45339‐9760
MIRIAM E. NELSON AND JUDITH   145 ROUTE 37 S                                                                              SHARMAN             CT 06784
WEINSTOCK, MD
MIRIAM FEIST                  3137 LARUE DR                                                                               KETTERING          OH   45429‐3915
MIRIAM FENTON                 36 THAMES CT                                                                                CROSSVILLE         TN   38558‐6879
MIRIAM FINCH                  38373 NEBO DR                                                                               FREMONT            CA   94536‐1828
MIRIAM FLORES                 2629 MEDINAH CT                                                                             MODESTO            CA   95355‐9666
MIRIAM GAREAU                 4016 RIVEREDGE RD                                                                           CLEVELAND          OH   44111‐5627
MIRIAM GOODE                  808 LEWIS ST                                                                                KOKOMO             IN   46901‐6612
MIRIAM GRIFFIN                35090 W 8 MILE RD APT 3                                                                     FARMINGTON HILLS   MI   48335‐5153
MIRIAM GURGIGNO               110 BUCKBOARD LN                                                                            BRISTOL            CT   06010‐2430
MIRIAM HEMMIG                 103 CENTER PL APT 221                                                                       DUNDALK            MD   21222‐4345
MIRIAM HINTERBERGER           1062 COCOANUT AVE                                                                           SARASOTA           FL   34236
MIRIAM HORNING                18 BEECHWOOD AVE                                                                            BROOKVILLE         OH   45309‐1325
MIRIAM HOSE                   15136 CLEAR SPRING RD                                                                       WILLIAMSPORT       MD   21795‐3057
MIRIAM HULL                   3106 E 6TH ST                                                                               ANDERSON           IN   46012‐3826
MIRIAM JACQUES                3110 SILVER BELL DR                                                                         LAKE HAVASU CITY   AZ   86406‐6219
MIRIAM JOHNSON                621 S UNION ST                                                                              GALION             OH   44833‐3218
MIRIAM JORDAN                 11567 KENN RD                                                                               CINCINNATI         OH   45240‐2529
MIRIAM KAHL                   9534 FORDHAM ST                                                                             INDIANAPOLIS       IN   46268‐1226
MIRIAM L CANNONE              333 N FLORIDA AVE                                                                           DELAND             FL   32720‐3411
MIRIAM L HILTON               638 WILLOW SPRINGS DRIVE                                                                    DAYTON             OH   45427‐2840
MIRIAM L KAHL                 9534 FORDHAM ST                                                                             INDIANAPOLIS       IN   46268‐1226
MIRIAM LAWRENCE               JOSEPH LAWRENCE                   11377 SW 84TH ST        APT 232                           MIAMI              FL   33173
MIRIAM LAWSON                 4562 W STATE ROAD 128                                                                       FRANKTON           IN   46044‐9307
MIRIAM LITTERSCHEID           ASCHENBROEDELWEG 17                                                  D‐51067 KOLN GERMANY
MIRIAM LITTERSCHEID           ASCHENBROEDELWEG 17               D‐51067 KOLN, GERMANY
MIRIAM LOMBARDO               PO BOX 462                                                                                  ATHOL SPRINGS      NY   14010‐0462
MIRIAM LONG                   PO BOX 3155                                                                                 BUENA VISTA        CO   81211‐3155
MIRIAM M JAMGOTCHIAN          103 LAKE HARDIN RD                                                                          GADSDEN            AL   35904‐9793
MIRIAM MARKLEY                176 WILBUR DRIVE                                                                            MUNROE FALLS       OH   44262‐1329
MIRIAM MARTINEZ               9602 DEBRA JOY LN                                                                           SHREVEPORT         LA   71106‐7511
MIRIAM MATTSON                27777 DEQUINDRE RD APT 808                                                                  MADISON HTS        MI   48071‐3464
MIRIAM MEYER                  7772 TIMBERS EDGE                                                                           WATERVILLE         OH   43566‐9410
MIRIAM MITCHELL               561 EWING RD                                                                                FERRIS             TX   75125‐9157
MIRIAM MONTALVO               3365 W 13TH AVE                                                                             HIALEAH            FL   33012‐4815
MIRIAM NUNNALLY               1817 N LEEDS ST                                                                             KOKOMO             IN   46901‐2067
MIRIAM OLTERS                 645 ELINOR PL                                                                               RAHWAY             NJ   07065‐3603
MIRIAM PAGNAM                 959 GARRISON RD                                                                             VINELAND           NJ   08360
MIRIAM PICKENS                17601 GEORGE WASHINGTON DR                                                                  SOUTHFIELD         MI   48075‐2774
MIRIAM PICKERING              4591 SOUTHWESTERN BLVD APT W1                                                               HAMBURG            NY   14075‐1979
MIRIAM PIERCE                 24 HUNTING HILLS DR                                                                         BRASELTON          GA   30517‐5041
MIRIAM PINEIRO                6107 AMBLESIDE ST                                                                           SHREVEPORT         LA   71129‐3409
MIRIAM PUTTER                 1089 EASTBROOK RD.                                                                          MARTINSVILLE       NJ   08836
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Name                          Address1                        Address2                     Address3   Address4                 City               State Zip
MIRIAM QUIRK                  1615 BUICK LN                                                                                    KOKOMO              IN 46902‐2579
MIRIAM REYNAGA                941 OAK MEADOW DR                                                                                FRANKLIN            TN 37064‐5537
MIRIAM RICE                   7930 FAIRCHILD AVE                                                                               CANOGA PARK         CA 91306‐2009
MIRIAM RIVERA‐COVERT          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                       BOSTON HEIGHTS      OH 44236
MIRIAM ROSE                   417 DENICE DRIVE                                                                                 SEMINOLE            FL 33772‐4866
MIRIAM RUSSELL                250 KEARNEY ST                                                                                   PORTLAND            MI 48875‐1550
MIRIAM SANDERS FACEPAINTING   301 BIG OAK DR                                                                                   SHEPHERDSTOWN       WV 25443‐4598
MIRIAM SCHULKE                715 WEST BARNARD STREET                                                                          GLENNVILLE          GA 30427‐3028
MIRIAM SHAY                   3433 BURNSIDE RD                                                                                 OTTER LAKE          MI 48464‐9716
MIRIAM SIGURANI               170 S. PEARL STREET                                                                              YOUNGSTOWN          OH 44506
MIRIAM T BROWN IRA ACCOUNT    C/O ISABEL B BOGGS POA          804 ARCADIA LAKES DR                                             COLUMBIA            SC 29206
MIRIAM TANENHAUS              7360 FREEMAN PL # A                                                                              GOLETA              CA 93117‐2818
MIRIAM VARINO                 109 PRINCESS DR                                                                                  MONROE              LA 71203‐2926
MIRIAM WALKER                 APT 301A                        8813 MADISON AVENUE                                              INDIANAPOLIS        IN 46227‐6402
MIRIAM WIECZKOWSKI            2 WINDSOR LN                                                                                     YARDVILLE           NJ 08620‐9410
MIRIAM WILL                   2586 LANDINGS WAY                                                                                GROVE CITY          OH 43123‐9448
MIRIAM WILLIS                 6271 MANILA RD                                                                                   GOSHEN              OH 45122‐9411
MIRIAM WILSON                 4581 MILLERSVILLE RD                                                                             INDIANAPOLIS        IN 46205‐2504
MIRIAN MALIN                  12 BLUE MOON CT                                                                                  ELKTON              MD 21921‐3539
MIRIAN POORE                  919 COURT HOUSE POINT RD                                                                         CHESAPEAKE CITY     MD 21915‐1519
MIRIANA MINUCCI               PIAZZA A. PERUZZI 3                                                                              SOVICILLE                53018
MIRIANI, JOSEPH M             2401 PITTSFIELD BLVD                                                                             ANN ARBOR           MI 48104‐5238
MIRIANI, LOUIS C              33775 TAWAS TRL                                                                                  WESTLAND            MI 48185‐6933
MIRIANI, RICHARD A            44297 SATURN DR                                                                                  STERLING HEIGHTS    MI 48314‐3173
MIRIC INDUSTRIES PTY LTD      135 LEARMONTH STREET            BALLARAT VIC                            AUSTRALIA 3350
                                                                                                      AUSTRALIA
MIRIC INDUSTRIES PTY LTD      135 LEARMOUTH ST                                                        BALLARAT VI 3350
                                                                                                      AUSTRALIA
MIRICH JR, STEPHEN            208 OAKGROVE ST                                                                                  LOCUST             NC   28097‐9645
MIRICH JR, STEPHEN            5666 TULANE AVE                                                                                  AUSTINTOWN         OH   44515‐4224
MIRICH SR, GEORGE             PO BOX 205                      3280 GLACIER RD                                                  NEW SPRINGFLD      OH   44443‐0205
MIRICH, BETTY LOUISE          4165 BAYMAR DR                                                                                   YOUNGSTOWN         OH   44511‐3332
MIRICH, BETTY LOUISE          4165 BAYMAR DRIVE                                                                                YOUNGSTOWN         OH   44511‐3332
MIRICH, LOUIS                 3280 GLACIER RD                                                                                  NEW SPRINGFIELD    OH   44443‐9716
MIRICH, STEPHEN               3238 MEREDYTH LN                                                                                 YOUNGSTOWN         OH   44511‐2222
MIRIELLE M HOULE              PO BOX 7029                                                                                      HUDSON             FL   34674‐7029
MIRIELLI, FRANK E             612 JOYCEANN DR                                                                                  MANCHESTER         MO   63021‐5344
MIRIELLO, BONNIE S            8801 KATRINA COURT                                                                               RALEIGH            NC   27613
MIRIZIO, JUDITH H             139 TOPAZ TRL                                                                                    CORTLAND           OH   44410‐1349
MIRJA HOPPE                   ROSENSTR 19H                                                            25365 SPARRIESHOOP
                                                                                                      GERMANY
MIRJAM BUTCHER                15011 HARRISON ST                                                                                LIVONIA            MI 48154‐3955
MIRJAM SCHAKEL                SCHILLERPLATZ 9
MIRJANA BOZOVIC               2955 N MEADE AVE                                                                                 CHICAGO            IL   60634‐5025
MIRJANA DRAGAR                10422 BRIGHTON RD                                                                                CLEVELAND          OH   44108
MIRJANA DWYER                 30351 BOEWE DR                                                                                   WARREN             MI   48092‐1974
MIRJANA KOSTIC                7302 SUMMIT RD                                                                                   DARIEN             IL   60561‐3529
MIRJANA NAUMOVA               3290 TUMWATER VALLEY DR                                                                          PICKERINGTON       OH   43147‐9831
MIRKA, ROSE F                 8455 PARKDALE DR                                                                                 NORTH ROYALTON     OH   44133‐1607
MIRKEC TRUCKING INC           131 MARINA GROVE CRES                                                   TECUMSEH CANADA ON
                                                                                                      N9K 1C8 CANADA
MIRKHANI, KAZEM               68660 WINGATE DR                                                                                 WASHINGTON         MI 48095‐1258
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Name                          Address1                            Address2                       Address3                     Address4            City                State Zip
MIRKIN, JOSE A                1720 TREYBORNE CIR                                                                                                  COMMERCE TOWNSHIP    MI 48390‐2838
MIRKO BASIOLI                 134 EUCLID AVE                                                                                                      RIDGEFIELD PK        NJ 07660‐1711
MIRKO CARDINALI               C/O BRINI ADRIANO                   VIA R.LUXEMBURG 2/B                                                             IMOLA                     40026
MIRKO RUNDEK                  48873 PALMYRA DR                                                                                                    SHELBY TOWNSHIP      MI 48317‐2539
MIRKOVICH, VERA               2349 COLLINS WAY                                                                                                    GREENFIELD           IN 46140‐7532
MIRL ANDERSON                 3490 CLIFFORD RD                                                                                                    CLIFFORD             MI 48727‐9704
MIRL E GREENWOOD              816 3RD ST APT 1                                                                                                    BAY CITY             MI 48708‐5961
MIRL SPENCER                  7439 TAFT RD                                                                                                        MECOSTA              MI 49332‐9641
MIRLE, SANJEEV C              5560 CLEARVIEW DR                                                                                                   TROY                 MI 48098‐2494
MIRNA NEVES                   318 RANKIN AVE                                                                                  WINDSOR ON N9B2R7
                                                                                                                              CANADA
MIRNA SOTO                    192 FRENCH STREET                                                                                                   NEW BRUNSWICK        NJ   08901‐2328
MIRNA TOBIAS                  ATTN: ROGER S BRAUGH JR / DAVID E   SICO, WHITE, HOELSCHER & BRAUGH 802 NORTH CARANCAHUA, STE                       CORPUS CHRISTI       TX   78470
                              HARRIS                              LLP                             900
MIRO JADRIC                   20111 183RD ST                                                                                                      TONGANOXIE          KS 66086‐5326
MIRO JOSEPH (436914)          ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                                             NEW YORK            NY 10006‐1638
MIRO MIRO & WEINER            PO BOX 908                          500 NORTH WOODWARD AVE. SUITE                                                   BLOOMFIELD HILLS    MI 48303‐0908
                                                                  100
MIRO WEINER & KRAMER          CENTERPOINT ASSOCIATES LIMITED      200 FRANKLIN CENTER           29100 NORTHWESTERN                                SOUTHFIELD          MI 48034
                              PARTNERSHIP                                                       HIGHWAY
MIRO WEINER & KRAMER PC       38500 WOODWARD AVE STE 100                                                                                          BLOOMFIELD HILLS    MI    48304‐5048
MIRO, JOSEPH                  ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                                             NEW YORK            NY    10006‐1638
MIRO, WEINER & KRAMER, P.C.   SEAN P. CORCORAN                    500 NORTH WOODWARD             SUITE 100                                        BLOOMFIELD HILLS    MI    48303
MIROCHA'S AUTO SERVICE        315 W 5TH ST                                                                                                        KEWANEE             IL    61443‐2137
MIROLLA LAURA A               MIROLLA, LAURA A                    1950 SAWTELLE BLVD STE 245                                                      LOS ANGELES         CA    90025‐7017
MIRON COSMA                   20000 VINING RD                                                                                                     NEW BOSTON          MI    48164‐9158
MIRON JR, DONALD J            2072 CASALOMA CT                                                                                                    FLINT               MI    48532‐2717
MIRON JR, EUGENE J            2221 S OAK RD                                                                                                       DAVISON             MI    48423‐9152
MIRON PIPPINS                 1216 JOHNSTON ST SE                                                                                                 GRAND RAPIDS        MI    49507‐2803
MIRON V KUSNECOV              724 S MIAMI                                                                                                         W MILTON            OH    45383
MIRON, A E                    913 SPRUCE ST                                                                                                       TRENTON             NJ    08638‐3968
MIRON, B A                    6411 SAMSON DR                                                                                                      GRAND BLANC         MI    48439‐9745
MIRON, DENNIS G               16800 SE 1ST ST                                                                                                     SILVER SPRINGS      FL    34488‐5406
MIRON, EUGENE J               10072 W PIERSON RD                                                                                                  FLUSHING            MI    48433‐9718
MIRON, GOLDIE I               2090 EAST WHITTEMORE AVENUE                                                                                         BURTON              MI    48529‐1724
MIRON, JILL A                 9399 APPLE BLOSSOM CT                                                                                               DAVISON             MI    48423‐1197
MIRON, JILL ANNE              9399 APPLE BLOSSOM CT                                                                                               DAVISON             MI    48423‐1197
MIRON, LINDA L                12249 TUTTLEHILL RD                                                                                                 MILAN               MI    48160‐9024
MIRON, MARINA I               1214 CHARTWELL CARRIAGE WAY S                                                                                       EAST LANSING        MI    48823‐2458
MIRON, ROBERT J               3738 BENNETT AVE                                                                                                    FLINT               MI    48506‐3106
MIRON, RONALD A               411 NORTH 6TH STREET                APT 2477                                                                        EMERY               SD    57332
MIRON, SHAUNA K               2301 GRANGE HALL RD                                                                                                 BEAVERCREEK         OH    45431‐2307
MIRON, THOMAS W               2447 SANDSTONE CT                                                                                                   DAVISON             MI    48423‐8629
MIRON, WILLIAM S              918 CLELAND MILL RD                                                                                                 NEW CASTLE          PA    16102‐3208
MIRON, WILLIAM STANLEY        918 CLELAND MILL RD                                                                                                 NEW CASTLE          PA    16102‐3208
MIRONE, JOHN P                1416 TOMILU DR                                                                                                      GIRARD              OH    44420‐1456
MIRONE, JOHN P                1416 TOMILU DR.                                                                                                     GIRARD              OH    44420‐1456
MIRONOWICZ, PATRICIA A        RD 4 BX 490 GA SCHOOLHOUSE RD                                                                                       HOWELL              NJ    07731
MIROS, CAROL                  1152 ALPINE DR                                                                                                      SANDUSKY            OH    44870‐5017
MIROS, CHARLES                1152 ALPINE DR                                                                                                      SANDUSKY            OH    44870‐5017
MIROS, STANLEY J              17109 5TH ST                                                                                                        BARRYTON            MI    49305‐9523
MIROSLAV DURES                6605 PEAR TREE LN                                                                                                   MENTOR              OH    44060‐4082
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Name                                Address1                               Address2                    Address3   Address4         City               State Zip
MIROSLAV KOHL                       1512 ABERDEEN PL                                                                               BLOOMFIELD          MI 48304‐1000
MIROSLAV MICOVIC                    18421 LANGE ST                                                                                 LANSING              IL 60438‐3305
MIROSLAV SKRIPNIK                   12869 CIMARRON DR                                                                              BIRCH RUN           MI 48415‐9315
MIROSLAV STARESINIC                 16362 DONAHOO RD                                                                               BASEHOR             KS 66007‐5205
MIROSLAW H RAISKY                   PO BOX 4984                                                                                    YOUNGSTOWN          OH 44515‐0984
MIROSLAW HARBAR                     1970 BAMBY LN                                                                                  MILFORD             MI 48381‐2107
MIROSLAW LISOWSKI                   6306 N CAMDEN AVE APT E                                                                        KANSAS CITY         MO 64151‐4314
MIROSLAW RAISKY                     PO BOX 4984                                                                                    AUSTINTOWN          OH 44515‐0984
MIROSLAW SOCHA                      2216 REGENCY HILLS DR                                                                          SHELBY TOWNSHIP     MI 48316‐2057
MIROSLAW ZALOGA                     4630 ROYAL COVE DR                                                                             SHELBY TOWNSHIP     MI 48316‐1500
MIROVSKY, DANIEL E                  605 4TH AVE                                                                                    PONTIAC             MI 48340‐2023
MIROVSKY, GERALD J                  2897 GENES DR                                                                                  AUBURN HILLS        MI 48326‐2107
MIROVSKY, JACK D                    5281 EASTVIEW RD                                                                               CLARKSTON           MI 48346‐4105
MIROVSKY, LEROY W                   57 CLIVE AVE                                                                                   WATERFORD           MI 48328‐2801
MIROVSKY, MADELEINE M               2756 HARRISON AVENUE                                                                           ROCHESTER HLS       MI 48307‐4745
MIRREL BROWN                        304 WILMA AVE TRLR 250                                                                         LOUISVILLE          KY 40229‐6634
MIRRIAM FINCH                       4375 STATE ROUTE 87                                                                            FARMDALE            OH 44417‐9732
MIRRIAM WISENBAUGH                  108 RIVER OAKS DR                                                                              ROSCOMMON           MI 48653‐9120
MIRRIONE, ANTHONY J                 3780 LYELL RD                                                                                  ROCHESTER           NY 14606‐4409
MIRSBERGER SALES & SERVICE          37 N 8TH ST                                                                                    HILBERT             WI 54129‐9273
MIRSHAK MICHAEL E                   MIRSHAK, MICHAEL                       649 N YORK ST                                           ELMHURST             IL 60126‐1604
MIRTES, BETTY J                     2153 NEW STATE ROAD                                                                            NORWALK             OH 44857‐9165
MIRTES, MARGARET L                  2708 HULL RD                           C/O ARTHUR C. MIRTES                                    HURON               OH 44839‐2111
MIRTHA CAPIRO, U.S. ENVIRONMENTAL   REGION 5, LAND AND CHEMICAL DIVISION   77 WEST JACKSON BOULEVARD                               CHICAGO              IL 60604
PROTECTION AGENCY

MIRTHA CAPIRO, U.S. ENVIRONMENTAL   LAND AND CHEMICAL DIVISION             77 WEST JACKSON BOULEVARD                               CHICAGO             IL   60604
PROTECTION AGENCY, REGION 5

MIRTO JR, FRANK A                   103 ARLINE DR                                                                                  WATERBURY          CT    06705‐3506
MIRTO, CHARLES F                    403 DENVER RD                                                                                  WILMINGTON         DE    19804‐3028
MIRTO, JOHN V                       1670 PEPPERMILL RD                                                                             LAPEER             MI    48446‐3244
MIRTO, LOUIS J                      8 GARDEN OF EDEN RD                                                                            WILMINGTON         DE    19803‐1502
MIRTO, MARIA R                      3131 CHESAPEAKE DR                                                                             STERLING HEIGHTS   MI    48314‐1868
MIRUS INC                           25531 DEQUINDRE RD                                                                             MADISON HEIGHTS    MI    48071‐4242
MIRZA BAIG                          1628 HILLSIDE LN                                                                               ROCHESTER HILLS    MI    48307‐3437
MIRZA BAIG                          4926 MENOMINEE LANE                                                                            CLARKSTON          MI    48348‐2276
MIRZA MANGILIN                      11875 SHAFFER RD                                                                               DAVISBURG          MI    48350‐3846
MIRZA, AMIR F                       2819 N TIBBS AVE                                                                               INDIANAPOLIS       IN    46222‐2132
MIRZA, FARHAN A                     PO BOX 1206                                                                                    CARPINTERIA        CA    93014‐1206
MIRZA, LIAQUAT                      3009 RICHMOND DR                                                                               ROCHESTER HILLS    MI    48309‐4086
MIRZAMOHAMMADI, DEBRA               231 RIVER WOODS LN                                                                             BURNSVILLE         MN    55337‐3381
MIS CORPORATION ‐ MICHIGAN          MECHANICAL INSULATION SERVICES         304 S NIAGARA                                           SAGINAW            MI    48602
MIS ENVIRONMENTAL SVCS INC          3515 JANES AVE STE 1                                                                           SAGINAW            MI    48601
MIS INSULATION INC                  1300 WOODSIDE AVE                      PO BOX 68                                               ESSEXVILLE         MI    48732‐1242
MIS INSULATION INC                  INDUSTRIAL INSULATION & FIREPR         1300 WOODSIDE AVE                                       ESSEXVILLE         MI    48732‐1242
MIS JOSEPH                          1122 BAY RIDGE PKWY                                                                            BROOKLYN           NY    11228‐2338
MIS TRAINING INSTITUTE              498 CONCORD ST                                                                                 FRAMINGHAM         MA    01702‐2322
MIS, ALEC R                         1461 CRANBERRY CT                                                                              WIXOM              MI    48393‐1619
MIS, EDWARD G                       7936 POCHUCK RD                                                                                BLISS              NY    14024‐9613
MIS, GERALD W                       PO BOX 2                                                                                       CARO               MI    48723‐0002
MIS, HARRY S                        99 EDGAR AVE                                                                                   BUFFALO            NY    14207‐1025
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Name                               Address1                          Address2                         Address3               Address4                 City            State Zip
MIS, ROSE                          5815 TONAWANDA CREEK RD.                                                                                           LOCKPORT         NY 14094‐7939
MISA BRASS, JOANNE BRASS‐SPITZ,    HARRY RAY SPITZ AND GRACE BRASS   ATTN: MR PETER J DAUGHTERY       DAUGHTERY, CRAWFORD,   POST OFFICE BOX 1118     COLUMBUS         GA 31902
                                                                                                      FULLER & BROWN LLP
MISA BROOKS                         5033 CHAMBLISS DR                                                                                                 LAS VEGAS       NV 89130‐2170
MISA METAL/PORTLAND                 104 WESTERN DR                   PO BOX 469                                                                       PORTLAND        TN 37148‐2017
MISA METALS INC                     PO BOX 8712                                                                                                       WEST CHESTER    OH 45071‐8712
MISA‐NATIONAL METAL PROCESSINGSA DE AV MONTES URALES NO 11 PARQUE    IND OPCION SAN JOSE GUANAJUATO                          CP 37980 MEXICO MEXICO
CV
MISAE SLAVIK                        1‐30 KAIHO                       OKINAWA SHI                                             OKINAWA KEN JAPAN 904‐
                                                                                                                             2162
MISAEL VAZQUEZ                     104 W LAKE CT                                                                                                      FRANKLIN        TN    37067‐5628
MISAK, STEVE                       1372 BLANCHARD ST SW                                                                                               WYOMING         MI    49509‐2722
MISAK, VIRGINIA                    1372 BLANCHARD SW                                                                                                  WYOMING         MI    49509‐2722
MISALE, PETER                      1451 S GENEVIEVE ST                                                                                                BURTON          MI    48509‐2401
MISAMORE, ROGER E                  47 SOMERSET LN                                                                                                     LAKE PLACID     FL    33852‐7704
MISARAS, RONALD S                  11836 CROOKED LN                                                                                                   SOUTH LYON      MI    48178‐9310
MISBACH, JOSEPH H                  6101 N EWING ST                                                                                                    INDIANAPOLIS    IN    46220‐5146
MISBACH, JOSEPH HENRY              6101 N EWING ST                                                                                                    INDIANAPOLIS    IN    46220‐5146
MISCEVICH, JULIA Z                 120 WOODLAND TRCE                                                                                                  CORTLAND        OH    44410‐1903
MISCEY REBECCA                     5450 N PARAMOUNT BLVD SPC 39                                                                                       LAKEWOOD        CA    90805‐8235
MISCH, BARBARA L                   42062 COVENTRY WAY                                                                                                 CANTON          MI    48187‐5706
MISCH, DAVID J                     4055 FOREST ST                                                                                                     LEONARD         MI    48367
MISCH, GARY D                      2217 SCHULTZ ST                                                                                                    LINCOLN PARK    MI    48146‐2561
MISCH, HOWARD J                    49649 DOVER DR                                                                                                     CHESTERFIELD    MI    48047‐1705
MISCH, PAUL C                      528 E BROCKTON AVE                                                                                                 MADISON HTS     MI    48071‐4306
MISCH, PAUL D                      55572 SILVER CREEK LN                                                                                              MACOMB          MI    48042‐2360
MISCHE STEVE                       10809 MALAGUENA LN NE                                                                                              ALBUQUERQUE     NM    87111‐6821
MISCHI, JOHN E                     4325 GULF OF MEXICO DR UNIT 404                                                                                    LONGBOAT KEY    FL    34228‐2400
MISCHKA, FAYE R                    35240 W MICHIGAN AVE #316                                                                                          WAYNE           MI    48184‐3319
MISCHKE, DIANE A                   611 S NOAH TER                                                                                                     MT PROSPECT      IL   60056‐3533
MISCHKE, RAYMOND L                 APT S109                          2751 REGENCY OAKS BOULEVARD                                                      CLEARWATER      FL    33759‐1518
MISCHKE, RAYMOND L                 2751 REGENCY OAKS BLVD APT S109                                                                                    CLEARWATER      FL    33759‐1518
MISCHKE, VERA MAE                  3863 GREEN LEAF DRIVE                                                                                              LAS VEGAS       NV    89120‐1309
MISCHLER DAVID                     3706 E BAYCLIFFS DR                                                                                                MARBLEHEAD      OH    43440‐3092
MISCHLER, DAVID B                  3706 E BAYCLIFFS DR                                                                                                MARBLEHEAD      OH    43440‐3092
MISCHLER, DAVID BRADLEY            3706 E BAYCLIFFS DR                                                                                                MARBLEHEAD      OH    43440‐3092
MISCHLER, ROBERT C                 6195 E PORT CLINTON EASTERN RD                                                                                     LAKESIDE        OH    43440‐9784
MISCHLEY, DORIS J                  114 MESA DRIVE                                                                                                     SALIDA          CO    81201‐1709
MISCHLEY, GREGORY M                3969 HILLSDALE DR                                                                                                  AUBURN HILLS    MI    48326‐4303
MISCHLEY, JAMES J                  8710 NORTHPOINT SHRS                                                                                               ALPENA          MI    49707‐8819
MISCHLEY, SHIRLEY                  8710 NORTHPOINT SHRS                                                                                               ALPENA          MI    49707‐8819
MISCHOU, LINDA K                   1206 BOERNE DR                                                                                                     CEDAR PARK      TX    78613
MISCIAGNA, JOHN J                  30 BARRY LN                                                                                                        NORTHFIELD      OH    44067‐2746
MISCIKOSKI, CHARLES H              414 S OAK ST                                                                                                       EVART           MI    49631‐9309
MISCISKIA, ANTHONY                 4792 SAGE RD                                                                                                       TIONESTA        PA    16353‐6243
MISCO REFRACTOMETER                3401 VIRGINIA RD                                                                                                   BEACHWOOD       OH    44122‐4225
MISCOI, EDNA C                     2719 PRESIDENT LN                                                                                                  KOKOMO          IN    46902‐3066
MISCONIN, LA VERNE C               6112 FRY RD                                                                                                        BROOK PARK      OH    44142‐2727
MISCZAK, DIANE L                   PO BOX 91                                                                                                          PORT HOPE       MI    48468‐0091
MISDARY, ABDELMISSEH A             29 BURGUNDY DR                                                                                                     LAKE ST LOUIS   MO    63367‐1505
MISDU #09                          PO BOX 831                        OBO: THOMAS R. AUER                                                              BAY CITY        MI    48707‐0831
MISDU #09                          PO BOX 30350                      FBO: MARY H. WAGNER                                                              LANSING         MI    48909‐7850
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Name                                  Address1                         Address2                      Address3   Address4         City              State Zip
MISDU #25                             PO BOX 30350                     C/O BILLY BATES                                           LANSING            MI 48909‐7850
MISDU #25                             PO BOX 30350                     OBO: J. FOSTER                                            LANSING            MI 48909‐7850
MISDU #78                             PO BOX 30350                     OBO: FRANK KODRICK                                        LANSING            MI 48909‐7850
MISDU (MI STATE DISBURSEM ENT UNIT)   PO BOX 30350                                                                               LANSING            MI 48909‐7850

MISDU25                               PO BOX 30350                     OBO: JIMMIE L. WHITE                                      LANSING           MI   48909‐7850
MISEK GEOFF                           11101 BENDIX DRIVE                                                                         GOODRICH          MI   48438‐9021
MISEK, EVELYN L                       4019 FERN AVE                                                                              LYONS             IL   60534‐1022
MISEK, GAIL S                         11101 BENDIX DR                                                                            GOODRICH          MI   48438‐9021
MISEK, GERALDINE R                    3820 SO 61ST AVE                                                                           CICERO            IL   60804‐4120
MISEK, GERALDINE R                    3820 S 61ST AVE                                                                            CICERO            IL   60804‐4120
MISEK, JACQUELINE                     321 S CASS AVE                                                                             WESTMONT          IL   60559‐1931
MISEK, RICHARD E                      11101 BENDIX DR                                                                            GOODRICH          MI   48438‐9021
MISEKOW, ANTHONY R                    14008 NEFF RD                                                                              CLIO              MI   48420‐8806
MISEKOW, ANTHONY RUSSELL              14008 NEFF RD                                                                              CLIO              MI   48420‐8806
MISEKOW, GERALD D                     2400 STARLITE DR                                                                           SAGINAW           MI   48603‐2537
MISEKOW, KENNETH J                    795 FRITZLER DR                                                                            SAGINAW           MI   48609‐5103
MISEKOW, MELISSA A                    5541 LAKECRESS DR S                                                                        SAGINAW           MI   48603‐1688
MISEKOW, MELISSA ANN                  5541 LAKECRESS DR S                                                                        SAGINAW           MI   48603‐1688
MISEKOW, RUSSELL J                    5438 W VIENNA RD                                                                           CLIO              MI   48420‐9479
MISEL, HELEN A                        121 WADE AVE                                                                               NILES             OH   44446‐1926
MISEL, RICHARD E                      2742 18TH ST NW                                                                            BAUDETTE          MN   56623‐8889
MISENAR, DAVID D                      1879 MANORHAVEN ST                                                                         ORTONVILLE        MI   48462‐8524
MISENAR, JOHN M                       1725 NEWCASTLE DR                                                                          JENISON           MI   49428‐8546
MISENAR, LEROY A                      120 LANDING CT                                                                             BESSEMER CITY     NC   28016‐6723
MISENAR, RONALD E                     31088 WINDSOR ST                                                                           WESTLAND          MI   48185‐2909
MISENAR, RONALD ERIC                  31088 WINDSOR ST                                                                           WESTLAND          MI   48185‐2909
MISENCIK, PATRICIA A                  131 BRIGHTWOOD AVE                                                                         STRATFORD         CT   06614‐4111
MISENER, CHARLES A                    28360 TOWNLEY ST                                                                           MADISON HTS       MI   48071‐5307
MISENER, DEAN T                       4365 FARWELL LAKE ROAD                                                                     HORTON            MI   49246‐9726
MISENER, DORA A                       2692 NE HIGHWAY 70 LOT 29                                                                  ARCADIA           FL   34266‐9759
MISENER, EDWARD J                     459 FRANKFORD AVE NW                                                                       PALM BAY          FL   32907
MISENER, EDWIN V                      16600 INGERSOLL RD                                                                         LANSING           MI   48906‐9151
MISENER, GENEVA M                     11551 HOLLY ANN DR                                                                         NEW PORT RICHEY   FL   34654‐1733
MISENER, GORDON A                     6193 CARPENTER RD                                                                          FLUSHING          MI   48433‐9020
MISENER, ILA                          7184 MCTAGGART RD                                                                          NORTH BRANCH      MI   48461‐8793
MISENER, MADELINE                     6082 LAKE RD                                                                               MILLINGTON        MI   48746‐9209
MISENER, PAUL A                       6082 LAKE RD                                                                               MILLINGTON        MI   48746‐9209
MISENER, RALPH D                      29244 CRAWFORD AVE                                                                         PUNTA GORDA       FL   33982‐8582
MISENER, TERRY L                      4421 VAN VLEET RD                                                                          SWARTZ CREEK      MI   48473‐8574
MISENER, TERRY LEE                    4421 VAN VLEET RD                                                                          SWARTZ CREEK      MI   48473‐8574
MISENHEIMER JAMES D (345117)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                                       STREET, SUITE 600
MISENHEIMER, JAMES D                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                       STREET, SUITE 600
MISENHELTER DON                       NEED BETTER ADDRESS 10/03/06CP   4530 BANNISTER RD                                         KANSAS CITY       MO   64137
MISER, DEAN L                         2832 GREENBRIAR ST                                                                         SARASOTA          FL   34237‐7312
MISER, HAZEL F                        2017 W 3RD ST                                                                              NEWTON            KS   67114‐5114
MISER, JEFFREY A                      933 NORTHRIDGE DR                                                                          SEVEN FIELDS      PA   16046‐4258
MISGALLA, RICHARD J                   29 DRUMCLIFF WAY                                                                           ROCHESTER         NY   14612‐3109
MISHA GORDIN                          15257 FRUIT FARM RD                                                                        SAINT JOSEPH      MN   56374‐9627
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Name                              Address1                           Address2                          Address3     Address4              City            State Zip
MISHAAL                           MISHAAL ALQWAIFEL                  SAUDIA ARIBA                                   RIYADH 104760 SAUDI
                                                                                                                    ARABIA
MISHAAN RICHARD                   1035 5TH AVE                                                                                            NEW YORK         NY   10028‐0135
MISHAKIS, CHRISTINE               22322 MAPLEWOOD DR                                                                                      SOUTHFIELD       MI   48033‐5946
MISHAL, FATHI                     #1                                 211 SAINT JOHNS AVENUE                                               STATEN ISLAND    NY   10305‐2925
MISHALL, LINDA K                  564 BOUTELL DR                                                                                          GRAND BLANC      MI   48439‐1534
MISHANEC, STEPHEN P               5204 BIRCHWOOD WAY                                                                                      LANSING          MI   48917‐1301
MISHARK, JOSEPH E                 887 WHITE OAK DR                                                                                        ORTONVILLE       MI   48462‐8851
MISHAWAKA LEASING COMPANY, INC    7901 SOUTH PARK PLAZA              SUITE 204                                                            LITTLETON        CO   80120
MISHAWAKA LEASING COMPANY, INC    7901 SOUTHPARK PLZ STE 204                                                                              LITTLETON        CO   80120‐4505
MISHAWAKA LEASING COMPANY, INC    DENISEJ@MISHAWAKALEASING.COM       7901 SOUTHPARK PLZ STE 204                                           LITTLETON        CO   80120‐4505
MISHAWAKA LEASING COMPANY, INC.   ATTN: DENISE JONES                 7901 SOUTHPARK PLAZA              SUITE 204                          LITTLETON        CO   80120
MISHAWAKA LEASING CORP            7901 SOUTHPARK PLZ STE 204                                                                              LITTLETON        CO   80120‐4505
MISHAWAKA/DENVER                  2750 S WADSWORTH                   CAPITAL PREFERRED YIELD FUNDIII   SUITE C200                         DENVER           CO   80227

MISHCHENKO, PAUL I                359 MOUNT MILLS RD                                                                                      MONROE TWP.     NJ    08831‐9801
MISHCHENKO, PAUL I                359 MOUNTS MILLS RD                                                                                     MONROE TWP      NJ    08831‐2933
MISHEFSKI, EDITH M                3437 N OAKLAND AVE                                                                                      MILWAUKEE       WI    53211‐2824
MISHEL KOCSIS                     4448 THORNTREE DR                                                                                       BURTON          MI    48509‐1225
MISHENKO, BETTY L                 5351 W 150TH ST                                                                                         BROOK PARK      OH    44142‐1738
MISHER, LEE
MISHICOT AUTO SALES               137 W MAIN ST                                                                                           MISHICOT         WI   54228‐9678
MISHIEV NATAN T                   MISHIEV, NATAN T                   89 N HADDON AVE                                                      HADDONFIELD      NJ   08033‐2423
MISHION, BETTY J                  1613 NE 39TH ST                                                                                         OKLAHOMA CITY    OK   73111‐5208
MISHKIN, FLORENCE S               3150 N COURSE LN APT 410                                                                                POMPANO BEACH    FL   33069‐5429
MISHKIN, FLORENCE S               3150 NORTH COURSE LANE             APT 410                                                              POMPANO BEACH    FL   33069‐5429
MISHLAN, DONALD F                 28 KINGS BLVD                                                                                           LEESBURG         FL   34748‐8931
MISHLEAU, CHARLES A               3198 5TH LN                                                                                             OXFORD           WI   53952
MISHLEAU, RICHARD R               125 S 7TH ST                                                                                            DECATUR          IN   46733‐1680
MISHLEAU, RICHARD R.              125 S 7TH ST                                                                                            DECATUR          IN   46733‐1680
MISHLEAU, RONALD H                222 MOHAWK RD                                                                                           JANESVILLE       WI   53545‐2275
MISHLEAU, WAYNE L                 473 FERN AVE                                                                                            OXFORD           WI   53952‐8700
MISHLER KURT                      6539 SOUTH 700 WEST‐90                                                                                  WARREN           IN   46792
MISHLER, BEATRICE W
MISHLER, DAVID D                  12 HILLTOP DR                                                                                           WEST MILTON     OH    45383‐1901
MISHLER, DAVID L                  1333 WINDING WAY                                                                                        ANDERSON        IN    46011‐1635
MISHLER, DENNIS M                 4387 MUIRFIELD DR                                                                                       BRIGHTON        MI    48116‐9784
MISHLER, ELIZABETH F              234 HELEN ST                                                                                            HAMDEN          CT    06514‐4335
MISHLER, EUGENE N                 4067 N HAZEL RD                                                                                         LINCOLN         MI    48742‐9616
MISHLER, GARY D                   N5044 S PINE RIVER RD                                                                                   HESSEL          MI    49745‐9349
MISHLER, GARY DELOS               N5044 S PINE RIVER RD                                                                                   HESSEL          MI    49745‐9349
MISHLER, GLENN F                  13747 S 150 E                                                                                           KOKOMO          IN    46901‐7591
MISHLER, KATHLEEN B               906 E STURGIS ST APT 8                                                                                  SAINT JOHNS     MI    48879‐2071
MISHLER, KENNETH                  PO BOX 176                                                                                              CHARLOTTE       MI    48813‐0176
MISHLER, KENNETH L                6514 LANSING RD                                                                                         CHARLOTTE       MI    48813‐9377
MISHLER, LARRY K                  1649 MANCHESTER WAY                                                                                     GLADWIN         MI    48624
MISHLER, LYNN C                   8510 W VERMONTVILLE HWY                                                                                 VERMONTVILLE    MI    49096‐9550
MISHLER, MARGY A                  11644 LOIS CROSS DR                                                                                     JACKSONVILLE    FL    32258
MISHLER, MICHAEL D                5926 KYES RD                                                                                            LANSING         MI    48911‐4913
MISHLER, MICHELE
MISHLER, ROGER G                  5 TODGERS CT                                                                                            BRENTWOOD        TN 37027‐7628
MISHLER, VIOLET A                 S93W35051 WESTWIND DR                                                                                   EAGLE            WI 53119‐1600
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Name                           Address1                        Address2                   Address3   Address4         City              State Zip
MISHLER, VIOLET A              S 93 W 35051 WESTWIND DR                                                               EAGLE              WI 53119
MISHLER, WARREN E              2758 W COUNTY ROAD 400 S                                                               GREENCASTLE        IN 46135‐8103
MISHLER, YVONNE E              5926 KYES RD                                                                           LANSING            MI 48911‐4913
MISHOE, JUDY                   HANNA & SCOTT LAW OFFICES       200 N MAIN ST FL 2                                     SANTA ANA          CA 92701‐4800
MISHRA, PRADYUMNA K            PO BOX 9022                     C/O SAAB AUTO (TROLLHTN)                               WARREN             MI 48090‐9022
MISHRA, PRAKASH N              6909 CARRINGTON CIR W                                                                  WEST BLOOMFIELD    MI 48322‐2968
MISHRA, PRATEEK                PO BOX 9022                                                                            WARREN             MI 48090‐9022
MISHRA, RAJA K                 54280 IROQUOIS LN                                                                      SHELBY TWP         MI 48315‐1126
MISHRA, SAKET A                APT 1209                        901 SOUTH ASHLAND AVENUE                               CHICAGO             IL 60607‐4093
MISHRA, SAKET A                901 S ASHLAND AVE APT 1209                                                             CHICAGO             IL 60607‐4093
MISIAK, BARBARA                4206 KENDALL AVE                                                                       NORTH PORT         FL 34286‐6097
MISIAK, CLARA                  36550 GRAND RIVER AVE APT 207                                                          FARMINGTON         MI 48335‐3065
MISIAK, CLARA                  36550 GRAND RIVER AVENUE        APT 207                                                FARMINGTON         MI 48335
MISIAK, DENNIS J               501 HULL AVE                                                                           LEWISBURG          TN 37091‐3618
MISIAK, JOHN J                 21613 ENGLEHARDT ST                                                                    ST CLAIR SHRS      MI 48080‐2931
MISIAK, MICHAEL J              1429 N HIDDEN CREEK DR                                                                 SALINE             MI 48176‐9019
MISIAK, MICHAEL J              94 FERNDALE AVE                                                                        KENMORE            NY 14217‐1004
MISIAK, MICHAEL JOSEPH         94 FERNDALE AVE                                                                        KENMORE            NY 14217‐1004
MISIAK, RICHARD C              18315 ROSECLIFF RD                                                                     CLEVELAND          OH 44119‐1635
MISIAK, RICHARD J              168 E MOUNT FOREST RD                                                                  PINCONNING         MI 48650‐8926
MISIAK, RICHARD W              3598 WHEELER RD                                                                        BAY CITY           MI 48706‐1711
MISIAK, ROBERT H               24055 VIRGINIA DR                                                                      WARREN             MI 48091‐1615
MISIAK, ROSEMARIE N            11291 KATRINE DR                                                                       FENTON             MI 48430‐9007
MISIAK, RUBY OLINE             30316 AUSTIN DR                                                                        WARREN             MI 48092‐1897
MISIAK, SHIRLEY                224 PARADISE BLVD                                                                      MADISON            OH 44057‐2731
MISIAK, THADDEUS V             5861 SUNSET DR                                                                         DAVISON            MI 48423‐8003
MISIALOWSKI, HENRY             11403 MARION                                                                           REDFORD            MI 48239‐2016
MISICH, TOMA                   42150 KIMBERLY WAY                                                                     MURRIETA           CA 92562
MISIER, JEFFREY T              965 FLORIDA AVE                                                                        MC DONALD          OH 44437‐1611
MISIER, LOUIS E                965 FLORIDA AVE                                                                        MC DONALD          OH 44437‐1611
MISIEWICZ, RUSSELL W           30911 N KAREN AVE                                                                      QUEEN CREEK        AZ 85243‐3357
MISIEWICZ, RUSSELL WAYNE       30911 NORTH KAREN AVENUE                                                               QUEEN CREEK        AZ 85243‐3357
MISIEWICZ, TED S               1391 CALIFORNIA DR                                                                     MELBOURNE          FL 32940‐6923
MISIK, HAYDEN                  2165 WHISPERING MDWS NE                                                                WARREN             OH 44483‐3661
MISIK, SUE R                   2165 WHISPERING MDWS NE                                                                WARREN             OH 44483‐3661
MISIOLEK, LEAH B               133 GREENFIELD OVAL                                                                    WARREN             OH 44483‐1100
MISION, TRUDY                  801 MUMAUGH ROAD APT 12A                                                               LIMA               OH 45804
MISITA, JOSEPH                 16 4TH ST                                                                              HIGHLANDS          NJ 07732‐1620
MISITI                         11075 W CENTER ST BOX 440                                                              MEDINA             NY 14103
MISIUDA, JOHN A                1925 COLLINS AVENUE                                                                    SHELBY TWP         MI 48317‐3613
MISIUNAS, ELENA                3018 59TH ST S APT 408          TOWN SHORES/CHATHAM                                    GULFPORT           FL 33707‐5734
MISIUNAS‐DEEGAN, VALANTYNA O   5507 BRIDGE POINTE DR                                                                  ALPHARETTA         GA 30005‐4473
MISIVICH, PATRICIA M.          5411 CATTELLS BLUFF                                                                    N.CHARLESTON       SC 29420‐6846
MISJAK, JAMES J                11329 COPAS RD                                                                         LENNON             MI 48449‐9652
MISKA, FRED S                  969 W GLASS RD                                                                         ORTONVILLE         MI 48462‐9056
MISKA, RHONDA L                7976 SWAN CREEK RD                                                                     NEWPORT            MI 48166‐9798
MISKA, RHONDA LEE              7976 SWAN CREEK RD                                                                     NEWPORT            MI 48166‐9798
MISKA, RICHARD A               197 LAGOON BEACH DR                                                                    BAY CITY           MI 48706‐1436
MISKE, BEVERLY J               10311 HARTLAND DRIVE                                                                   DIMONDALE          MI 48821‐9557
MISKE, GERALD L                2041 BRYCEWAY CT NE                                                                    GRAND RAPIDS       MI 49505‐7162
MISKEL E & CHARLOTTE A ELLER   3 DOGWOOD LANE                                                                         BARBOURSVILLE      WV 25504‐9755
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Name                                  Address1                           Address2                      Address3   Address4         City               State Zip
MISKELL BIRTRAND P SR (339731)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                         STREET, SUITE 600
MISKELL, BIRTRAND P                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                         STREET, SUITE 600
MISKELL, FRANK J                      589 CALIFORNIA AVE                                                                           SHENANDOAH         PA   17976‐1220
MISKELL, KATHLEEN M                   841 CONNECTICUT AVE                                                                          MC DONALD          OH   44437‐1820
MISKELL, ROSEMARY T                   9 AMHERST RD                                                                                 WHITING            NJ   08759‐3241
MISKELL, WILLIAM J                    814 PRYTANIA AVE                                                                             HAMILTON           OH   45013‐2704
MISKEY, STEVEN J                      3676 MARY LOU LN N                                                                           MANSFIELD          OH   44906‐1011
MISKIEWICZ, ANGELINE P                1906 INDEPENDENCE CT                                                                         POCHESTER HLS      MI   48306‐2911
MISKILL THOMAS GEORGE (462382)        WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                           NEW YORK           NY   10038
MISKILL, MARJORIE H                   1101 ARMISTEAD ST                                                                            GLEN BURNIE        MD   21061‐1401
MISKILL, THOMAS GEORGE                WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                           NEW YORK           NY   10038
MISKIMON DIANE MARIE                  MISKIMON, DIANE MARIE              128 LUBRANO DR STE 202                                    ANNAPOLIS          MD   21401‐7028
MISKIMON JR, RONALD                   7522 FORT AVE                                                                                FORT HOWARD        MD   21052
MISKINES, ESTEL                       132 DELAWARE RD APT 9                                                                        KENMORE            NY   14217‐2448
MISKINES, ROBERT B                    40 FERNWOOD LN                                                                               GRAND ISLAND       NY   14072‐2905
MISKINIS BUICK‐PONTIAC‐GMC TRUCK CO   1000 MAIN ST                                                                                 BRIDGEWATER        MA   02324‐1347

MISKINIS BUICK‐PONTIAC‐GMC TRUCK CO., 1000 MAIN ST                                                                                 BRIDGEWATER        MA 02324‐1347
INC.
MISKINIS BUICK‐PONTIAC‐GMC TRUCK CO., GEORGE ANDRUK                      1000 MAIN ST                                              BRIDGEWATER        MA 02324‐1347
INC.
MISKINIS, SHAWN J                     4531 WYNGATE CIR                                                                             IRVINE             CA   92604
MISKO, ALBERT R                       46735 PARTRIDGE CREEK DR                                                                     MACOMB             MI   48044‐3257
MISKO, BEVERLY A                      15640 LONGMEADOW ST                                                                          DEARBORN           MI   48120‐1026
MISKO, EARL J                         858 3RD ST NW                                                                                GRAND RAPIDS       MI   49504‐5161
MISKO, FLORENCE                       2100 ZEROS ROAD                                                                              SAGINAW            MI   48601‐9753
MISKO, JAMES                          35635 HATHERLY PL                                                                            STERLING HTS       MI   48310‐5140
MISKO, JULIA O                        2161 LEONARD ST NW                 ROOM 321                                                  GRAND RAPIDS       MI   49504
MISKO, PAUL A                         50 TALSMAN DR UNIT 1                                                                         CANFIELD           OH   44406‐1297
MISKO, PHILLIP M                      PO BOX 1093                                                                                  GULFPORT           MS   39502‐1093
MISKO, ROBERT G                       724 GREEN CIR APT 102                                                                        ROCHESTER          MI   48307‐6626
MISKO, VIRGINIA E                     930 JOHN R RD #913                                                                           TROY               MI   48083
MISKOVIC, JELENA                      5440 KENDAL                                                                                  DEARBORN           MI   48126‐3158
MISKOVICH, GAZA E                     1726 W 6TH ST                                                                                MARION             IN   46953‐1331
MISKOVICH, JOSEPH T                   5424 DOBSON RD                                                                               GREENSBORO         NC   27410‐5202
MISKOWIEC, EDWARD J                   1421 MEDFORD AVE                                                                             INDIANAPOLIS       IN   46222‐3043
MISKOWITCH, ANNA M                    11077 W FOREST HOME AVE APT N303                                                             HALES CORNERS      WI   53130‐2564
MISKULIN, GLENNA M                    4534 S 200 W                                                                                 KOKOMO             IN   46902‐9105
MISKULIN, GLORIA                      40645 SAINT LOUIS DR                                                                         CLINTON TOWNSHIP   MI   48038‐7128
MISKULIN, JOSEPH M                    40645 SAINT LOUIS DRIVE                                                                      CLINTON TWP        MI   48038‐7128
MISKUNAS, JOSEPHINE M                 805 S GOYER RD                                                                               KOKOMO             IN   46901‐8605
MISLAK CHARLIE A (488647)             WEITZ & LUXENBERG                  180 MAIDEN LANE                                           NEW YORK           NY   10038
MISLAK, CHARLIE A                     WEITZ & LUXENBERG                  180 MAIDEN LANE                                           NEW YORK           NY   10038
MISLANOVICH, DAVID                    8179 OHIO RIVER BLVD APT 26                                                                  PITTSBURGH         PA   15202‐1555
MISLIK, CHARLOTTE                     4390 ROBINDALE                                                                               BURTON             MI   48519‐1240
MISLIK, GARY W                        11408 SHERIDAN RD                                                                            MONTROSE           MI   48457‐9404
MISLIK, STELLA M                      4208 WOODLAND CT                                                                             FLUSHING           MI   48433‐2356
MISLIN, BARBARA A                     528 MAIN ST                                                                                  TONAWANDA          NY   14150‐3853
MISLIN, THEODORE W                    528 MAIN ST                                                                                  TONAWANDA          NY   14150‐3853
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Name                           Address1                        Address2                      Address3   Address4                 City               State Zip
MISLINSKI DESMOND G (429480)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                               STREET, SUITE 600
MISLINSKI, DESMOND G           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
MISLIVEC MICHAEL C             35550 MORAVIAN DR                                                                                 STERLING HEIGHTS   MI    48312‐4453
MISLIVEC, GREGORY T            48324 SHERRINGHAM DR                                                                              MACOMB             MI    48044‐6507
MISLIVECEK, MELVIN A           4024 CURRY LN                                                                                     JANESVILLE         WI    53546‐4331
MISMAS, CAROLINE D             45 E DAYTON HILL RD                                                                               WALLINGFORD        CT    06492‐5549
MISMAS, RICHARD W              2480 INGLEWOOD DR                                                                                 WHITE OAK          PA    15131‐3117
MISNER JR, CARL W              9806 NW SEVENTY FIRST STREET                                                                      PARKVILLE          MO    64152
MISNER JR, HARRY D             5521 N HERRINGTON RD                                                                              WEBBERVILLE        MI    48892‐9775
MISNER, BRIAN D                316 ARCHER DR                                                                                     CLARKSVILLE        MI    48815‐9789
MISNER, DAVID C                48 W LAKE ST                                                                                      SAND LAKE          MI    49343‐5110
MISNER, DONNA S                14057 CORRAL CITY DR                                                                              ARGYLE             TX    76226‐5720
MISNER, FARREL D               514 SE GREENRIDGE DR                                                                              LEES SUMMIT        MO    64063‐6112
MISNER, JAMES W                4201 S LEONARD SPRINGS RD                                                                         BLOOMINGTON        IN    47403‐4039
MISNER, LEO M                  302 NO FIRST ST                                                                                   JEANNETTE          PA    15644
MISNER, MARY A                 201 E LAKE ST                                                                                     SAND LAKE          MI    49343‐9402
MISNER, MICHAEL W              2651 VINEYARD LN                                                                                  BROOKLYN           MI    49230‐8915
MISNER, PAMELA M               4409 ELIZABETH ST                                                                                 WAYNE              MI    48184‐2181
MISNER, ROBERT W               7714 ARMOUR DR                                                                                    HEMET              CA    92545‐8837
MISNER, ROSA M                 7714 ARMOUR DR                                                                                    HEMET              CA    92545‐8837
MISNER, RUSSELL H              1536 GUERNSEY RD R 1                                                                              LYONS              MI    48851
MISNER, SUSAN M                208 N BOGUE ST                                                                                    WALKERVILLE        MI    49459‐9549
MISOTTI, DANIEL J              1507 VESPER AVE                                                                                   BALTIMORE          MD    21222‐1823
MISPELON, DAVID RICHARD        5967 WARBLER DR                                                                                   CLARKSTON          MI    48346‐2975
MISRA SAURABH                  3361 22ND ST #2                                                                                   SAN FRANCISCO      CA    94110‐3001
MISRA, RANGANATH               11953 JUNIPER WAY APT 1         106B                                                              GRAND BLANC        MI    48439
MISRA, SHUBHENDU               536 ASIAN GAMES VILLAGE                                                  NEW DELHI INDIA 110049
MISS ALICE CLARK               511 N. HOLMES AVENUE                                                                              ST. LOUIS          MO 63122‐4603
MISS ANDI PASSARO
MISS JAN G MCBRIDE             1423 DIVE RD                                                                                      BEDFORD            IN    47421‐1521
MISS JESSIE M LUCIEN           35 KAREN CT                                                                                       PONTIAC            MI    48340‐1636
MISS LESLIE C STOCKTON         1012 M ST                                                                                         BEDFORD            IN    47421‐2927
MISS LESLIE H MCMAHAN          511 15TH ST APT 1                                                                                 BEDFORD            IN    47421‐3855
MISS MARY J ROMEO              826 W CHAMPLAIN AVE                                                                               WILMINGTON         DE    19804‐2007
MISS STATE TAX COMMISSION
MISSALL, PATRICIA A            6000 N LARKSPUR WAY                                                                               BEVERLY HILLS       FL   34465‐2205
MISSANT PROPERTIES ONE         TIM GARVERICK                   KIBBUTZ RIVIVIM                          LUEDENSCHEID GERMANY
MISSANT WAREHOUSE CO           1930 MARSTON ST                                                                                   DETROIT            MI    48211‐1316
MISSANT, TERRANCE J            19612 COUNTRY CLUB DR                                                                             HARPER WOODS       MI    48225‐1620
MISSANT, THERESA R             4399 CHISHOLM TRL                                                                                 BLOOMFIELD HILLS   MI    48301‐3746
MISSAUKEE COUNTY TREASURER     PO BOX 800                                                                                        LAKE CITY          MI    49651‐0800
MISSEL, GERALD A               6702 COTTONWOOD KNOLL ST                                                                          W BLOOMFIELD       MI    48322
MISSEL, MICHAEL J              1204 HILLARY LN                                                                                   ARLINGTON          TX    76012‐5500
MISSELL, RALPH E               9607 HUNGRY HOLLOW RD                                                                             HAMMONDSPORT       NY    14840‐9445
MISSELL, RICHARD H             224 BROOKRIDGE DR                                                                                 ROCHESTER          NY    14616‐3537
MISSENTZIS, DAVID P            4845 MOUNT MORRIS RD                                                                              COLUMBIAVILLE      MI    48421‐8972
MISSERI, SALVATORE             307 GASTIR RD                                                                                     PRESTO             PA    19406
MISSERO, J F                   118 STONEGATE TRL                                                                                 CRESSKILL          NJ    07626‐2431
MISSERT, ROBERT P              24 JODIE RD                                                                                       FRAMINGHAM         MA    01702‐6146
MISSEY, KENNETH W              11063 GILDEA RD                                                                                   POTOSI             MO    63664‐5698
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Name                                  Address1                              Address2                         Address3              Address4             City                 State Zip
MISSIE M ROBINSON                     1102 N VAN BUREN ST                                                                                               BAY CITY              MI 48708‐6078
MISSIG, GERALD C                      13 WHITE TAIL WAY # A                                                                                             NORWALK               OH 44857‐2802
MISSIG, KATHLEEN A                    11739 CEDARWOOD DR                                                                                                SHELBY TOWNSHIP       MI 48315‐4024
MISSIG, KATHLEEN A.                   11739 CEDARWOOD DR                                                                                                SHELBY TOWNSHIP       MI 48315‐4024
MISSIG, MARTIN C                      34934 RICHARD ST                                                                                                  WAYNE                 MI 48184‐2385
MISSIG, MARTIN CLARE                  34934 RICHARD ST                                                                                                  WAYNE                 MI 48184‐2385
MISSIG, NANCY A                       595 N 600 E                                                                                                       KOKOMO                IN 46901‐8878
MISSIG, NANCY A                       595 NORTH 600 EAST                                                                                                KOKOMO                IN 46901‐8878
MISSIK, CAROL E                       830 ALMA AVE                                                                                                      HERMITAGE             PA 16148
MISSIK, ROBERT E                      45 FIELDSTONE                                                                                                     POLAND                OH 44514‐4207
MISSINNE, COURTNEY                    11268 SOUTHWINS LAKE RD                                                                                           SOLON SPRINGS         WI 54873
MISSINNE, EVELYN M                    3741 ENGLISH LN APT D                                                                                             LAKE WORTH            FL 33467‐3123
MISSION CAR CARE                      22002 FRANZ RD                                                                                                    KATY                  TX 77449‐3707
MISSION CHEVROLET, LTD.               1316 GEORGE DIETER DR                                                                                             EL PASO               TX 79936‐7408
MISSION CHEVROLET, LTD.               RONALD WALLACE                        1316 GEORGE DIETER DR                                                       EL PASO               TX 79936‐7408
MISSION CONTROL                       ACCOUNTS RECEIEVABLE                  PO BOX 2303                                                                 GOLDENROD             FL 32733‐2303
MISSION FAMILY MED C                  1121 S GILBERT RD STE 101                                                                                         MESA                  AZ 85204‐5235
MISSION INN/FL                        10400 COUNTY ROAD 48                                                                                              HOWEY IN THE HILLS    FL 34737‐3000
MISSION INN/HOWEY IN                  10400 COUNTY ROAD 48                                                                                              HOWEY IN THE HILLS    FL 34737‐3000
MISSION LINEN SUPPLY                                                        2652 S 16TH ST                                                                                    AZ 85034
MISSION PETROLEUM CARRIERS INC        PO BOX 87788                                                                                                      HOUSTON               TX 77287‐7788
MISSION POINT RESORT                  C/O ACCOUNT RECEIVABLE                6633 MAIN STREET                                                            MACKINAC ISLAND       MI 49757
MISSION PROPERTIES LLC                247 COMMERCIAL ST NE                  PO BOX 2838                                                                 SALEM                 OR 97301‐3411
MISSION TECHNOLOGY GROUP INC          DBA MAGNA                             9918 VIA PASAR                                                              SAN DIEGO             CA 92126‐4559
MISSION TO THE WORLD ‐ PCA            1600 N BROWN RD                                                                                                   LAWRENCEVILLE         GA 30043‐8141
MISSION TOOL                          ANNETTE GANX44                        3440 ARDEN RD                                                               HAYWARD               CA 94545‐3906
MISSION TOOL                          ANNETTE GANX44                        3440 ARDEN ROAD                                                             GRANDVILLE            MI 49418
MISSION TOOL & MFG CO                 3440 ARDEN RD                                                                                                     HAYWARD               CA 94545‐3906
MISSION TOOL & MFG CO, INC            ANNETTE GANX44                        3440 ARDEN RD                                                               HAYWARD               CA 94545‐3906
MISSION TOOL & MFG CO, INC            ANNETTE GANX44                        3440 ARDEN ROAD                                                             GRANDVILLE            MI 49418
MISSION VALLEY AUTO, INC.             ROBIN VERT‐RUBEL                      36040 CAFFERY RD                                                            POLSON                MT 59860‐6944
MISSION VALLEY AUTO, INC.             36040 CAFFERY RD                                                                                                  POLSON                MT 59860‐6944
MISSION VALLEY AUTO, INC.             36040 CAFFREY ROAD                                                                                                POLSON                MT
MISSIONI, ROBERT C                    230 WALNUT LN                                                                                                     BOSSIER CITY          LA 71111‐5129
MISSIONI, ROBERT CURTIN               230 WALNUT LN                                                                                                     BOSSIER CITY          LA 71111‐5129
MISSIROLI GIAMPIERO                   LA SCALA                              STUDIO LEGALE E TRIBUTARIO       CORSO MAGENTA U. 42   20123 MILANO ITALY
MISSISSIPPI AUTO AUCTION              7510 U S HIGHWAY 49                                                                                               HATTIESBURG          MS 39402‐9104
MISSISSIPPI BAND OF CHOCTAW INDIANS   LAMAR HORNE 305                       1600 N PEARL                                                                CARTHAGE             MS 39051

MISSISSIPPI BAND OF CHOCTAW INDIANS   LAMAR HORNE 305                       ROUTE 7 PO BOX 3D                                                           STERLING HEIGHTS     MI 48311

MISSISSIPPI BUREAU OF REVENUE         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 23075                    CORPORATE TAX DIV.                         JACKSON              MS 39225‐3075
                                                                                                             CORPORATION TAX
MISSISSIPPI BUREAU OF REVENUE         PO BOX 23075                          CORPORATE TAX DIV. CORPORATION                                              JACKSON              MS 39225‐3075
                                                                            TAX
MISSISSIPPI COLLEGE                   PO BOX 4051                                                                                                       CLINTON              MS   39058‐0001
MISSISSIPPI COLLEGE                   PO BOX 4085                                                                                                       CLINTON              MS   39058‐0001
MISSISSIPPI COLLEGE ‐ SCHOOL O        151 E GRIFFITH ST                                                                                                 JACKSON              MS   39201‐1302
MISSISSIPPI COUNTY COLLECTOR          PO BOX 369                                                                                                        CHARLESTON           MO   63834‐0369
MISSISSIPPI COUNTY TAX COLLECT        200 W HALE AVE STE 209                                                                                            OSCEOLA              AR   72370‐2666
MISSISSIPPI DEPARTMENT OF             REGION 4                              PO BOX 2249                                                                 JACKSON              MS   39225‐2249
ENVIRONMENTAL QUALITY
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Name                                   Address1                               Address2                     Address3                     Address4         City                State Zip
MISSISSIPPI DEPARTMENT OF                                                     2552 N MILL ST BLDG F        BUILDING F                                                         MS 39216
TRANSPORTATION
MISSISSIPPI DEPARTMENT OF                                                     1917 N GLOSTER ST                                                                              MS 38804
TRANSPORTATION
MISSISSIPPI EMPLOYMENT SECURITY
COMMISION
MISSISSIPPI EMPLOYMENT SECURITY
COMMISSION
MISSISSIPPI EXPORT RAILROAD CO         4519 MCINNIS AVE                                                                                                  MOSS POINT          MS 39563‐2815
MISSISSIPPI FARM BUREAU                RE: JAMES GILES                        PO BOX 17258                                                               HATIESBURG          MS 39404
MISSISSIPPI GULF COAST CORVETTE CLUB   PO BOX 841                                                                                                        BILOXI              MS 39533‐0841

MISSISSIPPI MOTOR VEHICLE COMMISSION 1755 LELIA DR STE 200                                                                                               JACKSON             MS 39216‐4828

MISSISSIPPI MOTOR VEHICLE COMMISSION P.O. BOX 16873                                                                                                      JACKSON             MS 39236‐0873

MISSISSIPPI MOTOR VEHICLE COMMISSION ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. P.O. BOX 16873                                                               JACKSON             MS 39236‐0873

MISSISSIPPI POWER & LIGHT CO           740 E SOUTH ST                                                                                                    JACKSON             MS   39201‐5017
MISSISSIPPI POWER COMPANY              3118 HIGHWAY 45 N                                                                                                 MERIDIAN            MS   39301‐1503
MISSISSIPPI POWER COMPANY              2777 30TH AVE                                                                                                     GULFPORT            MS   39501‐4877
MISSISSIPPI SECRETARY OF STATE         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1020                                                                JACKSON             MS   39215‐1020

MISSISSIPPI SECRETARY OF STATE         PO BOX 1020                                                                                                       JACKSON             MS   39215‐1020
MISSISSIPPI SPORTS M                   PO BOX 16870                                                                                                      JACKSON             MS   39236‐6870
MISSISSIPPI STATE TAX COMM             PO BOX 960                             SALES AND USE TAX DIVISION                                                 JACKSON             MS   39205‐0960
MISSISSIPPI STATE TAX COMM             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 960                   SALES AND USE TAX DIVISION                    JACKSON             MS   39205‐0960

MISSISSIPPI STATE TAX COMM             PO BOX 23075                                                                                                      JACKSON             MS 39225‐3075
MISSISSIPPI STATE TAX COMMISSION
MISSISSIPPI STATE TAX COMMISSION       ATTN: KENITTA FRANKLIN TOOLE, STAFF    P.O. BOX 1033                                                              JACKSON             MS 39225‐1033
                                       ATTORNEY
MISSISSIPPI STATE TAX COMMISSION       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 23338                                                               JACKSON             MS 39225‐3338

MISSISSIPPI STATE TAX COMMISSION       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 115 WARD ST S                                                              SENATOBIA           MS 38668‐2638

MISSISSIPPI STATE TAX COMMISSION       PO BOX 23338                                                                                                      JACKSON             MS 39225‐3338
MISSISSIPPI STATE TAX COMMISSION       115 WARD ST S                                                                                                     SENATOBIA           MS 38668‐2638
MISSISSIPPI STATE TAX COMMISSIONER     PO BOX 1033                                                                                                       JACKSON             MS 39215‐1033

MISSISSIPPI STATE TAX COMMISSIONER     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1033                                                                JACKSON             MS 39215‐1033

MISSISSIPPI STATE UNIV OFFC OF         PO BOX 5316                                                                                                       MISSISSIPPI STATE   MS 39762‐5316
COMPTRLLR AND TREASURE
MISSISSIPPI STATE UNIVERSITY           MERIDIAN CAMPUS                        1000 HIGHWAY 19 N                                                          MERIDIAN            MS 39307‐5771
MISSISSIPPI STATE UNIVERSITY           CTR FOR ADVANCED VEHICULAR SYS         200 RESEARCH BLVD                                                          STARKVILLE          MS 39759‐7723
MISSISSIPPI STATE UNIVERSITY
MISSISSIPPI TAX COMMISSION             PO BOX 23075                                                                                                      JACKSON             MS   39225‐3075
MISSISSIPPI TAX COMMISSION             PO BOX 960                                                                                                        JACKSON             MS   39205‐0960
MISSISSIPPI UNIVERSITY FOR WOMEN       PO BOX W                                                                                                          COLUMBUS            MS   39701
MISSISSIPPI WORKERS                    COMPENSATION COMMISSION                PO BOX 5300                                                                JACKSON             MS   39296‐5300
MISSITTI, JOHN J                       6048 LUCAS RD                                                                                                     FLINT               MI   48506
                                       09-50026-mg              Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                                  Address1                               Address2                        Address3               Address4         City             State Zip
MISSITTI, LOUIS A                     5101 ARBOR LN                                                                                                  FLINT             MI 48506‐1625
MISSLAND, PAUL A                      18 WHITESTONE LN                                                                                               LANCASTER         NY 14086‐1420
MISSLITZ, BARBARA B                   5267 CHILSON RD                                                                                                HOWELL            MI 48843‐9452
MISSMAN, SCOTT I                      89 SURREY PL                                                                                                   GOLETA            CA 93117‐1906
MISSO JR, OTTO                        67 CAESAR BLVD                                                                                                 AMHERST           NY 14221‐5901
MISSO, VIOLET                         115 SCHILLER ST                                                                                                BUFFALO           NY 14206‐1407
MISSON, LAIA L                        1905 E PREDMORE RD                                                                                             OAKLAND           MI 48363‐1721
MISSON, LAIA LI                       1905 E PREDMORE RD                                                                                             OAKLAND           MI 48363‐1721
MISSON, THOMAS W                      12744 CASTILLA PL                                                                                              INDIANAPOLIS      IN 46236‐6376
MISSORY, THOMAS J                     405 MORTON ST                                                                                                  SHARON            PA 16146‐2419
MISSOS GREGORY                        KITE PAINTING COMPANY                  48 WALL STREET                                                          NEW YORK          NY 10005
MISSOS GREGORY                        MISSOS, GREGORY                        800 CATHEDRAL PARK TOWER , 37                                           BUFFALO           NY 14202
                                                                             FRANKLIN ST
MISSOS, GREGORY                       LEWIS & LEWIS                          800 CATHEDRAL PARK TOWER, 37                                            BUFFALO          NY 14202
                                                                             FRANKLIN ST
MISSOULA COUNTY AIRPORT AUTHORITY     5225 HIGHWAY 10 WEST                                                                                           MISSOULA         MT 59808

MISSOULA COUNTY TREASURER             200 W BROADWAY ST                                                                                              MISSOULA         MT 59802‐4292
MISSOULA MOTORS, INC.                 TIM HUBBARD                            3600 S RESERVE ST                                                       MISSOULA         MT 59801‐7325
MISSOURI AIR POLLUTION                205 JEFFERSON ST                                                                                               JEFFERSON CITY   MO 65101‐2901
CONTROLPROGRAM
MISSOURI AMERICAN WATER CO.                                                  1050 RESEARCH BLVD                                                                       MO 63132
MISSOURI AMERICAN WATER COMPANY       1050 RESEARCH BLVD/FLEET SERVICES                                                                              SAINT LOUIS      MO 63132

MISSOURI AMERICAN WATER COMPANY       1050 RESEARCH BLVD/FLEET SERVI         CES                                                                     SAINT LOUIS      MO 63132

MISSOURI ANDERSON                     2131 BATES RD                                                                                                  MOUNT MORRIS     MI 48458‐2601
MISSOURI ASSOCIATION OF               WORKFORCE DEVELOPMENT                  PO BOX 8586                     ATTN RAMONA GEORGE‐                     SPRINGFIELD      MO 65801‐8586
                                                                                                             TREASURER
MISSOURI AT COLUMBIA, UNIVERSITY OF

MISSOURI AUTOMOBILE DEALER            3322 AMERICAN AVE                      PO BOX 1158                                                             JEFFERSON CITY   MO 65109‐1079
ASSOCIATION
MISSOURI AUTOMOTIVE COMPANY           JOSEPH HENDRICK                        1151 W 104TH ST                                                         KANSAS CITY      MO 64114‐4545
MISSOURI BAPTIST COLLEGE              1 COLLEGE PARK DR                                                                                              SAINT LOUIS      MO 63141‐8660
MISSOURI BLACK CAUCUS FOUNDATION      PO BOX 943                                                                                                     JEFFERSON CITY   MO 65102‐0943

MISSOURI BLACK EXPO                   4411 N NEWSTEAD STE 104                                                                                        SAINT LOUIS      MO 63115
MISSOURI BOARD FOR ARCHITECTS PROF    PO BOX 7002                            AND LANDSCAPE ARCHITECTS                                                JEFFERSON CITY   MO 65102‐7002
ENGRS PROF LAND SURVEYORS
MISSOURI BOTANICAL GARDEN             PO BOX 299                                                                                                     SAINT LOUIS      MO 63166‐0299
MISSOURI CHAMBER OF COMMERCE          PO BOX 149                             428 E CAPITOL AVE                                                       JEFFERSON CITY   MO 65101
MISSOURI CLASS ACTION SETTLEMENT      SHUGHART THOMSON & KILROY, P.C.        TWELVE WYANDOTTE PLAZA          120 WEST 12TH STREET                    KANSAS CITY      MO 64105
AGREEMENT CASE NO. 03CV208786
MISSOURI COLVILL                      1118 W CROSS ST APT 234                                                                                        ANDERSON         IN 46011‐9535
MISSOURI DEPARTMENT OF                NATURAL RESOURCES                      1738 E ELM ST                                                           JEFFERSON CITY   MO 65101‐4130
MISSOURI DEPARTMENT OF NATURAL        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 176                                                              JEFFERSON CITY   MO 65102‐0176
RESOURCES
MISSOURI DEPARTMENT OF NATURAL        P.O. BOX 176                                                                                                   JEFFERSON CITY   MO 65102
RESOURCES
MISSOURI DEPARTMENT OF NATURAL        JEFF KLUSMEIER                         ATTORNEY GENERALS OFFICE        PO BOX 899                              JEFFERSON CITY   MO 65102
RESOURCES
                                        09-50026-mg                Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                                   Address1                                Address2                        Address3                   Address4         City             State Zip
MISSOURI DEPARTMENT OF NATURAL         REGION 7                                PO BOX 176                                                                  JEFFERSON CITY    MO 65102‐0176
RESOURCES
MISSOURI DEPARTMENT OF NATURAL         C/O JEFF KLUSMEIER                      ATTORNEY GENERAL'S OFFICE       PO BOX 899                                  JEFFERSON CITY   MO 65102
RESOURCES
MISSOURI DEPARTMENT OF                 HAZARDOUS WASTE PROGRAM                 PO BOX 2530 UPTD PER AFC 12/1                                               JEFFERSON CITY   MO 65102
NATURALRESOURCES
MISSOURI DEPARTMENT OF RE VENUE        301 WEST HIGH ST, STE 330                                                                                           JEFFERSON CITY   MO 65101
MISSOURI DEPARTMENT OF REVENUE
MISSOURI DEPARTMENT OF REVENUE         PO BOX 371                                                                                                          JEFFERSON CITY   MO   65105‐0371
MISSOURI DEPARTMENT OF REVENUE         BANKRUPTCY UNIT                         ATT: STEVEN A. GINTHER, ESQ.    P.O. BOX 475                                JEFFERSON CITY   MO   65105‐0475
MISSOURI DEPARTMENT OF REVENUE         PO BOX 475                                                                                                          JEFFERSON CITY   MO   65105
MISSOURI DEPARTMENT OF REVENUE         EMPLOYER WITHHOLDING TAX                PO BOX 47464                                                                JEFFERSON CITY   MO   65105‐0001
MISSOURI DEPARTMENT OF REVENUE         MOTOR VEHICLE BUREAU‐DEALER             DEALER LICENSING SECTIOIN       P.O. BOX 43                                 JEFFERSON CITY   MO   65105‐0043
                                       LICENSING SECTION
MISSOURI DEPARTMENT OF REVENUE         RICHARD M. MASELES, SPECIAL ASSISTANT   PO BOX 475                      301 W. HIGH STREET, ROOM                    JEFFERSON CITY   MO 65105‐0475
                                       ATTORNEY GENERAL                                                        670
MISSOURI DEPARTMENT OF REVENUE         CORPORATION INCOME TAX                  PO BOX 840                                                                  JEFFERSON CITY   MO   65105‐0700
MISSOURI DEPARTMENT OF REVENUE         SALES/USE TAX                           PO BOX 94788                                                                JEFFERSON CITY   MO   65105‐0840
MISSOURI DEPARTMENT OF REVENUE         CUSTOMER SERVICES DIVISION              301 WEST HIGH ST., ROOM 330                                                 JEFFERSON CITY   MO   65101
MISSOURI DEPARTMENT OF REVENUE         TAXATION BUREAU                         PO BOX 3020                                                                 JEFFERSON CITY   MO   65105‐3020
MISSOURI DEPARTMENT OF                 3901 E 32ND ST                                                                                                      JOPLIN           MO   64804‐3312
TRANSPORTATION
MISSOURI DEPARTMENT OF                                                         600 NE COLBERN RD                                                                            MO 64086
TRANSPORTATION
MISSOURI DEPT OF AGRICULTURE           PO BOX 630                                                                                                          JEFFERSON CITY   MO   65102‐0630
MISSOURI DEPT OF NAT RESOURCES         PO BOX 477                                                                                                          JEFFERSON CITY   MO   65102‐0477
MISSOURI DEPT OF PUBLIC SAFETY         DIVISION OF FIRE SAFETY                 1709 INDUSTRIAL DR                                                          JEFFERSON CITY   MO   65109‐1468
MISSOURI DEPT OF REVENUE               BUSINESS TAX BUREAU                     PO BOX 840                                                                  JEFFERSON CITY   MO   65105‐0840
MISSOURI DEPT OF REVENUE               BUSINESS TAX BUREAU                     P.O. BOX 840                                                                JEFFERSON CITY   MO   65105‐0840
MISSOURI DEPT OF REVENUE               TAX ADMINISTRATION BUREAU               PO BOX 840                                                                  JEFFERSON CITY   MO   65105‐0840
MISSOURI DEPT. OF TRANSPORTATION                                               2309 BARRETT STATION RD                                                                      MO   63021
MISSOURI DIRECTOR OF REVENUE           PO BOX 1366                                                                                                         JEFFERSON CITY   MO   65102‐1366
MISSOURI DIRECTOR OF REVENUE
MISSOURI DIVISION OF EMPLOYMENT        ATTN LINDA HAFLEY                       PO BOX 59                                                                   JEFFERSON CITY   MO 65104‐0059
SECURITY
MISSOURI DIVISION OF FIRE SAFETY       PO BOX 844                                                                                                          JEFFERSON CITY   MO 65102‐0844
MISSOURI DIVISION OF WORK ERS'         ATTN: SECOND INJURY, P O BOX 58                                                                                     JEFFERSON CITY   MO 65102
COMPENSATION
MISSOURI DIVISION OF WORKERS           COMPENSATION                            PO BOX 58                       ATTN SECOND INJURY FUND                     JEFFERSON CITY   MO 65102‐0058

MISSOURI EDISON COMPANY                767 FIFTH AVENUE                                                                                                    NEW YORK         NY 10153
MISSOURI EMERGENCY RESPONSE            PO BOX 3133                                                                                                         JEFFERSON CITY   MO 65102‐3133
COMMISSION
MISSOURI FARM BUREAU                   PO BOX 658                                                                                                          JEFFERSON CITY   MO 65102‐0658
MISSOURI FARM BUREAU
MISSOURI FARM BUREAU FEDERATION        DAN CASSIDY                             701 SOUTH COUNTRY CLUB DRIVE,                                               JEFFERSON CITY   MO 65109
                                                                               JEFFERSON CITY
MISSOURI FARM BUREAU FEDERATION        PO BOX 658                                                                                                                           MO 65102‐0658
MISSOURI FARM BUREAU FEDERATION        JULIE ANN POTTS                         600 MARYLAND AVE SW STE 1000W                                                                DC 20024‐2555

MISSOURI FEDERATION OF POLICE CHIEFS   510 W 8TH ST                                                                                                        PORTAGEVILLE     MO 63873‐1117
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Name                                 Address1                                Address2                           Address3                    Address4                 City               State Zip
MISSOURI HEAT TREAT INC              55 MAY RD                               PO BOX 362                                                                              WENTZVILLE          MO 63385‐3312
MISSOURI HISTORICAL SOCIETY          PO BOX 11940                                                                                                                    SAINT LOUIS         MO 63112‐0040
MISSOURI HWY & TRANSP COMM 94        PO BOX 270                                                                                                                      JEFFERSON CITY      MO 65102‐0270
MISSOURI LEGISLATIVE                 BLACK CAUCUS FOUNDATION                 4609 PASEO BLVD STE 104                                                                 KANSAS CITY         MO 64110‐1843
MISSOURI MANSION PRESERVATION INC    PO BOX 1133                                                                                                                     JEFFERSON CITY      MO 65102‐1133

MISSOURI PACIFIC RAILROAD CO         PO BOX 718                              DOWNTOWN STATION                                                                        OMAHA              NE 68101
MISSOURI PACIFIC RAILROAD COMPANY    GROUP MARKET MANAGER‐AUTOMOTIVE         1416 DODGE ST                                                                           OMAHA              NE 68179‐0001
                                     & MACHINERY
MISSOURI POWER TRANSMISSION          3226 BLAIR AVE                                                                                                                  SAINT LOUIS        MO   63107‐3707
MISSOURI POWER TRANSMISSION IN       3226 BLAIR AVE                                                                                                                  SAINT LOUIS        MO   63107‐3707
MISSOURI PRIVATE SECTOR              INDIVIDUAL SELF‐INSURERS                PO BOX 1831                        GUARANTY CORPORATION                                 JEFFERSON CITY     MO   65102‐1831
MISSOURI PRIVATE SECTOR INDIVIDUAL   ATTN R SCOTT MOORE                      LEWIS RICE & FINGERSH LC           500 N BROADWAY SUITE 2000                            ST LOUIS           MO   63102
SELF‐INSURERS GUARANTY CORPORATION

MISSOURI S&T                         CURTIS LAWS WILSON LIBRARY/ILL          400 W 14TH ST                                                                           ROLLA              MO   65409‐6503
MISSOURI SEA & AIR                   500 MEIJER DR STE 107                                                                                                           FLORENCE           KY   41042‐5129
MISSOURI SHERIFFS ASSOC              PO BOX 1685                                                                                                                     JEFFERSON CITY     MO   65102‐1685
MISSOURI SOUTHERN STATE COLLEGE      3950 NEWMAN RD                                                                                                                  JOPLIN             MO   64801‐1512
MISSOURI STATE TREASURER OFFICE OF   PO BOX 1272                                                                                                                     JEFFERSON CITY     MO   65102‐1272
THE MO STATE TREASUR
MISSOURI STATE UNIVERSITY            901 S NATIONAL AVE                                                                                                              SPRINGFIELD        MO 65897‐0027
MISSOURI SYSTEM UNIVERSITY OF        RESEARCH SERVICES                       101 ME ANX                                                                              ROLLA              MO 65409‐0001
MISSOURI SYSTEM UNIVERSITY OF        1870 MINER CIR                          106B MECHANICAL ENGINEERING BL                                                          ROLLA              MO 65409‐0001

MISSOURI TRANSPORTATION &            3234 W TRUMAN BLVD                                                                                                              JEFFERSON CITY     MO 65109‐5708
DEVELOPMENT COUNCIL
MISSOURI UNIVERSITY OF S & T         331 TOOMEY HALL                                                                                                                 ROLLA              MO   65409‐0001
MISSOURI VALLEY COLLEGE              500 E COLLEGE ST                                                                                                                MARSHALL           MO   65340‐3109
MISSOURI WESTERN STATE COLLEGE       4525 DOWNS DR                           LRC 101                                                                                 SAINT JOSEPH       MO   64507‐2246
MISSOURI, CHARLES H                  LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                                                        PHILADELPHIA       PA   19106
                                     GRAY                                    510 WALNUT STREET
MISSOURIANS FOR CIVIL JUSTICE        PO BOX 149                                                                                                                      JEFFERSON CITY     MO   65102
MISSY C WALLACE                      1210 ARLINGTON DR SW                                                                                                            BOGUE CHITTO       MS   39629
MISTALSKI JR, ANDREW                 PO BOX 1684                                                                                                                     CHEEKTOWAGA        NY   14225‐8684
MISTELE JR, WILLIAM D                5432 SAINT MARTINS CT                                                                                                           BLOOMFIELD HILLS   MI   48302‐2549
MISTEQUAY GROUP LTD                  1212 N NIAGARA ST                                                                                                               SAGINAW            MI   48602‐4742
MISTEQUAY GROUP LTD                  1212 N NIAGARA ST                       PO BOX 1367                                                                             SAGINAW            MI   48602‐4742
MISTEQUAY GROUP LTD                  R JAMES PAAS                            PO BOX 1367                                                                             SAGINAW            MI   48602
MISTER ICE OF INDIANAPOLIS INC       7954 E 88TH ST                                                                                                                  INDIANAPOLIS       IN   46256‐1236
MISTER MUFFLER                       475 CH MCCONNELL                                                                                       GATINEAU QC J9J 3M3
                                                                                                                                            CANADA
MISTER ROLLER INC                    525 RUE HODGE                                                                                          SAINT‐LAURENT QC H4N 2
                                                                                                                                            CANADA
MISTER SAFETY SHOES                  2300 FINCH AVE WEST UNIT 6                                                                             TORONTO ON M9M 2Y3
                                                                                                                                            CANADA
MISTER SONG MILLINERY                ATTN: JIN SONG                          29890 SOUTHFIELD RD                                                                     SOUTHFIELD         MI 48076‐2037
MISTER SR, GEORGE K                  11048 116TH ST                                                                                                                  LARGO              FL 33778‐3730
MISTER TRANSMISSION                  780W COLUMBIA ST W                                                                                     KAMLOOPS BC V2C 1L1
                                                                                                                                            CANADA
MISTER UNIFORM & MAT RENTAL IN       18500 FITZPATRICK                                                                                                               DETROIT            MI 48228
MISTER, ELMA R                       PO BOX 95982                                                                                                                    OKLAHOMA CITY      OK 73143‐5982
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MISTER, ELMA ROSE       PO BOX 95982                                                                                          OKLAHOMA CITY       OK 73143‐5982
MISTER, MARY C          3041 EBBTIDE DR                                                                                       EDGEWOOD            MD 21040‐2901
MISTER, SARAH           3942 N 39TH ST                                                                                        MILWAUKEE           WI 53216‐2517
MISTER, SHIRLEY         1209 N HAGERTY POINT RD                                                                               CRYSTAL RIVER       FL 34429
MISTER, VIVIAN M        4157 W MONROE ST                                                                                      CHICAGO              IL 60624‐2720
MISTERKA, ALFRED J      2975 YORKWAY                                                                                          BALTIMORE           MD 21222‐5357
MISTERKA, NICOLE        227 SW MARSH WREN ST                                                                                  LEES SUMMIT         MO 64082‐4510
MISTI M WELLS           25 S MAIN ST                                                                                          CAMDEN              OH 45311‐1035
MISTICK, RICHARD D      18 CREST DR                                                                                           PITTSBURGH          PA 15215
MISTICK, WILLIAM R      1910 HYER AVE APT 10D                                                                                 N VERSAILLES        PA 15137‐1169
MISTOVICH WILLIAM       LOT 11                        12651 SEMINOLE BOULEVARD                                                LARGO               FL 33778‐2205
MISTOVICH, JOHN         6221 DENISE DR                                                                                        NORTH RIDGEVILLE    OH 44039‐1809
MISTOVICH, MELISSA L    1754 BENNIGAN DR                                                                                      HILLIARD            OH 43026‐8596
MISTOVICH, MELISSA L    17711 1/2 EDGEWATER DR                                                                                LAKE MILTON         OH 44429‐9543
MISTOVICH, WALTER S     3271 CRICKET DR                                                                                       YOUNGSTOWN          OH 44511‐2907
MISTOVICH, WILLIAM P    LOT 11O                       12651 SEMINOLE BOULEVARD                                                LARGO               FL 33778‐2283
MISTOVICH, WILLIAM P    12651 SEMINOLE BLVD           #110                                                                    LARGO               FL 33778
MISTRES, MATTIE F       1914 LYNBROOK DR                                                                                      FLINT               MI 48507‐6036
MISTRETTA ELAINE        14362 MORAVIAN MANOR CIR                                                                              STERLING HEIGHTS    MI 48312‐5797
MISTRETTA, ELAINE K     14362 MORAVIAN MANOR CIR                                                                              STERLING HEIGHTS    MI 48312‐5797
MISTRETTA, GIUSEPPE     430 BARTELL LN                                                                                        WEBSTER             NY 14580‐1753
MISTRETTA, JAMES J      4608 BROOKSIDE AVE                                                                                    BRISTOL             PA 19007‐2008
MISTRETTA, MARIE        7416 SPYGLASS HILL RD                                                                                 MELBOURNE           FL 32940‐8120
MISTRETTA, PATRICIA A   322 FARMINGTON RD                                                                                     ROCHESTER           NY 14609‐6754
MISTRETTA, PETER J      2239 LEWIS RD                                                                                         SOUTH WALES         NY 14139‐9797
MISTRUCK, MICHAEL       1754 E 36TH ST                                                                                        CLEVELAND           OH 44114‐4522
MISTRY, ADIL F          28 THE CROSSWAY                                                                                       SCARSDALE           NY 10583
MISTRY, DEEPAK N        11420 W 106TH ST                                                                                      OVERLAND PARK       KS 66214‐2692
MISTRY, VANITA R        APT 209                       2003 BROOKLYN STREET                                                    DETROIT             MI 48226‐1034
MISTURA, ROSETTA        924 BANMOOR DR                                                                                        TROY                MI 48084‐1685
MISTY A FRY             6420 SOLILOGUY TRAIL                                                                                  DAYTON              OH 45449
MISTY ALEXANDER         1414 US HWY 60 E                                                                                      BURNA               KY 42028
MISTY AMANTE            1130 WESTBROOKE DR                                                                                    LAPEER              MI 48446‐1256
MISTY BOCOCK            2116 J ST                                                                                             BEDFORD             IN 47421‐4660
MISTY BOWMAN            3713 HUGGINS AVE                                                                                      FLINT               MI 48506‐2686
MISTY BROWN             14031 S BRENDAN BLVD                                                                                  CLAREMORE           OK 74017‐0331
MISTY BROWN‐OLSON       1203 W 2ND AVE                                                                                        BRODHEAD            WI 53520‐1509
MISTY COGHLAN           605 SW 15TH ST                                                                                        BLUE SPRINGS        MO 64015‐4118
MISTY D BOLDMAN         6050 LONGFORD RD                                                                                      HUBER HEIGHTS       OH 45424‐2945
MISTY D HERRERA         9410 N 500 W                                                                                          HUNTINGTON          IN 46750‐9732
MISTY D YOUNG           1325 FLOWERDALE AVE.                                                                                  KETTERING           OH 45459
MISTY D ZUGG            2304 SR 68                                                                                            WILMINGTON          OH 45177
MISTY F GWIN            909 VINSON AVE                                                                                        GADSDEN             AL 35903‐1751
MISTY FORMAN            4726 S DIXIE DR APT 4                                                                                 MORAINE             OH 45439‐2157
MISTY HERRERA           9410 N 500 W                                                                                          HUNTINGTON          IN 46750‐9732
MISTY J PATTON          1313 WILSON DR                                                                                        GADSDEN             AL 35904
MISTY JAMERSON          2231 ADAMS AVE                                                                                        FLINT               MI 48505‐5009
MISTY L RICHARDSON      414 HENDERSON ST.                                                                                     GADSDEN             AL 35904‐‐ 23
MISTY L TIDWELL         5407 MAPLEWOOD LANE                                                                                   CHARLOTTE           NC 28227
MISTY LEWIS SPEEGLE     C/O K RICK ALVIS              ALVIS & WILLINGHAM LLP     1400 URBAN CENTER DR, STE                    BIRMINGHAM          AL 35242
                                                                                 475
MISTY N CARROLL         3304 SUDIE AVE.                                                                                       GADSDEN             AL   35904‐2268
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Name                                  Address1                            Address2                      Address3           Address4               City               State Zip
MISTY OWENS                           7805 REGENT DR                                                                                              ARLINGTON           TX 76001‐7381
MISTY R PIERCE                        2218 NORRIS AVE.                                                                                            GADSDEN             AL 35904
MISTY S MORRISH                       1086 MORRIS HILLS PKWY                                                                                      MOUNT MORRIS        MI 48458‐2526
MISTY TORRES                          30905 BARTON ST                                                                                             GARDEN CITY         MI 48135‐1382
MISTYURIK, JOHN                       4640 WESTCHESTER LN                                                                                         DAYTON              OH 45416‐1648
MISTYURIK, JOYCE ANN                  8418 OAKES RD                                                                                               ARCANUM             OH 45304‐8905
MISUKANIS, SANDRA M                   26836 VAN BUREN RD                                                                                          DEARBORN HEIGHTS    MI 48127‐1077
MISUKIEWICZ, VIRGINIA M               20505 LOCHMOOR                                                                                              HARPER WOODS        MI 48225‐1749
MISUMI USA INC                        1105 REMINGTON RD STE B             CORRES UPTD PER LTR 7/18/06                                             SCHAUMBURG           IL 60173‐4827
MISUMI USA INC                        1105 REMINGTON RD STE B                                                                                     SCHAUMBURG           IL 60173‐4827
MISUNAS, JANINA                       1541 S OCEAN BLVD APT 318                                                                                   POMPANO BEACH       FL 33062‐7422
MISURACA, ANTHONY S                   10053 PEPPER LN                                                                                             SAINT LOUIS         MO 63136‐4300
MISURACA, JOHN S                      12256 KALISPELL ST                                                                                          BRIGHTON            CO 80603‐6918
MISURACA, JOSEPH J                    1085 WYCOMB DR                                                                                              FLORISSANT          MO 63033‐6039
MISURACA, MARY E                      1185 COLBY CT                                                                                               SAINT PETERS        MO 63376‐5521
MISURACA, ROSLYN J                    11160 PINE CT                                                                                               WASHINGTON TWP      MI 48094‐3723
MISUREC, DONALD F                     232 HIDDEN BAY DR UNIT 303                                                                                  OSPREY              FL 34229‐9176
MISURELLA, ELLEN I                    664 CLIFFWOOD AVE                                                                                           KEYPORT             NJ 07735
MISUS, SOPHIA F                       12122 FIELD DOWNS DR                                                                                        RIVERTON            UT 84065‐3163
MISYIAK, LARRY D                      4081 E MAPLE AVE                                                                                            GRAND BLANC         MI 48439‐7960
MISYIAK, LARRY DEAN                   4081 E MAPLE AVE                                                                                            GRAND BLANC         MI 48439‐7960
MISYIAK, REGINA M                     3086 VINEYARD LN                                                                                            FLUSHING            MI 48433‐2436
MISYS INTERNATIONAL BANKING SYSTEM    PO BOX 601682                                                                                               CHARLOTTE           NC 28260‐1682
INC
MISYS INTERNATIONAL BANKING SYSTEMS   PO BOX 512518                                                                                               PHILADELPHIA        PA 19175‐2518
INC
MISZAK, EDWARD E                      26511 KENNETH                                                                                               DETROIT            MI   48239‐1865
MISZEWSKI, STEVEN T                   6811 W CLOVERNOOK ST                                                                                        MILWAUKEE          WI   53223‐5755
MISZEWSKI, THOMAS J                   2740 BUCKNER RD                                                                                             LAKE ORION         MI   48362‐2010
MISZEWSKI, THOMAS J                   12105 LAKE VIEW DR                                                                                          ORLAND PARK        IL   60467‐1050
MISZUK, JOHN G                        887 E ALAURA DR                                                                                             ALDEN              NY   14004‐9523
MIT                                   600 MEMORIAL DR W98‐308                                                                                     CAMBRIDGE          MA   02139
MIT                                   DEPT OF MAT SCIENCE AND ENG         77 MASSACHUSETTS AVE BUILDING 6‐                                        CAMBRIDGE          MA   02139
                                                                          113 UPDATE 1/10/8
MIT                                   801 3BA SHIHWA INDUSTRIAL COMPLEX   2181‐1 JEONGWANG‐DONG                            GYEONGGGI‐DO KR 429‐
                                                                          SIHEUNG‐SI                                       936 KOREA (REP)
MIT ‐ ZARAGOZA INTERNATIONAL          ZARAGOZA LOGISTICS CENTER           AVDA GOMEZ LAGUNA 25 1 PLANTA RM E40‐207A                               CAMBRIDGE          MA 02139

MIT CENTER FOR DIGITAL BUSINESS       3 CAMBRIDGE CENTER NE20‐336                                                                                 CAMBRIDGE          MA   02142
MIT CENTER FOR DIGITAL BUSINESS       ATTN JENNIFER LESSWING              3 CAMBRIDGE CTR NE20‐336                                                CAMBRIDGE          MA   02142
MIT GOINS III                         14443 PENROD ST                                                                                             DETROIT            MI   48223‐3579
MIT INTERNATIONAL MOTOR               VEHICLE PROGRAM                     77 MASSACHUSETTS AVE          MIT ROOM E40‐227                          CAMBRIDGE          MA   02139‐4301
MITA, ROY S                           2101 SHORELINE DR APT 423                                                                                   ALAMEDA            CA   94501
MITAL, NARAYANI N                     675 PARKLAND DR                                                                                             ROCHESTER HILLS    MI   48307‐3453
MITAL, NAVEEN K                       818 LAKEWOOD DR                                                                                             ROCHESTER HILLS    MI   48309‐1009
MITAL, RAHUL                          2706 BROADMOOR DR                                                                                           ROCHESTER HILLS    MI   48309‐1368
MITAN, SIDNEY MARTHA                  P.O. BOX 1302                                                                                               STEWART            VA   24171‐1302
MITAN, SIDNEY MARTHA                  PO BOX 1302                                                                                                 STUART             VA   24171‐1302
MITAS JR, JOHN C                      6041 ACADEMY DR                                                                                             SAGINAW            MI   48604‐9502
MITAS ROBERT                          9906 ONTARIO ST                                                                                             OMAHA              NE   68124‐3760
MITAS, CONNIE L                       2528 E MOORE RD                                                                                             SAGINAW            MI   48601‐9344
MITAS, DOROTHY M                      5601 FERGUS RD                                                                                              ST CHARLES         MI   48655‐9694
                               09-50026-mg                Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                          Address1                            Address2                        Address3                     Address4         City                  State Zip
MITAS, JAMES S                6215 NORMANDY DR APT 20                                                                                           SAGINAW                MI 48638‐7379
MITAS, SUSAN M                2001 MITAS HL                                                                                                     MCKINNEY               TX 75071‐0450
MITCAVISH, ARLENE             12065 LONG LAKE DR                                                                                                SPARTA                 MI 49345‐8594
MITCH                         MITCH                               6539 E. VIRGINIA BEACH BLVD                                                   NORFOLK                VA 23502
MITCH & BILL'S EXXON          10127 RIVER RD                                                                                                    POTOMAC                MD 20854‐4904
MITCH CZERKAS                 BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS.            OH 44236
MITCH DAVIS                   417 W HARRIS ST                                                                                                   CHARLOTTE              MI 48813‐1436
MITCH EMBERSON                15872 N STATE HIGHWAY 28                                                                                          DARDANELLE             AR 72834‐8465
MITCH FROELICHER              210 CORAL CT                                                                                                      PISMO BEACH            CA 93449
MITCH HENRYS                  6263 GARDENIA AVE                                                                                                 LANSING                MI 48911‐5635
MITCH HUBELBANK               55 GLORIA DR                                                                                                      ALLENDALE              NJ 07401
MITCH LOPATE
MITCH MUELLER                 4401 SUNRISE LANE                                                                                                 MIDLOTHIAN             TX   76065‐7717
MITCH SMITH CHEVROLET, INC.   C. SMITH                            1655 CHEROKEE AVE SW                                                          CULLMAN                AL   35055‐5340
MITCH SMITH CHEVROLET, INC.   1655 CHEROKEE AVE SW                                                                                              CULLMAN                AL   35055‐5340
MITCH VANDEMARK
MITCH'S AUTO REPAIR           1253 INDUSTRY RD STE 120                                                                                          LEXINGTON             KY 40505‐3813
MITCH'S AUTOMOTIVE TOWING &   334 YATESVILLE RD                                                                                                 BARNESVILLE           GA 30204‐4039
SALVAGE
MITCH, HELENA R               APT 14                              100 NORTH BUHL FARM DRIVE                                                     HERMITAGE             PA    16148‐1709
MITCH, JOSEPH                 PO BOX 311                                                                                                        PORT AUSTIN           MI    48467‐0311
MITCH, MARGARET               940 62ND ST                                                                                                       LA GRANGE HIGHLANDS   IL    60525‐3846
MITCH, MARGARET               940 62 ND. STREET                                                                                                 LAGRANGE              IL    60525‐3846
MITCHAEL LARSON               19 RIVERSIDE BLVD                                                                                                 SAGINAW               MI    48602‐1077
MITCHAM II, CALVIN E          2180 GRANGER RD                                                                                                   OXFORD                MI    48371‐3122
MITCHAM RICK J (446432)       KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                                 CLEVELAND             OH    44114
                                                                  BOND COURT BUILDING
MITCHAM, BRADLEY P            2809 W ALTO RD                                                                                                    KOKOMO                IN    46902‐4685
MITCHAM, DANIEL P             3050 N JONES BLVD                   APT 1020                                                                      LAS VEGAS             NV    89108‐5226
MITCHAM, ELBERT B             1920 HAMPTON CT                                                                                                   ANN ARBOR             MI    48103‐4521
MITCHAM, GARRY L              107 BENNETT DR                                                                                                    VIENNA                OH    44473‐9514
MITCHAM, JAMES C              20323 ASPENWILDE DR                                                                                               CYPRESS               TX    77433‐5637
MITCHAM, RICK J               KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                                  CLEVELAND             OH    44114
                                                                  BOND COURT BUILDING
MITCHAM, TWYLEAH              2180 GRANGER RD                                                                                                   OXFORD                MI 48371‐3122
MITCHEAL H GONZALES           ATTN: ROBERT W PHILLIPS             SIMMONS BROWDER GIANARIS        707 BERKSHIRE BLVD, PO BOX                    EAST ALTON            IL 62024
                                                                  ANGELIDES & BARNERD LLC         521
MITCHEAL JACKSON              3901 N AVERILL AVE APT 7E                                                                                         FLINT                 MI    48506‐2588
MITCHEL ATKISON               321 E BAKER ST                                                                                                    FLINT                 MI    48505‐4970
MITCHEL C ALBERTSON           1021 WENG AVE                                                                                                     DAYTON                OH    45420
MITCHEL CLARK                 6846 YORKTOWN PL                                                                                                  TEMPERANCE            MI    48182‐1379
MITCHEL COFFEL                645 OAKWOOD RD                                                                                                    ORTONVILLE            MI    48462‐8589
MITCHEL COOPER                7625 LIONS GATE PKRY                                                                                              DAVISON               MI    48423‐3709
MITCHEL CORTINO               1307 LEEWARD LN                                                                                                   WYLIE                 TX    75098‐7945
MITCHEL D MEADORS             5303 BURNETT RD                                                                                                   LEAVITTSBURG          OH    44430
MITCHEL FREEMAN               6503 HIGHWAY K                                                                                                    TROY                  MO    63379‐4825
MITCHEL GRANT                 PO BOX 681                                                                                                        SWARTZ                LA    71281‐0681
MITCHEL HOPKINS               11510 NASHVILLE HWY                                                                                               NASHVILLE             MI    49073‐9301
MITCHEL J DOVER               4423 W COURT ST                                                                                                   FLINT                 MI    48532‐4382
MITCHEL L FREEMAN             851 HIGHWAY RA                                                                                                    SILEX                 MO    63377‐2409
MITCHEL L JOHNSON             110 WALNUT AVE                                                                                                    CARLISLE              OH    45005
MITCHEL LLOYD                 1014 LANCER CT                                                                                                    CROSSVILLE            TN    38572‐6437
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Name                              Address1                                Address2                        Address3   Address4         City                State Zip
MITCHEL MAULL                     11818 BENHAM AVE                                                                                    CLEVELAND            OH 44105‐1804
MITCHEL MOATS                     7707 HUNTER COVE DR                                                                                 SPOTSYLVANIA         VA 22551‐2725
MITCHEL PENAR                     6346 WOODWATER DR NE                                                                                BELMONT              MI 49306‐9750
MITCHEL SCHERBA                   4398 OAK GROVE DR                                                                                   BLOOMFIELD HILLS     MI 48302‐2773
MITCHEL WEBB                      1037 RIVERVIEW AVE                                                                                  MONROE               MI 48162‐3033
MITCHEL ZOMETSKY                  7611 PARKLAND                                                                                       DETROIT              MI 48239‐1031
MITCHEL, BRENDA                   85 BOLIVAR ST                                                                                       CANTON               MA 02021‐3142
MITCHEL, DAVID C                  392 ASHBURY WAY                                                                                     NAPLES               FL 34110‐1300
MITCHEL, FRED                     PORTER & MALOUF PA                      4670 MCWILLIE DR                                            JACKSON              MS 39206‐5621
MITCHELAR, LUCILLE MARIE          314 W FIFTH ST                                                                                      STAUNTON              IL 62088‐1815
MITCHELAR, LUCILLE MARIE          314 W 5TH ST                                                                                        STAUNTON              IL 62088‐1815
MITCHELL                          1393 CELANESE RD                                                                                    ROCK HILL            SC 29732‐1722
MITCHELL
MITCHELL                          BARON & BUDD                            3102 OAK LANE AVE, SUITE 1100                               DALLAS              TX   75219
MITCHELL & STARK CONTRACTORS                                              6001 SHIRLEY ST                                                                 FL   34109
MITCHELL 1                        14145 DANIELSON ST                                                                                  POWAY               CA   92064
MITCHELL A ANTLEY                 10713 HIGHWAY 143                                                                                   FARMERVILLE         LA   71241‐5530
MITCHELL A CARGILL                110 KANSAS AVE                                                                                      YPSILANTI           MI   48198‐6025
MITCHELL A DAVIS                  350 BJ MEMORY LN                                                                                    TULLAHUMA           TN   37388
MITCHELL ACKERSON                 895 VT ROUTE 11 W                                                                                   CHESTER             VT   05143‐9119
MITCHELL AIR DISPATCH             2250 E DEVON AVE                                                                                    ELK GROVE VILLAGE   IL   60007‐6026
MITCHELL ALFRED & PAMELA          8 HILLSIDE TER                                                                                      ANDOVER             NJ   07821‐2279
MITCHELL ALLEN CATALANO BODA      2311 VILLAGE PARK CT                                                                                ONTARIO             OH   44906‐1186
MITCHELL ALVIN (473109)           KELLEY & FERRARO LLP                    1300 EAST NINTH STREET , 1901                               CLEVELAND           OH   44114
                                                                          BOND COURT BUILDING
MITCHELL ANNETTE                  5180 DUBLIN DR SW                                                                                   ATLANTA             GA   30331‐7876
MITCHELL ANTLEY                   10713 HIGHWAY 143                                                                                   FARMERVILLE         LA   71241‐5530
MITCHELL ARINI                    30608 ELEANOR CT                                                                                    CHESTERFIELD        MI   48051‐1257
MITCHELL ATKINSON                 5117 SHADY OAK TRL                                                                                  FLINT               MI   48532‐2359
MITCHELL AUTOMOTIVE GROUP INC     COFFEY WILLIAM DAVID III & ASSOCIATES   13810 FM 1826                                               AUSTIN              TX   78737‐9129

MITCHELL AUTOMOTIVE GROUP, INC.   4105 SHERWOOD WAY                                                                                   SAN ANGELO          TX   76901‐3544
MITCHELL AUTOMOTIVE GROUP, INC.   MICHAEL MITCHELL                        4105 SHERWOOD WAY                                           SAN ANGELO          TX   76901‐3544
MITCHELL AUTOMOTIVE SERVICE       113 N CLEVELAND ST                                                                                  ALBANY              GA   31701‐2448
MITCHELL AZAR                     54850 8 MILE RD                                                                                     NORTHVILLE          MI   48167‐9735
MITCHELL B SHOCKEY                4305 BARDWELL BUFORD RD                                                                             MT. ORAB            OH   45154‐9414
MITCHELL BARBARA                  LEATHERWOOD, BRENDA                     24 BRUNSON ST                                               GREENVILLE          SC   29607
MITCHELL BARBARA                  MITCHELL, BARBARA                       304 MIMOSA DR                                               GREENVILLE          SC   29615‐1941
MITCHELL BENSON                   4304 CRENSHAW AVE                                                                                   FORT WORTH          TX   76105‐4232
MITCHELL BIDIGARE
MITCHELL BILL                     11110 CORNELL ST                                                                                    TAYLOR              MI   48180‐4049
MITCHELL BILLY                    912 CROSSHILL DR                                                                                    FRANKFORT           KY   40601‐4442
MITCHELL BLANKS                   949 ABBEY RD                                                                                        EAST LANSING        MI   48823‐7368
MITCHELL BOBBIE B (360202)        GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510
                                                                          STREET, SUITE 600
MITCHELL BOBBY (492078)           BEVAN & ASSOCIATES                      10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                          PROFESSIONAL BLDG
MITCHELL BOBROWIECKI              20058 WHITE OAKS DR                                                                                 CLINTON TWP         MI   48036‐4101
MITCHELL BOBROWIECKI III          20058 WHITE OAKS DR                                                                                 CLINTON TOWNSHIP    MI   48036‐4101
MITCHELL BRINKER                  316 ERIE ST                                                                                         LAPEL               IN   46051‐9685
MITCHELL BROOKS                   4079 E 136TH ST                                                                                     CLEVELAND           OH   44105‐5571
MITCHELL BROWN                    2400 S WABASH AVE                                                                                   KOKOMO              IN   46902‐3317
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Name                                  Address1                            Address2                                Address3   Address4         City           State Zip
MITCHELL BROWNE                       1127 S BLISS RD                                                                                         SUMNER          MI 48889
MITCHELL BUICK GMC TRUCK INC, JOE     BURKE WARREN MACKAY & SERRITELLA PC 330 NORTH WABASH AVENUE                                             CHICAGO          IL 60611

MITCHELL BUICK PONTIAC GMC            COFFEY WILLIAM DAVID III & ASSOCIATES   13810 FM 1826                                                   AUSTIN          TX   78737‐9129

MITCHELL BUICK‐PONTIAC‐GMC            4105 SHERWOOD WAY                                                                                       SAN ANGELO     TX    76901‐3544
MITCHELL BUICK‐PONTIAC‐GMC            MICHAEL MITCHELL                        4105 SHERWOOD WAY                                               SAN ANGELO     TX    76901‐3544
MITCHELL BYCZEK                       7622 WOODVIEW DR                                                                                        WATERFORD      MI    48327‐4175
MITCHELL C SPIVEY                     621 FOREST AVE                                                                                          HAMILTON       OH    45015‐1530
MITCHELL C TOUSLEY                    11401 PODUNK AVE NE                                                                                     GREENVILLE     MI    48838‐8300
MITCHELL C WOOD I I I                 5 RIO GRANDE DR                                                                                         TROTWOOD       OH    45426
MITCHELL CABALA                       3765 UTAH DR                                                                                            BAY CITY       MI    48706‐1705
MITCHELL CANTY                        8146 REYNOLDSWOOD DR                                                                                    REYNOLDSBURG   OH    43068
MITCHELL CAROL                        PO BOX 91                                                                                               DRESDEN        OH    43821‐0091
MITCHELL CARTER                       62 LA BELLE ST                                                                                          DAYTON         OH    45403
MITCHELL CHANDLER                     21423 STATE ROUTE 694                                                                                   CLOVERDALE     OH    45827‐9647
MITCHELL CHARLES J (446434)           KELLEY & FERRARO LLP                    1300 EAST NINTH STREET , 1901                                   CLEVELAND      OH    44114
                                                                              BOND COURT BUILDING
MITCHELL CHARLES T (464861)           ANTOGNOLI DAVID L                       2227 S STATE ROUTE 157                                          EDWARDSVILLE   IL    62025‐3646
MITCHELL CHARLIE                      MITCHELL, CHARLIE                       2048 W NANCY HIWY 403                                           FALSON         NC    28341
MITCHELL CHESNEY                      11794 NANCY DR                                                                                          COLLINSVILLE   MS    39325‐9777
MITCHELL CHEVROLET, INC.              RTE 39                                                                                                  MARLINTON      WV    24954
MITCHELL CHEVROLET, INC.              JOSEPH MITCHELL                         RTE 39                                                          MARLINTON      WV    24954
MITCHELL CHEVROLET‐BUICK‐PONTIAC AN   1522 US HWY 45‐ALT N                                                                                    WEST POINT     MS

MITCHELL CHEVROLET‐BUICK‐PONTIAC AN PO BOX 539                                                                                                WEST POINT     MS

MITCHELL CHEVROLET‐BUICK‐PONTIAC      MICHAEL MCGILL                          1522 US HWY 45‐ALT N                                            WEST POINT     MS 39773
AND GMC TRUCKS, INC.
MITCHELL CHEVROLET‐BUICK‐PONTIAC      1522 US HWY 45‐ALT N                                                                                    WEST POINT     MS 39773
AND GMC TRUCKS, INC.
MITCHELL CHEVROLET‐BUICK‐PONTIAC      402 US HWY 45‐ALT N                                                                                     WEST POINT     MS 39773
AND GMC TRUCKS, INC.
MITCHELL CIAPALA                      960 STILES ST NW                                                                                        WARREN         OH    44485‐2936
MITCHELL COLLEGE                      437 PEQUOT AVE                                                                                          NEW LONDON     CT    06320‐4452
MITCHELL CONWAY JR                    729 EVERGREEN AVE                                                                                       FLINT          MI    48503‐4047
MITCHELL CORAL                        32027 WASHINGTON ST                                                                                     LIVONIA        MI    48150‐3817
MITCHELL CORP OF OWOSSO INC.          123 N CHIPMAN ST                                                                                        OWOSSO         MI    48867‐2028
MITCHELL CORPORATION OF OWOSSO INC    O'QUINN & LAMINACK                      4400 LOUISIANA STREET; 2300 LYRIC                               HOUSTON        TX    77002
                                                                              CENTRE
MITCHELL CORPORATION OF OWOSSO INC SPANGLER LAW FIRM                          208 NORTH GREEN STREET SUITE 300                                LONGVIEW        TX   75601

MITCHELL CORPORATION OF OWOSSO INC PO BOX 1592                                108 N CHIPMAN STREET                                            OWOSSO         MI 48867

MITCHELL CORPORATION OF OWOSSO V      MITCHELL CORPORATION OF OWOSSO INC 4400 LOUISIANA STREET; 2300 LYRIC                                    HOUSTON         TX   77002
GENERAL MOTORS                                                           CENTRE
MITCHELL CORPORATION OF OWOSSO V      MITCHELL CORPORATION OF OWOSSO INC 208 NORTH GREEN STREET SUITE 300                                     LONGVIEW        TX   75601
GENERAL MOTORS
MITCHELL COUNTY TREASURER             PO BOX 425                                                                                              BELOIT         KS    67420‐0425
MITCHELL COUSINS                      2016 LILAC LN                                                                                           DECATUR        GA    30032‐5222
MITCHELL COVERT                       109 SPRINGHOUSE DR                                                                                      UNION          OH    45322‐8795
MITCHELL COWLEY                       321 LYLE CIR                                                                                            SOMERVILLE     AL    35670‐6717
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Name                                   Address1                          Address2                           Address3               Address4         City             State Zip
MITCHELL CRAINE                        14304 MCCASLIN LAKE RD                                                                                       LINDEN            MI 48451‐9707
MITCHELL CURTIS                        3901 71ST ST W LOT 105                                                                                       BRADENTON         FL 34209‐6526
MITCHELL D HOLBROOK                    1808 EAST FIFTH STREET                                                                                       DAYTON            OH 45403‐2308
MITCHELL D KOYNE                       1726 S KERBY RD                                                                                              CORUNNA           MI 48817‐9558
MITCHELL D LEWIS                       374 DAUGHDRILL RD                                                                                            SILVER CREEK      MS 39663‐4218
MITCHELL DAHMS                         3500 JORDAN RD                                                                                               FREEPORT          MI 49325‐9727
MITCHELL DALE (446435)                 CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                           CLEVELAND         OH 44115
                                       GAROFOLI                          FL
MITCHELL DAVID                         16592 RIDGE RD                                                                                               HOLLEY           NY   14470‐9366
MITCHELL DEBORAH                       MITCHELL, DEBORAH                 PO BOX 1527                                                                PASCAGOULA       MS   39568‐1527
MITCHELL DEBORAH                       MITHCELL, ERNEST                  PO BOX 1527                                                                PASCAGOULA       MS   39568‐1527
MITCHELL DELEO                         2830 FM 3001                                                                                                 JEFFERSON        TX   75657‐4370
MITCHELL DELMAR MARVIN                 C/O EDWARD O MOODY P A            801 WEST 4TH STREET                                                        LITTLE ROCK      AR   72201
MITCHELL DEMPSKI                       PO BOX 131                                                                                                   MILTON           WI   53563‐0131
MITCHELL DENKER                        P O BOX 607                                                                                                  POINT LOOKOUT    NY   11569
MITCHELL DENSLOW                       PO BOX 1636                                                                                                  SANDUSKY         OH   44871‐1636
MITCHELL DEW                           1280 ENCLAVE WAY APT 1704                                                                                    ARLINGTON        TX   76011‐6158
MITCHELL DEWALD                        3755 N GRAF RD                                                                                               CARO             MI   48723‐9782
MITCHELL DISCHNER                      10043 N 300 E                                                                                                ROANOKE          IN   46783‐9488
MITCHELL DOBEK                         15295 ASTER AVE                                                                                              ALLEN PARK       MI   48101‐1719
MITCHELL DONALD                        417 BAKER AVE                                                                                                CLEARWATER       FL   33755‐5806
MITCHELL DROBEK                        237 PECK RD                                                                                                  HILTON           NY   14468‐9320
MITCHELL DUPRE
MITCHELL DZIEDZIC                      8728 BUFFALO DR                                                                                              COMMERCE TWP     MI   48382‐3410
MITCHELL E MCCLENDON                   1294 BAYSIDE AVE APT 3                                                                                       WOODBRIDGE       VA   22191
MITCHELL EBBS                          8371 GREEN RIDGE DR                                                                                          GOODRICH         MI   48438‐9058
MITCHELL EBENHOEH                      4412 DITCH RD                                                                                                NEW LOTHROP      MI   48460‐9638
MITCHELL EDDIE A JR.                   MITCHELL JR, EDDIE A
MITCHELL EDDIE A JR.                   MITCHELL JR, EDDIE A              CAROLYN B MARKOWITCZ               30400 TELEGRAPH ROAD                    BINGHAM FARMS    MI 48025
                                                                                                            SUITE 111
MITCHELL EDWARD V (513050)             C/O PAUL REICH & MYERS P.C.       1608 WALNUT ST STE 500                                                     PHILADELPHIA     PA   19103‐5446
MITCHELL EHLERS                        529 E ACORN ST                                                                                               GARDNER          KS   66030‐8112
MITCHELL ENGEL                         2711 VINEWOOD DR                                                                                             INDIANAPOLIS     IN   46224‐3237
MITCHELL ENGLAND                       15930 CLINTON RD                                                                                             SPRINGPORT       MI   49284‐9800
MITCHELL ERBLICH
MITCHELL EUNICE                        538 EAST ST                                                                                                  DENHAM SPRINGS   LA   70726‐4411
MITCHELL EVELYN                        8638 ONYX DR SW UNIT A                                                                                       LAKEWOOD         WA   98498‐4869
MITCHELL FACEN                         102 JOHN AVE SE                                                                                              ATTALLA          AL   35954‐3462
MITCHELL FACEN                         19455 GRANDVILLE AVE                                                                                         DETROIT          MI   48219‐2131
MITCHELL FARRAN                        22234 220TH AVE                                                                                              PARIS            MI   49338‐9455
MITCHELL FEDORICK                      4235 9TH ST                                                                                                  ECORSE           MI   48229‐1272
MITCHELL FERGUSON                      4126 RACE ST                                                                                                 FLINT            MI   48504‐2298
MITCHELL FOKSA                         31408 WELLSTON DR                                                                                            WARREN           MI   48093‐7643
MITCHELL FORRESTER                     715 MYRTH AVE                                                                                                BALTIMORE        MD   21221‐4825
MITCHELL FOSS                          5560 CORYDALIS DR                                                                                            SAGINAW          MI   48603‐1685
MITCHELL FRED                          5931 BONNARD DR                                                                                              DALLAS           TX   75230
MITCHELL FREDDIE DOUGLAS (ESTATE OF)   BARON & BUDD                      3102 OAK LANE AVE , SUITE 1100                                             DALLAS           TX   75219
(516195)
MITCHELL FREDDIE L (406003)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA 23510
                                                                         STREET, SUITE 600
MITCHELL GARRETT                       PO BOX 311131                                                                                                FLINT            MI 48531‐1131
MITCHELL GERARD
                                     09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                       Part 26 of 40 Pg 175 of 937
Name                                 Address1                       Address2                         Address3   Address4         City               State Zip
MITCHELL GEROU                       5391 WYMAN RD                                                                               BLANCHARD           MI 49310‐9705
MITCHELL GODSEY                      1625 STEWARD HARBOUGH RD                                                                    WILLIAMSBURG        OH 45176‐6522
MITCHELL GOINS                       30600 ROSSLYN AVENUE                                                                        GARDEN CITY         MI 48135‐1388
MITCHELL GRANT                       4438 CALKINS RD                                                                             FLINT               MI 48532‐3515
MITCHELL GRIMES                      7308 MALLARD BAY DR                                                                         SHREVEPORT          LA 71107‐9360
MITCHELL GRINENK                     818 BEACH BUGGY LN                                                                          LINDEN              MI 48451‐9693
MITCHELL HALL                        1240 JULIA DR SW                                                                            WARREN              OH 44481‐9630
MITCHELL HAMMOND                     818 JERRY DR                                                                                HUBBARD             OH 44425‐3801
MITCHELL HAND/FARMIN                 PO BOX 2428                                                                                 FARMINGTON HILLS    MI 48333‐2428
MITCHELL HANDLING SYSTEMS INC        28230 ORCHARD LAKE ROAD        PO BOX 2428                                                  FARMINGTON HILLS    MI 48334
MITCHELL HARDAWAY                    26215 MEADOWBROOK WAY                                                                       LATHRUP VLG         MI 48076‐4413
MITCHELL HARJO                       PO BOX 535042                                                                               GRAND PRAIRIE       TX 75053‐5042
MITCHELL HARMON                      13358 S HURON RIVER DR                                                                      ROMULUS             MI 48174‐3612
MITCHELL HART                        5577 WOODFIELD PKWY                                                                         GRAND BLANC         MI 48439‐9423
MITCHELL HILL                        30 MARINE                      P.O. BOX 142                                                 TIEREWT             TN 38070
MITCHELL HONNICK                     646 MILLER BEECH RD                                                                         OWEGO               NY 13827‐4942
MITCHELL HUGHES, JAMIE R             710 N 12TH ST                                                                               ELWOOD              IN 46036‐1208
MITCHELL HULVALCHICK JR              804 LAFAYETTE AVENUE                                                                        NILES               OH 44446‐3121
MITCHELL I I I, EDWARD E             8455 S BELLEVILLE RD                                                                        WARREN              IN 46792‐9433
MITCHELL II, DALE E                  PO BOX 162                                                                                  CENTRAL LAKE        MI 49622‐0162
MITCHELL II, DONALD W                545 FORREST AVE                                                                             HOHENWALD           TN 38462‐1026
MITCHELL II, JAMES E                 404 WINDSWOOD WAY                                                                           SANDUSKY            OH 44870‐7521
MITCHELL II, JOHN H                  13505 RUTHERFORD ST                                                                         DETROIT             MI 48227‐1731
MITCHELL III, EDWARD EUGENE          8455 S BELLEVILLE RD                                                                        WARREN              IN 46792‐9433
MITCHELL III, ROBERT D               9030 COUNTY RD                                                                              CLARENCE CTR        NY 14032
MITCHELL III, THOMAS W               451 MEADOWLARK DR                                                                           JAMESTOWN           IN 46147‐8920
MITCHELL IN/SN MARCO                 1570 CHEROKEE ST                                                                            SAN MARCOS          CA 92078‐2433
MITCHELL INTERNATIONAL               GIL SILVA                      9889 WILLOW CREEK RD                                         SAN DIEGO           CA 92131‐1119
MITCHELL INTERNATIONAL DIV
MITCHELL INTERNATIONAL INC           9889 WILLOW CREEK RD           PO BOX 26260                                                 SAN DIEGO          CA 92131‐1119
MITCHELL INTERNATIONAL INC           PO BOX 71654                                                                                CHICAGO            IL 60694‐0001
MITCHELL INTERNATIONAL INFORMATION   PO BOX 26260                   FRMLY THOMPSON PUBLISHING                                    SAN DIEGO          CA 92196‐0260
SERVICES INC                                                        CORP
MITCHELL IRA JR                      IRA MITCHELL MOTORS            925 W 9TH ST S                                               NEWTON             IA    50208‐4437
MITCHELL J C                         C/O EDWARD O MOODY P A         801 WEST 4TH STREET                                          LITTLE ROCK        AR    72201
MITCHELL J DAVID                     16592 RIDGE RD                                                                              HOLLEY             NY    14470‐9366
MITCHELL J STACHEL &                 DOLORES STACHEL                PO BOX 273                                                   METAMORA           MI    48455‐0273
MITCHELL JAMES                       MITCHELL, JAMES                144 BRUTON LN W                                              MESQUITE           TX    75149‐5964
MITCHELL JAMES                       MITCHELL, JAMES                5975 W SUNRISE BLVD STE 215                                  PLANTATION         FL    33313‐6813
MITCHELL JAMES D ‐ VA (349204)       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510
                                                                    STREET, SUITE 600
MITCHELL JAMES H (429481)            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MITCHELL JANA K                      5405 FOUNTAIN HEAD DRIVE                                                                    ENID               OK    73703‐5927
MITCHELL JANICE                      11550 CELESTE RD                                                                            SARALAND           AL    36571‐9716
MITCHELL JAWORSKI                    4211 GRAYSTONE DR                                                                           OKEMOS             MI    48864‐5213
MITCHELL JEFFREY                     MITCHELL, JEFFREY              120 WEST MADISON STREET 10TH                                 CHICAGO            IL    60602
                                                                    FLOOR
MITCHELL JIMMY SANFORD (416082) ‐    BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                               DALLAS              TX   75219
MITCHELL
MITCHELL JOE (356487)                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                    STREET, SUITE 600
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Name                           Address1                        Address2                         Address3   Address4         City             State Zip
MITCHELL JOHN                  317 E 22ND ST                                                                                CHESTER           PA 19013‐5401
MITCHELL JOHN                  934 COLSTON DR                                                                               FALLING WATERS    WV 25419‐7050
MITCHELL JOHN (446439)         KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                CLEVELAND         OH 44114
                                                               BOND COURT BUILDING
MITCHELL JOHN M (471290)       BARON & BUDD                    3102 OAK LANE AVE , SUITE 1100                               DALLAS           TX   75219
MITCHELL JOHNNIE M             9711 LOGAN CT                                                                                CLEVELAND        OH   44106‐1622
MITCHELL JOHNSON               5836 SPEARSWOOD DR                                                                           PINCKNEY         MI   48169‐8880
MITCHELL JONES                 4643 HESS RD                                                                                 SAGINAW          MI   48601‐6922
MITCHELL JOSEPH                10691 BERLIN STATION RD                                                                      CANFIELD         OH   44406‐9776
MITCHELL JR, ALMERON J         PO BOX 153                                                                                   MORRISTON        FL   32668‐0153
MITCHELL JR, ARTHUR            76 RICH ST                                                                                   BUFFALO          NY   14211‐3020
MITCHELL JR, BEN               274 KENNEBEC ST                                                                              MATTAPAN         MA   02126‐1106
MITCHELL JR, BILLY R           800 CLEBUD DR                                                                                EULESS           TX   76040‐5256
MITCHELL JR, CHARLIE           4117 RACE ST                                                                                 FLINT            MI   48504‐3536
MITCHELL JR, CHARLIE F         PO BOX 38569                                                                                 DETROIT          MI   48238‐0569
MITCHELL JR, CHARLIE FRANCIS   PO BOX 38569                                                                                 DETROIT          MI   48238‐0569
MITCHELL JR, CLARENCE          6750 BEACH RESORT DR APT 15                                                                  NAPLES           FL   34114
MITCHELL JR, CLARENCE          4330 PARK AVE W                                                                              MANSFIELD        OH   44903‐8609
MITCHELL JR, CLIFFORD C        5233 CEMETERY RD                                                                             BOWLING GREEN    KY   42103‐9744
MITCHELL JR, COYLE R           15055 JOSEPH DR                                                                              ATHENS           AL   35613
MITCHELL JR, DANNY DEE         3098 S 600 W                                                                                 JAMESTOWN        IN   46147‐8863
MITCHELL JR, DAVID M           17616 TARKINGTON AVE                                                                         CLEVELAND        OH   44128‐3959
MITCHELL JR, EDDIE A           17577 KENTUCKY ST                                                                            DETROIT          MI   48221‐2408
MITCHELL JR, EDWARD C          1515 RIDGE RD LOT 76                                                                         YPSILANTI        MI   48198‐4258
MITCHELL JR, HARMON            13358 S HURON RIVER DR                                                                       ROMULUS          MI   48174‐3612
MITCHELL JR, HENRY L           10 PATRIOT TRL                                                                               DAHLONEGA        GA   30533‐9106
MITCHELL JR, HENRY T           49490 MAYFLOWER CT                                                                           UTICA            MI   48315‐3961
MITCHELL JR, HERRON            1209 SIRONIA TRL                                                                             MC GREGOR        TX   76657‐4073
MITCHELL JR, HERRON J          1209 SIRONIA TRL                                                                             MC GREGOR        TX   76657‐4073
MITCHELL JR, HUGH              2879 MOCKINGBIRD LN SW                                                                       ATLANTA          GA   30311‐3106
MITCHELL JR, ISAAC             22900 STAUNTON ST                                                                            SOUTHFIELD       MI   48033‐6542
MITCHELL JR, JAMES             2361 COREY DR                                                                                VALDOSTA         GA   31601‐7942
MITCHELL JR, JAMES T           241 ALHAMBRA ST                                                                              PONTIAC          MI   48341‐1070
MITCHELL JR, JIMMY             1730 BILLY DR                                                                                FORT WAYNE       IN   46818‐9516
MITCHELL JR, JOB               1800 LAKESHORE DR                                                                            TROY             OH   45373‐8716
MITCHELL JR, JOE N             400 E 147TH ST                  APT 5E                                                       BRONX            NY   10455‐4120
MITCHELL JR, JOHN M            13920 CARDWELL ST                                                                            LIVONIA          MI   48154‐4648
MITCHELL JR, JOHNNIE A         PO BOX 502                                                                                   SPENCER          OK   73084‐0502
MITCHELL JR, JOSEPH            8961 WINGEIER AVE SE                                                                         ALTO             MI   49302‐9613
MITCHELL JR, KENNETH L         24251 MORTON ST                                                                              OAK PARK         MI   48237‐1613
MITCHELL JR, LAWRENCE J        6261 S MAIN ST                                                                               CLARKSTON        MI   48346‐2366
MITCHELL JR, LOUIS C           856 TITTABAWASSEE RD                                                                         SAGINAW          MI   48604
MITCHELL JR, MARION T          4208 N PUCKETT RD                                                                            BUFORD           GA   30519‐1919
MITCHELL JR, OLLIE             233 CHARLES LN                                                                               PONTIAC          MI   48341
MITCHELL JR, PAUL              7096 BANKS                                                                                   WATERFORD        MI   48327‐3700
MITCHELL JR, ROBERT            200 SE MOJAVE WAY                                                                            LAKE CITY        FL   32025‐3922
MITCHELL JR, ROBERT            9959 ARTESIAN ST                                                                             DETROIT          MI   48228‐1337
MITCHELL JR, ROBERT D          875 CENTERLINE RD                                                                            STRYKERSVILLE    NY   14145
MITCHELL JR, ROBERT T          309 E JAMES ST                                                                               BRADFORD         OH   45308‐1319
MITCHELL JR, RUBE              PO BOX 721                                                                                   CARO             MI   48723‐0721
MITCHELL JR, RUSSELL           1509 N TRUITT RD                                                                             MUNCIE           IN   47303‐9224
MITCHELL JR, RUSSELL G         3750 BEACONVIEW DR                                                                           DAYTON           OH   45424‐1805
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Name                                  Address1                            Address2                          Address3   Address4         City              State Zip
MITCHELL JR, SAMUEL                   4065 MANCHESTER AVE NW                                                                            N LAWERENCE        OH 44566‐9456
MITCHELL JR, SOLOMON                  G6398 DETROIT ST                                                                                  MOUNT MORRIS       MI 48458
MITCHELL JR, THEOPLIS                 1115 N MARTIN LUTHER KING JR BLVD                                                                 LANSING            MI 48915‐2127
MITCHELL JR, THOMAS J                 1513 UNIVERSITY DR                                                                                ARLINGTON          TX 76013‐1776
MITCHELL JR, WALTER                   109 HIGHWAY 522                                                                                   BAXTER             KY 40806‐8562
MITCHELL JR, WALTER L                 947 N EUGENIA PL NW                                                                               ATLANTA            GA 30318‐4866
MITCHELL JR, WAYMON                   160 TALON PL                                                                                      MCDONOUGH          GA 30253‐7734
MITCHELL JR, WILLIAM D                5300 APPLEWOOD DR                                                                                 FLUSHING           MI 48433‐1136
MITCHELL JR, WILLIAM H                5887 E 44TH ST                                                                                    INDIANAPOLIS       IN 46226‐3380
MITCHELL JR., GEORGE T                3420 HOMEWOOD DR                                                                                  BRIDGEPORT         MI 48722‐9571
MITCHELL KARALIS                      CGM IRA CUSTODIAN                   539 N GLENOAKS BLVD STE 307                                   BURBANK            CA 90602‐3213
MITCHELL KEITH                        MITCHELL, KEITH                     BRANDYWINE CENTER I 580 VILLAGE                               WEST PALM BEACH    FL 33409
                                                                          BLVD SUITE 280
MITCHELL KELLEY                       5125 OLD 8TH STREET RD N                                                                          MERIDIAN          MS 39307‐7231
MITCHELL KEVIN S                      7115 GROVELAND RD                                                                                 HOLLY             MI 48442‐9424
MITCHELL KOCH
MITCHELL KONECZNY                     4182 COACHMAN LN NE                                                                               PRIOR LAKE        MN    55372‐1132
MITCHELL KOVACHEVICH                  2165 E WILLIAMSON ST                                                                              BURTON            MI    48529‐2445
MITCHELL KOYNE                        1726 S KERBY RD                                                                                   CORUNNA           MI    48817‐9558
MITCHELL KOZLER                       30121 MASON ST                                                                                    LIVONIA           MI    48154‐4457
MITCHELL KURT D                       MITCHELL, KURT D                    1915 N DALE MABRY HWY STE 303                                 TAMPA             FL    33607‐2530
MITCHELL L COUSINS                    2016 LILAC LN                                                                                     DECATUR           GA    30032‐5222
MITCHELL L HALLUM                     4442 BLUEHAVEN DRIVE                                                                              DAYTON            OH    45406‐3333
MITCHELL L MURRAY                     72 CLIFDEN POND RD                                                                                ZIONSVILLE        IN    46077‐8370
MITCHELL L PIERCE                     138 LISA KAY BLVD                                                                                 WHITE LAKE        MI    48386‐1954
MITCHELL L STUDEBAKER                 503 MAIN ST                                                                                       BROOKVILLE        OH    45309‐‐ 18
MITCHELL LA BAIR                      9750 RICH RD                                                                                      MAYVILLE          MI    48744‐9315
MITCHELL LAKES                        341 LANTIS DR                                                                                     CARLISLE          OH    45005‐3250
MITCHELL LATA                         P O BOX 21                          23 MOUNTAIN RD                                                GILL              MA    01354
MITCHELL LEE MOORE SR                 WEITZ & LUXENBERG PC                700 BROADWAY                                                  NEW YORK CITY     NY    10003
MITCHELL LEFEVER                      10018 CARNIE CIR                                                                                  YUKON             OK    73099‐9308
MITCHELL LEMASTER                     5645 FORRESTER RIDGE RD                                                                           LYLES             TN    37098‐2003
MITCHELL LEVINE                       21 BEDFORD LANE                                                                                   LINCOLN           MA    01773
MITCHELL LIEN
MITCHELL LINDA M                      MITCHELL, LINDA M                   110 E KALISTE SALOOM RD STE 101                               LAFAYETTE          LA   70508‐8509

MITCHELL LISA                         MITCHELL, LISA                      89 N HADDON AVE                                               HADDONFIELD       NJ    08033‐2423
MITCHELL LIVESAY                      140 SUNRISE LN                                                                                    SPEEDWELL         TN    37870‐7623
MITCHELL LONG                         11900 E GRAND RIVER AVE                                                                           PORTLAND          MI    48875‐8444
MITCHELL LOPEZ                        18809 N 33RD DR                                                                                   PHOENIX           AZ    85027‐4875
MITCHELL LORI                         MITCHELL, LORI                      30 E BUTLER AVE                                               AMBLER            PA    19002‐4514
MITCHELL LOVETT                       23761 DAVEY AVE                                                                                   HAZEL PARK        MI    48030‐1611
MITCHELL M PAXSON                     2914 CRESCENT DR NE                                                                               WARREN            OH    44483
MITCHELL MAGEE                        24221 VERNON SCHOOL RD                                                                            MOUNT HERMON      LA    70450‐3133
MITCHELL MAGGARD                      7534 SALEM RD                                                                                     LEWISBURG         OH    45338‐7711
MITCHELL MALEK                        45681 GEORGETOWN DR                                                                               MACOMB            MI    48044‐3837
MITCHELL MARCINKOWSKI                 11516 DUNN RD                                                                                     RILEY             MI    48041‐1318
MITCHELL MARTIN                       1664 DAVENPORT RD                                                                                 BRASELTON         GA    30517‐2036
MITCHELL MARTY (ESTATE OF) (494019)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD        OH    44067
                                                                          PROFESSIONAL BLDG
MITCHELL MARY                         PO BOX 220                                                                                        BOULDER           WY 82923‐0220
MITCHELL MATTHEW
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Name                        Address1                                Address2                        Address3   Address4               City               State Zip
MITCHELL MATTHEW (446440)   BEVAN & ASSOCIATES                      10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH 44067
                                                                    PROFESSIONAL BLDG
MITCHELL MAYNARD            2704 DONITHON RD                                                                                          LOUISA             KY   41230‐8586
MITCHELL MC LOSKY           1535 S MORRICE RD                                                                                         OWOSSO             MI   48867‐4766
MITCHELL MCNUTT & SAMS PA   105 S FRONT ST                                                                                            TUPELO             MS   38804‐4869
MITCHELL MERCER             PO BOX 742                                                                                                ADA                MI   49301‐0742
MITCHELL MERRITT            97 FILLY LN                                                                                               NORTHFIELD         OH   44067‐1278
MITCHELL MICHAEL            1411 COTTONWOOD VALLEY CIR N                                                                              IRVING             TX   75038‐6104
MITCHELL MIKE               4105 SHERWOOD WAY                                                                                         SAN ANGELO         TX   76901‐3544
MITCHELL MILDRED E          3857 SWEETBRIAR DRIVE                                                                                     ORANGE PARK        FL   32073‐7608
MITCHELL MILLER             20275 BREWER ST                                                                                           DECATUR            MI   49045‐9407
MITCHELL MILLER             PO BOX 37                                                                                                 MARKLEVILLE        IN   46056‐0037
MITCHELL MILLER             15146 BELLE RIVER RD                                                                                      BERLIN             MI   48002‐1800
MITCHELL MORRIS (459210)    GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                                    STREET, SUITE 600
MITCHELL MOTORS INC         402 OFFICE PLZ STE B                                                                                      TALLAHASSEE        FL   32301‐8303
MITCHELL MOTORS INC         MITCHELL AUTOMOTIVE GROUP INC           13810 FM 1826                                                     AUSTIN             TX   78737‐9129
MITCHELL MOTORS INC         MITCHELL BUICK PONTIAC GMC              13810 FM 1826                                                     AUSTIN             TX   78737‐9129
MITCHELL MOTORS INC         13810 FM 1826                                                                                             AUSTIN             TX   78737‐9129
MITCHELL MOTORS INC         COFFEY WILLIAM DAVID III & ASSOCIATES   13810 FM 1826                                                     AUSTIN             TX   78737‐9129

MITCHELL MURDOCK            327 1/2 N CORONADO ST                                                                                     LOS ANGELES        CA   90026‐5487
MITCHELL N J                NEED BETTER ADDRESS 12/04/06CP          16341 EAST 100 1ST                                                FORTVILLE          IN   46040
MITCHELL NOBLE              20168 KENTUCKY HWY 476                                                                                    HAZARD             KY   41701‐6979
MITCHELL NOBLE              20168 KY HIGHWAY 476                                                                                      HAZARD             KY   41701‐6979
MITCHELL OLEJNICZAK JR      3073 REAMER RD                                                                                            LAPEER             MI   48446‐7711
MITCHELL OLTEAN             4201 SILVER SWORD CT                                                                                      NORTH FORT MYERS   FL   33903‐3800
MITCHELL OSTING             2024 WEST WAYNE STREET                                                                                    LIMA               OH   45805‐2248
MITCHELL PAINTER            7335 LAKEWOOD HAVEN CT                                                                                    APPLEGATE          MI   48401‐9642
MITCHELL PALKOSKI           4681 HEMLOCK AVE                                                                                          LAKE               MI   48632‐9243
MITCHELL PARKS JR           401 N STATE ST                                                                                            MUNCIE             IN   47303‐4372
MITCHELL PARROTT            4330 MERRYDALE AVE                                                                                        DAYTON             OH   45431‐1819
MITCHELL PATRICK            828 GARDNER TRL                                                                                           SALYERSVILLE       KY   41465‐9787
MITCHELL PAWLAK             33484 6 MILE ROAD                                                                                         LIVONIA            MI   48152‐3143
MITCHELL PERLEJEWSKI        323 BEAVER LAKE SHORES DR                                                                                 LACHINE            MI   49753
MITCHELL PIERCE             138 LISA KAY BLVD                                                                                         WHITE LAKE         MI   48386‐1954
MITCHELL PLASTICS           TIM GOLDHAWK X235                       11 HOFFMAN STREET                          WATERLOO ON CANADA
MITCHELL PLASTICS LTD       100 WASHBURN DR RR2                                                                KITCHENER ON N2R 1S2
                                                                                                               CANADA
MITCHELL PLASTICS LTD       100 WASHBUM DR                                                                     KITCHENER CANADA ON
                                                                                                               N2G 3W5 CANADA
MITCHELL PLETOS             11433 HEATHERWOOD CT                                                                                      SHELBY TOWNSHIP    MI   48315‐1178
MITCHELL POPOVSKI           16093 FOREST WAY                                                                                          MACOMB             MI   48042‐2350
MITCHELL PORTER             454 N WASHINGTON ST                                                                                       KNIGHTSTOWN        IN   46148‐1064
MITCHELL POWELL             8635 ORMES RD                                                                                             VASSAR             MI   48768‐9635
MITCHELL PRABUCKI           7260 STATE RD                                                                                             MILLINGTON         MI   48746‐9118
MITCHELL PROVOST            5503 W WILLOUGHBY RD                                                                                      LANSING            MI   48911‐6572
MITCHELL R CANTY            8146 REYNOLDSWOOD DR                                                                                      REYNOLDSBURG       OH   43068
MITCHELL R GARRETT          PO BOX 311131                                                                                             FLINT              MI   48531‐1131
MITCHELL R SMEDLEY          2411 OME AVE                                                                                              DAYTON             OH   45414‐5110
MITCHELL RAAB               208 HURONDALE DRIVE                                                                                       WHITE LAKE         MI   48386
MITCHELL RALEIGH (463617)   DEARIE & ASSOCIATES JOHN C              515 MADISON AVE RM 1118                                           NEW YORK           NY   10022‐5456
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MITCHELL RAMSAY                  1840 S PARENT ST                                                                           WESTLAND            MI 48186‐4222
MITCHELL RATZA                   12423 IRISH RD                                                                             OTISVILLE           MI 48463‐9430
MITCHELL RAYMOND L (408448)      ANGELOS PETER G                 100 N CHARLES STREET , ONE                                 BALTIMORE           MD 21201
                                                                 CHARLES CENTER
MITCHELL REPAIR                  JIM HAWES                       14145 DANIELSON ST                                         POWAY              CA 92064
MITCHELL REPAIR INFORMATION CO   PO BOX 509044                   14145 DANIELSON ST                                         SAN DIEGO          CA 92150‐9044
MITCHELL REPAIR INFORMATION      PO BOX 509044                   FRMLY THOMPSON PUBLISHING                                  SAN DIEGO          CA 92150‐9044
COMPANY                                                          CORP
MITCHELL RHOTON                  119 CARL RODGER RD                                                                         MOSS               TN   38575‐6408
MITCHELL RICHARD                 4833 N PARKWAY                                                                             KOKOMO             IN   46901‐3940
MITCHELL RIVET                   5965 PETROS DR                                                                             W BLOOMFIELD       MI   48324‐3114
MITCHELL ROBERT (658444)         LIPSITZ & PONTERIO              135 DELAWARE AVE , SUITE 506                               BUFFALO            NY   14202
MITCHELL ROSE                    7950 E 425 N                                                                               MUNCIE             IN   47303
MITCHELL RUBBER PRODUCTS INC     EMMA REYNOLDS                   10220 SAN SEVAINE WAY                                      LANCASTER          SC   29721
MITCHELL RUBBER PRODUCTS INC     10220 SAN SEVAINE WAY                                                                      MIRA LOMA          CA   91752‐1100
MITCHELL RUBBER PRODUCTS INC     491 WILSON WAY                                                                             CITY OF INDUSTRY   CA   91744‐3983
MITCHELL RUBBER PRODUCTS, INC.   EMMA REYNOLDS                   10220 SAN SEVAINE WAY                                      LANCASTER          SC   29721
MITCHELL S BALLARD               7839 BELLBROOK RD.                                                                         WAYNESVILLE        OH   45068‐9746
MITCHELL S MARTIN                1664 DAVENPORT RD                                                                          BRASELTON          GA   30517‐2036
MITCHELL S PARKS                 2019 FALL HAVEN LN                                                                         KNOXVILLE          TN   37932
MITCHELL SAAB                    MITCHELL, MARK A                384 HOPMEADOW ST                                           WEATOGUE           CT   06089‐9731
MITCHELL SAAB                    384 HOPMEADOW STREET                                                                       SIMSBURY           CT   06070
MITCHELL SABAL                   45824 REEDGRASS LN                                                                         BELLEVILLE         MI   48111‐6401
MITCHELL SAENZ                   6544 BERNADINE DR                                                                          WATAUGA            TX   76148‐2801
MITCHELL SALEM                   16179 JACOB RD                                                                             LINDEN             MI   48451‐9027
MITCHELL SANFORD                 4740 S KREPPS RD                                                                           SAINT JOHNS        MI   48879‐8105
MITCHELL SAVIN                   10 ELIE COURT                                                                              SPRINGBORO         OH   45066‐1547
MITCHELL SCOTT & IRENE           34395 SPRINGVALE CIR                                                                       AVON               OH   44011‐3204
MITCHELL SEATON                  30276 ANNAPOLIS CT                                                                         INKSTER            MI   48141‐2855
MITCHELL SEIDLER                 RTE 2 BOX 4002 PLAIN ROAD                                                                  KINGSTON           MI   48741
MITCHELL SHAMPINE                4354 SILVER LAKE RD                                                                        LINDEN             MI   48451‐9069
MITCHELL SHAWN                   1033 CENTENNIAL AVE                                                                        NORTH BALDWIN      NY   11510‐1523
MITCHELL SHOCKEY                 4305 BARDWELL BUFORD RD                                                                    MOUNT ORAB         OH   45154‐9414
MITCHELL SIBERT                  862 LOCUST ST                                                                              MIDDLETOWN         IN   47356‐1321
MITCHELL SIBERT                  2315 MONROE ST                                                                             ANDERSON           IN   46016‐4641
MITCHELL SIMONS                  7880 S LOWELL RD                                                                           SAINT JOHNS        MI   48879‐9326
MITCHELL SMALLS JR               2307 STERLING RIDGE RD                                                                     DECATUR            GA   30032‐6155
MITCHELL SMITH                   PO BOX 295                                                                                 MUNCIE             IN   47308‐0295
MITCHELL SPENCER                 728 W HOSPITAL RD                                                                          PAOLI              IN   47454‐9677
MITCHELL SPENCER                 728 WEST HOSPITAL ROAD                                                                     PAOLI              IN   47454
MITCHELL SPRING                  6463 S FORDNEY RD                                                                          SAINT CHARLES      MI   48655‐9765
MITCHELL SR, DANNY M             11675 HIGHWAY 80                                                                           MINDEN             LA   71055‐7221
MITCHELL SR, DANNY MICHAEL       11675 HIGHWAY 80                                                                           MINDEN             LA   71055‐7221
MITCHELL SR, EARL                6796 KINLOCK DR                                                                            JACKSONVILLE       FL   32219‐3878
MITCHELL SR, GARY L              3141 SW 97TH ST                                                                            OKLAHOMA CITY      OK   73159‐7063
MITCHELL SR, GARY L              12500 S WESTERN AVE APT 154                                                                OKLAHOMA CITY      OK   73170‐5925
MITCHELL SR, IRA L               6814 CONLEY ST                                                                             BALTIMORE          MD   21224‐1832
MITCHELL SR, JOHNNY C            7207 BEAUFORT WAY                                                                          SHREVEPORT         LA   71129‐3412
MITCHELL SR, STERLING R          6129 SE 58TH ST                                                                            OKLAHOMA CITY      OK   73135‐5478
MITCHELL STACY                   14304 W 51ST ST                                                                            SHAWNEE            KS   66216‐4924
MITCHELL STAMBAUGH               2671 BUCKNER RD                                                                            LAKE ORION         MI   48362‐2009
MITCHELL STANFORD                3302 WEBBER ST                                                                             SAGINAW            MI   48601‐4008
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Name                                    Address1                           Address2                        Address3   Address4         City            State Zip
MITCHELL STEPHEN W (464863)             WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                             NEW YORK         NY 10038
MITCHELL STROCK                         305 COUNTRYSIDE LN APT 7                                                                       ORCHARD PARK     NY 14127‐1335
MITCHELL T ARNSWALD                     1402 2ND ST                                                                                    BAY CITY         MI 48708‐6124
MITCHELL T JOSEPH                       10691 BERLIN STATION RD                                                                        CANFIELD         OH 44406
MITCHELL TEAMER                         329 OTTER CREEK DR                                                                             VENICE           FL 34292‐2399
MITCHELL TECHNICAL INSTITUTE            821 N CAPITAL ST                                                                               MITCHELL         SD 57301‐2002
MITCHELL TEMPLE                         MITCHELL, TEMPLE                   PO BOX 659460                                               SAN ANTONIO      TX 78265‐9460
MITCHELL THEODORE                       C/O EDWARD O MOODY PA              801 WEST FOURTH STREET                                      LITTLE ROCK      AR 72201
MITCHELL THOMAS                         22774 SUMMER LN                                                                                NOVI             MI 48374‐3648
MITCHELL TOM (491240)                   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
MITCHELL TONEY                          3913 FLAT CREEK RD                                                                             OAKWOOD         GA   30566‐2738
MITCHELL TOUREAU                        1105 DESANDER RD                                                                               MONTROSE        MI   48457‐9310
MITCHELL TOUSLEY                        11401 PODUNK AVE NE                                                                            GREENVILLE      MI   48838‐8300
MITCHELL TRANSPORT                      DEBTOR IN POSSESSION               PO BOX 73050                                                CLEVELAND       OH   44193‐0002
MITCHELL TYDRYSZEWSKI JR                4397 CHESTNUT RIDGE RD APT 4                                                                   AMHERST         NY   14228‐3233
MITCHELL V LEMASTER                     5645 FORRESTER RIDGE RD                                                                        LYLES           TN   37098‐2003
MITCHELL VANNESS                        PO BOX 995                                                                                     LAPEL           IN   46051‐0995
MITCHELL VAUGHN                         5580 N 100 E                                                                                   NEW CASTLE      IN   47362
MITCHELL VINCENT (ESTATE OF) (665583)   SIMMONS FIRM                       PO BOX 521                                                  EAST ALTON      IL   62024‐0519

MITCHELL W COVERT                       109 SPRINGHOUSE DR                                                                             UNION           OH 45322
MITCHELL W JOHNSON                      9701 ROBERTS DR                                                                                FRANKLIN        OH 45005
MITCHELL W MCCOY                        5224 MARKEY ROAD                                                                               DAYTON          OH 45415‐3527
MITCHELL WAJDA
MITCHELL WALTON TIMBERLAKE              C/O MITCHELL TIMBERLAKE            2884 JOHNSON SPRINGS RD                                     MUNFORDVILLE    KY   42765
MITCHELL WARD                           12335 NEFF RD                                                                                  CLIO            MI   48420‐1808
MITCHELL WARDOSKY                       8087 E POTTER RD                                                                               DAVISON         MI   48423‐8112
MITCHELL WASHER                         77665 DEQUINDRE RD                                                                             LEONARD         MI   48367‐2026
MITCHELL WENGRZYNOWICZ                  5280 NW MAYFIELD LN                                                                            PORT ST LUCIE   FL   34983‐5351
MITCHELL WEST                           1338 FIELD LARK LN NE                                                                          BROOKHAVEN      MS   39601‐2070
MITCHELL WESTBROOK                      1865 WELLMAN DR SE                                                                             BOGUE CHITTO    MS   39629‐9759
MITCHELL WESTNESS                       6160 S 650 E                                                                                   PIERCETON       IN   46562‐9784
MITCHELL WILDER                         215 WINDERMERE DR                                                                              MIDDLESBORO     KY   40965‐9437
MITCHELL WILLIAM                        MITCHELL, WILLIAM                  1700 COMMERCE ST STE 1340                                   DALLAS          TX   75201‐5131
MITCHELL WILLIAM                        QUINN, PATRICK                     1700 COMMERCE ST STE 1340                                   DALLAS          TX   75201‐5131
MITCHELL WILLIAM (477252)               ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                  BALTIMORE       MD   21202
                                                                           CHARLES CENTER 22ND FLOOR
MITCHELL WILLIAM H (489154)             MOTLEY RICE                        1750 JACKSON ST                                             BARNWELL        SC   29812‐1546
MITCHELL WILLIAMS                       1384 NORTH NORTHRIDGE PARKWAY                                                                  OLATHE          KS   66061‐5872
MITCHELL WILLIAMS                       7623 CANTERCHASE CT APT 2A                                                                     FORT WAYNE      IN   46804‐2316
MITCHELL WILLIAMS JR                    30121 SPRING ARBOR DR                                                                          INKSTER         MI   48141‐1519
MITCHELL WILSON                         PO BOX 33                                                                                      WEST NEWTON     IN   46183‐0033
MITCHELL WISE                           4160 LUM RD                                                                                    ATTICA          MI   48412‐9286
MITCHELL WOOD                           15124 KNOTTINGHAM DR                                                                           LINDEN          MI   48451‐8500
MITCHELL WOOD I I I                     5 RIO GRANDE AVE                                                                               TROTWOOD        OH   45426‐2918
MITCHELL WORONIEWICZ                    34018 SPRING VALLEY DR                                                                         WESTLAND        MI   48185‐1448
MITCHELL#, ELAINE C                     947 N EUGENIA PL NW                                                                            ATLANTA         GA   30318‐4866
MITCHELL'S                              734 SHERIDAN DR                                                                                TONAWANDA       NY   14150‐7857
MITCHELL'S AUTOMOTIVE                   1231 29TH ST                                                                                   ORLANDO         FL   32805‐6156
MITCHELL'S E GRANITE PLATE              39294 AVONDALE ST                                                                              WESTLAND        MI   48186‐3758
MITCHELL, , BARBARA                     11374 CHEYENNE ST                                                                              DETROIT         MI   48227‐3775
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Name                    Address1                        Address2                       Address3   Address4         City             State Zip
MITCHELL, A.C.          328 BEDFORD RD                                                                             BOLINGBROOK        IL 60440‐2032
MITCHELL, AARON         3101 RAY ST                                                                                SAGINAW           MI 48601‐4628
MITCHELL, AARON D       10210 BEARD RD                                                                             BYRON             MI 48418‐8742
MITCHELL, AARON DALE    10210 BEARD RD                                                                             BYRON             MI 48418‐8742
MITCHELL, ADRIAN Z      678 MONTGOMERY ST                                                                          JERSEY CITY       NJ 07306
MITCHELL, AGNES         229 E MADISON                                                                              TIPTON            IN 46072‐1934
MITCHELL, AGNES         229 E MADISON ST                                                                           TIPTON            IN 46072‐1934
MITCHELL, AISHA         9313 NEWTON AVE APT C                                                                      KANSAS CITY       MO 64138‐3818
MITCHELL, ALAN W        1348 HALLS BRIDGE RD                                                                       JACKSON           GA 30233‐4305
MITCHELL, ALBERT D      14217 CHERRYLAWN ST                                                                        DETROIT           MI 48238‐2447
MITCHELL, ALBERTA       12867 STEEL ST                                                                             DETROIT           MI 48227‐3835
MITCHELL, ALBERTA       1700 MEMORIAL DRIVE APT #227                                                               CALUMET            IL 60409‐4333
MITCHELL, ALBERTA       2411 PATRICK PLACE                                                                         VALDOSTA          GA 31601
MITCHELL, ALBERTA       12867 STEEL                                                                                DETROIT           MI 48227‐3835
MITCHELL, ALFERD J      2414 EMERALD LAKE DR                                                                       EAST LANSING      MI 48823‐7255
MITCHELL, ALFRED O      3 DOGWOOD N                                                                                IRVINE            CA 92612‐2323
MITCHELL, ALICE         15511 HARVARD AVE                                                                          CLEVELAND         OH 44128‐2041
MITCHELL, ALICE L       610 E ELDRIDGE                                                                             FLINT             MI 48505‐5335
MITCHELL, ALLEN L       437 CLAREMONT DR                                                                           DOWNERS GROVE      IL 60516‐3614
MITCHELL, ALMA A        7306 FOREST ST                                                                             FREDERIC          MI 49733‐0001
MITCHELL, ALMA J        3979 18TH ST                                                                               ECORSE            MI 48229‐1311
MITCHELL, ALMA R        5135 INLAND ST                                                                             FLINT             MI 48505‐1706
MITCHELL, ALPHONZO      19519 CRANBROOK #106            SHERWOOD HIGHTS APPTS                                      DETROIT           MI 48221‐8221
MITCHELL, ALVERSIE      1342 LAUREL                                                                                ST LOUIS          MO 63112‐3704
MITCHELL, ALVERSIE      1342 LAUREL ST                                                                             SAINT LOUIS       MO 63112‐3704
MITCHELL, ALVIN M       KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                        BOND COURT BUILDING
MITCHELL, ALYWIN R      504 S CHESTNUT ST                                                                          OLATHE           KS   66061‐4510
MITCHELL, ALYWIN RODD   504 S CHESTNUT ST                                                                          OLATHE           KS   66061‐4510
MITCHELL, AMBER R       1114 RUTH AVE                                                                              VERNONIA         OR   97064‐1156
MITCHELL, ANDERSON      1604 W 3RD ST                                                                              GREENVILLE       NC   27834‐1705
MITCHELL, ANDREA D      15360 PARK ST                                                                              OAK PARK         MI   48237‐1995
MITCHELL, ANDREA M      1625 ELLINGTON RD SE                                                                       CONYERS          GA   30013‐2189
MITCHELL, ANDREW J      208 HAINES STREET                                                                          NEWARK           DE   19711‐5330
MITCHELL, ANDREW L      9469 COMPTON ST                                                                            INDIANAPOLIS     IN   46240‐1207
MITCHELL, ANDREW W      1132 CHESHIRE ST                                                                           PORT CHARLOTTE   FL   33953‐2218
MITCHELL, ANGIELENE     699 WELLMON ST                                                                             CLEVELAND        OH   44146‐3833
MITCHELL, ANN           P.O BOX 172                                                                                DAVISBURG        MI   48350‐0172
MITCHELL, ANN           PO BOX 172                                                                                 DAVISBURG        MI   48350‐0172
MITCHELL, ANN CAROL     218 DUNLAP ST                                                                              LANSING          MI   48910‐2822
MITCHELL, ANN L         253 NAVAJO AVE                                                                             PONTIAC          MI   48341‐2032
MITCHELL, ANNA          3822 BONNACREEK DRIVE                                                                      HERMITAGE        TN   37076‐1914
MITCHELL, ANNE C        6134 SHADE TREE DR                                                                         BARTLETT         TN   38134‐3638
MITCHELL, ANNETTE       1603 BLATTY PL                                                                             NEWARK           DE   19702‐4409
MITCHELL, ANNETTE       1603 BLATTY PLACE                                                                          NEWARK           DE   19702‐4409
MITCHELL, ANNETTE       5180 DUBLIN DR SW                                                                          ATLANTA          GA   30331‐7876
MITCHELL, ANNETTE       305 TIOGA DR                                                                               ARLINGTON        TX   76002‐4412
MITCHELL, ANNIE         2441 ELSMERE AVE                                                                           DAYTON           OH   45406‐1934
MITCHELL, ANNIE L       8969 NOTTINGHAM DR                                                                         YPSILANTI        MI   48198
MITCHELL, ANNIE P       1510 TACOMA ST                                                                             FLINT            MI   48503‐3744
MITCHELL, ANTHONY J     PO BOX 431266                                                                              PONTIAC          MI   48343‐1266
MITCHELL, ANTHONY S     5990 CREEKSIDE DR                                                                          REX              GA   30273‐1194
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Name                    Address1                         Address2                 Address3    Address4         City           State Zip
MITCHELL, ARCY M        5150 GOLDEN GATE BLVD                                                                  POLK CITY       FL 33868‐9572
MITCHELL, ARLEAN D      3948 PRINCETON LAKES WAY                                                               ATLANTA         GA 30331
MITCHELL, ARLENE M      1538 W RIDGE ST APT 7                                                                  MARQUETTE       MI 49855‐3134
MITCHELL, ARLENE S      8222 DELIN THOMAS RD                                                                   KINSMAN         OH 44428‐9534
MITCHELL, ARLENE S      8222 DEHLIN THOMAS ROAD                                                                KINSMAN         OH 44428‐9534
MITCHELL, ARMINTA J     PO BOX 148                                                                             GASTON          IN 47342‐0148
MITCHELL, ARNOLD        3900 LANCASTER PIKE APT C                                                              WILMINGTON      DE 19805
MITCHELL, ARNOLD E      380 LAUREL ST                                                                          SMITHS GROVE    KY 42171‐8112
MITCHELL, ARTHA M       1463 FORD AVE.                                                                         YOUNGSTOWN      OH 44504‐4504
MITCHELL, ARTHA M       1463 FORD AVE                                                                          YOUNGSTOWN      OH 44504‐1513
MITCHELL, ARTHUR L      128 DARWISH DR                                                                         MCDONOUGH       GA 30252‐3636
MITCHELL, ARTHUR L      48 SEDUM                                                                               HOWELL          MI 48843‐9836
MITCHELL, ARTHUR LEE    270 FAIRFIELD DR                                                                       ELLENWOOD       GA 30294‐2800
MITCHELL, ARTHUR R      565 STERLING DR                                                                        DIMONDALE       MI 48821‐8774
MITCHELL, AUBREY B      6210 S WINDERMERE DR                                                                   SHREVEPORT      LA 71129‐3425
MITCHELL, AUDREY A      3322 KLEINPELL ST                                                                      FLINT           MI 48507‐2156
MITCHELL, AUDREY L      5942 IDLEWOOD PL                                                                       LITHONIA        GA 30038‐6263
MITCHELL, AVERY E       15360 PARK ST                                                                          OAK PARK        MI 48237‐1995
MITCHELL, BARBARA       304 MIMOSA DR                                                                          GREENVILLE      SC 29615‐1941
MITCHELL, BARBARA       1737 WALLSTREET CIRCLE                                                                 INDIANAPOLIS    IN 46234
MITCHELL, BARBARA       11374 CHEYENNE                                                                         DETROIT         MI 48227
MITCHELL, BARBARA A     3615 MAYBELL RD                                                                        LANSING         MI 48911
MITCHELL, BARBARA A     24134 W OAK LN                                                                         JOLIET           IL 60404‐7300
MITCHELL, BARBARA ANN   3615 MAYBELL RD                                                                        LANSING         MI 48911
MITCHELL, BARBARA D     124 CORALWOOD CIR                                                                      KISSIMMEE       FL 34743‐8312
MITCHELL, BARBARA J     7878 TWIN PEAKS RD                                                                     FREDERIC        MI 49733‐9570
MITCHELL, BARBARA J     312 YARBROUGH CT                                                                       DACULA          GA 30019‐6766
MITCHELL, BARBARA L     PO BOX 560923                                                                          ORLANDO         FL 32856‐0923
MITCHELL, BARBARA L     396 CLINTON AVE N                                                                      ROCHESTER       NY 14605‐1805
MITCHELL, BARBARA L     2016 TWIN CREEK DR                                                                     TROTWOOD        OH 45426‐3151
MITCHELL, BARBARA P     8940 S 800 W                                                                           FAIRMOUNT       IN 46928‐9386
MITCHELL, BARRY D       5208 E COURT ST S                                                                      BURTON          MI 48509‐1945
MITCHELL, BARRY D       4218 LEERDA ST                                                                         FLINT           MI 48504‐2141
MITCHELL, BARRY L       4407 GARFIELD AVE                                                                      KANSAS CITY     MO 64130‐1835
MITCHELL, BEATRICE      303 BESSEMER LN                                                                        EAGLE ROCK      VA 24085‐3408
MITCHELL, BEATRICE M    C/O CHARLES P COSTELLO           1947 EASTWOOD AVE                                     JANESVILLE      WI 53545
MITCHELL, BEATRICE M    1947 EASTWOOD AVE                C/O CHARLES P COSTELLO                                JANESVILLE      WI 53545‐2607
MITCHELL, BEATRICE W    3733 LOVERS LN                                                                         RAVENNA         OH 44266‐1864
MITCHELL, BENJAMIN E    1 BROOKSIDE DR                                                                         BRIDGETON       NJ 08302‐2220
MITCHELL, BENJAMIN J    3280 E PINECREST DR                                                                    GLADWIN         MI 48624‐7104
MITCHELL, BENJAMIN J    20479 ORLEANS ST                                                                       DETROIT         MI 48203‐1357
MITCHELL, BENJAMIN N    4628 EVANSTON AVE                                                                      INDIANAPOLIS    IN 46205‐1430
MITCHELL, BENNIE S      4130 ARDERY AVE                                                                        DAYTON          OH 45406‐1405
MITCHELL, BERNICE       3106 WESTERN AVE                                                                       ORANGE          TX 77630‐7630
MITCHELL, BERNICE M
MITCHELL, BESSIE C.     104 HILLMONT DRIVE                                                                     WOODSTOCK      GA   30188‐1848
MITCHELL, BETTY J       322 ORCHARD COVE DR                                                                    OTISVILLE      MI   48463‐9495
MITCHELL, BETTY J       4330 PARK AVE W                                                                        MANSFIELD      OH   44903‐8609
MITCHELL, BETTY J       3590 RUE FORET APT 103                                                                 FLINT          MI   48532
MITCHELL, BETTY J       4540 GLENBERRY DR                                                                      HOLT           MI   48842‐1985
MITCHELL, BETTY J       120 HIGHLAND AVE                                                                       NILES          OH   44446‐1115
MITCHELL, BETTY J.      70 W 10TH ST                                                                           JAMESTOWN      NY   14701
                                  09-50026-mg              Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                              Address1                         Address2                       Address3   Address4         City           State Zip
MITCHELL, BETTY L                 1801 E MILWAUKEE ST APT 209                                                                 JANESVILLE      WI 53545‐2686
MITCHELL, BETTY L                 4670 E 37TH TER                                                                             KANSAS CITY     MO 64128‐2810
MITCHELL, BEULAH F                3461 SHOREVIEW DR                                                                           DECKERVILLE     MI 48427‐9796
MITCHELL, BEULAH S                6737 E 50 S                                                                                 GREENTOWN       IN 46936‐9109
MITCHELL, BEVERLEY L              301 S INGLEWOOD AVE                                                                         YOUNGSTOWN      OH 44515‐3935
MITCHELL, BEVERLEY L              301 SO INGLEWOOD AVENUE                                                                     YOUNGSTOWN      OH 44515‐3935
MITCHELL, BEVERLY J               2648 WESTMAR CT APT 247                                                                     TOLEDO          OH 43615‐2011
MITCHELL, BEVERLY J               16180 ARCHDALE ST                                                                           DETROIT         MI 48235‐3413
MITCHELL, BILL C                  175 BEECHWOOD AVE                                                                           MOUNT VERNON    NY 10553‐1301
MITCHELL, BILL L                  785 SKYLINE DR S                                                                            LEWISBURG       TN 37091‐4051
MITCHELL, BILLIE J                1013 W 1ST ST                                                                               MUNCIE          IN 47305‐2102
MITCHELL, BILLIE J                1013 WEST 1ST ST                                                                            MUNCIE          IN 47305‐2102
MITCHELL, BILLIE S                1851 W 400 S                                                                                ANDERSON        IN 46013‐9406
MITCHELL, BILLY F                 2916 S PHILLIP DR                                                                           MUNCIE          IN 47302‐3936
MITCHELL, BILLY FRANCIS           2916 S PHILLIP DR                                                                           MUNCIE          IN 47302‐3936
MITCHELL, BILLY J                 5908 HAWK CT                                                                                VENUS           TX 76084‐3224
MITCHELL, BILLY J                 12111 W 93RD ST                                                                             LENEXA          KS 66215‐3831
MITCHELL, BOBBIE J                603 ARTHUR AVE                                                                              PONTIAC         MI 48341‐2508
MITCHELL, BOBBIE J                1631 N STEWART RD                                                                           MANSFIELD       OH 44903‐9153
MITCHELL, BOBBIE J                32 S 11TH AVE                                                                               MOUNT VERNON    NY 10550‐2909
MITCHELL, BOBBIE J                32 SO 11TH AVE                                                                              MT VERNON       NY 10550‐2909
MITCHELL, BOBBY                   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH 44067
                                                                   PROFESSIONAL BLDG
MITCHELL, BOBBY B                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK        VA 23510
                                                                   STREET, SUITE 600
MITCHELL, BOBBY GLYNN             SHANNON LAW FIRM                 100 W GALLATIN ST                                          HAZLEHURST     MS   39083‐3007
MITCHELL, BOBBY J                 1952 GONDERT AVE                                                                            DAYTON         OH   45403‐3441
MITCHELL, BONNIE                  1696 CLARK LAKE RD                                                                          BRIGHTON       MI   48114‐4909
MITCHELL, BONNILYN A              4850 HIGHLAND COURT DR                                                                      HARRISON       MI   48625
MITCHELL, BOOKER T                325 S OUTER DR                                                                              SAGINAW        MI   48601‐6333
MITCHELL, BORIS J                 9784 E ROCK RIDGE CT                                                                        TUCSON         AZ   85749‐7907
MITCHELL, BRENDA
MITCHELL, BRENDA D                1273 EAST OUTER DRIVE                                                                       SAGINAW        MI   48601
MITCHELL, BRENDA D                165 DEERFIELD LN                                                                            AURORA         OH   44202‐8489
MITCHELL, BRENDA G                302 SE WINBURN TRAIL                                                                        LEE'S SUMMIT   MO   64063‐3344
MITCHELL, BRENDA K                155 PINEVIEW DR NE                                                                          WARREN         OH   44484‐6416
MITCHELL, BRENDA L                7878 SOUTH ST                                                                               VICKSBURG      MI   49097‐8342
MITCHELL, BRENDA S                PO BOX 310                                                                                  WARSAW         KY   41095‐0310
MITCHELL, BRENDA SUE              PO BOX 310                                                                                  WARSAW         KY   41095‐0310
MITCHELL, BRENDA SUE              SHANNON LAW FIRM                 100 W GALLATIN ST                                          HAZLEHURST     MS   39083‐3007
MITCHELL, BRENT DWAYNE (AGE 20)   JOHNSON P.S.C GARY C             PO BOX 231                                                 PIKEVILLE      KY   41502‐0231
MITCHELL, BRENT L                 14731 NELSON DR                                                                             LAKE ODESSA    MI   48849‐9465
MITCHELL, BRIAN T                 245 PRAIRIE GRASS RD                                                                        CHATHAM        IL   62629‐8053
MITCHELL, BRITTANY R              3604 GRADY ST                                                                               FOREST HILL    TX   76119‐7237
MITCHELL, BRITTANY RAECHELL       3604 GRADY ST                                                                               FOREST HILL    TX   76119‐7237
MITCHELL, CALLIE M                19768 ARDMORE ST                                                                            DETROIT        MI   48235‐1503
MITCHELL, CALVIN L                APT L6                           351 SAM RIDLEY PARKWAY EAST                                SMYRNA         TN   37167‐4300
MITCHELL, CAREY C                 5312 REBECCA RD                                                                             LAS VEGAS      NV   89130‐1734
MITCHELL, CARL E                  6746 W SHORE DR                                                                             WEIDMAN        MI   48893‐8779
MITCHELL, CARL E                  1615 PINE ST SE                                                                             MARIETTA       GA   30060‐3916
MITCHELL, CARL EDWARD             6746 W SHORE DR                                                                             WEIDMAN        MI   48893‐8779
MITCHELL, CARL L                  3546 STONEFIELD COURT                                                                       REX            GA   30273‐1187
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Name                    Address1                          Address2                          Address3   Address4         City              State Zip
MITCHELL, CARLA D       6435 W. JEFFERSON BLVD. #186                                                                    FORT WAYNE         IN 46804
MITCHELL, CARLTON L     11316 DUNN VIEW DR                                                                              SAINT LOUIS        MO 63138‐3403
MITCHELL, CARLYN C      30682 ANDERSON DR                                                                               DENHAM SPRINGS     LA 70726‐2145
MITCHELL, CAROL D       2825 PALM BEACH BLVD APT 215                                                                    FORT MYERS         FL 33916‐1515
MITCHELL, CAROL J       2865 KEELEY CT                                                                                  WATERFORD          MI 48328‐2679
MITCHELL, CAROL J       3 JOHNSON TER                                                                                   WINTHROP           MA 02152‐2220
MITCHELL, CAROL L       723 S 650W                                                                                      ANGOLA             IN 46703
MITCHELL, CAROL L       723 S 650 W                                                                                     ANGOLA             IN 46703‐9666
MITCHELL, CAROL M       7706 SE 76TH PL                                                                                 PORTLAND           OR 97206‐8634
MITCHELL, CAROLYN J     8714 LOG RUN N DR                                                                               INDIANAPOLIS       IN 46234
MITCHELL, CAROLYN J     14857 E ST RD 16                                                                                ROYAL CENTER       IN 46978
MITCHELL, CAROLYN S     2001 N LAFOUNTAIN ST                                                                            KOKOMO             IN 46901‐2320
MITCHELL, CATHERINE A   1483 BERN DR                                                                                    SPRING HILL        TN 37174‐7173
MITCHELL, CECIL         HALPERN & ASSOCS JAY              4649 PONCE DE LEON BLVD STE 402                               CORAL GABLES       FL 33146‐2121

MITCHELL, CHARLENE      154 SPRINGFIELD AVE                                                                             ROCHESTER         NY   14609‐3611
MITCHELL, CHARLES       PORTER & MALOUF PA                4670 MCWILLIE DR                                              JACKSON           MS   39206‐5621
MITCHELL, CHARLES       22705 LAKE SHORE BLVD APT 235B                                                                  EUCLID            OH   44123‐1350
MITCHELL, CHARLES       5314 KEVINS WAY                                                                                 MADISON           WI   53714‐3414
MITCHELL, CHARLES       2914 TRENTON OXFORD RD                                                                          HAMILTON          OH   45011‐9650
MITCHELL, CHARLES A     2797 TUPPER DR                                                                                  BAY CITY          MI   48706‐1533
MITCHELL, CHARLES A     1810 W HILLSDALE ST                                                                             LANSING           MI   48915‐1118
MITCHELL, CHARLES A     410 WHISPERING DR                                                                               SPRING HILL       TN   37174‐9600
MITCHELL, CHARLES A     1499 KENNEBEC RD                                                                                GRAND BLANC       MI   48439‐4979
MITCHELL, CHARLES A     THORNTON AND NAUMES LLP           100 SUMMER ST, 30TH FLOOR                                     BOSTON            MA   02110
MITCHELL, CHARLES B     120 MILFORD LN                                                                                  DURHAM            NC   27713‐2351
MITCHELL, CHARLES B     19330 FORT 103                                                                                  RIVERVIEW         MI   48192‐6732
MITCHELL, CHARLES B     19330 FORT ST APT 103                                                                           RIVERVIEW         MI   48193‐6732
MITCHELL, CHARLES D     4920 STANTON RD                                                                                 OXFORD            MI   48371‐5521
MITCHELL, CHARLES E     1150 MAPLEWOOD AVE                                                                              YPSILANTI         MI   48198‐5831
MITCHELL, CHARLES F     3036 COUNTY ROAD 209                                                                            QULIN             MO   63961‐9258
MITCHELL, CHARLES F     2753 KIRKLEIGH RD                                                                               BALTIMORE         MD   21222‐4613
MITCHELL, CHARLES F     1467 HAMPSHIRE DR                                                                               CANTON            MI   48188‐1211
MITCHELL, CHARLES J     KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                  CLEVELAND         OH   44114
                                                          BOND COURT BUILDING
MITCHELL, CHARLES J     PO BOX 17305                                                                                    EUCLID            OH   44117‐0305
MITCHELL, CHARLES J     37137 STATE ROUTE 558                                                                           SALEM             OH   44460‐9476
MITCHELL, CHARLES R     2133 CHARDONNAY CT W                                                                            KISSIMMEE         FL   34741
MITCHELL, CHARLES S     101 RAILROAD ST                                                                                 ELMO              MO   64445
MITCHELL, CHARLES T     ANTOGNOLI DAVID L                 2227 S STATE ROUTE 157                                        EDWARDSVILLE      IL   62025‐3646
MITCHELL, CHARLES T     C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                 EDWARDSVILLE      IL   62025
MITCHELL, CHARLES W     3413 SHARON AVENUE                                                                              KETTERING         OH   45429‐3629
MITCHELL, CHARLES W     3710 CEMENT VALLEY RD                                                                           MIDLOTHIAN        TX   76065‐5302
MITCHELL, CHARLES W     218 DUNLAP ST                                                                                   LANSING           MI   48910‐2822
MITCHELL, CHARLIE       2048 W NANCY HIWY 403                                                                           FALSON            NC   28341
MITCHELL, CHARLIE       2320 GOVERNORS RD                                                                               WINDSOR           NC   27983‐9779
MITCHELL, CHARLIE F     27619 CALIFORNIA DR SW                                                                          LATHRUP VILLAGE   MI   48076‐3417
MITCHELL, CHERLYN D     1038 W COLUMBIA RD                                                                              MASON             MI   48854‐9689
MITCHELL, CHERYL A      245 PRAIRIE GRASS RD                                                                            CHATHAM           IL   62629‐8053
MITCHELL, CHERYL L      2256 SW PENGUIN LN                                                                              SMITHDALE         MS   39664‐7426
MITCHELL, CHERYL L      6525 RAMEY AVE                                                                                  FORT WORTH        TX   76112‐8058
MITCHELL, CHESTER       2420‐17 HUNTER AVE                                                                              BRONX             NY   10475
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Name                      Address1                          Address2                          Address3   Address4         City             State Zip
MITCHELL, CHINESE         2806 TWYMAN                                                                                     DALLAS            TX 75215‐3011
MITCHELL, CHINESE         2806 TWYMAN AVE                                                                                 DALLAS            TX 75215‐3011
MITCHELL, CHRIS L         16737 W 156TH ST                                                                                OLATHE            KS 66062‐6742
MITCHELL, CHRIS LYLE      16737 W 156TH ST                                                                                OLATHE            KS 66062‐6742
MITCHELL, CHRIS T         47963 JAKE LN                                                                                   CANTON            MI 48187‐5837
MITCHELL, CHRISTOPHER L   5832 BLUEBONNETT DR                                                                             BOSSIER CITY      LA 71112‐4970
MITCHELL, CLARENCE I      5805 GRIDLEY DRIVE                                                                              WINDSOR           CA 95492‐8629
MITCHELL, CLARENCE J      70 COUNTY ROAD 136                                                                              SARDIS            AL 36775‐3000
MITCHELL, CLAY G          1475 DELGANY ST UNIT 604                                                                        DENVER            CO 80202
MITCHELL, CLIFTON T       4219 SMITHFIELD DR                                                                              TUCKER            GA 30084‐6136
MITCHELL, COLVYN G        2 SUNSTONE DRIVE                                                                                POUGHKEEPSIE      NY 12603‐1068
MITCHELL, COLVYN G        2 SUNSTONE DR                                                                                   POUGHKEEPSIE      NY 12603‐1068
MITCHELL, COREY           NO ADDRESS IN FILE
MITCHELL, COREY G         25554 STONYCROFT DR                                                                             SOUTHFIELD       MI   48033‐5885
MITCHELL, COREY L         782 OLIVE ST                                                                                    OXFORD           MI   48371‐5065
MITCHELL, CORI L          2500 IVA CT                                                                                     BELOIT           WI   53511‐2616
MITCHELL, CORI L          905 PINZON DR APT 1101                                                                          ARLINGTON        TX   76017‐6189
MITCHELL, CRAIG A         26212 SUNBURST COURT                                                                            WARREN           MI   48091‐4084
MITCHELL, CRAIG B         8495 JENNINGS RD                                                                                SWARTZ CREEK     MI   48473‐9107
MITCHELL, CRAIG J         420 BELLINI CIR                                                                                 NOKOMIS          FL   34275‐1419
MITCHELL, CRAIG J         123 N CLARK ST                                                                                  CHESANING        MI   48616‐1222
MITCHELL, CURTIS          5135 INLAND ST                                                                                  FLINT            MI   48505‐1706
MITCHELL, CYNTHIA F       3381 JASMINE VINE COURT                                                                         LAS VEGAS        NV   89135
MITCHELL, D M             14315 SCIOTO AVE                                                                                CLEVELAND        OH   44112‐3743
MITCHELL, DALE            CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND        OH   44115
                          GAROFOLI                          FL
MITCHELL, DALE D          19700 E GLEN ELLYN CT                                                                           INDEPENDENCE     MO   64056‐1334
MITCHELL, DANIEL          11374 CHEYENNE ST                                                                               DETROIT          MI   48227‐3775
MITCHELL, DANIEL D        1612 PEUBLO DR                                                                                  XENIA            OH   45385‐4225
MITCHELL, DANIEL D        1612 PUEBLO DR                                                                                  XENIA            OH   45385‐4225
MITCHELL, DANIEL J        14667 CHAPEL LN                                                                                 ROCK             MI   49880
MITCHELL, DANIEL J        PO BOX 343                                                                                      EWEN             MI   49925‐0343
MITCHELL, DANNY P         1520 EVERGREEN DR                                                                               ALLEN            TX   75002‐4675
MITCHELL, DARIA H         7 IBEX DR                                                                                       FAIRFIELD        OH   45014‐5583
MITCHELL, DARRELL L       18410 ROBSON ST                                                                                 DETROIT          MI   48235‐2864
MITCHELL, DARRELL R       485 HALL DR                                                                                     GREENWOOD        IN   46142‐9680
MITCHELL, DAVID           PO BOX 320558                                                                                   KANSAS CITY      MO   64132‐0558
MITCHELL, DAVID A         2418 ROBINWOOD AVE                                                                              SAGINAW          MI   48601‐3560
MITCHELL, DAVID A         PO BOX 444                                                                                      NORTH BANGOR     NY   12966‐0444
MITCHELL, DAVID A         1209 CIRCLE LN                                                                                  BEDFORD          TX   76022‐6764
MITCHELL, DAVID A         11124 GALE ROAD                                                                                 OTISVILLE        MI   48463‐9435
MITCHELL, DAVID ALAN      11124 GALE ROAD                                                                                 OTISVILLE        MI   48463‐9435
MITCHELL, DAVID ALDO      PO BOX 444                                                                                      NORTH BANGOR     NY   12966‐0444
MITCHELL, DAVID ALLEN     1209 CIRCLE LN                                                                                  BEDFORD          TX   76022‐6764
MITCHELL, DAVID C         1802 INDEPENDENCE CT                                                                            GRAND PRAIRIE    TX   75052‐1914
MITCHELL, DAVID C         129 COURT ST                                                                                    ANDERSON         IN   46012‐2931
MITCHELL, DAVID C         1764 DREXEL AVE NW                                                                              WARREN           OH   44485‐2120
MITCHELL, DAVID C         7207 SWEETWATER VLY                                                                             STONE MOUNTAIN   GA   30087‐6324
MITCHELL, DAVID E         121 VENTURA AVE                                                                                 DAYTON           OH   45417‐1819
MITCHELL, DAVID E         87 DEERFIELD                      APT. #1                                                       BUFFALO          NY   14215
MITCHELL, DAVID H         7621 EMBASSY DR                                                                                 CANTON           MI   48187‐1545
MITCHELL, DAVID H         PO BOX 420                                                                                      ROSEVILLE        MI   48066‐0420
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Name                      Address1                       Address2             Address3                 Address4         City           State Zip
MITCHELL, DAVID I         165 DEERFIELD LN                                                                              AURORA          OH 44202‐8489
MITCHELL, DAVID J         4708 VINCENT AVE S                                                                            MINNEAPOLIS     MN 55410‐1842
MITCHELL, DAVID K         2919 LENORA RD                                                                                SNELLVILLE      GA 30039‐5416
MITCHELL, DAVID L         3144 SMILEY RD                                                                                BRIDGETON       MO 63044‐3042
MITCHELL, DAVID L         817 THOMAS CROSSING DR                                                                        BURLESON        TX 76028‐3207
MITCHELL, DAVID P         11 JAMECO MILL RD                                                                             SCARBOROUGH     ME 04074‐8215
MITCHELL, DAVID P         368 KOSER RD                                                                                  LITITZ          PA 17543‐9364
MITCHELL, DAVID R         35119 MCCULLOUGHS LEAP         COLONY HILLS                                                   ZEPHYRHILLS     FL 33541‐8312
MITCHELL, DAVID T         121 SAINT MARKS DR                                                                            STOCKBRIDGE     GA 30281‐1096
MITCHELL, DAVID W         428 ROGERS ST                                                                                 ATHENS          AL 35611‐2139
MITCHELL, DEBORAH         425 CREEK OAK DR                                                                              MURFREESBORO    TN 37128‐3888
MITCHELL, DEBORAH         2641 LONGFELLOW DR                                                                            WILMINGTON      DE 19808‐3733
MITCHELL, DEBORAH         BILBO CLAUDE V JR              PO BOX 1527                                                    PASCAGOULA      MS 39568‐1527
MITCHELL, DEBORAH         5515 LUELLA RD                                                                                SHERMAN         TX 75090‐5219
MITCHELL, DEBORAH G       12112 FRESHWELL RD                                                                            CHARLOTTE       NC 28273‐6773
MITCHELL, DEBORAH GAIL    12112 FRESHWELL RD                                                                            CHARLOTTE       NC 28273‐6773
MITCHELL, DEBORAH J       155 HURDS BLVD APT 4                                                                          FELTON          DE 19943‐1789
MITCHELL, DEBORAH J       155 HURDS BLVD.                APT 4                                                          FELTON          DE 19943
MITCHELL, DEBORAH L       2002 MCKINLEY STREET                                                                          ANDERSON        IN 46016‐4565
MITCHELL, DEBRA A         640 N WRIGHT RD                                                                               JANESVILLE      WI 53546‐1901
MITCHELL, DEBRA J         552 GREENLEAF MDWS                                                                            ROCHESTER       NY 14612
MITCHELL, DEITRIC         C/O ANAKANI & ASSOCIATES       ATTN: E.J. ANAKANI   8303 SOUTHWEST FWY STE                    HOUSTON         TX 77074‐1621
                                                                              970
MITCHELL, DELLA M         319 E. OOLITIC RD.                                                                            BEDFORD        IN   47421‐6623
MITCHELL, DELLA M         319 E OOLITIC RD                                                                              BEDFORD        IN   47421‐6623
MITCHELL, DELMAR MARVIN   MOODY EDWARD O                 801 W 4TH ST                                                   LITTLE ROCK    AR   72201‐2107
MITCHELL, DELOISE         2291 PLANTATION DR                                                                            EAST POINT     GA   30344‐2169
MITCHELL, DEMETRIA        657 SAINT MARON ST                                                                            DETROIT        MI   48207‐3913
MITCHELL, DENITA G        PO BOX 121690                                                                                 ARLINGTON      TX   76012‐1690
MITCHELL, DENNIS          12772 MEYERS RD                                                                               DETROIT        MI   48227
MITCHELL, DENNIS A        3479 W ROAD 100 N                                                                             BARGERSVILLE   IN   46106‐9583
MITCHELL, DENNIS E        4717 BENNETT ST                                                                               AUSTELL        GA   30106‐2208
MITCHELL, DENNIS L        PO BOX 3099                                                                                   LOGANVILLE     GA   30052‐1969
MITCHELL, DENNIS L        4105 W 100 N                                                                                  KOKOMO         IN   46901‐3886
MITCHELL, DENNIS P        4101 S SHERIDAN RD LOT 306                                                                    LENNON         MI   48449‐9421
MITCHELL, DEO L           10024 PATTON ST                                                                               DETROIT        MI   48228‐1584
MITCHELL, DOLORES R       19 WYOMING DR                                                                                 JACKSON        NJ   08527‐1547
MITCHELL, DONALD          4263 LOSCO RD APT 1326                                                                        JACKSONVILLE   FL   32257‐1454
MITCHELL, DONALD          2702 ARROWOOD DR                                                                              EAST POINT     GA   30344‐3812
MITCHELL, DONALD          20061 ROSEMONT AVE                                                                            DETROIT        MI   48219‐1506
MITCHELL, DONALD A        1442 LEMCKE RD                                                                                BEAVERCREEK    OH   45434‐6729
MITCHELL, DONALD D        761 SABLE CT                                                                                  YOUNGSTOWN     OH   44512‐5323
MITCHELL, DONALD E        616 CRESTHAVEN DR                                                                             INDIANAPOLIS   IN   46217‐3286
MITCHELL, DONALD E        1039 N WASHINGTON AVE                                                                         CRESTLINE      OH   44827‐9785
MITCHELL, DONALD E        2718 OLDE CYPRESS DR                                                                          NAPLES         FL   34119‐9730
MITCHELL, DONALD E        9604 NE 98TH ST                                                                               KANSAS CITY    MO   64157‐9713
MITCHELL, DONALD J        17942 S FOXHOUND LN                                                                           MOKENA         IL   60448‐8584
MITCHELL, DONALD J        17942 SOUTH FOXHOUND LANE                                                                     MOKENA         IL   60448‐8584
MITCHELL, DONALD R        697 COUNTY ROAD 3442                                                                          ATLANTA        TX   75551‐5799
MITCHELL, DONALD S        4702 HOLKE ST                                                                                 BLUE SPRINGS   MO   64015‐9548
MITCHELL, DONALD V        60938 LAKE EDGE                                                                               WASHINGTON     MI   48094‐2319
MITCHELL, DONNA
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Name                    Address1                           Address2                  Address3   Address4         City               State Zip
MITCHELL, DONNA J       34438 N STATE HIGHWAY 47                                                                 WARRENTON           MO 63383‐4830
MITCHELL, DONNA J       PO BOX 60713                                                                             SAVANNAH            GA 31420‐1420
MITCHELL, DORETHA       5832 WISE RD                                                                             LANSING             MI 48911‐4502
MITCHELL, DORIS         14848 FAIRMOUNT DR                                                                       DETROIT             MI 48205‐1317
MITCHELL, DORIS
MITCHELL, DORIS J       4007 LORRAINE DR                                                                         ARLINGTON          TX   76017‐1419
MITCHELL, DORIS JEAN    4007 LORRAINE DR                                                                         ARLINGTON          TX   76017‐1419
MITCHELL, DORIS M       118 WALKER DR                                                                            MONROE             GA   30655‐2241
MITCHELL, DORIS M       118 WALKER DR.                                                                           MONROE             GA   30655‐2241
MITCHELL, DORIS R       217 MILL ST                                                                              KOKOMO             IN   46902‐4641
MITCHELL, DOROTHEA D    369 WING PARK BOULEVARD                                                                  ELGIN              IL   60123‐3342
MITCHELL, DOROTHY       72 TYSON RD                                                                              CLAYTON            AL   36016
MITCHELL, DOROTHY       10057 TARA GLYNN DR                                                                      HAMPTON            GA   30228‐6131
MITCHELL, DOROTHY A     128 BRIARCLIFF                                                                           BELLE AIR          MD   21014
MITCHELL, DOROTHY F     1752 LYNN MAR AVE                                                                        YOUNGSTOWN         OH   44514‐1449
MITCHELL, DOROTHY J     601 BURMAN AVE                                                                           TROTWOOD           OH   45426‐2718
MITCHELL, DOROTHY J     1265 WESTBROOK RD.                                                                       CLAYTON            OH   45415‐1903
MITCHELL, DOROTHY J     13115 DALESIDE AVE                                                                       GARDENA            CA   90249‐1706
MITCHELL, DOROTHY M     6177 DERBY RD                                                                            DAYTON             OH   45418‐1503
MITCHELL, DOROTHY M     624 KINGS RDG                      C/O DIANE M. WETHERFORD                               MONROE             GA   30655‐2040
MITCHELL, DOROTHY M     624 KINGS RIDGE                    C/O DIANE M. WETHERFORD                               MONROE             GA   30655‐2040
MITCHELL, DOROTHY MAE   816 W JAMIESON                                                                           FLINT              MI   48504‐2616
MITCHELL, DOROTHY N     600 W HURON ST APT 423                                                                   ANN ARBOR          MI   48103‐4258
MITCHELL, DOROTHY S     668 COUNTY ROAD 461                                                                      WOODLAND           AL   36280‐5851
MITCHELL, DOROTHY S     10296 COUNTY RD 737                                                                      DEXTER             MO   63841
MITCHELL, DOROTHY S     668 COUNTY RD 461                                                                        WOODLAND           AL   36280‐5851
MITCHELL, DOUGLAS       708 IMY LN                                                                               ANDERSON           IN   46013‐3825
MITCHELL, DOUGLAS E     12225 LAKE RD                                                                            MONTROSE           MI   48457‐9429
MITCHELL, DOUGLAS E     708 IMY LN                                                                               ANDERSON           IN   46013‐3825
MITCHELL, DOUGLAS S     6378 E DORNICK LN                                                                        BLOOMFIELD         IN   47424‐5557
MITCHELL, DRENA T       1676 WILSON MANOR CIR                                                                    LAWRENCEVILLE      GA   30045‐3749
MITCHELL, DUANE K       5219 DARLENE STREET                                                                      DALLAS             TX   75232‐1911
MITCHELL, DWAYNE M      PO BOX 760140                                                                            LATHRUP VLG        MI   48076‐0140
MITCHELL, DWIGHT B      2012 N 49TH ST                                                                           KANSAS CITY        KS   66104‐3210
MITCHELL, E J           1105 W CREEK DR                                                                          NIAGARA FALLS      NY   14304‐1968
MITCHELL, EARL G        1325 S SUTTON ST                                                                         WESTLAND           MI   48186‐8067
MITCHELL, EARL H        5658 CRESCENT RD                                                                         WATERFORD          MI   48327‐2722
MITCHELL, EARL M        4110 CHAMPAGNE DR                                                                        EMMAUS             PA   18049‐5257
MITCHELL, EDDIE         4612 S MARTIN L KING BLVD 2                                                              LANSING            MI   48910
MITCHELL, EDDIE F       4893 MEMORIAL DR                                                                         STONE MOUNTAIN     GA   30083‐4175
MITCHELL, EDITH E       PO BOX 776                                                                               COLUMBIA STATION   OH   44028
MITCHELL, EDITH L       38799 CODY DR                                                                            ROMULUS            MI   48174‐5056
MITCHELL, EDITH LYNN    38799 CODY DR                                                                            ROMULUS            MI   48174‐5056
MITCHELL, EDNA D        340 MALLEABLE STREET                                                                     SHARON             PA   16146‐1935
MITCHELL, EDNA M        1104 SECOND AVE                                                                          LAKE ODESSA        MI   48849‐1153
MITCHELL, EDNA M        1104 2ND AVE                                                                             LAKE ODESSA        MI   48849‐1153
MITCHELL, EDWARD
MITCHELL, EDWARD        38 LANGFIELD DR                                                                          BUFFALO            NY   14215‐3322
MITCHELL, EDWARD        957 LIBERTY GROVE RD                                                                     CONOWINGO          MD   21918‐1917
MITCHELL, EDWARD E      12717 LAYHILL RD APT 101                                                                 SILVER SPRING      MD   20905‐3453
MITCHELL, EDWARD E      15361 SUSSEX ST                                                                          DETROIT            MI   48227‐2654
MITCHELL, EDWARD J      5008 NEWFIELD AVE                                                                        CINCINNATI         OH   45237
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Name                    Address1                       Address2                 Address3    Address4         City               State Zip
MITCHELL, EDWARD J      61 ELM ST                                                                            SPRINGVILLE         NY 14141‐1501
MITCHELL, EDWARD L      17136 PLAINVIEW AVE                                                                  DETROIT             MI 48219‐3554
MITCHELL, EDWARD M      #9 FOURTH ST                                                                         CHESTER             PA 19013
MITCHELL, EDWARD M      9 4TH ST                                                                             UPLAND              PA 19015‐2418
MITCHELL, EDWARD S      4685 SEWARD ROAD                                                                     POWDER SPGS         GA 30127‐3132
MITCHELL, EDWARD V      PAUL REICH & MYERS P.C.        1608 WALNUT ST STE 500                                PHILADELPHIA        PA 19103‐5446
MITCHELL, EDWIN O       225 OTTER CIR                                                                        FAYETTEVILLE        GA 30215‐5264
MITCHELL, ELBERT D      4401 FOARD ST                                                                        FORT WORTH          TX 76119‐3305
MITCHELL, ELEANOR V     24 THORNELL RD                                                                       PITTSFORD           NY 14534‐3526
MITCHELL, ELIZABETH M   36623 KENNETH CT                                                                     STERLING HTS        MI 48312‐3157
MITCHELL, ELIZABETH M   11149 N FUEGO DR                                                                     CITRUS SPRINGS      FL 34434‐2512
MITCHELL, ELMER D       44650 JUDD RD                                                                        BELLEVILLE          MI 48111‐9107
MITCHELL, ELZY D        8878 TRUDY AVE                                                                       SAINT LOUIS         MO 63136‐5019
MITCHELL, EMERSON K     9169 PINE WALK PASS                                                                  LINDEN              MI 48451‐8578
MITCHELL, EMILY M       87 STEWART DR UNIT 205                                                               EDGEWATER           MD 21037‐1656
MITCHELL, EMILY M       87 STEWART DR APT 205                                                                EDGEWATER           MD 21037‐1645
MITCHELL, ERIC L        PO BOX 741                                                                           OWINGS MILLS        MD 21117‐0741
MITCHELL, ERICA         109 BELLE MEADE DR                                                                   MONROE              LA 71203‐2909
MITCHELL, ERICA N       109 BELLE MEADE DR                                                                   MONROE              LA 71203‐2909
MITCHELL, ERMA D        20138 MENDOTA ST                                                                     DETROIT             MI 48221‐1048
MITCHELL, ERMA J        2440 ANNGLEN DR                                                                      FORT WORTH          TX 76119‐2715
MITCHELL, ERMA J        2440 ANN GLEN                                                                        FT WORTH            TX 76119‐2715
MITCHELL, ERNEST A      PO BOX 228                                                                           ROOSEVELTOWN        NY 13683‐0228
MITCHELL, ERNEST H      PO BOX 1083                                                                          RAYMOND             MS 39154‐1083
MITCHELL, ESSIE L       113 MARY LEE DR                                                                      FLORENCE            AL 35634‐2833
MITCHELL, ESSIE L       7140 E MEDINA AVE                                                                    MESA                AZ 85209‐4857
MITCHELL, ESTHER J      4852 SUNNYBROOK DR                                                                   JACKSON             MS 39209‐4725
MITCHELL, ETHA V        34438 N STATE HIGHWAY 47       C/O JAMES R MITCHELL                                  WARRENTON           MO 63383‐4830
MITCHELL, ETHA V        C/O JAMES R MITCHELL           34438 N SR 47                                         WARRENTON           MO 63383
MITCHELL, ETHEL         1434 E 112TH ST                                                                      CLEVELAND           OH 44106‐1322
MITCHELL, EUGENE        738 SPELLMAN DR                                                                      FLINT               MI 48503‐5228
MITCHELL, EUGENE H      3571 GLOXINIA DR                                                                     NORTH FORT MYERS    FL 33917‐2060
MITCHELL, EUGENE S      252 CHARLES AVE                                                                      NEW KENSINGTON      PA 15068
MITCHELL, EVAN L        1522 TIMBER TRL                                                                      GREENWOOD           IN 46142‐1185
MITCHELL, EVELYN B      517 MADERA AVE                                                                       YOUNGSTOWN          OH 44504‐1334
MITCHELL, EVELYN E      4231 N CONNER DR                                                                     MARION              IN 46952‐8603
MITCHELL, EVELYN I      1334 JEFFERSON AVE SE                                                                GRAND RAPIDS        MI 49507‐1742
MITCHELL, EVERETT M     807 SWALLOW LN                                                                       OSTEEN              FL 32764‐8511
MITCHELL, EVERLEAN      9674 HURON DR                                                                        OLIVETTE            MO 63132‐2021
MITCHELL, F R           4041 MEEK DR                                                                         JACKSONVILLE        FL 32277‐1769
MITCHELL, FARRELL O     7140 E MEDINA AVE                                                                    MESA                AZ 85209‐4857
MITCHELL, FLOY F        1135 FM 1567 E                                                                       COMO                TX 75431‐5029
MITCHELL, FLOY F        1135 FM 1567 EAST                                                                    COMO                TX 75431‐5029
MITCHELL, FLOYD H       1369 FORT ST                                                                         LINCOLN PARK        MI 48146‐5826
MITCHELL, FLOYD W       3837 COUNTY ROAD 204                                                                 ALVARADO            TX 76009‐7247
MITCHELL, FRANCES H     1926 RIDGE AVE SE              WHITE OAK MANOR                                       WARREN              OH 44484‐2821
MITCHELL, FRANCES H     WHITE OAK MANOR                1926 RIDGE AVE.                                       WARREN              OH 44484
MITCHELL, FRANCES P     18 UNDERWOOD DR                                                                      ROCKHOLD            KY 40759‐9776
MITCHELL, FRANCES P     18 UNDERWOOD RD                                                                      ROCKHOLDS           KY 40759‐9776
MITCHELL, FRANCIS
MITCHELL, FRANCIS R     4041 MEEK DR                                                                         JACKSONVILLE        FL   32277‐1769
MITCHELL, FRANK         9021 COUNTY ROAD 305                                                                 GRANDVIEW           TX   76050‐3454
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Name                        Address1                        Address2                        Address3   Address4         City             State Zip
MITCHELL, FRANK             247 E CHESTNUT ST APT 1801                                                                  CHICAGO            IL 60611‐2412
MITCHELL, FRANK H           77 RIDGECREST CIR                                                                           WESTFIELD         MA 01085‐4525
MITCHELL, FRANKIE L         PO BOX 6151                                                                                 OAKLAND           CA 94603‐0151
MITCHELL, FRED E            532 SKYLINE DR                                                                              BEDFORD           IN 47421‐9363
MITCHELL, FRED L            2917 WALLACE DR                                                                             SEBRING           FL 33872‐4135
MITCHELL, FREDDIE DOUGLAS   BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS            TX 75219
MITCHELL, FREDDIE L         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
MITCHELL, FREDDIE L         1505 TACOMA ST                                                                              FLINT            MI   48503‐3785
MITCHELL, FREDERICK J       319 OLD RODGERS RD                                                                          BRISTOL          PA   19007‐3015
MITCHELL, FREDERICK W       6243 WILLOW RUN CT                                                                          EAST AMHERST     NY   14051‐2091
MITCHELL, FREDERICK WOOD    6243 WILLOW RUN CT                                                                          EAST AMHERST     NY   14051‐2091
MITCHELL, GAIL              2151 E US RT 22 & RT3                                                                       MORROW           OH   45152
MITCHELL, GAIL D            9738 RIDGE HEIGHTS RD                                                                       FAIRVIEW HTS     IL   62208‐2321
MITCHELL, GARRETT           1315 CHOPIN CT S                                                                            MURFREESBORO     TN   37128‐2708
MITCHELL, GARRICK F.
MITCHELL, GARRY             557 KING ST                                                                                 DETROIT          MI   48202‐2132
MITCHELL, GARY              3324 ATHERTON TERRACE LANE                                                                  FLINT            MI   48507
MITCHELL, GARY A            6184 URBAN DR                                                                               EAST CHINA       MI   48054‐4745
MITCHELL, GARY C            4374 E COUNTY ROAD 850 S                                                                    MOORESVILLE      IN   46158‐7406
MITCHELL, GARY D            2527 GOLDENROD DR                                                                           BOWLING GREEN    KY   42104‐4523
MITCHELL, GARY DON          2527 GOLDENROD DR                                                                           BOWLING GREEN    KY   42104‐4523
MITCHELL, GARY E            W132S6585 SAROYAN RD                                                                        MUSKEGO          WI   53150‐2819
MITCHELL, GARY E            W132 S6585 SAROYAN DR                                                                       MUSKEGO          WI   53150‐3150
MITCHELL, GARY E            1862 FORREST RD                                                                             LAWRENCEVILLE    GA   30043‐3904
MITCHELL, GARY J            2388 GROVE PARK RD                                                                          FENTON           MI   48430‐1442
MITCHELL, GARY J            3899 27TH AVE SW                                                                            NAPLES           FL   34117‐7131
MITCHELL, GARY L            35220 LINDSEY LN                                                                            ZEPHYRHILLS      FL   33541‐2343
MITCHELL, GARY P            1706 N TENNESSEE BLVD APT 80                                                                MURFREESBORO     TN   37130
MITCHELL, GARY P            514 TEMPLE HALL HWY                                                                         GRANBURY         TX   76049‐8158
MITCHELL, GARY S            7309 S PLAINS AVE                                                                           CHOCTAW          OK   73020‐5052
MITCHELL, GARY W            #1                              2821 YALE STREET                                            FLINT            MI   48503‐4637
MITCHELL, GARY W            2821 YALE ST APT 1                                                                          FLINT            MI   48503‐4637
MITCHELL, GAYLE J           3749 CASTLE CT                                                                              YOUNGSTOWN       OH   44511‐2979
MITCHELL, GEORGE            1777 COUNTY ROAD 1435                                                                       VINEMONT         AL   35179‐6691
MITCHELL, GEORGE E          644 S MARKET ST                                                                             TROY             OH   45373‐3335
MITCHELL, GEORGE P          761 LAYMAN CREEK CIR                                                                        GRAND BLANC      MI   48439‐3302
MITCHELL, GEORGE R          915 WOLDRIDGE DR                                                                            COLUMBIA         TN   38401‐3036
MITCHELL, GEORGE R          50 LARALEE LN                                                                               HAMPTON          GA   30228‐2961
MITCHELL, GEORGIA A         811 BUTTERFLY LN                                                                            ROSENBERG        TX   77469‐4869
MITCHELL, GEORGIA L         2205 W ST RD 36                                                                             PENDLETON        IN   46064‐9114
MITCHELL, GERALD A          260 CARDWELL ST                                                                             INKSTER          MI   48141‐1278
MITCHELL, GERALD E          12330 STATE RD                                                                              LAKE ODESSA      MI   48849‐9551
MITCHELL, GERALD F          5553 BURLINGAME                                                                             DETROIT          MI   48204
MITCHELL, GERALD L          8947 TARTAN DR                                                                              CLARKSTON        MI   48348‐2453
MITCHELL, GERALD L          1186 E US HIGHWAY 36                                                                        MARKLEVILLE      IN   46056‐9711
MITCHELL, GERALD W          5244 W KELLY ST                                                                             INDIANAPOLIS     IN   46241‐4712
MITCHELL, GERALD W          PO BOX 312                                                                                  BAY CITY         MI   48707‐0312
MITCHELL, GERALDINE         1467 HAMPSHIRE DR                                                                           CANTON           MI   48188‐1211
MITCHELL, GERALDINE         8787 SOUTHSIDE BLVD APT 2702                                                                JACKSONVILLE     FL   32256‐1490
MITCHELL, GERALDINE         8787 SOUTHSIDE BLVD             APT 2702                                                    JACKSONVILLE     FL   32256‐1490
MITCHELL, GERALDINE A       282 SHOTTEN RD                                                                              WEST MIDDLESEX   PA   16159‐2431
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Name                      Address1                           Address2                Address3   Address4         City              State Zip
MITCHELL, GERTRUDE        3024 FAUNA AVE                                                                         LANSING            MI 48911‐1709
MITCHELL, GLADYNE M       1003 PERSHING DR                                                                       COLLEGE STATION    TX 77840‐3083
MITCHELL, GLEN E          1111 RIVIERA DR                    COLLEGE SQ APTS                                     VIRGINIA BEACH     VA 23464‐5018
MITCHELL, GLENDA R        3377 VAUGHN BRIDGE RD                                                                  HARTSELLE          AL 35640‐8059
MITCHELL, GLENN           3618 4TH AVE                                                                           TUSCALOOSA         AL 35405‐2145
MITCHELL, GLENN E         18 COVIE RD                                                                            BOAZ               AL 35957‐8908
MITCHELL, GLENN G         1505 KNOLLWAY DR                                                                       FERGUSON           MO 63135‐1405
MITCHELL, GLORIA E        1631 N STEWART RD RR2                                                                  MANSFIELD          OH 44903
MITCHELL, GLORIA K        3906 BAYHAN ST                                                                         INKSTER            MI 48141‐3245
MITCHELL, GLORIA L        7553 MELROSE AVE                                                                       SAINT LOUIS        MO 63130‐1626
MITCHELL, GLORIA L        7553 MELROSE                                                                           ST LOUIS           MO 63130‐1626
MITCHELL, GORDON          2301 VICKORY RD                                                                        CARO               MI 48723‐9697
MITCHELL, GRACE           7207 BEAUFORT WAY                                                                      SHREVEPORT         LA 71129
MITCHELL, GREGORY C       4664 HIGHWAY 16 W                                                                      DE KALB            MS 39328‐7863
MITCHELL, GREGORY D       4290 SENECA CT                                                                         FLINT              MI 48532‐3583
MITCHELL, GREGORY K       8765 INDIGO LN                                                                         YPSILANTI          MI 48197‐1065
MITCHELL, GUSSIE L        125 SOUTH LORAIN AVENUE                                                                GIRARD             OH 44420‐3358
MITCHELL, GUY E           PO BOX 9022                                                                            WARREN             MI 48090‐9022
MITCHELL, GWENDOLYN       967 WINONA DR                                                                          YOUNGSTOWN         OH 44511‐1404
MITCHELL, GWENDOLYN F     404 FAIRGROUND RD                                                                      FLORENCE           AL 35630‐1295
MITCHELL, HAROLD          14006 MESQUITE RD                                                                      NORMAN             OK 73026‐8769
MITCHELL, HAROLD E        301 N FIR TREE DR                                                                      MUNCIE             IN 47304‐9330
MITCHELL, HAROLD L        2202 RUTH DRIVE                                                                        POPLAR BLUFF       MO 63901‐4040
MITCHELL, HAROLD L        7868 ELM ST                                                                            TAYLOR             MI 48180‐2217
MITCHELL, HAROLD R        27404 CEDAR HILL RD                                                                    ARDMORE            AL 35739‐8512
MITCHELL, HAROLD W        4404 WOODRIDGE DR                                                                      SANDUSKY           OH 44870‐7341
MITCHELL, HARRIET J       32 PINE TREE RD                                                                        OLD BRIDGE         NJ 08857‐1412
MITCHELL, HARRY           3823 CRESCENT DR                                                                       CINCINNATI         OH 45245‐2703
MITCHELL, HARRY A         502 SLACK DR                                                                           ANDERSON           IN 46013‐3735
MITCHELL, HARRY A         13945 WHITE CAP DR                                                                     STERLING HTS       MI 48313‐2872
MITCHELL, HARRY B         11076 NIBLICK LOOP                                                                     FAIRHOPE           AL 36532‐7216
MITCHELL, HARRY M         597 MARY CT                                                                            FENTON             MI 48430‐1412
MITCHELL, HARRY MICHAEL   597 MARY CT                                                                            FENTON             MI 48430‐1412
MITCHELL, HARRY R         APT 224                            3250 WALTON BOULEVARD                               ROCHESTER HLS      MI 48309‐1281
MITCHELL, HARVEY L        1824 WASHINGTON BLVD                                                                   KANSAS CITY        KS 66102‐2755
MITCHELL, HAZEL R         PO BOX 532                                                                             DURAND             MI 48429‐0532
MITCHELL, HELEN E         2654 HOLLYWOOD ST                                                                      DEARBORN           MI 48124‐4173
MITCHELL, HELEN F         438 E COLUMBIA ST                                                                      DANVILLE           IN 46122‐1308
MITCHELL, HELYNN          3917 KINGS LANE BLDG 8                                                                 BURTON             MI 48529
MITCHELL, HENRY M         144 LAKEVIEW LN                                                                        CHAGRIN FALLS      OH 44022‐4227
MITCHELL, HENRY MARION    144 LAKEVIEW LN                                                                        CHAGRIN FALLS      OH 44022‐4227
MITCHELL, HENRY W         6404 DONNA LN                                                                          FOREST HILL        TX 76119‐7317
MITCHELL, HERBERT G       429 EMERSON AVE                                                                        NEW LEBANON        OH 45345‐1677
MITCHELL, HERBERT L       11511 SANTA GERTRUDES AVE APT 24                                                       WHITTIER           CA 90604‐3492
MITCHELL, HERBERT L       11511 SANTA GERTRUDES              24                                                  WHITTER            CA 90604‐3492
MITCHELL, HERCULES        3122 SEMINOLE DR                                                                       SHREVEPORT         LA 71107‐7518
MITCHELL, HERMAN          600 HELEN ST                                                                           DETROIT            MI 48207‐3720
MITCHELL, HILDA G         18 MECHANIC ST                                                                         FORESTVILLE        CT 06010‐6633
MITCHELL, HIRAM W         8104 OAK ST                                                                            TAYLOR             MI 48180‐2222
MITCHELL, HOBART M        3 DUNSINANE DR                                                                         NEW CASTLE         DE 19720‐2316
MITCHELL, HOMER W         320 WILLIAM RD                                                                         ROCHESTER          MI 48307‐1626
MITCHELL, HORACE W        2440 WHEELER ST                                                                        INDIANAPOLIS       IN 46218‐3710
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Name                      Address1                        Address2               Address3      Address4         City               State Zip
MITCHELL, HOWARD A        25585 LYNCASTLE ST                                                                    FARMINGTON HILLS    MI 48336‐1574
MITCHELL, HOWARD B        3773 E VERNON DR                                                                      MOORESVILLE         IN 46158‐6109
MITCHELL, HOWARD J        3085 BELFORD RD                                                                       HOLLY               MI 48442‐8408
MITCHELL, HUGH A          307 FLECTHER HILLS DR                                                                 DANVILLE             IL 61832
MITCHELL, IDA B           17616 TARKINGTON                                                                      CLEVELAND           OH 44128‐3959
MITCHELL, IDA B           10680 PLAINVIEW CIR                                                                   BOCA RATON          FL 33498‐6352
MITCHELL, IRBY N          1116 MITCHELL RD                                                                      STEWART             MS 39767‐9345
MITCHELL, IRENE F         7309 GLEN TERRA DR                                                                    LANSING             MI 48917‐8829
MITCHELL, IVORY           213 W 14TH ST                                                                         MARION              IN 46953‐2259
MITCHELL, J
MITCHELL, J M             514 TEMPLE HALL HWY                                                                   GRANBURY           TX   76049‐8158
MITCHELL, J R             34438 N STATE HIGHWAY 47                                                              WARRENTON          MO   63383‐4830
MITCHELL, J R             10 VICTOR PL                                                                          IRVINGTON          NJ   07111‐4611
MITCHELL, J. D            7405 PRESTBURY CT                                                                     SHREVEPORT         LA   71129‐3421
MITCHELL, JACK            581 HARVEY LANE RD                                                                    MONTICELLO         GA   31064‐8151
MITCHELL, JACK A          5020 N JENNINGS RD                                                                    FLINT              MI   48504‐1139
MITCHELL, JACK ALLEN      5020 N JENNINGS RD                                                                    FLINT              MI   48504‐1139
MITCHELL, JACK E          365 W STOWERS DR                                                                      CANTON             GA   30114
MITCHELL, JACK E          65100 REDBUD RD                                                                       CAMBRIDGE          OH   43725‐8711
MITCHELL, JACK L          35900 DEERSVILLE RD                                                                   CADIZ              OH   43907‐9554
MITCHELL, JACK L          5475 EAST 750 S                                                                       BROWNSBURG         IN   46112
MITCHELL, JACK L          4068 MICHAEL AVE                                                                      LOS ANGELES        CA   90066‐5116
MITCHELL, JACKIE          8958 GATEWOOD CIR                                                                     JONESBORO          GA   30238‐4663
MITCHELL, JACQUELINE A    17201 WESTMORELAND ROAD                                                               DETROIT            MI   48219‐4233
MITCHELL, JACQUELINE K    3228 LORAL DR                                                                         ANDERSON           IN   46013‐2219
MITCHELL, JACQUELYNNE R   14 VILLA MORAINE DR                                                                   CHEEKTOWAGA        NY   14225‐3927
MITCHELL, JAMES           9111 METTETAL STREET                                                                  DETROIT            MI   48228‐2044
MITCHELL, JAMES           1219 W COLDWATER RD                                                                   FLINT              MI   48505‐4821
MITCHELL, JAMES           2718 VAN BUREN PL                                                                     LOS ANGELES        CA   90007‐2130
MITCHELL, JAMES           APT 312                         2730 GOLFSIDE DRIVE                                   ANN ARBOR          MI   48108‐1459
MITCHELL, JAMES           144 BRUTON LN W                                                                       MESQUITE           TX   75149‐5964
MITCHELL, JAMES           2742 GOLFSIDE DR 411                                                                  ANN ARBOR          MI   48108
MITCHELL, JAMES
MITCHELL, JAMES A         7125 MULDER                                                                           DEXTER             MI   48130‐8607
MITCHELL, JAMES A         3237 QUICK RD                                                                         HOLLY              MI   48442‐1061
MITCHELL, JAMES A         1817 BIRCHWOOD DR                                                                     OKEMOS             MI   48864‐2703
MITCHELL, JAMES A         2068 PONDSVILLE KEPLER RD                                                             SMITHS GROVE       KY   42171‐6226
MITCHELL, JAMES A         6420 AGNES AVE                                                                        KANSAS CITY        MO   64132‐1155
MITCHELL, JAMES A         14 MILL ST                                                                            SPENCERPORT        NY   14559‐1210
MITCHELL, JAMES A         4801 KINGSHILL DR APT B                                                               COLUMBUS           OH   43229‐7203
MITCHELL, JAMES A         216 S FRANKLIN ST                                                                     FRANKENMUTH        MI   48734‐1528
MITCHELL, JAMES A         4001 N BALL AVE                                                                       MUNCIE             IN   47304‐1504
MITCHELL, JAMES ANDRE     4001 N BALL AVE                                                                       MUNCIE             IN   47304‐1504
MITCHELL, JAMES ANTHONY   APT B                           4801 KINGSHILL DRIVE                                  COLUMBUS           OH   43229‐7203
MITCHELL, JAMES B         2721 SAINT JOSEPH ST                                                                  W BLOOMFIELD       MI   48324‐1979
MITCHELL, JAMES B         1693 NICK DAVIS RD                                                                    HARVEST            AL   35749
MITCHELL, JAMES B         260 E 13 MILE RD APT 19                                                               MADISON HEIGHTS    MI   48071‐2155
MITCHELL, JAMES C         5120 OSCEOLA DR                                                                       DAYTON             OH   45427‐2115
MITCHELL, JAMES C         27559 AUDREY AVE                                                                      WARREN             MI   48092‐2681
MITCHELL, JAMES C         205 BROOKHAVEN DR                                                                     COLUMBIA           TN   38401‐8872
MITCHELL, JAMES D         38128 CASTLE DR                                                                       ROMULUS            MI   48174‐4706
MITCHELL, JAMES D         545 CR 1110 A                                                                         CLEBURNE           TX   76031
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Name                      Address1                           Address2                      Address3   Address4         City              State Zip
MITCHELL, JAMES D         10508 PINE TREE LN                                                                           GOODRICH           MI 48438
MITCHELL, JAMES D         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
MITCHELL, JAMES E         3212 JUDY LN                                                                                 JACKSON           MI   49202‐2624
MITCHELL, JAMES E         305 EDMUND ST                                                                                FLINT             MI   48505
MITCHELL, JAMES E         30 NE 61ST ST APT 2A                                                                         GLADSTONE         MO   64118‐4122
MITCHELL, JAMES H         5223 WABADA AVE                                                                              SAINT LOUIS       MO   63113‐1121
MITCHELL, JAMES H         1211 6TH STREET                                                                              GREELEY           CO   80631‐3203
MITCHELL, JAMES H         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
MITCHELL, JAMES H         1003 PERSHING DR                                                                             COLLEGE STATION   TX   77840‐3083
MITCHELL, JAMES L         43735 BANNOCKBURN DR                                                                         CANTON            MI   48187‐2821
MITCHELL, JAMES L         6097 SUGARLOAF DR                                                                            GRAND BLANC       MI   48439‐9158
MITCHELL, JAMES L         PO BOX 431181                                                                                LOS ANGELES       CA   90043‐9181
MITCHELL, JAMES L         733 TIMBEROAKS DRIVE                                                                         AZLE              TX   76020‐4832
MITCHELL, JAMES L         507 CHEVAL DRIVE                                                                             VENICE            FL   34292‐4606
MITCHELL, JAMES L         801 MCKINLEY POINTE LN                                                                       KNOXVILLE         TN   37934‐1568
MITCHELL, JAMES LYNN      CONAWAY MICHAEL C                    322 NORTH BROADDWAY                                     SHAWNEE           OK   74801
MITCHELL, JAMES LYNN      KOOP & MEDLEY                        725 NW 11TH ST                                          OKLAHOMA CITY     OK   73103‐2429
MITCHELL, JAMES LYNN      SILL BEADLES JOHNSON BISCONE & WHITE PO BOX 3759                                             SHAWNEE           OK   74802‐3759

MITCHELL, JAMES R         18507 CRACKLEWOOD DR                                                                         MACOMB            MI   48042‐6116
MITCHELL, JAMES R         1436 KIPLING DRIVE                                                                           DAYTON            OH   45406‐4223
MITCHELL, JAMES R         817 10TH ST                                                                                  BELOIT            WI   53511‐5251
MITCHELL, JAMES R         5361 TORREY RD                                                                               FLINT             MI   48507‐5953
MITCHELL, JAMES R         6334 TREASURE VALLEY LOOP                                                                    LAKE WALES        FL   33898‐4923
MITCHELL, JAMES R         PO BOX 682164                                                                                FRANKLIN          TN   37068‐2164
MITCHELL, JAMES RUSSELL   5361 TORREY RD                                                                               FLINT             MI   48507‐5953
MITCHELL, JAMES V         940 CRYSTAL LAKE CT                                                                          GREENWOOD         IN   46143‐3010
MITCHELL, JAMES W         12623 S 175TH AVE                                                                            GOODYEAR          AZ   85338‐5860
MITCHELL, JAMES W         2607 N PINGREE RD                                                                            ALMA              MI   48801‐9588
MITCHELL, JAMES W         990 COUNTY ROAD 65                                                                           MOULTON           AL   35650‐6087
MITCHELL, JAMES W         107 MEATH RD                                                                                 EATON RAPIDS      MI   48827‐1360
MITCHELL, JAMES W         127 S. SPRING ST.                                                                            WILMINGTON        OH   45177‐2223
MITCHELL, JAMES W         127 S SPRING ST                                                                              WILMINGTON        OH   45177‐2223
MITCHELL, JAMES W         467 ROXBURY CIR                                                                              JACKSON           MI   49203‐7193
MITCHELL, JANA K          1210 W OWEN K GARRIOTT RD          APT 2A                                                    ENID              OK   73703
MITCHELL, JANA K          1210 W OWEN K GARRIOTT RD APT A2                                                             ENID              OK   73703‐5863
MITCHELL, JANET           33 OAK ST APT 5G                                                                             WHITE PLAINS      NY   10603‐2632
MITCHELL, JANET           33 OAK ST                          APT 5G                                                    WHITE PLAINS      NY   10603‐2632
MITCHELL, JANET L         10818 W TROPICANA CIR                                                                        SUN CITY          AZ   85351‐2141
MITCHELL, JANICE
MITCHELL, JANICE E.       107 MARSHS LN                                                                                ELYRIA            OH   44035‐8999
MITCHELL, JANICE E.       107 MARSH LANE                                                                               ELYRIA            OH   44035
MITCHELL, JANICE L        801 MCKINLEY POINTE LN                                                                       KNOXVILLE         TN   37934‐1568
MITCHELL, JANINE          COLUMBUS AVENUE                                                                              PUTNAM VALLEY     NY   10579
MITCHELL, JANIS D         2517 JANELLE DR                                                                              SPARKS            NV   89431‐2441
MITCHELL, JC              MOODY EDWARD O                     801 W 4TH ST                                              LITTLE ROCK       AR   72201‐2107
MITCHELL, JEANETTE L      19848 PINE CONE DR                                                                           MACOMB            MI   48042‐6014
MITCHELL, JEFFERY A       1609 N BALLENGER HWY                                                                         FLINT             MI   48504‐3069
MITCHELL, JEFFERY ALLEN   1609 N BALLENGER HWY                                                                         FLINT             MI   48504‐3069
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MITCHELL, JEFFREY        KROHN & MOSS ‐ IN                  120 WEST MADISON STREET 10TH                               CHICAGO             IL 60602
                                                            FLOOR
MITCHELL, JEFFREY B      1487 VAN BUREN AVENUE                                                                         HOLT              MI   48842‐9536
MITCHELL, JEFFREY S      490 SHAGBARK DR                                                                               ROCHESTER HILLS   MI   48309‐1821
MITCHELL, JENNIFER L     401 W MARENGO AVE                                                                             FLINT             MI   48505‐6300
MITCHELL, JEQUNNIA S     PO BOX 61                                                                                     FLINT             MI   48501‐0061
MITCHELL, JEQUNNIA S     509 SUNCREST DR 9                                                                             FLINT             MI   48504
MITCHELL, JERRY D        5829 OBERLIES WAY                                                                             PLAINFIELD        IN   46168‐7302
MITCHELL, JERRY E        6815 WINNEBAGO DR                                                                             FORT WAYNE        IN   46815‐6373
MITCHELL, JERRY L        13071 N ALLMAN EAST ST                                                                        MOORESVILLE       IN   46158‐6904
MITCHELL, JERRY M        636 N TERRACE AVE APT 3G                                                                      MOUNT VERNON      NY   10552‐2714
MITCHELL, JERRY R        126 ANTARES ROAD                                                                              WILMINGTON        NC   28405‐8400
MITCHELL, JERRY W        889 ASTOR WAY                                                                                 THE VILLAGES      FL   32162‐4002
MITCHELL, JERRY W        2125 JUSTICE LN                                                                               KOKOMO            IN   46902‐3846
MITCHELL, JESSIE CLYDE   BOBBITT BARRY L                    4807 W LOVERS LN                                           DALLAS            TX   75209‐3137
MITCHELL, JIM W          3271 W 200 S                                                                                  MARION            IN   46953‐9163
MITCHELL, JIMMY L        4673 BRIGGS RD                                                                                OTTER LAKE        MI   48464‐9621
MITCHELL, JIMMY L        4244 MELLEN DR                                                                                ANDERSON          IN   46013‐5049
MITCHELL, JO ANN         COON BRENT W                       PO BOX 4905                                                BEAUMONT          TX   77704‐4905
MITCHELL, JOAN M         11049 E CARPENTER RD                                                                          DAVISON           MI   48423‐9303
MITCHELL, JOAN N         17166 PREVOST                                                                                 DETROIT           MI   48235‐3551
MITCHELL, JOAN N         17166 PREVOST ST                                                                              DETROIT           MI   48235‐3551
MITCHELL, JOAN R         304 S. 4TH AVENUE                                                                             PARAGOULD         AR   72450‐4410
MITCHELL, JOAN R         PO BOX 519                                                                                    MARKED TREE       AR   72365‐0519
MITCHELL, JOANN          PO BOX 182381                                                                                 ARLINGTON         TX   76096‐2381
MITCHELL, JOE            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
MITCHELL, JOE E          2801 DUPONT ST                                                                                FLINT             MI   48504‐2820
MITCHELL, JOEL L         2902 EMERALD RD                                                                               BALTIMORE         MD   21234‐5637
MITCHELL, JOHELEN O      3446 STATION ST                                                                               INDIANAPOLIS      IN   46218‐1458
MITCHELL, JOHN           53529 OAK GRV                                                                                 SHELBY TWP        MI   48315‐2056
MITCHELL, JOHN           467 ASHLEY DR                                                                                 GRAND BLANC       MI   48439‐1571
MITCHELL, JOHN           11924 KIMBERLY DR                                                                             GUTHRIE           OK   73044‐9104
MITCHELL, JOHN           ICO THE LANIER LAW FIRM PC         6810 FM 1960 WEST                                          HOUSTON           TX   77069
MITCHELL, JOHN           KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND         OH   44114
                                                            BOND COURT BUILDING
MITCHELL, JOHN A         194 W 500 N                                                                                   ANDERSON          IN   46012‐9500
MITCHELL, JOHN A         2033 N SUMMIT ST                                                                              TOLEDO            OH   43611‐3755
MITCHELL, JOHN A         4403 DONCASTER DR                                                                             ELLICOTT CITY     MD   21043‐6798
MITCHELL, JOHN C         3165 SEXTANT DR                                                                               FRANKLIN          IN   46131‐9800
MITCHELL, JOHN C         118 ROTH BLVD                                                                                 CLAWSON           MI   48017‐2408
MITCHELL, JOHN C         7268 CARPENTER RD                                                                             FLUSHING          MI   48433‐9040
MITCHELL, JOHN C         154 BATTLE GREEN DR                                                                           ROCHESTER         NY   14624‐4972
MITCHELL, JOHN C         196 TREEHAVEN RD                                                                              BUFFALO           NY   14215‐1333
MITCHELL, JOHN C         14458 BRINGARD DR                                                                             DETROIT           MI   48205‐1244
MITCHELL, JOHN CHARLES   7268 CARPENTER RD                                                                             FLUSHING          MI   48433‐9040
MITCHELL, JOHN D         5208 OAKHILL DR                                                                               SWARTZ CREEK      MI   48473‐8597
MITCHELL, JOHN D         14146 GREENJAY ST                                                                             SAN ANTONIO       TX   78217‐1237
MITCHELL, JOHN E         7841 S SEELEY AVE                                                                             CHICAGO           IL   60620‐5759
MITCHELL, JOHN E         16341 E 101ST ST                                                                              FORTVILLE         IN   46040‐9667
MITCHELL, JOHN E         5195 FAY BLVD                                                                                 COCOA             FL   32927
MITCHELL, JOHN G         216 CARPENTER RD                                                                              DEFIANCE          OH   43512‐1719
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Name                    Address1                        Address2                        Address3   Address4         City             State Zip
MITCHELL, JOHN J        2139 LONGWOOD LN                                                                            DALLAS            TX 75228‐5313
MITCHELL, JOHN J        225 SMITH ST APT 1                                                                          PEEKSKILL         NY 10566
MITCHELL, JOHN M        BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS            TX 75219
MITCHELL, JOHN M        11128 E STARFLOWER CT                                                                       SUN LAKES         AZ 85248‐8237
MITCHELL, JOHN O        505 ALPINE DR                                                                               CHESHIRE          CT 06410‐1959
MITCHELL, JOHN P        LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                     MIAMI             FL 33143‐5163
MITCHELL, JOHN P        2530 SARA JANE PKWY APT 137                                                                 GRAND PRAIRIE     TX 75052‐8611
MITCHELL, JOHN R        8814 S 2ND AVE                                                                              INGLEWOOD         CA 90305‐2822
MITCHELL, JOHN R        30149 BEECHWOOD ST                                                                          GARDEN CITY       MI 48135‐2332
MITCHELL, JOHN R        LANIER W MARK                   6810 RM 1960 WEST                                           HOUSTON           TX 77069
MITCHELL, JOHN R        269 MITCHELL RD NW                                                                          MONROE            GA 30656‐3879
MITCHELL, JOHN RAY      30149 BEECHWOOD ST                                                                          GARDEN CITY       MI 48135‐2332
MITCHELL, JOHN W        3377 VAUGHN BRIDGE RD                                                                       HARTSELLE         AL 35640‐8059
MITCHELL, JOHN W        4129 PINE TREE LN                                                                           LANSING           MI 48911‐1154
MITCHELL, JOHN W        934 COLSTON DR                                                                              FALLING WATERS    WV 25419‐7050
MITCHELL, JOHN W        6421 F 41                                                                                   SPRUCE            MI 48762‐9720
MITCHELL, JOHN W        320 N NORTH CURTICE RD                                                                      OREGON            OH 43618‐9608
MITCHELL, JOHN W        PO BOX 1228                                                                                 STUART            VA 24171‐1228
MITCHELL, JOHN W        4391 S 900 W                                                                                DALEVILLE         IN 47334
MITCHELL, JOHNNIE M     38550 FLORENCE ST                                                                           WESTLAND          MI 48185‐8801
MITCHELL, JOHNNY        GUY WILLIAM S                   PO BOX 509                                                  MCCOMB            MS 39649‐0509
MITCHELL, JONAH         85 HIDDEN SPRING DR                                                                         SOMERSET          KY 42503‐6410
MITCHELL, JONATHAN E    4 WESLEY DR                                                                                 LONDONDERRY       NH 03053‐3544
MITCHELL, JONATHAN R    1901 N ELGIN ST                                                                             MUNCIE            IN 47303‐2301
MITCHELL, JOSEPH A.     PO BOX 246                                                                                  MOUNT MORRIS      MI 48458‐0246
MITCHELL, JOSEPH B      5416 PALMER AVE APT 15                                                                      SPENCER           OK 73084
MITCHELL, JOSEPH B      7945 BLOOM DR                                                                               SAINT LOUIS       MO 63133‐1109
MITCHELL, JOSEPH D      PO BOX 235                                                                                  TAWAS CITY        MI 48764‐0235
MITCHELL, JOSEPH D      UNIT 132                        1448 MEADOWLARK DR                                          DECATUR           GA 30032‐3025
MITCHELL, JOSEPH E      1402 RUSKIN RD                                                                              DAYTON            OH 45406‐4651
MITCHELL, JOSEPH L      31 BOCA CT                                                                                  TROTWOOD          OH 45426‐3002
MITCHELL, JOSEPH L      3849 PROVENCAL DR                                                                           EATON RAPIDS      MI 48827‐8705
MITCHELL, JOSEPHINE T   3602 BYRD DRIVE                                                                             STERLING HGTS     MI 48310‐6109
MITCHELL, JOSEPHINE T   3602 BYRD DR                                                                                STERLING HTS      MI 48310‐6109
MITCHELL, JOSHUA        4864 WARREN WAY                                                                             GREENFIELD        IN 46140
MITCHELL, JOSHUA A.     4864 WARREN WAY                                                                             GREENFIELD        IN 46140
MITCHELL, JOSSIE L      PO BOX 361922                                                                               DECATUR           GA 30036‐1922
MITCHELL, JOY P         3445 S CENTER RD                                                                            BURTON            MI 48519‐1455
MITCHELL, JOYCE E       2601 AYALA WAY                                                                              THE VILLAGES      FL 32162‐0107
MITCHELL, JOYCE M       7111 NE 51ST ST                                                                             KANSAS CITY       MO 64119‐4004
MITCHELL, JOYCE M       7111 NE 51ST                                                                                KANAS CITY        MO 64119‐4004
MITCHELL, JR,DONALD G   6434 COCONUT CT                                                                             INDIANAPOLIS      IN 46217‐8712
MITCHELL, JUANITA L     5000 TOWNCENTER APT 503                                                                     SOUTHFIELD        MI 48075‐1112
MITCHELL, JUANITA L     5000 TOWN CTR APT 503                                                                       SOUTHFIELD        MI 48075‐1112
MITCHELL, JUDITH A      1211 WEST 15TH STREET                                                                       MUNCIE            IN 47302‐3071
MITCHELL, JUDITH H      2117 HEATHER RD                                                                             ANDERSON          IN 46012‐9636
MITCHELL, JULIA         37526 WALNUT ST                                                                             ROMULUS           MI 48174
MITCHELL, JULIE A       3271 W 200 S                                                                                MARION            IN 46953‐9163
MITCHELL, JULIE A       307 LADINO LN                                                                               PENDLETON         IN 46064‐9188
MITCHELL, JUNE
MITCHELL, JUNIOUS L     1704 S HIGHWAY 65                                                                           EUDORA           AR 71640‐9309
MITCHELL, JUSTIN        PO BOX 484                                                                                  GARBERVILLE      CA 95542
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Name                        Address1                         Address2                  Address3                 Address4         City               State Zip
MITCHELL, JUSTIN            C/O UNITED SERIVCES AUTOMOBILE   ATTN: JOHN WALSH          9800 FREDERICKSBURG RD                    SAN ANTONIO         TX 78288
                            ASSOCIATION
MITCHELL, K J               632 RIDGEVIEW DR SW                                                                                  LILBURN            GA   30047‐2229
MITCHELL, KAREN             219 BRANDON DR                                                                                       CORBIN             KY   40701‐4253
MITCHELL, KAREN A           9210 WILLOWGATE                                                                                      GOODRICH           MI   48438‐9102
MITCHELL, KAREN ANN         9210 WILLOWGATE                                                                                      GOODRICH           MI   48438‐9102
MITCHELL, KAREN L           301 PARKWEST CT APT I5                                                                               LANSING            MI   48917‐2587
MITCHELL, KAREN L           19130 STERLING ST                                                                                    NEW BOSTON         MI   48164‐9567
MITCHELL, KAREN M           46 DEER RUN RD                                                                                       BELLINGHAM         MA   02019‐2147
MITCHELL, KAREN M.          46 DEER RUN RD                                                                                       BELLINGHAM         MA   02019‐2147
MITCHELL, KAREN S           13755 APPLE CREST CT                                                                                 PLYMOUTH           MI   48170‐3673
MITCHELL, KARL T            2835 PENNY LN                                                                                        AUSTINTOWN         OH   44515‐4942
MITCHELL, KATHERINE         10255 E VIA LINDA UNIT 1057                                                                          SCOTTSDALE         AZ   85258‐5320
MITCHELL, KATHERINE         35316 SHELL DR                   C/O DEBORAH L. JEFFRIES                                             STERLING HEIGHTS   MI   48310‐4922
MITCHELL, KATHERINE         C/O DEBORAH L. JEFFRIES          35316 SHELL DRIVE                                                   STERLING HEIGHTS   MI   48310
MITCHELL, KATHERINE A       4611 PARKRIDGE DR                                                                                    BENTON             LA   71006‐9709
MITCHELL, KATHLEEN          10935 JODAN DR                                                                                       OAK LAWN           IL   60453‐5054
MITCHELL, KATHLEEN A        17942 S FOXHOUND LN                                                                                  MOKENA             IL   60448‐8584
MITCHELL, KATHLEEN A        17942 SOUTH FOXHOUND LANE                                                                            MOKENA             IL   60448‐8584
MITCHELL, KATHLEEN L        182 MOLLIE LN                                                                                        MARSHALL           TX   75672‐5971
MITCHELL, KATHLEEN LAVERN   182 MOLLIE LN                                                                                        MARSHALL           TX   75672‐5971
MITCHELL, KATHRYN A         1715 46TH AVE                                                                                        VERO BEACH         FL   32966‐2345
MITCHELL, KATHRYN E         12225 LAKE RD                                                                                        MONTROSE           MI   48457‐9429
MITCHELL, KEITH             3 COLUMBUS AVE                                                                                       PUTNAM VALLEY      NY   10579‐2137
MITCHELL, KEITH P           9901 PERE AVE                                                                                        LIVONIA            MI   48150‐2439
MITCHELL, KELLY W           8803 SHANNONS MILL RD                                                                                FOLEY              AL   36535‐5073
MITCHELL, KENNETH           170 BARTLETTSVILLE RD                                                                                BEDFORD            IN   47421‐7946
MITCHELL, KENNETH B         15725 GROVE RD                                                                                       LANSING            MI   48906‐9354
MITCHELL, KENNETH D         1937 BETHBIREI RD                                                                                    LEWISBURG          TN   37091‐6253
MITCHELL, KENNETH E         PO BOX 222                                                                                           JAMESTOWN          IN   46147‐0222
MITCHELL, KENNETH R         618 FOX ST                                                                                           FLINT              MI   48503‐5504
MITCHELL, KENNETH R         3912 STARBOARD RD                                                                                    CHESAPEAKE         VA   23321‐3424
MITCHELL, KENNETH S         PO BOX 2912                                                                                          GLENDALE           AZ   85311‐2912
MITCHELL, KENNETH W         2749 STIMSON RD                                                                                      BROWN CITY         MI   48416‐8750
MITCHELL, KERRY M           7405 PRESTBURY CT                                                                                    SHREVEPORT         LA   71129‐3421
MITCHELL, KERRY R           3440 MELODY LN                                                                                       SAGINAW            MI   48601‐5629
MITCHELL, KERRY R           DREYER BOYAJIAN LLP              75 COLUMBIA ST                                                      ALBANY             NY   12210‐2708
MITCHELL, KEVIN B           14909 JENKINS RIDGE RD                                                                               BOWIE              MD   20721
MITCHELL, KEVIN S           7115 GROVELAND RD                                                                                    HOLLY              MI   48442‐9424
MITCHELL, KEVIN S           423 BREWER DR                                                                                        GREENWOOD          IN   46142‐3602
MITCHELL, KIM Y             12682 MEYERS RD                                                                                      DETROIT            MI   48227‐3824
MITCHELL, KIMBERLY D        5656 BASORE RD                                                                                       DAYTON             OH   45415‐2426
MITCHELL, KIRK S            914 N BELT LINE RD                                                                                   GRAND PRAIRIE      TX   75050‐5864
MITCHELL, KORA              DREYER BOYAJIAN LLP              75 COLUMBIA ST                                                      ALBANY             NY   12210‐2708
MITCHELL, KURT D            CONSUMER LEGAL SERVICES PC       4707 W GANDY BLVD STE 8                                             TAMPA              FL   33511‐3310
MITCHELL, KYLE JOESEPH      8115 MAJESTIC BLVD                                                                                   FOWLERVILLE        MI   48836‐9427
MITCHELL, L. N              5475 E. 750 SO                                                                                       JANESVILLE         WI   53545
MITCHELL, LAKESHA L         211 ASHCOT CIR                                                                                       EDWARDS            MS   39066‐9129
MITCHELL, LARRY A           8969 NOTTINGHAM DR                                                                                   YPSILANTI          MI   48198‐3265
MITCHELL, LARRY B           5354 BRIDGE TRL E                                                                                    COMMERCE TWP       MI   48382‐4857
MITCHELL, LARRY E           10482 E STANLEY RD                                                                                   DAVISON            MI   48423‐9348
MITCHELL, LARRY ELWYN       10482 E STANLEY RD                                                                                   DAVISON            MI   48423‐9348
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Name                    Address1                           Address2                  Address3   Address4         City            State Zip
MITCHELL, LARRY J       5446 W MAPLE DR                                                                          GREENWOOD        IN 46142‐7641
MITCHELL, LARRY T       4902 GREENLAWN DR                                                                        FLINT            MI 48504‐2048
MITCHELL, LARRY T       4381 CROSBY RD                                                                           FLINT            MI 48506‐1415
MITCHELL, LAUREN M      1869 WENTWORTH DR                                                                        CANTON           MI 48188‐3090
MITCHELL, LAWRENCE      18964 WASHBURN ST                                                                        DETROIT          MI 48221‐1918
MITCHELL, LAWRENCE C    1910 W PIERSON RD APT 167                                                                FLINT            MI 48504‐1967
MITCHELL, LAWRENCE C    1910 W PEIERSON RD                 APT 167                                               FLINT            MI 48504
MITCHELL, LAWRENCE G    131 DAVIS RD. #2                                                                         WAYLAND          NY 14572
MITCHELL, LAWRENCE T    56 W HUDSON AVE                                                                          DAYTON           OH 45405‐3324
MITCHELL, LECEDRICK D   322 E PIERSON RD                                                                         FLINT            MI 48505‐3358
MITCHELL, LEEANNA       2311 HUMBOLDT AVE                                                                        OAKLAND          CA 94601‐3220
MITCHELL, LELA L        2737 ROCKLEDGE TRAIL                                                                     DAYTON           OH 45430‐1931
MITCHELL, LEN           7062 ARCADIA DR                                                                          MOUNT MORRIS     MI 48458‐9707
MITCHELL, LEON          6201 E 140TH TER                                                                         GRANDVIEW        MO 64030‐3890
MITCHELL, LEON          11370 WESTWOOD ST                                                                        DETROIT          MI 48228‐1373
MITCHELL, LEON K        446 HIGHGATE AVE                                                                         BUFFALO          NY 14215‐1108
MITCHELL, LEONARD       DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                      RIVERDALE        NY 10463
MITCHELL, LEONARD D     23619 PARKLAWN ST                                                                        OAK PARK         MI 48237‐3605
MITCHELL, LEONIAL R     305 OLD MOORE RD                                                                         MARTINSVILLE     IN 46151‐7147
MITCHELL, LEROY         6902 ROSEANNA DR                                                                         FLINT            MI 48505‐2448
MITCHELL, LEROY         1006 NORTH PARSON RD.                                                                    SEFFNER          FL 33584
MITCHELL, LESLIE G      4229 BROWNELL BLVD                                                                       FLINT            MI 48504‐2126
MITCHELL, LESLIE L      4261 N LAPEER RD                                                                         LAPEER           MI 48446‐8616
MITCHELL, LESSIE        34 PINE ST                                                                               ATTALLA          AL 35954‐7202
MITCHELL, LESTER E      710 N LANCELOT DR                                                                        MARION           IN 46952‐2460
MITCHELL, LEWIS J       4416 QUAILS LN                                                                           FORT WORTH       TX 76119‐3736
MITCHELL, LILA          3856 MITCHELL RD.                                                                        LAPEER           MI 48446
MITCHELL, LILLIE B      12401 N 22ND STREET                APT A208                                              TAMPA            FL 33612
MITCHELL, LILLIE M      2516 MAPLEWOOD ST                                                                        SAGINAW          MI 48601‐3940
MITCHELL, LILY J        4075 SEVILLE AVE                                                                         COCOA            FL 32926‐2713
MITCHELL, LINDA L       926 JEFFERSON ST                                                                         YPSILANTI        MI 48197‐5292
MITCHELL, LINDA L       2602 NAVHAO DR                     APT#613                                               BOWLING GREEN    KY 42104
MITCHELL, LINDSEY       2121 CHERRY ST                                                                           SAGINAW          MI 48601‐2040
MITCHELL, LISA A        6237 OVERTURE DR                                                                         DAYTON           OH 45449‐3340
MITCHELL, LLOYD B       1665 W VIEW TRL                                                                          HOWELL           MI 48843‐8077
MITCHELL, LLOYD D       8186 LINDEN RD                                                                           SWARTZ CREEK     MI 48473‐9151
MITCHELL, LOGAN C       6777 CADE RD                                                                             BROWN CITY       MI 48416‐8770
MITCHELL, LOIS P        5551 S CLARENDON ST                                                                      DETROIT          MI 48204‐2928
MITCHELL, LOLISA R      1609 N BALLENGER HWY                                                                     FLINT            MI 48504‐3069
MITCHELL, LONNIE A      9816 HADRIANS WAY                                                                        SHREVEPORT       LA 71118‐4842
MITCHELL, LONNIE D      29418 8TH AVE E                                                                          ARDMORE          AL 35739‐8048
MITCHELL, LORA          7868 ELM ST                                                                              TAYLOR           MI 48180‐2217
MITCHELL, LORAINE F     4515 E CAREFREE HWY                BOX 197‐108                                           CAVE CREEK       AZ 85331
MITCHELL, LORAINE F     4515 EAST CAREFREE HWY BOX 19710                                                         CAVE CREEK       AZ 85331
MITCHELL, LORETTA       PO BOX 18741                                                                             SHREVEPORT       LA 71138‐1741
MITCHELL, LORETTA M     PO BOX 270294                                                                            KANSAS CITY      MO 64127‐0294
MITCHELL, LORRAINE      2144 MCQUILLAN CT SE                                                                     ROCHESTER        MN 55904‐6199
MITCHELL, LOUELLA       322 MOUNTAINVIEW DR                C/O WINDA JOSEPH                                      CHILLICOTHE      OH 45601‐8172
MITCHELL, LOUELLA       C/O WINDA JOSEPH                   322 MOUNTAIN VIEW DRIVE                               CHILLICOTHE      OH 45601
MITCHELL, LOUIS C       3295 BERTHA DR                                                                           SAGINAW          MI 48601‐6909
MITCHELL, LOUIS D       7559 WOODWIND CT                                                                         BRIGHTON         MI 48116‐4727
MITCHELL, LOUIS L       5771 WEST WHITELAND ROAD                                                                 BARGERSVILLE     IN 46106‐9084
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Name                        Address1                         Address2           Address3         Address4         City                   State Zip
MITCHELL, LOUISE            4440 GRANADA BLVD APT 6                                                               WARRENSVILLE HEIGHTS    OH 44128‐6018
MITCHELL, LOUISE A          9109 W LYNNWOOD CT                                                                    ELWOOD                  IN 46036‐8898
MITCHELL, LOUISE M          1922 E CARSON DR                                                                      TEMPE                   AZ 85282‐7402
MITCHELL, LOUISE V          7346 CRYSTAL LAKE DR APT 11                                                           SWARTZ CREEK            MI 48473‐8952
MITCHELL, LOVETT
MITCHELL, LOVIE K           226 E JACKSON AVE                                                                     FLINT                  MI   48505‐4982
MITCHELL, LOWELL D          3301 TUSCANY WAY                                                                      BOYNTON BEACH          FL   33435‐7812
MITCHELL, LOWELL DAVID      3110 TUSCANY WAY                                                                      BOYNTON BEACH          FL   33435‐7810
MITCHELL, LOWELL E          123 S ENGLISH ST                                                                      BRAIDWOOD              IL   60408‐1835
MITCHELL, LOWELL E          2734 S VICKREY RD                                                                     GOSPORT                IN   47433‐8911
MITCHELL, LOWELL P          5945 ESTELLA WAY                                                                      ORLANDO                FL   32809‐4378
MITCHELL, LUANA K           2125 JUSTICE LN                                                                       KOKOMO                 IN   46902
MITCHELL, LUCAS A           31 CAIN ST                                                                            NEW LEBANON            OH   45345
MITCHELL, LUCEY             9224 N W 60TH ST.                TAMARACK                                             FORT LAUDERDALE        FL   33321‐4139
MITCHELL, LUCEY             9224 NW 60TH ST                  TAMARACK                                             TAMARAC                FL   33321‐4139
MITCHELL, LUCY D            1940 STATE LINE RD                                                                    ARDMORE                AL   35739‐9408
MITCHELL, LULA G            3046 CARLSBAD LANE                                                                    INDIANAPOLIS           IN   46241‐6211
MITCHELL, LUTHER            2470 SHERIDAN DRIVE              APT 22D                                              TONAWANDA              NY   14150‐1835
MITCHELL, LYNDA S           1451 S WALDRON RD                                                                     CRYSTAL                MI   48818‐9748
MITCHELL, LYNETTE           425 STRATFORD SQUARE BLVD        APT 3                                                DAVIDSON               MI   48423
MITCHELL, LYNETTE           318 SHEFFIELD AVE                                                                     FLINT                  MI   48503
MITCHELL, LYNN              4129 SAN FRANCISCO AVE                                                                SAINT LOUIS            MO   63115
MITCHELL, LYNN J            5309 BLUFF VIEW DRIVE                                                                 INDIANAPOLIS           IN   46217‐2710
MITCHELL, MADALEIN L        3415 WEST PIERSON ROAD                                                                FLINT                  MI   48504‐6905
MITCHELL, MADALENE          514 TEMPLE HALL HWY                                                                   GRANDBURY              TX   76049
MITCHELL, MALLORY T         25523 FRIAR LN                                                                        SOUTHFIELD             MI   48033‐2770
MITCHELL, MANDY M           211 ASHCOT CIR                                                                        EDWARDS                MS   39066‐9129
MITCHELL, MARBIE P          PO BOX 2353                                                                           ANN ARBOR              MI   48106‐2353
MITCHELL, MARBIE PETERSON   PO BOX 2353                                                                           ANN ARBOR              MI   48106‐2353
MITCHELL, MARGARET
MITCHELL, MARGARET          4208 N PUCKETT RD                                                                     BUFORD                 GA   30519‐1919
MITCHELL, MARGARET A        751 HOYT ST SW                                                                        WARREN                 OH   44485‐3846
MITCHELL, MARGARET A        2543 KOEHLER AVE                                                                      TOLEDO                 OH   43613‐2610
MITCHELL, MARGARET A        751 HOYT STREET S.W.                                                                  WARREN                 OH   44485‐3846
MITCHELL, MARGARET A        2543 KOEHLER                                                                          TOLEDO                 OH   43613‐2610
MITCHELL, MARGARET I        16132 LINDSAY                                                                         DETROIT                MI   48235‐3401
MITCHELL, MARGARET I        16132 LINDSAY ST                                                                      DETROIT                MI   48235‐3401
MITCHELL, MARGARET L        26102 CONTINENTAL CIR                                                                 TAYLOR                 MI   48180‐3107
MITCHELL, MARGARET LEE      26102 CONTINENTAL CIR                                                                 TAYLOR                 MI   48180‐3107
MITCHELL, MARGARET V        1233 AGNES AVE                                                                        KANSAS CITY            MO   64127‐2102
MITCHELL, MARGARET V        1233 AGNESS                                                                           KANSAS CITY            MO   64127‐2102
MITCHELL, MARGARET W        5201 DESOTO RD APT 306                                                                SARASOTA               FL   34235‐3625
MITCHELL, MARGIE E          223 COLLEGE PARK DR                                                                   ELYRIA                 OH   44035‐1627
MITCHELL, MARGRET M         10717 PETE CREEK AVE                                                                  RIVERVIEW              FL   33578
MITCHELL, MARGUERITE        406 S ELM ST                                                                          WEST CARROLLTON        OH   45449‐1704
MITCHELL, MARGUERITE        406 SOUTH ELM STREET                                                                  WEST CARROLLTON        OH   45449‐1704
MITCHELL, MARIAN T          522 GREEN ST                                                                          FLINT                  MI   48503‐5121
MITCHELL, MARIAN T          221 W 2ND ST                                                                          O FALLON               MO   63366‐1606
MITCHELL, MARIE             806 ROUNDHOUSE ST                                                                     SHAKOPEE               MN   55379‐4597
MITCHELL, MARIE J           4651 BROOKWOOD MEADOWS DR                                                             BRIGHTON               MI   48116‐9171
MITCHELL, MARILYN           7003 NORTH LINCOLNSHIRE CIRCLE                                                        MILWAUKEE              WI   53223‐6344
MITCHELL, MARILYN A         1105 RIVER VALLEY DR APT B                                                            FLINT                  MI   48532‐2990
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Name                      Address1                        Address2                  Address3   Address4         City               State Zip
MITCHELL, MARILYN B       201 SE MOJAVE WAY                                                                     LAKE CITY           FL 32025‐3923
MITCHELL, MARION          170 SEVILLE DR                                                                        ROCHESTER           NY 14617‐3828
MITCHELL, MARION          170 SEVILLE DRIVE                                                                     ROCHESTER           NY 14617
MITCHELL, MARION R        3110 CHARI DR                                                                         FLINT               MI 48507‐4573
MITCHELL, MARK            724 FOLSOM LANE                                                                       LINCOLN             NE 68522‐1677
MITCHELL, MARK A          2237 ALICE ST                                                                         SANTA CRUZ          CA 95062‐4132
MITCHELL, MARK A          3192 N MILL RD                                                                        DRYDEN              MI 48428‐9341
MITCHELL, MARK M          813 BLAYLOCK CIR                                                                      SALADO              TX 76571‐5442
MITCHELL, MARK T          113 ROSIE ST                                                                          BOWLING GREEN       KY 42103‐8427
MITCHELL, MARSHA K        3160 GERALD AVE                                                                       ROCHESTER HILLS     MI 48307‐5544
MITCHELL, MARSHALL L      18300 MOORESVILLE RD                                                                  ATHENS              AL 35613‐5418
MITCHELL, MARTHA          SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST          MS 39083‐3007
MITCHELL, MARTHA A        6811 S HAZEL ST                 DAVIS EAST NURSING HOME                               PINE BLUFF          AR 71603‐7829
MITCHELL, MARTHA C        3559 SALEM RD LOT G10                                                                 COVINGTON           GA 30016‐7221
MITCHELL, MARTHA C        3559 SALEM RD                   LOT G10                                               COVINGTON           GA 30016‐7221
MITCHELL, MARTHA H        1140 BIKINI DR                                                                        LIMA                OH 45801‐2413
MITCHELL, MARTHA J        6043 BARTHOLOMEW DR                                                                   HONEOYE             NY 14471‐9532
MITCHELL, MARTHA L        1902 ORIOLE ST                                                                        SPRINGDALE          AR 72764‐5758
MITCHELL, MARTHA V        30 RED OAK LN                                                                         WOODSTOCK           AL 35188‐3459
MITCHELL, MARTINI         15055 JOSEPH DR                                                                       ATHENS              AL 35613
MITCHELL, MARVIN H        PO BOX 241                      6 MAPLE ST                                            NORFOLK             NY 13667‐0241
MITCHELL, MARVIN H        7701 SOUTHBRIDGE LN                                                                   ARLINGTON           TX 76002‐4157
MITCHELL, MARVIN HERSEY   PO BOX 241                      6 MAPLE ST                                            NORFOLK             NY 13667‐0241
MITCHELL, MARVIN L        426 MCBEE RD                                                                          BELLBROOK           OH 45305‐8794
MITCHELL, MARVIN L        426 MC BEE ROAD                                                                       BELLBROOK           OH 45305‐8794
MITCHELL, MARVIN R        6441 BENNETT LAKE RD                                                                  FENTON              MI 48430‐9093
MITCHELL, MARY            2073 MORRISH ROAD                                                                     SWARTZ CREEK        MI 48473‐9753
MITCHELL, MARY            2435 LINCOLN STREET                                                                   ANDERSON            IN 46016‐5059
MITCHELL, MARY            19727 CHAPEL ST                                                                       DETROIT             MI 48219‐1907
MITCHELL, MARY            2614 S KILDARE                                                                        CHICAGO              IL 60623‐4345
MITCHELL, MARY A          5255 GRAND BLANC RD                                                                   SWARTZ CREEK        MI 48473
MITCHELL, MARY C          4835 DREON CT                                                                         STERLING HEIGHTS    MI 48310‐2627
MITCHELL, MARY C          70 COUNTY ROAD 136                                                                    SARDIS              AL 36775‐3000
MITCHELL, MARY E          9784 E ROCK RIDGE CT                                                                  TUCSON              AZ 85749‐7907
MITCHELL, MARY E          5315 E MAPLE AVE                                                                      GRAND BLANC         MI 48439‐8626
MITCHELL, MARY E          150D SPANISH TRAIL                                                                    ROCHESTER           NY 14612‐4612
MITCHELL, MARY E          150 SPANISH TRL APT D                                                                 ROCHESTER           NY 14612‐4618
MITCHELL, MARY ELLEN      48429 JOY RD                                                                          CANTON              MI 48187‐1214
MITCHELL, MARY F          420 BRAM HALL DR                                                                      ROCHESTER           NY 14626‐4360
MITCHELL, MARY H          PO BOX 2654                                                                           YOUNGSTOWN          OH 44507‐0654
MITCHELL, MARY H          P.O. BOX 2654                                                                         YOUNGSTOWN          OH 44507‐0654
MITCHELL, MARY I          214 EAST 37TH ST                                                                      ANDERSON            IN 46013‐4638
MITCHELL, MARY J          5204 DONCASTER AVE                                                                    JACKSONVILLE        FL 32208‐1620
MITCHELL, MARY J          35119 MCCULLOUGHS LEAP                                                                ZEPHYRHILLS         FL 33541‐8312
MITCHELL, MARY L          17831 WELLWORTH ST                                                                    ROSEVILLE           MI 48066‐2535
MITCHELL, MARY L          2068 PONDSVILLE KEPLER RD                                                             SMITHS GROVE        KY 42171‐6226
MITCHELL, MARY L          2308 S I ST                                                                           ELWOOD              IN 46036‐2562
MITCHELL, MARY L          8604 E 92ND PL                                                                        KANSAS CITY         MO 64138‐4660
MITCHELL, MARY L          2308 SOUTH I ST                                                                       ELWOOD              IN 46036‐2562
MITCHELL, MARY L          8604 E 92 PLACE                                                                       KANSAS CITY         MO 64138‐4660
MITCHELL, MARY L          423 N MAIN ST                                                                         TIPTON              IN 46072‐1317
MITCHELL, MARY M          32444 BARKLEY ST                                                                      LIVONIA             MI 48154‐3577
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Name                       Address1                           Address2                         Address3   Address4         City               State Zip
MITCHELL, MARY M           6420 AGNES AVE                                                                                  KANSAS CITY         MO 64132‐1155
MITCHELL, MARY M.          PO BOX 299007                                                                                   WASILLA             AK 99629‐9007
MITCHELL, MARY R           9211 LINSBURGH CIR                                                                              INDIANAPOLIS        IN 46234‐3307
MITCHELL, MARY S           PO BOX 21                                                                                       WILLIAMSBURG        IN 47393
MITCHELL, MATTHEW          BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD          OH 44067
                                                              PROFESSIONAL BLDG
MITCHELL, MATTHEW S        429 EMERSON AVE                                                                                 NEW LEBANON        OH   45345‐1677
MITCHELL, MATTIE M         2224 GOLFSIDE DR APT 250                                                                        YPSILANTI          MI   48197‐1593
MITCHELL, MATTIE M         224 GOLF SIDE RD                                                                                YPSILANTI          MI   48197
MITCHELL, MATTIE S         65 JAY ST                                                                                       NEWARK             NJ   07103‐3235
MITCHELL, MAX L            PO BOX 707                                                                                      BIRCH RUN          MI   48415‐0707
MITCHELL, MAXINE           5525 HUNTER ST                                                                                  RAYTOWN            MO   64133‐3249
MITCHELL, MELANIE          ALVIS & WILLINGHAM                 1400 URBAN CENTER DR ‐ STE 475                               BIRMINGHAM         AL   35242
MITCHELL, MELDA P          817 THOMAS CROSSING DR                                                                          BURLESON           TX   76028‐3207
MITCHELL, MELDA PHILLIPS   817 THOMAS CROSSING DR                                                                          BURLESON           TX   76028‐3207
MITCHELL, MELINDA
MITCHELL, MELVIN D         LOT 2 DOGWOOD DELL                                                                              LOGANVILLE         GA   30249
MITCHELL, MELVIN L         8400 ESTERO BLVD APT 703                                                                        FORT MYERS BEACH   FL   33931‐5114
MITCHELL, MENTORIA A       PO BOX 502                                                                                      SPENCER            OK   73084‐0502
MITCHELL, MERLIN J         918 MCKEIGHAN AVE                                                                               FLINT              MI   48507‐2861
MITCHELL, MIA C            203 FREEDOM LN                                                                                  ARLINGTON          TX   76002‐2708
MITCHELL, MICHAEL          4300 KENSINGTON AVE                                                                             DETROIT            MI   48224‐2737
MITCHELL, MICHAEL          2022 BERKLEY ST                                                                                 FLINT              MI   48504‐4014
MITCHELL, MICHAEL A        1831 SWEETBRIER ST SW                                                                           WARREN             OH   44485‐3980
MITCHELL, MICHAEL A        34 SOUTHBRIDGE RD                                                                               BEAR               DE   19701‐1611
MITCHELL, MICHAEL ALAN     34 SOUTHBRIDGE RD                                                                               BEAR               DE   19701‐1611
MITCHELL, MICHAEL C        211 HOLTER AVE                                                                                  ALBERTVILLE        AL   35951‐3707
MITCHELL, MICHAEL D        700 PARK ROW                                                                                    VEEDERSBURG        IN   47987‐1146
MITCHELL, MICHAEL D        5309 BENTWOOD CT                                                                                SAN ANGELO         TX   76904‐8001
MITCHELL, MICHAEL E        3231 N TIPSICO LAKE RD                                                                          HARTLAND           MI   48353‐2418
MITCHELL, MICHAEL H        3916 VIKING TRL                                                                                 NEW CASTLE         IN   47362‐8812
MITCHELL, MICHAEL J        820 BRIDGESTONE DR                                                                              ROCHESTER HILLS    MI   48309‐1618
MITCHELL, MICHAEL K        PO BOX 172774                                                                                   ARLINGTON          TX   76003‐2774
MITCHELL, MICHAEL K        704 PALMER DR                                                                                   PONTIAC            MI   48342‐1857
MITCHELL, MICHAEL L        1910 BEACON HILL DR                                                                             LANSING            MI   48906‐3668
MITCHELL, MICHAEL LLOYD    1910 BEACON HILL DR                                                                             LANSING            MI   48906‐3668
MITCHELL, MICHAEL S        808 E 16TH ST                                                                                   KEARNEY            MO   64060‐7566
MITCHELL, MICHAEL S        1556 STOCKTON AVE                                                                               KETTERING          OH   45409‐1853
MITCHELL, MICHELLE D       APT 4                              322 WEST SIEBENTHALER AVENUE                                 DAYTON             OH   45405‐2244

MITCHELL, MICHELLE P       256 CRANDALL AVE                                                                                YOUNGSTOWN         OH   44504‐1711
MITCHELL, MICHELLE P.      256 CRANDALL AVE                                                                                YOUNGSTOWN         OH   44504‐1711
MITCHELL, MICKEY C         612 TOM SMITH RD SW                                                                             LILBURN            GA   30047‐2201
MITCHELL, MIEKO M          144 LAKEVIEW LN                                                                                 CHAGRIN FALLS      OH   44022‐4227
MITCHELL, MILDRED E        3857 SWEETBRIAR DRIVE                                                                           ORANGE PARK        FL   32073‐7608
MITCHELL, MILDRED L        111 CREEKSIDE DR                                                                                COLUMBIA           TN   38401‐6527
MITCHELL, MIRIAM KAY       561 EWING RD                                                                                    FERRIS             TX   75125
MITCHELL, MITTIE           2601 W 8MILE RD                                                                                 DETROIT            MI   48203‐4604
MITCHELL, MITTIE           2601 W 8 MILE RD                                                                                DETROIT            MI   48203‐4604
MITCHELL, MONEIQUE D       100 WOLVERINE TRL                                                                               LA VERGNE          TN   37086‐3811
MITCHELL, MONICA R         PO BOX 1180                                                                                     FLINT              MI   48501‐1180
MITCHELL, MONROE L         9316 QUEEN CHARLOTTE DR                                                                         LAS VEGAS          NV   89145‐8709
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Name                   Address1                        Address2                      Address3   Address4         City               State Zip
MITCHELL, MORGAN R     621 S MEADE ST APT 11                                                                     FLINT               MI 48503‐2294
MITCHELL, MORRIS       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
MITCHELL, MORRIS K     5411 LAWSON RD                                                                            GAINESVILLE        GA   30506‐2724
MITCHELL, MURIEL       PO BOX 1368                                                                               FLINT              MI   48501‐1368
MITCHELL, MUZETTE N    8765 INDIGO LN                                                                            YPSILANTI          MI   48197‐1065
MITCHELL, MYRTLE A     PO BOX 1544                                                                               POPLAR BLUFF       MO   63902‐7724
MITCHELL, NANCY        BISNAR & CHASE                  1301 DOVE ST STE 760                                      NEWPORT BEACH      CA   92660‐2476
MITCHELL, NANCY C      3224 CLAIRMOUNT ST                                                                        DETROIT            MI   48206‐1936
MITCHELL, NANCY C      9169 PINE WALK PASS                                                                       LINDEN             MI   48451‐8578
MITCHELL, NANCY K      1595 CLEVELAND ST                                                                         SALEM              OH   44460
MITCHELL, NANCY L      8396 OXFORD CIRCLE                                                                        WAYNESBORO         PA   17268‐9228
MITCHELL, NATHAN H     1421 S STATE RD                                                                           DAVISON            MI   48423‐1911
MITCHELL, NATHANIEL    25052 W 8 MILE RD               APT 401                                                   SOUTHFIELD         MI   48034‐4016
MITCHELL, NATHANIEL    25052 W 8 MILE RD APT 401                                                                 SOUTHFIELD         MI   48033‐4016
MITCHELL, NEIL E       11190 JACQUELINE DR                                                                       STERLING HEIGHTS   MI   48313‐4910
MITCHELL, NELL B       449 ALEXANDER CIR                                                                         COLUMBIA           SC   29206
MITCHELL, NEWELL       140 LEDBETTER RD                                                                          XENIA              OH   45385‐5327
MITCHELL, NICHOLAS O   APT 201                         324 NORTHEAST 3RD STREET                                  OKLAHOMA CITY      OK   73104‐4077
MITCHELL, NICOLE M     3892 OTIS DRIVE                                                                           DAYTON             OH   45416‐1932
MITCHELL, NICOLE R     APT 905                         8940 CEDARWOOD DRIVE                                      ORLAND HILLS       IL   60487‐4992
MITCHELL, NINA C       4394 FORDS BROOK RD N.                                                                    WELLSVILLE         NY   14895‐9801
MITCHELL, NONA         6257 ELDRIDGE BLVD                                                                        BEDFORD HTS        OH   44146‐4008
MITCHELL, NORMA H      1185 E US HIGHWAY 35                                                                      MARKLEVILLE        IN   46056‐9711
MITCHELL, NORMAN C     20 PARWOOD DR                                                                             CHEEKTOWAGA        NY   14227‐2627
MITCHELL, NORMAN L     810 ACCENT PK DR                                                                          DAYTON             OH   45427‐2710
MITCHELL, NORMAN L     810 ACCENT PARK DR                                                                        DAYTON             OH   45427‐2710
MITCHELL, O. D         19929 FREELAND ST                                                                         DETROIT            MI   48235‐1514
MITCHELL, ODESSA       957 GLENWOOD AVE                                                                          BUFFALO            NY   14211‐1419
MITCHELL, OLA M        C/O MERIDIAN MANOR              1132 MERIDEN RD                                           WATERBURY          CT   06705
MITCHELL, OLIVIA       2516 GLYNN COURT                                                                          DETROIT            MI   48206‐3022
MITCHELL, OLIVIA       2516 GLYNN CT                                                                             DETROIT            MI   48206‐3022
MITCHELL, OLLIE        6777 RASBERRY LN APT 2821                                                                 SHREVEPORT         LA   71129‐2672
MITCHELL, OLLIE B      15873 ROBSON ST                                                                           DETROIT            MI   48227‐2642
MITCHELL, OLLIE M      5000 DRESDEN CT                                                                           MONROE             NC   28110‐6386
MITCHELL, ORRA G       60 HIDY AVE                                                                               MASSENA            NY   13662‐3308
MITCHELL, ORVILLE D    RT 1 BOX 173                                                                              PATTESON           MO   63956‐9743
MITCHELL, ORVILLE D    RR 1 BOX 173                                                                              PATTERSON          MO   63956‐9743
MITCHELL, OSCAR        5917 CRESTVIEW AVE                                                                        FAIRFIELD          OH   45014‐5107
MITCHELL, OTIS D       991 YORKWOOD RD                                                                           MANSFIELD          OH   44907‐2434
MITCHELL, OTIS H       10426 N 97TH DR APT B                                                                     PEORIA             AZ   85345‐3233
MITCHELL, OZZIE B      701 S PATTERSON DR                                                                        MOORE              OK   73160‐7286
MITCHELL, PAMELA       4532 S E 11TH PLACE                                                                       CAPE CORAL         FL   33904‐3904
MITCHELL, PAMELA       622 CHARWOOD DR                                                                           CINCINNATI         OH   45244‐1315
MITCHELL, PAMELA L     3651 ROSEVILLE RD                                                                         GLASGOW            KY   42141‐2266
MITCHELL, PAMELA LEE   3651 ROSEVILLE RD                                                                         GLASGOW            KY   42141‐2266
MITCHELL, PATRICE L    230 WOODVIEW #254                                                                         ROCHESTER HILLS    MI   48307
MITCHELL, PATRICIA     PO BOX 1113                                                                               BUFFALO            NY   14215‐6113
MITCHELL, PATRICIA     717 BIRCH HILL DR                                                                         YOUNGSTOWN         OH   44509‐3015
MITCHELL, PATRICIA A   673 OAK GROVE RD                                                                          CHESAPEAKE         VA   23320‐1753
MITCHELL, PATRICIA D   4244 MELLEN DR                                                                            ANDERSON           IN   46013‐5049
MITCHELL, PATRICIA H   194 W 500 N                                                                               ANDERSON           IN   46012‐9500
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Name                       Address1                         Address2                    Address3   Address4         City                 State Zip
MITCHELL, PATRICIA I       13301 S GRANGE RD                                                                        EAGLE                 MI 48822‐9776
MITCHELL, PATRICIA J       18073 BLUE HERON POINTE DR                                                               NORTHVILLE            MI 48168‐9265
MITCHELL, PATRICIA J       1114 17TH ST APT B                                                                       BEDFORD               IN 47421‐4229
MITCHELL, PATRICIA J       1114 17TH STREET                 APT B                                                   BEDFORD               IN 47421
MITCHELL, PATRICK E        1015 MICHIGAN AVE                                                                        BAY CITY              MI 48708‐8764
MITCHELL, PAUL             32923 ROBESON ST                                                                         SAINT CLAIR SHORES    MI 48082‐2916
MITCHELL, PAUL             322 ROSEWOOD AVE                                                                         SPRINGFIELD           OH 45506‐2732
MITCHELL, PAUL A           14039 COUGAR ROCK DR                                                                     SAN ANTONIO           TX 78230‐0946
MITCHELL, PAUL A           3035 PINEGATE DR                                                                         FLUSHING              MI 48433‐2472
MITCHELL, PAUL D           1556 STOCKTON AVE                                                                        KETTERING             OH 45409‐1853
MITCHELL, PAUL E           9169 PINE WALK PASS                                                                      LINDEN                MI 48451‐8578
MITCHELL, PAUL F           PO BOX 71                                                                                MIDDLETOWN            VA 22645‐0071
MITCHELL, PAUL G           18073 BLUE HERON POINTE DR                                                               NORTHVILLE            MI 48168‐9265
MITCHELL, PAUL K           713 MCLISH ST                                                                            ARDMORE               OK 73401‐4623
MITCHELL, PAUL K           602 HIGHVILLA RD                                                                         BALTIMORE             MD 21221‐3201
MITCHELL, PAUL T           132 N PINE TER                                                                           STATEN ISLAND         NY 10312‐4052
MITCHELL, PAUL W           310 CONANT ST                                                                            COLUMBIA              TN 38401‐2930
MITCHELL, PAUL W           5266 HIGHWAY 135 N                                                                       PARAGOULD             AR 72450‐9385
MITCHELL, PAULA M          11844 AYRE LN                                                                            FRANKENMUTH           MI 48734‐9769
MITCHELL, PAULA M          11844 AYRE LANE                                                                          FRANKENMUTH           MI 48734‐9769
MITCHELL, PEARL            P O BOX 13319                                                                            FLINT                 MI 48501‐3319
MITCHELL, PEARL            PO BOX 13319                                                                             FLINT                 MI 48501‐3319
MITCHELL, PENELOPE         PO BOX 3877                                                                              ANN ARBOR             MI 48106‐3877
MITCHELL, PENNY            20400 CROOKED OAK DR                                                                     HARRAH                OK 73045‐9647
MITCHELL, PERRY N          34701 VILLAGE RD                                                                         CLINTON TWP           MI 48035‐3576
MITCHELL, PETER W          2162 SCHULTZ ST                                                                          LINCOLN PARK          MI 48146‐2562
MITCHELL, PHILIP           2231 N 600 E                                                                             MARION                IN 46952‐9149
MITCHELL, PHILIP H         247 S LEATHERWOOD RD                                                                     BEDFORD               IN 47421‐8847
MITCHELL, PHILIP J         2012 WOODS DR                                                                            ARLINGTON             TX 76010‐5656
MITCHELL, PHILLIP J        6414 BENNETT LAKE RD                                                                     FENTON                MI 48430‐9093
MITCHELL, PHILLIP M        5326 N GRANDVIEW DR                                                                      MILTON                WI 53563‐8851
MITCHELL, PHYLLIS          4515 W ALICIA DR                                                                         LAVEEN                AZ 85339‐2300
MITCHELL, PHYLLIS D        18300 MOORESVILLE RD                                                                     ATHENS                AL 35613‐5418
MITCHELL, PHYLLIS S        1700 TAMO'SHANTER RD.            NO. 2G                                                  SEAL BEACH            CA 90740
MITCHELL, PRINDER          20089 VAUGHAN ST                                                                         DETROIT               MI 48219‐2003
MITCHELL, RALEIGH          DEARIE & ASSOCIATES JOHN C       515 MADISON AVE RM 1118                                 NEW YORK              NY 10022‐5456
MITCHELL, RALPH A          2109 WAVERLY AVE                                                                         KANSAS CITY           KS 66104‐4745
MITCHELL, RALPH E          1330 W FAIRVIEW LN                                                                       ROCHESTER HILLS       MI 48306‐4138
MITCHELL, RANDALL E        414 WALKER AVE                                                                           KANSAS CITY           KS 66101‐2340
MITCHELL, RAYMOND          10715 STATE RD                                                                           RIVES JUNCTION        MI 49277‐9305
MITCHELL, RAYMOND L        ANGELOS PETER G                  100 N CHARLES STREET, ONE                               BALTIMORE             MD 21201‐3812
                                                            CHARLES CENTER
MITCHELL, RAYMOND P        4723 WIKIUP BRIDGE WAY                                                                   SANTA ROSA           CA   95404‐1116
MITCHELL, REBECCA B        1101 NEWTOWN RD                                                                          ST STEPHENS CHURCH   VA   23148‐2265
MITCHELL, REGINALD         1683 SPARTAN DR                                                                          COLUMBUS             OH   43209‐3218
MITCHELL, RHONDA A         17550 PILGRIM ST                                                                         DETROIT              MI   48227‐1539
MITCHELL, RICHARD          1153 BRONWYN AVE                                                                         COLUMBUS             OH   43204
MITCHELL, RICHARD A        1895 N MILLER RD                                                                         SAGINAW              MI   48609‐9593
MITCHELL, RICHARD C        2720 S WOODBRIDGE RD                                                                     ITHACA               MI   48847‐9529
MITCHELL, RICHARD D        2409 W FARRAND RD                                                                        CLIO                 MI   48420‐1013
MITCHELL, RICHARD DONALD   2409 W FARRAND RD                                                                        CLIO                 MI   48420‐1013
MITCHELL, RICHARD J        32471 GRINSELL DR                                                                        WARREN               MI   48092‐3103
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Name                     Address1                        Address2                      Address3   Address4         City               State Zip
MITCHELL, RICHARD J      3329 W CLARICE AVE                                                                        HIGHLAND            MI 48356‐2323
MITCHELL, RICHARD J      2030 SPENCER RD                                                                           LAKELAND            FL 33811‐2022
MITCHELL, RICHARD L      1953 BENSON DR                                                                            DAYTON              OH 45406‐4405
MITCHELL, RICHARD L      1116 1/2 S 12TH ST                                                                        KINGFISHER          OK 73750‐4025
MITCHELL, RICHARD L      4143 BAY AVE                                                                              BEAVERTON           MI 48612‐8819
MITCHELL, RICHARD L      10410 SEYMOUR RD                                                                          GAINES              MI 48436‐9722
MITCHELL, RICHARD LEE    10410 SEYMOUR RD                                                                          GAINES              MI 48436‐9722
MITCHELL, RICK E         15612 MICHAEL ST                                                                          TAYLOR              MI 48180‐5018
MITCHELL, RICKIE J       179 SMITHS RD                                                                             MITCHELL            IN 47446‐6638
MITCHELL, RITA D         PO BOX 66                                                                                 FENTON              MO 63026‐0066
MITCHELL, RITA D         P.O BOX 66                                                                                FENTON              MO 63026
MITCHELL, ROBERT         C/O LIPSITZ & PONTERIO          135 DELAWARE AVE, SUITE 506                               BUFFALO             NY 14202‐2416
MITCHELL, ROBERT         18694 HARTWELL ST                                                                         DETROIT             MI 48235‐1345
MITCHELL, ROBERT A       10847 HIGHWAY 14 W                                                                        LOUISVILLE          MS 39339‐9064
MITCHELL, ROBERT A       40811 LONG HORN DR                                                                        STERLING HEIGHTS    MI 48313‐4224
MITCHELL, ROBERT B       49044 LEHR DR                                                                             MACOMB              MI 48044‐1747
MITCHELL, ROBERT B       3856 MITCHELL RD                                                                          LAPEER              MI 48446‐9642
MITCHELL, ROBERT D       3466 N. GRATIOT COUNTY LN                                                                 SAINT LOUIS         MI 48880
MITCHELL, ROBERT D       876 STARS BLVD                                                                            BEDFORD             IN 47421‐7664
MITCHELL, ROBERT D       1066 NAST CHAPEL RD                                                                       MARTINSVILLE        IN 46151‐9046
MITCHELL, ROBERT D       1067 BROOKWAY DR                                                                          AVON                IN 46123‐8869
MITCHELL, ROBERT D       6 GOODHART RD                                                                             SHIPPENSBURG        PA 17257‐9771
MITCHELL, ROBERT DALE    1067 BROOKWAY DR                                                                          AVON                IN 46123‐8869
MITCHELL, ROBERT E       38921 PRETTY POND RD                                                                      ZEPHYRHILLS         FL 33540‐1433
MITCHELL, ROBERT E       2060 ROSEANN DR                                                                           STERLING HEIGHTS    MI 48314‐2720
MITCHELL, ROBERT E       3602 RR 1                                                                                 UNION               OH 45322
MITCHELL, ROBERT F       2867 AVERY RD # 6                                                                         SAINT JOHNS         MI 48879
MITCHELL, ROBERT G       803 DEXTER ST                                                                             BUTTE               MT 59701‐2827
MITCHELL, ROBERT H       2212 MIRIAM LN                                                                            ARLINGTON           TX 76010‐3231
MITCHELL, ROBERT H       214 WINFREY COURT                                                                         PLEASANT VIEW       TN 37146‐7959
MITCHELL, ROBERT H       2499 GREENWOOD CIR                                                                        EAST POINT          GA 30344‐2015
MITCHELL, ROBERT J       1713 MANSFIELD RD                                                                         BIRMINGHAM          MI 48009‐7273
MITCHELL, ROBERT L       PO BOX 72                                                                                 CHEEKTOWAGA         NY 14225‐0072
MITCHELL, ROBERT L       8190 CLINTON RIVER RD                                                                     STERLING HEIGHTS    MI 48314
MITCHELL, ROBERT L       1915 BALDWIN AVE APT 218                                                                  PONTIAC             MI 48340‐1175
MITCHELL, ROBERT L       16299 SAN CARLOS BLVD                                                                     FORT MYERS          FL 33908‐3330
MITCHELL, ROBERT L       PO BOX 170                                                                                CARSON CITY         MI 48811‐0170
MITCHELL, ROBERT L       17502 PONDEROSA PINES DR                                                                  HOUSTON             TX 77090‐2060
MITCHELL, ROBERT L       ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                         HOUSTON             TX 77069
MITCHELL, ROBERT L       3840 PENBERTON CT                                                                         ANN ARBOR           MI 48105‐3039
MITCHELL, ROBERT LEWIS   PO BOX 72                                                                                 CHEEKTOWAGA         NY 14225‐0072
MITCHELL, ROBERT M       PO BOX 703                                                                                COTTONWOOD          AL 36320
MITCHELL, ROBERT M       1280 CHAPMANS RETREAT DR                                                                  SPRING HILL         TN 37174‐7174
MITCHELL, ROBERT R       12412 DELMAR ST                                                                           LEAWOOD             KS 66209‐2241
MITCHELL, ROBERT S       325 N 8TH AVE                                                                             BEECH GROVE         IN 46107‐1212
MITCHELL, ROBERT T       320 E JAMES ST                                                                            BRADFORD            OH 45308‐1320
MITCHELL, ROBERT T       320 E JAMES STREET                                                                        BRADFORD            OH 45308‐1320
MITCHELL, ROBERT W       8303 S BLAIR RD                                                                           ASHLEY              MI 48806‐9775
MITCHELL, ROBERT W       49417 PLYMOUTH WAY                                                                        PLYMOUTH            MI 48170‐6439
MITCHELL, ROBERTA H      5300 APPLEWOOD DR                                                                         FLUSHING            MI 48433‐1136
MITCHELL, ROBIN A        18409 ONYX ST                                                                             SOUTHFIELD          MI 48075‐1812
MITCHELL, RODNEY A       495 INDIAN HILLS DR                                                                       OXFORD              MI 48371‐6200
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Name                    Address1                        Address2           Address3         Address4         City             State Zip
MITCHELL, RODNEY L      4206 EAST VINEYARD RD                                                                PHOENIX           AZ 85042
MITCHELL, RONALD A      410 E STURGIS ST                                                                     SAINT JOHNS       MI 48879‐2264
MITCHELL, RONALD A      12160 BROADSTREET AVE APT 101                                                        DETROIT           MI 48204
MITCHELL, RONALD A      751 TALBOTT DR                                                                       KETTERING         OH 45429‐3377
MITCHELL, RONALD L      3800 LAKE BAYSHORE DR APT 513                                                        BRADENTON         FL 34205
MITCHELL, RONALD L      2895 K DR S                                                                          EAST LEROY        MI 49051‐8711
MITCHELL, RONALD M      926 W INDIANOLA AVE                                                                  YOUNGSTOWN        OH 44511
MITCHELL, RONALD M      517 MADERA AVE                                                                       YOUNGSTOWN        OH 44504‐4504
MITCHELL, RONALD N      1211 WEST 15TH STREET                                                                MUNCIE            IN 47302‐3071
MITCHELL, RONALD NEIL   1211 WEST 15TH STREET                                                                MUNCIE            IN 47302‐3071
MITCHELL, RONALD V      25523 FRIAR LN                                                                       SOUTHFIELD        MI 48033‐2770
MITCHELL, RONALD V      25523 FRIAR‐LN                                                                       SOUTHFIELD        MI 48034‐2770
MITCHELL, RONNIE D      19824 HIGHWAY 102                                                                    TECUMSEH          OK 74873‐5372
MITCHELL, RONNIE W      425 CLARK LAKE ESTATES DR                                                            GRAYSON           GA 30017‐1234
MITCHELL, ROOSEVELT     PO BOX 294                                                                           BUFFALO           NY 14240‐0294
MITCHELL, ROSA          26332 GRAHAM RD                                                                      REDFORD           MI 48239‐3121
MITCHELL, ROSA B        2644 ETHEL ST                                                                        DETROIT           MI 48217‐1554
MITCHELL, ROSA B        2644 S ETHEL ST                                                                      DETROIT           MI 48217‐1554
MITCHELL, ROSA M        7062 ARCADIA DR                                                                      MOUNT MORRIS      MI 48458‐9707
MITCHELL, ROSCOE        221 PLEASANT VIEW LOOP                                                               CLINTON           TN 37716‐5718
MITCHELL, ROSE L        PO BOX 849                                                                           ANTIOCH           TN 37011‐0849
MITCHELL, ROSEMARIE     3289 RAYNOR DR                                                                       COLUMBUS          OH 43219‐3256
MITCHELL, ROSIE L       4009 STOWE ST                                                                        MEMPHIS           TN 38128‐2013
MITCHELL, ROY           3569 INGLEDALE DR SW                                                                 ATLANTA           GA 30331‐2434
MITCHELL, ROY D         520 WILLIAMSON ST APT C                                                              WHITELAND         IN 46184‐4107
MITCHELL, ROY F         17270 MORAN ST                                                                       DETROIT           MI 48212‐1146
MITCHELL, ROY L         25654 NEW YORK ST                                                                    DEARBORN HTS      MI 48125‐1125
MITCHELL, RUBY          1004 OXFORD MIDDLETOWN RD                                                            HAMILTON          OH 45013‐9745
MITCHELL, RUBY          1851 W 400 S                                                                         ANDERSON          IN 46013‐9406
MITCHELL, RUBY          1004 OXFORD‐MIDDLETOWN                                                               HAMILTON          OH 45013‐9745
MITCHELL, RUBY H        1612 PUEBLO DR                                                                       XENIA             OH 45385‐4225
MITCHELL, RUBY M        713 MACKOW                                                                           TOLEDO            OH 43607
MITCHELL, RUSSELL       9100 E COUNTY ROAD 75 S                                                              SELMA             IN 47383‐9555
MITCHELL, RUSSELL J     13056 STATE ROUTE 729                                                                JEFFERSONVILLE    OH 43128‐9526
MITCHELL, RUSSELL J     13056 ST RT 729 N W                                                                  JEFFERSONVILLE    OH 43128‐9526
MITCHELL, RUSSELL W     190 RINGWOOD WAY                                                                     ANDERSON          IN 46013‐4253
MITCHELL, RUTH          10468 TIREMAN ST                                                                     DETROIT           MI 48204‐3148
MITCHELL, RUTH A        PO BOX 371                                                                           WILLIAMSVILLE      IL 62693‐0371
MITCHELL, RUTH ANN      214 FORESTWOOD DR                                                                    COLUMBIA          SC 29223‐6322
MITCHELL, RUTH E        4912 MICHELLE LN                                                                     SHREVEPORT        LA 71107‐2119
MITCHELL, RUTH EVELYN   4912 MICHELLE LN                                                                     SHREVEPORT        LA 71107‐2119
MITCHELL, SAMMIE L      1309 DAVENTRY DR                                                                     DESOTO            TX 75115‐7755
MITCHELL, SAMPSON L     2137 CHESTERFIELD LOOP                                                               CHESAPEAKE        VA 23323‐6663
MITCHELL, SAMUEL        6171 INDUSTRIAL LOOP            APT E202                                             SHREVEPORT        LA 71129
MITCHELL, SAMUEL A      4230 WOODWARD CT                                                                     GRAND PRAIRIE     TX 75052‐3914
MITCHELL, SAMUEL C      555 GRAPE ST                                                                         PORTLAND          MI 48875‐1024
MITCHELL, SAMUEL H      2914 ROUNDTREE DR                                                                    TROY              MI 48083‐2348
MITCHELL, SAMUEL M      9415 CASTLEBROOK DR                                                                  SHREVEPORT        LA 71129‐4838
MITCHELL, SANDRA        6537 EAST DEWEY ROAD                                                                 FOUNTAIN          MI 49410‐9745
MITCHELL, SARA A        1309 TAFT ST                                                                         LANSING           MI 48906‐4951
MITCHELL, SARAH         3702 AVONDALE AVE                                                                    SAINT LOUIS       MO 63121‐3549
MITCHELL, SARAH         3702 AVONDALE                                                                        NORTHWOODS        MO 63121‐3549
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Name                       Address1                       Address2                Address3    Address4         City            State Zip
MITCHELL, SARAH C          MARYVALE EAST SENIOR COMPLEX   120 MOORMAN DRIVE                                    CHEEKTOWAGA      NY 14225
MITCHELL, SAUL             4472 LAKESHORE DR                                                                   SHREVEPORT       LA 71109‐3033
MITCHELL, SCOTT            5210 MEADOWWOOD DR                                                                  BON AQUA         TN 37025‐1425
MITCHELL, SCOTT E          106 FOX RUN DR                                                                      VENETIA          PA 15367‐1440
MITCHELL, SEYMOUR R        652 LAFAYETTE AVE                                                                   MOUNT VERNON     NY 10552‐3814
MITCHELL, SHARON           4317 SHEPHERD LN APT 6305                                                           MESQUITE         TX 75180‐3445
MITCHELL, SHARON           541 MAIN ST                                                                         BALTIMORE        MD 21222‐6246
MITCHELL, SHARON           1221 S WHEATON DR                                                                   SAINT CHARLES    MO 63301‐0862
MITCHELL, SHARON J         4345 SHAWNEE TRAIL                                                                  JAMESTOWN        OH 45335‐1215
MITCHELL, SHARRON H        344 OVERLOOK CIR                                                                    JACKSON          MS 39213‐2305
MITCHELL, SHAUN LEE R      720 E COTTONWOOD RD APT 11                                                          PALM SPRINGS     CA 92262
MITCHELL, SHELLIE K        16212 LILAC ST                                                                      DETROIT          MI 48221‐2995
MITCHELL, SHERMAN L        1835 SEYMOUR AVE                                                                    FLINT            MI 48503‐4338
MITCHELL, SHERRI R         2436 BAYWOOD ST                                                                     DAYTON           OH 45406‐1407
MITCHELL, SHIRLEY          530 BURKHARDT AVE                                                                   DAYTON           OH 45403‐2708
MITCHELL, SHIRLEY          214 WINFREY CT                                                                      PLEASANT VIEW    TN 37146‐7959
MITCHELL, SHIRLEY          214 WINFRED CT                                                                      PLEASANT VIEW    TN 37146
MITCHELL, SHIRLEY (NMI)    530 BURKHARDT AVE                                                                   DAYTON           OH 45403‐2708
MITCHELL, SHIRLEY L        3515 SILVERGATE WAY                                                                 PENSACOLA        FL 32504‐4910
MITCHELL, SHIRLEY M        7696 NATIONAL PIKE                                                                  UNIONTOWN        PA 15401‐5107
MITCHELL, SHIRLEY M        1602 WYANDOTTE                                                                      LAKEWOOD         OH 44107‐4738
MITCHELL, SHIRLEY P        488 CRYSTAL BROOK DR                                                                FENTON           MI 48430‐3106
MITCHELL, SHIRLEY R        1608 VINEWOOD ST                                                                    FORT WORTH       TX 76112‐2948
MITCHELL, SHIRLEY RENEE    1608 VINEWOOD ST                                                                    FORT WORTH       TX 76112‐2948
MITCHELL, SIDNEY M         509 E MARENGO AVE                                                                   FLINT            MI 48505‐3305
MITCHELL, SIDNEY M         1614 E HAMITON                                                                      FLINT            MI 48506
MITCHELL, SIMON            4741 RIDGEWAY DR APT 206                                                            DEL CITY         OK 73115‐4202
MITCHELL, STACEY R         3602 MIDDLEFIELD DR                                                                 INDIANAPOLIS     IN 46222‐1702
MITCHELL, STANLEY I        2511 N 57TH DR                                                                      KANSAS CITY      KS 66104‐2802
MITCHELL, STANLEY IRVING   2511 N 57TH DR                                                                      KANSAS CITY      KS 66104‐2802
MITCHELL, STANLEY L        28766 HWY 251                                                                       ARDMORE          AL 35739
MITCHELL, STARLETTE E      18925 PROSPECT ST APT 1                                                             MELVINDALE       MI 48122
MITCHELL, STEPHAINE I      2550 W FAIRMOUNT AVE                                                                BALTIMORE        MD 21223‐1424
MITCHELL, STEPHEN W        WEITZ & LUXENBERG P.C.         180 MAIDEN LANE                                      NEW YORK         NY 10038
MITCHELL, STEVE B          2402 SUNCREST DR                                                                    FLINT            MI 48504‐8415
MITCHELL, STEVEN           2319 KINNEVILLE RD                                                                  LESLIE           MI 49251‐9359
MITCHELL, STEVEN A         15325 BUCK ST                                                                       TAYLOR           MI 48180‐5124
MITCHELL, STEVEN A         7753 WEXFORD CT                                                                     ONSTED           MI 49265‐9594
MITCHELL, STEVEN D         9210 WILLOWGATE                                                                     GOODRICH         MI 48438‐9102
MITCHELL, STEVEN DOUGLAS   9210 WILLOWGATE                                                                     GOODRICH         MI 48438‐9102
MITCHELL, STEVEN H         APT A1                         7170 ROUND HILL DRIVE                                WATERFORD        MI 48327‐4028
MITCHELL, STEVEN J         502 71ST ST                                                                         DARIEN            IL 60561‐4059
MITCHELL, STEVEN L         7130 W ROAD 300 N                                                                   BARGERSVILLE     IN 46106‐9538
MITCHELL, STEVEN M         4042 ESSELDALE DR                                                                   SAINT ANN        MO 63074
MITCHELL, STEWARD O        4 LATZER LN                                                                         HIGHLAND          IL 62249‐2629
MITCHELL, STEWART B        19363 MACINTOSH DR                                                                  CLINTON TWP      MI 48036‐1858
MITCHELL, SUE              6322 HAAG RD                                                                        LANSING          MI 48911‐5454
MITCHELL, SUE M            20 EMS D21A LANE                                                                    SYRACUSE         IN 46567‐7416
MITCHELL, SUE M            20 EMS D21A LN                                                                      SYRACUSE         IN 46567‐7416
MITCHELL, SUSAN C          2430 KROSSRIDGE RD                                                                  RICHMOND         VA 23236‐5287
MITCHELL, SUSAN M          277 LORD BYRON LN APT 102                                                           COCKEYSVILLE     MD 21030
MITCHELL, SUZANNE          714 DETROIT AVE                                                                     YOUNGSTOWN       OH 44502
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Name                        Address1                         Address2                         Address3   Address4         City               State Zip
MITCHELL, SUZANNE           7544 MARKET ST                   APT 324                                                      YOUNGSTOWN          OH 44512‐6072
MITCHELL, SYBIL L           25716 CAMBRIDGE CT                                                                            ROSEVILLE           MI 48066‐3876
MITCHELL, SYLVESTER         4102 JAMES LAKE DR                                                                            CONLEY              GA 30288‐1374
MITCHELL, SYLVIA C          8400 ESTERO BLVD APT 703                                                                      FORT MYERS BEACH    FL 33931‐5114
MITCHELL, SYLVIA T          3419 FAYETTEVILLE HWY.                                                                        GRIFFIN             GA 30223‐8013
MITCHELL, T M               5182 N STATE RD                                                                               ALMA                MI 48801‐9713
MITCHELL, TALISHIYA R       3830 TWILIGHT DR                                                                              FLINT               MI 48506‐2523
MITCHELL, TALISHIYA RENEE   3830 TWILIGHT DR                                                                              FLINT               MI 48506‐2523
MITCHELL, TED W             15667 EASTEP RD                                                                               ATHENS              AL 35611‐7339
MITCHELL, TEDDY             998 SLOANE SQUARE                APT B                                                        SAINT LOUIS         MO 63134
MITCHELL, TEMECA R          1209 SIRONIA TRAIL                                                                            MC GREGOR           TX 76657‐4073
MITCHELL, TEMECA RENEE      1209 SIRONIA TRAIL                                                                            MC GREGOR           TX 76657‐4073
MITCHELL, TEMPLE            GREAT PRAIRIE RISK SOLUTIONS     111 S PFINGSTEN RD STE 165                                   DEERFIELD            IL 60015‐4981
MITCHELL, TERRENCE J        13312 S OAK RIDGE TRL APT 2B                                                                  PALOS HEIGHTS        IL 60463‐3044
MITCHELL, TERRENCE J        PO BOX 776                                                                                    COLUMBIA STA        OH 44028‐0776
MITCHELL, TERRENCE L        8 E CREST DR                                                                                  ROCHESTER           NY 14606‐4703
MITCHELL, TERRY A           307 S 4TH ST                                                                                  WEST BRANCH         MI 48661‐1309
MITCHELL, TERRY A           12170 KILLBROCK DR                                                                            FLORISSANT          MO 63033‐5025
MITCHELL, TERRY C           7637 MONROE RD RR #2                                                                          ONSTED              MI 49265
MITCHELL, TERRY E           6635 E 72ND PL                                                                                TULSA               OK 74133‐2741
MITCHELL, TERRY E           LOT 813                          6201 BERT KOUNS INDUSTRIL LOOP                               SHREVEPORT          LA 71129‐5064

MITCHELL, TERRY EUGENE      LOT 813                          6201 BERT KOUNS INDUSTRIL LOOP                               SHREVEPORT          LA   71129‐5064

MITCHELL, TERRY L           31700 N 1800 EAST RD                                                                          ROSSVILLE          IL    60963‐7031
MITCHELL, TERRY L           37 ROSEMERE AVE                                                                               INDIANAPOLIS       IN    46229‐3022
MITCHELL, TERRY L           40324 REMSEN DR                                                                               STERLING HEIGHTS   MI    48313‐5457
MITCHELL, THEODORE          MOODY EDWARD O                   801 W 4TH ST                                                 LITTLE ROCK        AR    72201‐2107
MITCHELL, THEODORE          264 ADAMSON RD                                                                                FITZGERALD         GA    31750‐8255
MITCHELL, THEODORE L        449 WEISS RD                                                                                  SAINT PETERS       MO    63376‐1777
MITCHELL, THEOPLIS          1615 INVERNESS AVE                                                                            LANSING            MI    48915‐1286
MITCHELL, THERESA M         4816 PANORAMA AVE                                                                             HOLIDAY            FL    34690‐5862
MITCHELL, THOMAS            15747 MURRAY HILL ST                                                                          DETROIT            MI    48227‐1909
MITCHELL, THOMAS            2120 MILBOURNE AVE                                                                            FLINT              MI    48504‐7273
MITCHELL, THOMAS A          2317 N HENDERSON RD                                                                           DAVISON            MI    48423‐8169
MITCHELL, THOMAS ALAN       2317 N HENDERSON RD                                                                           DAVISON            MI    48423‐8169
MITCHELL, THOMAS B          3822 S NELSON RD                                                                              ORFORDVILLE        WI    53576‐9502
MITCHELL, THOMAS E          1100 N WASHINGTON AVE                                                                         CRESTLINE          OH    44827‐9471
MITCHELL, THOMAS E          116 STEKOA FALLS RD                                                                           CLAYTON            GA    30525‐5636
MITCHELL, THOMAS J          4926 DEXTER TOWNHALL RD                                                                       DEXTER             MI    48130‐9548
MITCHELL, THOMAS J          51 SCHANCK AVE                                                                                ROCHESTER          NY    14609‐7123
MITCHELL, THOMAS J          PO BOX 11245                                                                                  JACKSON            MS    39283‐1245
MITCHELL, THOMAS J          6003 ESTHER ST                                                                                ROMULUS            MI    48174‐2314
MITCHELL, THOMAS J          8267 W G AVE                                                                                  KALAMAZOO          MI    49009‐8524
MITCHELL, THOMAS J          11506 PENROSE DR                                                                              WARREN             MI    48093‐6441
MITCHELL, THOMAS L          11790 BURKE CT                                                                                BRIGHTON           MI    48114‐9010
MITCHELL, THOMAS M          7914 TRANNIE LANE                                                                             SHREVEPORT         LA    71108‐5030
MITCHELL, THOMAS MARTIN     7914 TRANNIE LANE                                                                             SHREVEPORT         LA    71108‐5030
MITCHELL, TIMOTHY A         7725 LE JEUNE DR                                                                              PENSACOLA          FL    32514‐6530
MITCHELL, TIMOTHY J         9445 S MITTHOEFFER RD                                                                         INDIANAPOLIS       IN    46259‐9504
MITCHELL, TIMOTHY W         1039 1/2 NORTH WASHINGTON AVE.                                                                CRESTLINE          OH    44827
MITCHELL, TINA              DREYER BOYAJIAN LLP              75 COLUMBIA ST                                               ALBANY             NY    12210‐2708
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Name                   Address1                         Address2                    Address3   Address4         City             State Zip
MITCHELL, TODD D       4905 GOODYEAR DR                                                                         DAYTON            OH 45406‐1131
MITCHELL, TOMMY D      16212 LILAC ST                                                                           DETROIT           MI 48221
MITCHELL, TOMOTHY J    3007 JOHN QUIL                                                                           SHREVEPORT        LA 71107
MITCHELL, TONI L       3530 BRANT CT                                                                            TOLEDO            OH 43623‐1825
MITCHELL, TRACY
MITCHELL, TRACY L
MITCHELL, TRAVIS G     5145 MARINER DR                                                                          HUBER HEIGHTS    OH   45424‐5904
MITCHELL, TROY L       3223 STONEGATE DRIVE                                                                     FLINT            MI   48507‐2116
MITCHELL, TROY R       7770 BOY SCOUT ROAD                                                                      MOORINGSPORT     LA   71060
MITCHELL, TYRICE R     739 OXFORD AVENUE                                                                        MATTESON         IL   60443‐1659
MITCHELL, ULYSSES      7955 SMART AVE                                                                           JACKSONVILLE     FL   32219‐3151
MITCHELL, VALETHA D    811 LIDO                                                                                 ROCHESTER HLS    MI   48307‐6805
MITCHELL, VANITA       4229 BROWNELL BLVD                                                                       FLINT            MI   48504‐2126
MITCHELL, VAUGHN G     3811 S YONKERS ST                                                                        BLOOMINGTON      IN   47403‐3917
MITCHELL, VERNA K      3586 OAKCLIFF DR                                                                         FALLBROOK        CA   92028‐9411
MITCHELL, VERNIE J     PO BOX 143                                                                               COMANCHE         TX   76442
MITCHELL, VERONICA L   2701 WILLIAMSBURG CIR                                                                    AUBURN HILLS     MI   48326‐3550
MITCHELL, VERONICA R   29267 HELMAN BLVD                                                                        BROWNSTOWN TWP   MI   48183‐7009
MITCHELL, VICKI D      14416 S HUDSON AVE                                                                       OKLAHOMA CITY    OK   73170
MITCHELL, VINCENT      SIMMONS FIRM                     PO BOX 521                                              EAST ALTON       IL   62024‐0519
MITCHELL, VIRGINIA     13559 INDIANA ST                                                                         DETROIT          MI   48238‐2307
MITCHELL, VIRGINIA     13559 INDIANA                                                                            DETROIT          MI   48238‐2307
MITCHELL, VIRGINIA A   PO BOX 687                                                                               EAST AMHERST     NY   14051‐0687
MITCHELL, W C          994 FAIRVIEW RD                                                                          ELLENWOOD        GA   30294‐2581
MITCHELL, WADDIE L     APT 4                            3681 BERNICE DRIVE                                      SAGINAW          MI   48601‐5909
MITCHELL, WADDIE L     3681 BERNICE DR APT 4                                                                    SAGINAW          MI   48601‐5909
MITCHELL, WALTER       15140 DORCHESTER AVE                                                                     DOLTON           IL   60419‐2942
MITCHELL, WANDA J      3069 MERWOOD DR                                                                          MT MORRIS        MI   48458‐8219
MITCHELL, WARNER M     PO BOX 21                                                                                WILLIAMSBURG     IN   47393‐0021
MITCHELL, WARREN J     2535 W 900 N                                                                             ALEXANDRIA       IN   46001‐8257
MITCHELL, WARREN M     18409 ONYX ST                                                                            SOUTHFIELD       MI   48075‐1812
MITCHELL, WARREN N     5800 CALM LAGOON AVE                                                                     LAS VEGAS        NV   89130‐7218
MITCHELL, WARREN R     6431 WHITE MILL RD                                                                       FAIRBURN         GA   30213‐2541
MITCHELL, WAYMAN E     18313 NEW JERSEY DR                                                                      SOUTHFIELD       MI   48075‐2833
MITCHELL, WAYNE A      51 WOODBINE RD                                                                           LEVITTOWN        PA   19057
MITCHELL, WENDY J      6700 FLAMEWOOD DR                                                                        ARLINGTON        TX   76001‐7824
MITCHELL, WILBUR L     4026 ROBERTS DR                                                                          ANDERSON         IN   46013‐2619
MITCHELL, WILLARD A    1118 HAMILTON FIELD RD                                                                   JAMESTOWN        TN   38556‐6358
MITCHELL, WILLIAM      745 MEADOWGRASS DR                                                                       FLORISSANT       MO   63033‐3814
MITCHELL, WILLIAM      296 GREEN ACRES RD                                                                       TONAWANDA        NY   14150‐7300
MITCHELL, WILLIAM      ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE        MD   21202
                                                        CHARLES CENTER 22ND FLOOR
MITCHELL, WILLIAM A    1266 TRIANGLE DR                                                                         SAINT PETERS     MO   63303‐1243
MITCHELL, WILLIAM C    2605 TRAIL CREEK RD                                                                      EDMOND           OK   73012‐4536
MITCHELL, WILLIAM D    6913 TUSON BLVD APT 1D                                                                   CLARKSTON        MI   48346‐4310
MITCHELL, WILLIAM E    6043 BARTHOLOMEW DR                                                                      HONEOYE          NY   14471‐9532
MITCHELL, WILLIAM E    995 MAPLE ST                                                                             WYANDOTTE        MI   48192‐5606
MITCHELL, WILLIAM E    1990 VENETIAN DR SW                                                                      ATLANTA          GA   30311‐4042
MITCHELL, WILLIAM F    5331 ROYAL AVE                                                                           LEWISBURG        OH   45338
MITCHELL, WILLIAM H    1003 5OTH AVE WEST                                                                       BRADENTON        FL   34205
MITCHELL, WILLIAM H    MOTLEY RICE                      1750 JACKSON ST                                         BARNWELL         SC   29812‐1546
MITCHELL, WILLIAM H    253 FILLMORE ST                                                                          DAYTON           OH   45410‐1638
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Name                              Address1                       Address2            Address3         Address4         City            State Zip
MITCHELL, WILLIAM J               10818 W TROPICANA CIR                                                                SUN CITY         AZ 85351‐2141
MITCHELL, WILLIAM J               4401 CRISSMAN ST                                                                     FLINT            MI 48505‐5336
MITCHELL, WILLIAM J               6100 CEDAR DRIVE                                                                     HUBBARD LAKE     MI 49747‐9677
MITCHELL, WILLIAM J               11110 CORNELL ST                                                                     TAYLOR           MI 48180‐4049
MITCHELL, WILLIAM K               2055 MARIETTA AVE                                                                    LAKE MILTON      OH 44429‐9756
MITCHELL, WILLIAM K               1740 WILSON AVE                                                                      SAGINAW          MI 48638‐4796
MITCHELL, WILLIAM L               406 HANOVER ST                                                                       HUBBARDSTON      MI 48845‐9310
MITCHELL, WILLIAM M               605 N LINWOOD AVE                                                                    INDIANAPOLIS     IN 46201‐2736
MITCHELL, WILLIAM M               799 ROYAL FOREST DR                                                                  AUBURNDALE       FL 33823‐5869
MITCHELL, WILLIAM R               W298S10845 SHADY LN                                                                  MUKWONAGO        WI 53149‐9120
MITCHELL, WILLIAM T               11315 GARFIELD                                                                       REDFORD          MI 48239‐2013
MITCHELL, WILLIAM T               5247 W 200 SOUTH                                                                     DANVILLE         IN 46122
MITCHELL, WILLIE                  223 COLLEGE PARK DR                                                                  ELYRIA           OH 44035‐1627
MITCHELL, WILLIE B                1007 E BOGART RD APT 9A                                                              SANDUSKY         OH 44870‐6409
MITCHELL, WILLIE C                2521 GOLDEN POND LN                                                                  SPRING HILL      TN 37174‐2333
MITCHELL, WILLIE D                5020 N JENNINGS RD                                                                   FLINT            MI 48504‐1139
MITCHELL, WILLIE DORIS            5020 N JENNINGS RD                                                                   FLINT            MI 48504‐1139
MITCHELL, WILLIE E                838 E 144TH ST                                                                       CLEVELAND        OH 44110‐3418
MITCHELL, WILLIE J                3411 WILLOW LAKE DR APT 102                                                          KALAMAZOO        MI 49008
MITCHELL, WILLIE J                3618 S SALINA ST                                                                     SYRACUSE         NY 13205‐1829
MITCHELL, WILLIE L                601 BURMAN AVE                                                                       TROTWOOD         OH 45426‐2718
MITCHELL, WILLIE MAE              PO BOX 691                                                                           ORMOND BEACH     FL 32175‐0691
MITCHELL, WILLIS L                7782 HUNTERS RUN DR                                                                  GERMANTOWN       TN 38138‐2203
MITCHELL, WILMA D                 6217 RAMEY AVE                                                                       FORT WORTH       TX 76112‐8056
MITCHELL, WOODIE                  GUY WILLIAM S                  PO BOX 509                                            MCCOMB           MS 39649‐0509
MITCHELL, YOGI B                  3041 RAPIDS DR                                                                       DECATUR          GA 30034
MITCHELL, YVONNE                  4515 W ALICIA DR                                                                     LAVEEN           AZ 85339‐2300
MITCHELL, YVONNE                  PO BOX 88717                                                                         INDIANAPOLIS     IN 46208‐0717
MITCHELL, YVONNE                  8125 NORTHLAWN ST                                                                    DETROIT          MI 48204‐3293
MITCHELL, YVONNE Y                PO BOX 17093                                                                         DAYTON           OH 45417‐0093
MITCHELL, ZACHARY R               1 N INDEPENDENCE BLVD                                                                NEW CASTLE       DE 19720‐4457
MITCHELL, ZACHARY RAY             1 N INDEPENDENCE BLVD                                                                NEW CASTLE       DE 19720‐4457
MITCHELL, ZANE E                  9137 S BONNEY RD                                                                     CHASE            MI 49623‐8763
MITCHELL, ZANNIE                  1138 FRANKLIN ST SE                                                                  GRAND RAPIDS     MI 49507‐1463
MITCHELL,JOSEPH L                 31 BOCA CT                                                                           TROTWOOD         OH 45426‐3002
MITCHELL,MICHAEL S                1556 STOCKTON AVE                                                                    KETTERING        OH 45409‐1853
MITCHELL,ROBERT J                 3645 1ST AVE                                                                         GROVE CITY       OH 43123
MITCHELL,TODD D                   4905 GOODYEAR DR                                                                     DAYTON           OH 45406‐1131
MITCHELL,TRAVIS G                 5145 MARINER DR                                                                      HUBER HEIGHTS    OH 45424‐5904
MITCHELL‐BENTON, RHONDA R         1291 DONAL DR                                                                        FLINT            MI 48532‐2638
MITCHELL‐BENTON, RHONDA R.        1291 DONAL DR                                                                        FLINT            MI 48532‐2638
MITCHELL‐BRACY, FLORA I           1818 LYNBROOK DR                                                                     FLINT            MI 48507‐2232
MITCHELL‐COLEMAN, RUBY G          2915 BEAU JARDIN DRIVE                                                               LANSING          MI 48910‐5809
MITCHELL‐DORN, KIMBERLY A         15656 S STATE ROUTE 66                                                               DEFIANCE         OH 43512‐8804
MITCHELL‐DORN, KIMBERLY ANN       15656 S STATE ROUTE 66                                                               DEFIANCE         OH 43512‐8804
MITCHELL‐GORECKI, BARBARA J       14234 POPLAR AVE                                                                     GRANT            MI 49327‐9352
MITCHELL‐TUTROW, MARY B           420 WATERVIEW BLVD                                                                   GREENFIELD       IN 46140‐1368
MITCHELL‐WICKENH, BARBARA A       2005 ROXBURY DR                                                                      XENIA            OH 45385‐4914
MITCHELL‐WICKENHOFER, BARBARA A   2005 ROXBURY DR                                                                      XENIA            OH 45385‐4914
MITCHELL1 LLC
MITCHELLA EICKHOLT                16400 BUECHE RD                                                                      CHESANING       MI 48616‐9766
MITCHELLLL, BEULAH                30149 BEECHWOOD                                                                      GARDEN CITY     MI 48135‐2332
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Name                                 Address1                             Address2                        Address3   Address4         City              State Zip
MITCHELLS                            39294 AVONDALE ST                                                                                WESTLAND           MI 48186‐3758
MITCHELLS                            PO BOX 2431                                                                                      NEW YORK           NY 10116‐2431
MITCHELLS                            PO BOX 2756                                                                                      NEW YORK           NY 10116‐2756
MITCHELLS                            ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 2756                                                 NEW YORK           NY 10116‐2756
                                     AGENT
MITCHELLS/LIVONIA                    35958 MIDDLEBORO ST                  P.O. BOX 2186                                               LIVONIA           MI    48154‐5250
MITCHELTREE JR, WILLIAM I            5875 WISE RD                                                                                     HERMITAGE         PA    16148‐7108
MITCHELTREE, EDWARD A                2998 ORANGEVILLE RD.                                                                             SHARPSVILLE       PA    16150‐3916
MITCHELTREE, RICHARD B               875 FAIRFIELD SCHOOL RD                                                                          COLUMBIANA        OH    44408‐1631
MITCHELTREE, ROBERT L                8139 LORAIN ST SE                                                                                MASURY            OH    44438‐1168
MITCHEM JR, CARL                     23741 MASCH AVE                                                                                  WARREN            MI    48091‐4732
MITCHEM JR, DAVID                    1450 VIMLA WAY                                                                                   XENIA             OH    45385‐5732
MITCHEM, BERNIDENE ANDER             2226 CHEVELLE CT                                                                                 ANDERSON          IN    46012‐4711
MITCHEM, CHRISTIE L
MITCHEM, DAN E                       3333 RAVENSWOOD RD LOT 29                                                                        MARYSVILLE        MI    48040‐1131
MITCHEM, DAVID                       115 COE AVE                                                                                      HILLSIDE          NJ    07205‐2830
MITCHEM, DAVID L                     1450 VIMLA WAY                                                                                   XENIA             OH    45385‐5732
MITCHEM, DIANE                       7426 CRICKWOOD PLACE                                                                             INDIANAPOLIS      IN    46268‐4761
MITCHEM, DONALD R                    658 WOODLAWN AVE                                                                                 OWOSSO            MI    48867‐4627
MITCHEM, DOROTHY M                   23741 MASCH AVE                                                                                  WARREN            MI    48091‐4732
MITCHEM, DOROTHY M                   23741 MASCH                                                                                      WARREN            MI    48091‐4732
MITCHEM, EDGAR                       1043 CASSIDY LN                                                                                  PINNACLE          NC    27043‐8484
MITCHEM, FANNIE M                    21 CLARION DR                                                                                    HEMINGWAY         SC    29554‐5500
MITCHEM, FRANKIE A                   100 REDWOOD AVE                                                                                  WILMINGTON        DE    19804‐3822
MITCHEM, HERVEY                      6830 COLLEGE AVE                                                                                 KANSAS CITY       MO    64132‐3002
MITCHEM, HURNDON J                   640 W DEWEY AVE                                                                                  YOUNGSTOWN        OH    44511‐1708
MITCHEM, JAMES E                     5516 BYRAMS FORD RD                                                                              KANSAS CITY       MO    64129‐2635
MITCHEM, JAMES L                     THE LIPMAN LAW FIRM                  5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES      FL    33146
MITCHEM, JAMES L                     MCKENNA & CHIDO                      436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH        PA    15219
                                                                          SUITE 500
MITCHEM, JAMES R                     28 STRASSBURG CIR                                                                                SHREWSBURY        PA    17361‐1827
MITCHEM, MABLE E                     5080 SHIPMAN RD                                                                                  CORUNNA           MI    48817‐9404
MITCHEM, MAXIE                       3000 N 4TH ST LOT 19                                                                             WYTHEVILLE        VA    24382‐4689
MITCHEM, MILTON G                    5080 SHIPMAN RD                                                                                  CORUNNA           MI    48817‐9404
MITCHEM, RICHARD S                   3050 BACK CREEK VALLEY RD                                                                        HEDGESVILLE       WV    25427‐6478
MITCHEM, ROBERT B                    1204 ORCHARD ST                                                                                  OWOSSO            MI    48867‐4919
MITCHEM, RONALD                      WISE & JULIAN                        156 N MAIN ST STOP 1                                        EDWARDSVILLE      IL    62025‐1972
MITCHEM, RONALD SR                   ICO THE LANIER LAW FIRM PC           6810 FM 1960 WEST                                           HOUSTON           TX    77069
MITCHEM, STANLEY G                   641 COSLER DR                                                                                    DAYTON            OH    45403‐3205
MITCHEM, TERREL                      818 N 84TH DR                                                                                    KANSAS CITY       KS    66112‐1808
MITCHEM, THELMA                      433 S CLIVEDEN AVE                                                                               COMPTON           CA    90220‐2841
MITCHEM, VERA M                      1122 MORNINGSIDE DR                                                                              ANDERSON          IN    46011‐2474
MITCHEM, WENDELL D                   45009 PATRICK DR                                                                                 CANTON            MI    48187‐2552
MITCHEN JAMES L                      C/O MCKENNA & CHIODO                 436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH        PA    15219
                                                                          SUITE 500
MITCHEN JAMES L (507036) ‐ MITCHEM   (NO OPPOSING COUNSEL)
JAMES L
MITCHEN, RANDALL W                   6300 GLENVIEW DR                                                                                 FORT WORTH        TX 76180‐8401
MITCHENALL, DAVID R                  47465 ALLIANCE CT                                                                                SHELBY TWP        MI 48315‐4603
MITCHENER DENIS & HELENIA            807 E TANTALLON DR                                                                               FORT WASHINGTON   MD 20744‐5208
MITCHENER WILLIAM L                  MITCHENER, WILLIAM L
MITCHENER, ELIZABETH M               2214 HUMMINGBIRD LANE                                                                            ALEXANDRIA         IN   46001
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Name                             Address1                          Address2                      Address3                Address4                 City              State Zip
MITCHENER, GEORGE W              301 PATRIOTS LNDG                                                                                                COATESVILLE        IN 46121‐8954
MITCHENER, GERALD E              3660 N SYCAMORE DR                                                                                               MARION             IN 46952‐9707
MITCHENER, JAMES L               303 N WILSON ST                                                                                                  FAIRMOUNT          IN 46928‐1645
MITCHENER, LORA C                1000 CASAD ROAD                                                                                                  ANTHONY            NM 88021‐8421
MITCHENER, TINO                  235 BLEDSOE STREET                                                                                               BLOSSOM            TX 75416‐2575
MITCHENER, WILLIAM G             1000 CASAD RD                                                                                                    ANTHONY            NM 88021‐8421
MITCHENOR, CARRIE R              7201 FAY DR                                                                                                      BELLEVILLE         MI 48111‐5318
MITCHEY, THOMAS M                6818 FENWYCK RD APT 6                                                                                            MAUMEE             OH 43537‐9652
MITCHEY, THOMAS M                6818 FENWICK                      6                                                                              MAUMEE             OH 43537
MITCHEY, THOMAS MICHAEL          APT 6                             6818 FENWYCK ROAD                                                              MAUMEE             OH 43537‐9652
MITCHNER II, RODNEY K            1677 LONGFELLOW CT                                                                                               ROCHESTER HILLS    MI 48307‐2926
MITCHNER JR, ROOSEVELT           216 OVERLOOK CIR                                                                                                 JACKSON            MS 39213‐2303
MITCHNER, ADELL                  2160 ARMSTRONG RD                                                                                                MOUNT MORRIS       MI 48458‐2619
MITCHNER, ARLEE                  913 E AUSTIN AVE                                                                                                 FLINT              MI 48505‐2293
MITCHNER, CAROL B                3311 PARKLANE DR                                                                                                 PARMA              OH 44134‐3427
MITCHNER, CHARLES                2214 OWEN ST                                                                                                     SAGINAW            MI 48601‐3477
MITCHNER, DONIELLE D             PO BOX 464572                                                                                                    LAWRENCEVILLE      GA 30042‐4572
MITCHNER, JAMES A                104 W CEDARVIEW CT                                                                                               MOORESVILLE        IN 46158‐7698
MITCHNER, JEFFREY A              2465 FOX RDG                                                                                                     LYONS              MI 48851
MITCHNER, JONATHAN F             344 TROUBADOUR DR                                                                                                SAGAMORE HLS       OH 44067‐3285
MITCHNER, MARTHA A               9731 COMMERCE CENTER CT APT 425                                                                                  FORT MYERS         FL 33908‐1406
MITCHNER, MARTHA A               9731 COMMERCE CENTER CT           APT 425                                                                        FORT MYERS         FL 33908‐1406
MITCHNER, ROOSEVELT              526 CRAPO ST APT 8                                                                                               FLINT              MI 48503‐1977
MITCHNER, SALLY M                1154 FAIROAKS DR                                                                                                 BURTON             MI 48529‐1911
MITCHNER, WILLIAM E              3649 SPARROW FLIGHT DR                                                                                           SEVEN HILLS        OH 44131‐5950
MITCHS AUTO PARTS INC            7400 E MCNICHOLS RD                                                                                              DETROIT            MI 48234‐3935
MITCHUM MICHAEL                  1109 SPANISH TRAIL DR                                                                                            GRANBURY           TX 76048‐1712
MITCHUM WILLARD B (429482)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA 23510
                                                                   STREET, SUITE 600
MITCHUM, DONALD C                2013 PENNYLANE SE                                                                                                DECATUR           AL    35601‐4580
MITCHUM, ELLA M                  153 SAWYER ST                                                                                                    ROCHESTER         NY    14619‐1946
MITCHUM, GWENEVERE               300B PETTINARO DR                 APT 4                                                                          ELKTON            MD    21921
MITCHUM, GWENEVERE               300 PETTINARO DR                  APT 85                                                                         ELKTON            MD    21921‐4248
MITCHUM, GWENEVERE               300 PETTINARO DR                  APT B5                                                                         ELKTON            MD    21921‐4248
MITCHUM, WILLARD B               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA    23510‐2212
                                                                   STREET, SUITE 600
MITCHUN ROBERT                   MITCHUN, ROBERT                   274 COUNTY RD 650                                                              DAYTON             TX   77535
MITCHUN, ROBERT                  274 COUNTY ROAD 650                                                                                              DAYTON             TX   77535‐7654
MITCHUN, ROBERT
MITEC AUTO/EISENACH              RENNBAHN 25                                                                             EISENACH GE 99817
                                                                                                                         GERMANY
MITEC AUTOMOTIVE AG                                                RENNBAHN 25                                           EISENACH,TH,99817,GERM
                                                                                                                         ANY
MITEC AUTOMOTIVE AG              ANDREAS NIKISCH                   RENNBAHN 25                                           EISENACH,THURINGEN
                                                                                                                         GERMANY
MITEC AUTOMOTIVE AG              RENNBAHN 25                                                                             EISENACH TH 99817
                                                                                                                         GERMANY
MITEC JEBSEN AUTOMOTIVE SYSTEM   DALIAN DEVELOPMENT ZONE           AREA NO 56                    DALIAN ECONOMIC &       DALIAN, LIA NING PR
                                                                                                 TECHNICAL DEVELOPMENT   116600 CHINA
                                                                                                 AREA
MITECH PLASTICS CO0RP.           201 MAJOR ST.                                                                           MAPLE ON CANADA
MITECH PLASTICS CORP             201 MAJOR ST.                                                                           MAPLE ON CANADA
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Name                           Address1                      Address2                 Address3           Address4              City                State Zip
MITECH PLASTICS CORP           201 MAJOR ST                                                              WELLAND CANADA ON L3B
                                                                                                         6A9 CANADA
MITEK CORPORATION              4545 E BASELINE RD                                                                              PHOENIX             AZ    85042‐6400
MITEK CORPORATION              CYNDIE NELSON                 MONROE RESEARCH & DEV.   1000 30TH STREET                         FOSTORIA            OH
MITEK RESEARCH & DEVELOPMENT   1000 30TH ST                                                                                    MONROE              WI    53566‐3550
MITEK RESEARCH & DEVELOPMENT   CYNDIE NELSON                 MONROE RESEARCH & DEV.   1000 30TH STREET                         FOSTORIA            OH
MITEK, ANTHONY J               5208 N 199TH AVE                                                                                LITCHFIELD PARK     AZ    85340‐6133
MITERA, DENNIS JAMES           46366 N VALLEY DR                                                                               NORTHVILLE          MI    48167‐1767
MITERA, JOHN P                 3330 S OGEMAW TRL                                                                               WEST BRANCH         MI    48661‐9733
MITERKO, ROBERT J              151 W 6TH AVE                                                                                   ROSELLE             NJ    07203‐1904
MITHAL, PANKAJ                 3240 DUNWOODIE RD                                                                               ANN ARBOR           MI    48105‐4113
MITHCELL
MITHCELL, ERNEST               BILBO CLAUDE V JR             PO BOX 1527                                                        PASCAGOULA         MS    39568‐1527
MITHCELL, MABLE                3738 N. MARKET                                                                                   ST. LOUIS          MO    63113‐3607
MITHEN, MICHAEL R              1625 BINDER RD                                                                                   NATIONAL CITY      MI    48748‐9685
MITHOFER, DONALD S             31509 GILBERT DR                                                                                 WARREN             MI    48093‐1765
MITHUEN STEVEN                 4533 MIRAGE DR                                                                                   CASTLE ROCK        CO    80108‐9040
MITICH, ELIZABETH J            1001 SHADOW CIR                                                                                  LEAGUE CITY        TX    77573
MITICH, ELIZABETH J            301 CREEKSIDE DRIVE                                                                              LEAGUE CITY        TX    77573‐1755
MITIGATION SOLUTIONS, LLC
MITILINEOS, ANTHONY A          59 W SCHUBERT AVE                                                                                GLENDALE HEIGHTS   IL    60139‐2405
MITKO, GERTRUDE                320 CASTLE DR APT 63                                                                             BETHEL PARK        PA    15102‐3170
MITKO, GERTRUDE                320 CASTLE DRIVE #63                                                                             BETHEL PARK        PA    15102
MITKOSKI, BRANKO               2578 ORMSBY DR                                                                                   STERLING HTS       MI    48310‐6971
MITKOWSKI, ROBERT M            28 BRANDEIS RD                                                                                   PARLIN             NJ    08859‐1203
MITKUS, MARGARET A             8460 S OCTAVIA AVE                                                                               BRIDGEVIEW         IL    60455‐1725
MITKUS, VACYS                  5989 DRIFTWOOD                                                                                   WEST BLOOMFIELD    MI    48322‐1075
MITLEFF JR, TONY               20277 FARM HILL RD                                                                               HARRISBURG         AR    72432‐8487
MITLEFF, JOHN T                4506 HEMLOCK RD                                                                                  GLENNIE            MI    48737‐9713
MITLEFF, SAMMY J               20595 DISTRESS CREEK RD                                                                          HARRISBURG         AR    72432‐8485
MITMAN II, ROBERT D            3170 MILLSBORO RD E                                                                              MANSFIELD          OH    44903‐8781
MITMAN, DAVID J                25301 CUMBERLAND PL                                                                              BLACK DIAMOND      WA    98010‐9507
MITMAN, ROBERT J               1075 WOODS VIEW COURT                                                                            MIAMISBURG         OH    45342‐3889
MITO ISUZU MOTORS LTD.         2‐5, GOKENCHO 1‐CHOMEMITO                                                 SAPPORO JAPAN
MITOFF, ROBERT D               4976 SILVERADO AVE                                                                               BANNING            CA    92220‐7106
MITORAJ, ALMA E                3891 W THENDARA DR                                                                               GLADWIN            MI    48624‐9269
MITORAJ, ANN M                 3421 HAWTHORNE DR                                                                                FLINT              MI    48503‐4548
MITORAJ, CHESTER J             3891 W THENDARA DR                                                                               GLADWIN            MI    48624‐9269
MITORAJ, DANIEL J              1864 S SHORE DR                                                                                  ROCHESTER HILLS    MI    48307‐4346
MITORAJ, EDWARD J              7057 LEAF CIR                                                                                    MOUNT MORRIS       MI    48458‐9461
MITORAJ, JOHN M                12209 WILSON RD                                                                                  MONTROSE           MI    48457‐9427
MITORAJ, NATALIE A             1864 S SHORE DR                                                                                  ROCHESTER HILLS    MI    48307‐4346
MITORAJ, WILLIAM J             3891 W THENDARA DR                                                                               GLADWIN            MI    48624
MITORY, JOSEPH R               415 CHULA VISTA AVE                                                                              LADY LAKE          FL    32159‐5654
MITOS, ANNA H                  284 BARNSLEY AVE                                                                                 MORRISVILLE        PA    19067‐2248
MITOSINKA, ANTHONY V           4405 E‐M 21 RT#1                                                                                 CORUNNA            MI    48817
MITOSINKA, JOSEPH M            7841 TWINS DR                                                                                    WATERFORD          MI    48329‐4644
MITOSINKA, JOSEPH R            8354 E M‐21                                                                                      CORUNNA            MI    48817
MITOSINKA, LEBOR A             7450 LYTLE RD                                                                                    CORUNNA            MI    48817‐9516
MITOSINKA, RICHARD A           2500 N GEECK RD                                                                                  CORUNNA            MI    48817‐9709
MITOVICH JR, NICHOLAS          1299 JULIA DR SW                                                                                 WARREN             OH    44481‐9630
MITOVICH, DANIEL P             2608 LYDIA ST SW                                                                                 WARREN             OH    44481‐9622
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Name                       Address1                          Address2                          Address3                    Address4         City                State Zip
MITRA, KAUSIK P            610 GLEN CIR                                                                                                     ROCHESTER HLS        MI 48307‐2909
MITRA, RANA                20062 TWIN OAKS DR                                                                                               HAMMOND              LA 70403
MITRAK, RICHARD S          350 E RISING ST                                                                                                  DAVISON              MI 48423‐1614
MITRANI RYNOR ADAMSKY &    MACAULAY PA                       1 SE 3RD AVE                      2200 SUNTRUST INTL CENTER                    MIAMI                FL 33131‐1701

MITRANO, CONCETTA          18 DREXEL DR                                                                                                     ROCHESTER           NY   14606‐5306
MITRANO, JAMES A           38 WATERFORD WAY                                                                                                 FAIRPORT            NY   14450‐9748
MITRANO, JOHN L            17 FOX HOLLOW DR                                                                                                 HAMLIN              NY   14464‐9304
MITRANO, KATHLEEN G        27 TWIN OAK DR                                                                                                   ROCHESTER           NY   14606‐4405
MITRANO, PHYLLIS M         23 CREEKSIDE DR                                                                                                  ROCHESTER           NY   14622‐2301
MITRANO, THOMASINE         14 HICKORY LN                                                                                                    SPENCERPORT         NY   14559‐2512
MITRANO, THOMASINE A       14 HICKORY LN                                                                                                    SPENCERPORT         NY   14559‐2512
MITRATECH HOLDINGS INC     5900 WILSHIRE BLVD STE 1500                                                                                      LOS ANGELES         CA   90036‐5031
MITRATECH HOLDINGS, INC.   ATTN: PRESIDENT                   3539 MOTOR AVE                                                                 LOS ANGELES         CA   90034‐4806
MITRAVICH, ANTHONY E       PO BOX 95                                                                                                        SMITHS GROVE        KY   42171‐0095
MITRAVICH, ANTHONY E       3356 KAMI DR                                                                                                     BOWLING GREEN       KY   42104‐4636
MITRAVICH, WILLIAM D       2416 FALLS ST                                                                                                    NIAGARA FALLS       NY   14303‐1912
MITREGA, ANNA R            1981 SAINT FRANCIS AVE                                                                                           NILES               OH   44446‐4543
MITREVSKI, DRAGAN          44 BATTLE GREEN DR                                                                                               ROCHESTER           NY   14624‐4952
MITRI BIBI                 19350 FARMINGTON RD                                                                                              LIVONIA             MI   48152‐1405
MITRI HADDAD               5344 CORNELL ST                                                                                                  DEARBORN HTS        MI   48125‐2144
MITRI, CATHERINE A         54909 WOODCREEK BLVD                                                                                             SHELBY TWP          MI   48315‐1401
MITRIK, PAUL               102 MIDDLEBORO CIR                                                                                               FRANKLIN            TN   37064‐4931
MITRIS, NICHOLAOS          55 WALNUT HILL DR                                                                                                PENFIELD            NY   14526‐9542
MITROFF, MARY Y            C/O YVONNE SHU                    4308 IVY LANE                                                                  GLENVIEW            IL   60026
MITROFF, MARY Y            4308 IVY LN                       C/O YVONNE SHU                                                                 GLENVIEW            IL   60026‐1087
MITROFF, MIKE S            703 N A ST                                                                                                       ELWOOD              IN   46036‐1420
MITROPOULOS, STAVROS D     11239 PATTY ANN LN                                                                                               BRUCE TWP           MI   48065‐5303
MITROPOULOS‐RUNDUS,DAVID   2657 BALMORAL CT                                                                                                 ANN ARBOR           MI   48103‐2204
MITROUSIDIS, GEORGIOS      156 SAINT JAMES DR                                                                                               WEBSTER             NY   14580‐2245
MITROVIC, MILAN            13709 JANA LEI AVE                                                                                               BONNER SPRINGS      KS   66012‐2102
MITROVICH JR, LAWRENCE     3531 BEAGLE DR                                                                                                   COMMERCE TWP        MI   48382‐1809
MITROVICH, BERNARD         720 1ST ST NW                                                                                                    NAPLES              FL   34120‐2005
MITROVICH, BRIDGET P       715 BUCKEYE DR                                                                                                   SHARPSVILLE         PA   16150‐8319
MITROVICH, BRIDGET P       715 BUCKEYE ST                                                                                                   SHARPSVILLE         PA   16150‐8319
MITROVICH, LAWRENCE        27795 DEQUINDRE RD APT 330                                                                                       MADISON HEIGHTS     MI   48071‐5718
MITROVICH, PATRICIA A      3531 BEAGLE DR                                                                                                   COMMERCE TOWNSHIP   MI   48382
MITROVICH, VICTORIA M      32 SANDBERG WAY                                                                                                  WARREN              OH   44483‐4483
MITROVKA, ROSEMARY D       C/O ALLEN DALE ASSISTANT LIVING   2200 MILTON BLVD                                                               NEWTON FALLS        OH   44444‐4444
MITROVKA, ROSEMARY D       2200 MILTON BLVD                  C/O ALLEN DALE ASSISTANT LIVING                                                NEWTON FALLS        OH   44444‐8746

MITROWSKI JR, ALEXANDER    555 PROSPECT AVE                                                                                                 N TONAWANDA         NY   14120‐4218
MITROWSKI, MICHAEL J       738 HERNANDEZ DRIVE                                                                                              LADY LAKE           FL   32159‐8765
MITRU, HELEN L             3368 SHANNON RD                                                                                                  BURTON              MI   48529‐1831
MITRU, JUDITH L            7405 CALKINS RD                                                                                                  FLINT               MI   48532‐3007
MITRU, LAURIE A            3368 SHANNON RD                                                                                                  BURTON              MI   48529‐1831
MITRU, PERRY P             21000 WILSON ST                                                                                                  GRAND BLANC         MI   48439‐7202
MITSCH WANDA               9825 COUNTRY ROAD 19                                                                                             ROGERS              MN   55374
MITSCHANG, DAVID H         41 MAYFIELD AVE                                                                                                  TONAWANDA           NY   14150‐9201
MITSCHANG, DAVID H.        41 MAYFIELD AVE                                                                                                  TONAWANDA           NY   14150‐9201
MITSCHANG, LILLIAN M       89‐A FOXBERRY DR                                                                                                 GETZVILLE           NY   14068‐1020
MITSCHANG, LILLIAN M       89A FOXBERRY DR                                                                                                  GETZVILLE           NY   14068‐1020
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Name                                Address1                         Address2                         Address3                     Address4                   City           State Zip
MITSCHE, LUCY F                     5600 MOCKINGBIRD LN APT B202                                                                                              GREENDALE       WI 53129‐1448
MITSCHER, HERBERT A                 3902 RAINBOW VIEW DR                                                                                                      INDIANAPOLIS    IN 46221‐2811
MITSCHKE, GEORGE
MITSCHKE, KURT M                    14275 LARKSPUR DR                                                                                                         SHELBY TWP     MI 48315‐1425
MITSCHKE, THERESA M                 1828 FLAGSTONE CIR                                                                                                        ROCHESTER      MI 48307‐6095
MITSKI PIEKENBROCK                  THOMAS PIEKENBROCK               FELDSTR 54                                                    40479 DUSSELDORF
                                                                                                                                   GERMANY
MITSOCK, THOMAS E                   35 HEMLOCK DR                                                                                                             PARLIN         NJ    08859‐1117
MITSOPOULOS, CONSTANTINE G          11361 MEADOWOOD DR                                                                                                        BRIGHTON       MI    48114‐9204
MITSU AUTO REPAIR                   1277 ATLANTIC ST                                                                                                          UNION CITY     CA    94587‐2002
MITSUB SOUTH/NORCROS                2999 PACIFIC DR STE F                                                                                                     NORCROSS       GA    30071‐1872
MITSUBA BARDSTOWN INC               TONY BELL                        C/O JH ROSE LOGISTICS LLC        2800 AIRPORT ROAD, SUITE G                              BROWNSVILLE    TX    78521

MITSUBA BARDSTOWN INC               375 BASALTIC RD                                                                                CONCORD ON L4K 4W8
                                                                                                                                   CANADA
MITSUBA BARDSTOWN INC               PROLONGACION HERMANOS 7151‐C                                                                   CIUDAD JUAREZ CI 32320
                                                                                                                                   MEXICO
MITSUBA BARDSTOWN INC               901 WITHROW CT                                                                                                            BARDSTOWN       KY   40004‐2605
MITSUBA BARDSTOWN INC               630 METTS DR                                                                                                              LEBANON         KY   40033‐1908
MITSUBA CORP                        1‐2681 HIROSAWACHO                                                                             KIRYU GUNMA 376‐0013
                                                                                                                                   JAPAN
MITSUBA CORP                        375 BASALTIC RD                                                                                CONCORD ON L4K 4W8
                                                                                                                                   CANADA
MITSUBA CORP                        630 METTS DR                                                                                                              LEBANON         KY   40033‐1908
MITSUBA CORP                        901 WITHROW CT                                                                                                            BARDSTOWN       KY   40004‐2605
MITSUBA CORP                        DENNIS GARRONE                   C/O TRICO                        1995 BILLY MITCHELL BLVD.    QUERETARO QA 76120
                                                                                                                                   MEXICO
MITSUBA CORP                        PROLONGACION HERMANOS 7151‐C                                                                   CIUDAD JUAREZ CI 32320
                                                                                                                                   MEXICO
MITSUBA CORP                        TONY BELL                        901 WITHROW CT                                                                           TIPTON          IN   46072
MITSUBA CORP                        TONY BELL                        C/O JH ROSE LOGISTICS LLC        2800 AIRPORT ROAD, SUITE G                              BROWNSVILLE     TX   78521

MITSUBA CORP                        TONY BELL                        C/O VALEO ELECTRICAL SYSTEMS I   5A ZANE GREY                                            LIVINGSTON     TN 38570

MITSUBA CORP                        TONY BELL X5321                  C/O LEAR CORPORATION CANADA      375 BASALTIC ROAD            TORONTO ON CANADA

MITSUBISHI
MITSUBISHI CHEMICAL CORP            4‐14‐1 SHIBA                                                                                   MINATO‐KY TOKYO JP 108‐
                                                                                                                                   0014 JAPAN
MITSUBISHI CHEMICAL CORP            4‐14‐1 AHIBA                     MINATO‐KY                                                     TOKYO 108‐0014 JAPAN
MITSUBISHI CHEMICAL HOLDINGS CORP   4‐14‐1 AHIBA                     MINATO‐KY                                                     TOKYO 108‐0014 JAPAN

MITSUBISHI CLIMATE CONTROL          TOM KANYOK                       790 COMMERCE DRIVE                                                                       JACKSON        TN
MITSUBISHI CORP                                                      MITSUBISHI SHOJI BLDG 2‐3‐1                                   CHIYODA KU TOKYO,JP,100‐
                                                                                                                                   0005,JAPAN
MITSUBISHI CORP                     1719 E HAMILTON RD                                                                                                        BLOOMINGTON     IL   61704‐9607
MITSUBISHI CORP                     BUMPERS FARM IND EST                                                                           CHIPPENHAM WILTS GB
                                                                                                                                   SN14 6NF GREAT BRITAIN
MITSUBISHI CORP                     CLIFF WASMUND                    1719 E HAMILTON RD               FREUDENBERG‐NOK                                         BLOOMINGTON     IL   61704‐9607
MITSUBISHI CORP                     KEVIN MALONEY                    2609 W. COLLEGE AVE                                           CHICOUTIMI QC CANADA
MITSUBISHI CORP                     MITSUBISHI SHOJI BLDG 2‐3‐1                                                                    CHIYODA KU, TO 100‐0
                                                                                                                                   JAPAN
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Name                                  Address1                              Address2                         Address3                Address4                  City               State Zip
MITSUBISHI CORPORATION                6‐3 MARUONOUCHI                       2‐CHOME, CHIYODA‐KU                                      TOKYO 100‐8086 JAPAN
MITSUBISHI EDM                        1500 MICHAEL AVENUE                                                                                                      WOOD DALE          IL    60191
MITSUBISHI ELEC AUTOMATION INC        MITSUBISHI EAI                        500 CORPORATE WOODS PKWY                                                           VERNON HILLS       IL    60061‐3108
MITSUBISHI ELEC MFC                   CINCINNATI                            1705 DOWNING DR                                                                    MAYSVILLE          KY    41056‐8683
MITSUBISHI ELEC. MFC CINCINNAT        MARK LEHRKE                           1705 DOWNING DR.                                                                   NEW PHILADELPHIA   OH    44663
MITSUBISHI ELECTRIC                   AUTOMOTIVE AMERICA                    15603 CENTENNIAL DR                                                                NORTHVILLE         MI    48168‐8690
MITSUBISHI ELECTRIC
MITSUBISHI ELECTRIC AUSTRALIA P/L     348 VICTORIA RD                                                                                RYDALMERE NS 2116
                                                                                                                                     AUSTRALIA
MITSUBISHI ELECTRIC AUTO AMERI        15603 CENTENNIAL DR                                                                                                      NORTHVILLE         MI    48168‐8690
MITSUBISHI ELECTRIC AUTO AMERICA      15603 CENTENNIAL DR                                                                                                      NORTHVILLE         MI    48168‐8690
MITSUBISHI ELECTRIC AUTO MFG          MARK LEHRKE                           4773 BETHANY ROAD                                                                  STERLING HEIGHTS   MI    48312
MITSUBISHI ELECTRIC AUTOMOTIVE AMER   4773 BETHANY RD                                                                                                          MASON              OH    45040‐8344

MITSUBISHI ELECTRIC AUTOMOTIVE AMER 1705 DOWNING DR                                                                                                            MAYSVILLE           KY   41056‐8683

MITSUBISHI ELECTRIC CORP                                                    TOKYO BLDG 12F 2‐7‐3                                     TOKYO,JP,100‐0005,JAPAN
MITSUBISHI ELECTRIC CORP              102 S SCIENCE AVE LAGUNA TECHNOPARK                                                            LAGUNA PH 4026
                                                                                                                                     PHILIPPINES
MITSUBISHI ELECTRIC CORP              15603 CENTENNIAL DR                                                                                                      NORTHVILLE          MI 48168‐8690
MITSUBISHI ELECTRIC CORP              1705 DOWNING DR                                                                                                          MAYSVILLE           KY 41056‐8683
MITSUBISHI ELECTRIC CORP              348 VICTORIA RD                                                                                RYDALMERE NS 2116
                                                                                                                                     AUSTRALIA
MITSUBISHI ELECTRIC CORP              4773 BETHANY RD                                                                                                          MASON              OH 45040‐8344
MITSUBISHI ELECTRIC CORP              840 CHIYODAMACHI                                                                               HIMEJI HYOGO 670‐0993
                                                                                                                                     JAPAN
MITSUBISHI ELECTRIC CORP              DAVE MCLENAGHAN                       AM PRIME PARK 9                                                                    VANDALIA           OH 45377
MITSUBISHI ELECTRIC CORP              MARK LEHRKE                           1705 DOWNING DR.                                                                   NEW PHILADELPHIA   OH 44663
MITSUBISHI ELECTRIC CORP              MARK LEHRKE                           4773 BETHANY ROAD                                                                  STERLING HEIGHTS   MI 48312
MITSUBISHI ELECTRIC CORP              MARK LEHRKE                           EMAIL AKASE@HIME.MELCO.CO.JP     840 CHIYODA‐MACHI                                 VAN NUYS           CA

MITSUBISHI ELECTRIC CORP              TOKYO BLDG 12F 2‐7‐3                                                                           TOKYO 100‐0005 JAPAN
MITSUBISHI ELECTRIC EUROPE            DAVE MCLENAGHAN                       AM PRIME PARK 9                                                                    VANDALIA           OH 45377
MITSUBISHI ELECTRIC EUROPE B V        GOTHAER STR 8                                                                                  RATINGEN 40880
MITSUBISHI ENGINE NORTH AMER
MITSUBISHI ENGINE NORTH AMERICA INC   1250 N GREENBRIAR DR STE E                                                                                               ADDISON             IL   60101‐1098

MITSUBISHI HEAVY                      1200 N MITSUBISHI PKWY                ATTN SCOTT TERRELL                                                                 FRANKLIN            IN   46131‐7560
MITSUBISHI HEAVY CLIMATE CONTR        HIDEKI YAMAMOTO                       1200 N MITSUBISHI PKWY           C/O MITSUBISHI HEAVY                              FRANKLIN            IN   46131‐7560
                                                                                                             INDUSTRIE
MITSUBISHI HEAVY CLIMATE CONTR        HIDEKI YAMAMOTO                       C/O MITSUBISHI HEAVY INDUSTRIE   1200 N MITSUBISHI PKY                             CLEVELAND          OH 44125

MITSUBISHI HEAVY IND                  CLIMATE CONTROL INC                   1200 N MITSUBISHI PKWY                                                             FRANKLIN            IN   46131‐7560
MITSUBISHI HEAVY INDUSTRIES           22 KOYO‐CHO                                                                                    MATSUSAKA CITY JP 515‐
                                                                                                                                     0053 JAPAN
MITSUBISHI HEAVY INDUSTRIES           300 GALLERIA OFFICE CENTRE            SUITE 314                                                                          SOUTHFIELD          MI 48034
MITSUBISHI HEAVY INDUSTRIES AM        1250 N GREENBRIAR DR STE B                                                                                               ADDISON             IL 60101‐1098
MITSUBISHI HEAVY INDUSTRIES AMERICA   1225 N GREENBRIAR DR STE B                                                                                               ADDISON             IL 60101‐6108
INC
MITSUBISHI HEAVY INDUSTRIES CL        YUKA SATO                             1200 MITSUBISHI PARKWAY                                                            WALKERTON           IN
MITSUBISHI HEAVY INDUSTRIES CLIMATE   1200 N MITSUBISHI PKWY                                                                                                   FRANKLIN            IN   46131‐7560
                                    09-50026-mg              Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
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Name                                Address1                               Address2                           Address3                Address4                 City               State Zip
MITSUBISHI HEAVY INDUSTRIES LTD     THOMAS KANYOK                          6555 18 MILE RD                                                                     STERLING HEIGHTS    MI 48314
MITSUBISHI HEAVY INDUSTRIES LTD     1200 NORTH MITSUBSHI PARKWAY                                                                                               FRANKLIN            IN 46131
MITSUBISHI HEAVY INDUSTRIES LTD
MITSUBISHI HEAVY INDUSTRIES LTD                                            2‐16‐5 KONAN                                               MINATO‐KU
                                                                                                                                      TOKOYO,JP,108‐
                                                                                                                                      0075,JAPAN
MITSUBISHI HEAVY INDUSTRIES LTD     1200 N MITSUBISHI PKWY                                                                                                     FRANKLIN            IN   46131‐7560
MITSUBISHI HEAVY INDUSTRIES LTD     1250 N GREENBRIAR DR STE B                                                                                                 ADDISON             IL   60101‐1098
MITSUBISHI HEAVY INDUSTRIES LTD     2‐16‐5 KONAN                                                                                      MINATO‐KU TOKOYO 108‐
                                                                                                                                      0075 JAPAN
MITSUBISHI HEAVY INDUSTRIES LTD     22 KOYO‐CHO                                                                                       MATSUSAKA CITY JP 515‐
                                                                                                                                      0053 JAPAN
MITSUBISHI HEAVY INDUSTRIES LTD     3000 TANA SAGAMIHARA                                                                              KANAGAWA 229‐1193
                                                                                                                                      JAPAN
MITSUBISHI HEAVY INDUSTRIES LTD     HIDEKI YAMAMOTO                        1200 N MITSUBISHI PKWY             C/O MITSUBISHI HEAVY                             FRANKLIN            IN   46131‐7560
                                                                                                              INDUSTRIE
MITSUBISHI HEAVY INDUSTRIES LTD     HIDEKI YAMAMOTO                        C/O MITSUBISHI HEAVY INDUSTRIE     1200 N MITSUBISHI PKY                            CLEVELAND          OH 44125

MITSUBISHI HEAVY INDUSTRIES LTD     TOM KANYOK                             790 COMMERCE DRIVE                                                                  JACKSON            TN
MITSUBISHI HEAVY INDUSTRIES LTD     YUKA SATO                              1200 MITSUBISHI PARKWAY                                                             WALKERTON          IN
MITSUBISHI INTERNATIONAL CORP       46992 LIBERTY DR                                                                                                           WIXOM              MI 48393‐3601
MITSUBISHI MATERIALS CORP           1‐5‐1 OTEMACHI CHIYODA‐KU                                                                         TOKYO 100‐0004 JAPAN
MITSUBISHI MATERIALS CORP           1751 ARCADIA DR                                                                                                            COLUMBUS            IN   47201‐8712
MITSUBISHI MATERIALS CORP           JOHN BENKARSKI X16                     1751 ARCADIA DR                    PLANSEE MITSUBISHI                               COLUMBUS            IN   47201‐8712
                                                                                                              MATERIALS
MITSUBISHI MATERIALS CORP           JOHN BENKARSKI X16                     PLANSEE MITSUBISHI MATERIALS       1751 ARCADIA DRIVE      CHACHAPA PU 72990
                                                                                                                                      MEXICO
MITSUBISHI MATERIALS USA CORP       17401 EASTMAN                                                                                                              IRVINE             CA 92614‐5523
MITSUBISHI MOTOR SALES OF AMERICA   6400 KATELLA AVE                                                                                                           CYPRESS            CA 90630‐5208
INC
MITSUBISHI RAYON CO LTD             1‐6‐41 KONAN MINATO‐KU                                                                            TOKYO 106‐8506 JAPAN
MITSUBISHI RAYON CO., LTD.          1‐6‐41 KONAN MINATO‐KU                                                                            TOKYO 106‐8506 JAPAN
MITSUBISHI/EUROPE                   AM PRIME PARC 9                        HESSEN                                                     RAUNHEIM GE 65479
                                                                                                                                      GERMANY
MITSUBISHI/FRANKLIN                 1200 N MITSUBISHI PKWY                                                                                                     FRANKLIN           IN    46131‐7560
MITSUBISHI/GREENWOOD                1200 N MITSUBISHI PKWY                                                                                                     FRANKLIN           IN    46131‐7560
MITSUBISHI/ITASCA                   907 W IRVING PARK RD                                                                                                       ITASCA             IL    60143‐2023
MITSUBISHI/NEW YORK                 520 MADISON AVE.                                                                                                           NEW YORK           NY    10022
MITSUBISHI/NORTHVILL                15603 CENTENNIAL DR                                                                                                        NORTHVILLE         MI    48168‐8690
MITSUBISHI/SOUTHFLD                 655 3RD AVE # NYC‐CDA                                                                                                      NEW YORK           NY    10017‐5617
MITSUBOSHI BELTING LTD              4‐1‐21 HAMAZOEDORI NAGATA‐KU                                                                      KOBE HYOGO 653‐0024
                                                                                                                                      JAPAN
MITSUBOSHI BELTING LTD              601 E DAYTON RD                                                                                                            OTTAWA             IL    61350‐9535
MITSUBOSHI BELTING LTD              MATT ROTTMAN                           CHEMI FLEX DIVISION                601 DAYTON ROAD                                  FORT LORAMIE       OH    45845
MITSUI & CO LTD                     17500 LAUREL PARK DR. SUITE 210 EAST                                                                                       LIVONIA            MI    48152
MITSUI & CO LTD                     JOHN COLOSIMO                          17500 LAUREL PARK DR. SUITE 210E                                                    LIVONIA            MI    48152

MITSUI & CO LTD
MITSUI & CO LTD                     1‐2‐1 OTEMACHI                                                                                    CHIYODA‐KU TOKYO 100‐
                                                                                                                                      8631 JAPAN
MITSUI & CO LTD                     JUSTIN CLIFFORD                        15415 SHELBYVILLE RD                                                                LOUISVILLE         KY    40245‐4137
MITSUI & CO LTD                     JUSTIN CLIFFORD                        RTE 1 & US STE 42                                                                   GHENT              KY    41045
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Name                               Address1                             Address2                   Address3         Address4               City                State Zip
MITSUI & CO LTD                    KELLY SHANNON                        15415 SHELBYVILLE RD                                               LOUISVILLE           KY 40245‐4137
MITSUI & CO LTD                    KELLY SHANNON                        RTE 1 & US STE 42                                                  GHENT                KY 41045
MITSUI & CO USA INC                1000 TOWN CTR STE 1900                                                                                  SOUTHFIELD           MI 48075‐1235
MITSUI & CO USA INC                1001 4TH AVE STE 4000                                                                                   SEATTLE              WA 98154‐1007
MITSUI & CO. (U.S.A.), INC.        ATTENTION: GENERAL MANAGER, POWER    200 PARK AVENUE                                                    NEW YORK             NY 10166
                                   & TRANSPORTATION PROJECT
                                   DEPARTMENT
MITSUI & CO. (USA) INC             ATTN: GENERAL COUNSEL                200 PARK AVENUE                                                    NEW YORK            NY 10166
MITSUI & COMPANY (U.S.A.), INC.    MET LIFE BUILDING, 200 PARK AVENUE                                                                      NEW YORK            NY 10166
MITSUI AUTO STEEL CANADA INC       16 CHERRY BLOSSOM RD                                                             CAMBRIDGE CANADA ON
                                                                                                                    N3H 4R7 CANADA
MITSUI BUSSAN AUTOMOTIVE INC.      HONGO MK BLDG. 6F                                                                TOKYO JAPAN
MITSUI HIGH‐TECH USA INC           1500 E HIGGINS RD STE B                                                                                 ELK GROVE VILLAGE    IL   60007‐1633
MITSUI MINING & SMELTING CO LTD    1‐11‐1 OSAKI                                                                     SHINAGAWA‐KU TOKYO
                                                                                                                    141‐8584 JAPAN
MITSUI MINING & SMELTING CO LTD    BRIAN SIMS                           1025 BARACHEL LANE                                                 GREENBURG            IN   47240
MITSUI MINING & SMELTING CO LTD    1025 BARACHEL LN                                                                                        GREENSBURG           IN   47240‐1269
MITSUI MINING & SMELTING CO LTD    1030 HOOVER BLVD                                                                                        FRANKFORT            KY   40601‐9791
MITSUI MINING & SMELTING CO LTD    MICHAEL BEHM                         PO BOX 507                 MITSUI KINZOKU                          GREENSBURG           IN   47240‐0507
MITSUI O.S.K. LINES LTD.           1‐1 TORANOMON                        2‐CHOME                                     MINATO‐KU TOKYO 105‐
                                                                                                                    8688 JAPAN
MITSUI O.S.K. LINES LTD.           JOSEPH GITTO                         437 MADISON AVE                                                    NEW YORK            NY    10022
MITSUI OSK BULK SHIPPING USA INC   1 EXCHANGE PL STE 900                                                                                   JERSEY CITY         NJ    07302‐3919
MITSUI STEEL INC                   1000 TOWN CTR STE 1900                                                                                  SOUTHFIELD          MI    48075‐1235
MITSUKO HANKINSON                  1017 E NORTH ST                                                                                         KOKOMO              IN    46901‐3147
MITSUKO NAKATA                     979 FEDORA ST                                                                                           LOS ANGELES         CA    90006‐1415
MITSUMI ELECTRIC CO LTD            2‐11‐2 TSURUMAKI                                                                 TAMA TOKYO 206‐8567
                                                                                                                    JAPAN
MITSUMI ELECTRONICS CORP           JACK MADDOX                          40000 GRAND RIVER                                                  NOVI                MI    48375
MITSUMI ELECTRONICS CORPORATION    STE 200                              40000 GRAND RIVER AVENUE                                           NOVI                MI    48375‐2110
MITSURU ERWIN                      10625 QUAIL RUN RD                                                                                      MIDWEST CITY        OK    73130‐7058
MITSURU KOBAYASHI                  1300 HEATHERWOODE RD                                                                                    FLINT               MI    48532‐2335
MITT, NICHOLAS S                   3849 PAYNE AVE                                                                                          SAN JOSE            CA    95117‐3415
MITTAG, STEVE                      739 E SQUARE LAKE RD                                                                                    TROY                MI    48085‐3106
MITTAL DESAI                       11315 CHEYENNE TRL APT 303                                                                              CLEVELAND           OH    44130‐9025
MITTAL, BRENDA M                   7360 VAN NESS RD                                                                                        HUBBARD             OH    44425‐9755
MITTAL, BRENDA M                   7360 VAN NESS AVE                                                                                       HUBBARD             OH    44425‐9755
MITTAL, ROBERT J                   3007 VALLEY VIEW RD                                                                                     SHARPSVILLE         PA    16150‐9033
MITTAL, STEVEN P                   2455 TROUT ISLAND ROAD                                                                                  HERMITAGE           PA    16148‐7321
MITTAN JR, IRVIN E                 1520 BARK LANE DR                                                                                       FREMONT             OH    43420‐4003
MITTANK, SANDRA L                  1200 S HENDRICKS AVE TRLR 42                                                                            MARION              IN    46953‐1285
MITTE, FRANK D                     438 S MAIN ST                                                                                           TERRYVILLE          CT    06786‐6808
MITTEER, NANCY H                   1414 CEDARWOOD DR                                                                                       FLUSHING            MI    48433‐1809
MITTEER, RICHARD A                 407 LABIAN DR                                                                                           FLUSHING            MI    48433‐1745
MITTEL, WILLIAM I                  6531 SE FEDERAL HWY APT F111                                                                            STUART              FL    34997‐8367
MITTELBERGER‐CHRISTINE             LAUBEN NO 153                                                                    I39012 MERAN ITALY
MITTELDEUTSCHE A. H. GMBH          FELDSTRASSE 3                                                                    AHRENSFELDE 16356
                                                                                                                    GERMANY
MITTELHAUSER CORP                  1240 IROQUOIS AVE STE 206                                                                               NAPERVILLE          IL    60563‐8538
MITTELMAN JULIUS                   8 HEMPTOR RD                                                                                            NEW CITY            NY    10956‐2509
MITTELSTADT, ALFRED W              2396 HESS RD                                                                                            APPLETON            NY    14008‐9639
MITTELSTADT, BARBARA J             2396 HESS RD                                                                                            APPLETON            NY    14008‐9639
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Name                          Address1                          Address2                        Address3   Address4                 City              State Zip
MITTELSTADT, ERIC             18822 RIVER WIND LN                                                                                   DAVIDSON           NC 28036‐8878
MITTELSTADT, R S              35720 STRONGFORD DR                                                                                   NEW BALTIMORE      MI 48047‐5867
MITTELSTADT, R STEVEN         35720 STRONGFORD DR                                                                                   NEW BALTIMORE      MI 48047‐5867
MITTELSTADT, ROY L            47085 ROMEO PLANK RD                                                                                  MACOMB             MI 48044‐2808
MITTELSTADT, SANDRA J         1115 N COUNTRY CLUB DR                                                                                CRYSTAL RIVER      FL 34429‐9005
MITTELSTAEDT, ANNE M          505 S EDISON AVE                                                                                      ROYAL OAK          MI 48067‐3976
MITTELSTAEDT, GUENTHER K      7305 TAMPA AVE                                                                                        RESEDA             CA 91335‐2462
MITTELSTAEDT, MELVIN E        5002 W 3000 S                                                                                         OGDEN              UT 84401‐9798
MITTELSTAEDT, RONALD B        2541 HIGHLAND HILLS DR                                                                                EL DORADO HILLS    CA 95762‐5606
MITTELSTAEDT, SANDRA N        2200 MEADOWLAKE RD APT 606                                                                            CONWAY             AR 72032‐2543
MITTEN FLUIDPOWER INC         PO BOX 2877                       5960 COURT ST RD                                                    SYRACUSE           NY 13220‐2877
MITTEN PAUL                   MITTEN, PAUL                      201 ALHAMBRA CIR STE 705                                            CORAL GABLES       FL 33134‐5108
MITTEN, ARNELLA E             4096 N 200 W                                                                                          GREENFIELD         IN 46140‐8686
MITTEN, ARNELLA E             4096 N. 200W                                                                                          GREENFIELD         IN 46140‐8686
MITTEN, PAUL
MITTEN, RAYMOND R             8539 ALWARDT DR                                                                                       STERLING HTS      MI 48313‐4800
MITTEN, ROBERTA               7515 REUBEN RD                                                                                        BASOM             NY 14013‐9788
MITTENBERG, WILEY
MITTENDORF CHARLES (446442)   KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                       CLEVELAND         OH 44114
                                                                BOND COURT BUILDING
MITTENDORF, CHARLES           KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                        CLEVELAND         OH 44114
                                                                BOND COURT BUILDING
MITTENDORF, DONALD E          13450 W COUNTY ROAD 800 N                                                                             GASTON            IN   47342‐9374
MITTENDORF, HARRY R           100 WILLOW BROOK WAY S APT 2013                                                                       DELAWARE          OH   43015‐3245
MITTENDORF, JOHN R            5872 MACKENZIE RD                                                                                     NORTH OLMSTED     OH   44070‐4211
MITTENDORF, MICHAEL L         2829 MORGAN TRL                                                                                       MARTINSVILLE      IN   46151‐6696
MITTENDORF, STANLEY D         2243 FORESTLAKE DR                                                                                    CINCINNATI        OH   45244‐2802
MITTER, CHARLES R             19924 WINSTON ST                                                                                      DETROIT           MI   48219‐1039
MITTER, GUY L                 201 ARUNDEL RD W                                                                                      BROOKLYN          MD   21225‐2622
MITTER, GUY L                 201 W ARUNDEL RD                                                                                      BALTO             MD   21225‐2622
MITTER, RALPH L               2500 SPRUCE LOOP                                                                                      CROSSVILLE        TN   38555‐3827
MITTERBAUER BETEILIGUNGS‐AG   DR MITTERBAUER STRASSE 1                                                     VORCHDORF AT 4655
                                                                                                           AUSTRIA
MITTERBAUER BETEILIGUNGS‐AG   J B CMARIK X326                   SELVVIQ DE TEV 20‐25                       SHANGHAI 2000433 CHINA
                                                                                                           (PEOPLE'S REP)
MITTICA, FRANK R              1507 HUTCHINS DR                                                                                      KOKOMO            IN   46901‐1900
MITTICA, PAULINE              444A NEW HAVEN WAY                                                                                    MONROE TOWNSHIP   NJ   08831‐1710
MITTIE ARBERRY                76 N MARSHALL ST                                                                                      PONTIAC           MI   48342‐2950
MITTIE BOWMAN                 3608 GARDEN SPRINGS DR                                                                                FORT WORTH        TX   76123‐2372
MITTIE BUCKNER                19154 DEQUINDRE ST                                                                                    DETROIT           MI   48234‐1208
MITTIE CARTER                 6619 S COUNTY ROAD 139                                                                                JOINER            AR   72350‐3405
MITTIE FROST                  13502 MEYERS RD                                                                                       DETROIT           MI   48227‐3916
MITTIE GOMILLION              2608 RAMBLING WAY                                                                                     BLOOMFIELD        MI   48302‐1040
MITTIE GRIER                  2547 ELKHORN DR                                                                                       DECATUR           GA   30034‐2721
MITTIE LESTER                 7300 STONEWALL RD                                                                                     FOREST HILL       TX   76140‐2534
MITTIE LYNN                   1005 WOODBROOK ST                                                                                     ARLINGTON         TX   76011‐5009
MITTIE MITCHELL               2601 W 8 MILE RD                                                                                      DETROIT           MI   48203‐4604
MITTIE R NICHOLS              1306 S MERIDIAN RD                                                                                    YOUNGSTOWN        OH   44511‐1137
MITTIE UPSHAW                 5362 ASHFORD RIDGE RD                                                                                 WESTERVILLE       OH   43081‐6005
MITTIE W UPSHAW               5362 ASHFORD RIDGE RD                                                                                 WESTERVILLE       OH   43081
MITTIGA JR, FRANK             14709 STATE HIGHWAY 37                                                                                MASSENA           NY   13662‐3150
MITTIGA, JEFFREY P            832 MAPLE RIDGE RD                                                                                    BRASHER FALLS     NY   13613‐3268
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Name                     Address1                       Address2                        Address3               Address4           City               State Zip
MITTISON, PATRICK D      20537 WOODBURN DR                                                                                        SOUTHFIELD          MI 48075‐7580
MITTLER, DALE E          918 GLENWOOD DRIVE                                                                                       MURFREESBORO        TN 37129‐1824
MITTLER, TERRY L         8728 N CRAWFORD AVE                                                                                      KANSAS CITY         MO 64153‐1432
MITTLER, WILLIAM V       4575 SLEEPY HOLLOW RD                                                                                    MEDINA              OH 44256‐8334
MITTLESTADT, LIONEL J    8944 E PICTURESQUE DR                                                                                    GREENWOOD           LA 71033‐2000
MITTLESTAT, MELVIN G     5743 BAY CITY FORESTVILLE RD                                                                             CASS CITY           MI 48726‐9431
MITTLESTEADT, ROBERT M   724 DOGWOOD CT APT A                                                                                     LEBANON             OH 45036‐9829
MITTLIEDER, CLAYTON D    2267 E BUDER AVE                                                                                         BURTON              MI 48529‐1775
MITTNACHT LAURA          13 W 13TH ST APT 4CS                                                                                     NEW YORK            NY 10011‐7930
MITTNACHT, EUGENE        4404 CHURCH RD                                                                                           MOUNT LAUREL        NJ 08054‐2208
MITTNACHT, LAURA V       13 WEST 13TH ST.               4CS                                                                       NEW YORK            NY 10011
MITTNER, KATHLEEN        7825 54TH AVE N APT 210                                                                                  ST PETERSBURG       FL 33709‐2347
MITTON, DENNIS W         PO BOX 465                                                                                               VERNON              MI 48476‐0465
MITTON, DENNIS WAYNE     PO BOX 465                                                                                               VERNON              MI 48476‐0465
MITTON, ROBERT H         4787 SEBASTIAN CT                                                                                        NORTH CHARLESTON    SC 29405‐6762
MITTON, THOMAS E         3728 HEATHWOOD E                                                                                         WHITE LAKE          MI 48383‐3552
MITTOWER, CARMEL N       1721 JOHN D DR                                                                                           KOKOMO              IN 46902‐4478
MITTS, ANDREW J          1709 SHADE TREE CT                                                                                       SWANSEA              IL 62226‐7581
MITTS, ANDREW JOEL       1709 SHADE TREE CT                                                                                       SWANSEA              IL 62226‐7581
MITTS, DONNA M           31335 CHURCHILL DR                                                                                       BEVERLY HILLS       MI 48025‐5228
MITTS, JAMES A           31335 CHURCHILL DR                                                                                       BEVERLY HILLS       MI 48025‐5228
MITTS, JAMES E           2700 MARFITT RD                APT 105                                                                   EAST LANSING        MI 48823‐6338
MITTS, KURT J            APT 101                        836 GOLF DRIVE                                                            PONTIAC             MI 48341‐2383
MITTS, ORA J             4188 NORTH HERRINGTON ROAD                                                                               WEBBERVILLE         MI 48892‐8704
MITTS, ORA J             4188 N HERRINGTON RD                                                                                     WEBBERVILLE         MI 48892
MITTS, ROSS C            5327 MAPLETREE DR                                                                                        FLINT               MI 48532‐3333
MITTS, SHIRLEY           1892 MORGAN SPRINGS RD                                                                                   DAYTON              TN 37321‐7464
MITTWEDE, ROBIN M        11813 RUGGED OAK DR                                                                                      LIVE OAK            TX 78233‐2853
MITTY SATKOWIAK          11 LYDIA HAUN RD                                                                                         WILLIAMSBURG        KY 40769‐9463
MITULINSKY, ANN H        918 GARY AVE                                                                                             GIRARD              OH 44420‐1940
MITUSEV ATANAS           MITUSEV, ATANAS                LACKMAN FIRESTONE LAW OFFICES   357 BAY ST , STE 401   TORONTO ONTARIO
                                                                                                               M5H2T7 CANADA
MITUSEV ATANAS           MITUSEV, JULIE                 LACKMAN FIRESTONE LAW OFFICES   357 BAY ST , STE 401   TORONTO ONTARIO
                                                                                                               M5H2T7 CANADA
MITUSEV ATANAS           MITUSEV, RADA                  LACKMAN FIRESTONE LAW OFFICES   357 BAY ST , STE 401   TORONTO ONTARIO
                                                                                                               M5H2T7 CANADA
MITUSEV ATANAS           MITUSEV. YOVAN                 LACKMAN FIRESTONE LAW OFFICES   357 BAY ST , STE 401   TORONTO ONTARIO
                                                                                                               M5H2T7 CANADA
MITUSEV ATANAS           MITUSEV, ATANAS                357 BAY ST , STE 401                                   TORONTO ONTARIO
                                                                                                               M5H2T7 CANADA
MITUSEV ATANAS           MITUSEV, JULIE                 357 BAY ST , STE 401                                   TORONTO ONTARIO
                                                                                                               M5H2T7 CANADA
MITUSEV ATANAS           MITUSEV, RADA                  357 BAY ST , STE 401                                   TORONTO ONTARIO
                                                                                                               M5H2T7 CANADA
MITUSEV ATANAS           MITUSEV. YOVAN                 357 BAY ST , STE 401                                   TORONTO ONTARIO
                                                                                                               M5H2T7 CANADA
MITUTA, ANDRES V         3878 FORESTER BLVD                                                                                       AUBURN HILLS       MI   48326‐3051
MITUTA, ANDRES VICTOR    3878 FORESTER BLVD                                                                                       AUBURN HILLS       MI   48326‐3051
MITUTA, RICARDO L        PO BOX 9022                    C/O GM JAPAN‐ISUZU                                                        WARREN             MI   48090‐9022
MITUTOYO AMERICA CORP    965 CORPORATE BLVD                                                                                       AURORA             IL   60502‐9176
MITUVER, LUCAS
MITZ, FLOYD              APT 2                          625 BARNARD STREET                                                        LANSING            MI 48912‐1100
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Name                               Address1                             Address2                        Address3       Address4         City           State Zip
MITZ, FLOYD                        326 W GRAND RIVER AVE                                                                                LASING          MI 48906
MITZ, KENNETH M                    132 CANTERBURY ST SW                                                                                 WYOMING         MI 49548‐1123
MITZAK, JOYCE V                    4225 BRENAU AVE APT 4                                                                                KETTERING       OH 45429‐2935
MITZEL JOHN                        MITZEL, JOHN                         2325 GRANT BUILDING 310 GRANT                                   PITTSBURGH      PA 15219
                                                                        STREET
MITZEL RONALD                      MITZEL, RONALD                       CITIZENS INSURANCE              PO BOX 15149                    WORCESTER      MA O1615
MITZEL WILLIAM                     10435 GRIFFON DR NW                                                                                  ALBUQUERQUE    NM 87114‐1550
MITZEL, CLARA J                    10330 W THUNDERBIRD BLVD APT A‐103                                                                   SUN CITY       AZ 85351‐3003

MITZEL, DARRELL F                  4456 REGENCY RD                                                                                      SWARTZ CREEK   MI   48473‐8807
MITZEL, EVELYN A                   APT 924                              7101 CHASE OAKS BOULEVARD                                       PLANO          TX   75025‐5914
MITZEL, JAMES C                    4280 SW 8TH WAY                                                                                      OKEECHOBEE     FL   34974‐7617
MITZEL, JANET D                    12 LILA LN                                                                                           FLORISSANT     MO   63033‐5406
MITZEL, JOAN M                     2564 FOX HILLS DR                                                                                    SHELBY TWP     MI   48316‐2723
MITZEL, JOHN                       GORBERG DAVID J & ASSOCIATES         2325 GRANT BUILDING 310 GRANT                                   PITTSBURGH     PA   15219
                                                                        STREET
MITZEL, ROBIN G                    117 WALKER DR                                                                                        BATTLE CREEK   MI   49017‐8833
MITZEL, RONALD                     46936 EDGEWATER DR                                                                                   MACOMB         MI   48044‐3597
MITZEL, RONALD                     CITIZENS INSURANCE                   PO BOX 15149                                                    WORCESTER      MA   01615‐0149
MITZEL, WILLIAM J                  2282 SODOM HUTCHINGS RD                                                                              VIENNA         OH   44473‐4473
MITZELFELD, THOMAS H               2101 GRAYSON PLACE                                                                                   FALLS CHURCH   VA   22043‐1650
MITZELMAN, TODD J                  4 BAY HILL CT                                                                                        WESTAMPTON     NJ   08060‐4716
MITZI A FERGUSON MACKEY            PO BOX 411583                                                                                        CHARLOTTE      NC   28241‐1583
MITZI BRADY                        308 E GENESEE ST                                                                                     DURAND         MI   48429‐1404
MITZI D'ALESIO                     2941 WHISPERING PINES DR                                                                             CANFIELD       OH   44406‐9649
MITZI DELAY                        1402 ACKLEN AVE                                                                                      NASHVILLE      TN   37212‐3915
MITZI EVANS                        1057 HORNBEAM ST                                                                                     OVIEDO         FL   32765‐6030
MITZI FERGUSON MACKEY              PO BOX 411583                                                                                        CHARLOTTE      NC   28241‐1583
MITZI J LAKES                      729 RED DEER LN                                                                                      MIAMISBURG     OH   45342
MITZI KIMBRELL                     19333 EDGEWOOD RD                                                                                    ATHENS         AL   35614‐5927
MITZI LOWERY                       1181 NAPA RDG                                                                                        CENTERVILLE    OH   45458‐6018
MITZI PEACOCK                      1363 PEMBROKE LANE                                                                                   OXFORD         MI   48371‐5925
MITZI S EVANS                      1057 HORNBEAM ST                                                                                     OVIEDO         FL   32765‐6030
MITZI S LOWERY                     1181 NAPA RIDGE                                                                                      CENTERVILLE    OH   45458‐2476
MITZI SPADE                        6924 NEBRASKA AVE                                                                                    TOLEDO         OH   43615‐4131
MITZI VINING                       PO BOX 430093                                                                                        PONTIAC        MI   48343‐0093
MITZI, GEORGIE                     6026 W SYLVANIA AVE                                                                                  TOLEDO         OH   43623‐2542
MITZI, GEORGIE,                    6026 W SYLVANIA AVE                                                                                  TOLEDO         OH   43623‐2542
MITZIE CLARK                       43457 RIVERGATE DR                                                                                   CLINTON TWP    MI   48038‐1352
MITZIE HARPER                      1850 N. CLAYTON ROAD                                                                                 BROOKVILLE     OH   45309‐9389
MITZIE LEE                         418 BROADWAY AVE                                                                                     DYERSBURG      TN   38024‐4014
MITZIGA, GLENN J                   18078 BLUE HERON DR W                                                                                NORTHVILLE     MI   48168‐9235
MITZIGA, GLENN JOSEPH              18078 BLUE HERON DR W                                                                                NORTHVILLE     MI   48168‐9235
MITZNER, KATHLEEN L                18685 N OAK CT                                                                                       CLINTON TWP    MI   48038‐2095
MITZNER, WALTER G                  19055 MARISA DR                                                                                      CLINTON TWP    MI   48038‐2273
MITZOK, HOLLY M                    8101 BLOOMSBURY CIR                                                                                  NORTHVILLE     MI   48167‐9498
MIU, EDWARD V                      2065 TALL TREES LN                                                                                   THE VILLAGES   FL   32162‐1239
MIVELAZ, LARRY E                   1169 SUGAR LN                                                                                        COLLIERVILLE   TN   38017‐8623
MIVRAG COLD FORMING TECHNOLOGY LTD 105 MATTHEW WARREN DR                FRMLY MIVRAG SCREW MFG LTD                                      CLINTON        TN   37716‐6587

MIVUMBI, JEAN B                    4881 FAR HILLS AVE APT D2                                                                            KETTERING      OH 45429‐2337
MIX, ALBERT R                      8182 N COCHRAN RD                                                                                    GRAND LEDGE    MI 48837‐9437
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Name                    Address1                      Address2                 Address3                Address4         City              State Zip
MIX, ARLENE B           184 LAKE HILL DR                                                                                FLORA              MS 39071‐9639
MIX, ARNOLD             2660 SWETT RD                                                                                   LYNDONVILLE        NY 14098‐9750
MIX, AZEL J             3624 RAVEN AVE SW                                                                               WYOMING            MI 49509‐3832
MIX, CONNIE M           317 CHESSER PARK DR                                                                             CHELSEA            AL 35043‐8213
MIX, DAVID A            5416 W 8TH STREET RD                                                                            ANDERSON           IN 46011‐9106
MIX, DONALD G           8840 BARNES DR                                                                                  JONES              OK 73049‐7347
MIX, DORIS H            5 DORSET RD                                                                                     MANCHESTER         NJ 08759‐6819
MIX, ELAINE             3624 RAVEN SW                                                                                   WYOMING            MI 49509‐3832
MIX, ELAINE             3624 RAVEN AVE SW                                                                               WYOMING            MI 49509‐3832
MIX, ELAINE J           1412 DEL WEBB BLVD W                                                                            SUN CITY CENTER    FL 33573‐5226
MIX, EVA S              798 N PEASE RD                                                                                  VERMONTVILLE       MI 49096‐9563
MIX, HAROLD L           12542 S. US 35                                                                                  GALVESTON          IN 46932
MIX, HAZEL C            3346 SAPPHIRE LANE                                                                              FORT GRATIOT       MI 48059
MIX, JACQUELINE R       622 S LAKE ST                                                                                   CADILLAC           MI 49601‐2102
MIX, JOE                3025 WOLCOTT ST                                                                                 FLINT              MI 48504‐3255
MIX, JOHN G             317 CHESSER PARK DR                                                                             CHELSEA            AL 35043‐8213
MIX, JOSEPH S           1825 NORTH DUCK CREEK ROAD                                                                      NORTH JACKSON      OH 44451‐9613
MIX, KEVIN T            9672 RIVERSIDE DR                                                                               GRAND LEDGE        MI 48837‐9275
MIX, LAWRENCE A         622 S LAKE ST                                                                                   CADILLAC           MI 49601‐2102
MIX, LEROY E            15301 BOICHOT RD                                                                                LANSING            MI 48906‐1225
MIX, LINDA A            9672 RIVERSIDE DR                                                                               GRAND LEDGE        MI 48837
MIX, LOUIS P            3004 PALO ALTO DR NE                                                                            ALBUQUERQUE        NM 87111‐5631
MIX, MARGARET A         1615 STATE ROUTE 14                                                                             DEERFIELD          OH 44411‐8739
MIX, MARGARET A         1615 ST. RT. 14                                                                                 DEERFIELD          OH 44411‐8739
MIX, MICHAEL F          2399 EAST 16 ROAD                                                                               MANTON             MI 49663‐9717
MIX, MICHAEL F          2399 EM 42                                                                                      MANTON             MI 49663
MIX, PAUL A             PO BOX 357                                                                                      JONES              OK 73049‐0357
MIX, RENARD E           10748 WEST STATE ROAD 32                                                                        YORKTOWN           IN 47396‐9703
MIX, ROBERT D           4365 SHELBY BASIN RD                                                                            MEDINA             NY 14103‐9514
MIX, RONALD E           192 FORESTWOOD DR                                                                               NORTHFIELD         OH 44067‐1921
MIX, ROYCE W            1036 E 22ND AVE                                                                                 COLUMBUS           OH 43211‐2125
MIX, SCOTT C            1211 CAVALCADE DR                                                                               YOUNGSTOWN         OH 44515‐3841
MIX, TERRY              CURTIN & HEEFNER              250 N PENNSYLVANIA AVE                                            MORRISVILLE        PA 19067‐1104
MIX, THOMAS R           717 DUNLAP ST                                                                                   LANSING            MI 48910‐2836
MIX, VALERIE
MIX, VELDA L            12542 S. US 35                                                                                  GALVESTON         IN   46932
MIX, VIOLET V           12316 NANTUCKET DR                                                                              SOUTH LYON        MI   48178‐8517
MIX, WARREN M           909 MARINA VILLAGE PKWY       #155                                                              ALAMEDA           CA   94501
MIX, WILLIAM E          490 ADAM ST                                                                                     TONAWANDA         NY   14150‐1804
MIX, WILLIAM H          2041 ADELPHA AVE                                                                                HOLT              MI   48842
MIXA, ROBERT D          5321 S NOCTURNE LN                                                                              SHELBY TWP        MI   48316‐5236
MIXDORF, EVELYN M       4177 N LINDEN RD                                                                                FLINT             MI   48504‐1351
MIXDORF, EVELYN MARIE   4177 N LINDEN RD                                                                                FLINT             MI   48504‐1351
MIXEN, CHARLES F        641 SALERNO DR                                                                                  DELTONA           FL   32725‐8449
MIXEN, EUNICE           641 SALERNO DR                                                                                  DELTONE           FL   32725‐8449
MIXER, DARWIN A         5628 CORTLAND CIR                                                                               BAY CITY          MI   48706‐5629
MIXER, KEVIN W          9000 PEPPERIDGE CT                                                                              PLYMOUTH          MI   48170‐3343
MIXER,KEVIN W           9000 PEPPERIDGE CT                                                                              PLYMOUTH          MI   48170‐3343
MIXES COPY SHOP         304 FORD BLDG                                                                                   DETROIT           MI   48226
MIXING EQUIP/FRMNGTN    C/O MATTOON & LEE EQUIPMENT   INC.                     23943 INDUSTRIAL PARK                    FARMINGTON        MI   48024
                                                                               DRIVE
MIXON JR, RANDY W       1417 N PARK DR                                                                                  MEDWAY            OH 45341‐1249
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Name                          Address1                            Address2                      Address3   Address4               City               State Zip
MIXON JR, ROOSEVELT           37413 STONEGATE CIR                                                                                 CLINTON TOWNSHIP    MI 48036‐2965
MIXON ROB                     MIXON, ROB                          424 COALBROOK DR                                                NORMAN              OK 73071‐2123
MIXON SIDNEY G (405405)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MIXON TAYLOR JR               PO BOX 214207                                                                                       AUBURN HILLS       MI   48321‐4207
MIXON, ANTHONY                5163 HOMEWOOD AVE                                                                                   MAPLE HEIGHTS      OH   44137‐2201
MIXON, AUDREY L               28 DAY PL                                                                                           ROCHESTER          NY   14608‐2623
MIXON, BARBARA E              16039 GREEN SPRINGS DR                                                                              RENO               NV   89511‐8161
MIXON, BERNICE W              2835 LIVSEY DR                                                                                      TUCKER             GA   30084‐2577
MIXON, DEJUAN C
MIXON, DENISE Y               PO BOX 19427                                                                                        CLEVELAND          OH   44119‐0427
MIXON, DOCK L                 6170 BERMUDA LN                                                                                     MOUNT MORRIS       MI   48458‐2623
MIXON, FREIDA F               1943 WYBOO AVE                                                                                      MANNING            SC   29102‐7834
MIXON, FREIDA F               1943 WYDOO AVE                                                                                      MANNING            SC   29102
MIXON, GLADYS C               295 PROMINENT LOOP                                                                                  MCDONOUGH          GA   30253‐2058
MIXON, IRVIN                  23930 EDINBURGH ST                                                                                  SOUTHFIELD         MI   48033‐4892
MIXON, JACQUELINE A           15711 TRACEY ST                                                                                     DETROIT            MI   48227‐3345
MIXON, JAMES D                2703 AVONDALE CT SE                                                                                 DECATUR            AL   35601‐6734
MIXON, JERRY L                15711 TRACEY ST                                                                                     DETROIT            MI   48227‐3345
MIXON, JOHN H                 289 SHADYWOOD DR                                                                                    DAYTON             OH   45415‐1237
MIXON, JOHN M                 10009 BEACONSFIELD ST                                                                               DETROIT            MI   48224‐2534
MIXON, MICHAEL J              4415 MCCANDLISH RD                                                                                  GRAND BLANC        MI   48439‐1805
MIXON, NORMAN S               2005 NELSON ST SE                                                                                   DECATUR            AL   35601‐5231
MIXON, ODESSA                 3109 BELMONT CT                                                                                     JACKSONVILLE       NC   28546‐6981
MIXON, RANDY W                213 GILBERT AVE                                                                                     FAIRBORN           OH   45324‐3310
MIXON, RICKY H                127 BULLDOG CIR                                                                                     FITZGERALD         GA   31750‐6513
MIXON, ROB                    424 COALBROOK DR                                                                                    NORMAN             OK   73071‐2123
MIXON, ROBERT H               16039 GREEN SPRINGS DR                                                                              RENO               NV   89511‐8161
MIXON, ROOSEVELT              19625 MAGNOLIA PKWY                                                                                 SOUTHFIELD         MI   48075‐7311
MIXON, ROSE M                 5640 21ST AVE E                                                                                     TUSCALOOSA         AL   35405‐5208
MIXON, ROSEMARY               3800 RICHFIELD RD APT 517                                                                           FLINT              MI   48506‐2661
MIXON, RUTH A                 910 E 8TH ST                                                                                        CHANDLER           OK   74834‐3000
MIXON, RUTH L                 19625 MAGNOLIA PKWY                                                                                 SOUTHFIELD         MI   48075‐7311
MIXON, SAMUEL S               2401 13TH ST SE                                                                                     DECATUR            AL   35601‐5307
MIXON, SIDNEY G               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
MIXON, WALTER W               3130 CENTENNIAL CT                                                                                  HOWELL             MI   48843‐8837
MIXON, WILLA                  7283 101ST ST                                                                                       FLUSHING           MI   48433‐8706
MIXON, WILLIAM HUNTER         COBB SHEALY CRUM & DERRICK          206 N LENA ST                                                   DOTHAN             AL   36303‐4429
MIXON, WILLIAM HUNTER         HOOPER J SCOTT                      PO BOX 230894                                                   MONTGOMERY         AL   36123‐0894
MIXTER, HELEN L               7720 DRESDEN AVENUE                                                                                 PARMA              OH   44129‐2806
MIXTER, THOMAS
MIYACHI UNITEK CORP           1820 S MYRTLE AVE                                                                                   MONROVIA           CA   91016‐4833
MIYACHI UNITEK CORPORATRION   1820 S MYRTLE AVE                                                                                   MONROVIA           CA   91016‐4833
MIYAHARA, LELAND Y            1127 CROYDEN DR                                                                                     DAYTON             OH   45420‐2271
MIYASATO, JAMES M             PO BOX 8134                                                                                         LOS ANGELES        CA   90008‐0134
MIYAZAWA, TAKAO K             3529 MILLAY DR                                                                                      TROY               MI   48083‐5208
MIYAZU SEISAKUSHO CO LTD      3‐24‐1 SENGOKU OIZUMI MACHI                                                  GUNMA 370‐0533 JAPAN
MIYLER TERRY (494020)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MIYLER, TERRY                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
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Name                     Address1                            Address2                        Address3   Address4         City            State Zip
MIYOKO BROTHERS          1887 PEARCE CIR                                                                                 SALEM            OH 44460‐1861
MIYOKO PARRA             4805 FISHBURG ROAD                                                                              DAYTON           OH 45424‐5304
MIYOKO ZYNDA             13230 E 13 MILE RD                                                                              WARREN           MI 48088‐3121
MIZAK, EUGENE C          4176 MCCANDLISH RD                                                                              GRAND BLANC      MI 48439‐1802
MIZAR MOTORS INC         6003 BENORE RD                                                                                  TOLEDO           OH 43612‐3905
MIZE DAVID               6880 W ALEXANDRIA RD                                                                            MIDDLETOWN       OH 45042‐9210
MIZE GEORGE N (467030)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                             STREET, SUITE 600
MIZE JAMES G (429483)    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                             STREET, SUITE 600
MIZE JOSEPH H (492079)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                             PROFESSIONAL BLDG
MIZE JR, GEORGE N        2375 TIN BILL RD                                                                                CARO            MI 48723‐9498
MIZE JR, WILLIE          4910 MIAMI LN                                                                                   FLINT           MI 48504‐2054
MIZE MARION W (467031)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                             STREET, SUITE 600
MIZE, ALCONIA            795 SULPHUR HOLLOW ROAD                                                                         TAZEWELL        TN   37879‐5186
MIZE, ALYCE B            2308 TIMSBURY WAY                                                                               SANTA MARIA     CA   93455‐1209
MIZE, BARRY W            3071 FIRESTONE CIR                                                                              INDIANAPOLIS    IN   46234‐1768
MIZE, CLIFTON E          C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                      EDWARDSVILLE    IL   62025
                         ROWLAND PC
MIZE, DALE W             2335 SLOAN RD                                                                                   BIRCH RUN       MI   48415‐8935
MIZE, DAVID C            6880 W ALEXANDRIA RD                                                                            MIDDLETOWN      OH   45042‐9210
MIZE, DIANA S            2049 COURTLAND AVENUE                                                                           CINCINNATI      OH   45212‐3009
MIZE, DIANA SUE          2049 COURTLAND AVENUE                                                                           CINCINNATI      OH   45212‐3009
MIZE, DONELL             6617 MOSS CIR                                                                                   INDIANAPOLIS    IN   46237‐2937
MIZE, ELOUISE M          773 DUCHESS ST                                                                                  MILFORD         MI   48381‐1103
MIZE, ELOUISE M          480 ROWE RD                                                                                     MILFORD         MI   48380‐2510
MIZE, ELSIE              36844 ARLENE DR                                                                                 STERLING HTS    MI   48310‐4311
MIZE, ETTA B             2591 S GLEN CV                                                                                  MARTINSVILLE    IN   46151‐6159
MIZE, EUEL G             1660 E BROAD ST                                                                                 GREENSBORO      GA   30642‐2384
MIZE, FRANK              2105 N CARRIAGE LN                                                                              MUNCIE          IN   47304‐9595
MIZE, FREDIE C           913 BEECH DR                                                                                    GREENWOOD       IN   46142‐4150
MIZE, GEORGE A           2175 OAK HILL RD                                                                                DAYTON          TN   37321‐5252
MIZE, GEORGE E           1352 W COUNTY LINE RD                                                                           INDIANAPOLIS    IN   46217‐5247
MIZE, GEORGE N           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                             STREET, SUITE 600
MIZE, GEORGE T           795 SULPHUR HOLLOW RD                                                                           TAZEWELL        TN   37879‐5186
MIZE, GERALD A           39785 DEEPWOOD ST                                                                               CANTON          MI   48188‐1529
MIZE, HARRY A            2308 TIMSBURY WAY                                                                               SANTA MARIA     CA   93455‐1209
MIZE, JAMES A            484 N HOWARD RD                                                                                 GREENWOOD       IN   46142‐3837
MIZE, JAMES G            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                             STREET, SUITE 600
MIZE, JAMES L            1234 SWEETWATER CIR                                                                             LAWRENCEVILLE   GA   30044‐3144
MIZE, JASON ALAN         7042 CALKINS RD                                                                                 FLINT           MI   48532‐3001
MIZE, JAYLYN A           1990 GARDEN DR                                                                                  GAINESVILLE     GA   30507‐5016
MIZE, JIMMY R            546 CONTINENTAL CIR                                                                             DAVISON         MI   48423‐8570
MIZE, JOHN D             8978 MARTZ PAULIN RD                                                                            CARLISLE        OH   45005‐4028
MIZE, JOHN M             525 RADBURN DR                                                                                  INDIANAPOLIS    IN   46214‐2641
MIZE, JOHNNY             4256 N COUNTY ROAD 1025 E                                                                       INDIANAPOLIS    IN   46234‐9022
MIZE, JOHNNY H           160 MIZE RD                                                                                     PULASKI         TN   38478‐8458
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Name                        Address1                            Address2                       Address3   Address4         City              State Zip
MIZE, JOSEPH H              BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                                PROFESSIONAL BLDG
MIZE, KENNETH               700 W BEL AIR AVE APT 316                                                                      ABERDEEN          MD   21001‐5400
MIZE, LARRY E               21928 HIGHWAY 11 N                                                                             MANSFIELD         GA   30055‐2210
MIZE, LAWRENCE J            53 TOUCHSTONE                                                                                  LAKE OSWEGO       OR   97035‐1903
MIZE, LYNN M                5161 JACKSON RD                                                                                FLINT             MI   48506‐1017
MIZE, MARION W              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510
                                                                STREET, SUITE 600
MIZE, MARJORIE L            945 ALAN DR                                                                                    LAKE ORION        MI   48362‐2804
MIZE, MICHAEL P             10807 COUNTY ROAD 19                                                                           HEFLIN            AL   36264‐4453
MIZE, ORA L                 126 MALLARD CIR                                                                                SOMERSET          KY   42503‐6302
MIZE, RAY                   913 MULLINIX RD                                                                                GREENWOOD         IN   46143‐8657
MIZE, REBECCA L             2606 WINDING OAKS DR                                                                           ARLINGTON         TX   76016‐1709
MIZE, RICHARD W             6002 FURNAS RD                                                                                 INDIANAPOLIS      IN   46221‐4003
MIZE, ROBERT G              13979 MERCEDES                                                                                 DETROIT           MI   48239‐3031
MIZE, ROBERT W              10227 FARRAND RD                                                                               OTISVILLE         MI   48463‐9771
MIZE, ROGER G               2062 E BALSAM AVE                                                                              MESA              AZ   85204‐1426
MIZE, ROY A                 2088 OXFORD RIDGE CIR                                                                          LEHIGH ACRES      FL   33973‐6041
MIZE, STANLEY E             129‐D ALBANY WAY                                                                               BEECH GROVE       IN   46107
MIZE, STANLEY E             129 ALBANY WAY APT D                                                                           BEECH GROVE       IN   46107‐3200
MIZE, STEPHANIE L           1990 GARDEN DR                                                                                 GAINESVILLE       GA   30507‐5016
MIZE, STEPHANIE LYNN        1990 GARDEN DR                                                                                 GAINESVILLE       GA   30507‐5016
MIZE, TERRY R               945 ALAN DR                                                                                    LAKE ORION        MI   48362‐2804
MIZE, THOMAS W              PO BOX 182                                                                                     COLLINSVILLE      TX   76233‐0182
MIZE, ZELMA                 926 N COUNTY RD 300 EAST                                                                       PERU              IN   46970
MIZE,DAVID C                6880 W ALEXANDRIA RD                                                                           MIDDLETOWN        OH   45042‐9210
MIZEJEWSKI, ROBERT A        2055 WOODSMAN DR                                                                               ORTONVILLE        MI   48462‐8494
MIZELL CHEVROLET COMPANY    206 N BROADWAY AVE                                                                             BOONEVILLE        AR   72927‐4012
MIZELL DIXON                3180 S UNION RD                                                                                DAYTON            OH   45417
MIZELL PEEPLES              79 HORTON ST                                                                                   DETROIT           MI   48202‐3111
MIZELL WILLIAM A (516483)   ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                   WILMINGTON        DE   19801‐1813
MIZELL, ALMA B              1230 FAVERSHAM LN                                                                              ROCK HILL         SC   29730‐7063
MIZELL, CHARLES H           3448 AMESBURY LN                                                                               BRUNSWICK         OH   44212‐2294
MIZELL, COLVIN L            SHANNON LAW FIRM                    100 W GALLATIN ST                                          HAZLEHURST        MS   39083‐3007
MIZELL, CRAIG A             6612 LARAMIE DR                                                                                ROMULUS           MI   48174‐5037
MIZELL, DOROTHY G           1347 FORT LAMAR RD                                                                             COMMERCE          GA   30530‐7230
MIZELL, ERMA A              21733 170TH AVE                                                                                TUSTIN            MI   49688‐8190
MIZELL, ERMA A              6023 ROBERTA ST                                                                                BURTON            MI   48509‐2220
MIZELL, GILDA JEAN          1970 N ELBA RD                                                                                 LAPEER            MI   48446‐8011
MIZELL, GLENN M             SHANNON LAW FIRM                    100 W GALLATIN ST                                          HAZLEHURST        MS   39083‐3007
MIZELL, HAROLD E            2686 SALEM RD                                                                                  MINERAL BLUFF     GA   30559‐2316
MIZELL, JOHNNIE K           PO BOX 42                           255 ADDRESS                                                RHINE             GA   31077
MIZELL, MARGARET A          2425 ISLAND PARADISE AVE                                                                       NORTH LAS VEGAS   NV   89031
MIZELL, MARIE               368 ABERDEEN ST                                                                                ROCHESTER         NY   14619‐1339
MIZELL, MARY                1700 N 13TH LOOP RD APT 230                                                                    SHELTON           WA   98584‐2168
MIZELL, PATRICIA
MIZELL, ROY E               2513 MINCHEW RD                                                                                AXSON             GA   31624‐5521
MIZELL, VELMA J             1415 W MYRTLE AVE                                                                              FLINT             MI   48504‐2221
MIZELL, VERNON              2814 NOBLE ST                                                                                  ANDERSON          IN   46016‐5468
MIZELL, WALTER L            1709 SPOONER RD                                                                                DOUGLAS           GA   31533‐1369
MIZELL, WILLIAM A           ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                   WILMINGTON        DE   19801‐1813
MIZELL, WILLIAM A           8 JOGGINS CT                                                                                   BALTIMORE         MD   21220‐2345
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Name                                 Address1                              Address2                       Address3               Address4               City              State Zip
MIZELL, WILLIAM L                    5423 HAMILTON AVE                                                                                                  BALTIMORE          MD 21206‐3104
MIZELL, WILLIE C                     PO BOX 342                                                                                                         RHINE              GA 31077‐0342
MIZELLE, ELAINE                      2806 BEAL DR                                                                                                       COLUMBUS           OH 43232‐4788
MIZEN, JERALD F                      2012 ARCHER LN                                                                                                     MOBILE             AL 36605‐3401
MIZEN, NANCY C                       2012 ARCHER LN                                                                                                     MOBILE             AL 36605‐3401
MIZENER, DALE G                      9994 LITTLE ACRES LN                                                                                               PEA RIDGE          AR 72751‐9409
MIZENER, JAMES P                     704 GRANT ST                                                                                                       PORT CLINTON       OH 43452‐2149
MIZENER, JEFF A                      2818 CALGARY LN                                                                                                    JANESVILLE         WI 53545‐0642
MIZENER, REX F                       493 NW W HWY                                                                                                       KINGSVILLE         MO 64061‐9117
MIZER, DALE F                        6570 WARREN SHARON RD                                                                                              BROOKFIELD         OH 44403‐8706
MIZER, DALE F                        6570 WARREN‐SHARON RD.                                                                                             BROOKFIELD         OH 44403‐8706
MIZERA CHEVROLET‐BUICK INC           5301 W IRVING PARK RD                                                                                              CHICAGO             IL 60641‐2529
MIZERA CHEVROLET‐BUICK, INC.         ATTN: MARK S. MIZERA                  5333 W IRVING PARK RD                                                        CHICAGO             IL 60641‐2529
MIZERA, JOZEF                        PO BOX 1460                                                                                                        BRIGHTON           MI 48116‐7960
MIZEROCK, ANN L                      4614 COLINAS DR                                                                                                    MEDINA             OH 44256‐6312
MIZERSKI, SIGISMUND                  15842 W PEPPERBOX LN                                                                                               MARANA             AZ 85653
MIZETTE C PRINTUP                    1102 TREYMONT LN 16                                                                                                LAWRENCEVILLE      GA 30045
MIZGA, RICHARD L                     5474 WOLF HWY                                                                                                      EATON RAPIDS       MI 48827‐9532
MIZGALA, MICHAEL                     1302 IDLEWOOD RD                                                                                                   WILMINGTON         DE 19805‐1321
MIZGALSKI, EDMUND M                  39760 CRYSTAL DR                                                                                                   STERLING HTS       MI 48310‐2305
MIZGALSKI, MARY E                    14511 COUNTRY CLUB DR                                                                                              LIVONIA            MI 48154‐5140
MIZGER JR, ALEX                      3523 PARKWAY DR                                                                                                    LANSING            MI 48910‐4753
MIZGER, GERALD S                     1754 W PRICE RD                                                                                                    SAINT JOHNS        MI 48879‐9293
MIZICKO, EDWARD P                    4722 CADWALLADER SONK RD                                                                                           VIENNA             OH 44473‐9710
MIZICKO, EDWARD P                    2727 SANLAN RANCH DR LOT 49A                                                                                       LAKELAND           FL 33812
MIZICKO, MICHAEL R                   5188 KING GRAVES ROAD                                                                                              VIENNA             OH 44473‐9713
MIZIKAR, BERNADINE                   5300 WILLOWBEND TRL                                                                                                KALAMAZOO          MI 49009‐9577
MIZIKAR, BERNADINE                   5300 WILLOW BEND TRL                                                                                               KALAMAZOO          MI 49009‐9577
MIZIKOW, RONALD G                    5221 LAKEWOOD DR                                                                                                   GRAND BLANC        MI 48439‐9353
MIZIOLEK, GABRIELA                   2951 WOODELM DRIVE                                                                                                 ROCHESTER HILLS    MI 48309
MIZLA JR, JOHN J                     512 N HILLCREST DR                                                                                                 LAKESIDE           OH 43440‐1218
MIZLA, MARK S                        2166 S OLAF DR                                                                                                     MARBLEHEAD         OH 43440‐9775
MIZLO JOHN                           357 DUNLEER DR                                                                                                     CARY                IL 60013‐1579
MIZLO JOHN J (355955)                GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA 23510
                                                                           STREET, SUITE 600
MIZLO, JOHN J                        GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA 23510‐2212
                                                                           STREET, SUITE 600
MIZNER, DONALD J                     2151 SHADOW DR                                                                                                     SHARPSVILLE       PA 16150‐8535
MIZNER, JAMES E                      465 S COLONIAL DR                                                                                                  CORTLAND          OH 44410‐1305
MIZRAIM PETERS                       12322 BRISTOL RD                                                                                                   LENNON            MI 48449‐9417
MIZUHO BANK                          SHIBA BRANCH 5‐34‐7 SHIBA              MINATO‐KU                                            TOKYO 108‐0014 JAPAN
MIZUHO CORPORATE BANK (USA)          1251 AVENUE OF THE AMERICAS            32ND FLOOR                                                                  NEW YORK          NY 10020
MIZUHO CORPORATE BANK (USA)          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1251 AVENUE OF THE AMERICAS   32ND FLOOR                                    NEW YORK          NY 10020

MIZUHO CORPORATE BANK, LTD, SUZUKI   RESONA BANK, LTD, THE CHUO MITSUI     BETTY ALI / JUDY KWONG VICE    1800 PLAZA TEN         NEW YORK BRANCH        JERSEY CITY        NJ   07311‐4009
MOTOR CORP.                          TRUST & BANKING C                     PRESIDENT LOANS ADMINISTRATION
                                                                           UNIT
MIZUHO CORPORATE BANK, LTD.          NEW YORK BRANCH                       BETTY ALI / JUDY KWONG,        VICE PRESIDENT,LOANS   1800 PLAZA 10          JERSEY CITY        NJ   07311
                                                                                                          ADMINISTRATION UNIT
MIZUHO CORPORATE BANK, LTD.          ATTN: GENERAL COUNSEL                 1‐3‐3, MARUNOUCHI, CHIYODA‐KU                         TOKYO 100‐8210 JAPAN

MIZUHO FINANCIAL GROUP INC           6‐26‐1 MINAMI‐OI                      SHINAGAWA‐KU                                          TOYKO 140‐8722 JAPAN
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Name                            Address1                             Address2                Address3    Address4               City               State Zip
MIZUNO PATENT OFFICE            AKASAKA MISUZU BLDG                  1‐4‐10 AKASAKA          MINATO‐KU   TOKYO 105‐0013 JAPAN
MIZUNO, RANDALL L               2379 MATTHEW CT                                                                                 HARTLAND            MI 48353‐2638
MIZZI, JOSEPH C                 2500 NOTTINGHAM CT                                                                              WHITE LAKE          MI 48383‐2394
MIZZI, KAREN J                  12084 LANSDOWNE ST                                                                              DETROIT             MI 48224‐1044
MIZZI, KATHLEEN
MIZZI, NORMAN J                 629 N VERMONT AVE                                                                               ROYAL OAK           MI 48067‐2021
MJ D'ANIELLO & ASSOCIATES LLC   239 RAVINESIDE DR                                                                               MILFORD             MI 48381‐2865
MJ FITNESS REPAIR               ATTN: CORPORATE OFFICER/AUTHORIZED   15 W 730 72ND ST                                           BURR RIDGE          IL 60527
                                AGENT
MJ MARKETING                    1845 YORKSHIRE RD                                                                               BIRMINGHAM         MI    48009‐7421
MJ TOOL & SUPPLY LLC            MICHAEL J CALL                       2972 WOODLAND DR                                           METAMORA           MI    48455‐9794
MJB SATURN, LLC                 MICHAEL SCHRAMM                      630 WAUKEGAN RD                                            GLENVIEW           IL    60025‐4348
MJBL INC                        4157 FAR HILL CT                                                                                BLOOMFIELD HILLS   MI    48304‐3102
MJD CORP OF CNYLLC              1 GENERAL MOTORS DR                                                                             SYRACUSE           NY    13206‐1117
MJELDE, ARNIE N                 26 CHERRYSTONE CT                                                                               SUWANEE            GA    30024‐2380
MJM INVESTIGATIONS              PO BOX 601702                                                                                   CHARLOTTE          NC    28260‐1702
MJM INVESTIGATIONS              PO BOX 277469                                                                                   ATLANTA            GA    30384‐7469
MJM INVESTIGATIONS INC          PO BOX 277469                                                                                   ATLANTA            GA    30384‐7469
MJM INVESTIGATIONS INC.         910 PAVERSTONE DR RALEIGH                                                                       RALEIGH            NC    27615
MJM INVESTIGATIONS, INC         910 PAVERSTONE DR                                                                               RALEIGH            NC    27615‐4701
MJM LOGISTICS INC               4022 N HAMPTON DR                                                                               POWELL             OH    43065‐8431
MJOLSNESS, SALLY A              2712 NW 158TH ST                                                                                EDMOND             OK    73013‐8820
MJOLSNESS, SALLY ANN            2712 NW 158TH ST                                                                                EDMOND             OK    73013‐8820
MJUUG ERF                       XDFVB
MK AUTOMATION ENGINEERING INC   105 HIGHLAND PARK DR                                                                            BLOOMFIELD          CT 06002‐1396
MK TECHNOLOGY TRADE             1823 JEFFERSON PL NW                                                                            WASHINGTON          DC 20036‐2504
CONSULTINGSERVICES LLC
MKBK PREC/COOKVILLE             815 DELMAN DRIVE                                                                                COOKEVILLE         TN    38501
MKBK PREC/SPARTA                144 CHURCHILL DR                                                                                SPARTA             TN    38583‐1525
MKD ASSOCIATES INC              ATTN: MEL MARECH                     940 SOUTH AVE W STE C                                      WESTFIELD          NJ    07090‐1490
MKR FABRICATORS                 1600 TERMINAL DR                                                                                SAGINAW            MI    48601‐9602
MKS INDUSTRIES INC              ATTN: MARK MARTINO                   PO BOX 4948                                                SYRACUSE           NY    13221‐4948
MKS INSTRUMENTS INC             6 SHATTUCK RD                                                                                   ANDOVER            MA    01810‐2449
MKS INSTRUMENTS INC             70 RIO ROBLES                                                                                   SAN JOSE           CA    95134‐1806
MKS INSTRUMENTS INC             90 INDUSTRIAL WAY                                                                               WILMINGTON         MA    01887‐4610
MKS INSTRUMENTS INC             2 TECH DR., SUITE 201                                                                           ANDOVER            MA    01810
ML CHARTER INC                  PO BOX 230069                                                                                   FAIR HAVEN         MI    48023‐0069
ML DESIGN TECHNOLOGIES          2130 HANOVER ST                                                                                 PALO ALTO          CA    94306‐1244
ML DESIGN TECHNOLOGIES INC      2130 HANOVER ST                                                                                 PALO ALTO          CA    94306‐1244
ML GREGORY                      3415 APPLE VALLEY                                                                               DALLAS             TX    75234
ML H DOBSON                     1009 MCLEAN ST                                                                                  JACKSON            MS    39209
ML HOLDINGS INC                 5836 CAMP BOWIE BLVD                                                                            FORT WORTH         TX    76107‐5008
ML STRATEGIES INC               1 FINANCIAL CTR                                                                                 BOSTON             MA    02111
ML VANCE I I                    634 ELM DR                                                                                      PLAINFIELD         IN    46168‐2184
MLADEN JURKOVIC                 2518 WALMAR DR                                                                                  LANSING            MI    48917‐5108
MLADEN KRULIC                   26718 SANDY HILL DR                                                                             RICHMOND HEIGHTS   OH    44143‐1052
MLADENOVIC LJUBISA              MLADENOVIC, LJUBISA
MLADENOVIC LJUBISA              3270 WINDEMERE DR                                                                               ANN ARBOR           MI   48105
MLADENOVIC, LJUBISA             3720 WINDEMERE DR                                                                               ANN ARBOR           MI   48105‐2868
MLADENOVSKI, MILICA             59255 HAYES RD                                                                                  WASHINGTON          MI   48094‐2532
MLADENOVSKI, ZARKO              59255 HAYES RD                                                                                  WASHINGTON          MI   48094‐2532
MLADY, MARGARET M               211 ELGIN AVE APT 4G                                                                            FOREST PARK         IL   60130‐1351
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Name                                  Address1                        Address2                          Address3     Address4                City            State Zip
MLADY, SCOTT T                        1091 CHURCHILL DR                                                                                      BOLINGBROOK       IL 60440‐1451
MLAK, CATHERINE L                     507 HAWLEY ST                                                                                          LOCKPORT         NY 14094‐2152
MLB ADVANCED MEDIA LP                 75 9TH AVE FL 5                                                                                        NEW YORK         NY 10011‐7076
MLB ADVANCED MEDIA, L.P.              COURTNEY CONNORS                75 NINTH AVENUE, NEW YORK                                              NEW YORK         NY 10011
MLB ADVANCED MEDIA, L.P.
MLB SOLUTIONS LLC                     MLB ASSOCIATES                  1936 SARANAC AVENUE SUITE 2‐300                                        LAKE PLACID     NY 12946

MLC WIRELESS SERVICE
MLC WIRELESS SERVICES INC            FARM FAMILY INSURANCE COMPANY    1820 CHAPEL AVE W STE 195                                              CHERRY HILL     NJ    08002‐4611
MLC WIRELESS SERVICES INC            1820 CHAPEL AVE W STE 195                                                                               CHERRY HILL     NJ    08002‐4611
MLC WIRELESS SERVICES INC            SANDLER & MARCHESINI             1820 CHAPEL AVE W STE 195                                              CHERRY HILL     NJ    08002‐4611
MLCHC #7 LLC                         36464 TREASURY CTR                                                                                      CHICAGO         IL    60694‐6400
MLCS LLC                             ATTN DAVID HEAD                  500 RENAISSANCE CENTER            SUITE 1400                           DETROIT         MI    48265‐3000
MLECZ RICHARD                        MLECZ, RICHARD                   115 CHRISTOPHER STREET                                                 NEW YORK        NY    10014
MLECZ, RICHARD                       3264 MIDDLETOWN RD                                                                                      BRONX           NY    10465‐1040
MLECZ, RICHARD                       LEVINE HARVEY A                  115 CHRISTOPHER STREET                                                 NEW YORK        NY    10014
MLECZEK, JUDITH                      1558 RIVIERA ST.                                                                                        SAGINAW         MI    48604‐1653
MLECZKO, DAWN M                      51901 D W SEATON DR                                                                                     CHESTERFIELD    MI    48047‐1459
MLEKO, DAVID L                       2014 CHISWICK RD                                                                                        EDMOND          OK    73034‐2928
MLICZEK, ACQULINE                    853 VOORHEES AVE                                                                                        MIDDLESEX       NJ    08846‐2160
MLIKA JR, EARNEST                    13201 NW SKYVIEW AVE                                                                                    KANSAS CITY     MO    64164‐1057
MLINAR, JANICE A                     2208 THOMAS RD                                                                                          WILMINGTON      DE    19803‐3043
MLINAR, JOHN V                       335 HUDSON ST                                                                                           FOREST CITY     PA    18421
MLINARCIK, DONALD W                  420 CHARRING CROSS DR                                                                                   MUNROE FALLS    OH    44262‐1223
MLINARCIK, SOPHIA R                  24 BROWNFIELD LANE                                                                                      UNIONTOWN       PA    15401‐5256
MLINCEK, STEVE                       982 FLAMINGO AVE                                                                                        SEBASTIAN       FL    32958‐5122
MLINEK III, FRANK J                  15816 MEYER AVE                                                                                         ALLEN PARK      MI    48101‐2746
MLINEK, BETTY                        4875 FAIRWAYS DR                                                                                        BRIGHTON        MI    48116‐9189
MLINER, GILBERT                      403 W LAGOON LN APT 1807                                                                                OAK CREEK       WI    53154‐2995
MLK BUSINESS FORMS INC               17197 N LAUREL PARK DR STE 301                                                                          LIVONIA         MI    48152‐2686
MLK BUSINESS FORMS INC               7233 FREEDOM AVE NW              PO BOX 2340                                                            CANTON          OH    44720‐7123
MLK CELEBRATION                      2132 W 3RD ST                                                                                           DAYTON          OH    45417‐2542
MLK JR PROJECT                       24 WEST 3RD STREET                                                                                      MANSFIELD       OH    44902
MLL INC.                             KIM MOORE                        1114 W HIGHWAY 24                                                      OSBORNE         KS    67473‐1632
MLM                                  ORESKO NABREZJE 9                                                               MARIBOR 2001 SLOVENIA   MARIBOR               2001
MLM CONSULTING SERVICES INC          5019 DEER CREEK CIR N                                                                                   WASHINGTON      MI    48094‐4209
MLOCKI, ANDREW K                     7291 DELL HAVEN DR                                                                                      PARMA           OH    44130‐6029
MLOCKI, KAZIMIERZ C                  8950 ASPEN CIR                                                                                          PARMA           OH    44129‐6408
MLODGENSKI, JAMES H                  844 MIZZEN AVE                                                                                          BEACHWOOD       NJ    08722‐4618
MLODGENSKI, WILLIAM J                73 HUNT ST                                                                                              ISELIN          NJ    08830‐1722
MLODZIK, BARBARA                     15568 BILLINGTON CT                                                                                     GRANGER         IN    46530‐8928
MLODZIK, CLARENCE                    12725 W VERONA DR                                                                                       NEW BERLIN      WI    53151‐4642
MLODZIK, KENNETH J                   455 TOLTEC WAY                                                                                          SANTA BARBARA   CA    93111‐1642
MLODZIK, MARIE C                     455 TOLTEC WAY                                                                                          SANTA BARBARA   CA    93111‐1642
MLODZIK, WILLIAM J                   105 DOWNEY CIR                                                                                          BUELLTON        CA    93427‐9452
MLOSTEK, DOLORES D                   43520 NOWLAND DR                                                                                        CANTON          MI    48188‐1787
MLPF & S CUST FPO GERALD BAKER/BASIC MR GERALD BAKER                  PO BOX 180                                                             BROOKSIDE       NJ    07926‐0180

MLPF & S CUST FBO JEROME DALE BOSEK   318 HWY 55                      PO BOX 12                                                              WENDELL         MN 56590
IRRA
MLPF & S CUST FBO MR GERALD A WOLK    C/O FRANCES NEWMAN              1304 POINTE GATE DR                                                    LIVINGSTON       NJ   07039‐1729
DECD IRA
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Name                              Address1                           Address2                     Address3               Address4                 City                State Zip
MLPF&S CUS. FBO JOHN RAGOZINE     JOHN RAGOZINE                      4301 SAGEMORE DR                                                             MARLTON              NJ 08053
MLPFS CUST JAMES A LOCKE IRRA     JAMES A LOCKE                      3873 PERRY HIGHWAY                                                           SLIPPERY ROCK        PA 16057
MLS NATIONAL MEDICAL EVALUATION   29792 TELEGRAPH RD                                                                                              SOUTHFIELD           MI 48034‐7607
SERVICES
MLS TRAINING INSTITUTE            1414 MONTREAL RD                                                                                                TUCKER              GA 30084
MLS USA, INC.                     INTERCOMPANY
MLT INC                           1841 GOVER PKWY                                                                                                 MT PLEASANT         MI 48858‐8166
MLTH HOLDING INC                  155 HIGH ST E                                                                          STRATHROY ON N7G 1H4
                                                                                                                         CANADA
MLTH HOLDING INC                  DAVID GREER, JR X233               MAGNESIUM DIVISION           155 HIGH STREET EAST   STRATHROY ON CANADA
MLTH HOLDING INC                  25 MACNAB ST                                                                           STRATHROY ON N7G 4H6     STRATHROY           ON N7G 4
                                                                                                                         CANADA
MLW SERVICES, INC                 101 WALL ST, FL 8                                                                                               NEW YORK            NY 10005
MLW SERVICES, INC                 ATTN: CORPORATE OFFICER/AUTHORIZED 101 WALL ST, FL 8                                                            NEW YORK            NY 10005
                                  AGENT
MLYNARCZYK, ELEANOR C             1128 COYNE PL                                                                                                   WILMINGTON          DE   19805‐4525
MLYNARCZYK, ELEANOR C             1128 COYNE PLACE                                                                                                WILMINGTON          DE   19805
MLYNARCZYK, PATRICIA A            P.O. BOX 118                                                                                                    LYONS               MI   48851‐0118
MLYNARCZYK, PATRICIA A            PO BOX 118                                                                                                      LYONS               MI   48851‐0118
MLYNARCZYK, SYLVIA T              2982 WINDCREST WAY NE                                                                                           GRAND RAPIDS        MI   49525‐7025
MLYNAREK, DOUG R                  655 EAST DRIVE                                                                                                  DAYTON              OH   45419‐1932
MLYNARSKI, ALFRED S               6156 RALEIGH ST                                                                                                 SPRING HILL         FL   34606‐4047
MLYNARSKI, JEFFREY M              207 BRIDGE RD                                                                                                   UPPER CHICHESTER    PA   19061‐2925
MLYNEK, EDMUND J                  102 PASADENA BLVD                                                                                               TOLEDO              OH   43612‐2515
MLYNEK, ROBERT D                  3300 E WILDERMUTH RD                                                                                            OWOSSO              MI   48867‐9622
MM 2413 CO LTD                    C/O MERRILL LYNCH INTERNATIONAL BANK ATTENTION TAU DEPARTMENT   2 RAFFLES LINK         MARINA BAYFRONT
                                  LIMITED                                                                                SINGAPORE 039392
MM 2437 CO LTD                    C/O MERRILL LYNCH INTERNATIONAL BANK ATTENTION TAU DEPARTMENT                          2 RAFFLES LINK MARINA
                                  LIMITED                                                                                BAYFRONT SINGAPORE
                                                                                                                         039392
MM 2437 CO LTD                    C/O MERRILL LYNCH INT BANK LTD     ATT TRUST DEPT               2 RAFFLES LINK         MARINA BAYFRONT 039392
                                                                                                                         SINGAPORE
MM MMM                            MMM
MM WARBURG                        DKO LUX OPTIMA                     DR. KOHLHASE                 MBH
                                                                     VERMOEGENSVERWALTUNGSGES
MM.2673 CO LTD                    C/O CHRISTIAN CHANG                MZ H 35 URB EL CUADRO                               CHACLACAYO‐LIMA 08
                                                                                                                         PERU
MM.2673.CO.LTD                    C/O CHRISTIAN CHANG                HZ H‐35 URB EL CUADRO                               CHACLACAYO‐LIMA 08
                                                                                                                         PERU
MM.2673.CO.LTD                    C/O CHRISTIAN CHANG                HZ H‐35 URB.EL CUADRO                               CHACLACAYO‐LIMA 08
                                                                                                                         PERU
MMA LAB/NEWTOWN                   2 PHEASANT RUN                                                                                                  NEWTOWN             PA   18940‐1819
MMA RC POWER LLC                  JACK DELIDDO                       140 S ELM AVE STE B                                                          RIPON               CA   95366‐2451
MMA RC POWER, L.P.                ATTN: GENERAL COUNSEL              44 MONTGOMERY ST STE 2200                                                    SAN FRANCISCO       CA   94104‐4709
MMA RC POWER, LP                  ATTN: GENERAL COUNSEL              44 MONTGOMERY ST 24 FLR                                                      SAN FRANCISCO       CA   94104
MMA RC POWER, LP                  C/O DELIDDO & ASSOCIATES, INC.     140 S ELM AVE STE B                                                          RIPON               CA   95366‐2451
MMA RC POWER, LP
MMA RC POWER, LP C/O MMA          ATTN: MARK MCLANAHAN               640 SECOND STREET                                                            SAN FRANCISCO       CA 94107
RENEWABLE VENTURES, LLC
MMA RENEWABLE VENTURES FINANCE    621 EAST PRATT STREET 3RD FLOOR                                                                                 BALTIMORE           MD 21202
MMD LOGISTICS INC                 PO BOX 712                                                                                                      ELK GROVE VILLAGE   IL 60009‐0712
MME GROUP                         1025 KRISTEN CT                                                                                                 SAINT PAUL          MN 55110‐5165
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Name                                Address1                          Address2                      Address3          Address4                City             State Zip
MME LOUISE BRISSY                   26 RUE DEPATIE                                                                    LAVAL QC CANADA H7L 4Y5
MME/VADNAIS HEIGHTS                 1025 KRISTEN CT                                                                                           SAINT PAUL       MN    55110‐5165
MMFLM, LLC                          STEVEN RAYMAN                     4200 JONESBORO RD                                                       UNION CITY       GA    30291‐2266
MMG                                 THERESA GUNAKA                    3901 NORTH CARNATION                                                    CARO             MI    48723
MMG ENGINEERED COMPONENTS           3901 CARNATION ST                                                                                         FRANKLIN PARK    IL    60131‐1201
MMG ENGINEERED COMPONENTS II INC    THERESA GUNAKA                    3901 NORTH CARNATION                                                    CARO             MI    48723

MMG ENGINEERED COMPONENTS II INC    3901 CARNATION ST                                                                                        FRANKLIN PARK      IL   60131‐1201

MMH HOLDINGS INC                   315 W FOREST HILL AVE                                                                                     OAK CREEK          WI 53154‐2905
MMI/DEARBORN                       PO BOX 730                                                                                                DEARBORN           MI 48121‐0730
MMIP EUROPEAN HIGH YIELD BOND FUND FAO TOM DRIFE, INVESCO PERPETUAL   30 FINSBURY SQUARE                              LONDON EC2A 1AG
                                                                                                                      ENGLAND
MMP TELECOM                         3031 W GRAND BLVD # 525                                                                                  DETROIT           MI    48202‐3025
MMPR                                1405 RIVERSIDE ST STE 110                                                                                JANESVILLE        WI    53548‐5081
MMR TENNESSEE LLC                   ATTN ACCOUNTS RECEIVABLE          8270 GREENSBORO DR STE 950                                             MCLEAN            VA    22102‐4909
MMS INC                             433 W LEFFEL LN                                                                                          SPRINGFIELD       OH    45506‐3527
MN CHILD SUPPORT PAYMENT CTR        PO BOX 64306                                                                                             SAINT PAUL        MN    55164‐0306
MN DEPT OF LABOR & INDUSTRY         443 LAFAYETTE RD                  PER AFC 05/27/03                                                       SAINT PAUL        MN    55155‐4301
MN DOT MANKATO                                                        501 S VICTORY DR                                                                         MN    56001
MN DOT ST. CLOUD                                                      3725 12TH ST N                                                                           MN    56303
MN GROUP                            PO BOX 7                          MEDIC ONE AMBULANCE SERVICE                                            TAYLOR            MI    48180‐0007

MN WEST COMMUNITY TECHNICAL                                           401 WEST ST                                                                              MN    56143
MN‐DOT GOLDEN VALLEY                                                  2055 LILAC DR N                                                                          MN    55422
MNC MOTORS INC                      ATTN: TONY CORSO                  28780 PLYMOUTH RD                                                      LIVONIA           MI    48150‐2336
MNH ASSOC INC                       PO BOX 826                                                                                               SAINT MARYS       PA    15857‐0826
MNICH JR, CHESTER J                 6272 ALABAMA PATH                                                                                        CICERO            NY    13039‐7860
MNM TRUCKING INC                    10729 N OAK KNOLL RD E                                                                                   ROME CITY         IN    46784‐9784
MNP CORP                            GARY OLEJARCZYK                   44225 UTICA ROAD                                LETTERKENNY CO DONEG
                                                                                                                      IRELAND
MNP CORP                            GARY OLEJARCZYK                   44225 UTICA RD                                                         UTICA              MI   48317‐5464
MNP CORP                            44225 UTICA RD                    PO BOX 189002                                                          UTICA              MI   48317‐5464
MNP CORP                            1111 SAMUELSON RD                                                                                        ROCKFORD           IL   61109‐3641
MNP CORP                            1200 GRAND OAKS DR                                                                                       HOWELL             MI   48843‐8578
MNP CORP                            1524 E 14 MILE RD                                                                                        MADISON HEIGHTS    MI   48071‐1542
MNP CORP                            2211 BEARD ST                                                                                            PORT HURON         MI   48060‐6424
MNP CORP                            PO BOX 189002                                                                                            UTICA              MI   48318
MNP CORP                            44225 UTICA RD                                                                                           UTICA              MI   48317‐5464
MNP CORPORATION                     GARY OLEJARCZYK                   44225 UTICA ROAD                                LETTERKENNY CO DONEG
                                                                                                                      IRELAND
MNP CORPORATION                     GARY OLEJARCZYK                   44225 UTICA RD                                                         UTICA              MI 48317‐5464
MNP CORPORATION                     44225 UTICA RD                                                                                           UTICA              MI 48317‐5464
MNP MANUFACTURING CORP
MNP PRECISION PARTS                 1111 SAMUELSON RD                                                                                        ROCKFORD           IL   61109‐3641
MNP PRECISION PARTS LLC             1111 SAMUELSON RD                                                                                        ROCKFORD           IL   61109‐3641
MNP/UTICA                           1524 E 14 MILE RD                                                                                        MADISON HTS        MI   48071‐1542
MNP/UTICA                           PO BOX 189002                                                                                            UTICA              MI   48318‐9002
MNP/UTICA                           44225 UTICA RD                    ATTN. GARY T. OLEJARCZYK      P.O. BOX 189002                          UTICA              MI   48317‐5464
MNT DESIGN/TROY                     2722 ELLIOTT DR                                                                                          TROY               MI   48083‐4634
MO
MO ABRAHAM                          660 SOUTH BLVD E                  MC 483‐632‐110                                                         PONTIAC            MI 48341‐3128
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Name                           Address1                              Address2                        Address3                     Address4                City              State Zip
MO ABRAHAM                     THE DETROIT EDISON COMPANY            2000 2ND AVE                                                                         DETROIT            MI 48226‐1203
MO ANDERSON TRUSTEE            9 TREEMONT DR                                                                                                              AUSTIN             TX 78746‐5593
MO S INSTITUTE OF TECHNOLOGY   200 MIDDLESEX ESSEX TPK SUITE 203 AND                                                                                      ISELIN             NJ 08830
                               208
MO SI                          364 ROLLING GREEN CIR S                                                                                                    ROCHESTER HILLS   MI 48309‐1256
MO, SI N                       364 ROLLING GREEN CIR S                                                                                                    ROCHESTER HILLS   MI 48309‐1256
MO‐TIRES                       305 13 ST N                                                                                        LETHBRIDGE AB T1H 2R9
                                                                                                                                  CANADA
MOAB AUTO GROUP, INC.          ANTHONY BASSO                        481 S MAIN ST                                                                         MOAB              UT 84532‐2921
MOAB CHEVROLET PONTIAC BUICK   481 S MAIN ST                                                                                                              MOAB              UT 84532‐2921
MOAD DONALD DOUGLAS (305830)   BROWN TERRELL HOGAN ELLIS            804 BLACKSTONE BLDG , 233 EAST                                                        JACKSONVILLE      FL 32202
                               MCCLAMMA & YEGELWEL P.A.             BAY STREET
MOAD, DONALD                   BROWN TERRELL HOGAN ELLIS            804 BLACKSTONE BLDG, 233 EAST                                                         JACKSONVILLE       FL   32202
                               MCCLAMMA & YEGELWEL P.A.             BAY STREET
MOADUS, HELEN M                917 FLORIDA AVE.                                                                                                           MCDONALD          OH 44437‐1611
MOAK JAMES V                   GLASSER AND GLASSER                  CROWN CENTER                     580 EAST MAIN STREET SUITE                           NORFOLK           VA 23510
                                                                                                     600
MOAK WALLACE R (467032)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                           NORFOLK           VA 23510
                                                                    STREET, SUITE 600
MOAK, BEVERLY A                4364 E PIONEER RD                                                                                                          ROSCOMMON         MI    48653
MOAK, BOBBY E                  116 DRY CREEK TRL SW                                                                                                       BOGUE CHITTO      MS    39629‐5144
MOAK, DALTON C                 3408 SHADY GROVE RD SE                                                                                                     BOGUE CHITTO      MS    39629‐9671
MOAK, DAVID                    GUY WILLIAM S                        PO BOX 509                                                                            MCCOMB            MS    39649‐0509
MOAK, EMMIT F                  3131 BENSON DR                                                                                                             JACKSON           MS    39212‐4210
MOAK, HOWARD                   GUY WILLIAM S                        PO BOX 509                                                                            MCCOMB            MS    39649‐0509
MOAK, JAMES                    GUY WILLIAM S                        PO BOX 509                                                                            MCCOMB            MS    39649‐0509
MOAK, JAMES A                  447 FELPS LN SW                                                                                                            BROOKHAVEN        MS    39601‐9233
MOAK, JIMMY G                  2168 NORTON ASSINK RD NW                                                                                                   WESSON            MS    39191‐9661
MOAK, JIMMY G                  2168 NORTON‐ASSINK RD NW                                                                                                   WESSON            MS    39191‐9191
MOAK, LARRY                    GUY WILLIAM S                        PO BOX 509                                                                            MCCOMB            MS    39649‐0509
MOAK, ROBERT                   SHANNON LAW FIRM                     100 W GALLATIN ST                                                                     HAZLEHURST        MS    39083‐3007
MOAK, ROBERT C                 4290 MAYA LN                                                                                                               SWARTZ CREEK      MI    48473‐1594
MOAK, VIRGINIA R               2209 CALVARY DR SW                                                                                                         BOGUE CHITTO      MS    39629
MOAK, WALLACE R                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                           NORFOLK           VA    23510
                                                                    STREET, SUITE 600
MOALA, ALILIA K                3343 W 117TH PL                                                                                                            INGLEWOOD         CA    90303‐3001
MOAN, HAROLD E                 C/O THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                                                  BOSTON            MA    02110‐2104
MOANANU, SIMELE P              16 JAMES LN                                                                                                                GIRARD            OH    44420‐1322
MOATES, WENDYL E               532 EVERGREEN DR                                                                                                           HURST             TX    76054‐2012
MOATS AND ASSOCIATES           5700 BROADMOOR SUITE 415                                                                                                   MISSION           KS    66202
MOATS RAY C (494021)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                           NORFOLK           VA    23510
                                                                    STREET, SUITE 600
MOATS, ADAM                    2609 GLENDAS WAY                                                                                                           FREDERICKSBURG    VA    22408‐8078
MOATS, CAROLE L                1938 OPEQUON LN                                                                                                            KEARNEYSVILLE     WV    25430‐2581
MOATS, DANIEL M                1938 OPEQUON LN                                                                                                            KEARNEYSVILLE     WV    25430‐2581
MOATS, DAVID A                 17523 STONE VALLEY DR                                                                                                      HAGERSTOWN        MD    21740‐7752
MOATS, DEAN V                  23385 TAWAS AVE                                                                                                            HAZEL PARK        MI    48030‐2767
MOATS, DONALD K                6299 MARSHALL RD                                                                                                           CENTERVILLE       OH    45459‐2234
MOATS, EDITH V                 320 HOWARD STREET                                                                                                          MEDINA            OH    44256‐1738
MOATS, EDITH V                 320 HOWARD ST                                                                                                              MEDINA            OH    44256‐1738
MOATS, GEORGE L                PO BOX 3894                                                                                                                MANSFIELD         OH    44907‐3894
MOATS, JOANNA                  PO BOX 852                                                                                                                 TAPPAHANNOCH      VA    22560‐0852
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Name                               Address1                            Address2                       Address3   Address4         City                State Zip
MOATS, KURT A                      461 AMSBURY CT                                                                                 LAKE ORION           MI 48360‐1222
MOATS, MARK                        2609 GLENDAS WAY                                                                               FREDERICKSBRG        VA 22408‐8078
MOATS, MARY ANN                    1 OAKTREE LN APT F                                                                             WILLIAMSPORT         MD 21795‐1243
MOATS, MARY ANN                    1 OAK TREE LANE APT F                                                                          WILLIAMSPORT         MD 21795‐1243
MOATS, MITCHEL W                   7707 HUNTER COVE DR                                                                            SPOTSYLVANIA         VA 22551‐2725
MOATS, NANCY S                     7707 HUNTER COVE DR                                                                            SPOTSYLVANIA         VA 22551‐2725
MOATS, RAY C                       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                       STREET, SUITE 600
MOATS, TONDI C                     6299 MARSHALL RD                                                                               DAYTON              OH   45459‐2234
MOATS, WILLIAM C                   8265 COY RD                                                                                    SHERWOOD            OH   43556‐9703
MOAYEDI, ARAM                      5661 GRANNY WHITE PIKE                                                                         BRENTWOOD           TN   37027‐4101
MOAYYAD, FARHAD                    39568 VILLAGE RUN DR                                                                           NORTHVILLE          MI   48168‐3410
MOAZEZI, SAEED                     2403 SHEEHAN DR UNIT 202                                                                       NAPERVILLE          IL   60564‐4894
MOBASHERI
MOBBERLY, JACK                     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                                       260
MOBBS, ANITA C                     312 BROADBRIDGE BEACH CT.                                                                      MARINE CITY         MI   48039
MOBBS, ASZLEE                      2001 N CENTER RD APT 123                                                                       FLINT               MI   48506
MOBBS, DANNY J                     7280 HAWTHORNE CIR                                                                             GOODRICH            MI   48438‐9239
MOBBS, DANNY J                     8041 ROSE LANE                                                                                 GOODRICH            MI   48438‐9206
MOBBS, ERNEST W                    5646 N 78TH PL                                                                                 SCOTTSDALE          AZ   85250‐6560
MOBBS, HENRY V                     420 TAYLOR CIR                                                                                 ETHRIDGE            TN   38456‐5630
MOBBS, LEVELLE W                   1065 N HIGHWAY 45 W                                                                            UNION CITY          TN   38261‐8844
MOBBS, SHIRLEY J                   5275 DRAYTON RD                                                                                CLARKSTON           MI   48346‐3709
MOBBS, TERRY D                     1069 GRACE CT                                                                                  NORTHVILLE          MI   48167‐1139
MOBELY, CONTANCE                   1615 GRAY HAVEN CT                                                                             BALTIMORE           MD   21222‐3325
MOBERG JR, H                       APT 1B                              2606 NORTH 192ND COURT                                     ELKHORN             NE   68022‐2659
MOBERG'S AUTOMOTIVE REPAIR, INC.   1090 E PARK AVE                                                                                LIBERTYVILLE        IL   60048‐2951
MOBERG, DIANE M                    310 E 4TH AVE N APT 104                                                                        AURORA              MN   55705
MOBERG, EDWARD M                   93 GODFREY DR                                                                                  NORTON              MA   02766‐1368
MOBERG, GEORGE C                   7872 JON SCOTT DR                                                                              GRAND LEDGE         MI   48837‐9279
MOBERG, OLGA                       628 SPOKANE AVE                                                                                LANSING             MI   48910‐5478
MOBERG, RICHARD E                  PO BOX 61                                                                                      WILSON              NY   14172‐0061
MOBERLY AREA COMMUNITY COLLEGE     101 COLLEGE AVE                                                                                MOBERLY             MO   65270‐1304
MOBERLY, ALEX H                    3059 PHELPS LAKE RD                                                                            MAYVILLE            MI   48744‐9554
MOBERLY, BILLY R                   6311 MILLER LN                                                                                 DAYTON              OH   45414‐2618
MOBERLY, BOBBY S                   16521 E 54TH ST S                                                                              INDEPENCE           MO   64055
MOBERLY, BRAD                      GUY WILLIAM S                       PO BOX 509                                                 MCCOMB              MS   39649‐0509
MOBERLY, DAVID N                   3838 GREENTREE RD                                                                              LEBANON             OH   45036‐9769
MOBERLY, GEORGE A                  3570 WEST HOUGHTON LAKE DR.         110 E CENTER ST                                            MADISON             SD   57042‐2908
MOBERLY, RICHARD L                 6228 CHESTNUT DR                                                                               ANDERSON            IN   46013‐9610
MOBERLY, ROSE M.                   6540 PARADISE CT                                                                               INDIANAPOLIS        IN   46236‐3046
MOBICARE                           9395 PHILIPS HWY                                                                               JACKSONVILLE        FL   32256‐1311
MOBIL                              47910 WOODWARD AVE                                                                             PONTIAC             MI   48342‐5010
MOBIL MAINTENANCE INC              EAST SIDE TRUCK WASH                25803 SHERWOOD AVE                                         WARREN              MI   48091‐4161
MOBIL MAINTENANCE INC EAST SIDE    ATTN: CORPORATE OFFICER/AUTHORIZED 25803 SHERWOOD AVE                                          WARREN              MI   48091‐4161
TRUCK WASH                         AGENT
MOBIL MARKETING CANADA
MOBIL OIL                          MARK JONES                          P. O. BOX 839                                              ELK GROVE VILLAGE   IL   60009
MOBIL OIL CORPORATION              3225 GALLOWS RD                                                                                FAIRFAX             VA   22037‐0002
MOBIL OIL/FAIRFAX                  3225 GALLOWS RD RM 5W908                                                                       FAIRFAX             VA   22037‐0001
MOBIL OIL/SCHMB                    1515 E WOODFIELD RD STE 400                                                                    SCHAUMBURG          IL   60173‐5490
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Name                                 Address1                              Address2                         Address3               Address4              City              State Zip
MOBIL OIL/SOUTHFIELD                 30 OAK HOLLOW                         SUITE 245                                                                     SOUTHFIELD         MI 48033
MOBIL OIL/VALLY FORG                 PO BOX 804                                                                                                          VALLEY FORGE       PA 19482‐0804
MOBILCOMM INC                        1211 W SHARON RD                                                                                                    CINCINNATI         OH 45240‐2916
MOBILE AIR CONDITIONING SOCIETY      225 S BROAD ST                                                                                                      LANSDALE           PA 19446‐3816
WORLDWIDE
MOBILE AIR INC                       800 E MANDOLINE AVE                                                                                                 MADISON HEIGHTS   MI    48071‐1465
MOBILE AIR TRANSPORT INC             PO BOX 219                                                                                                          LATHAM            NY    12110‐0219
MOBILE AIR/E GRNVILL                 PO BOX 97                                                                                                           EAST GREENVILLE   PA    18041‐0097
MOBILE ANESTHESIA, I                 1225 LINDENHURST RD                                                                                                 YARDLEY           PA    19067‐5406
MOBILE AUTO SERVICE                  90 HYMUS RD                                                                                   SCARBOROUGH ON M1L
                                                                                                                                   2C9 CANADA
MOBILE CARTAGE AND DISTRIBUTORS LTD 354 NASH RD                                                                                    HAMILTON ON L8H 7P5
                                                                                                                                   CANADA
MOBILE CATERING & CARTS              30 SWEENEYDALE AVE                                                                                                  BAY SHORE         NY 11706‐2211
MOBILE COMMUNICATION SERVICES INC    34411 INDUSTRIAL RD                                                                                                 LIVONIA           MI 48150‐1305

MOBILE COMMUNICATIONS OF DEKALB      PO BOX 491810                                                                                                       LAWRENCEVILLE     GA 30049‐0031

MOBILE COMMUNICATIONS SERVICE OF     926 SHIVE LN                                                                                                        BOWLING GREEN      KY   42103‐8000
BG INC
MOBILE COUNTY                        PO BOX 2207                                                                                                         MOBILE             AL   36652‐2207
MOBILE COUNTY                        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 2207                     SALES TAX                                    MOBILE             AL   36652‐2207

MOBILE COUNTY                        PO BOX 2207                           SALES TAX                                                                     MOBILE             AL   36652‐2207
MOBILE COUNTY CIRCUIT COURT          ACCT OF FREDERICK A CEPHAS            COUNTY COURTHOUSE RM 202                                                      MOBILE             AL   41768
MOBILE COUNTY COMMISSION                                                   560 VIRGINIA ST                                                                                  AL   36603
MOBILE COUNTY PUBLIC SCHOOL SYSTEM                                         3274 INTERNATIONAL DR                                                                            AL   36606

MOBILE COUNTY, ALABAMA               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1169                     REVENUE COMMISSIONER                         MOBILE             AL   36633‐1169

MOBILE COUNTY, ALABAMA               PO BOX 1169                           REVENUE COMMISSIONER                                                          MOBILE            AL 36633‐1169
MOBILE DEMAND                        1350 BOYSON RD STE B                                                                                                HIAWATHA          IA 52233‐2211
MOBILE FACILITY ENGINEERING INC      PO BOX 387                            306 W STATE STREET \RMT LETTER                                                CASSOPOLIS        MI 49031‐0387

MOBILE FLEET SERVICE, INC.           2003 E VIOLA                                                                                                        YAKIMA            WA    98901
MOBILE FLEET SERVICE, INC.           DOUGLAS EDLER                         2003 E VIOLA                                                                  YAKIMA            WA    98901
MOBILE HANDLING SYSTEMS INC          260 W PROSPECT ST                                                                                                   PAINESVILLE       OH    44077‐3256
MOBILE HOUSING BOARD                                                       1517 PLAZA DR                                                                                   AL    36605
MOBILE MAINTENANCE                   EAST SIDE TRUCK WASH                  25803 SHERWOOD AVE                                                            WARREN            MI    48091‐4161
MOBILE MED CARE                      2500 SOLUTIONS CTR                                                                                                  CHICAGO           IL    60677‐2005
MOBILE MICROMEDIA SOLUTIONS (MMS)    MOBILE MICROMEDIA SOLUTIONS LLC       4605 TEXAS BLVD                                                               TEXARKANA         TX    75503‐3028
V. GM
MOBILE MICROMEDIA SOLUTIONS (MMS)    MOBILE MICROMEDIA SOLUTIONS LLC       610 16TH ST STE 400                                                           OAKLAND           CA 94612‐1285
V. GM
MOBILE MINI INC                      7420 S KYRENE RD STE 101                                                                                            TEMPE             AZ    85283‐4610
MOBILE MINI INC                      PO BOX 79149                                                                                                        PHOENIX           AZ    85062‐9149
MOBILE MINI INC                      225 LINCOLN HWY STE 180                                                                                             FAIRLESS HILLS    PA    19030
MOBILE MINI INC                      ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 79149                                                                  PHOENIX           AZ    85062‐9149
                                     AGENT
MOBILE OFF/GRAND RAP                 4500 AIRWEST DR SE                                                                                                  GRAND RAPIDS      MI 49512‐3950
MOBILE OFFICE VEHICLE INC            4053 BROCKTON DR SE STE A                                                                                           GRAND RAPIDS      MI 49512‐4071
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Name                                Address1                             Address2                      Address3   Address4                City                State Zip
MOBILE OFFICE VEHICLE INC           KEVIN BART                           4500 AIRWEST DRIVE                       SAN FRANCISCO DE LOS AG
                                                                                                                  20303 MEXICO
MOBILE POWER SOLUTIONS              1800 NW 169TH PL STE B200                                                                             BEAVERTON            OR 97006‐7485
MOBILE POWER SOLUTIONS INC          1800 NW 169TH PL STE B200                                                                             BEAVERTON            OR 97006‐7485
MOBILE PREVENTIVE MAINTENANCE INC   1006B BALLENTINE BLVD                                                                                 NORFOLK              VA 23504‐3802

MOBILE PROCESS TECHNOLOGY           PO BOX 618                                                                                             MEMPHIS            TN    38101‐0618
MOBILE RADIO SERVICE INC            5335 BUTLER ST                                                                                         PITTSBURGH         PA    15201‐2623
MOBILE SATELLITE VENTURES LP        PO BOX 791199                                                                                          BALTIMORE          MD    21279‐1199
MOBILE U‐DRIVE IT                   8800 AIRPORT BLVD                                                                                      MOBILE             AL    36608
MOBILE X LLC                        5703K WEBSTER PLACE                                                                                    DAYTON             OH    45414
MOBILE X LLC                        ATTN: CORPORATE OFFICER/AUTHORIZED   1961 THUNDERBIRD                                                  TROY               MI    48084‐5467
                                    AGENT
MOBILE, KEITH W                     8978 E KINNEY RD                                                                                       BRANCH             MI 49402‐9616
MOBILE‐X LLC                        1961 THUNDERBIRD                                                                                       TROY               MI 48084‐5467
MOBILEROBOTS                        10 COLUMBIA DR                                                                                         AMHERST            NH 03031‐2304
MOBILEYE BV                         BRANTWIJK 41                                                                  AMSTELVEEN NL 1181 MS
                                                                                                                  NETHERLANDS
MOBILEYE BV                         GREG TOWER 7 FLORINIS ST             PO BOX 24854                             NICOSIA 1034 CYPRUS
MOBILEYE TECHNOLOGIES LIMITED       GREG TOWER 7 FLORINIS STREET                                                  NICOSIA 1304 CYPRUS
MOBILEYE TECHNOLOGIES LTD           GREG TOWER 7 FLORINIS ST             PO BOX 24854                             NICOSIA 1034 CYPRUS
MOBILEYE VISION TECHNOLOGIES        10 HARTOM ST.                        P.O. BOX 45157                           JERUSALEM 91450 ISRAEL
MOBILEYE VISION TECHNOLOGIES LTD    10 HARTOM ST.                        P.O. BOX 45157                           JERUSALEM 91450 ISRAEL
MOBILIO, ANNIE D                    1385 HIGHLAND AVE APT 14A                                                                              WATERBURY           CT   06708‐4935
MOBILIO, LAVERNE                    5110 SANDALWOOD CIR                                                                                    GRAND BLANC         MI   48439‐4267
MOBILIO, RALPH J                    9324 APT B 6TH STREET                                                                                  OSCODA              MI   48750
MOBILIO, VENCENZO A                 721 FRANKLIN DR                                                                                        PERTH AMBOY         NJ   08861‐1815
MOBILITY PLUS TRANSPORTATION                                             5031 BLUM RD                                                                          CA   94553
MOBILITY RESEARCH INC               142 ARTILLERY CT                                                                                       PIEDMONT            SC   29673‐9382
MOBLEY ARTS INC
MOBLEY CAROL                        1240 STONE AVENUE                                                                                      CAIRO               GA 39828‐3564
MOBLEY DEBRA                        23234 FOUNTAIN DR                                                                                      CLINTON TOWNSHIP    MI 48036‐1293
MOBLEY FRED J (404899)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                                         STREET, SUITE 600
MOBLEY I I I, MILTON                2359 LIBERTY ELLERTON                                                                                  DAYTON             OH    45418‐5418
MOBLEY III, MILTON                  2359 LIBERTY ELLERTON RD                                                                               DAYTON             OH    45418‐1115
MOBLEY JR, CLARENCE M               5918 CULZEAN DR APT 519                                                                                DAYTON             OH    45426‐1249
MOBLEY MIKE REPORTING               334 S MAIN ST                                                                                          DAYTON             OH    45402‐2716
MOBLEY, AARON                       26269 IVANHOE                                                                                          REDFORD            MI    48239‐3114
MOBLEY, ABDEL C                     PO BOX 577                                                                                             LAKEVIEW           OH    43331‐0577
MOBLEY, ALICE                       5049 E PARK DR                                                                                         NORTH OLMSTED      OH    44070‐3108
MOBLEY, ALICE                       5049 E PARK                                                                                            NORTH OLMSTED      OH    44070
MOBLEY, ALLEN L                     2550 NE JELLISON RD                                                                                    BLUE SPRINGS       MO    64014‐0974
MOBLEY, ANNE M                      1668 BOWERS ST                                                                                         BIRMINGHAM         MI    48009‐6810
MOBLEY, ARLENE M                    3983 RIVER ROAD                                                                                        EVART              MI    49631‐8118
MOBLEY, ARLENE M                    3983 RIVER RD                                                                                          EVART              MI    49631‐8118
MOBLEY, ARTHUR D                    1674 NEWARK AVE                                                                                        PONTIAC            MI    48340‐1013
MOBLEY, AUBREY G                    2314 PERSIMMON POND RD                                                                                 POCAHONTAS         AR    72455‐5010
MOBLEY, BARRY L                     P.O. 174                                                                                               LEWISBURG          OH    45338
MOBLEY, BESSIE T                    1202 NORTH LUETT AVE.                                                                                  INDIANAPOLIS       IN    46222
MOBLEY, BETTIE                      2428 PORTERVILLE RD                                                                                    PORTERVILLE        MS    39352
MOBLEY, BILL P                      981 WISE RD                                                                                            LYNCHBURG          OH    45142‐9761
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MOBLEY, BREAVIOUS M           13 BROOKWOOD LN S                                                                              SAGINAW                 MI 48601‐4077
MOBLEY, BRENDA I              1029 AUTUMN LEAF DR                                                                            WINTER GARDEN           FL 34787
MOBLEY, BROOKE J              5123 COULSON DR                                                                                DAYTON                  OH 45418‐2034
MOBLEY, CAROLYN P             137 LA BELLE ST                                                                                DAYTON                  OH 45403‐2325
MOBLEY, CARTIS                15926 JEANETTE ST                                                                              SOUTHFIELD              MI 48075‐2013
MOBLEY, CHARLIE J             3206 MACKIN RD                                                                                 FLINT                   MI 48504‐5601
MOBLEY, CHESTER M             564 PICKETTS RDG                                                                               ACWORTH                 GA 30101‐7710
MOBLEY, CHRISTOPHER L         5146 HACKETT DR                                                                                DAYTON                  OH 45418‐2241
MOBLEY, CLARENCE M            1981 SWALLOWTAIL COURT                                                                         CLAYTON                 OH 45315‐5315
MOBLEY, CLYDE S               1811 HEBBLE HWY                                                                                PIEDMONT                AL 36272‐6257
MOBLEY, CONNIE JO             8457 SW 109TH PL                                                                               OCALA                   FL 34481‐9737
MOBLEY, CYNTHIA               5574 PATTILLO WAY                                                                              LITHONIA                GA 30058‐6273
MOBLEY, DALE                  GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW                 MI 48604‐2602
                                                                  260
MOBLEY, DAVID J               16403 STATE ROUTE 45                                                                           WELLSVILLE             OH   43968‐9789
MOBLEY, DAVID L               3220 CLAY RD NW                                                                                DELLROY                OH   44620‐9776
MOBLEY, DAVID M               2547 LISA DR                                                                                   COLUMBIAVILLE          MI   48421‐8910
MOBLEY, DAVID R               5832 FOREST RIDGE DR                                                                           PENSACOLA              FL   32526‐7849
MOBLEY, DAWN L                612 W CADMAN PT                                                                                SANFORD                MI   48657
MOBLEY, DEBORAH A             4779 COLUMBIA RD APT 101                                                                       NORTH OLMSTED          OH   44070
MOBLEY, DELOIS E              11933 GLENOAK DR                                                                               MARYLAND HEIGHTS       MO   63043‐1617
MOBLEY, DELOIS E              11933 GLEN OAK DR                                                                              MARYLAND HEIGHTS       MO   63043‐1617
MOBLEY, DENNIS R              23299 BLUEGRASS DR                                                                             BROWNSTOWN TWP         MI   48183‐1178
MOBLEY, DENNIS RAY            23299 BLUEGRASS DR                                                                             BROWNSTOWN TWP         MI   48183‐1178
MOBLEY, DONALD L              2050 ROCK CREEK RD                                                                             BATESVILLE             IN   47006
MOBLEY, DORIS                 3434 PANNELL RD                                                                                SOCIAL CIRCLE          GA   30025‐3402
MOBLEY, DORIS                 3434 PANNEL RD.                                                                                SOCIAL CIRCLE          GA   30025
MOBLEY, EDDIE L               2436 JOHNSON RD NE APT E                                                                       ATLANTA                GA   30345‐1754
MOBLEY, ERIC M                6758 EDDLESTON CT                                                                              CANAL WINCHESTER       OH   43110‐8431
MOBLEY, FRANCES R             11634 CLEAR CREEK DR                                                                           PENSACOLA              FL   32514‐9705
MOBLEY, FRED J                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK                VA   23510‐2212
                                                                  STREET, SUITE 600
MOBLEY, FREDERICK T           8174 KENSINGTON BLVD APT 798                                                                   DAVISON                MI 48423‐3170
MOBLEY, GARY
MOBLEY, GARY C                2210 N DUCK LAKE RD                                                                            HIGHLAND               MI   48356‐2714
MOBLEY, HAROLD J              670 KIRK RD                                                                                    ROCHESTER              NY   14612‐2348
MOBLEY, HARRY                 PO BOX 334                                                                                     CROYDON                PA   19021‐0334
MOBLEY, HARRY G               3553 ROSEVILLE RD                                                                              GLASGOW                KY   42141‐8428
MOBLEY, HARVEY L              3224 EARLE DR                                                                                  HALTOM CITY            TX   76117‐3531
MOBLEY, HARVEY L              6625 PARK RIDGE DR                                                                             NORTH RICHLAND HILLS   TX   76180
MOBLEY, HARVEY LEE            3224 EARLE DR                                                                                  HALTOM CITY            TX   76117‐3531
MOBLEY, HELGA                 3464 EAST COUNTY RD.                200 SOUTH                                                  DANVILLE               IN   46122
MOBLEY, HERMAN P              1399 LAUREL LAKE RD N                                                                          LONDON                 KY   40744‐8883
MOBLEY, HERMAN V              6419 LANTERN RDG                                                                               HOSCHTON               GA   30548‐8244
MOBLEY, HOLLY M               4679 MURRAY CORNER ROAD                                                                        FAYETTEVILLE           OH   45118‐9706
MOBLEY, IDA F                 299 LEYLAND PARK DRIVE                                                                         WILMINGTON             OH   45177‐5177
MOBLEY, III, CHARLES GORDON   242 HAL JONES RD                                                                               NEWNAN                 GA   30263‐3338
MOBLEY, JACQUELINE L          1141 MAYNARD DRIVE                                                                             INDIANAPOLIS           IN   46227‐5011
MOBLEY, JAMES A               PO BOX 3                                                                                       HICKSVILLE             OH   43526‐0003
MOBLEY, JAMES I               1141 MAYNARD DR                                                                                INDIANAPOLIS           IN   46227‐5011
MOBLEY, JANE M                918 CYPRESS ST                                                                                 JUNSTION CITY          KS   66441‐4032
MOBLEY, JESSIE I              147 WEST 6TH STREET                                                                            CHILLICOTHE            OH   45601‐3841
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Name                   Address1                        Address2                Address3     Address4         City            State Zip
MOBLEY, JIMMIE L       18070 BELAND ST                                                                       DETROIT          MI 48234‐3838
MOBLEY, JOHN S         5354 ATTICA RD                                                                        ATTICA           MI 48412‐9665
MOBLEY, JOHNNIE R      315 W MAIN ST                                                                         TROTWOOD         OH 45426‐3344
MOBLEY, JOMEIR         2520 WALNUT HILL CIR APT 416                                                          ARLINGTON        TX 76006‐5140
MOBLEY, JOYCE C        415 WITHINGTON ST APT 610                                                             FERNDALE         MI 48220‐2903
MOBLEY, KENNETH D      THOMASON,HANSON & MAPLES, LLC   PO BOX 627                                            BESSEMER         AL 35021‐0627
MOBLEY, KEVIN T        4630 WOODVILLE RD                                                                     JACKSON          MI 49201‐8910
MOBLEY, KEVIN TRACY    4630 WOODVILLE RD                                                                     JACKSON          MI 49201‐8910
MOBLEY, LANDIS L       7340 FR 1528 W                                                                        COOPER           TX 75432
MOBLEY, LARRY W        375 PANSY RD                                                                          OCILLA           GA 31774‐2546
MOBLEY, LARRY WARREN   375 PANSY RD                                                                          OCILLA           GA 31774‐2546
MOBLEY, LINDA M        3215 HILOCK CT                                                                        COLUMBUS         OH 43207‐3134
MOBLEY, LOUISE N       9852 WOODWARD DR 97                                                                   BAY PORT         MI 48720
MOBLEY, MARGRETA D     177 BENNETT ST                                                                        BUFFALO          NY 14204‐1465
MOBLEY, MARGRETA D     177 BENNETT STREET                                                                    BUFFALO          NY 14204‐1465
MOBLEY, MARINA         1237 HEIGHTS RD                                                                       LAKE ORION       MI 48362‐2425
MOBLEY, MARIO E        5123 COULSON DR                                                                       DAYTON           OH 45418‐2034
MOBLEY, MARVIN B       2335 E M72                                                                            GRAYLING         MI 49738
MOBLEY, MARY ANN       KING BRYAN & WILEY              PO BOX 1688                                           JASPER           AL 35502‐1688
MOBLEY, MARY ANN       THOMASON,HANSON & MAPLES, LLC   PO BOX 627                                            BESSEMER         AL 35021‐0627
MOBLEY, MARY J         12216 E. 49TH TERRACE                                                                 INDEPENDENCE     MO 64055‐5719
MOBLEY, MARY J         12216 E 49TH TER S                                                                    INDEPENDENCE     MO 64055‐5719
MOBLEY, MARY S         112 SHERMAN ST                                                                        DAYTON           OH 45403‐2534
MOBLEY, MATTHEW W      3208 APPLEROCK DR                                                                     O FALLON         MO 63368‐3858
MOBLEY, MATTIE M       6114 WATERTON WAY                                                                     LITHONIA         GA 30058‐3520
MOBLEY, MAUREEN G      1068 IRWIN DR                                                                         WATERFORD        MI 48327‐2017
MOBLEY, MICHAEL D      259 EVANS GLEN TRL                                                                    TIPTON           MI 49287‐9724
MOBLEY, MICHAEL E      1692 REEDER RD                                                                        BLANCHESTER      OH 45107‐8798
MOBLEY, NANNIE L       135 STAINTON AVE                                                                      DAYTON           OH 45403‐1140
MOBLEY, NORMAN E       815 W LILL AVE APT 2                                                                  CHICAGO           IL 60614
MOBLEY, OPAL I         4039 HENDERSON AVE              C/O AMANDA MOBLEY                                     LOUISVILLE       KY 40213‐1751
MOBLEY, OPAL I         C/O AMANDA MOBLEY               4039 HENDERSON AVENUE                                 LOUISVILLE       KY 40213
MOBLEY, PAULA          2949 CLAUDE BREWER RD                                                                 LOGANVILLE       GA 30052‐3924
MOBLEY, PHILLIP H      3201 CHAMBERS ST                                                                      FLINT            MI 48507‐2128
MOBLEY, QUENTIN E      12275 OXFORD RD                                                                       GERMANTOWN       OH 45327‐9787
MOBLEY, RICHARD C      4517 POWELL RD                                                                        HUBER HEIGHTS    OH 45424‐5840
MOBLEY, RICHARD D      14975 COUNTY ROAD 263                                                                 DEFIANCE         OH 43512‐9367
MOBLEY, ROBERT A       1096 GREENVILLE RD                                                                    BRISTOLVILLE     OH 44402‐9739
MOBLEY, ROBERT A       1096 STATE ROUTE 88                                                                   BRISTOLVILLE     OH 44402‐9739
MOBLEY, ROLLIE C       1202 N LUETT AVE                                                                      INDIANAPOLIS     IN 46222‐3234
MOBLEY, RONALD L       166 JORDAN DR                                                                         FRANKLIN         IN 46131‐1025
MOBLEY, STEVEN A       133 W BROOKLYN AVE                                                                    PONTIAC          MI 48340‐1123
MOBLEY, TEVORA
MOBLEY, TIM A          7021 MARINTHANA AVE                                                                   BOARDMAN        OH   44512‐4617
MOBLEY, TIMOTHY A      1614 WESTONA DR                                                                       DAYTON          OH   45410‐3340
MOBLEY, TIMOTHY P      15824 DIXIE HWY                                                                       HOLLY           MI   48442‐9624
MOBLEY, TODD A         965 NANCY AVE                                                                         NILES           OH   44446‐2731
MOBLEY, TRAVIS         NO ADDRESS
MOBLEY, VERA M         5035 W WEST END AVE                                                                   CHICAGO         IL   60644‐3454
MOBLEY, VERA M         5035 WESTEND                                                                          CHICAGO         IL   60644
MOBLEY, WILLIAM B      3247 NW 44TH ST APT 1                                                                 FT LAUDERDALE   FL   33309‐4282
MOBLEY, WILLIAM J      15824 DIXIE HIGHWAY                                                                   HOLLY           MI   48442‐9624
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Name                             Address1                            Address2                       Address3          Address4         City                 State Zip
MOBLEY, WILLIAM L                30 EDNA PL                                                                                            BUFFALO               NY 14209‐2337
MOBLEY, WILLIAM R                2811 S MILLER RD                                                                                      VALRICO               FL 33596‐5710
MOBLEY, WILLIAM R                2811 MILLER RD                                                                                        VALRICO               FL 33594‐5710
MOBLEY, WILLIE                   GUY WILLIAM S                       PO BOX 509                                                        MCCOMB                MS 39649‐0509
MOBLEY, WILLIE E                 16577 COYLE ST                                                                                        DETROIT               MI 48235‐3851
MOBLEY, WOODROW                  GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                      SAGINAW               MI 48604‐2602
                                                                     260
MOBLEY, YOLANDA                  1509 W VALLEY RD                                                                                      ADRIAN               MI   49221
MOBLEY,CHRISTOPHER L             5146 HACKETT DR                                                                                       DAYTON               OH   45417‐6241
MOCAC                            FERRIS STATE UNIVERSITY             1349 CRAMER CIR                610 BISHOP HALL                    BIG RAPIDS           MI   49307‐2736
MOCAP INC                        13100 MANCHESTER RD                                                                                   SAINT LOUIS          MO   63131
MOCAP INC                        BOB KUNTZ                           111 INDUSTRIAL DRIVE                                              FREEMONT             CA   94536
MOCAP INC                        BOB KUNTZ                           409 PARKWAY DR                                                    PARK HILLS           MO   63601‐4435
MOCAP INC                        409 PARKWAY DR                                                                                        PARK HILLS           MO   63601‐4435
MOCAP INC.                       BOB KUNTZ                           111 INDUSTRIAL DRIVE                                              HAYWARD              CA
MOCAP INC.                       BOB KUNTZ                           409 PARKWAY DR                                                    PARK HILLS           MO   63601‐4435
MOCARSKI, DOROTHY R              214 BROOKSIDE RD                                                                                      EAGLEVILLE           PA   19403‐2716
MOCARSKI, MARY                   6 BRIAN CT                          C/O CAROL ANN GIERSCH                                             STEVENS              PA   17578‐9513
MOCARSKI, MARY                   C/O CAROL ANN GIERSCH               6 BRIAN COURT                                                     STEVENS              PA   17578
MOCARSKI, THOMAS M               2230 BEEBE RD                                                                                         WILSON               NY   14172
MOCARSKI, TYDVIL L               9430 S GREENBIAR                                                                                      HICKORY HILLS        IL   60457
MOCCARDINE, JAMES S              82628 COUNTY ROAD F                                                                                   BUTTERNUT            WI   54514‐8679
MOCCIA, RALPH                    1906 HONE AVE                                                                                         BRONX                NY   10461‐1304
MOCEK, BONNIE J                  PO BOX 7471                                                                                           LAS VEGAS            NV   89125‐7471
MOCELLA, ANTHONY P               3035 RED FOX RUN DR NW                                                                                WARREN               OH   44485‐1577
MOCELLA, MARIA P                 731 KENMORE AVE NE                                                                                    WARREN               OH   44483‐4231
MOCELLA, MARIA P                 731 KENMORE, N.E.                                                                                     WARREN               OH   44483‐4231
MOCELLA, SANDRA D                9212 KING GRAVES RD NE                                                                                WARREN               OH   44484‐1127
MOCERI PAMELA & ASSOCIATES LLC   PO BOX 2539                                                                                           BIRMINGHAM           MI   48012‐2539
MOCERI, DAVID S                  6996 SY RD                                                                                            NIAGARA FALLS        NY   14304‐4614
MOCERI, DENISE K                 1290 BROOK LN                                                                                         ROCHESTER HILLS      MI   48306‐4209
MOCERI, DINO S                   20381 EASTWOOD DR                                                                                     HARPER WOODS         MI   48225‐1877
MOCERI, IRENE                    31412 GABLE ST                                                                                        LIVONIA              MI   48152‐1552
MOCERI, JANIE                    4233 HERITAGE WOODS DR APT A                                                                          SAINT LOUIS          MO   63129‐6711
MOCERI, JOAN F                   20878 BEAUFAIT                                                                                        HARPER WOODS         MI   48225‐1659
MOCERI, JULE T                   32371 OXFORD CT                                                                                       FRASER               MI   48026‐2346
MOCERI, MARY                     2317 BONNIE VIEW DRIVE                                                                                ORMOND BEACH         FL   32176
MOCERI, PHILIP                   9 DAROSA                                                                                              DE BARY              FL   32713‐2002
MOCERI, PHILIP                   9 DA ROSA AVE                                                                                         DEBARY               FL   32713‐2002
MOCERI, PHILIP J                 22437 SOCIA ST                                                                                        SAINT CLAIR SHORES   MI   48082‐3102
MOCERI, RICHARD G                239 CHARGING BEAR DR                                                                                  WENTZVILLE           MO   63385‐3539
MOCERI, VIRGINIA V               18350 MOTT                                                                                            EAST DETROIT         MI   48021‐2744
MOCERI, VIRGINIA V               18350 MOTT AVE                                                                                        EAST DETROIT         MI   48021‐2744
MOCERI, VITO J                   5340 LAS VERDES CIR APT 211                                                                           DELRAY BEACH         FL   33484
MOCERI‐KALEUGHER, TINA M         24190 28 MILE RD                                                                                      RAY TWP              MI   48096‐3349
MOCH SR, JOSEPH P                19348 STRATHMOOR ST                                                                                   DETROIT              MI   48235‐1917
MOCH, ROSE C                     1860 ALARD AVE                                                                                        LINCOLN PARK         MI   48146‐3816
MOCH, VERA                       5143 28TH ST                                                                                          DETROIT              MI   48210
MOCH, VICTOR A                   36 RANDOLPH AVE                                                                                       BUFFALO              NY   14211‐2608
MOCHA, ROBERT R                  9298 W 56TH PL                                                                                        ARVADA               CO   80002‐2102
MOCHMAR, TODD D                  3085 N 3 1/4 RD                                                                                       MESICK               MI   49668‐9771
MOCHNACH, EDWARD M               108 MAPLEWOOD DR                                                                                      NEW MIDDLETWN        OH   44442‐9427
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Name                         Address1                         Address2                      Address3   Address4         City               State Zip
MOCHNACH, EDWARD M           533 TERRA VERDE AVE                                                                        COLUMBIANA          OH 44408‐1198
MOCHOL, JOZEF A              29623 OAKLEY ST                                                                            LIVONIA             MI 48154‐3758
MOCHTAK, DENNIS G            18 KENNETH PL                                                                              CLARK               NJ 07066‐1721
MOCHTAK, DENNIS G.           18 KENNETH PL                                                                              CLARK               NJ 07066‐1721
MOCHTAK, MARY                18 KENNETH PL                                                                              CLARK               NJ 07066‐1721
MOCHTY‐KEENER, CATHERINE A   2676 W CEDAR LAKE RD                                                                       GREENBUSH           MI 48738‐9661
MOCIK, JOSEPH J              106 CENTER AVE                                                                             LEONARDO            NJ 07737‐1116
MOCK FREDERICK W (429484)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                              STREET, SUITE 600
MOCK HERBERT L (337975)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                              STREET, SUITE 600
MOCK JOHNNY                  18791 FILMORE ST                                                                           SOUTHFIELD         MI   48075‐1702
MOCK PHIL                    597 COUNTRY CLUB DR                                                                        SENATOBIA          MS   38668‐6318
MOCK RICHARD                 MOCK, RICHARD                    247 SOUTH TERRY STREET                                    MANHEIM            PA   17545
MOCK ROBERT T (409523)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                              STREET, SUITE 600
MOCK TIRE COUNTRY CLUB       4752 COUNTRY CLUB RD                                                                       WINSTON SALEM      NC   27104‐3522
MOCK TIRE ROBINHOOD          5385 ROBINHOOD RD                                                                          WINSTON SALEM      NC   27106‐9760
MOCK TIRE SOUTH PARK         3131 PETERS CREEK PKWY                                                                     WINSTON SALEM      NC   27127‐4713
MOCK TIRE STRATFORD          834 S STRATFORD RD                                                                         WINSTON SALEM      NC   27103‐3202
MOCK, ANGELINE G             544 HAMPTON LN APT 1B                                                                      GRAND RAPIDS       MI   49544‐7811
MOCK, ANNETTE I              18791 FILMORE ST                                                                           SOUTHFIELD         MI   48075‐1702
MOCK, BARBARA J              48 45 40 STREET                                                                            LONG ISLAND CITY   NY   11104
MOCK, BILLIE G               2181 N 100 W                                                                               PORTLAND           IN   47371‐8052
MOCK, BOB                    10338 CAXTON ST                                                                            HOUSTON            TX   77016‐3024
MOCK, CLAYTON C              1575 MADERIA AVE SW                                                                        GRAND RAPIDS       MI   49534‐6606
MOCK, CLAYTON C              1575 MADERIA SW                                                                            GRAND RAPIDS       MI   49544‐6606
MOCK, COBY L                 30129 PGA DR                                                                               SORRENTO           FL   32776
MOCK, DOLORES R              4205 MARLIN DR                                                                             SAINT LOUIS        MO   63121‐1819
MOCK, DORIS M                4301 NORTH WALNUT ST             APT 315                                                   MUNICE             IN   47303‐1190
MOCK, ELIZABETH A            3328 S HORSESHOE AVE                                                                       SPRINGFIELD        MO   65804‐4644
MOCK, FRANCIS R              605 N PORTLAND ST                                                                          RIDGEVILLE         IN   47380‐1028
MOCK, FREDERICK W            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
MOCK, GERHARDT L             4314 CLOTHIER RD # 1                                                                       KINGSTON           MI   48741
MOCK, GIA                    200 N PERRY ST                                                                             HAGERSTOWN         IN   47346‐1227
MOCK, GINA                   3380 MAPLE RD                                                                              WILSON             NY   14172‐9612
MOCK, HERBERT L              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
MOCK, HOPE                   1013 E GONDOLA DR                                                                          VENICE             FL   34293‐1208
MOCK, JAMES C                607 ARGENT WAY                                                                             BLUFFTON           SC   29909‐4450
MOCK, JAMES E                208 EVERGREEN ST                                                                           GREENWOOD          IN   46142‐2017
MOCK, JAMES L                24723 WATSON RD                                                                            DEFIANCE           OH   43512‐8811
MOCK, JEFF
MOCK, JEFFREY D              27981 WATSON RD                                                                            DEFIANCE           OH   43512‐8850
MOCK, JENNIFER L             447 BAXTER CT                                                                              MARTINSVILLE       IN   46151
MOCK, JEROLD L               81 DRIFTWOOD DR                                                                            GRAND ISLAND       NY   14072‐1812
MOCK, JEROLD LOUIS           81 DRIFTWOOD DR                                                                            GRAND ISLAND       NY   14072‐1812
MOCK, JOHNNY N               18791 FILMORE ST                                                                           SOUTHFIELD         MI   48075‐1702
MOCK, KATHLEEN C             161 W. STATE RD. 128                                                                       ALEXANDRIA         IN   46001‐8391
MOCK, KATHLEEN C             161 W STATE ROAD 128                                                                       ALEXANDRIA         IN   46001‐8391
MOCK, KEVIN C                447 BAXTER CT                                                                              MARTINSVILLE       IN   46151‐6947
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Name                                  Address1                            Address2                         Address3   Address4         City            State Zip
MOCK, LAWRENCE                        8727 E HATCHERY RD                                                                               SYRACUSE         IN 46567‐7542
MOCK, LAWRENCE C                      PO BOX 215                                                                                       SPRING VALLEY    OH 45370‐0215
MOCK, MARVIN W                        PO BOX 386                                                                                       PARKER CITY      IN 47368‐0386
MOCK, MARY                            6411 NIGHTSHADE DR                                                                               INDIANAPOLIS     IN 46237‐4465
MOCK, MAURICE E                       5421 COLUMBIA                                                                                    CLARKSTON        MI 48346‐3120
MOCK, MEREDITH E                      5054 STATE ROAD 32 W                                                                             ANDERSON         IN 46011‐8746
MOCK, PATRICIA A                      1906 MAPLE DR NW                                                                                 KENNESAW         GA 30144‐1827
MOCK, PATSY J                         112 E ROGERS ST                                                                                  PORTLAND         IN 47371‐1040
MOCK, RICHARD                         247 SOUTH TERRY STREET                                                                           MANHEIM          PA 17545
MOCK, RICHARD F                       16210 GIPE RD                                                                                    NEY              OH 43549‐9727
MOCK, ROBERT T                        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                                          STREET, SUITE 600
MOCK, ROBERT W                        217 ZIMMERMAN ST                                                                                 NEW CARLISLE    OH   45344‐1514
MOCK, ROBERT W                        217 ZIMMERMAN DR                                                                                 NEW CARLISLE    OH   45344‐1514
MOCK, SAUNDRA K                       2301 N DELPHOS ST                                                                                KOKOMO          IN   46901‐1627
MOCK, THOMAS A                        3466 TALL OAKS LN                                                                                YOUNGSTOWN      OH   44511‐2533
MOCK, VIOLET M                        916 MOTEL DR                                                                                     FORTVILLE       IN   46040‐1156
MOCK, WENDELL D                       118 PATRICIA DR                                                                                  KOKOMO          IN   46902‐5113
MOCK, WILLIAM V                       5510 SIDNEY RD                                                                                   CINCINNATI      OH   45238‐3215
MOCKABEE, P C
MOCKABEE, RAYMOND D                   5348 FALLWOOD DR APT 106                                                                         INDIANAPOLIS    IN   46220‐5648
MOCKABEE, RUSSELL D                   4270 E 136TH ST                                                                                  CLEVELAND       OH   44105‐6406
MOCKAITIS, ANN MARIE                  2116 S MADISON AVE                                                                               BAY CITY        MI   48708‐8759
MOCKAITIS, JOHN P                     915 CHASE ST                                                                                     BAY CITY        MI   48708‐6234
MOCKAITIS, ZIGMAS A                   301 N MAIN ST                                                                                    GEORGETOWN      IL   61846‐1729
MOCKALSKI, ANTHONY M                  6610 N SILVERY LN                                                                                DEARBORN HTS    MI   48127‐2171
MOCKBEE CAMERON WINFIELD (403876) ‐   WATKINS ASHLEY & BARLOW MELINDA H   360 PLACE OFFICE PARK , 1201 N                               ARLINGTON       TX   76006
WILLIAMS VERNON ODELL                                                     WATSON ‐ STE 145
MOCKBEE, CHESTER L                    739 MAXWELL COURT                                                                                GERMANTOWN      OH   45327‐1481
MOCKBEE, KENNETH L                    611 SOUTH MASON MONTGOMERY RD                                                                    MASON           OH   45040‐1725
MOCKBEE, KENNETH L                    611 S MASON MONTGOMERY RD                                                                        MASON           OH   45040‐1725
MOCKBEE, OLGA M                       500 SUNNYCLIFF PL                                                                                CENTERVILLE     OH   45459‐4433
MOCKBEE, PATRICIA G                   106 STRATFORD PLACE                                                                              WASHINGTON      NC   27889‐8530
MOCKERIDGE, DEBORAH L                 9210 HICKORY RIDGE RD                                                                            HOLLY           MI   48442
MOCKERIDGE, THOMAS J                  9210 HICKORY RIDGE RD                                                                            HOLLY           MI   48442‐8110
MOCKERMAN, SCOTT A                    11509 NORTH GENESEE ROAD                                                                         CLIO            MI   48420‐9755
MOCKLER, STEPHEN C                    2444 GREENS MILL RD                                                                              COLUMBIA        TN   38401‐6176
MOCKLES, DAVID L                      2082 MORRISH RD                                                                                  SWARTZ CREEK    MI   48473‐9753
MOCKLES, SARA A                       2082 MORRISH RD                                                                                  SWARTZ CREEK    MI   48473‐9753
MOCKNIS, EDWARD A                     20 LEE DR                           MURRAY MANOR 2                                               WILMINGTON      DE   19808‐4973
MOCKRIDGE, CHARLES E                  7316 PLAYERS CLUB DR                                                                             LANSING         MI   48917‐9656
MOCKRIDGE, CRIS M                     3385 BEECH DR APT 7113                                                                           LAKE ORION      MI   48359‐1094
MOCKRIDGE, LYNN N                     3401 S FINLEY LAKE AVE                                                                           HARRISON        MI   48625‐9496
MOCKUS, MARIJA                        3352 POLK ST                                                                                     OMAHA           NE   68107‐3922
MOCKYEN, HARVEY                       8126 CASCADE RD                                                                                  ORLANDO         FL   32822‐7620
MOCNY JAMES (ESTATE OF) (489155)      BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD      OH   44067
                                                                          PROFESSIONAL BLDG
MOCNY, EDWARD R                       705 SAGINAW ST                                                                                   VASSAR          MI   48768‐1150
MOCNY, JAMES L                        10028 SILVER CREEK DR                                                                            FRANKENMUTH     MI   48734‐9731
MOCNY, JOHN E                         710 NORTH ELLSWORTH STREET                                                                       NAPERVILLE      IL   60563‐3149
MOCNY, JOHN W                         3874 HI CREST DR                                                                                 LAKE ORION      MI   48360‐2416
MOCNY, RICHARD M                      5560 PILGRIM DR                                                                                  SAGINAW         MI   48638‐5760
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Name                          Address1                             Address2                   Address3               Address4              City              State Zip
MOCNY, TERRY R                141 NORMAN ST                                                                                                VASSAR             MI 48768‐1808
MOCO THERMAL INDUSTRIES INC   ONE OVEN PLACE                                                                                               ROMULUS            MI 48174
MOCO THERMAL INDUSTRIES INC   ATTN: CORPORATE OFFICER/AUTHORIZED   ONE OVEN PLACE                                                          ROMULUS            MI 48174‐0336
                              AGENT
MOCOGNI, CHERYL N             9433 LINDEN ST                                                                                               BELLFLOWER        CA   90706‐3527
MOCON INC                     7500 BOONE AVE N                                                                                             MINNEAPOLIS       MN   55428
MOCUR, JENNIE B               15509 HUFF                                                                                                   LIVONIA           MI   48154‐1503
MOCUR, JENNIE B               15509 HUFF ST                                                                                                LIVONIA           MI   48154‐1503
MOCZALLA, GEORGES R           2308 KILLARNEY DR                                                                                            MCKINNEY          TX   75070‐9111
MOCZARSKI, DAVID A            44 ONYX DR                                                                                                   PENFIELD          NY   14529‐2859
MOCZARSKI, FELIX S            205 STUDER DR                                                                                                GRASS LAKE        MI   49240‐9126
MOCZARSKI, THEODORE           5373 EVANS RD                                                                                                HOLLY             MI   48442‐8430
MOCZULSKI, THOMAS L           55622 WHITNEY CT                                                                                             SHELBY TOWNSHIP   MI   48315‐6670
MOCZYDLOWSKI, ANDRZEJ M       PO BOX 1943                                                                                                  LINDEN            NJ   07036‐0009
MOCZYGEMBA, MATTHEW S         416 RAVEN CT                                                                                                 BURLESON          TX   76028‐1523
MOCZYGEMBA, VALERIE L         100 COUNTRY ACRES DR                                                                                         ADKINS            TX   78101‐2700
MOCZYGEMBA, WILLIAM L         416 RAVEN CT                                                                                                 BURLESON          TX   76028‐1523
MOCZYGEMBA, WILLIAM L.        416 RAVEN CT                                                                                                 BURLESON          TX   76028‐1523
MOCZYNSKI, BETTY J            5209 LAKESIDE DR                                                                                             GREENDALE         WI   53129‐1924
MOCZYNSKI, MARK S             2333 W OKLAHOMA AVE                                                                                          MILWAUKEE         WI   53215‐4434
MOD SYSTEMS/LK ORION          2647 SATURN DR                                                                                               LAKE ORION        MI   48360‐1736
MODAFF, JR,ROBERT H           12015 FLOWERFIELD RD                                                                                         MARCELLUS         MI   49067‐9461
MODAFF, KIM A                 12015 FLOWERFIELD RD                                                                                         MARCELLUS         MI   49067‐9461
MODAFFERI, ANTHONY P          1585 HIDDEN VALLEY DR                                                                                        MILFORD           MI   48380‐3328
MODAL SHOP INC                1775 MENTOR AVE                                                                                              CINCINNATI        OH   45212
MODALSHOP/CINCINNATI          3149 E KEMPER RD                                                                                             CINCINNATI        OH   45241‐1516
MODAS LLC                     6285 TAYLOR DR                                                                                               FLINT             MI   48507‐4665
MODATEK SYSTEMS               1 COSMA COURT                                                                          ST THOMAS CANADA ON
                                                                                                                     N5P 4J5 CANADA
MODATEK SYSTEMS               LISA TODD                            400 CHISHOLM DR                                   MILTON ON L9T 5V6
                                                                                                                     CANADA
MODCOMP INC                   1500 S POWERLINE RD                                                                                          DEERFIELD BEACH   FL   33442
MODCOMP INC                   PO BOX 96266                                                                                                 CHICAGO           IL   60693‐0001
MODCOMP INC                   C/O RAUL GASTESI JR ESQ              GASTESI & ASSOCIATES P A   8105 NW 155TH STREET                         MIAMI LAKES       FL   33016
MODDER ELIZABETH              568 EAGLE POINT LANE                                                                                         PELL CITY         AL   35128‐7263
MODDERS, DALE H               621 2ND ST                                                                                                   FENTON            MI   48430‐1941
MODDERS, ROBERT J             2537 W DRAHNER RD                                                                                            OXFORD            MI   48371‐4415
MODDRELL, MICHAEL D           3506 TAM‐O‐SHANTER                                                                                           LAWRENCE          KS   66047
MODE, JOHN H                  3003 REX RD                                                                                                  REX               GA   30273‐1048
MODE, MARY M                  PO BOX 2793                                                                                                  NAPA              CA   94558‐0279
MODE, MARY M                  P.O. BOX 2793                                                                                                NAPA              CA   94558‐0279
MODE, MILDRED                 2 ELMWOOD PLACE                                                                                              ST CHARLES        MO   63301‐4637
MODE, MILDRED                 2 ELMWOOD PL                                                                                                 SAINT CHARLES     MO   63301‐4637
MODE, WILLIE M                2 ELMWOOD PL                                                                                                 SAINT CHARLES     MO   63301‐4637
MODEAN MCELHANNON             1873 HIGHWAY 82                                                                                              STATHAM           GA   30666‐1924
MODEAN MOORE                  4060 E 144TH ST                                                                                              CLEVELAND         OH   44128‐1863
MODEEN, LAWRENCE D            1389 STAFFORD AVE                                                                                            BRISTOL           CT   06010
MODEL ELECTRONICS             615 E CRESCENT AVE                                                                                           RAMSEY            NJ   07446
MODEL ELECTRONICS             TOM CHURCHILL                        615 E CRESCENT AVE                                                                        NJ   07446‐1220
MODEL ELECTRONICS INC         321 W ROUTE 59                                                                                               NANUET            NY   10954‐2232
MODEL ELECTRONICS INC         615 E CRESCENT AVE                                                                                           RAMSEY            NJ   07446‐1220
MODEL ELECTRONICS INC         TOM CHURCHILL X6222                  615 E CRESCENT AVE                                                      RAMSEY            NJ   07446‐1220
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Name                                  Address1                             Address2                        Address3         Address4                   City              State Zip
MODEL ELECTRONICS INC                 TOM CHURCHILL X6222                  615 E. CRESCENT AVE                              BOISBRIAND QC CANADA
MODEL GARAGE                          110 THOMASTON AVE                                                                                                WATERBURY          CT   06702‐1018
MODEL MASTER SPA                      VIA VITTIME DI PIAZZA FONTANA        N 38 10027 TESTONA MONCALIERI                    TO ITALY ITALY

MODEL MASTER SPA                      VIA VITTIME DI PIAZZA FONTANA 38     FR TESTONA                                       MONCALIERI (TO) 10024
                                                                                                                            ITALY
MODEL MOTORING                        MODEL MOTORING INC
MODEL PATT/GR RAPIDS                  25 LEONARD ST NW                                                                                                 GRAND RAPIDS       MI 49503‐1031
MODEL RECTIFIER CORPORATION
MODEL T AUTOMOBILE HERITAGE           ATTN: JERALD MITCHELL                461 PIQUETTE ST                                                             DETROIT            MI   48202‐3547
MODEL TECH RACING                     57 HAZEL BARK RUN                                                                                                ROCHESTER          NY   14606‐4507
MODEL, SCOTT J                        2834 SKYLINE CIR                                                                                                 STOUGHTON          WI   53589‐3248
MODEL‐TECH INC                        57 HAZEL BARK RUN                                                                                                ROCHESTER          NY   14606‐4507
MODELABS GROUP SA
MODELLA SMITH                         415 E 12TH ST STE 400                C/O OFFICE OF THE PUBLIC                                                    KANSAS CITY       MO 64106‐2735
                                                                           ADMINISTRATOR
MODELLERS LLC                         STE 300                              6995 UNION PARK CENTER                                                      MIDVALE            UT 84047‐4194
MODELLTECHNIK RAPID                   PROTOTYPING GMBH                     ZIEGELEISTRABE 3B                                WALTERSHAUSEN D‐99880
                                                                                                                            GERMANY
MODELLTECHNIK RAPID PROTOTYPING       ZIEGELEISTR 3 B                                                                       WALTERSHAUSEN DE 99880
GMB                                                                                                                         GERMANY
MODELON AB
MODELON AB                            SCHEELEVAGEN 17                                                                       LUND SE 22370 SWEDEN
MODELON AB                            IDEON SCIENCE PARK                                                                    LUND S 223 70 SWEDEN
MODELOS INDUSTRIALES DE NORTE         JUAN VAZQUEZ DE ACUNA 882 PTE        COL VIRREYES POPULAR                             SALTILLO CZ 25220 MEXICO
MODELOS INDUSTRIALES DE NORTE SA DE   JUAN VAZQUEZ DE ACUNA 882 PTE        COL VIRREYES POPULAR                             SALTILLO CZ 25220 MEXICO

MODELOS INDUSTRIALES DE NORTE SA DE BLVD. FRANCISCO L MADERO               NO 2480 TTE. U.HABITACINAL      SATILLO          MEXICO C.P 25060
                                                                           FRANCISCO L.MADERO
MODELOS INDUSTRIALES DEL              NORTE SA DE CV                       BLVD FRANCISCO 1 MADERO #2480   COLONIA UNIDAD   25120 CH MEXICO MEXICO
                                                                                                           HABITACIONAL
MODELS & TOOLS INC                    51400 BELLESTRI CT                                                                                               UTICA              MI 48315‐2749
MODELS & TOOLS INC                    ATTN: CORPORATE OFFICER/AUTHORIZED   51400 BELLESTRI CT                                                          SHELBY TOWNSHIP    MI 48315‐2749
                                      AGENT
MODELS & TOOLS INC                    51400 BELLESTRI CT                                                                                               UTICA             MI    48315‐2749
MODELS & TOOLS/TROY                   51400 BELLESTRI CT                                                                                               UTICA             MI    48315‐2749
MODELSKI, SUSAN B                     21613 WINSHALL ST                                                                                                ST CLAIR SHRS     MI    48081‐1215
MODEN ‐ GIROUX, INC                   6344 TRANSIT RD                      TRANSIT HILL PHARMACY                                                       DEPEW             NY    14043‐1031
MODEN, JAY I                          19 CHESTNUT DR                                                                                                   HAMLIN            NY    14464‐9501
MODEN, LINDA L                        1324 BRENDA CT                                                                                                   UPLAND            CA    91786‐2502
MODEN, WILLIAM J                      600 S GREY RD                                                                                                    AUBURN HILLS      MI    48326‐3814
MODENA, MARK S                        52300 SAWMILL CREEK DR                                                                                           MACOMB            MI    48042‐5675
MODENA, MARK STEPHEN                  52300 SAWMILL CREEK DR                                                                                           MACOMB            MI    48042‐5675
MODENIA COOLEY                        4705 LORIENT DR                                                                                                  CLEVELAND         OH    44128‐5123
MODER, MICHAEL D                      5801 ROSEBROOK DR                                                                                                TROY              MI    48085‐3880
MODERN ACCESS SYSTEMS INC             170 STEELWELL RD STE 100                                                              BRAMPTON ON L6T 5T3
                                                                                                                            CANADA
MODERN AUTO CARE                      9051 FLYING CLOUD DR                                                                                             EDEN PRAIRIE      MN    55347‐1922
MODERN AUTO COMPANY, INC.             JAMES FELTMANN                       6224 HIGHWAY 100                                                            WASHINGTON        MO    63090‐6465
MODERN AUTO COMPANY, INC.             6224 HIGHWAY 100                                                                                                 WASHINGTON        MO    63090‐6465
MODERN BODY ENGINEERING CORP          1900 E 14 MILE RD                                                                                                MADISON HTS       MI    48071‐1545
MODERN BODY/MAD HGTS                  1900 E 14 MILE RD                                                                                                MADISON HEIGHTS   MI    48071‐1545
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Name                               Address1                         Address2                  Address3   Address4                City                 State Zip
MODERN BUILDERS SUPPLY             G. TAYLOR EVANS                  45 KARAGO AVE                                                BOARDMAN              OH 44512‐5950
MODERN CHEVROLET COMPANY           5955 UNIVERSITY PKWY                                                                          WINSTON SALEM         NC 27105‐1341
MODERN CHEVROLET COMPANY           ROBERT FOWLER                    5955 UNIVERSITY PKWY                                         WINSTON SALEM         NC 27105‐1341
MODERN CHEVROLET COMPANY                                                                                                         WINSTON‐SALEM         NC 27105
MODERN CHEVROLET COMPANY           5415 KELLEY MOORE DR                                                                          WINSTON SALEM         NC 27105‐2055
MODERN CHEVROLET SALES,            5600 REDBUD HWY                                                                               HONAKER               VA
INCORPORATE
MODERN CHEVROLET SALES,            WILLIAM RUTHERFORD               5600 REDBUD HWY                                              HONAKER              VA 24260
INCORPORATED
MODERN CHEVROLET SALES,            5600 REDBUD HWY                                                                               HONAKER              VA 24260
INCORPORATED
MODERN CLASSIC MOTORS, INC.        355 WILLIAM HILTON PKWY                                                                       HILTON HEAD ISLAND   SC   29926‐2416
MODERN CLASSIC MOTORS, INC.        GORDON FAULKNER                  355 WILLIAM HILTON PKWY                                      HILTON HEAD ISLAND   SC   29926‐2416
MODERN COMMUNICATIONS INC          1231 HORAN DRIVE                                                                              FENTON               MO   63026
MODERN CRANE TECHNOLOGIES          4061 ARTHUR ST                   PO BOX 20018                                                 SAGINAW              MI   48602‐1080
MODERN CRANE TECHNOLOGIES LLC      4061 ARTHUR ST                                                                                SAGINAW              MI   48602‐1080
MODERN DES/14 MILE                 1027 E 14 MILE RD                                                                             TROY                 MI   48083‐4527
MODERN DISPOSAL SERVICES INC       4746 MODEL CITY RD               PO BOX 209                                                   MODEL CITY           NY   14107‐9800
MODERN ENG TOOL/RSVL               15990 STURGEON ST                                                                             ROSEVILLE            MI   48066‐1836
MODERN ENG/1350 JOHN               1350 JOHN R RD                                                                                TROY                 MI   48083‐4328
MODERN ENG/WARREN                  28150 DEQUINDRE                                                                               WARREN               MI   48092
MODERN ENGINEERING                 PO BOX 67000                                                                                  DETROIT              MI   48267‐0733
MODERN ENGINEERING SERVICE CO      PO BOX 67733                                                                                  DETROIT              MI   48267‐0001
MODERN ENGR/4540                   PO BOX 4540                                                                                   TROY                 MI   48099‐4540
MODERN ENGR/TROY                   100 E BIG BEAVER RD STE 500                                                                   TROY                 MI   48083‐1233
MODERN ENGR/WARREN                 28000 DEQUINDRE RD                                                                            WARREN               MI   48092‐2468
MODERN ENVIROMENTAL SVC CORP       747 ERIE AVE 3/14/2007 CM                                                                     NORTH TONAWANDA      NY   14120
MODERN EQ/PT WSHNGTN               336 SOUTH SPRING STREET          BOX 266                                                      PORT WASHINGTON      WI   53074
MODERN EQUIPMENT CO INC            336 S SPRING ST                                                                               PORT WASHINGTON      WI   53074‐2326
MODERN EXPOSITION SERVICES         424 S 700 E                                                                                   SALT LAKE CITY       UT   84102‐2864
MODERN FINANCIAL SERVICES CORP     29905 6 MILE RD                                                                               LIVONIA              MI   48152‐3603
MODERN FOOD MGMT SYSTEMS INC       2810 ELLIOTT DR                                                                               TROY                 MI   48083‐4635
MODERN FORWARDING & LEASI          CHRIS VERBEEM                    5935 BAXTER CRES                     LA SALLE ON N9H2N9
                                                                                                         CANADA
MODERN FORWARDING & LEASING CO INC CHRIS VERBEEM                    5935 BAXTER CRES                     LA SALLE ON N9H2N9
                                                                                                         CANADA
MODERN FORWARDING AND LEASING CO   5935 BAXTER CRESCENT BOX 6                                            LA SALLECANADA ON N9H
INC                                                                                                      2N9 CANADA
MODERN GARAGE, INC.                28 N CHURCH ST                                                                                SULLIVAN             MO   63080‐1749
MODERN GARAGE, INC.                DANIEL SCHMIDT                   28 N CHURCH ST                                               SULLIVAN             MO   63080‐1749
MODERN HANDLING EQUIPMENT          24 BROOKSIDE DR                                                                               WILMINGTON           DE   19804‐1102
MODERN HARD CHROME SERVICE CO      12880 E 9 MILE RD                                                                             WARREN               MI   48089‐2664
MODERN HARD/WARREN                 12880 E 9 MILE RD                                                                             WARREN               MI   48089‐2664
MODERN HYD/W CHICAGO               140 WEST GRAND LAKE BLVD.                                                                     WEST CHICAGO         IL   60185
MODERN HYDRAULICS / NEVADA LLC     134 W GRAND LAKE BLVD                                                                         WEST CHICAGO         IL   60185‐1937
MODERN HYDRAULICS/NEVADA LLC       140 W GRAND LAKE BLVD                                                                         WEST CHICAGO         IL   60185
MODERN IND/ERIE                    613 W 11TH ST                                                                                 ERIE                 PA   16501‐1503
MODERN INDUSTRIES INC              G‐3275 W PASADENA                                                                             FLINT                MI   48504
MODERN LANDFILL INC CANADA         2025 FRUITBELT PARKWAY                                                NIAGARA FALLS CANADA
                                                                                                         ON L2E 6S4 CANADA
MODERN LUXURY
MODERN LUXURY MEDIA INC            PO BOX 512808                                                                                 LOS ANGELES          CA 90051‐0808
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Name                                Address1                              Address2                         Address3                Address4                City            State Zip
MODERN LUXURY MEDIA LLC             MICHAEL KONG                          5455 WILSHIRE BLVD STE 1412                                                      LOS ANGELES      CA 90036‐4240
MODERN MACH/BRMNGHM                 2100 RIVERCHASE CENTER                SUITE 430                        P.O. BOX 360537                                 BIRMINGHAM       AL 35244
MODERN MACHINERY COMPANY INC        4622 INDEPENDENCE SQ                                                                                                   INDIANAPOLIS     IN 46203‐5941
MODERN MANAGEMENT INC               253 COMMERCE DR STE 105                                                                                                GRAYSLAKE         IL 60030‐7823
MODERN MEDICAL INC                  PO BOX 549                                                                                                             LEWIS CENTER     OH 43035‐0549
MODERN MEDICAL INCOPORATED          PO BOX 90484                                                                                                           CHICAGO           IL 60696‐0484
MODERN MEDICAL INCOR                PO BOX 549                                                                                                             LEWIS CENTER     OH 43035‐0549
MODERN MEDICAL, INC                 PO BOX 549                                                                                                             LEWIS CENTER     OH 43035‐0549
MODERN METAL                        MARY GUIDA                            726 BEACON                                                                       TRENTON          GA 30752
MODERN METAL & REFINING LTD         BESIDE OF ZHEN'AN RD SHANGSHA NO 6                                                              DONGGUAN CITY
                                                                                                                                    GUANGDONG CN 523868
                                                                                                                                    CHINA (PEOPLE'S REP)
MODERN METAL & REFINING LTD         BESIDE OF ZHEN'AN RD SHANGSHA NO 6    INDUSTRIAL ZONE CHANG'AN TO                               DONGGUAN CITY
                                                                                                                                    GUANGDONG CN 523868
                                                                                                                                    CHINA (PEOPLE'S REP)
MODERN METAL & REFINING LTD         MR. ERVINE SIU                        BESIDE ZHEN'AN RD SHANGSHA #6    INDUSTRIAL ZONE CHANG'AN DONGGUAN, GUANGDONG
                                                                                                           TO                       CHINA (PEOPLE'S REP)
MODERN METAL & REFINING LTD         UNIT 5‐8 9/F LAI SUN YUEN LONG        CTR 27 WANG YIP ST E YUEN LONG                            HONG KONG

MODERN METAL & REFINING LTD         RM 5‐8 9/F LAI SUN YUEN LONG CTR 27                                                            YUEN LONG NEW           YUEN LONG NEW        0
                                                                                                                                   TERRITORIES 0 HONG      TERRITORIES
                                                                                                                                   KONG, CHINA
MODERN METAL PRODUCTS CO            726 BEACON ST                                                                                                          ROCKFORD        IL   61131
MODERN METAL PRODUCTS CO INC        MARY GUIDA                            726 BEACON                                                                       TRENTON         GA   30752
MODERN METAL PRODUCTS CO INC        726 BEACON ST                                                                                                          MACHESNEY PK    IL   61111‐5904
MODERN MIRROR & GLASS               20809 KRAFT BLVD                                                                                                       ROSEVILLE       MI   48066‐2232
MODERN PARKING INC                  1200 WILSHIRE BLVD STE 300                                                                                             LOS ANGELES     CA   90017‐1931
MODERN PLASTICS INC                 ATTN CORPORATE                        PO BOX 3974                                                                      BRIDGEPORT      CT   06605‐0574
MODERN PROFESSIONAL SERVICES LLC    2401 W BIG BEAVER RD STE 400          FRMLY ME TOOL CONST & MOD                                                        TROY            MI   48084‐3327
                                                                          PROT
MODERN PROTO/2927 EL                2927 ELLIOTT DR                                                                                                        TROY            MI   48083‐4640
MODERN PROTO/TROY                   PO BOX 4540                                                                                                            TROY            MI   48099‐4540
MODERN SAILING ACADEMY              2310 MARINSHIP WAY                                                                                                     SAUSALITO       CA   94965‐1463
MODERN SALES & SERVICE, INC.        HWY 460 S                                                                                                              GRUNDY          VA   24614
MODERN SERVICE                      158 E CHATHAM ST                                                                                                       CARY            NC   27511
MODERN SILICONE TECHNOLOGIES INC    5777 MYERLAKE CIR                                                                                                      CLEARWATER      FL   33760‐2804
MODERN TIRE AND SERVICE CENTER      3736 E US HIGHWAY 64                                                                                                   LEXINGTON       NC   27292‐8067
MODERN TOOL & DIE CO                DENNIS GREEN                          700 LIVERPOOL DR.‐LIVERPOOL IP                                                   WAUKEGAN        IL   60085

MODERN TOOL/CLEVELND                880 STEEL DR                                                                                                           VALLEY CITY     OH 44280‐9736
MODERN TOOLS/TOLEDO                 PO BOX 779                            911 MATZINER ROAD                                                                TOLEDO          OH 43697‐0779
MODERN TRANSPORTATION SERVICESINC   PO BOX 77                                                                                                              CHICAGO         IL 60678‐0001

MODERNISTA                          109 KINGSTON ST                                                                                                        BOSTON          MA   02111
MODERNISTA LTD                      109 KINGSTON ST FL 2                                                                                                   BOSTON          MA   02111‐2134
MODERNISTA, LTD.                    109 KINGSTON ST FL 2                                                                                                   BOSTON          MA   02111‐2134
MODERNISTIC CARPET CLEANING IN      1460 RANKIN DR                                                                                                         TROY            MI   48083‐4021
MODERNISTIC CLEANING SERVICES INC   1460 RANKIN DR                                                                                                         TROY            MI   48083‐4021
MODERT, CAROL A                     1516 MARY AVENUE                                                                                                       LANSING         MI   48910‐5209
MODERT, CAROL A                     1516 MARY AVE                                                                                                          LANSING         MI   48910‐5209
MODERT, CLYDE D                     6600 PORTAGE LAKE RD LOT 7                                                                                             MUNITH          MI   49259‐9611
MODERWELL, KATHIE                   508 N UNION RD                                                                                                         DAYTON          OH   45417
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Name                               Address1                       Address2                   Address3      Address4              City              State Zip
MODESITT LAW OFFICE PC             321 OHIO ST                                                                                   TERRE HAUTE        IN 47807
MODESITT, EDNA                     5524 N CR 550 W                                                                               FARMLAND           IN 47340
MODEST ARMSTRONG                   3119 BRYNMAWR PL                                                                              FLINT              MI 48504‐2505
MODEST, JAVAUGHN                   16588 PRAIRIE                                                                                 DETROIT            MI 48221‐2915
MODESTA CANTU                      3333 HERON AVE SW                                                                             WYOMING            MI 49509‐3449
MODESTA DERENDINGER                111 E HAMBLETT ST                                                                             ORFORDVILLE        WI 53576‐9407
MODESTA IRIGOYEN                   426 PRICE AVE                                                                                 CALUMET CITY        IL 60409‐2645
MODESTA SANCHEZ                    530 N ADDISON RD                                                                              VILLA PARK          IL 60181‐1433
MODESTI JR, ARGELIO                234 KEARNEY AVE                                                                               BRONX              NY 10465‐3423
MODESTO CHABOLLA                   9423 MAYNE ST                                                                                 BELLFLOWER         CA 90706‐5214
MODESTO HERNANDEZ                  228 BRAINARD DR                                                                               BOARDMAN           OH 44512‐2803
MODESTO PEREZ                      120 ALCOTT PL APT 3‐G # 3                                                                     BRONX              NY 10475‐4246
MODESTO PHILLIP (509878)           ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                       WILMINGTON         DE 19801‐1813
MODESTO RAMOS                      47 PARKERSON RD                                                                               EDISON             NJ 08817‐4151
MODESTO, DOMINIC
MODESTO, DOMINIC; MODESTO, JOYCE   SHUMWAY G LYNN LAW OFFICES     4647 N 32ND ST             STE 230                             PHOENIX            AZ   85018‐3347

MODESTO, JOYCE
MODESTO, PHILLIP                   ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                       WILMINGTON        DE    19801‐1813
MODGLIN, CHARLES G                 130 MAGIC LILY DRIVE                                                                          GRIFFIN           GA    30223‐5885
MODGLIN, COLEEN M                  31073 GRANDVIEW RD.                                                                           GRAVOIS MILLS     MO    65037‐4505
MODGLIN, JUSTIN D                  8620 S HONEYCREEK RD                                                                          MUNCIE            IN    47302
MODGLIN, KEITH B                   13239 LORENZO BLVD                                                                            WESTFIELD         IN    46074‐8310
MODGLIN, KEITH B.                  13239 LORENZO BLVD                                                                            WESTFIELD         IN    46074‐8310
MODGLIN, PEGGY A                   130 MAGIC LILY DRIVE                                                                          GRIFFIN           GA    30223‐5885
MODGLIN, RICHARD D                 15525 COUNTY ROAD 108                                                                         BRISTOL           IN    46507‐9246
MODGLIN, RUSSELL E                 31073 GRANDVIEW RD                                                                            GRAVOIS MILLS     MO    65037‐4505
MODGLIN, STANLEY E                 401 N PARK DR                                                                                 BELTON            MO    64012‐1963
MODI ANKESH                        5093 MANSFIELD AVENUE                                                                         ROYAL OAK         MI    48073‐1104
MODI, ANKESH                       5093 MANSFIELD AVE                                                                            ROYAL OAK         MI    48073‐1104
MODI, BRADLEY A                    15828 HANOVER AVE                                                                             ALLEN PARK        MI    48101‐2738
MODI, BRADLEY ALLEN                15828 HANOVER AVE                                                                             ALLEN PARK        MI    48101‐2738
MODI, MANOJKUMAR S                 2047 HICKORY TRAIL DR                                                                         ROCHESTER HILLS   MI    48309‐4508
MODI, SURABHI M                    2047 HICKORY TRAIL DR                                                                         ROCHESTER HILLS   MI    48309‐4508
MODI, VIPUL A                      4540 OAKMONT CT                                                                               SHELBY TOWNSHIP   MI    48317‐4030
MODIC, VICTOR J                    811 MICHIGAN BLVD                                                                             LINCOLN PARK      MI    48146‐4372
MODICA JOHN (ESTATE OF) (465079)   BILBREY & HYLIA                8724 PIN OAK RD                                                EDWARDSVILLE      IL    62025‐6822
MODICA, JEROME                     222 PENNSYLVANIA ST                                                                           BUFFALO           NY    14201‐1746
MODICA, JOHN                       BILBREY & HYLIA                8724 PIN OAK RD                                                EDWARDSVILLE      IL    62025‐6822
MODICA, JOSEPHINE                  10936 ROCKY LEDGE LANE                                                                        PAINESVILLE       OH    44077‐8604
MODICA, LOUIS A                    5070 N CORONADO VISTAS PL                                                                     TUCSON            AZ    85749‐7163
MODICA‐AMORE, FRANCESCO            59 RAE DR                                                                                     ROCHESTER         NY    14626‐1813
MODIE MCCLENDON JR                 2988 WELLAND DR                                                                               SAGINAW           MI    48601‐6941
MODINE CLIMATE SYSTEMS             DICK LEVINE                    PO BOX 367                 551 TAPP RD                         LEXINGTON         KY    40588‐0367
MODINE HUNGARIA KFT                LOVOI UT 35                                                             MEZOKOVESD H‐3400
                                                                                                           HUNGARY
MODINE MANUFACTURING CO            1500 DEKOVEN AVE               RMVD 02/06/06 CS                                               RACINE            WI    53403
MODINE MANUFACTURING CO            4400 RINGWOOD RD                                                                              RINGWOOD          IL    60072‐9603
MODINE MANUFACTURING CO            2009 REMKE AVE                                                                                LAWRENCEBURG      TN    38464‐2297
MODINE MANUFACTURING CO            822 INDUSTRIAL DR                                                                             TRENTON           MO    64683‐2091
MODINE MANUFACTURING CO            JON MORELLI                    4400 RINGWOOD ROAD                       STRATFORD ON CANADA
MODINE MANUFACTURING COMPANY       1500 DE KOVEN AVE                                                                             RACINE            WI 53403‐2552
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Name                               Address1                             Address2                     Address3               Address4                City              State Zip
MODINE MANUFACTURING COMPANY       JON MORELLI                          11018 DELTA DRIVE. SUITE B                          RAMOS ARIZPE CZ 25900
                                                                                                                            MEXICO
MODINE MANUFACTURING COMPANY     KIM WESTCOMB                           1500 DE KOVEN AVE                                                           RACINE             WI 53403‐2552
MODINE MANUFACTURING COMPANY INC 1500 DE KOVEN AVE                                                                                                  RACINE             WI 53403‐2552

MODINE MANUFACTURING COMPANY INC                                        1500 DE KOVEN AVE                                                           RACINE             WI 53403‐2540

MODINE MANUFACTURING COMPANY INC 2009 REMKE AVE                                                                                                     LAWRENCEBURG       TN 38464‐2243

MODINE MANUFACTURING COMPANY INC 822 INDUSTRIAL DR                                                                                                  TRENTON           MO 64683‐2091

MODINE MANUFACTURING COMPANY INC BOB BENSON                             600 WATER ST.                                                               KENDALLVILLE       IN   46755

MODINE MANUFACTURING COMPANY INC DICK LEVINE                            PO BOX 367                   551 TAPP RD                                    LEXINGTON          KY   40588‐0367

MODINE MANUFACTURING COMPANY INC FARRELL FISHER                         AUTOMOTIVE & INDUSTRIAL      822 INDUSTRIAL DRIVE                           FRASER             MI 48026

MODINE MANUFACTURING COMPANY INC FERRELL FISHER                         2009 REMKE AVE                                                              LAWRENCEBURG       TN 38464‐2243

MODINE MANUFACTURING COMPANY INC FERRELL FISHER                         2009 REMKE AVE.                                                             MORRISON           TN 37357

MODINE MANUFACTURING COMPANY INC JON MORELLI                            11018 DELTA DRIVE. SUITE B                          RAMOS ARIZPE CZ 25900
                                                                                                                            MEXICO
MODINE MANUFACTURING COMPANY INC JON MORELLI                            4400 RINGWOOD ROAD                                  STRATFORD ON CANADA

MODINE MANUFACTURING COMPANY INC KUIPERSTRAAT 2                                                                             UDEN NL 5405 BB
                                                                                                                            NETHERLANDS
MODINE MFG CO                      PO BOX 53040                                                                                                     MILWAUKEE          WI   53288‐0001
MODINE MFG. CO.                    BOB BENSON                           600 WATER ST.                                                               KENDALLVILLE       IN   46755
MODINE MFG. CO.                    FERRELL FISHER                       2009 REMKE AVE                                                              LAWRENCEBURG       TN   38464‐2297
MODINE MFG. CO.                    FERRELL FISHER                       2009 REMKE AVE.                                                             MORRISON           TN   37357
MODINE MFG. COMPANY                FARRELL FISHER                       AUTOMOTIVE & INDUSTRIAL      822 INDUSTRIAL DRIVE                           FRASER             MI   48026
MODINE ROBERT                      643 KAREN DR                                                                                                     SOMONAUK           IL   60552‐9654
MODINE UDEN BV                     KUIPERSTRAAT 2                       5405 BB UDEN                                        UDEN 5405 NETHERLANDS
MODINE UDEN BV                     KUIPERSTRAAT 2                                                                           UDEN NL 5405 BB
                                                                                                                            NETHERLANDS
MODINE, ANNA S                     227 PLAINFIELD                                                                                                   DEABORN HEIGHTS    MI   48127
MODINE, MILES E                    2770 BROWN HOLLOW RD                                                                                             COLUMBIA           TN   38401‐7179
MODINE/RACINE                      1500 DE KOVEN AVE                                                                                                RACINE             WI   53403‐2540
MODINEER                           MIKE STESIAK                         2190 INDUSTRIAL DR                                                          NILES              MI   49120‐1233
MODINEER CO                        PO BOX 640                           2190 INDUSTRIAL DRIVE                                                       NILES              MI   49120‐0640
MODINEER CO                        2190 INDUSTRIAL DR                                                                                               NILES              MI   49120
MODINEER CO                        ATTN: CORPORATE OFFICER/AUTHORIZED   2190 INDUSTRIAL DR                                                          NILES              MI   49120‐1233
                                   AGENT
MODINEER CO INC                    BRUCE BENNETT                        1501 S 3RD ST                                                               NILES              MI   49120‐4026
MODINEER CO INC                    BRUCE BENNETT                        1501 SOUTH 3RD STREET                                                       SAINT JOHNS        MI   48879
MODINEER CO INC                    MIKE STESIAK                         2190 INDUSTRIAL DR                                                          NILES              MI   49120‐1233
MODINEER CO INC                    2190 INDUSTRIAL DR                   PO BOX 640                                                                  NILES              MI   49120‐1233
MODINEER CO INC                    1501 S 3RD ST                                                                                                    NILES              MI   49120‐4026
MODINEER CO INC                    2190 INDUSTRIAL DR                                                                                               NILES              MI   49120‐1233
MODINEER INC.                      BRUCE BENNETT                        1501 S 3RD ST                                                               NILES              MI   49120‐4026
MODINEER INC.                      BRUCE BENNETT                        1501 SOUTH 3RD STREET                                                       SAINT JOHNS        MI   48879
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Name                                 Address1                          Address2                           Address3                     Address4         City             State Zip
MODISETT, CALVIN F                   1309 N EVERGREEN ROAD             NO.5                                                                             SPOKANE VALLEY    WA 99216
MODISETT, OPAL L                     2001 N MEADOW WAY CIR                                                                                              ARLINGTON         TX 76015‐4017
MODISETT, W M                        6460 ANDERSONVILLE RD                                                                                              WATERFORD         MI 48329‐1410
MODISETT, W MARC                     6460 ANDERSONVILLE RD                                                                                              WATERFORD         MI 48329‐1410
MODISETTE, ANNIE F                   10245 DRAYCOTT AVE                                                                                                 INDIANAPOLIS      IN 46236‐7011
MODISETTE, RAYMOND A                 12125 SE 15TH ST                                                                                                   CHOCTAW           OK 73020‐7101
MODISPAUGH, ROGER W                  229 CHAPEL HILL DR NW                                                                                              WARREN            OH 44483‐6705
MODJESKI, MAXINE E                   12975 JACOBSON RD                                                                                                  WELLSTON          MI 49689‐9590
MODJESKI, MAXINE E                   12975 JACOBSEN RD                                                                                                  WELLSTON          MI 49689‐9590
MODJESKI, STANLEY J                  12636 GREEN TREE TRL                                                                                               SOUTH LYON        MI 48178‐9360
MODLIN, BERNICE F                    4601 LANNOY LANE RR 7                                                                                              ANDERSON          IN 46017
MODLIN, BOBBY L                      5454 SKI DR                                                                                                        LOOGOOTEE         IN 47553‐5558
MODLIN, BYRON                        1820 W RIGGIN RD                                                                                                   MUNCIE            IN 47304‐1166
MODLIN, FRANCES B                    11860 US HIGHWAY 50                                                                                                HILLSBORO         OH 45133‐8482
MODLIN, FRANCES B                    11860 US 50 EAST                                                                                                   HILLSBORO         OH 45113‐5113
MODLIN, ROLAND A                     2103 EASTLAWN DR APT 23A                                                                                           MIDLAND           MI 48642
MODLING, JOHN B                      2907 FONTAINEBLEAU DR                                                                                              DORAVILLE         GA 30360‐1215
MODOC COUNTY TAX COLLECTOR           204 SOUTH COURT STREET                                                                                             ALTURAS           CA 96101
MODOCK, CARMEN M                     2540 WOLF DEN LN                                                                                                   ATLANTA           GA 30349‐8766
MODONAS, DIANA                       P O BOX 1426                                                                                                       MENLO PARK        CA 94026‐1426
MODONAS, DORIS G                     1520 HUNTINGTON LN                                                                                                 DAVISON           MI 48423‐8307
MODOU CEESAY                         48056 WILLOW ST APT 4312                                                                                           WIXOM             MI 48393‐2638
MODOVSKY DENNIS R (446445)           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                                 CLEVELAND         OH 44115
                                     GAROFOLI                          FL
MODOVSKY, DENNIS R                   CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                                  CLEVELAND        OH 44115
                                     GAROFOLI                          FL
MODRAK, FAIRBELLE M                  3471 E SCOTTWOOD                                                                                                   BURTON           MI   48529
MODRAK, PAUL G                       41 JEFFERSON DR                                                                                                    MONESSEN         PA   15062‐2503
MODRAK, THADDEUS M                   3471 E SCOTTWOOD AVE                                                                                               BURTON           MI   48529‐1851
MODRALL SPERLING ROEHL HARRIS & SISK PO BOX 2168                                                                                                        ALBUQUERQUE      NM   87103‐2168
PA
MODRALL, SPERLING, ROEHL, HARRIS &   MR. R.E. THOMPSON, ESQ            500 FOURTH STREET, NW              SUNWEST BUILDING, SUITE                       ALBUQUERQUE      NM 87102
SISK                                                                                                      1000
MODRCIN, CONSTANCE O                 268 ASPEN LANE                                                                                                     SUNRISE BEACH    MO   65079‐5345
MODRCIN, CONSTANCE O                 268 ASPEN LN                                                                                                       SUNRISE BEACH    MO   65079‐5345
MODRCIN, MATT J                      7021 LATHROP AVE                                                                                                   KANSAS CITY      KS   66109‐1820
MODREAU, L ANNETTE                   2800 SW 41ST ST BLDG 200                                                                                           OCALA            FL   34474‐4487
MODRELL, DELORES B                   R 4 BOX 248 A                                                                                                      NEVADA           MO   64772‐9253
MODRESKE ROGER A                     GLASSER AND GLASSER               CROWN CENTER                       580 EAST MAIN STREET SUITE                    NORFOLK          VA   23510
                                                                                                          600
MODRESKI, PAULINE                   13232 N 98TH AVE UNIT C                                                                                             SUN CITY         AZ   85351‐3278
MODRESKI, RICHARD W                 2423 31ST ST SW                                                                                                     WYOMING          MI   49519‐2432
MODRICH, LAWRENCE                   30656 INDIGO ST                                                                                                     ROSEVILLE        MI   48066‐1485
MODRICK, EMILY                      2202 S CYPRESS BEND DR             BLD 5 APT 502                                                                    POMPANO BEACH    FL   33069‐5632
MODRIS ZELMAJS                      13100 KIRTON AVE                                                                                                    CLEVELAND        OH   44135‐4902
MODRO, WALDEMAR                     N9518 STONE SCHOOL RD                                                                                               MUKWONAGO        WI   53149‐1926
MODROVSKY, MATTHEW E                PO BOX 1293                                                                                                         BOWLING GREEN    KY   42102‐1293
MODRY, VIRGINIA M                   2400 S FINLEY RD APT 160                                                                                            LOMBARD          IL   60148‐6494
MODRYCKI, EUGENE J                  537 LOCKMOORE CT                                                                                                    ROCHESTER HLS    MI   48307‐4228
MODRZEJEWSKI, DAVID                 13315 POPLAR                                                                                                        SOUTHGATE        MI   48195‐2449
MODRZEJEWSKI, DAVID                 30853 PARKWOOD STREET                                                                                               WESTLAND         MI   48186‐5316
MODRZEJEWSKI, THEODORE              619 6TH AVE N                                                                                                       EDMONDS          WA   98020‐3007
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Name                              Address1                             Address2                      Address3   Address4              City              State Zip
MODRZYNSKI, JEFFREY G             908 BLACKBURN ST SW                                                                                 WYOMING            MI 49509‐1934
MODRZYNSKI, PENNY S               4951 MARYHILL RD                                                                                    SYLVANIA           OH 43560‐2623
MODRZYNSKI, RHONDA L              6661 HAZELDELL DR                                                                                   TEMPERANCE         MI 48182‐1222
MODRZYNSKI, RHONDA LOUISE         6661 HAZELDELL DR                                                                                   TEMPERANCE         MI 48182‐1222
MODRZYNSKI, SUSAN K               203 LINCOLN                                                                                         HOPKINS            MI 49328‐9694
MODSON, LORRI A                   40652 BRECKEN RIDGE LN                                                                              PLYMOUTH           MI 48170‐7610
MODSPACE                          1200 SWEDESFORD RD                                                                                  BERWYN             PA 19312‐1078
MODSPACE                          BETH MORRIS                          1200 SWEDESFORD RD                                             BERWYN             PA 19312‐1078
MODUGNO, GUISEPPE                 24 SAINT JOHN ST                                                                                    LITTLE FERRY       NJ 07643‐1322
MODULAR & PLASTIC PRODUCTS        WENDY CINCO                          2121 W CHICAGO RD                                              NILES              MI 49120
MODULAR ALUMINUM TECHNOLOGY       10435 ORTONVILLE RD                                                                                 CLARKSTON          MI 48348
MODULAR AUTOMOTIVE SYSTEMS        26195 BUNERT RD                                                                                     WARREN             MI 48089‐3645
MODULAR AUTOMOTIVE SYSTEMS LLC    26195 BUNERT RD                                                                                     WARREN             MI 48089‐3645
MODULAR AUTOMOTIVE SYSTEMS LLC    JOE FUERST                           26195 BUNERT RD                                                WARREN             MI 48089‐3645
MODULAR AUTOMOTIVE SYSTEMS LLC    JOE FUERST                           26195 BUNERT ROAD                                              TRAVERSE CITY      MI 49684
MODULAR CONTAINER SYSTEMS INC     12 ALEX ST                                                                                          LAVONIA            GA 30553‐1265
MODULAR DISPLAY SYSTEMS           650 S JEFFERSON ST                   STE D                                                          PLACENTIA          CA 92870‐6640
MODULAR INDUSTRIAL COMPONENTS     MICCO                                25831 COMMERCE DR                                              MADISON HEIGHTS    MI 48071‐4152
MODULAR SPACE CORP                1350 NEW BRIGHTON BLVD                                                                              MINNEAPOLIS        MN 55413‐1642
MODULAR SPACE CORP                3268 S HARDING ST                                                                                   INDIANAPOLIS       IN 46217‐3138
MODULAR SPACE CORPORATION         1200 SWEDESFORD RD                                                                                  BERWYN             PA 19312
MODULAR SPACE CORPORATION         80 LANCASTER AVE                                                                                    DEVON              PA 19333‐1305
MODULAR SPACE CORPORATION         ATTN: CORPORATE OFFICER/AUTHORIZED   1200 SWEDESFORD RD                                             BERWYN             PA 19312‐1078
                                  AGENT
MODULAR TRANSPORTATION CO         393 MART ST SW                                                                                      WYOMING           MI   49548‐1014
MODY, PARTHIV                     2154 ALFRED DR                                                                                      TROY              MI   48085‐1061
MODYLENE PAYNE                    12268 W. 00NS                                                                                       RUSSIAVILLE       IN   46979
MODZEL, RICHARD A                 6422 LOVE WARNER RD                                                                                 CORTLAND          OH   44410‐8620
MODZEL, RICHARD R                 914 MCARTHUR DR                                                                                     GIRARD            OH   44420‐2456
MODZELESKI, RICHARD S             1701 INDIAN LAKES RD                                                                                CEDAR SPRINGS     MI   49319‐9443
MODZELESKI, ROY L                 4600 FRUIT RIDGE AVE NW                                                                             GRAND RAPIDS      MI   49544‐9715
MODZELESKI, ROY L.                4600 FRUIT RIDGE AVE NW                                                                             GRAND RAPIDS      MI   49544‐9715
MODZELEWSKI, CHARLES I            1930 LAKE RD                                                                                        HAMLIN            NY   14464‐9567
MODZELEWSKI, MARK J               6 WOODLAND DR                                                                                       WESTPORT          CT   06880
MODZELEWSKI, NORBERT A            2057 STANRICH CT                                                                                    MARIETTA          GA   30062‐6721
MODZELEWSKI, ZYGMUNT E            3038 CHINABERRY CT                                                                                  STERLING HTS      MI   48314‐1878
MODZELEWSKI, ZYGMUNT EDWARD       3038 CHINABERRY CT                                                                                  STERLING HTS      MI   48314‐1878
MOE EDWARD JAMES (343889)         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA   23510
                                                                       STREET, SUITE 600
MOE HAKIMI
MOE JOHN                          6351 TWILIGHT CIR                                                                                   FORT WORTH        TX 76179‐3782
MOE MD, JOHN F                    717 SAINT JAMES PL                                                                                  NOBLESVILLE       IN 46060‐4235
MOE OF MID‐MICHIGAN               G3228 KLEINPELL ST                                                                                  BURTON            MI 48529‐1092
MOE'S AUTOMOTIVE                  BAY 12, 4845‐79TH STREET                                                      RED DEER AB T4P 2T4
                                                                                                                CANADA
MOE'S AUTOMOTIVE SERVICE CENTER   125 W SIERRA MADRE BLVD                                                                             SIERRA MADRE      CA   91024‐2460
MOE'S TRUCKS                      723 9TH AVE                                                                                         KIRKLAND          WA   98033
MOE, CAROLE A                     1503 W6TH AVE                                                                                       BRODHEAD          WI   53520‐1827
MOE, CHARLENE M                   1824 KENSINGTON                                                                                     JANESVILLE        WI   53546‐5750
MOE, CHARLES S                    265 1ST ST APT 1                                                                                    SOUTH AMBOY       NJ   08879
MOE, D WAYNE A                    35 BRANDT ST 3                                                                                      DAYTON            OH   45404
MOE, DAVID E                      700 N ELLICOTT CREEK RD                                                                             AMHERST           NY   14228‐2402
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Name                      Address1                      Address2                      Address3   Address4         City              State Zip
MOE, EDWARD JAMES         GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                        STREET, SUITE 600
MOE, FRANCES A            102 E 18TH ST APT 3                                                                     MARYSVILLE        CA   95901‐4249
MOE, KAREN M              194 CORONATION DR                                                                       AMHERST           NY   14226‐1610
MOE, KATHRYN              7389 W PARAISO DR                                                                       GLENDALE          AZ   85310‐5822
MOE, KENNETH O            121 N 4TH ST                                                                            EVANSVILLE        WI   53536‐1040
MOE, LARRY A              2263 SUN VALLEY DR                                                                      ANN ARBOR         MI   48108‐8906
MOE, LUISE MARGARETE      322 TONAWANDA CREEK RD.                                                                 AMHERST           NY   14228‐1260
MOE, ROBERT L             3150 NE 36TH AVE LOT 426                                                                OCALA             FL   34479‐3167
MOE, RONALD J             1732 CRANSTON RD                                                                        BELOIT            WI   53511‐2542
MOE, STEVEN R             1516 WILLIAMS DR                                                                        STOUGHTON         WI   53589‐3336
MOE, SUSAN M              700 N ELLICOTT CREEK RD                                                                 AMHERST           NY   14228‐2402
MOE, TODD M               4606 SANDPIPER TRL                                                                      COTTAGE GROVE     WI   53527
MOEAKI, LOSE              29W760 GALBREATH DR                                                                     WARRENVILLE       IL   60555‐1409
MOEBES, CLINTON           1100 AVALON SQ # 1425                                                                   GLEN COVE         NY   11542‐2877
MOEBIUS, GARY R           26040 COUNTESS LN                                                                       BONITA SPRINGS    FL   34135‐6543
MOEBIUS, HOLLY L          4300 SHROYER ROAD                                                                       DAYTON            OH   45429‐3024
MOEBIUS, LEE M            6650 SANDYWELL                                                                          TEMPERANCE        MI   48182
MOEBIUS, MARY K           3353 PHILLIP AVE                                                                        FLINT             MI   48507‐3302
MOEBS, BRIAN              1055 BLACKFOOT DR                                                                       EVANS             GA   30809‐5282
MOEBS, CHRISTOPHER R      2001 SOUTHWEST KANAN STREET                                                             PORTLAND          OR   97239‐2093
MOEBS, KENNETH W          14770 MULBERRY CT                                                                       SHELBY TWP        MI   48315‐4313
MOEBUIS, MICHAEL D        276 LONGHORN DR                                                                         BOSSIER CITY      LA   71112‐9709
MOEBUIS, MICHAEL DAVID    276 LONGHORN DR                                                                         BOSSIER CITY      LA   71112‐9709
MOECK ROBERT              2823 THURLESTON LN                                                                      JOHNS CREEK       GA   30097‐6200
MOECKEL, CLARENCE R       3815 VIEW ST                                                                            NEWTOWN           OH   45244‐2422
MOECKEL, ERNEST P         2124 VAN LEAR ALY                                                                       CINCINNATI        OH   45202‐4929
MOECKEL, JAMES B          132 TAYLOR WAY DR                                                                       HEBRON            OH   43025‐9482
MOECKEL, RALPH K          2112 OHIO AVE                                                                           CINCINNATI        OH   45202‐4922
MOECKEL, SILAS            PO BOX 383                                                                              MIDDLEBURY        CT   06762‐0383
MOEGGENBERG, GREG A       1359 N ISABELLA RD                                                                      MT PLEASANT       MI   48858‐9221
MOEHLAU, CURT C           7244 EDGEWATER CIR                                                                      NORTH TONAWANDA   NY   14120‐9712
MOEHLE, BETTY L           53211 SATURN DR                                                                         SHELBY TWP        MI   48316‐2333
MOEHLE, HELEN M           1059 BROOKFIELD DR                                                                      MEDINA            OH   44256‐2881
MOEHLE, MARK A            1115 RIDGEWAY DR                                                                        FRANKLIN          TN   37067‐4024
MOEHLE, PATRICK H         3059 HERBELL DRIVE                                                                      WATERFORD         MI   48328‐3118
MOEHLENKAMP ENLOE         9202 BEHNER BROOK DR                                                                    INDIANAPOLIS      IN   46250‐1449
MOEHLIG, CARMELA M        12851 GRAND HAVEN DR                                                                    STERLING HTS      MI   48312‐3222
MOEHLING, RICHARD I       8529 HURON RIVER DR                                                                     WHITE LAKE        MI   48386
MOEHLMAN, HELEN L         529 TOWNLINE RD 151                                                                     NORWALK           OH   44857‐9254
MOEHLMAN, HELEN L         529 TOWNLINE ROAD 151                                                                   NORWALK           OH   44857‐9254
MOEHLMAN, JOANNE          14710 158TH ST                                                                          BONNER SPRNGS     KS   66012‐7795
MOEHRING, LAWRENCE N      5196 PETERSBURG RD                                                                      PETERSBURG        KY   41080
MOEHRLE, CLAYTON E        2475 UPPER MOUNTAIN RD                                                                  SANBORN           NY   14132‐9389
MOEHRMAN, GAYLAND C       PO BOX 52                                                                               SHERWOOD          OH   43556‐0052
MOELICH, E F              2017 E SPINNINGWHEEL LN                                                                 BLOOMFIELD        MI   48304‐1064
MOELIUS, GARY             843 S CONCOURSE                                                                         KEYPORT           NJ   07735‐5350
MOELLENBECK JR, LOUIS P   7 FOXBORO CT                                                                            SAINT PETERS      MO   63376‐3015
MOELLENBECK, DAVID L      2501 OPAL LN                                                                            TROY              MO   63379‐4839
MOELLENBECK, VICKY M      2501 OPAL LN                                                                            TROY              MO   63379‐4839
MOELLENBERG, WILLIAM C    6754 5TH AVE                                                                            SYLVANIA          OH   43560‐3278
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Name                            Address1                            Address2                       Address3   Address4         City               State Zip
MOELLENDICK, JOE                GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                                    260
MOELLENHOFF, ALFRED T           7318 MACLEOD LN                                                                                DARDENNE PRAIRIE   MO   63368‐7235
MOELLER AUTO ELECTRIC SERVICE   748 N MAIN ST                                                                                  DAVENPORT          IA   52803‐5222
MOELLER DAVID                   33 SUNNY SHORE DR                                                                              ORMOND BEACH       FL   32176‐3715
MOELLER MANUFACTURING           43938 PLYMOUTH OAKS BLVD                                                                       PLYMOUTH           MI   48170‐2584
MOELLER MFG CO INC              43938 PLYMOUTH OAKS BLVD                                                                       PLYMOUTH           MI   48170‐2584
MOELLER PRODUCTS CO INC         PO BOX 1736                                                                                    GREENVILLE         MS   38702‐1736
MOELLER PRODUCTS CO INC         1281 PICKETT ST                                                                                GREENVILLE         MS   38703‐2454
MOELLER ROBERT                  13486 FM 237                                                                                   MEYERSVILLE        TX   77974‐4201
MOELLER, BARBARA E              823 OAK ST                                                                                     TIPTON             IN   46072‐1147
MOELLER, C WILLIAM              1322 EDGEWOOD RD                                                                               BIRMINGHAM         MI   48009‐1778
MOELLER, CAROL                  4915 BEACH RIDGE RD.                                                                           LOCKPORT           NY   14094‐9642
MOELLER, CHRISTOPHER W          1322 EDGEWOOD RD                                                                               BIRMINGHAM         MI   48009‐1778
MOELLER, DAVID K                311 E LOOKOUT LN                                                                               BLOOMINGTON        IN   47408‐9771
MOELLER, DAVID P                6318 KARL RD                                                                                   COLUMBUS           OH   43229‐2131
MOELLER, DOUGLAS R              1672 HILLCREST DR                                                                              LAKE               MI   48632‐9024
MOELLER, ERIC H                 30841 IRIS CT                                                                                  NORTH OLMSTED      OH   44070‐6321
MOELLER, ERIC V
MOELLER, ESTHER F               324 W 15TH ST                                                                                  HERMANN            MO   65041‐1509
MOELLER, EVELYN A               1234 CENTER ST                                                                                 EAST AURORA        NY   14052‐3039
MOELLER, FRANKLIN E             261 PARKDALE AVE                                                                               EAST AURORA        NY   14052‐1618
MOELLER, FRED A                 171 EMERY DRIVE                                                                                CRIMORA            VA   24431‐2301
MOELLER, GEORGE E               3673 SHADY BLUFF DR                                                                            LARGO              FL   33770‐4519
MOELLER, HERBERT A              3065 MARION ST                                                                                 LEWISTON           MI   49756‐8659
MOELLER, JACK L                 1728 PONDEROSA TRL                                                                             SANFORD            MI   48657‐9290
MOELLER, JANET C                1322 EDGEWOOD RD                                                                               BIRMINGHAM         MI   48009‐1778
MOELLER, JANET M                1410 LEISURE DR                                                                                FLINT              MI   48507‐4056
MOELLER, JANICE L               3000 N APPERSON WAY TRLR 366                                                                   KOKOMO             IN   46901‐1301
MOELLER, JOHN R                 15840 LUXEMBURG                                                                                FRASER             MI   48026‐4715
MOELLER, KARL C                 1024 LAKESIDE DR                                                                               MC CALLA           AL   35111
MOELLER, LEON L                 9717 GLITTERING STAR AVE                                                                       LAS VEGAS          NV   89147‐8242
MOELLER, MATTHEW ROBERT         5935 SOUTH 455 EAST                                                                            WOLCOTTVILLE       IN   46795‐8801
MOELLER, MICHAEL J              106 GARDENVALE DR                                                                              CHEEKTOWAGA        NY   14225‐2165
MOELLER, RALPH H                4618 DOWNERS DR                                                                                DOWNERS GROVE      IL   60515‐2724
MOELLER, RANDALL J              3905 STANTON DR                                                                                FORT WAYNE         IN   46815‐5041
MOELLER, RAYMOND F              2510 HUNTERS POINTE BLVD                                                                       EDWARDSVILLE       IL   62025‐3065
MOELLER, ROGER G                6560 SLAYTON SETTLEMENT RD          ROAD                                                       LOCKPORT           NY   14094‐1137
MOELLER, RONALD L               1893 LOCHINVAR BLVD                                                                            OAKLAND            MI   48363‐1822
MOELLER, RUTH B                 5950 ROCKDALE LN                                                                               SYLVANIA           OH   43560‐3638
MOELLER, RUTH B                 1780 EAST BARISTO ROAD                                                                         PALM SPRINGS       CA   92262‐7114
MOELLER, SUSAN                  N7365 SAINT PAUL RD                                                                            CRIVITZ            WI   54114‐7423
MOELLER, THOMAS                 DEARIE & ASSOCS JOHN C              3265 JOHNSON AVE                                           RIVERDALE          NY   10463
MOELLER, THOMAS E               6015 HOLLADAY ROAD                                                                             HILLSBORO          OH   45133‐6579
MOELLER, TIMOTHY J              846 FAIRMONT AVE                                                                               N TONAWANDA        NY   14120‐1971
MOELLER, TIMOTHY JOEL           846 FAIRMONT AVE                                                                               N TONAWANDA        NY   14120‐1971
MOELLER, TIMOTHY R              5935 S 455 E                                                                                   WOLCOTTVILLE       IN   46795‐8801
MOELLERING, DORIS A             479 BOUTELL DR                                                                                 GRAND BLANC        MI   48439‐1516
MOELLERS, JEREMY                23544 110TH ST                                                                                 CRESCO             IA   52136‐8627
MOELLMANN, EDMUND F             10714 FALLEN LEAF LN                                                                           PORT RICHEY        FL   34668‐3012
MOELTER, ILENE E                6369 E REYNOLDS RD                                                                             HASLETT            MI   48840‐8933
MOEN LEUER CONSTRUCTION INC     3600 HOLLY LN N STE 100                                                                        MINNEAPOLIS        MN   55447‐1286
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Name                           Address1                              Address2                      Address3   Address4         City             State Zip
MOEN LEURER CONSTRUCTION INC   3600 HOLLY LN N STE 10                                                                          PLYMOUTH          MN 55447‐1286
MOEN MORRIS (459211)           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                     STREET, SUITE 600
MOEN ROBERT C (466134)         WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                           NEW YORK         NY   10038
MOEN, BRUCE R                  3913 PISA DE APT L4                                                                             PANAMA CITY      FL   32405
MOEN, BRUCE R                  2211 HASLER LAKE RD                                                                             LAPEER           MI   48446
MOEN, CLAYTON P                1223 KING ST                                                                                    JANESVILLE       WI   53546‐6025
MOEN, DENNIS W                 2045 BERT KOUNS INDUSTRIAL LOOP APT                                                             SHREVEPORT       LA   71118‐3333
                               211
MOEN, DONALD L                 302 S MILL ST BOX 125                                                                           ALBANY           WI   53502
MOEN, GALE A                   2211 HASLER LAKE RD                                                                             LAPEER           MI   48446‐9734
MOEN, INC.                     SHERRY CULLEN                         25300 AL MOEN DR                                          NORTH OLMSTED    OH   44070‐5619
MOEN, MORRIS                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                                     STREET, SUITE 600
MOEN, RICHARD W                8925 GLENMOOR CIR                                                                               WASHINGTON       MI   48094‐1561
MOEN, ROBERT C                 WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                           NEW YORK         NY   10038
MOEN, RODNEY D                 704 EDISON AVE                                                                                  JANESVILLE       WI   53546‐3119
MOEN, RONALD N                 109 CHICKADEE LN                                                                                JANESVILLE       WI   53546‐2980
MOEN, RUSSELL L                4524 PAULSON RD                                                                                 BLANCHARDVILLE   WI   53516‐9338
MOEN, WILLIAM A                231 HUNTER AVE                                                                                  STATE COLLEGE    PA   16801‐6949
MOENAERT, DAVID R              1206 SUBURBAN ST                                                                                PINCONNING       MI   48650‐8904
MOENAERT, SALLY M              1206 SUBURBAN ST                                                                                PINCONNING       MI   48650‐8904
MOENAERT, THOMAS J             PO BOX 155                                                                                      LAKEVILLE        MI   48366‐0155
MOENCH COMPANY                                                       3812 COUNTRY RD 95                                                         TX   78330
MOENCH, DONALD E               2483 N BOWLING GREEN POLAND RD                                                                  POLAND           IN   47868‐8212
MOENCH, ELMER D                G 6476 FLORENCE DR                                                                              FLINT            MI   48507
MOENCH, ELMER DONALD           G 6476 FLORENCE DR                                                                              FLINT            MI   48507
MOENCH, FRED E                 5062 SEAGRASS DRIVE                                                                             VENICE           FL   34293‐4297
MOENCH, JAMES M                8240 BARNES RD                                                                                  MILLINGTON       MI   48746‐9548
MOENCH, JAN D                  1830 HIGHWAY Y                                                                                  O FALLON         MO   63366‐5110
MOENCH, JENNIE                 6476 FLORENCE DR                                                                                FLINT            MI   48507‐4628
MOENCH, JENNIE B               6476 FLORENCE DR                                                                                FLINT            MI   48507‐4628
MOENCH, JENNIE B               6476 FLORENCE                                                                                   FLINT            MI   48507‐4628
MOENCH, KATHERINE E            2483 N BOWLING GREEN POLAND RD                                                                  POLAND           IN   47868‐8212
MOENCH, LINDA D                2483 N BOWLING GREEN POLAND RD                                                                  POLAND           IN   47868‐8212
MOENCH, MARK R                 6720 W HOLMES AVE                                                                               GREENFIELD       WI   53220‐4544
MOENICH, THOMAS P              261 MELROSE AVE                                                                                 BOARDMAN         OH   44512‐2356
MOENING, DOUGLAS J             877 ALYSA CT                                                                                    HIGHLAND         MI   48356‐1697
MOENING, LEONARD K             PO BOX 519                                                                                      KALIDA           OH   45853‐0519
MOENING, ROGER W               2256 HUBBARD RD                                                                                 CHARLOTTE        MI   48813‐8648
MOENS, LUDO C                  PO BOX 9022                                                                                     WARREN           MI   48090‐9022
MOENSSENS, MICHELE             11882 WATERFORD DRIVE                                                                           IRWIN            PA   15642‐6332
MOERDYK, STEVEN                1815 PLANTERS ROW DR                                                                            BYRON CENTER     MI   49315
MOERDYKE, MARINUS              547 92ND ST SE                                                                                  BYRON CENTER     MI   49315‐8761
MOERLIEN, NORMAN               GORI JULIAN & ASSOCIASTES PC          156 N MAIN ST                                             EDWARDSVILLE     IL   62025
MOERMAN, WILLIAM G             12347 W HERBISON RD                                                                             EAGLE            MI   48822‐9667
MOERNER, JOHN V                PO BOX 1476                                                                                     CULLMAN          AL   35056‐1476
MOERS, GARRY R                 10865 US HIGHWAY 23 S                                                                           OSSINEKE         MI   49766‐9578
MOERS, GARRY ROBERT            10865 US HIGHWAY 23 SOUTH                                                                       OSSINEKE         MI   49766‐9578
MOERTL, MARILYN R              6472 S 118TH ST                                                                                 FRANKLIN         WI   53132‐1147
MOERY ROBERT E                 MOERY, KYLE                           323 CENTER ST STE 1300                                    LITTLE ROCK      AR   72201‐2628
MOERY ROBERT E                 MOERY, KYLE                           PO BOX 500                                                LONOKE           AR   72086‐0500
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Name                        Address1                              Address2                        Address3   Address4                City              State Zip
MOERY ROBERT E              MOERY, ROBERT E                       323 CENTER ST STE 1300                                             LITTLE ROCK        AR 72201‐2628
MOERY ROBERT E              MOERY, ROBERT E                       PO BOX 500                                                         LONOKE             AR 72086‐0500
MOERY TIM                   6014 BARKER DR                                                                                           WATERFORD          MI 48329‐3100
MOERY, CAROLINE V           619 E PREDA                                                                                              WATERFORD          MI 48328‐2026
MOERY, CAROLINE V           619 E PREDA DR                                                                                           WATERFORD          MI 48328‐2026
MOERY, CHARLES H            6091 MONROVIA DR                                                                                         WATERFORD          MI 48329‐3154
MOERY, GARY J               3231 STANFORTH AVE                                                                                       WEST BLOOMFIELD    MI 48324‐4762
MOERY, KYLE                 KELLY LAW FIRM                        PO BOX 500                                                         LONOKE             AR 72086‐0500
MOERY, KYLE                 BYRD LAW FIRM                         323 CENTER ST STE 1300                                             LITTLE ROCK        AR 72201‐2628
MOERY, ROBERT E             BYRD LAW FIRM                         323 CENTER ST STE 1300                                             LITTLE ROCK        AR 72201‐2628
MOERY, ROBERT E             KELLY LAW FIRM                        PO BOX 500                                                         LONOKE             AR 72086‐0500
MOERY, TIMOTHY C            6014 BARKER DR                                                                                           WATERFORD          MI 48329‐3100
MOERY, WILLIAM L            3902 MICHELE RD                                                                                          FREDERIC           MI 49733‐9672
MOES 004040 2 3 08
MOES 005367 2 28 2008
MOES 005391 08 07 2008
MOES 053127 10 30 2007
MOES 053267 01 17 2008
MOES 053291 01 28 2008
MOES 53157 GRIT89475
MOES 532283 10 26 2007
MOES CONEY & GRILL          3603 DIVISION AVE S                                                                                      GRAND RAPIDS      MI 49548‐3247
MOES PAMALLA                12 CLUB ESTATES CT                                                                                       WACO              TX 76710‐1092
MOES TRANSPORT TRUCKING     1329668 ONTARIO LTD                   1333 COLLEGE AVE                           WINDSOR CANADA ON N9B
                                                                                                             1M8 CANADA
MOES U83991 05 12 2008
MOESCH, NORMA L             4233 W COURT ST #40                                                                                      FLINT             MI   48532‐4352
MOESER, HELMUT A            404 WINDSOR PL                                                                                           DANVILLE          VA   24541‐6802
MOESLEIN, GEORGE W          4329 SKIPPER RD                                                                                          SEBRING           FL   33875‐6276
MOESNER, JANIS G            4871 LAMME RD                                                                                            MORAINE           OH   45439‐3051
MOESNER, JOHN F             25 SYCAMORE CREEK CT                                                                                     SPRINGBORO        OH   45066‐1341
MOESNER, RALPH H            4871 LAMME RD                                                                                            MORAINE           OH   45439‐3051
MOESSNER, JEAN D            6240 ARDIS DRIVE                                                                                         WINNEMUCCA        NV   89445‐4743
MOESSNER, JEAN D            6240 ARDIS DR                                                                                            WINNEMUCCA        NV   89445‐4743
MOEVA LUAPO                 21017 CATSKILL AVE                                                                                       CARSON            CA   90745‐1310
MOFF, ALLEN M               7400 VIRGINIA RD                                                                                         ATWATER           OH   44201‐9589
MOFFAT COUNTY TREASURER     221 W. VICTORY WAY                    P.O. BOX 6                                                         CRAIG             CO   81625
MOFFAT GLENN A (339361)     GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH        PA   15219

MOFFAT MUFFLER              15566 STATE HIGHWAY 317                                                                                  MOODY             TX 76557‐3297
MOFFAT ROBERT (491241)      BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD        OH 44067
                                                                  PROFESSIONAL BLDG
MOFFAT THERMOSCIENCES INC   640 GIRALDA DR                                                                                           LOS ALTOS         CA 94024‐3825
MOFFAT, CATHERINE           8402 N RANCHO CATALINA AVE                                                                               TUCSON            AZ 85704‐7341
MOFFAT, GLENN A             C/O GOLDBERG PERSKY JENNINGS &        1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH        PA 15219
                            WHITE P.C.
MOFFAT, HARRY J             275 ONEIDA RIVER RD                                                                                      PENNELLVILLE      NY   13132‐3155
MOFFAT, KEITH D             4380 OLD COLONY DR                                                                                       FLINT             MI   48507‐3538
MOFFAT, LORA                5874 BUELL RD                                                                                            VASSAR            MI   48768‐9675
MOFFAT, LORA                5874 BUELL ROAD                                                                                          VASSAR            MI   48768‐9675
MOFFAT, MARK L              766 MEADOWOOD DR                                                                                         WOODBURY          MN   55125‐1175
MOFFAT, RAYMOND G           4037 LAUREL FLAT CT                                                                                      LAS VEGAS         NV   89129‐4501
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Name                            Address1                         Address2                         Address3   Address4               City            State Zip
MOFFAT, ROBERT J                640 GIRALDA DR A                                                                                    LOS ALTOS        CA 94024
MOFFATT II, ROBERT D            2171 N STATE ROAD 37                                                                                PAOLI            IN 47454‐9049
MOFFATT THOMAS BARRETT ROCK &   FIELDS CHARTERED                 PO BOX 829                                                         BOISE            ID 83701‐0829
MOFFATT, CLIFTON D              6642 BOLES AVE                                                                                      SAINT LOUIS      MO 63121‐3202
MOFFATT, DAVID E                3833 E 5 POINT HWY                                                                                  CHARLOTTE        MI 48813‐8104
MOFFATT, DONALD J               APT 29                           2000 EAST MITCHELL ROAD                                            PETOSKEY         MI 49770‐7618
MOFFATT, EDWIN E                9160 LEWIS RD                                                                                       PORTLAND         MI 48875‐1925
MOFFATT, EUGENE V               356 DOUGLAS DR                                                                                      NEW CASTLE       PA 16101‐6360
MOFFATT, FREDERICK W            230 WINRY DR                                                                                        ROCHESTER HLS    MI 48307‐1156
MOFFATT, JOAN D                 N21‐W24304 CUMBERLAND DR                                                                            PEWAUKEE         WI 53072
MOFFATT, JOHN                   C\O TRUCKPRO                     429 EASY ST                                 RICHMOND HILL ON L4C
                                                                                                             3Z5 CANADA
MOFFATT, JOHNNY D               12009 E CARPENTER RD                                                                                DAVISON         MI    48423‐9361
MOFFATT, KYLE P                 APT H                            10148 FAIRMOUNT DRIVE                                              AVON            IN    46123‐6820
MOFFATT, LARRY A                3100 S KINNY RD                  LOT 186                                                            TUCSON          AZ    85713
MOFFATT, LARRY A                119 KENMORE AVE                                                                                     ROSCOMMON       MI    48653
MOFFATT, LARRY D                83 MOFFATT RD                                                                                       MITCHELL        IN    47446‐6815
MOFFATT, PATRICIA A             298 WOODS LN                                                                                        MITCHELL        IN    47446‐6329
MOFFATT, PATRICIA A             298 WOODS LANE                                                                                      MITCHELL        IN    47446‐6329
MOFFATT, PINKIE M               2305 KESSLER BLVD NORTH DR                                                                          INDIANAPOLIS    IN    46222‐2354
MOFFATT, RENEEE                 3448 ELLWOOD NEW CASTLE RD                                                                          NEW CASTLE      PA    16101
MOFFATT, ROBERT H               532 DOUGLAS DR                                                                                      NEW CASTLE      PA    16101‐6364
MOFFATT, ROY L                  2303 LIBERTY LN                                                                                     JANESVILLE      WI    53545‐0503
MOFFATT, RUBIN P                2305 KESSLER BLVD NORTH DR                                                                          INDIANAPOLIS    IN    46222‐2354
MOFFATT, RYAN D                 818 GEORGETOWN PKWY                                                                                 FENTON          MI    48430‐3625
MOFFATT, RYAN DAVID             818 GEORGETOWN PKWY                                                                                 FENTON          MI    48430‐3525
MOFFEIT, AUDREY MICHELLE
MOFFEIT, CHRISTOPHER SCOTT
MOFFEIT, JIM                    BROWN SAWICKI & MITCHELL         4040 N CENTRAL EXPY              STE 850                           DALLAS           TX   75204‐3227
MOFFEIT, JIM                    ROTH LAW FIRM                    P O BOX 876 ‐ 115 NORTH                                            MARSHALL         TX   75671
                                                                 WELLINGTON ‐ SUITE 200 STE 200
MOFFEIT, MACKENZIE HOPE
MOFFEIT, MALLORY
MOFFET ROBERT                   401 SKYLINE PARK DR                                                                                 HOPKINSVILLE    KY    42240‐4927
MOFFETT DONALD                  3955 NORTH 33RD STREET                                                                              GALESBURG       MI    49053‐9715
MOFFETT JR, NARVELL             1335 NORTH LA BREA               #2126                                                              LOS ANGELES     CA    90028
MOFFETT MICHAEL                 9582 TARA BLVD                                                                                      JONESBORO       GA    30236‐6089
MOFFETT NORMAN                  340 LAND OAK RD                                                                                     KNOXVILLE       TN    37922‐2092
MOFFETT, ANNIE W                1444 GLOUCHESTER DRIVE                                                                              JACKSON         MS    39212‐3830
MOFFETT, BERNICE                PORTER & MALOUF PA               4670 MCWILLIE DR                                                   JACKSON         MS    39206‐5621
MOFFETT, BONNIE L               1781 W FENWICK RD                                                                                   FENWICK         MI    48834‐9504
MOFFETT, CARL E                 2102 CRESTWOOD DR                                                                                   ANDERSON        IN    46016‐2747
MOFFETT, CLIFFORD L             444 LAURELWOOD DR SE                                                                                WARREN          OH    44484‐2415
MOFFETT, DAVID                  12025 CONTINENTAL DR                                                                                SAINT LOUIS     MO    63138‐1323
MOFFETT, DELL C                 SCHUETZE & GORDON                1327 SPRUCE ST STE 300                                             BOULDER         CO    80302‐4800
MOFFETT, EDMOND J               1781 W FENWICK RD                                                                                   FENWICK         MI    48834‐9504
MOFFETT, HATTIE E               4311 GREENLAWN DR                                                                                   FLINT           MI    48504‐5410
MOFFETT, JOSEPH P               1352 WHEELER RD                  C/O EDWARD P MOFFETT                                               BERLIN          MI    48002‐3104
MOFFETT, KEITH A                6002 MERWIN CHASE RD                                                                                BROOKFIELD      OH    44403
MOFFETT, LARRY L                200 SUNRISE RD                                                                                      BAY CITY        MI    48706‐1955
MOFFETT, LUCILLE                2241 S BASSETT ST                                                                                   DETROIT         MI    48217‐2308
MOFFETT, LUCILLE                2241 SO BASSETT                                                                                     DETROIT         MI    48217‐2308
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Name                                    Address1                         Address2                       Address3   Address4         City           State Zip
MOFFETT, LULA                           PORTER & MALOUF PA               4670 MCWILLIE DR                                           JACKSON         MS 39206‐5621
MOFFETT, MARY A                         524 E 11TH ST                                                                               LAUREL          MS 39440‐3102
MOFFETT, MARY A.                        374 HOY RD                                                                                  LAUREL          MS 39443‐0917
MOFFETT, MICHAEL G                      P 0 BOX 441853                                                                              DETROIT         MI 48244
MOFFETT, NORVELL                        4233 SENECA ST                                                                              FLINT           MI 48504‐2102
MOFFETT, PAUL DELYNN                    1535 STONELEIGH COURT                                                                       ARLINGTON       TX 76011
MOFFETT, RACHELLE D                     2023 COPEMAN BLVD                                                                           FLINT           MI 48504‐3035
MOFFETT, RACHELLE DIANE                 2023 COPEMAN BLVD                                                                           FLINT           MI 48504‐3035
MOFFETT, RONALD E                       1311 EASTVIEW DR                                                                            SALEM           OH 44460‐1229
MOFFETT, ROSEMARY                       38116 MEDVILLE DR                                                                           STERLING HTS    MI 48312‐1257
MOFFETT, RUTH E                         19155 ROGGE ST                                                                              DETROIT         MI 48234‐3024
MOFFETT, SHIELLA I                      1253 LYRIC DR                                                                               DELTONA         FL 32738‐6820
MOFFETT, TONYA E                        610 WILLOW SPRINGS DR                                                                       DAYTON          OH 45427‐2840
MOFFETT, WARREN C                       3224 GREENBRIAR RD                                                                          ANDERSON        IN 46011‐2304
MOFFETT, WILLIE A                       4311 GREENLAWN DR                                                                           FLINT           MI 48504‐5410
MOFFI, ALDO V                           112 WEST ST                                                                                 MILFORD         MA 01757‐3016
MOFFI, JAMES V                          112 WEST ST                                                                                 MILFORD         MA 01757‐3016
MOFFIT KAREN                            MOFFIT, KAREN                    30 E BUTLER AVE                                            AMBLER          PA 19002‐4514
MOFFIT, BUDDY L                         3580 DURST CLAGG RD                                                                         CORTLAND        OH 44410‐9546
MOFFIT, CHARLES B                       821 LOOKOUT AVE                                                                             CHARLEROI       PA 15022‐1944
MOFFIT, DAN L                           2575 EATON RAPIDS RD                                                                        LANSING         MI 48911‐6308
MOFFIT, DELORIS Y                       3580 DURST CLAGG RD                                                                         CORTLAND        OH 44410‐9546
MOFFIT, FRANKIE L                       COWEN MICHAEL R                  520 E LEVEE ST                                             BROWNSVILLE     TX 78520‐5343
MOFFIT, JEFFREY A                       11149 FULLER ST                                                                             GRAND BLANC     MI 48439‐1037
MOFFIT, JEFFREY ALAN                    11149 FULLER ST                                                                             GRAND BLANC     MI 48439‐1037
MOFFIT, KAREN                           KIMMEL & SILVERMAN               30 E BUTLER AVE                                            AMBLER          PA 19002‐4514
MOFFIT, KENNETH A                       17240 72ND AVE N                                                                            MAPLE GROVE     MN 55311‐4550
MOFFIT, LAUREL A                        2414 1/PENNSYLVANIA AVE                                                                     FLINT           MI 48506
MOFFIT, LEONARD L                       15927 BRIGGS RD                                                                             CHESANING       MI 48616‐8431
MOFFIT, MARJORIE A                      3289 WHITETAIL LN                                                                           OWOSSO          MI 48867‐9225
MOFFIT, NEIL T                          5507 LIPPINCOTT BLVD                                                                        BURTON          MI 48519‐1247
MOFFIT, ROWENA A                        3526 DUNBAR LN                                                                              CORTLAND        OH 44410‐9628
MOFFIT, THOMAS H                        5724 MEADOWVIEW ST                                                                          YPSILANTI       MI 48197‐7177
MOFFIT, WILLIAM R                       3526 DUNBAR LN                                                                              CORTLAND        OH 44410‐9628
MOFFITT DENNIS (400314) ‐ ROELL PETER   WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                               NEW YORK        NY 10005
                                                                         PLAZA
MOFFITT DENNIS (400314) ‐ TORNINCASO    WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                               NEW YORK       NY 10005
JOSEPH                                                                   PLAZA
MOFFITT JACQUELINE                      2313 SILVERADO S                                                                            MISSION        TX   78573‐8453
MOFFITT JR, RUSSELL A                   831 JACKSON ST                                                                              EATON RAPIDS   MI   48827‐1968
MOFFITT KENNON                          140 SHADY OAKS LN                                                                           DOUBLE OAK     TX   75077‐8466
MOFFITT, BRENT S                        4075 HOLT RD LOT 68                                                                         HOLT           MI   48842‐6015
MOFFITT, DONNA G                        2022 29TH ST                                                                                BEDFORD        IN   47421‐5304
MOFFITT, DORIS E                        7525 BRADLEY RD                                                                             DUNCANVILLE    AL   35456
MOFFITT, DOUGLAS W                      111 STONEWOOD CT                                                                            SMYRNA         TN   37167‐8803
MOFFITT, ERMA B                         120 WINONA DR                                                                               CARMEL         IN   46032‐2657
MOFFITT, FREDERICK J                    109 UPPER COUNTY RD              A‐35                                                       SOUTH DENNIS   MA   02660
MOFFITT, GREG A                         6609 TERRACE MILL LANE                                                                      PLANO          TX   75024‐7515
MOFFITT, HELEN M                        2501 FRIENDSHIP BLVD             NORTHWOOD COMMON #63                                       KOKOMO         IN   46901‐4199
MOFFITT, JAN C                          PO BOX 757                                                                                  REIDSVILLE     NC   27323‐0757
MOFFITT, JUDY C                         312 SCHUMAN DR                                                                              BLOOMINGDALE   GA   31302
MOFFITT, KRISTINE A                     546 ERIE ST                                                                                 HUBBARD        OH   44425‐1118
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Name                         Address1                       Address2            Address3         Address4                City                State Zip
MOFFITT, LARRY M             5157 WINSHALL DR                                                                            SWARTZ CREEK         MI 48473‐1222
MOFFITT, LARRY W             4141 SNOOK RD                                                                               METAMORA             MI 48455‐9630
MOFFITT, MARGARET G          10 PORT ROYAL RD                                                                            OCEAN VIEW           DE 19970‐9242
MOFFITT, MICHAEL J           210 WELLINGTON DR                                                                           BOSSIER CITY         LA 71111‐2037
MOFFITT, MICHAEL J.          210 WELLINGTON DR                                                                           BOSSIER CITY         LA 71111‐2037
MOFFITT, NAOMI               436 W WILSON ST                                                                             FAYETTEVILLE         AR 72701
MOFFITT, PATRICIA A.         4639 ORLANDO CIR                                                                            BRADENTON            FL 34207‐2040
MOFFITT, REINA               414 HIDDEN FOREST CT                                                                        FAIRLESS HILLS       PA 19030‐4114
MOFFITT, RONALD M            533 N COUNTY ROAD 325 E                                                                     NEW CASTLE           IN 47362‐9322
MOFFITT, RYAN D              10501 CAVELL AVE S                                                                          MINNEAPOLIS          MN 55438
MOFFITT, THELMA L            3505 DRESDEN ST                                                                             COLUMBUS             OH 43224‐3443
MOFFITT, VIRGINIA            810 CLARK ROAD                                                                              LANSING              MI 48917
MOFFITT, VIRGINIA            810 CLARK RD                                                                                LANSING              MI 48917‐2100
MOFFITT, WILLIAM M           3283 HARTLAND RD                                                                            GASPORT              NY 14067‐9418
MOFFO, EDWARD D              4936 PYLES RD                                                                               CHAPEL HILL          TN 37034‐2656
MOFFO, RALPH N               76 SPRAIN BROOK RD                                                                          WOODBURY             CT 06798‐1911
MOFHITZ, KENNETH A           22329 GOLDEN CANYON CIR                                                                     CHATSWORTH           CA 91311‐1260
MOFIELD, JAMES E             5881 S PROCTOR RD                                                                           MUNCIE               IN 47302‐8938
MOFLEY, JULIA F              3170 LEISUREWOOD CT APT A                                                                   FLORISSANT           MO 63033‐2952
MOFLEY, JULIA F              3170 A LEISUREWOOD CT                                                                       FLORISSANT           MO 63033‐2952
MOGAN JR, WAYNE P            4768 MUSKET WAY                                                                             COLUMBUS             OH 43228‐1370
MOGAN, BONNIE B              338 YARMOUTH LANE                                                                           COLUMBUS             OH 43228‐1398
MOGAN, BONNIE B              338 YARMOUTH LN                                                                             COLUMBUS             OH 43228‐1398
MOGAN, JERRY                 4215 RISHEL ST                                                                              GROVE CITY           OH 43123‐8734
MOGAN, JOSEPH E              132 HAYWARD AVE                                                                             CIRCLEVILLE          OH 43113‐1233
MOGAN, JOSEPH M              629 S COURT ST                                                                              CIRCLEVILLE          OH 43113‐1911
MOGAN, MARGARET J            126 FAIROAKS DR                                                                             GREENVILLE           SC 29615‐4342
MOGAN, RICHARD W             1445 S 601 RD                                                                               EL DORADO SPRINGS    MO 64744‐6205
MOGAVERO, BENJAMIN R         13 CALIFORNIA ST                                                                            BUFFALO              NY 14213‐1747
MOGAVERO, EMMA M             83 ARBORWAY LN                                                                              ROCHESTER            NY 14612‐1431
MOGAVERO, FRANK R            37 EDGAR AVE                                                                                BUFFALO              NY 14207‐1023
MOGAVERO, FRANK ROBERT       37 EDGAR AVE                                                                                BUFFALO              NY 14207‐1023
MOGAVERO, HELEN C            4132 SUGAR PALM TERR                                                                        OVIEDO               FL 32765‐8078
MOGAVERO, LEM R              40 SANDROCK RD 1                                                                            BUFFALO              NY 14207
MOGAVERO, ROSA               99 GUINEVERE DR                                                                             ROCHESTER            NY 14626‐4309
MOGAVERO, SAMUEL J           7874 SLATE RIDGE BLVD                                                                       REYNOLDSBURG         OH 43068‐3135
MOGE, RYAN                   28 HAMEL ST                                                                                 CHICOPEE             MA 01020‐1285
MOGENS DELCOMYN              3870 W HASKELL LAKE RD                                                                      HARRISON             MI 48625‐8541
MOGENS KLINGSHOLM A/S        KONGEVEJEN, 74                                                      BIRKEROD 3460 DENMARK
MOGENSEN I I, WILLIAM S      5 RIVERVIEW CT                                                                              GRAND ISLAND        NY   14072‐2851
MOGENSEN II, WILLIAM SUEND   5 RIVERVIEW CT                                                                              GRAND ISLAND        NY   14072‐2851
MOGENSEN, MICHAEL T          651 WOODLAND DR                                                                             BUFFALO             NY   14223‐1825
MOGENSEN, RAY R              600 ADMIRAL BLVD APT 1107                                                                   KANSAS CITY         MO   64106‐1574
MOGENSEN, REBECCA            3 NE 62ND PL                                                                                GLADSTONE           MO   64118‐4141
MOGENSEN, ROBERT N           60 CALVERT BLVD                                                                             TONAWANDA           NY   14150‐2933
MOGENSEN, WILLIAM S          306 WILMINGTON AVENUE                                                                       TONAWANDA           NY   14150‐8748
MOGFORD, JAMES A             4186 WHISPERING OAK DR                                                                      FLINT               MI   48507‐5554
MOGFORD, JAMES ALTON         4186 WHISPERING OAK DR                                                                      FLINT               MI   48507‐5554
MOGFORD, THOMAS J            13288 CRANE RIDGE DR                                                                        FENTON              MI   48430‐1003
MOGFORD, THOMAS JAMES        13288 CRANE RIDGE DR                                                                        FENTON              MI   48430‐1003
MOGG, BARBARA                3392 NOTTINGHILL DR W                                                                       PLAINFIELD          IN   46168‐8305
MOGG, DALE E                 1353 INDIAN LAKES RD NE                                                                     SPARTA              MI   49345‐9504
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Name                    Address1                         Address2                        Address3   Address4                City             State Zip
MOGG, ELROY B           3180 JOSLYN RD                                                                                      AUBURN HILLS      MI 48326‐1429
MOGG, GERALD A          1358 W PINCONNING RD                                                                                PINCONNING        MI 48650‐8973
MOGG, HELEN M           2149 BERNICE AVE                                                                                    FLINT             MI 48532‐3912
MOGG, HELEN MARIE       980 S GEECK RD                                                                                      CORUNNA           MI 48817‐9548
MOGG, SAMUEL G          509 W BRAND ST                                                                                      DURAND            MI 48429‐1118
MOGG, STELLA M          2745 HURON RD                                                                                       PINCONNING        MI 48650‐7920
MOGG, STELLA M          2745 N HURON RD                                                                                     PINCONNING        MI 48650‐7920
MOGG, VERNON LEE        12455 LAKE RD                                                                                       MONTROSE          MI 48457‐9443
MOGG, WELBY G           5310 CULVER LN                                                                                      PLAINFIELD        IN 46168‐7760
MOGGACH, SHARON         4812 DILLON ST                                                                                      BRIGHTON          MI 48116‐1326
MOGGAN, TERESA A        COURTS SERVICE                   15/24 PHOENIX ST N                         SMITHFIELD, DUBLIN 7
                                                                                                    0000 IRELAND
MOGGENBERG, DIANNE K    6049 HARTWICK DR                                                                                    LANSING          MI   48906‐9350
MOGGS, ALBERT M         1254 N BARD RD                                                                                      GLADWIN          MI   48624‐9693
MOGHABGHAB, RABIH Y     1090 SALSONA AVE                                                                                    KISSIMMEE        FL   34744
MOGHABGHAB, RICHARD T   66 MAFALDA DR                                                                                       CHEEKTOWAGA      NY   14215‐2018
MOGHAIZEL, REBECCA      8361 POTTER RD                                                                                      FLUSHING         MI   48433‐9413
MOGHAIZEL, REBECCA      8361 POTTER ROAD                                                                                    FLUSHING         MI   48433‐9413
MOGIELSKI, JOSEPH C     2408 PEACH TREE CT                                                                                  MILFORD          MI   48381‐2584
MOGIELSKI, MATTHEW D    8840 WHITLOCK AVE                                                                                   DEARBORN         MI   48126‐4703
MOGILNICKI, MARTHA M    1135 CRESCENT ST NE                                                                                 GRAND RAPIDS     MI   49503‐3621
MOGILSKI, MATTHEW S     57 CLAY ST                                                                                          BUFFALO          NY   14207‐2817
MOGISH JR, ANDREW       565 OVERVIEW LN                                                                                     FRANKLIN         TN   37064‐5557
MOGISH, MICHAEL P       400 SHERWOOD DR                                                                                     MOUNTAIN TOP     PA   18707‐1162
MOGLE, JAMES R          PO BOX 365                                                                                          LELAND           MI   49654
MOGLE, JONATHAN R       423 N KATIE LN                                                                                      MORRICE          MI   48857‐8719
MOGLE, JUDITH A         78 S OUTER DR                                                                                       VIENNA           OH   44473‐9729
MOGLE, LESLIE C         105 RUTH AVE                                                                                        CORTLAND         OH   44410‐1342
MOGLE, MARGARET J       289 E MAIN ST                                                                                       MAHAFFEY         PA   15757‐6509
MOGLIA ROBERT           MOGLIA, ROBERT                   262 STATE ROUTE 35                                                 RED BANK         NJ   07701‐5920
MOGNETT, CARLENE J      5406 COUNCIL RING BLVD                                                                              KOKOMO           IN   46902‐5486
MOGNETT, JACK B         5406 COUNCIL RING BLVD                                                                              KOKOMO           IN   46902‐5486
MOGOLIS, MARK A         12505 BUECHE RD                                                                                     BURT             MI   48417‐9620
MOGOR, DENNIS F         13255 LAKE POINT PASS                                                                               BELLEVILLE       MI   48111‐2298
MOGOR, DENNIS FRANK     13255 LAKE POINT PASS                                                                               BELLEVILLE       MI   48111‐2298
MOGOR, ELIZABETH        49 HIGHLAND ST                                                                                      EAST BRUNSWICK   NJ   08816‐2134
MOGUSAR, ROSEMARY E     4300 MAGGIE LN                                                                                      KANSAS CITY      KS   66102‐1937
MOGYORODY, GIZELLA      533 WARWICK AVE                                                                                     CARDIFF          CA   92007‐1659
MOGYOROS, EDWARD J      69 S AURELIUS RD                                                                                    MASON            MI   48854‐9504
MOGYOROS, JENNIFER L    69 S AURELIUS RD                                                                                    MASON            MI   48854‐9504
MOGYOROS, LINDA R       4575 SYCAMORE ST                                                                                    HOLT             MI   48842‐1635
MOHACSI, ILONA          VEZER U. 98. I/1 1141                                                       BUDAPAST 1141 HUNGARY
MOHACSI, LARRY G        10418 ADELLA AVE                                                                                    SOUTH GATE       CA 90280‐5350
MOHALLEY PRISCILLA      MOHALLEY, PRISCILLA              1930 E MARLTON PIKE SUITE Q29                                      CHERRY HILL      NJ 08003
MOHAMAD A AMLANI        1165 S LINDEN RD                                                                                    FLINT            MI 48532‐3406
MOHAMAD ABDOLLAHZADEH   SEEBLICK 29                                                                 9560 FELDKIRCHEN
                                                                                                    AUSTRIA
MOHAMAD ASDEG AMIRI
MOHAMAD BEYDOUN         5748 KENILWORTH ST                                                                                  DEARBORN         MI 48126‐2151
MOHAMAD BEYDOUN         4881 KORTE ST                                                                                       DEARBORN         MI 48126‐4106
MOHAMAD EL‐SAOUDA       570 SACRED HEART DR                                                         WINDSOR ON N9J3L9
                                                                                                    CANADA
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Name                      Address1                            Address2                           Address3                   Address4                City               State Zip
MOHAMAD H BEYDOUN         5748 KENILWORTH ST                                                                                                        DEARBORN            MI 48126‐2151
MOHAMAD JOMAA             2219 N GULLEY RD                                                                                                          DEARBORN HTS        MI 48127‐3087
MOHAMAD M KHOULANI MD     ATTN: MOHAMAD M KHOULANI            5080 VILLA LINDE PKWY # 4                                                             FLINT               MI 48532‐3423
MOHAMAD MANDOUH           4357 BROMLEY DR                                                                                                           TOLEDO              OH 43623‐1515
MOHAMAD MESLEMANI         38853 PINEBROOK DR                                                                                                        STERLING HTS        MI 48310‐2914
MOHAMAD MOHAMAD KARAWIA
MOHAMAD S BEYDOUN         4881 KORTE ST                                                                                                             DEARBORN           MI 48126‐4106
MOHAMAD SAAD              250 AMBOY ST                                                                                                              DEARBORN HEIGHTS   MI 48127‐3600
MOHAMAD SADEG AMIRI
MOHAMAD SADEK             27174 ROCHELLE ST                                                                                                         DEARBORN HEIGHTS   MI   48127‐3648
MOHAMAD SHUKR             7319 OAKMAN BLVD                                                                                                          DEARBORN           MI   48126‐1526
MOHAMAD, BELVA            PLAISANCE KENNETH                   2067 N MIRO ST                                                                        NEW ORLEANS        LA   70119‐1656
MOHAMED AL JALLAD         PO BOX 6310                                                                                                               EAST LANSING       MI   48826‐6310
MOHAMED BAH               1495 HAWKEYE                                                                                                              ROCHESTER HILLS    MI   48307‐2469
MOHAMED EGAL              2011 GEORGETOWN BLVD                                                                                                      ANN ARBOR          MI   48105‐1532
MOHAMED F EL‐GEIOUSHI     NADIA EL‐GEIOUSHI                   6219 CHAUNCY ST                                                                       TAMPA              FL   33647‐1103
MOHAMED FETOUH            4864 SEASONS                                                                                                              TROY               MI   48098‐6621
MOHAMED ISLAM             24060 NILAN DR                                                                                                            NOVI               MI   48375‐3751
MOHAMED MAMOU             8066 BRADBURY LN                                                                                                          GRAND BLANC        MI   48439‐7248
MOHAMED MAWRI             3259 ROBERT ST                                                                                                            DEARBORN           MI   48120‐1436
MOHAMED MOHAMED           5910 OGDEN ST                                                                                                             DETROIT            MI   48210‐3704
MOHAMED S AL JALLAD       PO BOX 6310                                                                                                               EAST LANSING       MI   48826‐6310
MOHAMED SAILAN            2782 ROULO ST                                                                                                             DEARBORN           MI   48120‐1545
MOHAMED SALIM             17632 HENRY ST                                                                                                            MELVINDALE         MI   48122‐1041
MOHAMED, ABDUL            6123 PEBBLESHIRE DR                                                                                                       GRAND BLANC        MI   48439‐4842
MOHAMED, AMINA            PATTERSON ROBERT G LAW OFFICES OF   77 W WASHINGTON ST STE 1604                                                           CHICAGO            IL   60602‐3211

MOHAMED, ESHAH            2594 BAILEY AVE                                                                                                           BUFFALO            NY 14215‐3248
MOHAMED, MOHAMED N        5910 OGDEN ST                                                                                                             DETROIT            MI 48210‐3704
MOHAMED, MOHSEN
MOHAMED, ZACHARY
MOHAMED‐NIDAL KHATTAB     30247 ASTOR ST                                                                                                            FARMINGTON HILLS   MI   48336‐3521
MOHAMMAD ABULIBDEH        9908 BERWICK ST                                                                                                           LIVONIA            MI   48150‐2816
MOHAMMAD ADMANI           2732 RAYNES PARK LN                                                                                                       GRAND PRAIRIE      TX   75050‐1324
MOHAMMAD AFGHANZADA       8340 WOODSON DR                                                                                                           SHAWNEE MSN        KS   66207‐1553
MOHAMMAD ALI              2812 SUNRIDGE DR                                                                                                          TROY               MI   48084‐1079
MOHAMMAD ALI
MOHAMMAD ANWAR            6471 ANNA DR                                                                                                                VAN BUREN TWP    MI 48111‐5254
MOHAMMAD FARSIMADAN       [NULL]                              BLD.AMIRKABIR‐ST.PARASTOO‐AV.12‐                              SHIRAZ IRAN (ISLAMIC REP) SHIRAZ
                                                              NO.188
MOHAMMAD FAYYAD           2800 WINDWOOD DR APT 136                                                                                                  ANN ARBOR          MI   48105‐1486
MOHAMMAD HABIB            959 ARCADIAN CT                                                                                                           ROCHESTER HLS      MI   48307‐3590
MOHAMMAD HASEEB           8110 HAZELTON STREET                                                                                                      DEARBORN HTS       MI   48127‐1579
MOHAMMAD HASSAN           10823 LUPINE LN                                                                                                           FORT WAYNE         IN   46804‐4975
MOHAMMAD HUSSAIN          ATTN: E TODD TRACY                  THE TRACY FIRM                     5473 BLAIR RD, SUITE 200                           DALLAS             TX   75231
MOHAMMAD ISLAM            93 OAKBRIDGE DR                                                                                                           ROCHESTER          MI   48306‐4622
MOHAMMAD JALLAD           7719 NECKEL ST                                                                                                            DEARBORN           MI   48126‐1476
MOHAMMAD KHORRAMI         4801 N ASHFORD WAY                                                                                                        YPSILANTI          MI   48197‐6105
MOHAMMAD LALEHZARI
MOHAMMAD LOH              636 WORTH CT                                                                                                              CARMEL             IN 46032‐4403
MOHAMMAD OZBEKI           22346 CARLISLE CT                                                                                                         NOVI               MI 48374‐3854
MOHAMMAD QURESHI          40307 DENBIGH DR                                                                                                          STERLING HEIGHTS   MI 48310‐6942
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Name                            Address1                          Address2                 Address3                 Address4                City                 State Zip
MOHAMMAD RAHMAN                 3219 RHODE ISLAND DR                                                                                        TROY                  MI 48083‐2369
MOHAMMAD REZA ESLAHKAR
MOHAMMAD S ABULIBDEH            9908 BERWICK ST                                                                                             LIVONIA              MI 48150‐2816
MOHAMMAD SARWAR                 4324 STILL MEADOW LN                                                                                        WEST BLOOMFIELD      MI 48323‐2846
MOHAMMAD SHABBIR
MOHAMMAD SIDDIQI                17135 SUMMIT DR                                                                                             NORTHVILLE           MI 48168‐3201
MOHAMMAD WAZIR                  2970 BLOOMFIELD PARK DR                                                                                     WEST BLOOMFIELD      MI 48323‐3506
MOHAMMAD, UNKNOWN
MOHAMMADI, DARIOUCHE            1311 PORTERS LN                                                                                             BLOOMFIELD           MI 48302‐0943
MOHAMMADI, DARIOUCHE DR         1311 PORTERS LN                                                                                             BLOOMFIELD HILLS     MI 48302‐0943
MOHAMMED ABDULLAH HAJI YOOSOF   DUBAI, UNION ARAB EMIRATES                                                          DUBAI UNITED ARAB
KHOORY                                                                                                              EMIRATES
MOHAMMED ABEDIN                 3411 CONNORS DR                                                                                             ROCHESTER HLS        MI 48307‐5076
MOHAMMED ABU‐SHEIKHA            RINGSTR.51                                                                          85540 HAAR GERMANY
MOHAMMED ASH                    29181 LORRAINE APT 6                                                                                        WARREN               MI   48093
MOHAMMED BAHAUDDIN              1322 HARVARD DR                                                                                             ROCHESTER HILLS      MI   48307‐3162
MOHAMMED BUCHANON               1313 MCINTOSH DR                                                                                            FLINT                MI   48503‐1266
MOHAMMED CHERIF                 381 S HARRIS RD                                                                                             YPSILANTI            MI   48198‐5937
MOHAMMED ELZHENNI               43334 CHARDONNAY DR                                                                                         STERLING HEIGHTS     MI   48314‐1858
MOHAMMED FAWAZ                  13820 LITHGOW ST                                                                                            DEARBORN             MI   48126‐3517
MOHAMMED HAMMOUD                5814 KENILWORTH ST                                                                                          DEARBORN             MI   48126‐2153
MOHAMMED HUSSAIN                300 FALLING BROOK DR                                                                                        TROY                 MI   48098‐4696
MOHAMMED ISA                    6326 WHITEFIELD ST                                                                                          DEARBORN HTS         MI   48127‐4815
MOHAMMED MELISSA                104 HALL DR                                                                                                 SALISBURY            MD   21804‐6907
MOHAMMED NABULSI                2293 BRIARWOOD CIR SW                                                                                       CONYERS              GA   30094‐5068
MOHAMMED NAJA                   PO BOX 30190                                                                                                BOWLING GREEN        KY   42102‐5190
MOHAMMED OMARI                  39842 SPITZ DR                                                                                              STERLING HTS         MI   48313‐4980
MOHAMMED RAHMAN                 1929 PLYMOUTH RD APT 3000                                                                                   ANN ARBOR            MI   48105‐2148
MOHAMMED RAHMAN                 1173 NOTTINGHAM RD                                                                                          GROSSE POINTE PARK   MI   48230‐1339
MOHAMMED RAZAQ                  59 CLIFTON HILL                                                                     LONDON UNITED KINGDOM
                                                                                                                    NW8 0JN
MOHAMMED REZAUL HUSSAIN         4318 WALNUT STREET                APT 2‐R                                                                   PHILADELPHIA         PA   19104‐5242
MOHAMMED YOUSUF                 36444 GREENSPRING ST                                                                                        FARMINGTON HILLS     MI   48331‐6016
MOHAMMED YOUSUF                 2543 ANTIETAM DR                                                                                            ANN ARBOR            MI   48105‐1470
MOHAMMED, ALEX                  53407 FRANKLIN DR                                                                                           SHELBY TWP           MI   48316‐2421
MOHAMMED, ARIF                  2258 TRAVERSE DR                                                                                            TROY                 MI   48083‐5949
MOHAMMED, JOSEPH                7400 VAUGHAN ST                                                                                             DETROIT              MI   48228‐4601
MOHAMMED, MALIK F               13245 MONICA ST APT 104                                                                                     DETROIT              MI   48238‐4229
MOHAMMED, NABEEL
MOHAMMED, NOOR                  622 ABBEY CT                                                                                                ROCHESTER HILLS      MI   48307‐4500
MOHAMMED, PATRICIA              7660 NW 120TH DR                                                                                            PARKLAND             FL   33076‐4534
MOHAMMED, SALEEM A              PO BOX 9022                       C/O: GM BANGALORE                                                         WARREN               MI   48090‐9022
MOHAN BANSAL                    1142 TINKERS GREEN DR                                                                                       STREETSBORO          OH   44241‐4995
MOHAN BIJLANI                   1860 WYNGATE DR                                                                                             TROY                 MI   48098‐6546
MOHAN KARAMCHANDANI             1621 AINSLEY LN                                                                                             LOMBARD              IL   60148‐6155
MOHAN SUNDAR                    4277 CACTUS DR                                                                                              TROY                 MI   48085‐7025
MOHAN THOMAS                    3015 ALLISON LN                                                                                             HIGHLAND             MI   48357‐3160
MOHAN VAIDYA & HARVEY SLOBOD    C/O MERCHANT LAW GROUP LLP        ATTN: ANTHONY MERCHANT   100 ‐ 241 SASKATCHEWAN   REGINA, SK S4P 4H8
                                                                                           DRIVE
MOHAN W SITLANI                 1913 SAN ANTONIO AVE                                                                                        BERKELEY             CA 94707‐1619
MOHAN, ARUN                     PO BOX 9022                       C/O SHANGHAI                                                              WARREN               MI 48090‐9022
MOHAN, DENNIS A                 3410 SELKIRK BUSH RD SW                                                                                     WARREN               OH 44481‐9720
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Name                                  Address1                         Address2                      Address3   Address4             City               State Zip
MOHAN, DENNIS C                       3410 SELKIRK BUSH RD SOUTHWEST                                                                 WARREN              OH 44481‐9720
MOHAN, JOHN J                         5000 ROCKSIDE RD STE 300                                                                       INDEPENDENCE        OH 44131‐2178
MOHAN, JOHN J                         5000 ROCKSIDE RD                 STE 300                                                       INDEPENDENCE        OH 44131‐2178
MOHAN, JOSEPH                         DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                              RIVERDALE           NY 10463
MOHAN, MARION J                       3085 N GENESEE RD APT 308                                                                      FLINT               MI 48506‐2193
MOHAN, MARTHA L                       3170 E STROOP RD APT 212                                                                       DAYTON              OH 45440‐1365
MOHAN, PATRICK J                      3417 SELKIRK BUSH RD SW                                                                        WARREN              OH 44481‐9720
MOHAN, PHILIP V                       4001 HARBOR VISTA DR                                                                           ORCHARD LAKE        MI 48323‐1617
MOHAN, SHARIE H                       3410 SELKIRK BUSH RD SW                                                                        WARREN              OH 44481‐9720
MOHAN, SHAWN P                        3712 SELKIRK BUSH RD SW                                                                        WARREN              OH 44481‐9774
MOHAN, SUSAN M                        3712 SELKIRK BUSH RD SW                                                                        WARREN              OH 44481‐9774
MOHAN, THOMAS A                       10 BARBUDA ST                                                                                  TOMS RIVER          NJ 08757‐4609
MOHAN, WILLIAM D                      3166 EDGEVALE DR                                                                               LAMBERTVILLE        MI 48144‐9734
MOHAN, WILLIAM M                      74 QUEENS ST                                                                                   ROCHESTER           NY 14609
MOHAN,GLENN ANDREW                    5616 23 MILE RD                                                                                SHELBY TOWNSHIP     MI 48316‐4214
MOHANNAD MURAD                        2573 COTTONWOOD DR                                                                             TROY                MI 48083‐6817
MOHANRAO C PASUPULATI                 4761 RUSHWOOD CIRCLE                                                                           ENGLEWOOD           OH 45322‐3614
MOHAPP, CHARLES A                     1009 QUARRY CIRCLE                                                                             YREKA               CA 96097
MOHATAREM, G MUSTAFA                  15961 LAUDERDALE AVE                                                                           BEVERLY HILLS       MI 48025‐5669
MOHAVE COUNTY TREASURER               PO BOX 712                                                                                     KINGMAN             AZ 86402‐0712
MOHAWK COLLEGE OF APPLIED ARTS AND                                                                              HAMILTON, ONTARIO,
TECHNOLOGY                                                                                                      CANADA
MOHAWK DIV                            PO BOX 80                                                                                      WARREN             MI   48090‐0080
MOHAWK FACTORING INC                  PO BOX 91157                                                                                   CHICAGO            IL   60693‐1157
MOHAWK MOVING & STORAGE               8271 W 35 W SERVICE                                                                            MINNEAPOLIS        MN   55434
MOHAWK TREE/STERLING                  44444 DEQUINDRE RD                                                                             STERLING HEIGHTS   MI   48314‐1004
MOHAWK, ERNEST L                      52378 STAG RIDGE DR                                                                            MACOMB             MI   48042‐3464
MOHD. SALEH & REZA Y. BEHBEHANI CO.   P.O. BOX 341                                                              SAFAT 13004 KUWAIT

MOHELSKI, VIRGINIA                    347 KRATTLEY LANE                                                                              HUDSON             WI   54016‐7104
MOHERMAN JOHN E & HELEN B             11315 MAHONING AVE                                                                             NORTH JACKSON      OH   44451
MOHICAN DISTRICT SCIENCE FAIR         ASHLAND UNIVERSITY               401 COLLEGE AVE                                               ASHLAND            OH   44805‐3702
MOHILE VIVEK V                        7025 YORKSHIRE COURT                                                                           W BLOOMFIELD       MI   48322‐2959
MOHILEF DAVID & MONICA                20301 NORTHRIDGE RD                                                                            CHATSWORTH         CA   91311‐1826
MOHINDER KUMAR                        3399 TIMBER CREST CT                                                                           WEST BLOOMFIELD    MI   48324‐3244
MOHIUDDIN, GULAM                      618 BRIDGE PARK DR                                                                             TROY               MI   48098‐1856
MOHIUDDIN, MUBASHIR                   5289 HOLLOW DR                                                                                 BLOOMFIELD HILLS   MI   48302‐2507
MOHIUDDIN, MUBASHIR M
MOHL ERIC                             APT 20E                          200 OLD PALISADE ROAD                                         FORT LEE           NJ   07024‐7061
MOHL, JOHN N                          314 EXTONVILLE RD                                                                              ALLENTOWN          NJ   08501‐1512
MOHLENHOFF, DALE G                    5509 N CAPITOL AVE                                                                             INDIANAPOLIS       IN   46208‐2633
MOHLER SHERRY                         6400 OAK HOLLOW DR                                                                             BURLESON           TX   76028‐2840
MOHLER WALTER E (405070)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                       STREET, SUITE 600
MOHLER WILLIAM M                      C/O SENDELL MOTORS INC           RO # BOX 12                                                   GREENSBURG         PA   15601
MOHLER, BILLIE                        P O BOX 521                                                                                    SELMA              IN   47383‐0521
MOHLER, BILLIE                        PO BOX 521                                                                                     SELMA              IN   47383‐0521
MOHLER, CATHERINE P                   1315 E 600 N                                                                                   ALEXANDRIA         IN   46001‐8788
MOHLER, DALLAS A                      9830 SPRINGPORT RD                                                                             PARMA              MI   49269‐9696
MOHLER, DONALD C                      3770 MESERTA LN                                                                                FLORISSANT         MO   63033‐2819
MOHLER, DONNA L                       3900 TERRACE CT                                                                                KOKOMO             IN   46902‐4363
MOHLER, ERNEST W                      5726 FIREGATE COURT                                                                            HUBER HEIGHTS      OH   45424‐5424
                                     09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                 Address1                       Address2                      Address3                   Address4         City            State Zip
MOHLER, ETHEL K                      10906 W JACKSON ST                                                                                       MUNCIE           IN 47304‐9657
MOHLER, HARVEY R                     3245 AVON LAKE RD R1                                                                                     LITCHFIELD       OH 44253
MOHLER, JAMES T                      336 N BEACH DR                                                                                           MONTICELLO       IN 47960‐1636
MOHLER, JERRY                        23440 W VAN HORN LN                                                                                      PLAINFIELD        IL 60586‐9097
MOHLER, JERRY                        23440 WEST VAN HORN LANE                                                                                 PLAINFIELD        IL 60586‐9097
MOHLER, JERRY L                      2622 SCHIPPELL STREET                                                                                    HOLT             MI 48842‐8770
MOHLER, JERRY L                      102 E 4TH ST                                                                                             MOSCOW MILLS     MO 63362
MOHLER, JOHNNY M                     1373 S COUNTY ROAD 400 W                                                                                 GREENCASTLE      IN 46135‐8276
MOHLER, LEONA J                      3842 REEVES LN                                                                                           MEDINA           OH 44256‐7054
MOHLER, LILLIAN F                    168 ANDREWS BLVD                                                                                         PLAINFIELD       IN 46168‐9769
MOHLER, MARTHA                       3770 MESERTA LN                                                                                          FLORISSANT       MO 63033‐2819
MOHLER, MAX G                        509 S MERIDIAN ST                                                                                        GREENTOWN        IN 46936‐1427
MOHLER, NANETTE L                    102 E 4TH ST                                                                                              MOSCOW MILLS    MO 63362
MOHLER, NANETTE LISA                 102 E 4TH ST                                                                                             MOSCOW MILLS     MO 63362
MOHLER, PAUL H                       188 WAGON TRL N                                                                                          POWELL           OH 43065‐7981
MOHLER, THERESA E                    505 FAWN LN                                                                                              KOKOMO           IN 46902‐4203
MOHLER, WALTER E                     GLASSER AND GLASSER            CROWN CENTER                  580 EAST MAIN STREET STE                    NORFOLK          VA 23510
                                                                                                  600
MOHLER, WENDY L                      910 S CLINTON ST                                                                                         CHARLOTTE       MI 48813
MOHN JAMES M (347296)                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510
                                                                    STREET, SUITE 600
MOHN, ARNOLD G                       2936 HANCHETT ST                                                                                         SAGINAW         MI   48604‐2416
MOHN, BONNIE                         2936 HANCHETT                                                                                            SAGINAW         MI   48604‐2416
MOHN, CHARLES N                      13724 SE 128TH AVE                                                                                       CLACKAMAS       OR   97015‐9371
MOHN, JAMES M                        GLASSER AND GLASSER            CROWN CENTER                  580 EAST MAIN STREET STE                    NORFOLK         VA   23510
                                                                                                  600
MOHN, JAMES R                        23926 W STATE ROUTE 579                                                                                  CURTICE         OH   43412‐9683
MOHN, JAMES RAN                      23926 W STATE ROUTE 579                                                                                  CURTICE         OH   43412‐9683
MOHN, MYLES F                        8150 COUNTRY PINE DR SE                                                                                  ALTO            MI   49302‐9546
MOHN, ROBERT M                       8150 COUNTRY PINE DR SE                                                                                  ALTO            MI   49302‐9546
MOHN, TERRY S                        14088 KELLER AVE NE                                                                                      CEDAR SPRINGS   MI   49319‐9770
MOHNEY II, TIMOTHY J                 1628 CUSTER ORANGEVILLE RD                                                                               MASURY          OH   44438‐9756
MOHNEY, BRUCE P                      7517 LEWIS RD                                                                                            HOLLAND         NY   14080
MOHNEY, DANIEL P                     6710 STEWART SHARON RD                                                                                   BROOKFIELD      OH   44403‐9788
MOHNEY, DOUGLAS L                    37163 WESTRIDGE AVE                                                                                      PALM DESERT     CA   92211‐1358
MOHNEY, JEFFERY L                    6723 COLGROVE LOT‐366                                                                                    KALAMAZOO       MI   49048
MOHNEY, JOAN P                       36 BENTON ST                                                                                             AUSTINTOWN      OH   44515‐1722
MOHNEY, JOAN P                       36 BENTON AVE                                                                                            AUSTINTOWN      OH   44515‐1722
MOHNEY, KATHERINE M                  7202 LEWIS RD                                                                                            HOLLAND         NY   14080‐9626
MOHNEY, LEE L                        52721 PULVER RD                                                                                          THREE RIVERS    MI   49093‐9730
MOHNEY, TIMOTHY J                    1628 CUSTER ORANGEVILLE RD                                                                               MASURY          OH   44438‐9756
MOHNKE, DANIEL R                     730 BRAEMERE DRIVE                                                                                       FRANKLIN        TN   37064‐6160
MOHNKE, KENDALL E                    4646 S FRANCIS RD                                                                                        SAINT JOHNS     MI   48879‐9571
MOHNKE, TIMOTHY J                    APT 204                        22771 CLEARWATER COURT                                                    NOVI            MI   48375‐4655
MOHNKERN, CAROLYN B                  2035 SW 15TH CT                                                                                          DEERFIELD BCH   FL   33442‐6141
MOHOROVIC, DENNIS M                  228 CLEVELAND AVE                                                                                        DUNDALK         MD   21222‐4236
MOHOWITSCH, HAROLD R                 509 SOUTH ELM STREET                                                                                     SAGINAW         MI   48602‐1759
MOHOWITSCH, SHIRLEY A                2161 S MERIDIAN RD                                                                                       MIDLAND         MI   48640‐9517
MOHR ALTHEA G (ESTATE OF) (664888)   ANGELOS PETER G LAW OFFICES    60 WEST BROAD ST                                                          BETHLEHEM       PA   18018
MOHR CHANDOS (453334)                SIMMONS FIRM                   PO BOX 559                                                                WOOD RIVER      IL   62095‐0559
MOHR EDWARD F (439339)               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA   23510
                                                                    STREET, SUITE 600
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Name                                   Address1                        Address2                          Address3                   Address4            City               State Zip
MOHR ENG/BRIGHTON                      1351 RICKETT RD                 P.O. BOX 779                                                                     BRIGHTON            MI 48116‐2227
MOHR ENGINEERING                       JULIE PARSHALL X10              PO BOX 779                                                                       BRIGHTON            MI 48116‐0779
MOHR ENGINEERING                       JULIE PARSHALL X10              1351 RICKETT RD POB 779                                                          BARBERTON           OH 44203
MOHR ENGINEERING INC                   1351 RICKETT RD                 PO BOX 779                                                                       BRIGHTON            MI 48116‐2227
MOHR ENGINEERING INC                   1351 RICKETT RD                 PO BOX 779 4/05/06 CM                                                            BRIGHTON            MI 48116‐2227
MOHR ENGINEERING INC                                                   1351 RICKETT RD                                                                  BRIGHTON            MI 48116‐2227
MOHR ENGINEERING INC                   JULIE PARSHALL X10              1351 RICKETT RD POB 779                                                          BARBERTON           OH 44203
MOHR ENGINEERING INC                   JULIE PARSHALL X10              PO BOX 779                                                                       BRIGHTON            MI 48116‐0779
MOHR ENGINEERING INC                   1351 RICKETT RD                                                                                                  BRIGHTON            MI 48116‐2227
MOHR FRANK                             94 SYLVAN VALLEY RD                                                                                              MERIDEN             CT 06451‐1948
MOHR JR, ALBERT J                      9410 GLADSTONE RD                                                                                                NORTH JACKSON       OH 44451‐9608
MOHR JR, ALBERT JOHN                   9410 GLADSTONE RD                                                                                                NORTH JACKSON       OH 44451‐9608
MOHR JR, RICHARD W                     787 LAUREN CT                                                                                                    WEBSTER             NY 14580‐2403
MOHR JR, WILBERT C                     516 S GLOVER ST                                                                                                  BALTIMORE           MD 21224‐3711
MOHR MARY LILLIAN (ESTATE OF) (489156) BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
MOHR ROBERT LEROY                     12791 STATE ROUTE 281                                                                                             HOLGATE            OH 43527‐9727
MOHR WILLIAM S (636586)               EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                                                  NEW HAVEN          CT 06510
                                                                       265 CHURCH STREET
MOHR, ALTHEA G                        ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                                                 BETHLEHEM          PA   18018‐5737
MOHR, ARTHUR W                        404 ADIRONDACK AVENUE                                                                                             SPOTWOOD           NJ   08884‐1148
MOHR, ARTHUR W                        17 MONAGHAN RD                                                                                                    EDISON             NJ   08817‐4121
MOHR, BETTY J                         2374 RUTHERFORD RD                                                                                                BLOOMFIELD HILLS   MI   48302‐0659
MOHR, CATHERINE R                     801 KENNELY RD UNIT F82                                                                                           SAGINAW            MI   48609‐6715
MOHR, CHANDOS                         SIMMONS FIRM                     PO BOX 559                                                                       WOOD RIVER         IL   62095‐0559
MOHR, DALLAS L                        5959 WESTACRE LN                                                                                                  TOLEDO             OH   43615‐1020
MOHR, DAVID D                         123 E COWAN TER                                                                                                   BROWNSVILLE        TX   78521‐0138
MOHR, DONALD R                        17372 HIGHLAND CENTER RD                                                                                          DEFIANCE           OH   43512‐8924
MOHR, DOUGLAS S                       710 CHERRY ST                                                                                                     CHARLOTTE          MI   48813‐1702
MOHR, EDWARD D                        3711 COUNTRY RIDGE                                                                                                MASON              OH   45040
MOHR, EDWARD F                        GLASSER AND GLASSER              CROWN CENTER                      580 EAST MAIN STREET STE                       NORFOLK            VA   23510
                                                                                                         600
MOHR, EDWARD G                        1581 ONEIDA TRL                                                                                                   LAKE ORION         MI   48362‐1243
MOHR, ELIZABETH R                     3909 PUTTY HILL AVE                                                                                               BALTIMORE          MD   21236‐3630
MOHR, FLOYD                           20613 FLEATOWN RD                                                                                                 LINCOLN            DE   19960‐2805
MOHR, FREIDA N                        2425 GATEVIEW CT                                                                                                  CUMMING            GA   30040‐0532
MOHR, GARY N                          36318 SAMOA DR                                                                                                    STERLING HTS       MI   48312‐3045
MOHR, GARY NICHOLAS                   36318 SAMOA DR                                                                                                    STERLING HTS       MI   48312‐3045
MOHR, GENEVIEVE R                     1256 YUMA RIDGE S W                                                                                               BYRON CENTER       MI   49315
MOHR, GENEVIEVE R                     1256 MESA JUNCTION DR SW                                                                                          BYRON CENTER       MI   49315‐8073
MOHR, GEORGE                          11963 HERITAGE CIR                                                                                                DOWNEY             CA   90241‐4326
MOHR, GLENN A                         813 DEERCROSS LN                                                                                                  WAXHAW             NC   28173‐6603
MOHR, GLENN A                         1315 SAINT MARKS WALK                                                                                             SUWANEE            GA   30024‐6615
MOHR, HEDI                            DORFSTR 3D                                                                                    WULFSDORF 23684
                                                                                                                                    GERMANY
MOHR, HENRY                           DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                                 RIVERDALE          NY   10463
MOHR, HENRY E                         4680 CASTLE RD                                                                                                    OTTER LAKE         MI   48464‐9630
MOHR, HERMAN E                        9308 E 70TH TER                                                                                                   RAYTOWN            MO   64133‐5908
MOHR, HOWARD                          338 OBERLE AVE                                                                                                    ESSEX              MD   21221‐4704
MOHR, JACKIE E                        5933 HOLLY GLENN DR                                                                                               TOLEDO             OH   43612‐4531
MOHR, JACKIE EUGENE                   5933 HOLLY GLENN DR                                                                                               TOLEDO             OH   43612‐4531
MOHR, JANET S.                        BX55                                                                                                              BERKEY             OH   43504‐0055
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Name                    Address1                           Address2                      Address3         Address4         City              State Zip
MOHR, JOEL E            9 STERLING                                                                                         ADRIAN             MI 49221‐4262
MOHR, JOHN
MOHR, JOHN J            748 CHIPPEWA DR                                                                                    DEFIANCE          OH   43512‐3368
MOHR, JOYCE D           2218 S 141ST PLZ APT 17                                                                            OMAHA             NE   68144‐2363
MOHR, JUDY GAIL         9368 KILLARNEY HWY                                                                                 BROOKLYN          MI   49230
MOHR, KEITH R           140 FULTON ST                                                                                      GRAYLING          MI   49738‐1910
MOHR, KENNETH A         14811 IVANHOE DR                                                                                   SHELBY TWP        MI   48315‐1636
MOHR, LARRY A           34 WINDRUSH DR                                                                                     WHITE             GA   30184‐2899
MOHR, LARRY W           2923 S DEWITT RD                                                                                   SAINT JOHNS       MI   48879‐9596
MOHR, MADISON
MOHR, MAE A             337 S LINCOLN AVE                                                                                  NEWTOWN           PA   18940‐2121
MOHR, MARIAN J          203 NORTH MAIN ST                                                                                  ORFORDVILLE       WI   53576‐9447
MOHR, MARIAN J          203 N MAIN ST                                                                                      ORFORDVILLE       WI   53576‐9447
MOHR, MARY ELLEN        9410 GLADSTONE RD                                                                                  NORTH JACKSON     OH   44451
MOHR, MARY J            1725 VERMONT ST                                                                                    SAGINAW           MI   48602‐1745
MOHR, MELISSA
MOHR, RICHARD E         1481 SKYLARK DR                                                                                    TROY              OH 45373‐1623
MOHR, RICHARD JOHN
MOHR, RICHARD M         313 DECCA DR                                                                                       WHITE LAKE        MI   48386‐2124
MOHR, ROBERT C          4576 BIRCH RUN RD                                                                                  MILLINGTON        MI   48746‐9427
MOHR, ROBERT CHARLES    4576 BIRCH RUN RD                                                                                  MILLINGTON        MI   48746‐9427
MOHR, ROBERT D          PO BOX 456                                                                                         STONEWALL         LA   71078‐0456
MOHR, ROBERT L          12791 STATE ROUTE 281                                                                              HOLGATE           OH   43527‐9727
MOHR, ROBERT LEROY      12791 STATE ROUTE 281                                                                              HOLGATE           OH   43527‐9727
MOHR, ROBERT S          5160 OLDHAM DR                                                                                     TOLEDO            OH   43613‐2820
MOHR, RONALD D          220 SOUTH AVE                                                                                      TOLEDO            OH   43609‐3406
MOHR, SANDRA            1023 CLEARVIEW DR                                                                                  FLUSHING          MI   48433‐1413
MOHR, SCOTT             KRIST,SCOTT C                      1 CORPORATE PLAZA, 2525 BAY                                     HOUSTON           TX   77058
                                                           AREA BOULEVARD, SUITE 410
MOHR, SHIRLEY           PO BOX 203                                                                                         WILLIAMSVILLE     NY   14231‐0203
MOHR, SHIRLEY A         PO BOX 391                                                                                         BRIDGEPORT        MI   48722‐0391
MOHR, SONDRA L          3857 OTTER LAKE RD                                                                                 OTTER LAKE        MI   48464
MOHR, STEPHEN J         6425 SETON HILL PL                                                                                 CENTERVILLE       OH   45459‐2822
MOHR, STEVEN A          3778 FARNSWORTH DR                                                                                 LANSING           MI   48906‐9208
MOHR, SUSAN E           4410 RODEO TRL                                                                                     WILLIAMSTON       MI   48895‐9439
MOHR, SUSAN E           13997 RINGLER RD                                                                                   RAPID CITY        MI   49676
MOHR, THERESA E         3114 S GRIFFIN AVE                                                                                 MILWAUKEE         WI   53207‐2736
MOHR, VIRGINIA C        1805 LAKESIDE DR UNIT D                                                                            CHAMPAIGN         IL   61821‐5989
MOHR, WALTER H          7418 NORTH LAKE RD                                                                                 MILLINGTON        MI   48746
MOHR, WILLIAM J         14252 NOLAN DR                                                                                     FISHERS           IN   46038‐5240
MOHRE BRYAN             1909 HAWLEY RD                                                                                     LESLIE            MI   49251‐9508
MOHRE ELECTRONICS INC   226 WASHINGTON STREET                                                                              BLAKESLEE         OH   43505
MOHRE JR, KENNETH J     415 OAK ST                                                                                         ROCHESTER         MI   48307‐1930
MOHRE, BRYAN R          1909 HAWLEY RD                                                                                     LESLIE            MI   49251‐9508
MOHRE, JAMES D          216 S BRADLEY RD                                                                                   CHARLOTTE         MI   48813‐9552
MOHRE, JOAN B           PO BOX 83                                                                                          EAGLE             MI   48822‐0083
MOHRE, LIONEL B         3491 CONIFER LOOP                                                                                  SPRING HILL       FL   34609‐0876
MOHRING, LAURANE        HC F                               ATTN: BUSNINESS OFFICE        7264 NASH ROAD                    NORTH TONAWANDA   NY   14120
MOHRMAN, CHARLES W      2536 UNIVERSITY DR S # D                                                                           FARGO             ND   58103‐5737
MOHRMANN, KURT W        PO BOX 753                                                                                         PINCKNEY          MI   48169‐0753
MOHRMANN, WILLIAM B     PO BOX 238                                                                                         HEWITT            NJ   07421‐0238
MOHSEN ABBASSPOUR       1669 WOOD TRL                                                                                      OXFORD            MI   48371‐6067
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Name                          Address1                          Address2                      Address3          Address4                 City               State Zip
MOHSEN IBRAHIM                1598 OLD CHATHAM DR                                                                                        BLOOMFIELD HILLS    MI 48304‐1040
MOHSEN SHABANA                30802 KNIGHTON DR                                                                                          FARMINGTON HILLS    MI 48331‐5969
MOHSIN
MOHSIN SAQIB                  3775 PALISADES BLVD                                                                                        YPSILANTI          MI 48197‐7502
MOHSIN, SHAKIL                3225 MONUMENT                                                                                              ANN ARBOR          MI 48108‐2088
MOHUN, MICHAEL
MOHUNDRO, DELORES FAYE        899 HIGHWAY 72 WEST                                                                                        CORINTH            MS 38834‐1206
MOHWINKEL, RAYMOND G          591 LINDEN AVE                                                                                             RAHWAY             NJ 07065‐4318
MOHYLA, STEPHEN Y             5864 VALLEY FORGE DR                                                                                       HOUSTON            TX 77057‐2247
MOI MOI SCHMIDT ODER VOLKER   FRAU MOI MOI SCHMIDT ODER         HERRN VOLKER SCHMIDT          SETHEWEG 19 "L"   D‐14089 BERLIN GERMANY
SCHMIDT
MOILANEN, AARON M             5763 WILLOW CREEK DR                                                                                       SARANAC            MI   48881‐8723
MOILANEN, AARON MICHAEL       5763 WILLOW CREEK DR                                                                                       SARANAC            MI   48881‐8723
MOILANEN, HENRY W             23309 CHAPMAN RD                                                                                           MACOMB             MI   48042‐2702
MOILANEN, LEO M               29738 MCINTYRE ST                                                                                          LIVONIA            MI   48150‐3025
MOILANEN, NORMAN L            2056 CHANCERY DR                                                                                           TROY               MI   48085‐1028
MOILES, ALVENA L              805 N SHIAWASSEE ST                                                                                        CORUNNA            MI   48817‐1043
MOILES, ALVENA L              805 NORTH SHIAWASSEE ST                                                                                    CORUNNA            MI   48817‐1043
MOILES, DERRIL L              3664 S STATE RD                                                                                            OWOSSO             MI   48867‐9710
MOILES, JC D                  1785 PARMENTER RD                                                                                          CORUNNA            MI   48817‐9563
MOILES, LARRY L               1785 PARMENTER RD                                                                                          CORUNNA            MI   48817‐9563
MOILES, OTIS E                1299 S SHIAWASSEE ST              G‐124 KONNA VILLA                                                        OWOSSO             MI   48867
MOIN ASJAD                    2199 RADCLIFFE DR                                                                                          TROY               MI   48085‐6714
MOIR GILBERT T (429485)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA   23510
                                                                STREET, SUITE 600
MOIR, CYNTHIA G               21206 PARKWAY ST                                                                                           ST CLAIR SHRS      MI 48082‐1215
MOIR, DAVID M                 21206 PARKWAY ST                                                                                           ST CLAIR SHRS      MI 48082‐1215
MOIR, GILBERT T               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
MOIR, JOHN H                  5472 E ALYSSA CT                                                                                           WHITE LAKE         MI   48383‐4000
MOIR, KENNETH K               226 LOWELL DR                                                                                              KENT               OH   44240‐2226
MOIR, MARILYN A               247 GLEN EAGLE CIR                                                                                         NAPLES             FL   34104‐5716
MOIR, MARY                    33371 CANTERBURY RD                                                                                        AVON LAKE          OH   44012‐1289
MOIR, MARY ANN                33371 CANTERBURY ROAD                                                                                      AVON LAKE          OH   44012‐1289
MOIR, MEREDITH                282 1ST ST                                                                                                 ROCHESTER          MI   48307‐2600
MOIR, NANCY
MOIRA MILNE                   36618 QUAKERTOWN LN                                                                                        FARMINGTON HILLS   MI   48331‐3887
MOIS HERNANDEZ                11421 RINCON AVE                                                                                           SAN FERNANDO       CA   91340‐4140
MOIS, GEORGE E                50002 THETFORD CT E                                                                                        CANTON             MI   48187‐1038
MOISA, LIONEL L               6720 DIVERS LOONS ST                                                                                       N LAS VEGAS        NV   89084‐2691
MOISAN, MARLENE D             180 SCOTT RD                      APRT 247                                                                 WATERBURY          CT   06705
MOISAN, MARTHA M              40340 LADENE LN                                                                                            NOVI               MI   48375‐5326
MOISE BARCUTIAN               1920 BRADFORD RD                                                                                           BIRMINGHAM         MI   48009‐7254
MOISE FULLINGTON              1245 HIGHWAY 160                                                                                           NEWPORT            TN   37821‐4637
MOISE SUNDA                   48665 STONEACRE DR                                                                                         MACOMB             MI   48044‐1884
MOISE, BENJAMIN P             1375 SHEVCHENKO DR                                                                                         ANN ARBOR          MI   48103‐9001
MOISE, JERRY H                2605 HAGEMANN ST                                                                                           KANSAS CITY        KS   66106‐4229
MOISEEFF, ALEX                36704 W 9 MILE RD                                                                                          FARMINGTON HILLS   MI   48335‐3810
MOISES & NELLY CHOCRON        C/O MIRIAM CHOCRON                35 NOTRE DAME AVE                                                        HICKSVILLE         NY   11801‐1350
MOISES BBBB                   YYYYYYYYYY
MOISES GONZALES               2657 GLENROSE ST                                                                                           AUBURN HILLS       MI 48326‐1908
MOISES GONZALES               9934 TELFAIR AVE                                                                                           PACOIMA            CA 91331‐3445
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Name                                  Address1                           Address2                         Address3   Address4                City              State Zip
MOISES GUIMARAES                      8127 BRISTOL ST                                                                                        WESTLAND           MI 48185‐1830
MOISES HERNANDEZ                      5 CALLE ROBERTO DIAZ               URB LAS MUESAS CALLE ROBERTO                                        CAYEY              PR 00736‐5548
                                                                         DIA
MOISES LOMELIN                        APT 1150                           4325 WEST ROME BOULEVARD                                            N LAS VEGAS       NV   89084‐5408
MOISES MOLINA                         39 IRVEN ST                                                                                            EWING             NJ   08638‐2717
MOISES RODRIGUEZ                      10333 PINEHURST AVE                                                                                    SOUTH GATE        CA   90280‐6949
MOISES SOLORZANO                      6915 GRASSY KNOB ST                                                                                    BAKERSFIELD       CA   93313‐4590
MOISES VARGAS                         12255 DORWOOD RD                                                                                       BURT              MI   48417‐9450
MOISES VVVV                           ADRIANA CAJIGAS                    511 FIFTH AVE                                                       NEW YORK          NY   10017
MOISES VVVV                           ATTENTION : ADRIANA CAJIGAS        511 FIFTH AVE                                                       NEW YORK          NY   10017
MOISESHYN, ANTHONY                    248 REDRUTH AVE                                                                                        CLAWSON           MI   48017‐1956
MOISESHYN, MARGARET E                 248 REDRUTH                                                                                            CLAWSON           MI   48017
MOISESHYN, MARGARET E                 248 REDRUTH AVE                                                                                        CLAWSON           MI   48017‐1956
MOISON, RICHARD W                     342 KNIGHT ST                                                                                          WOONSOCKET        RI   02895‐6420
MOISON, ROGER E                       412 EDGEWATER AVE                                                                                      SYRACUSE          IN   46567‐2001
MOISSES ALVAREZ                       1920 ROBINSON RD APT 1005                                                                              GRAND PRAIRIE     TX   75051‐3970
MOISTNER TRUCKING                     PO BOX 125                                                                                             LOSANTVILLE       IN   47354‐0125
MOISTNER, RALPH J                     2701 N VIRGINIA AVE                                                                                    MUNCIE            IN   47303‐1796
MOIZ KADWALWALA                       1302 ESSEX DR                                                                                          ROCHESTER HILLS   MI   48307‐3140
MOJAN
MOJARRO, JOSE
MOJET, GEORGE                         519 VALENCIA DR                                                                                        PONTIAC           MI   48342‐1771
MOJET, INOLA R                        4228 SANFORD LN                                                                                        FORT WAYNE        IN   46816‐2288
MOJET, INOLA RENEE                    4228 SANFORD LN                                                                                        FORT WAYNE        IN   46816‐2288
MOJET, JARON E                        3427 HUNTER AVENUE                                                                                     ROYAL OAK         MI   48073‐2133
MOJET, JARON EUGENE                   3427 HUNTER AVENUE                                                                                     ROYAL OAK         MI   48073‐2133
MOJET, KENNETH L                      322 SEWARD ST                                                                                          PONTIAC           MI   48342‐3356
MOJET, PATRICIA D                     702 WOODLAKE LN                                                                                        PONTIAC           MI   48340‐1191
MOJET, PATRICIA D                     702 WOODLAKE LANE                                                                                      PONTIAC           MI   48340‐1191
MOJICA, ADOLFO                        2224 S HIGHWAY 83                                                                                      CRYSTAL CITY      TX   78839‐4509
MOJICA, EDWARD B                      2684 SUNDERLAND                                                                                        WATERFORD         MI   48329‐2848
MOJICA, FRANCES                       6723 LEROY LN                                                                                          ANDERSON          CA   96007‐9477
MOJICA, FRANCISCO                     22314 CAMILLE DR                                                                                       WOODHAVEN         MI   48183‐5238
MOJICA, JOE P                         7821 HANNA ST                                                                                          GILROY            CA   95020‐5014
MOJICA, LILIA                         43829 17TH ST E                                                                                        LANCASTER         CA   93535
MOJICA, LOUIS L                       PO BOX 635                                                                                             CLEBURNE          TX   76033‐0635
MOJICA, MARIELA                       43616 17TH ST E                                                                                        LANCASTER         CA   93535‐5727
MOJICA, PAMELA B                      APT 3A                             7497 TROUTWOOD DRIVE                                                GRAND BLANC       MI   48439‐7500
MOJICA, RAYMOND                       10706 CARLYLE CT                                                                                       WILLIAMSPORT      MD   21795‐1607
MOJISOLA SHOYINKA                     # 114                              2475 VIRGINIA AVENUE NORTHWEST                                      WASHINGTON        DC   20037‐2639

MOJON, ROGER E                        78 DEAN DR                                                                                             HOLLIS CENTER     ME 04042‐3642
MOJOS LICENSE & REGISTRY SERVICES INC 3 6020 1A STREET SW                                                            CALGARY CANADA AB T2H
                                                                                                                     0G3 CANADA
MOJZESZ, EUGENE R                     4375 BAILEY AVE                                                                                        AMHERST           NY   14226‐2131
MOJZIS, AGNES L                       9447 CALLE DE VALLE                                                                                    SCOTSDALE         AZ   85255‐4355
MOJZIS, AGNES L                       9447 E CALLE DE VALLE DR                                                                               SCOTTSDALE        AZ   85255‐4355
MOJZUK, JOHN L                        11382 WILDERNESS TRL                                                                                   FISHERS           IN   46038‐4614
MOJZUK, STEVEN A                      7165 PENINSULA DR NE                                                                                   ROCKFORD          MI   49341‐9506
MOJZUK, STEVEN ALAN                   7165 PENINSULA DR NE                                                                                   ROCKFORD          MI   49341‐9506
MOK, MARTHA                           18018 BREEZEWAY                                                                                        FRASER            MI   48026‐2485
MOKAY, MICHAEL                        POWER & ASSOCIATES                 1790 WILMINGTON PIKE STE 200                                        GLEN MILLS        PA   19342‐8121
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Name                                Address1                            Address2                        Address3         Address4               City               State Zip
MOKELKE, RONALD H                   1101 E CHERYL DR                                                                                            PHOENIX             AZ 85020
MOKER, RICHARD P                    343 WILLOWBROOKE DR                                                                                         BROCKPORT           NY 14420‐1133
MOKHBERY, MAJID                     757 N VALLEY VIEW DR                                                                                        CHULA VISTA         CA 91914
MOKO, MARIA R                       8085 CHARLECOT DR                                                                                           INDIANAPOLIS        IN 46268‐2064
MOKON/BUFFALO                       2150 ELMWOOD AVE                                                                                            BUFFALO             NY 14207‐1910
MOKRI DONALD (ESTATE OF) (489157)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                           NORTHFIELD          OH 44067
                                                                        PROFESSIONAL BLDG
MOKRIAK, MARIJA                     23440 WEST LE BOST DR                                                                                       NOVI               MI   48375
MOKROHAISKY, EVELYN M               682 MCKINLEY AVE                                                                                            BEDFORD            OH   44146‐2854
MOKROHAISKY, EVELYN M               682 MCKINLEY                                                                                                BEDFORD            OH   44146‐2854
MOKROS, RUDY                        GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                            SAGINAW            MI   48604‐2602
                                                                        260
MOKROVICH, WILLIAM C                7007 CLINGAN RD UNIT 99                                                                                     POLAND             OH   44514‐2481
MOKRY, GEORGE                       119 COUNTY ROAD 1519                                                                                        MORGAN             TX   76671‐3161
MOKSZYCKI, CHESTER                  11621 GALLAGHER ST                                                                                          HAMTRAMCK          MI   48212‐3151
MOKUM SERVICES INC                  16700 17 MILE RD                                                                                            CLINTON TWP        MI   48038
MOKWE, PIERRE U                     21025 GREEN HILL RD APT 350                                                                                 FARMINGTON HILLS   MI   48335‐4530
MOL LOGISTICS USA INC               PO BOX 450308                                                                                               LAREDO             TX   78045‐0007
MOL, ROBERT J                       4040 8 MILE RD NW                                                                                           GRAND RAPIDS       MI   49544‐9798
MOL, ROBERT L                       4634 SLIPPERY ROCK                                                                                          MANLIUS            NY   13104‐9356
MOLA, SIMONE                        G 8308 FENTON ROAD                                                                                          GRAND BLANC        MI   48439
MOLAG, JOAN L                       14518 AGUILA                                                                                                FORT PIERCE        FL   34951‐4414
MOLAG, JOAN L                       14518 AGUILA 1                                                                                              FORT PIERCE        FL   34951
MOLALLA CHEVROLET                   203 N MOLALLA AVE                                                                                           MOLALLA            OR   97038
MOLAMPY, ANN                        6026 S MASSASOIT                                                                                            CHICAGO            IL   60638‐4514
MOLAN‐WERK DITTRICH GMBH & CO KG                                        ZUM PANREPEL 38/40                                                                              28307

MOLAN‐WERK/GERMANY                  ZUM PANREPEL 38/40                  BREMEN                                           BREMEN 28307 GERMANY
MOLANARE RICHARD C (632842)         KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                           CLEVELAND          OH 44114
                                                                        BOND COURT BUILDING
MOLANARE, RICHARD C                 KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                            CLEVELAND          OH 44114
                                                                        BOND COURT BUILDING
MOLANDES, MARJORIE                  RR 10 BOX 9583                                                                                              LUFKIN             TX   75904
MOLANDS, CORBIT                     4175 MOUNT STERLING RD                                                                                      WINCHESTER         KY   40391‐9421
MOLANDS, PAMELA                     5521 W MILLER RD                                                                                            LEWISTON           MI   49756‐7533
MOLARA ODUNUGA                      2623 BEDFORD RD                                                                                             LANSING            MI   48911‐1704
MOLARZ, STEPHEN A                   100 WESCOTT RD                                                                                              HILLSBOROUGH       NJ   08844
MOLASCON, MARY                      12771 TECUMSEH                                                                                              DETROIT            MI   48239‐2740
MOLASH, EDWARD F                    125 DRUMMOND DR                                                                                             WILMINGTON         DE   19808‐1314
MOLASH, JOHN J                      2827 W OAKLAND DR                                                                                           WILMINGTON         DE   19808‐2422
MOLASKI, JAMES F                    8273 SEYMOUR RD                                                                                             GAINES             MI   48436‐9799
MOLASKI, JAMES S                    7361 WILLARD RD                                                                                             MONTROSE           MI   48457‐9721
MOLASKI, JAMES SCOTT                7361 WILLARD RD                                                                                             MONTROSE           MI   48457‐9721
MOLASKI, LYNN M                     13485 IRISH RD                                                                                              MILLINGTON         MI   48746‐9246
MOLASKI, WILLIAM E                  13485 IRISH RD                                                                                              MILLINGTON         MI   48746‐9246
MOLAY LTD                           C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT            2 RAFFLES LINK   MARINA BAYFRONT
                                    LIMITED                                                                              SINGAPORE 039392
MOLBURG, NICOLLE M                  120 ETHAN DR                                                                                                ELSBERRY           MO   63343‐3255
MOLCHAN, IDA J                      2870 VANALSTYNE                                                                                             WYANDOTTE          MI   48192‐5220
MOLCHAN, IDA J                      2870 VAN ALSTYNE ST                                                                                         WYANDOTTE          MI   48192‐5220
MOLCHAN, ROBERT A                   PO BOX 43                                                                                                   LA CROSSE FL       FL   32658‐0043
MOLCHAN, ROBERT A                   7014 SANDYWELL DRIVE                                                                                        TEMPERANCE         MI   48182‐1337
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Name                                 Address1                         Address2                      Address3      Address4            City               State Zip
MOLCHAN, RONALD M                    3302 CAMERON ST                                                                                  GROVE CITY          OH 43123‐1707
MOLCZYK TIMOTHY A (441459)           WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                 NEW YORK            NY 10038
MOLCZYK, TIMOTHY A                   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                 NEW YORK            NY 10038
MOLD EX INC                          2000 AIRPORT RD                                                                                  WAUKESHA            WI 53188‐2448
MOLD MASTERS                         HUGO LEONARDI                    1455 IMLAY CITY RD                                              LAPEER              MI 48446‐3142
MOLD MASTERS CO                      1 ACTION RD                                                                                      ODESSA              MO 64076‐1635
MOLD MASTERS CO                      JOHN ZAUNER X213                 1455 IMLAY CITY ROAD                                            CLAWSON             MI
MOLD MASTERS CO                      RON KERSTEN X243                 C/O ACTION PRODUCTS COMPANY   1 ACTION RD   VAUGHAN ON CANADA

MOLD MASTERS CO                      1455 IMLAY CITY RD                                                                               LAPEER             MI    48446‐3142
MOLD MASTERS COMPANY                 JOHN ZAUNER X213                 1455 IMLAY CITY ROAD                                            CLAWSON            MI
MOLD MASTERS/LAPEER                  1455 IMLAY CITY RD                                                                               LAPEER             MI    48446‐3142
MOLD SYS/STERLNG HGT                 6685 COBB DR                                                                                     STERLING HEIGHTS   MI    48312‐2625
MOLD SYSTEMS COMPANY INC             6685 COBB DR                                                                                     STERLING HEIGHTS   MI    48312‐2625
MOLD TECH                            17009 MASONIC                                                                                    FRASER             MI    48026‐3927
MOLD‐EX RUBBER CO INC                RICK PYNE X 2372                 2000 AIRPORT RD                                                 WAUKESHA           WI    53188‐2448
MOLD‐EX RUBBER CO INC                RICK PYNE X 2372                 8052 ARMSTRONG RD.                                              MIDDLEFIELD        OH    44062
MOLD‐EX RUBBER CO. INC.              RICK PYNE X 2372                 2000 AIRPORT RD                                                 WAUKESHA           WI    53188‐2448
MOLD‐EX RUBBER CO. INC.              RICK PYNE X 2372                 8052 ARMSTRONG RD.                                              MIDDLEFIELD        OH    44062
MOLDA, DARWIN A                      1288 LEFFINGWELL AVE NE                                                                          GRAND RAPIDS       MI    49525‐4522
MOLDE, DEAN A                        1422 N PASEO MARAVILLOSO                                                                         GREEN VALLEY       AZ    85614‐3625
MOLDED ACOUST/EASTON                 3 DANFORD DRIVE                                                                                  EASTON             PA    18042
MOLDED ACOUST/EASTON                 3 DANFORTH RD                                                                                    EASTON             PA    18045‐7821
MOLDED ACOUST/EASTON                 3809 LEXINGTON PARK DR                                                                           ELKHART            IN    46514‐1162
MOLDED ACOUSTICAL PROD INC           JEFF NEWMAN X332                 3809 LEXINGTON PARK DR                                          ELKHART            IN    46514‐1162
MOLDED ACOUSTICAL PROD INC           JEFF NEWMAN X332                 29269 LEXINGTON PARK DR.                                        YPSILANTI          MI    48198
MOLDED ACOUSTICAL PROD. INC.         JEFF NEWMAN X332                 3 DANFORTH RD                                                   EASTON             PA    18045‐7821
MOLDED ACOUSTICAL PROD. INC.         JEFF NEWMAN X332                 THREE DANFORTH DRIVE                                            FRANKFORT          IN    46041
MOLDED ACOUSTICAL PRODUCTS           DEBORAH MC EWEN X316             600 HWY #322                                                    MCALLEN            TX    78503
MOLDED ACOUSTICAL PRODUCTS OF        3 DANFORTH RD                                                                                    EASTON             PA    18045‐7821
MOLDED ACOUSTICAL PRODUCTS OF EAST   600 HWY #322                                                                                     CLARKSDALE         MS    38614

MOLDED ACOUSTICAL PRODUCTS OF        3 DANFORTH RD                                                                                    EASTON             PA 18045‐7898
EASTO
MOLDED ACOUSTICAL PRODUCTS OF        3809 LEXINGTON PARK DR                                                                           ELKHART             IN   46514‐1162
EASTO
MOLDED ACOUSTICAL PRODUCTS OF        600 HWY #322                                                                                     CLARKSDALE         MS 38614
EASTO
MOLDED ACOUSTICAL PRODUCTS OF        DEBORAH MC EWEN X316             600 HWY #322                                                    MCALLEN             TX   78503
EASTO
MOLDED ACOUSTICAL PRODUCTS OF        JEFF NEWMAN X332                 29269 LEXINGTON PARK DR.                                        YPSILANTI          MI 48198
EASTO
MOLDED ACOUSTICAL PRODUCTS OF        JEFF NEWMAN X332                 3 DANFORTH RD                                                   EASTON             PA 18045‐7821
EASTO
MOLDED ACOUSTICAL PRODUCTS OF        JEFF NEWMAN X332                 3809 LEXINGTON PARK DR                                          ELKHART             IN   46514‐1162
EASTO
MOLDED ACOUSTICAL PRODUCTS OF        JEFF NEWMAN X332                 THREE DANFORTH DRIVE                                            FRANKFORT           IN   46041
EASTO
MOLDED ACOUSTICAL PRODUCTS OF        3 DANFORTH RD                                                                                    EASTON             PA 18045‐7821
EASTON INC
MOLDED FIBE/ASHTABUL                 1601 W. 29TH STREET              P.O. BOX 675                                                    ASHTABULA          OH 44004
MOLDED FIBER GLASS                   COMPOSITE SYSTEMS COMPANY        2925 MFG PL                                                     ASHTABULA          OH 44004‐9445
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Name                                 Address1                         Address2                     Address3                  Address4              City              State Zip
MOLDED FIBER GLASS CO                2925 MFG PL                                                                                                   ASHTABULA          OH 44004‐9445
MOLDED FIBER GLASS CO                4401 BENEFIT AVE                                                                                              ASHTABULA          OH 44004‐5458
MOLDED FIBER GLASS CO                ECOLOGIA NO 111                  PARQUE INDUSTRIAL LA SILLA                             APODACA NL 66600
                                                                                                                             MEXICO
MOLDED FIBER GLASS CO                KEITH BIHARY                     2925 MFG PL                  MOLDED FIBER GLASS CO.                          ASHTABULA         OH 44004‐9445
MOLDED FIBER GLASS CO                KEITH BIHARY                     ECOLOGIA NO 111              PARQUE INDUSTRIAL LA SILLA LA ROCHE SUR FORON
                                                                                                                              FRANCE
MOLDED FIBER GLASS CO                KEITH BIHARY                     MOLDED FIBER GLASS CO.       2925 MFG PLACE                                  GREENWOOD          IN   46143
MOLDED FIBER GLASS CO                KEITH BIHARY                     WEST 29TH & VIVIAN CT.                                  GUELPH ON CANADA
MOLDED FIBER GLASS CO                2925 MFG PLACE                                                                                                ASHTABULA         OH 44004
MOLDED FIBER GLASS COMPOSITE         KEITH BIHARY                     2925 MFG PL                  MOLDED FIBER GLASS CO.                          ASHTABULA         OH 44004‐9445
MOLDED FIBER GLASS COMPOSITE         KEITH BIHARY                     MOLDED FIBER GLASS CO.       2925 MFG PLACE                                  GREENWOOD         IN 46143
MOLDED FIBER GLASS DE MEXICO         KEITH BIHARY                     ECOLOGIA NO 111              PARQUE INDUSTRIAL LA SILLA LA ROCHE SUR FORON
                                                                                                                              FRANCE
MOLDED FIBER GLASS DE MEXICO         1601 W 29TH ST FMLY MFG PREM     PO BOX 1000                                                                  ASHTABULA         OH 44004
MOLDED FIBER GLASS DE MEXICO SA DE   ECOLOGIA NO 111                  PARQUE INDUSTRIAL LA SILLA                             APODACA NL 66600
                                                                                                                             MEXICO
MOLDED FIBERGLASS COMPANY            KEITH BIHARY                     WEST 29TH & VIVIAN CT.                                 GUELPH ON CANADA
MOLDED MATER/PLYMOTH                 14555 JIB ST                                                                                                  PLYMOUTH          MI    48170‐6011
MOLDED MATERIALS INC                 44650 HELM CT                                                                                                 PLYMOUTH          MI    48170‐6061
MOLDED PLASTIC INDUSTRIES            FRANK PHILLIPS                   2832 JARCO DRIVE             P.O. BOXC 70                                    MADISON HEIGHTS   MI    48071
MOLDED PLASTIC INDUSTRIES INC        FRANK PHILLIPS                   2832 JARCO DRIVE             P.O. BOXC 70                                    MADISON HEIGHTS   MI    48071
MOLDED PLASTIC INDUSTRIES INC        2382 JARCO DR                                                                                                 HOLT              MI    48842‐1210
MOLDEN DESHAN                        MOLDEN, DESHAN                   22260 HAGGERTY RD STE 250                                                    NORTHVILLE        MI    48167‐8985
MOLDEN LEWRENCE E                    C/O EDWARD O MOODY PA            801 WEST FOURTH STREET                                                       LITTLE ROCK       AR    72201
MOLDEN, DONNA J                      538 NEWTON CREEK RD                                                                                           DOTHAN            AL    36305‐5008
MOLDEN, J C                          14501 STRATHMOOR ST                                                                                           DETROIT           MI    48227‐2869
MOLDEN, LEWRENCE E                   C/O MOODY                        801 WEST FOURTH ST                                                           LITTLE ROCK       AR    72201
MOLDEN, NATHANIEL                    2545 DEER LAKE ST                                                                                             LAS VEGAS         NV    89134‐7220
MOLDEN, TERRAN R                     10679 E 700 N                                                                                                 WILKINSON         IN    46186‐9794
MOLDEN, WILLIE                       PORTER & MALOUF PA               4670 MCWILLIE DR                                                             JACKSON           MS    39206‐5621
MOLDENHAUER CRAIG                    3191 CAPSTAN CRESENT                                                                    COQUITLAM CANADA BC
                                                                                                                             V3C 4H3 CANADA
MOLDENHAUER JR, HAROLD V             1316 GLENDALE AVE                                                                                             SAGINAW           MI    48638‐4724
MOLDENHAUER, BRIAN J                 2523 CARAMBOLA CIR N                                                                                          COCONUT CREEK     FL    33066‐2437
MOLDENHAUER, DELMAS J                306 S SCOTT RD,                                                                                               ST JOHNS          MI    48879
MOLDENHAUER, DELMAS J                306 S SCOTT RD                                                                                                SAINT JOHNS       MI    48879‐8012
MOLDENHAUER, DENISE D                2921 NW 53RD TER                                                                                              MARGATE           FL    33063‐1502
MOLDENHAUER, KARL F                  7201 HENDERSON BLVD SE           APT 11A                      C/O DELYNN C THAYER                             OLYMPIA           WA    98501‐6363
MOLDENHAUER, KARL J                  7168 CARPENTER RD                                                                                             FLUSHING          MI    48433‐9021
MOLDENHAUER, KARL JAY                7168 CARPENTER RD                                                                                             FLUSHING          MI    48433‐9021
MOLDENHAUER, LEO O                   1546 N ROYSTON RD                                                                                             CHARLOTTE         MI    48813‐9322
MOLDENHAUER, LEWIS C                 306 S SCOTT RD                                                                                                SAINT JOHNS       MI    48879‐8012
MOLDENHAUER, MARVIN M                11881 N DOBBS RD                                                                                              LUTHER            OK    73054‐9460
MOLDER, ALFONZA L                    128 PENNSYLVANIA AVE                                                                                          YARDLEY           PA    19067‐1721
MOLDER, CHARLEY R                    20275 E 752ND RD                                                                                              HUMANSVILLE       MO    65674‐8119
MOLDER, CHARLEY R                    PO BOX 46686                                                                                                  KANSAS CITY       MO    64188‐6686
MOLDER, FREDERICK
MOLDER, FREDERICK                    LAW OFFICES OF DAVID COLEMAN     938 LAFAYETTE ST STE 106                                                     NEW ORLEANS       LA    70113‐1088
MOLDEX CRANK SHAFT INC               12001 TELEGRAPH RD                                                                                            REDFORD           MI    48239‐1413
MOLDEX CRANKSHAFT CO                 12001 TELEGRAPH RD                                                                                            REDFORD           MI    48239‐1413
MOLDEX/DRBRN HGTS                    12001 TELEGRAPH RD                                                                                            REDFORD           MI    48238‐1413
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Name                         Address1                          Address2                        Address3   Address4         City               State Zip
MOLDFLOW CORP                1550 TRAPELO RD                                                                               WALTHAM             MA 02451‐7306
MOLDFLOW CORPORATION         1560 TRAPELO RD                                                                               WALTHAM             MA 02445‐7306
MOLDING CONCEPTS INC         6700 SIMS DR                                                                                  STERLING HEIGHTS    MI 48313‐3727
MOLDOVAN VICTORIA (446448)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                               PROFESSIONAL BLDG
MOLDOVAN, DENNIS P           6234 S HAYRAKE HOLW                                                                           CHELSEA            MI   48118‐9552
MOLDOVAN, DIANA N            7256 STONEBROOK DR                                                                            CANTON             MI   48187‐1260
MOLDOVAN, FELICIU T          1248 POTOMAC DR                                                                               ROCHESTER HILLS    MI   48306‐3839
MOLDOVAN, IOANA D            1248 POTOMAC DR                                                                               ROCHESTER HILLS    MI   48306‐3839
MOLDOVAN, JENNE S            1197 RUE DEAUVILLE BLVD                                                                       YPSILANTI          MI   48198‐7545
MOLDOVAN, JENNE SUE          1197 RUE DEAUVILLE BLVD                                                                       YPSILANTI          MI   48198‐7545
MOLDOVAN, JOHN G             2332 MEADOWLANE CT                                                                            BURTON             MI   48519‐1279
MOLDOVAN, JUDITH ANN         19927 WOODWORTH                                                                               REDFORD            MI   48240‐1125
MOLDOVAN, KENNETH R          825 N ROSEWOOD ST A‐5                                                                         YPSILANTI          MI   48198
MOLDOVAN, NANCY L            2350 ADOBE RD                     LOT 212                                                     BULLHEAD CITY      AZ   86442‐6442
MOLDOVAN, NANCY L            UNIT B                            3189 WOODLAND TRAIL                                         CORTLAND           OH   44410‐9244
MOLDOVAN, ROBERT D           2100 VALLEY FALLS AVE                                                                         MESQUITE           TX   75181‐2114
MOLDOVAN, VICTORIA           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD         OH   44067
                                                               PROFESSIONAL BLDG
MOLDPLAS                                                       155 ROMEO RD                                                                   MI   48307
MOLDREM, DAVID L             590 W MONROE ST                                                                               ORLEANS            IN   47452‐1241
MOLDREM, NATHAN D            1124 MUNDELL CHURCH RD                                                                        HELTONVILLE        IN   47436‐8748
MOLDT, JOAN Y                289 SAMPLES RD                                                                                AVINGER            TX   75630‐7831
MOLDTECH INC                 1900 COMMERCE PKWY                                                                            LANCASTER          NY   14086‐1735
MOLDTECH INC                 LISA GOVENETTIO X10               1900 COMMERCE PKWY.                                         STERLING HEIGHTS   MI   48314
MOLDTECH INC.                LISA GOVENETTIO X10               1900 COMMERCE PKWY.                                         STERLING HEIGHTS   MI   48314
MOLDVAY CHERIE               47 HEATHER COVE DR                                                                            BOYNTON BEACH      FL   33436‐8943
MOLE, JOSEPH G               27414 TOWNSEND AVE                                                                            WARREN             MI   48092‐3963
MOLE, LAKEITHA L             4419 SPRING MEADOWS CT                                                                        BURTON             MI   48519‐1199
MOLEANO, ADELINO C           1840 SHARON WALK DR                                                                           CUMMING            GA   30041‐7435
MOLEANO, JOAQUIM             21 PRINCETON LN                                                                               PALM COAST         FL   32164‐7112
MOLEANO, MARIA C             23 CRESCENT DRIVE                                                                             BEACON             NY   12508‐4111
MOLEANO, MARIA C             23 CRESCENT DR                                                                                BEACON             NY   12508‐4111
MOLEANO, SILVIO              21 PRINCETON LANE                                                                             PALM COAST         FL   32164‐7112
MOLECULAR SIMULATIONS INC.   9685 SCRANTON RD                                                                              SAN DIEGO          CA   92121‐1761
MOLECULAR TECHNOLOGIES INC   PO BOX 1292                                                                                   SIMPSONVILLE       SC   29681‐1292
MOLEECIA RYAN                1305 OLD WILMINGTON RD                                                                        HOCKESSIN          DE   19707‐9674
MOLEECIA V RYAN              1305 OLD WILMINGTON ROAD                                                                      HOCKESSIN          DE   19707‐9674
MOLEK, FREDERICK E           5130 ALVA AVE NW                                                                              WARREN             OH   44483‐1210
MOLEK, FREDERICK E           5130 ALVA N.W.                                                                                WARREN             OH   44483‐1210
MOLEK, LAURA A               2406 HENN HYDE RD                                                                             CORTLAND           OH   44410‐9446
MOLEMASTER SERVICES CORP     PO BOX 714325                                                                                 COLUMBUS           OH   43271‐4325
MOLEN, JANE L                2014 E 45TH ST                                                                                ANDERSON           IN   46013‐2530
MOLEN, THOMAS G              4050 GILFORD CT                                                                               JARRETTSVILLE      MD   21084‐1232
MOLEN, WILLIAM L             99 LOGANWOOD DR                                                                               CENTERVILLE        OH   45458‐2537
MOLENAOR, CONSTANCE R        9 MILROSE AVE                                                                                 WESTERLY           RI   02891‐1412
MOLENAOR, DAVID W            3425 MERIDIAN WAY                                                                             WINSTON SALEM      NC   27104‐1835
MOLENCUPP, JANICE S          2801 JACKSON BLVD                                                                             HIGHLAND           MI   48356‐1553
MOLENDA, JOSEPH              2675 SPRING MEADOW CIR                                                                        YOUNGSTOWN         OH   44515‐4958
MOLENDA, MARGUERITE E        1925 HARDEN BLVD LOT 128                                                                      LAKELAND           FL   33803‐1873
MOLENDA, MATTHEW M           313 1/2 EAST FREDRICKS            APT. # 3                                                    BARSTOW            CA   92311
MOLENDA, MATTHEW MICHAEL     313 1/2 EAST FREDRICKS            APT. # 3                                                    BARSTOW            CA   92311
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Name                         Address1                        Address2             Address3        Address4                City                State Zip
MOLENDA, PAUL J              12743 W ALBAIN RD                                                                            PETERSBURG           MI 49270‐9528
MOLENDA, PAUL JOHN           12743 W ALBAIN RD                                                                            PETERSBURG           MI 49270‐9528
MOLENDA, STANLEY J           962 SOUTHRIDGE TRL                                                                           ALTAMONTE SPRINGS    FL 32714‐1296
MOLENKAMP, LYNN A            1777 GENTIAN DR SE                                                                           KENTWOOD             MI 49508‐6405
MOLENS, DELORES              715 VINELAND RD                                                                              DE SOTO              MO 63020
MOLENVELD, HENRY R           8283 KARAM BLVD UNIT 4                                                                       WARREN               MI 48093‐2117
MOLER, BOBBY J               7311 KESSLING ST                                                                             DAVISON              MI 48423‐2449
MOLER, CARL W                1264 CLOVERFIELD AVE. APT. A                                                                 KETTERING            OH 45429‐4562
MOLER, CHARLES W             139 ANTWERP AVE                                                                              BROOKVILLE           OH 45309‐1320
MOLER, CORVIN E              7467 S STATE RD 202                                                                          TIPP CITY            OH 45371‐9470
MOLER, FANNIE M.             2813 PROSPECT DR                                                                             FAIRBORN             OH 45324‐2133
MOLER, FANNIE M.             2813 PROSPECT AVE                                                                            FAIRBORN             OH 45324‐2133
MOLER, FREDERIC M            14229 BROOKINGS DR                                                                           STERLING HTS         MI 48313‐5413
MOLER, JANET T               5511 SAVINA AVE                                                                              DAYTON               OH 45415‐1145
MOLER, JOHNNIE R             7260 SURFWOOD DR                                                                             FENTON               MI 48430‐9353
MOLER, JUDY P                2623 MORRIS LANE                                                                             GIRARD               OH 44420‐3127
MOLER, JUDY P                2623 MORRIS LN                                                                               GIRARD               OH 44420‐3127
MOLER, LOUISE                7467 S STATE ROUTE 202                                                                       TIPP CITY            OH 45371‐5371
MOLER, MARILYN J             5 DELANO PL                                                                                  KETTERING            OH 45420‐2912
MOLER, SHARON                7941 BRKV‐SALEM RD                                                                           BROOKVILLE           OH 45309
MOLER, WILLIAM E             1818 GRANT LINE ROAD                                                                         NEW ALBANY           IN 47150‐4029
MOLES, BOBBY D               4392 CASSELISABETH RD                                                                        WATERFORD            MI 48327
MOLES, DORTHA J              1188 S DETROIT ST                                                                            XENIA                OH 45385‐5449
MOLES, DORTHA J              1188 S. DETROIT STREET                                                                       XENIA                OH 45385‐5449
MOLES, DOUGLAS O             9342 MAPLE LANE LONG ISLAND                                                                  BELLE CENTER         OH 43310
MOLES, ETHEL B               802 SILVERLEAF DRIVE                                                                         DAYTON               OH 45431‐5431
MOLES, JOHNNY B              409 E PORTER ST                                                                              ALBION               MI 49224‐1807
MOLES, SCOTT J               6165 BALFOUR DR                                                                              LANSING              MI 48911‐5437
MOLES, SHANE                 1498 CEDAR BEND RD N                                                                         SOUTHSIDE            AL 35907‐7058
MOLESKI, BERNICE             6940 INKSTER RD APT 210                                                                      DEARBORN HGTS        MI 48127‐1868
MOLESKI, BERNICE             6940 N INKSTER RD APT 210                                                                    DEARBORN HTS         MI 48127‐1868
MOLESKI, DAVID H             12369 DOLLAR LAKE CT                                                                         FENTON               MI 48430‐9745
MOLESKI, EDWARD J            19300 KINGSVILLE ST                                                                          DETROIT              MI 48225‐2144
MOLESKI, JEROME J            19300 BRIARWOOD LN                                                                           CLINTON TWP          MI 48036‐2121
MOLESKI, JOHN P              20070 RIDGEWAY CT                                                                            CLINTON TWP          MI 48038‐2289
MOLESKI, LOGAN MARIE         1037 GRANGER ST                                                                              FENTON               MI 48430‐1566
MOLESKI, RONALD L            5251 E HILL RD                                                                               GRAND BLANC          MI 48439‐8611
MOLESKI, WINNIE L            5251 E HILL RD                                                                               GRAND BLANC          MI 48439‐8611
MOLESKI‐THOMAS, ROCHELLE M   5371 AMENO LN                                                                                SWARTZ CREEK         MI 48473‐8830
MOLESKY, JOSEPH T            47490 BARBARA RD                                                                             MACOMB               MI 48044‐2408
MOLESKY, STANLEY J           33 WAYNECROFT ST                                                                             INDIANAPOLIS         IN 46241‐1426
MOLESPHINI JR, JOHN J        111 INDIGO RUN CV                                                                            AUSTION              TX 70730‐1759
MOLESPHINI, KANDY J          111 INDIGO RUN CV                                                                            AUSTIN               TX 78738‐1759
MOLESTER GALLOWAY            4617 CLAY COURT LN                                                                           ARLINGTON            TX 76017‐1619
MOLESTER JONES               4613 WARRINGTON DR                                                                           FLINT                MI 48504‐2078
MOLESTI ILIANA               VIA PUGLIA 4 PISA
MOLESWORTH, DALE W           PO BOX 415                                                                                   SWARTZ CREEK        MI   48473‐0415
MOLESWORTH, DONALD R         7318 NEWPORT DR                                                                              DAVISON             MI   48423‐9372
MOLETT, LUELLA               499 GOING ST                                                                                 PONTIAC             MI   48341‐3322
MOLEWYK, DONALD H            246 THORNRIDGE CT NW                                                                         GRAND RAPIDS        MI   49504‐5887
MOLEX CONNECTOR CORP         305 OTE PARQUE INDUSTRIAL       GUADALAJARA MEXICO                   LAS PINTAS JALISCO CP
                                                                                                  45690 MEXICO
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Name                         Address1                        Address2                        Address3                   Address4               City               State Zip
MOLEX CORPORATION            2025 TAYLOR ROAD                                                                                                  AUBURN HILLS        MI 48326
MOLEX DE MEXICO              STACEY CYBULSKI 2709            PRODUCTIVIDAD OTE. 305          PARQUE IND. GUADALAJARA    MODUGNO (BARI) ITALY

MOLEX DE MEXICO SA DE CV     AV PRODUCTIVIDAD OTE 305        PARQUE INDUSTRIAL GUADALAJARA                              LAS PINTAS JA 45690
                                                                                                                        MEXICO
MOLEX ELECTRONICS LIMITED    2222 WELLINGTON CT                                                                                                LISLE               IL   60532‐3831
MOLEX IMPORT                 STACEY CYBULSKI 2709            MOLEX CONNECTOR CORPORATION 3 SAMMONS COURT                WIESELBURG, 3250
                                                                                                                        AUSTRIA
MOLEX INC                    2222 WELLINGTON CT                                                                                                LISLE              IL    60532‐3831
MOLEX INC                    700 KING BIRD RD                                                                                                  LINCOLN            NE    68521‐3000
MOLEX INC                    MENI BOUGIOTOPOULOS             801 MURPHY DRIVE                                                                  MOUNT MORRIS       MI    48458
MOLEX INC                    PAUL RUSSO                      1785 NORTHFIELD DR                                                                HOWELL             MI    48843
MOLEX INC                    STACEY CYBULSKI                 903 E FRONTAGE RD                                                                 GRAND HAVEN        MI    49417
MOLEX INC                    STACEY CYBULSKI 2709            MOLEX CONNECTOR CORPORATION 3 SAMMONS COURT                WIESELBURG, 3250
                                                                                                                        AUSTRIA
MOLEX INC                    STACEY CYBULSKI 2709            PRODUCTIVIDAD OTE. 305          PARQUE IND. GUADALAJARA    MODUGNO (BARI) ITALY

MOLEX/LISLE                  2222 WELLINGTON CT                                                                                                LISLE              IL 60532‐3831
MOLEY, ANTHONY J             8650 CAMINO TASSAJARA                                                                                             PLEASANTON         CA 94588‐9434
MOLFESE, DOMINIC N           468 CONNECTICUT ST                                                                                                BUFFALO            NY 14213‐2644
MOLGORA MARINA               50262602                        MOLGORA MARINA                  VIA GIAN GIACOMO PORRO 4   197 ROMA RM ITALY

MOLHEM, ZOHIR                423 JONATHAN DR                                                                                                   ROCHESTER HILLS    MI    48307‐5264
MOLIC, LAURIE A              5379 SABRINA LN NW                                                                                                WARREN             OH    44483‐7202
MOLICK, CATHERINE T          42495 ELDON CIR                                                                                                   CLINTON TOWNSHIP   MI    48038‐1721
MOLICKY, DANIEL T            70555 LOWE PLANK RD                                                                                               RICHMOND           MI    48062‐5350
MOLICKY, DANIEL TIMOTHY      70555 LOWE PLANK RD                                                                                               RICHMOND           MI    48062‐5350
MOLICKY, JULIA               24317 URSULINE                                                                                                    ST CLAIR SHRS      MI    48080‐1035
MOLICKY, STEPHEN P           24317 URSULINE ST                                                                                                 ST CLAIR SHRS      MI    48080‐1035
MOLIN, BRUNO H               1044 FOXWOOD CT                                                                                                   WHITE LAKE         MI    48383‐3050
MOLIN, BRUNO HEINZ           1044 FOXWOOD CT                                                                                                   WHITE LAKE         MI    48383‐3050
MOLIN, CECELIA L             492 CHAMBERLAIN DR                                                                                                LAKE ALFRED        FL    33850
MOLIN, EVELYN M              3757 CUMBERLAND CIR                                                                                               YOUNGSTOWN         OH    44515‐5701
MOLIN, GUNNAR A              316 BROCKTON RD                                                                                                   WILMINGTON         DE    19803‐2412
MOLIN, STEVEN E              780 MOUNT CUBA RD                                                                                                 YORKLYN            DE    19736‐9712
MOLINA CHAURAND, ALFREDO O   CARRETERA CHAPALA PONIENTE      #47 INT #3                      AJIJIC CP 45920            JALISCO MEXICO
MOLINA CHAURAND, ALFREDO O   7912 NORTHWEST 77TH PLACE                                                                                         KANSAS CITY        MO 64152‐4226
MOLINA DIANE                 MOLINA, DIANE
MOLINA DORIS TORRES          MOLINA, DORIS TORRES
MOLINA JR, ANGEL P           8098 CASTLEWARD DR                                                                                                DAVISON            MI    48423‐9554
MOLINA JR, ARTURO            1738 SHEHY ST                                                                                                     YOUNGSTOWN         OH    44506‐1649
MOLINA JR, JESUS S           3905 KINGSFERRY CT                                                                                                ARLINGTON          TX    76016‐3624
MOLINA JR, JOSE P            13510 TRAWALTER LN                                                                                                VON ORMY           TX    78073‐2821
MOLINA JR, REYNALDO          1021 MACDONALD AVENUE                                                                                             FLINT              MI    48507‐2882
MOLINA JR., BIENVENIDO       3540 LASALLE AVE                                                                                                  YOUNGSTOWN         OH    44502‐3131
MOLINA LOUIS (491242)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD         OH    44067
                                                             PROFESSIONAL BLDG
MOLINA LUIS                  MOLINA, LUIS                    PO BOX 100 PMB 2510                                                               TRUJILLO ALTO      PR    00977
MOLINA MARILYN               2723 SANDPEBBLE DRIVE                                                                                             SEABROOK           TX    77586‐1563
MOLINA MARIO                 MOLINA, MARIO                   STATE FARM                      PO BOX 9613                                       WINTER HAVEN       FL    33883‐9613
MOLINA OSCAR                 MOLINA, OSCAR                   MCCOY TURNAGE & ROBERTSON       16496 BERNARDO CENTER                             SAN DIEGO          CA    92128
                                                                                             DRIVE SUITE 101
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Name                      Address1                            Address2                      Address3   Address4         City             State Zip
MOLINA OSCAR              LOPEZ MOLINA, NORMAL                16496 BERNARDO CENTER DRIVE                               SAN DIEGO         CA 92128
                                                              SUITE 101
MOLINA SR, JOSEPH T       4041 GRANGE HALL RD LOT 92                                                                    HOLLY            MI   48442‐1922
MOLINA YADIRA             MOLINA, YADIRA                      2070 N TUSTIN AVE                                         SANTA ANA        CA   92705‐7827
MOLINA, ALEJANDRO         7206 SEMINOLE DR                                                                              DARIEN           IL   60561‐4121
MOLINA, ANN Y             G‐8164 CORUNNA RD                                                                             FLINT            MI   48532
MOLINA, ANTONIA P         1628 NEBRASKA AVE                                                                             FLINT            MI   48506‐3508
MOLINA, ANTONIO           307 RHINEFORTE DR                                                                             CHURCHVILLE      MD   21028‐1521
MOLINA, BALDEMAR          1300 GREENFIELD AVE                                                                           PALMVIEW         TX   78572‐9661
MOLINA, BLASINO           733 MAPLEWOOD AVE                                                                             SHEFFIELD LAKE   OH   44054‐1322
MOLINA, BYTHELIA D        1300 GREENFIELD AVE                                                                           PALMVIEW         TX   78572‐9661
MOLINA, CARLOS            PO BOX 447                                                                                    MOCA             PR   00676‐0447
MOLINA, CLIFFTON
MOLINA, CONSUELO          51 WELLES TER                                                                                 MERIDEN          CT   06450‐4358
MOLINA, CONSUELO P        451 MADDUX STREET                                                                             SAN ANTONIO      TX   78227‐3114
MOLINA, DASHA L           307 RHINEFORTE DR                                                                             CHURCHVILLE      MD   21028‐1521
MOLINA, DOMINGO           6849 N KREPPS RD                                                                              ELSIE            MI   48831‐9745
MOLINA, DONNA             814 E KEARSLEY ST APT 116                                                                     FLINT            MI   48503‐1957
MOLINA, DONNA             814 EAST KEARSLEY ST                APT 116                                                   FLINT            MI   48503
MOLINA, DOROTEA C         1306 W KURTZ AVE                                                                              FLINT            MI   48505‐1210
MOLINA, EDWIN             68 THERESA ST                                                                                 EWING            NJ   08618‐1531
MOLINA, ELMA              8811 CANOGA AVE SPC 325                                                                       CANOGA PARK      CA   91304‐1506
MOLINA, ELMA              8811 CANOGA AVE.                    SPACE # 325                                               CANOGA PARK      CA   91304‐1506
MOLINA, ELYSA
MOLINA, FRANCISCO
MOLINA, FRANK             563 MELROSE LN                                                                                MOUNT MORRIS     MI   48458‐8926
MOLINA, GARY L            5350 SUNNYSIDE DR                                                                             CLARKSTON        MI   48346‐3961
MOLINA, GREGORIA MORIN    304 E DREXEL AVE                                                                              SAN ANTONIO      TX   78210‐3003
MOLINA, JANICE L          3085 N GENESEE RD APT 316                                                                     FLINT            MI   48506‐2194
MOLINA, JERRY L           3670 WHITFIELD DR                                                                             WATERFORD        MI   48329‐1163
MOLINA, JOHN M            6035 MANKER ST                                                                                INDIANAPOLIS     IN   45227‐2161
MOLINA, JOSE A            MCCURDY & MCCURDY LLP               44 MONTGOMERY ST STE 800                                  SAN FRANCISCO    CA   94104‐4620
MOLINA, JOSE H            3470 W GRAND LEDGE HWY                                                                        MULLIKEN         MI   48861‐8707
MOLINA, JOSEFINA          PO BOX 11252                                                                                  GLENDALE         AZ   85318‐1252
MOLINA, JOSEPHINE         13510 TRAWALTER LN                                                                            VON ORMY         TX   78073‐2821
MOLINA, JUAN CARLOS
MOLINA, JULIO A           8277 DEL HAVEN RD                                                                             BALTIMORE        MD   21222‐3401
MOLINA, JULIO H           35840 OCTOPUS LN                                                                              WILDOMAR         CA   92595‐8095
MOLINA, JULIO HERNANDEZ   35840 OCTOPUS LN                                                                              WILDOMAR         CA   92595‐8095
MOLINA, LEONCIO G         15 COLLEGE AVE                                                                                SLEEPY HOLLOW    NY   10591
MOLINA, LEONEL            1957 HALL ST                                                                                  HOLT             MI   48842‐1708
MOLINA, LUIS              PO BOX 100 PMB 2510                                                                           TRUJILLO ALTO    PR   00977‐0100
MOLINA, LUIS H            4911 N NEWLAND AVE                                                                            CHICAGO          IL   60656‐3919
MOLINA, MARCELLO M        2604 BERTHA AVE                                                                               FLINT            MI   48504‐2306
MOLINA, MARGARET A        3983 S PITKIN WAY                                                                             AURORA           CO   80013‐3253
MOLINA, MARGARITA         3517 AUGUSTA ST                                                                               FLINT            MI   48503‐6702
MOLINA, MARIA E           583 6TH ST                                                                                    CAMPBELL         OH   44405‐1139
MOLINA, MARIO             STATE FARM                          PO BOX 9613                                               WINTER HAVEN     FL   33883‐9613
MOLINA, MARIO
MOLINA, MARTA
MOLINA, MARY S            248 LUDLOW ST                                                                                 PORTLAND         ME 04102
MOLINA, MAURICIO P        3161 TRISTIAN AVE                                                                             SAN JOSE         CA 95127‐1458
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Name                       Address1                          Address2               Address3      Address4                  City                    State Zip
MOLINA, MICHELLE P         91‐2190 KANELA ST M‐124                                                                          EWA BEACH                HI 96706
MOLINA, MOISES L           39 IRVEN ST                                                                                      EWING                    NJ 08638‐2717
MOLINA, NORBERTO           264 PARKGATE AVE                                                                                 AUSTINTOWN               OH 44515‐3240
MOLINA, OCTAVIANO          PO BOX 6415                                                                                      BROWNSVILLE              TX 78523‐6415
MOLINA, OCTAVIANO          1638 DAVISON RD                                                                                  FLINT                    MI 48506
MOLINA, ORLANDO            DEARIE & ASSOCS JOHN C            3265 JOHNSON AVE                                               RIVERDALE                NY 10463
MOLINA, OSWALD E           2 MICHELANGELO                                                                                   ALISO VIEJO              CA 92656‐4100
MOLINA, PAULA
MOLINA, PENNY S            70 WEST YPSILANTI AVENUE                                                                         PONTIAC                 MI 48340
MOLINA, PENNY S            70 W YPSILANTI AVE                                                                               PONTIAC                 MI 48340‐1871
MOLINA, PERCIVAL
MOLINA, RAFAEL             5099 CRANBERRY DR                                                                                MINERAL RIDGE           OH   44440‐9441
MOLINA, RAMON              1021 AVENUE A                                                                                    FLINT                   MI   48503‐1401
MOLINA, RAQUEL             7500 N 20TH ST                                                                                   MCALLEN                 TX   78504‐5645
MOLINA, RAUL               102 COUNTY ROAD 479                                                                              CASTROVILLE             TX   78009‐5606
MOLINA, REYNALDO           646 BELFAST FARMINGTON RD                                                                        BELFAST                 TN   37019‐2018
MOLINA, ROBERT             3133 GLENWOOD AVE                                                                                SAGINAW                 MI   48601‐4441
MOLINA, ROBERTO            9315 MILLWRIGHT CIR                                                                              CLIO                    MI   48420‐9732
MOLINA, SANDRA
MOLINA, SUSAN L            446 COITSVILLE RD                                                                                CAMPBELL                OH 44405‐1160
MOLINA, VALDEMAR G         2301 LEVERN ST                                                                                   FLINT                   MI 48506‐3443
MOLINA, VERONICA           8401 HALLMARK CIR                                                                                BALTIMORE               MD 21234‐4821
MOLINAR JOHN JR (426033)   SIMMONS LAW FIRM
MOLINAR, ELISA             101 WEST MAYBERRY AVENUE                                                                         HEMET                   CA   92543‐5975
MOLINAR, EVELYN            14372 LOYOLA ST                                                                                  MOORPARK                CA   93021‐1313
MOLINAR, JOHN              SIMMONS LAW FIRM                  PO BOX 521                                                     EAST ALTON              IL   62024‐0519
MOLINARI , MARCO           PO BOX 9022                       MEXICO CITY                                                    WARREN                  MI   48090‐9022
MOLINARI, ACHILLE F        14250 TAYLOR RD                                                                                  MILLINGTON              MI   48746‐9202
MOLINARI, ANGELA M         CASTRO DEI VOLSCI                 VIA FLAGELLANO NO 47                 03020 FROSI ITALY
MOLINARI, GAYTRA           14250 TAYLOR RD                                                                                  MILLINGTON              MI   48746‐9202
MOLINARI, MARCO C          PO BOX 9022                       MEXICO CITY                                                    WARREN                  MI   48090‐9022
MOLINARI, MARGARET D       3233 S UTAH ST                                                                                   ARLINGTON               VA   22206‐1907
MOLINARI, MARIO L          5118 CALLA AVE NW                                                                                WARREN                  OH   44483‐1220
MOLINARO, ANTHONY D        1153 N OLD MILL RD                                                                               PALATINE                IL   60067‐2771
MOLINARO, ANTHONY P        6392 JENNIFER DR                                                                                 LOCKPORT                NY   14094
MOLINARO, CONCETTA R       3633 GARFIELD ROAD                APT 230                                                        CLINTON TOWNSHIP        MI   48035
MOLINARO, DENISE L         16116 VIBERG RD                                                                                  LEO                     IN   46765
MOLINARO, FRANCESCO        3927 NOWAK DR                                                                                    STERLING HTS            MI   48310‐5326
MOLINARO, LOUIS            92 SALEM RD                                                                                      POUND RIDGE             NY   10576‐1503
MOLINARO, MARK C           16116 VIBERG RD                                                                                  LEO                     IN   46765
MOLINARO, MICHAEL R        6407 ERNA DR                                                                                     LOCKPORT                NY   14094‐6525
MOLINATTO, BETTY M         351 CLEVELAND AVE. EAST                                                                          WARREN                  OH   44483‐1904
MOLINATTO, JOHN J          113 WILLOW DR                                                                                    MONESSEN                PA   15062‐2441
MOLINE, DON A              80676 TURKEY RUN RD                                                                              CRESWELL                OR   97426‐9389
MOLINE, DONALD W           PO BOX 22                                                                                        HOUGHTON LAKE HEIGHTS   MI   48630‐0022

MOLINE, HILDING G          44120 1/2 N 200 ST E                                                                             LANCASTER               CA   93535
MOLINE, RONALD W           1514 SUNCRIST ST                                                                                 MIDLAND                 MI   48640‐4808
MOLINEUX, FRANCIS X        PO BOX 173                                                                                       ELBA                    NY   14058‐0173
MOLINI, RICHARD S          8781 RADBURN DR                                                                                  BALDWINSVILLE           NY   13027‐1519
MOLINICH, DONALD L         8022 BERTHA AVE                                                                                  PARMA                   OH   44129‐3114
MOLINO, BARBARA J          1646 EVERETT AVE                                                                                 YOUNGSTOWN              OH   44514‐1018
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Name                         Address1                        Address2                        Address3   Address4         City               State Zip
MOLINO, DANIEL               1675 PADDY LN                                                                               ONTARIO             NY 14519
MOLINSKI, CAROLE             534 WINSLOW GRAY RD APT 20                                                                  SOUTH YARMOUTH      MA 02664
MOLIQUE, LEWIS J             111 BLUFF ST                                                                                BELOIT              WI 53511‐6131
MOLIS JR, ANTHONY G          7700 92ND ST SE                                                                             CALEDONIA           MI 49316‐9593
MOLIS, ROBERT C              105 SUNSHINE LN UNIT B                                                                      WINTERVILLE         NC 28590‐8647
MOLISANI, EMMA M             1027 ELM ST                                                                                 MEDINA              NY 14103‐1709
MOLISANI, PATRICIA A         6281 AUTUMNVIEW STA                                                                         NEWFANE             NY 14108‐9789
MOLISANI, RICHARD C          65 SEAFARERS LN                                                                             ROCHESTER           NY 14612‐2945
MOLISH II, MICHAEL           1826 WINDING RIDGE AVE                                                                      INDIANAPOLIS        IN 46217‐4676
MOLISON, LILLIAN             55 STEINER AVE                                                                              TONAWANDA           NY 14150‐3938
MOLISON, LILLIAN             6139 MEADOW LANE                                                                            LOCKPORT            NY 14094‐6301
MOLISSO, ENDORA C            118 DARTMOUTH TRL                                                                           HOPATCONG           NJ 07843‐1153
MOLISZEWSKI, DENNIS L        3627 BERKELEY DR                                                                            TOLEDO              OH 43612‐1224
MOLISZEWSKI, DENNIS LEE      3627 BERKELEY DR                                                                            TOLEDO              OH 43612‐1224
MOLISZEWSKI, LEO R           140 GRADOLPH ST                                                                             TOLEDO              OH 43612‐1463
MOLITERNI, ROSE O            8 WASHINGTON AVE                                                                            ISELIN              NJ 08830‐2224
MOLITERNI, SAMUEL S          8 WASHINGTON AVE                                                                            ISELIN              NJ 08830‐2224
MOLITERNO, BENEDICT F        5487 N BELSAY RD                                                                            FLINT               MI 48506‐1251
MOLITERNO, BETTY J           10420 LANGE RD                                                                              BIRCH RUN           MI 48415‐9797
MOLITERNO, DEAN K            10365 BLOCK RD                                                                              BIRCH RUN           MI 48415‐9789
MOLITERNO, DENNIS J          13286 WHITE LAKE RD                                                                         FENTON              MI 48430‐8426
MOLITERNO, DENNIS JAY        2500 HOGAN CIR                                                                              FENTON              MI 48430‐3457
MOLITOR, BRETT A             862 N JEFFERSON ST                                                                          HUNTINGTON          IN 46750‐2105
MOLITOR, CHAD D              1558 MUER DR                                                                                TROY                MI 48084‐1558
MOLITOR, DENISE C            9258 HOUGHTON STREET                                                                        LIVONIA             MI 48150‐5405
MOLITOR, FRANCIS G           146 LAKE HARWINTON RD                                                                       HARWINTON           CT 06791‐1207
MOLITOR, H R                 1978 S 9 MILE RD                                                                            MIDLAND             MI 48640‐7702
MOLITOR, MARK A              6161 DYE RD                                                                                 AKRON               NY 14001‐9748
MOLITOR, MARK A.             6161 DYE RD                                                                                 AKRON               NY 14001‐9748
MOLITOR, MATTHEW L           1917 N PRESIDENT ST                                                                         WHEATON              IL 60187‐3328
MOLITOR, RICHARD D           2463 W SAGINAW HWY                                                                          MULLIKEN            MI 48861‐9632
MOLITOR, RICHARD J           1195 KENT CT                                                                                WHEATON              IL 60189‐8506
MOLITOR, ROBERT F            1632 LAKE KNOLL DR                                                                          LAKE SAINT LOUIS    MO 63367‐2065
MOLITOR, RUSSELL D           PO BOX 705                                                                                  LAKE CITY           MI 49651‐0705
MOLITOR‐DYCUS, JOYCE A       14500 S ANDERSON RD                                                                         OKLAHOMA CITY       OK 73165‐6911
MOLITORIS RAYMOND J          MOLITORIS, RAYMOND J            30 E BUTLER AVE                                             AMBLER              PA 19002‐4514
MOLKENBUHR ENTERPRISES INC   1395 N DUTTON AVE                                                                           SANTA ROSA          CA 95401‐4631
MOLL DANIEL LEE (464220)     KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                             BOND COURT BUILDING
MOLL GORDON                  314 N HIGHLAND AVE APT 319                                                                  PLYMOUTH           WI   53073‐2000
MOLL JR, RALPH H             4780 BUSCH RD                                                                               BIRCH RUN          MI   48415‐8785
MOLL SR, LAWRENCE H          1930 CHENEY ST                                                                              SAGINAW            MI   48601‐4638
MOLL, ALBERT C               32615 REDWOOD BLAV                                                                          AVON LAKE          OH   44012
MOLL, ALFRED                 PO BOX 714                                                                                  TONOPAH            AZ   85354‐0714
MOLL, ALICE E                90 EVANS ST                                                                                 LOCKPORT           NY   14094‐4626
MOLL, ARNOLD M               7244 TOWNLINE RD                                                                            N TONAWANDA        NY   14120‐1347
MOLL, BARRY G                50601 LAGAE ST                                                                              NEW BALTIMORE      MI   48047‐4235
MOLL, CLAYTON N              5775 N GRAHAM RD                                                                            FREELAND           MI   48623‐9236
MOLL, COLETTE B              7923 KEDVALE AVE                                                                            SKOKIE             IL   60076‐3550
MOLL, CURTIS V               150 HERITAGE LN                                                                             CORTLAND           OH   44410‐1116
MOLL, DANIEL LEE             KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                CLEVELAND          OH   44114
                                                             BOND COURT BUILDING
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Name                            Address1                          Address2            Address3      Address4         City               State Zip
MOLL, DAVID E                   4385 CONCORD ST                                                                      SAGINAW             MI 48603‐2014
MOLL, DONN A                    1330 BRADBURY DR                                                                     TROY                MI 48098‐6312
MOLL, EDWARD J                  2210 SHATTUCK RD                                                                     SAGINAW             MI 48603‐3334
MOLL, FILOMENA                  901 BLANKENBAKER PKWY UNIT 1119                                                      LOUISVILLE          KY 40243‐1886
MOLL, FILOMENA                  901 N BLANKENBAKER PARKWAY        APT# 1119                                          LOUISVILLE          KY 40243
MOLL, GERALD R                  14562 W MORNING STAR TRL                                                             SURPRISE            AZ 85374‐3587
MOLL, GORDON H                  1308 MORAY CT                                                                        LEESBURG            FL 34788‐7643
MOLL, JAMES W                   3855 MOUNTAIN DR                                                                     BROOKFIELD          WI 53045‐1411
MOLL, JEROME C                  219 CLARENCE DR                                                                      RED BUD              IL 62278‐1408
MOLL, JOAN M                    5775 N GRAHAM RD                                                                     FREELAND            MI 48623‐9236
MOLL, JOHN L                    3828 FIRESIDE LN                                                                     FREELAND            MI 48623
MOLL, JOHN W                    4685 OTTAWA CT                                                                       CLARKSTON           MI 48348‐2274
MOLL, JOSEPH A                  2325 COUNTY LINE RD                                                                  BARKER              NY 14012‐9503
MOLL, JOSEPH T                  3308 PAGELAND CT                                                                     LAS VEGAS           NV 89135‐2827
MOLL, JULIA L                   7225 LAKESIDE WOODS DR                                                               INDIANAPOLIS        IN 46278‐1660
MOLL, KENNETH R                 4407 SHERIDAN RD                                                                     SAGINAW             MI 48601‐5729
MOLL, LAWRENCE H                4890 KING RD                                                                         SAGINAW             MI 48601‐7142
MOLL, LOU ETTA                  45615 HECKER DRIVE                                                                   UTICA               MI 48317‐5754
MOLL, LOUISE                    2908 TERRI LANE                                                                      JOPLIN              MO 64804‐3154
MOLL, MANFRED H                 25135 COLLINGWOOD ST                                                                 ROSEVILLE           MI 48066‐3958
MOLL, MARK A                    4047 MOHAWK TRL                                                                      ADRIAN              MI 49221‐9393
MOLL, NICKLOS H                 1110 DONALD AVE                                                                      ROYAL OAK           MI 48073‐2023
MOLL, RALPH A                   90 EVANS STREET                                                                      LOCKPORT            NY 14094‐4626
MOLL, RICHARD J                 4681 OTTAWA CT                                                                       CLARKSTON           MI 48348‐2274
MOLL, ROBERT F                  9213 N ROCKNE RD                                                                     SCOTTSDALE          AZ 85258‐5797
MOLL, ROGER C                   116 ORCHID ST                                                                        TAVERNIER           FL 33070‐2416
MOLL, RUTH T                    7350 ROYAL OAKLAND DRIVE                                                             INDIANAPOLIS        IN 46236‐8410
MOLL, SHEILA C                  G‐5097 BERNEDA DRIVE                                                                 FLINT               MI 48506
MOLL, STEVEN J                  9031 NORTH DALTON AVENUE                                                             KANSAS CITY         MO 64154‐1915
MOLL, STEVEN JOHN               9031 NORTH DALTON AVENUE                                                             KANSAS CITY         MO 64154‐1915
MOLL, THOMAS A                  7225 LAKESIDE WOODS DR                                                               INDIANAPOLIS        IN 46278‐1660
MOLL, THOMAS W                  3713 KENSINGTON DR                                                                   ROYAL OAK           MI 48073‐6437
MOLL, TIMOTHY J                 1716 RALVAN DR                                                                       DEFIANCE            OH 43512‐3237
MOLL, WILLIAM G                 PO BOX 771                                                                           BELLINGHAM          MA 02019‐0771
MOLL, WILLIAM H                 5259 LANNOO ST                                                                       DETROIT             MI 48236‐2137
MOLL,RICHARD J                  4681 OTTAWA CT                                                                       CLARKSTON           MI 48348‐2274
MOLLAHAN, KAREN R               892 TARTAN TRL                                                                       BLOOMFIELD HILLS    MI 48304‐3818
MOLLARD, TRICIA D               185 LAKE PINES DR                                                                    BRIGHTON            MI 48114‐7649
MOLLAY, CLARENCE B              6021 VIENNA WAY                                                                      LANSING             MI 48917‐5004
MOLLAY, JANET L                 6021 VIENNA WAY                                                                      LANSING             MI 48917‐5004
MOLLE CHEVROLET, INC.           411 NW MOCK AVE                                                                      BLUE SPRINGS        MO 64014‐2512
MOLLE CHEVROLET, INC.           FRANK MOLLE                       411 NW MOCK AVE                                    BLUE SPRINGS        MO 64014‐2512
MOLLE M.C. AUTOMOTIVE, INC.     JOHN MOLLE                        1015 N HIGHWAY 69                                  FRONTENAC           KS 66763‐8100
MOLLE M.C. OF PITTSBURG, INC.   JOHN MOLLE                        1015 N HIGHWAY 69                                  FRONTENAC           KS 66763‐8100
MOLLE M.C. OF PITTSBURG, INC.   PO BOX 1109                                                                          PITTSBURG           KS 66762‐1109
MOLLE, MARA J                   4315 N 112TH ST                                                                      KANSAS CITY         KS 66109‐4705
MOLLEDA, CIRILO                 3261 GERTRUDE ST                                                                     DEARBORN            MI 48124‐3719
MOLLEDA, SANDRA                 2509 SW 63RD ST                                                                      OKLAHOMA CITY       OK 73159‐1713
MOLLEMA EDWARD                  4200 ANGELS PASS                                                                     PINCKNEY            MI 48169‐9005
MOLLEMA JR, EDWARD C            4200 ANGELS PASS                                                                     PINCKNEY            MI 48169‐9005
MOLLEMA MATTHEW                 MOLLEMA, MATTHEW                  4107 N RICH RD                                     ALMA                MI 48801‐9568
MOLLEMA, JANET R                4200 ANGELS PASS                                                                     PINCKNEY            MI 48169‐9005
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Name                                  Address1                              Address2                        Address3   Address4         City                State Zip
MOLLENAUER, ELMER E                   4695 BOND AVE NW                                                                                  WARREN               OH 44483‐1722
MOLLENCOPF, MARJORIE M                14638 E YELLOW SAGE LN                                                                            VAIL                 AZ 85641‐2597
MOLLENCOPF, ROGER E                   14638 E YELLOW SAGE LN                                                                            VAIL                 AZ 85641‐2597
MOLLENHOFF, ANDREW N                  1644 LANCASHIRE COURT                                                                             BEDFORD              TX 76021‐4632
MOLLENKOPF, CHERYL L                  4755 W LINCOLN RD                                                                                 ANDERSON             IN 46011‐1417
MOLLENKOPF, JIMMIE J                  8842 W FALL CREEK DR                                                                              PENDLETON            IN 46064‐9746
MOLLENKOPF, NORMAN G                  1500 LAKEVIEW CURVE                                                                               SAINT PAUL           MN 55122‐1391
MOLLER WILLIAM                        5470 S NEWPORT CIR                                                                                GREENWOOD VILLAGE    CO 80111‐1601
MOLLER, AMOS                          3009 PEBBLE CREEK STREET                                                                          MELBOURNE            FL 32935‐7161
MOLLER, CARRIE L                      1497 MEREDITH DR                                                                                  CINCINNATI           OH 45231‐3238
MOLLER, CHARLES R                     2265 E PORTLAND AVE                                                                               FRESNO               CA 93720‐0455
MOLLER, DANIEL L                      PO BOX 1115                                                                                       LEWISTON             MI 49756‐1115
MOLLER, MELISSA
MOLLER, RICHARD R                     970 PINE TREE RD W                                                                                LAKE ORION          MI 48362‐2564
MOLLER, RICHARD W                     14042 IROQUOIS WOODS DR                                                                           FENTON              MI 48430‐1685
MOLLER, VANESSA
MOLLERTECH                             13877 TERESA DR                                                                                  SHELBY TWP          MI   48315‐2929
MOLLERTECH LLC                         DOUG BAENZINGER                       13877 TERESA DRIVE                                         BELLEVILLE          MI   48111
MOLLERTECH LLC                         13877 TERESA DRIVE                                                                               SHELBY TWP.         MI   48315
MOLLERTECH LLC                         ATTN: CORPORATE OFFICER/AUTHORIZED 13877 TERESA DR                                               SHELBY TOWNSHIP     MI   48315‐2929
                                       AGENT
MOLLET, AUDREY L                       6233 W BEHREND DR #1025                                                                          GLENDALE            AZ   85308‐6922
MOLLET, CAROLYN R                      903 E 31ST ST                                                                                    ANDERSON            IN   46016‐5423
MOLLET, E M                            1632 MAPLE ST                                                                                    GRANITE CITY        IL   62040‐3127
MOLLET, LINDA K.                       3145 W 18TH ST                                                                                   ANDERSON            IN   46011‐3972
MOLLET, LINDA K.                       3145 WEST 18TH ST                                                                                ANDERSON            IN   46011‐3972
MOLLET, ROBERT S                       705 VISTA DR                                                                                     OOLITIC             IN   47451
MOLLET, ROBERT W                       719 W MAIN ST                                                                                    WESTVILLE           IL   61883‐1505
MOLLETT JERRY HAM (ESTATE OF) (439762) GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                 SAGINAW             MI   48604‐2602
                                                                             260
MOLLETT, CLYDE                         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH          PA 15219

MOLLETT, JERRY HAM                    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                  SAGINAW             MI 48604‐2602
                                                                          260
MOLLETT, MARK E                       APT 234                             1710 HARFIELD DRIVE                                           INDIANAPOLIS        IN   46260‐2625
MOLLETT, RUBY M                       RR 1 BOX 105                                                                                      KERMIT              WV   25674‐9706
MOLLETTE, BERYLE D                    3225 S ADAMS RD                                                                                   ROCHESTER HLS       MI   48309‐3903
MOLLEWOOD/WARREN                      24101 HOOVER RD                                                                                   WARREN              MI   48089‐1975
MOLLHAGEN, MARY K                     45 SAWMILL CREEK TRL                                                                              SAGINAW             MI   48603‐8626
MOLLICA & MURRAY                      1305 GRANDVIEW AVE                                                                                PITTSBURGH          PA   15211‐1205
MOLLICA JR, RICHARD J                 218 CLARE BLVD                                                                                    ROSCOMMON           MI   48653‐8262
MOLLICA TINDARA                       MOLLICA, TINDARA                    4768 PARK GRANADA STE 212                                     CALABASAS           CA   91302‐3349
MOLLICA, DENNIS D                     260 AVALON DR SE                                                                                  WARREN              OH   44484‐2149
MOLLICA, JOHN A                       906 WAGON TRAIN DRIVE                                                                             HENDERSON           NV   89002‐9504
MOLLICA, PATRICIA C                   260 AVALON DR SE                                                                                  WARREN              OH   44484‐2149
MOLLICA, RONALD R                     9919 PINE PASS DR                                                                                 HOUSTON             TX   77070‐5451
MOLLICA, TINDARA                      LAW OFFICE OF STARR ROBERT L        4768 PARK GRANADA STE 212                                     CALABASAS           CA   91302‐3349
MOLLICE, BOBBIE L                     520 ANDERSON CTY RD 414                                                                           PALESTINE           TX   75803
MOLLICK, HELEN S                      2018 STATE ROUTE 30                                                                               LIGONIER            PA   15658‐1172
MOLLIE A LINDSEY                      406 CAPRICORN DR                                                                                  GRANBURY            TX   76049‐1401
MOLLIE A LITTLE                       3732 BRIAR PL                                                                                     DAYTON              OH   45405
MOLLIE ALTMAN                         1809 N CHARLES ST                                                                                 BELLEVILLE          IL   62221‐4025
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Name                        Address1                            Address2                        Address3   Address4                City            State Zip
MOLLIE ATKINS               614 ROCK ST SE                                                                                         HARTSELLE        AL 35640‐3346
MOLLIE AUVENSHINE           4400 HOLT RD APT 220                                                                                   HOLT             MI 48842‐6600
MOLLIE B JACQUES            3701 SELLARS RD.                                                                                       MORAINE          OH 45439
MOLLIE B MCCARTNEY          2318 KOEHLER AVE                                                                                       DAYTON           OH 45414‐‐ 46
MOLLIE BARNETT              3106 KIRK RD NW                                                                                        MONROE           GA 30656‐3988
MOLLIE BEIER                5139 SE MILES GRANT TER                                                                                STUART           FL 34997‐1853
MOLLIE BERT                 4502 ELI DR APT E                                                                                      OWINGS MILLS     MD 21117‐3796
MOLLIE BINION ‐ ETTER       1817 STATE ROUTE 83 UNIT 422                                                                           MILLERSBURG      OH 44654
MOLLIE BROWNE               16603 E MILLER SARDIS RD                                                                               BAUXITE          AR 72011‐9795
MOLLIE C MICHAELS           38 TALL TREE DRIVE                                                                                     PENFIELD         NY 14526‐9521
MOLLIE COOK                 4392 N BEND RD                                                                                         CINCINNATI       OH 45211‐2633
MOLLIE D'SPAIN              PO BOX 87                                                                                              UTOPIA           TX 78884‐0087
MOLLIE DAVIS                12817 DIAMOND DR                                                                                       PINEVILLE        NC 28134‐9367
MOLLIE DAVIS                1300 ELECTRIC AVE APT 226                                                                              LINCOLN PARK     MI 48146‐5819
MOLLIE EVANS                PO BOX 80574                                                                                           LANSING          MI 48908‐0574
MOLLIE FERRERI              20622 DUNHAM RD                                                                                        CLINTON TWP      MI 48038‐4452
MOLLIE FINDLEY              4460 CARMANWOOD DR                                                                                     FLINT            MI 48507‐5653
MOLLIE FINK                 4113 FAREDALE LN                                                                                       SAINT CHARLES    MO 63304‐7431
MOLLIE HAIRSTON             768 CARTON ST                                                                                          FLINT            MI 48505‐3915
MOLLIE HEMBRUCH             G2463 NERREDIA ST                                                                                      FLINT            MI 48532
MOLLIE IVEY                 13334 MESA VIEW DR                                                                                     VICTORVILLE      CA 92392‐0438
MOLLIE J MATTHEWS           691 WOODCLIFF RD                                                                                       MONTEREY         TN 38574‐1374
MOLLIE JACQUES              3701 SELLARS RD                                                                                        MORAINE          OH 45439‐1234
MOLLIE KALE                 766 E BUNDY AVE                                                                                        FLINT            MI 48505‐2229
MOLLIE LINDSEY WILSON       406 CAPRICORN DR                                                                                       GRANBURY         TX 76049‐1401
MOLLIE M BRIGHT             3433 STINGLEY RD                                                                                       GREENVILLE       OH 45331‐9569
MOLLIE MATTHEWS             691 WOODCLIFF RD                                                                                       MONTEREY         TN 38574‐1374
MOLLIE MICHAELS             38 TALL TREE DR                                                                                        PENFIELD         NY 14526‐9521
MOLLIE MOORE                1346 SWAN POND CIRCLE RD                                                                               HARRIMAN         TN 37748‐5107
MOLLIE NEAL                 736 CARLYSLE ST                                                                                        AKRON            OH 44310‐2930
MOLLIE OSEGUERA             335 NORTH DR                                                                                           DAVISON          MI 48423‐1628
MOLLIE PARKS                17357 MARK TWAIN ST                                                                                    DETROIT          MI 48235‐3911
MOLLIE PRATT                PO BOX 970595                                                                                          YPSILANTI        MI 48197‐0810
MOLLIE REVERE               317 WALTON AVE                                                                                         DAYTON           OH 45417‐1669
MOLLIE RICE                 2550 WEBB AVE APT 4I                                                                                   BRONX            NY 10468‐3936
MOLLIE S HOUSE              C/O THOMAS C KNOWLES, VAN BLOIS &   7677 OAKPORT STREET SUITE 565                                      OAKLAND          CA 94621
                            ASSOCIATES
MOLLIE SAVAGE               157 MCCARTY RD                                                                                         LA FOLLETTE     TN   37766‐7308
MOLLIE SHORT                355 MILLARD DR                                                                                         FRANKLIN        OH   45005‐2075
MOLLIE SMITH                5415 PINE KNOB LN                                                                                      CLARKSTON       MI   48346‐4080
MOLLIE SOULE                620 VAUGHN'S GAP ROAD                                                                                  SPRING HILL     TN   37174
MOLLIE STARR                RR 1 BOX 1435                                                                                          STILWELL        OK   74960‐9795
MOLLIE STOUT                2909 HIGHWAY 107                                                                                       CHUCKEY         TN   37641‐2332
MOLLIE VALENTI              77 ORLAND RD                                                                                           ROCHESTER       NY   14622
MOLLIE WILLIAMS             472 MEATSCAFFLE RD                                                                                     NOCTOR          KY   41339
MOLLIFICIO S AMBROGIO SPA   BRUEHLSTR 38                                                                   SALACH BW 73084
                                                                                                           GERMANY
MOLLIS, GEORGE              3503 JONES RD                                                                                          DIAMOND         OH   44412‐8738
MOLLIS, JULIE A             2838 COBLENTZ DR                                                                                       POLAND          OH   44514‐2407
MOLLIS, ROBERTA J           1408 YOULL ST                                                                                          NILES           OH   44446‐3836
MOLLMANN, PAUL G            3678 PARAMOUNT RIDGE LN                                                                                CINCINNATI      OH   45247‐6061
MOLLNER, STEPHEN E          355 3RD AVE W                                                                                          MADISON         WV   25130
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Name                            Address1                         Address2            Address3         Address4              City                   State Zip
MOLLO ANGELA PAUTASSO LORENZO   VIA VALLE 91                                                          SANFRE 12040 ITALY
MOLLO, ANTHONY J                3940 WINSLOW DR                                                                             AUBURN HILLS           MI    48326‐1890
MOLLO, JAMES A                  8226 CRESTVIEW DR                                                                           GREENVILLE             MI    48838‐8162
MOLLOHAN, STELLA S              3 NORMANDY DR                                                                               SILVER SPRINGS         MD    20901‐3030
MOLLOHAN, TERRY B               8009 BANK ST                                                                                BALTIMORE              MD    21224‐2124
MOLLOHAN, THURMAN C             357 CAROL LN                                                                                ELYRIA                 OH    44035‐8837
MOLLOSEAU, AGNES MARIE          9242 MAPLEWOOD DR                                                                           CLIO                   MI    48420‐9765
MOLLOSEAU, BERTRAND N           3320 WENTWORTH DR                                                                           FLINT                  MI    48506‐1059
MOLLOSEAU, BERTRAND NICHOLAS    3320 WENTWORTH DR                                                                           FLINT                  MI    48506‐1059
MOLLOSEAU, BYRON F              3710 CRAIG DR                                                                               FLINT                  MI    48506‐2674
MOLLOSEAU, BYRON H              3710 CRAIG DR                                                                               FLINT                  MI    48506‐2674
MOLLOSEAU, CHARLES F            8282 E COLDWATER RD                                                                         DAVISON                MI    48423‐8965
MOLLOSEAU, GARY R               11310 SW FAIRFIELD ST                                                                       BEAVERTON              OR    97005‐1511
MOLLOSEAU, GARY RAY             11310 SW FAIRFIELD ST                                                                       BEAVERTON              OR    97005‐1511
MOLLOSEAU, LEROY E              2210 LANDMARK DR                                                                            LAPEER                 MI    48446‐9022
MOLLOSEAU, MATTHEW J            1133 BRABBS ST                                                                              BURTON                 MI    48509‐1919
MOLLOY COLLEGE                  1000 HEMPSTEAD                                                                              ROCKVILLE CENTRE       NY    11570
MOLLOY JONES & DONAHUE PC       PO BOX 2268                                                                                 TUCSON                 AZ    85702‐2268
MOLLOY JR, JAMES P              20944 7TH AVE W                  CUDJOE GARDENS                                             CUDJOE KEY             FL    33042‐4015
MOLLOY RICHARD                  14902 PRESTON RD                                                                            DALLAS                 TX    75254
MOLLOY, CAROL                   2207 FOREST CRK                                                                             MCKINNEY               TX    75070‐4327
MOLLOY, CLARE M                 6406 PINEHURST POINTE                                                                       WESTERVILLE            OH    43082‐9736
MOLLOY, DONALD G                36240 GREGORY DR                                                                            STERLING HTS           MI    48312‐2807
MOLLOY, HELEN M                 524 CATALINA ISLES CIR                                                                      VENICE                 FL    34292‐3968
MOLLOY, JEFF ALLEN              5930 E 32ND ST                                                                              TUCSON                 AZ    85711‐6827
MOLLOY, JOHN E                  6410 GOLDEN LEAF CT                                                                         LAKEWOOD RANCH         FL    34202‐1806
MOLLOY, JOHN R                  35132 KESLER CT                                                                             CLINTON TWP            MI    48035‐2367
MOLLOY, JOSEPH M                302 CRESTWOOD AVE                                                                           TUCKAHOE               NY    10707‐1323
MOLLOY, JUDITH                  5618 RAHKE RD                                                                               INDIANAPOLIS           IN    46217
MOLLOY, KENNETH A               39422 WILLMARTH ST                                                                          HARRISON TWP           MI    48045‐5721
MOLLOY, MARTIN J                101 PONTIAC RD                                                                              QUINCY                 MA    02169‐2423
MOLLOY, MARY                    23018 LAMBRECHT                                                                             EAST DETROIT           MI    48021‐1865
MOLLOY, MARY D                  793 DUKE PLAZA                                                                              WASHINGTON COURT HOU   OH    43160‐2303

MOLLOY, MARY D                  793 DUKE PLZ                                                                                WASHINGTON COURT       OH 43160‐2303
                                                                                                                            HOUSE
MOLLOY, MORGAN P                10 WHALEN RD                                                                                HOPKINTON              MA    01748‐1710
MOLLOY, PATRICIA A              706 KILDUFF CT                                                                              CHADDS FORD            PA    19317‐9294
MOLLOY, PATRICIA J              25211 FOXCHASE DR                                                                           CHESTERTOWN            MD    21620‐3409
MOLLOY, PAUL J                  28 OAK STREET EXT                                                                           FRANKLIN               MA    02038‐2866
MOLLOY, ROBERT J                405 SOUTH REGESTER STREET                                                                   BALTIMORE              MD    21231‐2426
MOLLOY, ROBERT P                6166 EVERWOOD RD                                                                            TOLEDO                 OH    43613‐1236
MOLLOY, TERENCE A               7919 ENGLEWOOD RD                                                                           INDIANAPOLIS           IN    46240‐2727
MOLLOY, TERENCE ARTHUR          7919 ENGLEWOOD RD                                                                           INDIANAPOLIS           IN    46240‐2727
MOLLOY, THOMAS J                2207 FOREST CRK                                                                             MC KINNEY              TX    75070‐4327
MOLLY BLANTON                   1710 PROVIDENCE DR                                                                          JEFFERSON CTY          MO    65109‐5872
MOLLY A MCKINNEY                1424 PRIMROSE AVE                                                                           TOLEDO                 OH    43612‐4027
MOLLY A UHRICH                  1620 KING ST                                                                                SAGINAW                MI    48602‐1211
MOLLY ARNOLD                    2059 TWINLAKE RD                                                                            MORGANTOWN             IN    46160‐8527
MOLLY BACHTEL                   3289 SHERMAN RD                                                                             MANSFIELD              OH    44903‐7543
MOLLY BARGER                    2316 STATE ROUTE 232                                                                        NEW RICHMOND           OH    45157‐9684
MOLLY BERRY                     15003 FULLER AVE                                                                            GRANDVIEW              MO    64030‐4521
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Name                   Address1                        Address2               Address3     Address4         City               State Zip
MOLLY BROWN            2278 MCCLEW RD                                                                       BURT                NY 14028‐9763
MOLLY CHAMBERS         9628 N BUCKTAIL TRL                                                                  IRONS               MI 49644‐9416
MOLLY CHANCE BAILEY    10922 WHISPER HOLLOW                                                                 SAN ANTONIO         TX 78230
MOLLY DOUGHTY MINERY   2108 WESTWOOD AVE                                                                    SANTA ANA           CA 92706‐1924
MOLLY E ARVAI          6400 HACKWOOD AVE                                                                    WEBSTER             FL 33597
MOLLY E DAVIS          1120 ELDORADO AVE                                                                    KETTERING           OH 45419
MOLLY E KLINE          7084 CLEMENTS                                                                        W BLOOMFIELD        MI 48322
MOLLY FITCH            4424 COUNTY ROAD 4724 S                                                              CUMBY               TX 75433‐4539
MOLLY GEISTER          940 CLEVELAND ST                                                                     BELOIT              WI 53511‐4905
MOLLY HESSLER          3096 HIGH POINTE RIDGE RD                                                            LAKE ORION          MI 48359‐1177
MOLLY HOBBS            230 2ND ST                                                                           TIPTON              IN 46072‐1810
MOLLY HORAN            42061 MARY KAY DR                                                                    CLINTON TWP         MI 48038‐4504
MOLLY HUNT             4007 N BENNINGTON AVE APT 204                                                        KANSAS CITY         MO 64117‐2960
MOLLY J PEARSON        1606 3RD ST                                                                          BAY CITY            MI 48708‐6132
MOLLY J WATTS          7013 EDISON AVE                                                                      SAINT LOUIS         MO 63121
MOLLY J WILLIAMS       3413 GANDOR DRIVE                                                                    JEFFERSONVILLE      IN 47130
MOLLY JAPENGA          25513 MCALLISTER ST                                                                  SOUTHFIELD          MI 48033‐5230
MOLLY K ROBBINS        9392 SAWGRASS DRIVE                                                                  MIAMISBURG          OH 45342
MOLLY KATKO            6219 CARRIAGE TRAIL DR                                                               TROY                MI 48098‐5362
MOLLY KETZLER          11018 PAULDING RD                                                                    NEW HAVEN           IN 46774‐9613
MOLLY L HALL           6854 WEIDNER RD                                                                      FRANKLIN            OH 45005‐‐ 94
MOLLY LANE             4000 FARNER AVE                                                                      WATERFORD           MI 48329‐4214
MOLLY LAUBRICK         9107 APPLE ORCHARD DR                                                                FENTON              MI 48430‐8912
MOLLY LESS             PO BOX 85                                                                            BERLIN CENTER       OH 44401‐0085
MOLLY LORD             322 E ROCKFORD RD                                                                    LANSING             MI 48910‐3116
MOLLY M WHITE          980 MERCER AVE.                                                                      HERMITAGE           PA 16148‐2503
MOLLY MAGUIRE'S        ATTN: JOHN MC PARTLAN           1085 CENTRAL AVE                                     CLARK               NJ 07066‐1113
MOLLY MASON            8759 E MONROE RD                                                                     BRITTON             MI 49229‐9786
MOLLY MEDER            3221 E BALDWIN RD APT 311                                                            GRAND BLANC         MI 48439‐7356
MOLLY MENDIBLES        516 ZACHUM DR                                                                        ARLINGTON           TX 76002‐3027
MOLLY MORGAN           383 AMERICAN FARMS AVE                                                               LATHROP             CA 95330‐8652
MOLLY OLSON            23161 BRITNER CT                                                                     BINGHAM FARMS       MI 48025‐4707
MOLLY PERKINS
MOLLY REISS            178 RUSSELL RD                                                                       KAWKAWLIN          MI   48631‐9190
MOLLY REYNOLDS         PO BOX 90442                                                                         EAST POINT         GA   30364‐0442
MOLLY ROBBINS          9392 SAWGRASS DR                                                                     MIAMISBURG         OH   45342‐6731
MOLLY RODRIGUEZ        8526 RAILROAD RD                                                                     OTTAWA LAKE        MI   49267‐9502
MOLLY ROGERS           11718 OKLAHOMA AVE                                                                   SOUTHGATE          CA   90280
MOLLY SLAMMON          725 SHARON DR                                                                        LADY LAKE          FL   32159‐2470
MOLLY STOR             300 WINSTON DR APT 2511                                                              CUFFSIDE PARK      NJ   07010‐3228
MOLLY SUTTER           47423 PAMELA DR                                                                      MACOMB             MI   48044‐2948
MOLLY SZABO            3181 SOUTH OCEAN DRIVE          APT 103W                                             HALLANDALE BEACH   FL   33009
MOLLY VOGUS            411 DALE AVE                    C/O DIANE M MAZZOCCO                                 WILLARD            OH   44890‐1303
MOLLY WAECHTER         7689 E COUNTY ROAD 150 N                                                             GREENSBURG         IN   47240‐8704
MOLLY WEBBER           7919 MANSFIELD AVE                                                                   BURBANK            IL   60459‐1947
MOLLY WHITE            980 MERCER AVE.                                                                      HERMITAGE          PA   16148
MOLLY WILLIAMSON       844 S PENDLETON AVE                                                                  PENDLETON          IN   46064‐1354
MOLLY ZUCKSCHWERDT     18381 S HEMLOCK RD                                                                   OAKLEY             MI   48649‐9743
MOLLY, VIRGINIA A      1130 BROADROCK CT                                                                    PARMA              OH   44134‐2704
MOLLY, WILDA           210 BRIDGEVIEW PL                                                                    MC CORMICK         SC   29835‐3443
MOLLY, WILDA           210 BRIDGE VIEW PL                                                                   MC CORMICK         SC   29835
MOLNAR JOHN P          2021 S BAHAMA DR                                                                     GILBERT            AZ   85295‐5631
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Name                      Address1                       Address2                        Address3   Address4         City                State Zip
MOLNAR RICHARD (492080)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                         PROFESSIONAL BLDG
MOLNAR, ALEXANDER J       186 BUTTERNUT DR                                                                           AMHERST             OH   44001‐1760
MOLNAR, AUGUSTUS G        4304 WOODLEIGH LN                                                                          YOUNGSTOWN          OH   44511‐1814
MOLNAR, BESS E            17 CHRISTINA DR.                                                                           DOVER PLAINS        NY   12522‐6077
MOLNAR, BLANCHE           2243 CORAL SEA DR                                                                          YOUNGSTOWN          OH   44511‐2229
MOLNAR, BRENDA G          524 W FRIENDSHIP ST                                                                        MEDINA              OH   44256‐1815
MOLNAR, CHARLES D         28 CANDLEWOOD LN                                                                           WILLIAMSVILLE       NY   14221‐2137
MOLNAR, CHARLES R         4722 WHISPERING PINES DR                                                                   SHELBY TWP          MI   48316‐1558
MOLNAR, CHRISTOPHER J     7211 CAMWELL DR                                                                            INDIANAPOLIS        IN   46268‐4786
MOLNAR, CLARICE E         3110 MCKINLEY ROAD                                                                         CHELSEA             MI   48118‐9593
MOLNAR, CONSTANCE F       3477 MAIN RD                                                                               STANDISH            MI   48658‐9736
MOLNAR, DANIEL L          917 E KATHERINE AVE                                                                        MADISON HEIGHTS     MI   48071‐2955
MOLNAR, DARLENE F         539 WENDEL AVE                                                                             BUFFALO             NY   14223‐2213
MOLNAR, DAVE              3930 HILLSDALE DR                                                                          AUBURN HILLS        MI   48326‐4302
MOLNAR, ELIZABETH A       2214 BEARS DEN RD                                                                          YOUNGSTOWN          OH   44511‐4511
MOLNAR, ELIZABETH H       6 WAYMAN PLACE                                                                             PALM COAST          FL   32164‐7634
MOLNAR, EMMA              1441 MAPLE DR APT 32                                                                       FAIRVIEW            MI   48621‐8708
MOLNAR, ERNEST J          1304 JUDY DR                                                                               TROY                MI   48083‐5228
MOLNAR, FRANCES M.        14700 SLEEPY HOLLOW DRIVE                                                                  NOVELTY             OH   44072‐9695
MOLNAR, GARY J            750 EBY RD                                                                                 SHILOH              OH   44878‐8869
MOLNAR, GARY S            93 RED GROUSE CT                                                                           YOUNGSTOWN          OH   44511‐3666
MOLNAR, GARY W            860 KNIGHTSBRIDGE RD                                                                       LEONARD             MI   48367
MOLNAR, GRACE D           27103 BENNETT                                                                              REDFORD             MI   48240‐2363
MOLNAR, HOWARD J          65 CRESCENT RD                                                                             GRAND ISLAND        NY   14072‐2837
MOLNAR, HOWARD JULIUS     65 CRESCENT RD                                                                             GRAND ISLAND        NY   14072‐2837
MOLNAR, IRENE             31224 KELLY RD                                                                             ROSEVILLE           MI   48066‐1273
MOLNAR, IRENE             31224 KELLY ROAD                                                                           ROSEVILLE           MI   48066‐1273
MOLNAR, JAMES             75 MYSTICAL CT                                                                             GARNER              NC   27529‐8340
MOLNAR, JAMES L           1304 POWELL VIEW DR                                                                        DEFIANCE            OH   43512‐3037
MOLNAR, JOANNE L          314 SAN CARLOS RD                                                                          MINOOKA             IL   60447‐9244
MOLNAR, JOHN              2444 WILLIAMS RD                                                                           CORTLAND            OH   44410‐9251
MOLNAR, JOHN              380 MT OLIVE CEMETERY RD                                                                   LYNNVILLE           TN   38472‐5536
MOLNAR, JOHN N            22135 NELSON ST                                                                            WOODHAVEN           MI   48183‐1536
MOLNAR, JOHN P            106 TWYLA PL                                                                               KENMORE             NY   14223‐1527
MOLNAR, JOHN T            165 ERICKSON DR                                                                            PULASKI             TN   38478‐7482
MOLNAR, JOHN W            1506 CHAMPAIGN RD                                                                          LINCOLN PARK        MI   48146‐3201
MOLNAR, JOSEPH            7651 FILLMORE ST                                                                           PHILADELPHIA        PA   19111‐2414
MOLNAR, JOSEPH L          502 S GOODYEAR ST                                                                          OREGON              OH   43616‐2917
MOLNAR, JOZEF             17050 NE 14TH AVE APT 207                                                                  NORTH MIAMI BEACH   FL   33162‐2823
MOLNAR, KLARA M           2639 FOX HILL DR                                                                           STERLING HEIGHTS    MI   48310‐3559
MOLNAR, LASZLO            2580 S OCEAN BLVD                                                                          PALM BEACH          FL   33480‐5479
MOLNAR, LEWIS             5467 BURNS RD                                                                              NORTH OLMSTED       OH   44070‐4215
MOLNAR, LOUIS J           15655 COLUMBIA HWY                                                                         LYNNVILLE           TN   38472‐5211
MOLNAR, LOUIS M           9901 BERWICK ST                                                                            LIVONIA             MI   48150‐2815
MOLNAR, MARION N          5263 VAN WINKLE STREET                                                                     BRIGHTON            MI   48116‐1933
MOLNAR, MICHAEL A         305 N MAIN ST                                                                              IMLAY CITY          MI   48444‐1148
MOLNAR, MICHAEL E         235 S 7TH ST                                                                               LEWISTON            NY   14092‐1714
MOLNAR, MICHAEL J         PO BOX 316                                                                                 RICHEYVILLE         PA   15358‐0316
MOLNAR, MIKLOS            5681 HARBORAGE DR                                                                          FORT MYERS          FL   33908‐4531
MOLNAR, PAUL D            27103 BENNETT                                                                              REDFORD             MI   48240‐2363
MOLNAR, PETER J           1745 SMOKERISE DRIVE                                                                       AKRON               OH   44313‐4631
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Name                          Address1                         Address2                       Address3   Address4         City                 State Zip
MOLNAR, PETER P               PO BOX 75                                                                                   NORFOLK               NY 13667‐0075
MOLNAR, REZSO L               4238 SHORE DR                                                                               LORAIN                OH 44053‐1323
MOLNAR, RHODESA H             4790 JERSEY WALNUT GROVE RD                                                                 COVINGTON             GA 30014‐0574
MOLNAR, RICHARD               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD            OH 44067
                                                               PROFESSIONAL BLDG
MOLNAR, RICHARD J             PO BOX 439                                                                                  CHIPPEWA LAKE        OH   44215‐0439
MOLNAR, RICHARD T             34631 SHOREWOOD ST                                                                          CHESTERFIELD         MI   48047‐2022
MOLNAR, ROBERT R              787 SALT SPRINGS RD                                                                         WARREN               OH   44481‐9669
MOLNAR, STEPHEN J             5429 CHAMBERS RD                                                                            MAYVILLE             MI   48744‐9419
MOLNAR, STEPHEN M             1865 AUGUSTA DR                                                                             JAMISON              PA   18929‐1085
MOLNAR, STEVE                 14622 FORD AVE                                                                              ALLEN PARK           MI   48101‐1000
MOLNAR, STEVEN A              23305 CLAIRWOOD ST                                                                          SAINT CLAIR SHORES   MI   48080‐3417
MOLNAR, SUSAN K               2680 PARDEE RD                                                                              HOWELL               MI   48843‐8835
MOLNAR, VICKIE                15655 COLUMBIA HWY                                                                          LYNNVILLE            TN   38472‐5211
MOLNAR, W S CO                2545 BEAUFAIT ST                                                                            DETROIT              MI   48207‐3467
MOLNAR‐HOFELE, DOROTHY        5077 CRESCENT RIDGE DR                                                                      CLAYTON              OH   45315‐9618
MOLNER, ANNETTE M             18202 WEST CONTINENTAL PARKWAY                                                              SURPRISE             AZ   85374‐7324
MOLNER, CARL N                29394 MILTON AVE                                                                            MADISON HTS          MI   48071‐2515
MOLNER, CHRISTOPHER           3637 SUNNYSIDE AVE                                                                          BROOKFIELD           IL   60513‐1629
MOLNER, DAVID A               6187 INKSTER RD                                                                             GARDEN CITY          MI   48135‐2540
MOLNER, DONNA                 614 N WINDSOR DR                                                                            MARION               IN   46952‐2622
MOLNER, DONNA                 614 WINDSOR DR                                                                              MARION               IN   46952‐2622
MOLNER, JOSEPH W              25365 KINYON ST                                                                             TAYLOR               MI   48180‐3203
MOLNER, MARY J                9020 E CEDAR WAXWING DR                                                                     SUN LAKES            AZ   85248‐7466
MOLNER, MARY J                9020 E. CEDAR WAXWING DRIVE                                                                 SUN LAKES            AZ   85248‐5248
MOLNLYCKE HEALTH CARE         JACQUE KIMBRO                    5550 PEACHTREE PARKWAY                                     NORCROSS             GA   30092
MOLOCI, NESTOR L              554 CLEARVIEW RD                                                                            MANSFIELD            OH   44907‐2717
MOLOCK, JOHN R                28675 FRANKLIN RD APT 405                                                                   SOUTHFIELD           MI   48034‐1604
MOLOK, H
MOLONEY ARMORING (SCALETTA)   6755 S. BELT CIRCLE                                                                         BEDFORD PARK         IL   60638
MOLONEY JOHN                  MOLONEY, JOHN                    PO BOX 426                                                 PLEASANTON           KS   66075‐0426
MOLONEY, DANIEL M             1133 COUTANT ST                                                                             FLUSHING             MI   48433‐1771
MOLONEY, JAMES E              307 ALBERT CIR                                                                              FRANKLIN             TN   37064‐5401
MOLONEY, JAMES F              29985 SPRING RIVER DR                                                                       SOUTHFIELD           MI   48076‐1840
MOLONEY, JAMES R              9226 MORNING MIST DR                                                                        CLARKSTON            MI   48348‐2880
MOLONEY, JOHN                 PO BOX 426                                                                                  PLEASANTON           KS   66075‐0426
MOLONEY, KATHLEEN R           85 JACKSON HALL SCHOOL RD                                                                   ELKTON               MD   21921‐2988
MOLONEY, KATHLEEN RITA        85 JACKSON HALL SCHOOL RD                                                                   ELKTON               MD   21921‐2988
MOLONEY, LINDA L              1431 N FOSTER AVE                                                                           LANSING              MI   48912‐3312
MOLONEY, MICHAEL L            140 CHURCH ST                                                                               HOUGHTON LAKE        MI   48629‐9666
MOLONEY, SUSAN Y              PO BOX 634                                                                                  HIGGINS LAKE         MI   48627‐0634
MOLOSKY, ROZALIE M            24054 SPRAGUE RD.                                                                           OLMSTED FALLS        OH   44138‐2841
MOLOTKY, MYRON J              505 SANCTUARY CT NE                                                                         ADA                  MI   49301‐8784
MOLOTZAK, BERNADINE M         34 FARMBROOK DR                                                                             OLD BRIDGE           NJ   08857‐1451
MOLOY, MICHAEL E              313 S STADIUM DR                 PO BOX 814                                                 BROWNSBURG           IN   46112‐1413
MOLPECERES, MARIA             55 MASSACHUSETTS DR                                                                         BRISTOL              CT   06010‐2841
MOLPUS JR, JAMES H            G3219 N CENTER RD                                                                           FLINT                MI   48506‐2073
MOLPUS, DORTHA L              3351 KISSNER AVE                                                                            FLINT                MI   48504‐4417
MOLPUS, JAMES N               3501 CHEROKEE AVE                                                                           FLINT                MI   48507‐1937
MOLSEED, LARRY W              128 KENNETH ST                                                                              SANTA CRUZ           CA   95060‐2456
MOLSKI, WOLFGANG J            101 BEAUMIN DR                                                                              NEWARK               DE   19702‐2237
MOLSON, LESTER                167 ROBERTSON ST APT 1                                                                      MOUNT CLEMENS        MI   48043
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Name                                Address1                         Address2                     Address3             Address4                 City             State Zip
MOLT, BERNARD E                     BOONE ALEXANDRA                  205 LINDA DR                                                               DAINGERFIELD      TX 75638‐2107
MOLTANE JR, JOHN W                  628 CHARING CROSS DR                                                                                        GRAND BLANC       MI 48439‐1594
MOLTANE, LINDA F                    317 S MCLELLAN ST                                                                                           BAY CITY          MI 48708
MOLTANE, ROBERT A                   317 S MCLELLAN ST                                                                                           BAY CITY          MI 48708‐7569
MOLTEC TRADING GROUP LTD            2320 BRISTOL CIRCLE UNIT#5                                                         OAKVILLE CANADA ON L6H
                                                                                                                       5S3 CANADA
MOLTEN METAL EQUIPMENT              INNOVATIONS INC                  16286 NAUVOO RD                                                            MIDDLEFIELD      OH 44062‐9731
MOLTEN METAL EQUIPMENT INNOVAT      16286 NAUVOO RD                                                                                             MIDDLEFIELD      OH 44062‐9731
MOLTEN METAL EQUIPMENT              16286 NAUVOO RD                                                                                             MIDDLEFIELD      OH 44062‐9731
INNOVATIONS
MOLTEN METAL/NOVELTY                PO BOX 337                                                                                                  NOVELTY          OH 44072‐0337
MOLTEN NORTH AMERICA CORP           1835 INDUSTRIAL DR                                                                                          FINDLAY          OH 45840‐5440
MOLTENI TIZIANA RITA                LA SCALA                         STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
MOLTER II, DEWAIN H                 4090 SAM SNEAD DR                                                                                           FLINT            MI   48506‐1426
MOLTER, DAVID F                     3636 FORDWAY DR                                                                                             LAMBERTVILLE     MI   48144‐9773
MOLTER, DAVID FREDERICK             3636 FORDWAY DR                                                                                             LAMBERTVILLE     MI   48144‐9773
MOLTER, LANCE R                     14084 COUNTRY RIVER LN                                                                                      NEWBURY          OH   44065‐9717
MOLTER, LENA                        11526 GROVEDALE DR                                                                                          WHITTIER         CA   90604‐3634
MOLTER, LOVINA                      981 HADCOCK ROAD                                                                                            BRUNSWICK        OH   44212‐2751
MOLTER, LOVINA                      981 HADCOCK RD                                                                                              BRUNSWICK        OH   44212‐2751
MOLTER, LYNDA L                     1013 AZALEAMUM DR                                                                                           THREE RIVERS     MI   49093‐9657
MOLTER, MARCIA A                    5630 S GLASTONBERRY RD                                                                                      TOLEDO           OH   43613‐2322
MOLTER, THOMAS L                    1013 AZALEAMUM DR                                                                                           THREE RIVERS     MI   49093‐9657
MOLTON LOIS                         14878 LAWRENCE 1150                                                                                         AURORA           MO   65505‐6938
MOLTON, BERNARD V                   330 BALLARD RD                                                                                              JACKSON          MI   49201‐8463
MOLTON, LOIS S                      PO BOX 504                                                                                                  MICHIGAN CTR     MI   49254‐0504
MOLTON, WILBUR J                    612 OLD FALLSTON RD                                                                                         FALLSTON         MD   21047‐2536
MOLTON, WILBUR J                    3773 E DONALD DRIVE                                                                                         PHOENIX          AZ   85050‐2536
MOLTRUP, DELORES C                  17613 M 68                                                                                                  ONAWAY           MI   49765‐8895
MOLTRUP, DELORES CARROLL            17613 M 68                                                                                                  ONAWAY           MI   49765
MOLTRUP, JOSEPH R                   2114 COUNTY LINE RD                                                                                         BARKER           NY   14012‐9515
MOLTZAN, CASSANDRA                  90 CLIFF VIEW DR                                                                                            ROCKMART         GA   30153‐7496
MOLTZAN, CASSANDRA                  90 CLIFFVIEW DR.                                                                                            ROCKMONT         GA   30153
MOLTZAN, DONALD W                   90 CLIFF VIEW DR                                                                                            ROCKMART         GA   30153‐7496
MOLUSE, BERNARD S                   8097 HAMILTON AVE APT 210                                                                                   CINCINNATI       OH   45231
MOLVIN, LOUIS P                     11352 BEAVER CREEK RD                                                                                       SALEM            OH   44460‐9233
MOLYE CHEVROLET‐OLDSMOBILE‐BUICK SA 115 W MAIN ST                                                                                               HONEOYE FALLS    NY   14472‐1103

MOLYE CHEVROLET‐OLDSMOBILE‐BUICK    115 W MAIN ST                                                                                               HONEOYE FALLS    NY 14472‐1103
SALES CORPORATION
MOLYE CHEVROLET‐OLDSMOBILE‐BUICK    VITO ARBORE                      115 W MAIN ST                                                              HONEOYE FALLS    NY 14472‐1103
SALES CORPORATION
MOLYLES ROSA                        MOLYLES, ROSA                    420 2ND STREET                                                             MENASHA          WI   54952‐3145
MOLYLES, ROSA                       420 2ND ST                                                                                                  MENASHA          WI   54952‐3145
MOLYNEAUX, TERRY L                  200 N MOUNTAIN ST                                                                                           BAY CITY         MI   48706‐4244
MOLZ, MARK J                        RE: KIMBERLY D BERRY             1400 ROUTE 38 EAST           PO BOX 577                                    HAINESPORT       NJ   08036
MOLZAN, DOROTHY L                   5257 W 16TH ST                                                                                              PARMA            OH   44134‐1769
MOLZAN, DOROTHY L                   5257 WEST 16 STREET                                                                                         PARMA            OH   44134‐1769
MOLZAN, RANDALL G                   1636 SHIPWRECK CT                                                                                           SURFSIDE BEACH   SC   29575‐4613
MOLZON, GREGORY E                   560 EAST M55 UNIT 113                                                                                       TAWAS CITY       MI   48763
MOLZON, GREGORY E                   UNIT 113                         560 EAST M 55                                                              TAWAS CITY       MI   48763‐9228
MOM TOOLS                           3645 WARRENSVILLE CENTER RD      STE 211                                                                    BEACHWOOD        OH   44122‐5245
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Name                              Address1                           Address2               Address3            Address4                City              State Zip
MOM'S GARAGE                      238 KELLEY ST                                                                                         MANCHESTER         NH 03102‐3038
MOM, JERALD L                     374 CLINT CT                                                                                          LAKE ORION         MI 48362‐1069
MOMAN, DELORIS N                  2408 FRANCIS AVE                                                                                      FLINT              MI 48505‐4945
MOMAN, ILESIA P                   5005 N GREEN BAY AVE                                                                                  MILWAUKEE          WI 53209
MOMAN, THOMAS                     PO BOX 75701                                                                                          JACKSON            MS 39282‐5701
MOMANY, GARY L                    5109 STEVENS RD                                                                                       CLARKSTON          MI 48346‐4155
MOMANY, JAMES E                   827 HICKORY RIDGE TRL                                                                                 COLUMBIA           TN 38401‐6753
MOMANY, ROBERT R                  5055 CURTIS RD                                                                                        ATTICA             MI 48412‐9372
MOMANYI, ROSEMARY N               3873 CORKWOOD PLACE                                                                                   FAIRFAX            VA 22033‐2456
MOMBER, DANIEL E                  2728 13 MILE RD NW                                                                                    SPARTA             MI 49345‐8705
MOMBERG, BRIAN M                  107 CHERRY HILL LANE                                                                                  STOCKBRIDGE        GA 30281‐7360
MOMBERG, JOHN V                   2012 TEANECK CIR                                                                                      WIXOM              MI 48393
MOMCILO TODOROVIC                 11152 S EWING AVE                                                                                     CHICAGO             IL 60617‐6921
MOMCILOVIC, MIHAJLO               11421 S EWING AVE                                                                                     CHICAGO             IL 60617‐7471
MOMCILOVICH, ANGELINE             17270 S NUNNELEY RD                                                                                   CLINTON TWP        MI 48035‐1214
MOMCILOVICH, ANGELINE             17270 SOUTH NUNNELY                                                                                   CLINTON TWP.       MI 48035‐1214
MOMENT, JOHN B                    388 SEYMOUR AVE                                                                                       NEWARK             NJ 07112‐2131
MOMENT, ROGER L                   48844 LANSDOWNE CT                                                                                    SHELBY TOWNSHIP    MI 48317‐2528
MOMENTIVE PERFORMANCE MATERIALS   DERRICK DUNN                       260 HUDSON RIVER RD                                                WATERFORD          NY 12188‐1910

MOMENTIVE PERFORMANCE MATERIALS   12502 COLLECTION CENTER DR                                                                            CHICAGO            IL   60693‐0125
QUARTZ INC
MOMENTIVE PERFORMANCE MATERICA    22557 LUNN RD                                                                                         STRONGSVILLE      OH 44149‐4871

MOMENTUM                          MOMENTUM‐NA INC                    STE 400                7930 CLAYTON ROAD                           SAINT LOUIS       MO    63117‐1331
MOMENTUM                          755 W BIG BEAVER RD STE 1750                                                                          TROY              MI    48084‐4913
MOMENTUM NA INC                   4499 COLLECTION CENTER DR                                                                             CHICAGO           IL    60693‐0044
MOMENTUM‐NA INC                   4499 COLLECTION CENTER                                                                                CHICAGO           IL    60693‐0044
MOMENTUM‐NA INC                   7930 CLAYTON RD STE 400                                                                               SAINT LOUIS       MO    63117‐1331
MOMIER, HARLI J                   5161 ROBERTS DR                                                                                       FLINT             MI    48506‐1592
MOMIER, HARLI JULY                5161 ROBERTS DR                                                                                       FLINT             MI    48506‐1592
MOMIN, ZAFAR A                    11 TANJONG RHU                     THE WATERSIDE #15‐03                       SINGAPORE SINGAPORE
                                                                                                                436896
MOMINEE, ARLENE P                 624‐301 BLVD E                     LOT B10                                                            BRADENTON         FL    34203
MOMINEE, CYNTHIA L                3312 MARSHALL RD                                                                                      KETTERING         OH    45429‐3616
MOMINEE, DIANE M                  3559 LONG HWY R 3                                                                                     CHARLOTTE         MI    48813‐9309
MOMINEE, MARY L                   4201 REFLECTIONS DRIVE                                                                                STERLING HTS      MI    48314‐1943
MOMINEE, MICHAEL R                156 MASON BLVD                                                                                        MASON             MI    48854‐9269
MOMINEE, ROBERT H                 3559 LONG HWY                                                                                         CHARLOTTE         MI    48813‐9309
MOMMAERTS, DANIEL G               2606 S 5TH PL                                                                                         MILWAUKEE         WI    53207‐1427
MOMON JR, MACK                    314 SANDALWOOD DR                                                                                     SOUTHAVEN         MS    38671‐4222
MOMON, BREON                      805 FOREST POINTE CIRCLE                                                                              ANTIOCH           TN    37013‐5532
MOMOT, EVELYN R
MOMOT, TERRY
MOMOT, TERRY                      10996 GRASSY HOLLOW RD                                                                                POTOSI            MO    63664‐9186
MOMOTARO JAPANESE CUISINE         ATTN: FRED LIU                     1425 RARITAN RD                                                    CLARK             NJ    07066‐1230
MOMPHARD, PATRICIA L              271 GRENADIER CIR                                                                                     DANVILLE          VA    24541‐5525
MOMPHARD, RAYMOND D               218 CHERRY ST                                                                                         ELSBERRY          MO    63343‐1603
MOMRIK, LUCAS J                   5466 MAPLEWOOD MEADOWS AVE                                                                            GRAND BLANC       MI    48439‐3509
MOMRIK, RENEE M                   5466 MAPLEWOOD MEADOWS AVE                                                                            GRAND BLANC       MI    48439‐3509
MOMS HOUSE                        2505 FRANKLIN AVE                                                                                     TOLEDO            OH    43610‐1562
MOMSEN LEONARDOS & CIA            RUA TEOFILO OTTONI                 63 10'0 ANDAR CENTRO                       RIO DE JANEIRO BRAZIL
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Name                           Address1                        Address2                      Address3   Address4         City               State Zip
MOMSEN, MARC F                 375 STATE HIGHWAY 67            APT 268C                                                  DOUSMAN             WI 53118‐9671
MON CITY CHIRO CLINI           1230 W MAIN ST                                                                            MONONGAHELA         PA 15063‐2830
MON EMERY                      1045 TAHOE TRL                                                                            FLINT               MI 48532‐3567
MON YOUGH JUNIOR ACHIEVEMENT   201 LYSLE BLVD                                                                            MCKEESPORT          PA 15132‐2525
MONA ARVIN                     13032 STATE ROAD 101                                                                      BROOKVILLE          IN 47012‐9790
MONA B WARD                    9199 KIPTON                                                                               FRANKLIN            OH 45005‐1353
MONA BAYLOR                    601 DITMAR AVE                                                                            PONTIAC             MI 48341‐2626
MONA BEECH                     2241 S GRAHAM RD                                                                          FLINT               MI 48532‐4921
MONA BOLAN                     645 NEIL AVE APT 706                                                                      COLUMBUS            OH 43215
MONA BROWDER                   3092 JANES AVE                                                                            SAGINAW             MI 48601
MONA BRUFF                     9604 E ARNOLD LAKE RD                                                                     HARRISON            MI 48625‐9672
MONA C SCHREUR                 1845 BELLE TERRE                                                                          NILES               OH 44446‐4123
MONA DAVIS                     PO BOX 109                                                                                MARKLE              IN 46770‐0109
MONA DONEL                     3426 N LELAND AVE                                                                         INDIANAPOLIS        IN 46218‐1746
MONA DOWDEN                    203 S MAIN ST                                                                             PENDLETON           IN 46064‐1136
MONA DRUBIN                    282 NOBLE CT                                                                              LAKELAND            FL 33815‐3770
MONA E HUDSON                  817 BOND AVE                                                                              EAST SAINT LOUIS     IL 62201‐1108
MONA ELECTRIC, INC.            DONNA MYERS                     748 OLD ALEXANDER FERRY RD.                               CLINTON             MD
MONA ELLINGTON                 PO BOX 7491                                                                               SPRINGFIELD          IL 62791‐7491
MONA F HANNA                   2187 TAMPICO TR.                                                                          BELLBROOK           OH 45305‐1464
MONA F NOURIE                  302 LINDEN ST                                                                             TILTON               IL 61833‐7455
MONA FARHAT                    36817 VARGO ST                                                                            LIVONIA             MI 48152‐2713
MONA FARROW                    1184 BRIAR DOWNS LN                                                                       BURTON              MI 48529‐2224
MONA FELTNER                   5871 S STATE ROAD 39                                                                      CLAYTON             IN 46118‐9316
MONA FULLER                    154 SATER ST                                                                              ORFORDVILLE         WI 53576‐8784
MONA GRADY                     2820 SW 137TH ST                                                                          OKLAHOMA CITY       OK 73170‐5148
MONA H DAVIS                   4715 DERWENT DR                                                                           DAYTON              OH 45431‐1013
MONA HARRIS                    8654 BELLE CHASE DR                                                                       HUBER HEIGHTS       OH 45424‐1045
MONA HARRISON                  722 E GERHART ST                                                                          KOKOMO              IN 46901‐1536
MONA HUDSON                    817 BOND AVE                                                                              EAST SAINT LOUIS     IL 62201‐1108
MONA HUNTER                    2139 SHERER AVE                                                                           DAYTON              OH 45414‐4633
MONA JOHNSON                   113 FARRINGTON RD                                                                         CROSSVILLE          TN 38558‐8807
MONA K HARRIS                  3624 ALBERMARLE RD                                                                        JACKSON             MS 39213‐5551
MONA K MESSENGER               319 SUMMIT POINT                                                                          GUNTERSVILLE        AL 35976
MONA K. MESSENGER              319 SUMMIT POINT                                                                          GUNTERSVILLE        AL 35976
MONA KEITH                     514 PICCADILLI RD                                                                         ANDERSON            IN 46013‐5060
MONA KOERBER                   118 SYCAMORE LN                                                                           LAKE HELEN          FL 32744‐3118
MONA L ARNOLD                  2742 LEXINGTON AVE NW                                                                     WARREN              OH 44485‐1534
MONA L MARTIN                  6755 HATCHERY RD                                                                          WATERFORD           MI 48327‐1130
MONA L URQUHART                7262 ANDREA CT                                                                            GRAND BLANC         MI 48439‐9656
MONA LISA'S SALON              ATTN: MONA LISA                 91 N SAGINAW ST # 100                                     PONTIAC             MI 48342‐2165
MONA LITTLE                    45 GALLERY ESTS                                                                           BEDFORD             IN 47421‐8250
MONA LORANGER                  27 KILMARNOCK ST                                                                          WILMINGTON          MA 01887
MONA LORNE                     2014 MERAMEC VIEW EST                                                                     SAINT CLAIR         MO 63077‐3576
MONA LOWRY                     4345 NORTH 450 WEST                                                                       MIDDLETOWN          IN 47356
MONA LUNDBERG                  1032 TONI DR                                                                              DAVISON             MI 48423‐2800
MONA LYNN SIMPSON MURRAY       4629 WALKER AVE NW                                                                        WARREN              OH 44483‐1636
MONA LYNN SIMPSON MURRAY       4629 WALKER AVE NW                                                                        WARREN              OH 44483‐1636
MONA M RIVERS                  60 AUSTIN ST                                                                              ROCHESTER           NY 14606‐1708
MONA M ROSS                    11318 LITTLEFIELD ST                                                                      DETROIT             MI 48227‐3438
MONA MAC DONALD                162 WILLARD RD                                                                            MASSENA             NY 13662‐3475
MONA MARTIN                    6755 HATCHERY RD                                                                          WATERFORD           MI 48327‐1130
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Name                       Address1                       Address2            Address3         Address4         City                 State Zip
MONA MILLER                5424 STEVEN DR                                                                       GREENWOOD             IN 46142‐7753
MONA MILLER                216 SERENITY CIR                                                                     ANDERSON              IN 46013‐1094
MONA NOYD                  4827 CONCORD ST                                                                      DETROIT               MI 48207‐1373
MONA P HUNTER              2139 SHERER AVE                                                                      DAYTON                OH 45414‐4633
MONA PAPPALARDO            1883 MARSH LN                                                                        PAINESVILLE           OH 44077‐4779
MONA PEARSON               356 UNIVERSITY AVE                                                                   SOUTH LYON            MI 48178‐1518
MONA R ARVIN               13032 STATE ROAD 101                                                                 BROOKVILLE            IN 47012‐9790
MONA R JOHNSON             3708 BURBANK AVE                                                                     MIDDLETOWN            OH 45044‐7082
MONA RIVERS                60 AUSTIN ST                                                                         ROCHESTER             NY 14606‐1708
MONA ROACHE                305 SUMMERSET ST                                                                     LOWELL                AR 72745‐8947
MONA ROSS                  11318 LITTLEFIELD ST                                                                 DETROIT               MI 48227‐3438
MONA S FARROW              1184 BRIAR DOWNS LN                                                                  BURTON                MI 48529
MONA S MENDER              459 PASSAIC AVE APT 259                                                              WEST CALDWELL         NJ 07006‐7463
MONA SAUCEDA               462 CAMERON AVE                                                                      PONTIAC               MI 48342‐1812
MONA SCHREUR               1845 BELLE TERRE AVE                                                                 NILES                 OH 44446‐4123
MONA SMITH                 26528 NORTH 2150 EAST ROAD                                                           BISMARCK               IL 61814‐5112
MONA STEPHENS              6660 PIRKLE PL                                                                       CUMMING               GA 30028‐5522
MONA STEWART               44120 RIVERVIEW RIDGE DR                                                             CLINTON TWP           MI 48038‐6902
MONA TALABOCK              1613 ROLLINS DR                                                                      ALLEN                 TX 75013‐3031
MONA TURNER                2400 HARVARD WAY APT 133                                                             RENO                  NV 89502‐7319
MONA URQUHART              7262 ANDREA CT                                                                       GRAND BLANC           MI 48439‐9656
MONA WARD                  9199 KIPTON DR                                                                       FRANKLIN              OH 45005‐1353
MONA WARE                  2880 W ANITA DR                                                                      SAGINAW               MI 48601‐9236
MONA WENDT                 RR2                                                                                  HOPKINS               MI 49328
MONA WOLFE                 131 CARRIAGE LN                                                                      MARQUETTE             MI 49855‐9303
MONA, SAMER J              2893 TREYBURN LN                                                                     WEST BLOOMFIELD       MI 48324‐4793
MONABELLE HEXIMER          349 EVANS ST APT 3                                                                   WILLIAMSVILLE         NY 14221‐5638
MONABELLE SIPLE            5533 BARNES RD                                                                       EATON RAPIDS          MI 48827‐9606
MONABELLE SUMPTION         2512 BOSTON BLVD                                                                     LANSING               MI 48910‐2422
MONACELL, SADIE            9 NOVA LANE                                                                          ROCHESTER             NY 14606‐5827
MONACELL, SADIE            9 NOVA LN                                                                            ROCHESTER             NY 14606‐5827
MONACELLI, D A             35 BEACH ST                                                                          NARRAGANSETT           RI 02882‐3356
MONACELLI, EUGENE M        20321 ERBEN ST                                                                       SAINT CLAIR SHORES    MI 48081‐1737
MONACELLI, FRANK           289 RUMSON RD                                                                        ROCHESTER             NY 14616‐1308
MONACELLI, LOUISE M        21215 DORION ST                                                                      ST CLAIR SHRS         MI 48082‐1506
MONACELLI, MARIA A         69 MARKIE DR W                                                                       ROCHESTER             NY 14606
MONACELLI, MICHAEL M       22800 EUCLID STREET                                                                  ST CLR SHORES         MI 48082‐2444
MONACHOCS MICHAEL          1205 OGDEN AVE STE B                                                                 DOWNERS GROVE          IL 60515‐2794
MONACO COACH CORP
MONACO COACH CORPORATION   606 NELSONS PKWY                                                                     WAKARUSA             IN   46573‐9580
MONACO JR, RALPH J         54 JUNIPER DR                                                                        NORTH HAVEN          CT   06473‐3511
MONACO TRUCKING LLC        PO BOX 961029                                                                        FORT WORTH           TX   76161‐0029
MONACO, ANTHONY M          67 SKYLINE DR                                                                        CANFIELD             OH   44406‐1234
MONACO, CAROL
MONACO, DEBRA L            8841 EAGLE RD                                                                        KIRTLAND             OH   44094‐9328
MONACO, DIANE M            3235 MUSSON RD                                                                       HOWELL               MI   48855‐9057
MONACO, ELAINE             486 TONAWANDA STREET                                                                 BUFFALO              NY   14207‐2628
MONACO, ELINOR T           1530 WAYNE AVE                                                                       LAKEWOOD             OH   44107‐3425
MONACO, ELLEN A            57 YEFIM WAY                                                                         ROSEVILLE            CA   95661‐5628
MONACO, FLORENCE P         4 PARKSIDE LN                                                                        BAYONNE              NJ   07002‐1603
MONACO, FLORENCE P         4 PARKSIDE LANE                                                                      BAYONNE              NJ   07002‐1603
MONACO, FRANCESCO          55227 NELSON DR                                                                      MACOMB               MI   48042‐1727
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Name                           Address1                            Address2                          Address3   Address4         City              State Zip
MONACO, JOHNNIE L              21 AKIN DRIVE                                                                                     OKLAHOMA CITY      OK 73149‐1801
MONACO, JOHNNIE L              21 AKIN DR                                                                                        OKLAHOMA           OK 73149
MONACO, LYDIA C                P.O. BOX 350756                                                                                   MIAMI              FL 33135‐0756
MONACO, LYDIA C                PO BOX 350756                                                                                     MIAMI              FL 33135‐0756
MONACO, MARGARET L             3870 NORTHWOODS CT NE UNIT 5                                                                      WARREN             OH 44483‐4586
MONACO, MARGARET L             3870 NORTH WOODS UNIT #5                                                                          WARREN             OH 44483‐4586
MONACO, MICHAEL J              203 HYDE PARK BLVD                                                                                NIAGARA FALLS      NY 14303‐2151
MONACO, MICHAELA
MONACO, NICHOLAS J             201 DARTMOUTH DR                                                                                  CANFIELD          OH 44406‐1215
MONACO, NICOLE
MONACO, PETER J                384 LAKE CATHERINE CT                                                                             CROSSVILLE        TN   38558‐7898
MONACO, ROBERT                 BAAL & OCONNOR                      221 N LA SALLE ST STE 463                                     CHICAGO           IL   60601‐1230
MONACO, SALVATORE              3088 LOVE RD                                                                                      GRAND ISLAND      NY   14072‐2432
MONACO, SAM R                  1845 W RIVER RD                                                                                   GRAND ISLAND      NY   14072‐2416
MONAEI WRIGHT                  1045 E ELM ST                                                                                     KOKOMO            IN   46901‐3128
MONAFO, CAROL W                122 MISTY LN                                                                                      EAST AMHERST      NY   14051‐2221
MONAGAN, AUDREY J              2838 BRAEBURN CIR                                                                                 ANN ARBOR         MI   48108‐2608
MONAGAN, EMMA                  2050 N UNION ST APT 104                                                                           SPENCERPORT       NY   14559‐1169
MONAGAN, EMMA                  2050 N UNION #104                                                                                 SPENCERPORT       NY   14559
MONAGAS, AMELIA A              PO BOX 60920                                                                                      ROCHESTER         NY   14606‐0920
MONAGAS, PEDRO A               PO BOX 60920                                                                                      ROCHESTER         NY   14606‐0920
MONAGENE WELZEIN               12590 BELL RD                                                                                     BURT              MI   48417‐2310
MONAGHAN JR, PHILIP J          1158 HATHAWAY RISING                                                                              ROCHESTER HILLS   MI   48306‐3940
MONAGHAN MARSHA LOU (658786)   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                    BIRMINGHAM        MI   48009‐5394
                                                                   406
MONAGHAN WARREN D (342256)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510
                                                                   STREET, SUITE 600
MONAGHAN, ANNA M               44 N SUGAN RD APT 103                                                                             NEW HOPE          PA   18938‐1435
MONAGHAN, ELAINE M             117 E SMITH ST                                                                                    BAY CITY          MI   48706‐3874
MONAGHAN, HELEN M              48 ELLINGTON CIRCLE                                                                               ROCHESTER         NY   14612‐3076
MONAGHAN, HOWARD P             1807 TIGER CREEK AVE                                                                              HENDERSON         NV   89012‐6141
MONAGHAN, ILSE L               3 A PONDVIEW WAY                                                                                  NORTHBOROUGH      MA   01532
MONAGHAN, JAMES P              4323 BUCKINGHAM RD                                                                                ROYAL OAK         MI   48073‐6221
MONAGHAN, JOHN T               17185 WILLIAMS DR                                                                                 HOLLY             MI   48442‐9187
MONAGHAN, JUSTIN A             6658 MOUNTAIN DR                                                                                  TROY              MI   48098‐1972
MONAGHAN, JUSTIN ADAM          6658 MOUNTAIN DR                                                                                  TROY              MI   48098‐1972
MONAGHAN, KAREN B              512 VERWOOD CT                                                                                    INDIANAPOLIS      IN   46234‐2253
MONAGHAN, MARSHA LOU           LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                    BIRMINGHAM        MI   48009‐5394
                                                                   406
MONAGHAN, PAT R                338 OAK HAMMOCK LANE                                                                              PARROTTSVILLE     TN   37843‐2648
MONAGHAN, RAYMOND J            512 VERWOOD CT                                                                                    INDIANAPOLIS      IN   46234‐2253
MONAGHAN, RICHARD C            74 LAKE AVE                                                                                       CINCINNATI        OH   45246‐4450
MONAGHAN, THOMAS J             60 CARMOLITE DR                                                                                   BUFFALO           NY   14224‐3613
MONAGHAN, THOMAS W             2308 GYSIN CT                                                                                     BAY CITY          MI   48708‐6848
MONAGHAN, TIMOTHY A            6616 ROXTON DR                                                                                    AMARILLO          TX   79109‐5040
MONAGHAN, WARREN D             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510‐2212
                                                                   STREET, SUITE 600
MONAGHAN, WILLIAM J            117 E SMITH ST                                                                                    BAY CITY          MI   48706‐3874
MONAGHNAM, J B                 LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                       MIAMI             FL   33143‐5163
MONAH, MARILYN                 47 N SYRACUSE DR                                                                                  CHERRY HILL       NJ   08034
MONAHAN JOHN (637460)          BROOKMAN ROSENBERG BROWN &          17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA      PA   19102
                               SANDLER                             30 SOUTH 15TH STREET
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Name                                Address1                              Address2                          Address3   Address4         City               State Zip
MONAHAN JR, DAVID P                 2441 N STATE RD                                                                                     DAVISON             MI 48423‐1145
MONAHAN JR, DAVID PATRICK           2441 N STATE RD                                                                                     DAVISON             MI 48423‐1145
MONAHAN JULIE                       219A YORK RD                                                                                        EDGERTON            WI 53534
MONAHAN, ANNA M                     4826 CROFTSHIRE DRIVE                                                                               DAYTON              OH 45440‐5440
MONAHAN, DAVID J                    72821 MEMPHIS RIDGE RD                                                                              RICHMOND            MI 48062‐4827
MONAHAN, DAVID JOHN                 72821 MEMPHIS RIDGE RD                                                                              RICHMOND            MI 48062‐4827
MONAHAN, EDWARD J                   217 BRADLEY ST                                                                                      BRISTOL             CT 06010‐5167
MONAHAN, EDWARD T                   14889 LAGO DR                                                                                       RANCHO MURIETA      CA 95683‐9541
MONAHAN, EILEEN P                   2995 INDEPENDENCE AVE APT 1L                                                                        BRONX               NY 10463‐4642
MONAHAN, EVELYN K                   1097 FOREST DR                                                                                      COLUMBUS            OH 43223‐2813
MONAHAN, FRANK T                    561 GEORGE RD                                                                                       TOMS RIVER          NJ 08753‐6070
MONAHAN, HAROLD F                   2886 FERNLEY DR E APT 3                                                                             WEST PALM BCH       FL 33415‐8312
MONAHAN, JEFFREY                    2260 EL CAJON BLVD                    #405                                                          SAN DIEGO           CA 92104
MONAHAN, JEROME M                   PO BOX 19626                                                                                        RENO                NV 89511‐2152
MONAHAN, JOEL C                     140 WHITINS RD                                                                                      SUTTON              MA 01590‐2700
MONAHAN, JOHN                       BROOKMAN ROSENBERG BROWN &            17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA        PA 19102
                                    SANDLER                               30 SOUTH 15TH STREET
MONAHAN, JOSEPH B                   301 PEIRSON AVE                                                                                     NEWARK             NY   14513‐2016
MONAHAN, JULIE A                    219A YORK RD                                                                                        EDGERTON           WI   53534‐1603
MONAHAN, KEVIN M                    506 GILES AVE                                                                                       BLISSFIELD         MI   49228‐1227
MONAHAN, MARY B                     923 CANDLELIGHT CT                                                                                  BEL AIR            MD   21015‐5681
MONAHAN, MICHAEL B                  1444 BRIARFIELD WAY                                                                                 WEBSTER            NY   14580‐8529
MONAHAN, PATRICK G                  51968 MONACO DR                                                                                     MACOMB             MI   48042‐6022
MONAHAN, PATRICK L                  7738 SW 112TH LN                                                                                    OCALA              FL   34476‐9162
MONAHAN, PAUL F                     6358 DILLON HWY                                                                                     HUDSON             MI   49247‐9505
MONAHAN, RANDY                      GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                  SAGINAW            MI   48604‐2602
                                                                          260
MONAHAN, ROBERT J                   315 CENTRAL ST                                                                                      FRAMINGHAM         MA   01701‐4170
MONAHAN, ROBERT M                   862 WADSWORTH DR                                                                                    WATERFORD          MI   48328‐2051
MONAHAN, SHIRLEY E                  2105 E WATERBERRY DR                                                                                HURON              OH   44839‐2275
MONAHAN, SUZANNE L                  2775 SQUIRREL RD                                                                                    BLOOMFIELD HILLS   MI   48304‐2051
MONAN, CHARLES H                    2297 LAKE RIDGE DR                                                                                  GRAND BLANC        MI   48439‐7365
MONARCH ANA/MAUMEE                  1365 TOMAHAWK DR.                                                                                   MAUMEE             OH   43537
MONARCH ANTENNA INC                 8501 BECK RD                                                                                        BELLEVILLE         MI   48111‐1295
MONARCH BEVERAGE                    37373 WALDEMERE                                                                                     INDIANAPOLIS       IN   46206
MONARCH BEVERAGE                    FRED DUFOUR                           9347 PENDLETON PIKE                                           INDIANAPOLIS       IN   46236‐2768
MONARCH BEVERAGE                    FRED DUFOUR                           3737 WALDEMERE AVE                                            INDIANAPOLIS       IN   46241‐7234
MONARCH CO/CLACKAMAS                12566 SE 93RD AVE                                                                                   CLACKAMAS          OR   97015‐9760
MONARCH DONNA (665584)              SHEPARD LAW FIRM, PC                  10 HIGH STREET, SUITE 1100                                    BOSTON             MA   02110
MONARCH ELECTRIC APPARATUS LLC      5325 W 130TH ST                                                                                     CLEVELAND          OH   44130‐1034
MONARCH ELECTRIC APPARATUS SERVICES 18800 MEGINNITY ST                                                                                  MELVINDALE         MI   48122‐1931

MONARCH ELECTRIC SERVICE CO         5325 W 130TH ST                                                                                     CLEVELAND          OH 44130‐1034
MONARCH ELECTRIC SERVICE CO (I      18800 MEGINNITY ST                                                                                  MELVINDALE         MI 48122‐1931
MONARCH GMC TRUCK CENTER/DBA        195 N 30TH ST                                                                                       SAN JOSE           CA 95116‐1124
MONARC
MONARCH GMC TRUCK CENTER/DBA        195 N 30TH ST                                                                                       SAN JOSE           CA 95116‐1124
MONARCH ISUZU TRUCK CENTER/DBA
MONARCH TR
MONARCH INVESTMENTS                 ATTN: JAMES CUNNINGHAM                18 W HURON ST                                                 PONTIAC            MI 48342‐2100
MONARCH LATHES LP                   615 OAK AVE                           PO BOX 4609                                                   SIDNEY             OH 45365‐1335
MONARCH LEASING INC.                RICHARD CHAGNON                       195 N 30TH ST                                                 SAN JOSE           CA 95116‐1124
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Name                                Address1                        Address2                     Address3   Address4         City            State Zip
MONARCH LEASING INC.                195 N 30TH ST                                                                            SAN JOSE         CA 95116‐1124
MONARCH LIGHTING CO                 ATTN: RAYMOND LEE               6817 STADIUM DR # 305                                    KANSAS CITY      MO 64129‐1893
MONARCH MACH/SIDNEY                 PO BOX 668                                                                               SIDNEY           OH 45365‐0668
MONARCH MACHINE TOOL INC            641 STATE ROUTE 13              PO BOX 749                                               CORTLAND         NY 13045‐8836
MONARCH STEEL COMPANY               PO BOX 200427                                                                            PITTSBURGH       PA 15251‐0427
MONARCH STEEL MASTER COIL           GARY ALLEN                      4650 JOHNSTON PKWY                                       CLEVELAND        OH 44128‐3219
MONARCH TRANSPORT LLC               10501 E 64TH TER                                                                         RAYTOWN          MD 64133‐5312
MONARCH WELDING & ENGINEERING       23635 MOUND RD                                                                           WARREN           MI 48091‐5315
MONARCH WELDING & ENGINEERING       1566 TECH PARK DR                                                                        BAY CITY         MI 48706
MONARCH WELDING & ENGINEERING INC   1566 TECH PARK DR                                                                        BAY CITY         MI 48706

MONARCH, DONNA                      SHEPARD LAW FIRM, PC            10 HIGH STREET, SUITE 1100                               BOSTON          MA   02114
MONAREZ, JASMINE J                  9912 QUAY WAY                                                                            WESTMINSTER     CO   80021‐5420
MONARQUE, LOUIS E                   10208 MATHER AVE                                                                         SUNLAND         CA   91040
MONARQUE, SANDRA M                  10208 MATHER AVE                                                                         SUNLAND         CA   91040‐3348
MONAS, MAURICE                      6770 W MAPLE RD APT 7218                                                                 W BLOOMFIELD    MI   48322‐4922
MONASKY, CATHRYN C                  8723 N 28TH AVE                                                                          PHOENIX         AZ   85051‐4018
MONASMITH, GEORGE K                 267 W GRAND LEDGE HWY                                                                    SUNFIELD        MI   48890‐9781
MONASMITH, JOHN L                   RR BOX 1 CR15                                                                            RAYLAND         OH   43943
MONASMITH, RONALD L                 13613 PROCTOR DR                                                                         KEARNEY         MO   64060‐8069
MONAST, KAREN R                     99 DEAN RD                                                                               SPENCERPORT     NY   14559‐9593
MONASTER, HELEN                     2049 N BROWER ST                                                                         SIMI VALLEY     CA   93065‐2450
MONASTERO FRANK (453177)            WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                          NEW YORK        NY   10038
MONASTERO, ANTONINO                 34040 MULVEY                                                                             FRASER          MI   48026‐1978
MONASTERO, FRANK                    WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                          NEW YORK        NY   10038
MONASTESSE, LESLIE W                194 E SMOKE TREE LN                                                                      PRESCOTT        AZ   86301
MONASTESSE, LESLIE W                194 EAST SMOKETREE LANE                                                                  PRESCOTT        AZ   86301‐6301
MONASTESSE, WILLIAM J               222 FLORENCE PL                                                                          FULLERTON       CA   92833‐2619
MONAT RONALD                        1853 DALTON DR                                                                           THE VILLAGES    FL   32162‐7548
MONAT, BRANDON J                    1320 N RANDALL AVE              APT 5                                                    JANESVILLE      WI   53545‐1134
MONAT, GORDON K                     412 ST GEORGE DR                                                                         DAVENPORT       FL   33837‐2524
MONAT, KRISTEN L                    2703 SYLVESTER ST                                                                        JANESVILLE      WI   53546‐5659
MONAT, RONALD S                     1853 DALTON DR                                                                           THE VILLAGES    FL   32162‐7548
MONAT, RONALD S                     1592 SIENNA CROSSING                                                                     JANESVILLE      WI   53546
MONAY PASCAL                        1286 E YALE AVE                                                                          FLINT           MI   48505‐1753
MONBECK, ELFRIEDE K                 530 EAST UPPER LOUISBURG ROAD                                                            BROOKVILLE      OH   45309
MONBERG, CAROL A                    22637 E 11 MILE RD                                                                       ST CLAIR SHRS   MI   48081‐2536
MONBERG, KENNETH A                  33765 HAMLIN CT                                                                          FARMINGTON      MI   48335‐4175
MONCADA JR, ALFREDO C               1418 N JENISON AVE                                                                       LANSING         MI   48915‐1420
MONCADA, NANCY A                    55 S PENNINGTON RD                                                                       NEW BRUNSWICK   NJ   08901‐1625
MONCADA, SUSAN J                    PO BOX 80505                                                                             LANSING         MI   48908
MONCALERI, LEONARD K                PO BOX 243                                                                               SAINT GEORGES   DE   19733‐0243
MONCALERI, RUTH E                   PO BOX 243                                                                               SAINT GEORGES   DE   19733‐0243
MONCE, HAROLD W                     10611 N MURPHY RD                                                                        BRAZIL          IN   47834‐7064
MONCE, HELEN                        PO BOX 941                                                                               SMYRNA          TN   37167
MONCE, NORMAN H                     5823 FREEMAN RD                                                                          CENTERVILLE     OH   45459‐1818
MONCELLI, OLYMPIA S                 8225 WHITEWOOD CV E                                                                      LAKE WORTH      FL   33467‐5524
MONCH ED                            25507 CHAMPAIGN STREET                                                                   TAYLOR          MI   48180‐2052
MONCHAK ELEANOR                     2300 HALLOCK YOUNG RD SW                                                                 WARREN          OH   44481‐9238
MONCHAK, ELEANOR C                  1369 OAKDALE DR NW                                                                       WARREN          OH   44485‐1975
MONCHAK, ELEANOR C                  9305 BAY HILL DR NE                                                                      WARREN          OH   44484‐6705
MONCHAMP, ROBERT                    2878 BARCLAY WAY                                                                         ANN ARBOR       MI   48105‐9455
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Name                       Address1                          Address2               Address3      Address4         City               State Zip
MONCHILOV, JAMES D         3007 LAKEVIEW ST                                                                        HARRISON            MI 48625‐8019
MONCIA MEIER               42 CREE TON DR                                                                          BUFFALO             NY 14228‐1607
MONCIBAIS, JOHN R          305 CHESTNUT TER                                                                        SPRING HILL         TN 37174‐2598
MONCIBAIS, ROSEMARY V      305 CHESTNUT TER                                                                        SPRING HILL         TN 37174‐2598
MONCIBAIZ, RICHARD         PO BOX 181461                                                                           ARLINGTON           TX 76096‐1461
MONCIER, WILLIAM M         282 SWAN CT                                                                             WHITE LAKE          MI 48386‐1992
MONCINI, MICHAEL           12016 W LAKE RD                                                                         VERMILION           OH 44089‐3036
MONCION DENIS              8038 E DEL RUBI DR                                                                      SCOTTSDALE          AZ 85258
MONCK, WILLIAM J           PO BOX 765                                                                              RYE                 CO 81069‐0765
MONCLOVA, JENNIFER L       12523 RAVENS CHASE LN                                                                   CYPRESS             TX 77429‐3871
MONCLUS, SONLLY A          77 W MONTROSE ST                                                                        VINELAND            NJ 08360‐4517
MONCLUS, SONLLY A.         77 W MONTROSE ST                                                                        VINELAND            NJ 08360‐4517
MONCMAN, DALE D            837 ALPINE TRL                                                                          FENTON              MI 48430‐2239
MONCMAN, EDWARD J          4590 MURRY RD RT )2                                                                     MAYVILLE            MI 48744
MONCMAN, EILEEN V          2946 PHILLIPS AVE                                                                       BERKLEY             MI 48072‐1108
MONCMAN, JODY J            7359 FRASER RD                                                                          FREELAND            MI 48623‐8900
MONCMAN, JODY JAY          7359 FRASER RD                                                                          FREELAND            MI 48623‐8900
MONCMAN, LAWRENCE J        2965 JACKSON ST                                                                         SAGINAW             MI 48604‐2319
MONCMAN, LUCILLE           13775 FULTON RD                                                                         YALE                MI 48097‐1615
MONCMAN, RONALD M          7714 ORMES RD                                                                           VASSAR              MI 48768‐9679
MONCO MOTOR CO.            301 SAN AUGUSTINE ST                                                                    CENTER              TX 75935‐3937
MONCO MOTOR CO.            C. DONALD MONROE                  301 SAN AUGUSTINE ST                                  CENTER              TX 75935‐3937
MONCREASE JR, JAMES D      9946 METTETAL ST                                                                        DETROIT             MI 48227‐1639
MONCREE, E R               1037 DENNISON AVE                                                                       DAYTON              OH 45408‐1603
MONCRIEF JR., GEORGE       718 SIMONEAU ST                                                                         SAGINAW             MI 48601‐2312
MONCRIEF, ALICE MAE        1128 W NORTH ST                                                                         GREENFIELD          IN 46140‐1943
MONCRIEF, ALONZO D         285 DELLWOOD AVE                                                                        PONTIAC             MI 48341‐2738
MONCRIEF, CAROLYN A        4222 BROWNELL BLVD                                                                      FLINT               MI 48504‐2176
MONCRIEF, CHARLES L        3501 PIEDMONT AVE                                                                       DAYTON              OH 45416‐2113
MONCRIEF, DAYS J           133 W DENNICK AVE APT 4                                                                 YOUNGSTOWN          OH 44505‐2567
MONCRIEF, DAYS J           269 W DENNICK AVE                                                                       YOUNGSTOWN          OH 44504‐1816
MONCRIEF, DONALD W         7260 KIRKVIEW DR                                                                        DAYTON              OH 45424‐2518
MONCRIEF, DONALD WILLIAM   7260 KIRKVIEW DR                                                                        DAYTON              OH 45424‐2518
MONCRIEF, EDDIE V          190 LILBURNE DR                                                                         YOUNGSTOWN          OH 44505‐4858
MONCRIEF, EDWARD C         83 JACKSON ST                                                                           PONTIAC             MI 48341
MONCRIEF, EVA R            1608 JOY ST                                                                             SAGINAW             MI 48601‐6820
MONCRIEF, EVELYN M         285 DELLWOOD AVE                                                                        PONTIAC             MI 48341‐2738
MONCRIEF, GEORGE           718 SIMONEAU ST                                                                         SAGINAW             MI 48601‐2312
MONCRIEF, JR.,DAVID        4001 MONTICELLO BLVD              APT 104                                               YOUNGSTOWN          OH 44505‐1763
MONCRIEF, L                1054 E LOMITA                                                                           FLINT               MI 48505‐3088
MONCRIEF, LAURA B          3500 COUNTRY VIEW DR                                                                    CANAL WINCHESTER    OH 43110
MONCRIEF, LAURA B          1844 GREENWAY AVE N                                                                     COLUMBUS            OH 43219‐2914
MONCRIEF, LEROY            1438 MOUNT VERNON RD                                                                    SAGINAW             MI 48601‐5141
MONCRIEF, MARJORIE Y       14041 GREENBRIAR ST                                                                     OAK PARK            MI 48237‐2737
MONCRIEF, ROBERT E         5702 GRIGGS DR                                                                          FLINT               MI 48504‐5007
MONCRIEF, RUTH A           1151 TENAGRA WAY                                                                        COLUMBUS            OH 43228‐9160
MONCRIEF, THOMAS J         155 GREELEY LN                                                                          YOUNGSTOWN          OH 44505‐4821
MONCRIEF, TIMOTHY          630 W HEIGHTS AVE                                                                       YOUNGSTOWN          OH 44509‐1804
MONCRIEF, TIMOTHY E        4170 COLEMERE CIR                                                                       DAYTON              OH 45415
MONCRIEF, VELMA            4530 HESS AVE APT 107                                                                   SAGINAW             MI 48601‐6935
MONCRIEF, VIRGINIA         4924 VIRGILIAN                                                                          NEW ORLEANS         LA 70126
MONCRIEF, YVONNE           2952 BURLINGTON DR                                                                      SAGINAW             MI 48601‐6977
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Name                             Address1                         Address2                          Address3   Address4             City               State Zip
MONCRIEFFE, TANJA M              227 CHARLES LN                                                                                     PONTIAC             MI 48341‐2930
MONCRIEFFE, TANJA MICHELLE       227 CHARLES LN                                                                                     PONTIAC             MI 48341‐2930
MONCTON CO‐OP SERVICE            14 WILBUR ST                                                                  MONCTON NB E1C 7A5
                                                                                                               CANADA
MONCTON PLUMBING & SUPPLY CO
MONCUR LAVON R (410435)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MONCUR, AMANDA                   PLUNKETT & COONEY P.C.           SUITE 210 1695 WOODWARD                                           BLOOMFIELD HILLS   MI 48013
                                                                  AVENUE
MONCUR, DAVID                    PLUNKETT & COONEY PC             38505 WOODWARD AVE STE 2000                                       BLOOMFIELD HILLS   MI 48304
MONCUR, LAVON R                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MONCZKA, CAROL A                 8619 E KEIM DR                                                                                     SCOTTSDALE         AZ   85250‐5816
MONCZKA, RICHARD J               41051 WHITE HAVEN CT                                                                               NORTHVILLE         MI   48168‐2305
MONCZKI, DOREEN K                35090 MIAMI RD                                                                                     CLINTON TWP        MI   48035‐2123
MONCZKI, MARIE A                 24770 LAURA CT                                                                                     CENTER LINE        MI   48015‐2001
MONCZYNSKI, GREG J               14625 CREEKVIEW DR                                                                                 ORLAND PARK        IL   60467‐7162
MONCZYNSKI, MATHEW M             14 TREMONT AVE                                                                                     KENMORE            NY   14217‐2332
MONDAINE, ALLEN                  2516 N 62ND ST                                                                                     KANSAS CITY        KS   66104‐2713
MONDAL, MOZAMMEL H               241 DANDRIDGE DR                                                                                   FRANKLIN           TN   37067‐4099
MONDALEK, BASSAM M               14439 KERNER DR                                                                                    STERLING HEIGHTS   MI   48313‐2373
MONDALEK, BASSAM MICHAEL         14439 KERNER DR                                                                                    STERLING HEIGHTS   MI   48313‐2373
MONDAY, BERTHA M.                5597 S 100 W                                                                                       PENDLETON          IN   46064‐9162
MONDAY, BETTY D                  399 SHADY BROOK HTS                                                                                GREENWOOD          IN   46142‐8976
MONDAY, CALVIN                   2311 COCHRAN RD                                                                                    MADISON            GA   30650‐5566
MONDAY, CHARLIE B                2143 RANDOLPH RD                                                                                   JANESVILLE         WI   53545‐0932
MONDAY, CHESTER E                1411 ZACK WAY                                                                                      CULLEOKA           TN   38451‐2737
MONDAY, DELORES J                3107 GREEN GATE WAY SE                                                                             CONYERS            GA   30013‐6420
MONDAY, EDDIE W                  3919 WABASH LN                                                                                     ELLENWOOD          GA   30294‐1306
MONDAY, JESSE H                  5739 S 100 W                                                                                       PENDLETON          IN   46064‐9389
MONDAY, LEE G                    PO BOX 13221                                                                                       TOLEDO             OH   43613‐0221
MONDAY, LEON                     6185 BARNSTABLE DR                                                                                 TOLEDO             OH   43613‐1001
MONDAY, OLICE E                  399 SHADY BROOK HTS                                                                                GRENWOOD           IN   46142‐8976
MONDAY, PAUL T                   3107 GREEN GATE WAY SE                                                                             CONYERS            GA   30013‐6420
MONDAY, PEGGY M                  4008 RIDGE RD                                                                                      ANDERSON           IN   46013‐1122
MONDAY, TAMMY R                  4008 RIDGE RD                                                                                      ANDERSON           IN   46013‐1122
MONDAY, VERLIN D                 4008 RIDGE RD                                                                                      ANDERSON           IN   46013‐1122
MONDE, DONALD E                  726 UNION RD                                                                                       FRANKLIN           OH   45005‐2568
MONDEAU, DEANNA L                888 S POSEYVILLE RD                                                                                MIDLAND            MI   48640‐8988
MONDEAU, EARL A                  8420 FRANCES RD                                                                                    OTISVILLE          MI   48463‐9471
MONDEAU, GARY R                  6357 DAVISON RD                                                                                    BURTON             MI   48509‐1609
MONDEAU, GERALD J                1502 SOUTH MONROE STREET                                                                           BAY CITY           MI   48708‐8076
MONDEAU, GERALD J                1502 S MONROE ST                                                                                   BAY CITY           MI   48708‐8076
MONDEAU, MONTY L                 888 S POSEYVILLE RD                                                                                MIDLAND            MI   48640‐8988
MONDEAU, PAUL J                  4033 HASLER RD                                                                                     DAVISON            MI   48423‐9160
MONDEAU, PAUL JOSEPH             4033 HASLER RD                                                                                     DAVISON            MI   48423‐9160
MONDEAU, VIRGIL D                1568 E LINWOOD RD                                                                                  LINWOOD            MI   48634‐9445
MONDELLI EDWARD                  MONDELLI, EDWARD                 30 EAST BUTLER PIKE , SUITE 310                                   AMBLER             PA   19002
MONDELLI JR, ANTHONY             609 SW ANDROS CIR                                                                                  PORT ST LUCIE      FL   34986‐3453
MONDELLI, BEATRICE               6 DURANT RD                                                                                        NEW CITY           NY   10956‐4804
MONDELLO ROCCO (402394)          ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                               NEW YORK           NY   10006‐1638
MONDELLO SCAFFOLDING & SHORING   3600 BARKSDALE BLVD                                                                                BOSSIER CITY       LA   71112‐3808
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Name                                Address1                             Address2               Address3   Address4         City               State Zip
MONDELLO SCAFFOLDING & SHORING CO   ATTN: CORPORATE OFFICER/AUTHORIZED   587 SLIGO RD                                       BOSSIER CITY        LA 71112‐9795
                                    AGENT
MONDELLO, ROCCO                     ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                NEW YORK           NY   10006‐1638
MONDELLO, STEPHEN J                 10351 GOLDSBERRY RD                                                                     SHREVEPORT         LA   71106‐8303
MONDEN, MARLENE M                   RR 1 BOX 314                                                                            EAST LYNN          WV   25512‐9714
MONDEN, MATTHEW K                   31096 QUAIL RUN DR                                                                      CHESTERFIELD       MI   48047‐3529
MONDI & STELLATO                    ATTN: JOSEPH STELLATO                100 WALNUT AVE # 503                               CLARK              NJ   07066‐1247
MONDI, DOMINICK F                   54 TRALA ST                                                                             SMYRNA             DE   19977‐2215
MONDICH, ELIZABETH                  201 EERING AVE                                                                          BUFFALO            NY   14223‐1007
MONDINE, LOUISE                     4713 ROCKVALLEY DR NE                C/O JOHN R KIRKMAN                                 GRAND RAPIDS       MI   49525‐1378
MONDO, ROBERT W                     2120 GAYLAWN DR                                                                         BALTIMORE          MD   21227‐1808
MONDOCK CHRISTINA                   ENCOMPASS INSURANCE COMPANY          223 N MONROE ST                                    MEDIA              PA   19063‐3019
MONDOCK CHRISTINA                   MONDOCK, CHRISTINA                   223 N MONROE ST                                    MEDIA              PA   19063‐3019
MONDOCK CHRISTINA                   MONDOCK, JOHN                        223 N MONROE ST                                    MEDIA              PA   19063‐3019
MONDOCK, BETTY                      23225 BEECH ST                                                                          DEARBORN           MI   48124‐2619
MONDOCK, CHRISTINA                  STEWART C. CRAWFORD                  223 N MONROE ST                                    MEDIA              PA   19063‐3019
MONDOCK, CHRISTINA                  RR 5 BOX 292M                                                                           MOUNT PLEASANT     PA   15666
MONDOCK, DENISE M                   6245 N NEVADA AVE                                                                       PARKVILLE          MO   64152‐3872
MONDOCK, JOHN                       CRAWFORD STEWART C & ASSOCIATES      223 N MONROE ST                                    MEDIA              PA   19063‐3019
                                    LAW OFFICE OF
MONDOCK, JOHN E                     656 N GEARY ST                                                                          MT PLEASANT        PA   15666‐1218
MONDOL, RAJENDRA K                  3380 CHRISTY WAY                                                                        SAGINAW            MI   48603‐7212
MONDON, ANTHONY L                   1078 WOODLOW ST                                                                         WATERFORD          MI   48328‐1350
MONDON, VINCENT                     2961 CURTIS KNOLL DR                                                                    DUBLIN             OH   43017‐1866
MONDOSKIN, SHIRLEY JEAN             P.O.BOX 208                                                                             HESSEL             MI   49745‐0208
MONDOUX       P, YVONNE M           7821 BERWICK DR                                                                         WESTLAND           MI   48185‐1481
MONDOUX P, YVONNE M                 7821 BERWICK DR                                                                         WESTLAND           MI   48185‐1481
MONDOUX, ALPHONSE A                 7821 BERWICK DR                                                                         WESTLAND           MI   48185‐1481
MONDOUX, GERARD C                   8130 STONEBROOK DR                                                                      CUMMING            GA   30040‐6612
MONDOUX, GILBERT A                  6557 GULF GATE PL APT 173                                                               SARASOTA           FL   34231‐5854
MONDOUX, THOMAS J                   1475 OAKSHADE ST APT 41                                                                 WALLED LAKE        MI   48390‐2101
MONDRAGON, ANGELICA                 1719 W FERRIS AVE                                                                       TAMPA              FL   33603‐2819
MONDRALL, KAREN A                   6144 NORTH CANYON DRIVE                                                                 BEVERLY HILLS      FL   34465‐2130
MONDRALL, KAREN A                   6144 N CANYON DR                                                                        BEVERLY HILLS      FL   34465‐2130
MONDRALL, MICHAEL D                 6144 N CANYON DR                                                                        BEVERLY HILLS      FL   34465‐2130
MONDREY, LORRAINE                   2025 SOUTH WARREN ROAD                                                                  NORTH JACKSON      OH   44451‐9702
MONDRO JOHN F                       2681 HAY CREEK DR                                                                       PINCKNEY           MI   48169‐8243
MONDRO, JOHN F                      2681 HAY CREEK DR                                                                       PINCKNEY           MI   48169‐8243
MONDRO, THEODORE E                  7441 N SILVERY LN                                                                       DEARBORN HEIGHTS   MI   48127‐1736
MONDRUSH, STEVEN A                  PO BOX 154                           2551 POPLAR ST                                     SPICELAND          IN   47385‐0154
MONDRY, MICHAEL B                   1151 N MARBLE RD                                                                        TRUFANT            MI   49347‐9792
MONDSHEIN WILLIAM A (ESTATE OF)     ANGELOS PETER G LAW OFFICES          60 WEST BROAD ST                                   BETHLEHEM          PA   18018
(644705)
MONDSHEIN, WILLIAM A                ANGELOS PETER G LAW OFFICES          60 WEST BROAD ST                                   BETHLEHEM          PA   18018‐5737
MONDT, JAMES R                      7462 TAMARISK DR                                                                        FORT COLLINS       CO   80528‐9193
MONDT, MATTHEW                      6212 NW 66TH TER                                                                        KANSAS CITY        MO   64151‐2309
MONDY, CHARLES G                    1533 HOLCOMB BRIDGE RD APT C                                                            NORCROSS           GA   30092‐3273
MONDY, CLARENCE                     1437 HALL ST SE                                                                         GRAND RAPIDS       MI   49506‐3974
MONDY, DAVID A                      8054 MOOSE AVE                                                                          NORFOLK            VA   23518‐3936
MONDY, GERALDINE                    912 BIRDIE DRIVE                                                                        INDEPENDENCE       KS   67301
MONDY, GERALDINE                    912 BIRDIE DR                                                                           INDEPENDENCE       KS   67301‐1504
MONDY, LOLA M                       1237 DALE CT NE                                                                         GRAND RAPIDS       MI   49505‐5445
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Name                                 Address1                              Address2                         Address3                   Address4               City           State Zip
MONDY, LULA M                        1726 AUBURN N.E.                                                                                                         GRAND RAPIDS    MI 49505‐5432
MONDY, LULA M                        1726 AUBURN AVE NE                                                                                                       GRAND RAPIDS    MI 49505‐5432
MONDY, MATTIE B                      701 PARIS AVE SE                                                                                                         GRAND RAPIDS    MI 49503‐5406
MONDY, MATTIE B                      701 PARIS SE                                                                                                             GRAND RAPIDS    MI 49503‐5406
MONDZELEWSKI, JOAN M                 302 MEDFORD DR                                                                                                           CLAYTON         DE 19938‐9526
MONE HARLAN A                        MONE, HARLAN A                        117 WILMINGTON PIKE, SUITE 200                                                     GLEN MILLS      PA 19342

MONE'T JOHNSON                       APT 302                               7112 SANDOWN CIRCLE                                                                WINDSOR MILL   MD 21244‐7928
MONE, HARLAN A                       POWER & ASSOCIATES, P.C., ATTORNEYS   117 WILMINGTON PIKE, SUITE 200                                                     GLEN MILLS     PA 19342
                                     AT LAW
MONE, ROBIN C                        610 FALLING OAKS DR                                                                                                      MEDINA         OH    44256‐2720
MONE, WALTER W                       15790 NE 2ND PL                                                                                                          WILLISTON      FL    32595‐8547
MONEACE, MARILYN                     18865 BUFFALO ST                                                                                                         DETROIT        MI    48234‐2440
MONEACE, MARILYN                     18865 BUFFALO                                                                                                            DETROIT        MI    48234‐2440
MONECHIEA L SOBIERALSKI              PO BOX 2392                                                                                                              DETROIT        MI    48202‐0392
MONECK, EDWARD R                     4778 BEALL DR                                                                                                            PITTSBURGH     PA    15236‐2139
MONEE T ROBINSON                     2850 CLINTON AVENUE                                                                                                      JACKSON        MS    39209‐5343
MONEGLIA DEBORAH                     405 BANNOCKBURN AVE                                                                                                      AMBLER         PA    19002‐5806
MONEGLIA, DEBORAH A                  405 BANNOCKBURN AVE                                                                                                      AMBLER         PA    19002‐5806
MONEIQUE MITCHELL                    100 WOLVERINE TRL                                                                                                        LA VERGNE      TN    37086‐3811
MONEISHA JONES                       915 WESTFIELD RD APT 203                                                                                                 LANSING        MI    48917‐2368
MONEKI E RUSSELL                     1946 VAN WYE ST SE                                                                                                       WARREN         OH    44484
MONELCO LTD                          333 EUGENIE ST E                                                                                  WINDSOR ON N8X 2Y2
                                                                                                                                       CANADA
MONELL C PASCARELLA                  2737 ANDERSON‐MORRIS RD.                                                                                                 NILES          OH    44446‐4327
MONELL PASCARELLA                    2737 ANDERSON MORRIS RD                                                                                                  NILES          OH    44446‐4327
MONELL, KATHRYN A                    106 SAINT RITA DR                                                                                                        ROCHESTER      NY    14606‐3305
MONELL, NICHOLAS A                   8920 QUANDT AVE                                                                                                          ALLEN PARK     MI    48101‐1529
MONELL, NORMA                        114 OLD COUNTRY ROAD                                                                                                     ROCHESTER      NY    14612‐2976
MONEQUE RANDOLPH                     470L PRESCOTT AVE                                                                                                        DAYTON         OH    45406
MONER, JOHN M                        345 VALLEY BROOK OVAL                                                                                                    HINCKLEY       OH    44233‐9641
MONER, THOMAS                        PO BOX 13153                          HARPER STATION                                                                     DETROIT        MI    48213‐0153
MONESA BATSON                        2302 WINONA ST                                                                                                           FLINT          MI    48504‐7107
MONET JAMES (446451)                 BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD     OH    44067
                                                                           PROFESSIONAL BLDG
MONETA GIOVANNA                      LA SCALA                              STUDIO LEGALE E TRIBUTARIO       CORSO MAGENTA N 42         20123 MILANO ITALY
MONETARY MANAGEMENT CO               ASSIGNEE STONE TRUCK SERVICE          1018 STATE ROUTE 130                                                               JEANNETTE      PA    15644‐9602
MONETIZATION OF CARVE‐OUT, LLC       GENERAL COUNSEL'S OFFICE              200 PARK AVE.                                                                      NEW YORK       NY    10166
MONETIZATION OF CARVE‐OUT, LLC       ATTN: PRINCIPAL FINANCE OFFICER       300 RENAISSANCE CTR              MAIL CODE: 482‐C25‐D81                            DETROIT        MI    48265‐3000
MONETIZATION OF CARVE‐OUT, LLC       CHIEF EXECUTIVE OFFICE                1209 N ORANGE ST                 CORPORATION TRUST CENTER                          WILMINGTON     DE    19801‐1120

MONETIZATION OF CARVE‐OUT, LLC       ATTN: SWAPS DOCUMENTATION             5 THE NORTH COLONNADE            CANARY WHARF               LONDON E14 4BB GREAT
                                                                                                                                       BRITAIN
MONETIZATION OF CARVE‐OUT, LLC C/O   ATTN: SWAPS DOCUMENTATION             5 THE NORTH COLONNADE            CANARY WHARF               LONDON E14 4BB GREAT
GENERAL MOTORS CORPORATION                                                                                                             BRITAIN
MONETIZATION OF CARVEOUT LLC         INTERCOMPANY
MONETIZTION OF CARVE‐OUT, LLC        ATTN: SWAPS DOCUMENTATION             5 THE NORTH COLONNADE            CANARY WHARF               LONDON E14 4BB GREAT
                                                                                                                                       BRITAIN
MONETTA, JEFFREY M                   13504 S HORRELL RD                                                                                                       FENTON         MI 48430‐1013
MONETTA, JEFFREY MICHAEL             13504 S HORRELL RD                                                                                                       FENTON         MI 48430‐1013
MONETTE CHARLES (659567)             (NO OPPOSING COUNSEL)
MONETTE ROBINSON                     C/O KEYSTONE INDUSTRIES               616 HOLLYWOOD AVE                                                                  CHERRY HILL     NJ   08802
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Name                             Address1                         Address2                     Address3              Address4         City                 State Zip
MONETTE ROBINSON                 293 N HIGHLAND AVE                                                                                   MERION                PA 19066
MONETTE SINEGAL                  19001 CHANDLER PARK DR                                                                               DETROIT               MI 48236‐2125
MONETTE, CHARLES                 C/O BRAYTON PURCELL              PO BOX 6169                  222 RUSH LANDING RD                    NOVATO                CA 94948‐6169
MONETTE, CHERIE G                139 N CORBIN ST                                                                                      HOLLY                 MI 48442‐1432
MONETTE, CYNTHIA M               2670 HERSEY D WILSON DR                                                                              SHREVEPORT            LA 71107‐5926
MONETTE, DANIEL F                3029 CONCHO BEND DR                                                                                  WACO                  TX 76712‐8847
MONETTE, ESTHER M                6711 LIVE OAK RD                                                                                     INDIANAPOLIS          IN 46214
MONETTE, GREGORY E               7417 E HOUGHTON LAKE DR                                                                              HOUGHTON LAKE         MI 48629‐8323
MONETTE, JERRY J                 12908 GRENVILLE ST                                                                                   CARMEL                IN 46032‐7260
MONETTE, JOANN M                 2742 STENZEL AVE                                                                                     N TONAWANDA NY        NY 14120‐1008
MONETTE, KATHERINE J             4120 LAKE KNOLLS DR                                                                                  OXFORD                MI 48371‐5410
MONETTE, KENNETH F               19298 RAYMOND ST                                                                                     GROSSE POINTE         MI 48236‐1928
MONETTE, KENNETH FREDERICK       19298 RAYMOND ST                                                                                     GROSSE POINTE         MI 48236‐1928
MONETTE, MARK M                  11394 BAYBERRY DR                                                                                    ROSCOE                 IL 61073‐9105
MONETTE, MATTHEW J               317 EAST PARKER AVENUE                                                                               MADISON HTS           MI 48071‐2843
MONETTE, MATTHEW JAMES           317 EAST PARKER AVENUE                                                                               MADISON HTS           MI 48071‐2843
MONETTE, RAYMOND J               9346 MONICA DR                                                                                       DAVISON               MI 48423‐2865
MONETTE, RICHARD A               2742 STENZEL AVE                                                                                     N TONAWANDA           NY 14120‐1008
MONETTE, ROY J                   317 E PARKER AVE                                                                                     MADISON HEIGHTS       MI 48071‐2843
MONETTE, ROY J                   317 PARKER                                                                                           MAD HTS               MI 48071
MONETTI DANIELA                  VIA TORCONCA 1158                47842 SAN GIOVANNI IN M.NO   RIMINI
MONETTI, MARSHALL J              204 PARKHURST BLVD                                                                                   KENMORE              NY   14223‐2858
MONETTI, VIRGINIA                204 PARKHURST BLVD                                                                                   BUFFALO              NY   14223‐2858
MONEVA MCGAHA                    15 WALNUT HEIGHTS RD                                                                                 BEDFORD              IN   47421‐9122
MONEY CHEVROLET, INC.            221 W MAIN ST                                                                                        HILL CITY            KS   67642‐1925
MONEY CHEVROLET, INC.            MICHAEL MONEY                    221 W MAIN ST                                                       HILL CITY            KS   67642‐1925
MONEY HOMER CLAUDE SR (474130)   WEITZ & LUXENBERG                180 MAIDEN LANE                                                     NEW YORK             NY   10038
MONEY JR, JAY H                  98 E NEWPORT AVE                                                                                     PONTIAC              MI   48340‐1255
MONEY SAVER                      368 BOWENS MILL HWY                                                                                  FITZGERALD           GA   31750‐6952
MONEY SERVICE CENTER CASH        6140 UNIVERSITY DRIVE SUITE 5                                                                        HUNTSVILLE           AL   35806
CONNECTIONS
MONEY, BEVERLY S                 649 WOODCREST DR                                                                                     MANSFIELD            OH   44905‐2318
MONEY, CLYDE R                   G3362 HOGARTH AVE                                                                                    FLINT                MI   48532‐4811
MONEY, CLYDE R                   1713 BENNETT AVE                                                                                     FLINT                MI   48506‐3358
MONEY, DANIEL R                  PO BOX 316                                                                                           COMO                 CO   80432
MONEY, DEBRA S                   5114 W 11TH ST                                                                                       INDIANAPOLIS         IN   46224‐6912
MONEY, ELIZABETH C               5208 PADRE BLVD STE A                                                                                SOUTH PADRE ISLAND   TX   78597‐7526
MONEY, HOMER CLAUDE              WEITZ & LUXENBERG                180 MAIDEN LANE                                                     NEW YORK             NY   10038
MONEY, KEVIN T                   1872 MEADOWLARK LN                                                                                   NILES                OH   44446‐4133
MONEY, LARRY L                   PO BOX 486                                                                                           ARCADIA              IN   46030‐0486
MONEY, LAWRENCE G                803 GRANT ST                                                                                         PORT CLINTON         OH   43452‐2209
MONEY, MARY ANN                  98 E NEWPORT AVE                                                                                     PONTIAC              MI   48340‐1255
MONEY, NORA S                    616 CANDYWOOD DR                                                                                     VIENNA               OH   44473‐9505
MONEY, NORMA C                   5306 BRINSTED AVE                                                                                    WEST CARROLLTON      OH   45449‐2722
MONEY, PHYLLIS T                 130 MALAYON WAY                                                                                      LEESBURG             FL   34788
MONEY, ROY A                     176 MOCKINGBIRD LANE                                                                                 EAST BERNSTADT       KY   40729‐7417
MONEY, ROY D                     176 MOCKINGBIRD LN                                                                                   E BERNSTADT          KY   40729‐7417
MONEY, RUBEY                     224 FOREST AVE                                                                                       SO LEBANON           OH   45065‐5065
MONEY, RUBEY                     224 E FOREST AVE                                                                                     SOUTH LEBANON        OH   45065‐1312
MONEY, SHELBY                    PO BOX 2123                                                                                          MIDDLESBORO          KY   40965‐4123
MONEY, STEVEN E                  2125 WOODCREST CT                                                                                    INDIANAPOLIS         IN   46227‐4331
MONEY, VICTOR W                  PO BOX 121                                                                                           LINDEN               MI   48451‐0121
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Name                           Address1                           Address2                     Address3             Address4             City           State Zip
MONEY‐MEDIA INC                1430 BROADWAY RM 1208                                                                                     NEW YORK        NY 10018‐3384
MONEYBRAKE, STEVE              11610 ORCHARD PARK DR                                                                                     SPARTA          MI 49345‐9552
MONEYHUN, DAVID R              300 N BARCLAY ST TRLR 18                                                                                  FAIRMOUNT       IN 46928‐1240
MONEYHUN, PHYLLIS A            4219 HAVERHILL DRIVE                                                                                      ANDERSON        IN 46013‐4363
MONEYHUN, RICHARD              229 TAYLOR ST                                                                                             PENDLETON       IN 46064‐1140
MONEYHUN, RICHARD A            229 TAYLOR ST                                                                                             PENDLETON       IN 46064‐1140
MONEYHUN, STEPHANIE
MONEYMAKER, LEONARD J          10529 FERGUS AVE                                                                                          CARMEL         IN   46032‐9262
MONEYMAKER, MATTHEW J          1053 ROWE RD                                                                                              MILFORD        MI   48380‐2523
MONEYMAKER, PATRICIA           489 N LINCOLN ST                                                                                          MARTINSVILLE   IN   46151‐1147
MONEYPENNY THOMAS L (463855)   ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                             BALTIMORE      MD   21202
                                                                  CHARLES CENTER 22ND FLOOR
MONEYPENNY, CHARLES            437 PENROY LN                                                                                             HORIZON CITY   TX   79928‐7205
MONEYPENNY, LARRY H            4932 STROUPS HICKOX RD                                                                                    W FARMINGTON   OH   44491‐9757
MONEYPENNY, LEONA H            5740 EMERSON AVE. N.W.                                                                                    WARREN         OH   44483‐1120
MONEYPENNY, NANCY              662 EASTLAND AVE                                                                                          AKRON          OH   44305‐1822
MONEYPENNY, RUSSELL H          1327 WESTWOOD DR NW                                                                                       WARREN         OH   44485‐1981
MONEYPENNY, THOMAS L           ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                              BALTIMORE      MD   21202
                                                                  CHARLES CENTER 22ND FLOOR
MONFORD SPRONG JR              3288 WESTPOINTE DR                                                                                        FRANKLIN       IN   46131‐9836
MONFORD, CHARLES P             3011 COSTELLO AVE                                                                                         CINCINNATI     OH   45211‐7505
MONFORD, MICHAEL T             3212 CHURCHILL ST                                                                                         PEARLAND       TX   77581‐4807
MONFORD, SANDRA L              PO BOX 24821                                                                                              DETROIT        MI   48224‐0821
MONFREDO, JOSEPH A             629 N WOODWARD DR                                                                                         BALTIMORE      MD   21221‐4838
MONFREDO, JOSEPH ANGELO        629 N WOODWARD DR                                                                                         BALTIMORE      MD   21221‐4838
MONFRONI FARA MARIA            LA SCALA                           STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
MONG, ANTHONY R                4496 E DAYHUFF RD                                                                                         MOORESVILLE    IN   46158‐6714
MONG, GREG N                   5839 BRADFORD CT                                                                                          EAST AMHERST   NY   14051‐2515
MONG, GREGORY J                2601 NILES VIENNA RD                                                                                      NILES          OH   44446‐4403
MONG, JOSEPH R                 152 CEARFOSS AVE                                                                                          MARTINSBURG    WV   25404‐3891
MONG, JUNE A                   5532 LIME RD                       C/O DONNA J DALENBERG                                                  GALION         OH   44833‐9558
MONG, WILLIAM E                332 SHELBOURNE LOOP                                                                                       KISSIMMEE      FL   34759‐3609
MONGA, HARDEEP S               493 WIDGEON LN                                                                                            BLOOMINGDALE   IL   60108‐5416
MONGE, JOHN                    6028 ASHLEY LYNN LANE                                                                                     SHREVEPORT     LA   71129
MONGE, JOHN A                  2129 MILLSIDE DR                                                                                          LOUISVILLE     KY   40223‐1075
MONGE, JOSEPH                  9041 MANSFIELD RD APT 1904                                                                                SHREVEPORT     LA   71118‐2638
MONGE, LUIS O                  PO BOX 9022                                                                                               WARREN         MI   48090‐9022
MONGELLI MICHAEL (451446)      WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                                        NEW YORK       NY   10038
MONGELLI, LEE M                200 WYNNWOOD LN E                                                                                         EASTON         PA   18040‐8453
MONGELLI, MICHAEL              WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                                        NEW YORK       NY   10038
MONGELLO, LILLIE R             5639 BERGAMOT CT                                                                                          NAPERVILLE     IL   60564‐4961
MONGELLO, PETER                DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                       RIVERDALE      NY   10463
MONGELLUZZO JAMES L            C/O GOLDBERG PERSKY & WHITE PC     1030 FIFTH AVE                                                         PITTSBURGH     PA   15219
MONGELLUZZO, JOSEPH A          ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                              BALTIMORE      MD   21202
                                                                  CHARLES CENTER 22ND FLOOR
MONGENE SR, CLIFFORD J         4730 FOX LAKE RD                                                                                          GOODRICH       MI   48438‐9641
MONGENE, DOROTHY L             220 W CORNELL AVE                                                                                         PONTIAC        MI   48340‐2724
MONGENE, JAMES M.              106 COVAL CT                                                                                              FOLSOM         CA   95630‐5237
MONGEON, BARRY R               4810 GARY RD                                                                                              CHESANING      MI   48616‐8440
MONGEON, BARRY RONALD          4810 GARY RD                                                                                              CHESANING      MI   48616‐8440
MONGEON, DOROTHY S             10492 WILSON RD                                                                                           MONTROSE       MI   48457‐9177
MONGEON, ELIZABETH A           522 SAGINAW ST                                                                                            HARRISON       MI   48625‐9262
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Name                       Address1                            Address2          Address3       Address4              City             State Zip
MONGEON, PEARL             PO BOX 124                                                                                 CONSTABLE         NY 12926‐0124
MONGEON, VIRGINIA          354 TORCON DR                                                                              TORRINGTON        CT 06790‐5860
MONGER JR, ASHBY W         2‐407 NORTH PIPER ROAD                                                                     ASH GROVE         MO 65604
MONGER WOODS               8616 KENBERTON DR                                                                          OAK PARK          MI 48237‐1733
MONGER, EMILY RAE          850 ALLES DRIVE SOUTHWEST                                                                  BYRON CENTER      MI 49315‐8836
MONGER, MARK W             1191 EAST MARCELLA LANE                                                                    GILBERT           AZ 85295‐1762
MONGER, MARK W             850 ALLES DR SW                                                                            BYRON CENTER      MI 49315‐8835
MONGER, MARK W             1191 E MARCELLA LN                                                                         GILBERT           AZ 85295‐1762
MONGER, NANCY A            1001 ELYSIAN PL APT 215                                                                    CHESAPEAKE        VA 23320‐2994
MONGIA, HUKAM C            3620 WAKEFIELD DR                                                                          WEST LAFAYETTE    IN 47906
MONGIAT JR, EDWARD A       107 HAYDEN ROWE ST                                                                         HOPKINTON         MA 01748‐2507
MONGIELO, DAVID S          5306 ERNEST RD                                                                             LOCKPORT          NY 14094‐5414
MONGILLO, MICHAEL J        9302 SHEPPARTON DR                                                                         HUNTERSVILLE      NC 28078‐9330
MONGO, TERRY L             6321 EDMUND STREET                                                                         ROMULUS           MI 48174‐4411
MONGOLD, BRADY D           19735 MARIGOLD DR                                                                          HAGERSTOWN        MD 21742‐5513
MONGOLD, MARTHA J          19735 MARIGOLD DR                                                                          HAGERSTOWN        MD 21742‐5513
MONGOLD, MARTHA JO         19735 MARIGOLD DR                                                                          HAGERSTOWN        MD 21742‐5513
MONGONI CARMINE            WEITZ & LUXENBERG                   180 MAIDEN LANE                                        NEW YORK          NY 10038
MONGONI, CARMINE           WEITZ & LUXENBERG                   180 MAIDEN LANE                                        NEW YORK          NY 10038
MONGOSA JR, NATHANIEL P    2236 S 300 W                                                                               PERU              IN 46970‐3171
MONGOSA, JACOB L           561 SOUTH BROADWAY                                                                         PERU              IN 46970‐2832
MONGRAIN, DONALD M         9357 CHAMBERLAIN ST                                                                        ROMULUS           MI 48174‐1537
MONGRAIN, JOYCE C          9357 CHAMBERLAIN ST                                                                        ROMULUS           MI 48174‐1537
MONHART, ROSEMARY P        21258 W REDWOOD DR                                                                         PLAINFIELD         IL 60544‐6469
MONHOLLEN, ALBERT E        PO BOX 247                                                                                 EMLYN             KY 40730‐0247
MONHOLLEN, ARNOLD          1846 MICHIGAN BLVD                                                                         LINCOLN PARK      MI 48146‐3926
MONHOLLEN, CHARLES E       5070 RHUDE LN                                                                              MORROW            OH 45152‐9702
MONHOLLEN, ELIZABETH M     8518 MIMI                                                                                  NEWPORT           MI 48166‐9269
MONHOLLEN, FRED R          5159 NOLAND DRIVE                                                                          TECUMSEH          MI 49286‐9582
MONHOLLEN, GEORGE          7830 STATE ROUTE 201                                                                       TIPP CITY         OH 45371‐8701
MONHOLLEN, JERRY C         560 BASIL ST                                                                               SPRINGBORO        OH 45066‐1004
MONHOLLEN, JERRY C         560 BASIL ST.                                                                              SPRINGBORO        OH 45066‐1004
MONHOLLEN, JOSEPH M        231 COX RD                                                                                 WILLIAMSBURG      KY 40769‐9417
MONHOLLEN, KENNETH R       BOX 3567 #9 RD                                                                             BLANCHESTER       OH 45107
MONHOLLEN, LYNN            3760 ELECTRIC AVE                                                                          LINCOLN PARK      MI 48146‐4344
MONHOLLEN, MARY E          4162 ROUTT LN                                                                              FRANKLIN          OH 45005‐4648
MONHOLLEN, MARY E          4162 ROUTT LANE                                                                            FRANKLIN          OH 45005‐4648
MONHOLLEN, NANCY G         297 HAMBLIN HOLLOW RD.                                                                     WILLIAMSBURG      KY 40769‐0769
MONHOLLEN, ROY C           19 KENDRAH LN                                                                              CORBIN            KY 40701‐8702
MONHOLLEN, RUTH            5159 NOLAND DR                                                                             TECUMSCH          MI 49286
MONIA BALDINI              VIA TONIOLO 15 BIS                  54033             CARRARA        ITALIA                CARRARA                54033
MONIA BALDINI              VIA TONIOLO 15 BIS                                                   54033 CARRARA ITALY
MONICA A BOYD              1751 TOWNE CROSSING BLVD APT 2205                                                          MANSFIELD        TX   76063‐3991
MONICA A BRYANT            428 BURMAN AVE 428                                                                         DAYTON           OH   45426
MONICA A ELLIOTT           1403 S FAYETTE ST                                                                          SAGINAW          MI   48602‐1356
MONICA A KNUCKLES          11080 W 350 N                                                                              KOKOMO           IN   46901‐8902
MONICA A MIMS‐WASHINGTON   67 SILVER BLUFF DR                                                                         BRUNSWICK        GA   31523
MONICA A RUSSELL           14062 DRURY CT                                                                             GRANDVIEW        MO   64030‐3944
MONICA A SCHJOTT
MONICA B SOUZA             18700 YORBA LINDA BLVD APT 47                                                              YORBA LINDA      CA 92886‐‐ 41
MONICA BANKS               6804 CROMWELL STREET                                                                       PORTAGE          MI 49024‐3419
MONICA BEASLEY             2632 OAK FOREST DR                                                                         ANTIOCH          TN 37013‐1852
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Name                                  Address1                             Address2         Address3      Address4               City                 State Zip
MONICA BELLINVIA                      VIA MONTE AMIATA 3                                                  20149 MILANO ITALY
MONICA BELLINVIA                      VIA MONTE AMIATA 3                   20149 MILANO
MONICA BIRDSONG                       520 BERTHA DR                                                                              FARWELL              MI    48622‐9303
MONICA BOKESCH                        4007 VIA CASSIA                                                                            POLAND               OH    44514‐5360
MONICA BOYD                           1751 TOWNE CROSSING BLVD APT 2205                                                          MANSFIELD            TX    76063‐3991
MONICA BOYER                          129 ALLEN ST                                                                               LANSING              MI    48912‐2706
MONICA BRADFORD                       17280 EDWARDS AVE                                                                          SOUTHFIELD           MI    48076‐2052
MONICA BRAUN                          57 MEADOWLARK LN                                                                           HUDSON               WI    54016‐7797
MONICA BROWN                          7137 GRANADA DRIVE                                                                         FLINT                MI    48532‐3025
MONICA BROWN                          178 BROOK DR                                                                               BROOKFIELD           OH    44403‐9638
MONICA BUTLER                         C/O SAVILLE & FLINT L L C            322 E BROADWAY   PO BOX 602                           ALTON                IL    62002
MONICA C MEYERS                       1636 BEAVER RIDGE DR.                                                                      KETTERING            OH    45429‐4008
MONICA C WOOFTER                      3499 BRADLEY‐BROWNLEE                                                                      CORTLAND             OH    44410‐8735
MONICA CAVA                           34724 BERNARD RD                                                                           TRACY                CA    95377‐9356
MONICA CHAMBERLIN                     8037 ARCADIAN CT                                                                           MOUNT DORA           FL    32757‐9123
MONICA CHILDERS                       310 GRANGER RD                                                                             ORTONVILLE           MI    48462‐8632
MONICA CHOATE                         8750 DUNCAN RD                                                                             CLARE                MI    48617‐9102
MONICA CHURCHILL                      4318 WALWORTH ONTARIO RD                                                                   WALWORTH             NY    14568‐9210
MONICA COON                           2276 NICKELBY DR                                                                           SHELBY TWP           MI    48316‐5562
MONICA CORDONNIER                     3510 LINWOOD AVE                                                                           ROYAL OAK            MI    48073‐2352
MONICA COY                            40462 CINNAMON CIR                                                                         CANTON               MI    48187‐4588
MONICA D MOON                         3543 W HILLCREST AVE                                                                       DAYTON               OH    45406
MONICA D NASSER                       315 W 2ND AVE                                                                              FLINT                MI    48503‐2540
MONICA DAVIS                          7301 E GAY VIEW LN                                                                         SELMA                IN    47383‐9737
MONICA DEGRAFFENREID                  1772 BRISTOL DR                                                                            MILFORD              MI    48380‐2032
MONICA DELONEY                        5875 ANDORRA DRIVE                   C4                                                    WILLIAMSBURG         MI    49690
MONICA DENIS                          8153 STAGHORN TRL                                                                          CLARKSTON            MI    48348‐4570
MONICA DHANHOA                        5849 COLLEEN DR                                                                            TROY                 MI    48085‐3989
MONICA DIANE SAWYER                   7220 SUNSHINE DRIVE                                                                        ST PETERSBURG        FL    33705
MONICA DUMAS                          344 SARATOGA AVE                                                                           BROOKLYN             NY    11233
MONICA DYKAS                          316 S 1ST ST                                                                               BRIGHTON             MI    48116‐1464
MONICA EMBRY                          1038 E GRAND BLVD                                                                          FLINT                MI    48505‐1506
MONICA EVETT WILLIAMS                 828 DOW ST                                                                                 DAYTON               OH    45407‐1905
MONICA F MEALING                      9649 OZGA ST                                                                               ROMULUS              MI    48174‐1337
MONICA F SPRAGUE                      5589 AMY BOYLE RD NE                                                                       BROOKFIELD           OH    44403
MONICA FERRI                          22621 CASS RIVER DR                                                                        MACOMB               MI    48042‐4663
MONICA FRANZ                          763 RED RIVER WEST GROVE RD                                                                LAURA                OH    45337‐9612
MONICA FREGNI                         VIA PICELLI 19                                                      41043 FORMIGINE (MO)
                                                                                                          ITALY
MONICA GALBRAITH                      344 BIMINI CAY CIR                                                                         VERO BEACH            FL 32966‐7139
MONICA GARCIA, BOARD PRESIDENT, LOS   333 SOUTH BEAUDRY AVE., 24TH FLOOR                                                         LOS ANGELES           CA 90017
ANGELES UNIFIED SCHOOL DISTRICT

MONICA GEBROWSKY                      920 W HACKLEY AVE                                                                          MUSKEGON             MI    49441‐3014
MONICA GIROU                          2920 WESTWOOD DR                                                                           BAY CITY             MI    48706‐1544
MONICA GOLDSMITH                      3512 S MURRAY RD                                                                           JANESVILLE           WI    53548‐9251
MONICA GROMASKI                       1730 KACZMAREK DR                                                                          ESSEXVILLE           MI    48732‐9721
MONICA GUPTA                          993 MAIDSTONE DR                                                                           ROCHESTER HILLS      MI    48307‐4290
MONICA GUTHRIDGE                      51 GERTRUDE AVE                                                                            BOARDMAN             OH    44512‐2905
MONICA HAINES                         7977 STAUNING COVE                                                                         COTTONWOOD HEIGHTS   UT    84121
MONICA HALEY                          PO BOX 2                                                                                   SOUTHINGTON          OH    44470‐0002
MONICA HARRISON                       2285 JOANN DR                                                                              SPRING HILL          TN    37174‐9275
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Name                      Address1                       Address2                     Address3    Address4               City           State Zip
MONICA HAUSNER            2071 TUCKER DR                                                                                 TROY            MI 48085‐4020
MONICA HILL               PO BOX 1230                                                                                    BROWNSBURG      IN 46112‐5230
MONICA HOENER             1735 LITTLE BAY RD                                                                             HERMANN         MO 65041‐4820
MONICA HOUSE              324 KINNEY AVE NW                                                                              GRAND RAPIDS    MI 49534‐5705
MONICA HUGHEY             1708 MICHIGAN AVE                                                                              BAY CITY        MI 48708‐4914
MONICA INGRAM             24230 CONDON ST                                                                                OAK PARK        MI 48237‐1610
MONICA INTIHAR            16 LEXINGTON CT # A                                                                            LOCKPORT        NY 14094‐5365
MONICA ISOM               1155 ORLO DR NW                                                                                WARREN          OH 44485
MONICA J JONES            417 TONY DR                                                                                    SHREVEPORT      LA 71106‐7532
MONICA J TISSUE‐DAWS      322 N LINCOLN ST               PO BOX 37                                                       STANTON         MI 48888‐9384
MONICA J WILLIAMS         21402 LAHSER RD                                                                                SOUTHFIELD      MI 48033‐4404
MONICA JARVIS             3751 23 MILE RD                                                                                SHELBY TWP      MI 48316‐4001
MONICA JOHNS              5055 REVOLUTIONARY PATH                                                                        LIVERPOOL       NY 13088‐5951
MONICA JOHNSON            9315 PANAMA AVE                                                                                YPSILANTI       MI 48198‐3231
MONICA JONES              7054 LAKEVIEW BLVD APT 22210                                                                   WESTLAND        MI 48185‐6645
MONICA JONES              417 TONY DR                                                                                    SHREVEPORT      LA 71106‐7532
MONICA JONES              939 HIGHWAY 136                                                                                STERLINGTON     LA 71280‐3114
MONICA JORDAN             4012 N TAYLOR AVE                                                                              SAINT LOUIS     MO 63115‐2438
MONICA K BROWN            13335 LAKE POINT BLVD                                                                          BELLEVILLE      MI 48111‐2288
MONICA KANEWISCHER        2002 LAVENDER CT                                                                               SPRING HILL     TN 37174‐4556
MONICA KASTEL             5031 RODESILER HWY                                                                             BLISSFIELD      MI 49228‐9513
MONICA KATT               3784 PATTERSON RD                                                                              BAY CITY        MI 48706‐1965
MONICA KENNY              2445 E HANCOCK TRL                                                                             CASA GRANDE     AZ 85294‐9672
MONICA KNUCKLES           11080 W 350 N                                                                                  KOKOMO          IN 46901‐8902
MONICA KRAML              6202 BUSHNELL CAMPBELL RD                                                                      KINSMAN         OH 44428
MONICA KRAWCZYK           6661 BURNLY ST                                                                                 GARDEN CITY     MI 48135‐2037
MONICA KUBIK              PO BOX 29                                                                                      OOLTEWAH        TN 37363‐0029
MONICA L CLAYTOR          5128 EMBASSY PLACE                                                                             DAYTON          OH 45414‐3704
MONICA L DOBBS‐FAULKNER   4138 RUSH BLVD                                                                                 YOUNGSTOWN      OH 44512‐1235
MONICA L GOODLOE          4311 DROWFIELD DR.                                                                             TROTWOOD        OH 45426
MONICA L LYGHT            7605 WOODWARD AVE                                                                              DETROIT         MI 48202‐2808
MONICA L LYNCH            18133 HERRING RD                                                                               SIDNEY          OH 45365
MONICA L RAGLAND          4710 SEVEN SPRINGS RD                                                                          RAYMOND         MS 39154
MONICA L WILLIAMS         402 WHISPERWOOD DR                                                                             ENGLEWOOD       OH 45322‐1446
MONICA LETT               APT D                          3779 PLANE TREE DRIVE EAST                                      COLUMBUS        OH 43228‐3772
MONICA LINKE              SPREESTR 5                                                              03096 BURG‐SPREEWALD
                                                                                                  GERMANY
MONICA LIONELLO           VIA RIZZO, 282                 VILLADOSE                                                       ROVIGO              45010
MONICA LIONELLO           ATTILIO AURELIO RIZZO          N. 282                       VILLADOSE                          ROVIGO              45010
MONICA LUPLOW             2414 PEALE DR                                                                                  SAGINAW        MI   48602‐3464
MONICA LYNCH              18133 HERRING RD                                                                               SIDNEY         OH   45365‐8519
MONICA M CHAMBERS         303 CARTERS GROVE RD.                                                                          CENTERVILLE    OH   45459
MONICA M DAVIDSON         1708 DEWITT DR                                                                                 DAYTON         OH   45406
MONICA M DOSS             PO BOX 320722                                                                                  FLINT          MI   48532‐0013
MONICA M MILLER           2284 MAIN ST APT 6                                                                             HOLT           MI   48842‐1037
MONICA M PARKER           4600 BRITTON RD LOT 203                                                                        PERRY          MI   48872‐9721
MONICA MADDEN             2330 CHERRY TREE LN                                                                            GRAND BLANC    MI   48439‐2536
MONICA MARKIEWICZ         7036 CARDWELL ST                                                                               GARDEN CITY    MI   48135‐2242
MONICA MASTROSIMONE       120C WESTVIEW COMMONS BLVD                                                                     ROCHESTER      NY   14624‐5905
MONICA MEALING            9649 OZGA ST                                                                                   ROMULUS        MI   48174‐1337
MONICA MEHLING            1108 NORTHFIELD LN                                                                             ANDERSON       IN   46011‐9528
MONICA MIETUS             148 NORTHCREST AVE                                                                             CHEEKTOWAGA    NY   14225‐3434
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Name                                 Address1                              Address2                        Address3              Address4         City              State Zip
MONICA MILLER                        APT 6                                 2284 MAIN STREET                                                       HOLT               MI 48842‐1037
MONICA MITCHELL                      PO BOX 1180                                                                                                  FLINT              MI 48501‐1180
MONICA MORGAN PHOTOGRAPHY            500 RIVER PLACE DR APT 5109                                                                                  DETROIT            MI 48207‐5046
MONICA MOSKATOW                      20440 SAINT LAURENCE DR                                                                                      CLINTON TWP        MI 48038‐4494
MONICA MUNIZ                         1525 OHIO AVE                                                                                                LORAIN             OH 44052‐2847
MONICA MURPHY                        14625 BALTIMORE AVE                   #273                                                                   LAUREL             MD 20707
MONICA MUSURA                        5517 EASTMAN DR                                                                                              LORAIN             OH 44053‐2126
MONICA N CAMP                        522 TIFFIN PL                                                                                                DAYTON             OH 45404‐1049
MONICA N DEWEESE                     PO BOX 231                                                                                                   SYRACUSE           NY 13211‐0231
MONICA NASSER                        315 W 2ND AVE                                                                                                FLINT              MI 48503‐2540
MONICA NAVARRO                       811 DARBY BLVD, APT 1203                                                                                     SAN ANTONIO        TX 78207
MONICA NIXON                         3216 CLAPHAM RD                                                                                              ANTIOCH            TN 37013‐1886
MONICA O LLAMAS, IND & ANF OF GERALD KARLA LORENA & DANIEL LLAMAS EST OF   C/O GONZALEZ & ASSOCIATES LAW   817 E ESPERANZA AVE                    MCALLEN            TX 78501
DANIEL,                              G LLAMAS                              FIRM, LTD
MONICA OSTRAM                        3221 MILLS ACRES ST                                                                                          FLINT             MI   48506‐2130
MONICA PARKER                        4600 BRITTON RD LOT 203                                                                                      PERRY             MI   48872‐9721
MONICA PHILLIPS                      803 SECOR ROAD                                                                                               TOLEDO            OH   43607‐2858
MONICA PICKENS                       730 LILAC DR                                                                                                 FLORISSANT        MO   63031‐3120
MONICA PITTER                        756 CARLISLE CLUB DR                                                                                         STONE MTN         GA   30083‐4708
MONICA POINTER                       5504 MENDEL BERGER DR                                                                                        FLINT             MI   48505‐1042
MONICA POSTL                         4419 AUBURN DR                                                                                               ROYAL OAK         MI   48073‐6347
MONICA PRUETT                        46102 MEADOWVIEW DR                                                                                          SHELBY TOWNSHIP   MI   48317‐4142
MONICA R BAILEY                      3072 PIEDMONT AVE.                                                                                           DAYTON            OH   45416
MONICA R BOYD                        914 NORTHWOOD DR                                                                                             EFFINGHAM         IL   62401
MONICA R MACK                        3605 GREENVIEW                                                                                               MIDDLETOWN        OH   45044‐6505
MONICA R MAKAR                       2000 MAIDSTONE DR APT 30                                                                                     BOILING SPRINGS   SC   29316
MONICA R MCKINNEY                    1303 OAKRIDGE DRIVE                                                                                          DAYTON            OH   45417
MONICA R MITCHELL                    PO BOX 1180                                                                                                  FLINT             MI   48501‐1180
MONICA REYNOLDS                      9511 MALBIS LN                                                                                               DAPHNE            AL   36526‐8557
MONICA RIGHI                         VIA ZANFI 4                           41100 MODENA                    ITALY
MONICA ROBINSON                      709 VICTORIA AVE                                                                                             FLINT             MI   48507‐1732
MONICA ROGALSKI                      2520 LAKE MICHIGAN DRIVE NW           APT 310                                                                GRAND RAPIDS      MI   49504
MONICA ROGERS                        1921 GOLDEN PL                                                                                               COLUMBIA          TN   38401‐6857
MONICA RUSSELL                       14062 DRURY CT                                                                                               GRANDVIEW         MO   64030‐3944
MONICA S BENTON                      1287 E DOWNEY AVE                                                                                            FLINT             MI   48505‐1709
MONICA S REEVES                      717 LAKEWOOD DR NE                                                                                           BROOKHAVEN        MS   39601
MONICA SCHAEFFER                     1096 SAYLE ST                                                                                                THE VILLAGES      FL   32162‐3792
MONICA SHEPARD                       1095 WOODNOLL DR                                                                                             FLINT             MI   48507‐4711
MONICA SKRZYPEK                      3115 PEACHTREE CIR                                                                                           DAVIE             FL   33328‐6706
MONICA SMITH                         13056 N SAGINAW RD                                                                                           CLIO              MI   48420‐1058
MONICA STINSON                       5108 KENNINGTON LN                                                                                           OKLAHOMA CITY     OK   73150‐4410
MONICA SWART                         1496 15TH ST                                                                                                 WYANDOTTE         MI   48192‐3343
MONICA TATE                          15001 CAROL DR                                                                                               MAPLE HEIGHTS     OH   44137‐4410
MONICA TIERNEY                       28551 RILEY ROAD                                                                                             NORTH LIBERTY     IN   46554‐9716
MONICA TOMICKI                       1529 IVY LN                                                                                                  MANISTEE          MI   49660‐1028
MONICA TRIERWEILER                   12550 W PRATT RD                                                                                             WESTPHALIA        MI   48894‐9754
MONICA TROSHAK                       2893 OHANLON CT                                                                                              WILLIAMSTON       MI   48895‐9106
MONICA TURPEN                        5556 STATE ROAD 37                                                                                           MITCHELL          IN   47446‐5376
MONICA VAUGHN                        6453 ANCROFT DR                                                                                              CLARKSTON         MI   48346‐4711
MONICA VEGA                          12384 S STRAWTOWN PIKE                                                                                       KOKOMO            IN   46901‐7553
MONICA WALLACE                       112 GRAND CANAL DR                                                                                           KISSIMMEE         FL   34759‐4341
MONICA WALUZAK                       5605 STEWART RD                                                                                              LAPEER            MI   48446‐9778
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Name                        Address1                             Address2                      Address3   Address4                 City               State Zip
MONICA WANKOW               425 NEW MARKET RD                                                                                      PISCATAWAY          NJ 08854‐1465
MONICA WARD                 303 DEEPWOOD LN                                                                                        AMHERST             OH 44001‐1914
MONICA WEBER                344 NW MELROSE ST                                                                                      SUBLIMITY           OR 97385‐6801
MONICA WILLIAMS             21402 LAHSER RD                                                                                        SOUTHFIELD          MI 48033‐4404
MONICA WINEMILLER           3811 WINGTIP COURT                                                                                     LAKE ORION          MI 48360‐2503
MONICA XIA                  4790 AVEBURY CT                                                                                        COLUMBUS            OH 43220‐3202
MONICA Y NELSON             1065 ABERCORN DR SW                                                                                    ATLANTA             GA 30331
MONICA YETTER               402 WEST 16TH STREET                                                                                   TRAVERSE CITY       MI 49684‐4124
MONICA YVETTE GEORGE        217 OUTER BELLE RD D                                                                                   DAYTON              OH 45426
MONICA'S DAYCARE            1034 E HOLLAND AVE                                                                                     SAGINAW             MI 48601‐2626
MONICA, ELMER C             26825 NELLIS RD                                                                                        EVANS MILLS         NY 13637‐3152
MONICA, JOAN                1234 COUNTY ROUTE 85                                                                                   HANNIBAL            NY 13074
MONICA, LAWRENCE ELWOOD     278 E ORVIS ST                                                                                         MASSENA             NY 13662
MONICA, STEWART E           1724 PIN OAK TRAIL                                                                                     MANSFIELD           OH 44906‐3659
MONICAL, JAMES F            639 INDIANAPOLIS RD                                                                                    MOORESVILLE         IN 46158‐1151
MONICATTI PAUL F            1301 W LONG LAKE RD STE 135                                                                            TROY                MI 48098‐6336
MONICO CASTILLO             THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                       HOUSTON             TX 77017
MONICO GARCIA               THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                       HOUSTON             TX 77017
MONICO GODINA               3006 CARLA DR                                                                                          SAGINAW             MI 48604‐1730
MONICO PAVICH & SPEVACK     20 S CLARK ST STE 700                                                                                  CHICAGO              IL 60603‐1894
MONICO, MERCEDES G          P O BOX 14                                                                                             W WARDSBORO         VT 05360‐0014
MONICO, MERCEDES G          PO BOX 14                                                                                              W WARDSBORO         VT 05360‐0014
MONID BURL MEARNS           WEITZ & LUXENBERG PC                 700 BROADWAY                                                      NEW YORK CITY       NY 10003
MONIE FUNCK                 5311 WESTVIEW RD                                                                                       CLARKSTON           MI 48346‐4166
MONIE SHAFER                7150 WEST JENNINGS ROAD                                                                                LAKE CITY           MI 49651‐9055
MONIE V MACCABEE            505 COLINGTON DR                                                                                       KILL DEVIL HILLS    NC 27948‐9570
MONIEM EL‐KHATIB ADVOCATE   FLAT 64 KENSINGTON W                 BLYTHE RD                                LONDON ENGLAND W14
                                                                                                          OJQ GREAT BRITAIN
MONIES, CAROLYN L           304 RALEIGH RD                                                                                         JACKSONVILLE       FL    32225‐6557
MONIFA A PORTER             4101 SILVER OAK ST.                                                                                    RIVERSIDE          OH    45424‐4823
MONIFA S SEAWELL            56 W BETHUNE ST                                                                                        DETROIT            MI    48202‐2707
MONIGOLD LARRY              2048 NORTH AVE 1                                                                                       TRAVERSE CITY      MI    49686
MONIKA & ALFRED CLASSEN     SAAMBERG 17                                                                   45481 MULHEIM GERMANY
MONIKA CONRAD BILLROTH      BURGSRASSE 19/2/7                                                             A 3400 KLOSTERNEUBURG
                                                                                                          AUSTRIA
MONIKA DOHR                 IM BAND 16                                                                    MENDIG 56743 GERMANY
MONIKA EICHMANN             WIESELHOF 15                                                                  D 29525 VELZAN GERMANY
MONIKA FLAMM                WEIMARER STR 15                                                               WIESBADEN GERMANY D
                                                                                                          65191
MONIKA FORCH                JOHANNISTHALER CHAUSSEE 213                                                                            BERLIN                   12351
MONIKA FRANK GEB KNIPPS     FASANENWEG 8                                                                  74538 ROSENGARTEN
                                                                                                          GERMANY
MONIKA FREUDENTHALER        LICHTENAUERWEG 17                                                                                      HAMBURG                  21075
MONIKA FRY                  125 RENFREW AVE                                                                                        MOUNT MORRIS        MI   48458‐8895
MONIKA G FRY                7216 LEAF CIRCLE WHITE OAK ESTATES                                                                     MOUNT MORRIS        MI   48458
MONIKA HAKIM                36635 KENNETH CT                                                                                       STERLING HTS        MI   48312‐3157
MONIKA KEALY                8741 TRENTON DR                                                                                        WHITE LAKE          MI   48386‐4378
MONIKA KOSCHNITZKI          BEETHOVENSTRASSE 10                                                           07629 HERMSDORF/BRD
                                                                                                          GERMANY
MONIKA MCKAY‐POLLY          26671 W HILLS DR                                                                                       INKSTER            MI 48141‐1807
MONIKA MCRAE                1209 CASA LN                                                                                           VENUS              TX 76084‐3836
MONIKA MINARCIN             20650 NORTHVILLE PLACE DR APT 1905                                                                     NORTHVILLE         MI 48167‐2937
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Name                          Address1                        Address2            Address3         Address4                City                  State Zip
MONIKA P KLEIN                IM ROETEL 10 A                                                       CH‐6300 ZUG
                                                                                                   SWITZERLAND
MONIKA RACKAUSKAS             2901 KENSINGTON AVE                                                                          WESTCHESTER            IL   60154‐5134
MONIKA RITTER                 AN DER AU 7                                                          83324 RUHPOLDING
                                                                                                   GERMANY
MONIKA RITTER                 AN DER AU 7                     83324 RUHPOLDING    GERMANY
MONIKA SCHILLO‐ADOLPH         UNTERER FRIEDHOFSWEG 20                                              66538 NEUNKIRCHEN
                                                                                                   GERMANY
MONIKA SCHILLO‐ADOLPH         UNTERER FRIEDHOFSWEG 20         66538 NEUNKIRCHEN
MONIKA SCHINDLER              GRUENINGER STR. 66                                                   70599 STUTTGART
                                                                                                   GERMANY
MONIKA SCHUSTER               WACKERSBERGER STR 70                                                 81371 M▄NCHEN
                                                                                                   GERMANY
MONIKA UND ALFRED CLASSEN     SAARNBERG 17                                                                                 MUELHEIM/RUHR               45481
MONIKA UNZENS                 12435 MCMURTY DR                                                                             SAND LAKE             MI    49343‐9438
MONIKA VACLAV                 3752 LAKE FOREST DR                                                                          STERLING HEIGHTS      MI    48314‐4313
MONIN, JOSEPH                 116 CROSBY AVE                                                                               KENMORE               NY    14217‐2454
MONIN, ROBERT L               5256 W 250 N                                                                                 MARION                IN    46952‐6796
MONINA NELSON                 17209 FIELDING ST                                                                            DETROIT               MI    48219‐4723
MONIQUE A SORRELLS            153 ANNA ST                                                                                  DAYTON                OH    45417
MONIQUE A WHITFIELD‐SIMMONS   16250 CRESCENT DRIVE                                                                         SOUTHFIELD            MI    48076
MONIQUE ANDERSON              PO BOX 799                                                                                   FAIRFIELD             AL    35064‐0799
MONIQUE BRENTLEY              460 W. CANFIELD                 LOFT 106                                                     DETROIT               MI    48201
MONIQUE CONWAY                569 CALDER AVE                                                                               YPSILANTI             MI    48198‐6189
MONIQUE CUNNINGHAM            19976 STRATHMOOR ST                                                                          DETROIT               MI    48235‐1613
MONIQUE D CHAPMAN             93 SEWARD ST APT 401                                                                         DETROIT               MI    48202‐4422
MONIQUE D JOHNSON             7365 SUGARTREE DR                                                                            BOARDMAN              OH    44512‐5427
MONIQUE D LAWSON              9530 WOLF CREEK PIKE                                                                         TROTWOOD              OH    45426‐4146
MONIQUE DANIEL                503 OMAR ST                                                                                  PONTIAC               MI    48342‐1661
MONIQUE DOLLISON              304 PAULY DR                                                                                 CLAYTON               OH    45315
MONIQUE DUMONT                643 N BRYS DR                                                                                GROSSE POINTE WOODS   MI    48236‐1246
MONIQUE FRANKLIN              6026 E 40TH TER                                                                              KANSAS CITY           MO    64129‐1718
MONIQUE HARVEY                16012 NORTHWOOD AVE                                                                          MAPLE HEIGHTS         OH    44137‐3752
MONIQUE JACKSON               2434 MERCER AVE                                                                              MANSFIELD             OH    44906‐1335
MONIQUE JIMENEZ               1106 SINGLETREE DR                                                                           FORNEY                TX    75126‐6532
MONIQUE JOHNSON               42588 N CUMBERLAND DR                                                                        BELLEVILLE            MI    48111‐4586
MONIQUE JOHNSON               3825 N BENNINGTON AVE                                                                        KANSAS CITY           MO    64117‐7803
MONIQUE L GREEN               1826 WHITTLESEY ST                                                                           FLINT                 MI    48503‐4345
MONIQUE M HENLEY              1147 CLOVIS AVE                                                                              MOUNT MORRIS          MI    48458‐2544
MONIQUE M MONTINI             5457 COUNTRY CLUB LN                                                                         GRAND BLANC           MI    48439‐9183
MONIQUE M WILLIAMS            3719 JUDY LANE                                                                               DAYTON                OH    45405‐1829
MONIQUE MALOY                 248 MOORELAND LN                                                                             MURFREESBORO          TN    37128‐4616
MONIQUE MONSIEUR              A CLEYNHENSLAAN 101                                                  B‐3140 KEERSBERGEN
                                                                                                   BELGIUM
MONIQUE MONSIEUR              ACHIEL CLEYNHENSLAAN 101                                                                     B‐3140 KEERBERGEN
MONIQUE MONTINI               5457 COUNTRY CLUB LN                                                                         GRAND BLANC            MI   48439‐9183
MONIQUE NEZWAZKY              1817 AUGUSTINE DR                                                                            LADY LAKE              FL   32159‐8543
MONIQUE NOLL                  9363 OLD STAGE RD                                                                            AGUA DULCE             CA   91390‐4829
MONIQUE OSBORNE               19193 SPENCER ST                                                                             DETROIT                MI   48234‐3127
MONIQUE POTVIN                HERENBERGSTRAAT 11                                                   3220 HOLSBEEK BELGIUM
MONIQUE PUGH                  4288 HALL MARK CT                                                                            FLINT                  MI 48532‐2641
MONIQUE R PUGH                4288 HALL MARK CT                                                                            FLINT                  MI 48532‐2641
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Name                               Address1                            Address2                         Address3   Address4              City               State Zip
MONIQUE RICHARDS                   15304 VERONICA AVE                                                                                    EAST DETROIT        MI 48021‐3636
MONIQUE RILEY                      1408 N LINCOLN ST                                                                                     BAY CITY            MI 48708‐5463
MONIQUE RUIZ                       23 W KENNETT RD APT 2                                                                                 PONTIAC             MI 48340‐2686
MONIQUE S MARRABLE                 4652 MIDWAY AVE                                                                                       DAYTON              OH 45417
MONIQUE STRAJUSAK CAGNANA          7 RUE CAMILLE GUILLAUME                                                         F 91270 VIGNEUX SUR
                                                                                                                   SEINE FRANCE
MONIQUE T THORNTON                 1583 HONEYBEE DR                                                                                      DAYTON             OH   45427‐‐ 32
MONIQUE Y RICHARDSON               659 FOX AVE                                                                                           YPSILANTI          MI   48198‐6149
MONIR ZAMAN                        1659 DENNETT LN                                                                                       ROCHESTER HILLS    MI   48307‐3333
MONIRUL ISLAM                      2357 GOLFVIEW DR APT 103                                                                              TROY               MI   48084‐3909
MONIS, CYRIL B                     2724 WHITEHALL DR                                                                                     TROY               MI   48085‐3702
MONIS, CYRIL BENEDICT              2724 WHITEHALL DR                                                                                     TROY               MI   48085‐3702
MONISMITH, KATHERINE L             2749 CASTLEMARTIN COURT                                                                               OAKLAND TWP        MI   48306‐4906
MONISMITH, MARK L                  2749 CASTLEMARTIN CT                                                                                  OAKLAND TOWNSHIP   MI   48306‐4906
MONIT, LEO J                       1505 SHREWSBURY AVE                                                                                   ADRIAN             MI   49221‐1812
MONIT, LEO JOHN                    1505 SHREWSBURY AVE                                                                                   ADRIAN             MI   49221‐1812
MONITA THOMAS                      12872 FESSNER RD                                                                                      CARLETON           MI   48117‐9213
MONITEAU COUNTY COLLECTOR          200 EAST MAIN                                                                                         CALIFORNIA         MO   65018
MONITOR CO INC                     2 CANAL PARK                                                                                          CAMBRIDGE          MA   02141
MONITOR COMPANY GROUP LP           TWO CANAL PARK                                                                                        CAMBRIDGE          MA   02141
MONITOR MANU/ELBURN                PO BOX AL                                                                                             ELBURN             IL
MONITOR PHARMACY INC               2981 MIDLAND RD                                                                                       BAY CITY           MI   48706‐9267
MONITOR PUBLISHING COMPANY         1 MONITOR DR                                                                                          CONCORD            NH   03301‐1834
MONITOR TOWNSHIP TREASURER         2483 MIDLAND RD                                                                                       BAY CITY           MI   48706‐9469
MONITORING & MANAGEMENT SERVICES   411 WISTERIA LN                                                                                       HERMITAGE          TN   37076‐2728
LLC
MONITORING & MANAGEMENT SVCS L     411 WISTERIA LN                                                                                       HERMITAGE          TN 37076‐2728
MONITORING & MANAGEMENT SVCS LLC   411 WISTERIA LN                                                                                       HERMITAGE          TN 37076‐2728

MONITSKY, LEOCADIA F               217 BROMLEY PLACE                                                                                     TRENTON            NJ   08691‐3023
MONITSKY, LEOCADIA F               217 BROWNLEY PLACE                                                                                    ROBBINSVILLE       NJ   08691
MONIUSZKO, GREGORY P               121 SNYDER LN                                                                                         BELLE VERNON       PA   15012‐3524
MONIUSZKO, MILDRED L               400 NAUTILUS BLVD                                                                                     FORKED RIVER       NJ   08731‐1919
MONIZ JR, ARTHUR G                 423 RIO DEL REY COURT                                                                                 CORNING            CA   96021‐2006
MONIZ MELVIN D (408313)            GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                              HONOLULU           HI   96814‐3308
                                   TAKITANI
MONIZ, DENNIS G                    3585 PURLEY LN                                                                                        CONCORD            CA 94519‐1636
MONIZ, MARCILLA                    99‐050 KAUPILI PL                                                                                     AIEA               HI 96701‐3098
MONIZ, MELVIN                      GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                              HONOLULU           HI 96814‐3308
                                   TAKITANI
MONIZ, OLIVIA A                    2205 BRIDWELL WAY                                                                                     HAYWARD            CA   94545‐4821
MONIZ, RICHARD W                   6225 MATISSE AVE                                                                                      LAS VEGAS          NV   89131‐5904
MONIZE, ALFRED A                   1308 RUHL MEADOWS CT                                                                                  KOKOMO             IN   46902‐9771
MONIZE, ALFRED N                   325 S MAPLE ST                                                                                        GREENTOWN          IN   46936‐1569
MONJA L PAINTER                    2808 OXFORD AVE.                                                                                      DAYTON             OH   45406‐4338
MONJAREZ, VICTOR                   164 MOHAWK RD                                                                                         PONTIAC            MI   48341‐1127
MONJE, JACK D                      13885 KEIBER RD NE                                                                                    GREENVILLE         MI   48838‐8322
MONJE, SHARON G                    10731 SICK RD                                                                                         PRATTSBURGH        NY   14873‐9532
MONJI, MASARU G                    2507 MICHAEL DR                                                                                       NEWBURY PARK       CA   91320‐3235
MONK AUTOMOTIVE SERVICE            2402 S CAMDEN RD                                                                                      PINE BLUFF         AR   71603‐3642
MONK DANNY M (456454)              SKAGGS JOHN H                       405 CAPITOL STREET ‐ SUITE 607                                    CHARLESTON         WV   25301
MONK JR, JOHN H                    26424 BRICK LN                                                                                        BONITA SPRINGS     FL   34134‐5626
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Name                                Address1                         Address2                         Address3   Address4         City            State Zip
MONK JR, LEWIS J                    23 PUMPKIN HILL                                                                               ROCHESTER        NY 14624‐4470
MONK JR, LEWIS J                    23 PUMPKIN HL                                                                                 ROCHESTER        NY 14624‐4470
MONK JR, WOODROW W                  PO BOX 152                                                                                    SHARPS CHAPEL    TN 37866‐0152
MONK MARILYN                        PO BOX 40                                                                                     CHANDLER         TX 75758‐0040
MONK, AARON J                       PO BOX 126                                                                                    GALLMAN          MS 39077‐0126
MONK, ANDREW J                      1692 LAURIE DR                                                                                YOUNGSTOWN       OH 44511‐1043
MONK, ANNA M                        2076 N GARFIELD RD                                                                            PINCONNING       MI 48650‐7470
MONK, ANNA M                        2076 NORTH GARFEILD RD                                                                        PINCONNING       MI 48650
MONK, BARRY L                       1018 CREEKGLEN COURT                                                                          HENDERSONVLLE    TN 37075‐8851
MONK, BONNIE J                      17704 DRAYTON STREET                                                                          SPRING HILL      FL 34610‐7306
MONK, DANNY M                       SKAGGS JOHN H                    405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON       WV 25301
MONK, DAVID A                       11785 NASHVILLE ST                                                                            DETROIT          MI 48205‐3333
MONK, DUANE L                       1820 S OLD 11                                                                                 JANESVILLE       WI 53548‐9145
MONK, FRED W                        3011 S 24TH ST                   C/O SHEILA H JAMROG                                          SAGINAW          MI 48601‐6703
MONK, GARY E                        174 FARLEY LN                                                                                 ALVATON          KY 42122‐8617
MONK, HOWARD L                      298 BIRD AVE                                                                                  BIRMINGHAM       MI 48009
MONK, JAN A                         174 N EDWARD ST                                                                               OREGON           OH 43616‐1927
MONK, JAN ARTHUR                    174 N EDWARD ST                                                                               OREGON           OH 43616‐1927
MONK, JOE L                         1825 THOMAS AVE                                                                               ANNISTON         AL 36207‐3944
MONK, JUANITA L                     49 SUNDALE CIR                                                                                PARAGOULD        AR 72450‐4053
MONK, JUANITA L                     49 SUNDALE                                                                                    PARAGOULD        AR 72450‐4053
MONK, LEWIS J                       231 EAST AVENUE                                                                               HILTON           NY 14468‐1333
MONK, LEWIS J                       231 EAST AVE                                                                                  HILTON           NY 14468‐1333
MONK, MERCEDES                      4457 STONES RIVER RD                                                                          GRAND PRAIRIE    TX 75052‐1631
MONK, RICHARD F                     3925 CLARIDGE DR                                                                              YOUNGSTOWN       OH 44511‐1165
MONK, ROBERT                        22290 LAKEFIELD RD                                                                            MERRILL          MI 48637‐9724
MONK, RONALD C                      11130 HASTINGS POINT RD                                                                       MIDDLEVILLE      MI 49333‐8776
MONK, RONALD L                      1692 LAURIE DR                                                                                YOUNGSTOWN       OH 44511‐1043
MONK, SUSAN C                       16 INDIAN RUN RD                                                                              BELLINGHAM       MA 02019‐2852
MONK, WAYNE G                       26737 ALGER ST                                                                                MADISON HTS      MI 48071‐3506
MONK, WILLIAM A                     6624 NC HIGHWAY 210 210                                                                       SMITHFIELD       NC 27577
MONK, WILLIAM S                     10084 BEHNFELDT RD                                                                            SHERWOOD         OH 43556‐9724
MONKABA, CHRISTINE A                7907 BRIDGE VALLEY DRIVE                                                                      CLARKSTON        MI 48348
MONKABA, RICHARD A                  10221 BOULDER PASS                                                                            DAVISBURG        MI 48350‐2055
MONKABA‐WADSWORTH, NANCY K          815 OSSINGTON AVE                                                                             FLINT            MI 48507‐1639
MONKELBAAN, JOSEPH M                30 MOSHER DR                                                                                  TONAWANDA        NY 14150‐5218
MONKELBAAN, THEODORE J              1164 EXCHANGE ST                                                                              ALDEN            NY 14004‐1343
MONKEN BUICK‐PONTIAC‐GMC            515 N POPLAR ST                                                                               CENTRALIA         IL 62801‐2375
MONKEN BUICK‐PONTIAC‐GMC            WESLEY MONKEN                    515 N POPLAR ST                                              CENTRALIA         IL 62801‐2375
MONKEVICIUS, RAYMOND A              1093 MONTAUK DR                                                                               FORKED RIVER     NJ 08731‐2004
MONKMAN CLIFFORD                    ICO THE LANIER LAW FIRM PC       6810 FM 1960 WEST                                            HOUSTON          TX 77069
MONKMAN CLIFFORD J JR (ESTATE OF)   LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                 HOUSTON          TX 77069
(641770)
MONKMAN, CLIFFORD                   LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                 HOUSTON         TX   77069
MONKO, ELEANOR S                    305 GOLFSIDE DRIVE                                                                            LAPEER          MI   48446
MONKOWSKI, JOHN T                   2560 CORAL DR                                                                                 TROY            MI   48085‐3954
MONKOWSKI, MARY J                   17 HILLTOP DR                                                                                 NEW WINDSOR     NY   12553‐6612
MONKRESS, MARIA N.                  9929 LINDA DR. #367                                                                           YPSILANTI       MI   48197
MONKS, JOAN T                       16552 CONGRESS DR                                                                             CLINTON TWP     MI   48038‐2772
MONKS, JOANNE J                     939 INDIAN BOUNDARY DR                                                                        WESTMONT        IL   60559‐1080
MONKS, KENNETH                      8875 W HENDERSON RD                                                                           ELSIE           MI   48831‐9446
MONKS, MERRETT R                    121 MONUMENT LN                                                                               MADISON         AL   35758
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Name                                 Address1                        Address2                      Address3          Address4         City               State Zip
MONKS, SUZANNE P                     463A NEW HAVEN WAY                                                                               JAMESBURG           NJ 08831‐1813
MONLAN GROUP                         LAFOURCHE MANUFACTURING DIV     PO BOX 7                                                         COMSTOCK            MI 49041‐0007
MONMOUTH CNTY CIVIL PART             ACCT OF GAIL DONOHUE            PO BOX 1270                                                      FREEHOLD            NJ 07728‐1270
MONMOUTH COLLEGE                     700 E BROADWAY                                                                                   MONMOUTH             IL 61462‐1963
MONMOUTH COLLEGE                     OFFICE OF THE BURSAR                                                                             WEST LONG BRANCH    NJ 07764
MONMOUTH COUNTY PROBATION DEPT       ACCT OF FRANCIS NIBLETT         PO BOX 1259                   20 GIBSON PLACE                    FREEHOLD            NJ 07728‐1259

MONMOUTH COUNTY PROBATION DEPT       ACCT OF LOLA B CHILDS           PO BOX 1259                   20 GIBSON PLACE                    FREEHOLD            NJ   07728‐1259

MONMOUTH CTY PROBATION DEPT          ACCT OF FRANCIS NIBLETT         PO BOX 1259                   20 GIBSON PLACE                    FREEHOLD           NJ    07728‐1259
MONMOUTH RADIOLOGISTS P/S TRUST      C/O DANIEL J SMURO              591 MONMOUTH PLACE                                               LONG BRANCH        NJ    07746
MONMOUTH UNIVERSITY                  SPECIAL BILLING COORDINATOR     CEDAR AVE                                                        WEST LONG BRANCH   NJ    07764‐1898
MONN KRISTIE                         MONN, KRISTIE                   111 W MONROE ST STE 1124                                         PHOENIX            AZ    85003‐1722
MONN, KRISTIE                        KROHN & MOSS ‐ AZ               RR 1 BOX 1458                                                    CAIRO              WV    26337
MONNA PHILLIPS                       PO BOX 56                       7722 MENDONHALL RD                                               WEST NEWTON        IN    46183‐0056
MONNA STEINER                        120 RITTMAN AVE                                                                                  RITTMAN            OH    44270‐1276
MONNAT, SARA
MONNEN, JOHN N                       2575 MARQUIS DR                                                                                  DUNEDIN             FL   34698‐2315
MONNERAT GUSTAVO                     MONNERAT, GUSTAVO               520 W HALLANDALE BEACH BLVD                                      HALLANDALE BEACH    FL   33009‐5329
MONNERAT GUSTAVO                     MONNERAT, HENRIQUE              520 W HALLANDALE BEACH BLVD                                      HALLANDALE BEACH    FL   33009‐5329
MONNERAT GUSTAVO                     MONNERAT, MARIANNA              520 W HALLANDALE BEACH BLVD                                      HALLANDALE BEACH    FL   33009‐5329
MONNERAT, GUSTAVO
MONNERAT, MARIANNA
MONNERJAHN CAMILLE COLICE (413711)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                     STREET, SUITE 600
MONNERJAHN, CAMILLE COLICE           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
MONNETT, ALLEN L                     7938 ELM DR                                                                                      BROWNSBURG         IN    46112‐8580
MONNETT, ANNA MAE                    5571 E STATE ROAD 42                                                                             CLOVERDALE         IN    46120‐8737
MONNETT, BETTY G                     1715 E COUNTY ROAD 1050 S                                                                        CLOVERDALE         IN    46120‐9133
MONNETT, BETTY G                     1715 E. COUNTY RD 1050 S.                                                                        CLOVERDALE         IN    46120‐9133
MONNETT, DALE W                      PO 655 151 N LAFAYETTE                                                                           CLOVERDALE         IN    46120
MONNETT, DANA L                      4101 E COUNTY ROAD 1000 S                                                                        CLOVERDALE         IN    46120‐8692
MONNETT, JOHN P                      2611 E COUNTY ROAD 1050 S                                                                        CLOVERDALE         IN    46120‐9139
MONNETT, LYLE C                      216 N SYCAMORE ST                                                                                BRAZIL             IN    47834‐1523
MONNETTE, DAMON E                    593 N GREENWOOD ST                                                                               MARION             OH    43302‐2550
MONNICH, JAMES K                     694 BOVARD LUXOR RD                                                                              GREENSBURG         PA    15601‐7775
MONNIE BURCHETT                      4953 NW 30TH PL                                                                                  OCALA              FL    34482‐8385
MONNIE DOBBINS                       PO BOX 1065 KLK66110                                                                             KANSAS CITY        KS    66110
MONNIE DUNN                          4527 SYCAMORE ST                                                                                 HOLT               MI    48842‐1635
MONNIE DUNN JR                       6211 S WASHINGTON AVE                                                                            LANSING            MI    48911‐5544
MONNIE L LAKES                       322 VICTORY LANE                                                                                 FRANKLIN           OH    45005
MONNIE M RICUCCI                     21332 ROME DR                                                                                    MACOMB             MI    48044‐1311
MONNIE PAYNE                         3001 DAYSON DR                                                                                   ANDERSON           IN    46013‐9713
MONNIE RICUCCI                       21332 ROME DR                                                                                    MACOMB             MI    48044‐1311
MONNIE SANDERS                       1052 ELDORADO AVE                                                                                KETTERING          OH    45419‐2414
MONNIE SANDERS                       1052 ELDORADO AVE                                                                                KETTERING          OH    45419‐2414
MONNIER ROSEMARY SANCHEZ             MONNIER, ROSEMARY SANCHEZ       4510 BULL CREEK RD                                               AUSTIN             TX    78731‐5502
MONNIER, DAVID J                     3259 SHADOW BROOK DR                                                                             INDIANAPOLIS       IN    46214‐1910
MONNIER, DELBERT J                   4874 PETERS ROAD                                                                                 TROY               OH    45373‐9328
MONNIER, DELBERT J                   4874 PETERS RD                                                                                   TROY               OH    45373‐9328
MONNIER, DENISE M                    6245 N NEVADA AVE                                                                                PARKVILLE          MO    64152‐3872
                               09-50026-mg           Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                           Address1                        Address2                     Address3   Address4         City                State Zip
MONNIER, FRANCIS J             103 PARK ST                                                                              RUSSIA               OH 45363‐9753
MONNIER, LAWRENCE E            1960 CLEARWOOD CT                                                                        SHELBY TWP           MI 48316‐1016
MONNIER, RICHARD T             5140 WORLEY RD                                                                           TIPP CITY            OH 45371‐8908
MONNIER, ROSELLA F             29 GREENBACK ROAD                                                                        FORT LORAMIE         OH 45845‐9313
MONNIER, SHERYL K              2277 E COUNTY RD 550 SOUTH                                                               ANDERSON             IN 46017
MONNIER, TIMOTHY F             6245 N NEVADA AVE                                                                        PARKVILLE            MO 64152‐3872
MONNIG, ANGELA M               4761 ARCHMORE DR                                                                         KETTERING            OH 45440‐1834
MONNIN, ANTHONY B              185 MYERS CREEK LANE                                                                     SPRINGBORO           OH 45066‐1456
MONNIN, DALE F                 2168 BROADBENT WAY                                                                       KETTERING            OH 45440‐2529
MONNIN, DALE L                 740 UTOPIA PL                                                                            DAYTON               OH 45431‐2729
MONNIN, DALE L                 740 UTOPIA PLACE                                                                         DAYTON               OH 45431‐2729
MONNIN, GREGORY J              1667 BELLEFLOWER CT                                                                      AVON                 IN 46123‐7106
MONNIN, GREGORY JAMES          1667 BELLEFLOWER CT                                                                      AVON                 IN 46123‐7106
MONNIN, MARCIA K               1667 BELLEFLOWER CT                                                                      AVON                 IN 46123‐7106
MONNIN, MICHAEL R              1100 CHRISTI CIR                                                                         BEAVERCREEK          OH 45434‐6376
MONNIN, PATRICK L              310 SYCAMORE SPRINGS DR                                                                  SPRINGBORO           OH 45066‐8951
MONNIN, ROBERT L               400 CORPORATE CENTER DRIVE                                                               VANDALIA             OH 45377‐1164
MONNIN, THELMA R               416 W STROOP RD                                                                          KETTERING            OH 45429‐1654
MONOCLE VIDEO SERVICES INC     21530 FRANCIS ST                                                                         DEARBORN             MI 48124‐2905
MONODE MARKING PRODUCTS INC    7620 TYLER BLVD                                                                          MENTOR               OH 44060‐4853
MONOFLO INTERNATIONAL INC      PO BOX 2797                                                                              WINCHESTER           VA 22604‐1997
MONOFLO INTERNATIONAL INC      882 BAKER LN                                                                             WINCHESTER           VA 22603‐5722
MONOGRAM BANK USA              ACCT OF ILO CARTER
MONOGRAMS & MORE INC           8914 TELEGRAPH RD                                                                        TAYLOR              MI   48180‐8399
MONOGUE STEVE                  3327 HOLLIS ST                                                                           MISSOULA            MT   59801‐8613
MONOMOY CAPITAL PARTNERS LP    142 W 57TH ST STE 17                                                                     NEW YORK            NY   10019‐3300
MONOMOY CAPITAL PARTNERS LP    185 PARK DR                                                                              WILMINGTON          OH   45177‐2040
MONOMOY CAPITAL PARTNERS LP    199 E STATE ST                                                                           NEWCOMERSTOWN       OH   43832‐1452
MONOMOY CAPITAL PARTNERS LP    2701 S COLISEUM BLVD STE 1284                                                            FORT WAYNE          IN   46803‐2976
MONOMOY CAPITAL PARTNERS LP    DAN DEAR                        199 E. STATE STREET                                      WHARTON             OH   43359
MONOMOY CAPITAL PARTNERS LP    WIL CONNER X1237                185 PARK DRIVE                                           HEBRON              KY   41048
MONOS LESLIE                   MONOS, LESLIE                   55 PUBLIC SQ STE 650                                     CLEVELAND           OH   44113‐1909
MONOS, SHERRY L                76 SANCHEZ DR E                                                                          PONTE VEDRA BEACH   FL   32082
MONOSKI, ROBERT J              7300 ROLLING HILLS DR                                                                    CANFIELD            OH   44406‐9759
MONOSKI, ROBERT J              323 N YORKSHIRE BLVD                                                                     YOUNGSTOWN          OH   44515‐1525
MONRA CROSS                    13913 OLIVE BRANCH RD                                                                    HAGERSTOWN          IN   47346‐9719
MONRAY EDWARDS                 411 LINDSEY LN                                                                           GRAND PRAIRIE       TX   75052‐4824
MONREAL ROSA                   MONREAL, ROSA                   77 W WASHINGTON ST STE 520                               CHICAGO             IL   60602‐3318
MONREAL ROSA                   STATE FARM MUTUAL AUTOMOBILE    77 W WASHINGTON ST STE 520                               CHICAGO             IL   60602‐3318
                               INSURANCE COMPANY
MONREAL, DAVID A               PO BOX 7808                                                                              FLINT               MI   48507‐0808
MONREAL, DAVID ANTHONY         PO BOX 7808                                                                              FLINT               MI   48507‐0808
MONREAL, LILLIAN M             10553 LONG BRANCH DR                                                                     CONROE              TX   77303‐2531
MONREAL, MATTHEW CHRISTOPHER   1152 S VASSAR RD                                                                         BURTON              MI   48509‐2329
MONREAL, MICHAEL               649 FENTON AVE                                                                           ROMEOVILLE          IL   60446‐1208
MONREAL, NICHOLAS
MONREAL, ROBERT M              1219 HURON ST                                                                            FLINT               MI   48507‐2320
MONREAL, RODOLFO               9413 S 82ND AVE                                                                          HICKORY HILLS       IL   60457‐1913
MONRIE GUINN                   840 E CENTER RD                                                                          KOKOMO              IN   46902‐5367
MONRO, SARA                    674 PINETREE ST                                                                          LAKE ORION          MI   48362
MONROE & EVER/LEXTON           424 FAIRMAN ROAD.               P.O. BOX 11928                                           LEXINGTON           KY   40511
MONROE 2 ORLEANS BOCES         3589 BIG RIDGE RD                                                                        SPENCERPORT         NY   14559‐1709
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Name                                Address1                        Address2                    Address3                      Address4         City            State Zip
MONROE ANDERSON                     12040 ELMDALE ST                                                                                           DETROIT          MI 48213‐1744
MONROE ATKINS                       21030 KENOSHA ST                                                                                           OAK PARK         MI 48237‐3811
MONROE AUTO EQUIPMENT               TENNECO MANAGEMENT EUROPE LTD   1601 HWY 49 N                                                              PARAGOULD        AR 72450
MONROE BANK & TRUST                 PO BOX 364                      102 E FRONT ST COMM LOANS                                                  TAYLOR           MI 48180‐0364
MONROE BRIAN                        MONROE, BRIAN                   230 ALBERBURY COMMONS CT                                                   WAKE FOREST      NC 27587‐5002
MONROE BURGER JR                    810 SHEPHERD LN                                                                                            SHEPHERDSTOWN    WV 25443‐5012
MONROE C VREELAND                   9241 NAVAJO TRL                                                                                            FLUSHING         MI 48433‐1002
MONROE C WATTS                      PO BOX 17                                                                                                  DAYTON           NJ 08810
MONROE C WINNING                    3604 LISBON ST.                                                                                            KETTERING        OH 45429‐4245
MONROE CARTAGE INC                  425 W FACTORY RD                                                                                           ADDISON           IL 60101‐4922
MONROE CARTER JR                    615 BUSTI AVE                                                                                              BUFFALO          NY 14213‐2401
MONROE CLEMONS                      18564 KENTFIELD ST                                                                                         DETROIT          MI 48219‐3493
MONROE CNTY WATER AUTHORITY         PO BOX 41999                                                                                               ROCHESTER        NY 14604‐4999
MONROE CO MILK PRODUCERS CO OP      PO BOX 7                                                                                                   BRODHEADSVLLE    PA 18322‐0007
ASSN
MONROE COLLEGE OFFICE OF THE BURSAR 434 MAIN ST                                                                                                NEW ROCHELLE    NY 10801‐6410

MONROE COMMUNITY COLLEGE           BURSARS OFFICE                   PO BOX 92807                                                               ROCHESTER       NY    14692‐8907
MONROE COMMUNITY COLLEGE           CONTROLLERS OFFICE               1000 E HENRIETTA RD                                                        ROCHESTER       NY    14623‐5701
MONROE COMMUNITY COLLEGE           1555 S RAISINVILLE RD                                                                                       MONROE          MI    48161‐9047
MONROE CONLEY                      2739 BAHNS DR                                                                                               BEAVERCREEK     OH    45434
MONROE CONTRACTORS EQUIPMENT INC   PO BOX 220                                                                                                  SCOTTSVILLE     NY    14546‐0220

MONROE COUNTY                      PO BOX 684                                                                                                  ABERDEEN        MS 39730‐0684
MONROE COUNTY COMMUNITY COLLEGE    1555 S RAISINVILLE RD            BUSINESS OFFICE                                                            MONROE          MI 48161‐9047
ACCTS RECEIVABLE
MONROE COUNTY FLEET MAINTENANCE                                     145 PAUL RD                                                                                NY 14624

MONROE COUNTY FOC                106 E FIRST ST BOX 120                                                                                        MONROE           MI   48161
MONROE COUNTY FRIEND OF COURT    ACCT OF GERALD E MC LEOD           PO BOX 120                  106 E FIRST ST                                 MONROE           MI   48161‐0120
MONROE COUNTY FRIEND OF COURT    ACCT OF HAROLD D BECK              106 E 1ST ST                                                               MONROE           MI   48161‐2115
MONROE COUNTY FRIEND OF COURT    ACCT OF PAUL Q HANNAN              PO BOX 120                                                                 MONROE           MI   48161‐0120
MONROE COUNTY HIGHWAY DEPARTMENT                                    2800 S KIRBY RD                                                                             IN   47403

MONROE COUNTY PROBATE COURT        106 E 1ST ST                                                                                                MONROE           MI 48161‐2115
MONROE COUNTY REVENUE              65 NORTH ALABAMA AVENUE          MONROE COUNTY COURTHOUSE                                                   MONROEVILLE      AL 36460
COMMISSIONER
MONROE COUNTY SCU                  ACCT OF WILLIAM MANGANO          PO BOX 15326                                                               ALBANY          NY    12212‐5326
MONROE COUNTY SHERIFF              ACCT OF JAMES M PETRIE           65 W BROAD ST STE 300       INDEX# 12340/92                                ROCHESTER       NY    14614‐2210
MONROE COUNTY SHERIFF              ACCT OF WILLIAM MANGANO          65 W BROAD ST STE 300                                                      ROCHESTER       NY    14614‐2210
MONROE COUNTY SHERIFF              ACCT OF ROSS BELLAVIA JR         65 W BROAD ST STE 300                                                      ROCHESTER       NY    14614‐2210
MONROE COUNTY SHERIFF INCOME       EXECUTION DEPARTMENT             130 PLYMOUTH AVE S RM 100                                                  ROCHESTER       NY    14614‐2209
MONROE COUNTY TAX COLLECTOR        123 MADISON ST                                                                                              CLARENDON       AR    72029‐2704
MONROE COUNTY TAX COLLECTOR        PO BOX 1129                                                                                                 KEY WEST        FL    33041‐1129
MONROE COUNTY TREASURER            COURTHOUSE ROOM 204                                                                                         BLOOMINGTON     IN    47404
MONROE COUNTY WATER AUTHORITY                                       475 NORRIS DR                                                                              NY    14610
MONROE COUNTY, STATE OF NEW YORK   ROBERT F. HAMILTON               CITY PLACE                  50 WEST MAIN ST. SUITE 7100                    ROCHESTER       NY    14614

MONROE CTY FRIEND OF COURT         ACCT OF MICHAEL F JACOBS         106 E 1ST ST                                                               MONROE          MI    48161‐2115
MONROE CTY SUPPORT COL UNIT        FOR ACCT OF J E CUMMINGS         PO BOX 3328                                                                ROCHESTER       NY    00000
MONROE CTY SUPPORT COL UNIT        FOR ACCT OF G MOXLEY             PO BOX 3328                                                                ROCHESTER       NY    00000
MONROE CTY SUPPORT COL UNIT        FOR ACCT OF D W ROGERS           PO BOX 14328                                                               ROCHESTER       NY    14614‐0328
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Name                                 Address1                             Address2                       Address3                 Address4                 City            State Zip
MONROE CTY SUPPORT COL UNIT          FOR ACCT OF W YEOUMAS                PO BOX 3328                                                                      ROCHESTER        NY 00000
MONROE D DANIEL                      NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                                   DAINGERFIELD     TX 75638
MONROE D WATTS                       BLDG K OAKLEAF VILLAGE APTS #5                                                                                        NO BRUNSWICK     NJ 08902
MONROE DEAN                          NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                                   DAINGERFIELD     TX 75638
MONROE DENT                          1114 S FRANKLIN AVE                                                                                                   FLINT            MI 48503‐2820
MONROE DYE                           4100 S DURAND RD                                                                                                      DURAND           MI 48429‐9761
MONROE EARNEST                       4318 W BROCKER RD                                                                                                     METAMORA         MI 48455‐9796
MONROE ENVIRONMENTAL CORP            11 PORT AVE                          PO BOX 313                                                                       MONROE           MI 48161‐1968
MONROE EXTINGUISHER CO INC           105 DODGE ST                         PO BOX 60980                                                                     ROCHESTER        NY 14606‐1503
MONROE FIELDS                        2011 GRAY HAWK DR                                                                                                     PLAINFIELD        IL 60586‐6898
MONROE GARY                          MONROE, GARY                         220 MERCER RD                                                                    FRANKLIN         PA 16323
MONROE GOBLE                         1319 MERRILL AVE                                                                                                      LINCOLN PARK     MI 48146‐3356
MONROE HARRIS                        18643 LEXINGTON                                                                                                       REDFORD          MI 48240‐1942
MONROE HICKS                         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES              22ND FLOOR                                        BALTIMORE        MD 21201

MONROE HIGHWAY DEPARTMENT                                                 447 PURDY HILL RD                                                                                CT   06468
MONROE HILL JR                      P.O. BOX 33                                                                                                            CAWOOD          KY   40815‐0033
MONROE HILL JR                      PO BOX 33                                                                                                              CAWOOD          KY   40815‐0033
MONROE HOOFMAN                      5349 DOE RUN DR                                                                                                        IMPERIAL        MO   63052‐2174
MONROE HYMAN                        1801 BLEUTHERA POINT APT 23                                                                                            COCONUT FL      FL   33066‐2853
MONROE III, ALBERT B                10806 DUNGARVON CT                                                                                                     CHARLOTTE       NC   28262‐9125
MONROE INFRARED TECHNOLOGY INC      6 BROWN ST                            PO BOX 1058                                                                      KENNEBUNK       ME   04043‐7242
MONROE INFRARED TECHNOLOGY INC      PO BOX 1058                                                                                                            KENNEBUNK       ME   04043‐1058
MONROE J MURRAY                     2215 CLAWSON #106                                                                                                      ROYAL OAK       MI   48073‐3775
MONROE J WIENER OR DANELIA B WIENER 10236 GENESEE LANE                                                                                                     ORLANDO         FL   32821

MONROE JAMES                         9580 S COUNTY ROAD 450 W                                                                                              MADISON         IN   47250
MONROE JR, FELIX                     2317 LAKE RIDGE DR                                                                                                    GRAND BLANC     MI   48439‐7366
MONROE JR, HERSHEL                   409 STUCKHARDT RD                                                                                                     TROTWOOD        OH   45426‐2705
MONROE JR, JAMES                     2811 BROWNING AVE                                                                                                     KNOXVILLE       TN   37921‐6657
MONROE JR, JESSE J                   733 MERRITT RD                                                                                                        FORESTBURG      TX   76239‐3325
MONROE JR, MAURICE F                 3765 BUTTE DR APT 8                                                                                                   HOLT            MI   48842‐7729
MONROE JR, MAURICE F                 APT 8                                3765 BUTTE DRIVE                                                                 HOLT            MI   48842‐7729
MONROE JR, WILLIE                    3668 VICTORIA DR                                                                                                      EAST POINT      GA   30344‐5935
MONROE JR., RUSSELL G                1757 BROCKTON DR                                                                                                      YOUNGSTOWN      OH   44511‐1001
MONROE JUDITH (ESTATE OF) (471444)   ANTOGNOLI DAVID L                    2227 S STATE ROUTE 157                                                           EDWARDSVILLE    IL   62025‐3646
MONROE KEENE                         518 CARTHAGE DR                                                                                                       BEAVERCREEK     OH   45434
MONROE L HAMILTON                    C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                                        HOUSTON         TX   77007
                                     BOUNDAS LLP
MONROE L MURPHY JR                   3623 LYNN ST                                                                                                          FLINT           MI   48503‐4588
MONROE LAKE                          1071 DICKINSON ST SE                                                                                                  GRAND RAPIDS    MI   49507‐2107
MONROE LAMONTE                       332 TAR HEEL DR                                                                                                       DELAWARE        OH   43015‐3421
MONROE LARDELL                       627 DEERING DR                                                                                                        AKRON           OH   44313‐5742
MONROE LATHAM                        1704 RIDGEVIEW DR                                                                                                     ARLINGTON       TX   76012‐1945
MONROE MACKLIN JR                    25331 CASTLEREIGH DR                                                                                                  FARMINGTN HLS   MI   48335‐1518
MONROE MARSHALL JR                   1830 SAN GABRIEL AVE                                                                                                  DECATUR         GA   30032‐4505
MONROE MEXICO SA DE CV               BLVD FLORIDA 7                       PARQUE INDUSTRIAL MAQUILPARK   86690 REYNOSA TAMAULIPAS REYNOSA TAMAULIPAS
                                                                                                                                  86690 MEXICO
MONROE MEXICO SA DE CV               BLVD FLORIDA NO 7 CARR RIVERENA                                                              REYNOSA TM 88690
                                                                                                                                  MEXICO
MONROE MEXICO SA DE CV               AV PONIENTE 4 NO 118                                                                         CELAYA GJ 38010 MEXICO
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Name                                Address1                          Address2                          Address3                   Address4                City            State Zip
MONROE MEXICO SA DE CV              LISA WITFORTH                     TENNECO INC                       AVE PONIENTE 4‐118 CD                              HUNTINGTON       IN
                                                                                                        INDUSTR
MONROE MEXICO SA DE CV              BLVD FLORIDA NO 7 CARR RIVERENA   KM 9 COL PARQUE IND MAQUILP                                  REYNOSA TM 88690
                                                                                                                                   MEXICO
MONROE MOTOR CARS                   MARGOLIS LAW FIRM LLC             67 WALL STREET 22ND FLOOR SUITE                                                      NEW YORK         NY 10005
                                                                      5001
MONROE MOTOR CARS LLC               DBA MONROE BUICK PONTIAC GMC      330 STAGE RD                                                                         MONROE           NY   10950‐3313
MONROE MURPHY                       4671 ROCHESTER RD                                                                                                      DRYDEN           MI   48428‐9718
MONROE MURPHY                       3623 LYNN ST                                                                                                           FLINT            MI   48503‐4588
MONROE N BRACKNER                   C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                                            HOUSTON          TX   77007
                                    BOUNDAS LLP
MONROE NEWSOME                      ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS          707 BERKSHIRE BLVD         PO BOX 521              EAST ALTON       IL   62024
                                                                      ANGELIDES & BARNERD LLC
MONROE ONE BOCES                    ADULT AND COMMUNITY EDUCATION     41 O CONNOR ROAD                                                                     FAIRPORT        NY    14450
MONROE OSBORNE                      8740 WASHINGTON COLONY DRIVE                                                                                           CENTERVILLE     OH    45458‐3313
MONROE OWENS                        712 CORTWRIGHT ST                                                                                                      PONTIAC         MI    48340‐2302
MONROE PAGE                         PO BOX 79                                                                                                              SEVERNA PARK    MD    21146‐0079
MONROE PARHAM JR                    4735 CARTER AVE                                                                                                        SAINT LOUIS     MO    63115‐2240
MONROE PATTON                       20621 HAZELWOOD AVE                                                                                                    STRONGSVILLE    OH    44149‐2308
MONROE PAUL                         23 N SANFORD ST                                                                                                        PONTIAC         MI    48342‐2753
MONROE PAUL                         23 N. SANF0RD                                                                                                          PONTIAC         MI    48342
MONROE PINSON                       1350 STEINER AVENUE                                                                                                    DAYTON          OH    45408‐1812
MONROE PLATT                        6925 CASA CV                                                                                                           SHREVEPORT      LA    71129‐2502
MONROE POWELL                       3894 JENNINGS DR                                                                                                       TROY            MI    48083‐5175
MONROE REFRIGERATION SERVICE INC    2650 BETHANY BEND                                                                                                      ALPHARETTA      GA    30004
MONROE ROUNDTREE                    565 W 144TH ST APT 3E                                                                                                  NEW YORK        NY    10031‐5712
MONROE SA DE CV/REYNOSA             PHILIPS SPIETH                    TENNECO AUTOMOTIVE                BLVD FLORIDA #7 PARK IND   YANTAI SHANDONG CHINA
                                                                                                        MAQUI                      (PEOPLE'S REP)
MONROE SA DE CV/REYNOSA             PHILIP SPIETH                     TENNECO AUTOMOTIVE                BLVD FLORIDA #7 PARK IND   REYNOSA TAMAUIPAS TM
                                                                                                        MAQUI                      88690 MEXICO
MONROE SCHAFFER
MONROE SCHKADE                      7530 WOODWIND CT                                                                                                       BRIGHTON        MI    48116‐4727
MONROE SCHOOL TRANSPORTATION                                          970 EMERSON ST                                                                                       NY    14606
MONROE SCHUSTER                     1686 RACCOON WAY                                                                                                       PENDLETON       IN    46064‐8777
MONROE SCHUSTER                     3114 GREENBRIAR RD                                                                                                     ANDERSON        IN    46011‐2302
MONROE SHERMAN DIXSON               C/O NIX PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT          205 LINDA DRIVE                                    DAINGERFIELD    TX    75638
MONROE SMITH                        120 ADAMS AVE                                                                                                          CEDARTOWN       GA    30125‐2806
MONROE SMITH                        659 COCHRAN DR                                                                                                         NORCROSS        GA    30071‐2108
MONROE SPORT TRUCKS                 1051 W 7TH ST                                                                                                          MONROE          WI    53566‐9102
MONROE SPRING                       14680 LINCOLN PARK PL                                                                                                  GOWEN           MI    49326‐9574
MONROE SR, JACK B                   626 N 61ST ST                                                                                                          KANSAS CITY     KS    66102‐3102
MONROE SR, LYLE C                   901 E FAIRGROUNDS AVE                                                                                                  JERSEYVILLE     IL    62052‐1218
MONROE SR, RAYMOND W                415 OAK RD                                                                                                             SEAFORD         DE    19973‐2031
MONROE SR, RAYMOND WATSON           415 OAK RD                                                                                                             SEAFORD         DE    19973‐2031
MONROE SR, WALTER H                 1516 E RUDISILL BLVD                                                                                                   FORT WAYNE      IN    46806‐4466
MONROE STEVENSON                    PO BOX 974                                                                                                             MOUNT CLEMENS   MI    48046‐0974
MONROE THACKER                      13136 DECHANT ROAD                                                                                                     FARMERSVILLE    OH    45325‐9238
MONROE TIRE & AUTO SERVICE CENTER   30260 PARADISE LN                                                                                                      BIG PINE KEY    FL    33043‐3367

MONROE TRUCK EQUIP. ‐ MI            1051 W 7TH ST                                                                                                          MONROE           WI 53566‐9102
MONROE TRUCK EQUIP. ‐ MI
MONROE TRUCK EQUIPMENT
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Name                              Address1                        Address2              Address3       Address4         City           State Zip
MONROE TRUCK EQUIPMENT            4331 PAYSPHERE CIR                                                                    CHICAGO          IL 60674‐0043
MONROE TRUCK EQUIPMENT            1051 WEST 7TH ST                                                                      CINCINNATI      OH 45203
MONROE TRUCK EQUIPMENT            1051 W 7TH ST                                                                         MONROE          WI 53566‐9100
MONROE TRUCK EQUIPMENT (MEDIUM)   1051 W 7TH ST                                                                         MONROE          WI 53566‐9102

MONROE TRUCK EQUIPMENT (MEDIUM)

MONROE TRUCK EQUIPMENT INC        1051 W 7TH ST                                                                         MONROE         WI   53566‐9102
MONROE TRUCK EQUIPMENT INC        4343 PAYSPHERE CIR                                                                    CHICAGO        IL   60674‐0043
MONROE TRUCK EQUIPMENT INC        2400 REO DR                                                                           FLINT          MI   48507‐6359
MONROE TRUCK EQUIPMENT INC        RICHARD RUFENACHT               1051 W 7TH ST                                         MONROE         WI   53566‐9102
MONROE TRUCK EQUIPMENT, INC.      RICHARD RUFENACHT               1051 W 7TH ST                                         MONROE         WI   53566‐9102
MONROE TRUCK EQUIPMENT, INC.      2400 REO DR                                                                           FLINT          MI   48507‐6359
MONROE TRUCK EQUIPMENT‐ MI        1051 W 7TH ST                                                                         MONROE         WI   53566‐9102
MONROE TRUCK EQUIPMENT‐ MI
MONROE TRUCK EQUIPMENT‐JOLIET
MONROE TRUCK EQUIPMENT‐JOLIET     1051 W 7TH ST                                                                         MONROE         WI 53566‐9102
MONROE TRUCK EQUIPMENT/JOLIET     1051 W 7TH ST                                                                         MONROE         WI 53566‐9102
MONROE TRUCK EQUIPMENT/JOLIET
MONROE TRUCK EQUIPMENT/MEDIUM
MONROE TRUCK EQUIPMENT/MEDIUM     1051 W 7TH ST                                                                         MONROE         WI 53566‐9102
MONROE TRUCK EQUIPMENT/WI         1051 W 7TH ST                                                                         MONROE         WI 53566‐9102
MONROE TRUCK EQUIPMENT/WI
MONROE TWP PUBLIC WORKS                                           1040 GLASSBORO RD                                                    NJ   08094
MONROE VREELAND                   9241 NAVAJO TRL                                                                       FLUSHING       MI   48433‐1002
MONROE WALLS                      436 DUTCHMANS LN                                                                      GREENSBORO     MD   21639‐1418
MONROE WARD                       5625 APRICOT DR                                                                       BLYTHEVILLE    AR   72315‐5811
MONROE WARNER JR                  1516 DREXEL DR                                                                        ANDERSON       IN   46011‐3115
MONROE WINNING                    3604 LISBON ST                                                                        KETTERING      OH   45429‐4245
MONROE, ALBERT F                  10367 PAGE AVE                                                                        JACKSON        MI   49201‐9173
MONROE, ALBERT G                  720 TOM TIM DR                                                                        PAULDING       OH   45879‐9242
MONROE, ALBERTA P                 74802 VILLAGE CENTER DR APT 4                                                         INDIAN WELLS   CA   92210‐7213
MONROE, ALICE M                   1349 S LOCKE ST                                                                       KOKOMO         IN   46902‐1740
MONROE, ALINA                     1801 E 68TH ST APT 22                                                                 LONG BEACH     CA   90805
MONROE, ANGELETTE                 4527 CANTEBURY LN                                                                     BIRMINGHAM     AL   35215‐2893
MONROE, ANNA J                    7093 SHERIDAN ROAD                                                                    FLUSHING       MI   48433‐9102
MONROE, ANNIE R                   6 GREENWOODE LN                                                                       PONTIAC        MI   48340‐2244
MONROE, AREMENTER                 2838 VIKING DR                                                                        COLUMBUS       GA   31907‐6832
MONROE, ARLENE L                  7685 BINGHAM AVE                                                                      NEWAYGO        MI   49337‐9721
MONROE, ARLENE L                  7685 BINGHAM                                                                          NEWAYGO        MI   49337
MONROE, AUDREY J                  3273 SCHUST RD APT 108                                                                SAGINAW        MI   48603‐8113
MONROE, BARBARA W                 4719 OLLIE CHUNN RD                                                                   SPRING HILL    TN   37174‐2247
MONROE, BERNARD M                 2302 W DAYTON ST                                                                      FLINT          MI   48504‐7125
MONROE, BEULAH                    3044 SOUTH VASSAR ROAD                                                                BURTON         MI   48519‐1670
MONROE, BLAINE P                  11470 KNIGHTS DR                                                                      PINCKNEY       MI   48169‐9082
MONROE, BONNIE                    1866 COUNTY ROUTE 38                                                                  NORFOLK        NY   13667‐3240
MONROE, BRAD D                    637 N CLOVERDALE AVE                                                                  INDEPENDENCE   MO   64056‐2259
MONROE, BRANDON J                 409 STUCKHARDT RD                                                                     DAYTON         OH   45426‐2705
MONROE, BRUCE E                   PO BOX 16133                                                                          LONG BEACH     CA   90806‐0633
MONROE, CAROL L                   1389 GAMBRELL DR APT D307                                                             PONTIAC        MI   48340‐2122
MONROE, CAROL L                   APT D307                        1389 GAMBRELL DRIVE                                   PONTIAC        MI   48340‐2122
MONROE, CAROLYN S                 1308 S DELPHOS ST                                                                     KOKOMO         IN   46902‐1725
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Name                      Address1                        Address2                  Address3   Address4         City             State Zip
MONROE, CATHERINE         1403 INDIANA AVE                                                                      SAINT CLOUD       FL 34769‐4465
MONROE, CHARLES D         2509 ARCHWOOD DR                                                                      DAYTON            OH 45406‐1404
MONROE, CHARLES D         2036 LAKE DR                                                                          ANDERSON          IN 46012‐1815
MONROE, CHARLES ELLA      12045 VICTORIAN VILLAGE COURT                                                         SAINT LOUIS       MO 63138
MONROE, CHARLES F         5105 W OREGON RD                                                                      LAPEER            MI 48446‐8059
MONROE, CHARLES T         9138 POTTER RD                                                                        FLUSHING          MI 48433‐1913
MONROE, CHARLES W         10365 ORTONVILLE RD                                                                   CLARKSTON         MI 48348‐1945
MONROE, CHARLES W         5896 COBB RD                                                                          LAPEER            MI 48446‐9733
MONROE, CHRISTOPHER M     634 MAPLE DR                                                                          SOUTH LYON        MI 48178‐9474
MONROE, CINDY             279 W COLUMBIA                                                                        PONTIAC           MI 48340‐1711
MONROE, CLARENCE E        726 MEMORIAL DR                                                                       BEECH GROVE       IN 46107‐2235
MONROE, CLYDE R           THE HARTER HOUSE                600 MAIN ST.              APT 313                     ANDERSON          IN 46016
MONROE, CRAIG S           LOT 144                         1549 EAST ATHERTON ROAD                               FLINT             MI 48507‐9109
MONROE, DANIEL L          10320 CLARK RD                                                                        DAVISON           MI 48423‐8507
MONROE, DANNY L           3834 APPLE ST                                                                         SAGINAW           MI 48601‐5503
MONROE, DANNY L           3834 APPLE STREET                                                                     SAGINAW           MI 48601‐5503
MONROE, DAVID             SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST        MS 39083‐3007
MONROE, DAVID D           PO BOX 363                                                                            CHRISTIANSBURG    OH 45389‐0363
MONROE, DAVID J           2302 W DAYTON ST                                                                      FLINT             MI 48504‐7125
MONROE, DAVID L           PO BOX 177                                                                            MATTHEWS          IN 46957‐0177
MONROE, DAVID M           32422 BIRCHWOOD ST                                                                    WESTLAND          MI 48186‐5251
MONROE, DAVID R           3480 E FINGER ROCK RD                                                                 TUCSON            AZ 85718‐1367
MONROE, DAVID W           130 MALLARD RD                                                                        PERRYSBURG        OH 43551‐2538
MONROE, DEBORAH A         634 MAPLE DR                                                                          SOUTH LYON        MI 48178‐9474
MONROE, DEBRA A           1136 HILLCREST DR                                                                     OXFORD            MI 48371‐6018
MONROE, DENNIS            4719 OLLIE CHUNN RD                                                                   SPRING HILL       TN 37174‐2247
MONROE, DIANA L           5787 W 300 N                                                                          SHARPSVILLE       IN 46068‐9147
MONROE, DONALD D          64725 NORWICH CIR                                                                     WASHINGTON        MI 48095‐2543
MONROE, DONALD F          1866 COUNTY ROUTE 38                                                                  NORFOLK           NY 13667‐3240
MONROE, DONALD L          5483 BONNIE AVE SE                                                                    GRAND RAPIDS      MI 49508‐6079
MONROE, DONNA             428 HIGHWAY 100 WEST                                                                  CENTERVILLE       TN 37033‐4282
MONROE, DOROTHY AH        463 ALEXANDER STREET                                                                  ROCHESTER         NY 14605‐2705
MONROE, DOUGLAS E         6209 LEBEAU ST                                                                        MOUNT MORRIS      MI 48458‐2727
MONROE, EDDIE L           637 ATHENS ST                                                                         SAGINAW           MI 48601‐1414
MONROE, EDWARD L          3913 MEANDER DR.                                                                      MINERAL RIDGE     OH 44440‐9026
MONROE, ELEANOR L         104 STATE ROUTE 235                                                                   ADA               OH 45810
MONROE, ELIZABETH J       750 EAST MAIN STREET                                                                  HARBOR SPGS       MI 49740‐1548
MONROE, ELIZABETH L       114 HOBART ST                                                                         ROCHESTER         NY 14611‐2518
MONROE, ELIZABETH W       298 W COLUMBIA AVE                                                                    PONTIAC           MI 48340‐1710
MONROE, ELLEN E           39386 SUNDERLAND DR                                                                   CLINTON TWP       MI 48038‐2682
MONROE, ELLEN ELIZABETH   39386 SUNDERLAND DR                                                                   CLINTON TWP       MI 48038‐2682
MONROE, ELLEN M           1757 BROCKTON DR                                                                      YOUNGSTOWN        OH 44511‐1001
MONROE, ELLEN M           1757 BROCKTON                                                                         AUSTINTOWN        OH 44511‐1001
MONROE, ELMER D           6446 N ELMS RD                                                                        FLUSHING          MI 48433‐9039
MONROE, ELMER S           G9513 W PIERSON ROAD                                                                  FLUSHING          MI 48433
MONROE, ERIC R            34215 PINEWOODS CIR APT 202                                                           ROMULUS           MI 48174‐8225
MONROE, ERIC RENE         34215 PINEWOODS CIR APT 202                                                           ROMULUS           MI 48174‐8225
MONROE, ERIC WILLIAM      191 DOGWOOD DR                                                                        DAVISON           MI 48423‐8101
MONROE, ERNEST E          4318 W BROCKER RD                                                                     METAMORA          MI 48455‐9796
MONROE, ERVE T            BOONE ALEXANDRA                 205 LINDA DR                                          DAINGERFIELD      TX 75638‐2107
MONROE, EVALINA           178 LIBERTY RD APT 4                                                                  ENGLEWOOD         NJ 07631‐2257
MONROE, EVELYN            677 ELEVEN MILE RD                                                                    LINWOOD           MI 48634
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Name                    Address1                         Address2                Address3     Address4         City            State Zip
MONROE, FRANK E         177 SHERIDAN AVE                                                                       LONGWOOD         FL 32750‐3967
MONROE, GARY
MONROE, GARY            220 MERCER RD                                                                          FRANKLIN        PA   16323‐4508
MONROE, GARY D          2284 LEE PLACE                                                                         TUTTLE          OK   73089‐7513
MONROE, GEORGE H        95 NORTH RIVERTON ROAD                                                                 ELKTON          MD   21921‐8345
MONROE, GLADYS          236 PINE BLUFFS ROAD                                                                   ROSCOMMON       MI   48653‐8329
MONROE, GLEN V          14114 KATHLEEN DR                                                                      BROOK PARK      OH   44142‐4038
MONROE, GLEN V
MONROE, HAROLD F        428 CHRISTIAN BEND RD                                                                  CHURCH HILL     TN   37642‐5133
MONROE, HARRIET J       3222 ARTISAN DR                                                                        KOKOMO          IN   46902‐8122
MONROE, HARVEY D        11897 W LAZY LN                                                                        MONTICELLO      IN   47960‐8158
MONROE, HATTIE L        5224 W TOWNSEND ST                                                                     MILWAUKEE       WI   53216‐3232
MONROE, HELEN           1840 W HIGH ST                   PIQUA MANOR                                           PIQUA           OH   45356‐9399
MONROE, HELEN           PIQUA MANOR                      1840 WEST HIGH STREET                                 PIQUA           OH   45356‐5356
MONROE, IDA             726 MEMORIAL DRIVE                                                                     BEECH FROVE     IN   46107
MONROE, INA GAIL        5074 GRAND BLVD                                                                        NEWTON FALLS    OH   44444‐1007
MONROE, IVA JEAN        5512 ARROWHEAD BLVD                                                                    KOKOMO          IN   46902‐5406
MONROE, JACK G          5051 ROMA DR                     APT 404                                               SHREVEPORT      LA   71105‐4658
MONROE, JACK J          13248 N LINDEN RD                                                                      CLIO            MI   48420‐8233
MONROE, JACKIE L        1600 GLENEAGLES DR                                                                     KOKOMO          IN   46902‐3181
MONROE, JAMES A         45 STEVENS AVE                                                                         BUFFALO         NY   14215‐4039
MONROE, JAMES D         626 N 61ST ST                                                                          KANSAS CITY     KS   66102‐3102
MONROE, JAMES D         162 WESTHAFER RD                                                                       VANDALIA        OH   45377‐2837
MONROE, JAMES E         209 JOHNSON ST                                                                         DAYTON          OH   45410‐1421
MONROE, JAMES E         425 6 MILE RD                                                                          WHITMORE LAKE   MI   48189‐9560
MONROE, JAMES E.        425 6 MILE RD                                                                          WHITMORE LAKE   MI   48189‐9560
MONROE, JAMES K         11722B ORIOLE DR                                                                       HAGERSTOWN      MD   21742‐4435
MONROE, JAMES M         1308 10TH ST APT 6                                                                     WICHITA FALLS   TX   76301‐3230
MONROE, JAMES R         9985 DOWNING RD                                                                        BIRCH RUN       MI   48415‐9790
MONROE, JAMES T         3331 LIBERTY STREET                                                                    SAINT LOUIS     MO   63111‐1455
MONROE, JANICE
MONROE, JANICE MARIE    1700 MONROE ST                                                                         WICHITA FALLS   TX   76309‐3206
MONROE, JANICE N        1600 GLENEAGLES DR                                                                     KOKOMO          IN   46902‐3181
MONROE, JEANNIE C       2005 MARICOPA DR                                                                       LOUISVILLE      KY   40223‐1159
MONROE, JERALDINE J     7110 E. PICCADILLY                                                                     MUNCIE          IN   47303‐4596
MONROE, JERRY A         10067 STANLEY RD                                                                       FLUSHING        MI   48433‐9204
MONROE, JERRY D         877 KENILWORTH                                                                         WARREN          OH   44484
MONROE, JERRY L         R =4                                                                                   MUNCIE          IN   47302
MONROE, JOANN           5217 E 300 S                                                                           KOKOMO          IN   46902‐9381
MONROE, JOHN A          3182 W WASHINGTON RD                                                                   ITHACA          MI   48847‐9797
MONROE, JOHN C          5394 GROUSE CT                                                                         BEAVERTON       MI   48612‐8533
MONROE, JOHN D          8223 ROSSMAN HWY                                                                       DIMONDALE       MI   48821‐9715
MONROE, JOHN F          1623 WADSWORTH AVE                                                                     SAGINAW         MI   48601‐1626
MONROE, JOHN F          7110 E PICCADILLY RD                                                                   MUNCIE          IN   47303‐4596
MONROE, JOHN J          9115 LONGCROFT DR                                                                      SPRING          TX   77379
MONROE, JOHN J          507 WASHINGTON ST                                                                      LESLIE          MI   49251‐9488
MONROE, JOHN R          2961 LAKE RD                                                                           MEDWAY          OH   45341‐1327
MONROE, JOHNNIE         175 RAYNOR DR                                                                          BEDFORD         OH   44146‐2859
MONROE, JOSEPH          4465 SHERIDAN RD                                                                       SAGINAW         MI   48601‐5729
MONROE, JOSEPH E        637 ATHENS ST                                                                          SAGINAW         MI   48601‐1414
MONROE, JOSEPH EDWARD   637 ATHENS ST                                                                          SAGINAW         MI   48601‐1414
MONROE, JOYCE A         2076 HARDWOOD CIRCLE                                                                   DAVISON         MI   48423‐9518
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Name                          Address1                     Address2                 Address3    Address4         City             State Zip
MONROE, JOYCE R               2317 LAKE RIDGE DR                                                                 GRAND BLANC       MI 48439‐7366
MONROE, JUDITH                ANTOGNOLI DAVID L            2227 S STATE ROUTE 157                                EDWARDSVILLE       IL 62025‐3646
MONROE, JUDY E                3701 WILDWOOD AVE                                                                  LANSING           MI 48910‐4661
MONROE, KATHLEEN G            2748 GIRARD DR                                                                     WARREN            MI 48092‐4832
MONROE, KEITH L               2765 GRAMER RD                                                                     WEBBERVILLE       MI 48892‐9254
MONROE, KENNETH E             4572 FLEMING RD                                                                    FOWLERVILLE       MI 48836‐9555
MONROE, KENNETH L             18101 SE 74TH ST                                                                   NEWALLA           OK 74857‐6600
MONROE, KEVIN J               541 FOX RUN PL                                                                     MONROE            OH 45050‐1010
MONROE, KEVIN S               20 GROVE AVE                                                                       DAYTON            OH 45404‐1971
MONROE, KIM D                 7999 W 70TH ST                                                                     GREENWOOD         LA 71033‐3119
MONROE, KIM DIANE             7999 W 70TH ST                                                                     GREENWOOD         LA 71033‐3119
MONROE, KIMBERLY S            10329 COLDWATER RD                                                                 FLUSHING          MI 48433
MONROE, LAMONTE C             332 TAR HEEL DR                                                                    DELAWARE          OH 43015‐3421
MONROE, LAMONTE CHRISTOPHER   332 TAR HEEL DR                                                                    DELAWARE          OH 43015‐3421
MONROE, LARRY J               4230 SHERIDAN RD                                                                   SAGINAW           MI 48601‐5025
MONROE, LAURA F               2981 FM 966                                                                        YOAKUM            TX 77995‐6331
MONROE, LEATRICE              637 ATHENS                                                                         SAGINAW           MI 48601‐1414
MONROE, LEONA A               5004 S RIDGE CLUB DR 1                                                             LAS VEGAS         NV 89103
MONROE, LESLIE F              3331 LIBERTY STREET                                                                SAINT LOUIS       MO 63111‐1455
MONROE, LESTER D              W18103 LONG POINT RD                                                               GERMFASK          MI 49836‐9209
MONROE, LISA A                PO BOX 363                                                                         CHRISTIANSBURG    OH 45389‐0363
MONROE, LOVELY                4636 N 72ND ST                                                                     MILWAUKEE         WI 53218‐4856
MONROE, LOYAL D               9023 FRANCES RD                                                                    FLUSHING          MI 48433‐8846
MONROE, LUE E                 1000 SUMMERHAVEN ROAD                                                              CLARKSVILLE       TN 37042‐4799
MONROE, MABLE                 VARAS & MORGAN               PO BOX 886                                            HAZLEHURST        MS 39083‐0886
MONROE, MARION L              803 BAYBERRY DR                                                                    NEW CARLISLE      OH 45344‐1247
MONROE, MARJORIE J            8346 HARDWOOD DR.                                                                  JENISON           MI 49428‐9155
MONROE, MARTHA M              6511 DUPONT ST                                                                     FLINT             MI 48505‐2068
MONROE, MARY F                9730 BAIRD RD APT 1911                                                             SHREVEPORT        LA 71118‐3841
MONROE, MARY F                4431 N 38TH ST                                                                     MILWAUKEE         WI 53209‐5911
MONROE, MARY K                6456 HILL RD                                                                       SWARTZ CREEK      MI 48473‐8202
MONROE, MARY T                PO BOX 1342                                                                        NILAND            CA 92257
MONROE, MATTHEW D             3815 LINDSLEY DR                                                                   METAMORA          MI 48455‐9765
MONROE, MERTLE                POST BOX 207                                                                       DRYBRANCH         WV 25061
MONROE, MICHAEL A             321 DEER POINT RD                                                                  UNIONVILLE        TN 37180‐2004
MONROE, MICHAEL C             24358 RONAN RD                                                                     BEDFORD HTS       OH 44146‐3970
MONROE, MICHAEL E             851 S NEVINS RD                                                                    STANTON           MI 48888‐9137
MONROE, MICHAEL W             6108 THORNCLIFF DR                                                                 SWARTZ CREEK      MI 48473‐8852
MONROE, MILDRED JOAN          4464 WORTH RD                                                                      PINCONNING        MI 48650‐8316
MONROE, MYRL L                711 W FLINT ST                                                                     DAVISON           MI 48423‐1009
MONROE, NEVA M                4530 HESS AVE                APT 117                                               SAGINAW           MI 48601‐6935
MONROE, NICOLE K              507 WASHINGTON ST                                                                  LESLIE            MI 49251‐9488
MONROE, NICOLE KAY            507 WASHINGTON ST                                                                  LESLIE            MI 49251‐9488
MONROE, ORETHA J              1208 N ALDEN RD                                                                    MUNCIE            IN 47304‐2901
MONROE, PAMELA L              409 STUCKHARDT RD                                                                  TROTWOOD          OH 45426‐2705
MONROE, PAUL C                2800 MULBERRY DR                                                                   CLARKSTON         MI 48348‐5304
MONROE, PAUL E                1213 W HAVENS ST                                                                   KOKOMO            IN 46901‐2631
MONROE, PAULA M               15411 ENSENADA RD                                                                  GREEN VALLEY      CA 91390‐1061
MONROE, PEGGY A               445 STRINGTOWN RD                                                                  SCIENCE HILL      KY 42553‐9007
MONROE, PHYLLIS D             429 N JACK PINE CIR                                                                FLINT             MI 48506‐4569
MONROE, PHYLLIS DIANE         429 N JACK PINE CIR                                                                FLINT             MI 48506
MONROE, RALANDA A             1240 HUNTERS POINT LN                                                              SPRING HILL       TN 37174
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Name                     Address1                         Address2                      Address3   Address4         City            State Zip
MONROE, RALPH M          11274 HIBNER RD                                                                            HARTLAND         MI 48353‐1225
MONROE, RANDALL A        5940 NATCHEZ TRACE RD                                                                      FRANKLIN         TN 37064‐9213
MONROE, REBECCA J        910 RAINBOW CIRCLE                                                                         KOKOMO           IN 46902‐3609
MONROE, RICHARD A        3810 S 300 E                                                                               HARTFORD CITY    IN 47348‐9722
MONROE, RICHARD A        2284 POPPLEWOOD CT                                                                         DAVISON          MI 48423‐9528
MONROE, RICHARD D        4518 N STATE ROAD 1                                                                        PENNVILLE        IN 47369‐9778
MONROE, ROBERT D         324 PITTSBURG LNDG                                                                         SUMMERVILLE      SC 29483‐8846
MONROE, ROBERT E         3040 WEBBERVILLE RD                                                                        WEBBERVILLE      MI 48892‐9711
MONROE, ROBERT H         6445 ROUNDS RD                                                                             NEWFANE          NY 14108‐9732
MONROE, ROBERT L         425 TREELINE CV                                                                            FORT WAYNE       IN 46825‐1129
MONROE, ROBERT P         4816 HEATH RD                                                                              SOUTH BRANCH     MI 48761‐9513
MONROE, ROBERT P         11842 STERLING DR                                                                          ORLAND PARK       IL 60467
MONROE, RODESSA          2537 VAN BRUNT BLVD                                                                        KANSAS CITY      MO 64127
MONROE, RODNEY L         4616 N AINGER RD                                                                           CHARLOTTE        MI 48813‐8863
MONROE, RONALD R         8 SAILORS WAY                                                                              INWOOD           WV 25428‐3136
MONROE, RONRICO L        8822 ALLMAN RD                                                                             LENEXA           KS 66219‐2711
MONROE, RONRICO L        8747 DUNRAVEN ST                                                                           LENEXA           KS 66227‐7204
MONROE, SEPTINA          2020 N YORK ST                                                                             DEARBORN         MI 48128‐1249
MONROE, SHARON           125 LOOMIS AVE.                                                                            CLIO             MI 48420‐1452
MONROE, SHARON           125 LOOMIS AVE                                                                             CLIO             MI 48420‐1452
MONROE, SHIRLEY R        8081 JENNINGS RD                                                                           SWARTZ CREEK     MI 48473‐9147
MONROE, STEVEN H         5193 MOYER RD                                                                              WEBBERVILLE      MI 48892‐9764
MONROE, TERRY G          235 S HEMLOCK LN                                                                           STATE ROAD       NC 28676‐8937
MONROE, THELMA           2192 PAINTED POST DR                                                                       FLUSHING         MI 48433‐2578
MONROE, THEODORE         3027 PERKINS ST                                                                            SAGINAW          MI 48601‐6557
MONROE, THERESA A        PO BOX 163                                                                                 BRASHER FALLS    NY 13613‐0163
MONROE, THOMAS L         2724 SWEET CIDER RD                                                                        FORT WAYNE       IN 46818‐8897
MONROE, TIMOTHY J        8081 JENNINGS RD                                                                           SWARTZ CREEK     MI 48473‐9147
MONROE, TIMOTHY JAMES    8081 JENNINGS RD                                                                           SWARTZ CREEK     MI 48473‐9147
MONROE, TIMOTHY W        306 N UNION ST                                                                             SPARTA           MI 49345‐1145
MONROE, TINA             10 SAILORS WAY                                                                             INWOOD           WV 25428‐3136
MONROE, TWYLA J          3820 WEST JACKSON ST.            RM # 60                                                   MUNCIE           IN 47304
MONROE, VAN              804 WOODS ST                                                                               MINDEN           LA 71055‐5620
MONROE, VERONICA R       57 S 2ND ST                                                                                CEDAR SPRINGS    MI 49319
MONROE, VIRGINIA C       400 SUNNYMEDE DR                                                                           KOKOMO           IN 46901
MONROE, VIRGINIA L       371 LAIRD ST                                                                               MT. MORRIS       MI 48458‐8850
MONROE, WADE E           5634 N 9 MILE RD                                                                           PINCONNING       MI 48650
MONROE, WALTER E         407 WHITFIELD                                                                              MUSCLE SHOALS    AL 35661‐4706
MONROE, WANDA J          6623 JARVIS DR                                                                             INDIANAPOLIS     IN 46237‐9170
MONROE, WARREN C         8330 WESTMINISTER DR S                                                                     MOUNT MORRIS     MI 48458‐8819
MONROE, WAYNE CLAIR      4216 CEDARWOOD ST                                                                          WINTER HAVEN     FL 33880‐1607
MONROE, WELDON           2548 GLENRIO DR                                                                            SAN JOSE         CA 95121‐1342
MONROE, WILLIAM E        50 PARK AVE                                                                                CRYSTAL          MI 48818‐9628
MONROE, WILLIAM E        50 PARK AVENUE                                                                             CRYSTAL          MI 48818‐9628
MONROE, WILLIAM H        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
MONROE, WILLIAM J        RR 2 BOX 56                                                                                LISBON          NY   13658
MONROE, WILLIAM L        3027 PERKINS ST                                                                            SAGINAW         MI   48601‐6557
MONROE, WILLIAM M        2302 W DAYTON ST                                                                           FLINT           MI   48504‐7125
MONROE, WILLIAM M        3407 GREGORY RD                                                                            LAKE ORION      MI   48359‐2015
MONROE, WILLIAM MARTIN   2302 W DAYTON ST                                                                           FLINT           MI   48504‐7125
MONROE, WILLIE           PO BOX 37023                                                                               MAPLE HTS       OH   44137
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Name                            Address1                           Address2                     Address3   Address4              City                State Zip
MONROE,DAVID D                  PO BOX 363                                                                                       CHRISTIANSBURG       OH 45389‐0363
MONROE,JAMES D                  162 WESTHAFER RD                                                                                 VANDALIA             OH 45377‐2837
MONROE‐ROUSE, MICHELLE M        20032 CESSNA RD                                                                                  BON AQUA             TN 37025‐3039
MONROEVILLE BOROUGH PA
MONROY, ALFREDO B               1504 DOUTHIT ST SW                                                                               DECATUR              AL   35601‐2720
MONROY, MIGUEL CABRERA
MONROY, RAFAEL CABRERA
MONROY, ROBERTO CABRERA
MONROY, TRINIDAD                7504 CALMAR CT                                                                                   FORT WORTH          TX    76112‐5405
MONRREAL, DIANNE A              525 N SAN FELIPE AVE                                                                             SAN ANTONIO         TX    78228
MONS, MELVIN R                  32123 JOY RD                                                                                     WESTLAND            MI    48185‐1542
MONS, ROBERT E                  125 LA PASADA CIR N                                                                              PONTE VEDRA BEACH   FL    32082‐5208
MONSANTO                        800 N LINDBERGH BLVD # MCG5NF                                                                    SAINT LOUIS         MO    63167‐0001
MONSANTO                        ATTN: GENERAL COUNSEL              800 N LINDBERGH BLVD                                          SAINT LOUIS         MO    63167‐0001
MONSANTO                        KELLIE DUENKE                      800 N LINDBERGH BLVD                                          SAINT LOUIS         MO    63141‐7843
MONSANTO ENVIRON CHEM SYSTEMS   14522 SOUTH OUTER 40 ROAD                                                                        CHESTERFIELD        MO    63017
MONSANTO/AUBURN HILL            2401 E WALTON BLVD                 P.O. BOX 215290                                               AUBURN HILLS        MI    48326‐1957
MONSANTO/PREFERRED              800 N LINDBERGH BLVD # MCG6NF                                                                    SAINT LOUIS         MO    63167‐0001
MONSANTO/STAR DEALER            800 N LINDBERGH BLVD # MCG5NF                                                                    SAINT LOUIS         MO    63167‐0001
MONSANTY, JOHN J                2920 CLEARWATER ST NW                                                                            WARREN              OH    44485‐2214
MONSCHAU, ANNA                  6055 PINNACLE LN APT 904                                                                         NAPLES              FL    34110‐7359
MONSCHAU, HERBERT E             6055 PINNACLE LN APT 904                                                                         NAPLES              FL    34110‐7359
MONSCHEIN, DANIEL J             1623 N NORFOLK ST                                                                                INDIANAPOLIS        IN    46224‐5524
MONSCHEIN, ROBERT A             110 4TH ST                                                                                       CHARLOTTE           MI    48813‐2188
MONSE PEREZ                     159 SAINT JOHNS AVE                                                                              STATEN ISLAND       NY    10305‐3036
MONSE, BRENDA D                 80 FOURFIELD DR                                                                                  TROY                MO    63379‐4506
MONSEES TOOL & DIE INC          850 ST PAUL ST                                                                                   ROCHESTER           NY    14605
MONSEES, BRUCE M                7101 E 47TH ST                                                                                   KANSAS CITY         MO    64129‐1969
MONSEES, MARTIN H               602 SAINT LOUIS AVE                                                                              EXCELSIOR SPRINGS   MO    64024‐2614
MONSEES, SHERRY L               307 GRANT ST                                                                                     VASSAR              MI    48768‐1333
MONSEES, SHERRY LOU             307 GRANT ST                                                                                     VASSAR              MI    48768‐1333
MONSEN, LAUREN A                53059 SCENIC DR                                                                                  SHELBY TWP          MI    48316‐2150
MONSERAT ROBIN                  MONSERAT, ROBIN                    5055 WILSHIRE BLVD STE 300                                    LOS ANGELES         CA    90036‐6101
MONSERE, GARY A                 38605 SUMPTER DR                                                                                 STERLING HTS        MI    48310‐2923
MONSERE, PATRICK J              1165 CRAVEN DR                                                                                   HIGHLAND            MI    48356‐1130
MONSERRAT GONZALEZ              EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                           DETROIT             MI    48265‐2000

MONSERRAT, DELTA                189 GOLFVIEW DR.                                                                                 TEQUESTA            FL    33469
MONSERRAT, RAFAEL E             189 GOLFVIEW DR                                                                                  TEQUESTA            FL    33469‐1922
MONSERRATE CARABALLO            91 STANRIDGE CT 1                                                                                ROCHESTER           NY    14617
MONSERRATE ROSADO               38 STRONG STREET                                                                                 ROCHESTER           NY    14621‐2129
MONSERRATE V VELEZ              1137 SW 39TH ST                                                                                  OKLAHOMA CITY       OK    73109‐3005
MONSERRATE VELEZ                1137 SW 39TH ST                                                                                  OKLAHOMA CITY       OK    73109‐3005
MONSEY, KARISSA TYLENE          6999 W 200 N                                                                                     ANDREWS             IN    46702‐9452
MONSEY, PHYLLIS D               PO BOX 403                                                                                       ANDREWS             IN    46702‐0403
MONSEY, PHYLLIS DARLENE         PO BOX 403                                                                                       ANDREWS             IN    46702‐0403
MONSEY, TODD A                  2160 PRAIRIE VW                                                                                  GRAND BLANC         MI    48439‐8097
MONSHOWER, KATHLEEN             1102 N MINNESOTA                                                                                 HASTINGS            NE    68901‐3956
MONSIBAIS ALISHA                3708 CREST DR                                                                                    BAKERSFIELD         CA    93306‐1136
MONSIEUR MUFFLER ‐ GATINEAU     81 BOUL GREBER                                                             GATINEAU QC J8T 3P9
                                                                                                           CANADA
MONSION, CHARLENE E             889 N SCHEURMANN RD APT 1                                                                        ESSEXVILLE          MI 48732‐1866
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Name                            Address1                           Address2                      Address3                 Address4             City               State Zip
MONSION, CHARLENE E             889 N SCHEURMAN ST                 APT 1                                                                       ESSEXVILLE          MI 48732‐1866
MONSION, RONALD H               1097 W ANDERSON RD                                                                                             LINWOOD             MI 48634‐9819
MONSION, VIRGIL H               1485 W ANDERSON RD                                                                                             LINWOOD             MI 48634‐9730
MONSIVAIS, ANTONIO              620 HILLCREST ST                                                                                               MANSFIELD           TX 76063‐2163
MONSIVAIS, ENRIQUE L            7021 N 15TH ST                                                                                                 MCALLEN             TX 78504‐3123
MONSIVAIS, MARTHA               2305 EAST AVE                                                                                                  BERWYN               IL 60402
MONSIVAIS, RAFAEL               6096 WILLIAMS ST                                                                                               DOWNERS GROVE        IL 60516‐2014
MONSON GEORGE HOWARD (407411)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK             VA 23510
                                                                   STREET, SUITE 600
MONSON MAURICE A (429486)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
MONSON, CHARMAINE C             4211 STANLEY RD                                                                                                COLUMBIAVILLE      MI   48421
MONSON, DOLORES M               3220 WATERPLACE CV                                                                                             VILLA RICA         GA   30180‐2996
MONSON, GARY D                  414 STANFORD PL                                                                                                SANTA BARBARA      CA   93111‐1814
MONSON, GEORGE HOWARD           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA   23510
                                                                   STREET, SUITE 600
MONSON, JOHN E                  5239 S LAKESHORE DR                                                                                            SHREVEPORT         LA   71109‐1811
MONSON, JOHN L                  BALL W GORDON                      550 W MAIN ST STE 750                                                       KNOXVILLE          TN   37902‐2531
MONSON, L                       2509 E CARMEL AVE                                                                                              MESA               AZ   85204‐3017
MONSON, LEROY C                 18606 LAHEY ST                                                                                                 NORTHRIDGE         CA   91326‐2422
MONSON, MARK R                  4211 STANLEY RD                                                                                                COLUMBIAVILLE      MI   48421‐9361
MONSON, MAURICE A               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA   23510
                                                                   STREET, SUITE 600
MONSON, MITCHELL J              74 FARM RD UNIT D                                                                                              HILLSBOROUGH       NJ   08844‐4481
MONSON, PATRICIA A              7862 WALLACE RD                                                                                                PAVILION           NY   14525‐9321
MONSON, SHARON L                532 DAWN AVE                                                                                                   DANVILLE           IL   61832‐1559
MONSON, SUSAN                   20692 JASMINE PATH                                                                                             LAKEVILLE          MN   55044‐5968
MONSON, WAYNE A                 202 CHERRY ST                                                                                                  JANESVILLE         WI   53548‐4602
MONSOUR, JOYCE E                10205 HILLVIEW CT                                                                                              GRAND BLANC        MI   48439‐9410
MONSOUR, NINA A                 2260 PAR LN APT 708                PINE RIDGE VALLEY                                                           WILLOUGHBY HILLS   OH   44094‐2949
MONSOUR, NINA A                 PINE RIDGE VALLEY                  2260 PARLANE, SUITE 708                                                     WILLOUGHBY HILLS   OH   44094‐2949
MONSOUR, THOMAS J               8226 HAM RD                                                                                                    MERIDIAN           MS   39305‐9408
MONSTER INC                     PO BOX 34649                                                                                                   NEWARK             NJ   07189‐0001
MONSTER WORLDWIDE               RICK COTTON                        799 MARKET ST                 7TH FLOOR                                     SAN FRANCISO       CA   94103‐2045
MONSTER WORLDWIDE               RICK COTTON                        799 MARKET ST FL 7                                                          SAN FRANCISCO      CA   94103‐2045
MONSY, DENISE                   BOLZ LOVASZ TOTH & RUGGIERO PLLC   12 HARDING ST STE 110                                                       LAKEVILLE          MA   02347‐1232
MONT BLANC LTD                  C/O MERRILL LYNCH INT BANK LTD     ATTN TRUST DEPARTMENT         2 RAFFLES LINK, MARINA   SINGAPORE 039392
                                                                                                 BAYFRONT
MONT CALM TIRE CO               ATTN: JOE MARTINEZ                 179 W MONTCALM ST                                                           PONTIAC            MI   48342‐1145
MONT ELKINS                     22006 MOHICAN AVE                                                                                              APPLE VALLEY       CA   92307‐4018
MONT MECKLER                    PO BOX 640                                                                                                     ROANOKE            IN   46783‐0640
MONT SMITH                      5430 W RALSTON RD                                                                                              INDIANAPOLIS       IN   46221‐9674
MONT'S ON TIME EXPRESS INC      JOHN MONTELLO                      3290 ASKIN AVE                                         WINDSOR ON N9E 3J5
                                                                                                                          CANADA
MONT, DANIEL                    14520 E REED AVE                   C/O CRISTINA MONT‐KRAUS                                                     TRUCKEE            CA   96161‐3621
MONT, HECTOR M                  13061 MINNETONKA DR                                                                                            LINDEN             MI   48451‐9428
MONT, LOUISE L                  3135 DELAWARE                                                                                                  FLINT              MI   48506‐3066
MONT, LOUISE L                  3135 DELAWARE AVE                                                                                              FLINT              MI   48506‐3066
MONT, MARCO A                   972 BRADLEY AVE                                                                                                FLINT              MI   48503‐3176
MONT, OCTAVIO M                 PO BOX 1463                                                                                                    HATILLO            PR   00659‐1463
MONT, PATRICIA A                1416 PEACEPIPE TRL                                                                                             XENIA              OH   45385‐4132
MONT, RAMON L                   2425 ADAIR ST                                                                                                  FLINT              MI   48506‐3417
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Name                         Address1                              Address2                   Address3             Address4             City                  State Zip
MONT, REBA K                 972 BRADLEY                                                                                                FLINT                  MI 48503‐3176
MONT, SHARON S               444 CHESTER ST APT 413                                                                                     BIRMINGHAM             MI 48009‐1473
MONT, TERRY L                1416 PEACEPIPE TR                                                                                          XENIA                  OH 45385‐4132
MONTA KELLY                  17124 CAMBRIDGE BLVD                                                                                       BROOK PARK             OH 44142‐3623
MONTA MUTTER                 16713 RECREATION DR                                                                                        LAKE MILTON            OH 44429‐9783
MONTA SHELTON                138 LANTERN LN                        MOBIL MANOR                                                          NORTH FORT MYERS       FL 33917‐6515
MONTA STEAGALL               588 BRICKYARD BRANCH RD                                                                                    SHADY VALLEY           TN 37688‐5003
MONTA VISTA SOFTWARE, INC.   2929 PATRICK HENRY DRIVE, SANTA CLARA                                                                      SANTA CLARA            CA 95054

MONTAFIS, CHARLES            15121 PENNSYLVANIA AVE                                                                                     ALLEN PARK            MI   48101‐3700
MONTAG TED                   1106 2ND ST                                                                                                ENCINITAS             CA   92024‐5008
MONTAG, LARRY E              17049 LAKEVILLE XING                                                                                       WESTFIELD             IN   46074‐8178
MONTAGA I BAILEY             1555 SUPERIOR AVE                                                                                          DAYTON                OH   45402
MONTAGLIANO, AUDREY          823‐3 STOWELL DRIVE                                                                                        ROCHESTER             NY   14616‐1842
MONTAGLIANO, AUDREY          823 STOWELL DR APT 3                                                                                       ROCHESTER             NY   14616‐1842
MONTAGNA, ANGELO E           854 EDGEMONT RUN                                                                                           BLOOMFIELD HILLS      MI   48304‐1458
MONTAGNA, ELIZABETH M        3312 ROSEMONT CT                                                                                           ROCHESTER             MI   48306‐4705
MONTAGNA, EUGENE J           395 HARDING HWY                                                                                            CARNEYS POINT         NJ   08069‐2258
MONTAGNE, EUGENE J           58 MERRYHILL DR                                                                                            ROCHESTER             NY   14625‐1165
MONTAGNE, GARY M             34334 RHODE ISLAND ST                                                                                      CLINTON TWP           MI   48035‐3867
MONTAGNE, GREGORY E          107 WOODHILL DR                                                                                            ROCHESTER             NY   14616‐2813
MONTAGNE, HOMER D            21724 GASCONY AVE                                                                                          EASTPOINTE            MI   48021‐2527
MONTAGNE, LIONEL J           612 S ROSEDALE CT                                                                                          GROSSE POINTE WOODS   MI   48236‐1145
MONTAGNESE, DANA C           3325 W QUAIL AVE                                                                                           PHOENIX               AZ   85027‐6021
MONTAGNO, WILLIAM J          31 WALNUT CIRCLE                                                                                           WEBSTER               NY   14580
MONTAGNOLI, ANDREA           C/O LA SCALA                        STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
MONTAGNOLI, WALTER           11 BEAVER HILL RD                                                                                          ELMSFORD              NY   10523‐2101
MONTAGUE COUNTY CAD          PO BOX 121                                                                                                 MONTAGUE              TX   76251‐0121
MONTAGUE COUNTY TAX OFFICE   PO BOX 8                                                                                                   MONTAGUE              TX   76251‐0008
MONTAGUE INN                 ATTN: JANET HOFFMAN                 1581 S WASHINGTON AVE                                                  SAGINAW               MI   48601‐2877
MONTAGUE JR, JAMES           20823 ORCHARD LAKE RD                                                                                      FARMINGTON HILLS      MI   48336‐5224
MONTAGUE LATCH CO            2000 W DODGE RD                                                                                            CLIO                  MI   48420‐1657
MONTAGUE LATCH CO INC        2000 W DODGE RD                     11533 LIBERTY ST                                                       CLIO                  MI   48420‐1657
MONTAGUE PITTMAN & VARNADO   PO BOX 1975                                                                                                HATTIESBURG           MS   39403‐1975
MONTAGUE, CLARENCE J         417 W SARATOGA ST                                                                                          FERNDALE              MI   48220
MONTAGUE, CORRETHA           6060 SILVERBROOK W                                                                                         WEST BLOOMFIELD       MI   48322‐1022
MONTAGUE, DALE E             11030 BARE DR                                                                                              CLIO                  MI   48420‐1538
MONTAGUE, DALE EDWARD        11030 BARE DR                                                                                              CLIO                  MI   48420‐1538
MONTAGUE, DANNY W            7961 MARBLEHEAD WAY APT 101                                                                                LAS VEGAS             NV   89128
MONTAGUE, DAVID F            7465 E MAPLE AVE                                                                                           GRAND BLANC           MI   48439‐9759
MONTAGUE, DAVID FRANK        7465 E MAPLE AVE                                                                                           GRAND BLANC           MI   48439‐9759
MONTAGUE, DENNIS H           5213 N IRISH RD                                                                                            DAVISON               MI   48423‐8911
MONTAGUE, DONALD L           1705 WALLINE RD                                                                                            MASON                 MI   48854‐9450
MONTAGUE, FLORINE            546 W IROQUOIS RD                                                                                          PONTIAC               MI   48341‐2023
MONTAGUE, FRANK L            6681 GOLDENROD CT                                                                                          CURTICE               OH   43412‐9361
MONTAGUE, FRANK LOUIS        6681 GOLDENROD CT                                                                                          CURTICE               OH   43412‐9361
MONTAGUE, GARY L             354 CROSSWIND DR                                                                                           DIMONDALE             MI   48821‐9795
MONTAGUE, GEORGE E           363 ROSEMORE DR                                                                                            DAVISON               MI   48423‐1615
MONTAGUE, HELEN M            3337 FIELD RD APT 11                                                                                       CLIO                  MI   48420‐1177
MONTAGUE, HELEN M            3337 W FIELD RD #11                                                                                        CLIO                  MI   48420‐1177
MONTAGUE, JAMES F            13037 KISMET AVE                                                                                           SYLMAR                CA   91342‐3423
MONTAGUE, JENNA A            3003 CABOT DR                                                                                              LANSING               MI   48911‐2308
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Name                       Address1                        Address2                      Address3               Address4               City                  State Zip
MONTAGUE, JOANE N          4516 GOLFVIEW DR                                                                                            ANDERSON               IN 46011‐1600
MONTAGUE, JOANNE V.        3605 130TH AVE NE                                                                                           BELLEVUE               WA 98005‐1351
MONTAGUE, JOHN C           2200 LAFAYETTE ST                                                                                           ANDERSON               IN 46012‐1640
MONTAGUE, JOHN H           371 NORTHUMBERLAND AVE                                                                                      BUFFALO                NY 14215‐3110
MONTAGUE, JOHN HENRY       371 NORTHUMBERLAND AVE                                                                                      BUFFALO                NY 14215‐3110
MONTAGUE, JOHN W           6568 E BISCAYNE BLVD                                                                                        BRIGHTON               MI 48114‐8807
MONTAGUE, KELLY T          414 DAHLIA DR                                                                                               BRENTWOOD              TN 37027‐5424
MONTAGUE, KIMBERLY D       181 MCKINLEY AVE                                                                                            GROSSE POINTE FARMS    MI 48236‐3501
MONTAGUE, KIMBERLY DEE     181 MCKINLEY AVE                                                                                            GROSSE POINTE FARMS    MI 48236‐3501
MONTAGUE, MARY A           79 PERCH ST                                                                                                 HAINES CITY            FL 33844‐9623
MONTAGUE, MARY E           8100 CLYO RD                    #AL                                                                         CENTERVILLE            OH 45450‐2720
MONTAGUE, MARY E           8100 CLVO RD                    # AL                                                                        CENTERVILLE            OH 45458‐2720
MONTAGUE, MICHAEL R        3880 GOSLINE RD                                                                                             MARLETTE               MI 48453‐9314
MONTAGUE, MICHAEL RAY      3880 GOSLINE RD                                                                                             MARLETTE               MI 48453‐9314
MONTAGUE, PATTI M          5213 N IRISH RD                                                                                             DAVISON                MI 48423‐8911
MONTAGUE, PHYLLIS A        5196 W COOK RD                                                                                              SWARTZ CREEK           MI 48473‐9106
MONTAGUE, PHYLLIS A        5196 COOK RD                                                                                                SWARTZ CREEK           MI 48473‐9106
MONTAGUE, RAY              2105 N OVID RD                  P.O. BOX 51                                                                 OVID                   MI 48866‐9755
MONTAGUE, ROBERT C         7135 LEBANON TRL                                                                                            DAVISON                MI 48423‐2343
MONTAGUE, ROBERT CHARLES   7135 LEBANON TRL                                                                                            DAVISON                MI 48423‐2343
MONTAGUE, STEPHANIE L      3403 W LEHMAN RD                                                                                            DEWITT                 MI 48820‐9149
MONTAGUE, STEVEN C         6161 MOUNTAIN LAUREL DR                                                                                     BRIGHTON               MI 48116‐3711
MONTAGUE, THOMAS E         784 W RIVER RD N                                                                                            ELYRIA                 OH 44035
MONTAGUE, WILEY H          2045 CRESCENT RDG                                                                                           CUMMING                GA 30041‐5907
MONTAGUE‐BAUER, REX A      3426 LUCIE ST                                                                                               LANSING                MI 48911‐2822
MONTALBAN, ROMERO A        5782 N 500 W                                                                                                KOKOMO                 IN 46901‐9612
MONTALBANO JOHN & AMY      412 DIEHL DR                                                                                                MCKEESPORT             PA 15132‐7415
MONTALBANO YANCE           10015 DEL MONTE DR                                                                                          HOUSTON                TX 77042‐2431
MONTALBANO, ANGELA         500 BISCAYNE DRIVE                                                                                          ROCHESTER              NY 14612‐4206
MONTALBANO, ANTHONY A      16089 VERGI CT                                                                                              CLINTON TWP            MI 48038‐4180
MONTALBANO, FRANCESCO      95 CHELTENHAM RD                                                                                            ROCHESTER              NY 14612‐5711
MONTALBANO, GIUSEPPE       345 OGDEN PARMA TOWN LINE RD                                                                                SPENCERPORT            NY 14559‐1663
MONTALBANO, INC.           PAUL MONTALBANO                 780 SERRAMONTE BLVD                                                         COLMA                  CA 94014‐3220
MONTALBANO, JOAN           PO BOX 1081                                                                                                 BENTON                 LA 71006‐1081
MONTALBO STANLEY           33175 PALMETTO DR                                                                                           UNION CITY             CA 94587‐1432
MONTALBO, GABRIEL L        PO BOX 831                                                                                                  ELIZABETH              NJ 07207‐0831
MONTALBO, MANUELA C        5120 MACKINAW RD                                                                                            SAGINAW                MI 48603‐1258
MONTALBO, RODOLFO          5120 MACKINAW RD                                                                                            SAGINAW                MI 48603‐1258
MONTALDI, LINDA M          1253 POTOMAC DRIVE                                                                                          MERRITT ISLAND         FL 32952‐7222
MONTALTI VALERIO           VIA SAN GIORGIO 2150                                                                 47522 SAN GIORGIO DI
                                                                                                                CESENA (FC) ITALY
MONTALTO WILLIAM           LYNNE KIZIS ESQ                 WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER                          WOODBRIDGE             NJ   07095
                                                                                         DRIVE
MONTALTO, ARLENE           138 LORING RD                                                                                               WINTHROP              MA    02152‐2831
MONTALTO, AUGUSTIN A       721 N FULLER ST                                                                                             INDEPENDENCE          MO    64050‐2325
MONTALTO, JOSEPH P         15 MAGNOLIA ST                                                                                              FRAMINGHAM            MA    01701‐4913
MONTALTO, LOUISE M         776 BRONX RIVER RD                                                                                          BRONXVILLE            NY    10708
MONTALTO, MILDRED R        11618 SUMMIT ST                                                                                             KANSAS CITY           MO    64114‐5500
MONTALVO JR, ESEQUIEL G    1014 S FAYETTE ST                                                                                           SAGINAW               MI    48602‐1556
MONTALVO JR, MARIO         4655 DONCASTER AVENUE                                                                                       HOLT                  MI    48842‐2084
MONTALVO JR, REFUGIO       9984 SMITH RD                                                                                               BRITTON               MI    49229‐9594
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Name                                  Address1                              Address2                        Address3                     Address4               City            State Zip
MONTALVO JUANA (ESTATE OF) (651475)   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                       NORTHFIELD       OH 44067
                                                                            PROFESSIONAL BLDG
MONTALVO OMAR E (413697)              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                         NORFOLK         VA 23510
                                                                            STREET, SUITE 600
MONTALVO SIMON                        MONTALVO, SIMON                       5209 REED ST                                                                        FORT WAYNE      IN   46806‐3201
MONTALVO VALENTIN, JOEL D             PO BOX 3218                                                                                                               SAN SEBASTIAN   PR   00585‐7004
MONTALVO VALENTIN, JOEL D             6722 MAPLEBROOK LN                                                                                                        FLINT           MI   48507‐4191
MONTALVO, ANTHONY M                   5649 PARK RD                                                                                                              LEAVITTSBURG    OH   44430‐9780
MONTALVO, CARLOS M                    33 MIDWOOD CIR                                                                                                            BOARDMAN        OH   44512‐3114
MONTALVO, EDDIE G                     804 MILLARD ST                                                                                                            SAGINAW         MI   48607‐1650
MONTALVO, ISRAEL                      APT 512                               1993 SOUTH KIHEI ROAD                                                               KIHEI           HI   96753‐7835
MONTALVO, ISRAEL                      1993 S KIHEI RD APT 512                                                                                                   KIHEI           HI   96753‐7835
MONTALVO, JAMES N                     1768 GATEWAY BLVD APT 616                                                                                                 BELOIT          WI   53511‐9815
MONTALVO, JAMES N                     12121 W 136TH ST APT 937                                                                                                  OVERLAND PARK   KS   66221‐7584
MONTALVO, JOHN                        1157 HIGLEY ST                                                                                                            TOLEDO          OH   43612‐2326
MONTALVO, JOSE A                      1522 W 172ND STREET                                                                                                       HAZEL CREST     IL   60429
MONTALVO, JOSE M                      14863 LANARK ST                                                                                                           PANORAMA CITY   CA   91402‐5754
MONTALVO, JOSE MANUEL                 14863 LANARK ST                                                                                                           PANORAMA CITY   CA   91402‐5754
MONTALVO, JOSEPH B                    851 ANTHONY WAYNE BLVD                                                                                                    DEFIANCE        OH   43512‐1301
MONTALVO, JUANA                       BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                                        NORTHFIELD      OH   44067
                                                                            PROFESSIONAL BLDG
MONTALVO, MANUEL                      2617 GARNET DR                                                                                                            WESLACO         TX   78596‐9386
MONTALVO, MARIA J                     884 PERRY CT                                                                                                              SANTA BARBARA   CA   93111‐2423
MONTALVO, MARIO                       1924 NEW YORK AVE                                                                                                         LANSING         MI   48906‐4656
MONTALVO, MICHAEL                     1817 S WHEELER ST                                                                                                         SAGINAW         MI   48602‐1069
MONTALVO, MIRIAM                      3365 W 13TH AVE                                                                                                           HIALEAH         FL   33012‐4815
MONTALVO, OMAR E                      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                         NORFOLK         VA   23510‐2212
                                                                            STREET, SUITE 600
MONTALVO, REBECCA L                   2951 HOSMER RD                                                                                                            GASPORT         NY   14067
MONTALVO, ROBERT L                    4638 TITAN AVE                                                                                                            LOMPOC          CA   93436‐1044
MONTALVO, SIMON R                     5209 REED ST                                                                                                              FORT WAYNE      IN   46806‐3201
MONTALVO, SIMON RUBEN                 5209 REED ST                                                                                                              FORT WAYNE      IN   46806‐3201
MONTANA AUTO CENTRE LTD.              39 EDDYSTONE AVE.                                                                                  DOWNSVIEW ON M3N 1H5
                                                                                                                                         CANADA
MONTANA DEPARTMENT OF JUSTICE         MOTOR VEHICLE DIVISION                 1003 BUCKSKIN DR                                                                   DEER LODGE      MT   59722‐2305
MONTANA DEPARTMENT OF REVENUE         PO BOX 5835                                                                                                               HELENA          MT   59604‐5835
MONTANA DEPARTMENT OF REVENUE         UNCLAIMED PROPERTY                     PO BOX 5805                                                                        HELENA          MT   59604‐5805
MONTANA DEPARTMENT OF REVENUE         MITCHELL BUILDING                      125 N ROBERTS ST               P.O. BOX 5805                                       HELENA          MT   59601‐4558
MONTANA DEPARTMENT OF REVENUE         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 5805                                                                        HELENA          MT   59604‐5805

MONTANA DEPARTMENT OF REVENUE      PO BOX 5805                                                                                                                  HELENA          MT 59604‐5805
MONTANA DEPT OF LABOR AND INDUSTRY UNEMPLOYMENT INSURANCE DIV

MONTANA MARIBELLE                     MONTANA, MARIBELLE                    PO BOX 79                                                                           BUFFALO         TX 75831
MONTANA MICHAEL                       MONTANA, MICHAEL                      LIBERTY MUTUAL                  5050 W. TILGHMAN ST. SUITE                          ALLENTOWN       PA 18104‐9154
                                                                                                            200
MONTANA RAIL LINK                     PO BOX 16390                                                                                                              MISSOULA        MT 59808‐6390
MONTANA RAIL LINK                     JAMES CRAWFORD                        3667 NORTH RESERVE ST                                                               MISSOULA        MT 59808
MONTANA SECRETARY OF STATE            PO BOX 202802                                                                                                             HELENA          MT 59620‐2802
MONTANA STATE TREASURER
MONTANA STATE UNIVERSITY              BUSINESS OFFICE                       102 MONTANA HALL                                                                    BOZEMAN         MT 59717
MONTANA STATE UNIVERSITY              CONTROLLERS OFFICE                    PO BOX 172640                                                                       BOZEMAN         MT 59717‐2640
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Name                             Address1                         Address2                     Address3              Address4               City              State Zip
MONTANA STATE UNIVERSITY GREAT   120 HAMILTON HALL                                                                                          BOZEMAN            MT 59717
MONTANA T GOOCH SR               1234 E HARVARD AVE                                                                                         FLINT              MI 48505‐1759
MONTANA, BERTA M                 1518 WYOMING                                                                                               FLINT              MI 48506‐2784
MONTANA, BERTA M                 1518 WYOMING AVE                                                                                           FLINT              MI 48506‐2784
MONTANA, ELIZABETH               PO BOX 449                                                                                                 FARMINGVILLE       NY 11738‐0449
MONTANA, JOHN M                  2416 N BELLBROOK ST                                                                                        ORANGE             CA 92865‐2834
MONTANA, KRISSY A                2718 LAKE RD                                                                                               SHARPSVILLE        PA 16150‐3604
MONTANA, MICHAEL                 62 EAST STREET                                                                                             ANNAPOLIS          MD 21401‐1732
MONTANA, MICHAEL                 261 PINE LAKES DR E                                                                                        WAYNE              NJ 07470
MONTANA, MICHAEL                 62 EAST ST                                                                                                 ANNAPOLIS          MD 21401‐1732
MONTANA, MICHAEL                 LIBERTY MUTUAL                   5050 W TILGHMAN ST STE 200                                                ALLENTOWN          PA 18104‐9154
MONTANA, PAUL                    PO BOX 3195                                                                                                MONTROSE           MI 48457‐0895
MONTANA, PAULO G                 913 PRESCOTT ST                                                                                            KERRVILLE          TX 78028‐3308
MONTANARI IVANO                  LA SCALA                         STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42    20123 MILANO ITALY
MONTANARI, LEONARD P             1 WESTERLY ST                                                                                              WELLESLEY         MA    02482‐4628
MONTANARI, MARK J                306 SCHOLFIELD RD                                                                                          ROCHESTER         NY    14617‐4737
MONTANARO, DEBRA A               532 EAST 29TH STREET DRIVE                                                                                 GREELEY           CO    80631‐1230
MONTANARO, STEVE                 298 STONY POINT RD                                                                                         ROCHESTER         NY    14624‐1950
MONTANE, JORGE L                 4195 ROCKCREEK CT                                                                                          DANVILLE          CA    94506‐1213
MONTANEZ EDWIN                   MONTANEZ, EDWIN                  AIG                          P.O. BOX 29230                               PHOENIX           AZ    85038‐9230
MONTANEZ, EDWIN                  AIG                              PO BOX 29230                                                              PHOENIX           AZ    85038‐9230
MONTANEZ, EDWIN                  49 WINDING WOOD DR               APT 8A                                                                    SAYREVILLE        NJ    08872‐2010
MONTANEZ, EDWIN                  C/O 21ST CENTURY INSURANCE       PO BOX 29230                 RECOVERY DEPARTMENT                          PHOENIX           AZ    85038
MONTANEZ, EDWIN                  49 WINDING WOOD DR APT 8A                                                                                  SAVREVILLE        NJ    08872‐2010
MONTANEZ, ELIZABETH              484 W 43RD ST APT 9D                                                                                       NEW YORK          NY    10036
MONTANEZ, FERNANDO S             PO BOX 29563                                                                                               SHREVEPORT        LA    71149‐9563
MONTANEZ, JON J                  APT 201                          68 RIDGE DRIVE                                                            FAIRFIELD         OH    45014‐7031
MONTANEZ, JUAN M                 4310 STARTHMORE DR                                                                                         REDDING           CA    96002‐3852
MONTANEZ, MARSOLINA              2504 DEANIE LN                                                                                             BOSSIER CITY      LA    71111‐5902
MONTANEZ, ROSALIA F              1655 W AJO WAY                   PLAZA DEL SOL LTD            SPACE 83                                     TUCSON            AZ    85713‐6680
MONTANEZ, ROSALIA F              PLAZA DEL SOL LTD                1655 WEST AJO WAY                                                         TUSCON            AZ    85713
MONTANI ANDREA                   VIA MECENATE 107                                                                    20138 MILANO ITALY
MONTANINO, ANTHONY R             115 DORA AVE                                                                                               WALDWICK           NJ   07463‐2217
MONTANIO ANN MARIE MOWAD
MONTANO CORPORATION              65 INFANTRY AVENUE KM 5.4                                                                                  SAN JUAN          PR    00929
MONTANO FRANK                    11466 E RAMONA AVE                                                                                         MESA              AZ    85212‐4143
MONTANO SUMMERS MULLEN MANUEL    RTE 70 & CUTHBERT BLVD STE 40                                                                              CHERRY HILL       NJ    08002
OWENS & GREGORIO
MONTANO, ADOLFO                  23938 CREEK RIDGE DR                                                                                       SPRING            TX    77373‐5811
MONTANO, ALFONSO M               PO BOX 11546                                                                                               EARLIMART         CA    93219‐1546
MONTANO, ANTHONY A               260 MENARD CIR                                                                                             SACRAMENTO        CA    95835‐1632
MONTANO, ARTURO                  5805 TRAIL LAKE DR                                                                                         ARLINGTON         TX    76016‐1510
MONTANO, JESUS                   6715 FAUST AVE                                                                                             DETROIT           MI    48228‐3432
MONTANO, JESUS L                 3908 YELLOWSTONE CIR                                                                                       CHINO             CA    91710‐5625
MONTANO, JESUS L                 CALLE JUAREZ 11                  LA YERBABUENA                                      MTPO. TAMAZULA 49650
                                                                                                                     MEXICO
MONTANO, JOSE L                  738 BEACON AVE                                                                                             LOS ANGELES       CA    90017‐2112
MONTANO, LINDA A                 3628 GREENGLADE                                                                                            PICO RIVERA       CA    90660‐1548
MONTANO, MARIBELLE               PO BOX 79                                                                                                  BUFFALO           TX    75831‐0079
MONTANO, MICHAEL A               21058 SUMMERFIELD DR                                                                                       MACOMB            MI    48044‐2924
MONTANO, OLIVIA                  2233 LONDON BRIDGE DR.           UNIT 38J                                                                  ROCHESTER HILLS   MI    48307
MONTANO, OLIVIA                  3908 YELLOWSTONE CIR                                                                                       CHINO             CA    91710‐5625
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Name                                 Address1                           Address2                       Address3   Address4                 City            State Zip
MONTANO, ROSE                        1000 WIGDAL AVE                                                                                       CORCORAN         CA 93212‐2231
MONTANO, SHIRLEY                     1202 LE BORGNE AVE                                                                                    LA PUENTE        CA 91746‐1004
MONTANO, VICTOR M                    2211 SKYLARK DRIVE                                                                                    ARLINGTON        TX 76010‐8111
MONTANTES, JAIME G                   158 HAUSMAN STREET                                                                                    TOLEDO           OH 43608‐2333
MONTANTI, PETER C                    7 VISTA PL                                                                                            STATEN ISLAND    NY 10305‐2707
MONTANYA TIMOTHY                     MONTANYA, TIMOTHY                  30 E BUTLER AVE                                                    AMBLER           PA 19002‐4514
MONTANYE, CATHERINE                  OFC                                3700 SOUTHEAST JENNINGS ROAD                                       PORT ST LUCIE    FL 34952‐7785

MONTANYE, DENIS L                    1002 RUTLEDGE CT                                                                                      JANESVILLE      WI 53545‐1345
MONTAPLAST AUTOMOTIVE                2# SHABEIXIANG, EAST SUHONG ROAD   SUZHOU INDUSTRIAL PK                      SUZHOU, JIANGSU PR
                                                                                                                  215021 CHINA
MONTAPLAST AUTOMOTIVE SYSTEM (SIP)   NO 2 SHABEIXIANG SUHONG RD E                                                 SUZHOU CN 215021 CHINA
                                                                                                                  (PEOPLE'S REP)
MONTAPLAST GMBH                      KROTTORFER STR 25                                                            MORSBACH NW 51597
                                                                                                                  GERMANY
MONTAPLAST GMBH                      STEFAN SCHNEIDER                   KROTTORFER STR 25                                                  BOWLING GREEN    KY
MONTAPLAST GMBH                      KROTTORFER STR 25                  POSTFACH 1264                             MORSBACH NW 51590
                                                                                                                  GERMANY
MONTAPLAST GMBH                      POSTFACH 1264                                                                MORSBACH SIEG 51590
                                                                                                                  GERMANY
MONTAPLAST OF N. AMERICA INC.        NICK KALTSOUNIS                       2011 HOOVER BLVD.                                               DFW AIRPORT     TX    75261
MONTAPLAST OF NORTH AMERICA          2011 HOOVER BLVD                                                                                      FRANKFORT       KY    40601
MONTAPLAST OF NORTH AMERICA          24901 NORTHWESTERN HWY                STE 511                                                         SOUTHFIELD      MI    48075
MONTAPLAST OF NORTH AMERICA          ATTN: CORPORATE OFFICER/AUTHORIZED 24901 NORTHWESTERN HWY STE                                         SOUTHFIELD      MI    48075‐2209
                                     AGENT                                 511
MONTAPLAST OF NORTH AMERICA          ATTN: CORPORATE OFFICER/AUTHORIZED 2011 HOOVER BLVD                                                   FRANKFORT        KY   40601‐8213
                                     AGENT
MONTAPLAST OF NORTH AMERICA INC      1875 HOLLOWAY DR                                                                                      HOLT            MI    48842‐9435
MONTAPLAST OF NORTH AMERICA INC      2011 HOOVER BLVD                                                                                      FRANKFORT       KY    40601‐8200
MONTAPLAST/SOUTHFIEL                 24901 NORTHWESTERN HWY STE 511                                                                        SOUTHFIELD      MI    48075‐2209
MONTAQUE E MCADORY                   4617 OLIVE RD                                                                                         TROTWOOD        OH    45426‐2203
MONTAQUE KENNETH (638795)            MOTLEY RICE                           PO BOX 1792                                                     MT PLEASANT     SC    29465‐1792
MONTAQUE MCADORY                     4617 OLIVE RD                                                                                         TROTWOOD        OH    45426‐2203
MONTAQUE, GLORIA J                   4523 SUMMIT PKWY                                                                                      CANANDAIGUA     NY    14424‐9631
MONTAQUE, KENNETH                    MOTLEY RICE                           PO BOX 1792                                                     MT PLEASANT     SC    29465‐1792
MONTARO, MICHAEL                     45 JANE LN                                                                                            DEPEW           NY    14043‐1909
MONTAS,VICTOR                        74 CONDICT ST                                                                                         JERSEY CITY     NJ    07306
MONTAVISTA SOFTWARE INC              2929 PATRICK HENRY DRIVE, SANTA CLARA                                                                 SANTA CLARA     CA    95054

MONTAVON WILLIAM BERNARD (300600)    SWEENEY ROBERT E CO                1500 ILLUMINATING BLDG , 55                                        CLEVELAND       OH 44113
                                                                        PUBLIC SQUARE
MONTAVON, BOB E                      4912 BRIAR OAKS CIR                                                                                   ORLANDO         FL 32808‐1706
MONTAVON, TERESA M                   1691 ARLINGATE DR N                                                                                   COLUMBUS        OH 43220‐3017
MONTAVON, WILLIAM                    SWEENEY ROBERT E CO                1500 ILLUMINATING BLDG, 55                                         CLEVELAND       OH 44113
                                                                        PUBLIC SQUARE
MONTBELLO INDUSTRIAL VENTURE         MYRON M. MILLER                    1204 UNITED BANK CENTER                                            DENVER          CO 80202
MONTBELLO TRICONTINENTAL PROPERTY    1379 SHERIDAN RD                                                                                      HIGHLAND PARK    IL 60035‐3406
COMPANY, N.V.
MONTBELLO, INC. C/O BARACK,          PETER J. BARACK                    333 W WACKER DR STE 2700                                           CHICAGO          IL   60606‐2872
FERRAZZANO, KIRSCHBAUM & PERLMAN
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Name                              Address1                             Address2                   Address3                   Address4         City              State Zip
MONTBELLO, INC. C/O KISHINCHAND   MONTBELLO, INC. C/O BARACK,          PETER J. BARACK            333 W WACKER DR STE 2700                    CHICAGO             IL 60606‐2872
CHELLERAM (HONG KONG) LTD.        FERRAZZANO, KIRSCHBAUM & PERLMAN

MONTCALM COMMUNITY COLLEGE        2800 COLLEGE DR                                                                                             SIDNEY            MI 48885‐9723
MONTCALM COUNTY EMER              655 N STATE ST                                                                                              STANTON           MI 48888‐9702
MONTCALM ELMWOOD H (ESTATE OF)    SIMMONS FIRM                         PO BOX 521                                                             EAST ALTON        IL 62024‐0519
(465163)
MONTCALM, ELMWOOD H               SIMMONS FIRM                           PO BOX 521                                                           EAST ALTON         IL 62024‐0519
MONTCLAIR UNIVERSITY              STUDENT ACCOUNTS                       ROOM 218 COLLEGE HALL                                                UPPER MONTCLAIR    NJ 07043
MONTCLAIR, CITY OF                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 2308              5111 BENITO                                 MONTCLAIR          CA 91763‐0808

MONTCLAIR, CITY OF                PO BOX 2308                          5111 BENITO                                                            MONTCLAIR         CA   91763‐0808
MONTCLAIR, CURTIS A               515 SILVER HOLLOW DRIVE                                                                                     BADEN             PA   15005‐2353
MONTE A HOLLINGSWORTH             172 SEWARD ST                                                                                               ROCHESTER         NY   14608‐2644
MONTE ALFREY                      1409 DOUGLAS LN                                                                                             ANDERSON          IN   46017‐9559
MONTE B DAVIS                     4526 HEARTHSTONE DR                                                                                         JANESVILLE        WI   53546‐2165
MONTE BALLARD                     4017 FERNWAY DR                                                                                             ANDERSON          IN   46013‐4349
MONTE BALTES                      11060 STATE ROUTE 185                                                                                       VERSAILLES        OH   45380‐8411
MONTE BAUM                        360 E TUTTLE RD LOT 111                                                                                     IONIA             MI   48846‐8622
MONTE BELLEW                      PO BOX 606                                                                                                  BELPRE            OH   45714‐0606
MONTE CARLO RESORT & CASINO       3770 LAS VEGAS BLVD S                                                                                       LAS VEGAS         NV   89109‐4337
MONTE CHRISTENSEN                 4440 LEXINGTON AVE                                                                                          JACKSONVILLE      FL   32210‐2022
MONTE CLYMER                      14490 W CORNER RD                                                                                           DALEVILLE         IN   47334‐9470
MONTE COLE                        4902 S M52                                                                                                  WILLIAMSTON       MI   48895
MONTE DAUGHERTY                   104 MAGNOLIA DR                                                                                             ANDERSON          IN   46012‐1015
MONTE DAVIS                       4526 HEARTHSTONE DR                                                                                         JANESVILLE        WI   53546‐2165
MONTE DOAN                        500 HANOVER DR                                                                                              EDMOND            OK   73034‐6642
MONTE HART                        12142 N WEBSTER RD                                                                                          CLIO              MI   48420‐8209
MONTE ICKES                       374 W 9TH ST                                                                                                SALEM             OH   44460‐1556
MONTE INGRAM                      104 W COUNTY ROAD 450 N                                                                                     MUNCIE            IN   47303‐9360
MONTE JACKSON                     4409 STILLWELL AVE                                                                                          LANSING           MI   48911‐2654
MONTE KELLER                      5340 KINGSTON AVE                                                                                           ANDERSON          IN   46013‐3132
MONTE L PFEIFFER                  1994 BONNIE BRAE AVE NE                                                                                     WARREN            OH   44483‐3516
MONTE L RIEGER                    3882 WINSTON LANE                                                                                           W ALEXANDRIA      OH   45381‐8372
MONTE L RIEGER                    3882 WINSTON LN                                                                                             WEST ALEXANDRIA   OH   45381‐8372
MONTE L SCOTT                     1200 CLINTSHIRE DRIVE                                                                                       CENTERVILLE       OH   45459
MONTE MARTIN                      14592 NORTHLINE RD APT 4                                                                                    SOUTHGATE         MI   48195‐2461
MONTE MCKIBBEN                    1328 W MAIN ST                                                                                              MUNCIE            IN   47303‐4915
MONTE MEYER                       NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                             DAINGERFIELD      TX   75638
MONTE MILLER                      6350 IDA ST                                                                                                 INDIANAPOLIS      IN   46241‐1019
MONTE MUSCOTT                     4804 MOULTRIE CIR                                                                                           LANSING           MI   48917‐3462
MONTE PATTERSON                   5402 E CICERO ST                                                                                            MESA              AZ   85205‐7332
MONTE PETTY                       4985 KINGSTON RD                                                                                            KINGSTON          MI   48741‐9768
MONTE PIERCE                      5045 SMITHS GROVE SCOTTSVILLE RD                                                                            SMITHS GROVE      KY   42171‐9409
MONTE PORTER                      6530 PERRYVILLE RD                                                                                          HOLLY             MI   48442‐9499
MONTE R MILLER                    NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                             DAINGERFIELD      TX   75638
MONTE RICHARDSON                  1064 WICKERTON RD                                                                                           LANDENBERG        PA   19350‐1561
MONTE RIEGER                      3882 WINSTON LN                                                                                             W ALEXANDRIA      OH   45381‐8372
MONTE RUDY                        510 W JEFFERSON ST                                                                                          ALEXANDRIA        IN   46001‐1729
MONTE SCHENCK                     2541 ROANOKE AVE                                                                                            DAYTON            OH   45419‐1529
MONTE SIMMONS                     1002 BRADLEY AVE                                                                                            FLINT             MI   48503‐3109
MONTE SMITH SR                    4021 W US HIGHWAY 40                                                                                        GREENCASTLE       IN   46135‐8542
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Name                           Address1                        Address2                            Address3               Address4         City            State Zip
MONTE SPENCER                  4306 SHERMAN RD                                                                                             SAGINAW          MI 48604‐1547
MONTE TAYLOR                   30134 TRAILWOOD DR                                                                                          WARREN           MI 48092‐6304
MONTE THORNBURG                3456 DON LORENZO DR                                                                                         CARLSBAD         CA 92010
MONTE TRAVIS                   3025 STOCKBRIDGE ST                                                                                         FLINT            MI 48506‐2164
MONTE TRENT                    360 SULPHUR SPRINGS RD                                                                                      ROGERSVILLE      TN 37857‐4078
MONTE TURVEY                   2368 UTLEY RD                                                                                               FLINT            MI 48532‐4900
MONTE ULM                      233 N PENDLETON AVE                                                                                         PENDLETON        IN 46064‐1025
MONTE VILLERS                  1645 NELSON LN                                                                                              BRISTOLVILLE     OH 44402‐9609
MONTE WESTON                   5877 N CARRIAGE LN                                                                                          ALEXANDRIA       IN 46001‐8618
MONTE WHITE JR                 17147 PARKSIDE AVE                                                                                          SOUTH HOLLAND     IL 60473‐3451
MONTE WILLIAMS                 3507 GREENS MILL RD                                                                                         SPRING HILL      TN 37174‐2126
MONTE ZENT                     3161 YOSEMITE DR                                                                                            ORION            MI 48360‐1028
MONTE, ANTHONY D               15254 GARFIELD AVE                                                                                          ALLEN PARK       MI 48101‐2050
MONTE, CHARLES H               9080 BLOOMFIELD AVE SPC 149                                                                                 CYPRESS          CA 90630‐8507
MONTE, LOUIS L                 3844 INGLEWOOD AVENUE SOUTH                                                                                 MINNEAPOLIS      MN 55416‐4924
MONTE, MARTIN K                2133 EARLMONT RD                                                                                            BERKLEY          MI 48072‐1835
MONTE, MAUDE J                 3716 BIDDULPH AVE                                                                                           CLEVELAND        OH 44109‐5009
MONTE, MAUDE J                 3716 BIDDULP AVE                                                                                            CLEVELAND        OH 44109
MONTE, RICHARD A               7459 BELLEFONTAINE RD                                                                                       HUBER HEIGHTS    OH 45424‐3320
MONTE, SALLY EILEEN            1005 NORTHRIDGE RD                                                                                          OKLAHOMA CITY    OK 73160‐9533
MONTE, VICKI                   ADAM HURTIG                     8751 W BROWARD BLVD STE 410                                                 PLANTATION       FL 33324‐2632
MONTE, VICKI
MONTEATH, DONNA J              8340 FALCONVIEW PKWY                                                                                        FREELAND        MI    48623‐8543
MONTEBELLO INC                 C/O BARACK FERRAZZANO           333 W WACKER DR STE 2700            KIRSCHBAUM & PERLMAN                    CHICAGO         IL    60606‐2872
MONTEBELLO ORTHO MED           6758 PASSONS BLVD                                                                                           PICO RIVERA     CA    90660‐3666
MONTEBELLO SERVICE             5606 US HIGHWAY 61/67                                                                                       IMPERIAL        MO    63052‐1612
MONTECALVO, FANNIE R           151 HEATHER LANE                                                                                            CORTLAND        OH    44410‐1217
MONTECALVO, FANNIE R           151 HEATHER LN                                                                                              CORTLAND        OH    44410‐1217
MONTECALVO, JOHN J             750 GLENWOOD ST NE                                                                                          WARREN          OH    44483‐3919
MONTECALVO, JOSEPH M           151 HEATHER LN                                                                                              CORTLAND        OH    44410‐1217
MONTECALVO, JUDITH J           14 HOLLY DR APT 1A                                                                                          GIRARD          OH    44420
MONTEE JOLLY MELVIN (424196)   HENDLER SCOTT M                 816 CONGRESS AVE STE 1100                                                   AUSTIN          TX    78701‐2471
MONTEE, JOLLY MELVIN           HENDLER SCOTT M                 816 CONGRESS AVE STE 1100                                                   AUSTIN          TX    78701‐2471
MONTEFORTE, ROSE A             1778 BELLA TERRA AVE.                                                                                       NILES           OH    44446‐4446
MONTEFORTE, ROSE A             1778 BELLE TERRE AVE                                                                                        NILES           OH    44446‐4122
MONTEFUSCO JR, JOHN A          61 SKYLINE DR                                                                                               LAKEWOOD        NJ    08701‐5743
MONTEFUSCO, PATRICIA A         95 LEVERETT AVE                                                                                             STATEN ISLAND   NY    10308‐1724
MONTEFUSCO, STEPHEN J          5807 CANDLELIGHT LANE                                                                                       GRAND PRAIRIE   TX    75052‐8591
MONTEFUSCO, STEPHEN J.         5807 CANDLELIGHT LANE                                                                                       GRAND PRAIRIE   TX    75052‐8591
MONTEGAN WILLIAM               LYNNE KIZIS ESQ                 WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER                    WOODBRIDGE      NJ    07095
                                                                                                   DRIVE
MONTEGARI LOUIS                LYNNE KIZIS ESQ                 WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER                    WOODBRIDGE       NJ   07095
                                                                                                   DRIVE
MONTEGARI, LOUIS               WILENTZ GOLDMAN & SPITZER       88 PINE STREET, WALL STREET PLAZA                                           NEW YORK        NY 10005

MONTEGARI, WILLIAM             WILENTZ GOLDMAN & SPITZER       88 PINE STREET, WALL STREET PLAZA                                           NEW YORK        NY 10005

MONTEGUE, ELEANOR T            10556 COMBIE RD                 UNIT 6201                                                                   AUBURN          CA    95602
MONTEI, RONALD D               1745 S CRAWFORD RD                                                                                          DEFORD          MI    48729‐9797
MONTEI, WAYNE W                4096 DECKERVILLE RD                                                                                         FAIRGROVE       MI    48733‐9520
MONTEIL, FRED H                1502 S COMMERCIAL AVE                                                                                       SMITHVILLE      MO    64089‐8474
MONTEIL, TINA M                3501 GIBBS RD                                                                                               KANSAS CITY     KS    66106‐3809
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Name                            Address1                             Address2                       Address3              Address4                 City               State Zip
MONTEILH, LAWRENCE R            210 TWIN BIRCH CT                                                                                                  LAKE ST LOUIS       MO 63367‐4861
MONTEIRO JUNIOR, JOSE ISMAEL    OSMAR BRINA CORREA LIMA              2583 CURITIBA STREET                                 LOURDES BELO HORIZONTE
                                                                                                                          MG BRAZIL
MONTEIRO, ABEL F                6526 CRAB APPLE DR                                                                                                 CANAL WINCHESTER   OH   43110‐7022
MONTEIRO, ABILIO                PO BOX 370                                                                                                         MILLWOOD           NY   10546‐0370
MONTEIRO, ALFREDO L             169 WEST ST                                                                                                        MILFORD            MA   01757‐2226
MONTEIRO, ARMANDO J             22 TUTTLE STREET                                                                                                   GREEN BROOK        NJ   08812‐2527
MONTEIRO, ARMANDO J             22 TUTTLE ST                                                                                                       GREEN BROOK        NJ   08812‐2527
MONTEIRO, BERNARDINO A          1 MENZON RD APT #606                                                                                               CUMBERLAND         RI   02864
MONTEIRO, CHARLES A             6201 CLUBHOUSE WAY                                                                                                 SWARTZ CREEK       MI   48473‐8253
MONTEIRO, ELTON                 2130 SKYLAND COVE LANE                                                                                             SNELLVILLE         GA   30078‐3891
MONTEIRO, JAMES M               446 QUEEN ANNE RD                                                                                                  HARWICH            MA   02645‐1968
MONTEIRO, JOSE C                79 TOWER ST                                                                                                        HUDSON             MA   01749‐1739
MONTEIRO, JOSE L                169 WEST ST                                                                                                        MILFORD            MA   01757‐2226
MONTEIRO, MANUEL L              14 SUNSET DR                                                                                                       MILFORD            MA   01757‐1318
MONTEIRO, VIBHA M               4505 DESTINYS GATE DR                                                                                              AUSTIN             TX   78727
MONTEITH TIRE                   1606 N DETROIT ST                                                                                                  WARSAW             IN   46580‐2216
MONTEITH TIRE OF SYRACUSE INC   817 S HUNTINGTON ST                                                                                                SYRACUSE           IN   46567‐1811
MONTEITH, DAWN                  PO BOX 19                                                                                                          UNION LAKE         MI   48387‐0019
MONTEITH, JOHN R                3311 47TH ST W                                                                                                     BRADENTON          FL   34209‐6310
MONTEITH, MABEL A               23 BEN ST                                                                                                          LAKE PLACID        FL   33852‐6912
MONTEITH, RALPH E               5332 THORNRIDGE PL                                                                                                 INDIANAPOLIS       IN   46237‐4226
MONTEITH, RICHARD A             6900 FM 2415                                                                                                       ALVARADO           TX   76009‐7486
MONTEJANO JR, JOHNNY            1802 W MAGNOLIA AVE                                                                                                SAN ANTONIO        TX   78201‐4950
MONTEJO, GUADALUPE GARCIA       WATTS LAW FIRM                       555 N CARANCAHUA ST STE 1400                                                  CORPUS CHRISTI     TX   78478‐0801
MONTEL MURRAY
MONTEL, GUILLERMO               18032 SW 33RD ST                                                                                                   MIRAMAR            FL   33029‐1622
MONTEL, HARRY T                 463 PARK TRACE BLVD                                                                                                OSPREY             FL   34229‐8893
MONTELAURO, ALLEN               3116 E BAYVIEW LN                                                                                                  SANDUSKY           OH   44870‐5907
MONTELAURO, GENE                1790 WEST PKWY                                                                                                     DELAND             FL   32724‐1625
MONTELAURO, JACQUELYNN F        2588 NW CATAWBA RD                                                                                                 PORT CLINTON       OH   43452‐3044
MONTELAURO, STEPHEN A           2588 NW CATAWBA RD                                                                                                 PORT CLINTON       OH   43452‐3044
MONTELEON, JOSEPH P             19A FORD AVE                                                                                                       HIGHLAND MILLS     NY   10930‐5126
MONTELEONE                      7703 NIAGARA FALLS BLVD                                                                                            NIAGARA FALLS      NY   14304
MONTELEONE, BRANDON J           3409 SARDIS RD                                                                                                     MURRYSVILLE        PA   15668
MONTELEONE, BRANDON J           3401 SARDIS RD APT 104                                                                                             MURRYSVILLE        PA   15668
MONTELEONE, FRED                1700 RIDLEY RD                                                                                                     PALMS              MI   48465‐9753
MONTELEONE, JOHN S              19 JENNINGS LN                                                                                                     WOODBURY           NY   11797‐3024
MONTELEONE, JOSEPHINE R         87 W HAZELTINE AVE                                                                                                 KENMORE            NY   14217‐2619
MONTELEONE, MARY                1192 BURLINGTON AVE                                                                                                BRISTOL            CT   06010‐2423
MONTELEONE, ROBERT J            102 SOUTHERN HILLS DR                                                                                              NEW BERN           NC   28562‐2947
MONTELEONE, SEBASTIANO          9709 LAURENCE AVE                                                                                                  ALLEN PARK         MI   48101‐1396
MONTELL CHEVROLET               ATTN JEROME MONTALTO                 4350 S ARCHER AVE                                                             CHICAGO            IL   60632
MONTELL CHEVROLET INC           PO BOX 247                                                                                                         PALOS HEIGHTS      IL   60463‐0247
MONTELL CHEVROLET, INC.         4530 S ARCHER AVE                                                                                                  CHICAGO            IL   60632‐2917
MONTELL HUFFSTETLER             25 OPAL DR                                                                                                         HAMILTON           OH   45013‐9202
MONTELL NV                      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 70549                                                                  CHICAGO            IL   60673‐0001
                                AGENT
MONTELL USA/TROY                900 WILSHIRE DR STE 390                                                                                            TROY               MI   48084‐1600
MONTELL/TROY                    900 WILSHIRE DR STE 390                                                                                            TROY               MI   48084‐1600
MONTELL/WILMINGTON              PO BOX 15439                         CUSTOMER SERVICES              2751 CENTERVILLE RD                            WILMINGTON         DE   19850‐5439
MONTELLA, JOHN A                338 GRETA DR                                                                                                       ALVATON            KY   42122‐9695
                               09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                           Address1                              Address2                   Address3                  Address4         City               State Zip
MONTELLANO JOSE                207 MCKELVEY AVE                                                                                            BAKERSFIELD         CA 93308‐1241
MONTELLE MILLER                3311 70TH ST W                                                                                              BRADENTON           FL 34209‐5957
MONTELLESE, RHODA R            4883 WOODROW AVE                                                                                            WARREN              OH 44483‐1357
MONTELLO, JIM V                5400 N PASEO DE LA PEREZA                                                                                   TUCSON              AZ 85750‐1478
MONTELONE, DARLENE M           15622 BOWFIN BLVD                                                                                           BROOK PARK          OH 44142‐2307
MONTELONE, RANDALL J           7491 FAWNWOOD DR                                                                                            LEWIS CENTER        OH 43035‐9337
MONTELONGO RUBEN               DEMONTROND AUTOMOTIVE GROUP INC       14101 NORTH FWY                                                       HOUSTON             TX 77090‐6919

MONTELONGO RUBEN               MONTELONGO, RUBEN                     3006 BRAZOS ST                                                        HOUSTON            TX   77006‐3418
MONTELONGO, JESUS              1585 ZAMORA DR                        COUNTRY CLUB                                                          BROWNSVILLE        TX   78526‐1885
MONTELONGO, RUBEN              DANA LEJUNE                           3006 BRAZOS ST                                                        HOUSTON            TX   77006‐3418
MONTEMALE, LAURA               4844 SAN CARLO CT                                                                                           NAPLES             FL   34109‐3392
MONTEMALE, RALPH               976 STATE RD                                                                                                WEBSTER            NY   14580‐9346
MONTEMALO, GAETANO             27 CLOISTER LN                                                                                              WEBSTER            NY   14580‐8838
MONTEMALO, LUCIA               648 IVY WOODS CIRCLE                                                                                        WEBSTER            NY   14580‐1567
MONTEMALO, SALVATORE           1266 THISTLEBERRY LN                                                                                        WEBSTER            NY   14580‐8818
MONTEMAR MARITIMA              99 WOOD AVENUE SOUTH 9TH FLOOR                                                                              ISELIN             NJ   08830
MONTEMARANO, ANGELO            10273 PAMELA DR                                                                                             STRONGSVILLE       OH   44149‐1336
MONTEMAYOR JOSEPH G            APT 1                                 286 NORTH SAGINAW STREET                                              PONTIAC            MI   48342‐2098
MONTEMAYOR TRUCKING INC        208 FLECHA LANE                                                                                             LAREDO             TX   78045
MONTEMAYOR, ALEJANDRA
MONTEMAYOR, BARBARA G          3309 S 33RD TER                                                                                             SAINT JOSEPH       MO   64503‐1323
MONTEMAYOR, BERTHA L           908 WISCONSIN ST                                                                                            SOUTH HOUSTON      TX   77587‐4967
MONTEMAYOR, JOE M              1433 SEASONS WAY                                                                                            MODESTO            CA   95350‐3700
MONTEMAYOR, JOSEPH G           286 N SAGINAW ST APT 1                                                                                      PONTIAC            MI   48342‐2098
MONTEMAYOR, JOSEPH G           286 NORTH SAGINAW STREET                                                                                    PONTIAC            MI   48342‐2098
MONTEMAYOR, MARION J           30 JEFFERSON DR                                                                                             LOCKPORT           NY   14094‐5535
MONTEMAYOR, RACHEL             308 C ST APT 97                                                                                             CHULA VISTA        CA   91910‐1053
MONTEMAYOR, ROEL R             102 COLETTE LN                                                                                              MARION             TX   78124‐4024
MONTEMURNO, PETER E            1066 DRIFTWOOD AVE                                                                                          MANAHAWKIN         NJ   08050‐2318
MONTEMURRO, ENRICA             5 CENTENNIAL CT                                                                                             TOTOWA             NJ   07512‐1652
MONTENAY ENERGY RESOURCES OF   1155 CONSHOHOCKEN RD                                                                                        CONSHOHOCKEN       PA   19428‐1028
MONTGOMERY COUNTY, INC.
MONTENEGRO, ANNETTE B          5914 S MENARD AVE                                                                                           CHICAGO            IL   60638‐3736
MONTENEGRO, ANTHONY            10620 SUNFLOWER DRIVE                                                                                       WILLIS             TX   77318‐5734
MONTENEGRO, BERTHA F           1463 8TH ST NE APT C3                                                                                       AUBURN             WA   98002
MONTENEGRO, GUS R              14624 BRAND BLVD                                                                                            MISSION HILLS      CA   91345‐1707
MONTENEGRO, HEDY               18540 GREENRIDGE CT                                                                                         CASTRO VALLEY      CA   94552‐1845
MONTENEGRO, ILMA J             22031 WYANDOTTE ST                                                                                          CANOGA PARK        CA   91303‐1119
MONTENEGRO, JOHN M             35329 HARVEST CT                                                                                            LITTLEROCK         CA   93543‐3006
MONTENEGRO, MANUEL             43206 45TH ST W                                                                                             LANCASTER          CA   93536‐5523
MONTENEGRO, MANUEL             2904 S SHADY LN                                                                                             ARLINGTON          TX   76001‐7738
MONTENEGRO, SANTOS             43206 45TH ST W                                                                                             LANCASTER          CA   93536‐5523
MONTENEGRO, STELLA             43703 SOUTHEAST 142ND STREET                                                                                NORTH BEND         WA   98045‐9219
MONTENERI, DOMINICK            96 OLDE HARBOUR TRAIL                                                                                       ROCHESTER          NY   14612‐2930
MONTENERI, FLORENCE L          96 OLDE HARBOUR TRAIL                                                                                       ROCHESTER          NY   14612‐2930
MONTER PHILBROOK JR            1691 PARK TERRACE AVE                                                                                       LAKE HAVASU CITY   AZ   86404‐1054
MONTERA RALPH JR               7 GERRIET CT                                                                                                FORT SALONGA       NY   11768‐3525
MONTEREY BAY COMMUNICATIONS    250 NATURAL BRIDGES DR                                                                                      SANTA CRUZ         CA   95060‐5710
MONTEREY COUNTY                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 891                TREASURER‐TAX COLLECTOR                    SALINAS            CA   93902‐0891

MONTEREY COUNTY                PO BOX 891                            TREASURER‐TAX COLLECTOR                                               SALINAS            CA 93902‐0891
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Name                             Address1                              Address2                          Address3   Address4         City               State Zip
MONTEREY COUNTY FLEET MANAGEMENT 855 E LAUREL DR STE A                                                                               SALINAS             CA 93905‐1300

MONTEREY COUNTY TAX COLLECTOR         PO BOX 891                                                                                     SALINAS            CA 93902‐0891
MONTEREY INSTITUTE OF INTERNATIONAL   460 PIERCE ST                                                                                  MONTEREY           CA 93940‐2658
STUDIES
MONTEREY MECHANICAL CO.                                                8275 SAN LEANDRO ST                                                              CA 94621
MONTEREY TRANSPORT INC                3680 179TH ST                                                                                  HAMMOND            IN 46323‐3033
MONTERO, IRIS M                       39 BARNT AVE                                                                                   TRENTON            NJ 08611‐2619
MONTERO, JESUS
MONTERO, LOUIS J                      95 N TRUESDALE AVE                                                                             YOUNGSTOWN         OH 44506‐1326
MONTERO, LUZ
MONTERO, MARIO M                      8312 NW 191ST LN                                                                               HIALEAH            FL    33015‐5309
MONTERO, MINERVA                      CALLE 41 BL 12 RETEVILLE                                                                       BAYAMON            PR    00957
MONTERO, NEFTALI                      PO BOX 683                                                                                     BURLINGTON         NJ    08016‐0683
MONTERO, RICHARD J                    691 NEW CHURCHMANS ROAD                                                                        NEWARK             DE    19702
MONTERO, WILLIAM M                    1485 79TH AVENUE                                                                               VERO BEACH         FL    32966‐2443
MONTERO, WILLIAM M                    1485 79TH AVE                                                                                  VERO BEACH         FL    32966‐2443
MONTEROSSO DAVID G (435978)           WEITZ & LUXENBERG                180 MAIDEN LANE                                               NEW YORK           NY    10038
MONTEROSSO, DAVID G                   WEITZ & LUXENBERG                180 MAIDEN LANE                                               NEW YORK           NY    10038
MONTEROSSO, EARVINA                   7100 ULMERTON RD LOT 1042                                                                      LARGO              FL    33771‐5112
MONTEROSSO, LARRY J                   38151 DUCHARME DR                                                                              CLINTON TWP        MI    48038‐3309
MONTEROSSO, MIKE                      2201 LONDON AVE                                                                                LINCOLN PARK       MI    48146‐3467
MONTERRO, KYLE L                      96 AVERY PL                                                                                    BUFFALO            NY    14225
MONTERUSSO, MARIE P                   40362 REPUBLIC DR                                                                              STERLING HEIGHTS   MI    48313
MONTERVINO, ESTHER L                  12 ANGELIQUE COURT                                                                             TRENTON            NJ    08619
MONTES ARTURO P (429487)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA    23510
                                                                       STREET, SUITE 600
MONTES DE OCA, JOEL                   168 E PASEO DE GOLF                                                                            GREEN VALLEY       AZ    85614‐3315
MONTES EVARD                          MONTES, CLAUDIA                  120 WEST MADISON STREET , 10TH                                CHICAGO            IL    60602
                                                                       FLOOR
MONTES EVARD                          MONTES, EVARD                    120 WEST MADISON STREET , 10TH                                CHICAGO             IL   60602
                                                                       FLOOR
MONTES, ANDREW G                      9312 AQUEDUCT AVE                                                                              SEPULVEDA          CA 91343‐2000
MONTES, ARTURO P                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
MONTES, CLAUDIA                       KROHN & MOSS ‐ CA                10474 SANTA MONICA BLVD STE 401                               LOS ANGELES        CA 90025‐6932

MONTES, DANIEL                        925 OAK ISLAND DR                                                                              NORTH LAS VEGAS    NV    89032‐9013
MONTES, DAVID                         324 W 83RD ST APT 1W                                                                           NEW YORK           NY    10024‐4825
MONTES, DELIA                         328 BRIDGE PLZ N APT 3B                                                                        FORT LEE           NJ    07024‐5013
MONTES, DELIA                         328 BRIDGE PLAZA N APT 3 B                                                                     FORT LEE           NJ    07024‐5013
MONTES, EVARD                         KROHN & MOSS ‐ CA                10474 SANTA MONICA BLVD STE 401                               LOS ANGELES        CA    90025‐6932

MONTES, FRANCISCO                     WEBERMAN JANCE M LAW OFFICE OF   3700 WILSHIRE BLVD STE 540                                    LOS ANGELES        CA    90010‐2906
MONTES, JESUS M                       81 ORMSBY                                                                                      WATERFORD          MI    48327‐1746
MONTES, JOHN                          401 S 48TH ST                                                                                  NOBLE              OK    73068‐8457
MONTES, JOHN                          2024 S 3RD AVE                                                                                 MAYWOOD            IL    60153‐3318
MONTES, JOSE F                        2835 PLEASANT VALLEY RD                                                                        BRIGHTON           MI    48114‐9226
MONTES, JOSE O                        12014 162ND ST                                                                                 NORWALK            CA    90650‐7230
MONTES, JUAN M                        2726 MARENGO ST                                                                                LOS ANGELES        CA    90033‐2027
MONTES, LORETTA L                     401 S 48TH ST                                                                                  NOBLE              OK    73068‐8457
MONTES, MANUEL
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Name                                  Address1                         Address2                        Address3   Address4                 City                  State Zip
MONTES, MARIA A                       2705 NOVA DR                                                                                         GARLAND                TX 75044‐6231
MONTES, MARIA ZEPEDA
MONTES, NANCY                         20 PROSPECT ST                                                                                       BLOOMFIELD            NJ   07003‐3224
MONTES, OCTAVIO J                     6314 BROADWAY                                                                                        WEST NEW YORK         NJ   07093‐3010
MONTES, PERCY R                       7 KINGSTON AVE                                                                                       CORTLANDT MNR         NY   10567‐7400
MONTES, RAYMUNDO                      1601 FERDINAND ST                                                                                    DETROIT               MI   48209‐2172
MONTES, SILVIO J                      461 FORT WASHINGTON AVE APT 62                                                                       NEW YORK              NY   10033‐4635
MONTES, WILLIAM                       AM38 CALLE RIO MAMEYES                                                                               BAYAMON               PR   00961‐3243
MONTES, WILLIE S                      PO BOX 1163                                                                                          COLUMBIA              TN   38402‐1163
MONTES, YVONNE R                      4411 MCKINNEY AVE APT 29                                                                             DALLAS                TX   75205
MONTESANO, ANNA                       9176 BUCKWHEAT ST                                                                                    SAN DIEGO             CA   92129‐3644
MONTESANO, HELEN B                    50 HALEY LANE                    APT 6                                                               CHEEKTOWAGA           NY   14227
MONTESANO, HELEN B                    50 HALEY LN APT 6                                                                                    CHEEKTOWAGA           NY   14227‐3677
MONTESANTO, JACK                      17 INDIAN HILLS DR                                                                                   WATERLOO              NY   13165‐9457
MONTESANTO, MARILYN                   8844 RANCH DR                                                                                        CHESTERLAND           OH   44026‐3136
MONTESANTO, MARILYN C                 8844 RANCH DR                                                                                        CHESTERLAND           OH   44026‐3136
MONTESDEOCA IRENE                     MONTESDEOCA, IRENE               1930 E MARLTON PIKE SUITE Q29                                       CHERRY HILL           NJ   08003
MONTESDEOCA, IRENE                    KIMMEL & SILVERMAN PC            1930 E MARLTON PIKE SUITE Q29                                       CHERRY HILL           NJ   08003
MONTESDEOCA, MELVIN                   10504 SAN LUIS AVE                                                                                   SOUTH GATE            CA   90280‐6630
MONTEVIDEO, SALVATORE N               31204 VIA SOLANA                                                                                     SAN JUAN CAPISTRANO   CA   92675‐2941
MONTEVIDEO, VINCENZINA A              1888 MEADOWLARK LN                                                                                   NILES                 OH   44446‐4133
MONTEVILLE, ALBERT R                  1025 PAIGE CT                                                                                        NEWTON FALLS          OH   44444‐8774
MONTEYNE, CHARLES E                   15340 FRAZHO RD                                                                                      ROSEVILLE             MI   48066‐5022
MONTEZ ANTHONY
MONTEZ BICKLEY                        289 WALL ST                                                                                          TALLASSEE             AL   36078‐5102
MONTEZ CLARKE                         20403 ILENE ST                                                                                       DETROIT               MI   48221‐1017
MONTEZ COLEMAN                        15 CEDAR RUN                     APT 4                                                               LAKE ST LOUIS         MO   63357‐3307
MONTEZ DENT                           1114 S FRANKLIN AVE                                                                                  FLINT                 MI   48503‐2820
MONTEZ JOHNSON                        PO BOX 1112                                                                                          BUFFALO               NY   14205‐1112
MONTEZ RICHARD (ESTATE OF) (643077)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD            OH   44067
                                                                       PROFESSIONAL BLDG
MONTEZ, EMILIO J                      4418 BEAU MONDE DR APT 106                                                                           LISLE                 IL   60532‐1515
MONTEZ, FRANK J                       306 E 3RD ST BOX 332                                                                                 DEPUE                 IL   61322
MONTEZ, HENRY G                       8305 NW 81ST TER                                                                                     KANSAS CITY           MO   64152‐4122
MONTEZ, JESUS M                       6010 S SPRINGBROOK DR                                                                                TUCSON                AZ   85746‐3148
MONTEZ, JOE A                         1313 W BEDDELL ST                                                                                    FORT WORTH            TX   76115‐2307
MONTEZ, JULIA                         5470 FM 1339                                                                                         KINGSBURY             TX   78638‐1201
MONTEZ, JULIAN E                      1754 IOLA ST                                                                                         AURORA                CO   80010‐2340
MONTEZ, KRISTINA L                    7044 VALHALLA RD                                                                                     FORT WORTH            TX   76116‐9020
MONTEZ, MARY                          8670 MINOAN CT                                                                                       ELK GROVE             CA   95624‐3442
MONTEZ, RAMON A                       7375 BECKWOOD DR                                                                                     FORT WORTH            TX   76112‐5927
MONTEZ, RICHARD                       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD            OH   44067
                                                                       PROFESSIONAL BLDG
MONTEZ, SANTIAGO S                    6322 E INDIGO ST                                                                                     MESA                  AZ   85205‐3669
MONTEZUMA MANUFACTURING               403 S 8TH ST                                                                                         MONTEZUMA             IA   55017‐1019
MONTEZUMA MFG./COSMA INT'L.           403 S 8TH ST                                                                                         MONTEZUMA             IA   50171‐1019
MONTEZUMA MFG./COSMA INT'L.           CONNIE NIEMEYER                  403 S 8TH ST                                                        MONTEZUMA             IA   50171‐1019
MONTFILS, LOIS M                      395 SPRING BROOKE DR                                                                                 BRIGHTON              MI   48116‐2909
MONTFORD JR, HERMAN                   4361 CHANT CT                                                                                        LIZELLA               GA   31052‐4404
MONTFORD JR, HERMAN                   4361 CHANT COURT                                                                                     LIZELLA               GA   31052‐4404
MONTFORD MANUFACTURING INC            PO BOX 81039                                                                ANCASTER CANADA ON L9G
                                                                                                                  4X1 CANADA
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Name                             Address1                              Address2                        Address3                   Address4              City                 State Zip
MONTFORD MFG INC                 1624 CLAYBAR RD                       PO BOX 81039 RPO FIDDLERS GREEN                            ANCASTER ON L9G 4X1
                                                                       CLAYBAR RD                                                 CANADA
MONTFORD, DORA F                 4361 CHANT CT                                                                                                          LIZELLA              GA    31052‐4404
MONTFORD, JAMES O                885 EDWIN ST NW                                                                                                        ATLANTA              GA    30318‐4816
MONTFORD, JOHNNY A               129 CEDARBROOK AVE                                                                                                     S PLAINFIELD         NJ    07080‐4608
MONTFORD, YOLANDA G              121 HAMLET CT                                                                                                          RIVERDALE            GA    30274‐3604
MONTFORTON, ALFRED L             3820 N PIPER ST                                                                                                        MUNCIE               IN    47303‐1192
MONTFORTON, RITA B               3820 N PIPER ST                                                                                                        MUNCIE               IN    47303‐1192
MONTFORTON, SUZANNE M            4300 BERMUDA AVE                                                                                                       SAULT SAINTE MARIE   MI    49783‐1068
MONTGOMERY ALICE ROSE (348383)   BARON & BUDD                          3102 OAK LAWN AVE STE 1100                                                       DALLAS               TX    75219‐4283
MONTGOMERY AREA UNITED WAY       PO BOX 6135                                                                                                            MONTGOMERY           AL    36106‐0135
MONTGOMERY AUTOMOTIVE INC        10780 A‐F HANNA STREET                                                                                                 BELTSVILLE           MD    20705
MONTGOMERY BERNARD D (347063)    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                      NORFOLK              VA    23510
                                                                       STREET, SUITE 600
MONTGOMERY BETTY D               MONTGOMERY, BETTY D
MONTGOMERY BETTY D               OHIO STATE OF
MONTGOMERY BETTY D               MONTGOMERY, BETTY D                   ENVIRONMENTAL ENFORCEMENT                                                        COLUMBUS             OH 43215
                                                                       SECTION 30 EAST BROAD STREET
                                                                       25TH FLOOR
MONTGOMERY BULK II               PO BOX 1069                                                                                                            COLEMAN              FL    33521‐1069
MONTGOMERY CARTER                1062 ORAM DR                                                                                                           ADRIAN               MI    49221‐3252
MONTGOMERY CHEVROLET             5325 PRESTON HWY                                                                                                       LOUISVILLE           KY    40213‐2772
MONTGOMERY CHEVROLET COMPANY     DBA COLUMBIA CHEVROLET                9750 MONTGOMERY RD                                                               MONTGOMERY           OH    45242‐7208
MONTGOMERY CHEVROLET COMPANY     GREGORY JOSEPH                        9750 MONTGOMERY RD                                                               MONTGOMERY           OH    45242‐7208
MONTGOMERY CNTY 1ST DIST CRT     ACCT OF G N FLETCHER 99CVF845         195 S CLAYTON RD                                                                 NEW LEBANON          OH    45345‐9601
MONTGOMERY CNTY BUREAU OF SPPR   FAMILY SUPPORT FOR ACCOUNT OF         14 W 4TH ST STE 530             DWAYNE M CARR SEA#60056‐                         DAYTON               OH    45402‐1897
                                                                                                       5
MONTGOMERY CNTY BUREAU OF SUPP   ACCT OF SHIRLEY A BREWER              SEA#                            14 W FOURTH ST                                   DAYTON               OH    45402
MONTGOMERY CNTY BUREAU OF SUPP   ACCT OF TIMOTHY J CUKOVECKI           SEA#                            14 W FOURTH ST                                   DAYTON               OH    45402
MONTGOMERY CNTY CSEA             ACCT OF MICHAEL NAPPERE               14 W 14TH ST‐RM 530                                                              DAYTON               OH    28254
MONTGOMERY CNTY CSEA             ACCT OF PAUL T PROTOS                 14 W 4TH ST STE 530                                                              DAYTON               OH    45402‐1897
MONTGOMERY CNTY CSEA             ACCT OF A W TOLLETT                   PO BOX 8744                                                                      DAYTON               OH    45401‐8744
MONTGOMERY CNTY CSEA             ACCT OF PETER S ZHOU                  14 W 4TH ST STE 530                                                              DAYTON               OH    45402‐1897
MONTGOMERY CNTY CSEA ACT OF      K M HOLMES                            14 W 4TH ST STE 530                                                              DAYTON               OH    45402‐1897
MONTGOMERY CNTY ENVIRONMENTAL    ATTN: JIM DAVIS                       4257 DRYDEN RD                                                                   MORAINE              OH    45439‐1431

MONTGOMERY CNTY SAN ENG DEP OH   ATTN LEGAL OFFICER/ BANKRUPTCY DEPT   1850 SPAULDING RD               PO BOX 817601                                    DAYTON               OH 45481‐7601

MONTGOMERY CNTY SAN ENG DEPT     1850 SPAULDING RD                     PO BOX 817601                                                                    DAYTON               OH 45481‐0001
MONTGOMERY CNTY SAN ENG DEPT
MONTGOMERY CNTY SAN.ENG.DEP OH   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1850 SPAULDING RD              PO BOX 817601                                    DAYTON               OH 45481‐7601

MONTGOMERY CNTY WATER SERVICES   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT 1850 SPAULDING RD                                                                KETTERING            OH 45432‐3732

MONTGOMERY COLLEGE               ACCOUNTS RECEIVABLE                   900 HUNGERFORD DR                                                                ROCKVILLE            MD    20850‐1728
MONTGOMERY CONTY BUREAU OF       SUPPORT FAMILY SUPPORT FOR ACC        14 W 4TH ST STE 530             OF JOE N TAYLOR BOS#                             DAYTON               OH    45402‐1897
MONTGOMERY COUNTY                PO BOX 10549                                                                                                           ROCKVILLE            MD    20849‐0549
MONTGOMERY COUNTY                PO BOX 223                                                                                                             MONTGOMERY           AL    36101‐0223
MONTGOMERY COUNTY                TAX ASSESSOR                          PO BOX 4798                                                                      HOUSTON              TX    77210‐4798
MONTGOMERY COUNTY                DIVISION OF TREASURY                  255 ROCKVILLE PIKE STE L15                                                       ROCKVILLE            MD    20850‐4188
MONTGOMERY COUNTY                SANITARY ENGINEERING                  1850 SPAULDING RD                                                                DAYTON               OH    45481‐7601
MONTGOMERY COUNTY                #1 CRIMINAL JUSTICE DRIVE                                                                                              CONROE               TX    77301
                                09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                   Part 26 of 40 Pg 322 of 937
Name                            Address1                               Address2                  Address3                     Address4         City              State Zip
MONTGOMERY COUNTY ‐ CSB         ACCT OF RONALD J FURAY                 14 W 4TH ST STE 530                                                     DAYTON             OH 45402‐1897
MONTGOMERY COUNTY AUDITOR       PO BOX 972                             KARL L. KEITH                                                           DAYTON             OH 45401‐0972
MONTGOMERY COUNTY AUDITOR       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 972                KARL L. KEITH                                 DAYTON             OH 45401‐0972

MONTGOMERY COUNTY BUREAU OF     SUPPORT CASE#DM81‐673 BS55313‐         14 W 4TH ST STE 530       ACCT OF GREGORY T WARE                        DAYTON            OH 45402‐1897
MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCT OF                14 W 4TH ST STE 530       TIMOTHY B LEWIS SEA#64246‐                    DAYTON            OH 45402‐1897
                                                                                                 8
MONTGOMERY COUNTY BUREAU OF     SUPPORT‐FAMILY SUPP FOR ACCOUN         14 W 4TH ST STE 530       OF EZRA D KNOX SEA#74010‐2                    DAYTON            OH 45402‐1897

MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR ACCOUNT OF ED KNOX         14 W 4TH ST STE 530       SEA#73773‐7                                   DAYTON            OH 45402‐1897
MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF JB          DAVIES CASE#              14 W FOURTH ST                                DAYTON            OH 45402
MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF             RK THOMAS CASE#50805‐2    14 W FOURTH ST REIBOLD BL                     DAYTON            OH 00000

MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF             BD MCSHERRY CASE#         14 W FOURTH ST REIBOLD BL                     DAYTON            OH 00000

MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF             HW ACOSTA CASE#           14 W FOURTH ST REIBOLD BL                     DAYTON            OH 00000

MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF             CS FROGGE CASE#           14 W FOURTH ST REIBOLD BL                     DAYTON            OH 00000

MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF             DR GAUDER CASE#           14 W FOURTH ST REIBOLD BL                     DAYTON            OH 00000

MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF             WW CRAWFORD CASE#         14 W FOURTH ST REIBOLD BL                     DAYTON            OH 00000

MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF JR          BLAIR CASE#56901‐5        14 W FOURTH ST                                DAYTON            OH   45402
MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF WD          RICHARDSON CASE#54856‐2   14 W FOURTH ST                                DAYTON            OH   45402
MONTGOMERY COUNTY BUREAU OF     SUPPORT FOR THE ACCOUNT OF TL          BROWN CASE#73037‐0        14 W FOURTH ST                                DAYTON            OH   45402
MONTGOMERY COUNTY C.S,E.A.      ACCT OF CURTIS W EDWARDS, SR.          14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY C.S.E.A.      ACCT OF DAVID R CURTIS                 14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY C.S.E.A.      ACCT OF BENNY HILER                    14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY C.S.E.A.      ACCT OF DAVID T KISTLER                14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY C.S.E.A.      ACCT OF ROBERT GIBBS                   14 W 4TH ST STE 530       SEA #                                         DAYTON            OH   45402‐1897
MONTGOMERY COUNTY C.S.E.A.      ACCOUNT OF RIDLEY L COPELAND           14 W 4TH ST STE 530       SEA#                                          DAYTON            OH   45402‐1897
MONTGOMERY COUNTY C.S.E.A.      ACCOUNT OF LARRY L COLLINS             14 W 4TH ST STE 530       SEA NO                                        DAYTON            OH   45402‐1897
MONTGOMERY COUNTY C.S.E.A.      ACCOUNT OF MICHAEL REED                14 W 4TH ST STE 530       SEA#                                          DAYTON            OH   45402‐1897
MONTGOMERY COUNTY C.S.E.A.      ACCT OF JAMES N MENEFEE                14 W 4TH ST STE 530       SEA#                                          DAYTON            OH   45402‐1897
MONTGOMERY COUNTY COLLECTOR     PO BOX 2                                                                                                       MONTGOMERY CITY   MO   63361‐0002
MONTGOMERY COUNTY COMMON        41 NORTH PERRY STREET                  ROOM 41                                                                 DAYTON            OH   45402
PLEASCIVIL DIV
MONTGOMERY COUNTY COMMUNITY     340 DEKALB PIKE                        P O BOX 400                                                             BLUE BELL         PA 19422‐1412
COLLEGE
MONTGOMERY COUNTY COURTHOUSE    1 COURT STREET                                                                                                 MT STERLING       KY   40353
MONTGOMERY COUNTY CSEA          ACCT OF RONALD CALDWELL                14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY CSEA          ACCT OF HARLOW RUTLEDGE                14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY CSEA          ACCT OF MICHAEL REED                   14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY CSEA          ACCOUNT OF MICHAEL S BAER              14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY CSEA          ACCT OF DANIEL SCHERACK                14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY CSEA          ACCT OF CHARLES I BLEDSOE              14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY CSEA          ACCT OF ARTHUR NEAL COLLINS            14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY CSEA ACT OF   P T PROTOS                             14 W 4TH ST STE 530                                                     DAYTON            OH   45402‐1897
MONTGOMERY COUNTY ENFORCEMENT   AGENCY FOR THE ACCOUNT OF DE           14 W 4TH ST STE 530       TAYLOR SEA#54713‐0                            DAYTON            OH   45402‐1897
                                 09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                             Address1                              Address2                 Address3                  Address4         City           State Zip
MONTGOMERY COUNTY FIRST COURT    195 S CLAYTON RD                                                                                          NEW LEBANON     OH 45345‐9601
AREA 1
MONTGOMERY COUNTY GOVERNMENT     1283 SEVEN LOCKS RD                                                                                       ROCKVILLE      MD 20854

MONTGOMERY COUNTY JOINT          682 WOODFORD DR                                                                                           MT STERLING     KY   40353‐9504
TECHNOLOGY CENTER
MONTGOMERY COUNTY MARYLAND       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 9415                                                        GAITHERSBURG   MD 20898‐9415

MONTGOMERY COUNTY MARYLAND       PO BOX 9415                                                                                               GAITHERSBURG   MD    20898‐9415
MONTGOMERY COUNTY MUD # 47       PO BOX 4901                                                                                               HOUSTON        TX    77210‐4901
MONTGOMERY COUNTY MUD #46        PO BOX 4901                                                                                               HOUSTON        TX    77210‐4901
MONTGOMERY COUNTY MUD #7         PO BOX 4901                                                                                               HOUSTON        TX    77210‐4901
MONTGOMERY COUNTY PUB SCHOOLS    16651 CRABBS BRANCH WAY                                                                                   ROCKVILLE      MD    20855‐2201
MONTGOMERY COUNTY REVENUE        PO BOX 4779                                                                                               MONTGOMERY     AL    36103‐4779
COMMISSIONER
MONTGOMERY COUNTY REVENUE        PO BOX 1667                                                                                               MONTGOMERY      AL   36102‐1667
COMMISSIONER
MONTGOMERY COUNTY REVENUE DEPT   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 4779                                                        MONTGOMERY      AL   36103‐4779

MONTGOMERY COUNTY REVENUE DEPT   PO BOX 4779                                                                                               MONTGOMERY      AL   36103‐4779

MONTGOMERY COUNTY S E A          ACCOUNT OF JESSE J MARK II            14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          ACCOUNT OF WILLIAM RIEGLE JR          14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          FOR ACCT OF J M MYERS                 14 W 14TH ST SUITE 530                                              DAYTON         OH    22362
MONTGOMERY COUNTY S E A          ACCOUNT OF BYRON C ALLEN              14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          ACCOUNT OF DANIEL T WINFIELD          14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          ACCOUNT OF GLENN R REED               14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          ACCOUNT OF BRUCE S HOBSON             14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          ACCOUNT OF MELVIN F METZLER           14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          ACCOUNT OF TERRY MC CRAY              14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          ACCOUNT OF BOYD L HARROLD             14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S E A          ACCOUNT OF DAVID H LEAHY              14 W 4TH ST STE 530      SEA #57802‐0                               DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S. E. A.       ACCT OF JEREMIAH ISRAEL               14 W 4TH ST STE 530                                                 DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCOUNT OF MICHAEL J MALESKO          14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF PERRY MC COY JR               14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF MURRAY J RAMBO                14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF JAMES L PARKER                14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF LUTHER H CHILDS               14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF DEAN E WEGLEY                 14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF NICHOLAS B HUART              14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF HENRY G SONORA SR             14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF BENJAMIN THOMPSON             14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF JERRY HAWKINS                 14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF ROBERT E JOHNSON              14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF CHARLES I BLEDSOE             14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF ALBERT P WILLIAMS             14 W 4TH ST STE 530      SEA#                                       DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCOUNT OF WARREN D KENDRICKS         14 W 4TH ST STE 530      SEA #79351‐3                               DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCOUNT OF TIMOTHY J MERCER           14 W 4TH ST STE 530      SEA #79244‐2                               DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF JAMES A BRUNER                14 W 4TH ST STE 530      SEA #50‐82648‐0                            DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF HARRY L BOURNE                14 W 4TH ST STE 530      SEA #                                      DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF TIMOTHY S ANDERSON            14 W 4TH ST STE 530      SEA #82107‐6                               DAYTON         OH    45402‐1897
MONTGOMERY COUNTY S.E.A.         ACCT OF MARION W SPENCER              SEA #                    25 W FOURTH ST ROOM 530                    DAYTON         OH    45402
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Name                              Address1                            Address2                      Address3                      Address4         City         State Zip
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF WILLAIM W CRAWFORD       14 W 4TH ST STE 530           SEA#                                           DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF ALPHONSO T. SPENCE       14 W 4TH ST STE 530           SEA NO.                                        DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF DONALD HALLAHAN          14 W 4TH ST STE 530           SEA #                                          DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF ROBERT L LANDIS JR       SEA #76555‐8                  14 W FOURTH ST                                 DAYTON        OH 45402
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF GEORGE R WHITTAKER       14 W 4TH ST STE 530           SEA #77865‐5                                   DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF PAUL A GINTER            14 W 4TH ST STE 530           SEA #50‐78752‐9                                DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF ROBERT SIMS              14 W 4TH ST STE 530           SEA #                                          DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF SUSAN L STROUTH          14 W 4TH ST STE 530           SEA #                                          DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF JOHN J STEVENS              14 W 4TH ST STE 530           SEA#                                           DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF RALPH E FORGY            14 W 4TH ST STE 530           SEA #                                          DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF TERRY TAMASKA               14 W 4TH ST STE 530           SEA #                                          DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF DAVID R GRUBE               14 W 4TH ST STE 530           SEA#                                           DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF PAUL D BRYAN                14 W 4TH ST STE 530           SEA#                                           DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF JOHN W HAMES                14 W 4TH ST STE 530           SEA#                                           DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF JERRY M HOUSE               14 W 4TH ST STE 530           SEA# 63823‐8                                   DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF STEVEN B JOLLY              14 W 4TH ST STE 530           SEA#                                           DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF DANNY SHEPARD               14 W 4TH ST STE 530           SEA#62784‐7                                    DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCT OF MICHAEL N OGLETREE          14 W 4TH ST STE 530           SEA#                                           DAYTON        OH 45402‐1897
MONTGOMERY COUNTY S.E.A.          ACCOUNT OF KENNETH E SMITH          14 W 4TH ST STE 530           SEA #                                          DAYTON        OH 45402‐1897
MONTGOMERY COUNTY SANITARY                                            1850 SPAULDING RD                                                                          OH 45432
ENGINEERING
MONTGOMERY COUNTY SANITARY        1850 SPAULDING RD                                                                                                DAYTON       OH 45432‐3732
ENGINEERING
MONTGOMERY COUNTY SANITARY        NORFLEET, BROWN & PETKEWICZ, INC.   228 BYERS RD STE 301                                                         MIAMISBURG   OH 45342‐3675
ENGINEERING DEPARTMENT
MONTGOMERY COUNTY SEA             FOR ACCOUNT OF GE CONLEY            14 W 4TH ST STE 530           SEA#                                           DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF CHARLES H COWAN JR          14 W 4TH ST STE 530           SEA#                                           DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCOUNT OF ROBERT M JORDAN          14 W 4TH ST STE 530           SEA NO 80127‐8                                 DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF RICHARD D DIETZ             14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF DAW HUNTER                  14 W 4TH ST STE 530           SEA#                                           DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF JAMES F PARKER              14 W 4TH ST STE 530           SEA #                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF THOMAS A IOANES             14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF BRIAN SINGLETON             SEA # W FOURTH STREET         , ROOM 530                                     DAYTON       OH   27178
MONTGOMERY COUNTY SEA             ACCT OF TIMOTHY K O'RYAN            14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF FREDERICK KNOLL             14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF DAVIS CONNER JR             14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF RENEE PULLANO               14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF DAVID M PERRY               14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF ROBERT DILS                 14 W 4TH ST STE 530           SEA#                                           DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF LAWRENCE B CURRY            14 W 4TH ST STE 530           SEA#                                           DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF DAVID A PETERS              14 W 4TH ST STE 530           SEA#                                           DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SEA             ACCT OF JOSEPH CAMPIGOTTO           14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SELF INSURED    C/O GALLAHER BASSETT SERVICES INC   PO BOX 1647                                                                  ROCKVILLE    MD   20849
PROGRAM (MCSIP)
MONTGOMERY COUNTY SERVICE DEPOT                                       2712 SPRINGBORO RD                                                                        OH 45439

MONTGOMERY COUNTY SHERIFF                                             1 CRIMINAL JUSTICE DR STE 2                                                               TX   77301
MONTGOMERY COUNTY SUPPORT         ACCT OF JAMES R BILLINGHAM          14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SUPPORT         ACCOUNT OF RICHARD E LEE            14 W 4TH ST STE 530                                                          DAYTON       OH   45402‐1897
MONTGOMERY COUNTY SUPPORT         FAMILY SUPPORT FOR ACCOUNT OF       14 W 4TH ST STE 530           RICHARD D DIETZ SEA#72708‐4                    DAYTON       OH   45402‐1897
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Name                                Address1                              Address2                   Address3                     Address4         City             State Zip
MONTGOMERY COUNTY TAX COLLECTOR     PO BOX 4779                                                                                                    MONTGOMERY        AL 36103‐4779

MONTGOMERY COUNTY TAX COLLECTOR     DIVISION OF REVENUE                   PO BOX 6210                                                              ROCKVILLE        MD 20849

MONTGOMERY COUNTY TAX COLLECTOR     PO BOX 614                                                                                                     TROY             NC 27371‐0614

MONTGOMERY COUNTY TREASURER         PO BOX 6040                                                                                                    CHRISTIANSBURG   VA   24068‐6040
MONTGOMERY COUNTY TREASURER                                                                                                                        INDEPENDENCE     KS   67301
MONTGOMERY COUNTY TREASURER         451 W 3RD ST                                                                                                   DAYTON           OH   45422‐0001
MONTGOMERY COUNTY TRUSTEE           PO BOX 1005                                                                                                    CLARKSVILLE      TN   37041‐1005
MONTGOMERY COUNTY UNITED WAY        PO BOX 8965                                                                                                    THE WOODLANDS    TX   77387‐8965
MONTGOMERY COUNTY WASTEWATER        ATTN: JIM DAVIS                        4257 DRYDEN RD                                                          MORAINE          OH   45439‐1471
MONTGOMERY COUNTY, ALABAMA          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1667               TAX COLLECTOR                                 MONTGOMERY       AL   36102‐1667

MONTGOMERY COUNTY, ALABAMA          PO BOX 1667                            TAX COLLECTOR                                                           MONTGOMERY       AL 36102‐1667
MONTGOMERY COUNTY, OHIO             451 W 3RD ST                           HUGH QUILL TREASURER                                                    DAYTON           OH 45422‐0001
MONTGOMERY COUNTY, OHIO             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 451 W 3RD ST              HUGH QUILL TREASURER                          DAYTON           OH 45422‐0001

MONTGOMERY CRAWFORD
MONTGOMERY CTY BUREAU OF SUPPO      FOR ACCOUNT OF RA FOREMAN             14 W 4TH ST STE 530        SEA#75121‐8                                   DAYTON           OH   45402‐1897
MONTGOMERY CTY C.S.E.A.             ACCT OF THOMAS W HOLMES               14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY COMMON PLEAS         ACCOUNT OF GARY E WRIGHT              14 W 4TH ST STE 530        SEA#75207‐3                                   DAYTON           OH   45402‐1897
MONTGOMERY CTY CSEA                 ACCT OF ROBERT W SNODGRASS            14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY CSEA                 ACCT OF THOMAS C RAYBURG              14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY CSEA ACT OF J C      ONLEY JR CASE                         14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY DOM REL SECTION      ACCT OF CARL D SCHAFFER               1 MONTGOMERY PLZ STE 102                                                 NORRISTOWN       PA   19401‐4820
MONTGOMERY CTY DOMESTIC REL         ACCT OF MURRY D KORNFEIND             1 MONTGOMERY PLZ STE 102                                                 NORRISTOWN       PA   19401‐4820
MONTGOMERY CTY FRIEND OF COURT      REIBOLD BLDG 5TH FL‐FOR ACCT          R BLACKBURN CASE#          14 W FOURTH                                   DAYTON           OH   45402
MONTGOMERY CTY FRIEND OF COURT      REIBOLD BLDG 5TH FL‐FOR ACCT O        J W EVANS CASE#27746‐2     14 W FOURTH                                   DAYTON           OH   45402
MONTGOMERY CTY FRIEND OF COURT      REIBOLD BLDG 5TH FL‐FOR ACCT O        B J ISAAC SEA#64703‐0      14 W FOURTH                                   DAYTON           OH   45402
MONTGOMERY CTY SEA                  ACCT OF MANNY MURPHY                  14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY SUP ENF AGENCY       FOR ACCT OF M. G. TSOCARIS            14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY SUP ENF AGENCY       ACCT OF WAYNE E SCHUH                 14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPORT ENFORCE       ACCT OF JIMMY LEWIS JONES             14 W FOURTH STREET                                                       DAYTON           OH   45402
MONTGOMERY CTY SUPP ENF AGENCY      ACCT OF JAMES R KRUSE                 14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT              ENFORCEMENT AGENCY FOR ACCOUNT        14 W 4TH ST STE 530        OF LB CALDWELL SEA#52862‐3                    DAYTON           OH   45402‐1897

MONTGOMERY CTY SUPPORT AGENCY       ACCOUNT OF DANIEL W CARBAUGH          14 W 4TH ST STE 530        SEA NO                                        DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT AGENCY       FOR ACCT OF J WINGARD                 14 W 4TH ST STE 530        SEA#50213‐7                                   DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT AGENCY       FOR ACCT OF C W FOGT                  14 W 4TH ST STE 530        SEA#59770‐2                                   DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT AGENCY       FOR ACCT OF W D GAMBRELL              14 W 4TH ST STE 530        SEA#31181‐6                                   DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT AGENCY       FOR ACCT OF M JACKSON                 14 W 4TH ST STE 530        SEA#52033‐9                                   DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT AGENCY       FOR ACCT OF C A JAMES                 14 W 4TH ST STE 530        SEA#69074‐0                                   DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT AGENCY       FOR ACCT OF D M PERRY                 14 W 4TH ST STE 530        SEA#58829‐2                                   DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT ENFORCE      ACCT OF R THOMAS KLINE                14 W 4TH ST STE 530                                                      DAYTON           OH   45402‐1897
MONTGOMERY CTY SUPPORT              14 W 4TH ST STE 530                   ROBERT L ZIMMER CASE#                                                    DAYTON           OH   45402‐1897
ENFORCEMENT AGENCY FOR ACCOUNT OF

MONTGOMERY CTY SUPPORT            14 W 4TH ST STE 530                     TALLEY SEA#75103‐6                                                       DAYTON           OH 45402‐1897
ENFORCEMENT AGENCY FOR ACCOUNT OF
PE
                                 09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                             Address1                           Address2                        Address3                   Address4            City             State Zip
MONTGOMERY CTY, OHIO & THE       SOLID WASTE DIST. DOUGLAS TROUT,   DAYTON‐MONTGOMERY COUNTY        301 W THIRD STREET                             DAYTON            OH 45402
MONTGOMERY CTY                   ESQUIRE                            COURTS BLDG
MONTGOMERY DAQUETHA M            4945 CAMBORNE CIR                                                                                                 MURFREESBORO     TN 37129‐8645
MONTGOMERY DEAN                  14409 WILDEN DR                                                                                                   URBANDALE        IA 50323‐2056
MONTGOMERY EDWARD J (439340)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MONTGOMERY ELEVATOR CO           ONE MONTOGEREY CT                                                                                                 MOLINE           IL   61266
MONTGOMERY ERIC W                520 N KINGSBURY ST                 UNIT 4003                                                                      CHICAGO          IL   60654‐8779
MONTGOMERY FELICIA JOYCE         C/O EDWARD O MOODY PA              801 WEST FOURTH STREET                                                         LITTLE ROCK      AR   72201
MONTGOMERY FLORENCE A (312853)   BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG , 233 EAST                                                 JACKSONVILLE     FL   32202
                                 MCCLAMMA & YEGELWEL P.A.           BAY STREET
MONTGOMERY FRANK                 MONTGOMERY, FRANK                  680 WATERLOO STREET P. O. BOX                              LONDON ON N6A 3V8
                                                                    2520                                                       CANADA
MONTGOMERY FRANK                 MONTGOMERY, FRANK                  SISKIND CROMARTY IVEY & DOWLER 680 WATERLOO STREET P. O.   LONDON ON N6A 3V8
                                                                    LLP                            BOX 2520                    CANADA
MONTGOMERY G BURGE               4757 CORDELL DR                                                                                                   DAYTON           OH   45439
MONTGOMERY GARLAND               1906 MALLOW RD                                                                                                    ALLEGHANY        VA   24426‐2421
MONTGOMERY HOWARD                213 RIVER BLUFF DR                                                                                                ORMOND BEACH     FL   32174‐3870
MONTGOMERY I I I, CICERO         16844 ROBSON ST                                                                                                   DETROIT          MI   48235‐4047
MONTGOMERY III, CICERO           16844 ROBSON ST                                                                                                   DETROIT          MI   48235‐4047
MONTGOMERY III, ROBERT D         4104 GOLDENROD CT                                                                                                 DAYTON           OH   45416‐1810
MONTGOMERY JAMES C (492082)      BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD       OH   44067
                                                                    PROFESSIONAL BLDG
MONTGOMERY JEFF                  MONTGOMERY, JEFF                   476 COUNTRY CLUB                                                               STANSBURY PARK   UT   84074
MONTGOMERY JOHN (456872)         BRAYTON PURCELL                    215 S STATE ST STE 900                                                         SALT LAKE CITY   UT   84111‐2353
MONTGOMERY JR, CHARLES B         6001 MARJA ST                                                                                                     FLINT            MI   48505‐5805
MONTGOMERY JR, CLAYTON           2711 COOLEY DR                                                                                                    LANSING          MI   48911‐1667
MONTGOMERY JR, CLAYTON           2711 COOLEY DRIVE                                                                                                 LANSING          MI   48911‐1667
MONTGOMERY JR, CLINTON           1518 PEBBLE BEACH DR                                                                                              PONTIAC          MI   48340‐1366
MONTGOMERY JR, G P               20070 VILLAGE DR                                                                                                  BEVERLY HILLS    MI   48025‐2852
MONTGOMERY JR, G PAUL            20070 VILLAGE DR                                                                                                  BEVERLY HILLS    MI   48025‐2852
MONTGOMERY JR, GEORGE W          799 W MARTIN ST                                                                                                   E PALESTINE      OH   44413‐1645
MONTGOMERY JR, JESSE             5247 LOTUS AVE                                                                                                    SAINT LOUIS      MO   63113‐1129
MONTGOMERY JR, JOHN F            4264 OAK TERRACE CIR                                                                                              PORT CHARLOTTE   FL   33953‐5926
MONTGOMERY JR, KELLY             2604 ROCKHILL RD                                                                                                  MCKINNEY         TX   75070‐3722
MONTGOMERY JR, RUBERT            846 COUNTY RD 249                                                                                                 MOULTON          AL   35650‐9338
MONTGOMERY JR, THOMAS E          18970 ARCHDALE ST                                                                                                 DETROIT          MI   48235‐3267
MONTGOMERY JR, THOMAS W          11071 FOWLER DR                                                                                                   REMUS            MI   49340‐9641
MONTGOMERY JR, WILLIAM           7319 PARKWAY CT                                                                                                   CANTON           MI   48187‐1513
MONTGOMERY JR, WILLIAM           1101 SATINWOOD DRIVE                                                                                              JEFFERSON CTY    MO   65109‐6012
MONTGOMERY KEY                   1924 MAPLE SHADE DR                                                                                               WILLIAMSTON      MI   48895‐9345
MONTGOMERY LARRY (459212)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK          VA   23510
                                                                    STREET, SUITE 600
MONTGOMERY LISA                  MONTGOMERY, LISA                   406 FARMINGTON AVENUE                                                          FARMINGTON       CT 06032
MONTGOMERY MALL EXXON            10201 WESTLAKE DR                                                                                                 BETHESDA         MD 20817‐6401
MONTGOMERY MCCAJAH T (406770)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MONTGOMERY MORGAN                14341 SWANEE BEACH DR                                                                                             FENTON           MI   48430‐1463
MONTGOMERY NAPOLEON (507568)     COON BRENT W                       PO BOX 4905                                                                    BEAUMONT         TX   77704‐4905
MONTGOMERY NORA                  1901 CHARM WAY                                                                                                    SACRAMENTO       CA   95835‐1921
MONTGOMERY ORTHOPAED             9000 N MAIN ST                                                                                                    DAYTON           OH   45415‐1168
MONTGOMERY OTIS                  115 CRANE ST                                                                                                      DEPEW            NY   14043
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Name                             Address1                        Address2                          Address3        Address4         City              State Zip
MONTGOMERY PAUL L                1376 DYEMEADOW LN                                                                                  FLINT              MI 48532‐2323
MONTGOMERY PIERCE                PO BOX 304                                                                                         LENNON             MI 48449‐0304
MONTGOMERY RADIATOR CO, INC.     225 GUNN RD                                                                                        MONTGOMERY         AL 36117‐2003
MONTGOMERY RICHARD               204 S BAKER ST                                                                                     SAINT JOHNS        MI 48879‐1940
MONTGOMERY ROBERT (ESTATE OF)    LEVIN SIMES & KAISER            160 SANSOME STREET ‐ 12TH FLOOR                                    SAN FRANCISCO      CA 94104

MONTGOMERY ROBERT F (302422)     BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG , 233 EAST                                     JACKSONVILLE       FL   32202
                                 MCCLAMMA & YEGELWEL P.A.        BAY STREET
MONTGOMERY ROBIN                 MONTGOMERY, ROBIN               3835 WARREN CHAPEL RD                                              MARIETTA          OH    45750
MONTGOMERY RON                   3140 DAVISON RD                                                                                    LAPEER            MI    48446‐2901
MONTGOMERY SCOTT                 999 S HIGHLAND ST                                                                                  DEARBORN          MI    48124‐1645
MONTGOMERY SERVICE CENTER        2234 E SOUTH BLVD                                                                                  MONTGOMERY        AL    36116‐2485
MONTGOMERY SHAMBLEAU             3604 MONROE ST                                                                                     DEARBORN          MI    48124‐4605
MONTGOMERY SHIRLEY               3120 PRINCE ST                                                                                     CONWAY            AR    72034‐3449
MONTGOMERY STEVE                 MONTGOMERY, STEVE               1060 1ST AVE STE 400                                               KING OF PRUSSIA   PA    19406‐1336
MONTGOMERY TANKS LINES INC       5560 RIVARD ST                                                                                     DETROIT           MI    48211‐2535
MONTGOMERY THERESA               MONTGOMERY, THERESA             5417 ASH AVE                                                       RAYTOWN           MO    64133‐2813
MONTGOMERY THOMAS O (360629)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA    23510
                                                                 STREET, SUITE 600
MONTGOMERY TIM                   231 SYDNEY RD                                                                                      HOLLAND           PA    18966‐2894
MONTGOMERY TOM                   DBA ACCELERATED SERVICES LLC    PO BOX 5067                                                        ENGLEWOOD         CO    80155‐5067
MONTGOMERY VIDA                  MONTGOMERY, VIDA                TRAVELER'S INSURANCE              P.O. BOX 3022                    FALL RIVERS       MA    02722
MONTGOMERY W H (472122)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA    23510
                                                                 STREET, SUITE 600
MONTGOMERY WARD & CO             ACCT OF WILLIA L ROBINSON
MONTGOMERY WARD & CO             ACCT OF SUZANNE BOONE
MONTGOMERY WARD & CO INC         ACCT OF CURTIS PUGH
MONTGOMERY WARD CREDIT           ACCT OF ROBERT A ELLIS          35925 FORD RD                                                      WESTLAND          MI 48185‐2204
MONTGOMERY WATER WORKS                                           2501 JACKSON FERRY RD                                                                AL 36104
MONTGOMERY WATSON AMERICAS INC   250 N MADISON AVE                                                                                  PASADENA          CA 91101‐1639

MONTGOMERY WHITE                 1334 N DYE RD                                                                                      FLINT             MI 48532‐2215
MONTGOMERY WILLIAM B (303872)    SWEENEY ROBERT E CO             1500 ILLUMINATING BLDG , 55                                        CLEVELAND         OH 44113
                                                                 PUBLIC SQUARE
MONTGOMERY, ALBERT R             175 E NORWAY LAKE RD                                                                               LAPEER            MI 48446‐8747
MONTGOMERY, ALECIA L             315 BROADWAY ST APT 1                                                                              TROTWOOD          OH 45426
MONTGOMERY, ALICE ROSE           BARON & BUDD                    THE CENTRUM, 3102 OAK LAWN                                         DALLAS            TX 75219
                                                                 AVE, STE 1100
MONTGOMERY, ANDRE J              4804 AMSLER RD                                                                                     ELLENWOOD         GA    30294‐2020
MONTGOMERY, ANGELA R             3945 OLDE CLOISTER CV                                                                              CUMMING           GA    30040‐0411
MONTGOMERY, ANN C.               323 S DAVIS ST                                                                                     GIRARD            OH    44420‐3348
MONTGOMERY, ANTHONY              114 SHORT ST                                                                                       BROOKHAVEN        MS    39601‐3112
MONTGOMERY, ARMELIA              12600 VANZILLE LN                                                                                  ATHENS            AL    35611‐6229
MONTGOMERY, ARMISTICE            403 COLUMBIA AVE                                                                                   WEST PORTSMOUTH   OH    45663‐6201
MONTGOMERY, ARTHUR C             8300 E MCDOWELL RD UNIT 3004                                                                       SCOTTSDALE        AZ    85257‐3970
MONTGOMERY, BARBARA              ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                                  HOUSTON           TX    77069
MONTGOMERY, BARBARA C            28229 C.R. #33 LOT42W                                                                              LEESBURG          FL    34748
MONTGOMERY, BARBARA G            3247 MELVIN AVE                                                                                    ROCHESTER HILLS   MI    48307‐4870
MONTGOMERY, BARBARA J            4059 SUGAR PALM TER                                                                                OVIEDO            FL    32765‐6940
MONTGOMERY, BARBARA L            2929 N CTY H                                                                                       JANESVILLE        WI    53548
MONTGOMERY, BARTON L             3949 SANTA CLARA DR                                                                                GREENWOOD         IN    46142‐8420
MONTGOMERY, BENEDICT C           9602 ABINGTON AVE                                                                                  DETROIT           MI    48227‐1080
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Name                           Address1                        Address2                       Address3   Address4         City            State Zip
MONTGOMERY, BENNIE             GUY WILLIAM S                   PO BOX 509                                                 MCCOMB           MS 39649‐0509
MONTGOMERY, BERNADINE M        102 PALMORA BLVD                                                                           LEESBURG         FL 34748‐6859
MONTGOMERY, BERNARD D          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                               STREET, SUITE 600
MONTGOMERY, BETTIE             PO BOX 5265                                                                                SAGINAW         MI   48603‐0265
MONTGOMERY, BETTY J            2520 SW WINTEROAK CIR                                                                      LEES SUMMIT     MO   64081‐2578
MONTGOMERY, BETTY J            1343 N EDMONDSON AVE APT 210D                                                              INDIANAPOLIS    IN   46219‐3564
MONTGOMERY, BETTY J            2520 SOUTHWEST WINTEROAK CIR                                                               LEES SUMMIT     MO   64081‐2578
MONTGOMERY, BETTY L            PO BOX 15065                                                                               LAS VEGAS       NV   89114‐5065
MONTGOMERY, BILLY D            354 ESCOBAR ST                                                                             FREMONT         CA   94539‐5713
MONTGOMERY, BOBBIE             3629 LYNN ST.                                                                              FLINT           MI   48503‐4588
MONTGOMERY, BOBBIE             3629 LYNN ST                                                                               FLINT           MI   48503‐4588
MONTGOMERY, BONITA M           28516 BEECHWOOD ST                                                                         GARDEN CITY     MI   48135‐2400
MONTGOMERY, BONNIE L           9651 STATE ROUTE 224                                                                       DEERFIELD       OH   44411‐8747
MONTGOMERY, BONNIE L           9651 ST RT 224                                                                             DEERFIELD       OH   44411‐8747
MONTGOMERY, BRENDA J           24200 CATHEDRAL APT 255         THE COVENTRY APARTMENT                                     REDFORD         MI   48239
MONTGOMERY, C S                509 ODELL ST                                                                               CLEBURNE        TX   76033‐7311
MONTGOMERY, C SUE              509 ODELL ST                                                                               CLEBURNE        TX   76033‐7311
MONTGOMERY, CALLIE             100 S JEFFERSON AVE STE 102     GUARD SERVS. OF SAGINAW CNTY                               SAGINAW         MI   48607‐1274

MONTGOMERY, CALVIN             87 LEPPO LN                                                                                MANSFIELD       OH   44907
MONTGOMERY, CARLTA L           5473 NORTHFORD RD                                                                          TROTWOOD        OH   45426‐1105
MONTGOMERY, CAROL S            1715 E LONG ST                                                                             COLUMBUS        OH   43203‐2045
MONTGOMERY, CARROL M           1826 SHEPHERD RD                                                                           ANDERSON        IN   46012‐9675
MONTGOMERY, CEIL               1118 HOVEY ST SW                                                                           GRAND RAPIDS    MI   49504‐6124
MONTGOMERY, CHARLES B          3602 PROVIDENCE ST                                                                         FLINT           MI   48503‐7002
MONTGOMERY, CHARLES C          11118 N 200 W                                                                              ALEXANDRIA      IN   46001‐8501
MONTGOMERY, CHARLES P          7410 CHARLES CT                                                                            LINDEN          MI   48451‐8614
MONTGOMERY, CHARLES P          PO BOX 44                                                                                  HORNERSVILLE    MO   63855‐0044
MONTGOMERY, CHARLES R          88 DORRIS AVE                                                                              BUFFALO         NY   14215‐3206
MONTGOMERY, CHERYL L           1808 E COLUMBIA RD                                                                         DANSVILLE       MI   48819‐9746
MONTGOMERY, CHRISTINE L        685 BRENTWOOD DR                                                                           WARREN          OH   44484
MONTGOMERY, CHRISTINE L        685 BRENTWOOD AVE NE                                                                       WARREN          OH   44484‐1902
MONTGOMERY, CHRISTOPHER J      4227 WYOMING ST                                                                            KANSAS CITY     MO   64111‐4118
MONTGOMERY, CHRISTOPHER JOHN   4227 WYOMING ST                                                                            KANSAS CITY     MO   64111‐4118
MONTGOMERY, CLARA L            1651 6TH ST                                                                                BELOIT          WI   53511‐3475
MONTGOMERY, CLAUD B            2111 APALACHEE RD                                                                          MADISON         GA   30650‐2808
MONTGOMERY, CLAUDIA S          3159 NEW HAMPSHIRE DR                                                                      LOWER BURRELL   PA   15068‐3547
MONTGOMERY, CLEON              2045 COURTLAND AVE                                                                         NORWOOD         OH   45212‐3009
MONTGOMERY, CLYDE D            6701 BITTEROOT LN                                                                          BERKELEY        MO   63134‐1405
MONTGOMERY, CURTIS W           9687 S MERRION AVE                                                                         CHICAGO         IL   60617‐4835
MONTGOMERY, CYNTHIA L          499 SPRINGRIDGE RD LOT A26                                                                 CLINTON         MS   39056
MONTGOMERY, D L                207 VALE ST                                                                                HOT SPRINGS     AR   71901‐8134
MONTGOMERY, DANIEL K           1635 COUNTY ROAD 4781                                                                      BOYD            TX   76023‐5434
MONTGOMERY, DANIEL KELLY       1635 COUNTY ROAD 4781                                                                      BOYD            TX   76023‐5434
MONTGOMERY, DANIELLE O         12671 FORESTEDGE DRIVE                                                                     SAINT LOUIS     MO   63138‐2712
MONTGOMERY, DANNY              119 WENLOCK PL                                                                             ROCKTON         IL   61072‐3301
MONTGOMERY, DANNY B            33 CARL CEDAR HILL RD                                                                      WINDER          GA   30680‐7248
MONTGOMERY, DANNY D            582 W LOCUST ST                                                                            WILMINGTON      OH   45177‐2113
MONTGOMERY, DAQUETHA M         4945 CAMBORNE CIR                                                                          MURFREESBORO    TN   37129‐8645
MONTGOMERY, DARIAN P           APT F                           5470 SHADOW GLEN COURT                                     HILLIARD        OH   43026‐4374
MONTGOMERY, DARIAN PAUL        APT F                           5470 SHADOW GLEN COURT                                     HILLIARD        OH   43026‐4374
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Name                          Address1                       Address2                      Address3   Address4         City            State Zip
MONTGOMERY, DARLINE I         5410 RAYMOND AVE                                                                         BURTON           MI 48509‐1928
MONTGOMERY, DARLINE I.        5410 RAYMOND AVE                                                                         BURTON           MI 48509‐1928
MONTGOMERY, DARRICK P         684 NEWMAN LN                                                                            PONTIAC          MI 48340‐3300
MONTGOMERY, DARRICK PHILLIP   684 NEWMAN LN                                                                            PONTIAC          MI 48340‐3300
MONTGOMERY, DAVID A           9057 95TH AVE                                                                            EVART            MI 49631‐8319
MONTGOMERY, DAVID H           16161 POMONA DR                                                                          REDFORD          MI 48240‐2445
MONTGOMERY, DAVID J           3487 MCCORMICK RD                                                                        LAPEER           MI 48446‐8764
MONTGOMERY, DAVID J           197 S BELLAMY RD                                                                         IONIA            MI 48846‐9525
MONTGOMERY, DAVID L           11 WHISPER WAY                                                                           EATON            OH 45320‐9597
MONTGOMERY, DAVID L           11512 PINEWOOD                                                                           UTICA            MI 48317‐5971
MONTGOMERY, DAVID L           2604 WILPAR DR                                                                           GREENSBORO       NC 27406‐9493
MONTGOMERY, DAVID LEE         11512 PINEWOOD                                                                           UTICA            MI 48317‐5971
MONTGOMERY, DAVID R           2427 CHATA DR                                                                            W BLOOMFIELD     MI 48324‐1727
MONTGOMERY, DEBORAH E         421 PARIS SE                                                                             GRAND RAPIDS     MI 49503‐5401
MONTGOMERY, DEBORAH E         421 PARIS AVE SE                                                                         GRAND RAPIDS     MI 49503‐5401
MONTGOMERY, DEBORAH O         18221 ONYX ST                                                                            SOUTHFIELD       MI 48075‐1865
MONTGOMERY, DELBERT L         1306 MINUTEMAN DR                                                                        PLATTSBURG       MO 64477‐9442
MONTGOMERY, DENISE            3109 DAYTONA DRIVE                                                                       ARLINGTON        TX 76014‐2540
MONTGOMERY, DENNIS M          2948 N LAKE ANGELUS RD W                                                                 WATERFORD        MI 48329‐2539
MONTGOMERY, DIANA W           2509 E 100 S                                                                             HARTFORD CITY    IN 47348‐9059
MONTGOMERY, DOLLY OPAL        4030 HARVEST MEADOW                                                                      ST. PETERS       MO 63376‐7313
MONTGOMERY, DOLLY O           4030 HARVEST MEADOW DR                                                                   SAINT PETERS     MO 63376‐7313
MONTGOMERY, DONALD E          APT 109                        34675 STACY STREET                                        WESTLAND         MI 48185‐3050
MONTGOMERY, DONALD R          600 WEST WALTON BLVD                                                                     PONTIAC          MI 48340
MONTGOMERY, DONALD R          3514 BEAVER CT                                                                           INDIANAPOLIS     IN 46235‐2205
MONTGOMERY, DONNIE E          43189 POND BLUFF DR                                                                      BELLEVILLE       MI 48111‐7312
MONTGOMERY, DOROTHY           600 WEST WALTON BLVD           APT 301                                                   PONTIAC          MI 48340
MONTGOMERY, DOROTHY J         2500 PORMBERRY DRIVE           APT 16                                                    MONTGOMERY       AL 36106
MONTGOMERY, DOROTHY J         2500 PROMBERRY DR APT 16                                                                 MONTGOMERY       AL 36106‐3187
MONTGOMERY, DOUGLAS A         49 QUEENS DR                                                                             WEST SENECA      NY 14224‐3226
MONTGOMERY, DOUGLAS W         17132 VILLAGE DR                                                                         REDFORD          MI 48240‐1692
MONTGOMERY, DOYLE             8585 INDIGO CT                                                                           YPSILANTI        MI 48197‐1068
MONTGOMERY, EARL H            1079 W SCOTTWOOD AVE                                                                     FLINT            MI 48507‐3640
MONTGOMERY, EARL R            2226 VERNOR RD                                                                           LAPEER           MI 48446‐8373
MONTGOMERY, EDWARD            13 WINDERMERE PL                                                                         SAINT LOUIS      MO 63112‐3214
MONTGOMERY, EDWARD A          532 WAYNE ST                                                                             SANDUSKY         OH 44870‐2720
MONTGOMERY, EDWARD J          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                             STREET, SUITE 600
MONTGOMERY, ELINOR            310 SUNSET ST 14606                                                                      ROCHESTER       NY   14606
MONTGOMERY, ELLEN D           27 MINTY DR                                                                              DAYTON          OH   45415‐3010
MONTGOMERY, EMMA B            1013 BRUNSWICK WAY                                                                       ANDERSON        IN   46012‐2615
MONTGOMERY, EMMA L            109 HILL STREET                                                                          BUFFALO         NY   14214‐2222
MONTGOMERY, EMMANUEL          4117 KENSINGTON AVE                                                                      DETROIT         MI   48224‐2727
MONTGOMERY, EMMETT J          3650 DEMOONEY RD                                                                         COLLEGE PARK    GA   30349‐1140
MONTGOMERY, EMORY A           3318 RIDGEMILL CIR                                                                       DACULA          GA   30019‐3226
MONTGOMERY, ERIC T            76 N ANDERSON AVE                                                                        PONTIAC         MI   48342‐2902
MONTGOMERY, ERIC W            520 N KINGSBURY ST             UNIT 4003                                                 CHICAGO         IL   60654‐8779
MONTGOMERY, ERVIN J           PO BOX 742                                                                               LAFAYETTE       OR   97127‐0742
MONTGOMERY, EUGENE B          14363 W GOLF AIR DR                                                                      EVANSVILLE      WI   53536‐9360
MONTGOMERY, EVELYN F          1100 MAIN ST                                                                             ELWOOD          IN   46036‐1962
MONTGOMERY, EVELYN F          1100 MAIN STREET                                                                         ELWOOD          IN   46036‐1962
MONTGOMERY, EVERETT L         214 W HARRIMAN AVE                                                                       BARGERSVILLE    IN   46106‐8910
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Name                        Address1                             Address2                        Address3   Address4            City               State Zip
MONTGOMERY, FELICIA JOYCE   MOODY EDWARD O                       801 W 4TH ST                                                   LITTLE ROCK         AR 72201‐2107
MONTGOMERY, FLORENCE A      15000 APPOLINE ST                                                                                   DETROIT             MI 48227‐4042
MONTGOMERY, FLOYD T         5003 CENTRAL AVE                                                                                    ANDERSON            IN 46013‐4840
MONTGOMERY, FRANK           SISKIND CROMARTY IVEY & DOWLER LLP   680 WATERLOO STREET P. O. BOX              LONDON ON N6A 3V8
                                                                 2520                                       CANADA
MONTGOMERY, FRANK A         3959 PFILE DR                                                                                       ROOTSTOWN          OH   44272‐9609
MONTGOMERY, FRANK J         776 N 54TH ST                                                                                       EAST SAINT LOUIS   IL   62203‐1017
MONTGOMERY, FRANKLIN D      61 GARDEN LN                                                                                        NEWARK             DE   19702‐2601
MONTGOMERY, GAIL W          2513 WESTCLIFFE DR                                                                                  BURNSVILLE         MN   55306‐6906
MONTGOMERY, GARY R          105 NORFOLK DR                                                                                      ALEXANDRIA         IN   46001‐1225
MONTGOMERY, GARY T          3739 E CAROL LN                                                                                     MOORESVILLE        IN   46158‐6829
MONTGOMERY, GEORGE B        87 PLEASANT ST                                                                                      SPARTA             MI   49345‐1230
MONTGOMERY, GEORGE G        14161 BANGOR DR                                                                                     STERLING HTS       MI   48313‐5405
MONTGOMERY, GEORGE W        G1353 E CHARLES AVE                                                                                 FLINT              MI   48505
MONTGOMERY, GEORGIA M       2090 CONERLY RD                                                                                     MCCOMB             MS   39648‐9751
MONTGOMERY, GEORGIA M       2090 CONERLY DR.                                                                                    MC COMB            MS   39648‐9751
MONTGOMERY, GEORGIANN G     524 BLENHEIM DRIVE                                                                                  ROCKFORD           IL   61108‐2014
MONTGOMERY, GERALD          536 INDIANA AVE                                                                                     NILES              OH   44446‐1036
MONTGOMERY, GERALD R        4626 LASER RD                                                                                       SHELBY             OH   44875‐9318
MONTGOMERY, GERALD W        4850 FREIERMUTH RD                                                                                  STOCKBRIDGE        MI   49285‐9429
MONTGOMERY, GERALDINE L     2203 CENTER AVE                                                                                     JANESVILLE         WI   53546‐9013
MONTGOMERY, GERALDINE M     9605 N 1ST ST                                                                                       PHOENIX            AZ   85020‐2001
MONTGOMERY, GLADYS C        315 MEADOWGROVE DR                                                                                  ENGLEWOOD          OH   45322‐1612
MONTGOMERY, GREGORY D       3945 OLDE CLOISTER CV                                                                               CUMMING            GA   30040‐0411
MONTGOMERY, GREGORY L       1820 DOWNS RD                                                                                       WEST MONROE        LA   71292‐2394
MONTGOMERY, GROVERT H       708 LINWOOD AVE                                                                                     BUFFALO            NY   14209‐1210
MONTGOMERY, HAROLD L        6149 FLOWERDAY DR                                                                                   MOUNT MORRIS       MI   48458‐2811
MONTGOMERY, HAROLD W        PO BOX 68                                                                                           STRAFFORD          MO   65757
MONTGOMERY, HARRIET A       3906 STRATFORD AVE                                                                                  LANSING            MI   48911‐2235
MONTGOMERY, HARTSEL L       2900 SHERIDAN ST                                                                                    ANDERSON           IN   46016‐5986
MONTGOMERY, HARVEY M        301 ERIE ST                                                                                         GALION             OH   44833‐1208
MONTGOMERY, HAZEL V         4423 S XENIA DR                                                                                     ENON               OH   45323
MONTGOMERY, HERBERT C       508 PIXLEY LN                                                                                       NOBLESVILLE        IN   46062‐9737
MONTGOMERY, HERMAN B        1608 LANGLEY DR                                                                                     LONGS              SC   29568‐5719
MONTGOMERY, HILDA B         25 W 9TH ST                          P.O. BOX 517                                                   LAPEL              IN   46051‐0517
MONTGOMERY, HILDA B         PO BOX 517                           25 W 9TH ST                                                    LAPEL              IN   46051‐0517
MONTGOMERY, HUBERT R        108 SANDHURST DR                                                                                    DAYTON             OH   45405‐2410
MONTGOMERY, HUGH C          1172 DOVE TALE CT                                                                                   VIRGINIA BEACH     VA   23464
MONTGOMERY, HUNTER A        18221 ONYX ST                                                                                       SOUTHFIELD         MI   48075‐1865
MONTGOMERY, ILKA J          307 MONTGOMERY ST                                                                                   BROOKHAVEN         MS   39601‐2541
MONTGOMERY, IRIS V          2619 2ND ST                                                                                         WESTLAND           MI   48186‐5456
MONTGOMERY, IRIS V          2619 SECOND STREET                                                                                  WESTLAND           MI   48186‐5456
MONTGOMERY, IVAN C          160 CANVASBACK DR SE                                                                                WARREN             OH   44484‐2472
MONTGOMERY, J O             14524 S 135TH AVE                                                                                   LOCKPORT           IL   60441‐2319
MONTGOMERY, J R             945 HANBURY CT                                                                                      CHESAPEAKE         VA   23322‐6618
MONTGOMERY, JACK            2200 FELDMAN AVE                                                                                    NORWOOD            OH   45212‐1519
MONTGOMERY, JACK C          510 COUNTY ROAD 1117                                                                                CULLMAN            AL   35057‐5414
MONTGOMERY, JACK E          730 NILE DR                                                                                         ALPHARETTA         GA   30022‐5443
MONTGOMERY, JACK R          292 SYCAMORE DR                                                                                     BRONSTON           KY   42518‐9676
MONTGOMERY, JACKIE R        115 BAR HARBOR BLVD                                                                                 MEDINA             OH   44256‐7876
MONTGOMERY, JAMES A         88 CARL ST                                                                                          BUFFALO            NY   14215‐4028
MONTGOMERY, JAMES A         4030 HARVEST MEADOW DR                                                                              SAINT PETERS       MO   63376‐7313
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Name                         Address1                       Address2                 Address3    Address4         City             State Zip
MONTGOMERY, JAMES A          7787 W GILFORD RD                                                                    REESE             MI 48757‐9527
MONTGOMERY, JAMES H          231 SYDNEY ROAD                                                                      SOUTHAMPTON       PA 18966‐2894
MONTGOMERY, JAMES H          231 SYDNEY RD                                                                        HOLLAND           PA 18966‐2894
MONTGOMERY, JAMES L          1760 COUNTY ROAD 33                                                                  KILLEN            AL 35645‐7726
MONTGOMERY, JAMES LAWRENCE   1760 COUNTY ROAD 33                                                                  KILLEN            AL 35645‐7726
MONTGOMERY, JAMES M          35700 RIDGE RD                                                                       RICHMOND          MI 48062‐1824
MONTGOMERY, JAMES N          2929 N COUNTY H                                                                      JANESVILLE        WI 53548
MONTGOMERY, JAMES R          8141 COOLEY RD                                                                       RAVENNA           OH 44266‐9760
MONTGOMERY, JAMES T          1402 WEST GENESEE STREET                                                             FLINT             MI 48504‐2512
MONTGOMERY, JAMES V          10616 LINWOOD BLVD                                                                   INDEPENDENCE      MO 64052‐2659
MONTGOMERY, JANICE           3501 MINA TER                                                                        LOUISVILLE        KY 40220‐2301
MONTGOMERY, JARRY L          979 COUNTY RD 457                                                                    FLORENCE          AL 35633
MONTGOMERY, JASMINE          2429 HIGHWAY 84                                                                      MANSFIELD         LA 71052‐4613
MONTGOMERY, JASON T.         4365 KOCHVILLE RD                                                                    SAGINAW           MI 48604‐9228
MONTGOMERY, JEANNE L         1977 STRUBLE RD                                                                      CINCINNATI        OH 45231‐1945
MONTGOMERY, JEFF             476 COUNTRY CLB                                                                      STANSBURY PARK    UT 84074‐9665
MONTGOMERY, JEFFERY D        517 SPRINGVIEW ST SW                                                                 DECATUR           AL 35601‐7347
MONTGOMERY, JEFFERY D        1007 MAPLE VILLAGE COURT                                                             PELL CITY         AL 35128‐7491
MONTGOMERY, JEFFREY A        1080 TRUXELL DR                                                                      MANSFIELD         OH 44906‐1529
MONTGOMERY, JENNIFER E       927 BURLINGTON DR                                                                    FLINT             MI 48503‐2922
MONTGOMERY, JENNIFER E       3381 CLOVERTREE LN APT 4                                                             FLINT             MI 48532‐4716
MONTGOMERY, JENNIFER L       677 COVINGTON ST                                                                     BOWLING GREEN     KY 42103‐1643
MONTGOMERY, JENNIFER LYNN    677 COVINGTON ST                                                                     BOWLING GREEN     KY 42103‐1643
MONTGOMERY, JEREMY P         605 N MADISON ST                                                                     LAPEER            MI 48446‐2033
MONTGOMERY, JEREMY PAUL      605 N MADISON ST                                                                     LAPEER            MI 48446‐2033
MONTGOMERY, JERROLD K        4325 TRAILGATE DR                                                                    INDIANAPOLIS      IN 46268‐1855
MONTGOMERY, JERROLD KEITH    4325 TRAILGATE DR                                                                    INDIANAPOLIS      IN 46268‐1855
MONTGOMERY, JERRY            230 BRUNSWICK DR APT D                                                               ELYRIA            OH 44035‐4634
MONTGOMERY, JERYL E          PO BOX 13355                                                                         FLINT             MI 48501‐3355
MONTGOMERY, JOAN E           326 S GRACE ST                                                                       LANSING           MI 48917‐3819
MONTGOMERY, JOHN             15725 GILCHRIST                                                                      DETROIT           MI 48227‐1576
MONTGOMERY, JOHN             BRAYTON PURCELL                215 S STATE ST STE 900                                SALT LAKE CITY    UT 84111‐2353
MONTGOMERY, JOHN A           7920 DRESDEN AVE                                                                     PARMA             OH 44129‐2810
MONTGOMERY, JOHN E           2444 W 10TH ST                                                                       INDIANAPOLIS      IN 46222‐3186
MONTGOMERY, JOHN H           APT 237                        2173 SOUTH CENTER ROAD                                BURTON            MI 48519‐1807
MONTGOMERY, JOHN H           2173 S CENTER RD APT 237                                                             BURTON            MI 48519
MONTGOMERY, JOHN J           3771 BRAUER RD                                                                       OXFORD            MI 48371‐1044
MONTGOMERY, JOHN L           2513 WESTCLIFFE DR                                                                   BURNSVILLE        MN 55306‐6906
MONTGOMERY, JOHN L           2442 ROSSINI RD                                                                      DAYTON            OH 45459‐8409
MONTGOMERY, JOHN P           320 BROWN ST APT 611                                                                 W LAFAYETTE       IN 47906‐3262
MONTGOMERY, JOHN P           205 MUNICIPAL RD                                                                     PIPERSVILLE       PA 18947‐1637
MONTGOMERY, JOHN R           2117 BONNIEDALE DR                                                                   BELLBROOK         OH 45305‐1516
MONTGOMERY, JOHN T           8221 E STATE RT 571                                                                  NEW CARLISLE      OH 45344‐9674
MONTGOMERY, JOHNNIE E        3629 LYNN ST                                                                         FLINT             MI 48503‐4588
MONTGOMERY, JORDAN S         1808 E COLUMBIA RD                                                                   DANSVILLE         MI 48819‐9746
MONTGOMERY, JORDAN SCOTT     1808 E COLUMBIA RD                                                                   DANSVILLE         MI 48819‐9746
MONTGOMERY, JOYCE            1528 MIDLAND AVE                                                                     SYRACUSE          NY 13205‐1446
MONTGOMERY, JUDY K           3397 MCCORMICK RD.                                                                   LAPEER            MI 48446‐8764
MONTGOMERY, JUELA            5425 OAK RIDGE ROAD                                                                  JOSHUA            TX 76058‐5226
MONTGOMERY, JUELA            5425 OAKRIDGE RD                                                                     JOSHUA            TX 76058‐5226
MONTGOMERY, JUNE R           501 ATKERSON LN                                                                      EULESS            TX 76040‐5518
MONTGOMERY, KAREN            1932 CARTHAGE RD                                                                     TUCKER            GA 30084‐6037
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Name                       Address1                            Address2                      Address3   Address4         City            State Zip
MONTGOMERY, KAREN S        715 MAGNOLIA ST                                                                               BOWLING GREEN    KY 42103‐1615
MONTGOMERY, KATHLEEN A     130 PATRICIA DR                                                                               TONAWANDA        NY 14150‐4620
MONTGOMERY, KATHRYN M      4052 N MEADOW LN                                                                              MOUNT MORRIS     MI 48458
MONTGOMERY, KATRINA L      20173 STRATHMOOR ST                                                                           DETROIT          MI 48235‐1650
MONTGOMERY, KEITH A        29784 RAMBLING RD                                                                             SOUTHFIELD       MI 48076
MONTGOMERY, KENNETH E      PO BOX 04588                                                                                  DETROIT          MI 48204‐0588
MONTGOMERY, KENNETH L      2712 SENECA ST                                                                                FLINT            MI 48504‐7133
MONTGOMERY, KENNETH R      534 S EMERSON AVE                                                                             INDIANAPOLIS     IN 46203‐1633
MONTGOMERY, KENNETH V      5232 W STOLL RD                                                                               LANSING          MI 48906‐9381
MONTGOMERY, KENNETH W      7807 E SAGINAW HWY                                                                            LANSING          MI 48917‐8679
MONTGOMERY, KERRI A        32619 STRICKER DR                                                                             WARREN           MI 48088‐1439
MONTGOMERY, KEVIN L        4614 NORTH 111TH STREET                                                                       KANSAS CITY      KS 66109‐4731
MONTGOMERY, KYLE M         4614 N 111TH ST                                                                               KANSAS CITY      KS 66109‐4731
MONTGOMERY, KYLE MATHEW    4614 N 111TH ST                                                                               KANSAS CITY      KS 66109‐4731
MONTGOMERY, LARRY          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                               STREET, SUITE 600
MONTGOMERY, LARRY D        1243 WARNER AVE                                                                               MANSFIELD       OH   44905‐2617
MONTGOMERY, LARRY E        5147 E DANE AVE                                                                               PORT CLINTON    OH   43452‐3611
MONTGOMERY, LARRY W        10208 CANAL WAY                                                                               NOBLESVILLE     IN   46060‐8343
MONTGOMERY, LATRICE J      1161 CABOT DR                                                                                 FLINT           MI   48532‐2635
MONTGOMERY, LAVON          101 HILLSDALE ROAD                                                                            JASPER          AL   35504‐7301
MONTGOMERY, LEE E          3042 FM 3001                                                                                  JEFFERSON       TX   75657‐4372
MONTGOMERY, LEE V          PO BOX 4575                                                                                   FLINT           MI   48504‐0575
MONTGOMERY, LEE V          1508 DUPONT ST                                                                                FLINT           MI   48504
MONTGOMERY, LEMAN E        9002 OAK GROVE AVE                                                                            BURR RIDGE      IL   60527‐6429
MONTGOMERY, LENT           C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                    EDWARDSVILLE    IL   62025
                           ROWLAND PC
MONTGOMERY, LEO E          APT B2                              98 SOUTH EDITH STREET                                     PONTIAC         MI   48342‐2990
MONTGOMERY, LEO J          715 MAGNOLIA ST                                                                               BOWLING GREEN   KY   42103‐1615
MONTGOMERY, LEO M          29220 RIDGE RD                                                                                WICKLIFFE       OH   44092‐1952
MONTGOMERY, LEROY B        3657 N US ROUTE 31                  C/O JAN ELIASON                                           PERU            IN   46970‐7688
MONTGOMERY, LEWIS E        407 WESLEY LN                                                                                 DUNCANVILLE     TX   75137‐4175
MONTGOMERY, LINDA G        158 SUMMER ST                                                                                 LAKE ORION      MI   48362‐3466
MONTGOMERY, LINDA J        686 PARIS DRIVE                                                                               FRANKLIN        IN   46131‐7342
MONTGOMERY, LINDA J        3771 BRAUER RD                                                                                OXFORD          MI   48371‐1044
MONTGOMERY, LINDA K        5063 E US 40                                                                                  PLAINFIELD      IN   46168
MONTGOMERY, LISA           MCLAUGHLIN, THOMAS D                406 FARMINGTON AVENUE                                     FARMINGTON      CT   06032
MONTGOMERY, LOIS B         535 MATLOCK RD                                                                                CAVE CITY       AR   72521‐9039
MONTGOMERY, LOIS M         1082 AMANDA PINES DR                C/O ANN BROWN                                             PARKER          CO   80138‐4903
MONTGOMERY, LOREN N        6942 STEINMEIER DR W                                                                          INDIANAPOLIS    IN   46220‐3960
MONTGOMERY, LOUIS          HC 1 BOX 193                                                                                  GRANDIN         MO   63943‐9701
MONTGOMERY, LULA M         125 S FRANKLIN ST                                                                             MUNCIE          IN   47305‐1607
MONTGOMERY, LULA M         916 N BRADY STREET                                                                            MUNCIE          IN   47303
MONTGOMERY, LUTHER         1227 OAKLAWN DR                                                                               PONTIAC         MI   48341‐3602
MONTGOMERY, LYNETTE        5955 PROVIDENCE RD APT 18                                                                     CHARLOTTE       NC   28226‐6851
MONTGOMERY, MAEOMA         2165 RUGBY AVE APT 113                                                                        COLLEGE PARK    GA   30337‐1041
MONTGOMERY, MAEOMA         2165 RUGBY AVE. #113                                                                          COLLEGE PARK    GA   30337
MONTGOMERY, MALISSA O      18221 ONYX ST                                                                                 SOUTHFIELD      MI   48075‐1865
MONTGOMERY, MARGARET L     1253 CRIMSON ROSE DR                                                                          MOUNT MORRIS    MI   48458‐2371
MONTGOMERY, MARGUERITE M   6350 AURARIA RD.                                                                              DAWSONVILLE     GA   30534‐8279
MONTGOMERY, MARILYN J      5232 W STOLL RD                                                                               LANSING         MI   48906‐9381
MONTGOMERY, MARILYN L      1232 SILVERBROOK DR                                                                           COLUMBUS        OH   43207‐2605
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Name                              Address1                           Address2                        Address3                 Address4         City              State Zip
MONTGOMERY, MARJORIE SUE          8039 MASSOL RD                                                                                               REESE              MI 48757
MONTGOMERY, MARJORIE SUE          8039 MASSOLL RD                                                                                              REESE              MI 48757‐9500
MONTGOMERY, MARK A                4714 OZARK AVE                                                                                               DAYTON             OH 45432
MONTGOMERY, MARVIN L              6368 TIMBER CREEK TRL                                                                                        DAHLONEGA          GA 30533‐6709
MONTGOMERY, MARY E                5483 MCNAMARA LN                                                                                             FLINT              MI 48506‐2280
MONTGOMERY, MARY J                6370 KEEFER HWY                                                                                              PORTLAND           MI 48875‐9630
MONTGOMERY, MARY JO               6370 KEEFER HWY                                                                                              PORTLAND           MI 48875‐9630
MONTGOMERY, MARY L                145 RYE BLUFF RD APT 106                                                                                     BLK RIVER FALLS    WI 54615‐1924
MONTGOMERY, MARY N                7241 MESQUITE TREE ST                                                                                        LAS VEGAS          NV 89131‐2849
MONTGOMERY, MARY P                15714 PARKSIDE ST                                                                                            DETROIT            MI 48238‐1434
MONTGOMERY, MCCAJAH T             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
MONTGOMERY, MCCRACKEN, WALKER &   ATTY FOR STEVEN KAZAN, ESQ.        ATTN: NATALIE RAMSEY & JOSEPH   123 SOUTH BROAD STREET                    PHILADELPHIA      PA 19109‐1099
RHOADS, LLP                                                          O'NEIL, JR.
MONTGOMERY, MELVIN                853 CHATEAU CT APT 251                                                                                       RIVERDALE         GA   30274‐2127
MONTGOMERY, MELVIN D              426 W FOSS AVE                                                                                               FLINT             MI   48505‐2006
MONTGOMERY, MICHAEL               17471 18 MILE RD                                                                                             MARSHALL          MI   49068‐9461
MONTGOMERY, MICHAEL B             226 MT. ELLIOT LOFT 440                                                                                      DETROIT           MI   48207
MONTGOMERY, MICHAEL D             9501 W BUSINESS 83 LOT 855                                                                                   HARLINGEN         TX   78552‐2082
MONTGOMERY, MICHAEL J             7187 PORTER RD                                                                                               GRAND BLANC       MI   48439‐8500
MONTGOMERY, MICHAEL K             555 CANDLELITE CT                                                                                            FORT WAYNE        IN   46807‐3601
MONTGOMERY, MICHAEL L             5974 LEISURE LN                                                                                              PITTSBORO         IN   46167‐9027
MONTGOMERY, MICHAEL R             1902 SAINT LOUIS DR                                                                                          KOKOMO            IN   46902‐5994
MONTGOMERY, MICHAEL S             836 CLEVELAND ST                                                                                             BELOIT            WI   53511‐4903
MONTGOMERY, MICHELLE D            2657 DUNSTAN DR NW                                                                                           WARREN            OH   44485‐1506
MONTGOMERY, MILDRED R             1655 S HIGHLAND AVE #J292                                                                                    CLEARWATER        FL   33756‐6367
MONTGOMERY, MINNIE A              521 LAWRENCE ST                                                                                              SANDUSKY          OH   44870‐2351
MONTGOMERY, NAPOLEON              11260 S PEORIA ST                                                                                            CHICAGO           IL   60643‐4610
MONTGOMERY, NAPOLEON              COON BRENT W                       PO BOX 4905                                                               BEAUMONT          TX   77704‐4905
MONTGOMERY, NEAL J                915 COMSTOCK STA                                                                                             SAINT PETERS      MO   63376‐7184
MONTGOMERY, NELLIE                9007 W TURNEY AVE                                                                                            PHOENIX           AZ   85037‐1752
MONTGOMERY, NELLIE                9007 W. TURNEY AVENUE                                                                                        PHOENIX           AZ   85037‐1752
MONTGOMERY, NELSON B              413 W MAIN ST                                                                                                NORTH ADAMS       MA   01247‐3316
MONTGOMERY, NELSON E              1370 RESERVE DR                                                                                              REYNOLDSBURG      OH   43068‐7608
MONTGOMERY, NESSIE L              5138 BELVEDERE                                                                                               DETROIT           MI   48213‐3000
MONTGOMERY, NESSIE L              5138 BELVIDERE ST                                                                                            DETROIT           MI   48213‐3000
MONTGOMERY, NORMA S               8221 E STATE ROUTE 571                                                                                       NEW CARLISLE      OH   45344‐9674
MONTGOMERY, NORRIS A              335 ALLENDALE PL                                                                                             FLINT             MI   48503‐2335
MONTGOMERY, ORBIN                 6 HIGH POINTE CT                                                                                             TIFFIN            OH   44883‐2650
MONTGOMERY, ORPHA B               5635 BAY ST                                                                                                  VIDOR             TX   77662‐9020
MONTGOMERY, OTHA D                5308 W 22ND ST APT C                                                                                         SPEEDWAY          IN   46224‐5469
MONTGOMERY, OTHA D.               5308 W 22ND ST APT C                                                                                         SPEEDWAY          IN   46224‐5469
MONTGOMERY, PAMELA P              9209 SWEDEN ST                                                                                               CLINTON           MD   20735‐4451
MONTGOMERY, PAT                   GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                                EDWARDSVILLE      IL   62025‐0959
                                  ANTOGNOLI
MONTGOMERY, PATRICIA A            1642 SW TAMARACK ST                                                                                          MCMINNVILLE       OR   97128‐7003
MONTGOMERY, PATRICIA H            2204 N TURNER ST                                                                                             MUNCIE            IN   47303‐2360
MONTGOMERY, PATRICK L             2228 LANDMARK DR                                                                                             LAPEER            MI   48446‐9022
MONTGOMERY, PATRICK N             2704 CASTILLO DR                                                                                             LADY LAKE         FL   32162‐0225
MONTGOMERY, PAUL D                399 BROOKSIDE DR                                                                                             MOUNT PLEASANT    TN   38474‐1709
MONTGOMERY, PAUL J                1315 W PINE LAKE RD                                                                                          SALEM             OH   44460‐9321
MONTGOMERY, PAUL L                4228 OAK TREE CIR                                                                                            ROCHESTER         MI   48306‐4619
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Name                        Address1                               Address2                          Address3                   Address4         City            State Zip
MONTGOMERY, PAUL L          1376 DYEMEADOW LN                                                                                                    FLINT            MI 48532‐2323
MONTGOMERY, PAUL LEWIS      4228 OAK TREE CIR                                                                                                    ROCHESTER        MI 48306‐4619
MONTGOMERY, PHYLLIS A       3983 NELSON DR                                                                                                       NEWPORT          MI 48166
MONTGOMERY, PHYLLIS I       532 1/2 N CENTER ST                                                                                                  NEWTON FALLS     OH 44444‐1329
MONTGOMERY, PHYLLIS K       361 RAYMOND AVE.                                                                                                     WARREN           OH 44483‐1155
MONTGOMERY, QUANYA L        10306 MILFORD CT                                                                                                     INDIANAPOLIS     IN 46235‐2425
MONTGOMERY, RANDALL K       3891 BUFFALO RD                                                                                                      SUMMERTOWN       TN 38483‐7163
MONTGOMERY, RANDOLPH E      1071 HUGHES LN                                                                                                       WESSON           MS 39191‐9711
MONTGOMERY, RAYMOND C       PO BOX 155                                                                                                           DANVILLE         AL 35619‐0155
MONTGOMERY, RAYMOND L       1881 COUNTRY RD 61                                                                                                   KITTS HILL       OH 45645
MONTGOMERY, REGINALD        134 ISABELLE ST APT 1E                                                                                               BUFFALO          NY 14207‐1768
MONTGOMERY, RICHARD A       204 S BAKER ST                                                                                                       SAINT JOHNS      MI 48879‐1940
MONTGOMERY, RICHARD J       802 S BALL ST                                                                                                        OWOSSO           MI 48867‐4403
MONTGOMERY, RICHARD L       2831 MILLVILLE RD                                                                                                    LAPEER           MI 48446‐8916
MONTGOMERY, RICHARD W       2220 W CLEARVIEW DR                                                                                                  MARION           IN 46952‐1060
MONTGOMERY, RICK L          1808 E COLUMBIA RD                                                                                                   DANSVILLE        MI 48819‐9746
MONTGOMERY, RICKEY A        3430 RED OAK DR                                                                                                      BOWLING GREEN    KY 42104‐0819
MONTGOMERY, ROBERT          28 MATHIS AVE                          C/O MILDRED HUGHLETT                                                          BRIGHTON         TN 38011‐3629
MONTGOMERY, ROBERT          LEVIN SIMES & KAISER                   160 SANSOME STREET ‐ 12TH FLOOR                                               SAN FRANCISCO    CA 94104

MONTGOMERY, ROBERT (D)      LEVIN SIMES KAISER AND GORNICK LLP     ATTN JEFFREY KAISER               44 MONTGOMERY ST 36TH FL                    SAN FRANCISCO   CA 94104

MONTGOMERY, ROBERT A        7012 SCRIPPS CRESCENT ST                                                                                             GOLETA          CA   93117‐2952
MONTGOMERY, ROBERT ALVIN    SHANNON LAW FIRM                        100 W GALLATIN ST                                                            HAZLEHURST      MS   39083‐3007
MONTGOMERY, ROBERT C        3779 POTTERS RD                                                                                                      IONIA           MI   48846‐9542
MONTGOMERY, ROBERT C        10108 N WEBSTER RD                                                                                                   CLIO            MI   48420‐8506
MONTGOMERY, ROBERT E        4837 MOHICAN TRAIL                                                                                                   OWOSSO          MI   48867‐9731
MONTGOMERY, ROBERT E        513 WEST ALMA AVENUE                                                                                                 FLINT           MI   48505‐2094
MONTGOMERY, ROBERT E        513 W ALMA AVE                                                                                                       FLINT           MI   48505‐2094
MONTGOMERY, ROBERT E        326 N PARK ST                                                                                                        OWOSSO          MI   48867‐3044
MONTGOMERY, ROBERT EDWARD   513 WEST ALMA AVENUE                                                                                                 FLINT           MI   48505‐2094
MONTGOMERY, ROBERT F        PO BOX 603                                                                                                           SOUTH PARK      PA   15129‐0603
MONTGOMERY, ROBERT F        BROWN TERRELL HOGAN ELLIS               804 BLACKSTONE BLDG, 233 EAST                                                JACKSONVILLE    FL   32202
                            MCCLAMMA & YEGELWEL P.A.                BAY STREET
MONTGOMERY, ROBERT H        5063 E US HIGHWAY 40                                                                                                 PLAINFIELD      IN   46168‐8046
MONTGOMERY, ROBERT H        2332 IROLL AVE APT 2                                                                                                 CINCINNATI      OH   45225‐2501
MONTGOMERY, ROBERT J        304 HIGHLAND CREEK DR                                                                                                WYLIE           TX   75098‐5067
MONTGOMERY, ROBERT K        939 STAVE OAK DR                                                                                                     BEECH GROVE     IN   46107‐1977
MONTGOMERY, ROBERT L        361 BRUNSTETTER RD SW                                                                                                WARREN          OH   44481‐9600
MONTGOMERY, ROBERT P        115 W SOUTH HOLLY RD                                                                                                 FENTON          MI   48430‐2220
MONTGOMERY, ROBERT W        7215 CALKINS RD                                                                                                      FLINT           MI   48532‐3011
MONTGOMERY, ROBIN           3835 WARREN CHAPEL RD                                                                                                MARIETTA        OH   45750‐6484
MONTGOMERY, RODERICK J      PO BOX 270                                                                                                           HUDSON          WY   82515‐0270
MONTGOMERY, ROGER K         13033 W FETLOCK TRL                                                                                                  PEORIA          AZ   85383‐7605
MONTGOMERY, ROGER P         110 ANGLERS LN                                                                                                       LAGRANGE        OH   44050‐9664
MONTGOMERY, RONALD C        3140 DAVISON RD                                                                                                      LAPEER          MI   48446‐2901
MONTGOMERY, RONALD D        10914 WAGON TRAIL RD                                                                                                 KANSAS CITY     KS   66109‐4144
MONTGOMERY, RONALD E        5429 RED LION RD                                                                                                     SPRINGBORO      OH   45066
MONTGOMERY, RONALD L        900 MARTIN LUTHER KING JR BLVD S APT D‐                                                                              PONTIAC         MI   48341‐2996
                            115
MONTGOMERY, RONALD L        6309 FURNAS RD                                                                                                       INDIANAPOLIS    IN 46221‐4028
MONTGOMERY, RONALD L        900 M.L. KING BLVD. SOUTH APT. D                                                                                     PONTIAC         MI 48341
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Name                          Address1                      Address2                      Address3   Address4         City               State Zip
MONTGOMERY, RONALD V          338 NATURAL BRIDGE RD                                                                   HARTSELLE           AL 35640‐7116
MONTGOMERY, RONNIE L          PO BOX 821                                                                              BOWLING GREEN       KY 42102‐0821
MONTGOMERY, RONNIE LEE        PO BOX 821                                                                              BOWLING GREEN       KY 42102‐0821
MONTGOMERY, ROSA F            82 SCENIC HILLS DR                                                                      NEWNAN              GA 30265‐2796
MONTGOMERY, ROY H             5744 VAN WERT AVE                                                                       BROOK PARK          OH 44142‐2574
MONTGOMERY, ROY L             36 SW 102ND ST                                                                          OKLAHOMA CITY       OK 73139‐9003
MONTGOMERY, RUBY T            299 ALPHONSE ST                                                                         ROCHESTER           NY 14621‐4818
MONTGOMERY, RUTHANNE          4396 STATE ROUTE 14                                                                     RAVENNA             OH 44266‐8740
MONTGOMERY, RUTHIE            PO BOX 724                                                                              LOUISVILLE          MS 39339‐0724
MONTGOMERY, SADALLIA A        1518 PEBBLE BEACH DR                                                                    PONTIAC             MI 48340‐1366
MONTGOMERY, SAMANTHA G        2710 DIXIE HWY                                                                          WATERFORD           MI 48328
MONTGOMERY, SAMUEL L          11308 E 48TH TER                                                                        KANSAS CITY         MO 64133‐2418
MONTGOMERY, SANDRA J          1243 WARNER AVE                                                                         MANSFIELD           OH 44905‐2617
MONTGOMERY, SANDY G           14923 WHITCOMB ST                                                                       DETROIT             MI 48227‐2280
MONTGOMERY, SARAH A           341 SPRINGHOUSE LN                                                                      MOORESTOWN          NJ 08057‐2643
MONTGOMERY, SELIKA J          28 MATHIS AVE                                                                           BRIGHTON            TN 38011‐3629
MONTGOMERY, SHIRLEY E         PO BOX 111                                                                              SOMERSET            NJ 08875‐0111
MONTGOMERY, SHIRLEY J         7405 N BUDDY DR                                                                         MUNCIE              IN 47303‐9649
MONTGOMERY, SHIRLEY J         4830 FREE PIKE                                                                          DAYTON              OH 45416‐1113
MONTGOMERY, SIDNEY E          5361 JORDAN DR                                                                          MEMPHIS             TN 38116‐9449
MONTGOMERY, STEPHANIE A       58 ASCOT AVE                                                                            WATERFORD           MI 48328‐3500
MONTGOMERY, STEPHANIE M       7215 CALKINS RD                                                                         FLINT               MI 48532‐3011
MONTGOMERY, STEPHANIE MARIA   7215 CALKINS RD                                                                         FLINT               MI 48532‐3011
MONTGOMERY, STEPHEN A         1494 HUNTERS CHASE DR                                                                   CHAPEL HILL         TN 37034‐2094
MONTGOMERY, STEVE             KAHN & ASSOCIATES             55 PUBLIC SQ                  STE 650                     CLEVELAND           OH 44113‐1909
MONTGOMERY, STEVE             1170 COUNTY ROAD 95                                                                     MOULTON             AL 35650‐5030
MONTGOMERY, STUART R          10175 W SPRING MOUNTN RD,     APT 2123                                                  LASVEGAS            NV 89117‐8482
MONTGOMERY, TARA              111 JERICHO TRL                                                                         OHATCHEE            AL 36271
MONTGOMERY, TARA L            9 STERLING LN                                                                           WILLINGBORO         NJ 08046‐1418
MONTGOMERY, TERRENCE A        PO BOX 443                                                                              CLARKSTON           MI 48347‐0443
MONTGOMERY, TERRY C           2458 WINDSOR RD                                                                         ORWELL              OH 44076
MONTGOMERY, TERRY L           324 N NORTON ST                                                                         MARION              IN 46952‐3223
MONTGOMERY, THERESA           5417 ASH AVE                                                                            RAYTOWN             MO 64133‐2813
MONTGOMERY, THOMAS            GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
MONTGOMERY, THOMAS G          550 E FOX HILLS DR                                                                      BLOOMFIELD HILLS   MI   48304‐1302
MONTGOMERY, THOMAS J          209 JACKSON AVE WILM MR                                                                 NEW CASTLE         DE   19720
MONTGOMERY, THOMAS L          832 OLD CEDARTOWN RD                                                                    ROCKMART           GA   30153‐4163
MONTGOMERY, THOMAS R          18300 HICKORY LN                                                                        NEWALLA            OK   74857
MONTGOMERY, THOMAS S          146 W HAZELTINE AVE                                                                     BUFFALO            NY   14217‐2622
MONTGOMERY, THOMAS V          628 DICKINSON ST                                                                        FLINT              MI   48504‐4842
MONTGOMERY, THOMAS W          909 MAY ST                                                                              LANSING            MI   48906‐5312
MONTGOMERY, TIMOTHY M         2840 ELLZEY DR NW                                                                       WESSON             MS   39191‐9800
MONTGOMERY, TOMMIE            15714 PARKSIDE ST                                                                       DETROIT            MI   48238‐1434
MONTGOMERY, TONY M            1110 TURN STONE                                                                         CHANNAHON          IL   60410
MONTGOMERY, TYSON E           1863 SHELMAN TRL                                                                        FORT WORTH         TX   76112‐4223
MONTGOMERY, VELMA L           797 JOHN INMAN RD                                                                       UNION CITY         TN   38261‐6304
MONTGOMERY, VELMA M           64 COUNTY ROAD 169                                                                      IUKA               MS   38852‐8304
MONTGOMERY, VELMA M           COUNTY RD. 169 BOX 64                                                                   IUKA               MS   38852‐0064
MONTGOMERY, VIDA              TRAVELER'S INSURANCE          PO BOX 3022                                               FALL RIVER         MA   02722‐3022
MONTGOMERY, VIDA              1143 PIN OAK DR               APT 1B                                                    NEW CASTLE         PA   16101‐3356
MONTGOMERY, VIRGINIA B        9770 61ST TER                                                                           SEBASTIAN          FL   32958‐5708
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Name                             Address1                          Address2                      Address3   Address4         City               State Zip
MONTGOMERY, VIVIAN L             457 WOODHAVEN DR                                                                            WALLED LAKE         MI 48390‐5802
MONTGOMERY, W H                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                   STREET, SUITE 600
MONTGOMERY, WALTER               PORTER & MALOUF PA                4670 MCWILLIE DR                                          JACKSON            MS    39206‐5621
MONTGOMERY, WANDA L              130 WILLOW TREE TER                                                                         COVINGTON          GA    30016‐2989
MONTGOMERY, WARREN               2260 MONROE AVE                                                                             NORWOOD            OH    45212‐3122
MONTGOMERY, WAYNE L              3240 E 544 S                                                                                GAS CITY           IN    46933‐2210
MONTGOMERY, WENDELL W            1076 COUNTY ROAD 95                                                                         MOULTON            AL    35650‐5028
MONTGOMERY, WESLEY J             17647 BEACH LN                                                                              LAKE MILTON        OH    44429‐9742
MONTGOMERY, WILLIAM              ADDRESS NOT IN FILE
MONTGOMERY, WILLIAM              SWEENEY ROBERT E CO               1500 ILLUMINATING BLDG, 55                                CLEVELAND          OH 44113
                                                                   PUBLIC SQUARE
MONTGOMERY, WILLIAM              CHAPMAN LEWIS & SWAN              PO BOX 428                                                CLARKSDALE         MS    38614‐0428
MONTGOMERY, WILLIAM A            3050 MORAN RD                                                                               BIRCH RUN          MI    48415‐9023
MONTGOMERY, WILLIAM L            12800 ROOSEVELT RD                                                                          SAGINAW            MI    48609
MONTGOMERY, WILLIAM N            686 PARIS DRIVE                                                                             FRANKLIN           IN    46131‐7342
MONTGOMERY, WILLIAM R            1132 GLENWOOD DR                                                                            COLUMBIA           TN    38401‐6705
MONTGOMERY, WILLIAM W            11100 INDEPENDENCE BLVD                                                                     KANSAS CITY        KS    66109‐4140
MONTGOMERY, WILLIE F             2932 PUTNAM ST                                                                              DETROIT            MI    48208‐1936
MONTGOMERY, WILLIE Z             4793 HUNTSMAN BND                                                                           DECATUR            GA    30034‐2506
MONTGOMERY, ZOMA F               4342 BROADWAY ST                                                                            INDIANAPOLIS       IN    46205‐1870
MONTGOMERY,DAVID L               11 WHISPER WAY                                                                              EATON              OH    45320‐9597
MONTGOMERY‐KENNEDY, PATRICIA H   700 JOHN RINGLING BLVD APT 1212                                                             SARASOTA           FL    34236‐1556
MONTGOMERY‐MAY, BEVERLY A        982 BURNS ST                                                                                DETROIT            MI    48214‐2805
MONTGOMERY/ORION                 235 BROWN RD                                                                                ORION              MI    48359‐2122
MONTGOMORY WRIGHT                8801 CARRIAGE LN                                                                            PENDLETON          IN    46064‐9341
MONTHEY, MARGIE E                210 S MULBERRY                                                                              PAOLA              KS    66071‐1672
MONTHONY, CLAYTON S              1716 ORKNEY DR                                                                              LEESBURG           FL    34788‐7647
MONTHONY, SHIRLEY J              1716 ORKNEY DR                                                                              LEESBURG           FL    34788‐7647
MONTI MCCLAY                     26224 STOLLMAN DR                                                                           INKSTER            MI    48141‐1337
MONTI, ANGELA M                  12532 PASEO LUCIDO # 144                                                                    SAN DIEGO          CA    92128‐3558
MONTI, ANNA D                    1335 MAXWELL AVE NW                                                                         WARREN             OH    44485‐2129
MONTI, ANNE M                    642 W PREDA DR                                                                              WATERFORD          MI    48328‐2030
MONTI, CAROL A                   3301 W ESPLANADE APT 09145A                                                                 METAIRIE           LA    70002
MONTI, JOANNE W                  306 TWIG CT N                                                                               NORTH FORT MYERS   FL    33917‐7427
MONTI, JOANNE W                  306 NORTH TWIG COURT                                                                        NORTH FORT MYERS   FL    33917‐7427
MONTI, JOHN E                    9580 ARCOLA ST                                                                              LIVONIA            MI    48150‐3202
MONTI, LEROY G                   345 EARL DR NW                                                                              WARREN             OH    44483‐1113
MONTI, LEWIS J                   2775 TALL OAK CIR                                                                           CORTLAND           OH    44410‐1768
MONTI, LOIS                      300 VALENCIA DR SE APT 211                                                                  ALBUQUERQUE        NM    87108‐3066
MONTI, LOUIS I                   700 GOLFCREST DR                                                                            DEARBORN           MI    48124‐1121
MONTI, MARILYN K                 2775 TALL OAK CIR                                                                           CORTLAND           OH    44410‐1768
MONTI, MARIO                     35269 CATHEDRAL DR                                                                          STERLING HTS       MI    48312‐4315
MONTI, MICHAEL                   20732 HANNAH CT                                                                             NOVI               MI    48375‐4775
MONTI, MURIEL                    33 SHAWNEE TRL APT 1                                                                        INDIAN HEAD PARK    IL   60525‐9088
MONTI, RAYMOND L                 454 CLEVELAND AVE E                                                                         WARREN             OH    44483‐1907
MONTI, RAYMOND LEE               454 CLEVELAND AVE E                                                                         WARREN             OH    44483‐1907
MONTI, RUTH S                    374 EARL DR NW                                                                              WARREN             OH    44483‐1114
MONTI, RUTH S                    374 EARL DR.                                                                                WARREN             OH    44483‐1114
MONTI, SILVIA                    700 GOLFCREST DR                                                                            DEARBORN           MI    48124‐1121
MONTI, VALENTINO J               55 KLEBER AVE                                                                               AUSTINTOWN         OH    44515‐1734
MONTI, VICTORIA D                68 CATLIN RD                                                                                HARWINTON          CT    06791‐1712
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Name                               Address1                            Address2                        Address3   Address4             City                  State Zip
MONTIA D DOWDELL                   19655 ROCKSIDE RD APT 1403                                                                          BEDFORD                OH 44146
MONTIAC SA DE CV                   CALLE SAN PABLO NO 50                                                          TORREON CZ 27400
MONTIAC SA DE CV MONTUPET SA       17197 N LAUREL PARK DR STE 519                                                                      LIVONIA               MI   48152‐7912
MONTICCIOLO, FRANK                 124 WINDWARD AVE                                                                                    BEACHWOOD             NJ   08722
MONTICELLI, ROBERT A               3 CONQUISTA LN                                                                                      HOT SPRINGS VILLAGE   AR   71909‐7926
MONTICELLI, SHIRLEY S              3 CONQUISTA LN                                                                                      HOT SPRINGS VILLAGE   AR   71909‐7926
MONTICELLO AUTO CENTER, INC.       901 N CEDAR ST                                                                                      MONTICELLO            IA   52310‐1036
MONTICELLO AUTOMOTIVE INC.         221 SANDBERG RD                                                                                     MONTICELLO            MN   55362‐8902
MONTICELLO MOTOR CLUB              67 CANTRELL RD                                                                                      MONTICELLO            NY   12701‐4806
MONTICELLO MOTOR CLUB LLC          JASON BANNERMAN                     548 BROADWAY, MONTICELLO                                        MONTICELLO            NY   12701
MONTICELLO, JOSEPH A               47035 CREEKVIEW DR S                                                                                SHELBY TWP            MI   48315‐4778
MONTICELLO, LARRY A                34210 HUNTER AVE                                                                                    WESTLAND              MI   48185‐7050
MONTICUE, CAROLYN F                960 S 520 W                                                                                         RUSSIAVILLE           IN   46979‐9438
MONTICUE, JERRY                    960 S CO RD ‐ 520 W                                                                                 RUSSIAVILLE           IN   46979
MONTIE E JACOBS                    3316 SHADYVIEW RD                                                                                   MORAINE               OH   45439‐1328
MONTIE MCAFEE                      3600 LAKE MEADOW DR                                                                                 AMELIA                OH   45102‐2516
MONTIE PIKE                        2627 S LAMB BLVD TRLR 80                                                                            LAS VEGAS             NV   89121‐1833
MONTIE RICHARD                     530 ALDRICH ST                                                                                      CONCORD               MI   49237‐9573
MONTIE RIVERS                      1372 S L ST APT 5                                                                                   ELWOOD                IN   46036‐2769
MONTIE SMITH                       24021 JACKS FORK RD                                                                                 RUSH                  KY   41168‐9203
MONTIE SMITH                       SURVIVING SPOUSE OF JAMES D SMITH   1705 CRESTED BUTTE                                              AUSTIN                TX   78746
MONTIE SPRIGGS                     1115 DISTEL LN                                                                                      PORTSMOUTH            OH   45662‐6409
MONTIE STANFIELD                   1383 ROSEWOOD AVE                                                                                   SAN CARLOS            CA   94070‐4829
MONTIE VICKERS                     33023 FARMBROOK                                                                                     NEW HAVEN             MI   48048‐2975
MONTIE, DONALD E                   8633 N CARLSON RD                                                                                   NORTHPORT             MI   49670‐9351
MONTIE, FRANK A                    21112 WILMOT RD                                                                                     BELLEVILLE            MI   48111‐9334
MONTIE, JUDY A                     13030 OYSTER LAKE RD                                                                                HOLLY                 MI   48442‐8326
MONTIE, LOUISE C                   957 E HURON RIVER DR                                                                                BELLEVILLE            MI   48111‐2873
MONTIEL MADRIGAL, LUCERO LETICIA   YOUNG CONAWAY STARGATT & TAYLOR     1000 N WEST ST FL 17                                            WILMINGTON            DE   19801‐1053
                                   LLP
MONTIEL MADRIGAL, MANUEL ALEJANDRO YOUNG CONAWAY STARGATT & TAYLOR     1000 N WEST ST FL 17                                            WILMINGTON            DE 19801‐1053
                                   LLP
MONTIEL, ELENA                     332 W ASTER DR                                                                                      CHANDLER              AZ   85248‐3946
MONTIEL, MARTHA E                  435 WOODVALE DR                                                                                     COMMERCE TOWNSHIP     MI   48390‐3270
MONTIEL, RUDOLF C                  851 COUNTRY CLUB RD                                                                                 EL PASO               TX   79932‐2530
MONTIETTE MCGLOWN                  2632 SCOTTWOOD AVE                                                                                  TOLEDO                OH   43610‐1323
MONTILEONE, JOSEPH D.              2220 ROSECRAN CIR                                                                                   LA VERGNE             TN   37086‐2791
MONTILEONE, RALPH                  9314 CHESAPEAKE DR                                                                                  BRENTWOOD             TN   37027‐7458
MONTILLI, JOHN M                   60 BRICK LNDG                                                                                       ROCHESTER             NY   14626‐4739
MONTIN, LEIF                       1007 VERMILION ST                                                                                   BUTTE LAROSE          LA   70517‐8501
MONTINARELLI, RALPH                6 E POINTE                                                                                          FAIRPORT              NY   14450‐9776
MONTINI ENIO (446457)              KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                   CLEVELAND             OH   44114
                                                                       BOND COURT BUILDING
MONTINI, ENIO                      KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                    CLEVELAND             OH 44114
                                                                       BOND COURT BUILDING
MONTINI, LORI M                    48631 GREENWICH LN                                                                                  CANTON                MI   48188‐8303
MONTINI, MONIQUE M                 5457 COUNTRY CLUB LN                                                                                GRAND BLANC           MI   48439‐9183
MONTINI, RINA                      13460 LAKEVIEW DRIVE                                                                                SHELBY TWP            MI   48315‐3530
MONTIONE, ALBINA E                 16 WILLIAMSTOWNE CT APT‐2                                                                           CHEEKTOWAGA           NY   14227‐3960
MONTIS TIMOTHY L                   COLE, ROSE                          110 SW JEFFERSON SUITE 410                                      PEORIA                IL   61602
MONTIS TIMOTHY L                   MONTIS, TIMOTHY L                   110 SW JEFFERSON SUITE 410                                      PEORIA                IL   61602
MONTIS, HARLAN E                   257 THE BROOKLANDS                                                                                  AKRON                 OH   44305‐3671
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Name                               Address1                          Address2                         Address3   Address4         City              State Zip
MONTIS, TIMOTHY L                  EDMONDS JOHN P LTD                110 SW JEFFERSON AVE STE 410                                 PEORIA              IL 61602‐1247
MONTJAR, MARK A                    6919 SUNSET DR                                                                                 SOUTH LYON         MI 48178‐9029
MONTLE, AUDREY A                   8096 GRENADA DR                                                                                BRIGHTON           MI 48116
MONTLE, LARRY J                    8096 GRENADA DR                                                                                BRIGHTON           MI 48116‐9152
MONTLE, LLOYD R                    4079 E WILLARD RD                                                                              CLIO               MI 48420‐7705
MONTLE, NORMAN C                   9207 ARBELA RD                                                                                 MILLINGTON         MI 48746‐9577
MONTLE, RAYMOND                    9345 ARBELA RD                                                                                 MILLINGTON         MI 48746‐9578
MONTLE, THOMAS J                   800 S RAYMOND ST                                                                               INDEPENDENCE       MO 64050‐4642
MONTLE, THOMAS JAMES               800 S RAYMOND ST                                                                               INDEPENDENCE       MO 64050‐4642
MONTLE, TIMOTHY J                  1394 SQUIRREL RUN                                                                              SAINT JOHNS        MI 48879‐8243
MONTLE, TIMOTHY JAMES              1394 SQUIRREL RUN                                                                              SAINT JOHNS        MI 48879‐8243
MONTLER, PAMELA S                  2480 BRAYTON AVE #N1                                                                           ALLIANCE           OH 44601‐4997
MONTLOUIS, LORRAINE                2520 CENTRAL                      APT 905                                                      DETROIT            MI 48209‐1287
MONTLOUIS, LORRAINE                2520 CENTRAL ST APT 905                                                                        DETROIT            MI 48209‐1287
MONTNEY ‐ MASON, LYNN M            2700 BIRD RD                                                                                   ORTONVILLE         MI 48462‐8464
MONTNEY, ANTHONY D                 3457 BROOKGATE DR                                                                              FLINT              MI 48507‐3212
MONTNEY, ANTHONY DEAN              3457 BROOKGATE DR                                                                              FLINT              MI 48507‐3212
MONTNEY, DANIEL L                  8425 RONDALE DR                                                                                GRAND BLANC        MI 48439‐8009
MONTNEY, DONALD C                  5380 CLARKSTON RD                                                                              CLARKSTON          MI 48348‐3811
MONTNEY, HILDA J                   103 DEER RUN                                                                                   LAPEER             MI 48446‐4106
MONTNEY, JOHN H                    2950 VENTURA RD SE                                                                             DEMING             NM 88030‐8446
MONTNEY, JOSEPH A                  3845 W 108TH ST                                                                                GRANT              MI 49327‐9682
MONTNEY, JOYCE LEORA               PO BOX 5711                                                                                    TRAVERSE CITY      MI 49696
MONTNEY, LOUANN M                  5049 WAKEFIELD RD                                                                              GRAND BLANC        MI 48439
MONTNEY, MARGARET F                G3173 N CENTER RD                                                                              FLINT              MI 48506‐2075
MONTNEY, NORMA M                   RR 3 BOX 94‐C                                                                                  MARTIN             GA 30557‐9510
MONTNEY, PETER W                   450 E TOWNLINE LAKE RD                                                                         HARRISON           MI 48625‐9278
MONTNEY, RAYMOND E                 950 VOORHEIS RD APT 4                                                                          WATERFORD          MI 48328‐3878
MONTNEY, ROBERT L                  6863 COUNTY ROAD 150                                                                           WILDWOOD           FL 34785
MONTNEY, WAYNE A                   7099 BIRCHWOOD DR                                                                              MOUNT MORRIS       MI 48458‐8807
MONTO, IRENE A                     825 HILLSIDE ST                                                                                SYRACUSE           NY 13208‐2410
MONTO, NORMAN P                    352 KILLARNEY BEACH RD                                                                         BAY CITY           MI 48706‐1185
MONTO, NORMAN W                    504 GIES ST                                                                                    BAY CITY           MI 48706‐3229
MONTOLIO, CESAR                    PO BOX 1135                                                                                    BRONX              NY 10452‐0019
MONTON KEVIN                       MONTON, KEVIN                     400 SW LONGVIEW BLVD SUITE 280                               LEES SUMMIT        MO 64081

MONTON, KEVIN                      KROHN & MOSS ‐ MO                 400 SW LONGVIEW BLVD STE 280                                 LEES SUMMIT       MO   64081‐2157
MONTONDO, GERALD T                 26 RIVERVIEW PL                                                                                BUFFALO           NY   14210‐2231
MONTONE, LEONARD                   DEARIE & ASSOCS JOHN C            3265 JOHNSON AVE                                             RIVERDALE         NY   10463
MONTONEY OSCAR FOANE (ESTATE OF)   BELLUCK & FOX LLP                 63 PERRY ST APT 15                                           NEW YORK          NY   10014‐3241
(468161)
MONTONEY, OSCAR FOANE              BELLUCK & FOX LLP                 63 PERRY ST APT 15                                           NEW YORK          NY   10014‐3241
MONTORO, ANTONIO A                 6924 VINEVALE AVE                                                                              BELL              CA   90201‐3712
MONTOUR, WILMA I                   365 PARKHURST BLVD                                                                             BUFFALO           NY   14223‐2513
MONTOURE, GEORGE A                 4300 W GRANGE AVE UNIT 7                                                                       GREENFIELD        WI   53220‐5132
MONTOUSSE, JULIEN                  5350 BILOXI AVE                                                                                NORTH HOLLYWOOD   CA   91601‐3531
MONTOWSKI, PHILIP                  PO BOX 343                                                                                     ERIE              PA   16512‐0343
MONTOYA FRED                       RHOADES JOSEPH J LAW OFFICES OF   1225 NORTH KING STREET SUITE                                 WILMINGTON        DE   19801‐3254
                                                                     1200
MONTOYA FRED (664650)              RHOADES JOSEPH J LAW OFFICES OF   1225 NORTH KING STREET SUITE                                 WILMINGTON         DE 19801
                                                                     1200
MONTOYA GUADALUPE                  MONTOYA, GUADALUPE                100 E SAN MARCOS BLVD STE 400                                SAN MARCOS        CA 92069‐2988
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MONTOYA KRISTAN CAIN       AMBRIZ, YOLANDA                   222 W UNIVERSITY DR                                         EDINBURG              TX 78539‐3301
MONTOYA KRISTAN CAIN       MONTOYA, FLORENCIO                222 W UNIVERSITY DR                                         EDINBURG              TX 78539‐3301
MONTOYA KRISTAN CAIN       MONTOYA, KRISTAN CAIN             3700 MONTROSE BLVD                                          HOUSTON               TX 77006‐4624
MONTOYA KRISTAN CAIN       MONTOYA, NATALIE                  222 W UNIVERSITY DR                                         EDINBURG              TX 78539‐3301
MONTOYA KRISTAN CAIN       MONTOYA, PEDRO                    520 E LEVEE ST                                              BROWNSVILLE           TX 78520‐5343
MONTOYA KRISTAN CAIN       MONTOYA, PEDRO                    222 W UNIVERSITY DR                                         EDINBURG              TX 78539‐3301
MONTOYA KRISTAN CAIN       TREVINO MONTOYA, JESSICA          222 W UNIVERSITY DR                                         EDINBURG              TX 78539‐3301
MONTOYA MARY ANN           6635 W TONOPAH DR                                                                             GLENDALE              AZ 85308‐6628
MONTOYA, ANN M             1313 SAINT JAMES WAY                                                                          FRISCO                TX 75034‐5198
MONTOYA, ANNETTE A         3704 LADERA DR NW APT 120                                                                     ALBUQUERQUE           NM 87120‐1770
MONTOYA, ANTHONY R         987 FOLSOM AVE                                                                                HAYWARD               CA 94544‐5700
MONTOYA, ANTONIO C         1471 PARISH RD                                                                                KAWKAWLIN             MI 48631‐9463
MONTOYA, ANTONIO C         COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                     HOUSTON               TX 77002‐1751
MONTOYA, CANUTE            PO BOX 137                                                                                    NEWALLA               OK 74857‐0137
MONTOYA, CARLA L           1530 WAGON TRAIN DR SE                                                                        ALBUQUERQUE           NM 87123‐5115
MONTOYA, CHARLES
MONTOYA, CONNIE RAE        29802 JEFFERSON AVE                                                                           SAINT CLAIR SHORES   MI   48082‐1844
MONTOYA, DAVID R           101 PICKARD DR                                                                                MCLOUD               OK   74851‐8400
MONTOYA, DOLORES           1919 GARRETSON AVE                                                                            CORONA               CA   92879‐2814
MONTOYA, ELSA              3125 S HARDING AVE                                                                            CHICAGO              IL   60623‐4942
MONTOYA, EUGENE
MONTOYA, FLORENCIO         GARCIA RAMON LAW OFFICES          222 W UNIVERSITY DR                                         EDINBURG             TX   78539
MONTOYA, FRED              RHOADES JOSEPH J LAW OFFICES OF   1225 N KING ST STE 1200                                     WILMINGTON           DE   19801‐3254
MONTOYA, GUADALUPE         BICKEL LAW FIRM                   100 E SAN MARCOS BLVD STE 400                               SAN MARCOS           CA   92069‐2988
MONTOYA, HUGO              12833 S CIRCLE PKWY                                                                           PALOS PARK           IL   60464‐1650
MONTOYA, JESSE V           2349 LARRY DR                                                                                 DALLAS               TX   75228‐3823
MONTOYA, JESSICA
MONTOYA, JESUS R           48665 VINTAGE LN                                                                              MACOMB               MI 48044‐2154
MONTOYA, KRISTAN
MONTOYA, KRISTAN CAIN      THE AMMONS LAW FIRM               3700 MONTROSE,                                              HOUSTON              TX   77006
MONTOYA, LORENZO M         2736 PAMELA LN NE                                                                             OLYMPIA              WA   98506‐5902
MONTOYA, MANUEL C          PO BOX 8253                                                                                   MESA                 AZ   85214
MONTOYA, MARY ANN L        6635 W TONOPAH DR                                                                             GLENDALE             AZ   85308‐6628
MONTOYA, MARY ANN LEBEAU   6635 W TONOPAH DR                                                                             GLENDALE             AZ   85308‐6628
MONTOYA, MARY E            815 MAYNARD RD                                                                                PORTLAND             MI   48875‐1219
MONTOYA, MAX               RR 1 BOX 380                                                                                  LAS VEGAS            NM   87701‐9714
MONTOYA, MIGDALIA          819 EDPAS RD                                                                                  NEW BRUNSWICK        NJ   08901‐3814
MONTOYA, MIREYA            804 N GRANT AVE                                                                               JANESVILLE           WI   53548‐2382
MONTOYA, NATALIE           GARCIA RAMON LAW OFFICES          222 W UNIVERSITY DR                                         EDINBURG             TX   78539
MONTOYA, PEDRO             AMMONS LAW FIRM LLP               520 EAST LEVEE STREET                                       BROWNSVILLE          TX   78520
MONTOYA, PEDRO             GARCIA RAMON LAW OFFICES          222 W UNIVERSITY DR                                         EDINBURG             TX   78539
MONTOYA, RICHARD
MONTOYA, RICHARD           5565 CATHEDRAL PEAK DR                                                                        SPARKS               NV   89436‐1804
MONTOYA, RICK L            405 ANACAPA DR                                                                                ROSEVILLE            CA   95678‐5947
MONTOYA, ROBERT L          5114 GARDEN WAY                                                                               FREMONT              CA   94536‐6564
MONTPAS, CARL E            6223 WESTVIEW DR                                                                              GRAND BLANC          MI   48439‐9783
MONTPAS, CONSTANCE         6189 SUGARLOAF DR                                                                             GRAND BLANC          MI   48439‐9159
MONTPAS, CYNTHIA D         7069 CARPENTER RD                                                                             FLUSHING             MI   48433‐9031
MONTPAS, DAVID F           23103 CHARTER OAKS DR                                                                         DAVISON              MI   48423‐3330
MONTPAS, JEREMY J          6454 E CARPENTER RD                                                                           FLINT                MI   48506‐1261
MONTPAS, JEREMY JAMES      6454 E CARPENTER RD                                                                           FLINT                MI   48506‐1261
MONTPAS, JEROME M          G6454 E CARPENTER                                                                             FLINT                MI   48506
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Name                          Address1                           Address2         Address3         Address4         City              State Zip
MONTPAS, JOHN A               5404 KELLY RD                                                                         FLINT              MI 48504‐1018
MONTPAS, JOSEPH G             7069 CARPENTER RD                                                                     FLUSHING           MI 48433‐9031
MONTPAS, JOSEPH GERARDO       7069 CARPENTER RD                                                                     FLUSHING           MI 48433‐9031
MONTPAS, LINETTE C            4301 E ATHERTON RD                                                                    BURTON             MI 48519‐1439
MONTPAS, MARY P               6223 WESTVIEW DR                                                                      GRAND BLANC        MI 48439‐9783
MONTPAS, MICHAEL J            7067 FAIRGROVE DR                                                                     SWARTZ CREEK       MI 48473‐9408
MONTPAS, NANCY M              1633 CARROLL AVE                                                                      SOUTH MILWAUKEE    WI 53172‐1066
MONTPAS, ROBERT J             4301 E ATHERTON RD                                                                    BURTON             MI 48519‐1439
MONTPAS, SHIRLEY M            8470 BELLCHASE DR                                                                     DAVISON            MI 48423
MONTPAS, THOMAS E             2675 W BRADEN RD                                                                      PERRY              MI 48872‐8500
MONTPAS, WILLIAM M            3212 W HOBSON AVE                                                                     FLINT              MI 48504‐1410
MONTPETIT, MAURICE W          127 MARTIN RD                                                                         MASSENA            NY 13662‐3115
MONTPETIT, RENEE M            115 COUNTY ROUTE 43                                                                   MASSENA            NY 13662‐3129
MONTPETIT, RENEE MARIE        115 COUNTY ROUTE 43                                                                   MASSENA            NY 13662‐3129
MONTREAT COLLEGE              318 RIDGEFIELD CT                                                                     ASHEVILLE          NC 28806‐2210
MONTREAT COLLEGE              PO BOX 1267                                                                           MONTREAT           NC 28757‐1267
MONTREAT COLLEGE SPAS         4135 SOUTHSTREAM BLVD STE 200                                                         CHARLOTTE          NC 28217‐4555
MONTREUIL, DAVID H            2345 ALLEN RD                                                                         ORTONVILLE         MI 48462‐8431
MONTREUIL, FREDERIC P         1179 LESLIE PL                                                                        LITHONIA           GA 30058‐8202
MONTREUIL, KATHLEEN M         905 MULBERRY LN                                                                       MOUNT PLEASANT     MI 48858‐3627
MONTREUIL, LLOYD W            4091 CRANE RD                                                                         CASS CITY          MI 48726‐9462
MONTREUIL, THOMAS N           905 MULBERRY LN                                                                       MOUNT PLEASANT     MI 48858‐3627
MONTREUIL, WILLIAM S          8828 GRACE ST                                                                         SHELBY TWP         MI 48317‐1735
MONTRICE L LANKFORD           5900 BRIDGE RD APT 715                                                                YPSILANTI          MI 48197‐7011
MONTROIS, BERNARD F           24445 TOWNIE ROUTE 57                                                                 THREE MILE BAY     NY 13693
MONTROIS, DANIEL J            228 KIRK RD                                                                           GREECE             NY 14612‐3355
MONTROIS, JOHN S              96 WILDMERE RD                                                                        ROCHESTER          NY 14617‐2318
MONTROIS, PATRICIA A          103 MEDALLION CIR                                                                     ROCHESTER          NY 14626‐3242
MONTROIS, PETER D             60 MEADOW DR                                                                          SPENCERPORT        NY 14559
MONTROIS, RICHARD F           103 MEDALLION CIR                                                                     ROCHESTER          NY 14626‐3242
MONTROIS, WILLIAM G           7500 SUNSHINE SKYWAY LN S APT T7                                                      ST PETERSBURG      FL 33711‐4949
MONTRONIX INC                 400 W MORGAN RD STE 200                                                               ANN ARBOR          MI 48108
MONTRONIX/ANN ARBOR           400 W MORGAN RD                    SUITE 200                                          ANN ARBOR          MI 48108
MONTROSE AUTOMOTIVE CENTER    4720 MONTROSE BLVD                                                                    HOUSTON            TX 77006‐6122
MONTROSE BUICK PONTIAC GMC    PO BOX 1030                                                                           HERMITAGE          PA 16148
CADILLAC
MONTROSE CAR CARE CENTER      3807 MONTROSE BLVD                                                                    HOUSTON           TX   77006‐4625
MONTROSE CHEVROLET            1127 W MAIN ST                                                                        KENT              OH   44240
MONTROSE CHEVROLET CADILLAC   C/O MICHAEL THOMPSON               1127 W MAIN ST                                     KENT              OH   44240
MONTROSE COLLISION CENTER     1116 W MAIN ST                                                                        KENT              OH   44240‐2008
MONTROSE JR, MURRAY S         547 ADELE DR                                                                          IRWIN             PA   15642‐2632
MONTROSE, GEORGE B            23054 PLAYVIEW ST                                                                     ST CLR SHORES     MI   48082‐1309
MONTROSE, JOE F               4142 LAKE STISON CT                                                                   WHITE LAKE        MI   48383‐3806
MONTROSE, KENNETH             35233 GLOVER ST                                                                       WAYNE             MI   48184‐2462
MONTROSE, ROBERT D            707 W NORTH ST                                                                        GREENFIELD        IN   46140‐2034
MONTROSE, ROSE M              35233 GLOVER                                                                          WAYNE             MI   48184‐2462
MONTROSE, ROSE M              35233 GLOVER ST                                                                       WAYNE             MI   48184‐2462
MONTROSS, ELDEN F             2440 LITCHFIELD DR                                                                    WATERFORD         MI   48329‐3955
MONTROSS, MARJORIE            52662 IHLA                                                                            SHELBY TWP        MI   48316‐3064
MONTROSSE JR, CARL R          3465 COLUMBINE AVE                                                                    BURTON            MI   48529‐1328
MONTROSSE, CARL R             PO BOX 57                                                                             OTTER LAKE        MI   48464‐0057
MONTROSSE, CARL ROSCOE        PO BOX 57                                                                             OTTER LAKE        MI   48464‐0057
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Name                         Address1                          Address2                          Address3                 Address4                   City               State Zip
MONTROSSE, CHRISTOPHER       605 E REID RD APT 1                                                                                                     GRAND BLANC         MI 48439‐1243
MONTROSSE, CHRISTOPHER       PO BOX 57                                                                                                               OTTER LAKE          MI 48464‐0057
MONTROSSE, JOSEPH C          1025 GROVE AVE                                                                                                          ROYAL OAK           MI 48067‐1406
MONTROSSE, RONNIE J          1870 S NATIONAL CITY RD                                                                                                 NATIONAL CITY       MI 48748‐9604
MONTROY, IRENE E             211 MILL ST                                                                                                             BANCROFT            MI 48414‐9605
MONTROY, IRENE E             211 MILL STREET                                                                                                         BANCROFT            MI 48414‐9605
MONTROY, RICHARD C           3410 JARVIS AVE                                                                                                         WARREN              MI 48091‐3468
MONTROY, SALOMEA T           29770 WOODLAND DR                                                                                                       SOUTHFIELD          MI 48034‐1307
MONTROY, SANDRA J            6868 TANGLE WOOD                                                                                                        WATERFORD           MI 48327‐3513
MONTROY, THOMAS J            49271 HUNT CLUB CT                                                                                                      PLYMOUTH            MI 48170‐2895
MONTROY, TIMOTHY V           4273 ARCADIA DR                                                                                                         AUBURN HILLS        MI 48326‐1894
MONTRULL, DENNIS M           232 SCHIRRA AVE                                                                                                         FLUSHING            MI 48433‐9335
MONTRULL, MICHAEL F          320 ERWIN RD                                                                                                            SCOTTSVILLE         KY 42164‐9050
MONTRULL, SHAWN              6333 RUNNING DEER ST                                                                                                    FLINT               MI 48506
MONTRULL, SR.,VICTOR L       5532 FIESTA PASS                                                                                                        GRAND BLANC         MI 48439‐9151
MONTRULL, SR.,VICTOR LEE     5532 FIESTA PASS                                                                                                        GRAND BLANC         MI 48439‐9151
MONTRY, CHRISTOPHER J        10253 W HOWE RD                                                                                                         EAGLE               MI 48822‐9740
MONTRY, COREY J              15282 WHITE AVE                                                                                                         ALLEN PARK          MI 48101‐2054
MONTRY, COREY J.             15282 WHITE AVE                                                                                                         ALLEN PARK          MI 48101‐2054
MONTRY, DIANE M              20682 MCCARTY RD                                                                                                        DEERFIELD           MI 49238‐9613
MONTRY, DONALD J             5616 W SPRING KNOLL DR                                                                                                  BAY CITY            MI 48706‐5614
MONTS ON TIME EXPRESS INC    3290 ASKIN ST                                                                                WINDSOR CANADA ON N9E
                                                                                                                          3J5 CANADA
MONTS, CHEYANNE R            3520 CLEVELAND HEIGHTS BLVD       APT 193                                                                               LAKELAND           FL    33803‐3803
MONTS, HERBERT O             PO BOX 7612                                                                                                             BLOOMFIELD         MI    48302‐7612
MONTS, MICHAEL L             5711 TAHOE DR                                                                                                           CLINTON            IL    61727‐9489
MONTS, WESLEY A              502 MARILYN DR                                                                                                          PEARL              MS    39208‐3717
MONTSERRAP CRUZ              PO BOX 318                                                                                                              BOX ELDER          SD    57719‐0318
MONTSERRAT GIBERT‐ALASA      SUEDRING 152                      MAINZ D‐55128
MONTSERRAT GIBERT‐ALASA      SUEDRING 152                                                                                 55128 MAINZ GERMANY
MONTSERRAT TREJO VELASQUEZ   ATTN JERRY GUERRA                 LAW OFFICES OF JERRY GUERRA P C   555 N CARANCAHUA SUITE                              CORPUS CHRISTI      TX   78478
                                                                                                 200
MONTSHIP INC                 360 RUE SAINT‐JACQUES STE 1000                                                               MONTREAL CANADA PQ
                                                                                                                          H2Y 1R2 CANADA
MONTSHO MOYENDA              4034 MYRON AVE                                                                                                          TROTWOOD           OH    45416‐1659
MONTSINGER, ARTHUR R         11704 LEIGH RIVER ST                                                                                                    BAKERSFIELD        CA    93312‐5705
MONTSON, JOHN D              41972 HUMBER DR                                                                                                         TEMECULA           CA    92591‐3803
MONTUPET INC                 17197 N LAUREL PARK DR STE 519                                                                                          LIVONIA            MI    48152‐7912
MONTUPET LIMITEE             500 RUE LEGER                                                                                RIVIERE BEAUDETTE PQ J0P
                                                                                                                          1R0 CANADA
MONTUPET LTEE                500 RUE LEGER                                                                                RIVIERE‐BEAUDETTE PQ J0P
                                                                                                                          1R0 CANADA
MONTUPET SA                  202 QUAI DE CLICHY                                                                           CLICHY FR 92110
MONTUPET SA                  1 RUE DE NOGENT                                                                              LAIGNEVILLE FR 60290
                                                                                                                          FRANCE
MONTUPET SA                  17197 N LAUREL PARK DR STE 519                                                                                          LIVONIA            MI 48152‐7912
MONTUPET SA                  500 RUE LEGER                                                                                RIVIERE‐BEAUDETTE PQ J0P
                                                                                                                          1R0 CANADA
MONTUPET SA                  CALLE SAN PABLO NO 50                                                                        TORREON CZ 27400
MONTVILLE VALERO             187 CHANGEBRIDGE RD                                                                                                     MONTVILLE          NJ 07045‐9563
MONTVILLE, DENNIS W          3500 DENSON DR                                                                                                          STERLING HEIGHTS   MI 48310‐3714
MONTVILLE, FELIX R           5880 BLUEWATER RD                                                                                                       CONWAY             SC 29527‐6425
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Name                            Address1                         Address2            Address3         Address4         City            State Zip
MONTVILLE, HERMAN E             26726 SYRACUSE AVE                                                                     WARREN           MI 48091‐4179
MONTVILLE, JOSEPH F             6801 TENNESSEE AVE                                                                     DARIEN            IL 60561‐3850
MONTVILLE, MARY L               21529 CHASE DR                                                                         NOVI             MI 48375
MONTVILLE, MAURICE W            503 ARCHER LN                                                                          KISSIMMEE        FL 34746‐4900
MONTWAID ROBERT J SR (483550)   WEITZ & LUXENBERG                180 MAIDEN LANE                                       NEW YORK         NY 10038
MONTWAID, ROBERT J              WEITZ & LUXENBERG                180 MAIDEN LANE                                       NEW YORK         NY 10038
MONTY & LISA HENDERSON          7340 S. ALBANY AVE.                                                                    CHICAGO           IL 60629
MONTY ADAMS                     339 SPRINGWILLOW RD                                                                    BURLESON         TX 76028‐4507
MONTY BURNS                     PO BOX 407                                                                             MILLINGTON       MI 48746‐0407
MONTY C LITTLE                  405 STELTON RD                                                                         XENIA            OH 45385‐5224
MONTY CHAPMAN                   PO BOX 4136                                                                            CLEARWATER       FL 33758‐4136
MONTY CHRISTOPHER               RR 2 BOX 291                                                                           BUTLER           MO 64730‐9545
MONTY ESTEP                     190 GRANTWOOD DRIVE                                                                    W CARROLLTON     OH 45449‐1556
MONTY FOX                       132 IROQUOIS AVE                                                                       BATTLE CREEK     MI 49015‐3325
MONTY HENDERSON                 7340 S ALBANY AVE                                                                      CHICAGO           IL 60629‐3057
MONTY JACKSON                   1130 RIVER VALLEY DR APT 1128                                                          FLINT            MI 48532‐2928
MONTY KREBS                     13846 HAWKSTONE DR                                                                     FORTVILLE        IN 46040‐9438
MONTY L HALE                    406 N. BARRON                                                                          EATON            OH 45320‐1708
MONTY L JACKSON                 1130 RIVER VALLEY DR APT 1128                                                          FLINT            MI 48532‐2928
MONTY LYNCH                     3318 LEAWOOD DRIVE                                                                     BEAVERCREEK      OH 45434
MONTY MC CULLOUGH               7406 NW 76TH TER                                                                       KANSAS CITY      MO 64152‐2219
MONTY MCFADDEN                  2404 N. POORFARM RD                                                                    BEDFORD          IN 47421
MONTY MILLAGE                   9218 MARINERS RIDGE DR                                                                 FORT WAYNE       IN 46819‐2414
MONTY MONDEAU                   888 S POSEYVILLE RD                                                                    MIDLAND          MI 48640‐8988
MONTY MORROW                    8204 S MILLER BLVD                                                                     OKLAHOMA CITY    OK 73159‐4751
MONTY PORTER                    144 SARATOGA WAY                                                                       ANDERSON         IN 46013‐4770
MONTY PRITCHARD                 15873 HIGHLAND CENTER RD                                                               DEFIANCE         OH 43512‐8976
MONTY R & LISA K HENDERSON      7340 S ALBANY AVE                                                                      CHICAGO           IL 60629
MONTY R WOOLLEY                 3291 S TURNER RD                                                                       CANFIELD         OH 44406‐9703
MONTY REGER                     1003 LANCASHIRE LN                                                                     PENDLETON        IN 46064‐9127
MONTY ROSS                      3093 S OAK RD                                                                          DAVISON          MI 48423‐9106
MONTY RUSSELL                   1416 NORTHCREST DR                                                                     ANDERSON         IN 46012‐2818
MONTY SALYERS                   11114 N 300 E                                                                          ALEXANDRIA       IN 46001‐9070
MONTY SHAFER                    8665 SOUTH PARSONS AVENUE                                                              NEWAYGO          MI 49337‐9708
MONTY SMITH                     3600 HAMPTON CT                                                                        NEW CASTLE       IN 47362‐1712
MONTY SMITH                     312 TIMBER LN                                                                          ANDERSON         IN 46017‐9693
MONTY STONE                     PO BOX 1                                                                               BALTIMORE        MD 21203
MONTY STOUT                     6857 CASSELL DR                                                                        GREENTOWN        IN 46936‐1173
MONTY T PARSON                  21 PINE WOOD DRIVE                                                                     WEST MILTON      OH 45383
MONTY THREATT                   10280 COUNTY ROAD 711                                                                  COLLINSVILLE     MS 39325‐9443
MONTY TODD                      1454 SALEM RD                                                                          HELTONVILLE      IN 47436‐8757
MONTY VANDEMARK                 940 WILHELM ST                                                                         DEFIANCE         OH 43512‐2949
MONTY WARNER                    9312 W 3RD ST                                                                          DAYTON           OH 45427‐1123
MONTY WEBB                      36013 ADOBE DR                                                                         FREMONT          CA 94536‐5422
MONTY WISEMAN                   880 E 56 HWY APT 711                                                                   OLATHE           KS 66061
MONTY WOOLLEY                   3291 S TURNER RD                                                                       CANFIELD         OH 44406‐9703
MONTY WRIGHT                    PO BOX 302                                                                             BRECKENRIDGE     MI 48615‐0302
MONTY, BRENDA A                 11629 CLAIRMONT DR                                                                     FENTON           MI 48430‐8922
MONTY, DAVID L                  35217 GRISWALD ST                                                                      CLINTON TWP      MI 48035‐2614
MONTY, DAVID LEE                35217 GRISWALD ST                                                                      CLINTON TWP      MI 48035‐2614
MONTY, EDWARD M                 WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                       NEW YORK         NY 10038
MONTY, RICHARD ANTHONY          524 W 53RD ST APT 715                                                                  ANDERSON         IN 46013‐5801
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Name                             Address1                           Address2                          Address3               Address4                   City              State Zip
MONTY, ROBERT J                  1301 E HWY 24                                                                                                          WOODLAND PARK      CO 80863
MONTY, WILLIAM
MONTYNA M KELLY & KAREN W DOAK   C/O MONTYNA KELLY                  1018 W 12TH STREET                                                                  PANAMA CITY       FL 32401
MONTYS CHEVROLET INC             1000 GINSBERG CT                   ATTN MR IGNASUS J MONTALBANO                                                        RIVERSIDE         CA 92506‐7500

MONTZ PENNY                      4507 GRANT RD                                                                                                          ERATH             LA   70533‐5229
MONUMENT CAR PARTS               5166 PACHECO BLVD                                                                                                      PACHECO           CA   94553‐5132
MONUMENT CHEVROLET               3940 PASADENA FWY                                                                                                      PASADENA          TX   77503‐1110
MONUMENT CHEVROLET                                                                                                                                      PASADENA          TX   77503
MONUS BREWER                     PO BOX 1082                                                                                                            CLINTON           TN   37717‐1082
MONVILLE SR, DANIEL J            4155 ELMWOOD RD                                                                                                        AKRON             MI   48701‐9703
MONVILLE, DANIEL J               2732 VAN GEISEN RD                                                                                                     CARO              MI   48723‐9631
MONVILLE, JAMES F                1873 CRANE POINT DR                                                                                                    PORT ORANGE       FL   32128‐2580
MONVILLE, JOSEPH J               1749 W ANDERSON RD                                                                                                     LINWOOD           MI   48634‐9744
MONVILLE, JOSEPH P               1544 SNEAD GRN                                                                                                         SPRINGFIELD       PA   19064‐4119
MONVILLE, LYNNE T                823 KNODT RD                                                                                                           ESSEXVILLE        MI   48732‐9740
MONVILLE, MARK J                 2736 E GRAND LEDGE HWY                                                                                                 GRAND LEDGE       MI   48837‐9706
MONVILLE, PATRICIA C             2736 E GRAND LEDGE HWY                                                                                                 GRAND LEDGE       MI   48837‐9706
MONVILLE, PAUL C                 3991 KAWKAWLIN RIVER DR                                                                                                BAY CITY          MI   48706‐1733
MONVILLE, RICHARD B              4218 RICHMARK LN                                                                                                       BAY CITY          MI   48706‐2259
MONVILLE, THOMAS E               3346 GLENBROOK DR                                                                                                      BAY CITY          MI   48706‐2425
MONVILLE, THOMAS F               5800 STANLEY RD                                                                                                        COLUMBIAVILLE     MI   48421‐8951
MONVILLE, THOMAS FRANCIS         5800 STANLEY RD                                                                                                        COLUMBIAVILLE     MI   48421‐8951
MONVILLE, WALTER F               1688 W RIDGE RD                                                                                                        BAY CITY          MI   48708‐9180
MONWELL MCGEE                    3827 HILLBORN LN                                                                                                       LANSING           MI   48911‐2148
MONY ROSH                        P.O.BOX 16002                                                                               TEL‐AVIV 61160 ISRAEL
MONYEM, SYLVANUS I               1931 CUDGELL DR                                                                                                        MIAMISBURG        OH 45342‐2085
MONZACK MERSKY MCLAUGHLIN AND    ATTORNEYS FOR BLUE MARBLE          ATTN: BRIAN J. MCLAUGHLIN         1201 N ORANGE STREET   SUITE 400, PO BOX 2031     WILMINTON         DE 48226
BROWDER                          ENVIRONMENTAL, INC
MONZILLO, MARY                   23 LINDEN AVENUE                                                                                                       VERONA            NJ   07044‐2820
MONZO, ALEJANDRO                 PRIV DE TAMARINDOS 33 DEPTO 901    GRANJAS DE PALO ALTO
MONZO, GERALD E                  5434 DUNBAR DR                                                                                                         GRAND BLANC       MI   48439‐9152
MONZON, JORGE                    1301 1ST AVE SW                                                                                                        DECATUR           AL   35601‐4103
MONZYK, WILLIAM N                33 KATHY LN                                                                                                            WEST SENECA       NY   14224‐1536
MOO CHUNG                        45085 WALNUT CT                                                                                                        SHELBY TOWNSHIP   MI   48317‐4962
MOOBERRY, MERRIL Q               8353 CAMELIA DRIVE                                                                                                     RIVERSIDE         CA   92504‐2413
MOOCHEROOCH BEN                  2876 COTTONWOOD DR UNIT B                                                                                              WATERFORD         MI   48328‐4915
MOOCHLER, MARK A                 8697 N STREET RD                                                                                                       LE ROY            NY   14482‐9122
MOOCHLER, MARY L                 8697 N STREET RD                                                                                                       LE ROY            NY   14482‐9122
MOODIE, GEORGE A                 27525 COUNTY ROAD 44                                                                                                   KERSEY            CO   80644‐9123
MOODIE, GEORGE A                 27525 W.C.R. 44                                                                                                        KERSEY            CO   80644
MOODIE, GLENN D                  45 FAIRHAVEN DR                                                                             ST CATHARINES ONTARI
                                                                                                                             CANADA L2S‐3S2
MOODIE, GLENN D                  45 FAIRHAVEN                                                                                ST. CATHARINES ON L2S3S2
                                                                                                                             CANADA
MOODIE, JAMES E                  14 WESTERN DR                                                                                                          W ALEXANDRIA      OH   45381‐1126
MOODIE, MILDRED L                6110 BLUE RIDGE DR APT B                                                                                               HIGHLANDS RANCH   CO   80130‐3685
MOODY ABRAHAM                    2923 SAINT JUDE DR                                                                                                     WATERFORD         MI   48329‐4353
MOODY BIBLE INSTITUTE            820 N LA SALLE DR                                                                                                      CHICAGO           IL   60610‐3214
MOODY CISSY E                    BLANKS, BOB                        1824 THIRD AVENUE SOUTH P O BOX                                                     JASPER            AL   35501
                                                                    1688
MOODY CISSY E                    MOODY, CISSY E                     PO BOX 1688                                                                         JASPER            AL   35502‐1688
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Name                              Address1                            Address2                        Address3           Address4         City              State Zip
MOODY CISSY E                     MOODY, WARREN S                     PO BOX 1688                                                         JASPER             AL 35502‐1688
MOODY CISSY E                     WILKES, CLINT                       1824 THIRD AVENUE SOUTH P O BOX                                     JASPER             AL 35501
                                                                      1688
MOODY CLAIRE                      4101 FABER RD                                                                                           PORTSMOUTH        VA 23703‐4834
MOODY DOROTHY (512077)            COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                             HOUSTON           TX 77002‐1751
MOODY DOUGLAS C (316625)          BROWN TERRELL HOGAN ELLIS           804 BLACKSTONE BLDG , 233 EAST                                      JACKSONVILLE      FL 32202
                                  MCCLAMMA & YEGELWEL P.A.            BAY STREET
MOODY ED                          1174 SILENT GROVE CHURCH RD                                                                             BROWNSVILLE       KY   42210‐9527
MOODY GRUBBS                      15102 PARKVILLE DR                                                                                      HOUSTON           TX   77068‐2415
MOODY JEFFERSON E (431960)        WEITZ & LUXENBERG                   180 MAIDEN LANE                                                     NEW YORK          NY   10038
MOODY JOHN                        3357 PRETTY BRANCH DR SE                                                                                SMYRNA            GA   30080‐4453
MOODY JOHN J                      3357 PRETTY BRANCH DR SE                                                                                SMYRNA            GA   30080‐4453
MOODY JONES MONTEFUSCO & KRAUSE   1333 S UNIVERSITY DR STE 201                                                                            PLANTATION        FL   33324‐4001
PA
MOODY JR, BENJAMIN H              703 TOURNAMENT TRL                                                                                      CORTLAND          OH   44410‐8707
MOODY JR, HERSCHEL W              2827 COLUMBUS AVE                                                                                       ANDERSON          IN   46016‐5435
MOODY JR, LUKE                    2120 E TREMONT AVE APT MD                                                                               BRONX             NY   10462‐5720
MOODY JR, WALLACE W               125 SHARON LAKE CT                                                                                      LEXINGTON         SC   29072‐8172
MOODY KATHRYN S                   5668 FREEWALD BLVD                                                                                      MILLINGTON        MI   48746‐9412
MOODY LYNN & KENT                 17519 N 1375TH ST                                                                                       CHRISMAN          IL   61924‐8662
MOODY PHILLIP                     951 TERRACE LN                                                                                          YPSILANTI         MI   48198‐3063
MOODY POTTS                       611 S SEMINOLE DR                                                                                       CHATTANOOGA       TN   37412‐1346
MOODY ROBERT J (626666)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA   23510
                                                                      STREET, SUITE 600
MOODY RONALD E (442227)           SIMMONS FIRM                        PO BOX 559                                                          WOOD RIVER        IL   62095‐0559
MOODY SCHOONOVER                  8557 BURTON RD                                                                                          ADRIAN            MI   49221‐9457
MOODY STREET MOBIL                845 MOODY ST                                                                                            WALTHAM           MA   02453‐5045
MOODY THOMAS WAYNE ESTATE OF      C/O EVANS & MULLINIX PA             7225 RENNER RD STE 200                                              SHAWNEE           KS   66217‐3046
MOODY WALT (492635)               BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD        OH   44067
                                                                      PROFESSIONAL BLDG
MOODY WALTER W SR (412255)        WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                     NEW YORK          NY   10038
MOODY'S AUTO SERVICE              8029 WOODVILLE HWY                                                                                      TALLAHASSEE       FL   32305‐1427
MOODY'S INC.                      590 S WASSON LN                                                                                         RIVER FALLS       WI   54022‐2662
MOODY'S INC.                      ROBERT MOODY                         590 S WASSON LN                                                    RIVER FALLS       WI   54022‐2662
MOODY'S INVESTORS SERVICE         C/O SATTERLEE STEPHENS BURKE & BURKE ATTN CHRISTOPHER R BELMONTE     230 PARK AVENUE                    NEW YORK          NY   10169
                                  LLP
MOODY, ADAM A                     7371 CRESTMORE ST                                                                                       WEST BLOOMFIELD   MI   48323‐1213
MOODY, ALICE D                    3892 N 5000W RD                                                                                         KANKAKEE          IL   60901‐7297
MOODY, ALICE D                    3892 N. 5000 WEST RD                                                                                    KANKAKEE          IL   60901‐7297
MOODY, ALLEN L                    17085 SE 93RD YONDEL CIR                                                                                THE VILLAGES      FL   32162‐1871
MOODY, ALVIN                      4159 AVERY ST                                                                                           DETROIT           MI   48208‐2708
MOODY, ANITA J                    1334 PINTO ROAD                                                                                         BOULDER CITY      NV   89005‐3112
MOODY, ANITA J                    1334 PINTO RD                                                                                           BOULDER CITY      NV   89005‐3112
MOODY, ANITA JUNE                 COON & ASSOCS BRENT                  917 FRANKLIN ST STE 210                                            HOUSTON           TX   77002‐1751
MOODY, ANNA                       1561 RUSSELL                                                                                            YPSILANTI         MI   48198‐7804
MOODY, ANNA                       1561 RUSSELL ST                                                                                         YPSILANTI         MI   48198‐7804
MOODY, ARLENE L                   4341 BARNES RD                                                                                          MILLINGTON        MI   48746‐9065
MOODY, ARLENE L                   4341 W BARNES RD                                                                                        MILLINGTON        MI   48746‐9065
MOODY, BENJAMIN H                 272 N HIGH ST                                                                                           CORTLAND          OH   44410‐1021
MOODY, BETTY J                    612 E PLYMOUTH AVE                                                                                      DELAND            FL   32724‐2963
MOODY, BETTY L                    445 HILLCREST DR                                                                                        ASHLAND           OH   44805‐4153
MOODY, BETTY R                    150 ANGLEWOOD DR                                                                                        CROSSVILLE        TN   38558
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Name                  Address1                       Address2                        Address3   Address4         City                  State Zip
MOODY, BILLY J        313 BREWER RD                                                                              DANVILLE                IL 61834‐6706
MOODY, BILLY L        105 BONAVENTURE RD                                                                         THUNDERBOLT            GA 31404‐3217
MOODY, CAREY H        6720 ASHEBROOKE DR                                                                         DOUGLASVILLE           GA 30135‐5376
MOODY, CARMA J        3284 COUNTY ROAD 17                                                                        BRYAN                  OH 43506‐9786
MOODY, CHESTER L      452 WHITEHEAD RD                                                                           SUGAR HILL             GA 30518‐4534
MOODY, CHRISTINE B    114 HUNTERS LN                                                                             HENDERSONVILLE         TN 37075‐8741
MOODY, CISSY
MOODY, CISSY E        JAMES KING                     PO BOX 1688                                                 JASPER                AL   35502‐1688
MOODY, CISSY E        JAMES KING                     P.O. BOX 1688                                               JASPER                AL   35502
MOODY, CLARA B        805 SOUTH MUMAUGH RD APT 68C                                                               LIMA                  OH   45804
MOODY, CLARA B        805 S MUMAUGH RD APT 68C                                                                   LIMA                  OH   45804‐2583
MOODY, CLAUDETTE S    219 N 6TH ST                                                                               HAYTI                 MO   63851‐1203
MOODY, CORILEE M      11 WHITSTABLE DR                                                                           BELLA VISTA           AR   72714
MOODY, COURTNEY L     27680 SPRING VALLEY DR                                                                     FARMINGTON HILLS      MI   48336‐3863
MOODY, DANNY G        15846 GRAFTON LN                                                                           LOOGOOTEE             IN   47553‐5685
MOODY, DANNY K        8516 BOLLIER AVE                                                                           NIAGARA FALLS         NY   14304‐2440
MOODY, DAVID A        301 WISTOWA TRL                                                                            BEAVERCREEK           OH   45430‐2037
MOODY, DAVID L        LIPTON LAW CENTER              18930 WEST TEN MILE ROAD                                    SOUTHFIELD            MI   48075
MOODY, DAVID R        9804 MINUTEMAN CT                                                                          FREDERICKSBURG        VA   22408‐9223
MOODY, DAVID W        7689 W 180 S                                                                               RUSSIAVILLE           IN   46979‐9742
MOODY, DEAN E         44 SANTA ROSA CIR                                                                          WYLIE                 TX   75098‐8240
MOODY, DEBRA A        622 TERRACE DR                                                                             COLUMBIA              TN   38401‐2659
MOODY, DEBRA D        9302 HILTON RD                                                                             BRIGHTON              MI   48114‐8647
MOODY, DENNIS L       2911 S PEORIA DR                                                                           PERU                  IN   46970‐7097
MOODY, DONALD H       566 W HILL VALLEY DR                                                                       INDIANAPOLIS          IN   46217‐4925
MOODY, DONALD R       6746 W 16TH ST                                                                             INDIANAPOLIS          IN   46214‐3324
MOODY, DORIS C        231 FLORENCE HARRIS LN                                                                     SANFORD               NC   27330‐7712
MOODY, DOROTHY        COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                     HOUSTON               TX   77002‐1751
MOODY, DOUGLAS        BROWN TERRELL HOGAN ELLIS      804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE          FL   32202
                      MCCLAMMA & YEGELWEL P.A.       BAY STREET
MOODY, DUEAGHN L      1664 BELL GAP RD                                                                           HIAWASSEE             GA   30546‐2000
MOODY, EDWARD C       1000 LELY PALMS DR APT D313                                                                NAPLES                FL   34113‐8960
MOODY, EDWIN O        1541 SHELTER COVE DR                                                                       ORANGE PARK           FL   32003‐7221
MOODY, EILEEN T       9751 NW 24TH ST                                                                            CORAL SPRINGS         FL   33065‐4931
MOODY, ELBERT         8956 MAYFIELD CT                                                                           JENNINGS              MO   63136‐5054
MOODY, ELIZABETH      244 WASHINGTON DRIVE                                                                       CAMDEN                AL   36726‐1412
MOODY, FLORENCE L     1820 SPENCE ST APT 408                                                                     BALTIMORE             MD   21230
MOODY, FLOYD O        5215 TEETER RD                                                                             BUTLER                OH   44822‐9623
MOODY, FRANK W        3051 DOS LOMAS                                                                             FALLBROOK             CA   92028‐9223
MOODY, GENEVRA M      1812 KENWOOD ST                                                                            JONESBORO             AR   72401‐4734
MOODY, GERALDINE S    196 BATH ST                                                                                ELYRIA                OH   44035‐3502
MOODY, GERALDINE S    196 BATH STREET                                                                            ELYRIA                OH   44035‐3502
MOODY, GLENN EDWARD   410 ROY AVE                                                                                WARRENTON             MO   63383‐2207
MOODY, GLORIA P       380 EDMANDS RD                                                                             FRAMINGHAM            MA   01701‐3068
MOODY, GUINN JEAN     834 HOLLYWOOD AVE                                                                          GROSSE POINTE WOODS   MI   48236‐1344
MOODY, HARLAND G      7514 MASON ST                                                                              SWARTZ CREEK          MI   48473‐1492
MOODY, HAROLD A       309 CHADWICK PL                                                                            FAIRBORN              OH   45324‐3901
MOODY, HAROLD E       390 W DIVISION ST                                                                          SPARTA                MI   49345‐1004
MOODY, HAROLD L       599 PACER CT 9160                                                                          ELLIJAY               GA   30540
MOODY, HARVEY H       1334 PINTO RD                                                                              BOULDER CITY          NV   89005‐3112
MOODY, HENRIETTA A    8516 BOLLIER AVE                                                                           NIAGARA FALLS         NY   14304‐2440
MOODY, HILDA G        2045 STROUD ROAD                                                                           JACKSON               GA   30233‐2814
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Name                Address1                       Address2              Address3       Address4         City               State Zip
MOODY, HILDA G      2045 STROUD RD                                                                       JACKSON             GA 30233‐2814
MOODY, HULEE M      12078 SCHONBORN PL                                                                   CLIO                MI 48420‐2145
MOODY, JAN          2205 ATLANTIC ST NE                                                                  WARREN              OH 44483‐4470
MOODY, JANET L      13201 SPRECHER AVE                                                                   CLEVELAND           OH 44135‐5045
MOODY, JASLYN N     2989 ELDORA DRIVE                                                                    YOUNGSTOWN          OH 44511‐1247
MOODY, JEFFERSON    WEITZ & LUXENBERG              180 MAIDEN LANE                                       NEW YORK            NY 10038
MOODY, JEFFREY G    220 HIGH ST                                                                          GRAND LEDGE         MI 48837‐1654
MOODY, JERRY J      9351 SANDUSKY AVE                                                                    ARLETA              CA 91331‐5531
MOODY, JERRY L      PO BOX 172                                                                           HOLCOMB             MO 63852‐0172
MOODY, JERRY L      2000 OVERLAND DR                                                                     CHAPEL HILL         TN 37034‐4034
MOODY, JERRY P      13376 HIGHLAND CIR                                                                   STERLING HEIGHTS    MI 48312‐5341
MOODY, JOHN         27680 SPRING VALLEY DR                                                               FARMINGTON HILLS    MI 48336‐3863
MOODY, JOHN         PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON             MS 39206‐5621
MOODY, JOHN C       2347 HAVEN DR                  C/O JOHN C MOODY JR                                   SEWICKLEY           PA 15143‐8519
MOODY, JOHN J       3357 PRETTY BRANCH DR SE                                                             SMYRNA              GA 30080‐4453
MOODY, JOSEPH F     4407 OAKCREST DR                                                                     LANSING             MI 48917‐4112
MOODY, JOSEPH F     13543 TUSCALEE WAY                                                                   DRAPER              UT 84020‐8871
MOODY, KAREN C      1233 AUGUSTINE DR 22                                                                 LADY LAKE           FL 32159
MOODY, KATHRYN S    5668 FREEWALD BLVD                                                                   MILLINGTON          MI 48746‐9412
MOODY, KATHY A      4792 WARREN RD                                                                       CORTLAND            OH 44410‐9707
MOODY, LALA I       7 KIMBERLY LN                                                                        BATESVILLE          AR 72501‐8069
MOODY, LARRY F      1417 VERMILYA AVE                                                                    FLINT               MI 48507‐1542
MOODY, LINDA SUE    1007 HAMPSHIRE RD                                                                    DAYTON              OH 45419‐3714
MOODY, LLOYD E      13531 S WRIGHT RD                                                                    EAGLE               MI 48822‐9784
MOODY, LORETTA M    4269 ANCONA ST                                                                       INDIANAPOLIS        IN 46235
MOODY, LORETTA M    4269 ANCONA CT                                                                       INDIANAPOLIS        IN 46235‐1001
MOODY, LOUIS        1233 AUGUSTINE DR 22                                                                 LADY LAKE           FL 32159
MOODY, LOYCE        604 N OWENS ST                                                                       JEFFERSON           TX 75657‐1334
MOODY, MARIANNE     26710 SOUTHWESTERN HWY                                                               REDFORD             MI 48239
MOODY, MARIANNE     102 GRANADA DRIVE              BUILDING L                                            WARRENTON           MO 63383
MOODY, MARILYN      3056 W TELLURIDE                                                                     BRIGHTON            MI 48114‐7489
MOODY, MARLENE E    6525 RIVERRIDGE PL                                                                   CASEVILLE           MI 48725‐9419
MOODY, MARRELL      2411 KATHLEEN AVE                                                                    DALLAS              TX 75216‐5845
MOODY, MARY G       1343 HAMMERBERG CT             APT #5B                                               FLINT               MI 48507
MOODY, MARY L       6260 PEARL RD APT 221                                                                PARMA HEIGHTS       OH 44130‐3038
MOODY, MATHILDA     136 WESTLOOK CIR                                                                     OAK RIDGE           TN 37830‐3820
MOODY, MAURICE M    125 BURKWOOD HILLS LN                                                                SPRINGVILLE         IN 47462‐5164
MOODY, MILES        1305 BLOOMFIELD AVE                                                                  OCEAN               NJ 07712‐3527
MOODY, MYRLICE D    7 KIMBERLY LN                                                                        BATESVILLE          AR 72501‐8069
MOODY, NARA F       2321 ASHLAND HWY                                                                     TALLADEGA           AL 35160‐5400
MOODY, NORMA W      303 N MECCA STREET             APT 206                                               CORTLAND            OH 44410‐1083
MOODY, NORMA W      303 N MECCA ST APT 206                                                               CORTLAND            OH 44410‐1083
MOODY, PATRICIA
MOODY, PATRICIA     3407 SUNCREST DR                                                                     FLINT              MI   48504‐8425
MOODY, PATRICIA J   822 NEW FRANKLIN RD LOT 3                                                            LAGRANGE           GA   30240‐1862
MOODY, PATRICIA J   822 NEW FRANKLIN RD            LOT# 3                                                LAGRANGE           GA   30240
MOODY, PAUL A       8531 S JUSTINE ST                                                                    CHICAGO            IL   60620
MOODY, PAUL A       14723 ARTESIAN AVE                                                                   HARVEY             IL   60426‐1369
MOODY, PAUL E       150 ANGLEWOOD DR                                                                     CROSSVILLE         TN   38558
MOODY, PEGGY M      4996 STARR ST                                                                        NEWTON FALLS       OH   44444‐9409
MOODY, PHILLIP W    951 TERRACE LN                                                                       YPSILANTI          MI   48198‐3063
MOODY, RAY          814 SALEM DR                                                                         HURON              OH   44839‐1437
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Name                         Address1                            Address2                      Address3   Address4         City               State Zip
MOODY, RAY B                 3619 COUNTY ROAD 73                                                                           KILLEN              AL 35645‐5567
MOODY, RICHARD M             1090 BIRCH RD                                                                                 SAGINAW             MI 48609‐4846
MOODY, RITA L                4 YALE RD                                                                                     WILMINGTON          DE 19805‐4624
MOODY, ROBERT D              4792 WARREN RD                                                                                CORTLAND            OH 44410‐9707
MOODY, ROBERT G              4322 GREENTREE DR                                                                             FLINT               MI 48507‐5606
MOODY, ROBERT J              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                 STREET, SUITE 600
MOODY, ROBERT W              85 N MASON CT                                                                                 NIAGARA FALLS      NY   14304‐2856
MOODY, ROLAND L              876 OAK RESERVE LN                                                                            WINTER PARK        FL   32792
MOODY, RONALD E              SIMMONS FIRM                        PO BOX 559                                                WOOD RIVER         IL   62095‐0559
MOODY, RUTH M                6641 HEDINGTON SQ APT 2                                                                       CENTERVILLE        OH   45459‐6972
MOODY, SHIRLEY               46370 JUDD ROAD                                                                               BELLEVILLE         MI   48111
MOODY, STACIE J              855 CO RD# 336                                                                                DANVILLE           AL   35619
MOODY, STEPHEN L             100 CAMINO DEL CABALLO                                                                        SEDONA             AZ   86336‐3016
MOODY, SUE C                 5666 FREEWALD                                                                                 MILLINGTON         MI   48746‐9412
MOODY, SUE C                 5666 FREEWALD BLVD                                                                            MILLINGTON         MI   48746‐9412
MOODY, TERRY E               5920 OAK HILL DR.                                                                             W. FARMINGTON      OH   44491‐4491
MOODY, THELMA V              380 CRESTWOOD DR                                                                              OXFORD             MI   48371‐6138
MOODY, THOMAS W              STE 200                             7225 RENNER ROAD                                          SHAWNEE            KS   66217‐3046
MOODY, TINA C                13543 TUSCALEE WAY                                                                            DRAPER             UT   84020‐8871
MOODY, VAN J                 5580 HICKORY CIR                                                                              FLUSHING           MI   48433‐2454
MOODY, VAUGHN                6 ROYAL CIR                                                                                   BATESVILLE         AR   72501‐9191
MOODY, VELMA                 2009 BARKS ST                                                                                 FLINT              MI   48503‐4305
MOODY, VINCENT W             622 TERRACE DR                                                                                COLUMBIA           TN   38401‐2659
MOODY, VULA R                1534 S ARMSTRONG                                                                              KOKMO              IN   46902
MOODY, WALTER E              4431 DOUBLE TREE RD                                                                           MEMPHIS            TN   38109‐4825
MOODY, WALTER W              WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                           NEW YORK           NY   10038
MOODY, WARREN
MOODY, WARREN L              1805 DALRYMPLE RD                                                                             ANDERSON           SC   29621‐4317
MOODY, WARREN S              JAMES KING                          P.O. BOX 1688                                             JASPER             AL   35502
MOODY, WARREN S              JAMES KING                          PO BOX 1688                                               JASPER             AL   35502‐1688
MOODY, WAYNE B               2848 CARROUSEL LN                                                                             JANESVILLE         WI   53545‐0681
MOODY, WILLIAM H             218 FOX GLOVE DR                                                                              HARRINGTON         DE   19952‐1728
MOODY, WILLIAM H             1544 FOUR SEASONS DR                                                                          HOWELL             MI   48843‐6116
MOODY, WILLIAM P             8614 W MARLOMA DR                                                                             WHITE HILLS        AZ   86445‐9535
MOODY, WILLIE                3797 ETON PL                                                                                  SAGINAW            MI   48603‐3181
MOODYS ECONOMY DOT COM INC   121 N WALNUT ST STE 500                                                                       WEST CHESTER       PA   19380‐3117
MOODYS INVESTORS SERVICE     PO BOX 102597                                                                                 ATLANTA            GA   30368‐0597
MOODYS QUALTY/FRNKLN         PO BOX 609                                                                                    FRANKLIN           TN   37065‐0609
MOOER, CAROLYN A             11928 CANTERBURY DR                                                                           STERLING HEIGHTS   MI   48312‐3020
MOOER, HARVEY C              14223 GABRIELLE CT                                                                            SILVERHILL         AL   36576‐3651
MOOERS, DONALD J             1681 ROYAL FERN LN                                                                            ORANGE PARK        FL   32003‐7079
MOOERS, JUNE O               17 HALLEN AVE                                                                                 MILTON             MA   02186‐4401
MOOERS, KATHERINE L          1215 RIDGE RD                                                                                 BELLE VERNON       PA   15012‐3828
MOOERS, PATRICIA M           PO BOX 2751                                                                                   CHELAN             WA   98816‐2751
MOOG FLO‐TORK                PO BOX 68                           1701 NORTH MAIN STREET                                    ORRVILLE           OH   44667‐0068
MOOG INC                     781 ENTERPRISE DR STE 300                                                                     ANN ARBOR          MI   48108
MOOG INC                     ATTN ROB BECKMAN                    SENECA ST PLANT 24                                        EAST AURORA        NY   14052
MOOG JR, HOWARD A            PO BOX 1205                                                                                   SPOTSYLVANIA       VA   22553‐1205
MOOG, RICHARD J              48802 BROADWALK                                                                               MACOMB TWP         MI   48044
MOOHEY, WILLIAM J            4161 DAVID ST                                                                                 CASTRO VALLEY      CA   94546‐4623
MOOK ANDREW                  MOOK, ANDREW                        102 WOODMONT BLVD STE 200                                 NASHVILLE          TN   37205‐2216
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Name                             Address1                        Address2                        Address3   Address4         City               State Zip
MOOK JR, ROBERT W                1097 CENTER ST E                                                                            WARREN              OH 44481‐9356
MOOK JR, ROBERT W                1097 CENTER ST.E.                                                                           WARREN              OH 44481‐9356
MOOK, CLAUDE G                   318 PECK LEACH RD                                                                           NORTH BLOOMFIELD    OH 44450‐9549
MOOK, ELIZABETH K                3850 W CALLA RD                                                                             CANFIELD            OH 44406‐9119
MOOK, JOYCE                      6740 DORWOOD RT #1                                                                          SAGINAW             MI 48601‐9348
MOOK, MARY JAYNE                 PO BOX 1224                     254 CLEVELAND AVE.                                          ANDOVER             OH 44003
MOOK, RICHARD E                  6448 NONA CT                                                                                PORT ORANGE         FL 32128‐7311
MOOK, ROGER D                    18230 GLENCREEK LN                                                                          STRONGSVILLE        OH 44136‐3541
MOOK, WANETA M                   3974 RIDGE RD                                                                               CORTLAND            OH 44410‐9704
MOOK, WANETA M                   3974 RIDGE RD.                                                                              CORTLAND            OH 44410‐9704
MOOLHUIZEN, HARMINA              127 BLUE LAKE PLACE                                                                         COCOA               FL 32926‐3168
MOOLHUIZEN, MARCEL D             14069 152ND AVE                                                                             GRAND HAVEN         MI 49417
MOOMAW CHEVROLET, INC.           132 E MAIN ST                                                                               SUGARCREEK          OH 44681‐9120
MOOMAW CHEVROLET, INC.           RANDAL MOOMAW                   132 E MAIN ST                                               SUGARCREEK          OH 44681‐9120
MOOMAW, ALBERT A                 1509 JEWELL DR                                                                              COLUMBIA            TN 38401‐5212
MOOMAW, BARBARA A                4404 WOODWARD ST                                                                            WAYNE               MI 48184‐2041
MOOMAW, DAVID C                  6653 RIO GRANDE DR                                                                          ROMULUS             MI 48174‐5065
MOOMAW, ERNEST A                 8577 PRIEST RD NE                                                                           MANCELONA           MI 49659
MOOMAW, HOWARD W                 6124 GREENVIEW AVE                                                                          DETROIT             MI 48228‐4762
MOOMAW, RAYMOND R                69 CHURCHILL DR                                                                             WHITMORE LAKE       MI 48189‐9009
MOOMEY GEORGE                    MOOMEY, GEORGE                  5457 105TH AVE                                              PULLMAN             MI 49450
MOOMEY, DENISE                   6106 W DODGE RD                                                                             CLIO                MI 48420‐8577
MOOMEY, EDWARD J                 1247 LINUS ST                                                                               FLINT               MI 48507‐4105
MOOMEY, GEORGE L                 12305 W ALBAIN RD                                                                           PETERSBURG          MI 49270‐9382
MOOMEY, JERRY L                  1520 KANE RD                                                                                STOCKBRIDGE         MI 49285‐9758
MOOMEY, KEVIN L                  6106 W DODGE RD                                                                             CLIO                MI 48420‐8577
MOOMEY, LUCINA M                 8097 GRENADA DR                                                                             BRIGHTON            MI 48116‐9152
MOOMEY, MICHAEL R                1400 W 1ST ST APT 8                                                                         WEWOKA              OK 74884‐5003
MOOMEY, RICHARD E                4511 LEWIS AVE                                                                              IDA                 MI 48140‐9506
MOOMEY, ROBERT B                 6801 N M 37 HWY                                                                             MIDDLEVILLE         MI 49333‐9209
MOOMJY, ALEXANDER V              121 DEVRIESE CT                                                                             TENAFLY             NJ 07670
MOON BILLIE                      2918 SHADY CREEK LN                                                                         FREEPORT            TX 77541‐6609
MOON CRYSTAL                     UNIT 101                        1709 QUEEN VICTORIA STREET                                  LAS VEGAS           NV 89144‐6898
MOON FABRICATING CORP            ATTN: GREG VEACH                PO BOX 567                                                  KOKOMO              IN 46903‐0567
MOON JR, GEORGE A                PO BOX 348                                                                                  PRATTSBURGH         NY 14873‐0348
MOON JR, GEORGE A                P.O. BOX 348                                                                                PRATTSBURG          NY 14873‐0348
MOON JR, HAROLD L                452 PEARSON DR                                                                              NEW WILMINGTON      PA 16142‐5218
MOON JR, JAMES G                 4056 VALACAMP S.E.                                                                          WARREN              OH 44484‐3317
MOON JR, JAMES G                 4056 VALACAMP AVE SE                                                                        WARREN              OH 44484‐3317
MOON JR, JOHN H                  3801 VILLAGE VIEW DR APT 1318                                                               GAINESVILLE         GA 30506‐4336
MOON JR, KARL L                  9300 WEBSTER RD                                                                             FREELAND            MI 48623‐8603
MOON JR, KARL L                  9300 WEBSTER ROAD                                                                           FREELAND            MI 48623‐8603
MOON JR, ROBERT P                5160 E JOHNSON RD                                                                           ITHACA              MI 48847‐9543
MOON JR, WILLIAM P               2404 CHERRY LN                                                                              MIDWEST CITY        OK 73130‐7157
MOON KIM                         302 MINERVA AVE                                                                             WAUCONDA             IL 60084‐1741
MOON MARIE                       MOON, MARIE                     3388 VAN HORN RD APT 211                                    TRENTON             MI 48183
MOON MICHELLE LEIGH              MOON, MICHELLE LEIGH            203 NINTH STREET KRISE BLDG O                               LYNCHBURG           VA 24505
                                                                 BOX P
MOON ROOF CORPORATION OF AMER    BILL SCHAUFLER                  30750 EDISON DRIVE                                          MANCHESTER         NH
MOON ROOF CORPORATION OF AMERI   28117 GROESBECK HWY                                                                         ROSEVILLE          MI 48066‐2344
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Name                               Address1                        Address2                        Address3   Address4         City               State Zip
MOON ROOF CORPORATION OF AMERI     30750 EDISON DR                                                                             ROSEVILLE           MI 48066‐1554

MOON ROOF CORPORATION OF AMERICA   28117 GROESBECK HWY                                                                         ROSEVILLE          MI 48066‐2344

MOON ROOF CORPORATION OF AMERICA   BILL SCHAUFLER                  30750 EDISON DRIVE                                          MANCHESTER         NH

MOON ROOF CORPORATION OF AMERICA   PAUL TORRES                     28117 GROESBECK HWY                                         ROSEVILLE          MI 48066‐2344

MOON THOMAS (492083)               BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                   PROFESSIONAL BLDG
MOON TOWNSHIP CADILLAC
MOON TOWNSHIP OLDSMOBILE‐CADILLAC 5760 UNIVERSITY BLVD                                                                         CORAOPOLIS         PA 15108‐2570

MOON WALTER                        505 MANDALAY RD                                                                             ORLANDO            FL 32809‐3016
MOON WILLIAM B (494023)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
MOON WONG                          6139 79TH ST                                                                                MIDDLE VILLAGE     NY   11379‐1337
MOON YU                            322 NEW HAMPSHIRE DR                                                                        PORTAGE            MI   49024‐1336
MOON, ADELINE F                    C/O CATHERINE A MCCULLOUGH      2707 LENORA CHURCH ROAD                                     SNELLVILLE         GA   30078‐3131
MOON, ADELINE F                    2707 LENORA CHURCH ROAD                                                                     SNELLVILLE         GA   30078‐3295
MOON, ALISON EMILY
MOON, ALLAN D                      500 N RD                        APT 304                                                     GAYLORD            MI   49735
MOON, ALLAN D                      500 W NORTH ST APT 304                                                                      GAYLORD            MI   49735‐1526
MOON, ALLAN D                      13844 ALASKA AVE. LOT 298                                                                   EAGLE              MI   48822
MOON, ALLYN G                      1029 JEFFERSON AVE                                                                          DEFIANCE           OH   43512‐2805
MOON, AMANDA                       PO BOX 99                                                                                   LOMBARD            IL   60148‐0099
MOON, ANGELIA
MOON, ARTHUR G                     44725 56TH AVE                                                                              PAW PAW            MI   49079‐9730
MOON, ARTIS B                      3618 LYNNFIELD RD                                                                           SHAKER HTS         OH   44122‐5112
MOON, ARVILLA C                    19684 VILLA COURT E                                                                         SOUTHFIELD         MI   48076‐2435
MOON, ARVILLA C                    19684 VILLA CT E                                                                            SOUTHFIELD         MI   48076‐2435
MOON, BEATRICE KAY                 1568 BROOKFIELD RD                                                                          CHARLOTTE          MI   48813‐9195
MOON, BETTY MINNIE                 619 N SHERIDAN AVE                                                                          COLORADO SPRINGS   CO   80909‐4519
MOON, BILLY J                      1493 SWEET BOTTOM CIR SW                                                                    MARIETTA           GA   30064‐5224
MOON, BILLY R                      982 NORTHSIDE DR                                                                            LAWRENCEVILLE      GA   30043‐4563
MOON, BRENDA A                     6603 39TH AVENUE CIR W                                                                      BRADENTON          FL   34209‐7631
MOON, BRENDA K                     982 NORTHSIDE DR                                                                            LAWRENCEVILLE      GA   30043‐4563
MOON, BRENDA R                     19700 VILLA CT E                                                                            SOUTHFIELD         MI   48076‐2435
MOON, BRENDA RENEE                 19700 VILLA COURT EAST                                                                      SOUTHFIELD         MI   48076‐2435
MOON, CARL A                       910 W 51ST ST                                                                               MARION             IN   46953‐5709
MOON, CAROL                        728 N DELAWANDA AVE                                                                         MUNCIE             IN   47303‐4244
MOON, CAROLYN G                    15 GREGORY DR                                                                               ANDERSON           IN   46016‐5834
MOON, CHARIS L                     9339 W AVENIDA DEL SOL                                                                      PEORIA             AZ   85383‐1137
MOON, CHARLES R                    205 SHELTON BEACH RD APT 27                                                                 SARALAND           AL   36571‐2720
MOON, CHERYL J                     206 SAINT IVES N                                                                            LANSING            MI   48906‐1512
MOON, CHESTER B                    1976 W LIBERTY RD                                                                           CLARKLAKE          MI   49234‐9627
MOON, CHONG M                      3715 DOTY LN                                                                                CARMEL             IN   46033‐4746
MOON, CLYDE A                      895 E MORNINGSIDE DR                                                                        LAWRENCEVILLE      GA   30043‐4568
MOON, CLYDIE E                     2036 VERA CRUZ DR SW                                                                        SNELLVILLE         GA   30278‐3926
MOON, COY B                        2704 PARKVIEW LN APT 2201                                                                   BEDFORD            TX   76022‐6917
MOON, D M                          116 DENWOOD TRL                                                                             CLAYTON            OH   45315‐9631
MOON, DALE L                       703 W LINCOLN ST                                                                            EAST TAWAS         MI   48730‐1019
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Name                  Address1                         Address2                Address3     Address4         City               State Zip
MOON, DARLENE A       4277 HURLBUT ST                                                                        DETROIT             MI 48214
MOON, DARRYL W        10519 N DALTON AVE                                                                     KANSAS CITY         MO 64154‐1800
MOON, DAVID ALLEN     22114 GASCONY AVE                                                                      EASTPOINTE          MI 48021‐2574
MOON, DAVID L         10231 SHALLOW CREEK DR                                                                 COLLINSVILLE        MS 39325‐9468
MOON, DAVID L         APT 65                           1901 SOUTH GOYER ROAD                                 KOKOMO              IN 46902‐2742
MOON, DENISE L        1323 COLLAR PRICE RD                                                                   HUBBARD             OH 44425‐2914
MOON, DIANA F         1736 W 1250 N                                                                          BURNETTSVILLE       IN 47926‐8107
MOON, DORIS J         98 S EAST COUNTY LINE RD                                                               SUMNER              MI 48889‐9610
MOON, DORIS J         98 SE COUNTY LINE RD                                                                   SUMNER              MI 48889‐9610
MOON, DOROTHY E       501 S LA POSADA CIR APT 200                                                            GREEN VALLEY        AZ 85614‐5104
MOON, DOROTHY M       4056 VALACAMP AVE SE                                                                   WARREN              OH 44484‐3317
MOON, EDWIN L         7233 MAPLECREST CIR                                                                    SWARTZ CREEK        MI 48473‐1595
MOON, ELDON K         38 COUNTY ROAD 2472                                                                    NAPLES              TX 75568‐7101
MOON, ERIC A          2832 CRABAPPLE LN                                                                      DACULA              GA 30019‐1048
MOON, ERNEST W        848 FUHRMANN TER                                                                       SAINT LOUIS         MO 63122‐3222
MOON, EVELYN E        855 E LAKE SHORE DR APT 1B                                                             DECATUR              IL 62521‐3341
MOON, FREDA L         605 CANDLEWOOD DR                                                                      MARION              IN 46952‐1924
MOON, FREDERICK V     2003 WAGONWHEEL CT                                                                     ANDERSON            IN 46017
MOON, GARY L          4966 E FAIRFIELD ST                                                                    MESA                AZ 85205‐5347
MOON, GARY L          916 BELKNAP ST                                                                         GRAND LEDGE         MI 48837‐2019
MOON, GERARD J        4383 STELLO RD                                                                         SAGINAW             MI 48609‐9726
MOON, GERARD JOSEPH   4383 STELLO RD                                                                         SAGINAW             MI 48609‐9726
MOON, GLADYS B        808 BRITWOOD DR S W                                                                    DECATUR             AL 35601
MOON, GLADYS B        354 S 25TH ST                                                                          SAGINAW             MI 48601‐6336
MOON, HAILEY MARIE
MOON, HANNE E         10231 SHALLOW CREEK DR                                                                 COLLINSVILLE       MS   39325‐9468
MOON, HARVEY D        3929 HANOVER PL                                                                        TYLER              TX   75701‐6712
MOON, HENRY J         1001 VELDON WAY                                                                        JOLIET             IL   60435
MOON, HORACE W        103 BURTON DR                                                                          ROCKMART           GA   30153‐2101
MOON, HUBERT C        4830 N M 18                                                                            ROSCOMMON          MI   48653‐9631
MOON, IRENE F         1518 35TH ST NE                                                                        CANTON             OH   44714‐1313
MOON, IRENE F         1518 35TH N E                                                                          CANTON             OH   44714‐1313
MOON, J C             1680 WOODBERRY RUN DR                                                                  SNELLVILLE         GA   30078‐5664
MOON, JACK E          4374 RIDGE RD                                                                          CORTLAND           OH   44410‐9728
MOON, JACK E          4374 RIDGE RD NE                                                                       CORTLAND           OH   44410‐9728
MOON, JAMES E         2728 FIVE FORKS TRICKUM RD                                                             LAWRENCEVILLE      GA   30044‐5865
MOON, JAMES R         1448 N EUCLID AVE                                                                      DAYTON             OH   45406‐5920
MOON, JAMES R         7220 N STATE ROAD 135                                                                  MORGANTOWN         IN   46160‐8819
MOON, JAMIE
MOON, JANET L         1635 HERON DR S                                                                        LORIDA             FL   33857‐9753
MOON, JASPER          6211 BROMLEY CT                                                                        WEST BLOOMFIELD    MI   48322‐3242
MOON, JEAN A          3420 MELODY LN W                                                                       KOKOMO             IN   46902‐3946
MOON, JEFFREY R       2810 LEYBURN CT                                                                        LANSING            MI   48911‐2945
MOON, JERRY E         139 HAMMOND ST                                                                         MARTINSVILLE       IN   46151
MOON, JERRY L         4320 W 30TH ST                                                                         INDIANAPOLIS       IN   46222‐4716
MOON, JIMMY S         1635 HERON DR S                                                                        LORIDA             FL   33857
MOON, JOHN W          5020 TRENTWOOD CT                                                                      COLUMBUS           IN   47281‐8760
MOON, JOHNNY R        182 OAKVIEW CIR                                                                        WACO               TX   76705‐5104
MOON, JOHNNY V        834 KINGSTON DR                                                                        MANSFIELD          TX   76063‐2657
MOON, JOSEPH J        522 BROADACRE AVE                                                                      CLAWSON            MI   48017‐1587
MOON, JOSEPH S        408 CIRCLE DR                                                                          ARLINGTON          TX   76010‐1325
MOON, JOSEPH W        35610 RIVER PINES CT                                                                   FARMINGTON HILLS   MI   48335‐4655
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Name                Address1                          Address2           Address3         Address4         City               State Zip
MOON, JOSIE I       2055 GLENHURST DR                                                                      SNELLVILLE          GA 30078‐6780
MOON, JUDITH H      447 S 10TH ST                                                                          SHARPSVILLE         PA 16150‐1856
MOON, JUDY          4000 DUNWOODY PARK                APT 4108                                             ATLANTA             GA 30338‐7962
MOON, JULIUS R      286 BARNES CIR                                                                         COMMERCE            GA 30530‐6917
MOON, KENNETH       6603 39TH AVENUE CIR W                                                                 BRADENTON           FL 34209‐7631
MOON, LARRY M       602 RIVER BEND CIR SW                                                                  SMYRNA              GA 30082‐2923
MOON, LEO G         212184 SATTLLITE WAY                                                                   ELLENWOOD           GA 30294
MOON, LOTHER W      1537 JOBEY GREEN HOLLOW RD                                                             SEVIERVILLE         TN 37876‐2653
MOON, LUANN         38157 CHARWOOD DR                                                                      STERLING HEIGHTS    MI 48312‐1224
MOON, LYLE K        222 E NEWARK RD                                                                        LAPEER              MI 48446‐9408
MOON, MACK A        P.O. BOX 3071 E BECKLEY STATION                                                        BECKLEY             WV 25801‐1761
MOON, MACK A        PO BOX 3071                                                                            BECKLEY             WV 25801‐1761
MOON, MACK A        PO BOX 172                                                                             NEW BROCKTON        AL 36351‐0172
MOON, MADGE A       4282 GUN BARREL RD                C/O MARY MOON                                        DELEVAN             NY 14042‐9731
MOON, MAGGIE L      5889 HIGHWAY 20                                                                        LOGANVILLE          GA 30052‐4635
MOON, MAGGIE L      5889 HWY 20                                                                            LOGANVILLE          GA 30052‐4635
MOON, MARGARET J    431 PAMELA COURT                                                                       YOUNGSTOWN          OH 44514
MOON, MARGARET J    431 PAMELA CT                                                                          YOUNGSTOWN          OH 44514‐2035
MOON, MARI HUTSON   4076 FIDDLERS WAY                                                                      HOLLAND             MI 49423‐8813
MOON, MARIE         3388 VAN HORN RD APT 211                                                               TRENTON             MI 48183‐4029
MOON, MARISA MARY
MOON, MARTIN C      706 W OHIO ST                                                                          BAY CITY           MI   48706‐4261
MOON, MARY          13660 PEARSON ST                                                                       OAK PARK           MI   48237‐2760
MOON, MARY J        4331 BRIDGESIDE PL                                                                     NEW ALBANY         OH   43054‐7053
MOON, MARY J        204 MARION DR                                                                          JEFFERSON          GA   30549‐1396
MOON, MAX Y         1 KEAHOLE PL APT 1205                                                                  HONOLULU           HI   96825‐3420
MOON, MAYNARD D     1060 E MAPLE RAPIDS RD                                                                 SAINT JOHNS        MI   48879‐8421
MOON, MELVIN M      PO BOX 1050                                                                            WINDER             GA   30680‐1050
MOON, MILDRED L     1537 JOBEY GREEN HOLLOW RD                                                             SEVIERVILLE        TN   37876‐2653
MOON, MILDRED P     PO BOX 82735                                                                           CONYERS            GA   30013‐9440
MOON, MONICA D      3543 W HILLCREST AVE                                                                   DAYTON             OH   45406
MOON, NORMA J       1211 N ELEANOR                                                                         INDIANAPOLIS       IN   46214‐3442
MOON, PEARL         903 REDLAND DR                                                                         MC LEANSVILLE      NC   27301‐9271
MOON, PEARL         4913 WAINWRIGHT                                                                        LANSING            MI   48911‐2852
MOON, PETER A       1323 COLLAR PRICE RD                                                                   HUBBARD            OH   44425‐2914
MOON, PHILLIP       1328 LAKESIDE TRL                                                                      MARTIN             GA   30557‐5049
MOON, PHILLIP P     740 N RIVER RD                                                                         SAGINAW            MI   48609‐6826
MOON, PHYLLIS       73‐83 HIGHLAND AVE APT 6‐K                                                             YONKERS            NY   10705
MOON, PRESTON N     3083‐FARM RD 994                                                                       NAPLES             TX   75568
MOON, RANDALL C     2832 CRABAPPLE LN                                                                      DACULA             GA   30019‐1048
MOON, RICHARD       PO BOX 1017                                                                            SUFFERN            NY   10901‐8517
MOON, RICHARD D     1736 W 1250 N                                                                          BURNETTSVILLE      IN   47926‐8107
MOON, RICHARD H     3876 HARTWELL RD                                                                       SARANAC            MI   48881‐9739
MOON, RICHARD K     3206 ELWOOD AVE SW                                                                     GRANDVILLE         MI   49418‐1623
MOON, RICHARD K     11301 KILARNEY DR                                                                      WASHINGTON         MI   48095‐2512
MOON, RICHARD L     1211 N ELEANOR ST                                                                      INDIANAPOLIS       IN   46214‐3442
MOON, RICHARD R     717 15TH AVE                                                                           MIDDLETOWN         OH   45044‐5618
MOON, RICK D        30 HUNTER DRIVE                                                                        COLUMBIANA         OH   44408
MOON, ROBERT C      6465 SCOTT DR                                                                          BROOK PARK         OH   44142‐3450
MOON, ROBERT D      1300 COKE DR                                                                           ARLINGTON          TX   76010‐1912
MOON, ROBERT E      4331 BRIDGESIDE PL                                                                     NEW ALBANY         OH   43054‐7053
MOON, ROBERT H      609 CRANE ST                                                                           SEBRING            FL   33872‐3712
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Name                     Address1                         Address2                          Address3   Address4         City               State Zip
MOON, ROBERT L           6500 MOCELLA S                                                                                 NOBLE               OK 73068‐5457
MOON, ROBERT W           5889 HIGHWAY 20                                                                                LOGANVILLE          GA 30052‐4635
MOON, RON L              1259‐1BRUNAWAY BAY DR                                                                          LANSING             MI 48917
MOON, RONALD R           235 GASLIGHT LN                                                                                SAGINAW             MI 48609‐9435
MOON, ROSEMARY           6465 SCOTT DR                                                                                  BROOKPARK           OH 44142‐3450
MOON, RUTH A             650 ROYAL OAK DRIVE NORTH                                                                      WINTER GARDEN       FL 34787‐4787
MOON, RUTH I             1055 LITTLE TURTLE                                                                             HUNTINGTON          IN 46750‐4154
MOON, SARAH E            605 DOGWOOD TRAIL                                                                              DALLAS              GA 30157‐9217
MOON, SARAH E            605 DOGWOOD TRL                                                                                DALLAS              GA 30157‐9217
MOON, SHANITA M          15 SPARKS ST                                                                                   TROTWOOD            OH 45426‐3014
MOON, SHARON             LAICHE BARRY RAY                 HIBERNIA NATIONAL BANK BUILDING                               ALEXANDRIA          LA 71301
                                                          ‐ 934 THIRD STREET ‐ 8TH FL

MOON, SOLOMA C           PO BOX 377                                                                                     DALEVILLE          IN   47334‐0377
MOON, SONG Y             1091 COVINGTON PLACE DR                                                                        ROCHESTER HILLS    MI   48309‐3744
MOON, SONG YI            1091 COVINGTON PLACE DR                                                                        ROCHESTER HILLS    MI   48309‐3744
MOON, STEPHEN A          9300 WEBSTER RD                                                                                FREELAND           MI   48623‐8603
MOON, STEPHEN M          307 LOOKOUT DR                                                                                 COLUMBIA           TN   38401‐6145
MOON, STEPHEN R          725 ROBINGLEN CT                                                                               COLORADO SPRINGS   CO   80906‐6809
MOON, STEVEN L           1310 MARK TWAIN DR                                                                             LANSING            MI   48911‐4814
MOON, SUNGHAE            7832 VALLEYFIELD DR                                                                            SPRINGFIELD        VA   22153‐4119
MOON, TERRI T            6211 BROMLEY CT                                                                                W BLOOMFIELD       MI   48322‐3242
MOON, TERRIACE K         3841 JOHNSON DR                                                                                SNELLVILLE         GA   30039‐6950
MOON, TERRY W            7720 SMITH FARM RD                                                                             CUMMING            GA   30028
MOON, THEODORE JR
MOON, THOMAS             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD         OH 44067
                                                          PROFESSIONAL BLDG
MOON, THOMAS A           4789 LOCUST AVE                                                                                NEWAYGO            MI   49337‐9038
MOON, THOMAS J           13625 PINE REACH DR                                                                            CHESTERFIELD       VA   23832‐2743
MOON, THOMAS W           1087 COLONIAL CIRCLE                                                                           LEBANON            OH   45036‐8458
MOON, TOMMY L            5426 WINDFERN CT                                                                               STONE MTN          GA   30088‐3330
MOON, TOMMY LEE          5426 WINDFERN CT                                                                               STONE MTN          GA   30088‐3330
MOON, TRACY L            2511 N AVERILL AVE                                                                             FLINT              MI   48506‐3009
MOON, VANCE L            PO BOX 213                                                                                     FLUSHING           MI   48433
MOON, VELMA M            131 3RD AVE N W                                                                                CARMEL             IN   46032‐1731
MOON, VELMA M            131 3RD AVE NW                                                                                 CARMEL             IN   46032‐1731
MOON, VIRGIL M           1133 YEOMAN ST LOT 4                                                                           IONIA              MI   48846
MOON, WALLY N            3918 FRISCO CIR                                                                                GRANBURY           TX   76048‐6275
MOON, WALTER M           3284 ROSEBUD RD                                                                                LOGANVILLE         GA   30052‐2427
MOON, WILLIAM B          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
MOON, WILLIAM H          1461 NICHOLS RD                                                                                SWARTZ CREEK       MI   48473‐9750
MOON, WILLIAM L          204 PLANTATION RD SW                                                                           SMYRNA             GA   30082‐3045
MOON, WILLIAM R          3606 QUINCY DR                                                                                 ANDERSON           IN   46011‐4745
MOONAN, DIANA            120 MOORMAN DR APT 250                                                                         BUFFALO            NY   14225‐3758
MOONBEAM COUNTRY STORE
MOONDA                   950 WINDHAM COURT ST 1                                                                         BOARDMAN           OH   44512
MOONEN, EUGENE H         1920 WOODLAND DR                                                                               CALEDONIA          WI   53108‐9718
MOONEN, LEE B            6397 WOODCREST RIDGE                                                                           CLARKSTON          MI   48346‐3048
MOONEN, NANCY            12302 RIVERVIEW RD                                                                             EDEN PRAIRIE       MN   55347‐4603
MOONEN, THOMAS M         1132 BALD EAGLE LN                                                                             INDIAN RIVER       MI   49749‐9614
MOONEN, TRACIE L         5383 WILD DAISY CT                                                                             CLARKSTON          MI   48346‐4984
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Name                              Address1                          Address2                         Address3   Address4         City              State Zip
MOONEY & GILBOE                   30800 TELEGRAPH RD STE 2980                                                                    BINGHAM FARMS      MI 48025‐5717
MOONEY BARTLEY (407266)           ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                          NEW YORK           NY 10006‐1638
MOONEY EDWARD                     51 SAGEWOOD DRIVE                                                                              MALVERN            PA 19355‐2234
MOONEY FRANCES                    6018 CHESTERBROOK RD                                                                           MC LEAN            VA 22101‐3210
MOONEY J W (ESTATE OF) (658445)   WISE & JULIAN                     156 N MAIN STREET STOP 1                                     EDWARDSVILLE        IL 62025‐1972
MOONEY JR, ALBERT K               W358N6733 W STONEWOOD DR                                                                       OCONOMOWOC         WI 53066‐6206
MOONEY JR, JAMES T                83 MOCKINGBIRD DR                                                                              MONTICELLO         GA 31064‐9259
MOONEY JR, NALIS R                178 OLD BUCKTOWN RD                                                                            ELLIJAY            GA 30536‐7132
MOONEY JR, OWEN G                 6076 KINGS SHIRE RD                                                                            GRAND BLANC        MI 48439‐8624
MOONEY JR, PAUL A                 183 FOX RIDGE DR                                                                               MURFREESBORO       TN 37128‐4531
MOONEY LENWOOD                    MOONEY, LENWOOD                   1915 N DALE MABRY HWY STE 303                                TAMPA              FL 33607‐2530
MOONEY LUKE                       13214 GEORGE ST                                                                                FARMERS BRANCH     TX 75234‐5205
MOONEY MYRON H JR                 MOONEY, MYRON H                   100 CENTURY PKWY STE 305                                     MOUNT LAUREL       NJ 08054‐1182
MOONEY PAMELA W                   MOONEY, PAMELA W                  200 JEFFERSON AVE STE 1250                                   MEMPHIS            TN 38103‐2357
MOONEY ROBERT J (495059)          EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                      NEW YORK           NY 10017‐6530
MOONEY TED (504551)               BARON & BUDD                      3102 OAK LANE AVE , SUITE 1100                               DALLAS             TX 75219
MOONEY, ALBERT K                  16 W HANNUM BLVD                                                                               SAGINAW            MI 48602‐1911
MOONEY, AMY N                     411 S MAIN ST                                                                                  GAINESBORO         TN 38562‐9338
MOONEY, ANNA M                    12 EARHART PL                                                                                  KETTERING          OH 45420‐2915
MOONEY, ANNA M                    12 EARHART PLACE                                                                               KETTERING          OH 45420‐2915
MOONEY, ANNA R                    406 ROBBE ST                                                                                   BELLVIEW           MI 48111‐2744
MOONEY, ANNA R                    406 ROBBE AVE                                                                                  BELLEVILLE         MI 48111‐2744
MOONEY, ANTHONY G                 4219 BRANDY LN SE                                                                              CONYERS            GA 30013‐3075
MOONEY, ARTHUR CLEO               BOONE ALEXANDRA                   205 LINDA DR                                                 DAINGERFIELD       TX 75638‐2107
MOONEY, BARTLEY                   ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                          NEW YORK           NY 10006‐1638
MOONEY, BRIAN H                   1234 W COMMERCE RD                                                                             MILFORD            MI 48380‐3668
MOONEY, BRUCE F                   12 DOGWOOD LN                                                                                  COCHRANVILLE       PA 19330‐1705
MOONEY, CARLOS                    GUY WILLIAM S                     PO BOX 509                                                   MCCOMB             MS 39649‐0509
MOONEY, CAROL D                   11049 OAK RD                                                                                   OTISVILLE          MI 48463‐9724
MOONEY, CAROL DIANE               11049 OAK RD                                                                                   OTISVILLE          MI 48463‐9724
MOONEY, CAROLYN C                 5110 BUCKSNORT RD                                                                              FRANKLIN           TX 77856‐3652
MOONEY, CATHERINE T               121 DEER RUN                                                                                   PEARL              MS 39208‐6625
MOONEY, CHRISTINE A               56383 HAYES RD                                                                                 SHELBY TOWNSHIP    MI 48315‐6507
MOONEY, CLAYTON D                 118 S MAPLE ST                                                                                 SWEET SPRINGS      MO 65351
MOONEY, CONNIE                    1677 N 800 W                                                                                   ROCHESTER          IN 46975‐8884
MOONEY, DAVID M                   1475 WERTH DR                                                                                  ROCHESTER          MI 48306
MOONEY, DAVID MICHAEL             5314 WESTERN RD                                                                                FLINT              MI 48506‐1358
MOONEY, DAVID W                   1602 THUNDERBIRD LN APT 49                                                                     WEST CARROLLTON    OH 45449‐2576
MOONEY, DENNIS M                  20983 MAYBURY PARK DR                                                                          NORTHVILLE         MI 48167‐0168
MOONEY, DIANNA C                  905 S WILLOW ST                                                                                FLORA              IN 46929‐1527
MOONEY, ELIZABETH A               14224 SW 112TH CIR                                                                             DUNNELLON          FL 34432‐8777
MOONEY, ESTHER                    6250 W COURT ST                                                                                FLINT              MI 48532‐3245
MOONEY, FRANCIS B                 2861 KINGS RUN RD                                                                              SHINGLEHOUSE       PA 16748‐3523
MOONEY, GARY L                    4311 CLARK ST                                                                                  ANDERSON           IN 46013‐2421
MOONEY, GARY L                    2078 PERSONS ST                                                                                MONTICELLO         GA 31064
MOONEY, GARY R                    14244 S. CHOLLA CRYS DR                                                                        PHOENIX            AZ 85044
MOONEY, GEARLDINE S               1095 LUCHARLES AVE                                                                             MOUNT MORRIS       MI 48458‐2114
MOONEY, GEORGE H                  1893 GLENHAVEN CIR                                                                             DECATUR            GA 30035‐1714
MOONEY, GERALD E                  6293 RIVER RD                                                                                  FLUSHING           MI 48433‐2565
MOONEY, GLADYS C                  707 UPPER WOOLSEY RD                                                                           HAMPTON            GA 30228‐1806
MOONEY, GRACE A                   427 BELMONT AVE                                                                                NILES              OH 44446‐3015
MOONEY, HAE                       303 SMITH ST                      APT 320                                                      CLIO               MI 48420‐2003
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Name                     Address1                            Address2                     Address3   Address4         City              State Zip
MOONEY, HARVEY N         1437 OLD PEACHTREE RD NW                                                                     SUWANEE            GA 30024‐2014
MOONEY, HESTER           4385 PAW PAW RD                                                                              HURLEY             VA 24620
MOONEY, I M              4274 SUGAR MAPLE LN                                                                          OKEMOS             MI 48864‐3225
MOONEY, J W              C/O GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                            EDWARDSVILLE        IL 62025
MOONEY, JACK L           4106 WILLOW RUN DR                                                                           BEAVERCREEK        OH 45430‐1529
MOONEY, JAMES A          2440 E HALE ST                                                                               MESA               AZ 85213‐4102
MOONEY, JAMES S          404 HARVEY ST                                                                                RADFORD            VA 24141‐2328
MOONEY, JAMES S          16254 W DESERT CANYON DR                                                                     SURPRISE           AZ 85374‐5128
MOONEY, JANET L          22104 N OLD MINE RD                                                                          SUN CITY WEST      AZ 85375‐2061
MOONEY, JEAN V           18218 PARADISE MOUNTAIN RD SPC 95                                                            VALLEY CENTER      CA 92082‐7010
MOONEY, JOHN             ICO THE LANIER LAW FIRM PC          6810 FM 1960 WEST                                        HOUSTON            TX 77069
MOONEY, JOHN B           9885 HOLLY ST                                                                                MICCO              FL 32976‐3101
MOONEY, JOHN E           105 WILMINGTON AVE                                                                           TONAWANDA          NY 14150‐8723
MOONEY, JOHN J           9639 ADELAIDE CIR                                                                            HIGHLANDS RANCH    CO 80130‐6814
MOONEY, JOSEPH D         3455 FARMERS ACADEMY RD                                                                      CARNESVILLE        GA 30521‐2402
MOONEY, JOSEPH R         161 BANCROFT DR                                                                              ROCHESTER          NY 14616‐2906
MOONEY, JOSHUA C         123 HOPE BAPTIST CHURCH RD                                                                   TALMO              GA 30575‐1471
MOONEY, JULIANA          1710 WEST AVE NW                                                                             WARREN             OH 44483
MOONEY, KENNETH E        11037 JACKSON ST                                                                             TAYLOR             MI 48180‐4336
MOONEY, LARRY D          1043 S 49TH DR                                                                               KANSAS CITY        KS 66106‐1717
MOONEY, LARRY D          737 HIGHWAY KK                                                                               TROY               MO 63379‐6607
MOONEY, LARRY D          4918 WEST KAMERLING AVENUE                                                                   CHICAGO             IL 60651‐1533
MOONEY, LENWOOD          CONSUMER LEGAL SERVICES PC          4707 W GANDY BLVD STE 8                                  TAMPA              FL 33611‐3310
MOONEY, LYNANN           709 NORTH BRIARCLIFF DRIVE                                                                   OKLAHOMA CITY      OK 73170‐1224
MOONEY, MARGARET M       5235 ROBINHOOD RD                                                                            CHARLOTTE          NC 28211‐4164
MOONEY, MARIA A          335 MAPLE LN                                                                                 MANSFIELD          OH 44906‐2745
MOONEY, MARIA A          335 MAPLE LANE                                                                               MANSFIELD          OH 44906‐2745
MOONEY, MARK P           2339 POWERS AVE NW                                                                           GRAND RAPIDS       MI 49544‐1861
MOONEY, MARK P.          2339 POWERS AVE NW                                                                           GRAND RAPIDS       MI 49544‐1861
MOONEY, MARY             1570 WINTON ROAD SOUTH                                                                       ROCHESTER          NY 14618‐3910
MOONEY, MARY             1570 WINTON RD S                                                                             ROCHESTER          NY 14618‐3910
MOONEY, MARY A           5314 WESTERN RD                                                                              FLINT              MI 48506‐1358
MOONEY, MARY J           107 DRIFTWOOD CIR                                                                            PRUDENVILLE        MI 48651‐9403
MOONEY, MICHAEL A        1608 NORTHRIDGE DR                                                                           ARLINGTON          TX 76012‐2247
MOONEY, MICHAEL F        440 SUNSET ST                                                                                COOPERSVILLE       MI 49404‐1015
MOONEY, MICHAEL G        7459 COUNTRY MEADOW DR                                                                       SWARTZ CREEK       MI 48473‐1485
MOONEY, MICHAEL R        3670 HIGHTREE AVE SE                                                                         WARREN             OH 44484‐3730
MOONEY, MICHAEL T        11073 OAKWOOD DR                                                                             BYRON              MI 48418‐9087
MOONEY, MICHAEL THOMAS   11073 OAKWOOD DR                                                                             BYRON              MI 48418‐9087
MOONEY, NANCY D          20983 MAYBURY PARK DR 37                                                                     NORTHVILLE         MI 48167
MOONEY, NICOLE L         7728 CASTLE ROCK DR NORTHEAST                                                                WARREN             OH 44484‐1407
MOONEY, NORMA J          3337 WEATHERED ROCK CIRCLE                                                                   KOKOMO             IN 46902‐6065
MOONEY, OTIS E           2416 SW 141ST TER                                                                            OKLAHOMA CITY      OK 73170‐5755
MOONEY, PAMELA W
MOONEY, PAMELA W         BALLIN BALLIN & FISHMAN PC          200 JEFFERSON AVE STE 1250                               MEMPHIS           TN   38103‐2357
MOONEY, PATRICK J        4560 ROYALTON CENTER RD                                                                      GASPORT           NY   14067‐9340
MOONEY, PATRICK S        123 N ELIZABETH ST                                                                           BELLEVUE          MI   49021‐1005
MOONEY, PETER J          2534 WENONA DR                                                                               WIXOM             MI   48393‐2156
MOONEY, RAYMOND E        1710 N MARKET ST                                                                             KOKOMO            IN   46901‐2368
MOONEY, RICHARD A        4217 CLARK ST                                                                                ANDERSON          IN   46013‐2419
MOONEY, RITA J           10401 W MOUNT MORRIS RD                                                                      FLUSHING          MI   48433‐9244
MOONEY, ROBERT           400 NASSAU ST                                                                                PRINCETON         NJ   08540‐4606
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Name                       Address1                            Address2                        Address3   Address4         City               State Zip
MOONEY, ROBERT F           427 BELMONT AVE                                                                                 NILES               OH 44446‐3015
MOONEY, ROBERT J           EARLY LUDWICK SWEENEY & STRAUSS     360 LEXINGTON AVE FL 20                                     NEW YORK            NY 10017‐6530
MOONEY, ROBERTA M          417 W WALNUT ST                                                                                 GREENTOWN           IN 46936‐1435
MOONEY, RONALD L           4503 MCDOWELL RD                                                                                LAPEER              MI 48446‐9070
MOONEY, RONALD P           4364 BENNETT DR                                                                                 BURTON              MI 48519‐1112
MOONEY, RUBY D             601 NORTHLAND DR APT 4                                                                          CAMERON             MO 64429‐1310
MOONEY, RUBY D             601 NORTH LAND DR                   APT 4                                                       CAMERON             MO 64429
MOONEY, RYAN P             427 BELMONT AVE                                                                                 NILES               OH 44446‐3015
MOONEY, SCOTT M            PO BOX 97                           11535 WEST US 10                                            BRANCH              MI 49402‐0097
MOONEY, SEAN M             11073 OAKWOOD DR                                                                                BYRON               MI 48418‐9087
MOONEY, STEVEN E           809 JEFF DR                                                                                     KOKOMO              IN 46901‐3771
MOONEY, STEVEN P           410 CHICKASAW DR                                                                                WEST MONROE         LA 71291‐2320
MOONEY, STEVEN PRESTON     410 CHICKASAW DR                                                                                WEST MONROE         LA 71291‐2320
MOONEY, SUSAN M            18840 JAMESTOWN CIR                                                                             NORTHVILLE          MI 48168‐1839
MOONEY, TED                BARON & BUDD                        3102 OAK LANE AVE, SUITE 1100                               DALLAS              TX 75219
MOONEY, TERRY A            955 SALISBURY AVE                                                                               FLINT               MI 48532‐3860
MOONEY, TERRY ALLAN        955 SALISBURY AVE                                                                               FLINT               MI 48532‐3860
MOONEY, THEORATIS          281 RAINBOW BLVD                                                                                INDIANAPOLIS        IN 46234‐9715
MOONEY, THOMAS T           2315 CHEYENNE RD                                                                                SMYRNA              SC 29743‐9786
MOONEY, THOMAS W           493 RIDDLE RD                                                                                   MOUNT HEALTHY       OH 45231‐2745
MOONEY, TIMM M             9175 TODDSWAY DR 11                                                                             BRIGHTON            MI 48114
MOONEY, TODD M             1411 N LAKESHORE DR                                                                             MARION              IN 46952‐1400
MOONEY, TODD S             1191 BARBER CREEK RD                                                                            STATHAM             GA 30666‐3108
MOONEY, TONY W             14402 MARINA SAN PABLO PL APT 503                                                               JACKSONVILLE        FL 32224‐0823
MOONEY, WILLIAM            25966 RIDGEWOOD DR                                                                              FARMINGTON HILLS    MI 48336‐1061
MOONEY, WILLIAM A          4688 US ROUTE 322                                                                               WILLIAMSFIELD       OH 44093‐9716
MOONEY, WILLIAM E          1000 CARDINAL RIDGE RD                                                                          BURLESON            TX 76028‐4952
MOONEY, WILLIAM K          11049 OAK RD                                                                                    OTISVILLE           MI 48463‐9724
MOONEY, WILLIAM KEITH      11049 OAK RD                                                                                    OTISVILLE           MI 48463‐9724
MOONEY, WILLIAM T          4705 LOWER JERSEY RD SE                                                                         OXFORD              GA 30054‐3109
MOONEY‐NASON, JOYCE A      214 ALMAND LN                                                                                   WASKOM              TX 75692
MOONEYHAM, CARRIE M        571 INWOOD DR                                                                                   SANTA BARBARA       CA 93111
MOONEYHAM, LEONARD L       621 W LOCUST ST                                                                                 PARAGOULD           AR 72450‐5156
MOONEYHAM, LESLIE L        4699 CORDELL DR                                                                                 DAYTON              OH 45439‐3004
MOONEYHAM, LUKE C          1794 S LEATHERWOOD RD                                                                           BEDFORD             IN 47421‐8861
MOONEYHAM, M G             6983 ROCKLAND RD                                                                                LITHONIA            GA 30038‐3211
MOONEYHAN'S AUTO SERVICE   1224 B AVE                                                                                      WEST COLUMBIA       SC 29169‐6302
MOONEYHAN, ERNEST R        419 S 600 W                                                                                     MARION              IN 46953‐9379
MOONEYHAN, JEFFERY A       PO BOX 114                                                                                      PARK CITY           KY 42160‐0114
MOONEYHAN, JEFFERY ALLEN   PO BOX 114                                                                                      PARK CITY           KY 42160‐0114
MOONEYHAN, TED J           1300 W 1ST ST                                                                                   MUNCIE              IN 47305‐2107
MOONEYHAN, TED JOHN        1300 W 1ST ST                                                                                   MUNCIE              IN 47305‐2107
MOONEYHAN, THEODORE J      8001 W 1000 S                                                                                   MODOC               IN 47358‐9606
MOONIER, RENEE A           815 PEBBLE LN                                                                                   FLORISSANT          MO 63033
MOONINGHAM, ADAM
MOONLIGHTING               ATTN: RICHARD SWOVELAND             PO BOX 1365                                                 GRAND RAPIDS       MI   49501‐1365
MOONLINK SATELLITE INC     2716 BALSAM WAY DR                                                                              STERLING HEIGHTS   MI   48314‐3876
MOONROOF CORP.             PAUL TORRES                         28117 GROESBECK HWY                                         ROSEVILLE          MI   48066‐2344
MOONROOF/ROSEVILLE         28117 GROESBECK HWY                                                                             ROSEVILLE          MI   48066‐2344
MOONYEEN C WITTHUHN        4828 RUSSELL RD                                                                                 NEWAYGO            MI   49337‐8701
MOONYEEN WITTHUHN          4828 RUSSELL RD                                                                                 NEWAYGO            MI   49337‐8701
MOOR, ALAN B               13769 STONE DR                                                                                  CARMEL             IN   46032‐9412
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Name                                Address1                          Address2                        Address3   Address4         City            State Zip
MOOR, ANN F                         1205 SOUTH ST                                                                                 FREMONT          OH 43420‐3329
MOOR, DONALD L                      1205 SOUTH ST                                                                                 FREMONT          OH 43420‐3329
MOOR, JAMES A                       4010 HOUSEL CRAFT RD.                                                                         W. FARMINGTON    OH 44491‐9758
MOOR, MARLENE R                     18643 HOSMER MILL RD                                                                          COVINGTON        LA 70435‐7625
MOOR, MAURICE B                     4729 STONEHAVEN DR                                                                            COLUMBUS         OH 43220‐2889
MOOR, THOMAS J                      228 W HIGH ST                                                                                 GREENTOWN        IN 46936
MOOR, WILLIAM S                     10334 LAFAYETTE LN                                                                            DIMONDALE        MI 48821‐9426
MOORADIAN, ANDREW V                 3754 TARA DR                                                                                  HIGHLAND         MI 48356‐1765
MOORADIAN, ANTHONY                  14 THAVER ST                                                                                  UPTON            MA 01568‐1030
MOORADIAN, BAHZAR                   15151 PENNSYLVANIA AVE                                                                        ALLEN PARK       MI 48101‐3700
MOORADIAN, GERTRUDE                 784 COACHMAN DR APT 1                                                                         TROY             MI 48083‐1553
MOORADIAN, H
MOORADIAN, HAGOP                    23463 SAWGRASS CT S                                                                           SOUTH LYON      MI   48178‐9479
MOORADIAN, JOHN                     38 GROVE ST                                                                                   MILFORD         MA   01757‐3368
MOORADIAN, JOHN H                   126 BEAVER ST APT 94                                                                          FRAMINGHAM      MA   01702‐7035
MOORADIAN, MICHAEL                  15151 PENNSYLVANIA AVE                                                                        ALLEN PARK      MI   48101‐3700
MOORADIAN, RITSI                    15201 CLEARWATER TRL APT 1                                                                    CHESTERFIELD    VA   23832
MOORADIAN, SYDNEY R                 621 N GOODRICH DR                                                                             DELTONA         FL   32725‐3559
MOORADIAN, YVONNE                   4713 WEDDELL ST                                                                               DEARBORN HTS    MI   48125‐3033
MOORADIAN, YVONNE                   4713 WEDDEL                                                                                   DEARBORN HTS    MI   48125‐3033
MOORBY, RALPH D                     40 MARION ST                                                                                  PITTSBURGH      PA   15205‐3349
MOORE                               900 BUFFALO AVE                                                                               NIAGARA FALLS   NY   14303‐1327
MOORE & CO PC MNY PRENSE PL         TIMOTHY MOORE TRUSTEE             2603 AUGUSTA STE 1100                                       HOUSTON         TX   77057‐5638
MOORE & PATRON                      315 PINE ST                                                                                   MONROE          LA   71201‐6225
MOORE & PATRON GOODYEAR             1514 LOUISVILLE AVE                                                                           MONROE          LA   71201‐6026
MOORE & PATRON GOODYEAR             207 WARREN DR                                                                                 WEST MONROE     LA   71291‐7258
MOORE & VAN ALLEN PLLC              100 N TRYON ST FL 47                                                                          CHARLOTTE       NC   28202
MOORE & VAN ALLEN PLLC              1 HANOVER SQUARE STE 1700                                                                     RALEIGH         NC   27611
MOORE ADAM                          20454 IVOR ROAD                                                                               COURTLAND       VA   23837‐2708
MOORE ALBERT (ESTATE OF) (489158)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
                                                                      PROFESSIONAL BLDG
MOORE ALFRED                        49 BULLFINCH COURT                                                                            MAGNOLIA        DE   19962‐2825
MOORE ANNETTE                       6718 ANTHEM DR                                                                                CHARLESTOWN     IN   47111‐8962
MOORE ANTHONY                       131 N MAIN ST                                                                                 CRANBURY        NJ   08512‐3319
MOORE ANTHONY (306225)              JENSEN ZAMLER MELLEN & SHIFFMAN   23077 GREENFIELD RD STE 557                                 SOUTHFIELD      MI   48075‐3727
MOORE ARVELLA                       MOORE, ARVELLA                    1010 LARMAR STE #1600                                       HOUSTON         TX   77002
MOORE ARVELLA                       MOORE, JAMES PATRICK              1010 LAMAR SUITE 1600                                       HOUSTON         TX   77002
MOORE ARVELLA                       MOORE, MARILYN                    1010 LAMAR SUITE 1600                                       HOUSTON         TX   77002
MOORE ARVELLA                       SIMPSON, MARSHA                   1010 LAMAR SUITE 1600                                       HOUSTON         TX   77002
MOORE ASHLEY                        MOORE, ASHLEY                     1919 S NEBRASKA ST                                          MARION          IN   46953‐3044
MOORE AUTO GROUP BOB                MOORE AUTO GROUP INC BOB
MOORE AUTO GROUP DBA HALL CHEV‐     314 6TH ST                                                                                    PROSSER         WA 99350‐1160
BUICK CO
MOORE AUTO GROUP, LLC               KATHRYN MOORE                     314 6TH ST                                                  PROSSER         WA   99350‐1160
MOORE BENJAMIN III                  MOORE, BENJAMIN                   5975 W SUNRISE BLVD STE 215                                 PLANTATION      FL   33313‐6813
MOORE BENJAMIN III                  MOORE, CARMELA                    5975 W SUNRISE BLVD STE 215                                 PLANTATION      FL   33313‐6813
MOORE BETTY                         7403 CHELLMAR DR                                                                              LANSING         MI   48917‐9100
MOORE BEVERLY JO                    160 BASS ST                                                                                   VANCEBORO       NC   28586‐7600
MOORE BILL                          805 LEPRECHAUN LN                                                                             PAPILLION       NE   68046‐2111
MOORE BOBBIE (ESTATE OF) (492084)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
                                                                      PROFESSIONAL BLDG
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Name                                  Address1                          Address2                         Address3    Address4         City               State Zip
MOORE BOBBIE (ESTATE OF) (493059)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD          OH 44067
                                                                        PROFESSIONAL BLDG
MOORE BRIDGET                         MOORE, BRIDGET                    2015 102 AVE                                                  COON RAPIDS        MN    55433
MOORE BROTHERS ELECTRIC CO INC        PO BOX 90052                                                                                    BURTON             MI    48509
MOORE BROTHERS ELECTRIC CO INC        PO BOX 90062                                                                                    BURTON             MI    48509‐0062
MOORE BUICK CORPORATION               JOHN MOORE                        15500 LOS GATOS BLVD                                          LOS GATOS          CA    95032‐2511
MOORE BUICK‐PONTIAC‐GMC TRUCK         15500 LOS GATOS BLVD                                                                            LOS GATOS          CA    95032‐2511
MOORE BUICK‐PONTIAC‐GMC TRUCK, INC.   2445 N MARINE BLVD                                                                              JACKSONVILLE       NC    28546‐6929

MOORE BUICK‐PONTIAC‐GMC TRUCK, INC. C. DONALD WILLIAMSON                2445 N MARINE BLVD                                            JACKSONVILLE       NC 28546‐6929

MOORE BUSINESS FORMS                  1205 MILWAUKEE AVE                                                                              GLENVIEW           IL    60025‐2425
MOORE BUSINESS FORMS INC              4304 FLAGSTAFF CV                                                                               FORT WAYNE         IN    46815‐4416
MOORE CAD HUMMER OF DULLES LLC                                                                                                        CHANTILLY          VA    20152
MOORE CADILLAC COMPANY                JACQUES MOORE                     9177 W BROAD ST                                               RICHMOND           VA    23294‐5808
MOORE CADILLAC COMPANY                9177 W BROAD ST                                                                                 RICHMOND           VA    23294‐5808
MOORE CADILLAC HUMMER                 25440 PLEASANT VALLEY RD                                                                        CHANTILLY          VA    20152‐1307
MOORE CADILLAC HUMMER OF DULLES       JACQUES MOORE                     25440 PLEASANT VALLEY RD                                      CHANTILLY          VA    20152‐1307
LLC
MOORE CADILLAC HUMMER OF DULLES       25440 PLEASANT VALLEY RD                                                                        CHANTILLY          VA 20152‐1307
LLC
MOORE CADILLAC INC                    14116 MANCHESTER RD                                                                             BALLLWIN           MO 63011‐4523
MOORE CARL J (429488)                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                        STREET, SUITE 600
MOORE CARL L (456455)                 SKAGGS JOHN H                     405 CAPITOL STREET ‐ SUITE 607                                CHARLESTON         WV    25301
MOORE CARL WILLIAM                    MOORE, CARL WILLIAM               1304 PARAMORE RD,                                             DOTHAN             AL    36303
MOORE CAROL                           1727 OROVILLE CHICO HWY                                                                         DURHAM             CA    95938‐9710
MOORE CAROLYN E                       MOORE, CAROLYN E                  4176 LAUREL RD                                                BRUNSWICK          OH    44212
MOORE CHARLES T (494024)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA    23510
                                                                        STREET, SUITE 600
MOORE CHEVROLET OF GILBERT, INC.      1626 W 3RD AVE                                                                                  WILLIAMSON         WV 25661‐3007
MOORE CHEVROLET TOM                   DEAN BUNCH EVERETT BOYD JR        3600 MACLAY BLVD SOUTH           SUITE 202                    TALLAHASSEE        FL 32312
                                      SUTHERLAND ASBILL & BRENNAN
MOORE CHEVROLET, CADILLAC, BUICK, P   500 THOMPSON PLZ                                                                                SOUTH WILLIAMSON   KY    41503‐4016

MOORE CHEVROLET, CADILLAC, BUICK,     500 THOMPSON PLZ                                                                                SOUTH WILLIAMSON   KY    41503‐4016
PONTIAC, GMC
MOORE CHEVROLET, CADILLAC, BUICK,     DANIEL MOORE                      500 THOMPSON PLZ                                              SOUTH WILLIAMSON   KY    41503‐4016
PONTIAC, GMC, INC.
MOORE CHEVROLET, INC.                 BEN MOORE                         909 US 341 S                                                  BARNESVILLE        GA    30204
MOORE CHEVROLET‐BUICK                 909 US 341 S                                                                                    BARNESVILLE        GA    30204
MOORE CHEVROLET‐OLDSMOBILE            1117 FAYETTE ST                                                                                 CONSHOHOCKEN       PA    19428‐1563
MOORE CHRISTOPHER                     10728 N WESTLAKES DR                                                                            FORT WAYNE         IN    46804‐8601
MOORE COLLEGE OF ART AND DESIGN       PO BOX 93                         PAYMENT PROCESSING ONLY                                       DOWNINGTOWN        PA    19335‐0093
MOORE COUNTY TAX ASSESSOR             PO BOX 616                        700 SOUTH BLISS AVENUE                                        DUMAS              TX    79029‐0616
MOORE COY LEE (429489)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA    23510
                                                                        STREET, SUITE 600
MOORE CURTIS RAY (301459)             BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                JACKSONVILLE        FL   32202
                                      MCCLAMMA & YEGELWEL P.A.          BAY STREET
MOORE DALE E (429490)                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                        STREET, SUITE 600
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Name                                  Address1                             Address2                         Address3                   Address4         City            State Zip
MOORE DANIEL (ESTATE OF) (492636)     BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
MOORE DAVID                           10924 APT H POINT S DRIVE                                                                                         CHARLOTTE       NC 28273
MOORE DAVID L                         MOORE, JAMIE L                       JASTROCH & LABARGE S.C.          640 WEST MORELAND BLVD ,                    WAUKESHA        WI 53187‐1487
                                                                                                            P O BOX 1487
MOORE DAVID L                         MOORE, DAVID L                       PO BOX 1487                                                                  WAUKESHA        WI 53187‐1487
MOORE DAVID S (652455)                GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                                   EDWARDSVILLE    IL 62025‐0959
                                      ANTOGNOLI
MOORE DONALD                          MOORE, DONALD                        1801 E 9TH ST STE 1710                                                       CLEVELAND       OH   44114‐3198
MOORE DONALD L (415483)               SIMMONS FIRM                         PO BOX 559                                                                   WOOD RIVER      IL   62095‐0559
MOORE DONNIE GENE                     C/O EDWARD O MOODY PA                801 WEST FOURTH STREET                                                       LITTLE ROCK     AR   72201
MOORE DONOVAN (459213)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK         VA   23510
                                                                           STREET, SUITE 600
MOORE DOROTHY                         4142 JOHNS FARM ROAD                                                                                              ROCKFORD        IL 61101‐8806
MOORE EARL (446469)                   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                               NORTHFIELD      OH 44067
                                                                            PROFESSIONAL BLDG
MOORE EARL (482860)                   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                PITTSBURGH      PA 15219

MOORE EDWARD                          MOORE, EDWARD                        7825 FAY AVE STE 200                                                         LA JOLLA        CA 92037‐4270
MOORE ELLEN                           7402 CHENAL POINT 5/2/07CM                                                                                        SAN ANTONIO     TX 78240
MOORE EMERSON D                       12809 GLADSTONE RD                                                                                                NORTH JACKSON   OH 44451‐9610
MOORE EVRON (ESTATE OF) (508213)      (NO OPPOSING COUNSEL)
MOORE FELTON (650544)                 ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                                                  SOUTHFIELD      MI 48075‐3727
MOORE FERRELL BRADFORD                C/O EDWARD O MOODY PA                801 WEST FOURTH STREET                                                       LITTLE ROCK     AR 72201
MOORE FLOYD (429491)                  GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK         VA 23510
                                                                           STREET, SUITE 600
MOORE FRANKLYN                        MOORE, FRANKLYN                      1024 JEFFERSON ROAD                                                          GREENSBORO      NC 27410‐3657
MOORE GARY                            MOORE, GARY                          2911 DIXWELL AVE STE B‐11                                                    HAMDEN          CT 06518‐3152
MOORE GEORGE C ‐ QDRO                 MOORE ARMSTRONG, MARVA
MOORE GEORGE C ‐ QDRO                 MOORE, GEORGE C
MOORE GEORGE E (ESTATE OF) (655202)   THORNTON EARLY & NAUMES              100 SUMMER ST LBBY 3                                                         BOSTON          MA 02110‐2104

MOORE GERALD                          MOORE, GERALD                        1234 MARKET ST STE 2040                                                      PHILADELPHIA    PA 19107‐3720
MOORE GLENWOOD M (ESTATE OF)          BERGMAN & FROKT                      705 2ND AVE STE 1601                                                         SEATTLE         WA 98104‐1711
(657429)
MOORE GMC TRUCK, INC.                 80 HIGH ST                                                                                                        DANVERS         MA   01923‐3130
MOORE GMC TRUCK, INC.                 ROBERT MOORE                         80 HIGH ST                                                                   DANVERS         MA   01923‐3130
MOORE HELEN A (ESTATE OF) (452650)    SIMMONS FIRM                         PO BOX 559                                                                   WOOD RIVER      IL   62095‐0559
MOORE HENRY (449535)                  ANGELOS PETER G LAW OFFICES          4061 POWDER MILL RD STE 315                                                  BELTSVILLE      MD   20705‐3149
MOORE HERMAN                          1294 DRANKENWEDGE CIRCLE                                                                                          RIVA            MD   21140
MOORE HORACE                          1934 MCPHAIL ST                                                                                                   FLINT           MI   48503‐4328
MOORE HOWARD                          12788 GLADSTONE RD                                                                                                NORTH JACKSON   OH   44451‐9664
MOORE HOWARD L (494026)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK         VA   23510
                                                                           STREET, SUITE 600
MOORE HUDSON JR (652456)              BRAYTON PURCELL                      PO BOX 6169                                                                  NOVATO          CA   94948‐6169
MOORE HUMMER                          9177 W BROAD ST                                                                                                   RICHMOND        VA   23294‐5808
MOORE I I I, ERNEST                   13132 MACKENZIE ST                                                                                                DETROIT         MI   48228‐4013
MOORE I I I, JAMES F                  2607 TRANSIT RD                                                                                                   NEWFANE         NY   14108‐9505
MOORE I I I, JOSEPH                   46672 E BRIARWOOD DR                                                                                              CHESTERFIELD    MI   48051‐2876
MOORE I I, ROBERT C                   6036 COSTEN LN                                                                                                    FORT WORTH      TX   76114‐3134
MOORE I I, ROBERT J                   1543 MILLS RD                                                                                                     PRESCOTT        MI   48756‐9283
MOORE II, NAVERY C                    412 MARTINGALE DR                                                                                                 FRANKLIN        TN   37067‐5016
                                  09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
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Name                              Address1                             Address2                          Address3   Address4         City               State Zip
MOORE II, ROBERT L                74 BROOKHAVEN DR                                                                                   TROTWOOD            OH 45426‐3157
MOORE III, ERNEST                 13132 MACKENZIE ST                                                                                 DETROIT             MI 48228‐4013
MOORE III, JAMES F                2607 TRANSIT RD                                                                                    NEWFANE             NY 14108‐9505
MOORE III, JOSEPH                 46672 E BRIARWOOD DR                                                                               CHESTERFIELD        MI 48051‐2876
MOORE III, PAUL M                 8345 KING WILLIAM ST                                                                               CORDOVA             TN 38016‐5128
MOORE III, RICHARD H              322 NORTHPOINTE CT                                                                                 DANVILLE            IN 46122‐1067
MOORE III, ROBERT                 35 N BRUCE ST                                                                                      YOUNGSTOWN          OH 44506‐1301
MOORE IMPACT/FRANKLI              1909 LASATA DR                                                                                     FRANKLIN            TN 37067‐8135
MOORE IRON WORKS INC              1791 DOWLING DR                                                                                    OWOSSO              MI 48867‐9112
MOORE JACK (661538)               ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                                   SOUTHFIELD          MI 48075‐3727
MOORE JACK (ESTATE OF) (488186)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
MOORE JACK C MD                   2604 EAST SEMINARY DRIVE                                                                           BLOOMINGTON        IN 47401‐7168
MOORE JAMES                       1090 CINCLARE DR                                                                                   PORT ALLEN         LA 70767‐3235
MOORE JAMES (463854)              ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                    BALTIMORE          MD 21202
                                                                       CHARLES CENTER 22ND FLOOR
MOORE JAMES JR                    PO BOX 4947                                                                                        MONROE             LA 71211‐4947
MOORE JAMES P (459214)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MOORE JAMES T (439341)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MOORE JAMES W SR (495374)         COONEY & CONWAY                      120 NORTH LASALLE STREET , 30TH                               CHICAGO             IL   60602
                                                                       FLOOR
MOORE JANE                        373 GOSS DR                                                                                        ASHBURN            GA    31714‐5112
MOORE JASON                       2446 FREITAS WAY                                                                                   FAIRFIELD          CA    94533‐6632
MOORE JEFFERY                     24 RIDGE RD                                                                                        CONCORD            MA    01742‐2618
MOORE JEFFRIE                     MOORE, JEFFRIE                       1118 SUNNYSLOPE DRIVE                                         CINCINNATI         OH    45229
MOORE JENE R (660209)             EARLY LUDWICK SWEENEY & STRAUSS      360 LEXINGTON AVE FL 20                                       NEW YORK           NY    10017‐6530
MOORE JENNIFER                    1934 ADMIRALS WAY                                                                                  FORT LAUDERDALE    FL    33316‐3654
MOORE JERRY (507569)              COON BRENT W                         PO BOX 4905                                                   BEAUMONT           TX    77704‐4905
MOORE JESSE                       16327 KENWOOD AVE                                                                                  SOUTH HOLLAND      IL    60473‐2543
MOORE JOANN                       MOORE, JOANN                         10000 LINCOLN DR E STE 201                                    MARLTON            NJ    08053‐3105
MOORE JOE IV                      MOORE, JOE                           120 WEST MADISON STREET 10TH                                  CHICAGO            IL    60602
                                                                       FLOOR
MOORE JOEL (ESTATE OF) (489159)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD         OH 44067
                                                                       PROFESSIONAL BLDG
MOORE JOHN                        MOORE, JOHN                          5055 WILSHIRE BLVD STE 300                                    LOS ANGELES        CA 90036‐6101
MOORE JOHN (482345)               ANGELOS PETER G                      100 N CHARLES STREET , ONE                                    BALTIMORE          MD 21201
                                                                       CHARLES CENTER
MOORE JOHN A ‐ VA (349213)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MOORE JOHN T (344353)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MOORE JOHNNY                      16577 LESURE ST                                                                                    DETROIT            MI    48235‐4010
MOORE JOSEPH JR (136332)          GREENWOOD JUDY                       1600 MARKET ST                                                PHILADELPHIA       PA    19103
MOORE JR, ADIN B                  27645 BISHOP PARK DRIVE              706 NORTH                                                     WILLOUGHBY HILLS   OH    44092
MOORE JR, ALBERT                  9045 ZEBULON RD                                                                                    MACON              GA    31220‐4353
MOORE JR, ALBERT                  3232 E FALL CREEK PARKWAY NORTH DR                                                                 INDIANAPOLIS       IN    46205‐3858

MOORE JR, ALBERT L                1149 TOD AVENUE SOUTHWEST                                                                          WARREN             OH 44485‐3806
MOORE JR, ALEX                    291 S ANDERSON AVE                                                                                 PONTIAC            MI 48342‐3201
MOORE JR, AMOS                    18711 NADOL DR                                                                                     SOUTHFIELD         MI 48075‐5886
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MOORE JR, BILLY G        10677 JACK PINE DR NE                                                                MANCELONA        MI 49659‐9548
MOORE JR, CHARLES E      PO BOX 30374                                                                         CINCINNATI       OH 45230‐0374
MOORE JR, CHARLES E      7 LACHLAN LN                                                                         SAVANNAH         GA 31411‐1708
MOORE JR, CHARLES H      3458 TAGGETT LAKE DR                                                                 HIGHLAND         MI 48357‐2637
MOORE JR, CHESTER A      PO BOX 8                                                                             W MIDDLETON      IN 46995‐0008
MOORE JR, CLARENCE C     5628 DAPPLE CT                                                                       INDIANAPOLIS     IN 46228‐1672
MOORE JR, CLEVE J        2531 EASTWOOD DR                                                                     FORT COLLINS     CO 80525‐2019
MOORE JR, CLYDE          376 SANDBROOK CT                                                                     NOBLESVILLE      IN 46062‐7523
MOORE JR, CURTIS         543 WILDROSE DR                                                                      DALLAS           TX 75224‐3452
MOORE JR, DOUGLAS C      12748 MIDDLEFIELD ST                                                                 DETROIT          MI 48227
MOORE JR, EARNEST        374 CEDARWOOD DR                                                                     JACKSON          MS 39212
MOORE JR, EDWARD A       1265 BOICHOT RD                                                                      LANSING          MI 48906‐5908
MOORE JR, EDWARD R       3463 W RIVER RD                                                                      GRAND ISLAND     NY 14072‐1557
MOORE JR, ELWOOD E       485 STONE PATH LN                                                                    O FALLON         MO 63366‐5429
MOORE JR, ERON           128 BAILEY ST                                                                        LAWRENCEVILLE    GA 30045‐5820
MOORE JR, FLOYD          1963 LANEWOOD DR                                                                     FORT WORTH       TX 76112‐5407
MOORE JR, FRANK          1305 ILLINOIS AVE                                                                    FORT WORTH       TX 76104‐5208
MOORE JR, FRANK          273 HARRISON LN                                                                      POPLAR BLUFF     MO 63901‐6761
MOORE JR, FRED           674 E 1400 S                                                                         KOKOMO           IN 46901‐8848
MOORE JR, FRED           9155 ORANGEWOOD DR                                                                   CINCINNATI       OH 45231‐2917
MOORE JR, GARY JEROME    259 LAKEVIEW PL                                                                      STOCKBRIDGE      GA 30281‐6271
MOORE JR, GEORGE M       2863 TROYER RD                                                                       WHITE HALL       MD 21161‐9321
MOORE JR, GEORGE N       PO BOX 448                                                                           BUFFALO          NY 14212‐0448
MOORE JR, GUY L          3104 AUDUBON BLVD                                                                    CLEVELAND        OH 44104‐5328
MOORE JR, HAROLD A       PO BOX 129                                                                           PRESCOTT         MI 48756‐0129
MOORE JR, HENRY          19002 104TH PL SE                                                                    RENTON           WA 98055‐6492
MOORE JR, HOMER          449 JOHNSON POOL RD                                                                  GRIFFIN          GA 30223‐3550
MOORE JR, HOWARD O       9340 RIVERCLUB PKWY                                                                  DULUTH           GA 30097‐2409
MOORE JR, ISAAC          72 TAMARACK TRL                                                                      SPRINGBORO       OH 45066‐1464
MOORE JR, JAMES          15950 LINWOOD ST APT 300                                                             DETROIT          MI 48238
MOORE JR, JAMES          1917 MERAMEC DR                                                                      ANDERSON         IN 46012‐3189
MOORE JR, JAMES B        3676 NEEDHAM RD                                                                      LEXINGTON        OH 44904‐9211
MOORE JR, JAMES F        2471 HESS ROAD                                                                       APPLETON         NY 14008‐9653
MOORE JR, JAMES H        7366 SAWGRASS POINT DR                                                               PINELLAS PARK    FL 33782‐4204
MOORE JR, JAMES L        7111 BIGGER LN                                                                       CENTERVILLE      OH 45459‐4907
MOORE JR, JAMES M        143 W GRAND                                                                          HIGHLAND PARK    MI 48203‐3644
MOORE JR, JAMES T        1488 CLAIRWOOD DR                                                                    BURTON           MI 48509‐1503
MOORE JR, JAMES THOMAS   1488 CLAIRWOOD DR                                                                    BURTON           MI 48509‐1503
MOORE JR, JIM            1412 HOLLAND AVE                                                                     YOUNGSTOWN       OH 44505‐3112
MOORE JR, JOE            722 IRVINGTON AVE                                                                    LANSING          MI 48910‐4623
MOORE JR, JOE H          5614 PINTO CT                                                                        INDIANAPOLIS     IN 46228‐1671
MOORE JR, JOHN E         4949 N KENYON DR                                                                     INDIANAPOLIS     IN 46226‐2537
MOORE JR, JOHN P         7245 20TH AVE                                                                        JENISON          MI 49428‐7752
MOORE JR, JOHN W         6375 TWP RD 29, RT 9                                                                 MANSFIELD        OH 44904
MOORE JR, JOHN W         103 PHEASANT DR                                                                      CRANBERRY TWP    PA 16066‐4111
MOORE JR, JOHNNIE        142 HIDDEN FOREST RD                                                                 BATTLE CREEK     MI 49014‐7851
MOORE JR, JOHNNIE L      7881 HAMLET CT                                                                       CANTON           MI 48187‐1268
MOORE JR, JOSEPH         225 MASSACHUSETTS ST                                                                 HIGHLAND PARK    MI 48203‐3540
MOORE JR, LAWRENCE       18521 NADOL DR                                                                       SOUTHFIELD       MI 48075‐5884
MOORE JR, LENARD         10536 MONARCH DR                                                                     SAINT LOUIS      MO 63136‐5662
MOORE JR, LONNIE         1074 SHAYLER RD                                                                      BATAVIA          OH 45103‐2345
MOORE JR, MATTHEW        3762 TREE BARK TRL                                                                   DECATUR          GA 30034‐2122
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Name                                  Address1                        Address2                        Address3   Address4         City            State Zip
MOORE JR, MERLE J                     1193 W LINCOLN ST APT 4                                                                     DANVILLE         IN 46122‐1558
MOORE JR, MICHAEL M                   5303 N WEST ROTAMER RD                                                                      MILTON           WI 53563‐9417
MOORE JR, NOAH                        501 SPENCER ST                                                                              FLINT            MI 48505‐4257
MOORE JR, NOLAN                       7420 WILLOW OAK CT                                                                          ORCHARD LAKE     MI 48324‐3077
MOORE JR, OLLEN                       1414 MARSH HARBOUR DR                                                                       ROUND ROCK       TX 78664‐7260
MOORE JR, OSIE                        PO BOX 702                                                                                  QUEEN CREEK      AZ 85242‐0702
MOORE JR, PERCY L                     300 PARK PL                                                                                 MARSHALL         TX 75672‐5858
MOORE JR, RICHARD                     2465 US 127                                                                                 HAVILAND         OH 45851
MOORE JR, ROBERT                      1130 RIVER VALLEY DR APT 1124                                                               FLINT            MI 48532‐2979
MOORE JR, ROBERT                      3813 YORK DR                                                                                SAGINAW          MI 48601‐5174
MOORE JR, ROBERT C                    8959 RED HOUSE RD                                                                           APPOMATTOX       VA 24522‐5296
MOORE JR, ROY                         3226 RENAS RD                                                                               GLADWIN          MI 48624
MOORE JR, ROY                         311 S PORTER ST                                                                             SAGINAW          MI 48602‐2325
MOORE JR, ROY S                       8171 BROOKVILLE PHILLIPSBG RD                                                               BROOKVILLE       OH 45309‐9216
MOORE JR, SYLVESTER                   4105 N PASADENA AVE                                                                         INDIANAPOLIS     IN 46226‐5043
MOORE JR, THOMAS                      4684 S MICHELLE ST                                                                          SAGINAW          MI 48601‐6631
MOORE JR, THOMAS O                    11040 MEADOWVIEW DR                                                                         GOODRICH         MI 48438‐8702
MOORE JR, THOMAS S                    13864 FRIEND RD                                                                             GERMANTOWN       OH 45327‐8742
MOORE JR, VAUGHN O                    2107 SPARRE DR                                                                              KINSTON          NC 28504‐1925
MOORE JR, WILLIAM                     3068 ANGELINA ST                                                                            PORTAGE          IN 46368‐7505
MOORE JR, WILLIAM                     10504 CALKINS RD                                                                            SWARTZ CREEK     MI 48473‐9757
MOORE JR, WILLIAM W                   PO BOX 555                                                                                  LEONARD          MI 48367‐0555
MOORE JR, WILLIE                      980 AZALEA DR                                                                               ROSWELL          GA 30075‐4745
MOORE JR, WILLIE B                    5303 TWIN CT                                                                                GRAND BLANC      MI 48439‐5141
MOORE JR, WOODY W                     1916 NE 33RD PL                                                                             NEWCASTLE        WA 98056‐8015
MOORE JR,THOMAS S                     13864 FRIEND RD                                                                             GERMANTOWN       OH 45327‐8742
MOORE JR. I I I, LESS                 1023 S MAPLE ST                                                                             MARION           IN 46953‐2102
MOORE JR. III, LESS                   1023 S MAPLE ST                                                                             MARION           IN 46953‐2102
MOORE JR., CHARLES C                  556 FRANKLIN STREET                                                                         DENVER           CO 80218‐3624
MOORE JR., GEORGE W                   20459 GREELEY ST                                                                            DETROIT          MI 48203‐1269
MOORE JR., GOODLUF D                  2109 AGGIE DR                                                                               GRAND PRAIRIE    TX 75051‐4222
MOORE JR., J. E                       2402 LEONARD CT                                                                             ARLINGTON        TX 76015‐2007
MOORE JR., SAMUEL R                   4090 W COUNTY ROAD 775 N                                                                    ORLEANS          IN 47452‐9241
MOORE JR., TOM                        1924 CHESTNUT HILL RD                                                                       DANDRIDGE        TN 37725‐6652
MOORE JUDY (464222)                   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                      PROFESSIONAL BLDG
MOORE JUDY (493060)                   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                      PROFESSIONAL BLDG
MOORE KATELAND                        MOORE, KATELAND                 PO BOX 9478                                                 HUNTINGTON      WV    25704‐0478
MOORE KELLY                           PO BOX 23367                                                                                CHARLOTTE       NC    28227‐0276
MOORE KELLY                           1365 MAPLE AVE                                                                              MONROE          MI    48162
MOORE KENNETH E JR (429492)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA    23510
                                                                      STREET, SUITE 600
MOORE LANCE                           5549 PROVIDENCE PL                                                                          NEW ORLEANS     LA    70126‐2267
MOORE LARRY                           6619 HORSESHOE RD                                                                           CLINTON         MD    20735‐2536
MOORE LARRY                           MOORE, LARRY                    55 PUBLIC SQ STE 650                                        CLEVELAND       OH    44113‐1909
MOORE LARRY                           MOORE, PAULA                    55 PUBLIC SQ STE 650                                        CLEVELAND       OH    44113‐1909
MOORE LEMUEL F (405516)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA    23510
                                                                      STREET, SUITE 600
MOORE LENORE T (ESTATE OF) (493416)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                      STREET, SUITE 600
MOORE LEON SR                         2221 BAYOU LN                                                                               SLIDELL          LA   70458‐3658
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Name                                Address1                             Address2                          Address3      Address4               City            State Zip
MOORE LIONEL (639382)               COONEY & CONWAY                      120 NORTH LASALLE STREET , 30TH                                        CHICAGO           IL 60602
                                                                         FLOOR
MOORE LOUIE                         NO ADVERSE PARTY
MOORE M R SPECIALTY CO              1050 PENNSYLVANIA AVE                                                                                       SALEM           OH   44460
MOORE MARGARET                      APT 405                              15 DOUGLAS TERRACE                                                     N PROVIDENCE    RI   02904‐3443
MOORE MARILYN                       37 WEGMAN PKWY                                                                                              JERSEY CITY     NJ   07305‐4229
MOORE MARTHA                        3611 LAKESIDE CT                                                                                            PORT HURON      MI   48060‐1509
MOORE MARTHA                        ATTN: CORPORATE OFFICER/AUTHORIZED   3611 LAKESIDE CT                                                       PORT HURON      MI   48060‐1509
                                    AGENT
MOORE MARVIN J & JUDITH C           461 S WARREN RD                                                                                             NORTH JACKSON   OH   44451
MOORE MARY                          6363 JUSTINS RIDGE RD                                                                                       NASHVILLE       IN   47448‐8824
MOORE MED/NEW BRITAI                389 JOHN DOWNEY DR                                                                                          NEW BRITAIN     CT   06051‐2924
MOORE MICHAEL                       1014 HERITAGE HILLS DRIVE                                                                                   CEDAR HILL      TN   37032‐4969
MOORE MICHAEL                       6155 124TH AVENUE                                                                                           FENNVILLE       MI   49408‐8436
MOORE MICHAEL A                     DBA AVW ELECTRONICS                  5179 LEAD LINE RD                                                      CENTERVILLE     IN   47330‐9748
MOORE MOTOR COMPANY                 412 W 5TH ST                                                                                                WASHINGTON      NC   27889‐4306
MOORE MOTOR COMPANY                 ROBIN MOORE                          412 W 5TH ST                                                           WASHINGTON      NC   27889‐4306
MOORE NIKKI                         MOORE, NIKKI                         FOREMOST INS                      PO BOX 2739                          GRAND RAPIDS    MI   48501
MOORE NORMAN TECHNOLOGY CENTER      FINANCE DEPT                         4701 12TH AVE NW                                                       NORMAN          OK   73069‐8308

MOORE NORMAN VO TECH CENTER         REGISTRAR                            4701 12TH AVE NW                                                       NORMAN          OK 73069‐8308
MOORE NORTH AMERICA                 900 BUFFALO AVE                                                                      NIAGARA NY 143031397
                                                                                                                         CANADA
MOORE PAT                           191 CHEROKEE RD                                                                                             PONTIAC         MI 48341‐2000
MOORE PATRICK                       16174 BURT RD                                                                                               DETROIT         MI 48219‐3946
MOORE PAUL (491243)                 BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD      OH 44067
                                                                         PROFESSIONAL BLDG
MOORE PETE                          103 NEW WARRINGTON RD                                                                                       PENSACOLA       FL 32506‐5820
MOORE PETER C                       MOORE, PETER C                       2325 GRANT BUILDING 310 GRANT                                          PITTSBURGH      PA 15219
                                                                         STREET
MOORE PONTIAC BUICK GMC
MOORE PONTIAC BUICK GMC TRUCK       2255 MARIETTA HWY                                                                                           CANTON          GA 30114‐4006
MOORE QUINCY                        MOORE, QUINCY                        1714 S ARAGO STREET                                                    PEORIA          IL 61605‐3115
MOORE RALPH O (429493)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK         VA 23510
                                                                         STREET, SUITE 600
MOORE RICKY                         2706 E MURRAY CT                                                                                            HIGHLAND        MI 48357‐3742
MOORE ROBERT                        440 INDEPENDENCE PKWY APT 1220                                                                              PLANO           TX 75075‐8033

MOORE ROBERT                        13538 JOBIN ST                                                                                              SOUTHGATE       MI 48195‐3602
MOORE ROBERT                        MOORE, ROBERT                        100 WEST RD STE 300                                                    TOWSON          MD 21204‐2370
MOORE ROBERT                        MOORE, ROBERT                        120 WEST MADISON STREET , 10TH                                         CHICAGO         IL 60602
                                                                         FLOOR
MOORE ROBERT                        MOORE, ROBERT                        1790 WILMINGTON PIKE SUITE 200                                         GLEN MILLS      PA 19342
                                                                         THE SPEAKMAN HOUSE
MOORE ROBERT (446479)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD      OH 44067
                                                                         PROFESSIONAL BLDG
MOORE ROBERT (ESTATE OF) (489160)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD      OH 44067
                                                                         PROFESSIONAL BLDG
MOORE ROBERT B                      DBA MORG CONSULTING                  4964 PRESTON FOREST DR                                                 BLACKSBURG      VA   24060‐8960
MOORE ROGER                         8900 E JEFFERSON                                                                                            DETROIT         MI   48214
MOORE ROGER                         32 MOORE ROAD                                                                                               GOLDEN          MS   38847
MOORE RON                           2592 FIELDSTREAM LN                                                                                         IDAHO FALLS     ID   83404‐7157
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Name                                   Address1                      Address2                          Address3   Address4         City          State Zip
MOORE RONALD (ESTATE OF) (651427)      COONEY & CONWAY               120 NORTH LASALLE STREET , 30TH                               CHICAGO         IL 60602
                                                                     FLOOR
MOORE RONALD R (ESTATE OF) (627046)    SIMMONS FIRM                  PO BOX 521                                                    EAST ALTON     IL   62024‐0519

MOORE RONALD RAY (439342)              GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                   NORFOLK       VA 23510
                                                                     STREET, SUITE 600
MOORE RONALD S                         223 HILL ST                                                                                 BONNE TERRE   MO 63628‐1815
MOORE RUFUS (459494)                   GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
MOORE RUFUS (459494) ‐ ABRAM ROBER     GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ ACUFF PHILLIP   GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ ADAMS JAMES     GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ AINSWORTH     GUY WILLIAM S                   PO BOX 509                                                    MCCOMB        MS 39649‐0509
BILLY
MOORE RUFUS (459494) ‐ ALEXANDER A C GUY WILLIAM S                   PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ ALEXANDER       GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
GLENN
MOORE RUFUS (459494) ‐ ALLEN LELAND    GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ ANDERSON        GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
CLIFTON
MOORE RUFUS (459494) ‐ ANDERSON        GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
JOSEPH
MOORE RUFUS (459494) ‐ ANGLIN GM       GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
MOORE RUFUS (459494) ‐ ARMSTRONG       GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
WILLIE
MOORE RUFUS (459494) ‐ ASHLEY TONY     GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ ASHTON         GUY WILLIAM S                  PO BOX 509                                                    MCCOMB        MS 39649‐0509
BAYARD
MOORE RUFUS (459494) ‐ ATKINS TA      GUY WILLIAM S                  PO BOX 509                                                    MCCOMB        MS 39649‐0509
MOORE RUFUS (459494) ‐ AUSTIN JAMES R GUY WILLIAM S                  PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ AYRES ALAN      GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
MOORE RUFUS (459494) ‐ BABB DALE       GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
MOORE RUFUS (459494) ‐ BAILEY JIMMY    GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ BAKER JAMES     GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ BAKER ROBERT    GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
N
MOORE RUFUS (459494) ‐ BALLANTINI      GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
ARTHUR
MOORE RUFUS (459494) ‐ BALLANTINI      GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
ARTHUR J
MOORE RUFUS (459494) ‐ BALLARD PAUL    GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509

MOORE RUFUS (459494) ‐ BANKSTON        GUY WILLIAM S                 PO BOX 509                                                    MCCOMB        MS 39649‐0509
REGINALD
                                       09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                 Address1                  Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ BARHAM        GUY WILLIAM S             PO BOX 509                                            MCCOMB    MS 39649‐0509
KENNETH
MOORE RUFUS (459494) ‐ BARNES BARNEY GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BARNES         GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ BARNES         GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
DOUGLAS
MOORE RUFUS (459494) ‐ BARNES RUSSELL GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BARNHILL        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RICHARD
MOORE RUFUS (459494) ‐ BARRETT         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ BARRINGER       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHN
MOORE RUFUS (459494) ‐ BASS MARVIN     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BATES EDDIE     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ BATES FC        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ BATES JAMES     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ BAUGHTMAN       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
LEROY
MOORE RUFUS (459494) ‐ BEACHAM         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ BEARD ED        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ BEASLEY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ BECK SIDNEY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ BECK WILLIAM    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BELTON HORACE GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BENNETT JAMES GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BENNETT KELLY GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BENTON JAMES GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BERINGER        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ BERRY GERALD    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BERRY JIMMY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ BLACKWELL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DON
MOORE RUFUS (459494) ‐ BLAKLEY LARRY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BLESSING        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
SIDNEY
MOORE RUFUS (459494) ‐ BOARDMAN        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
EDMUND
                                      09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                 Address1                 Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ BOARDMAN      GUY WILLIAM S            PO BOX 509                                            MCCOMB    MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ BOUTWELL PAUL GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BOWEN PHILIP   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BOWENS WILLIE GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BOYD BURTON    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BOYD JAMES    GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ BOYD ROBERT E GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BOYD ROBERT T GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BRAGG          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DEBORAH
MOORE RUFUS (459494) ‐ BRANCH         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
GEORGE
MOORE RUFUS (459494) ‐ BRAND JOHN     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ BRIGGS BILL    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ BRIGGS         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LEONARD
MOORE RUFUS (459494) ‐ BRIMBERRY      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LEROY GLEN
MOORE RUFUS (459494) ‐ BROCK RONNIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BROWER      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
RAYMOND
MOORE RUFUS (459494) ‐ BROWN       GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
ALFONZO
MOORE RUFUS (459494) ‐ BROWN DEWEY GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BROWN EUGENE GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BROWN OUDIE    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BROWN PERRY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BROWN ROBERT GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BROWN          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROOSEVELT
MOORE RUFUS (459494) ‐ BROWN WILLIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BRUBAKER       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DAVID
MOORE RUFUS (459494) ‐ BRUMFIELD      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
PRESTON
MOORE RUFUS (459494) ‐ BRYANT HENRY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                 Address1                 Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ BRYANT JO‐    GUY WILLIAM S            PO BOX 509                                            MCCOMB    MS 39649‐0509
RENE
MOORE RUFUS (459494) ‐ BRYANT        GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MITCHELL
MOORE RUFUS (459494) ‐ BRYANT ROBERT GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BUFORD BP    GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ BUGGS        GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
RAYMOND
MOORE RUFUS (459494) ‐ BURAGE FRANK GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BURNS CORWYN GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BURNS UFA      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
KENNY
MOORE RUFUS (459494) ‐ BURTON CH      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ BUSHONG        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
HAROLD
MOORE RUFUS (459494) ‐ BUTLER JAMES   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BYRD MALFORD GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ BYRUM TOMMY GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CALCOTE        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ CALLAHAN       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ CALLAWAY RD    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CALLENDER      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LARRY
MOORE RUFUS (459494) ‐ CAMPBELL ROY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CAMPHOR        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ARTHUR
MOORE RUFUS (459494) ‐ CAPLES LARRY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CARLISLE PD    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ CARLISLE       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ CARMEL         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
SYLVESTER
MOORE RUFUS (459494) ‐ CARPENTER      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
PETER
MOORE RUFUS (459494) ‐ CARR JOE       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ CARROLL        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT EARL
MOORE RUFUS (459494) ‐ CARRUTH        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
KENNETH
MOORE RUFUS (459494) ‐ CARSTARPHEN    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JIMMIE
                                       09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                   Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ CARTER          GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
MITCHELL
MOORE RUFUS (459494) ‐ CARTER WILLIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CASE JAMES    GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ CASE STEVE    GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ CASE THEODORE GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CASE THOMAS     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CASKEY WILLIAM GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CASTON FRANK GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CHAMBLISS       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
EDWIN R
MOORE RUFUS (459494) ‐ CHESTER         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MAURICE
MOORE RUFUS (459494) ‐ CHIPLIN         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
THOMAS
MOORE RUFUS (459494) ‐ CHISOLM BILLY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CLARK LAMAR     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ COBB CH         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ COFFEE WILLIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ COHLMEYER       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ COKER WILLIE    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ COLEMAN      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
EARNEST
MOORE RUFUS (459494) ‐ COLEMAN JOHN GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ COLSTON JAMES GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CONERLY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CLIFTON
MOORE RUFUS (459494) ‐ CONEY OLIVER    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CONEY WALLACE GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CONN DONALD     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CONNELLY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
KENNETH J
MOORE RUFUS (459494) ‐ CONRAD          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
KENNETH
MOORE RUFUS (459494) ‐ COOPER RALPH    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                  Address1                 Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ COPES FREDRICK GUY WILLIAM S            PO BOX 509                                            MCCOMB    MS 39649‐0509

MOORE RUFUS (459494) ‐ CORN JAMES    GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ CORONA        GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
DONALD P
MOORE RUFUS (459494) ‐ COTHREN MITCH GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ COURTNEY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DAVID
MOORE RUFUS (459494) ‐ COX FRANK       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ CRAFT MIKELL    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ CRAWFORD        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
SAMUEL
MOORE RUFUS (459494) ‐ CULP AMOS       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ CURRAN          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MALCOLM
MOORE RUFUS (459494) ‐ CZMIEL          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
THEODORE
MOORE RUFUS (459494) ‐ DAGGONS         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
TOMMY
MOORE RUFUS (459494) ‐ DAGLEY MICKEY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DAGLEY TERRY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DAHLBERG CARL GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DAIGRE HAROLD GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DANIELS WARDY GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
L
MOORE RUFUS (459494) ‐ DAQUILLA      GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
PHILLIP
MOORE RUFUS (459494) ‐ DAVIS BILLY   GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ DAVIS DEVERE GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DEANY DENNIS    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DECKER        GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MAURICE
MOORE RUFUS (459494) ‐ DECKER PAUL R GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DEER GENE      GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ DEER JIMMY     GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ DEFRIES RECTOR GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DENNISON        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DAVID
MOORE RUFUS (459494) ‐ DENT JOSEPH     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DIAL ROBERT     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                  Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ DICKERSON      GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
TIMOTHY J
MOORE RUFUS (459494) ‐ DICKEY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
EMANUEL
MOORE RUFUS (459494) ‐ DILLON CHARLES GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DIMER JOHN     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ DIVINITY JAMES GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DOLLHITE       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES RAY
MOORE RUFUS (459494) ‐ DOLLHITE       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT I
MOORE RUFUS (459494) ‐ DOMBRO         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RONALD
MOORE RUFUS (459494) ‐ DOWNS JOSEPH   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DOZIER PAUL    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ DRAIN ROBERT   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DRAKE TOMMY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DUETT CHESTER GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DUNAWAY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
GREGORY
MOORE RUFUS (459494) ‐ DUNAWAY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
HILTON
MOORE RUFUS (459494) ‐ DUNAWAY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ DUNCAN ALVIN   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DUNSON       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
WELTON
MOORE RUFUS (459494) ‐ DURHAM ALLAN GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ DWORAK         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CLARENCE
MOORE RUFUS (459494) ‐ EARLEY CHARLES GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ EAVES CHARLES GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ EDEN DONALD    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ EDEN MIKE    GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ EDWARDS      GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLEY
MOORE RUFUS (459494) ‐ EDWARDS JOHN GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ ELDER MICHAEL GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                    Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ ELLINGTON        GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ ELLIS FOSTER     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ ELLISON DAVE     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ EMERSON HAL      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ ENGLADE      GUY WILLIAM S               PO BOX 509                                            MCCOMB   MS 39649‐0509
CURTIS
MOORE RUFUS (459494) ‐ EVANS EDWARD GUY WILLIAM S               PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ EVANS KENNETH GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ EVANS OLTEN      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ EVENS SAUL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ EVERETT          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
SAMUEL
MOORE RUFUS (459494) ‐ EXPOSE JAMES     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ FALKENTHAL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ALFRED
MOORE RUFUS (459494) ‐ FALKENTHAL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
HAROLD
MOORE RUFUS (459494) ‐ FARRIS BN        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ FARRIS JOHN      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ FAULKNER LEE     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ FENNELL       GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
WALTER
MOORE RUFUS (459494) ‐ FERGUSON      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
HERBERT
MOORE RUFUS (459494) ‐ FERGUSON      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ FERGUSON      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT E
MOORE RUFUS (459494) ‐ FEWELL JOHNNY GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ FIELDS JEFFERY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ FLAHERTY DAVID GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ FLAMMOND      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
GEORGE
MOORE RUFUS (459494) ‐ FLANAGAN      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHN
MOORE RUFUS (459494) ‐ FLANAGAN      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ FLEMING HIRAM GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ FLETCHER ALAN GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                   Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ FLETCHER        GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
RANDALL
MOORE RUFUS (459494) ‐ FLOYD WC        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ FOGARTY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ FRANKLIN JD     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ FRAZURE BILLY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ FRITCHIE WALT   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ FULLER CARL     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ FULTON          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LORENSIE
MOORE RUFUS (459494) ‐ GALLASPY JG     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ GARDNER BEN     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ GARLOCK         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DONALD
MOORE RUFUS (459494) ‐ GARNER LEROY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ GATLIN CL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ GERDES          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
BERNARD
MOORE RUFUS (459494) ‐ GERDES PAUL     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ GILBERT JP      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ GILES HARRY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ GIVENS DALE     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ GOODMAN ED      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509

MOORE RUFUS (459494) ‐ GORDON FRED     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ GORDON          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
VICTOR
MOORE RUFUS (459494) ‐ GRAVES          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DOUGLAS
MOORE RUFUS (459494) ‐ GRAY EDDIE      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ GREEN OTHA      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LEE
MOORE RUFUS (459494) ‐ GREENLEY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ GUTRIAGE        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DAVID
MOORE RUFUS (459494) ‐ HAIZLIP ROBY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HALFORD         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ HALL GEORGE     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HALL JAMES      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ HALL PHIL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                  Address1                 Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ HAMILTON BILLY GUY WILLIAM S            PO BOX 509                                            MCCOMB    MS 39649‐0509

MOORE RUFUS (459494) ‐ HAMILTON     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
CALVIN
MOORE RUFUS (459494) ‐ HAMILTON     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ HANKINS      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
EUGENE
MOORE RUFUS (459494) ‐ HARDY EDWARD GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HARMON HE     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ HARRELL JAMES GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HARRIS BEVON    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HARRIS          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
EDWARD
MOORE RUFUS (459494) ‐ HARRIS JAMES    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HARRIS JOHN     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HARSTICK        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
STEVEN
MOORE RUFUS (459494) ‐ HART EDWARD     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HARTFIELD     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
HOUSTON
MOORE RUFUS (459494) ‐ HARTWIG       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
EDWARD
MOORE RUFUS (459494) ‐ HAYNES ARCHIE GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HAYNES JOHN     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HAYWOOD         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WILIE
MOORE RUFUS (459494) ‐ HEITKAMP        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ HENLEY RJ       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ HENNESY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LEONARD
MOORE RUFUS (459494) ‐ HENSON DAVID    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HENSON FRANK GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HERRON JESSIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HEWITT DAVID    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HIGGINBOTHAM GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
DAVID
MOORE RUFUS (459494) ‐ HILL JERRY   GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                Address1                  Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ HODGES       GUY WILLIAM S             PO BOX 509                                            MCCOMB    MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ HODGSON      GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
RAYMOND
MOORE RUFUS (459494) ‐ HOELSCHER    GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
CURTIS
MOORE RUFUS (459494) ‐ HOELSCHER    GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
VILAS
MOORE RUFUS (459494) ‐ HOFSTEADTER GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ HOHMAN       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
HOWARD
MOORE RUFUS (459494) ‐ HOLLOWAY     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
LARRY
MOORE RUFUS (459494) ‐ HOLMES EDWIN GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HOLMES       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
LEONARD
MOORE RUFUS (459494) ‐ HONEA GERALD GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HOWARD         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
EDWARD
MOORE RUFUS (459494) ‐ HOWELL         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CLARENCE
MOORE RUFUS (459494) ‐ HOWELL         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MICHAEL
MOORE RUFUS (459494) ‐ HUBBARD JOHN   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HUBBARD        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
PATRICK
MOORE RUFUS (459494) ‐ HUDSON OLLIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HUGHES       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
STANLEY
MOORE RUFUS (459494) ‐ HUGHEY JAMES GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HURST BOBBY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HURST DAVID    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HUSTON WILLIE GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ HUTCHERSON     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DAVID
MOORE RUFUS (459494) ‐ IRBY AMOS      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ IRBY ARTHUR    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ IRWIN THOMAS   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ JACKSON        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ JACKSON JOHN   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                    Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ JACKSON          GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
RONNIE
MOORE RUFUS (459494) ‐ JAMES            GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CLARENCE SONNY
MOORE RUFUS (459494) ‐ JAMES LARRY      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ JAMES            GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RAYMOND
MOORE RUFUS (459494) ‐ JARRELL          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DOUGLAS
MOORE RUFUS (459494) ‐ JENKINS FLOYD    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ JENKINS JOE      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ JENKINS VIRGIL   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ JENKINS WC    GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ JENNINGS      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
PHILLIP
MOORE RUFUS (459494) ‐ JOHANSEN PAUL GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
T
MOORE RUFUS (459494) ‐ JOHNS ROBERT GUY WILLIAM S               PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ JOHNSON       GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
ARTHUR
MOORE RUFUS (459494) ‐ JOHNSON       GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
CAROLYN
MOORE RUFUS (459494) ‐ JOHNSON JAMES GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ JOHNSON          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RAYMOND
MOORE RUFUS (459494) ‐ JOHNSON          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WALTER
MOORE RUFUS (459494) ‐ JOHNSON          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ JOHNSTON         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MARION
MOORE RUFUS (459494) ‐ JOHNSTON         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WAYNE
MOORE RUFUS (459494) ‐ JOINTER          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHNNY
MOORE RUFUS (459494) ‐ JONES BILLY      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ JONES CHARLES    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ JONES DAN        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ JONES DON        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ JONES FLOYD      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ JONES HARRY      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509

MOORE RUFUS (459494) ‐ JONES HERBERT GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ JONES JAMES      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ JONES JOHN       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                   Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ JONES OSCAR     GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509

MOORE RUFUS (459494) ‐ JORDEN JR       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ JUDGE GLENN     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ KEEN KARL     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ KELLEY DONALD GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ KEMPER HARRIS GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ KENNEDY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ KENNEDY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WAYNE
MOORE RUFUS (459494) ‐ KENT HAROLD     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ KING LIONEL     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ KINNEY JAMES    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ KLIE EUGENE     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ KNIGHT          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
EDWARD
MOORE RUFUS (459494) ‐ KUMMELEHNE      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
HAROLD
MOORE RUFUS (459494) ‐ LANGLOIS        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DOUGLAS
MOORE RUFUS (459494) ‐ LECOMPTE        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DONALD J
MOORE RUFUS (459494) ‐ LEE RORY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ LEWIS BRENT     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ LINTON OWEN     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ LOGAN JOE       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ LOVE CASSIE     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ LOVE RONALD     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ LOWE HOWARD GUY WILLIAM S               PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ LOWERY LESLIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ LOWERY          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
TALMUS
MOORE RUFUS (459494) ‐ LUCKETT JERRY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ LYONS EUGENE    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MACKEY          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
EDWARD
MOORE RUFUS (459494) ‐ MADISON         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ MADISON LJ      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                  Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ MAESTRI PETE   GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
JOSEPH
MOORE RUFUS (459494) ‐ MALONE SULIC   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MARSHALL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROLAND
MOORE RUFUS (459494) ‐ MARTIN CLYDE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MARTIN HENRY GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MARTIN JAMES   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MARTIN PERCY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MASILIVNAS    GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
PETER
MOORE RUFUS (459494) ‐ MASON         GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
CLYTHUS
MOORE RUFUS (459494) ‐ MASSEY DERRYL GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MATTHEWS       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
BOBBY
MOORE RUFUS (459494) ‐ MAY ISEADOR    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MAY SHIRLEY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ MAYFIELD       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ALFRED
MOORE RUFUS (459494) ‐ MAYFIELD       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ALPHONSO
MOORE RUFUS (459494) ‐ MCBRIDE        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RUSSELL
MOORE RUFUS (459494) ‐ MCCARTY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
BOBBY
MOORE RUFUS (459494) ‐ MCCARTY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ MCCARTY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
KENNETH
MOORE RUFUS (459494) ‐ MCCLAIN JT     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ MCCLARTY       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
THOMAS R
MOORE RUFUS (459494) ‐ MCCORD LARRY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MCCULLY WJ     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ MCDANIEL CECIL GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MCDONALD       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
GURSTON
MOORE RUFUS (459494) ‐ MCDONALD       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHN
MOORE RUFUS (459494) ‐ MCELHENNY      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
BOBBY
                                      09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                  Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ MCEWEN WH      GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509

MOORE RUFUS (459494) ‐ MCFIELD JAMES GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MCGRAW DAVID GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MCINTYRE       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DONALD
MOORE RUFUS (459494) ‐ MCKINLEY       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
THOMAS
MOORE RUFUS (459494) ‐ MCKINNEY       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
SAMMY
MOORE RUFUS (459494) ‐ MCMULLEN       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
KENNETH
MOORE RUFUS (459494) ‐ MCMULLEN       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LEAL
MOORE RUFUS (459494) ‐ MCNAIR JIM     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ MCNEIL JACK    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ MCPHEETERS     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RALPH
MOORE RUFUS (459494) ‐ MCWILLIAMS     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LARRY
MOORE RUFUS (459494) ‐ MELTON JAMES   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MIKELL         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ARMOND
MOORE RUFUS (459494) ‐ MILEY MAC      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ MILLER JAMES   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MILLER LARRY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MINGO JAMES    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MITCHELL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHNNY
MOORE RUFUS (459494) ‐ MITCHELL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WOODIE
MOORE RUFUS (459494) ‐ MOAK DAVID     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MOAK HOWARD GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MOAK JAMES     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MOAK LARRY   GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ MOBERLY BRAD GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MOBLEY WILLIE GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MONTGOMERY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
BENNIE
MOORE RUFUS (459494) ‐ MOONEY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CARLOS
                                      09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                               Address1                   Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ MOORE DANNY GUY WILLIAM S              PO BOX 509                                            MCCOMB    MS 39649‐0509

MOORE RUFUS (459494) ‐ MOORE JAMES    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MOORE LOUIS    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
GLENN
MOORE RUFUS (459494) ‐ MORGAN PAUL    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MORGAN ROY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MOSLEY         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CLARENCE
MOORE RUFUS (459494) ‐ MOSSBERGER     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
EO
MOORE RUFUS (459494) ‐ MURPHY JOHN    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ MYNATT BILLY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ NASH EVERETT   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ NATIONS ROY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ NEAL LEO       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ NEAL WILLIAM   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ NEESE KENNETH GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ NEWMAN       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
BARRY
MOORE RUFUS (459494) ‐ NEWMAN LLOYD GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ NICHOLSON      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
FLOURENCE
MOORE RUFUS (459494) ‐ NOBLE HENRY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ NOBLE JOHNNIE GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ NORWOOD        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ NUNN EDDIE     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ NUNNERY        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JIMMIE
MOORE RUFUS (459494) ‐ NUNNERY JOHN   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ O'BANNER      GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
COLUMBUS
MOORE RUFUS (459494) ‐ O'QUINN LARRY GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
N
MOORE RUFUS (459494) ‐ OKEEFE JOHN   GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ OSTER JAMES    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMIE
                                        09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                    Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ PARKER           GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
CLARENCE
MOORE RUFUS (459494) ‐ PARKMAN          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
AUGUSTA
MOORE RUFUS (459494) ‐ PARKMAN EARL     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PATRICK LESTER GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PATTERSON     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
HEBERT
MOORE RUFUS (459494) ‐ PATTERSON     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ PATTERSON     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
JESSE
MOORE RUFUS (459494) ‐ PATTERSON     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHN F
MOORE RUFUS (459494) ‐ PATTERSON     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHN L
MOORE RUFUS (459494) ‐ PATTERSON     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
VELMA
MOORE RUFUS (459494) ‐ PETREA BILLY  GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ PHELPS LANDON GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PHILLIPS BILLY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PICKENS          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RAYMOND
MOORE RUFUS (459494) ‐ PIERCE BURMA     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PIERCY JIMMY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PINION BILLY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ PINION DAVID     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PIPKIN MILTON GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
D
MOORE RUFUS (459494) ‐ PITTS PAUL    GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ POIROUX HENRY GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ POLK ALFONSO     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ POSEY JIM        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ POWE ARTHUR      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ POWE SHELTON GUY WILLIAM S               PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PRENDERGAST GUY WILLIAM S                PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ PRENDERGAST GUY WILLIAM S                PO BOX 509                                            MCCOMB   MS 39649‐0509
LYNNE
MOORE RUFUS (459494) ‐ PRESNALL JOHN GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                  Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ PRESTRIDGE     GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
RALPH
MOORE RUFUS (459494) ‐ PRICE DON      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ PRICE PHIL     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ PRICE RALPH    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ PRICE ROY      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509
MOORE RUFUS (459494) ‐ PRICE TRUMAN   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS   39649‐0509

MOORE RUFUS (459494) ‐ PRUETT OTTO    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ PURKHAISER     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RICAHRD
MOORE RUFUS (459494) ‐ RAGLE RL       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ RAINES MERLE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ RAPP ARTHUR    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ RATCLIFF     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
CLARENCE
MOORE RUFUS (459494) ‐ RATUSZNY     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
LEONARD
MOORE RUFUS (459494) ‐ RAWSON JIMMY GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ RAY NICK      GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ RAY THOMAS    GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ RAYBORN       GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
BARNEY
MOORE RUFUS (459494) ‐ RAYBORN LARRY GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ REED JAMES     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ REED WALKER    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ REESE HARLIS   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ REEVES CLAUDE GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ REEVES JAMES   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ REEVES RONALD GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ RESPESS        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ REYNOLDS       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WYATT
MOORE RUFUS (459494) ‐ RHINEWALT      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CECIL
MOORE RUFUS (459494) ‐ RICH RV        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ RICHARDSON     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
COTRELL
MOORE RUFUS (459494) ‐ RICHARDSON     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHN
                                        09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                    Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ RICO RICHARD     GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509

MOORE RUFUS (459494) ‐ RIDDLE DANNY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ RIDGEWAY      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
THOMAS
MOORE RUFUS (459494) ‐ ROBERTS COLIN GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ ROBERTS       GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
GEROGE
MOORE RUFUS (459494) ‐ ROBERTS LEWIS GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ ROBERTSON        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ ROBINSON         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
HENRY
MOORE RUFUS (459494) ‐ ROBINSON         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JIMMY
MOORE RUFUS (459494) ‐ ROBY JD          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ ROGERS           GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
HAROLD
MOORE RUFUS (459494) ‐ ROGERS LEE       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ ROGERS PHILLIP   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ ROGERS           GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RICHARD
MOORE RUFUS (459494) ‐ ROSE LLOYD       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ ROSS BENTON      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ ROSS JACK E   GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ ROSS LAWRENCE GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ ROTRAMEL       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ ROUSSELL LARRY GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ RUBSAM STEVE GUY WILLIAM S               PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ RUCKER WEST      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ RUSHING          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
LYNDELL
MOORE RUFUS (459494) ‐ RYAN JAMES       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ SANDERS PHILIP   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
R
MOORE RUFUS (459494) ‐ SANDERSON        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ SANDIFER         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ SCHAEFFER        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DAVID
                                       09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                   Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ SCHMIDT         GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ SCHROEDER       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DONALD
MOORE RUFUS (459494) ‐ SCHWIEGER       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DONALD
MOORE RUFUS (459494) ‐ SCOTT JULES     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ SCOTT WILL      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ SEABURY PERCY   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SHERMAN        GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
ROGER
MOORE RUFUS (459494) ‐ SHIERS HILBERT GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SHINKER       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
WESLEY
MOORE RUFUS (459494) ‐ SHOEMAKER     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
JAMES
MOORE RUFUS (459494) ‐ SIMMONS       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
PATRICK
MOORE RUFUS (459494) ‐ SIMONS WESLEY GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SINGLETON     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
EUGENE RUSSELL
MOORE RUFUS (459494) ‐ SKIBINSKI     GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
PHILLIP
MOORE RUFUS (459494) ‐ SLOVER DORRIS GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SMITH ALBERT    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SMITH CARL      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ SMITH DAVID     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SMITH EDWARD GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SMITH HARRY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SMITH KENNETH GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SMITH TOMMY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SNODSMITH       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
FORREST
MOORE RUFUS (459494) ‐ SONGER JERRY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SOUTHER         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
GREGORY
MOORE RUFUS (459494) ‐ SPEARMAN        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHN
MOORE RUFUS (459494) ‐ SPURLIN         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
HOWARD
                                       09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                 Address1                  Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ STANFIELD     GUY WILLIAM S             PO BOX 509                                            MCCOMB    MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ STATHAM       GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ STEELE MANUEL GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ STEELE VICTOR   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ STENNETT KEITH GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ STEPHONS     GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
LAMONT
MOORE RUFUS (459494) ‐ STEPP HERMAN GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ STERLING THAD GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ STEVENS HENRY GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ STONE KENNETH GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SULLIVAN DAN    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SULLIVAN WM     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SUMRALL      GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
THOMAS
MOORE RUFUS (459494) ‐ SWARTZLANDER GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509
RICHARD
MOORE RUFUS (459494) ‐ SZABO JOSEPH GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ SZITASY JOHN    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TAKSAS        GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
FREDERICK
MOORE RUFUS (459494) ‐ TAYLOR GEORGE GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TAYLOR JESSIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TAYLOR OTIS   GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ TAYLOR        GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
RAYMOND
MOORE RUFUS (459494) ‐ TAYLOR ROBERT GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TAYLOR WR       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ THIESEN         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
THOMAS
MOORE RUFUS (459494) ‐ THOMAS LEE      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ THOMAS WILLIS   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ THOMPSON        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
GARY
                                       09-50026-mg     Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                   Address1                Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ THOMPSON        GUY WILLIAM S           PO BOX 509                                            MCCOMB    MS 39649‐0509
GEORGE KELL
MOORE RUFUS (459494) ‐ THOMPSON        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
TOMMY
MOORE RUFUS (459494) ‐ THORNTON        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ THURMAN         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
GEORGE
MOORE RUFUS (459494) ‐ THURMOND        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
HARRY
MOORE RUFUS (459494) ‐ TIDWELL ALVIN   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TINSLEY FAY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ TRAVIS PASCAL   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TUCKER HUGH     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TUCKER JESSIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TUCKER        GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
REBECCA
MOORE RUFUS (459494) ‐ TUCKER ROBERT GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
G
MOORE RUFUS (459494) ‐ TUCKER ROBERT GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
LOUIS
MOORE RUFUS (459494) ‐ TYLER JESSIE  GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ TYLER THOMAS GUY WILLIAM S              PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TYSON ALFRED    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ TYSON BILLY    GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ TYSON ELBY     GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ UMSTATTD       GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
JOHN
MOORE RUFUS (459494) ‐ UPCHURCH       GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM C
MOORE RUFUS (459494) ‐ USSERY         GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ VARNADO JESSIE GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ VARNER          GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
RUSSELL
MOORE RUFUS (459494) ‐ VINSON WB       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ VOLK EDWARD     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ VOYTAS RONNIE GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WADE ROBERT     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WADE TOMMY      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                 Address1                 Address2            Address3         Address4         City     State Zip
MOORE RUFUS (459494) ‐ WALES WILLIAM GUY WILLIAM S            PO BOX 509                                            MCCOMB    MS 39649‐0509

MOORE RUFUS (459494) ‐ WALKER ALBERT GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WALKER         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
DONALD
MOORE RUFUS (459494) ‐ WALL TOMMY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WALLACE        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ WALLACE        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
THOMAS
MOORE RUFUS (459494) ‐ WALLACE        GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
WINSTON
MOORE RUFUS (459494) ‐ WARD LANOICE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WARREN         GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
CHARLES
MOORE RUFUS (459494) ‐ WARREN RAY     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WASHINGTON GUY WILLIAM S               PO BOX 509                                            MCCOMB   MS 39649‐0509
EUGENE
MOORE RUFUS (459494) ‐ WATERS FREDDY GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WATSON EDDIE GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WATTS KERRY    GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐              GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509
WEATHERSPOON HOLLIS
MOORE RUFUS (459494) ‐ WEEKS ARTHUR GUY WILLIAM S             PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WELLS AJ       GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ WELLS BENNIE   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WELLS BOYD     GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ WENDELL CARL   GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WHEELER       GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
ROBERT
MOORE RUFUS (459494) ‐ WHITE JOHN    GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ WILKINSON     GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
WILLIAM
MOORE RUFUS (459494) ‐ WILLIAMS      GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
ALBERT
MOORE RUFUS (459494) ‐ WILLIAMS      GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
RUSSELL
MOORE RUFUS (459494) ‐ WILLIS DL     GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509
MOORE RUFUS (459494) ‐ WILSON JOHNNY GUY WILLIAM S            PO BOX 509                                            MCCOMB   MS 39649‐0509

MOORE RUFUS (459494) ‐ WILSON JR      GUY WILLIAM S           PO BOX 509                                            MCCOMB   MS 39649‐0509
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Name                                 Address1                       Address2                        Address3       Address4                City           State Zip
MOORE RUFUS (459494) ‐ WOLFORD BEN   GUY WILLIAM S                  PO BOX 509                                                             MCCOMB          MS 39649‐0509

MOORE RUFUS (459494) ‐ WOODALL       GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
HAROLD
MOORE RUFUS (459494) ‐ WOODBERRY     GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
WILLIE
MOORE RUFUS (459494) ‐ WOODS JAMES   GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509

MOORE RUFUS (459494) ‐ WOODWARD      GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
RICHARD
MOORE RUFUS (459494) ‐ WOODWARD      GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
THOMAS
MOORE RUFUS (459494) ‐ WOOTERS       GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
KENNETH
MOORE RUFUS (459494) ‐ WORRELL       GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
STANLEY
MOORE RUFUS (459494) ‐ WYATT JESSE   GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
MOORE RUFUS (459494) ‐ YARBROUGH     GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
FRED
MOORE RUFUS (459494) ‐ ZAKRZEWSKI    GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
DOLORES
MOORE RUFUS (459494) ‐ ZIOFKOWSKI    GUY WILLIAM S                  PO BOX 509                                                             MCCOMB         MS 39649‐0509
CASIMIR
MOORE SALLIE                         730 LIME PLANT RD                                                                                     APPOMATTOX     VA 24522‐8447
MOORE SAMUEL D                       PO BOX 458                                                                                            MOUNT MORRIS   MI 48458‐0458
MOORE SHANNON                        4229 196B STREET                                                              LANGLEY CANADA BC V3A
                                                                                                                   1A9 CANADA
MOORE SHAUN                          MOORE, SHAUN                   30 E BUTLER AVE                                                        AMBLER         PA 19002‐4514
MOORE SHERRIE                        GOLDENBERG, MILLER, HELLER &   2227 SOUTH STATE ROUTE 157      P.O. BOX 959                           EDWARDSVILLE   IL 62025
                                     ANTOGNOLI
MOORE SHORELINE                      651 UNIONVILLE RD                                                                                     SEBEWAING      MI 48759‐1632
MOORE SHORELINE CHEVROLET BUICK      ROBERT MOORE                   651 UNIONVILLE RD                                                      SEBEWAING      MI 48759‐1632
PONTIAC, INC.
MOORE SIMMONS, DENISE                9345 VAUGHAN ST                                                                                       DETROIT        MI   48228‐1683
MOORE SR, ALBERT L                   1149 TOD AVE SW                                                                                       WARREN         OH   44485‐3806
MOORE SR, EDWARD L                   601 AUSTIN DR                                                                                         DESOTO         TX   75115‐6605
MOORE SR, EDWARD LEON                601 AUSTIN DR                                                                                         DESOTO         TX   75115‐6605
MOORE SR, GEORGE H                   6335 CHESTNUT ST                                                                                      PAINESVILLE    OH   44077‐2440
MOORE SR, JERRY E                    1207 WELCH BLVD                                                                                       FLINT          MI   48504‐7359
MOORE SR, STEVEN A                   40 W TAYLOR ST                                                                                        HUNTINGTON     IN   46750‐3725
MOORE SR, THOMAS S                   7404 GRUBBS REX RD                                                                                    ARCANUM        OH   45304‐5304
MOORE STEPHANIE                      134 LORENE DR                                                                                         RED OAK        TX   75154‐2904
MOORE STEPHEN T                      130 GREEN ISLAND RD                                                                                   SAVANNAH       GA   31411‐1206
MOORE SUSLER MCNUTT & WRIGLEY        3071 N WATER ST                                                                                       DECATUR        IL   62526‐2464
MOORE TEDDY (480766)                 KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                                          CLEVELAND      OH   44114
                                                                    BOND COURT BUILDING
MOORE TERRY R (481909)               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                            NORFOLK        VA 23510
                                                                    STREET, SUITE 600
MOORE TESSA                          MOORE, TESSA                   3200 PARKWOOD BLVD APT 1220                                            PLYMOUTH       TX 75093
MOORE THOMAS                         MOORE, THOMAS                  12 HARDING STREET SUITE 110                                            LAKEVILLE      MA 02347
MOORE TONY                           13752 HUNTERWOOD RD                                                                                   JACKSONVILLE   FL 32225‐1904
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Name                               Address1                         Address2                      Address3   Address4         City               State Zip
MOORE TROY HOLLICE (429494)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                    STREET, SUITE 600
MOORE VALERIE                      PO BOX 1170                                                                                ARGYLE             TX    76226‐1170
MOORE VINCENT                      297 N CASS AVE                                                                             PONTIAC            MI    48342‐1006
MOORE WALLACE                      900 BUFFALO AVE                                                                            NIAGARA FALLS      NY    14303‐1327
MOORE WALLACE                      1750 WALLACE AVE                                                                           ST CHARLES         IL    60174‐3401
MOORE WALLACE AN RR DONNELLEY      STE 3600                         111 SOUTH WACKER DRIVE                                    CHICAGO            IL    60606‐4300
COMPANY
MOORE WALLACE D (472123)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MOORE WALLACE NORTH AMERICA        26899 NORTHWESTERN HWY STE 111                                                             SOUTHFIELD         MI 48033‐2140
MOORE WALLACE NORTH AMERICA IN     26899 NORTHWESTERN HWY STE 111                                                             SOUTHFIELD         MI 48033‐2140
MOORE WALLACE, AN RR DONNELLEY     PO BOX 93514                                                                               CHICAGO            IL 60673‐0001
COMPANY
MOORE WALLACE‐AN RR DONNELLEY CO   3075 HIGHLAND PKWY STE 400                                                                 DOWNERS GROVE       IL   60515‐5560

MOORE WHITFIELD S (626667)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MOORE WILLIAM                      4060 E 144TH ST                                                                            CLEVELAND          OH 44128‐1863
MOORE WILLIAM G                    MOORE, WILLIAM G                 30928 FORD RD                                             GARDEN CITY        MI 48135‐1803
MOORE WILLIAM R JR (429495)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MOORE WINFRED W                    1281 TERMINAL WAY 205                                                                      RENO               NV    89502
MOORE'S ASH STREET SERVICE         834 ASH ST                                                                                 JOHNSTOWN          PA    15902‐2245
MOORE'S AUTO REPAIR                217 N MAIN ST                                                                              FAIRMONT           MN    56031‐1833
MOORE'S AUTOMOTIVE                 300 E MCLEROY BLVD                                                                         SAGINAW            TX    76179‐4600
MOORE'S CHEVROLET, INC.            7459 HIGHWAY FIFTY EIGHT                                                                   CLARKSVILLE        VA    23927‐3028
MOORE'S CHEVROLET, INC.            RODNEY MOORE                     7459 HIGHWAY FIFTY EIGHT                                  CLARKSVILLE        VA    23927‐3028
MOORE'S GOODYEAR                   343 SOUTH DR                                                                               NATCHITOCHES       LA    71457‐5050
MOORE'S GOODYEAR                   3827 E TEXAS ST                                                                            BOSSIER CITY       LA    71111
MOORE'S GOODYEAR                   629 N 3RD ST                                                                               ALEXANDRIA         LA    71301‐8592
MOORE'S GOODYEAR                   3924 JACKSON STREET EXT                                                                    ALEXANDRIA         LA    71303‐3007
MOORE'S GOODYEAR                   4002 GREENWOOD RD                                                                          SHREVEPORT         LA    71109‐6411
MOORE'S GOODYEAR                   8889 LINWOOD AVE                                                                           SHREVEPORT         LA    71106‐6505
MOORE'S PIE SHOP INC               ATTN: GREGG LUCAS                115 W ELM ST                                              KOKOMO             IN    46901‐2839
MOORE, A B                         PO BOX 463116                                                                              MOUNT CLEMENS      MI    48046‐3116
MOORE, AARON                       139 YORKSHIRE BLVD APT 204                                                                 DEARBORN HEIGHTS   MI    48127‐3517
MOORE, AARON                       3444 TWILIGHT LN                                                                           SHREVEPORT         LA    71119‐5022
MOORE, AARON ORA                   4319 LAWRENCE AVE. LOT #18                                                                 PINCONNING         MI    48650
MOORE, ABNER L                     171 ROWE LANE                                                                              BLOUNTS CREEK      NC    27814‐9518
MOORE, ABRAHAM                     1014 CHANDLER ST                                                                           DANVILLE           IL    61832‐3725
MOORE, ADDIS                       8458 E G AVE                                                                               KALAMAZOO          MI    49048‐9209
MOORE, ADINE E                     19521 ALBANY AVE                                                                           SOUTHFIELD         MI    48075‐3920
MOORE, AILEEN M                    11649 SW 75TH CIR                                                                          OCALA              FL    34476‐9434
MOORE, ALAN E                      6200 DEAN RD                                                                               HOWELL             MI    48855‐9233
MOORE, ALAN W                      682 MATERDIE LN APT A                                                                      FLORISSANT         MO    63031‐6064
MOORE, ALANE K                     592 CLAUDIUS DR                                                                            AVON               IN    46123‐7847
MOORE, ALBERT                      614 W WASHINGTON AVE                                                                       JACKSON            MI    49201‐2030
MOORE, ALBERT E                    1818 N WILLIAMS RD                                                                         SAINT JOHNS        MI    48879‐8501
MOORE, ALBERT J                    PO BOX 128                                                                                 PENROSE            NC    28766‐0128
MOORE, ALBERT L                    5301 COAKLEY RD NW                                                                         CARROLL            OH    43112‐9572
MOORE, ALBERT L                    1410 NELLE ST                                                                              ANDERSON           IN    46016‐3254
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Name                 Address1                       Address2                 Address3    Address4         City             State Zip
MOORE, ALDA          2466 TUNNELTON RD                                                                    BEDFORD           IN 47421‐8885
MOORE, ALECIA        5090 NORRIS DR                                                                       SWARTZ CREEK      MI 48473‐8246
MOORE, ALETHA        25818 MARITIME CIR S                                                                 HARRISON TWP      MI 48045
MOORE, ALEX J        809 PAWNEE RD                                                                        POMONA            KS 66076‐8924
MOORE, ALFRED        4749 ERICSON AVENUE                                                                  DAYTON            OH 45418‐1909
MOORE, ALFRED C      14110 A DR                                                                           PLYMOUTH          MI 48170‐2364
MOORE, ALFRED O      1826 CLAY AVE                                                                        TOLEDO            OH 43608‐2249
MOORE, ALFREEDA V    2016 KRISTIN DR                                                                      TROY              MI 48084‐1134
MOORE, ALICE         PO BOX 1417                                                                          BARBOURVILLE      KY 40906‐5417
MOORE, ALICE         9561 MANOR ST                                                                        DETROIT           MI 48204‐2535
MOORE, ALICE         9561 MANOR                                                                           DETROIT           MI 48204
MOORE, ALICE         931 1/2 NORTH OAK                                                                    DANVILLE           IL 61832‐3850
MOORE, ALICE B       7102 N OLIVE                                                                         GLADSTONE         MO 64118‐2867
MOORE, ALICE FAYE    716 CHANDLER DRIVE                                                                   TROTWOOD          OH 45426‐2510
MOORE, ALICE J       2135 FIESTA ST                                                                       BRIGHTON          MI 48114‐8816
MOORE, ALICE L       16490 VAUGHAN ST                                                                     DETROIT           MI 48219‐3357
MOORE, ALICE L       2900 N APPERSON WAY LOT 272                                                          KOKOMO            IN 46901‐1460
MOORE, ALICE L       2900 APPERSON WAY NORTH        LOT 272                                               KOKOMO            IN 46901
MOORE, ALICE V       6505 ARMSTRONG AVENUE                                                                BALTIMORE         MD 21215‐2001
MOORE, ALLAN A       6415 HAVELOCK DR                                                                     CLARKSTON         MI 48346‐2355
MOORE, ALLAN D       4451 WINDER HWY                                                                      FLOWERY BRANCH    GA 30542‐3608
MOORE, ALLEN E       4877 MAGGIES WAY                                                                     CLARKSTON         MI 48346‐1975
MOORE, ALLEN J       1023 MONCRIEF AVE                                                                    COLUMBUS          OH 43207‐5076
MOORE, ALLEN L       365 E STATE ROAD 42                                                                  MOORESVILLE       IN 46158‐6020
MOORE, ALLISON M     5110 SUNRISE                                                                         GRAND JUNCTION    MI 49056
MOORE, ALNETTA       2502 N TREMONT ST                                                                    KANSAS CITY       KS 66101‐1340
MOORE, ALNETTA       2502 NO TREMONT                                                                      KANSAS CITY       KS 66101‐1340
MOORE, ALONZO C      111 W 1ST ST STE 519                                                                 DAYTON            OH 45402‐1112
MOORE, ALONZO D      20698 WOODMONT ST                                                                    HARPER WOODS      MI 48225‐1868
MOORE, ALVAN C       6428 KY 405                                                                          OWENSBORO         KY 42303
MOORE, ALVERTA K     1236 ELM RIDGE AVE                                                                   BALTIMORE         MD 21229‐5401
MOORE, ALVIN L       1811 BURR OAK CT                                                                     WAUKESHA          WI 53189‐8400
MOORE, ALVIN R       2409 SUNCREST DRIVE                                                                  FLINT             MI 48504‐8415
MOORE, ALVIN R       6852 BRIMSTONE CREEK RD        BRIMSTONE SCHOOL HOUSE                                MOSS              TN 38575‐6038
MOORE, ALVIS R       166 KERN ST UNIT 21                                                                  SALINAS           CA 93905‐2027
MOORE, ALVORA
MOORE, AMANDA        1261 HIGHWAY 1199                                                                    ELMER            LA   71424‐8720
MOORE, AMANDA        BRIAN CAUBARREAUX              PO BOX 129                                            MARKSVILLE       LA   71351‐0129
MOORE, AMANDA KAY    10352 N CENTER RD                                                                    CLIO             MI   48420‐9713
MOORE, AMANDA S      402 FOGG RD                                                                          LESLIE           MI   49251‐9366
MOORE, AMOS          22137 PICKFORD ST                                                                    DETROIT          MI   48219
MOORE, AMOS J        1025 SEARLES AVE                                                                     COLUMBUS         OH   43223‐2837
MOORE, AMY B         1706 NORTHCREST DR.#1706                                                             ARLINGTON        TX   76012
MOORE, AMY M         1440 E BUDER AVE                                                                     BURTON           MI   48529‐1606
MOORE, ANDRE B       PO BOX 134                                                                           FLINT            MI   48501‐0134
MOORE, ANDRE L       PO BOX 716                                                                           BIRMINGHAM       MI   48012‐0716
MOORE, ANDRE L       712 WHITMORE AVE                                                                     BALTIMORE        MD   21216‐4737
MOORE, ANDREW B      PO BOX 26242                                                                         SAINT LOUIS      MO   63136‐0242
MOORE, ANDREW B      8920 SCOTTDALE AVE                                                                   SAINT LOUIS      MO   63136
MOORE, ANDREW EARL
MOORE, ANDREW P      139 WESTLAKE DR                                                                      BRANDON          MS 39047‐9019
MOORE, ANDREW R      4944 BROOKSIDE LN                                                                    WASHINGTON       MI 48094‐2642
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Name                    Address1                          Address2                  Address3   Address4         City            State Zip
MOORE, ANGELA           45932 BONAVENTURE DR                                                                    MACOMB           MI 48044‐6021
MOORE, ANGELA CAMILLE   300 SUMPTER AVE                                                                         BOWLING GREEN    KY 42101‐3700
MOORE, ANGELA M         441 W PLUM ST                                                                           TIPP CITY        OH 45371‐1847
MOORE, ANITA D          821 CLEMENT AVE.                                                                        DAYTON           OH 45408‐1724
MOORE, ANITA L          13147 W 30TH DR                                                                         GOLDEN           CO 80401‐1605
MOORE, ANN              1905 HITCHCOCK AVE                                                                      DOWNERS GROVE     IL 60515‐4322
MOORE, ANN S            10534 HARDWOOD COURT                                                                    PORT RICHEY      FL 34668‐3021
MOORE, ANNA MARIE       17059 KINGS CT                                                                          LAKEVILLE        MN 55044‐7140
MOORE, ANNA R           37856 WESTVALE                                                                          ROMULUS          MI 48174‐1043
MOORE, ANNABELLE        9809 BROOKLANE ST                 C/O VICKI LYNN WOLF                                   RAYTOWN          MO 64133‐6003
MOORE, ANNALEE          270 ROKLICK RD                                                                          BEATTYVILLE      KY 41311‐8925
MOORE, ANNALEE          270 ROCKLICK RD                                                                         BEATTYVILLE      KY 41311‐8925
MOORE, ANNALIE L        3828 MANN HALL AVE.                                                                     FLINT            MI 48532‐5038
MOORE, ANNE L           6102 AUGUSTA DR #202                                                                    FT MYERS         FL 33907‐5778
MOORE, ANNE M           3650 LINDHOLM RD                                                                        CLEVELAND        OH 44120
MOORE, ANNETTE MARIE    20224 RUSSELL ST                                                                        DETROIT          MI 48203‐1296
MOORE, ANNETTE O        5303 TWIN CT                                                                            GRAND BLANC      MI 48439‐5141
MOORE, ANNIE B          14140 SUSSEX ST                                                                         DETROIT          MI 48227‐2155
MOORE, ANNIE C          2211 FAIRVIEW ST                                                                        ANDERSON         IN 46016‐4148
MOORE, ANNIE P          1305 ILLINOIS AVENUE                                                                    FORT WORTH       TX 76104‐5208
MOORE, ANTHONY          JENSEN ZAMLER MELLEN & SHIFFMAN   ADVANCE BUILDING, 23077                               SOUTHFIELD       MI 48075
                                                          GREENFIELD ROAD STE 557
MOORE, ANTHONY          731 SCOTTWOOD ST                                                                        PONTIAC         MI   48340‐3156
MOORE, ANTHONY C        1664 N OXFORD RD                                                                        OXFORD          MI   48371‐2531
MOORE, ANTHONY K        4942 DIMOND WAY                                                                         DIMONDALE       MI   48821‐9325
MOORE, ANTHONY L        7040 CLIPPER DR                                                                         GRAND PRAIRIE   TX   75054‐7225
MOORE, ANTHONY L        157 RAYMOND ST                                                                          PONTIAC         MI   48342‐2550
MOORE, ANTHONY L        2049 W AVENUE K 5                                                                       LANCASTER       CA   93536
MOORE, ANTHONY L        1666 N WHITCOMB AVE                                                                     SPEEDWAY        IN   46224‐5534
MOORE, ANTHONY W        15781 MANOR ST                                                                          DETROIT         MI   48238‐1672
MOORE, ANTIONETTE S.    8051 DUNGARVIN                                                                          GRAND BLANC     MI   48439‐8161
MOORE, ANTOINETTE D     16174 BURT RD                                                                           DETROIT         MI   48219‐3946
MOORE, ANTOINETTE D     7505 CHANDLER AVE                                                                       SAINT LOUIS     MO   63136‐1205
MOORE, ARBUTUS J        78 S HARMONY DR                                                                         JANESVILLE      WI   53545‐2673
MOORE, ARCHIE W         5085 E CARPENTER RD                                                                     FLINT           MI   48506‐4521
MOORE, ARCHIE WARREN    5085 E CARPENTER RD                                                                     FLINT           MI   48506‐4521
MOORE, ARFLEETER G      82 WINTERVIEW DR.                                                                       ARCADE          NY   14009
MOORE, ARLENE           4527 HOLLEY BYRON ROAD                                                                  HOLLEY          NY   14470‐9073
MOORE, ARNOLD D         9084 WESTFIELD DR                                                                       FLUSHING        MI   48433‐8812
MOORE, ARTHUR B         13622 RITA STREET                                                                       PAULDING        OH   45879‐8870
MOORE, ARTHUR D         1122 CHURCHILL CIR                                                                      ROCHESTER       MI   48307‐6056
MOORE, ARTHUR J         11224 SAINT IVES DR                                                                     FORT WAYNE      IN   46818‐8729
MOORE, ARTHUR L         800 SODA ST                                                                             VIRDEN          IL   62690‐9661
MOORE, ARTHUR W         5571 LAIRD LAKE RD                                                                      HALE            MI   48739‐9166
MOORE, ARTIE E          1480 WEBSTER ST                                                                         WABASH          IN   46992‐3531
MOORE, ARTIS N          1632 BURBANK DR                                                                         DAYTON          OH   45406‐4520
MOORE, ARVELLA          KYLE W FARRAR                     1010 LARMAR STE #1600                                 HOUSTON         TX   77002
MOORE, ARVELLA
MOORE, ARVETTA L        5090 NORRIS DR                                                                          SWARTZ CREEK    MI   48473‐8246
MOORE, ARVETTA LEE      5090 NORRIS DR                                                                          SWARTZ CREEK    MI   48473‐8246
MOORE, ASHLEY           1919 S NEBRASKA ST                                                                      MARION          IN   46953‐3044
MOORE, ASHLEY T         3760 PINNACLE RD APT A                                                                  MORAINE         OH   45418‐2972
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Name                         Address1                       Address2                      Address3   Address4                 City             State Zip
MOORE, AUDREY T              5614 PINTO CT                                                                                    INDIANAPOLIS      IN 46228‐1671
MOORE, AUGUSTUS              10580 LOIS LN                                                                                    HILLSBORO         OH 45133‐9764
MOORE, AURTHUR               5477 BAILEY RD                                                                                   DIMONDALE         MI 48821‐9731
MOORE, AUSTIN O              7840 COLF RD                                                                                     CARLETON          MI 48117‐9543
MOORE, B J                                                                                                                    .
MOORE, B S                   2770 EASTERN AVE                                                                                 BEDFORD          IN   47421‐5327
MOORE, B SCOTT               2770 EASTERN AVE                                                                                 BEDFORD          IN   47421‐5327
MOORE, BALFORD               1339 NOBLE AVE                                                                                   BRONX            NY   10472‐1711
MOORE, BARBARA A             3011 WINCHESTER PIKE                                                                             COLUMBUS         OH   43232‐5554
MOORE, BARBARA A             12065 LONG LAKE DR                                                                               SPARTA           MI   49345‐8594
MOORE, BARBARA A             231 WINIFRED DR                                                                                  PITTSBURGH       PA   15236‐4525
MOORE, BARBARA C             12896 NEW BUFFALO RD                                                                             NORTH LIMA       OH   44452‐9519
MOORE, BARBARA F             207 LANCELOT DRIVE                                                                               HARRISONVILLE    MO   64701‐1327
MOORE, BARBARA J             1320 RAYDINE LANE                                                                                ROSSVILLE        GA   30741‐1722
MOORE, BARBARA J             1320 RAYDINE LN                                                                                  ROSSVILLE        GA   30741‐1722
MOORE, BARBARA JEAN          3230 S BEATRICE ST                                                                               DETROIT          MI   48217‐1572
MOORE, BARBARA L             5919 ARLENE WAY                                                                                  LIVERMORE        CA   94550‐8101
MOORE, BARBARA L             1372 S MERIDIAN RD                                                                               MASON            MI   48854‐9681
MOORE, BARBARA R             PO BOX 49                      59 GRANITE LN                                                     BARNSTABLE       MA   02630‐0049
MOORE, BARBARA S             1177 WELLINGTON DR                                                                               VICTOR           NY   14564‐1504
MOORE, BARBARA W             4828 FLEUR PL                                                                                    DENHAM SPRINGS   LA   70726‐5427
MOORE, BARRY J               2835 BACK BAY DR                                                                                 MAUMEE           OH   43537‐8601
MOORE, BARRY M               4537 BABY LN                                                                                     MEDINA           NY   14103‐9757
MOORE, BARRY TRANSPORT LTD   1900 SHAWSON DR                                                         MISSISSAUGA ON L4W 1R7
                                                                                                     CANADA
MOORE, BEATRICE              32442 OAK ORCHARD RD                                                                             MILLSBORO        DE   19966‐4872
MOORE, BENJAMIN              KROHN & MOSS ‐ FL              5975 W SUNRISE BLVD STE 215                                       PLANTATION       FL   33313‐6813
MOORE, BENJAMIN G            44505 WILLOW RD                                                                                  BELLEVILLE       MI   48111‐9157
MOORE, BENJAMIN G            48 BEMIS WAY                                                                                     HENRIETTA        NY   14467‐9345
MOORE, BENJAMIN S            1201 KENSINGTON AVE                                                                              FLINT            MI   48503‐5374
MOORE, BENNIE G              5284 SCOFIELD RD                                                                                 MAYBEE           MI   48159‐9609
MOORE, BENNY D               PO BOX 974                                                                                       CUMMING          GA   30028‐0974
MOORE, BERCHEL O             173 N. M‐65                                                                                      TWINING          MI   48766
MOORE, BERL G                102 ASH STREET RD                                                                                LODI             OH   44254
MOORE, BERNADINE R           3325 E MEADOW LN                                                                                 DECATUR          IL   62521‐2420
MOORE, BERNARD J             PO BOX 681575                                                                                    FRANKLIN         TN   37058‐1575
MOORE, BERNARD J             35542 SCHOOLCRAFT RD                                                                             LIVONIA          MI   48150‐1214
MOORE, BERNARD W             6368 RUSTIC LN                                                                                   RUBIDOUX         CA   92509‐5742
MOORE, BERNETA DELEASE       GENERAL DELIVERY                                                                                 PLAINFIELD       IN   46168‐9999
MOORE, BERNICE               16206 MARK TWAIN ST                                                                              DETROIT          MI   48235‐4526
MOORE, BERNICE A             1900 POPE RD                                                                                     VILLA RICA       GA   30180‐4746
MOORE, BERTHA E              PO BOX 254                                                                                       DECATUR          AL   35602‐0254
MOORE, BESSIE E              3606 GLOUCESTER ST                                                                               FLINT            MI   48503‐4589
MOORE, BESSIE L              1805 W 8TH ST                                                                                    MARION           IN   46953‐1354
MOORE, BETSY E               7058 LOCUST ST                                                                                   LATHROP          MO   64465‐9716
MOORE, BETSY E               PO BOX 762                                                                                       KARNEY           MO   64060
MOORE, BETTIE E              2814 N SANGSTER                                                                                  INDIANAPOLIS     IN   46218‐2618
MOORE, BETTIE E              2814 SANGSTER AVE                                                                                INDIANAPOLIS     IN   46218‐2618
MOORE, BETTY                 PO BOX 265                                                                                       VAN BUREN        IN   46991‐0265
MOORE, BETTY                 575 GLOROSE DR                                                                                   SAINT LOUIS      MO   63137‐3420
MOORE, BETTY                 575 GLOROSE                                                                                      ST LOUIS         MO   63137‐3420
MOORE, BETTY C               23253 S BROOKSIDE DR                                                                             DEARBORN HTS     MI   48125‐2320
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Name                 Address1                          Address2                       Address3   Address4         City            State Zip
MOORE, BETTY F       74 GARDENIA COURT                                                                            ORANGE CITY      FL 32763
MOORE, BETTY F       74 GARDENIA CT                                                                               ORANGE CITY      FL 32763‐6175
MOORE, BETTY G       668 PEA RIDGE RD                                                                             CABOOL           MO 65689‐9391
MOORE, BETTY J       1269 WHITINGHAM CIR                                                                          NAPERVILLE        IL 60540‐6930
MOORE, BETTY J       PO BOX 141                                                                                   COLLINSTON       LA 71229‐0141
MOORE, BETTY L       1796 MAREMONT ROAD                                                                           KNOXVILLE        TN 37918
MOORE, BETTY M       2133 N ARMSTRONG ST                                                                          KOKOMO           IN 46901‐5802
MOORE, BETTY M       6021 KETCHUM AVE LOT 7                                                                       NEWFANE          NY 14108‐1050
MOORE, BETTY M       17536 QUEEN ELIZABETH DR                                                                     OLNEY            MD 20832‐2132
MOORE, BETTY M       18727 NADOL DR                                                                               SOUTHFIELD       MI 48075‐5886
MOORE, BETTY M       7103 PINEHURST LN                                                                            GRAND BLANC      MI 48439‐2517
MOORE, BETTY P       143 WOODBINE LANE                                                                            HAWTHORNE        FL 32640‐6442
MOORE, BETTY S       5100 SOUTH GRAHAM ROAD                                                                       SAINT CHARLES    MI 48655‐8527
MOORE, BETTY T       PO BOX 29177                                                                                 SHREVEPORT       LA 71149‐9177
MOORE, BETTY Y       1106 RANIKE DR                                                                               ANDERSON         IN 46012‐2740
MOORE, BEULAH F      504 N COLLEGE ST                                                                             RICHMOND         MO 64085‐1406
MOORE, BEULAH F      504 N COLLEGE                                                                                RICHMOND         MO 64085
MOORE, BEULAH J      318 HUNGERFORD ST                                                                            LANSING          MI 48917‐3839
MOORE, BEVERLY D     1601 HOSPITAL DRIVE                                                                          GREENCASTLE      IN 46135‐2268
MOORE, BEVERLY G     705 ELM ST                                                                                   LONGVIEW         TX 75605‐2452
MOORE, BEVERLY J     160 BASS ST                                                                                  VANCEBORO        NC 28586‐7600
MOORE, BEVERLY J     1520 COUNTRY LANE,                                                                           MILPORT          AL 35576
MOORE, BEVERLY JO    6068 HENRY RUFF RD                                                                           GARDEN CITY      MI 48135‐1966
MOORE, BEVERLY L     10314 W 61ST ST                                                                              SHAWNEE          KS 66203‐3010
MOORE, BEVERLY W     165 OLD ALCOVY RD                                                                            COVINGTON        GA 30014‐0929
MOORE, BILL R        933 JUNE DR                                                                                  XENIA            OH 45385‐3711
MOORE, BILLEY J      3700 GROVELAND AVE SW                                                                        WYOMING          MI 49519‐3731
MOORE, BILLIE L      2020 JENNER LN                                                                               SAINT LOUIS      MO 63138‐1210
MOORE, BILLIE R      365 GOLDENROD DR                                                                             HOUGHTON LAKE    MI 48629‐8919
MOORE, BILLY D       5273 FRANKLIN DR                                                                             KANSAS CITY      MO 64130‐3146
MOORE, BILLY D       PO BOX 2931                                                                                  MUSCLE SHOALS    AL 35662‐2931
MOORE, BILLY D       1910 INNISBROOK CT                                                                           VENICE           FL 34293‐3810
MOORE, BILLY E       9476 CALKINS RD                                                                              FLINT            MI 48532‐5525
MOORE, BILLY ERWIN   9476 CALKINS RD                                                                              FLINT            MI 48532‐5525
MOORE, BILLY H       5806 FARM ROAD 1502                                                                          DETROIT          TX 75436‐3967
MOORE, BILLY K       5708 LESLIE DR                                                                               FLINT            MI 48504‐7071
MOORE, BILLY L       998 HARRISON RAILROAD GRADEROAD                                                              HARRISON         MI 48625
MOORE, BILLY R       5633 HUMBERT AVE                                                                             FORT WORTH       TX 76107‐7024
MOORE, BILLY R       RR 2 BOX 2327                                                                                JONESVILLE       VA 24263‐9485
MOORE, BOB D         128 N FRONT ST                                                                               RIPLEY           OH 45167‐1110
MOORE, BOBBIE        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD       OH 44067
                                                       PROFESSIONAL BLDG
MOORE, BOBBIE L      7251 S QUINTERO ST                                                                           FOXFIELD        CO   80016‐1659
MOORE, BOBBY         176 CHARIOT DR                                                                               ANDERSON        IN   46013
MOORE, BOBBY         THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD        SUITE 44                    CORAL GABLES    FL   33146
MOORE, BOBBY D       2849 RAMBLINGWOOD LN                                                                         DAYTON          OH   45458‐9300
MOORE, BOBBY W       39988 TWENLOW DR                                                                             CLINTON TWP     MI   48038‐5711
MOORE, BONNIE        PO BOX 274                                                                                   BUCKHANNON      WV   26201‐0274
MOORE, BONNIE        7190 ELM ST                                                                                  TAYLOR          MI   48180‐2215
MOORE, BONNIE R      1408 PECAN ST                                                                                MONROE          LA   71202‐2950
MOORE, BOOKER T      19414 BRAILE ST                                                                              DETROIT         MI   48219‐2029
MOORE, BOOKER T      2013 E COURT ST                                                                              FLINT           MI   48503‐2870
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MOORE, BRADFORD A    211 1/2 NORTH D STREET                                                                   MARION             IN 46952
MOORE, BRENDA        PO BOX 28                      7 PINE STREET                                             DEEPWATER          NJ 08023‐0028
MOORE, BRENDA        133 DIPLOMAT CT APT 6                                                                    BEECH GROVE        IN 46107
MOORE, BRENDA        7 PINE STREET                  P.O. BOX 28                                               DEEPWATER          NJ 08023‐0028
MOORE, BRENDA F      264 ROCKWELL AVE                                                                         PONTIAC            MI 48341‐2452
MOORE, BRENDA R      PO BOX 452                                                                               TUTTLE             OK 73089‐0452
MOORE, BRENDA R      2725 CARDINAL DR                                                                         PITTSBORO          IN 46167‐9314
MOORE, BRENDA R.     2725 CARDINAL DR                                                                         PITTSBORO          IN 46167‐9314
MOORE, BRENDA S      844 BOUTELL DR                                                                           GRAND BLANC        MI 48439‐1943
MOORE, BRENDA S      7250 STUDEBAKER RD                                                                       TIPP CITY          OH 45371‐8535
MOORE, BRENDA Y      6806 NIAGARA ST                                                                          ROMULUS            MI 48174‐4361
MOORE, BRENT K       5630 DURFEE RD                                                                           EATON RAPIDS       MI 48827‐8912
MOORE, BRIAN         20852 BUCK RUN LN                                                                        RICHLAND CENTER    WI 53581‐8683
MOORE, BRIAN A       4700 N BURKHART RD                                                                       HOWELL             MI 48855‐7700
MOORE, BRIAN D       17 WAYLAND DR. #1                                                                        SOMERSET           KY 42503
MOORE, BRIAN D       1169 IRMAL DR                                                                            DAYTON             OH 45432
MOORE, BRIAN E       299 COTTONWOOD DR                                                                        LAPEER             MI 48446
MOORE, BRIAN E       7710 DAETWYLER DR LOT 44                                                                 ORLANDO            FL 32812
MOORE, BRIAN E       15811 BILTMORE ST                                                                        DETROIT            MI 48227‐1559
MOORE, BRIAN K       10075 W VERMONTVILLE HWY                                                                 VERMONTVILLE       MI 49096‐9704
MOORE, BRIAN S       7150 E CARPENTER RD                                                                      DAVISON            MI 48423‐8958
MOORE, BRIAN S       4627 SOUTHERN AVE                                                                        ANDERSON           IN 46013‐4746
MOORE, BRIAN SEAN    4627 SOUTHERN AVE                                                                        ANDERSON           IN 46013‐4746
MOORE, BRIDGET       2015 102ND AVE NW                                                                        COON RAPIDS        MN 55433‐4618
MOORE, BRIDGETTE L   4009 BRENTON DR                                                                          DAYTON             OH 45416‐1652
MOORE, BRIONA L      1554 STIRLING LAKES DR                                                                   PONTIAC            MI 48340‐1374
MOORE, BRIONA L.     1554 STIRLING LAKES DR                                                                   PONTIAC            MI 48340‐1374
MOORE, BRODERICK D   3323 STURTEVANT ST                                                                       DETROIT            MI 48206‐1054
MOORE, BRUCE         1201 CHARLTON CT                                                                         DANVILLE           IN 46122‐7825
MOORE, BRUCE E       925 WELLMEIER AVE                                                                        DAYTON             OH 45410‐2908
MOORE, BRUCE K       130 BOBBIE ST                                                                            BOSSIER CITY       LA 71112‐2767
MOORE, BRUCE KEVIN   130 BOBBIE ST                                                                            BOSSIER CITY       LA 71112‐2767
MOORE, BRUCE N       5186 PHILLIPSBURG‐UNION RD                                                               UNION              OH 45322‐8707
MOORE, BRYAN K       4950 HEATHER DR APT 102                                                                  DEARBORN           MI 48126‐2860
MOORE, BUDDY G       917 E KITCHEN RD                                                                         PINCONNING         MI 48650‐9469
MOORE, BUEFORD       6615 SE 52ND ST                                                                          OKEECHOBEE         FL 34974‐2520
MOORE, BYRL L        2375 CHEANEY RD                                                                          VALLEY VIEW        TX 76272‐6506
MOORE, BYRON D       7586 BUNNELL HILL RD                                                                     SPRINGBORO         OH 45066‐9614
MOORE, C D           13411 BUTTERFLY LN                                                                       HOUSTON            TX 77079‐7115
MOORE, CALEB P       46214 JONATHAN CIR APT 105                                                               SHELBY TOWNSHIP    MI 48317‐3857
MOORE, CALVIN        5884 OLD BILL COOK RD                                                                    COLLEGE PARK       GA 30349‐3730
MOORE, CALVIN        6347 AMBER LN                                                                            GRAND BLANC        MI 48439‐7818
MOORE, CARA M        14322 WESTMAN DR                                                                         FENTON             MI 48430‐1482
MOORE, CAREY E       5847 CATBERRY DR                                                                         SAGINAW            MI 48603‐1657
MOORE, CAREY W       408 CREEKTREE CT                                                                         WENTZVILLE         MO 63385‐3425
MOORE, CARL          6201 LEO DR                                                                              BELLEVILLE          IL 62223‐4518
MOORE, CARL          1030 RAPID AVE                                                                           CINCINNATI         OH 45205
MOORE, CARL D        1940 TREADWELL ST                                                                        WESTLAND           MI 48186‐3915
MOORE, CARL H        6024 GRAND BLANC RD                                                                      SWARTZ CREEK       MI 48473‐9441
MOORE, CARL J        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                    STREET, SUITE 600
MOORE, CARL L        10 BRIDGEWELL PKWY                                                                       ELKTON            MD 21921‐6450
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MOORE, CARL L         SKAGGS JOHN H                      405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON          WV 25301
MOORE, CARL P         313 S WALNUT ST                                                                                 BAY CITY            MI 48706‐4924
MOORE, CARL R         2980 DOXEY DR                                                                                   AKRON               OH 44312‐5308
MOORE, CARL WILLIAM   1304 PARRAMORE RD                                                                               DOTHAN              AL 36303‐9276
MOORE, CARLA P        1901 MERRITT WAY                                                                                ARLINGTON           TX 76018‐3172
MOORE, CARLA PAYNE    1901 MERRITT WAY                                                                                ARLINGTON           TX 76018‐3172
MOORE, CARLOS D       1000 BRUMMIT RD                                                                                 CHARLOTTE           TN 37036‐5130
MOORE, CARMELA        KROHN & MOSS ‐ FL                  5975 W SUNRISE BLVD STE 215                                  PLANTATION          FL 33313‐6813
MOORE, CAROL          PO BOX 675493                                                                                   MARIETTA            GA 30006‐0016
MOORE, CAROL A        1278 E FARRAND RD                                                                               CLIO                MI 48420‐9103
MOORE, CAROL A        10210 ANTHONY DR                                                                                JACKSON             MI 49201‐8574
MOORE, CAROL A        260 W NORTH ST APT 311                                                                          GENEVA              NY 14456‐1552
MOORE, CAROL A        PO BOX 93                                                                                       EASTPORT            MI 49627‐0093
MOORE, CAROL F        10293 CARR RD                                                                                   SAINT CHARLES       MI 48655‐8627
MOORE, CAROL G        97 MCDONALD RD                                                                                  PERKINSTON          MS 39573
MOORE, CAROL G        PO BOX 37                                                                                       PERKINSTON          MS 39573‐9573
MOORE, CAROL L        8736 DANBY TRL                                                                                  SUNFIELD            MI 48890‐9081
MOORE, CAROL LYNN     218 MOUNT LEBANON CHURCH RD                                                                     ALVATON             KY 42122‐9670
MOORE, CAROL LYNN     8736 DANBY TRL                                                                                  SUNFIELD            MI 48890‐9081
MOORE, CAROL M        255 EAST AVE                                                                                    ALBION              NY 14411‐1616
MOORE, CAROL M        4700 MAPLE HOLLOW COURT SE                                                                      KENTWOOD            MI 49508
MOORE, CAROL M        255 EAST AVENUE                                                                                 ALBION              NY 14411‐1616
MOORE, CAROL M        4700 MAPLEHOLLOW CT SE                                                                          KENTWOOD            MI 49508‐4675
MOORE, CAROL P        5496 E STANLEY RD                                                                               FLINT               MI 48506‐1107
MOORE, CAROLE A       1064 ORCHARD DR                                                                                 CHAMBERSBURG        PA 17201‐3832
MOORE, CAROLE S       5859 GLEN COVE DR                                                                               BATON ROUGE         LA 70809‐3833
MOORE, CAROLYN E      4176 LAUREL RD                                                                                  BRUNSWICK           OH 44212‐3967
MOORE, CAROLYN E      1095 SUBSTATION RD                                                                              BRUNSWICK           OH 44212‐1915
MOORE, CAROLYN H      6224 DAY‐FARMERSVILLE RD                                                                        DAYTON              OH 45418
MOORE, CAROLYN S      106 PANTHER MOUNTAIN RD                                                                         ZIRCONIA            NC 28790‐9742
MOORE, CARRIE L       3318 OGEMA ST                                                                                   BURTON              MI 48529‐1310
MOORE, CATHERINE      1493 SWANCOTT RD                                                                                MADISON             AL 35756‐5005
MOORE, CATHERINE J    3215 W MOUNT HOPE AVE UNIT I                                                                    LANSING             MI 48911‐1271
MOORE, CATHERINE J    3215 W. MOUNT HOPE AVE.            #I                                                           LANSING             MI 48911‐1271
MOORE, CECIL D        1 COACH CT                                                                                      SAINT PETERS        MO 63376‐2717
MOORE, CECIL J        15993 BROWN SCHOOLHOUSE RD                                                                      HOLLEY              NY 14470‐9712
MOORE, CECILIA O      3710 S GOLDFIELD RD LOT 901                                                                     APACHE JUNCTION     AZ 85219‐6618
MOORE, CEZEAR         PO BOX 6087                                                                                     OROVILLE            CA 95966‐1087
MOORE, CHAD           CAUBARREAUX BRIAN AND ASSOCIATES   PO BOX 129                                                   MARKSVILLE          LA 71351‐0129

MOORE, CHAD A         PO BOX 393                                                                                      STERLING HEIGHTS   MI   48311
MOORE, CHANELL C      5546 RUSSELL FORK DR                                                                            DUBLIN             OH   43016
MOORE, CHARLEEN L     45200 NORTH AVE                                                                                 MACOMB             MI   48042‐5228
MOORE, CHARLENE       2800 OAKLAND LOCUST RIDGE RD                                                                    BETHEL             OH   45106‐9645
MOORE, CHARLES        8003 S. WOOD ST #2E                                                                             CHICAGO            IL   60620
MOORE, CHARLES        5557 E ROAD 150 N                                                                               AVON               IN   46123
MOORE, CHARLES        5576 ASHBY CT                                                                                   WATERFORD          MI   48327‐3095
MOORE, CHARLES        404 W GRISSOM AVE                                                                               MITCHELL           IN   47446‐1832
MOORE, CHARLES        12070 COYLE ST                                                                                  DETROIT            MI   48227‐2428
MOORE, CHARLES A      32905 ROBESON ST                                                                                ST CLR SHORES      MI   48082‐2916
MOORE, CHARLES A      5561 COIT AVE NE                                                                                GRAND RAPIDS       MI   49525‐1127
MOORE, CHARLES A      2427 ELIZABETH LAKE RD             APT 205 A                                                    WATERFORD          MI   48328
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Name                 Address1                        Address2                          Address3   Address4         City            State Zip
MOORE, CHARLES A     420 1 2 MILITARY ST                                                                           PORT HURON       MI 48060
MOORE, CHARLES D     263 DAVIS ST                    P.O. BOX 158                                                  SUMMERTOWN       TN 38483‐7561
MOORE, CHARLES D     844 BRYONAIRE RD                                                                              MANSFIELD        OH 44903‐9111
MOORE, CHARLES D     2801 W 26TH ST                                                                                MUNCIE           IN 47302‐2002
MOORE, CHARLES E     95158 SPRING BLOSSOM LN                                                                       AMELIA ISLAND    FL 32034‐1811
MOORE, CHARLES E     4505 ELYRIA AVE                                                                               LORAIN           OH 44055‐2463
MOORE, CHARLES E     7220 FARMINGTON ROAD                                                                          MIAMISBURG       OH 45342‐4628
MOORE, CHARLES E     2876 HARVEY ST                                                                                ROCHESTER HLS    MI 48309‐3639
MOORE, CHARLES F     640 VILLAGE WAY APT 12                                                                        NEWPORT          TN 37821‐3221
MOORE, CHARLES G     17973 WELLS RD                                                                                ATHENS           AL 35613‐6323
MOORE, CHARLES H     613 WALLENBERG ST 101                                                                         FLINT            MI 48502
MOORE, CHARLES H     32887 LONG NECK RD                                                                            MILLSBORO        DE 19966‐6679
MOORE, CHARLES I     28 W MECHANIC ST                                                                              SHELBYVILLE      IN 46176‐1214
MOORE, CHARLES J     7357 PINE ST                                                                                  TAYLOR           MI 48180‐2205
MOORE, CHARLES K     PO BOX 237                                                                                    SARDINIA         OH 45171‐0237
MOORE, CHARLES K     15197 TIERCE LAKE RD                                                                          NORTHPORT        AL 35475‐3808
MOORE, CHARLES K     9290 HAMRICK RD N                                                                             COLLINSVILLE     MS 39325
MOORE, CHARLES L     1373 W STATE ROAD 38                                                                          PENDLETON        IN 46064‐9584
MOORE, CHARLES L     3601 E WYOMING AVE SPC 271                                                                    LAS VEGAS        NV 89104‐4928
MOORE, CHARLES L     665 HIGHWAY AA                                                                                TROY             MO 63379
MOORE, CHARLES L     2443 W COLDWATER RD                                                                           FLINT            MI 48505‐4822
MOORE, CHARLES M     435 FOREST DR                                                                                 WILMINGTON       DE 19804‐2319
MOORE, CHARLES M     2120 LITTLE COVE RD                                                                           SEVIERVILLE      TN 37862‐8516
MOORE, CHARLES M     915 RAYBERTA DR                                                                               VANDALIA         OH 45377‐2628
MOORE, CHARLES P     3505 BREEZE KNOLL DR                                                                          YOUNGSTOWN       OH 44505‐1917
MOORE, CHARLES P     911 E PROCUNIER RD                                                                            HARRISVILLE      MI 48740‐9409
MOORE, CHARLES S     275 CREEKSIDE DR                                                                              LEVERING         MI 49755‐9300
MOORE, CHARLES S     1201 HIGHLAND BLVD APT D302                                                                   BOZEMAN          MT 59715‐6002
MOORE, CHARLES T     13438 N JENNINGS RD                                                                           CLIO             MI 48420‐8854
MOORE, CHARLES T     7619 WOODSIDE PL                                                                              WATERFORD        MI 48327‐3689
MOORE, CHARLES T     1137 PATRICK ST                                                                               COOKEVILLE       TN 38501‐2041
MOORE, CHARLES T     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510‐2212
                                                     STREET, SUITE 600
MOORE, CHARLES W     101 EASTVIEW DR                                                                               MEDINA          NY   14103‐1661
MOORE, CHARLES W     1708 S CENTER ST                                                                              CLINTON         MO   64735‐4406
MOORE, CHARLES W     2111 MT OLIVE CEMETERY RD                                                                     LYNNVILLE       TN   38472‐5539
MOORE, CHARLIE E     722 COUNTY ROAD 1224                                                                          TEXARKANA       TX   75501‐2274
MOORE, CHARLIE L     15521 INDIAN HOLLOW RD                                                                        GRAFTON         OH   44044‐9616
MOORE, CHARLIE L     5407 LEITH RD                                                                                 BALTIMORE       MD   21239‐3304
MOORE, CHARLOTTE T   2750 S DURANGO DR               APT 2127                                                      LAS VEGAS       NV   89117‐2691
MOORE, CHARLOTTE T   2750 S DURANGO DR APT 2127                                                                    LAS VEGAS       NV   89117‐2691
MOORE, CHELIS        PHIFER MICHAEL L                THREE ALLEN CENTER ‐ 333 CLAY ‐                               HOUSTON         TX   77002
                                                     SUITE 4480
MOORE, CHELIS        SOLAR & ASSOCIATES              3315 REEVES ST APT 5                                          HOUSTON         TX   77004
MOORE, CHERI L       3441 VILLAGE GREEN DR                                                                         DAYTON          OH   45414‐2426
MOORE, CHERRY L.     5000 HEATHER DR                 #L105                                                         DEARBORN        MI   48126
MOORE, CHERYL        120 FLYNN ST                                                                                  CLARKSBURG      WV   26301‐3022
MOORE, CHERYL L      10124 DUFFIELD ROAD                                                                           GAINES          MI   48436‐9701
MOORE, CHESTER       2318 BERKLEY ST                                                                               FLINT           MI   48504‐4021
MOORE, CHESTER R     828 E WAYNE ST                                                                                PAULDING        OH   45879‐1400
MOORE, CHRIS D       5620 ARAPAHO TRL                                                                              FORT WAYNE      IN   46825‐2640
MOORE, CHRISTINA     3491 E 15TH ST APT 4                                                                          LONG BEACH      CA   90804‐2838
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Name                       Address1                        Address2                  Address3   Address4         City                 State Zip
MOORE, CHRISTINA L         1478 HEAVENLY VIEW LN                                                                 VALLEY CITY           OH 44280‐9471
MOORE, CHRISTINA M         PO BOX 1114                                                                           CLARKSTON             MI 48347‐1114
MOORE, CHRISTINE A         14453 W GELDING DR                                                                    SURPRISE              AZ 85379
MOORE, CHRISTINE A         397 E PLACITA REJILLA                                                                 SAHUARITA             AZ 85629
MOORE, CHRISTOPHER         101 BRECKENRIDGE RD                                                                   FRANKLIN              TN 37067‐5805
MOORE, CHRISTOPHER         22 LORRAINE DR                                                                        EAST BRIDGEWATER      MA 02333‐2029
MOORE, CHRISTOPHER A       1819 N E ST                                                                           ELWOOD                IN 46036
MOORE, CHRISTOPHER L       3402 ROSELAWN AVE                                                                     WILMINGTON            DE 19808‐6128
MOORE, CHRISTOPHER M       2535 AMBERLY RD                                                                       BLOOMFIELD VILLAGE    MI 48301‐2654
MOORE, CHRISTOPHER W       1052 SUSSEX LN                                                                        FLINT                 MI 48532‐2654
MOORE, CHRISTOPHER WAYNE   1052 SUSSEX LN                                                                        FLINT                 MI 48532‐2654
MOORE, CHRISTY G           2387 SPLITWOOD DR                                                                     LOGANVILLE            GA 30052‐4034
MOORE, CLABE H             7606 E 95TH TER                                                                       KANSAS CITY           MO 64134‐1601
MOORE, CLARENCE            2853 TUXFORD MOOR                                                                     LITHIA SPRINGS        GA 30122‐2910
MOORE, CLARENCE B          658 TAYLOR ST                                                                         DETROIT               MI 48202‐1722
MOORE, CLARENCE E          36 BRUMBAUGH AVE                                                                      NEW LEBANON           OH 45345‐1206
MOORE, CLARENCE E          PO BOX 291                                                                            MAGNOLIA              NC 28453‐0291
MOORE, CLARENCE H          1881 INDIA RD                                                                         PARIS                 TN 38242‐7143
MOORE, CLARENCE R          1163 E MARCH LN STE D PMB 418                                                         STOCKTON              CA 95210‐4512
MOORE, CLARENCE R          PMB 418 1163 E MARCH LN         SUITE D                                               STOCKTON              CA 95210‐4512
MOORE, CLARICE M           2450 SHERIDAN ST                                                                      DETROIT               MI 48214‐1723
MOORE, CLARISSA            6720 SAINT MARYS ST                                                                   DETROIT               MI 48228‐3761
MOORE, CLARISSA A          9345 PARKVIEW CR                                                                      GRAND BLANC           MI 48439‐8058
MOORE, CLAUDE              1690 DOROTHY ST                                                                       YPSILANTI             MI 48198‐6578
MOORE, CLAUDE N            3800 E LINCOLN DR UNIT 39                                                             PHOENIX               AZ 85018‐1020
MOORE, CLAUDETTE           641 ANDORA DR                                                                         TOLEDO                OH 43609‐1713
MOORE, CLAUDIA B           822 FIRST STREET                                                                      BOYNE CITY            MI 49712‐1610
MOORE, CLAUDIA B           822 1ST ST                                                                            BOYNE CITY            MI 49712‐1610
MOORE, CLAYTON C           5417 REYNOLDS ROAD NORTH                                                              SHILOH                OH 44878‐8847
MOORE, CLEMIS T            2584 BLACKMON DR                                                                      DECATUR               GA 30033‐6110
MOORE, CLEO F              4504 KEATS ST                                                                         FLINT                 MI 48507‐2629
MOORE, CLEVELAND           3544 KEYRIDGE DR                                                                      DALLAS                TX 75241‐3337
MOORE, CLEVELAND           102 GATEWOOD DR APT 2J7                                                               LANSING               MI 48917‐2573
MOORE, CLEVELAND W         28432 OAKDALE CT                                                                      ROMULUS               MI 48174‐3036
MOORE, CLIFFORD            21 DIVISION ST                                                                        NEW BRITAIN           CT 06051‐3025
MOORE, CLIFFORD J          32664 ANNAPOLIS ST                                                                    WAYNE                 MI 48184‐2526
MOORE, CLIFFORD W          4802 UPPER HOLLEY RD                                                                  HOLLEY                NY 14470‐9765
MOORE, CLIFTON             1800 E KIRK ST                                                                        MUNCIE                IN 47303‐2408
MOORE, CLIFTON             THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES          FL 33146
MOORE, CLIFTON J           3609 LEERDA ST                                                                        FLINT                 MI 48504‐3740
MOORE, CLYDE J             3930 RIVER RD UNIT 64                                                                 EAST CHINA            MI 48054‐2928
MOORE, CLYDE T             46 HORSESHOE DR                                                                       WATERBURY             CT 06706‐2624
MOORE, CLYDE W             12700 SHAKER BLVD APT 615                                                             CLEVELAND             OH 44120‐2001
MOORE, CLYDENE C           501 FORSYTHE AVE                                                                      GIRARD                OH 44420‐2211
MOORE, COLIN H             10016 THORNWOOD DR                                                                    SHREVEPORT            LA 71106‐7649
MOORE, COLIN HOWARD        10016 THORNWOOD DR                                                                    SHREVEPORT            LA 71106‐7649
MOORE, COLLEEN R           1805 PACKARD CT                                                                       SPRING HILL           TN 37174‐7174
MOORE, COLLEEN R.          1805 PACKARD CT                                                                       SPRING HILL           TN 37174‐7174
MOORE, COLLIN
MOORE, CONNIE Y            3030 S BERKLEY RD                                                                     KOKOMO               IN 46902‐3011
MOORE, CONRAD M            1249 HOOVER LN                                                                        INDIANAPOLIS         IN 46260‐2849
MOORE, CONSTANCE P         1940 RT 2 S. MAIN SW                                                                  WARREN               OH 44481
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Name                    Address1                         Address2                        Address3   Address4         City              State Zip
MOORE, CORA B           4667 EBERLINE CT                                                                             STONE MOUNTAIN     GA 30083‐4331
MOORE, CORA E           1842 S.R. 534, N.W.                                                                          SOUTHINGTON        OH 44470‐9525
MOORE, CORA E           1842 STATE ROUTE 534                                                                         SOUTHINGTON        OH 44470‐9525
MOORE, CORA G           1071 PRINCEWOOD AVE                                                                          DAYTON             OH 45429‐5864
MOORE, CORA L           431 S HYATT ST                                                                               TIPP CITY          OH 45371‐1220
MOORE, CORDELLIA        112 CANNADAY ST                                                                              BECKLEY            WV 25801‐6602
MOORE, COREY JAMES      4216 S STATE RD                                                                              DAVISON            MI 48423‐8602
MOORE, CORINNE M        1316 W WASHINGTON ST                                                                         MUNCIE             IN 47303‐4929
MOORE, CORTEZ S         191 CHEROKEE RD                                                                              PONTIAC            MI 48341‐2000
MOORE, CORTEZ SEVILLE   191 CHEROKEE RD                                                                              PONTIAC            MI 48341‐2000
MOORE, COY LEE          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                         STREET, SUITE 600
MOORE, CRAIG            1107 LOCHHEAD AVE                                                                            FLINT             MI 48507‐2803
MOORE, CRYSTAL J        613 W PIERSON RD                                                                             FLINT             MI 48505‐6202
MOORE, CURTIS           BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE      FL 32202
                        MCCLAMMA & YEGELWEL P.A.         BAY STREET
MOORE, CURTIS C         201 E CHESTNUT ST                                                                            ODESSA            MO   64076‐1517
MOORE, CURTIS P         3595 S LIDDESDALE ST                                                                         DETROIT           MI   48217‐1116
MOORE, CYNTHIA          PO BOX 1642                                                                                  WARREN            MI   48090‐1642
MOORE, CYNTHIA A        1578 CENTERVILLE HWY                                                                         HOHENWALD         TN   38462‐5437
MOORE, CYNTHIA J        18202 ARBORMONT DR                                                                           CYPRESS           TX   77429‐3456
MOORE, CYNTHIA L        2157 C‐HIDDEN MEADOWS                                                                        WALLED LAKE       MI   48390
MOORE, CYRIL            754 ROCK SPRINGS RD                                                                          SMYRNA            TN   37167‐4139
MOORE, DAISY            1819 CHELAN ST                                                                               FLINT             MI   48503‐4307
MOORE, DAISY B          37 OTTAWA DR                                                                                 PONTIAC           MI   48341‐1631
MOORE, DALE A           74 FALCON HILLS DR                                                                           HIGHLANDS RANCH   CO   80126‐2901
MOORE, DALE B           101 S 3RD ST                                                                                 MIAMISBURG        OH   45342‐2840
MOORE, DALE C           PO BOX 63                                                                                    FOSTORIA          MI   48435‐0063
MOORE, DALE E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510‐2212
                                                         STREET, SUITE 600
MOORE, DALE H           18030 CRYSTAL RIVER DR                                                                       MACOMB            MI   48042
MOORE, DALLAS C         1100 VALENTINO DR                                                                            SOUTH PITTSBURG   TN   37380‐1064
MOORE, DALTON J         14 SUNNY SLOPE ST                                                                            MOUNTAIN HOME     AR   72653‐4081
MOORE, DANA W           709 ROLLING HILLS LN APT 2                                                                   LAPEER            MI   48446‐4717
MOORE, DANIEL C         4732 TERRACE AVE                                                                             SAINT LOUIS       MO   63116‐1244
MOORE, DANIEL C         5605 EAST RD                                                                                 SAGINAW           MI   48601‐9748
MOORE, DANIEL D         21630 COUNTY ROAD 624                                                                        HILLMAN           MI   49746‐7947
MOORE, DANIEL E         1060 ELODIE DR                                                                               FLINT             MI   48532‐3627
MOORE, DANIEL EDWARD    1060 ELODIE DR                                                                               FLINT             MI   48532‐3627
MOORE, DANIEL J         67 WREN DR                                                                                   HOLLAND           PA   18966‐1956
MOORE, DANIEL L         24754 LARGES DR                                                                              SOUTHFIELD        MI   48033‐3222
MOORE, DANIEL P         3533 S SCATTERFIELD RD                                                                       ANDERSON          IN   46013‐2131
MOORE, DANIEL R         5523 CACTUS CIR                                                                              SPRING HILL       FL   34606‐5514
MOORE, DANIEL R         77 W CHURCH ST                                                                               PICKERINGTON      OH   43147
MOORE, DANIELLE M       4435 RISKE DR APT 5                                                                          FLINT             MI   48532‐4251
MOORE, DANIELLE W       12759 NICHOLS RD                                                                             BURT              MI   48417‐9442
MOORE, DANNIE           PO BOX 28048                                                                                 DETROIT           MI   48228‐0048
MOORE, DANNIE R         26714 W. L. SCHOOL ROAD                                                                      LESTER            AL   35647
MOORE, DANNY            GUY WILLIAM S                    PO BOX 509                                                  MCCOMB            MS   39649‐0509
MOORE, DANNY            PO BOX 1178                                                                                  DENVER CITY       TX   79323‐1178
MOORE, DANNY E          10124 DUFFIELD RD                                                                            GAINES            MI   48436‐9701
MOORE, DANNY EUGENE     10124 DUFFIELD RD                                                                            GAINES            MI   48436‐9701
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Name                   Address1                              Address2            Address3   Address4         City               State Zip
MOORE, DANNY J         1321 S E ST                                                                           ELWOOD              IN 46036‐2337
MOORE, DANNY K         4598 11 MILE RD                                                                       AUBURN              MI 48611‐9535
MOORE, DANNY M         34608 WHITTAKER ST                                                                    CLINTON TWP         MI 48035‐3383
MOORE, DANNY R         6766 ALMOND LN                                                                        CLARKSTON           MI 48346‐2214
MOORE, DANNY R         14687 ANNAPOLIS DR                                                                    STERLING HTS        MI 48313‐3617
MOORE, DARA L          6089 S DERBY DR                                                                       COLUMBIA CITY       IN 46725‐9280
MOORE, DARA LEE        6089 S DERBY DR                                                                       COLUMBIA CITY       IN 48725‐9280
MOORE, DARLENE M       6171 BERT KOUNS INDUSTRIAL LOOP APT                                                   SHREVEPORT          LA 71129‐5005
                       J101
MOORE, DARNELL         7115 WATERLOO EASTERN CT                                                              CANAL WINCHESTER   OH   43110
MOORE, DARRELL K       5539 BELLE OAK DR                                                                     GALLOWAY           OH   43119‐8985
MOORE, DARRELL T       6145 N NEVADA AVE                                                                     KANSAS CITY        MO   64152
MOORE, DARRYCK S       17217 NEW JERSEY ST                                                                   SOUTHFIELD         MI   48075‐2827
MOORE, DARRYL A        6917 LOHR WAY                                                                         INDIANAPOLIS       IN   46214‐3289
MOORE, DARRYL B        1935 HOUSTON RD                                                                       BOLTON             MS   39041‐9387
MOORE, DARWIN E        3516 TAMARACK TRL                                                                     MOUNT MORRIS       MI   48458‐8211
MOORE, DAVID C         2432 GARDEN CREEK DR                                                                  MAUMEE             OH   43537‐1024
MOORE, DAVID C         3220 GINGERSNAP LN                                                                    LANSING            MI   48911‐1510
MOORE, DAVID CHARLES   3220 GINGERSNAP LN                                                                    LANSING            MI   48911‐1510
MOORE, DAVID CRAIG     2432 GARDEN CREEK DR                                                                  MAUMEE             OH   43537‐1024
MOORE, DAVID D         3872 HACKETT RD                                                                       SAGINAW            MI   48603‐9675
MOORE, DAVID E         727 E GREGORY BLVD                                                                    KANSAS CITY        MO   64131‐1324
MOORE, DAVID E         12628 LONGVIEW DR E                                                                   JACKSONVILLE       FL   32223‐8602
MOORE, DAVID E         3100 FIELD DRIVE                                                                      KOKOMO             IN   46902‐3916
MOORE, DAVID E         13601 HARTEL RD                                                                       GRAND LEDGE        MI   48837‐9301
MOORE, DAVID EDWARD    3100 FIELD DRIVE                                                                      KOKOMO             IN   46902‐3916
MOORE, DAVID G         3607 COOK RD                                                                          ROOTSTOWN          OH   44272‐9653
MOORE, DAVID G         6178 NEW LOTHROP RD                                                                   NEW LOTHROP        MI   48460‐9770
MOORE, DAVID J         6631 ASHBURRYCT                                                                       HOLLY              MI   48442
MOORE, DAVID J         1186 E 82ND ST                                                                        CLEVELAND          OH   44103‐2980
MOORE, DAVID J         131 SHAWNEE CT                                                                        FRANKLIN           OH   45005‐7117
MOORE, DAVID JAMES     6631 ASHBURRYCT                                                                       HOLLY              MI   48442
MOORE, DAVID K         401 BURWASH AVE APT 251                                                               SAVOY              IL   61874‐9699
MOORE, DAVID L         522 S 2ND ST                                                                          ROGERS             AR   72756‐4607
MOORE, DAVID L         5281 MONTGOMERY AVE                                                                   FRANKLIN           OH   45005‐1388
MOORE, DAVID L         27 EMMA ST                                                                            GIRARD             OH   44420‐3202
MOORE, DAVID L         JASTROCH & LABARGE S.C.               PO BOX 1487                                     WAUKESHA           WI   53187‐1487
MOORE, DAVID L         31307 EDGEWORTH DR                                                                    MADISON HEIGHTS    MI   48071‐1060
MOORE, DAVID L         113 JACOBS ST                                                                         CLINTON            NC   28328‐3534
MOORE, DAVID L         930 GENTLEWINDS CT                                                                    LEBANON            OH   45036‐1323
MOORE, DAVID L         21640 VIRGINIA ST                                                                     SOUTHFIELD         MI   48076‐2359
MOORE, DAVID L         211 ROSS ST                                                                           BATAVIA            NY   14020‐1607
MOORE, DAVID L         1205 E LARCHMONT DR                                                                   SANDUSKY           OH   44870‐4316
MOORE, DAVID L         1230 WARNER AVE                                                                       MANSFIELD          OH   44905‐2619
MOORE, DAVID LAMAR     SHANNON LAW FIRM                      100 W GALLATIN ST                               HAZLEHURST         MS   39083‐3007
MOORE, DAVID M         10557 W CANNONSVILLE RD                                                               TRUFANT            MI   49347‐9797
MOORE, DAVID M         15353 CATALINA WAY                                                                    HOLLY              MI   48442‐1105
MOORE, DAVID P         5620 ARAPAHO TRL                                                                      FORT WAYNE         IN   46825‐2640
MOORE, DAVID P         7480 MULLIKEN RD                                                                      CHARLOTTE          MI   48813‐8820
MOORE, DAVID P         1310 APPLEWOOD RD                                                                     FORT WAYNE         IN   46825‐3712
MOORE, DAVID P         950 OLD WEBB RD                                                                       ANDERSON           SC   29626‐5735
MOORE, DAVID R         145 ADALEE RD                                                                         CARROLLTON         GA   30117‐9645
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Name                   Address1                            Address2             Address3    Address4         City             State Zip
MOORE, DAVID S         GOLDENBERG, MILLER, HELLER &        PO BOX 959                                        EDWARDSVILLE       IL 62025‐0959
                       ANTOGNOLI
MOORE, DAVID S         10830 AMBER RIDGE DR UNIT 201                                                         LAS VEGAS        NV   89144‐4458
MOORE, DAVID T         4309 IMPERIAL PALM CT                                                                 LARGO            FL   33771‐1617
MOORE, DAVID W         429 DEER PATH LN APT 204                                                              GATLINBURG       TN   37738‐6445
MOORE, DAVID W         9515 PASATIEMPO DR                  FREMONT HILLS                                     NIXA             MO   65714‐5307
MOORE, DAVID W         3233 ROODS LAKE RD                                                                    LAPEER           MI   48446‐8695
MOORE, DAVID W         #6 LECASA LANE HWY YY                                                                 WASHINGTON       MO   63090
MOORE, DAVID W         APT 204                             429 DEER PATH LANE                                GATLINBURG       TN   37738‐6445
MOORE, DAVID W         3062 S BELSAY RD                                                                      BURTON           MI   48519‐1618
MOORE, DAVID WILLIAM   3062 S BELSAY RD                                                                      BURTON           MI   48519‐1618
MOORE, DAWN C          345 CHAMPLAIN ST                                                                      ROCHESTER        NY   14611‐3414
MOORE, DEBBIE A        733 EGGERT RD                                                                         BUFFALO          NY   14215‐1242
MOORE, DEBBIE A        35 PAN AM WAY                                                                         HAMILTON         OH   45015‐1328
MOORE, DEBORAH         510 HOLDEN CIR                                                                        MONROE           LA   71203
MOORE, DEBORAH A       815 THOMAS ST                                                                         JANESVILLE       WI   53545‐1635
MOORE, DEBORAH A       31600 SCHOENHERR APT M‐12                                                             WARREN           MI   48088
MOORE, DEBORAH D       4520 BRIGHTON CIR                                                                     GRAND BLANC      MI   48439‐7340
MOORE, DEBORAH J       4309 MARR AVE                                                                         WARREN           MI   48091‐5019
MOORE, DEBORAH J       16 SMELTERVIEW DR                                                                     CLIMAX SPRINGS   MO   65324‐2415
MOORE, DEBORAH L       9961 RUTHERFORD ST                                                                    DETROIT          MI   48227‐1613
MOORE, DEBORAH N       510 HOLDEN CIR                                                                        MONROE           LA   71203
MOORE, DEBORAH R       363 BEAM DR                                                                           FRANKLIN         OH   45005‐2007
MOORE, DEBRA J         6409 CREST HILL DR                                                                    TAMPA            FL   33615
MOORE, DEBRA K         10826 MACKINAW TRAIL                                                                  FOWLERVILLE      MI   48836‐9639
MOORE, DELAINE         1446 GLEN ELLYN DR                                                                    FLINT            MI   48532‐2639
MOORE, DELBERT L       PO BOX 05488                                                                          DETROIT          MI   48205‐0488
MOORE, DELORES         105 AUTUMN CREEK LN APT A                                                             EAST AMHERST     NY   14051‐2920
MOORE, DELORES         4104 COLBY AVE SW                                                                     WYOMING          MI   49509‐4419
MOORE, DELORES         4104 COLBY SW                                                                         WYOMING          MI   49509‐4419
MOORE, DELORES E       101 E MAIN ST APT 8                                                                   EVANSVILLE       WI   53536
MOORE, DELORES E       6072 BROWNSVILLE RD                                                                   BROWNSVILLE      KY   42210‐9439
MOORE, DELPHINE N      32905 ROBESON ST                                                                      ST CLAIR SHRS    MI   48082‐2916
MOORE, DELRAY JAMES    10352 N CENTER RD                                                                     CLIO             MI   48420‐9713
MOORE, DENISE HAZEL    2229 CENTRAL AVE                                                                      INDIANAPOLIS     IN   46205‐4324
MOORE, DENNIS A        4608 RED OAK DR                                                                       METAMORA         MI   48455‐9745
MOORE, DENNIS A        173 CIRCLEVIEW DR                                                                     NEW MIDDLETWN    OH   44442‐9403
MOORE, DENNIS C        30 WINDSCAPE DR                                                                       COVINGTON        GA   30016‐3040
MOORE, DENNIS L        7350 NEFF RD                                                                          MOUNT MORRIS     MI   48458‐1809
MOORE, DENNIS L        5292 SOUTHEAST MOHAWK DRIVE                                                           LATHROP          MO   64465‐8108
MOORE, DENNIS L        5111 RENVILLE ST                                                                      DETROIT          MI   48210‐2149
MOORE, DENNIS R        1169 IRMAL DR                                                                         DAYTON           OH   45432‐1706
MOORE, DENNIS R        200 DALZELL ST APT 2                                                                  SHREVEPORT       LA   71104‐2430
MOORE, DENNIS R        PO BOX 84                                                                             WINN             MI   48896‐0084
MOORE, DENNIS R        439 N STINE RD                                                                        CHARLOTTE        MI   48813‐8857
MOORE, DENNIS W        9704 PARDEE RD                                                                        TAYLOR           MI   48180‐3535
MOORE, DENNY G         35 MARY STAFFORD LN                                                                   FLINT            MI   48507‐4251
MOORE, DENVER W        2446 BERTHA AVE                                                                       FLINT            MI   48504‐2420
MOORE, DENYSE D        2107 WELLERMAN RD                                                                     WEST MONROE      LA   71291‐7641
MOORE, DEREK S         2208 GROESBECK AVE                                                                    LANSING          MI   48912‐3449
MOORE, DERIC L         2825 N STATE HIGHWAY 360 APT 1112                                                     GRAND PRAIRIE    TX   75050‐7858
MOORE, DERIC L.        2825 N STATE HIGHWAY 360 APT 1112                                                     GRAND PRAIRIE    TX   75050‐7858
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Name                 Address1                        Address2                 Address3    Address4         City            State Zip
MOORE, DEVE'ON D     3422 TWILIGHT LN                                                                      SHREVEPORT       LA 71119‐5010
MOORE, DEVOTIE       812 COMSTOCK ST NW                                                                    WARREN           OH 44483‐3106
MOORE, DIANA F       10505 S 400 E                                                                         MARKLEVILLE      IN 46056
MOORE, DIANE         3049 E SMILEY RD                                                                      SHELBY           OH 44875‐8601
MOORE, DIANE         5 BLACKBERRY CIR                                                                      PERRYVILLE       MO 63775‐4213
MOORE, DIANE J       5571 HAVEN RD                                                                         LEONARD          MI 48367‐1125
MOORE, DIANE JOYCE   5571 HAVEN RD                                                                         LEONARD          MI 48367‐1125
MOORE, DIANE L       3635 LANSING RD                                                                       LANSING          MI 48917‐4326
MOORE, DIANE M       2420 W LAKE RD                                                                        CLIO             MI 48420‐8856
MOORE, DISIE L       VILLAGE GREEN OF WATERFORD      870 VILLAGE GREEN LANE   APT. 1088                    WATERFORD        MI 48328
MOORE, DISIE L       287 S ANDERSON AVE                                                                    PONTIAC          MI 48342‐3201
MOORE, DOCK E        1202 BRENDA ST                                                                        BAINBRIDGE       GA 39817‐2651
MOORE, DON E         9868 CRANE RD                                                                         MILAN            MI 48160‐8806
MOORE, DON E         3526 CALVERT AVE                                                                      SAINT LOUIS      MO 63114‐2737
MOORE, DON O         HC 65 BOX 56                                                                          RINGLING         OK 73456‐9420
MOORE, DON R         6504 TAPROCK DR                                                                       MCKINNEY         TX 75070
MOORE, DONALD        KROHN & MOSS ‐ OH               1801 E 9TH ST STE 1710                                CLEVELAND        OH 44114‐3198
MOORE, DONALD        SIMMONS FIRM                    PO BOX 559                                            WOOD RIVER        IL 62095‐0559
MOORE, DONALD        2157 HIDDEN MEADOWS DR UNIT C                                                         WALLED LAKE      MI 48390‐2574
MOORE, DONALD        PO BOX 1662                                                                           WEST CHESTER     OH 45071‐1662
MOORE, DONALD A      7727 PLEASANT BROOK DR 21                                                             WATERFORD        MI 48327
MOORE, DONALD B      1430 FOX CROSS DR                                                                     MARTINSVILLE     IN 46151‐8211
MOORE, DONALD B      6931 MICHELLE PLACE                                                                   ENGLEWOOD        OH 45322‐3708
MOORE, DONALD C      761 ASH CT                                                                            JAMESTOWN        OH 45335‐2511
MOORE, DONALD E      436 N ADAMS ST                                                                        KNIGHTSTOWN      IN 46148‐1004
MOORE, DONALD E      10505 S 400 E                                                                         MARKLEVILLE      IN 46056‐9731
MOORE, DONALD E      3242 LOVE LN                                                                          SIX LAKES        MI 48886‐8716
MOORE, DONALD E      1113 NORMANDY TERRACE DR 110                                                          FLINT            MI 48532
MOORE, DONALD E      16310 W STATE ROAD 59                                                                 EVANSVILLE       WI 53536‐9028
MOORE, DONALD E      2824 E. U.S. 36                                                                       MARKLEVILLE      IN 46056
MOORE, DONALD E      PO BOX 339                                                                            HOUGHTON LAKE    MI 48629‐0339
MOORE, DONALD F      1624 HICKORY HILLS BLVD                                                               HOWELL           MI 48855‐6407
MOORE, DONALD G      740 N ROCK RD                                                                         MANSFIELD        OH 44903‐9114
MOORE, DONALD G      3615 WINDSOR WAY                                                                      ANDERSON         IN 46011‐3054
MOORE, DONALD J      902 N OAKLAND ST                                                                      SAINT JOHNS      MI 48879‐1064
MOORE, DONALD J      1604 ESSEX ST                                                                         ESSEXVILLE       MI 48732
MOORE, DONALD L      44 DRYDEN RD                                                                          NEW CASTLE       DE 19720‐2315
MOORE, DONALD N      1909 LASATA DR                                                                        FRANKLIN         TN 37067‐8135
MOORE, DONALD P      805 CORNSTALK DR                                                                      NEW CASTLE       DE 19720‐7657
MOORE, DONALD R      3115 HARTLEY DR                                                                       ADRIAN           MI 49221‐9247
MOORE, DONALD R      2800 OAKLAND LOCUST RIDGE RD                                                          BETHEL           OH 45106‐9645
MOORE, DONALD R      622 WALNUT DR N                                                                       LEXINGTON        OH 44904‐1541
MOORE, DONALD R      44179 DEEP HOLLOW CIR                                                                 NORTHVILLE       MI 48168‐8409
MOORE, DONALD R      5212 LAUBERT RD                                                                       ATWATER          OH 44201‐9720
MOORE, DONALD T      204 HOLLAND DR                                                                        MONROE           LA 71203‐2731
MOORE, DONALD V      245 N 6TH ST                                                                          ELWOOD           IN 46036‐1440
MOORE, DONALD V      573 LONG HOLLOW PIKE LOT 56                                                           GALLATIN         TN 37066‐2682
MOORE, DONALD V      1503 MILITARY RD                MCAUEY RESIDENCE                                      KENMORE          NY 14217‐1339
MOORE, DONNA         2695 VALLEY VIEW RD                                                                   HERMITAGE        PA 16148‐6694
MOORE, DONNA         111 WOODLAND RIDGE COURT                                                              CARY             NC 27519
MOORE, DONNA         PO BOX 13151                                                                          FLINT            MI 48501‐3151
MOORE, DONNA
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Name                 Address1                        Address2                      Address3   Address4         City             State Zip
MOORE, DONNA A       PO BOX 2470                                                                               MORGAN HILL       CA 95038‐2470
MOORE, DONNA B       387 N JANESVILLE ST                                                                       MILTON            WI 53563‐1308
MOORE, DONNA C       524 MOUND CT                                                                              LEBANON           OH 45036‐1950
MOORE, DONNA J       4021 N STATE ROUTE 19                                                                     OAK HARBOR        OH 43449‐9724
MOORE, DONNA L       7357 PINE ST                                                                              TAYLOR            MI 48180‐2205
MOORE, DONNIE        7398 COLEGROVE DR                                                                         HUBER HEIGHTS     OH 45424‐2939
MOORE, DONNIE GENE   MOODY EDWARD O                  801 W 4TH ST                                              LITTLE ROCK       AR 72201‐2107
MOORE, DONNIE W      5605 BERGAN DR                                                                            DAYTON            OH 45424
MOORE, DONOVAN       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                     STREET, SUITE 600
MOORE, DORA C        6058 AMANDA DR                                                                            SAGINAW          MI   48638‐4357
MOORE, DORA EDITH    1012 MAPLEWOOD DR                                                                         COLUMBIA         MO   65203‐1856
MOORE, DORA J        4727 MACEDONIA ROAD                                                                       ADOLPHUS         KY   42120‐9721
MOORE, DORALYN T     ROUTE 4 BOX 90C                                                                           HARRISON         AR   72601
MOORE, DORENE D      1900 COOLIDGE HWY APT 201                                                                 TROY             MI   48084‐3610
MOORE, DORINDA       650 BROWNING ST                                                                           YPSILANTI        MI   48198‐3905
MOORE, DORIS J       1213 ORLANDER                                                                             MOUNT MORRIS     MI   48458
MOORE, DORIS L       4250 E LEXINGTON AVENUE                                                                   ST LOUIS         MO   63115‐3309
MOORE, DORIS S       5530 WASHINGTON ST                                                                        BELMONT          NC   28012‐9504
MOORE, DORIS V       5732 WHEATON DRIVE                                                                        FT WORTH         TX   76133‐2548
MOORE, DOROTHY       16300 STATE HWY 305             CEDAR GLENN #22                                           POULSBO          WA   98370‐7832
MOORE, DOROTHY       1325 E VICTOR RD APT 310                                                                  VICTOR           NY   14564
MOORE, DOROTHY       2853 TUXFORD MOOR                                                                         LITHIA SPRINGS   GA   30122
MOORE, DOROTHY       PO BOX 19445                                                                              DETROIT          MI   48219‐0445
MOORE, DOROTHY C     448 CRANDALL AVE                                                                          YOUNGSTOWN       OH   44504‐1457
MOORE, DOROTHY C     5861 NORTHRIDGE CIR                                                                       WATERFORD        MI   48327‐1870
MOORE, DOROTHY C     448 CRANDALL                                                                              YOUNGSTOWN       OH   44504‐1457
MOORE, DOROTHY G     6750 MEANDER RUN                                                                          AUSTINTOWN       OH   44515‐2134
MOORE, DOROTHY I     2148 TIMBERIDGE CIR                                                                       DAYTON           OH   45459‐1342
MOORE, DOROTHY J     45744 WAKEFIELD STREET                                                                    SHELBY TWP       MI   48317‐4760
MOORE, DOROTHY J     2127 TAVENNER AVE                                                                         SPRINGFIELD      OH   45503‐3048
MOORE, DOROTHY L     1707 BETHANY RD. RM 220                                                                   ANDERSON         IN   46012‐9669
MOORE, DOROTHY L     2771 COOPER RIDGE RD                                                                      COLUMBUS         OH   43231‐1626
MOORE, DOROTHY M     115 S HUTTIG AVE                                                                          INDEPENDENCE     MO   64053‐1435
MOORE, DOROTHY M     2347 E RIVER RD                                                                           MORAINE          OH   45439‐1527
MOORE, DOROTHY M     9978 HENDERSON RT =1                                                                      CORUNNA          MI   48817‐9793
MOORE, DOROTHY M     673 ROBERT DR                                                                             HARRISON         MI   48625‐9758
MOORE, DOROTHY M     2347 E. RIVER ROAD                                                                        DAYTON,          OH   45439‐1527
MOORE, DOROTHY M     673 ROBERTS DR                                                                            HARRISON         MI   48625‐9758
MOORE, DOROTHY M     11 LEHIGH ST 194                                                                          RUSH             NY   14543
MOORE, DOROTHY M     10254 LAUREN PASS               C/O LYNDA DE WIDT                                         FISHERS          IN   46037‐9329
MOORE, DOROTHY R     CEDARCREST BOX 396                                                                        NANCY            KY   42544
MOORE, DOROTHY R     396 CEDAR CREST RD                                                                        NANCY            KY   42544
MOORE, DOROTHY V     3400 WEST MORGAN LN                                                                       QUEEN CREEK      AZ   85242
MOORE, DOUGLAS A     1842 ST RD 534 NW                                                                         SOUTHINGTON      OH   44470
MOORE, DOUGLAS B     3763 CRYSTAL VALLEY DR                                                                    HOWELL           MI   48843‐5408
MOORE, DOUGLAS D     37532 STONEGATE CIR                                                                       CLINTON TWP      MI   48036‐2983
MOORE, DOUGLAS D     2416 CHESTNUT BND                                                                         HOWELL           MI   48855‐6403
MOORE, DOUGLAS DON   37532 STONEGATE CIR                                                                       CLINTON TWP      MI   48036‐2983
MOORE, DOUGLAS F     10265 E POTTER RD                                                                         DAVISON          MI   48423‐8110
MOORE, DOUGLAS G     PO BOX 333                                                                                MILFORD          MI   48381‐0333
MOORE, DOUGLAS H     2527 ZION RD                                                                              COLUMBIA         TN   38401‐6044
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Name                       Address1                              Address2                       Address3   Address4         City            State Zip
MOORE, DOUGLAS M           6724 DUPONT AVE N                                                                                BROOKLYN CTR     MN 55430‐1520
MOORE, DOUGLAS MCCLELLEN   6724 DUPONT AVE N                                                                                BROOKLYN CTR     MN 55430‐1520
MOORE, DOUGLAS R           578 W VIA DE ARBOLES                                                                             QUEEN CREEK      AZ 85240‐8467
MOORE, DOUGLAS R           N1972 BERGEN RD                                                                                  VULCAN           MI 49892‐8992
MOORE, DOYLE J             3898 W WALTON BLVD 3                                                                             WATERFORD        MI 48329
MOORE, DRENDA KAY          19114 RANCHWOOD LANE                                                                             HARRAH           OK 73045‐9314
MOORE, DRUE                PORTER & MALOUF PA                    4670 MCWILLIE DR                                           JACKSON          MS 39206‐5621
MOORE, DUANE A             PO BOX 603                                                                                       EASTPORT         MI 49627‐0603
MOORE, DUANE E             9156 ELAINE DR                                                                                   SWARTZ CREEK     MI 48473‐8536
MOORE, DUANE E             133 YORKSHIRE RD                                                                                 LEXINGTON        OH 44904‐9773
MOORE, DUANE R             9901 SO. M‐52                                                                                    SAINT CHARLES    MI 48655
MOORE, DUNCAN A            617 W 2ND ST                                                                                     DAVISON          MI 48423‐1353
MOORE, DWIGHT B            85 DWIGHT AVE                                                                                    PONTIAC          MI 48341‐1273
MOORE, DWIGHT E            652 MANSFIELD LUCAS RD                                                                           MANSFIELD        OH 44907‐1814
MOORE, DYER D              33879 DAVID DR                                                                                   N RIDGEVILLE     OH 44039‐4114
MOORE, E P                 508 DEPTFORD AVE                                                                                 DAYTON           OH 45429‐5939
MOORE, EARL                GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH       PA 15219

MOORE, EARL                BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH 44067
                                                                 PROFESSIONAL BLDG
MOORE, EARL B              1056 REVERE'S RUN                                                                                LEBANON         OH   45036‐8974
MOORE, EARL B              1056 REVERES RUN                                                                                 LEBANON         OH   45036‐8974
MOORE, EARL D              2940 ENGLAND PKWY                                                                                GRAND PRAIRIE   TX   75054‐5522
MOORE, EARL D              23871 MORITZ ST                                                                                  OAK PARK        MI   48237‐2107
MOORE, EARLINE             PO BOX 70546                                                                                     TOLEDO          OH   43607‐0546
MOORE, EARNEST             PO BOX 13827                                                                                     DETROIT         MI   48213‐0827
MOORE, EARNESTINE          3470 HAWTHORNE DR                                                                                FLINT           MI   48503‐4649
MOORE, EDDA L.             361 SHIRE OAKS CT                                                                                LAFAYETTE       CA   94549‐5636
MOORE, EDDIE L             15 CROMBIE ST                                                                                    ROCHESTER       NY   14605‐1623
MOORE, EDDIE M             272 W WILSON AVE                                                                                 PONTIAC         MI   48341‐2469
MOORE, EDDIE M             272 WILSON                                                                                       PONTIAC         MI   48341
MOORE, EDDIE W             1134 E MOTT AVE                                                                                  FLINT           MI   48505‐2909
MOORE, EDITH L             1244 DUNCAN DR                                                                                   MILFORD         OH   45150‐9731
MOORE, EDITH L             1244 DUNCAN DRIVE                                                                                MILFORD         OH   45150‐9731
MOORE, EDITH M             8128 W FALL CREEK DR                                                                             PENDLETON       IN   46064‐8925
MOORE, EDITH V             1958 WAKEFIELD AVE                                                                               YOUNGSTOWN      OH   44514‐1063
MOORE, EDNA                995 LAUREL ST                                                                                    BROOMFIELD      CO   80020
MOORE, EDNA                4365 GATEWOOD LANE                                                                               FRANKLIN        OH   45005‐5005
MOORE, EDNA C              1 BRICKER AVE                                                                                    DAYTON          OH   45427‐1706
MOORE, EDNA D.             805 GRESHAM WAY                                                                                  CHESAPEAKE      VA   23323‐6805
MOORE, EDNA J              40 HICKORY LANE                                                                                  WATERFORD       MI   48327‐2568
MOORE, EDNA J              40 HICKORY LN                                                                                    WATERFORD       MI   48327‐2568
MOORE, EDSEL L             7528 TARLAND LN                                                                                  CHARLOTTE       NC   28269‐9133
MOORE, EDWARD              8791 N CHRISTINE DR                                                                              BRIGHTON        MI   48114‐4911
MOORE, EDWARD              BICKEL LAW FIRM INC                   7825 FAY AVE STE 200                                       LA JOLLA        CA   92037‐4270
MOORE, EDWARD              PORTER & MALOUF PA                    4670 MCWILLIE DR                                           JACKSON         MS   39206‐5621
MOORE, EDWARD A            3402 PUMPHOUSE RD                                                                                BEDFORD         IN   47421‐6424
MOORE, EDWARD C            2 LAKEVIEW DR                                                                                    LAKE ST LOUIS   MO   63367‐2222
MOORE, EDWARD D            2127 BERNICE AVE                                                                                 FLINT           MI   48532‐3912
MOORE, EDWARD D            1610 VINEGAR HILL RD                                                                             BEDFORD         IN   47421‐7915
MOORE, EDWARD E            5349 DOGWOOD DR                                                                                  WHITE LAKE      MI   48383‐4104
MOORE, EDWARD H            2409 GARDEN CREEK DR                                                                             ARLINGTON       TX   76018‐1345
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Name                 Address1                       Address2                      Address3   Address4         City               State Zip
MOORE, EDWARD L      1602 N VIRGINIA AVE                                                                      FLINT               MI 48506‐4227
MOORE, EDWARD L      1516 WATERFORD PKWY                                                                      SAINT JOHNS         MI 48879‐9630
MOORE, EDWARD M      408 W 12TH ST                                                                            MIO                 MI 48647‐9165
MOORE, EDWARD R      2644 MOORSFIELD LN             C/O FLORENCE K GREEN                                      JACKSONVILLE        FL 32225‐3798
MOORE, EDWARD T      PO BOX 5241                                                                              FLINT               MI 48503
MOORE, EDWARD W      127 TRUMBULL PKWY                                                                        BATAVIA             NY 14020‐2617
MOORE, EDWIN B       2800 W BURNELL DR                                                                        MUNCIE              IN 47304‐2685
MOORE, EDWIN L       29 DEWBERRY DR                                                                           REEDS SPRING        MO 65737‐8804
MOORE, EDWIN M       405 DORAL PARK DR                                                                        KOKOMO              IN 46901‐7021
MOORE, EDYTHE K      16857 INVERNESS ST                                                                       DETROIT             MI 48221‐3110
MOORE, ELAINE C      4373 RUE DE CAROLYN                                                                      OXFORD              MI 48370‐2231
MOORE, ELAINE I      3602 GRATIOT AVE                                                                         FLINT               MI 48503‐4911
MOORE, ELAINE M      9843 COUNTY ROAD 9                                                                       MILLPORT            AL 35576‐3149
MOORE, ELAINE M      22009 ROSEMARY ST                                                                        TAYLOR              MI 48180‐3622
MOORE, ELEANOR H     806 PLOVER LN                                                                            CLAYTON             OH 45315‐8756
MOORE, ELEANORE M    4648 31ST CT E                                                                           BRADENTON           FL 34203‐3966
MOORE, ELISABETH     34970 ANN ARBOR TRL APT D6                                                               LIVONIA             MI 48150‐3574
MOORE, ELIZABETH A   470 MICHIGAN AVE                                                                         MARYSVILLE          MI 48040‐1188
MOORE, ELIZABETH D   1607 KNOX DR                                                                             BRENTWOOD           TN 37027‐7355
MOORE, ELIZABETH E   2465 N COURT ST                                                                          CIRCLEVILLE         OH 43113‐9338
MOORE, ELIZABETH J   2350 9TH ST                                                                              ST CLOUD            FL 34769
MOORE, ELIZABETH M   2141 PINE RIVER RD                                                                       STANDISH            MI 48658‐9687
MOORE, ELIZABETH R   63 PAMELA CT                                                                             LEVITTOWN           PA 19057‐3612
MOORE, ELLA M        6619 PARKBELT DR                                                                         FLINT               MI 48505‐1930
MOORE, ELLA MAE      2065 HIGHWAY 138                                                                         RIVERDALE           GA 30296‐1836
MOORE, ELLEN         2618 HERITAGE FARM DR                                                                    WILMINGTON          DE 19808‐3730
MOORE, ELLEN M       790 COURTVIEW DR SW                                                                      CARROLLTON          OH 44615‐9477
MOORE, ELMER L       PO BOX 777                                                                               CENTRAL LAKE        MI 49622‐0777
MOORE, ELNA C        2228 PARK LANE                                                                           HOLT                MI 48842‐1223
MOORE, ELNA C        2228 PARK LN                                                                             HOLT                MI 48842‐1223
MOORE, ELNORA        1518 WALNUT ST NE                                                                        GRAND RAPIDS        MI 49503‐1361
MOORE, ELNORA F      3119 HATHERLY AVE                                                                        FLINT               MI 48504‐4312
MOORE, ELNORA F      3119 HATHERLY                                                                            FLINT               MI 48504‐4312
MOORE, ELSIE E       36 BRUMBAUGH                                                                             NEW LEBANON         OH 45345‐1206
MOORE, ELSIE K       902 MILLARD ST                                                                           THREE RIVERS        MI 49093‐9588
MOORE, ELSIE M       337 LINCOLN ST SW                                                                        ATLANTA             GA 30315‐3611
MOORE, ELVIA         20320 REGENT DR                                                                          DETROIT             MI 48205‐1227
MOORE, ELVIE         PO BOX 703                                                                               ROCKY POINT         NC 28457‐0703
MOORE, ELVIS L       PO BOX 938                                                                               SPRING HILL         TN 37174‐0938
MOORE, EMILY         3745 MISSISSIPPI ST UNIT 1                                                               SAN DIEGO           CA 92104‐5902
MOORE, EMMA J        236 HERITAGE COMMONS ST SE                                                               GRAND RAPIDS        MI 49503‐5249
MOORE, EMMA J        21505 GREEN HILL RD APT 153    C/O NICOLE LATONYA WILLIAMS                               FARMINGTON HILLS    MI 48335‐4424
MOORE, EMMA L        14271 MARK TWAIN ST                                                                      DETROIT             MI 48227‐2848
MOORE, EMMA L        1327 NW SCENIC LAKE DR                                                                   LAKE CITY           FL 32055‐6003
MOORE, EMMARINE      4044 AVON LAKE RD                                                                        LITCHFIELD          OH 44253‐9523
MOORE, EMOGENE       10699 SOUTH 300 W                                                                        KEYSTONE            IN 46759‐9703
MOORE, EMOGENE       10699 S 300 W                                                                            KEYSTONE            IN 46759‐9703
MOORE, ENDIE L       20316 REGENT DR                                                                          DETROIT             MI 48205‐1227
MOORE, ERIC W        22181 MERLOT DR                                                                          ATHENS              AL 35613‐2325
MOORE, ERICH A       PO BOX 97                                                                                WILKINSON           IN 46186‐0097
MOORE, ERICH A.      PO BOX 97                                                                                WILKINSON           IN 46186‐0097
MOORE, ERICK D       8356 PITSBURG LAURA RD                                                                   ARCANUM             OH 45304‐9491
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Name                      Address1                        Address2                      Address3   Address4         City              State Zip
MOORE, ERNEST             SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST         MS 39083‐3007
MOORE, ERNEST L           700 WINDSONG DR                                                                           ROCHESTER HILLS    MI 48307‐3592
MOORE, ERNEST N           1926 W LAKE HIDEAWAY RD                                                                   KINGMAN            IN 47952‐8423
MOORE, ESSIE              108 MOUNT CARMEL RD                                                                       COLUMBIA           KY 42728‐9500
MOORE, ESSIE              108 MT CARMEL ROAD                                                                        COLUMBIA           KY 42728‐9500
MOORE, ESSIE N            362 DEER RUN RD                                                                           LANCASTER          KY 40444
MOORE, ESTELLA            3117 HELBER ST                                                                            FLINT              MI 48504‐2992
MOORE, ETHEL L            13558 HANNAN ROAD                                                                         ROMULUS            MI 48174‐4737
MOORE, ETHEL L            13558 HANNAN RD                                                                           ROMULUS            MI 48174‐4737
MOORE, ETHEL M            1086 E CHICAGO BLVD.            APT 16                                                    TECUMSEH           MI 49286
MOORE, ETHEL M            100 S DIVISION ST APT 6                                                                   TECUMSEH           MI 49285‐2054
MOORE, ETHEL V            1170 NEW RD                                                                               AMHERST            NY 14228‐1537
MOORE, EUGENE             PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON            MS 39206‐5621
MOORE, EUGENE             1310 AVON PARK DR APT 8                                                                   FLINT              MI 48503‐2799
MOORE, EUGENE             2001 NORVAL AVE                                                                           LIMA               OH 45804‐2200
MOORE, EUGENE             8867 APPOLINE ST                                                                          DETROIT            MI 48228‐2656
MOORE, EUGENE E           PO BOX 837                                                                                CASHION            AZ 85329‐0837
MOORE, EULALIA F          211 SUGAR BUSH LN S                                                                       BROWNSBURG         IN 46112‐2003
MOORE, EULOUIS E          4 PALMERSTON CT                                                                           BALTIMORE          MD 21244‐1967
MOORE, EUNICE L           4223 N 18TH ST                                                                            MILWAUKEE          WI 53209
MOORE, EUNICE R           7500 OSCEOLA‐POLK LINE RD                                                                 DAVENPORT          FL 33896
MOORE, EUNICE R           156 THAMES ST N                 INGERSOLL ON N5C3E2           CANADA
MOORE, EUNICE W           2076 DAWSONVILLE HWY                                                                      DAHLONEGA         GA   30533
MOORE, EVA J              12401 BUCKSKIN PASS                                                                       NORMAN            OK   73026‐8650
MOORE, EVA M              3285 SHARP RD                                                                             ADRIAN            MI   49221‐9669
MOORE, EVA M              39 PEASE RD                                                                               MANALAPAN         NJ   07726‐3145
MOORE, EVAYLN             46 1/2 N. GAMBLE ST                                                                       SHELBY            OH   44875‐1227
MOORE, EVAYLN             46 1/2 N GAMBLE ST                                                                        SHELBY            OH   44875‐1227
MOORE, EVELYN M           1318 WHISPER WAY                                                                          BENTON            IL   62812‐1876
MOORE, EVLYIN J           2605 YATES                                                                                KANSAS CITY       KS   66106‐4251
MOORE, EVRON
MOORE, FANNIE I           PO BOX 7032                                                                               LONGVIEW          TX   75607‐7032
MOORE, FAYE               1624 N LIVINGSTON                                                                         INDIANAPOLIS      IN   46222‐2520
MOORE, FAYE D             711 BENNINGTON AVE                                                                        YOUNGSTOWN        OH   44505‐3405
MOORE, FAYE L             5922 7TH AVE                                                                              LOS ANGELES       CA   90043‐3204
MOORE, FELTON             ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                               SOUTHFIELD        MI   48075‐3727
MOORE, FERNIS             3152 FRANKLIN AVE                                                                         TOLEDO            OH   43608‐1758
MOORE, FERRELL BRADFORD   MOODY EDWARD O                  801 W 4TH ST                                              LITTLE ROCK       AR   72201‐2107
MOORE, FLORA              67A LEANLAND LANE                                                                         JACKSON           TN   38305‐8305
MOORE, FLORA              67 LEALAND LN APT A                                                                       JACKSON           TN   38305‐4838
MOORE, FLORA E            510 26TH STREET WEST            #107                                                      PALMETTO          FL   34221
MOORE, FLORENCE           77 E ST                         LYONS CREEK TRAILER PARK                                  LOTHIAN           MD   20711‐2719
MOORE, FLORENCE A         5020 GRANDE VIEW LANE                                                                     JACKSON           MI   49201‐9866
MOORE, FLORENCE E         3045 E. US 36                                                                             MARKLEVILLE       IN   46056
MOORE, FLORENCE M         6306 VALORIE LN                                                                           FLINT             MI   48504‐1677
MOORE, FLOSSIE            G4606 BEECHER RD                APT K1                                                    FLINT             MI   48532
MOORE, FLOSSIE G          PO BOX 23                                                                                 LAPEL             IN   46051‐0023
MOORE, FLOSSIE G          P O BOX 23                                                                                LAPEL             IN   46051‐0023
MOORE, FLOYD              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                          STREET, SUITE 600
MOORE, FLOYD E            206 STANLEY DR                                                                            CORUNNA           MI 48817‐1155
MOORE, FORIESTINE         20276 BEAVERLAND ST                                                                       DETROIT           MI 48219‐1169
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Name                 Address1                          Address2                 Address3    Address4         City                State Zip
MOORE, FORREST E     8433 EVERETT WAY UNIT B                                                                 ARVADA               CO 80005‐2381
MOORE, FORREST R     205 CANNON CT E                                                                         PONTE VEDRA BEACH    FL 32082‐3973
MOORE, FOSTER U      1415 CHERRY ST                                                                          SAGINAW              MI 48601‐1953
MOORE, FRANCES       4085 LAPEER RD                    C/O JOSEPH E BAESSLER,                                BURTON               MI 48509‐1707
                                                       CONSERVATOR
MOORE, FRANCES       32 WASHINGTON STREET                                                                    REHOBOTH            DE   19971
MOORE, FRANCES A     1606 KINGSTON DR                                                                        SAGINAW             MI   48638‐5400
MOORE, FRANCES E     5186 PHILLIPSBURG UNION RD                                                              ENGLEWOOD           OH   45322‐8707
MOORE, FRANCES E     5186 PHILLSBURG ‐ UNION ROAD                                                            ENGLEWOOD           OH   45322‐5322
MOORE, FRANCES J     8220 OLYMPIA ST                                                                         DETROIT             MI   48213‐2122
MOORE, FRANCES KAY   811 COVE RD                                                                             WEIRTON             WV   26062‐4235
MOORE, FRANCES KAY   811 COVE RD.                                                                            WEIRTON             WV   26062‐4235
MOORE, FRANCES S     17500 OAKLEY RD                                                                         OAKLEY              MI   48649‐8763
MOORE, FRANCES S     17500 S OAKLEY RD                                                                       OAKLEY              MI   48649‐8763
MOORE, FRANCIDA      1246 E WALTON BLVD                                                                      PONTIAC             MI   48340
MOORE, FRANCIS       1610 VINEGAR HILL RD                                                                    BEDFORD             IN   47421‐7915
MOORE, FRANCIS R     402 S MAIN ST                                                                           DAVISON             MI   48423‐1608
MOORE, FRANK         342 S BROADWAY ST APT C                                                                 GREENVILLE          MS   38701‐4000
MOORE, FRANK         6423 CLIFTON FORGE CIR                                                                  CATONSVILLE         MD   21228‐2617
MOORE, FRANK         342 S BRDWAY ST                   APT ‐C                                                GREENVILLE          MS   38701‐4000
MOORE, FRANK C       3206 IVORY TRL SW                                                                       MARIETTA            GA   30060‐6368
MOORE, FRANK H       9267 VASSAR RD                                                                          GRAND BLANC         MI   48439‐9535
MOORE, FRANK W       1428 ANNESLEY ST                                                                        SAGINAW             MI   48601‐2109
MOORE, FRANKIE L     3070 COVENTRY LN                                                                        GREENWOOD           IN   46143
MOORE, FRANKLIN D    11 SPORTSMAN LN                                                                         MILTON              KY   40045‐7104
MOORE, FRANKLIN T    85 NATHAN CIR                                                                           ALPHARETTA          GA   30009‐1809
MOORE, FRANKLYN      1024 JEFFERSON RD                                                                       GREENSBORO          NC   27410‐3657
MOORE, FRANKLYN      75 WILDFLOWER CT APT 19                                                                 MORICHES            NY   11955‐2030
MOORE, FRANKY J      19984 CHAREST ST                                                                        DETROIT             MI   48234‐1650
MOORE, FRED          6627 ORANGE LN                                                                          FLINT               MI   48505‐1925
MOORE, FRED          5847 WALROND AVE                                                                        KANSAS CITY         MO   64130‐3921
MOORE, FRED          3236 TYLER                                                                              DETROIT             MI   48238
MOORE, FRED          1811 DOGWOOD DR                                                                         HOLT                MI   48842‐1530
MOORE, FRED          PO BOX 1896                                                                             MAGGIE VALLEY       NC   28751
MOORE, FRED C        15202 W 158TH TER                                                                       OLATHE              KS   66062‐6378
MOORE, FRED J        2990 GRAVEL CREEK RD                                                                    NORTH BRANCH        MI   48461‐8413
MOORE, FRED S        8017 CAPTAIN MARY MILLER DR                                                             SHREVEPORT          LA   71115‐2948
MOORE, FRED V        78 S HARMONY DR                                                                         JANESVILLE          WI   53545‐2673
MOORE, FREDA         PO BOX 504                                                                              CLARKSTON           MI   48347‐0504
MOORE, FREDA         C/O COMING HOME                   825 VAN NESS AVENUE                                   SAN FRANCISCO       CA   94109‐7893
MOORE, FREDDIE B     1124 DEVONSHIRE DR                                                                      DESOTO              TX   75115‐3756
MOORE, FREDDIE J     2300 INDIANA AVE                                                                        SAGINAW             MI   48601‐5511
MOORE, FREDERICK A   25905 CRESCENT WAY                                                                      WIND LAKE           WI   53185‐2730
MOORE, FREDERICK A   456 HIGHLAND AVE SW                                                                     WARREN              OH   44485‐3603
MOORE, FREDERICK C   3770 COUNTY FARM RD                                                                     SAINT JOHNS         MI   48879‐9295
MOORE, FREDERICK D   5345 JOPPA WAY                                                                          LAKELAND            FL   33810‐5825
MOORE, FREDERICK J   178 COLEMAN AVE                                                                         SPENCERPORT         NY   14559‐1828
MOORE, FREDERICK L   899 HARMONY DR                                                                          GAHANNA             OH   43230‐4390
MOORE, FREDRICK W    2730 CEDARBROOK WAY                                                                     BEAVERCREEK         OH   45431‐7706
MOORE, GALE T        69468 BROOKHILL DR                                                                      BRUCE TWP           MI   48065‐4209
MOORE, GARLON        5125 RADNOR RD                                                                          INDIANAPOLIS        IN   46226‐2245
MOORE, GARNET        5072 SILVERDOMEC DR                                                                     DAYTON              OH   45414‐3642
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Name                 Address1                     Address2               Address3      Address4         City            State Zip
MOORE, GARRETT O     8434 KAW CT                                                                        SHREVEPORT       LA 71107‐9114
MOORE, GARRY L       2729 S D ST                                                                        ELWOOD           IN 46036‐2624
MOORE, GARY          826 NEBRASKA AVE                                                                   KANSAS CITY      KS 66101‐2112
MOORE, GARY          812 BRADLEY CIR                                                                    LOGANVILLE       GA 30052‐6741
MOORE, GARY A        PO BOX 835                                                                         ALTO             NM 88312‐0835
MOORE, GARY A        33 S ROBY DR                                                                       ANDERSON         IN 46012‐3246
MOORE, GARY C        9 CLEAVES DR                                                                       ROUND POND       MA 04564‐3722
MOORE, GARY D        45 BARBARA ST                                                                      MOUNT CLEMENS    MI 48043
MOORE, GARY D        216 SHEILA DR                                                                      WELLINGTON       OH 44090‐1091
MOORE, GARY E        2239 WOODSTEAD ST                                                                  BURTON           MI 48509‐1055
MOORE, GARY E        17800 M HWY                                                                        LAWSON           MO 64062
MOORE, GARY J        3830 KEDRON RD                                                                     SPRING HILL      TN 37174‐2155
MOORE, GARY J        847 IRVIN RD                                                                       BLANCHESTER      OH 45107
MOORE, GARY J        259 LAKEVIEW PL                                                                    STOCKBRIDGE      GA 30281‐6271
MOORE, GARY JEROME   259 LAKEVIEW PL                                                                    STOCKBRIDGE      GA 30281‐6271
MOORE, GARY K        3965 HIGHLANDER AVE                                                                LK HAVASU CTY    AZ 86406‐9110
MOORE, GARY L        7887 TURK RD                                                                       OTTAWA LAKE      MI 49267‐9706
MOORE, GARY L        529 E 300 N                                                                        ANDERSON         IN 46012‐1213
MOORE, GARY LEE      529 E 300 N                                                                        ANDERSON         IN 46012‐1213
MOORE, GARY M        139 1ST ST                                                                         COAL VALLEY       IL 61240‐9307
MOORE, GARY N        1064 MYRTLE AVE                                                                    WATERFORD        MI 48328‐3829
MOORE, GARY O        1290 MOOREVILLE RD                                                                 MILAN            MI 48160‐9508
MOORE, GARY R        9118 MARYWOOD DR                                                                   STANWOOD         MI 49346‐9766
MOORE, GARY R        APT 1                        10122 LORAIN AVENUE                                   CLEVELAND        OH 44111‐5449
MOORE, GARY R        6069 HACKAMORE TRAIL                                                               DAYTON           OH 45459‐5459
MOORE, GARY R        35 OXFORD AVE                                                                      DAYTON           OH 45402‐6147
MOORE, GARY W        18 BENT OAK TRL                                                                    FAIRPORT         NY 14450‐8950
MOORE, GARY W        50 N PERRY ST                                                                      VANDALIA         OH 45377‐2027
MOORE, GENE A        PO BOX 50284                                                                       BOWLING GREEN    KY 42102‐2884
MOORE, GENE A        5801 OAK RD                                                                        POLAND           IN 47868‐7052
MOORE, GENE D        25 TERRACE DR                                                                      ALEXANDRIA       KY 41001‐1129
MOORE, GENE O        22011 SUMMER SHOWER COURT                                                          CYPRESS          TX 77433‐2224
MOORE, GENEVA        2301 SMOKEY RIDGE WEST                                                             HEBER SPRINGS    AR 72543‐6228
MOORE, GENEVA G      300 LINWOOD AVE                                                                    ALBION           NY 14411‐9637
MOORE, GENEVA I      14306 KARLOV AVE                                                                   MIDLOTHIAN        IL 60445‐2708
MOORE, GENEVA I      14306 S KARLOV AVE                                                                 MIDLOTHIAN        IL 60445‐2708
MOORE, GEORGE        1813 TREMONT BLVD NW                                                               GRAND RAPIDS     MI 49504
MOORE, GEORGE        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON          MS 39206‐5621
MOORE, GEORGE        345 OLD MOUND BAYOU RD                                                             MOUND BAYOU      MS 38762‐9333
MOORE, GEORGE C      19941 GILCHRIST ST                                                                 DETROIT          MI 48235‐2436
MOORE, GEORGE C      22 DESERT GALLERY ST                                                               HENDERSON        NV 89012‐4710
MOORE, GEORGE C      8947 PEPPERIDGE CT                                                                 PLYMOUTH         MI 48170‐3343
MOORE, GEORGE C      59 S GARLAND AVE                                                                   DAYTON           OH 45403
MOORE, GEORGE E      THORNTON EARLY & NAUMES      100 SUMMER ST LBBY 3                                  BOSTON           MA 02110‐2104
MOORE, GEORGE E      2371 STONEGATE DR                                                                  LAPEER           MI 48446‐9003
MOORE, GEORGE J      527 W LINCOLN ST                                                                   CARO             MI 48723‐1456
MOORE, GEORGE J      155 GREENHAVEN TER                                                                 TONAWANDA        NY 14150‐5553
MOORE, GEORGE M      6062 BIRDWOOD CIR                                                                  DAYTON           OH 45449‐3201
MOORE, GEORGE P      249 M 89                                                                           PLAINWELL        MI 49080‐9556
MOORE, GEORGE R      1104 ARANSAS DR                                                                    EULESS           TX 76039‐2638
MOORE, GEORGIA B     PO BOX 38293                                                                       DETROIT          MI 48238‐0293
MOORE, GEORGIA L     1280 MEREDITH DR                                                                   CINCINNATI       OH 45231‐3258
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Name                   Address1                         Address2                         Address3   Address4         City               State Zip
MOORE, GERALD          LAW OFFICES OF DAVID GORBERG &   32 PARKING PLZ STE 700                                       ARDMORE             PA 19003‐2440
                       ASSOCIATES
MOORE, GERALD A        2365 SILVERDOWN                                                                               WATERFORD          MI   48328‐1759
MOORE, GERALD D        1049 E TOBIAS RD                                                                              CLIO               MI   48420‐1766
MOORE, GERALD DENNIS   1049 E TOBIAS RD                                                                              CLIO               MI   48420‐1766
MOORE, GERALD G        1710 FLAJOLE RD                                                                               MIDLAND            MI   48642‐9220
MOORE, GERALD J        5155 ONA LAKE DR                                                                              WHITE LAKE         MI   48383‐3255
MOORE, GERALD K        9172 MCKINLEY RD                                                                              MONTROSE           MI   48457‐9185
MOORE, GERALD K        1088 W STANLEY RD                                                                             MOUNT MORRIS       MI   48458‐2330
MOORE, GERALD L        2409 SUNCREST #9                                                                              FLINT              MI   48504
MOORE, GERALDINE E     4106 BOBBY JONES DR                                                                           FLINT              MI   48506‐1404
MOORE, GERTRUDE        626 HODAPP AVENUE                                                                             DAYTON             OH   45410‐2711
MOORE, GERTRUDE        626 HODAPP AVE.                                                                               DAYTON             OH   45410
MOORE, GERTRUDE A      12552 BAYSHORE ST                                                                             MARYSVILLE         CA   95901‐9529
MOORE, GERTRUDE D      2506 35TH ST APT 4                                                                            SACRAMENTO         CA   95817
MOORE, GERTRUDE I      17390 ALMA LAKE ROAD                                                                          BIG RAPIDS         MI   49307‐9334
MOORE, GILBERT L       4024 GLADSTONE ST                                                                             DETROIT            MI   48204‐2408
MOORE, GINGER E        677 W DOUGLAS AVE                                                                             GILBERT            AZ   85233‐3221
MOORE, GINNY L         13901 BUBBLING SPRINGS CT                                                                     OKLAHOMA CITY      OK   73150‐8329
MOORE, GLADYS          442 S 4TH AVE                                                                                 SAGINAW            MI   48601‐2128
MOORE, GLADYS          442 S 4TH                                                                                     SAGINAW            MI   48601‐2128
MOORE, GLADYS          1124 ORCHARD DR                                                                               HOLLY              MI   48442‐1047
MOORE, GLADYS M        2517 DELTA AVE                                                                                KETTERING          OH   45419‐2411
MOORE, GLADYS M        3740 PINEBROOK CIR APT 606                                                                    BRADENTON          FL   34209‐8055
MOORE, GLADYS N        10459 E EDGAR RD                                                                              VESTABURG          MI   48891‐9755
MOORE, GLADYS P        4010 VADER CT                                                                                 ENGLEWOOD          OH   45322‐2554
MOORE, GLADYS P        4010 VADER CRT.                                                                               ENGLEWOOD          OH   45322‐5322
MOORE, GLADYSTINE      135 ELMHURST                                                                                  HIGHLAND PARK      MI   48203‐3529
MOORE, GLADYSTINE      135 ELMHURST ST                                                                               HIGHLAND PARK      MI   48203‐3529
MOORE, GLEN R          113 RIVER RD                                                                                  RENOVO             PA   17764‐9515
MOORE, GLEN W          PO BOX 24                                                                                     LAKE               MI   48632‐0024
MOORE, GLENDA          ROTH LAW FIRM                    P O BOX 876 ‐ 115 NORTH                                      MARSHALL           TX   75671
                                                        WELLINGTON ‐ SUITE 200 STE 200
MOORE, GLENDA K        111 WOODLAND COURT                                                                            SOMERSET           KY   42501
MOORE, GLENDA K        111 WOODLAND CT                                                                               SOMERSET           KY   42501‐1849
MOORE, GLENDA L        1222 CHRISTINE RD                                                                             WICHITA FALLS      TX   76302‐2116
MOORE, GLENDON         3970 FAIRSMITH ST                                                                             DAYTON             OH   45416
MOORE, GLENN           228 LATIGO LOOP                                                                               HUNTSVILLE         AL   35806‐1300
MOORE, GLENN           506 LASALLE CT                                                                                FRANKLIN           TN   37067‐5688
MOORE, GLENN A         25542 HUNT CLUB BLVD                                                                          FARMINGTON HILLS   MI   48335‐1148
MOORE, GLENN A         5511 S PROSPECT ST                                                                            RAVENNA            OH   44266‐3622
MOORE, GLENN O         3501 MELODY LN                                                                                SAGINAW            MI   48601‐5632
MOORE, GLORIA          17940 RAINBOW RD.                                                                             FRASER             MI   48026‐4620
MOORE, GLORIA          17940 RAINBOW                                                                                 FRASER             MI   48026‐4620
MOORE, GLORIA J        3511 FAIR LN                                                                                  DAYTON             OH   45416‐1207
MOORE, GLORIA J        135 FOX HOLLOW CT                                                                             CLEVELAND          OH   44124‐4133
MOORE, GLORIA J        19735 GREYDALE AVE                                                                            DETROIT            MI   48219‐1834
MOORE, GLORIA M        3710 PITKIN AVE                                                                               FLINT              MI   48506‐4221
MOORE, GORDEN E        470 FARM LAKE RD                                                                              SPARTANBURG        SC   29316‐7703
MOORE, GORDON H        6000 RIVERSIDE DR APT A234                                                                    DUBLIN             OH   43017‐1494
MOORE, GRACE           2014 LOGAN DRIVE                                                                              TITUSVILLE         FL   32780
MOORE, GRACE E         2800 BROOK DR                                                                                 KALAMAZOO          MI   49004‐1813
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Name                     Address1                          Address2                      Address3   Address4         City                    State Zip
MOORE, GRACE M           2001 CEDAR RUN DRIVE                                                                        PLANT CITY               FL 33563‐1958
MOORE, GREGG A           304 BITTERSWEET DR                                                                          O FALLON                 MO 63366‐1621
MOORE, GREGORY A         1170 SUMMIT POINT LN                                                                        SNELLVILLE               GA 30078‐3567
MOORE, GREGORY C         PO BOX 63                                                                                   FOSTORIA                 MI 48435‐0063
MOORE, GREGORY CHARLES   PO BOX 63                                                                                   FOSTORIA                 MI 48435‐0063
MOORE, GREGORY L         16506 BEAVERLAND ST                                                                         DETROIT                  MI 48219‐3758
MOORE, GREGORY L         66 HEMPHILL CIR                                                                             BREVARD                  NC 28712‐3936
MOORE, GREGORY M         4159 GREENSBORO DR                                                                          TROY                     MI 48085‐3674
MOORE, GREGORY S         780 BOUNDARY BLVD V                                                                         ROTONDA WEST             FL 33947
MOORE, GRIFFIN           223A CRANFORD AVE                                                                           CRANFORD                 NJ 07016‐2501
MOORE, GROVER W          178 GLENWOOD AVE                                                                            MEDINA                   NY 14103‐1212
MOORE, GWENDOLYN D       420 BALDWIN AVE APT 92                                                                      ROCHESTER                MI 48307
MOORE, GWENDOLYN J       3521 GLENBROOK DR                                                                           LANSING                  MI 48911‐2108
MOORE, GWENETH M         14333 BARNES RD                                                                             BYRON                    MI 48418‐9738
MOORE, H W               6608 SHELLSFORD ROAD                                                                        MC MINNVILLE             TN 37110‐4815
MOORE, H WAYNE           6608 SHELLSFORD ROAD                                                                        MC MINNVILLE             TN 37110‐4815
MOORE, HARLAN D          11901 E 86TH TER                                                                            RAYTOWN                  MO 64138‐5169
MOORE, HAROLD            8583 MOORE RD                                                                               ATLANTA                  MI 49709‐8837
MOORE, HAROLD A          3238 NADASKY AVE                                                                            NORTH PORT               FL 34288‐8759
MOORE, HAROLD A          2248 DICKENS TER                                                                            NEWARK                   DE 19702‐4441
MOORE, HAROLD D          4108 NELSON MOSIER RD                                                                       LEAVITTSBURG             OH 44430‐9425
MOORE, HAROLD E          1178 COOL SPRINGS DR NW                                                                     KENNESAW                 GA 30144‐5068
MOORE, HAROLD K          16750 GULF BLVD APT 711                                                                     NORTH REDINGTON BEACH    FL 33708

MOORE, HARRISON A        518 HAZELHURST ST                                                                           NEW LEBANON             OH   45345‐1512
MOORE, HARRY D           14126 WINDY TRAIL                                                                           SOUTH BELOIT            IL   61080‐2537
MOORE, HARRY D           990 N KITCHEN RD                                                                            NORTHPORT               MI   49670‐8701
MOORE, HARRY DONNEL      14126 WINDY TRAIL                                                                           SOUTH BELOIT            IL   61080‐2537
MOORE, HARRY J           846 BARNSLEY DR                                                                             SAINT LOUIS             MO   63125‐3202
MOORE, HARRY J           8329 CARIBOU TRL                                                                            CLARKSTON               MI   48348‐4518
MOORE, HARRY L           1005 SW 7TH ST                                                                              LEES SUMMIT             MO   64081‐2564
MOORE, HAZELENE M        3518 FLORETTA ST                                                                            CLARKSTON               MI   48346‐4016
MOORE, HELEN             16535 ST RT 247                                                                             SEAMAN                  OH   45679
MOORE, HELEN A           SIMMONS FIRM                      PO BOX 559                                                WOOD RIVER              IL   62095‐0559
MOORE, HELEN C           MOODY EDWARD O                    801 W 4TH ST                                              LITTLE ROCK             AR   72201‐2107
MOORE, HELEN D           590 ATLANTA COUNTRY CLUB DR SE                                                              MARIETTA                GA   30067‐4771
MOORE, HELEN E           2633 TRAVOIS WAY SW                                                                         LILBURN                 GA   30047
MOORE, HELEN J           3985 BRUCE ST                                                                               MORRISTOWN              TN   37814‐1128
MOORE, HELEN JANE        6823 RIDGE AVE                                                                              FINLEYVILLE             PA   15332‐1072
MOORE, HELEN JANIS       308 GETTYSBURG                                                                              COATESVILLE             IN   46121
MOORE, HELEN JOYCE       3985 BRUCE ST.                                                                              MORRISTOWN              TN   37814‐1128
MOORE, HELEN L           7574 JONQUIL CT.,                                                                           BRIGHTON                MI   48116
MOORE, HELEN L           1009 EATON GREEN DRIVE                                                                      CHARLOTTE               MI   48813‐8359
MOORE, HELEN M           7718 S GREENWOOD AVE                                                                        CHICAGO                 IL   60619‐3322
MOORE, HELEN M           311 S WHITMER                                                                               RICHMOND                MO   64085‐1645
MOORE, HELEN M           311 S WHITMER ST                                                                            RICHMOND                MO   64085‐1645
MOORE, HELEN T           3919 LAUREL LN                                                                              ANDERSON                IN   46011‐3037
MOORE, HELEN T           3919 LAUREL LANE                                                                            ANDERSON                IN   46011‐3037
MOORE, HELEN W           6668 PROSPECT CLAIM CT                                                                      LAS VEGAS               NV   89108‐6808
MOORE, HELENA J          185 S 9TH ST                                                                                NEWARK                  NJ   07107‐1403
MOORE, HELENA J          185 SOUTH 9TH STREET                                                                        NEWARK                  NJ   07107‐1403
MOORE, HENRY             ANGELOS PETER G LAW OFFICES       4061 POWDER MILL RD STE 315                               BELTSVILLE              MD   20705‐3149
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Name                    Address1                           Address2                      Address3   Address4         City            State Zip
MOORE, HENRY            4355 NEWCASTLE CIR                                                                           LITHONIA         GA 30038‐3508
MOORE, HENRY E          7960 DARKE PREBLE CO RD                                                                      ARCANUM          OH 45304
MOORE, HENRY L          PO BOX 1297                                                                                  ELKHORN CITY     KY 41522‐1297
MOORE, HENRY W          21899 MAHON DR                                                                               SOUTHFIELD       MI 48075‐3824
MOORE, HENRY W          19481 CHEYENNE                                                                               DETROIT          MI 48235
MOORE, HERBERT A        3741 HUNT RD                                                                                 LAPEER           MI 48446‐2919
MOORE, HERBERT K        4492 LEWIS AVE                                                                               IDA              MI 48140‐9506
MOORE, HERBERT V        2627 LEISURE DR BUILDING B UNIT                                                              FORT COLLINS     CO 80525
MOORE, HERBERT V        1957 SE BENEDICTINE ST                                                                       PORT ST LUCIE    FL 34983‐4601
MOORE, HERMAN C         22 COPSEWOOD AVE                                                                             BUFFALO          NY 14215‐2751
MOORE, HERMAN C         806 E HOLLAND AVE                                                                            SAGINAW          MI 48601‐2620
MOORE, HERMAN J         1274 LIBRARY ST STE 600            MICHIGAN GUARDIAN SERVICES                                DETROIT          MI 48226‐2283
MOORE, HILDA V          35 COUNTRY LN                                                                                MOBILE           AL 36608‐4406
MOORE, HOMER            1049 PORTER RD                                                                               DECATUR          GA 30032‐1773
MOORE, HOMER L          15102 SORRENTO ST                                                                            DETROIT          MI 48227‐4055
MOORE, HORACE S         1934 MCPHAIL ST                                                                              FLINT            MI 48503‐4328
MOORE, HORACE SPENCER   1934 MCPHAIL ST                                                                              FLINT            MI 48503‐4328
MOORE, HOWARD           513 1ST AVE                                                                                  WEST LOGAN       WV 25601‐3209
MOORE, HOWARD C         5002 BROOKSIDE DR                                                                            COLUMBIA         TN 38401‐5058
MOORE, HOWARD L         1244 N 52ND ST                                                                               WASHINGTON PK     IL 62204‐2736
MOORE, HOWARD L         PO BOX 17273                                                                                 DAYTON           OH 45417‐0273
MOORE, HOWARD L         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                           STREET, SUITE 600
MOORE, HOWARD N         1607 BATAVIA                                                                                 MUNCIE          IN   47302
MOORE, HOWARD T         1276 OAKWOOD RD                                                                              ORTONVILLE      MI   48462‐8572
MOORE, HOYSE T          19707 W FM 1188                                                                              STEPHENVILLE    TX   76401‐6639
MOORE, HUDSON           BRAYTON PURCELL                    PO BOX 6169                                               NOVATO          CA   94948‐6169
MOORE, HUGH G           590 ATLANTA COUNTRY CLUB DR SE D                                                             MARIETTA        GA   30067
MOORE, HUGH L           1108 S 27TH ST                                                                               SAGINAW         MI   48601‐6544
MOORE, HUGH M           2440 WILL JO LN                                                                              FLINT           MI   48507‐3555
MOORE, HULDA S          4608 RED OAK DR                                                                              METAMORA        MI   48455‐9745
MOORE, I V              3817 WAYNE AVE                                                                               KANSAS CITY     MO   64109‐2759
MOORE, IAN M            4159 GREENSBORO DR                                                                           TROY            MI   48085‐3674
MOORE, IAN MICHAEL      4159 GREENSBORO DR                                                                           TROY            MI   48085‐3674
MOORE, INA L            104 DOVER BLVD S                                                                             BROWNSBURG      IN   46112‐1580
MOORE, INA L            104 DOVER BLVD. SOUTH                                                                        BROWNSBURG      IN   46112‐1580
MOORE, INELL            4812 SIX FORKS RD APT 401                                                                    RALEIGH         NC   27609‐5257
MOORE, IOLA I           PO BOX 332                                                                                   TURPIN          OK   73950‐0332
MOORE, IRA A            15236 COUNTY ROAD 153                                                                        DEFIANCE        OH   43512‐9351
MOORE, IRA J            46 CHARLESTON AVE                                                                            KENMORE         NY   14217‐2936
MOORE, IRA J            PO 78191                                                                                     SHREVEPORT      LA   71137
MOORE, IRA JEAN         1761 JOE LOUIS BLVD                                                                          SHREVEPORT      LA   71107‐6135
MOORE, IRA L            1213 KROEGER DR                                                                              SAINT LOUIS     MO   63135‐2231
MOORE, IRA M            16043 US HIGHWAY 84                                                                          QUITMAN         GA   31643‐6315
MOORE, IRENE            PO BOX 166                                                                                   TAYLORSVILLE    GA   30178
MOORE, IRENE A.         505 S MAIN ST                                                                                WATERLOO        IL   62298‐1445
MOORE, IRENE B          2227 WYOMING AVE SW                                                                          WYOMING         MI   49519
MOORE, IRENE H          432 MAYFLOWER                                                                                LINCOLN PARK    MI   48146‐3038
MOORE, IRENE H          432 MAYFLOWER AVE                                                                            LINCOLN PARK    MI   48146‐3038
MOORE, IRIS HUGHES      72 TAMARACK TRAIL,                                                                           SPRINGBORO      OH   45066‐5066
MOORE, IRVIN C          6668 PROSPECT CLAIM CT                                                                       LAS VEGAS       NV   89108‐6808
MOORE, ISAAC            GORI JULIAN & ASSOCIATES PC        156 N MAIN ST                                             EDWARDSVILLE    IL   62025
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Name                  Address1                         Address2                      Address3   Address4         City               State Zip
MOORE, IVAN           6306 VALORIE LN                                                                            FLINT               MI 48504‐1677
MOORE, IVAN E         1752 WILLAMET RD                                                                           KETTERING           OH 45429‐4251
MOORE, IVAN F         21317 BRIERSTONE ST                                                                        HARPER WOODS        MI 48225‐2351
MOORE, IVAN M         3611 SUNCREST DR                                                                           FLINT               MI 48504‐8428
MOORE, IVORY          SHANNON LAW FIRM                 100 W GALLATIN ST                                         HAZLEHURST          MS 39083‐3007
MOORE, IVORY D        107 RIDGEWAY DRIVE                                                                         GREENVILLE          SC 29607‐3227
MOORE, J C            208 WILLIAMS STREET                                                                        W CARROLLTON        OH 45449‐1242
MOORE, J C            208 WILLIAM ST                                                                             W CARROLLTON        OH 45449‐1242
MOORE, J D            58 COUNTY ROAD 3331                                                                        BOONEVILLE          MS 38829‐7807
MOORE, J. W           401 ALTA WOODS BLVD                                                                        JACKSON             MS 39204‐4812
MOORE, JACK           825 MAPLE ST SW                                                                            WARREN              OH 44485‐3854
MOORE, JACK           3029 CLAYWARD DR                                                                           FLINT               MI 48506‐2024
MOORE, JACK           ZAMLER, MELLEN & SHIFFMAN        23077 GREENFIELD RD STE 557                               SOUTHFIELD          MI 48075‐3727
MOORE, JACK B         2174 MARCIA DR                                                                             BELLBROOK           OH 45305‐1606
MOORE, JACK D         16744 TOEPFER DR                 C/O BEATRICE ANN MOORE                                    EASTPOINTE          MI 48021‐2456
MOORE, JACK J         1107 LOCH LOMOND CT                                                                        NEW SMYRNA BEACH    FL 32168‐2014
MOORE, JACK L         106 PANTHER MOUNTAIN RD                                                                    ZIRCONIA            NC 28790‐9742
MOORE, JACK L         1321 NORTH JEFFERSON STREET                                                                HARTFORD CITY       IN 47348‐1413
MOORE, JACK R         16445 N 59TH WAY                                                                           SCOTTSDALE          AZ 85254‐1282
MOORE, JACK W         4665 IRWINDALE DR                                                                          WATERFORD           MI 48328‐2005
MOORE, JACK W         3211 DEER CREEK DR                                                                         LAMBERTVILLE        MI 48144‐9311
MOORE, JACKIE L       517 N CLAYPOOL RD                                                                          MUNCIE              IN 47303‐4231
MOORE, JACKIE T       3838 LENORA CHURCH RD                                                                      SNELLVILLE          GA 30039
MOORE, JACQUELINE D   1911 MARSHALL PL                                                                           JACKSON             MS 39213‐4450
MOORE, JACQUELINE L   4111 HOMESTEAD BLVD                                                                        WESTBORO            MA 01581
MOORE, JACQUELINE P   14781 EMBRY PATH                                                                           APPLE VALLEY        MN 55124‐6851
MOORE, JACQUELINE S   P.O. 226                                                                                   NEW HAVEN           MI 48048
MOORE, JACQUELYN M    661 BURLINGAME ST                                                                          DETROIT             MI 48202‐1004
MOORE, JADIE W        PO BOX 3271                                                                                FLINT               MI 48502‐0271
MOORE, JAIME K        2299 W OLD 44                                                                              RUSHVILLE           IN 46173‐7790
MOORE, JAMES          12748 E BRADFORD CIR                                                                       WICHITA             KS 67206‐4100
MOORE, JAMES          691 ENGLAND CREAMERY RD                                                                    NORTH EAST          MD 21901‐1527
MOORE, JAMES          3784 MAXWELL ST                                                                            DETROIT             MI 48214‐1182
MOORE, JAMES          601 CURTIN LN                                                                              SONOMA              CA 95476‐6403
MOORE, JAMES          7220 FARMINGTON ROAD                                                                       MIAMISBURG          OH 45342‐5342
MOORE, JAMES          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE           MD 21202
                                                       CHARLES CENTER 22ND FLOOR
MOORE, JAMES          GUY WILLIAM S                    PO BOX 509                                                MCCOMB             MS   39649‐0509
MOORE, JAMES A        2330 FULLER RD 5R                                                                          BURT               NY   14028
MOORE, JAMES A        1529 CLIFFORD AVE                                                                          ROCHESTER          NY   14609‐3449
MOORE, JAMES A        146 HIGHLAND AVE                                                                           BLOOMFIELD HILLS   MI   48302‐0649
MOORE, JAMES A        111 ROB ROY RD                                                                             BRADFORD           PA   16701
MOORE, JAMES A        29316 OLD LOCUST ROAD                                                                      KENNEDYVILLE       MD   21645
MOORE, JAMES A        1218 MAPLE AVE                                                                             SANDUSKY           OH   44870‐9801
MOORE, JAMES A        8740 KERCHEVAL ST                                                                          DETROIT            MI   48214‐2841
MOORE, JAMES A        102 MEADOWBROOK DR                                                                         EATON              OH   45320‐2268
MOORE, JAMES A        8684 SW 62ND TER                                                                           OCALA              FL   34476‐6003
MOORE, JAMES ALLEN    146 HIGHLAND AVE                                                                           BLOOMFIELD HILLS   MI   48302‐0649
MOORE, JAMES B        1230 BEAL RD                                                                               MANSFIELD          OH   44903‐9217
MOORE, JAMES C        1222 BERKSHIRE ST                                                                          WESTLAND           MI   48186‐5369
MOORE, JAMES C        8252 VANADIA DR                                                                            MOUNT MORRIS       MI   48458‐9732
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Name                   Address1                          Address2                      Address3   Address4              City               State Zip
MOORE, JAMES C         7172 11TH CONCESSION RD                                                    MAIDSTONE ON CANADA
                                                                                                  N0R‐1K0
MOORE, JAMES C         1452 WAGON WHEEL LN                                                                              GRAND BLANC        MI    48439‐4868
MOORE, JAMES C         PO BOX 808                                                                                       CASTLEWOOD         VA    24224‐0808
MOORE, JAMES C         4224 W HILL AVE.                                                                                 FULLERTON          CA    92833‐2833
MOORE, JAMES D         1115 DORCHESTER CIR 4                                                                            LANCING            MI    48911
MOORE, JAMES D         510 N GIRLS SCHOOL RD                                                                            INDIANAPOLIS       IN    46214‐3656
MOORE, JAMES D         PO BOX 448                                                                                       CAYUGA             IN    47928‐0448
MOORE, JAMES D         APT 4                             1115 DORCHESTER CIRCLE                                         LANSING            MI    48910‐5163
MOORE, JAMES D         318 LEWISBURG DR                                                                                 MCDONOUGH          GA    30253‐3385
MOORE, JAMES E         1935 CALDWELL ST                                                                                 SAGINAW            MI    48601‐6870
MOORE, JAMES E         10225 WAKEFIELD CT                                                                               MOBILE             AL    36695‐8447
MOORE, JAMES E         6570 GRATIOT AVE                                                                                 SAINT CLAIR        MI    48079‐1700
MOORE, JAMES E         4555 LAKE SUPERIOR DR                                                                            STANDISH           MI    48658‐9752
MOORE, JAMES E         110 E. MACK STREET                                                                               CORUNNA            MI    48817
MOORE, JAMES E         PO BOX 1101                                                                                      JONESVILLE         SC    29353‐1101
MOORE, JAMES E         324 LEXINGTON BLVD                                                                               BESSEMER           AL    35020‐2425
MOORE, JAMES E         624 W PIERSON RD                                                                                 FLINT              MI    48504
MOORE, JAMES E         16857 INVERNESS ST                                                                               DETROIT            MI    48221‐3110
MOORE, JAMES F         5078 HALDERMAN ROAD                                                                              W ALEXANDRIA       OH    45381‐9322
MOORE, JAMES F         3535 FI VE POINTS HARTFORD RD.                                                                   FOWLER             OH    44410‐9766
MOORE, JAMES F         3400 WEST MORGAN LANE                                                                            QUEEN CREEK        AZ    85242‐3119
MOORE, JAMES F         3404 CADWALLADER SONK RD                                                                         CORTLAND           OH    44410‐9442
MOORE, JAMES H         6944 OAK MANOR DRIVE                                                                             LIBERTY TWP        OH    45044‐9093
MOORE, JAMES H         1745 LOGSDON RD                                                                                  BOWLING GREEN      KY    42101‐8531
MOORE, JAMES H         405 ESTATE DR                                                                                    NEW IBERIA         LA    70563‐2307
MOORE, JAMES H         4285 BROADWAY LOT B4                                                                             GROVE CITY         OH    43123‐3028
MOORE, JAMES H         350 CROWN POINT EST                                                                              LONDON             KY    40741‐7531
MOORE, JAMES H         125 CONNECTICUT ST                                                                               HIGHLAND PARK      MI    48203‐3554
MOORE, JAMES H         6144 TITAN RD                                                                                    MOUNT MORRIS       MI    48458‐2616
MOORE, JAMES H         702 LYNWOOD CT                                                                                   UNION CITY         OH    45390‐1626
MOORE, JAMES HENRY     6144 TITAN RD                                                                                    MOUNT MORRIS       MI    48458‐2616
MOORE, JAMES J         421 N 700 E                                                                                      MARION             IN    46952‐9189
MOORE, JAMES L         105 AUTUMN CREEK LN APT A                                                                        EAST AMHERST       NY    14051‐2920
MOORE, JAMES L         144 COWHIDE CIR                                                                                  BALTIMORE          MD    21220‐2134
MOORE, JAMES L         2915 BRIARFIELD DR                                                                               SAN ANTONIO        TX    78230‐4413
MOORE, JAMES L         2440 TIPTOP DR                                                                                   INDIANAPOLIS       IN    46239‐7790
MOORE, JAMES L         87 OAK VALLEY DR                                                                                 SPRING HILL        TN    37174‐2597
MOORE, JAMES M         243 N WALNUT ST                                                                                  MOUNT CLEMENS      MI    48043‐5842
MOORE, JAMES M         1079 CEDAR CHASE                                                                                 NIXA               MO    65714‐8394
MOORE, JAMES M         635 4TH AVE                                                                                      PONTIAC            MI    48340‐2025
MOORE, JAMES M         PO BOX 38                                                                                        LIMESTONE          TN    37681‐0038
MOORE, JAMES M         PO BOX 353                                                                                       TOLEDO             OH    43697‐0353
MOORE, JAMES M         113 BIRCH DR                                                                                     PLEASANTVILLE      NY    10570‐3303
MOORE, JAMES P         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA    23510‐2212
                                                         STREET, SUITE 600
MOORE, JAMES P         8570 DYGERT DR SE                                                                                ALTO                MI   49302‐9746
MOORE, JAMES PATRICK   FARRAR & BALL LLP                 1010 LAMAR ST STE 1600                                         HOUSTON             TX   77002‐6325
MOORE, JAMES R         8401 NORBORNE AVE                                                                                DEARBORN HEIGHTS    MI   48127‐1125
MOORE, JAMES R         1015 S. DELPHOS                                                                                  KOKOMO              IN   46902‐1730
MOORE, JAMES R         2441 VAUGHN DR                                                                                   CLIO                MI   48420‐1067
MOORE, JAMES R         850 SARGENT AVE SE                                                                               ADA                 MI   49301‐9041
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Name                       Address1                        Address2                         Address3   Address4         City            State Zip
MOORE, JAMES R             925 RIVERSIDE DR                                                                             HARRODSBURG      KY 40330‐8642
MOORE, JAMES R             7118 DODGE RD                                                                                MONTROSE         MI 48457‐9136
MOORE, JAMES R             13 S FAIRWAY DR                                                                              ALEXANDRIA       IN 46001‐2811
MOORE, JAMES R             621 SHERIDAN AVE                                                                             SAGINAW          MI 48607‐1614
MOORE, JAMES R             1015 S DELPHOS ST                                                                            KOKOMO           IN 46902‐1730
MOORE, JAMES R.            850 SARGENT AVE SE                                                                           ADA              MI 49301‐9041
MOORE, JAMES S             1749 TANNOCK DR                                                                              HOLLY            MI 48442‐9109
MOORE, JAMES S             1129 LAKERIDGE RD                                                                            DANVILLE          IL 61832‐1611
MOORE, JAMES T             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                           STREET, SUITE 600
MOORE, JAMES T             1110 COLTS CIR                  CARRIAGE PARK BLDG 1                                         LAWRENCEVILLE   NJ   08648‐3266
MOORE, JAMES T             1518 CROSSBREEZE CT                                                                          BOWLING GREEN   KY   42104‐4730
MOORE, JAMES THOMAS        1518 CROSSBREEZE CT                                                                          BOWLING GREEN   KY   42104‐4730
MOORE, JAMES W             700 SCOTTWOOD ST                                                                             PONTIAC         MI   48340‐3155
MOORE, JAMES W             3741 MALAER DR                                                                               SHARONVILLE     OH   45241‐2616
MOORE, JAMES W             SHANNON LAW FIRM                100 W GALLATIN ST                                            HAZLEHURST      MS   39083‐3007
MOORE, JAMES W             COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                               CHICAGO         IL   60602
                                                           FLOOR
MOORE, JAMIE L             JASTROCH & LABARGE S.C.         PO BOX 1487                                                  WAUKESHA        WI   53187‐1487
MOORE, JAMIE M             973 NICOLE WAY                                                                               WHITELAND       IN   46184
MOORE, JAN                 4349 BLYTHEWOOD DR                                                                           FLORISSANT      MO   63033‐4252
MOORE, JAN L               421 UPTON ST                                                                                 HOLGATE         OH   43527‐9543
MOORE, JANE E              4304 GRANGE HALL RD                                                                          HOLLY           MI   48442‐1116
MOORE, JANE P              601 N BENTLEY AVE                                                                            NILES           OH   44446‐5211
MOORE, JANET               165 CHESTERTON RD                                                                            ROCHESTER       NY   14626‐2141
MOORE, JANET A             246 SOUTHERLY HILLS DRIVE                                                                    ENGLEWOOD       OH   45322
MOORE, JANET D             2000 N BLUE BLUFF RD                                                                         MARTINSVILLE    IN   46151‐7435
MOORE, JANET E             PO BOX 56                                                                                    SALINE          LA   71070‐0056
MOORE, JANET K             777 ROUTE 28 E                                                                               GREENFIELD      OH   45123
MOORE, JANET L             39 MURDOCK ST LOT H                                                                          FRANKLIN        PA   16323‐2540
MOORE, JANET L             21990A CREEK RD                                                                              GULF SHORES     AL   36542‐9059
MOORE, JANET L             21990‐A CREEK RD                                                                             GULF SHORES     AL   36542‐9059
MOORE, JANET L             39 H MURDOCK ST                                                                              FRANKLIN        PA   16323‐2540
MOORE, JANET L             4415 CAMPBELL AVE                                                                            INDIANAPOLIS    IN   46226‐3326
MOORE, JANICE L            507 S LOCUST                                                                                 SWEETSPRINGS    MO   65351
MOORE, JANICE M            65 OAKLAND RD                                                                                MCDONOUGH       GA   30253‐7241
MOORE, JANIS               2604 W DENGAR AVE                                                                            MIDLAND         TX   79705‐6325
MOORE, JASON
MOORE, JASON C             6024 ALLENDALE COURT                                                                         FORT WAYNE      IN   46809‐2127
MOORE, JASON CHRISTOPHER   6024 ALLENDALE COURT                                                                         FORT WAYNE      IN   46809‐2127
MOORE, JASON D             9263 CAPRICE DRIVE                                                                           PLYMOUTH        MI   48170‐4705
MOORE, JASON E             215 N RIDGE RD W                                                                             LORAIN          OH   44053‐3777
MOORE, JASON G             PO BOX 983                                                                                   FLINT           MI   48501‐0983
MOORE, JASON M             PO BOX 9022                     C/O GM KOREA                                                 WARREN          MI   48090‐9022
MOORE, JASON R             26550 KENDALL CT                                                                             REDFORD         MI   48239‐2912
MOORE, JAYNE               4901 WICKFORD DR E                                                                           SYLVANIA        OH   43560
MOORE, JEAN                324 LOWERSTONE AVE                                                                           BOWLING GREEN   KY   42101‐9103
MOORE, JEAN                1119 PERSHING ST                                                                             BAKERSFIELD     CA   93304‐1638
MOORE, JEAN A              4441 E LAKE RD                                                                               WILSON          NY   14172‐9740
MOORE, JEAN D              4641 5TH AVE                                                                                 YOUNGSTOWN      OH   44505‐1204
MOORE, JEAN E              5503 ST RT 73                                                                                WAYNESVILLE     OH   45068‐9578
MOORE, JEAN E              5503 E STATE ROUTE 73                                                                        WAYNESVILLE     OH   45068‐9578
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Name                     Address1                          Address2                  Address3   Address4         City              State Zip
MOORE, JEAN E.           741 BELL RD                                                                             OTTO               NC 28763‐7001
MOORE, JEAN H            7935 HOLLOW CORNERS RD                                                                  ALMONT             MI 48003‐8024
MOORE, JEAN LAVERNE      12309 N DOUGLAS BLVD                                                                    JONES              OK 73049‐3439
MOORE, JEAN S            8925 ROSALYN GLEN RD                                                                    CORNELIUS          NC 28031‐8075
MOORE, JEAN S            G 2441 VAUGHN DR                                                                        CLIO               MI 48420
MOORE, JEANETTE          932 GLENEAGLES RD                                                                       BEAUMONT           CA 92223‐8524
MOORE, JEANETTE          932 GLENEAGLE RD                                                                        BEAUMONT           CA 92223
MOORE, JEANETTE B        674 E 1400 S                                                                            KOKOMO             IN 46901
MOORE, JEANNE E          532 ATHENS PL                                                                           WESTFIELD          IN 46074‐8839
MOORE, JEANNE E          19727 DEAN ST                                                                           DETROIT            MI 48234‐2005
MOORE, JEFFERY C         65 S HURON DR                                                                           JANESVILLE         WI 53545‐2255
MOORE, JEFFERY L         3266 BANGOR RD                                                                          BAY CITY           MI 48706‐1853
MOORE, JEFFERY LEE       3266 BANGOR RD                                                                          BAY CITY           MI 48706‐1853
MOORE, JEFFREY           2467 E 1700 N                                                                           SUMMITVILLE        IN 46070‐9172
MOORE, JEFFREY B         9981 S 50 W                                                                             PENDLETON          IN 46064‐9348
MOORE, JEFFREY C         3409 WHITNEY AVE APT 23                                                                 HAMDEN             CT 06518‐1960
MOORE, JEFFREY J         1413 OTTEN ST                                                                           CLEARWATER         FL 33755‐2036
MOORE, JEFFREY N         501 HARVEST TRL                                                                         YUKON              OK 73099‐7136
MOORE, JEFFREY S         10458 N 400 E                                                                           ROANOKE            IN 46783‐9441
MOORE, JEFFREY S.        2467 E 1700 N                                                                           SUMMITVILLE        IN 46070‐9172
MOORE, JEFFREY S.        10458 N 400 E                                                                           ROANOKE            IN 46783‐9441
MOORE, JEFFREY T         235 N ELLICOTT ST                                                                       BUFFALO            NY 14221‐5121
MOORE, JEFFREY W         3770 PENNINGTON RD                                                                      CUMMING            GA 30041‐5774
MOORE, JEFFRIE           1118 SUNNYSLOPE DR                                                                      CINCINNATI         OH 45229‐1126
MOORE, JENALEE
MOORE, JENE R            EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                               NEW YORK          NY   10017‐6530
MOORE, JENI V            930 GENTLEWINDS COURT                                                                   LEBANON           OH   45036‐1323
MOORE, JENISE            2016 KRISTIN DR                                                                         TROY              MI   48084
MOORE, JENNIEFER L       5493 COUNTRY LN                                                                         FLINT             MI   48506‐1019
MOORE, JENNIFER E        15776 BRAMELL ST                                                                        DETROIT           MI   48223‐1013
MOORE, JENNIFER ELAINE   15776 BRAMELL ST                                                                        DETROIT           MI   48223‐1013
MOORE, JENNIFER L        5493 COUNTRY LN                                                                         FLINT             MI   48506‐1019
MOORE, JENNIFER M        33 OHIO ST                                                                              FAIRBORN          OH   45324‐4505
MOORE, JERDEANER M       4019 TWIN LAKES CT                                                                      SHELBY TOWNSHIP   MI   48316‐1461
MOORE, JEREMIAH          CONSUMER LEGAL SERVICES P.C.      30928 FORD RD                                         GARDEN CITY       MI   48135‐1803
MOORE, JEREMY W          6269 CONGRESS TWP RD 29                                                                 MANSFIELD         OH   44904
MOORE, JEROME N          311 E CALENDAR AVE                                                                      LA GRANGE         IL   60525‐2512
MOORE, JERRY             COON BRENT W                      PO BOX 4905                                           BEAUMONT          TX   77704‐4905
MOORE, JERRY A           4454 WECKERLY RD                                                                        MONCLOVA          OH   43542‐9484
MOORE, JERRY A           11649 SW 75TH CIR                                                                       OCALA             FL   34476‐9434
MOORE, JERRY ALAN        4454 WECKERLY RD                                                                        MONCLOVA          OH   43542‐9484
MOORE, JERRY B           164 DEWBERRY RD                                                                         KEAVY             KY   40737
MOORE, JERRY D           5056 N LAKE RD                                                                          COLUMBIAVILLE     MI   48421‐9104
MOORE, JERRY D           9230 ROCK OAK LN                                                                        FAIR OAKS         CA   95628‐4131
MOORE, JERRY DWIGHT      5056 N LAKE RD                                                                          COLUMBIAVILLE     MI   48421‐9104
MOORE, JERRY E           5 BLACKBERRY CIR                                                                        PERRYVILLE        MO   63775‐4213
MOORE, JERRY G           215 VALENTINE DR                                                                        DAYTON            OH   45431‐1925
MOORE, JERRY L           14850 VAN PELT DR                                                                       GOSHEN            IN   46526‐9315
MOORE, JERRY L           320 N LEONA AVE                                                                         GARDEN CITY       MI   48135‐2636
MOORE, JERRY L           23355 HAGGERTY RD                                                                       BELLEVILLE        MI   48111‐9659
MOORE, JERRY LEE         263 TAMARACK                                                                            BELLEVILLE        MI   48111
MOORE, JERRY M           2363 S DYE RD                                                                           FLINT             MI   48532‐4129
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Name                    Address1                       Address2            Address3         Address4         City           State Zip
MOORE, JERRY R          1144 NOVAK RD                                                                        GRAFTON         OH 44044‐1252
MOORE, JERRY V          11418 WESTHILL DR                                                                    FESTUS          MO 63028‐3347
MOORE, JERRY W          8618 S 100 E                                                                         MARKLEVILLE     IN 46056
MOORE, JESS E           3521 PEAK RD                                                                         GRANBURY        TX 76048‐6236
MOORE, JESSE            7250 STUDEBAKER RD                                                                   TIPP CITY       OH 45371‐8535
MOORE, JESSE C          4108 N CAPITOL AVE                                                                   INDIANAPOLIS    IN 46208‐3813
MOORE, JESSE J          2952 SAGE AVE                                                                        DAYTON          OH 45408‐2233
MOORE, JESSE W          625 GRANBURY ST                                                                      CLEBURNE        TX 76033‐9256
MOORE, JESSICA
MOORE, JESSIE           PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON        MS   39206‐5621
MOORE, JESSIE L         307 KINGS MILLS RD                                                                   MASON          OH   45040‐1806
MOORE, JESSIE L         1201 REESE AVE                                                                       LIMA           OH   45804‐2052
MOORE, JESSIE LEE       1201 REESE AVE                                                                       LIMA           OH   45804‐2052
MOORE, JESSIE M         15900 HAZEL RD                                                                       E CLEVELAND    OH   44112‐2911
MOORE, JEWELL L         4444 WEST COURT ST             RM 1215                                               FLINT          MI   48532
MOORE, JEWELL LEROY     5457 WESTCHESTER DR                                                                  FLINT          MI   48532‐4054
MOORE, JILL A           25914 NORMANDY ST                                                                    ROSEVILLE      MI   48066‐5746
MOORE, JIMMIE L         480 N NEW LOTHROP RD                                                                 LENNON         MI   48449‐9646
MOORE, JIMMIE L         15312 BLACKSTONE AVE                                                                 DOLTON         IL   60419‐3118
MOORE, JIMMIE L         618 W ALMA AVE                                                                       FLINT          MI   48505‐2022
MOORE, JIMMIE R         6721 GLENHILLS DR                                                                    ENGLEWOOD      OH   45322‐3513
MOORE, JIMMIE R         4223 N 18TH ST                                                                       MILWAUKEE      WI   53209‐6825
MOORE, JIMMIE R         284 KENSINGTON DR                                                                    DELAWARE       OH   43015‐9789
MOORE, JIMMY D          5170 PALENA BLVD                                                                     NORTH PORT     FL   34287‐2417
MOORE, JIMMY E          223 CHAMPION HILLS DRIVE                                                             BERRYVILLE     AR   72616‐3033
MOORE, JIMMY F          2004 NEW TOWN RD                                                                     MONROE         NC   28110‐9576
MOORE, JIMMY L          38607 E PARRENT RD                                                                   OAK GROVE      MO   64075‐9097
MOORE, JIMMY O          181 CANTERBURY DR                                                                    SAGINAW        MI   48638‐5836
MOORE, JO A             PO BOX 21356                                                                         OWENSBORO      KY   42304‐1356
MOORE, JO A             P.O. BOX # 21356                                                                     OWENSBORO      KY   42304
MOORE, JO E             PO BOX 653                                                                           VERONA         OH   45378‐0653
MOORE, JOAN             2132 MARION CIR                                                                      LITTLE RIVER   SC   29566‐9101
MOORE, JOAN             PO BOX 4                                                                             LISBON         NY   13658‐0004
MOORE, JOAN D           696 HARRISON AVE                                                                     TONAWANDA      NY   14223‐1848
MOORE, JOAN D           696 HARRISON ROAD                                                                    TONAWANDA      NY   14223‐1848
MOORE, JOAN ELIZABETH   1816 EMMET ST.                                                                       TWO RIVERS     WI   54241
MOORE, JOAN ELIZABETH   1816 EMMET ST                                                                        TWO RIVERS     WI   54241‐2727
MOORE, JOAN I           1606 WILLOW CREEK DR                                                                 LANSING        MI   48917‐7817
MOORE, JOAN M           836 MEADOW DR                                                                        DAVISON        MI   48423‐1030
MOORE, JOAN W           4749 ERICSON AVENUE                                                                  DAYTON         OH   45418‐1909
MOORE, JOANN E          17761 FEATHER LN                                                                     BROWNSTOWN     MI   48193‐8460
MOORE, JOANN V          20271 EVERGREEN RD                                                                   DETROIT        MI   48219‐1409
MOORE, JOANNA M         4601 VALLEY BROOK DRIVE                                                              ENGLEWOOD      OH   45322‐3625
MOORE, JOANNE           5602 WISE RD                                                                         LANSING        MI   48911‐3411
MOORE, JOANNE M         6176 STATE ROUTE 113                                                                 BELLEVUE       OH   44811‐9754
MOORE, JOE
MOORE, JOE D            3024 MIMS ST                                                                         FORT WORTH     TX   76112‐7229
MOORE, JOE K            6306 HAMPTON DR                                                                      AMARILLO       TX   79109‐6522
MOORE, JOE T            694 W ERICKSON RD                                                                    PINCONNING     MI   48650‐9445
MOORE, JOE W            4 DEER RUN CT                                                                        PUEBLO         CO   81001‐1857
MOORE, JOHN             8 THORNFIELD WAY                                                                     FAIRPORT       NY   14450‐3024
MOORE, JOHN             19521 ALBANY AVE                                                                     SOUTHFIELD     MI   48075‐3920
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Name                 Address1                       Address2                      Address3   Address4         City              State Zip
MOORE, JOHN          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                    STREET, SUITE 600
MOORE, JOHN A        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                    STREET, SUITE 600
MOORE, JOHN A        6014 STOCKBRIDGE COMMONS TRL                                                             GRAND BLANC       MI   48439‐9135
MOORE, JOHN A        5339 DON SHENK DR                                                                        SWARTZ CREEK      MI   48473‐1103
MOORE, JOHN B        2450 E 99TH ST                                                                           INDIANAPOLIS      IN   46280‐1760
MOORE, JOHN C        3094 FITCH RD                                                                            RANSOMVILLE       NY   14131‐9620
MOORE, JOHN C        131 TENNESSEE CHAPEL CIR                                                                 KINGSTON          TN   37763‐5802
MOORE, JOHN D        1530 TENNYSON AVE                                                                        DAYTON            OH   45406‐4244
MOORE, JOHN D        916 SHAWSWICK STATION RD                                                                 BEDFORD           IN   47421‐7655
MOORE, JOHN D        7991 S 250 W                                                                             TRAFALGAR         IN   46181‐9255
MOORE, JOHN D        6499 GLENMONT DR                                                                         HAMILTON          OH   45011‐5016
MOORE, JOHN D        PO BOX 1367                                                                              BRIGHTON          MI   48116‐7867
MOORE, JOHN D        4666 PADGETT RD                                                                          E PALESTINE       OH   44413‐8781
MOORE, JOHN D        809 UPLAND ESTATES DR                                                                    WOODSTOCK         GA   30188‐4271
MOORE, JOHN DAVID    7991 S 250 W                                                                             TRAFALGAR         IN   46181‐9255
MOORE, JOHN E        201 S MORRISON RD APT 11C                                                                MUNCIE            IN   47304‐6749
MOORE, JOHN E        5332 SEVILLE CIR                                                                         LA PALMA          CA   90623‐1101
MOORE, JOHN E        1045 CICILION AVE                                                                        DAYTON            OH   45402‐4110
MOORE, JOHN E        4801 MILLSBORO RD                                                                        GALION            OH   44833‐9514
MOORE, JOHN E        1017 E 178TH ST                                                                          CLEVELAND         OH   44119‐2969
MOORE, JOHN F        6049 LONG POINT DR                                                                       DAVISBURG         MI   48350‐3528
MOORE, JOHN F        1572 ARNDALE RD                                                                          STOW              OH   44224‐2312
MOORE, JOHN H        8354 ALPINE ST                                                                           DETROIT           MI   48204‐3305
MOORE, JOHN H        354 COUNTY ROAD 2928                                                                     SHELBYVILLE       TX   75973‐4034
MOORE, JOHN H        2548 CHESHAIRE DR                                                                        WINDSOR MILL      MD   21244
MOORE, JOHN H        3906 WEBSTER ST                                                                          OAKLAND           CA   94609‐2726
MOORE, JOHN H        8331 EVERETT AVE                                                                         KANSAS CITY       KS   66112‐1731
MOORE, JOHN H        7867 KINGS BENCH PL                                                                      PASADENA          MD   21122‐6303
MOORE, JOHN L        PO BOX 452                                                                               STANDISH          MI   48658‐0452
MOORE, JOHN L        3515 84TH ST APT 3G                                                                      JACKSON HEIGHTS   NY   11372‐5339
MOORE, JOHN M        4275 S FANCHER RD                                                                        HOLLEY            NY   14470‐9054
MOORE, JOHN M        7040 RONALD DR                                                                           SAGINAW           MI   48609‐6921
MOORE, JOHN M        1173 ROSEBERRY LN                                                                        CLIO              MI   48420‐1726
MOORE, JOHN M        7901 AUSTIN RD                                                                           JACKSONVILLE      FL   32244‐1364
MOORE, JOHN M        112 BAREFIELD DRIVE                                                                      HEPHZIBAH         GA   30815‐4727
MOORE, JOHN M        260 N BALDWIN RESORT RD                                                                  EAST TAWAS        MI   48730‐9438
MOORE, JOHN R        3049 E SMILEY AVE                                                                        SHELBY            OH   44875‐8601
MOORE, JOHN R        5810 SW 109TH STREET RD                                                                  OCALA             FL   34476‐9218
MOORE, JOHN R        6495 SPOUT SPRINGS RD                                                                    FLOWERY BRANCH    GA   30542‐5525
MOORE, JOHN R        305 JEFFREY LN                                                                           PENDLETON         IN   46064‐8806
MOORE, JOHN R        1926 NETHERY RD                                                                          HARTSELLE         AL   35640‐7374
MOORE, JOHN R        17901 SADDLE HORN RD                                                                     WILDWOOD          MO   63038‐1342
MOORE, JOHN R        14420 TALBOT ST                                                                          OAK PARK          MI   48237‐1157
MOORE, JOHN R        6355 HATCHERY RD                                                                         WATERFORD         MI   48329‐3148
MOORE, JOHN S        4475 ARLINE DR                                                                           ORCHARD LAKE      MI   48323‐2501
MOORE, JOHN STEVEN   4475 ARLINE DR                                                                           ORCHARD LAKE      MI   48323‐2501
MOORE, JOHN T        6234 MILL CREEK BLVD                                                                     YOUNGSTOWN        OH   44512‐3221
MOORE, JOHN T        PO BOX 983                                                                               HAGERSTOWN        MD   21741‐0983
MOORE, JOHN TERRY    PO BOX 983                                                                               HAGERSTOWN        MD   21741‐0983
MOORE, JOHN V        1959 HIGHWAY 532                                                                         COLLINS           MS   39428‐5812
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Name                  Address1                        Address2            Address3         Address4         City               State Zip
MOORE, JOHN V         2560 W 1100 S # 27                                                                    FAIRMOUNT           IN 46928
MOORE, JOHN V         4208 BANDURY DR                                                                       ORION               MI 48359‐1860
MOORE, JOHN VICTOR    2560 W 1100 S # 27                                                                    FAIRMOUNT           IN 46928
MOORE, JOHN W         3107 N 080 W                                                                          HUNTINGTON          IN 46750‐4008
MOORE, JOHN W         16265 GEDDES RD                                                                       HEMLOCK             MI 48626‐9604
MOORE, JOHN W         201 TWILIGHT LN                                                                       MC CORMICK          SC 29835‐2651
MOORE, JOHN W         459 HENRY ST APT 303                                                                  DETROIT             MI 48201
MOORE, JOHN W         25009 BAKER ST                                                                        TAYLOR              MI 48180‐3125
MOORE, JOHN W         1305 RYDALE RD                                                                        DAYTON              OH 45405‐1310
MOORE, JOHN W         1305 RYDALE RD.                                                                       DAYTON              OH 45405‐1310
MOORE, JOHN W         1520 S TIPSICO LAKE RD                                                                MILFORD             MI 48380‐1030
MOORE, JOHNELLA       642 W BUNDY                                                                           FLINT               MI 48505‐2043
MOORE, JOHNELLA       642 W BUNDY AVE                                                                       FLINT               MI 48505‐2043
MOORE, JOHNNIE        3619 SHANNON RD                                                                       CLEVELAND HTS       OH 44118‐1928
MOORE, JOHNNIE        SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST          MS 39083‐3007
MOORE, JOHNNIE E      12367 CLOVERLAWN ST                                                                   DETROIT             MI 48204‐1014
MOORE, JOHNNIE E      13 YOSEMITE DR                                                                        CHEROKEE VILLAGE    AR 72529‐5219
MOORE, JOHNNIE K      2904 LACHELLE LN                                                                      ARLINGTON           TX 76010‐8417
MOORE, JOHNNIE M      1695 SO ETHEL ST                                                                      DETROIT             MI 48217‐1671
MOORE, JOHNNIE M      1695 S ETHEL ST                                                                       DETROIT             MI 48217‐1671
MOORE, JOHNNIE P      8050 PINE KNOB RD                                                                     CLARKSTON           MI 48348‐3731
MOORE, JOHNNY         6477 W CIMARRON TRL                                                                   FLINT               MI 48532‐2022
MOORE, JOHNNY E       1821 TYLER RD                                                                         YPSILANTI           MI 48198
MOORE, JOHNNY E       6000 W 70TH ST APT 505                                                                SHREVEPORT          LA 71129‐2529
MOORE, JOHNNY L       1822 GREENBRIAR DR                                                                    PORTAGE             MI 49024‐5786
MOORE, JOHNNY P       16577 LESURE ST                                                                       DETROIT             MI 48235‐4010
MOORE, JOHNNY R       2221 CANNIFF ST                                                                       FLINT               MI 48504‐2076
MOORE, JOHNNY R       920 CLEO ST                                                                           LANSING             MI 48915
MOORE, JOHNNY R       1818 SCHOOL HOUSE                                                                     LANSING             MI 48917
MOORE, JOHNNY RAY     920 CLEO ST                                                                           LANSING             MI 48915
MOORE, JOICE J        113 SOUTHEAST 12TH STREET                                                             TOPEKA              KS 66612‐1127
MOORE, JOIDE          16585 WILDEMERE ST                                                                    DETROIT             MI 48221‐3160
MOORE, JOLEEN A       201 WEST 8TH STREET             # 28                                                  LAWSON              MO 64062
MOORE, JOLEEN A       201 W 8TH TER APT 28                                                                  LAWSON              MO 64062‐9320
MOORE, JON L          1039 WILLOW PL                                                                        LOUISVILLE          CO 80027‐1099
MOORE, JON L          3233 GARDENDALE DR                                                                    FRANKLIN            TN 37064‐6237
MOORE, JONATHAN T     441 W PLUM ST                                                                         TIPP CITY           OH 45371‐1847
MOORE, JOSEPH         261 FOXWOOD CIR                                                                       SAINT MARYS         GA 31558‐3329
MOORE, JOSEPH         518 ELLIE LEE DR                                                                      SMYRNA              TN 37167
MOORE, JOSEPH         5561 HEATHER VIEW DR                                                                  MEMPHIS             TN 38125‐4252
MOORE, JOSEPH         GREENWOOD JUDY                  1600 MARKET ST                                        PHILADELPHIA        PA 19103
MOORE, JOSEPH B       315 6TH AVE                                                                           ELIZABETH           PA 15037‐1439
MOORE, JOSEPH F       1435 HOSMER RD                                                                        BARKER              NY 14012‐9521
MOORE, JOSEPH G.      10643 BUCK RD                                                                         FREELAND            MI 48623‐9753
MOORE, JOSEPH M       PO BOX 38                                                                             PITSBURG            OH 45358‐0069
MOORE, JOSEPH W       W307 HALFWAY TREE RD                                                                  BRODHEAD            WI 53520‐9108
MOORE, JOSEPHINE      1435 HAZEL FORK RD                                                                    GRAY                KY 40734‐6535
MOORE, JOSEPHINE H    5241 CROCUS AVE                                                                       LANSING             MI 48911‐3734
MOORE, JOSEPHINE J    1122 N 4TH AVE                                                                        SAGINAW             MI 48601‐1018
MOORE, JOSEPHINE J    1122 N 4TH                                                                            SAGINAW             MI 48601‐1018
MOORE, JOSHUA D       1004 N PLEASANT VALLEY AVE                                                            DAYTON              OH 45404‐2444
MOORE, JOSHUA DAVID   10527 KILCHURN CT                                                                     CHARLOTTE           NC 28277‐1587
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Name               Address1                          Address2                       Address3   Address4         City               State Zip
MOORE, JOSHUA N    4393 MAPLE DR                                                                                NEWTON FALLS        OH 44444‐9732
MOORE, JOSHUA W    6089 S DERBY DR                                                                              COLUMBIA CITY       IN 46725‐9280
MOORE, JOSIE       744 E MYRTLE ST                                                                              FLINT               MI 48505‐3939
MOORE, JOSIE       744 E MYRTLE AVE                                                                             FLINT               MI 48505‐3939
MOORE, JOVAN A     3610 DORHAM PL                                                                               DAYTON              OH 45406‐3501
MOORE, JOYCE       1104 WEATHERBY CV                                                                            BIRMINGHAM          AL 35242
MOORE, JOYCE A     10257 BURGUNDY                                                                               DIMONDALE           MI 48821‐9406
MOORE, JOYCE A     10257 BURGANDY BLVD                                                                          DIMONDALE           MI 48821‐9406
MOORE, JOYCE A     5327 E 00 NS                                                                                 GREENTOWN           IN 46936‐8775
MOORE, JOYCE A     503 CONCEPTS 21 DR                                                                           LITHONIA            GA 30058
MOORE, JOYCE A     2019 KOEHLER AVE                                                                             DAYTON              OH 45414‐4617
MOORE, JOYCE J     23500 15 MILE RD                                                                             BIG RAPIDS          MI 49307‐9228
MOORE, JOYCE J     12348 N 125 W                                                                                ALEXANDRIA          IN 46001‐8528
MOORE, JUANITA     PO BOX 316                        220 MARY KAY DR                                            GRATIS              OH 45330‐0316
MOORE, JUANITA     6138 CITADEL DR                   APT#304                                                    KANSAS CITY         MO 64110‐542
MOORE, JUANITA     27015 GATLIN DR.                                                                             ARDMORE             AL 35739‐8230
MOORE, JUANITA     6138 CITADEL DR APT 304                                                                      KANSAS CITY         MO 64110‐3595
MOORE, JUANITA M   370 BERNICE ST                                                                               ROCHESTER           NY 14615‐2131
MOORE, JUANYTA E   1837 41ST PL SE                                                                              WASHINGTON          DC 20020‐6021
MOORE, JUANYTA E   2807 E 35TH ST                                                                               KANSAS CITY         MO 64128‐2407
MOORE, JUDD M      6897 CHAPEL LN                                                                               NORTH RIDGEVILLE    OH 44039‐2942
MOORE, JUDITH      1209 RICHMOND RD                                                                             WEST MILFORD        NJ 07480‐5103
MOORE, JUDY        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                     PROFESSIONAL BLDG
MOORE, JUDY        1506 HOLMES ST                                                                               SAGINAW            MI   48602‐1263
MOORE, JUDY        9642 INKSTER ROAD                                                                            REDFORD            MI   48239‐2303
MOORE, JUDY A      3658 PRESTWICK CIR                                                                           GULF SHORES        AL   36542‐2748
MOORE, JUDY A      1554 STIRLING LAKES DR                                                                       PONTIAC            MI   48340‐1374
MOORE, JUDY C      RR 2 BOX 2327                                                                                JONESVILLE         VA   24263‐9485
MOORE, JUDY C      RTE 2 BOX 2327                                                                               JONESVILLE         VA   24263‐9485
MOORE, JUDY K      1230 BEAL RD                                                                                 MANSFIELD          OH   44903‐9217
MOORE, JULIA M     395 ETHERTON                                                                                 CAPE GIRARDEAU     MO   63703‐7577
MOORE, JULIA M     395 ETHERTON DR                                                                              CAPE GIRARDEAU     MO   63703‐7577
MOORE, JULIAN O    1051 VOORHEIS ST                                                                             PONTIAC            MI   48341‐1877
MOORE, JULIE
MOORE, JULIE A     47556 NAPOLI LN                                                                              MACOMB             MI   48044‐2678
MOORE, JUNE C      46 HORSESHOE DR                                                                              WATERBURY          CT   06706‐2624
MOORE, JUNE M      4759 MILL STREAM CT                                                                          MURRYSVILLE        PA   15668‐1137
MOORE, JUNE M      4759 MILLSTREAM DR                                                                           MURRYSVILLE        PA   15668‐1137
MOORE, JUNE R      302 WINIFRED                                                                                 LANSING            MI   48917‐2719
MOORE, JUNE R      302 WINIFRED AVE                                                                             LANSING            MI   48917‐2719
MOORE, JUSTIN P    6724 DUPONT AVE N                                                                            BROOKLYN CENTER    MN   55430‐1520
MOORE, K S         39 FORKED CREEK PKWY                                                                         HERNANDO           MS   38632‐1295
MOORE, KAREN       13211 DAVISBURG RD                                                                           DAVISBURG          MI   48350‐2331
MOORE, KAREN       15221 NORTHGATE BLVD APT 202                                                                 OAK PARK           MI   48237‐1228
MOORE, KAREN       15221 NORTHGATE BLVD              APT #202                                                   OAKPARK            MI   48237
MOORE, KAREN C     1002 PATHVIEW CT                                                                             DACULA             GA   30019‐6843
MOORE, KAREN C     909 W 137TH ST                                                                               COMPTON            CA   90222‐3426
MOORE, KAREN E     316 COMMONWEALTH AVE                                                                         PRT WENTWORTH      GA   31407‐2221
MOORE, KAREN J     8373 GLENMAR RD                                                                              ELLICOTT CITY      MD   21043‐6994
MOORE, KAREN J     221 SIMMONS                                                                                  HURST              TX   76053‐6528
MOORE, KAREN J     221 SIMMONS DR                                                                               HURST              TX   76053‐6528
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Name                    Address1                          Address2                      Address3   Address4         City            State Zip
MOORE, KAREN K          17959 8TH ST                                                                                GOBLES           MI 49055‐9679
MOORE, KAREN MAXINE     13864 FRIEND RD                                                                             GERMANTOWN       OH 45327‐8742
MOORE, KAREN S          1836 GREY POINTE DR                                                                         BRENTWOOD        TN 37027‐8143
MOORE, KARL W           740 GEARHART AVE                                                                            CRESTLINE        OH 44827‐1008
MOORE, KARON            4219 GREENLAWN DR                                                                           FLINT            MI 48504‐2043
MOORE, KARTINA          8643 S 87TH AVE 210                                                                         JUSTICE           IL 60458
MOORE, KASS A           4159 GREENSBORO DR                                                                          TROY             MI 48085‐3674
MOORE, KATELAND         2000 UNITY PL APT 1007                                                                      LOUISVILLE       KY 40208
MOORE, KATELAND         PO BOX 9478                                                                                 HUNTINGTON       WV 25704‐0478
MOORE, KATHERINE        558 S 27TH ST                                                                               SAGINAW          MI 48601‐6419
MOORE, KATHERINE L      850 SARGENT AVE SE                                                                          ADA              MI 49301‐9041
MOORE, KATHLEEN         430 W FOSS AVE                                                                              FLINT            MI 48505‐2006
MOORE, KATHLEEN A       87 REDHEAD LANE                                                                             GRAYLING         MI 49738
MOORE, KATHLEEN A       87 S RED HEAD LN                                                                            GRAYLING         MI 49738‐7003
MOORE, KATHLEEN A       3027 LAURIA RD                                                                              BAY CITY         MI 48706‐1111
MOORE, KATHLEEN J       6187 ORIOLE DR                                                                              FLINT            MI 48506‐1712
MOORE, KATHLEEN J       3066 LINDENWOOD DR                                                                          DEARBORN         MI 48120‐1312
MOORE, KATHLEEN M       7144 SARATOGA DR                                                                            FLINT            MI 48532‐3014
MOORE, KATHLEEN M       7144 SARATOGA                                                                               FLINT            MI 48532
MOORE, KATHLEEN O       5594 BERKLEY DR                                                                             WATERFORD        MI 48327‐2706
MOORE, KATHLEEN P       2559 PADUCAH ST                                                                             FLINT            MI 48504‐7728
MOORE, KATHRYN S        1193 SMITHVILLE RD N                                                                        LEESBURG         GA 31763‐4025
MOORE, KATIE            2113 LEXINGTON DR                 APT 4                                                     SPRINGFIELD       IL 62704
MOORE, KATIE C          3128 RAY ST                                                                                 SAGINAW          MI 48601‐4627
MOORE, KAY F            7432 HARVEST VILLAGE CT                                                                     NAVARRE          FL 32566‐7340
MOORE, KAY M            6324 WEATHERS RD                                                                            WENDELL          NC 27591‐8953
MOORE, KEATON
MOORE, KEITH            455 CLAUDE ST                                                                               SOUTH LEBANON   OH   45065‐1362
MOORE, KEITH A          161 HASTINGS LN                                                                             ROCHESTER       NY   14617‐2536
MOORE, KEITH D          15410 DOYLE RD                                                                              HEMLOCK         MI   48626‐9473
MOORE, KEITH E          PO BOX 121                                                                                  VERMONTVILLE    MI   49096‐0121
MOORE, KELLIE           CONSUMER LEGAL SERVICES           1950 SAWTELLE BLVD STE 245                                LOS ANGELES     CA   90025‐7017
MOORE, KENNETH          7904 PROSPECT AVE                                                                           KANSAS CITY     MO   64132
MOORE, KENNETH          28500 NORTHWESTERN HWY                                                                      SOUTHFIELD      MI   48034‐1802
MOORE, KENNETH A        39344 SUNDALE DR                                                                            FREMONT         CA   94538‐1926
MOORE, KENNETH B        3496N 200 E                                                                                 HUNTINGTON      IN   46750
MOORE, KENNETH B        3496 N 200 E                                                                                HUNTINGTON      IN   46750‐9562
MOORE, KENNETH C        PO BOX 38                                                                                   COLUMBIAVILLE   MI   48421‐0038
MOORE, KENNETH D        4172 CONNE MARA LN                                                                          WATERFORD       MI   48329‐1607
MOORE, KENNETH D        1949 TRIPP RD                                                                               WOODSTOCK       GA   30188‐1915
MOORE, KENNETH E        1321 NORTH 79TH TERRACE                                                                     KANSAS CITY     KS   66112‐2190
MOORE, KENNETH E        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                          STREET, SUITE 600
MOORE, KENNETH E        3310 GLEN HELEN RD.                                                                         DAYTON          OH   45406‐5406
MOORE, KENNETH EUGENE   3310 GLEN HELEN RD                                                                          DAYTON          OH   45406‐1120
MOORE, KENNETH J        15880 BRAMELL ST                                                                            DETROIT         MI   48223‐1015
MOORE, KENNETH J        13211 DAVISBURG RD                                                                          DAVISBURG       MI   48350‐2331
MOORE, KENNETH J        5519 BISHOP ST                                                                              DETROIT         MI   48224
MOORE, KENNETH L        4090 RICHMARK LN                                                                            BAY CITY        MI   48706‐2228
MOORE, KENNETH L        1233 DURANGO SPRINGS DR                                                                     HASLET          TX   76052‐3563
MOORE, KENNETH N        3635 SOUTHFIELD DR                                                                          SAGINAW         MI   48601‐5654
MOORE, KENNETH N        314 DELLWOOD ST                                                                             TILTON          IL   61833‐7552
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Name                       Address1                         Address2               Address3      Address4         City           State Zip
MOORE, KENNETH NEAL        3635 SOUTHFIELD DR                                                                     SAGINAW         MI 48601‐5654
MOORE, KENNETH O           4520 BRIGHTON CIR                                                                      GRAND BLANC     MI 48439‐7340
MOORE, KENNETH P           37 BERNADETTE TER                                                                      WEST SENECA     NY 14224‐3803
MOORE, KENNETH P           5741 YORKTOWN LN                                                                       YOUNGSTOWN      OH 44515‐2207
MOORE, KENNETH R           4 AZURE LN                                                                             EUSTIS          FL 32726‐6764
MOORE, KENNETH R           15375 WHISTLING LN                                                                     CARMEL          IN 46033‐8120
MOORE, KENNETH R           5406 8TH AVE                                                                           COUNTRYSIDE      IL 60525‐3624
MOORE, KENNETH R           7400 RUBY TRL                                                                          GAYLORD         MI 49735‐8655
MOORE, KENNETH R           7401 RUBY TR.                                                                          GAYLORD         MI 49735
MOORE, KENNETH R           80 CLEARVIEW LN                                                                        FRANKLIN        OH 45005‐2390
MOORE, KENNETH W           1057 KETTERING ST                                                                      BURTON          MI 48509‐2347
MOORE, KENNETH WAYNE       1057 KETTERING ST                                                                      BURTON          MI 48509‐2347
MOORE, KEVIN D             1436 WILLAMET RD                                                                       DAYTON          OH 45429‐5429
MOORE, KEVIN J             10350 HADLEY RD                                                                        CLARKSTON       MI 48348‐1920
MOORE, KEVIN J             22021 CLOVER LN                                                                        NOVI            MI 48375‐5119
MOORE, KEVIN L             9970 EVERGREEN AVE                                                                     DETROIT         MI 48228‐1306
MOORE, KHARAY C            10056 DEBLIND CIR                                                                      DIMONDALE       MI 48821‐9688
MOORE, KIM R               10018 BANBURY CT                                                                       FORT WAYNE      IN 46818‐8412
MOORE, KIM Y               1522 OAK KNOLL AVE SE                                                                  WARREN          OH 44484
MOORE, KIMBERLI M          44505 WILLOW RD                                                                        BELLEVILLE      MI 48111‐9157
MOORE, KIMBERLY L          1416 KERCHER ST                                                                        MIAMISBURG      OH 45342‐1908
MOORE, KIMBERLY M          14167 STAHELIN                                                                         DETROIT         MI 48223
MOORE, KIMBERLY M          PO BOX 401356                                                                          REDFORD         MI 48240‐9356
MOORE, KODIE V             2430 TYRELL ST APT 8                                                                   YOUNGSTOWN      OH 44509‐1476
MOORE, KRYSTLE D           9809 HILLSBORO DR                                                                      SHREVEPORT      LA 71118‐4807
MOORE, KYLE D              15426 PARKWOOD DR                                                                      MONROE          MI 48161‐3923
MOORE, L B                 1825 BENTON RD                                                                         CHARLOTTE       MI 48813‐9796
MOORE, L C                 558 S 27TH ST                                                                          SAGINAW         MI 48601‐6419
MOORE, LA RAE G            5305 WESTGATE DR                                                                       AMARILLO        TX 79106‐4412
MOORE, LADONNA K.          2105 W 3RD ST                                                                          BLOOMINGTON     IN 47404‐5215
MOORE, LADONNA K.          405 S MULLER PARKWAY                                                                   BLOOMINGTON     IN 47404
MOORE, LAMARR L            3350 CIRCLE DR                                                                         SAGINAW         MI 48601‐5802
MOORE, LANCE CHRISTOPHER
MOORE, LANCE T             233 BEACH AVE                                                                          BELOIT         WI 53511‐3405
MOORE, LANDEN
MOORE, LANNY G             23093 KIRBY LN                                                                         ATHENS         AL   35613‐4150
MOORE, LARRY               KAHN & ASSOCIATES                55 PUBLIC SQ STE 650                                  CLEVELAND      OH   44113‐1909
MOORE, LARRY               16609 EDMORE DR                                                                        DETROIT        MI   48205‐1513
MOORE, LARRY B             3229 PRATT RD                                                                          METAMORA       MI   48455‐9710
MOORE, LARRY D             2040 W MAIN ST STE 210           1066                                                  RAPID CITY     SD   57702‐2570
MOORE, LARRY D             1900 S VAN BUREN RD                                                                    REESE          MI   48757‐9237
MOORE, LARRY D             1708 LINDSAY LN N                                                                      ATHENS         AL   35613‐5218
MOORE, LARRY D             5207 N ANTHONY ST                                                                      CAYUGA         IN   47928‐8073
MOORE, LARRY D             274 NABER ST                                                                           RIPLEY         TN   38063‐8041
MOORE, LARRY G             25855 ROSS ST                                                                          INKSTER        MI   48141‐3257
MOORE, LARRY H             3420 GRAND BLANC RD                                                                    SWARTZ CREEK   MI   48473‐8888
MOORE, LARRY HAYS          3420 GRAND BLANC RD                                                                    SWARTZ CREEK   MI   48473‐8888
MOORE, LARRY J             3641 E WALKER RD                                                                       SAINT JOHNS    MI   48879‐9056
MOORE, LARRY J             PO BOX 1418                                                                            GROVE CITY     OH   43123‐6418
MOORE, LARRY J             5095 STATE ROUTE 73                                                                    HILLSBORO      OH   45133‐7013
MOORE, LARRY L             1555 TAFT RD                                                                           REMUS          MI   49340‐9560
MOORE, LARRY L             8613 DANA COURT                                                                        INDIANAPOLIS   IN   46234‐8608
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Name                     Address1                           Address2                      Address3   Address4         City           State Zip
MOORE, LARRY L           8613 DANA CT                                                                                 INDIANAPOLIS    IN 46234‐8608
MOORE, LARRY M           1905 NE 57TH ST                                                                              GLADSTONE       MO 64118‐5620
MOORE, LARRY O           2104 CALVERTON LN SW                                                                         ATLANTA         GA 30331
MOORE, LARRY V           9620 W RUTH AVE                                                                              PEORIA          AZ 85345‐7752
MOORE, LARUTH            28526 EDGEDALE RD                                                                            PEPPER PIKE     OH 44124‐4704
MOORE, LAURA             1527 ORCHARD PARK DR N                                                                       INDIANAPOLIS    IN 46280
MOORE, LAURA C           35 HALSEY RD                                                                                 HYDE PARK       MA 02136‐3315
MOORE, LAUREL            PO BOX 86                                                                                    CASH            AR 72421‐0086
MOORE, LAURENCE W        302 E ATHERTON RD                                                                            FLINT           MI 48507
MOORE, LAVERL            1542 NEEDLE OAK DR                                                                           CORDOVA         TN 38015‐0725
MOORE, LAVERN C          723 BONNIE ST                                                                                CHARLOTTE       MI 48813‐1707
MOORE, LAVERN O          713 PASADENA DR                                                                              OWOSSO          MI 48867‐1132
MOORE, LAVERN O          713 PASADENA AVE                                                                             OWOSSO          MI 48867
MOORE, LAVON             3899 W 21ST ST                                                                               CLEVELAND       OH 44109‐2939
MOORE, LAVONNE A         480 HEREFORD LANE                                                                            MILLSAP         TX 76066
MOORE, LAWRENCE          3413 DUPONT ST                                                                               FLINT           MI 48504‐2286
MOORE, LAWRENCE D        6465 HARVARD AVE                                                                             MOUNT MORRIS    MI 48458‐2304
MOORE, LAWRENCE E        30300 NORTHGATE DR                                                                           SOUTHFIELD      MI 48076‐1029
MOORE, LAWRENCE E        4900 RALPH PLACE                                                                             SHREVEPORT      LA 71109‐6638
MOORE, LAWRENCE EDDIE    4900 RALPH PLACE                                                                             SHREVEPORT      LA 71109‐6638
MOORE, LAWRENCE G        4 CAROB COURT                                                                                PENFIELD        NY 14526‐2602
MOORE, LAWRENCE G        4 CAROB CT                                                                                   PENFIELD        NY 14526‐2602
MOORE, LAWRENCE H        1118 COLLEGE ST                                                                              MEMPHIS         TN 38106‐2204
MOORE, LAWRENCE J        6551 E ROLLING VALLEY CT                                                                     MOORESVILLE     IN 46158
MOORE, LAWRENCE T        2385 HOLLAND ST                                                                              LAKE ORION      MI 48360‐2278
MOORE, LAWSON P          375 NW W HWY                                                                                 KINGSVILLE      MO 64061‐9116
MOORE, LAYMAN D          PO BOX 548                                                                                   LAMPE           MO 65681‐0548
MOORE, LEE E             2206 HARBOR DR APT B                                                                         INDIANAPOLIS    IN 46229‐1782
MOORE, LEILA             7995 PENNFIELD RD                                                                            BATTLE CREEK    MI 49017‐8103
MOORE, LELAND R          PO BOX 622                                                                                   MONTEREY        TN 38574‐0622
MOORE, LEMUEL F          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                            STREET, SUITE 600
MOORE, LENA MAE          SHANNON LAW FIRM                   100 W GALLATIN ST                                         HAZLEHURST     MS   39083‐3007
MOORE, LENFORD L         1204 HOOVER ST                                                                               JANESVILLE     WI   53545‐1013
MOORE, LENORD C          6425 SCOTT DR                                                                                BROOK PARK     OH   44142‐3450
MOORE, LENORE T          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510
                                                            STREET, SUITE 600
MOORE, LEON              8846 AUBURN RD                                                                               CHARDON        OH   44024‐9634
MOORE, LEON E            637 SEA VIEW DR                                                                              DESTIN         FL   32541‐2421
MOORE, LEONA             2619 PEPPERSTONE DRIVE                                                                       GRAHAM         NC   27253
MOORE, LEONA J           109 TBH DR                                                                                   CLINTWOOD      VA   24228
MOORE, LEONARD           11581 KENNEBEC ST                                                                            DETROIT        MI   48205‐5200
MOORE, LEONARD           14820 OHIO ST                                                                                DETROIT        MI   48238‐1749
MOORE, LEONARD C         7045 PINE OAK LN                                                                             GREENWOOD      LA   71033‐3375
MOORE, LEONARD CHARLES   7045 PINE OAK LN                                                                             GREENWOOD      LA   71033‐3375
MOORE, LERENA            14109 EDGEWOOD AVE                                                                           CLEVELAND      OH   44128‐1043
MOORE, LEROY             1700 LOUDON HWY                                                                              PHILADELPHIA   TN   37846‐3949
MOORE, LEROY             8877 MAPLE RD                                                                                BRIDGEPORT     MI   48722‐9744
MOORE, LEROY J           PO BOX 276                                                                                   OAKWOOD        IL   61858‐0276
MOORE, LESLIE J          3785 OLD ELM DR SE                                                                           KENTWOOD       MI   49512‐9571
MOORE, LESLIE L          14165 DUFFIELD RD                                                                            MONTROSE       MI   48457‐9409
MOORE, LESSIE            2430 SKYLINE DRIVE                                                                           KALAMAZOO      MI   49006‐1415
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Name                  Address1                         Address2                         Address3   Address4         City               State Zip
MOORE, LESSIE         P.O.BOX 472                                                                                   FLINT               MI 48501
MOORE, LESSIE         PO BOX 472                                                                                    FLINT               MI 48501‐0472
MOORE, LEWIS B        7842 STAFFORD DR                                                                              SAGINAW             MI 48609‐4239
MOORE, LEWIS F        5951 KLINE RD                                                                                 NIAGARA FALLS       NY 14304‐1024
MOORE, LEWIS F        422 N ADRIAN ST                                                                               LYONS               OH 43533‐9760
MOORE, LEWIS FRANK    422 N ADRIAN ST                                                                               LYONS               OH 43533‐9760
MOORE, LILA R         241 E 500 N                                                                                   ANDERSON            IN 46012‐9501
MOORE, LILIA          5847 CATBERRY DR                                                                              SAGINAW             MI 48603‐1657
MOORE, LILLIAN K      265 ROBIN DR                                                                                  ALBERTVILLE         AL 35950‐9362
MOORE, LILLIE         10517 EVERTON AVE                                                                             CLEVELAND           OH 44108‐2722
MOORE, LILLIE B       2109 W SHERMAN DR                                                                             MUNCIE              IN 47304‐2171
MOORE, LILLIE B       2109 WEST SHERMAN DRIVE                                                                       MUNCIE              IN 47304‐2171
MOORE, LILLIE P       26720 WHITEWAY DR APT F213                                                                    RICHMOND HEIGHTS    OH 44143‐1100
MOORE, LILLIE P       26720 WHITEWAY DRIVE             APT F213                                                     RICHMOND HEIGHTS    OH 44143‐1100
MOORE, LINDA          4574 GOLF VIEW DR                                                                             BRIGHTON            MI 48116‐9766
MOORE, LINDA          28499 LARIAT LN                                                                               WARSAW              MO 65355‐5550
MOORE, LINDA A        APT 1912                         9300 COIT ROAD                                               PLANO               TX 75025‐4488
MOORE, LINDA F        420 BOOTH ST                                                                                  GRAND LEDGE         MI 48837‐1202
MOORE, LINDA G        318 LEWISBURG DR                                                                              MCDONOUGH           GA 30253‐3385
MOORE, LINDA GAIL     318 LEWISBURG DR                                                                              MCDONOUGH           GA 30253‐3385
MOORE, LINDA K        1355 FOREST HILL AVE                                                                          FLINT               MI 48504‐3346
MOORE, LINDA L        1545 W WALNUT ST                                                                              STOCKTON            CA 95203‐1529
MOORE, LINDA L        2295 BOLD SPRINGS RD                                                                          DACULA              GA 30019‐1653
MOORE, LINDA M        78 POPLAR AVE                                                                                 PONTIAC             MI 48342‐1358
MOORE, LINDA S        4887 LUSTER LEAF CIR APT 405                                                                  MYRTLE BEACH        SC 29577‐7720
MOORE, LINDA S        212 ABERDEEN CT                                                                               BELLEVILLE          MI 48111‐4926
MOORE, LINDELL L      PO BOX 236                                                                                    PEVELY              MO 63070‐0236
MOORE, LINDEN O       9270 NICHOLS RD                                                                               MONTROSE            MI 48457‐9039
MOORE, LIOLA M        LOT B4                           4285 BROADWAY                                                GROVE CITY          OH 43123‐3028
MOORE, LIONEL         COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                               CHICAGO              IL 60602
                                                       FLOOR
MOORE, LISA J         1923 MEEK MEADOWS CT                                                                          FENTON             MO   63026‐2668
MOORE, LISA M         55 BRIDLE PATH TER                                                                            SPARKS             NV   89441‐8200
MOORE, LISA M         9156 ELAINE DR                                                                                SWARTZ CREEK       MI   48473‐8536
MOORE, LISA MARIE     9156 ELAINE DR                                                                                SWARTZ CREEK       MI   48473‐8536
MOORE, LIZZIE B       5431 EATON LEWISBURG RD                                                                       LEWISBURG          OH   45338‐6737
MOORE, LLOYD A        5336 WINSHALL DR                                                                              SWARTZ CREEK       MI   48473‐1108
MOORE, LLOYD D        8370 PINEVIEW LAKE DR                                                                         LINDEN             MI   48451‐8559
MOORE, LLOYD DAVID    8370 PINEVIEW LAKE DR                                                                         LINDEN             MI   48451‐8559
MOORE, LLOYD E        PO BOX 10235                                                                                  WILMINGTON         NC   28404‐0235
MOORE, LLOYD E        606 W HIGH ST                                                                                 PENDLETON          IN   46064‐1130
MOORE, LLOYD H        963 AZALEA ST                                                                                 RIPON              CA   95366‐3305
MOORE, LLOYD W        108 SAWMILL RD                                                                                LYONS              OH   43533‐9759
MOORE, LLOYD WILSON   108 SAWMILL RD                                                                                LYONS              OH   43533‐9759
MOORE, LOIS I         PO BOX 22                                                                                     INDIANOLA          IL   61850‐0022
MOORE, LOIS I         BOX 22                                                                                        INDIANOLA          IL   61850‐0022
MOORE, LOIS K         3465 FOWLER ST                                                                                CORTLAND           OH   44410‐9702
MOORE, LOIS K         740 N ROCK RD                                                                                 MANSFIELD          OH   44903‐9114
MOORE, LOIS M         1106 TRIPOLI RD                                                                               JANESVILLE         WI   53545‐0851
MOORE, LOLA G         1230 HODGES FARM RD                                                                           MANSFIELD          GA   30055‐2406
MOORE, LONA J         4701 NELSON DR                                                                                SAINT LOUIS        MO   63121‐3049
MOORE, LONNIE B       480 WOODSDALE DR                                                                              MONROE             OH   45050‐1668
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MOORE, LONNIE BRUCE   480 WOODSDALE DR                                                                            MONROE              OH 45050‐1668
MOORE, LONNIE L       SHANNON LAW FIRM                 100 W GALLATIN ST                                          HAZLEHURST          MS 39083‐3007
MOORE, LONNIE R       324 LOWER STONE AVE                                                                         BOWLING GREEN       KY 42101‐9103
MOORE, LONNY R        1447 HOUSTON DR                                                                             SWARTZ CREEK        MI 48473‐9712
MOORE, LOREE Y        1613 EUCLID AVE                                                                             FLINT               MI 48503‐1183
MOORE, LOREE YVETTE   1613 EUCLID AVE                                                                             FLINT               MI 48503‐1183
MOORE, LORENE         602 S RIVERVIEW AVE                                                                         MIAMISBURG          OH 45342‐3030
MOORE, LORENE         1113 NIAGARA AVE                                                                            NIAGARA FALLS       NY 14305‐2743
MOORE, LORENZA D      3109 GAINES ST                                                                              GUNTERSVILLE        AL 35976‐2907
MOORE, LORETTA J.     4803 VIRGINIA DARE LN                                                                       AUSTIN              TX 78754‐5439
MOORE, LORRAINE A     95 MCKINLEY AVE                                                                             DUMONT              NJ 07628‐2815
MOORE, LORRAINE P     4400 HULBERTON RD                                                                           HOLLEY              NY 14470‐9022
MOORE, LOTTIE         1805 SPINDALE ST                                                                            SPINDALE            NC 28160
MOORE, LOUELLA K      5376 VAN SLYKE                                                                              FLINT               MI 48507‐3954
MOORE, LOUETTA        48440 ST. RT. 20                                                                            OBERLIN             OH 44074
MOORE, LOUIE C        228 S 72ND PL                                                                               MESA                AZ 85208‐1104
MOORE, LOUIS E        3509 JACKSON ST                                                                             SHREVEPORT          LA 71109‐4103
MOORE, LOUIS EDWARD   3509 JACKSON ST                                                                             SHREVEPORT          LA 71109‐4103
MOORE, LOUIS F        9561 MANOR ST                                                                               DETROIT             MI 48204‐2535
MOORE, LOUIS GLENN    GUY WILLIAM S                    PO BOX 509                                                 MCCOMB              MS 39649‐0509
MOORE, LOUIS P        941 TERRACE LN                                                                              YPSILANTI           MI 48198‐3063
MOORE, LOUISE         P 0 B0X 4127                                                                                SAGINAW             MI 48606
MOORE, LOUISE         1717 LYRIC                                                                                  ROCHESTER HILLS     MI 48307‐2928
MOORE, LOUISE         1717 LYRIC CT                                                                               ROCHESTER HILLS     MI 48307‐2928
MOORE, LUCIA P        7606 S FORDNEY RD                                                                           ST CHARLES          MI 48655‐9771
MOORE, LUCILLE C      48 BEMIS WAY                                                                                HENRIETTA           NY 14467‐9345
MOORE, LUCY           HOLLIS & WRIGHT                  FINANCIAL CENTER ‐ 505 NORTH                               BIRMINGHAM          AL 35203
                                                       20TH STREET ‐ SUITE 1750
MOORE, LUCY D         421 N 700 E                                                                                 MARION             IN   46952‐9189
MOORE, LULA M         17354 PLAINVIEW AVE                                                                         DETROIT            MI   48219‐3553
MOORE, LURLYE N       671 HIGHWAY AA                                                                              TROY               MO   63379‐4431
MOORE, LURLYE N       671 HWY. AA                                                                                 TROY               MO   63379‐4431
MOORE, LUTHER         6067 DANFORD CREEK DR APT 3                                                                 KALAMAZOO          MI   49009
MOORE, LYLE D         5097 GOKEE ROAD                                                                             BOYNE FALLS        MI   49713‐9311
MOORE, LYNDA          41021 OLD MICHIGAN AVE TRLR 56                                                              CANTON             MI   48188‐2750
MOORE, LYNDA          41021 OLD MICHIGAN AVE           LOT 56                                                     CANTON             MI   48188‐2750
MOORE, LYNDA L        PO BOX 780371                                                                               ORLANDO            FL   32878‐0371
MOORE, LYNN N         2526 TERRY AVE                                                                              BILLINGS           MT   59102‐4637
MOORE, LYNNE A        13503 TRICKLING WATER CT                                                                    CHARLOTTE          NC   28273
MOORE, LYNWOOD C      1537 AVONDALE DR                                                                            ALTAVISTA          VA   24517‐1005
MOORE, LYONEL E       8035 CRESTON DR                                                                             FREELAND           MI   48623‐8723
MOORE, M M            5008 N KATHERINE DR                                                                         INDIANAPOLIS       IN   46226‐2570
MOORE, MABLE M        2320 AURORA AVE                                                                             FLINT              MI   48504‐6506
MOORE, MACHELLE R     1205 RIDGELAWN LN                                                                           SAINT PETERS       MO   63376‐4338
MOORE, MACKEY L       2914 N ROUTIERS AVE                                                                         INDIANAPOLIS       IN   46219‐1551
MOORE, MADONNA L      6641 WEST 800 SOUTH                                                                         REDKEY             IN   47373‐9468
MOORE, MADONNA L      6641 W 800 S                                                                                REDKEY             IN   47373‐9468
MOORE, MAGDALENE W    213 8TH AVE NW                                                                              DECATUR            AL   35601
MOORE, MAGGIE B       339 BROOKS AVE NE                                                                           ATLANTA            GA   30307‐2141
MOORE, MAI L          7314 ENGLISH CV                                                                             MEMPHIS            TN   38125‐3575
MOORE, MAKELEY E      23141 AVON RD                                                                               OAK PARK           MI   48237‐2457
MOORE, MALCOLM J      3 PATRIOT CT                                                                                UPPER CHICHESTER   PA   19061‐2465
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MOORE, MAMIE          1228 ANZIO LN                                                                                  FLINT              MI 48507‐4002
MOORE, MAMIE R        2263 COUNTY ROAD 323                                                                           ENTERPRISE         MS 39330‐9445
MOORE, MAMIE R        2263 CR 323                                                                                    ENTERPRISE         MS 39330‐9445
MOORE, MANDY R
MOORE, MARC D         48200 CARLOS ST APT 96                                                                         NEW BALTIMORE     MI   48051‐3165
MOORE, MARC D         49200 CARLOS ST APT 96                                                                         NEW BALTIMORE     MI   48051‐3165
MOORE, MARCELL L      PO BOX 785                                                                                     ALBEMARLE         NC   28002‐0785
MOORE, MARCHELLE L    12701 DORAL                                                                                    TUSTIN            CA   92782‐1046
MOORE, MARCIA K       1403 RANDALL DR                                                                                PITTSBURG         KS   66762‐6156
MOORE, MARCUS A       1425 MAPLECREST DR                                                                             AUSTINTOWN        OH   44515‐3804
MOORE, MARCUS J       205 W CHIPAWAY DR                                                                              ALEXANDRIA        IN   46001‐2809
MOORE, MARDIS E       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW           MI   48604‐2602
                                                          260
MOORE, MARGARET       10055 WARD STREET                                                                              DETROIT           MI   48227‐3736
MOORE, MARGARET       15700 PROVIDENT DRIVE               APT 303                                                    SOUTHFIELD        MI   48075
MOORE, MARGARET       G‐3323 BROOKGATE DR                                                                            FLINT             MI   48507
MOORE, MARGARET A     2016 VIOLA GDNS                                                                                OWENSBORO         KY   42303‐4002
MOORE, MARGARET ANN   629 VAUGHN ST                                                                                  EATON RAPIDS      MI   48827‐1151
MOORE, MARGARET E     1907 E WATERBERRY DR                                                                           HURON             OH   44839‐2298
MOORE, MARGARET E     1907 E. WATERBERRY DR.                                                                         HURON             OH   44839‐2298
MOORE, MARGARET J     3914 COUNTY FARM RD                                                                            SAINT JOHNS       MI   48879‐9296
MOORE, MARGARET M     3829 SUNRIDGE DRIVE                                                                            FLINT             MI   48506‐2541
MOORE, MARGARET N     23 FRANCES DR                                                                                  CORAOPOLIS        PA   15108‐3415
MOORE, MARGARET N     23 FRANCIS DRIVE                                                                               CORAOPOLIS        PA   15108
MOORE, MARGARET T     125 ROAD 2156                                                                                  SALTILLO          MS   38862
MOORE, MARGUERITE     1040 E 33RD ST APT 318                                                                         BALTIMORE         MD   21218‐3042
MOORE, MARGUERITE E   701 HUNTINGTON DR                                                                              OWOSSO            MI   48867‐1903
MOORE, MARIA K        1532 NORTHBROOK DR                                                                             INDIANAPOLIS      IN   46260‐2757
MOORE, MARIA KAY      1532 NORTHBROOK DR                                                                             INDIANAPOLIS      IN   46260‐2757
MOORE, MARIAN L       5040 FENTON RD                                                                                 FENTON            MI   48430‐9540
MOORE, MARIAN L       5040 SOUTH FENTON ROAD                                                                         FENTON            MI   48430‐9540
MOORE, MARIE          7401 E 110TH ST R                                                                              KANSAS CITY       MO   64134
MOORE, MARIE A        6062 BIRDWOOD CIR                                                                              DAYTON            OH   45449‐3201
MOORE, MARIE R        1703 FERRY ST                                                                                  METROPOLIS        IL   62960‐1229
MOORE, MARILYN        FARRAR & BALL LLP                   1010 LAMAR ST STE 1600                                     HOUSTON           TX   77002‐6325
MOORE, MARILYN        3083 OREGON AVE                                                                                YOUNGSTOWN        OH   44509‐1081
MOORE, MARILYN        7083 NEW LOTHROP RD                                                                            NEW LOTHROP       MI   48460‐9679
MOORE, MARILYN J      1212 W PONTOON RD                                                                              GRANITE CITY      IL   62040‐2233
MOORE, MARILYN J      1212 WEST PONTOON RD.                                                                          GRANITE CITY      IL   62040
MOORE, MARILYN K      6765 HARTEL RD. (M100)                                                                         POTTERVILLE       MI   48876
MOORE, MARION         5001 BALDWIN HILLS DR                                                                          ENGLEWOOD         OH   45322‐3511
MOORE, MARISA L       1088 GREYSTONE COVE DR                                                                         BIRMINGHAM        AL   35242‐7043
MOORE, MARJORIE A     4164 JANET DR                                                                                  DORR              MI   49323‐9414
MOORE, MARJORIE L     631 TREMONT GREENS LN                                                                          SUN CITY CENTER   FL   33573‐8042
MOORE, MARJORIE M     6260 HAMILTON PLEASANT GR                                                                      PINE MOUNTAIN     GA   31822‐2901
MOORE, MARJORIE O     3463 BARBER RD                                                                                 OXFORD            MI   48371‐1909
MOORE, MARJORY E      128 WILBUR SE                                                                                  GRAND RAPIDS      MI   49548‐3327
MOORE, MARJORY E      128 WILBUR ST SE                                                                               GRAND RAPIDS      MI   49548‐3327
MOORE, MARK
MOORE, MARK C         4497 MAPLE CREEK DR                                                                            GRAND BLANC       MI 48439‐9054
MOORE, MARK E         8581 S HARTSHORN RD                                                                            MARBLEHEAD        OH 43440‐2548
MOORE, MARK E         3907 HERFORD TRL                                                                               MORAINE           OH 45439‐1209
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Name                  Address1                              Address2                       Address3   Address4         City                 State Zip
MOORE, MARK E         370 BERNICE ST                                                                                   ROCHESTER             NY 14615‐2131
MOORE, MARK H         56030 SHADY LN                                                                                   THREE RIVERS          MI 49093‐8923
MOORE, MARK R         16143 MEREDITH CT                                                                                LINDEN                MI 48451‐9095
MOORE, MARK S         APT 333                               222 16TH AVENUE NORTH                                      JAX BCH               FL 32250‐8418
MOORE, MARK S         110 VALLEY AVE NW 1                                                                              GRAND RAPIDS          MI 49504
MOORE, MARK STEVEN    222 16TH AVE N APT 333                                                                           JACKSONVILLE BEACH    FL 32250
MOORE, MARK T         4750 S 1000 E                                                                                    LAFAYETTE             IN 47905‐9446
MOORE, MARLENE J      1159 HILL CREST ROAD                                                                             CINCINNATI            OH 45224‐3223
MOORE, MARQUIS D      29209 MANOR DR                                                                                   WATERFORD             WI 53185‐1172
MOORE, MARQUIS D      29209 MANOR DRIVE                                                                                WATERFORD             WI 53185‐3185
MOORE, MARSHA R       2925 N 300 W                                                                                     ANGOLA                IN 46703‐9461
MOORE, MARSHALL       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH            PA 15219

MOORE, MARSHALL C     2853 HOLMES AVE                                                                                  DAYTON               OH   45406‐4329
MOORE, MARSHALL L     5600 E COUNTY ROAD 700 S                                                                         MUNCIE               IN   47302‐8447
MOORE, MARTHA         608 LAKESIDE PARK                                                                                PORT HURON           MI   48060‐1508
MOORE, MARTHA A       4319 TRUMBULL DR                                                                                 FLINT                MI   48504‐3756
MOORE, MARTHA J       738 MADISON ST                                                                                   WAUKESHA             WI   53188‐3540
MOORE, MARTHA L       412 MARTINGALE DR                                                                                FRANKLIN             TN   37067‐5016
MOORE, MARTHA L       35116 CARLBRO ST                                                                                 CLINTON TWP          MI   48035
MOORE, MARTHA L       2815 NORTHWIND DRIVE                                                                             EAST LANSING         MI   48823
MOORE, MARTHA L.      9069 N WEBSTER RD                                                                                CLIO                 MI   48420‐8507
MOORE, MARTHA M       3269 W LAKE RD                                                                                   CLIO                 MI   48420‐8819
MOORE, MARTHA TUTAS   5604 MISSION RD                                                                                  CONESUS              NY   14435‐9523
MOORE, MARTHA TUTAS   5604 MISSION ROAD                                                                                CONESUS              NY   14435‐9523
MOORE, MARTY E        1424 SPRING PARK WALK                                                                            CINCINNATI           OH   45215
MOORE, MARVEL M       APT A                                 513 NORTH NEWLIN STREET                                    VEEDERSBURG          IN   47987‐1138
MOORE, MARVEL M       513 N NEWLIN ST                       APT A                                                      VEEDERSBURG          IN   47987‐1138
MOORE, MARVIN         4113 BROWNELL BLVD                                                                               FLINT                MI   48504‐3752
MOORE, MARVIN A       11500 S 900 W 35                                                                                 MARION               IN   46952‐9517
MOORE, MARVIN B       5725 ATHENS ST                                                                                   LULA                 GA   30554‐3010
MOORE, MARVIN D       3172 EARLY RD                                                                                    DAYTON               OH   45415‐2703
MOORE, MARVIN J       HC 89 BOX 393                                                                                    WILLOW               AK   99688‐9704
MOORE, MARVIN J       461 S SALEM WARREN RD                                                                            NORTH JACKSON        OH   44451‐9701
MOORE, MARY           3254 JANET AVE                                                                                   WARREN               MI   48092‐3544
MOORE, MARY           3254 JANET DRIVE                                                                                 WARREN               MI   48092‐3544
MOORE, MARY           330 CURRENT RIVER TRL                                                                            MAYNARD              AR   72444‐9399
MOORE, MARY           211 HANDY ST                                                                                     NEW BRUNSWICK        NJ   08901‐2903
MOORE, MARY A         26641 MCNEILL LAKE RD                                                                            WAGRAM               NC   28396‐9223
MOORE, MARY A         10640 W COUNTY ROAD 500 S                                                                        DALEVILLE            IN   47334‐9782
MOORE, MARY A         3818 DONNELLY ST                                                                                 FLINT                MI   48504‐3555
MOORE, MARY A         8615 HARTWELL ST                                                                                 DETROIT              MI   48228‐2794
MOORE, MARY A         936 FITTING AVE                                                                                  LANSING              MI   48917‐2233
MOORE, MARY A         833 N MARKWELL AVE                                                                               MOORE                OK   73160‐1956
MOORE, MARY A         607 E FRANKLIN AVE                                                                               MESA                 AZ   85204
MOORE, MARY ANN       936 FITTING AVE                                                                                  LANSING              MI   48917‐2233
MOORE, MARY B         252 BELLAIRE DR                                                                                  FAIRBORN             OH   45324‐4149
MOORE, MARY C         3448 ADMIRALTY LN                                                                                INDIANAPOLIS         IN   46240‐3566
MOORE, MARY C         108 N AUBURNDALE ST APT 1003                                                                     MEMPHIS              TN   38104‐6411
MOORE, MARY C         12210 SW 111TH TER                                                                               MIAMI                FL   33186‐3751
MOORE, MARY D         3016 E MANOR ST                                                                                  MUNCIE               IN   47303‐3361
MOORE, MARY D         533 CATHY JO CIR                                                                                 NASHVILLE            TN   37211‐3233
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Name               Address1                       Address2            Address3         Address4         City               State Zip
MOORE, MARY E      PO BOX 6604                                                                          KOKOMO              IN 46904‐6604
MOORE, MARY E      142 HIDDEN FOREST RD                                                                 BATTLE CREEK        MI 49014‐7851
MOORE, MARY E      4300 S 50 E                                                                          KOKOMO              IN 46902‐9782
MOORE, MARY E      704 PARK CT                                                                          SAINT CHARLES       MO 63303‐2707
MOORE, MARY E      7840 BROOKS BEND CT                                                                  CANAL WINCHESTER    OH 43110‐8247
MOORE, MARY E.     3748 OTTERBEIN AVE.                                                                  DAYTON              OH 45406‐5406
MOORE, MARY H      236 CHARLES LANE                                                                     PONTIAC             MI 48341‐2929
MOORE, MARY H      236 CHARLES LN                                                                       PONTIAC             MI 48341‐2929
MOORE, MARY J      11028 W GRANGE AVE                                                                   HALES CORNERS       WI 53130‐1228
MOORE, MARY J      243 CONNECTICUT                                                                      HIGHLAND PARK       MI 48203‐3556
MOORE, MARY J      504 WELLINGTON RD                                                                    INDIANAPOLIS        IN 46260‐4622
MOORE, MARY JANE   11028 W GRANGE AVE                                                                   HALES CORNERS       WI 53130‐1228
MOORE, MARY K      4630 ROOSEVELT AVE NE                                                                CANTON              OH 44705‐2953
MOORE, MARY K      9172 MCKINLEY                                                                        MONTROSE            MI 48457‐9185
MOORE, MARY K      4630 ROSEVELT AVE NE                                                                 CANTON              OH 44705‐2953
MOORE, MARY K      1404 KERR LAB RESEARCH DR                                                            ADA                 OK 74820‐9794
MOORE, MARY L      888 S DIAMOND MILL RD                                                                NEW LEBANON         OH 45345‐9150
MOORE, MARY L      5380 NORTHWOOD RD                                                                    GRAND BLANC         MI 48439‐3435
MOORE, MARY L      335 KENILWORTH AVE                                                                   TOLEDO              OH 43610‐1457
MOORE, MARY L      726 CHARLES ST                                                                       YPSILANTI           MI 48198‐3004
MOORE, MARY M      PO BOX 884                                                                           HARDIN              TX 77561
MOORE, MARY N      25542 HUNT CLUB BLVD                                                                 FARMINGTON HILLS    MI 48335‐1148
MOORE, MARY O      1826 HIDDEN LAKE TRL                                                                 ORTONVILLE          MI 48462‐9174
MOORE, MARY P      6303 HERITAGE POINT                                                                  AFTON               OK 74331
MOORE, MARY R      6883 MS HIGHWAY 9                                                                    WALTHALL            MS 39771‐5521
MOORE, MARY SUE    131 E LAKEVIEW                                                                       FLINT               MI 48503‐4152
MOORE, MARY W      74 BROOKHAVEN DR                                                                     TROTWOOD            OH 45426‐3157
MOORE, MARYBELLE   215 WELCOME WAY BLVD E. DR.    APT 201 B                                             INDIANAPOLIS        IN 46214‐4921
MOORE, MATTIE      1428 ANNESLY                                                                         SAGINAW             MI 48601
MOORE, MATTIE      420 BIRCH ST                                                                         SAGINAW             MI 48601‐3201
MOORE, MATTIE      8740 KERCHEVAL ST                                                                    DETROIT             MI 48214‐2841
MOORE, MATTIE      5658 LILIAN AVE                                                                      SAINT LOUIS         MO 63120‐2329
MOORE, MATTIE M    350 OTT DR                                                                           CLINTON             OH 44216‐9411
MOORE, MATTIE R    1100 S 2ND ST                                                                        WILLIAMSBURG        KY 40769
MOORE, MAUDE A     100 COLONIAL CIR                                                                     CLANTON             AL 35045‐8397
MOORE, MAUREEN L   1170 SUMMIT POINT LN                                                                 SNELLVILLE          GA 30078‐3567
MOORE, MAUREEN P   5981 NTH 24TH ST.                                                                    KALAMAZOO           MI 49004
MOORE, MAX B       3090 BEECHTREE LN                                                                    FLUSHING            MI 48433‐1941
MOORE, MAXINE H    147 KENCREST DR                                                                      ROCHESTER           NY 14606‐5709
MOORE, MAYME R     2898 OTSEGO RD                                                                       WATERFORD           MI 48328‐3248
MOORE, MAYME R     2898 OTSEGO ROAD                                                                     WATERFORD           MI 48328‐3248
MOORE, MAYNARD L   4767 E. 450 N.                                                                       DANVILLE            IN 46122
MOORE, MELBA       300 AUTUMN RIDGE DR APT 205                                                          HERCULANEUM         MO 63048‐1577
MOORE, MELBA       300 AUTUMN RIDGE DR            # 205                                                 HERCULANEUM         MO 63048
MOORE, MELISSA A   495 MCDONALD AVE                                                                     MC DONALD           OH 44437‐1557
MOORE, MELVIN L    20276 BEAVERLAND ST                                                                  DETROIT             MI 48219‐1169
MOORE, MELVIN P    707 213TH ST                                                                         PASADENA            MD 21122‐1443
MOORE, MELVIN R    570 COUNTY ROAD 23                                                                   BISMARCK            MO 63624‐7003
MOORE, MELVIN R    RR 2 BOX 65                                                                          BISMARK             MO 63624‐9201
MOORE, MERVIN A    33212 ELDER RD                                                                       SUNRISE BEACH       MO 65079‐2019
MOORE, MICHAEL A   45216 ROBSON RD                                                                      BELLEVILLE          MI 48111
MOORE, MICHAEL A   1019 S 74TH TERRACE                                                                  KANSAS CITY         KS 66111
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Name                   Address1                         Address2                 Address3    Address4            City             State Zip
MOORE, MICHAEL B       12220 W 64TH TER                                                                          SHAWNEE           KS 66216‐2716
MOORE, MICHAEL D       5496 E STANLEY RD                                                                         FLINT             MI 48506‐1107
MOORE, MICHAEL D       832 RUSTIC RD                                                                             ANDERSON          IN 46013‐1544
MOORE, MICHAEL E       6155 124TH AVE                                                                            FENNVILLE         MI 49408‐8436
MOORE, MICHAEL E.      6155 124TH AVENUE                                                                         FENNVILLE         MI 49408‐8436
MOORE, MICHAEL G       17 FRAZER DR                                                                              MIDDLETOWN        OH 45042‐3974
MOORE, MICHAEL J       1109 HARBOR CV                                                                            BAY CITY          MI 48706‐3994
MOORE, MICHAEL J       2103 W GERMAN RD                                                                          BAY CITY          MI 48708‐9646
MOORE, MICHAEL J       BREMTHALER STR. 39                                                    WIESBADEN GERMANY
                                                                                             65207
MOORE, MICHAEL K       801 COUNTRYSIDE DR                                                                        OSSIAN           IN   46777‐9390
MOORE, MICHAEL L       4094 WILLARD RD                                                                           BIRCH RUN        MI   48415‐8711
MOORE, MICHAEL L       6810 TURNBERRY ISLE CT                                                                    LAKEWOOD RANCH   FL   34202‐2563
MOORE, MICHAEL LYNN    3009 COLUMBUS AVE                                                                         ANDERSON         IN   46016‐5439
MOORE, MICHAEL M       387 N JANESVILLE ST                                                                       MILTON           WI   53563‐1308
MOORE, MICHAEL M       1088 GREYSTONE COVE DR                                                                    BIRMINGHAM       AL   35242‐7043
MOORE, MICHAEL O       9027 AKRON RD                                                                             AKRON            NY   14001‐9028
MOORE, MICHAEL P       2512 PALESTA DR                                                                           TRINITY          FL   34655‐5156
MOORE, MICHAEL R       PO BOX 2483                                                                               RIDGELAND        MS   39158‐2483
MOORE, MICHAEL R       80 RUSHFORD HOLLOW DR                                                                     CHEEKTOWAGA      NY   14227‐2388
MOORE, MICHAEL T       PO BOX 531453                                                                             LIVONIA          MI   48153‐1453
MOORE, MICHAEL W       12555 CHURCH ST APT 6A                                                                    BIRCH RUN        MI   48415‐8707
MOORE, MICHAEL W
MOORE, MICHAEL W       6817 FELLRATH ST                                                                          TAYLOR           MI   48180‐1503
MOORE, MICHAEL W       PO BOX 261                                                                                NEW LOTHROP      MI   48460‐0261
MOORE, MICHAEL WAYNE   PO BOX 261                                                                                NEW LOTHROP      MI   48460‐0261
MOORE, MICHAELE J      10 ORCHARD LN                                                                             MONMOUTH         ME   04259‐7148
MOORE, MICHELE B       9127 WHITE OAKS CIR                                                                       BRECKSVILLE      OH   44141‐1654
MOORE, MICHELLE        2386 N 600 E                                                                              KOKOMO           IN   46901‐9328
MOORE, MICHELLE M      54763 PINE ST                                                                             NEW BALTIMORE    MI   48047‐5553
MOORE, MICHELLE S      1556 MEINERSHAGEN RD                                                                      FORISTELL        MO   63348
MOORE, MILDRED         8050 N HICKORY ST APT 1422                                                                KANSAS CITY      MO   64118‐8315
MOORE, MILDRED C       3113 MICHAEL LN                                                                           ANDERSON         IN   46011‐2008
MOORE, MILDRED D       1935 HOUSTON RD                                                                           BOLTON           MS   39041‐9387
MOORE, MILDRED E       APT 301                          3375 NORTH LINDEN ROAD                                   FLINT            MI   48504‐5728
MOORE, MILDRED E       3375 N LINDEN RD                 APT 301                                                  FLINT            MI   48504‐5729
MOORE, MILDRED F       5720 BOLTON BAY WAY                                                                       LAS VEGAS        NV   89149‐5163
MOORE, MILDRED J       1183 BOURNEMOUTH CT                                                                       CENTERVILLE      OH   45459‐2647
MOORE, MILDRED L       4411 GRASSY POINT BOULEVARD                                                               PT CHARLOTTE     FL   33952‐9180
MOORE, MILDRED R.      16576 CRUSE                                                                               DETROIT          MI   48235‐4003
MOORE, MILTON R        3011 WINCHESTER PIKE                                                                      COLUMBUS         OH   43232‐5554
MOORE, MINNIE R        4038 ROCHDALE DR                                                                          FLINT            MI   48504‐1132
MOORE, MODEAN          4060 E 144TH ST                                                                           CLEVELAND        OH   44128‐1863
MOORE, MOLLIE C        1346 SWAN POND CIRCLE                                                                     HARRIMAN         TN   37748‐5107
MOORE, MOLLY           LOT 219                          100 HAMPTON ROAD                                         CLEARWATER       FL   33759‐3965
MOORE, MONIQUE Y       12634 DUCHESS ST                                                                          DETROIT          MI   48224‐1086
MOORE, MORRIS          1918 N ROUTIERS AVE                                                                       INDIANAPOLIS     IN   46219‐1953
MOORE, MORRIS L        3119 HATHERLY AVE                                                                         FLINT            MI   48504‐4312
MOORE, MORRIS L        1115 BIRCH ST                                                                             MAUMEE           OH   43537‐3030
MOORE, MORRIS LEE      1115 BIRCH ST                                                                             MAUMEE           OH   43537‐3030
MOORE, MYRTHEL L       4003 KURTIS CT                                                                            KOKOMO           IN   46902‐4400
MOORE, MYRTIST C       4604 VAN LEER CT                                                                          NOLENSVILLE      TN   37135‐7416
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MOORE, MYRTIST CAROLYN   4604 VAN LEER CT                                                                              NOLENSVILLE      TN 37135‐7416
MOORE, MYRTLANN M        733 GARY DR                                                                                   HUBBARD          OH 44425‐1232
MOORE, MYRTLANN M        733 GARY DR.                                                                                  HUBBARD          OH 44425‐1232
MOORE, NANCY             867 BRISTOL DR                                                                                VANDALIA         OH 45377‐2801
MOORE, NANCY E           8911 PEMBROKE                                                                                 DETROIT          MI 48221‐1128
MOORE, NANCY F           1337 S 90TH STREET                                                                            WEST ALLIS       WI 53214‐2842
MOORE, NANCY F           1337 S 90TH ST                                                                                WEST ALLIS       WI 53214‐2842
MOORE, NANCY L           180 HUNTINGTON DR NW                                                                          WARREN           OH 44481
MOORE, NAOMA             13619 HARTEL RD                                                                               GRAND LEDGE      MI 48837‐9301
MOORE, NAOMI M           11 SPORTSMAN LN                                                                               MILTON           KY 40045‐7104
MOORE, NAPOLEON          1329 BELLCREEK DR                                                                             FLINT            MI 48505‐2542
MOORE, NATHANIEL         6660 MABLETON PKWY SE APT 2005                                                                MABLETON         GA 30126
MOORE, NATHANIEL         11627 ROSEMONT AVE                                                                            DETROIT          MI 48228‐1132
MOORE, NATHANIEL         260 SOUTH TRIMBLE ROAD                                                                        MANSFIELD        OH 44906‐2921
MOORE, NEDRA H           9313 DOGWOOD TRL                                                                              HAUGHTON         LA 71037‐9303
MOORE, NELLIE A          4610 S RACE ST                                                                                MARION           IN 46953‐5334
MOORE, NELLIE G          1757 BALSAM DR SW                                                                             SUPPLY           NC 28462‐3001
MOORE, NELLIE G          1757 BALSAM DR. SW                                                                            SUPPLY           NC 28462‐3001
MOORE, NELLIE J          1200 NEWNAN CROSSING BLVD        APT 805                                                      NEWNAN           GA 30265‐1567
MOORE, NELLIE J          APT 805                          1200 NEWNAN CROSSING BLVD EAST                               NEWNAN           GA 30265‐1567

MOORE, NELSON A          1750 DOTSONVILLE RD                                                                           CLARKSVILLE     TN   37042‐6914
MOORE, NELSON J          8227 E KILAREA AVE                                                                            MESA            AZ   85209‐5121
MOORE, NEVA K            6955 LOWERY LN                                                                                N RICHLND HLS   TX   76180‐3531
MOORE, NICHOLLE C        713 MARCY AVE                                                                                 OXON HILL       MD   20745‐4501
MOORE, NICOLE L          1402 EARLMOOR BLVD                                                                            FLINT           MI   48506‐3953
MOORE, NICOLE L          2206 CHARTER OAKS DR                                                                          DAVISON         MI   48423‐2556
MOORE, NICOLE M          9719 MINTWOOD RD                                                                              CENTERVILLE     OH   45458‐5121
MOORE, NIKKI             512 27TH AVE SW                                                                               CEDAR RAPIDS    IA   52404‐4016
MOORE, NIKKI             FOREMOST INS                     PO BOX 2739                                                  GRAND RAPIDS    MI   49501‐2739
MOORE, NITA C            3080 LEATHERWOOD RD                                                                           BEDFORD         IN   47421‐8771
MOORE, NOLAN
MOORE, NOLAND R          1520 COUNTRY LN. RD.                                                                          MILLPORT        AL   35576
MOORE, NORA T            4192 29TH ST                                                                                  DETROIT         MI   48210‐2602
MOORE, NOREEN J          2221 GRASS LAKE AVE LOT 213                                                                   LAKE            MI   48632‐8519
MOORE, NORETTA M         9919 HICKORY XING                                                                             DALLAS          TX   75243‐4617
MOORE, NORMA F           167 EDITH ST APT 205                                                                          PETALUMA        CA   94952‐3184
MOORE, NORMA J           434 W ASH ST                                                                                  JAMESTOWN       IN   46147‐9072
MOORE, NORMA J           2401 MOCK ROAD RT #7                                                                          LEXINGTON       OH   44904‐9306
MOORE, NORMA J           434 W. ASH ST.                                                                                JAMESTOWN       IN   46147‐9072
MOORE, NORMA J           881 S FULS RD                                                                                 N LEBANON       OH   45345‐9115
MOORE, NORMA J           881 FULS RD                                                                                   NEW LEBANON     OH   45345‐9115
MOORE, NORMA L           305 SOUTHERBY DR                                                                              GARNER          NC   27529‐4982
MOORE, NORMAN E          6490 E MOUNT MORRIS RD                                                                        MOUNT MORRIS    MI   48458‐9731
MOORE, NORMAN H          810 CARRIAGE LN                                                                               TRENTON         OH   45067‐1198
MOORE, NORMAN L          151 ROCKY TOP LN                                                                              WAYNESBORO      TN   38485‐5825
MOORE, ODELL             844 BOUTELL DR                                                                                GRAND BLANC     MI   48439‐1943
MOORE, OLEN D            352 FOUNTAIN AVE                                                                              DAYTON          OH   45405‐3932
MOORE, OLEN D            7891 HIGHWAY 131                                                                              ODESSA          MO   64076‐7308
MOORE, OLEN T            1544 ACADEMY PL                                                                               DAYTON          OH   45406‐4718
MOORE, OLEN TYRONE       1544 ACADEMY PL                                                                               DAYTON          OH   45406‐4718
MOORE, OLIVIA D          15200 SILVER PKWY APT 104                                                                     FENTON          MI   48430‐3482
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Name                  Address1                        Address2                        Address3   Address4         City             State Zip
MOORE, OLIVIA M       1807 DEXTER STREET                                                                          AUSTIN            TX 78704‐2106
MOORE, OLIVIA M       3001 DANCY ST                                                                               AUSTIN            TX 78722‐2214
MOORE, OLLIE M        ROUTE 4 BOX 92                                                                              LINDEN            TN 37096
MOORE, OMA L          350 CROWN POINT EST                                                                         LONDON            KY 40741‐7531
MOORE, OPAL P         PO BOX 43                                                                                   WOLF LAKE          IL 62998‐0043
MOORE, ORA B          2318 MORTON ST                                                                              ANDERSON          IN 46016‐5069
MOORE, OSCAR B        10 E 138TH ST APT 11G                                                                       NEW YORK          NY 10037‐2036
MOORE, OSCAR O        405 NEVADA AVE NW                                                                           WARREN            OH 44485‐2626
MOORE, OTHA D         716 CHANDLER DR                                                                             TROTWOOD          OH 45426‐2510
MOORE, OTTO B         8602 BUCKINGHAM LN APT 8                                                                    KANSAS CITY       MO 64138
MOORE, OWEN S         133 GREENFIELD DR                                                                           IONIA             MI 48846‐2109
MOORE, PAMELA K       5419 N WAYNE AVE                                                                            KANSAS CITY       MO 64118‐5755
MOORE, PAMELA S       8356 PITSBURG LAURA RD                                                                      ARCANUM           OH 45304‐9491
MOORE, PAMELA S       1116 E GERHART ST                                                                           KOKOMO            IN 46901‐1529
MOORE, PATRICIA A     1687 CIMMARON LN                                                                            DEFIANCE          OH 43512‐4010
MOORE, PATRICIA A     191 CHEROKEE RD                                                                             PONTIAC           MI 48341‐2000
MOORE, PATRICIA A     RR L BOX 106‐26                                                                             NORMAN            OK 73072
MOORE, PATRICIA A     1532 ANDOVER BLVD                                                                           HOWELL            MI 48843‐7125
MOORE, PATRICIA A     3492 HALSTON RD                                                                             SARDIS            MS 38666
MOORE, PATRICIA A     1516 WATERFORD PKWY                                                                         ST. JOHNS         MI 48879‐9623
MOORE, PATRICIA A     3492 HOLSTON RD                 P.O BOX 69                                                  SARDIS            MS 38666‐3369
MOORE, PATRICIA ANN   1687 CIMMARON LN                                                                            DEFIANCE          OH 43512‐4010
MOORE, PATRICIA E     10536 MONARCH DR                                                                            SAINT LOUIS       MO 63136‐5662
MOORE, PATRICIA I     16132 HARTWELL ST                                                                           DETROIT           MI 48235‐4236
MOORE, PATRICIA I     1933 BURR BLVD                                                                              FLINT             MI 48503‐4243
MOORE, PATRICIA L     5571 LAIRD LAKE RD                                                                          HALE              MI 48739‐9166
MOORE, PATRICIA M     217 ROGERS AVE                                                                              REHOBOTH BEACH    DE 19971‐1912
MOORE, PATRICIA M     217 RODGERS AVE                                                                             REHOBETH BEACH    DE 19971
MOORE, PATRICIA R     5130 KING RD                                                                                CHINA             MI 48054‐4413
MOORE, PATRICK        KROHN & MOSS ‐ FL               5975 W SUNRISE BLVD STE 215                                 PLANTATION        FL 33313‐6813
MOORE, PATRICK D      16174 BURT RD                                                                               DETROIT           MI 48219‐3946
MOORE, PATRICK DEAN   16174 BURT RD                                                                               DETROIT           MI 48219‐3946
MOORE, PATRICK G      305 S VAL VISTA DR APT 134                                                                  MESA              AZ 85204
MOORE, PATRICK H      PO BOX 176                                                                                  BRIDGEPORT        MI 48722‐0176
MOORE, PATRICK J      PO BOX 1122                                                                                 GRIFTON           NC 28530‐1122
MOORE, PATRICK L      44006 N COUNTY ROAD BO W                                                                    CONNERSVILLE      IN 47331‐9756
MOORE, PATSY          301 CROCKER RD                                                                              CHOUDRANT         LA 71227‐3735
MOORE, PATSY A        5305 NBU                                                                                    PRAGUE            OK 74864‐3024
MOORE, PATSY J        12436 NEWTON RD                                                                             CROSSVILLE        TN 38572‐1283
MOORE, PATSY R        16629 GRILLO DR                                                                             CLINTON TWP       MI 48038‐4012
MOORE, PATSY S        BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS            TX 75219
MOORE, PATSY S        DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                             MONROE            LA 71201‐5622
                      GARNER LLP
MOORE, PATSY S        443 ROSS RD                                                                                 WINNSBORO        LA   71295‐7668
MOORE, PATSY S        BARON & BUDD PC                 9015 BLUEBONNET BLVD                                        BATON ROUGE      LA   70810‐2812
MOORE, PATSY S        301 CROCKER RD                                                                              CHOUDRANT        LA   71227‐3735
MOORE, PATTY J        421 I ST                                                                                    BEDFORD          IN   47421‐2215
MOORE, PAUL A         55 BANE AVE                                                                                 NEWTON FALLS     OH   44444‐1602
MOORE, PAUL A         6326 WOLFFORK RD                                                                            RABUN GAP        GA   30568‐2616
MOORE, PAUL D         9 PETTINE ST                                                                                COVENTRY         RI   02816
MOORE, PAUL D         1964 IDAHO RD                                                                               WILLIAMSBURG     KS   66095‐8087
MOORE, PAUL E         1183 BOURNEMOUTH CT                                                                         CENTERVILLE      OH   45459‐2647
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Name                 Address1                              Address2                   Address3   Address4         City                 State Zip
MOORE, PAUL E        81 ASHLEY DRIVE                                                                              GREENSBURG            PA 15601‐9173
MOORE, PAUL E        44604 ALBERT DR                                                                              PLYMOUTH              MI 48170‐3905
MOORE, PAUL J        PO BOX 125                                                                                   MIDDLETOWN            IN 47356‐0125
MOORE, PAUL K        387 ARGYLE AVE                                                                               YOUNGSTOWN            OH 44512‐2321
MOORE, PAUL L        5493 GENESEE ST                                                                              LANCASTER             NY 14086‐9744
MOORE, PAUL M        10298 HENDERSON RD                                                                           CORUNNA               MI 48817‐9790
MOORE, PAUL T        7812 ACORN CT                                                                                BIRCH RUN             MI 48415‐9247
MOORE, PAUL W        434 MOORE RD                                                                                 BRANTLEY              AL 36009‐5143
MOORE, PAULA         KAHN & ASSOCIATES                     55 PUBLIC SQ STE 650                                   CLEVELAND             OH 44113‐1909
MOORE, PAULA J       532 W BRIARCLIFF RD                                                                          BOLINGBROOK            IL 60440‐2664
MOORE, PAULINE M     27050 CEDAR RD                        APT 104‐4                                              BEACHWOOD             OH 44122
MOORE, PAULINE R     7278 REDRIFF TER                                                                             WEST BLOOMFIELD       MI 48323‐1057
MOORE, PAULINE T     1998 FRISSELL AVE                     C/O CRAIG STEPP                                        APEX                  NC 27502‐9065
MOORE, PAYGIE G      PO BOX 371                                                                                   FLUSHING              MI 48433
MOORE, PAYGIE G      7103 PINEHURST LN                                                                            GRAND BLANC           MI 48439‐2617
MOORE, PEARL         HC 88 BOX 935                                                                                TOMAHAWK              KY 41262‐9703
MOORE, PEARL         10904 GAYWOOD DR                                                                             HAGERSTOWN            MD 21740‐7712
MOORE, PEARLIE M     MID‐MICHIGAN GUARDIANSHIP SERVICES,   615 NORTH CAPITOL AVENUE                               LANSING               MI 48933
                     INC.
MOORE, PEARLIE M     34355 HARDY                                                                                  CLINTON TOWNSHIP     MI   48035‐6022
MOORE, PEARLIE M     34355 HARDY ST                                                                               CLINTON TOWNSHIP     MI   48035‐6022
MOORE, PEARLINE      1879 COVENTRY DR                                                                             MEMPHIS              TN   38127‐3305
MOORE, PEGGY A       64 ROSE BLVD                                                                                 BELLEVILLE           MI   48111‐4939
MOORE, PEGGY J       PO BOX 114                                                                                   JEFFERSON            GA   30549‐0114
MOORE, PEGGY L       PO BOX 236                                                                                   PEVELY               MO   63070‐0236
MOORE, PENELOPE M    2853 HOLMES AVE                                                                              DAYTON               OH   45406‐4329
MOORE, PENNY L       2471 HESS RD                                                                                 APPLETON             NY   14008‐9653
MOORE, PERRY L       516 MOUND CT                                                                                 LEBANON              OH   45036‐1950
MOORE, PHILIP G      PO BOX 653                                                                                   VERONA               OH   45378‐0653
MOORE, PHILIP L      PO BOX 144                                                                                   PHILO                OH   43771‐0144
MOORE, PHILIP W      14 TRIMBLESTONE LN                                                                           HILTON HEAD ISLAND   SC   29928‐6100
MOORE, PHILLIP A     PO BOX 110                                                                                   SPRINGPORT           IN   47386‐0110
MOORE, PHILLIP G     10299 HENDERSON RD                                                                           CORUNNA              MI   48817‐9790
MOORE, PHILLIP G     PO BOX 1328                                                                                  SPRING HILL          TN   37174‐1328
MOORE, PHILLIP J     10400 HENDERSON RD                                                                           CORUNNA              MI   48817‐9791
MOORE, PHILLIP L     127 CRYSTAL DR                                                                               DOYLINE              LA   71023‐3293
MOORE, PHILLIP L     PO BOX 249                                                                                   TAYLORSVILLE         GA   30178‐0249
MOORE, PHILLIS V     1210 BURDSAL PKWY                                                                            INDIANAPOLIS         IN   46208‐5406
MOORE, PHYLISS M     PO BOX 3094                                                                                  WARREN               OH   44485‐0094
MOORE, PHYLLIS ANN   2317 WHEELER ST                                                                              INDIANAPOLIS         IN   46218‐3707
MOORE, PHYLLIS H     2828 E STATE ROAD 236 236                                                                    ANDERSON             IN   46017
MOORE, PHYLLIS H     2828 E ST RD 236                                                                             ANDERSON             IN   46017‐9757
MOORE, PHYLLIS J     9477 S VASSAR RD                                                                             MILLINGTON           MI   48746‐9735
MOORE, PHYLLIS J     9477 VASSAR RD                                                                               MILLINGTON           MI   48746‐9735
MOORE, PHYLLIS R     PO BOX 405                                                                                   ARCADIA              IN   46030‐0405
MOORE, PIERRE L      5001 BALDWIN HILLS DRIVE                                                                     ENGLEWOOD            OH   45322‐3511
MOORE, PINELL        1330 FAIRVIEW AVE                                                                            SAINT LOUIS          MO   63130‐1513
MOORE, QUENTON       4617 MERCER CT                                                                               FORT WAYNE           IN   46816‐2283
MOORE, QUINCEY E     2325 LAKEVIEW AVE                                                                            DAYTON               OH   45408
MOORE, QUINCY        1714 S ARAGO ST                                                                              PEORIA               IL   61605‐3115
MOORE, QUINCY H      2542 RHAPSODY LN                                                                             FLORISSANT           MO   63031‐1923
MOORE, R C INC       PO BOX 1210                                                                                  SCARBOROUGH          ME   04070‐1210
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Name                    Address1                          Address2                      Address3   Address4         City              State Zip
MOORE, R J              4741 RUSTIC HILL DR                                                                         LAKE               MI 48632‐9630
MOORE, R N              17003 TIREMAN                                                                               DETROIT            MI 48228‐3555
MOORE, RACHAEL H        727 CHERRY LANE DRIVE                                                                       LAUREL             MS 39440‐1653
MOORE, RACHEL I         1326 E YALE AVE                                                                             FLINT              MI 48505‐1753
MOORE, RACQUELSA        536 N 8TH ST                                                                                GRIFFIN            GA 30223‐2504
MOORE, RALPH            340 MILLVILLE OXFORD RD                                                                     HAMILTON           OH 45013‐4434
MOORE, RALPH B          34620 HIVELEY ST                                                                            WESTLAND           MI 48186‐4323
MOORE, RALPH D          14 W FUNDERBURG RD                                                                          FAIRBORN           OH 45324‐2816
MOORE, RALPH E          2420 JUDY CONN DR                                                                           LAPEER             MI 48446‐8332
MOORE, RALPH H          204 RIGHT CURVE                                                                             JACKSONVILLE       AR 72076
MOORE, RALPH O          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
MOORE, RALPH R          901 HOWARD LN                                                                               VANDALIA          OH   45377‐1872
MOORE, RALPH W          PO BOX 972                                                                                  DAWSONVILLE       GA   30534‐0020
MOORE, RANDALL A        12947 SPENCER RD                                                                            HEMLOCK           MI   48626‐9725
MOORE, RANDALL D        4216 S STATE RD                                                                             DAVISON           MI   48423‐8602
MOORE, RANDALL D        530 SOUTH HIGHLAND DRIVE                                                                    MUSTANG           OK   73064‐3310
MOORE, RANDALL D        P O BOX 124                                                                                 MORGANTOWN        KY   42261‐0124
MOORE, RANDALL V        22747 ROAD M # 12                                                                           CLOVERDALE        OH   45827
MOORE, RANDALL VERNON   22747 ROAD N # 12                                                                           CLOVERDALE        OH   45827
MOORE, RANDOLPH         165 S OPDYKE RD LOT 137                                                                     AUBURN HILLS      MI   48326‐3169
MOORE, RANDY            498 CEDAR GLEN DR                                                                           AVON              IN   46123‐7926
MOORE, RANDY C          4560 BELLE RIVER RD                                                                         ATTICA            MI   48412‐9724
MOORE, RANDY G          5 CHERRY STREET                                                                             PERRY             NY   14530‐1002
MOORE, RANDY J          4151 LEVALLEY RD                                                                            COLUMBIAVILLE     MI   48421‐9311
MOORE, RANDY P          7158 S HEMLOCK LN                                                                           MOUNT MORRIS      MI   48458‐9486
MOORE, RANDY P          5108 N WEIR DR                                                                              MUNCIE            IN   47304‐6138
MOORE, RANDY PAUL       7158 S HEMLOCK LN                                                                           MOUNT MORRIS      MI   48458‐9486
MOORE, RANSOM L         185 GARDNER LN                                                                              GREENVILLE        KY   42345‐3693
MOORE, RAY              238 CHEROKEE RD                                                                             LUCAS             KY   42156‐9352
MOORE, RAY F            7226 N HEARTHSTONE CT                                                                       HOUSTON           TX   77095
MOORE, RAY M            235 FRANKLIN ST                                                                             MILFORD           MI   48381‐2406
MOORE, RAYDELL R        PO BOX 51286                                                                                SPARKS            NV   89435‐1286
MOORE, RAYMOND          1708 PERKINS ST                                                                             LANSING           MI   48912‐2516
MOORE, RAYMOND B        23053 WESTCHESTER BLVD APT G203                                                             PUNTA GORDA       FL   33980‐5439
MOORE, RAYMOND C        1555 ARIZONA AVE                                                                            MILPITAS          CA   95035‐3208
MOORE, RAYMOND D        11315 SPRUCE DR                                                                             CHESTERLAND       OH   44026‐1452
MOORE, RAYMOND E        6206 NORTHWOOD DR                                                                           BALTIMORE         MD   21212‐2801
MOORE, RAYMOND L        45 S 700 W                                                                                  ANDERSON          IN   46011‐9401
MOORE, RAYMOND P        52320 BRIGGS CT                                                                             SHELBY TOWNSHIP   MI   48316‐3318
MOORE, RAYMOND S        10405 MCELROY DR                                                                            KEITHVILLE        LA   71047‐8910
MOORE, RAYMOND T        20 BLUEJAY CIR                                                                              STOUGHTON         MA   02072‐3995
MOORE, REBECCA
MOORE, REBECCA A        6282 DALE RD                                                                                NEWFANE           NY   14108‐9716
MOORE, REBECCA B        4029 MYSTIC PL                                                                              ANDERSON          IN   46011‐9048
MOORE, REBECCA F        930 S CHERRY ST                                                                             OTTAWA            KS   66067‐3116
MOORE, REBECCA L        PO BOX 1896                                                                                 MAGGIE VALLEY     NC   28751
MOORE, REBECCA S        4125 170TH AVE 222                                                                          MORLEY            MI   49336
MOORE, REGINALD D       4899 THORNEHURST PL                                                                         SAGINAW           MI   48603‐3813
MOORE, RELETA           1424 CHOCTAW LN                                                                             EDMOND            OK   73013‐1631
MOORE, RENEE            186 FOWLER ST                                                                               CORTLAND          OH   44410‐1345
MOORE, RENEE            6200 S SAINT LAWRENCE AVE                                                                   CHICAGO           IL   60637‐3333
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Name                   Address1                         Address2            Address3         Address4         City               State Zip
MOORE, RENEE A         13733 HEATHERWOOD DR                                                                   STERLING HEIGHTS    MI 48313‐4329
MOORE, RENEE L         31307 NELSON DR                                                                        WARREN              MI 48088‐7033
MOORE, REX A           2142 EWERS RD                                                                          DANSVILLE           MI 48819‐9747
MOORE, REX B           2221 GRASS LAKE AVE LOT 213                                                            LAKE                MI 48632‐8519
MOORE, RHODA
MOORE, RHONDA S        PO BOX 3503                                                                            EUREKA             CA   95502‐3503
MOORE, RICHARD         12 GREELEY CT                                                                          NEW MONMOUTH       NJ   07748‐1654
MOORE, RICHARD         621 E CENTRAL AVE                                                                      VAN WERT           OH   45891‐1840
MOORE, RICHARD A       12218 SEYMOUR RD                                                                       MONTROSE           MI   48457‐9784
MOORE, RICHARD A       12758 PROMENADE STREET                                                                 DETROIT            MI   48213‐1418
MOORE, RICHARD A       5685 PONTIAC LAKE RD APT 11                                                            WATERFORD          MI   48327‐2263
MOORE, RICHARD A       12997 CHARLOTTE HWY                                                                    SUNFIELD           MI   48890‐9778
MOORE, RICHARD A       3465 FOWLER STREET                                                                     CORTLAND           OH   44410‐9702
MOORE, RICHARD A       3465 FOWLER ST                                                                         CORTLAND           OH   44410‐9702
MOORE, RICHARD ALAN    12218 SEYMOUR RD                                                                       MONTROSE           MI   48457‐9784
MOORE, RICHARD ALLEN   2685 PONTIAC LAKE RD APT 11                                                            WATERFORD          MI   48327‐2263
MOORE, RICHARD B       4909 DAVISON RD                                                                        LAPEER             MI   48446‐3507
MOORE, RICHARD C       10188 W EF AVE                                                                         KALAMAZOO          MI   49009‐8829
MOORE, RICHARD C       1900 W WARDLOW RD                                                                      HIGHLAND           MI   48357‐3336
MOORE, RICHARD D       6282 DALE RD                                                                           NEWFANE            NY   14108‐9716
MOORE, RICHARD D       123 CHESTERFIELD DR                                                                    OSWEGO             IL   60543‐8946
MOORE, RICHARD D       725 MAYNARD LN                                                                         COLUMBIA           TN   38401‐8953
MOORE, RICHARD D       15545 LUCENA CT                                                                        SOUTH BELOIT       IL   61080‐2093
MOORE, RICHARD E       1565 130TH AVE                                                                         HOPKINS            MI   49328‐9524
MOORE, RICHARD E       3320 47TH AVE E                                                                        BRADENTON          FL   34203‐3947
MOORE, RICHARD J       15646 W CYPRESS POINT DR                                                               SURPRISE           AZ   85374‐2070
MOORE, RICHARD J       7405 LITTLE ROCK LN                                                                    FORT WORTH         TX   76120‐2445
MOORE, RICHARD J       4944 HOLLY MOUNTAIN RD                                                                 CLINTON            AR   72031‐5459
MOORE, RICHARD J       6252 SAN VITO DR                                                                       OTTER LAKE         MI   48464
MOORE, RICHARD K       29229 RED MAPLE DR                                                                     CHESTERFIELD       MI   48051‐2751
MOORE, RICHARD L       2253 W LAKE RD                                                                         CLIO               MI   48420‐8838
MOORE, RICHARD L       805 W MIDLAND RD                                                                       AUBURN             MI   48611‐9200
MOORE, RICHARD L       1023 MALLARDS WAY                                                                      O FALLON           MO   63368‐9662
MOORE, RICHARD L       8410 COUNTY ROAD 20                                                                    LEXINGTON          OH   44904‐9613
MOORE, RICHARD L       7574 JONQUIL CT                                                                        BRIGHTON           MI   48116‐6206
MOORE, RICHARD L       17225 ELIZABETH DR                                                                     HOLLEY             NY   14470‐9717
MOORE, RICHARD L       13401 EAST 600 S                                                                       LOSANTVILLE        IN   47354
MOORE, RICHARD L       1398 PARK SHORE CIR APT 3                                                              FORT MYERS         FL   33901‐3901
MOORE, RICHARD L.
MOORE, RICHARD LEROY   7574 JONQUIL CT                                                                        BRIGHTON           MI   48116‐6206
MOORE, RICHARD M       4434 E HILL RD                                                                         GRAND BLANC        MI   48439‐7635
MOORE, RICHARD P       52117 BELLE ARBOR                                                                      SHELBY TOWNSHIP    MI   48316‐2902
MOORE, RICHARD P       3980 VALENTINE RD                                                                      WHITMORE LAKE      MI   48189‐9615
MOORE, RICHARD R       10312 HIGHWAY 28 E                                                                     PINEVILLE          LA   71360‐9108
MOORE, RICHARD T       4848 S BYRON RD                                                                        DURAND             MI   48429‐1809
MOORE, RICKEY B        3807 W OLIVIA ST                                                                       SPRINGFIELD        MO   65810‐4720
MOORE, RICKY           G3449 W. CARPENTER RD.                                                                 FLINT              MI   48504
MOORE, RICKY           1270 W CASS AVE                                                                        FLINT              MI   48505‐1343
MOORE, RICKY E         302 MEMPHIS ST                                                                         LANSING            MI   48915‐1259
MOORE, RICKY J         43105 RIGGS RD                                                                         BELLEVILLE         MI   48111‐3085
MOORE, RILEY           1661 LYNDALE ROAD                                                                      AURORA             IL   60506‐9110
MOORE, RITA A          PO BOX 84742                                                                           PEARLAND           TX   77584‐0010
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Name                  Address1                        Address2                  Address3   Address4         City                State Zip
MOORE, ROBBE J        30768 LINCOLNSHIRE EAST                                                               BEVERLY HILLS        MI 48025‐4756
MOORE, ROBERT         907 CENTRAL AVE                                                                       TILTON                IL 61833‐7913
MOORE, ROBERT         11685 CHEYENNE ST                                                                     DETROIT              MI 48227‐3774
MOORE, ROBERT A       915 CRICKET COVE DR                                                                   TROY                 MI 48084‐1622
MOORE, ROBERT A       12382 JENNINGS RD                                                                     LINDEN               MI 48451‐9433
MOORE, ROBERT A       7325 BIRCH ST                                                                         TAYLOR               MI 48180‐2313
MOORE, ROBERT ALLAN   7325 BIRCH ST                                                                         TAYLOR               MI 48180‐2313
MOORE, ROBERT B       1013 MCLEAN ST                                                                        DUNEDIN              FL 34698‐3534
MOORE, ROBERT B PHD   4964 PRESTON FOREST DR                                                                BLACKSBURG           VA 24060‐8960
MOORE, ROBERT C       915 BISCHOFF RD                                                                       NEW CARLISLE         OH 45344‐9241
MOORE, ROBERT C       5459 SANDLEWOOD CT                                                                    WATERFORD            MI 48329‐3487
MOORE, ROBERT C       2636 N 157TH ST                                                                       BASEHOR              KS 66007‐9217
MOORE, ROBERT C       4600 HARTFORD PIKE APT 70                                                             AURORA               IN 47001‐9705
MOORE, ROBERT D       4419 WARRINGTON DR                                                                    FLINT                MI 48504‐2074
MOORE, ROBERT D       2017 E FRANCES RD                                                                     CLIO                 MI 48420‐9724
MOORE, ROBERT D       3635 OLD LANSING RD                                                                   LANSING              MI 48917‐4326
MOORE, ROBERT D       21154 SUMMERFIELD DR                                                                  MACOMB               MI 48044‐2925
MOORE, ROBERT D       3612 CLOSE RD                                                                         SPENCER              IN 47460‐7037
MOORE, ROBERT DAVID   4419 WARRINGTON DR                                                                    FLINT                MI 48504‐2074
MOORE, ROBERT E       47 S AURELIUS RD                                                                      MASON                MI 48854‐9504
MOORE, ROBERT E       318 HUNGERFORD ST                                                                     LANSING              MI 48917‐3839
MOORE, ROBERT E       2835 GREYBERRY DR APT 103                                                             WATERFORD            MI 48328‐4410
MOORE, ROBERT E       475 E BROAD ST APT 3D                                                                 ROCHESTER            NY 14607‐3928
MOORE, ROBERT E       1106 RANIKE DR                                                                        ANDERSON             IN 46012‐2740
MOORE, ROBERT E       389 LYNCH AVE                                                                         PONTIAC              MI 48342‐1953
MOORE, ROBERT E       3409 FERNWOOD LN                                                                      SHREVEPORT           LA 71108‐5113
MOORE, ROBERT E       2107 WELLERMAN RD                                                                     WEST MONROE          LA 71291‐7641
MOORE, ROBERT E       29 FAIR ST                                                                            UXBRIDGE             MA 01569‐1511
MOORE, ROBERT E       521 SOUTHWEST                   158TH TERRACE                                         OKLAHOMA CITY        OK 73170
MOORE, ROBERT E       4659 E ESCONDIDO AVE                                                                  MESA                 AZ 85206‐2721
MOORE, ROBERT E       10062 HEMPSTEADE DRIVE                                                                UNION                KY 41091‐9551
MOORE, ROBERT E       86 COUNTRYMAN RD                                                                      MEXICO               NY 13114‐3153
MOORE, ROBERT E       2200 GREYTWIG DR                                                                      KOKOMO               IN 46902‐4518
MOORE, ROBERT E       12348 N 125 W                                                                         ALEXANDRIA           IN 46001‐8528
MOORE, ROBERT E       521 SW 158TH TER                                                                      OKLAHOMA CITY        OK 73170‐7645
MOORE, ROBERT F       9450 SHARP RD                                                                         SWARTZ CREEK         MI 48473‐9139
MOORE, ROBERT F       7611 THRASHER LN                                                                      KALAMAZOO            MI 49009‐3859
MOORE, ROBERT G       456 WOODLAKE BLVD                                                                     TAZEWELL             TN 37879‐6173
MOORE, ROBERT G       23079 KRISTY LN                                                                       SOUTHFIELD           MI 48033‐3912
MOORE, ROBERT GLEN    430 W FOSS AVE                                                                        FLINT                MI 48505‐2006
MOORE, ROBERT H       HC 1 BOX 310                                                                          BOIS BLANC ISLAND    MI 49775‐9809
MOORE, ROBERT ISAAC   SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST           MS 39083‐3007
MOORE, ROBERT J       MANCHEL & ASSOCIATES DONALD F   1515 MARKET ST STE 1300                               PHILADELPHIA         PA 19102‐1929
MOORE, ROBERT J       7383 CADILLAC DR                                                                      LAKE                 MI 48632‐9128
MOORE, ROBERT J       8434 KAW CT                                                                           SHREVEPORT           LA 71107‐9114
MOORE, ROBERT J       11330 TROY RD                                                                         NEW CARLISLE         OH 45344‐9062
MOORE, ROBERT K       9446 W PIERSON RD                                                                     FLUSHING             MI 48433‐9717
MOORE, ROBERT K       15115 RESTWOOD DR                                                                     LINDEN               MI 48451‐8771
MOORE, ROBERT KEVIN   15115 RESTWOOD DR                                                                     LINDEN               MI 48451‐8771
MOORE, ROBERT L       805 E LOWDEN ST                                                                       FORT WORTH           TX 76104‐7226
MOORE, ROBERT L       8 CLARMARC CT                                                                         FRANKENMUTH          MI 48734‐1272
MOORE, ROBERT L       PO BOX 347194                                                                         PARMA                OH 44134‐7194
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Name                 Address1                            Address2                         Address3   Address4         City               State Zip
MOORE, ROBERT M      9040 HARRATT ST APT 22                                                                           WEST HOLLYWOOD      CA 90069‐3815
MOORE, ROBERT M      APT 22                              9040 HARRATT STREET                                          W HOLLYWOOD         CA 90069‐3815
MOORE, ROBERT M      25 S COUNTY ROAD 600 W                                                                           GREENCASTLE         IN 46135‐8036
MOORE, ROBERT M      1440 PEACH TREE AVE                                                                              BANNING             CA 92220‐5476
MOORE, ROBERT M      2300 N MAIN ST                                                                                   BONHAM              TX 75418‐2433
MOORE, ROBERT N      14010 COLDWATER DR                                                                               STERLING HTS        MI 48313‐2824
MOORE, ROBERT P      13125 BIG FOUR RD                                                                                BEAR LAKE           MI 49614‐9548
MOORE, ROBERT R      10370 EVELYN DR                                                                                  CLIO                MI 48420‐7713
MOORE, ROBERT R      201 S SHERIDAN AVE                                                                               INDIANAPOLIS        IN 46219‐7428
MOORE, ROBERT R      5 BIRNAM DR                                                                                      NEW CASTLE          DE 19720‐2326
MOORE, ROBERT R      7917 PAMALANE CT                                                                                 BRIGHTON            MI 48116‐6265
MOORE, ROBERT ROY    10370 EVELYN DR                                                                                  CLIO                MI 48420‐7713
MOORE, ROBERT RYAN   7917 PAMALANE CT                                                                                 BRIGHTON            MI 48116‐6265
MOORE, ROBERT S      2900 N APPERSON WAY TRLR 272                                                                     KOKOMO              IN 46901‐1484
MOORE, ROBERT S      5134 LOUNSBURY DR                                                                                DAYTON              OH 45418‐2043
MOORE, ROBERT S      765 WAKE FOREST RD                                                                               DAYTON              OH 45431‐2882
MOORE, ROBERT T      23 CORAL LN                                                                                      FRANKFORD           DE 19945‐9682
MOORE, ROBERT W      15‐2772 AKULE ST                                                                                 PAHOA               HI 96778‐9620
MOORE, ROBERT W      410 LONGFIELD ST                                                                                 EVANSVILLE          WI 53536‐1239
MOORE, ROBERT W      306 ADAIR AVE                                                                                    COLUMBIA            KY 42728‐1102
MOORE, ROBERT W      13049 LITTLE RICHMOND RD                                                                         BROOKVILLE          OH 45309‐9757
MOORE, ROBERTA R     3764 KIBLER TOOT ROAD                                                                            WARREN              OH 44481‐9107
MOORE, ROBIN L       1089 YORICK PATH                                                                                 WIXOM               MI 48393‐4523
MOORE, ROBIN M       201 N SQUIRREL RD APT 601                                                                        AUBURN HILLS        MI 48326‐4021
MOORE, ROBIN MARIE   201 N SQUIRREL RD APT 601                                                                        AUBURN HILLS        MI 48326‐4021
MOORE, ROCKY L       119 GLENN ST.                                                                                    FLUSHING            MI 48433
MOORE, ROCKY LEE     119 GLEN AVENUE                                                                                  FLUSHING            MI 48433‐9319
MOORE, RODERICK      716 2ND AVE N                                                                                    BESSEMER            AL 35020‐6213
MOORE, RODGER L      806 PLOVER LN                                                                                    CLAYTON             OH 45315‐8756
MOORE, ROGER         SHANNON LAW FIRM                    100 W GALLATIN ST                                            HAZLEHURST          MS 39083‐3007
MOORE, ROGER D       300 TOM AVE 63                                                                                   PONTIAC             MI 48341
MOORE, ROGER D       1731 PRIMROSE ST                                                                                 EAST TAWAS          MI 48730‐9579
MOORE, ROGER DAVE    300 TOM AVE 63                                                                                   PONTIAC             MI 48341
MOORE, ROGER E       2579 WOODY NOLL DR                                                                               PORTAGE             MI 49002‐7666
MOORE, ROGER J       705 CUMBERLAND AVE SE                                                                            LOWELL              MI 49331‐9681
MOORE, ROGER L       9645 FOREST RIDGE DR                                                                             CLARKSTON           MI 48348‐4156
MOORE, ROGER L       PO BOX 226                                                                                       COOL RIDGE          WV 25825‐0226
MOORE, ROGER P       3083 PONDER DR                                                                                   DALLAS              TX 75229‐5829
MOORE, ROGER W       PO BOX 858                                                                                       MACKINAW CITY       MI 49701‐0858
MOORE, ROLLAND B     4583 ELYRIA AVE                                                                                  LORAIN              OH 44055‐2463
MOORE, ROMEALIA D    651 MILLER ST SW                                                                                 WARREN              OH 44485‐4149
MOORE, ROMEALIA D    651 MILLER ST. SW                                                                                WARREN              OH 44485‐4149
MOORE, RONA A        146 HIGHLAND AVE                                                                                 BLOOMFIELD HILLS    MI 48302‐0649
MOORE, RONALD        1652 MANCHESTER WAY                                                                              GLADWIN             MI 48624‐8516
MOORE, RONALD        4355 KEEVENSHORE DR                                                                              FLORISSANT          MO 63034‐3452
MOORE, RONALD        COONEY & CONWAY                     120 NORTH LASALLE STREET, 30TH                               CHICAGO              IL 60602
                                                         FLOOR
MOORE, RONALD        1101 22ND ST                                                                                     BEDFORD             IN   47421‐4823
MOORE, RONALD A      C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                       EDWARDSVILLE        IL   62025
                     ROWLAND PC
MOORE, RONALD A      4400 HULBERTON RD                                                                                HOLLEY             NY 14470‐9022
MOORE, RONALD A      1508 N JONES RD                                                                                  ESSEXVILLE         MI 48732
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Name                    Address1                         Address2                      Address3   Address4         City              State Zip
MOORE, RONALD A         PO BOX 360                                                                                 SANBORN            NY 14132‐0360
MOORE, RONALD B         2020 KITTY HAWK DR                                                                         XENIA              OH 45385‐5375
MOORE, RONALD D         5451 ROBERT ST                                                                             SHELBY TOWNSHIP    MI 48316‐4130
MOORE, RONALD D         1818 WHITTLESEY                  APT. 1                                                    FLINT              MI 48503
MOORE, RONALD D         2049 WEST AVENUE K5                                                                        LANCASTER          CA 93536‐5237
MOORE, RONALD D         7040 CLIPPER DR                                                                            GRAND PRAIRIE      TX 75054‐7225
MOORE, RONALD E         9567 W HAMILTON DR                                                                         LAKEWOOD           CO 80227‐4475
MOORE, RONALD G         124 MEDALLION CIR                                                                          SHREVEPORT         LA 71119‐6308
MOORE, RONALD GREGORY   124 MEDALLION CIR                                                                          SHREVEPORT         LA 71119‐6308
MOORE, RONALD K         625 CEDARLAWN RD                                                                           WATERFORD          MI 48328‐4007
MOORE, RONALD L         608 SW 21ST ST                                                                             MOORE              OK 73160‐5509
MOORE, RONALD L         4304 GRANGE HALL RD                                                                        HOLLY              MI 48442‐1116
MOORE, RONALD L         PO BOX 120                                                                                 SAINT LOUIS        MI 48880‐0120
MOORE, RONALD L         PO BOX 104                                                                                 CHARLESTOWN        MD 21914‐0104
MOORE, RONALD L         565 N KENILWORTH AVE                                                                       LIMA               OH 45805‐1921
MOORE, RONALD L         1503 LAURENTIAN PASS                                                                       FLINT              MI 48532‐2051
MOORE, RONALD L         6192 STATE ROUTE 61 N                                                                      SHELBY             OH 44875‐9575
MOORE, RONALD LYNN      1503 LAURENTIAN PASS                                                                       FLINT              MI 48532‐2051
MOORE, RONALD P         2607W N 500 W                                                                              SHARPSVILLE        IN 46068
MOORE, RONALD R         5 DEAN PARK PL                                                                             GLEN CARBON         IL 62034‐2403
MOORE, RONALD R         SIMMONS FIRM                     PO BOX 521                                                EAST ALTON          IL 62024‐0519
MOORE, RONALD RAY       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                         STREET, SUITE 600
MOORE, RONALD S         PO BOX 654                                                                                 BONNE TERRE       MO   63628‐0654
MOORE, RONALD W         2511 CO HWY 16                                                                             OAKDALE           IL   62268
MOORE, RONALD W         3454 N LESLEY AVE                                                                          INDIANAPOLIS      IN   46218‐1852
MOORE, RONDA J          6311 LADY JEANETTE DR                                                                      SWARTZ CREEK      MI   48473‐8819
MOORE, RONDAL D         1157 ORANGE GROVE AVE                                                                      SAN FERNANDO      CA   91340‐1037
MOORE, RONDY S          4216 S STATE RD                                                                            DAVISON           MI   48423‐8602
MOORE, RONNIE D         126 SHADOWWOOD DR                                                                          GRAYSON           KY   41143
MOORE, RONNIE E         3621 S HOCKER AVE                                                                          INDEPENDENCE      MO   64055‐3459
MOORE, ROOSEVELT        1802 PARKFRONT DR                                                                          FLINT             MI   48504‐2523
MOORE, ROSA I           8233 ROOSEVELT STREET                                                                      TAYLOR            MI   48180‐2744
MOORE, ROSALIE R        9895 E LENNON RD                                                                           LENNON            MI   48449‐9622
MOORE, ROSE             115 RED LION BRANCH RD                                                                     MILLINGTON        MD   21651‐1511
MOORE, ROSE A           PO BOX 12527                                                                               CHANDLER          AZ   85248‐0026
MOORE, ROSE M           4005 LAWNDALE AVE                                                                          FLINT             MI   48504‐2252
MOORE, ROSE MARY        4005 LAWNDALE AVE                                                                          FLINT             MI   48504
MOORE, ROSE‐ANNE        3 CHERRY LN                                                                                OLD GREENWICH     CT   06870‐1902
MOORE, ROSELLA          3986 JEN LEE DR                                                                            DAYTON            OH   45414‐1828
MOORE, ROSETTA D        3068 BENCHWOOD RD                                                                          DAYTON            OH   45414‐2317
MOORE, ROSETTA D        3021 CREEKVIEW CIR                                                                         DAYTON            OH   45414‐2321
MOORE, ROSEVELT         291 E HOOVER DR                                                                            FORT WAYNE        IN   46816‐1066
MOORE, ROSIE L          311 E DARTMOUTH                                                                            FLINT             MI   48505‐4956
MOORE, ROXANA           1136 LOMITA                                                                                FLINT             MI   48505‐3090
MOORE, ROXANA           1136 LOMITA AVE                                                                            FLINT             MI   48505‐3090
MOORE, ROXANNE          13431 HARTWELL ST                                                                          DETROIT           MI   48227‐3593
MOORE, ROXIE            ROUTE 2 BLOCK 60                                                                           KINGFISHER        OK   73750
MOORE, ROY C            29550 DEMBS DR                                                                             ROSEVILLE         MI   48066‐1910
MOORE, ROY C            9905 WOODLAND DR                                                                           BAY PORT          MI   48720‐9624
MOORE, RUBY             5704 ELLIOT AVE., SO.                                                                      MINNEAPOLIS       MN   55417
MOORE, RUBY             810 CARRIAGE LN                                                                            TRENTON           OH   45067‐1198
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Name                             Address1                        Address2              Address3       Address4         City              State Zip
MOORE, RUBY                      810 CARRIAGE LANE                                                                     TRENTON            OH 45067‐1198
MOORE, RUBY A                    2307 WARFIELD DRIVE                                                                   FOREST HILL        MD 21050‐1337
MOORE, RUBY C                    3506 SENECA ST                                                                        FLINT              MI 48504‐3702
MOORE, RUBY O                    10209 W CAMEO DR                                                                      SUN CITY           AZ 85351‐2338
MOORE, RUFUS                     GUY WILLIAM S                   PO BOX 509                                            MCCOMB             MS 39649‐0509
MOORE, RUSSEL H                  2023 S B ST                                                                           ELWOOD             IN 46036‐2139
MOORE, RUSSELL A                 19901 SE 65TH ST                                                                      NEWALLA            OK 74857‐8437
MOORE, RUSSELL D                 851 SHANEY LN                                                                         BROOKVILLE         OH 45309‐1375
MOORE, RUSSELL D                 12115 AMITY RD                                                                        BROOKVILLE         OH 45309
MOORE, RUSSELL D, SR & CAROLYN   ICO THE LANIER LAW FIRM PC      6810 GM 1960 WEST                                     HOUSTON            TX 77069
MOORE
MOORE, RUSSELL G                 5762 JAMES BLAIR DR                                                                   INDIANAPOLIS      IN   46234‐3225
MOORE, RUSSELL GLENN             5762 JAMES BLAIR DR                                                                   INDIANAPOLIS      IN   46234‐3225
MOORE, RUSSELL K                 23201 FONDUE CT                                                                       TEHACHAPI         CA   93561‐7608
MOORE, RUSSELL L                 3052 AUBURN RD                                                                        AUBURN HILLS      MI   48326‐3215
MOORE, RUSSELL L                 1802 HOOVER ST                                                                        JANESVILLE        WI   53545‐0819
MOORE, RUSSELL T                 3516 BLACK SQUIRREL WAY                                                               FRANKLIN          OH   45005‐9435
MOORE, RUTH                      456 WALLS ROAD                                                                        RUSSELL SPRINGS   KY   42642‐7791
MOORE, RUTH                      7310 MORRIS RD                                                                        HAMILTON          OH   45011‐5527
MOORE, RUTH                      1635 AUSEON AVE                                                                       OAKLAND           CA   94621‐1527
MOORE, RUTH                      456 WALLS RD                                                                          RUSSELL SPRINGS   KY   42642‐7791
MOORE, RUTH                      3609 LEERDA ST                                                                        FLINT             MI   48504
MOORE, RUTH A                    3908 E 18TH CT                                                                        KANSAS CITY       MO   64127‐3424
MOORE, RUTH A                    2200 GREYTWIG DR                                                                      KOKOMO            IN   46902‐4518
MOORE, RUTH A                    1333 HUTCHINS DR                                                                      KOKOMO            IN   46901‐1990
MOORE, RUTH E                    3206 NEW RD                                                                           RANSOMVILLE       NY   14131‐9513
MOORE, RUTH E                    315 STAHL AVE                                                                         NEW CASTLE        DE   19720‐3319
MOORE, RUTH G                    1607 W ALTO RD                  C/O ROSALIE GOLLNER                                   KOKOMO            IN   46902‐4835
MOORE, RUTH J                    1251 MALLOW ST                                                                        WOLVERINE LAKE    MI   48390‐1934
MOORE, RUTHELMA                  123 DEERFIELD DR                                                                      COLUMBIA          TN   38401‐5257
MOORE, RUTHIE M                  742 PANGBURN ST                                                                       GRAND PRAIRIE     TX   75051‐2614
MOORE, RYAN                      906 BALL AVENUE NORTHEAST                                                             GRAND RAPIDS      MI   49503‐1310
MOORE, RYAN B                    541 OAKLEIGH RD NW                                                                    GRAND RAPIDS      MI   49504‐4607
MOORE, RYAN BLAKE                541 OAKLEIGH RD NW                                                                    GRAND RAPIDS      MI   49504‐4607
MOORE, RYAN K                    35246 OXFORD CT                                                                       N RIDGEVILLE      OH   44039‐4617
MOORE, RYAN S                    210 NIKKI CT                                                                          CARLISLE          OH   45005‐4248
MOORE, SADIE                     24605 TEMPLAR AVE                                                                     SOUTHFIELD        MI   48075‐6936
MOORE, SADIE M                   24 REDDER AVE                                                                         DAYTON            OH   45405‐2222
MOORE, SALLY M                   2517 SELROSE LN                                                                       SANTA BARBARA     CA   93109‐1862
MOORE, SALMON L                  1587 MCALPINE DR                                                                      MOUNT MORRIS      MI   48458‐2309
MOORE, SAMUEL                    4224 BUCHANAN ST                                                                      DETROIT           MI   48210‐2641
MOORE, SAMUEL A                  3910 W JEFFERSON AVE                                                                  TRENTON           MI   48183‐4207
MOORE, SAMUEL ASSOCIATES LLC     2655 RAVENWOOD CT                                                                     WEXFORD           PA   15090‐7564
MOORE, SAMUEL D                  PO BOX 458                                                                            MOUNT MORRIS      MI   48458‐0458
MOORE, SAMUEL DAVID              PO BOX 458                                                                            MOUNT MORRIS      MI   48458‐0458
MOORE, SAMUEL H                  418 GREENLAWN ST                                                                      YPSILANTI         MI   48198‐5932
MOORE, SAMUEL W                  PAUL REICH & MYERS PC           1608 WALNUT ST        STE 500                         PHILADELPHIA      PA   19103‐5446
MOORE, SANDRA                    3009 COLUMBUS AVE                                                                     ANDERSON          IN   46016‐5439
MOORE, SANDRA C                  507 1/2 E. WATER ST                                                                   ST. CHARLES       MI   48655
MOORE, SANDRA C                  507 1/2 E WATER ST                                                                    SAINT CHARLES     MI   48655‐1519
MOORE, SANDRA E                  507 HEMINGWAY DR                                                                      COLUMBIA          TN   38401‐5309
MOORE, SANDRA J                  3101 W 450 N                                                                          MUNCIE            IN   47302
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Name                 Address1                       Address2                 Address3    Address4         City               State Zip
MOORE, SANDRA K      4125 RIVERSHELL LN                                                                   LANSING             MI 48911‐1908
MOORE, SANDRA K      3939 HUDSON AVE                                                                      SOUTH LEBANON       OH 45065‐1009
MOORE, SANDRA L      7040 CLIPPER DR                                                                      GRAND PRAIRIE       TX 75054‐7225
MOORE, SANDRA L      302 N BRIDGE ST                                                                      LINDEN              MI 48451‐8638
MOORE, SANDRA L      PO BOX 310272                                                                        FLINT               MI 48531‐0272
MOORE, SANDRA L      15231 MARLOW ST                                                                      OAK PARK            MI 48237‐1530
MOORE, SANDRA L      2049 W AVE K5                                                                        LANCASTER           CA 93536
MOORE, SANDRA LYNN   302 N BRIDGE ST                                                                      LINDEN              MI 48451‐8638
MOORE, SANDY LEE     427 DELOZIER LN                                                                      ROCKWOOD            TN 37854‐4223
MOORE, SARA M        7610 HIPP                                                                            TAYLOR              MI 48180‐2665
MOORE, SARA M        7610 HIPP ST                                                                         TAYLOR              MI 48180‐2665
MOORE, SARAH D       36452 WEIDEMAN ST                                                                    CLINTON TOWNSHIP    MI 48035‐1660
MOORE, SARAH D       36770 BIRWOOD ST                                                                     CLINTON TOWNSHIP    MI 48035‐1702
MOORE, SARAH E       9915 E 25TH ST                                                                       INDIANAPOLIS        IN 46229‐1319
MOORE, SARAH E       9915 E. 25TH ST                                                                      INDIANAPOLIS        IN 46229‐1319
MOORE, SARAH J       4119 PINEHURST DR                                                                    WEST BLOOMFIELD     MI 48322‐2258
MOORE, SARALYN A     595 QUEENSGATE RD                                                                    SPRINGBORO          OH 45066‐9726
MOORE, SCOTT C       6000 S HARLEM AVE                                                                    SUMMIT               IL 60501‐1522
MOORE, SCOTT S       2421 BEECHWOOD DR                                                                    ROYAL OAK           MI 48073‐4006
MOORE, SHALIMAR      11706 MAPLEFIELD DR                                                                  BYRON               MI 48418‐9648
MOORE, SHALLEEN K    4219 YORBA LINDA BLVD                                                                ROYAL OAK           MI 48073‐6463
MOORE, SHARON        2141 COMMON RD                                                                       WARREN              MI 48092‐3398
MOORE, SHARON B      342 EPTING ST                                                                        WEST COLUMBIA       SC 29169
MOORE, SHARON G      9290 HAMRICK RD N                                                                    COLLINSVILLE        MS 39325‐9386
MOORE, SHARON L      1456 LA SALLE ST                                                                     JANESVILLE          WI 53546‐2421
MOORE, SHARON N      3151 NW 44TH AVE LOT 197                                                             OCALA               FL 34482‐7833
MOORE, SHEERI A      607 E SHADY LN                                                                       HARRISONVILLE       MO 64701‐1852
MOORE, SHEILA R      73 BROOKHAVEN DR                                                                     TROTWOOD            OH 45426‐3102
MOORE, SHELBY D      8410 CHIPITA PARK RD                                                                 CASCADE             CO 80809‐1204
MOORE, SHEREE        11435 E 14 MILE RD                                                                   STERLING HEIGHTS    MI 48312‐6155
MOORE, SHERMAN W     PO BOX 382                                                                           LAKE CITY           MI 49651‐0382
MOORE, SHERRI E      STALLINGS & BISCHOFF PC        2101 PARKS AVE STE 801                                VIRGINIA BEACH      VA 23451‐4160
MOORE, SHERRIE       GOLDENBERG, MILLER, HELLER &   PO BOX 959                                            EDWARDSVILLE         IL 62025‐0959
                     ANTOGNOLI
MOORE, SHERRON       P O BOX 310674                                                                       FLINT              MI   48531
MOORE, SHERRY L      601 S INDIGO TER                                                                     SAINT JOHNS        FL   32259
MOORE, SHIMAKA M     2943 LOUELLA AVE                                                                     DAYTON             OH   45408‐2215
MOORE, SHIRLEY       215 NORTH GREENFIELD CIRCLE                                                          COVINGTON          GA   30016‐3373
MOORE, SHIRLEY       215 N GREENFIELD CIR                                                                 COVINGTON          GA   30016‐3373
MOORE, SHIRLEY       # 140                          4606 STATE ROAD 930                                   FORT WAYNE         IN   46803‐1614
MOORE, SHIRLEY       5834 CHAPELWOOD WAY                                                                  DALLAS             TX   75228‐6037
MOORE, SHIRLEY       4606 STATE ROAD EAST 9         RM 140                                                FORT WAYNE         IN   46803‐1614
MOORE, SHIRLEY A     1210 WEST 57TH ST.#303                                                               SIOUX FALLS        SD   57108
MOORE, SHIRLEY A     1475 FLAMINGO DR F 158                                                               ENGLEWOOD          FL   34224‐4645
MOORE, SHIRLEY A     4025 VIA DIEGO # B                                                                   SANTA BARBARA      CA   93110‐1473
MOORE, SHIRLEY A     1210 W 57TH ST APT 303                                                               SIOUX FALLS        SD   57108‐2874
MOORE, SHIRLEY A     12735 CHETS CREEK DR N                                                               JACKSONVILLE       FL   32224‐7766
MOORE, SHIRLEY F     15598 MAYBERRY DR                                                                    ATHENS             AL   35613‐2622
MOORE, SHIRLEY J     1835 BARKS ST                                                                        FLINT              MI   48503‐4301
MOORE, SHIRLEY J     509 EVANS ST                                                                         EAST TAWAS         MI   48730‐1554
MOORE, SHIRLEY J     509 EVANS ST.                                                                        EAST TAWAS         MI   48730‐1554
MOORE, SHIRLEY R     2039 COMPASS CIRCLE                                                                  PERRYVILLE         MO   63775
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Name                       Address1                         Address2            Address3         Address4         City            State Zip
MOORE, SHONTE' L           402 JASON DR                                                                           MONROE           LA 71202‐7212
MOORE, SIDNEY E            1913 CHIPPER DR                                                                        EDGEWOOD         MD 21040‐1205
MOORE, SILVER J            19746 FENMORE ST                                                                       DETROIT          MI 48235‐2255
MOORE, SMITH M             442 S 4TH AVE                                                                          SAGINAW          MI 48601‐2128
MOORE, SONDRA K            320 LONGVIEW AVE W                                                                     MANSFIELD        OH 44903‐4151
MOORE, SONYA H             19320 SANTA ROSA DR                                                                    DETROIT          MI 48221‐1734
MOORE, SR.,THOMAS S        7404 GRUBBS REX RD                                                                     ARCANUM          OH 45304‐9461
MOORE, STACEY L            5435 MEREDITH ST                 APT 2A                                                PORTAGE          MI 49002‐1174
MOORE, STACY J             1176 TEWKSBURY CT                                                                      MOORESVILLE      IN 46158‐1397
MOORE, STACY JANELLE       1176 TEWKSBURY CT                                                                      MOORESVILLE      IN 46158‐1397
MOORE, STANLEY             PO BOX 19575                                                                           S LAKE TAHOE     CA 96151‐0575
MOORE, STANLEY C           804 ALAN DR                                                                            BURLESON         TX 76028‐2000
MOORE, STANLEY D           2471 CIMARRON CIRCLE                                                                   MIDLAND          NC 28107‐6487
MOORE, STANLEY E           12504 N RITCHEY LN                                                                     SPOKANE          WA 99224‐8958
MOORE, STANLEY L           20516 RUTHERFORD ST                                                                    DETROIT          MI 48235
MOORE, STANLEY L           19325 MURRAY HILL                                                                      DETROIT          MI 48235
MOORE, STELLA M            16822 MENDOTA ST                                                                       DETROIT          MI 48221‐2829
MOORE, STENA M             14850 VAN PELT DR                                                                      GOSHEN           IN 46526‐9315
MOORE, STEPHANIE D         134 LORENE DR                                                                          RED OAK          TX 75154‐2904
MOORE, STEPHEN             2336 N PENNSYLVANIA ST                                                                 INDIANAPOLIS     IN 46205‐4344
MOORE, STEPHEN A           1478 HEAVENLY VIEW LN                                                                  VALLEY CITY      OH 44280‐9471
MOORE, STEPHEN A           1144 NOVAK RD                                                                          GRAFTON          OH 44044‐1252
MOORE, STEPHEN G           9393 SEYMOUR RD                                                                        SWARTZ CREEK     MI 48473‐9129
MOORE, STEPHEN L           5905 SAINT ANDREWS CIR                                                                 SHREVEPORT       LA 71129‐4415
MOORE, STEPHEN M           14902 MAGGIE CT                                                                        WESTFIELD        IN 46074
MOORE, STEPHEN O           1255 SQUIRE LN                                                                         CUMMING          GA 30041‐7858
MOORE, STEPHEN W           907 MOTEL DR                                                                           FORTVILLE        IN 46040‐1157
MOORE, STEPHENEE D         19226 DELAWARE AVE                                                                     REDFORD          MI 48240‐2625
MOORE, STEPHENSON DANIEL
MOORE, STERLING L          PO BOX 153                                                                             MINERAL RIDGE   OH   44440‐0153
MOORE, STEVE D             7395 GREEN VALLEY DR                                                                   GRAND BLANC     MI   48439‐8195
MOORE, STEVE DALE          7395 GREEN VALLEY DR                                                                   GRAND BLANC     MI   48439‐8195
MOORE, STEVE F             3310 MERIDIAN RD                                                                       LESLIE          MI   49251‐9518
MOORE, STEVEN D            452 DONNA DR                                                                           PORTLAND        MI   48875‐1118
MOORE, STEVEN E            802 FAYETTE ST                                                                         LANSING         MI   48910‐1734
MOORE, STEVEN L            1362 HOLMES RD                                                                         YPSILANTI       MI   48198‐3957
MOORE, STEVEN R            26452 E BASELINE HWY                                                                   CHARLOTTE       MI   48813‐9005
MOORE, STEVEN T            W162S7936 BAY LANE PL                                                                  MUSKEGO         WI   53150‐9787
MOORE, STEVEN T            6244 RED LION 5 POINTS RD                                                              SPRINGBORO      OH   45066
MOORE, STEVEN THOMAS       W162S7936 BAY LANE PL                                                                  MUSKEGO         WI   53150‐9787
MOORE, STEVEN W            13450 HEMLOCK TRAIL                                                                    FRISCO          TX   75035‐0040
MOORE, STEWARD A           3602 GRATIOT AVE                                                                       FLINT           MI   48503‐4911
MOORE, STINGLEY            110 MONROE MOORE RD.                                                                   MORTON          MS   39117‐9117
MOORE, SUSAN A             309 WILSON DR                                                                          MIDWEST CITY    OK   73110‐5346
MOORE, SUSAN D             401 THORNTON DR                                                                        FRANKLIN        TN   37064‐5387
MOORE, SUSAN F             2722 MOSSDALE DR                                                                       NASHVILLE       TN   37217‐4142
MOORE, SUSAN F             1448 ARTHUR DR NW                                                                      WARREN          OH   44485‐1846
MOORE, SUSAN F             1448 ARTHUR N. W.                                                                      WARREN          OH   44485‐1846
MOORE, SUSANNA M           4916 NORTH CIRCULO BUJIA                                                               TUCSON          AZ   85718‐6160
MOORE, SUZANNE             2537 SW 86TH ST                                                                        OKLAHOMA CITY   OK   73159‐5739
MOORE, SUZANNE A           7393 ORANGEVILLE KINSMAN RD                                                            KINSMAN         OH   44428‐9532
MOORE, SUZANNE C           122 OAKFIELD DR                                                                        O FALLON        MO   63368‐8289
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Name                   Address1                        Address2                       Address3   Address4         City           State Zip
MOORE, SUZANNE D       8877 MAPLE RD                                                                              BRIDGEPORT      MI 48722‐9744
MOORE, SYBEL I         C/O PATRICIA A BROOME           483 BROAD MEADOW BLVD                                      OXFORD          MI 48371
MOORE, SYBEL I         483 BROAD MEADOW BLVD           C/O PATRICIA A BROOME                                      OXFORD          MI 48371‐4123
MOORE, SYLVESTER       3470 HAWTHORNE DR                                                                          FLINT           MI 48503‐4649
MOORE, T               402 JASON DR                                                                               MONROE          LA 71202‐7212
MOORE, T B
MOORE, T J             402 JASON DR                                                                               MONROE         LA   71202‐7212
MOORE, TAMARA M        9824 TIFFANY DR                                                                            FORT WAYNE     IN   45804
MOORE, TAMARA M        1251 ANTHONY TRCE                                                                          WAYNESVILLE    OH   45068‐9200
MOORE, TAMMY R         1005 SLUSSER AVE                                                                           GADSDEN        AL   35903‐1734
MOORE, TANGELA Y       2737 CAPEHART DR                                                                           SAGINAW        MI   48601‐4509
MOORE, TEDDY           KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND      OH   44114
                                                       BOND COURT BUILDING
MOORE, TELVIN          2626 MALLERY ST                                                                            FLINT          MI   48504‐7324
MOORE, TENNESSEE       979 ANTHONY DR                                                                             COLUMBUS       OH   43204‐1768
MOORE, TENNESSEE       979 ANTHONY DRIVE                                                                          COLUMBUS       OH   43204‐1768
MOORE, TERENCE D       6992 HARDWOOD DR                                                                           INDIANAPOLIS   IN   46250‐3424
MOORE, TERESA          APT H                           251 UNION HILL CIRCLE                                      DAYTON         OH   45449‐3740
MOORE, TERESA L        1816 COUNTY ROAD 6                                                                         IRONTON        OH   45638‐8564
MOORE, TERRI A         1244 ROWLAND RD                                                                            LEONARD        MI   48367‐2219
MOORE, TERRI L         PO BOX 1163                                                                                BEDFORD        IN   47421‐1163
MOORE, TERRI M         9080 BLOOMFIELD AVE SPC 271                                                                CYPRESS        CA   90630‐8629
MOORE, TERRY           3675 W 100 N                                                                               HUNTINGTON     IN   46750‐9051
MOORE, TERRY A         11040 MEADOWVIEW DR                                                                        GOODRICH       MI   48438‐8702
MOORE, TERRY A         3001 STATE ROUTE 11                                                                        MALONE         NY   12953‐4704
MOORE, TERRY D         5942 MINDY DR                                                                              HAMILTON       OH   45011‐2210
MOORE, TERRY D         9069 NEWCASTLE DR                                                                          SHREVEPORT     LA   71129‐5123
MOORE, TERRY DEWAYNE   9069 NEWCASTLE DR                                                                          SHREVEPORT     LA   71129‐5123
MOORE, TERRY E         3 BROCKTON CIR                                                                             O FALLON       MO   63366‐3401
MOORE, TERRY F         1244 ROWLAND RD                                                                            LEONARD        MI   48367‐2219
MOORE, TERRY G         43470 BROOKS DR                                                                            CLINTON TWP    MI   48038‐5319
MOORE, TERRY J         4637 W STATE ROUTE 73                                                                      WILMINGTON     OH   45177‐9290
MOORE, TERRY J         7691 HIGHWAY 14                                                                            GOODMAN        MS   39079
MOORE, TERRY L         8704 W STATE ROAD 67                                                                       REDKEY         IN   47373‐9488
MOORE, TERRY L         5120 W HARVARD AVE                                                                         CLARKSTON      MI   48348‐3113
MOORE, TERRY L         1201 E ADAMS DR                                                                            FRANKLIN       IN   46131
MOORE, TERRY L         233 CEDARHAVEN DR                                                                          MURRAY         KY   42071
MOORE, TERRY L         2101 W KITTLE RD                                                                           MIO            MI   48647‐9720
MOORE, TERRY R         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK        VA   23510
                                                       STREET, SUITE 600
MOORE, TERRY R         5727 BANTING WAY                                                                           DALLAS         TX   75227‐1504
MOORE, TERRY S         1420 HUGHEL DR                                                                             ANDERSON       IN   46012‐4610
MOORE, TERRY V         9770 E DEADFALL RD                                                                         HILLSBORO      OH   45133‐6617
MOORE, TESSA           3200 PARKWOOD BLVD APT 1220                                                                PLANO          TX   75093‐4791
MOORE, THELMA          214 FRAZIER RD                                                                             CROSSVILLE     TN   38572
MOORE, THELMA          3075 GOLETA AVE                                                                            YOUNGSTOWN     OH   44505‐2128
MOORE, THELMA          PO BOX 141                                                                                 BONNE TERRE    MO   63628‐0141
MOORE, THELMA E        823 WALLER ST                                                                              SAGINAW        MI   48602‐1614
MOORE, THELMA E        823 WALLER STREET                                                                          SAGINAW        MI   48602
MOORE, THELMA L        638 N COLLEGE ST                                                                           TRENTON        TN   38382‐4010
MOORE, THEODORE C      601 N NEWNAN ST APT 1604                                                                   JACKSONVILLE   FL   32202‐3075
MOORE, THEODORE W      4219 GREENLAWN DR                                                                          FLINT          MI   48504
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Name                Address1                           Address2               Address3      Address4         City            State Zip
MOORE, THERESA A    614 E WALNUT ST                                                                          WEST UNION       OH 45693‐1553
MOORE, THERESA A    PO BOX 5144                                                                              FLINT            MI 48505‐0144
MOORE, THERESA H    120 VALLEYVIEW DR                                                                        DAYTON           OH 45405‐3244
MOORE, THERESA R    14492 N. 300 E.                                                                          COVINGTON        IN 47932‐7058
MOORE, THERESA R    14492 N 300 E                                                                            COVINGTON        IN 47932‐7058
MOORE, THERESE J    8432 RAVENCREST ST                                                                       LAS VEGAS        NV 89139
MOORE, THOMAS       995 OAKMONT CT                                                                           UNION            KY 41091
MOORE, THOMAS       19300 DEAN ST                                                                            DETROIT          MI 48234‐2004
MOORE, THOMAS A     925 CARRIAGE HILL DR                                                                     SALEM            OH 44460‐4113
MOORE, THOMAS A     111 GRAVES ADDITION RD                                                                   SPRINGVILLE      IN 47462‐5029
MOORE, THOMAS A     1434 HARVARD BLVD                                                                        DAYTON           OH 45406‐5960
MOORE, THOMAS B     5101 THORNLEIGH DR                                                                       INDIANAPOLIS     IN 46226‐2257
MOORE, THOMAS B     3700 ANGELUS ST                                                                          PARAGOULD        AR 72450
MOORE, THOMAS C     15154 MCCASHIN LAKE RD                                                                   LINDEN           MI 48451
MOORE, THOMAS C     9042 TACKLES DR                                                                          WHITE LAKE       MI 48386‐1571
MOORE, THOMAS C     5981 N 24TH ST                                                                           KALAMAZOO        MI 49004‐8682
MOORE, THOMAS C     2440 MALENA LN                                                                           OXFORD           MI 48371‐4355
MOORE, THOMAS C     8723 54TH AVE E                                                                          BRADENTON        FL 34211‐3705
MOORE, THOMAS D     1607 KNOX DR                                                                             BRENTWOOD        TN 37027‐7355
MOORE, THOMAS D     PO BOX 1553                                                                              CLOVER           SC 29710‐4553
MOORE, THOMAS D     1196 N FOUR MILE RUN RD                                                                  YOUNGSTOWN       OH 44515‐1225
MOORE, THOMAS E     3701 LAKESIDE DR                                                                         SHREVEPORT       LA 71119‐6519
MOORE, THOMAS E     406 BLACKBURN AVE                                                                        FAIRFIELD        OH 45014‐1673
MOORE, THOMAS E     12340 FOUNDRY HILL RD                                                                    HANOVERTON       OH 44423‐9635
MOORE, THOMAS H     822 S WHITCOMB AVE                                                                       INDIANAPOLIS     IN 46241‐2046
MOORE, THOMAS H     184 HIGH STREET EXT                                                                      FAIRPORT         NY 14450‐9607
MOORE, THOMAS H     4100 MEADOW HILL LN                                                                      FAIRFAX          VA 22033‐3112
MOORE, THOMAS J     6700 MANSFIELD ST                                                                        GARDEN CITY      MI 48135‐3402
MOORE, THOMAS L     20291 MANSFIELD ST                                                                       DETROIT          MI 48235‐2154
MOORE, THOMAS L     4735 INDEPENDENCE DR                                                                     BRADENTON        FL 34210‐1908
MOORE, THOMAS M     813 E MORNINGSTAR LN                                                                     HERNANDO         FL 34442‐2855
MOORE, THOMAS N     565 S 400 E                                                                              ANDERSON         IN 46017‐9622
MOORE, THOMAS O     995 OAKMONT COURT                                                                        UNION            KY 41091‐7702
MOORE, THOMAS O     514 PATTY DRIVE                                                                          BRADFORD         OH 45308‐1170
MOORE, THOMAS O     514 PATTY DR                                                                             BRADFORD         OH 45308‐1170
MOORE, THOMAS P     143 GOLDEN DR                                                                            ANDERSON         IN 46012‐1427
MOORE, THOMAS R     1023 DALLAS HWY                                                                          VILLA RICA       GA 30180‐3241
MOORE, THOMAS W     5274 S 360 W                                                                             PENDLETON        IN 46064‐8995
MOORE, THOMAS W     O‐70 BARBRHET DR NW                                                                      GRAND RAPIDS     MI 49534‐3391
MOORE, THOMAS W     PO BOX 277                                                                               BUTLER           KY 41006‐0277
MOORE, THOMPSON G   8498 HURON RIVER DR                                                                      WHITE LAKE       MI 48386‐2518
MOORE, THURMAN      WISE & JULIAN                      156 N MAIN ST STOP 1                                  EDWARDSVILLE      IL 62025‐1972
MOORE, THURMAN E    777 ROUTE 28 EAST                                                                        GREENFIELD       OH 45123
MOORE, TIFFANY P    4914 FALL BROOK LN                                                                       FORT WAYNE       IN 46835‐9331
MOORE, TILFORD E    4991 CECELIA ANN AVE                                                                     CLARKSTON        MI 48346‐3903
MOORE, TIM M        3524 E AVENUE R SPC 315                                                                  PALMDALE         CA 93550‐5096
MOORE, TIMOTHY      PO BOX 127                                                                               VALLEY VIEW      TX 76272‐0127
MOORE, TIMOTHY E    845 ALLSTON DR                                                                           ROCHESTER HLS    MI 48309‐1659
MOORE, TIMOTHY L    4308 N JENNINGS RD                                                                       FLINT            MI 48504‐1306
MOORE, TIMOTHY L    PO BOX 791                                                                               ATHENS           AL 35612‐0791
MOORE, TIMOTHY L    429 KNOLLS PL                                                                            NASHVILLE        TN 37211
MOORE, TIMOTHY R    1008 FOREST POINTE CT SE                                                                 WARREN           OH 44484‐5622
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Name                   Address1                        Address2                      Address3   Address4         City              State Zip
MOORE, TINA M          4111 KINGS MILL RD                                                                        NORTH BRANCH       MI 48461‐8833
MOORE, TINA MARIE      4111 KINGS MILL RD                                                                        NORTH BRANCH       MI 48461‐8833
MOORE, TODD            22866 INDIANWOOD DR                                                                       SOUTH LYON         MI 48178‐9423
MOORE, TODD M          9309 SAIL WIND DR                                                                         FORT WAYNE         IN 46804‐5950
MOORE, TODD R          PO BOX 212                                                                                CLAYTON            OH 45315‐0212
MOORE, TOM G           181 AIRPORT RD                                                                            WATERFORD          MI 48327‐1703
MOORE, TOMMIE G        APT 1120                        25225 GREENFIELD ROAD                                     SOUTHFIELD         MI 48075‐2163
MOORE, TOMMIE W        PO BOX 713                                                                                SMYRNA             DE 19977‐0713
MOORE, TOMMY D         3238 NORTH WAVERLY ROAD                                                                   LANSING            MI 48906‐2467
MOORE, TOMMY J         480 HEREFORD LN                                                                           MILLSAP            TX 76066‐2657
MOORE, TOMMY L         3609 CALHOUN ST                                                                           INDIANAPOLIS       IN 46203‐3346
MOORE, TONA L          1196 N FOUR MILE RUN RD                                                                   YOUNGSTOWN         OH 44515‐1225
MOORE, TONY L          16675 SLATE DR APT 1111                                                                   CHINO HILLS        CA 91709
MOORE, TONY V          8805 CRESTLINE LOT 10                                                                     OVID               MI 48866
MOORE, TONYA T         507 VILLAGE GREEN DRIVE                                                                   ANGOLA             IN 46703‐9304
MOORE, TRACEY S        110 HANNA AVE                                                                             DAYTON             OH 45427‐2509
MOORE, TRACIE L        1385 HOMESTEAD CT                                                                         FLINT              MI 48507‐0501
MOORE, TRACIE LOUISE   1385 HOMESTEAD CT                                                                         FLINT              MI 48507‐0501
MOORE, TRACY L         2012 E RIDGE RD                                                                           BELOIT             WI 53511‐3915
MOORE, TRINETTE L      2940 ENGLAND PKWY                                                                         GRAND PRAIRIE      TX 75054‐5522
MOORE, TRISHA A        189 OAK HILL RD                                                                           CONCORD            NH 03301‐8631
MOORE, TROY            7438 BLANDING DR                                                                          FERGUSON           MO 63135‐3446
MOORE, TROY HOLLICE    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                       STREET, SUITE 600
MOORE, TROY L          3061 RICHMOND DR                                                                          CLARKSTON         MI   48348‐5064
MOORE, TRULA H         1916 NE 33RD PL                                                                           NEWCASTLE         WA   98056‐8015
MOORE, TWILA D         2253 W LAKE RD                                                                            CLIO              MI   48420‐8838
MOORE, TYANNE S        3470 HAWTHORNE DRIVE                                                                      FLINT             MI   48503‐4649
MOORE, TYRONE M        17286 PENNSYLVANIA HEIGHTS DR                                                             BROWNSTOWN        MI   48174‐2999
MOORE, TYSON E         1854 S EUCLID ST APT 4                                                                    ANAHEIM           CA   92802
MOORE, ULYSSES         9809 HILLSBORO DR                                                                         SHREVEPORT        LA   71118‐4807
MOORE, V N             2619 BRILLIANCE                                                                           ROCHESTER HILLS   MI   48309‐4084
MOORE, VALARIE J       5332 SEVILLE CIR                                                                          LA PALMA          CA   90623‐1101
MOORE, VALERIE J       5332 SEVILLE CIR                                                                          LA PALMA          CA   90623‐1101
MOORE, VALERIE L       3618 CAMELOT RD                                                                           DAYTON            OH   45426‐2318
MOORE, VAN L           2107 HARBOR CIR                                                                           ROCKPORT          TX   78382‐3525
MOORE, VANCE           5318 MILL WHEEL DR                                                                        GRAND BLANC       MI   48439‐4262
MOORE, VAUGHN L        4308 E 72ND ST                                                                            CLEVELAND         OH   44105‐5704
MOORE, VERDIES G       17401 ANGLIN ST                                                                           DETROIT           MI   48212‐1003
MOORE, VERGA J         P O BOX 63                                                                                MT CLEMENS        MI   48046‐0063
MOORE, VERNON L        620 PEYTON RIDGE RD                                                                       WEST LIBERTY      KY   41472‐7259
MOORE, VERNON L        2801 WILERN AVE                                                                           BALTIMORE         MD   21223
MOORE, VERSAE V        4273 US 35 E                                                                              W ALEXANDRIA      OH   45381
MOORE, VICKI           4004 VADER COURT                                                                          ENGLEWOOD         OH   45322‐2554
MOORE, VICKI           4004 VADER CT                                                                             ENGLEWOOD         OH   45322‐2554
MOORE, VICTOR P        2608 FERNCLIFF AVE                                                                        DAYTON            OH   45420‐3362
MOORE, VICTOR R        2104 DELANCEY DR                                                                          NORMAN            OK   73071‐3871
MOORE, VINCENT         297 N CASS AVE                                                                            PONTIAC           MI   48342‐1006
MOORE, VINCENT B       11186 SWEET POTATO RIDGE RD R                                                             BROOKVILLE        OH   45309
MOORE, VIOLA M         1411 HOBNAIL CT                                                                           DAVISON           MI   48423‐2203
MOORE, VIRDEAN E       302 E ATHERTON RD                                                                         FLINT             MI   48507‐2733
MOORE, VIRGIE          4606 GUADALUPE AVE                                                                        DAYTON            OH   45427‐3525
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Name                 Address1                         Address2                      Address3   Address4         City                State Zip
MOORE, VIRGINIA      802 E 240TH ST                                                                             EUCLID               OH 44123‐2302
MOORE, VIRGINIA      8931 DIAMOND MILL RD                                                                       BROOKVILLE           OH 45309‐7232
MOORE, VIRGINIA      2603 SOUTHWEST                   TENTH STREET APT‐167                                      OCALA                FL 34474
MOORE, VIRGINIA H.   207 COUNTY ROAD 561                                                                        WOODLAND             AL 36280‐6518
MOORE, VIRGINIA H.   207 COUNTY RD 561                                                                          WOODLAND             AL 36280‐6518
MOORE, VIRGINIA J    2172 W 12145 S                                                                             RIVERTON             UT 84065‐7593
MOORE, VIRGINIA K    21317 BRIERSTONE ST                                                                        HARPER WOODS         MI 48225‐2351
MOORE, VIRGINIA M    228 S GLADES TRL                                                                           PANAMA CITY BEACH    FL 32407‐2408
MOORE, VIVIAN        3962 ANDERSON ANTHONY RD NW                                                                LEAVITTSBURG         OH 44430‐9764
MOORE, VIVIAN E      1343 FOXRUN LN                                                                             PONTIAC              MI 48340‐2165
MOORE, WALKER J      1235 N ALCONY‐CONYER RD                                                                    CASSTOWN             OH 45312
MOORE, WALLACE D     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                      STREET, SUITE 600
MOORE, WALTER        465 1ST AVE                                                                                PONTIAC             MI   48340‐2803
MOORE, WALTER        2211 FAIRVIEW ST                                                                           ANDERSON            IN   46016‐4148
MOORE, WALTER E      13510 ROSEMONT AVE                                                                         DETROIT             MI   48223‐3520
MOORE, WALTER G      19941 WESTPHALIA ST                                                                        DETROIT             MI   48205‐1748
MOORE, WALTER J      4415 BRISTOL CT APT 1                                                                      FLINT               MI   48532‐4203
MOORE, WALTER L      1408 AUTUMN DR NW                                                                          WARREN              OH   44485‐2032
MOORE, WALTER R      1346 DEPOT ST                                                                              MINERAL RIDGE       OH   44440‐9799
MOORE, WALTER T      388 SW WINTERGARDEN DR                                                                     LEES SUMMIT         MO   64081‐2668
MOORE, WALTER W      1412 CRESTBROOK LN                                                                         FLINT               MI   48507‐2322
MOORE, WANDA A       5 CYPRESS LN UN2 CO C COURNOYE                                                             WALLINGFORD         CT   06492‐6492
MOORE, WARREN D      2997 RIFLE RIVER TR BL                                                                     WEST BRANCH         MI   48661
MOORE, WARREN R      16933 MONICA ST                                                                            DETROIT             MI   48221‐2969
MOORE, WAYNE A       6121 PARK RIDGE DR                                                                         CENTERVILLE         OH   45459‐2251
MOORE, WAYNE D       3607 HOMEWOOD AVE                                                                          LANSING             MI   48910‐4784
MOORE, WAYNE G       890 N GARY WOHLFEIL TRL          PO BOX 56                                                 BARTON CITY         MI   48705‐9743
MOORE, WAYNE G       PO BOX 56                                                                                  BARTON CITY         MI   48705‐0056
MOORE, WAYNE H       501 BERNICE ST                                                                             COLLINSVILLE        IL   62234‐1012
MOORE, WAYNE H       33 HOOSIER DR                                                                              NORTH VERNON        IN   47265‐9064
MOORE, WAYNE H       12628 SPOTSWOOD FURNACE RD                                                                 FREDERICKSBRG       VA   22407‐2200
MOORE, WAYNE J       311 EATON RD                                                                               ANDERSON            IN   46012‐3908
MOORE, WAYNE L       7739 NORMANDY BOULEVARD                                                                    INDIANAPOLIS        IN   46278‐1555
MOORE, WAYNE O       8303 THORNCREST LN                                                                         MOORESVILLE         IN   46158‐7476
MOORE, WAYNE S       4548 FOUNTAINHEAD DR                                                                       STONE MOUNTAIN      GA   30083‐5112
MOORE, WC            5813 PINEWOOD CT                                                                           CANTON              MI   48187‐5601
MOORE, WELDON T      123 DEERFIELD DR                                                                           COLUMBIA            TN   38401‐5257
MOORE, WELTON        2339 WASHINGTON ST                                                                         RINGGOLD            LA   71068‐2542
MOORE, WENDALL S     501 LYON ST APT 18                                                                         FLINT               MI   48503
MOORE, WENDELL E     6715 E LAKE SHORE DR                                                                       HILLSBORO           OH   45133‐7102
MOORE, WENDELL E     6715 EAST LAKESHORE DRIVE                                                                  HILLSBORO           OH   45133‐7102
MOORE, WENDY L       2945 PLAYER AVE                                                                            SIERRA VISTA        AZ   85650‐6601
MOORE, WESLEY E      2608 S RENO AVE                                                                            EL RENO             OK   73036‐5843
MOORE, WHITFIELD S   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                      STREET, SUITE 600
MOORE, WILBERT A     622 E PHILADELPHIA BLVD                                                                    FLINT               MI   48505‐3385
MOORE, WILLARD A     4416 SUNSHINE AVE                                                                          INDIANAPOLIS        IN   46228‐6730
MOORE, WILLARD P     163 ROCKROSE DR                                                                            NEWARK              DE   19711‐7256
MOORE, WILLIAM       3702 COMSTOCK AVE                                                                          FLINT               MI   48504‐2131
MOORE, WILLIAM       697 MAYFLOWER DR                                                                           SAGINAW             MI   48638‐5755
MOORE, WILLIAM       ICO THE LANIER LAW FIRM PC       6810 FM 1960 WEST                                         HOUSTON             TX   77069
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Name                    Address1                            Address2                      Address3   Address4         City            State Zip
MOORE, WILLIAM A        36413 STATE HIGHWAY WW                                                                        CAMPBELL         MO 63933‐7320
MOORE, WILLIAM A        3765 RAINIER DR                                                                               HOWELL           MI 48843‐9209
MOORE, WILLIAM A        19697 ROSLYN ROAD                                                                             DETROIT          MI 48221‐1892
MOORE, WILLIAM A        PO BOX 32                           10125 ELKTON RD.                                          ELKTON           OH 44415‐0032
MOORE, WILLIAM C        595 CAPAUGRIS                                                                                 TROY             MO 63379
MOORE, WILLIAM C        05 692 576                                                                                    BRYAN            OH 43506
MOORE, WILLIAM D        9700 GENESEE RD                                                                               MILLINGTON       MI 48746‐9762
MOORE, WILLIAM D        15275 BURT RD                                                                                 CHESANING        MI 48616‐9536
MOORE, WILLIAM D        26136 S SHORE DR                                                                              MENDON           MI 49072‐9414
MOORE, WILLIAM D        2150 TERRACE LAKE RD                                                                          COLUMBUS         IN 47201‐4948
MOORE, WILLIAM DAVID    15275 BURT RD                                                                                 CHESANING        MI 48616‐9536
MOORE, WILLIAM E        18427 STEEL ST                                                                                DETROIT          MI 48235‐1326
MOORE, WILLIAM E        2119 ANOKA ST                                                                                 FLINT            MI 48532‐4512
MOORE, WILLIAM E        8412 TANYA DR                                                                                 GREENWOOD        LA 71033‐3340
MOORE, WILLIAM E        19690 STATE ROUTE 550                                                                         MARIETTA         OH 45750
MOORE, WILLIAM E        3016 E MANOR ST                                                                               MUNCIE           IN 47303‐3361
MOORE, WILLIAM E        2830 BECK ST SE                                                                               WARREN           OH 44484
MOORE, WILLIAM E        2825 N STATE HIGHWAY 360 APT 1435                                                             GRAND PRAIRIE    TX 75050‐7864
MOORE, WILLIAM E        5653 MACASKILL                                                                                FT. WORTH        TX 76148‐4122
MOORE, WILLIAM E        2830 BECK STREET SE                                                                           WARREN           OH 44484‐4484
MOORE, WILLIAM E        547 BETHEL DR                                                                                 SALEM            OH 44460‐4105
MOORE, WILLIAM ELISHA   8412 TANYA DR                                                                                 GREENWOOD        LA 71033‐3340
MOORE, WILLIAM F        4504 KEATS ST                                                                                 FLINT            MI 48507‐2629
MOORE, WILLIAM H        PO BOX 784                                                                                    SNELLVILLE       GA 30078‐0784
MOORE, WILLIAM J        5159 COUNTY ROAD 4                                                                            FORT DEPOSIT     AL 36032‐4625
MOORE, WILLIAM K.       2175 CALLAWAY RD                    RD.                                                       RAYLE            GA 30660‐1426
MOORE, WILLIAM L        10010 N COUNTY ROAD 850 W                                                                     NORTH SALEM      IN 46165‐9476
MOORE, WILLIAM L        16955 ENGLISH RD                                                                              MANCHESTER       MI 48158‐8611
MOORE, WILLIAM L        3696 BEACON DR                                                                                BEACHWOOD        OH 44122‐6009
MOORE, WILLIAM M        1095 N AUTUMN OLIVE LN                                                                        WHITE CLOUD      MI 49349‐8781
MOORE, WILLIAM N        6312 ROYALTY CT                                                                               LEESBURG         FL 34748‐7550
MOORE, WILLIAM O        446 COUNTY ROAD 1647                                                                          AVINGER          TX 75630‐3714
MOORE, WILLIAM P        3126 WALKER AVENUE                                                                            INDIANAPOLIS     IN 46203‐4729
MOORE, WILLIAM R        716 HIGHWAY 30 E                                                                              BOONEVILLE       MS 38829
MOORE, WILLIAM R        3880 E BLDG.IRONWOOD LANE           # 305E                                                    BRADENTON        FL 34209
MOORE, WILLIAM R        18W261 KIRKLAND LN                                                                            VILLA PARK        IL 60181‐3660
MOORE, WILLIAM R        56 APPLE DR                                                                                   FARMERSVILLE     OH 45325‐1001
MOORE, WILLIAM R        9206 WEISSINGER CT                                                                            LOUISVILLE       KY 40241‐2412
MOORE, WILLIAM R        6608 SLEEPY HOLLOW PKY                                                                        HILLSBORO        OH 45133‐9397
MOORE, WILLIAM R        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                            STREET, SUITE 600
MOORE, WILLIAM R        7185 E COUNTRY RD 400N                                                                        BROWNSBURG      IN   46112
MOORE, WILLIAM S        1179 SYLVAN DRIVE                                                                             WILMINGTON      OH   45177‐2531
MOORE, WILLIAM S        1179 SYLVAN DR                                                                                WILMINGTON      OH   45177‐2531
MOORE, WILLIAM T        17700 ADRIAN RD                                                                               SOUTHFIELD      MI   48075‐1964
MOORE, WILLIAM T        6004 NW LLOYD LN                                                                              KANSAS CITY     MO   64151‐2503
MOORE, WILLIE           246 W OAK ST                                                                                  KENT            OH   44240‐3748
MOORE, WILLIE           7957 PIPERS PATH                                                                              GLEN BURNIE     MD   21061‐6239
MOORE, WILLIE           PORTER & MALOUF PA                  4670 MCWILLIE DR                                          JACKSON         MS   39206‐5621
MOORE, WILLIE E         300 CRESTWOOD DR                                                                              SELMA           AL   36701‐6045
MOORE, WILLIE E         29012 PARKWOOD ST                                                                             INKSTER         MI   48141‐3909
MOORE, WILLIE J         17 W 115TH ST                                                                                 CHICAGO         IL   60628‐5511
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Name                            Address1                         Address2            Address3         Address4         City               State Zip
MOORE, WILLIE J                 1727 AVON CT                                                                           BELOIT              WI 53511‐2526
MOORE, WILLIE L                 619 BIRCHWOOD DR                                                                       SANDUSKY            OH 44870‐7323
MOORE, WILLIE L                 3534 FONTAINE AVE                                                                      JACKSON             MS 39213‐5657
MOORE, WILLIE L                 3534 FONTAIN AVE                                                                       JACKSON             MS 39213‐5657
MOORE, WILLIE M                 4485 BESSIE AVE                                                                        ST LOUIS            MO 63115‐2707
MOORE, WILLIS M                 105 KAITLYN'S WAY                                                                      BUFFALO             SC 29321
MOORE, WILLIS M                 72 LARNED RD                                                                           OXFORD              MA 01540‐2704
MOORE, WILLODYNE                20063 LORINTH RD                                                                       PITTSBURG            IL 62974
MOORE, WILMA                    1232 S MCKINLEY                                                                        HARRISBURG           IL 62946‐3174
MOORE, WILMA                    250 W GRAND AVE APT B207                                                               RAHWAY              NJ 07065‐4122
MOORE, WILMA E                  BOX 342                                                                                MAPLE RAPIDS        MI 48853‐0342
MOORE, WILMA E                  PO BOX 342                                                                             MAPLE RAPIDS        MI 48853‐0342
MOORE, WILMA J                  6000 VICTORIA ST                                                                       BELLEVILLE          MI 48111‐5024
MOORE, WILMA L.                 1430 FOX CROSS DR                                                                      MARTINSVILLE        IN 46151‐8211
MOORE, WILMA S                  1956 N FAIRFIELD RD APT 108                                                            DAYTON              OH 45432‐2755
MOORE, WILMA S                  1956 NORTH FAIRFIELD ROAD        #108                                                  BEAVER CREEK        OH 45432‐2755
MOORE, WINDELL D                15356 BIRWOOD ST                                                                       DETROIT             MI 48238‐1642
MOORE, WINFRED C                499 OLD TRENTON RD                                                                     CLARKSVILLE         TN 37040‐6744
MOORE, WINSTON                  1833 WISCONSIN AVE                                                                     BELOIT              WI 53511‐3547
MOORE, WINSTON M                3450 GARDNER RD                                                                        OXFORD              MI 48371‐1811
MOORE, WOODROW W                PO BOX 77665                                                                           COLUMBUS            OH 43207‐7665
MOORE, WRENNIE E                PO BOX 1675                                                                            SAGINAW             MI 48605‐1675
MOORE, WYATT A                  16540 PINEHURST ST                                                                     DETROIT             MI 48221‐2838
MOORE, YOLANDA M                3218 LEE AVE                                                                           MONROE              LA 71202‐5231
MOORE, YVONNE                   265 ROCKWELL AVE                                                                       PONTIAC             MI 48341‐2454
MOORE, ZELDA M                  1602 N VIRGINIA AVE                                                                    FLINT               MI 48506‐4227
MOORE,BILL R                    933 JUNE DR                                                                            XENIA               OH 45385‐3711
MOORE,BRENDA S                  7250 STUDEBAKER RD                                                                     TIPP CITY           OH 45371‐8535
MOORE,BRIDGETTE L               4009 BRENTON DR                                                                        DAYTON              OH 45416‐1652
MOORE,BYRON D                   7586 BUNNELL HILL RD                                                                   SPRINGBORO          OH 45066‐9614
MOORE,DAVID L                   930 GENTLEWINDS CT                                                                     LEBANON             OH 45036‐1323
MOORE,ERICK D                   8356 PITSBURG LAURA RD                                                                 ARCANUM             OH 45304‐9491
MOORE,JAMES A                   102 MEADOWBROOK DR                                                                     EATON               OH 45320‐2268
MOORE,KAREN A                   18 WESTWOOD BLVD                                                                       WESTWOOD            NJ 07675‐2508
MOORE‐ALLEN, CANDACE G          1934 TAWNEY LN                                                                         AVON                IN 46123‐9595
MOORE‐ALLEN, CANDACE G.         1934 TAWNEY LN                                                                         AVON                IN 46123‐9595
MOORE‐FULLER, STEPHANIE S       2011 CALIFORNIA ST APT 6A                                                              MOUNTAIN VIEW       CA 94040‐1964
MOORE‐JOHNSON, SHARLEEN DORIS   29008 HAZELWOOD ST                                                                     INKSTER             MI 48141‐1660
MOORE‐JOHNSON, SHARLEEN DORIS   35391 FARRAGUT ST                                                                      WESTLAND            MI 48186‐4207
MOORE‐MALOY, HAZEL L            36838 BUTTERNUT RIDGE RD                                                               ELYRIA              OH 44039‐8536
MOORE‐MCCRANEY, BARBARA J       5095 CAMBORNE CT                                                                       FLINT               MI 48504‐1137
MOORE‐PIRTLE, BRENDA J          524 BARRINGTON CT 2                                                                    BLOOMFIELD HILLS    MI 48304
MOORE‐ROBERTS, JOAN R           58158 HILLCHESTER RD                                                                   WASHINGTON          MI 48094‐3611
MOORE‐ROSS, ROCHELLE            17004 WHITEBARK CT                                                                     WESTFIELD           IN 46074‐9377
MOORE‐SANDERS, IRENE            1738 N KING AVE                                                                        INDIANAPOLIS        IN 46222‐2854
MOORE‐SWAN, GERTRUDE            2400 E BASELINE AVE #270                                                               APACHE JUNCTION     AZ 85219‐5720
MOORE‐THOMPSON, MICHELLE        15900 W COUNTY ROAD 400 S                                                              DALEVILLE           IN 47334‐9393
MOORE‐THOMPSON, MICHELLE        15900 W 400 S                                                                          DALEVILLE           IN 47334
MOORE‐TURNER, MARY C            706 W MAIN ST                                                                          VAN WERT            OH 45891‐1647
MOORE‐WALTERS, GAIL K           1540 QUAIL RUN DR                                                                      KOKOMO              IN 46902‐2787
MOORE‐WILEY, EILEEN M           263 ROBERT CT                                                                          CANTON              MI 48188‐3057
MOOREA ENTERPRISES INC          2045 W 35TH ST                                                                         SAN PEDRO           CA 90732‐4703
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Name                           Address1                        Address2               Address3     Address4         City            State Zip
MOORED, BERNARD L              2488 26TH ST                                                                         ALLEGAN          MI 49010‐8237
MOORED, LARRY L                3874 124TH AVE                                                                       ALLEGAN          MI 49010‐9422
MOORED, MICHAEL L              5590 CHAUNCEY DR NE                                                                  BELMONT          MI 49306‐9198
MOORED, RICHARD L              2406 RICHARDS DRIVE SOUTHEAST                                                        GRAND RAPIDS     MI 49506‐4783
MOOREFIELD, MARY L             112 WEST PINE DRIVE                                                                  LADY LAKE        FL 32159‐2159
MOOREFIELD, MARY L             112 W PINE DR                                                                        LADY LAKE        FL 32159‐3255
MOOREFIELD, STANLEY J          PO BOX 421035                                                                        INDIANAPOLIS     IN 46242‐1035
MOOREHEAD CITY TAX COLLECTOR   706 ARENDELL ST                                                                      MOREHEAD CITY    NC 28557‐4234
MOOREHEAD ELECTRIC CO INC      PO BOX 427                                                                           MARION           IN 46952‐0427
MOOREHEAD TECHNOLOGIES INC     303 S NORTON ST                                                                      MARION           IN 46952‐3296
MOOREHEAD, ARNOLD D            187 WESTBROOK ST                                                                     SUMITON          AL 35148‐4907
MOOREHEAD, DAVID V             6182 N ADAMS                                                                         BELLEVILLE       MI 48111
MOOREHEAD, DUANE E             1968 W GRAND AVE                                                                     DAYTON           OH 45407‐1733
MOOREHEAD, EDITH M             9682 ROSEWOOD CT                                                                     LOVELAND         OH 45140‐5639
MOOREHEAD, ERNEST C            C/O DWAYNE MOOREHEAD            9211 S BEL                                           CHICAGO           IL 60620
MOOREHEAD, ERNEST C            9211 S BELL AVE                 C/O DWAYNE MOOREHEAD                                 CHICAGO           IL 60643‐6708
MOOREHEAD, GREGORY W           186 MILFORD ST.                 BLDG. 14 APT. 20                                     ROCHESTER        NY 14615
MOOREHEAD, HAROLD              2886 DAWN DR.                                                                        ADRIAN           MI 49221
MOOREHEAD, IVETTA              2126 BLAKE AVE                                                                       DAYTON           OH 45414‐3317
MOOREHEAD, JOHNNIE G           2886 DAWN DR                                                                         ADRIAN           MI 49221‐9109
MOOREHEAD, LEON J              610 SHEFFIELD RD                                                                     AUBURN HILLS     MI 48326‐3527
MOOREHEAD, MARILYN A           9 SENATOR PETTUS AVE                                                                 GREENVILLE       SC 29617‐2426
MOOREHEAD, MARJORIE A          1288 W PRAIRIE ROAD                                                                  MIDLAND          MI 48640‐7812
MOOREHEAD, MARK                2126 BLAKE AVE                                                                       DAYTON           OH 45414‐3317
MOOREHEAD, MICHAEL J.          2102 MONTANA TRL                                                                     GRAND PRAIRIE    TX 75052‐2223
MOOREHEAD, RANDY R             8518 SLABSTONE CT               CORNERSTONE PK                                       RALEIGH          NC 27613‐7485
MOOREHEAD, SCOTT D             15062 DUXBURY LN                                                                     LANSING          MI 48906‐9321
MOOREHEAD, SHIRLEY A           6889 KIRBY MILLS CV                                                                  MEMPHIS          TN 38115‐4409
MOOREHEAD, STEPHEN A           950 E NORTH BROADWAY ST APT 5                                                        COLUMBUS         OH 43224‐4055
MOOREHEAD, VANESSA A           29536 NORTHWESTERN HIGHWAY                                                           SOUTHFIELD       MI 48034‐5703
MOOREHEAD, WILLIAM S           11741 N 93RD ST                                                                      SCOTTSDALE       AZ 85260‐5803
MOOREHOUSE, GENEVA             2065 SHELDRAKE                                                                       OKEMOS           MI 48864‐3633
MOOREHOUSE, JOSEPH W           2512 CANNONVILLE RD                                                                  ABBEVILLE        GA 31001‐2728
MOOREHOUSE, SARAH              12926 STAMFORD AVE                                                                   WARREN           MI 48089‐1331
MOORER GLADYS                  MOORER, GLADYS                  476 SANDPIPER LN                                     STONEWELL        LA 71078
MOORER, CHARLES L              2221 DENTON ST                                                                       HAMTRAMCK        MI 48212‐3615
MOORER, CHRISTINE W            9665 BROADSTREET AVE                                                                 DETROIT          MI 48204‐1658
MOORER, DONALD G               654 ROBINSON RD                                                                      CAMPBELL         OH 44405‐2031
MOORER, DOROTHY                1616 E 79TH LEXINGTON AVE                                                            CLEVELAND        OH 44103
MOORER, ELLA M                 18094 MITCHELL                                                                       DETROIT          MI 48234‐1550
MOORER, GLADYS                 476 SANDPIPER LN                                                                     STONEWALL        LA 71078‐2816
MOORER, JACQUELINE Y           2310 CALVERT ST                                                                      DETROIT          MI 48206‐1560
MOORER, JOHN H                 2310 CALVERT ST                                                                      DETROIT          MI 48206‐1560
MOORER, ROBERT E               15870 SARATOGA ST                                                                    DETROIT          MI 48205‐2934
MOORER, ROBERT L               17 MYRTLE WOOD LN                                                                    LAUREL           MS 39443‐9211
MOORER, RUSH F                 PO BOX 28673                                                                         CLEVELAND        OH 44128‐0673
MOORER, TERRENCE               7672 BRANDYWINE RD                                                                   CHARLESTON       SC 29420‐8806
MOORES TRUCKING CO             PO BOX 817                      SHELTON RD                                           PISCATAWAY       NJ 08855‐0817
MOORES, BERNARD D              603 W MAIN ST                                                                        WESTPORT         IN 47283‐9061
MOORES, CLARANN R              603 W MAIN ST                                                                        WESTPORT         IN 47283‐9061
MOORES, GERALD L               11102 COPAS RD                                                                       LENNON           MI 48449‐9652
MOORES, JOAN K                 11102 COPAS RD                                                                       LENNON           MI 48449‐9652
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Name                                   Address1                       Address2                      Address3   Address4         City            State Zip
MOORES, LOUIS J                        1087 MEADOWLAWN DR                                                                       PONTIAC          MI 48340‐1731
MOORHEAD STATE UNIVERSITY              BUSINESS OFFICE                                                                          MOORHEAD         MN 56563
MOORHEAD THOMAS                        805 E PAULSON ST                                                                         LANSING          MI 48906‐2035
MOORHEAD, DENNIS L                     1472 NANTUCKET RD                                                                        VENICE           FL 34293‐5318
MOORHEAD, DONALD L                     1575 N HICKORY RD APT A4                                                                 OWOSSO           MI 48867‐9484
MOORHEAD, GARY A                       3257 S RED SAGE CT                                                                       GOLD CANYON      AZ 85218‐2021
MOORHEAD, HENRY D                      PO BOX 111                     3992 ST RT 7                                              BURGHILL         OH 44404‐0111
MOORHEAD, JAMES E                      822 CANAL LAKE RD                                                                        BLAIRSVILLE      GA 30512‐0278
MOORHEAD, JAMES L                      16740 TALL GRASS LN                                                                      CLERMONT         FL 34711‐6600
MOORHEAD, JAMES W                      624 S ANNA ST                                                                            MT PLEASANT      MI 48858‐2812
MOORHEAD, JAMES W                      606 N WASHINGTON ST                                                                      LOWELL           MI 49331‐1154
MOORHEAD, JOHN H                       804 GREENLAWN AVE NW                                                                     WARREN           OH 44483‐2129
MOORHEAD, JOHN V                       814 BOESEL AVE                                                                           MANVILLE         NJ 08835
MOORHEAD, JOSEPH                       12151 VERGENNES STREET                                                                   LOWELL           MI 49331‐9331
MOORHEAD, JOSEPH P                     1424 GREENVIEW DR                                                                        GRAND BLANC      MI 48439‐1709
MOORHEAD, KEVIN J                      5315 W STONE WAY                                                                         NEW PALESTINE    IN 46163‐9474
MOORHEAD, KEVIN JACK                   5315 W STONE WAY                                                                         NEW PALESTINE    IN 46163‐9474
MOORHEAD, P M                          1565 PORTAL DR NE                                                                        WARREN           OH 44484‐1132
MOORHEAD, P MATTHEW                    1565 PORTAL DR NE                                                                        WARREN           OH 44484‐1132
MOORHEAD, SHIRLEY A                    1737 LAURIE DR                                                                           YOUNGSTOWN       OH 44511‐1044
MOORHEAD, THOMAS A                     805 E PAULSON ST                                                                         LANSING          MI 48906‐2035
MOORHEAD, WILLIAM G                    3241 NORWOOD DR                                                                          FLINT            MI 48503‐2375
MOORHEAD, WILLIAM GERALD               3241 NORWOOD DR                                                                          FLINT            MI 48503‐2375
MOORHOUS JR, THEODORE I                709 NW 23RD ST                                                                           WILTON MANORS    FL 33311‐3743
MOORHOUS SR, MICHAEL L                 3485 FORT DR                                                                             WATERFORD        MI 48328‐1328
MOORHOUS SR, MICHAEL LEE               3485 FORT DR                                                                             WATERFORD        MI 48328‐1328
MOORHOUS, THEODORE I                   466 RIVER RIDGE DR                                                                       WATERFORD        MI 48327‐2885
MOORHOUSE, CHERYL C                    6246 SAN VITO DR                                                                         OTTER LAKE       MI 48464‐9722
MOORHOUSE, CLARENCE P                  4171 N GENESEE RD                                                                        FLINT            MI 48506‐1545
MOORHOUSE, DONALD W                    PO BOX 242                     4574 WATER ST                                             COLUMBIAVILLE    MI 48421‐0242
MOORHOUSE, E A                         632 ROLLING ROCK RD                                                                      BLOOMFIELD       MI 48304‐1055
MOORHOUSE, FRED L                      4428 CENTRAL ST                                                                          COLUMBIAVILLE    MI 48421‐9144
MOORHOUSE, JOEL L                      4434 RYANT DR                                                                            FLINT            MI 48507‐1034
MOORHOUSE, JOEL LEE                    4434 RYANT DR                                                                            FLINT            MI 48507‐1034
MOORHOUSE, KENNETH L                   8140 IRISH RD                                                                            MILLINGTON       MI 48746‐8718
MOORHOUSE, LINDA M                     3407 ISLE VIEW DR                                                                        LINDEN           MI 48451‐9449
MOORHOUSE, LINDA MARION                3407 ISLE VIEW DR                                                                        LINDEN           MI 48451‐9449
MOORHOUSE, RONALD E                    2155 RIFLE RIVER TRL                                                                     WEST BRANCH      MI 48661‐9711
MOORHOUSE, ROSE E                      PO BOX 242 4574 WATER ST                                                                 COLUMBIAVILLE    MI 48421
MOORI, ROBERT T                        PO BOX 341224                                                                            ARLETA           CA 91334‐1224
MOORING WILLIAM (ESTATE OF) (626668)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                      STREET, SUITE 600
MOORING, DETRICE N                     1256 LEANNE CT                                                                           KENNEDALE       TX   76060‐6036
MOORING, DETRICE NICOLE                1256 LEANNE CT                                                                           KENNEDALE       TX   76060‐6036
MOORING, JACQUELYN A                   6091 N VASSAR RD                                                                         FLINT           MI   48506‐1235
MOORING, JUDITH K                      2710 N SHERYL AVE                                                                        FAYETTEVILLE    AR   72703‐3538
MOORING, SAM D                         6091 N VASSAR RD                                                                         FLINT           MI   48506‐1235
MOORING, SAM D                         6127 N VASSAR RD                                                                         FLINT           MI   48506‐1237
MOORING, SAM DEAN                      6091 N VASSAR RD                                                                         FLINT           MI   48506‐1235
MOORING, WILLIAM                       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                      STREET, SUITE 600
MOORIS, LESLIE                         PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON         MS 39206‐5621
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Name                               Address1                        Address2              Address3               Address4            City            State Zip
MOORMAN JR, EDWARD L               PO BOX 9022                     GM CAIRO                                                         WARREN           MI 48090‐9022
MOORMAN PONTIAC‐GMC                400 SHOUP MILL RD                                                                                DAYTON           OH 45415‐3518
MOORMAN PONTIAC‐GMC, INC.          400 SHOUP MILL RD                                                                                DAYTON           OH 45415‐3518
MOORMAN, AMY L                     355 DAVISON RD APT 10                                                                            LOCKPORT         NY 14094
MOORMAN, BILLY C                   2364 E WHITTEMORE AVE                                                                            BURTON           MI 48529‐2329
MOORMAN, CAROL A                   5395 TIPPERARY LN                                                                                FLINT            MI 48506‐2264
MOORMAN, CYNTHIA A                 2337 LEAFY GLEN CT                                                                               BEDFORD          TX 76022‐6114
MOORMAN, EILEEN                    3724 CHAMPIONSHIP DR                                                                             GLENWOOD         MD 21738‐9311
MOORMAN, ELANA                     407 FLOYD STREET                                                                                 VALDOSTA         GA 31601‐5473
MOORMAN, ELNORA                    5028 WHITFIELD ST                                                                                DETROIT          MI 48204‐2135
MOORMAN, ERNEST R                  1046 MAIN ST                                                                                     CONVOY           OH 45832
MOORMAN, GREGORY E                 104 REDDER AVE                                                                                   DAYTON           OH 45405
MOORMAN, JOHN E                    11797 CENTER RD                                                                                  BATH             MI 48808‐9431
MOORMAN, KENNETH R                 1181 FELTON DR                                                                                   WATKINSVILLE     GA 30677‐7031
MOORMAN, M B                       PO BOX 28                                                                                        ELWOOD           IN 46036‐0028
MOORMAN, MARCELLA L                858 CLARK LN                                                                                     LINDEN           MI 48451‐8511
MOORMAN, MARIE P                   6521 LAWNSIDE DR                                                                                 SAINT LOUIS      MO 63123‐3309
MOORMAN, MARILYN                   815 MICHIGAN AVE                                                                                 FREMONT          MI 49412
MOORMAN, MYRNA N                   5345 PRESERVE PKWY N                                                                             LITTLETON        CO 80121‐2151
MOORMAN, MYRNA N                   5345 PRESERVE WAY PKWY N                                                                         LITTLETON        CO 80121‐2151
MOORMAN, NANCY G                   4356 E 100 S                                                                                     KOKOMO           IN 46902
MOORMAN, PAUL J                    P.O. BOX 917 #110                                                                                BELLVILLE        TX 77418
MOORMAN, PHILLIP T                 858 CLARK LN                                                                                     LINDEN           MI 48451‐8511
MOORMAN, PRINCE M                  1689 OAK KNOLL CIR SE                                                                            ATLANTA          GA 30315‐5207
MOORMAN, RAYMOND E                 10454 SANDRIFT AVE                                                                               ENGLEWOOD        FL 34224‐9227
MOORMAN, RETTA C                   1032 EMERY ST                                                                                    KOKOMO           IN 46902‐2633
MOORMAN, RICHARD A                 405 TULIP POPLAR LN                                                                              FREDERICKSBRG    VA 22408‐2519
MOORMAN, ROBERT C                  224 S ROBY DR                                                                                    ANDERSON         IN 46012‐3251
MOORMAN, ROBERT E                  41 EMS W30 B LANE                                                                                NORTH WEBSTER    IN 46555
MOORMAN, ROBERT J                  5395 TIPPERARY LN                                                                                FLINT            MI 48506‐2264
MOORMAN, STEVEN P                  6180 SCULLY RD                                                                                   DEXTER           MI 48130‐9629
MOORMAN, THERESA A                 22316 MELDY LANE                                                                                 BROOKSVILLE      FL 34601‐2711
MOORMAN, THOMAS W                  815 N MICHIGAN AVE                                                                               FREMONT          MI 49412‐9089
MOORMAN, VERONICA                  3001 KING ST N EAST                                                                              ROANOKE          VA 24012
MOORMAN, VINCENT E                 27851 REXFORD RD                                                                                 BAY VILLAGE      OH 44140‐2134
MOORMAN, WENDELL A                 905 WINGRA CT                                                                                    KOKOMO           IN 46902‐5568
MOORPARK COLLEGE                   BUSINESS OFFICE                 7075 CAMPUS RD                                                   MOORPARK         CA 93021‐1605
MOORPARK UNIFIED SCHOOL DISTRICT                                   5297 MAUREEN LN                                                                   CA 93021
MOORS, JOSHUA J                    10376 COOLIDGE RD                                                                                GOODRICH         MI 48438‐9707
MOORS, PAULA I                     9451 GREEN ROAD                                                                                  GOODRICH         MI 48438‐9478
MOORS, PAULA I                     9451 GREEN RD                                                                                    GOODRICH         MI 48438‐9478
MOOS CHRISTOPH                     SPATGRUBE 13                    35685 MANDERBACH
MOOS KAREN                         PO BOX 1371                                                                                      TEMPLETON       CA 93465‐1371
MOOS LOU ANN                       MOOS, LOU ANN                   WILLIAM W CHEESEMAN   PO BOX 343 1124 EAST                       TROY            MO 63379
                                                                                         CHERRY STREET
MOOS LOU ANN                       MOOS, LOU ANN
MOOS LOU ANN                       WAKERFIELD, KENNETH C
MOOS, FRANCES R                    1282 NORMANDIE DR                                                                                AVON            IN 46123‐8047
MOOS, KEVIN C                      4828 NE 46TH TER                                                                                 KANSAS CITY     MO 64117‐1328
MOOS, LOU A                        4828 NE 46TH TER                                                                                 KANSAS CITY     MO 64117‐1328
MOOSA ABDUL RAHMAN HASSAN & CO     P.O. BOX 4                      MUSCAT 113                                   SULTANATE OF OMAN
                                                                                                                OMAN
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Name                                 Address1                        Address2            Address3         Address4                City                  State Zip
MOOSBERG, PEGGY J                    1615 HIGHLAND ST.                                                                            MESQUITE               TX 75149
MOOSBRUGGER, MARK T                  203 OLD CARRIAGE DR                                                                          ENGLEWOOD              OH 45322‐1172
MOOSBRUGGER, RICHARD C               6810 STILLMORE DR                                                                            ENGLEWOOD              OH 45322‐3744
MOOSE AUTO CARE                      1236 CENTRAL AVE                                                                             SUMMERVILLE            SC 29483‐3148
MOOSE EXPEDITING & FREIGHT SYSTEMS   19500 MIDDLEBELT RD STE 120                                                                  LIVONIA                MI 48152
INC
MOOSE JR, JAMES C                    9608 CHERRYFIELD DR                                                                          SAINT LOUIS           MO   63136‐5210
MOOSE JR, VICTOR C                   20739 NW QUAIL HOLLOW DR                                                                     PORTLAND              OR   97229‐1037
MOOSE, CYNTHIA J                     1240 MISSOURI CT APT 405                                                                     LIBERTY               MO   64068‐2675
MOOSE, DAYNA C                       3861 RAVENA AVE                                                                              ROYAL OAK             MI   48073‐6441
MOOSE, ELIZABETH A                   2802 A IVY CIRCLE                                                                            CORTLAND              OH   44410
MOOSE, HOWARD                        332 NW 29 PRIVATE RD                                                                         CLINTON               MO   64735
MOOSE, HOWARD                        208 BURNHAM DR                                                                               ALLIANCE              NE   69301‐2120
MOOSE, JOAN                          3217 PHEASANT RUN RD UNIT D                                                                  CORTLAND              OH   44410‐9133
MOOSE, NELL E                        3217 ARDIAN TRL                                                                              CHATTANOOGA           TN   37412‐1211
MOOSE, SCOTT C                       1113 WILLIS HILL RD                                                                          VICTOR                NY   14564‐9114
MOOSHY, NICHOLAS J                   2264 E NAPIER AVE                                                                            BENTON HARBOR         MI   49022‐1849
MOOSMANN ROGER P (442225)            SIMMONS FIRM                    PO BOX 559                                                   WOOD RIVER            IL   62095‐0559
MOOSMANN, ROGER E                    SIMMONS FIRM                    PO BOX 559                                                   WOOD RIVER            IL   62095‐0559
MOOSUP FIRE DISTRICT TAX COLLECTOR   PO BOX 596                                                                                   MOOSUP                CT   06354‐0596

MOOT, JON H                          100 MEADOW LN                                                                                GROSSE POINTE FARMS   MI   48236‐3803
MOOTE ELECTRICAL INC                 490 S OPDYKE RD                                                                              PONTIAC               MI   48341‐3119
MOOTHERY, THELMA M                   5029 N 86TH DR                                                                               GLENDALE              AZ   85305‐3314
MOOTMAG, PHILIP L                    PO BOX 6227                                                                                  HILO                  HI   96720
MOOTRY, ROZELL                       27065 PRINCETON                                                                              INKSTER               MI   48141‐2313
MOOTTORI‐KESKUS OY                   RATAKATU, 33                                                         LAPPEENRANTA 10 53100
                                                                                                          FINLAND
MOOTY JR, FRED M                    11708 SPINDRIFT LOOP                                                                          HUDSON                FL   34667‐5588
MOOTY, DAVID W                      54409 BRYCE CANYON TRL                                                                        MACOMB                MI   48042‐6109
MOOTY, DONALD R                     52522 CHARING WAY                                                                             SHELBY TOWNSHIP       MI   48315‐2547
MOOTY, MARJORIE G                   4842 BECHER DRIVE                                                                             DAYTON                OH   45427‐3018
MOOTZ, KENNETH W                    2835 S SUNNYSLOPE RD                                                                          NEW BERLIN            WI   53151‐3949
MOPKIN, WILLIE                      9591 PREST ST                                                                                 DETROIT               MI   48227‐2037
MOPKINS, GUY                        2113 SCHIPPERS LN                                                                             KALAMAZOO             MI   49048‐2414
MOPKINS, IMOGENE                    2113 SCHIPPERS LN                                                                             KALAMAZOO             MI   49048‐2414
MOPKINS, OLA                        16500 NORTH PARK DRIVE APT 303                                                                SOUTHFIELD            MI   48075
MOPPIN, ANDREA E                    21616 CALIFA ST APT 216                                                                       WOODLAND HILLS        CA   91367‐4913
MOPPIN, BERNICE D                   1543 GAULT WAY                                                                                SPARKS                NV   89431‐1821
MOPPIN, CURTIS B                    1179 63RD ST APT A                                                                            OAKLAND               CA   94608‐2247
MOPPIN, JOYCE M                     25721 TAMARISK PL                                                                             VALENCIA              CA   91355‐2427
MOPPIN, MARGARET                    963 W TENNYSON RD APT 4                                                                       HAYWARD               CA   94544‐5137
MOPPIN, MICHAEL D                   1042 STONEMARK TRL                                                                            LA VERGNE             TN   37086‐3822
MOQUET BORDE DIEUX GEENS & ASSOCIES 30 AVENUE DE MESSINE                                                  75008 PARIS FRANCE
                                                                                                          FRANCE
MOQUIN JR, JOSEPH E                  301 N FRANKLIN ST                                                                            WAYNESBORO            PA   17268‐1107
MOQUIN, AGNES E                      284 N MAIN ST APT 321                                                                        BRISTOL               CT   06010‐4983
MOQUIN, ALBION J                     150 FAIRFIELD ST                                                                             BRISTOL               CT   06010‐3621
MOQUIN, ROBERT D                     66 HIGH MEADOW ROAD                                                                          MARLBOROUGH           CT   06447
MOR LITE/NASHVILLE                   214 25TH AVE N                                                                               NASHVILLE             TN   37203‐1621
MOR TECH DESIGN INC                  44249 PHOENIX DR                                                                             STERLING HEIGHTS      MI   48314‐1466
MOR‐TECH DESIGN INC                  44249 PHOENIX DR                                                                             STERLING HEIGHTS      MI   48314‐1466
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Name                       Address1                             Address2                     Address3   Address4         City               State Zip
MORA ALEJANDRO             APT 1615                             1900 NORTH BAYSHORE DRIVE                                MIAMI               FL 33132‐3008
MORA CONTRETRAS, REBECCA   ATTN: CORPORATE OFFICER/AUTHORIZED   87 BATH ST                                               BALLSTON SPA        NY 12020‐1303
                           AGENT
MORA DAVID                 MORA, DAVID                          5055 WILSHIRE BLVD STE 300                               LOS ANGELES        CA   90036‐6101
MORA JR, ARMANDO           8706 GETTYSBURG WAY                                                                           TAMPA              FL   33635‐6214
MORA ROSSANNA              1661 TREESIDE DR                                                                              ROCHESTER HILLS    MI   48307‐3475
MORA, ALEJANDRO            1900 N BAYSHORE DR APT 1615                                                                   MIAMI              FL   33132
MORA, ARTURO               HC 11 BOX 48762                                                                               CAGUAS             PR   00725‐9043
MORA, BENNIE T             15886 CAMPBELL RD                                                                             DEFIANCE           OH   43512‐8833
MORA, CARMELITA            44001 RIVERGATE DR                                                                            CLINTON TOWNSHIP   MI   48038‐1366
MORA, CELESTE F            6186 MCCANDLISH RD                                                                            GRAND BLANC        MI   48439‐7431
MORA, DAVID                KROHN & MOSS ‐ CA,                   5055 WILSHIRE BLVD STE 300                               LOS ANGELES        CA   90036‐6101
MORA, DAVID L              4119 IRONSIDE DR                                                                              WATERFORD          MI   48329‐1634
MORA, DIANA L              163 W TENNYSON AVE                                                                            PONTIAC            MI   48340‐2673
MORA, DIANA LYNNE          163 W TENNYSON AVE                                                                            PONTIAC            MI   48340‐2673
MORA, DOLORES H            2763 ROY DR                                                                                   SAGINAW            MI   48601‐9212
MORA, DOMINGO F            16101 E 31ST TER S                                                                            INDEPENDENCE       MO   64055‐2721
MORA, EMILIO T             1700 GINTER RD                                                                                DEFIANCE           OH   43512‐9077
MORA, EUNICE I             PO BOX 749                                                                                    SUNSET BEACH       CA   09742‐0749
MORA, EVELIO R             1420 WISCONSIN AVE                                                                            BERWYN             IL   60402‐1255
MORA, FELIX F              18416 HOLKE ROAD                                                                              INDEPENDENCE       MO   64057‐1320
MORA, FELIX F              18416 HOLKE RD                                                                                INDEPENDENCE       MO   64057‐1320
MORA, GLADYS               920 HELEN DR                                                                                  MELROSE PARK       IL   60160‐2240
MORA, HENRY                2343 BELLEVIEW AVE                                                                            KANSAS CITY        MO   64108‐2307
MORA, ISIDORO P            133 S 10TH ST                                                                                 SANTA PAULA        CA   93060‐3701
MORA, JOSH W               APT T22                              5105 OLD BULLARD ROAD                                    TYLER              TX   75703‐3154
MORA, JULIETA              2288 BIRCHGLEN AV #161                                                                        SIMI VALLEY        CA   93063‐6515
MORA, LADISLAW L           18090 JUDICIAL WAY N                                                                          LAKEVILLE          MN   55044‐9373
MORA, LESLIE P             2310 OLD KANUGA ROAD                                                                          HENDERSONVLLE      NC   28739‐6748
MORA, LILY C               11109 DAVENRICH STREET                                                                        SANTA FE SPRINGS   CA   90670‐3521
MORA, LORRAINE             1024 FUCHSIA LN                                                                               SANTA PAULA        CA   93060‐1123
MORA, LOUIS R              903 COWAN AVE                                                                                 JEANNETTE          PA   15644‐1624
MORA, MANUEL A             349 BROADWAY APT 2                                                                            LONG BRANCH        NJ   07740‐6900
MORA, MANUEL A             349 BROADWAY                                                                                  LONG BRANCH        NJ   07740
MORA, MARCOS               1661 TREESIDE DR                                                                              ROCHESTER HILLS    MI   48307‐3475
MORA, MARIA C              4161 EATON                                                                                    KANSAS CITY        KS   66103‐3322
MORA, MARIA C              4161 EATON ST                                                                                 KANSAS CITY        KS   66103‐3322
MORA, MARTIN               22980 W HARRIS RD                                                                             BRANT              MI   48614‐8717
MORA, MARTIN D             6186 MCCANDLISH RD                                                                            GRAND BLANC        MI   48439‐7431
MORA, MIGUEL               8701 N ROBINHOOD AVE                                                                          KANSAS CITY        MO   64154‐7901
MORA, MIKE V               6513 W AVENUE L APT E                                                                         LANCASTER          CA   93536
MORA, OMAR                 163 W TENNYSON AVE                                                                            PONTIAC            MI   48340‐2673
MORA, PARKER L             2904 AERIAL AVE                                                                               KETTERING          OH   45419‐1816
MORA, RICHARD S            PO BOX 732                                                                                    SAN FERNANDO       CA   91341‐0732
MORA, ROSE                 19305 ROCK                                                                                    ROSEVILLE          MI   48066‐2621
MORA, ROSE                 19305 ROCK ST                                                                                 ROSEVILLE          MI   48066‐2621
MORA, ROSSANNA I           1661 TREESIDE DR                                                                              ROCHESTER HILLS    MI   48307‐3475
MORA, SAUL J               4670 COLONIAL DR APT 3                                                                        SAGINAW            MI   48603‐3926
MORA, SAUL J               APT 3                                4670 COLONIAL DRIVE                                      SAGINAW            MI   48603‐3926
MORA, T F                  6154 GRACE K DR                                                                               WATERFORD          MI   48329‐1327
MORA, TERRANCE L           1233 ALTA VISTA RD APT 3                                                                      SANTA BARBARA      CA   93103
MORA‐JACKSON, LISA M       3353 CONGRESS AVE                                                                             SAGINAW            MI   48602‐3161
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Name                               Address1                         Address2                 Address3    Address4         City              State Zip
MORABITO VINCENZO                  V. GABRIO SERBELLONI,59 00176                                                          ROME
MORABITO, CHARLES W                280 WINBOURNE RD                                                                       ROCHESTER         NY    14619‐2445
MORABITO, DAVID E                  45300 40TH ST                                                                          PAW PAW           MI    49079‐9611
MORABITO, FRANK A                  29576 PERDIDO BEACH BLVD         APT 804                                               ORANGE BEACH      AL    36561‐3390
MORABITO, FRANK M                  229 WOODSVIEW DR                                                                       WEBSTER           NY    14580‐9664
MORABITO, GAIL S                   9215 DEARDOFF RD                                                                       FRANKLIN          OH    45005‐5005
MORABITO, JAMES J                  6829 N EVANGELINE ST                                                                   DEARBORN HTS      MI    48127‐2031
MORABITO, JOHN M                   19 CHEYENNE DR                                                                         GIRARD            OH    44420‐3606
MORABITO, OLGA K                   3 HOGAN PL                                                                             YONKERS           NY    10706‐2805
MORABITO, OLGA K                   3 HOGAN PLACE                                                                          HASTINGS          NY    10706‐2805
MORABITO, PAULO                    43307 COVE CT                                                                          STERLING HTS      MI    48313‐2340
MORACCINI, STEFANO A               48569 VALLEY FORGE DR                                                                  MACOMB            MI    48044‐2057
MORACE, GARY L                     SHANNON LAW FIRM                 100 W GALLATIN ST                                     HAZLEHURST        MS    39083‐3007
MORACO, ANNETTE M                  36501 VALLEY VISTA DR                                                                  EASTLAKE          OH    44095‐2374
MORACZEWSKI, DONALD D              1625 WALDMAN AVE                                                                       FLINT             MI    48507‐1508
MORACZEWSKI, KAREN A               1625 WALDMAN AVE                                                                       FLINT             MI    48507‐1508
MORAD MORGAN
MORAD, PHILLIP G                   1804 VIENNA RD                                                                         NILES             OH    44446
MORADIA, HARESH J                  53646 BUCKINGHAM LN                                                                    SHELBY TOWNSHIP   MI    48316‐2014
MORADIAN, VIRGINIA M               177 MANOR WAY                                                                          ROCHESTER HILLS   MI    48309‐2018
MORADO, CRUZ A                     1997 GRANGE HALL RD                                                                    FENTON            MI    48430‐1625
MORADO, LUPE                       600 W 9TH ST APT 506                                                                   LOS ANGELES       CA    90015‐4314
MORADO, MARCOS E                   1997 GRANGE HALL RD                                                                    FENTON            MI    48430‐1625
MORAFCIK, DONNA M                  9771 S DEERPATH DR                                                                     OAK CREEK         WI    53154‐5016
MORAGA, KRYSTENA                   AVILA & PEROS                    6080 CENTER DR STE 725                                LOS ANGELES       CA    90045‐9204
MORAGA, ROBERT L                   1081 OFFSHORE ST                                                                       OXNARD            CA    93035‐1628
MORAHAN, SHARON R                  25407 PRESIDENT AVE                                                                    HARBOR CITY       CA    90710‐2615
MORAIMA ARMAS                      3030 W 111TH ST                                                                        CLEVELAND         OH    44111‐1808
MORAINE BUILDING & ZONING          ATTN: TONY WENZLER               4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE CITY ADMINISTRATION        ATTN: DAVID HICKS                4200 DRYDEN RD                                        MORAINE           OH    45439‐1495
MORAINE CITY ENGINEER              ATTN: DAVID HICKS                4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE CITY PLANNER               ATTN: MICHAEL HAMMES             4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE CLERK OF COURTS            ATTN: JEAN MATHENY               4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE COMMUNITY DEVELOPMENT      ATTN: MICHAEL DAVIS              4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE COMMUNITY IMPROVEMENT      4200 DRYDEN RD                                                                         MORAINE           OH    45439‐1432
CORPORATION
MORAINE ECONOMIC DEVELOPMENT       ATTN: MICHAEL DAVIS              4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE FIRE DEPT                  ATTN: STEVE KIRBY                4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE FIRE STATION               ATTN: ANTHONY TRICK              4747 S DIXIE DR                                       MORAINE           OH    45439‐2115
MORAINE FOP LODGE 100              PO BOX 49742                                                                           WEST CARROLLTON   OH    45449‐0742
MORAINE FOUNDATION                 4200 DRYDEN RD                                                                         MORAINE           OH    45439‐1432
MORAINE HUMAN RESOURCES DEPT       ATTN: JOHN GRUMBLES              4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE INCOME TAX DEPT            ATTN: LORA MARLETT               4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE OH INCOME TAX
MORAINE PARK TECHNICAL COLLEGE     235 N NATIONAL AVE                                                                     FOND DU LAC       WI    54935‐2884
MORAINE PLANT                      HOLD FOR RECONSIGNMENT                                                                 MORRAL            OH    43337
MORAINE POLICE DEPT                ATTN: THOMAS SCHENCK             4200 DRYDEN RD                                        MORAINE           OH    45439‐1432
MORAINE VALLEY COMMUNITY COLLEGE   10900 S 88TH AVE                                                                       PALOS HILLS       IL    60465‐2175

MORAINE, RICHARD G                 1786 LA LOMA RD                                                                        PASADENA          CA 91105‐1333
MORAIS MIRANDA                     32 PINE ST                                                                             SLEEPY HOLLOW     NY 10591‐1716
MORAIS, ALBANO G                   192 PLEASANT VALLEY ST                                                                 METHUEN           MA 01844‐5800
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Name                                  Address1                         Address2                        Address3                     Address4         City              State Zip
MORAIS, AMERICO                       387 FRANKLIN ST                                                                                                FRAMINGHAM         MA 01702‐6230
MORAIS, FRANCISCO                     1701 ARABIAN WAY                                                                                               FALLSTON           MD 21047‐1520
MORAIS, HELENA G                      604 LOOKOUT DR                                                                                                 COLUMBIA           TN 38401‐6139
MORAIS, ISIDRO G                      11 BAYBERRY LN                                                                                                 FRAMINGHAM         MA 01701‐3047
MORAIS, PETER J                       48659 SUNDANCE CT 159                                                                                          SHELBY TOWNSHIP    MI 48315
MORAITAKIS, MICHAEL G                 P.0. BOX 1998                                                                                                  WARREN             OH 44482
MORAITES, JOHN A                      8040 BRAINARD WOODS DR                                                                                         CENTERVILLE        OH 45458‐2907
MORALEE, DEBORAH L                    1004 E OTIS AVE                                                                                                HAZEL PARK         MI 48030‐1865
MORALEE, DOROTHY L                    116 BELLEVUE                                                                                                   CLAWSON            MI 48017‐2510
MORALEE, DOROTHY L                    116 BELLEVUE AVE                                                                                               CLAWSON            MI 48017‐2510
MORALES ALLAN                         2625 E PARK AVE                  APT 14101                                                                     TALLAHASSEE        FL 32301‐0810
MORALES ART                           MORALES, ART                     MIKHOV LAW OFFICES OF STEVE     640 S SAN VICENTE BLVD STE                    LOS ANGELES        CA 90048‐4554
                                                                                                       230
MORALES ART                           MORALES, ART                     640 S SAN VICENTE BLVD          STE 230                                       LOS ANGELES       CA   90048‐4654
MORALES AUTO BODY & REPAIR            ATTN: JOSE MORALES               100 39TH ST SW                                                                GRAND RAPIDS      MI   49548‐3104
MORALES CATHERIN                      2176 DUDLEY CIR                                                                                                LONG BEACH        CA   90755‐1282
MORALES ESTRELLA                      10703 BICKFORD AVE                                                                                             CLINTON           MD   20735‐3983
MORALES III, HENRY ISSAC              3670 WHITFIELD DR                                                                                              WATERFORD         MI   48329‐1163
MORALES JAVIER                        29592 HUBBLE WAY                                                                                               MURRIETA          CA   92563‐2773
MORALES JOHN                          MORALES, DAMARIS                 5055 WILSHIRE BLVD STE 300                                                    LOS ANGELES       CA   90036‐6101
MORALES JOHN                          MORALES, JOHN                    5055 WILSHIRE BLVD STE 300                                                    LOS ANGELES       CA   90036‐6101
MORALES JR, ANDRES                    102 PIN OAK PL                                                                                                 CAMPBELL          OH   44405‐1682
MORALES JR, HENRY                     10423 N BRAY RD                                                                                                CLIO              MI   48420‐9775
MORALES JR, MANUEL P                  521 WENTWORTH AVE                                                                                              SANTA BARBARA     CA   93101‐4434
MORALES JR., RODOLFO                  1435 S VERMONT AVE STE 20                                                                                      LOS ANGELES       CA   90006
MORALES JUDITH (ESTATE OF) (659547)   PAUL HANLEY & HARLEY             1608 4TH ST STE 300                                                           BERKELEY          CA   94710‐1749
MORALES KUILAN, MARIA D               TIRADO HERMINIO MARTINEZ         PO BOX 50189                                                                  TOA BAJA          PR   00950‐0189
MORALES LARRY                         PO BOX 357                                                                                                     EL DORADO         CA   95623‐0357
MORALES MARIA                         ALFARO, GUSTAVO                  440 LOUISIANA SUITE 2300                                                      HOUSTON           TX   77002
MORALES MARIA                         MORALES, MARIA MAGDALENA         440 LOUISIANA SUITE 2300                                                      HOUSTON           TX   77002
MORALES MARIA MAGDALENA               CUELLAR, EDGAR                   815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               CUELLAR, FRANCISCO               815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               CUELLAR, JUAN                    815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               CUELLAR, MANUEL                  815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               CUELLAR, MARIA                   815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               MORALES, MARIA MAGDALENA         815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               ZUNIGA, ALEXIS                   815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               ZUNIGA, CIARA                    815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               ZUNIGA, ISAURO JR                815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MARIA MAGDALENA               ZUNIGA, NANCY                    ONE FINANCIAL PLAZA SUITE 530                                                 HUNTSVILLE        TX   77340
MORALES MARIA MAGDALENA               ZUNIGA, NANCY                    815 WALKER ST STE 1600                                                        HOUSTON           TX   77002‐5769
MORALES MELINDA                       NO ADVERSE PARTY
MORALES RENE                          1030 EAST SILVERBELL ROAD                                                                                      LAKE ORION        MI 48360‐2333
MORALES ROBERT                        17104 LACEBARK ST                                                                                              FONTANA           CA 92337‐6861
MORALES TAMMY                         MORALES, TAMMY                   408 SE 22ND AVE                                                               CROSS CITY        FL 32628
MORALES, ADRES
MORALES, ALBERTO J                    20211 HILL SPRING                                                                                              WILDOMAR          CA   92595‐8161
MORALES, ANDRE R                      328 SOUTH STEWART AVENUE                                                                                       LOMBARD           IL   60148‐2763
MORALES, ANGEL                        PO BOX 17331                                                                                                   ROCHESTER         NY   14617‐0031
MORALES, ANGEL                        674 E 149TH ST APT 4F                                                                                          BRONX             NY   10455‐4325
MORALES, ANGEL                        674 E 149 ST                     APT 4‐F                                                                       BRONX             NY   10455‐4325
MORALES, ANGEL
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Name                   Address1                        Address2                     Address3   Address4         City              State Zip
MORALES, ANGEL L       54 LIVINGSTON ST                                                                         YOUNGSTOWN         OH 44506‐1143
MORALES, ANTHONY P     3716 WALTER AVE                                                                          CLEVELAND          OH 44134
MORALES, ARIANNA T     555 ENGLEWOOD AVE                                                                        ROYAL OAK          MI 48073‐2830
MORALES, ARIEL         P.0. BOX 20                                                                              ELIZABETH          NJ 07207
MORALES, ART           MIKHOV LAW OFFICES OF STEVE     425 S FAIRFAX AVE STE 308                                LOS ANGELES        CA 90036‐3148
MORALES, ARTURO        419 PIUTE TRL                                                                            WICHITA FALLS      TX 76310‐8399
MORALES, AUGUSTINE V   PO BOX 260                                                                               WEST UNION         SC 29696‐0260
MORALES, CHRISTINA     1414 NW 14TH ST                                                                          OKLAHOMA CITY      OK 73106‐4454
MORALES, CINDY M.      5382 WINELL ST                                                                           CLARKSTON          MI 48346‐3563
MORALES, CLAUDE J      *******BOX 288 MAIN ST                                                                   MILLINGTON         MD 21651‐0288
MORALES, CLAUDE J      PO BOX 288                                                                               MILLINGTON         MD 21651‐0288
MORALES, CLODOMIRO     PO BOX 5059                                                                              SAN SEBASTIAN      PR 00685‐5059
MORALES, CONNIE L      4134 HICKS HWY                                                                           OLIVET             MI 49076‐9676
MORALES, CRISTIAN R    2009 HIGHLAND AVE                                                                        MANHATTAN BCH      CA 90266‐4554
MORALES, DAMARIS       KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                               LOS ANGELES        CA 90036‐6101
MORALES, DAVID         612 E COMSTOCK ST                                                                        OWOSSO             MI 48867‐3202
MORALES, DAVID B       6073 AUGUSTA DR N APT D                                                                  SPEEDWAY           IN 46224‐3596
MORALES, DAVID N       1242 CENTER LANE                                                                         LOS BANOS          CA 93635‐4010
MORALES, DEAN J        3020 COVEY HL                                                                            OXFORD             MI 48371‐5406
MORALES, DIANE E       223 WILLIAM COOK BLVD                                                                    MANAHAWKIN         NJ 08050‐3667
MORALES, EDDIE         4777 COLUMBIA RD UNIT 101                                                                NORTH OLMSTED      OH 44070‐3601
MORALES, EDWIN         3188 SCRANTON RD                                                                         CLEVELAND          OH 44109‐1656
MORALES, EMELDA F      5408 ODESSA LN                                                                           AUSTIN             TX 78731‐4537
MORALES, EMMA          2170 KEYSTONE DR                                                                         NEW BRAUNFELS      TX 78130‐9081
MORALES, ERNEST M      PO BOX 581946                                                                            ELK GROVE          CA 95758‐0033
MORALES, ESTELLA T     2441 ALCOTT ST                                                                           BURTON             MI 48509‐1143
MORALES, EVANGELINE    118 LOY DR                                                                               SAN ANTONIO        TX 78228‐3934
MORALES, FACUNDO       4870 NE 16TH AVE                                                                         POMPANO BEACH      FL 33064‐5771
MORALES, FERMINA M     4108 S ROCKWELL                                                                          CHICAGO             IL 60632‐1151
MORALES, FLORA         12223 COLIMA RD                                                                          WHITTIER           CA 90604‐3024
MORALES, FRANCISCO     PO BOX 53054                                                                             LUBBOCK            TX 79453‐3054
MORALES, FRED A        1724 IRON LIEGE RD                                                                       INDIANAPOLIS       IN 46217‐4446
MORALES, GEORGE E      6718 OAK FARMS DR                                                                        WEST JORDAN        UT 84081‐1858
MORALES, HECTOR M      511 WASHINGTON ST                                                                        BRISTOL            PA 19007‐3910
MORALES, HENRY         2441 ALCOTT ST                                                                           BURTON             MI 48509‐1143
MORALES, HENRY L       471 LAKECREEK DR                                                                         NEW BRAUNFELS      TX 78130‐8392
MORALES, HENRY R       2989 VOORHEIS RD                                                                         WATERFORD          MI 48328‐3255
MORALES, HENRY R.      2989 VOORHEIS RD                                                                         WATERFORD          MI 48328‐3255
MORALES, HUMBERTO V    6511 HERITAGE                                                                            WEST BLOOMFIELD    MI 48322
MORALES, IRENE V       3303 GLENWOOD                                                                            SAGINAW            MI 48601‐4445
MORALES, IRMA M        3505 LOMA LN                                                                             BALDWIN PARK       CA 91706‐3844
MORALES, J M           663 N SPRING GARDEN AVE APT 3                                                            DELAND             FL 32720‐3192
MORALES, JAMES E       5213 CALLA AVE NW                                                                        WARREN             OH 44483‐1221
MORALES, JAVIEL        2885 PEASE DR                                                                            ROCKY RIVER        OH 44116
MORALES, JESUS R       185 DEVIN DR                                                                             GARNER             NC 27529‐8165
MORALES, JOHN          574 RIDGECLIFF DR                                                                        NEW BRAUNFELS      TX 78130‐8241
MORALES, JOHN          KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                               LOS ANGELES        CA 90036‐6101
MORALES, JOHNNY        SHANNON LAW FIRM                100 W GALLATIN ST                                        HAZLEHURST         MS 39083‐3007
MORALES, JOHNNY P      2300 SEYMOUR LAKE ROAD                                                                   ORTONVILLE         MI 48462‐9165
MORALES, JORGE         3514 CANADIAN STREET                                                                     SAN ANGELO         TX 76904‐3812
MORALES, JOSE          118 LOY DR                                                                               SAN ANTONIO        TX 78228‐3934
MORALES, JOSE          11 FREEMAN ST APT 1ST                                                                    NEW BRUNSWICK      NJ 08901
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Name                       Address1                           Address2                     Address3   Address4         City                  State Zip
MORALES, JOSE              11 FREEMAN ST FL 1                                                                          NEW BRUNSWICK          NJ 08901‐2209
MORALES, JOSE A            880 THIERIOT AVE APT 16G                                                                    BRONX                  NY 10473‐2828
MORALES, JOSE A            7702 SHELLEY DR                                                                             CLARKSTON              MI 48348‐4567
MORALES, JOSEPH            571 N BROADWAY                                                                              YONKERS                NY 10701‐1957
MORALES, JOSH A            4785 MOHAWK AVE                                                                             CLARKSTON              MI 48348‐3449
MORALES, JOSH AARON        4785 MOHAWK AVE                                                                             CLARKSTON              MI 48348‐3449
MORALES, JOSHUA            102 PIN OAK PL                                                                              CAMPBELL               OH 44405‐1682
MORALES, JUAN
MORALES, JUAN F            1432 GORDON ST                                                                              HOLLYWOOD             CA    90028‐8409
MORALES, JUDITH            C/O PAUL HANLEY & HARLEY           1608 4TH ST STE 300                                      BERKELEY              CA    94710‐1749
MORALES, JUSTIN            9193 DRIFTING BAY ST                                                                        LAS VEGAS             NV    89123‐2969
MORALES, LEOPOLDO L        623 CLARADAY ST APT 9                                                                       GLENDORA              CA    91740‐6526
MORALES, LINDA D           145 RIDGEVIEW DR                                                                            PULASKI               TN    38478‐8121
MORALES, LISA              TRACY FIRM                         5473 BLAIR RD STE 200                                    DALLAS                TX    75231‐4168
MORALES, LOUIS             71 CIRCLE CREEK WAY                                                                         ORMOND BEACH          FL    32174
MORALES, LUIS              5812 BONANZA DR TRLR 87                                                                     HALTOM CITY           TX    76137‐2232
MORALES, MARIA E           3702 RALPH ST                                                                               FLINT                 MI    48506‐4156
MORALES, MARIA MAGDALENA   OQUINN LAW FIRM                    440 LOUISIANA ST STE 2300                                HOUSTON               TX    77002‐4205
MORALES, MARIA MAGDALENA   WATTS LAW FIRM LLP                 2404 DUNLAVY ST STE 300                                  HOUSTON               TX    77006‐2404
MORALES, MARIA R           24 RICHWOOD WAY                                                                             BURLINGTON TOWNSHIP   NJ    08016
MORALES, MARIO A           719 N BUTTERFIELD RD                                                                        WEST COVINA           CA    91791‐1041
MORALES, MARTIN            2441 ALCOTT ST                                                                              BURTON                MI    48509‐1143
MORALES, MARY J            49 ELM ST 3                                                                                 SLEEPY HOLLOW         NY    10591
MORALES, MAYRA L           222 NORWAY AVE                                                                              TRENTON               NJ    08609‐1836
MORALES, MICHAEL A         3728 TOREY LN                                                                               ABINGDON              MD    21009‐2401
MORALES, MICHAEL ANTHONY   3728 TOREY LN                                                                               ABINGDON              MD    21009‐2401
MORALES, MINERVA           300A MITTEN LN                                                                              MOUNT LAUREL          NJ    08054‐3174
MORALES, NARCISCO P        4108 S ROCKWELL ST                                                                          CHICAGO                IL   60632‐1151
MORALES, NEREIDA           880 THIERIOT #16G                                                                           BRONX                 NY    10473‐2834
MORALES, NICASIO A         13207 BLIVEN RD                                                                             BYRON                 MI    48418‐8907
MORALES, NICOLE            378 ELM ST                                                                                  MOUNT MORRIS          MI    48458‐1912
MORALES, OSCAR G           743 GOODMAN ST N                                                                            ROCHESTER             NY    14609‐4635
MORALES, OSCAR G           743 N GOODMAN STREET                                                                        ROCHESTER             NY    14609‐4635
MORALES, PAUL R            6442 GRANDMONT AVE                                                                          DETROIT               MI    48228‐4720
MORALES, PEDRO             5291 GILBERT WAY                                                                            LAKE WORTH            FL    33463‐4429
MORALES, PRESCILLA         13903 PLACID DR                                                                             WHITTIER              CA    90604‐2655
MORALES, RAFAEL A          339 W GRAND LEDGE HWY                                                                       SUNFIELD              MI    48890‐9050
MORALES, RAMIRO R          PO BOX 1021                                                                                 SANTA TERESA          NM    88008‐1021
MORALES, RAMON C           8610 HONILEY ST                                                                             SAN ANTONIO           TX    78254‐2207
MORALES, RAMONA            4809B EXCALIBUR DR                                                                          EL PASO               TX    79902
MORALES, RAUL              JAIME L BREW CALLE 7‐216                                                                    PONCE                 PR    00730
MORALES, RAYMOND M         816 LAMBERTON ST                                                                            TRENTON               NJ    08611‐3410
MORALES, REBECCA           623 CLARADAY ST APT 9                                                                       GLENDORA              CA    91740‐6526
MORALES, REGINA            CONSUMER LEGAL SERVICES            1950 SAWTELLE BLVD STE 245                               LOS ANGELES           CA    90025‐7017
MORALES, RENE E            145 RIDGEVIEW DR                                                                            PULASKI               TN    38478‐8121
MORALES, RENE' J           1030 E SILVERBELL RD                                                                        LAKE ORION            MI    48360‐2333
MORALES, RENE' JOSE'       1030 E SILVERBELL RD                                                                        LAKE ORION            MI    48360‐2333
MORALES, RICARDO F.        305 N 38 1/2 ST                                                                             MCALLEN               TX    78501‐8104
MORALES, RICARDO F.        305 38 1/2 ST                                                                               MC ALLEN              TX    78501‐8104
MORALES, RICHARD A         9514 ROYALTON DR                                                                            SHREVEPORT            LA    71118‐4339
MORALES, RICHARD D         107 FOREST PARK DR                                                                          BEDFORD               IN    47421‐1908
MORALES, RICHARD D         108 FOREST PARK DR                                                                          BEDFORD               IN    47421‐1909
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Name                         Address1                        Address2                      Address3   Address4         City                  State Zip
MORALES, RICHARD H           1206 MARSHAL ST                                                                           WICHITA FALLS          TX 76301‐5706
MORALES, RICHARD HERNANDEZ   1206 MARSHAL ST                                                                           WICHITA FALLS          TX 76301‐5706
MORALES, ROBERT              674 CATHY ANN DR                                                                          BOARDMAN               OH 44512‐6574
MORALES, ROBERT D            21203 CHARTER OAKS DR                                                                     DAVISON                MI 48423‐3254
MORALES, ROBERT G            217 LORA LN                                                                               FILLMORE               CA 93015‐2114
MORALES, ROBERT N            14645 REECK RD                                                                            SOUTHGATE              MI 48195‐2563
MORALES, ROBERT W            2424 S PEASE RD                                                                           BELLEVUE               MI 49021‐9477
MORALES, ROBERTO             8213 GALE RD                                                                              OTISVILLE              MI 48463‐8401
MORALES, ROBERTO             8308 N PALMYRA RD                                                                         CANFIELD               OH 44406‐9790
MORALES, ROSA I              7818 KENTUCKY ST                                                                          DEARBORN               MI 48126‐1210
MORALES, ROSALINDA S         4434 STRADFORD PL                                                                         SAN ANTONIO            TX 78217‐1370
MORALES, RUBEN L             14588 PADDOCK ST                                                                          SYLMAR                 CA 91342‐4049
MORALES, SANDRA E            4231 WYOMING ST                                                                           KANSAS CITY            MO 64111‐4118
MORALES, SANDRA L            9532 KINGSWAY CIRCLE                                                                      CLARKSTON              MI 48348‐5404
MORALES, SONIA C             20211 HILL SPRING RD                                                                      WILDOMAR               CA 92595‐8161
MORALES, SUSAN A             431 CHALFONTE AVE                                                                         GROSSE POINTE FARMS    MI 48236‐2915
MORALES, SUZANNE T           430 SARATOGA DR                                                                           SAN ANTONIO            TX 78213‐3440
MORALES, TAMMY               408 SE 22 AVE                                                                             CROSS CITY             FL 32628‐5751
MORALES, THERESA L           1928 GREGORY AVE                                                                          FULLERTON              CA 92833‐2624
MORALES, U                   10 HARKFORT RD                                                                            NEWARK                 DE 19702‐6306
MORALES, UBALDO R
MORALES, VICTOR C            2316 HAZELWOOD AVE                                                                        SAGINAW               MI   48601‐3627
MORALES, VIRGINIA            1724 IRON LIEGE RD                                                                        INDIANAPOLIS          IN   46217‐4446
MORALES‐KEY, NANCY A         380 PROSPECT AVE # 1                                                                      BUFFALO               NY   14201
MORALEZ JR, LEANDRO S        15840 JAMES ST                                                                            HOLLAND               MI   49424‐6127
MORALEZ, MARTA LOPEZ         JOHNSON & MCELROY               5500 PRESTON RD STE 370                                   DALLAS                TX   75205‐2675
MORALEZ, MIGUEL J            519 BUFFALO RIDGE CIR                                                                     INDIANAPOLIS          IN   46227‐2886
MORALEZ, TOMASA              519 BUFFALO RIDGE CIR                                                                     INDIANAPOLIS          IN   46227‐2886
MORALMAR KITCHEN CABINETS
MORAN ALVIN P (481911)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                             STREET, SUITE 600
MORAN ANGELA                 MORAN, ANGELA                   33159 FORD RD                                             GARDEN CITY           MI   48135‐1153
MORAN BRIAN                  15844 CONSTITUTION DR                                                                     MACOMB                MI   48044‐1908
MORAN CADILLAC‐GMC, INC.     4511 24TH AVE                                                                             FORT GRATIOT          MI   48059‐3401
MORAN CADILLAC‐GMC, INC.     PATRICK MORAN                   4511 24TH AVE                                             FORT GRATIOT          MI   48059‐3401
MORAN CADILLAC‐GMC, INC.     PATRICK J MORAN                 4511 24TH AVE                                             FORT GRATIOT          MI   48059‐3401
MORAN CADILLAC‐GMC, INC.     PAT MORAN                       4511 24TH AVE                                             FORT GRATIOT          MI   48059‐3401
MORAN CADILLAC‐GMC, INC.     PATRICK J. MORAN                4511 24TH AVE                                             FORT GRATIOT          MI   48059‐3401
MORAN CHEVROLET              PO BOX 827                                                                                MOUNT CLEMENS         MI   48046‐0827
MORAN CHEVROLET, INC.        35500 S GRATIOT AVE                                                                       CLINTON TOWNSHIP      MI   48035‐2847
MORAN CHEVROLET, INC.        PATRICK MORAN                   35500 S GRATIOT AVE                                       CLINTON TOWNSHIP      MI   48035‐2847
MORAN DELBERT W (494027)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510
                                                             STREET, SUITE 600
MORAN DENNIS PATRICK         333 WASHINGTON BLVD # 302                                                                 MARINA DEL REY        CA 90292
MORAN EDWARD L (351609)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                             STREET, SUITE 600
MORAN EDWARDS                                                PO BOX 7404                                               FLINT                 MI   48507‐0404
MORAN FRANCIS J (114718)     PERLBERGER & HAFT               1 BALA AVE STE 400                                        BALA CYNWYD           PA   19004‐3210
MORAN FRANK                  PO BOX 7126                                                                               SPRING                TX   77387‐7126
MORAN I I I, THOMAS J        6390 CEDAR CREEK DR                                                                       JONES                 OK   73049‐9661
MORAN III, WILLIAM J         415 LAURELWOOD DR SE                                                                      WARREN                OH   44484‐2416
MORAN JOSEPH J SR (510584)   LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                   MIAMI                 FL   33143‐5163
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Name                             Address1                           Address2                         Address3   Address4         City                State Zip
MORAN JR, FRANCIS J              312 TWIN PEAKS LOOP                                                                             CANTON               GA 30114‐5708
MORAN JR, FRANCISCO              2009 OAKLAND                                                                                    HIGHLAND             MI 48356‐1315
MORAN JR, HUGH J                 9 FORSBERG ST                                                                                   WORCESTER            MA 01607‐1503
MORAN JR, JOHN F                 56205 BELLFORD                                                                                  SHELBY TOWNSHIP      MI 48316‐5103
MORAN JR, JOHN J                 4423 BOWEN RD                                                                                   TOLEDO               OH 43613‐3301
MORAN JR, JOHN JAMES             4423 BOWEN RD                                                                                   TOLEDO               OH 43613‐3301
MORAN JR, ROBERT J               31 GENESIS DR                                                                                   INWOOD               WV 25428‐4629
MORAN JR, ROBERT JAMES           31 GENESIS DRIVE                                                                                INWOOD               WV 25428‐4629
MORAN JR, THOMAS A               1201 OCEAN AVE                                                                                  SEA BRIGHT           NJ 07760
MORAN JR, WILLIE A               3314 ROANOKE STREET                                                                             SAGINAW              MI 48601‐6033
MORAN MOTORS, L.L.C.             DANIEL MORAN                       3050 KING RD                                                 CHINA                MI 48054‐1430
MORAN RICARDO                    MORAN, RICARDO                     640 S SAN VICENTE BLVD STE 230                               LOS ANGELES          CA 90048‐4654
MORAN RICARDO                    RENTERIA, MARIA                    640 S SAN VICENTE BLVD STE 230                               LOS ANGELES          CA 90048‐4654
MORAN THOMAS LAWRENCE (660917)   BELLUCK & FOX LLP                  546 5TH AVE #4                                               NEW YORK             NY 10036‐5000
MORAN TRANSPORTATION CORP        1000 ESTES AVE                                                                                  ELK GROVE VILLAGE     IL 60007‐4908
MORAN VERONICA                   316 W BROWNING RD                                                                               OAKLYN               NJ 08107‐1916
MORAN'S AUTO REPAIRS INC.        378 BELMONT ST                                                                                  WORCESTER            MA 01604‐1029
MORAN'S AUTO REPAIRS INC.        378 BELMONT ST                                                                                  WORCESTER            MA 01604‐1029
MORAN, ALBERTO                   4788 HARDING AVENUE                                                                             CLARKSTON            MI 48346‐3423
MORAN, ALLEN D                   101 BELT AVE                                                                                    EDGERTON             MO 64444‐9196
MORAN, ALVIN P                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA 23510‐2212
                                                                    STREET, SUITE 600
MORAN, ANGELA
MORAN, ANNA                      117 N BEHNKE RD                                                                                 COLDWATER           MI   49036
MORAN, ARTHUR R                  105 DANA LN                                                                                     BOSSIER CITY        LA   71111‐6321
MORAN, ARTHUR RAYMOND            105 DANA LN                                                                                     BOSSIER CITY        LA   71111‐6321
MORAN, AUGUSTO F                 5017 LAMB DR                                                                                    OAK LAWN            IL   60453‐3931
MORAN, BARBARA M                 8306 YELLOWSTONE RD                                                                             CHEYENNE            WY   82009‐1615
MORAN, BETTY                     2114 NORTH RD                                                                                   SNELLVILLE          GA   30078‐2669
MORAN, BEVERLY J                 11222 LONG LAKE DR                                                                              SPARTA              MI   49345‐8411
MORAN, BRIAN E                   4030 RIBLETT RD                                                                                 YOUNGSTOWN          OH   44515‐1334
MORAN, CARMEN                    96 MARIVA ST                                                                                    PONTIAC             MI   48342‐2821
MORAN, CARMEN                    96 MARIVA                                                                                       PONTIAC             MI   48342‐2821
MORAN, CAROL A                   1220 SOUTHLAND AVE                                                                              BUCYRUS             OH   44820‐3030
MORAN, CAROL A                   815 MACBETH CIR                                                                                 LAKEVILLE           MN   55044‐9583
MORAN, CAROL B                   4100 N RIVER RD NE # 211                                                                        WARREN              OH   44484‐1041
MORAN, CHARLES E                 3705 HASTINGS DR                                                                                ARLINGTON           TX   76013‐1927
MORAN, CHARLES E                 6533 DORR ST                                                                                    TOLEDO              OH   43615‐4203
MORAN, CHARLES EDWARD            6533 DORR ST                                                                                    TOLEDO              OH   43615‐4203
MORAN, CHARLOTTE M               2513 W JEFFERSON ST                                                                             VANDALIA            IL   62471‐1444
MORAN, CHAS J                    801 S EAST ST                                                                                   FENTON              MI   48430‐2969
MORAN, CHRISTINE A               903 STONY LAKE CT                                                                               OXFORD              MI   48371‐6738
MORAN, CLAIRE F                  5864 N SULTANA TER                                                                              BEVERLY HILLS       FL   34465‐2267
MORAN, CLYDE E                   24657 AUDREY AVE                                                                                WARREN              MI   48091‐1711
MORAN, COLLEEN M                 74 VEGOLA AVENUE                                                                                BUFFALO             NY   14225‐5022
MORAN, CRAIG J                   34627 JOHN HAUK ST                                                                              WESTLAND            MI   48185‐3516
MORAN, CRAIG JEFFERY             34627 JOHN HAUK ST                                                                              WESTLAND            MI   48185‐3516
MORAN, DANIEL G                  207 E CENTER ST                                                                                 BELDING             MI   48809‐2027
MORAN, DARREN C                  309 HILLCREST DR                                                                                SALINE              MI   48176‐1541
MORAN, DARRYLL                   437 ROSA AVE                                                                                    METAIRIE            LA   70005‐3419
MORAN, DAVID P                   1216 N WILLOW ST                                                                                RUSHVILLE           IN   46173‐1132
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Name                Address1                           Address2                      Address3   Address4         City               State Zip
MORAN, DELBERT W    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
MORAN, DENA         812 RHOADS DR                                                                                SPRINGFIELD        PA   19064‐1612
MORAN, DENNIS M     39 BERMUDA AVE                                                                               LAKE HAVASU CITY   AZ   86403‐5357
MORAN, DIANE B      3049 OLD GROVE LN                                                                            TOANO              VA   23168‐9609
MORAN, DONALD       168 GUINEVERE DR                                                                             ROCHESTER          NY   14626‐4309
MORAN, DONALD E     4422 HADLEIGH DR                                                                             INDIANAPOLIS       IN   46241‐7183
MORAN, DONALD K     180 HERCULES DR                                                                              SPARKS             NV   89441‐8509
MORAN, DONALD P     2468 ARUGULA DR                                                                              NORTH PORT         FL   34289‐5250
MORAN, DONALD R     115 MCCOLL ST                                                                                YALE               MI   48097‐3329
MORAN, DONNA A      152 WALLACE DR                                                                               SALINE             MI   48176‐1026
MORAN, EDITH E      3305 LOMAS SERENAS DR                                                                        ESCONDIDO          CA   92029‐7904
MORAN, EDNA P.      9812 SMITH ROAD                                                                              BELLEVUE           OH   44811‐9605
MORAN, EDWARD A     4813 SEBASTIAN DR                                                                            LOCKPORT           NY   14094‐1807
MORAN, EDWARD J     131 N MAIN ST                                                                                BELLINGHAM         MA   02019‐1346
MORAN, EDWARD L     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                       STREET, SUITE 600
MORAN, EILEEN       34 ALTA LN                                                                                   KOKOMO             IN   46902‐5217
MORAN, EILEEN T     56 MAIDA TER                                                                                 RED BANK           NJ   07701‐6265
MORAN, ELEANORE B   700 N BRUCE LN APT 111                                                                       GLENWOOD           IL   60425‐1133
MORAN, ELEANORE B   700 BRUCE LN                       UNIT 111                                                  GLENWOOD           IL   60425‐1133
MORAN, ELIAS Y      5206 GREEN CORAL                                                                             SAN ANTONIO        TX   78223
MORAN, ELINER S     1333 SANTA BARBARA BLVD APT 441                                                              CAPE CORAL         FL   33991‐2857
MORAN, ELLEN M      1301 VAN VLEET RD                                                                            FLUSHING           MI   48433‐9735
MORAN, ELLEN M      701 W HARCOURT # 278 B                                                                       ANGOLA             IN   46703
MORAN, ESTELLA F    EDGEWOOD MANOR PO BOX 789                                                                    LUCASVILLE         OH   45648‐0789
MORAN, EZILDA P     7153 MCKEAN ROAD                                                                             YPSILANTI          MI   48197‐9413
MORAN, FLORENCE E   PO BOX 677 RM 811                                                                            WAYNESVILLE        OH   45068
MORAN, FLOYD C      26361 LEHIGH ST                                                                              INKSTER            MI   48141‐3230
MORAN, FRANCIS      PERLBERGER & HAFT                  1 BALA AVE STE 400                                        BALA CYNWYD        PA   19004‐3210
MORAN, FRANCIS J    PAUL REICH & MYERS PC              1608 WALNUT ST                STE 500                     PHILADELPHIA       PA   19103‐5446
MORAN, FRANCIS P    3633 MAHLON MOORE RD                                                                         SPRING HILL        TN   37174‐2131
MORAN, GEORGE E     77977 DELAND RD                                                                              RICHMOND           MI   48062‐2800
MORAN, GEORGE H     7817 N COUNTY ROAD 875 E                                                                     LOSANTVILLE        IN   47354‐9640
MORAN, GERARD W     3049 OLD GROVE LN                                                                            TOANO              VA   23168‐9609
MORAN, GRACE P      201 NORTH BERNIECE STREET                                                                    WICHITA            KS   67206‐2739
MORAN, GREGORY A    9257 MONICA DR                                                                               DAVISON            MI   48423‐2861
MORAN, HILDA J      1410 E HALE AVE                                                                              PORTER             OK   74454‐1146
MORAN, HUGH G       38737 KINGSBURY CT                                                                           LIVONIA            MI   48154‐1311
MORAN, HUNTER F     127 LAKEVIEW RD                                                                              NILES              OH   44446‐2103
MORAN, ISABELL      1479 KEMPER                                                                                  HOLT               MI   48842‐9512
MORAN, ISABELL      1479 KEMPER AVE                                                                              HOLT               MI   48842‐9512
MORAN, JACK V       6945 MAURY DR                                                                                SAN DIEGO          CA   92119‐2030
MORAN, JAMES A      13800 165TH AVENUE                                                                           LEROY              MI   49655‐8177
MORAN, JAMES E      2625 N STATE HIGHWAY 360 APT 421                                                             GRAND PRAIRIE      TX   75050
MORAN, JAMES M      11338 BROUGHAM RUN                                                                           FORT WAYNE         IN   46845‐2144
MORAN, JAMES P      2181 ORCHARD LAKE DR                                                                         FENTON             MI   48430‐1449
MORAN, JAMES S      10242 BELSAY RD                                                                              MILLINGTON         MI   48746‐9751
MORAN, JAMES W      4921 THRUSH DR                                                                               INDIANAPOLIS       IN   46224‐2440
MORAN, JANE C       1530 CYPRESS ST                                                                              WEST BLOOMFIELD    MI   48324‐3911
MORAN, JANET S      133 SOUTHWOOD DR                                                                             BOSSIER CITY       LA   71111‐6050
MORAN, JANINA M     381 RIDGEBURY DRIVE                                                                          VENIA              OH   45385‐3954
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Name                 Address1                          Address2                  Address3   Address4         City              State Zip
MORAN, JEAN MARIE    7550 SEVILLE AVE                                                                        NEW PORT RICHEY    FL 34653‐4161
MORAN, JEANETTE      2250 N CANTON CENTER RD APT 206                                                         CANTON             MI 48187‐2946
MORAN, JERRY M       8143 SYLMAR AVE                                                                         PANORAMA CITY      CA 91402‐5238
MORAN, JESUS         40569 WALTER DR                                                                         STERLING HTS       MI 48310‐1960
MORAN, JOAN M        617 IBIS CIR                                                                            EAST LANSING       MI 48823‐8321
MORAN, JOE G         1110 ORVILLE AVE                                                                        KANSAS CITY        KS 66102‐5140
MORAN, JOHN A        13534 W COUNTRYSIDE DR                                                                  SUN CITY WEST      AZ 85375‐4714
MORAN, JOHN A        68 HARRISON AVE                                                                         LOCKPORT           NY 14094‐3230
MORAN, JOHN D        1526 KEARNEY ST                                                                         NILES              OH 44446‐3844
MORAN, JOHN E        613 FOREST EDGE DR                                                                      EAST AMHERST       NY 14051‐2466
MORAN, JOHN E        1717 SAINT TROPEZ CT                                                                    KISSIMMEE          FL 34744‐3960
MORAN, JOHN J        20 TARA LOOP                                                                            BELEN              NM 87002
MORAN, JOHN J        3 WELSHIRE DRIVE                                                                        EGG HBR TWP        NJ 08234‐7112
MORAN, JOHN J        4 FLOWER ST                                                                             NEW ROCHELLE       NY 10801‐7507
MORAN, JOHN P        9004 N BRITT AVE                                                                        KANSAS CITY        MO 64154‐2024
MORAN, JOHN P        9404 ULTRA DR                                                                           LAKELAND           FL 33810‐4351
MORAN, JOHN P        1920 GERSHWIN DR                                                                        JANESVILLE         WI 53545‐0817
MORAN, JOHN S        11698 N 80TH PL                                                                         SCOTTSDALE         AZ 85260‐5650
MORAN, JOHNNY A      13352 SEVEN MILE POST RD                                                                ATHENS             AL 35611‐7646
MORAN, JOSE          7311 AQUA LN                                                                            HOUSTON            TX 77072‐2318
MORAN, JOSEPH D      7748 JOSE LAKE DR                                                                       SOUTH BRANCH       MI 48761‐9602
MORAN, JOSEPH J      LIPMAN DAVID M                    5901 SW 74TH ST STE 304                               MIAMI              FL 33143‐5163
MORAN, JOSEPH M      6363 SHERMAN DR                                                                         LOCKPORT           NY 14094‐6517
MORAN, JOSEPH M      586 LILLIAN TER                                                                         UNION              NJ 07083‐9010
MORAN, JOSEPHINE L   PO BOX 6506                                                                             HOLLISTON          MA 01746‐6506
MORAN, JUDITH L      93 PARLIAMENT LN                                                                        FLINT              MI 48507‐5929
MORAN, JUNE T        13 WOODROW AVE FL 2                                                                     WEST PATERSON      NJ 07424‐2738
MORAN, KATHLEEN E    2015 S MARION AVE                                                                       JANESVILLE         WI 53546‐5995
MORAN, KATHY S       53108 JESSICA LN                                                                        CHESTERFIELD       MI 48051‐1764
MORAN, KENNETH W     3606 MERRITT LAKE DR                                                                    METAMORA           MI 48455‐8981
MORAN, KEVIN C       124 COUNCIL ST                                                                          NIAGARA FALLS      NY 14304‐4418
MORAN, KEVIN M       5500 KECK RD                                                                            LOCKPORT           NY 14094‐9305
MORAN, L T           15075 STEEL ST                                                                          DETROIT            MI 48227‐4058
MORAN, LARRY D       101 GREENBRIAR DR                                                                       CORTLAND           OH 44410‐1676
MORAN, LARRY D       5324 MILLCREEK CIR DR                                                                   INDEPENDENCE       KY 41051
MORAN, LARRY J       3584 W 46TH ST                                                                          CLEVELAND          OH 44102‐6058
MORAN, LARRY L       1921 E 47TH ST                                                                          ANDERSON           IN 46013‐2715
MORAN, LAVINA E      1206 STELLA DR                                                                          BALTIMORE          MD 21207‐4966
MORAN, LAWRENCE D    2916 STETSON ST                                                                         MELBOURNE          FL 32901‐6908
MORAN, LEONARD T     PO BOX 1832                                                                             MOUNT DORA         FL 32756‐1832
MORAN, LORELLE J     9124 ORTONVILLE RD                                                                      CLARKSTON          MI 48348‐2847
MORAN, LUIS          10382 SPRUCE CT                                                                         FORISTELL          MO 63348‐2372
MORAN, MADELINE      25 ANELLA DR                                                                            BETHANY            CT 06524‐3239
MORAN, MARGARET      DURST LAW FIRM PC                 319 BROADWAY                                          NEW YORK           NY 10007
MORAN, MARGARET E    15622 DENBY                                                                             REDFORD            MI 48239‐3930
MORAN, MARGARET E    2016 QUAIL RUN DR                                                                       CORTLAND           OH 44410‐1805
MORAN, MARGARET F    701 MARKET ST APT 120                                                                   OXFORD             MI 48371‐3572
MORAN, MARGARET F    701 MARKET ST                     APT‐120                                               OXFORD             MI 48371‐3572
MORAN, MARGARET M    8127 LAUVER RD                    C/O D.M. PETERS                                       PLEASANT HILL      OH 45359‐8745
MORAN, MARGARET R    63 NEHANTIC TRL                                                                         OLD SAYBROOK       CT 06475‐1810
MORAN, MARIA C       5017 LAMB DR                                                                            OAK LAWN            IL 60453
MORAN, MARIE T       15802 S BRENTWOOD ST APT 2903                                                           OLATHE             KS 66062‐8009
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Name                  Address1                           Address2                            Address3   Address4         City            State Zip
MORAN, MARJORIE S     1100 CURLEW RD #28                                                                                 DUNEDIN          FL 34698‐1906
MORAN, MARK D         6349 S PARK BLVD                                                                                   PARMA            OH 44134‐4242
MORAN, MARVIN T       BOX 302                                                                                            LYNCHBURG        OH 45142‐0302
MORAN, MARVIN T       PO BOX 302                                                                                         LYNCHBURG        OH 45142‐0302
MORAN, MARY E         S31W33372 COUNTY ROAD G                                                                            DOUSMAN          WI 53118‐9624
MORAN, MICHAEL        3 WRAY STREET                                                                                      YORK             SC 29745‐1633
MORAN, MICHAEL        DURST LAW FIRM PC                  319 BROADWAY                                                    NEW YORK         NY 10007
MORAN, MICHAEL C      1 DREW AVE                                                                                         BRICK            NJ 08724‐2527
MORAN, MICHAEL C      22 ASYLUM ST                                                                                       MENDON           MA 01756
MORAN, MICHAEL E      1185 ATLANTIC ST NE                                                                                WARREN           OH 44483‐4102
MORAN, MICHAEL F      43 JOCLYN AVE                                                                                      FRAMINGHAM       MA 01701‐4441
MORAN, MICHAEL J      1965 HAWTHORNE BLVD                                                                                BRUNSWICK        OH 44212‐4236
MORAN, MICHAEL J      309 FULTON ST                                                                                      WILLIAMSTON      MI 48895‐1525
MORAN, MICHAEL L      PO BOX 354                                                                                         CONTINENTAL      OH 45831‐0354
MORAN, MICHAEL LYNN   PO BOX 354                                                                                         CONTINENTAL      OH 45831‐0354
MORAN, MILTON G       15 VIRGINIA DR                                                                                     ROCHDALE         MA 01542‐1201
MORAN, MORRIS G       PO BOX 23                                                                                          OLCOTT           NY 14126‐0023
MORAN, NANCY A        801 S EAST ST                                                                                      FENTON           MI 48430‐2969
MORAN, NORMA A        727 WING ST 1                                                                                      PONTIAC          MI 48340
MORAN, PATRICIA S     1753 RUBY AVE                                                                                      ROCHESTER HLS    MI 48309‐4279
MORAN, PATRICK        WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                               NEW YORK         NY 10005

MORAN, PATRICK J      25383 FAWN DR                                                                                      NORTH OLMSTED   OH   44070‐1262
MORAN, PAUL K         340 WINTHROP LN                                                                                    SAGINAW         MI   48638‐6259
MORAN, PAULINE D      10191 LAKEVIEW DR                                                                                  ATLANTA         MI   49709‐9224
MORAN, PEGGY A        PO BOX 152                                                                                         GRAY HAWK       KY   40434‐0152
MORAN, PHILLIP R      22325 LANGE ST                                                                                     ST CLAIR SHRS   MI   48080‐2870
MORAN, PHYLLIS J      6655 JACKSON RD UNIT 214                                                                           ANN ARBOR       MI   48103‐9540
MORAN, R              1119 WILWOOD DR                                                                                    KOKOMO          IN   46901
MORAN, R D            13712 FALMOUTH DR                                                                                  TUSTIN          CA   92780
MORAN, RALPH K        2330 LEIBY OSBORNE RD                                                                              SOUTHINGTON     OH   44470‐9567
MORAN, RANDALL C      3640 MAY CENTER RD                                                                                 LAKE ORION      MI   48360‐2520
MORAN, REDUS W        11800 VANZILLE LN                                                                                  ATHENS          AL   35611‐6225
MORAN, ROBERT C       10191 LAKEVIEW DR                                                                                  ATLANTA         MI   49709‐9224
MORAN, ROBERT C       9073 WYNONA CT                                                                                     YPSILANTI       MI   48197
MORAN, ROBERT D       6133 EAST ST                                                                                       NORTH BRANCH    MI   48461‐9725
MORAN, ROBERT D       176 WILCOX RD                                                                                      YOUNGSTOWN      OH   44515‐4276
MORAN, ROBERT E       34 ALTA LN                                                                                         KOKOMO          IN   46902‐5217
MORAN, ROBERT E       70 LORA LN                                                                                         HAMILTON        OH   45013‐5004
MORAN, ROBERT G       9763 WINDING GREEN WAY                                                                             CENTERVILLE     OH   45458‐6009
MORAN, ROBERT J       5943 CEDAR RIDGE DR                                                                                ANN ARBOR       MI   48103‐8791
MORAN, ROBERT J       5829 QUAIL RUN DR                                                                                  GROVE CITY      OH   43123‐8791
MORAN, ROBERT J       1081 PROSPERITY PT                                                                                 GREENSBORO      GA   30642‐4410
MORAN, ROBERT L       3402 W PERRY ST                                                                                    INDIANAPOLIS    IN   46221‐2137
MORAN, ROBERT W       679 W DAVISON LAKE RD                                                                              OXFORD          MI   48371‐1527
MORAN, RODOLFO T      315 FARNSWORTH ST                                                                                  WHITE LAKE      MI   48386‐3123
MORAN, ROGER D        765 DAVIS ST                                                                                       YPSILANTI       MI   48198‐5745
MORAN, ROGER L        PO BOX 27                                                                                          CENTERPOINT     IN   47840‐0027
MORAN, RONALD G       PO BOX 278                                                                                         GENEVA          IN   46740‐0278
MORAN, RONALD J       PO BOX 6557                                                                                        READING         PA   19610‐0557
MORAN, RONALD L       6600 N RAIDER RD                                                                                   MIDDLETOWN      IN   47356‐9751
MORAN, S L            891 STATE ROUTE 511                                                                                ASHLAND         OH   44805
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Name                     Address1                         Address2                  Address3   Address4         City              State Zip
MORAN, SCOTT W           662 US HIGHWAY 12 AND 18 12 18                                                         CAMBRIDGE          WI 53523
MORAN, SEAN
MORAN, SHIRLEY A         20729 SHANNON ST                                                                       TAYLOR            MI   48180‐2932
MORAN, SR, JOSEPH J      C/O THE LIPMAN LAW FIRM          5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES      FL   33146
MORAN, STEVE L           1619 MONTEREY LN                                                                       JANESVILLE        WI   53546‐5755
MORAN, STEVEN A          920 WINDPOINT CT                                                                       FORT WAYNE        IN   46818‐8441
MORAN, STEVEN J          3585 PARKER RD                                                                         DAVISBURG         MI   48350‐2237
MORAN, SUSAN D           5640 N KARLE ST                                                                        WESTLAND          MI   48185‐3175
MORAN, TERESA            2290 LIBERTY DR                                                                        FLORISSANT        MO   63031‐2522
MORAN, TERRY L           9812 SMITH RD                                                                          BELLEVUE          OH   44811‐9605
MORAN, THOMAS D          4449 WHITTUM RD                                                                        EATON RAPIDS      MI   48827‐8035
MORAN, THOMAS D          2021 EDWARD LN W                                                                       KIMBALL           MI   48074‐1922
MORAN, THOMAS D          217 WILDLIFE TRL                                                                       GREER             SC   29650‐3219
MORAN, THOMAS LAWRENCE   BELLUCK & FOX LLP                546 5TH AVE #4                                        NEW YORK          NY   10036‐5000
MORAN, THOMAS O          9973 LAUREL VALLEY AVENUE CIR                                                          BRADENTON         FL   34202‐4009
MORAN, VELMA G           10508 E 80TH ST                                                                        RAYTOWN           MO   64138‐2126
MORAN, VERA WILLIAMS     RR 1 BOX 121A                                                                          HAMBLETON         WV   26269‐9338
MORAN, VICKIE C          1068 TINA CT                                                                           RADCLIFF          KY   40160‐9599
MORAN, VIRGINIA M        2562 TUSON DR APT 1D                                                                   WATERFORD         MI   48329
MORAN, WILLIAM           21 TULA DR                                                                             PORT ORANGE       FL   32129‐3651
MORAN, WILLIAM J         4247 OTISCO RD                                                                         TULLY             NY   13159‐9760
MORAN, WILLIAM M         1915 PLEASANT GROVE RD                                                                 LANSING           MI   48910‐2435
MORAN, YVONNE F          6041 OVIEDO AVE                                                                        NEW PORT RICHEY   FL   34653‐4109
MORAN,ROBERT E           70 LORA LN                                                                             HAMILTON          OH   45013‐5004
MORANA, PHILIP J         319 LAYER RD                                                                           HOLLAND           OH   43528‐8946
MORANA, SALVATORE J      1750 BULLIS RD                                                                         ELMA              NY   14059‐9659
MORAND JR, MARK E        1124 CARTEE RD                                                                         ANDERSON          SC   29625‐6314
MORAND, DONALD J         130 RIVER PARK PL                                                                      DUNDEE            MI   48131‐2026
MORAND, DOROTHY J.       151 E BAY DR                                                                           WALLED LAKE       MI   48390‐3526
MORAND, FRANCES          1224 N SCHEURMANN RD                                                                   ESSEXVILLE        MI   48732‐1724
MORAND, LOFTON           224 S TILDEN ST                                                                        PONTIAC           MI   48341‐1863
MORAND, MARK E           307 KEYSTONE ST                                                                        BAY CITY          MI   48706‐4069
MORAND, PATRICK D        711 E NORTH BOUTELL RD                                                                 KAWKAWLIN         MI   48631‐9744
MORAND, PAUL J           PO BOX 196                                                                             HARTLAND          MI   48353‐0196
MORAND, RALPH J          5527 GAERTNER CT                                                                       BAY CITY          MI   48706‐3110
MORAND, THEODORE W       2590 N EAST DR                                                                         TAWAS CITY        MI   48763‐9409
MORANDINI, DENNIS L      17106 GLADWIN DR                                                                       BROWNSTOWN        MI   48174‐5923
MORANDINI, JEREMY M      PO BOX 46890                                                                           KANSAS CITY       MO   64188‐6890
MORANG, BRUCE L          2586 COSTA MESA RD                                                                     WATERFORD         MI   48329‐2429
MORANG, BRUCE L.         2586 COSTA MESA RD                                                                     WATERFORD         MI   48329‐2429
MORANI, GEORGE H         19 HIDEAWAY LN                                                                         EAST WAREHAM      MA   02538‐1109
MORANIEC, LAWRENCE J     296 VILLA CREEK PKWY                                                                   CANTON            GA   30114‐7025
MORANO, CHRISTOPHER M    2145 BURNSIDE DR                                                                       DAYTON            OH   45439‐2701
MORANO, DONALD N         WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                       NEW YORK          NY   10038
MORANO, DONNA            8 HAWTHORNE AVE                                                                        PORT CHESTER      NY   10573‐2927
MORANO, MICHAEL          135 NEW YORK AVE                                                                       NEWARK            NJ   07105‐1222
MORANO,CHRISTOPHER M     2145 BURNSIDE DR                                                                       DAYTON            OH   45439‐2701
MORANSKI, JOHN W         1008 SCOTTS RIDGE TRL                                                                  APEX              NC   27502‐6880
MORANSKY R WILLIAM       3665 KAREN DR                                                                          MINERAL RIDGE     OH   44440
MORANT, ALBERTA          617 RAIBLE AVE                                                                         ANDERSON          IN   46011‐1953
MORANT, JOHN L           617 RAIBLE AVE                                                                         ANDERSON          IN   46011‐1953
MORANTES, DAVID V        1728 LEXINGTON                                                                         MILFORD           MI   48380‐3141
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Name                                  Address1                           Address2                      Address3   Address4         City               State Zip
MORANTES, NIKI                        1728 LEXINGTON                                                                               MILFORD             MI 48380‐3141
MORANTES, RAQUEL G                    35200 SIMS ST APT 215                                                                        WAYNE               MI 48184‐1288
MORANTY, JOAN                         208 N HAWTHORNE ST                                                                           WESTLAND            MI 48185‐3604
MORAR, THOMAS                         154 GREELEY LN                                                                               YOUNGSTOWN          OH 44505‐4822
MORAS, AMBER LYNN
MORAS, JIMMY
MORAS, JIMMY P                        ROY CHRIS J JR                     PO BOX 1592                                               ALEXANDRIA          LA   71309‐1592
MORAS, JIMMY P                        ROY CHRIS J SR LAW OFFICE OF       PO BOX 1911                                               ALEXANDRIA          LA   71309‐1911
MORAS, SHERRIE
MORAS, SUZZY MAE
MORASCO, DENNIS J                     3724 HURON ST                                                                                DEARBORN           MI    48124‐3822
MORASKI GWENDOLYN                     20 RUTHIES LN                                                                                WEST SIMSBURY      CT    06092‐2023
MORAST, LEEORDIS                      30003 ALETA CIR                                                                              WARREN             MI    48093‐3030
MORAST, LUANN                         123 W MICHIGAN ST                                                                            ADRIAN             MI    49221‐3343
MORAST, MICHAEL E                     14363 ALLEN RD                                                                               CLINTON            MI    49236‐9608
MORATAYA, RAFAEL A                    5203 VILLA DEL MAR AVE APT 1320                                                              ARLINGTON          TX    76017‐1726
MORATH AUTOMOTIVE REPAIR              1211 W BROADWAY                                                                              MONMOUTH           IL    61462‐1512
MORATH, JO ANN S                      142 PNPNDAGA AVE                                                                             BUFFALO            NY    14220‐2839
MORAVCHEK, VIOLET M                   5776 REDWOOD COURT                                                                           MENTOR ON THE      OH    44060‐2811
MORAVCHIK, TOMMY                      20651 E 12 MILE RD                                                                           ROSEVILLE          MI    48066‐2281
MORAVCIK, PAMELA L                    6386 FOREST PARK DR                                                                          N RIDGEVILLE       OH    44039‐1648
MORAVEC LARRY                         909 PRAIRIE LN                                                                               MARSHALLTOWN       IA    50158‐4696
MORAVEC VICTOR (ESTATE OF) (507570)   SIEBEN POLK LAVERDIERE & DUSICH    999 WESTVIEW DR                                           HASTINGS           MN    55033‐2432

MORAVEC, DARYL L                      1141 THORN RIDGE DR                                                                          HOWELL             MI    48843‐6107
MORAVEC, KEITH E                      225 7TH ST                                                                                   DOWNERS GROVE      IL    60515‐5350
MORAVEC, RONALD E                     5935 BROOKBANK RD                                                                            DOWNERS GROVE      IL    60516‐1851
MORAVEC, VICTOR                       SIEBEN POLK LAVERDIERE & DUSICH    999 WESTVIEW DR                                           HASTINGS           MN    55033‐2432
MORAVEK, KAREL                        1810 E TAHQUAMENON CT 210                                                                    BLOOMFIELD HILLS   MI    48302
MORAWA, TODD J                        42495 HEYDENREICH RD                                                                         CLINTON TWP        MI    48038‐2321
MORAWA, TODD JAMES                    42495 HEYDENREICH RD                                                                         CLINTON TWP        MI    48038‐2321
MORAWETZ, KATHLEEN A                  3923 N 74TH ST                                                                               MILWAUKEE          WI    53216‐1905
MORAWSKI, ANNETTE M                   2587 ORBIT DR                                                                                LAKE ORION         MI    48360‐1969
MORAWSKI, BARBARA A                   43586 PINTAIL DR                                                                             CLINTON TWP        MI    48038‐1178
MORAWSKI, BRIAN K                     1105 SHELLY AVE                                                                              MAUMEE             OH    43537‐2918
MORAWSKI, DAVID J                     43856 GUNNISON DR                                                                            CLINTON TWP        MI    48038‐5514
MORAWSKI, EDWARD J                    43586 PINTAIL DR                                                                             CLINTON TWP        MI    48038‐1178
MORAWSKI, PAULINE                     40 LENOX COURT                                                                               PISCATAWAY         NJ    08854
MORAWSKI, REGINA C                    14174 VENICE DR                                                                              STERLING HTS       MI    48313‐4341
MORAY, ADELBERT L                     2301 CAROL WAY                                                                               LANSING            MI    48911‐1685
MORAZAN, FRANCISCO
MORAZAN, FRANCISCO                    GREENE BROILLET TAYLOR WHEELER &   100 WILSHIRE BLVD STE 2100                                SANTA MONICA       CA 90401‐1162
                                      PANISH
MORBER, STEVE                         1200 JAY ST                                                                                  WATERFORD          MI 48327‐2927
MORBERN USA INC                       3195 DAYTON XENIA RD               STE 900                                                   BEAVERCREEK        OH 45434‐6391
MORBIATO SILVANO                      VIA CISMON, 8
MORBITZER, INA B                      246 CORONADO ST                                                                              PORT SAINT JOE     FL    32456‐6465
MORBY CHARLES (ESTATE OF)             C/O GORI JULIAN & ASSOCIATES PC    156 N MAIN ST                                             EDWARDSVILLE       IL    62025
MORBY, CHARLES                        C/O GORI JULIAN & ASSOCIATES P C   156 N MAIN ST                                             EDWARDSVILLE       IL    62025
MORBY, JAMES K                        7900 W 130TH ST                                                                              OVERLAND PARK      KS    66213‐3723
MORCOM SAMUEL THOMAS SR (429496)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                         STREET, SUITE 600
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Name                           Address1                        Address2                      Address3   Address4         City               State Zip
MORCOM, FREDERICK P            9224 APPLE ORCHARD DR                                                                     FENTON              MI 48430‐9064
MORCOM, FREDERICK PAUL         9224 APPLE ORCHARD DR                                                                     FENTON              MI 48430‐9064
MORCOM, JOAN M.                5316 CHIN MAYA DR                                                                         SWARTZ CREEK        MI 48473
MORCOM, JUDITH                 3875 N HERRINGTON RD                                                                      WEBBERVILLE         MI 48892‐9548
MORCOM, JUDY L                 9224 APPLE ORCHARD DR                                                                     FENTON              MI 48430‐9064
MORCOM, JUDY LYNN              9224 APPLE ORCHARD DR                                                                     FENTON              MI 48430‐9064
MORCOM, MARSHALL W             29726 ORVYLLE DR                                                                          WARREN              MI 48092‐4239
MORCOM, SAMUEL THOMAS          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
MORCOM, THOMAS W               606 DETROIT AVE                                                                           LAKE ORION         MI 48362‐2332
MORCUS, DONALD J               4625 BOXWOOD DR                                                                           BRUNSWICK          OH 44212‐2403
MORDAHAY NAMET                 R                                                                                         ISTANBUL
MORDAHAY NAMET                 GAYRETTEPE RUSTU BEY SOK.       NO.10/3
MORDARSKI, CHESTER J           32249 SAINT ANNES DR                                                                      WARREN             MI   48092‐3852
MORDAS, ALGERT J               66 SURREY DR                                                                              BRISTOL            CT   06010‐7619
MORDAS, MARY C                 66 SURREY DRIVE                                                                           BRISTOL            CT   06010‐7619
MORDAS, MICHAEL P              91 SONSTROM RD                                                                            BRISTOL            CT   06010‐2852
MORDECAI V EFRON               6700 192ND ST APT 1701                                                                    FRESH MEADOWS      NY   11365
MORDECAI, GEORGE W             1811 LONESOME BEND RD                                                                     GADSDEN            AL   35903‐7641
MORDECHAI BLACHORSKY IRA       9 WASHINGTON AVE                                                                          LAKEWOOD           NJ   08701
MORDECZKO, ANNE T              3511 CAREY RD                                                                             PHILADELPHIA       PA   19154‐4008
MORDEN TODD                    MORDEN, TODD                    1101 FEEHANVILLE DRIVE                                    MOUNT PROSPECT     IL   60056
MORDEN, DAVID O                970 EUGENE DR                                                                             OXFORD             MI   48371‐4732
MORDEN, EARL W                 6010 S SCRIBNER RD                                                                        DURAND             MI   48429‐9123
MORDEN, GERALD E               1386 MAIN ST                                                                              SNOVER             MI   48472‐9355
MORDEN, GREGORY B              14968 DESHLER CT                                                                          CHARLOTTE          NC   28273
MORDEN, LEONARD J              355 S CHIPPEWA ST                                                                         SHEPHERD           MI   48883‐9077
MORDEN, LINDA S                15044 WILLOWWOOD CT                                                                       GRAND HAVEN        MI   49417‐9148
MORDEN, LORN R                 34751 RHONSWOOD ST                                                                        FARMINGTON HILLS   MI   48335‐5040
MORDEN, RUSSELL L              1528 DREXEL RD                                                                            LANSING            MI   48915‐1208
MORDEN, TODD                   1101 FEEHANVILLE DR                                                                       MOUNT PROSPECT     IL   60056‐6008
MORDEN, WESLEY J               5375 MCCORMICK RD                                                                         MT STERLING        KY   40353‐7853
MORDENGA, ANTHONY F            3808 SUNBIRD CIR                                                                          SEBRING            FL   33872‐1435
MORDENT, MARY H                116 MORELAND RD.                                                                          NILES              OH   44446‐3216
MORDESS BENJAMIN               805 S 9TH ST                                                                              MONROE             LA   71202‐2313
MORDICA JR, JOHN E             PO BOX 188                                                                                HAWK POINT         MO   63349‐0188
MORDINO, MARK C                1960 SAN VICENTE AVE                                                                      LONG BEACH         CA   90815‐3255
MORDO, WILLIAM H               60 BRIGHAM AVE                                                                            MARLBOROUGH        MA   01752‐4522
MORDOCCO, GINO D               6184 PAWNEE PL                                                                            POLAND             OH   44514‐1856
MORDOWANEC, NATALIA            29134 LUND AVENUE                                                                         WARREN             MI   48093‐2489
MORDUE, RICHARD A              4096 W PINEWOOD DR                                                                        ROSCOMMON          MI   48653‐9396
MORDUKHOVICH, GREGORY          5139 VINCENNES CT                                                                         BLOOMFIELD HILLS   MI   48302‐2557
MORE BUICK CHEVROLET PONTIAC   1114 W HIGHWAY 24                                                                         OSBORNE            KS   67473‐1632
MORE BUSINESS SOLUTIONS        3000 NORTHWOODS PKWY STE 140                                                              NORCROSS           GA   30071‐4787
MORE JOY AUTOMOTIVE REPAIR     1325 PICO BLVD                                                                            SANTA MONICA       CA   90405‐1516
MORE, BETTY K                  7430 LAKE BREEZE DR. UNIT 207                                                             FORT MYERS         FL   33907‐8058
MORE, CELINDA                  2805 FLEEP ST                                                                             BROWNSVILLE        TX   78521
MORE, CELINDA                  2805 FLEET ST                                                                             BROWNSVILLE        TX   78521‐2854
MORE, ESTELLE                  3145 MURRAY HILL DR                                                                       SAGINAW            MI   48601‐5634
MORE, KENNETH R                1468 BRENTWOOD AVE                                                                        BRICK              NJ   08724‐4124
MOREA, BRYAN R                 1350 WINDING RIDGE DR APT 1B                                                              GRAND BLANC        MI   48439‐7569
MOREA, DOUGLAS J               291 DOGWOOD DRIVE                                                                         MANCHESTER         TN   37355‐7331
                               09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                           Address1                           Address2                     Address3   Address4         City            State Zip
MOREA, DOUGLAS JAMES           1015 SCOTT RD                                                                               HAZEL GREEN      AL 35750
MOREA, INA                     291 DOGWOOD DR                                                                              MANCHESTER       TN 37355
MOREA, INA                     291 DOGWOOD DRIVE                                                                           MANCHESTER       TN 37355‐7331
MOREA, RONALD D                4317 CARMANWOOD DR                                                                          FLINT            MI 48507‐5604
MOREAN OGLETREE                6820 WILLOW CREEK DR                                                                        HUBER HEIGHTS    OH 45424‐2487
MOREAN, JACK R                 33811 SPRING DR                    100 TEAL DR                                              LEESBURG         FL 34788‐3413
MOREARTY, MARY L               3031 STILES RD                                                                              BROWN CITY       MI 48416‐9125
MOREARTY, MARY L               3031 STILES                                                                                 BROWN CITY       MI 48416‐9125
MOREAU JENNIFER                MOREAU, JENNIFER                   831 DESOTO ST                                            ALEXANDRIA       LA 71301‐7634
MOREAU MARKETING & SALES INC   485 GLENN LINK RD                                                                           LEXINGTON        NC 27295‐8312
MOREAU, ALLEN K                5975 W MICHIGAN AVE UNIT C3                                                                 SAGINAW          MI 48638‐5933
MOREAU, ALYSSA                 TRLR 445                           6859 TOM HEBERT ROAD                                     LAKE CHARLES     LA 70607‐7495
MOREAU, ALYSSA                 PO BOX 82008                       BOX 82008                                                LAFAYETTE        LA 70598
MOREAU, BEVERLY M              3287 W GRACELAWN AVE                                                                        FLINT            MI 48504‐1476
MOREAU, CAROL L                481 BOCA CIEGA POINT BLVD N                                                                 ST PETERSBURG    FL 33708‐2733
MOREAU, COLLEEN K              4437 RAINBOW LN                                                                             FLINT            MI 48507‐6232
MOREAU, DAN E                  321 4TH ST NE                                                                               NAPLES           FL 34120
MOREAU, DAVID E                2511 SWAFFER RD                                                                             MILLINGTON       MI 48746‐9614
MOREAU, DAVID EDWARD           2511 SWAFFER RD                                                                             MILLINGTON       MI 48746‐9614
MOREAU, DELANO E               1323 MCKIMMY DR                                                                             BEAVERTON        MI 48612‐9190
MOREAU, EARL JOSEPH            7191 ACORN CIR                                                                              MOUNT MORRIS     MI 48458‐9448
MOREAU, EARL JOSEPH            2283 E TOBIAS RD                                                                            CLIO             MI 48420‐7949
MOREAU, FRANK                  CAUBARREAUX BRIAN AND ASSOCIATES   PO BOX 129                                               MARKSVILLE       LA 71351‐0129

MOREAU, GREGORY A              7048 S ELMS RD                                                                              SWARTZ CREEK    MI 48473‐9423
MOREAU, JAMES                  3803 ANNAPOLIS CV                                                                           LAGO VISTA      TX 78645‐6605
MOREAU, JEANETTE P             6454 POTTER RD                                                                              BURTON          MI 48509‐1394
MOREAU, JENNIFER
MOREAU, JENNIFER               PHARIS AND PHARIS                  831 DESOTO ST                                            ALEXANDRIA       LA   71301‐7634
MOREAU, JENNIFER               CAUBARREAUX BRIAN AND ASSOCIATES   PO BOX 129                                               MARKSVILLE       LA   71351‐0129

MOREAU, JENNIFER               144 W TUNICA DR PO BOX 129                                                                  MARKSVILLE      LA    71351
MOREAU, JENNIFER               MOREAU, FRANK                      144 W TUNICA DR PO BOX 129                               MARKSVILLE      LA    71351
MOREAU, JOSEPHINE M            PO BOX 6364                                                                                 BOSTON          MA    02114‐0017
MOREAU, KENNETH L              1104 HARBOR CV                                                                              BAY CITY        MI    48706‐3953
MOREAU, LILLIAN K              210 MACOMBER AVE                                                                            AUBURN          MI    48611
MOREAU, MARCEL R               APT 1115                           3400 CUSTER ROAD                                         PLANO           TX    75023‐7541
MOREAU, MARLAND E              4301 CUSTER AVE                                                                             FLINT           MI    48507‐2780
MOREAU, NICHOLAS               143 RUE NORMANDIE                                                                           EUNICE          LA    70535‐6539
MOREAU, NICHOLAS               ANDERSON & DOZIER                  PO BOX 82008                                             LAFAYETTE       LA    70598‐2008
MOREAU, NICHOLAS               FARRAR & BALL LLP                  1010 LAMAR ST STE 1600                                   HOUSTON         TX    77002‐6325
MOREAU, PAMELA                 PO BOX 82008                       BOX 82008                                                LAFAYETTE       LA    70598
MOREAU, PAMELA                 143 RUE NORMANDIE                                                                           EUNICE          LA    70535‐6539
MOREAU, PAMELA                 3803 ANNAPOLIS CV                                                                           LAGO VISTA      TX    78645‐6605
MOREAU, PATRICIA S             501 KEYSTONE ST                                                                             BAY CITY        MI    48706‐4072
MOREAU, PIERRE A               43603 SONOMA CT                                                                             STERLING HTS    MI    48314‐1302
MOREAU, RENE L                 32847 LAKE MEAD DR                                                                          FREMONT         CA    94555‐1227
MOREAU, RICHARD A              3812 SE 18TH PL                                                                             CAPE CORAL      FL    33904‐5009
MOREAU, RICHARD D              5020 CHURCHGROVE RD                                                                         FRANKENMUTH     MI    48734‐9129
MOREAU, ROBERT J               6162 HEDGEROW CIR                                                                           GRAND BLANC     MI    48439‐9787
MOREAU, RONALD L               9602 ELLSWORTH RD                                                                           EAST JORDAN     MI    49727‐9577
MOREAU, SUSAN M.               13906 ROCKY RDG                                                                             HARTLAND        MI    48353‐1706
                                      09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                  Address1                         Address2                     Address3   Address4         City              State Zip
MOREAUX, LESTER J                     5685 BANKS RD                                                                             FORT WORTH         TX 76140‐8005
MOREAUX, LESTER JAMES                 5685 BANKS RD                                                                             FORT WORTH         TX 76140‐8005
MOREBOUNCE RENTALS                    DAMIAN SAMUEL                    4804 TURNBERRY DR                                        FREDERICKSBURG     VA 22408‐9590
MORECROFT, CHARLES C                  355 S CHIPPEWA ST                                                                         SHEPHERD           MI 48883‐9077
MOREDECHAI M BLACHORSKY IRR TR        9 WASHINGTON AVE                                                                          LAKEWOOD           NJ 08701
MOREDECHAI M BLACHORSKY IRR TR        9 WASHINGTON AVE                                                                          LAKEWOOD           NJ 08701
TRUST
MOREE LORIS D (501726)                DONALDSON & BLACK                208 W WENDOVER AVE                                       GREENSBORO        NC    27401‐1307
MOREE, CALVIN D                       57 CALVIN LN                                                                              COLUMBIA          MS    39429‐9201
MOREE, DAVID E                        3886 MAXWELL RD                                                                           LEXINGTON         OH    44904‐9719
MOREE, DAVID G                        893 SHORE BEND BLVD                                                                       KOKOMO            IN    46902‐5186
MOREE, LORIS D                        DONALDSON & BLACK                208 W WENDOVER AVE                                       GREENSBORO        NC    27401‐1307
MOREE, MABEL                          12900 SUPERIOR AVE APT 301                                                                CLEVELAND         OH    44112
MOREE, PAIN MGM BILL                  PO BOX 584                                                                                ALBANY            GA    31702‐0584
MOREE, RITA MAIN
MOREE, RONALD F                       2040 TIMBERCREEK LN                                                                       MANDEVILLE        LA    70448‐7531
MOREEN JR, JAMES R                    5607 BIRCH DR                                                                             DAVISBURG         MI    48350‐3350
MOREFIELD JR, LARRY W                 5527 ADINA STREET                                                                         INDIANAPOLIS      IN    46203‐4978
MOREFIELD, CHARLES N                  5524 HICKORY RIDGE RD                                                                     SPOTSYLVANIA      VA    22551‐2401
MOREFIELD, CLARENCE A                 734 MASTERPIECE DR                                                                        SUN CITY CENTER   FL    33573‐6588
MOREFIELD, DOROTHEA R                 734 MASTERPIECE DR                                                                        SUN CITY CENTER   FL    33573‐6588
MOREFIELD, DOUGLAS S                  13900 BENTON RD                                                                           GRAND LEDGE       MI    48837‐9764
MOREFIELD, LARRY W                    5527 ADINA ST                                                                             INDIANAPOLIS      IN    46203‐4978
MOREFIELD, LARRY WAYNE                5527 ADINA ST                                                                             INDIANAPOLIS      IN    46203‐4978
MOREFIELD, PARMA F                    2102 EDWARDS RD                                                                           GROVE CITY        OH    43123‐2905
MOREFIELD, PATRICIA A                 1717 N LLANO ST APT 2                                                                     JUNCTION          TX    76849‐3465
MOREFIELD, RAYMOND W                  RR 7                                                                                      GREENFIELD        IN    46140
MOREFIELD, RICHARD W                  11645 GERA RD                                                                             BIRCH RUN         MI    48415‐9464
MOREHART CHEVROLET CO                 31 PARKER AVE                                                                             DURANGO           CO    81303‐7978
MOREHART CHEVROLET CO                 J. MURPHY                        31 PARKER AVE                                            DURANGO           CO    81303‐7978
MOREHART MURPHY REGIONAL AUTO         31 PARKER AVE                                                                             DURANGO           CO    81303‐7978
CENTE
MOREHART, CHARLES T                   9620 RIVER RIDGE RD                                                                       FORT SMITH        AR    72903‐5332
MOREHART, JASON L                     149 AARON CT                                                                              TROY              MO    63379‐4603
MOREHART, JOSEPH B                    9532 N KIDDER RD                                                                          EDGERTON          WI    53534‐9011
MOREHART, ROBERT L                    181 MARKLEY RD                                                                            LONDON            OH    43140‐8707
MOREHEAD DEAN                         19320 SW WILLOW CREEK CT                                                                  ALOHA             OR    97006‐2423
MOREHEAD JAMES (514801)               ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE         MD    21202
                                                                       CHARLES CENTER 22ND FLOOR
MOREHEAD OPAL (328714) ‐ MOREHEAD     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE         MD 21202
ROBERT L                                                               CHARLES CENTER 22ND FLOOR
MOREHEAD STATE UNIVERSITY             100 ADMISSIONS CENTER                                                                     MOREHEAD           KY   40351
ENROLLMENT SERVICES
MOREHEAD STATE UNIVERSITY OFFICE OF   301 HOWELL MCDOWELL ADMIN                                                                 MOREHEAD           KY   40351
FINANCIAL AID
MOREHEAD STATE UNIVERSITY OFFICE OF   305 HOWELL MCDOWELL AD BLDG                                                               MOREHEAD           KY   40351
FINANCIAL AID
MOREHEAD, BERNICE                     9150 FREE SHORT PK                                                                        CAMDEN            OH    45311
MOREHEAD, BETTY                       5105 WILTON DR                                                                            MONROE            LA    71202‐6860
MOREHEAD, BETTY S                     5105 WILTON DR                                                                            MONROE            LA    71202‐6860
MOREHEAD, CHARLES L                   3115 E 400 S                                                                              ANDERSON          IN    46017‐9707
MOREHEAD, DOUGLAS L                   10567 FAIRMOUNT RD                                                                        NEWBURY           OH    44065
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Name                             Address1                             Address2                        Address3                      Address4         City              State Zip
MOREHEAD, EBONY                  1407 OAKLAWN DR                                                                                                     MONROE             LA 71202‐3035
MOREHEAD, EBONY K                1407 OAKLAWN DR                                                                                                     MONROE             LA 71202‐3035
MOREHEAD, EUGENE G               1703 DELAWARE DR                                                                                                    LAKE MILTON        OH 44429‐9714
MOREHEAD, GEORGIA                2279 HILLCREST                                                                                                      INGLESIDE          TX 78362‐6145
MOREHEAD, JACK C                 PO BOX 166                                                                                                          SMITHVILLE         IN 47458‐0166
MOREHEAD, JAMES                  ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                                      BALTIMORE          MD 21202
                                                                      CHARLES CENTER 22ND FLOOR
MOREHEAD, JOHN                   PO BOX 862                                                                                                          ORE CITY          TX   75683‐0862
MOREHEAD, JOHN W                 3002 SUNSET DR                                                                                                      INGLESIDE         TX   78362‐4034
MOREHEAD, JOHNNY R               417 CORRIENTE TRAIL                                                                                                 AZLE              TX   76020‐3642
MOREHEAD, KENNETH H              97 W 1300 N                                                                                                         ALEXANDRIA        IN   46001‐8955
MOREHEAD, MARILYN K              PO BOX 166                                                                                                          SMITHVILLE        IN   47458‐0166
MOREHEAD, MICHAEL E              18617 NEGAUNEE                                                                                                      REDFORD           MI   48240‐2026
MOREHEAD, NOVICE L               1563 E 100 N                                                                                                        KOKOMO            IN   46901‐3413
MOREHEAD, RICK K                 122 WESTMORELAND DR W                                                                                               KOKOMO            IN   46901‐5108
MOREHEAD, RICK L                 26912 SLUSSER DR                                                                                                    DEFIANCE          OH   43512‐8873
MOREHEAD, ROBERT L               ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                                      BALTIMORE         MD   21202
                                                                      CHARLES CENTER 22ND FLOOR
MOREHEAD, VERNON L               1609 WOODHURST DR                                                                                                   DEFIANCE          OH   43512‐3441
MOREHEAD, VIRGIL P               401 ENCHANTED DR                                                                                                    ANDERSON          IN   46013‐1074
MOREHEAD, WILLIE                 1800 PLUM ST                                                                                                        MONROE            LA   71202‐3066
MOREHOUSE BILL                   MOREHOUSE, BILL                      1060 1ST AVE STE 400                                                           KING OF PRUSSIA   PA   19406‐1336
MOREHOUSE BILL                   MOREHOUSE, HEATHER                   KAHN & ASSOCIATES               1060 FIRST AVENUE SUITE 400                    KING OF PRUSSIA   PA   19406

MOREHOUSE COLLEGE                8606 SNOWDEN LOOP                                                                                                   LAUREL            MD 20708‐2362
MOREHOUSE DONALD (ESTATE OF)     KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                                  CLEVELAND         OH 44114
(482617)                                                              BOND COURT BUILDING
MOREHOUSE INST/YORK              1742 6TH AVE                                                                                                        YORK              PA   17403‐2643
MOREHOUSE KIM A                  570 E MAIN ST                                                                                                       STOCKBRIDGE       MI   49285
MOREHOUSE PARISH                 PO BOX 672                             SALES/USE TAX COMMISSION                                                     BASTROP           LA   71221‐0672
MOREHOUSE PARISH                 CLERK OF COURT                         PO BOX 1543                                                                  BASTROP           LA   71221‐1543
MOREHOUSE PARISH                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 672                                                                   BASTROP           LA   71221‐0672

MOREHOUSE PARISH                 PO BOX 672                                                                                                          BASTROP           LA   71221‐0672
MOREHOUSE PARISH TAX COLLECTOR   351 S FRANKLIN ST                                                                                                   BASTROP           LA   71220‐4540
MOREHOUSE, ALAN R                1352 MISS ELLIE DR                                                                                                  KALAMAZOO         MI   49009
MOREHOUSE, ALMOND                SIMMONS FIRM                         PO BOX 521                                                                     EAST ALTON        IL   62024‐0519
MOREHOUSE, ALVIN E               501 PINETREE DR                                                                                                     FORT WAYNE        IN   46819‐2327
MOREHOUSE, ALVIN EDWARD          501 PINETREE DR                                                                                                     FORT WAYNE        IN   46819‐2327
MOREHOUSE, BETTY J               12625 FIVE MILE ROAD                                                                                                FREDERICKSBRG     VA   22407‐6685
MOREHOUSE, BILL                  KAHN & ASSOCIATES                    55 PUBLIC SQ STE 650                                                           CLEVELAND         OH   44113‐1909
MOREHOUSE, DALE R                123 HIGHLAND AVE                                                                                                    TONAWANDA         NY   14150‐3932
MOREHOUSE, DELMA R               137 FISHERMANS CV                                                                                                   ROCHESTER         NY   14626‐4855
MOREHOUSE, DELMA R               137 FISHERMENS COVE                                                                                                 ROCHESTER         NY   14626‐4626
MOREHOUSE, DENNIS E              2511 DIER ST                                                                                                        LANSING           MI   48910‐5819
MOREHOUSE, DONALD                KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                                   CLEVELAND         OH   44114
                                                                      BOND COURT BUILDING
MOREHOUSE, HEATHER               KAHN & ASSOCIATES                    55 PUBLIC SQ STE 650                                                           CLEVELAND         OH   44119‐1909
MOREHOUSE, JOHN A                17063 SE 115TH TERRACE RD                                                                                           SUMMERFIELD       FL   34491‐7841
MOREHOUSE, KEITH E               6 DEWEY AVE                                                                                                         TERRYVILLE        CT   06786‐6324
MOREHOUSE, LEE R                 4581 ELMONT DR                                                                                                      CINCINNATI        OH   45245‐1008
MOREHOUSE, LEO J                 212 E HARRIS ST                                                                                                     CHARLOTTE         MI   48813‐1515
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Name                          Address1                            Address2                      Address3          Address4              City           State Zip
MOREHOUSE, LINDA              123 HIGHLAND RD                                                                                           TONAWANDA       NY 14150‐3932
MOREHOUSE, LOUIS B            239 N VALLEY ST                                                                                           WEST BRANCH     MI 48661
MOREHOUSE, MARGARET E         C/O JOHN J FOLEY                    SKILLED NURSING FACILITY      14 GLOVER DRIVE                         YAPHANK         NY 11980
MOREHOUSE, MARY M             3004 STANFORD ST APT A                                                                                    GREENVILLE      TX 75401‐6546
MOREHOUSE, ROBERT K           8009 W SOUTH DR                                                                                           YORKTOWN        IN 47396‐1454
MOREHOUSE, THOMAS E           4056 E 54TH ST                                                                                            MOUNT MORRIS    MI 48458‐9421
MOREHOUSE, WILLIAM A          75 ROSS AVE                                                                                               BUFFALO         NY 14207‐1523
MOREHOUSE, WILLIAM J          PO BOX 371                                                                                                PERRY           MI 48872‐0371
MOREILLON, ARCHIE R           1105 ROBIN DR                                                                                             ANDERSON        IN 46013‐1335
MOREILLON, EDWIN E            3898 E STATE ROAD 38                                                                                      MARKLEVILLE     IN 46056‐9768
MOREILLON, TED A              8070 N COUNTY ROAD 600 W                                                                                  MIDDLETOWN      IN 47356‐9405
MOREILLON, WILBUR L           1328 W 700 S                                                                                              PENDLETON       IN 46064‐9118
MOREIN MOTOR COMPANY, INC.    1320 W MAIN ST                                                                                            VILLE PLATTE    LA 70586‐2802
MOREIN MOTOR COMPANY, INC.    RANDALL MOREIN                      1320 W MAIN ST                                                        VILLE PLATTE    LA 70586‐2802
MOREIRA LUIZ                  1004 HARDING RD                                                                                           ELIZABETH       NJ 07208‐1010
MOREIRA, CARLOS P             AZENHA POUTENA                                                                      PORTUGAL 3780
MOREIRA, DAVID J              482 OCIE WAY                                                                                              HAYWARD        CA   94541‐7454
MOREIRA, ISIDORO              9004 CANDLESTICK CIR                                                                                      SHREVEPORT     LA   71118‐2301
MOREIRA, PAUL M               140 7TH AVE APT 5B                                                                                        NEW YORK       NY   10011‐1836
MOREIRA, STEVEN               PO BOX 522440                                                                                             LONGWOOD       FL   32752‐2440
MOREL JR, LAWRENCE J          1035 S REESE RD                                                                                           REESE          MI   48757‐9573
MOREL MIGUEL                  NO ADVERSE PARTY
MOREL, CHARLES E              2020 SEDONA HILLS DR                                                                                      LOVELAND       CO 80537
MOREL, DARWIN
MOREL, EDWARD R               10620 W ALEXANDER RD UNIT 147                                                                             LAS VEGAS      NV 89129‐3537
MOREL, ELVIS A RODRIGUEZ
MOREL, EPIFANIA
MOREL, GARY P                 73 ROBERTA AVE                                                                                            WOONSOCKET     RI   02895‐5729
MOREL, GEORGE A               5900 S STATE RD                                                                                           DURAND         MI   48429‐9148
MOREL, GEORGE ABEL            5900 S STATE RD                                                                                           DURAND         MI   48429‐9148
MOREL, JENNIFER               2861 BAINBRIDGE AVE                 1B                                                                    BRONX          NY   10458
MOREL, JOSE
MOREL, LE VERNE W             318 S SHIAWASSEE ST                                                                                       CORUNNA        MI   48817‐1642
MOREL, LUIS A                 326 PROSPECT AVE PH H                                                                                     HACKENSACK     NJ   07601‐2623
MOREL, MICHELLE R             2224 S NEW LOTHROP RD                                                                                     LENNON         MI   48449‐9633
MOREL, PAUL A                 471 MENDON RD                                                                                             WOONSOCKET     RI   02895‐2404
MOREL, RAMON
MOREL, RICK W                 13504 MAPLE RD                                                                                            BIRCH RUN      MI 48415‐8710
MOREL, THOMAS J               200 S 9 MILE RD                                                                                           LINWOOD        MI 48634‐9713
MOREL, YAEL
MORELAN, CLAUDE W             568 BROEKER LN                                                                                            O FALLON       MO   63366‐2111
MORELAN, JOHN C               8537 W HOWE RD                                                                                            EAGLE          MI   48822‐9792
MORELAN, RAY T                4201 SAYLOR ST                                                                                            DAYTON         OH   45416‐2025
MORELAN, ROY N                C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                EDWARDSVILLE   IL   62025
                              ROWLAND PC
MORELAN, ROY V                3 SAVOY AVE.                                                                                              W CARROLLTON   OH   45449‐1722
MORELAN, ROY V                3 SAVOY AVE                                                                                               W CARROLLTON   OH   45449‐1722
MORELAND                      550 ORCHARD PARK ROAD                                                                                     WEST SENECA    NY   14224
MORELAND BELMONT J (429497)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK        VA   23510
                                                                  STREET, SUITE 600
MORELAND DAVID (354162)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK        VA 23510
                                                                  STREET, SUITE 600
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Name                      Address1                           Address2                      Address3   Address4         City           State Zip
MORELAND JR, GEORGE W     22 WILKINS CT                                                                                MARTINSBURG     WV 25404‐0751
MORELAND JR, JAMES        3280 AMANDA DR                                                                               DAYTON          OH 45406‐1101
MORELAND JR, THOMAS       11912 TELEGRAPH RD                                                                           MEDINA          NY 14103‐9677
MORELAND JR., GREGORY C   18519 MARLOWE ST                                                                             DETROIT         MI 48235‐2741
MORELAND JR., GREGORY C   28418 UNIVERSAL DR                                                                           WARREN          MI 48092‐2440
MORELAND JR., KENNETH L   18 LINCOLN AVE                                                                               BERRYVILLE      VA 22611‐1202
MORELAND, ACIE L          29271 SE 180TH STREET ROAD                                                                   ALTOONA         FL 32702‐9002
MORELAND, ALTON L         8301 W CHARLESTON BLVD APT 1031W                                                             LAS VEGAS       NV 89117
MORELAND, ANDREA S        1026 FERNWOOD DR                                                                             LOCKPORT        NY 14094
MORELAND, BELMONT J       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                             STREET, SUITE 600
MORELAND, BESSIE M.       1401 725 EAST                                                                                CAMDEN         OH   45311
MORELAND, BOBBY N         77 CARL ST                                                                                   BUFFALO        NY   14215‐4027
MORELAND, CHARLES B       109 S OLIVER ST                                                                              CHARLOTTE      MI   48813‐1532
MORELAND, CHARLES E       298 DEERPARK DRIVE                                                                           WELLINGTON     KY   40387‐0387
MORELAND, DAVID           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                             STREET, SUITE 600
MORELAND, DELBERT L       489 LOCHGAIR ST                                                                              TEMPERANCE     MI   48182‐1098
MORELAND, DELBERT LOY     489 LOCHGAIR ST                                                                              TEMPERANCE     MI   48182‐1098
MORELAND, DELORIS W       2031 FLETCHER ST                                                                             ANDERSON       IN   46016‐4428
MORELAND, DOROTHY G       PO BOX 403                         2929 ELM ST                                               SANBORN        NY   14132‐0403
MORELAND, ERIKA R         PO BOX 441                                                                                   DAYTON         OH   45405‐0441
MORELAND, ERVIN           4697 138 HIGHWAY SW                                                                          STOCKBRIDGE    GA   30281
MORELAND, EVERLENE        753 E ALMA AVE                                                                               FLINT          MI   48505‐2223
MORELAND, EVERLENE        753 E ALMA                                                                                   FLINT          MI   48505‐2223
MORELAND, GENE L          1451 STATE ROUTE 725 E                                                                       CAMDEN         OH   45311‐8907
MORELAND, GENEVIEVE R     1120 CHESTER ST                                                                              ANDERSON       IN   46012‐4331
MORELAND, GORDON A        10731 E CHURCH RD                                                                            RIVERDALE      MI   48877‐9532
MORELAND, HAROLD L        5120 PEARL ST                                                                                ANDERSON       IN   46013‐4864
MORELAND, JACK E          11706 HAWTHORNE GLEN DR                                                                      GRAND BLANC    MI   48439‐1381
MORELAND, JACOB R         5909 W CALUMET RD                                                                            MILWAUKEE      WI   53223‐4216
MORELAND, JAMES E         15951 BADEN RD                                                                               GERMANTOWN     OH   45327‐9459
MORELAND, JAMES E         15951 BADEN ROAD                                                                             GERMAN TOWN    OH   45327‐5327
MORELAND, JAMES J         6036 DUNNIGAN RD                                                                             LOCKPORT       NY   14094‐9539
MORELAND, JAMES M         1696 N STATE ROAD 267                                                                        AVON           IN   46123‐8419
MORELAND, KASEY W         4443 N COUNTY ROAD 1025 E                                                                    INDIANAPOLIS   IN   46234‐9024
MORELAND, KENA N          3280 AMANDA DR                                                                               DAYTON         OH   45406‐1101
MORELAND, KENNETH W       995 DALEEN RD                                                                                HAUGHTON       LA   71037‐8975
MORELAND, KENNETH WAYNE   995 DALEEN RD                                                                                HAUGHTON       LA   71037‐8975
MORELAND, LOUISA          6737 HIGHLAND AVE                                                                            CINCINNATI     OH   45236‐3968
MORELAND, LOUISE H        2259 ARROW AVE                                                                               ANDERSON       IN   46016‐3844
MORELAND, MARTIN A        403 LISCUM DR                                                                                DAYTON         OH   45427‐2740
MORELAND, MARY            11086 COBIA PL                                                                               NOBLESVILLE    IN   46060‐6001
MORELAND, MARY C          1127 GREENBRIAR DR                                                                           ANDERSON       IN   46012‐4527
MORELAND, MARY O          23025 MAYFIELD AVE                                                                           FARMINGTON     MI   48336‐3967
MORELAND, MICHAEL W       7719 N COUNTY ROAD 725 E                                                                     BAINBRIDGE     IN   46105‐9430
MORELAND, MIRIAM B        6623 ECTOR PL                                                                                JACKSONVILLE   FL   32211‐5486
MORELAND, NELLIE W        622 WILLOW SPRINGS DR                                                                        DAYTON         OH   45427‐2840
MORELAND, NICHOLAS S      2635 BUTTERFLY DR                                                                            CLEARWATER     FL   33764‐1016
MORELAND, OWEN T          1127 GREENBRIAR DR                                                                           ANDERSON       IN   46012‐4527
MORELAND, PATRICIA E      213 GEORGIA AVE                                                                              GRIFFIN        GA   30223‐2564
MORELAND, PATRICIA E      620 WILLIAMS DR                                                                              CEDARBURG      WI   53012‐9364
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Name                        Address1                       Address2                      Address3   Address4                 City                    State Zip
MORELAND, PATRICIA L        1151 BRIARCLIFFE DR                                                                              FLINT                    MI 48532‐2102
MORELAND, PHILLIP A         6926 INDIANA AVE                                                                                 KANSAS CITY              MO 64132‐3226
MORELAND, RAY N             PO BOX 34                                                                                        CLAYTONVILLE              IL 60926‐0034
MORELAND, RICHARD N         2141 PARADISE DR                                                                                 LEWISBURG                TN 37091‐4555
MORELAND, RICHARD W         720 EAST MAIN STREET                                                                             TROY                     OH 45373‐3419
MORELAND, ROBERT            829 WHITMORE AVE                                                                                 DAYTON                   OH 45417‐1166
MORELAND, ROBERT J          8107 HIGHPOINT BLVD                                                                              BROOKSVILLE              FL 34613‐7329
MORELAND, RUFUS O           1033 W GRAND AVENUE                                                                              DAYTON                   OH 45407‐2123
MORELAND, RUTH D            3824 STORMONT ROAD                                                                               DAYTON                   OH 45426‐2362
MORELAND, SHARLENE          2606 13TH ST                                                                                     EMMETSBURG                IA 50536‐1737
MORELAND, SHIRLEY           6036 DUNNIGAN RD                                                                                 LOCKPORT                 NY 14094‐9539
MORELAND, STELLA R          2325 ROCKWELL DR APT 213                                                                         MIDLAND                  MI 48642‐9333
MORELAND, TONY              4964 MAPLECREEK DR APT P                                                                         TROTWOOD                 OH 45426‐1661
MORELAND, TONY              4964 MAPLECREEK DRIVE          APT# P                                                            TROTWOOD                 OH 45426‐5426
MORELAND, VIRGINIA E        4697 138 HIGHWAY SW                                                                              STOCKBRIDGE              GA 30281
MORELAND, WANDA R           6725A NORTH MAIN STREET                                                                          CAMDEN                   OH 45311‐9506
MORELAND, WANDA R           6725 A N. MAIN ST                                                                                CAMDEN                   OH 45311‐1046
MORELAND, WILLIE            15915 GILCHRIST ST                                                                               DETROIT                  MI 48227‐1591
MORELAND, WYNNEISE L        703 IVY CT                                                                                       EATON                    OH 45320
MORELAND, WYNNEISE L        110 VALLEY FORGE CT                                                                              EATON                    OH 45320‐8631
MORELL CASTLEBERRY          3705 BENCHMARK DR                                                                                COLLEGE PARK             GA 30349‐3511
MORELL KELLY LLP            ATTN: LISA MORELL              182 VICTORIA ST S                        KITCHENER ON N2G B29
MORELL KELLY P.C.           ATTN: LISA MORELL              182 VICTORIA ST S                        KITCHENER ONTARIO, N2G
                                                                                                    2B9
MORELL RICHARD L (470679)   CHERYL WHITE & ASSOCIATES      1126 BALLENA BLVD., SUITE D                                       ALAMEDA                 CA   94501
MORELL, BERNADINE E         324 W PARISH ST                                                                                  SANDUSKY                OH   44870‐4848
MORELL, BERNADINE E         324 W. PARISH ST.                                                                                SANDUSKY                OH   44870‐4848
MORELL, DARLENE B           2002 CEDARCREST COURT                                                                            LAS VEGAS               NV   89134‐6209
MORELL, DONALD W            1212 W HIGGINS LAKE DR                                                                           ROSCOMMON               MI   48653‐9258
MORELL, JOHN D              5201 HILLSBORO RD                                                                                DAVISBURG               MI   48350‐3826
MORELL, JOSEPHINE V         5201 HILLSBORO RD                                                                                DAVISBURG               MI   48350‐3826
MORELL, KENNETH A           4420 PARK PL APT 2                                                                               FLINT                   MI   48532‐4246
MORELL, LOUISE              712 SEIBERT AVE                                                                                  MIAMISBURG              OH   45342‐3038
MORELL, LOUISE              712 SIEBERT AVENUE                                                                               MIAMISBURG              OH   45342‐3038
MORELL, MARY L              7825 UNION SCHOOLHOUSE ROAD                                                                      DAYTON                  OH   45424‐5222
MORELL, RANDALL D           1105 BEST RD                                                                                     METAMORA                MI   48455‐8939
MORELL, RICHARD L           CHERYL WHITE & ASSOCIATES      1126 BALLENA BLVD., SUITE D                                       ALAMEDA                 CA   94501
MORELL, SANDRA L            1212 W HIGGINS LAKE DR                                                                           ROSCOMMON               MI   48653‐9258
MORELL, TERRENCE L          452 BROADWAY ST                                                                                  PONTIAC                 MI   48342‐1706
MORELL, WILLIAM D           2083 HUNTERS CREEK RD                                                                            METAMORA                MI   48455‐9259
MORELLA NABER               251 CROWN ST SW                                                                                  WYOMING                 MI   49548‐4203
MORELLA, JOAN E             301 WOODBRIDGE DR                                                                                SUMMERVILLE             SC   29483‐1866
MORELLA, JOSEPH             422 GOLF VIEW DR                                                                                 LITTLE EGG HARBOR TWP   NJ   08087‐4232
MORELLA, KENNETH J          52 MEDINA ST                                                                                     CHEEKTOWAGA             NY   14206‐2535
MORELLI MICHELLE            GORI JULIAN & ASSOCIATES PC    156 N MAIN ST                                                     EDWARDSVILLE            IL   62025
MORELLI'S AUTOMOTIVE        1405 WARRENSVILLE CENTER RD                                                                      CLEVELAND HEIGHTS       OH   44121‐2217
MORELLI, ANNA               37009 CHARTER OAKS BLVD                                                                          CLINTON TOWNSHIP        MI   48036‐2407
MORELLI, ANSELMO            26 PARK AVE                                                                                      TARRYTOWN               NY   10591‐4414
MORELLI, ANTONIO            14360 DRUMRIGHT DR                                                                               STERLING HTS            MI   48313‐4322
MORELLI, ANTONIO            1016 DELWOOD DR                                                                                  MANSFIELD               OH   44905‐1520
MORELLI, DAVID E            530 CARLO DR                                                                                     GOLETA                  CA   93117‐1750
MORELLI, DELIA              1010 W ALLEGHANY DR                                                                              ARLINGTON HEIGHTS       IL   60004‐2952
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Name                       Address1                          Address2                        Address3       Address4                City               State Zip
MORELLI, DELIA             1010 WEST ALLEGHANY DRIVE                                                                                ARLINGTON HTS        IL 60004‐2952
MORELLI, GIUSEPPE          32022 DISTEFANO CT                                                                                       FRASER              MI 48026
MORELLI, HELEN             281 EAST 205TH ST APT 4F                                                                                 BRONX               NY 10467‐4013
MORELLI, JANET D           1362 SUNVIEW CT                                                                                          ROCHESTER           MI 48307
MORELLI, JOHN M            16410 SPRINGVALE CT                                                                                      SPRING LAKE         MI 49456‐1457
MORELLI, JOSEPH            32022 DI STEFANO CT                                                                                      FRASER              MI 48026‐2000
MORELLI, JOSEPH F          PO BOX 221                                                                                               BEDFORD             IN 47421‐0221
MORELLI, JOSEPH FRANCIS    PO BOX 221                                                                                               BEDFORD             IN 47421‐0221
MORELLI, JOSEPH I          195 HERTEL AVE                                                                                           BUFFALO             NY 14207‐2151
MORELLI, LILIANA B         6917 N 71ST AVE APT 1035                                                                                 GLENDALE            AZ 85303‐3959
MORELLI, LISA J            3318 WASHINGTON SOUTH RD                                                                                 MANSFIELD           OH 44903‐7338
MORELLI, LORENZO           124 WOLCOTT AVE                                                                                          ROCHESTER           NY 14606‐3919
MORELLI, MICHAEL           33522 ALTA ST                                                                                            GARDEN CITY         MI 48135‐1081
MORELLI, MICHAEL A         2433 E LINCOLN AVE                                                                                       ROYAL OAK           MI 48067‐4033
MORELLI, MICHAEL D         11814 ONTARIO DR                                                                                         STERLING HEIGHTS    MI 48313‐1610
MORELLI, MICHELLE M        3505 KIBLER TOOT RD SW                                                                                   WARREN              OH 44481‐9159
MORELLI, MICHELLE M.       3505 KIBLER TOOT RD SW                                                                                   WARREN              OH 44481‐9159
MORELLI, RAYMOND L         915 PATTON ST                                                                                            N BRUNSWICK         NJ 08902‐2273
MORELLI, SALVATORE         2112 MAE LN                                                                                              LEWISBURG           TN 37091‐6331
MORELLI, TIMOTHY C         33522 ALTA ST                                                                                            GARDEN CITY         MI 48135‐1081
MORELLI, TONY              3318 WASHINGTON SOUTH RD                                                                                 MANSFIELD           OH 44903‐7338
MORELLO FRANK (446488)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD          OH 44067
                                                             PROFESSIONAL BLDG
MORELLO, CHARLES L         9751 KINGSTON POINTE DR                                                                                  CLARKSTON          MI 48348‐4195
MORELLO, FRANK             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                           NORTHFIELD         OH 44067
                                                             PROFESSIONAL BLDG
MORELLO, FRANK J           4274 CROWBERRY TRL E                                                                                     SAGINAW            MI   48603‐1658
MORELLO, GENE A            5092 WINTHROP DR                                                                                         YOUNGSTOWN         OH   44515‐3851
MORELLO, JAMES M           1101 N CHURCH ST                                                                                         MOORESTOWN         NJ   08057
MORELLO, JOSEPH M          2902 W GENESEE AVE                                                                                       SAGINAW            MI   48602‐3750
MORELLO, MARY              ST CABRINI NURSING HOME           C/O YAJAIRA MENDOYA             115 BROADWAY                           DOBBS FERRY        NY   10522
MORELLO, PETE              452 OPHELIA ST                                                                                           NEWTON FALLS       OH   44444‐1467
MORELLO, PETER A           2194 PENNY LANE CT                                                                                       AUSTINTOWN         OH   44515‐4945
MORELLO, SAMUEL D          7729 SHADY BEACH ST                                                                                      WHITMORE LAKE      MI   48189‐9638
MORELLO, WILLIAM T         7495 W SOMERSET RD                                                                                       APPLETON           NY   14008‐9683
MORELLON JR, MARCUS I      504 DEMSEY CT                                                                                            PATTERSON          CA   95363‐9251
MORELOCK, ARLENE F         2917 BAGLEY DR                                                                                           KOKOMO             IN   46902
MORELOCK, ARLENE FRANCES   2917 BAGLEY DR E                                                                                         KOKOMO             IN   46902‐3225
MORELOCK, JAMES H          135 WALTON CIR                                                                                           MOSHEIM            TN   37818‐4091
MORELOCK, LORA H           1114 W ALTO RD                                                                                           KOKOMO             IN   46902‐4967
MORELON, WILBERT           1117 W 107TH PL                                                                                          CHICAGO            IL   60643‐3719
MOREMAN, ROBERT L          1127 S. STATE                     BOX 222                                                                WESTVILLE          IL   61883
MOREMAN, TERRY D           205 E SOUTH ST                                                                                           FAIRMOUNT          IL   61841‐9707
MOREMAN, TODD P            515 N BROADWAY ST                                                                                        LAKE ORION         MI   48362‐3119
MORENA DESIDERIO           MORENA GIUSEPPE GIACOMO           VIA SANTUARIO PALLARETO 3                      15015 CARTOSIO ‐ AL ‐
                                                                                                            ITALY
MORENA, JULIANUS           2370 MARKET ST APT 437                                                                                   SAN FRANCISCO      CA   94114
MORENC, NICHOLAS P         25 BEAULIEU LN                                                                                           FOOTHILL RANCH     CA   92610‐2350
MORENCY JR, RAYMOND E      2066 ESTES ST                                                                                            MUSKEGON           MI   49441‐1522
MORENCY, AMY L             40549 MICHAEL ST                                                                                         CLINTON TOWNSHIP   MI   48038‐3066
MORENCY, JACK L            216 S HOLMES ST                                                                                          DURAND             MI   48429‐1526
MORENCY, JACK LEE          216 S HOLMES ST                                                                                          DURAND             MI   48429‐1526
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Name                             Address1                        Address2                        Address3   Address4         City            State Zip
MORENCY, JAMES C                 3826 MAIDEN ST                                                                              WATERFORD        MI 48329‐1042
MORENCY, JAMES W                 9357 HILL ROAD                                                                              SWARTZ CREEK     MI 48473‐1015
MORENCY, JAMES WILLIAM           9357 HILL ROAD                                                                              SWARTZ CREEK     MI 48473‐1015
MORENCY, LEW A                   938 RIVER BEND DR                                                                           ROCHESTER HLS    MI 48307‐2730
MORENCY, MARC J                  526 SHAWNESEE                                                                               FLUSHING         MI 48433‐1327
MORENCY, VINCENT M               1840 HYLAND ST                                                                              FERNDALE         MI 48220‐1239
MORENE SCOTT                     241 RHODE ISLAND ST                                                                         HIGHLAND PARK    MI 48203‐3360
MORENE SOSEBEE                   501‐C FOREST PARK CT                                                                        DAYTON           OH 45405‐1203
MORENE SOUTHARD                  3809 MEMORIAL PKWY NW                                                                       HUNTSVILLE       AL 35810‐2419
MORENO ALDAZ, ESTELA             15531 VICTORY BLVD APT C                                                                    VAN NUYS         CA 91406‐6115
MORENO ALEX                      MORENO, ALEX                    9047 FLOWER ST                                              BELLFLOWER       CA 90706‐5605
MORENO ANA                       MORENO, ANA                     7825 FAY AVE STE 200                                        LA JOLLA         CA 92037‐4270
MORENO ANTONIO C                 686 INMAN ROAD                                                                              HAMPTON          GA 30228‐2296
MORENO CHRISTOPHER               7111 PLEASANT VIEW AVE                                                                      LAS VEGAS        NV 89147‐4521
MORENO HECTOR                    MORENO, HECTOR                  7825 FAY AVE STE 200                                        LA JOLLA         CA 92037‐4270
MORENO HERBERT (657082)          PAUL HANLEY & HARLEY            1608 4TH ST STE 300                                         BERKELEY         CA 94710‐1749
MORENO III, BENITO               9544 GRIFFITH RD                                                                            EATON RAPIDS     MI 48827‐9514
MORENO JOHN F (639092)           ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                    WILMINGTON       DE 19801‐1813
MORENO JOSE                      MORENO, JOSE                    522 S SEPULVEDA BLVD STE 112                                LOS ANGELES      CA 90049‐3538
MORENO JOSE                      MORENO, MARIA                   522 S SEPULVEDA BLVD STE 112                                LOS ANGELES      CA 90049‐3538
MORENO JR, ALBERTO               4290 CALKINS RD                                                                             FLINT            MI 48532‐3512
MORENO JR, BENITO                112 BECKER ST                                                                               ALAMO            TX 78516‐9791
MORENO JR, FERNANDO              PO BOX 944                                                                                  FENTON           MI 48430‐0944
MORENO JR, GEORGE                PO BOX 3474                                                                                 HARLINGEN        TX 78551‐3474
MORENO JR, PETE                  424 COMSTOCK ST                                                                             ADRIAN           MI 49221‐2218
MORENO JR, RAYMOND G             3115 JUDAH RD                                                                               ORION            MI 48359‐2155
MORENO MARGIE                    MORENO, MARGIE                  831 STATE STREET                                            SANTA BARBARA    CA 93101
MORENO MARIA                     16127 COUNTY ROAD 675                                                                       PARRISH          FL 34219‐8491
MORENO MAX R                     MORENO, MAX R                   16133 VENTURA BLVD STE 700                                  ENCINO           CA 91436‐2406
MORENO MIKE                      MORENO, MIKE                    140510 COUNTY RD. 24                                        GERING           NE 69641
MORENO MIKE                      MORENO, VICKY                   140510 COUNTY RD 24                                         GERING           NE 69341‐2446
MORENO RIVERA ESTATE OF, JUANA
MARIA
MORENO ROBERT CARLOS             LANDIN, GUSTAVO                 926 CHULIE DR                                               SAN ANTONIO      TX   78216‐6522
MORENO ROBERT CARLOS             MARTINEZ, MARIA FELICITAS       926 CHULIE DR                                               SAN ANTONIO      TX   78216‐6522
MORENO ROBERT CARLOS             MENDOZA, BERNABE CONTRERAS      926 CHULIE DR                                               SAN ANTONIO      TX   78216‐6522
MORENO ROBERT CARLOS             MORENO, ARACELI                 926 CHULIE DR                                               SAN ANTONIO      TX   78216‐6522
MORENO ROBERT CARLOS             MORENO, GLORIA                  926 CHULIE DR                                               SAN ANTONIO      TX   78216‐6522
MORENO ROBERT CARLOS             MORENO, JESUS                   926 CHULIE DR                                               SAN ANTONIO      TX   78216‐6522
MORENO ROBERT CARLOS             MORENO, JESUS CONTRERAS         926 CHULIE DR                                               SAN ANTONIO      TX   78216‐6522
MORENO ROBERT CARLOS             MORENO, MARIA DE JESUS          926 CHULIE DR                                               SAN ANTONIO      TX   78216‐6522
MORENO ROBERT CARLOS             MORENO, MARIA DE JESUS          931 WEBSTER ST                                              EAGLE PASS       TX   78852‐3957
MORENO ROBERT CARLOS             MORENO, MARIA DE JESUS          BANK OF AMERICA PLAZA ‐ SUITE                               SAN ANTONIO      TX   78205
                                                                 100 ‐ 300 CONVENT STREET
MORENO ROBERT CARLOS             MORENO, NINFA                   926 CHULIE DR                                               SAN ANTONIO     TX    78216‐6522
MORENO ROBERT CARLOS             MORENO, OSCAR                   926 CHULIE DR                                               SAN ANTONIO     TX    78216‐6522
MORENO ROBERT CARLOS             MORENO, RAUL                    926 CHULIE DR                                               SAN ANTONIO     TX    78216‐6522
MORENO ROBERT CARLOS             MORENO, ROBERT CARLOS           926 CHULIE DR                                               SAN ANTONIO     TX    78216‐6522
MORENO ROBERT CARLOS             MORENO, ROSA                    926 CHULIE DR                                               SAN ANTONIO     TX    78216‐6522
MORENO ROBERT CARLOS             ORTIZ, LORENA                   926 CHULIE DR                                               SAN ANTONIO     TX    78216‐6522
MORENO ROBERT CARLOS             SMITH, EMILIA M                 926 CHULIE DR                                               SAN ANTONIO     TX    78216‐6522
MORENO SUSAN FLORI               MORENO, BRIAN                   1126 WILSHIRE BLVD                                          LOS ANGELES     CA    90017‐1904
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Name                                  Address1                         Address2                       Address3   Address4         City            State Zip
MORENO SUSAN FLORI                    MORENO, LEO BRANSON              1126 WILSHIRE BLVD                                         LOS ANGELES      CA 90017‐1904
MORENO SUSAN FLORI                    ZALVIDEA, CAMILLE LIMSOCO        1126 WILSHIRE BLVD                                         LOS ANGELES      CA 90017‐1904
MORENO SUSAN FLORI                    MORENO, LEO THOR                 25 E UNION ST                                              PASADENA         CA 91103‐3923
MORENO SUSAN FLORI                    MORENO, SUSAN FLORI              1126 WILSHIRE BLVD.                                        LOS ANGELES      CA 90017
MORENO VALLEY CHEV GEO OLDS/AVIS      5721 W 96TH ST                                                                              LOS ANGELES      CA 90045‐5543
RENT A CAR LICENSEE
MORENO VALLEY CHEV GEO                12625 AUTO MALL DR                                                                          MORENO VALLEY   CA 92555‐4408
OLDS/DIAMOND
MORENO VALLEY CHEV GEO                12625 AUTO MALL DR                                                                          MORENO VALLEY   CA 92555‐4408
OLDS/DIAMOND CHEVROLET INC
MORENO VALLEY CHEV/OLDS/AVIS/CA       12625 AUTO MALL DR                                                                          MORENO VALLEY   CA 92555‐4408
MORENO VALLEY CHEVROLET               12625 AUTO MALL DR                                                                          MORENO VALLEY   CA 92555‐4408
MORENO VALLEY PONTIAC GMC BUICK, IN   12630 MOTOR WAY                                                                             MORENO VALLEY   CA 92555‐4404

MORENO VALLEY PONTIAC GMC BUICK,      12630 MOTOR WAY                                                                             MORENO VALLEY   CA 92555‐4404
INC.
MORENO VALLEY PONTIAC GMC BUICK,      WILLIAM LOUNELLO                 12630 MOTOR WAY                                            MORENO VALLEY   CA 92555‐4404
INC.
MORENO, ADA                           403 S 1ST ST                                                                                CONTINENTAL     OH   45831‐9025
MORENO, ADA                           403 SOUTH 1ST ST                                                                            CONTINENTAL     OH   45831‐9025
MORENO, ADAN                          1121 CUBA DRIVE                                                                             EL PASO         TX   79915‐1605
MORENO, ADAN                          1121 CUBA DR                                                                                EL PASO         TX   79915‐1605
MORENO, ADRIANA                       25057 AGATE RD                                                                              BARSTOW         CA   92311‐3328
MORENO, ADRIANA                       JACQUE BEAUGELMANS               1901 AVENUE OF THE STARS STE                               LOS ANGELES     CA   90067‐6020
                                                                       1900
MORENO, AGUSTIN S                     1146 SILVERCREEK RD                                                                         CORONA          CA 92882‐7586
MORENO, ALEJANDRO
MORENO, ALFRED T                      141 W IVANHOE ST                                                                            GILBERT         AZ   85233‐8710
MORENO, ALFREDO                       2434 N BOND ST                                                                              SAGINAW         MI   48602‐5405
MORENO, ALONSO                        12814 OAKDALE STREET                                                                        SOUTHGATE       MI   48195‐1017
MORENO, ALONSO                        2991 WESTERN                                                                                DETROIT         MI   48209‐1018
MORENO, ALVARO I                      1110 S CLEMENS AVE                                                                          LANSING         MI   48912‐2503
MORENO, AMPARO H                      824 LEWIS ST                                                                                POMONA          CA   91768‐2911
MORENO, AMPARO H                      824 N LEWIS ST                                                                              POMONA          CA   91768‐2911
MORENO, ANTONIO                       3631 SW 132ND CT                                                                            MIAMI           FL   33175‐6921
MORENO, ANTONIO A                     54960 RIDGE RD                                                                              NEW BALTIMORE   MI   48047‐5804
MORENO, ARACELI                       MILLER MICHAEL LAW OFFICES OF    926 CHULIE DR                                              SAN ANTONIO     TX   78216‐6522
MORENO, ARTURO                        10140 TAPIR CT                                                                              EL PASO         TX   79924‐4321
MORENO, AURELIO                       1428 S STATE RD                                                                             DAVISON         MI   48423‐1912
MORENO, BARBARA A                     3178 MOUNTAIN CREEK RD                                                                      ROBBINSVILLE    NC   28771
MORENO, BENNETT W                     6435 CLOVIS AVE                                                                             FLUSHING        MI   48433‐9043
MORENO, BRIAN                         APT 14                           428 WEST STOCKER STREET                                    GLENDALE        CA   91202‐2304
MORENO, BRIAN                         GIRARDI AND KEESE                1126 WILSHIRE BLVD                                         LOS ANGELES     CA   90017‐1904
MORENO, CAROLYN                       1406 SW SPRING GARDEN ST                                                                    PORTLAND        OR   97219‐4281
MORENO, CHRISTINE                     315 S WOOD ST                                                                               HUDSON          MI   49247‐1445
MORENO, CLARA                         3838 CLINTONVILLE RD                                                                        WATERFORD       MI   48329‐2419
MORENO, CONNIE J                      30475 PELICAN DR                                                                            LEBANON         MO   65536‐7333
MORENO, DANIEL H                      27 CLARENCE ST                                                                              PONTIAC         MI   48342‐1501
MORENO, DANIEL S                      257 HICKORY RIDGE DR                                                                        QUEENSTOWN      MD   21658‐1392
MORENO, DAVID                         912 SW DANEY DR                                                                             LEES SUMMIT     MO   64081‐2756
MORENO, DAVID
MORENO, DAVID A                       28726 HIGHPOINT AVENUE                                                                      MORENO VALLEY   CA 92555‐7003
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Name                        Address1                        Address2                   Address3   Address4         City               State Zip
MORENO, DAVID H             1590 S HILL CIR                                                                        BLOOMFIELD HILLS    MI 48304‐1121
MORENO, DAVID M             40 PATSY LN                                                                            DEPEW               NY 14043‐1016
MORENO, DEBRA               11117 PREMIER DR                                                                       FRISCO              TX 75034‐6724
MORENO, DEE L               12452 PAGELS DR                                                                        GRAND BLANC         MI 48439‐2425
MORENO, DINO E              5855 BROWN LN                                                                          SYLVANIA            OH 43560‐4501
MORENO, DINO ELEAZAR        5855 BROWN LN                                                                          SYLVANIA            OH 43560‐4501
MORENO, EDUARDO S           661 EAGLE CIR                                                                          DELRAY BEACH        FL 33444
MORENO, EDUARDO V           203 MANITOBA TER                                                                       FREMONT             CA 94538‐5935
MORENO, EDWARD              38664 HARRISON CREEK CT                                                                HARRISON TWP        MI 48045‐2056
MORENO, ELARIO G            4612 NASHVILLE HWY                                                                     DEER LODGE          TN 37726‐3402
MORENO, ELINOR M            24964 POWERS AVE                                                                       DEARBORN HEIGHTS    MI 48125‐1860
MORENO, ELINOR M            24964 POWERS ST                                                                        DEARBORN HEIGHTS    MI 48125‐1860
MORENO, EMANUEL             725 HILLCLIFF DR                                                                       WATERFORD           MI 48328‐2526
MORENO, ERNEST G            PO BOX 300372                                                                          ARLINGTON           TX 76007‐0372
MORENO, ERNEST GAYTAN       PO BOX 300372                                                                          ARLINGTON           TX 76007‐0372
MORENO, ERNEST L            360 IRONSTONE RD                                                                       BURLESON            TX 76028‐1272
MORENO, ERNEST LOPEZ        360 IRONSTONE RD                                                                       BURLESON            TX 76028‐1272
MORENO, ERNESTO             15345 BLEDSOE ST                                                                       SYLMAR              CA 91342‐3747
MORENO, F                   26519 BLANCHARD GROVE DR                                                               KATY                TX 77494‐0370
MORENO, FERNANDO H          4041 GRANGE HALL RD LOT 77                                                             HOLLY               MI 48442‐1921
MORENO, FIDEL F             2056 N CENTER RD                                                                       BURTON              MI 48509‐1001
MORENO, FIDEL FRED          2056 N CENTER RD                                                                       BURTON              MI 48509‐1001
MORENO, FLORENCE            746 82ND ST                                                                            NIAGARA FALLS       NY 14304‐2361
MORENO, FLORENCE            746 82ND STREET                                                                        NIAGARA FALLS       NY 14304‐2361
MORENO, FRANCISCO G         1219 MAGES ST                                                                          LAS CRUCES          NM 88005‐1101
MORENO, GEORGINA            58 LAFAYETTE MILLS RD.                                                                 MANALAPAN           NJ 07726
MORENO, GLORIA              MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                          SAN ANTONIO         TX 78216‐6522
MORENO, GLORIA              1213 N JACKSON ST                                                                      BAY CITY            MI 48708‐5921
MORENO, GREGORIO Y          2711 DEARBORN AVE                                                                      ROCHESTER HILLS     MI 48309‐3835
MORENO, GUILLERMO           840 4 MILE RD NE                                                                       GRAND RAPIDS        MI 49525‐2647
MORENO, HECTOR C            5435 W RAMONA AVE                                                                      FRESNO              CA 93722‐7123
MORENO, HERBERT             PAUL HANLEY & HARLEY            1608 4TH ST STE 300                                    BERKELEY            CA 94710‐1749
MORENO, HERMILO             10044 SHADYHILL LN                                                                     GRAND BLANC         MI 48439‐8319
MORENO, IGNACIO             GARCIA RICARDO LAW OFFICE       820 S MAIN ST                                          MCALLEN             TX 78501‐5028
MORENO, ISAURA M            13988 LA RUE ST                                                                        SAN FERNANDO        CA 91340‐3839
MORENO, ISRAEL VERA
MORENO, JACQUELINE J        790 JESSAMINE AVE E                                                                    SAINT PAUL         MN 55106‐2510
MORENO, JASON
MORENO, JASON R             2601 N NEW YORK AVE                                                                    MUNCIE             IN 47304‐2363
MORENO, JESSICA S           36837 CHESAPEAKE RD                                                                    FARMINGTN HLS      MI 48335‐1133
MORENO, JESSICA S           3039 HIDDEN TIMBER DRIVE                                                               LAKE ORION         MI 48359‐1579
MORENO, JESSICA SHIN CHEN
MORENO, JESUS               MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                          SAN ANTONIO        TX   78216‐6522
MORENO, JESUS CONTRERAS     MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                          SAN ANTONIO        TX   78216‐6522
MORENO, JOAN E              1798 LA CANTERA WAY                                                                    BEAUMONT           CA   92223‐8564
MORENO, JOE F               617 JACKSON AVE                                                                        DEFIANCE           OH   43512‐2715
MORENO, JOHN B              2003 N LAZY BRANCH RD                                                                  INDEPENDENCE       MO   64058‐1243
MORENO, JOHN E              6402 LOTUS DR                                                                          ARLINGTON          TX   76001‐7412
MORENO, JOHN EDWARD         6402 LOTUS DR                                                                          ARLINGTON          TX   76001‐7412
MORENO, JOHN F              303 WYE RD                                                                             BALTIMORE          MD   21221‐1547
MORENO, JOHN F              ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                               WILMINGTON         DE   19801‐1813
MORENO, JOHN G              8345 ISLAND HWY                                                                        EATON RAPIDS       MI   48827‐9356
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Name                       Address1                            Address2                        Address3   Address4         City               State Zip
MORENO, JOHN J             17632 LONGFELLOW ST                                                                             ROSEVILLE           MI 48066‐2826
MORENO, JOHN M             120 LAUREL LEAH                                                                                 FENTON              MI 48430
MORENO, JOHNNY G           6399 BEECH CT                                                                                   PLEASANTON          CA 94588‐3919
MORENO, JORGE A            2436 HEMPSTEAD RD                                                                               AUBURN HILLS        MI 48326‐3410
MORENO, JOSE               JUSTMAN APC LAW OFFICES OF JONATHAN 522 S SEPULVEDA BLVD STE 112                                LOS ANGELES         CA 90049‐3538
                           S
MORENO, JOSE A             7139 DISCOVERY LN                                                                               RENO               NV    89506‐9796
MORENO, JOSE A             19147 NW 62ND AVE                                                                               HIALEAH            FL    33015‐5016
MORENO, JOSE ANGEL         7139 DISCOVERY LN                                                                               RENO               NV    89506‐9796
MORENO, JOSE M             4400 EDGEWOOD DR                                                                                BROWNWOOD          TX    76801‐8333
MORENO, JOSEPH M           2006 SPRING MIST DR APT 1612                                                                    ARLINGTON          TX    76011‐8914
MORENO, JOSEPHINE          8673 FERRY ST APT 203                                                                           MONTAGUE           MI    49437‐1385
MORENO, JOSEPHINE          8673 FERRY ST # 203                                                                             MONTAGUE           MI    49437‐1385
MORENO, JOUENTINO          2498 EGLESTON AVE                                                                               BURTON             MI    48509‐1128
MORENO, JUAN               1561 FAWN CREEK RD                                                                              BRENTWOOD          TN    37027‐8614
MORENO, JUAN
MORENO, JUAN M             300 OVERLOOK PL                                                                                 COLUMBIA           TN    38401‐4900
MORENO, JULIA              4932 PEBBLE CREEK DR                                                                            ANTIOCH            TN    37013‐1816
MORENO, KENNETH            5865 KAMNER DR                                                                                  CLARENCE CTR       NY    14032‐9736
MORENO, LARRY              2209 COLGATE DR                                                                                 FORT WAYNE         IN    46819‐1626
MORENO, LAURETTA S         72 UNION ST APT 1A                                                                              HAMBURG            NY    14075‐4918
MORENO, LAURETTA S         72 UNION STREET                      APT 1 A                                                    HAMBURG            NY    14075‐4918
MORENO, LEANDRO            2851 W HUMPHREY RD                                                                              ITHACA             MI    48847‐9609
MORENO, LEO BRANSON        426 SINCLAIR AVE                                                                                GLENDALE           CA    91206‐2634
MORENO, LEO BRANSON        GIRARDI AND KEESE                    1126 WILSHIRE BLVD                                         LOS ANGELES        CA    90017‐1904
MORENO, LEO III
MORENO, LEO THOR           DEWITT ALGORRI & ALGORRI             25 E UNION ST                                              PASADENA           CA 91103‐3923
MORENO, LEO THOR
MORENO, LOUIS B            3761 SPRINGS RANCH DR                                                                           COLORADO SPRINGS   CO    80922‐3154
MORENO, LUCINDA G          13100 E IMHOFF RD                                                                               NORMAN             OK    73026‐8757
MORENO, LYDIA C            2389 W HEDDING                                                                                  SAN JOSE           CA    95128‐1327
MORENO, MANUEL             3838 CLINTONVILLE ROAD                                                                          WATERFORD          MI    48329‐2419
MORENO, MANUEL E           4200 RIDGEMONT AVE NW                                                                           ALBUQUERQUE        NM    87114‐6205
MORENO, MANUEL R           3591 E DARYLS WAY                                                                               CHARLOTTE          MI    48813‐7759
MORENO, MANUEL RODRIGUEZ   3591 E DARYLS WAY                                                                               CHARLOTTE          MI    48813‐7759
MORENO, MARGIE             MAKLER & BAKER LLP                  831 STATE STREET                                            SANTA BARBARA      CA    93101
MORENO, MARIA              JUSTMAN APC LAW OFFICES OF JONATHAN 522 S SEPULVEDA BLVD STE 112                                LOS ANGELES        CA    90049‐3538
                           S
MORENO, MARIA D            409 BRINKER DRIVE                                                                               MARION              IN   46952‐3031
MORENO, MARIA D            409 BRINKER DR                                                                                  MARION              IN   46952‐3031
MORENO, MARIA DE JESUS     MILLER MICHAEL LAW OFFICES OF       926 CHULIE DR                                               SAN ANTONIO         TX   78216‐6522
MORENO, MARIA DE JESUS     RAMOS, RICARDO                      931 WEBSTER ST                                              EAGLE PASS          TX   78852‐3957
MORENO, MARIA DE JESUS     WATTS LAW FIRM                      BANK OF AMERICA PLAZA ‐ SUITE                               SAN ANTONIO         TX   78205
                                                               100 ‐ 300 CONVENT STREET
MORENO, MARIA E            135 SPATZ AVE                                                                                   NUTLEY             NJ    07110‐3038
MORENO, MARIO F            10518 S CALHOUN AVE                                                                             CHICAGO            IL    60617‐6132
MORENO, MARK M             1602 BENNETT AVE                                                                                FLINT              MI    48506‐3361
MORENO, MARTA D            5433 WESTCHESTER DR                                                                             FLINT              MI    48532‐4054
MORENO, MARTIN J           7152 DODGE RD                                                                                   MONTROSE           MI    48457‐9136
MORENO, MARTINA A          908 EDISON AVE                                                                                  LANSING            MI    48910‐3340
MORENO, MARTINA C          21888 STATE HIGHWAY 202                                                                         TEHACHAPI          CA    93561‐8645
MORENO, MARY               PO BOX 14413                                                                                    SAGINAW            MI    48601‐0413
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Name                     Address1                        Address2                     Address3   Address4         City               State Zip
MORENO, MARY ANN G       12715 NORRIS AVENUE                                                                      SYLMAR              CA 91342‐4616
MORENO, MAX R            KAHN & ASSOCIATES LLC           16133 VENTURA BLVD STE 700                               ENCINO              CA 91436‐2406
MORENO, MAYTTE           111 CHARTER CIR                                                                          OSSINING            NY 10562‐6004
MORENO, MICHAEL          2450 HARTEL RD                                                                           CHARLOTTE           MI 48813‐8329
MORENO, MICHAEL ALLEN    1840 TAMARACK WAY                                                                        FOREST GROVE        OR 97116‐2155
MORENO, MIKE             140510 COUNTY ROAD 24                                                                    GERING              NE 69341‐5220
MORENO, MIRNA
MORENO, NICHOLAS         PO BOX 413                                                                               GASTON             OR   97119‐0413
MORENO, NINFA            MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                            SAN ANTONIO        TX   78216‐6522
MORENO, OSCAR            MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                            SAN ANTONIO        TX   78216‐6522
MORENO, PAULA G          PO BOX 8242                                                                              SOUTH LAKE TAHOE   CA   96158‐1242
MORENO, PAULA R          3319 BLANCHARD ST                                                                        TOLEDO             OH   43608‐1011
MORENO, PEDRO R          9775 SW 166TH TER                                                                        MIAMI              FL   33157‐3340
MORENO, PETRA            3934 BARLEYTON CIR                                                                       SYLVANIA           OH   43560‐3504
MORENO, RAFAEL V         10234 ANNETTA AVE                                                                        SOUTH GATE         CA   90280‐6838
MORENO, RAUL             MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                            SAN ANTONIO        TX   78216‐6522
MORENO, RAUL A           197 W NEW YORK AVE                                                                       PONTIAC            MI   48340‐1152
MORENO, RAYMOND          3813 CHEVEL DR                                                                           BRIDGEPORT         MI   48722‐9565
MORENO, RAYMOND          5396 FROVAN PL                                                                           SAGINAW            MI   48638‐5519
MORENO, REBECCA T        4328 SEIDEL PL                                                                           SAGINAW            MI   48638‐5676
MORENO, REGINA           2623 HAWTHORNE AVE                                                                       HAYWARD            CA   94545‐3311
MORENO, RICARDO F        6415 EMERSON DR                                                                          NEW PORT RICHEY    FL   34653‐1716
MORENO, RICARDO H        12430 BROUGHAM DR                                                                        STERLING HTS       MI   48312‐4016
MORENO, RICHARD A        11358 N JENNINGS RD                                                                      CLIO               MI   48420‐1514
MORENO, RICHARD H        308 CHESTNUT ST                                                                          HOUGHTON LAKE      MI   48629‐8802
MORENO, ROBERT CARLOS    MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                            SAN ANTONIO        TX   78216‐6522
MORENO, ROSA             MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                            SAN ANTONIO        TX   78216‐6522
MORENO, SAMUEL C         7152 DODGE RD                                                                            MONTROSE           MI   48457‐9136
MORENO, SAMUEL CORY      7152 DODGE RD                                                                            MONTROSE           MI   48457‐9136
MORENO, SAMUEL P         460 KERN ST                                                                              KINGSBURG          CA   93631‐9277
MORENO, SIBYL A          2450 HARTEL RD # 7                                                                       CHARLOTTE          MI   48813
MORENO, SUSAN FLORI      426 SINCLAIR AVE                                                                         GLENDALE           CA   91206‐2634
MORENO, SUSAN FLORI      GIRARDI AND KEESE               1126 WILSHIRE BLVD                                       LOS ANGELES        CA   90017‐1904
MORENO, TAMMY M          1110 S CLEMENS AVE                                                                       LANSING            MI   48912‐2503
MORENO, THEO L           PO BOX 9022                     C/O ADAM OPEL GMBH                                       WARREN             MI   48090‐9022
MORENO, THOMAS           4808 K MART DR                                                                           WICHITA FALLS      TX   76308‐4522
MORENO, THOMAS M         930 SEDGEFIELD CIR                                                                       GROVETOWN          GA   30813‐5860
MORENO, THOMAS MICHAEL   930 SEDGEFIELD CIRCLE                                                                    GROVETOWN          GA   30813‐5860
MORENO, TOMAS J          9042 N CLIO RD                                                                           CLIO               MI   48420‐8561
MORENO, VICKY            1725 10TH ST                                                                             GERING             NE   69341
MORENO, VICKY            140510 COUNTY ROAD 24                                                                    GERING             NE   69341‐5220
MORENO, VICTOR           2242 POWELL AVE                                                                          BRONX              NY   10462‐5104
MORENZ JR, ARTHUR J      133 W CHIPPENS HILL RD                                                                   BURLINGTON         CT   06013‐2109
MORENZ, ARTHUR W         2534 FALCON POINTE DR NW                                                                 GRAND RAPIDS       MI   49534‐7574
MOREROD, NINA L          P.O. BOX 33                                                                              HARWOOD            MO   64750‐0033
MOREROD, NINA L          PO BOX 33                                                                                HARWOOD            MO   64750‐0033
MORES, K                 621 SHERIDAN                                                                             SAGINAW            MI   48607‐1614
MORESCHI JR, ALEX L      15 BLUE LANTERN DR                                                                       SALEM              OH   44460‐7622
MORESCHI, KAY A          235 SILVER CREEK TRL                                                                     KERNERSVILLE       NC   27284‐6522
MORESCHI, TIMOTHY        5004 RED PEPPER CV                                                                       SPRING HILL        TN   37174‐7430
MORESHEAD JR, JOSEPH E   232 WELCH RD                                                                             SOUTHINGTON        CT   06489‐1013
MORESHEAD, IRENE M       89 AUBURN ST. #1262                                                                      PORTLAND           ME   04103
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Name                              Address1                          Address2                        Address3   Address4                     City               State Zip
MORESI, ALFRED D                  614 WEST PHILLIPS COURT                                                                                   GRAND PRAIRIE       TX 75051‐2833
MORETINA, ROBERT                  PO BOX 2133                                                                                               LITTLETON           CO 80161
MORETON SR, THOMAS D              3214 CLEARWATER ST NW                                                                                     WARREN              OH 44485‐2218
MORETON, MARK P                   7784 FARNSWORTH DR                                                                                        CLAY                MI 48001‐3016
MORETRENCH AMERICAN               100 STICKLE AVE                                                                                           ROCKAWAY            NJ 07866‐3146
MORETRENCH AMERICAN CORP          100 STICKLE AVE                                                                                           ROCKAWAY            NJ 07866‐3146
MORETRENCH AMERICAN CORPORATION   ARTHUR CORWIN                     100 STICKLE AVE                                                         ROCKAWAY            NJ 07866‐3146

MORETTA ANNE                      VIA MAGNASCO 6                                                                                            MILAN              IL 20146
MORETTA JR, ANTHONY L             98 MEADOW SPRING LN                                                                                       EAST AMHERST       NY 14051‐2100
MORETTI II, LOUIS S               8280 DENWOOD DR APT 1                                                                                     STERLING HEIGHTS   MI 48312‐5971
MORETTI ROBERTO                   VIA DI TRIOZZI 41                                                            50018 SCANDICCI (FI) ITALY
MORETTI, ALDO A                   PO BOX 114                                                                                                DEARBORN HEIGHTS   MI   48127‐0114
MORETTI, ALPHONSE J               440 PINE RANCH TRL                                                                                        OSPREY             FL   34229‐8842
MORETTI, DIANE W                  5111 E VIOLA AVE                                                                                          YOUNGSTOWN         OH   44515‐1750
MORETTI, JOHN A                   955 JONQUIL CT                                                                                            BROOKFIELD         WI   53045‐5906
MORETTI, JOSEPH E                 3909 NASSAU CT                                                                                            YOUNGSTOWN         OH   44511‐1921
MORETTI, LEONIDA M                PO BOX 183                                                                                                DEARBORN HTS       MI   48127‐0183
MORETTI, LISA M                   191 E COLLEGE AVE                                                                                         WESTERVILLE        OH   43081
MORETTI, MICHAEL                  94 GOVERNOR PRINTZ BLVD APT 8                                                                             CLAYMONT           DE   19703‐2943
MORETTI, VINCENT J                5111 E VIOLA AVE                                                                                          YOUNGSTOWN         OH   44515‐1750
MORETTI, WALTER J                 PO BOX 183                                                                                                DEARBORN HTS       MI   48127‐0183
MORETTO JR, JOSEPH                179 VANDERVOORT ST                                                                                        N TONAWANDA        NY   14120‐5425
MORETTO, ROY A                    357 LIGHTHOUSE WAY S                                                                                      MANISTEE           MI   49660‐1588
MORETTON, DEAN A                  531 S 8TH ST                                                                                              TERRE HAUTE        IN   47807‐4413
MORETTONI, MARY T                 PO BOX 311                                                                                                GRAND GORGE        NY   12434‐0311
MORETUZZO, DAVID A                4321 BUCKBEAN                                                                                             SAGINAW            MI   48603‐0002
MORETUZZO, DAVID ALFONSO          4321 BUCKBEAN                                                                                             SAGINAW            MI   48603‐0002
MORETUZZO, DAVID M                10350 SWAN CREEK RD                                                                                       SAGINAW            MI   48609‐9116
MORETUZZO, THOMAS J               3971 GRANT AVE                                                                                            HAMBURG            NY   14075‐2924
MORETZ, GLENN R                   904 BELVEDERE DR                                                                                          ARLINGTON          TX   76010‐2924
MORETZ, ROBERT G                  1907 PARKDALE CT                                                                                          PANTEGO            TX   76013‐4709
MORETZ, ROBERT GLENN              1907 PARKDALE CT                                                                                          PANTEGO            TX   76013‐4709
MOREX CO LTD                      679‐21 NAEGI‐RI POSEUNG‐MYEON                                                PYUNGTAEK‐SI GYEONGGI‐
                                                                                                               DO 451‐764 KOREA (REP)
MOREY      JR, HOWARD W           33 E RALPH RD                                                                                             AU GRES            MI 48703‐9738
MOREY CARTER (460068)             KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                           CLEVELAND          OH 44114
                                                                    BOND COURT BUILDING
MOREY ENTERPRISES                 RR 1 BOX 172                                                                                              BRUSHTON           NY   12915
MOREY GLADDEN                     4507 E COUNTY ROAD 700 S                                                                                  MOORESVILLE        IN   46158‐7782
MOREY JR, HOWARD W                33 E RALPH RD                                                                                             AU GRES            MI   48703‐9738
MOREY JR, HOWARD W                33 EAST RALPH ROAD                                                                                        AU GRES            MI   48703‐9738
MOREY JR, KEITH C                 1579 LINCOLNSHIRE DRIVE                                                                                   LAPEER             MI   48446‐3147
MOREY LARUE SUPPLY SERVICE        2400 E LINDEN AVE                                                                                         LINDEN             NJ   07036‐1100
MOREY STEVEN                      CM 2417 5500 WABASH AVE                                                                                   TERRE HAUTE        IN   47803
MOREY, ANNA M                     526 TICKNER BOX 313                                                                                       LINDEN             MI   48451
MOREY, ANNE K                     6844 MARLOW ST                                                                                            PORTAGE            MI   49024‐3341
MOREY, CAROLYN                    1864 HOLLIDAY DR SW                                                                                       WYOMING            MI   49519‐4231
MOREY, CAROLYN                    1864 HOLIDAY DR SW                                                                                        WYOMING            MI   49519‐4231
MOREY, CAROLYN M                  256 MILLICENT AVE, APT 1                                                                                  BUFFALO            NY   14215
MOREY, CARTER                     KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                            CLEVELAND          OH   44114
                                                                    BOND COURT BUILDING
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Name                   Address1                          Address2            Address3         Address4         City               State Zip
MOREY, CHERYL B        2076 CONNOLLY DR                                                                        TROY                MI 48098‐2418
MOREY, CLAYTON D       1814 N PARKSIDE LN                                                                      CASA GRANDE         AZ 85222‐5147
MOREY, DONALD B        5157 MARK DAVID DR                                                                      SWARTZ CREEK        MI 48473‐8557
MOREY, DONALD BRUCE    5157 MARK DAVID DR                                                                      SWARTZ CREEK        MI 48473‐8557
MOREY, DONALD C        7250 POPPLEWOOD DR                                                                      DAVISON             MI 48423‐9546
MOREY, EDWIN D         370 N GLEANER RD                                                                        SAGINAW             MI 48609‐9411
MOREY, EDWIN DOUGLAS   370 N GLEANER RD                                                                        SAGINAW             MI 48609‐9411
MOREY, ELDON A         5802 ANNIBAL DR                                                                         LAPEER              MI 48446‐2703
MOREY, EMILY A         522 CROOKED CREEK DR.                                                                   SAGINAW             MI 48609
MOREY, ERIC C          6444 BLUE WATER DR                                                                      DIMONDALE           MI 48821‐9216
MOREY, EVA N           202 W MAIN RD LOT 48                                                                    CONNEAUT            OH 44030‐2051
MOREY, EVA N           202 W. MAIN RD., LOT 48                                                                 CONNEAUT            OH 44030‐2051
MOREY, FRANCIS W       60 W BURNSIDE RD                                                                        FOSTORIA            MI 48435‐9644
MOREY, GILBERTO        6629 NESTLE AVE                                                                         RESEDA              CA 91335‐5515
MOREY, GORDON T        3422 PARAMOUNT LN                                                                       AUBURN HILLS        MI 48326‐3963
MOREY, JAMES E         9150 LINDEN RD                                                                          SWARTZ CREEK        MI 48473‐9152
MOREY, JAMES EDWARD    9150 LINDEN RD                                                                          SWARTZ CREEK        MI 48473‐9152
MOREY, JAMES J         1298 N CUMMINGS RD                                                                      DAVISON             MI 48423‐8122
MOREY, JAN L           3600 LONG HWY                                                                           CHARLOTTE           MI 48813‐9309
MOREY, JEFFREY W       9910 CLUB HOUSE DR W                                                                    CANADIAN LAKES      MI 49346‐8865
MOREY, JESSY C         9927 TRUMBULL AVE SE                                                                    ALBUQUERQUE         NM 87123‐5207
MOREY, JOSEPH C        708 MADISON ST                                                                          BELLEVUE            MI 49021‐1165
MOREY, KAY A           200 S EMERALD WAY                                                                       MORRICE             MI 48857‐8747
MOREY, KENNETH L       12168 OAKLAND AVE                                                                       MOUNT MORRIS        MI 48458‐1425
MOREY, LAWRENCE H      10024 N LINDEN RD                                                                       CLIO                MI 48420‐8502
MOREY, LEE             4240 CREEK VIEW DR                                                                      HUDSONVILLE         MI 49426‐1924
MOREY, LINDA K         1008 HAWKINS ST                                                                         CLEARWATER          FL 33756‐1118
MOREY, MARGYDELL       19 DOMINGO CT                                                                           FORT MYERS          FL 33912‐2034
MOREY, MARGYDELL       19 DOMINGO COURT                                                                        FORT MYERS          FL 33912
MOREY, MARISSA
MOREY, MARK R          10142 BENNETT LAKE RD                                                                   FENTON             MI   48430‐8734
MOREY, MARTHA V        3494 WILLIAMSON RD                                                                      SAGINAW            MI   48601‐5663
MOREY, MARY L          PO BOX 162                                                                              MASON              MI   48854‐0162
MOREY, MAURICE S       PO BOX 430745                                                                           PONTIAC            MI   48343‐0745
MOREY, MICHAEL G       37811 CHANCEY ROAD                                                                      ZEPHYRHILLS        FL   33541‐6842
MOREY, MICHAEL G       5149 N LAPEER RD                                                                        COLUMBIAVILLE      MI   48421‐9744
MOREY, NORMA M         677 DEWEY STREET                  APARTMENT 110                                         LAPEER             MI   48446‐1732
MOREY, NORMA M         677 DEWEY ST APT 110                                                                    LAPEER             MI   48446‐1732
MOREY, NORMAN E        5010 JONES RD                                                                           NORTH BRANCH       MI   48461‐9586
MOREY, RALPH J         6401 E TOWNLINE LAKE RD                                                                 HARRISON           MI   48625‐9084
MOREY, RALPH L         8006 PONTIAC ST                                                                         GOODRICH           MI   48438‐8711
MOREY, RALPH W         11 LAKE HENRY DRIVE                                                                     LAKE PLACID        FL   33852‐6195
MOREY, ROBERT A        6844 MARLOW ST                                                                          PORTAGE            MI   49024‐3341
MOREY, ROBERT T        B761 COUNTY ROAD 12                                                                     HOLGATE            OH   43527‐9730
MOREY, ROBERT W        PO BOX 103                                                                              WILLIAMSTON        MI   48895‐0103
MOREY, RONALD L        2493 CRANE RD                                                                           FENTON             MI   48430‐1055
MOREY, SHERYLE J       6025 DWIGHT ST                                                                          DEARBORN HEIGHTS   MI   48127‐3923
MOREY, STEVEN E        7410 BLUEBIRD COURT                                                                     INDIANAPOLIS       IN   46254‐3276
MOREY, SUSAN J         6081 BROBECK ST                                                                         FLINT              MI   48532‐4007
MOREY, TODD P          41 HICKORY COVE CT                                                                      CROSSVILLE         TN   38558
MOREY, WARREN E        1928 CARVEL CT                                                                          LANSING            MI   48910‐4302
MOREY, WILLIAM C       5444 REID RD                                                                            SWARTZ CREEK       MI   48473‐9430
                          09-50026-mg                Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                      Address1                           Address2                          Address3   Address4         City               State Zip
MOREY, WILLIAM CHARLES    5444 REID RD                                                                                     SWARTZ CREEK        MI 48473‐9430
MOREY, WILLIAM E          12250 STRATFORD DR                                                                               SAINT CHARLES       MI 48655‐9510
MOREY, WILLIAM E          6440 BIRCH RD                                                                                    HARRISON            MI 48625‐9620
MOREY, WILLIAM G          3750 GALE RD                       C/O GRACE JONES                                               EATON RAPIDS        MI 48827‐9632
MOREY, WILLIAM L          3003 N MOREY RD                                                                                  LAKE CITY           MI 49651‐8200
MOREY, WILLIAM N          504 RIVERHILL BLVD                                                                               KERRVILLE           TX 78028‐6539
MOREY‐ABBOTT, JANET L     4810 CAREFREE DR                                                                                 LAS VEGAS           NV 89122‐7551
MORFCHAK, JOHN G          7610 LAFAYETTE ROAD                                                                              LODI                OH 44254‐9607
MORFFI, HENRY C           5033 N 123RD ST                                                                                  KANSAS CITY         KS 66109‐3808
MORFIN, MARIA E           3530 BOB O LINK DR                                                                               IRVING              TX 75062‐6840
MORFITT, WILLIAM R        831 N PONTIAC TRL LOT 57                                                                         WALLED LAKE         MI 48390‐3205
MORFORD WILLIAM           COONEY & CONWAY                    120 NORTH LASALLE STREET , 30TH                               CHICAGO              IL 60602
                                                             FLOOR
MORFORD, A L              4317 PARLIMENT DR                                                                                ANDERSON           IN   46013‐4438
MORFORD, DONALD C         1001 AVENUE D                                                                                    FORT MADISON       IA   52627‐2853
MORFORD, DONALD C         1235 DUNWICH DR                                                                                  LIBERTY            MO   64068‐3041
MORFORD, EVA              132 SPRINGHILL DR                  CHATAU CRANBERRY                                              WHITE LAKE         MI   48386‐1972
MORFORD, GERRY J          5052 W LAKE DR                                                                                   WEIDMAN            MI   48893‐9797
MORFORD, JOYCE A          1911 MOHAWK TRAIL                                                                                WEST BRANCH        MI   48661‐9721
MORFORD, JOYCE A          9140 CHATWELL CLUB LN APT 9                                                                      DAVISON            MI   48423‐2875
MORFORD, LEON W           1648 N MILLER RD                                                                                 SAGINAW            MI   48609‐9531
MORFORD, LEONARD L        520 HEBRON ST                                                                                    SAINT LOUIS        MI   48880‐1601
MORFORD, LYNETTE G        16861 WINDING CREEK DR                                                                           NEWALLA            OK   74857‐1324
MORFORD, MICHAEL R        301 SW 99TH ST                                                                                   OKLAHOMA CITY      OK   73139‐8908
MORFORD, MILDRED L        16345 24TH AVE                                                                                   COOPERSVILLE       MI   49404‐9643
MORFORD, RICHARD D        518 ROCKINGHAM AVE                                                                               ALMA               MI   48801‐2721
MORFORD, ROBERT J         3781 S GRAY RD                                                                                   FALMOUTH           MI   49632‐9745
MORFORD, SANDRA           14123 W GABLE HILL DR                                                                            SUN CITY WEST      AZ   85375‐5569
MORFORD, VINCENT P        314 ROBTON ST                                                                                    INDIANAPOLIS       IN   46241‐0909
MORFORD, VINCENT P        3911 ROCKVILLE AVENUE                                                                            INDIANAPOLIS       IN   46241‐1513
MORFORD, WILLIAM          COONEY & CONWAY                    120 NORTH LASALLE STREET, 30TH                                CHICAGO            IL   60602
                                                             FLOOR
MORFORD, ZULA M           4333 GREENHOLME DR                                                                               SACRAMENTO         CA   95842‐3074
MORGA ROBERT (654411)     ANGELOS PETER G LAW OFFICES        60 WEST BROAD ST                                              BETHLEHEM          PA   18018
MORGA, AMELIA             40353 LA GRANGE                                                                                  STERLING HEIGHTS   MI   48313‐5434
MORGA, PATRICIA A         APT A                              1033 NORTH PARK FOREST DRIVE                                  MARION             IN   46952‐1745
MORGA, ROBERT             ANGELOS PETER G LAW OFFICES        60 WEST BROAD ST                                              BETHLEHEM          PA   18018‐5737
MORGA, SHARON M           S75W25295 BROOKSIDE CIR                                                                          WAUKESHA           WI   53189‐9258
MORGADO, JOHN P           9520 S HOLLYBROOK LAKE DR          APT 303                                                       HOLLYWOOD          FL   33025‐1695
MORGAL, JAMES C           313 WILLIAMS STREET                                                                              COUNCIL BLFS       IA   51503‐0758
MORGALIS MICHAEL          1659 6TH AVE                                                                                     YORK               PA   17403‐2640
MORGAN & FINNEGAN LLP     345 PARK AVE                                                                                     NEW YORK           NY   10154
MORGAN & MEYERS PLC       3200 GREENFIELD RD STE 260                                                                       DEARBORN           MI   48120‐1800
MORGAN & POTTINGER        204 E MARKET ST                                                                                  LOUISVILLE         KY   40202‐1218
MORGAN & POTTINGER PSC    120 E MARKET ST                    PO BOX 77                                                     NEW ALBANY         IN   47150
MORGAN & POTTINGER PSC    601 W MAIN ST                                                                                    LOUISVILLE         KY   40202‐2921
MORGAN & REESE            6630 FLANDERS DR                                                                                 SAN DIEGO          CA   92121‐2976
MORGAN & REESE            225 E FIREWEED LN STE 301                                                                        ANCHORAGE          AK   99503‐2082
MORGAN A PROSEUS          7244 PEAR TREE MDWS                                                                              ONTARIO            NY   14519‐9617
MORGAN ADHESIVES CO       DBA MACTAC                         4560 DARROW RD                                                STOW               OH   44224‐1888
MORGAN ADHESIVES CO       4560 DARROW RD                                                                                   STOW               OH   44224‐1888
MORGAN AIR FREIGHT CORP   PO BOX 10205                                                                                     PLEASANTON         CA   94588‐0205
                                       09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                                  Address1                                Address2                        Address3   Address4         City               State Zip
MORGAN ANJEANETTE                     7715 SE 65TH AVE                                                                                    PORTLAND            OR 97206‐8036
MORGAN ANTHONY                        MORGAN, ANTHONY
MORGAN AUTO SERVICE                   3317 PICO BLVD                                                                                      SANTA MONICA       CA    90405‐2115
MORGAN AUTOMOTIVE LLC                 1737 SE RHINE ST                                                                                    PORTLAND           OR    97202‐2853
MORGAN BAILEY                         MORGAN, BAILEY                          7364 W RIDGE CIR                                            SHERWOOD           AR    72120‐3695
MORGAN BARBARA                        3025 WINE TREE                                                                                      SANFORD            NC    27332
MORGAN BAXLEY                         2315 HAMILTOWNE CIR                                                                                 ROSEDALE           MD    21237‐1450
MORGAN BEVERLY (644366)               BIFFERATO GENTILOTTI & BIDEN            PO BOX 2165                                                 WILMINGTON         DE    19899‐2165
MORGAN BILLIE G (439343)              GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA    23510
                                                                              STREET, SUITE 600
MORGAN BRETT                          MORGAN, BRETT                           PO BOX 431                                                  MOUNT JEWLETT      PA    16740
MORGAN BRONZE PRODUCTS INC            367 HOLLOW HILL RD                                                                                  WAUCONDA           IL    60084‐9794
MORGAN BROWN JR                       4801 FREESE LN                                                                                      MADISON            WI    53718‐6970
MORGAN BUDDY                          2213 MIDDLE ST                                                                                      SULLIVANS ISLAND   SC    29482‐8780
MORGAN BURNELL
MORGAN BURNELL (500071)               (NO OPPOSING COUNSEL)
MORGAN BURR                           3170 JACKSON ST                                                                                     ARCADIA            LA    71001‐4405
MORGAN BURTON JR                      4395 WALNUT WOODS DR                                                                                WEST BLOOMFIELD    MI    48323‐2777
MORGAN CALVERT & GAYE                 2 BRENDLE LN                                                                                        WILMINGTON         DE    19807‐1300
MORGAN CARL                           1709 EDEN DR                                                                                        LONGVIEW           TX    75605
MORGAN CARTER                         2708 FOXTROT LN                                                                                     SPRING HILL        TN    37174‐7150
MORGAN CHALFANT                       1167 OLD ROYAL RD                                                                                   NEW SALEM          PA    15468‐1219
MORGAN CHEMELLO                       10628 LAFOLLETTE DR                                                                                 BRIGHTON           MI    48114‐9623
MORGAN CHEVROLET BUICK PONTIAC        PO BOX 1077                                                                                         JESUP              GA    31598‐1077
MORGAN CHEVROLET‐PONTIAC‐GMC          1289 W MAIN                                                                                         WEST LIBERTY       KY    41472
TRUCK,
MORGAN CHEVROLET‐PONTIAC‐GMC          1289 W MAIN                                                                                         WEST LIBERTY        KY   41472
TRUCK, INC.
MORGAN CHEVROLET‐PONTIAC‐GMC          LAVODIES HENRY                          1289 W MAIN                                                 WEST LIBERTY        KY   41472
TRUCK, INC.
MORGAN CITY COURTESY PONTIAC, BUICK   6322 HWY 90 E                                                                                       MORGAN CITY         LA

MORGAN CITY COURTESY PONTIAC, BUICK, DON HARGRODER                            6322 HWY 90 E                                               MORGAN CITY         LA   70380

MORGAN CITY COURTESY PONTIAC, BUICK, 6322 HWY 90 E                                                                                        MORGAN CITY         LA   70380
GMC TRUCK
MORGAN CITY MOTORS, INC.             DON HARGRODER                            6322 HWY 90 E                                               MORGAN CITY        LA 70380
MORGAN CLYDE (475818)                KELLEY & FERRARO LLP                     1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                                              BOND COURT BUILDING
MORGAN COLLISION AND TIRE CENTER      210 W PARK ST                                                                                       SHELDON            IA    51201‐1022
MORGAN CONNIE                         MORGAN, CONNIE                         1840 N ERIE ST APT 2                                         TOLEDO             OH    43611‐2780
MORGAN COUNTY                         SALES & USE TAX DIVISION               PO BOX 1848                                                  DECATUR            AL    35602‐1848
MORGAN COUNTY                         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1848                                                  DECATUR            AL    35602‐1848

MORGAN COUNTY                         PO BOX 1848                                                                                         DECATUR            AL    35602‐1848
MORGAN COUNTY COLLECTOR               PO BOX 315                                                                                          VERSAILLES         MO    65084‐0315
MORGAN COUNTY JUVENILE COURT          PO BOX 668                                                                                          DECATUR            AL    35602‐0668
MORGAN COUNTY REVENUE                 PO BOX 696                                                                                          DECATUR            AL    35602‐0696
COMMISSIONER
MORGAN COUNTY SHERIFF                 PO BOX 305                                                                                          WEST LIBERTY        KY   41472‐0305
MORGAN COUNTY TAX COLLECTOR           PO BOX 696                                                                                          DECATUR             AL   35602‐0696
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Name                               Address1                         Address2                        Address3   Address4               City             State Zip
MORGAN COUNTY TAX COMMISSIONER     PO BOX 151                                                                                         MADISON           GA 30650‐0151

MORGAN COUNTY TREASURER            155 E MAIN ST RM 153                                                                               MCCONNELSVILLE   OH 43756‐1297
MORGAN COUNTY TREASURER            180 S MAIN ST STE 129                                                                              MARTINSVILLE     IN 46151‐1983
MORGAN CRAIG A                     CRAIG A MORGAN ATTORNEY AT LAW   718 SUNFISH ST                                                    LAKEWAY          TX 78734‐4410
MORGAN CRUCIBLE CO PLC, THE        GRUENER WEG 37                                                              HANAU HE 63450
MORGAN D RICHARDSON                5900 BRIDGE RD APT 805                                                                             YPSILANTI        MI    48197‐7009
MORGAN DAN                         11565 LEBANON PINEGROVE RD                                                                         TERRY            MS    39170‐9117
MORGAN DAN                         MORGAN, DAN                      55 PUBLIC SQ STE 650                                              CLEVELAND        OH    44113‐1909
MORGAN DAN B                       6355 KING GRAVES ROAD                                                                              FOWLER           OH    44418‐9722
MORGAN DARRYLL                     MORAN, DARRYLL                   437 ROSA AVE                                                      METAIRIE         LA    70005‐3419
MORGAN DEILKES                     1015 W 13TH ST                                                                                     MUNCIE           IN    47302‐3025
MORGAN DENNIS                      MORGAN, DENNIS                   30928 FORD RD                                                     GARDEN CITY      MI    48135‐1803
MORGAN DESIGN GROUP                STRIPES OF AMERICA               737 BLACKHAWK DR                                                  WESTMONT         IL    60559‐1117
MORGAN DESIGN GROUP
MORGAN DESIGN GROUP                EVE OZER X12                     2512 WISCONSIN AVENUE                                             DAYTON           OH    45439
MORGAN DOLLAR MOTORSPORT LLC       1145 S MAIN ST                                                                                     HENNESSEY        OK    73742‐1754
MORGAN DOLLAR MOTORSPORTS INC      260 AVIATION DR                                                                                    STATESVILLE      NC    28677‐2516
MORGAN DONA                        NEED BETTER ADDRESS 11/01/06CP   477 COUNTY ROAD 177                                               CENTRE           AL    35960
MORGAN DONALD                      96 KELLOGG RD                                                                                      HANNIBAL         NY    13074
MORGAN DONALD (511754)             PROVOST & UMPHREY                PO BOX 4905                                                       BEAUMONT         TX    77704‐4905
MORGAN DONALD C (346613)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA    23510
                                                                    STREET, SUITE 600
MORGAN DONALD EUGENE (ESTATE OF)   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                           HOUSTON           TX   77002‐1751
(514055)
MORGAN DONALD EUGENE (ESTATE OF)   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                           HOUSTON           TX   77002‐1751
(514055) ‐ CHEATHAM CLIFFORD LEE

MORGAN DONALD EUGENE (ESTATE OF)   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                           HOUSTON           TX   77002‐1751
(514055) ‐ COLEMAN AMY N
MORGAN DONALD EUGENE (ESTATE OF)   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                           HOUSTON           TX   77002‐1751
(514055) ‐ HUDSON NANCY D
MORGAN DONALD EUGENE (ESTATE OF)   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                           HOUSTON           TX   77002‐1751
(514055) ‐ HUDSON WILLIAM
MORGAN DONALD EUGENE (ESTATE OF)   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                           HOUSTON           TX   77002‐1751
(514055) ‐ LAIRY JESSIE DEAN
MORGAN DONALD EUGENE (ESTATE OF)   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                           HOUSTON           TX   77002‐1751
(514055) ‐ MOODY ANITA JUNE
MORGAN DONALD EUGENE (ESTATE OF)   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                           HOUSTON           TX   77002‐1751
(514055) ‐ TAYLOR ALLEN S
MORGAN E WEBB                      9824 GERALDINE ST                                                                                  YPSILANTI        MI    48197‐6922
MORGAN EXPRESS INC                 PO BOX 16                                                                                          ELWIN            IL    62532‐0016
MORGAN FIRM                        DBA MORGAN & MORGAN PA           20 N ORANGE AVE FL 16                                             ORLANDO          FL    32801‐4624
MORGAN FRANK (446490)              KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND        OH    44114
                                                                    BOND COURT BUILDING
MORGAN GEORGE D (472124)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MORGAN GEORGE L (494029)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MORGAN GERALD                      MORGAN, GERALD                   30928 FORD RD                                                     GARDEN CITY      MI 48135‐1803
MORGAN GERALD M                    MORGAN, GERALD M                 30928 FORD RD                                                     GARDEN CITY      MI 48135‐1803
MORGAN GREENMAN                    920 MOHAWK ST                    BLD 6 APT 238                                                     LEWISTON         NY 14092
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Name                               Address1                          Address2                         Address3                      Address4         City              State Zip
MORGAN GUARANTY TRUST CO OF NYAS   PO BOX 1389                       CHURCH ST STATION                                                               NEW YORK           NY 10008‐1389
TRUSTEE
MORGAN GUARANTY TRUST CO OF NYAS   PO BOX 1389                       PENSION TRUSTS                                                                  NEW YORK          NY 10008‐1389
TRUSTEE OF VARIOUS
MORGAN GUARANTY TRUST CO OF NYAS   PO BOX 1389                       DTD 1‐1‐50 ARMCO STEEL CORP                                                     NEW YORK          NY 10008‐1389
TRUSTEE UNDER AGREEMENT
MORGAN GUARANTY TRUST COMPANY OF   23 WALL ST                                                                                                        NEW YORK          NY 10005‐1962
NEW YORK
MORGAN GUARANTY TRUST OF NY AS     TRUSTEE UNDER INDENTURE DTD 3‐    PO BOX 1389                      29‐40 FOR GUAR OF NY RETIRE                    NEW YORK          NY 10008‐1389
                                                                                                      SY
MORGAN HALL                        2019 CORNWALLIS PKWY                                                                                              CAPE CORAL        FL    33904‐4070
MORGAN HARRISON                    4267 PARK VIEW TER                                                                                                VERO BEACH        FL    32967
MORGAN HAYES JR                    PO BOX 642                                                                                                        BAY CITY          MI    48707‐0642
MORGAN HUGHES JR                   727 BUTLER DR                                                                                                     LAKE ORION        MI    48362‐1613
MORGAN I I I, WILLIAM T            4165 PURDY RD                                                                                                     LOCKPORT          NY    14094‐1031
MORGAN I I, RICHARD F              921 S SHELLEY LAKE LN                                                                                             SPOKANE VALLEY    WA    99037‐8407
MORGAN II, EBER G                  2371 E COUNTY ROAD 250 S                                                                                          FRANKFORT         IN    46041‐9399
MORGAN II, HARRY H                 3413 ARBOR DR                                                                                                     FENTON            MI    48430‐3126
MORGAN II, HARRY HAMILTON          3413 ARBOR DR                                                                                                     FENTON            MI    48430‐3126
MORGAN II, PAUL E                  6323 KELLUM DR                                                                                                    INDIANAPOLIS      IN    46221‐4614
MORGAN II, RICHARD FALES           921 S SHELLEY LAKE LN                                                                                             SPOKANE VLY       WA    99037‐8407
MORGAN II, RICHARD L               5515 W MARKET ST                                                                                                  INDIANAPOLIS      IN    46224‐8703
MORGAN III, ROY P                  3723 S LASALLE ST                                                                                                 INDIANAPOLIS      IN    46237‐1244
MORGAN III, WILLIAM B              4207 KELLY CT                                                                                                     KOKOMO            IN    46902‐4107
MORGAN III, WILLIAM B              4207 KELLY COURT                                                                                                  KOKOMO            IN    46902‐4107
MORGAN III, WILLIAM THOMAS         4165 PURDY RD                                                                                                     LOCKPORT          NY    14094‐1031
MORGAN ILONA                       320 IROQUOIS LANE                                                                                                 SEYMOUR           TN    37865‐5008
MORGAN J P SERVICES                C\O BANK OF NEW YORK              DEPT                             PO BOX 19266                                   NEWARK            NJ    07195‐0001
MORGAN J ROWE JR                   4935 PENSACOLA BLVD                                                                                               MORAINE           OH    45439‐2833
MORGAN JAMES                       1 OAKHOLLOW DR                                                                                                    TEXARKANA         TX    75503‐1727
MORGAN JAMES                       15009 DECEMBER WAY                                                                                                ROSEMOUNT         MN    55068‐5521
MORGAN JAMES (471031)              PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                                          PHILADELPHIA      PA    19103‐5446
MORGAN JAMES D                     MORGAN, JAMES D                   100 CENTURY PKWY STE 305                                                        MOUNT LAUREL      NJ    08054‐1182
MORGAN JANE                        807 TROPICAL CIR                                                                                                  SARASOTA          FL    34242‐1440
MORGAN JOANN (509477)              HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST , 17TH FLOOR                                                     PHILADELPHIA      PA    19103

MORGAN JOHN (493061)               EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                                         NEW YORK          NY    10017‐6530
MORGAN JOHN L (463177)             WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                                 NEW YORK          NY    10038
MORGAN JOHNSON                     3427 PENROSE DR                                                                                                   LANSING           MI    48911‐3332
MORGAN JOLENE                      MORGAN, JOLENE                    120 WEST MADISON STREET , 10TH                                                  CHICAGO           IL    60602
                                                                     FLOOR
MORGAN JOLENE                      MORGAN, KEITH                     KROHN & MOSS ‐ WI                120 WEST MADISON STREET ,                      CHICAGO            IL   44114
                                                                                                      10TH FLOOR
MORGAN JR, ADEN                    80 DOGWOOD TER                                                                                                    ALEXANDRIA        AL    36250‐5630
MORGAN JR, BERNARD D               PO BOX 518                                                                                                        CLIO              MI    48420‐0518
MORGAN JR, BILLY W                 5704 BAY OAKS DR                                                                                                  MONROE            LA    71203‐3206
MORGAN JR, CHARLES C               114 RIVERVIEW BLVD                                                                                                FLUSHING          MI    48433‐1837
MORGAN JR, CHARLIE                 2806 MONTEGO DR                                                                                                   LANSING           MI    48912‐4550
MORGAN JR, CHRISTOPHER C           1856 VILLAGE GREEN BLVD APT 102                                                                                   ROCHESTER HILLS   MI    48307‐5690
MORGAN JR, CLAYTON J               117 BROOKS HILL RD                                                                                                WOLCOTT           CT    06716‐2417
MORGAN JR, DANIEL W                146 N CRANDON AVE                                                                                                 NILES             OH    44446‐3417
MORGAN JR, DEMETRIUS W             3342 DALE RD                                                                                                      SAGINAW           MI    48603‐3122
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Name                          Address1                         Address2                        Address3   Address4         City            State Zip
MORGAN JR, EDDIE              8408 RUNNING DEER AVE UNIT 101                                                               LAS VEGAS        NV 89145‐4591
MORGAN JR, GEORGE F           1048 ESSEX DR                                                                                LAKE ISABELLA    MI 48893‐9362
MORGAN JR, GEORGE F           1942 HARBINS RD                                                                              DACULA           GA 30019‐1844
MORGAN JR, HARVEY L           4805 DEVON DR                                                                                INDIANAPOLIS     IN 46226‐3212
MORGAN JR, HENRY L            19 NORTHINGTON DR                                                                            AVON             CT 06001‐2361
MORGAN JR, HERMAN N           210 W HOLBROOK AVE                                                                           FLINT            MI 48505‐5905
MORGAN JR, JAMES              1502 HERON RIDGE BLVD                                                                        GREENWOOD        IN 46143‐7891
MORGAN JR, JERRY              2113 S MADISON AVE                                                                           ANDERSON         IN 46016‐4050
MORGAN JR, LEQUINCE           5901 DUPONT ST                                                                               FLINT            MI 48505‐2685
MORGAN JR, MAJOR L            25 OAKGROVE AVE # 1                                                                          BUFFALO          NY 14208
MORGAN JR, MERLE R            1420 DAKOTA AVE                                                                              GLADSTONE        MI 49837‐1314
MORGAN JR, NORMAN B           6087 N ELMS RD                                                                               FLUSHING         MI 48433‐9018
MORGAN JR, PATRICK J          4825 OLD JULIAN RD                                                                           JULIAN           NC 27283‐9237
MORGAN JR, PAUL K             PO BOX 67                                                                                    CRUMPTON         MD 21628‐0067
MORGAN JR, PERRY              20047 WILLOWICK DR                                                                           SOUTHFIELD       MI 48076‐1716
MORGAN JR, RALPH E            1084 W BOATFIELD AVE                                                                         FLINT            MI 48507‐3606
MORGAN JR, RICHARD            7935 REYNOLDSBURG RD                                                                         SPRINGVILLE      TN 38256‐5477
MORGAN JR, RICHARD A          102 N OSBORN AVE                                                                             YOUNGSTOWN       OH 44509‐2030
MORGAN JR, RICHARD E          1 VALLEY RD                                                                                  BELOIT           WI 53511‐2954
MORGAN JR, ROBERT             3990 19TH ST                                                                                 ECORSE           MI 48229‐1314
MORGAN JR, SAM D              3695 BELLE GLADE TRL                                                                         SNELLVILLE       GA 30039‐6783
MORGAN JR, SANDERS            516 UNIVERSITY ST                                                                            FERNDALE         MI 48220‐2862
MORGAN JR, WHEELER            933 HEMLOCK AVE SW                                                                           WARREN           OH 44485‐3312
MORGAN KALMAN CLINIC          PO BOX 827990                                                                                PHILADELPHIA     PA 19182‐90
MORGAN KARL                   5028 VESTENY CT                                                                              ANTIOCH          CA 94531‐7812
MORGAN KENNETH & HELEN        1084 WESTOVER DR SE                                                                          WARREN           OH 44484‐2736
MORGAN KENT & NANCY           801 METZ DRIVE                                                                               GILLETTE         WY 82718
MORGAN KIMBERLY M             MORGAN, KIMBERLY M               1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL      NJ 08003
MORGAN LAVAN                  4777 327TH AVENUE NORTHEAST                                                                  CAMBRIDGE        MN 55008‐4126
MORGAN LEE F (439344)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                               STREET, SUITE 600
MORGAN LEWIS & BOCKIUS        1701 MARKET ST                                                                               PHILADELPHIA    PA    19103‐2901
MORGAN LEWIS & BOCKIUS        1111 PENNSYLVANIA AVE NW                                                                     WASHINGTON      DC    20004‐2541
MORGAN LEWIS & BOCKIUS LLP    PO BOX 8500S6050                                                                             PHILADELPHIA    PA    19178‐0001
MORGAN LEWIS & BOCKIUS LLP    1701 MARKET ST                                                                               PHILADELPHIA    PA    19103‐2901
MORGAN LEWIS & BOCKIUS LLP    PO BOX 8500                                                                                  PHILADELPHIA    PA    19178‐8500
MORGAN LEWIS & BOCKIUS LLP    1111 PENNSYLVANIA AVE NW                                                                     WASHINGTON      DC    20004‐2541
MORGAN LEWIS & BOCKUS LLP     WENDY S WALKER                   101 PARK AVE                                                NEW YORK        NY    10178
MORGAN LYANN                  MORGAN, LYANN                    113 MELVIN COURT                                            SMITHFIELD      NC    27577
MORGAN LYNN                   6750 GOODWOOD AVE                                                                            BATON ROUGE     LA    70806‐7411
MORGAN MARC                   4465 WILLOW RUN DR                                                                           DAYTON          OH    45430‐1559
MORGAN MARY                   PO BOX 117                                                                                   LAS VEGAS       NV    89125‐0117
MORGAN MAXSON                 221 ROBINSON ST                                                                              N TONAWANDA     NY    14120‐6927
MORGAN MC FADDEN              159 LONGVIEW TER                                                                             ROCHESTER       NY    14609‐4207
MORGAN MCCORMICK              1628 JERMAIN DR                                                                              TOLEDO          OH    43606‐4057
MORGAN MEHAN II               3109 MAPLEWOOD AVE                                                                           LAMBERTVILLE    MI    48144‐9616
MORGAN MELHUISH MONAGHAN &    39 BROADWAY FL 35                                                                            NEW YORK        NY    10006‐3045
MEYER
MORGAN MELHUISH MONAGHAN      651 W MT PLEASANT AVE                                                                        LIVINGSTON       NJ   07039
ARVIDSON ABRUTYN & LISOWSKI
MORGAN MILES                  MORGAN, MILES                    205 E TABERNACLE ST STE 2                                   ST GEORGE       UT 84770‐2971
                                      09-50026-mg              Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                Address1                           Address2                         Address3             Address4                  City             State Zip
MORGAN MINT, THE D/B/A THE FRANKLIN
MINT
MORGAN MITCHELL                     621 S MEADE ST APT 11                                                                                              FLINT            MI    48503‐2294
MORGAN MOLLOY                       10 WHALEN RD                                                                                                       HOPKINTON        MA    01748‐1710
MORGAN MOTOR CO OF ALBEMARLE        1510 HWY 52 N                                                                                                      ALBEMARLE        NC    28001
MORGAN MOTOR CO. OF ALBEMARLE, INC. 1510 HWY 52 N                                                                                                      ALBEMARLE        NC    28001

MORGAN NEWPORT                       415 W STEWART ST                                                                                                  OWOSSO            MI   48867‐4443
MORGAN NICHOLAS                      MORGAN, NICHOLAS                  30 E BUTLER AVE                                                                 AMBLER            PA   19002‐4514
MORGAN OLSON, LLC                    CHARLES HORTON                    1801 S NOTTAWA ST                                                               STURGIS           MI   49091‐8723
MORGAN PAMALA                        PO BOX 412                                                                                                        KIRBYVILLE        TX   75956‐0412
MORGAN PARK AUTOMOTIVE FLEET                                           11200 S HALSTED ST                                                                                IL   60628
SERVICE
MORGAN PEGGY J (476913)              KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                                   CLEVELAND        OH 44114
                                                                       BOND COURT BUILDING
MORGAN PEGGY R (628267)              DONALDSON & BLACK                 208 W WENDOVER AVE                                                              GREENSBORO        NC   27401‐1307
MORGAN PO/SAN DIEGO                  2375 PASEO DE LAS AMERICAS                                                                                        SAN DIEGO         CA   92154‐7278
MORGAN POLYMER SEALS LLC             9921 CARMEL MOUNTAIN RD PMB 334                                                                                   SAN DIEGO         CA   92129‐2813
MORGAN POLYMER SEALS LLC             9921 CARMEL MTN RD STE 334                                                                                        SAN DIEGO         CA   92129
MORGAN POLYMER SEALS LLC             CAROLS SALINAS L‐4                                                                      TIJUANA BAJA CALIFORNIA
                                                                                                                             BJ 22576 MEXICO
MORGAN POLYMER SEALS LLC             CAROLS SALINAS L‐4                COL INFONAVIT PRESIDENTES                             TIJUANA BAJA CALIFORNIA
                                                                                                                             BJ 22576 MEXICO
MORGAN POLYMER SEALS LLC             VICTOR GOMEZ                      PARQUE INDUSTRIAL PRESIDENTES    CARLOS SALINAS L‐4                             CLINTON           TN 37716

MORGAN POLYMER SEALS S DE RL DE CV   CAROLS SALINAS L‐4                COL INFONAVIT PRESIDENTES                             TIJUANA BAJA CALIFORNIA
                                                                                                                             BJ 22576 MEXICO
MORGAN POLYMER SEALS S DE RL DE CV   CAROLS SALINAS L‐4                                                                      TIJUANA BAJA CALIFORNIA
                                                                                                                             BJ 22576 MEXICO
MORGAN POLYMER SEALS, LLC                                              2375 PASEO DE LAS AMERICAS                                                                        CA   92154
MORGAN PONTIAC GMC TRUCK INC         2295 AUTOPLEX DR                                                                                                  BOSSIER CITY      LA   71111‐2380
MORGAN PONTIAC GMC TRUCK, INC.       ATTN: KEITH MARCOTTE              2295 AUTOPLEX DR                                                                BOSSIER CITY      LA   71111‐2380
MORGAN PONTIAC INC                   8757 BUSINESS PARK DR                                                                                             SHREVEPORT        LA   71105‐5612
MORGAN PONTIAC, INC                  MICHAEL MORGAN                    8747 BUSINESS PARK DR                                                           SHREVEPORT        LA   71105‐5612
MORGAN PONTIAC, INC.                 MICHAEL MORGAN                    8757 BUSINESS PARK DR                                                           SHREVEPORT        LA   71105‐5612
MORGAN PONTIAC, INC.                 8757 BUSINESS PARK DR                                                                                             SHREVEPORT        LA   71105‐5612
MORGAN PONTIAC, INC.                 ARGONAUT HOLDINGS, INC.           DIRECTOR OF RETAIL REAL ESTATE   485 W MILWAUKEE ST   9TH FLOOR, ARGONAUT       DETROIT           MI   48202‐3220
                                                                                                                             ôAö BUILDING
MORGAN PONTIAC‐BUICK‐GMC             2295 AUTOPLEX DR                                                                                                  BOSSIER CITY      LA   71111‐2380
MORGAN PONTIAC‐GMC TRUCK, INC.       MICHAEL MORGAN                    2295 AUTOPLEX DR                                                                BOSSIER CITY      LA   71111‐2380
MORGAN PONTIAC‐GMC‐BUICK             8757 BUSINESS PARK DR                                                                                             SHREVEPORT        LA   71105‐5612
MORGAN PRICE                         28964 LEONA ST                                                                                                    GARDEN CITY       MI   48135‐2758
MORGAN RAHN L (429498)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                     NORFOLK           VA   23510
                                                                       STREET, SUITE 600
MORGAN RALPH J (626669)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                     NORFOLK           VA 23510
                                                                       STREET, SUITE 600
MORGAN REED                           1504 E TELEGRAPH ST                                                                                              CARSON CITY      NV    89701‐4436
MORGAN REESE OR BETTY                 2709 6TH ST                                                                                                      CUYAHOGA FALLS   OH    44221‐2029
MORGAN RICHARD A & FRANCES J          449 SALT SPRINGS RD                                                                                              WARREN           OH    44481‐8661
MORGAN RICHARD DEAN (505250)          COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                                         HOUSTON          TX    77002‐1751
MORGAN RICHARD R (ESTATE OF) (657430) BERGMAN & FROKT                  705 2ND AVE STE 1601                                                            SEATTLE          WA    98104‐1711
                                     09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                                 Address1                            Address2                        Address3                 Address4                City              State Zip
MORGAN ROBERT (482346)               KAZAN MCCLAIN EDISES ABRAMS,        171 12TH ST STE 300                                                              OAKLAND            CA 94607‐4911
                                     FERNANDZ, LYONS & FARRISE
MORGAN ROBERT (663699)               BRAYTON PURCELL                     621 SW MORRISON ST STE 950                                                       PORTLAND          OR 97205‐3824
MORGAN RONNIE (446494)               BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD        OH 44067
                                                                         PROFESSIONAL BLDG
MORGAN ROWE JR                       4935 PENSACOLA BLVD                                                                                                  MORAINE           OH 45439‐2833
MORGAN ROWE JR                       4935 PENSACOLA BLVD                                                                                                  DAYTON            OH 45439‐2833
MORGAN RUTH J (480768)               KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                                    CLEVELAND         OH 44114
                                                                         BOND COURT BUILDING
MORGAN SALGAT                        4460 WORVIES WAY                                                                                                     COLUMBIAVILLE     MI   48421‐9647
MORGAN SLOAN, TAQUALA N              3358 LAWTON ST                                                                                                       DETROIT           MI   48208‐2559
MORGAN SR, GARY W                    2700 CAMBRIDGE CT SE                                                                                                 DECATUR           AL   35601‐6703
MORGAN SR, MATTHEW W                 439 ENXING AVE                                                                                                       WEST CARROLLTON   OH   45449‐2009
MORGAN STANLEY                       M S & CO C/F                        MARION BEVERIDGE IRA DTD        704 E RIDGE VILLAGE DR                           MIAMI             FL   33157
                                                                         6/19/96
MORGAN STANLEY                       C/O BEVERLY KRASNO                  13888 RED MANGROVE DR                                                            ORLANDO           FL 32828‐7389
MORGAN STANLEY                       FOR DEPOSIT IN THE ACCOUNT OF       4455 DRESSLER RD NW STE 202     TREVINO‐INGMAN                                   CANTON            OH 44718‐2785
MORGAN STANLEY                       FOR DEPOSIT IN THE ACCOUNT OF       T PILGERAM                      PO BOX 360086M C/O                               PITTSBURGH        PA 15251
                                                                                                         MELLON BAN
MORGAN STANLEY
MORGAN STANLEY                       1585 BROADWAY                                                                                                        NEW YORK          NY 10036
MORGAN STANLEY                       MORGAN STANLEY & CO. INCORPORATED   1585 BROADWAY                                                                    NEW YORK          NY 10036

MORGAN STANLEY & CO                  C/O WAYNE F MARTIN                  1227 SWEETIE DRIVE                                                               COLLIERVILLE      TN 38017‐6871
MORGAN STANLEY & CO INTERNATIONAL    ATTN: BRIAN CRIPPS                  25 CABOT SQUARE, CANARY WHARF                            LONDON E14 4QA UNITED
PLC                                                                                                                               KINGDOM
MORGAN STANLEY & CO INTERNATIONAL    25 CABOT SQUARE, CANARY WHARF       ATTN: BRIAN CRIPPS                                       LONDON E144QA GREAT
PLC                                                                                                                               BRITAIN
MORGAN STANLEY & CO. INCORPORATED    25 CABOT SQUARE                                                                              CANARY WHARF LONDON
                                                                                                                                  E14 4QA GREAT BRITAIN
MORGAN STANLEY & CO. INCORPORATED    1585 BROADWAY                                                                                                        NEW YORK          NY 10036

MORGAN STANLEY & CO. INCORPORATED    ATTENTION: LIABILITY MANAGEMENT     1585 BROADWAY                                                                    NEW YORK          NY 10036
                                     GROUP
MORGAN STANLEY & CO. INCORPORATED    ATTN: GARY S. BARANCIK, MANAGING    1585 BROADWAY                                                                    NEW YORK          NY 10036
                                     DIRECTOR
MORGAN STANLEY & CO. INCORPORATED    ATTN: JOHN C. ADAMS, MANAGING       1585 BROADWAY                                                                    NEW YORK          NY 10036
                                     DIRECTOR
MORGAN STANLEY & CO. INCORPORATED    ATTN: PAUL R. AARON, PRINCIPAL      1585 BROADWAY                                                                    NEW YORK          NY 10036

MORGAN STANLEY & CO. INCORPORATED    ATTN: RICHARD W. SWIFT, MANAGING    1585 BROADWAY                                                                    NEW YORK          NY 10036
                                     DIRECTOR
MORGAN STANLEY & CO. INTERNATIONAL
LIMITED
MORGAN STANLEY & CO. INTERNATIONAL   25 CABOT SQUARE                                                                              CANARY WHARF, E14 4
PLC                                                                                                                               GREAT BRITAIN
MORGAN STANLEY & CO. INTERNATIONAL   25 CABOT SQUARE                     CANARY WHARF                    LONDON, E14 4QA          ENGLAND
PLC
MORGAN STANLEY & CO. INTERNATIONAL   25 CABOT SQUARE, CANARY WHARF       ATTN: BRIAN CRIPPS                                       LONDON E144QA GREAT
PLC                                                                                                                               BRITAIN
MORGAN STANLEY & CO. INTERNATIONAL   ATTN BRIAN CRIPPS                   25 CABOT SQUARE                 CANARY WHARF             E144QA LONDON ENGLAND
PLC                                                                                                                               GREAT BRITAIN
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Name                                Address1                             Address2                       Address3         Address4               City              State Zip
MORGAN STANLEY (CITI BANK)          1 PIERREPONT PLZ STE 7               MORGAN STANLEY CORPORATE                                               BROOKLYN           NY 11201‐2776
                                                                         EQUIPMENT SUPPLIES INC.
MORGAN STANLEY (CITI BANK)          1 PIERREPONT PLZ STE 7                                                                                      BROOKLYN          NY 11201‐2775
MORGAN STANLEY (DELAWARE)           919 N MARKET ST STE 300                                                                                     WILMINGTON        DE 19801‐3068
MORGAN STANLEY C/F TOMMY H HICKS    TOMMY H HICKS                        112 ALBA ST E                                                          VENICE            FL 34285
IRA
MORGAN STANLEY CAPITAL GROUP INC.

MORGAN STANLEY CUST IRA             LYNNE Z GOLD‐BIKIN IRA               MORGAN STANLEY CUST            307 HUGHES RD                           KING OF PRUSSIA   PA 19406
MORGAN STANLEY EUROPEAN REAL        ESTATE SPECIAL SITUATIONS FUND       25 CABOT SQUARE CANARY WHARF   LONDON E14 4QA   UNITED KINGDOM GREAT
                                                                                                                         BRITAIN
MORGAN STANLEY LEVERAGED EQUITY     BOX 73229                                                                                                   CHICAGO           IL 60673
MORGAN STANLEY SMITH BARNEY         MARLENE VIDA                         4202 W LIBERTY RD                                                      DUBOIS            PA 15801‐5254
MORGAN STANLEY SMITH BARNEY         C/O SANFORD FLEISHER                 46 HEMLOCK RD                                                          MANHASSET         NY 11030
MORGAN STANLEY, BANK OF AMERICA,    JP MORGAN, CITIBANK, UBS, WACHOVIA
BARCLAYS, DEUTSCHE BANK,

MORGAN STANLEY, INVESTMENT BANKING 1585 BROADWAY                       FLOOR 33                                                                 NEW YORK          NY 10036
DIVISION
MORGAN STANLEY‐SMITH BARNEY        HOWARD KAPLUS IRA STANDARD 04/24/08 PO BOX 340                                                               NEW YORK          NY 10008

MORGAN STATE UNIVERSITY OFFICE OF   1700 E COLD SPRING LN                                                                                       BALTIMORE         MD 21251‐0001
THE BURSAR
MORGAN T RIDINGTON                  28356 FAIRWAY DRIVE                                                                                         MELFA             VA 23410
MORGAN TASHA                        MORGAN, TASHA                        PO BOX 402                                                             RUSSELLVILLE      KY 42276‐0402
MORGAN TRAIL MFG                    NORBERT MARKERT                      7888 LINCOLN AVE                                                       RIVERSIDE         CA 92504‐4443
MORGAN TRAILER MANUFACTURING
COMPAN
MORGAN TRAILER MANUFACTURING        35 THOUSAND OAKS BLVD                                                                                       MORGANTOWN        PA 19543‐8838
COMPANY
MORGAN TRUCKING                                                          RT. #1 BOX 208A                                                                          PA   17051
MORGAN VAN HOOSE                    5562 KIDDER RD                                                                                              ALMONT            MI   48003‐9613
MORGAN WARD ATTORNEY AT LAW         3217 E CUMBERLAND RD                                                                                        BLUEFIELD         WV   24701‐5017
MORGAN WAYNE N III                  433 DOUGLAS DR                                                                                              BEECH ISLAND      SC   29842‐8331
MORGAN WILLIAM CURTIS (637461)      HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                                              ANTIOCH           CA   94509‐2323

MORGAN WILLIAM CURTIS (ESTATE OF)   SIMONS EDDINS & GREENSTONE
(662166)
MORGAN WINIFRED                     531 SALTSPRINGS ROAD SW                                                                                     WARREN            OH   44481
MORGAN WOODS                        1941 GOLFVIEW LN                                                                                            WESTLAND          MI   48186‐5588
MORGAN WRIGHT                       PO BOX 382                                                                                                  COLLIERVILLE      TN   38027‐0382
MORGAN'S AUTO REPAIR                800 CENTER AVE                                                                                              BAY CITY          MI   48708‐5951
MORGAN'S AUTO REPAIR                ATTN: MICHAEL DALTON                 800 CENTER AVE                                                         BAY CITY          MI   48708‐5951
MORGAN'S AUTO SERVICE               216 LEBANON RD                                                                                              PENDLETON         SC   29670‐1924
MORGAN'S COMPLETE AUTO SERVICE      28 S MAIN ST                                                                                                CLARKSTON         MI   48346‐1524
MORGAN'S GARAGE                     1000 N D ST                                                                                                 MADERA            CA   93638‐2420
MORGAN, AGATHA                      801 W MIDDLE ST APT 3317                                                                                    CHELSEA           MI   48118‐2317
MORGAN, AGATHA                      801 WEST MIDDLE ST APT 3317                                                                                 CHELSEA           MI   48118‐2317
MORGAN, ALAN B                      11040 WILLARD RD                                                                                            MILLINGTON        MI   48746‐9105
MORGAN, ALAN B.                     11040 WILLARD RD                                                                                            MILLINGTON        MI   48746‐9105
MORGAN, ALBERT C                    1785 RIGHT PRONG BLUE BUCK RD                                                                               DUCK RIVER        TN   38454‐3713
MORGAN, ALBERT E                    2263 UGLY CREEK RD                                                                                          DUCK RIVER        TN   38454‐3781
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Name                       Address1                         Address2            Address3         Address4         City              State Zip
MORGAN, ALBERT E           4926 ROLLING MEADOW DR                                                                 LAKELAND           FL 33810‐2615
MORGAN, ALBERT L           487 GLENMONTE DR                                                                       HOWARD             OH 43028‐9266
MORGAN, ALEXANDER P        8470 S SHORE DR                                                                        CLARKSTON          MI 48348‐2674
MORGAN, ALEXANDER P        1569 PIERCE ST                                                                         BIRMINGHAM         MI 48009‐2001
MORGAN, ALEXINE G          2607 GREENTREE LN                                                                      KOKOMO             IN 46902‐2951
MORGAN, ALFRED C           580 CUMMINS HWY                                                                        MATTAPAN           MA 02126
MORGAN, ALFRED J           2373 STONEBROOK CT                                                                     FLUSHING           MI 48433‐2595
MORGAN, ALLEN W            9331 FIRESIDE DR                                                                       SHREVEPORT         LA 71118‐3207
MORGAN, ALLEN WAYNE        9331 FIRESIDE DR                                                                       SHREVEPORT         LA 71118‐3207
MORGAN, ALVA J             3910 FOX ST                                                                            INKSTER            MI 48141‐2770
MORGAN, ANGELA
MORGAN, ANGIE S
MORGAN, ANN B              540 DUPONT                                                                             YPSILANTI         MI   48197‐1914
MORGAN, ANN B              540 DUPONT AVE                                                                         YPSILANTI         MI   48197‐1914
MORGAN, ANN M              30837 HOLTS LANDING RD                                                                 DAGSBORO          DE   19939‐4194
MORGAN, ANNA               1108 LAKE PARK DR                                                                      GRAND BLANC       MI   48439‐8074
MORGAN, ANNA G             237 KENSINGTON RD                                                                      VERMILION         OH   44089
MORGAN, ANNABELLE L        4710 PINEDALE AVE                                                                      CLARKSTON         MI   48346‐3755
MORGAN, ANNABELLE L        4710 PINEDALE                                                                          CLARKSTON         MI   48346‐3755
MORGAN, ANNIE L            1510 VERNON RD                   # 10                                                  LA GRANGE         GA   30240‐4131
MORGAN, ANNIE M            3641 BLAKELY                                                                           SCHERTZ           TX   78154
MORGAN, ANNIE M            3641 BLAKELY ST                                                                        SCHERTZ           TX   78154‐2668
MORGAN, ANTHONY D          1219 BLUFF ROAD                                                                        PLAINFIELD        IN   46168‐9352
MORGAN, ANTHONY J          PO BOX 389                                                                             CLEVELAND         OH   44107‐0389
MORGAN, ANTHONY J          1256 LEANNE CT                                                                         KENNEDALE         TX   76060‐6036
MORGAN, ANTHONY JAY        1256 LEANNE CT                                                                         KENNEDALE         TX   76060‐6036
MORGAN, ANTHONY W          277 HOME AVE                                                                           XENIA             OH   45385‐5517
MORGAN, APRIL I            6887 KIRK RD                                                                           CANFIELD          OH   44406‐9647
MORGAN, ARLENE M           95 DUNSINANE DR                                                                        NEW CASTLE        DE   19720
MORGAN, ARLIE L            4435 SYCAMORE DR                                                                       ALGER             MI   48610‐9563
MORGAN, ARLINDA K          911 E CINDY ST                                                                         CARBONDALE        IL   62901‐3317
MORGAN, ARTHUR C           4706 WINTER DR                                                                         ANDERSON          IN   46012‐9568
MORGAN, ARTHUR M           5525 MAIN ST                                                                           WALKERTOWN        NC   27051
MORGAN, AUDREY             12 S SEINE DR                                                                          CHEEKTOWAGA       NY   14227‐3036
MORGAN, BAILEY             7364 W RIDGE CIR                                                                       SHERWOOD          AR   72120
MORGAN, BARBARA A          134 MAIN ST APT 507                                                                    UPTON             MA   01568‐1626
MORGAN, BARBARA H          15 HAUSER ST                                                                           WATERBURY         CT   06704‐2631
MORGAN, BARBARA J          8389 N STATE ROAD 9                                                                    ALEXANDRIA        IN   46001‐8648
MORGAN, BARBARA J          14689 ELLETT RD                                                                        BELOIT            OH   44609
MORGAN, BARBARA J          8389 N SR 9                                                                            ALEXANDRIA        IN   46001‐8648
MORGAN, BARBARA W          1580 OAK KNOLL SE                                                                      WARREN            OH   44484‐4484
MORGAN, BARNEY L           10418 MELINDA DR                                                                       CLIO              MI   48420‐9407
MORGAN, BARNEY LEE         10418 MELINDA DR                                                                       CLIO              MI   48420‐9407
MORGAN, BASTIAN            4195 SPRINGFIELD ST                                                                    BURTON            MI   48509‐1713
MORGAN, BECKY L            550 S WAVERLY RD                                                                       EATON RAPIDS      MI   48827
MORGAN, BELINDA J          554 GADFIELD RD                                                                        MANSFIELD         OH   44903‐1954
MORGAN, BEN                1604 STONECREST DR                                                                     ROCHESTER HILLS   MI   48307‐3471
MORGAN, BEN T              339 WEST FARM ROAD                                                                     NANCY             KY   42544‐7903
MORGAN, BEN T              339 W FARM RD                                                                          NANCY             KY   42544‐7903
MORGAN, BENNIE E           17998 BETHEL CHURCH RD                                                                 MANCHESTER        MI   48158‐9598
MORGAN, BERNADETTE M       10423 N BRAY RD                                                                        CLIO              MI   48420‐9775
MORGAN, BERNADETTE MARIA   10423 N BRAY RD                                                                        CLIO              MI   48420‐9775
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Name                   Address1                        Address2                      Address3   Address4         City            State Zip
MORGAN, BERNARD K      PO BOX 13871                                                                              DETROIT          MI 48213‐0871
MORGAN, BERNIECE M     897 PARK VW                                                                               CLIO             MI 48420‐2301
MORGAN, BERT L         1956 PINEWOOD DR                                                                          BRUNSWICK        OH 44212‐4058
MORGAN, BERT L         12900 SW 9TH ST APT 109                                                                   BEAVERTON        OR 97005‐9201
MORGAN, BERT M         6950 ROYAL SAINT GEORGE                                                                   CLARKSTON        MI 48348‐4829
MORGAN, BESSIE L       142 OSBORNE RD                                                                            LONDON           KY 40741‐9768
MORGAN, BESSIE M       2106 JEFFERSON STREET SW                                                                  WARREN           OH 44485‐4485
MORGAN, BETHANNE L     8 SUMMIT CT                                                                               MANSFIELD        OH 44906‐3735
MORGAN, BETTY ANN      6280 MAYVILLE RD                                                                          MARLETTE         MI 48453‐9537
MORGAN, BETTY G        1641 MOCKINGBIRD LN                                                                       ANDERSON         IN 46013‐9645
MORGAN, BETTY S        113 W CENTER ST                                                                           MANCHESTER       CT 06040‐4917
MORGAN, BETTY S        4465 WILLOW RUN DR.                                                                       DAYTON           OH 45430‐5430
MORGAN, BEVERLY        BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                               WILMINGTON       DE 19899‐2165
MORGAN, BEVERLY A      220 N LAKE PATRICK RD                                                                     BABSON PARK      FL 33827‐9576
MORGAN, BILLIE ANN     126 LITEWOOD LN                                                                           MORRESVILLE      NC 28117‐8027
MORGAN, BILLIE G       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                       STREET, SUITE 600
MORGAN, BILLY F        1508 GRAND AVE                                                                            NEW CASTLE      IN   47362‐3222
MORGAN, BILLY G        138 BRANDYWINE DR                                                                         MANCHESTER      TN   37355‐4381
MORGAN, BILLY R        123 LESTER WALKER ST                                                                      SUMITON         AL   35148‐3041
MORGAN, BILLY W        6955 W SWEET CREEK DR                                                                     NEW PALESTINE   IN   46163‐9140
MORGAN, BLAKE R        5210 STARNES DR                                                                           MURFREESBORO    TN   37128
MORGAN, BLANCHE E      750 RIVERWALK CIRCLE            APT 3A                                                    CORUNNA         MI   48817
MORGAN, BLANCHE E      750 RIVERWALK CIR APT 3A                                                                  CORUNNA         MI   48817‐1287
MORGAN, BOBBIE J       28 SIXTH ST                                                                               ARAGON          GA   30104
MORGAN, BOBBIE L       25030 LEROY ST                                                                            TAYLOR          MI   48180‐5076
MORGAN, BOBBY L        803 JEROME AVE                                                                            YPSILANTI       MI   48198‐4182
MORGAN, BOBBY L        2334 MAPLEWOOD AVE                                                                        TOLEDO          OH   43620‐1010
MORGAN, BOBBY LEE      803 JEROME AVE                                                                            YPSILANTI       MI   48198‐4182
MORGAN, BOBBY LOUIS    2334 MAPLEWOOD AVE                                                                        TOLEDO          OH   43620‐1010
MORGAN, BOBBY R        1570 PIN OAK DR                                                                           MORRISTOWN      TN   37814‐1433
MORGAN, BONITA M       664 SURREY HILL WAY                                                                       ROCHESTER       NY   14623‐3053
MORGAN, BONNIE L       1411 BYRON AVE                                                                            YPSILANTI       MI   48198‐3100
MORGAN, BRENDA J       2607 GREENTREE LN                                                                         KOKOMO          IN   46902‐2951
MORGAN, BRENT B        4028 CHEVRON DR                                                                           HIGHLAND        MI   48356‐1116
MORGAN, BRETT          PO BOX 431                                                                                MOUNT JEWETT    PA   16740‐0431
MORGAN, BRIAN C        7101 ALGER DRIVE                                                                          DAVISON         MI   48423‐2304
MORGAN, BRIAN CURTIS   7101 ALGER DRIVE                                                                          DAVISON         MI   48423‐2304
MORGAN, BUELAH E       4401 NW 1ST TER                                                                           POMPANO BEACH   FL   33064‐2509
MORGAN, BUELAH E       4401 N W 1ST TERRACE                                                                      POMPANO BEACH   FL   33064‐2509
MORGAN, BURNELL        PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON         MS   39206‐5621
MORGAN, BYRON LYNN     SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST      MS   39083‐3007
MORGAN, CALVIN E       654 HILLCLIFF DR                                                                          WATERFORD       MI   48328‐2519
MORGAN, CALVIN L       14770 PETOSKEY AVE                                                                        DETROIT         MI   48238‐2017
MORGAN, CANDACE M      6164 LOOKOVER CT                                                                          TOLEDO          OH   43612‐4230
MORGAN, CARENIKA A     6311 BOCAGE CIR                                                                           SHREVEPORT      LA   71119‐6201
MORGAN, CARL G         47229 TOMAHAWK DR                                                                         NEGLEY          OH   44441‐9744
MORGAN, CARL R         171 MORGANS MOUNTAIN RD                                                                   HYDEN           KY   41749‐8584
MORGAN, CARL R         2007 MONTEITH ST                                                                          FLINT           MI   48504‐4891
MORGAN, CARL V         419 LORENZ AVE                                                                            DAYTON          OH   45417‐2339
MORGAN, CARL V         419 LORENZ AVE.                                                                           DAYTON          OH   45417‐5417
MORGAN, CARLTON M      270 OAKWOOD DR                                                                            WILLIAMSVILLE   NY   14221‐7050
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Name                       Address1                       Address2            Address3         Address4         City               State Zip
MORGAN, CAROL              74745 BURK ST                                                                        ARMADA              MI 48005‐4842
MORGAN, CAROL              107 SHEFFIELD                                                                        SALINE              MI 48176‐1020
MORGAN, CAROL A            33869 GROTH DR                                                                       STERLING HTS        MI 48312‐6633
MORGAN, CAROL A            4057 N GENESEE RD                                                                    FLINT               MI 48506‐2136
MORGAN, CAROL A            4057 N. GENESEE RD                                                                   FLINT               MI 48506‐2136
MORGAN, CAROL I            PO BOX 165                                                                           WHITINSVILLE        MA 01588‐0165
MORGAN, CAROL L            921 S SHELLEY LAKE LN                                                                SPOKANE VLV         WA 99037‐8407
MORGAN, CAROL L            G3439 N WASHBURN RD                                                                  DAVISON             MI 48423
MORGAN, CAROL R            PO BOX 3303                                                                          WARREN              OH 44485‐0303
MORGAN, CAROLYN            3925 CROSS BEND DR                                                                   ARLINGTON           TX 76016‐3806
MORGAN, CAROLYN            1120 DESTINY RIDGE WAY                                                               KNOXVILLE           TN 37932‐2368
MORGAN, CAROLYN D          HC 2 BOX 2283                                                                        WAPPAPELLO          MO 63966‐9522
MORGAN, CARRIE             8100 GRATIOT AVE APT #515                                                            DETROIT             MI 48213
MORGAN, CARRIE I           20 BORDER AVE                                                                        HEDGESVILLE         WV 25427‐5809
MORGAN, CARROLL W          7 N LOCKEPORT DR                                                                     EDMOND              OK 73003‐4757
MORGAN, CARTER E           PO BOX 293                                                                           CANTON              GA 30169‐0293
MORGAN, CARTER E           561 TRANSIT AVE                                                                      CANTON              GA 30114‐2568
MORGAN, CASSANDRA L        325 E MOTT AVE                                                                       FLINT               MI 48505‐5207
MORGAN, CEBRENNA Y.        48 SWEENEY ST                                                                        BUFFALO             NY 14211‐3022
MORGAN, CEBRENNA Y.        48 SWEENY ST.                                                                        BUFFALO             NY 14211
MORGAN, CECIL C            826 ENGLEWOOD DR                                                                     ENGLEWOOD           OH 45322‐2809
MORGAN, CECILIA A          13215 N 98TH AVE UNIT E                                                              SUN CITY            AZ 85351‐3213
MORGAN, CHARLANNE K        4207 KELLY CT                                                                        KOKOMO              IN 46902
MORGAN, CHARLES            3212 HARVEY RD                                                                       BARTLESVILLE        OK 74006‐6510
MORGAN, CHARLES            4011 JOHNSON FORK RD                                                                 WEST HARRISON       IN 47060‐9631
MORGAN, CHARLES            4970 HIGHWAY 371                                                                     HEFLIN              LA 71039‐5318
MORGAN, CHARLES A          2799 MULLINS PASS SW                                                                 MARIETTA            GA 30064‐4062
MORGAN, CHARLES C          114 RIVERVIEW BLVD                                                                   FLUSHING            MI 48433‐1837
MORGAN, CHARLES E          532 BISCAYNE DR                                                                      MANSFIELD           OH 44903‐9649
MORGAN, CHARLES E          4970 HIGHWAY 371                                                                     HEFLIN              LA 71039‐5318
MORGAN, CHARLES E          PO BOX 2026                                                                          ANDERSON            IN 46018‐2026
MORGAN, CHARLES EDWARD     PO BOX 2026                                                                          ANDERSON            IN 46018‐2026
MORGAN, CHARLES F          622 9TH ST                                                                           ROYAL OAK           MI 48067‐3144
MORGAN, CHARLES R          11316 WALNUT SHADE RD                                                                HILLSBORO           OH 45133‐6699
MORGAN, CHARLES T          16 BAZELY CIR                                                                        WICHITA FALLS       TX 76306‐1332
MORGAN, CHARLES V          4281 EAST 160TH STREET                                                               CLEVELAND           OH 44128‐2464
MORGAN, CHARLOTTE JUANI    642 W HOLBROOK AVE                                                                   FLINT               MI 48505‐2058
MORGAN, CHARON L           4580 WINDMILL CT                                                                     ORION               MI 48359‐2074
MORGAN, CHERI              PO BOX 285 ROUTE 10                                                                  OCEANA              WV 24870
MORGAN, CHERYL             2150 CARRIAGE HILL CIR                                                               LAPEER              MI 48446‐1664
MORGAN, CHERYL A           602 E PIPER AVE                                                                      FLINT               MI 48505‐2876
MORGAN, CHRISTINE L        9567 LA JOLLA DR                                                                     OLIVETTE            MO 63132‐2042
MORGAN, CHRISTY A          1274 S WASHBURN RD                                                                   DAVISON             MI 48423‐9155
MORGAN, CLARA I            722 SCHMITT RD                                                                       INDIANAPOLIS        IN 46239‐7813
MORGAN, CLARENCE           35100 HILLSIDE DR                                                                    FARMINGTON HILLS    MI 48335‐2516
MORGAN, CLARENCE B         16222 HIGHWAY 16 EAST                                                                MONTICELLO          GA 31064
MORGAN, CLARENCE C         4416 VALLEY LN                                                                       HIGH RIDGE          MO 63049‐1912
MORGAN, CLARENCE J         2028 HANOVER DR                                                                      E CLEVELAND         OH 44112‐2224
MORGAN, CLARENCE JEFFERY   2028 HANOVER DR                                                                      E CLEVELAND         OH 44112‐2224
MORGAN, CLARENCE L         3936 CUTLER DONAHOE WAY                                                              CUMMING             GA 30040‐1892
MORGAN, CLARENCE M         2572 ELMERS DR                                                                       LAPEER              MI 48446‐3417
MORGAN, CLARENCE N         847 ORION DR                                                                         FRANKLIN            IN 46131‐7388
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Name                      Address1                          Address2                       Address3   Address4         City              State Zip
MORGAN, CLARENCE N        11910 THOROUGHBRED DR APT 110                                                                HOUSTON            TX 77065‐4479
MORGAN, CLARK R           2007 TUNNELTON RD                                                                            BEDFORD            IN 47421‐8881
MORGAN, CLAUDE L          4495 ASPEN DR                                                                                AUSTINTOWN         OH 44515‐5325
MORGAN, CLAY A            21289 SW MAKAH ST                                                                            TUALATIN           OR 97062
MORGAN, CLEOTHA           3113 S CENTER RD                                                                             BURTON             MI 48519‐1461
MORGAN, CLIFFORD H        228 W HUNTER ST                                                                              MESA               AZ 85201‐2630
MORGAN, CLIFFORD R
MORGAN, CLYDE             KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                            BOND COURT BUILDING
MORGAN, CLYDE             154 VALLEYBROOK CIR                                                                          HIXSON            TN   37343‐3022
MORGAN, CLYDE A           504 SAINT ANDREWS DRIVE                                                                      LONGMONT          CO   80501‐9500
MORGAN, CLYDE E           763 PENN AVE NE                                                                              ATLANTA           GA   30308‐1546
MORGAN, CLYDE E           38186 LONESTAR RD                                                                            FONTANA           KS   66026‐7652
MORGAN, COLLEEN S         603 SPOKANE CT                                                                               FRANKLIN          TN   37069‐1820
MORGAN, CONNIE            5447 GUYETTE ST                                                                              CLARKSTON         MI   48346‐3524
MORGAN, CONNIE            1840 N ERIE ST APT 2                                                                         TOLEDO            OH   43611‐2780
MORGAN, CONSTANCE V       8812 NEVADA ST                                                                               LIVONIA           MI   48150‐3846
MORGAN, CONTELLAS         1965 CLIFFVIEW RD                                                                            CLEVELAND         OH   44121‐1031
MORGAN, CORALEAN          1956 PINEWOOD DR                                                                             BRUNSWICK         OH   44212‐4058
MORGAN, CORNELUS          100 FOREST VIEW RD                                                                           LONDON            KY   40744‐9751
MORGAN, CRAIG L           10721 AIRVIEW DR                                                                             N HUNTINGDON      PA   15642‐4283
MORGAN, CURT L            457 NORTH 7TH STREET                                                                         MITCHELL          IN   47446‐1175
MORGAN, CURTIS            1149 RANSOM DR                                                                               FLINT             MI   48507‐4217
MORGAN, CYNTHIA           11810 PIERSON ST                                                                             DETROIT           MI   48228‐5504
MORGAN, D E               2817 KENT DR                                                                                 OKLAHOMA CITY     OK   73120
MORGAN, DALE W            2701 WESTBROOK AVE                                                                           INDIANAPOLIS      IN   46241‐5647
MORGAN, DANA M            248 CANTERBURY TRAIL DR                                                                      ROCHESTER HILLS   MI   48309‐2007
MORGAN, DANIEL B          6355 KING GRAVES RD                                                                          FOWLER            OH   44418‐9722
MORGAN, DANIEL G          5093 NEWCASTLE DR                                                                            MOUNT MORRIS      MI   48458‐8814
MORGAN, DANIEL G          2 LUKE ST                                                                                    SOUTH AMBOY       NJ   08879‐2236
MORGAN, DANIEL G          20 FOSNOT DR                                                                                 ANDERSON          IN   46012
MORGAN, DANIEL G          6272 UTE CT                                                                                  FLINT             MI   48506
MORGAN, DANIEL GLEN       5093 NEWCASTLE DRIVE                                                                         MOUNT MORRIS      MI   48458‐8814
MORGAN, DANIEL L          1713 DORCHEAT RD                                                                             MINDEN            LA   71055‐7619
MORGAN, DANIEL R          8436 TOD AVE SW                                                                              WARREN            OH   44481‐9628
MORGAN, DANIELLE E        1326 MILLER HOLLOW RD                                                                        ATTALLA           AL   35954‐5542
MORGAN, DARNELL MARGARE   1808 E PINE ST                                                                               COMPTON           CA   90221‐1353
MORGAN, DARREL W          17000 WALNUT DR                                                                              NEWALLA           OK   74857‐1321
MORGAN, DARRELL C         4818 QUEAL DR                                                                                SHAWNEE           KS   66203‐1107
MORGAN, DARREN            KIMMEL & SILVERMAN                30 E BUTLER AVE                                            AMBLER            PA   19002‐4514
MORGAN, DARRIN K          1009 E HEMPHILL RD                                                                           FLINT             MI   48507‐2834
MORGAN, DARRIN K.         1009 E HEMPHILL RD                                                                           FLINT             MI   48507‐2834
MORGAN, DARRYL L.         11712 TIMBER RIDGE DR                                                                        KEITHVILLE        LA   71047‐9048
MORGAN, DARYL D           3115 MORTASHED RD                                                                            WEST HARRISON     IN   47060‐8086
MORGAN, DAVID B           517 SOUTH ST                                                                                 LINDEN            MI   48451‐8945
MORGAN, DAVID E           645 E MAIN ST                                                                                PLAINFIELD        IN   46168‐1526
MORGAN, DAVID E           3879 E 120TH AVE # 320                                                                       THORNTON          CO   80233
MORGAN, DAVID F           1734 DONCASTER RD                                                                            CLEARWATER        FL   33764‐6526
MORGAN, DAVID L           188 IVANHOE ST NE                                                                            WARREN            OH   44483‐3411
MORGAN, DAVID L           36546 WESTFIELD DRIVE                                                                        N RIDGEVILLE      OH   44039‐3846
MORGAN, DAVID L           1495 TRANSUE AVE                                                                             BURTON            MI   48509‐2425
MORGAN, DAVID L           188 IVANHOE N.E.                                                                             WARREN            OH   44483‐3411
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Name                    Address1                         Address2                      Address3   Address4         City            State Zip
MORGAN, DAVID L         6430 E QUAIL RUN LN                                                                        INVERNESS        FL 34452‐8520
MORGAN, DAVID L         6581 N 100 W                                                                               HARTFORD CITY    IN 47348‐9221
MORGAN, DAVID R         6122 BELLINGHAM CT                                                                         BURTON           MI 48519‐1631
MORGAN, DAVID R         3321 W CLARICE AVE                                                                         HIGHLAND         MI 48356‐2323
MORGAN, DE ANN          432 HILL ST                                                                                WASHINGTON       MO 63090‐1400
MORGAN, DEBORAH D       6087 N ELMS RD                                                                             FLUSHING         MI 48433‐9018
MORGAN, DELENA S        232 DELAWARE XING                                                                          EATON            OH 45320‐8628
MORGAN, DELENA S        232 DELAWARE CROSSING                                                                      EATON            OH 45320
MORGAN, DELORES         237 BRACE AVE                                                                              ELYRIA           OH 44035‐2661
MORGAN, DELORES E       71 MALLARD DR                                                                              SWARTZ CREEK     MI 48473‐1576
MORGAN, DELORES M       PO BOX 863                                                                                 WARREN           OH 44482‐0863
MORGAN, DELORES M       P.O. BOX 863                                                                               WARREN           OH 44482‐0863
MORGAN, DELTA           19193 HARLOW ST                                                                            MELVINDALE       MI 48122‐1831
MORGAN, DELTA           19193 HARLOW                                                                               MELVINDALE       MI 48122‐1831
MORGAN, DENISE L        2809 NORTHWEST BLVD NW                                                                     WARREN           OH 44485‐2233
MORGAN, DENNIS          5641 GREENWAY ST                                                                           DETROIT          MI 48204‐2176
MORGAN, DENNIS A        7350 ARMSTRONG RD                                                                          HOWELL           MI 48855‐9056
MORGAN, DENNIS D        4438 N HENDERSON RD                                                                        DAVISON          MI 48423‐8478
MORGAN, DENNIS E        312 E SAPHIRE ST                                                                           MORRICE          MI 48857‐8744
MORGAN, DENNIS P        1620 PIPER LN APT 206                                                                      DAYTON           OH 45440‐5020
MORGAN, DENNIS P        1620 PIPER LANE SUITE 206                                                                  CENTERVILLE      OH 45440‐5440
MORGAN, DENNIS W        6520 REDSTONE CT                                                                           ARLINGTON        TX 76001‐8108
MORGAN, DENNIS WAYNE    6520 REDSTONE CT                                                                           ARLINGTON        TX 76001‐8108
MORGAN, DENNY           732 COUNTY ROAD 105                                                                        KITTS HILL       OH 45645‐8506
MORGAN, DENTON          4990 ELIZABETH LAKE RD                                                                     WATERFORD        MI 48327‐2740
MORGAN, DESSA G         8989 S STATE ROAD 109                                                                      MARKLEVILLE      IN 46056‐9784
MORGAN, DESSIE M        3801 CRANBROOK HILL ST                                                                     LAS VEGAS        NV 89129‐7688
MORGAN, DEVON L         205 MARYLAND ST NW                                                                         WARREN           OH 44483‐3239
MORGAN, DIANA K         5205 S PARK RD                                                                             KOKOMO           IN 46902‐5004
MORGAN, DIANE           52 N 20TH ST                                                                               EAST ORANGE      NJ 07017‐4806
MORGAN, DIANE L         6317 N COLLEGE ST                                                                          OKLAHOMA CITY    OK 73122‐7032
MORGAN, DIANE M         47796 TOMAHAWK DR                                                                          NEGLEY           OH 44441‐9775
MORGAN, DIANNE          1111 WESTRIDGE DR                                                                          TROY             OH 45373
MORGAN, DON J           1379 KENNETH ST                                                                            YOUNGSTOWN       OH 44505‐3825
MORGAN, DONALD          958 N HIGHLAND AVE                                                                         GIRARD           OH 44420‐2024
MORGAN, DONALD          5055 POTAWATAMI TRL                                                                        FLUSHING         MI 48433‐1001
MORGAN, DONALD          PROVOST & UMPHREY                PO BOX 4905                                               BEAUMONT         TX 77704‐4905
MORGAN, DONALD B        5672 RED LION 5 POINTS RD.                                                                 SPRINGBORO       OH 45066‐7707
MORGAN, DONALD C        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
MORGAN, DONALD E        2436 JUDY CONN DR                                                                          LAPEER          MI   48446‐8332
MORGAN, DONALD EUGENE   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                   HOUSTON         TX   77002‐1751
MORGAN, DONALD L        4743 PINE ST                                                                               COLUMBIAVILLE   MI   48421‐9301
MORGAN, DONALD R        22295 MAPLEWOOD DR                                                                         SOUTHFIELD      MI   48033‐3670
MORGAN, DONNA J         PO BOX 202902                                                                              ARLINGTON       TX   76006‐8902
MORGAN, DONNA L         47229 TOMAHAWK DR                                                                          NEGLEY          OH   44441‐9744
MORGAN, DONNA L         11425 MCCORMICK RD APT L71                                                                 JACKSONVILLE    FL   32225‐1857
MORGAN, DONNA L         11425 MCCORMICK RD.              APT# 71L                                                  JACKSONVILLE    FL   32225‐2225
MORGAN, DORA M          7245 HAWTHORNE CIR                                                                         GOODRICH        MI   48438‐9239
MORGAN, DORIS J         12720 ASBURY PARK                                                                          DETROIT         MI   48227‐1200
MORGAN, DOROTHY         210 SELMA ST                                                                               PORT ST JOE     FL   32456‐6541
MORGAN, DOROTHY         210 SELMA ST.                                                                              PORT ST JOE     FL   32456‐6541
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Name                  Address1                        Address2                   Address3   Address4         City            State Zip
MORGAN, DOROTHY H     PO BOX 34                                                                              MEMPHIS          MI 48041‐0034
MORGAN, DOROTHY R     489 7TH ST SW                                                                          WARREN           OH 44485‐4056
MORGAN, DOUGLAS H     360 LAMON DR                                                                           DECATUR          AL 35603‐3738
MORGAN, DOUGLAS J     8 OLD FRENCH RD                                                                        HONEOYE FALLS    NY 14472‐9009
MORGAN, DREMA G       173 LOYDS CIR                                                                          SUMMERTOWN       TN 38483‐7660
MORGAN, DUANE A       APT 3                           230 EAST NOTTINGHAM ROAD                               DAYTON           OH 45405‐1645
MORGAN, DUANE H       4135 HARVEY DR                                                                         WOOSTER          OH 44691‐9654
MORGAN, DUANE S       16494 SPRENGER AVE                                                                     EASTPOINTE       MI 48021‐3046
MORGAN, DUFFIE L      214 COUNTY LINE AUBURN RD                                                              AUBURN           GA 30011
MORGAN, DWIGHT        12370 WHITE TAIL CT                                                                    PLYMOUTH         MI 48170‐2875
MORGAN, DWIGHT E      1010 YORK DR                                                                           PENDLETON        IN 46064‐9199
MORGAN, E A           3141 SALEM RD APT 2A                                                                   BENTON           AR 72019
MORGAN, EARL J        45190 VENETIAN AVE                                                                     BELLEVILLE       MI 48111‐2436
MORGAN, EARL T        9063 N ELMS RD                                                                         CLIO             MI 48420‐8509
MORGAN, EARNEST L     581 ALPEANA ST                                                                         AUBURN HILLS     MI 48326‐1121
MORGAN, EBER G        2504 E STATE ROAD 18                                                                   GALVESTON        IN 46932‐8876
MORGAN, EDDIE L       4720 VICTORIAN SQ W                                                                    CANTON           MI 48188‐6332
MORGAN, EDDIE W       21165 ISABELLE ST                                                                      ROMULUS          MI 48174‐9426
MORGAN, EDDRESS D     14850 SE 20TH ST                                                                       MORRISTON        FL 32668‐2318
MORGAN, EDITH M       3415 W 1400 N                                                                          ALEXANDRIA       IN 46001‐8537
MORGAN, EDITH M       3415 W. 1400 N.                                                                        ALEXANDRIA       IN 46001
MORGAN, EDNA M        69 PARKSIDE DR                                                                         KINCHELOE        MI 49788‐1231
MORGAN, EDWARD
MORGAN, EDWARD L      232 VALLEY DR                                                                          COLUMBIA        TN   38401‐4960
MORGAN, EFFIE W       7428 NEW YORK WAY                                                                      DAYTON          OH   45414‐2490
MORGAN, ELAINE B      5532 SILVERBELL RD                                                                     BALTIMORE       MD   21206‐3816
MORGAN, ELAINE B      5500 MAPLE PARK DR APT 4                                                               FLINT           MI   48507
MORGAN, ELAINE B      5532 SILVER BELL RD                                                                    BALTIMORE       MD   21206‐3816
MORGAN, ELIZABETH     PO BOX 2363                                                                            LANCASTER       OH   43130
MORGAN, ELIZABETH A   37 PETRIE CIR                                                                          STREAMWOOD      IL   60107
MORGAN, ELIZABETH B   PO BOX 57                                                                              BROOKFIELD      OH   44403‐0057
MORGAN, ELIZABETH D   513 E MCDONALD ST                                                                      HARTFORD CITY   IN   47348‐1401
MORGAN, ELIZABETH G   936 WOODLAWN AVENUE                                                                    GIRARD          OH   44420‐2057
MORGAN, ELIZABETH H   4308 WOODROW AVE                                                                       BURTON          MI   48509‐1126
MORGAN, ELIZABETH T   PO BOX 346                                                                             HOSKINSTON      KY   40844‐0346
MORGAN, ELLEN         ROUTE 3 BOX 124                                                                        KEYSVILLE       VA   23947
MORGAN, ELLID         10954 SOUTH MOODY                                                                      CHICAGO RIDGE   IL   60415
MORGAN, ELLID         10954 MOODY AVE                                                                        CHICAGO RIDGE   IL   60415‐2121
MORGAN, ELLYN S       20 FOSNOT DR                                                                           ANDERSON        IN   46012‐3116
MORGAN, ELSIE         630 SAINT CLAIR AVE APT 9                                                              HAMILTON        OH   45015‐3002
MORGAN, ELSIE         630 ST CALIR AVE #9                                                                    HAMILTON        OH   45015‐3002
MORGAN, ELVIRA J      6207 GREENHAVEN AVENUE                                                                 GALLOWAY        OH   43119‐9142
MORGAN, EMANUEL       PORTER & MALOUF PA              4670 MCWILLIE DR                                       JACKSON         MS   39206‐5621
MORGAN, EMMA J        3309 SANDRA DR                                                                         SHREVEPORT      LA   71119‐5325
MORGAN, EMMA J        1517 CHESTNUT ST                                                                       BURLINGTON      NJ   08016‐3222
MORGAN, EMMA JEAN     3309 SANDRA DR                                                                         SHREVEPORT      LA   71119‐5325
MORGAN, EMMA L        1001 SOUTH 34TH STREET                                                                 MOUNT VERNON    IL   62864‐6232
MORGAN, EMMA L        8 E CROWNVIEW                                                                          MOUNT VERNON    IL   62864
MORGAN, ENA           PO BOX 964                                                                             LONDON          KY   40743‐0964
MORGAN, EPSIE G       125 ALEX GATES RD                                                                      MARKS           MS   38646‐9163
MORGAN, ERIC J        4483 W 192ND ST                                                                        CLEVELAND       OH   44135‐1722
MORGAN, ERIN KAY      NOUD JOHN L                     PO BOX 316                                             MASON           MI   48854‐0316
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MORGAN, ERMA JEAN       13086 N BELSAY ROAD                                                                          MILLINGTON         MI 48746‐9226
MORGAN, ERMA JEAN       13086 BELSAY RD                                                                              MILLINGTON         MI 48746‐9226
MORGAN, ERNEST D        124 26TH ST S                                                                                BATTLE CREEK       MI 49015‐2737
MORGAN, ERVINE M        4437 W CARPENTER RD                                                                          FLINT              MI 48504‐1122
MORGAN, ETHEL J         97 LINDEN DR                                                                                 NORTH BRANCH       MI 48461‐9500
MORGAN, ETHEL L         26760 BLOOMFIELD DR S                                                                        LATHRUP VILLAGE    MI 48076‐4402
MORGAN, EUGENE          3325 ROCK DR                                                                                 BEAVERCREEK        OH 45432‐2639
MORGAN, EUNICE C        9310 MONICA DR                                                                               DAVISON            MI 48423
MORGAN, EUNICE L        9063 N. ELMS ROAD                                                                            CLIO               MI 48420‐8509
MORGAN, EUNICE L        9063 N ELMS RD                                                                               CLIO               MI 48420‐8509
MORGAN, EVELYN I        225 WEST HARRISON STREET          APT 333                                                    MOORESVILLE        IN 46158
MORGAN, EVELYN V        801 SHERWOOD FOREST DR                                                                       BIRMINGHAM         AL 35235‐2536
MORGAN, FAY J           # 215                             1790 EAST 54TH STREET                                      INDIANAPOLIS       IN 46220‐3454
MORGAN, FLORENCE E      7107 WILLIAM JOHN COURT                                                                      SWARTZ CREEK       MI 48473‐9735
MORGAN, FLORENCE I      915‐C WEST ORANGE BLOSSOM TRAIL                                                              APOPKA             FL 32712
MORGAN, FLOYD M         270 OAKWOOD DR                                                                               AMHERST            NY 14221‐7050
MORGAN, FLOYD R         2623 DELAINE AVE                                                                             DAYTON             OH 45419‐1740
MORGAN, FRANCES N       80 DOGWOOD TERRACE                                                                           ALEXANDRIA         AL 36250‐5630
MORGAN, FRANCES N       80 DOGWOOD TER                                                                               ALEXANDRIA         AL 36250‐5630
MORGAN, FRANCES V       PO BOX 388                                                                                   GRAYLING           MI 49738‐0388
MORGAN, FRANK           1607 W 19TH ST                                                                               ANDERSON           IN 46016‐3810
MORGAN, FRANK           KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND          OH 44114
                                                          BOND COURT BUILDING
MORGAN, FRANK R         1209 APACHE DR                                                                               BOWLING GREEN     KY    42104‐4317
MORGAN, FRANKLIN L      2191 STATE ROUTE 217                                                                         KITTS HILL        OH    45645‐8601
MORGAN, FRED            1516 W 19TH ST                                                                               ANDERSON          IN    46016‐3807
MORGAN, FRED E          PO BOX 382                                                                                   PERCY             IL    62272‐0382
MORGAN, FRED N          2809 OAK PARK DR                                                                             COOKEVILLE        TN    38506‐5041
MORGAN, FREDDIE J       5500 HOLLY TRL                                                                               ARLINGTON         TX    76016‐1645
MORGAN, FREDDY C        1307 PIONEER WAY                                                                             FOREST GROVE      OR    97116‐3309
MORGAN, GAIL J          727 BELL RD APT 1605                                                                         ANTIOCH           TN    37013‐8034
MORGAN, GAIL JEANETTE   APT 1605                          727 BELL ROAD                                              ANTIOCH           TN    37013‐8034
MORGAN, GARLAND M       4877 DAYTON MOUNTAIN HWY                                                                     DAYTON            TN    37321‐7432
MORGAN, GARY            PO BOX 187                        26616 HEMLOCK POINT RD                                     BEAVER ISLAND     MI    49782‐0187
MORGAN, GARY
MORGAN, GARY F          9821 NORMAN RD                                                                               CLARKSTON         MI    48348‐2439
MORGAN, GARY L          APT 201                           102 46TH AVENUE TERRACE WEST                               BRADENTON         FL    34207‐2108
MORGAN, GARY R          199 W ANDERSON RD                                                                            LINWOOD           MI    48634‐9771
MORGAN, GARY V          12271 BEARDSLEE RD                                                                           PERRY             MI    48872‐9194
MORGAN, GAZETTA         177 SANDERS RD APT 15                                                                        BUFFALO           NY    14216‐1370
MORGAN, GENE A          2649 PREAKNESS DR                                                                            COOKEVILLE        TN    38506‐5612
MORGAN, GEORGE A        6217 HOMESPUN LN                                                                             FALLS CHURCH      VA    22044‐1012
MORGAN, GEORGE D        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA    23510
                                                          STREET, SUITE 600
MORGAN, GEORGE D        23324 CASS AVE                                                                               FARMINGTON        MI    48335‐4121
MORGAN, GEORGE DENNIS   23324 CASS AVE                                                                               FARMINGTON        MI    48335‐4121
MORGAN, GEORGE E        1779 S REESE RD                                                                              REESE             MI    48757‐9564
MORGAN, GEORGE E        12184 STANLEY RD                                                                             COLUMBIAVILLE     MI    48421‐8804
MORGAN, GEORGE F        3344 WALLINGFORD DR                                                                          GRAND BLANC       MI    48439‐7933
MORGAN, GEORGE L        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA    23510
                                                          STREET, SUITE 600
MORGAN, GEORGE R        608 W WASHINGTON ST                                                                          ALEXANDRIA         IN   46001‐1831
                                  09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                              Address1                        Address2                 Address3    Address4         City               State Zip
MORGAN, GEORGE R                  10721 AIRVIEW DR                                                                      NO HUNTINGDON       PA 15642‐4283
MORGAN, GERALD                    CONSUMER LEGAL SERVICES P.C.    30928 FORD RD                                         GARDEN CITY         MI 48135‐1803
MORGAN, GERALD A                  1863 HATCH RD                                                                         BAY CITY            MI 48708‐6951
MORGAN, GERALD E                                                                                                        RIDGELAND           SC 29936
MORGAN, GERALD L                  6570 WOODRIDGE WAY SW                                                                 WARREN              OH 44481‐9626
MORGAN, GERALD L                  1994 N STATE ROAD 39                                                                  DANVILLE            IN 46122‐8214
MORGAN, GERALDINE R               395 SHERWOOD DR                                                                       MANSFIELD           OH 44904‐1044
MORGAN, GILBERT & MAXINE MORGAN   ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                     HOUSTON             TX 77069

MORGAN, GILBERT E                 2974 W LENTZ TREE FARM RD                                                             MONROVIA           IN   46157‐9011
MORGAN, GISELA M                  103 S DEMOCRATIC ST                                                                   TECUMSEH           MI   49286‐1319
MORGAN, GLADYS                    5733 N 77TH ST                                                                        MILWAUKEE          WI   53218‐2144
MORGAN, GLENN E                   6077 NELSON CT                                                                        BURTON             MI   48519‐1662
MORGAN, GLENNA M                  1047 GREENSIDE CT                                                                     FOREST             VA   24551‐2356
MORGAN, GLORIA J                  2263 UGLY CREEK RD                                                                    DUCK RIVER         TN   38454‐3781
MORGAN, GLORIA J                  4310 WARRINGTON DR                                                                    FLINT              MI   48504‐2030
MORGAN, GRACE L                   1518 6TH AVE                                                                          SAINT JOSEPH       MO   64505‐2125
MORGAN, GRACE L                   1518 SIXTH AVE                                                                        ST JOSEPH          MO   64505‐2125
MORGAN, GREGORY C                 PO BOX 2694                                                                           ANDERSON           IN   46018‐2694
MORGAN, GREGORY J                 PO BOX 693                                                                            SUN CITY           CA   92586‐0693
MORGAN, GREGORY R                 1521 KINGS CARRIAGE RD                                                                GRAND BLANC        MI   48439‐8716
MORGAN, GUY W                     4410 OAK TREE TRAIL                                                                   FENTON             MI   48430‐9173
MORGAN, GWENDOLYN L               188 IVANHOE ST NE                                                                     WARREN             OH   44483‐3411
MORGAN, GWENDOLYN V               19301 PRAIRIE ST                                                                      DETROIT            MI   48221‐1709
MORGAN, HAROLD D                  3649 16TH ST                                                                          WAYLAND            MI   49348‐9560
MORGAN, HAROLD G                  2310 UPPER BELLBROOK RD                                                               XENIA              OH   45385‐9300
MORGAN, HAROLD L                  405 DIVISION ST                                                                       YALE               MI   48097‐2830
MORGAN, HAROLD S                  61 COUNTRY ROAD 1469                                                                  CULLMAN            AL   35055
MORGAN, HARRIET A                 1419 SHAFFER DRIVE                                                                    LORAIN             OH   44053‐3522
MORGAN, HARRY L                   9205 LINDA CIR                                                                        INDIANAPOLIS       IN   46239‐9490
MORGAN, HATTIE                    4224 HARTFORD ST                                                                      MONTGOMERY         AL   36116‐5508
MORGAN, HAWA S                    14710 84TH RD APT 4G                                                                  BRIARWOOD          NY   11435‐2247
MORGAN, HELEN J                   21922 W 120TH ST                                                                      OLATHE             KS   66061‐5670
MORGAN, HELEN K                   PO BOX 192                                                                            SHANNON            AL   35142‐0192
MORGAN, HELEN M                   412 GEORGIA AVENUE                                                                    ELYRIA             OH   44035‐7134
MORGAN, HENRY                     PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON            MS   39206‐5621
MORGAN, HENRY M                   PO BOX 5427                                                                           SHREVEPORT         LA   71135‐5427
MORGAN, HERSHEL E                 6056 NELSON CT                                                                        BURTON             MI   48519‐1663
MORGAN, HIRAM L                   2938 GRACE AVE                                                                        DAYTON             OH   45420‐2618
MORGAN, HOMER                     GUY WILLIAM S                   PO BOX 509                                            MCCOMB             MS   39649‐0509
MORGAN, HORACE J                  PO BOX 307                                                                            ROSEVILLE          MI   48066‐0307
MORGAN, IAN H                     5933 STONEHAVEN BLVD                                                                  OAKLAND TOWNSHIP   MI   48306‐4942
MORGAN, IDA B                     6711 SELBOURNE LN                                                                     GAINESVILLE        VA   20155‐4434
MORGAN, IDA L                     4427 WILLOWGROVE CV                                                                   MEMPHIS            TN   38116‐6939
MORGAN, III, ALFRED               4225 SAYLOR ST                                                                        DAYTON             OH   45416‐2025
MORGAN, ILENE                     APT 220                         2173 SOUTH CENTER ROAD                                BURTON             MI   48519‐1810
MORGAN, IMOGENE                   141 GREENTREE DR                                                                      AUBURN             GA   30011‐2818
MORGAN, INEZ                      407 17TH ST                                                                           BEDFORD            IN   47421‐4307
MORGAN, INEZ                      407 17TH                                                                              BEDFORD            IN   47421‐4307
MORGAN, IRENE                     2118 CANNIFF ST                                                                       FLINT              MI   48504‐2010
MORGAN, IRENE A                   4416 JENA LN                                                                          FLINT              MI   48507‐6224
MORGAN, IRVIN J                   HC 74 BOX 130                                                                         SANDSTONE          WV   25985‐9708
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Name                   Address1                       Address2                 Address3    Address4         City               State Zip
MORGAN, JACK           9429 E SUNRIDGE DR                                                                   SUN LAKES           AZ 85248‐5914
MORGAN, JACK A         936 WESTMINSTER PL                                                                   DAYTON              OH 45419‐3759
MORGAN, JACK D         19193 HARLOW ST                                                                      MELVINDALE          MI 48122‐1831
MORGAN, JACK D         2203 TIMBERWOOD DR SE                                                                GRAND RAPIDS        MI 49508‐5046
MORGAN, JACK D.        132 RIETI DR                                                                         CROWLEY             TX 76036‐2008
MORGAN, JACOB          PO BOX 295                                                                           JACKSON             MS 39205‐0295
MORGAN, JAMES          201 WILLOW CREEK DR                                                                  WEATHERFORD         TX 76085‐3613
MORGAN, JAMES          BARTON & WILLIAMS              3007 MAGNOLIA ST                                      PASCAGOULA          MS 39567‐4126
MORGAN, JAMES A        11371 S 800 W                                                                        FAIRMOUNT           IN 46928‐9363
MORGAN, JAMES A        5024 CANDLEWOOD DR                                                                   GRAND BLANC         MI 48439‐2005
MORGAN, JAMES A        509 4TH ST SW                                                                        WARREN              OH 44483‐6433
MORGAN, JAMES B        3962 N 100 W                                                                         ANDERSON            IN 46011‐9512
MORGAN, JAMES B        75055 DEQUINDRE RD                                                                   LEONARD             MI 48367‐2600
MORGAN, JAMES C        481 PINE MEADOWS DR APT E                                                            SPARKS              NV 89431
MORGAN, JAMES CLARK    481 PINE MEADOWS DR APT E                                                            SPARKS              NV 89431
MORGAN, JAMES D        340 N CHANTILLY RD                                                                   WINFIELD            MO 63389‐3650
MORGAN, JAMES D        315 NW 111TH ST                                                                      KANSAS CITY         MO 64155‐3656
MORGAN, JAMES E        318 W 25TH ST                                                                        MARION              IN 46953‐3104
MORGAN, JAMES H        7295 PERSHING                                                                        WATERFORD           MI 48327‐3929
MORGAN, JAMES H        535 OSCAR MORGAN RD                                                                  STRUNK              KY 42649‐9366
MORGAN, JAMES J        4635 FLEMING ST                                                                      DEARBORN HEIGHTS    MI 48125‐3329
MORGAN, JAMES J        3504 CEDAR LOOP                                                                      CLARKSTON           MI 48348‐1311
MORGAN, JAMES JOSEPH   3504 CEDAR LOOP                                                                      CLARKSTON           MI 48348‐1311
MORGAN, JAMES L        3603 ASBURY ST                                                                       DALLAS              TX 75205‐1848
MORGAN, JAMES L        244 ADAMSON RD                                                                       FITZGERALD          GA 31750‐8255
MORGAN, JAMES M        12026 CARNEY ST                                                                      WARREN              MI 48089‐1296
MORGAN, JAMES N        1066 NILES VIENNA RD                                                                 VIENNA              OH 44473‐9503
MORGAN, JAMES P        1822 GATY AVE                                                                        EAST SAINT LOUIS     IL 62205‐1632
MORGAN, JAMES P        G14380 TAYLOR RD                                                                     MILLINGTON          MI 48746
MORGAN, JAMES R        4414 SWARTHOUT RD                                                                    PINCKNEY            MI 48169‐9203
MORGAN, JAMES R        802 E 79TH ST                                                                        INDIANAPOLIS        IN 46240‐2607
MORGAN, JAMES R        9108 W PETE DR                                                                       MUNCIE              IN 47304‐9735
MORGAN, JAMES R        1354 BELLE ST SE                                                                     WARREN              OH 44484‐4203
MORGAN, JAMES T        812 LAWNDALE AVE                                                                     TILTON               IL 61833‐7966
MORGAN, JAMES T        384 E KELLER HILL RD                                                                 MOORESVILLE         IN 46158‐7271
MORGAN, JAMES W        PAUL REICH & MYERS P.C.        1608 WALNUT ST STE 500                                PHILADELPHIA        PA 19103‐5446
MORGAN, JAMES W        4959 STATE ROUTE 7 SOUTH                                                             GALLIPOLIS          OH 45631‐8923
MORGAN, JANE           1313 RHETT LN                                                                        FAIRBORN            OH 45324‐5552
MORGAN, JANE L         114 BRUMBAUGH CRT                                                                    UNION               OH 45322
MORGAN, JANET          256 BARBARA DR                                                                       OAKWOOD              IL 61858
MORGAN, JANICE F       6126 STATE ROAD 32 W                                                                 ANDERSON            IN 46011‐8745
MORGAN, JAY C          3181 LES CHAPPELL RD                                                                 SPRING HILL         TN 37174‐2513
MORGAN, JEAN W         443 SW FAIRWAY LK                                                                    PORT SAINT LUCIE    FL 34986‐2162
MORGAN, JEANNE R       4419 FILBURN LN                                                                      TROTWOOD            OH 45426‐1819
MORGAN, JEFFERY L      2647 ARCH RD                                                                         EATON RAPIDS        MI 48827‐8230
MORGAN, JEFFREY A      20548 BREEZEWAY DR                                                                   MACOMB              MI 48044‐3518
MORGAN, JEFFREY L      4967 E RIVER RD                                                                      GRAND ISLAND        NY 14072
MORGAN, JEFFREY S      37 ERIC HILL DR                                                                      WARRENTON           MO 63383‐4430
MORGAN, JERILENE (     40 WANETA AVE                                                                        DAYTON              OH 45404‐2361
MORGAN, JERRY L        1373 MACINTOSH DR                                                                    AVON                IN 46123‐7730
MORGAN, JERRY L        4098 CORAL ST                                                                        BURTON              MI 48509‐1013
MORGAN, JERRY L        7923 ANDERSON AVE NE                                                                 WARREN              OH 44484‐1530
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Name                    Address1                          Address2                     Address3   Address4         City             State Zip
MORGAN, JERRY P         PO BOX 901                                                                                 EUREKA            SD 57437‐0901
MORGAN, JERRY T         RR 4 BOX 615                                                                               FAIRMONT          WV 26554‐9353
MORGAN, JESSIE H        19342 SANTA BARBARA DR                                                                     DETROIT           MI 48221‐1627
MORGAN, JILL C          503 OLD FREEMAN MILL RD                                                                    DACULA            GA 30019‐1428
MORGAN, JIM P           556 PURDUE AVE                                                                             YOUNGSTOWN        OH 44515‐4122
MORGAN, JIMMIE          1109 NORTH DR                                                                              ANDERSON          IN 46011‐1166
MORGAN, JIMMIE D        4437 W CARPENTER RD                                                                        FLINT             MI 48504‐1122
MORGAN, JIMMY D         1063 LEE MORGAN RD                                                                         JAYESS            MS 39641‐7241
MORGAN, JIMMY D         4704 MAIN ST                                                                               ANDERSON          IN 46013‐4736
MORGAN, JIMMY L         1137 CARTER DR                                                                             FLINT             MI 48532‐2715
MORGAN, JOAN E          5685 SILVERADO PL                                                                          PASO ROBLES       CA 93446‐7319
MORGAN, JOANN           HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST, 17TH FLOOR                               PHILADELPHIA      PA 19103

MORGAN, JOE             5752 ROOSEVELT PL                                                                          SAINT LOUIS      MO   63120‐1014
MORGAN, JOE W           2527 WALNUT RD                                                                             AUBURN HILLS     MI   48326‐2119
MORGAN, JOHN            730 E PARKWAY AVE                                                                          FLINT            MI   48505‐2962
MORGAN, JOHN            1510 OAK TREE LN SE                                                                        CLEVELAND        TN   37311
MORGAN, JOHN            EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                  NEW YORK         NY   10017‐6530
MORGAN, JOHN            360 LEXINGTON AVE FL 20                                                                    NEW YORK         NY   10017‐6530
MORGAN, JOHN A          42966 ARLINGTON RD                                                                         CANTON           MI   48187‐2306
MORGAN, JOHN A          11250 SARLE RD                                                                             FREELAND         MI   48623‐9702
MORGAN, JOHN A          6485 WHITEFORD RD                                                                          OTTAWA LAKE      MI   49267‐9610
MORGAN, JOHN ARTHUR     6485 WHITEFORD RD                                                                          OTTAWA LAKE      MI   49267‐9610
MORGAN, JOHN C          4034 1/2 WOODHAVEN AVE                                                                     BALTIMORE        MD   21216‐1536
MORGAN, JOHN D          4490 RIVERCHASE DR                                                                         TROY             MI   48098‐5428
MORGAN, JOHN F          19749 GLORIA DR                                                                            MACOMB           MI   48044‐1299
MORGAN, JOHN FRANKLIN   19749 GLORIA DR                                                                            MACOMB           MI   48044‐1299
MORGAN, JOHN J          2109 HOLLY TREE DR                                                                         DAVISON          MI   48423‐2066
MORGAN, JOHN J          15734 PORTIS RD                                                                            NORTHVILLE       MI   48168‐2033
MORGAN, JOHN J          2085 E VERNE RD                                                                            BURT             MI   48417‐9712
MORGAN, JOHN L          1170 W JULIAH AVE                                                                          FLINT            MI   48505‐1424
MORGAN, JOHN L          9109 GREENLEAF RD                                                                          JACKSONVILLE     FL   32208‐1637
MORGAN, JOHN L          WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                          NEW YORK         NY   10038
MORGAN, JOHN M          4810 DRY FORK RD                                                                           HAMPSHIRE        TN   38461‐4515
MORGAN, JOHN M          PO BOX 126                                                                                 KINGSTON         MO   64650‐0126
MORGAN, JOHN P          5760 ELMGROVE AVE                                                                          WARREN           MI   48092‐3450
MORGAN, JOHN P          21402 PINE CONE DR                                                                         MACOMB           MI   48042‐4335
MORGAN, JOHN P          833 LEA CASTLE PL                                                                          MIAMISBURG       OH   45342‐2024
MORGAN, JOHN P          1707 S WARNER ST                                                                           BAY CITY         MI   48706‐5264
MORGAN, JOHN R          2362 LONG LAKE RD                                                                          LAPEER           MI   48446‐8343
MORGAN, JOHN S          603 ANTIETAM DR                                                                            STONE MOUNTAIN   GA   30087‐5267
MORGAN, JOHNETTA        3705 FOREST HILL                                                                           FLINT            MI   48504‐2244
MORGAN, JOHNNY J        C/O ROSETTA MORGAN                3021 AZALEA HILLS DR                                     CHARLOTTE        NC   28262
MORGAN, JOHNNY J        3021 AZALEA HILLS DRIVE                                                                    CHARLOTTE        NC   28262‐2459
MORGAN, JON W           1132 MELWOOD DR                                                                            COLUMBUS         OH   43228‐3526
MORGAN, JOSEPH          4055 MONTROSE ST                                                                           FLINT            MI   48504‐6846
MORGAN, JOSEPH P        288 MAKEFIELD RD                                                                           YARDLEY          PA   19067‐5941
MORGAN, JOSHUA A        602 E MAIN ST APT 2                                                                        FLUSHING         MI   48433‐2052
MORGAN, JOSHUA ALAN     602 E MAIN ST APT 2                                                                        FLUSHING         MI   48433‐2052
MORGAN, JOURDON J       15341 OLD JAMESTOWN RD                                                                     FLORISSANT       MO   63034‐1943
MORGAN, JOYCE A         452 W SR#128                                                                               ALEXANDRIA       IN   46001
MORGAN, JOYCE A         879 SOUTH IONIA ROAD                                                                       VERMONTVILLE     MI   49096‐9521
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Name                    Address1                      Address2                       Address3                    Address4             City              State Zip
MORGAN, JOYCE A         879 S IONIA RD                                                                                                VERMONTVILLE       MI 49096‐9521
MORGAN, JOYCE L         112 STOUT ST                                                                                                  PONTIAC            MI 48341‐1649
MORGAN, JOYCE M         1420 DYEMEADOW LN                                                                                             FLINT              MI 48532‐2323
MORGAN, JOYCE M.        58 STONEYBROOK DR                                                                                             GREENWOOD          IN 46142‐2106
MORGAN, JP CHASE & CO   STROOCK & STROOCK & LAVAN     2029 CENTURY PARK EAST 18TH                                                     LOS ANGELES        LA 90067
                                                      FLOOR
MORGAN, JP CHASE & CO                                 270 PARK AVE                                                                    NEW YORK          NY    10017‐2014
MORGAN, JP CHASE & CO   1207 ARVIN RD                                                                                                 DEXTER            MO    63841‐2540
MORGAN, JP CHASE & CO   601 S GLADSTONE AVE                                                                                           COLUMBUS          IN    47201‐9520
MORGAN, JP CHASE & CO   601 S GLADSTONE AVE           PO BOX 3002                                                                     COLUMBUS          IN    47201‐9520
MORGAN, JP CHASE & CO   950 W 450 S BLDG #1                                                                                           COLUMBUS          IN    47201
MORGAN, JP CHASE & CO   950W‐450S BLDG 4              COLUMBUS TECHNICAL CENTER                                                       COLUMBUS          IN    47201
MORGAN, JP CHASE & CO   BIBERBACHSTR 9                                                                           AUGSBURG BY 86154
                                                                                                                 GERMANY
MORGAN, JP CHASE & CO   RALPH OWENS                   1207 ARVIN RD ‐ P.O. BOX 339                               SEGRE 49504 FRANCE
MORGAN, JP CHASE & CO   RALPH OWENS                   24850 NORTH LINE RD.                                                            ROCHESTER HILLS   MI 48309
MORGAN, JP CHASE & CO   RALPH OWENS                   601 S GLADSTONE AVE                                                             SOUTH BEND        IN 46619‐2773
MORGAN, JP CHASE & CO   RALPH OWENS                   EMCON TECHNOLOGIES MEXICO      KM 9.5 CAR CONSTITUCION     REXDALE ON CANADA
MORGAN, JP CHASE & CO   RALPH OWENS                   WINGO CORPORATE PARK           2651 NEW CUT RD. POB 1839                        FLORENCE           KY   41042

MORGAN, JP CHASE & CO   270 PARK AVE                                                                                                  NEW YORK          NY    10017
MORGAN, JUDITH A        401 NE CAMBRIDGE DR                                                                                           LEES SUMMIT       MO    64086‐5474
MORGAN, JUDITH N        70 MARIE LN                                                                                                   SAVANNAH          TN    38372‐5679
MORGAN, JUDITH P        434 BIRKDALE VILLAGE DR                                                                                       DAYTON            OH    45458‐3671
MORGAN, JULAINE A       6272 UTE CT                                                                                                   FLINT             MI    48506‐1176
MORGAN, JULIE V         STE 400                       2003 EAST HIGHWAY 114                                                           ROANOKE           TX    76262‐6678
MORGAN, JULIE V         2 BROOK HOLLOW LN                                                                                             TROPHY CLUB       TX    76262‐5500
MORGAN, JULIETTA        225 KROY DR                                                                                                   MONTGOMERY        AL    36117‐3109
MORGAN, KAREN           269 CAMP CREEK RD                                                                                             MURPHY            NC    28906‐9441
MORGAN, KAREN           4631 WILHOITE RD                                                                                              FRANKLIN          TN    37064‐9601
MORGAN, KAREN J         48 W BROOKLYN AVE                                                                                             PONTIAC           MI    48340‐1118
MORGAN, KAREN T         1515 PARADISE AVE                                                                                             GADSDEN           AL    35903‐3523
MORGAN, KARIN M         12235 WHITE PINE DR                                                                                           ALLENDALE         MI    49401‐9603
MORGAN, KARL D          2015 EMPRESS DR APT R2                                                                                        MURFREESBORO      TN    37130‐1264
MORGAN, KARL DAVID      2015 EMPRESS DR               APT R2                                                                          MURFREESBORO      TN    37130‐1264
MORGAN, KATHERINE       215 HOSPITAL RD E             NESHOBA COUNTY NURSING         ATTN: DARLENE GOODIN                             PHILADELPHIA      MS    39350‐2119
MORGAN, KATHLEEN A      330 BELHAVEN DR                                                                                               TROY              MI    48085‐4787
MORGAN, KATHLEEN F      244 CENTRAL ST                                                                                                NORTH READING     MA    01864‐1322
MORGAN, KATHLEEN J      PO BOX 72                                                                                                     KOKOMO            IN    46903‐0072
MORGAN, KATHLEEN M      1720 UNIVERSITY DR                                                                                            COLUMBIA          TN    38401‐6412
MORGAN, KATHLEEN R      4124 E 200 S                                                                                                  KOKOMO            IN    46902‐4275
MORGAN, KATHY D         154 CHAPMAN LN                                                                                                WALTERBORO        SC    29488‐6173
MORGAN, KATIE           504 EARLY ST                                                                                                  SAMSON            AL    36477‐1608
MORGAN, KEITH A         383 AMERICAN FARMS AVENUE                                                                                     LATHROP           CA    95330‐8652
MORGAN, KEITH E         550 S WAVERLY RD                                                                                              EATON RAPIDS      MI    48827‐9247
MORGAN, KELLY           13121 BERNICE AVE                                                                                             UMATILLA          FL    32784‐8196
MORGAN, KEN H           742 CLOVERDALE AVE NW                                                                                         GRAND RAPIDS      MI    49534‐3526
MORGAN, KENNETH         10448 DUNHAM RD                                                                                               HARTLAND          MI    48353‐1808
MORGAN, KENNETH C       10315 TIMBER LEAF CT                                                                                          INDIANAPOLIS      IN    46236
MORGAN, KENNETH E       354 YORK DR                                                                                                   BAY CITY          MI    48706‐1429
MORGAN, KENNETH J       1425 W WILLIS RD                                                                                              SALINE            MI    48176‐9416
MORGAN, KENNETH J       11599 ISLAND RD                                                                                               GRAFTON           OH    44044‐9003
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Name                          Address1                         Address2                       Address3              Address4         City                 State Zip
MORGAN, KENNETH M             591 NEVADA AVE                                                                                         PONTIAC               MI 48341‐2554
MORGAN, KENNOFF W             4122 IRONSIDE DR                                                                                       WATERFORD             MI 48329‐1633
MORGAN, KEVIN S               7060 ECKERMAN LN                                                                                       CLARKSTON             MI 48348‐2738
MORGAN, KEVIN SCOTT           7060 ECKERMAN LN                                                                                       CLARKSTON             MI 48348‐2738
MORGAN, KRISTIN S             108 SONOMA COURT                                                                                       CLAYTON               OH 45315‐8750
MORGAN, LABERTA M             1400 WILSHIRE DR #46                                                                                   FRANKFORT             IN 46041‐4203
MORGAN, LAMERLE               PO BOX 5114                                                                                            FLINT                 MI 48505‐0114
MORGAN, LARNDELL              PO BOX 2282                                                                                            COUNTRY CLUB HILLS     IL 60478‐9282
MORGAN, LARRY D               2805 HOOD ST SW                                                                                        WARREN                OH 44481‐8617
MORGAN, LARRY J               8290 ELLIS RD                                                                                          CLARKSTON             MI 48348‐2608
MORGAN, LARRY K               22509 UGLY CREEK RD                                                                                    DUCK RIVER            TN 38454
MORGAN, LARRY L               296 SUMMIT RIDGE DR                                                                                    GREENWOOD             IN 46142‐7217
MORGAN, LARRY R               1612 LILLIAN CIR                                                                                       COLUMBIA              TN 38401‐5418
MORGAN, LARRY R               5315 S 350 E                                                                                           MIDDLETOWN            IN 47356
MORGAN, LARRY T               908 CUNNINGHAM AVE                                                                                     DANVILLE               IL 61832‐5306
MORGAN, LARRY W               PO BOX 33                                                                                              ADDISON               AL 35540‐0033
MORGAN, LAURA B               24230 ONEIDA ST                                                                                        OAK PARK              MI 48237‐1749
MORGAN, LAURA M               25582 VAN HORN RD                                                                                      FLAT ROCK             MI 48134‐9235
MORGAN, LAURETTE L            18 LINWOOD ST                    #A                                                                    WEBSTER               MA 01570‐2709
MORGAN, LAWRENCE D            2074 MORRISH ST                                                                                        BURTON                MI 48519‐1021
MORGAN, LAWRENCE E            PO BOX 973                                                                                             HYDEN                 KY 41749‐0973
MORGAN, LAWRENCE E            P.O. BOX 973                                                                                           HYDEN                 KY 41749‐0973
MORGAN, LAWRENCE J            2404 BOND PL                                                                                           JANESVILLE            WI 53548‐3324
MORGAN, LAYUNA L.             625 W 6TH ST                                                                                           MONROE                MI 48161‐1569
MORGAN, LEANNE                1084 W BOATFIELD                                                                                       FLINT                 MI 48507‐3606
MORGAN, LEE E                 15312 BURT RD                                                                                          CHESANING             MI 48616‐9536
MORGAN, LEE F                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK               VA 23510‐2212
                                                               STREET, SUITE 600
MORGAN, LEE H                 15375 OLD JAMESTOWN RD                                                                                 FLORISSANT           MO   63034‐1943
MORGAN, LELA                  1805 VAN BUSKIRK ROAD                                                                                  ANDERSON             IN   46011‐1363
MORGAN, LEQUINCE              13601 S 44TH ST APT 1070                                                                               PHOENIX              AZ   85044‐4879
MORGAN, LEROY C               1204 S TENNESSEE AVE                                                                                   MUNCIE               IN   47302‐3838
MORGAN, LESLIE A              3748 ACADIA DR                                                                                         LAKE ORION           MI   48360
MORGAN, LESLIE L              5018 SUMMER FOREST DR                                                                                  HOUSTON              TX   77091‐5024
MORGAN, LESTER G              4796 CORNELIA DRIVE                                                                                    HOKES BLUFF          AL   35903‐5903
MORGAN, LESTER P              6123 W FERGUSON RD                                                                                     FORT WAYNE           IN   46809‐9758
MORGAN, LEWIS                 GUY WILLIAM S                    PO BOX 509                                                            MCCOMB               MS   39649‐0509
MORGAN, LEWIS & BOCKIUS LLP   ATTN: RICHARD S. TODER, ESQ.     101 PARK AVENUE                                                       NEW YORK             NY   10178
MORGAN, LEWIS & BOCKIUS LLP   ATTN: ANDREW D GOTTFRIED, ESQ.   101 PARK AVENUE                                                       NEW YORK             NY   10178
MORGAN, LEWIS & BOCKIUS LLP   ATTORNEY FOR FTM SERVICE CORP.   ATTENTION: HOWARD S. BELTZER    101 PARK AVENUE                       NEW YORK             NY   10178
MORGAN, LEWIS & BOCKIUS LLP   ATTN: HOWARD S. BELTZER          101 PARK AVE                                                          NEW YORK             NY   10178
MORGAN, LEWIS & BOCKIUS LLP   ATTN: HOWARD S. BELTZER          101 PARK AVE.                                                         NEW YORK             NY   10178
MORGAN, LEWIS & BOCKIUS LLP   ATTY FOR FMR CORP.               ATTN: HOWARD S. BELTZER &       101 PARK AVENUE                       NEW YORK             NY   10178
                                                               EMMELINE S. LIU, ESQS
MORGAN, LEWIS & BOCKIUS LLP   ATTY FOR ARAMARK HOLDINGS        ATTN: MICHAEL A. BLOOM & RACHEL 1701 MARKET STREET                    PHILADELPHIA          PA 19103‐2921
                              CORPORATION                      JAFFE MAUCERI, ESQS
MORGAN, LEWIS A               11380 FAIRLANE DR                                                                                      SOUTH LYON           MI   48178‐9335
MORGAN, LILLIE P              1212 N CANAL RD                                                                                        LANSING              MI   48917‐9756
MORGAN, LINDA                 75 E WELLS HILL LN                                                                                     BULLS GAP            TN   37711‐3259
MORGAN, LINDA D               3302 BON AIR AVE NW                                                                                    WARREN               OH   44485‐1303
MORGAN, LINDA D               3550 MEADOWBROOK NW.BX 186                                                                             LEAVITTSBURG         OH   44430
MORGAN, LINDA K               21866 FLIGHT LN                                                                                        TECUMSEH             OK   74873
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Name                 Address1                      Address2             Address3        Address4         City           State Zip
MORGAN, LINDA K      21866 FLIGHT LANE                                                                   TECUMSEH        OK 74873
MORGAN, LINDON W     6060 W STATE ROUTE 115                                                              HERSCHER         IL 60941
MORGAN, LINDSEY      5212 1ST #B                                                                         LITTLE ROCK     AR 72201
MORGAN, LIZZIE M     1137 CARTER DR                                                                      FLINT           MI 48532‐2715
MORGAN, LIZZIE N     11298 COUNTY ROAD 236                                                               MOULTON         AL 35650‐8814
MORGAN, LLOYD R      5860 PARK RD                                                                        FORT MYERS      FL 33908‐4607
MORGAN, LOIS J       267 VOORHEIS ST                                                                     PONTIAC         MI 48341‐1946
MORGAN, LOLA M       5461 MONTEREY DR SE                                                                 SALEM           OR 97306
MORGAN, LONNIE K     2217 NEW LEWISBURG HWY                                                              COLUMBIA        TN 38401‐8125
MORGAN, LONNIE R     4615 THOUSAND OAKS DR                                                               ARLINGTON       TX 76017‐1336
MORGAN, LORRAINE D   930 W GLASS RD                                                                      ORTONVILLE      MI 48462‐9056
MORGAN, LORRAINE D   930 WEST GLASS RD                                                                   ORTONVILLE      MI 48462‐9056
MORGAN, LORRAINE L   402 RUTHERFORD LN                                                                   COLUMBIA        TN 38401‐7010
MORGAN, LOUIE D      515 BRIARWOOD DR                                                                    TIFTON          GA 31794‐6159
MORGAN, LOUIS T      706 S ELM ST                                                                        SESSER           IL 62884‐2008
MORGAN, LOUISE       208 SLOVER LN                                                                       ARNOLD          MO 63010‐3876
MORGAN, LOUISE       208 SLOVER LANE                                                                     ARNOLD          MO 63010‐3876
MORGAN, LUCILLE      7227 NORTH HIGHWAY 1247                                                             SCIENCE HILL    KY 42553
MORGAN, LUCISH E     290 WHITTEMORE ST                                                                   PONTIAC         MI 48342‐3070
MORGAN, LUCY W       1095 ORLANDO AVE                                                                    AKRON           OH 44320‐2746
MORGAN, LULA         591 NEVADA AVE                                                                      PONTIAC         MI 48341‐2554
MORGAN, LULA         591 NEVADA                                                                          PONTIAC         MI 48341‐2554
MORGAN, LULA F       1202 MAPLEWOOD DR                                                                   KOKOMO          IN 46902‐3142
MORGAN, LYANN        113 MELVIN CT                                                                       SMITHFIELD      NC 27577‐8660
MORGAN, LYMAN R      PO BOX 5941                                                                         DAYTON          OH 45405‐0941
MORGAN, LYN G        5235 MAGNOLIA TREE LN                                                               CHARLOTTE       NC 28215‐4323
MORGAN, LYNN S       46760 GREENRIDGE CT                                                                 NORTHVILLE      MI 48167
MORGAN, MABELLE A    10301 GOLDEN DR                                                                     NOBLESVILLE     IN 46060‐6133
MORGAN, MADELYN I    2640 MOBILE RD                                                                      COPPERHILL      TN 37317‐4202
MORGAN, MANOKA J     801 PORTSIDE DR                                                                     VERMILION       OH 44089‐9149
MORGAN, MARCELLA O   RR 1 BOX 3460                                                                       NAYLOR          MO 63953‐9727
MORGAN, MARCELLA O   ROUTE 1 BOX 3460                                                                    NAYLOR          MO 63953‐9727
MORGAN, MARCUS       4465 WILLOW RUN DRIVE                                                               DAYTON          OH 45430‐1559
MORGAN, MARCUS A     120 PENINSULA WINDS DR                                                              ORMOND BEACH    FL 32176‐8931
MORGAN, MARCUS A     5246 NEBRASKA AVE                                                                   TOLEDO          OH 43615‐4631
MORGAN, MARGARET E   PO BOX 75                                                                           AVON            MS 38723
MORGAN, MARGARET K   12938 LEISURE DR                                                                    WARREN          MI 48088‐4272
MORGAN, MARIE J      286 CLARK ST APT 16                                                                 MONTROSE        MI 48457
MORGAN, MARILYN F    208 WICKERSHAM DR W                                                                 KOKOMO          IN 46901‐4006
MORGAN, MARILYN M    2000 MORRISON AVE                                                                   SPRING HILL     TN 37174‐7411
MORGAN, MARJORIE A   8482 TIFFIN CT                                                                      MENTOR          OH 44060‐2266
MORGAN, MARJORIE J   17564 AVON AVE                                                                      DETROIT         MI 48219‐3559
MORGAN, MARK D       1108 E ALTO RD                                                                      KOKOMO          IN 46902‐4373
MORGAN, MARK D       108 SONOMA COURT                                                                    CLAYTON         OH 45315‐8750
MORGAN, MARK W       413 W 11TH ST APT C24                                                               ALEXANDRIA      IN 46001‐2829
MORGAN, MARLESS      MORIARITY & ASSOCS            14123 VICTORY BLVD                                    VAN NUYS        CA 91401‐1928
MORGAN, MARTHA T     1603 CANCUN DR                                                                      MANSFIELD       TX 76063‐5994
MORGAN, MARTHA V     1709 W 4TH ST                                                                       MARION          IN 46952‐3353
MORGAN, MARVIN       10301 GOLDEN DR                                                                     NOBLESVILLE     IN 46060‐6133
MORGAN, MARVIN A     2011 N 43RD ST                                                                      KANSAS CITY     KS 66104‐3405
MORGAN, MARVIN B     4404 BROOKDALE CT                                                                   ORLANDO         FL 32826‐2638
MORGAN, MARVIN M     138 CHRISTMASVILLE RD                                                               TRENTON         TN 38382‐8406
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Name                     Address1                        Address2                            Address3   Address4         City               State Zip
MORGAN, MARY             2224 HOLMES RD                                                                                  YPSILANTI           MI 48198‐4242
MORGAN, MARY             2648 AUBREY DR                                                                                  LAKE ORION          MI 48360‐1999
MORGAN, MARY A           427 MILL POND DR                                                                                FENTON              MI 48430‐2368
MORGAN, MARY D           3192 GRANT                                                                                      ROCHESTER HILLS     MI 48309‐4109
MORGAN, MARY D           513 ANDOVER RD                                                                                  ANDERSON            IN 46013‐4120
MORGAN, MARY D           3192 GRANT RD                                                                                   ROCHESTER HILLS     MI 48309‐4109
MORGAN, MARY D           224 GRANADA AVE                                                                                 YOUNGSTOWN          OH 44504‐1820
MORGAN, MARY E           1708 N. HENDRICKS RD                                                                            ROBERTSVILLE        MO 63072‐3101
MORGAN, MARY E           349 BLACKWELL LN                                                                                EOLIA               MO 63344‐2312
MORGAN, MARY E           1708 HENDRICKS RD                                                                               ROBERTSVILLE        MO 63072‐3101
MORGAN, MARY ELIZABETH   349 BLACKWELL LN                                                                                EOLIA               MO 63344‐2312
MORGAN, MARY J           800 S HUTTIG AVE                                                                                INDEPENDENCE        MO 64053‐1834
MORGAN, MARY J           415 3RD ST STE 90                                                                               PLATTE CITY         MO 64079‐8472
MORGAN, MARY J           800 S HUTTIG                                                                                    INDEPENDENCE        MO 64053‐1834
MORGAN, MARY L           5121 SHORELINE BLVD                                                                             WATERFORD           MI 48329‐1669
MORGAN, MARY LEE         5105 STEPHANY DR                                                                                ANDERSON            IN 46017‐9759
MORGAN, MARY M           812 MELLEN DR                                                                                   ANDERSON            IN 46013‐5043
MORGAN, MARY M.          2945 WEST LINCOLN AVENUE                                                                        IONIA               MI 48846‐9593
MORGAN, MARY R           190 BRUSH ROW RD                                                                                XENIA               OH 45385
MORGAN, MARY T           1983 HARDING AVE                                                                                YPSILANTI           MI 48197‐4416
MORGAN, MARY T.          1983 HARDING AVE                                                                                YPSILANTI           MI 48197‐4416
MORGAN, MARY V           12338 SEQUOIA LANE                                                                              CLIO                MI 48420‐8297
MORGAN, MATRIE C         8314 DALLASBURG ROAD                                                                            MORROW              OH 45152‐9527
MORGAN, MATTHEW T        494 CHARING CROSS DR                                                                            GRAND BLANC         MI 48439‐1568
MORGAN, MATTHEW W        439 ENXING AVE                                                                                  WEST CARROLLTON     OH 45449‐2009
MORGAN, MATTIE           116 JACKSON MEADOW DR                                                                           HOSCHTON            GA 30548
MORGAN, MAXINE M         PO BOX 59                                                                                       MARKLEVILLE         IN 46056‐0059
MORGAN, MAYBELL R        2001 PARK AVE                                                                                   BENTON              KY 42025‐1740
MORGAN, MAYNELL          5554 LEAFWOOD DRIVE                                                                             CINCINNATI          OH 45224‐3238
MORGAN, MC KINLEY        1713 MARLOWE DR                                                                                 FLINT               MI 48504‐7022
MORGAN, MELBA W          115 POWELL CT                                                                                   ROSWELL             GA 30076‐1243
MORGAN, MELISSA J        2213 W 13TH ST                                                                                  LORAIN              OH 44052‐1111
MORGAN, MELISSA K        2017 COLTON DR                                                                                  DAYTON              OH 45420
MORGAN, MICHAEL A        10126 RABBIT RDG                                                                                KEITHVILLE          LA 71047‐8800
MORGAN, MICHAEL C        116 E PLEASANT ST                                                                               RIVER ROUGE         MI 48218‐1628
MORGAN, MICHAEL D        4685 WISTERIA ST                                                                                DALLAS              TX 75211‐8027
MORGAN, MICHAEL D        5711 N 500 W                                                                                    MARION              IN 46952‐9690
MORGAN, MICHAEL D        13401 NORTHFIELD BLVD                                                                           OAK PARK            MI 48237‐1645
MORGAN, MICHAEL F        4438 GLENOAKS CT                                                                                WARREN              MI 48092‐4196
MORGAN, MICHAEL J        4151 TANGLEWOOD CT                                                                              BLOOMFIELD HILLS    MI 48301‐1220
MORGAN, MICHAEL J        212 W ROSE ST                                                                                   HOLLY               MI 48442‐1526
MORGAN, MICHAEL L        1078 COUNTY ROAD 317                                                                            TRINITY             AL 35673‐3950
MORGAN, MICHAEL P        CLIFFORD LAW OFFICES P. C.      120 N LASALLE STREET ‐ 31ST FLOOR                               CHICAGO              IL 60602

MORGAN, MICHAEL R        203 MARIGOLD LN                                                                                 HOUGHTON LAKE      MI 48629‐8910
MORGAN, MICHAEL T        9421 SAINT REGIS LN                                                                             PORT RICHEY        FL 34668
MORGAN, MICHELLE J       3704 TALLY HO DR                                                                                KOKOMO             IN 46902‐4449
MORGAN, MICHELLE MARIE
MORGAN, MIKE A           5210 WOODHOLLOW RD                                                                              OKLAHOMA CITY      OK   73121‐6040
MORGAN, MILDRED          4695 CHALMERS                                                                                   DETROIT            MI   48215‐2164
MORGAN, MILDRED L        5509 W MARKET ST                                                                                INDIANAPOLIS       IN   46224‐8703
MORGAN, MILES            BOWLER ODEAN                    205 E TABERNACLE ST STE 2                                       ST GEORGE          UT   84770‐2971
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Name                   Address1                            Address2                       Address3   Address4         City            State Zip
MORGAN, MILLARD E      641 CHAMBERLAIN LN                                                                             SALEM            VA 24153‐4072
MORGAN, MILTON         1344 S PERSHING AVE                                                                            INDIANAPOLIS     IN 46221‐1433
MORGAN, MOLLY A        383 AMERICAN FARMS AVENUE                                                                      LATHROP          CA 95330‐8652
MORGAN, MONTGOMERY     14341 SWANEE BEACH DR                                                                          FENTON           MI 48430‐1463
MORGAN, MURIEL R       A.C.C. 439                          248 REBECCA DR                                             ALAMO            TX 78516
MORGAN, NANCY D        8452 ARTHUR AVE                                                                                YPSILANTI        MI 48197‐9330
MORGAN, NANCY J        2115 NORWAY DR                                                                                 DAYTON           OH 45439‐2625
MORGAN, NAOMI L        2512 SAUK DR                                                                                   JANESVILLE       WI 53545‐2235
MORGAN, NAPHENIA       373 60TH ST SE                                                                                 GRAND RAPIDS     MI 49548‐6807
MORGAN, NERMIE L.      14 GREEN ST.                                                                                   PONTIAC          MI 48341‐1710
MORGAN, NERMIE L.      14 GREEN ST                                                                                    PONTIAC          MI 48341‐1710
MORGAN, NICOLETTE      4115 HUDSON DR                                                                                 YOUNGSTOWN       OH 44512‐1012
MORGAN, NOLA ORLENE    1506 E MORGAN ST                                                                               KOKOMO           IN 46901‐2552
MORGAN, NORMA J        16 STEVENS DR # A                                                                              PLAINFIELD       IN 46168‐1928
MORGAN, OBERLENE       2327 LEDYARD ST                                                                                SAGINAW          MI 48601‐2446
MORGAN, OCIE           22755 NOTTINGHAM LN APT 1525                                                                   SOUTHFIELD       MI 48033‐3321
MORGAN, OLIVIA R       4121 HANNA ST                                                                                  FORT WAYNE       IN 46806‐1823
MORGAN, OLLIE R        3785 RAMBLEWOOD DR                                                                             PORT HURON       MI 48060‐1577
MORGAN, ONZA           620 HEDGECOTH RD                                                                               CRAB ORCHARD     TN 37723‐1755
MORGAN, OPHELIA M      6150 HONEYGATE DR                                                                              DAYTON           OH 45424‐1142
MORGAN, ORMINTA R      C/O ANTOINETTE S LAVERE             3112 CARRIAGE HILL DR                                      LOUISVILLE       KY 40241
MORGAN, ORMINTA R      3112 CARRIAGE HILL DR               C/O ANTOINETTE S LAVERE                                    LOUISVILLE       KY 40241‐2103
MORGAN, PAMELA D       127 CREEKMONT CT                                                                               NEWARK           DE 19702‐3772
MORGAN, PAMELA D       1059 STEEPLEBUSH DR                                                                            TOLEDO           OH 43615‐9246
MORGAN, PAMELA K
MORGAN, PAMELA K       3214 COLORADO AVE                                                                              FLINT           MI   48506
MORGAN, PAMELA L       1716 N PINE ST                                                                                 VIVIAN          LA   71082‐9500
MORGAN, PATRICIA A     1100 COLUMBIA CIR APT L             BROWNSBURG POINT APTS.                                     BROWNSBURG      IN   46112‐7612
MORGAN, PATRICIA D     8723 OLD SAPPINGTON RD                                                                         SAINT LOUIS     MO   63126‐2010
MORGAN, PATSY A        2310 UPPER BELLBROOK RD                                                                        XENIA           OH   45385‐9300
MORGAN, PATSY ANN      2310 UPPER BELLBROOK RD                                                                        XENIA           OH   45385‐9300
MORGAN, PATSY L        3224 SW 85TH ST                                                                                OKLAHOMA CITY   OK   73159‐6459
MORGAN, PAUL           GUY WILLIAM S                       PO BOX 509                                                 MCCOMB          MS   39649‐0509
MORGAN, PAUL B         1835 OHIO AVE                                                                                  ANDERSON        IN   46016‐2103
MORGAN, PAUL D         HC 2 BOX 2283                                                                                  WAPPAPELLO      MO   63966‐9522
MORGAN, PAUL D         11336 CEDAR ISLAND RD                                                                          WHITE LAKE      MI   48386‐2616
MORGAN, PAUL D         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                     EDWARDSVILLE    IL   62025
                       ROWLAND PC
MORGAN, PAUL G         53 VALENCIA DR                                                                                 NILES           OH   44446‐1064
MORGAN, PAUL H         1209 BIRCHWOOD DR                                                                              FLUSHING        MI   48433‐1487
MORGAN, PAUL HERBERT   1209 BIRCHWOOD DR                                                                              FLUSHING        MI   48433‐1487
MORGAN, PAUL M         275 BOWEN ST                                                                                   DANVILLE        IN   46122‐1901
MORGAN, PAUL P         1720 UNIVERSITY DR                                                                             COLUMBIA        TN   38401‐6412
MORGAN, PEARL          PO BOX 36                                                                                      ESSIE           KY   40827‐0036
MORGAN, PEARL          BOX 36                                                                                         ESSIE           KY   40827‐0036
MORGAN, PEGGY J        KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                               CLEVELAND       OH   44114
                                                           BOND COURT BUILDING
MORGAN, PEGGY R        DONALDSON & BLACK                   208 W WENDOVER AVE                                         GREENSBORO      NC   27401‐1307
MORGAN, PENNY L        120 PENINSULA WINDS DR                                                                         ORMOND BEACH    FL   32176‐8931
MORGAN, PETER J        1167 BROADACRE AVE                                                                             CLAWSON         MI   48017‐1468
MORGAN, PETER JEREMY   1167 BROADACRE AVE                                                                             CLAWSON         MI   48017‐1468
MORGAN, PETER W        PO BOX 964                                                                                     LONDON          KY   40743‐0964
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Name                     Address1                         Address2                      Address3   Address4         City              State Zip
MORGAN, PHILLIP R        9113 N STATE ROAD 37                                                                       ELWOOD             IN 46036‐8832
MORGAN, PHYLLIS J        18727 GRANDVILLE AVE                                                                       DETROIT            MI 48219‐2894
MORGAN, PRATHEN          2665 DEEP BRANCH RD                                                                        LUMBERTON          NC 28360‐5692
MORGAN, QUENTIN P        3977 MAPLELEAF DR                                                                          DAYTON             OH 45416‐1945
MORGAN, R K              510 DOGWOOD LANE                                                                           HARDEEVILLE        SC 29927‐4550
MORGAN, RAHN L           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
MORGAN, RALEIGH          752 MC KEEHAN CROSSING                                                                     CORBIN            KY 40701‐9572
MORGAN, RALEIGH          752 MCKEEHANS XING                                                                         CORBIN            KY 40701‐9572
MORGAN, RALPH J          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                          STREET, SUITE 600
MORGAN, RANDALL L        8461 DYER RD                                                                               WHITTEMORE        MI   48770‐9608
MORGAN, RANDALL P        609 MARSHALL FULLER RD                                                                     DALLAS            GA   30157‐6164
MORGAN, RANDY E          PO BOX 5094                                                                                NORMAN            OK   73070‐5094
MORGAN, RAYMOND E        305 W LEDGE DR                                                                             LANSING           MI   48917‐9227
MORGAN, RAYMOND S        17964 DEERING ST                                                                           LIVONIA           MI   48152
MORGAN, REBECCA L        6129 DAYTON BRANDT RD                                                                      TIPP CITY         OH   45371‐9784
MORGAN, REGINALD L       1158 W 68TH ST                                                                             LOS ANGELES       CA   90044‐2525
MORGAN, REGINALD LOUIS   4257 W BROADWAY                  APT D                                                     HAWTHORNE         CA   90250‐0800
MORGAN, RENA M           1505 MARION ST                                                                             VALDOSTA          GA   31602‐3365
MORGAN, RENEE' L         46527 WRIGHT AVE                                                                           SHELBY TOWNSHIP   MI   48317‐4382
MORGAN, RENEE' LYNN      46527 WRIGHT AVE                                                                           SHELBY TOWNSHIP   MI   48317‐4382
MORGAN, RHEA             457 N 7TH ST                                                                               MITCHELL          IN   47446
MORGAN, RICHARD          1035 REDROCK DR                                                                            ANDERSON          IN   46013‐3768
MORGAN, RICHARD A        2224 SILVER ST                                                                             ANDERSON          IN   46012‐1618
MORGAN, RICHARD C        635 BROWNING ST                                                                            SHREVEPORT        LA   71106
MORGAN, RICHARD DEAN     COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                   HOUSTON           TX   77002‐1751
MORGAN, RICHARD E        PO BOX 165                                                                                 WHITINSVILLE      MA   01588‐0165
MORGAN, RICHARD G        1842 S OSBORNE AVE                                                                         JANESVILLE        WI   53546‐5941
MORGAN, RICHARD H        3335 FALLING BRK                                                                           SAN ANTONIO       TX   78258‐4432
MORGAN, RICHARD L        12 TREEHAVEN DR                                                                            LOCKPORT          NY   14094‐5913
MORGAN, RICHARD L        4248 N 150 W                                                                               ANDERSON          IN   46011‐9220
MORGAN, RICHARD M        6326 KARENS COURT                                                                          FRISCO            TX   75034‐2264
MORGAN, RICHARD M        192 HASS PL                                                                                FOND DU LAC       WI   54935
MORGAN, RICHARD R        108 TAVERN RD                                                                              MARTINSBURG       WV   25401‐2842
MORGAN, RICHARD R        14 S LYON ST                                                                               BATAVIA           NY   14020‐1802
MORGAN, RICHARD R        BERGMAN & FROKT                  705 2ND AVE STE 1601                                      SEATTLE           WA   98104‐1711
MORGAN, RICHARD T        1201 DANIEL DR                                                                             PARAGOULD         AR   72450‐1926
MORGAN, RICHARD W        1727 N WRIGHT RD                                                                           ALCOA             TN   37701‐2366
MORGAN, RICHARD W        3251 FIELDSTONE DR                                                                         FLUSHING          MI   48433‐2217
MORGAN, ROBERT           49528 SABLE CREEK DR                                                                       MACOMB            MI   48042‐4648
MORGAN, ROBERT           BRAYTON PURCELL                  621 SW MORRISON ST STE 950                                PORTLAND          OR   97205‐3824
MORGAN, ROBERT           KAZAN MCCLAIN EDISES ABRAMS,     171 12TH ST STE 300                                       OAKLAND           CA   94607‐4911
                         FERNANDZ, LYONS & FARRISE
MORGAN, ROBERT B         1300 W 96TH ST                                                                             CHICAGO           IL   60643‐1463
MORGAN, ROBERT D         734 GRANTWOOD AVE                                                                          SHEFFIELD LK      OH   44054‐1214
MORGAN, ROBERT D         9290 PARK CT                                                                               SWARTZ CREEK      MI   48473‐8537
MORGAN, ROBERT D         PO BOX 118                       204 FLETCHER                                              FRANKTON          IN   46044‐0118
MORGAN, ROBERT D         204 FLETCHER                     BOX 118                                                   FRANKTON          IN   46044‐0118
MORGAN, ROBERT DARREL    9290 PARK CT                                                                               SWARTZ CREEK      MI   48473‐8537
MORGAN, ROBERT E         7361 CACTUS CV SW 130                                                                      BYRON CENTER      MI   49315
MORGAN, ROBERT E         PO BOX 129                                                                                 HANOVERTON        OH   44423‐0129
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Name                   Address1                         Address2          Address3         Address4         City            State Zip
MORGAN, ROBERT E       2815 S TAFT AVE                                                                      INDIANAPOLIS     IN 46241‐5921
MORGAN, ROBERT F       5682 STATION HILL DR                                                                 AVON             IN 46123
MORGAN, ROBERT F       834 HIGHWAY 12 WEST 197                                                              STARKVILLE       MS 39759
MORGAN, ROBERT G       2245 SAVOY AVE                                                                       BURTON           MI 48529‐2171
MORGAN, ROBERT H       16363 E FREMONT AVE              APT 738                                             AURORA           CO 80016‐2240
MORGAN, ROBERT H       15365 E FREMONT AVE APT 730                                                          AURORA           CO 80016‐2240
MORGAN, ROBERT J       1510 JAY AVE                                                                         YPSILANTI        MI 48198‐6375
MORGAN, ROBERT J       9367 FIELDING ST                                                                     DETROIT          MI 48228‐1533
MORGAN, ROBERT K       9963 E GRAYTHORN DR                                                                  SCOTTSDALE       AZ 85262‐5155
MORGAN, ROBERT L       341 KARSTEN TERRACE                                                                  XENIA            OH 45385
MORGAN, ROBERT L       700 DOVER PARK TRL                                                                   MANSFIELD        TX 76063‐8834
MORGAN, ROBERT L       232 S ELMA ST                                                                        ANDERSON         IN 46012‐3144
MORGAN, ROBERT L       301 EDGEWOOD RD                                                                      THOMPSON         ND 58278‐4309
MORGAN, ROBERT L       N9902 HAY LAKE RD                                                                    SPRINGBROOK      WI 54875‐9551
MORGAN, ROBERT L       551 S SCHROEDER ST                                                                   DETROIT          MI 48209‐3057
MORGAN, ROBERT L       15800 S AIRPORT RD                                                                   LANSING          MI 48906‐9120
MORGAN, ROBERT LEWIS   700 DOVER PARK TRL                                                                   MANSFIELD        TX 76063‐8834
MORGAN, ROBERT M       4520 W HUNTERS RIDGE LN                                                              GREENWOOD        IN 46143‐8711
MORGAN, ROBERT P       1515 HIGHWAY Y                                                                       FOLEY            MO 63347‐3101
MORGAN, ROBERT P       21318 ENTRY WAY                                                                      LAND O LAKES     FL 34639‐4925
MORGAN, ROBERT S       5027 BELLE ISLE DR                                                                   DAYTON           OH 45439‐3201
MORGAN, ROBERT S       4296 HIGH ST                                                                         SUGAR HILL       GA 30518‐4934
MORGAN, ROBERT S       2401 S EDGAR RD                                                                      MASON            MI 48854‐9276
MORGAN, ROBERT W       1217 N WINTHROP RD                                                                   MUNCIE           IN 47304‐2958
MORGAN, ROBERTA L      8100 CLYO ROAD                   APT# 218                                            CENTERVILLE      OH 45458
MORGAN, ROBIN A        3213 AUBREY AVENUE                                                                   GRANITE CITY      IL 62040‐5018
MORGAN, ROBIN J        3905 GEORGE CT                                                                       KINGSPORT        TN 37660‐7897
MORGAN, ROBIN L        499 N HARRIS AVE                                                                     COLUMBUS         OH 43204‐3442
MORGAN, ROBIN L        499 NORTH HARRIS AVENUE                                                              COLUMBUS         OH 43204‐3442
MORGAN, RODNEY D       230 MOLLIE LN                                                                        MARSHALL         TX 75672‐5972
MORGAN, RODNEY DALE    230 MOLLIE LN                                                                        MARSHALL         TX 75672‐5972
MORGAN, ROGER D        9310 MONICA DR                                                                       DAVISON          MI 48423‐2864
MORGAN, ROGER DALE     9310 MONICA DR                                                                       DAVISON          MI 48423‐2864
MORGAN, ROGER E        3580 NEWTON FALLS BAILEY RD SW                                                       WARREN           OH 44481‐9718
MORGAN, ROGER R        2512 SAUK DR                                                                         JANESVILLE       WI 53545‐2235
MORGAN, ROGER T        6950 ROYAL SAINT GEORGE                                                              CLARKSTON        MI 48348‐4829
MORGAN, ROLAND         7425 MELROSE AVE                                                                     SAINT LOUIS      MO 63130‐1719
MORGAN, ROLAND         346 E 14TH ST                                                                        RESERVE          LA 70084‐5262
MORGAN, ROLAND         346 E 14TH STREET                                                                    RESERVE          LA 70084‐5262
MORGAN, ROMAN J        7153 BLACK OAK CT APT 103                                                            WATERFORD        MI 48327‐1597
MORGAN, RONALD A       7266 WOODNOTES                                                                       FAIRLAND         IN 46126
MORGAN, RONALD A       6680 DEER MEADOWS                                                                    HUBER HEIGHTS    OH 45424‐5424
MORGAN, RONALD C       12335 US 42                                                                          WALTON           KY 41094
MORGAN, RONALD D       5492 ASPEN CIRCLE                                                                    GRAND BLANC      MI 48439‐3510
MORGAN, RONALD DUANE   5492 ASPEN CIRCLE                                                                    GRAND BLANC      MI 48439‐3510
MORGAN, RONALD E       3242 OLD ALABAMA RD                                                                  ARAGON           GA 30104‐1513
MORGAN, RONALD E       3108 WESTADOR CT                                                                     ARLINGTON        TX 76015‐2337
MORGAN, RONALD H       400 FORMOSA DR                                                                       COLUMBIA         TN 38401‐2228
MORGAN, RONALD J       14862 KY 59                                                                          VANCEBURG        KY 41179‐6297
MORGAN, RONALD L       11480 E 191ST ST                                                                     NOBLESVILLE      IN 46060‐9536
MORGAN, RONALD P       208 BURY DR                                                                          SYRACUSE         NY 13209‐1213
MORGAN, RONNIE A       18910 VAUGHAN ST                                                                     DETROIT          MI 48219‐3436
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Name                   Address1                          Address2                       Address3   Address4         City             State Zip
MORGAN, RONNIE A       2451 HIGHWAY 113                                                                             TAYLORSVILLE      GA 30178
MORGAN, RONNIE AUBRY   18910 VAUGHAN ST                                                                             DETROIT           MI 48219‐3436
MORGAN, RONNIE L       330 TURN TABLE RD                                                                            SPARTA            TN 38583‐1309
MORGAN, ROSEMARY       1057 PARADISE COURT B                                                                        GREENWOOD         IN 46143
MORGAN, ROY            GUY WILLIAM S                     PO BOX 509                                                 MCCOMB            MS 39649‐0509
MORGAN, ROY L          2090 GRANTS PKWY                                                                             FLORISSANT        MO 63031‐2351
MORGAN, ROY M          8547 SQUIRES LN NE                                                                           WARREN            OH 44484‐1645
MORGAN, RUBBIE L       2651 CLAIRMOUNT ST                                                                           DETROIT           MI 48206‐1931
MORGAN, RUBY J         1894 PISA CIR                                                                                STOCKTON          CA 95206
MORGAN, RUSSELL L      1268 COOLIDGE AVE                                                                            SAGINAW           MI 48638‐4716
MORGAN, RUSSELL R      333 ROUGH RD                                                                                 FLOVILLA          GA 30216‐2613
MORGAN, RUSSELL R      9808 COUNTY ROAD 528                                                                         BURLESON          TX 76028‐1042
MORGAN, RUTH           5709 BALDWIN BLVD                                                                            FLINT             MI 48505‐5153
MORGAN, RUTH           514 E PULASKI AVE                                                                            FLINT             MI 48505‐3316
MORGAN, RUTH           514 E PULASKI                                                                                FLINT             MI 48505‐3316
MORGAN, RUTH A         13213 LITTLE ROCK LN                                                                         HARTLAND          MI 48353‐3795
MORGAN, RUTH J         KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                         BOND COURT BUILDING
MORGAN, SABRINA L      6412 ATLAS LAKE ROAD                                                                         GOODRICH         MI   48438‐9785
MORGAN, SALLIE M       1424 CHATHAM DRIVE                                                                           FLINT            MI   48505
MORGAN, SAMANTHA J     8436 TID AVE SW APT 1                                                                        WARREN           OH   44481‐9528
MORGAN, SAMANTHA M     193 SOUTH LEATHERWOOD ROAD                                                                   BEDFORD          IN   47421‐8846
MORGAN, SAMUEL         513 W DEWEY ST                                                                               FLINT            MI   48505‐4003
MORGAN, SAMUEL J       9134 SE 135TH LN                                                                             SUMMERFIELD      FL   34491‐7963
MORGAN, SANDRA         6922 KIRKWOOD CLUB DRIVE                                                                     INDIANAPOLIS     IN   46241‐9208
MORGAN, SANDRA A       4438 GLENOAKS CT                                                                             WARREN           MI   48092‐4196
MORGAN, SANDRA F       601 CLAY CT                                                                                  BRANDON          FL   33510‐3810
MORGAN, SANDRA G       15312 BURT RD                                                                                CHESANING        MI   48616‐9536
MORGAN, SANDRA GAYLE   15312 BURT RD                                                                                CHESANING        MI   48616‐9536
MORGAN, SANDRA K       7131 E COURT ST                                                                              DAVISON          MI   48423‐2546
MORGAN, SANDRA K       116 VICTORY RD                                                                               HOUGHTON LAKE    MI   48629
MORGAN, SANDRA K       STEERS & STEERS                   PO BOX 447                                                 FRANKLIN         KY   42135‐0447
MORGAN, SANDRA LEE     346 WASHINGTON ST                                                                            DIMONDALE        MI   48821‐8725
MORGAN, SANDRA P       1008 ONTARIO ST                                                                              LANSING          MI   48915‐2225
MORGAN, SANDY R        3625 S LORETTA DR                                                                            SPOKANE VALLEY   WA   99206‐5994
MORGAN, SARAH          4611 FULTON RD                                                                               CLEVELAND        OH   44144‐3636
MORGAN, SARAH JEANNE
MORGAN, SARAH T        5810 RICE MINE RD NE 15                                                                      TUSCALOOSA       AL   35406
MORGAN, SHANDA D       2531 JOHN STEVEN WAY                                                                         REYNOLDSBURG     OH   43068
MORGAN, SHARON         11535 PLAZA DR APT 311E                                                                      CLIO             MI   48420‐1797
MORGAN, SHARON H       3776 CAMERON CT                                                                              ANDERSON         IN   46012‐9617
MORGAN, SHERI L        601 CLAY COURT                                                                               BRANDON          FL   33510‐3810
MORGAN, SHERRI L       5068 CLARKSTON RD                                                                            CLARKSTON        MI   48348‐3803
MORGAN, SHERRY D       3210 COLLIER DR SE                                                                           DECATUR          AL   35603‐5428
MORGAN, SHIRLEY        7 CLYDESDALE                                                                                 MT MORRIS        MI   48458‐8846
MORGAN, SHIRLEY        7 CLYDESDALE ST                                                                              MOUNT MORRIS     MI   48458‐8846
MORGAN, SHIRLEY A      PO BOX 3462                                                                                  WARREN           OH   44485‐0462
MORGAN, SHIRLEY ANN    562 RICHMOND PL                                                                              LOGANVILLE       GA   30052‐9029
MORGAN, SHIRLEY D      4701 COOLEY LAKE RD                                                                          WHITE LAKE       MI   48383‐3218
MORGAN, SHIRLEY R      19 IRENA AVE                                                                                 CAMARILLO        CA   93012‐8105
MORGAN, SHIRLIE A.     227 W DARTMOUTH ST                                                                           FLINT            MI   48505‐6606
MORGAN, SONYA M        1859 ROBERTS LN NE                                                                           WARREN           OH   44483
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Name                    Address1                       Address2                            Address3   Address4         City              State Zip
MORGAN, STANLEY B       11635 FRANKLIN DR                                                                              LAKEVIEW           OH 43331‐9382
MORGAN, STELLA A        604 PINE ST NW                                                                                 HARTSELLE          AL 35640‐2322
MORGAN, STELLA A        604 PINE STREET N.W.                                                                           HARTSELLE          AL 35640‐2322
MORGAN, STEPHEN J       28261 SAN MARCOS                                                                               MISSION VIEJO      CA 92692‐1318
MORGAN, STEPHEN L       PO BOX 8030                                                                                    GADSDEN            AL 35902
MORGAN, STEVE A         PO BOX 713                                                                                     MONTEAGLE          TN 37356‐0713
MORGAN, STEVEN          PORTER & MALOUF PA             4670 MCWILLIE DR                                                JACKSON            MS 39206‐5621
MORGAN, STEVEN E        14810 WCR 700 N                                                                                GASTON             IN 47342
MORGAN, STEVEN L        2017 COLTON DR                                                                                 DAYTON             OH 45420
MORGAN, STEVEN R        6922 KIRKWOOD CLUB DR                                                                          INDIANAPOLIS       IN 46241‐9208
MORGAN, SUSAN B         208 NORTHSHORE BLVD                                                                            ANDERSON           IN 46011‐1327
MORGAN, SUZANNA M       6485 WHITEFORD RD                                                                              OTTAWA LAKE        MI 49267‐9610
MORGAN, SUZANNA MARIE   6485 WHITEFORD RD                                                                              OTTAWA LAKE        MI 49267‐9610
MORGAN, SYLVIA          PO BOX 248                                                                                     WHITMAN            WV 25652
MORGAN, SYLVIA L        2606 N. PARKER AVE                                                                             INDIANAPOLIS       IN 46218‐2849
MORGAN, SYLVIA L        2606 N PARKER AVE                                                                              INDIANAPOLIS       IN 46218‐2849
MORGAN, TAMARA          3519 HANNAMAN ROAD                                                                             COLUMBIAVILLE      MI 48421‐8948
MORGAN, TANYA Y         5250 OSCEOLA DR                                                                                DAYTON             OH 45427
MORGAN, TASHA           PO BOX 402                                                                                     RUSSELLVILLE       KY 42276‐0402
MORGAN, TAWNYA          6355 KING GRAVES RD                                                                            FOWLER             OH 44418‐9722
MORGAN, TED             3809 ROSLYN AVE                                                                                DAYTON             OH 45429‐4830
MORGAN, TEDDY R         1220 CHEEK RD                                                                                  LEWISBURG          TN 37091‐5150
MORGAN, TERESA          1412 LOUIS AVE                                                                                 FLINT              MI 48505‐1080
MORGAN, TERESA A        439 ENXING AVE                                                                                 WEST CARROLLTON    OH 45449‐2009
MORGAN, TERESA L        172 LITTLE TURKEY TRAIL                                                                        TUPELO             MS 38804‐8266
MORGAN, TERRY A         277 D F PETTY RD                                                                               BOWLING GREEN      KY 42103‐9505
MORGAN, TERRY A         722 HUNTER BLVD                                                                                LANSING            MI 48910‐4543
MORGAN, TERRY B         2648 AUBREY DR                                                                                 LAKE ORION         MI 48360‐1999
MORGAN, TERRY D         3120 S SASHABAW RD                                                                             OXFORD             MI 48371‐4009
MORGAN, TERRY F         408 LAKESHORE DR RM 20                                                                         CANANDAIGUA        NY 14424
MORGAN, TERRY L         342 SPRAGUE RD APT 201                                                                         BEREA              OH 44017‐2676
MORGAN, TERRY L         3017 JOHNSON RD LOT 32                                                                         STEVENSVILLE       MI 49127‐1264
MORGAN, TERRY LEE       342 SPRAGUE RD APT 201                                                                         BEREA              OH 44017‐2676
MORGAN, TERRY P         9500 COOLEY LAKE RD                                                                            WHITE LAKE         MI 48386‐3940
MORGAN, THELMA M        25592 SHIAWASSEE RD APT 921                                                                    SOUTHFIELD         MI 48033‐3717
MORGAN, THEODORE        842 CLARK ST APT K                                                                             CINCINNATI         OH 45203‐1358
MORGAN, THEODORE J      198 SINGAPORE ISLAND RD                                                                        LEESBURG           FL 34788‐2970
MORGAN, THERESA E       APT B                          5500 CLIFFBROOK CIRCLE                                          RICHMOND           VA 23227‐2428
MORGAN, THERESA E       5500 CLIFFBROOK CIRCLE         APT B                                                           RICHMOND           VA 23227
MORGAN, THOMAS          WILENTZ GOLDMAN & SPITZER      88 PINE STREET, WALL STREET PLAZA                               NEW YORK           NY 10005

MORGAN, THOMAS C        13287 HIGHWAY 44                                                                               CALDWELL          ID   83607‐7715
MORGAN, THOMAS C        415 E 11TH ST                                                                                  SEDALIA           MO   65301‐5939
MORGAN, THOMAS D        4437 W CARPENTER RD                                                                            FLINT             MI   48504‐1122
MORGAN, THOMAS DEWEY    4437 W CARPENTER RD                                                                            FLINT             MI   48504‐1122
MORGAN, THOMAS E        G3330 HERRICK ST                                                                               FLINT             MI   48532‐4809
MORGAN, THOMAS E        1512 WILDWOOD CT                                                                               PLAINFIELD        IN   46168‐2394
MORGAN, THOMAS G        5445 N OAK RD                                                                                  DAVISON           MI   48423‐9343
MORGAN, THOMAS GEORGE   5445 N OAK RD                                                                                  DAVISON           MI   48423‐9343
MORGAN, THOMAS J        1338 BURHAVEN DR                                                                               ROCHESTER HILLS   MI   48306‐3706
MORGAN, THOMAS L        14689 ELLETT RD                                                                                BELOIT            OH   44609‐9753
MORGAN, THOMAS L        6947 GILBERT AVE                                                                               CINCINNATI        OH   45239
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Name                     Address1                             Address2          Address3     Address4         City               State Zip
MORGAN, THOMAS O         3121 N SHERIDAN RD APT 502                                                           CHICAGO              IL 60657‐4912
MORGAN, THOMAS O         34497 MARINA CT                                                                      WESTLAND            MI 48185‐1490
MORGAN, THOMAS R         3607 RIVER PARK DR                                                                   ANDERSON            IN 46012‐4645
MORGAN, TIFFANY R        1618 W 11TH ST                                                                       ANDERSON            IN 46016‐2815
MORGAN, TIFFINI          3557 COACHLIGHT COMMON ST                                                            LANSING             MI 48911‐4404
MORGAN, TIMOTHY          248 VALLEY STREAM DR                                                                 HOLLY               MI 48442‐1571
MORGAN, TIMOTHY D        2408 CHERRYFIELD DR                                                                  SHREVEPORT          LA 71118‐4540
MORGAN, TIMOTHY J        1364 99TH ST                                                                         NIAGARA FALLS       NY 14304‐2724
MORGAN, TIMOTHY R        9055 HENSLEY DR                                                                      STERLING HEIGHTS    MI 48314‐2668
MORGAN, TOMMY V          2601 ROCKLEDGE TRL                                                                   BEAVERCREEK         OH 45430‐1806
MORGAN, TONI A           10315 TIMBER LEAF CT                                                                 INDIANAPOLIS        IN 46236
MORGAN, TONY             922 SUFFOLK DR APT B                                                                 JANESVILLE          WI 53546‐1809
MORGAN, TONY             907 TINDALAYA DR                                                                     LANSING             MI 48917‐4128
MORGAN, TONY             3325 COLBY LN                                                                        JANESVILLE          WI 53546‐1953
MORGAN, TONY C           323 FACULTY                                                                          FAIRBORN            OH 45324‐3931
MORGAN, TONY C           323 FACULTY DR                                                                       FAIRBORN            OH 45324‐3931
MORGAN, TRACY            17000 WALNUT DR                                                                      NEWALLA             OK 74857‐1321
MORGAN, TRACY A          17000 WALNUT DR                                                                      NEWALLA             OK 74857‐1321
MORGAN, TROY             1421 WILLARD RD                                                                      BIRCH RUN           MI 48415‐8611
MORGAN, TRUMAN           PO BOX 2416                                                                          ANDERSON            IN 46018‐2416
MORGAN, VERA B           220 SHELBY ST                                                                        SANDUSKY            OH 44870‐2251
MORGAN, VERA B           3110 IDA DR                                                                          ELLENTON            FL 34222‐3560
MORGAN, VERNICE N        PO BOX 7432                                                                          MADISON             WI 53707‐7432
MORGAN, VICKY L          PO BOX 416                                                                           GALVESTON           IN 46932
MORGAN, VICTORIA         42966 ARLINGTON                                                                      CANTON              MI 48187‐2306
MORGAN, VIKKI J          PO BOX 25                                                                            CHESTERFIELD        IN 46017‐0025
MORGAN, VIOLA M          2310 PLAZA DR W                                                                      CLIO                MI 48420‐2107
MORGAN, VIRGIL           21239 DANBURY STREET                                                                 WOODHAVEN           MI 48183‐1607
MORGAN, VIRGINIA B       2718 W 40TH ST                                                                       ANDERSON            IN 46011‐5021
MORGAN, VIRGINIA J       723 TOPSIDE DR                                                                       MADISONVILLE        TN 37354‐1592
MORGAN, VIRGINIA L       18850 NW MAINLINER RD                                                                PARKVILLE           MO 64152‐5603
MORGAN, VIRGINIA M.      220 S HOME AVE APT 309                                                               PITTSBURGH          PA 15202‐2826
MORGAN, VIRGINIA S       6342 CONISTON ST                                                                     PORT CHARLOTTE      FL 33981‐5506
MORGAN, WALTER E         138 SHORE DR W                                                                       ORIENTAL            NC 28571‐9594
MORGAN, WALTER E         760 KIRKWALL DR                                                                      COPLEY              OH 44321‐1768
MORGAN, WALTER J         2501 WESTERN ROW RD                                                                  MAINEVILLE          OH 45039‐9556
MORGAN, WALTER JAMES     2501 WESTERN ROW RD                                                                  MAINEVILLE          OH 45039‐9556
MORGAN, WANDA J          17998 BETHEL CHURCH RD                                                               MANCHESTER          MI 48158‐9598
MORGAN, WANDA M          25577 BRIAR DR                                                                       OAK PARK            MI 48237‐1335
MORGAN, WARNER H         326 LIVE OAK RD                                                                      ARAGON              GA 30104‐1652
MORGAN, WAYNE A          3373 PNT AVE BARQUES                                                                 PORT AUSTIN         MI 48467
MORGAN, WAYNE L          2169 OLD LN                                                                          WATERFORD           MI 48327‐1334
MORGAN, WAYNE P          2342 S POSEYVILLE RD                                                                 MIDLAND             MI 48640‐8570
MORGAN, WESLEY R         358 MEADOW DR                                                                        DANVILLE            IN 46122‐1418
MORGAN, WILL I           154 E ALMA AVE                                                                       FLINT               MI 48505‐2106
MORGAN, WILLA B          3162 BRKPT SPENCERPORT RD                                                            SPENCERPORT         NY 14559
MORGAN, WILLARD D        595 RUSTIC DR                                                                        SAGINAW             MI 48604‐2161
MORGAN, WILLIAM          WEITZ & LUXENBERG                    180 MAIDEN LANE                                 NEW YORK            NY 10038
MORGAN, WILLIAM A        19301 PRAIRIE ST                                                                     DETROIT             MI 48221‐1709
MORGAN, WILLIAM C        24827 FERNGLEN DR                                                                    KATY                TX 77494‐6827
MORGAN, WILLIAM CURTIS   HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                       ANTIOCH             CA 94509‐2323
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Name                              Address1                        Address2                    Address3   Address4         City               State Zip
MORGAN, WILLIAM CURTIS            SIMONS EDDINS & GREENSTONE      3232 MCKINNEY AVE STE 610                               DALLAS              TX 75204‐8583
MORGAN, WILLIAM D                 744 DUNN RATCLIFF RD NW                                                                 BROOKHAVEN          MS 39601‐8115
MORGAN, WILLIAM D                 6686 LANDIS RD                                                                          BROOKVILLE          OH 45309‐8212
MORGAN, WILLIAM E                 2656 S SCHENLEY AVE                                                                     YOUNGSTOWN          OH 44511‐2108
MORGAN, WILLIAM H                 5450 HIGHWAY 39                                                                         SOMERSET            KY 42503‐5772
MORGAN, WILLIAM H                 2105 ATKINS AVE                                                                         FLINT               MI 48503
MORGAN, WILLIAM H                 108 EDNA PL                                                                             BUFFALO             NY 14209‐2335
MORGAN, WILLIAM H                 PO BOX 439                                                                              FLINT               MI 48501‐0439
MORGAN, WILLIAM J                 26339 OAKLAND ST                                                                        ROSEVILLE           MI 48066‐3324
MORGAN, WILLIAM J                 3569 EDGAR ROAD                                                                         LESLIE              MI 49251‐9709
MORGAN, WILLIAM J                 6240 M 65 NORTH                                                                         LACHINE             MI 49753‐9771
MORGAN, WILLIAM J                 3846 W CHADWICK RD                                                                      DEWITT              MI 48820‐9114
MORGAN, WILLIAM L                 32931 FOREST APT 253                                                                    WAYNE               MI 48184
MORGAN, WILLIAM P                 13092 VILLAGE CT                                                                        CLIO                MI 48420‐8264
MORGAN, WILLIAM R                 2907 S 23RD ST                                                                          NEW CASTLE          IN 47362‐2014
MORGAN, WILLIAM R                 3521 CHAMBERS ST                                                                        FLINT               MI 48507‐2134
MORGAN, WILLIAM RAY               3521 CHAMBERS ST                                                                        FLINT               MI 48507‐2134
MORGAN, WILLIAM S                 1579 MORGAN RD                                                                          CLIO                MI 48420‐1866
MORGAN, WILLIAM S                 434 BIRKDALE VILLAGE DR                                                                 DAYTON              OH 45458‐3671
MORGAN, WILLIAM T                 2519 DUNKIRK TRL                                                                        THE VILLAGES        FL 32162‐5028
MORGAN, WILLIAM T                 10153 PINE BREEZE RD W                                                                  JACKSONVILLE        FL 32257‐6050
MORGAN, WILLIAM V                 27331 COUNTY HWY II                                                                     CAZENOVIA           WI 53924‐7018
MORGAN, WILLIE L                  4279 MINERS CREEK RD                                                                    LITHONIA            GA 30038‐3815
MORGAN, WILLIE M                  1295 RAMBLING RD.                                                                       YPSILANTI           MI 48198‐3141
MORGAN, WILLIE Y                  3801 CRANBROOK HILL ST                                                                  LAS VEGAS           NV 89129‐7688
MORGAN, WILLUS W                  LAUREL OAKS                     1700 WEST BENDER ROAD       APT 345                     GLENDALE            WI 53209
MORGAN, WINFRED W                 5388 GREENLEAF DR                                                                       SWARTZ CREEK        MI 48473‐1136
MORGAN, WYNN D                    7001 W PARKER RD 1511                                                                   PLANO               TX 75093
MORGAN, YANCY C                   1965 CLIFFVIEW RD                                                                       CLEVELAND           OH 44121‐1031
MORGAN,IAN H                      5933 STONEHAVEN BLVD                                                                    OAKLAND TOWNSHIP    MI 48306‐4942
MORGAN,TERESA A                   439 ENXING AVE                                                                          WEST CARROLLTON     OH 45449‐2009
MORGAN‐ MURCHAKE, MARY E          23615 S STONEY PATH DR                                                                  SUN LAKES           AZ 85248‐6156
MORGAN‐DAUGHERTY, MALINDA A       12317 MORTIMER AVE                                                                      CLEVELAND           OH 44111‐5050
MORGAN‐HALE, LONA R               1246 E WALTON BLVD APT 122                                                              PONTIAC             MI 48340‐1580
MORGAN‐HALE, LONA R               1246 E WALTON BLVD              # 122                                                   PONTIAC             MI 48340
MORGAN‐HELLER ASSOC INC           ATTN: BEN HELLER                7 S PERRY ST                                            PONTIAC             MI 48342‐2219
MORGAN‐KONEN, DEBRA L             620 W DODGE                                                                             GREENVILLE          MI 48838‐1681
MORGAN‐KONEN, DEBRA L             620 W DODGE ST                                                                          GREENVILLE          MI 48838‐1681
MORGAN‐MCCLURE CHEVROLET BUICK    11147 NORTON‐COEBURN RD                                                                 COEBURN             VA 24230‐6412
CADI
MORGAN‐MCCLURE CHEVROLET BUICK    11147 NORTON‐COEBURN RD                                                                 COEBURN            VA 24230‐6412
CADILLAC, INC.
MORGAN‐MCCLURE CHEVROLET BUICK    LARRY MCCLURE                   11147 NORTON‐COEBURN RD                                 COEBURN            VA 24230‐6412
CADILLAC, INC.
MORGAN‐MCCLURE CHEVROLET‐PONTIAC‐ 16363 US HIGHWAY 58                                                                     CASTLEWOOD         VA
GM
MORGAN‐MCCLURE CHEVROLET‐PONTIAC‐ TIMOTHY MORGAN                  16363 US HIGHWAY 58                                     CASTLEWOOD         VA 24224
GMC, INC.
MORGAN‐MCCLURE CHEVROLET‐PONTIAC‐ 16363 US HIGHWAY 58                                                                     CASTLEWOOD         VA 24224
GMC, INC.
MORGAN‐MCCLURE MOTORSPORTS        26502 NEWBANKS RD                                                                       ABINGDON           VA 24210‐7500
MORGAN‐SHERROD, SHARON            315 BARDIN GREENE DR APT 1211                                                           ARLINGTON          TX 76018‐5290
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Name                               Address1                         Address2                         Address3   Address4              City               State Zip
MORGANFIELD, ANNIE                 805 S. 26TH ST                                                                                     SAGINAW             MI 48601‐6533
MORGANFIELD, ANNIE                 805 S 26TH ST                                                                                      SAGINAW             MI 48601‐6533
MORGANFIELD, ANNIE MILL            2111 SHOREHAM DRIVE                                                                                FLORISSANT          MO 63033‐1239
MORGANFIELD, LOUIS                 4528 ATHLONE AVE                                                                                   SAINT LOUIS         MO 63115‐3129
MORGANN, MATTHEW C                 502 COUNTRY SQUIRE CT                                                                              CENTERVILLE         OH 45458‐4006
MORGANN, RUSSELL M                 6600 CARPER LANE RD                                                                                HILLSBORO           OH 45133‐8301
MORGANO JR, JOSEPH F               16 SHERWOOD RD                                                                                     LANCASTER           NY 14086‐3015
MORGANROTH, DAVID                  11601 MILLER RD                                                                                    GAINES              MI 48436‐8803
MORGANSTERN MACADAMS & DEVITO CO 623 W SAINT CLAIR AVE                                                                                CLEVELAND           OH 44113‐1204
LPA
MORGANSTERN, JOHN R                PO BOX 379                                                                                         CHARLESTOWN        MD   21914‐0379
MORGANSTERN, MARTHA J              9375 BRICKYARD RD. LOT 61                                                                          SEAFORD            DE   19973‐8429
MORGANTE, CHARLES D                232 COLLAMER RD                                                                                    HILTON             NY   14468‐9179
MORGANTE, JOHN C                   2905 LOCUST CT                                                                                     STERLING HEIGHTS   MI   48314‐1877
MORGANTHALER, WILLIAM C            1017 HUMMINGBIRD TRL                                                                               GRAPEVINE          TX   76051‐2822
MORGANTI, SARAH M                  68 OSPREY CIRCLE                                                                                   OKATIE             SC   29909‐4229
MORGANTI, WILLIAM                  29185 BIRCHCREST DR                                                                                WARREN             MI   48093‐2472
MORGANTON CITY TAX COLLECTOR       PO BOX 3448                                                                                        MORGANTON          NC   28680‐3448
MORGANTOWN & INDIANAPOLIS FRT LINE UPDTE PER LTR 12/21/06 TW        6579 SOUTH US 31                                                  EDINBURGH          IN   46124
INC
MORGENFELD, MARLENE M              248 BLACKWELL LN                                                                                   HENRIETTA          NY 14467‐9772
MORGENSEN, BARBARA I               APT 1411                         4424 GAINES RANCH LOOP                                            AUSTIN             TX 78735‐6501
MORGENSTERN JAMES A (460070)       KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH 44114
                                                                    BOND COURT BUILDING
MORGENSTERN, DAVID
MORGENSTERN, DAVID A                9299 W M179 HWY                                                                                   MIDDLEVILLE        MI   49333
MORGENSTERN, DAVID ALAN             9299 W M179 HWY                                                                                   MIDDLEVILLE        MI   49333
MORGENSTERN, INAZUE                 126 BEACHDALE DRIVE                                                                               AVON LAKE          OH   44012‐1611
MORGENSTERN, JAMES A                KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                      CLEVELAND          OH   44114
                                                                    BOND COURT BUILDING
MORGENSTERN, KATHARINA              1653 HELENA DR                                                                                    MANSFIELD          OH 44904‐1816
MORGENSTERN, KATHARINA              613 MELROSE PARK LANE                                                                             MOORE              SC 29369
MORGENSTERN, WILLIAM P              801 TERRA BELLA DR                                                                                MILPITAS           CA 95035‐4546
MORGENTHALER LLP                    100 PAQUIN RD                                                               WINNIPEG MB R2J 3V4
                                                                                                                CANADA
MORGENTHALER LLP                    1630 FERGUSON CT                                                                                  SIDNEY             OH   45365‐9398
MORGENTHALER LLP                    9700 W 74TH ST                                                                                    EDEN PRAIRIE       MN   55344‐3515
MORGENTHALER LLP                    BARBARA DUGUAY                  125 ALLIED ROAD                                                   LIVONIA            MI   48150
MORGENTHALER LLP                    TOM FAIRGRIEVE                  1630 FERGUSON COURT                                               DECKERVILLE        MI   48427
MORGENTHALER LLP                    50 PUBLIC SQ STE 2700                                                                             CLEVELAND          OH   44113‐2236
MORGENTHALER, RUTH A                BETHLEHEM WOODS RETIREMENT      15 ORCHARD PL                                                     BASKING RIDGE      NJ   07920‐1619
MORGENTHALER, RUTH A                15 ORCHARD PL                   BETHLEHEM WOODS RETIREMENT                                        BASKING RIDGE      NJ   07920‐1619

MORGERA, FRANCESCO                   101 LINSTONE AVE                                                                                 NEW CASTLE         DE 19720‐2026
MORGERA, MARY N                      101 LINSTONE AVENUE                                                                              NEW CASTLE         DE 19720‐2026
MORGERSON HENRY (ESTATE OF) (478163) BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                                    DALLAS             TX 75219

MORGERSON, HENRY                    BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                     DALLAS             TX   75219
MORGERSON, LOIS A                   338 BOWMAN LP                                                                                     CROSSVILLE         TN   38571
MORGERSON, PAUL                     1031 LAUREL WOODS DR                                                                              JAMESTOWN          TN   38556‐2109
MORGERSON, PAUL                     1031 LAURELWOOD DR                                                                                JAMESTOWN          TN   38556‐2109
MORGESE, MICHAEL A                  164 SMITH AVE                                                                                     HOLBROOK           NY   11741‐1145
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Name                              Address1                         Address2                      Address3   Address4         City            State Zip
MORGESON JAMES T (626670)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                   STREET, SUITE 600
MORGESON, JAMES T                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                   STREET, SUITE 600
MORGESON, MICHAEL                 305 REYMONT RD                                                                             WATERFORD       MI   48327‐2864
MORGIA DAVID J SR (470258)        WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                           NEW YORK        NY   10038
MORGIA, DAVID J                   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                           NEW YORK        NY   10038
MORGILLO, VINCENT N               4600 BRICKYARD FALLS RD                                                                    MANLIUS         NY   13104‐9325
MORGIONE, FRANK J                 7849 BEN HOGAN DR                                                                          LAS VEGAS       NV   89149‐6605
MORGIS, RAYMOND J                 PO BOX 108                       100 ISABELLA ST                                           PALMER          MI   49871‐0108
MORGNER JR, ROBERT O              3432 SHADY NOOK RD                                                                         CENTRAL LAKE    MI   49622‐9732
MORGNER, KARL A                   14745 S GLEN EYRIE ST                                                                      OLATHE          KS   66061‐8505
MORGO, BETTY A                    1398 WASHINGTON BLVD                                                                       MCKEESPORT      PA   15133‐3800
MORGOTT, ELEANOR                  60 SUMMIT HILL DR                                                                          ROCHESTER       NY   14612‐3828
MORGUCZ, PETER F                  1822 HIGHLAND AVE                                                                          BERWYN          IL   60402‐2054
MORGULEC, BERNARD J               54481 COVENTRY LN                                                                          SHELBY TWP      MI   48315‐1619
MORGUSON, MARILYNN K              135 DRY BRANCH WAY                                                                         NORTH AUGUSTA   SC   29860‐7564
MORHARDT, TRAVIS                  9621 BECKER RD                                                                             SAVANNA         IL   61074‐8594
MORHET, JOHN A                    1852 E PARK AVE                                                                            GILBERT         AZ   85234‐6120
MORHOUS, SUSAN                    34 PIPING ROCK DR                                                                          OSSINING        NY   10562‐2308
MORHOVICH, MICHELLE O             11188 RACINE RD                                                                            WARREN          MI   48093‐6562
MORI DAVID                        GROSSINGER CHEVROLET INC
MORI DAVID                        MORI, DAVID
MORI, BENJAMIN T                  464 KALEIMAMAHU ST                                                                         HONOLULU        HI   96825‐2328
MORI, HECTOR B                    1128 PARKHILL AVE                                                                          SAGINAW         TX   76179‐3412
MORI, PATSY V                     3971 CADWALLADER SONK RD                                                                   CORTLAND        OH   44410‐9444
MORI, ROBERT S                    9053 WHITE OAK DR                                                                          TWINSBURG       OH   44087‐1757
MORIA AMY MENKE                   316 ROYAL ST                                                                               SAINT CLAIR     MI   48079‐5425
MORIAH BROWN
MORIAL CONVENTION CENTER          900 CONVENTION CENTER BLVD                                                                 NEW ORLEANS     LA   70130‐1755
MORIAL ERNEST N                   900 CONVENTION CENTER BLVD                                                                 NEW ORLEANS     LA   70130‐1755
MORIAN, CYNTHIA A                 22130 BOULDER                                                                              EASTPOINTE      MI   48021
MORIAN, CYNTHIA A                 22130 BOULDER AVE                                                                          EASTPOINTE      MI   48021‐2379
MORIAN, NORMAN A                  4350 OTTER LAKE RD                                                                         OTTER LAKE      MI   48464‐9764
MORIANA, KENNETH M                204 S CORVETTE AVE                                                                         SEBRING         FL   33872‐3404
MORIARITY, JOAN                   82 BROADWAY                                                                                BAYONNE         NJ   07002
MORIARITY, LEONARD J              3075 OAKSIDE CIR                                                                           ALPHARETTA      GA   30004‐4299
MORIARITY, LEROY K                4739 N WEST SHAFER DR                                                                      MONTICELLO      IN   47960‐7140
MORIARITY, MARK A                 2545 NOBLE RD                                                                              TAWAS CITY      MI   48753‐9402
MORIARITY, MARK A                 624 MCKINLEY AVE                                                                           FLINT           MI   48507‐2754
MORIARITY, MICHAEL T              3134 HAROLD DR                                                                             COLUMBIAVILLE   MI   48421‐8962
MORIARITY, NANCY                  HC 4 BOX 43044                                                                             ALTURAS         CA   96101‐9506
MORIARITY, STEVEN P               82 BROADWAY                                                                                BAYONNE         NJ   07002‐3439
MORIARITY, TERRY J                1316 SASSAFRAS CT                                                                          MARTINSVILLE    IN   46151‐8917
MORIARITY, WILMA                  4739 N WEST SHAFER DR                                                                      MONTECELLO      IN   47960
MORIARTY AND ASSOCIATES           MICHAEL K LUCE                   1109 DELAWARE AVE                                         BUFFALO         NY   14209‐1601
MORIARTY ROBERT B & ASSOCIATES&   1109 DELAWARE AVE                                                                          BUFFALO         NY   14209‐1601
THOMAS ZARUBA
MORIARTY SPITZNER MELISSA A       MORIARTY SPITZNER, MELISSA A     1234 MARKET ST STE 2040                                   PHILADELPHIA    PA 19107‐3720
MORIARTY SPITZNER, MELISSA A      LAW OFFICES OF DAVID GORBERG &   32 PARKING PLZ STE 700                                    ARDMORE         PA 19003‐2440
                                  ASSOCIATES
MORIARTY, AGNES L                 1010 WIGHT ST                                                                              ST JOHNS        MI 48879
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Name                          Address1                            Address2                  Address3   Address4         City               State Zip
MORIARTY, CAROLYN             7800 N DEWITT RD                                                                          SAINT JOHNS         MI 48879‐9489
MORIARTY, CORNELIUS M         1924 GLENRIDGE RD                                                                         EUCLID              OH 44117‐2212
MORIARTY, DOROTHY             PO BOX 654                                                                                HIGHLAND            MI 48357
MORIARTY, EARL L              1000 SANDY LN                       C/O JOSEPH MORIARTY                                   SAINT JOHNS         MI 48879‐1109
MORIARTY, HUGH J              118 STARVIEW AVE                                                                          LEHIGH ACRES        FL 33936‐7042
MORIARTY, IRMA                6463 GREENWOOD RD                                                                         PETOSKEY            MI 49770
MORIARTY, JAMES A             96 KINGS GATE N                                                                           ROCHESTER           NY 14617‐5409
MORIARTY, JAMES J             7420 REED RD                                                                              ONSTED              MI 49265‐9624
MORIARTY, JAMES JOSEPH        7420 REED RD                                                                              ONSTED              MI 49265‐9624
MORIARTY, JULIA A             461 E CENTER ST                                                                           MEDINA              NY 14103‐1604
MORIARTY, MARGARET G          168 LYCOMING RD                                                                           ROCHESTER           NY 14623‐4732
MORIARTY, MICHAEL
MORIARTY, MICHAEL J           PO BOX 221                                                                                GAYLORD            MI   49734‐0221
MORIARTY, MICHAEL P           PO BOX 258                                                                                BARRYTON           MI   49305‐0258
MORIARTY, MICHAEL P           POST OFFICE BOX 258                                                                       BARRYTON           MI   49305‐0258
MORIARTY, MICHAEL R           2600 LASALLE GDNS                                                                         LANSING            MI   48912‐4131
MORIARTY, PAMELA A            15055 METTETAL ST                                                                         DETROIT            MI   48227‐1939
MORIARTY, ROBERT E            4571 OSPREY DR                                                                            GREENWOOD          IN   46143‐8280
MORIARTY, STEVEN T            7309 BOB O LINK WAY                                                                       PORT ST LUCIE      FL   34986‐3341
MORIARTY, THOMAS P            10980 LAMPIONE ST                                                                         LAS VEGAS          NV   89141‐3925
MORIARTY, VON K               515 SPRUCE ST                                                                             MANISTEE           MI   49660‐1863
MORIARTY, WILLIAM D           7731 LYONS RD                                                                             PORTLAND           MI   48875‐9626
MORIC, LOU                    29171 CHARDON RD                                                                          WILLOUGHBY HILLS   OH   44092‐1407
MORICAL, CHARLES T            1498 TAMARACK LN                                                                          OAKLAND            MI   48363‐1253
MORICAL, JAMES M              513 DOUGLASTON DR                                                                         ORTONVILLE         MI   48462‐8525
MORICAL, JOHN M               8039 MEADOW LN                                                                            INDIANAPOLIS       IN   46227
MORICE, JUDITH SUE            12025 HWY CC                                                                              FESTUS             MO   63028‐3628
MORICE, JUDITH SUE            12025 STATE ROAD CC                                                                       FESTUS             MO   63028‐3628
MORICI, MARION                8380 118TH ST                                                                             KEW GARDENS        NY   11415‐2405
MORICI, PHILLIP               43590 DEVIN DR                                                                            CLINTON TWP        MI   48038‐2416
MORICI, PHYLLIS A             495 S 9TH ST                                                                              LINDENHURST        NY   11757‐4527
MORICI, PHYLLIS A             495 SOUTH NINTH STREET                                                                    LINDENHURST        NY   11757‐4527
MORICO, CINDY
MORICO, LUIS
MORICO, MARIA A               LIPSIG SHAPEY MANUS & MOVERMAN      40 FULTON ST FL 25                                    NEW YORK           NY 10038‐5075
MORICO, STEPHANIE
MORICONI, ANN M               12526 ADMIRAL AVE                                                                         LOS ANGELES        CA   90066‐6602
MORICONI, LEO C               47645 CHERYL CT                                                                           SHELBY TWP         MI   48315‐4709
MORICONI, LEONARD E           16358 EDWARDS AVE                                                                         SOUTHFIELD         MI   48076‐5805
MORICZ, DANIEL A              5718 SILVER BEACH DR                                                                      ONAWAY             MI   49765‐9701
MORICZ, ELEANORA              MORICZ ELEANORA AND MORICZ JOSEPH   11533 PEACHSTONE LN                                   ORLANDO            FL   32821‐7973

MORICZ, JOSEPH AND ELEANORA   C/O LAWRENCE E. DOLAN, P.A.         500 EAST JACKSON STREET                               ORLANDO            FL 32801
MORICZ, ROBERT J              36117 CANYON DR                                                                           WESTLAND           MI 48186‐4161
MORID, A
MORIELLO, JOSEPHINE P         46 RAHWAY LN                                                                              ROCHESTER          NY 14606‐4917
MORIERO FRANCESCA             VIA NINO BIXIO 19 \24
MORIKAWA, JENNIFER C          18912 CANTERBURY DR                                                                       LIVONIA            MI   48152‐3386
MORIKAWA, JENNIFER CHEN       18912 CANTERBURY DR                                                                       LIVONIA            MI   48152‐3386
MORIKAWA, JIM Y               21345 HAWTHORNE BLVD UNIT 126                                                             TORRANCE           CA   90503‐5664
MORIMANDO, FLORENCE H         9540 W CHEROKEE AVE                                                                       LAS VEGAS          NV   89147‐6703
MORIMOTO, EDITH S             2195 FOXGLOVE DR.                   APT. # 953                                            NORTHBROOK         IL   60062
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Name                         Address1                       Address2                   Address3   Address4              City                 State Zip
MORIN & MILLER, BARRISTERS   ATTN: PAUL MILLER              3005‐401 BAY ST                       TORONTO ONTARIO M5H
                                                                                                  2Y4
MORIN CLAUDE                 1564 VALLEY RD                                                                             DERBY LINE           VT    05830‐8954
MORIN GEORGE (659856)        BRAYTON PURCELL                PO BOX 6169                                                 NOVATO               CA    94948‐6169
MORIN HUMBERTO & ROSARIO     510 W NICKERSON AVE                                                                        SAN DIEGO            TX    78384‐2228
MORIN JESSICA                MORIN, JESSICA                 1169 COPPER CREEK DRIVE                                     MUSKEGON             MI    49442‐4987
MORIN JR, MAXIME             PO BOX 93                                                                                  WRIGHTSVILLE BEACH   NC    28480‐0093
MORIN'S LANDSCAPING                                         301 DEPOT RD                                                                     NH    03049
MORIN, ALLEN M               5019 CENTRAL AVE                                                                           ANDERSON             IN    46013‐4840
MORIN, ANNE MARIE            905 SUNROSE TER APT 107                                                                    SUNNYVALE            CA    94086‐8964
MORIN, BARBARA JEANNE        377 STATE PARK DR                                                                          BAY CITY             MI    48706‐1339
MORIN, BOBBIE D              9037 COLDWATER RD                                                                          FLUSHING             MI    48433‐1201
MORIN, CHARLES H             42052 ARCADIA DR                                                                           STERLING HTS         MI    48313‐2600
MORIN, CINDY L               43 VICTOR ST                                                                               WOONSOCKET           RI    02895‐4842
MORIN, DANIEL                23263 SAGEBRUSH                                                                            NOVI                 MI    48375‐4172
MORIN, DAVID J               5534 CATHEDRAL DR                                                                          SAGINAW              MI    48603‐2801
MORIN, DEBRA SUE             6754 TOMER RD                                                                              CLAYTON              MI    49235‐9612
MORIN, DONALD J              4063 RICHMARK LN                                                                           BAY CITY             MI    48706‐2227
MORIN, DORIS M               3285 LYNNE AVE                                                                             FLINT                MI    48506‐2117
MORIN, DOROTHY M             6 MECHANIC ST                                                                              FRANKLIN             MA    02038‐1011
MORIN, DUANE J               2061 N ROBERTS CIR                                                                         PENSACOLA            FL    32534‐9552
MORIN, ELSIE D               42248 SARATOGA CIRCLE                                                                      CANTON               MI    48187
MORIN, EMILE                 PO BOX 672                                                                                 BRISTOL              CT    06011‐0672
MORIN, EUGENE M              9362 FAIRVIEW DR                                                                           NORTHVILLE           MI    48167‐8668
MORIN, FELICITA              14232 PENNSYLVANIA RD APT 3                                                                SOUTHGATE            MI    48195‐2182
MORIN, FREDERICK A           12766 DOHONEY ROAD                                                                         DEFIANCE             OH    43512‐8711
MORIN, FREDERICK ALFRED      12766 DOHONEY ROAD                                                                         DEFIANCE             OH    43512‐8711
MORIN, GEORGE                1737 STATE ROUTE 4                                                                         BELLEVUE             OH    44811‐9738
MORIN, GEORGE                BRAYTON PURCELL                PO BOX 6169                                                 NOVATO               CA    94948‐6169
MORIN, GERARD E              269 SYLVAN KNOLL RD                                                                        STAMFORD             CT    06902‐5344
MORIN, GLENN D               5877 SHERIDAN RD                                                                           SAGINAW              MI    48601‐9324
MORIN, GLENN DAVID           5877 SHERIDAN RD                                                                           SAGINAW              MI    48601‐9324
MORIN, GUILLERMO             14232 PENNSYLVANIA RD APT 3                                                                SOUTHGATE            MI    48195‐2182
MORIN, HOWARD L              2362 ACOMA DR                                                                              BULLHEAD CITY        AZ    86442‐7400
MORIN, HUMBERTO              HOEFFNER BILEK & EIDMAN LLP    440 LOUISIANA ST STE 720                                    HOUSTON              TX    77002
MORIN, JESSICA               1169 COPPER CREEK DR                                                                       MUSKEGON             MI    49442‐4987
MORIN, JOHN F                19554 SAMPSON ST                                                                           HANCOCK              MI    49930
MORIN, JOHN J                1130 BANTAS CREEK RD                                                                       EATON                OH    45320‐9700
MORIN, JOHN L                221 HIGH ST                                                                                SOUTHBRIDGE          MA    01550‐2317
MORIN, JUDITH A              2763 S CAMP 10 RD                                                                          ELMIRA               MI    49730‐9707
MORIN, JUNYA M               6817 KNOLL CREST WAY                                                                       PENDLETON            IN    46064‐8550
MORIN, JUNYA M               324 HEARTHSTEAD WAY                                                                        PENDLETON            IN    46064
MORIN, KEITH                 285 FREEDLEY RD                                                                            POMFRET CENTER       CT    06259
MORIN, LAVERNE A             10173 HEATHER RIDGE CT                                                                     GOODRICH             MI    48438‐9454
MORIN, LEANNE D              5181 JUSTIN DR                                                                             FLINT                MI    48507‐4562
MORIN, LEO J                 13929 SETTLERS RIDGE TRL                                                                   CARMEL               IN    46033‐8299
MORIN, LEONARD R             304 2ND ST N                                                                               OSCODA               MI    48750‐1133
MORIN, LOREN M               727 OSWEGO AVENUE                                                                          YPSILANTI            MI    48198‐8018
MORIN, LYNNE A               10401 XYLON RD S                                                                           BLOOMINGTON          MN    55438‐2032
MORIN, MARK S                36 GADOURY DRIVE                                                                           CUMBERLAND           RI    02864
MORIN, MARY L.               23 PINE ST                                                                                 MASSENA              NY    13662‐1140
MORIN, MARY L.               23 PINE STREET                                                                             MASSENA              NY    13662‐1140
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Name                   Address1                          Address2                   Address3   Address4         City               State Zip
MORIN, MICHAEL F       43 VICTOR ST                                                                             WOONSOCKET           RI 02895‐4842
MORIN, MICKEY A        106 HALES ROAD                                                                           AUBURNDALE          FL 33823‐9535
MORIN, MICKEY ALLEN    106 HALES ROAD                                                                           AUBURNDALE          FL 33823‐9535
MORIN, OMA M.          1809 GLEN CARY                                                                           PORT CLINTON        OH 43452‐1409
MORIN, PATRICIA L      4345 WINTERWOOD LN                                                                       SAGINAW             MI 48603‐8672
MORIN, PAUL W          550 S BROADWAY ST                                                                        LAKE PARK           GA 31636‐6610
MORIN, RAMON A         3521 BRIGHTON DR                                                                         LANSING             MI 48911‐2122
MORIN, RICHARD A       38 BRIARWOOD RD                   C/O BARBARA LYGA                                       BRISTOL             CT 06010‐7205
MORIN, RICHARD R       10051 BURGESS CT                                                                         WHITE LAKE          MI 48386‐2810
MORIN, ROBERT L        3312 NORTHSIDE DR APT 312                                                                KEY WEST            FL 33040‐4116
MORIN, ROBERT L        3312 N.SIDE DR.                   312                                                    KEY WEST            FL 33040‐4116
MORIN, ROBERT L        816 POUND HILL RD                                                                        NORTH SMITHFIELD     RI 02896‐9575
MORIN, RODOLFO H       3058 NORTHMOR DR W                                                                       ADRIAN              MI 49221‐9133
MORIN, ROSARIO         HOEFFNER BILEK & EIDMAN LLP       440 LOUISIANA ST STE 720                               HOUSTON             TX 77002
MORIN, SABRINA A       5019 CENTRAL AVE.                                                                        ANDERSON            IN 46013
MORIN, SANTOS L        9747 S COMMERCIAL AVE                                                                    CHICAGO              IL 60617‐5404
MORIN, STEVEN J        46550 WEAR RD                                                                            BELLEVILLE          MI 48111‐9224
MORIN, SUSANNE M       5584 VICTORY CIR                                                                         STERLING HEIGHTS    MI 48310‐7703
MORIN, SUSANNE MARIE   5584 VICTORY CIR                                                                         STERLING HEIGHTS    MI 48310‐7703
MORIN, THOMAS R        6526 42ND ST E                                                                           SARASOTA            FL 34243‐7900
MORIN, TIMOTHY J       3793 E COON LAKE RD                                                                      HOWELL              MI 48843‐9431
MORIN, VIRGINIA F      8817 N PARSNIP TER                                                                       CRYSTAL RIVER       FL 34428‐2813
MORINA RICE            233 SCANTLAND LN                                                                         GAINESBORO          TN 38562‐5009
MORINE PITTMAN         2307 S MOCK AVE                                                                          MUNCIE              IN 47302‐4524
MORINE, KEVIN K        825 S HAWTHORNE ST                                                                       WESTLAND            MI 48186‐4550
MORINE, MICHAEL C      2631 SHERWOOD DR SHERWOOD PK I                                                           WILMINGTON          DE 19808
MORINELLI, KAREN M     PO BOX 4007                                                                              SARASOTA            FL 34230
MORING SCOTT           MORING, COLLEEN                   7825 FAY AVENUE                                        LA JOLLA            CA 92037
MORING SCOTT           MORING, SCOTT                     7825 FAY AVENUE                                        LA JOLLA            CA 92037
MORING, COLLEEN        BICKEL, BRIAN J                   7825 FAY AVENUE                                        LA JOLLA            CA 92037
MORING, DONNALD G      121 LINDSEY LN                                                                           SLIDELL             LA 70461‐2057
MORING, SCOTT          BICKEL, BRIAN J                   7825 FAY AVENUE                                        LA JOLLA            CA 92037
MORING, WANDA J        607 GATES DR                                                                             ROCKMART            GA 30153‐1509
MORIO HUNT             23454 FILMORE ST                                                                         TAYLOR              MI 48180‐2341
MORIOKA, JANE S        2543 10TH AVE                                                                            HONOLULU            HI 96816‐3030
MORIS WEST             4484 SUNDERLAND PL                                                                       FLINT               MI 48507‐3720
MORIS, EVELYN E        15800 PHILLIPS OAK DR                                                                    SPENCERVILLE        MD 20868‐9709
MORIS, ROBERT H        1430 S CASINO CENTER BLVD APT 4                                                          LAS VEGAS           NV 89104‐1154
MORISE STARR           3541 PINGREE AVE                                                                         FLINT               MI 48503‐4544
MORISE SWIFT           18205 DEFOREST AVE                                                                       CLEVELAND           OH 44128‐2661
MORISE SWIFT I I I     4130 E 138TH ST                                                                          CLEVELAND           OH 44105‐5510
MORISE SWIFT JR        12001 ABLEWHITE AVE                                                                      CLEVELAND           OH 44108‐1513
MORISET, LAUREL L      3298 ESSEX DR                                                                            TROY                MI 48084‐2704
MORISETTE, JAMES C     6321 SPRINGDALE BLVD                                                                     GRAND BLANC         MI 48439‐8550
MORISETTE, SHARON L    5418 THRUSH DR                                                                           GRAND BLANC         MI 48439‐7927
MORISI JAMES           21745 RIVER RIDGE TRL                                                                    FARMINGTON HILLS    MI 48335‐4634
MORISSA MCCARTY        775 W RIVER ST                                                                           DEERFIELD           MI 49238‐9785
MORISSETTE, JOSEPH E   1916 W COURT ST                                                                          FLINT               MI 48503‐3158
MORITA, ELIZABETH      2713 ANTONIO DR UNIT 311                                                                 CAMARILLO           CA 93010‐1464
MORITA, KIMIE          2713 ANTONIO DR UNIT 311                                                                 CAMARILLO           CA 93010‐1464
MORITA, MARVIN         12508 N FOREST LAKE WAY                                                                  TUCSON              AZ 85755‐8957
MORITA, TODD B         2881 PORTAGE TRAIL DR                                                                    ROCHESTER HILLS     MI 48309‐3212
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Name                                Address1                           Address2            Address3         Address4                  City               State Zip
MORITTI, EUGENE D                   396 POPLAR DR                                                                                     YORKVILLE            IL 60560‐9003
MORITTI, JOSEPH F                   12511 HORSESHOE LAKE DR                                                                           GOWEN               MI 49326‐9472
MORITTI, LAURA A                    396 POPLAR DR                                                                                     YORKVILLE            IL 60560‐9003
MORITZ AM ENDE                      50, AVENUE DU BOIS                                                      L 1250 LUXEMBOURG
MORITZ CADILLAC                     2001 N COLLINS ST                                                                                 ARLINGTON          TX    76011‐8844
MORITZ CADILLAC                     JOHN MORITZ                        2001 N COLLINS ST                                              ARLINGTON          TX    76011‐8844
MORITZ CADILLAC PARTNERS L. P.      JOHN MORITZ                        2001 N COLLINS ST                                              ARLINGTON          TX    76011‐8844
MORITZ CHEVROLET, LTD.              JOHN MORITZ                        9101 SPUR 580 W                                                FORT WORTH         TX    76116
MORITZ CHEVROLET, LTD.              9101 SPUR 580 W                                                                                   FORT WORTH         TX    76116
MORITZ JR, MARTIN N                 6020 S GRAHAM RD                                                                                  SAINT CHARLES      MI    48655‐9535
MORITZ LESLIE                       5000 CRESTLINE ROAD                                                                               FORT WORTH         TX    76107‐3616
MORITZ PETE                         2108 PULVER RD                                                                                    LUCAS              OH    44843‐9753
MORITZ SORG                         1125 MICHIGAN AVE                                                       WINDSOR ON N9J2E9
                                                                                                            CANADA
MORITZ THUNIQ                       DR. HORST MORGENROTH               AM HARTHEBERG 20                     DE 01737 KURORT HARTHA,
                                                                                                            GERMANY
MORITZ, BRITT E                     9328 BINNACLE DR APT 113                                                                          PORT RICHEY        FL    34668‐4718
MORITZ, BRITT E                     8839 LIDO LN                                                                                      PORT RICHEY        FL    34668‐5638
MORITZ, CLARA M                     204 HARDING ROAD                                                                                  BUFFALO            NY    14220‐2251
MORITZ, CLARA M                     204 HARDING RD                                                                                    BUFFALO            NY    14220‐2251
MORITZ, CYNTHIA A                   42533 PROCTOR RD                                                                                  CANTON             MI    48188‐1192
MORITZ, DARLYN A                    3803 SKYROS DR                                                                                    DAYTON             OH    45424‐1814
MORITZ, DAVID C                     5505 N MAPLE RIVER RD                                                                             ELSIE              MI    48831‐9716
MORITZ, DENNIS P                    8713 OAKES RD                                                                                     ARCANUM            OH    45304‐8903
MORITZ, DONALD R                    581 BAYWOOD CT                                                                                    TROY               OH    45373‐5411
MORITZ, FRANK & SONS CO             362 N TRIMBLE RD                   PO BOX 1342                                                    MANSFIELD          OH    44906‐2541
MORITZ, FREDERICK W                 968 PIKE DR RT 11                                                                                 MANSFIELD          OH    44903
MORITZ, GERALDINE A                 2090 EAGLE POINTE                                                                                 BLOOMFIELD HILLS   MI    48304‐3806
MORITZ, JUNE R                      5089 MARK DAVID DR                                                                                SWARTZ CREEK       MI    48473‐8557
MORITZ, LARRY                       961 SW CLARK RD APT D                                                                             BLUE SPRINGS       MO    64015‐5499
MORITZ, LARRY A                     26827 WOODLAND CT                                                                                 MILLBURY           OH    43447‐9241
MORITZ, LARRY AUGUST                26827 WOODLAND CT                                                                                 MILLBURY           OH    43447‐9241
MORITZ, MARILYN                     6744 SHAWNEE RD                                                                                   NORTH TONAWANDA    NY    14120‐9504
MORITZ, MARY C                      1535 BOWERS ST                                                                                    BIRMINGHAM         MI    48009‐6884
MORITZ, MARY E                      1129 W DOROTHY LANE                                                                               KETTERING          OH    45409‐1306
MORITZ, MILDRED B                   8713 OAKES RD                                                                                     ARCANUM            OH    45304
MORITZ, ROBERT C                    3393 W DODGE RD                                                                                   CLIO               MI    48420‐1964
MORITZ, VELMA I                     9775 DINWIDDIE CT                                                                                 CENTERVILLE        OH    45458‐3995
MORIWAKI, RICHARD                   PO BOX 9022                                                                                       WARREN             MI    48090‐9022
MORIWAKI, STUART T                  3116 BOSTONIAN DR                                                                                 LOS ALAMITOS       CA    90720‐4238
MORIWN WARD
MORKIN, LORRAINE M                  13505 HIGHLAND CIR                                                                                STERLING HEIGHTS   MI    48312‐5340
MORKUNAS, LEONAS                    1731 BOULDER DR                                                                                   DARIEN             IL    60561‐5922
MORLA, LORENZO A                    544 ACADEMY ST APT 21A                                                                            NEW YORK           NY    10034‐0630
MORLA, ONDINA                       610 W 204TH ST APT A5                                                                             NEW YORK           NY    10034‐3925
MORLACK, ENID C                     801 83RD AVE N APT 313                                                                            SAINT PETERSBURG   FL    33702‐3587
MORLACK, ENID C                     801 83RD AVENUE NORTH              UNIT #313                                                      SAINT PETERSBURG   FL    33702
MORLAN CHEVROLET, MORLAN CADILLAC   1901 HWY 60 W                                                                                     DEXTER             MO

MORLAN CHEVROLET, MORLAN CADILLAC   1901 HWY 60 W                                                                                     DEXTER             MO 63841
MORLAN NISSAN
MORLAN, CHARLES                     403 MADISON ST                                                                                    MICHIGAN CITY       IN   46360‐5151
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Name                        Address1                      Address2               Address3      Address4                City            State Zip
MORLAN, CHARLES R           390 OVERBROOK DR                                                                           CANFIELD         OH 44406‐1130
MORLAN, JOAN M              1122 PEACH BLOSSOM CIR                                                                     BURTON           MI 48509‐2398
MORLAN, LARRY R             359 JEFFERSON VLY                                                                          COATESVILLE      IN 46121‐8938
MORLAN, ROBERT J            10046 S CLIFTON PARK AVE                                                                   EVERGREEN PK      IL 60805‐3407
MORLAN, ROBERT L            8 N ST                        ROBERT MORLAN                                                LAKE LOTAWANA    MO 64086‐9360
MORLAND, MICHAEL P          104 E LARRY RD                                                                             SHAWNEE          OK 74804‐1080
MORLEY BRADFORD             900 N BISON GOLF CT                                                                        SHOW LOW         AZ 85901‐3003
MORLEY BRADFORD             900 N. BISON GOLF COURT                                                                    SHOW LOW         AZ 85901
MORLEY COMPANIES GM         1 MORLEY PLZ                                                                               SAGINAW          MI 48603‐1363
MORLEY COMPANIES INC        1 MORLEY PLZ                                                                               SAGINAW          MI 48603‐1363
MORLEY GROUP INC            BOB NIXON                     2901 28TH STREET                                             SANTA MONICA     CA 90405
MORLEY KAREN                2880 HOMEWOOD DR                                                                           TROY             MI 48098‐2309
MORLEY KERSCHNER            4341 PHYLLIS DRIVE                                                                         NORHBROOK         IL 60062
MORLEY MARK A               404 MEADOW LN                                                                              MIDLAND          MI 48640‐7335
MORLEY MARY KAY             6411 20TH ST E                                                                             FIFE             WA 98424‐2205
MORLEY MEREDITH             12007 E MOUNTAIN VIEW RD                                                                   SCOTTSDALE       AZ 85259‐6011
MORLEY NATHANIEL &          KAHN & ASSOCIATES             55 PUBLIC SQ STE 650                                         CLEVELAND        OH 44113‐1909
MORLEY ROGERS JR            PO BOX 235                                                                                 JAMESTOWN        TN 38556‐0235
MORLEY SCHRAM               2110 EDWIN PL                                                                              LANSING          MI 48911‐1676
MORLEY SCHRAM I I           1302 GOODRICH ST                                                                           LANSING          MI 48910‐1241
MORLEY SCRATCH              168 COUNTY ROAD 34 EAST                                            COTTAM ONTARIO N0R1B0
                                                                                               CANADA
MORLEY SHAPPEE              6260 FOREST ST                                                                             BRIDGEPORT      MI   48722‐9510
MORLEY TERBUSH              3256 DILLON RD                                                                             FLUSHING        MI   48433‐9763
MORLEY WILLIAM              3454 RUGBY RD                                                                              DURHAM          NC   27707‐5449
MORLEY, BARBARA E           5824 HUGHES RD                                                                             LANSING         MI   48911‐4716
MORLEY, BARBARA ELIZABETH   5824 HUGHES RD                                                                             LANSING         MI   48911‐4716
MORLEY, BETTY A             99 CALHOUN AVE                                                                             ROCHESTER       NY   14606‐3709
MORLEY, CLARENCE G          4615 NORTHWEST 173RD PLACE                                                                 BEAVERTON       OR   97006‐7306
MORLEY, CLARENCE G.         4615 NORTHWEST 173RD PLACE                                                                 BEAVERTON       OR   97006‐7306
MORLEY, DENNIS J            1059 LAKESIDE DR                                                                           OWOSSO          MI   48867‐8814
MORLEY, DENNIS JOE          1059 LAKESIDE DR                                                                           OWOSSO          MI   48867‐8814
MORLEY, DOROTHY H           925 CRESTHILL DR                                                                           CEDAR HILL      TX   75104‐5464
MORLEY, GEORGE W            4199 N US HIGHWAY 23                                                                       OSCODA          MI   48750‐8827
MORLEY, GEORGE W            5739 METAMORA RD                                                                           METAMORA        MI   48455‐9200
MORLEY, HAROLD J            2106 EAST MCLEAN AVENUE                                                                    BURTON          MI   48529‐1740
MORLEY, HAROLD J            2106 E MCLEAN AVE                                                                          BURTON          MI   48529‐1740
MORLEY, JACK C              153 S BAYSHORE DR                                                                          EASTPOINT       FL   32328‐3213
MORLEY, JACK C              45 MURDOCK STA                                                                             BEDFORD         IN   47421
MORLEY, JAMES H             2680 HARDSCRABBLE RD          (300W)                                                       SPENCER         IN   47460‐5866
MORLEY, JEAN E              18331 AUDETTE ST                                                                           DEARBORN        MI   48124‐4220
MORLEY, JEAN E              18331 AUDETTE                                                                              DEARBORN        MI   48124‐4220
MORLEY, JEANNIE N           2235 DIAMOND AVE                                                                           FLINT           MI   48532‐4408
MORLEY, JOHN A              1553 CLEARVIEW CIR                                                                         MANSFIELD       OH   44905‐1719
MORLEY, JOHN B              2880 HOMEWOOD DR                                                                           TROY            MI   48098‐2309
MORLEY, JOHN D              1101 DEVON ST                                                                              LAKE ORION      MI   48362‐2405
MORLEY, JOHN G              2750 71ST STREET CT W                                                                      BRADENTON       FL   34209‐5320
MORLEY, JOHN J              37 KNOWLTON AVE                                                                            SHREWSBURY      MA   01545
MORLEY, JOHN L              604 SEA OATS DR                                                                            SANIBEL         FL   33957‐5418
MORLEY, KAREN E             2880 HOMEWOOD DR                                                                           TROY            MI   48098‐2309
MORLEY, KAREN S             1919 SPRING AVE                                                                            LAKE            MI   48632‐9280
MORLEY, KENNETH L           6815 SR 60 E #485                                                                          BARTOW          FL   33830
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Name                        Address1                        Address2            Address3         Address4         City            State Zip
MORLEY, KENNETH L           338 LAUREL HOLLOW DR                                                                  NOKOMIS          FL 34275‐4025
MORLEY, KENNETH M           4663 BURLEIGH RD                                                                      CLEVELAND        OH 44125
MORLEY, LAURIE J            6198 LINDSAY DR                                                                       WATERFORD        MI 48329‐3030
MORLEY, LOIS G              80 W HARRY AVE                                                                        HAZEL PARK       MI 48030‐2038
MORLEY, LOIS G              80 W HARRY                                                                            HAZEL PARK       MI 48030‐2038
MORLEY, MARY A              1515 CENTRE ST                                                                        NEWTON HLDS      MA 02461‐1200
MORLEY, MICHAEL J           16797 VICTORIA LN                                                                     HOLLY            MI 48442
MORLEY, MICHAEL JOSEPH      16797 VICTORIA LN                                                                     HOLLY            MI 48442
MORLEY, MICHAEL L           PO BOX 214                                                                            OAKLEY           MI 48649‐0214
MORLEY, MICHAEL LLOYD       PO BOX 214                                                                            OAKLEY           MI 48649‐0214
MORLEY, MILLIE T            165 OLD JENNINGS ROAD                                                                 ORANGE PARK      FL 32065‐7409
MORLEY, PAMELA A            20525 SYLVANWOOD                                                                      LAKEWOOD         CA 90715‐1257
MORLEY, PATRICIA G          2760 S VASSAR RD                                                                      VASSAR           MI 48768
MORLEY, RICHARD A           2738 E WOODSIDE DR                                                                    MOORESVILLE      IN 46158‐6180
MORLEY, ROBERT A            13887 TORCH RIVER RD                                                                  RAPID CITY       MI 49676‐9389
MORLEY, ROBERT A            5140 PUFFIN PL                                                                        CARMEL           IN 46033‐9639
MORLEY, ROBERT C            169 CEOCIA LN                                                                         STUARTS DRAFT    VA 24477‐2910
MORLEY, ROBERT J            6198 LINDSAY DR                                                                       WATERFORD        MI 48329‐3030
MORLEY, ROBERT L            1919 SPRING AVE                                                                       LAKE             MI 48632‐9280
MORLEY, RYAN EARL           3670 KAWKAWLIN RIVER DR                                                               BAY CITY         MI 48706‐1771
MORLEY, SHEARON             3372 BALSAM AVE NE                                                                    GRAND RAPIDS     MI 49525‐2885
MORLEY, SHEARON E           3372 BALSAM NE                                                                        GRAND RAPIDS     MI 49525
MORLEY, SUSANNE             8916 SOUTHWEST 16TH STREET                                                            BOCA RATON       FL 33433‐7974
MORLEY, THOMAS H            1980 VALLEY BROOK DR                                                                  OKEMOS           MI 48864‐3755
MORLEY, WILLIAM K           11459 N JENNINGS RD                                                                   CLIO             MI 48420‐1568
MORLEY, WILLIAM KINGSBURY   11459 N JENNINGS RD                                                                   CLIO             MI 48420‐1568
MORLEY, WINIFRED            4127 CHICA ROAD                                                                       CROSSVILLE       TN 38572‐6716
MORLEY, YVONNE L            1206 HIRA ST                                                                          WATERFORD        MI 48328‐1516
MORLICK JR, FRANK           4892 CLUNIE ST                                                                        SAGINAW          MI 48638‐6401
MORLICK, DAVID M            7141 LONDON DR                                                                        SAGINAW          MI 48609‐5029
MORLIK JR, ARCHIE D         2441 NEBRASKA AVE                                                                     SAGINAW          MI 48601‐5431
MORLIK, ANDREW L            3449 ERWIN ST                                                                         SAGINAW          MI 48604‐1711
MORLIK, DOROTHY A           3449 ERWIN ST                                                                         SAGINAW          MI 48604‐1711
MORLIK, RICHARD D           11455 SHADY OAKS DR                                                                   BIRCH RUN        MI 48415‐9436
MORLIK, WILLIAM A           6840 DUTCH RD                                                                         SAGINAW          MI 48609‐5278
MORLING FARMS INC
MORLL, VIRGINIA             1139 E60TH ST                                                                         CLEVELAND       OH   44103‐1470
MORLOCK, BARBARA J          217 ANN AVE                                                                           PENDLETON       IN   46064‐9111
MORLOCK, BARBARA JUDY       217 ANN AVE                                                                           PENDLETON       IN   46064‐9111
MORLOCK, BURTON W           760 INVERNESS DR                                                                      DEFIANCE        OH   43512‐8549
MORLOCK, DALE E             2441 E HILLS DR                                                                       MOORE           OK   73160‐8945
MORLOCK, GRANT O            208 MANITOBA TER                                                                      FREMONT         CA   94538‐5935
MORLOCK, JOSEPHINE T        1809 NW ROSE CT                                                                       LEE'S SUMMITT   MO   64081‐1177
MORLOCK, JUDITH A           14 CHERRYWOOD WAY                                                                     TAYLORSVILLE    GA   30178‐1181
MORLOCK, LANE               3666 GREEN MEADOW LN                                                                  ORION           MI   48359‐1492
MORLOCK, ROVELL T           217 ANN AVE                                                                           PENDLETON       IN   46064‐9111
MORLOCK, WADE A             10339 W CAMINO DE ORO                                                                 PEORIA          AZ   85383‐1188
MORLOCK, WILLIAM D          24734 STEINBERGER RD                                                                  DEFIANCE        OH   43512‐9159
MORLOCK, WILLIAM L          16442 ABSALOM ST                                                                      FOLEY           AL   36535‐8622
MORLOCKE, MICHAEL           10471 RIVEREDGE DR                                                                    PARMA           OH   44130‐1201
MORLOK, JUNE E              425 S JEFFERSON ST                                                                    HASTINGS        MI   49058‐2231
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Name                                  Address1                         Address2                      Address3   Address4            City              State Zip
MORMAN VINCENT (ESTATE OF) (661937)   CARTER BRUCE ESQ                 5458 YOSEMITE DR                                             FAIRFIELD          OH 45014‐3846

MORMAN, ANNE                          546 S DELRIDGE                                                                                CINCINNATI        OH   45238‐5510
MORMAN, BLONZETTA D                   5034 CHARMING CT                                                                              COLUMBUS          OH   43231
MORMAN, GEORGE J                      704 JUNIPER RD                                                                                LINTHICUM         MD   21090‐2642
MORMAN, IVY L                         17395 ALBION ST                                                                               DETROIT           MI   48234‐3810
MORMAN, LINDA L                       972 SE 4TH AVE                                                                                CRYSTAL RIVER     FL   34429‐4967
MORMAN, LORETTA                       25755 CONTINENTAL ST                                                                          SOUTHFIELD        MI   48075‐1809
MORMAN, ROY                           6252 EASTBROOKE                                                                               WEST BLOOMFIELD   MI   48322‐1040
MORMAN, SHIRLEY A                     23558 COACH LIGHT DR                                                                          SOUTHFIELD        MI   48075‐3644
MORMAN, ULYSSES                       1305 HEATHERLAND DR SW                                                                        ATLANTA           GA   30331‐7405
MORMAN, VINCENT                       CARTER BRUCE ESQ                 5458 YOSEMITE DR                                             FAIRFIELD         OH   45014‐3846
MORMANDO, DANA N                      185 CAROL JEAN WAY                                                                            BRANCHBURG        NJ   08876‐3301
MORMANDO, MARY H                      358 WAINWOOD DR SE                                                                            WARREN            OH   44484‐4650
MORMANN, WAYNE A                      9011 48TH AVE SE                                                                              NOBLE             OK   73068‐5430
MORMELLO, NICHOLAS
MORMELLO, WALTER
MORMINO JOSEPH (439345)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                                       STREET, SUITE 600
MORMINO, JOSEPH                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                                       STREET, SUITE 600
MORMUL, DANIEL C                      83 BRONX DR                                                                                   CHEEKTOWAGA       NY   14227‐3245
MORN, MARY A                          159 HOMEWOOD AVE SE                                                                           WARREN            OH   44483‐6001
MORNAN ENGLISH                        1109 RIGHT FORK BULL CREEK                                                                    PRESTONSBURG      KY   41653‐8097
MORNAN S ENGLISH                      1109 RIGHT FORK BULL CRK                                                                      PRESTONSBURG      KY   41653‐8097
MORNEAU, LYNN                         4108 21ST AVE S                                                                               MINNEAPOLIS       MN   55407‐3074
MORNEAULT, ANDREW R                   50 KNOLLWOOD DR                                                                               BRISTOL           CT   06010‐2435
MORNEAULT, MICHAEL J                  PO BOX 275                                                                                    POWNAL            VT   05261‐0275
MORNEAULT, RITA F                     7622 ROCHESTER WAY                                                                            GOLETA            CA   93117‐1923
MORNEAULT, RUTH A                     480 MILLER ROAD                                                                               WESTFIELD         ME   04787‐3207
MORNEY, THOMAS
MORNING EDWARD O                      3443 OAK PARK DR                                                                              SALINE            MI   48176‐9365
MORNING JR, MILTON                    4725 3 OAKS RD                                                                                BALTIMORE         MD   21208‐2037
MORNING STAR CHURCH                   ATTN: GLADYS MAINA               2000 S HOYT AVE                                              MUNCIE            IN   47302‐3010
MORNING STAR DETAIL SHOP              ATTN: CHARLES BIRD               306 E REMINGTON ST                                           SAGINAW           MI   48601‐2508
MORNING, ANDRI N                      4245 SEMINOLE ST                                                                              DETROIT           MI   48214‐1196
MORNING, DIANA J                      3443 OAK PARK DR                                                                              SALINE            MI   48176‐9365
MORNING, EDWARD O                     3443 OAK PARK DR                                                                              SALINE            MI   48176‐9365
MORNING, MARK M                       APT 103                          600 CENTRAL AVENUE                                           RIVERSIDE         CA   92507‐6510
MORNING, VELMA D                      PO BOX 2643                                                                                   DAYTON            OH   45401‐2643
MORNINGSIDE TRANSLATIONS              450 7TH AVE STE 603                                                                           NEW YORK          NY   10123‐0207
MORNINGSTAR ASSOCIATES LLC            5904 PAYSPHERE CIR                                                                            CHICAGO           IL   60674‐0059
MORNINGSTAR INDUSTRIES                335 CLAYSON RD                                                            WESTON ON M9M 2H4
                                                                                                                CANADA
MORNINGSTAR JR, GLEN R                212 REID RD                                                                                   HIGHLAND          MI   48357‐4976
MORNINGSTAR MISSIONARY BAPTIST        ATTN: ERNEST L GIRLEY            2120 N SAGINAW ST                                            FLINT             MI   48505‐4772
MORNINGSTAR, ALYCE                    5221 OSTLAND DR                                                                               HOPE              MI   48628
MORNINGSTAR, ANTHONY R                17 HAMPI CT                                                                                   SWARTZ CREEK      MI   48473‐1613
MORNINGSTAR, BETTY L                  135 STACY ST                     PO BOX 572                                                   MERRILL           MI   48637‐0572
MORNINGSTAR, CHESTER E                2471 BRIAR CREEK LN                                                                           BURTON            MI   48509‐1396
MORNINGSTAR, CLETUS L                 2229 BIRCH TRACE DR                                                                           YOUNGSTOWN        OH   44515‐4910
MORNINGSTAR, DONALD G                 1777 BRACEVILLE ROBINSON RD                                                                   SOUTHINGTON       OH   44470‐9559
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Name                              Address1                       Address2                      Address3             Address4             City              State Zip
MORNINGSTAR, GERALD L             5221 OSTLUND DR                                                                                        HOPE               MI 48628‐9603
MORNINGSTAR, H B INDUSTRIES LTD   335 CLAYSON RD                                                                    TORONTO ON M9M 2H4
                                                                                                                    CANADA
MORNINGSTAR, JACK E               19845 NW METOLIUS DR                                                                                   PORTLAND          OR   97229‐2863
MORNINGSTAR, JENETTIE             8357 ROBERT PLACE                                                                                      FRANKLIN          OH   45005‐4129
MORNINGSTAR, JENETTIE             8357 ROBERT PL                                                                                         CARISLE           OH   45005‐4129
MORNINGSTAR, LILLIAN C            707 BOLLINGER DR                                                                                       SHREWSBURY        PA   17361‐1743
MORNINGSTAR, MAEANNA M            3081 S LIMESTONE ST                                                                                    SPRINGFIELD       OH   45505‐5023
MORNINGSTAR, MARK A               4426 MUSKOPF DR                                                                                        FAIRFIELD         OH   45014‐3284
MORNINGSTAR, NICKOLAS G           235 FOX CATCHER DR                                                                                     MYRTLE BEACH      SC   29588‐6671
MORNINGSTAR, PHYLLIS              1995 II RD                                                                                             GARDEN            MI   49835‐9426
MORNINGSTAR, ROBERT W             96 MOUNT EVEREST WAY                                                                                   SWARTZ CREEK      MI   48473‐1610
MORNINGSTAR, RONALD G             714 N FAIRGROUNDS RD                                                                                   IMLAY CITY        MI   48444‐9404
MORNINGSTAR, WILLIAM G            4559 OAKMONT DR                                                                                        OSCODA            MI   48750‐9400
MORNSON, RAY M                    3201 SKYLINE DR                                                                                        FORT WORTH        TX   76114‐1427
MORO ANTONELLA                    C/O LA SCALA                   STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
MORO AUTOMOTIVE LTD.              735 BAILLIE AVE                                                                   KELOWNA BC V1Y 7E9
                                                                                                                    CANADA
MORO, GRACE M                     141 WINDSOR COMMONS                                                                                    EAST WINDSOR      NJ   08512‐2523
MORO, LIVIO                       411 15TH ST                    APT 4A                                                                  UNIONCITY         NJ   07087‐7401
MORO, LIVIO                       411 15TH ST APT A4                                                                                     UNION CITY        NJ   07087‐7401
MORO, MARIE A                     112 DOUGLAS AVE                                                                                        TRENTON           NJ   08619‐1225
MORO, SEVIO J                     1498 KING AVE APT A                                                                                    COLUMBUS          OH   43212‐2134
MOROCCO JOHN A                    MOROCCO, JOHN A                12 HARDING STREET SUITE 110                                             LAKEVILLE         MA   02767
MOROCCO, CAROL A                  3231 WILDWOOD DR                                                                                       MC DONALD         OH   44437‐1356
MOROCCO, JOANNE T                 1220 NORTH RD NE APT 9                                                                                 WARREN            OH   44483‐4568
MOROCCO, JOHN A                   CONSUMER LEGAL SERVICES        12 HARDING ST STE 110                                                   LAKEVILLE         MA   02347‐1232
MOROCCO, LOUIS A                  RR BOX 1                                                                                               BROOKFIELD        OH   44403
MOROCCO, LOUISE M                 1915 BALDWIN AVE APT 320                                                                               PONTIAC           MI   48340‐1176
MOROCCO, LOUISE M                 1915 BALDWIN APT 320                                                                                   PONTIAC           MI   48340‐1176
MORODAN, JOHN A                   745 W SAGINAW RD                                                                                       MAYVILLE          MI   48744‐9634
MOROFSKY II, BARRY D              1125 LORAINE AVE                                                                                       LANSING           MI   48910‐2505
MOROFSKY, MICHAEL H               1300 WOODBINE AVE                                                                                      LANSING           MI   48910‐2635
MOROG, WILLIAM H                  1111 GARFIELD AVE                                                                                      NIAGARA FALLS     NY   14305
MOROLINE SMITH                    2713 FRECCO CAVERN CT                                                                                  HENDERSON         NV   89052‐3923
MOROLLA, GIROLAMO A               8087 N WEBSTER RD                                                                                      MOUNT MORRIS      MI   48458‐9432
MORON, FRANK S                    4416 S CHRISTIANA AVE                                                                                  CHICAGO           IL   60632‐2836
MORONE, KIMBERLY R                1964 WOODMONT RD                                                                                       MANSFIELD         OH   44905‐1841
MORONE, MICHAEL                   1964 WOODMONT RD                                                                                       MANSFIELD         OH   44905‐1841
MORONES JR, ALEX H                3242 W PIERSON ST                                                                                      PHOENIX           AZ   85017‐3461
MORONES, ADOLFO C                 108 VAN BUREN DR                                                                                       DALTON            GA   30721‐8703
MORONES, DANNY H                  4314 HUCKLEBERRY LN                                                                                    FLINT             MI   48507‐2358
MORONES, DANNY HERENANDEZ         4314 HUCKLEBERRY LN                                                                                    FLINT             MI   48507‐2358
MORONES, DAVID                    36 OBSIDIAN DR                                                                                         CHAMBERSBURG      PA   17202‐8207
MORONES, DAVID                    36 OBSIDIAN DRIVE                                                                                      CHAMBERSBURG      PA   17202‐8207
MORONES, JOSEPHINE MORALES        MOODY EDWARD O                 801 W 4TH ST                                                            LITTLE ROCK       AR   72201‐2107
MORONEY JR., WILLIAM P            2101 DENA DRIVE                                                                                        ANDERSON          IN   46017‐9685
MORONEY, JAMES D                  701 ELM AVE                                                                                            SOUTH MILWAUKEE   WI   53172‐1305
MORONEY, WILLIAM A                1000 KEEVEN LN                                                                                         FLORISSANT        MO   63031‐6148
MORONI ROBERT                     229 PILGRIM AVE                                                                                        BIRMINGHAM        MI   48009
MORONI, LOUIS P                   35540 DUNSTON DR                                                                                       STERLING HTS      MI   48310‐4963
MORONI, RAYMOND A                 504 NEWTON AVE                                                                                         GLEN ELLYN        IL   60137‐4326
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Name                          Address1                           Address2                  Address3   Address4                 City               State Zip
MORONI, ROBERT D              229 PILGRIM AVE                                                                                  BIRMINGHAM          MI 48009
MORONI,ROBERT D               229 PILGRIM AVE                                                                                  BIRMINGHAM          MI 48009
MORONI‐KING, SHIRLEY          17241 W MAHOGANY WAY                                                                             SURPRISE            AZ 85387‐7298
MORONIA PRESTON               465 LUTHER AVE                                                                                   PONTIAC             MI 48341‐2571
MORONIA TAPLIN                5342 WEATHERSBY LN                                                                               LIBERTY             MS 39645‐5109
MORONSKI, JOSEPH W            4215 SHIMERVILLE RD                                                                              CLARENCE            NY 14031‐1830
MORONY, OTIS V                32105 DENSMORE RD                                                                                WILLOWICK           OH 44095‐3846
MOROS, DENNIS J               24411 CURRIER ST                                                                                 DEARBORN HTS        MI 48125‐1879
MOROS, MARY P                 168 MERCIER AVE                                                                                  BRISTOL             CT 06010‐3725
MOROSCO, JANET A              20870 WILDWOOD                                                                                   HARPER WOODS        MI 48225
MOROSEY, LEROY G              438 KENNEDY RD                                                                                   CHEEKTOWAGA         NY 14227‐1032
MOROSEY, RONALD J             35 CARR LN                                                                                       MCGREGOR            MN 55760‐5894
MOROSI MIRELLA                VIA MISURINA 11                                                         48015 CERVIA (RAVENNA)
                                                                                                      ITALY
MOROSKY, ANTOINETTE K         27149 JOHN DRIVE                                                                                 NEW BOSTON         MI   48164‐9049
MOROSKY, DENNIS J             8024 JOHN WHITE RD                                                                               HUBBARD            OH   44425‐9773
MOROSKY, KATHERINE            2002 HARTLEBURY WAY                                                                              SUN CITY CENTER    FL   33573‐6357
MOROSKY, SANDRA J             550 BOW LN                                                                                       MIDDLETOWN         CT   06457‐4843
MOROSO PERFORMANCE PRODUCTS   80 CARTER DR                                                                                     GUILFORD           CT   06437‐2125
MOROSS, DAVID                 9799 BIRDIE DR                                                                                   STANWOOD           MI   49346‐9786
MOROVITS, PAUL J              203 JONATHON DR                                                                                  JANESVILLE         WI   53548‐5807
MOROWSKI, KENNETH             5273 HIGHLAND RD UNIT 207                                                                        WATERFORD          MI   48327‐1939
MOROWSKY, STEPHEN             2960 PINE CONE CIR                                                                               CLEARWATER         FL   33760‐5315
MOROZ, DENNIS W               385 EAST RD                                                                                      WYOMING            NY   14591‐9549
MOROZ, HELEN                  100 ROCKVIEW TERRACE                                                                             ROCHESTER          NY   14606‐1915
MOROZ, IHOR                   3336 CRAIG DR                                                                                    NORTH TONAWANDA    NY   14120‐1268
MOROZ, JULIA                  10710 E CHOLLA LN                                                                                SCOTTSDALE         AZ   85259
MOROZKO, VIVIAN B             PO BOX 760                                                                                       CARENCRO           LA   70520‐0760
MORPACE INTERNATIONAL INC     FRMLY MARKET OPINION RESEARCH      31700 MIDDLEBELT RD                                           FARMINGTON HILLS   MI   48334
MORPACE INTERNATIONAL INC     31700 MIDDLEBELT RD STE 220                                                                      FARMINGTON HILLS   MI   48334
MORPHEUS PROTOTYPES LLC       1840 W 205TH ST                                                                                  TORRANCE           CA   90501‐1526
MORPHEW DIANE                 6117 DRY DEN CT                                                                                  INDIANAPOLIS       IN   46221‐4600
MORPHEW, BONNIE L             55 GILL DRIVE                                                                                    DANVILLE           IN   46122‐1033
MORPHEW, BONNIE L             55 GILL DR                                                                                       DANVILLE           IN   46122‐1033
MORPHEW, GLENN E              3110 S.E.CNTY RD#2130                                                                            CORSICANA          TX   75109
MORPHEW, LELIA V              8285 S QUARTER MOON DR                                                                           PENDLETON          IN   46064‐8641
MORPHEW, LEROY H              630 IROQUOIS DR                                                                                  ANDERSON           IN   46012‐1430
MORPHEW, LINDA D              1258 HAPPY HILL RD                                                                               LYNNVILLE          TN   38472‐5048
MORPHEW, MARY M               1308 ROSEMARY AVE                                                                                DURHAM             NC   27705‐3021
MORPHEW, PAULA K              11913 TAPP DR                                                                                    INDIANAPOLIS       IN   46229
MORPHEW, REECE A              10422 MEADOWVIEW DR                                                                              KEITHVILLE         LA   71047‐9562
MORPHEW, RICKY A              1258 HAPPY HILL RD                                                                               LYNNVILLE          TN   38472‐5048
MORPHEW, SHIRLEY A            5539 BUCK DR                                                                                     NOBLESVILLE        IN   46062‐8712
MORPHIS, BARBARA JEAN         5221 SPRINGBROOK DR                                                                              MIDLOTHIAN         TX   76065‐5834
MORPHIS, HEATHER MICHELLE     B THOMAS MCELROY & JIM DEAR @      5500 PRESTON RD STE 370                                       DALLAS             TX   75205‐2675
                              JOHNSON & MCELROY
MORPHIS, LONA C               218 STONE CREEK VALLEY DR                                                                        O FALLON           MO   63366‐5420
MORPHIS, LONA CARLENE         218 STONE CREEK VALLEY DR                                                                        O FALLON           MO   63366‐5420
MORQUECHO JR, CHARLES         317 PEACH BLOSSOM CT                                                                             OTISVILLE          MI   48463‐9604
MORQUEGHO ALEJANDRO           15156 PEGGY CT                                                                                   STERLING HEIGHTS   MI   48312‐4434
MORR, CYNTHIA A               3715 NORHT 1150 WEST                                                                             FLORA              IN   46929
MORR, DONALD S                1600 S VALLEY VIEW BLVD APT 2019                                                                 LAS VEGAS          NV   89102‐1875
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Name                        Address1                         Address2            Address3         Address4             City            State Zip
MORR, DWIGHT E              1317 TWP RD 653 R 2                                                                        ASHLAND          OH 44805
MORR, ESTHER A              258 JOANNA ST APT 1                                                                        BROOKVILLE       OH 45309‐1937
MORR, JOHN R                1326 COACH HOUSE LN                                                                        SOUTH LYON       MI 48178‐8719
MORR, LLOYD A               6101 E LAKE DR                                                                             HASLETT          MI 48840‐8937
MORR, MARY L                753 PULVERLIST ROAD                                                                        MANSFIELD        OH 44905‐2546
MORR, MARY L                753 PULVER LIST RD                                                                         MANSFIELD        OH 44905‐2546
MORR, MELISSA A             831 LEEKA RD                                                                               NEW VIENNA       OH 45159‐9370
MORR, MICHAEL D             451 S CLAYTON RD                                                                           NEW LEBANON      OH 45345‐1652
MORR, MIKE J                11360 TUPPER LAKE RD                                                                       GRAND LEDGE      MI 48837‐9508
MORR, RODNEY J              882 GROVECREST                                                                             ROCHESTER HLS    MI 48307‐2887
MORR, SCOTT M               831 LEEKA RD                                                                               NEW VIENNA       OH 45159‐9370
MORR, THOMAS J              2262 W ISLAND RD                                                                           WILLIAMSBURG     VA 23185‐7683
MORR, TIMOTHY J             11160 ROLSTON RD                                                                           BYRON            MI 48418‐9018
MORRA, MARK A               5650 SALLY RD                                                                              CLARKSTON        MI 48348‐3030
MORRA, ROCCO A              170 IMPERIAL DR                                                                            BUFFALO          NY 14226‐1540
MORRA‐MIELE, CYNTHIA        184 STUART DR                                                                              NEW ROCHELLE     NY 10804‐1444
MORRAINE CLARK DRIVE THRU   4520 S DIXIE DR                                                                            MORAINE          OH 45439‐2112
MORRARTY, ANNA M.           454 HILLSIDE DRIVE                                                                         OHURLEY          NY 12443
MORRAYE, JOSEPH A           11938 ANGUS CIR                                                                            STERLING HTS     MI 48312‐1302
MORRAYE, JOSEPH ALPHONSE    11938 ANGUS CIR                                                                            STERLING HTS     MI 48312‐1302
MORREALE, ANN T             10214 S COMMERCIAL AVE                                                                     CHICAGO           IL 60617‐5833
MORREALE, ANN T             10214 SO COMMERCIAL                                                                        CHICAGO           IL 60617‐5833
MORREALE, ANTOINETTE L      PO BOX 184                                                                                 RUSHFORD         NY 14777‐0184
MORREALE, GUS               281 SEABROOK DR                                                                            WILLIAMSVILLE    NY 14221‐1956
MORREALE, JOHN              PO BOX 322                                                                                 YOUNGSTOWN       NY 14174‐0322
MORREALE, MARTIN P          5698 JENNIFER DR W                                                                         LOCKPORT         NY 14094
MORREALE, RUSSELL           102 LABELLE TER                                                                            AMHERST          NY 14228‐1329
MORREALE, SANDRA E          121 65TH ST                                                                                NIAGARA FALLS    NY 14304‐3901
MORREL PACE JR              848 E THOMPSON RD                                                                          INDIANAPOLIS     IN 46227‐1670
MORRELL BRUCE               PO BOX 69                                                                                  WESTON           TX 75097
MORRELL CON/AUBRUN H        333 BALD MOUNTAIN RD                                                                       AUBURN HILLS     MI 48326
MORRELL CONTROLS CANADA     2775 KEW DR                                                           WINDSOR ON N8T 3B7
                                                                                                  CANADA
MORRELL COOPER              19936 MOENART ST                                                                           DETROIT         MI   48234‐2319
MORRELL FISHER JR           PO BOX 506                       104 SOUTH HWY 77                                          WYATT           MO   63882‐0506
MORRELL I I I, SHERMAN      5327 GREENBRIAR RD                                                                         LANSING         MI   48917‐1339
MORRELL III, SHERMAN        5327 GREENBRIAR RD                                                                         LANSING         MI   48917‐1339
MORRELL INC                 3100‐4 BOARDWALK                                                                           SAGINAW         MI   48603
MORRELL INC                 3333 BALD MOUNTAIN RD                                                                      AUBURN HILLS    MI   48326‐1808
MORRELL INCORPORATED        3333 BALD MOUNTAIN RD                                                                      AUBURN HILLS    MI   48326‐1808
MORRELL JR, ROYAL R         7206 MCDERMOTT DR                                                                          KEWADIN         MI   49648‐8954
MORRELL KATHLEEN A          MORRELL, KATHLEEN A              30 E BUTLER AVE                                           AMBLER          PA   19002‐4514
MORRELL LEASLEY             2483 RUSHBROOK DR                                                                          FLUSHING        MI   48433‐2563
MORRELL LOWERY              104 VETERANS DR                                                                            OOLITIC         IN   47451‐9702
MORRELL PITTS               29958 OAKWOOD ST                                                                           INKSTER         MI   48141‐1559
MORRELL, ARLENE R           MAPLE MANOR 130 WEST MAPLE APT                                                             GLADWIN         MI   48624
MORRELL, ART R              3849 HITCH BLVD                                                                            MOORPARK        CA   93021‐9728
MORRELL, BILLIE E           3320 ARAGON DR                                                                             LANSING         MI   48906‐3503
MORRELL, BOBBIE K           1111 E REPPTO ST                                                                           BROWNFIELD      TX   79316
MORRELL, CARLENE L          845 MELWOOD DR NE                                                                          WARREN          OH   44483‐4441
MORRELL, CLARIETHA          5327 GREENBRIAR RD                                                                         LANSING         MI   48917‐1339
MORRELL, DAVID              4449 WELLSBORO ST                                                                          LAS VEGAS       NV   89147‐5086
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Name                          Address1                        Address2                  Address3   Address4         City               State Zip
MORRELL, DAVID E              924 HUNT DR                                                                           HUGER               SC 29450‐9576
MORRELL, DAVID F              6 KULANI LN                                                                           PLEASANT HILL       CA 94523‐2516
MORRELL, DENNIS L             1258 OJIBWAY ST                                                                       GLADWIN             MI 48624‐8360
MORRELL, DONALD G             142 N MAIN ST 1                                                                       MASSENA             NY 13662
MORRELL, DONNA G              1502 WINGWOOD DR                                                                      MARSHALL            TX 75670‐6844
MORRELL, DOROTHY J            PO BOX 14145                                                                          LANSING             MI 48901‐4145
MORRELL, ERIC L               7012 JENSEN AVE S                                                                     COTTAGE GROVE       MN 55016‐5201
MORRELL, ERNEST E             5 LYON CT                                                                             MANCHESTER          NJ 08759‐6284
MORRELL, EVELYN L             245 TOWNSEND ST #1                                                                    BIRMINGHAM          MI 48009‐1426
MORRELL, FRANK S              4078 REGATTA DR                                                                       BYRON               CA 94505‐1704
MORRELL, FREDERICK D          5590 HOUGHTEN DR                                                                      TROY                MI 48098‐2907
MORRELL, GALE D               1351 SHENANDOAH DR                                                                    ROCHESTER HLS       MI 48306‐3854
MORRELL, GLORIA               29 JUNO DR                                                                            WENTZVILLE          MO 63385‐1906
MORRELL, GORDON E             1424 ENGLEWOOD AVE                                                                    ROYAL OAK           MI 48073‐2878
MORRELL, GREGG B              PO BOX 223                                                                            SANBORN             NY 14132‐0223
MORRELL, GREGG BOYD           PO BOX 223                                                                            SANBORN             NY 14132‐0223
MORRELL, HARRY                C/O THE LIPMAN LAW FIRM         5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES        FL 33146
MORRELL, JACQUELINE           34 SORENSON RD                                                                        WEST HAVEN          CT 06516‐4846
MORRELL, JACQUES A            1955 SCHUST RD                                                                        SAGINAW             MI 48604‐1615
MORRELL, JACQUES ARMOND       1955 SCHUST RD                                                                        SAGINAW             MI 48604‐1615
MORRELL, JAMES E              75 HALL CREEK RD                                                                      HIAWASSEE           GA 30546‐2813
MORRELL, JANET J              131 CHERRY TREE FARM RD                                                               MIDDLETOWN          NJ 07748‐1739
MORRELL, JOHN V               3312 W RIVER DR                                                                       GLADWIN             MI 48624‐9730
MORRELL, JOSEPH M             41205 CILANTRO DR                                                                     STERLING HEIGHTS    MI 48314‐4070
MORRELL, KATHY                1268 W CLARK RD APT A1                                                                DEWITT              MI 48820‐9081
MORRELL, LARRY L              APT 106                         1784 NORMANDY DRIVE                                   WOOSTER             OH 44691‐1466
MORRELL, LEROY C              28050 NORTH LIMESTONE LANE                                                            QUEEN CREEK         AZ 85243‐5985
MORRELL, MARK J               20 JOHNSON DRIVE                                                                      MASSENA             NY 13662‐3140
MORRELL, MARK JASON           20 JOHNSON DRIVE                                                                      MASSENA             NY 13662‐3140
MORRELL, MAURICE L            5522 W ST JOSEPH HWY                                                                  LANSING             MI 48910
MORRELL, MURIEL               91 ABBOTT AVE                                                                         OCEAN GROVE         NJ 07756
MORRELL, PAMELA J             3312 W RIVER DR                                                                       GLADWIN             MI 48624
MORRELL, PAUL F               9166 W 200 N                                                                          ARLINGTON           IN 46104‐9750
MORRELL, RALPH R              3129 WILLOW OAK DR                                                                    EDGEWATER           FL 32141‐6131
MORRELL, ROBERT W             6244 CLOVER WAY S                                                                     SAGINAW             MI 48603‐1056
MORRELL, RODERIC              3320 ARAGON DR                                                                        LANSING             MI 48906‐3503
MORRELL, RUTH E               2001 E TROPICANA AVE APT 1065                                                         LAS VEGAS           NV 89119‐6579
MORRELL, RUTH E               2001 EAST TROPICANA             APT 1065                                              LAS VEGAS           NV 89119
MORRELL, SADIE L              3620 S WIGGER ST                                                                      MARION              IN 46953‐4834
MORRELL, SUSAN                187 WOODGLEN                                                                          NILES               OH 44446‐1936
MORRELL, WENDY M              20 JOHNSON DR                                                                         MASSENA             NY 13662‐3140
MORRELLA, KAY A               455 N COMMERCE ST                                                                     LEWISBURG           OH 45338‐9701
MORRELLA, MICHAEL S           455 N COMMERCE ST                                                                     LEWISBURG           OH 45338
MORRELLA, RENE Y              474 WALDEN TRL                                                                        DAYTON              OH 45440‐4086
MORRELLA, ROBERT L            474 WALDEN TRL                                                                        DAYTON              OH 45440‐4086
MORREY DISTRIBUTING COMPANY                                   1850 E. LIVEOLN WAY                                                       NV 89431
MORRICAL, DOUGLAS H           1501 MARBLETON RD                                                                     UNICOI              TN 37692‐6804
MORRICAL, JACQUELINE H        10630 N LUNG LN                                                                       SYRACUSE            IN 46567‐8559
MORRICAL, LEONARD G           3021 SATINWOOD DR                                                                     JANESVILLE          WI 53546‐8866
MORRICAL, MARY JANE           PO BOX 304                                                                            WESTFIELD           IN 46074‐0304
MORRICAL, WAYNE A             8732 TRENTON DR                                                                       WHITE LAKE          MI 48386‐4377
MORRICAL, WILLIAM R           5100 N SOLLARS DR                                                                     MUNCIE              IN 47304‐6178
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Name                                  Address1                         Address2                        Address3          Address4              City            State Zip
MORRICE TRANSPORTATION                3049 DEVON DR                                                                      WINDSOR CANADA ON N8X
                                                                                                                         4L3 CANADA
MORRICE TRANSPORTATION                JANICE MARSHALL                  3049 DEVON DRIVE                                  WINDSOR ON N8X4L3
                                                                                                                         CANADA
MORRICE TRANSPORTATION                ROB MORRICE                      3049 DEVON DRIVE                                  WINDSOR ON N8X4L3
                                                                                                                         CANADA
MORRICE, GARY M                         850 W CORUNNA AVE APT 3B                                                                               CORUNNA         MI    48817
MORRICE, MELISSA ANN                    9095 LEMON RD                                                                                          BANCROFT        MI    48414‐9749
MORRICE, RANDY L                        14787 S MERRILL RD                                                                                     ELSIE           MI    48831‐9227
MORRIE HENRY                            16998 STANTON ST                                                                                       WEST OLIVE      MI    49460‐9753
MORRIE NORMAN & ASSOC                   PO BOX 13394                                                                                           DES MOINES      IA    50310‐0394
MORRIE WEATHERSPOON                     PO BOX 1305                                                                                            BUFFALO         NY    14215‐6305
MORRIE'S CADILLAC ‐ SAAB                WAGENER, MAURICE               7400 WAYZATA BLVD                                                       MINNEAPOLIS     MN    55426‐1620
MORRIE'S CADILLAC ‐SAAB                 7400 WAYZATA BLVD                                                                                      MINNEAPOLIS     MN    55426‐1620
MORRIE'S EUROPEAN CAR SALES, INC.       MAURICE WAGENER                7400 WAYZATA BLVD                                                       MINNEAPOLIS     MN    55426‐1620
MORRIES AUTOMOTIVE GROUP                7400 WAYZATA BLVD                                                                                      GOLDEN VALLEY   MN    55426‐1620
MORRIES EUROPEAN CAR SALES INC          DBA MORRIES CADILLIAC‐SAAB     7400 WAYZATA BLVD                                                       MINNEAPOLIS     MN    55426‐1620
MORRIES EUROPEAN CARS INC               12520 WAYZATA BLVD                                                                                     MINNETONKA      MN    55305‐1937
MORRIES GIBSON                          10 VAN BUREN ST                                                                                        LOCKPORT        NY    14094‐2427
MORRIES SAAB                            7400 WAYZATA BLVD                                                                                      MINNEAPOLIS     MN    55426‐1620
MORRIFFETTE, BUFFY                      3 TIMBER LN                                                                                            POLAND          ME    04274‐5910
MORRIL JR, HAROLD                       679 LEGENDARY WAY                                                                                      CENTERVILLE     OH    45458‐6104
MORRILL JR, MARLYN W                    1502 DUNFORD WAY                                                                                       ROSEVILLE       CA    95747‐6001
MORRILL LINDA                           MORRILL, LINDA                 1930 E MARLTON PIKE SUITE Q29                                           CHERRY HILL     NJ    08003
MORRILL, CONNIE M                       1001 EAST ST                                                                                           THREE RIVERS    MI    49093‐2317
MORRILL, DAVID J                        513 STONYBROOK DR                                                                                      GRAND BLANC     MI    48439‐1107
MORRILL, DEAN A                         1001 EAST ST                                                                                           THREE RIVERS    MI    49093‐2317
MORRILL, EDITH L                        8900 BOULEVARD E APT 3FN                                                                               NORTH BERGEN    NJ    07047‐6028
MORRILL, J. T.
MORRILL, JAMES A                        14143 CYGNET CT                                                                                        N ROYALTON      OH    44133‐5286
MORRILL, JOE H                          4703 SCOTS WAY 35                                                                                      DEXTER          MI    48130
MORRILL, KENNETH ROBERT                 LEVY PHILLIPS & KONIGSBERG     520 MADISON AVE, 31ST FLOOR                                             NEW YORK        NY    10022
MORRILL, LINDA                          KIMMEL & SILVERMAN PC          1930 E MARLTON PIKE SUITE Q29                                           CHERRY HILL     NJ    08003
MORRILL, MARYLEE Y                      6376 WINDRIDGE PLACE                                                                                   LEXINGTON       OK    73051‐9475
MORRILL, MAUREEN                        2227 MARSTON                                                                                           WATERFORD       MI    48327‐1143
MORRILL, MAUREEN                        2227 MARSTON DR                                                                                        WATERFORD       MI    48327‐1143
MORRIN, ANNA J                          6790 CRABB RD                                                                                          TEMPERANCE      MI    48182‐9530
MORRIN, RICHARD N                       11245 NOGALES LANE                                                                                     FRISCO          TX    75034‐1760
MORRIS                                  DEAN DECKER (CHIP)             1015 E MECHANIC ST                                                      BRAZIL          IN    47834‐3321
MORRIS                                  PO BOX 170909                                                                                          ARLINGTON       TX    76003‐0909
MORRIS & ASSOCIATES                     6059 S QUEBEC ST STE 80111                                                                             ENGLEWOOD       CO    80111
MORRIS & JOAN KAGAN, TTEES              OF THE KAGAN FAMILY TRUST      930 UNIVERSITY                                                          BURBANK         CA    91504
MORRIS & RITCHIE ASSOCIATES, INC. ‐ GEO DAVID QUARANA                  3445 A BOX HILL CORPORATE                                               ABINGDON        MD
TECHNOLOGIES                                                           CENTER DRIVE
MORRIS ‐ SMITH, AUDREY M                8965 ASTOR                                                                                             DETROIT         MI    48213‐2277
MORRIS ‐ SMITH, AUDREY M                8965 ASTOR ST                                                                                          DETROIT         MI    48213‐2277
MORRIS ‐, PATRICIA L                    PO BOX 805                                                                                             ELYRIA          OH    44036‐0805
MORRIS A CARTER                         NIX, PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT        205 LINDA DRIVE                         DAINGERFIELD    TX    75638
MORRIS A JOHNSON                        4688 WALFORD AVE APT #20                                                                               WARRENSVILLE    OH    44128‐5116
MORRIS A OWEN                           10 HARBORVIEW CT NE                                                                                    DECATUR         AL    35601‐1630
MORRIS A REYNOLDS                       NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT        205 LINDA DR                            DAINGERFIELD    TX    75638
MORRIS A VAN TOL                        2151 N 11 MILE RD                                                                                      LINWOOD         MI    48634‐9756
                                        09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                    Address1                          Address2                          Address3               Address4               City               State Zip
MORRIS ABERNATHY                        5570 EXECUTIVE DR                                                                                                 LOGANVILLE          GA 30052‐2903
MORRIS ADLER ELEMENTRARY                19100 FILMORE ST                                                                                                  SOUTHFIELD          MI 48075‐7207
MORRIS AKIN                             PO BOX 435                                                                                                        CARNESVILLE         GA 30521‐0435
MORRIS ALLEN                            3320 LINDEL LN                                                                                                    INDIANAPOLIS        IN 46268‐2774
MORRIS ALLEN                            4346 SALEM RD                                                                                                     COVINGTON           GA 30016‐4534
MORRIS ALLEN                            14817 SALEM CREEK RD                                                                                              EDMOND              OK 73013‐2449
MORRIS ALTIZER                          46294 CHATSWORTH DR                                                                                               BELLEVILLE          MI 48111‐1219
MORRIS ALVEY                            4427 W 300 S                                                                                                      ANDERSON            IN 46011‐9489
MORRIS ANDREWS                          1072 CLEVELAND AVE                                                                                                LINCOLN PARK        MI 48146‐2729
MORRIS ARNOLD (429499)                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA 23510
                                                                          STREET, SUITE 600
MORRIS ASA                              5525 THRUSH DR                                                                                                    GRAND BLANC        MI 48439‐7940
MORRIS ASHBY PLC                        JL FRENCH                         16 FREEBOURNES RD                 WITHAM ESSEX CM9 CDX   UNITED KINGDOM GREAT
                                                                                                                                   BRITAIN
MORRIS AUTO                             500 CLOVERLEAF DR                                                                                                 CLANTON            AL    35045‐3726
MORRIS AUTO PLAZA, INC.                 HIGHWAY 9 SOUTH                                                                                                   MORRIS             MN    56267
MORRIS AUTO PLAZA, INC.                 JOEL KRUSEMARK                    HIGHWAY 9 SOUTH                                                                 MORRIS             MN    56267
MORRIS AUTO SERVICE                     134 S ELKHART AVE                                                                                                 ELKHART            IN    46516‐3521
MORRIS AUTOMOTIVE                       1331 COLORADO AVE                                                                                                 SANTA MONICA       CA    90404‐3312
MORRIS BAGWELL S                        EARLY LUDWICK & SWEENEY, L.L.C    ONE CENTRY TOWER, 11TH FLOOR,                                                   NEW HAVEN          CT    06510
                                                                          265 CHURCH
MORRIS BAGWELL S                        EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                                  NEW HAVEN           CT   06510
                                                                          265 CHURCH STREET
MORRIS BALL                             24273 KINSEL STREET                                                                                               SOUTHFIELD         MI    48033‐2918
MORRIS BANNISTER                        2685 HENESEY RD                                                                                                   IMLAY CITY         MI    48444‐9724
MORRIS BARBARA                          1435 PRISON CAMP RD                                                                                               CAMPOBELLO         SC    29322‐8989
MORRIS BELT                             3354 SAXONY DR N                                                                                                  TECUMSEH           MI    49286‐7509
MORRIS BEN                              12711 CHURCHILL PKWY                                                                                              GOSHEN             KY    40026‐9799
MORRIS BERG                             1076 MAPLE GROVE RD                                                                                               LAPEER             MI    48446‐9437
MORRIS BIGGS                            11178 NORTHLAWN ST                                                                                                DETROIT            MI    48204‐1021
MORRIS BILL                             3737 SANTA FE DR                                                                                                  CHOCTAW            OK    73020‐5914
MORRIS BILLY JOE (ESTATE OF) (635409)   OBRIEN LAW FIRM                   1 METROPOLITAN SQ STE 1500                                                      SAINT LOUIS        MO    63102‐2799

MORRIS BLEAU                            PO BOX 323                        HIGHLAND AVENUE                                                                 BEECH BOTTOM       WV    26030‐0323
MORRIS BOGAN                            3773 STONEBARN CT                                                                                                 FRANKLIN           OH    45005‐4926
MORRIS BOWERS                           4068 TRAIL RIDGE DR                                                                                               FRANKLIN           TN    37067‐4057
MORRIS BOYD                             67 LEIGH AVE                                                                                                      PRINCETON          NJ    08542‐3149
MORRIS BRANCH JR                        902 W JAMIESON ST                                                                                                 FLINT              MI    48504‐2690
MORRIS BRASHAW                          25028 INDEPENDENCE DR             APT. 111208                                                                     FARMINGTON HILLS   MI    48335
MORRIS BROWN                            1717 N OUTER DR                                                                                                   SAGINAW            MI    48601‐6014
MORRIS BROWN                            7601 W 61ST PL                                                                                                    SUMMIT             IL    60501
MORRIS BROWN                            C/O WILLIAMS KHERKHER HART AND    8441 GULF FREEWAY STE 600                                                       HOUSTON            TX    77007
                                        BOUNDAS LLP
MORRIS BROWN COLLEGE                    FINANCE DEPARTMENT                643 MARTIN LUTHER KING JR DR NW                                                 ATLANTA            GA 30314‐4140

MORRIS BRYANT                           14468 OLD STATE RD                                                                                                JOHANNESBURG       MI    49751‐9581
MORRIS BULLOCK                          105 WYNDOT CIR                                                                                                    WEST MONROE        LA    71291‐8152
MORRIS C HOLMES                         1218 S FAYETTE ST                                                                                                 SAGINAW            MI    48602‐1445
MORRIS C MUNTZ                          1509 WEST AVE. N.W.                                                                                               WARREN             OH    44483‐3332
MORRIS CADILLAC‐PONTIAC‐GMC, INC.       39290 CENTER RIDGE RD                                                                                             NORTH RIDGEVILLE   OH    44039
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Name                                Address1                        Address2                      Address3   Address4                City               State Zip
MORRIS CADILLAC‐PONTIAC‐GMC, INC.   ROBERT MORRIS                   39290 CENTER RIDGE RD                                            NORTH RIDGEVILLE    OH 44039

MORRIS CALHOUN SR.                  PO BOX 703                                                                                       UNION SPRINGS      AL   36089‐0703
MORRIS CAMPBELL                     2537 N 73RD ST                                                                                   KANSAS CITY        KS   66109‐2413
MORRIS CAPITAL MANAGEMENT LLC       ESTHER JONES X2295              2801 RED DOG LN                          RAMOS ARIZPE CZ 25900
                                                                                                             MEXICO
MORRIS CARTER                       1067 213 MADISON COUNTY RD                                                                       FREDERICKTOWN      MO   63645
MORRIS CHAMBERLAIN                  4161 WOODROW AVE                                                                                 BURTON             MI   48509‐1051
MORRIS CHARLES                      2609 SW 67TH ST                                                                                  OKLAHOMA CITY      OK   73159‐2735
MORRIS CINDY                        3354 DECHERD ESTILL ROAD                                                                         WINCHESTER         TN   37398‐4969
MORRIS CLASSIC CONCEPTS LLC         BILLY MORRIS                    467 FORD CIRCLE ‐ REAR                                           GREER              SC   29651
MORRIS CLIFFORD O (429500)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
                                                                    STREET, SUITE 600
MORRIS CNTY SUPERIOR CRT OFCR       ACCT OF C A MATTICE             PO BOX 910                                                       MORRISTOWN         NJ   07963‐0910
MORRIS COHEN                        9023 SAWYER ST                                                                                   LOS ANGELES        CA   90035‐4140
MORRIS COHEN/BALA CY                158 GRAMERCY RD                                                                                  BALA CYNWYD        PA   19004‐2905
MORRIS COLEMAN                      619 RUSSELL ST                                                                                   LATHROP            MO   64465‐9313
MORRIS COLLINS                      20130 SCOTTSDALE BLVD                                                                            SHAKER HTS         OH   44122‐6461
MORRIS COMMUNICATIONS COMPANY       ED MILLER                       643 BROAD ST                                                     AUGUSTA            GA   30901‐1463
,LLC
MORRIS CONLEY                       6138 WITT DR                                                                                     GREENWOOD          IN   46143‐8571
MORRIS CONLEY                       24080 MORTON ST                                                                                  OAK PARK           MI   48237‐2185
MORRIS COOPER                       203 N 7TH ST                                                                                     ELWOOD             IN   46036‐1406
MORRIS COUNTY SUPERIOR COURT        PO BOX 449                                                                                       FLORHAM PARK       NJ   07932‐0449
OFFICER JOHN D FORLENZA JR
MORRIS COUNTY TREASURER             501 WEST MAIN                                                                                    COUNCIL GROVE      KS   66846
MORRIS COUPLING CO INC              TENNESSEE TUBEBENDING DIV       2240 W 15TH ST                                                   ERIE               PA   16505‐4510
MORRIS COWAN                        75 S JACKSON ST                                                                                  SANDUSKY           MI   48471‐1352
MORRIS CRAFT JR                     1316 S 17TH ST                                                                                   SAGINAW            MI   48601‐2223
MORRIS CTY SUPERIOR CT OFFICER      ACT OF H M HOLLOWAY             PO BOX 39                                                        PARSIPPANY         NJ   07054‐0039
MORRIS CUSHMAN                      440 COUNTRY MEADOWS BLVD                                                                         PLANT CITY         FL   33565‐8748
MORRIS D HARRIS                     421 W SHERRY DR                                                                                  TROTWOOD           OH   45426‐3613
MORRIS DALLAIRE                     2600 W 11 1/2 MILE RD                                                                            IRONS              MI   49644‐9067
MORRIS DAVID                        14600 WESTON PKWY STE 300                                                                        CARY               NC   27513‐2260
MORRIS DAVID                        799 N 1915 W                                                                                     PRICE              UT   84501‐4633
MORRIS DAVID L                      PO BOX 3402                                                                                      JANESVILLE         WI   53547‐3402
MORRIS DAVIS                        24220 N FOREST DR                                                                                LAKE ZURICH        IL   60047‐8827
MORRIS DEBORAH                      MORRIS, DEBORAH                 649 N YORK ST                                                    ELMHURST           IL   60126‐1604
MORRIS DEBRA                        1390 COUNTY ROAD 28                                                                              RANBURNE           AL   36273‐3046
MORRIS DEFIBAUGH                    207 HEIM RD                                                                                      MANCHESTER         TN   37355‐4215
MORRIS DICK                         10265 ULMERTON RD LOT 195                                                                        LARGO              FL   33771‐4136
MORRIS DINKINS                      464 MONTANA AVE                                                                                  PONTIAC            MI   48341‐2533
MORRIS DINKLER                      29 TRACTION AVE                                                                                  NEW LEBANON        OH   45345‐1139
MORRIS DIXON                        3714 JAMES MADISON RD                                                                            JACKSON            MS   39213
MORRIS DIXON JR                     6441 WESTANNA DR                                                                                 DAYTON             OH   45426
MORRIS DOREY                        313 SLEEPER                                                                                      CHARLOTTE          MI   48813‐8430
MORRIS DUCK                         4947 S LAPORTE AVE                                                                               CHICAGO            IL   60638‐2106
MORRIS DUFFY ALONSO & FALEY LLP     170 BROADWAY                                                                                     NEW YORK           NY   10038
MORRIS DUFRESNE                     105 LIBERTY AVE                                                                                  MASSENA            NY   13662‐1543
MORRIS DUREE                        4008 UPPER LAKE CIR                                                                              GRANBURY           TX   76049‐5004
MORRIS E BROWN                      NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT                                         DAINGERFIELD       TX   75638
MORRIS E DAVIS                      24220 N. FOREST DR.                                                                              LAKE ZURICH        IL   60047
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Name                               Address1                          Address2                        Address3     Address4         City                   State Zip
MORRIS E JORDAN, JR.               1022 GINGER RIDGE RD                                                                            MANCHESTER              OH 45144‐8336
MORRIS EAKINS                      1407 MONTCLAIR ST                                                                               ARLINGTON               TX 76015‐1422
MORRIS EARL (ESTATE OF) (489161)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD              OH 44067
                                                                     PROFESSIONAL BLDG
MORRIS ECKLES                      3594 DARRTOWN RD                                                                                OXFORD                 OH    45056
MORRIS EDGERLY                     2785 OTTO RD                                                                                    CHARLOTTE              MI    48813‐9790
MORRIS EDWARDS JR.                 43957 TIMBERVIEW CT                                                                             BELLEVILLE             MI    48111‐3292
MORRIS ELFED                       PO BOX 117                                                                                      ORANGE BEACH           AL    36561‐0117
MORRIS ELLIS                       2205 E RUDISILL BLVD                                                                            FORT WAYNE             IN    46806‐1978
MORRIS ENGRAM                      14716 ROSEMARY ST                                                                               DETROIT                MI    48213‐1538
MORRIS ERVIN                       6178 MARATHON RD                                                                                OTTER LAKE             MI    48464‐9668
MORRIS ESSIX                       15748 RUTHERFORD ST                                                                             DETROIT                MI    48227‐1924
MORRIS EVA                         MORRIS, EVA                       1501 REDROCK DR                                               GALLUP                 NM    87301‐5649
MORRIS EVANS                       PO BOX 2261                                                                                     MORRISTOWN             TN    37816‐2261
MORRIS EVANS                       5966 SE 127TH PL                                                                                BELLEVIEW              FL    34420‐5910
MORRIS F SHEPHERD JR               403 E JEFFERSON ST                                                                              TECUMSEH               OK    74873
MORRIS FAWKES                      1601 OTTO RD                                                                                    CHARLOTTE              MI    48813‐9713
MORRIS FITZGERALD                  3719 E 6 MILE CREEK RD                                                                          OWOSSO                 MI    48867‐9633
MORRIS FLAGG                       2306 HOSMER ST                                                                                  SAGINAW                MI    48601‐1516
MORRIS FLESHMAN                    9466 MCCORD RD                                                                                  ORIENT                 OH    43146‐9518
MORRIS FLIPPIN                     160 SINCLAIR ST APT 354                                                                         RENO                   NV    89501‐2051
MORRIS FORD                        1530 PLEASANT RUN RD                                                                            HELTONVILLE            IN    47436‐8637
MORRIS FOX                         321 W LAMONT RD                                                                                 HUNTINGTON             IN    46750‐9601
MORRIS FRALEY                      9894 COLUMBUS CINNTI RD                                                                         CINCINNATI             OH    45241
MORRIS FRANCIS                     5236 BETHEL DR                                                                                  LAKELAND               FL    33810‐5490
MORRIS FRANKLIN                    PO BOX 48                                                                                       MARKLEVILLE            IN    46056‐0048
MORRIS FRANKLIN                    7221 GREEN MEADOW DR                                                                            NORTH RICHLAND HILLS   TX    76180‐6700
MORRIS FRAPPIER                    105 N JACKSON BOX 151                                                                           NEY                    OH    43549
MORRIS FREEMAN                     3493 FAIRWAY DR                                                                                 CRETE                   IL   60417‐1046
MORRIS FREEMAN (446500)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD             OH    44067
                                                                     PROFESSIONAL BLDG
MORRIS GARDNER                     3614 E 34TH ST                                                                                  INDIANAPOLIS           IN    46218‐2168
MORRIS GEORGIA                     DBA SHANANIGANS THE CLOWN         4234 WOODWORTH AVE                                            HOLT                   MI    48842‐1439
MORRIS GOODMAN                     P.O. BOX 715                                                                                    WOODRIDGE              NY    12789
MORRIS GREGORY A                   DBA S3 AUDIO                      42179 BRAMPTON CT                                             NORTHVILLE             MI    48168‐2016
MORRIS GRESH                       LAW OFFICES OF PETER G ANGELOS    100 NORTH CHARLES STREET        22ND FLOOR                    BALTIMORE              MD    21201
MORRIS GUY                         2913 WARREN BURTON RD                                                                           SOUTHINGTON            OH    44470‐9501
MORRIS H JONES                     3505 MELODY LN                                                                                  BALTIMORE              MD    21244‐2241
MORRIS HABIB                       1383 SHEFFIELD DR NE                                                                            ATLANTA                GA    30329‐3420
MORRIS HALL                        G3264 AUGUSTA ST                                                                                FLINT                  MI    48532‐5112
MORRIS HALL                        1 BISHOPS DR                      THE ST. LAWRENCE REHAB                                        LAWRENCEVILLE          NJ    08648‐2050
MORRIS HALLST LAWRENCE INC         2381 LAWRENCEVILLE RD                                                                           LAWRENCEVILLE          NJ    08648‐2025
MORRIS HARDISTY                    8529 N NORM ANDERSON RD                                                                         BLOOMINGTON            IN    47404‐8604
MORRIS HARDYMON                    6902 W SEDAN CT                                                                                 HOMOSASSA              FL    34446‐3426
MORRIS HARGROVE                    BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.            OH    44236
MORRIS HARRIS                      421 W SHERRY DR                                                                                 TROTWOOD               OH    45426‐3613
MORRIS HATCHETT                    PO BOX 110932                                                                                   NASHVILLE              TN    37222‐0932
MORRIS HAYES                       641 N HARDIN HTS                                                                                HARRODSBURG            KY    40330‐9234
MORRIS HENDERSON                   2061 JOY RD                                                                                     AUBURN HILLS           MI    48326‐2625
MORRIS HENDRICK                    2190 S OUTER DR                                                                                 SAGINAW                MI    48601‐6640
MORRIS HENRY (492085)              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD             OH    44067
                                                                     PROFESSIONAL BLDG
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Name                               Address1                         Address2                          Address3   Address4         City              State Zip
MORRIS HERKLESS                    1600 S M ST                                                                                    ELWOOD             IN 46036‐2845
MORRIS HICKS                       2530 CHATHAM WOODS DR SE                                                                       GRAND RAPIDS       MI 49546‐6753
MORRIS HICKS                       3443 LUM RD                                                                                    LAPEER             MI 48446‐8342
MORRIS HILL JR                     4197 E 189TH ST                                                                                CLEVELAND          OH 44122‐6959
MORRIS HILL JR                     3740 KNOLLBROOK DR                                                                             FRANKLIN           OH 45005‐4917
MORRIS HOLMES                      PO BOX 2392                                                                                    SAGINAW            MI 48605‐2392
MORRIS HOMER P (429501)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MORRIS HOPKINS                     3334 SWEETBRIER RD                                                                             ALBANY            GA 31701‐7517
MORRIS HOWARD S                    BERRY, WILLIAM TODD              950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    CHRIST, LAUIRE                   950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    GORDON, ROBERT G                 950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    GORDON, SARAH L                  950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    JACOVELLI, JACK                  950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    JOHNSON, BRUCE                   950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    MAURER, JULIA                    950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    MORRIS, HOWARD S                 45 W COURT ST                                                 DOYLESTOWN        PA 18901‐4223
MORRIS HOWARD S                    MORRIS, HOWARD S                 2 KINGS HIGHWAY WEST                                          HADDONFIELD       NJ 08033
MORRIS HOWARD S                    MORRIS, HOWARD S                 950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    MORRIS, HOWARD S                 204 TWO NESHAMINY INTERPLEX                                   TREVOSE           PA 19053
MORRIS HOWARD S                    MORRIS, HOWARD S                 1818 MARKET ST STE 2500                                       PHILADELPHIA      PA 19103‐3650
MORRIS HOWARD S                    NARY, IRENE                      950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    NELSON, NORMAN                   950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    NELSON, SUSAN                    950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    PECKAT, JONATHAN R               950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    ROCHOW, WALTER                   950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HOWARD S                    WEAVER, ROBERT C                 950 WEST UNIVERSITY DRIVE SUITE                               ROCHESTER         MI 48307
                                                                    300
MORRIS HUNTER                      1927 LATHROP ST SE                                                                             ATLANTA           GA   30315‐6919
MORRIS HUTCHINS                    217 SOUTHAMPTON ST                                                                             BUFFALO           NY   14208‐2312
MORRIS I I I, C S                  760 MELLISH DR                                                                                 LAPEER            MI   48446‐3339
MORRIS I I I, JAMES                18164 JEANETTE ST                                                                              SOUTHFIELD        MI   48075‐1946
MORRIS II, ADAM J                  502 S FARRAGUT ST                                                                              BAY CITY          MI   48708‐7359
MORRIS II, STEVE                   1413 MACKINAW ST                                                                               SAGINAW           MI   48602‐2541
MORRIS III, HENRY                  8313 DEER CREEK CT                                                                             GRAND BLANC       MI   48439‐9261
MORRIS III, JAMES                  18164 JEANETTE ST                                                                              SOUTHFIELD        MI   48075‐1946
MORRIS III, JAMES E                1012 WILLOW GROVE CT                                                                           ROCHESTER HILLS   MI   48307‐2544
MORRIS IROV/NANCY COLLEEN MORRIS   ICO THE LANIER LAW FIRM P C      6810 FM 1960 WEST                                             HOUSTON           TX   77069
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Name                         Address1                             Address2                         Address3                     Address4         City                 State Zip
MORRIS IVY                   502 ASHLEY CREEK CT                                                                                                 STONE MOUNTAIN        GA 30083
MORRIS J WOODSON             313 CHEROKEE DR                                                                                                     DAYTON                OH 45427‐2014
MORRIS J. KASSIN             150 BROADWAY, ROOM 1007                                                                                             NEW YORK              NY 10038
MORRIS JACKSON               THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                                    HOUSTON               TX 77017
MORRIS JACQUELINE            80579 SHEFFIELD AVE                                                                                                 INDIO                 CA 92203‐4825
MORRIS JAMES                 6512 PIEDMONT ST                                                                                                    ODESSA                TX 79762‐5246
MORRIS JAMES (137407)        GREITZER & LOCKS                     1500 WALNUT STREET                                                             PHILADELPHIA          PA 19102
MORRIS JAMES C (429502)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                    NORFOLK               VA 23510
                                                                  STREET, SUITE 600
MORRIS JAMES LLP             500 DELAWARE AVE STE 1500                                                                                           WILMINGTON           DE 19801‐1494
MORRIS JAMES LLP             ATT: CARL N. KUNZ, III, JEFFREY R.   500 DELAWARE AVENUE, SUITE 500   ATTY FOR MONSTER                              WILMINGTON           DE 19801
                             WAXMAN                                                                WORLDWIDE, INC.
MORRIS JAMES LLP             JEFFREY R WAXMAN                     500 DELEWARE AVE                 STE 1500                                      WILMINGTON           DE   19899‐2306
MORRIS JEFFERSON             649 LOOKOUT ST                                                                                                      PONTIAC              MI   48342‐2947
MORRIS JENNIFER              485 RUSTIN DR                                                                                                       DALLAS               GA   30157‐7886
MORRIS JENNINGS              32 MONROE PL                         FELLOWSHIP HOUSE                                                               BLOOMFIELD           NJ   07003‐3510
MORRIS JILES                 1160 HEATHERWOOD LN                                                                                                 PONTIAC              MI   48341‐3181
MORRIS JIMICK                218 STONEHEDGE DR                    C/O RALPH BROADWATER                                                           ELYRIA               OH   44035‐8308
MORRIS JOHN                  MORRIS, JOHN                         PO BOX 50577                                                                   IDAHO FALLS          ID   83405‐0577
MORRIS JOHN                  30000 PIKE DR                                                                                                       BENTLEYVILLE         OH   44022‐1667
MORRIS JOHN                  MORRIS, SANDY                        SIMMON JOHN G                    796 MEMORIAL DRIVE P O BOX                    IDAHO FALLS          ID   83405
                                                                                                   50577
MORRIS JOHN (339760)         ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                     BALTIMORE            MD 21202
                                                                  CHARLES CENTER 22ND FLOOR
MORRIS JOHN HENRY (429503)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                    NORFOLK              VA 23510
                                                                  STREET, SUITE 600
MORRIS JOHNSON               6027 PENNSYLVANIA ST                                                                                                DETROIT              MI   48213‐3149
MORRIS JONES                 3505 MELODY LN                                                                                                      BALTIMORE            MD   21244‐2241
MORRIS JONES                 3913 W SAMARIA RD                                                                                                   TEMPERANCE           MI   48182‐9789
MORRIS JORDAN JR             118 TAMMERA LN                                                                                                      MOUNT ORAB           OH   45154‐8378
MORRIS JOSEPH                8548 HIGHLANDS TRCE                                                                                                 TRUSSVILLE           AL   35173‐3816
MORRIS JOSEPHER              6662 BOCA DEL MAR DR #611                                                                                           BOCA RATON           FL   33433‐5720
MORRIS JR, ALFRED E          4543 ALLGOOD SPRINGS DR                                                                                             STONE MOUNTAIN       GA   30083‐4811
MORRIS JR, ARTHUR E          3500 N DALINDA RD                                                                                                   MUNCIE               IN   47303‐1679
MORRIS JR, ARTHUR EDWARD     3500 N DALINDA RD                                                                                                   MUNCIE               IN   47303‐1679
MORRIS JR, BENNIE R          3479 GREENS MILL RD                                                                                                 SPRING HILL          TN   37174‐2125
MORRIS JR, CHARLES E         1154 VILLA FLORA DR                                                                                                 O FALLON             MO   63366‐4443
MORRIS JR, CHARLES E         620 REDAH AVE                                                                                                       LOCUST               NC   28097‐9547
MORRIS JR, CHARLES L         18968 WOODLAND STREET                                                                                               HARPER WOODS         MI   48225‐2067
MORRIS JR, CHARLES R         4045 EVANS RD                                                                                                       HOLLY                MI   48442‐9415
MORRIS JR, CLEANDRE          3260 FOUNTAIN FALLS WAY UNIT 1066                                                                                   NORTH LAS VEGAS      NV   89032‐2240
MORRIS JR, D A               3111 NE RUSSELL RD                                                                                                  KANSAS CITY          MO   64117‐2150
MORRIS JR, DAVID D           1527 US ROUTE 68 S                                                                                                  XENIA                OH   45385‐7643
MORRIS JR, DENVER A          2107 RADCLIFFE AVE                                                                                                  FLINT                MI   48503‐4746
MORRIS JR, EARL              1215 HUGHES AVE                                                                                                     FLINT                MI   48503‐6703
MORRIS JR, EDMOND W          28020 NIEMAN ST                                                                                                     SAINT CLAIR SHORES   MI   48081‐2937
MORRIS JR, EDWARD H          7149 W WHITE BIRCH AVE                                                                                              LAKE CITY            MI   49651‐8509
MORRIS JR, EDWARD H          6211 E SURREY RD                                                                                                    CLARE                MI   48617‐9651
MORRIS JR, EUELL O           1800 WINDSOR DR                                                                                                     ARLINGTON            TX   76012‐4531
MORRIS JR, FRANK             601 THOMPSON ST                                                                                                     CHARLESTON           WV   25311‐2009
MORRIS JR, HENRY             10194 EDGEWOOD DR                                                                                                   GRAND BLANC          MI   48439‐9481
MORRIS JR, J T               16137 COUNTY ROAD 108                                                                                               BRISTOL              IN   46507‐9587
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Name                               Address1                         Address2                      Address3     Address4         City            State Zip
MORRIS JR, JAMES C                 1108 E LAYTON DR                                                                             OLATHE           KS 66061‐2936
MORRIS JR, JAMES T                 22332 CRESTWOOD ST                                                                           WOODHAVEN        MI 48183‐5245
MORRIS JR, JAMES W                 8308 E CLINTON TRL                                                                           EATON RAPIDS     MI 48827‐9085
MORRIS JR, JERRY D                 2147 S ETHEL ST                                                                              DETROIT          MI 48217‐1654
MORRIS JR, LEONARD C               335 KINGSTON RD                                                                              BENTON           LA 71006‐9718
MORRIS JR, LILTON E                2450 WILLOW DR SW                                                                            WARREN           OH 44485‐3348
MORRIS JR, LOWELL D                26605 CENTRAL PARK BLVD                                                                      OLMSTED FALLS    OH 44138‐2625
MORRIS JR, NORMAN R                3755 WILLOW CREEK DR                                                                         DAYTON           OH 45415‐2034
MORRIS JR, PRESTON                 1321 AVENUE A                                                                                FLINT            MI 48503‐1477
MORRIS JR, ROBERT F                1481 WHITE HILL RD               #1                                                          WELLSVILLE       NY 14895
MORRIS JR, ROOSEVELT               1114 N LINN ST                                                                               BAY CITY         MI 48706‐3739
MORRIS JR, THOMAS G                716 MAYFLOWER AVE                                                                            LINCOLN PARK     MI 48146‐3044
MORRIS JR, WAYNE                   1405 E MICHIGAN ST                                                                           INDIANAPOLIS     IN 46201‐3015
MORRIS JR, WILLARD W               892 CAMERON AVE                                                                              PONTIAC          MI 48340‐3210
MORRIS JR, WILLIAM                 1514 WASHINGTON BLVD APT 308                                                                 DETROIT          MI 48226‐1788
MORRIS JR., LOUIE A                315 LEE ROAD 359                                                                             VALLEY           AL 36854‐6733
MORRIS JR., RICHARD L              4759 NODDINS RD                                                                              BELDING          MI 48809‐9511
MORRIS JR., RICHARD LEE            4759 NODDINS RD                                                                              BELDING          MI 48809‐9511
MORRIS JR., STANLEY W              2041 NICHOLS RD                                                                              FLUSHING         MI 48433‐9726
MORRIS K BOWERS                    4068 TRAIL RIDGE DR                                                                          FRANKLIN         TN 37067‐4057
MORRIS KALEWARD                    876 11TH ST                                                                                  PLAINWELL        MI 49080‐9521
MORRIS KATZ                        13202 DELAIRE LANDING ROAD                                                                   PHILADELPHIA     PA 19114
MORRIS KILGORE                     1407 S BUFFALO AVE                                                                           MARION           IN 46953‐1061
MORRIS KRETZER                     4160 W 54TH ST                   LOT # 185                                                   MOUNT MORRIS     MI 48458
MORRIS KUCK                        27 VINTAGE LANE                                                                              HONEY BROOK      PA 19344‐9747
MORRIS L ARMSTRONG                 LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET      22ND FLOOR                    BALTIMORE        MD 21201
MORRIS L CHAMBERLAIN               4161 WOODROW AVE                                                                             BURTON           MI 48509‐1051
MORRIS L DIXON                     3714 JAMES MADISON RD                                                                        JACKSON          MS 39213‐3017
MORRIS L LANE                      7000 E 132ND ST                                                                              GRANDVIEW        MO 64030‐3321
MORRIS L MOORE                     1115 BIRCH ST                                                                                MAUMEE           OH 43537‐3030
MORRIS L RUBIN TUST DTD 07/08/92   LARRY E RUBIN TTEE               PO BOX 452                                                  SOUTH CHATHAM    MA 02659‐0452
MORRIS LAFRANCE                    463 W MAPLE ST                                                                               SAINT CHARLES    MI 48655‐1227
MORRIS LAING EVANS BROCK &         KENNEDY CHARTERED                200 W DOUGLAS 4TH FL                                        WICHITA          KS 67202
MORRIS LANE                        7000 E 132ND ST                                                                              GRANDVIEW        MO 64030‐3321
MORRIS LANGHAM                     108 CHURCH ST BOX 43                                                                         LESLIE           MI 49251
MORRIS LANIER                      884 COUNTY ROAD 652                                                                          ROANOKE          AL 36274‐7012
MORRIS LAWRENCE                    4751 TAMARACK LN                                                                             SPENCER          IN 47460‐5971
MORRIS LEARTIS JR                  7 MARKET ST                                                                                  OSSINING         NY 10562‐3213
MORRIS LEE                         4065 ZINFANDEL WAY                                                                           INDIANAPOLIS     IN 46254‐4653
MORRIS LEE                         7420 STATE ROAD D                                                                            CAMDENTON        MO 65020‐8163
MORRIS LEROY (459215)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MORRIS LEWIS                       15861 TULLER ST                                                                              DETROIT         MI   48238‐1239
MORRIS LEWITTER                    4800 N FEDERAL HWY STE 301A                                                                  BOCA RATON      FL   33431‐3410
MORRIS LIMING                      3341 WILDWOOD RD.                                                                            HOLLY           MI   48442
MORRIS LITTLE                      10200 VAN BUREN ST                                                                           BELLEVILLE      MI   48111‐1446
MORRIS LOCKWOOD                    6311 GOLF LAKES COURT B                                                                      BAY CITY        MI   48706‐9367
MORRIS LOVE                        3231 CARR ST                                                                                 FLINT           MI   48506‐1941
MORRIS LOVINGER                    22A MANSFIELD                                                                                BOCA RATON      FL   33434
MORRIS LOWE                        3213 DAKOTA AVE                                                                              FLINT           MI   48506‐3040
MORRIS LUALLEN                     1210 SPENCER PIKE RD                                                                         SPRINGVILLE     IN   47462‐5373
MORRIS LUCKETT                     4007 STRATFORD AVE                                                                           LANSING         MI   48911‐2255
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Name                                 Address1                        Address2                         Address3   Address4         City               State Zip
MORRIS LYMAN                         PO BOX 127                      9319 FOSTER ST ‐                                             FOSTORIA            MI 48435‐0127
MORRIS M HILL JR                     3740 KNOLLBROOK DR                                                                           FRANKLIN            OH 45005‐4917
MORRIS MAGAZINE NETWORK              DARRELL DODDS                   3850 N. NEVADA AVE.                                          COLORADO SPRINGS    CO 80907‐5339
MORRIS MAGAZINE NETWORK              DARRELL DODDS                   3850 N NEVADA AVE                                            COLORADO SPRINGS    CO 80907‐5339
MORRIS MANUFACTURING & SALES CORP    1015 E MECHANIC ST                                                                           BRAZIL              IN 47834‐3321

MORRIS MANUFACTURING AND SALES       1015 E MECHANIC ST                                                                           BRAZIL              IN   47834‐3321
CORP
MORRIS MARIA                         MORRIS, MARIA                   120 WEST MADISON STREET , 10TH                               CHICAGO             IL   60602
                                                                     FLOOR
MORRIS MARRELL                       4045 RIVERSHELL LN                                                                           LANSING            MI    48911‐1906
MORRIS MASSEY                        PO BOX 1060                                                                                  FLINT              MI    48501‐1060
MORRIS MATERIAL HANDLING             315 W FOREST HILL AVE                                                                        OAK CREEK          WI    53154‐2905
MORRIS MATERIAL HANDLING             P&H MORRIS MATERIAL HANDLING    S40W24160 ROCKWOOD WAY                                       WAUKESHA           WI    53189‐7933
MORRIS MATERIAL HANDLING             P&H MORRIS MATERIAL HANDLING    PO BOX 78943                                                 MILWAUKEE          WI    53278‐0943
MORRIS MATERIAL HANDLING             NIKKI KOLANOWSKI                315 W FOREST HILL AVE                                        OAK CREEK          WI    53154‐2905
MORRIS MATERIAL HANDLING INC         25357 DEQUINDRE RD                                                                           MADISON HEIGHTS    MI    48071‐4241
MORRIS MATERIAL HANDLING INC         287 PITTSBURGH RD STE 3                                                                      BUTLER             PA    16002‐3993
MORRIS MATERIAL HANDLING INC         315 W FOREST HILL AVE                                                                        OAK CREEK          WI    53154‐2905
MORRIS MATERIAL HANDLING INC         1360 DONALDSON HWY              STE B                                                        ERLANGER           KY    41018‐1149
MORRIS MATERIAL HANDLING INC         1360 DONALDSON HWY STE J                                                                     ERLANGER           KY    41018‐1149
MORRIS MATERIAL HANDLING LLC         2712 S 163RD ST                                                                              NEW BERLIN         WI    53151‐3610
MORRIS MC FARLAND                    6358 WALTON ST                                                                               DETROIT            MI    48210‐1128
MORRIS MD                            2337 W MOUNT MORRIS RD                                                                       MOUNT MORRIS       MI    48458‐8256
MORRIS MEADOWS                       5343 FARM RD                                                                                 WATERFORD          MI    48327‐2423
MORRIS MICHAEL                       PO BOX 1096                                                                                  DEL RIO            TX    78841‐1096
MORRIS MICHELLE A                    8413 LAKEVALLEY DR                                                                           CINCINNATI         OH    45247‐3588
MORRIS MILLEN                        2601 METAMORA RD                                                                             OXFORD             MI    48371‐2355
MORRIS MILLSPAUGH                    1301 N LINCOLNSHIRE BLVD                                                                     MARION             IN    46952‐1615
MORRIS MILTON E (429504)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510
                                                                     STREET, SUITE 600
MORRIS MITCHELL                      5411 LAWSON RD                                                                               GAINESVILLE        GA    30506‐2724
MORRIS MONTY                         8205 CROOKED STICK LN                                                                        ARGYLE             TX    76226‐2116
MORRIS MOORE                         1115 BIRCH ST                                                                                MAUMEE             OH    43537‐3030
MORRIS MOORE                         1918 N ROUTIERS AVE                                                                          INDIANAPOLIS       IN    46219‐1953
MORRIS MOORE CHEVROLET‐BUICK, INC.   MORRIS MOORE                    1415 HIGHWAY 96 BYPASS                                       SILSBEE            TX    77656

MORRIS MORAN                         PO BOX 23                                                                                    OLCOTT             NY    14126‐0023
MORRIS MORROW                        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS         OH    44236
MORRIS MULLINS                       50770 WILLIS RD                                                                              BELLEVILLE         MI    48111‐9393
MORRIS MUNN                          20561 PINE TREE LN                                                                           ESTERO             FL    33928‐2531
MORRIS MUNTZ                         1509 WEST AVE NW                                                                             WARREN             OH    44483‐3332
MORRIS MURRAY                        PO BOX 750583                                                                                MEMPHIS            TN    38175‐0583
MORRIS MYLES                         147 KINGSBERRY DR                                                                            ROCHESTER          NY    14626‐2208
MORRIS NICHOLS ARSHT & TUNNELL       PO BOX 1347                                                                                  WILMINGTON         DE    19899‐1347
MORRIS NIELSEN                       12 SUNSET AVE                                                                                PENN YAN           NY    14527‐1824
MORRIS NOBLE (348824)                KAZAN MCCLAIN EDISES ABRAMS,    171 12TH ST STE 300                                          OAKLAND            CA    94607‐4911
                                     FERNANDZ, LYONS & FARRISE
MORRIS NOLAN                         3271 LIBERTY ELLERTON RD                                                                     DAYTON             OH    45418‐1316
MORRIS NOLAN                         3271 LIBERTY‐ELLERTON RD                                                                     DAYTON             OH    45418‐1316
MORRIS NORRIS                        4586 HIGHWAY 68                                                                              SALEM              MO    65560‐8390
MORRIS NORVELL                       C/O COONEY & CONWAY             120 N LA SALLE 30TH FL                                       CHICAGO            IL    60602
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Name                            Address1                          Address2                           Address3   Address4            City               State Zip
MORRIS O D (429505)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MORRIS O'BRIEN                  BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH 44236
MORRIS ORAL                     FEARE, JERMAINE                   SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS ORAL                     FEARE, SHERIZE                    SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS ORAL                     FERGUSON, SANDRA                  SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS ORAL                     MORRIS, ARIEL                     SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS ORAL                     MORRIS, ERIC                      SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS ORAL                     MORRIS, ORAL                      SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS ORAL                     PLATINUM WRENCH AUTOMOTIVE INC    SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS ORAL                     STEVENSON, MARK                   SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS ORAL                     STEVENSON, STEFFI                 SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H2Y4
                                                                  STREET                                        CANADA
MORRIS OWEN                     6912 TALLADAY RD                                                                                    MILAN              MI   48160‐8817
MORRIS PALMER                   4397 STANLEY RD                                                                                     GENESEE            MI   48437‐7719
MORRIS PARRISH                  PO BOX 114                                                                                          DEFIANCE           OH   43512‐0114
MORRIS PATRICIA (491244)        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH   44067
                                                                  PROFESSIONAL BLDG
MORRIS PAYNE JR                 25971 HANOVER ST                                                                                    DEARBORN HTS       MI   48125‐1419
MORRIS PEARMAN                  441 E WEST ST                                                                                       GEORGETOWN         IL   61846‐1707
MORRIS PENERMON                 14164 WHITCOMB ST                                                                                   DETROIT            MI   48227‐2127
MORRIS PICKERING & SANNER       900 BANK OF AMERICA PLAZA         300 S 4TH ST                                                      LAS VEGAS          NV   89101
MORRIS PILLARS                  2323 BROOKWOOD DR                                                                                   CHATTANOOGA        TN   37421‐1759
MORRIS PLATER                   19292 WARRINGTON DR                                                                                 DETROIT            MI   48221‐1883
MORRIS POLICH & PURDY LLP       501 W BROADWAY STE 500                                                                              SAN DIEGO          CA   92101‐3520
MORRIS PONTIAC GMC INC          GANLEY MANAGEMENT COMPANY         13215 DETROIT AVE                                                 LAKEWOOD           OH   44107
MORRIS PONTIAC GMC INC          POKLAR ROBERT A & ASSOCIATES      1111 SUPERIOR AVE E STE 1000                                      CLEVELAND          OH   44114‐2568
MORRIS PONTIAC GMC INC ROBERT   WHANN & ASSOCIATES                6300 FRANTZ RD                                                    DUBLIN             OH   43017‐1307
MORRIS PONTIAC GMC INC ROBERT   6300 FRANTZ RD                                                                                      DUBLIN             OH   43017‐1307
MORRIS PONTIAC‐GMC, INC.        ROBERT MORRIS                     39290 CENTER RIDGE RD                                             NORTH RIDGEVILLE   OH   44039
MORRIS PONTIAC‐GMC, INC.        ROBERT J MORRIS III               39290 CENTER RIDGE ROAD                                           NORTH RIDGEVILLE   OH   44039
MORRIS PONTIAC‐GMC, INC.        ROBERT JAMES MORRIS III           39290 CENTER RIDGE RD.                                            NORTH RIDGEVILLE   OH   44039
MORRIS PORTER                   4906 OAKLAWN DR                                                                                     CINCINNATI         OH   45227‐1410
MORRIS PORTER                   11315 MARION CENTER RD                                                                              HOAGLAND           IN   46745‐9729
MORRIS PRATT                    1218 W 4800 S                                                                                       TAYLORSVILLE       UT   84123
MORRIS PRICE                    PO BOX 961141                                                                                       RIVERDALE          GA   30296‐6901
MORRIS PRINGLE                  861 5TH AVE                                                                                         AKRON              OH   44306‐1449
MORRIS PYRON                    13871 ROBINSON LN                                                                                   ELKMONT            AL   35620‐7517
MORRIS R DINKLER                29 TRACTION AVE                                                                                     NEW LEBANON        OH   45345‐1139
MORRIS R JONES                  100 INDIAN TRL                                                                                      TAYLORS            SC   29687‐4932
MORRIS REED                     3909 COLONIAL DR                                                                                    ANDERSON           IN   46012‐9444
MORRIS REED                     3211 SPRING DR                                                                                      ANDERSON           IN   46012‐9231
MORRIS REISMAN C (ESTATE OF)    EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                    NEW HAVEN          CT   06510
                                                                  265 CHURCH ST
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Name                              Address1                           Address2                      Address3                Address4         City                State Zip
MORRIS RICHARDS                   50121 ALDWYCH ST                                                                                          MACOMB               MI 48044‐1126
MORRIS RIDDLE                     4115 CHANCELLOR DR                                                                                        THOMPSONS STATION    TN 37179‐5311
MORRIS ROBERT                     2860 SEDONA LN                                                                                            MILFORD              MI 48381‐3080
MORRIS ROBERT ESTATE OF           C/O MORRIS LILLIAN                 7906 THORNHILL ST                                                      SAN ANTONIO          TX 78209‐2049
MORRIS ROBERT J JR                2141 INDUSTRIAL PKWY                                                                                      SILVER SPRING        MD 20904
MORRIS ROBERT L & ASSOCIATES PC   6059 S QUEBEC ST STE 630                                                                                  ENGLEWOOD            CO 80111
MORRIS ROBERT L (VA) (354913)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                            NORFOLK              VA 23510
                                                                     STREET, SUITE 600
MORRIS ROBERTS                    12151 E. CO. RD.300S                                                                                      GREENTOWN           IN   46936
MORRIS RONALD (ASB) (355939)      ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                                    NEW YORK            NY   10006‐1638
MORRIS ROSENZWEIG                 2260 ESPLANADE                                                                                            BRONX               NY   10469
MORRIS ROUGEAU                    1260 HOLMES RD                     APT 3                                                                  YPSILANTI           MI   48198‐3967
MORRIS ROY A (400744)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                            NORFOLK             VA   23510
                                                                     STREET, SUITE 600
MORRIS RUSSELL                    PO BOX 281                                                                                                DAYTON              OH 45401
MORRIS RUTLEDGE                   19945 PREST ST                                                                                            DETROIT             MI 48235‐1808
MORRIS S JOHNSON                  C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                              HOUSTON             TX 77007
                                  BOUNDAS LLP
MORRIS SAMPSON                    6936 CANDLEWICK WAY                                                                                       FLORISSANT          MO 63033‐5113
MORRIS SCOTT                      MORRIS, SCOTT                      THE MOULTON LAW FIRM, P.C.    6401 EAST THOMAS ROAD                    SCOTTSDALE          AZ 85251
                                                                                                   SUITE 101
MORRIS SEEM                       555 GARFIELD DR                                                                                           PERRYSBURG          OH   43551‐1618
MORRIS SEVERT                     4208 MARIANNE DR                                                                                          FLUSHING            MI   48433‐2329
MORRIS SHAFFER                    300 W LOUELLA DR                                                                                          HURST               TX   76054‐3531
MORRIS SHEPHARD                   3702 CRAIG DR                                                                                             FLINT               MI   48506‐2674
MORRIS SHEPHERD JR                403 E JEFFERSON ST                                                                                        TECUMSEH            OK   74873‐4413
MORRIS SHERMAN                    6155 RANDON DR                                                                                            TOLEDO              OH   43611‐1233
MORRIS SHIRLEY M                  2675 NE RIVER RD                                                                                          LAKE MILTON         OH   44429‐9780
MORRIS SHOVER                     615 WHITE ASH TRL                                                                                         MOORESVILLE         IN   46158‐2729
MORRIS SINGLETON                  3112 RIVERS BND S                                                                                         BONNE TERRE         MO   63628‐3842
MORRIS SMITH                      3110 CARTER ST S                                                                                          KOKOMO              IN   46901‐7047
MORRIS SMITH                      7988 W 550 S                                                                                              COLUMBUS            IN   47201‐9123
MORRIS SMITH                      66 W PARADE AVE                                                                                           BUFFALO             NY   14208‐2517
MORRIS SMITH                      6171 INDUSTRIAL LOOP #L106                                                                                SHREVEPORT          LA   71129
MORRIS SMITH                      2169 JAY PL SE                                                                                            ATLANTA             GA   30315‐6507
MORRIS SMITH                      4114 WATKINS DRIVE                                                                                        JACKSON             MS   39206
MORRIS SR, ARGEN F                PO BOX 604                                                                                                ROCKMART            GA   30153‐0604
MORRIS SR, DARRYL K               2808 W 75TH ST                                                                                            PRAIRIE VILLAGE     KS   66208‐3625
MORRIS SR, DAVID D                1527 US ROUTE 68 S                                                                                        XENIA               OH   45385‐7643
MORRIS SR, JOHN F                 2156B NORTH HIGHLAND AVE.          SUITE # 201                                                            JACKSON             TN   38305
MORRIS SR, JOHN F                 8174 FRANCES ROAD                                                                                         FLUSHING            MI   48433‐8825
MORRIS SR, KERMAN J               8839 W MOUNTAIN VIEW RD                                                                                   PEORIA              AZ   85345‐7033
MORRIS SR, ROBERT L               122 WESTWOOD DR                                                                                           WEST MONROE         LA   71292‐6239
MORRIS STANLEY W (478164)         ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                             BALTIMORE           MD   21202
                                                                     CHARLES CENTER 22ND FLOOR
MORRIS STIGALL                    1033 W STATE ROAD 128                                                                                     ALEXANDRIA          IN   46001‐8242
MORRIS STREET JR                  20570 WAYLAND ST                                                                                          SOUTHFIELD          MI   48076‐3157
MORRIS STRICKLAND                 PO BOX 194                                                                                                HILLSDALE           WY   82060‐0194
MORRIS STUMP                      913 W MCDONALD ST                                                                                         HARTFORD CITY       IN   47348‐1222
MORRIS TAYLOR                     37 N EDITH ST                                                                                             PONTIAC             MI   48342‐2934
MORRIS TAYLOR, JR.                607 FLOODED GUM ST                                                                                        ARLINGTON           TX   76002‐4586
MORRIS THEODORE                   MORRIS, THEODORE
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Name                        Address1                              Address2                         Address3          Address4         City            State Zip
MORRIS THOMAS               101 SAINT JAMES PL                                                                                        SAINT MARYS      GA 31558‐3626
MORRIS THOMPSON             10747 GATEWAY DR                                                                                          FISHERS          IN 46037‐9569
MORRIS THOMPSON             50 W JUDSON AVE                                                                                           YOUNGSTOWN       OH 44507‐2039
MORRIS THOMPSON             BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS       OH 44236
MORRIS TITUS                9705 N 500 E                                                                                              PENDLETON        IN 46064‐9414
MORRIS ULYSSES J (412871)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                  STREET, SUITE 600
MORRIS V MILLSPAUGH         1301 N LINCOLNSHIRE BLVD                                                                                  MARION          IN   46952‐1615
MORRIS VALLEY               1132 S JEFFERSON AVE                                                                                      SAGINAW         MI   48601‐2526
MORRIS VAN TOL              2151 N 11 MILE RD                                                                                         LINWOOD         MI   48634‐9756
MORRIS VINCENT A (300808)   BROWN TERRELL HOGAN ELLIS             804 BLACKSTONE BLDG , 233 EAST                                      JACKSONVILLE    FL   32202
                            MCCLAMMA & YEGELWEL P.A.              BAY STREET
MORRIS W BLEAU              P.O.BOX 323                           HIGHLAND AVENUE                                                     BEECH BOTTOM    WV   26030
MORRIS W FEETERMAN          230 DUNLOP AVE                                                                                            TONAWANDA       NY   14150‐7840
MORRIS W GRAY               NIX PATTERSON & ROACH LLP             GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                    DAINGERFIELD    TX   75638
MORRIS W SHERMAN            6155 RANDON DR                                                                                            TOLEDO          OH   43611‐1233
MORRIS W THUNBERG JR        1685 READING RD                       PO BOX 337                                                          BOWMANSVILLE    PA   17507‐0337
MORRIS WADE C (472125)      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA   23510
                                                                  STREET, SUITE 600
MORRIS WALKER JR            826 SUMMIT DR                                                                                             DESOTO          TX   75115‐8900
MORRIS WALTER               BRAYTON PURCELL                       222 RUSH LANDING ROAD            P O BOX 6169                       NOVATO          CA   94948
MORRIS WALTER JR            124 CAPTAINE GRAVES                                                                                       WILLIAMSBURG    VA   23185‐8906
MORRIS WATKINS              7220 FITZWILLIAM DR                                                                                       DUBLIN          OH   43017‐2406
MORRIS WAYNE F (472126)     GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA   23510
                                                                  STREET, SUITE 600
MORRIS WEEDIN               8614 EVANSTON AVE                                                                                         RAYTOWN         MO   64138‐3397
MORRIS WEST                 THE MADEKSHO LAW FIRM                 8866 GULF FREEWAY SUITE 440                                         HOUSTON         TX   77017
MORRIS WHITE                19184 STAHELIN AVE                                                                                        DETROIT         MI   48219‐2712
MORRIS WIELAND              PO BOX 103                                                                                                PINCONNING      MI   48650‐0103
MORRIS WILEY                PO BOX 1022                                                                                               MIDDLETOWN      DE   19709‐7022
MORRIS WILLIAMS             942 REMINGTON AVE                                                                                         FLINT           MI   48507‐1650
MORRIS WILLIE (492086)      BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH   44067
                                                                  PROFESSIONAL BLDG
MORRIS WILSON               111 MOSS LN                                                                                               FRANKLIN        TN   37064‐5242
MORRIS WOODSON              313 CHEROKEE DR                                                                                           DAYTON          OH   45427‐2014
MORRIS WOODWARD             5518 RENDELL LN                                                                                           CLARKSTON       MI   48348‐2170
MORRIS, A                   1425 S PARK                                                                                               SAGINAW         MI   48601‐2921
MORRIS, A'SHUSH T           8100 PINES RD APT 1D                                                                                      SHREVEPORT      LA   71129
MORRIS, ADAM J              2147 DURHAM DR                                                                                            SAGINAW         MI   48609‐9236
MORRIS, ALAIN R             APT 84                                12690 OVERSEAS HIGHWAY                                              MARATHON        FL   33050‐3506
MORRIS, ALAIN R             12690 OVERSEAS HWY APT 84                                                                                 MARATHON        FL   33050‐3506
MORRIS, ALBERT H            3135 POND HOLLOW ST                                                                                       ZEPHYRHILLS     FL   33543‐5254
MORRIS, ALBERT J            6201 BERT KOUNS INDUSTRIAL LOOP LOT                                                                       SHREVEPORT      LA   71129‐5034
                            320
MORRIS, ALDEAN L            594 CRAHEN AVE NE                                                                                         GRAND RAPIDS    MI   49525‐3474
MORRIS, ALICE F             3935 ELMSIDE VILLAGE LN APT B                                                                             NORCROSS        GA   30092‐4814
MORRIS, ALICE J             3125 N U.S. 31                                                                                            SHARPSVILLE     IN   46068‐9118
MORRIS, ALICE L             2956 NEWFOUND HARBOR DR                                                                                   MERRITT IS      FL   32952‐2862
MORRIS, ALICE L             156 WYNGATE DR                                                                                            BARBOURSVILLE   WV   25504‐1940
MORRIS, ALICE Z             80 LYME RD APT 420                                                                                        HANOVER         NH   03755‐1235
MORRIS, ALICIA              1448 WATER ST                                                                                             EATON RAPIDS    MI   48827‐1860
MORRIS, ALLEN E             2022 W MONROE ST                                                                                          SANDUSKY        OH   44870‐2025
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Name                   Address1                         Address2                           Address3   Address4             City                State Zip
MORRIS, ALMA           PO BOX 115                                                                                          HARTMAN              AR 72840‐0115
MORRIS, ALMA           P.O.BOX 115                                                                                         HARTMAN              AR 72840‐0115
MORRIS, ALONZO         3858 CRAGGY PERCH                                                                                   DOUGLASVILLE         GA 30135
MORRIS, ALONZO BILL    240 W 80TH ST                                                                                       SHREVEPORT           LA 71106‐4850
MORRIS, ALTHA L        5160 HARRY ST                                                                                       FLINT                MI 48505‐1776
MORRIS, ALVIS D        1071 COUNTY ROAD 1246                                                                               CULLMAN              AL 35057‐6704
MORRIS, AMANDA E       5000 SE FEDERAL HWY LOT 1103                                                                        STUART               FL 34997‐8572
MORRIS, ANDREW C       2259 CLOVERDALE DR SE                                                                               ATLANTA              GA 30316‐2721
MORRIS, ANDREW J       10117 FIELDWAY TRL                                                                                  HOLLY                MI 48442‐9359
MORRIS, ANN            928 E MEADOWLAWN BLVD                                                                               SEVEN HILLS          OH 44131‐2624
MORRIS, ANN            928 EAST MEADOWLAWN BLVD                                                                            SEVEN HILLS          OH 44131‐2624
MORRIS, ANNA           620 ALAYNE AVE                                                                                      GALION               OH 44833‐3307
MORRIS, ANNA           5997 TOWNSHIP ROAD 86                                                                               MOUNT GILEAD         OH 43338‐9677
MORRIS, ANNA           2402 CANNON STREET                                                                                  DANVILLE              IL 61832
MORRIS, ANNA           2402 CANNON ST                                                                                      DANVILLE              IL 61832‐4228
MORRIS, ANNE M         3250 WALTON BLVD APRT #239                                                                          ROCHESTER HILLS      MI 48309‐8309
MORRIS, ANTHONY E      6036 KLAM RD                                                                                        OTTER LAKE           MI 48464‐9718
MORRIS, ANTOINETTE R   7058 WHISPER CREEK DR                                                                               WENTZVILLE           MO 63385‐6825
MORRIS, ANTOINETTE R   2580 AUGUSTA DRIVE               APT K205                                                           HOUSTON              TX 77057‐6825
MORRIS, ARCHIE G       3928 N 75TH ST                                                                                      MILWAUKEE            WI 53216
MORRIS, ARIEL          HOWIE SACKS & HENRY LLP          SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H 2Y4
                                                        STREET                                        CANADA
MORRIS, ARNOLD         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK             VA 23510‐2212
                                                        STREET, SUITE 600
MORRIS, ARNOLD         1221 S CENTRAL AVE                                                                                  LIMA                OH   45804‐2031
MORRIS, ARTHUR C       9521 BESSEMORE ST                                                                                   DETROIT             MI   48213‐2718
MORRIS, ASENATH R      5236 SIERRA CIRCLE WEST                                                                             DAYTON              OH   45414‐3692
MORRIS, AUDREY         770 GUMSPRINGS RD                                                                                   HARTSELLE           AL   35640
MORRIS, AUDREY         770 GUM SPRINGS RD                                                                                  HARTSELLE           AL   35640‐6822
MORRIS, BANKS J        350 S 31ST ST                                                                                       SAGINAW             MI   48601‐6348
MORRIS, BARBARA        2804 PEDIGO PL                                                                                      THOMPSONS STATION   TN   37179‐9268
MORRIS, BARBARA        241 AMY DRIVE                                                                                       MARIETTA            GA   30060
MORRIS, BARBARA        1188 LOCKWOOD DR                                                                                    LOCKPORT            NY   14094‐7133
MORRIS, BARBARA A      509 BROWNING AVE                                                                                    JOANNA              SC   29351‐1019
MORRIS, BARBARA A      1806 SAINT GEORGE LN                                                                                JANESVILLE          WI   53545‐0687
MORRIS, BARBARA D      10194 EDGEWOOD DR                                                                                   GRAND BLANC         MI   48439‐9481
MORRIS, BARBARA L      PO BOX 205                                                                                          MARIETTA            OK   73448
MORRIS, BARBARA M      1075‐B N. JEFFERSON ST                                                                              MEDINA              OH   44256‐1212
MORRIS, BARBARA M      1075 N JEFFERSON ST UNIT B                                                                          MEDINA              OH   44256‐1212
MORRIS, BARBARA M      1930 MIDDLEWOOD CT                                                                                  HIGH POINT          NC   27265‐1431
MORRIS, BARBARA R      85 BERNA KNOLL CT                                                                                   HENDERSONVILLE      NC   28792
MORRIS, BARNEY S       3214 MILAN RD                                                                                       SANDUSKY            OH   44870‐5677
MORRIS, BARRE F        1311 BARRINGTON DR                                                                                  COPPELL             TX   75019‐3760
MORRIS, BEATRICE       175 PATTERSON DR                                                                                    MUNFORD             AL   36268
MORRIS, BELVHA J       887 CHAPMAN CIR                                                                                     STONE MTN           GA   30088‐2554
MORRIS, BELVHA JEAN    887 CHAPMAN CIR                                                                                     STONE MTN           GA   30088‐2554
MORRIS, BEN            PO BOX 13777                                                                                        ATLANTA             GA   30324‐0777
MORRIS, BENJAMIN I     3415 S 155TH RD                                                                                     BOLIVAR             MO   65613‐8319
MORRIS, BENJAMIN R     6341 HOWARD HWY                                                                                     BELLEVUE            MI   49021‐9424
MORRIS, BENTON L       3994 OAK KNOLL ROAD                                                                                 WATERFORD           MI   48328‐4068
MORRIS, BENTON L       14901 MORRIS RD                                                                                     GATE CITY           VA   24251‐4337
MORRIS, BERNADINE M    3864 S AIRPORT RD                                                                                   BRIDGEPORT          MI   48722‐9586
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Name                 Address1                         Address2           Address3        Address4         City            State Zip
MORRIS, BERNICE      15869 HOLMUR ST                                                                      DETROIT          MI 48238‐1382
MORRIS, BERNICE      2714 BURT ST                                                                         SAGINAW          MI 48601‐1564
MORRIS, BERTHA       2405 WINDSPRINT WAY APT 1519                                                         ARLINGTON        TX 76014‐1838
MORRIS, BERTHA L.    6327 BEECHTON ST                                                                     DETROIT          MI 48210‐1120
MORRIS, BESSIE M     131 E MOORE ST                                                                       FLINT            MI 48505‐5369
MORRIS, BETHEL E     1706 W SLATER RD                                                                     CHEBOYGAN        MI 49721‐8220
MORRIS, BETTINA A    1597 HAMLET DR                                                                       TROY             MI 48084‐5702
MORRIS, BETTY C      15744 JONAS AVE                                                                      ALLEN PARK       MI 48101‐1753
MORRIS, BETTY J      105 KEEL RD                                                                          ROODVILLE        GA 30170
MORRIS, BETTY J      PO BOX 74490                                                                         ROMULUS          MI 48174‐0490
MORRIS, BETTY J      3837 CROSS CREEK TRL                                                                 OWENSBORO        KY 42303‐1897
MORRIS, BETTY J      14415 STAGECOACH RD                                                                  MAGNOLIA         TX 77355‐8407
MORRIS, BETTY M      23700 CLARK RD                   C/O LINDA SMITH                                     BELLEVILLE       MI 48111‐9648
MORRIS, BEULAH       4401 KITRIDGE RD                                                                     HUBER HEIGHTS    OH 45424‐6024
MORRIS, BEVERLY J    501 E LYNDON AVE                                                                     FLINT            MI 48505‐5240
MORRIS, BEVERLY J    12043 S SAGINAW ST               APT 5‐15                                            GRANDBLANC       MI 48439‐1443
MORRIS, BILL W       3737 SANTA FE DR                                                                     CHOCTAW          OK 73020‐5914
MORRIS, BILLIE R     2504 FAIRWAY DR                                                                      BEL AIR          MD 21015‐6328
MORRIS, BILLY D      100 FARMHILL DR                                                                      HOPKINSVILLE     KY 42240‐8633
MORRIS, BILLY R      1106 CLARENCE O DELL RD                                                              BOWLING GREEN    KY 42101‐8259
MORRIS, BILLY RAY    1106 CLARENCE O DELL RD                                                              BOWLING GREEN    KY 42101‐8259
MORRIS, BOBBY G      PO BOX 162                                                                           MYSTIC           GA 31769‐0162
MORRIS, BOBBY H      1022 HIGHLAND DR                                                                     DICKSON          TN 37055‐6100
MORRIS, BOBBY J      205 KING ST 44                                                                       CRESCENT CITY    CA 95531
MORRIS, BOBBY R      9 QUAIL VIEW RDG                                                                     CLEVELAND        GA 30528‐9211
MORRIS, BONITA L     8381 WILSON RD                                                                       OTISVILLE        MI 48463‐9478
MORRIS, BONNIE J     545 PINCH HWY                                                                        CHARLOTTE        MI 48813‐9718
MORRIS, BONNIE L     320 GATEWOOD DR APT O5                                                               LANSING          MI 48917‐2513
MORRIS, BRANDY       6313 CARLISLE HWY                                                                    CHARLOTTE        MI 48813‐9555
MORRIS, BRENDA S     223 DEERPATH DR                                                                      MANCHESTER       TN 37355‐3975
MORRIS, BRENDA S     229 WINFREY CT                                                                       PLEASANT VIEW    TN 37146‐7954
MORRIS, BRENDA S     229 WINFREY CT.                                                                      PLEASANTVIEW     TN 37146
MORRIS, BRIAN J      94 MARK CT                                                                           GERMANTOWN       OH 45327‐9358
MORRIS, BRIAN K      53 SOUTH WRIGHT AVENUE                                                               DAYTON           OH 45403‐2249
MORRIS, BRUCE        1423 GRAVES AVE APT 906                                                              OXNARD           CA 93030‐8284
MORRIS, BRUCE A      6612 SPRING BOTTOM WAY APT 285                                                       BOCA RATON       FL 33433
MORRIS, BRUCE E      526 BRIAR MEADOWS CT                                                                 WENTZVILLE       MO 63385‐1045
MORRIS, BRUCE R      12123 LAKE RD                                                                        OTISVILLE        MI 48463‐9754
MORRIS, CARL         5101 S BREEZEWOOD DR                                                                 MUNCIE           IN 47302‐9191
MORRIS, CARL E       20000 US HIGHWAY 19 N LOT 829                                                        CLEARWATER       FL 33764‐5001
MORRIS, CARL G       135 NAVARRA ST                                                                       BROWNSVILLE      TX 78526‐1827
MORRIS, CARL N       4671 EAGLE RD                                                                        HIGHLAND         MI 48356‐2025
MORRIS, CARL R       3883 LAMIE HWY R#5                                                                   CHARLOTTE        MI 48813
MORRIS, CARMA NETA   910 S WILSON AVE                                                                     EL RENO          OK 73036‐5261
MORRIS, CARMA NETA   910 S WILSON                                                                         EL RENO          OK 73036‐5261
MORRIS, CARNEY       PORTER & MALOUF PA               4670 MCWILLIE DR                                    JACKSON          MS 39206‐5621
MORRIS, CAROL E      5559 CLOVER LN                                                                       TOLEDO           OH 43623‐1666
MORRIS, CAROLYN J    5964 HWY 36 EAST                                                                     SOMERVILLE       AL 35670‐5337
MORRIS, CAROLYN J    5964 HIGHWAY 36 E                                                                    SOMERVILLE       AL 35670‐5337
MORRIS, CAROLYN N    620 REDAH AVE                                                                        LOCUST           NC 28097‐9547
MORRIS, CARRIE R     7537 SAUTERNE CT                                                                     INDIANAPOLIS     IN 46278‐1645
MORRIS, CARROL G     13425 CONE ST                                                                        NUNICA           MI 49448‐9733
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Name                     Address1                             Address2                         Address3   Address4         City            State Zip
MORRIS, CATHERINE A      120 WAGENER STREET                                                                                PENN YAN         NY 14527‐1649
MORRIS, CATHERINE A      120 WAGENER ST                                                                                    PENN YAN         NY 14527‐1649
MORRIS, CERENITY         2955 SANDY RUN RD                                                                                 RICEBORO         GA 31323‐4233
MORRIS, CHARLES A        31621 5 MILE RD                                                                                   LIVONIA          MI 48154‐3121
MORRIS, CHARLES B        13732 TRIUMPH CT                                                                                  HUDSON           FL 34667‐6564
MORRIS, CHARLES B        4424 ATLEIGH COURT                                                                                CHARLOTTE        NC 28226‐5025
MORRIS, CHARLES E        403 DOVER DR                                                                                      RICHARDSON       TX 75080
MORRIS, CHARLES E        1527 W HOME AVE                                                                                   FLINT            MI 48505‐2557
MORRIS, CHARLES E        1768 N OLIVE CHURCH RD                                                                            PARAGON          IN 46166‐9260
MORRIS, CHARLES H        210 S COUNTY ROAD 900 W                                                                           DALEVILLE        IN 47334‐9302
MORRIS, CHARLES L        5933 CARNATION RD                                                                                 DAYTON           OH 45449‐2901
MORRIS, CHARLES P        8558 HIGHWAY T                                                                                    RICHMOND         MO 64085‐8548
MORRIS, CHARLES R        1708 SOUTH BROADWAY STREET                                                                        LEAVENWORTH      KS 66048‐3719
MORRIS, CHARLES R        4045 EVANS ROAD                                                                                   HOLLY            MI 48442‐9415
MORRIS, CHARLES R        1708 S BROADWAY ST                                                                                LEAVENWORTH      KS 56048‐3719
MORRIS, CHARLES R        3605 HANNAN RD APT 304                                                                            WAYNE            MI 48184‐1096
MORRIS, CHARLES W        3908 LUKENS RD                                                                                    GROVE CITY       OH 43123‐8806
MORRIS, CHARLES W, SR    GLASSER AND GLASSER, CROWN CENTER    580 EAST MAIN STREET SUITE 600                               NORFOLK          VA 23510

MORRIS, CHERYL ANN       7466 CROWN PARK                                                                                   BELTON          MO   64012‐3076
MORRIS, CHERYL L         331 HORTON ST                                                                                     LAPEER          MI   48446‐2241
MORRIS, CHERYL L         8493 CLARRIDGE RD                                                                                 CLARKSTON       MI   48348‐2515
MORRIS, CHERYL P         5514 HIDDEN VALLEY CT                                                                             LINDEN          MI   48451‐8842
MORRIS, CHESTER H        2637 WOODLAWN DR                                                                                  ANDERSON        IN   46013‐9629
MORRIS, CHRISTOPH L      322 W NOLANA AVE                                                                                  MCALLEN         TX   78504
MORRIS, CHRISTOPHER F    24104 DEVONSHIRE DR                                                                               NOVI            MI   48374‐3744
MORRIS, CINDY K          PO BOX 452                                                                                        MILFORD         MI   48381‐0452
MORRIS, CLARA R          836 BRIDGE AVE                                                                                    GREENSBURG      PA   15601‐5605
MORRIS, CLAUDE D         1002 HIDDEN VIEW PL                                                                               ROUND ROCK      TX   78665‐1182
MORRIS, CLAUDE E         20500 LESURE ST                                                                                   DETROIT         MI   48235‐1538
MORRIS, CLEOPATRE        5208 SANDALWOOD DR                                                                                GRAND BLANC     MI   48439
MORRIS, CLIFFORD O       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
MORRIS, CLINT            C/O THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD          SUITE 44                    CORAL GABLES    FL   33146
MORRIS, CLINTON J        62 52ND AVE                                                                                       BELLWOOD        IL   60104‐1050
MORRIS, CORDELIA         29684 PARTY LN                                                                                    WARRENTON       MO   63383‐4693
MORRIS, CORDELIA         29684 PARTY LANE                                                                                  WARRENTON       MO   63383‐4693
MORRIS, CRAIG L          14142 SWANEE BEACH DR                                                                             FENTON          MI   48430‐1469
MORRIS, CRAIG LYNN       14142 SWANEE BEACH DR                                                                             FENTON          MI   48430‐1469
MORRIS, CYNTHIA E        226 STEVENS AVE APT 4                                                                             PORTLAND        ME   04102‐2262
MORRIS, CYNTHIA M        1508 CHEROKEE ST                                                                                  ARLINGTON       TX   76012‐4312
MORRIS, D P              3725 GEORGE BUSBEE PKWY NW APT 101                                                                KENNESAW        GA   30144‐6618

MORRIS, DAHANA R         4565 BUFORT BLVD                                                                                  DAYTON          OH   45424‐5589
MORRIS, DALE E           1025 RIDGE RD                                                                                     VIENNA          OH   44473‐9701
MORRIS, DAMION D         5082 GRAYTON ST                                                                                   DETROIT         MI   48224‐2140
MORRIS, DAMION DESHAWN   5082 GRAYTON ST                                                                                   DETROIT         MI   48224‐2148
MORRIS, DANIEL           4862 N COUNTY RD 300 E                                                                            PERU            IN   46970
MORRIS, DANIEL A         2522 56TH ST S                                                                                    GULFPORT        FL   33707‐5229
MORRIS, DANIEL A         2522 56TH STREET SOUTH                                                                            ST PETERSBURG   FL   33707‐5229
MORRIS, DANIEL G         6473 SIMPSON RD                                                                                   OVID            MI   48866‐9545
MORRIS, DANNY R          14 STAR DUST TRL SE                                                                               CARTERSVILLE    GA   30120‐6842
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Name                    Address1                          Address2            Address3         Address4         City              State Zip
MORRIS, DARCY D         192 RINGWOOD WAY                                                                        ANDERSON           IN 46013‐4253
MORRIS, DARLENE M       1450 W WILSON RD                                                                        CLIO               MI 48420‐1644
MORRIS, DARLENE MARIE   1450 W WILSON RD                                                                        CLIO               MI 48420‐1644
MORRIS, DARRELL E       5099 PINE HILL DR                                                                       NOBLESVILLE        IN 46062‐7850
MORRIS, DARROLD R       4107 MITCHELL DR                                                                        FLINT              MI 48506‐2048
MORRIS, DAUGHTLESS E    4112 OCONNER RD                                                                         FLINT              MI 48504‐6923
MORRIS, DAVEY L         3649 MILAN AVE SW                                                                       WYOMING            MI 49509‐3960
MORRIS, DAVID B         6788 LULU RD                                                                            IDA                MI 48140‐9754
MORRIS, DAVID E         2804 PEDIGO PL                                                                          THOMPSONS STN      TN 37179‐9268
MORRIS, DAVID E         164 EARNHART DR                                                                         CARLISLE           OH 45005‐6222
MORRIS, DAVID E         219 SMOKEY DR                                                                           COLUMBIA           TN 38401‐6125
MORRIS, DAVID H         9391 LOONEY RD                                                                          PIQUA              OH 45356
MORRIS, DAVID L         PO BOX 3402                                                                             JANESVILLE         WI 53547‐3402
MORRIS, DAVID M         14009 WISNER AVE                                                                        GRANT              MI 49327‐9103
MORRIS, DAVID M         1265 CRICKLEWOOD ST SW                                                                  WYOMING            MI 49509‐2744
MORRIS, DAVID W         3018 MAES RD                                                                            WEST BRANCH        MI 48661‐9232
MORRIS, DAVIE           2467 LOTHROP ST                                                                         DETROIT            MI 48206‐2550
MORRIS, DEAN E          511 LEEWARD CT                                                                          ITHACA             MI 48847‐1259
MORRIS, DEBORAH         19106 RAVINE RIDGE                                                                      SPRING LAKE        MI 49456
MORRIS, DEBORAH A       9495 SOLEDAD CANYON RD                                                                  LAS CRUCES         NM 88011‐8414
MORRIS, DEBORAH ANN     9495 SOLEDAD CANYON RD                                                                  LAS CRUCES         NM 88011‐8414
MORRIS, DEBORAH L       19183 S HIGHLITE DR                                                                     CLINTON TWP        MI 48035‐2549
MORRIS, DEBRA           PO BOX 234                                                                              LINEVILLE          AL 36266‐0234
MORRIS, DEBRA A         7105 N CRYSTAL AVE                                                                      KANSAS CITY        MO 64119
MORRIS, DEBRA A         138 CASSANDRA DR                                                                        NILES              OH 44446‐2035
MORRIS, DEBRA LIN       3836 DEER SPRINGS DR                                                                    ROCHESTER          MI 48306‐4732
MORRIS, DEE D           2358 MCDANIELLES DR                                                                     FAIRBORN           OH 45324‐2195
MORRIS, DELBERT L       PO BOX 423                                                                              SPENCER            IN 47460‐0423
MORRIS, DELIA J         306 EAST 10TH STREET                                                                    GEORGETOWN          IL 61846‐1105
MORRIS, DELLEAN         429 W BALTIMORE                                                                         FLINT              MI 48505‐6320
MORRIS, DELMA           6300 MEMORIAL                                                                           DETROIT            MI 48228
MORRIS, DELMA           6300 MEMORIAL ST                                                                        DETROIT            MI 48228‐3884
MORRIS, DELORES J       2754 HALE RD                                                                            WILMINGTON         OH 45177‐8512
MORRIS, DELORIS L       10304 E 56TH ST                                                                         RAYTOWN            MO 64133‐2856
MORRIS, DENISE C        1767 BRIARCLIFF CT 1215                                                                 FAIRFIELD          OH 45014
MORRIS, DENISE L        5139 AUTUMN RIDGE CT                                                                    WEST BLOOMFIELD    MI 48323‐2702
MORRIS, DENNIS L        3581 KEHOE RD                                                                           CLINTON            MI 49236‐9456
MORRIS, DENNIS L        172 WESTHAVEN DR.                                                                       TROY               OH 45373‐1091
MORRIS, DENNIS M        460 EL LAGO CIR                                                                         CLIMAX SPRINGS     MO 65324
MORRIS, DENNIS R
MORRIS, DENNIS W        PO BOX 142                                                                              GARDNER           KS   66030‐0142
MORRIS, DENNIS W        257 SPRINGBROOK BLVD                                                                    DAYTON            OH   45405‐1651
MORRIS, DENNIS WAYNE    PO BOX 142                                                                              GARDNER           KS   66030‐0142
MORRIS, DEREK D         211 CLINK BOULEVARD                                                                     CRESTLINE         OH   44827‐1649
MORRIS, DESIREE         14419 E STATE FAIR ST                                                                   DETROIT           MI   48205
MORRIS, DEWAYNE E       R R 2BOX 40                                                                             SHARPSVILLE       IN   46068‐9713
MORRIS, DIANA           3315 WEBBER                                                                             SAGINAW           MI   48601‐4025
MORRIS, DIANE           7590 DEAN ROAD                                                                          FENTON            MI   48430‐9044
MORRIS, DIANE K         140 PINE VALLEY DR                                                                      STANLEY           NC   28164‐9507
MORRIS, DILLARD F       3435 OAKHILL PL                                                                         CLARKSTON         MI   48348‐1052
MORRIS, DONALD          802 EWING AVE                                                                           LIMA              OH   45801‐3426
MORRIS, DONALD A        2646 CUMBERLAND RD                                                                      BERKLEY           MI   48072‐1511
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Name                  Address1                         Address2                           Address3   Address4             City                State Zip
MORRIS, DONALD D      29659 SHASTA DAISY PL                                                                               CANYON COUNTRY       CA 91387‐1929
MORRIS, DONALD E      6710 ELMRIDGE DR                                                                                    FLINT                MI 48505‐2480
MORRIS, DONALD E      993 KATHERWOOD DRIVE SOUTHWEST                                                                      ATLANTA              GA 30310‐4641
MORRIS, DONALD E      993 XATHERWOOD DR SW                                                                                ATLANTA              GA 30310‐4641
MORRIS, DONALD E      844 S SHILOH RD                  RFD #2                                                             ALGOMA               WI 54201‐9439
MORRIS, DONALD J      165 S ACADEMY ST                                                                                    JANESVILLE           WI 53548‐3742
MORRIS, DONALD L      1339 WILLARD RD                                                                                     BIRCH RUN            MI 48415‐8611
MORRIS, DONALD L      12514 S PRINCETON AVE                                                                               CHICAGO               IL 60628‐7225
MORRIS, DONALD R      5525 PUTNAM DR                                                                                      W BLOOMFIELD         MI 48323‐3722
MORRIS, DONALD R      39306 BELLA VISTA DR                                                                                STERLING HEIGHTS     MI 48313
MORRIS, DONALD R      PO BOX 68                                                                                           BUCHANAN             GA 30113‐0068
MORRIS, DONNIE L      2323 MOUNT LEBANON RD                                                                               LEWISBURG            TN 37091‐6344
MORRIS, DONOVAN D     31125 WESTWOOD RD                                                                                   FARMINGTON HILLS     MI 48331‐1471
MORRIS, DORIS         23818 KENSINGTON ST                                                                                 TAYLOR               MI 48180‐3443
MORRIS, DORIS L       438 PAGE ST                                                                                         FLINT                MI 48505‐4644
MORRIS, DOROTHY       2719 W 11TH ST                                                                                      ANDERSON             IN 46011‐2480
MORRIS, DOROTHY H     1020 ORCHARD ST                                                                                     ALMA                 MI 48801‐1474
MORRIS, DOROTHY J     1210 SUBSTATION RD                                                                                  BRUNSWICK            OH 44212‐1912
MORRIS, DOROTHY M     1123 NORTHWEST SCENIC DRIVE                                                                         GRAIN VALLEY         MO 64029‐7340
MORRIS, DOROTHY W     193 A W SCHMIDT RD                                                                                  TENNESSEE RIDGE      TN 37178‐6041
MORRIS, DOUGLAS L     6229 COLD SPRING TRL                                                                                GRAND BLANC          MI 48439‐7970
MORRIS, DOUGLAS M     5713 CARLTON DR                                                                                     BEDFORD HTS          OH 44146‐2338
MORRIS, DULCIE M      6474 M 33                                                                                           ONAWAY               MI 49765‐9355
MORRIS, DURAD E       3433 MELWOOD DR                                                                                     MELVINDALE           MI 48122‐1266
MORRIS, DURAD E       3433 MELWOOD                                                                                        MELVINDALE           MI 48122‐1266
MORRIS, E J
MORRIS, EARL          731 S 11TH ST                                                                                       SAGINAW             MI   48601‐2104
MORRIS, EARL J        820 N COUNTY ROAD 500 E                                                                             MUNCIE              IN   47302‐9042
MORRIS, EARL J        9620 WOODLAWN CT                                                                                    PERRINTON           MI   48871‐9625
MORRIS, EARL J        777 INDUSTRY RD                                                                                     ATWATER             OH   44201‐7106
MORRIS, EARL L        176 EMS D23 LN                                                                                      SYRACUSE            IN   46567‐7952
MORRIS, EDDIE B       27046 SOUTHWESTERN HWY                                                                              REDFORD             MI   48239‐2366
MORRIS, EDDIE W       3569 N STATE ROAD 135                                                                               FRANKLIN            IN   46131‐8382
MORRIS, EDDY F        1604 ROCKMOOR DR                                                                                    FORT WORTH          TX   76134‐2525
MORRIS, EDITH J       7556 E SHORE DR                                                                                     INVERNESS           FL   34450‐8023
MORRIS, EDMOND D      713 ESSEX DR                                                                                        ANDERSON            IN   46013‐1608
MORRIS, EDMOND W      49980 DOWNING CT LOT 96                                                                             SHELBY TOWNSHIP     MI   48315
MORRIS, EDRIC H       3846 HICKORY ST                                                                                     INKSTER             MI   48141‐2914
MORRIS, EDWARD P      8342 VERA DR                                                                                        BROADVIEW HEIGHTS   OH   44147‐2203
MORRIS, ELAINE        3435 OAKHILL PL                                                                                     CLARKSTON           MI   48348‐1052
MORRIS, ELIZABETH A   PO BOX 203                                                                                          ALGONAC             MI   48001‐0203
MORRIS, ELIZABETH R   6988 MCGRADY DR                                                                                     MELBOURNE           FL   32940‐6649
MORRIS, ELIZABETH W   286 COLLETT BRIDGE RD                                                                               ALVATON             KY   42122‐9675
MORRIS, ELLEN A       347 CRESTWOOD DR                                                                                    OXFORD              MI   48371‐6178
MORRIS, ELLSWORTH B   20785 FAYLOR RD                                                                                     COPEMISH            MI   49625‐9773
MORRIS, EMERSON L     58 PLANTATION RD                                                                                    LEESBURG            FL   34788‐2515
MORRIS, EMIL G        1010 NOVAK RD                                                                                       GRAFTON             OH   44044‐1226
MORRIS, EMMA          11317 FAIRPORT                                                                                      CLEVELAND           OH   44108‐3105
MORRIS, EMMA J        11860 CLARK RD                                                                                      DAVISBURG           MI   48350
MORRIS, EMORY C       117 BRER RABBIT RD                                                                                  EATONTON            GA   31024‐5857
MORRIS, ERIC          HOWIE SACKS & HENRY LLP          SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H 2Y4
                                                       STREET                                        CANADA
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Name                      Address1                      Address2              Address3       Address4         City                 State Zip
MORRIS, ERIN L            8504 SQUIRES LN NE                                                                  WARREN                OH 44484‐1644
MORRIS, ERNESTINE
MORRIS, ETTA M            SHANNON LAW FIRM              100 W GALLATIN ST                                     HAZLEHURST           MS    39083‐3007
MORRIS, EVA               1501 REDROCK DR                                                                     GALLUP               NM    87301‐5649
MORRIS, EVALENE S         4191 E PATTERSON RD                                                                 BEAVERCREEK          OH    45430‐1027
MORRIS, EVALENE S         4191 E. PATTERSON RD                                                                BEAVERCREEK          OH    45430‐1027
MORRIS, EXCELL            1154 RUTH AVE                                                                       FLINT                MI    48505
MORRIS, EXCELL            6715 ELMRIDGE DR                                                                    FLINT                MI    48505‐2479
MORRIS, EZELL             317 NW 84TH ST                                                                      OKLAHOMA CITY        OK    73114‐3403
MORRIS, FAYE P            10 TRUMBULL CT APT 1                                                                YOUNGSTOWN           OH    44505
MORRIS, FELICIA L         PO BOX 201                                                                          WARREN               OH    44482
MORRIS, FLORA M           2805 EMERALD DRIVE                                                                  KALAMAZOO            MI    49001‐4546
MORRIS, FLORENCE G        228 EAST FROST ST                                                                   WACO                 TX    76705‐1735
MORRIS, FLORINE H         3889 SHAGBARK LN                                                                    DAYTON               OH    45440‐3471
MORRIS, FLOYD T           4534 IVY CT                                                                         CLARKSTON            MI    48348‐1436
MORRIS, FRANCES E         1064 HESS LAKE DRIVE RR3                                                            GRANT                MI    49327
MORRIS, FRANCES MARGARE   3300 JOHNSON ST                                                                     CLIO                 MI    48420‐1515
MORRIS, FRANK             17139 BLOOM ST                                                                      DETROIT              MI    48212‐1220
MORRIS, FRANK E           11034 NORTH DITMAN AVENUE                                                           KANSAS CITY          MO    64157‐1149
MORRIS, FRANK E           360 SIMONS FORK RD                                                                  WALLBACK             WV    25285‐9758
MORRIS, FRANK J           1911 ANTIETAM CIR                                                                   COLUMBIA             TN    38401‐6807
MORRIS, FRANK L           107 WEEMS ST                                                                        PICAYUNE             MS    39466
MORRIS, FRANKLIN R        10965 WATERLOO MUNITH RD                                                            MUNITH               MI    49259‐9661
MORRIS, FRED T            2160 KARI BROOK DR                                                                  MONROE               GA    30655‐5885
MORRIS, GABRIELLE M       5663 DEPAUW AVE                                                                     YOUNGSTOWN           OH    44515‐4111
MORRIS, GABRIELLE M       5663 DEPAUW                                                                         YOUNGSTOWN           OH    44515‐4111
MORRIS, GALE D            RR 3 BOX 248                                                                        WALTERS              OK    73572‐9563
MORRIS, GARLAND L         1809 BRUCE ST                                                                       MORRIS                IL   60450‐1118
MORRIS, GARRY L           6443 BEECHER RD                                                                     CLAYTON              MI    49235‐9655
MORRIS, GARY A            37434 OCEAN AIR LN                                                                  FRANKFORD            DE    19945‐4287
MORRIS, GARY A            12420 MARGARET DR                                                                   FENTON               MI    48430‐8856
MORRIS, GARY D            PO BOX 281                                                                          MORRICE              MI    48857‐0281
MORRIS, GARY D            306 CREDITON ST                                                                     LAKE ORION           MI    48362‐2024
MORRIS, GARY DAVID        PO BOX 281                                                                          MORRICE              MI    48857‐0281
MORRIS, GARY L            9724 OAKBROOKE LN APT 7                                                             HOWELL               MI    48843‐6353
MORRIS, GARY L            6455 GOLFVIEW DR                                                                    BLOOMFIELD VILLAGE   MI    48301‐2070
MORRIS, GARY L            PO BOX 135                                                                          RIVESVILLE           WV    26588‐0135
MORRIS, GARY T            219 N CASS ST                                                                       STANDISH             MI    48658
MORRIS, GARY W            540 WILD FLOWER CT                                                                  ANDERSON             IN    46013‐1167
MORRIS, GAY L             20 BLUSH HILL DR                                                                    CONROE               TX    77304‐1109
MORRIS, GAYLE             5860 E 30TH ST                                                                      INDIANAPOLIS         IN    46218‐3316
MORRIS, GENE H            PO BOX 300693                                                                       KANSAS CITY          MO    64130‐0693
MORRIS, GENE H            2741 RAYTOWN RD                                                                     KANSAS CITY          MO    64128‐1354
MORRIS, GENE M            416 NORTH ST                                                                        GORDON               OH    45304‐9515
MORRIS, GENEVIEVE         8 ERMINE LN                                                                         NEW CASTLE           DE    19720‐3015
MORRIS, GEORGE            2310 SANTA BARBARA DR                                                               FLINT                MI    48504‐2020
MORRIS, GEORGE            9320 BRONZE RIVER AVE                                                               LAS VEGAS            NV    89149‐1686
MORRIS, GEORGE A          3559 AQUARINA ST                                                                    WATERFORD            MI    48329‐2105
MORRIS, GEORGE A          7075 BROOKSTONE DR                                                                  FRANKLIN             OH    45005
MORRIS, GEORGE E          1450 CARVER RD                                                                      CLIMAX               MI    49034‐9796
MORRIS, GEORGE F          PAUL HANLEY & HARLEY          1608 4TH ST STE 300                                   BERKELEY             CA    94710‐1749
MORRIS, GEORGE H          258 MILFORD ST BLDG 2016                                                            ROCHESTER            NY    14615
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Name                     Address1                       Address2                       Address3   Address4         City           State Zip
MORRIS, GEORGE R         3094 BRIARLEAF DR                                                                         DECATUR         GA 30034‐4509
MORRIS, GEORGE W         17573 WARREN AVE                                                                          LAKE MILTON     OH 44429‐9745
MORRIS, GEORGE W         1524 HARRY ST                                                                             YPSILANTI       MI 48198‐6623
MORRIS, GERALD           3485 CRESTMONT DR                                                                         SAGINAW         MI 48603‐3205
MORRIS, GERALD J         4625 COMPEAU RD                                                                           ALPENA          MI 49707‐9220
MORRIS, GERALD M         6188 DUFFIELD RD                                                                          FLUSHING        MI 48433‐9280
MORRIS, GERALD MADISON   6188 DUFFIELD RD                                                                          FLUSHING        MI 48433‐9280
MORRIS, GILDA M          142 E WICHITA ST                                                                          SHREVEPORT      LA 71101‐5031
MORRIS, GILDA MARCIA     142 E WICHITA ST                                                                          SHREVEPORT      LA 71101‐5031
MORRIS, GLADYS           1417 PLAZA PLACE,                                                                         WENTZVILLE      MO 63385
MORRIS, GLEN A           1162 BRUNES BLVD                                                                          BROWNSBURG      IN 46112‐7899
MORRIS, GLEN L           1302 W COURT ST                                                                           JANESVILLE      WI 53548‐3539
MORRIS, GLENDA K         216 BELVA ST                                                                              CARROLLTON      GA 30117‐2534
MORRIS, GLENDA K         216 BELVA STREET                                                                          CARROLTON       GA 30117
MORRIS, GLENDA N.        310 DRAKE AVENUE                                                                          BOLINGBROOK      IL 60490‐3104
MORRIS, GLENDA R         1618 FRANCIS STREET                                                                       PORT HURON      MI 48060‐4146
MORRIS, GLENN R          803 MCBEE RD                                                                              BELLBROOK       OH 45305‐9747
MORRIS, GLENN R          1513 PHILOMENE BLVD                                                                       LINCOLN PARK    MI 48146‐2316
MORRIS, GLORIA D         56 RIVERVIEW DR                                                                           ERIE            MI 48133‐9482
MORRIS, GORDON W         15230 CANBERRA ST                                                                         ROSEVILLE       MI 48066‐4027
MORRIS, GREGORY A        5515 W SMOKEY ROW RD                                                                      GREENWOOD       IN 46143‐9266
MORRIS, GREGORY A        4685 FLOWERS RD                                                                           MANSFIELD       OH 44903‐8619
MORRIS, GREGORY ALAN     4685 FLOWERS RD                                                                           MANSFIELD       OH 44903‐8619
MORRIS, GREGORY E        2225 TIN BILL RD                                                                          CARO            MI 48723‐9497
MORRIS, GREGORY K        4803 RIDGE RD                                                                             KOKOMO          IN 46901‐3640
MORRIS, GREGORY L        26209 CAMBRIDGE LN #7‐203                                                                 CLEVELAND       OH 44128
MORRIS, GUSSIE M         APT 6                          830 BUCKROE AVENUE                                         HAMPTON         VA 23664‐1346
MORRIS, GUSSIE M         830‐6 BUCKROE AVE                                                                         HAMPTON         VA 23664
MORRIS, HALLIE F         5310 GLENMINA DR                                                                          KETTERING       OH 45440‐2212
MORRIS, HAROLD D         PO BOX 735                                                                                HOLT            MI 48842‐0735
MORRIS, HAROLD D         1225 CASS AVE SE                                                                          GRAND RAPIDS    MI 49507‐1726
MORRIS, HAROLD E         5629 MAYVILLE DR                                                                          DAYTON          OH 45432‐1716
MORRIS, HAROLD J         PO BOX 300518                                                                             ARLINGTON       TX 76007‐0518
MORRIS, HAROLD JASON     21357 REIMANVILLE AVE                                                                     FERNDALE        MI 48220‐2231
MORRIS, HAROLD S         13498 S. U.S. 31                                                                          KOKOMO          IN 46901
MORRIS, HAROLD W         4657 MARTUS RD                                                                            NORTH BRANCH    MI 48461
MORRIS, HAROLD W         PO BOX 4212                                                                               AUBURN HILLS    MI 48321
MORRIS, HAROLD W         MOODY EDWARD O                 801 W 4TH ST                                               LITTLE ROCK     AR 72201‐2107
MORRIS, HAROLD WAYNE     COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                    HOUSTON         TX 77002‐1751
MORRIS, HARRISON W       16060 EDMORE DR                                                                           DETROIT         MI 48205‐1433
MORRIS, HELEN A          1045 SHERMAN TER                                                                          CINCINNATI      OH 45231‐2521
MORRIS, HELEN A          1045 SHERMAN TR                                                                           CINCINNATI      OH 45231‐2521
MORRIS, HELEN G          120 WHIPPOORWILL                                                                          MANSFIELD       OH 44906‐3461
MORRIS, HENRY            BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH 44067
                                                        PROFESSIONAL BLDG
MORRIS, HENRY C          2103 ALGONAC DR                                                                           FLINT          MI   48532‐4507
MORRIS, HENRY CLAUDE     2103 ALGONAC DR                                                                           FLINT          MI   48532‐4507
MORRIS, HENRY K          16912 PINEHURST ST                                                                        DETROIT        MI   48221‐2899
MORRIS, HERMAN J         512 W BAKER ST                                                                            FLINT          MI   48505‐4105
MORRIS, HERMAN J         8190 MENTOR AVE                                                                           MENTOR         OH   44060‐5752
MORRIS, HOMER P          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK        VA   23510‐2212
                                                        STREET, SUITE 600
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Name                   Address1                         Address2                      Address3   Address4         City           State Zip
MORRIS, HOPE A         603 DARTMOUTH ST                                                                           DEWITT          MI 48820‐9505
MORRIS, HOPE ALAMAR    603 DARTMOUTH ST                                                                           DEWITT          MI 48820‐9505
MORRIS, HOWARD S       KALIKMAN & MASNIK                2 KINGS HIGHWAY WEST                                      HADDONFIELD     NJ 08033
MORRIS, HOWARD S       EDELSON & ASSOCIATES LLC         45 W COURT ST                                             DOYLESTOWN      PA 18901‐4223
MORRIS, HOWARD S       SPECTOR ROSEMAN & KODROFF PC     1818 MARKET ST STE 2500                                   PHILADELPHIA    PA 19103‐3650
MORRIS, HOWARD S       SMOLOW & LANDIS                  204 TWO NESHAMINY INTERPLEX                               TREVOSE         PA 19053
MORRIS, HOWARD S       MILLER LAW FIRM PC               950 W UNIVERSITY DR STE 300                               ROCHESTER       MI 48307‐1887
MORRIS, HUESTON R      3305 E 20TH ST                                                                             KANSAS CITY     MO 64127‐3219
MORRIS, HUESTON R      4650 N ABINGTON DR APT C                                                                   INDIANAPOLIS    IN 46254
MORRIS, HUEY P         2130 LAUREL MILL WAY                                                                       ROSWELL         GA 30076
MORRIS, I J            2205 MARKESE AVE                                                                           LINCOLN PARK    MI 48146‐2517
MORRIS, IRA J          5238 MARY SUE AVE                                                                          CLARKSTON       MI 48346‐3927
MORRIS, IRENE          PO BOX 133                                                                                 UNION LAKE      MI 48387‐0133
MORRIS, IRIS           108 EDGEWOD DR APT D                                                                       ATTICA          IN 47918
MORRIS, IRMA J         2056 OAK RUN SOUTH DR                                                                      INDIANAPOLIS    IN 46260‐5126
MORRIS, IVA            226 CHAPEL RD                                                                              AMELIA          OH 45102‐1712
MORRIS, IVORY          19 HILDRETH RD                                                                             COLUMBUS        MS 39702‐8612
MORRIS, JACK           2252 FLOYD RD                                                                              GAINESVILLE     GA 30507‐7438
MORRIS, JACK L         1037 VESTAVIA DR SW                                                                        DECATUR         AL 35603‐2218
MORRIS, JACK L         792 ABSEGUAMI TRL                                                                          LAKE ORION      MI 48362‐1450
MORRIS, JACK M         2946 COUNTY ROAD 1435                                                                      VINEMONT        AL 35179‐7989
MORRIS, JACK N         236 COUNTRY CLUB RD                                                                        NEW BRITAIN     CT 06053‐1024
MORRIS, JACKIE R       609 HIGHWAY 466 1508‐527                                                                   LADY LAKE       FL 32159
MORRIS, JACKIE R       2802 PIN OAK DR                                                                            ANDERSON        IN 46012‐4592
MORRIS, JACKIE R       705 MARIGOLD DR                                                                            LADY LAKE       FL 32159
MORRIS, JACKIE W       1307 E HALL ST                                                                             OLNEY            IL 62450‐2456
MORRIS, JACKIE WAYNE   1307 E HALL ST                                                                             OLNEY            IL 62450‐2456
MORRIS, JACQUELINE     8383 CONGRESS DR                                                                           CANTON          MI 48187‐2017
MORRIS, JACQUELYN C    104 KYLE CT                                                                                GARDENDALE      AL 35071‐2717
MORRIS, JAINARD D      3226 ROBIN RD                                                                              DECATUR         GA 30032‐3720
MORRIS, JAMES          2255 FLOYD RD                                                                              GAINESVILLE     GA 30507‐7437
MORRIS, JAMES          GREITZER & LOCKS                 1500 WALNUT STREET                                        PHILADELPHIA    PA 19102
MORRIS, JAMES          12200 WEXFORD CLUB DR                                                                      ROSWELL         GA 30075‐1469
MORRIS, JAMES A        10217 E 96TH TER                                                                           KANSAS CITY     MO 64134‐2313
MORRIS, JAMES A        11324 E MAPLE AVE                                                                          DAVISON         MI 48423‐8771
MORRIS, JAMES A        18 GARDENVILLE ON THE GRN                                                                  WEST SENECA     NY 14224‐6310
MORRIS, JAMES B        3240 GENOA DRIVE                                                                           MURFREESBORO    TN 37128‐5068
MORRIS, JAMES B        2419 TENNYSON DR                                                                           BELLBROOK       OH 45305‐1745
MORRIS, JAMES B        3240 GENOA DR                                                                              MURFREESBORO    TN 37128‐5068
MORRIS, JAMES B        2838 BALTIC RD                                                                             BLACKVILLE      SC 29817‐3622
MORRIS, JAMES C        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                        STREET, SUITE 600
MORRIS, JAMES C        1800 TAYLOR BLAIR ROAD                                                                     W JEFFERSON    OH   43162‐9408
MORRIS, JAMES C        6004 POLK ST                                                                               TAYLOR         MI   48180‐1352
MORRIS, JAMES CURTIS   6004 POLK ST                                                                               TAYLOR         MI   48180‐1352
MORRIS, JAMES D        220 E 6TH ST                                                                               MONROE         MI   48161‐1302
MORRIS, JAMES D        PO BOX 5203                                                                                FITZGERALD     GA   31750‐5203
MORRIS, JAMES E        115 BRER RABBIT RD                                                                         EATONTON       GA   31024‐5857
MORRIS, JAMES E        1475 SHIPS DR                                                                              SOUTHOLD       NY   11971‐3929
MORRIS, JAMES E        21063 BERG RD                                                                              SOUTHFIELD     MI   48033‐4347
MORRIS, JAMES F        PO BOX 33                                                                                  ARAGON         GA   30104‐0033
MORRIS, JAMES H        140 LOVEJOY RD                                                                             HAMPTON        GA   30228‐3152
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Name                 Address1                             Address2               Address3   Address4         City               State Zip
MORRIS, JAMES H      7595 RIDGE RD                                                                           GASPORT             NY 14067‐9425
MORRIS, JAMES H      2354 GREENVILLE RD                                                                      CORTLAND            OH 44410‐9648
MORRIS, JAMES K      9261 S 825 W                                                                            EDINBURGH           IN 46124‐9632
MORRIS, JAMES K      6987 E GREENSBURG RD                                                                    FRANKLIN            IN 46131‐8285
MORRIS, JAMES L      3964 GRINDLEY PARK ST                                                                   DEARBORN HEIGHTS    MI 48125‐2220
MORRIS, JAMES L      2999 BUCKNER RD                                                                         LAKE ORION          MI 48362‐2015
MORRIS, JAMES L      799 RICHLAND ST                                                                         DEFIANCE            OH 43512‐2458
MORRIS, JAMES L      PO BOX 1264                                                                             BATESVILLE          MS 38606‐1264
MORRIS, JAMES L      790 BRONX RIVER RD APT A37                                                              BRONXVILLE          NY 10708‐7950
MORRIS, JAMES M      31 S PIONEER ST                                                                         N FT MYERS          FL 33917‐2617
MORRIS, JAMES M      765 TYUS VEAL RD                                                                        BOWDON              GA 30108‐3702
MORRIS, JAMES M      95 SKIDAWAY ISLAND PARK RD APT 304                                                      SAVANNAH            GA 31411‐1110

MORRIS, JAMES M      1343 ADAMS ST                                                                           WABASH             IN   46992‐3602
MORRIS, JAMES M      7730 E STATE ROAD 124                                                                   LA FONTAINE        IN   46940‐9026
MORRIS, JAMES Q      1211 S 24TH ST                                                                          SAGINAW            MI   48601‐6517
MORRIS, JAMES R      352 SPLIT RAIL CR                                                                       NEWPORT NEWS       VA   23602
MORRIS, JAMES R      221 CABELL LN                                                                           AMHERST            VA   24521‐4022
MORRIS, JAMES T      3257 ATLAS RD                                                                           DAVISON            MI   48423‐8788
MORRIS, JAMES W      223 DEERPATH DR                                                                         MANCHESTER         TN   37355‐3975
MORRIS, JANET A      108 NORTH 8TH AVENUE                 APT B                                              DILLION            SC   29536‐7599
MORRIS, JANET A      108 N 8TH AVE APT B                                                                     DILLON             SC   29536‐3530
MORRIS, JANET C      2395 SPENCERPORT RD                                                                     SPENCERPORT        NY   14559‐2028
MORRIS, JANET L      41 OPEN COUNTRY CT                                                                      WENTZVILLE         MO   63385‐3652
MORRIS, JANET R      3540 ARGONNE FOREST LANE                                                                DUNCANVILLE        AL   35456
MORRIS, JANICE M     425 BOUNDARY BLVD                                                                       ROTONDA WEST       FL   33947
MORRIS, JANICE S     208 BENT RIDGE DR N                                                                     DAWSONVILLE        GA   30534‐3324
MORRIS, JARROD D     165 COUSINS DR                                                                          CARLISLE           OH   45005‐6218
MORRIS, JASON D      APT 1316                             701 STEPHEN MOODY ST                               ALBUQUERQUE        NM   87123‐4029
                                                          SOUTHEAST
MORRIS, JASON P      9549 W 150 S                                                                            RUSSIAVILLE        IN   46979
MORRIS, JAY R        270 BYRKIT ST                                                                           INDIANAPOLIS       IN   46217‐3508
MORRIS, JEANNE       77 HOMESTEAD DRIVE                                                                      N TONAWANDA        NY   14120‐2451
MORRIS, JEFF J       7096 REDMOND ST                                                                         WATERFORD          MI   48327‐3852
MORRIS, JEFFREY D    2233 MATTIE LU DR                                                                       AUBURN HILLS       MI   48326‐2428
MORRIS, JEFFREY E    1082 FOXWOOD CT                                                                         WHITE LAKE         MI   48383‐3050
MORRIS, JEFFREY J    2109 E RIDGE RD                                                                         BELOIT             WI   53511‐3916
MORRIS, JEFFREY S    1674 S 300 E                                                                            WABASH             IN   46992‐8191
MORRIS, JENNIFER D   6421 WEST STREET                                                                        LEBANON            OH   45036‐9721
MORRIS, JENNY D      7730 E ST RD 124 LT 1                                                                   LA FONTAINE        IN   46940
MORRIS, JENNY W      8600 LAKE COUNTRY DR                                                                    FORT WORTH         TX   76179‐3111
MORRIS, JERI L       1106 CLARENCE O'DELL RD                                                                 BOWLING GREEN      KY   42101
MORRIS, JERLEAN D    3191 WEST HIGHWAY 5                                                                     BOWDEN             GA   30108‐3371
MORRIS, JERLEAN D    3191 W HIGHWAY 5                                                                        BOWDON             GA   30108‐3371
MORRIS, JEROME J     2395 SPENCERPORT RD                                                                     SPENCERPORT        NY   14559‐2028
MORRIS, JEROME R     22 COURTLAND ROAD                                                                       MATTAPAN           MA   02126
MORRIS, JEROME V     324 W 3RD ST S                                                                          NEWTON             IA   50208
MORRIS, JERRY        1767 BRIARCLIFF COURT                                                                   FAIRFIELD          OH   45014‐3613
MORRIS, JERRY D      BARTON & WILLIAMS                    3007 MAGNOLIA ST                                   PASCAGOULA         MS   39567‐4126
MORRIS, JERRY E      1501 E STRATFORD DR                                                                     BELOIT             WI   53511‐1403
MORRIS, JERRY L      704 W JEFFERSON ST                                                                      ALEXANDRIA         IN   46001‐1733
MORRIS, JESSIE
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Name                  Address1                         Address2                      Address3   Address4         City               State Zip
MORRIS, JEWELL I      3910 SUNCREST DR                                                                           FLINT               MI 48504‐8434
MORRIS, JIMMY B       4797 S STATE ROAD 13                                                                       LAPEL               IN 46051‐9721
MORRIS, JIMMY L       1639 LILLIAN CT                                                                            COLUMBIA            TN 38401‐5419
MORRIS, JO K          5336 FINNEY RD                                                                             GLASGOW             KY 42141‐9648
MORRIS, JOANNE A      6741 BUCKINGHAM AVENUE                                                                     ALLEN PARK          MI 48101‐2333
MORRIS, JOANNE L      13732 TRIUMPH CT                                                                           HUDSON              FL 34667‐6564
MORRIS, JOE ANN       523 S 7TH ST                                                                               MITCHELL            IN 47446‐2011
MORRIS, JOE ANN       523 SOUTH 7TH STREET                                                                       MITCHELL            IN 47446‐2011
MORRIS, JOE B         242 SPRINGER RD                                                                            WHITESBURG          GA 30185
MORRIS, JOE D         634 RICHMAN PLACE                                                                          LOGANVILLE          GA 30052
MORRIS, JOE L         499 LINDA VISTA DR                                                                         PONTIAC             MI 48342‐1745
MORRIS, JOEL S        7412 GABRIEL ST                                                                            SHERRILLS FORD      NC 28673‐9718
MORRIS, JOHN          30205 BOEWE DR                                                                             WARREN              MI 48092‐1987
MORRIS, JOHN          157 BELMONT CT E                                                                           N TONAWANDA         NY 14120‐4808
MORRIS, JOHN          157 BELMONT CRT EAST                                                                       N TONAWANDA         NY 14120‐4808
MORRIS, JOHN          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE           MD 21202
                                                       CHARLES CENTER 22ND FLOOR
MORRIS, JOHN          SIMMON JOHN G                    796 MEMORIAL DR 1                                         IDAHO FALLS        ID   83402
MORRIS, JOHN A        4249 FAIRWAY DR                                                                            NORTH PORT         FL   34287‐6108
MORRIS, JOHN E        2473 PEPPERMILL RD                                                                         LAPEER             MI   48446‐9476
MORRIS, JOHN E        8 ERMINE LN                                                                                NEW CASTLE         DE   19720‐3015
MORRIS, JOHN EUGENE   8 ERMINE LN                                                                                NEW CASTLE         DE   19720‐3015
MORRIS, JOHN F        LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                   MIAMI              FL   33143‐5163
MORRIS, JOHN HENRY    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                       STREET, SUITE 600
MORRIS, JOHN I        7368 W NESTEL RD                                                                           HOUGHTON LAKE      MI   48629‐9038
MORRIS, JOHN I        2001 MAIN ST                                                                               LEXINGTON          MO   64067‐1819
MORRIS, JOHN J        7105 W 113TH PL                                                                            WORTH              IL   60482‐2032
MORRIS, JOHN L        2325 W CORONET                                                                             ANAHEIM            CA   92801‐1534
MORRIS, JOHN L        4172 MISSION DR APT A                                                                      INDIANAPOLIS       IN   46254‐3433
MORRIS, JOHN R        167 E MAIN ST                                                                              LEXINGTON          OH   44904‐1226
MORRIS, JOHN R        7905 WALLACE RD                                                                            BALTIMORE          MD   21222‐2610
MORRIS, JOHNIE E      217 SWEETLAND AVE                                                                          TIPTON             IN   46072‐1614
MORRIS, JOHNIE W      12814 129TH TER                                                                            LARGO              FL   33774‐2636
MORRIS, JOHNNIE E     14573 BRAMELL ST                                                                           DETROIT            MI   48223‐1806
MORRIS, JOHNNIE F     29889 HARROW DR                                                                            FARMINGTON HILLS   MI   48331‐1967
MORRIS, JOHNNY        18040 RAYEN ST                                                                             NORTHRIDGE         CA   91325‐2836
MORRIS, JOHNNY E      3490 REAMER DR                                                                             LAPEER             MI   48446‐7705
MORRIS, JOSEPH        SHANNON LAW FIRM                 100 W GALLATIN ST                                         HAZLEHURST         MS   39083‐3007
MORRIS, JOSEPH        587 E KENBRIDGE DR                                                                         CARSON             CA   90746‐1146
MORRIS, JOSEPH E      4412 JEFF DAVIS ST                                                                         MARSHALL           TX   75672‐2635
MORRIS, JOSEPH E      459 FM 2750 E                                                                              TROUP              TX   75789‐8246
MORRIS, JOSEPH F      2517 DUNKSFERRY RD APT F104                                                                BENSALEM           PA   19020‐2726
MORRIS, JOSEPH L      147 HIGHWAY 124                                                                            PANGBURN           AR   72121‐9598
MORRIS, JOSEPH R      13721 RING RD                                                                              SAINT CHARLES      MI   48655‐8502
MORRIS, JOSEPH R      2540 MARSCOTT DR                                                                           DAYTON             OH   45440‐2257
MORRIS, JOYCE         413 NORTHDALE DRIVE                                                                        TOLEDO             OH   43612‐3621
MORRIS, JOYCE B       91 COLETTE AVE                                                                             BUFFALO            NY   14227‐3401
MORRIS, JOYCE H       62 REGAL ST                                                                                HOLLISTON          MA   01746‐1809
MORRIS, JOYCE I       453 SELKIRK DR                                                                             MOUNT MORRIS       MI   48458‐8950
MORRIS, JOYCE L       6135 BROADMOOR PLZ                                                                         INDIANAPOLIS       IN   46228‐1026
MORRIS, JOYCE L       5101 S BREEZEWOOD DR                                                                       MUNCIE             IN   47302‐9191
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Name                     Address1                            Address2                       Address3   Address4         City            State Zip
MORRIS, JOYCE P          316 W SOUTH B ST                                                                               GAS CITY         IN 46933‐1720
MORRIS, JOYCE P          316 W. S. B                                                                                    GAS CITY         IN 46933
MORRIS, JR,CHARLES L     4819 REXWOOD DR                                                                                DAYTON           OH 45439‐3135
MORRIS, JUDITH H         1373 DAKAR ST                                                                                  JACKSONVILLE     FL 32205‐7160
MORRIS, JUDITH H         7717 N. U.S.23                                                                                 OSCODA           MI 48750
MORRIS, JULIA E          5294 MOCERI LN                                                                                 GRAND BLANC      MI 48439‐4339
MORRIS, JULIA M          P O BOX 14875                                                                                  SAGINAW          MI 48601‐0875
MORRIS, JULIA R          4015 N 123RD TER                                                                               KANSAS CITY      KS 66109‐3181
MORRIS, JULIE L          55 SAINT MARY RD                                                                               LORETTO          TN 38469‐2656
MORRIS, JULIEANN M       23 VERMONT AVE                                                                                 YOUNGSTOWN       OH 44512‐1122
MORRIS, JULIUS R         939 SALISBURY AVE                                                                              FLINT            MI 48532‐3858
MORRIS, JULIUS RUSSELL   2557 TIFFIN ST                                                                                 FLINT            MI 48504
MORRIS, KAREN            3436 CREEKWOOD DR                                                                              SAGINAW          MI 48601‐5601
MORRIS, KAREN L          648 LOOMIS AVENUE                                                                              CUYAHOGA FLS     OH 44221‐5004
MORRIS, KAREN L          825 LOOMIS AVE                                                                                 CUYAHOGA FLS     OH 44221‐5008
MORRIS, KAREN U          10165 EBY RD                                                                                   GERMANTOWN       OH 45327‐9774
MORRIS, KARL K           1476 EASON                                                                                     WATERFORD        MI 48328‐1208
MORRIS, KATHLEEN         606 HARRISON AVE                                                                               KENMORE          NY 14223‐1702
MORRIS, KATHLEEN S       280 WALDEN WAY APT 609B                                                                        DAYTON           OH 45440‐4463
MORRIS, KATHLEEN S       280 WALDEN WAY                      APT 5098                                                   DAYTON           OH 45440‐4463
MORRIS, KAY J            2310 SANTA BARBARA DR                                                                          FLINT            MI 48504‐2020
MORRIS, KAYLA S          140 MOUNT PISGAH RD                                                                            GADSDEN          AL 35904‐6919
MORRIS, KEITH L          1381 W DOWNEY AVE                                                                              FLINT            MI 48505‐1174
MORRIS, KEN E            3889 SHAGBARK LN                                                                               DAYTON           OH 45440‐3471
MORRIS, KENNETH A        20 BLUSH HILL DR                                                                               CONROE           TX 77304‐1109
MORRIS, KENNETH A        4638 SHARON RD                                                                                 LAUREL           MS 39443‐8084
MORRIS, KENNETH A        9237 GREENBUSH RD                                                                              CAMDEN           OH 45311‐9785
MORRIS, KENNETH ALLAN    4638 SHARON RD                                                                                 LAUREL           MS 39443‐8084
MORRIS, KENNETH D        23009 E 291ST ST                                                                               HARRISONVILLE    MO 64701‐8152
MORRIS, KENNETH D        310 DRAKE AVE                                                                                  BOLINGBROOK       IL 60490‐3104
MORRIS, KENNETH E        4400 JORDYN DR                                                                                 LAPEER           MI 48446‐3655
MORRIS, KENNETH L        635 BALDWIN WOODS RD                                                                           BELOIT           WI 53511‐2139
MORRIS, KENNETH L        88 PHEASANT RUN RD                                                                             AMHERST          NY 14228‐1840
MORRIS, KENNETH L        91 DAVID AVE                                                                                   BUFFALO          NY 14225
MORRIS, KENNETH T        7601 LESTER RD APT 63‐2                                                                        UNION CITY       GA 30291‐2389
MORRIS, KENNETH W        RT. 1 3‐598 RD N‐3                                                                             MCCLURE          OH 43534
MORRIS, KERRY R          3040 LOTUS CT                                                                                  GRAND PRAIRIE    TX 75052‐8051
MORRIS, KEVIN T          4314 MEADOWBROOK CT                                                                            GRAND BLANC      MI 48439‐7322
MORRIS, KEVIN TERRELL    4314 MEADOWBROOK CT                                                                            GRAND BLANC      MI 48439‐7322
MORRIS, KHARY C          8103 CARINA DR                                                                                 INDIANAPOLIS     IN 46268‐2869
MORRIS, KURKIE L         1222 HILAND ST                                                                                 SAGINAW          MI 48601‐3430
MORRIS, LARAINE          3335 MERSINGTON AVE                                                                            KANSAS CITY      MO 64128‐2146
MORRIS, LARRY            PO BOX 6172                                                                                    SHREVEPORT       LA 71136‐6172
MORRIS, LARRY A          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW          MI 48604‐2602
                                                             260
MORRIS, LARRY D          3791 AQUARINA ST                                                                               WATERFORD       MI   48329‐2110
MORRIS, LARRY D          1370 S DERBY RD                                                                                STANTON         MI   48888‐9124
MORRIS, LARRY E          3751 SHAWNEE TRAIL                                                                             JAMESTOWN       OH   45335‐1030
MORRIS, LARRY J          845 WINDHAM AVE                                                                                CINCINNATI      OH   45229
MORRIS, LARRY K          2204 DINAH CT.                                                                                 MT. JULIET      TN   37122‐9225
MORRIS, LARRY K          2204 DINAH CT                                                                                  MOUNT JULIET    TN   37122‐9225
MORRIS, LARRY L          2801 E SPINNAKER DR                                                                            AVON PARK       FL   33825‐6013
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Name                    Address1                           Address2                      Address3   Address4         City               State Zip
MORRIS, LARRY W         8216 STERLING AVE                                                                            RAYTOWN             MO 64138
MORRIS, LASONDRA K      445 N KENILWORTH AVE                                                                         LIMA                OH 45805‐2417
MORRIS, LATASHA R       119 CAMEGIE COURT                                                                            VALLEY PARK         MO 63088
MORRIS, LAVERN          277 RUSTIC RD                                                                                STOCKBRIDGE         GA 30281‐3957
MORRIS, LAVERN          2021 CHELAN ST                                                                               FLINT               MI 48503‐4311
MORRIS, LAVERN          2021 CHELAN STREET                                                                           FLINT               MI 48503‐4311
MORRIS, LAWRENCE        114 N HAZLETON ST APT 3                                                                      FLUSHING            MI 48433‐1663
MORRIS, LAWRENCE        114 N HAZELTON ST APT 3                                                                      FLUSHING            MI 48433‐1663
MORRIS, LAWRENCE R      3697 HUBBARD MIDDLESEX RD                                                                    W MIDDLESEX         PA 16159‐6159
MORRIS, LAWRENCE R      RR 1                                                                                         W MIDDLESEX         PA 16159
MORRIS, LENA G          4217 ROUTT LANE                                                                              FRANKLIN            OH 45005‐5005
MORRIS, LENA G          4217 ROUTT LN                                                                                FRANKLIN            OH 45005‐4646
MORRIS, LEO W           2405 WINDSPRINT WAY APT 1519                                                                 ARLINGTON           TX 76014‐1838
MORRIS, LEONARD         121 HIGHLAND AVE                                                                             PISCATAWAY          NJ 08854‐4815
MORRIS, LEONARD R       47 HARVEY CIR                                                                                E BRUNSWICK         NJ 08816‐3017
MORRIS, LEROY           194 DAVIS RANCH RD                                                                           ALVARADO            TX 76009‐7103
MORRIS, LEROY           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
MORRIS, LESLIE C        PO BOX 42113                                                                                 ATLANTA            GA   30311‐9002
MORRIS, LESLIE K        13321 EASTRIDGE DR                                                                           OKLAHOMA CITY      OK   73170‐6823
MORRIS, LILLIAN         1575 W WARM SPRINGS RD UNIT 1621                                                             HENDERSON          NV   89014‐3597
MORRIS, LILLIAN         11913 225TH ST                                                                               CAMBRIA HEIGHTS    NY   11411‐2115
MORRIS, LILLIAN A       47 RACHAEL CROSSOVER                                                                         STANFORD           KY   40484‐9621
MORRIS, LILLIAN A       47 RACHEL CROSSOVER                                                                          STANFORD           KY   40484‐9621
MORRIS, LILLIE GENEVA   3100 CLUB DR APT 244                                                                         LAWRENCEVILLE      GA   30044
MORRIS, LILTON E        1278 W 9TH ST APT 741                                                                        CLEVELAND          OH   44113
MORRIS, LINDA A         PO BOX 17532                                                                                 WINSTON SALEM      NC   27116‐7532
MORRIS, LINDA A         131 E MOORE ST                                                                               FLINT              MI   48505‐5369
MORRIS, LINDA B         14 ABBEY LN                                                                                  BRISTOL            CT   06010
MORRIS, LINDA G         4484 LAY SPRINGS ROAD                                                                        GADSDEN            AL   35904‐8637
MORRIS, LINDA J         92 DOVER RD                                                                                  WATERFORD          MI   48328‐3512
MORRIS, LINDA JOYCE     19815 OPORTO AVE                                                                             LIVONIA            MI   48152‐1800
MORRIS, LINDA K         221 CABELL LN                                                                                AMHERST            VA   24521‐4022
MORRIS, LINDA K         117 SANDPIPER AVE                                                                            ROYAL PALM BEACH   FL   33411‐2917
MORRIS, LINDA L         APT 204                            3580 NW TREASURE COAST DR                                 JENSEN BEACH       FL   34957‐3698
MORRIS, LINDA L         673 SW GRANADEER ST                                                                          PORT ST LUCIE      FL   34983‐8772
MORRIS, LINDA L         2900 N APPERSON WAY TRLR 101                                                                 KOKOMO             IN   46901‐1467
MORRIS, LINDA S         PO BOX 99                                                                                    KEMPTON            IN   46049‐0099
MORRIS, LINNIE M        1801 FLYWAY LN                                                                               HILLSBORO          MO   63050‐4800
MORRIS, LIONELL         PO BOX 9175                                                                                  NEW IBERIA         LA   70562
MORRIS, LISA A          122 BUCHANAN RD                                                                              REBECCA            GA   31783
MORRIS, LIZZIE M        1533 CAMP ST                                                                                 SANDUSKY           OH   44870‐3162
MORRIS, LLOYD D         1284 LEFORGE APT 6010                                                                        YPSILANTI          MI   48198
MORRIS, LLOYD J         1276 LEISURE DR                                                                              FLINT              MI   48507‐4053
MORRIS, LOIS            34870 W 359TH ST                                                                             OSAWATOMIE         KS   66064
MORRIS, LOREN           20 FARRINGTON WAY                                                                            NORTH AUGUSTA      SC   29860‐9283
MORRIS, LORETTA         125 LEONARD ST NE                                                                            GRAND RAPIDS       MI   49503‐1027
MORRIS, LORRAINE A      413 DOUBLETREE DR                                                                            HIGHLAND VILLAGE   TX   75077‐6967
MORRIS, LORRAINE M      49980 DOWNING CT                                                                             SHELBY TOWNSHIP    MI   48315‐3636
MORRIS, LOUIE HOWARD    BARON & BUDD                       THE CENTRUM, 3102 OAK LAWN                                DALLAS             TX   75219
                                                           AVE, STE 1100
MORRIS, LOUIS A         3540 COVEVIEW                                                                                LUPTON             MI 48635‐9304
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Name                    Address1                            Address2                       Address3   Address4         City           State Zip
MORRIS, LOUIS A         5457 N VASSAR RD                                                                               FLINT           MI 48506‐1231
MORRIS, LYDIA           RT # 2 BOX 374                                                                                 TUSCUMBIA       AL 35674‐9638
MORRIS, LYLE K          7845 GLENHILL DR                                                                               SYLVANIA        OH 43560‐1826
MORRIS, LYNDA L         1904 N OHIO ST                                                                                 KOKOMO          IN 46901‐2524
MORRIS, LYNDA ODANGA    35337 GLENWOOD RD                                                                              WAYNE           MI 48184‐1226
MORRIS, LYNNE N         15501 AUBURN STREET                                                                            DETROIT         MI 48223‐1764
MORRIS, M L             209 HOLLY CHASE CT                                                                             CANTON          GA 30114‐6612
MORRIS, MAE E           30600 N PIMA RD # 147                                                                          SCOTTSDALE      AZ 85265‐1835
MORRIS, MAE E           4825 W PIUTE AVE                                                                               GLENDALE        AZ 85308‐9233
MORRIS, MALLORY E       1021 N ALTADENA AVE                                                                            ROYAL OAK       MI 48067‐3634
MORRIS, MARCUS GORDON   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW         MI 48604‐2602
                                                            260
MORRIS, MARCUS R        1683 GODDARD RD                                                                                LINCOLN PARK   MI   48146‐4033
MORRIS, MARGARET A      512 W BAKER                                                                                    FLINT          MI   48505‐4105
MORRIS, MARGARET A      512 W BAKER ST                                                                                 FLINT          MI   48505‐4105
MORRIS, MARGARET J      3339 W MT MORRIS RD                                                                            MT MORRIS      MI   48458
MORRIS, MARGARET J      3520 MCCORMICK RD                                                                              LAPEER         MI   48446‐8785
MORRIS, MARGARET K      781 WESLEY DR                                                                                  JACKSON        GA   30233‐1846
MORRIS, MARIE E         296K FRANKLIN ST                                                                               EAST DOUGLAS   MA   01516
MORRIS, MARILYN L       4462 W 64TH ST                                                                                 FREMONT        MI   49412‐9257
MORRIS, MARION P        12315 W 61ST ST                                                                                SHAWNEE        KS   66216‐2017
MORRIS, MARJORIE A      5817 OBERLIES WAY                                                                              PLAINFIELD     IN   46168
MORRIS, MARK            1933 LINCOLN ST                                                                                SAGINAW        MI   48601
MORRIS, MARK            2126 LOWELL AVE                                                                                SAGINAW        MI   48601
MORRIS, MARK A          14023 INGLENOOK LN                                                                             CARMEL         IN   46032‐7089
MORRIS, MARK L          2015 BENNER HWY                                                                                CLAYTON        MI   49235‐9606
MORRIS, MARLENE
MORRIS, MARSHALL R      4118 GREENBLUFF RD                                                                             ZELLWOOD       FL   32798‐9018
MORRIS, MARTHA          1221 S CENTRAL AVENUE                                                                          LIMA           OH   45804‐2031
MORRIS, MARTHA M        4609 FAIRFIELD AVE                                                                             FORT WAYNE     IN   46807‐2720
MORRIS, MARVA G         591 MCMILLIAN ST                                                                               DANVILLE       KY   40422
MORRIS, MARVIN E        9592 PLAINVIEW AVE                                                                             DETROIT        MI   48228‐1680
MORRIS, MARVIN L        1151 CHARLWOOD AVE                                                                             DAYTON         OH   45432‐1701
MORRIS, MARY            1445 LEO ST                                                                                    SAGINAW        MI   48638
MORRIS, MARY            8862 CAGLE DR                                                                                  NAVARRE        FL   32566‐2128
MORRIS, MARY            23 FRANKFORT AVE.                                                                              BUFFALO        NY   14211‐1411
MORRIS, MARY A          1875 MICHAEL DRIVE                                                                             MARION         IN   46952‐8600
MORRIS, MARY A          1875 N MICHAEL DR                                                                              MARION         IN   46952‐8600
MORRIS, MARY A          3111 S LEONARD SPRINGS RD APT 154                                                              BLOOMINGTON    IN   47403‐3772
MORRIS, MARY B          656 DOVER ST SW                                                                                WARREN         OH   44485‐4110
MORRIS, MARY B          656 DOVER SW                                                                                   WARREN         OH   44485‐4110
MORRIS, MARY C          2160 BEELEK LANE                                                                               COLOMBUS       OH   43219
MORRIS, MARY C          2160 BELLEEK LN                                                                                COLUMBUS       OH   43219‐4003
MORRIS, MARY E          4402 TRAFALGAR DR                                                                              ANDERSON       IN   46013‐4540
MORRIS, MARY EVELYN     1003 WEST MAIN                                                                                 ODESSA         MO   64076‐1325
MORRIS, MARY EVELYN     1003 W MAIN ST                                                                                 ODESSA         MO   64076‐1325
MORRIS, MARY F          13824 E 49TH TER UNIT C                                                                        KANSAS CITY    MO   64133‐1366
MORRIS, MARY F          PO BOX 5832                                                                                    SAGINAW        MI   48603‐0832
MORRIS, MARY F          13824_C. E 49TH TER                                                                            KANSAS CITY    MO   64133‐1366
MORRIS, MARY H          16001 LAKESHORE VILLA DR APT 329                                                               TAMPA          FL   33613‐1308
MORRIS, MARY I          140 PLANTATION PL                                                                              FLORENCE       AL   35633‐7726
MORRIS, MARY J          14730 BRIDLE TRACE LN                                                                          PINEVILLE      NC   28134‐9147
                                   09-50026-mg               Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
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Name                               Address1                           Address2                           Address3        Address4             City             State Zip
MORRIS, MARY L                     302 DONNER PASS APT A                                                                                      SAINT PETERS      MO 63376‐6030
MORRIS, MARY L                     6904 SW 42ND PL                    C/O NOEL SILK                                                           GAINESVILLE       FL 32608‐6445
MORRIS, MARY O                     8308 E CLINTON TRL                                                                                         EATON RAPIDS      MI 48827‐9085
MORRIS, MARY R                     9 ORCHARD LN                                                                                               INMAN             SC 29349‐1422
MORRIS, MARY S                     1000 WILDERNESS PATH                                                                                       ROUND ROCK        TX 78665‐2502
MORRIS, MAX R                      5336 FINNEY RD                                                                                             GLASGOW           KY 42141‐9648
MORRIS, MAXINE                     PO BOX 442101                                                                                              DETROIT           MI 48244‐2101
MORRIS, MAXINE                     14050 NESTING WAY APT B                                                                                    DELRAY BEACH      FL 33484‐8697
MORRIS, MC KINLEY                  17715 STONEBRIDGE DR                                                                                       HAZEL CREST        IL 60429‐2013
MORRIS, MELVIN                     1308 MILLER RD                                                                                             LAKE ORION        MI 48362‐3730
MORRIS, MENDIE M                   5330 BROOKLYN RD                                                                                           MORGANTOWN        KY 42261‐7416
MORRIS, MICHAEL                    2254 FLOYD RD                                                                                              GAINESVILLE       GA 30507‐7438
MORRIS, MICHAEL A                  SHANNON LAW FIRM                   100 W GALLATIN ST                                                       HAZLEHURST        MS 39083‐3007
MORRIS, MICHAEL A                  2607 HERMOSA DR                                                                                            WOLVERINE LAKE    MI 48390‐2004
MORRIS, MICHAEL C                  3125 SUTTON AVE                                                                                            DAYTON            OH 45429‐3921
MORRIS, MICHAEL J                  149 MEDINAH DR                                                                                             BLUE BELL         PA 19422
MORRIS, MICHAEL J                  7410 WEST BLVD APT 105                                                                                     YOUNGSTOWN        OH 44512
MORRIS, MICHAEL J                  2266 BOWERS RD                                                                                             LAPEER            MI 48446‐3310
MORRIS, MICHAEL S                  805 MY PL                                                                                                  SEVIERVILLE       TN 37862‐2727
MORRIS, MICHEAL D                  2758 BROUSTER AVE                                                                                          OVERLAND          MO 63114‐1104
MORRIS, MICHELE L                  4400 JORDYN DR                                                                                             LAPEER            MI 48446‐3655
MORRIS, MILDRED J                  14911 PIEDMONT ST                                                                                          DETROIT           MI 48223‐2290
MORRIS, MILLIE G                   6601 E 51ST TERRACE                                                                                        KANSAS CITY       MO 64129‐2812
MORRIS, MILTON E                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                             NORFOLK           VA 23510
                                                                      STREET, SUITE 600
MORRIS, MINNIE O                   614 S ANDRE ST APT 2                                                                                       SAGINAW          MI   48602
MORRIS, MYRINE E                   203 S 15TH ST                                                                                              SAGINAW          MI   48601‐1868
MORRIS, MYRTLE M                   6110 LAKESHORE DRIVE                                                                                       NEWAYGO          MI   49337‐9027
MORRIS, NANCY E                    311 SAINT MICHAELS WAY                                                                                     NEWPORT NEWS     VA   23606
MORRIS, NANCY J                    3496 W 95TH ST                                                                                             CLEVELAND        OH   44102‐4712
MORRIS, NATHAN                     3402 ROBERTS ST                                                                                            SAGINAW          MI   48601‐2454
MORRIS, NATHANIEL                  32 VICTORY CT                                                                                              SAGINAW          MI   48602‐3119
MORRIS, NELDA B                    617 HARVEY DR                                                                                              RUSSELLVILLE     TN   37860‐9003
MORRIS, NICHOLAS A                 689 TOMAHAWK TRAIL                                                                                         HIGHLAND         MI   48357‐2762
MORRIS, NICHOLS, ARSHT & TUNNELL   ATTENTION: DONALD N. ISKEN, ESQ.   1201 NORTH MARKET STREET           P.O. BOX 1347                        WILMINGTON       DE   19801
MORRIS, NOBLE                      KAZAN MCCLAIN EDISES ABRAMS,       171 12TH ST STE 300                                                     OAKLAND          CA   94607‐4911
                                   FERNANDZ, LYONS & FARRISE
MORRIS, NOBLE F                    16914 PINEVIEW DR                                                                                          PRESQUE ISLE     MI   49777‐8483
MORRIS, NORMA                      2995 HARMONY HILLS DRIVE                                                                                   ARNOLD           MO   63010‐2541
MORRIS, NORMA J                    6201 BERT KOUNS LOT 320                                                                                    SHREVEPORT       LA   71129
MORRIS, NORRIS A                   5653 DEER VALLEY TRL                                                                                       ANTIOCH          TN   37013‐4261
MORRIS, O D                        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                             NORFOLK          VA   23510‐2212
                                                                      STREET, SUITE 600
MORRIS, OCIE D                     112 W MCCLELLAN                                                                                            FLINT            MI   48505‐4073
MORRIS, OLA F                      6125 KENBROOK RD                                                                                           LANSING          MI   48911‐5419
MORRIS, OLIVER J                   1361 E 110TH ST                                                                                            CLEVELAND        OH   44106‐1301
MORRIS, OLLIS                      12693 NINEBARK ST                                                                                          MORENO VALLEY    CA   92553
MORRIS, OPAL H                     2400 OLD TOWNE LANE                                                                                        MUNCIE           IN   47304
MORRIS, OPHERINE                   4923 WAINWRIGHT AVE                                                                                        LANSING          MI   48911‐2852
MORRIS, ORAL                       HOWIE SACKS & HENRY LLP            SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY                   TORONTO ON M5H 2Y4
                                                                      STREET                                             CANADA
MORRIS, ORVILLE L                  14041 SAINT MARYS ST                                                                                       DETROIT          MI 48227
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Name                    Address1                        Address2            Address3         Address4         City             State Zip
MORRIS, PAMELA H        14 STAR DUST TRL SE                                                                   CARTERSVILLE      GA 30120‐6842
MORRIS, PATRICIA A      1229 BEACH DRIVE                                                                      LAKE ORION        MI 48360‐1205
MORRIS, PATRICIA A      2551 LAPLATA DR.                                                                      KETTERING         OH 45420‐5420
MORRIS, PATRICIA A      1229 BEACH DR                                                                         LAKE ORION        MI 48360‐1205
MORRIS, PATRICIA A      2551 LA PLATA DR                                                                      KETTERING         OH 45420‐1153
MORRIS, PATRICIA A.     5104 N. LISTER AVE.                                                                   KANSAS CITY       MO 64119‐3762
MORRIS, PATRICIA A.     5104 N LISTER AVE                                                                     KANSAS CITY       MO 64119‐3762
MORRIS, PATRICIA L      PO BOX 805                                                                            ELYRIA            OH 44036‐0805
MORRIS, PATRICIA R      365 TIBBETTS WICK RD                                                                  GIRARD            OH 44420‐1145
MORRIS, PATRICIA R      365 TIBBETTS‐WICK RD.                                                                 GIRARD            OH 44420‐1145
MORRIS, PATRICIA W      871 4TH ST SW                                                                         WARREN            OH 44483‐6439
MORRIS, PATRICK E       5497 BROWN RD                                                                         DAVISON           MI 48423
MORRIS, PAUL            255 S ANDERSON AVE                                                                    PONTIAC           MI 48342
MORRIS, PAUL            PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON           MS 39206‐5621
MORRIS, PAUL E          2305 EBURY CT                                                                         BENSALEM          PA 19020
MORRIS, PAUL R          PO BOX 253                                                                            SYLVANIA          OH 43560‐0253
MORRIS, PAUL R          7878 GOLFVIEW CIR                                                                     OSCODA            MI 48750‐9453
MORRIS, PAUL R          107 TURKEY HOLLOW RD                                                                  WAYNESBURG        PA 15370‐3813
MORRIS, PAUL ROBERT     PO BOX 253                                                                            SYLVANIA          OH 43560‐0253
MORRIS, PAUL T          3093 E BIRCH DR                                                                       BAY CITY          MI 48706‐1201
MORRIS, PEARL V         14410 VIEW DR                                                                         NEWBURY           OH 44065‐9658
MORRIS, PEGGY J         318 LINCOLN DR                                                                        MARTINSBURG       WV 25401‐2400
MORRIS, PERCY           317 W BAKER ST                                                                        FLINT             MI 48505‐4102
MORRIS, PERRY           6011 CADILLAC DR                                                                      SPEEDWAY          IN 46224‐5367
MORRIS, PERRY D         35 S SAINT CLAIR ST APT 218                                                           DAYTON            OH 45402
MORRIS, PERRY D         6011 CADILLAC DR                                                                      INDIANAPOLIS      IN 46224‐5367
MORRIS, PERRY DOUGLAS   6011 CADILLAC DR                                                                      INDIANAPOLIS      IN 46224‐5367
MORRIS, PETER F         2450 OAK RD                                                                           PINCONNING        MI 48650‐9747
MORRIS, PHILIP W        135 SARATOGA WAY                                                                      ANDERSON          IN 46013
MORRIS, PHILLIP         342 MORRIS AVE                                                                        BELLWOOD           IL 60104‐1474
MORRIS, PHILLIP         219 CHAPEL RD                                                                         AMELIA            OH 45102
MORRIS, PHILLIP D       887 CHAPMAN CIR                                                                       STONE MOUNTAIN    GA 30088‐2554
MORRIS, PHILLIP D       238 W FAIRFIELD AVE                                                                   LANSING           MI 48906‐3116
MORRIS, PHYLLIS J.      979 CALKS FERRY RD                                                                    LEXINGTON         SC 29072‐8616
MORRIS, PHYLLIS J.      979 CALKSFERRY RD                                                                     LEXINGTON         SC 29072‐8616
MORRIS, R M             12907 E 54TH TER                                                                      KANSAS CITY       MO 64133‐3120
MORRIS, RALPH           1004 COUNTY ROAD 400                                                                  HILLSBORO         AL 35643‐4320
MORRIS, RANDALL C       18285 WILDEMERE STREET                                                                DETROIT           MI 48221‐2730
MORRIS, RANDY           2981 WHITLOW RD                                                                       COLUMBUS          OH 43232‐5423
MORRIS, RANDY E         326 BRAMPTON RD                                                                       YOUNGSTOWN        NY 14174‐1252
MORRIS, RANDY F         482 OYE DR                                                                            ARNOLD            MO 63010‐1749
MORRIS, RANDY S         PO BOX 18986                                                                          RENO              NV 89511
MORRIS, RAY             2587 PEYTON WOODS TRL SW                                                              ATLANTA           GA 30311‐2156
MORRIS, RAY L           405 W DEWEY ST                                                                        FLINT             MI 48505‐4094
MORRIS, RAYMOND E       12 VALLEY VIEW DR                                                                     BATAVIA           NY 14020‐1115
MORRIS, REBECCA H       1180 W 1000 S                                                                         PENDLETON         IN 46064
MORRIS, REDA            4550 BIRCH BAY LYNDEN ROAD      #F108                                                 BLAINE            WA 98230
MORRIS, REED A          10541 WESTERWALD LN                                                                   CLARENCE          NY 14031‐2322
MORRIS, REX J           15700 HAGGERTY RD                                                                     BELLEVILLE        MI 48111‐6003
MORRIS, RHONDA F        7040 W FARRAND RD                                                                     CLIO              MI 48420‐9424
MORRIS, RICHARD         13009 PULLMAN ST                                                                      SOUTHGATE         MI 48195‐1118
MORRIS, RICHARD A       PO BOX 13                                                                             EATON             IN 47338‐0013
                        09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                    Address1                            Address2                       Address3   Address4         City               State Zip
MORRIS, RICHARD A       2634 JUTLAND ST                                                                                TOLEDO              OH 43613‐2004
MORRIS, RICHARD A       16409 COCO HAMMOCK WAY                                                                         FORT MYERS          FL 33908‐8284
MORRIS, RICHARD ALLAN   2634 JUTLAND ST                                                                                TOLEDO              OH 43613‐2004
MORRIS, RICHARD D       1100 SHAWNA AVENUE                                                                             AUBURN              IN 46706‐3721
MORRIS, RICHARD D       1009 S EUNICE ST                                                                               PORT ANGELES        WA 98362‐7961
MORRIS, RICHARD D       649 S ATLANTIC AVE                                                                             COCOA BEACH         FL 32931‐2517
MORRIS, RICHARD E       7631 LEWIS RD                                                                                  OLMSTED FALLS       OH 44138‐2046
MORRIS, RICHARD E       8205 BROOKVIEW DR                                                                              URBANDALE            IA 50322‐7395
MORRIS, RICHARD E
MORRIS, RICHARD J       2611 LAKE OVERLOOK NE                                                                          MARIETTA           GA   30062‐5389
MORRIS, RICHARD K       6500 E 88TH AVE LOT 26                                                                         HENDERSON          CO   80640‐8201
MORRIS, RICHARD L       1001 BRIDLE SPUR LN                                                                            LAKE SAINT LOUIS   MO   63367‐3008
MORRIS, RICHARD L       395 COUNTY ROAD 531                                                                            CENTRE             AL   35960‐6119
MORRIS, RICHARD L       15777 BOLESTA RD LOT 154                                                                       CLEARWATER         FL   33760‐3447
MORRIS, RICHARD L       323 GRAND VISTA DR                                                                             DAYTON             OH   45440‐3305
MORRIS, RICHARD P       286 COLLETT BRIDGE RD                                                                          ALVATON            KY   42122‐9675
MORRIS, RICHARD PAUL    286 COLLETT BRIDGE RD                                                                          ALVATON            KY   42122‐9675
MORRIS, RICHARD S       145 BEECHWOOD RD                                                                               BRAINTREE          MA   02184
MORRIS, RICHARD S       1209 PROSPECT ST                                                                               LANSING            MI   48912‐1826
MORRIS, RICHARD W       9139 PINE WALK PASS                                                                            LINDEN             MI   48451‐8578
MORRIS, ROBERT          27 HUGHES AVE                                                                                  BUFFALO            NY   14208‐1050
MORRIS, ROBERT          1417 PLAZA PLACE                                                                               WENTZVILLE         MO   63385‐1911
MORRIS, ROBERT A        14979 LUCAS FERRY RD                                                                           ATHENS             AL   35611‐6158
MORRIS, ROBERT A        1137 BROWN ST                                                                                  ENGLEWOOD          FL   34224‐4503
MORRIS, ROBERT C        4315 CHELSEA DR                                                                                ANDERSON           IN   46013‐4424
MORRIS, ROBERT C        10268 ELMS RD                                                                                  MONTROSE           MI   48457‐9194
MORRIS, ROBERT C        223 MANOR BLVD                                                                                 YARDVILLE          NJ   08620‐1734
MORRIS, ROBERT D        352 VICTORY AVE                                                                                GREENWOOD          IN   46142‐1434
MORRIS, ROBERT E        15644 GIFFORD RD                                                                               OBERLIN            OH   44074‐9424
MORRIS, ROBERT E        4014 E RANCHO DR                                                                               PHOENIX            AZ   85018‐1130
MORRIS, ROBERT E        6122 HAAG RD                                                                                   LANSING            MI   48911‐5450
MORRIS, ROBERT F        545 PINCH HWY                                                                                  CHARLOTTE          MI   48813‐9718
MORRIS, ROBERT F        7900 CORAL POINT AVE                                                                           LAS VEGAS          NV   89128‐6754
MORRIS, ROBERT F        60 PINE TREE RIDGE DR UNIT 2                                                                   WATERFORD          MI   48327‐4309
MORRIS, ROBERT G        2274 DOUGLAS JOEL DR                                                                           FLINT              MI   48505‐1045
MORRIS, ROBERT J        6427 N WOODBRIDGE RD                                                                           WHEELER            MI   48662‐9769
MORRIS, ROBERT J        23009 E 291ST ST                                                                               HARRISONVILLE      MO   64701‐8152
MORRIS, ROBERT J        907 MOSSY OAK DR                                                                               INVERNESS          FL   34450‐6002
MORRIS, ROBERT J        849 BULLEN DR                                                                                  MIDDLETOWN         DE   19709‐8973
MORRIS, ROBERT J        GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI   48604‐2602
                                                            260
MORRIS, ROBERT L        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                            STREET, SUITE 600
MORRIS, ROBERT L        1260 MAURER AVE                                                                                PONTIAC            MI   48342‐1960
MORRIS, ROBERT L        2860 SEDONA LN                                                                                 MILFORD            MI   48381‐3080
MORRIS, ROBERT L        2650 BETHLEHEM LN                                                                              HEBRON             KY   41048‐9746
MORRIS, ROBERT L        105 HUNTERS CT                                                                                 FOREST             VA   24551‐1407
MORRIS, ROBERT M        3150 OAKRIDGE DR                                                                               HIGHLAND           MI   48356‐1942
MORRIS, ROBERT M        3816 S LAMAR BLVD APT 2019                                                                     AUSTIN             TX   78704‐7952
MORRIS, ROBERT S        4609 E DANBURY RD                                                                              PHOENIX            AZ   85032
MORRIS, ROBERT S        7677 THUNDER BAY DR                                                                            PINCKNEY           MI   48169‐8574
MORRIS, ROBERT S        5012 ROCKPORT DR                                                                               DALLAS             TX   75232‐1336
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Name                    Address1                         Address2                      Address3   Address4         City             State Zip
MORRIS, ROBERT S        13321 EASTRIDGE DR                                                                         OKLAHOMA CITY     OK 73170‐5823
MORRIS, ROBERT S.       7677 THUNDER BAY DR                                                                        PINCKNEY          MI 48169‐8574
MORRIS, ROBERT T        1581 W MOUNTAIN LN                                                                         ALLISONIA         VA 24347‐4029
MORRIS, ROBERT W        6282 SNOW APPLE DR                                                                         CLARKSTON         MI 48346‐2450
MORRIS, RODNEY A        20 BIRTCH CRESCENT                                                                         ROCHESTER         NY 14607
MORRIS, ROGER           2661 COUNTY ROAD 222                                                                       HILLSBORO         AL 35643‐3801
MORRIS, ROGER F         9634 DAYLILY LN                                                                            GALESBURG         MI 49053‐8710
MORRIS, ROGER L         11217 ROSEWOOD ST                                                                          LEAWOOD           KS 66211‐2029
MORRIS, ROLAND C        305 N MAIN ST                                                                              NATICK            MA 01760‐1118
MORRIS, RON L           4103 LAHRING RD                                                                            HOLLY             MI 48442‐9667
MORRIS, RONALD          4254 HADLEY RD                                                                             METAMORA          MI 48455‐9635
MORRIS, RONALD          21875 KENOSHA ST                                                                           OAK PARK          MI 48237‐2651
MORRIS, RONALD          ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                       NEW YORK          NY 10006‐1638
MORRIS, RONALD C        6450 WALDON RD                                                                             CLARKSTON         MI 48346‐2467
MORRIS, RONALD E        619 SW 1ST PL                                                                              MOORE             OK 73160‐3905
MORRIS, RONALD E        1366 S FRANKLIN RD                                                                         GREENWOOD         IN 46143‐9716
MORRIS, RONALD E        2239 WOODLAND TRCE                                                                         AUSTINTOWN        OH 44515‐4829
MORRIS, RONALD G        1133 W COUNTY ROAD 1200 N                                                                  BRAZIL            IN 47834‐6871
MORRIS, RONALD T        2553 PENINSULA PL                                                                          ROAMING SHORES    OH 44084‐9528
MORRIS, RORY J          3447 BIG RIDGE RD                                                                          SPENCERPORT       NY 14559‐9564
MORRIS, ROSA L          70 GOLDEN ROD LN                                                                           ROCHESTER         NY 14623‐3647
MORRIS, ROSE B          11 BROOK FARM CT UNIT L          C/O GILBERT C MORRIS                                      PERRY HALL        MD 21128‐9060
MORRIS, ROSE B          C/O GILBERT C MORRIS             11‐L BROOK FARM COURT                                     PERRY HALL        MD 21128
MORRIS, ROSE M          1321 SOUTH ST                                                                              MOUNT MORRIS      MI 48458‐2929
MORRIS, ROSE MARIE      1321 SOUTH ST                                                                              MOUNT MORRIS      MI 48458‐2929
MORRIS, ROSEMARY B      5423 SOUTHERN BLVD.                                                                        BOARDMAN          OH 44512‐2608
MORRIS, ROY A           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                         STREET, SUITE 600
MORRIS, ROY L           PO BOX 3183                                                                                MUNCIE           IN   47307‐3183
MORRIS, ROY LEE         PO BOX 3183                                                                                MUNCIE           IN   47307‐3183
MORRIS, RUBY M          22385 COUNTY ROAD 18                                                                       GOSHEN           IN   46528‐8485
MORRIS, RUDOLPH         224 HUGULEY RD                                                                             VALLEY           AL   36854‐4532
MORRIS, RUSSELL         336 GARDNER AVE                                                                            TRENTON          NJ   08618‐2516
MORRIS, RUSSELL         LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                   MIAMI            FL   33143‐5163
MORRIS, RUSSELL G       37230 VINCENT ST                                                                           WESTLAND         MI   48186‐9388
MORRIS, RUTH            357 E HOME AVE                                                                             FLINT            MI   48505‐2810
MORRIS, RUTH            357 EAST HOME AVE                                                                          FLINT            MI   48505‐2810
MORRIS, RUTH A          22023 CAMELOT CT                                                                           BEVERLY HILLS    MI   48025‐3601
MORRIS, RUTH E          43 ARLINGTON DR                                                                            FRANKLIN         OH   45005‐1573
MORRIS, RUTH E          43 ARLINGTPN DR                                                                            FRANKLIN         OH   45005‐1573
MORRIS, RUTH E          1309 CAMPBELL ST                                                                           FLINT            MI   48507‐5307
MORRIS, RUTH L          1527 W HOME AVE                                                                            FLINT            MI   48505‐2557
MORRIS, RUTH M          271 NIAGARA ST                                                                             LOCKPORT         NY   14094‐2625
MORRIS, RYAN L          5911 W GRAND LEDGE HWY                                                                     SUNFIELD         MI   48890‐9731
MORRIS, S G CO          27439 HOLIDAY LANE                                                                         PERRYSBURG       OH   43551
MORRIS, SALLIE A        706 N CEDER ST                                                                             WINCHESTER       TN   37398‐1024
MORRIS, SAMUEL A        15812 ROCKDALE ST                                                                          DETROIT          MI   48223‐1167
MORRIS, SANDRA R        14114 PETERBORO DR                                                                         STERLING HTS     MI   48313‐2734
MORRIS, SANDY           SIMMON JOHN G                    PO BOX 50577                                              IDAHO FALLS      ID   83405‐0577
MORRIS, SARAH L         8558 HIGHWAY T                                                                             RICHMOND         MO   64085‐8548
MORRIS, SARAH LYNETTE   8558 HIGHWAY T                                                                             RICHMOND         MO   64085‐8548
MORRIS, SARAH O         1765 S 20TH ST APT G                                                                       COLUMBUS         OH   43207‐2083
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Name                      Address1                         Address2                    Address3   Address4         City               State Zip
MORRIS, SATONIA E         2444 ELLSWORTH RD APT 202                                                                YPSILANTI           MI 48197‐4830
MORRIS, SCOTT
MORRIS, SCOTT             THE MOULTON LAW FIRM, P.C.       6401 E THOMAS RD STE 101                                SCOTTSDALE         AZ   85251‐6078
MORRIS, SCOTT A           42053 SUTTERS LN                                                                         NORTHVILLE         MI   48168‐2071
MORRIS, SCOTT W           3113 BESSIE ST                                                                           AUBURN HILLS       MI   48326‐3603
MORRIS, SELVA Z           4900 W WHITE RD                                                                          MUNCIE             IN   47302‐8892
MORRIS, SELVA Z           4900 WEST WHITE ROAD                                                                     MUNCIE             IN   47302
MORRIS, SG CO             699 MINER RD                                                                             HIGHLAND HEIGHTS   OH   44143‐2115
MORRIS, SHANE E           1741 S. CLINTON TR                                                                       EATON RAPIDS       MI   48827
MORRIS, SHARON            6021 YALE ST                                                                             WESTLAND           MI   48185‐3167
MORRIS, SHARON K          55 SPRINGSTOWNE CTR              STE 234                                                 VALLEJO            CA   94591‐5566
MORRIS, SHARON L          1664 ALTADENA PL SW                                                                      ATLANTA            GA   30311‐2617
MORRIS, SHARON S          108 GROFF ROAD                                                                           MILLINGTON         MD   21651‐1610
MORRIS, SHEILA H          749 NEWTOWN RD                                                                           ELKTON             VA   22827‐2914
MORRIS, SHELBY            5270 N LIBERNOIS RD                                                                      ROCHESTER          MI   48305‐2526
MORRIS, SHERMAN           219 N. HOLLANDALE                                                                        ARLINGTON          TX   76010
MORRIS, SHERMAN           219 HOLLANDALE CIR APT N                                                                 ARLINGTON          TX   76010
MORRIS, SHERMAN D         PO BOX 906                                                                               KAMIAH             ID   83536‐0906
MORRIS, SHERRY            621 CHEROKEE DR                                                                          MOUNT CARMEL       TN   37645‐3810
MORRIS, SHERYL D          151 MEADOWCREST DR                                                                       SOMERSET           KY   42503‐6244
MORRIS, SHIRLEY A         19905 WASHTENAW ST                                                                       HARPER WOODS       MI   48225‐2225
MORRIS, SHIRLEY D         9303 BAYSHORE RD.                                                                        PALMETTO           FL   34221‐9590
MORRIS, SHIRLEY J         810 BRANDON AVE 69                                                                       PONTIAC            MI   48340
MORRIS, SHIRLEY J.        10511 E EVERGREEN RD                                                                     ROCKVILLE          IN   47872‐7741
MORRIS, SIGRID M          15805 E 36TH ST S                                                                        INDEPENDENCE       MO   64055‐3716
MORRIS, STANLEY           160 HARRISON CIR                                                                         CUMBERLAND GAP     TN   37724‐3409
MORRIS, STANLEY D         104 WATTS ST                                                                             PARK HILLS         MO   63601‐1836
MORRIS, STANLEY W         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE          MD   21202‐3804
                                                           CHARLES CENTER 22ND FLOOR
MORRIS, STELLA J          UPPR                             1226 KOSHKONONG RD                                      CAMBRIDGE          WI   63523‐9458
MORRIS, STEPHAN ALLAN     8569 MANOR ST                                                                            DETROIT            MI   48204‐3026
MORRIS, STEPHAN E         6135 BROADMOOR PLZ                                                                       INDIANAPOLIS       IN   46228‐1026
MORRIS, STEPHEN A         1500 W MOUNT MORRIS RD                                                                   MOUNT MORRIS       MI   48458‐1828
MORRIS, STEPHEN DOUGLAS   4267 S LAKE DR                                                                           PRESCOTT           MI   48756‐9302
MORRIS, STEPHEN F         320 COUNTRY CLUB DR                                                                      COLUMBIA           SC   29206‐3202
MORRIS, STEVE             19810 CRESTVIEW                                                                          PURCELL            OK   73080‐4761
MORRIS, STEVEN            7943 VERNIER LN                                                                          IRA                MI   48023‐2444
MORRIS, STEVEN G          APT 239                          3250 WALTON BOULEVARD                                   ROCHESTER HLS      MI   48309‐1281
MORRIS, STEVEN G          7708 BALLYSHANNON ST                                                                     INDIANAPOLIS       IN   46217‐5449
MORRIS, STEVEN R          5227 CONNORS LN                                                                          HIGHLAND           MI   48356‐1517
MORRIS, STEVEN R.         5227 CONNORS LN                                                                          HIGHLAND           MI   48356‐1517
MORRIS, SUE               6690 N BAILEY RD                                                                         WHEELER            MI   48662
MORRIS, SUE A             118 EAGLE COVE PL                                                                        SAINT CHARLES      MO   63303‐3716
MORRIS, SUSAN K           1173 MONEY LN                                                                            DANVILLE           IN   46122‐8697
MORRIS, SUZANNE           1926 VZ COUNTY ROAD 3103                                                                 EDGEWOOD           TX   75117‐5024
MORRIS, SUZANNE           1926 VZ CR 3103                                                                          EDGEWOOD           TX   75117
MORRIS, SUZANNE A         1481 WHITE HILL ROAD #1                                                                  WELLSVILLE         NY   14895
MORRIS, SYLVIA G          14977 ARCOLA ST                                                                          LIVONIA            MI   48154‐3964
MORRIS, TAMARA L.         PO BOX 75                                                                                SMYRNA             DE   19977‐0075
MORRIS, TAMELA B          2476 FRED PRINCE DR                                                                      ELBERTON           GA   30635
MORRIS, TEDDY G           113 COUNTY ROAD 46                                                                       CORNING            AR   72422‐7678
MORRIS, TENEAL R          2929 OLD FRANKLIN RD APT 218                                                             ANTIOCH            TN   37013
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Name                              Address1                            Address2                      Address3   Address4         City              State Zip
MORRIS, TERESA A                  96 WILLOWBROOK RD                                                                             ROCHESTER          NY 14616‐2802
MORRIS, TERESSA ANITA             4314 MEADOWBROOK CT                                                                           GRAND BLANC        MI 48439‐7322
MORRIS, TERRY                     532 HIGHWAY 80                                                                                DELHI              LA 71232‐2501
MORRIS, TERRY E                   3 BELMONT CIR                                                                                 TRENTON            NJ 08618‐4453
MORRIS, TERRY E                   3 BELMONT CIRCLE                                                                              TRENTON            NJ 08618‐4453
MORRIS, TERRY G                   532 HIGHWAY 80                                                                                DELHI              LA 71232‐2501
MORRIS, TERRY J                   694 BARTON DR                                                                                 ANN ARBOR          MI 48105‐1145
MORRIS, TERRY L                   13429 SKYVIEW RD                                                                              EDMOND             OK 73013‐7446
MORRIS, TERRY L                   2600 CHANDLER DR APT 1235                                                                     BOWLING GREEN      KY 42104‐6234
MORRIS, TERRY L                   416 YARMOUTH LN                                                                               COLUMBUS           OH 43228‐1336
MORRIS, THADDEUS C                2100 SAWMILL RD                     BUILDING 1 #101                                           RIVER RIDGE        LA 70123
MORRIS, THELMA G                  686 SKODBORG DRIVE                                                                            EATON              OH 45320‐2654
MORRIS, THEODORE E                618 WEST CEDAR AVENUE                                                                         ARKANSAS CITY      KS 67005‐2500
MORRIS, THEODORE M                617 E PENN ST                                                                                 HOOPESTON           IL 60942‐1537
MORRIS, THERESA J                 25867 LAKE RUN DR                                                                             WARRENTON          MO 63383‐6543
MORRIS, THOMAS A
MORRIS, THOMAS C                  5012 WESTHILL DR                                                                              LANSING           MI   48917‐4439
MORRIS, THOMAS E                  100 DOMINION PKWY                                                                             BRANDON           MS   39042‐7527
MORRIS, THOMAS E                  9 MISSION OAK DRIVE                                                                           GRAYSON           GA   30017‐4155
MORRIS, THOMAS E                  2204 OAK CLIFF CT                                                                             VALRICO           FL   33596‐5261
MORRIS, THOMAS H                  309 LINDSEY AVENUE P O BOX APT 44                                                             CHESAPEAKE CITY   MD   21915
MORRIS, THOMAS J                  2306 EBURY CT                                                                                 BENSALEM          PA   19020‐2302
MORRIS, THOMAS J                  17309 ROBERTS DR                                                                              DAVISBURG         MI   48350‐1154
MORRIS, THOMAS J                  20042 FENELON ST                                                                              DETROIT           MI   48234
MORRIS, THOMAS K                  2122 ROBBINS AVE APT 229                                                                      NILES             OH   44446‐3998
MORRIS, THOMAS W                  686 LAURELWOOD DR SE                                                                          WARREN            OH   44484‐2419
MORRIS, TIMOTHY I                 4730 MALUS BLVD                                                                               ANDERSON          IN   46011‐9418
MORRIS, TIMOTHY J                 7096 REDMOND ST                                                                               WATERFORD         MI   48327‐3852
MORRIS, TIMOTHY J                 5756 BOLD RULER DR                                                                            INDIANAPOLIS      IN   46237‐3100
MORRIS, TIMOTHY JEROME            7096 REDMOND ST                                                                               WATERFORD         MI   48327‐3852
MORRIS, TIMOTHY R                 18349 US HIGHWAY 24                                                                           DEFIANCE          OH   43512‐8600
MORRIS, TINA M                    21921 NE 159TH ST                                                                             WOODINVILLE       WA   98077‐7426
MORRIS, TM MANUFACTURING CO INC   SHEILA HOST                         707 BURLINGTON AVENUE                                     SEDALIA           MO   65301
MORRIS, TOMMY R                   4844 PACIFIC CT                                                                               DAYTON            OH   45424‐5427
MORRIS, TONI C                    540 WILD FLOWER CT                                                                            ANDERSON          IN   46013‐1167
MORRIS, TONYA N                   27 HUGHES AVE                                                                                 BUFFALO           NY   14208‐1050
MORRIS, TROY D                    PO BOX 73                           109 DURBON ST                                             GLENWOOD          IN   46133‐0073
MORRIS, TYLER
MORRIS, ULYSSES J                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                      STREET, SUITE 600
MORRIS, VANESSA                   2451 MONTGOMERY AVE NW                                                                        WARREN            OH   44485‐1423
MORRIS, VANESSA A                 1364 BRIAR ROSE DR                                                                            MOUNT MORRIS      MI   48458‐2338
MORRIS, VANESSA Y                 2204 VAN ETTEN ST                                                                             SAGINAW           MI   48601‐3373
MORRIS, VERDA L                   500 S WINDING DR                                                                              WATERFORD         MI   48328‐4161
MORRIS, VERDA L                   500 SOUTH WINDING DR                                                                          WATERFORD         MI   48328‐4161
MORRIS, VERNELL                   19397 SUNSET ST                                                                               DETROIT           MI   48234‐2049
MORRIS, VERNELL                   19397 SUNSET                                                                                  DETROIT           MI   48234‐2049
MORRIS, VERNON J                  5243 EAGLESON RD                                                                              GLADWIN           MI   48624‐9673
MORRIS, VERNON JAMES              5243 EAGLESON RD                                                                              GLADWIN           MI   48624‐9673
MORRIS, VICKI L                   2101 FOUNTAIN SPRINGS DR                                                                      HENDERSON         NV   89074
MORRIS, VICTOR A                  1605 W COUNTY ROAD 750 S                                                                      CLAY CITY         IN   47841‐8013
MORRIS, VICTOR L                  2745 REPPUHN DR                                                                               SAGINAW           MI   48603‐3149
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Name                   Address1                          Address2                        Address3   Address4         City           State Zip
MORRIS, VICTORIA A     11262 PARDEE RD                                                                               TAYLOR          MI 48180‐4229
MORRIS, VINCENT        2384 GLENWOOD DR                                                                              TWINSBURG       OH 44087‐1346
MORRIS, VINCENT        BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE    FL 32202
                       MCCLAMMA & YEGELWEL P.A.          BAY STREET
MORRIS, VIOLA K        1513 PHILOMENE BLVD.                                                                          LINCOLN PARK   MI   48146‐2316
MORRIS, VIRGINIA M     11034 NORTH DITMAN AVENUE                                                                     KANSAS CITY    MO   64157‐1149
MORRIS, VIVIAN G       1686 RANDEE ST NW                                                                             ATLANTA        GA   30318‐3358
MORRIS, VIVIAN L       22 MAPLE ST                                                                                   PONTIAC        MI   48341‐2240
MORRIS, WADE C         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA   23510‐2212
                                                         STREET, SUITE 600
MORRIS, WALTER         BRAYTON PURCELL                   PO BOX 6169                                                 NOVATO         CA   94948‐6169
MORRIS, WALTER C       370 BALDWIN AVE APT 108           MCDONALD SENIOR APTS.                                       PONTIAC        MI   48342‐1386
MORRIS, WALTER H       8660 E 216TH ST                                                                               CICERO         IN   46034‐9337
MORRIS, WALTER J       1938 TOMAHAWK DR                                                                              MIDDLEBURG     FL   32068‐8253
MORRIS, WALTER L       4106 NORTH GENESEE ROAD                                                                       FLINT          MI   48506‐1514
MORRIS, WANAH L        420 N.W. DOUGLAS                                                                              BURLESON       TX   76028‐3547
MORRIS, WANAH L        420 NW DOUGLAS ST                                                                             BURLESON       TX   76028‐3547
MORRIS, WANDA          4723 RICHARD ST                                                                               HOLT           MI   48842‐1348
MORRIS, WANDA L        11812 120TH ST E                                                                              PUYALLUP       WA   98374‐4029
MORRIS, WAYNE F        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA   23510‐2212
                                                         STREET, SUITE 600
MORRIS, WAYNE L        5122 SPARTAN DR                                                                               FORT WAYNE     IN   46804‐4994
MORRIS, WAYNE L        2979 MERCER RD                                                                                NEW CASTLE     PA   16105‐1349
MORRIS, WAYNE R        54601 SILVER ST                                                                               MENDON         MI   49072
MORRIS, WESLEY S       6339 KALBFLEISCH RD                                                                           MIDDLETOWN     OH   45042‐9212
MORRIS, WILLADEAN J    112 E CAROLANNE BLVD                                                                          MARSHALL       TX   75672‐7756
MORRIS, WILLIAM        BARTON & WILLIAMS                 3007 MAGNOLIA ST                                            PASCAGOULA     MS   39567‐4126
MORRIS, WILLIAM        114 19TH ST S                                                                                 COLUMBUS       MS   39701‐6014
MORRIS, WILLIAM A      6690 N BAILEY RD                                                                              WHEELER        MI   48662‐9762
MORRIS, WILLIAM A      5001 CLINTON RD APT 11D                                                                       WHITESBORO     NY   13492‐2730
MORRIS, WILLIAM A      1597 HAMLET DR                                                                                TROY           MI   48084‐5702
MORRIS, WILLIAM D      BOONE ALEXANDRA                   205 LINDA DR                                                DAINGERFIELD   TX   75638‐2107
MORRIS, WILLIAM E      1667 GARWOOD DR                                                                               DAYTON         OH   45432‐3525
MORRIS, WILLIAM F      2718 MAIN ST                                                                                  ELWOOD         IN   46036‐2213
MORRIS, WILLIAM K      3260 WHITFIELD DR                                                                             WATERFORD      MI   48329‐2775
MORRIS, WILLIAM L      23814 FRISBEE ST APT 1                                                                        DETROIT        MI   48219
MORRIS, WILLIAM L      151 MEADOWCREST DR                                                                            SOMERSET       KY   42503‐6244
MORRIS, WILLIAM M      1004 CRIMSON KING PKWY                                                                        MOORESVILLE    IN   46158‐2712
MORRIS, WILLIAM R      1026 TROTWOOD LN                                                                              FLINT          MI   48507‐3709
MORRIS, WILLIAM S      6606 E CEDAR LANE RD                                                                          NORMAN         OK   73026‐5514
MORRIS, WILLIAM T      107 FLINTLOCK RD                                                                              NEWARK         DE   19713‐3029
MORRIS, WILLIAM T      784 POSEYVILLE RD                                                                             BREMEN         GA   30110‐3179
MORRIS, WILLIAM W      22 CAROL LN                                                                                   GRAND ISLAND   NY   14072‐2805
MORRIS, WILLIAM WADE   22 CAROL LN                                                                                   GRAND ISLAND   NY   14072‐2805
MORRIS, WILLIE         205 S 19TH ST                                                                                 SAGINAW        MI   48601‐1442
MORRIS, WILLIE         205 SOUTH 19TH STREET                                                                         SAGINAW        MI   48601‐1442
MORRIS, WILLIE         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD     OH   44067
                                                         PROFESSIONAL BLDG
MORRIS, WILLIE C       1864 SUNNYBROOK DR                                                                            CINCINNATI     OH   45237‐1102
MORRIS, WILLIE G       3732 STUDOR RD                                                                                SAGINAW        MI   48601‐5743
MORRIS, WILLIE L       30 BISMARK ST                                                                                 DANVILLE       IL   61832‐6405
MORRIS, WILLIE R       2291 FARMER ST                                                                                SAGINAW        MI   48601
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Name                          Address1                         Address2                            Address3   Address4         City            State Zip
MORRIS, WILMA                 3980 DEVONSHIRE                                                                                  DETROIT          MI 48224‐3634
MORRIS, WILMA R               803 MCBEE RD                                                                                     BELLBROOK        OH 45305‐9747
MORRIS, WILTON G              797 VERNITA DR                                                                                   LAKE ORION       MI 48362‐2455
MORRIS, WINNIFRED M           133 W 90 ST APT 3‐D                                                                              NEW YORK         NY 10024‐1211
MORRIS, YVETTE P              3921 HUNTERS RIDGE DR APT 2                                                                      LANSING          MI 48911‐1109
MORRIS, ZACHARY W             821 W BEECHWOOD AVE                                                                              MUNCIE           IN 47303‐3873
MORRIS, ZACHARY WADE          821 W BEECHWOOD AVE                                                                              MUNCIE           IN 47303‐3873
MORRIS,GLENDA N.              310 DRAKE AVE                                                                                    BOLINGBROOK       IL 60490‐3104
MORRIS‐CHAVERS, LULA M        6084 REDWAGEN COURT                                                                              FLORISSANT       MO 63033
MORRIS‐ELPERS, ROSA M         19240 FENWICK LN                                                                                 EVANSVILLE       IN 47725‐7812
MORRIS‐HARROLD, JANET A       1382 W MOUNT MORRIS RD                                                                           MOUNT MORRIS     MI 48458‐1830
MORRIS‐HARROLD, JANET ANN     1382 W MOUNT MORRIS RD                                                                           MOUNT MORRIS     MI 48458‐1830
MORRIS‐HUNT, BARBARA A        6055 KNYGHTON RD                                                                                 INDIANAPOLIS     IN 46220‐4990
MORRIS‐SMITH BRIGGS           561 ALTA VISTA WAY                                                                               LAGUNA BEACH     CA 92651‐4057
MORRISA PEISACH               934 NATHANIEL TRAIL                                                                              WARWICK          PA 18974
MORRISARD, FLORENCE J         607 BIRCHWOOD DR                                                                                 LOCKPORT         NY 14094‐9163
MORRISETT, BETTY J            12224 NORTH JACKLEY RD.                                                                          ELWOOD           IN 46036‐8971
MORRISETT, BETTY J            12224 N JACKLEY RD                                                                               ELWOOD           IN 46036‐8971
MORRISETT, JAMES H            2029 FAIRWAY DR                                                                                  GREENCASTLE      IN 46135‐9207
MORRISETT, TOBY M             425 OAK ST                                                                                       TIPTON           IN 46072‐1540
MORRISETTE JR, WALTER T       1530 WYOMING AVE                                                                                 FLINT            MI 48506‐2784
MORRISETTE JR, WILLIAM R      2660 MIDLAND RD                                                                                  BAY CITY         MI 48706‐9201
MORRISETTE, PAMELA A          4118 CASTLE DR                                                                                   MIDLAND          MI 48640‐3481
MORRISEY THOMAS               MORRISEY, THOMAS                 30 LUCY ST                                                      WOODBRIDGE       CT 06525‐2214
MORRISEY, SHARON K            724 SUNRISE DR                                                                                   EMPORIA          KS 66801‐3431
MORRISEY, THOMAS
MORRISEY, THOMAS              PERKINS & ASSOCIATES             30 LUCY ST                                                      WOODBRIDGE      CT    06525‐2214
MORRISH, DORIS                9123 POTTER RD                                                                                   FLUSHING        MI    48433‐1912
MORRISH, GERALD L             1462 THORN RIDGE DR                                                                              HOWELL          MI    48843‐8072
MORRISH, JOE R                5556 FLUSHING RD                                                                                 FLUSHING        MI    48433‐2532
MORRISH, JOE REESE            5556 FLUSHING RD                                                                                 FLUSHING        MI    48433‐2532
MORRISH, JOHN C               2133 JASON DR                                                                                    COMMERCE TWP    MI    48382‐1263
MORRISH, JOHN F               2440 CAMBRIDGE ST                                                                                TRENTON         MI    48183‐2635
MORRISH, LLOYD W              2424 SUN OAKS DR                                                                                 MEDFORD         OR    97504‐8531
MORRISH, MARGARET E           7248 ANNA ST                                                                                     GRAND BLANC     MI    48439‐8547
MORRISH, MARILYN A            1462 THORN RIDGE DR                                                                              HOWELL          MI    48843‐8072
MORRISH, RAYMOND B            10915 E GOODALL RD UNIT 375                                                                      DURAND          MI    48429‐9054
MORRISH, RICHARD H            4545 LONE TREE RD                                                                                MILFORD         MI    48380‐1831
MORRISH, ROBERT J             10001 E GOODALL RD UNIT D13                                                                      DURAND          MI    48429‐9016
MORRISH, ROBERT J             10001 GOODALL RD                 BOX D13                                                         DURAND          MI    48429
MORRISON & FOERSTER           1290 AVE OF THE AMERICAS                                                                         NEW YORK        NY    10104
MORRISON & FOERSTER           PO BOX 60000                                                                                     SAN FRANCISCO   CA    94160‐0001
MORRISON & FOERSTER LLP       1290 AVENUE OF THE AMERICAS                                                                      NEW YORK        NY    10104
MORRISON & SON TRUCKING INC   527 RACE ST                                                                                      COLDWATER       MI    49036‐2121
MORRISON ALICIA               520 ADLER ST                                                                                     BOERNE          TX    78006‐1739
MORRISON ANNIE B (349836)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA    23510
                                                               STREET, SUITE 600
MORRISON ANTHONY              GREATER CHICAGO AUTO SALES INC   29 SOUTH LASALLE STREET SUITE 720                               CHICAGO          IL   60603

MORRISON ANTHONY              MORRISON, ANTHONY                53 W JACKSON BLVD STE 1430                                      CHICAGO          IL   60604‐3791
MORRISON ANTHONY              MORRISON, ANTHONY                53 WEST JACKSON BLVD , STE 1430                                 CHICAGO          IL   60604
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MORRISON AUTOMOTIVE            1297 INDUSTRIAL RD UNIT 4                                                               CAMBRIDGE ON N3H 4W3
                                                                                                                       CANADA
MORRISON AUTOMOTIVE            411 E 5TH NORTH ST STE 2                                                                                       SUMMERVILLE           SC 29483‐5109
MORRISON BARBARA (ESTATE OF)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD            OH 44067
(489162)                                                            PROFESSIONAL BLDG
MORRISON BRAME                 2113 CHELSEA DR NW                                                                                             WILSON                NC    27896‐1476
MORRISON CARLA                 143 CASA BENDITA                                                                                               PALM BEACH            FL    33480‐3602
MORRISON CHEVROLET             111 N DIVISION ST                                                                                              STUART                IA    50250‐7720
MORRISON CHEVROLET             121 DOWNEAST HWY (US ROUTE 1)                                                                                  ELLSWORTH             ME    04605
MORRISON CHEVROLET             DARWIN MORRISON                      121 DOWNEAST HWY (US ROUTE 1)                                             ELLSWORTH             ME    04605

MORRISON CHEVROLET, INC.       DARWIN MORRISON                      121 DOWNEAST HWY (US ROUTE 1)                                             ELLSWORTH             ME 04605

MORRISON COHEN LLP             ATTY FOR BLUE CROSS BLUE SHIELD OF   ATT: JOSEPH T. MOLDOVAN &       909 THIRD AVENUE                          NEW YORK               NY 10022
                               MICHIGAN                             MICHAEL R. DAL LAGO, ESQS
MORRISON COMMUNICATIONS        1135 W MORRIS BLVD                                                                                             MORRISTOWN            TN    37813‐2028
MORRISON ENTERPRISES INC       5301 8TH ST E                                                                                                  FIFE                  WA    98424‐2712
MORRISON GEORGE P (424886)     THORNTON EARLY & NAUMES              100 SUMMER ST LBBY 3                                                      BOSTON                MA    02110‐2104
MORRISON H MATLOCK             7973 HYLAND AVE                                                                                                DAYTON                OH    45424‐4431
MORRISON HAROLD L (352716)     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                               NORFOLK               VA    23510
                                                                    STREET, SUITE 600
MORRISON HAYWOOD SR (402191)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                               NORFOLK                VA 23510
                                                                    STREET, SUITE 600
MORRISON JAMES                 4510 GLENBROOK ST                                                                                              VIDOR                 TX 77662‐8907
MORRISON JAMES H (462376)      ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                BALTIMORE             MD 21202
                                                                    CHARLES CENTER 22ND FLOOR
MORRISON JOSHUA                MORRISON, JOSHUA                     641 WHITNEY RD                                                            CONNEAUT              OH    44030
MORRISON JR, ALFRED B          3174 KINGSWOOD CT                                                                                              MANSFIELD             TX    76063‐7545
MORRISON JR, CHARLES F         811 S STATE ROUTE J                                                                                            PECULIAR              MO    64078‐9580
MORRISON JR, DENNIS G          1715 MARY AVE                                                                                                  LANSING               MI    48910‐5210
MORRISON JR, DENNIS GEAN       1715 MARY AVE                                                                                                  LANSING               MI    48910‐5210
MORRISON JR, EDWARD M          6651‐U ST.RT.7                                                                                                 KINSMAN               OH    44428
MORRISON JR, HAROLD            1334 E REID RD                                                                                                 GRAND BLANC           MI    48439‐8517
MORRISON JR, HUNTER            2042 25TH ST                                                                                                   DETROIT               MI    48216‐5502
MORRISON JR, JAMES M           1097 LESLIE LN                                                                                                 GIRARD                OH    44420‐1441
MORRISON JR, JOHN              PO BOX 1885                                                                                                    CROSSVILLE            TN    38558‐1885
MORRISON JR, JOHN H            134 S YORKSHIRE BLVD                                                                                           YOUNGSTOWN            OH    44515‐3553
MORRISON JR, JOSEPH B          128 LAUREL VIEW RD                                                                                             JONESBOROUGH          TN    37659‐5479
MORRISON JR, JOSEPH T          G‐5083 MILLER ROAD                                                                                             FLINT                 MI    48507
MORRISON JR, LEROY H           706 LAKESIDE DRIVE                                                                                             STANTON               MI    48888‐9113
MORRISON JR, LUTHER            4102 SHERATON DR                                                                                               FLINT                 MI    48532‐3555
MORRISON JR, RALPH R           870 W WALNUT ST                                                                                                SAINT CHARLES         MI    48655‐1258
MORRISON JR, WILDEY D          854 FOX RUN                                                                                                    BLOOMFIELD TOWNSHIP   MI    48304‐3227
MORRISON JR, WILDEY DAVID      854 FOX RUN                                                                                                    BLOOMFIELD TOWNSHIP   MI    48304‐3227
MORRISON KELLI                 MORRISON, KELLI                      2893 4TH AVE                                                              HUNTINGTON            WV    25702‐1425
MORRISON KEVIN L               8433 MYRTLELAKE DR                                                                                             BATON ROUGE           LA    70810‐6619
MORRISON KNU/STERLHT           6250 15 MILE RD                      P.O. BOX 1256                                                             STERLING HEIGHTS      MI    48312‐4504
MORRISON LANNA (664237)        WISE & JULIAN                        PO BOX 1108                                                               ALTON                 IL    62002‐1108
MORRISON MATLOCK               7973 W HYLAND AVE                                                                                              DAYTON                OH    45424‐4431
MORRISON MELVIN (446505)       BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD            OH    44067
                                                                    PROFESSIONAL BLDG
MORRISON MI/CLOTHING           PO BOX 308                                                                                                     SPRING HILL            TN 37174‐0308
                                    09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                                Address1                        Address2                        Address3   Address4         City               State Zip
MORRISON MICHAEL JUSTIN             MORRISON, BENJAMIN ARTHUR       1700 PLEASURE HOUSE RD STE 102A                             VIRGINIA BEACH      VA 23455‐4062

MORRISON MICHAEL JUSTIN             MORRISON, MICHAEL JUSTIN        1700 PLEASURE HOUSE RD STE 102A                             VIRGINIA BEACH     VA 23455‐4062

MORRISON OSCAR L (429506)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MORRISON PAUL A (410982)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MORRISON RAYMOND & CHERYL           2610 PRITCHARD OHLTOWN RD SW                                                                WARREN             OH 44481‐9689
MORRISON RICHARD J (439346)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MORRISON RICHARD WILLIAM (481912)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                    STREET, SUITE 600
MORRISON ROBERT                     4413 EDGEWOOD ST                                                                            DEARBORN HEIGHTS   MI    48125‐3227
MORRISON SHANNON E                  MORRISON, SHANNON E             100 CENTURY PKWY STE 305                                    MOUNT LAUREL       NJ    08054‐1182
MORRISON TIRE                       12045 VALLEY VIEW ST                                                                        GARDEN GROVE       CA    92845‐1723
MORRISON TOOL/TN                    246 MT VIEW INDUSTRIAL DR                                                                   MORRISON           TN    37357‐5914
MORRISON W FRANK (472127)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA    23510
                                                                    STREET, SUITE 600
MORRISON, A E                       16205 SILVERSHORE DR                                                                        FENTON             MI    48430‐9157
MORRISON, A EUGENE                  16205 SILVERSHORE DR                                                                        FENTON             MI    48430‐9157
MORRISON, ALBERT                    1350 HOWARD ST                                                                              PEEKSKILL          NY    10566‐3002
MORRISON, ALBERT P                  503 HAMPTON ST                                                                              CLINTON            MS    39056‐3419
MORRISON, ANGELA R                  4781 PARVIEW DR                                                                             CLARKSTON          MI    48346‐2789
MORRISON, ANGELIQUE EUNICE          1878 OLDTOWN AVENUE                                                                         W BLOOMFIELD       MI    48324‐1261
MORRISON, ANNA H                    4975 OLD TURNPIKE RD                                                                        LITTLE BIRCH       WV    26629‐9749
MORRISON, ANNIE                     637 N UNION RD                                                                              DAYTON             OH    45427‐1518
MORRISON, ANNIE B                   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA    23510‐2212
                                                                    STREET, SUITE 600
MORRISON, ANTHONY                   LEO T MCGONICAL                 53 W JACKSON BLVD SUITE 1430                                CHICAGO             IL   60604
MORRISON, ANTHONY                   C/O MCGONIGAL LEO T             53 WEST JACKSON BLVD, STE 1430                              CHICAGO             IL   60604‐3791

MORRISON, ANTHONY                   2 HICKORY TRACE DR 2                                                                        JUSTICE            IL    60458
MORRISON, ARDIST G                  8815 KNAPP RD                                                                               HOUGHTON LAKE      MI    48629
MORRISON, BARBARA ANN               834 BEECH ST                                                                                LAKE ODESSA        MI    48849‐9431
MORRISON, BETTY L                   1500 W. 14 TH ST.                                                                           MONCIE             IN    47302‐2913
MORRISON, BETTY L                   1500 W 14TH ST                                                                              MUNCIE             IN    47302‐2913
MORRISON, BEULAH                    2108 ULEN LANE                                                                              LAFAYETTE          IN    47904
MORRISON, BEULAH E                  295 SMITHS ST APT 231                                                                       CLIO               MI    48420
MORRISON, BONITA T                  2450 WAYNEWOOD DR NE                                                                        FOWLER             OH    44418‐9748
MORRISON, BRADLEY                   222 E CHESTER DR                                                                            GRAND LEDGE        MI    48837‐9163
MORRISON, BRADLEY J                 5824 N JONES DR                                                                             MILTON             WI    53563‐8811
MORRISON, BRIAN S                   5812 WOOD VALLEY DR                                                                         HASLETT            MI    48840‐9787
MORRISON, BRIAN W                   7200 STATE ROUTE 305                                                                        BURGHILL           OH    44404‐9712
MORRISON, BRYAN L                   6503 RICKY LN                                                                               RAVENNA            OH    44266‐9604
MORRISON, BYRON E                   4799 PARVIEW DR                                                                             CLARKSTON          MI    48346‐2789
MORRISON, BYRON J                   4616 BEECH AVE APT 3                                                                        KALAMAZOO          MI    49006‐1979
MORRISON, CANDICE S                 1851 PAGEANT WAY                                                                            HOLT               MI    48842‐1544
MORRISON, CAROL A                   341 MONET DR.                                                                               NOKOMIS            FL    34275‐1371
MORRISON, CAROLYN                   9151 POINT CHARITY DR                                                                       PIGEON             MI    48755‐9624
MORRISON, CARROL E                  1928 GREENFIELD AVE                                                                         FORT WORTH         TX    76102‐1517
MORRISON, CASEY J                   59573 MANNING DR                                                                            NEW HAVEN          MI    48048‐1855
                          09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                      Address1                       Address2                     Address3   Address4         City                  State Zip
MORRISON, CATHERINE C     354 WEST 6TH STREET                                                                     MANSFIELD              OH 44903‐7010
MORRISON, CATHERINE E     121 SUNRISE CT                                                                          NAPLES                 FL 34119‐2521
MORRISON, CHARLES E       421 SANDSTONE DR                                                                        TUSCALOOSA             AL 35405‐6406
MORRISON, CHARLES W       1832 HALDANE RD                                                                         CLEVELAND              OH 44112‐1522
MORRISON, CHARLOTTE       11500 EAST C.R. 200 NO. RR 2                                                            SELMA                  IN 47383‐9802
MORRISON, CHARLOTTE       200 RR 2                                                                                SELMA                  IN 47383
MORRISON, CHERILYN        2808 SPRING MEADOW CIR                                                                  YOUNGSTOWN             OH 44515‐4959
MORRISON, CHERILYN G      2808 SPRING MEADOW CIR                                                                  YOUNGSTOWN             OH 44515‐4959
MORRISON, CHIYOKO M       5843 N PARK EXT                                                                         WARREN                 OH 44481‐4481
MORRISON, CHRISTINE M     603 FAIRFORD RD                                                                         GROSSE POINTE WOODS    MI 48236
MORRISON, CLAUDIA M       15700 PROVIDENCE DRIVE         APT 307 SOUTH                                            SOUTHFIELD             MI 48075
MORRISON, CLAY W          60 CIRCLE DR                                                                            MOORESVILLE            IN 46158‐1502
MORRISON, COLLEEN A       71 PLYMOUTH RD                                                                          BELLINGHAM             MA 02019‐1241
MORRISON, CONRAD C        PO BOX 79                                                                               SHAFTSBURG             MI 48882‐0079
MORRISON, DALLAS R        1345 NORTH MADISON AVENEUE                                                              ANDERSON               IN 46011
MORRISON, DALTON E        891 COUNTY ROAD 515                                                                     LEXINGTON              AL 35648‐4336
MORRISON, DANIEL F        9567 WOODBINE                                                                           REDFORD                MI 48239‐1679
MORRISON, DANNY L         8728 LOREN RD                                                                           VASSAR                 MI 48768‐9681
MORRISON, DARLENE I       239 LAUREL ST                                                                           YOUNGSTOWN             OH 44505‐1923
MORRISON, DARLENE IRENE   239 LAUREL ST                                                                           YOUNGSTOWN             OH 44505‐1923
MORRISON, DAVID J         34 UNION ST                                                                             BRIARCLIFF             NY 10510‐2421
MORRISON, DAVID R         312 ELM ST                                                                              CHESTERFIELD           IN 46017‐1522
MORRISON, DAWN L          721 S VIRGINIA AVE                                                                      FRENCH LICK            IN 47432‐1295
MORRISON, DELBERT W       8610 S INDIANA AVE                                                                      CHICAGO                 IL 60619‐5624
MORRISON, DEMETRIC O      APT 1701                       101 SOUTH TWIN CREEK DRIVE                               KILLEEN                TX 76543‐4727
MORRISON, DENNIS D        779 CONOVER LN                                                                          COLUMBIA               KY 42728‐2145
MORRISON, DENNIS L        2612 W ERIE AVE APT E                                                                   LORAIN                 OH 44053‐1065
MORRISON, DONALD E        641 ELM DR                                                                              PLAINFIELD             IN 46168
MORRISON, DONALD L        APT 130                        4130 NORTHWEST BOULEVARD                                 DAVENPORT               IA 52806‐4250
MORRISON, DONALD R        7247 HENDERSON AVE                                                                      SAINT LOUIS            MO 63121‐5032
MORRISON, DONALD R        5506 SAVINA AVE                                                                         DAYTON                 OH 45415‐1144
MORRISON, DONNA J         120 HUNTS PARK RD                                                                       FARMINGTON             NY 14425‐9539
MORRISON, DONNA J         421 SANDSTONE DR                                                                        TUSCALOOSA             AL 35405‐6406
MORRISON, DONNA M         1512 CANTERBURY TRL APT A                                                               MOUNT PLEASANT         MI 48858
MORRISON, DONNA M         201 RANCH HOUSE RD                                                                      VENUS                  TX 76084‐4845
MORRISON, DONNA S         82 HIDDEN SPRINGS DR                                                                    SOMERSET               KY 42503‐6410
MORRISON, DORMAN E        846 SUMMITCREST DR                                                                      INDIANAPOLIS           IN 46241‐1729
MORRISON, DOROTHY M       4465 BURBANK RD UNIT 3E                                                                 WOOSTER                OH 44691‐7253
MORRISON, DOROTHY M       8832 OAKVILLE ST                                                                        KELLER                 TX 76248
MORRISON, DOUGLAS C       4599 TIEDEMAN RD                                                                        BROOKLYN               OH 44144‐2331
MORRISON, DUANE           1208 W OVERLOOK RD                                                                      MARION                 IN 46952‐1131
MORRISON, E. EARLINE      7964 E FRITO DR                                                                         MESA                   AZ 85208‐5905
MORRISON, EARL E          10281 MORRISH RD                                                                        MONTROSE               MI 48457‐9135
MORRISON, EDGAR F         635 UNDERWOOD DR                                                                        GIRARD                 OH 44420‐1143
MORRISON, EDWARD D        270 DIXIE DR                                                                            PENNS GROVE            NJ 08069‐2206
MORRISON, EDWARD H        71 PLYMOUTH RD                                                                          BELLINGHAM             MA 02019‐1241
MORRISON, EDWARD P        500 WEST 235TH STREET                                                                   BRONX                  NY 10463
MORRISON, EILEEN L.       380 SHAEFER ST                                                                          PORT CHARLOTTE         FL 33953‐4500
MORRISON, ELLEN L         4644 S ROYSTON RD                                                                       EATON RAPIDS           MI 48827‐8017
MORRISON, ELSIE S         13 CEDAR TER                                                                            NEPTUNE                NJ 07753‐3360
MORRISON, ERIC W          88 WINDRIDGE LN                                                                         PANAMA CITY BEACH      FL 32413‐2686
MORRISON, EVELYN M        C/O STEVEN THOMAS MORRISON     706 LAKESIDE DRIVE                                       STANTON                MI 48888
                        09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                    Address1                            Address2                          Address3   Address4         City               State Zip
MORRISON, EVELYN M      706 LAKESIDE DR                     C/O STEVEN THOMAS MORRISON                                    STANTON             MI 48888‐9113
MORRISON, EVERETT J     GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET, SUITE 600                               NORFOLK             VA 23510

MORRISON, FRANK
MORRISON, FRANK J       4247 STUDOR RD                                                                                    SAGINAW            MI   48601‐5748
MORRISON, FRANK R       164 WILL DANIEL RD                                                                                WOODBURY           TN   37190‐5449
MORRISON, FREDDIE J     5167 SERENITY MOUNTAIN RD                                                                         WAYNESVILLE        NC   28786‐8251
MORRISON, FREDERICK L   2450 WAYNEWOOD DR NE                                                                              FOWLER             OH   44418‐9748
MORRISON, GARRY L       1224 N UNION AVE                                                                                  SALEM              OH   44460‐1355
MORRISON, GARRY LEE     1224 N UNION AVE                                                                                  SALEM              OH   44460‐1355
MORRISON, GARY A        8763 HENDERSON RD                                                                                 DIAMOND            OH   44412‐9776
MORRISON, GARY V        2388 EDGEWATER DR                                                                                 CORTLAND           OH   44410‐8601
MORRISON, GENELLA K     5192 WORCHESTER DRIVE                                                                             SWARTZ CREEK       MI   48473‐1229
MORRISON, GEORGE        THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                          BOSTON             MA   02110‐2104
MORRISON, GEORGE C      16 RAVEN WAY                                                                                      ROCHESTER          NY   14606‐3614
MORRISON, GEORGE C      1825 N SALEM DR                                                                                   INDEPENDENCE       MO   64058‐1354
MORRISON, GEORGE J      3 MARANDA ST                                                                                      WORCESTER          MA   01604‐2405
MORRISON, GEORGE R      1119 MANCHESTER DR                                                                                BROWNSBURG         IN   46112‐7704
MORRISON, GEORGE W      12261 LONGVIEW DR                                                                                 NO HUNTINGDON      PA   15642‐2216
MORRISON, GERALD O      20150 PLANTATION LN                                                                               BEVERLY HILLS      MI   48025‐5050
MORRISON, GERALD V      1426 KETTERING ST                                                                                 BURTON             MI   48509‐2406
MORRISON, GERARD E      230 CANE MILL LN                                                                                  DAHLONEGA          GA   30533‐7137
MORRISON, GLEN F        784 MARLBOROUGH ST                                                                                DETROIT            MI   48215
MORRISON, GLENDA        15044 DOBSON AVE APT 1                                                                            DOLTON             IL   60419
MORRISON, GLENN A       64180 CAMPGROUND RD                                                                               WASHINGTON         MI   48095‐2406
MORRISON, GREGORY H     10610 STRATMAN ST                                                                                 DETROIT            MI   48224‐2416
MORRISON, GREGORY H     15455 SPRING GARDEN ST                                                                            DETROIT            MI   48205‐3526
MORRISON, GREGORY L     6043 SHERMAN RD                                                                                   CHARLOTTE          MI   48813‐9148
MORRISON, HALL H        8225 PEMBROKE AVE                                                                                 DETROIT            MI   48221‐1159
MORRISON, HAROLD L      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510‐2212
                                                            STREET, SUITE 600
MORRISON, HAYWOOD       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
MORRISON, HAZE R        3685 ROWLAND RD                                                                                   VASSAR             MI   48768‐9551
MORRISON, HAZEL Y       315 S WASHINGTON                                                                                  CHESTERFIELD       IN   46017‐1628
MORRISON, HELEN C       204 W FRAZIER AVE                                                                                 COLUMBIA           KY   42728‐1662
MORRISON, HELLEN T      2982NW 73 AVE                                                                                     SUNRISE            FL   33313
MORRISON, HENRY R       14 LARRY LN                                                                                       CORTLAND           OH   44410‐9325
MORRISON, HEZEKIAH H    1085 LAKE O PINES ST NE                                                                           HARTVILLE          OH   44632‐9441
MORRISON, HOUSTON       1745 HIGHVIEW ST                                                                                  DE PERE            WI   54115‐3319
MORRISON, HOWARD C      8808 WEST 82 TERRANCE                                                                             OVERLAND PARK      KS   66204
MORRISON, HUBRET G      3917 SAVANNAH DR                                                                                  GARLAND            TX   75041‐5027
MORRISON, HUNTER        32612 ROBESON ST                                                                                  ST CLR SHORES      MI   48082‐2911
MORRISON, IDA B         301 HORATIO ST APT 103                                                                            CHARLOTTE          MI   48813‐1596
MORRISON, IDA B         301 HORATIO ST.                     APT 103                                                       CHARLOTTE          MI   48813
MORRISON, IMOGENE W     33218 GROTH DR                                                                                    STERLING HEIGHTS   MI   48312‐6708
MORRISON, INEZ          2871 WATERFORD DR                                                                                 SAGINAW            MI   48603‐3275
MORRISON, ISADORE W     201 RANCH HOUSE RD                                                                                VENUS              TX   76084‐4845
MORRISON, JACK C        118 WESTWOOD LN                                                                                   HUNTINGTON         WV   25704‐9440
MORRISON, JACK G        1420 BECKWITH DR                                                                                  ARLINGTON          TX   76018‐2616
MORRISON, JACQUELINE    GORBERG DAVID J & ASSOCIATES        2325 GRANT BUILDING 310 GRANT                                 PITTSBURGH         PA   15219
                                                            STREET
                         09-50026-mg               Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                     Address1                          Address2                    Address3   Address4         City              State Zip
MORRISON, JAMES A        370 WILSON AVE                                                                            JANESVILLE         WI 53548‐4739
MORRISON, JAMES B        1025 OTTLAND SHRS                                                                         LAKE ODESSA        MI 48849‐9428
MORRISON, JAMES B        35150 FARRAGUT DR                                                                         EASTLAKE           OH 44095‐1722
MORRISON, JAMES D        7745 BROOKWOOD ST NE                                                                      WARREN             OH 44484‐1542
MORRISON, JAMES E        170 MORNINGSIDE DR                                                                        CLARKESVILLE       GA 30523‐6022
MORRISON, JAMES E        1295 WOODCREEK DR                                                                         GREENWOOD          IN 46142‐8377
MORRISON, JAMES E        533 OLD BRIDGE RD                                                                         GRAND BLANC        MI 48439‐1171
MORRISON, JAMES E.       28466 HOOVER ROAD                                                                         WARREN             MI 48093
MORRISON, JAMES G        20709 HILLGROVE AVE                                                                       MAPLE HEIGHTS      OH 44137‐2061
MORRISON, JAMES G.       20709 HILLGROVE AVE                                                                       MAPLE HEIGHTS      OH 44137‐2061
MORRISON, JAMES H        ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                               BALTIMORE          MD 21202
                                                           CHARLES CENTER 22ND FLOOR
MORRISON, JAMES L        6187 WINDSOR DR                                                                           INDIANAPOLIS      IN   46219‐2152
MORRISON, JAMES M        1153 E FAIRVIEW LN                                                                        ROCHESTER HILLS   MI   48306‐4125
MORRISON, JAMES M        2886 SPIELMAN HEIGHTS DR                                                                  ADRIAN            MI   49221‐9228
MORRISON, JAMES MONROE   2886 SPIELMAN HEIGHTS DR                                                                  ADRIAN            MI   49221‐9228
MORRISON, JAMES N        24 TRUESDALE RD                                                                           BUFFALO           NY   14223‐3127
MORRISON, JAMES T        250 W STATE ROUTE 122                                                                     LEBANON           OH   45036‐8211
MORRISON, JAMIE L        27409 TOWNLEY STREET                                                                      MADISON HTS       MI   48071‐3382
MORRISON, JEAN E         13540 CAPERNALL RD                                                                        CARLETON          MI   48117‐9591
MORRISON, JEANNE A       370 WILSON AVE                                                                            JANESVILLE        WI   53548‐4739
MORRISON, JEFFREY G      76 REMSEN ST APT 2C                                                                       BROOKLYN          NY   11201‐3455
MORRISON, JEFFREY S      PO BOX 9022                                                                               WARREN            MI   48090‐9022
MORRISON, JERRY R        11133 TREMONT LN                                                                          PLYMOUTH          MI   48170‐6149
MORRISON, JILLANA K      1961 SANDRA STREET                                                                        BOWLING GREEN     KY   42101‐9228
MORRISON, JILLANA KAY    1961 SANDRA STREET                                                                        BOWLING GREEN     KY   42101‐9228
MORRISON, JIM F          1453 MINTOLA AVENUE                                                                       FLINT             MI   48532‐4046
MORRISON, JIMMIE E       5743 VENTURA CANYON AVE                                                                   VAN NUYS          CA   91401‐4533
MORRISON, JOAN N         5505 M52 SOUTH                                                                            CHELSEA           MI   48118
MORRISON, JOE D          4679 E 1100 S                                                                             LADOGA            IN   47954‐7236
MORRISON, JOE R          3972 CORDELL DR.                                                                          KETTERING         OH   45439‐5439
MORRISON, JOHN           10 BELL PL                                                                                YONKERS           NY   10701‐3007
MORRISON, JOHN D         2409 REYNOLDS RD                                                                          REDFIELD          AR   72132‐9578
MORRISON, JOHN H         56A HOLLINGSWORTH MNR                                                                     ELKTON            MD   21921‐6605
MORRISON, JOHN L         507 WOODSIDE DR                                                                           MOUNT MORRIS      MI   48458‐3009
MORRISON, JOHN M         215 N TYRONE DR                                                                           MUNCIE            IN   47304‐3132
MORRISON, JOHN R         207 AVON AVE                                                                              PLAINFIELD        IN   46168‐1103
MORRISON, JOHN R         11 BOSWELL PL                                                                             TONAWANDA         NY   14150‐7908
MORRISON, JOHN W         4501 SE RHODESA ST                                                                        MILWAUKIE         OR   97222‐5162
MORRISON, JOSEPH A       821 1ST ST                                                                                SANDUSKY          OH   44870‐3819
MORRISON, JOSEPH C       76 MEADOWBROOK RD                                                                         EIGHTY FOUR       PA   15330‐2486
MORRISON, JOSEPH N       600 N PARK ST                                                                             REED CITY         MI   49677‐9375
MORRISON, JOSHUA         641 WHITNEY RD                                                                            CONNEAUT          OH   44030‐1154
MORRISON, JULIE K        514 JADE DR                                                                               LANSING           MI   48917‐3446
MORRISON, KAI
MORRISON, KARL D         6907 CARIBOU DR                                                                           INDIANAPOLIS      IN   46278‐1887
MORRISON, KATHLEEN A     64180 CAMPGROUND RD                                                                       WASHINGTON TWP    MI   48095‐2406
MORRISON, KATHLEEN L     9300 BIRCH RUN DR                                                                         GAYLORD           MI   49735‐8531
MORRISON, KELLI          2893 4TH AVE                                                                              HUNTINGTON        WV   25702‐1425
MORRISON, KENNETH R      5505 S MI STATE ROAD 52                                                                   CHELSEA           MI   48118‐9604
MORRISON, KEVIN G        1086 ELLIOTT RD                                                                           FOWLERVILLE       MI   48836‐9278
MORRISON, KIRBY D        126 S SHELL RD                                                                            DEBARY            FL   32713‐3246
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Name                       Address1                              Address2                      Address3   Address4         City                 State Zip
MORRISON, LANNA            C/O GORI JULIAN & ASSOCIATES PC       156 N MAIN ST                                             EDWARDSVILLE           IL 62025
MORRISON, LARRY D          607 HORATIO ST                                                                                  CHARLOTTE             MI 48813‐1918
MORRISON, LARRY J          3668 NW 23RD BLVD                                                                               JENNINGS              FL 32053‐2728
MORRISON, LARRY R          10921 HIGHWAY 52                                                                                VERSAILLES            MO 65084‐4917
MORRISON, LEE O            28817 FLANDERS AVE                                                                              WARREN                MI 48088‐6313
MORRISON, LEO W            2479 LANCE ST RT 1 1                                                                            LAKE ORION            MI 48360
MORRISON, LESLIE C         725 KENT ST                                                                                     PORTLAND              MI 48875‐1714
MORRISON, LINDA A          6769 FREDMOOR DRIVE                                                                             TROY                  MI 48098‐1763
MORRISON, LISA A           221 WILLARD AVE SE APT D                                                                        WARREN                OH 44483‐6253
MORRISON, LONNIE I         7350 JACKIE CT                                                                                  INDIANAPOLIS          IN 46221‐9357
MORRISON, LONNIE R         510 LOCUST ST                                                                                   CUBA                  MO 65453‐1922
MORRISON, LUCRETIA         6404 FORT SCOTT CT                                                                              PLANO                 TX 75023‐4311
MORRISON, LYMAN H          602 WARNER DR                                                                                   LINDEN                MI 48451‐9661
MORRISON, LYNDA S          3127 TRAPPERS COVE TRL APT 1A                                                                   LANSING               MI 48910‐8279
MORRISON, M J              4223 2ND ST                                                                                     BROWN CITY            MI 48416‐7717
MORRISON, MAE J            14161 SHELDON RD                                                                                BELLEVILLE            MI 48111‐4921
MORRISON, MANCIL L         513 S BURKE ST                                                                                  VERSAILLES            MO 65084‐1356
MORRISON, MARGARET A       7607 QUEENS WAY                                                                                 ELLENTON              FL 34222‐3850
MORRISON, MARGARET J       1916 HAMMAN DR                                                                                  TROY                  MI 48085‐5072
MORRISON, MARGARET S       102 DAVID DRIVE                                                                                 NORTH VERNON          IN 47265‐2207
MORRISON, MARGARET S       102 DAVID DR                                                                                    NORTH VERNON          IN 47265‐2207
MORRISON, MARGIE M         1216 RALPH ST                                                                                   GARDEN CITY           MI 48135‐1129
MORRISON, MARION D         7203 WINBURN DR                                                                                 GREENWOOD             LA 71033‐3217
MORRISON, MARION RANDALL   PIERCE HERNS SLOAN & MCLEOD           321 EAST BAY ST                                           CHARLESTON            SC 29401
MORRISON, MARK C           7531 PORTER RD                                                                                  GRAND BLANC           MI 48439‐8555
MORRISON, MARTHA G         2399 HOSMER RD                                                                                  APPLETON              NY 14008‐9623
MORRISON, MARTHA R         3252 N. OFFUTT BRIDGE RD.                                                                       RUSHVILLE             IN 46173
MORRISON, MARTY            CARL E PIERCE ATTORNEY @ PIERCE HERNS PO BOX 22437                                              CHARLESTON            SC 29413‐2437
                           SLOAN & MCLEOD LLC
MORRISON, MARVIN L         3517 WEST ST R3                                                                                 LANSING              MI   48917
MORRISON, MARY A           290 JENNY LN                                                                                    MARTIN               TN   38237‐5711
MORRISON, MARY A           290 JENNY LANE                                                                                  MARTIN               TN   38237‐5711
MORRISON, MARY L           361 COVINA ST                                                                                   DAYTON               OH   45431‐2223
MORRISON, MARY L           110 TWIN OAKS DR                                                                                LAPEER               MI   48446‐7630
MORRISON, MATTHEW S        APT 7                                 1912 EAST RACINE STREET                                   JANESVILLE           WI   53545‐4365
MORRISON, MAUREEN
MORRISON, MELVIN W         481 CORDGRASS LANE                                                                              LITTLE RIVER         SC   29566‐7108
MORRISON, MICHAEL A        478‐240 DEAN DR                                                                                 SUSANVILLE           CA   96130‐9509
MORRISON, MICHAEL P        223 LOCUST ST APT A4                                                                            ANACONDA             MT   59711‐2268
MORRISON, MICHAEL R        262 S PERKINS RD                                                                                HARRISVILLE          MI   48740‐9662
MORRISON, MILDRED J        PO BOX 79                                                                                       SHAFTSBURG           MI   48882‐0079
MORRISON, MILES W          9345 E DAVENPORT DR                                                                             SCOTTSDALE           AZ   85260‐7419
MORRISON, NANCY L          6445 STONEHURST DR                                                                              HUBER HEIGHTS        OH   45424‐2168
MORRISON, NINA             1345 NORTH MADISON AVENEUE                                                                      ANDERSON             IN   46011
MORRISON, OSCAR L          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                                 STREET, SUITE 600
MORRISON, PAMELA S         9115 N VASSAR RD                                                                                MOUNT MORRIS         MI   48458‐9726
MORRISON, PARKE E          1460 TELEGRAPH RD                                                                               HONEY BROOK          PA   19344‐9092
MORRISON, PATRICIA         8347 W LONG LAKE DR                                                                             KALAMAZOO            MI   49048‐5527
MORRISON, PATRICIA A       23321 JOY ST                                                                                    SAINT CLAIR SHORES   MI   48082‐2526
MORRISON, PATRICIA E       6275 N JENNINGS RD                                                                              MOUNT MORRIS         MI   48458‐9334
MORRISON, PATRICIA J.      21842 CONCORD DR                                                                                BROWNSTOWN           MI   48193‐7569
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Name                   Address1                       Address2                      Address3   Address4         City                  State Zip
MORRISON, PATTY LEE    1363 LANE WEST RD SW                                                                     WARREN                 OH 44481‐9753
MORRISON, PAUL A       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                      STREET, SUITE 600
MORRISON, PHILIP J     295 E NORTH ST # 400                                                                     HARTFORD CITY         IN   47348
MORRISON, RACHEL       4813 THAMES DRIVE                                                                        GRAND PRAIRIE         TX   75052‐8399
MORRISON, RALPH C      32718 DESMOND DR                                                                         WARREN                MI   48093‐1175
MORRISON, RALPH C      6445 STONEHURST DR                                                                       HUBER HEIGHTS         OH   45424‐2168
MORRISON, RALPH E      768 WHEELWRIGHT RD                                                                       BARRE                 MA   01005‐8850
MORRISON, RALPH J      3400 VIOLA DR                                                                            LANSING               MI   48911‐3323
MORRISON, RAYMOND R    779 N 900 W                                                                              ANDERSON              IN   46011‐9153
MORRISON, RICHARD      129 HEMPSTEAD 280                                                                        HOPE                  AR   71801‐9525
MORRISON, RICHARD A    439 SUMMIT WAY                                                                           BLAIRSVILLE           GA   30512‐4682
MORRISON, RICHARD J    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                      STREET, SUITE 600
MORRISON, RICHARD L    237 STONEWALL DR                                                                         WAYNESBORO            VA   22980‐1550
MORRISON, RICHARD L    431 5TH ST                                                                               OXFORD                PA   19363‐2405
MORRISON, RICHARD S    3940 COTTONTAIL LN                                                                       BLOOMFIELD HILLS      MI   48301‐1908
MORRISON, RICHARD W    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                      STREET, SUITE 600
MORRISON, RICKY A      2050 SKYLAR LEIGH DR                                                                     BUFORD                GA   30518‐2480
MORRISON, RICKY W      33 S TUXEDO ST                                                                           INDIANAPOLIS          IN   46201‐4309
MORRISON, RITA R       3724 CROWN SHORE DR                                                                      DALLAS                TX   75244‐7023
MORRISON, ROBERT       4409 W COLONY RD                                                                         SAINT JOHNS           MI   48879‐9714
MORRISON, ROBERT B     1454 NICHOLAS LN                                                                         CHARLOTTE             MI   48813‐8787
MORRISON, ROBERT C     2908 CRAVENRIDGE DR NE                                                                   ATLANTA               GA   30319‐2924
MORRISON, ROBERT D     12125 BRIARWAY NORTH DR                                                                  INDIANAPOLIS          IN   46259‐1103
MORRISON, ROBERT D     3120 STANTON RD                                                                          OXFORD                MI   48371‐5829
MORRISON, ROBERT F     5268 CLIFTON PL                                                                          FAIRFIELD             OH   45014‐3303
MORRISON, ROBERT J     2867 LAURIA RD                                                                           KAWKAWLIN             MI   48631‐9169
MORRISON, ROBERT J     11730 NO BELLEFONTAINE         LOT 127                                                   KANSAS CITY           MO   64156
MORRISON, ROBERT L     2703 S MULBERRY ST                                                                       MUNCIE                IN   47302‐5059
MORRISON, ROBERT L     843 SATTERLEE RD                                                                         BLOOMFIELD            MI   48304‐3151
MORRISON, ROBERT L     6769 FREDMOOR DR                                                                         TROY                  MI   48098‐1763
MORRISON, ROBERT S     3940 COTTONTAIL LN                                                                       BLOOMFIELD HILLS      MI   48301‐1908
MORRISON, ROBERT U     4413 EDGEWOOD ST                                                                         DEARBORN HTS          MI   48125‐3227
MORRISON, RODERICK R   PO BOX 921                                                                               INDIANAPOLIS          IN   46206‐0921
MORRISON, RODGIS A     32624 ROBESON ST                                                                         ST CLAIR SHRS         MI   48082‐2911
MORRISON, ROGER D      4360 S ROYSTON RD                                                                        EATON RAPIDS          MI   48827‐9038
MORRISON, ROGER W      2860 15 MILE RD NE                                                                       CEDAR SPRINGS         MI   49319‐9424
MORRISON, RONALD B     19701 SERENITY PL                                                                        HARRAH                OK   73045‐1116
MORRISON, RONALD J     355 CLYDE RD                                                                             HIGHLAND              MI   48357‐2708
MORRISON, ROSALYN E    200 ANDERSON ST                                                                          MANHATTAN BEACH       CA   90266‐6610
MORRISON, ROY L        725 ARNETT BLVD                                                                          ROCHESTER             NY   14619‐1427
MORRISON, RUTH R       2350 EDGEWOOD DR                                                                         FARWELL               MI   48622‐9752
MORRISON, SAMMY L      29156 BOCK ST                                                                            GARDEN CITY           MI   48135‐2857
MORRISON, SAMUEL A     400 SHERWOOD ST                                                                          THE VILLAGES          FL   32162‐1600
MORRISON, SANDRA J     1551 N CHAPIN RD                                                                         MERRILL               MI   48637‐9561
MORRISON, SANDRA K     10501 W GRAND RIVER RD                                                                   FOWLERVILLE           MI   48836‐9287
MORRISON, SANDRA R     19119 E QUEENSBOROUGH CT                                                                 OWASSO                OK   74055‐7735
MORRISON, SARAH K      333 CADGEWITH EAST                                                                       LANSING               MI   48906‐1527
MORRISON, SCOTT D      603 FAIRFORD RD                                                                          GROSSE POINTE WOODS   MI   48236‐2411
MORRISON, SHELBY J     249 DARRELL DR                                                                           ARAB                  AL   35016‐6501
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Name                          Address1                             Address2                        Address3   Address4         City            State Zip
MORRISON, SHELLY L            7531 PORTER RD                                                                                   GRAND BLANC      MI 48439‐8555
MORRISON, SHELLY LORE         7531 PORTER RD                                                                                   GRAND BLANC      MI 48439‐8555
MORRISON, SHERYL R            2518 RUGBY RD                                                                                    DAYTON           OH 45406‐2132
MORRISON, SHERYL R            2518 RUGBY ROAD                                                                                  DAYTON           OH 45406
MORRISON, SHIRLEY A           1870 DIFFORD DR                                                                                  NILES            OH 44446‐2848
MORRISON, SPRING C            PO BOX 426                                                                                       DIMONDALE        MI 48821‐0426
MORRISON, STEVEN T            706 LAKESIDE DR                                                                                  STANTON          MI 48888‐9113
MORRISON, SUE ANN             5268 CLIFTON PL                                                                                  FAIRFIELD        OH 45014‐3303
MORRISON, TERRY L             9750 LAINGSBURG RD                                                                               LAINGSBURG       MI 48848‐9328
MORRISON, TERRY M             1089 CORYDON DR                                                                                  MOUNT MORRIS     MI 48458
MORRISON, THOMAS              5321 LILY CT                                                                                     LA PLATA         MD 20646‐3638
MORRISON, THOMAS E            3143 159TH ST                                                                                    CLEVELAND        OH 44107
MORRISON, THOMAS E            264 MOHICAN RD N. E.                                                                             BREWSTER         OH 44613‐1126
MORRISON, THOMAS L            2808 SPRING MEADOW CIR                                                                           YOUNGSTOWN       OH 44515‐4959
MORRISON, THOMAS O            2518 RUGBY RD                                                                                    DAYTON           OH 45406‐2132
MORRISON, THOMAS R            4230 WALBRIDGE TRL                                                                               BEAVERCREEK      OH 45430‐1827
MORRISON, TIMOTHY L           14524 LIMA RD                                                                                    FORT WAYNE       IN 46818
MORRISON, TURNER D            3000 MARKET ST                                                                                   PENDLETON        IN 46064‐9028
MORRISON, VENICE E            12372 S COUNTY ROAD 450 E                                                                        CLOVERDALE       IN 46120‐8623
MORRISON, VICTORYIA M         8027 BROOKWOOD ST NE                                                                             WARREN           OH 44484‐1548
MORRISON, W FRANK             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                                   STREET, SUITE 600
MORRISON, WALDERINE M         1320 ASHEBURY LN.                    APT. 326                                                    HOWELL          MI   48843
MORRISON, WALDERINE M         1320 ASHEBURY LN APT 326                                                                         HOWELL          MI   48843‐1693
MORRISON, WALTER E            253 E BROAD ST                                                                                   NEWTON FALLS    OH   44444‐1710
MORRISON, WAYNE N             2768 EVENING GLORY CT                                                                            CLINTON         WA   98236‐9114
MORRISON, WILFRED E           508 FURNACE ST                                                                                   ELYRIA          OH   44035‐3530
MORRISON, WILLIAM             GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                 SAGINAW         MI   48604‐2602
                                                                  260
MORRISON, WILLIAM A           15 HICKORY LN                                                                                    BATESVILLE      IN   47006‐7692
MORRISON, WILLIAM A           833 LOWER JOHNSON CIR                                                                            SAINT PETER     MN   56082‐1133
MORRISON, WILLIAM D           1144 HOUSEL CRAFT RD                                                                             CORTLAND        OH   44410‐9565
MORRISON, WILLIAM K           7872 RANCH ESTATES RD                                                                            CLARKSTON       MI   48348‐4023
MORRISON, WILLIAM R           305 TANYARD HOLLOW RD                                                                            CONNELLSVILLE   PA   15425‐1845
MORRISON, WILLIAM T           BX 88 DE                                                                                         BELOIT          OH   44609
MORRISON, WILLIE M            535 FARMER LN                                                                                    BOWLING GREEN   KY   42104‐8546
MORRISON, WILLIE MACK         535 FARMER LN                                                                                    BOWLING GREEN   KY   42104‐8546
MORRISON, WILLIE N, SR        GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                               NORFOLK         VA   23510

MORRISON, WILLIE P            8024 SOUTHSIDE BLVD APT 38                                                                       JACKSONVILLE    FL   32256‐8049
MORRISON, WILLIS              2903 CLINGAN ST                                                                                  YOUNGSTOWN      OH   44505‐4021
MORRISON,JAMES T              250 W STATE ROUTE 122                                                                            LEBANON         OH   45036‐8211
MORRISON‐CHASTINE, SHEILA A   10271 MONTICELLO BLVD                                                                            FORT WAYNE      IN   45825‐8103
MORRISON‐KNUDSEN CO           7600 GENERAL MOTORS BLVD                                                                         SHREVEPORT      LA   71129‐9426
MORRISON‐LEWIS, DEBRA E       6032 CHANDELLE CIR                                                                               PENSACOLA       FL   32507‐8104
MORRISON‐ROWE, ANDREW S       410 W CHATHAM ST                                                                                 APEX            NC   27502‐1412
MORRISONS CUS/KNGSTN          844 W MARKET ST                                                                                  KINGSTON        PA   18704‐3302
MORRISONS CUS/MOBILE          4721 MORRISON DR                     P.O. BOX 160266                                             MOBILE          AL   36625‐0001
MORRISS WILLIAM B (409197)    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                                   STREET, SUITE 600
MORRISS, DELMAR O             1102 ASH ST                                                                                      HARRISONVILLE   MO 64701‐1591
MORRISS, EVERETT E            910 MCCAMPBELL WAY                                                                               KODAK           TN 37764‐1693
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Name                               Address1                      Address2                      Address3   Address4         City                  State Zip
MORRISS, ROBERT C                  PO BOX 7577                   104 LAGUNA                                                INDIAN LAKE ESTATES    FL 33855‐7577
MORRISS, STACY R                   709 S OAKLAND ST                                                                        HARRISONVILLE          MO 64701‐2117
MORRISS, WILLIAM B                 GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                                 STREET, SUITE 600
MORRISSETT, LARRY D                2099 W RIDGE DR                                                                         DAVISON               MI   48423‐2128
MORRISSETT, STANLEY F              10003 SHARON DR                                                                         MONTROSE              MI   48457‐9787
MORRISSETT, STANLEY FRED           10003 SHARON DR                                                                         MONTROSE              MI   48457‐9787
MORRISSETTE PAUL J (490157)        THORNTON EARLY & NAUMES       100 SUMMER ST LBBY 3                                      BOSTON                MA   02110‐2104
MORRISSETTE PAUL J (493417)        THORNTON EARLY & NAUMES       100 SUMMER ST LBBY 3                                      BOSTON                MA   02110‐2104
MORRISSETTE, ALAN R                21280 PRATT RD                                                                          ARMADA                MI   48005‐1331
MORRISSETTE, GARY A                4353 TIFFTON DR                                                                         SAGINAW               MI   48603‐2071
MORRISSETTE, GERALD H              107 E SAINT JOHNS WAY                                                                   APOLLO BEACH          FL   33572‐2218
MORRISSETTE, GILLARD               17839 MAINE ST                                                                          DETROIT               MI   48212‐1019
MORRISSETTE, HELEN                 2305 PLEASANT VALLEY RD                                                                 MOBILE                AL   36606‐2137
MORRISSETTE, PAUL J                THORNTON EARLY & NAUMES       100 SUMMER ST LBBY 3                                      BOSTON                MA   02110‐2104
MORRISSETTE, ROBERT R              172 SENECA RD                                                                           ROCHESTER             NY   14622‐2041
MORRISSETTE, WILLIAM R             100 HAMPTON RD LOT 209                                                                  CLEARWATER            FL   33759‐3932
MORRISSETTE, WILLIAM ROBERT        100 HAMPTON RD LOT 209                                                                  CLEARWATER            FL   33759
MORRISSEY INC                      KEN KINDWORTH                 9304 BRYANT AVE. SOUTH                                    KOKOMO                IN   46901
MORRISSEY INC                      9304 BRYANT AVE S                                                                       MINNEAPOLIS           MN   55420‐3404
MORRISSEY INC.                     KEN KINDWORTH                 9304 BRYANT AVE. SOUTH                                    KOKOMO                IN   46901
MORRISSEY JEREMY                   1601 WILSHIRE BLVD                                                                      SANTA MONICA          CA   90403‐5507
MORRISSEY KELLY                    6731 HARBOR KEY CIR                                                                     HUNTINGTON BEACH      CA   92648‐2117
MORRISSEY MARSHA                   49 FISKE HILL RD                                                                        STURBRIDGE            MA   01566‐1233
MORRISSEY PONTIAC‐GMC              510 SUNRISE HWY                                                                         ROCKVILLE CENTRE      NY   11570‐5038
MORRISSEY ROBERT A (118962)        PERLBERGER & HAFT             1 BALA AVE STE 400                                        BALA CYNWYD           PA   19004‐3210
MORRISSEY, BARBARA J               1635 CLEMENTS AVE                                                                       NATIONAL CITY         MI   48748‐9567
MORRISSEY, DANIEL W                2742 SILVERSTONE LN                                                                     WATERFORD             MI   48329‐4533
MORRISSEY, DONALD W                5811 PRINCESS CAROLINE PL                                                               LEESBURG              FL   34748‐7981
MORRISSEY, DOUGLAS R               N1417 COUNTY ROAD P                                                                     RUBICON               WI   53078‐9721
MORRISSEY, JAMES W                 11506 WATER POPPY TER                                                                   LAKEWOOD RANCH        FL   34202‐5122
MORRISSEY, JOHN                    PO BOX 427                                                                              HONEOYE FALLS         NY   14472‐0427
MORRISSEY, JOSEPH P                5398 MANSFIELD AVE                                                                      STERLING HTS          MI   48310‐5742
MORRISSEY, MARTHA A                4637 144TH PL SE                                                                        BELLEVUE              WA   98006‐3156
MORRISSEY, MATTHEW W               5654 SEYMOUR RD                                                                         JACKSON               MI   49201‐9607
MORRISSEY, MICHAEL C               21506 BEAUFORD CT                                                                       NORTHVILLE            MI   48167‐9045
MORRISSEY, MICHAEL F               241 STANHOPE DR                                                                         WILLOWBROOK           IL   60527
MORRISSEY, NANCY L                 5398 MANSFIELD AVE                                                                      STERLING HTS          MI   48310‐5742
MORRISSEY, PATRICK E               45781 RIVIERA DR                                                                        NORTHVILLE            MI   48168
MORRISSEY, ROBERT A                PERLBERGER & HAFT             1 BALA AVE STE 400                                        BALA CYNWYD           PA   19004‐3210
MORRISSEY, ROBERT J                3190 SPRINGBROOK DR                                                                     LAMBERTVILLE          MI   48144‐9625
MORRISSEY, ROSEMARY D              15702 DEERFIELD CT UNIT 1S                                                              ORLAND PARK           IL   60462‐3631
MORRISSEY, THOMAS                  58 STRATHMORE VILLAGE DR                                                                SOUTH SETAUKET        NY   11720‐1228
MORRISSEY, THOMAS P                16791 BLUE SKIES DR                                                                     LIVONIA               MI   48154‐1105
MORRISSEY, TIMOTHY F               98 MISTY MESA TRL                                                                       MANSFIELD             TX   76063‐4854
MORRISSY NORA                      DISCOVERY COURT REPORTING     15551 MAXWELL AVE                                         PLYMOUTH              MI   48170‐4803
MORRISSY NORA                      19545 SHADYSIDE ST                                                                      LIVONIA               MI   48152
MORRISTOWN CHEVROLET‐BUICK, INC.   5320 W ANDREW JOHNSON HWY                                                               MORRISTOWN            TN   37814‐1028

MORRISTOWN CHEVROLET‐BUICK, INC.   JAMES BEWLEY                  5320 W ANDREW JOHNSON HWY                                 MORRISTOWN            TN 37814‐1028

MORRISTOWN DRIVERS SERVICE INC     PO BOX 2158                                                                             MORRISTOWN            TN 37816‐2158
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Name                         Address1                           Address2                      Address3   Address4         City               State Zip
MORRISVILLE BOROUGH POLICE   SHAW, TOM                          961 POTTSTOWN PIKE                                        CHESTER SPRINGS     PA 19425‐3510
DEPARTMENT
MORROCCA BEY                 402 CARVER DR                                                                                WILMINGTON         DE   19801‐5725
MORROCCA L BEY               402 CARVER DR                                                                                WILMINGTON         DE   19801‐5725
MORRON, GRACE                521 L ST                                                                                     BEDFORD            IN   47421‐2336
MORRON, GRACE                521 L STREET                                                                                 BEDFORD            IN   47421‐2336
MORRONE, JEAN                DURST LAW FIRM PC                  319 BROADWAY                                              NEW YORK           NY   10007
MORRONE, NICHOLAS            DURST LAW FIRM PC                  319 BROADWAY                                              NEW YORK           NY   10007
MORRONGELLO, KATHLEEN M      58 PRIMROSE AVE                                                                              FLORAL PARK        NY   11001‐2516
MORROTTI, VINCENT            50 WATSON LN                                                                                 MIDDLETOWN         DE   19709‐9389
MORROW & CO INC              470 WEST AVE                                                                                 STAMFORD           CT   06902
MORROW & CO INC              47 LAFAYETTE PL APT 1E                                                                       GREENWICH          CT   06830‐5403
MORROW & CO LLC              470 WEST AVENUE                                                                              STAMFORD           CT   06902
MORROW & CO LLC              470 WEST AVENUE                    CENTER                                                    STAMFORD           CT   06902
MORROW CHEVROLET, INC.       300 9TH AVE                                                                                  BEAVER FALLS       PA   15010‐4711
MORROW CHEVROLET, INC.       RONALD LEWIS                       300 9TH AVE                                               BEAVER FALLS       PA   15010‐4711
MORROW COUNTY TREASURER      48 E HIGH ST                                                                                 MOUNT GILEAD       OH   43338‐1468
MORROW DAVID                 3109 COLEMAN CT                                                                              ROCK HILL          SC   29732‐8073
MORROW DUANE                 3120 BRECKINRIDGE BLVD                                                                       DULUTH             GA   30099‐4900
MORROW I I, ROBERT E         991 N COUNTY ROAD 650 W                                                                      YORKTOWN           IN   47396‐9119
MORROW I V, WILLIAM T        91 E BEULAH ST                                                                               GARDEN CITY        MO   64747‐8134
MORROW II, JAMES A           816 NORDALE AVE                                                                              DAYTON             OH   45420‐2340
MORROW IV, WILLIAM T         91 E BEULAH ST                                                                               GARDEN CITY        MO   64747‐8134
MORROW JR, HARVEY            1201 N TRUITT RD                                                                             MUNCIE             IN   47303‐9154
MORROW JR, WILL              2702 INDUSTRIAL DR APT 809                                                                   BOWLING GREEN      KY   42101‐4156
MORROW JR, WILLIAM           1723 COCHRAN PL 1ST                                                                          SAINT LOUIS        MO   63106
MORROW LORRAINE B            DBA LAURIE BOGART MORROW           256 CUSHING CORNER RD                                     FREEDOM            NH   03836
MORROW MEADOWS CORP          231 BENTON CT                                                                                WALNUT             CA   91789‐5213
MORROW MOUNTS                4932 PAXTON RD                                                                               OAK LAWN           IL   60453‐3972
MORROW ROBERT W (429507)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                STREET, SUITE 600
MORROW SR, EDDIE L           3949 COTE BRILLIANTE AVE                                                                     SAINT LOUIS        MO   63113‐3311
MORROW SR, JOHN K            5841 E 43RD ST                                                                               INDIANAPOLIS       IN   46226‐3301
MORROW, ADA L                3148 WALTON AVE.                                                                             FLINT              MI   48504‐4253
MORROW, AGNES M              6353 LENNON RD                                                                               SWARTZ CREEK       MI   48473‐7916
MORROW, ALEXANDER            PO BOX 60305                                                                                 DAYTON             OH   45406‐0305
MORROW, ALFORD F             1623 JASMINE TRL                                                                             SEVIERVILLE        TN   37862‐9379
MORROW, ALICE E              9621 CRIMSON AVE                                                                             LAS VEGAS          NV   89129‐6395
MORROW, ALICE J              130 CLEARWATER COVE S                                                                        AUSTINTOWN         OH   44515‐2159
MORROW, ALINE MOORE          654 OVERHILL RD                                                                              BLOOMFIELD HILLS   MI   48301‐2568
MORROW, ANTHONY D            175 JOE LEWIS STREET                                                                         SALISBURY          NC   28146‐8786
MORROW, ANTHONY D            622 FOXRIDGE RD                                                                              GREENSBORO         NC   27406‐8234
MORROW, ARLENE               36995 BAYVIEW DR                                                                             EASTLAKE           OH   44095‐1167
MORROW, ARLENE               36995 BAYVIEW                                                                                EASTLAKE           OH   44095‐1167
MORROW, BARBARA J            3200 SAVANNAHS TRL                                                                           MERRITT ISLAND     FL   32953‐8618
MORROW, BENJAMIN F           3548 PIEDMONT AVE                                                                            DAYTON             OH   45416‐2114
MORROW, BENNIE F             PO BOX 62                                                                                    ALLENSVILLE        KY   42204‐0062
MORROW, BERYL J              3109 COLEMAN CT                                                                              ROCK HILL          SC   29732‐8073
MORROW, BETH M               36852 MAAS DR                                                                                STERLING HTS       MI   48312‐2839
MORROW, BETH MARIE           36852 MAAS DR                                                                                STERLING HTS       MI   48312‐2839
MORROW, BETTIE M             3350 BROOKSIDE LN                                                                            CUYAHOGA FALLS     OH   44223‐3314
MORROW, BILLY R              8350 ASH DR                                                                                  COLUMBUS           OH   43235
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Name                    Address1                       Address2                   Address3   Address4         City             State Zip
MORROW, BOBBY           1253 CEDAR HURST RD                                                                   CHESTER           SC 29706‐7785
MORROW, BOBBY D         SR 572 BOX 58                                                                         DELTA             KY 42613
MORROW, BOBBY L         7024 ECHO LAKE CT                                                                     ARLINGTON         TX 76001‐6778
MORROW, BONNIE G        19 COUNTRY LIFE DR                                                                    O FALLON          MO 63366‐2709
MORROW, BONNY L         5972 MCEVER RD                                                                        FLOWERY BRANCH    GA 30542‐3103
MORROW, BRAD A          9957 N LAKE RD                                                                        OTTER LAKE        MI 48464‐9414
MORROW, BRET L          5172 HEMINGWAY LAKE RD                                                                OTTER LAKE        MI 48464‐9752
MORROW, BRET LEE        5172 HEMINGWAY LAKE RD                                                                OTTER LAKE        MI 48464‐9752
MORROW, C L             701 WICKFIELD DR                                                                      LOUISVILLE        KY 40245‐5716
MORROW, C LEON          701 WICKFIELD DR                                                                      LOUISVILLE        KY 40245‐5716
MORROW, CARL E          11725 NATURE TRL                                                                      PORT RICHEY       FL 34668‐1234
MORROW, CARLA B.        4631 SYLVAN OAK DR                                                                    TROTWOOD          OH 45426‐2123
MORROW, CHANTAL B       633 W HILDALE                                                                         DETROIT           MI 48203‐4564
MORROW, CHARLES D       PO BOX 1051                                                                           GLEN ROSE         TX 76043‐1051
MORROW, CHARLES D       730 CRESTLINE AVE                                                                     AMHERST           OH 44001‐1326
MORROW, CLARENCE        PORTER & MALOUF PA             4670 MCWILLIE DR                                       JACKSON           MS 39206‐5621
MORROW, CLAUDETTE M     3921 N HIGHWAY 281                                                                    MINERAL WELLS     TX 76067‐1949
MORROW, COLLEEN M       6898 E SPICERVILLE HWY                                                                EATON RAPIDS      MI 48827‐9049
MORROW, CORNELIUS       100 CARNINE AVE                                                                       EWING             NJ 08638‐2304
MORROW, CRYSTAL         1573 SUGAR MAPLE WAY                                                                  W BLOOMFIELD      MI 48324‐4005
MORROW, CURTIS A        634 FREDERICK XING                                                                    ROANOKE           IN 46783‐8841
MORROW, CYNTHIA         2242 CLEARVIEW AVE NW                                                                 WARREN            OH 44483‐1336
MORROW, DANIEL S        205 WORDEN WAY                                                                        GRANTS PASS       OR 97527‐4856
MORROW, DAVID A         8407 LAHRING RD                                                                       GAINES            MI 48436‐9603
MORROW, DAVID ALLEN     8407 LAHRING RD                                                                       GAINES            MI 48436‐9603
MORROW, DAVID V         5200 BRIARCREST CT                                                                    FLINT             MI 48532‐2302
MORROW, DAVID VINCENT   5200 BRIARCREST CT                                                                    FLINT             MI 48532‐2302
MORROW, DEANNA          1428 SOUTHAMPTON CT                                                                   FRANKLIN          TN 37064‐5366
MORROW, DEBORAH L       6027 IPSWICH CT                                                                       INDIANAPOLIS      IN 46254‐2227
MORROW, DEBRA L         955 HUNTER CHAISE DR                                                                  WENTZVILLE        MO 63385‐2749
MORROW, DIANE MARCIA    8028 CLARENCE ST                                                                      GOODRICH          MI 48438‐8712
MORROW, DONALD E        7421 CLARK RD                                                                         GRAND LEDGE       MI 48837‐9228
MORROW, DONALD G        740 EMERALD DR                                                                        CHARLOTTE         MI 48813‐9028
MORROW, DONALD H        1213 ROYCE DR                                                                         SOMERSET          KY 42503‐9720
MORROW, DONALD H        1213 ROYCE DRIVE                                                                      SOMERSET          KY 42503‐9720
MORROW, DONALD W        10275 NEWTON FALLS RD                                                                 NEWTON FALLS      OH 44444‐9216
MORROW, DONNA M         9461 ISLAND RD                                                                        N RIDGEVILLE      OH 44039‐4407
MORROW, DORELL L        748 LACOSTA CT                                                                        PONTIAC           MI 48340‐1351
MORROW, DORIS E         4039 COLTER DR                                                                        KOKOMO            IN 46902‐4487
MORROW, DOROTHY A.      15517 SAN JUAN                                                                        DETROIT           MI 48238‐1225
MORROW, DOROTHY E       39500 WARREN RD TRLR 73                                                               CANTON            MI 48187‐4346
MORROW, DUNCAN M        1000 PENNWAY DR                                                                       LANSING           MI 48910‐4742
MORROW, EDDIE G         1300 NOTTINGHAM CIR                                                                   SHAWNEE           OK 74804‐2339
MORROW, EDDIE L         6563 DALY RD                                                                          CINCINNATI        OH 45224‐1502
MORROW, EDGAR           1340 PARKWOOD DRIVE            APT 141                                                MACEDON           NY 14502‐4502
MORROW, EDWARD A        15 ORANGE DR SW                                                                       WARREN            OH 44485‐4217
MORROW, EDWARD W        1051 EDGEORGE ST                                                                      WATERFORD         MI 48327‐2008
MORROW, ELI T           5540 STONE TRCE                                                                       GAINESVILLE       GA 30504‐8151
MORROW, ERON            11500 N STATE RD                                                                      SAINT LOUIS       MI 48880‐9707
MORROW, FANNIE          11131 WATERS EDGE DR UNIT 4A   C/O ANDREW MALITO                                      ORLAND PARK        IL 60467‐5725
MORROW, FANNIE          C/O ANDREW MALITO              11131 WATERS EDGE DR #4A                               ORLAND PARK        IL 60467
MORROW, FAUSTENIA       87 WELKER ST                                                                          BUFFALO           NY 14208‐1734
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Name                   Address1                           Address2            Address3         Address4         City              State Zip
MORROW, FELICIA N      12650 MONTE VISTA ST                                                                     DETROIT            MI 48238‐3015
MORROW, GARY K         RR 2 BOX 112                                                                             BUTLER             MO 64730‐9521
MORROW, GARY M         268 WILLOW DR NE                                                                         WARREN             OH 44484‐1956
MORROW, GEORGE         SIMMONS FIRM                       PO BOX 521                                            EAST ALTON          IL 62024‐0519
MORROW, GEORGE L       1315 COPEMAN BLVD                                                                        FLINT              MI 48504‐7301
MORROW, GERALDINE F    4042 US 35 E                                                                             WEST ALEXANDRIA    OH 45381‐9362
MORROW, GLADYS H       1622 3RD STREET NORTH                                                                    FARGO              ND 58102‐2332
MORROW, GLADYS H       1622 3RD ST N                                                                            FARGO              ND 58102‐2332
MORROW, GRADY          130 RIVERVIEW DR                                                                         ERIE               MI 48133‐9486
MORROW, GRADY          6400 S DIXIE HWY LOT 130                                                                 ERIE               MI 48133
MORROW, H              4425 MATHEW ST                                                                           SAINT LOUIS        MO 63121‐3140
MORROW, HARRY D        2242 CLEARVIEW AVE NW                                                                    WARREN             OH 44483‐1336
MORROW, HARRY M        4750 S MERIDIAN ST                                                                       INDIANAPOLIS       IN 46217‐3450
MORROW, HELEN          624 N BERKLEY RD                                                                         KOKOMO             IN 46901‐1847
MORROW, HELEN          624 N BERKLEY                                                                            KOKOMO             IN 46901‐1847
MORROW, HELEN B        19437 BURGESS                                                                            DETROIT            MI 48219‐1873
MORROW, HELEN F        7530 SALEM AVE                                                                           CLAYTON            OH 45315
MORROW, HERSCHEL       1709 AVOCA EUREKA RD                                                                     BEDFORD            IN 47421‐8407
MORROW, HUGH R         4023 N ASH RD                                                                            LINCOLN            MI 48742
MORROW, J W
MORROW, JAMES
MORROW, JAMES A        8990 TWIN LAKES DR                                                                       WHITE LAKE        MI   48386‐2090
MORROW, JAMES C        PO BOX 4                                                                                 COLFAX            IN   46035‐0004
MORROW, JAMES D        8990 TWIN LAKES DRIVE                                                                    WHITE LAKE        MI   48386‐2090
MORROW, JAMES E        8104 MONROE RD                                                                           LAMBERTVILLE      MI   48144‐9715
MORROW, JAMES EUGENE   8104 MONROE RD                                                                           LAMBERTVILLE      MI   48144‐9715
MORROW, JAMES L        3131 KINGS BROOK DR                                                                      FLUSHING          MI   48433‐2408
MORROW, JAMES R        1333 WEST FAIRVIEW AVE             APT 1A                                                DAYTON            OH   45406‐5406
MORROW, JAMES R        1333 W FAIRVIEW AVE APT 1A                                                               DAYTON            OH   45406‐5739
MORROW, JAMES T        5 WINGED FOOT CT                                                                         LUFKIN            TX   75901‐7722
MORROW, JAMES W        6829 DAISY LN                                                                            INDIANAPOLIS      IN   46214‐3868
MORROW, JANET L        4431 THORNWOOD CT                                                                        WARREN            MI   48092‐6109
MORROW, JANET R        1433 W PETAL CT                                                                          BLOOMINGTON       IN   47403‐3264
MORROW, JAVON A        5530 BIGGER RD                                                                           KETTERING         OH   45440‐2613
MORROW, JEAN           9660 MILLINGTON ROAD                                                                     BIRCH RUN         MI   48415‐9602
MORROW, JEANETTE N     1009 STELLA MAE                                                                          BURLESON          TX   76028‐6956
MORROW, JENNIE E       785 GENESEE PARK BLVD                                                                    ROCHESTER         NY   14619‐2108
MORROW, JOE E          295 SARANAC AVE                                                                          BUFFALO           NY   14216‐1931
MORROW, JOEL A         4155 LYNDELL DR                                                                          BEAVERCREEK       OH   45432‐1917
MORROW, JOHN D         2240 WILLOW LAKE DR                                                                      GREENWOOD         IN   46143‐9324
MORROW, JOHN D         2145 E BUDER AVE                                                                         BURTON            MI   48529‐1733
MORROW, JOHN F         6655 LINGANE RD                                                                          CHELSEA           MI   48118‐9482
MORROW, JOSEPH A       224 WOODLAND DR                                                                          NEW WHITELAND     IN   46184‐1428
MORROW, KAREN A        57 DEEPWOOD RD                                                                           DARIEN            CT   06820‐3204
MORROW, KATHERINE C    26125 GARY ST                                                                            TAYLOR            MI   48180‐1413
MORROW, KATHERINE C    26125 GARY STREET                                                                        TAYLOR            MI   48180‐1413
MORROW, KEENA I        1961 N 30TH ST                                                                           KANSAS CITY       KS   66104
MORROW, KEITH          1714 LINWOOD DRIVE                                                                       BEDFORD           IN   47421‐3920
MORROW, KEITH W        1570 SALINA DR                                                                           AVON              IN   46123‐9352
MORROW, KENNETH A      148 AYLESBORO AVE                                                                        BOARDMAN          OH   44512‐4516
MORROW, KENNETH L      119 N WEST ST                                                                            THORNTOWN         IN   46071‐1151
MORROW, KENNETH L      1285 N COUNTY ROAD 200 E                                                                 DANVILLE          IN   46122‐8324
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Name                     Address1                      Address2            Address3         Address4         City              State Zip
MORROW, L D              89 MYRTLE DR                                                                        STEARNS            KY 42647‐6124
MORROW, LARRY A          627 RIDDLE ST                                                                       HOWELL             MI 48843‐1141
MORROW, LARRY D          10214 VILLAGE DR E                                                                  FORISTELL          MO 63348‐2479
MORROW, LAURA M          6724 BAKER RD                                                                       BRIDGEPORT         MI 48722‐9747
MORROW, LAWRENCE         1870 ROSALIND ST                                                                    JOLIET              IL 60432‐9655
MORROW, LEROY E          135 LIGHTHOUSE WAY                                                                  MIDWAY             KY 40347‐9795
MORROW, LOIS J           10851 CAMBAY CIRCLE                                                                 BOYNTON BEACH      FL 33437‐3221
MORROW, LOIS P           5613 POPLAR LN                                                                      OAKWOOD            GA 30566
MORROW, LOUISE           16442 W 147TH PL                                                                    LOCKPORT            IL 60441‐2350
MORROW, MAGNOLIA         2187 OLD MANOR RD                                                                   SAINT LOUIS        MO 63136‐4436
MORROW, MARGARET D       4341 HEARTHSTONE CT                                                                 ABILENE            TX 79606‐2650
MORROW, MARGARET I       7055 LOU MAC DRIVE                                                                  SWARTZ CREEK       MI 48473‐9718
MORROW, MARGARET V       7677 WATSON RD. APT. 235                                                            SHREWSBURY         MO 63119‐5089
MORROW, MARGARET V       7677 WATSON RD APT 235                                                              SAINT LOUIS        MO 63119‐5089
MORROW, MARILYN E        W10462 COUNTY RD W                                                                  PHILLIPS           WI 54555‐6254
MORROW, MARK D           10200 W MOUNT MORRIS RD                                                             FLUSHING           MI 48433‐9281
MORROW, MARRY K          1204 W STATE ROAD 16                                                                DENVER             IN 46926‐9176
MORROW, MARVIN           6060 BENT OAK HWY                                                                   ADRIAN             MI 49221‐9672
MORROW, MARY D           3131 KINGS BROOK DR                                                                 FLUSHING           MI 48433‐2408
MORROW, MARY DENISE      3131 KINGS BROOK DR                                                                 FLUSHING           MI 48433‐2408
MORROW, MARY S           22406 E RIVER RD                                                                    HARRIETTA          MI 49638
MORROW, MILFORD          43901 STATE ROUTE 162                                                               SPENCER            OH 44275‐9401
MORROW, MINNIE U         1405 TAM O SHANTER LN                                                               KOKOMO             IN 46902‐3118
MORROW, MONTY J          8204 S MILLER BLVD                                                                  OKLAHOMA CITY      OK 73159‐4751
MORROW, MRS BOBBY        1253 CEDAR HURST RD                                                                 CHESTER            SC 29706‐7785
MORROW, MYRTLE I         200 ALMAN CEMETERY RD                                                               PARIS              TN 38242‐5907
MORROW, NEIL M           RR 3 BOX 340A                                                                       ADRIAN             MO 64720‐8938
MORROW, NETTA J          1104 PEACE PIPE DR                                                                  KOKOMO             IN 46902‐5451
MORROW, NILLA F          27 RIDGECREST DR                                                                    CHICKASHA          OK 73018‐6241
MORROW, NINA K           5560 E MEADOW GROVE DR SE                                                           KENTWOOD           MI 49512‐9369
MORROW, NOLAND R         3532 LAKE WOOD DR                                                                   WATERFORD          MI 48329
MORROW, NORMA J          117 N WEST ST                                                                       THORNTOWN          IN 46071‐1151
MORROW, OTIS M           1100 BELCHER RD S # 399                                                             LARGO              FL 33771‐3351
MORROW, PATRICIA         NO ADDRESS
MORROW, PATRICIA A       10521 ROSETON CT                                                                    SAINT LOUIS       MO   63114‐1957
MORROW, PATRICIA M.      1715 RIVER RD APT 37                                                                SAINT CLAIR       MI   48079‐3547
MORROW, PATRICK J        PO BOX 506                                                                          ROACH             MO   65787‐0506
MORROW, PATSY A          2145 E BUDER AVE                                                                    BURTON            MI   48529‐1733
MORROW, PAUL E           717 WURLITZER DR                                                                    N TONAWANDA       NY   14120‐1948
MORROW, RANDALL C        43741 BURTRIG RD                                                                    BELLEVILLE        MI   48111‐2967
MORROW, RANDALL CURTIS   43741 BURTRIG RD                                                                    BELLEVILLE        MI   48111‐2967
MORROW, RAY D            2160 TOMOTLA RD                                                                     MARBLE            NC   28905‐8429
MORROW, REBA             P.O.BOX 46                                                                          CLARKEDALE        AR   72325
MORROW, RICHARD A        8470 W GULF BLVD APT 413                                                            TREASURE ISLAND   FL   33706‐3432
MORROW, RICHARD C        1940 WINDSOR DR                                                                     KOKOMO            IN   46901‐1815
MORROW, RICHARD M        4431 THORNWOOD CT                                                                   WARREN            MI   48092‐6109
MORROW, RICK C           33617 FERNWOOD ST                                                                   WESTLAND          MI   48186‐4523
MORROW, RICK CHARLES     33617 FERNWOOD ST                                                                   WESTLAND          MI   48186‐4523
MORROW, ROBERT A         6116 DEBRA DR                                                                       LORAIN            OH   44053‐3827
MORROW, ROBERT B         3022 JACKSON DR                                                                     HOLIDAY           FL   34691‐3361
MORROW, ROBERT D         1502 COLONY DR                                                                      KEARNEY           MO   64060‐8406
MORROW, ROBERT H         2299 CASCADE AVE                                                                    FLINT             MI   48504‐6511
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Name                           Address1                           Address2                      Address3   Address4         City               State Zip
MORROW, ROBERT J               3347 LONGVIEW DR                                                                             FLUSHING            MI 48433‐2202
MORROW, ROBERT JOSEPH          3347 LONGVIEW DR                                                                             FLUSHING            MI 48433‐2202
MORROW, ROBERT L               PO BOX 231                                                                                   LEAVITTSBURG        OH 44430‐0231
MORROW, ROBERT P               6353 LENNON RD                                                                               SWARTZ CREEK        MI 48473‐7916
MORROW, ROBERT S               660 WASHINGTON ROAD                                                                          GROSSE POINTE       MI 48230‐1226
MORROW, ROBERT W               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                  STREET, SUITE 600
MORROW, ROCHELLE G             2242 CLEARVIEW AVE NW                                                                        WARREN             OH   44483‐1336
MORROW, ROGER D                491 COUNTY HIGHWAY 504                                                                       BENTON             MO   63736‐9144
MORROW, ROGER G                8 PLANTATION OAKS LN                                                                         SAINT PAUL         MO   63366‐1376
MORROW, ROGER L                221 CALIFORNIA LN                                                                            IRWIN              PA   15642‐3979
MORROW, RONALD D               7310 BUDDING CT                                                                              CHARLOTTE          NC   28227‐3002
MORROW, RONALD H               3221 WILLIAMSPORT PIKE                                                                       WILLIAMSPORT       TN   38487‐2149
MORROW, RONALD L               401 GATLIN RD                                                                                MOUNT ENTERPRISE   TX   75681‐6854
MORROW, RONALD L               2515 LOCUST LN                                                                               KOKOMO             IN   46902‐2955
MORROW, RONNIE L               1904 DOUTHIT ST SW                                                                           DECATUR            AL   35601‐2728
MORROW, RUTH L                 411 SO 30TH ST                                                                               SAGINAW            MI   48601
MORROW, SHARON L               6060 BENT OAK HWY                                                                            ADRIAN             MI   49221‐9672
MORROW, SHIRLEY MAE            4164 PHILIP ST                                                                               DETROIT            MI   48215‐2326
MORROW, STEVEN D               19 COUNTRY LIFE DR                                                                           O FALLON           MO   63366‐2709
MORROW, T W                    EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                       DETROIT            MI   48265‐2000

MORROW, TAVARIS D              904 NW 70TH ST                                                                               KANSAS CITY        KS   64118‐1057
MORROW, THOMAS A               1808 DAYOH PL                                                                                DAYTON             OH   45408‐2318
MORROW, THOMAS ARTHUR          1808 DAYOH PL                                                                                DAYTON             OH   45408‐2318
MORROW, THOMAS W               26125 GARY STREET                                                                            TAYLOR             MI   48180‐1413
MORROW, THURMAN O              618 LIVE OAK DR                                                                              SEARCY             AR   72143‐4530
MORROW, TIMOTHY P              945 HULMEVILLE RD                                                                            LANGHORNE          PA   19047‐2757
MORROW, TRICIA E               7 LAKESIDE CT                                                                                GROSSE POINTE      MI   48230‐1906
MORROW, VINCENT L              1495 SUN TERRACE DR                                                                          FLINT              MI   48532‐2220
MORROW, WADE T                 312 RIDGE RD                                                                                 NEWTON FALLS       OH   44444‐1239
MORROW, WALTER V               5833 WILDFLOWER DR APT D                                                                     INDIANAPOLIS       IN   46254‐1488
MORROW, WILLIAM A              3640 W N00S                                                                                  MARION             IN   46953
MORROW, WILLIAM H              13124 TALL PINE CIR                                                                          FORT MYERS         FL   33907‐5980
MORROW, WILLIAM T              3490 FM 1519 N                                                                               LEESBURG           TX   75451‐2229
MORROW, WILLIE I               6910 STABLELAKE CT                                                                           LOUISVILLE         KY   40291‐3037
MORROW, WILMA M                1051 WENDALL AVE                                                                             NEW CARLISLE       OH   45344‐2851
MORROW, WINA J                 RTE BOX 49H # 1                                                                              ALTUS              AR   72821
MORROW, WINA J                 BOX 49H RT#1                                                                                 ALTUS              AR   72821‐9501
MORROW‐BAILEY, ANGELA M        361 CORBIN ST                                                                                SUMMERTOWN         TN   38483‐7152
MORROW‐MEADOWS CORP                                               231 BENTON CT                                                                CA   91789
MORRY LERCH                    3542 MAIN                                                                                    SKOKIE             IL   60076
MORRY M LERCH                  3542 MAIN                                                                                    SKOKIE             IL   60076‐2882
MORSANI, LINDA L               38447 S GRANITE CREST DR                                                                     TUCSON             AZ   85739
MORSBY, CECELYA V              134 WESTEND AVE                                                                              FREEPORT           NY   11520‐5246
MORSCHER, JOHN F               1496 ESSEX RD                                                                                COLUMBUS           OH   43221‐3841
MORSE ‐ VOELKER, ELIZABETH M   2466 WARNER RD                                                                               FLUSHING           MI   48433‐2447
MORSE CHEVROLET, INC.          9201 METCALF AVE                                                                             OVERLAND PARK      KS   66212‐1405
MORSE CHEVROLET, INC.          JOHN MCCARTHY                      9201 METCALF AVE                                          OVERLAND PARK      KS   66212‐1405
MORSE DUBY JR                  7860 MAPLE RD                                                                                FRANKENMUTH        MI   48734‐9585
MORSE ED CHEV GEO              1640 N STATE ROAD 7                                                                          LAUDERHILL         FL   33313‐5814
MORSE JR, CARL E               3052 W WILSON RD                                                                             CLIO               MI   48420‐1933
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Name                     Address1                          Address2                       Address3   Address4         City                 State Zip
MORSE JR, DANIEL S       1433 E LOCKWOOD CIR                                                                          MESA                  AZ 85203‐2084
MORSE JR, ROOSEVELT      6900 BUNCOMBE RD LOT 73                                                                      SHREVEPORT            LA 71129‐9495
MORSE JR, SHERIDAN L     8121 FOX HOLLOW RD                                                                           GOODRICH              MI 48438‐9234
MORSE JR, SIDNEY J       9467 E COLDWATER RD                                                                          DAVISON               MI 48423‐8942
MORSE JR, WALLACE E      825 E FOSS AVE                                                                               FLINT                 MI 48505‐2232
MORSE LARRY              MORSE, LARRY                      120 WEST MADISON STREET 10TH                               CHICAGO                IL 60602
                                                           FLOOR
MORSE NANCY              8133 N MCKINLEY RD                                                                           FLUSHING             MI 48433‐8801
MORSE OPERATIONS INC     6363 NW 6TH WAY STE 400                                                                      FORT LAUDERDALE      FL 33309‐6188
MORSE OPERATIONS INC
MORSE OPERATIONS, INC    EDWARD MORSE                      13131 N FLORIDA AVE                                        TAMPA                FL   33612‐3426
MORSE OPERATIONS, INC.   EDWARD MORSE                      2300 S FEDERAL HWY                                         DELRAY BEACH         FL   33483‐3239
MORSE OPERATIONS, INC.   EDWARD MORSE                      1240 N FEDERAL HWY                                         FORT LAUDERDALE      FL   33304‐1426
MORSE OPERATIONS, INC.   EDWARD MORSE                      101 E FLETCHER AVE                                         TAMPA                FL   33612‐3404
MORSE OPERATIONS, INC.   EDWARD MORSE                      10133 US HIGHWAY 19                                        PORT RICHEY          FL   34668‐3744
MORSE OPERATIONS, INC.   EDWARD MORSE                      14401 W SUNRISE BLVD                                       SUNRISE              FL   33323‐3202
MORSE OPERATIONS, INC.   EDWARD MORSE                      11020 CAUSEWAY BLVD                                        BRANDON              FL   33511‐1998
MORSE SR, CHARLES D      4010 WEST13MILE RD APT 2                                                                     ROYAL OAK            MI   48073
MORSE STEVEN             MORSE, STEVEN                     2040 GOUNDRY HILL ROAD                                     BRADFORD             NY   14815
MORSE WILLIAM SCOTT JR   3012 ALDEN DR                                                                                PITTSBURGH           PA   15220‐1020
MORSE WOODY G (429508)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA   23510
                                                           STREET, SUITE 600
MORSE, ALLEN R           209 BARNWOOD TRL                                                                             MCHENRY              IL   60050‐5408
MORSE, ANDREW J          1110 S GRANT AVE                                                                             JANESVILLE           WI   53546‐5366
MORSE, ANNABELLE B       P.O BOX 75                                                                                   PORT AUSTIN          MI   48467
MORSE, ANNABELLE B       PO BOX 75                                                                                    PORT AUSTIN          MI   48467‐0075
MORSE, ARNOLD G          810 COHANNET ST                                                                              TAUNTON              MA   02780‐4330
MORSE, BARBARA J         5015 SCHUBERT RD                                                                             KNOXVILLE            TN   37912‐3920
MORSE, BARBARA J         9118 DUFFIELD RD                                                                             MONTROSE             MI   48457‐9116
MORSE, BARBARA J         101 MEADOWVIEW ST                 C/O SHERRI L WYMAN                                         MARSHFIELD           MA   02050‐2966
MORSE, BARBARA S         3425 PLAINS DR                                                                               WATERFORD TOWNSHIP   MI   48329‐4324
MORSE, BERTHA M          1087 PINEHURST BLVD                                                                          MT MORRIS            MI   48458‐1004
MORSE, BETTY J           PO BOX 196                                                                                   METAMORA             MI   48455‐0196
MORSE, BEVERLY J         714 STOCKTON ST                                                                              FLINT                MI   48503‐2619
MORSE, BRADLEY J         4111 ARLINGTON ST                                                                            MIDLAND              MI   48642‐3801
MORSE, BRENDA C          10307 SARDIS OAKS RD                                                                         CHARLOTTE            NC   28270‐1014
MORSE, CARL L            10270 LANGE RD                                                                               BIRCH RUN            MI   48415‐9711
MORSE, CECIL EUGENE      2497 E TOBIAS RD                                                                             CLIO                 MI   48420‐7924
MORSE, CHADWICK N        7805 ASH ST                                                                                  BIRCH RUN            MI   48415‐9292
MORSE, CHARLES L         2840 BOLINGBROKE DR                                                                          TROY                 MI   48084‐1010
MORSE, CORA LEE          19409 MONTE VISTA ST                                                                         DETROIT              MI   48221‐1411
MORSE, CURTIS F          10277 GOFF RIDGE RD                                                                          BAXTER               TN   38544‐6910
MORSE, CYNTHIA A         PO BOX 371213                                                                                DENVER               CO   80237‐5213
MORSE, DALE L            573 CUMBERLAND TRL                                                                           MILFORD              MI   48381‐3311
MORSE, DALE L            2662 N PLATINA                                                                               MESA                 AZ   85215‐1593
MORSE, DALE R            1220 MILLER RD                                                                               PLAINWELL            MI   49080‐1051
MORSE, DANIEL P          1711 33RD ST                                                                                 BAY CITY             MI   48708‐8712
MORSE, DANNY E           11531 ARMSTRONG DR                NORTH                                                      SAGINAW              MI   48609
MORSE, DARLENE D         64711 THOMAS AVE.                                                                            DHS                  CA   92240‐5309
MORSE, DARLENE T         2701 COUNTY ROAD I                APT 305                                                    SAINT PAUL           MN   55112‐4344
MORSE, DARWIN B          9118 DUFFIELD RD                                                                             MONTROSE             MI   48457‐9116
MORSE, DAVID C           11223 JENNINGS RD                                                                            FENTON               MI   48430‐9706
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Name                 Address1                         Address2              Address3      Address4         City            State Zip
MORSE, DAVID J       3052 W WILSON RD                                                                      CLIO             MI 48420‐1933
MORSE, DAVID J       580 DOCKSIDE CIRCLE                                                                   HOLLY            MI 48442‐2025
MORSE, DAVID JOHN    3052 W WILSON RD                                                                      CLIO             MI 48420‐1933
MORSE, DAVID S       8133 N MCKINLEY RD                                                                    FLUSHING         MI 48433‐8801
MORSE, DAVID W       8300 WHITNEY RD                                                                       GAINES           MI 48436‐9797
MORSE, DAVID WAYNE   8300 WHITNEY RD                                                                       GAINES           MI 48436‐9797
MORSE, DAWAYNE L     6421 CLISE RD                                                                         BATH             MI 48808‐8441
MORSE, DAYLE E       1699 MONTGOMERY DR                                                                    HARTLAND         MI 48353‐7300
MORSE, DEAN E        207 BROOKHAVEN DR                                                                     COLUMBIA         TN 38401‐8872
MORSE, DEAN R        4704 RIVERVIEW DR                                                                     WATERFORD        MI 48329‐3766
MORSE, DEBORAH K     30905 BEECHNUT ST                                                                     WESTLAND         MI 48186‐5094
MORSE, DEBORAH KAY   30905 BEECHNUT ST                                                                     WESTLAND         MI 48186‐5094
MORSE, DELTON D      PO BOX 626                                                                            HOUGHTON LAKE    MI 48629
MORSE, DENNIS W      1400 HADLEY RD                                                                        LAPEER           MI 48446‐9617
MORSE, DICK B        3615 PINOAK ST                                                                        CLARKSTON        MI 48348‐1372
MORSE, DONALD E      4834 NE 44TH ST                                                                       SEATTLE          WA 98105‐5120
MORSE, DONALD F      5215 S DURAND RD                                                                      DURAND           MI 48429‐1280
MORSE, DONALD L      3878 CURTIS RD                                                                        BIRCH RUN        MI 48415‐9084
MORSE, DONNA J       P.O. BOX 215                                                                          LISBON           OH 44432
MORSE, DONNA M       2579 DERBY WAY                                                                        SEVIERVILLE      TN 37875‐7925
MORSE, DOROTHY A     64 CRAWFORD A‐3                                                                       OXFORD           MI 48371‐4904
MORSE, DOROTHY A     64 CRAWFORD ST APT 3A                                                                 OXFORD           MI 48371‐4904
MORSE, DOROTHY M     2297 MILLER DR                                                                        WEST BRANCH      MI 48661‐8408
MORSE, DOROTHY S     10915 E GOODALL RD UNIT 10                                                            DURAND           MI 48429‐9771
MORSE, DOUGLAS J     11659 E NEWBURG RD                                                                    DURAND           MI 48429‐9446
MORSE, DWAYNE C      4626 JEFFERSON RD                                                                     NORTH BRANCH     MI 48461‐8543
MORSE, DWIGHT Q      3204 W CARPENTER RD                                                                   FLINT            MI 48504‐1285
MORSE, EDWARD J      10 LIVINGSTON RD                                                                      MEREDITH         NH 03253‐5208
MORSE, EDWARD J      6010 LE LAC RD                                                                        BOCA RATON       FL 33496‐2302
MORSE, ELDEN F       2050 W STATE ROUTE 89A LOT 350                                                        COTTONWOOD       AZ 86326‐4049
MORSE, ELIZABETH L   2921 CANYONSIDE CT NE                                                                 GRAND RAPIDS     MI 49525‐3176
MORSE, EMMET L       6708 WATERFORD HILL TER                                                               CLARKSTON        MI 48346‐3389
MORSE, ERMA          4455 GERTRUDE ST                                                                      CLIFFORD         MI 48727
MORSE, ERNESTINE R   C/O CYNTHIA HORWITZ              28 MEADOWBROOK RD                                    MASHPEE          MA 02649
MORSE, ERNESTINE R   28 MEADOWBROOK RD                C/O CYNTHIA HORWITZ                                  MASHPEE          MA 02649‐4040
MORSE, ESTELLE       5015 RIDGETOP DR.                                                                     WATERFORD        MI 48327‐1344
MORSE, EUGENE A      30381 30TH ST                                                                         PAW PAW          MI 49079‐8437
MORSE, EURA A        231 TRUMPET DR                                                                        DAYTON           OH 45449‐2254
MORSE, EVERT         2512 DAVID ROSS DR                                                                    COLUMBIA         TN 38401‐7366
MORSE, FRANK M       3277 LAURIA RD                                                                        BAY CITY         MI 48706‐1195
MORSE, FRANKLIN L    1075 EUGENE ST                                                                        VASSAR           MI 48768‐1541
MORSE, G. E          1833 NOVA GLN                                                                         ESCONDIDO        CA 92026‐3327
MORSE, GARY L        3452 RANGELEY ST APT 2                                                                FLINT            MI 48503‐2961
MORSE, GEORGE F      600 DONNA CT                                                                          BURLESON         TX 76028‐1318
MORSE, GEORGE I      334 BELLE GROVE ST                                                                    LAKE PLACID      FL 33852‐2020
MORSE, GEORGE L      130 S LAKE ST                                                                         HAMBURG          NY 14075‐6238
MORSE, GERALD J      5439 TEAKWOOD DR                                                                      SWARTZ CREEK     MI 48473‐9427
MORSE, GERALD J      618 W. GR. RIVER AVE.                                                                 WILLIAMSTON      MI 48895
MORSE, GERALD P      2702 FISH LAKE RD                                                                     LAPEER           MI 48446‐8381
MORSE, GERALDINE     5015 RIDGETOP DR                                                                      WATERFORD        MI 48327‐1344
MORSE, GERALDINE     5015 RIDGE TOP ROAD                                                                   WATERFORD        MI 48327‐1344
MORSE, GERTRUDE M    15061 FORD RD APT 407                                                                 DEARBORN         MI 48126‐4643
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Name                   Address1                          Address2          Address3       Address4         City             State Zip
MORSE, HAROLD A        13331 WHITNEY CIR                                                                   WESTMINSTER       CA 92683‐2119
MORSE, HAROLD E        3490 KENNEDY RD                                                                     NORTH BRANCH      MI 48461‐8721
MORSE, HAROLD L        1459 WESTWOOD DR                                                                    FLINT             MI 48532‐2669
MORSE, HERBERT C       18 PENNINGTON AVE                                                                   MORTON            PA 19070‐1524
MORSE, JACK W          1821 ADAMS AVE                                                                      FLINT             MI 48505‐5035
MORSE, JACQUELYN       11223 S. JENNING RD.                                                                FENTON            MI 48430‐9706
MORSE, JACQUELYN       11223 JENNINGS RD                                                                   FENTON            MI 48430‐9706
MORSE, JAMES           912 N HARVEY ST                                                                     URBANA             IL 61801‐1514
MORSE, JAMES           6045 LAKE RD                                                                        MILLINGTON        MI 48746‐9209
MORSE, JAMES A         38052 CASTLE DR                                                                     ROMULUS           MI 48174‐1016
MORSE, JAMES A         2921 CANYONSIDE CT NE                                                               GRAND RAPIDS      MI 49525‐3176
MORSE, JAMES K         833 WATERLOO AVE                                                                    MONROE            MI 48161‐1662
MORSE, JAMES L         4417 S MORRICE RD                                                                   OWOSSO            MI 48867‐9758
MORSE, JAMES M         2810 HERITAGE DR                                                                    TECUMSEH          MI 49286‐9567
MORSE, JAMES R         7115 WILLOW WOODS CIR                                                               LANSING           MI 48917‐9649
MORSE, JASON A         224 INGRAHAM ST                                                                     BAY CITY          MI 48708‐8352
MORSE, JASON ANDREW    224 INGRAHAM ST                                                                     BAY CITY          MI 48708‐8352
MORSE, JASON B         2515 E DODGE RD                                                                     CLIO              MI 48420‐9748
MORSE, JASON BRADLEY   2515 E DODGE RD                                                                     CLIO              MI 48420‐9748
MORSE, JEAN A          1706 PONTIAC TRL                                                                    WEST BRANCH       MI 48661‐9736
MORSE, JERALD D        11276 BALFOUR DR                                                                    FENTON            MI 48430‐9058
MORSE, JERRY L         12050 EMELIA ST                                                                     BIRCH RUN         MI 48415‐9718
MORSE, JOAN E          68‐116 AU ST                                                                        WAIALUA           HI 96791‐9438
MORSE, JOHN E          2132 AVALON CIR                                                                     BAY CITY          MI 48708‐7621
MORSE, JOHN F          6002 W PRICE RD                                                                     SAINT JOHNS       MI 48879‐9222
MORSE, JOHN F          5516 KURT DR                                                                        LANSING           MI 48911‐3769
MORSE, JOHN P          26022 THORPE CT                                                                     GROSSE ILE        MI 48138‐1838
MORSE, JOYCE E         4905 TENNY ST                                                                       LANSING           MI 48910‐5382
MORSE, JUDITH S        3499 RIVER ROCK DR                                                                  CUYAHOGA FALLS    OH 44223‐3712
MORSE, KAREN           106 LONGACRE ST # A                                                                 MARIETTA          OH 45750‐5127
MORSE, KATHLEEN C      3339 TANYA AVE.                                                                     WARREN            OH 44485‐1322
MORSE, KATHLEEN C      3339 TANYA AVE NW                                                                   WARREN            OH 44485‐1322
MORSE, KELLY L         28795 GLENWOOD                                                                      FLAT ROCK         MI 48134‐9695
MORSE, KENNETH L       2316 OLD HICKORY BLVD                                                               DAVISON           MI 48423‐2062
MORSE, KENNETH W       11509 READ AVE                                                                      MOUNT MORRIS      MI 48458‐1998
MORSE, KEVIN G         148 WALK IN WATER CREEK RD                                                          LAKE WALES        FL 33898
MORSE, KIMBERLY A      1400 MALLARD GREEN COURT                                                            SAINT JOHNS       FL 32259‐5250
MORSE, KIRK            40890 VILLAGE WOOD RD                                                               NOVI              MI 48375‐4470
MORSE, LARRY D         529 E FLINT ST                                                                      DAVISON           MI 48423‐1222
MORSE, LARRY DEAN      529 E FLINT ST                                                                      DAVISON           MI 48423‐1222
MORSE, LARRY J         5843 STATE RD                                                                       FORT GRATIOT      MI 48059‐2614
MORSE, LAVERN L        3736 PENDULA CIR                                                                    PORT ST LUCIE     FL 34952‐3149
MORSE, LAVERNE K       PO BOX 16                         7069 RUSSELL ST                                   GENESEE           MI 48437‐0016
MORSE, LEAH K          2515 E DODGE RD                                                                     CLIO              MI 48420‐9748
MORSE, LEE             10902 33RD ST                                                                       SANTA FE          TX 77510‐8400
MORSE, LEE J           454 HOPKINS RD                                                                      LYONS             MI 48851‐9779
MORSE, LILA            2497 E TOBIAS RD                                                                    CLIO              MI 48420‐7924
MORSE, LISA A          8440 E CARPENTER RD                                                                 DAVISON           MI 48423‐8915
MORSE, LORRAINE M      300 NORTH MAIN ST APARTMENT 233                                                     DAVISON           MI 48423
MORSE, LORRAINE M      300 S MAIN ST APT 233                                                               DAVISON           MI 48423‐1633
MORSE, LORRAINE V      1908 COVINGTON LN                                                                   CORINTH           TX 76210‐0037
MORSE, LUCILLE J       317 W STATE ST                    P.O BOX 606                                       MONTROSE          MI 48457
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Name                   Address1                      Address2            Address3         Address4         City               State Zip
MORSE, LYNNE M         29106 N 24TH LN                                                                     PHOENIX             AZ 85085
MORSE, MAE A           1899 DRACKA RD                TRAVERSE MANOR      APT 32                            TRAVERSE CITY       MI 49684‐8818
MORSE, MARGARET V      10277 GOFF RIDGE RD                                                                 BAXTER              TN 38544‐6910
MORSE, MARIE A         12146 SHARP RD.                                                                     LINDEN              MI 48451‐9405
MORSE, MARIE A         12146 SHARP RD                                                                      LINDEN              MI 48451‐9405
MORSE, MARK J          PO BOX 89                     NC                                                    LAURENS             SC 29360‐0089
MORSE, MARTIN C        465 AMBERWOOD ST                                                                    AUBURN HILLS        MI 48326‐1127
MORSE, MARVIN H        BOONE ALEXANDRA               205 LINDA DR                                          DAINGERFIELD        TX 75638‐2107
MORSE, MARY E          3052 W WILSON                                                                       CLIO                MI 48420‐1933
MORSE, MARY ELLEN      3052 W WILSON RD                                                                    CLIO                MI 48420‐1933
MORSE, MELVIN E        4737 HIBBARD RD               RT 2                                                  CORUNNA             MI 48817‐9601
MORSE, MICHAEL D       4185 BAYBRIDGE CT                                                                   TUCKER              GA 30084‐7901
MORSE, MICHAEL P       4787 HICKORY CT                                                                     YPSILANTI           MI 48197‐6631
MORSE, MICHAEL R       4405 HEMLOCK LOOP                                                                   CLARKSTON           MI 48348‐1355
MORSE, MICHAEL R       1710 INDIAN RD                                                                      LAPEER              MI 48446‐8053
MORSE, MICHAEL R       1001 CORAL ST                                                                       FORT PIERCE         FL 34982‐7607
MORSE, NANCY L         8133 N MCKINLEY RD                                                                  FLUSHING            MI 48433
MORSE, PATRICIA A      8586 HAVEN ST                                                                       MOUNT MORRIS        MI 48458‐1328
MORSE, PAUL H          448 SUNBURST DR                                                                     FRANKENMUTH         MI 48734‐1241
MORSE, PENNY           130 CLOVERLEAF LN                                                                   ASHEVILLE           NC 28803‐3165
MORSE, PHILLIP L       3455 MARATHON RD                                                                    COLUMBIAVILLE       MI 48421‐8975
MORSE, PHYLLIS         1017 PALM AVE                                                                       WILDWOOD            FL 34785
MORSE, PHYLLIS M       30583 BALDWIN STREET                                                                ELBERTA             AL 36530
MORSE, RALPH W         71 STATE ST                                                                         MIDDLEPORT          NY 14105‐1113
MORSE, REBA L          669 PINEY POINT DR                                                                  ROACH               MO 65787‐6768
MORSE, RICHARD A       2723 HUFF DR                                                                        PLEASANTON          CA 94588‐8391
MORSE, RICHARD A       2831 STANWOOD PL                                                                    BRIGHTON            MI 48114‐9460
MORSE, RICHARD A       7364 CHANDAN BLVD                                                                   MACHESNEY PARK       IL 61115‐7661
MORSE, RICHARD ALTON   2831 STANWOOD PL                                                                    BRIGHTON            MI 48114‐9460
MORSE, RICHARD B       3855 DOREEN CT APT 1                                                                RENO                NV 89512‐1454
MORSE, RICHARD E       9308 BARON WAY                                                                      SALINE              MI 48176‐9387
MORSE, RICHARD F       5720 SHATTUCK RD                                                                    SAGINAW             MI 48603‐2631
MORSE, RICHARD L       5764 DORA LN                                                                        CLARKSTON           MI 48348‐5116
MORSE, RICHARD P       PO BOX 845                                                                          CHRISTMAS VALLEY    OR 97641‐0845
MORSE, RICK A          513 SOUTHRIDGE DR                                                                   BEDFORD             IN 47421‐9262
MORSE, ROBERT D        51 BARROWS ST                                                                       METAMORA            MI 48455‐9386
MORSE, ROBERT E        8129 HEBRON TOWN HALL RD                                                            CHEBOYGAN           MI 49721‐8417
MORSE, ROBERT J        410 N CLINTON ST                                                                    GRAND LEDGE         MI 48837‐1656
MORSE, ROBERT L        9211 REGENTS PARK DR                                                                TAMPA               FL 33647‐2408
MORSE, ROBERT R        6808 SNOW APPLE DR                                                                  CLARKSTON           MI 48346‐1634
MORSE, ROBERT T        9151 NEFF RD                                                                        CLIO                MI 48420‐1675
MORSE, ROBERT W        7662 HIDDEN PONDS BLVD                                                              BRIGHTON            MI 48114‐8901
MORSE, ROBIN R         8300 WHITNEY RD                                                                     GAINES              MI 48436‐9797
MORSE, ROBIN RENEE     8300 WHITNEY RD                                                                     GAINES              MI 48436‐9797
MORSE, ROGER A         731 S BRIARVALE DR                                                                  AUBURN HILLS        MI 48326‐3380
MORSE, RONALD D        9250 LEMON RD                                                                       BANCROFT            MI 48414‐9423
MORSE, RONALD E        600 35TH ST                                                                         BAY CITY            MI 48708‐8507
MORSE, RONALD I        4412 E MOUNT MORRIS RD                                                              MOUNT MORRIS        MI 48458‐8978
MORSE, RUSSELL C       12537 NEW LOTHROP RD                                                                BYRON               MI 48418‐9783
MORSE, RUTH I          13482 MAPLE RD                                                                      BIRCH RUN           MI 48415‐8710
MORSE, SANDRA          6002 ROSEBRIAR                                                                      SHELBY TWP          MI 48317‐4213
MORSE, SANDRA H        5272 W FRANCES RD                                                                   CLIO                MI 48420‐8514
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Name                           Address1                             Address2                        Address3             Address4                City               State Zip
MORSE, SANDRA K                1360 E SLOAN RD                                                                                                   BURT                MI 48417‐2179
MORSE, SANDRA L                36 PRENTICE ST                                                                                                    LOCKPORT            NY 14094‐2120
MORSE, SHARON K                3172 AMSTERDAM DR                                                                                                 CLIO                MI 48420‐1495
MORSE, SIDNEY W                PO BOX 606                                                                                                        MONTROSE            MI 48457‐0606
MORSE, STEVEN                  2040 GOUNDRY HILL RD                                                                                              BRADFORD            NY 14815‐9649
MORSE, STEVEN B                14071 BELSAY RD                                                                                                   MILLINGTON          MI 48746‐9215
MORSE, STEVEN BRICE            14071 BELSAY RD                                                                                                   MILLINGTON          MI 48746‐9215
MORSE, STEVEN L                13191 BELSAY RD                                                                                                   MILLINGTON          MI 48746‐9226
MORSE, STEVEN W                71 STATE ST                                                                                                       MIDDLEPORT          NY 14105‐1113
MORSE, TERRANCE L              1515 ROSE ST                                                                                                      BAY CITY            MI 48708‐5534
MORSE, TERRY G                 2604 SHELBY ST                                                                                                    BRISTOL             TN 37620‐1860
MORSE, TERRY G                 15255 LEE HIGHWAY                    APT 16                                                                       BRISTOL             VA 24202
MORSE, TERRY GENE              15255 LEE HWY LOT 14                                                                                              BRISTOL             VA 24202
MORSE, TIMOTHY D               412 E ROLSTON RD                                                                                                  LINDEN              MI 48451‐9457
MORSE, TIMOTHY J               6120 VAN SYCKLE AVE                                                                                               WATERFORD           MI 48329‐1442
MORSE, WANDA L                 1811 TUPELO TRL                                                                                                   HOLT                MI 48842‐1554
MORSE, WAYNE R                 7209 NICHOLS RD                                                                                                   GAINES              MI 48436‐9714
MORSE, WILLIAM B               6486 W 1100 S                                                                                                     FORTVILLE           IN 46040‐9201
MORSE, WILLIAM R               1513 2ND                                                                                                          BAY CITY            MI 48708
MORSE, WILLIAM R               548 DUBLIN AVE                                                                                                    TYLER               TX 75703‐5316
MORSE, WILLIAM W               11 MEETING HOUSE PATH                C/O LADAS                                                                    ASHLAND             MA 01721‐2371
MORSE, WOODIE E                42160 WOODWARD AVE UNIT 2                                                                                         BLOOMFIELD HILLS    MI 48304‐5158
MORSE, WOODY G                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK             VA 23510‐2212
                                                                    STREET, SUITE 600
MORSE‐HARVEY, KIMBERLY A       30180 CAMPBELL ST                                                                                                 WARREN             MI 48093‐2582
MORSE/ARCORE                   VIA CESARE BATTISTI 122                                                                   ARCORE IT 20043 ITALY
MORSEHEAD, MARGARET A          34615 SPRING VALLEY #25                                                                                           WESTLAND           MI   48185
MORSEL GUNN                    24650 MANISTEE ST                                                                                                 OAK PARK           MI   48237‐1712
MORSETTE, CARL                 1112 2ND AVE N                                                                                                    GREAT FALLS        MT   59401
MORSIN BARNES                  205 WITTMAN DR                                                                                                    PETERSBURG         MI   49270‐8504
MORSKI WARREN                  3635 COUNTRY VIEW DR                                                                                              OXFORD             MI   48371‐4129
MORSKI, WARREN M               3635 COUNTRY VIEW DR                                                                                              OXFORD             MI   48371‐4129
MORSKY WARREN                  3635 COUNTRY VIEW DR                                                                                              OXFORD             MI   48371‐4129
MORSMAN, DAVID F               6900 PINE LAKE RD                                                                                                 DELTON             MI   49046‐9450
MORSOLETTO EMANUELE            LA SCALA                               STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
MORSON DARREL B SR (645110)    (NO OPPOSING COUNSEL)
MORSON, DARREL B               C/O LAW OFFICES OF MICHAEL B. SERLING, 280 N OLD WOODWARD AVE STE                                                 BIRMINGHAM         MI 48009
                               P.C.                                   406
MORT BACKUS AND SONS, INC      4835 STATE HIGHWAY ROUTE 68                                                                                       OGDENSBURG         NY 13669
MORT BACKUS AND SONS, INC      JOHN BACKUS                            4835 STATE HIGHWAY ROUTE 68                                                OGDENSBURG         NY 13669
MORT CINOFSKY
MORT CRIM COMMUNICATIONS INC   20300 W 12 MILE RD STE 202                                                                                        SOUTHFIELD         MI   48076‐6409
MORT JR, ROBERT L              151 NATHAN SABER PARK                                                                                             NIAGARA FALLS      NY   14304
MORT, ANTHONY L                1108 E SYLVAN AVE                                                                                                 MILWAUKEE          WI   53217‐5358
MORT, BARBARA R                11 JUNIPER DR                                                                                                     MILLBURY           MA   01527‐1807
MORT, BRUCE L                  46869 MARY ST                                                                                                     E LIVERPOOL        OH   43920‐9765
MORT, DEWEY F                  10 CLINE RD                                                                                                       KETTLE FALLS       WA   99141‐8817
MORT, EDWARD E                 908 HARRISON ST                                                                                                   FRANKTON           IN   46044‐9781
MORT, ISABEL M                 1108 E SYLVAN AVE                                                                                                 MILWAUKEE          WI   53217‐5358
MORT, RICHARD                  5144 W BELDEN ST                                                                                                  CHICAGO            IL   60639‐3102
MORTAN, GARY M                 PO BOX 394                                                                                                        TARRYTOWN          NY   10591‐0394
MORTARO, ADELE L               41 ISLAND DR                                                                                                      POLAND             OH   44514‐1602
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Name                          Address1                        Address2                       Address3   Address4         City               State Zip
MORTARO, ADELE L              41 ISLAND DRIVE                                                                            POLAND              OH 44514‐4514
MORTE JR, GEORGE W            3113 ENCINO AVE                                                                            BAY CITY            TX 77414‐2749
MORTE, DONALD G               PO BOX 205                      C/O JON A CORBIN POA                                       ROMEO               MI 48065‐0205
MORTELL, WILLIAM H            3502 RUBY AVE                                                                              KANSAS CITY         KS 66106‐2723
MORTELLARO, DAVID J           52 JACKIE DR                                                                               ROCHESTER           NY 14612‐3610
MORTEN COMBS                  479 SYLVESTER BRANCH RD                                                                    EMMALENA            KY 41740‐8815
MORTEN GRILLIOT               G‐2435 S. DYE ROAD                                                                         FLINT               MI 48532
MORTEN, EUGENE                5600 WEISS ST                                                                              SAGINAW             MI 48603‐3759
MORTEN, JAMES C               1644 SARASOTA DR                                                                           TOLEDO              OH 43612‐4057
MORTEN, TOMMIE L              1020 CREATWOOD CIR SE                                                                      SMYRNA              GA 30080
MORTENSEN GARY                746 EAST MEADOW WOOD STREET                                                                NEWAYGO             MI 49337
MORTENSEN, BRENDA R           121 MAPLE ST                                                                               EDGERTON            WI 53534‐9332
MORTENSEN, CATHERINE T        1034 KELLYN LN                                                                             HENDERSONVILLE      TN 37075‐8796
MORTENSEN, CHARLES P          10917 SW 71ST CIR                                                                          OCALA               FL 34476‐5707
MORTENSEN, CHRIS S            4510 HEARTHSTONE DR                                                                        JANESVILLE          WI 53546‐2165
MORTENSEN, JAMES
MORTENSEN, JAMES W            87 GRANITE DRIVE                                                                           WILTON             CT   06897‐1318
MORTENSEN, KATHRYN D          10917 SW 71ST CIR                                                                          OCALA              FL   34476
MORTENSEN, MARY F             140 ELIOT ST                                                                               ASHLAND            MA   01721‐2420
MORTENSEN, MICHAEL E          360 CANARIS ST C                                                                           CONSTANTINE        MI   49042
MORTENSEN, RUTH L             283 COTTON LAKE DRIVE                                                                      BATTLE CREEK       MI   49014‐9554
MORTENSEN, SOLVEIG            30 ANGUILLA LN                                                                             TOMS RIVER         NJ   08757‐4637
MORTENSON CARL (663081)       WISE & JULIAN                   PO BOX 1108                                                ALTON              IL   62002‐1108
MORTENSON RICHARD             846 COUNTRYSIDE LN                                                                         TIPTON             MO   65081‐8113
MORTENSON, CARL               GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                              EDWARDSVILLE       IL   62025
MORTENSON, DALE D             505 HARBOR DR S                                                                            VENICE             FL   34285‐2812
MORTENSON, DONALD C           204 BLUFF ST APT 2B                                                                        BELOIT             WI   53511‐6175
MORTENSON, JEFF W             11711 CHALK CREEK WAY                                                                      SOUTH JORDAN       UT   84095‐7941
MORTENSON, ROBERT K           8204 DOGWOOD DR                                                                            BALTIMORE          MD   21222‐4809
MORTER JR, LAROY J            8013 GLEN HAVEN RD                                                                         SOQUEL             CA   95073‐9591
MORTER, ANNETTE               280 WALDEN WAY APT 329                                                                     DAYTON             OH   45440‐4404
MORTER, DOLORES               1579 SEABROOK RD                                                                           DAYTON             OH   45432‐3529
MORTER, GLORIA MAE            1001 E ALEX BELL RD             C/O HEARTLAND OF CENTERVILLE                               CENTERVILLE        OH   45459‐2637
MORTER, THEODORE M            33212 W NORTH SHORE DR                                                                     ECKERMAN           MI   49728‐9467
MORTER, VICTORIA L            1472 TIMBERVIEW TRL                                                                        BLOOMFIELD HILLS   MI   48304‐1560
MORTER, WILLIAM F             1579 SEABROOK RD                                                                           DAYTON             OH   45432‐3529
MORTEZAEI, ALI                311 MARSALLA DR                                                                            FOLSOM             CA   95630
MORTGAGE GUARANTY INSURANCE   270 E KILBOURN AVE                                                                         MILWAUKEE          WI   53202
MORTGAGE GUARANTY INSURANCE   BRENDA KOENEN                   270 E. KILBOURN AVENUE                                     MILWAUKEE          WI   53202
CORPORATION
MORTGAGE MARKET CONSULTANTS   2212 BEECHWOOD ST                                                                          LITTLE ROCK        AR   72207‐2024
MORTIBOY, DOROTHY E           521 DONNA LEE DR                                                                           MONROE             MI   48162‐3310
MORTIBOY, DOROTHY E           521 DONNALEE DR                                                                            MONROE             MI   48162‐3310
MORTIER, BETTY J              2847 CUMMINGS AVE                                                                          BERKLEY            MI   48072‐1089
MORTIER, MELISSA S            38474 ELSIE ST                                                                             LIVONIA            MI   48154‐4804
MORTIER, MICHAEL S            1260 CHAFFER DR                                                                            ROCHESTER HILLS    MI   48306‐3713
MORTIERE, ROBERT              2489 OSEOLA AVE                                                                            HOWELL             MI   48843‐6417
MORTIERE, WINSTON H           6327 TAMARA DR                                                                             FLINT              MI   48506‐1760
MORTIMER DAVIS                PO BOX 300056                                                                              MIDWEST CITY       OK   73140‐0056
MORTIMER GREENE               329 OAK RIDGE DR                                                                           PONTIAC            MI   48341‐3612
MORTIMER JIM                  4025 LAKE OAKLAND SHORES DR                                                                WATERFORD          MI   48329‐2162
MORTIMER L SMITH              7512 COLONIAL                                                                              DEARBORN HGTS      MI   48127‐1786
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Name                                 Address1                           Address2                         Address3   Address4         City            State Zip
MORTIMER LEROY J (644367)            PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                       PHILADELPHIA     PA 19103‐5446
MORTIMER SOURWINE & SLOANE LTD       BANK OF THE WEST BLDG STE 302      4950 KIETZKE LN                                              RENO             NV 89509
MORTIMER WRIGHT                      4539 ASHBY RD                      PO BOX 1075                                                  SAINT ANN        MO 63074‐1207
MORTIMER, AGNES M                    184 HECKMAN RD                                                                                  TEMPLE           PA 19560
MORTIMER, ALVIN L                    245 S LANDING DR                                                                                MILFORD          DE 19963
MORTIMER, BARBARA J                  666 VILLA DR                                                                                    MANSFIELD        OH 44906‐4055
MORTIMER, DONALD L                   4665 BARRINGTON DR                                                                              AUSTINTOWN       OH 44515‐5124
MORTIMER, ERNEST R                   1015 W SAM HOUSTON ST APT 131                                                                   PHARR            TX 78577
MORTIMER, GLENN A                    7291 TUCKER RD                                                                                  EATON RAPIDS     MI 48827‐9723
MORTIMER, GLENN ALLEN                7291 TUCKER RD                                                                                  EATON RAPIDS     MI 48827‐9723
MORTIMER, JAMES A                    4025 LAKE OAKLAND SHORES DR                                                                     WATERFORD        MI 48329‐2162
MORTIMER, LEROY J                    PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                       PHILADELPHIA     PA 19103‐5446
MORTIMER, MICHAEL A                  525 E HANLEY RD                                                                                 MANSFIELD        OH 44903‐7301
MORTIMER, PHYLLIS K                  525 E HANLEY RD                                                                                 MANSFIELD        OH 44903‐7301
MORTIMER, ROBERT L                   4854 EMBLEM DR S                                                                                PITTSBURGH       PA 15236‐2144
MORTIMER, RONALD S                   2008 HARRY ST                                                                                   SAGINAW          MI 48602‐3443
MORTIMER, VICKI                      E 871 COUNTY HW EE                                                                              WONEWOC          WI 53968
MORTIMER, VICKI                      E871 COUNTY HWY EE                                                                              WONEWOC          WI 53968‐9625
MORTIMER, WILLIAM W                  5463 VASSAR RD                                                                                  GRAND BLANC      MI 48439‐9112
MORTIMORE, BILLY D                   5 FAY ST                                                                                        CLARKSTON        MI 48346‐4110
MORTIMORE, EDWARD F                  10725 S CORK RD                                                                                 MORRICE          MI 48857‐9604
MORTIMORE, JOHN R                    6237 STANSBURY LN                                                                               SAGINAW          MI 48603‐2742
MORTIMORE, THOMAS J                  46682 W RIDGE DR                                                                                MACOMB           MI 48044‐3581
MORTLAND, JOYCE G                    8251 SHARON‐MERCER RD                                                                           MERCER           PA 16137‐3035
MORTLAND, JOYCE G                    8251 SHARON MERCER RD                                                                           MERCER           PA 16137‐3035
MORTLAND, LYNFORD R                  3315 CLEARVIEW DR                                                                               GAINESVILLE      GA 30506‐3750
MORTLE, HELEN                        520 8TH AVE                                                                                     SUTERSVILLE      PA 15083‐1008
MORTLOCK, DOROTHY C                  8843 W COBBLESTONE DR                                                                           ZIONSVILLE       IN 46077
MORTON ALFRED EMANUEL (439347)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                                        STREET, SUITE 600
MORTON AVERILL                       352 PARTRIDGE DR                                                                                GRAND BLANC     MI 48439‐7070
MORTON BARRY                         400 SHADES CREEK PKWY STE 200                                                                   BIRMINGHAM      AL 35209‐4457
MORTON BELTON JULIUS (ESTATE OF)     BARON & BUDD                       3102 OAK LANE AVE , SUITE 1100                               DALLAS          TX 75219
(627649)
MORTON BERGER                        25 CHESTNUT HILL TERRACE                                                                        CHESTNUT HILL   MA 02467
MORTON BERTISCH CPA PROFIT SHARING   421 NW SPRINGVIEW LOOP                                                                          PORT ST LUCIE   FL 34986

MORTON BRAD                          2131 1ST AVE S                                                                                  BIRMINGHAM      AL   35233‐2214
MORTON BRYANT MCPHAIL & HODGES       1329 E MOREHEAD ST                                                                              CHARLOTTE       NC   28204
MORTON BRYANT MCPHAIL & HODGES       128 S TRYON ST STE 1860                                                                         CHARLOTTE       NC   28202
MORTON BUILDINGS                     WILLIAM EMMONS                     252 W ADAMS ST                                               MORTON          IL   61550‐1804
MORTON CARTER                        6570 MANSON DR                                                                                  WATERFORD       MI   48329‐2734
MORTON CHARLES W (480769)            KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                CLEVELAND       OH   44114
                                                                        BOND COURT BUILDING
MORTON COLLEGE                       3801 S CENTRAL AVE                                                                              CICERO          IL   60804‐4300
MORTON COOK                          15445 DICKINSONS CORNER DR                                                                      KING GEORGE     VA   22485‐2916
MORTON CUS/LEBANON                   655 INDUSTRIAL DR                                                                               LEBANON         KY   40033‐1954
MORTON CUS/LEBANON                   1111 W LONG LAKE RD STE 102                                                                     TROY            MI   48098‐6332
MORTON DAVIS JR                      405 W MCCLELLAN ST                                                                              FLINT           MI   48505‐4074
MORTON DONALD (663700)               SIMMONS FIRM                       PO BOX 521                                                   EAST ALTON      IL   62024‐0519
MORTON EDWARD                        4144 SUNDANCE MDWS                                                                              HOWELL          MI   48843‐6959
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Name                                Address1                          Address2                        Address3   Address4               City             State Zip
MORTON ELMO F (439348)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510
                                                                      STREET, SUITE 600
MORTON EMERGENCY ASSOCIATES         460 TOTTEN POND                                                                                     WALTHAM          MA   02451
MORTON H ALDER                      SUTTON TERRACE #1105              50 BELMONT AVE                                                    BALA CYNWYD      PA   19004‐2437
MORTON HAZEN                        14273 SKIPPER CT                                                                                    CARMEL           IN   46033‐8715
MORTON HOSPITAL                     PO BOX 847117                                                                                       BOSTON           MA   02284‐7117
MORTON HUNT                         730 ELEANOR AVE                                                                                     DAYTON           OH   45408‐1227
MORTON II, JOHN R                   6422 E WILSON RD                                                                                    JANESVILLE       WI   53546
MORTON INDUSTRIAL SALES & SERV      1720 ROSSI DR                                                                OLDCASTLE ON N0R 1L0
                                                                                                                 CANADA
MORTON INTERNATIONAL INC            10335 FLORA ST                                                                                      DETROIT          MI   48209‐2523
MORTON INTERNATIONAL INC            PO BOX 77000                                                                                        DETROIT          MI   48277‐2000
MORTON INTERNATIONAL INC            100 N RIVERSIDE PLAZA                                                                               CHICAGO          IL   60606
MORTON JAMES                        753 TOURNAMENT CIR                                                                                  MUSKEGON         MI   49444‐8743
MORTON JR, LEE                      465 W GRAND AVE APT 509                                                                             DAYTON           OH   45405‐4726
MORTON JR, LEROY                    18045 PREVOST ST                                                                                    DETROIT          MI   48235‐3151
MORTON KEITH (ESTATE OF) (489163)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH   44067
                                                                      PROFESSIONAL BLDG
MORTON LANE                         116 PALMETTO AVE                                                                                    MARY ESTHER      FL   32569‐3302
MORTON LOCKE                        32140 BROWN ST                                                                                      GARDEN CITY      MI   48135‐1498
MORTON MAXWELL                      20781 LARI MARK ST                                                                                  PERRIS           CA   92570‐6989
MORTON MILDRED ESTATE OF            1007 GLENWOOD ST                                                                                    ROUND ROCK       TX   78681‐4526
MORTON MOTORS                       39 CHAUNCEY AVE                                                              ETOBICOKE ON M8Z 2Z2
                                                                                                                 CANADA
MORTON MUCHOW                       8975 WOLCOTT RD                                                                                     CLARENCE CTR     NY   14032‐9641
MORTON OTIS (ESTATE OF) (660520)    BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                       WILMINGTON       DE   19899‐2165
MORTON PAUL                         DBA MORTON PHOTOGRAPHIC           5835 E BECK LN                                                    SCOTTSDALE       AZ   85254‐1812
MORTON PAULA                        1116 W 700 N                                                                                        CRAWFORDSVILLE   IN   47933‐8184
MORTON PULLMAN                      23 CRENSHAW COURT                                                                                   MONROE TWP       NJ   08831
MORTON RAPPAPORT                    BRACHA RAPPAPORT                  3068 DONA SUSANA DR                                               STUDIO CITY      CA   91604
MORTON ROBERT A                     MORTON, ROBERT A                  30 E BUTLER AVE                                                   AMBLER           PA   19002‐4514
MORTON SINGER                       1449 THE HIDEOUT                                                                                    LAKE ARIEL       PA   18436
MORTON SNYDER                       3520 S OCEAN BLVD                 #103A                                                             S PALM BEACH     FL   33480‐5747
MORTON SUGGESTION CO                800 W CENTRAL ROAD                RMIT PER AFC 06/21/06 LC                                          MOUNT PROSPECT   IL   60056
MORTON SUGGESTION CO                800 W CENTRAL RD STE 101          PO BOX 76                                                         MOUNT PROSPECT   IL   60056‐2383
MORTON TENZER, VIRGINIA TENZER      100 YORK STREET 9D                                                                                  NEW HAVEN        CT   06511
MORTON TEPPERMAN                    C/O THE LAW OFFICES OF PETER G    100 N CHARLES ST                22ND FL                           BALTIMORE        MD   21201
                                    ANGELOS
MORTON VAN BIBBER JR                5230 ROBINVIEW CT                                                                                   HUBER HEIGHTS    OH   45424‐2568
MORTON W VAN BIBBER JR              5230 ROBINVIEW COURT                                                                                HUBER HEIGHTS    OH   45424‐2568
MORTON WEISBURD                     ETHEL WEISBURD                    10 FAIRLAWN PKWY                                                  RYE BROOK        NY   10573
MORTON WEISBURD                     10 FAIRLAWN PKWY                                                                                    RYE BROOK        NY   10573
MORTON WELDING CO INC               70 COMMERCE DR                                                                                      MORTON           IL   61550‐9198
MORTON, ALFRED EMANUEL              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA   23510‐2212
                                                                      STREET, SUITE 600
MORTON, ANDREW J                    15024 JOY RD APT 105                                                                                DETROIT          MI   48228‐2265
MORTON, ANTHONY R                   5116 MILLWRIGHT CT                                                                                  INDIANAPOLIS     IN   46254‐4786
MORTON, ARLENE W                    2227 HENRIETTA ST                                                                                   SHREVEPORT       LA   71103‐4040
MORTON, ARNOLD B                    135 EDDIE RIDGE RD.                                                                                 CLAY CITY        KY   40312‐9450
MORTON, ARTHUR L                    5708 COBB MDW                                                                                       NORCROSS         GA   30093‐4021
MORTON, BARBARA                     33977 MOORE DR                                                                                      FARMINGTON       MI   48335‐4152
MORTON, BECKY                       ROUTE 2 BOX 63                                                                                      ELMORE CITY      OK   73433
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Name                        Address1                        Address2                        Address3   Address4         City              State Zip
MORTON, BELTON JULIUS       BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS             TX 75219
MORTON, BETTY R             11600 ACADEMY RD NE APT 811                                                                 ALBUQUERQUE        NM 87111‐7517
MORTON, BONNIE H            456 GREGORY AVE                                                                             NEW LEBANON        OH 45345‐1508
MORTON, BRIAN F             10022 BRITTANY DR                                                                           SHREVEPORT         LA 71106‐8408
MORTON, BRIAN FORREST       10022 BRITTANY DR                                                                           SHREVEPORT         LA 71106‐8408
MORTON, BRYAN               3118 GOLFVIEW DR                                                                            SALINE             MI 48176‐9245
MORTON, BRYAN J             3118 GOLFVIEW DR                                                                            SALINE             MI 48176‐9245
MORTON, BYDETTA L           1111 JANE STREET                                                                            TECUMSEH           MI 49286‐1220
MORTON, BYDETTA L           1111 JANE ST                                                                                TECUMSEH           MI 49286‐1220
MORTON, C V                 2335 N. MADISON AVE.            APT. 501                                                    ANDERSON           IN 46011
MORTON, CAROLYN             115 WILLOW POND WAY                                                                         PENFIELD           NY 14526‐2621
MORTON, CAROLYN J           13 HIGHRIDGE CT                                                                             FRANKLIN           OH 45005‐1758
MORTON, CECIL L             2111 S CINDY PL #P                                                                          ANAHEIM            CA 92802‐4548
MORTON, CHARLES             631 HAMILTON AVE                                                                            LANSING            MI 48910‐3416
MORTON, CHARLES E           109 COUNTY ROAD 5083                                                                        SALEM              MO 65560‐7850
MORTON, CHARLES E           105 SUNRISE DR                                                                              WEST MONROE        LA 71291‐7340
MORTON, CHARLES W           KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                CLEVELAND          OH 44114
                                                            BOND COURT BUILDING
MORTON, CHRISTOPHER         17247 SE 85TH WILLOWICK CIR                                                                 THE VILLAGES      FL   32162‐2824
MORTON, CLARE W             3450 N GALE RD                                                                              DAVISON           MI   48423‐8520
MORTON, CLAUDIA C           204 WASHINGTON ST.                                                                          HOLLY             MI   48442
MORTON, CLIFFORD C          710 ALEIDA DR                                                                               SAINT AUGUSTINE   FL   32086‐7703
MORTON, CORA L              ROSEGATE                        555 EAST HAZELWOOD AVE          APT 148                     RAHWAY            NJ   07065
MORTON, COSBY L             2302 DATE AVE                                                                               LUBBOCK           TX   79404‐1638
MORTON, COY H               38 QUAIL ST                                                                                 ROCHESTER HILLS   MI   48309‐3444
MORTON, CYNTHIA L           229 BAVARIAN DR APT M                                                                       MIDDLETOWN        OH   45044
MORTON, DARRELL G           800 E 600 S                                                                                 ANDERSON          IN   46013‐9545
MORTON, DARWIN P            3981 DUTCHER RD                                                                             AKRON             MI   48701‐9502
MORTON, DAVID C             1001 RALSTON AVE                                                                            DEFIANCE          OH   43512‐1334
MORTON, DAVID CHRISTOPHER   1001 RALSTON AVE                                                                            DEFIANCE          OH   43512‐1334
MORTON, DAVID W             3700 S WESTPORT AVE             SPACE 1525                                                  SIOUX FALLS       SD   57106
MORTON, DEAN E              6408 HOGAN RD                                                                               FENTON            MI   48430‐9030
MORTON, DEBRA M             1312 BARNEY AVE                                                                             FLINT             MI   48503‐3222
MORTON, DENNA               25 COMPRESSION CRT.                                                                         BALTIMORE         MD   21220
MORTON, DIANA               21340 KARL ST                                                                               DETROIT           MI   48219‐2455
MORTON, DION D              3426 N TEMPLE AVE                                                                           INDIANAPOLIS      IN   46218‐1156
MORTON, DONALD              603 5TH ST NE                                                                               ARAB              AL   35016‐1150
MORTON, DONALD              SIMMONS FIRM                    PO BOX 521                                                  EAST ALTON        IL   62024‐0519
MORTON, DONALD E            110 NE 42ND ST                                                                              OAK ISLAND        NC   28465‐5445
MORTON, DOROTHY G           17701 TRAIL VIEW PL                                                                         YORBA LINDA       CA   92886‐5142
MORTON, DOROTHY M           11445 DRAKEWOOD CT                                                                          JACKSONVILLE      FL   32223‐1320
MORTON, DUANE E             6704 N SAINT CLAIR CT                                                                       KANSAS CITY       MO   64151‐2363
MORTON, EARL F              4348 LAKE ST                                                                                SPRUCE            MI   48762‐9739
MORTON, EARNEST L           1828 COPLEY DR                                                                              TOLEDO            OH   43615‐3811
MORTON, EARNEST LEE         1828 COPLEY DR                                                                              TOLEDO            OH   43615‐3811
MORTON, EDNA M              10678 DAISY CV                                                                              HAMPTON           GA   30228‐6137
MORTON, EDWARD D            4144 SUNDANCE MDWS                                                                          HOWELL            MI   48843‐6959
MORTON, ELEANOR B           18249 HOLLAND AVE                                                                           EASTPOINTE        MI   48021‐2613
MORTON, ELEANOR B           18249 HOLLAND                                                                               EASTPOINTE        MI   48021‐2613
MORTON, ELIZABETH J         25911 PASOFINO                                                                              LAGUNA NIGUEL     CA   92677‐4537
MORTON, ELIZABETH L         1920 CHENE CT APT 201                                                                       DETROIT           MI   48207‐4940
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Name                    Address1                            Address2                      Address3   Address4         City              State Zip
MORTON, ELMO F          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
MORTON, EMIL            4532 LAFAYETTE AVE                                                                            NORWOOD           OH   45212‐3136
MORTON, ERIC D          5308 N WYMAN RD                                                                               LAKE              MI   48632‐8826
MORTON, EUNICE V        1720 WHITCOMB AVE                                                                             LAFAYETTE         IN   47904‐1657
MORTON, FINLEY F        2339 OAKBARK STREET                                                                           MAIMISBURG        OH   45342‐2756
MORTON, FLORENCE L
MORTON, FLOYD H         18460 SORRENTO ST                                                                             DETROIT           MI   48235‐1319
MORTON, FRANK           THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES      FL   33146
MORTON, FRANK G         384 FOURTH ST                                                                                 SUMMERVILLE       GA   30747‐1816
MORTON, FRANKIE D       6360 W STATE HH                                                                               KINGSTON          MO   64650
MORTON, FRANZELL M      5753 LAKEVIEW ST                                                                              DETROIT           MI   48213‐3615
MORTON, FRONIA MAE      7197 ANNA ST                                                                                  GRAND BLANC       MI   48439‐8573
MORTON, GARY A          71 EDGEWOOD AVE                                                                               KENMORE           NY   14223‐2801
MORTON, GARY L          6103 KIMBRELL LN NW                                                                           HUNTSVILLE        AL   35810
MORTON, GLENDA F        103 REAL RD                                                                                   HARVEST           AL   35749‐9776
MORTON, GWENDOLYN M     12865 ARCHDALE                                                                                DETROIT           MI   48227
MORTON, HARRISON L      PO BOX 1768                                                                                   EAST LANSING      MI   48826‐1768
MORTON, HELEN M         11424 SUNSET DR                                                                               CLIO              MI   48420‐1559
MORTON, HILDA M         1155 HILLSBORO MILE #309                                                                      HILLSBORO BEACH   FL   33062‐1743
MORTON, HOWARD G        5192 TAHQUAMENON TRL                                                                          FLUSHING          MI   48433‐1255
MORTON, IRENE           2535 PATRICK HENRY ST                                                                         AUBURN HILLS      MI   48326‐2326
MORTON, JAMES L         1201 SAINT CYR RD                                                                             SAINT LOUIS       MO   63137‐1223
MORTON, JEFFREY L       4408 FIELDGREEN ROAD                                                                          NOTTINGHAM        MD   21236‐1815
MORTON, JEFFREY LEE     4408 FIELDGREEN ROAD                                                                          NOTTINGHAM        MD   21236‐1815
MORTON, JESSIE M        114 E HIGHLAND AVE                                                                            MUNCIE            IN   47303‐2906
MORTON, JIMMIE          6595 STATE ROUTE 132                                                                          GOSHEN            OH   45122‐9270
MORTON, JOHN C          4344 TOWHEE TRL                                                                               LOVES PARK        IL   61111‐4339
MORTON, JOHN D          1071 EAST KAIBAB PLACE                                                                        CHANDLER          AZ   85249‐2828
MORTON, JOHN E          24801 HICKORY ST                                                                              DEARBORN          MI   48124‐2461
MORTON, JOHN L          STE 1                               34 BENWOOD AVENUE                                         BUFFALO           NY   14214‐1761
MORTON, JOHN O          2015 PECK ST                                                                                  GREENWOOD         IN   46143‐2992
MORTON, JOHN R          3034 FOXFIRE CIR                                                                              INDIANAPOLIS      IN   46214‐2036
MORTON, JOHN R          3319 CLEARVIEW DRIVE                                                                          INDIANAPOLIS      IN   46228‐1037
MORTON, JOHN T          512 HISEL RD                                                                                  DEL CITY          OK   73115‐4528
MORTON, JOHNEY W        10678 DAISY CV                                                                                HAMPTON           GA   30228‐6137
MORTON, JOSEPH          1041 BIRNAM WOODS DR                                                                          VIRGINIA BEACH    VA   23464‐5333
MORTON, JOSEPH A        1828 WADHAMS RD                                                                               SAINT CLAIR       MI   48079‐3116
MORTON, JOSEPH G        32382 LINDERMAN AVE                                                                           WARREN            MI   48093‐1022
MORTON, JOY E           3226 ARTISAN DR                                                                               KOKOMO            IN   46902‐8122
MORTON, JUDITH          3285 W 128TH ST                                                                               CLEVELAND         OH   44111‐2516
MORTON, KATE            125 LAUREL CT                                                                                 DAWSON            GA   39842
MORTON, KATHLEEN Z      9 LYNN CT                                                                                     WILMINGTON        DE   19808‐4978
MORTON, KENNETH L       PO BOX 364                                                                                    MORRICE           MI   48857‐0364
MORTON, LARRY J         1929 W 950 S                                                                                  PENDLETON         IN   46064‐9365
MORTON, LARRY JOE       1929 W 950 S                                                                                  PENDLETON         IN   46064‐9365
MORTON, LATONYA R       7446 WOODSTOCK RD                                                                             SAINT LOUIS       MO   63135‐3449
MORTON, LATONYA RENEE   7446 WOODSTOCK RD                                                                             SAINT LOUIS       MO   63135‐3449
MORTON, LEE C           C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                    EDWARDSVILLE      IL   62025
                        ROWLAND PC
MORTON, LEON            1004 KING ST                                                                                  DETROIT           MI 48211‐1246
MORTON, LEROY           9217 RHETT CIR                                                                                SHREVEPORT        LA 71118‐3438
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Name                      Address1                        Address2            Address3         Address4         City              State Zip
MORTON, LILLIAN F         PO BOX 568                                                                            ONALASKA           TX 77360‐0568
MORTON, LINDA             504 WILD OAK LN                                                                       EULESS             TX 76039‐2465
MORTON, LLOYD H           1608 NORTH FULLERS CROSS ROAD                                                         WINTER GARDEN      FL 34787‐2122
MORTON, LORETTA S         P. O. BOX 2063                                                                        WARREN             OH 44484‐0063
MORTON, LORETTA S         PO BOX 2063                                                                           WARREN             OH 44484‐0063
MORTON, LUTHER
MORTON, LYNFERD R         8087 CLEARVIEW CIR                                                                    RIVERDALE         GA   30296‐3389
MORTON, MARGARET          2463 RIFLE RIVER TRAIL                                                                WEST BRANCH       MI   48661
MORTON, MARY C            10736 S WESTNEDGE AVE                                                                 PORTAGE           MI   49002‐7353
MORTON, MATTHEW P         3568 N BLACK RIVER RD                                                                 CHEBOYGAN         MI   49721‐9274
MORTON, MATTHEW PATRICK   3568 N BLACK RIVER RD                                                                 CHEBOYGAN         MI   49721‐9274
MORTON, MAURICE B         3535 KAREN PKWY APT 304                                                               WATERFORD         MI   48328‐4612
MORTON, MAXINE M          3267 N SULPHUR SPRINGS RD                                                             NEW CASTLE        IN   47362‐9257
MORTON, MERLE             5004 OAK VALLEY RD                                                                    OKLAHOMA CITY     OK   73135‐2240
MORTON, MICHAEL D         PO BOX 155                                                                            DEFIANCE          OH   43512‐0155
MORTON, MICHAEL DANA      PO BOX 155                                                                            DEFIANCE          OH   43512‐0155
MORTON, MICHAEL J         8689 WHISPERING PINES DR                                                              CLARKSTON         MI   48346‐1974
MORTON, NATHANIEL         12865 ARCHDALE ST                                                                     DETROIT           MI   48227‐1265
MORTON, OTIS              BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                           WILMINGTON        DE   19899‐2165
MORTON, PAUL              8241 ELIZABETH ANN ST                                                                 SHELBY TOWNSHIP   MI   48317‐4321
MORTON, PEGGY A           915 N BRIDGE ST                                                                       LINDEN            MI   48451‐9646
MORTON, PHIL
MORTON, PHILIP S          8 PLEASANT VALLEY LN                                                                  SHERIDAN          WY 82801‐9735
MORTON, R H
MORTON, RANDALL W         5542 W 8TH STREET RD                                                                  ANDERSON          IN   46011‐9108
MORTON, RAWLEIGH T        4712 WAKEFIELD RD APT 303                                                             BALTIMORE         MD   21216‐1045
MORTON, RAYMOND L         1302 N CHERRY ST                                                                      CAMERON           MO   64429‐1213
MORTON, ROBERT            625 N PLUM ST APT 1C                                                                  LANCASTER         PA   17602‐2343
MORTON, ROBERT A          6 HERITAGE BOULEVARD                                                                  HUDSON            WI   54016‐8708
MORTON, ROBERT E          8380 TIMBER WALK CT                                                                   HUBER HEIGHTS     OH   45424‐1392
MORTON, ROBERT F          517 N WALDEMERE AVE                                                                   MUNCIE            IN   47303‐4273
MORTON, ROBERT P          2701 STEAMBOAT CIR                                                                    ARLINGTON         TX   76006‐3705
MORTON, ROBERT W          4245 W JOLLY RD LOT 228                                                               LANSING           MI   48911‐3066
MORTON, RONALD F          382 W STROOP RD                                                                       KETTERING         OH   45429‐1663
MORTON, RONALD F          382 WEST STROOP RD                                                                    KETTERING         OH   45429‐5429
MORTON, RONNIE M          24513 PRINCETON ST                                                                    ST CLAIR SHRS     MI   48080‐3162
MORTON, ROOSEVELT         1034 E BUNDY AVE                                                                      FLINT             MI   48505‐2206
MORTON, ROSEMARY P        4348 LAKE ST                                                                          SPRUCE            MI   48762‐9739
MORTON, ROXANE M          704 DOWNS ST                                                                          DEFIANCE          OH   43512‐2931
MORTON, RUBEN E           2535 PATRICK HENRY ST                                                                 AUBURN HILLS      MI   48326‐2326
MORTON, RUFUS D           PO BOX 124                                                                            CEDARCREEK        MO   65627‐0124
MORTON, RUSSELL B         8489 BARKWOOD CIR                                                                     FENTON            MI   48430‐8360
MORTON, SARAH E           1260 VIRGINIA DR                                                                      TIPP CITY         OH   45371‐5371
MORTON, SCOTT A           1209 JENNE STREET                                                                     GRAND LEDGE       MI   48837‐1810
MORTON, SEAWARD C         6745 RANSOME DR                                                                       GWYNN OAK         MD   21207‐5318
MORTON, SHARON            22247 LONG BLVD                                                                       DEARBORN          MI   48124‐1146
MORTON, SHERLEEN C        204 TANGLE DR                                                                         JAMESTOWN         NC   27282‐9412
MORTON, TERRY L           185 WATERSIDE DR                                                                      BRYAN             OH   43506‐9006
MORTON, THOMAS J          1261 NE DEMPSEY DR                                                                    BEND              OR   97701‐3702
MORTON, THOMAS JAY        1261 NORTHEAST DEMPSEY DRIVE                                                          BEND              OR   97701‐3702
MORTON, TOMMIE L          1970 PANDA DR SW                                                                      LOS LUNAS         NM   87031‐6172
MORTON, TRACEY F          4335 FOXFIRE CT                                                                       DOUGLASVILLE      GA   30135‐4987
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Name                                Address1                     Address2                        Address3         Address4              City               State Zip
MORTON, VALERIE R                   5432 LESLIE DR                                                                                      FLINT               MI 48504‐7019
MORTON, VELMA                       8508 BOOMERSHINE ROAD                                                                               GERMANTOWN          OH 45327‐9796
MORTON, VERNELL T                   609 E KIRBY ST                                                                                      DETROIT             MI 48202‐4122
MORTON, VICKIE                      18426 COYLE ST                                                                                      DETROIT             MI 48235‐2828
MORTON, VICTOR E                    10 BEECH CT                                                                                         PARLIN              NJ 08859‐1178
MORTON, VIOLET E                    5801 E 187TH ST LOT 51                                                                              BELTON              MO 64012‐8300
MORTON, VIRGINIA L                  515 REBECCA ST                                                                                      LAWRENCEVILLE       GA 30045‐4765
MORTON, WESLEY R                    313 BRANDT ST                                                                                       GARDEN CITY         MI 48135‐2609
MORTON, WESLEY RICHARD              313 BRANDT ST                                                                                       GARDEN CITY         MI 48135‐2609
MORTON, WILLIAM C                   704 DOWNS ST                                                                                        DEFIANCE            OH 43512‐2931
MORTON, WILLIAM E                   3010 TURNING MILL DR                                                                                SPRINGFIELD          IL 62704‐6446
MORTON, WILLIAM G                   2916 W CALDWELL ST                                                                                  COMPTON             CA 90220‐3961
MORTON, WILLIAM J                   930 SE 14TH ST                                                                                      CAPE CORAL          FL 33990‐3420
MORTON,MICHAEL J                    8689 WHISPERING PINES DR                                                                            CLARKSTON           MI 48346‐1974
MORTON‐RHODE, JUDITH D              24 KIRKS CT 75                                                                                      ROCHESTER HILLS     MI 48309
MORTORELLI, DENNIS J                1063 84TH AVE W                                                                                     DULUTH              MN 55808‐1404
MORTORFF, PAUL E                    PO BOX 273                                                                                          ASTOR               FL 32102‐0273
MORTSEA, MILDRED R                  122 FREDRICKS STREET                                                                                CARTERET            NJ 07008‐1347
MORTSON, THOMAS G                   850 W PANORAMA RD                                                                                   TUCSON              AZ 85704‐3912
MORTSON, TIMOTHY D                  3781 BIRCH DR                                                                                       LUPTON              MI 48635‐9736
MORTVICH, LONDA
MORTZ BROS/FRM HILLS                24269 INDOPLEX CIR                                                                                  FARMINGTON HILLS   MI   48335‐2523
MORTZ, ALAN D                       5290 W ROCHELLE ST                                                                                  HOMOSASSA          FL   34446‐1571
MORTZ, ALAN D                       5290 WEST ROCHELLE STREET                                                                           HOMOSASSA          FL   34446‐1571
MORTZ, SUSANNA M                    1913 SUMMIT ST                                                                                      MARSHALLTOWN       IA   50158‐5347
MORTZFELDT JR, AMOS R               315 JULIE LN                                                                                        STONEWALL          LA   71078‐9607
MORUA, MARY                         512 CITRUS ST                                                                                       SANTA PAULA        CA   93060‐1715
MORUA, MARY F                       1523 LITTLEPORT LN                                                                                  CHANNELVIEW        TX   77530‐2130
MORUA, RICHARD R                    504 BRIDLE AVE                                                                                      BAKERSFIELD        CA   93307‐6168
MORUZZI, BRUNO                      83 ABBOTT ST                                                                                        RIVER ROUGE        MI   48218‐1556
MORUZZI, RICHARD M                  1898 W JEFFERSON AVE                                                                                TRENTON            MI   48183‐2140
MORVAL SIM S.P.A                    VIA CRIMEA 6                                                                  10133 TORINO ITALY
MORVAL SIM S.P.A.                   VIA CRIMEA 6                                                                  10133 TORINO ITALY
MORVAN, GARY L                      1885 QUAKER ST                                                                                      NORTHBRIDGE        MA   01534‐1240
MORVAN, WILLIAM F                   1883 QUAKER ST                                                                                      NORTHBRIDGE        MA   01534‐1240
MORVANT, WARREN J                   4286 ADAMS CIR                                                                                      WAYNE              MI   48184‐1807
MORVELL FOSTER                      554 W IROQUOIS RD                                                                                   PONTIAC            MI   48341‐2023
MORVILIUS, GENE L                   PO BOX 311                                                                                          SELMA              IN   47383‐0311
MORVILLO, ABRAMOWITZ, GRAND, IASON, ATTYS FOR ARMSTRONG WORLD    ATTN: STEPHEN JURIS AND DAVID   565 5TH AVENUE                         NEW YORK           NY   10036
ANELLO & BOHRER, P.C.               INDUSTRIES, ET AL            AUSTIN
MORWAY, DAVID E                     10475 SYCAMORE HILL CT                                                                              NEW MIDDLETWN      OH   44442‐8767
MORWAY, JAMES J                     1105 MARION DR                                                                                      HOLLY              MI   48442‐1041
MORWAY, JOHN M                      10390 DENTON CREEK DR                                                                               FENTON             MI   48430‐3523
MORWAY, MARIA                       378 TENNIS LN                                                                                       WINTER HAVEN       FL   33881‐9713
MORWAY, PETER P                     950 LLOYD AVE                                                                                       AURORA             OH   44202‐9523
MORWAY, ROXANNE M                   10390 DENTON CREEK DR                                                                               FENTON             MI   48430‐3523
MORYC, DENNIS P                     9011 ROTONDO DR                                                                                     HOWELL             MI   48855‐7130
MORYC, DIANNE                       1180 KNOB CREEK DR                                                                                  ROCHESTER          MI   48306‐1941
MORYC, DUANE F                      1180 KNOB CREEK DR                                                                                  ROCHESTER          MI   48306‐1941
MORYC, GREGORY                      7600 NOBLE RD                                                                                       SALINE             MI   48176‐8888
MORYC, JOANNE                       7600 NOBLE RD                                                                                       SALINE             MI   48176‐8888
MORYKON, JOHN                       960 N THOMAS RD                                                                                     FORT WAYNE         IN   46808‐2924
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Name                     Address1                         Address2                         Address3   Address4         City           State Zip
MORZEAN WEATHERSPOON     37 MILLER ST                                                                                  PONTIAC         MI 48341‐1736
MORZINSKI, FRANK         210 N ELM ST                                                                                  OWOSSO          MI 48867‐2639
MOSABI HAMAD             ATTY FOR ADNAN ALKUJUK           10214 W. WARREN AVENUE                                       DEARBORN        MI 48126
MOSAIC FERTILIZER        PO BOX 2000                                                                                   MULBERRY        FL 33860‐1100
MOSAIC FERTILIZER LLC    PO BOX 2000                                                                                   MULBERRY        FL 33860‐1100
MOSAIC FERTILIZER, LLC   RANDY MCQUIEN                    8813 US HIGHWAY 41                                           RIVERVIEW       FL 33578‐4865
MOSAIC YOUTH THEATRE     ATTN: RICK SPERLING              610 ANTOINETTE ST                                            DETROIT         MI 48202‐3457
MOSALEM,KHALED A         14570 S BASCOM AVE                                                                            LOS GATOS       CA 95032‐2033
MOSANTO                  800 N LINDBRGH BLVD                                                                           SAINT LOUIS     MO 63167‐0001
MOSAVY
MOSBACHER, WILLIAM R     2221 N KEETON AVE                                                                             BETHANY        OK   73008‐5949
MOSBARGER, SARA          1040 SAWYERS CT                                                                               LUTZ           FL   33559‐6726
MOSBAUER, BEVERLY J      9204 THORNRIDGE DR. BLDG9                                                                     GRAND BLANC    MI   48439
MOSBAUGH, CAROLE B       7675 W 100 N                                                                                  ANDERSON       IN   46011‐9124
MOSBAUGH, CAROLE B       7675 W. 100 N.                                                                                ANDERSON       IN   46011‐9124
MOSBEY LEONARD           MOSBEY, JUDY                     212 VETERANS BLVD                                            METAIRIE       LA   70005
MOSBEY LEONARD           MOSBEY, LEONARD                  212 VETERANS BOULEVARD                                       METAIRIE       LA   70005
MOSBEY, JAMES E          NO. 1 NORTH LARAND DRIVE                                                                      HOLTS SUMMIT   MO   65043
MOSBEY, JUDY             3525 OLE MISS DR                                                                              KENNER         LA   70065‐2511
MOSBEY, JUDY             C/O BRIAN SONDES                 212 VETERANS BLVD                                            METAIRIE       LA   70005
MOSBEY, KENNETH O        3304 S DYE RD                                                                                 FLINT          MI   48507‐1008
MOSBEY, LENNY            3525 OLE MISS DR                                                                              KENNER         LA   70065‐2511
MOSBEY, LEONARD          SONDES BRIAN                     212 VETERANS BOULEVARD                                       METAIRIE       LA   70005
MOSBEY, STEVEN O         APT 42                           22809 EAST COUNTRY VISTA DRIVE                               LIBERTY LAKE   WA   99019‐7540

MOSBURG, CAROLYN         404 W STATE ROAD 234                                                                          JAMESTOWN      IN   46147‐9082
MOSBURG, CAROLYN         404 W STATE RD 234                                                                            JAMESTOWN      IN   46147‐9082
MOSBURG, MICHAEL D       998 N ROAD 700 W                                                                              BARGERSVILLE   IN   46106‐9193
MOSBY CLARK              3350 SOUTHFIELD DR                                                                            SAGINAW        MI   48601‐5644
MOSBY JR, EUGENE C       3817 BOSWORTH RD                                                                              CLEVELAND      OH   44111‐5302
MOSBY JR, KERNEY         5212 BIG BEND DR                                                                              DAYTON         OH   45427‐2715
MOSBY JR, KERNEY         5212 BIG BEN DR.                                                                              DAYTON         OH   45427‐2715
MOSBY, ALTON E           SHANNON LAW FIRM                 100 W GALLATIN ST                                            HAZLEHURST     MS   39083‐3007
MOSBY, BARBARA H         3373 VERACRUZ WAY                                                                             DECATUR        GA   30034‐5110
MOSBY, CECIL             15895 FIELDING ST                                                                             DETROIT        MI   48223‐1106
MOSBY, CORNELIUS         93 STEGMAN STREET                                                                             JERSEY CITY    NJ   07305‐3210
MOSBY, CORNELIUS R       19312 CHAREST ST                                                                              DETROIT        MI   48234‐1646
MOSBY, DANIEL E          PO BOX 163                                                                                    DEFIANCE       OH   43512‐0163
MOSBY, DANIEL EVERETT    PO BOX 163                                                                                    DEFIANCE       OH   43512‐0163
MOSBY, DONALD R          4611 UNION AVE NE                                                                             HOMEWORTH      OH   44634‐9633
MOSBY, GENEVA M          6051 N ELMS RD                                                                                FLUSHING       MI   48433‐9012
MOSBY, KATHLEEN A        4252 N CENTER RD                                                                              FLINT          MI   48506‐1440
MOSBY, KATHLEEN A        4252 N. CENTER RD.                                                                            FLINT          MI   48506‐1440
MOSBY, KURT W            6362 BROOKVIEW DR                                                                             GRAND BLANC    MI   48439‐9779
MOSBY, LASHUN            3800 OWL ST                                                                                   MONROE         LA   71203‐5415
MOSBY, LEMMIE L          18635 FERGUSON ST                                                                             DETROIT        MI   48235‐3014
MOSBY, LEMONIA           9143 COZENS AVENUE                                                                            JENNINGS       MO   63136‐4078
MOSBY, LILLIE M.         1602 HOLYROOD RD                                                                              CLEVELAND      OH   44106‐1525
MOSBY, PHILIP M          SHANNON LAW FIRM                 100 W GALLATIN ST                                            HAZLEHURST     MS   39083‐3007
MOSBY, RICHARD C         APT 311                          16711 BURT ROAD                                              DETROIT        MI   48219‐4713
MOSBY, RICHARD R         1763 EXPOSITION BLVD                                                                          LOS ANGELES    CA   90018‐4456
MOSBY, RONALD E          5120 W FRANCES RD                                                                             CLIO           MI   48420‐8578
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Name                                   Address1                          Address2                            Address3   Address4         City               State Zip
MOSBY, ROSIE                           3800 OWL ST                                                                                       MONROE              LA 71203‐5415
MOSBY, ROSIE B                         3800 OWL ST                                                                                       MONROE              LA 71203‐5415
MOSBY, SEBERT                          1848 KENVIEW RD                                                                                   COLUMBUS            OH 43209‐3241
MOSBY, THELMA L                        3448 W WALNUT ST                                                                                  CHICAGO              IL 60624‐1909
MOSBY, THELMA L                        3448 W WALNUT                                                                                     CHICAGO              IL 60624‐1909
MOSBY, WILLIE E                        6480 GARDEN DR                                                                                    MOUNT MORRIS        MI 48458‐2325
MOSCA, ANTHONY                         7 MCCARTHY DR                                                                                     OSSINING            NY 10562‐2414
MOSCA, JOHN S                          5653 BONNELL DR                                                                                   YOUNGSTOWN          OH 44512‐2725
MOSCA, MARIA D                         2781 QUAKER CHURCH ROAD                                                                           YORKTOWN HTS        NY 10598‐3346
MOSCA, MARIO                           3321 LOWELL DR                                                                                    COLUMBUS            OH 43204‐1484
MOSCA, THERESA A                       172 HILDRETH PL                                                                                   YONKERS             NY 10704‐2203
MOSCA, VINCENT                         1640 WENONAH LANE                                                                                 SAGINAW             MI 48638‐4489
MOSCARDELLI, MICHAEL J                 PO BOX 83                                                                                         WILSONVILLE          IL 62093
MOSCARDI, ERMINIO                      120 NARROW LN                                                                                     EXETER               RI 02822‐2706
MOSCARDI, EUGENIO                      29 N 1ST ST                                                                                       CORTLANDT MNR       NY 10567‐5256
MOSCARDI, SHIRLEY M                    29 N 1ST ST                                                                                       CORTLANDT MANOR     NY 10567‐5256
MOSCATEL, CAROLANN R                   486 WILSON AVE                                                                                    PARAMUS             NJ 07652‐4736
MOSCATEL, RICHARD J                    486 WILSON AVE                                                                                    PARAMUS             NJ 07652‐4736
MOSCATELLI, BRUNO E                    9 DESOTO AVE                                                                                      FRAMINGHAM          MA 01702‐6809
MOSCATELLI, KENNETH A                  PO BOX 726                                                                                        SAGAMORE            MA 02561
MOSCATELLO, JOHN S                     58 SCHUYLER DR                                                                                    EDISON              NJ 08817‐3559
MOSCATELLO, PATRICK                    2740 CALLE #8                     COMUNIDAD STELLA                                                RINCON              PR 00677
MOSCATIELLO, LOUIS D                   1270 STADIUM AVE                                                                                  BRONX               NY 10465‐1528
MOSCATO FRANK (ESTATE OF) (483932)     WILENTZ GOLDMAN & SPITZER         88 PINE STREET , WALL STREET                                    NEW YORK            NY 10005
                                                                         PLAZA
MOSCATO FRANK (ESTATE OF) (483932) ‐   WILENTZ GOLDMAN & SPITZER         88 PINE STREET , WALL STREET                                    NEW YORK           NY 10005
JOSEPH MARTIN                                                            PLAZA
MOSCATO, AGNES G                       467 LANCASTER AVENUE                                                                              LUNENBERG          MA 01462‐1512
MOSCATO, FRANK                         WILENTZ GOLDMAN & SPITZER         88 PINE STREET, WALL STREET PLAZA                               NEW YORK           NY 10005

MOSCATO, GLORIA M                      248 CLAMER RD                                                                                     EWING              NJ   08628‐3201
MOSCATO, GLORIA M                      248 CLAMER ROAD                                                                                   TRENTON            NJ   08628‐3201
MOSCATO, JOHN                          7556 BANK STREET RD RT1                                                                           ELBA               NY   14058
MOSCATO, MANDY K                       24912 SARA LN                                                                                     LAGUNA HILLS       CA   92653‐4320
MOSCHBERGER, WALTER J                  2043 RIVER RD                                                                                     PHILLIPSBURG       NJ   08865‐9474
MOSCHEL, CHARLES F                     21881 IRON HASP DR                                                                                MACOMB             MI   48044‐3793
MOSCHELLA, DOLORES E                   7021 MARINTHANA AVE                                                                               BOARDMAN           OH   44512‐4617
MOSCHELLA, HUBERT T                    2074 WOODGATE ST                                                                                  AUSTINTOWN         OH   44515‐5603
MOSCHELLI, MARGARET                    15500 18 MILE ROAD                APT 201 BLGD D                                                  CLINTON TOWNSHIP   MI   48038
MOSCHEROSCH, BEN W                     2876 UNIT B                       COTTONWOOD DR.                                                  WATERFORD          MI   48328
MOSCHETTA, JENNIFER A                  42696 FAULKNER DR                                                                                 NOVI               MI   48377‐2731
MOSCHETTA, MARIA                       47 WRIGHT PL                                                                                      YONKERS            NY   10704‐2317
MOSCHILLI, RICHARD P                   1015 HERON CT                                                                                     DUNEDIN            FL   34698‐8210
MOSCHILLI‐SPERONI, LUCY V              273 CENTRAL ST                                                                                    MILFORD            MA   01757‐3497
MOSCHINI JR, FRANCIS                   13 CLINTON ST                                                                                     HOPKINTON          MA   01748‐1905
MOSCHINI, FLORENCE A                   4 LINDEN ST                                                                                       HOPKINTON          MA   01748‐1917
MOSCHINI, RICHARD J                    3 LINDEN ST                                                                                       HOPKINTON          MA   01748‐1921
MOSCHKOVICH, MOISES                    30800 S WOODLAND RD                                                                               PEPPER PIKE        OH   44124‐5811
MOSCHOS, THOMAS C                      7207 VAN HOOK DR                                                                                  DALLAS             TX   75248‐1539
MOSCICKI, DANIEL T                     21 WOODSIDE DR                                                                                    ROCHESTER          NY   14624‐3615
MOSCICKI, MARIA S                      581 ROLLING HILLS LN                                                                              LAPEER             MI   48446‐2888
MOSCICKI, SAUNDRA L                    PO BOX 2363                                                                                       HYANNIS            MA   02601
                                     09-50026-mg                Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                Address1                            Address2            Address3         Address4               City            State Zip
MOSCINSKI, MAE H                    108 BIMINI DR                                                                                   TOMS RIVER       NJ 08757‐4126
MOSCISKI, KATHLEEN                  10655 S NEW LOTHROP RD                                                                          DURAND           MI 48429
MOSCO, FRANK J                      18 ORCHARD ST                                                                                   OAKFIELD         NY 14125‐1214
MOSCO, MARK                         206 S MAIN ST                                                                                   BATAVIA          NY 14020‐1807
MOSCOLLIC MILDRED                   4184 W 50TH ST                                                                                  CLEVELAND        OH 44144‐1806
MOSCONE, FRANK A                    11782 19 MILE RD                                                                                STERLING HTS     MI 48313‐2403
MOSCONE, FRANK ANTHONY              11782 19 MILE RD                                                                                STERLING HTS     MI 48313‐2403
MOSCOSO, SUSAN E                    13269 W STATE ROUTE 266                                                                         BOIS D ARC       MO 65612‐9600
MOSCOSO, SUSAN E                    13269 W STATE HWY 266                                                                           BOIS D'ARC       MO 65612
MOSCOVA, ROGER                      155 E 51ST ST APT 3B                                                                            BROOKLYN         NY 11203‐2312
MOSCOVICS, IRENE R                  455 E 324TH ST                                                                                  WILLOWICK        OH 44095‐3323
MOSCOW MILLS LUMBER CO INC          PO BOX 58                                                                                       MOSCOW MILLS     MO 63362‐0058
MOSCOW POWER ENGINEERING INSTI      14 KRASNOKAZARMENAYA ST                                                  MOSCOW RU 111250
                                                                                                             RUSSIAN FEDERATION
MOSCOW POWER ENGINEERING INSTITUTE 14 KRASNOKAZARMENAYA ST                                                   MOSCOW RU 111250
                                                                                                             RUSSIAN FEDERATION
MOSCOW POWER ENGINEERING INSTITUTE 14 KRASNOKAZARMENNAYA                MOSCOW 111250                        MOSCOW 111250 RUSSIA

MOSCOW ST ACAD                      INST ENG & INFO SCIENCE             STROMINKA STR 20    MOSCOW 103846    MOSCOW 103846 RUSSIA
MOSCOW STATE ACADEMY OF INSTRU      STROMYNKA STR 20                                                         MOSCOW RU 103846
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MOSCOW STATE ACADEMY OF             STROMYNKA STR 20                                                         MOSCOW RU 103846
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MOSCOW STATE INSTITUTE OF STEEL AND TECHNOLOGICAL UNIVERSITY                                                 RUSSIA
ALLOYS,
MOSCOW STATE UNIVERSITY             GSP‐2BLDG 3 1 LENIN HILLS                                                MOSCOW RU 119992
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MOSCOW STATE UNIVERSITY, MV LO      GSP‐2BLDG 3 1 LENIN HILLS                                                MOSCOW RU 119992
                                                                                                             RUSSIAN FEDERATION
MOSCRIP, JAMES R                    1739 E WOODCREST DR S                                                                           MARTINSVILLE    IN   46151‐5994
MOSCRIP, JOHN D                     589 DALE ST                                                                                     MARTINSVILLE    IN   46151‐3114
MOSCRIP, RICHARD A                  PO BOX 19023                                                                                    LOUISVILLE      KY   40259‐0023
MOSCRIP, RICHARD E                  2755 CLEAR CREEK BLVD                                                                           MARTINSVILLE    IN   46151‐9099
MOSCRIP, THOMAS D                   PO BOX 1825                                                                                     MARTINSVILLE    IN   46151‐0825
MOSE BENTLEY                        25537 BAKER ST                                                                                  TAYLOR          MI   48180‐3124
MOSE BOYD                           1632 LEXINGTON AVE APT 22                                                                       MANSFIELD       OH   44907‐2943
MOSE BRAGGS                         9635 S YALE AVE                                                                                 CHICAGO         IL   60628‐1305
MOSE BURNSIDE                       3079 VESSY DR                                                                                   SAGINAW         MI   48601‐5936
MOSE BUTLER                         4843 ROYAL DR                                                                                   FORT WAYNE      IN   46835‐3740
MOSE CHEADLE                        1300 NE 53RD ST                                                                                 OKLAHOMA CITY   OK   73111‐6610
MOSE CLARK JR                       4230 DEVON COURT WEST DR                                                                        INDIANAPOLIS    IN   46226‐3153
MOSE CLEMENTS                       3155 WELLINGTON DR                                                                              FLORISSANT      MO   63033‐1343
MOSE CONERLY                        1223 SAN JUAN DR                                                                                FLINT           MI   48504‐3230
MOSE EL                             2704 W GRAND BLVD                                                                               DETROIT         MI   48208‐1246
MOSE GIBSON                         4105 LAMSON ST                                                                                  SAGINAW         MI   48601‐4174
MOSE HARDIN                         4431 BLUEBERRY AVE                                                                              DAYTON          OH   45406‐3320
MOSE HENDERSON                      5314 LAURENE ST                                                                                 FLINT           MI   48505‐2508
MOSE LARS JR                        PO BOX 5162                                                                                     BOSSIER CITY    LA   71171‐5162
MOSE MARTIN                         18477 ARDMORE ST                                                                                DETROIT         MI   48235‐2533
MOSE RANDALL                        WEITZ & LUXENBERG PC                700 BROADWAY                                                NEW YORK CITY   NY   10003
MOSE RISON                          1314 BANBURY PL                                                                                 FLINT           MI   48505‐1902
MOSE STARKEY JR                     PO BOX 6060                                                                                     CINCINNATI      OH   45206‐0060
                                 09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                             Address1                         Address2                      Address3   Address4         City            State Zip
MOSE TUCKER JR                   4387 SULGRAVE DR                                                                           SWARTZ CREEK     MI 48473‐8277
MOSE WILLIAMS                    2089 S 410 W                                                                               RUSSIAVILLE      IN 46979‐9453
MOSE WRIGHT                      4627 MILLBROOK CT                                                                          SHAWNEE          KS 66218‐9717
MOSE YOUNG JR                    15811 TULLER ST                                                                            DETROIT          MI 48238‐1239
MOSE, ARLINE M                   8531 CHESANING ROAD                                                                        CHESANING        MI 48616‐8432
MOSE, ARLINE M                   13002 GASPER RD                                                                            CHESANING        MI 48616‐9459
MOSE, BERNARD                    7201 W BIRCH RUN RD                                                                        SAINT CHARLES    MI 48655‐9636
MOSE, CAROL JEAN                 202 N DETROIT ST                                                                           DURAND           MI 48429‐1402
MOSE, CLAIR L                    6189 MOCKINGBIRD LN                                                                        FLINT            MI 48506‐1605
MOSE, DAVID M                    234 HARLAN DR                                                                              FRANKENMUTH      MI 48734‐1453
MOSE, FRANK                      1500 JEFFERSON AVE APT 320                                                                 BUFFALO          NY 14208‐1554
MOSE, IRENE ELIZABETH            11200 NASHVILLE                                                                            DETROIT          MI 48205‐3235
MOSE, IRENE J                    816 SOUTH DEXTER DRIVE                                                                     LANSING          MI 48910‐4680
MOSE, JEFFREY N                  PO BOX 320343                                                                              FLINT            MI 48532‐0007
MOSE, JEFFREY N                  3730 GRATIOT AVE                                                                           FLINT            MI 48503‐4981
MOSE, JERRY N                    12245 GASPER RD                                                                            SAINT CHARLES    MI 48655‐9634
MOSE, LAVERNE R                  2445 BAY RIDGE DR                                                                          AU GRES          MI 48703‐9484
MOSE, MICHELE M                  9497 GRAND BLANC RD              APT 3A                                                    GAINES           MI 48436
MOSE, NORBERT H                  12126 GASPER RD                                                                            SAINT CHARLES    MI 48655‐9634
MOSE, OKA D                      6996 W BURT RD                                                                             ST CHARLES       MI 48655‐9633
MOSE, RAYMOND M                  1436 READY AVE                                                                             BURTON           MI 48529
MOSE, RAYMOND R                  2047 E BOATFIELD AVE                                                                       BURTON           MI 48529‐1711
MOSE, ROBERT A                   10 SANDYBRAE CT                                                                            WILMINGTON       DE 19808‐3504
MOSEBACH MANUFACTURING COMPANY   1417 MCLAUGHLIN RUN ROAD                                                                   PITTSBURGH       PA 15241

MOSEBERTH, JUDITH A              5750 LANNIE RD                                                                             JACKSONVILLE    FL   32218‐1140
MOSEBY EARL (517648)             BRAYTON PURCELL                  PO BOX 6169                                               NOVATO          CA   94948‐6169
MOSEBY, EARL                     BRAYTON PURCELL                  PO BOX 6169                                               NOVATO          CA   94948‐6169
MOSEEC CALOWAY                   18438 MONTE VISTA ST                                                                       DETROIT         MI   48221‐1951
MOSEL ROBERT LELAND (340275)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                  STREET, SUITE 600
MOSEL, ROBERT LELAND             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                  STREET, SUITE 600
MOSELE, ETTA                     46859 HIGHWAY E                                                                            MILAN           MO   63556
MOSELE, KENNETH J                3498 EAGLE HARBOR RD                                                                       ALBION          NY   14411‐9306
MOSELE, NORMAN H                 8647 W GLADWIN RD                                                                          HARRISON        MI   48625‐9773
MOSELER, JOHN A                  1630 AUGUSTA WAY                                                                           CASSELBERRY     FL   32707‐5203
MOSELEY & MARTENS LLP            STE 2200                         13355 NOEL ROAD                                           DALLAS          TX   75240‐6832
MOSELEY DONALD R (439349)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                  STREET, SUITE 600
MOSELEY GARY                     1147 THORNTON RD                                                                           HOUSTON         TX   77018‐3232
MOSELEY JOHN & GISELLE           855 BOONE RD                                                                               HOSCHTON        GA   30548‐1819
MOSELEY JR, WILLIE J             APT D                            186 DONOVAN DRIVE                                         BUFFALO         NY   14211‐1435
MOSELEY RIGGS, TERRY J           19401 MCINTYRE ST                                                                          DETROIT         MI   48219‐1832
MOSELEY TECH/HUNTSVL             7500 S MEMORIAL PKWY STE 315‐B                                                             HUNTSVILLE      AL   35802‐2297
MOSELEY, ALVIN G                 1713 EDGEWOOD ST SW                                                                        DECATUR         AL   35601‐5453
MOSELEY, CAMILLE Y               815 BATISTA DR                                                                             SAN JOSE        CA   95136‐4851
MOSELEY, CAROL A                 8727 CANDLEWOOD #3                                                                         BRIGHTON        MI   48116‐2349
MOSELEY, CLEOPHUS                35 BENWOOD AVE                                                                             BUFFALO         NY   14214‐1813
MOSELEY, DIANE L                 216 MAJESTIC DR                                                                            COLUMBIA        SC   29223
MOSELEY, DONALD R                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                  STREET, SUITE 600
                          09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                      Address1                        Address2                        Address3   Address4         City            State Zip
MOSELEY, DONNETTE M       1801 EDERVILLE ROAD SOUTH                                                                   FORT WORTH       TX 76103‐1507
MOSELEY, DONNIE L         11830 N 19TH AVE APT 319                                                                    PHOENIX          AZ 85029‐3540
MOSELEY, DORIS J          113 TANGLEWOOD LN                                                                           GALENA           MO 65656‐8423
MOSELEY, DOROTHY L        4649 WILL WALLACE ROAD                                                                      GAINESVILLE      GA 30506‐2550
MOSELEY, EVERETT D        4988 VIMVILLE CAUSEYVILLE RD                                                                MERIDIAN         MS 39301‐8491
MOSELEY, GAILA D          601 SW 112TH ST                                                                             OKLAHOMA CITY    OK 73170‐5807
MOSELEY, GENEVA           1 PRESTBURY DR                                                                              GREENVILLE       SC 29605‐6142
MOSELEY, GERALD W         2101 SAINT ANDREWS ST SW                                                                    DECATUR          AL 35603‐1111
MOSELEY, GREGORY E        288 S BROADWAY ST                                                                           FARMERSVILLE     OH 45325‐1109
MOSELEY, HEZEKIAH         1263 CRESTRIDGE LN 32                                                                       RIVERDALE        GA 30296
MOSELEY, HUBERT L         PO BOX 2169                                                                                 OLD FORT         NC 28762‐2115
MOSELEY, JAY A            803 CASTLEWOOD CT                                                                           CONWAY           SC 29526‐9187
MOSELEY, JEANETTE         19390 MACARTHUR                                                                             REDFORD          MI 48240‐2608
MOSELEY, JESSIE L         566 SUNNY ACRES DR                                                                          BEDFORD          IN 47421‐7818
MOSELEY, JONATHAN L       2495 KIRKSTONE DR                                                                           BUFORD           GA 30519‐6932
MOSELEY, LANGDON N        7139 NIXON ST                                                                               GREENWOOD        LA 71033‐1909
MOSELEY, LARRY L          9585 SUSSEX ST                                                                              DETROIT          MI 48227‐2007
MOSELEY, LEE B            9109 WOODLAKE DR                                                                            RICHMOND         VA 23294‐5907
MOSELEY, LOIS Y           9348 HWY 34 EAST                                                                            MARMADUKE        AR 72443‐9666
MOSELEY, LOIS Y           9348 HIGHWAY 34 E                                                                           MARMADUKE        AR 72443‐9666
MOSELEY, MARTIN A         385 CHARBRIDGE ARBOR                                                                        LAPEER           MI 48446‐1749
MOSELEY, MATTHEW N        109 MALDON DRIVE                                                                            CARY             NC 27513‐1753
MOSELEY, MICHAEL          373 BEECHCREST CIR                                                                          LEWISBURG        TN 37091‐3107
MOSELEY, NORMAN M         RR 1 BOX 630                                                                                MACON            NC 27551
MOSELEY, OZZIE P          1444 ARCHER ST                                                                              LEHIGH ACRES     FL 33936‐5371
MOSELEY, RANDALL S        710 WEST LAKESIDE DRIVE                                                                     FLORENCE         AL 35630‐4164
MOSELEY, ROBERT J         4425 9TH ST NW                                                                              ALBUQUERQUE      NM 87107‐3613
MOSELEY, ROBERT L         506 LAWHOUSE RD                                                                             TOCCOA           GA 30577‐6800
MOSELEY, RUTH             13365 HAMPSHIRE                                                                             DETROIT          MI 48213‐2014
MOSELEY, VORIS D          909 N ROSEVERE AVE                                                                          DEARBORN         MI 48128‐1741
MOSELEY, VORIS DOUGLAS    909 N ROSEVERE AVE                                                                          DEARBORN         MI 48128‐1741
MOSELEY, WILLIAM L        5501 E LANCASTER AVE                                                                        FORT WORTH       TX 76112‐6428
MOSELLA CAMPBELL          451 HORTON ST                                                                               DETROIT          MI 48202‐3115
MOSELLA SIMS              1919 S ELECTRIC ST                                                                          DETROIT          MI 48217‐1180
MOSELLEE GAINES           PO BOX 30830                                                                                MIDWEST CITY     OK 73140‐3830
MOSELY JR, NATHANIEL      1363 PEBBLE RIDGE LN                                                                        HAMPTON          GA 30228
MOSELY, EDITH M           2102 SW BURLINGTON ST                                                                       PORT ST LUCIE    FL 34984‐4352
MOSELY, KAREN S           743 LAVER RD                                                                                MANSFIELD        OH 44905‐2383
MOSELY, RUTH E            800 E COURT ST APT 145                                                                      FLINT            MI 48503
MOSELY, SHERRY D          PRO SE
MOSELY, TINA M            3155 TATHAM RD                                                                              SAGINAW         MI 48601‐7127
MOSELY, WALTER J          743 LAVER RD                                                                                MANSFIELD       OH 44905‐2383
MOSER & MARSALEK, PC      AMBER TRIOLA                    200 NORTH BROADWAY, SUITE 700                               ST. LOUIS       MO 63102

MOSER CLEMENTH            2918 SE 25TH TER                                                                            OCALA           FL   34471‐6285
MOSER GARY L              PO BOX 1451                                                                                 VALDOSTA        GA   31603‐1451
MOSER GREG                21971 PARVIN DR                                                                             SANTA CLARITA   CA   91350‐3008
MOSER ROBERT A (415484)   SIMMONS FIRM                    PO BOX 559                                                  WOOD RIVER      IL   62095‐0559
MOSER RUDOLPH (490906)    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
                                                          PROFESSIONAL BLDG
MOSER VICKI               11 9TH AVE SW                                                                               BOWMAN          ND 58623‐4500
                            09-50026-mg           Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                        Address1                       Address2                      Address3   Address4         City               State Zip
MOSER WALTER D (346605)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                           STREET, SUITE 600
MOSER WAYNE (459216)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                           STREET, SUITE 600
MOSER, ALICE J              3575 MITCHELL RD                                                                         LAPEER             MI    48446‐9704
MOSER, ANTON                3745 SUNNY CREST DR                                                                      BROOKFIELD         WI    53005‐2147
MOSER, BETTY M              300 N HOLDEN ST STE 303        C/O NANCY JO JENNINGS                                     WARRENSBURG        MO    64093‐1795
MOSER, CAROL A              5905 EAST AVENUE                                                                         HODGKINS            IL   60525‐4123
MOSER, CAROL S              2451 REDGATE LN                                                                          YOUNGSTOWN         OH    44511‐1923
MOSER, CHARLES G            2532 BRANDON LN                                                                          BURLESON           TX    76028‐1416
MOSER, CHARLES S            103 W SAINT LUCIA LOOP                                                                   APOLLO BEACH       FL    33572‐2226
MOSER, CLARK D              5700 MALLARD DR.                                                                         HUBER HGTS.        OH    45424‐4148
MOSER, DALE                 260 E CUMBERLAND LN                                                                      SPEEDWELL          TN    37870‐8138
MOSER, DALE K               5 N BRAYMAN ST                                                                           PAOLA              KS    66071‐1803
MOSER, DAVID F              3575 MITCHELL RD                                                                         LAPEER             MI    48446‐9704
MOSER, DAVID J              80 MALLARD RUN                                                                           MAUMEE             OH    43537‐3841
MOSER, DAVID JOSEPH         80 MALLARD RUN                                                                           MAUMEE             OH    43537‐3841
MOSER, DORIS M              6145 COLISEUM BLVD                                                                       PORT CHARLOTTE     FL    33981‐6177
MOSER, DOROTHY              44849 CRESTVIEW RD                                                                       COLUMBIANA         OH    44408‐9608
MOSER, DUANE A              1212 SPRINGBROOK DR                                                                      MANSFIELD          OH    44906‐3543
MOSER, EDWARD               4874 CHALMETTE PARK CT                                                                   FREMONT            CA    94538‐3251
MOSER, ELLEN E              16518 MIMA ACRES DR SE                                                                   TENINO             WA    98589‐9738
MOSER, ERNEST C             PO BOX 220                     C/0 STEPHANIE MENDENHALL                                  HUMESTON            IA   50123‐0220
MOSER, ETHEL                21 GREEN CT                                                                              NEWPORT NEWS       VA    23601‐2409
MOSER, FRANK C              1131 PORT DIANE DR                                                                       SAINT LOUIS        MO    63146‐5633
MOSER, GERALD E             2122 SALIDA DEL SOL CT                                                                   LAS CRUCES         NM    88005‐4381
MOSER, GLORIA A             220 W PRINCETON AVE                                                                      PONTIAC            MI    48340‐1844
MOSER, HELEN I              577 CHIPPEWA DRIVE                                                                       DEFIANCE           OH    43512‐3346
MOSER, HILDA I              28167 STATE HWY 190                                                                      JAMESPORT          MO    64648‐7239
MOSER, HILDA I              28167 STATE HIGHWAY 190                                                                  JAMESPORT          MO    64648‐7239
MOSER, IRENE H              1100 S TIMBERVIEW TRL                                                                    BLOOMFIELD HILLS   MI    48304‐1561
MOSER, JAMES F              428 FRANKLIN ST                                                                          DEFIANCE           OH    43512‐2213
MOSER, JOE                  327 BROWN CREST RD                                                                       LA FOLLETTE        TN    37766‐5305
MOSER, JOHN AND ASSOC\LDI   3419 COLONNADE PKWY STE 1200                                                             BIRMINGHAM         AL    35243
MOSER, JOSEPH L             314 E RICKETTS ST                                                                        KOKOMO             IN    46902‐2255
MOSER, JUDY I               3077 S VASSAR RD                                                                         DAVISON            MI    48423
MOSER, LADONA               9258 NORTON DR                                                                           HOUSTON            TX    77080‐2921
MOSER, LEONARD W            61536 SPRING CIRCLE TRL                                                                  WASHINGTON TWP     MI    48094‐1139
MOSER, MARGARET S           847 WAKE FOREST ROAD                                                                     DAYTON             OH    45431‐2864
MOSER, MARY A               2134 WEST 86TH ST              APT C                                                     INDIANAPOLIS       IN    46260
MOSER, MARY A               2134 W 86TH ST APT C                                                                     INDIANAPOLIS       IN    46260‐2067
MOSER, MARY M               29 UPPER CROTON AVE                                                                      OSSINING           NY    10562‐3842
MOSER, MARY W               3433 KALPAG DR.                                                                          NORTH POLE         AK    99705
MOSER, MARY W               880 SAGITTARIUS AVENUE                                                                   FRANKLIN           IN    46131‐7098
MOSER, MAX L                9258 NORTON DR                                                                           HOUSTON            TX    77080‐2921
MOSER, MICHAEL              PO BOX 23                      111 W MAIN                                                HAVILAND           OH    45851‐0023
MOSER, MICHAEL E            PO BOX 504                                                                               MILAN              OH    44846‐0504
MOSER, MICHAEL E.           PO BOX 504                                                                               MILAN              OH    44846‐0504
MOSER, NANNIE W             1050 VERNON RD                                                                           GREENVILLE         PA    16125‐9287
MOSER, NANNIE W             1050 VERNON ROAD                                                                         GREENVILLE         PA    16125‐9287
MOSER, OREN A               2962 LEONARD ST                                                                          MARNE              MI    49435‐9659
MOSER, OREN A.              2962 LEONARD ST                                                                          MARNE              MI    49435‐9659
                                     09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                                Address1                        Address2                        Address3   Address4         City               State Zip
MOSER, PAMELA S                     4980 FAIRVIEW AVE                                                                           NEWTON FALLS        OH 44444‐9416
MOSER, PATSY L                      329 COTTONWOOD LANE                                                                         HURST               TX 76054‐2252
MOSER, RANDALL D                    31346 HOSPITAL DR                                                                           PAOLA               KS 66071‐6255
MOSER, RANDALL DALE                 31346 HOSPITAL DR                                                                           PAOLA               KS 66071‐6255
MOSER, RICHARD J                    48 SHERWOOD DR                                                                              MASSENA             NY 13662‐1752
MOSER, ROBERT A                     SIMMONS FIRM                    PO BOX 559                                                  WOOD RIVER           IL 62095‐0559
MOSER, ROBERT E                     29741 AUTUMN LN                                                                             WARREN              MI 48088‐3748
MOSER, RUDOLPH J                    1152 E RIVER ST                                                                             ELYRIA              OH 44035‐6056
MOSER, RUTH M                       1525 N MCCANN ST                                                                            KOKOMO              IN 46901‐2059
MOSER, SHIRLEY A                    8006 DEER CREEK RD                                                                          GREENTOWN           IN 46936‐9430
MOSER, WALTER D                     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510‐2212
                                                                    STREET, SUITE 600
MOSER, WAYNE                        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
MOSES & SINGER                      40TH FL                         1301 AVENUE OF THE AMERICAS                                 NEW YORK           NY   10019
MOSES ABRAHAM JR                    3976 LANCASTER DR                                                                           STERLING HEIGHTS   MI   48310‐4409
MOSES ABRAM JR                      521 N MADISON AVE                                                                           BAY CITY           MI   48708‐6460
MOSES ADKISSON                      8322 KINGSMERE CT                                                                           CINCINNATI         OH   45231‐6008
MOSES BETTS                         5216 S VAN NESS AVE                                                                         LOS ANGELES        CA   90062‐2156
MOSES BROOKS                        5215 AUBREY DR                                                                              CUMMING            GA   30028‐5020
MOSES BROXTON JR                    17524 NE 38TH CT                                                                            REDMOND            WA   98052‐5833
MOSES BURRELL                       10901 BEACONSFIELD ST                                                                       DETROIT            MI   48224‐1712
MOSES CADILLAC‐BUICK‐PONTIAC‐GMC TR 1406 WASHINGTON ST E                                                                        CHARLESTON         WV   25301‐1937

MOSES CADILLAC‐BUICK‐PONTIAC‐GMC TR 1406‐8 WASHINGTON STREET E                                                                  CHARLESTON         WV 25301

MOSES CADILLAC‐BUICK‐PONTIAC‐GMC    1406 WASHINGTON ST E                                                                        CHARLESTON         WV 25301‐1937
TRUCK, INC.
MOSES CADILLAC‐BUICK‐PONTIAC‐GMC    1406‐8 WASHINGTON STREET E                                                                  CHARLESTON         WV 25301
TRUCK, INC.
MOSES CADILLAC‐BUICK‐PONTIAC‐GMC    ROBERT MOSES                    1406 WASHINGTON ST E                                        CHARLESTON         WV 25301‐1937
TRUCK, INC.
MOSES CALDWELL                      37553 ROBINSON CT                                                                           WESTLAND           MI   48186‐9317
MOSES CARLENA                       1717 N NARRAGANSETT AVE                                                                     CHICAGO            IL   60639‐3825
MOSES CLARK JR                      109 62ND ST                                                                                 FAIRFIELD          AL   35064‐1920
MOSES COBB JR.                      21250 BERG RD                                                                               SOUTHFIELD         MI   48033‐6614
MOSES D WALDER                      42 S MOSS AVE APT A                                                                         DAYTON             OH   45417
MOSES DCPC,THOMAS W                 6549 SCHAEFER RD                                                                            DEARBORN           MI   48126‐1812
MOSES DENSON                        1149 CHARLES AVE                                                                            FLINT              MI   48505‐1641
MOSES DUCKETT                       456 S 28TH ST                                                                               SAGINAW            MI   48601‐6421
MOSES EDWARD I                      WALK RUN FOR LIFE INC           PO BOX 87                                                   COLTON             NY   13625‐0087
MOSES FISHER                        7381 ELLSWORTH ST                                                                           DETROIT            MI   48238‐1910
MOSES FOX SR                        3223 SOUTH BRANSON STREET                                                                   MARION             IN   46953‐4037
MOSES FRANK SR (492087)             BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                    PROFESSIONAL BLDG
MOSES FRANKIENAE                    MOSES, FRANKIENAE               44 BROAD ST NW STE 400                                      ATLANTA            GA   30303‐2328
MOSES GARRETT                       7411 2ND AVE APT D1                                                                         DETROIT            MI   48202‐2721
MOSES GRAHAM                        33 RICKERT AVE                                                                              BUFFALO            NY   14211‐1119
MOSES GREEN                         131 MEADLE ST                                                                               MOUNT CLEMENS      MI   48043‐2430
MOSES GREEN                         10143 S CALUMET AVE                                                                         CHICAGO            IL   60628‐2101
MOSES GREEN                         59 TIVERTON CIR                                                                             NEWARK             DE   19702‐1441
MOSES GREEN JR                      652 NOTRE DAME AVE                                                                          AUSTINTOWN         OH   44515‐4131
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Name                                  Address1                           Address2                      Address3               Address4         City                 State Zip
MOSES HENTON                          1375 LING DR                                                                                             AUSTELL               GA 30168‐5849
MOSES HILL JR                         1911 HIGHTOWER TRL                                                                                       RUTLEDGE              GA 30663‐2516
MOSES HILTON JR                       39 MANHATTAN AVE                                                                                         BUFFALO               NY 14215‐2113
MOSES HOBBS                           319 N MARTIN LUTHER KING JR BLVD                                                                         LANSING               MI 48915‐1854
MOSES HYSHAW                          479 CATALINA AVE                                                                                         YOUNGSTOWN            OH 44504‐1466
MOSES J BARR                          675 SEWARD ST APT 423                                                                                    DETROIT               MI 48202‐4445
MOSES JEROME                          135 ISLE VERDE WAY                                                                                       PALM BEACH GARDENS    FL 33418‐1710
MOSES JONES                           5832 JONQUIL AVE                                                                                         BALTIMORE             MD 21215‐3512
MOSES JONES SR                        2727 SHADYOAK DR                                                                                         FORT WAYNE            IN 46806‐5335
MOSES JR, CLAUDE                      125 WESTON AVE                                                                                           BUFFALO               NY 14215‐3536
MOSES JR, JOHN A                      PO BOX 9                                                                                                 NEWPORT               MI 48166‐0009
MOSES JR, JONATHAN                    1701 WOODLIN DR                                                                                          FLINT                 MI 48504‐1605
MOSES JR, LLOYD G                     9202 W 75TH TER                                                                                          OVERLAND PARK         KS 66204‐2356
MOSES MABRY                           213 W RANKIN ST                                                                                          FLINT                 MI 48505‐4148
MOSES MAGBY                           5645 AUSTIN GARNER RD                                                                                    SUGAR HILL            GA 30518‐2101
MOSES MAGGARD                         852 SWEETWATER RD                                                                                        PHILADELPHIA          TN 37846‐3909
MOSES MARABLE                         4519 NORTHWOOD DR                                                                                        BALTIMORE             MD 21239‐3940
MOSES MATHENA                         8 SAROY DR                                                                                               SAINT LOUIS           MO 63367
MOSES MC CORKLE                       322 OSBOURN LN                                                                                           RIDGEWAY              SC 29130‐7564
MOSES MC DANIEL JR                    7205 RIVERVIEW DR                                                                                        FLINT                 MI 48532‐2275
MOSES MCELROY                         23450 GEOFFREY CT                                                                                        OAK PARK              MI 48237‐2012
MOSES MICHAEL                         MOSES, MICHAEL                     5055 WILSHIRE BLVD STE 300                                            LOS ANGELES           CA 90036‐6101
MOSES N HENSLEY                       118 KANSAS AVE                                                                                           YPSILANTI             MI 48198‐6025
MOSES NAPOLEON                        4605 MEADOWOAK DR                                                                                        MIDWEST CITY          OK 73110‐7022
MOSES OGDEN JR                        2800 OLD SURRENCY RD                                                                                     BAXLEY                GA 31513‐7377
MOSES PHILLIPS JR                     14610 EASTBURN ST                                                                                        DETROIT               MI 48205‐1256
MOSES PIRTLE                          9000 CEDAR HILL LN                                                                                       SHREVEPORT            LA 71118‐2323
MOSES PLUMMER JR                      12680 TUTTLEHILL RD                                                                                      MILAN                 MI 48160‐9171
MOSES PONTIAC, BUICK, CADILLAC, GMC   5200 US ROUTE 60                                                                                         HUNTINGTON            WV 25705‐2023

MOSES PONTIAC, BUICK, CADILLAC, GMC   JACK* MOSES*                       5200 US ROUTE 60                                                      HUNTINGTON           WV 25705‐2023

MOSES POPLAR                          440 E BETHUNE ST                                                                                         DETROIT              MI   48202‐2838
MOSES PRICE                           1259 W 72ND ST                                                                                           CHICAGO              IL   60636‐4159
MOSES RAMEY                           2450 EASTGATE RD APT 2                                                                                   TOLEDO               OH   43614‐3080
MOSES REED                            414 N WASHINGTON AVE                                                                                     DANVILLE             IL   61832‐4628
MOSES REED JR.                        2405 S 16TH AVE                                                                                          BROADVIEW            IL   60155‐4015
MOSES REYNOLDS                        3652 HEIDELBERG ST                                                                                       DETROIT              MI   48207‐2436
MOSES RILEY JR                        309 WINCHESTER DR                                                                                        EATONTON             GA   31024‐6312
MOSES ROBINSON                        14670 INDIANA ST                                                                                         DETROIT              MI   48238‐1771
MOSES ROY                             2021 RAILROAD AVE                                                                                        ATHENS               TN   37303‐1849
MOSES SIMPSON                         466 KUHN ST                                                                                              PONTIAC              MI   48342‐1942
MOSES SMITH JR                        291 LOUD ROAD                                                                                            FAIRPORT             NY   14450‐9510
MOSES SR, R A                         PO BOX 6581                                                                                              YOUNGSTOWN           OH   44501‐6581
MOSES SR., JAMES A                    530 CHANDLER ST                                                                                          DETROIT              MI   48202‐2831
MOSES STEVENS JR                      2316 SHADOWOOD DR                                                                                        ANN ARBOR            MI   48108‐2546
MOSES SUBER‐BEY                       4445 BROOKTON RD                                                                                         CLEVELAND            OH   44128‐4918
MOSES THERESA                         MOSES, THERESA                     BRUCE WENDELL FARM BUREAU     5400 UNIVERSITY AVE.                    WEST DES MOINES      IA   50266
                                                                         FINANCIAL SERV.
MOSES THOMAS                          20255 PRAIRIE ST                                                                                         DETROIT              MI 48221‐1270
MOSES THOMAS                          THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                           HOUSTON              TX 77017
MOSES WARREN                          4855 AIRLINE DR                    30H                                                                   BOSSIER CITY         LA 71111
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Name                     Address1                         Address2                       Address3   Address4         City              State Zip
MOSES WAYNE              2100 DRUMMOND PLZ 2                                                                         NEWARK             DE 19711‐5743
MOSES WEBSTER            6121 ELDON RD                                                                               MOUNT MORRIS       MI 48458‐2715
MOSES WELLS              8035 TEATICKET LN                                                                           YPSILANTI          MI 48197‐9345
MOSES WILEY              RT 3 15440 MILLER CREEK RD                                                                  HILLMAN            MI 49746
MOSES WILLIAM (459217)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                          STREET, SUITE 600
MOSES WILLIAMS           18927 WISCONSIN ST                                                                          DETROIT           MI   48221‐2066
MOSES WOODS              720 SPRUCE CT APT F                                                                         MISHAWAKA         IN   46545‐2898
MOSES WOODS JR           11153 LANDSEER DR                                                                           SAINT LOUIS       MO   63136‐5874
MOSES WORKS              1910 HAZELWOOD AVE                                                                          SAGINAW           MI   48601‐3623
MOSES, ALVIN T           2345 OXFORD RD APT 212                                                                      BERKLEY           MI   48072‐1755
MOSES, ALVIN T           600 W WALTON BLVD                APT 136                                                    PONTIAC           MI   48430
MOSES, ANGELA Y          2321 SHIRLEY DR                                                                             SAVANNAH          GA   31404‐5805
MOSES, ANTHONY           209 ASHBURNHAM ST                                                                           FITCHBURG         MA   01420
MOSES, ARTHUR H          PO BOX 9581                                                                                 BRISTOL           CT   06011‐9581
MOSES, BARBARA R         1034 OLD CORBIN PIKE                                                                        WILLIAMSBURG      KY   40769‐2801
MOSES, BEARL             27777 DEQUINDRE RD APT 714                                                                  MADISON HEIGHTS   MI   48071‐3464
MOSES, BERNIECE          1860 NORTH COOPER ST             #49A                                                       ARLINGTON         TX   76011
MOSES, BETTY E           1141 NUTGRASS RD                                                                            BUNNLEVEL         NC   28323
MOSES, CARLEE            2128 SANTA FE AVE                                                                           LONG BEACH        CA   90810‐3546
MOSES, CARLENA           1717 N NARRAGANSETT AVE                                                                     CHICAGO           IL   60639‐3825
MOSES, CARLTON           64480 MAIN ST                                                                               ANGIE             LA   70426‐2002
MOSES, CHRISTOPHER W     40678 HEATHERBROOK                                                                          NOVI              MI   48375‐4440
MOSES, CLARENCE          360 FOREST DR                                                                               WEST SENECA       NY   14224‐1513
MOSES, CLESTON J         150 FLATWOODS RD                                                                            WILLIAMSBURG      KY   40769‐8795
MOSES, DANA M            2893 SPRING MEADOW CIR                                                                      AUSTINTOWN        OH   44515‐4960
MOSES, DANA MARIE        2893 SPRING MEADOW CIR                                                                      AUSTINTOWN        OH   44515‐4960
MOSES, DAVID L           PO BOX 10                                                                                   IRONS             MI   49644‐0010
MOSES, DELORES J         238 MILLS PL                                                                                NEW LEBANON       OH   45345‐1518
MOSES, DENISE H          325 BARKLEY PL W                                                                            COLUMBUS          OH   43213
MOSES, DENNIS C          3811 ARC WAY                                                                                LAWRENCEVILLE     GA   30044
MOSES, DOMINIC S         719 BROWNING ST                                                                             SHREVEPORT        LA   71106‐4015
MOSES, DORIS             1008 E SPRAKER ST                                                                           KOKOMO            IN   46901‐2511
MOSES, DOROTHY M         6933 HAWAII LN                                                                              ARLINGTON         TX   76016‐5407
MOSES, ELAINE J          10475 TAMRYN BLVD                                                                           HOLLY             MI   48442‐8615
MOSES, ELEANOR D         2229 BROWN RD                                                                               LAKEWOOD          OH   44107‐6016
MOSES, ELECTOR S         42268 CAMDEN RD                                                                             BELLEVILLE        MI   48111‐2359
MOSES, ELMER             1801 MEDRA DR                                                                               MONROE            LA   71202‐3031
MOSES, ESTES             1132 DONSON DR                                                                              DAYTON            OH   45429‐5830
MOSES, EVA M             1702 S RIVER RD RM 303                                                                      JANESVILLE        WI   53546
MOSES, FRANK             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH   44067
                                                          PROFESSIONAL BLDG
MOSES, FRANKIENAE        KROHN & MOSS ‐ GA                44 BROAD ST NW STE 400                                     ATLANTA           GA 30303‐2328
MOSES, GARNETT
MOSES, GARNIA            3127 VILLAGE GREEN DR                                                                       BEAVERCREEK       OH   45432‐5432
MOSES, GERTRUDE          1601 N TRUITT                                                                               MUNCIE            IN   47303‐9223
MOSES, GERTRUDE          1601 N TRUITT RD                                                                            MUNCIE            IN   47303‐9223
MOSES, GLENN D           1072 MEADOWLAWN DRIVE                                                                       PONTIAC           MI   48340‐1730
MOSES, GLORIA J          PO BOX 336                                                                                  FLINT             MI   48501‐0336
MOSES, HAROLD N          6328 TOWN HALL RD                                                                           BELLEVILLE        IL   62223‐8612
MOSES, HAZEL             64 WHITE PLAINS AVE                                                                         ELMSFORD          NY   10523‐2723
MOSES, HILMON H          384 OSCAR ARGO RD                                                                           RANDOLPH          AL   36792‐5327
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Name                     Address1                           Address2                         Address3   Address4         City               State Zip
MOSES, INC.              JACK* MOSES*                       5200 US ROUTE 60                                             HUNTINGTON          WV 25705‐2023
MOSES, J C               BOX 44                                                                                          GRATIS              OH 45330‐0044
MOSES, J C               PO BOX 44                                                                                       GRATIS              OH 45330‐0044
MOSES, JAMES             1631 PEACOCK AVE                                                                                CLARKSDALE          MS 38614‐5817
MOSES, JAMES             32 BLAIRMORE DR                                                                                 HAMILTON SQ         NJ 08690‐2526
MOSES, JAMES E           PO BOX 161                                                                                      EMLYN               KY 40730‐0161
MOSES, JAMES E           712 N RINGOLD ST                                                                                JANESVILLE          WI 53545‐2559
MOSES, JAMES H           4038 CANEY CREEK LN                                                                             CHAPEL HILL         TN 37034‐2075
MOSES, JAMES J           2448 MICHIGAN AVE                                                                               NIAGARA FALLS       NY 14305‐3114
MOSES, JAMES V           3024 SPRING GARDEN AVE                                                                          NEW CASTLE          PA 16105‐1239
MOSES, JANELL M          57 WINNEBAGO ST                                                                                 EDGERTON            WI 53534‐9312
MOSES, JANETTA D         2481 S GENESEE RD                                                                               BURTON              MI 48519‐1235
MOSES, JANETTA DARLENE   2481 S GENESEE RD                                                                               BURTON              MI 48519‐1235
MOSES, JEREMY D          11313 S US HIGHWAY 35                                                                           MUNCIE              IN 47302‐8431
MOSES, JEREMY DAVID      11313 S US HIGHWAY 35                                                                           MUNCIE              IN 47302‐8431
MOSES, JERRY A           39499 WESTMINSTER CIR                                                                           NOVI                MI 48375‐3718
MOSES, JOHN A            1912 HAVERHILL DR                                                                               DAYTON              OH 45406‐4634
MOSES, JOHN A            9254 QUANDT AVE                                                                                 ALLEN PARK          MI 48101‐1531
MOSES, JOHN O            26275 W MALLARD RD                 PN‐DOCKSIDE                                                  MILLSBORO           DE 19966‐5838
MOSES, JOHN W            5311 CHURCH RD                                                                                  CASCO               MI 48064‐3606
MOSES, JOHNNY B          555 DAYTONA PKWY APT 11                                                                         DAYTON              OH 45406‐2047
MOSES, JOHNNY B          555 DAYTONA PKWY.                  APT 11                                                       DAYTON              OH 45406‐2047
MOSES, JOSEPH H          238 MILLS PLACE                                                                                 NEW LEBANON         OH 45345‐1518
MOSES, JOSEPH H          238 MILLS PL                                                                                    NEW LEBANON         OH 45345‐1518
MOSES, JOYCE L           29863 BROOKLANE ST                                                                              INKSTER             MI 48141‐1502
MOSES, JULIE N           3520 NORTHEAST 34TH TERRACE                                                                     KANSAS CITY         MO 64117‐2608
MOSES, JUNNYS            POWELL POWELL & POWELL             SANTA ROSA EXECUTIVE PLAZA 151                               MARY ESTHER         FL 32569
                                                            MARY ESTER BLVD STE 312A
MOSES, KATHRYN J         395 WHITTIER RD                                                                                 SPENCERPORT        NY   14559‐9746
MOSES, KAY S             804 MARINER CV                                                                                  EATON              OH   45320‐2521
MOSES, KAY S             804 MARINER COVE                                                                                EATON              OH   45320‐2521
MOSES, LARRY             171B EAST PIKE                                                                                  PONTIAC            MI   48342
MOSES, LAWRENCE H        23 BENHAM ST                                                                                    BROCKTON           MA   02302‐2867
MOSES, LEMORA            PO BOX 772                                                                                      OCILLA             GA   31774‐0772
MOSES, LEONARD L         7148 BLUEWATER DR                                                                               CLARKSTON          MI   48348‐4273
MOSES, LEROY L           4030 BALDWIN                                                                                    DETROIT            MI   48214
MOSES, LERRON            702 N OAK ST                                                                                    OCILLA             GA   31774‐3819
MOSES, LORENE            530 CHANDLER ST                                                                                 DETROIT            MI   48202‐2831
MOSES, LORRAINE          14823 PIEDMONT ST                                                                               DETROIT            MI   48223‐2242
MOSES, LORRAINE          2284 ISABELL DR                                                                                 TROY               MI   48083‐2310
MOSES, LOUIS A           29552 KINGS POINTE CT                                                                           FARMINGTON HILLS   MI   48331‐2160
MOSES, MARGARET A        9052 TOWN AND COUNTRY BLVD APT C                                                                ELLICOTT CITY      MD   21043‐3208
MOSES, MARGARET J        11344 GRANDVILLE DR                                                                             TAMPA              FL   33617‐2386
MOSES, MARK M            1010 NEWPOINT LOOP                                                                              SUN CITY CENTER    FL   33573‐7079
MOSES, MARY L            3717 CANTON ST                                                                                  DETROIT            MI   48207‐2553
MOSES, MARY L            3717 CANTON                                                                                     DETROIT            MI   48207‐2553
MOSES, MARY M            8938 SORRENTO                                                                                   DETROIT            MI   48228
MOSES, MAY               1218 OLIVETTE                                                                                   COLLINSVILLE       IL   62234‐4125
MOSES, MAY               1218 OLIVETTE ST                                                                                COLLINSVILLE       IL   62234‐4125
MOSES, MICHAEL L         3252 SAPPHIRE ST                                                                                BEDFORD            TX   76021‐3804
MOSES, MICHAEL T         31840 NARDELLI LN                                                                               ROSEVILLE          MI   48066‐4566
MOSES, MILDRED L         189 BROOKWOOD WAY N                                                                             MANSFIELD          OH   44906‐2407
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Name                         Address1                         Address2                      Address3   Address4         City              State Zip
MOSES, NATHANIAL L           20361 PAHUTE RD                                                                            APPLE VALLEY       CA 92308‐5118
MOSES, ODAS                  1212 RAINBOW RD                                                                            MOUNTAIN CITY      TN 37683‐2142
MOSES, ONNOLEE               125 EAST PERRY AVE APT.#16                                                                 SILVER SPRINGS     NY 14550
MOSES, ORRIN L               59 FOXPOINTE CT                                                                            SWARTZ CREEK       MI 48473‐8282
MOSES, PAULETTE D            29011 LANCASTER DR APT 202                                                                 SOUTHFIELD         MI 48034‐1469
MOSES, PAULETTE DORIE        29011 LANCASTER DR APT 202                                                                 SOUTHFIELD         MI 48034‐1469
MOSES, PAYTON P              9530 E WINNER RD APT 4B                                                                    INDEPENDENCE       MO 64053‐1651
MOSES, PEARLIE R             525 CEDARWOOD DRIVE                                                                        JACKSON            MS 39212‐2221
MOSES, PHILLIP I             1141 NUTGRASS RD                                                                           BUNNLEVEL          NC 28323‐9114
MOSES, RENEE                 994 MEADOW THRUSH DR                                                                       CLAYTON            OH 45315‐8718
MOSES, RICHARD C             7775 FLAMINGO                                                                              WESTLAND           MI 48183
MOSES, RICKY                 246 HARMONY DR                                                                             DAHLONEGA          GA 30533‐3386
MOSES, ROBERT J              1554 MEADOWBROOK LN                                                                        FARMINGTON         NY 14425‐9348
MOSES, ROBERT L              3360 TACOMA CIR                                                                            ANN ARBOR          MI 48108‐1746
MOSES, ROGER A               8773 E FACTORY RD                                                                          W ALEXANDRIA       OH 45381‐8503
MOSES, ROGER D               2326 BONNIEVIEW AVE                                                                        DAYTON             OH 45431‐1904
MOSES, RONALD R              6933 HAWAII LN                                                                             ARLINGTON          TX 76016‐5407
MOSES, RUBY L                854 BUFFALO AVE.                                                                           CALUMET CITY        IL 60409
MOSES, SADIE B               48481 BRIDGE WAY                                                                           CANTON             MI 48188‐7909
MOSES, SHENETRA M            42641 CAPITOL                                                                              NOVI               MI 48375‐1755
MOSES, SHERRY A              16000 LANDAUER ST                                                                          BASEHOR            KS 66007
MOSES, SHIRLIE A             PO BOX 10                                                                                  IRONS              MI 49644‐0010
MOSES, SINGLETON C           1507 S WOODRUFF RT 2                                                                       WEIDMAN            MI 48893
MOSES, STEPHEN E             511 STOVER RD                                                                              WEST ALEXANDRIA    OH 45381‐9302
MOSES, TERRELL THOMAS        910 WEST ALPHA PARKWAY                                                                     WATERFORD          MI 48328‐2717
MOSES, THERESA               BRUCE WENDELL FARM BUREAU        5400 UNIVERSITY AVE                                       WEST DES MOINES     IA 50266‐5950
                             FINANCIAL SERV.
MOSES, TINA M                4347 MERRYDALE AVE                                                                         DAYTON            OH   45431‐1818
MOSES, TINA M                2326 BONNIEVIEW AVE.                                                                       DAYTON            OH   45431‐5431
MOSES, TOMMY G               239 MARK CT                                                                                GERMANTOWN        OH   45327‐9201
MOSES, TONI L                5141 HEATHER DR APT# S210                                                                  DEARBORN          MI   48126
MOSES, TONI L                16876 CARLISLE ST                                                                          DETROIT           MI   48205‐1506
MOSES, URSULA K              28 MATTHEWS ST                                                                             BRISTOL           CT   06010‐2997
MOSES, VERONICA V            4862 CHAPELLE                                                                              MARIETTA          GA   30066‐3207
MOSES, VERONICA V            4862 CHAPELLE CT                                                                           MARIETTA          GA   30066‐3207
MOSES, VIOLA                 20 NORTH ST                                                                                SUMMIT            NJ   07901‐3982
MOSES, WILLIAM               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                              STREET, SUITE 600
MOSES, WILLIAM C             6518 E CANAL POINTE LN                                                                     FORT WAYNE        IN   46804‐4772
MOSES‐MUNRO, SHARON I        1035 COSGROVE                                                                              WATERFORD         MI   48328‐1511
MOSESSO, ALFONSO M           3716 CRESTWOOD DR                                                                          AUBURN HILLS      MI   48326‐4306
MOSETTA DUPREE‐WYNN          3804 HILLSHIRE DR                                                                          ANTIOCH           TN   37013‐1040
MOSETTA F DUPREE‐WYNN        3804 HILLSHIRE DR                                                                          ANTIOCH           TN   37013‐1040
MOSEUK, GERALD K             4935 DELCONTE CIR                                                                          LIVERPOOL         NY   13088‐4711
MOSEY MANUFACTURING          262 FORT WAYNE AVE                                                                         RICHMOND          IN   47374‐2328
MOSEY MANUFACTURING CO INC   262 FORT WAYNE AVE                                                                         RICHMOND          IN   47374‐2328
MOSEY MANUFACTURING CO INC   520 N 15TH ST                                                                              RICHMOND          IN   47374‐3360
MOSEY SOOBITSKY              352 RESERVOIR RD                                                                           MIDDLETOWN        CT   06457‐4822
MOSEY, BRADFORD K            3922 DAHOMA DR                                                                             INDIANAPOLIS      IN   46237‐3841
MOSEY, THERON R              5298 WAYNE AVE                                                                             KALAMAZOO         MI   49004‐1566
MOSGROVE, JEDUS              13966 BRAILE ST                                                                            DETROIT           MI   48223‐2718
MOSGROVE, JERALDINE          13966 BRAILE                                                                               DETROIT           MI   48223‐2718
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Name                         Address1                           Address2                        Address3                     Address4             City                  State Zip
MOSHAFI TAVANA, SAKINEH      HINKLE JACHIMOWICZ POINTER &       2007 W HEDDING ST                                                                 SAN JOSE               CA 95128
                             MAYRON
MOSHAY, ZELDA
MOSHCHUK, NIKOLAI K          371 KERBY RD                                                                                                         GROSSE POINTE FARMS   MI 48236‐3142
MOSHE BEN‐ARI
MOSHEH ROBERSON JR           16102 STOCKBRIDGE AVE                                                                                                CLEVELAND             OH   44128‐2014
MOSHENKO, JOHN M             83 LINWOOD AVE                                                                                                       TONAWANDA             NY   14150‐4017
MOSHENKO, JOSEPHINE D        83 LINWOOD AVENUE                                                                                                    TONAWANDA             NY   14150‐4017
MOSHENKO, JULIA E            53023 SATURN DR                                                                                                      SHELBY TWP            MI   48316‐2331
MOSHENKO, MONICA             D/B/A MONICA WHARTON               ACCOUNT OF JOHN MOSHENKO        10505 PENELOPE PL UNIT 202                        NEW PORT RICHEY       FL   34654‐1746

MOSHER DALE M (481250)       KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                                     CLEVELAND             OH 44114
                                                                BOND COURT BUILDING
MOSHER JR, EDWARD H          PO BOX 279                                                                                                           BEULAH                WY   82712‐0279
MOSHER JR, GEORGE R          551 MOHEGAN ST                                                                                                       BIRMINGHAM            MI   48009‐5666
MOSHER ROBERT F (476914)     WEITZ & LUXENBERG                  180 MAIDEN LANE                                                                   NEW YORK              NY   10038
MOSHER SR, DANFORD C         4850 ARNOLD RD                                                                                                       SNOVER                MI   48472‐9208
MOSHER'S AUTO SERVICE INC.   4‐6505 KINGSTON RD UNITS 4 & 5                                                                  SCARBOROUGH ON M1C
                                                                                                                             1L5 CANADA
MOSHER, ANN W                1306 N. TOWNE COMMONS BLVD.                                                                                          FENTON                MI   48430‐2692
MOSHER, ANN W                1306 N TOWNE COMMONS BLVD                                                                                            FENTON                MI   48430‐2692
MOSHER, BETTY L              48 SADDLE CREEK DR                                                                                                   ATTICA                MI   48412‐9103
MOSHER, BEVERLY J            5986 RED FEATHER DR                                                                                                  BAY CITY              MI   48706‐3490
MOSHER, BOB E                2080 LA MER LN                                                                                                       HASLETT               MI   48840‐9565
MOSHER, CARL                 9221 VINTON AVE NW                                                                                                   SPARTA                MI   49345‐8317
MOSHER, CAROL A              3501 OAKWOOD BLVD APT 809                                                                                            MELVINDALE            MI   48122‐1171
MOSHER, CAROLYN A            P.O.BOX 279                                                                                                          BEULLAH               WY   82712‐2712
MOSHER, CAROLYN A            PO BOX 279                                                                                                           BEULAH                WY   82712‐0279
MOSHER, COLEEN D             7951 ETIWANDA AVE APT 8108                                                                                           RANCHO CUCAMONGA      CA   91739‐6715
MOSHER, CORA A               1408 ELK CREEK RD                                                                                                    CUMBERLAND CITY       TN   37050‐4405
MOSHER, COREEN A             4132 SOUTH MILL ROAD                                                                                                 DRYDEN                MI   48428‐9342
MOSHER, DALE M               KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                                      CLEVELAND             OH   44114
                                                                BOND COURT BUILDING
MOSHER, DEBORAH L            9000 LEMASTER LN                                                                                                     WHITE LAKE            MI   48386‐3385
MOSHER, DIANA B              910 GARFIELD ST                                                                                                      LANSING               MI   48917‐9248
MOSHER, DIANA B              910 GARFIELD AVE                                                                                                     LANSING               MI   48917‐9248
MOSHER, DONALD J             2119 BLACKTHORN DR                                                                                                   BURTON                MI   48509‐1201
MOSHER, DOROTHY M            4037 HUNSBERGER AVENUE NORTHEAST                                                                                     GRAND RAPIDS          MI   49525

MOSHER, DUANE                208 W NORTH UNION ST A‐4                                                                                             BAY CITY              MI   48706
MOSHER, DUANE E              3354 BALTOUR DR                                                                                                      DAVISON               MI   48423‐8578
MOSHER, EDNA                 11035 WADSWORTH RD                                                                                                   REESE                 MI   48757‐9337
MOSHER, EVELYN M             8225 CENTER RD RTE 2                                                                                                 MILLINGTON            MI   48746
MOSHER, FORREST J            2590 SE 5TH CT                                                                                                       HOMESTEAD             FL   33033‐5296
MOSHER, FRANK E              21680 ROOSEVELT RD                                                                                                   MERRILL               MI   48637‐9772
MOSHER, FREDA J              400 E MAIN ST APT 122                                                                                                MIDLAND               MI   48640‐6503
MOSHER, FREDERICK D          7249 MAPLECREST CIR                                                                                                  SWARTZ CREEK          MI   48473‐1595
MOSHER, GARY E               7025 60TH AVE                                                                                                        HUDSONVILLE           MI   49426‐9547
MOSHER, GARY L               8701 BLACK OAK ST                                                                                                    AUSTIN                TX   78729‐3701
MOSHER, GEORGE H             1689 WILLETT RD                    P O BOX 51                                                                        SAINT HELEN           MI   48656‐9506
MOSHER, GERALD E             G3168 BRANCH RD                                                                                                      FLINT                 MI   48506‐1966
MOSHER, GORDON S             6600 W BEARD RD                                                                                                      PERRY                 MI   48872‐9192
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Name                          Address1                       Address2                  Address3              Address4         City                State Zip
MOSHER, JAMES D               11873 VALLEY FALLS LOOP                                                                         SPRING HILL          FL 34609‐9271
MOSHER, JAMES R               5511 FIESTA PASS                                                                                GRAND BLANC          MI 48439‐9151
MOSHER, JAMES ROBERT          5511 FIESTA PASS                                                                                GRAND BLANC          MI 48439‐9151
MOSHER, JEFFREY A             20764 SUNNYDALE ST                                                                              FARMINGTON HILLS     MI 48336‐5251
MOSHER, KATHY F               3829 HOLLY AVE                                                                                  FLINT                MI 48506‐3108
MOSHER, KAY                   10924 E MONROE RD                                                                               WHEELER              MI 48662‐9797
MOSHER, KENNETH C             4800 8 MILE RD                                                                                  AUBURN               MI 48611‐9765
MOSHER, LEONA M               3451 W FARRAND RD                                                                               CLIO                 MI 48420‐8835
MOSHER, MARK E                9000 LEMASTER LN                                                                                WHITE LAKE           MI 48386‐3385
MOSHER, MARK EDMOND           9000 LEMASTER LN                                                                                WHITE LAKE           MI 48386‐3385
MOSHER, PEGGY L               5601 PARLIAMENT DR                                                                              ARLINGTON            TX 76017‐3223
MOSHER, RICHARD L             G6406 RICHFIELD RD                                                                              FLINT                MI 48506
MOSHER, ROBERT A              3 JOHN ST                                                                                       MEDWAY               MA 02053‐1001
MOSHER, ROBERT E              4117 JOYCE RD                                                                                   GROVE CITY           OH 43123‐3341
MOSHER, ROBERT F              WEITZ & LUXENBERG              180 MAIDEN LANE                                                  NEW YORK             NY 10038
MOSHER, RODERICK D            1359 WEST DOYLE TRAIL                                                                           ROSCOMMON            MI 48653‐9211
MOSHER, ROY D                 13510 PIONEER ST                                                                                BONNER SPRNGS        KS 66012‐9280
MOSHER, RUDOLPH A             1600 SEMINOLE TRL                                                                               WAYCROSS             GA 31501‐4128
MOSHER, SARAH L               6048 N HYNE RD                                                                                  EVANSVILLE           WI 53536‐9039
MOSHER, SHARRON               3513 BRISBANE DR                                                                                LANSING              MI 48911‐1307
MOSHER, STEVEN D              24561 HASKELL ST                                                                                TAYLOR               MI 48180‐2161
MOSHER, STEVEN DAVID          24561 HASKELL ST                                                                                TAYLOR               MI 48180‐2161
MOSHER, SUSAN                 7025 60TH AVE                                                                                   HUDSONVILLE          MI 49426‐9547
MOSHER, THOMAS D              1243 E WEBB RD                                                                                  DEWITT               MI 48820‐8393
MOSHER, TIMOTHY L             1032 RUSH RD.                                                                                   NEW MADISON          OH 45346‐5346
MOSHER, TIMOTHY L             1032 RUSH RD                                                                                    NEW MADISON          OH 45346‐9704
MOSHER, VICKIE L              1063 HUNTINGTON DR                                                                              TROY                 MO 63379‐2265
MOSHER, VICTORIA A            8356 W CORDELIA DR.                                                                             WHITE HILLS          AZ 85445
MOSHIER, CAROL                3120 POND HOLLOW ST                                                                             ZEPHYRHILLS          FL 33543‐5253
MOSHIER, D S                  1002 SAXONY CT                                                                                  BRENTWOOD            TN 37027‐8919
MOSHIER, D SCOTT              1002 SAXONY CT                                                                                  BRENTWOOD            TN 37027‐8919
MOSHIER, DANIEL W             1140 S ORTONVILLE RD LOT 3                                                                      ORTONVILLE           MI 48462‐8813
MOSHIER, EDWARD C             826 66TH ST                                                                                     TUSCALOOSA           AL 35405‐5524
MOSHIER, EDWIN W              3064 RANSOMVILLE RD                                                                             RANSOMVILLE          NY 14131‐9653
MOSHIER, HOWARD G             502 RIVER RIDGE DR                                                                              WATERFORD            MI 48327‐2887
MOSHIER, JAMES R              23650 MAYFLOWER RD                                                                              HILLMAN              MI 49746‐8628
MOSHIER, JANICE               3186 HIDDEN TRL                                                                                 WATERFORD            MI 48328‐2556
MOSHIER, JOHN D               1019 E SWEDE RD                                                                                 SPRUCE               MI 48762‐9570
MOSHIER, LUELLA J             718 SHREWSBURY DRIVE                                                                            CLARKSTON            MI 48348‐3678
MOSHIER, PATRICIA J           826 66TH ST                                                                                     TUSCALOOSA           AL 35405‐5524
MOSHIER, RICHARD R            4009 AIRPORT RD                                                                                 WATERFORD            MI 48329‐1501
MOSHIER, RICK A               540 SMOKERISE DR                                                                                MONROE               GA 30656
MOSHIER, ROBERT L             164 N RIVER DR                                                                                  CLARKSTON            MI 48346‐4168
MOSHIER, STEPHEN A            PO BOX                                                                                          GOULDSBORO           ME 04607
MOSHIER, WAYNE E              1500 S SAN LUIS                                                                                 GREEN VALLEY         AZ 85614‐1508
MOSHKOSKY, ALFRED F           6439 BISHOP RD                                                                                  LANSING              MI 48911‐6214
MOSHKOSKY, LAWRENCE A         1807 ALAN LN                                                                                    LANSING              MI 48917‐1204
MOSHKOVICH, MARINA            5744 DRAKE HOLLOW DR W                                                                          WEST BLOOMFIELD      MI 48322‐4722
MOSHMAN ASSOC PSP & T         JACK MOSHMAN TRUSTEE           STE 201                   6000 EXECUTIVE BLVD                    NORTH BETHESDA       MD 20852
MOSHOPOULOS, GEORGE           2808 CURACAO LN                                                                                 THOMPSONS STATION    TN 37179‐5020
MOSHOVIS VASILLIOS (476475)   OSHEA ROBERT LAW OFFICES OF    1818 MARKET ST STE 3520                                          PHILADELPHIA         PA 19103‐3636
MOSHOVIS, VASILLIOS           OSHEA ROBERT LAW OFFICES OF    1818 MARKET ST STE 3520                                          PHILADELPHIA         PA 19103‐3636
                                     09-50026-mg                Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                              Address1                               Address2                          Address3   Address4              City                    State Zip
MOSIAC ORGANIZATIONAL PERFORMANCE 2700 MATHESON BLVD STE 302             EAST TOWER                                   MISSISSAUGA CANADA ON
GROUP                                                                                                                 L4W 4V9 CANADA
MOSIE KILGORE                     10331 MONARCH DR                                                                                          SAINT LOUIS             MO    63136‐5609
MOSIELLO, GERARD L                558 GREEN LN                                                                                              RIVERVALE               NJ    07675‐5913
MOSIER AUTOMATION INC             9851 PARK DAVIS DR                                                                                        INDIANAPOLIS            IN    46235‐2393
MOSIER CHRISTOPHER C ‐ DUPLICATE  MOSIER, CHRISTOPHER C                  2501 PALMER HIGHWAY SUITE 112 P                                    TEXAS CITY              TX    77592
MATTER FOR 2D VIN                                                        O BOX 3073
MOSIER CHRISTOPHER C ‐ DUPLICATE  MOSIER, CONNIE                         2501 PALMER HIGHWAY SUITE 112 P                                        TEXAS CITY           TX   77592
MATTER FOR 2D VIN                                                        O BOX 3073
MOSIER EDGAR L JR (429509)        GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                            NORFOLK              VA 23510
                                                                         STREET, SUITE 600
MOSIER FLUID POWER OF IND           9851 PARK DAVIS DRY                                                                                         INDIANAPOLIS         IN   46236
MOSIER FLUID POWER OF INDIANA INC   PO BOX 34170                                                                                                LOUISVILLE           KY   40232‐4170

MOSIER GORDON R (429510)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK              VA 23510
                                                                         STREET, SUITE 600
MOSIER JR, HERMAN B                 30 ROUND MOUNTAIN RD                                                                                        FLORAL               AR 72534‐9742
MOSIER NOAH L (352620)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK              VA 23510
                                                                         STREET, SUITE 600
MOSIER'S SERVICE CENTRE             1251 ROAD 96, P O BOX 189                                                         WOLFE ISLAND ON K0H 2Y0
                                                                                                                      CANADA
MOSIER, ADRIAN T                    510 E SOUTH B ST                                                                                            GAS CITY            IN    46933‐1908
MOSIER, ARTHUR G                    7520 CHILI RIGA CENTER RD                                                                                   CHURCHVILLE         NY    14428‐9301
MOSIER, CARL E                      2265 SEQUOIA DR                                                                                             CLEARWATER          FL    33763‐1141
MOSIER, CHERI L                     6221 GLENSHIRE LN                                                                                           INDIANAPOLIS        IN    46237
MOSIER, CHRISTI A                   5380 LEGACY LN                                                                                              HILLIARD            MI    43026‐7212
MOSIER, CHRISTI ANN                 5380 LEGACY LN                                                                                              HILLIARD            OH    43026‐7212
MOSIER, CHRISTOPHER C
MOSIER, CONNIE                      LAVALLE PAUL HOUSTON & ASSOCIATES PC PO BOX 3073                                                            TEXAS CITY           TX   77592‐3073

MOSIER, DAVID S                     1700 HIGH POINTE DR                                                                                         COMMERCE TOWNSHIP   MI    48390‐2967
MOSIER, DOROTHY J                   2212 M STREET                        APT 1 F                                                                BEDFORD             IN    47421
MOSIER, EARL                        10217 RED SCHOOL ROAD                                                                                       SHOALS              IN    47581
MOSIER, EARNEST E                   1010 AVERILL AVE                                                                                            MANSFIELD           OH    44906‐3904
MOSIER, EDGAR L                     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK             VA    23510
                                                                         STREET, SUITE 600
MOSIER, EDNA O                      470 SANDS ROAD                                                                                              ORTONVILLE          MI    48462
MOSIER, EDNA O                      470 SANDS RD                                                                                                ORTONVILLE          MI    48462‐8808
MOSIER, ELIZABETH A                 2181 HAWTHORNE DR                                                                                           DEFIANCE            OH    43512‐9670
MOSIER, GORDON R                    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK             VA    23510‐2212
                                                                         STREET, SUITE 600
MOSIER, JAMES E                     7320 STATE ROAD 158                                                                                         BEDFORD              IN   47421‐8587
MOSIER, JAMES H                     413 CHESTERVILLE RD                                                                                         LANDENBERG           PA   19350‐1545
MOSIER, JAMES M                     59 W WALNUT ST                                                                                              MARTINSVILLE         IN   46151‐1940
MOSIER, JAMES W                     13129 TURNER RD                                                                                             DEWITT               MI   48820‐9021
MOSIER, JOHN A                      2050 SOUTH CEDAR                     # 333                                                                  IMLAY CITY           MI   48444
MOSIER, JOHN M                      1802 WAYNESBORO HWY                                                                                         HOHENWALD            TN   38462‐2247
MOSIER, JUDY E                      6047 LUCAS RD                                                                                               FLINT                MI   48506‐1217
MOSIER, KATHRYN D.                  8758 S BERGMAN DR                                                                                           NINEVEH              IN   46164‐9760
MOSIER, KAYE L                      25915 WILSON ST                                                                                             LOS MOLINOS          CA   96055‐9527
MOSIER, KIM S                       212 HERSHEY BLVD                                                                                            WATERFORD            MI   48327‐2433
MOSIER, LARRY                       1845 S LEATHERWOOD RD                                                                                       BEDFORD              IN   47421‐8862
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Name                         Address1                        Address2                      Address3   Address4                City            State Zip
MOSIER, LARRY S              50 MILLWOOD DR                                                                                   MIDDLETOWN       DE 19709‐9746
MOSIER, LINDA K              3569 N 00 E W                                                                                    KOKOMO           IN 46901
MOSIER, LLOYD G              599 SUMMIT DR                                                                                    PLAINFIELD       IN 46168‐1064
MOSIER, LORETTA HELTON       2004 34TH ST                                                                                     BEDFORD          IN 47421‐5514
MOSIER, LYNNED R             111 CARO LEGION DR                                                                               ROSCOMMON        MI 48653‐7004
MOSIER, MARVIN L             1713 NORTH LEONARD AVENUE                                                                        MCHENRY           IL 60050‐3802
MOSIER, NOAH L               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510‐2212
                                                             STREET, SUITE 600
MOSIER, PAUL B               10209 RED SCHOOL RD                                                                              SHOALS          IN    47581‐7271
MOSIER, PHILIP H             1521 EUCALYPTUS CIR                                                                              THOUSAND OAKS   CA    91360‐6315
MOSIER, PHYLLIS              PO BOX 233                                                                                       CAYUGA          IN    47928‐0233
MOSIER, RICHARD C            3769 CARD RD                                                                                     DELEVAN         NY    14042‐9734
MOSIER, RICHARD CHARLES      3769 CARD RD                                                                                     DELEVAN         NY    14042‐9734
MOSIER, RONNIE M             1802 WAYNESBORO HWY                                                                              HOHENWALD       TN    38462‐2247
MOSIER, SHERRI               1515 S ARMSTRONG ST                                                                              KOKOMO          IN    46902‐2037
MOSIER, THOMAS O             1930 TRACE WAY                                                                                   SEVIERVILLE     TN    37862‐8067
MOSIER, TWANA J              1107 W BROADWAY ST                                                                               KOKOMO          IN    46901‐2611
MOSIER, TWYLA H              1533 E MARBURY ST                                                                                WEST COVINA     CA    91791‐1207
MOSIER, VICKIE L             27010 BALDNER RD RT 1                                                                            GLENMONT        OH    44628
MOSIER, WILLIAM P            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA    23510‐2212
                                                             STREET, SUITE 600
MOSIER, WILLIAM S            625 SPREEN RD                                                                                    WILLIAMS        IN    47470‐8961
MOSIMAN, FREDERICK H         1525 BURTON CT                                                                                   ANDERSON        IN    46013‐2501
MOSKAITIS, MICHAEL J         45046 CUSTER AVE                                                                                 UTICA           MI    48317‐5700
MOSKAITIS, ROBERT J          330 W HAMILTON                                                                                   FLINT           MI    48503
MOSKAL, ADAM B               10312 CHAMPIONS CIR                                                                              GRAND BLANC     MI    48439‐9442
MOSKAL, EDWARD L             3005 NE 63RD TER                                                                                 GLADSTONE       MO    64119‐1811
MOSKAL, EDWARD W             13 STONEHENGE DR                                                                                 OCEAN           NJ    07712‐3326
MOSKAL, HENRY A              29 KELLY PKWY                                                                                    BAYONNE         NJ    07002‐3411
MOSKAL, IRENE F              13 STONEHENGE DRIVE                                                                              OCEAN           NJ    07712
MOSKAL, JOHN J               8721 STARK DR                                                                                    HINSDALE        IL    60521
MOSKAL, JOHN M               4150 FUNDISTOWN RD                                                                               TRAFFORD        PA    15085‐1710
MOSKAL, LAWRENCE E           237 NORTH RAY STREET                                                                             NEW CASTLE      PA    16101‐3418
MOSKAL, LORRAINE             4150 FUNDISTOWN RD                                                                               TRAFFORD        PA    15085
MOSKAL,CHERRY                6909 N WOODLAND AVE                                                                              GLADSTONE       MO    64118‐2847
MOSKALCZYN, MARLENE          32924 INDIANA ST                                                                                 LIVONIA         MI    48150‐3767
MOSKALIK, MICHAEL P          9186 MEADOWLAND DR                                                                               GRAND BLANC     MI    48439‐8355
MOSKALOW, BILL               18 GOODALE RD                                                                                    NEWTON          NJ    07860‐2782
MOSKALSKI LOUIS              MOSKALSKI, LOUIS                6516 W. WEST WIND DRIVE                                          GLENDALE        AZ    85310
MOSKALSKI, LOUIS             6516 W WEST WIND DR                                                                              GLENDALE        AZ    85310‐3460
MOSKALSKI, LOUIS WILLIAM     6516 W WEST WIND DR                                                                              GLENDALE        AZ    85310‐3460
MOSKATOW, NICK               20440 SAINT LAURENCE DR                                                                          CLINTON TWP     MI    48038‐4494
MOSKETTI, ROGER D            1660 BAR ZEE DR                                                                                  SUMTER          SC    29154
MOSKETTI, SIGRUN A           200 AVENUE K SOUTHEAST #407                                                                      WINTER HAVEN    FL    33880
MOSKO, JOHN D                5721 W. M‐115 ROAD                                                                               MESICK          MI    49668
MOSKO, ROBERT P              18 OLD MOUNTAIN RD                                                                               LEBANON         NJ    08833‐4200
MOSKOL, VIVIAN R             3525 ERHART RD                                                                                   LITCHFIELD      OH    44253‐9738
MOSKOWITZ & MEREDITH         PO BOX 31 STN COMMERCE COURT                                             TORONTO CANADA ON M5L
                                                                                                      1B2 CANADA
MOSKOWITZ & MEREDITY         PO BOX 301 STN COMMERCE COURT                                            TORONTO CANADA ON M5L
                                                                                                      1B2 CANADA
MOSKOWITZ ALLEN M (656224)   WILENTZ GOLDMAN & SPITZER       PO BOX 10                                                        WOODBRIDGE       NJ   07095‐0958
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Name                                 Address1                             Address2                         Address3   Address4         City            State Zip
MOSKOWITZ BROTHERS INC               5300 VINE ST                                                                                      CINCINNATI       OH 45217‐1030
MOSKOWITZ, ALLEN M                   WILENTZ GOLDMAN & SPITZER            PO BOX 10                                                    WOODBRIDGE       NJ 07095‐0958
MOSLANDER, GERALD J                  9142 E 13TH ST                                                                                    INDIANAPOLIS     IN 46229‐2370
MOSLANDER, JOHN R                    3021 HIGHWAY P                                                                                    WENTZVILLE       MO 63385‐2311
MOSLER WILLIAM P (412872) ‐ MOSIER   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
WILLIAM P                                                                 STREET, SUITE 600
MOSLEY CARL F (ESTATE OF) (454855)   SIMMONS FIRM                         PO BOX 559                                                   WOOD RIVER      IL   62095‐0559
MOSLEY CREMIN A                      7920 E 118TH TER                                                                                  KANSAS CITY     MO   64134‐4063
MOSLEY ELISA                         MOSLEY, ELISA                        640 S SAN VICENTE BLVD STE 230                               LOS ANGELES     CA   90048‐4654
MOSLEY ELISA                         MOSLEY, FLOYD                        640 S SAN VICENTE BLVD STE 230                               LOS ANGELES     CA   90048‐4654
MOSLEY ELVY (493062)                 BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD      OH   44067
                                                                          PROFESSIONAL BLDG
MOSLEY IRA (491246)                  BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD      OH 44067
                                                                          PROFESSIONAL BLDG
MOSLEY JENNIFER                      MOSLEY, JENNIFER                     471 E BROAD ST STE 1200                                      COLUMBUS        OH 43215‐3806
MOSLEY JENNIFER                      STATE FARM MUTUAL AUTOMOBILE         471 E BROAD STREET 18TH FLOOR                                COLUMBUS        OH 43215
                                     INSURANCE COMPANY                    BOX PO
MOSLEY JR, CHARLES A                 7806 HOOVER RD                                                                                    INDIANAPOLIS    IN   46260‐3550
MOSLEY JR, CHARLES H                 PO BOX 163                                                                                        MOUNT MORRIS    MI   48458‐0163
MOSLEY JR, HOMER                     3264 JACQUE ST                                                                                    FLINT           MI   48532‐3709
MOSLEY JR, JOE                       6390 N JENNINGS RD                                                                                MOUNT MORRIS    MI   48458‐9317
MOSLEY JR, KENNETH N                 PO BOX 1418                          2015 S TUTTLE AVE                                            SARASOTA        FL   34230‐1418
MOSLEY JR, LEDELL                    P0 B0X 1661                                                                                       SAGINAW         MI   48605
MOSLEY JR, OBRAY F                   18010 ILENE ST                                                                                    DETROIT         MI   48221‐2437
MOSLEY JR, WASHINGTON S              926 E HOLBROOK AVE                                                                                FLINT           MI   48505‐2298
MOSLEY L RUSSELL                     2564 N SQUIRREL RD, #230                                                                          AUBURN HILLS    MI   48326
MOSLEY LANCE                         2700 FAIRFIELD AVE                                                                                SHREVEPORT      LA   71104‐2924
MOSLEY LATONYA SHINESE               5221 WOODHAVEN DR                                                                                 FLINT           MI   48504‐1264
MOSLEY LEDARIL                       PO BOX 576                                                                                        BAXLEY          GA   31515‐0576
MOSLEY ROBERT L SR (477253)          ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                   BALTIMORE       MD   21202
                                                                          CHARLES CENTER 22ND FLOOR
MOSLEY SR, CLARENCE                  64 FAY ST                                                                                         BUFFALO         NY   14211‐2428
MOSLEY, ADELBERT E                   PO BOX 591                                                                                        CLINTON         MS   39060‐0591
MOSLEY, ALMA J                       628 WELCH BLVD 2                                                                                  FLINT           MI   48503
MOSLEY, AMYE A                       5253 KENSINGTON AVENUE                                                                            DETROIT         MI   48224‐2621
MOSLEY, APRIL R                      4517 KORNER DR                                                                                    HUBER HEIGHTS   OH   45424‐5927
MOSLEY, ARCHIE L                     PO BOX 317                                                                                        ROBINETTE       WV   25607‐0317
MOSLEY, BEN F                        25063 DODGE ST                                                                                    ROSEVILLE       MI   48066‐5037
MOSLEY, BESSIE M                     5164 N CAPITOL AVE                                                                                INDIANAPOLIS    IN   46208‐3414
MOSLEY, BETTY J                      PO BOX 310446                                                                                     FLINT           MI   48531‐0446
MOSLEY, BETTY L                      77 MOSLEY AVE                                                                                     AMHERSTDALE     WV   25607‐8045
MOSLEY, BETTY L                      317 MOSLEY AVE                                                                                    ROBINETTE       WV   25607‐9711
MOSLEY, BETTY L                      2677 CEDAR DR                                                                                     LAWRENCEVILLE   GA   30043
MOSLEY, BETTY L.                     2164 KENNETH                                                                                      BURTON          MI   48529‐1353
MOSLEY, BETTY L.                     2164 KENNETH ST                                                                                   BURTON          MI   48529‐1353
MOSLEY, BETTY M                      312 BRANDY RUN RD W                                                                               MOBILE          AL   36608‐3302
MOSLEY, BILLY P                      115 MARILYN DR                                                                                    JASPER          TN   37347‐2511
MOSLEY, BLONDINE H                   590 TOMMY LEE FULLER DR FRNT                                                                      LOGANVILLE      GA   30052‐3943
MOSLEY, BLONDINE H                   2899 FIVE FORKS TRICKUM RD APR 128                                                                LAWRENCEVILLE   GA   30044‐5842
MOSLEY, BOBBY E                      445 LINDENWOOD RD                                                                                 DAYTON          OH   45417‐1305
MOSLEY, BOBBY L                      36715 WAYNE DR                                                                                    STERLING HTS    MI   48312‐2969
MOSLEY, BOYCE W                      PO BOX 88                                                                                         STAPLETON       AL   36578‐0088
                       09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                   Address1                       Address2               Address3      Address4           City            State Zip
MOSLEY, BRIAN D        5431 FERN AVE                                                                          GRAND BLANC      MI 48439‐4308
MOSLEY, BRIAN L        52788 MUIRFIELD DRIVE                                                                  CHESTERFIELD     MI 48051‐3663
MOSLEY, CARL F         SIMMONS FIRM                   PO BOX 559                                              WOOD RIVER        IL 62095‐0559
MOSLEY, CAROL J        945 SPRINGFIELD ST                                                                     DAYTON           OH 45403‐1347
MOSLEY, CATHERINE A    1504 MARION ST SW                                                                      DECATUR          AL 35601‐2735
MOSLEY, CHARLOTTE D    STE A                          1236 SMITH COURT                                        ROCKY RIVER      OH 44116‐1558
MOSLEY, CHRISTINE S    590 FAIRFIELD AVE NE                                                                   WARREN           OH 44483‐4904
MOSLEY, CLARA H        2368 EASTWOOD DR                                                                       SNELLVILLE       GA 30078‐2611
MOSLEY, CLARENCE       GUY WILLIAM S                  PO BOX 509                                              MCCOMB           MS 39649‐0509
MOSLEY, CLARENCE A     2516 HOLTZ RD                                                                          SHELBY           OH 44875‐9337
MOSLEY, CLARENCE D     8161 TOWNSHIP ROAD 55                                                                  MANSFIELD        OH 44904‐9223
MOSLEY, CLYDE L        1840 CLYDE MOSLEY RD                                                                   MERIDIAN         MS 39301‐9209
MOSLEY, CREMIN A       7920 E 118TH TER                                                                       KANSAS CITY      MO 64134‐4063
MOSLEY, CYNTHIA A      2291 CAMMIE WAGES RD                                                                   DACULA           GA 30019‐1969
MOSLEY, DANIELLE L     6186 STONEGATE PARKWAY                                                                 FLINT            MI 48532‐2148
MOSLEY, DANNY R        2807 N LUTHERAN CHURCH RD                                                              DAYTON           OH 45426‐4317
MOSLEY, DAVID          236 E TAYLOR ST                                                                        FLINT            MI 48505‐4984
MOSLEY, DAZZELL L      8534 STEVENSWOOD RD                                                                    BALTIMORE        MD 21244‐2217
MOSLEY, DEROTHA        3230 INDIAN SHOALS RD                                                                  DACULA           GA 30019‐1828
MOSLEY, DONALD R       1410 AVON PARK DR APT 6                                                                FLINT            MI 48583‐7203
MOSLEY, DONNA J.       45106 KENSINGTON ST                                                                    UTICA            MI 48317‐5904
MOSLEY, DOROTHY        6346 DEVEREAUX                                                                         DETROIT          MI 48210‐2310
MOSLEY, DOROTHY        6651 HARPERS FERRY CT                                                                  EIGHT MILE       AL 36613
MOSLEY, DOYLE N        PO BOX 213                                                                             S ROCKWOOD       MI 48179‐0213
MOSLEY, E R            1237 RAINTREE DR                                                                       SNELLVILLE       GA 30078‐2120
MOSLEY, E T            823 MARCIA ST SW                                                                       WYOMING          MI 49509‐3903
MOSLEY, EDGAR          PO BOX 1912                                                                            DETROIT          MI 48231‐1912
MOSLEY, EDWARD F       1765 COVE XING SW                                                                      ATLANTA          GA 30331‐6343
MOSLEY, EDWARD F       1685 MOOREFIELD AVE                                                                    AUSTINTOWN       OH 44515‐4509
MOSLEY, ELLA M         261 HERITAGE COMMONS ST SE                                                             GRAND RAPIDS     MI 49503‐5248
MOSLEY, ELZA Y         2 TURNBULL AVE                                                      WALLACEBURG ON
                                                                                           CANADA N8A‐2M5
MOSLEY, ESTINA         2824 CONCORD ST                                                                        FLINT           MI   48504‐3044
MOSLEY, FLOYD D        2615 YUMA DR                                                                           BOWLING GREEN   KY   42104‐4270
MOSLEY, FLOYD DEAN     2615 YUMA DR                                                                           BOWLING GREEN   KY   42104‐4270
MOSLEY, FOREST         19672 ALGONAC ST                                                                       DETROIT         MI   48234‐3522
MOSLEY, FRED D         1740 KELLYVILLE CUT OFF                                                                JEFFERSON       TX   75657‐3442
MOSLEY, FREDRICK P     917 GLEN EAGLE LN                                                                      FORT WAYNE      IN   46845‐9501
MOSLEY, GARY           317 SIOUX TRL                                                                          SOMERSET        KY   42501‐3241
MOSLEY, GARY           317 SIOUX TRAIL                                                                        SOMERSET        KY   42501‐3241
MOSLEY, GERALD A       376 LOCUST RD                                                                          HARWINTON       CT   06791‐2802
MOSLEY, GLENN E        1325 W 6TH ST                                                                          ANDERSON        IN   46016‐1027
MOSLEY, GLORIA P       PO BOX 5067                                                                            HILLSIDE        NJ   07205‐5067
MOSLEY, IDA M          20800 WYOMING #316                                                                     FERNDALE        MI   48220‐2146
MOSLEY, IDA M          20800 WYOMING ST APT 316                                                               FERNDALE        MI   48220‐2146
MOSLEY, IDELLA         1183 E CASS AVE                                                                        FLINT           MI   48505‐1640
MOSLEY, IDELLA         1183 E CASS                                                                            FLINT           MI   48505‐1640
MOSLEY, INEZ G         9464 GROSSE ILE PKWY                                                                   GROSSE ILE      MI   48138‐1611
MOSLEY, JAMES A        5818 EDWARDS AVE                                                                       FLINT           MI   48505‐5110
MOSLEY, JAMES E        APT 6                          1829 WOODHAVEN DRIVE                                    FORT WAYNE      IN   46819‐1047
MOSLEY, JAMES EDWARD   APT 6                          1829 WOODHAVEN DRIVE                                    FORT WAYNE      IN   46819‐1047
MOSLEY, JAMES L        1100 GILCREST CT                                                                       PARKVILLE       MD   21234‐5924
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Name                      Address1                       Address2                     Address3   Address4         City                   State Zip
MOSLEY, JAMES R           46191 RIVERWOODS DR                                                                     MACOMB                  MI 48044‐5759
MOSLEY, JENNIFER
MOSLEY, JENNIFER          ALESSANDO SABATINO JR          471 E BROAD ST STE 1200                                  COLUMBUS               OH   43215‐3806
MOSLEY, JESSE E           4913 OAK MANOR TER                                                                      OKLAHOMA CITY          OK   73135‐2251
MOSLEY, JESSIE            505 W BROADWELL ST APT 11                                                               ALBION                 MI   49224
MOSLEY, JIMMIE            3613 DONNELLY ST                                                                        FLINT                  MI   48504‐3528
MOSLEY, JIMMY L           2203 MEADOWLARK DR                                                                      HARRISONVILLE          MO   64701‐2812
MOSLEY, JOE               GUY WILLIAM S                  PO BOX 509                                               MCCOMB                 MS   39649‐0509
MOSLEY, JOE M             HOUSE #2130                    LEE DR                                                   INDIANAPOLIS           IN   46227
MOSLEY, JOE N             12338 SPLIT RAIL LN                                                                     HOUSTON                TX   77071‐3017
MOSLEY, JOHN E            402 JOHN COLBERT DR                                                                     MACON                  MS   39341‐9179
MOSLEY, JOHN H            4808 CLOVERLAWN DR                                                                      FLINT                  MI   48504‐2092
MOSLEY, JOHN HENRY        4808 CLOVERLAWN DR                                                                      FLINT                  MI   48504‐2092
MOSLEY, JOHN M            2 BEVERLY DR                                                                            LAUREL                 MS   39443‐9409
MOSLEY, JOHN N            PO BOX 28                                                                               AMHERSTDALE            WV   25607‐0028
MOSLEY, JOHN W            713 FLOWERS ST                                                                          SAINT AUGUSTINE        FL   32092‐2458
MOSLEY, JOHNNIE           3917‐10TH STREET                                                                        ECORSE                 MI   48229‐1616
MOSLEY, JOHNNIE           3917 10TH ST                                                                            ECORSE                 MI   48229‐1616
MOSLEY, JOSEPH            10919 S NORMAL AVE                                                                      CHICAGO                IL   60628‐3227
MOSLEY, JOSEPH L          506 KUHN ST                                                                             PONTIAC                MI   48342‐1945
MOSLEY, JOYE E            20220 HARBOR LN                                                                         SOUTHFIELD             MI   48076‐4930
MOSLEY, JUANITA           2973 BUTNER RD SW APT 1001                                                              ATLANTA                GA   30331‐7886
MOSLEY, KEITH             2235 CHIPPEWA DR                                                                        RIVERDALE              GA   30296‐1716
MOSLEY, KELVIN L          1421 CHAMBERS STREET                                                                    NORMAN                 OK   73071‐7247
MOSLEY, KELVIN L          246 NE 82ND ST                                                                          KANSAS CITY            MO   64118‐1229
MOSLEY, KENNETH A         8161 TOWNSHIP ROAD 55                                                                   MANSFIELD              OH   44904‐9223
MOSLEY, LAKISHA PERKINS
MOSLEY, LARRY B           APT 311                        1246 EAST WALTON BOULEVARD                               PONTIAC                MI   48340‐1582
MOSLEY, LARRY B           1246 E WALTON BLVD             APT 311                                                  PONTIAC                MI   48340‐1582
MOSLEY, LATONYA SHINESE   5221 WOODHAVEN DR                                                                       FLINT                  MI   48504‐1264
MOSLEY, LEE M             PO BOX 487                                                                              MULDROW                OK   74948‐0487
MOSLEY, LEO               433 DEARBORN AVE                                                                        DAYTON                 OH   45417‐2001
MOSLEY, LEO               433 DEARBORN                                                                            DAYTON                 OH   45417‐2001
MOSLEY, LEONARD W         3127 PARKWOOD AVE                                                                       TOLEDO                 OH   43610‐1616
MOSLEY, LEVI M            19801 BROOKFIELD LN                                                                     WARRENSVILLE HEIGHTS   OH   44122‐7036
MOSLEY, LEWIS             5221 WOODHAVEN DR                                                                       FLINT                  MI   48504‐1264
MOSLEY, LILLIE            3693 BENDEMEER RD                                                                       CLEVELAND HTS          OH   44118‐1955
MOSLEY, LOLA G            1603 8TH ST SW                                                                          DECATUR                AL   35601‐3705
MOSLEY, LORRAINE E        3211 E 32ND ST                                                                          KANSAS CITY            MO   64128‐1643
MOSLEY, LUCILLE L         300 GENEVA RD                                                                           DAYTON                 OH   45417‐1345
MOSLEY, LUCY K            4132 PARSON DR                                                                          CHAMBLEE               GA   30341‐1627
MOSLEY, LUCY K            4132 PARSONS DR                                                                         CHAMBLEE               GA   30341‐1627
MOSLEY, MABEL V           220 E LAKEVIEW ST                                                                       FLINT                  MI   48503‐4164
MOSLEY, MACK C            SLAUGHTER EDWARD M             1201 N WATSON RD STE 145                                 ARLINGTON              TX   76006‐6223
MOSLEY, MARGARET A        1316 CASTLE RIDGE RD                                                                    FORT WORTH             TX   76140‐5749
MOSLEY, MARGARET L        1530 N 22ND ST                                                                          KANSAS CITY            KS   66102‐2620
MOSLEY, MARGARET R        823 MARCIA ST SW                                                                        WYOMING                MI   49509
MOSLEY, MARGARET S        112 HEATHERLYNN CIRCLE                                                                  CLINTON                MS   39056‐9056
MOSLEY, MARIE             231 ROSEDALE DR                                                                         MIAMI SPRINGS          FL   33166‐4963
MOSLEY, MARK R            231 MAPLE ST                                                                            SMYRNA                 DE   19977‐1525
MOSLEY, MARK RENE         231 MAPLE ST                                                                            SMYRNA                 DE   19977‐1525
MOSLEY, MARY              1469 FARMINGTON AVE UNIT 42                                                             BRISTOL                CT   06010
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Name                     Address1                         Address2                    Address3   Address4         City            State Zip
MOSLEY, MARY A           2017 STATE BLVD                                                                          MERIDIAN         MS 39307‐5025
MOSLEY, MARY ALICE       PO BOX 23                                                                                HILLSBORO        AL 35643‐0023
MOSLEY, MARY ALICE       P O BOX 23                                                                               HILLSBORO        AL 35643‐0023
MOSLEY, MARY B           2145 N PARK AVE                                                                          INDIANAPOLIS     IN 46202‐1640
MOSLEY, MARY L           5101 HORTON AVE                                                                          FLINT            MI 48505‐3019
MOSLEY, MARY L           15892 PETOSKEY AVE                                                                       DETROIT          MI 48238‐1391
MOSLEY, MARY L           PO BOX 297                       2761 THOMAS JEFFERSON HWY                               CHARLOTTE C H    VA 23923‐0297
MOSLEY, MARY LILLIE      15892 PETOSKEY AVE                                                                       DETROIT          MI 48238‐1391
MOSLEY, MATTIE L         252 LAKE FOREST DR                                                                       LA VERGNE        TN 37086‐4226
MOSLEY, MELITA           3510 PROVIDENCE ST                                                                       FLINT            MI 48503‐4547
MOSLEY, MELVIN S         611 PLEASANT LN                                                                          MIDDLETOWN       DE 19709‐9687
MOSLEY, MICHAEL S        19360 FORREST HILL CT                                                                    WOODHAVEN        MI 48183‐4312
MOSLEY, MICHAEL STEVEN   19360 FORREST HILL CT                                                                    WOODHAVEN        MI 48183‐4312
MOSLEY, NANNIE R         13183 KINCANNON RD                                                                       GLADE SPRING     VA 24340‐4809
MOSLEY, NELLIE M         PO BOX 61                                                                                HARRISBURG        IL 62946‐0061
MOSLEY, NELLIE M         P. O. BOX 61                                                                             HARRISBURG        IL 62946‐0061
MOSLEY, NELSON           PO BOX 44                        344 UNION AVE. APT.C8                                   ELIZABETH        NJ 07207‐0044
MOSLEY, OLA F            1840 CLYDE MOSLEY RD                                                                     MERIDIAN         MS 39301‐9209
MOSLEY, OLIVIA B         850 OSMOND AVE                                                                           DAYTON           OH 45402‐5239
MOSLEY, OREATHA          1934 E WILLIS ST                                                                         DETROIT          MI 48207‐1414
MOSLEY, OTHA L           821 W DARTMOUTH ST                                                                       FLINT            MI 48504
MOSLEY, PATRICIA K       713 FLOWERS ST                                                                           ST AUGUSTINE     FL 32092‐2458
MOSLEY, QUENTIN          5644 PINE GATE DR                                                                        ATLANTA          GA 30349‐6491
MOSLEY, RICHARD          624 W BROADWAY ST                                                                        LEWISTOWN        MT 59457‐2528
MOSLEY, RITA J           PO BOX 170073                                                                            ST LOUIS         MO 63117‐7773
MOSLEY, ROBERT H         2754 GRAVEL SPRINGS RD                                                                   BUFORD           GA 30519‐4407
MOSLEY, ROBERT J         PO BOX 466                                                                               WAGRAM           NC 28396‐0466
MOSLEY, ROBERT L         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE        MD 21202‐3804
                                                          CHARLES CENTER 22ND FLOOR
MOSLEY, ROGER D          340 CO ROAD 520                                                                          ANDERSON        AL   35610
MOSLEY, RONALD A         188 RICHARD DR                                                                           XENIA           OH   45385‐2626
MOSLEY, RONALD A         188 RICHARD DRIVE                                                                        XENIA           OH   45385‐2626
MOSLEY, RONALD J         11379 MAIN RD                                                                            FENTON          MI   48430‐9747
MOSLEY, ROOSEVELT D      266 SEA MIST CT                                                                          VALLEJO         CA   94591‐7745
MOSLEY, ROSALIE          1324 LIBERTY RD                                                                          YOUNGSTOWN      OH   44505
MOSLEY, ROYCE            61 WILLIAMSON AVE                                                                        HILLSIDE        NJ   07205‐1605
MOSLEY, ROZELL           3693 BENDEMEER RD                                                                        CLEVELAND HTS   OH   44118‐1955
MOSLEY, RUBY L           805 OLD STATE HIGHWAY 8                                                                  DUNLAP          TN   37327‐3314
MOSLEY, RUSSELL          609 ANDREW RUCKER LN                                                                     NASHVILLE       TN   37211‐7323
MOSLEY, RUTH             17000 CHAMPAIGN APT. 3                                                                   ALLEN PARK      MI   48101‐1758
MOSLEY, SALLIE M         800 E COURT ST APT 226                                                                   FLINT           MI   48503‐6212
MOSLEY, SALLIE M         800 EAST COURT ST                APT 226                                                 FLINT           MI   48503‐6212
MOSLEY, SAMUEL C         9222 ARBOR TRAIL DR                                                                      DALLAS          TX   75243‐6369
MOSLEY, SAMUEL M         PO BOX 463                                                                               GREENWOOD       LA   71033‐0463
MOSLEY, SAMUEL MURRAY    PO BOX 463                                                                               GREENWOOD       LA   71033‐0463
MOSLEY, SHERMAN C        442 HARRIET ST                                                                           DAYTON          OH   45408‐2024
MOSLEY, SIDNEY H         723 W SHIAWASSEE ST APT 5                                                                LANSING         MI   48915‐1866
MOSLEY, SUSAN K          5 LASSY RD                                                                               TERRYVILLE      CT   06786‐4200
MOSLEY, TERRANCE A       10052 GREEN VALLEY DR                                                                    SAINT LOUIS     MO   63136‐4219
MOSLEY, TERRELL          2015 S DEXTER ST                                                                         FLINT           MI   48503‐4523
MOSLEY, TERRELL          2015 S. DEXTER ST.                                                                       FLINT           MI   48503‐4523
MOSLEY, THERESA E        6186 STONEGATE PKWY                                                                      FLINT           MI   48532‐2148
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Name                      Address1                        Address2                      Address3   Address4         City            State Zip
MOSLEY, TIERRE J          2362 EAGLE RIDGE DR                                                                       DAYTON           OH 45459
MOSLEY, TILLMAN           322 ADELITE AVE                                                                           DAYTON           OH 45408‐1206
MOSLEY, TILLMAN           PO BOX 4202                                                                               DAYTON           OH 45401‐5401
MOSLEY, TOMMY L           2836 MILLER RD                                                                            FLINT            MI 48503‐4618
MOSLEY, TOMMY LEE         3518 HERRICK ST                                                                           FLINT            MI 48503‐6618
MOSLEY, TONI J            5720 S LAKESHORE DR APT 1502                                                              SHREVEPORT       LA 71119
MOSLEY, TONY J            5550 CARY DR                                                                              YPSILANTI        MI 48197‐8155
MOSLEY, TONY L            1101 W CHICKASHA AVE                                                                      CHICKASHA        OK 73018‐2211
MOSLEY, TYRONE            PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON          MS 39206‐5621
MOSLEY, VALERIE           165 AMHERST MOBILE HOMES                                                                  AMHERST          OH 44001
MOSLEY, VIRGINIA M        41360 FOX RUN ROAD              T10                                                       NOVI             MI 48377
MOSLEY, WALTER L          9662 S.TOW RD R 1                                                                         FENWICK          MI 48834
MOSLEY, WILLIAM D         690 STEVENS ST                                                                            ROGERSVILLE      TN 37857‐3435
MOSLEY, WILLIAM E         1711 W 85TH ST                                                                            CHICAGO           IL 60620‐4738
MOSLEY, WILLIAM H         6723 SUNNYHILL RD                                                                         JOSHUA TREE      CA 92252‐2206
MOSLEY, WILLIAM T         3940 SINGLE TREE CIR                                                                      DRYDEN           MI 48428‐9809
MOSLEY, WILLIE C          3230 INDIAN SHOALS RD                                                                     DACULA           GA 30019‐1828
MOSLEY, WILLIE J          3510 PROVIDENCE ST                                                                        FLINT            MI 48503‐4547
MOSLEY, WILLIE JO         794 MENOMINEE RD                                                                          PONTIAC          MI 48341‐1547
MOSLEY, WILMA D           1825 BRUCE LN                                                                             ANDERSON         IN 46012‐1907
MOSLEY, X N               3204 BARNWOOD AVE APT B                                                                   BOWLING GREEN    KY 42104‐4824
MOSLEY, X NATHANIAL       3204 BARNWOOD AVE APT B                                                                   BOWLING GREEN    KY 42104‐4824
MOSLEY‐DEVRIES, ALICE M   11745 N CITRUS AVE                                                                        CRYSTAL RIVER    FL 34428
MOSLEY‐EADY, DEBORAH A    2121 WELCH BLVD                                                                           FLINT            MI 48504‐2911
MOSMILLER GEORGE J        400 HARBOUR DR                                                                            OCEAN CITY       MD 21842‐4600
MOSMILLER, PAUL G         1705 GLEN CURTIS RD                                                                       BALTIMORE        MD 21221‐2112
MOSNY DENISE              MONSY, DENISE                   12 HARDING STREET SUITE 110                               LAKEVILLE        MA 02347
MOSOLGO JR, GEORGE        19 WESTWIND DR                                                                            CROSSVILLE       TN 38555‐1480
MOSONY, PAULINE F         3725 SUNBIRD CIRCLE                                                                       SEBRING          FL 33872‐1438
MOSQUEDA JR, JOSE         3285 MYSYLVIA DR                                                                          SAGINAW          MI 48601‐6932
MOSQUEDA, BENJAMIN D      171 SPRING HOUSE LN                                                                       TROY             MO 63379‐5791
MOSQUEDA, CAROL E         16568 EDERER RD                                                                           HEMLOCK          MI 48626‐8744
MOSQUEDA, CAROL E         16568 EDERER ROAD                                                                         HEMLOCK          MI 48626‐8744
MOSQUEDA, FRANK           1330 N MICHIGAN ST                                                                        TOLEDO           OH 43604‐2052
MOSQUEDA, GLORIA          2730 ELMWOOD                                                                              SAGINAW          MI 48601‐7407
MOSQUEDA, GLORIA          2730 ELMWOOD AVE                                                                          SAGINAW          MI 48601‐7407
MOSQUEDA, IRENE           607 S BOND ST                                                                             SAGINAW          MI 48602‐2220
MOSQUEDA, IRENE           607 SOUTH BOND ST                                                                         SAGINAW          MI 48602
MOSQUEDA, JOE E           6037 TETHERWOOD DR                                                                        TOLEDO           OH 43613‐1617
MOSQUEDA, JOE ESPINOZA    6037 TETHERWOOD DR                                                                        TOLEDO           OH 43613‐1617
MOSQUEDA, JOSE L          8162 W ARTHUR RD                                                                          NEW ERA          MI 49446‐8207
MOSQUEDA, MANUEL          4153 OAK AVE                                                                              BROOKFIELD        IL 60513‐2001
MOSQUEDA, PETER E         3105 S BYRNE RD                                                                           TOLEDO           OH 43614‐5327
MOSQUEDA, RAMON           3925 STUDOR RD                                                                            SAGINAW          MI 48601‐5746
MOSQUEDA, ROBERT          1141 CURWOOD RD                                                                           SAGINAW          MI 48609‐5225
MOSQUEDA, ROBERT L        611 POINTE DR                                                                             OXFORD           MI 48371‐4451
MOSQUEDA, ROSA E          5811 N 63RD DR                                                                            GLENDALE         AZ 85301
MOSQUEDA, RUDY            9825 S. M‐52                                                                              SAINT CHARLES    MI 48655
MOSQUEDA, RUPERTO         206 S 12TH ST                                                                             SAGINAW          MI 48601‐1825
MOSQUEDA, SAM F           99 LA PAZ                                                                                 CAMPBELL         CA 95008‐4204
MOSS ADAMS LLP            11231 GOLD EXPRESS DR STE 103                                                             GOLD RIVER       CA 95670‐6321
MOSS ADAMS LLP            509 W. WEBER AVE                SUITE 300                                                 STOCKTON         CA 95203
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Name                                 Address1                            Address2                           Address3   Address4         City                 State Zip
MOSS ALLAN JULIAN (481913)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK               VA 23510
                                                                         STREET, SUITE 600
MOSS AND ASSOCIATES PC               93 COCHRANE AVENUE SUITE ONE WEST                                                                  HASTINGS ON HUDSON   NY 10706

MOSS ANTHONY                         MOSS, ANTHONY                       629 E. 35TH ST                                                 SAVANNAH             GA   31401‐8262
MOSS AUTOMOTIVE                      11490 MAXWELL RD                                                                                   ALPHARETTA           GA   30009‐4707
MOSS BERNARD HAL                     3685 NORTH 625 WEST                                                                                WAYNETOWN            IN   47990‐8137
MOSS BILL                            MOSS, BILL                          4611 S. BEACH STREET                                           PINE BLUFF           AR   71603‐7324
MOSS BRANDI                          5306 OSO HILLS DR                                                                                  CORPUS CHRISTI       TX   78413‐6139
MOSS CANTON                          65558 WOLCOTT RD                                                                                   RAY                  MI   48096‐1813
MOSS DONALD L (460072)               KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                  CLEVELAND            OH   44114
                                                                         BOND COURT BUILDING
MOSS DOUGLAS                         KEMPER AUTO & HOME INSURANCE        1 CORPORATE DR                                                 SHELTON              CT   06484‐6207
                                     COMPANY
MOSS ELECTRICAL CO INC               8901 E COUNTY ROAD 350 N                                                                           MUNCIE               IN   47303‐9257
MOSS FOUST JR                        368 SHARP LN                                                                                       LA FOLLETTE          TN   37766‐5922
MOSS GERALD E (ESTATE OF) (667472)   THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                           BOSTON               MA   02110‐2104
MOSS HELEN                           1548 HARDING AVE                                                                                   GIRARD               OH   44420‐1512
MOSS HOWARD                          MOSS, HOWARD                        24 S MACQUESTEN PKWY                                           MT VERNON            NY   10550‐1704
MOSS II, GLENN R                     1047 HIGHWAY 22                                                                                    NICHOLS              IA   52766‐9718
MOSS II, MILTON E                    N108W15763 HUDSON DR                                                                               GERMANTOWN           WI   53022‐4221
MOSS III, JESSE B                    5220 W WILSON RD                                                                                   CLIO                 MI   48420‐9450
MOSS III, LAWRENCE                   1219 RAMSGATE RD APT 6                                                                             FLINT                MI   48532‐3157
MOSS INC                             248 NORTHPORT AVE                                                                                  BELFAST              ME   04915‐6013
MOSS JAMES F (483195)                ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                       WILMINGTON           DE   19801‐1813
MOSS JR, ANDRE                       4101 MELGROVE AVENUE                                                                               DAYTON               OH   45416‐1410
MOSS JR, CHARLIE                     148 WILLES RD                                                                                      STERLINGTON          LA   71280‐2842
MOSS JR, DALLAS E                    5872 CHAPMAN RD                                                                                    NORTH BRANCH         MI   48461‐9738
MOSS JR, DALLAS EDMOND               5872 CHAPMAN RD                                                                                    NORTH BRANCH         MI   48461‐9738
MOSS JR, JAMES H                     358 PILGRIM ST                                                                                     HIGHLAND PARK        MI   48203‐2724
MOSS JR, JOHN                        6960 AUTREY AVE S                                                                                  JACKSONVILLE         FL   32210‐4888
MOSS JR, MILTON A                    1185 HOLTON WHITEHALL RD                                                                           WHITEHALL            MI   49461‐9143
MOSS JUANITA                         MOSS, JUANITA                       UNKNOWN
MOSS JUDY                            MOSS, JUDY                          2529 MANCHESTER DR                                             BRYAN                TX   77802‐4840
MOSS KIMBERLEY                       85 CHESTNUT ST                                                                                     WESTON               MA   02493‐1504
MOSS L FOUST JR                      368 SHARP LANE                                                                                     LAFOLLETTE           TN   37766‐5922
MOSS LEONARD                         MOSS, LEONARD                       WOODLAND FALLS CORPORATE                                       CHERRY HILL          NJ   08002
                                                                         CENTER 210 LAKE SHORE DRIVE EAST
                                                                         SUITE 101
MOSS LINDA                           205 CROWN POINT CIR                                                                                PEARL                MS 39208‐7033
MOSS LOUIS (446516)                  BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD           OH 44067
                                                                         PROFESSIONAL BLDG
MOSS LOYD A (426035)                 SIMMONS LAW FIRM
MOSS MELISSA                         1 OUR LANE PLACE                                                                                   HOUSTON              TX   77024‐2642
MOSS MOTOR CO., INC.                 1000 S CEDAR AVE                                                                                   SOUTH PITTSBURG      TN   37380‐1416
MOSS PAUL (633047) ‐ MOSS PAUL       CALWELL STUART LAW OFFICES OF       PO BOX 113                                                     CHARLESTON           WV   25321
MOSS PHILIP S (643080)               GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                     EDWARDSVILLE         IL   62025‐0959
                                     ANTOGNOLI
MOSS ROBERT E                        DBA BOB MOSS ASSOCIATES             1133 CONNECTICUT AVE NW STE 5                                  WASHINGTON           DC 20036‐4332

MOSS ROBERT G                        PO BOX 271                                                                                         OOLITIC              IN   47451‐3046
MOSS ROBERT PC                       2636 S PLAYA                                                                                       MESA                 AZ   85202‐7225
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Name                               Address1                           Address2                           Address3   Address4         City               State Zip
MOSS ROBERTSON CADILLAC            2355 BROWNS BRIDGE RD                                                                             GAINESVILLE         GA 30504‐6054
MOSS RONDAL RAYON (429511)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510
                                                                      STREET, SUITE 600
MOSS RUDY L (476915)               KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                  CLEVELAND          OH 44114
                                                                      BOND COURT BUILDING
MOSS SAMUEL O & VERA M             2887 HEWITT GIFFORD RD SW                                                                         WARREN             OH 44481‐9112
MOSS SHIRLEY ELLEN (429512)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                      STREET, SUITE 600
MOSS SOLOMON J (494031)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                      STREET, SUITE 600
MOSS STUART (ESTATE OF) (655710)   WEITZ & LUXENBERG                  180 MAIDEN LANE                                                NEW YORK           NY   10038
MOSS, AGNES                        5 HIGHLAND DR                                                                                     BLOOMFIELD HILLS   MI   48302‐0355
MOSS, ALAN B                       130 MILL STONE DR                                                                                 GUILFORD           CT   06437‐1051
MOSS, ALAN R                       PO BOX 585                                                                                        SHELL KNOB         MO   65747‐0585
MOSS, ALFRED E                     1360 E 450 N                                                                                      MARION             IN   46952‐9038
MOSS, ALLAN J                      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                                      STREET, SUITE 600
MOSS, ALMA A                       1587 STIRLING LAKES DR                                                                            PONTIAC            MI   48340‐1369
MOSS, ALVIN                        248 BOOTH DR                                                                                      BELOIT             WI   53511‐6106
MOSS, AMANDA N                     14977 ALMA DR                                                                                     STERLING HEIGHTS   MI   48313‐3613
MOSS, AMANDA NICOLE                14977 ALMA DR                                                                                     STERLING HEIGHTS   MI   48313‐3613
MOSS, ANDREW E                     1124 SW 133RD ST                                                                                  OKLAHOMA CITY      OK   73170‐6962
MOSS, ANITA L                      3330 LIBERTY ELLERTON RD                                                                          DAYTON             OH   45418‐1350
MOSS, ANNIE N                      1343 ELMHURST CIR SE                                                                              ATLANTA            GA   30316‐2727
MOSS, ANTHONY                      629 E 35TH ST                                                                                     SAVANNAH           GA   31401‐8262
MOSS, ANTHONY                      629 E. 35TH ST                                                                                    SAVANNAH           GA   31401‐8262
MOSS, ANTONIO L                    1180 S 300 E                                                                                      ANDERSON           IN   46017‐1906
MOSS, ARNOLD L                     856 WHITNEY CIR                                                                                   HERCULANEUM        MO   63048‐1539
MOSS, ARTHUR M                     1451 E BROWN RD                                                                                   MESA               AZ   85203‐5025
MOSS, AUDREY K                     116 ELIZABETH ST                                                                                  FRANKFORT          KY   40601
MOSS, BARBARA J                    3336 MERRILL AVE                                                                                  ROYAL OAK          MI   48073‐6815
MOSS, BERNARD H                    3685 NORTH 625 WEST                                                                               WAYNETOWN          IN   47990‐8137
MOSS, BERNARD HAL                  3685 NORTH 625 WEST                                                                               WAYNETOWN          IN   47990‐8137
MOSS, BERNARD P                    7059 MARYMOUNT WAY                                                                                GOLETA             CA   93117‐2986
MOSS, BERNICE L                    3010 KELLAR AVE                                                                                   FLINT              MI   48504‐3815
MOSS, BETH A                       DAVIS DAVIS & LANGAN               9000 KEYSTONE CROSSING , STE 900                               INDIANAPOLIS       IN   46240

MOSS, BETTY J                      10420 E POTTER RD                                                                                 DAVISON            MI   48423‐8164
MOSS, BETTY J                      63 LINDER DR                                                                                      HOMOSASSA          FL   34446‐3969
MOSS, BETTY J                      128 MONTCLAIR AVE                                                                                 BUFFALO            NY   14215‐2126
MOSS, BETTY R                      8923 BONTURA RD                                                                                   GRANBURY           TX   76049‐4310
MOSS, BILL                         4611 S BEECH ST                                                                                   PINE BLUFF         AR   71603‐7324
MOSS, BILLY R                      151 2ND ST N                                                                                      PELL CITY          AL   35125‐2411
MOSS, BOBBY RAY                    304 W CREEKVIEW DR                                                                                HAMPSTEAD          NC   28443‐2138
MOSS, BONNIE L                     20177 MC INTYRE                                                                                   DETROIT            MI   48219‐1220
MOSS, BRUCE                        19645 ALLISONVILLE RD                                                                             NOBLESVILLE        IN   46060
MOSS, BRUCE R                      1121 EAGLE NEST DR                                                                                ROCHESTER          MI   48306‐1215
MOSS, BRUCE S                      501 VERNON RD                                                                                     CLINTON            MS   39056‐3351
MOSS, CARA B                       573 MARGRAVE DR                                                                                   HARRIMAN           TN   37748‐2118
MOSS, CARL                         518 BLOOMFIELD AVE                                                                                PONTIAC            MI   48341‐2806
MOSS, CARL E                       152 BAILEY ST                                                                                     KALAMAZOO          MI   49048‐9566
MOSS, CARL L                       22632 VIOLET ST                                                                                   ST CLAIR SHRS      MI   48082‐2750
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Name                     Address1                           Address2                       Address3   Address4         City                State Zip
MOSS, CAROL P            29 PONDEROSA TR. S.                                                                           BELLEVILLE           MI 48111‐5398
MOSS, CAROLYN N          18090 WASHBURN ST                                                                             DETROIT              MI 48221‐2443
MOSS, CAROLYN S          11637 ROSE TREE DR                                                                            NEW PORT RICHEY      FL 34654
MOSS, CATHY ANN          17626 SECOND BOX 492                                                                          HARLAN               IN 46743
MOSS, CATRINA MARIE      18434 WINSTON STREET                                                                          DETROIT              MI 48219‐3051
MOSS, CHARLES B          45358 WHITE PINES DR                                                                          NOVI                 MI 48375‐3866
MOSS, CHARLES BRENT      45358 WHITE PINES DR                                                                          NOVI                 MI 48375‐3866
MOSS, CHARLES E          2755 ONAGON TRL                                                                               WATERFORD            MI 48328‐3140
MOSS, CHARLES F          36110 SANDY KNOLL DR                                                                          EASTLAKE             OH 44095‐5413
MOSS, CHARLES H          42 PECKHAM ST                                                                                 BUFFALO              NY 14206‐1530
MOSS, CHARLES L          135 PLANTATION DR                                                                             STOCKBRIDGE          GA 30281
MOSS, CHARLES T          6820 ARCANUM BEARS MILL                                                                       GREENVILLE           OH 45331‐9274
MOSS, CHARLES W          5234 ALVA N.W.                                                                                WARREN               OH 44483‐1212
MOSS, CHARLES W          5234 ALVA AVE NW                                                                              WARREN               OH 44483‐1212
MOSS, CHARLES W          1670 WINDY PINES DR APT 2                                                                     NAPLES               FL 34112‐7586
MOSS, CLARENCE           PO BOX 196                         17605 S SHARON RD                                          OAKLEY               MI 48649‐0196
MOSS, CLARENCE B         18090 WASHBURN ST                                                                             DETROIT              MI 48221‐2443
MOSS, CLAUDIA M          480 GLIDE ST                                                                                  ROCHESTER            NY 14606‐1342
MOSS, CLEVELAND A        PO BOX 28480                                                                                  DETROIT              MI 48228‐0480
MOSS, CONNIE J           1700 E ALTO RD                                                                                KOKOMO               IN 46902‐4461
MOSS, CORY D
MOSS, CYNTHIA V          3261 SUTHERLAND AVE                                                                           INDIANAPOLIS        IN   46205‐4603
MOSS, DANIEL M           1750 STEINER RD                                                                               MONROE              MI   48162‐9415
MOSS, DANIEL R           2978 WARREN BURTON RD                                                                         SOUTHINGTON         OH   44470‐9501
MOSS, DANNY G            13910 S SHERIDAN RD                                                                           MONTROSE            MI   48457‐9391
MOSS, DARRYL R           430 E WARREN AVE APT 419                                                                      DETROIT             MI   48201‐1480
MOSS, DAVID E            2001 E SOUTHWAY BLVD                                                                          KOKOMO              IN   46902‐4564
MOSS, DE LILLIAN S       2714 W JUDSON RD                                                                              KOKOMO              IN   46901
MOSS, DECONDIA E         3311 E CANFIELD ST                                                                            DETROIT             MI   48207‐1510
MOSS, DELILLIAN S        2714 JUDSON RD                                                                                KOKOMO              IN   46901‐1764
MOSS, DEMETRIUS RASHAD   5721 SUBURBAN CT                                                                              FLINT               MI   48505‐2645
MOSS, DENISE C           3805 DUDDINGTON WAY                                                                           PHOENIX             MD   21131‐1904
MOSS, DERRICK Q          1300 CANFIELD AVENUE                                                                          DAYTON              OH   45406‐4309
MOSS, DILLARD H          506 HILL ST                                                                                   TIPTON              IN   46072‐1115
MOSS, DONALD L           273 PATTERSON RD                                                                              LAWRENCEVILLE       GA   30044‐4657
MOSS, DONALD L           KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND           OH   44114
                                                            BOND COURT BUILDING
MOSS, DOREEN M           3143 HIDDEN RIDGE DR                                                                          WATERFORD           MI   48328‐2581
MOSS, DORIA L            825 MULHOLLEN DR                                                                              MONROE              MI   48161‐1839
MOSS, DORIS J            PO BOX 602                                                                                    HOMOSASSA SPRINGS   FL   34447‐0602
MOSS, DOROTHY M          1170 PATCHEN AVE SE                                                                           WARREN              OH   44484‐2724
MOSS, DOROTHY M          1170 PATCHEN SE                                                                               WARREN              OH   44484‐2724
MOSS, DOUGLAS
MOSS, E A                14215 SYLVIA AVE 314457                                                                       CLEVELAND           OH   44110
MOSS, EDGAR              14814 STONEHEDGE LN                                                                           WESTMINSTER         CA   92683‐5921
MOSS, EDWARD             1301 LAKEFRONT AVE                                                                            CLEVELAND           OH   44108‐2559
MOSS, EDWARD D           PO BOX 268                                                                                    BLOOMFIELD HILLS    MI   48303‐0268
MOSS, EDWARD D           1950 BLUE STONE LN                                                                            COMMERCE TWP        MI   48390‐4307
MOSS, ELDRID             PO BOX 566                                                                                    FITZGERALD          GA   31750‐0566
MOSS, ELIZABETH          420 S OPDYKE RD APT 36A                                                                       PONTIAC             MI   48341‐3109
MOSS, ELIZABETH          420 SOUTH OPDYKE ROAD              APT 36A                                                    PONTIAC             MI   48341‐3101
MOSS, ESTHER             247 N MAPLELEAF RD RTE 6                                                                      LAPEER              MI   48446‐8003
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Name                 Address1                        Address2                         Address3   Address4         City               State Zip
MOSS, FANNIE R       5809 OLD GORDON RD                                                                           MABLETON            GA 30126‐3415
MOSS, FLORA E        APT 207                         679 EAST MICHIGAN AVENUE                                     FOLEY               AL 36535‐3100
MOSS, FLORENCE M     4046 INDIGO RIDGE DR                                                                         NORTH CHARLESTON    SC 29420‐8214
MOSS, FLORINE        19064 MIDWAY                                                                                 SOUTHFIELD          MI 48075‐4161
MOSS, FLORINE        19064 MIDWAY RD                                                                              SOUTHFIELD          MI 48075‐4161
MOSS, FRANCES        3269 CLUBSIDE VIEW COURT                                                                     SNELLVILLE          GA 30039
MOSS, FRANCES R      29208 GLOEDE ST.                                                                             WARREN              MI 48088‐4047
MOSS, FRANKLIN D     540 TUNNEL FORK                                                                              GASSAWAY            WV 26624
MOSS, GARY R         68 PEARL ST                                                                                  OXFORD              MI 48371‐4963
MOSS, GENE A         29 PONDEROSA TRL S                                                                           BELLEVILLE          MI 48111‐5398
MOSS, GEORGE B       428 FOX HILLS DR S APT 2                                                                     BLOOMFIELD HILLS    MI 48304‐1314
MOSS, GEORGE B       428 S FOXHILLS DR               APT 2                                                        BLOOMFIELD HILLS    MI 48304
MOSS, GEORGE H       1518 BRYNWOOD DR                                                                             MADISON             WI 53716‐1812
MOSS, GERALD E       THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                         BOSTON              MA 02110‐2104
MOSS, GLORIA L       3741 W 121ST ST                                                                              ALSIP                IL 60803‐1209
MOSS, GLORIA L       9148 AVONDALE DR                                                                             MECHANICSVILLE      VA 23116‐4125
MOSS, GREGORY        26770 ISLEWORTH PT                                                                           SOUTHFIELD          MI 48034‐5671
MOSS, H G            1806 PLAZA DR APT 33                                                                         ELWOOD              IN 46036‐3245
MOSS, HARLEN L       19268 NE 50TH ST                                                                             HARRAH              OK 73045‐8735
MOSS, HARRY E        2001 EAST SOUTHWAY BOULEVARD                                                                 KOKOMO              IN 46902‐4564
MOSS, HARRY V        3006 EAST LAFAYETTE STREET                                                                   DETROIT             MI 48207‐3898
MOSS, HEATHER M      22600 MIDDLEBELT RD APT F25                                                                  FARMINGTON HILLS    MI 48336
MOSS, HELEN H        1548 HARDING AVE.                                                                            GIRARD              OH 44420‐1512
MOSS, HENRY J        214 LOON LANE                                                                                ST HELEN            MI 48656‐9477
MOSS, HENRY J        214 LOON LN                                                                                  SAINT HELEN         MI 48656‐9477
MOSS, HENRY S        3123 KEMP DR                                                                                 NORMANDY            MO 63121‐5311
MOSS, HERMAN         5544 HILLSBORO ST                                                                            DETROIT             MI 48204‐2938
MOSS, HOMER R        1807 CRESTVIEW DR                                                                            KILLEEN             TX 76549‐1123
MOSS, HOWARD         341 MADISON AVENUE 16TH FLOOR                                                                NEW YORK            NY 10017
MOSS, HOWARD R       RR 3 BOX 38J                                                                                 PHILIPPI            WV 26416‐9525
MOSS, J C            3615 WESTBROOK DR SE                                                                         SMYRNA              GA 30082‐3485
MOSS, JACALYN K      45810 E 126TH ST                                                                             RICHMOND            MO 64085‐8476
MOSS, JACOB          334 LIBERTY ST                                                                               SHARON              PA 16146‐2021
MOSS, JACQUELYN H    6552 BIG STONE DR                                                                            JACKSONVILLE        FL 32244‐6846
MOSS, JAMEIKA        5063 ERWIN ST                                                                                MAPLE HEIGHTS       OH 44137‐1523
MOSS, JAMES          PO BOX 213                                                                                   FITZGERALD          GA 31750‐0213
MOSS, JAMES          KROGER GARDIS & REGAS LLP       111 MONUMENT CIR STE 900                                     INDIANAPOLIS        IN 46204
MOSS, JAMES          GIRARDI AND KEESE               1126 WILSHIRE BLVD                                           LOS ANGELES         CA 90017
MOSS, JAMES          ENGSTROM LIPSCOMB & LACK        10100 SANTA MONICA BOULEVARD ,                               LOS ANGELES         CA 90067‐4107
                                                     16TH FLOOR
MOSS, JAMES E        621 GRANDIN AVE                                                                              CINCINNATI         OH   45240‐2605
MOSS, JAMES H        1756 ORCHARD RD                                                                              CALERA             OK   74730‐5103
MOSS, JAMES M        1729 WABASH AVE                 W210                                                         ROCHESTER          IN   46975
MOSS, JAMES R        7133 W ARLINGTON WAY                                                                         LITTLETON          CO   80123‐0882
MOSS, JANICE A       PO BOX 326                                                                                   GRAND MARAIS       MI   49839‐0326
MOSS, JANICE F       5707 LILY LN                                                                                 DAYTON             OH   45414‐3001
MOSS, JANICE F       5707 LILY LANE                                                                               DAYTON             OH   45414‐3001
MOSS, JEANETTE D     77 S 1250 E                                                                                  GREENTOWN          IN   46936‐9589
MOSS, JEANNETTE      2521 E 5TH ST                                                                                ANDERSON           IN   46012‐3708
MOSS, JEFFREY L      1227 E 28TH ST                                                                               ANDERSON           IN   46016‐5524
MOSS, JEFFREY LEON   1227 E 28TH ST                                                                               ANDERSON           IN   46016‐5524
MOSS, JERON D        714 PALMER DR                                                                                PONTIAC            MI   48342‐1857
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Name                      Address1                            Address2                       Address3                    Address4         City                  State Zip
MOSS, JERON DOUGLAS       714 PALMER DR                                                                                                   PONTIAC                MI 48342‐1857
MOSS, JERRY L             63 LINDER DR                                                                                                    HOMOSASSA              FL 34446‐3969
MOSS, JERRY W             1515 KNAPP AVE                                                                                                  FLINT                  MI 48503‐3239
MOSS, JERRY WAYNE         1515 KNAPP AVE                                                                                                  FLINT                  MI 48503‐3239
MOSS, JILL E              422 BEECH ST                                                                                                    LANSING                MI 48912‐1102
MOSS, JILL ELIZABETH      422 BEECH ST                                                                                                    LANSING                MI 48912‐1102
MOSS, JIMMY               3101 AVON DR                                                                                                    ARLINGTON              TX 76015‐2002
MOSS, JODY LYNN           250 N CHOCOLAY AVE                                                                                              CLAWSON                MI 48017‐1374
MOSS, JOHN E              3116 EAST CRAFT COURT                                                                                           FORT WORTH             TX 76105
MOSS, JOHN E              12423 SOUTH 100 EAST                                                                                            KOKOMO                 IN 46901‐7548
MOSS, JOHN F              32549 WOLF HOLW                                                                                                 EXCELSIOR SPRINGS      MO 64024‐5336
MOSS, JOHN R              2209 COUNTY LINE RD                                                                                             BATES CITY             MO 64011‐8185
MOSS, JOHN T              RR 1 BOX 170                                                                                                    DURHAM                 CT 06422
MOSS, JOHN W              277 MICHIGAN AVE                                                                                                PONTIAC                MI 48342‐2535
MOSS, JOHN W              329 WASHINGTON AVE                                                                                              NEWTON FALLS           OH 44444‐9750
MOSS, JOHN W              2314 ALMON WAY SW                                                                                               DECATUR                AL 35603
MOSS, JON A               15427 GRAINGER DR                                                                                               CLINTON TWP            MI 48038‐2635
MOSS, JUDY                227 GRACEY AVE                                                                                                  MERIDEN                CT 06451‐2202
MOSS, JUDY                2529 MANCHESTER DR                                                                                              BRYAN                  TX 77802‐4840
MOSS, JUDY A              6181 W FRANCES RD                                                                                               CLIO                   MI 48420‐8548
MOSS, JULIANA             2919 BURKE ST APT 3                                                                                             KALAMAZOO              MI 49001‐3790
MOSS, KENNETH E           10420 E POTTER RD                                                                                               DAVISON                MI 48423‐8164
MOSS, KENNETH E           2417 HIGHFIELD RD                                                                                               WATERFORD              MI 48329‐3942
MOSS, KENNETH H           150 BELLAIRE AVE APT #002                                                                                       DAYTON                 OH 45420‐5420
MOSS, KENNETH HENDERSON   150 BELLAIRE AVE APT 2                                                                                          DAYTON                 OH 45420‐1755
MOSS, KENNETH J           943 BUCYRUS RD                                                                                                  GALION                 OH 44833‐1507
MOSS, KENNETH W           11060 N JENNINGS RD                                                                                             CLIO                   MI 48420‐1571
MOSS, KEVIN T             502 S 6TH ST                                                                                                    SAINT CLAIR            MI 48079‐5028
MOSS, KIEYA S             815 S ISABELLA ST                                                                                               SPRINGFIELD            OH 45506‐1843
MOSS, KRISTINE M          41 ASTON VILLA                                                                                                  NORTH CHILI            NY 14514
MOSS, L'NETTA D           28936 OAKMONT DR                                                                                                CHESTERFIELD           MI 48051‐3658
MOSS, LADELL              18490 OHIO ST                                                                                                   DETROIT                MI 48221‐2056
MOSS, LARRY               9250 BRAILE ST                                                                                                  DETROIT                MI 48228‐1606
MOSS, LARRY D             2127 CLAY ST                                                                                                    N KANSAS CITY          MO 64116‐3415
MOSS, LARRY D
MOSS, LARRY H             4070 STILLWELL RD                                                                                               HAMILTON              OH    45013‐9173
MOSS, LARRY H             16024 GLYNN RD                                                                                                  E CLEVELAND           OH    44112‐3535
MOSS, LARRY J             2216 ASHBOURNE RD                                                                                               ANDERSON              IN    46011‐2600
MOSS, LAURA L             40 NARCISSA DR                                                                                                  RANCHO PALOS VERDES   CA    90275
MOSS, LEONARD             WILLIAMS CUKER BEREZOFSKY           WOODLAND FALLS CORPORATE       210 LAKE SHORE DRIVE EAST                    CHERRY HILL           NJ    08002‐1163
                                                              CENTER                         SUITE 101
MOSS, LEONARD O           14693 REID RD                                                                                                   ATHENS                 AL   35611‐7313
MOSS, LESLIE              C/O G PATTERSON KEAHEY PC           ONE INDEPENDENCE PLAZA SUITE                                                BIRMINGHAM             AL   35209
                                                              612
MOSS, LINDA R             3703 S DEACON ST                                                                                                DETROIT               MI    48217‐1529
MOSS, LINDA R             506 HILL ST                                                                                                     TIPTON                IN    46072‐1115
MOSS, LOIS A              2755 ONAGON TRL                                                                                                 WATERFORD             MI    48328‐3140
MOSS, LORA L              61 TREEHAVEN RD                                                                                                 BUFFALO               NY    14215‐1318
MOSS, LORENZA             16002 WESTVIEW AVE                                                                                              CLEVELAND             OH    44128‐2132
MOSS, LORENZO M
MOSS, LOUISE              2185 SOUTH BLVD                     APT # 212                                                                   AUBOURN HILL          MI 48326
MOSS, LOUISE              15471 PREVOST ST                                                                                                DETROIT               MI 48227
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Name                 Address1                          Address2                         Address3   Address4         City            State Zip
MOSS, LOUISE         2185 SOUTH BLVD APT 212                                                                        AUBURN HILLS     MI 48326‐3473
MOSS, LOUNETTA       252 N SHORE DR                    P.O. BOX 994                                                 LIMA             OH 45801‐4823
MOSS, LOYD A         SIMMONS LAW FIRM                  PO BOX 521                                                   EAST ALTON        IL 62024‐0519
MOSS, LUCIAN M       710 HARBOR BAY DR                                                                              LAWRENCEVILLE    GA 30045‐6595
MOSS, LUCIAN M.      710 HARBOR BAY DRIVE                                                                           LAWRENCEVILLE    GA 30045‐6595
MOSS, MANUEL H       5761 LAKEVIEW ST                                                                               DETROIT          MI 48213‐3615
MOSS, MARILYN J      6878 DUBLIN FAIR RD                                                                            TROY             MI 48098‐2155
MOSS, MARK W         6181 W FRANCES RD                                                                              CLIO             MI 48420‐8548
MOSS, MARK WILSON    6181 W FRANCES RD                                                                              CLIO             MI 48420‐8548
MOSS, MARLAINA       1604 AURELIUS RD APT 2                                                                         HOLT             MI 48842‐1947
MOSS, MARTHA A       112 NE BEECH ST                                                                                PORTLAND         OR 97212‐2004
MOSS, MARTHA ANITA   50 NE STAFFORD ST                                                                              PORTLAND         OR 97211‐2242
MOSS, MARTINA        228 BROOKLYN AVE                                                                               DAYTON           OH 45417
MOSS, MARVIN F       128 MONTCLAIR AVE                                                                              BUFFALO          NY 14215‐2126
MOSS, MARY E         210 COLLEGE ST                                                                                 GLENVILLE        WV 26351‐1112
MOSS, MARY J         2021 COASTAL DR                                                                                PRINCETON        LA 71067‐9338
MOSS, MARY K         39288 COMMONS DR                                                                               ROMULUS          MI 48174‐5314
MOSS, MARY L         19709 FENELON ST                                                                               DETROIT          MI 48234‐2281
MOSS, MARY L         6960 AUTREY AVE S                                                                              JACKSONVILLE     FL 32210‐4888
MOSS, MATTIE J       3309 WARD DR SW                                                                                ATLANTA          GA 30354‐2626
MOSS, MERVIN         1004 MALIBU DR                                                                                 ANDERSON         IN 46016‐2770
MOSS, MILES
MOSS, MORGAN         1863 ROSS LN                                                                                   BOYD            TX   76023‐5454
MOSS, NANCY D        PO BOX 489                                                                                     GALVESTON       IN   46932‐0489
MOSS, NORINE P       211 LYNN ST                                                                                    MIO             MI   48647‐9327
MOSS, NORMAN C       4351 CURUNDU AVE.                                                                              DAYTON          OH   45416‐1304
MOSS, ODELL          2142 HIGHWAY 151 S                                                                             CALHOUN         LA   71225‐9045
MOSS, OLGA           1960 CORMORANT DR                                                                              PALM HARBOR     FL   34683‐5015
MOSS, PAMELA R       18890 BLOOM ST                                                                                 DETROIT         MI   48234‐2427
MOSS, PATRICIA       PO BOX 532265                                                                                  LIVONIA         MI   48153‐2265
MOSS, PATRICIA       KROGER GARDIS & REGAS LLP         111 MONUMENT CIR STE 900                                     INDIANAPOLIS    IN   46204
MOSS, PATRICIA       ENGSTROM LIPSCOMB & LACK          10100 SANTA MONICA BOULEVARD ,                               LOS ANGELES     CA   90067‐4107
                                                       16TH FLOOR
MOSS, PATRICIA       GIRARDI AND KEESE                 1126 WILSHIRE BLVD                                           LOS ANGELES     CA   90017
MOSS, PATRICIA A     2302 MONTICELLO ST SW                                                                          DECATUR         AL   35603‐1156
MOSS, PATRICIA A     11060 N JENNINGS RD                                                                            CLIO            MI   48420‐1571
MOSS, PATRICIA ANN   11060 N JENNINGS RD                                                                            CLIO            MI   48420‐1571
MOSS, PATRICIA C     5220 W WILSON RD                                                                               CLIO            MI   48420‐9450
MOSS, PATRICIA I     501 VERNON RD                                                                                  CLINTON         MS   39056
MOSS, PATRICIA J     PO BOX 2234                                                                                    SAN BERNADINO   CA   92405‐2234
MOSS, PAUL           CALWELL STUART LAW OFFICES OF     PO BOX 113                                                   CHARLESTON      WV   25321
MOSS, PAUL R         3168 PYRITE CIR SW                                                                             ATLANTA         GA   30331‐2808
MOSS, PER H          5817 ELDRIDGE DR                                                                               WATERFORD       MI   48327‐2632
MOSS, PETER A        13297 ARMSTRONG RD                                                                             S ROCKWOOD      MI   48179‐9744
MOSS, PHILIP S       GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                   EDWARDSVILLE    IL   62025‐0959
                     ANTOGNOLI
MOSS, RALPH A        2053 S CONSERVATION CLUB RD                                                                    MORGANTOWN      IN   46160‐9367
MOSS, RALPH D        439 INDIAN SPRINGS DR                                                                          KERRVILLE       TX   78028‐2080
MOSS, RALPH O        3454 COUNTRYSIDE CIR                                                                           AUBURN HILLS    MI   48326
MOSS, RANDY A        6417 YEATMAN LN                                                                                COLUMBIA        TN   38401‐7931
MOSS, RAYMOND D      1571 WESTCHESTER ST                                                                            WESTLAND        MI   48186‐5349
MOSS, RAYMOND E      2059 CLARA MATHIS RD                                                                           SPRING HILL     TN   37174‐7575
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Name                   Address1                          Address2                       Address3   Address4         City                State Zip
MOSS, RAYMOND RASHAD   2245 MERRITT WAY                                                                             ARLINGTON            TX 76018‐3130
MOSS, RICHARD E        2006 IROQUOIS AVE                                                                            PRUDENVILLE          MI 48651‐9305
MOSS, RICHARD M        275 ORANGE LAKE DR                                                                           BLOOMFIELD           MI 48302‐1162
MOSS, RICHARD S        1239 ASHOVER DR                                                                              BLOOMFIELD HILLS     MI 48304‐1105
MOSS, RICK O           104 E HELENA ST                                                                              BROKEN ARROW         OK 74012
MOSS, RICKY R          491 FOX CREEK RD                                                                             CROSSVILLE           TN 38571‐0974
MOSS, ROBERT D         13 MCCLARREN CT                                                                              BRENTWOOD            CA 94513‐1405
MOSS, ROBERT E         2419 SWEET CLOVER LN                                                                         LAPEER               MI 48446‐9432
MOSS, ROBERT L         400 BRIARWOOD RD                                                                             WINDER               GA 30680‐7207
MOSS, ROBERT L         243 ORCHARD PARK DR                                                                          NEW CASTLE           PA 16105‐3019
MOSS, ROBERT L         2714 JUDSON RD                                                                               KOKOMO               IN 46901‐1764
MOSS, ROBERT R         46675 MIDDLE RIDGE RD                                                                        AMHERST              OH 44001‐2757
MOSS, ROBIN L          225 TERRACE ST                                                                               FLUSHING             MI 48433‐2124
MOSS, ROBIN LESLIE     225 TERRACE ST                                                                               FLUSHING             MI 48433‐2124
MOSS, RODGER A         2079 MILL ST                                                                                 LINCOLN PARK         MI 48146‐2232
MOSS, RONALD G         518 BALLENTINE STREET                                                                        PORT HURON           MI 48060‐2218
MOSS, RONALD K         6233 CR 609                                                                                  BUSHNELL             FL 33513‐4710
MOSS, RONALD L         9917 S PEEBLY RD                                                                             NEWALLA              OK 74857‐8165
MOSS, RONDAL RAYON     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510‐2212
                                                         STREET, SUITE 600
MOSS, RONNIE           4001 OAK FIELD DR                                                                            LOGANVILLE          GA   30052‐8177
MOSS, RONNIE           155 CARRIAGE STATION DR                                                                      LAWRENCEVILLE       GA   30045‐2422
MOSS, RONZELL          PO BOX 416                                                                                   PETROLIA            TX   76377‐0416
MOSS, RUDY L           KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND           OH   44114
                                                         BOND COURT BUILDING
MOSS, SAMMIE H         6158 BLUE HILLS RD                                                                           KANSAS CITY         MO   64110‐3506
MOSS, SAMUEL O         1525 STATE RD NW                                                                             WARREN              OH   44481‐9132
MOSS, SAMUEL O         1525 STATE RD                                                                                WARREN              OH   44481‐9132
MOSS, SANDRA K         580 LEWIS RD                                                                                 BOWLING GREEN       KY   42104‐7405
MOSS, SANDRA KAY       580 LEWIS RD                                                                                 BOWLING GREEN       KY   42104‐7405
MOSS, SANDRA R         12050 BUNCE RD                                                                               MILAN               MI   48160‐9147
MOSS, SANDRA T         8809 COOK RD                                                                                 OLIVET              MI   49076‐9455
MOSS, SANDRA THERESA   8809 COOK RD                                                                                 OLIVET              MI   49076‐9455
MOSS, SARAH            5740 TAFT AVE                                                                                BEN SALEM           PA   19020‐3223
MOSS, SARAH E          1301 NOTTINGHAM RD APT A227                                                                  JAMESVILLE          NY   13078‐6700
MOSS, SCOTT            22916 CABRILLO AVE                                                                           TORRANCE            CA   90501
MOSS, SHERRIL A        15007 CYPRESS FALLS DR                                                                       CYPRESS             TX   77429‐1954
MOSS, SHERRY L         329 WASHINGTON AVE                                                                           NEWTON FALLS        OH   44444‐4444
MOSS, SHERYL A         APT 108                           15901 WEST 11 MILE ROAD                                    SOUTHFIELD          MI   48076‐3694
MOSS, SHERYL A         15901 W 11 MILE RD APT 108                                                                   SOUTHFIELD          MI   48076‐3694
MOSS, SHIRLEY ELLEN    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA   23510‐2212
                                                         STREET, SUITE 600
MOSS, SHIRLEY M        2073 1 1/2 MILE RD                                                                           FULTON              MI 49052‐9615
MOSS, SOLOMON J        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
MOSS, STEVE A          25092 DONALD                                                                                 REDFORD             MI   48239‐3330
MOSS, STUART           WEITZ & LUXENBERG                 180 MAIDEN LANE                                            NEW YORK            NY   10038
MOSS, SUSAN            24635 LAKE MEADOW DR                                                                         HARRISON TOWNSHIP   MI   48045‐3127
MOSS, SYLVIA           901 EAST HARVARD ST                                                                          INVERNESS           FL   34452‐6724
MOSS, SYRIA P          428 FOX HILLS DR S 2                                                                         BLOOMFIELD HILLS    MI   48304
MOSS, TAMMY L          329 WASHINGTON AVE                                                                           NEWTON FALLS        OH   44444‐9750
MOSS, TERON D          285 W YALE AVE                                                                               PONTIAC             MI   48340‐1752
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Name                              Address1                          Address2                        Address3   Address4         City               State Zip
MOSS, TERRY L                     200 WARDEN LN                                                                                 CAVE CITY           AR 72521‐9400
MOSS, TERRY L                     149 GREENFIELD RD UNIT 602                                                                    HIRAM               GA 30141‐2368
MOSS, THELMA O                    364 3RD ST SW                                                                                 WARREN              OH 44483‐6416
MOSS, THELMA O                    364 THIRD ST SW                                                                               WARREN              OH 44483‐6416
MOSS, THEODORE D                  11465 FAWN VALLEY TRL 126                                                                     FENTON              MI 48430
MOSS, THERON M                    4127 KAMMER AVE                                                                               DAYTON              OH 45417‐1126
MOSS, THOMAS                      505 NYE ST                                                                                    LIMA                OH 45801‐4641
MOSS, THOMAS A                    36351 EW 1140                                                                                 SEMINOLE            OK 74868‐6210
MOSS, THOMAS E                    1750 N SUGAR PT                                                                               CENTERPOINT         IN 47840‐8347
MOSS, TOMMY A                     7412 RORY ST                                                                                  GRAND BLANC         MI 48439‐9349
MOSS, VALERIE A                   1615 PONTIAC ST                                                                               FLINT               MI 48503‐5146
MOSS, VENETTA                     16820 WINTHROP ST                                                                             DETROIT             MI 48235‐3507
MOSS, VERNA                       426 BAWCOM ST                                                                                 WEST MONROE         LA 71292‐6707
MOSS, VERNA D                     426 BAWCOM ST                                                                                 WEST MONROE         LA 71292‐6707
MOSS, VESTA ANN                   4469 GRAND TETON DR                                                                           MEDINA              OH 44256
MOSS, VICTORIA                    45358 WHITE PINES DR                                                                          NOVI                MI 48375‐3866
MOSS, VIRGINIA F                  1525 GRAYSON HWY APT 1806                                                                     GRAYSON             GA 30017
MOSS, WALTER P                    1350 SURREY RD                                                                                VANDALIA            OH 45377‐1660
MOSS, WENDELL J                   PO BOX 213                                                                                    FITZGERALD          GA 31750‐0213
MOSS, WILBERT G                   1321 STEPHENS ST SW                                                                           LILBURN             GA 30047‐4355
MOSS, WILLA L                     275 ORANGE LAKE DR                                                                            BLOOMFIELD HILLS    MI 48302‐1162
MOSS, WILLIAM E                   3560 E CLYDE RD                                                                               HOWELL              MI 48855‐9715
MOSS, WILLIAM ERNEST              BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                               DALLAS              TX 75219
MOSS, WILLIAM J                   11061 RADCLIFF DR                                                                             ALLENDALE           MI 49401‐9521
MOSS, ZEARL K                     2373 UPPER BELL CREEK RD                                                                      HIAWASSEE           GA 30546
MOSS,KEVIN T                      502 S 6TH ST                                                                                  SAINT CLAIR         MI 48079‐5028
MOSS,RAYMOND RASHAD               2245 MERRITT WAY                                                                              ARLINGTON           TX 76018‐3130
MOSS‐ADAMS/SEATTLE                1001 FOURTH AVENUE                SUITE 2700                                                  SEATTLE             WA 98154
MOSSBARGER, BARBARA H             3831 S ASHLEAF LN                                                                             DAYTON              OH 45440‐3472
MOSSBARGER, DONALD F              970 MARTY LEE LANE                                                                            CARLISLE            OH 45005‐3838
MOSSBARGER, DOUGLAS R             219 LYLBURN RD                                                                                MIDDLETOWN          OH 45044‐5044
MOSSBARGER, GERALD R              3831 S ASHLEAF LN                                                                             DAYTON              OH 45440‐3472
MOSSBARGER, GERALD R              3831 ASHLEAF COURT                                                                            BEAVERCREEK         OH 45440‐3472
MOSSBARGER, JOYCE L               450 ROSEWOOD RD                                                                               MEDWAY              OH 45341‐1546
MOSSBARGER, TONY M                510 W MARKET ST                                                                               SPRINGBORO          OH 45066‐1152
MOSSBERG BERNHARD JOHN (409163)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                    STREET, SUITE 600
MOSSBERG, BERNARD JOHN            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
MOSSBERGER, EO                    GUY WILLIAM S                     PO BOX 509                                                  MCCOMB             MS   39649‐0509
MOSSBURG JR, HARRY E              419 N CARTER ST                                                                               GREENTOWN          IN   46936‐1030
MOSSBURG, BEVERLY K               3772 W CLOVER LN                                                                              KOKOMO             IN   46901‐9446
MOSSBURG, FREDRICK E              3772 W CLOVER LN                                                                              KOKOMO             IN   46901‐9446
MOSSBURG, MATTHEW A               18689 TERESA DR                                                                               MACOMB             MI   48044‐1682
MOSSBURG, RICHARD G               3442 W 10TH ST                                                                                INDIANAPOLIS       IN   46222‐3486
MOSSBURG, SABRINA K               3772 W CLOVER LN                                                                              KOKOMO             IN   46901
MOSSCO DUBOSE                     520 REDONDO RD                                                                                YOUNGSTOWN         OH   44504‐1449
MOSSE, JAMES A                    3526 W LAKE MITCHELL DR                                                                       CADILLAC           MI   49601
MOSSELLA CARTER                   408 STUCKHARDT RD                                                                             TROTWOOD           OH   45426‐2706
MOSSELLA J CARTER                 408 STUCKHARDT RD                                                                             TROTWOOD           OH   45426‐2706
MOSSELLI, MARGARET C              PO BOX 92                                                                                     SHAWNEETOWN        IL   62984
MOSSELMANI, MAYEZ K               8330 N EVANGELINE ST                                                                          DEARBORN HTS       MI   48127‐1162
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Name                                  Address1                         Address2            Address3         Address4                City                   State Zip
MOSSER JR, FRED                       9547 MORTON TAYLOR RD                                                                         VAN BUREN TWP           MI 48111‐1328
MOSSER TERRI BARZIZA PC LAW OFFICES   1003 WITT RD STE 210                                                                          HOUSTON                 TX 77055
OF
MOSSER, BETTY W                       14484 CANALVIEW DR APT A                                                                      DELRAY BEACH           FL   33484‐8732
MOSSER, BRUCE D                       537 DUFFEY ST                                                                                 PLAINFIELD             IN   46168‐1619
MOSSER, CHARLES W                     58 PATRICIA LN                                                                                MOUNT LAUREL           NJ   08054‐4407
MOSSER, DENNIS D                      7795 BERWICK DR                                                                               YPSILANTI              MI   48197‐3071
MOSSER, JEANNA KAY                    9547 MORTON TAYLOR RD                                                                         VAN BUREN TWP          MI   48111‐1328
MOSSER, PAUL E                        1853 E DOWNEY LN                                                                              ALBANY                 IN   47320‐1431
MOSSER, ROGER R                       198 ALBI RD APT 3                                                                             NAPLES                 FL   34112‐6114
MOSSES, ANDREW J                      9254 QUANDT AVE                                                                               ALLEN PARK             MI   48101‐1531
MOSSES, MARGARET                      9254 QUANDT AVE                                                                               ALLEN PARK             MI   48101‐1531
MOSSES, PEARL A                       358 LAKE AMBERLEIGH DR                                                                        WINTER GARDEN          FL   34787‐5252
MOSSIE WEARREN                        914 S PENN ST                                                                                 MUNCIE                 IN   47302‐2560
MOSSING, DEBORAH D                    3820 EAST SIERRITA ROAD                                                                       QUEEN CREEK            AZ   85243‐5945
MOSSING, DEBORAH D                    3820 E SIERRITA RD                                                                            QUEEN CREEK            AZ   85243‐3943
MOSSING, MICHAEL K                    3274 BIRCH RUN S                                                                              ADRIAN                 MI   49221‐1162
MOSSINGTON, MICHAEL C                 51762 WALNUT DR                                                                               MACOMB                 MI   48042‐3545
MOSSMAN, MARILYN J                    408 N NIBLICK LN                                                                              LAKE MARY              FL   32746‐2567
MOSSMAN, ROBERT E                     415 S LARIAT DR                                                                               MUSTANG                OK   73064‐2535
MOSSMAN, ROBERT E                     435 WARREN AVE                                                                                FLUSHING               MI   48433‐1463
MOSSMAN, RUTH A                       25719 KANSAS AVE                                                                              TONGANOXIE             KS   66086‐3227
MOSSMAN, WAYNE D                      4315 DORTCH DR                                                                                LONGVIEW               TX   75605‐4901
MOSSNER JR, RICHARD J                 1101 W VASSAR RD                                                                              REESE                  MI   48757‐9307
MOSSNER RUDOLPH                       4215 S REESE RD                                                                               FRANKENMUTH            MI   48734‐9613
MOSSNER YOKO                          1654 LATHRUP AVENUE                                                                           SAGINAW                MI   48638‐4705
MOSSNER, ARTHUR J                     32010 GILBERT DR                                                                              WARREN                 MI   48093
MOSSNER, BRUCE A                      9961 MARILYN ST                                                                               REESE                  MI   48757‐9548
MOSSNER, JAMES R                      4210 BETTY LEE BLVD                                                                           GLADWIN                MI   48624‐7600
MOSSNER, MICHAEL H                    2201 VAN BUREN RD                                                                             FAIRGROVE              MI   48733‐9720
MOSSNER, RALPH J                      4963 HART RD                                                                                  FRANKENMUTH            MI   48734‐9621
MOSSNER, RICHARD F                    2363 N ORR RD                                                                                 HEMLOCK                MI   48626‐8412
MOSSO GIACOMO GAMBA BARBARA           VIA CASTELLO N. 3                                                     10020 MORIONDO
MOSSO DANIELE                                                                                               TORINESE (TO) ITALY
MOSSON, CHARLOTTE C D                 2628 E HOLLAND AVE                                                                            SAGINAW                MI   48601‐2233
MOSSON, J C                           3446 E KIEHL AVE APT 4609                                                                     SHERWOOD               AR   72120‐3860
MOSSON, PATRICIA A                    4835 WINTERSON CT                                                                             DOYLESTOWN             PA   18902‐6222
MOSSONEY, JAMES W                     1598 WOODHURST DR                                                                             DEFIANCE               OH   43512‐3440
MOSSONEY, JAMES W                     582 CHIPPEWA DR                                                                               DEFIANCE               OH   43512‐3339
MOSSOP JR, HAROLD S                   11368 DODGE AVE                                                                               WARREN                 MI   48089‐3749
MOSSOP, SHANNON D                     38045 JOHANNES DR                                                                             CLINTON TOWNSHIP       MI   48038‐3322
MOSSOW, SHON R                        750 ORION RD APT 131                                                                          LAKE ORION             MI   48362‐3542
MOSSOW, SHON ROBERT                   750 ORION RD APT 131                                                                          LAKE ORION             MI   48362‐3542
MOSSY BUICK, PONTIAC, GMC             1331 S BROAD ST                                                                               NEW ORLEANS            LA   70125‐2016
MOSSY MOTORS OF MISSISSIPPI, LLC      ROGER BACON                      241 FRONTAGE RD                                              PICAYUNE               MS   39466‐7587
MOSSY MOTORS, L.L.C.                  ROY MOSSY                        1331 S BROAD ST                                              NEW ORLEANS            LA   70125‐2016
MOSSY OF PICAYUNE                     241 FRONTAGE RD                                                                               PICAYUNE               MS   39466‐7587
MOST COOPERATION                      C/O MS HOLLY HAASE‐KRUGER        BANNWALDALLEE 48                     76185 KARLSRUHE
                                                                                                            GERMANY
MOST, CATHERINE S                     3747 S ATLANTIC AVE UNIT 202                                                                  DAYTONA BEACH SHORES   FL 32118‐7221
MOST, CLARENCE E                      1156 GREEN ST                                                                                 NEW LENOX              IL 60451‐1016
MOST, CLIFFORD G                      7036 RANDEE ST                                                                                FLUSHING               MI 48433‐8836
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Name                           Address1                         Address2                     Address3   Address4                  City               State Zip
MOST, CRAIG C                  2485 N BAXTER RD                                                                                   DAVISON             MI 48423‐8104
MOST, DEBRA S                  2485 N BAXTER RD                                                                                   DAVISON             MI 48423‐8104
MOST, ELAINE                   97 MOUNT EVERST WAY,                                                                               SWARTZ CREEK        MI 48473
MOST, ERICA L                  493 MARTIN L KING BLVD N                                                                           PONTIAC             MI 48342
MOST, HAZEL E                  304 N CORNING ST                 BOX 632                                                           FARWELL             MI 48622
MOST, JEFFREY L                2378 TAYLOR MOUNTAIN PL                                                                            SANTA ROSA          CA 95404
MOST, JOAN T                   2081 ASPEN LN S                                                                                    CLIO                MI 48420‐2404
MOST, LAWRENCE L               PO BOX 206                                                                                         COPPER CITY         MI 49917
MOST, MABEL E                  5135 BLISS RD                                                                                      ELWELL              MI 48832
MOST, MICHAEL T                5911 OLIVE AVE                                                                                     SARASOTA            FL 34231‐7245
MOST, RICHARD A                12091 WASHBURN RD                                                                                  COLUMBIAVILLE       MI 48421‐9201
MOST, WILLIAM W                3025 CAMINO ROAD                                                                                   HARRISON            MI 48625‐9196
MOST‐KIES, DIANNE M            622 1/2 W MAIN ST                                                                                  GRAND LEDGE         MI 48837‐1044
MOST/COLUMBIA                  1512 NASHVILLE HWY                                                                                 COLUMBIA            TN 38401‐2068
MOSTAFA
MOSTAFA FAWAZ                  2241 ATLAS DR                                                                                      TROY               MI   48083‐2452
MOSTAFAVI, SEYED M             13535 SHAKAMAC DR                                                                                  CARMEL             IN   46032‐9653
MOSTAGHIM, BARBARA             6491 WESTON ROAD                                                                                   ALLEN              MI   49227‐9742
MOSTAN FOODS & EQUIPMENT CO    1085 CENTRAL AVE                                                                                   CLARK              NJ   07066‐1113
MOSTARDA, VIRGIL A             10186 SLEEPY WILLOW CT                                                                             SPRING HILL        FL   34608‐4211
MOSTEK JR, JOHN L              22519 SPITZLEY ST                                                                                  CLINTON TOWNSHIP   MI   48035‐4912
MOSTEK, CANDACE ANN            4351 DAHLIA DR                                                                                     TOLEDO             OH   43611‐2940
MOSTEK, CHARLES A              2745 119TH ST                                                                                      TOLEDO             OH   43611‐2228
MOSTEK, JOHN L                 438 S ROOSEVELT ROAD T                                                                             PORTALES           NM   88130‐9405
MOSTEK, JOHN R                 14984 FORDHAM DR                                                                                   STERLING HTS       MI   48313‐2906
MOSTELLA, JENNIFER W           PO BOX 8372                                                                                        GADSDEN            AL   35902‐8372
MOSTELLER AUTOMOTIVE           514 MOSTELLER DR                                                                                   LANCASTER          SC   29720‐9260
MOSTELLER, LAWRENCE L          16725 GUM LN                                                                                       WILLIAMSBURG       OH   45176‐9134
MOSTELLO, BARBARA Y            17 LOZAW ROAD                                                                                      FRANKLIN           NJ   07416
MOSTI MICHAEL                  MOSTI, MICHELLE                  3 SUMMIT PARK DR STE 100                                          INDEPENDENCE       OH   44131‐2598
MOSTI, MICHELLE                KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                          INDEPENDENCE       OH   44131‐2598
MOSTICH, DOLORES VAL           540 GRIER AVE                                                                                      ELIZABETH          NJ   07202‐3105
MOSTICH, DOLORES VAL           540 GRIER AVENUE                                                                                   ELIZABETH          NJ   07202‐3105
MOSTILLER, CONRAD V            334 WOODBRIDGE GLN                                                                                 RICHMOND HTS       OH   44143‐1463
MOSTIOR, TEODOR                2951 PEBBLE CREEK DR                                                                               ANN ARBOR          MI   48108‐1729
MOSURE JR, GERALD E            2480 BUHL AVE BOX 93                                                                               DECKERVILLE        MI   48427
MOSURE, PAUL F                 6094 KETCHUM AVE                                                                                   NEWFANE            NY   14108‐1113
MOSURE, ROBERT F               3165 ROLAND DR                                                                                     NEWFANE            NY   14108‐9720
MOSURE, WILLIAM W              3940 MARATHON RD                                                                                   COLUMBIAVILLE      MI   48421‐8950
MOSZCIENSKI MICHAL & HEATHER   ROTKISKE                         97 FRONT ST                                                       CRESSONA           PA   17929‐1315
MOSZCZYNSKI, CHESTER           2910 HERMITAGE BLVD                                                                                VENICE             FL   34292‐1639
MOSZCZYNSKI, MAREK Z           27036 KENNEDY ST                                                                                   DEARBORN HTS       MI   48127‐1627
MOSZYK, DAVID A                930 APPALOOSA PASS                                                                                 AUBURN             MI   48611‐9357
MOSZYK, GERALD L               1704 S MONROE ST                                                                                   BAY CITY           MI   48708‐4102
MOT PAYNE                      2080 NOBLE AVE                                                                                     FLINT              MI   48532‐3914
MOTA DAMON                     122 SMALLWOOD AVE                                                                                  BELLEVILLE         NJ   07109‐1333
MOTA'S AUTO & TRUCK REPAIR     8023 B OLD WANETA RD                                                     TRAIL BC V1R 2Y8 CANADA
MOTA, ANTONIO D                818 E BUTLER ST                                                                                    ADRIAN             MI 49221‐2403
MOTA, MARY H                   808 E HUNT ST                                                                                      ADRIAN             MI 49221
MOTAIN, JIM
MOTALA, JEFFREY J              730 EASTLAKE TRL                                                                                   OXFORD             MI 48371‐6800
MOTAMEDI BABAK                 MOTAMEDI, BABAK ANTHONY          1950 SAWTELLE BLVD STE 245                                        LOS ANGELES        CA 90025‐7017
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MOTAMEDI SHARVIN          4224 WINCREST LN                                                                        ROCHESTER           MI 48306‐4769
MOTAMEDI, BABAK ANTHONY   CONSUMER LEGAL SERVICES        1950 SAWTELLE BLVD STE 245                               LOS ANGELES         CA 90025‐7017
MOTAMEDI, NADER           1127 12TH ST APT 301                                                                    SANTA MONICA        CA 90403‐5453
MOTAMEDI, SHARVIN         4224 WINCREST LN                                                                        ROCHESTER           MI 48306‐4769
MOTCH & EICHELE CO        6690 BETA DR                   PO BOX 43375                                             MAYFIELD VILLAGE    OH 44143
MOTCH, GARY V             311 KAUAI CIR                                                                           UNION CITY          CA 94587‐4206
MOTCHECK, FRIEDA L        8530 DOE PASS                                                                           LANSING             MI 48917‐8839
MOTCHECK, GEORGE F        8530 DOE PASS                                                                           LANSING             MI 48917‐8839
MOTCHECK, MARIAN G        2700 BURCHAM DR APT 20                                                                  EAST LANSING        MI 48823
MOTE JOHN                 4060 GLADHURST RD                                                                       MAGNOLIA            MS 39652
MOTE JR, CLARENCE R       5610 S RIVER RD                                                                         DOUGLASVILLE        GA 30135‐6130
MOTE, ALTA R              1546 MARY DR                                                                            INDIANAPOLIS        IN 46241‐2810
MOTE, CHARLES O           2320 BALMORAL BLVD                                                                      KOKOMO              IN 46902‐3157
MOTE, DAVID W             6466 WOODCREST DR                                                                       AVON                IN 46123‐7497
MOTE, ELIZABETH C         1019 SYCAMORE LANE                                                                      VILLARICA           GA 30180‐5859
MOTE, EVELYN V            1009 S COOPER ST                                                                        KOKOMO              IN 46902‐1836
MOTE, IONA JEAN           12262 SOUTH COUNTY 700 EAST                                                             GALVESTON           IN 46932
MOTE, JAMES               1009 S COOPER ST                                                                        KOKOMO              IN 46902‐1836
MOTE, JAMES               1009 S COOPER                                                                           KOKOMO              IN 46902‐1836
MOTE, JAYNE L             244 ROMAIN RD APT 104                                                                   CARO                MI 48723‐9153
MOTE, JUDI A              20 OVERBROOK DRIVE                                                                      TEMPLE              GA 30179‐3390
MOTE, MARTHA A            6513 OCALA CT                                                                           DAYTON              OH 45459‐1941
MOTE, RALPH P             176 ASHEPOO DR                                                                          AIKEN               SC 29803‐8581
MOTE, RANDOLPH H          8444 JENSON DR                                                                          JONESBORO           GA 30236‐3732
MOTE, RAY H               527 RICHARDS CHAPEL RD                                                                  COVINGTON           GA 30016‐4494
MOTE, RICKY R             506 RICHARDS CHAPEL RD                                                                  COVINGTON           GA 30016‐4491
MOTE, RITA K              2320 BALMORAL BLVD                                                                      KOKOMO              IN 46902‐3157
MOTE, ROBERT M            3234 MCAFEE RD                                                                          DECATUR             GA 30032‐5957
MOTE, ROYAL D             15122 AL HIGHWAY 157                                                                    MOULTON             AL 35650‐3608
MOTE, SUSANNA M           1092 S 500 W                                                                            RUSSIAVILLE         IN 46979‐9498
MOTE, SUSANNA MAE         1092 S 500 W                                                                            RUSSIAVILLE         IN 46979‐9498
MOTEBERG, LAROY D         15363 GRAND OAK DR                                                                      GRAND HAVEN         MI 49417‐9124
MOTEBERG, LAROY DONOVAN   15363 GRAND OAK DR                                                                      GRAND HAVEN         MI 49417‐9124
MOTECH EDUCATION CENTER   35155 INDUSTRIAL RD                                                                     LIVONIA             MI 48150‐1231
MOTEL, THOMAS             677 HARVEY ST                                                                           WEST HAZLETON       PA 18202‐1507
MOTELY, EVELYN M          192 BUTLER AVE                 C/O EVELYN MOTLEY                                        BUFFALO             NY 14208‐1619
MOTELY, EVELYN M          C/O EVELYN MOTLEY              192 BUTLER AVENUE                                        BUFFALO             NY 14208‐619
MOTEN JR, CHESTER A       4000 HAROLD ST APT 315                                                                  SAGINAW             MI 48601‐4186
MOTEN SR, OSCAR J         PO BOX 302                                                                              SAGINAW             MI 48606‐0302
MOTEN, ANTHONY E          2264 OBRIEN RD                                                                          MOUNT MORRIS        MI 48458
MOTEN, BARBARA J          1601 W MCCLELLAN ST                                                                     FLINT               MI 48504‐2500
MOTEN, BOBBY R            9 WESTON ST                                                                             METUCHEN            NJ 08840‐1736
MOTEN, DANA               1112 WILDWOOD DR                                                                        ARLINGTON           TX 76011‐5056
MOTEN, ERNEST             1520 S OUTER DR                                                                         SAGINAW             MI 48601‐6682
MOTEN, ERNESTINE          2205 JULIUS                                                                             SAGINAW             MI 48601‐3446
MOTEN, GEORGE A           1913 BARKS ST                                                                           FLINT               MI 48503‐4303
MOTEN, GEORGE A           1913 BARKS STREET                                                                       FLINT               MI 48503‐4303
MOTEN, GREGORY L          6912 GALVIN AVE                                                                         DAYTON              OH 45427
MOTEN, JASON C            11303 ALFORD AVE                                                                        NORTHPORT           AL 35475‐4528
MOTEN, JASON COLEMAN      11303 ALFORD AVE                                                                        NORTHPORT           AL 35475‐4528
MOTEN, JEANNETTE          205 MENTOR DR                                                                           ARLINGTON           TX 76002‐5435
MOTEN, K C                1763 HELEN ST                                                                           DETROIT             MI 48207‐3653
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Name                            Address1                           Address2                Address3    Address4                   City                State Zip
MOTEN, LENNON N                 20020 MITCHELL ST                                                                                 DETROIT              MI 48234‐1576
MOTEN, MARY A                   3130 MURRAY HILL DR                                                                               SAGINAW              MI 48601‐5633
MOTEN, MARY ANN                 3130 MURRAY HILL DR                                                                               SAGINAW              MI 48601‐5633
MOTEN, MICHAEL E                2461 TYNE TERRACE SOUTHEAST                                                                       SMYRNA               GA 30080‐5986
MOTEN, MYRTLE L                 2160 E STANLEY RD                                                                                 MOUNT MORRIS         MI 48458‐8804
MOTEN, RONALD H                 1137 N 3RD ST                                                                                     LOMPOC               CA 93436‐3632
MOTEN, SHIRLEY L                23854 FRISBEE ST APT 2                                                                            DETROIT              MI 48219‐4614
MOTEN, TRULA L                  1763 HELEN ST                                                                                     DETROIT              MI 48207‐3653
MOTEN‐BOGAN MICHAEL             2461 TYNE TER SE                                                                                  SMYRNA               GA 30080‐5986
MOTES JR, FRED W                4265 E UPPER RIVER RD                                                                             SOMERVILLE           AL 35670‐4339
MOTES THOMAS J                  MOTES, THOMAS J                    PO BOX 186                                                     CORUNNA              MI 48817‐0186
MOTES, CHARLES A                3097 ELK CREEK DR 38                                                                              SWARTZ CREEK         MI 48473
MOTES, DONALD W                 897 CHASE LAKE RD                                                                                 HOWELL               MI 48855‐9399
MOTES, ELIZABETH S              4260 W ROUNDHOUSE DR #2                                                                           SWATRZ CREEK         MI 48473‐1443
MOTES, GEORGE D                 10332 DODGE RD                                                                                    MONTROSE             MI 48457‐9121
MOTES, KATHRYN                  2860 PEYTON ST                                                                                    WARD                 AR 72176‐8519
MOTES, KATHRYN                  2860 PEYTON ST.                                                                                   WARD                 AR 72176‐8519
MOTES, MARTHA G                 312 N. OAK ST                                                                                     DURAND               MI 48429
MOTES, RAIFORD R                375 OLD ROME RD                                                                                   ARAGON               GA 30104‐2007
MOTES, ROBERT L                 419 VANESSA ST                                                                                    NEW LEBANON          OH 45345‐1539
MOTES, THOMAS J                 4101 S SHERIDAN RD LOT 431                                                                        LENNON               MI 48449‐9426
MOTEX SERVICES INC              24450 EVERGREEN RD STE 220                                                                        SOUTHFIELD           MI 48075‐5586
MOTHERLY INTERCESSION INC       PO BOX 311109                                                                                     FLINT                MI 48531‐1109
MOTHERS AGAINST DRUNK DRIVING   511 E JOHN CARPENTER FWY STE 700                                                                  IRVING               TX 75062‐3983
MOTHERS AGAINST DRUNK DRIVING   ANDREW MURIE, CHEIF EXECUTIVE      2010 WINSTON PARK DR    SUITE 500   OAKVILLE ON L6H 5R7
(MADD CANADA)                   OFFICER                                                                CANADA
MOTHERS AGAINST DRUNK DRIVING   511 EAST JOHN CARPENTER            FREEWAY SUITE 700                                              IRVING               TX   75062
(MADD)
MOTHERSBAUGH, DAVID M           6717 HARVARD AVE                                                                                  RAYTOWN             MO    64133‐6125
MOTHERSBAUGH, EVERETT A         311 E FRANKLIN ST                                                                                 CLINTON             MO    64735‐2235
MOTHERSELL, CONNIE M            24 N BINDER RD                                                                                    TAWAS CITY          MI    48763‐9712
MOTHERSELL, ROBERT W            2400 WASHINGTON RD                                                                                LANSING             MI    48911‐7207
MOTHERSELL, WILLIAM M           2160 LONG LEAF TRL                                                                                OKEMOS              MI    48864
MOTHERSHED, BRUCE E             1068 S GRAHAM RD                                                                                  FLINT               MI    48532‐3531
MOTHERSHED, BRUCE EUGENE        1068 S GRAHAM RD                                                                                  FLINT               MI    48532‐3531
MOTHERSHED, CARL W              765 RIVERBEND RD SE                                                                               MONROE              GA    30655‐5969
MOTHERSHED, CAROL L             1068 S GRAHAM RD                                                                                  FLINT               MI    48532‐3531
MOTHERSON AUTOMOTIVE &          D‐14 SECTOR 59 NOIDA DIST          GAUTHAN BUDH NAGAR UP               NOIDA UP IN 201301 INDIA
TECHNOLOGIES
MOTHERSON AUTOMOTIVE            D‐14 SECTOR 59                                                         NOIDA 201301 INDIA
TECHNOLOGIES & ENGINEERING
MOTHERSON SUMI SYSTEMS LTD      D‐14 SECTOR 59 NOIDA DIST          GAUTHAN BUDH NAGAR UP               NOIDA UP IN 201301 INDIA
MOTHERSON SUMI SYSTEMS LTD      C‐14 A & B SECTOR 1                                                    NOIDA UTTER PRADESH
                                                                                                       201301 INDIA
MOTHES, ILSE S                  152 FOREST HILL DR                                                                                CROSSVILLE          TN    38558
MOTHES, WALTER W                152 FOREST HILL DR                                                                                CROSSVILLE          TN    38558‐2804
MOTHORPE, BRUCE C               86 PALM HARBOR DR                                                                                 NORTH PORT          FL    34287‐6534
MOTHS, FAYE E                   225 LAKE DESTINY TRL                                                                              ALTAMONTE SPRINGS   FL    32714‐3460
MOTIAN, ASGHAR                  12104 RIVENDELL DRIVE                                                                             OKLAHOMA CITY       OK    73170‐4702
MOTICHKA JR, PETER              37890 WINDWOOD DR                                                                                 FARMINGTON HILLS    MI    48335‐2761
MOTICHKA, ANN T                 37890 WINDWOOD DR                                                                                 FARMINGTON HILLS    MI    48335‐2761
MOTIKA, ANNA R                  162 DIAMOND WAY                                                                                   COURTLAND           OH    44410‐1399
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Name                             Address1                             Address2                        Address3   Address4                City                State Zip
MOTIKA, STEPHEN A                162 DIAMOND EAY                                                                                         CORTLAND             OH 44410‐1399
MOTIKA, STEPHEN A                162 DIAMOND WAY                                                                                         CORTLAND             OH 44410‐1399
MOTIL, ANDREW M                  2205 CALEB DR                                                                                           SPRING HILL          TN 37174‐7522
MOTIL, DAVID                     412 MCLEMORE AVE                                                                                        SPRING HILL          TN 37174‐2610
MOTIL, MARK A                    120 CLARENDON CIR                                                                                       FRANKLIN             TN 37069‐1836
MOTION                           8415 KELSO DR STE 250                                                                                   BALTIMORE            MD 21221‐3154
MOTION CONTROL COMPONENTS INC    5145 BRECKSVILLE RD STE 305                                                                             RICHFIELD            OH 44285‐9167
MOTION CONTROL COMPONENTS INC    46615 RYAN CT                                                                                           NOVI                 MI 48377‐1730
MOTION CONTROL COMPONENTS INC    DBA MC2                              5145 BRECKSVILLE RD STE 305                                        RICHFIELD            OH 44286‐9167
MOTION CONTROL COMPONENTS INC    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 470813                                                      BROADVIEW HEIGHTS    OH 44147‐0813
                                 AGENT
MOTION CONTROL CORP              23688 RESEARCH DR                                                                                       FARMINGTON HILLS    MI   48335‐2621
MOTION CONTROL ENGINEERING INC   11380 WHITE ROCK RD                                                                                     RANCHO CORDOVA      CA   95742‐6522
MOTION CONTROL SYSTEMS INC       NEW RIVER INDUSTRIAL PK LETTER       6701 VISCOE RD ADD CHG 10\98                                       NEW RIVER           VA   24141
MOTION CONTROL SYSTEMS INC       PO BOX 115                           6701 VISCOE RD                                                     NEW RIVER           VA   24129‐0115
MOTION CONTROLS ROBOTICS INC     1500 WALTER AVE                                                                                         FREMONT             OH   43420‐1449
MOTION ENGINEERING CO INC        PO BOX 501223                                                                                           INDIANAPOLIS        IN   46250‐6223
MOTION IND/BOX 1467              2614 BRICK CHURCH PIKE                                                                                  NASHVILLE           TN   37207‐4410
MOTION IND/RYL OAK               1805 BRINSTON DR                                                                                        TROY                MI   48083‐2216
MOTION INDEX DRIVES INC          1307 E MAPLE RD                      STE A                                                              TROY                MI   48083‐6023
MOTION INDEX DRIVES INC          1307 E MAPLE RD STE A                                                                                   TROY                MI   48083‐6023
MOTION INDUSTRIES                PO BOX 1477                          ATTN: MIKE HARPER ‐ ACCTS REC                                      BIRMINGHAM          AL   35201‐1477
MOTION INDUSTRIES                4112 CARTWRIGHT DR                                                                                      KOKOMO              IN   46902‐4388
MOTION INDUSTRIES                7280 W BERT KOUNS INDUSTRIAL LOOP                                                                       SHREVEPORT          LA   71129‐4729
MOTION INDUSTRIES                17000 EAST AVIS DRIVE                                                                                   MADISON HEIGHTS     MI   48071
MOTION INDUSTRIES (CANADA) INC   30 ROYAL CREST CRT UNIT 8                                                       MARKHAM ON L3R 9W8
                                                                                                                 CANADA
MOTION INDUSTRIES (CANADA) INC   625 NEWBOLD ST                                                                  LONDON ON N6E 2V1
                                                                                                                 CANADA
MOTION INDUSTRIES CANADA INC     2260 INDUSTRIAL ST                                                              BURLINGTON ON L7P 1A1
                                                                                                                 CANADA
MOTION INDUSTRIES INC            1805 BRINSTON DR                                                                                        TROY                MI   48083‐2216
MOTION INDUSTRIES INC            3505 VENICE RD                       PO BOX 480                                                         SANDUSKY            OH   44870‐1750
MOTION INDUSTRIES INC            3333 E WASHINGTON BLVD               PO BOX 6177                                                        FORT WAYNE          IN   46803‐1539
MOTION INDUSTRIES INC            PO BOX 24335                         4541 INTERPOINT BLVD                                               DAYTON              OH   45424‐0335
MOTION INDUSTRIES INC            247 S GLADSTONE AVE                                                                                     COLUMBUS            IN   47201‐7243
MOTION INDUSTRIES INC            1514 PARKWAY VIEW DR                                                                                    PITTSBURGH          PA   15205‐1407
MOTION INDUSTRIES INC            3421 S CREYTS RD                                                                                        LANSING             MI   48917‐8505
MOTION INDUSTRIES INC            3345 E WASHINGTON RD                 PO BOX 3294                                                        SAGINAW             MI   48601‐6054
MOTION INDUSTRIES INC            2302 BELOIT AVE                                                                                         JANESVILLE          WI   53546‐3051
MOTION INDUSTRIES INC            13724 SHORELINE CT E                                                                                    EARTH CITY          MO   63045‐1202
MOTION INDUSTRIES INC            4410 AIRPORT EXPY                    PO BOX 421369                                                      INDIANAPOLIS        IN   46241‐5244
MOTION INDUSTRIES INC            7280 W BERT KOUNS INDUSTRIAL LOOP                                                                       SHREVEPORT          LA   71129‐4729
MOTION INDUSTRIES INC            301 HENDERSON DR                                                                                        SHARON HILL         PA   19079‐1034
MOTION INDUSTRIES INC            331 VANDERBILT DR                    PO BOX 51128                                                       BOWLING GREEN       KY   42103‐7022
MOTION INDUSTRIES INC            PO BOX 12026                         628 NW PLATTE VALLEY DR                                            PARKVILLE           MO   64152‐0026
MOTION INDUSTRIES INC            33801 SCHOOLCRAFT RD                                                                                    LIVONIA             MI   48150‐1505
MOTION INDUSTRIES INC            1605 ALTON RD                                                                                           BIRMINGHAM          AL   35210
MOTION INDUSTRIES INC            PO BOX 3294                                                                                             SAGINAW             MI   48605‐3294
MOTION INDUSTRIES INC            1310 MILLER PARK WAY                 NAME ADD CHNG LTR MW                                               MILWAUKEE           WI   53214‐3603
MOTION INDUSTRIES INC            1605 ALTON RD                        PO BOX 1477                                                        BIRMINGHAM          AL   35210‐3770
MOTION INDUSTRIES INC            PO BOX 98412                                                                                            CHICAGO             IL   60693‐0001
                                     09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                                 Address1                             Address2                           Address3              Address4              City              State Zip
MOTION INDUSTRIES INC                2614 BRICK CHURCH PIKE                                                                                              NASHVILLE          TN 97207‐4410
MOTION INDUSTRIES INC                1700 E AVIS DR                                                                                                      MADISON HEIGHTS    MI 48071‐1548
MOTION INDUSTRIES INC                4624 S CREYTS RD                     PO BOX 80828                                                                   LANSING            MI 48917‐8596
MOTION INDUSTRIES INC                4112 CARTWRIGHT DR                                                                                                  KOKOMO             IN 46902‐4388
MOTION INDUSTRIES INC                3780 COMMERCE CT                                                                                                    NORTH TONAWANDA    NY 14120
MOTION INDUSTRIES INC                ATTN: CORPORATE OFFICER/AUTHORIZED   1605 ALTON RD                                                                  BIRMINGHAM         AL 35210‐3770
                                     AGENT
MOTION LOGISTICS                     1111 DAVIS DR UNIT #1 STE 191                                                                 NEWMARKET CANADA ON
                                                                                                                                   L3Y 7V1 CANADA
MOTION PICTURE RADIOS‐MI             35 W HURON ST                                                                                                       PONTIAC           MI   48342‐2120
MOTION SAVERS INCORPORATED           2667 E 8 MILE RD                                                                                                    WARREN            MI   48091‐2410
MOTION SAVERS/WARREN                 2667 E 8 MILE RD                                                                                                    WARREN            MI   48091‐2410
MOTION TECHNOLOGIES                  1205 CHESAPEAKE AVE                                                                                                 COLUMBUS          OH   43212‐2238
MOTION TECHNOLOGIES                  FLEX TECH INTEGRATED SUPPLIER        421 JACKSON ST                                                                 SANDUSKY          OH   44870‐2736
MOTION/WAREHOUSING                   2614 BRICK CHURCH PIKE                                                                                              NASHVILLE         TN   97207‐4410
MOTIONS INDUSTRIES,                  8415 KELSO DR STE 250                                                                                               BALTIMORE         MD   21221‐3154
MOTISI, AURORA                       120 EAST 55 STREET                                                                                                  HIALEAH           FL   33013‐1439
MOTISI, AURORA                       120 E 55TH ST                                                                                                       HIALEAH           FL   33013‐1439
MOTIVAGENT INC                       ATTN TODD ORTEGA PRINCIPAL           1822 12TH AVE W                                                                SEATTLE           WA   98119‐2908
MOTIVE PARTS CO                      835 GOODALE BLVD                                                                                                    COLUMBUS          OH   43212‐3824
MOTIVE PARTS CO INC                  970 WESTERN DR                                                                                                      INDIANAPOLIS      IN   46241‐1435
MOTKO, EUGENE R                      PO BOX 715                                                                                                          BAY CITY          MI   48707‐0715
MOTLACH, EDWARD S                    6516 FARRALONE AVE                                                                                                  WOODLAND HILLS    CA   91303‐2411
MOTLEY I I I, JOHN N                 1183 SUSSEX LN                                                                                                      FLINT             MI   48532‐2659
MOTLEY III, JOHN NARVELL             1183 SUSSEX LN                                                                                                      FLINT             MI   48532‐2659
MOTLEY JOHN H (ESTATE OF) (628268)   GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                                     EDWARDSVILLE      IL   62025‐0959
                                     ANTOGNOLI
MOTLEY JR, ADOLPH                    5615 LIGHTSPUN LN                                                                                                   COLUMBIA          MD   21045‐2522
MOTLEY JR, HENRY D                   2808 HILLCREST ST                                                                                                   LANSING           MI   48911‐2349
MOTLEY JR, JOHN N                    1152 REX AVE                                                                                                        FLINT             MI   48505‐1639
MOTLEY JR., JAMES L                  3009 CLEARSTREAM WAY                                                                                                CLAYTON           OH   45315‐8732
MOTLEY RICE LLC                      ATTY FOR ASBESTOS TORT CLAIMANTS     ATT: JEANETTE M. GILBERT, JOSEPH   28 BRIDGESIDE BLVD.                         MT. PLEASANT      SC   29464
                                                                          F. RICE, JOHN A. BADEN IV, ESQS

MOTLEY RICE LLC                      321 S. MAIN ST.                      STE. 200                                                                       PROVIDENCE        RI   02903‐7109
MOTLEY WALTER                        7349 E PINTO WAY                                                                                                    ORANGE            CA   92869‐4526
MOTLEY, ALBERT                       25 THATCHER AVE                                                                                                     BUFFALO           NY   14215‐2233
MOTLEY, ALBERT H                     6446 MEADOW CREEK DR                                                                                                DEXTER            MI   48130‐8578
MOTLEY, ALBERT T                     3901 RICHMOND ST                                                                                                    LANSING           MI   48911‐2419
MOTLEY, ALBERT TYRONE                3901 RICHMOND ST                                                                                                    LANSING           MI   48911‐2419
MOTLEY, ALBERTSTEEN                  2808 HILLCREST ST                                                                                                   LANSING           MI   48911‐2349
MOTLEY, ANTHONY F                    25225 GREENFIELD RD APT 416                                                                                         SOUTHFIELD        MI   48075
MOTLEY, BARBARA A                    3566 BURNS ST                                                                                                       INKSTER           MI   48141‐2014
MOTLEY, BENNY A                      4381 SUNNYMEAD AVE                                                                                                  BURTON            MI   48519‐1243
MOTLEY, BENNY ALBERT                 4381 SUNNYMEAD AVE                                                                                                  BURTON            MI   48519‐1243
MOTLEY, CARL E                       3518 MANCHESTER AVE                                                                                                 BALTIMORE         MD   21215‐5921
MOTLEY, CARMEL J                     700 HIGHLANDS GLEN DR                                                                                               SHALLOTTE         NC   28470‐4557
MOTLEY, CECIL J                      192 BUTLER AVE                       C/O EVELYN MOTLEY                                                              BUFFALO           NY   14208‐1619
MOTLEY, CHARLIE H                    5901 SALLY CT                                                                                                       FLINT             MI   48505‐2565
MOTLEY, CHARTRECE G                  3400 NONETTE DR                                                                                                     LANSING           MI   48911‐3365
MOTLEY, CHARTRECE GENEVA             3400 NONETTE DR                                                                                                     LANSING           MI   48911‐3365
MOTLEY, CLARISSA L                   16835 PARKSIDE ST                                                                                                   DETROIT           MI   48221‐3154
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Name                   Address1                       Address2            Address3         Address4         City           State Zip
MOTLEY, COLONEL J      3211 MARTHAROSE CT                                                                   FLINT           MI 48504‐1271
MOTLEY, CURTIS R       1441 CALVIN AVE                                                                      MUSKEGON        MI 49442‐4112
MOTLEY, CURTIS T       801 CAMPBELL AVE APT 26                                                              YPSILANTI       MI 48198‐3859
MOTLEY, D S            1007 E MAIN ST                                                                       MUNCIE          IN 47305‐2026
MOTLEY, DAVID K        135 W BUTLER ST                                                                      BAD AXE         MI 48413‐1002
MOTLEY, DAVID KEITH    135 W BUTLER ST                                                                      BAD AXE         MI 48413‐1538
MOTLEY, DEANNA A       2335 FLAGSTONE DR                                                                    FLUSHING        MI 48433‐2583
MOTLEY, DELORES        17310 HOLLY HILL DR                                                                  CLEVELAND       OH 44128‐2528
MOTLEY, DENNIS A       1326 W GENESEE ST                                                                    FLINT           MI 48504‐2612
MOTLEY, DENNIS AARON   1326 W GENESEE ST                                                                    FLINT           MI 48504‐2612
MOTLEY, DORIS A        2335 FLAGSTONE DR                                                                    FLUSHING        MI 48433‐2583
MOTLEY, DOVIE D        28478 ROSEWOOD ST                                                                    INKSTER         MI 48141‐1674
MOTLEY, DURLE C        2763 W 8 MILE RD                                                                     DETROIT         MI 48203‐1071
MOTLEY, DWIGHT S       1512 W HOME AVE                                                                      FLINT           MI 48505‐2531
MOTLEY, EDWARD J       478 RILEY ST                                                                         BUFFALO         NY 14208‐2115
MOTLEY, ELNORA O       161 N ORCHARD AVE                                                                    DAYTON          OH 45417‐2531
MOTLEY, GARY M         8121 DUNGARVIN DR                                                                    GRAND BLANC     MI 48439‐8165
MOTLEY, GEORGE S       161 NORTH ORCHARD ST                                                                 DAYTON          OH 45417‐2531
MOTLEY, GEORGE S       161 N ORCHARD AVE                                                                    DAYTON          OH 45417‐2531
MOTLEY, GERALD E       2838 WALMSLEY CIR                                                                    LAKE ORION      MI 48360‐1640
MOTLEY, GERALDINE      1122 ROSEDALE AVE                                                                    FLINT           MI 48505‐2926
MOTLEY, JAMES E        10209 E 95TH TER                                                                     KANSAS CITY     MO 64134‐2364
MOTLEY, JAMES L        1300 SANFORD DR                                                                      DAYTON          OH 45432‐1535
MOTLEY, JEROME         13500 STAHELIN AVE                                                                   DETROIT         MI 48223‐3526
MOTLEY, JOHN H         GOLDENBERG, MILLER, HELLER &   PO BOX 959                                            EDWARDSVILLE     IL 62025‐0959
                       ANTOGNOLI
MOTLEY, JUINETA S      9045 FIELDING ST                                                                     DETROIT        MI   48228‐1670
MOTLEY, KATHERINE      3261 WICKLOW CT APT 3                                                                SAGINAW        MI   48603‐7402
MOTLEY, KENNITH        116 N 23RD ST                                                                        SAGINAW        MI   48601‐1402
MOTLEY, KIMBERLY A     W8262 430TH AVE                                                                      ELLSWORTH      WI   54011‐4837
MOTLEY, LANE A         1011 BUSH RD                                                                         ABINGDON       MD   21009‐1235
MOTLEY, LARRY D        2335 FLAGSTONE DR                                                                    FLUSHING       MI   48433‐2583
MOTLEY, LARRY DEAN     2335 FLAGSTONE DR                                                                    FLUSHING       MI   48433‐2583
MOTLEY, LARRY L        4057 FOX ST                                                                          INKSTER        MI   48141‐2722
MOTLEY, LESHAWN S      414 WATERFRONT PL                                                                    DAYTON         OH   45458‐3870
MOTLEY, LESIA M        154 LISA DR                                                                          VERONA         PA   15147‐1539
MOTLEY, LILLIE B       5515 LESLIE DR                                                                       FLINT          MI   48504‐7041
MOTLEY, LOIS F.        1500 N GRAND OAKS AVE                                                                PASADENA       CA   91104‐1910
MOTLEY, LONNIE         1007 E MAIN ST                                                                       MUNCIE         IN   47305‐2026
MOTLEY, MARTESS L      3566 BURNS ST                                                                        INKSTER        MI   48141‐2014
MOTLEY, MICHAEL A      50322 MARGARET AVE                                                                   MACOMB         MI   48044‐6340
MOTLEY, PATRICK I      W8262 430TH AVE                                                                      ELLSWORTH      WI   54011‐4837
MOTLEY, RITA M         6446 MEADOW CREEK DR                                                                 DEXTER         MI   48130‐8578
MOTLEY, ROBERT C       6004 NW 68TH ST. TERRACE                                                             KANSAS CITY    MO   64151
MOTLEY, ROBERT L       PO BOX 52                                                                            BRONWOOD       GA   39826‐0052
MOTLEY, RONALD E       3534 WEBSTER ST                                                                      MOORE          OK   73160‐1092
MOTLEY, ROSALYN        18730 VAN HORN RD APT 104                                                            WOODHAVEN      MI   48183‐3856
MOTLEY, ROSEMARY       1478 MARK ST                                                                         FLINT          MI   48507‐5530
MOTLEY, SAMUEL J       5515 LESLIE DR                                                                       FLINT          MI   48504‐7041
MOTLEY, SANDRA M       11635 DUCHESS ST                                                                     DETROIT        MI   48224‐1591
MOTLEY, SHARON         PO BOX 9423                                                                          WYOMING        MI   49509‐0423
MOTLEY, THEOPLIS       1122 ROSEDALE AVE                                                                    FLINT          MI   48505‐2926
                                 09-50026-mg            Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                             Address1                       Address2                   Address3   Address4               City              State Zip
MOTLEY, TIMMOTHY C               1531 LITTLE FALLS DRIVE                                                                     DAYTON             OH 45458‐9706
MOTLEY, TRACEY M                 APT 117                        601 WEST WENGER ROAD                                         ENGLEWOOD          OH 45322‐1952
MOTLEY, WALTER L                 207 15TH ST S                                                                               CLANTON            AL 35045‐3229
MOTLEY, WALTER N                 2229 TEEL AVE                                                                               LANSING            MI 48910‐3166
MOTLEY, WILLIAM D                1600 FRANKE DR APT 206                                                                      MT PLEASANT        SC 29464‐3983
MOTLEY, WILLIE V                 5628 S ORR ROAD                                                                             ST CHARLES         MI 48655‐9568
MOTLEY, WILLIE V                 5628 S ORR RD                                                                               SAINT CHARLES      MI 48655‐9568
MOTLOCH, MICHAEL J               4420 QUEENS WAY                                                                             BLOOMFIELD         MI 48304‐3051
MOTLOW STATE COMMUNITY COLLEGE   PO BOX 8500                    BUSINESS OFFICE DEPT 180                                     LYNCHBURG          TN 37352‐8500
MOTO RESEARCH                    TOM SCHMITTER                  28 W 27TH ST RM 901                                          NEW YORK           NY 10001‐6929
MOTO TRON CORPORATION            ATTN ROSEMARY BRUNEAU          1000 E DRAKE RD                                              FORT COLLINS       CO 80525‐1824
MOTO, BILLY C                    631 RAINBOW BLVD                                                                            ANDERSON           IN 46012‐1417
MOTOFUJI, MARILYNN M             424 TALON REACH CT                                                                          ROSEVILLE          CA 95747‐7107
MOTOLIGIN, RICHARD A             70535 ROMEO ORCHARD DR                                                                      BRUCE TWP          MI 48065‐5328
MOTOMAN INC                      805 LIBERTY LN                                                                              WEST CARROLLTON    OH 45449‐2158
MOTON JR, ANTIONE DEWITT         9310 VAUGHAN ST                                                                             DETROIT            MI 48228‐1684
MOTON JR, JOHN T                 526 LISCUM DR                                                                               DAYTON             OH 45427‐2703
MOTON, ANTIONE D                 9310 VAUGHAN ST                                                                             DETROIT            MI 48228‐1684
MOTON, BRENDA J                  2337 WELLINGTON CIR                                                                         LITHONIA           GA 30058‐8964
MOTON, EUGENE                    3374 WINDSOR CASTLE CT                                                                      DECATUR            GA 30034‐5359
MOTON, GERALD W                  PO BOX 27195                                                                                DETROIT            MI 48227‐0195
MOTON, IMRAN Z                   5291 FALLING LEAF DR                                                                        ANN ARBOR          MI 48108‐9122
MOTON, JAMES L                   3245 MONTANA AVE                                                                            FLINT              MI 48506‐2552
MOTON, JAMES L                   1201 TANGLEWOOD LANE                                                                        BURTON             MI 48529‐2229
MOTON, JOSEPH                    27024 NOTRE DAME ST                                                                         INKSTER            MI 48141‐2534
MOTON, JUANITA                   PO BOX 39024                                                                                REDFORD            MI 48239‐0024
MOTON, JUDY M                    3245 MONTANA AVE                                                                            FLINT              MI 48506
MOTON, KEITH L                   16840 TELEGRAPH RD APT 37                                                                   DETROIT            MI 48219‐4903
MOTON, LITTLE H                  18250 WARWICK ST                                                                            DETROIT            MI 48219‐2844
MOTON, LITTLE HENRY              18250 WARWICK ST                                                                            DETROIT            MI 48219‐2844
MOTON, MICHAEL L                 3035 SAINT CLAIR ST                                                                         DETROIT            MI 48214‐5402
MOTON, OLLIE B                   32 ERSKINE AVE                                                                              BUFFALO            NY 14215‐3320
MOTON, RAYMOND S                 760 BRIDGEPORT AVE APT 201                                                                  STREETSBORO        OH 44241‐4050
MOTON, SHIRLEY A                 27727 MICHIGAN AVE APT 404     THOMPSON TOWERS APTS                                         INKSTER            MI 48141‐3624
MOTOR BRAKE & WHEEL SERVICE      124 W DE LA GUERRA ST                                                                       SANTA BARBARA      CA 93101‐3226
MOTOR CAFE                       4745 MELROSE ST                                                                             SAGINAW            MI 48601‐6926
MOTOR CARGO                      845 W CENTER ST                                                                             N SALT LAKE        UT 84054‐2916
MOTOR CARGO INC                  15100 GODDARD ROAD                                                                          ALLEN PARK         MI 48101
MOTOR CARRIER SERVICE INC        815 LEMOYNE RD                                                                              NORTHWOOD          OH 43619‐1815
MOTOR CARRIER SERVICE INC        JOHN FRITZIUS                  815 LEMOYNE RD                                               NORTHWOOD          OH 43619‐1815
MOTOR CASTINGS COMPANY           1323 S 65TH ST                                                                              MILWAUKEE          WI 53214‐3251
MOTOR CITY ANTIQUES              ATTN: MAURICE GRACE            3650 MICHIGAN AVE                                            DETROIT            MI 48216‐1009
MOTOR CITY AUTO INC              20951 32 MILE RD                                                                            ARMADA             MI 48005‐4302
MOTOR CITY BOWL                  C/O FORD FIELD EXECUTIVE       2000 BRUSH ST STE 200      OFFICES                           DETROIT            MI 48226‐2251
MOTOR CITY BUICK PONTIAC         3101 PACHECO RD                                                                             BAKERSFIELD        CA 93313‐3214
MOTOR CITY BUICK PONTIAC GMC                                                                                                 BAKERSFIELD        CA 93313‐3214
MOTOR CITY BUICK PONTIAC GMC     3101 PACHECO RD                                                                             BAKERSFIELD        CA 93313‐3214
MOTOR CITY CAR CLUB              500 ROSSLAND RD WEST                                                 OSHAWA CANADA ON L1J
                                                                                                      8L6 CANADA
MOTOR CITY CREATIVE              1495 MAPLE WAY DR STE 800                                                                   TROY              MI 48084‐7008
MOTOR CITY DANCE FACTORY         ATTN: CAMILLE JOHNSON          29350 SOUTHFIELD RD        STE 30                            SOUTHFIELD        MI 48076‐2057
                                      09-50026-mg          Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
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Name                                 Address1                             Address2                       Address3                 Address4                City           State Zip
MOTOR CITY ELECTRIC CO               ATTN: CORPORATE OFFICER/AUTHORIZED   9440 GRINNELL ST                                                                DETROIT         MI 48213‐1151
                                     AGENT
MOTOR CITY ELECTRIC CO               ONE WASHINGTON BLVD STE 1045                                                                                         DETROIT        MI   48226
MOTOR CITY ELECTRIC CO               9440 GRINNELL ST                                                                                                     DETROIT        MI   48213‐1151
MOTOR CITY ELECTRIC CO               9440 GRINNELL                                                                                                        DETROIT        MI   48213
MOTOR CITY ELECTRIC CO (AS           9440 GRINNELL                                                                                                        DETROIT        MI   48213‐1151
SUBCONTRACTOR TO IDEAL CONTRACTING
LLC)
MOTOR CITY ELECTRIC CO (AS           ATTN: CORPORATE OFFICER/AUTHORIZED   9440 GRINNELL ST                                                                DETROIT        MI 48213‐1151
SUBCONTRACTOR TO IDEAL CONTRACTING AGENT
LLC)
MOTOR CITY ELECTRIC TECHNOLOGI       9440 GRINNELL ST                                                                                                     DETROIT        MI 48213‐1151
MOTOR CITY ELECTRIC TECHNOLOGIES INC 9440 GRINNELL ST                                                                                                     DETROIT        MI 48213‐1151

MOTOR CITY ELECTRIC TECHNOLOGIES INC 9440 GRINNELL                                                                                                        DETROIT        MI 48213

MOTOR CITY ELECTRIC TECHNOLOGIES INC ATTN: CORPORATE OFFICER/AUTHORIZED   9440 GRINNELL ST                                                                DETROIT        MI 48213‐1151
                                     AGENT
MOTOR CITY ELECTRIC TECHNOLOGIES INC (AS SUBCONTRACTOR TO EXTREME         MOTOR CITY ELECTRIC            ATTN: CORPORATE          944 GRINNELL            DETROIT        MI 48213
                                     ENGINEERING)                                                        OFFICER/AUTHORIZED AGENT

MOTOR CITY EXPRESS                   4005 W FORT ST                                                                                                       DETROIT        MI   48209‐3223
MOTOR CITY EXPRESS                   DARNELL MILLER                       4005 W FORT ST                                                                  DETROIT        MI   48209‐3223
MOTOR CITY FAS/HZLPK                 1600 E 10 MILE RD                    P.O. BOX 219                                                                    HAZEL PARK     MI   48030‐1208
MOTOR CITY FASTENER INC              1600 E 10 MILE RD                    PO BOX 219                                                                      HAZEL PARK     MI   48030‐1208
MOTOR CITY FASTENER INC              BOB PUSKAS, JR.                      1600 E. TEN MILE RD./POB 219                                                    HAZEL PARK     MI   48030
MOTOR CITY FASTENER INC              1600 E 10 MILE RD                                                                                                    HAZEL PARK     MI   48030‐1208
MOTOR CITY FASTENERS, INC.           BOB PUSKAS, JR.                      1600 E. TEN MILE RD./POB 219                                                    HAZEL PARK     MI   48030
MOTOR CITY FORD TRUCK INC            ATTN: BILL PETERS                    39300 SCHOOLCRAFT RD                                                            LIVONIA        MI   48150‐5035
MOTOR CITY INDUSTRY INC              8955 THADDEUS ST                                                                                                     DETROIT        MI   48209‐2617
MOTOR CITY INDUSTRY INC              CHUCK WOODS                          8955 THADDEUS ST                                                                KNOXVILLE      TN   37914
MOTOR CITY INDUSTRY, INC.            CHUCK WOODS                          8955 THADDEUS ST                                                                KNOXVILLE      TN   37914
MOTOR CITY INTERMODAL DISRIBUTION    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 673167                                                                   DETROIT        MI   48267‐3167
                                     AGENT
MOTOR CITY MARKING                   PO BOX 2517                                                                                                          DETROIT        MI   48202‐0517
MOTOR CITY SALES & SERVICE           RICHARD STRICKLEN                    3101 PACHECO RD                                                                 BAKERSFIELD    CA   93313‐3214
MOTOR CITY STAMPING                  SHEILA KERR                          47783 GRATIOT AVE                                                               CHESTERFIELD   MI   48051‐2721
MOTOR CITY STAMPING                  STEVE SHAW                           47783 GRATIOT AVE                                                               CHESTERFIELD   MI   48051‐2721
MOTOR CITY STAMPING INC              47783 GRATIOT AVE                                                                                                    CHESTERFIELD   MI   48051‐2721
MOTOR CITY STAMPING,INC.             NANCY HAWKINSON                      47783 NORTH GRATIOT                                     MISSISSAUGA ON CANADA
MOTOR CITY STAMPINGS                 47783 N. GRATIOT                                                                                                     CHESTERFIELD   MI 48051
MOTOR CITY STAMPINGS                 ATTN: CORPORATE OFFICER/AUTHORIZED   47783 GRATIOT AVE                                                               CHESTERFIELD   MI 48051‐2721
                                     AGENT
MOTOR CITY STAMPINGS INC             NANCY HAWKINSON                      47783 NORTH GRATIOT                                     MISSISSAUGA ON CANADA
MOTOR CITY STAMPINGS INC             SHEILA KERR                          47783 GRATIOT AVE                                                               CHESTERFIELD   MI   48051‐2721
MOTOR CITY STAMPINGS INC             STEVE SHAW                           47783 GRATIOT AVE                                                               CHESTERFIELD   MI   48051‐2721
MOTOR CITY STAMPINGS INC             47783 GRATIOT AVE                                                                                                    CHESTERFIELD   MI   48051‐2721
MOTOR CITY STMP/CHST                 47783 GRATIOT AVE                                                                                                    CHESTERFIELD   MI   48051‐2721
MOTOR COMPANY, THE
MOTOR DIMENSIONS INC                 133 E HALTERN AVE                                                                                                    GLENDORA       CA 91740‐4490
MOTOR DIMENSIONS INC                 ATTN: CORPORATE OFFICER/AUTHORIZED   133 E HALTERN AVE                                                               GLENDORA       CA 91740‐4490
                                     AGENT
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Name                                Address1                              Address2                        Address3              Address4                City            State Zip
MOTOR ENTERPRISES, INC.             INTERCOMPANY
MOTOR HOLDINGS (BOTSWANA) PTY LTD   1284 OLD LOBATSE                                                                            GARORONE BOTSWANA

MOTOR HOLDINGS DIVISION BRANCH      515 MARIN ST                                                                                                        THOUSAND OAKS   CA    91360‐4259
MOTOR INFORMATION SYSTEMS           TODD LADSON                           1301 W LONG LAKE RD STE 300                                                   TROY            MI    48098‐6349
MOTOR INFORMATION SYSTEMS           HEARST BUSINESS MEDIA                 1301 W LONG LAKE RD             STE 300                                       TROY            MI    48098
MOTOR INN COMPANY                   2114 E MAIN ST                                                                                                      ALBERT LEA      MN    56007‐3919
MOTOR INN COMPANY                   DAVID CHRISTENSEN                     2114 E MAIN ST                                                                ALBERT LEA      MN    56007‐3919
MOTOR INN OF LE MARS, INC.          STEPHEN OHM                           205 5TH AVE NW                                                                LE MARS         IA    51031‐3101
MOTOR INN OF LE MARS, INC.          205 5TH AVE NW                                                                                                      LE MARS         IA    51031‐3101
MOTOR INN OF SPENCER, INC.          900 S GRAND AVE                                                                                                     SPENCER         IA    51301‐5716
MOTOR INN OF SPENCER, INC.          MARK HEYWOOD                          900 S GRAND AVE                                                               SPENCER         IA    51301‐5716
MOTOR INN OF WEBSTER CITY, LLC      MARK HEYWOOD                          129 2ND ST                                                                    WEBSTER CITY    IA    50595‐1601
MOTOR INN OF WEBSTER CITY, LLC      129 2ND ST                                                                                                          WEBSTER CITY    IA    50595‐1601
MOTOR INN, INC.                     114 S 6TH ST                                                                                                        ESTHERVILLE     IA    51334‐2326
MOTOR INN, INC.                     MARK HEYWOOD                          114 S 6TH ST                                                                  ESTHERVILLE     IA    51334‐2326
MOTOR INSURANCE CORP                ATTN JENNIFER MCCOY                   PO BOX 5178                                                                   SOUTHFIELD      MI    48086‐5178
MOTOR INSURANCE CORPORATION         PO BOX 6543                                                                                                         CHICAGO         IL    60680‐6543
MOTOR MART AUTO PARTS               512 SW WHITE RD                                                                                                     SAN ANTONIO     TX    78260
MOTOR MART AUTO PARTS               512 S WW WHITE RD                                                                                                   SAN ANTONIO     TX    78220‐1731
MOTOR MART AUTO PARTS                                                     512 S WW WHITE RD                                                                             TX    78220
MOTOR MART SVC CTR                  121 E MONTCALM ST                                                                                                   PONTIAC         MI    48342‐1354
MOTOR PARTS CREDIT UNION            ACCT OF OSIE MOORE                    3000 TOWN CENTER STE 220                                                      SOUTHFIELD      MI    48075
MOTOR PARTS DISTRIBUTOR                                                   710 10TH ST                                                                                   CA    95354
MOTOR POOL DIV                      601 W MCCARTY ST # 125                                                                                              INDIANAPOLIS    IN    46225‐1214
MOTOR PRESS GUILD                   26910 THE OLD ROAD #205                                                                                             VALENCIA        CA    91381
MOTOR QUEST CHRYSLER JEEP           3500 PAGE AVE                                                                                                       JACKSON         MI    49203‐2320
MOTOR SALES & SERVICE CO., LTD.     407                                                                                         ST. GEORGE'S GRENADA
MOTOR SERVICE                       538 W JACKSON BLVD                                                                                                  SPEARFISH       SD    57783‐1909
MOTOR SERVICE, INC.                 JOHN CASEY                            250 WASHINGTON ST                                                             AUBURN          MA    01501‐3225
MOTOR SPORTS TRAINIG CENTER INC     604 PERFORMANCE RD                                                                                                  MOORESVILLE     NC    28115‐9595
MOTOR TECH                          268 CLOVE RD                                                                                                        STATEN ISLAND   NY    10310‐1907
MOTOR TECH SERVICES                 9902 112 AVE                                                                                GRANDE PRAIRIE AB T8V
                                                                                                                                6V7 CANADA
MOTOR TREND AUTO SHOWS              ATTN HEIDI ETTER                  6375 FLANK DR STE 100                                                             HARRISBURG       PA 17112‐4600
MOTOR TREND AUTO SHOWS              6375 FLANK DR STE 100                                                                                               HARRISBURG       PA 17711
MOTOR TREND AUTO SHOWS, INC.        MANAGEMENT COMPANY FOR 2009 FIRST MR. STEVE FREEMAN                   6405 FLANK DRIVE,                             HARRISBURG       PA 17112
                                    HAWAIIAN INTERNATIONAL AUTO SHOW                                      HARRISBURG

MOTOR TREND AUTO SHOWS, LLC         MANAGEMENT COMPANY FOR 2009 NEW MR. STEVE FREEMAN                     6405 FLANK DRIVE,                             HARRISBURG       PA 17112
                                    MEXICO INTERNATIONAL AUTO SHOW                                        HARRISBURG

MOTOR VEHICLE ADMINISTRATION        BUSINESS LICENSING & CONSUMER          RENWALS ONLY‐ROOM 146          6601 RITCHIE HWY NE                           GLEN BURNIE     MD 21062‐0001
MOTOR VEHICLE COMMISSION            105 SEA HERO ROAD SUITE 1                                                                                           FRANKFORT       KY 40601
MOTOR VEHICLE COMMISSION            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 105 SEA HERO ROAD SUITE 1                                                    FRANKFORT       KY 40601

MOTOR VEHICLE DEPT                  ATTN: RANDOLPH HOWARD                 12000 SNOW RD # 10                                                            CLEVELAND       OH 44130‐9314
MOTOR VEHICLE DIVISION              DEALER SERVICES BUREAU                505 MARQUETTE AVE NW STE 1501                                                 ALBUQUERQUE     NM 87108‐2178

MOTOR VEHICLE DIVISION ‐ TEXAS      PO BOX 13044                                                                                                        AUSTIN           TX   78711‐3044
MOTOR VEHICLE INDUSTRY BOARD        DCCA, PVL, LICENSING BRANCH                                                                                         HONOLULU         HI   96801
MOTOR VEHICLE INDUSTRY BOARD        DCCA, PVL, LICENSING BRANCH           335 MERCHANT STREET                                                           HONOLULU         HI   96801
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Name                               Address1                               Address2                        Address3   Address4                  City                State Zip
MOTOR VEHICLE INDUSTRY LICENSING   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 301 CENTENNIAL MALL SOUTH, P.O.                                      LINCOLN              NE 68509
BOARD                                                                     BOX 94697
MOTOR VEHICLE INDUSTRY LICENSING   301 CENTENNIAL MALL SOUTH, P.O. BOX                                                                         LINCOLN             NE 68509
BOARD                              94697
MOTOR VEHICLE MANAGEMENT           2200 CHARLOTTE AVE                                                                                          NASHVILLE           TN   37243‐0001
MOTOR VEHICLE REGISTRATIONS        6601 RITCHIE HWY NE                                                                                         GLEN BURNIE         MD   21062‐1000
MOTOR VEHICLES BUREAU              12000 SNOW RD # 16                                                                                          CLEVELAND           OH   44130‐9314
MOTOR WERKS OF ORLAND PARK         17215 WOLF RD                                                                                               ORLAND PARK         IL   60467‐5352
MOTOR WERKS PARTNERS L.P.          206 N COOK ST                                                                                               BARRINGTON          IL   60010‐3226
MOTOR WERKS PARTNERS L.P.          PAUL TAMRAZ                            206 N COOK ST                                                        BARRINGTON          IL   60010‐3226
MOTOR WERKS SAAB                   TAMRAZ, PAUL D                         206 N COOK ST                                                        BARRINGTON          IL   60010‐3226
MOTOR WERKS SAAB                   206 N COOK ST                                                                                               BARRINGTON          IL   60010‐3226
MOTORAD OF AMERICA                 6292 WALMORE RD                                                                                             NIAGARA FALLS       NY   14304‐5703
MOTORAMA/FARMINGTON                33001 NINE MILE ROAD                                                                                        FARMINGTON          MI   48336
MOTORAMBAR S.A.                    1381                                                                              SANTO DOMINGO
                                                                                                                     DOMINICAN REPUBLIC
MOTORAUTO, S.L.                    AVDA. SANTA COLOMA 52‐54                                                          ANDORRA LA VIEJA
                                                                                                                     ANDORRA
MOTORBOOKS INTERNATIONAL           729 PROSPECT AVE                      PO BOX 1                                                              OSCEOLA             WI   54020‐8155
MOTORCAR ALTERNATIVES              191 LONDONDERRY TPKE                                                                                        HOOKSETT            NH   03106‐1938
MOTORCAR PARTS AMERICA             2929 CALIFORNIA ST                                                                                          TORRANCE            CA   90503‐3914
MOTORCAR PARTS OF AMERICA          2929 CALIFORNIA ST                                                                                          TORRANCE            CA   90503‐3914
MOTORCAR PARTS OF AMERICA INC      SEAN GUERIN X5349                     2929 CALIFORNIA STREET                                                JONESVILLE          MI   49250
MOTORCAR PARTS OF AMERICA, INC     SEAN GUERIN X5349                     2929 CALIFORNIA STREET                                                JONESVILLE          MI   49250
MOTORCAR/LAVERGNE                  3031 CENTRE POINTE DR                                                                                       LA VERGNE           TN   37086‐4921
MOTORCAR/TORRANCE                  2929 CALIFORNIA ST                                                                                          TORRANCE            CA   90503‐3914
MOTORCARS PONTIAC‐OLDSMOBILE INC   3077 MAYFIELD RD                                                                                            CLEVELAND HEIGHTS   OH   44118‐1720

MOTORCENTRUM GJESTVANG             KOTTBYGATAN, 4                                                                    STOCKHOLM SWEDEN
AKTIEBOLAG
MOTORCENTRUM I KRAMFORS AB         HOGSTAVAGEN, 3                                                                    KRAMFORS SWEDEN
MOTORCENTRUM I SUNDSVALL AB        KOLVAGEN, 17                                                                      SUNDSVALL S‐852 SWEDEN
MOTORCENTRUM LEBO AB               ASKIMS VERKSTADSVAG, 1                                                            ASKIM 43600 SWEDEN
MOTORCITY CASINO HOTEL             ATTN ACCOUNTING DEPARTMENT            2901 GRAND RIVER AVE                                                  DETROIT             MI 48201‐2907
MOTORCYCLE MECHANICS INSTITUTE     CLINTON HARLEY CORPORATION            9751 DELEGATES DR                                                     ORLANDO             FL 32837‐8353
MOTORDETAL KONOTOP LLC             64 VYROVSKAYA STR                                                                 KONOTOP SUMY REGION
                                                                                                                     UA 41600 UKRAINE
MOTORED S.A.                       AV. REPUBLICA DE PANAMA NO. 3852                                                  LIMA PERU
MOTORES DE ANGOLA, SARL            2622C                                                                             LUANDA ANGOLA
MOTORES DE TIJUANA SA DE CV        CARRETARA A PIEDRAS NEGRAS                                                        RAMOS ARIZPE MEXICO EM
                                                                                                                     00000 MEXICO
MOTORES DE TIJUANA, S.A. DE C.V.   BOULEVARD AGUA CALIENTE NO                                                        TIJUANA EM 22000 MEXICO
MOTORES Y VEHICULOS ORENSE, S.A.   CTRA. DE MADRID, KM. 234                                                          SAN CIPRIAN DE VINAS‐EL
                                                                                                                     PINE 32005 SPAIN
MOTORESEARCH/TROY                  2520 INDUSTRIAL ROW DR                                                                                      TROY                MI 48084‐7035
MOTORING SERVICES                  8920 W VICTORIA AVE                                                                                         KENNEWICK           WA 99336‐7163
MOTORIST MUTUAL INSURANCE CO       BARNETT PORTER DUNN & TOBIN           2 PARAGON CENTRE SUITE 250 6040                                       LOUISVILLE          KY 40205
                                                                         DUTCHMANS LANE
MOTORISTS MUTUAL INSURANCE         471 E BROAD ST                                                                                              COLUMBUS            OH 43215‐3852
MOTORISTS MUTUAL INSURANCE         CLINE MICHAEL R LAW OFFICES           323 MORRISON BUILDING , 815                                           CHARLESTON          WV 25301
COMPANY                                                                  QUARRIER STREET
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MOTORISTS MUTUAL INSURANCE       ZEEHANDELAR STEVEN J                  471 E BROAD ST FL 18                                                              COLUMBUS            OH 43215‐3842
COMPANY
MOTORISTS MUTUAL INSURANCE       CHEEK & ZEEHANDELAR                   PO BOX 15069                                                                      COLUMBUS           OH 43215‐0069
COMPANY
MOTORISTS MUTUAL INSURANCE       MIKE LISI                             471 E BROAD ST                                                                    COLUMBUS           OH 43215‐3852
COMPANY
MOTORISTS MUTUAL INSURANCE       ZEEHANDELAR, SABATINO & ASSOCIATES,   471 EAST BROAD STREET SUITE 1200                                                  COLUMBUS           OH 43215
COMPANY                          LLC
MOTORLEASE CORP                  1506 NEW BERLIN AVE                                                                                                     FARMINGTON          CT   06032
MOTORLEASE CORPORATION           JACK LEARY                            1506 NEW BRITAIN AVE                                                              FARMINGTON          CT   06032‐3126
MOTORMAX TOY FACTORY LTD.
MOTOROLA                         EMI CHE                               C/O AUTOCRAFT ELECTRONICS          1612 HUTTON DR                                 BYRON CENTER       MI    49315
MOTOROLA                         1313 ALGONQUIN RD                                                                                                       SCHAUMBURG         IL    60196‐4041
MOTOROLA                         1301 ALGONQUIN                                                                                                          SCHAUMBURG         IL    60196‐4041
MOTOROLA                         1791 HARMON RD                                                                                                          AUBURN HILLS       MI    48326‐1577
MOTOROLA C & E INC               ATTN ROB LANGFELD                     1307 E ALGONQUIN RD                                                               SCHAUMBURG         IL    60196‐4041
MOTOROLA CANADA LTD              PO BOX 5600 UNIT 80651                STATION MAIN                                               BURLINGTON CANADA ON
                                                                                                                                  L7R 4X3 CANADA
MOTOROLA CANADA LTD              1307 E ALGONQUIN RD                                                                                                     SCHAUMBURG          IL   60196‐4041
MOTOROLA CANADA LTD              8133 WARDEN AVE                                                                                  MARKHAM ON L6G 1B3
                                                                                                                                  CANADA
MOTOROLA COMMUNICATIONS & ELEC   PO BOX 2492                                                                                                             SAGINAW            MI 48605‐2492

MOTOROLA COMMUNICATIONS          ATTN TERESA TRAGER                    1301 E ALGONQUIN RD STE A2                                                        SCHAUMBERG          IL   60196
ENTERPRISE
MOTOROLA DE NOGALES              PROLG RUIZ CORTINEZ CALLE SAN         PATRICIO LOTE #6 PARQ IND SAN                              NOGALES SONORA SO
                                                                       CARLO                                                      84090 MEXICO
MOTOROLA INC
MOTOROLA INC                     1313 ALGONQUIN RD                                                                                                       SCHAUMBURG         IL    60196‐4041
MOTOROLA INC                     33533 W 12 MILE RD                    STE 134                                                                           FARMINGTN HLS      MI    48331‐5634
MOTOROLA INC                     600 N US HIGHWAY 45                                                                                                     LIBERTYVILLE       IL    60048‐1286
MOTOROLA INC                     EMI CHE                               C/O AUTOCRAFT ELECTRONICS          1612 HUTTON DR                                 BYRON CENTER       MI    49315
MOTOROLA INC                     PO BOX 2492                                                                                                             SAGINAW            MI    48605‐2492
MOTOROLA INC                     PROLG RUIZ CORTINEZ CALLE SAN         PATRICIO LOTE #6 PARQ IND SAN                              NOGALES SONORA SO
                                                                       CARLO                                                      84090 MEXICO
MOTOROLA INC                     MOTOROLA PCS INTERNATIONAL            ATT JEN THOMPSON STE 6045                                                         CHICAGO             IL   60675‐0001
MOTOROLA INC                     1307 E ALGONQUIN RD                                                                                                     SCHAUMBURG          IL   60196‐4041
MOTOROLA INC                     1303 E ALGONQUIN RD MOTOROLA CTR                                                                                        SCHAUMBURG          IL

MOTOROLA MOBILE DEVICES          ATTN JOANN STERETT MD AS320           600 N US HIGHWAY 45                MOTOROLA INC CELLULAR                          LIBERTYVILLE       IL    60048‐1286
MOTOROLA, INC.                   33533 W 12 MILE RD                    STE 134                                                                           FARMINGTN HLS      MI    48331‐5634
MOTOROLA, INC.                   1030 E ALGONQUIN RD                                                                                                     SCHAUMBURG         IL    60173
MOTOROLA, INC.                   BRAD BACON                            611 JAMISON RD                                                                    ELMA               NY    14059‐9599
MOTOROLA, INC.                   BRAD BACON                            611 JAMISON RD.                                                                   DOVER              NH    03820
MOTOROLA, INC.                   37101 CORPORATE DR                                                                                                      FARMINGTON HILLS   MI    48331‐3541
MOTOROLA, INC.                   JUDY BAXTER                           1301 E ALGONQUIN RD FL ROAD‐5TH                                                   SCHAUMBURG         IL    60196‐4041

MOTOROLA, INC. ($AE AND $BB)     JAMES GLASSMAN                        37101 CORPORATE DR                                                                FARMINGTON HILLS   MI    48331‐3541
MOTOROLA, INC. ($AE AND $BB)     JAMES GLASSMAN                        37101 CORPORATE DR                                                                FARMINGTON HILLS   MI    48331‐3541
MOTOROLA/FARM HILLS              4000 COMMERCIAL AVE                                                                                                     NORTHBROOK         IL    60062‐1829
MOTOROLA/FARM HILLS              611 JAMISON RD                                                                                                          ELMA               NY    14059‐9566
MOTOROLA/FARM HILLS              1791 HARMON RD                                                                                                          AUBURN HILLS       MI    48326‐1577
                                     09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                                       Exhibit B
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Name                                Address1                             Address2                          Address3                      Address4               City              State Zip
MOTOROLA/FARM HILLS                 PROLG RUIZ CORTINEZ CALLE SAN        PATRICIO LOTE #6 PARQ IND SAN                                   NOGALES SONORA MX
                                                                                                                                         84090 MEXICO
MOTOROLA/FARM HILLS                 1840 ENTERPRISE DR                                                                                                          ROCHESTER HILLS    MI 48309‐3801
MOTOROLA/FARM HILLS                 3740 N AUSTIN ST                     AUTOMOTIVE AND INDUSTRIAL GRPS                                                         SEGUIN             TX 78155‐7359

MOTOROLA/SAGINAW                    PO BOX 2492                                                                                                                 SAGINAW           MI    48605‐2492
MOTOROLA/SOUTHFIELD                 26211 CENTRAL PARK BOULEVARD         SUITE 110                                                                              SOUTHFIELD        MI    48076
MOTOROLA/WHITMORE LA                8984 POSEY DR                                                                                                               WHITMORE LAKE     MI    48189‐9479
MOTORPLEX                           23933 SE 264TH ST                                                                                                           MAPLE VALLEY      WA    98038‐5841
MOTORS & COMPRESSORS INC            7192 ROSE AVE                                                                                                               ORLANDO           FL    32810‐3413
MOTORS CARS & LORRIES, LTD.         9205 BERGER RD                                                                                                              COLUMBIA          MD    21046‐1601
MOTORS FLEET                        1715 ASBURY AVE                                                                                                             ASBURY PARK       NJ    07712‐6301
MOTORS HOLDING DIVISION             ATTN: MOTORS HOLDING DIVISION        387 SHUMAN BLVD STE 205W                                                               NAPERVILLE        IL    60563‐8565
                                    BRANCH MANGER
MOTORS HOLDING DIVISION, GENERAL    387 SHUMAN BLVD, SUITE 240                                                                                                  NAPERVILLE         IL   60563
MOTORS CORPORATION
MOTORS INS/2 265                    3044 W. GRAND BOULIVARD 2‐265                                                                                               DETROIT            MI 48202
MOTORS INSURANCE                    PO BOX 660168                                                                                                               DALLAS             TX 75266‐0168
MOTORS INSURANCE COMPANY            ATTN: CORPORATE OFFICER/AUTHORIZED   300 GALLERIA OFFICENTRE STE 200                                                        SOUTHFIELD         MI 48034‐8461
                                    AGENT
MOTORS INSURANCE CORP               300 GALLARIA OFFICE CTR SUITE 200                                                                                           SOUTHFIELD         MI 48034
MOTORS INSURANCE CORP               300 GALLERIA OFFICENTRE STE 200                                                                                             SOUTHFIELD         MI 48034‐8461
MOTORS INSURANCE CORP               ATTN FINANCIAL                       PO BOX 5157                                                                            SOUTHFIELD         MI 48086‐5157
MOTORS INSURANCE CORP               1420 BLAIR PLACE STE 200                                                                             GLOUCESTER CANADA ON
                                                                                                                                         K1J 9L8 CANADA
MOTORS INSURANCE CORP               8500 LESLIE ST STE 400                                                                               THORNHILL ON L3T 7M8
                                                                                                                                         CANADA
MOTORS INSURANCE CORP (MIC) P.O.#
GMS13580
MOTORS INSURANCE CORP.              3044 W GRAND BLVD M/C482‐304‐432                                                                                            DETROIT            MI 48202
MOTORS INSURANCE CORPORATION        MIC PROPERTY & CASUALTY CORP         300 GALLERIA OFFICENTRE STE 200                                                        SOUTHFIELD         MI 48034‐8461

MOTORS INSURANCE CORPORATION        3044 W GRAND BLVD A585H                                                                                                     DETROIT           MI    48202
MOTORS INSURANCE CORPORATION        6303 IVY LN STE 310                                                                                                         GREENBELT         MD    20770‐6319
MOTORS INSURANCE CORPORATION        300 GALLERIA OFFICENTRE STE 200                                                                                             SOUTHFIELD        MI    48034‐8461
MOTORS INSURANCE CORPORATION        26777 CENTRAL PARK BLVD.             SUITE 300 SOUTH                                                                        SOUTHFIELD        MI    48076
MOTORS INSURANCE CORPORATION        1225 W WASHINGTON ST STE 400                                                                                                TEMPE             AZ    85281‐1240
(SATURN)
MOTORS INSURANCE CORPORATION AND    MIC PROPERTY AND CASUALTY INSURANCE JOE FALIK, GENERAL COUNSEL         300 GALLERIA OFFICENTRE STE                          SOUTHFIELD         MI 48034‐8461
                                    COMPANY                                                                200
MOTORS INSURANCE CORPORATION AND    8500 LESLIE ST.                     SUITE 400                                                        THORNHILL ON L3T 7M8
COVERAGEONE CORPORATION                                                                                                                  CANADA
MOTORS INSURANCE CORPORATION‐       GMAC INSURANCE                       1000 ABERNATHY RD NE STE 275                                                           ATLANTA            GA 30328‐5610
MOTORS INSURANCE CORPORATION; MIC   6000 MIDATLANTIC DRIVE, 2ND FLOOR                                                                                           MOUNT LAUREL       NJ 08054
PROPERTY; CASUALTY INSURANCE CORP

MOTORS LIQUIDATION COMPANY          FKA GENERAL MOTORS CORP              ATTN: TED STENGER                 500 RENAISSANCE CENTER,                              DETROIT            MI 48243
                                                                                                           SUITE 1400
MOTORS LIQUIDATION COMPANY          ATTN DAVID HEAD                      500 RENAISSANCE CENTER            SUITE 1400                                           DETROIT            MI 48265‐3000
MOTORS TRADING CORPORATION          INTERCOMPANY
MOTORS, ALPINE
MOTORSPORTS ACADEMY OF SC           217 ROBIN WOODS DR                                                                                                          LEXINGTON          SC   29073‐7834
                                      09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                                  Address1                          Address2                       Address3                 Address4                 City           State Zip
MOTORSPORTS AUTHENTICS                DBA ACTION SPORTS IMAGE           6301 PERFORMANCE DR SW         FRMLY SPORTS IMAGE INC                            CONCORD         NC 28027‐3426
MOTORSPORTS AUTHENTICS LLC            6301 PERFORMANCE DR SW                                                                                             CONCORD         NC 28027‐3426
MOTORSPORTS AUTHENTICS LLC (ACTION
PERFORMANCE)
MOTORSPORTS BOTHWELL 2004 MER         NO ADVERSE PARTY
MOTORSPORTS CHEEVER 2004 CONTRACT     NO ADVERSE PARTY
2005 MER
MOTORSPORTS HALL OF FAME OF           PO BOX 194                                                                                                         NOVI           MI 48376‐0194
AMERICA
MOTORSPORTS MANAGEMENT INC            C/O TAD WHITTEN                   1976 US HIGHWAY 150                                                              CARLOCK        IL    61725‐9035
MOTORSPORTS MANAGEMENT INC            PO BOX 37                                                                                                          CENTRAL CITY   KY    42330‐0037
MOTORSPORTS MANAGEMENT LLC            106 BREWER DR                                                                                                      CENTRAL CITY   KY    42330‐2040
MOTORSPORTS MARKETING INC             1050 WHEATON DR                                                                                                    TROY           MI    48083‐1927
MOTORSPORTS MARKETING INC
MOTORSPORTS SPARES INT INC            101 GASOLINE ALY                                                                                                   INDIANAPOLIS    IN   46222‐3964
MOTORTECH AUTOMOTIVE SERVICES, INC.   5992 SW 23RD ST                                                                                                    WEST PARK       FL   33023‐4065

MOTORTRADE MOTORING & TRADING CO. P.O. BOX 90‐108                                                                               BEIRUT LEBANON

MOTORWORLD GM, INC.                   STEVEN FADER                      150 MOTORWORLD DR                                                                WILKES BARRE   PA    18702‐7009
MOTORWORLD GMC                        150 MOTORWORLD DR                                                                                                  WILKES BARRE   PA    18702‐7009
MOTORWORX                             PO BOX 1568                                                                                                        EATONVILLE     WA    98328‐1568
MOTOSKO, JOHN J                       8239 CAMELLA DR                                                                                                    POLAND         OH    44514‐2753
MOTOSPECS                             A DIVISION OF REPCO LIMITED       P O BOX 339 HORNSBY NSW 1630                            HORNSBY NSW 1630
                                                                                                                                AUSTRALIA
MOTOSPECS                             GEOFF ROSENBAUM                   AUTOMOTIVE PARTS GROUP LTD     3 KELRAY PLACE           ASQUITH NSW 2077
                                                                                                                                AUSTRALIA
MOTOTECH CO LTD                       DIGITALEMPIRE D‐901 #980‐3        YEONGTONG‐DONG YEONGTONG‐                               443‐813 KOREA SOUTH
                                                                        GU                                                      KOREA
MOTOTECH CO LTD                       1369‐13 JEONGWANG‐DONG                                                                    SIHEUNG‐SI GYEONGGI‐DO
                                                                                                                                429‐934 KOREA (REP)
MOTOTOLA INC ‐ MDS                    2900 S DIABLE WAY                                                                                                  TEMPE          AZ    85282
MOTOTRON CORPORATION                  ATTN ROSEMARY BRUNEAU             1000 E DRAKE RD                                                                  FORT COLLINS   CO    80525‐1824
MOTOVIDLAK, JOAN                      520 DELOS DRIVE                                                                                                    TOMS RIVER     NJ    08753
MOTOVIDLAK, REGINA M                  155 HEMLOCK ST                                                                                                     WILKES BARRE   PA    18702‐7653
MOTOWN FCU                            2444 CLARK ST                                                                                                      DETROIT        MI    48209‐3443
MOTOWN HISTORICAL MUSEUM INC          2648 W GRAND BLVD                                                                                                  DETROIT        MI    48208‐1237
MOTOWN KABOB                          ATTN: HAYSAM SLEIMAN              6501 WOODWARD AVE                                                                DETROIT        MI    48202‐3239
MOTOWN WINTER BLAST                   17 WATER ST                                                                                                        PONTIAC        MI    48342‐2234
MOTOWSKI, DANIEL F                    1588 CHELSEA CIR                                                                                                   HOWELL         MI    48843‐7105
MOTOWSKI, PETER F                     527 E LA SALLE AVE                                                                                                 ROYAL OAK      MI    48073‐3572
MOTOWSKI, STANLEY R                   3429 LINCOLN ST                                                                                                    DEARBORN       MI    48124‐3561
MOTREC INC                            200 BLVD INDUSTRIEL S                                                                     BROMPTONVILLE CANADA
                                                                                                                                PQ J0B 1H0 CANADA
MOTREC INC                            900 INDIANA AVE                                                                                                    SOUTH HAVEN    MI    49090
MOTRONI JOSEPH (664889)               WISE & JULIAN                     156 N MAIN ST STOP 1                                                             EDWARDSVILLE   IL    62025‐1972
MOTRONI, JOSEPH                       C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                                    EDWARDSVILLE   IL    62025
MOTRY, TOM R                          2801 S STATE ST                                                                                                    LOCKPORT       IL    60441‐4930
MOTS, RAYMOND J                       11108 NW 58TH ST                                                                                                   PARKVILLE      MO    64152‐3204
MOTSAY, PHILIP J                      80 FOREST HILL DR                                                                                                  HUBBARD        OH    44425‐2164
MOTSCH, GAIL R                        430 N MOUNT PLEASANT AVE                                                                                           LANCASTER      OH    43130‐3134
MOTSCHENBACHER, JEFFERY L             6951 MILFORD RD                                                                                                    HOLLY          MI    48442‐8510
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Name                          Address1                       Address2                      Address3                     Address4         City            State Zip
MOTSCHENBACHER, STEPHANIE C   513 BRITTANY DR                                                                                            STATE COLLEGE    PA 16803‐1421
MOTSINGER JR, DALLAS G        26594 ROMINE RD                                                                                            NEW BOSTON       MI 48164‐9221
MOTSINGER, ANNETTA K          LOT 82 CRESTWOOD                                                                                           MIDDLETOWN       IN 47356
MOTSINGER, CHRISTINE          216 N ST                                                                                                   BEDFORD          IN 47421‐1710
MOTSINGER, DAISY O            5057 S 50 W                                                                                                ANDERSON         IN 46013‐9500
MOTSINGER, DOROTHY S          422 ENCHANTED DR                                                                                           ANDERSON         IN 46013‐1073
MOTSINGER, FELIX J            508 RIVERS TERRACE RD                                                                                      GLADWIN          MI 48624‐8028
MOTSINGER, HELEN C            REHABILITATION & SKILLED       NURSING AT OAK SUMMIT         5680 WINDY HILL DR # C‐210                    WINSTON SALEM    NC 27105
MOTSINGER, KENNETH E          3209 ACACIA DR                                                                                             INDIANAPOLIS     IN 46214‐1935
MOTSINGER, MARGARET C         4570 DORA LN                                                                                               LAKE ORION       MI 48359‐1901
MOTSINGER, MARK L             8800 S STATE ROAD 109                                                                                      MARKLEVILLE      IN 46056‐9783
MOTSINGER, MICHAEL L          1200 WINDSOR ST                                                                                            FLINT            MI 48507‐4263
MOTSINGER, NORMA J            508 RIVERS TERRACE                                                                                         GLADWIN          MI 48624
MOTSINGER, ROBERT L           301 SILVER CREEK RD                                                                                        GREER            SC 29650‐3414
MOTSINGER, SHIRLEY A          3088 COUNTY ROAD 131                                                                                       HESPERUS         CO 81326‐9518
MOTSINGER, THOMAS H           19255 RANGE LINE RD                                                                                        BOWLING GREEN    OH 43402‐9751
MOTSINGER, THOMAS O           604 COVENTRY DR                                                                                            ANDERSON         IN 46012‐3739
MOTT ADULT HIGH SCHOOL        1231 E KEARSLEY ST             ATTN JOHN CLOTHIER                                                          FLINT            MI 48503
MOTT BUICK COMPANY, INC.      1301 HWY 90 W                                                                                              LIVE OAK         FL 32060
MOTT BUICK COMPANY, INC.      JACK MOTT                      1301 HWY 90 W                                                               LIVE OAK         FL 32060
MOTT CANN JR                  260 SOUTH BLVD W                                                                                           PONTIAC          MI 48341‐2460
MOTT CECIL (499358)           LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                                     MIAMI            FL 33143‐5163
MOTT COMMUNITY COLLEGE        ATTN CASHIERS OFFICE           1401 E COURT ST                                                             FLINT            MI 48503‐6208
MOTT COMMUNITY COLLEGE        REGIONAL TECHNOLOGY CENTER     1401 E COURT ST               RTC 2700                                      FLINT            MI 48503‐6208
MOTT COMMUNITY COLLEGE        ATTN ACCOUNTING                1401 E COURT ST                                                             FLINT            MI 48503‐6208
MOTT COMMUNITY COLLEGE        1401 E COURT ST                ATTN CASHIERS OFFICE                                                        FLINT            MI 48503‐6208
MOTT HARRY A (346255)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA 23510
                                                             STREET, SUITE 600
MOTT JR, WILLIAM H            2368 CLIFTON HILL DR                                                                                       THE VILLAGES    FL   32162‐4313
MOTT, ALANA S                 171 PARKHURST BLVD                                                                                         TONAWANDA       NY   14223‐2859
MOTT, ALANA S                 171 PARKHURST ST.                                                                                          TONAWANDA       NY   14223
MOTT, ANTHONY J               2613 W BELLEVUE HWY                                                                                        OLIVET          MI   49076‐9439
MOTT, BETTE                   285 BELMONT CT E                                                                                           N TONAWANDA     NY   14120‐4863
MOTT, BETTY J                 151 WESTBORO RD                                                                                            UPTON           MA   01568‐1005
MOTT, BETTY J                 4 SIMPSON RD                                                                                               BATESVILLE      AR   72501‐8083
MOTT, CECIL                   THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD       SUITE 44                                      CORAL GABLES    FL   33146
MOTT, CECIL                   LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                                     MIAMI           FL   33143‐5163
MOTT, CHARLES H               582 LINCOLN RD                                                                                             GROSSE POINTE   MI   48230‐1218
MOTT, CLAIRE A                5549 W LAZY HEART ST                                                                                       TUCSON          AZ   85713‐6430
MOTT, DANIEL W                10176 PAMONA CT                                                                                            FISHERS         IN   46038‐5515
MOTT, DAVID B                 1423 BROOKEDGE DR                                                                                          HAMLIN          NY   14464‐9353
MOTT, DAVID R                 538 MCKEIGHAN AVE                                                                                          FLINT           MI   48507‐2752
MOTT, DONALD L                PO BOX 13209                                                                                               FLINT           MI   48501‐3209
MOTT, DONNA M                 15171 HAWLEY ROAD                                                                                          HOLLY           MI   48442‐8815
MOTT, DORIS                   138 CC CAMP RD                                                                                             CHATHAM         LA   71226‐9744
MOTT, ELIZABETH A             1113 ENGLEWOOD AVE                                                                                         ROYAL OAK       MI   48073‐2876
MOTT, ELSIE M                 107 GREENLEAF MDWS                                                                                         ROCHESTER       NY   14612‐4349
MOTT, FRANK J                 360 N 500 W                                                                                                ANDERSON        IN   46011‐1473
MOTT, FREDERICK M             PO BOX 229                                                                                                 KINSMAN         OH   44428‐0229
MOTT, GENEVA A                1401 MCKEE RD                                                                                              BAKERSFIELD     CA   93307‐5991
MOTT, GENEVIEVE               476 N MIAMI ST                                                                                             WEST MILTON     OH   45383‐1910
MOTT, GEORGIA                 17182 MANSFIELD                                                                                            DETROIT         MI   48235‐3522
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MOTT, GORDON W
MOTT, HARRY A                  GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
MOTT, HIRAM                    WILLIAMSON CHE D               16903 RED OAK DR STE 220                                            HOUSTON         TX    77090‐3916
MOTT, JAMES E                  1137 N MILLER RD                                                                                   SAGINAW         MI    48609‐4864
MOTT, JAMES F                  378 BENEDICT ROAD                                                                                  LEAVITTSBURG    OH    44430
MOTT, JARED B                  3990 E 425 N                                                                                       LEBANON         IN    46052‐9348
MOTT, JERRY E                  253 RAINBOW TRL                                                                                    ROCKY MOUNT     NC    27801‐9346
MOTT, JOHN C                   3109 CINDY DRIVE                                                                                   FLINT           MI    48507‐4574
MOTT, JOHN W                   PO BOX 9                                                                                           GRAND BLANC     MI    48480‐0009
MOTT, JOY P                    8221 SEQUOIA LN                                                                                    WHITE LAKE      MI    48386‐3595
MOTT, JUDY K                   PO BOX 451                                                                                         WAKITA          OK    73771‐0451
MOTT, KATHLEEN L               84 PARK AVE                                                                                        CANANDAIGUA     NY    14424‐1419
MOTT, KURT B                   16850 ROOSEVELT HWY                                                                                KENDALL         NY    14476‐9748
MOTT, LAUREL D                 2984 W BELLEVUE HWY                                                                                OLIVET          MI    49076‐9439
MOTT, LAURIE J                 7485 MARVIN HILL RD                                                                                SPRINGWATER     NY    14560‐9723
MOTT, LEON L                   4887 LAPAN DR                                                                                      PINCONNING      MI    48650‐9627
MOTT, LLOYD S                  6422 HIKINA DR                                                                                     NORTH PORT      FL    34287‐2436
MOTT, MABEL E                  1411 E 61ST ST                                                                                     MARION          IN    46953‐6131
MOTT, MABEL E                  1411 EAST 61ST STREET                                                                              MARION          IN    46953‐6131
MOTT, MARGARET R               4207 HIGHWAY 494                                                                                   LITTLE ROCK     MS    39337‐9419
MOTT, MARILYN M                2116 DOVER CENTER RD           C24 LUTHERAN HOME                                                   WESTLAKE        OH    44145‐3154
MOTT, MARJORIE                 35 EATON ST                                                                                        BUFFALO         NY    14209‐1907
MOTT, MICHAEL J                41500 FALLBROOK RD                                                                                 NORTHVILLE      MI    48167‐1959
MOTT, MICHAEL J                4643 VINCENT DR                                                                                    HOLLY           MI    48442‐9005
MOTT, MICHAEL JOHN             4643 VINCENT DR                                                                                    HOLLY           MI    48442‐9005
MOTT, MICHAEL L                1991 LORD FITZWALTER DR                                                                            MIAMISBURG      OH    45342‐2049
MOTT, NATHANIEL                340 E UTICA ST                                                                                     BUFFALO         NY    14208‐2129
MOTT, NORMA M                  10911 GARRISON RD                                                                                  DURAND          MI    48429‐1831
MOTT, NORMA M                  10911 E GARRISON RD                                                                                DURAND          MI    48429‐1831
MOTT, PAMELA A                 9945 W FREELAND RD                                                                                 FREELAND        MI    48623‐9466
MOTT, RAYMOND G                217 E 11TH ST                                                                                      GEORGETOWN      IL    61846‐1110
MOTT, RICHARD W                285 BELMONT CT E                                                                                   N TONAWANDA     NY    14120‐4863
MOTT, ROBERT L                 2110 PAMELA PL                                                                                     LANSING         MI    48911‐1658
MOTT, RONALD D                 PO BOX 43424                                                                                       TUCSON          AZ    85733‐3424
MOTT, RONALD T                 7738 S 25TH ST                                                                                     KALAMAZOO       MI    49048‐9746
MOTT, THEODORE J               7109 SHARP RD                                                                                      SWARTZ CREEK    MI    48473‐9428
MOTT, THOMAS J                 3303 SHARON AVE SW                                                                                 WYOMING         MI    49519‐3239
MOTT, THOMAS JOSEPH            3303 SHARON AVE SW                                                                                 WYOMING         MI    49519‐3239
MOTT, TONI R                   20390 THORNWOOD CT                                                                                 SOUTHFIELD      MI    48076‐4900
MOTT, WALTER L                 18211 NADOL DR                                                                                     SOUTHFIELD      MI    48075‐5880
MOTT, WILLIAM ALFRED           328 HIGHLAND PKWY APT 3                                                                            BUFFALO         NY    14223
MOTT, WILLIAM C                3540 GULF OF MEXICO DRIVE      BUTTONWOOD COUR #101C                                               LONGBOAT KEY    FL    34228
MOTT, WILLIAM C                9945 W FREELAND RD                                                                                 FREELAND        MI    48623
MOTT, WILLIAM L                10109 SE 154TH AVE                                                                                 WHITE SPRINGS   FL    32096‐2468
MOTTA ANGELO J (429513)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA    23510
                                                              STREET, SUITE 600
MOTTA DANIELE LONGONI ANNITA   VIA TOFANE 8                                                               23807 MERATE LC ITALY
MOTTA HEATHER L                MOTTA, HEATHER L               1100 NEW YORK AVENUE NW , WEST                                      WASHINGTON       DC 20005
                                                              TOWER SUITE 500
MOTTA HEATHER L                MOTTA, HEATHER L               4 EMBARCADERO CTR FL 10                                             SAN FRANCISCO    CA 94111‐4168
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MOTTA HEATHER L             MOTTA, PHILLIP J                 1100 NEW YORK AVENUE NW , WEST                             WASHINGTON        DC 20005
                                                             TOWER SUITE 500
MOTTA HEATHER L             MOTTA, PHILLIP J                 4 EMBARCADERO CTR FL 10                                    SAN FRANCISCO    CA 94111‐4168
MOTTA, ANGELO J             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                             STREET, SUITE 600
MOTTA, ANTONINO             PO BOX 8141                                                                                 PELHAM           NY    10803‐8141
MOTTA, DEMETRIO             225 ELMWOOD TER                                                                             LINDEN           NJ    07036‐4937
MOTTA, HEATHER L            HANCOCK ROTHERT & BUNSHOFT       4 EMBARCADERO CTR FL 10                                    SAN FRANCISCO    CA    94111‐4168
MOTTA, HEATHER L            COHEN MILSTEIN HAUSFELD & TOLL   1100 NEW YORK AVENUE NW, WEST                              WASHINGTON       DC    20005‐3943
                                                             TOWER SUITE 500
MOTTA, JERSEY E             PO BOX 286                                                                                  PORTER           TX 77365‐0286
MOTTA, JOHN A               20600 MAIN ST SPC 23                                                                        CARSON           CA 90745‐1112
MOTTA, PHILLIP J            COHEN MILSTEIN HAUSFELD & TOLL   1100 NEW YORK AVENUE NW, WEST                              WASHINGTON       DC 20005‐3943
                                                             TOWER SUITE 500
MOTTA, PHILLIP J            HANCOCK ROTHERT & BUNSHOFT       4 EMBARCADERO CTR FL 10                                    SAN FRANCISCO    CA    94111‐4168
MOTTA, ROSE M               8925 OLD CREEK DR                                                                           ELK GROVE        CA    95758‐6100
MOTTA, SEBASTIAN D          1883 STANLEY ST                                                                             NEW BRITAIN      CT    06053‐1719
MOTTASHED, DALE E           15604 HILL RD                                                                               DEFIANCE         OH    43512‐8926
MOTTASHED, DELORES B        2567 HERENHUIS DR.                                                                          CLIO             MI    48420‐2316
MOTTAUSCH, GEORG G          1672 GRAY RD                                                                                LAPEER           MI    48446‐7795
MOTTE, KLAUS B              16753 NORTHWEST 19TH COURT                                                                  PEMBROKE PNES    FL    33028‐2012
MOTTEN, SUSAN               5766 W WAUTOMA BEACH RD                                                                     HILTON           NY    14468
MOTTER JUDY M               35 STONEY RUN RD APT 3                                                                      DILLSBURG        PA    17019‐9338
MOTTER, CLARK L             PO BOX 175                                                                                  GRAND JUNCTION   MI    49056‐0175
MOTTER, DANIEL J            997 SHADY BEACH RD                                                                          ELKTON           MD    21921‐7420
MOTTER, DAVID E             4464 VIA DEL VILLETTI DR                                                                    VENICE           FL    34293‐7064
MOTTER, EDGAR R             1317 PALMS BLVD                                                                             VENICE           CA    90291‐2907
MOTTER, EDWARD J            2220 ELM TRACE ST                                                                           AUSTINTOWN       OH    44515‐4812
MOTTER, JERRY L             41121 REDWOOD CT                                                                            CLINTON TWP      MI    48038‐4620
MOTTER, JERRY LEE           41121 REDWOOD CT                                                                            CLINTON TWP      MI    48038‐4620
MOTTER, MICHAEL W           2154 MARION CIR                                                                             LITTLE RIVER     SC    29566‐9101
MOTTER, REX A               5521 HIDDEN OAKS CIR                                                                        LINDEN           MI    48451‐8841
MOTTER, ROGER M             60 LANE 510FA LAKE JAMES                                                                    FREMONT          IN    46737‐9626
MOTTER, ROGER M             2717 WICHLOW RD                                                                             TOLEDO           OH    43606
MOTTER, SUSAN               PO BOX 459                                                                                  CHARLESTOWN      MD    21914
MOTTER, TIMOTHY R           123 AUTUMN HORSESHOE BND                                                                    NEWARK           DE    19702‐2354
MOTTER‐O'SHEA, MARGARET L   731 BRIGHTSIDE CRESCENT DR                                                                  VENICE           FL    34293‐4338
MOTTERN, FRANK H            181 OAKRIDGE AVE                                                                            KENMORE          NY    14217‐1144
MOTTERN, GLENN C            APT 1                            550 MAGNOLIA STREET                                        GULFPORT         MS    39507‐4124
MOTTERN, JAMES E            5773 BAYSHORE DRIVE (BOX 712)                                                               EASTPORT         MI    49627
MOTTERS, HAZEL L            1017 6TH AVE SW                                                                             DECATUR          AL    35601‐2928
MOTTICE, RICHARD E          2390 HEATHROW PL                                                                            SAN LEANDRO      CA    94577‐6048
MOTTIN, TIMOTHY E           127 S MORRICE RD                                                                            MORRICE          MI    48857‐9729
MOTTINGER, EVELYN C         805 BONNIE AVE                                                                              PURCELL          OK    73080‐1702
MOTTL, ALAN J               309 ROSS DR                                                                                 BUCHANAN         MI    49107‐9438
MOTTL, JAMES J              14143 CATHERINE DR                                                                          ORLAND PARK       IL   60462‐2046
MOTTLE, GEORGE A            212 NOTH CADILLIAC DR                                                                       BOARDMAN         OH    44512
MOTTO, WILLIAM P            3 SUNSET PL                                                                                 ROSWELL          NM    88203‐2313
MOTTOLA, ANTHONY P          163 STAGHEAD DR                                                                             PASCOAG           RI   02859‐1305
MOTTON, CHARLES L           18378 BRICK MILL RUN                                                                        STRONGSVILLE     OH    44136‐7149
MOTTOR, HOWARD              441 BROWN FARM RD                                                                           SENECA           SC    29678‐5004
MOTTOR, PATRICIA            10475 TOMKINSON DR                                                                          SCOTTS           MI    49088
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Name                     Address1                       Address2                  Address3   Address4         City              State Zip
MOTTORN, ANNETTE M       8446 LAKE RD                   P.O. BOX 262                                          BARKER             NY 14012
MOTTORN, HOWARD T        PO BOX 262                                                                           BARKER             NY 14012‐0262
MOTTORN, KENNETH J       3641 BEEBE RD                                                                        NEWFANE            NY 14108‐9619
MOTTORN, MARY V          3641 BEEBE RD                                                                        NEWFANE            NY 14108‐9619
MOTTORN, ROBERT E        440 LEIN RD                                                                          WEST SENECA        NY 14224‐2439
MOTTRAM, DANIEL R        5653 VILLA MARIE RD.                                                                 LOWELLVILLE        OH 44436‐4436
MOTTS KEVIN & PATRICIA   1276 LOFTON HALL RD                                                                  ARDMORE            TN 38449‐5240
MOTTS RADIATOR SERVICE   RR 3                                                                                 STROUDSBURG        PA 18360
MOTTS, WILLIAM P         37461 LADYWOOD ST                                                                    LIVONIA            MI 48154‐1446
MOTTS, WILLIAM PAUL      37461 LADYWOOD ST                                                                    LIVONIA            MI 48154‐1446
MOTTWEILER, TOMMY L      1305 W 4TH ST                                                                        ALEXANDRIA         IN 46001‐2131
MOTURIS LTD              FLUGHOFSSTRASSE 55                                                                   CANTON             MI 48188
MOTURIS LTD              FLUGHOFSTRASSE 55                                                                    CANTON             MI 48188
MOTUZ, MARCIA L          112 WOODLAND DR                                                                      TOMS RIVER         NJ 08753
MOTWANI, MANOHAR B       6659 MINNOW POND DR                                                                  WEST BLOOMFIELD    MI 48322‐2661
MOTY MCKINNEY JR         3925 WOODSIDE DR                                                                     SAGINAW            MI 48603‐9300
MOTYCKA, MARVIN A        9709 W O AVE                                                                         KALAMAZOO          MI 49009‐9640
MOTYKA, JANET M          1209 OAKWOOD CT 39                                                                   ROCHESTER HILLS    MI 48307
MOTYKA, JOSEPH           16652 COUNTRY CLUB DR                                                                MACOMB             MI 48042‐1137
MOTYKA, LAWRENCE D       29380 DEQUINDRE RD APT 102                                                           WARREN             MI 48092‐2145
MOTYKA, LEONARD A        31281 DESMOND DR                                                                     WARREN             MI 48093‐1788
MOTYKA, LEONARD W        152 BEECHWOOD LN                                                                     PALM COAST         FL 32137‐8627
MOTYKA, MARY ANNE        168 MILTON RD                  C/O ROSEMARY A BUSH                                   OAK RIDGE          NJ 07438‐9598
MOTYKA, MAX C            359 UNIT B MEDALLION BLVD                                                            MADEIRA BEACH      FL 33708
MOTYKA, RICHARD D        57 CARLTON AVE                                                                       JERSEY CITY        NJ 07306‐3401
MOTYKA, RONALD A         111937 MULVANEY RD                                                                   MANCHESTER         MI 48158
MOTZ KEVIN               945 OXFORD RD                                                                        GLEN ELLYN          IL 60137‐4813
MOTZ ROBERT J            1558 MILLER AVE                                                                      MAPLE HEIGHTS      OH 44137
MOTZ, ANNA               5191 E PARKS RD                R#6                                                   ST JOHNS           MI 48879‐9021
MOTZ, GEORGE S           4484 COUNTY ROAD Q                                                                   COLGATE            WI 53017‐9729
MOTZ, GLORY              635 BORDEN RD                                                                        CHEEKTOWAGA        NY 14227‐3272
MOTZ, JANET K            7652 WILLOW RDG                                                                      FISHERS            IN 46038‐2297
MOTZ, JULIA A            3065 SEVEN OAKS DR                                                                   LAURA              OH 45337‐9752
MOTZ, JULIUS             2064 N BAUER RD                                                                      SAINT JOHNS        MI 48879‐9535
MOTZ, KEVIN M            945 OXFORD RD                                                                        GLEN ELLYN          IL 60137‐4813
MOTZ, LARRY J            PO BOX 907                                                                           WASKOM             TX 75692‐0907
MOTZ, ROBERT J           5118 MILLER AVE                                                                      MAPLE HEIGHTS      OH 44137‐1145
MOTZ, ROBERT R           28563 CUNNINGHAM DR                                                                  WARREN             MI 48092‐2577
MOTZ, ROBERT T           20 AUTUMNWOOD DR                                                                     CHEEKTOWAGA        NY 14227‐2603
MOTZ, STEVE              1008 ENGLEWOOD AVE                                                                   ROYAL OAK          MI 48073‐2866
MOTZ, SYLVANIS           THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES       FL 33146
MOTZER, JOHN             53853 BUCKINGHAM LN                                                                  SHELBY TWP         MI 48316‐2021
MOTZER, JOHN W           859 N JEWELL RD                                                                      NEWTON FALLS       OH 44444‐9516
MOTZER, SOPHIE S         53853 BUCKINGHAM LANE                                                                SHELBY TWP         MI 48316
MOTZING, ROBERT C        13378 STATE HIGHWAY 285                                                              CONNEAUT LAKE      PA 16316‐6414
MOTZING, ROBERT C        13378 HIGHWAY 285                                                                    CONNEAUT LAKE      PA 16316‐6414
MOTZNY, DAVID W          2979 SHAWNEE LN                                                                      WATERFORD          MI 48329‐4339
MOTZNY, THERESA L        5276 GREENDALE DR                                                                    TROY               MI 48085‐3437
MOTZNY, WILLIAM D        3078 GRACEVIEW CT                                                                    WATERFORD          MI 48329‐4311
MOU CHEN                 515 SYCAMORE ST                                                                      OAKLAND            CA 94612‐1709
MOUA KOUAPHENG           3412 E KIMBERLY RD APT 77                                                            DAVENPORT           IA 52807‐2520
MOUA, SHEYEE             712 LUCERNE DR                                                                       SPARTANBURG        SC 29302‐4007
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Name                              Address1                        Address2          Address3         Address4             City            State Zip
MOUAFO, ROGER                     2103 HOUNDS RUN PLACE                                                                   SILVER SPRING    MD 20906‐6327
MOUALEM MARIANA                   518 S EL MOLINO AVE APT 208                                                             PASADENA         CA 91101
MOUAT, JAMES                      9190 BOLEYN ST                                                                          DETROIT          MI 48224‐1932
MOUAT, LEONA                      9190 BOLEYN ST                                                                          DETROIT          MI 48224‐1932
MOUAT, LEONA                      9190 BOLEYN                                                                             DETROIT          MI 48224‐1932
MOUBRAY DEBORAH K                 8762 PRICE RD                                                                           LAINGSBURG       MI 48848‐9439
MOUBRAY, CASEY E                  1516 CENTENNIAL COURTYARD                                                               LANSING          MI 48911‐7023
MOUBRAY, CHARLES S                7067 E LANSING RD                                                                       DURAND           MI 48429‐9024
MOUBRAY, DEBORAH K                8762 PRICE RD                                                                           LAINGSBURG       MI 48848‐9439
MOUBRAY, GARY W                   314 ANN ST                                                                              MASON            MI 48854‐1204
MOUBRAY, GARY WADE                314 ANN STREET                                                                          MASON            MI 48854‐1204
MOUBRAY, JAMES R                  16883 TURNER RD                                                                         LANSING          MI 48906‐2304
MOUBRAY, MARK S                   PO BOX 222                                                                              LAINGSBURG       MI 48848‐0222
MOUBRAY, MARK STEVEN              PO BOX 222                                                                              LAINGSBURG       MI 48848‐0222
MOUBRAY, RICHARD L                9855 E VERMONTVILLE HWY                                                                 DIMONDALE        MI 48821‐8747
MOUBRAY, THOMAS L                 3200 N DEWITT RD                                                                        SAINT JOHNS      MI 48879‐9712
MOUCH, RICHARD C                  1607 N WEST TORCH LAKE DR                                                               KEWADIN          MI 49648‐9237
MOUCH, VIRGINIA R                 1607 N WEST TORCH LAKE DR                                                               KEWADIN          MI 49648
MOUCHERON, WARREN G               1318 1ST RD                                                                             BALTIMORE        MD 21220‐5503
MOUDUDUR RAHMAN                   5530 SHALE DR                                                                           TROY             MI 48085‐3936
MOUDY, DOROTHY M                  30 BEAVER LANE                                                                          GRAND ISLAND     NY 14072‐2909
MOUDY, DOROTHY M                  30 BEAVER LN                                                                            GRAND ISLAND     NY 14072‐2909
MOUDY, ROBERT R                   30 BEAVER LN                                                                            GRAND ISLAND     NY 14072‐2909
MOUDY, ROBERT ROY                 30 BEAVER LN                                                                            GRAND ISLAND     NY 14072‐2909
MOUFARREG, MICHEL A               532 N WESTMORELAND AVE APT 3                                                            LOS ANGELES      CA 90004‐2231
MOUGEY, YVONNE B                  9225 ASHLAND WOODS LN APT C‐G                                                           LORTON           VA 22079‐4534
MOUGHAN, HELEN                    12614 HAROLD DRIVE                                                                      CHESTERLAND      OH 44026‐2433
MOUGHLER, GUY E                   1827 LORETTA CIR 164                                                                    ESSEXVILLE       MI 48732
MOUGHLER, LLOYD E                 PO BOX 983                                                                              HARRISON         MI 48625‐0983
MOUGHLER, RONALD W                6474 BLUEJAY DR                                                                         FLINT            MI 48506‐1768
MOUHANNA, HASSAN A                5122 NECKEL ST                                                                          DEARBORN         MI 48126‐3217
MOUHOT, THERESA                   42436 SHELDON                                                                           CLINTON TWP      MI 48038‐5466
MOUIZ ABDELRAHIM                  44715 ELLERY LANE                                                                       NOVI             MI 48377‐2562
MOUL, DENNIS J                    171 ROCHFORD SQ                                                                         FLINT            MI 48507‐4262
MOUL, LOIS J                      4925 HUNSBERGER AVE NE                                                                  GRAND RAPIDS     MI 49525‐1259
MOUL, WALTER H                    4925 HUNSBERGER AVE NE                                                                  GRAND RAPIDS     MI 49525‐1259
MOULAGIANIS, STAMATIA             13910 BYRON BLVD                                                                        MIDDLEBRG HTS    OH 44130‐7119
MOULAIE‐BIRGANI, TERESA A         106 SUNSET DR                                                                           MAULDIN          SC 29662
MOULD, BETTY A                    16976 BEVERLY RD                                                                        BEVERLY HILLS    MI 48025‐5536
MOULD, DAVID H                    6722 FOREST GLEN CT                                                                     FORT WAYNE       IN 46815‐7902
MOULD, HELEN E                    206 S PLEASANT ST                                                                       ROYAL OAK        MI 48067‐2484
MOULD, JEREMY DOUGLAS             6722 FOREST GLEN CT                                                                     FORT WAYNE       IN 46815‐7902
MOULD, JOSHUA DAVID               6722 FOREST GLEN CT                                                                     FORT WAYNE       IN 46815‐7902
MOULD, JUSTIN D                   6722 FOREST GLEN CT                                                                     FORT WAYNE       IN 46815‐7902
MOULD, RITA L                     37 BROWN ST                                                                             DUBOIS           PA 15801‐1121
MOULD/SCARBOROUGH                 77 NANTUCKET BLVD                                                  SCARBOROUGH ON M1P
                                                                                                     2N5 CANADA
MOULDAGRAPH CORPORATION                                           4134 1ST AVE                                                            WV 25143
MOULDER WILLIAM (456976)            VARAS & MORGAN                PO BOX 886                                              HAZLEHURST      MS 39083‐0886
MOULDER WILLIAM (456976) ‐ ANDERSON VARAS & MORGAN                PO BOX 886                                              HAZLEHURST      MS 39083‐0886
GRACIE LEE
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Name                                  Address1                 Address2            Address3         Address4         City         State Zip
MOULDER WILLIAM (456976) ‐ ANTHONY    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST    MS 39083‐0886
THEODORE
MOULDER WILLIAM (456976) ‐ BAILEY     VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WILLIE
MOULDER WILLIAM (456976) ‐ BANKS      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
MAMIE
MOULDER WILLIAM (456976) ‐ BELL       VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
HOWARD
MOULDER WILLIAM (456976) ‐ BELL       VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WILEMA
MOULDER WILLIAM (456976) ‐ BROWN      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
NELLIE
MOULDER WILLIAM (456976) ‐ BULLOCK    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
EVERETT
MOULDER WILLIAM (456976) ‐ BURKS      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
CLASSIE
MOULDER WILLIAM (456976) ‐ CHAPMAN    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WILLIAM
MOULDER WILLIAM (456976) ‐ CRUMP      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WILLIE
MOULDER WILLIAM (456976) ‐ DAVIS      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
CHARLES
MOULDER WILLIAM (456976) ‐ DAVIS      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
IRENE
MOULDER WILLIAM (456976) ‐ DAVIS      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
JOSEPHINE
MOULDER WILLIAM (456976) ‐ DAVIS      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
LUCILLE
MOULDER WILLIAM (456976) ‐ FOUNTAIN   VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
CLYDE
MOULDER WILLIAM (456976) ‐ FOUNTAIN   VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
SAMUEL
MOULDER WILLIAM (456976) ‐ GUALDEN    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
EDWARD
MOULDER WILLIAM (456976) ‐ HAMILTON   VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WILMA
MOULDER WILLIAM (456976) ‐ HAMPTON    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
ROSALIE
MOULDER WILLIAM (456976) ‐ HAYNES     VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
DOLLY
MOULDER WILLIAM (456976) ‐ HEDRICK    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
DONALD
MOULDER WILLIAM (456976) ‐ HOLLAND    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
AUTHOR
MOULDER WILLIAM (456976) ‐ JACKSON    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
DALE
MOULDER WILLIAM (456976) ‐ JAMES      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WILLIE
MOULDER WILLIAM (456976) ‐ JENKINS    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
LUCILLE
MOULDER WILLIAM (456976) ‐ JENKINS    VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WILLIE
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Name                                   Address1                 Address2            Address3         Address4         City         State Zip
MOULDER WILLIAM (456976) ‐ JOHNSON VARAS & MORGAN               PO BOX 886                                            HAZLEHURST    MS 39083‐0886
BEULAH
MOULDER WILLIAM (456976) ‐ JOHNSON VARAS & MORGAN               PO BOX 886                                            HAZLEHURST   MS 39083‐0886
CARRIE
MOULDER WILLIAM (456976) ‐ JOHNSON VARAS & MORGAN               PO BOX 886                                            HAZLEHURST   MS 39083‐0886
DOROTHY
MOULDER WILLIAM (456976) ‐ JOHNSON VARAS & MORGAN               PO BOX 886                                            HAZLEHURST   MS 39083‐0886
DOROTHY MAE
MOULDER WILLIAM (456976) ‐ JOHNSON VARAS & MORGAN               PO BOX 886                                            HAZLEHURST   MS 39083‐0886
RALPH
MOULDER WILLIAM (456976) ‐ JOHNSON VARAS & MORGAN               PO BOX 886                                            HAZLEHURST   MS 39083‐0886
THLEMA
MOULDER WILLIAM (456976) ‐ JONES       VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
CALEB RAY
MOULDER WILLIAM (456976) ‐ JONES       VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
LAWRENCE
MOULDER WILLIAM (456976) ‐ LACEY JOSIE VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
LEE
MOULDER WILLIAM (456976) ‐ MAE         VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
BERTHA
MOULDER WILLIAM (456976) ‐ MANNING VARAS & MORGAN               PO BOX 886                                            HAZLEHURST   MS 39083‐0886
CHARLES
MOULDER WILLIAM (456976) ‐ MCCOY       VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
LOTTIE
MOULDER WILLIAM (456976) ‐ MCDONALD VARAS & MORGAN              PO BOX 886                                            HAZLEHURST   MS 39083‐0886
MYRTLE
MOULDER WILLIAM (456976) ‐ MCDONALD VARAS & MORGAN              PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WHYTINE
MOULDER WILLIAM (456976) ‐             VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
MCNAMARA DANIEL STEPHEN
MOULDER WILLIAM (456976) ‐             VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
MCNAMARA DAVID F
MOULDER WILLIAM (456976) ‐ MONROE      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
MABLE
MOULDER WILLIAM (456976) ‐ MUNDEN VARAS & MORGAN                PO BOX 886                                            HAZLEHURST   MS 39083‐0886
SANDI
MOULDER WILLIAM (456976) ‐             VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
NETTERVILLE AUTHER LEE
MOULDER WILLIAM (456976) ‐ PATRICK     VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
JOHN
MOULDER WILLIAM (456976) ‐ PAYMON      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
WILMER
MOULDER WILLIAM (456976) ‐ POWELL      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
EDITH MAE
MOULDER WILLIAM (456976) ‐ QUINIAN     VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
GEORGE
MOULDER WILLIAM (456976) ‐ RUSS        VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
GENEVA
MOULDER WILLIAM (456976) ‐ SAGET       VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
LOUIS
MOULDER WILLIAM (456976) ‐ SELMAN      VARAS & MORGAN           PO BOX 886                                            HAZLEHURST   MS 39083‐0886
EDWARD
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Name                                Address1                         Address2                  Address3                   Address4         City                State Zip
MOULDER WILLIAM (456976) ‐ SMITH    VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST           MS 39083‐0886
TOBE
MOULDER WILLIAM (456976) ‐ STEPHENS VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
IDA
MOULDER WILLIAM (456976) ‐ STEWART VARAS & MORGAN                    PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
JIMMIE
MOULDER WILLIAM (456976) ‐ TAYLOR   VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
MINNIE DAVIS
MOULDER WILLIAM (456976) ‐ TERRELL  VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
PERCY
MOULDER WILLIAM (456976) ‐ THOMAS   VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
GERALDINE
MOULDER WILLIAM (456976) ‐ THOMPSON VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
FANNIE
MOULDER WILLIAM (456976) ‐ THOMPSON VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
ROOSEVELT
MOULDER WILLIAM (456976) ‐ VARNER   VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
BILLY
MOULDER WILLIAM (456976) ‐ WALL     VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
WALTER
MOULDER WILLIAM (456976) ‐ WESCO    VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
EARNESTINE
MOULDER WILLIAM (456976) ‐ WILLIAMS VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
ROBERT
MOULDER WILLIAM (456976) ‐ WILLIAMS VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
ROMEL
MOULDER WILLIAM (456976) ‐ WILLIAMS VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
VIVIAN
MOULDER WILLIAM (456976) ‐ WYATT    VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS 39083‐0886
MARY
MOULDER, BILLY P                    3108 FRANCINE DR                                                                                       DECATUR             GA   30033‐3939
MOULDER, CATHERINE Z                230 WELCOME WAY BLVD W APT A18                                                                         INDIANAPOLIS        IN   46214‐4940
MOULDER, CHARLES D                  PO BOX 699                                                                                             BRASELTON           GA   30517‐0012
MOULDER, DONNA J                    67330 EBBERT SOUTH RD LOT 14                                                                           SAINT CLAIRSVILLE   OH   43950‐8381
MOULDER, DONNA J                    67330 EBBERT SOUTH ROAD          LOT 14                                                                ST CLAIRSVILLE      OH   43950
MOULDER, FERRY M                    4950 MITTEN DR                                                                                         CLOVERDALE          IN   46120‐9297
MOULDER, GLYNDON L.                 5705 BRIDLE GLEN DR                                                                                    SUGAR HILL          GA   30518‐7410
MOULDER, JAMES E                    1486 BEACONFIELD CT                                                                                    CARMEL              IN   46033‐8506
MOULDER, MARGARET D                 1760 W DRAHNER RD                P.O BOX338                                                            OXFORD              MI   48371‐4514
MOULDER, SHARON                     23745 TWINING DR                                                                                       SOUTHFIELD          MI   48075‐7733
MOULDER, SHARON J                   3298 DAVENPORT ROAD                                                                                    DULUTH              GA   30096‐3511
MOULDER, TERRY K                    3369 BARRY LN                                                                                          GAINESVILLE         GA   30506‐3748
MOULDER, WILLIAM                    VARAS & MORGAN                   PO BOX 886                                                            HAZLEHURST          MS   39083‐0886
MOULDING PRODUCTION & ENGRG CO      MR JIM BATTON                    MPE                       HWY #61 NORTH ‐ P.O. BOX                    GRAND RAPIDS        MI   49507
                                                                                               278
MOULDING PRODUCTION & ENGRG CO INC MR JIM BATTON                     MPE                       HWY #61 NORTH ‐ P.O. BOX                    GRAND RAPIDS        MI 49507
                                                                                               278
MOULDING, FRANCIS H                1390 OAK LAKE RD                                                                                        LEWISTON            MI   49756‐7940
MOULDING, SAMUEL H                 32533 NESTLEWOOD ST                                                                                     FARMINGTON HILLS    MI   48334‐2743
MOULDS JOHN                        MOULDS, JOHN                      1234 MARKET ST STE 2040                                               PHILADELPHIA        PA   19107‐3720
MOULDS, BARBARA C                  2312 BLUECUTT RD                                                                                        COLUMBUS            MS   39705‐1306
MOULDS, JOHN                       GORBERG AND ZUBER                 1234 MARKET ST STE 2040                                               PHILADELPHIA        PA   19107‐3720
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Name                            Address1                           Address2               Address3      Address4         City           State Zip
MOULDS, JOHN W                  95 HEARTHSTONE RD                                                                        PINEHURST       NC 28374‐7094
MOULDS, JOYCE A                 COUNTY RD 550 BOX 344                                                                    MARQUETTE       MI 49855‐0344
MOULDS, PHILIP N                11423 ARMSTRONG DR S                                                                     SAGINAW         MI 48609‐9490
MOULE, ANTHONY R                2635 LYNDONVILLE RD                                                                      MEDINA          NY 14103‐9657
MOULE, BETTY B                  11325 RIDGE RD                                                                           MEDINA          NY 14103‐9648
MOULE, DIANNA L                 11325 RIDGE RD T                                                                         MEDINA          NY 14103
MOULE, GERALD L                 10375 JOHNSON RD                                                                         MIDDLEPORT      NY 14105‐9301
MOULE, JAMES A                  11325 RIDGE RD                                                                           MEDINA          NY 14103‐9648
MOULE, LYNNE                    21252 CREEKSIDE DR                                                                       RED BLUFF       CA 96080‐9615
MOULIN, LARRY E                 16020 PLATTSBURG RD                                                                      KEARNEY         MO 64060‐8150
MOULIN, PATRICIA A              16020 PLATTSBURG RD                                                                      KEARNEY         MO 64060‐8150
MOULIS, MILDRED M               1903 SO CENTRAL AVE                                                                      CICERO           IL 60804‐2233
MOULIS, MILDRED M               1903 S CENTRAL AVE                                                                       CICERO           IL 60804‐2233
MOULL, ROBERT L                 1252 LEXINGTON DR UNIT A                                                                 ADRIAN          MI 49221‐1289
MOULLIET, HERMAN J              238 STANHOPE CIR                                                                         NAPLES          FL 34104‐0810
MOULSDALE, CHARLES W            803 LITCHFIELD CIR                                                                       BEL AIR         MD 21014‐5280
MOULTANE JR, ARTHUR A           4636 BUSCH RD                                                                            BIRCH RUN       MI 48415‐8502
MOULTANE, WILLIAM C             PO BOX 273                                                                               STERLING        MI 48659‐0273
MOULTANE, WILLIAM C             POST OFFICE BOX 273                                                                      STERLING        MI 48659‐0273
MOULTON BELLINGHAM LONGO &      PO BOX 2559                                                                              BILLINGS        MT 59103‐2559
MATHER PC
MOULTON BRIAN                   11157A STATE HIGHWAY 37                                                                  LISBON         NY 13658‐3243
MOULTON III, THOMAS J           335 N STEEL RD                                                                           MERRILL        MI 48637‐9563
MOULTON JR, THOMAS J            1075 CORNWELL RD                                                                         MERRILL        MI 48637‐9530
MOULTON RICHARD M SR (419450)   SIMMONS LAW FIRM
MOULTON SHERRILL K (657763)     THORNTON EARLY & NAUMES            100 SUMMER ST LBBY 3                                  BOSTON         MA   02110‐2104
MOULTON SR, ARTHUR J            7301 W TEMPLE DR                                                                         HARRISON       MI   48625‐9756
MOULTON, ALBERT E               75 GROVE ST                                                                              EAST DOUGLAS   MA   01516‐2117
MOULTON, ALLEN G                8520 S 175 E                                                                             FAIRMOUNT      IN   46928‐9704
MOULTON, ANN M                  4110 UPTON AVE                                                                           TOLEDO         OH   43613‐4004
MOULTON, ANNE S                 4447 OHEREN                                                                              BURTON         MI   48529‐1807
MOULTON, ANNE S                 4447 OHEREN ST                                                                           BURTON         MI   48529‐1807
MOULTON, DANIEL L               14101 FISH LAKE RD                                                                       HOLLY          MI   48442‐8306
MOULTON, DANIEL L               10720 SWAN CREEK RD                                                                      SAGINAW        MI   48609‐9118
MOULTON, DANNY J                3635 DEER RUN DR                                                                         BRIGHTON       MI   48114‐9251
MOULTON, DARRYLL A              838 BROADFIELD DR                                                                        NEWARK         DE   19713‐2726
MOULTON, DAVID A                4411 OHEREN ST                                                                           BURTON         MI   48529‐1807
MOULTON, DAVID ALAN             4411 OHEREN ST                                                                           BURTON         MI   48529‐1807
MOULTON, DIANE M                7940 N RIVER RD                                                                          FREELAND       MI   48623‐9298
MOULTON, DOROTHY L              1150 MCFARLAND ST APT HM2                                                                MORRISTOWN     TN   37814
MOULTON, ERIC T                 4355 SMITH CROSSING RD                                                                   FREELAND       MI   48623‐9439
MOULTON, ERNEST D               5321 VALLEYVIEW DR                                                                       SWARTZ CREEK   MI   48473‐1037
MOULTON, HARRY C                3440 MONDAWMIN AVE                                                                       BALTIMORE      MD   21216‐2321
MOULTON, JOHN
MOULTON, LYNN A                 8279 E OLIVE RD                                                                          WHEELER        MI   48662‐9702
MOULTON, MARTHA                 69 WISCONSIN ST                                                                          LIBERTY TWP    OH   45011‐2505
MOULTON, MICHAEL E              2713 WOODROW AVE                                                                         FLINT          MI   48506‐3472
MOULTON, MICHAEL R              7952 W TWILIGHT DR                                                                       FAIRLAND       IN   46126‐9554
MOULTON, MOLLY
MOULTON, NORVIN D               11465 COOLIDGE RD                                                                        GOODRICH       MI 48438‐9782
MOULTON, REBECCA A              PO BOX 308                         11501 CHICORY LANE                                    PORTLAND       MI 48875‐0308
MOULTON, RICHARD A              PO BOX 441                                                                               LENNON         MI 48449‐0441
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Name                                 Address1                             Address2                     Address3   Address4         City                  State Zip
MOULTON, RICHARD M                   SIMMONS LAW FIRM                     PO BOX 521                                               EAST ALTON              IL 62024‐0519
MOULTON, ROBERT M                    199 COWAN RD                                                                                  PORT DEPOSIT           MD 21904‐2104
MOULTON, ROBERT S                    27 MEDINA LN                                                                                  INDIANAPOLIS           IN 46227‐9408
MOULTON, SHERRILL K                  THORNTON EARLY & NAUMES              100 SUMMER ST LBBY 3                                     BOSTON                 MA 02110‐2104
MOULTON, SUSAN                       2 THORNHURST                                                                                  SAN ANTONIO            TX 78218‐6033
MOULTON, SUSAN N                     SHIM & CHANG                         333 QUEEN ST STE 900                                     HONOLULU               HI 96813‐4720
MOULTON, THOMAS R                    11454 W 135TH ST                                                                              ORLAND PARK             IL 60467‐6869
MOULTON, VIRGINIA ESSERY             900 E HARRISON AVE APT C22                                                                    POMONA                 CA 91767‐2043
MOULTRAY, SAMUEL L                   134 AUCKLAND DR                                                                               NEWARK                 DE 19702‐4257
MOULTRIE JACKALYN                    1806 E DIMONDALE DR                                                                           CARSON                 CA 90746‐2919
MOULTRIE MCBRIDE                     20510 115TH AVE                                                                               SAINT ALBANS           NY 11412‐2904
MOULTRIE, ALFOUNGER                  1521 DILLON ST                                                                                SAGINAW                MI 48601‐1329
MOULTRIE, CALEB                      18230 MACK AVE                                                                                GROSSE POINTE FARMS    MI 48236‐3218
MOULTRIE, CLAUS                      816 HARPER DR                                                                                 DE SOTO                MO 63020‐1097
MOULTRIE, CLINTON                    111 WEDGEFIELD DR                                                                             NEW CASTLE             DE 19720‐3717
MOULTRIE, CLINTON                    410 SPRING ST                                                                                 BUFFALO                NY 14204‐1658
MOULTRIE, CYNETTA                    1521 DILLON ST                                                                                SAGINAW                MI 48601‐1329
MOULTRIE, DALE R                     4948 HAMPSHIRE DR                                                                             SHELBY TWP             MI 48316‐3153
MOULTRIE, DOROTHY L                  14334 METTETAL ST                                                                             DETROIT                MI 48227‐1850
MOULTRIE, FRANK J                    5610 CARLBURT ST                                                                              W BLOOMFIELD           MI 48322‐1297
MOULTRIE, HERMAN                     4145 LAMSON ST                                                                                SAGINAW                MI 48601‐4174
MOULTRIE, JIMMIE J                   1028 S 25TH ST                                                                                SAGINAW                MI 48601‐6524
MOULTRIE, LISA M                     5610 CARLBURT ST                                                                              WEST BLOOMFIELD        MI 48322‐1297
MOULTRIE, LOUDEAN                    PO BOX 824                                                                                    SAGINAW                MI 48606‐0824
MOULTRIE, LOUISE M                   1614 GRIMBALL RD EXT                                                                          CHARLESTON             SC 29412‐8141
MOULTRIE, LURTISSIA A                2860 PINE KNOLL DR APT 300G                                                                   AUBURN HILLS           MI 48326‐3777
MOULTRIE, MARSHALL                   6631 KINGS GATE LOOP                                                                          MOBILE                 AL 36618‐4677
MOULTRIE, MARVIN L                   9590 BURT RD                                                                                  DETROIT                MI 48228‐1520
MOULTRIE, RECIE                      19980 PRAIRIE                                                                                 DETROIT                MI 48221‐1217
MOULTRIE, ROBERT L                   12808 CIMARRON WAY                                                                            VICTORVILLE            CA 92392‐8058
MOULTRUP, HELEN W                    19710 W 13 MILE RD APT 207                                                                    BEVERLY HILLS          MI 48025‐5170
MOULTRUP, MATTHEW T                  4807 ECKLES ST                                                                                CLARKSTON              MI 48346‐3516
MOULTRY, BOBBY R                     2515 W WEBSTER RD                                                                             ROYAL OAK              MI 48073
MOULTRY, EARL                        10918 DREXEL AVE                                                                              CLEVELAND              OH 44108‐3611
MOULTRY, JAMES                       300 FERN POINTE LN                                                                            PENSACOLA              FL 32505‐1854
MOUNA BOGAR                          115 HERTEL AVE                                                                                BUFFALO                NY 14207‐2618
MOUNANAE ALJUHAIM                    4266 BRANDON ST                                                                               DETROIT                MI 48209‐1332
MOUNCE, ALFRIEDA A                   1853 KINGBIRD                                                                                 LIBERTY                MO 64068
MOUNCE, ELMO E                       285 KNOB HILL RD                                                                              SOMERSET               KY 42501‐4344
MOUNCE, HENRY                        COLOM LAW FIRM                       605 2ND AVE N                                            COLUMBUS               MS 39701‐4513
MOUNCE, HOWARD L                     3960 OAKS CLUB HOUSE DR              BLDG 78 UNIT 307                                         POMPANO BEACH          FL 33069
MOUNCE, LUSTER                       90 GEORGE ST                                                                                  SOMERSET               KY 42503‐6219
MOUNCE, TIMOTHY                      2380 INNWOOD DR                                                                               YOUNGSTOWN             OH 44515‐5152
MOUND CITY COLLECTOR                 PO BOX 215                                                                                    MOUND CITY             MO 64470‐0215
MOUND FAMILY PRACTIC                 1012 E CENTRAL AVE                                                                            MIAMISBURG             OH 45342‐2556
MOUND LASER & PHOTONICS CENTER INC   PO BOX 223                                                                                    MIAMISBURG             OH 45343‐0223

MOUND RD $2.00 CAR WASH INC, THE     ATTN: CORPORATE OFFICER/AUTHORIZED   31205 MOUND RD                                           WARREN                 MI 48092‐4736
                                     AGENT
MOUND ROAD $2 CAR WASH INC           31205 MOUND RD                                                                                WARREN                MI 48092‐4736
MOUND VIEW MOTORS, INC.              885 E BUSINESS HIGHWAY 151                                                                    PLATTEVILLE           WI 53818‐3763
MOUND VIEW MOTORS, INC.              EVERETT GILLILAN                     885 E BUSINESS HIGHWAY 151                               PLATTEVILLE           WI 53818‐3763
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Name                                  Address1                             Address2                        Address3                Address4                City                  State Zip
MOUND, ELIZABETH                      8576 BARRINGTON DRIVE                                                                                                YTSILANTI              MI 48198
MOUNES, EMILE W                       12102 STEEPLE WAY BLVD APT 415                                                                                       HOUSTON                TX 77065‐4763
MOUNGER, JAMES W                      276 MICHELLE CT                                                                                                      MANSFIELD              TX 76063‐5923
MOUNGER, JAMES WESLEY                 276 MICHELLE CT                                                                                                      MANSFIELD              TX 76063‐5923
MOUNGER, JOHN A                       1819 NEWCASTLE RD                                                                                                    GROSSE POINTE WOODS    MI 48236‐1991
MOUNGER, KIMBERLY C                   5761 W NORTHSIDE DR                                                                                                  BOLTON                 MS 39041‐9629
MOUNGER, MYRTLE C                     429 S 21ST ST                                                                                                        SAGINAW                MI 48601‐1532
MOUNGER, MYRTLE C                     429 SOUTH 21ST ST.                                                                                                   SAGINAW                MI 48601‐1532
MOUNIR MAGAR & COMPANY                65, AVE. LEADER GAMAL ABDEL NASSER                                                           ALEXANDRIA EGYPT

MOUNIR MAKHOUL HABCHI                 C/O EMIRATES LEBANON BANK            AGENCE JOUNIEH CENTRE BADOUI                            PO BOX 11_1608 BEIRUT
                                                                           PLACE MUNICIPALITE                                      JOUNIEH LEBANON
MOUNSEY, GREG D                       2214 MATTIE HARRIS RD                                                                                                CENTERVILLE           IN    47330
MOUNSEY, THOMAS D                     PO BOX 134                                                                                                           MONTPELIER            IN    47359‐0134
MOUNT CARMEL COLLEGE OF NURSING       127 S DAVIS AVE                                                                                                      COLUMBUS              OH    43222‐1504
MOUNT CARMEL EAST                     PO BOX 931068                                                                                                        CLEVELAND             OH    44193‐0004
MOUNT CARMEL HEALTH                   6150 E BROAD ST                                                                                                      COLUMBUS              OH    43213‐1574
MOUNT CLEMENS GEN/MI                  1000 HARRINGTON ST                   ATTN. JON CHOUINARD,                                                            MOUNT CLEMENS         MI    48043‐2920
                                                                           LABORATORY
MOUNT CLEMENS GENERA                  PO BOX 64453                                                                                                         DETROIT               MI 48264‐53
MOUNT DALE II (ESTATE OF) (493063)    BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD            OH 44067
                                                                           PROFESSIONAL BLDG
MOUNT HENRY JR (ESTATE OF) (638560)   GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                                      EDWARDSVILLE           IL   62025‐0959
                                      ANTOGNOLI
MOUNT HOLYOKE COLLEGE                 OFFICE OF THE COMPTROLLER                                                                                            SOUTH HADLEY          MA    01075
MOUNT JR, RALPH L                     256 BRIANCLIFF RD.                                                                                                   DAYTON                OH    45415‐3423
MOUNT JR, RALPH L                     256 BRIARCLIFF RD                                                                                                    DAYTON                OH    45415‐3423
MOUNT KISCO CHEVROLET CADILLAC        175 N BEDFORD RD                                                                                                     MOUNT KISCO           NY    10549‐1513
HUMM
MOUNT KISCO CHEVROLET CADILLAC        175 N BEDFORD RD                                                                                                     MOUNT KISCO           NY 10549‐1513
HUMMER, INC.
MOUNT KISCO CHEVROLET CADILLAC        ADRIAN QUINN*                        175 N BEDFORD RD                                                                MOUNT KISCO           NY 10549‐1513
HUMMER, INC.
MOUNT LAUREL ASSURANCE COMPANY        MCELROY THOMAS M PA                  PO BOX 1450                                                                     TUPELO                MS 38802‐1450

MOUNT MARY COLLEGE                    2900 N MENOMONEE RIVER PKWY                                                                                          MILWAUKEE             WI    53222‐4545
MOUNT MERCY COLLEGE                   1330 ELMHURST DR NE                                                                                                  CEDAR RAPIDS          IA    52402‐4763
MOUNT MORRIS TOWNSHIP                 G‐5457 BICENTENNIAL DRIVE                                                                                            MOUNT MORRIS          MI    48458
MOUNT SAINT MARY COLLEGE              FINANCE OFFICE STUDENT ACCTS         330 POWELL AVE                                                                  NEWBURGH              NY    12550‐3412
MOUNT SAINT MARY'S H                  5300 MILITARY RD                                                                                                     LEWISTON              NY    14092‐1903
MOUNT SAN ANTONIO COLLEGE             1100 N GRAND AVE                                                                                                     WALNUT                CA    91789‐1341
MOUNT SENERIO COLLEGE                 1500 COLLEGE AVE W                                                                                                   LADYSMITH             WI    54848‐2128
MOUNT ST MARYS COLLEGE                16300 OLD EMMITSBURG ROAD                                                                                            EMMITSBURG            MD    21727
MOUNT UNION COLLEGE                   BUSINESS OFFICE                      1972 CLARK AVE                                                                  ALLIANCE              OH    44601‐3929
MOUNT VERNON NAZARENE UNVSTY          ATTN STUDENT ACCOUNTS                800 MARTINSBURG RD                                                              MOUNT VERNON          OH    43050‐9509
MOUNT VERNON NAZARENE UNVSTY          EXCELL STUDENT ACCOUNTS              800 MARTINSBURG RD                                                              MOUNT VERNON          OH    43050‐9509
MOUNT VERNON TRIANGLE LLC             C/O REED SMITH LLP                   ATTN OLIVIA SHAY‐BYRNE          1301 K STREET NW 11TH                           WASHINGTON            DC    20005
                                                                                                           FLOOR
MOUNT WASHINGTON HOTEL                ATTN JENNIFER CHARRON                ROUTE 302                                                                       BRETTON WOODS         NH 03575
MOUNT WASHINGTON HOTEL                ROUTE 302                            ATTN JENNIFER CHARRON                                                           BRETTON WOODS         NH 03575
MOUNT WILLIAM                         522 W 2ND ST                                                                                                         BIRDSBORO             PA 19508‐2116
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Name                               Address1                       Address2                       Address3   Address4         City              State Zip
MOUNT, DALE                        BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                                  PROFESSIONAL BLDG
MOUNT, DARRELL DEAN                MOODY EDWARD O                 801 W 4TH ST                                               LITTLE ROCK       AR   72201‐2107
MOUNT, DEAN E                      2112 C R 2175 RT BX114B                                                                   LOUDONVILLE       OH   44842
MOUNT, DENNIS                      4411 ALGIRE RD                                                                            LEXINGTON         OH   44904‐9577
MOUNT, FLOYD E                     953 3RD ST                                                                                LOGAN             OH   43138‐1054
MOUNT, GARY L                      220 SOUTH STATE STREET                                                                    BROOKVILLE        OH   45309‐9615
MOUNT, GARY L                      220 STATE ST                                                                              BROOKVILLE        OH   45309‐9615
MOUNT, GREGORY A                   804 WASHINGTON AVE.                                                                       FAIRBORN          OH   45324‐3840
MOUNT, HARRISON S                  19311 SPENCER ST                                                                          DETROIT           MI   48234‐3129
MOUNT, HENRY                       GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                 EDWARDSVILLE      IL   62025‐0959
                                   ANTOGNOLI
MOUNT, JAMES M                     6569 TAYLORSVILLE RD                                                                      HUBER HEIGHTS     OH   45424‐3161
MOUNT, JAMES MALCOLM               6569 TAYLORSVILLE RD                                                                      HUBER HEIGHTS     OH   45424‐3161
MOUNT, JANET L                     5145 BELSAY RD                                                                            GRAND BLANC       MI   48439‐9180
MOUNT, JIMMY R                     5900 WESTCREST DR W                                                                       FORT WORTH        TX   76134‐1841
MOUNT, JOANN                       1734 KENSINGTON DR                                                                        BELLBROOK         OH   45305‐1126
MOUNT, JOHN E                      195 SAXTON ST                                                                             LOCKPORT          NY   14094‐4911
MOUNT, KENNETH C                   312 MAPLE ST                                                                              LAKEHURST         NJ   08733‐2605
MOUNT, LORRENE                     6513 SOUTHAMPTON DRIVE                                                                    CLARKSTON         MI   48346‐4742
MOUNT, LUCRETIA A                  900 W MAIN ST APT 12                                                                      NEW LEBANON       OH   45345‐9749
MOUNT, LUCRETIA A                  900 WEST MAIN ST               APT # 12                                                   NEW LEBANON       OH   45345‐5345
MOUNT, MARY                        3236 WAVERLY ST                                                                           DETROIT           MI   48238‐3346
MOUNT, MARY M                      195 SAXTON ST                                                                             LOCKPORT          NY   14094‐4911
MOUNT, MAURICE D                   6297 WESTDALE DR                                                                          GRAND BLANC       MI   48439‐8531
MOUNT, PATRICK J                   3823 NANTUCKET DR                                                                         FORT WAYNE        IN   46815‐5633
MOUNT, PAUL J                      848 ACORN LANE                                                                            FORT WAYNE        IN   46835
MOUNT, PAUL J                      26 TRINITY PL                                                                             BARRINGTON        NJ   08007‐1448
MOUNT, PAUL JOHN                   26 TRINITY PL                                                                             BARRINGTON        NJ   08007‐1448
MOUNT, PAULETTE T                  1946 MONTROSE DR                                                                          EAST POINT        GA   30344‐3003
MOUNT, RICHARD A                   6671 POWERS CT                                                                            SHELBY TOWNSHIP   MI   48317‐2234
MOUNT, RICHARD D                   5145 BELSAY RD                                                                            GRAND BLANC       MI   48439‐9180
MOUNT, RUPERT L                    5716 WINDY GORGE ST                                                                       LAS VEGAS         NV   89149‐4924
MOUNT, STEPHEN B                   4911 W 700 N                                                                              SHARPSVILLE       IN   46068‐8907
MOUNT, WILLIAM J                   7620 NUERNBERG ST                                                                         DETROIT           MI   48234‐3940
MOUNTAIN ALARM                     MIKE BAILEY                    3293 HARRISON BLVD                                         OGDEN             UT   84403‐1226
MOUNTAIN BUS COMPANY                                              4 BUS LANE                                                                   NM   87103
MOUNTAIN CHEVROLET BUICK            201 E COMMERCE ST             STE 200                                                    YOUNGSTOWN        OH   44503‐1641
MOUNTAIN CHEVROLET, PONTIAC, GMC TR 36 CHEVROLET BLVD                                                                        SPRUCE PINE       NC   28777‐8581

MOUNTAIN CHEVROLET, PONTIAC, GMC   36 CHEVROLET BLVD                                                                         SPRUCE PINE       NC 28777‐8581
TRUCK, INC.
MOUNTAIN CITY CHEVROLET, LLC       RTE 40                                                                                    INEZ              KY   41224
MOUNTAIN CITY CHEVROLET, LLC       CRAIG PREECE                   RTE 40                                                     INEZ              KY   41224
MOUNTAIN EMPIRE RADI               1301 SUNSET DR STE 3           `                                                          JOHNSON CITY      TN   37604‐7906
MOUNTAIN GOAT RUN FOUNDATION INC   PO BOX 481                                                                                SYRACUSE          NY   13214‐0481

MOUNTAIN GROVE CHEVROLET BUICK     11311 E BUSINESS 60                                                                       MOUNTAIN GROVE    MO 65711‐1848
PONT
MOUNTAIN GROVE CHEVROLET BUICK     11311 E BUSINESS 60                                                                       MOUNTAIN GROVE    MO 65711‐1848
PONTIAC
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Name                                  Address1                         Address2                      Address3   Address4              City             State Zip
MOUNTAIN LAKE'S TOWN'S EDGE AUTO      BRIAN HARDER                     1801 3RD AVE                                                   MOUNTAIN LAKE     MN 56159‐1465
INC.
MOUNTAIN LAU/WHITE H                  PO BOX 126                                                                                      WHITE HAVEN      PA 18661‐0126
MOUNTAIN MACHINE LLC                  7850 RAWSONVILLE RD                                                                             BELLEVILLE       MI 48111‐2344
MOUNTAIN MECHANICAL SERVICES LTD      743 DOUGLAS FIR ROAD BOX 1235                                             SPARWOOD BC V0B 2G0
                                                                                                                CANADA
MOUNTAIN MOVERS TRASNPORTATION&       PO BOX 1272                                                                                     GRAPEVINE         TX   76099‐1272
LOGISTICS
MOUNTAIN STATES HYDROGEN BUSINESS     C/O ARES CORPORATION             1660 OLD PECOS TRAIL                                           SANTA FE         NM 87505
COUNCIL
MOUNTAIN VALLEY PRODUCE               388 S 500 E                                                                                     SANTAQUIN        UT    84655‐8155
MOUNTAIN VIEW CHEVROLET INC           1079 W FOOTHILL BLVD                                                                            UPLAND           CA    91786‐3731
MOUNTAIN VIEW CHEVROLET, INC.         MARK LEGGIO                      1079 W FOOTHILL BLVD                                           UPLAND           CA    91786‐3731
MOUNTAIN VIEW CHEVROLET, INC.         JAMES HAGANS                     PO BOX 1286                                                    MOUNTAIN VIEW    AR    72560‐1285
MOUNTAIN VIEW CHEVROLET, INC.         PO BOX 1286                                                                                     MOUNTAIN VIEW    AR    72560‐1286
MOUNTAIN VIEW CHEVROLET, INC.         1079 W FOOTHILL BLVD                                                                            UPLAND           CA    91786‐3731
MOUNTAIN VIEW COLLEGE                 4849 W ILLINOIS AVE                                                                             DALLAS           TX    75211‐6503
MOUNTAIN WEST TRUCK CENTER            2795 S 300 W                                                                                    SALT LAKE CITY   UT    84115‐2901
MOUNTAIN WEST TRUCK CENTER            1475 W 2100 S                                                                                   SALT LAKE CITY   UT    84119‐1405
MOUNTAIN, DEBRA JEAN
MOUNTAIN, DONALD J                    2092 BRIGGS ST                                                                                  WATERFORD        MI    48329‐3700
MOUNTAIN, JAMES                       A 1516 LINCOLN TERRACE                                                                          PEEKSKILL        NY    10566
MOUNTAIN, MARGARET A                  160 ALBERTSON ST                                                                                ROCHESTER        MI    48307‐1407
MOUNTAIN, MARGARET L                  4511 COLUMBUS AVE APT C‐21                                                                      ANDERSON         IN    46013‐5105
MOUNTAIN, MICHAEL L                   1211 SHERIDAN ST                                                                                PLYMOUTH         MI    48170‐1528
MOUNTAIN, MICHAEL STEPHEN             WALTMAN & GRISHAM                2807 S TEXAS AVE #201                                          BRYAN            TX    77802
MOUNTAIN, MICHAEL STEPHEN             CLARK LAW FIRM                   PO BOX 4073                                                    BERGHEIM         TX    78004‐4073
MOUNTAIN, SARAH J                     27 HARTMAN PL                    UPPER                                                          BUFFALO          NY    14207‐2030
MOUNTAIN, WILLIAM R                   400 VILLA PARK PASS                                                                             CANTON           GA    30114‐7028
MOUNTAINEER GAS COMPANY               PO BOX 362                                                                                      CHARLESTON       WV    24322‐0362
MOUNTAINEER GAS COMPANY               KENNETH YOAKUM                   1251 BARLOW DR                                                 CHARLESTON       WV    25311‐1015
MOUNTAINEER GAS COMPANY      PO BOX                                                                                                   CRIPPLE CREEK    VA    24322
362 CHARLESTON,
MOUNTAINEER GAS COMPANY PO BOX                                                                                                        CRIPPLE CREEK    VA 24322
362 CHARLESTON,
MOUNTAINEER TRANSPORT                 2001 MAIN ST STE 100                                                                            WHEELING         WV    26003‐2855
MOUNTCASTLE, CORLISS E                213 NAVAJO TRL                                                                                  LAKE KIOWA       TX    76240‐9421
MOUNTCASTLE, DONALD S                 6556 CHRISTENE BLVD                                                                             BROOK PARK       OH    44142‐1208
MOUNTEER, MARY L                      1578 MAIO DR                                                                                    SANDY            UT    84093‐6783
MOUNTEL, ROBERT J                     3737 MANTELL AVENUE                                                                             CINCINNATI       OH    45236‐1553
MOUNTGOMERY COUNTY S.E.A.             ACCT OF PIERRE MENARD            14 W 4TH ST STE 530           SEA#                             DAYTON           OH    45402‐1897
MOUNTJOY, JAMES L                     12407 W 52ND TER                                                                                SHAWNEE          KS    66216‐1453
MOUNTJOY, NANCY                       3931 GRAHAM DR                                                                                  DAYTON           OH    45431‐2305
MOUNTS EMERY F (404127)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA    23510
                                                                       STREET, SUITE 600
MOUNTS JR, SAMUEL F                   14900 CAMP MACK ROAD                                                                            LAKE WALES       FL    33898‐8445
MOUNTS, BOBBY J                       488 VALLEY VIEW RD                                                                              MANSFIELD        OH    44905‐2138
MOUNTS, CARL L                        1396 SPRING VILLAGE DR                                                                          MANSFIELD        OH    44906‐5011
MOUNTS, DAVID E                       1417 S MAIN ST                                                                                  KOKOMO           IN    46902‐1601
MOUNTS, DEWEY                         3569 SWALLOW DR                                                                                 MELBOURNE        FL    32935‐4791
MOUNTS, EMERY F                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA    23510‐2212
                                                                       STREET, SUITE 600
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Name                              Address1                            Address2                  Address3   Address4                 City                   State Zip
MOUNTS, HAROLD J                  PO BOX 284                                                                                        EDGARTON                WV 25672‐0284
MOUNTS, JAMES I                   2130 N STATE ROAD 39 203                                                                          DANVILLE                IN 46122
MOUNTS, JEAN A                    519 N HARTFORD ST                                                                                 EATON                   IN 47338‐9450
MOUNTS, JOEL E                    617 AIRPORT RD. N.E.                                                                              WARREN                  OH 44481‐9409
MOUNTS, JOEL E                    617 AIRPORT RD NW                                                                                 WARREN                  OH 44481‐9409
MOUNTS, KEITH A                   735 N. PLEASANT VALLEY R                                                                          MILFORD                 MI 48380
MOUNTS, KENNETH L                 556 WATSON BRANCH DR                                                                              FRANKLIN                TN 37064‐5129
MOUNTS, MARY E                    735 N PLEASANT VALLEY RD                                                                          MILFORD                 MI 48380‐1235
MOUNTS, MARYANNE MURIEL           12205 HICKORY W                                                                                   UTICA                   MI 48315‐5843
MOUNTS, MAVIS E.                  819 HILOCK RD                                                                                     COLUMBUS                OH 43207‐3188
MOUNTS, MICHAEL V                 10805 VALLEY HILLS DRIVE                                                                          HOUSTON                 TX 77071‐1610
MOUNTS, MORROW                    4932 PAXTON RD                                                                                    OAK LAWN                 IL 60453‐3972
MOUNTS, MORROW JR                 C/O GOLDENBERG HELLER ANTOGNOLI ^   2227 S STATE ROUTE 157                                        EDWARDSVILLE             IL 62025
                                  ROWLAND PC
MOUNTS, PATRICIA A                11952 HERITAGE CIR                                                                                DOWNEY                 CA   90241‐4326
MOUNTS, RICHARD A                 1392 SPRING VILLAGE DR                                                                            MANSFIELD              OH   44906‐5011
MOUNTS, ROBERT D                  5541 MAHONING AVE NW                                                                              WARREN                 OH   44483‐1135
MOUNTS, RODNEY L                  519 N HARTFORD ST                                                                                 EATON                  IN   47338
MOUNTS, RONALD D                  102 GREEN SENTINEL DR                                                                             NICHOLASVILLE          KY   40356‐8525
MOUNTS, SANDRA R                  2889 GEORGESVILLE WRIGHTSVL RD                                                                    GROVE CITY             OH   43123‐9780
MOUNTS, TAYLOR                    1283 BARRENSHEE CRK                                                                               FREEBURN               KY   41528‐8532
MOUNTS, WENDELL                   3161 DIX FORK RD                                                                                  SIDNEY                 KY   41564
MOUNTS, WILLIAM E                 450 N MAYHAW DR                                                                                   VIDOR                  TX   77662
MOUNTS, WILLIAM TOOKY             4932 PAXTON RD                                                                                    OAK LAWN               IL   60453‐3972
MOUNTVIEW ACADEMY OF THEATRE ARTS CLARENDON RD WOODGREEN                                                   LONDON N226XF ENGLAND

MOUNTZ JR, WAYNE F                223 CLUBHOUSE CT                                                                                  SEBRING                FL   33876‐8312
MOUNTZ, INC                       1080 N 11TH ST                                                                                    SAN JOSE               CA   95112‐2927
MOUNTZ/SAN JOSE                   1080 N 11TH ST                                                                                    SAN JOSE               CA   95112‐2927
MOURADIAN, KATHY & VAUGHN         1345 OAK HOLLOW DR                                                                                MILFORD                MI   48380‐4262
MOURE HNOS SA                     CALLE 93 NRO 5394                   PC 1653 VILLA BALLESTER              BUENOS AIRES ARGENTINA
MOURELATOS ZISSIMOS P             PREDICTIVE ENGINEERING LLC          80 FAIRFORD RD                                                GROSSE POINTE SHORES   MI   48236‐2618
MOURER, ALLEN R                   338 TABOR ST                                                                                      LYONS                  MI   48851
MOURER, ALLEN R                   4801 AUBRY HILLS DR NORTHEAST                                                                     RIO RANCHO             NM   87144‐8657
MOURER, MICHAEL D                 12760 DUNDEE DR                                                                                   GRAND LEDGE            MI   48837‐8956
MOURER, OCTAVIA M                 12760 DUNDEE DR                                                                                   GRAND LEDGE            MI   48837‐8956
MOURES, MARIA A                   4073 SUNNYBROOK DR SE                                                                             WARREN                 OH   44484‐6584
MOURES, MICHAEL                   4073 SUNNYBROOK DR SE                                                                             WARREN                 OH   44484‐4741
MOURES, RUTH S                    350 MARWOOD DR SE                                                                                 WARREN                 OH   44484‐4642
MOURES, RUTH S                    350 MARWOOD DRIVE                                                                                 WARREN                 OH   44484‐4642
MOURNE, SHELBY J                  2199 FENNER RD                                                                                    TROY                   OH   45373‐8415
MOURNING, AMELIA E                2608 N 100TH ST                                                                                   KANSAS CITY            KS   66109‐4500
MOURNING, AMELIA E                2608 NORTH 100TH STREET                                                                           KANSAS CITY            KS   66109
MOURNING, EDNA M                  38072 ALTA DR                                                                                     FREMONT                CA   94536‐7127
MOURNING, GREGORY A               8383 BEECH GROVE RD                                                                               MARTINSVILLE           IN   46151‐8961
MOURNING, GREGORY ADRIAN          8383 BEECH GROVE RD                                                                               MARTINSVILLE           IN   46151‐8961
MOURNING, REBECCA L               4522 MARYBELLE LN                                                                                 INDIANAPOLIS           IN   46237‐2930
MOURO, RICK A                     10690 WILLIAM ST                                                                                  TAYLOR                 MI   48180‐3726
MOUROU, JULIEN P                  4412 PARKLANE CT                                                                                  BLOOMFIELD HILLS       MI   48304‐3261
MOURSI, MONA                      5899 SPRINGWATER LN                                                                               W BLOOMFIELD           MI   48322‐1755
MOURY, DARL E                     1352 FREDERICK ST                                                                                 LANCASTER              OH   43130‐2755
MOUSA ALZIRGHANI                  88 REEDING RIDGE DRIVE                                                                            JACKSONVILLE           FL   32225
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Name                       Address1                          Address2                      Address3   Address4                City               State Zip
MOUSA, CAROLYN S           564 JET STREAM BLVD                                                                                WESTFIELD           IN 45074‐9799
MOUSA, DOROTHY M           SHIELDS HOUSE                     2288 NICHOLAS COURT           APT 124                            SEYMOUR             IN 47274
MOUSA, E H                 101 MARILYN AVE                                                                                    CENTRALIA            IL 62801‐6713
MOUSA, EDWARD L            216 MCARTHUR CT                                                                                    ANDERSON            IN 46012‐1830
MOUSA, LEE E               2525 S CENTRAL WAY                                                                                 ANDERSON            IN 46011
MOUSEL, ELDON L            5812 S.E. WINDSONG LN #216                                                                         STUART              FL 34997
MOUSEL, TIMOTHY R          31529 DONNELLY ST                                                                                  GARDEN CITY         MI 48135‐1442
MOUSEL, TIMOTHY ROBERT     31529 DONNELLY ST                                                                                  GARDEN CITY         MI 48135‐1442
MOUSER ELECTRONICS         1810 GILLESPIE WAY STE 101                                                                         EL CAJON            CA 92020‐0918
MOUSER ELECTRONICS INC     PO BOX 99319                                                                                       FORT WORTH          TX 76199‐0319
MOUSER ELECTRONICS INC     1000 N MAIN ST                                                                                     MANSFIELD           TX 76063‐1514
MOUSER JOSEPH E (429514)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                             STREET, SUITE 600
MOUSER JR, FOSTER H        10701 S HARVEY AVE                                                                                 OKLAHOMA CITY      OK   73170‐6415
MOUSER'S AUTO SVC          ATTN: HAROLD MOUSER               1900 N WASHINGTON ST                                             KOKOMO             IN   46901‐2204
MOUSER, CHARLES R          8332 SATINWOOD DR                                                                                  GREENWOOD          LA   71033‐3227
MOUSER, CHARLES RICHARD    8332 SATINWOOD DR                                                                                  GREENWOOD          LA   71033‐3227
MOUSER, DENNIS O           4900 NW 42ND WAY                                                                                   TAMARAC            FL   33319‐3708
MOUSER, DONALD D           PO BOX 311                                                                                         MARBLE HILL        MO   63764‐0311
MOUSER, ELSIE E A          RR 2 BOX 759                                                                                       MARBLE HILL        MO   63764‐9527
MOUSER, GARY M             1610 SUTTER PLACE                                                                                  RENO               NV   89521
MOUSER, GARY M             232 KINGSBURY DRIVE                                                                                NORMAN             OK   73072‐5001
MOUSER, GRANVILE R         3834 BAIRD RD                                                                                      STOW               OH   44224‐4206
MOUSER, HAROLD E           10457 PLUM CREEK DR                                                                                SHREVEPORT         LA   71106‐8530
MOUSER, JOSEPH E           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
MOUSER, LISA               4817 MARYLAND AVE N                                                                                CRYSTAL            MN   55428‐4637
MOUSER, RICHARD E          14662 BLISS RD                                                                                     LAKE ODESSA        MI   48849‐9745
MOUSER, RICK L             528 N EAST ST                                                                                      TIPTON             IN   46072‐1429
MOUSER, SCOTT E            20 SMITH RD                                                                                        PARSONSFIELD       ME   04047‐6845
MOUSER, STELLA O           10701 S HARVEY AVE                122 OAK SIDE                                                     OKLAHOMA CITY      OK   73170‐6415
MOUSER, VERNALEE           1434 NORMANDY LN                                                                                   JACKSON            MO   63755‐1019
MOUSETTE, DAVID R          388 REDEMPTION ROCK TRL                                                                            STERLING           MA   01564‐2523
MOUSIGIAN, JEANNIE M       8271 MAYFAIR STREET                                                                                TAYLOR             MI   48180
MOUSSA BARNABA             3174 MISTY MORNING DR                                                                              FLUSHING           MI   48433‐3016
MOUSSA M BARNABA           3174 MISTY MORNING DR                                                                              FLUSHING           MI   48433‐3016
MOUSSA NDIAYE              6600 KINGS MILL DR                                                                                 CANTON             MI   48187‐5472
MOUSSA, AYAAN              ROBERT HOWARD, HOWARD & HOWARD,   2946 SLEEPY HOLLOW RD STE D                                      FALLS CHURCH       VA   22044‐2003
                           PC
MOUSSA, JABRA T            55839 RHINE AVENUE                                                                                 MACOMB              MI 48042‐6189
MOUSSA, MEHSON M           R MARIA MONTEIRO,477              14 ANDAR                                 CAMPINAS 13025‐150
                                                                                                      BRAZIL
MOUSSA, MEHSON MARK        R MARIA MONTEIRO,477              14 ANDAR                                 CAMPINAS SP 13025‐150
                                                                                                      BRAZIL
MOUSSA, WALID M            4470 KELLY DR                                                                                      STERLING HEIGHTS   MI   48314‐4003
MOUSSEAU JR, HAROLD W      10 GROVE ST                                                                                        MASSENA            NY   13662‐2031
MOUSSEAU, BERNARD J        6825 RATTALEE LAKE RD                                                                              CLARKSTON          MI   48348‐1955
MOUSSEAU, CEDRIC W         5133 PRAIRIE VW                                                                                    BRIGHTON           MI   48116‐9752
MOUSSEAU, CEDRIC W         190 RAVEN FALLS LN                                                                                 SIMPSONVILLE       SC   29681‐8100
MOUSSEAU, CHRISTOPHER W    190 RAVEN FALLS LN                                                                                 SIMPSONVILLE       SC   29681‐8100
MOUSSEAU, JAMES R          9038 KURAS DR                                                                                      CHEBOYGAN          MI   49721‐9423
MOUSSEAU, PETER
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Name                        Address1                             Address2                        Address3            Address4               City                 State Zip
MOUSSEAU, PETER J           44140 DEEP HOLLOW CIR                                                                                           NORTHVILLE            MI 48168‐8413
MOUSSEAU, THOMAS G          4226 ROLLING ACRES DR                                                                                           HARTLAND              MI 48353‐1615
MOUSSETTE, FRANK E          3021 S FLEMING ST                                                                                               INDIANAPOLIS          IN 46241‐6305
MOUSSETTE, SHIRLEY A        3021 S FLEMING ST                                                                                               INDIANAPOLIS          IN 46241‐6305
MOUSSO, GARY A              29 SAINT JOHNS AVE                                                                                              TONAWANDA             NY 14223‐3124
MOUSTAFA EL‐BABA            3910 BROOKFIELD DR                                                                                              TOLEDO                OH 43623‐3321
MOUSTY, JOHN A              22649 EDDY DR                                                                                                   MACOMB                MI 48044‐3727
MOUTINHO, RICHARD J         4141 DEEP CREEK RD SPC 80                                                                                       FREMONT               CA 94555‐2077
MOUTON ALCEE G              MOUTON, ALCEE G                      HOWRYBREEN LLP                  1900 PEARL STREET                          AUSTIN                TX 78705
MOUTON ALCEE G              MOUTON, JANICE                       HOWRYBREEN LLP                  1900 PEARL STREET                          AUSTIN                TX 78705
MOUTON BUSTER JR            2445 N LYNWOOD DR                                                                                               BEAUMONT              TX 77703‐2817
MOUTON GARY                 134 OAKTON ST                                                                                                   MCHENRY                IL 60050‐0518
MOUTON JR, FREDDIE          819 61ST ST                                                                                                     OAKLAND               CA 94608‐1411
MOUTON MIKE                 309 OAKLEAF DR                                                                                                  LAFAYETTE             LA 70503‐3566
MOUTON NELSON               1930 WESTCHASE DR                                                                                               BEAUMONT              TX 77707‐2957
MOUTON, ADAM                HOWRYBREEN LLP                       1900 PEARL ST                                                              AUSTIN                TX 78705‐5408
MOUTON, ALCEE G             HOWRYBREEN LLP                       1900 PEARL ST                                                              AUSTIN                TX 78705‐5408
MOUTON, BENJAMIN            HOWRYBREEN LLP                       1900 PEARL ST                                                              AUSTIN                TX 78705‐5408
MOUTON, JANICE              HOWRYBREEN LLP                       1900 PEARL ST                                                              AUSTIN                TX 78705‐5408
MOUTON, JONATHAN            HOWRYBREEN LLP                       1900 PEARL ST                                                              AUSTIN                TX 78705‐5408
MOUTON, JOSHUA              HOWRYBREEN LLP                       1900 PEARL ST                                                              AUSTIN                TX 78705‐5408
MOUTON, MORRIS J            1806 SADDLE ROCK DR                                                                                             HOUSTON               TX 77088‐3445
MOUTON, RONALD G            4732 SHORELINE BLVD                                                                                             WATERFORD             MI 48329‐1658
MOUTON, SHELBY LEXIS
MOUTON, WILLARD J           PO BOX 4                             402 ELM ST.                                                                PERRY                LA   70575‐0004
MOUTOUX, PIERCE C           21230 ELLEN DR                                                                                                  CLEVELAND            OH   44126‐3002
MOUTOUX, ROGER K            39900 SMITH RD                                                                                                  SPENCER              OH   44275‐9602
MOUTRAY, JESSE L            1555 KURTZ RD                                                                                                   HOLLY                MI   48442‐8370
MOUTRY, LEE B               3607 EASTHAMPTON DR                                                                                             FLINT                MI   48503‐2932
MOUTSIOS, LOUIS             7559 KEY WEST DR                                                                                                PARMA                OH   44134‐6622
MOUTSOS DEBORAH             PO BOX 2583                                                                                                     SOUTH PADRE ISLAND   TX   78597
MOUTVIC, JEFFREY T          21W700 GLEN VALLEY DR                                                                                           GLEN ELLYN           IL   60137‐7041
MOUW, DOUGLAS A             249 ELIZABETH ST                                                                                                ROCKFORD             MI   49341‐1003
MOUW, DOUGLAS A             2899 HIGHBROOK CIR                                                                                              HUDSONVILLE          MI   49426‐8450
MOUW, RICHARD D             7501 23RD AVE                                                                                                   JENISON              MI   49428‐8734
MOUZON, ALBERTA M           213 HENRY RUFF ROAD APT 138                                                                                     INKSTER              MI   48141
MOUZON, BETTY A             2105 KEITHSHIRE CT SE                                                                                           CONYERS              GA   30013‐6488
MOUZON, OLIVER A            2426 JOHN R RD APT 105                                                                                          TROY                 MI   48083‐2584
MOUZON, OLIVER ALEXANDER    2426 JOHN R RD APT 105                                                                                          TROY                 MI   48083‐2584
MOUZON, RANDOLPH            2105 KEITHSHIRE CRT                                                                                             CONYERS              GA   30013
MOUZON, RANDOLPH            14 HOPETON DR                                                                                                   ROCHESTER            NY   14624‐5210
MOVE ONE RELOCATIONS FZE    BLDG # G09 DUBAI AIRPORT FREE ZONE   PO BOX 293505                                       DUBAI UNITED ARAB
                                                                                                                     EMIRATES
MOVE ONE SZALLITMANYOZASI   ATTN: CORPORATE OFFICER/AUTHORIZED   BLDG # G09 DUBAI AIRPORT FREE                       DUBAI UNITED ARAB
KORLATOLT                   AGENT                                ZONE PO BOX 293505                                  EMIRATES
MOVEDA CROFT                5131 TWIN WOODS AVE                                                                                             MEMPHIS              TN   38134‐5231
MOVERS                      ATTN: ROD HENDERSON                  PO BOX 602                                                                 MUNCIE               IN   47308‐0602
MOVIECLUBONLINE             PO BOX 418                                                                                                      BINGHAMTON           NY   13902‐0418
MOVIEL, BEVERLY             134 MILDRED AVE.                                                                                                SYRACUSE             NY   13206‐3212
MOVILAUTO, S.A.             CALLE DE BRAVO MURILLO 36                                                                MADRID 3 SPAIN
MOVIMENTO INC               46029 FIVE MILE RD                                                                                              PLYMOUTH             MI 48170‐2424
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Name                          Address1                             Address2                      Address3   Address4              City               State Zip
MOVIN FREIGHT LTD             5345 OUTER DR UNIT #6                                                         WINDSOR CANADA ON N9A
                                                                                                            6J3 CANADA
MOVINA DORRIS                 5247 OTTAWA ST                                                                                      BURTON             MI    48509‐2025
MOVING CO DISCOUNT            2712 N SAGINAW ST # 205                                                                             FLINT              MI    48505‐4480
MOVING MAS/TUXEDO             400 FROLICH LANE                                                                                    TUXEDO             MD    20781
MOVSESIAN, HELEN E            6950 PEBBLE PARK CIR                                                                                WEST BLOOMFIELD    MI    48322‐3510
MOW, HILDA L                  118 AL HIGHWAY 69 N                                                                                 CULLMAN            AL    35055‐0772
MOW, HILDA L                  118 AL HWY 69 N                                                                                     CULLMAN            AL    35055‐0772
MOW, THOMAS C                 71 BIRCHWOOD DR                                                                                     TROY               MI    48083‐1710
MOWAD GEORGE DR
MOWAD, DOLORES MASSAD         DUE CABALLERO PERRY PRICE & GUIDRY   8201 JEFFERSON HWY                                             BATON ROUGE         LA   70809‐1623

MOWAD, JANE E                 7677 WINDGATE CIR                                                                                   WEST BLOOMFIELD     MI 48323‐3913
MOWAD, THOMAS ANTHONY
MOWAFA HAWASLI                3611 SLEEPY FOX DR                                                                                  ROCHESTER HILLS    MI    48309‐4518
MOWAT JR, JAMES F             2344 E BONITA CANYON DR                                                                             GREEN VALLEY       AZ    85614‐5551
MOWAT, HAROLD L               10698 70TH AVE                                                                                      EVART              MI    49631‐8147
MOWAT, ROBERT N               11571 E GOODALL RD                                                                                  DURAND             MI    48429‐9799
MOWATT'S AUTOMOTIVE SERVICE   352 WARREN AVE STE 4                                                                                PORTLAND           ME    04103‐1188
MOWATT, JOEL E                4649 WOODS EDGE DR                                                                                  ZIONSVILLE         IN    46077‐9659
MOWBRAY JOHN A (360453)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA    23510
                                                                   STREET, SUITE 600
MOWBRAY, CLARENCE V           2016 M‐76                                                                                           STERLING            MI   48659
MOWBRAY, EUGENE E             4706 LITTLE CEDAR DR.                                                                               ATTICA              MI   48412
MOWBRAY, GLADYS G             5190 STROEBEL ROAD                                                                                  SAGINAW             MI   48609
MOWBRAY, JOHN A               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA   23510‐2212
                                                                   STREET, SUITE 600
MOWBRAY, KEVIN E              4706 LITTLE CEDAR DRIVE                                                                             ATTICA             MI    48412
MOWBRAY, MICHAEL J            5209 MELVINA ST                                                                                     FAIRBORN           OH    45324‐1845
MOWBRAY, WILLIAM J            6439 REDMAN RD                                                                                      HARRISON           MI    48625‐9621
MOWBRAY, WILLIAM J            6439 REDMAN ROAD                                                                                    HARRISON           MI    48625‐9621
MOWCHAN, EDWARD J             11270 WOODWORTH RD                                                                                  NORTH LIMA         OH    44452‐9762
MOWCZAN, ANATOLI              2750 COTTAGE LN                                                                                     HARSENS IS         MI    48028‐9717
MOWCZAN, CHARLOTTE E          36833 CARRIAGE DR                                                                                   STERLING HEIGHTS   MI    48310‐4474
MOWDY, JEFFREY A              221 REDWOOD CT                                                                                      KELLER             TX    76248‐2518
MOWELL JR, CHARLES T          1638 HILLSIDE DR                                                                                    DAYTON             OH    45432‐2514
MOWELL, CHARLES WESLEY        1951 S BIRD RD                                                                                      SPRINGFIELD        OH    45505‐3543
MOWELL, DAISY                 20 PANTHER DR                                                                                       EDWARDS            MO    65326‐2414
MOWELL, FRANCES D.            4994 ROSEVIEW AVENUE                                                                                BLASDELL           NY    14219‐2624
MOWELL, JAMES L               PO BOX 977                                                                                          ANDERSON           IN    46015‐0977
MOWELL, WANDA                 931 ARBOR AVE                                                                                       INDIANAPOLIS       IN    46221
MOWEN SANDRA                  315 LINDMAN DR                                                                                      CHAMBERSBURG       PA    17202‐7558
MOWEN, CECIL E                PO BOX 46                                                                                           GRATIS             OH    45330‐0046
MOWEN, CECIL EDWARD           PO BOX 46                                                                                           GRATIS             OH    45330‐0046
MOWEN, COREY J                10838 AKRON CANFIELD RD                                                                             CANFIELD           OH    44406
MOWEN, DANIEL T               4661 STEWART RD                                                                                     LAPEER             MI    48446‐9710
MOWEN, DEBORAH A              2196 N GLENWOOD AVE                                                                                 NILES              OH    44446‐4210
MOWEN, GARY W                 2196 N GLENWOOD AVE                                                                                 NILES              OH    44446‐4210
MOWEN, GEORGE V               PO BOX 64                                                                                           GRATIS             OH    45330‐0064
MOWEN, GEORGE V               BOX 64                                                                                              GRATIS             OH    45330‐0064
MOWEN, JAMES B                1705 HORLACHER AVE                                                                                  KETTERING          OH    45420‐3236
MOWEN, JAMES F                1335 WAKEFIELD AVE                                                                                  DAYTON             OH    45406‐2926
                              09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                          Address1                        Address2                         Address3   Address4         City               State Zip
MOWEN, JOYCE M                7050 PISGAH RD                                                                               TIPP CITY           OH 45371‐9790
MOWEN, MARY ANN               1811 SE MANTH LN                                                                             PORT SAINT LUCIE    FL 34983‐4511
MOWEN, RICHARD D              2417 S 21ST AVE                                                                              BROADVIEW            IL 60155‐3864
MOWEN, ROGER P                2980 RENKENBERGER RD                                                                         COLUMBIANA          OH 44408‐9327
MOWEN, ROSE A                 13381 UNION AVE NE                                                                           ALLIANCE            OH 44601‐9345
MOWER TYLER                   MOWER, TYLER                    120 WEST MADISON STREET , 10TH                               CHICAGO              IL 60602
                                                              FLOOR
MOWER, ANNA J                 6315 JIMSTONE DRIVE                                                                          MIDDLETOWN         OH   45044
MOWER, CURTIS W               4120 S MAIN STREET RD                                                                        BATAVIA            NY   14020‐9549
MOWER, FLORA                  PO BOX 1382                                                                                  HOLLISTER          MO   65673‐1382
MOWER, FLORA                  P O BOX 1382                                                                                 HOLLISTER          MO   65673‐1382
MOWER, GEORGE E               PO BOX 1382                                                                                  HOLLISTER          MO   65673‐1382
MOWER, JOSEPHINE L            # 312                           705 NORTH MERIDIAN STREET                                    GREENTOWN          IN   46936‐1246
MOWER, MARTIN E               4802 TEXAS RD                                                                                WELLSVILLE         KS   66092‐8799
MOWER, STEVEN A               517 SOCIETY HILL CIR                                                                         THE VILLAGES       FL   32162‐6128
MOWER, TYLER                  KROHN & MOSS ‐ IL               120 WEST MADISON STREET, 10TH                                CHICAGO            IL   60602
                                                              FLOOR
MOWERS, DAVID E               2896 WOODFORD CIR                                                                            ROCHESTER HILLS    MI   48306‐3066
MOWERS, EVELYN B              1040 SEASONS CHASE                                                                           WINSTON SALEM      NC   27103‐6737
MOWERS, JOANN                 15559 AMORE ST                                                                               CLINTON TWP        MI   48038‐2505
MOWERS, ROBERT G              1351 SPRINGWOOD DR                                                                           PRUDENVILLE        MI   48651‐9578
MOWERS, SHARRON A             12702 WARNER RD                                                                              LAINGSBURG         MI   48848‐8777
MOWERS, THOMAS O              PO BOX 464                                                                                   DIMONDALE          MI   48821‐0464
MOWERS, TIMOTHY I             2113 THORBURN ST                                                                             HOLT               MI   48842‐1829
MOWERY DAVID                  10843 TOWERBRIDGE LN                                                                         LITTLETON          CO   80130‐6636
MOWERY DENNIS (446524)        KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                CLEVELAND          OH   44114
                                                              BOND COURT BUILDING
MOWERY GERALD (491247)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
MOWERY JACK (493064)          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
MOWERY JR, FREDDIE            4113 TUDOR AVE                                                                               BRUNSWICK          OH   44212‐2931
MOWERY JR, KERMIT E           1650 FRENCHS AVE                                                                             BALTIMORE          MD   21221‐2908
MOWERY ROBERT K SR (634915)   ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                     WILMINGTON         DE   19801‐1813
MOWERY, ALICE W               5851 N COUNTY ROAD 850 W                                                                     YORKTOWN           IN   47396‐9743
MOWERY, BETTY                 2273 NORTH OAK ROAD                                                                          DAVISON            MI   48423
MOWERY, BETTY                 2273 N OAK RD                                                                                DAVISON            MI   48423‐8170
MOWERY, BETTY D               5612 26TH ST W RM 29                                                                         BRADENTON          FL   34207
MOWERY, CHARLES E             4625 PREBLE COUNTY LINE RD S                                                                 W ALEXANDRIA       OH   45381‐9564
MOWERY, DENNIS                KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                 CLEVELAND          OH   44114
                                                              BOND COURT BUILDING
MOWERY, DORIS J               1902 OAK                                                                                     DANVILLE           IL   61832‐1716
MOWERY, DORIS J               1902 OAK ST                                                                                  DANVILLE           IL   61832‐1716
MOWERY, DOUGLAS S             311 W BUCYRUS ST                                                                             CRESTLINE          OH   44827‐1820
MOWERY, EDWARD L              4871 LAKEVIEW RD                                                                             W FARMINGTON       OH   44491‐9736
MOWERY, ERIC B                1610 RAY ST                                                                                  DANVILLE           IL   61832‐6536
MOWERY, ERMA L                1963 N REGENT PARK DR                                                                        BELLBROOK          OH   45305‐1384
MOWERY, ERMA L                1963 NORTH REGENT PARK DRIVE                                                                 BELLBROOK          OH   45305‐1384
MOWERY, FORREST E             25830 GROVELAND ST                                                                           ROSEVILLE          MI   48066‐3770
MOWERY, FRANK L               2095 VINCENT DR                                                                              BRUNSWICK          OH   44212‐4162
MOWERY, FRED                  6204 GANNON RD                                                                               BROOKSHIRE RD      TX   77423‐2522
MOWERY, IDA B                 1354 ARROYO DR                                                                               LAKE HAVASU CITY   AZ   86404‐1330
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Name                  Address1                            Address2                       Address3   Address4         City              State Zip
MOWERY, JERRY D       4701 RIOVIEW DR                                                                                CLARKSTON          MI 48346‐3667
MOWERY, JUDITH L      10148 N PENNINGTON RD                                                                          MOORESVILLE        IN 46158‐6661
MOWERY, JULIEUN I     6299 MILLINGTON RD                                                                             MILLINGTON         MI 48746‐9539
MOWERY, JUNE          3558 VALACAMP AVE SE                                                                           WARREN             OH 44484‐3307
MOWERY, KENNETH W     1309 1ST AVE                                                                                   DANVILLE            IL 61832‐7601
MOWERY, LOTUS C       818 SOUTH STREET                                                                               DANVILLE            IL 61832‐6425
MOWERY, LOTUS C       818 SOUTH ST                                                                                   DANVILLE            IL 61832‐6425
MOWERY, MARK A        1764 E GARRISON RD                                                                             OWOSSO             MI 48867‐9714
MOWERY, MARK H        845 TIMBERHILL DR                                                                              HURST              TX 76053‐4240
MOWERY, MAURICE R     12 JACKSON ST                                                                                  PETERSBURG         WV 26847‐9407
MOWERY, MAX E         5782 DAVISON RD                                                                                LAPEER             MI 48446‐2735
MOWERY, MILDRED A     2142 EDWARDS RD                                                                                GROVE CITY         OH 43123
MOWERY, NANCY L       337 MYERS RD                                                                                   LAPEER             MI 48446‐3153
MOWERY, PAUL R        2907 N GRAHAM RD                                                                               FRANKLIN           IN 46131‐9652
MOWERY, PETER R       6299 MILLINGTON RD                                                                             MILLINGTON         MI 48746‐9539
MOWERY, PETER RAY     6299 MILLINGTON RD                                                                             MILLINGTON         MI 48746‐9539
MOWERY, RICHARD H     655 MEADOWBROOK DR                                                                             LIMA               OH 45801‐2650
MOWERY, RICKY D       1013 GRAY SQUIRREL DR                                                                          PENDLETON          IN 46064‐9169
MOWERY, ROBERT K      ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                   WILMINGTON         DE 19801‐1813
MOWERY, ROBERT L      12719 SE 90TH COURT RD                                                                         SUMMERFIELD        FL 34491‐9775
MOWERY, RONALD W      1550 S 900 W                                                                                   SWAYZEE            IN 46986‐9737
MOWERY, ROSEANN       4871 LAKEVIEW RD.                                                                              WEST FARMINGTON    OH 44491
MOWERY, STEVE         8204 RED WING CT                                                                               FREDERICK          MD 21701‐3281
MOWERY, THELMA M      1012 VALLEY BLVD                                                                               ELYRIA             OH 44035‐2950
MOWERY, THOMAS L      53 RIVERVIEW DR                                                                                LAPEER             MI 48446‐7631
MOWERY, TINA S        311 W BUCYRUS ST                                                                               CRESTLINE          OH 44827‐1820
MOWERY, VENNA M       1401 E 52ND ST                                                                                 CLEVELAND          OH 44103‐1322
MOWERY, VERNON L      5851 N COUNTY ROAD 850 W                                                                       YORKTOWN           IN 47396‐9743
MOWERY, WANDA LOU     2932 W DAYSON DR                                                                               ANDERSON           IN 46013‐9713
MOWERY, WANDA LOU     2932 DAYSON DR                                                                                 ANDERSON           IN 46013‐9713
MOWERY, WENDALL A     641 W VILLA CHAPARRAL RD                                                                       SAN JACINTO        CA 92583‐2348
MOWERY, WILLA DENE    8510 IVEYWOOD AVE                                                                              LOCKHART           FL 32810‐1820
MOWERY, WILLA DENE    8510 IVEYWOOD                                                                                  LOCKHART           FL 32810‐1820
MOWERY, WILLIAM E     2546 ALLISTER CIRCLE                                                                           MIAMISBURG         OH 45342‐5847
MOWERY, WILLIAM F     7494 GEIGER RD                                                                                 TEMPERANCE         MI 48182‐9623
MOWERY, WILLIAM J     84 ALOHA DR                                                                                    DAYTON             OH 45439
MOWERY,CHARLES E      4625 PREBLE COUNTY LINE RD S                                                                   W ALEXANDRIA       OH 45381‐9564
MOWINSKI, CASIMIR D   7223 LOBDELL RD                                                                                LINDEN             MI 48451‐8780
MOWINSKI, THOMAS A    775 E HIBBARD RD                                                                               OWOSSO             MI 48867‐9752
MOWL, CHRIS E         5490 VASSAR RD                                                                                 GRAND BLANC        MI 48439
MOWL, CHRIS EDWARD    3198 FIELD RD                                                                                  CLIO               MI 48420‐1154
MOWL, EDNA R          7292 DISMAL RIVER ROAD                                                                         OAKWOOD            VA 24631
MOWL, HAROLD S        5120 VASSAR RD                                                                                 GRAND BLANC        MI 48439‐9176
MOWL, JOANN M         8217 LEADLEY AVE                                                                               MT MORRIS          MI 48458‐1723
MOWL, ROBERTA G       2475 CHERYL ANN DR                                                                             BURTON             MI 48519‐1329
MOWRER VIOLET D       MOWRER, VIOLET D                    6318 GASTON AVENUE SUITE 201                               DALLAS             TX 75214
MOWRER, DANA M        3294 CONNECTICUT ST                                                                            BURTON             MI 48519‐1548
MOWRER, DEBORAH A     12049 OLEAN RD                                                                                 CHAFFEE            NY 14030‐9421
MOWRER, ELSIE M       3918 18TH ST                                                                                   WYANDOTTE          MI 48192
MOWRER, ELSIE M       1325 APPLEWOOD AVE                                                                             LINCOLN PARK       MI 48146‐2041
MOWRER, PATRICIA A    120 MOORMAN DR                      APR 202                                                    CHEEKTOWAGA        NY 14225
MOWRER, VIOLET D      RAMIREZ SIEWCZYNSKI LAW FIRM PLLC   6318 GASTON AVENUE SUITE 201                               DALLAS             TX 75214
                          09-50026-mg             Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                      Address1                           Address2                        Address3   Address4         City               State Zip
MOWRER, WILLIAM E         676 DEERFIELD DR                                                                               N TONAWANDA         NY 14120‐1906
MOWRER, WILLIAM ELLIOTT   676 DEERFIELD DR                                                                               N TONAWANDA         NY 14120‐1906
MOWREY JOHN W             1159 GREENSTED WAY                                                                             BLOOMFIELD HILLS    MI 48302‐2325
MOWREY, DAVID E           238 LAKEWOOD DR                                                                                CROSSVILLE          TN 38558‐8542
MOWREY, DAVID K           PO BOX 123                                                                                     DALEVILLE           IN 47334‐0123
MOWREY, DELORIS B         HC 52 BOX 1879                                                                                 AUGUSTA             WV 26704‐9406
MOWREY, DIANA O           7410 MONTCLAIR                                                                                 GODFREY              IL 62035‐2728
MOWREY, DORIS             PO BOX 123                                                                                     DALEVILLE           IN 47334‐0123
MOWREY, FORREST L         4308 LEE HUTSON DRIVE                                                                          SACHSE              TX 75048‐4278
MOWREY, HOWARD D          5370 REARDEN CREEK RD                                                                          REARDEN             OH 45671‐9015
MOWREY, HOWARD D          5370 RARDEN CREEK RD                                                                           RARDEN              OH 45671‐9015
MOWREY, JANICE E          1820 DOUBLE SPRINGS CHURCH RD SW                                                               MONROE              GA 30656‐4628
MOWREY, JOHN W            9201 HOLLOW PINE DR                                                                            BONITA SPRINGS      FL 34135‐2020
MOWREY, MARGARET M        28 S ROBY DR                                                                                   ANDERSON            IN 46012‐3247
MOWREY, MICHAEL D         3034 HICKORY LN                                                                                LAPEL               IN 46051‐9540
MOWREY, MICHAEL D.        3034 HICKORY LN                                                                                LAPEL               IN 46051
MOWREY, REBERTA C         13421 W STATE ROAD 32                                                                          YORKTOWN            IN 47396‐9717
MOWREY, ROBERTA L         4308 LEE HUTSON DRIVE                                                                          SACHSE              TX 75048‐4278
MOWREY, RODNEY L          10 HAWTHORNE DR                                                                                LAWRENCEBURG        TN 38464‐7039
MOWREY, RODNEY L          7825 NW ROANRIDGE ROAD             APT B                                                       KANSAS CITY         MO 64151‐5213
MOWREY, SHEREE L          2935 PEARCE RD                                                                                 N TONAWANDA         NY 14120‐1135
MOWREY, STEVEN K          PO BOX 462                                                                                     MARION              IN 46952‐0462
MOWREY, STEVEN K.         PO BOX 462                                                                                     MARION              IN 46952‐0462
MOWREY, TIMOTHY E
MOWRY VERNON W (500488)   ANGELOS PETER G                    100 N CHARLES STREET , ONE                                  BALTIMORE          MD 21201
                                                             CHARLES CENTER
MOWRY, BETH J             PO BOX 573                                                                                     WILMINGTON         OH   45177‐0573
MOWRY, BRENT D            5748 N UNIONVILLE RD                                                                           UNIONVILLE         MI   48767‐9703
MOWRY, DALE J             304 2ND AVE                                                                                    BERLIN             PA   15530‐1257
MOWRY, DONALD E           7704 AKRON RD                                                                                  FAIRGROVE          MI   48733‐9750
MOWRY, JAMES L            2011 MILTON AVE STE 110                                                                        JANESVILLE         WI   53545‐0252
MOWRY, JAMES L            2568 HONEY CREEK CIR UNIT 325                                                                  EAST TROY          WI   53120‐9785
MOWRY, JOSEPH H           16 WOODBINE DR                                                                                 GREENVILLE         PA   16125‐1124
MOWRY, LARRY D            7728 AKRON RD                                                                                  FAIRGROVE          MI   48733‐9750
MOWRY, MARATHA A          2812 GAYLORD AVE                                                                               KETTERING          OH   45419‐2119
MOWRY, NELSON A           2400 MOLE AVE                                                                                  JANESVILLE         WI   53548‐1443
MOWRY, PAULA S            2811 MILTON AVE                                                                                JANESVILLE         WI   53545
MOWRY, ROBERT P           338 WALLNER QUARRY RD                                                                          BEDFORD            IN   47421‐8158
MOWRY, RONALD T           2300 PURPLE ASTER LN                                                                           JANESVILLE         WI   53546‐4349
MOWRY, RUBY M             717 W CABILLO WAY                                                                              MUSTANG            OK   73064‐3869
MOWRY, STEVEN D           6583 STATE ROUTE 48                                                                            GOSHEN             OH   45122‐9268
MOWRY, THOMAS C           2525 HYACINTH AVE                                                                              JANESVILLE         WI   53545‐1321
MOWRY, V R INC            PO BOX 155                         104 S MAIN ST                                               PETERSBURG         WV   26847‐0155
MOWRY, VERNON W           ANGELOS PETER G                    100 N CHARLES STREET, ONE                                   BALTIMORE          MD   21201‐3812
                                                             CHARLES CENTER
MOX DAVID W (446525)      KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                             BOND COURT BUILDING
MOX LACY                  6176 W CO RD 300 S                                                                             FARMLAND           IN 47340
MOX, CAROLYN J            254 S CHURCH ST                                                                                NEW LEBANON        OH 45345‐1330
MOX, DAVID W              KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                CLEVELAND          OH 44114
                                                             BOND COURT BUILDING
MOX, DONALD A             254 S CHURCH ST                                                                                NEW LEBANON        OH 45345‐1330
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Name                      Address1                       Address2                    Address3   Address4         City                 State Zip
MOX, JEFFREY L            11240 CHINOOK PATH                                                                     LAKEVIEW              OH 43331
MOX, MARK A               5217 S DEWITT RD                                                                       SAINT JOHNS           MI 48879‐9213
MOX, NORMA S              117 JACKSON ST                                                                         FARMERSVILLE          OH 45325‐1021
MOXAM, ETHEL G            824 CYPRESS WOOD LANE                                                                  SARASOTA              FL 34243‐1714
MOXEI PATRICIA            MOXEI, PATRICIA                3821 SW 27TH STREET                                     HOLLYWOOD             FL 33403‐1629
MOXEI, PATRICIA           3821 SW 27TH STREET                                                                    HOLLYWOOD             FL 33403‐1629
MOXIE TRANSPORT           ATTN: RAYMOND QATISHAT         5656 OPPORTUNITY DR # 8                                 TOLEDO                OH 43612‐2922
MOXIE TRANSPORT INC       5656 OPPORTUNITY DR STE NO 8                                                           TOLEDO                OH 43612
MOXIE TRANSPORT INC       OMAR HABBOUSH                  5656 OPPORTUNITY DR STE 8                               TOLEDO                OH 43612‐2922
MOXIM, JOSEPH             3978 W 179TH ST                                                                        CLEVELAND             OH 44111‐4110
MOXKAITIS PATRICIA        5591 LONG ACRE LN                                                                      YARDLEY               PA 19067
MOXLEY JERRY S (440354)   BILMS KEVIN P                  430 CRAWFORD ST STE 202                                 PORTSMOUTH            VA 23704‐3813
MOXLEY, BETTY J           PO BOX 357                                                                             BETHANY BEACH         DE 19930‐0357
MOXLEY, GERTRUDE E        105 CANZONET DR                                                                        NEWARK                DE 19702‐4761
MOXLEY, JAMES             1196 US HIGHWAY 221                                                                    SPARTA                NC 28675‐8502
MOXLEY, JENARO
MOXLEY, JERRY S           BILMS KEVIN P                  430 CRAWFORD ST STE 202                                 PORTSMOUTH           VA 23704‐3813
MOXLEY, LENNIE S          12925 IRELANDS CORNER RD                                                               GALENA               MD 21635‐1514
MOXLEY, LISA
MOXLEY, PAULINE T         286 BARRETT RD                                                                         ENNICE               NC   28623‐9347
MOXLEY, WILLIAM A         1558 OAK ST                                                                            YOUNGSTOWN           OH   44506‐1355
MOXLEY, WILLIAM C         290 FROST AVE                                                                          ROCHESTER            NY   14608‐2524
MOXLEY‐TARVER, DELOIS A   1243 W 122ND ST                                                                        LOS ANGELES          CA   90044‐1131
MOXON, T. J               808 WILLIAMS AVE                                                                       CLEBURNE             TX   76033‐9048
MOY JOHN I (452566)       DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                         NORTH OLMSTED        OH   44070
MOY JR, LEE               146 W TENNYSON AVE                                                                     PONTIAC              MI   48340‐2672
MOY, ANNIE                146 W TENNYSON AVE                                                                     PONTIAC              MI   48340
MOY, AUGUST A             2796 COUNTY ROAD 233                                                                   GILLETT              TX   78116‐4046
MOY, CHARLES E            4876 QUAKER HILL RD                                                                    ALBION               NY   14411‐9530
MOY, CHUN M               6940 E DRISCOLL ST                                                                     LONG BEACH           CA   90815‐4809
MOY, CLEO                 1299 E WALTON BLVD APT 202                                                             PONTIAC              MI   48340
MOY, FRED                 PO BOX 214323                                                                          AUBURN HILLS         MI   48321‐4323
MOY, HELEN W              6534 W GUNNISON ST                                                                     HARWOOD HTS          IL   60706‐4056
MOY, HELEN W              6534 W. GUNNISON ST.                                                                   HARWOOD HTS          IL   60706‐4056
MOY, HOWARD               757 LONGFORD DR                                                                        ROCHESTER HILLS      MI   48309‐2420
MOY, JAMES                PO BOX 700817                                                                          PLYMOUTH             MI   48170‐0954
MOY, JAMES C              5212 CORTLAND AVE APT 5                                                                ASHTABULA            OH   44004‐7254
MOY, JEROME K             2209 OUTLET ROAD                                                                       MONROE               LA   71203‐5825
MOY, LAURA R.             1889 QUAKER RD APT 104                                                                 BARKER               NY   14012‐9698
MOY, NANCY A              3404 CARRIAGE CT                                                                       NORTH WALES          PA   19454‐3792
MOY, PAUL W               8147 KEELER AVE                                                                        SKOKIE               IL   60076‐3233
MOY, RICHARD              23019 AVALON ST                                                                        ST CLAIR SHRS        MI   48080‐2481
MOY, RICHARD              2394 KIMBERLY FAIR ST                                                                  ROCHESTER HILLS      MI   48309‐2058
MOY, SIDNEY A             8090 WEHRLE DR                                                                         WILLIAMSVILLE        NY   14221‐7203
MOY, ZOLLIE G             905 S 5TH ST                                                                           MONROE               LA   71202‐2219
MOYA JR, RAUL R           465 KENILWORTH AVE                                                                     PONTIAC              MI   48342‐1845
MOYA KELLY                22606 LAKECREST ST                                                                     SAINT CLAIR SHORES   MI   48081‐2484
MOYA, ARSENIO             PO BOX 667                                                                             LOCKPORT             NY   14095‐0667
MOYA, CHRISTINA           9603 HAMDEN ST                                                                         PICO RIVERA          CA   90660‐5527
MOYA, GUILLERMO           1311 GALLOWAY CIR                                                                      PONTIAC              MI   48340‐2186
MOYA, JOSE G              304 WILDWOOD AVE                                                                       BATTLE CREEK         MI   49014‐6054
MOYA, RAFAEL              264 KING ST APT S10                                                                    PORT CHESTER         NY   10573‐4100
                                    09-50026-mg              Doc 7123-28 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                                Address1                         Address2                        Address3   Address4         City            State Zip
MOYA, RODOLFO R                     PO BOX 420062                                                                                PONTIAC          MI 48342‐0062
MOYA, THERESA M                     4045 PROSPECT AVE APT 103                                                                    YORBA LINDA      CA 92886‐7401
MOYA, THERESA M                     4045 PROSPECT AVE                APT. 103                                                    YORBA LINDA      CA 92886
MOYD SUZY                           1420 FLINNS RD                                                                               HARTSVILLE       SC 29550‐7334
MOYD, BENJAMIN F                    380 ABERDEEN ST                                                                              ROCHESTER        NY 14619‐1339
MOYD, RICKY T                       811 N LUZERNE AVE                                                                            BALTIMORE        MD 21205‐1611
MOYDENE ROBINSON                    15083 CAMDEN AVE                                                                             EASTPOINTE       MI 48021‐1501
MOYE MARY (446529) ‐ MOYE MARY      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                     PROFESSIONAL BLDG
MOYE W CHAMBERS                     113 STONEHOUSE DR                                                                            GALLATIN        TN   37066
MOYE, ARNOLD D                      2128 HICKORY HOLLOW DR                                                                       ROCK HILL       SC   29732‐9012
MOYE, AUDREY L                      41 MILLER STREET                                                                             PONTIAC         MI   48341‐1736
MOYE, BILLY F                       6174 NALON CT APT F                                                                          INDIANAPOLIS    IN   46224‐4551
MOYE, CARLA A                       206 CONANT DR                                                                                KENMORE         NY   14223‐2219
MOYE, CHARLES E                     1129 GRETNA GREEN AVE                                                                        TOLEDO          OH   43607‐2518
MOYE, CHARLES EDGAR                 1129 GRETNA GREEN AVE                                                                        TOLEDO          OH   43607‐2518
MOYE, DONNA M                       6256 MELROSE DRIVE                                                                           DOUGLASVILLE    GA   30134‐2249
MOYE, ELMER D                       1034 E LOGAN ST                                                                              BROWNSBURG      IN   46112‐1722
MOYE, ELONDA M                      130 CHESAPEAKE TRCE                                                                          WENTZVILLE      MO   63385‐3626
MOYE, ELONDA M                      141 CHESAPEAKE TRCE                                                                          WENTZVILLE      MO   63385‐3626
MOYE, FERDE L                       206 CONANT DR                                                                                TONAWANDA       NY   14223‐2219
MOYE, HELEN M                       7721 DEERHILL DR                                                                             CLARKSTON       MI   48346‐1247
MOYE, JAMES W                       2245 E BANTA RD                                                                              INDIANAPOLIS    IN   46227‐4902
MOYE, LACY T                        PO BOX 220                                                                                   WHITE OAK       WV   25989‐0220
MOYE, LINDA H                       645 GREENING RD                                                                              TOLEDO          OH   43607‐3514
MOYE, LINDA H                       645 GREENING ROAD                                                                            TOLEDO          OH   43607‐3514
MOYE, MARY H                        65 EASTON AVE                                                                                BUFFALO         NY   14215‐3317
MOYE, RICHARD D                     19 CHATSWORTH WAY                                                                            CLIFTON PARK    NY   12065‐7257
MOYE, ROBERT L                      1912 ALEXIS RD                   APT G102                                                    TOLEDO          OH   43613
MOYE, ROBERT L                      1629 AVONDALE AVE                                                                            TOLEDO          OH   43607‐3909
MOYE, ROSA M                        3205 N JENNINGS RD                                                                           FLINT           MI   48504‐1758
MOYE, ROSA MAE                      3205 N JENNINGS RD                                                                           FLINT           MI   48504‐1758
MOYE, THEODORE W                    10612 VORHOF DR                                                                              SAINT LOUIS     MO   63136‐5730
MOYE, WILLIE S                      3017 BARTH STREET                                                                            FLINT           MI   48504‐2983
MOYE, WILLIE S                      3017 BARTH ST                                                                                FLINT           MI   48504
MOYEL HAROLD (491248)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
                                                                     PROFESSIONAL BLDG
MOYENDA, MONTSHO W                  4034 MYRON AVE.                                                                              TROTWOOD        OH   45416‐5416
MOYENDA, MONTSHO W                  4034 MYRON AVE                                                                               TROTWOOD        OH   45416‐1659
MOYENDA, MONTSHO WAMUKOTA           4034 MYRON AVE                                                                               TROTWOOD        OH   45416‐1659
MOYER                               PO BOX 514                                                                                   CARO            MI   48723‐0514
MOYER BRET & GAMMY                  3695 NW 92ND PL                                                                              POLK CITY       IA   50226‐2077
MOYER GENE B (663701)               LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                HOUSTON         TX   77069
MOYER III, RAY A                    6601 S COUNTRY CLUB DR                                                                       OKLAHOMA CITY   OK   73159‐2943
MOYER III, RAY A                    5814 NORTH PENNSLYVNIA AVE       APT 208B                                                    OKLAHOMA CITY   OK   73112
MOYER JR, ALFRED S                  18 MILLTOWN RD                                                                               BRIDGEWATER     NJ   08807‐2613
MOYER JR, HERBERT                   4866 CORDELL DR                                                                              W CARROLLTON    OH   43439‐3141
MOYER JR, KENNETH L                 8612 PUDDENBAG RD                                                                            GERMANTOWN      OH   45327‐9744
MOYER JR, MARLIN R                  13648 ARGYLE ST                                                                              SOUTHGATE       MI   48195‐1929
MOYER JR, OTIS E                    815 N DEWEY ST                                                                               OWOSSO          MI   48867‐1836
MOYER JUDY C (ESTATE OF) (655711)   ANGELOS PETER G                  100 N CHARLES STREET , ONE                                  BALTIMORE       MD   21201
                                                                     CHARLES CENTER
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Name                        Address1                          Address2                       Address3   Address4         City               State Zip
MOYER SR, RANDY L           3140 COUNTY ROAD 4                                                                           SWANTON             OH 43558‐9734
MOYER VERNON                102 OAK DR                                                                                   SELLERSVILLE        PA 18960‐3300
MOYER, AGNES C.             1693 MERILINE AVE.                                                                           DAYTON              OH 45410‐3331
MOYER, ALAN                 20937 GARRISI CT                                                                             CLINTON TOWNSHIP    MI 48038‐6431
MOYER, AMANDA K             8379 SOUTHWESTERN BLVD #8379                                                                 DALLAS              TX 75206‐1503
MOYER, AMANDA KAY           8379 SOUTHWESTERN BLVD            #8379                                                      DALLAS              TX 75206‐1503
MOYER, BARRY R              404 RIVERS EDGE LN                                                                           PORTLAND            MI 48875‐1266
MOYER, BETH ANN             1614 PRICE RD                                                                                YOUNGSTOWN          OH 44509
MOYER, BOBBI J              2856 CADILLAC ST                                                                             MORAINE             OH 45439‐1607
MOYER, CLARA E              400 MADSEN ST APT 11                                                                         GRAYLING            MI 49738‐1979
MOYER, CLARA E              400 MADSEN STREET                 APT 11                                                     GRAYLING            MI 49738
MOYER, CLINTON S            7611 BRANCHWOOD DR                                                                           MOBILE              AL 36695‐4054
MOYER, COREY A              4017 S CARVERS ROCK RD                                                                       AVALON              WI 53505‐9514
MOYER, DANNY L              16 COUNTY ROAD 117                                                                           CORINTH             MS 38834‐7687
MOYER, DARCY M.             1318 E LINDSEY AVE                                                                           MIAMISBURG          OH 45342‐2538
MOYER, DARCY M.             1318 LINDSEY AVE                                                                             MIAMISBURG          OH 45342‐2538
MOYER, DAVID J              9147 KNOLSON ST                                                                              LIVONIA             MI 48150‐3342
MOYER, DENISE D             22616 W 53RD PLACE                                                                           SHAWNEE             KS 66226
MOYER, DENZIL A             5612 E 16TH ST                                                                               KANSAS CITY         MO 64127‐2804
MOYER, DORA M               26633 HAWTHORNE BLVD                                                                         FLATROCK            MI 48134
MOYER, DOROTHY B            8016 ADEL LN                                                                                 ZEPHYRHILLS         FL 33540‐5734
MOYER, DOROTHY B            8016 ADEL LANE                                                                               ZEPHRHILLS          FL 33540‐5734
MOYER, DOROTHY J            3140 COUNTY ROAD 4                                                                           SWANTON             OH 43558‐9734
MOYER, ELEANOR G            4269 ISLAND VIEW DRIVE                                                                       FENTON              MI 48430‐9144
MOYER, EMILY E              10744 BRIDLE PATH LN                                                                         CINCINNATI          OH 45241‐2914
MOYER, EVELYN               3070 BEAVER                                                                                  BAY CITY            MI 48706‐1104
MOYER, EVELYN               3070 BEAVER RD                                                                               BAY CITY            MI 48706‐1104
MOYER, FRANK B              4212 WOODS COVE RD                                                                           SCOTTSBORO          AL 35768‐4949
MOYER, FRED S               1430 DAKOTA RIDGE DR APT F                                                                   INDIANAPOLIS        IN 46217
MOYER, FREDDIE L            203 GAYLE BROWN RD                                                                           MONROE              LA 71202‐9161
MOYER, GARY D               837 GARFIELD AVE                                                                             LANSING             MI 48917‐9247
MOYER, GENE B               LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                               HOUSTON             TX 77069
MOYER, GENE L               802 N 6TH ST                                                                                 SUNBURY             PA 17801‐1716
MOYER, GENE/CORRINE MOYER   ICO THE LANIER LAW FIRM PC        6810 FM 1960 WEST                                          HOUSTON             TX 77069
MOYER, GERALDINE N          5411 WILLARD WEST RD                                                                         WILLARD             OH 44890‐9240
MOYER, GERALDINE N          5411 WILLARD W                                                                               WILLARD             OH 44890‐9240
MOYER, H E                  4212 WOODS COVE RD                                                                           SCOTTS BORO         AL 35768
MOYER, HARRY C              7101 MORRISON LAKE RD                                                                        SARANAC             MI 48881‐9610
MOYER, HOWARD W             335 BONNIE BRAE AVE SE                                                                       WARREN              OH 44484‐4206
MOYER, JACK C               5955 SANDALWOOD DR                                                                           CARMEL              IN 46033‐8217
MOYER, JACK L               446 BETH PAGE CIR                                                                            CENTERVILLE         OH 45458‐3683
MOYER, JAMES D              PO BOX 157                                                                                   WILLIAMSBURG        KS 66095‐0157
MOYER, JAMES D              1014 E CROWN POINTE BLVD                                                                     GREENSBURG          IN 47240‐7969
MOYER, JAMES E              525 W EL NORTE PKWY SPC 240                                                                  ESCONDIDO           CA 92026‐3916
MOYER, JAMES M              319 CHURCHILL RD                                                                             GIRARD              OH 44420‐1934
MOYER, JAMES S              1123 CRANE CT                                                                                ANDERSON            IN 46016‐2746
MOYER, JANICE A             11605 TOMAHAWK CREEK PKWY APT A                                                              LEAWOOD             KS 66211‐2621
MOYER, JEFFREY L            662 RIVARD BLVD                                                                              GROSSE POINTE       MI 48230
MOYER, JENNIFER S           1431 NW 19TH ST                                                                              GRESHAM             OR 97030‐3647
MOYER, JERRY L              53415 FULTON RD                   PO BOX 93                                                  LEONIDAS            MI 49066‐9400
MOYER, JOANNE L             37 DELTON ST                                                                                 TONAWANDA           NY 14150‐5310
MOYER, JOHN C               11363 S DEWITT RD                                                                            DEWITT              MI 48820‐7600
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Name                     Address1                           Address2                    Address3   Address4         City           State Zip
MOYER, JOHN L            12103 HIGHLAND VIEW DR                                                                     RAPID CITY      MI 49676‐9639
MOYER, JOHN T            29335 EVERGREEN ST                                                                         FLAT ROCK       MI 48134‐1238
MOYER, JUDY C            ANGELOS PETER G                    100 N CHARLES STREET, ONE                               BALTIMORE       MD 21201‐3812
                                                            CHARLES CENTER
MOYER, JUDY E            2691 S W PRICE DR                                                                          POLO           MO   64671
MOYER, KARL D            2921 LINE DR                                                                               NORMAN         OK   73071‐5501
MOYER, KARL D            203 CINDY AVE                                                                              NORMAN         OK   73071‐2435
MOYER, KENNETH R         425 ROSE                                                                                   PINCKNEY       MI   48169
MOYER, KIRK R            419 RIVERSIDE DR                                                                           PORTLAND       MI   48875‐1722
MOYER, LAWRENCE J        5108 ROCKWOOD DR                                                                           CASTALIA       OH   44824‐9725
MOYER, LEE               2122 GETTYSBURG DR SE                                                                      KENTWOOD       MI   49508‐6513
MOYER, LEO R             5205 W VALLEY CIR                                                                          PORTAGE        MI   49002‐1958
MOYER, LILLIAN T         405 ROOSEVELT DRIVE                                                                        GRAND COULEE   WA   99133‐9796
MOYER, LINDA J           11371 SHANER AVE NE                                                                        ROCKFORD       MI   49341‐9713
MOYER, MARIE R.          324 POWERS AVE                                                                             GIRARD         OH   44420‐2238
MOYER, MARILYN J         3019 W 300 S                                                                               KOKOMO         IN   46902‐4746
MOYER, MARY J            6085 SEBRING WARNER RD N LOT 103                                                           GREENVILLE     OH   45331‐1681
MOYER, MARY M            239 CASS RIVER DR                                                                          CARO           MI   48723‐1234
MOYER, MICHAEL M         1267 LAUREL VIEW DR UNIT D                                                                 ANN ARBOR      MI   48105
MOYER, MYRON K           2517 CLAYWARD DR                                                                           BURTON         MI   48509‐1057
MOYER, NANCY Z           4866 CORDELL DR                                                                            W CARROLLTON   OH   45439‐3141
MOYER, PATRICIA          118 NORTH 3RD ST                                                                           JEANNETTE      PA   15644‐3330
MOYER, PEGGY J           4893 ELLIS AVE                                                                             DAYTON         OH   45415‐1308
MOYER, RICHARD M         626 JOHN ST.                                                                               NEW CASTLE     PA   16101‐6101
MOYER, RICHARD M         626 JOHN ST                                                                                NEW CASTLE     PA   16101‐4223
MOYER, RICHARD W         7248 W STONES CROSSING RD LOT 21                                                           GREENWOOD      IN   46143‐9122
MOYER, RICK L            22616 W 53RD PL                                                                            SHAWNEE        KS   66226‐2601
MOYER, ROBERT G          2955 TRINITY ST                                                                            OCEANSIDE      NY   11572‐3221
MOYER, ROBERT H          14540 W GRAND RIVER HWY                                                                    EAGLE          MI   48822‐9643
MOYER, ROBERT P          3559 CHAPEL HILL BLVD                                                                      CLERMONT       FL   34711‐5741
MOYER, ROBIN L           515 S RIVERVIEW AVE                                                                        MIAMISBURG     OH   45342‐3027
MOYER, ROBIN R           4967 BATE ST                                                                               NEWTON FALLS   OH   44444‐9414
MOYER, RONALD A          5491 NIAGARA STREET EXT                                                                    LOCKPORT       NY   14094‐1803
MOYER, ROSE              438 MAYFLOWER AVE                                                                          LINCOLN PARK   MI   48146‐3038
MOYER, ROSE              438 MAYFLOWER                                                                              LINCOLN PARK   MI   48146‐3038
MOYER, RUTH J            14507 STATE ROUTE 61 E                                                                     NORWALK        OH   44857‐9613
MOYER, SHIRLEY A         1940 GRCENVILLE RD                                                                         BRISTOLVILLE   OH   44402
MOYER, SHIRLEY J         42 N SHUPE ST                                                                              MT PLEASANT    PA   15666‐1532
MOYER, STEVEN G          14611 W 65TH ST                                                                            SHAWNEE        KS   66216‐2120
MOYER, TED A             11617 PROVIDENCE PIKE                                                                      BROOKVILLE     OH   45309‐9306
MOYER, TERRY W           24890 FLACH RD                                                                             MENDON         MI   49072‐9760
MOYER, THEODORE L        1334 DE GOFF CT                                                                            LAKE ORION     MI   48362‐3703
MOYER, THOMAS H          5050 SCHWARTZ LN                                                                           HERMITAGE      PA   16148‐6571
MOYER, WALKER J          1328 READ ST                                                                               WILMINGTON     DE   19805‐3904
MOYER, WILLIAM           171 SMITH RD.                                                                              HADLEY         PA   16130‐6130
MOYER, WILLIAM E         6075 SW 57TH AVE                                                                           OCALA          FL   34474‐7685
MOYER, WILLIAM O         42 HILLTOP BLVD                                                                            CANFIELD       OH   44406‐1257
MOYER, WINNIFRED A       3275 BALDWIN RD                                                                            METAMORA       MI   48455‐9756
MOYER,ROBIN L            515 S RIVERVIEW AVE                                                                        MIAMISBURG     OH   45342‐3027
MOYERS JR, ISAAC         7469 E 300 S                                                                               KOKOMO         IN   46902‐9396
MOYERS WILLIAM & SUSAN   APT 151                            500 BELCHER ROAD SOUTH                                  LARGO          FL   33771‐2769
MOYERS, BENJAMIN J       7320 FREDERICK PIKE                                                                        DAYTON         OH   45414‐1908
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Name                           Address1                       Address2                 Address3    Address4         City              State Zip
MOYERS, BETTY J                1520 E 294TH ST                                                                      WICKLIFFE          OH 44092‐1919
MOYERS, BILLIE                 120 RAINBOW DR PMB 2052                                                              LIVINGSTON         TX 77399‐1020
MOYERS, CALVIN C               27 STATE ROUTE 1377                                                                  BARDWELL           KY 42023‐8875
MOYERS, CHARLES E              RR 3 BOX 30                                                                          BOONEVILLE         KY 41314‐9405
MOYERS, CHARLES E              ROUTE 3 BOX 30                                                                       BOONEVILLE         KY 41314
MOYERS, DALE J                 6462 INLAND SHORES DR                                                                MENTOR             OH 44060‐3676
MOYERS, GLORIA S               188 S COLONIAL DR                                                                    CORTLAND           OH 44410‐1265
MOYERS, GLORIA S               188 SOUTH COLONIAL DRIVE                                                             COURTLAND          OH 44410‐4410
MOYERS, JAMES R                6576 PALMYRA RD SW                                                                   WARREN             OH 44481‐9765
MOYERS, LAVADA                 279 FRANCES DR                                                                       BLANCHESTER        OH 45107‐9706
MOYERS, MARIE R                7320 FREDERICK PIKE                                                                  DAYTON             OH 45414‐1908
MOYERS, RONDA L                7469 E 300 S                                                                         KOKOMO             IN 46902‐9396
MOYERS, SHIRLEY A              4632 S 450 W                                                                         RUSSIAVILLE        IN 46979‐9461
MOYERS, WILLIAM W              APT 151                        500 BELCHER ROAD SOUTH                                LARGO              FL 33771‐2769
MOYERS, WILLIAM W              500 BELCHER RD S APT 151                                                             LARGO              FL 33771‐2769
MOYES JENNIFER                 24623 SUMMER LANE                                                                    FLAT ROCK          MI 48134‐1900
MOYES, DAVID A                 3608 S 3610 E                                                                        SALT LAKE CITY     UT 84109‐3276
MOYES, DAVID M                 3850 LEXINGTON AVENUE                                                                LORAIN             OH 44052‐5349
MOYES, LOUISE                  8911 TIMBERWOOD DR                                                                   INDIANAPOLIS       IN 46234‐1953
MOYES, SUSAN C
MOYES, TERRY A                 884 LIVERMORE LN                                                                     ELYRIA            OH   44035‐3012
MOYES, THOMAS M                132 SANDY LN                                                                         EVANS CITY        PA   16033‐9330
MOYET, CARMELO                 96 PARKHURST ST                                                                      PONTIAC           MI   48342‐2630
MOYET, CARMELO                 5715 HASSLICK RD                                                                     NORTH BRANCH      MI   48461‐8529
MOYET, CRUSITO                 58 FOREST ST                                                                         PONTIAC           MI   48342‐1323
MOYET, JUAN R                  239 S GREY RD                                                                        AUBURN HILLS      MI   48326‐3229
MOYET, MANUEL                  2665 BINGHAMTON DR                                                                   AUBURN HILLS      MI   48326‐3510
MOYET, MARIO                   2665 BINGHAMTON DR                                                                   AUBURN HILLS      MI   48326‐3510
MOYET, RAFAEL F                400 GALLASH ST SW                                                                    PALM BAY          FL   32908‐1251
MOYLAN ENGINEERING ASSOC INC   39325 PLYMOUTH RD STE 103                                                            LIVONIA           MI   48150‐4531
MOYLAN, CHARLES L              20 ACORN LN                                                                          PEMBROKE          MA   02359‐2627
MOYLAN, DENNIS W               200 KEDRON PKWY APT 224D                                                             SPRING HILL       TN   37174‐7477
MOYLAN, DENNIS W               19202 LYMESTONE CT                                                                   NEW SMYRNA        FL   32168‐1880
MOYLAN, EVELYN M               167 RIDGELEY RD                                                                      NORFOLK           VA   23505‐4622
MOYLAN, HELEN                  4220 SEABREEZE AVENUE                                                                HAMBURG           NY   14075‐1716
MOYLAN, JOAN                   19524 NORTHRIDGE DR                                                                  NORTHVILLE        MI   48167‐2912
MOYLAN, MICHAEL J              885 ROUND TOP RD                                                                     HARRISVILLE       RI   02830‐1010
MOYLAN, PATRICIA A             1758 LANCASTER DR                                                                    YOUNGSTOWN        OH   44511‐1060
MOYLAN, PATRICK D              42970 TOMLINSON DR                                                                   CLINTON TWP       MI   48038‐2498
MOYLAN, STEPHEN M              PO BOX 13200                                                                         LAS VEGAS         NV   89112‐1200
MOYLAN, THOMAS E               6440 ANSLOW DR                                                                       TROY              MI   48098‐2104
MOYLE, JACQUELYN O             560 GARRETT HILL BLVD                                                                BELFORD           NJ   07718‐1342
MOYLE, JACQUELYN O             2425 SPENCER AVE                                                                     OVERLAND          MO   63114‐3236
MOYLE, THOMAS E                6259 WALDON RD                                                                       CLARKSTON         MI   48346‐2241
MOYLE, WILLIAM J               240 MAIN ST                                                                          SPOTSWOOD         NJ   08884‐1217
MOYLES, CHARLES                6 HILLSIDE LN                                                                        WALLINGFORD       CT   06492‐2225
MOYLES, STEPHEN K              30200 STEPHENSON HWY                                                                 MADISON HEIGHTS   MI   48071‐1612
MOYNA SINGH                    301 WEST 57 STREET # 23C                                                             NEW YORK          NY   10019
MOYNAHAN, GERALD F             34601 ELMWOOD ST APT 131                                                             WESTLAND          MI   48185‐8141
MOYNAHAN, MARCELLA             34601 ELMWOOD ST APT 131                                                             WESTLAND          MI   48185‐8141
MOYNET, ELIE E                 11990 JUNIPER WAY 11                                                                 GRAND BLANC       MI   48439
MOYNET, SUZANNE                11990 JUNIPER WAY                                                                    GRAND BLANC       MI   48439‐1712
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Name                              Address1                        Address2                     Address3   Address4         City               State Zip
MOYNIHAN JR, EMMET C              5126 BELMONTE DR                                                                         ROCHESTER           MI 48306‐4785
MOYNIHAN, ALAN P                  4321 MESA VIEW LN                                                                        FORT COLLINS        CO 80526‐3378
MOYNIHAN, JOYCE E                 24655 PATRICIA AVE                                                                       WARREN              MI 48091‐1743
MOYNIHAN, ROBERT E                6114 STEPHENSON AVE                                                                      NIAGARA FALLS       NY 14304‐3855
MOYNS, WILLIAM J                  1016 DOGWOOD CIRCLE                                                                      WILDWOOD            FL 34785‐5328
MOYSES, RUSSELL F                 6262 LOUNSBURY RD                                                                        WILLIAMSTON         MI 48895‐9481
MOYUNDA A‐BEL                     9268 W MAIN ST                                                                           KALAMAZOO           MI 49009‐9303
MOYZIS, GEORGE E                  4408 W 70TH ST                                                                           MINNEAPOLIS         MN 55435‐4132
MOZADER, ARTHUR P                 2074 MARTHA HULBERT DR                                                                   LAPEER              MI 48446‐8044
MOZADER, GARY D                   PO BOX 90583                                                                             BURTON              MI 48509‐0583
MOZAK, SHERRY L                   10230 CALKINS RD                                                                         SWARTZ CREEK        MI 48473
MOZAK‐BATES, PATRICIA A           5370 WARNER RD. NE RT#1                                                                  KINSMAN             OH 44428
MOZAMMEL MONDAL                   241 DANDRIDGE DR                                                                         FRANKLIN            TN 37067‐4099
MOZARIWSKYJ, GREGORY N            54520 ROSELAWN CT                                                                        SHELBY TOWNSHIP     MI 48316‐1376
MOZARIWSKYJ, JACQUELINE A         53609 SOPHIA DR                                                                          SHELBY TWP          MI 48316‐2453
MOZARIWSKYJ, MICHAEL D            56296 ASHBROOKE DR E                                                                     SHELBY TWP          MI 48316‐5530
MOZARIWSKYJ,MICHAEL D             56296 ASHBROOKE DR E                                                                     SHELBY TWP          MI 48316‐5530
MOZAROWSKY, LEON                  1280 PERRY LAKE RD                                                                       ORTONVILLE          MI 48462‐9111
MOZART JERSEY HOLDINGS NO 1 LTD   DONALD F. DAVIS                 21300 CLOUD WAY                                          WHEELING             IL 60090
MOZDEN, EDWARD M                  6192 E DECKERVILLE RD                                                                    DEFORD              MI 48729‐9703
MOZDEN, IRENE                     33 ROBINSON STREET                                                                       NEW BRITAIN         CT 06053‐2236
MOZDEN, IRENE                     33 ROBINSON ST                                                                           NEW BRITAIN         CT 06053‐2236
MOZDEN, RONALD J                  1520 N KINGSTON RD                                                                       DEFORD              MI 48729‐9763
MOZDRZECH, LAWRENCE A             49217 FRANCES DR                                                                         MACOMB              MI 48044‐1638
MOZDZEN, ALVIN J                  7116 WICKERT RD                                                                          HALE                MI 48739‐9506
MOZDZEN, JENNIE J                 6270 E DECKERVILLE RD                                                                    DEFORD              MI 48729‐9703
MOZDZEN, STANLEY N                PO BOX 1162                                                                              INTERLACHEN         FL 32148‐1162
MOZDZIAK, NELLIE                  115 BROADWAY                    SAINT CABRINI NURSING HOME                               DOBBS FERRY         NY 10522‐2835
MOZDZIAK, THOMAS A                7287 BOSTON STATE RD APT 22                                                              HAMBURG             NY 14075‐6972
MOZDZIAK, THOMAS A.               7287 BOSTON STATE RD APT 22                                                              HAMBURG             NY 14075‐6972
MOZE, IRENE                       3973 W 157TH ST                                                                          CLEVELAND           OH 44111‐5829
MOZE, MARY A                      23020 HARMS RD                                                                           RICHMOND HEIGHTS    OH 44143‐1638
MOZE, MARY A                      23020 HARMS ROAD                                                                         RICHMOND HEIGHTS    OH 44143‐1638
MOZEAK MANZY                      4041 KATHY DR APT 1                                                                      PONTOON BEACH        IL 62040‐4484
MOZEE JR, HENRY A                 2629 ARMSTRONG AVE                                                                       KANSAS CITY         KS 66102‐4013
MOZEE, EDWARD L                   12214 CHESAPEAKE DRIVE                                                                   FLORISSANT          MO 63033‐5208
MOZEE, JOHN W                     4747A S BROADWAY                                                                         SAINT LOUIS         MO 63111‐1309
MOZEL MCCOY                       3448 PHEASANT CT                                                                         DECATUR             GA 30034‐4228
MOZEL WILLIS                      1514 E DE SOTO AVE                                                                       SAINT LOUIS         MO 63107‐1223
MOZELESKI, ANTHONY R              234 S ROSEVERE AVE                                                                       DEARBORN            MI 48124‐1462
MOZELEWSKI, LYNDA S               2105 SUE LN                                                                              SPRING HILL         TN 37174‐2305
MOZELL ANDREWS                    5050 TEAL TRL                                                                            CUMMING             GA 30028‐3926
MOZELL DISON                      PO BOX 222                                                                               ATTALLA             AL 35954‐0222
MOZELL GAINES                     12049 OTSEGO ST APT 1                                                                    DETROIT             MI 48204‐5550
MOZELL JACOBS                     6236 COLLEGE AVE                                                                         KANSAS CITY         MO 64130‐3961
MOZELL OGLETREE                   16150 LA SALLE AVE                                                                       DETROIT             MI 48221‐3113
MOZELL ROBINSON                   116 LIVINGSTON CT                                                                        BESSEMER            AL 35020‐2076
MOZELL TAYLOR                     3308 DEBBY ST                                                                            MEMPHIS             TN 38127‐6763
MOZELL THOMPSON                   1038 E AUSTIN AVE                                                                        FLINT               MI 48505‐2218
MOZELLA B JOINER                  PO BOX 756                                                                               RAYMOND             MS 39154
MOZELLA BOGAN                     PO BOX 13092                                                                             FLINT               MI 48501‐3092
MOZELLA F WALKER                  4236 RYANBROOK                                                                           BURTON              MI 48519‐2840
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Name                             Address1                        Address2                      Address3   Address4         City            State Zip
MOZELLA F WALKER                 PO BOX 311133                                                                             FLINT            MI 48531‐1133
MOZELLA GIBBONS                  3379 FLAT SHOALS RD APT R1                                                                DECATUR          GA 30034‐1363
MOZELLA MAYFIELD                 1738 LEXINGTON PKWY                                                                       INKSTER          MI 48141‐1571
MOZELLA RHODES                   115 SHADY BROOK DR                                                                        ARLINGTON        TX 76002‐3316
MOZELLA STEELE                   PO BOX 656                                                                                INKSTER          MI 48141‐0656
MOZELLA WALKER                   PO BOX 311133                                                                             FLINT            MI 48531‐1133
MOZELLE C MIMS                   2728 CHURCHLAND AVE                                                                       DAYTON           OH 45406‐1203
MOZELLE CRAFT                    57 CORBETT ST NE                                                                          BOLIVIA          NC 28422‐8647
MOZELLE F HALL                   60 DUNCAN LN                                                                              YOUNGSTOWN       OH 44505‐4814
MOZELLE HALL                     60 DUNCAN LN                                                                              YOUNGSTOWN       OH 44505‐4814
MOZELLE KEYS                     7800 YOUREE DR APT 214                                                                    SHREVEPORT       LA 71105‐5556
MOZELLE LANIER                   6612 HILLSIDE CT                                                                          N RICHLND HLS    TX 76180‐7840
MOZELLE LYNCH                    407 BELL AVE                                                                              ELYRIA           OH 44035‐3305
MOZELLE MAYLE                    3800 RICHFIELD RD APT 311                                                                 FLINT            MI 48506‐2663
MOZELLE MEADERS                  1157 KALAMAZOO AVE SE                                                                     GRAND RAPIDS     MI 49507‐1435
MOZELLE MIMS                     2728 CHURCHLAND AVE                                                                       DAYTON           OH 45406‐1203
MOZELLE TELLIS                   PO BOX 2866                                                                               ANDERSON         IN 46018‐2866
MOZELLE WICKHAM                  1222 PRESIDENT ST # B                                                                     BROOKLYN         NY 11225‐1606
MOZER, ANN                       3452 WELLESLEY CT                                                                         MT PLEASANT      SC 29466‐9075
MOZES WILLIAM R (494033)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                 STREET, SUITE 600
MOZES, WILLIAM R                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                 STREET, SUITE 600
MOZEY JAHN                       MOZEY, JAHN                     5901 CEDAR LAKE RD S                                      MINNEAPOLIS     MN   55416‐1488
MOZIAK, MICHALINA A              72 MINERVA ST                                                                             TONAWANDA       NY   14150‐3415
MOZIAK, MICHALINA ANNE           72 MINERVA ST                                                                             TONAWANDA       NY   14150‐3415
MOZIAK, PETER J                  124 WINKLER DR                                                                            TONAWANDA       NY   14150‐6135
MOZIAK, PETER JOSEPH             124 WINKLER DR                                                                            TONAWANDA       NY   14150‐6135
MOZIE, JEANETTE                  23223 FIRWOOD AVE                                                                         EASTPOINTE      MI   48021‐3529
MOZINGO, ANNIE M                 72 CROMER DRIVE                                                                           MONTGOMERY      AL   36108
MOZINGO, HAROLD B                72 CROMER DR                                                                              MONTGOMERY      AL   36108‐2010
MOZINGO, HOBART A                1624 SHERIDAN AVE. N.E.                                                                   WARREN          OH   44483‐3972
MOZINGO, JUTTA H                 406 CRYSTAL DR                                                                            LONGVIEW        TX   75604‐1244
MOZINGO, LEONARD B               4032 CROSBY RD                                                                            FLINT           MI   48506‐1411
MOZINGO, MARZELL M               4624 DEVER DR                                                                             MARTINEZ        GA   30907‐4213
MOZINGO, MICHAEL D               4439 DAIRYMANS CIR                                                                        NAPERVILLE      IL   60564‐7100
MOZINGO, MICHAEL D               6 LEDGEWOOD DR                                                                            BROOKFIELD      CT   06804‐3419
MOZINGO, NANCY S                 7091 FAIRGROVE DR                                                                         SWARTZ CREEK    MI   48473‐9408
MOZINGO, OPAL F.                 13 FOUNTAIN LAKE DRIVE                                                                    GREENFIELD      IN   46140‐8646
MOZINGO, SHERRY L                5131 RAYMOND AVE                                                                          BURTON          MI   48509‐1933
MOZINGO, SHERRY LYNN             5131 RAYMOND AVE                                                                          BURTON          MI   48509‐1933
MOZJESIK, OLLIE LEE              800 WEB ST                                                                                ARLINGTON       TX   76011‐5833
MOZJESIK, OLLIE LEE              800 WEB                                                                                   ARLINGTON       TX   76011‐5833
MOZLEY FINLAYSON & LOGGINS LLP   5605 GLENRIDGE DR NE STE 900                                                              ATLANTA         GA   30342‐1380
MOZLEY, RENITA A                 PO BOX 1935                                                                               MABLETON        GA   30126‐1015
MOZOL, JENNIE M                  36469 BLACK OAK                                                                           WESTLAND        MI   48185
MOZOLIK, ANDREA                  9358 E INDIGO MT WAY                                                                      VAIL            AZ   85641
MOZOLIK, MICHAEL J               9358 E INDIGO MTN WAY                                                                     VAIL            AZ   85641
MOZURKEWICH, EDWARD              35602 DOVER ST                                                                            LIVONIA         MI   48150‐3507
MOZZILLO MD, JAMES J             595 NORTHFIELD RD                                                                         PLAINFIELD      IN   46168‐3035
MOZZILLO, DOROTHY P              801 E PROSPECT ST                                                                         GIRARD          OH   44420‐2333
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Name                            Address1                             Address2                         Address3                   Address4                City             State Zip
MP BETEILIGUNGS GMBH            HERTELSBRUNNENRING 2                                                                             KAISERSLAUTERN RP 67657
                                                                                                                                 GERMANY
MP STAR FINANCIAL INC           PO BOX 27412                                                                                                             CLEVELAND        OH    44127‐0412
MP TOOL & ENGINEERING CO        15850 COMMON RD                      PO BOX 631                                                                          ROSEVILLE        MI    48066‐1895
MP TOOL & ENGINEERING COMPANY   15850 COMMON RD                      PO BOX 631                                                                          ROSEVILLE        MI    48066‐1895
MP TOOL/ROSEVILLE               15850 COMMON RD                                                                                                          ROSEVILLE        MI    48066‐1895
MP TOTALCARE CCS MED            67 INVERNESS DR E STE 150                                                                                                ENGLEWOOD        CO    80112‐5120
MP3CAR INC                      2400 BOSTON ST                       STE 304                                                                             BALTIMORE        MD    21224‐4781
MPB/HOV SERVICES LLC #774260    ATTN: CORPORATE OFFICER/AUTHORIZED   4260 SOLUTIONS CTR                                                                  CHICAGO          IL    60677‐4002
                                AGENT
MPC AUTOMOTRIZ SA DE CV         PROLONGACION SERNA Y CALLE 13 900    INFONAVIT                                                   SANTA ANA SO 84600
                                                                                                                                 MEXICO
MPC INC
MPD WELDING INC                 4200 S LAPEER RD                                                                                                        ORION              MI 48359‐1866
MPD WELDING INC                 4200 S. LAPEER ROAD                                                                                                     ORION              MI 48359
MPD WELDING INC                 ATTN: CORPORATE OFFICER/AUTHORIZED   4200 S LAPEER RD                                                                   ORION              MI 48359‐1866
                                AGENT
MPD WELDING/ORION               4200 S LAPEER RD                                                                                                        ORION              MI   48359‐1866
MPE EVENT PRODUCTIONS INC       33174 CAPITOL ST                                                                                                        LIVONIA            MI   48150‐1744
MPG SERVICE/HILLSBOR            302 COKE AVE                                                                                                            HILLSBORO          TX   76645‐2655
MPG TRANSPORT                   PO BOX 33011                                                                                                            DETROIT            MI   48232‐5011
MPG UNITED ROAD                 NO ADVERSE PARTY
MPH VEHICLE CORP                8120 VETERANS HWY                                                                                                       MILLERSVILLE      MD    21108
MPI INTER/ROCHESTER             2129 AUSTIN AVE                                                                                                         ROCHESTER HILLS   MI    48309‐3668
MPI INTERNATIONAL INC           1200 KLOECKNER DR                    PO BOX 409                                                                         KNOX              IN    46534‐7500
MPI INTERNATIONAL INC           2111 W THOMPSON RD                                                                                                      FENTON            MI    48430‐9704
MPI INTERNATIONAL INC           2460 SNAPPS FERRY RD                                                                                                    GREENEVILLE       TN    37745‐1650
MPI INTERNATIONAL INC           FRANK MASTRANGELO                    1200 KLOECKNER DR                INDIANA FINEBLANKING DIV                          KNOX              IN    46534‐7500

MPI INTERNATIONAL INC           FRANK MASTRANGELO                    INDIANA FINEBLANKING DV          1200 KLOCKNER DR                                  NORTHRIDGE        CA    91329‐0001
MPI INTERNATIONAL INC           1200 KLOECKNER DR                                                                                                       KNOX              IN    46534‐7500
MPI INTERNATIONAL INC           1617 INDUSTRIAL RD                                                                                                      GREENEVILLE       TN    37745‐3505
MPI INTERNATIONAL INC           5798 N MAIN ST                                                                                                          COWPENS           SC    29330‐9713
MPI LABEL SYSTEMS               450 COURTNEY RD                                                                                                         SEBRING           OH    44672‐1339
MPI MECHANICAL INC              11 MCMILLAN WAY                                                                                                         NEWARK            DE    19713
MPI SOUTHERN FINEBLANKING       21177 HILLTOP ST                                                                                                        SOUTHFIELD        MI    48033‐4912
MPI TENNESSEE FINEBLANKING      FRANK MASTRANGELO                    1617 INDUSTRIAL RD                                                                 GREENEVILLE       TN    37745‐3505
MPINET/LAKE BUENA VI            PO BOX 22555                                                                                                            ORLANDO           FL    32830‐2555
MPK AUTOMOTIVE SYSTEMS          3295 RIVER EXCHANGE DR STE 165                                                                                          NORCROSS          GA    30092‐4212
MPK AUTOMOTIVE SYSTEMS, INC.    MAURICE STEPHENSON                   3295 RIVER EXCHANGE DR STE 165                                                     NORCROSS          GA    30092‐4212

MPLS CLINIC OF NEURO            PO BOX 86                                                                                                               MINNEAPOLIS       MN 55486‐0086
MPRO, LLC                       ATTN: GENERAL COUNSEL                PO BOX 1121                                                                        ANNANDALE         MN 55302‐1321
MPS BANCA PERSONALE S P A       ATTN MR EUGENIO ANGUILLA             STRADA PROV LE LECCE SURBO‐                                 73100 LECCE ITALY
                                                                     ZONA INDUSTRIALE
MPS CONTROLS INC                PO BOX 510983                                                                                                           LIVONIA            MI 48151‐6983
MPS GROUP                       2920 SCOTTEN                                                                                                            DETROIT            MI 48210
MPS GROUP INC                   ATTN: CHARLIE J WILLIAMS             2920 SCOTTEN ST                                                                    DETROIT            MI 48210‐3294
MPS GROUP INC
MPS GROUP INC                   2920 SCOTTEN ST                                                                                                         DETROIT            MI 48210‐3294
MPS INTERNATIONAL               18 SWINYARD ST                                                                                   LONDON ONT CANADA ON
                                                                                                                                 N5W 4B6 CANADA
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Name                             Address1                             Address2                   Address3                   Address4                 City              State Zip
MPS‐GK LLC                       13710 MOUNT ELLIOTT ST                                                                                              DETROIT            MI 48212‐1304
MPS‐GK LLC                       2920 SCOTTEN ST                                                                                                     DETROIT            MI 48210‐3294
MPSI/STERLING HTS                6405 19 MILE RD                                                                                                     STERLING HTS       MI 48314‐2115
MPT DRIVES INC                   950 E MANDOLINE AVE                                                                                                 MADISON HEIGHTS    MI 48071‐1435
MPT INTE/CONCORD                 800 TESMA WAY                                                                              CONCORD ON L4K 5C2
                                                                                                                            CANADA
MPT INTERNATIONAL                800 TESMA WAY                                                                              CONCORD ON L4K 5
                                                                                                                            CANADA
MPT LANSING LLC                  3140 SPANISH OAK DR                                                                                                 LANSING           MI   48911
MPT MUNCIE                       4701 S COWAN RD                                                                                                     MUNCIE            IN   47302‐9560
MPT X2T                          DIV OF MAGNA POWERTRAIN USA          6600 NEW VENTURE GEAR DR   INC                                                 EAST SYRACUSE     NY   13057‐1209
MPT X2T                          6600 NEW VENTURE GEAR DR                                                                                            EAST SYRACUSE     NY   13057‐1209
MPT‐LANSING LLC                  3140 SPANISH OAK DR                                                                                                 LANSING           MI   48911
MPTD, INC.                       MATTHEW DAGENAIS                     2600 LUDINGTON ST                                                              ESCANABA          MI   49829‐1331
MQS INSPEC/ELK GROVE             2301 ARTHUR AVE.                                                                                                    ELK GROVE VLG     IL   60007
MR LILLIAN ESOKOFF               2900 BRAGG ST                                                                                                       BROOKLYN          NY   11235
MR RON BACON                     1610 L                                                                                                              BEDFORD           IN   47421‐3730
MR & MRS BILL BREY               271 OLD TAYLOR RD                                                                                                   JEFFERSONVILLE    NY   12748‐5927
MR & MRS DELLENEY RUFF           516 SIMS AVE                                                                                                        COLUMBIA          SC   29205
MR & MRS GEORGE R COONTZ         4340 MAUREEN CT SE UNIT E                                                                                           CEDAR RAPIDS      IA   52403
MR & MRS MICHAEL HEYLEMANS ‐     MERRILL LYNCH SA RL                  ATTN: ELLEN VAN ERP        4, RUE ALBERT BORSCHETTE   L‐1246 LUXEMBOURG
MR & MRS OIKONOMOY               MR CHRISTOS AND MARIOS OIKONOMOY     MRS ELENI AND PATRISA      83 PAMVOTIDOS STR ANO      ATHENS 16561 GREECE
                                                                      OIKONOMOY                  GLYFADA
MR & MRS R MILTON KOFFS          1702 ANDROS ISLE                     APT B2                                                                         COCONUT CREEK     FL 33066
MR & MRS ROBTERT T ACKER         34 ROBIN CT                                                                                                         PLAINVIEW         NY 11803
MR & MRS SPYRIDON SPOZITOS       ALEXANDRA SPOZITOY CHRISTINA‐MARIA   18 SP ALEVIZOY STR                                    N SMIRNI‐ATHENS GREECE
                                 SPOZITOY                                                                                   17124
MR & MRS STEFFEN & MARTINA ALT   TAUBENTALSTR 3                                                                             73525 SCHWAEBISCH
                                                                                                                            GMUEND GERMANY
MR & MRS. VINCENT PACAUD         HOUSE 18 LAS PINADAS                                                                       33 SHOUSON HILL ROAD
                                                                                                                            HONG KONG
MR & MS KAPELLOS                 MR. KONSTANTINOS KAPELLOS            MS. STEFANIE KAPELLOS      21‐23 RIGA FEREOU          KALLITHEA ATHENS 17671
                                                                                                                            GREECE
MR AARON ABOTT                   22 E LONGFELLOW AVE                                                                                                 PONTIAC           MI   48340‐2742
MR AARON B VEST                  1408 S HOYT AVE                                                                                                     MUNCIE            IN   47302‐3187
MR AARON D GENTRY                845 MORRIS AVE                                                                                                      LANSING           MI   48917‐2326
MR AARON D JOHNSON               3802 HOLLY AVE                                                                                                      FLINT             MI   48506‐3109
MR AARON G MCCORMICK             2911 HARWICK DR APT 8                                                                                               LANSING           MI   48917‐2356
MR AARON G OSLEGER               10950 PIERSON DR STE 600                                                                                            FREDERICKSBRG     VA   22408‐8084
MR AARON H DUDLEY                250 HIGH ST                                                                                                         PONTIAC           MI   48342‐1121
MR AARON J BRINEGAR              1718 13TH ST                                                                                                        BEDFORD           IN   47421‐3116
MR AARON L CROOKSHANKS           2136 S CHATHAM ST                                                                                                   JANESVILLE        WI   53546‐6115
MR AARON L WIGGINS               700 STIRLING ST                                                                                                     PONTIAC           MI   48340‐3169
MR AARON M DAGGY                 1708 K ST                                                                                                           BEDFORD           IN   47421‐4235
MR AARON M DENSON                323 N DEERFIELD AVE                                                                                                 LANSING           MI   48917‐2910
MR AARON OSMUN                   2244 E PARKWOOD AVE                                                                                                 BURTON            MI   48529‐1768
MR AARON R BALDWIN               157 W PRINCETON AVE                                                                                                 PONTIAC           MI   48340‐1841
MR AARON R GINSBURG              801 DURANT ST                                                                                                       LANSING           MI   48915‐1328
MR AARON S HENDERSON             1016 P ST                                                                                                           BEDFORD           IN   47421‐2818
MR AARON W ALSPAUGH              180 W BEVERLY AVE                                                                                                   PONTIAC           MI   48340‐2622
MR AARON W BEARD                 284 W YPSILANTI AVE                                                                                                 PONTIAC           MI   48340‐1755
MR AARRE T LAHTI                 3101 24TH ST                                                                                                        DETROIT           MI   48216‐1077
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Name                         Address1                       Address2            Address3         Address4         City           State Zip
MR ABDUL A KUFAKUNOGA        1258 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1616
MR ABDUS S TOOTLA            502 FOX HILLS DR S                                                                   BLOOMFIELD      MI 48304‐1316
MR ABDUSSALAAM S KHABIR      5900 BRIDGE RD APT 306                                                               YPSILANTI       MI 48197‐7011
MR ABEL J HERNANDEZ          821 STIRLING ST                                                                      PONTIAC         MI 48340‐3174
MR ABRAHAM J HITOW           421 FOX HILLS DR S APT 2                                                             BLOOMFIELD      MI 48304‐1348
MR ABRAHAM J TABER           2224 E JUDD RD                                                                       BURTON          MI 48529‐2407
MR ABRAHAM T HANNA           1740 YELLOW PINE RDG                                                                 CORONA          CA 92882‐5694
MR ADAM AUSTIN               4 ELM CIR                                                                            MASSENA         NY 13662‐1824
MR ADAM CAMPBELL JR          2192 HUBBARD ST                                                                      DETROIT         MI 48209‐3318
MR ADAM GURCZENSKI JR        606 CURTIS AVE                                                                       WILMINGTON      DE 19804‐2108
MR ADAM H WILMS              11060 AARON DR                                                                       CLEVELAND       OH 44130‐1362
MR ADAM HAMILLA              1030 LUCHARLES AVE                                                                   MOUNT MORRIS    MI 48458‐2125
MR ADAM HARTWICK             29 STEGMAN LN                                                                        PONTIAC         MI 48340‐1662
MR ADAM J BACZKIEWICZ        914 STANLEY ST                                                                       LANSING         MI 48915‐1366
MR ADAM J GAUKEL             238 BRYNFORD AVE                                                                     LANSING         MI 48917‐2990
MR ADAM L LEPP               1377 PROPER AVE                                                                      BURTON          MI 48529‐2043
MR ADAM P BESWETHERICK       2096 COVERT RD                                                                       BURTON          MI 48509‐1011
MR ADAM P HAMMER             3806 IVANHOE AVE                                                                     FLINT           MI 48506‐4240
MR ADAM P HULL               1005 STANLEY AVE                                                                     PONTIAC         MI 48340‐1779
MR ADAM R LESIEUR            227 W LONGFELLOW AVE                                                                 PONTIAC         MI 48340‐1835
MR ADAM S DEUBNER            313 N ROSEMARY ST                                                                    LANSING         MI 48917‐2975
MR ADAM STORTZ               1331 W BURBANK AVE                                                                   JANESVILLE      WI 53546‐6108
MR ADAM T CONSINEAU          2288 E BUDER AVE                                                                     BURTON          MI 48529‐1776
MR ADAM T KOPER JR           605 BECKER AVE                                                                       WILMINGTON      DE 19804‐2105
MR ADAM WILLMAN              1107 10TH ST APT A                                                                   BEDFORD         IN 47421‐2525
MR ADAN PLATA                3820 SCOTTEN ST                                                                      DETROIT         MI 48210‐3162
MR ADELBERT A JUNE           1450 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1626
MR ADIN E MORALES            53 LINDSAY ST                                                                        FRAMINGHAM      MA 01702‐8715
MR ADLAI A HILLISON JR       1217 ANTHONY AVE                                                                     JANESVILLE      WI 53546‐6007
MR ADOLPH W HILL             1921 N BELL ST                                                                       KOKOMO          IN 46901‐2329
MR ADORABLE C RESURIECCION   741 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1307
MR ADRIAN F BASSETT          1105 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1703
MR ADRIAN F TARASKA          49 GROVE ST                                                                          MASSENA         NY 13662‐2129
MR ADRIAN HUNTER             1321 WALNUT ST                                                                       BEDFORD         IN 47421‐1833
MR ADRIAN J LARCH            5719 CHEVROLET BLVD APT A309                                                         CLEVELAND       OH 44130‐1484
MR AGUSTIN H GONZALEZ        4760 BRANDON ST                                                                      DETROIT         MI 48209‐1300
MR AHEARN G AMO              57 GROVE ST                                                                          MASSENA         NY 13662‐2128
MR AHMAD A FARES             2370 FERGUSON RD                                                                     ONTARIO         OH 44906‐1177
MR AHMADU S DEWBERRY         3376 BROOKSHEAR CIR                                                                  AUBURN HILLS    MI 48326‐2212
MR AHMED ALWAJEEH            11009 N SAGINAW ST APT 3                                                             MOUNT MORRIS    MI 48458‐2029
MR AHMED ELBARADIE           2825 MIDDLEBEL 7 RD                                                                  W BLOOMFIELD    MI 48324‐1886
MR AJAY CHAHDA               417 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1309
MR AL WASHINGTON             169 W COLUMBIA AVE                                                                   PONTIAC         MI 48340‐1811
MR ALAN A AVERY              34 NIGHTENGALE AVE                                                                   MASSENA         NY 13662‐1715
MR ALAN A GROSS              1618 16TH ST                                                                         BEDFORD         IN 47421‐3612
MR ALAN BRADSHAW             2201 E BERGIN AVE                                                                    BURTON          MI 48529‐1780
MR ALAN C OLIVER             32 GROVE ST                                                                          MASSENA         NY 13662‐2100
MR ALAN C PAYNE              143 SUMMIT ST                                                                        PONTIAC         MI 48342‐1167
MR ALAN C YARBERRY           2104 H ST                                                                            BEDFORD         IN 47421‐4650
MR ALAN D FLICK              1411 13TH ST                                                                         BEDFORD         IN 47421‐3226
MR ALAN D MCKINSTRY          1066 LAPORT AVE                                                                      MOUNT MORRIS    MI 48458‐2522
MR ALAN D SCOTT              912 W 11TH ST                                                                        MUNCIE          IN 47302‐3173
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Name                         Address1                            Address2                         Address3   Address4                   City             State Zip
MR ALAN E HAYS               1153 PANAMA AVE                                                                                            MOUNT MORRIS      MI 48458‐2533
MR ALAN E MILLS              405 H ST                                                                                                   BEDFORD           IN 47421‐2211
MR ALAN FAITEL               845 STANLEY AVE                                                                                            PONTIAC           MI 48340‐2559
MR ALAN G TULIP              17 HILLCREST AVE                                                                                           MASSENA           NY 13662‐1820
MR ALAN J EATON              9808 GERALDINE ST                                                                                          YPSILANTI         MI 48197‐6922
MR ALAN J JAWORSKI           10690 AARON DR                                                                                             CLEVELAND         OH 44130‐1353
MR ALAN J LABAFF             14 BRIGHTON ST                                                                                             MASSENA           NY 13662‐2228
MR ALAN K DAVIS              2920 N LABADIE                                                                                             MILFORD           MI 48380‐2920
MR ALAN K MURRAY             621 LANCASTER LN                                                                                           PONTIAC           MI 48342‐1853
MR ALAN M ANDERSON           PO BOX 385                                                                                                 NORTH OLMSTEAD    OH 44070‐0385
MR ALAN M KORBY              1500 OAK HOLLOW DR                                                                                         MILFORD           MI 48380‐4265
MR ALAN R BUSH               1521 12TH ST                                                                                               BEDFORD           IN 47421‐3101
MR ALAN R VANSICKEL          2526 FERGUSON RD                                                                                           ONTARIO           OH 44906‐1136
MR ALAN S HENRY              1146 LAPORT AVE                                                                                            MOUNT MORRIS      MI 48458‐2576
MR ALAN W ECKL               451 FOX HILLS DR S APT 6                                                                                   BLOOMFIELD        MI 48304‐1353
MR ALBERT A CHILTON          9 CHESTNUT ST                                                                                              MASSENA           NY 13662‐1807
MR ALBERT A HUDSON JR        655 BEACH ST                                                                                               MOUNT MORRIS      MI 48458‐1907
MR ALBERT ARGILLANDER        1430 E SCOTTWOOD AVE                                                                                       BURTON            MI 48529‐1624
MR ALBERT BOOKER             610 E PATERSON ST                                                                                          FLINT             MI 48505‐4744
MR ALBERT C SMITH            514 W 11TH ST                                                                                              MUNCIE            IN 47302‐3182
MR ALBERT CANOSSA            725 AVENUE A PEGLION                                                            06190 ROQUEBRUNE CAP
                                                                                                             MARTIN FRANCE
MR ALBERT D BAUMHART 3D      2040 POST HOUSE CT                                                                                         BLOOMFIELD       MI   48304‐1047
MR ALBERT D RAMSEY           791 PALMER DR                                                                                              PONTIAC          MI   48342‐1860
MR ALBERT DOWDLE             321 W HOPKINS AVE                                                                                          PONTIAC          MI   48340‐1719
MR ALBERT E BOUQUENOY        2149 SCOTTEN ST                                                                                            DETROIT          MI   48209‐1666
MR ALBERT E BROWN            240 W LONGFELLOW AVE                                                                                       PONTIAC          MI   48340‐1834
MR ALBERT F KEBL             670 FOX RIVER DR                                                                                           BLOOMFIELD       MI   48304‐1012
MR ALBERT G BLAIS II         2 NIPMUC RD                                                                                                FRAMINGHAM       MA   01702‐7228
MR ALBERT HUNTER 3D          597 FOX HILLS DR N                                                                                         BLOOMFIELD       MI   48304‐1311
MR ALBERT J CALTAGERONE JR   1917 KELLOGG AVE                                                                                           JANESVILLE       WI   53546‐3906
MR ALBERT J KRIEG            1942 HUNTERS RIDGE DR                                                                                      BLOOMFIELD       MI   48304‐1036
MR ALBERT L OLSEN            719 BLAINE AVE                                                                                             PONTIAC          MI   48340‐2401
MR ALBERT L ROBINSON         51 CLARKSON AVE                                                                                            MASSENA          NY   13662‐1758
MR ALBERT N NICOLA           40 RANSOM AVE                                                                                              MASSENA          NY   13662‐1735
MR ALBERT O SHELTON          11331 AARON DR                                                                                             CLEVELAND        OH   44130‐1264
MR ALBERT S EBELING SR       1716 N APPERSON WAY                                                                                        KOKOMO           IN   46901‐2350
MR ALBERT T PARK             701 COBBLESTONE BLVD UNIT 103                                                                              FREDERICKSBRG    VA   22401‐6618
MR ALBERT T RODRIGUEZ        17 LYNBROOK RD                                                                                             WILMINGTON       DE   19804‐2668
MR ALBERT T WYRICK           892 EMERSON AVE                                                                                            PONTIAC          MI   48340‐3225
MR ALBERT W DAVIS            12 CHURCH ST # 2                                                                                           MASSENA          NY   13662‐1810
MR ALBERT W PARKHURST        1501 ARBUTUS ST                                                                                            JANESVILLE       WI   53546‐6141
MR ALBERTITO L COLON         786 PENSACOLA AVE                                                                                          PONTIAC          MI   48340‐2357
MR ALBERTO BERINI            C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZO NO 290              80035 NOLA, NAPLES ITALY

MR ALBERTO G BARRIENTOZ      403 BRYNFORD AVE                                                                                           LANSING          MI   48917‐2996
MR ALBERTO G TAPANG          11 CUNARD ST                                                                                               WILMINGTON       DE   19804‐2807
MR ALBERTO OTERO JR          11371 AARON DR                                                                                             PARMA            OH   44130‐1264
MR ALBERTO T GONZALEZ        2155 PALMS ST                                                                                              DETROIT          MI   48209‐1645
MR ALCIDES S MORAES          131 WALNUT AVE                                                                                             CLARK            NJ   07066‐1201
MR ALDO AKHRAS               BANQUE DE LEUROPE MERIDIONALE BEMO 16 BOULEVARD ROYAL                           L 2449 LUXEMBOURG
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Name                           Address1                           Address2              Address3     Address4                 City            State Zip
MR ALEJANDR NAVARRO            4712 BRANDON ST                                                                                DETROIT          MI 48209‐0920
MR ALEJANDRO BECERRA           7 CUNARD ST                                                                                    WILMINGTON       DE 19804‐2807
MR ALEJANDRO OCAMPO            103 STEGMAN LN                                                                                 PONTIAC          MI 48340‐1669
MR ALEJANDRO R TREVINO         93 W HOPKINS AVE                                                                               PONTIAC          MI 48340‐1819
MR ALEJANDRO TOVAR             259 W FAIRMOUNT AVE                                                                            PONTIAC          MI 48340‐2741
MR ALEJANDRO V VILLAGOMEZ      4754 BRANDON ST                                                                                DETROIT          MI 48209‐1300
MR ALEJANDRO VERGARA           108 S LAURA CT                                                                                 WILMINGTON       DE 19804‐2046
MR ALEJO TORRES                2311 MCKINSTRY ST                                                                              DETROIT          MI 48209‐3193
MR ALESSANDROS S CARBONE       313 LOCKWOOD HILL RD                                                                           MOUNT UPTON      NY 13809‐2118
MR ALEX A SYPER                4866 KONKEL ST                                                                                 DETROIT          MI 48210‐3208
MR ALEX COOK                   2046 CONNELL ST                                                                                BURTON           MI 48529‐1333
MR ALEX DOMANIAN               BANQUE DE LEUROPE MERIDIONALE BEMO 16 BOULEVARD ROYAL                 L 2449 LUXEMBOURG

MR ALEX H BENGIE               802 BLAINE AVE                                                                                 PONTIAC         MI   48340‐2404
MR ALEX H LEON‐BAEZ            89 W COLUMBIA AVE                                                                              PONTIAC         MI   48340‐1809
MR ALEX JESTER                 1403 1/2 N MORRISON ST                                                                         KOKOMO          IN   46901‐2156
MR ALEX M TRINIDAD             37 W CORNELL AVE                                                                               PONTIAC         MI   48340‐2717
MR ALEX MADISON JR             933 KENILWORTH AVE                                                                             PONTIAC         MI   48340‐3109
MR ALEX MICHAELS               521 W 10TH ST                                                                                  MUNCIE          IN   47302‐3124
MR ALEXANDER C PETERSMARCK     560 SEDGEFIELD DR                                                                              BLOOMFIELD      MI   48304‐1057
MR ALEXANDER HEIN              GRISSET STR 11                                                        74182 OBERSULM
                                                                                                     GERMANY
MR ALEXANDER J KRASZEWSKI      507 BECKER AVE                                                                                 WILMINGTON      DE   19804‐2103
MR ALEXANDER J YOUNG           1059 W COSTELLO ST                                                                             MOUNT MORRIS    MI   48458‐2159
MR ALEXANDER K BOWERS          16 W RUTGERS AVE                                                                               PONTIAC         MI   48340‐2754
MR ALEXANDER L ALTIER JR       11281 OXBOW ST                                                                                 LIVONIA         MI   48150‐3194
MR ALEXANDER L ALTIER JR       11241 OXBOW ST                                                                                 LIVONIA         MI   48150‐3194
MR ALEXANDER R WILSON          11010 STACY RUN                                                                                FREDERICKSBRG   VA   22408‐8074
MR ALEXANDER REIBER            539 ELM ST                                                                                     MOUNT MORRIS    MI   48458‐1915
MR ALEXANDER S GUTHRE          9892 JOAN CIR                                                                                  YPSILANTI       MI   48197‐6912
MR ALEXANDER T REIDY           311 BRIGHTON AVE                                                                               WILMINGTON      DE   19805‐2407
MR ALEXANDER W PATSELIEV       2620 SYLVAN AVE                                                                                WILMINGTON      DE   19805‐2345
MR ALEXANDER WILLIAMS JR       571 LANCASTER LN                                                                               PONTIAC         MI   48342‐1852
MR ALEXANDROS D GEORGOPOULOS   4099 RISEDORPH ST                                                                              BURTON          MI   48509‐1067
MR ALFONSO M SANCHEZ           2354 S TERRACE ST                                                                              JANESVILLE      WI   53546‐6209
MR ALFONSO R SANTIAGO          52 W RUTGERS AVE                                                                               PONTIAC         MI   48340‐2754
MR ALFONSO RODRIGUEZ           1247 LIZA BLVD                                                                                 PONTIAC         MI   48342‐1988
MR ALFONSO RUBIO               166 HIGH ST                                                                                    PONTIAC         MI   48342‐1119
MR ALFORD E STRANGE            1721 N APPERSON WAY                                                                            KOKOMO          IN   46901‐2349
MR ALFRED A DIPZINSKI          1464 E PARKWOOD AVE                                                                            BURTON          MI   48529‐1634
MR ALFRED COCHRON              3051 24TH ST                                                                                   DETROIT         MI   48216‐1077
MR ALFRED G FRANCK             507 BON AIR RD                                                                                 LANSING         MI   48917‐2906
MR ALFRED HEIN                 GRISSETSTR 11                                                         74182 OBERSULM
                                                                                                     GERMANY
MR ALFRED J VALENTI JR         418 HOLLIS ST                                                                                  FRAMINGHAM      MA   01702‐8614
MR ALFRED L BURGESS            1413 W 13TH ST                                                                                 MUNCIE          IN   47302‐2907
MR ALFRED P MARCUM JR          2205 E PARKWOOD AVE                                                                            BURTON          MI   48529‐1767
MR ALFRED PETTY                681 KENILWORTH AVE                                                                             PONTIAC         MI   48340‐3239
MR ALFRED SCHELLENS            C/O DEUTSCHE BANK SA/NV            AVENUE MARNIX 13 15                1000 BRUXELLES BELGIUM
MR ALFRED W FARBER JR          713 E MOUNT MORRIS ST                                                                          MOUNT MORRIS    MI 48458‐2018
MR ALFREDO A RAMIREZ           103 W CORNELL AVE                                                                              PONTIAC         MI 48340‐2721
MR ALFREDO CASTILLO            807 MONTICELLO AVE                                                                             PONTIAC         MI 48340‐2325
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Name                             Address1                            Address2            Address3              Address4             City             State Zip
MR ALFREDO DEMEDISES‐DOMINGUEZ   4638 TOLEDO ST                                                                                     DETROIT           MI 48209‐1371
MR ALFREDO HERNANDEZ             2726 25TH ST                                                                                       DETROIT           MI 48216‐1055
MR ALFREDO SANCHEZ               3310 LOCKWOOD ST                                                                                   DETROIT           MI 48210‐3255
MR ALI ABBASI                    825 STIRLING ST                                                                                    PONTIAC           MI 48340‐3174
MR ALI K ELSAYED                 2235 WEBBER AVE                                                                                    BURTON            MI 48529‐2415
MR ALI S HAJISHEIKH              550 S SPINNINGWHEEL LN                                                                             BLOOMFIELD        MI 48304‐1318
MR ALI W SHANAA                  4440 SANDHILL DR                                                                                   JANESVILLE        WI 53546‐4421
MR ALLAN F TEAGUE                2182 E MCLEAN AVE                                                                                  BURTON            MI 48529‐1742
MR ALLAN G SMITH                 642 MAPLE ST                                                                                       MOUNT MORRIS      MI 48458‐1927
MR ALLAN R STEWART               1800 W COMMERCE AVE LOT 84                                                                         HAINES CITY       FL 33844‐3234
MR ALLEN B MCDONALD              127 VAN BUREN CIR                                                                                  DAVISON           MI 48423‐8559
MR ALLEN C GILES                 51 W HOPKINS AVE                                                                                   PONTIAC           MI 48340‐1817
MR ALLEN F DERUSHIA              9 LAUREL AVE APT 305                                                                               MASSENA           NY 13662‐2054
MR ALLEN J DALDINE               721 CORTWRIGHT ST                                                                                  PONTIAC           MI 48340‐2305
MR ALLEN J MURAD                 11080 RIVEREDGE DR                                                                                 PARMA             OH 44130‐1253
MR ALLEN O SCOTT                 4721 MERRITT ST                                                                                    DETROIT           MI 48209‐1354
MR ALLEN R MILLER                106 VANCE DR                                                                                       FREDERICKSBRG     VA 22408‐2034
MR ALLEN R SMITH                 1412 W 9TH ST                                                                                      MUNCIE            IN 47302‐2167
MR ALLEN R WOOD                  974 DEWEY ST                                                                                       PONTIAC           MI 48340‐2634
MR ALLEN W WULLSCHLEGER          711 W 10TH ST                                                                                      MUNCIE            IN 47302‐3128
MR ALONZO D WASHINGTON           230 N GRACE ST                                                                                     LANSING           MI 48917‐4908
MR ALONZO GOODMAN                216 W CORNELL AVE                                                                                  PONTIAC           MI 48340‐2724
MR ALONZO J FRENCH               824 EMERSON AVE                                                                                    PONTIAC           MI 48340‐3223
MR ALPHONSO L SMITH              11 STANLEY AVE                                                                                     WILMINGTON        DE 19804‐2850
MR ALTON L BARNETT II            31 KAREN CT                                                                                        PONTIAC           MI 48340‐1636
MR ALTON T HAYES II              1124 CHERRYLAWN DR                                                                                 PONTIAC           MI 48340‐1704
MR ALUAH A GELLISH               3838 IVANHOE AVE                                                                                   FLINT             MI 48506‐4240
MR ALVARO HUAUTLA                2870 LOWER RIDGE DR APT 16                                                                         ROCHESTER         MI 48307‐4470
MR ALVIN C HATHCOCK              109 W FAIRMOUNT AVE                                                                                PONTIAC           MI 48340‐2737
MR ALVIN FRENCH                  1458 E MCLEAN AVE                                                                                  BURTON            MI 48529‐1614
MR ALVIN HUNT                    830 PENSACOLA AVE                                                                                  PONTIAC           MI 48340‐2361
MR ALVIN L PROBSCO               29 MADISON ST                                                                                      BEDFORD           IN 47421‐1831
MR ALVIN L THOMPSON              725 CAMERON AVE                                                                                    PONTIAC           MI 48340‐3205
MR ALVIN L WILSON                1908 BRISTOL COURT DR                                                                              MOUNT MORRIS      MI 48458‐2187
MR ALVIN N TOWNSEND              1047 STANLEY AVE                                                                                   PONTIAC           MI 48340‐1779
MR ALVIN P LEUNEBERG             2120 E PARKWOOD AVE                                                                                BURTON            MI 48529‐1766
MR ALVIN W JONES JR              11332 TIDEWATER TRL                                                                                FREDERICKSBRG     VA 22408‐2037
MR ALY AZIZ                      C/O 11 RUE DE LA CORRATERIE                                                   1204 GENEVA
                                                                                                               SWITEZERLAND
MR AMAR PATEL                    37 BOWERS ST                                                                                       MASSENA          NY   13662‐2103
MR AMAZIS S ANDRAWIS             2801 CHANCELLORSVILLE DR APT 1112                                                                  TALLAHASSEE      FL   32312‐4823
MR AMEER A SHAREEF               2001 N CENTER RD APT 223                                                                           FLINT            MI   48506‐3182
MR AMER ABUALIZZ                 2060 E SCOTTWOOD AVE                                                                               BURTON           MI   48529‐1750
MR AMER M MEHDI‐KHAN             1103 BOYNTON DR                                                                                    LANSING          MI   48917‐5706
MR AMIL L FIELDS                 1518 11TH ST                                                                                       BEDFORD          IN   47421‐2804
MR AMOS C MUSE JR                3427 COZY CAMP RD                                                                                  MORAINE          OH   45439‐1125
MR AN TRAN                       439 W FAIRMOUNT AVE                                                                                PONTIAC          MI   48340‐1621
MR ANATOLY STAVCHANSKY           2235 E BOATFIELD AVE                                                                               BURTON           MI   48529‐1783
MR AND MRS ARNDT KILCHE          64‐11 77 PL                                                                                        MIDDLE VILLAGE   NY   11379
MR AND MRS DRAGGOO               2614 W 225TH ST                                                                                    TORRANCE         CA   90505
MR AND MRS FRANCIS A DECASARE    FRANCIS A DECESARE                  JEANNE L DECESARE   246 RIDGE LANE                             MURRYSVILLE      PA   15668
MR AND MRS JOHN DRIPPS           JOHN DRIPPS                         EVELYN DRIPPS       1446 GREENTREE ROAD                        PITTSBURGH       PA   15220
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Name                                Address1                             Address2                       Address3   Address4                 City            State Zip
MR AND MRS WILLIAM H MACDADE JR     14122 SHANNONDELL DR                                                                                    AUDUBON          PA 19403‐5622
MR ANDERSON F GARCIA                808 GARNET RD                                                                                           WILMINGTON       DE 19804‐2616
MR ANDRA BATES                      145 CHARLES LN                                                                                          PONTIAC          MI 48341‐2928
MR ANDRE AND ANETTE GERHARDT        HORMERSDORFER STR 1A                                                           08297 ZWONITZ
MR ANDRE D RANDALL                  5900 BRIDGE RD APT 906                                                                                  YPSILANTI       MI 48197‐6935
MR ANDRE HENNAUT                    RESIDENCE DE L'ANNONCIADE APT 2920   17 BOULEVARD DE L'ANNONCIADE              MC 98000 MONTE CARLO
                                                                                                                   MONACO
MR ANDRE L EDISON                   100 W BEVERLY AVE                                                                                       PONTIAC         MI 48340‐2620
MR ANDRE L LESTER                   2135 HUBBARD ST APT 23                                                                                  DETROIT         MI 48209‐3321
MR ANDRE STROOBANT & MRS DANIELLE   C/O DEUTSCHE BANK SA/NV              AVENUE MARNIX 13‐15                       1000 BRUXELLES BELGIUM
DE CLERCQ
MR ANDRE T JACKSON                  296 W HOPKINS AVE                                                                                       PONTIAC         MI 48340‐1716
MR ANDREAS KOUTSOUDES               MRS EIRINI MIRSIN KOUTSOUDI          77 THESSALIAS                  VOULA      ATHENS 16673 GREECE
MR ANDREAS KOUTSOUDES               MRS EIRINI MYRSIN KOUTSOUDI          77 THESSALIAS                             16673 VOULA, ATHENS,
                                                                                                                   GREECE
MR ANDREAS KOUTSOUDES               MRS ERINI MYRSIN KOUTSOUDI           77 THESSALIAS                             16673 VOULA, ATHENS,
                                                                                                                   GREECE
MR ANDRES G GAYTAN                  84 W PRINCETON AVE                                                                                      PONTIAC         MI   48340‐1838
MR ANDREW A DAKKI                   2170 E WHITTEMORE AVE                                                                                   BURTON          MI   48529‐1726
MR ANDREW A DAVIDSON                16 CLARK ST                                                                                             MASSENA         NY   13662‐1812
MR ANDREW A SCHAFER                 9842 JOAN CIR                                                                                           YPSILANTI       MI   48197‐6907
MR ANDREW B CANOY                   1443 E WILLIAMSON ST                                                                                    BURTON          MI   48529‐1627
MR ANDREW B JOHNSON                 5 COPA LN                                                                                               WILMINGTON      DE   19804‐2050
MR ANDREW B WARNOCK                 76 GROVE ST                                                                                             MASSENA         NY   13662‐2126
MR ANDREW C GOOD                    295 W KENNETT RD                                                                                        PONTIAC         MI   48340‐1725
MR ANDREW C WRIGHT                  630 WALKER ST                                                                                           MOUNT MORRIS    MI   48458‐1947
MR ANDREW D HARCZ                   1080 DOROTHY ST                                                                                         MOUNT MORRIS    MI   48458‐2225
MR ANDREW D JOHNSON                 1223 LIZA BLVD                                                                                          PONTIAC         MI   48342‐1988
MR ANDREW D MCDOWELL                1434 BRADY AVE                                                                                          BURTON          MI   48529‐2010
MR ANDREW D TERRY                   2217 S ARCH ST                                                                                          JANESVILLE      WI   53546‐5955
MR ANDREW DAVIS                     455 OAK ST                                                                                              MOUNT MORRIS    MI   48458‐1930
MR ANDREW E RADEMACHER              823 BON AIR RD                                                                                          LANSING         MI   48917‐2315
MR ANDREW F LAUGHLIN                58 PROSPECT AVE                                                                                         MASSENA         NY   13662‐1743
MR ANDREW G BROWN                   2118 S TERRACE ST                                                                                       JANESVILLE      WI   53546‐6120
MR ANDREW J BREEN                   11800 BROOKPARK RD TRLR G49                                                                             CLEVELAND       OH   44130‐1184
MR ANDREW J HART JR                 18 HILLCREST AVE                                                                                        MASSENA         NY   13662‐1821
MR ANDREW J HULTEN                  265 W LONGFELLOW AVE                                                                                    PONTIAC         MI   48340‐1835
MR ANDREW J KAVANAGH                2603 GLENDAS WAY                                                                                        FREDERICKSBRG   VA   22408‐8078
MR ANDREW J KORITNIK                12374 CAMDEN ST                                                                                         LIVONIA         MI   48150‐2370
MR ANDREW J KRISH                   1453 E JUDD RD                                                                                          BURTON          MI   48529‐2005
MR ANDREW J LAGARRY                 61 DOUGLAS RD                                                                                           MASSENA         NY   13662‐2135
MR ANDREW J MCMILLIAN               5708 MAPLEBROOK LN # BUILDING                                                                           FLINT           MI   48507‐4135
MR ANDREW J NOELL                   180 W CORNELL AVE                                                                                       PONTIAC         MI   48340‐2722
MR ANDREW J REBMAN                  1112 W BURBANK AVE APT 109                                                                              JANESVILLE      WI   53546‐6146
MR ANDREW J WOODCOCK                674 EMERSON AVE                                                                                         PONTIAC         MI   48340‐3217
MR ANDREW J YUHOS                   2001 N CENTER RD APT 313                                                                                FLINT           MI   48506‐3183
MR ANDREW JONES                     2213 S WALNUT ST                                                                                        JANESVILLE      WI   53546‐6173
MR ANDREW K WESTON                  1429 KENNETH ST                                                                                         BURTON          MI   48529‐2207
MR ANDREW L BROCKMAN                115 W BEVERLY AVE                                                                                       PONTIAC         MI   48340‐2621
MR ANDREW L REID                    35 ROCKAWAY ST                                                                                          MASSENA         NY   13662‐2110
MR ANDREW L SNYDER                  934 DRYER FARM RD                                                                                       LANSING         MI   48917‐2387
MR ANDREW M CHEERS                  196 W RUTGERS AVE                                                                                       PONTIAC         MI   48340‐2760
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Name                       Address1                      Address2          Address3         Address4         City            State Zip
MR ANDREW M MACAULAY       51 NIGHTENGALE AVE                                                                MASSENA          NY 13662‐1719
MR ANDREW M ULSTAD         5827 COVE LANDING RD          APT 303                                             BURKE            VA 22015‐4702
MR ANDREW MABREY           412 W ELM ST                                                                      KOKOMO           IN 46901‐2831
MR ANDREW MARLOW           49 W ORVIS ST APT 2                                                               MASSENA          NY 13662‐1891
MR ANDREW N NICKLAS II     52 W FAIRMOUNT AVE                                                                PONTIAC          MI 48340‐2732
MR ANDREW P SABBATIS JR    11800 BROOKPARK RD TRLR 103                                                       CLEVELAND        OH 44130‐1100
MR ANDREW P SANDERS        1711 L ST                                                                         BEDFORD          IN 47421‐4238
MR ANDREW S FIACCO         77 PROSPECT AVE                                                                   MASSENA          NY 13662‐1746
MR ANDREW S PETRO          11251 AARON DR                                                                    PARMA            OH 44130‐1262
MR ANDREW S RUSSELL        1461 E WILLIAMSON ST                                                              BURTON           MI 48529‐1627
MR ANDREW SCHULTZ          107 BROOKLAND DR                                                                  SYRACUSE         NY 13208‐3212
MR ANDREW T FLORKEY        158 W RUTGERS AVE                                                                 PONTIAC          MI 48340‐2758
MR ANDREW T SLEEMAN        11221 OXBOW ST                                                                    LIVONIA          MI 48150‐3194
MR ANDREW T SPANBURGH JR   20 CLARK ST                                                                       MASSENA          NY 13662‐1812
MR ANDY LUM                537 W FAIRMOUNT AVE                                                               PONTIAC          MI 48340‐1602
MR ANDY P GULLIKSON        1320 1/2 N MARKET ST                                                              KOKOMO           IN 46901‐2372
MR ANGEL E ANDERSON        2203 BRADY AVE                                                                    BURTON           MI 48529‐2428
MR ANGEL E GOODMAN         1596 PEERLESS RD                                                                  BEDFORD          IN 47421‐8101
MR ANGEL JACKSON           1229 LIZA BLVD                                                                    PONTIAC          MI 48342‐1988
MR ANGEL L ROSADO          245 W YALE AVE                                                                    PONTIAC          MI 48340‐1867
MR ANGEL L SANTOS          161 W CORNELL AVE                                                                 PONTIAC          MI 48340‐2721
MR ANGEL L VEGA            847 KETTERING AVE                                                                 PONTIAC          MI 48340‐3254
MR ANGEL M CLOUD           1305 K ST APT 201                                                                 BEDFORD          IN 47421‐3241
MR ANGEL M LAMB            1724 N APPERSON WAY                                                               KOKOMO           IN 46901‐2350
MR ANGEL M MILLER          437 W MOUNT MORRIS ST APT 2                                                       MOUNT MORRIS     MI 48458‐1851
MR ANGEL MOYER             601 W 9TH ST                                                                      MUNCIE           IN 47302‐3122
MR ANGEL PETE              1214 EASTFIELD RD                                                                 LANSING          MI 48917‐2390
MR ANGEL RIVERA            60 EUCLID AVE                                                                     PONTIAC          MI 48342‐1112
MR ANGEL SMITH             1420 18TH ST                                                                      BEDFORD          IN 47421‐4108
MR ANGELO F BARILLA        519 SCHAFFER AVE APT C12                                                          SYRACUSE         NY 13206‐1571
MR ANGELO J MATELLI        2203 S TERRACE ST                                                                 JANESVILLE       WI 53546‐6121
MR ANGELO J TOFANI         8 BRACKETT RD                                                                     FRAMINGHAM       MA 01702‐8741
MR ANGELO S BROWN          4026 TOLEDO ST                                                                    DETROIT          MI 48209‐1361
MR ANGUS A STEVENS         69 MAIN ST APT 3                                                                  MASSENA          NY 13662‐1964
MR ANICETO C RENDON        2035 CONNELL ST                                                                   BURTON           MI 48529‐1332
MR ANRAE M LEWIS           5 KAREN CT                                                                        PONTIAC          MI 48340‐1634
MR ANSEL BAKER             8126 DUOMO CIRCLE                                                                 BOYNTON BEACH    FL 33472
MR ANSELMO DIAZ‐CAMPA      4436 TOLEDO ST                                                                    DETROIT          MI 48209‐1369
MR ANTAWIAN BALL           823 INGLEWOOD AVE                                                                 PONTIAC          MI 48340‐2314
MR ANTHONY A CALANDRA      161 WALNUT AVE                                                                    CLARK            NJ 07066‐1201
MR ANTHONY A HOBBS         1410 4TH ST                                                                       BEDFORD          IN 47421‐1722
MR ANTHONY A HUDAK JR      11221 SHARON DR                                                                   CLEVELAND        OH 44130‐1437
MR ANTHONY A IEVOLI        307 S WOODWARD AVE                                                                WILMINGTON       DE 19805‐2360
MR ANTHONY A LEONARDI      718 WOODTOP RD                                                                    WILMINGTON       DE 19804‐2666
MR ANTHONY A YOUNG         1233 N MORRISON ST                                                                KOKOMO           IN 46901‐2761
MR ANTHONY A ZARAGOZA      934 I ST                                                                          BEDFORD          IN 47421‐2640
MR ANTHONY B WOOLNER       259 W STRATHMORE AVE                                                              PONTIAC          MI 48340‐2779
MR ANTHONY BARRIOS         1261 MEADOWLAWN DR                                                                PONTIAC          MI 48340‐1737
MR ANTHONY BLEDSOE         1230 13TH ST                                                                      BEDFORD          IN 47421‐3209
MR ANTHONY C DICOSMO       40 SUBURBAN RD                                                                    CLARK            NJ 07066‐1244
MR ANTHONY C LANTZER       3810 IVANHOE AVE                                                                  FLINT            MI 48506‐4240
MR ANTHONY C TIMM          11120 FAIRLAWN DR                                                                 CLEVELAND        OH 44130‐1218
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR ANTHONY CANADY          216 BRYNFORD AVE                                                                     LANSING          MI 48917‐2990
MR ANTHONY COLLINS         116 BLAINE AVE                                                                       PONTIAC          MI 48342‐1173
MR ANTHONY D BRADFORD      755 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2321
MR ANTHONY D COLLIER       436 FOX HILLS DR S APT 7                                                             BLOOMFIELD       MI 48304‐1351
MR ANTHONY D RIVERA        2190 E BRISTOL RD                                                                    BURTON           MI 48529‐1323
MR ANTHONY D SCHOVAN       114 SUMMIT ST                                                                        PONTIAC          MI 48342‐1165
MR ANTHONY D VILLA         14 BRACKETT RD                                                                       FRAMINGHAM       MA 01702‐8741
MR ANTHONY E MASDEA        11120 SHARON DR                                                                      CLEVELAND        OH 44130‐1433
MR ANTHONY F BONTUMASI     376 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1912
MR ANTHONY F BUIANO SR     723 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2627
MR ANTHONY J BORG          3325 29TH ST                                                                         DETROIT          MI 48210‐3231
MR ANTHONY J CYNOVA        2126 S PEARL ST                                                                      JANESVILLE       WI 53546‐6148
MR ANTHONY J GALLOWAY      2532 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8041
MR ANTHONY J GARCIA        235 HIGH ST                                                                          PONTIAC          MI 48342‐1122
MR ANTHONY J GARMO         1160 CESAR E CHAVEZ AVE                                                              PONTIAC          MI 48340‐2345
MR ANTHONY J GEROW         1117 NUTANA BLVD                                                                     MOUNT MORRIS     MI 48458‐2116
MR ANTHONY J HUTTON        205 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1614
MR ANTHONY J LODISE        205 FREDERICK LN                                                                     WILMINGTON       DE 19805‐2324
MR ANTHONY J LONZO JR      10930 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8047
MR ANTHONY J MAZZINO       11081 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1254
MR ANTHONY J O'GEEN        50 GROVE ST                                                                          MASSENA          NY 13662‐2126
MR ANTHONY J POLLETTA JR   2600 SYLVAN AVE                                                                      WILMINGTON       DE 19805‐2345
MR ANTHONY J POMPA         619 EVERGREEN CIR                                                                    MOUNT MORRIS     MI 48458‐3011
MR ANTHONY J RESIO         11433 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2036
MR ANTHONY J VELASQUEZ     232 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2762
MR ANTHONY JOHNSON         410 W HOPKINS AVE APT 203                                                            PONTIAC          MI 48340‐1776
MR ANTHONY KING            222 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1615
MR ANTHONY L COLEMAN       1813 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2186
MR ANTHONY L NICHOLS       400 KINDLEBERGER RD                                                                  KANSAS CITY      KS 66115‐1225
MR ANTHONY L WALKER SR     5717 CHEVROLET BLVD APT 308                                                          PARMA            OH 44130‐1416
MR ANTHONY LEACH           1440 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1634
MR ANTHONY M GLEASON       1406 LOWELL ST                                                                       ELYRIA           OH 44035‐4867
MR ANTHONY M PECO JR       100 S LAURA CT                                                                       WILMINGTON       DE 19804‐2046
MR ANTHONY M ROBERTS       628 S SPINNINGWHEEL LN                                                               BLOOMFIELD       MI 48304‐1322
MR ANTHONY M SIBLEY        666 MAPLE ST                                                                         MOUNT MORRIS     MI 48458‐1927
MR ANTHONY M VILLABOL      290 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1716
MR ANTHONY M ZERBINA       11141 AARON DR                                                                       CLEVELAND        OH 44130‐1365
MR ANTHONY MARTINEZ        321 L ST                                                                             BEDFORD          IN 47421‐1809
MR ANTHONY N MCDONALD      1505 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2325
MR ANTHONY POULOS          847 INGLEWOOD AVE                                                                    PONTIAC          MI 48340‐2314
MR ANTHONY R COLLINS       2132 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1752
MR ANTHONY R HARRIS        5 STEGMAN LN                                                                         PONTIAC          MI 48340‐1662
MR ANTHONY R PARKS         350 HARVARD CT APT 7                                                                 MOUNT MORRIS     MI 48458‐1988
MR ANTHONY R WALTON        1515 N WABASH AVE                                                                    KOKOMO           IN 46901‐2010
MR ANTHONY REDD            751 STIRLING ST                                                                      PONTIAC          MI 48340‐3164
MR ANTHONY ROGERS          162 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2720
MR ANTHONY S CONNELLY      10861 AARON DR                                                                       CLEVELAND        OH 44130‐1359
MR ANTHONY S PENSABENE     920 NORTH AVE                                                                        SYRACUSE         NY 13206‐1645
MR ANTHONY V PIERONI       2053 FOX GLEN CT                                                                     BLOOMFIELD       MI 48304‐1007
MR ANTHONY W FASBINDER     1421 13TH ST APT 3                                                                   BEDFORD          IN 47421‐3289
MR ANTHONY W FUSCO         820 W CHAMPLAIN AVE                                                                  WILMINGTON       DE 19804‐2007
MR ANTHONY W VELEZ         252 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2724
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MR ANTHONY WHITE          5455 GEORGE ST                                                                       FLINT            MI 48505‐1529
MR ANTHONY WILLIAMS       410 W HOPKINS AVE APT 301                                                            PONTIAC          MI 48340‐1777
MR ANTOINE D MILTON       836 SARASOTA AVE                                                                     PONTIAC          MI 48340‐2368
MR ANTOINE ELIA           2240 E JUDD RD                                                                       BURTON           MI 48529‐2407
MR ANTOINE MCCOY          300 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1718
MR ANTOINE T BRACEY       9944 JOAN CIR                                                                        YPSILANTI        MI 48197‐6914
MR ANTON M STEPNEY        1128 ANGOLA AVE                                                                      MOUNT MORRIS     MI 48458‐2139
MR ANTONIO A BLANCO       2324 SCOTTEN ST                                                                      DETROIT          MI 48209‐1359
MR ANTONIO CABEY          5717 CHEVROLET BLVD APT 108                                                          PARMA            OH 44130‐1416
MR ANTONIO D JONES        1198 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MR ANTONIO ESPINOVA       4712 BRANDON ST                                                                      DETROIT          MI 48209‐0920
MR ANTONIO G PEREZ        2059 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1763
MR ANTONIO J GUTIERREZ    163 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1841
MR ANTONIO J HYMAN        3812 LOVETT ST                                                                       DETROIT          MI 48210‐3141
MR ANTONIO P CARMONA      4650 BRANDON ST                                                                      DETROIT          MI 48209‐1379
MR ANTONIO T TORRES       4844 TOLEDO ST                                                                       DETROIT          MI 48209‐1375
MR ANUFF H KERSTING JR    1205 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐6019
MR ARA J PARSEGHIAN       846 MORRIS AVE                                                                       LANSING          MI 48917‐2319
MR ARCHIBALD P MINTON     913 W 10TH ST                                                                        MUNCIE           IN 47302‐3193
MR ARCHIE BROWN           1134 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MR ARCHIE E PROFFER       1251 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1707
MR ARCHIE G RANKIN        1151 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8029
MR ARCHIE I ST JOHN 3D    15 CECIL AVE                                                                         MASSENA          NY 13662‐2142
MR ARCHIE SAWYER          1400 N WABASH AVE                                                                    KOKOMO           IN 46901‐2669
MR ARDEN G O'NEILL        1423 E BRISTOL RD                                                                    BURTON           MI 48529‐2213
MR ARK J WRIGHT           1606 11TH ST                                                                         BEDFORD          IN 47421‐2806
MR ARKIN G FOUT           9713 HARBOUR COVE CT                                                                 YPSILANTI        MI 48197‐6902
MR ARLIE R NORRIS         1611 N MORRISON ST                                                                   KOKOMO           IN 46901‐2152
MR ARLIS D DECKARD        208 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9385
MR ARMAND J CARRIER       7 GRASSMERE AVE                                                                      MASSENA          NY 13662‐2039
MR ARMANDO F FLORES JR    2024 CLARKDALE ST                                                                    DETROIT          MI 48209‐3911
MR ARMANDO LEMUS          863 SARASOTA AVE                                                                     PONTIAC          MI 48340‐2369
MR ARMANDO T RIOJAS       49 SALLEE LN                                                                         PONTIAC          MI 48340‐1656
MR ARNOLD A VALLANCE JR   41 PROSPECT AVE                                                                      MASSENA          NY 13662‐1748
MR ARNOLD E BUSH          81 NIGHTENGALE AVE                                                                   MASSENA          NY 13662‐1717
MR ARNOLD E VANDERKARR    350 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1902
MR ARNOLD F PERRY         210 E ORVIS ST                                                                       MASSENA          NY 13662‐2245
MR ARNOLD GARCIA          2071 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2435
MR ARNOLD J BILBREY       1011 W 11TH ST                                                                       MUNCIE           IN 47302‐2280
MR ARNOLD L LEACH         2001 N CENTER RD APT 325                                                             FLINT            MI 48506‐3183
MR ARNOLD MCKINNEY JR     742 NEWMAN LN                                                                        PONTIAC          MI 48340‐3304
MR ARNOLD W COOK          1600 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2141
MR ARNOLDO ALMEIDA        35 PUTNAM AVE                                                                        PONTIAC          MI 48342‐1265
MR ARNOLDO MENDOZA        654 KINNEY RD                                                                        PONTIAC          MI 48340‐2432
MR ARNULFO C CIRLOS       3328 GOLDNER ST                                                                      DETROIT          MI 48210‐3200
MR ARNULFO R CIRLOS       3310 GOLDNER ST                                                                      DETROIT          MI 48210‐3269
MR ARNULFO R CIRLOS SR    3340 GOLDNER ST                                                                      DETROIT          MI 48210‐3200
MR ARON L VANCE           607 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1303
MR ARQUIMEDES M ROCHA     100 TRIPP ST                                                                         FRAMINGHAM       MA 01702‐8778
MR ARTEMIO RUBIO          695 BLAINE AVE                                                                       PONTIAC          MI 48340‐2400
MR ARTEZ C CAVANESS       2130 CLARK ST                                                                        DETROIT          MI 48209‐3900
MR ARTHUR A CHIAVAROLI    112 VANCE DR                                                                         FREDERICKSBRG    VA 22408‐2034
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Name                            Address1                       Address2                 Address3    Address4         City            State Zip
MR ARTHUR D HALE                11420 N SAGINAW ST APT 2                                                             MOUNT MORRIS     MI 48458‐2052
MR ARTHUR D HALL 3D             11301 N CLUB DR                                                                      FREDERICKSBRG    VA 22408‐2056
MR ARTHUR D STRATTON JR         113 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1841
MR ARTHUR E GIBSON 3D           302 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1667
MR ARTHUR E HICKS               29 BLAINE AVE                                                                        PONTIAC          MI 48342‐1101
MR ARTHUR E JOHNSON             2223 N MARKET ST                                                                     KOKOMO           IN 46901‐1448
MR ARTHUR E NICHOLSON           530 F ST                                                                             BEDFORD          IN 47421‐2235
MR ARTHUR F CADWELL             248 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1877
MR ARTHUR F DRIES 3D            882 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3104
MR ARTHUR F GRABOWSKI           597 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1011
MR ARTHUR F MANASIA             124 SPRINGBROOK CIR                                                                  ELYRIA           OH 44035‐8968
MR ARTHUR FINNEY 3D             125 GREEN ST                                                                         FLINT            MI 48503‐1031
MR ARTHUR G COTTRELL            7 W KEYSTONE AVE                                                                     WILMINGTON       DE 19804‐2027
MR ARTHUR GRETER                48 STEGMAN LN                                                                        PONTIAC          MI 48340‐1662
MR ARTHUR H FRANCISCO           37 E ANN ARBOR AVE                                                                   PONTIAC          MI 48340‐1901
MR ARTHUR H LUNDRIGAN           101 ANDREWS ST                                                                       MASSENA          NY 13662‐1847
MR ARTHUR J CUNNINGHAM          4 GARVIN AVE                                                                         MASSENA          NY 13662‐1817
MR ARTHUR K HERNS 3D            141 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1821
MR ARTHUR L FISCHER             624 WALKER ST                                                                        MOUNT MORRIS     MI 48458‐1947
MR ARTHUR MCGEE JR              11448 N SAGINAW ST APT 1                                                             MOUNT MORRIS     MI 48458‐2068
MR ARTHUR MILEWSKI              12430 CAMDEN ST                                                                      LIVONIA          MI 48150‐2371
MR ARTHUR P KAYE                1984 HUNTERS RIDGE DR                                                                BLOOMFIELD       MI 48304‐1036
MR ARTHUR R BAKER JR            2001 LINKWOOD AVE                                                                    WILMINGTON       DE 19805‐2417
MR ARTHUR R REINHARDT           4298 FARMCREST ST                                                                    BURTON           MI 48509‐1106
MR ARTHUR S TANYI               2082 WILMAR ST                                                                       BURTON           MI 48509‐1122
MR ARTHUR STCHARLES             2168 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1766
MR ARTHUR T BEAUDOIN            12275 CAMDEN ST                                                                      LIVONIA          MI 48150‐2329
MR ARTHUR W BOGLE               603 FALLON AVE                                                                       WILMINGTON       DE 19804‐2111
MR ARTHUR W JALKANEN            1738 FOX RIVER DR                                                                    BLOOMFIELD       MI 48304‐1018
MR ARTHUR W MOHR JR             2004 BOOTMAKER LN                                                                    BLOOMFIELD       MI 48304‐1004
MR ARTHUR W PALMER              4318 COLUMBINE AVE                                                                   BURTON           MI 48529‐2117
MR ARTHUR WILSON                #706                           2217 CYPRESS ISLAND DR                                POMPANO BEACH    FL 33069‐4482
MR ARTHUR WRIGHT                1018 N WASHINGTON ST                                                                 KOKOMO           IN 46901‐2856
MR ARTURO GONZALEZ              4688 PLUMER ST                                                                       DETROIT          MI 48209‐1357
MR ARTURO LOPEZ                 201 N ROSEMARY ST                                                                    LANSING          MI 48917‐4914
MR ARVIL KLEPFER                1813 W 9TH ST                                                                        MUNCIE           IN 47302‐6602
MR ARVIND T PATEL               681 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1342
MR ASAYDA A WHITE               648 PALMER DR                                                                        PONTIAC          MI 48342‐1854
MR ASHOK P SHADHWANI            123 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9384
MR AUBREY V SHELTON             10924 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2045
MR AUDI A BAER                  1102 M ST                                                                            BEDFORD          IN 47421‐2929
MR AUDIE GROVE                  208 W ELM ST                                                                         KOKOMO           IN 46901‐2855
MR AUFFERT                      RUE DES MIMOSAS                FRANCE                                                CAUZAN‐FRANCE    OH 56850
MR AUGUST L GOODMAN             774 ORLANDO AVE                                                                      PONTIAC          MI 48340‐2353
MR AUGUST N MOSER               11800 BROOKPARK RD TRLR 111                                                          CLEVELAND        OH 44130‐1184
MR AUGUSTO GROSSI               2126 COVERT RD                                                                       BURTON           MI 48509‐1066
MR AURELIO COLON                504 CESAR E CHAVEZ AVE                                                               PONTIAC          MI 48342‐1053
MR AVRAHAM NAGEL                43 SEASIDE CT                                                                        MARGATE          NJ 08402
MR B'S AUTO AND TRANSMISSIONS   2420 NE 5TH AVE                                                                      POMPANO BEACH    FL 33064‐5412
MR BABA J CARPENTER             1623 N WABASH AVE                                                                    KOKOMO           IN 46901‐2008
MR BALAKRISHNAN G MODUR         11B BRACKETT RD                                                                      FRAMINGHAM       MA 01702‐8743
MR BALDEMAR FLORES              725 CORTWRIGHT ST                                                                    PONTIAC          MI 48340‐2305
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Name                      Address1                       Address2              Address3       Address4                  City         State Zip
MR BALDOMERO ALVARADO     4789 BRANDON ST                                                                               DETROIT       MI 48209‐1392
MR BALRAJ NIJHON          1844 ROCKLEDGE LN                                                                             BLOOMFIELD    MI 48304‐1049
MR BALTAZAR SUSTAITA      641 JARED DR                                                                                  PONTIAC       MI 48342‐1990
MR BAO THO NGUYEN         DEUTSCHE BANK SA/NV            AVENUE MAMIX 13‐15    1000                                     BRUXELLES
MR BAO VANG               18 STEGMAN LN                                                                                 PONTIAC      MI   48340‐1662
MR BARD N SCOTT           2162 BRADY AVE                                                                                BURTON       MI   48529‐2425
MR BARNEY RICHARDS        1715 CHIPPEWA ST                                                                              FLINT        MI   48505‐4761
MR BARRON JONES           34 KAREN CT                                                                                   PONTIAC      MI   48340‐1635
MR BARRY B STRONG         1512 14TH ST                                                                                  BEDFORD      IN   47421‐3631
MR BARRY D NOBLE          483 W COLUMBIA AVE APT 202                                                                    PONTIAC      MI   48340‐1644
MR BARRY DRUMM            149 W RUTGERS AVE                                                                             PONTIAC      MI   48340‐2759
MR BARRY E PATTERSON      29322 ELMIRA ST                                                                               LIVONIA      MI   48150‐3171
MR BARRY F LAWRENCE       2 WESTWOOD DR                                                                                 MASSENA      NY   13662‐1708
MR BARRY J BURDUE         11521 SHARON DR APT C602                                                                      PARMA        OH   44130‐1449
MR BARRY J COX            897 CAMERON AVE                                                                               PONTIAC      MI   48340‐3211
MR BARRY J FAUBION        1517 J ST                                                                                     BEDFORD      IN   47421‐3839
MR BARRY J MUSIC          4352 COLUMBINE AVE                                                                            BURTON       MI   48529‐2119
MR BARRY K NEW            204 R ST                                                                                      BEDFORD      IN   47421‐1629
MR BARRY K WARD           1005 W 9TH ST                                                                                 MUNCIE       IN   47302‐2245
MR BARRY L BARNES         2066 WILMAR ST                                                                                BURTON       MI   48509‐1122
MR BARRY L TIELLEMAN      2602 LINKWOOD AVE                                                                             WILMINGTON   DE   19805‐2334
MR BARRY R POPP           2111 S PALM ST                                                                                JANESVILLE   WI   53546‐6116
MR BARRY S KEY            220 HAYDEN DR                                                                                 BEDFORD      IN   47421‐9225
MR BARRY W SAMUELSON      1241 E HAMILTON AVE                                                                           FLINT        MI   48506‐3210
MR BART DE KESEL          DEUTSCHE BANK SA/NV            AVENUE MARNIX 13 15                  1000 BRUXELLES, BELGIUM
MR BART L WEBBER          1708 14TH ST                                                                                  BEDFORD      IN   47421‐3635
MR BART R BRINSFIELD      104 W KEYSTONE AVE                                                                            WILMINGTON   DE   19804‐2030
MR BARTON J CURLEE        1059 MEADOWLAWN DR                                                                            PONTIAC      MI   48340‐1731
MR BASIL G HICKS          75 LEANEE LN                                                                                  PONTIAC      MI   48340‐1651
MR BASIL J BURNHAM        34 ELM ST                                                                                     MASSENA      NY   13662‐1826
MR BASIL J KLAPCUNIAK     605 CURTIS AVE                                                                                WILMINGTON   DE   19804‐2107
MR BE TRAGTER             DEUGENWEERD 17                                                      7271 XR BORCULO THE
                                                                                              NETHERLANDS
MR BEAU M KIME            1451 FLUSHING RD                                                                              FLUSHING     MI   48433‐2245
MR BEDRI ISAI             4516 SANDHILL DR                                                                              JANESVILLE   WI   53546‐4419
MR BELTON WEBSTER         1616 N INDIANA AVE                                                                            KOKOMO       IN   46901‐2044
MR BEN OSYPIEWSKI         60 DOUGLAS RD                                                                                 MASSENA      NY   13662‐2132
MR BENJAMIN A MILLER      1600 W 6TH ST                                                                                 MUNCIE       IN   47302‐2100
MR BENJAMIN A PIERCE      9912 JULIE DR                                                                                 YPSILANTI    MI   48197‐8292
MR BENJAMIN BEHNKE        312 BRYNFORD AVE                                                                              LANSING      MI   48917‐2924
MR BENJAMIN D GUTHRIE     2076 FOX GLEN CT                                                                              BLOOMFIELD   MI   48304‐1006
MR BENJAMIN E STROHAVER   840 MORRIS AVE                                                                                LANSING      MI   48917‐2319
MR BENJAMIN G QUICK       2222 S ARCH ST                                                                                JANESVILLE   WI   53546‐5956
MR BENJAMIN J GRING       2208 E BERGIN AVE                                                                             BURTON       MI   48529‐1782
MR BENJAMIN J TAYLOR SR   6024 LAKE DR                                                                                  YPSILANTI    MI   48197‐7013
MR BENJAMIN KELSO         1144 E YALE AVE                                                                               FLINT        MI   48505‐1519
MR BENJAMIN L MILLER      2001 N CENTER RD APT 312                                                                      FLINT        MI   48506‐3183
MR BENJAMIN L STONE II    1275 OAK HOLLOW DR                                                                            MILFORD      MI   48380‐4260
MR BENJAMIN M LOUGHEED    1424 NATALIE DR                                                                               BURTON       MI   48529‐1616
MR BENJAMIN N DELGADO     11430 SHARON DR APT D204                                                                      CLEVELAND    OH   44130‐1442
MR BENJAMIN PETRIE        50 N ALLEN ST APT 1                                                                           MASSENA      NY   13662‐2802
MR BENJAMIN R VASQUEZ     805 STIRLING ST                                                                               PONTIAC      MI   48340‐3174
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Name                        Address1                          Address2                   Address3   Address4                 City            State Zip
MR BENJAMIN S SCHLEA        5699 CHEVROLET BLVD APT B202                                                                     CLEVELAND        OH 44130‐8718
MR BENJAMIN S WARREN        748 E FOX HILLS DR                                                                               BLOOMFIELD       MI 48304‐1361
MR BENJAMIN SANTIAGO        2009 CLARKDALE ST                                                                                DETROIT          MI 48209‐1691
MR BENJAMIN T MARTYN        305 W HOPKINS AVE                                                                                PONTIAC          MI 48340‐1719
MR BENJAMIN W LOVELESS II   2114 BOOTMAKER CT                                                                                BLOOMFIELD       MI 48304‐1300
MR BENJAMIN W REINHARDT     730 ROBINWOOD ST                                                                                 PONTIAC          MI 48340‐3139
MR BENNIE D CARTER          710 CAMERON AVE                                                                                  PONTIAC          MI 48340‐3204
MR BENNIE DOLLARD           15 LLOYD ST                                                                                      WILMINGTON       DE 19804‐2819
MR BENNIE GULLION           2209 E WILLIAMSON ST                                                                             BURTON           MI 48529‐2447
MR BENNIE J THOMAS II       2115 E JUDD RD                                                                                   BURTON           MI 48529‐2404
MR BENNIE L HELMS           6016 LAKE DR                                                                                     YPSILANTI        MI 48197‐7013
MR BENNIE R GWINN           290 W PRINCETON AVE                                                                              PONTIAC          MI 48340‐1738
MR BENNY E BROWN            1933 W 11TH ST                                                                                   MUNCIE           IN 47302‐2154
MR BENNY R BROWN            1514 N MORRISON ST                                                                               KOKOMO           IN 46901‐2155
MR BENOIT M SINIORA         645 WEYBRIDGE DR                                                                                 BLOOMFIELD       MI 48304‐1083
MR BENSON EKONG             4199 DAVISON RD                                                                                  BURTON           MI 48509‐1468
MR BERNABE C RODRIGUEZ      248 W RUTGERS AVE                                                                                PONTIAC          MI 48340‐2762
MR BERNADINO VASQUEZ        510 BEACH ST                                                                                     MOUNT MORRIS     MI 48458‐1906
MR BERNARD A PAUL           2146 E SCHUMACHER ST                                                                             BURTON           MI 48529‐2436
MR BERNARD A THICK          4196 RISEDORPH ST                                                                                BURTON           MI 48509‐1042
MR BERNARD C MAYVILLE 3D    4058 RISEDORPH ST                                                                                BURTON           MI 48509‐1040
MR BERNARD F LEATHERLAND    74 GROVE ST                                                                                      MASSENA          NY 13662‐2126
MR BERNARD J CLARK          10910 AARON DR                                                                                   PARMA            OH 44130‐1360
MR BERNARD J GRINKO         1165 CLOVERLAWN DR                                                                               PONTIAC          MI 48340‐1615
MR BERNARD J JOHNSON SR     1540 KELLOGG AVE                                                                                 JANESVILLE       WI 53546‐6024
MR BERNARD J LAYO           624A RILEY BLVD                                                                                  BEDFORD          IN 47421‐9600
MR BERNARD J MELANSON       432 HOLLIS ST                                                                                    FRAMINGHAM       MA 01702‐8623
MR BERNARD L HOHN II        2036 E PARKWOOD AVE                                                                              BURTON           MI 48529‐1764
MR BERNARD L PROULX         20 N ALLEN ST                                                                                    MASSENA          NY 13662‐1862
MR BERNARD P BURNS          660 MAPLE ST                                                                                     MOUNT MORRIS     MI 48458‐1927
MR BERNARD V LAWLER         717 LOYOLA LN                                                                                    FLINT            MI 48503‐5226
MR BERNARD VANHOVE          C/O DEUTSCHE BANK SA/NV           AVENUE MARNIX 13 15                   1000 BRUXELLES BELGIUM
MR BERNARD W MAHON JR       116 VANCE DR                                                                                     FREDERICKSBRG   VA 22408‐2034
MR BERNHARDT CHRISTENSON    2601 N SAGINAW ST                                                                                FLINT           MI 48505‐4445
MR BERTRAM W LINNE          795 EMIRY ST                                                                                     PONTIAC         MI 48340‐2423
MR BERTWIN SEITZ            BISCHOF VON LINGG STR 4                                                 89407 DILLINGEN
MR BERTWIN SEITZ            BISCHOF‐VON‐LINGG‐STR 4                                                 89407 DILLINGEN,
                                                                                                    GERMANY
MR BERTWIN SEITZ            BISCHOF‐VON‐LINGG‐STR 4           89407 DILLINGEN, GERMANY
MR BILL E WINTER            1153 CLOVIS AVE                                                                                  MOUNT MORRIS    MI   48458‐2544
MR BILL F AMAREL            7 1/2 MAIN ST                                                                                    MASSENA         NY   13662‐1966
MR BILL K KALTSOUNIS        11229 N CLUB DR                                                                                  FREDERICKSBRG   VA   22408‐2054
MR BILL R STEPHENS          1504 S PERKINS AVE                                                                               MUNCIE          IN   47302‐2131
MR BILL S SCHRADER          500 GREENTREE DR APT 9                                                                           BEDFORD         IN   47421‐9675
MR BILL SIGN DESIGN         11409 JEFFERY RD                                                                                 NEWALLA         OK   74857‐8984
MR BILLIE A ATEN            1206 WESTFIELD RD                                                                                LANSING         MI   48917‐2377
MR BILLY B BROCK            1821 W 8TH ST                                                                                    MUNCIE          IN   47302‐2196
MR BILLY B DELISLE          188 W RUTGERS AVE                                                                                PONTIAC         MI   48340‐2760
MR BILLY D ARNOLD           1216 W 10TH ST                                                                                   MUNCIE          IN   47302‐2258
MR BILLY D BATEMAN          1452 KENNETH ST                                                                                  BURTON          MI   48529‐2210
MR BILLY J ADDY             17 E ANN ARBOR AVE                                                                               PONTIAC         MI   48340‐1901
MR BILLY J CASTLE           157 W LONGFELLOW AVE                                                                             PONTIAC         MI   48340‐1831
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Name                      Address1                      Address2            Address3         Address4         City            State Zip
MR BILLY J GIBSON         1933 W 10TH ST                                                                      MUNCIE           IN 47302‐2146
MR BILLY J MASSEY         9839 JOAN CIR                                                                       YPSILANTI        MI 48197‐8295
MR BILLY MITCHELL         1229 9TH ST                                                                         BEDFORD          IN 47421‐2517
MR BILLY N BROUGHTON JR   1106 W 15TH ST                                                                      MUNCIE           IN 47302‐3068
MR BILLY R ENGLAND        1286 LOCKE ST                                                                       PONTIAC          MI 48342‐1946
MR BILLY R HENDERSON JR   800 HARWOOD RD                                                                      WILMINGTON       DE 19804‐2661
MR BILLY R HONEYSETTE     1508 E SCHUMACHER ST                                                                BURTON           MI 48529‐1622
MR BILLY R MAPLES II      160 BELLE VILLA BLVD                                                                BELLEVILLE       MI 48111‐4906
MR BILLY R WEBB           150 W YPSILANTI AVE                                                                 PONTIAC          MI 48340‐1873
MR BILLY WALKER           1607 15TH ST                                                                        BEDFORD          IN 47421‐3603
MR BILLY WILLIAMS         2316 N WASHINGTON ST                                                                KOKOMO           IN 46901‐5841
MR BILLY Y LIU            549 W FAIRMOUNT AVE                                                                 PONTIAC          MI 48340‐1602
MR BING J LEGER           621 W ELM ST                                                                        KOKOMO           IN 46901‐2742
MR BLAIR V FERGUSON       10808 SAMANTHA PL                                                                   FREDERICKSBRG    VA 22408‐8043
MR BLANE T GOODSPEED      145 E ORVIS ST                                                                      MASSENA          NY 13662‐2257
MR BLAS SILVA             795 ROBINWOOD ST                                                                    PONTIAC          MI 48340‐3144
MR BLONG M HER            71 PINGREE AVE                                                                      PONTIAC          MI 48342‐1159
MR BOB E SWINDLEHURST     510 N CATHERINE ST                                                                  LANSING          MI 48917‐2932
MR BOB FISK               1112 W BURBANK AVE APT 111                                                          JANESVILLE       WI 53546‐6146
MR BOB MCCARTNEY          1723 N INDIANA AVE                                                                  KOKOMO           IN 46901‐2041
MR BOBBIE L BROWN         744 STANLEY AVE                                                                     PONTIAC          MI 48340‐2473
MR BOBBY D GROVES         1316 3RD ST                                                                         BEDFORD          IN 47421‐1806
MR BOBBY D GROVES         PO BOX 34                                                                           BEDFORD          IN 47421‐1806
MR BOBBY D ROBINSON       312 S ROSEMARY ST                                                                   LANSING          MI 48917‐3856
MR BOBBY D TOLLEY         2169 E WILLIAMSON ST                                                                BURTON           MI 48529‐2445
MR BOBBY D TOLLEY         2050 CONNELL ST                                                                     BURTON           MI 48529‐1333
MR BOBBY E TIPTON         2236 E BOATFIELD AVE                                                                BURTON           MI 48529‐1716
MR BOBBY F SPEARS         1912 W 11TH ST                                                                      MUNCIE           IN 47302‐2153
MR BOBBY G GRAHAM         510 N WALNUT ST                                                                     WILMINGTON       DE 19804‐2622
MR BOBBY GRUBB            1330 I ST APT I                                                                     BEDFORD          IN 47421‐3300
MR BOBBY J CRAIN          1070 DOROTHY ST                                                                     MOUNT MORRIS     MI 48458‐2225
MR BOBBY J WALLS          12 E KEYSTONE AVE                                                                   WILMINGTON       DE 19804‐2024
MR BOBBY J WESLEY         617 E NEWALL ST                                                                     FLINT            MI 48505‐4706
MR BOBBY J WYATT          109 W LONGFELLOW AVE                                                                PONTIAC          MI 48340‐1831
MR BOBBY KEENA            2336 S OAKHILL AVE                                                                  JANESVILLE       WI 53546‐9063
MR BOBBY L COLDIRON       9842 JULIE DR                                                                       YPSILANTI        MI 48197‐8289
MR BOBBY L HAIRSTON       892 STANLEY AVE                                                                     PONTIAC          MI 48340‐2558
MR BOBBY R ALLEN          1130 N COURTLAND AVE                                                                KOKOMO           IN 46901‐2756
MR BOBBY W MILLS JR       1484 E SCOTTWOOD AVE                                                                BURTON           MI 48529‐1626
MR BOBBY WALKER           1418 W 14TH ST                                                                      MUNCIE           IN 47302‐2911
MR BONEFASIO MELENDREZ    4272 BRANDON ST                                                                     DETROIT          MI 48209‐1332
MR BONNALYN I NORRIS      406 W NORTH ST                                                                      KOKOMO           IN 46901‐2842
MR BOUAPHANH MENORATH     498 W FAIRMOUNT AVE                                                                 PONTIAC          MI 48340‐1622
MR BOYCE E PUCKETT        1821 N LAFOUNTAIN ST                                                                KOKOMO           IN 46901‐2318
MR BOYD CHUGG             15199 WETHERBURN DR                                                                 CENTREVILLE      VA 20120‐3927
MR BRAD A CHAMBERLAIN     11541 SHARON DR APT C502                                                            PARMA            OH 44130‐1450
MR BRAD A ROEBER          2004 S CHATHAM ST                                                                   JANESVILLE       WI 53546‐6016
MR BRAD A SCHARER         11404 W MOUNT MORRIS RD                                                             FLUSHING         MI 48433‐9270
MR BRAD D BREIDENSTEIN    1522 ANTHONY AVE                                                                    JANESVILLE       WI 53546‐6010
MR BRAD D REECE           158 W BEVERLY AVE                                                                   PONTIAC          MI 48340‐2620
MR BRAD E DEMAREE         1032 P ST                                                                           BEDFORD          IN 47421‐2818
MR BRAD GILBERT           1252 E YALE AVE                                                                     FLINT            MI 48505‐1753
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MR BRAD JOHNSON             208 W ELM ST                                                                         KOKOMO           IN 46901‐2855
MR BRAD L HULETT            3116 COURT ST APT 14                                                                 SYRACUSE         NY 13206‐1059
MR BRAD M WINTER            558 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1080
MR BRAD MOTT                6 PROSPECT CIR                                                                       MASSENA          NY 13662‐1702
MR BRAD N CRAIG             30 COLLINS TRAILER CT                                                                BEDFORD          IN 47421‐4919
MR BRAD P JOHNSON           1501 W 13TH ST                                                                       MUNCIE           IN 47302‐2909
MR BRADFORD C MCILHARGIE    37 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2755
MR BRADFORD H MEYERDIERKS   1605 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2102
MR BRADFORD HAINES          42 PINGREE AVE                                                                       PONTIAC          MI 48342‐1155
MR BRADFORD NATHAN          815 9TH ST                                                                           BEDFORD          IN 47421‐2636
MR BRADLEY A BURGESS        322 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9387
MR BRADLEY A HOLDEN         2133 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1725
MR BRADLEY A HUNTER         304 EXMORE AVE                                                                       WILMINGTON       DE 19805‐2322
MR BRADLEY A MAGNUS         157 WHITE LN                                                                         BEDFORD          IN 47421‐9222
MR BRADLEY A ROHR           2910 BROYHILL CT                                                                     FREDERICKSBRG    VA 22408‐2069
MR BRADLEY A STETKIW        740 CORTWRIGHT ST                                                                    PONTIAC          MI 48340‐2304
MR BRADLEY A WEAVER         1486 E JUDD RD                                                                       BURTON           MI 48529‐2006
MR BRADLEY H WAID           515 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1011
MR BRADLEY J BLACKWELL      47 CORY LN                                                                           BEDFORD          IN 47421‐9231
MR BRADLEY J KLUMPP         1220 9TH ST                                                                          BEDFORD          IN 47421‐2518
MR BRADLEY J LAVINE         9 LAUREL AVE APT 504                                                                 MASSENA          NY 13662‐2056
MR BRADLEY J SCHIMKE        737 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1307
MR BRADLEY K KENDALL        1812 N MORRISON ST                                                                   KOKOMO           IN 46901‐2149
MR BRADLEY P MIKULKA        3006 W GENESEE ST                                                                    LANSING          MI 48917‐2938
MR BRADLEY P RAYMER         1520 EVERGREEN DR                                                                    JANESVILLE       WI 53546‐6179
MR BRADLEY R BRODIE         1913 GRONDINWOOD CT                                                                  MILFORD          MI 48380‐4282
MR BRADLEY S CASSIDY        1419 E JUDD RD                                                                       BURTON           MI 48529‐2062
MR BRADLEY T JOHNSON        1825 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐5957
MR BRADLEY T MCCANN         805 BLAINE AVE                                                                       PONTIAC          MI 48340‐2405
MR BRADLEY W GODSEY         9880 HANSON CEMETERY RD                                                              BEDFORD          IN 47421‐9173
MR BRADLEY W LEABO          9 LAUREL AVE APT 501                                                                 MASSENA          NY 13662‐2056
MR BRADY E WILLIAMS         490 MOONLIGHT DR                                                                     PONTIAC          MI 48340‐1672
MR BRADY L MIKELS           2237 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8038
MR BRANDEN K MC DANIEL      2069 DELANEY ST                                                                      BURTON           MI 48509‐1022
MR BRANDEN WATTS            2050 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1712
MR BRANDON A WRIGHT         201 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9386
MR BRANDON ASBURY           1210 Q ST                                                                            BEDFORD          IN 47421‐3131
MR BRANDON BRAGG            801 ORLANDO AVE                                                                      PONTIAC          MI 48340‐2356
MR BRANDON BURN             1105 KELLOGG AVE TRLR A18                                                            JANESVILLE       WI 53546‐6085
MR BRANDON C ALCORN         1307 4TH ST                                                                          BEDFORD          IN 47421‐1820
MR BRANDON C HARGROVE       901 CENTERVILLE RD                                                                   WILMINGTON       DE 19804‐2633
MR BRANDON C ZORICH         1706 N MORRISON ST                                                                   KOKOMO           IN 46901‐2151
MR BRANDON D CORNWELL       2186 MORRIS AVE                                                                      FLINT            MI 48529‐2178
MR BRANDON D JACKSON        2018 S GHARKEY ST                                                                    MUNCIE           IN 47302‐7617
MR BRANDON D POWELL         900 W 11TH ST                                                                        MUNCIE           IN 47302‐3173
MR BRANDON EVANS            2240 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1716
MR BRANDON FIELDS           1604 12TH ST                                                                         BEDFORD          IN 47421‐3104
MR BRANDON FISHER           1821 W 6TH ST                                                                        MUNCIE           IN 47302‐2188
MR BRANDON HILL             1015 O ST                                                                            BEDFORD          IN 47421‐2813
MR BRANDON J PLANT          2203 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1783
MR BRANDON J POSTULA        5501 CHEVROLET BLVD APT B                                                            PARMA            OH 44130‐1459
MR BRANDON K MORGAN         1504 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐6038
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR BRANDON L PLEMONS       1747 CHERRY ST                                                                       HUNTINGTON       IN 46750‐1339
MR BRANDON M WAGER         11616 WASHINGTON AVE                                                                 MOUNT MORRIS     MI 48458‐1960
MR BRANDON M WIRES         233 RILEY BLVD                                                                       BEDFORD          IN 47421‐9646
MR BRANKO SOLIC JR         11800 BROOKPARK RD TRLR 112                                                          CLEVELAND        OH 44130‐1100
MR BRANT T BERRY           2079 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2435
MR BRENT A SHOOK           7051 ESTRELLE AVE                                                                    MOUNT MORRIS     MI 48458‐2152
MR BRENT C SHEPHERD        2069 COVERT RD                                                                       BURTON           MI 48509‐1010
MR BRENT D KOLHOFF         1004 GOULD RD                                                                        LANSING          MI 48917‐1755
MR BRENT L POLMANTEER II   4135 CHARTER OAK DR                                                                  FLINT            MI 48507‐5551
MR BRENT MYERS             2157 E JUDD RD                                                                       BURTON           MI 48529‐2404
MR BRENT R NASON           12 GUILD RD                                                                          FRAMINGHAM       MA 01702‐8713
MR BRENT THOMAS            415 W MORGAN ST                                                                      KOKOMO           IN 46901‐2248
MR BRENTEN J AGAR          712 NEWMAN LN                                                                        PONTIAC          MI 48340‐3304
MR BRENTT M DARLING        120 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1873
MR BREON S STEVENSON       5629 CHEVROLET BLVD APT 4                                                            PARMA            OH 44130‐8708
MR BRET SWISHER            2338 FERGUSON RD                                                                     ONTARIO          OH 44906‐1150
MR BRET T HAWKINS          1607 14TH ST                                                                         BEDFORD          IN 47421‐3632
MR BRETT H ONEILL          705 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2627
MR BRETT W DOUGHERTY       45 PARKER AVE                                                                        MASSENA          NY 13662‐2213
MR BRETTON R BRADLEY       621 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1341
MR BRETTON ROBB            1257 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1707
MR BRIAN A BUSKIRK         5518 ABRAHAM AVE                                                                     CLEVELAND        OH 44130‐1318
MR BRIAN A GRUMLEY         625 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1917
MR BRIAN A HOWARD          11800 BROOKPARK RD TRLR 147                                                          CLEVELAND        OH 44130‐1189
MR BRIAN A LITTLEJOHN      1516 VINEWOOD ST APT 411                                                             DETROIT          MI 48216‐1481
MR BRIAN A PENNOCK         614 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2604
MR BRIAN A ROY             684 BUENA VISTA ST APT 2                                                             MOUNT MORRIS     MI 48458‐1963
MR BRIAN B GOHLKE          4024 FALL HARVEST DR                                                                 JANESVILLE       WI 53546‐4432
MR BRIAN C BYRD            11270 GABRIELLA DR                                                                   PARMA HEIGHTS    OH 44130‐1333
MR BRIAN C DODD            2124 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐5811
MR BRIAN C MILLER          616 W 11TH ST                                                                        MUNCIE           IN 47302‐3129
MR BRIAN D COOK            1922 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2038
MR BRIAN D ELLIOTT         1401 N ST                                                                            BEDFORD          IN 47421‐3205
MR BRIAN D HALL            3837 LORRAINE AVE                                                                    FLINT            MI 48506‐4237
MR BRIAN D HAW             432 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1078
MR BRIAN D STIFF           3210 N HENDERSON RD                                                                  DAVISON          MI 48423‐8166
MR BRIAN D VANDERKARR      2131 MORRIS AVE                                                                      BURTON           MI 48529‐2179
MR BRIAN E BASS            256 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2724
MR BRIAN E CHRISTIAN       127 W TENNYSON AVE                                                                   PONTIAC          MI 48340‐2673
MR BRIAN E HALL            1114 LINCOLN AVE                                                                     BEDFORD          IN 47421‐2925
MR BRIAN E THAYER          2077 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1723
MR BRIAN F MCCARTHY        1304 UNIVERSITY DR                                                                   PONTIAC          MI 48342‐1974
MR BRIAN FANGON            25 PINGREE AVE                                                                       PONTIAC          MI 48342‐1159
MR BRIAN G FORCE           2618 LYDIA ST SW                                                                     WARREN           OH 44481‐9622
MR BRIAN G WEBB            10680 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1370
MR BRIAN HEARN             1822 H ST                                                                            BEDFORD          IN 47421‐4220
MR BRIAN J BOSWELL         3768 S US HIGHWAY 231                                                                GREENCASTLE      IN 46135‐8701
MR BRIAN J HUDSON          146 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2758
MR BRIAN J LEVITSKI        2136 S WALNUT ST                                                                     JANESVILLE       WI 53546‐6136
MR BRIAN J SHELTON         908 I ST                                                                             BEDFORD          IN 47421‐2624
MR BRIAN J SORRELLS        282 WHITE LN                                                                         BEDFORD          IN 47421‐9223
MR BRIAN J WEINS           4508 SANDHILL DR                                                                     JANESVILLE       WI 53546‐4419
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Name                    Address1                       Address2            Address3         Address4         City            State Zip
MR BRIAN K ALLENDER     1015 N ST                                                                            BEDFORD          IN 47421‐2932
MR BRIAN K ALLISON      905 SOUTH ST                                                                         MOUNT MORRIS     MI 48458‐2043
MR BRIAN K DOTY         1011 N ST                                                                            BEDFORD          IN 47421‐2932
MR BRIAN K GANGLEY      3351 ROOSEVELT ST                                                                    DETROIT          MI 48208‐2354
MR BRIAN K PIERCE       592 KETTERING AVE                                                                    PONTIAC          MI 48340‐3242
MR BRIAN K RUTHERFORD   256 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2762
MR BRIAN K RYCKMAN      5541 CHEVROLET BLVD APT B507                                                         CLEVELAND        OH 44130‐1493
MR BRIAN K TURRILL      6032 LAKE DR                                                                         YPSILANTI        MI 48197‐7013
MR BRIAN K WALKER       1515 2ND ST                                                                          BEDFORD          IN 47421‐1705
MR BRIAN L GHEE         161 PUTNAM AVE                                                                       PONTIAC          MI 48342‐1268
MR BRIAN L THOMPSON     1407 L ST                                                                            BEDFORD          IN 47421‐3218
MR BRIAN LABARGE        12 PROSPECT CIR                                                                      MASSENA          NY 13662‐1702
MR BRIAN LAURIE         1910 W 8TH ST                                                                        MUNCIE           IN 47302‐2183
MR BRIAN M ANATRA       2427 WHITNEY AVE                                                                     ONTARIO          OH 44906‐1197
MR BRIAN M BOIKE        510 ROLLING ROCK RD                                                                  BLOOMFIELD       MI 48304‐1053
MR BRIAN M LOY          703 GARNET RD                                                                        WILMINGTON       DE 19804‐2613
MR BRIAN M MCNAMARA     1238 UNIVERSITY DR                                                                   PONTIAC          MI 48342‐1969
MR BRIAN M NEWLAND      4047 WOODROW AVE                                                                     BURTON           MI 48509‐1050
MR BRIAN M PANICO       710 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2110
MR BRIAN M RENO         820 SOUTH ST                                                                         MOUNT MORRIS     MI 48458‐2027
MR BRIAN M SINGLETON    619 N CATHERINE ST                                                                   LANSING          MI 48917‐4907
MR BRIAN M WALLS        4501 SANDHILL DR                                                                     JANESVILLE       WI 53546‐4419
MR BRIAN NOR            291 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1711
MR BRIAN O DAHMEN       2104 S PEARL ST                                                                      JANESVILLE       WI 53546‐6148
MR BRIAN O FRONTZ       1617 W 11TH ST                                                                       MUNCIE           IN 47302‐6612
MR BRIAN P FOLEY        179 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1833
MR BRIAN P RONQUEST     10812 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8041
MR BRIAN P THORNBURG    1917 W 11TH ST                                                                       MUNCIE           IN 47302‐2154
MR BRIAN PATRAW         124 ANDREWS ST                                                                       MASSENA          NY 13662‐1852
MR BRIAN PERDUE         748 PENSACOLA AVE                                                                    PONTIAC          MI 48340‐2357
MR BRIAN PLUNKETT       2254 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2449
MR BRIAN R FORDE        680 STANLEY AVE                                                                      PONTIAC          MI 48340‐2469
MR BRIAN R INGALLS      1105 KELLOGG AVE TRLR B20                                                            JANESVILLE       WI 53546‐6087
MR BRIAN R WAGNER       3008 TIMBER DR                                                                       LANSING          MI 48917‐2383
MR BRIAN ROSS           2140 E BUDER AVE                                                                     BURTON           MI 48529‐1734
MR BRIAN S DEARY        175 OVERLAKE DR                                                                      LAKE ORION       MI 48362‐1540
MR BRIAN S HART         1022 W COSTELLO ST                                                                   MOUNT MORRIS     MI 48458‐2103
MR BRIAN S HUGHETT      1507 E ST                                                                            BEDFORD          IN 47421‐3809
MR BRIAN S ROE          235 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2741
MR BRIAN S ROOSE        515 SEDGEFIELD DR                                                                    BLOOMFIELD       MI 48304‐1058
MR BRIAN S SANDERS      131 W LORDEMAN ST                                                                    KOKOMO           IN 46901‐2235
MR BRIAN S SCHMITT      2132 CONNELL ST                                                                      BURTON           MI 48529‐1335
MR BRIAN S TUNGL        7210 HARVARD AVE                                                                     MOUNT MORRIS     MI 48458‐2143
MR BRIAN SHERWOOD       700 N CLAYPOOL RD                                                                    MUNCIE           IN 47303‐4234
MR BRIAN T JACKSON      107 LEGRANDE AVE                                                                     PONTIAC          MI 48342‐1135
MR BRIAN T SIFTON       12353 CAMDEN ST                                                                      LIVONIA          MI 48150‐2370
MR BRIAN THOMSON        1046 ANGOLA AVE                                                                      MOUNT MORRIS     MI 48458‐2122
MR BRIAN W CUSTER       416 BRYNFORD AVE                                                                     LANSING          MI 48917‐2992
MR BRICKLEY L SALTER    99 BLAINE AVE                                                                        PONTIAC          MI 48342‐1101
MR BRIEN BECKS          896 KETTERING AVE                                                                    PONTIAC          MI 48340‐3253
MR BRITT A KERN         2919 RISLEY DR                                                                       LANSING          MI 48917‐2365
MR BRITT HALL JR        1118 E COLDWATER RD                                                                  FLINT            MI 48505‐1504
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR BROADUS M MAYFIELD JR   428 FOX HILLS DR S APT 7                                                             BLOOMFIELD       MI 48304‐1349
MR BROCK A ALCORN          1212 9TH ST                                                                          BEDFORD          IN 47421‐2518
MR BRODERICK G BROWN       2604 SYLVAN AVE                                                                      WILMINGTON       DE 19805‐2345
MR BRODY J MCCLELLAN       525 BON AIR RD                                                                       LANSING          MI 48917‐2906
MR BRUCE A DOERING         2216 COMMONS AVE                                                                     JANESVILLE       WI 53546‐5966
MR BRUCE A HEWETSON        1501 J ST STE 401                                                                    BEDFORD          IN 47421‐3840
MR BRUCE A ONEAL           644 CAMERON AVE                                                                      PONTIAC          MI 48340‐3200
MR BRUCE A ROSE            1028 O ST                                                                            BEDFORD          IN 47421‐2814
MR BRUCE A SHIEL           671 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1907
MR BRUCE C DIXON           1932 W SPINNINGWHEEL LN                                                              BLOOMFIELD       MI 48304‐1066
MR BRUCE C DONLEY          2106 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1726
MR BRUCE D ANDERSON        4239 WINDMILL FARMS                                                                  MILFORD          MI 48380‐4279
MR BRUCE D DOUGLAS         508 E NORTH ST                                                                       KOKOMO           IN 46901‐3057
MR BRUCE D DUNHAM          3314 UPTON RD                                                                        LANSING          MI 48917‐2339
MR BRUCE E MCKINNEY        16 READ AVE                                                                          WILMINGTON       DE 19804‐2034
MR BRUCE ELY               131 N CATHERINE ST                                                                   LANSING          MI 48917‐2929
MR BRUCE I RILEY           97 ANDREWS ST                                                                        MASSENA          NY 13662‐1840
MR BRUCE J BOERKOEL        2004 FOX GLEN CT                                                                     BLOOMFIELD       MI 48304‐1006
MR BRUCE J CAMPBELL        107 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2001
MR BRUCE J MEADE           984 EMERSON AVE                                                                      PONTIAC          MI 48340‐3229
MR BRUCE J PARKER JR       11335 UNION ST                                                                       MOUNT MORRIS     MI 48458‐2210
MR BRUCE K DITTMER         220 BRYNFORD AVE                                                                     LANSING          MI 48917‐2990
MR BRUCE L HANDLEY         2228 BRADY AVE                                                                       BURTON           MI 48529‐2427
MR BRUCE L MCINTYRE        55 W SHEFFIELD AVE                                                                   PONTIAC          MI 48340‐1847
MR BRUCE L MCLAUGHLAN      4060 GRONDINWOOD LN                                                                  MILFORD          MI 48380‐4221
MR BRUCE L ROBERTSON JR    1613 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2316
MR BRUCE LYNN              1513 2ND ST                                                                          BEDFORD          IN 47421‐1705
MR BRUCE M WALSKY          11470 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1337
MR BRUCE P PICHETTE        35 GROVE ST                                                                          MASSENA          NY 13662‐2130
MR BRUCE R BEAUMONT        29112 ELMIRA ST                                                                      LIVONIA          MI 48150‐3161
MR BRUCE R LENTZ           11331 RIVEREDGE DR                                                                   PARMA            OH 44130‐1260
MR BRUCE R WILSON          890 SARASOTA AVE                                                                     PONTIAC          MI 48340‐2368
MR BRUCE S PODGURSKI       133 MAIN ST                                                                          MASSENA          NY 13662‐1908
MR BRUCE SNELL             3701 S OAK ST                                                                        CASPER           WY 82601
MR BRUCE STEIN             1100 CESAR E CHAVEZ AVE                                                              PONTIAC          MI 48340‐2345
MR BRUCE T GATES           2005 OLD OAKLAND AVE                                                                 LANSING          MI 48915‐1350
MR BRUCE W CHAMBERS        751 BON AIR RD                                                                       LANSING          MI 48917‐2315
MR BRUCE W ECKERLE         232 BRYNFORD AVE                                                                     LANSING          MI 48917‐2990
MR BRUCE W GREGORY         1319 S KINNEY AVE                                                                    MUNCIE           IN 47302‐3184
MR BRUCE W WURN            480 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1904
MR BRUNO J BRAZAUSKAS II   2090 E SPINNINGWHEEL LN                                                              BLOOMFIELD       MI 48304‐1065
MR BRUNO M CHEVRIER        120 DAVID RD                                                                         WILMINGTON       DE 19804‐2665
MR BRYAN A VAN ACKER       534 BON AIR RD                                                                       LANSING          MI 48917‐2905
MR BRYAN A VAN ACKER       600 BON AIR RD                                                                       LANSING          MI 48917‐2983
MR BRYAN BRENEMAN          1217 KING ST                                                                         JANESVILLE       WI 53546‐6025
MR BRYAN C GUSTAFSON       4105 RISEDORPH ST                                                                    BURTON           MI 48509‐1067
MR BRYAN D BILLINGS        2923 TIMBER DR                                                                       LANSING          MI 48917‐2325
MR BRYAN D JAMES           603 BECKER AVE                                                                       WILMINGTON       DE 19804‐2105
MR BRYAN D KREGER          937 CAMERON AVE                                                                      PONTIAC          MI 48340‐3215
MR BRYAN E BLOOD           550 OAK ST                                                                           MOUNT MORRIS     MI 48458‐1933
MR BRYAN H GRANDBERRY SR   730 KINNEY RD                                                                        PONTIAC          MI 48340‐2439
MR BRYAN H LEE             1505 BRADY AVE                                                                       BURTON           MI 48529‐2011
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MR BRYAN JOST            1008 P ST                                                                            BEDFORD          IN 47421‐2818
MR BRYAN K GAMBLE        477 MOONLIGHT DR                                                                     PONTIAC          MI 48340‐1672
MR BRYAN K SMITH         3607 PEERLESS RD                                                                     BEDFORD          IN 47421‐8110
MR BRYAN R CRISSINGER    806 GARNET RD                                                                        WILMINGTON       DE 19804‐2616
MR BRYAN S HOOPS         2001 N CENTER RD APT 105                                                             FLINT            MI 48506‐3198
MR BRYAN W HAUGHT        5693 CHEVROLET BLVD APT B213                                                         CLEVELAND        OH 44130‐8725
MR BRYCE A YORK          1134 M ST                                                                            BEDFORD          IN 47421‐2929
MR BRYCE M NORTON        153 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1831
MR BRYCE REDWINE         2528 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2027
MR BRYCE W TEARNEY       1809 W 13TH ST                                                                       MUNCIE           IN 47302‐6618
MR BRYON L LEW           574 S SPINNINGWHEEL LN                                                               BLOOMFIELD       MI 48304‐1318
MR BUEL T COSBY          2117 KENNETH ST                                                                      BURTON           MI 48529‐1382
MR BURDETTE M PARSON     1710 N WEBSTER ST                                                                    KOKOMO           IN 46901‐2104
MR BURT D LAWRENCE       1 GRASSMERE TER APT 27                                                               MASSENA          NY 13662‐2163
MR BURT D LAWRENCE       7 GRASSMERE AVE                                                                      MASSENA          NY 13662‐2039
MR BUS                   3603 WOODLAWN TER                                                                    SAINT JOSEPH     MO 64506‐2401
MR BUSTER HOLLAND        1116 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2179
MR BUTCH OSBORN          901 LINCOLN AVE                                                                      BEDFORD          IN 47421‐2537
MR BYRON B BRENNAN       614 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2988
MR BYRON K SANDERS       317 N JACKSON ST                                                                     BEDFORD          IN 47421‐1525
MR BYRON K TONIC JR      10819 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8040
MR BYRON SPOONER         1019 NELSON ST                                                                       FLINT            MI 48503‐1840
MR BYRON W ALDRINK       3005 RISLEY DR                                                                       LANSING          MI 48917‐2391
MR BYRON W STEELE        319 THE WOODS                                                                        BEDFORD          IN 47421‐9379
MR BYUNG K JEON          481 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1309
MR C GERALD TAYLOR       424 RIVERWALK                                                                        MCDONOUGH        GA 30252‐9013
MR C M KIDD JR           1906 W 8TH ST                                                                        MUNCIE           IN 47302‐2183
MR CALVIN C MONAGAN      758 W GRAND BLVD                                                                     DETROIT          MI 48216‐1003
MR CALVIN C VANHOOK      1041 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1701
MR CALVIN DAVIS          766 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1306
MR CALVIN L REESE        5717 CHEVROLET BLVD APT A205                                                         CLEVELAND        OH 44130‐8721
MR CALVIN LOCKRIDGE      5501 CHEVROLET BLVD APT 209                                                          PARMA            OH 44130‐1459
MR CALVIN R BALLARD      11307 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2038
MR CALVIN R KEMPPAINEN   9705 HARBOUR COVE CT                                                                 YPSILANTI        MI 48197‐6902
MR CALVIN S HARRIS       555 MARY ST                                                                          FLINT            MI 48503‐1564
MR CALVIN SULLIVAN       208 W ELM ST                                                                         KOKOMO           IN 46901‐2855
MR CALVIN T REED         134 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2720
MR CALVIN W HICKMAN SR   2407 SYLVAN AVE                                                                      WILMINGTON       DE 19805‐2342
MR CAMERON L MACDONALD   209 N GRACE ST                                                                       LANSING          MI 48917‐4909
MR CAREY B JORDAN        475 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1309
MR CARL A GIBBONS        2705 GLENDAS WAY                                                                     FREDERICKSBRG    VA 22408‐8037
MR CARL A JOHNSON JR     1495 READY AVE                                                                       BURTON           MI 48529‐2053
MR CARL A MONTROSSE      1386 READY AVE                                                                       BURTON           MI 48529‐2052
MR CARL A OLSON          2213 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐9050
MR CARL A SILVRANTS      11221 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2040
MR CARL B KNOWLTON       229 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1805
MR CARL B ZENDER JR      24 KENT ST                                                                           MASSENA          NY 13662‐2119
MR CARL BARBER           1600 S PORT AVE                                                                      MUNCIE           IN 47302‐2134
MR CARL BARBER           519 W 10TH ST                                                                        MUNCIE           IN 47302‐3124
MR CARL COULTER          841 WOODLAND AVE                                                                     PONTIAC          MI 48340‐2567
MR CARL COULTER          842 EMERSON AVE                                                                      PONTIAC          MI 48340‐3225
MR CARL D BELL           PO BOX 1453                                                                          JANESVILLE       WI 53547‐1453
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MR CARL D HUTCHINSON JR   186 HIGH ST                                                                          PONTIAC          MI 48342‐1119
MR CARL D PETRICK         1516 KING ST                                                                         JANESVILLE       WI 53546‐6028
MR CARL D ROBINSON        2084 N CENTER RD                                                                     BURTON           MI 48509‐1001
MR CARL D SHELTON         323 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9388
MR CARL D SMITH JR        9966 JULIE DR                                                                        YPSILANTI        MI 48197‐8294
MR CARL D WHITE           2909 RISLEY DR                                                                       LANSING          MI 48917‐2365
MR CARL E BRIGGS          10880 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1473
MR CARL E DISHNER         1725 N WABASH AVE                                                                    KOKOMO           IN 46901‐2006
MR CARL E DYER            2061 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1723
MR CARL E KOONS           11031 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2044
MR CARL F NEW JR          707 W 5TH ST                                                                         MUNCIE           IN 47302‐2204
MR CARL F OWENS II        2603 SYLVAN AVE                                                                      WILMINGTON       DE 19805‐2344
MR CARL F POE             10800 TIDES CT                                                                       FREDERICKSBRG    VA 22408‐8076
MR CARL F SHEHORN SR      1500 PROPER AVE                                                                      BURTON           MI 48529‐2046
MR CARL G SHANNON         1311 13TH ST                                                                         BEDFORD          IN 47421‐3224
MR CARL G SWEERS JR       1046 W COSTELLO ST                                                                   MOUNT MORRIS     MI 48458‐2103
MR CARL H WALKER          252 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2778
MR CARL J BLOCKSOM        11541 SHARON DR APT C510                                                             CLEVELAND        OH 44130‐8706
MR CARL J DINEEN          710 GARNET RD                                                                        WILMINGTON       DE 19804‐2614
MR CARL J MILLER          3730 31ST ST                                                                         DETROIT          MI 48210‐3116
MR CARL J WINOWIECKI SR   2020 WICKFORD CT                                                                     BLOOMFIELD       MI 48304‐1087
MR CARL K GIBSON          1807 H ST                                                                            BEDFORD          IN 47421‐4219
MR CARL KUERBITZ JR       751 MELROSE ST                                                                       PONTIAC          MI 48340‐3122
MR CARL L ARNOLD SR       150 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1820
MR CARL L JONES           480 FOX HILLS DR N APT 5                                                             BLOOMFIELD       MI 48304‐1335
MR CARL L KOVACH          8655 TOD AVE SW                                                                      WARREN           OH 44481‐9657
MR CARL L LANGLEY         1810 N WASHINGTON ST TRLR 1                                                          KOKOMO           IN 46901‐2277
MR CARL O HELLING JR      2304 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐4404
MR CARL R EAST            632 15TH ST                                                                          BEDFORD          IN 47421‐3806
MR CARL R GOOTEE          1845 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8035
MR CARL R RUSSELL         40 W STRATHMORE AVE                                                                  PONTIAC          MI 48340‐2770
MR CARL R SCRUGGS SR      11 RANSOM AVE                                                                        MASSENA          NY 13662‐1731
MR CARL R SPEARLING       410 HELEN ST                                                                         MOUNT MORRIS     MI 48458‐1921
MR CARL S CLENDENNING     2147 N ARMSTRONG ST                                                                  KOKOMO           IN 46901‐5802
MR CARL SMEDLEY           1308 W 13TH ST                                                                       MUNCIE           IN 47302‐2903
MR CARL T BURTON          1800 W 11TH ST                                                                       MUNCIE           IN 47302‐6613
MR CARL T CRAWFORD        675 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1013
MR CARL W ANDERSON        11223 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2040
MR CARL W DUNCAN          1713 H ST                                                                            BEDFORD          IN 47421‐4217
MR CARL W HARVEY JR       105 E KEYSTONE AVE                                                                   WILMINGTON       DE 19804‐2025
MR CARL W PARISH          144 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MR CARL W PRESTON         437 N CATHERINE ST                                                                   LANSING          MI 48917‐4905
MR CARL W SCHROCK         9823 JULIE DR                                                                        YPSILANTI        MI 48197‐7091
MR CARL W SEAMES JR       1407 E BRISTOL RD                                                                    BURTON           MI 48529‐2213
MR CARLA D LEWIS          762 AUBURN AVE                                                                       PONTIAC          MI 48342‐3373
MR CARLETON R SHARKEY     2124 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2444
MR CARLEY J PAZZ          655 MAPLE ST                                                                         MOUNT MORRIS     MI 48458‐1926
MR CARLITO PEREZ          6747 N WAYNE RD APT 421                                                              WESTLAND         MI 48185‐3786
MR CARLOS A MACHADO       30 READ AVE                                                                          WILMINGTON       DE 19804‐2034
MR CARLOS ALEJANDRE       872 STIRLING ST                                                                      PONTIAC          MI 48340‐3165
MR CARLOS CHRISTIAN       1153 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
MR CARLOS D RODRIGUEZ     1521 N CENTER RD                                                                     FLINT            MI 48506‐4202
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Name                      Address1                           Address2            Address3         Address4         City            State Zip
MR CARLOS D WEIR          154 CHERRY HILL DR                                                                       PONTIAC          MI 48340‐1608
MR CARLOS H WARD          2109 E SCHUMACHER ST                                                                     BURTON           MI 48529‐2437
MR CARLOS M ORTEGA        2609 JUNCTION ST                                                                         DETROIT          MI 48209‐1348
MR CARLOS RODRIGUEZ       2001 N VIRGINIA AVE                                                                      FLINT            MI 48506‐3102
MR CARLOS VILLARREAL      704 HOLLISTER ST                                                                         PONTIAC          MI 48340‐2426
MR CARLOS VILLARREAL SR   822 BLAINE AVE                                                                           PONTIAC          MI 48340‐2406
MR CARLTON E BILLINGS     2001 N CENTER RD APT 304                                                                 FLINT            MI 48506‐3183
MR CARLTON J WENDLER      644 ROLLING ROCK RD                                                                      BLOOMFIELD       MI 48304‐1055
MR CARLTON L TREUTHARDT   1706 W BURBANK AVE                                                                       JANESVILLE       WI 53546‐6130
MR CARLTON LEWIS          128 ALLEN ST                                                                             MASSENA          NY 13662‐1846
MR CARLTON S BORDE        566 E FOX HILLS DR                                                                       BLOOMFIELD       MI 48304‐1312
MR CARLTON S WHITE        463 HOLLIS ST                                                                            FRAMINGHAM       MA 01702‐8647
MR CARMELO M MOYET JR     732 LOUNSBURY AVE                                                                        PONTIAC          MI 48340‐2452
MR CARMELO R ORTIZ        44 W CORNELL AVE                                                                         PONTIAC          MI 48340‐2716
MR CARROLL W HUMPHREY     607 N AUGUSTINE ST                                                                       WILMINGTON       DE 19804‐2603
MR CARROUS F ROBINSON     2501 N SAGINAW ST                                                                        FLINT            MI 48505‐4443
MR CARTER J MONTROSS      46 PROSPECT AVE                                                                          MASSENA          NY 13662‐1744
MR CARTER L LINNEMAN      2145 S OAKHILL AVE                                                                       JANESVILLE       WI 53546‐6104
MR CARTY L WILLIAMS       1921 W 8TH ST APT F                                                                      MUNCIE           IN 47302‐2174
MR CARVIN C BAKER         1818 N INDIANA AVE                                                                       KOKOMO           IN 46901‐2040
MR CARY C STEVENS         4137 WOODROW AVE                                                                         BURTON           MI 48509‐1051
MR CARY J CRAFT           1477 READY AVE                                                                           BURTON           MI 48529‐2053
MR CARY NORTH SR          2171 E BRISTOL RD                                                                        BURTON           MI 48529‐1320
MR CARY R EWING           2040 CASHIN ST APT 5                                                                     BURTON           MI 48509‐1107
MR CARY R WEISENBORN      2245 E SCOTTWOOD AVE                                                                     BURTON           MI 48529‐1753
MR CASEY GARRETT
MR CASEY LETSCH           2951 N ANDY WAY                                                                          BLOOMINGTON     IN   47404‐1327
MR CASEY M HALL           1402 N INDIANA AVE                                                                       KOKOMO          IN   46901‐2048
MR CASEY R CZEPCZYNSKI    10990 RIVEREDGE DR                                                                       CLEVELAND       OH   44130‐1251
MR CASIMIR P KOTARBA 3D   651 E FOX HILLS DR                                                                       BLOOMFIELD      MI   48304‐1305
MR CASIMIRO E RIVAS       787 BLAINE AVE                                                                           PONTIAC         MI   48340‐2403
MR CASPER J MERGEL JR     674 YEAGER DR                                                                            ONTARIO         OH   44906‐4004
MR CATALINO L SERRANO     209 DEARBORN RD                                                                          PONTIAC         MI   48340‐2510
MR CECIL A RICHARDS SR    6028 LAKE DR                                                                             YPSILANTI       MI   48197‐7012
MR CECIL L YORK           806 J ST                                                                                 BEDFORD         IN   47421‐2629
MR CECIL M LEMON          249 W YPSILANTI AVE                                                                      PONTIAC         MI   48340‐1878
MR CECIL R MARTIN         122 EUCLID AVE                                                                           PONTIAC         MI   48342‐1113
MR CECIL R MORGAN         216 W YPSILANTI AVE                                                                      PONTIAC         MI   48340‐1877
MR CECIL T DURLEY         2714 25TH ST                                                                             DETROIT         MI   48216‐1055
MR CELESTIN A CARATTINI   25 UNIVERSITY PLACE DR                                                                   PONTIAC         MI   48342‐1881
MR CESAR DESOUZA          442 HOLLIS ST                                                                            FRAMINGHAM      MA   01702‐8623
MR CESAR O LOPEZ‐GARCIA   840 SARASOTA AVE                                                                         PONTIAC         MI   48340‐2368
MR CHAD D WANDRICK        10825 SAMANTHA PL                                                                        FREDERICKSBRG   VA   22408‐8042
MR CHAD E BLAIR           2 PRATT PL                                                                               MASSENA         NY   13662‐2005
MR CHAD G HUNGERFORD      1141 E COLDWATER RD                                                                      FLINT           MI   48505‐1503
MR CHAD J BOWLES          50 NIGHTENGALE AVE                                                                       MASSENA         NY   13662‐1715
MR CHAD J EAGAN           1506 JOLSON AVE                                                                          BURTON          MI   48529‐2030
MR CHAD M HEISZ           2024 S WALNUT ST                                                                         JANESVILLE      WI   53546‐6054
MR CHAD M MCGREGOR        21 GROVE ST                                                                              MASSENA         NY   13662‐2131
MR CHAD N BROWN           4124 MORRISON ST                                                                         BURTON          MI   48529‐1655
MR CHAD R BOVAY           40 GROVE ST                                                                              MASSENA         NY   13662‐2100
MR CHAD ROMINE            1611 15TH ST                                                                             BEDFORD         IN   47421‐3603
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Name                          Address1                           Address2            Address3         Address4                City            State Zip
MR CHAD W AMO                 52 GROVE ST                                                                                     MASSENA          NY 13662‐2126
MR CHAD W GREEN               8 HILLCREST AVE                                                                                 MASSENA          NY 13662‐1821
MR CHAD W HYDE                2132 E BUDER AVE                                                                                BURTON           MI 48529‐1734
MR CHAD W SAMPLE              133 W STRATHMORE AVE                                                                            PONTIAC          MI 48340‐2775
MR CHAD W TEAGUE              1518 1ST ST                                                                                     BEDFORD          IN 47421‐1702
MR CHADE L HOWEY              11620 N SAGINAW ST APT B                                                                        MOUNT MORRIS     MI 48458‐2021
MR CHAIYANT S CHAISURIYA JR   445 W FAIRMOUNT AVE                                                                             PONTIAC          MI 48340‐1621
MR CHALENGSAK SIRAYOTHIN      1470 WEBBER AVE                                                                                 BURTON           MI 48529‐2038
MR CHALLICE SALES             98 ELLICE STREET                                                        ROCANVILLE SK S0A 3L0
                                                                                                      CANADA
MR CHAO M VANG                244 W KENNETT RD                                                                                PONTIAC         MI   48340‐2654
MR CHAO XIONG                 117 SUMMIT ST                                                                                   PONTIAC         MI   48342‐1167
MR CHARLES A BURNS            36 KAREN CT                                                                                     PONTIAC         MI   48340‐1635
MR CHARLES A CRUICKSHANK      65 GROVE ST                                                                                     MASSENA         NY   13662‐2128
MR CHARLES A DARCY JR         2919 W IONIA ST                                                                                 LANSING         MI   48917‐2955
MR CHARLES A HARDON JR        101 OAK CREEK LN                                                                                PONTIAC         MI   48340‐2225
MR CHARLES A MCCORMACK        202 BROOKE DR                                                                                   FREDERICKSBRG   VA   22408‐2004
MR CHARLES A STORRIN          22 HIGHLAND AVE                                                                                 MASSENA         NY   13662‐1737
MR CHARLES A WELDON           81 W RUTGERS AVE                                                                                PONTIAC         MI   48340‐2757
MR CHARLES A YAHNKE JR        1510 ANTHONY AVE                                                                                JANESVILLE      WI   53546‐6010
MR CHARLES B HUFNAL JR        12 W CONRAD DR                                                                                  WILMINGTON      DE   19804‐2040
MR CHARLES B HUFNAL JR        10 W CONRAD DR                                                                                  WILMINGTON      DE   19804‐2040
MR CHARLES B JOHNSON          900 PALMER DR                                                                                   PONTIAC         MI   48342‐1859
MR CHARLES B PLUMB            61 W BEVERLY AVE                                                                                PONTIAC         MI   48340‐2617
MR CHARLES BROWN              128 W YALE AVE                                                                                  PONTIAC         MI   48340‐1862
MR CHARLES C ANDERSON         602 N WALNUT ST                                                                                 WILMINGTON      DE   19804‐2624
MR CHARLES C HOOD             1168 E GRAND BLVD                                                                               FLINT           MI   48505‐1522
MR CHARLES C WYMER            11369 SHARON DR                                                                                 PARMA           OH   44130‐1439
MR CHARLES D BARNETT          579 FOX RIVER DR                                                                                BLOOMFIELD      MI   48304‐1011
MR CHARLES D COONS            1122 E BOULEVARD DR                                                                             FLINT           MI   48503‐1800
MR CHARLES D COONS            1114 NELSON ST                                                                                  FLINT           MI   48503‐1821
MR CHARLES D MORGAN           6137 LAKE DR                                                                                    YPSILANTI       MI   48197‐7053
MR CHARLES D ROCKEY           2126 N BUCKEYE ST                                                                               KOKOMO          IN   46901‐5811
MR CHARLES D SCHNARES         714 WOODSEDGE RD                                                                                WILMINGTON      DE   19804‐2626
MR CHARLES D SMITH            581 SPRUCE ST                                                                                   MOUNT MORRIS    MI   48458‐1940
MR CHARLES D WEBSTER JR       208 MOUNT PLEASANT RD                                                                           BEDFORD         IN   47421‐9665
MR CHARLES E BALDRIDGE        2109 E WILLIAMSON ST                                                                            BURTON          MI   48529‐2445
MR CHARLES E BERGER           2206 E JUDD RD                                                                                  BURTON          MI   48529‐2407
MR CHARLES E BOCK             458 FOX HILLS DR N APT 6                                                                        BLOOMFIELD      MI   48304‐1332
MR CHARLES E CARTER JR        119 DAVID RD                                                                                    WILMINGTON      DE   19804‐2648
MR CHARLES E DELPHIA          1710 G ST                                                                                       BEDFORD         IN   47421‐4636
MR CHARLES E DIGGS JR         1167 CHESTNUT ST                                                                                PONTIAC         MI   48342‐1891
MR CHARLES E DUHARTE          108 MEGHANS CT                                                                                  WILMINGTON      DE   19804‐2045
MR CHARLES E FLETCHER         8 CUNARD ST                                                                                     WILMINGTON      DE   19804‐2808
MR CHARLES E GRUNDY           1182 E GRAND BLVD                                                                               FLINT           MI   48505‐1522
MR CHARLES E HELTON           1718 MOUNT PLEASANT RD                                                                          BEDFORD         IN   47421‐6620
MR CHARLES E HOOPINGARNER     311 N MADISON ST                                                                                BEDFORD         IN   47421‐1830
MR CHARLES E KOPP             271 WHITE LN                                                                                    BEDFORD         IN   47421‐9224
MR CHARLES E LAWSON           2172 E BOATFIELD AVE                                                                            BURTON          MI   48529‐1714
MR CHARLES E MCNEICE          4291 WOODROW AVE                                                                                BURTON          MI   48509‐1166
MR CHARLES E MILLAY           7179 ESTRELLE AVE                                                                               MOUNT MORRIS    MI   48458‐2106
MR CHARLES E RANISZEWSKI      504 BECKER AVE                                                                                  WILMINGTON      DE   19804‐2104
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Name                         Address1                       Address2            Address3         Address4         City            State Zip
MR CHARLES E TESNAR          2255 E BUDER AVE                                                                     BURTON           MI 48529‐1775
MR CHARLES E VANCE JR        801 W 14TH ST                                                                        MUNCIE           IN 47302‐7611
MR CHARLES E WALTERS         221 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1614
MR CHARLES E WEATHERSPOON    703 NEWMAN LN                                                                        PONTIAC          MI 48340‐3303
MR CHARLES E WILLIAMS        756 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1084
MR CHARLES E WINGFIELD       513 HARRIET ST                                                                       FLINT            MI 48505‐4711
MR CHARLES E WRIGHT JR       240 RICHARD AVE                                                                      PONTIAC          MI 48340‐1155
MR CHARLES F ARMSTRONG       1010 W 1ST ST                                                                        MUNCIE           IN 47305‐2101
MR CHARLES F GRAY            6095 LAKE DR                                                                         YPSILANTI        MI 48197‐7049
MR CHARLES F HANCOCK         1851 SHARPS CHAPEL RD                                                                SHARPS CHAPEL    TN 37866‐1950
MR CHARLES F MCCULLEY        2141 MORRIS AVE                                                                      BURTON           MI 48529‐2179
MR CHARLES F WRIGHT          11800 BROOKPARK RD TRLR H60                                                          CLEVELAND        OH 44130‐1184
MR CHARLES FLORES            2901 RISLEY DR                                                                       LANSING          MI 48917‐2365
MR CHARLES FULTZ JR          26 E YPSILANTI AVE                                                                   PONTIAC          MI 48340‐1977
MR CHARLES G APPLEGARTH      815 HARWOOD RD                                                                       WILMINGTON       DE 19804‐2660
MR CHARLES G RAGSDALE        1325 4TH ST                                                                          BEDFORD          IN 47421‐1820
MR CHARLES G RINEHART        1117 STANLEY AVE                                                                     PONTIAC          MI 48340‐1780
MR CHARLES G SIMPKINSON JR   856 SARASOTA AVE                                                                     PONTIAC          MI 48340‐2368
MR CHARLES GEORGE            1602 I ST STE 1                                                                      BEDFORD          IN 47421‐3858
MR CHARLES GOFF              1198 MORRIS HILLS PKWY                                                               MOUNT MORRIS     MI 48458‐2575
MR CHARLES H CECIL           612 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1082
MR CHARLES H COLLINS 3D      10800 AARON DR                                                                       CLEVELAND        OH 44130‐1357
MR CHARLES H FARMER          1916 W 10TH ST                                                                       MUNCIE           IN 47302‐2145
MR CHARLES H FARMER JR       1506 W 9TH ST                                                                        MUNCIE           IN 47302‐2119
MR CHARLES H FARMER JR       1500 W 9TH ST                                                                        MUNCIE           IN 47302‐2119
MR CHARLES H GILL            2204 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1754
MR CHARLES H GREER           1366 E KURTZ AVE                                                                     FLINT            MI 48505‐1767
MR CHARLES H KEELER          525 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1940
MR CHARLES H KIRCHNER        1145 E HUMPHREY AVE                                                                  FLINT            MI 48505‐1525
MR CHARLES H MCSWIGAN JR     2207 W SPINNINGWHEEL LN                                                              BLOOMFIELD       MI 48304‐1073
MR CHARLES H SAMUELS         11215 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2040
MR CHARLES H SOENTGEN JR     2068 N CENTER RD                                                                     BURTON           MI 48509‐1001
MR CHARLES H ZIMMERMAN       2066 E BRISTOL RD                                                                    BURTON           MI 48529‐1319
MR CHARLES HELMS             1610 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2184
MR CHARLES HERNDON           1027 PARKWOOD AVE                                                                    YPSILANTI        MI 48198‐5868
MR CHARLES HUCKELBY          1427 W 8TH ST                                                                        MUNCIE           IN 47302‐2164
MR CHARLES I NANSTAD         2222 COMMONS AVE                                                                     JANESVILLE       WI 53546‐5966
MR CHARLES I VESPERMAN       1213 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐6019
MR CHARLES J DOMINY          2054 WEBBER AVE                                                                      BURTON           MI 48529‐2412
MR CHARLES J GRICE           512 W 9TH ST                                                                         MUNCIE           IN 47302‐3119
MR CHARLES J JANSEN          1201 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2753
MR CHARLES J KONKOSKI        1 GRASSMERE TER APT 12                                                               MASSENA          NY 13662‐2161
MR CHARLES J ORMSBY          1124 N WEBSTER ST                                                                    KOKOMO           IN 46901‐2706
MR CHARLES J PRATT           426 N GRACE ST                                                                       LANSING          MI 48917‐4910
MR CHARLES K WALKER          716 STANLEY AVE                                                                      PONTIAC          MI 48340‐2471
MR CHARLES L ALLEN           239 HIGH ST                                                                          PONTIAC          MI 48342‐1122
MR CHARLES L BEARDEN         800 STIRLING ST                                                                      PONTIAC          MI 48340‐3170
MR CHARLES L CUMENS JR       15 LYNBROOK RD                                                                       WILMINGTON       DE 19804‐2668
MR CHARLES L GOLEY JR        1618 N MORRISON ST                                                                   KOKOMO           IN 46901‐2153
MR CHARLES L GOODWIN         44 W STRATHMORE AVE                                                                  PONTIAC          MI 48340‐2770
MR CHARLES L HUSER SR        1218 W 13TH ST                                                                       MUNCIE           IN 47302‐2900
MR CHARLES L MAGILL          634 MELROSE ST                                                                       PONTIAC          MI 48340‐3115
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Name                      Address1                         Address2            Address3         Address4         City           State Zip
MR CHARLES L SHETLER      140B THE WOODS                                                                         BEDFORD         IN 47421‐6309
MR CHARLES L SHETLER      140C THE WOODS                                                                         BEDFORD         IN 47421‐6309
MR CHARLES L SPAIN        57 W RUTGERS AVE                                                                       PONTIAC         MI 48340‐2755
MR CHARLES L STIGALL      3091 MOUNT PLEASANT RD                                                                 BEDFORD         IN 47421‐8046
MR CHARLES L WARREN       2105 CONNELL ST                                                                        BURTON          MI 48529‐1332
MR CHARLES L WOOD         1941 W 10TH ST                                                                         MUNCIE          IN 47302‐2146
MR CHARLES LEE            109 EUCLID AVE                                                                         PONTIAC         MI 48342‐1115
MR CHARLES LEONARD        631 FOX RIVER DR                                                                       BLOOMFIELD      MI 48304‐1013
MR CHARLES LOWE JR        430 CESAR E CHAVEZ AVE                                                                 PONTIAC         MI 48342‐1050
MR CHARLES M COAN         2162 SAVOY AVE                                                                         BURTON          MI 48529‐2174
MR CHARLES M CORPRON      4 ROCKAWAY ST                                                                          MASSENA         NY 13662‐2109
MR CHARLES M CUNNINGHAM   171 SUMMIT ST                                                                          PONTIAC         MI 48342‐1167
MR CHARLES M HARRISON     724 EMERSON AVE                                                                        PONTIAC         MI 48340‐3219
MR CHARLES M NEWMAN       212 W LONGFELLOW AVE                                                                   PONTIAC         MI 48340‐1834
MR CHARLES M WELLMAN      104 INMAN CT                                                                           BEDFORD         IN 47421‐9628
MR CHARLES MOULDEN        2 CUNARD ST                                                                            WILMINGTON      DE 19804‐2808
MR CHARLES N KENDRICK     310 W PRINCETON AVE                                                                    PONTIAC         MI 48340‐1740
MR CHARLES O GRISWOLD     3825 PITKIN AVE                                                                        FLINT           MI 48506‐4234
MR CHARLES P FREDERICY    11251 RIVEREDGE DR                                                                     PARMA           OH 44130‐1258
MR CHARLES P PAUL         2234 S ORCHARD ST                                                                      JANESVILLE      WI 53546‐5967
MR CHARLES R ANTAL        11834 HALLER ST                                                                        LIVONIA         MI 48150‐2372
MR CHARLES R BLOSSEY      216 W BEVERLY AVE                                                                      PONTIAC         MI 48340‐2623
MR CHARLES R BOOTS        26 RANSOM AVE                                                                          MASSENA         NY 13662‐1735
MR CHARLES R BRADLEY      468 WEYBRIDGE DR                                                                       BLOOMFIELD      MI 48304‐1078
MR CHARLES R BROWN        627 W 9TH ST                                                                           MUNCIE          IN 47302‐3122
MR CHARLES R CAZEE        403 MOUNT PLEASANT RD                                                                  BEDFORD         IN 47421‐9623
MR CHARLES R CLARK 3D     289 W HOPKINS AVE                                                                      PONTIAC         MI 48340‐1717
MR CHARLES R JONES        1415 S COUNCIL ST                                                                      MUNCIE          IN 47302‐3134
MR CHARLES R MARTIN       446 WALNUT ST                                                                          MOUNT MORRIS    MI 48458‐1951
MR CHARLES R OROS         3418 LOCKWOOD ST                                                                       DETROIT         MI 48210‐3213
MR CHARLES R RUARK JR     731 MELROSE ST                                                                         PONTIAC         MI 48340‐3120
MR CHARLES R SANDERS      1408 N MARKET ST                                                                       KOKOMO          IN 46901‐2339
MR CHARLES R SCHUSTER     8518 MURRAY RIDGE RD                                                                   ELYRIA          OH 44035‐4751
MR CHARLES R SIMMONS      160 WATER ST                                                                           MASSENA         NY 13662‐2011
MR CHARLES R SMITH        736 STANLEY AVE                                                                        PONTIAC         MI 48340‐2473
MR CHARLES R SPEARS       611 W 11TH ST                                                                          MUNCIE          IN 47302‐3130
MR CHARLES R STEAD        20716 ROCK HARBOR CIR                                                                  ASHBURN         VA 20147‐3883
MR CHARLES R WAGNER       906 I ST                                                                               BEDFORD         IN 47421‐2624
MR CHARLES R WRIGHT       208 W LONGFELLOW AVE                                                                   PONTIAC         MI 48340‐1834
MR CHARLES RAMSEY         1720 K ST                                                                              BEDFORD         IN 47421‐4235
MR CHARLES REEVES         1400 N BELL ST                                                                         KOKOMO          IN 46901‐2301
MR CHARLES S DONALDSON    240 BLOOMFIELD BLVD                                                                    BLOOMFIELD      MI 48302‐0510
MR CHARLES S MALEC        11469 RICHARD DR                                                                       PARMA           OH 44130‐1346
MR CHARLES S MERRILL JR   1035 TERRY AVE                                                                         MOUNT MORRIS    MI 48458‐2539
MR CHARLES S MIGLETS SR   11370 DEBORAH DR                                                                       CLEVELAND       OH 44130‐1326
MR CHARLES T MEREDITH     2607 LINKWOOD AVE                                                                      WILMINGTON      DE 19805‐2333
MR CHARLES T MILLER       1512 W 10TH ST                                                                         MUNCIE          IN 47302‐2141
MR CHARLES T SPENCE       2103 MORRIS AVE                                                                        BURTON          MI 48529‐2179
MR CHARLES W CHANDLER     2117 E BOATFIELD AVE                                                                   BURTON          MI 48529‐1713
MR CHARLES W CHRISTY IV   509 ROCHELLE AVE                                                                       WILMINGTON      DE 19804‐2119
MR CHARLES W JONES        218 THE WOODS                                                                          BEDFORD         IN 47421‐9369
MR CHARLES W KEEN         2306 S CHATHAM ST                                                                      JANESVILLE      WI 53546‐6151
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Name                         Address1                         Address2            Address3         Address4               City            State Zip
MR CHARLES W MCDERMOTT       791 MONTICELLO AVE                                                                           PONTIAC          MI 48340‐2323
MR CHARLES W RAY             1721 N ST                                                                                    BEDFORD          IN 47421‐4113
MR CHARLES W SMITH           17 E YPSILANTI AVE                                                                           PONTIAC          MI 48340‐1978
MR CHARLES W WOOD            5 WESTWOOD DR                                                                                MASSENA          NY 13662‐1709
MR CHARLES WEBSTER           1409 W 10TH ST                                                                               MUNCIE           IN 47302‐2168
MR CHARLESTON NOLEN          1320 L ST                                                                                    BEDFORD          IN 47421‐3211
MR CHARLEY L LOWE            432 CESAR E CHAVEZ AVE                                                                       PONTIAC          MI 48342‐1050
MR CHARLEY R THIEKE          1420 SCHLER DR                                                                               KOKOMO           IN 46901‐1934
MR CHARLIE A BRITT           114 W BUTLER ST                                                                              KOKOMO           IN 46901‐2263
MR CHARLIE I STROMAN 3D      1811 N BELL ST                                                                               KOKOMO           IN 46901‐2306
MR CHARLIE R WELCH           200 W STRATHMORE AVE                                                                         PONTIAC          MI 48340‐2778
MR CHARLIE SHELBY            24 UNIVERSITY PLACE DR                                                                       PONTIAC          MI 48342‐1881
MR CHARLTON J ZANG SR        949 KENILWORTH AVE                                                                           PONTIAC          MI 48340‐3109
MR CHAUNCEY K ULEN           1013 W POWERS ST                                                                             MUNCIE           IN 47305‐2140
MR CHAUNCEY M CORSER         911 GOULD RD                                                                                 LANSING          MI 48917‐1753
MR CHESTER A CLARK           11630 WASHINGTON AVE                                                                         MOUNT MORRIS     MI 48458‐1960
MR CHESTER E BARKER          1500 W 6TH ST                                                                                MUNCIE           IN 47302‐2105
MR CHESTER I BALMACEDA       4769 MERRITT ST                                                                              DETROIT          MI 48209‐1354
MR CHESTER L COLBURN         1418 E MCLEAN AVE                                                                            BURTON           MI 48529‐1612
MR CHESTER L COLBURN         2080 E MCLEAN AVE                                                                            BURTON           MI 48529‐1738
MR CHESTER L ELKINS          548 RAWLINS MILL RD                                                                          BEDFORD          IN 47421‐7650
MR CHESTER V BELL            1517 W 6TH ST                                                                                MUNCIE           IN 47302‐2106
MR CHIA N LY                 47 CHAPMAN ST                                                                                PONTIAC          MI 48341‐2175
MR CHICKEN                   ATTN: KRISTA HUSTAK              11680 SNOW RD                                               CLEVELAND        OH 44130‐1734
MR CHRIS A CHASTAIN          1625 N ST                                                                                    BEDFORD          IN 47421‐3717
MR CHRIS A COATNEY           3236 LOCKWOOD ST                                                                             DETROIT          MI 48210‐3257
MR CHRIS CUMMINGS            2104 E PARKWOOD AVE                                                                          BURTON           MI 48529‐1766
MR CHRIS D HOWSER            2059 E BUDER AVE                                                                             BURTON           MI 48529‐1731
MR CHRIS D MERRY             1120 M ST                                                                                    BEDFORD          IN 47421‐2929
MR CHRIS D SCOTT             1704 N ST                                                                                    BEDFORD          IN 47421‐4114
MR CHRIS J WILLIAMS          1206 N WEBSTER ST                                                                            KOKOMO           IN 46901‐2704
MR CHRIS R KING              1383 CONNELL ST                                                                              BURTON           MI 48529‐2202
MR CHRIS VAUGHN              67 SUZZANE BLVD                                                                              WHITE LAKE       MI 48386‐1975
MR CHRIS W FICKLE            1602 N LAFOUNTAIN ST                                                                         KOKOMO           IN 46901‐2315
MR CHRISTIAN A OTT           29 LYNBROOK RD                                                                               WILMINGTON       DE 19804‐2668
MR CHRISTIAN A REPPUHN       1141 STANLEY AVE                                                                             PONTIAC          MI 48340‐1780
MR CHRISTIAN B FRANKLIN      10801 STACY RUN                                                                              FREDERICKSBRG    VA 22408‐8040
MR CHRISTIAN D HOWD          1459 CONNELL ST                                                                              BURTON           MI 48529‐2204
MR CHRISTIAN H POLANCO       1512 N LAFOUNTAIN ST                                                                         KOKOMO           IN 46901‐2326
MR CHRISTIAN M SCAVUZZO      97 W TENNYSON AVE                                                                            PONTIAC          MI 48340‐2671
MR CHRISTIAN W GIBSON        12230 CAMDEN ST                                                                              LIVONIA          MI 48150‐2329
MR CHRISTIAN WENCET          COOMELIUSSTR. 16                                                      12247 BERLIN GERMANY
MR CHRISTOP BANNON           1430 W 14TH ST                                                                               MUNCIE          IN   47302‐2978
MR CHRISTOPH R CZAPLINSKI    10881 FAIRLAWN DR                                                                            CLEVELAND       OH   44130‐1213
MR CHRISTOPHE A MILLER       1120 CHERRYLAWN DR                                                                           PONTIAC         MI   48340‐1704
MR CHRISTOPHE M CARRON       926 18TH ST                                                                                  BEDFORD         IN   47421‐4214
MR CHRISTOPHER A APLIN       316 BEACH ST                                                                                 MOUNT MORRIS    MI   48458‐1902
MR CHRISTOPHER A BROWN       173 ALLEN ST                                                                                 MASSENA         NY   13662‐1803
MR CHRISTOPHER A CHASTAIN    411 N ST                                                                                     BEDFORD         IN   47421‐2119
MR CHRISTOPHER A DOMINIQUE   264 WHITE LN                                                                                 BEDFORD         IN   47421‐9223
MR CHRISTOPHER A MAYBEE      4032 WOODROW AVE                                                                             BURTON          MI   48509‐1012
MR CHRISTOPHER A MCMANUS     731 WOODTOP RD                                                                               WILMINGTON      DE   19804‐2627
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Name                           Address1                         Address2            Address3         Address4         City           State Zip
MR CHRISTOPHER A SHOOK         658 SEDGEFIELD DR                                                                      BLOOMFIELD      MI 48304‐1059
MR CHRISTOPHER A SIPES         928 EASTFIELD RD                                                                       LANSING         MI 48917‐2346
MR CHRISTOPHER A STRUNK        925 CAMERON AVE                                                                        PONTIAC         MI 48340‐3215
MR CHRISTOPHER B CHAPPELL      8115 N HICKORY ST APT 15‐026                                                           KANSAS CITY     MO 64118‐6419
MR CHRISTOPHER B FREDERICKS    530 ELM ST                                                                             MOUNT MORRIS    MI 48458‐1916
MR CHRISTOPHER BOWEN           626 E RANKIN ST                                                                        FLINT           MI 48505‐4324
MR CHRISTOPHER C HOFFMAN       771 BLAINE AVE                                                                         PONTIAC         MI 48340‐2403
MR CHRISTOPHER D BAKER         1614 N ST                                                                              BEDFORD         IN 47421‐3718
MR CHRISTOPHER D BARGER        1149 STANLEY AVE                                                                       PONTIAC         MI 48340‐1780
MR CHRISTOPHER D CUNNINGTON    2129 E BUDER AVE                                                                       BURTON          MI 48529‐1733
MR CHRISTOPHER D HESTER        1010 NELSON ST                                                                         FLINT           MI 48503‐1841
MR CHRISTOPHER D LESSER        9952 JOAN CIR                                                                          YPSILANTI       MI 48197‐6914
MR CHRISTOPHER D OLSON         244 N CATHERINE ST                                                                     LANSING         MI 48917‐4902
MR CHRISTOPHER D OSTAFINSKI    11671 HARTEL ST APT 3                                                                  LIVONIA         MI 48150‐2387
MR CHRISTOPHER D SULLIVAN      1901 J ST                                                                              BEDFORD         IN 47421‐4242
MR CHRISTOPHER E STRAIT        185 W YALE AVE                                                                         PONTIAC         MI 48340‐1865
MR CHRISTOPHER E WOLVERTON     2201 CEDAR BEND DR                                                                     GRAND BLANC     MI 48439‐3407
MR CHRISTOPHER ENGEL           12289 HARTEL ST                                                                        LIVONIA         MI 48150‐2332
MR CHRISTOPHER F SPENCER       1038 COLLINS AVE APT 1                                                                 MOUNT MORRIS    MI 48458‐2168
MR CHRISTOPHER G BERBATIOTIS   709 LOUNSBURY AVE                                                                      PONTIAC         MI 48340‐2453
MR CHRISTOPHER G SOWA          3833 LORRAINE AVE                                                                      FLINT           MI 48506‐4237
MR CHRISTOPHER GERMANO         204 W COLUMBIA AVE                                                                     PONTIAC         MI 48340‐1814
MR CHRISTOPHER H FOURNIER      560 WALKER ST                                                                          MOUNT MORRIS    MI 48458‐1945
MR CHRISTOPHER J HAMILTON      4319 COLUMBINE AVE                                                                     BURTON          MI 48529‐2116
MR CHRISTOPHER J HETZEL        773 PENSACOLA AVE                                                                      PONTIAC         MI 48340‐2358
MR CHRISTOPHER J JONES         9834 JULIE DR                                                                          YPSILANTI       MI 48197‐8289
MR CHRISTOPHER J MAYER         33 CLARK ST                                                                            MASSENA         NY 13662‐1811
MR CHRISTOPHER J NASLUND       1052 CLOVERLAWN DR                                                                     PONTIAC         MI 48340‐1610
MR CHRISTOPHER J NIQUETTE      96 EUCLID AVE                                                                          PONTIAC         MI 48342‐1112
MR CHRISTOPHER J SPOONER       1046 LAPORT AVE                                                                        MOUNT MORRIS    MI 48458‐2522
MR CHRISTOPHER K MORRON        1301 L ST                                                                              BEDFORD         IN 47421‐3210
MR CHRISTOPHER K SHORES        2138 E WHITTEMORE AVE                                                                  BURTON          MI 48529‐1726
MR CHRISTOPHER L ALDOUS        5 ELM CIR                                                                              MASSENA         NY 13662‐1825
MR CHRISTOPHER L FOSTER        5641 CHEVROLET BLVD APT 1                                                              CLEVELAND       OH 44130‐8710
MR CHRISTOPHER L GRIFFITH      140 W LONGFELLOW AVE                                                                   PONTIAC         MI 48340‐1830
MR CHRISTOPHER L MCKAY         1507 N MORRISON ST                                                                     KOKOMO          IN 46901‐2154
MR CHRISTOPHER L RAINEY        276 WHITE LN                                                                           BEDFORD         IN 47421‐9223
MR CHRISTOPHER L RICH          805 E MOUNT MORRIS ST                                                                  MOUNT MORRIS    MI 48458‐2053
MR CHRISTOPHER L SCHLINK       730 CAMERON AVE                                                                        PONTIAC         MI 48340‐3204
MR CHRISTOPHER L SHELL         2209 S ASH ST                                                                          MUNCIE          IN 47302‐2958
MR CHRISTOPHER LAU             730 STANLEY ST                                                                         LANSING         MI 48915‐1364
MR CHRISTOPHER M DOBSON        2136 S PINE ST                                                                         JANESVILLE      WI 53546‐6134
MR CHRISTOPHER M LIBERTY       11625 SPADINA ST                                                                       MOUNT MORRIS    MI 48458‐1981
MR CHRISTOPHER M LISSA         2223 SHERIDAN ST                                                                       JANESVILLE      WI 53546‐5976
MR CHRISTOPHER M MAZAR         648 HELEN ST                                                                           MOUNT MORRIS    MI 48458‐1925
MR CHRISTOPHER M MERLINO       58 LYNBROOK RD                                                                         WILMINGTON      DE 19804‐2670
MR CHRISTOPHER M MORENO        426 N STATE ST APT 5                                                                   ALMA            MI 48801‐1656
MR CHRISTOPHER M PAPADELIS     1400 PROPER AVE                                                                        BURTON          MI 48529‐2044
MR CHRISTOPHER M PEREZ         626 BEACH ST                                                                           MOUNT MORRIS    MI 48458‐1908
MR CHRISTOPHER M PUGH          1506 PROPER AVE                                                                        BURTON          MI 48529‐2046
MR CHRISTOPHER M ROBERTS       10 HILLCREST AVE                                                                       MASSENA         NY 13662‐1821
MR CHRISTOPHER M RYAN          98 S LAURA CT                                                                          WILMINGTON      DE 19804‐2044
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Name                          Address1                      Address2            Address3         Address4         City            State Zip
MR CHRISTOPHER P GREENIER     1155 E YALE AVE                                                                     FLINT            MI 48505‐1518
MR CHRISTOPHER P LABRAKE      63 GROVE ST                                                                         MASSENA          NY 13662‐2128
MR CHRISTOPHER PAVEY          434 M ST                                                                            BEDFORD          IN 47421‐1819
MR CHRISTOPHER R DIECK        191 W STRATHMORE AVE                                                                PONTIAC          MI 48340‐2777
MR CHRISTOPHER R LAMARCHE     501 BECKER AVE                                                                      WILMINGTON       DE 19804‐2103
MR CHRISTOPHER R LIEDER       246 N GRACE ST                                                                      LANSING          MI 48917‐4908
MR CHRISTOPHER R MACKENZIE    887 KENILWORTH AVE                                                                  PONTIAC          MI 48340‐3105
MR CHRISTOPHER R MCGINNIS     8 CHESTNUT ST                                                                       MASSENA          NY 13662‐1808
MR CHRISTOPHER R MILLER       29034 ELMIRA ST                                                                     LIVONIA          MI 48150‐3129
MR CHRISTOPHER R MYERS        453 FOX RIVER DR                                                                    BLOOMFIELD       MI 48304‐1009
MR CHRISTOPHER R ZERBA        1046 CHERRYLAWN DR                                                                  PONTIAC          MI 48340‐1700
MR CHRISTOPHER S DOLLINS      1601 N VIRGINIA AVE                                                                 FLINT            MI 48506‐4226
MR CHRISTOPHER S ELLSWORTH    2901 HARWICK DR APT 9                                                               LANSING          MI 48917‐2354
MR CHRISTOPHER S GRDEN        1038 DURANT AVE                                                                     PONTIAC          MI 48340‐2308
MR CHRISTOPHER S JONES        10908 TIDEWATER TRL                                                                 FREDERICKSBRG    VA 22408‐2045
MR CHRISTOPHER S MAYNARD      4 HILLCREST AVE                                                                     MASSENA          NY 13662‐1821
MR CHRISTOPHER S MORIN        9 BRIGHTON ST                                                                       MASSENA          NY 13662‐2229
MR CHRISTOPHER S SPENCER      609 MAPLE ST                                                                        MOUNT MORRIS     MI 48458‐1926
MR CHRISTOPHER S STODDARD     748 WEYBRIDGE DR                                                                    BLOOMFIELD       MI 48304‐1084
MR CHRISTOPHER S WEST         1519 S LIBERTY ST                                                                   MUNCIE           IN 47302‐3149
MR CHRISTOPHER T BROWN        627 ROLLING ROCK RD                                                                 BLOOMFIELD       MI 48304‐1056
MR CHRISTOPHER T SABATOWICH   4700 PLUMER ST                                                                      DETROIT          MI 48209‐1390
MR CHRISTOPHER TRENCH         2074 E SCOTTWOOD AVE                                                                BURTON           MI 48529‐1750
MR CHRISTOPHER W BOLAN        912 MELROSE ST                                                                      PONTIAC          MI 48340‐3127
MR CHRISTOPHER W BURTON       1502 I ST STE 301                                                                   BEDFORD          IN 47421‐3835
MR CHRISTOPHER W HOLMES       304 THE WOODS                                                                       BEDFORD          IN 47421‐9378
MR CHRISTOPHER W MCAFEE       16 PROSPECT CIR                                                                     MASSENA          NY 13662‐1702
MR CHRISTOPHER WYSKIEL        973 CARLISLE ST                                                                     PONTIAC          MI 48340‐2626
MR CHUCK D SAVIN              304 CENTRAL AVE                                                                     WILMINGTON       DE 19805‐2416
MR CHUCK E MORRIS             1115 E GRAND BLVD                                                                   FLINT            MI 48505‐1521
MR CHUCK TOLLIVER             1703 15TH ST                                                                        BEDFORD          IN 47421‐3605
MR CLARENCE A DUNCAN 3D       717 WOODTOP RD                                                                      WILMINGTON       DE 19804‐2627
MR CLARENCE CAMPBELL 3D       116 BROOKE DR                                                                       FREDERICKSBRG    VA 22408‐2002
MR CLARENCE D SANDS           1121 N ARMSTRONG ST                                                                 KOKOMO           IN 46901‐2821
MR CLARENCE E DOUGLAS         644 NEWMAN LN                                                                       PONTIAC          MI 48340‐3300
MR CLARENCE E MCCONNELL       515 BECKER AVE                                                                      WILMINGTON       DE 19804‐2103
MR CLARENCE E PANKEY          240 W HOPKINS AVE                                                                   PONTIAC          MI 48340‐1824
MR CLARENCE E PHILLIPS        809 BAY ST                                                                          PONTIAC          MI 48342‐1903
MR CLARENCE FAIR JR           53 EUCLID AVE                                                                       PONTIAC          MI 48342‐1114
MR CLARENCE GOODWIN           166 W STRATHMORE AVE                                                                PONTIAC          MI 48340‐2774
MR CLARENCE HALL              891 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐7644
MR CLARENCE L HAACK           100 W SHEFFIELD AVE                                                                 PONTIAC          MI 48340‐1850
MR CLARENCE L LOWE            157 W ANN ARBOR AVE                                                                 PONTIAC          MI 48340‐1801
MR CLARENCE L MCGEE           645 CAMERON AVE                                                                     PONTIAC          MI 48340‐3201
MR CLARENCE LIDY              1820 N LAFOUNTAIN ST                                                                KOKOMO           IN 46901‐2317
MR CLARENCE M BARRETT SR      1986 W SPINNINGWHEEL LN                                                             BLOOMFIELD       MI 48304‐1066
MR CLARENCE M TAYLOR          2231 E BERGIN AVE                                                                   BURTON           MI 48529‐1780
MR CLARENCE S SCOTT           1106 CLOVERLAWN DR                                                                  PONTIAC          MI 48340‐1612
MR CLARENCE S WAGONER         2043 E PARKWOOD AVE                                                                 BURTON           MI 48529‐1763
MR CLARENCE SMITH JR          876 MELROSE ST                                                                      PONTIAC          MI 48340‐3125
MR CLARK H HOWER              209 BROOKE DR                                                                       FREDERICKSBRG    VA 22408‐2003
MR CLARK MILTON               746 NEWMAN LN                                                                       PONTIAC          MI 48340‐3304
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Name                        Address1                        Address2             Address3        Address4                City           State Zip
MR CLAUD V HADDI            765 PALMER DR                                                                                PONTIAC         MI 48342‐1860
MR CLAUD V HADDIX           769 PALMER DR                                                                                PONTIAC         MI 48342‐1860
MR CLAUDE A BRIGHT SR       1112 W 14TH ST                                                                               MUNCIE          IN 47302‐3059
MR CLAUDE D SWARTZ          1305 K ST APT 327                                                                            BEDFORD         IN 47421‐3244
MR CLAUDE E DAVIS           19 WALNUT HEIGHTS RD                                                                         BEDFORD         IN 47421‐9122
MR CLAUDE H FOLEY JR        2042 JOLSON AVE                                                                              BURTON          MI 48529‐2032
MR CLAUDE LEMPEREUR & MRS   C/O DEUTSCHE BANK SA/NV         AVENUE MAMIX 13‐15                   100 BRUXELLES BELGIUM
DOMINIQUE TRIGNAU
MR CLAUDE R COOK JR         513 W 9TH ST                                                                                 MUNCIE         IN   47302‐3120
MR CLAUDE R PILGER          760 EMERSON AVE                                                                              PONTIAC        MI   48340‐3221
MR CLAUDE S KERN            412 PEERLESS RD                                                                              BEDFORD        IN   47421‐1544
MR CLAUDE W MOORE           9933 GERALDINE ST                                                                            YPSILANTI      MI   48197‐6927
MR CLAUDELL RUFFIN          1607 BRISTOL COURT DR                                                                        MOUNT MORRIS   MI   48458‐2184
MR CLAUDIS L KING           604 WALKER ST                                                                                MOUNT MORRIS   MI   48458‐1947
MR CLAUDIS L KING           11660 WASHINGTON AVE                                                                         MOUNT MORRIS   MI   48458‐1960
MR CLAY S DEBARR            2012 N GENESEE DR                                                                            LANSING        MI   48915‐1231
MR CLAY W STUCKEY           1326 L ST                                                                                    BEDFORD        IN   47421‐3211
MR CLAYTON A HUNTLEY JR     11011 N SAGINAW ST APT 4                                                                     MOUNT MORRIS   MI   48458‐2036
MR CLAYTON D MITTLIEDER     2267 E BUDER AVE                                                                             BURTON         MI   48529‐1775
MR CLAYTON H MILLER         75 PROSPECT AVE                                                                              MASSENA        NY   13662‐1746
MR CLAYTON HART             1105 KELLOGG AVE TRLR C10                                                                    JANESVILLE     WI   53546‐6084
MR CLAYTON L DUNCAN JR      125 W SPRAKER ST                                                                             KOKOMO         IN   46901‐2241
MR CLAYTON P MOEN           1223 KING ST                                                                                 JANESVILLE     WI   53546‐6025
MR CLAYTON WEBB             1475 KENNETH ST                                                                              BURTON         MI   48529‐2209
MR CLEMENTE Y BERMEA        47 PINGREE AVE                                                                               PONTIAC        MI   48342‐1159
MR CLEON ALLEN              58 UNIVERSITY PLACE DR                                                                       PONTIAC        MI   48342‐1886
MR CLEVIS M WORKMAN         611 WALNUT ST                                                                                MOUNT MORRIS   MI   48458‐1954
MR CLIFFORD B LOVE JR       512 RAWLINS MILL RD                                                                          BEDFORD        IN   47421‐7650
MR CLIFFORD D SHEKELL       859 MONTICELLO AVE                                                                           PONTIAC        MI   48340‐2327
MR CLIFFORD D WINEGAR       802 W 5TH ST                                                                                 MUNCIE         IN   47302‐2205
MR CLIFFORD DEEL            225 W PRINCETON AVE                                                                          PONTIAC        MI   48340‐1845
MR CLIFFORD E PORTER        1419 17TH ST                                                                                 BEDFORD        IN   47421‐4101
MR CLIFFORD E SPENCE        1402 N APPERSON WAY                                                                          KOKOMO         IN   46901‐2382
MR CLIFFORD E WALKER        1534 KING ST                                                                                 JANESVILLE     WI   53546‐6028
MR CLIFFORD EDMONDSON       406 SW 2ND ST                                                                                LOOGOOTEE      IN   47553‐1803
MR CLIFFORD GROVES          1917 N BUCKEYE ST                                                                            KOKOMO         IN   46901‐2218
MR CLIFFORD J SMITH SR      1926 ROOT ST                                                                                 FLINT          MI   48505‐4752
MR CLIFFORD L POMEROY       2055 E BOATFIELD AVE                                                                         BURTON         MI   48529‐1711
MR CLIFFORD N HEWLETT       16 PROSPECT AVE                                                                              MASSENA        NY   13662‐1745
MR CLIFFORD R KENNEDY       9 LAUREL AVE APT 405                                                                         MASSENA        NY   13662‐2057
MR CLIFTON BARSE            13 GEORGE ST                                                                                 MASSENA        NY   13662‐1021
MR CLIFTON C GRANT          228 W STRATHMORE AVE                                                                         PONTIAC        MI   48340‐2778
MR CLIFTON E BAILEY         1012 W 1ST ST                                                                                MUNCIE         IN   47305‐2101
MR CLIFTON E HUPP           1622 17TH ST                                                                                 BEDFORD        IN   47421‐4106
MR CLIFTON M STANCOMBE SR   941 HELTONVILLE RD E                                                                         BEDFORD        IN   47421‐8184
MR CLIMMIE J BULLOCK        562 E PATERSON ST                                                                            FLINT          MI   48505‐4726
MR CLINTON COMBS            2136 E SCOTTWOOD AVE                                                                         BURTON         MI   48529‐1752
MR CLINTON D BRYAN JR       1717 W 8TH ST                                                                                MUNCIE         IN   47302‐2116
MR CLINTON G CURTIS         1466 WEBBER AVE                                                                              BURTON         MI   48529‐2038
MR CLINTON G MAHONEY 3D     3105 MOUNT PLEASANT RD                                                                       BEDFORD        IN   47421‐8047
MR CLINTON T ELLENBURG      2228 E BUDER AVE                                                                             BURTON         MI   48529‐1736
MR CLOYCE W BAILEY          1417 EVERGREEN DR                                                                            JANESVILLE     WI   53546‐6178
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Name                         Address1                        Address2            Address3         Address4         City            State Zip
MR CLYDE C CRARY             1605 KING ST                                                                          JANESVILLE       WI 53546‐6074
MR CLYDE D HARGRAVES         160 W COLUMBIA AVE                                                                    PONTIAC          MI 48340‐1810
MR CLYDE E CHILDRESS JR      5 READ AVE                                                                            WILMINGTON       DE 19804‐2033
MR CLYDE E MORRIS            2361 FERGUSON RD                                                                      ONTARIO          OH 44906‐1149
MR CLYDE K BELL              1715 N LAFOUNTAIN ST                                                                  KOKOMO           IN 46901‐2323
MR CLYDE S CLIFTON           1071 CLOVIS AVE                                                                       MOUNT MORRIS     MI 48458‐2503
MR CODY W SORROW             11003 COREYS WAY                                                                      FREDERICKSBRG    VA 22408‐2074
MR COLAND W LEGRANDE JR      2105 E BUDER AVE                                                                      BURTON           MI 48529‐1733
MR COLBERT N EADS            2684 MOUNT PLEASANT RD                                                                BEDFORD          IN 47421‐8042
MR COLE JEFF                 1520 W 10TH ST                                                                        MUNCIE           IN 47302‐2141
MR COLIE WHEELER JR          2746 VINEWOOD ST                                                                      DETROIT          MI 48216‐1021
MR COLIN BOWMAN              204 W ANN ARBOR AVE                                                                   PONTIAC          MI 48340‐1804
MR COLLIE L LOVELAND         625 BUENA VISTA ST APT 2                                                              MOUNT MORRIS     MI 48458‐1961
MR COLLIN T MOORE            8 STANLEY AVE                                                                         WILMINGTON       DE 19804‐2851
MR COLLINS FON               112 TRIPP ST                                                                          FRAMINGHAM       MA 01702‐8778
MR COLUMBUS K EVANS JR       1076 NUTANA BLVD                                                                      MOUNT MORRIS     MI 48458‐2134
MR CONNY L GLADNEY           896 KENILWORTH AVE                                                                    PONTIAC          MI 48340‐3104
MR CONSTANTIN V POMIRLEANU   11420 AARON DR                                                                        CLEVELAND        OH 44130‐1265
MR CONSTANTINE TURZA         5614 SAINT HEDWIG ST                                                                  DETROIT          MI 48210‐3225
MR CORBIN C WAGNER           2071 STONE HOLLOW CT                                                                  BLOOMFIELD       MI 48304‐1075
MR COREY A JENKINS           3431 LOCKWOOD ST                                                                      DETROIT          MI 48210‐0908
MR COREY A PAUL              2111 S PEARL ST                                                                       JANESVILLE       WI 53546‐6118
MR COREY C SAPP              505 BOXWOOD RD                                                                        WILMINGTON       DE 19804‐2009
MR COREY DAVIS               153 E ORVIS ST APT 2                                                                  MASSENA          NY 13662‐2265
MR COREY E SMITH             1600 W 11TH ST                                                                        MUNCIE           IN 47302‐6611
MR COREY J HAMILTON          23 PARKER AVE                                                                         MASSENA          NY 13662‐2213
MR COREY L SONCRAINTE        145 W YPSILANTI AVE                                                                   PONTIAC          MI 48340‐1874
MR COREY W OWENS             647 HELEN ST                                                                          MOUNT MORRIS     MI 48458‐1924
MR CORNELIS VANDEREST        582 FOX HILLS DR S                                                                    BLOOMFIELD       MI 48304‐1316
MR CORNELIUS ADAMS           20 STEGMAN LN                                                                         PONTIAC          MI 48340‐1662
MR CORNELIUS TAYLOR JR       5900 BRIDGE RD APT 504                                                                YPSILANTI        MI 48197‐7010
MR CORSEY T LAVALAIS         205 CEDARDALE AVE                                                                     PONTIAC          MI 48341‐2725
MR CORY J COZART             6142 STUMPH RD APT 303                                                                PARMA            OH 44130‐1859
MR CORY J SWEET              15 BRIGHTON ST                                                                        MASSENA          NY 13662‐2229
MR COSMO M DESANTO           11072 NAOMI DR                                                                        CLEVELAND        OH 44130‐1552
MR CRAIG A CONOVER           10907 STACY RUN                                                                       FREDERICKSBRG    VA 22408‐8046
MR CRAIG A ODAFFER           210 SHANDELL DR                                                                       BEDFORD          IN 47421‐9658
MR CRAIG D TIEPPO            1240 MEADOWLAWN DR                                                                    PONTIAC          MI 48340‐1736
MR CRAIG F TAUSCH            2401 WHITNEY AVE                                                                      ONTARIO          OH 44906‐1196
MR CRAIG FRIEND              920 18TH ST                                                                           BEDFORD          IN 47421‐4214
MR CRAIG K ANDERSON          4403 1/2 DAVISON RD LOT 18                                                            BURTON           MI 48509‐1400
MR CRAIG K SCHEPKE'          204 W HOPKINS AVE                                                                     PONTIAC          MI 48340‐1824
MR CRAIG K VANDERKARR        2048 E SCHUMACHER ST                                                                  BURTON           MI 48529‐2434
MR CRAIG L GILCHRIST         10805 TIDES CT                                                                        FREDERICKSBRG    VA 22408‐8077
MR CRAIG L KEAHEY SR         806 WILBERFORCE DR                                                                    FLINT            MI 48503‐5237
MR CRAIG M BOLICK            83 NIGHTENGALE AVE                                                                    MASSENA          NY 13662‐1717
MR CRAIG M GORDON            2266 E BUDER AVE                                                                      BURTON           MI 48529‐1776
MR CRAIG N AEGERTER          1610 EVERGREEN DR                                                                     JANESVILLE       WI 53546‐6176
MR CRAIG R GRONINGER         2010 ARBUTUS ST                                                                       JANESVILLE       WI 53546‐6157
MR CRAIG S BONNER            9991 JOAN CIR                                                                         YPSILANTI        MI 48197‐6906
MR CRAIG S MOYER             33 LLOYD ST                                                                           WILMINGTON       DE 19804‐2819
MR CRAIG W HETZER            1049 LORENE AVE                                                                       MOUNT MORRIS     MI 48458‐2111
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Name                        Address1                       Address2              Address3       Address4         City           State Zip
MR CRESENCIANO GONZALEZ     4732 PLUMER ST                                                                       DETROIT         MI 48209‐1390
MR CRISTELO G RESENDEZ      151 W SHEFFIELD AVE                                                                  PONTIAC         MI 48340‐1851
MR CRISTELO G RESENDEZ JR   163 W HOPKINS AVE                                                                    PONTIAC         MI 48340‐1821
MR CRISTIAN MUNOZ           126 EUCLID AVE                                                                       PONTIAC         MI 48342‐1113
MR CRUZ G GUSMAN            2102 CLARK ST                                                                        DETROIT         MI 48209‐3900
MR CRUZ R CERDA             4843 PLUMER ST                                                                       DETROIT         MI 48209‐1356
MR CRUZ R CERDA SR          2448 JUNCTION ST                                                                     DETROIT         MI 48209‐1345
MR CRUZ Z CASTRO            944 CAMERON AVE                                                                      PONTIAC         MI 48340‐3214
MR CURT A HANCOCK           1608 W 7TH ST                                                                        MUNCIE          IN 47302‐2189
MR CURT F TERRY             1318 KING ST                                                                         JANESVILLE      WI 53546‐6026
MR CURTIS A MCDANIEL        2075 DELANEY ST                                                                      BURTON          MI 48509‐1022
MR CURTIS A PALMER          1395 E WILLIAMSON ST                                                                 BURTON          MI 48529‐1639
MR CURTIS AXSOM             613 SUGAR HILL ADDITION                                                              BEDFORD         IN 47421‐8143
MR CURTIS C SMITH           3837 IVANHOE AVE                                                                     FLINT           MI 48506‐4239
MR CURTIS CLAYTON           609 E PATERSON ST APT 1E                                                             FLINT           MI 48505‐4778
MR CURTIS D BREGER          1156 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1614
MR CURTIS D SHERRILL        426 M ST                                                                             BEDFORD         IN 47421‐1819
MR CURTIS DAVIS             1102 W UNIVERSITY AVE                                                                MUNCIE          IN 47303‐3757
MR CURTIS E JACKSON II      5461 CHEVROLET BLVD APT A307                                                         CLEVELAND       OH 44130‐1487
MR CURTIS E OLVERSON        5900 BRIDGE RD APT 204                                                               YPSILANTI       MI 48197‐7011
MR CURTIS FRYE              5 PINGREE AVE                                                                        PONTIAC         MI 48342‐1159
MR CURTIS H HAMMOND SR      1813 W 11TH ST                                                                       MUNCIE          IN 47302‐6614
MR CURTIS J HORTON JR       706 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1360
MR CURTIS J WEIGAND JR      713 WOODSEDGE RD                                                                     WILMINGTON      DE 19804‐2625
MR CURTIS L BEATTY          149 CHERRY HILL DR                                                                   PONTIAC         MI 48340‐1609
MR CURTIS L JOHNSON JR      1510 LOYOLA LN                                                                       FLINT           MI 48503‐5227
MR CURTIS L KILLIANE        1500 JAMES ST                                                                        BURTON          MI 48529‐1234
MR CURTIS M HOLMES          1125 E HARVARD AVE                                                                   FLINT           MI 48505‐1523
MR CURTIS MCDANIEL          561 N 230 W                                                                          HURRICANE       UT 84737
MR CURTIS R WARD            2362 S TERRACE ST                                                                    JANESVILLE      WI 53546‐6209
MR CURTIS T BARRON          4305 FARMCREST ST                                                                    BURTON          MI 48509‐1105
MR CURTIS W MOONEYHAM       1714 L ST                                                                            BEDFORD         IN 47421‐4239
MR CURTISS L PUNTNEY        2534 S OAKHILL AVE                                                                   JANESVILLE      WI 53546‐9062
MR D SALON                  ATTN: HARRIET SCHWARZMAN       4542 S DIXIE DR # 1                                   MORAINE         OH 45439‐2222
MR DAID C ROOT              2059 E JUDD RD                                                                       BURTON          MI 48529‐2402
MR DAIN W HENRY             3008 S SHAWNEE DR APT 123                                                            BEDFORD         IN 47421‐5280
MR DAJUNN C YOUNGBLOOD      98 PINGREE AVE                                                                       PONTIAC         MI 48342‐1156
MR DALBERT D WALLER JR      523 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1311
MR DALE A DROUIN            2160 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1726
MR DALE A DUNSMORE          2156 E JUDD RD                                                                       BURTON          MI 48529‐2405
MR DALE A LEWIS             700 STUMBO RD                                                                        ONTARIO         OH 44906‐1279
MR DALE A PRESCOTT          2192 E PARKWOOD AVE                                                                  BURTON          MI 48529‐1768
MR DALE A TEETER            2015 S CHATHAM ST                                                                    JANESVILLE      WI 53546‐6015
MR DALE ARNOLD              774 PEERLESS RD                                                                      BEDFORD         IN 47421‐8094
MR DALE B MCNUTT            601 BON AIR RD                                                                       LANSING         MI 48917‐2906
MR DALE D MARTIN            1117 PANAMA AVE                                                                      MOUNT MORRIS    MI 48458‐2533
MR DALE DECKARD             1411 BRECKENRIDGE RD                                                                 BEDFORD         IN 47421‐1509
MR DALE E DOYLE             2262 E WILLIAMSON ST                                                                 BURTON          MI 48529‐2449
MR DALE E GOOD              10651 FAIRLAWN DR                                                                    CLEVELAND       OH 44130‐1207
MR DALE F THOMPSON          12 GROVE ST                                                                          MASSENA         NY 13662‐2031
MR DALE H MACPHERSON SR     34 BRIDGES AVE                                                                       MASSENA         NY 13662‐1829
MR DALE H MEYERING          421 FOX HILLS DR S APT 1                                                             BLOOMFIELD      MI 48304‐1348
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR DALE L DEBOES           161 SUMMIT ST                                                                        PONTIAC          MI 48342‐1167
MR DALE L PINNOW           9949 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6927
MR DALE L POWELL           2214 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1716
MR DALE LUCIA              251 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2741
MR DALE M WILSON           40 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2754
MR DALE NICHOLSON          1810 N WASHINGTON ST TRLR 5                                                          KOKOMO           IN 46901‐2277
MR DALE R WEIGEL SR        143 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MR DALE THOMPSON           2020 CENTER AVE                                                                      JANESVILLE       WI 53546‐9005
MR DALE W PETERSON         799 PENSACOLA AVE                                                                    PONTIAC          MI 48340‐2360
MR DALE W SIMONS           1409 W 13TH ST                                                                       MUNCIE           IN 47302‐2907
MR DALLAS L GRIFFUS        1089 E GRAND BLVD                                                                    FLINT            MI 48505‐1505
MR DALLAS L WASHBURN       526 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1941
MR DALLAS M JOHNSON        1115 M ST APT 2S                                                                     BEDFORD          IN 47421‐2919
MR DALTON L BURNETT        741 EMERSON AVE                                                                      PONTIAC          MI 48340‐3220
MR DAMARIS AGOSTO          600 MELROSE ST                                                                       PONTIAC          MI 48340‐3115
MR DAMIEN D BUMPUS         17 GRANTOUR CT                                                                       PONTIAC          MI 48340‐1422
MR DAMIEN GUYTON           5900 BRIDGE RD APT 106                                                               YPSILANTI        MI 48197‐7009
MR DAMON A DELROSARIO      10780 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1424
MR DAMON COCHRAN           608 W MEMORIAL DR                                                                    MUNCIE           IN 47302‐7623
MR DAMON D HOPKINS         204 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2724
MR DAMON E JOHNSON         1237 AMOS ST                                                                         PONTIAC          MI 48342‐1805
MR DAMON N RIESGO          612 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1304
MR DAMON ONEAL             845 PALMER DR                                                                        PONTIAC          MI 48342‐1861
MR DAN K KELLER            5260 BRINDISI CT APT 2                                                               MIDDLETON        WI 53562‐2137
MR DAN M RIEKEN            2713 MCKENZIE LN                                                                     FREDERICKSBRG    VA 22408‐8073
MR DAN R SMITH             2100 VALLEY GATE                                                                     MILFORD          MI 48380‐4247
MR DANA B COPELAND         1504 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2183
MR DANA L MUNSON           800 STIRLING ST                                                                      PONTIAC          MI 48340‐3170
MR DANA M BERRY            7245 N SAGINAW RD APT 5                                                              MOUNT MORRIS     MI 48458‐2100
MR DANE M SELTZER          1506 KENNETH ST                                                                      BURTON           MI 48529‐2210
MR DANIEL A BODA           4693 PLUMER ST                                                                       DETROIT          MI 48209‐1356
MR DANIEL A COX II         9954 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6929
MR DANIEL A DIETER         2126 S TERRACE ST                                                                    JANESVILLE       WI 53546‐6120
MR DANIEL A LITTLETON      1396 BRADY AVE                                                                       BURTON           MI 48529‐2010
MR DANIEL A PERRAULT       461 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1938
MR DANIEL A PROCTOR        1921 CADDO SPRINGS DR                                                                JUSTIN           TX 76247‐6737
MR DANIEL A RUYTS          2811 BRIARWOOD LN                                                                    FREDERICKSBRG    VA 22408‐2066
MR DANIEL A STEMMER JR     788 CORWIN CT                                                                        PONTIAC          MI 48340‐2414
MR DANIEL B BROWN          9691 HARBOUR COVE CT                                                                 YPSILANTI        MI 48197‐6901
MR DANIEL B GILLEY         1612 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2184
MR DANIEL BUNCH            1303 PEERLESS RD                                                                     BEDFORD          IN 47421‐8100
MR DANIEL C BAKER          606 BOXWOOD RD                                                                       WILMINGTON       DE 19804‐2011
MR DANIEL C CARTHANE       421 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1620
MR DANIEL C GRISSOM        46 RAWLINS MILL RD                                                                   BEDFORD          IN 47421‐7646
MR DANIEL C O'FLAHRITY     1225 ANTHONY AVE                                                                     JANESVILLE       WI 53546‐6007
MR DANIEL C OGDEN          374 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1937
MR DANIEL C WILLIAMSON     319 CENTRAL AVE                                                                      WILMINGTON       DE 19805‐2415
MR DANIEL D SIPES          2789 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8043
MR DANIEL DUKE             1809 W 7TH ST # A                                                                    MUNCIE           IN 47302‐2192
MR DANIEL E BLASZKIEWICZ   1423 E SCHUMACHER ST                                                                 BURTON           MI 48529‐1619
MR DANIEL E HILBORN        681 MELROSE ST                                                                       PONTIAC          MI 48340‐3118
MR DANIEL E HOLDORF        2086 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1764
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Name                      Address1                        Address2            Address3         Address4         City            State Zip
MR DANIEL E PERKINS JR    4051 RISEDORPH ST                                                                     BURTON           MI 48509‐1039
MR DANIEL F BENTLEY       1534 ANTHONY AVE                                                                      JANESVILLE       WI 53546‐6010
MR DANIEL F KALO          1521 LOWELL ST                                                                        ELYRIA           OH 44035‐4868
MR DANIEL F REYES         157 W CORNELL AVE                                                                     PONTIAC          MI 48340‐2721
MR DANIEL G BROWN 3D      2155 CONNELL ST                                                                       BURTON           MI 48529‐1334
MR DANIEL G PEAKE         2111 DELANEY ST                                                                       BURTON           MI 48509‐1024
MR DANIEL H RONK          335 BEACH ST                                                                          MOUNT MORRIS     MI 48458‐1901
MR DANIEL H RUSH          2173 E SCHUMACHER ST                                                                  BURTON           MI 48529‐2437
MR DANIEL I BEAVIS        585 E FOX HILLS DR                                                                    BLOOMFIELD       MI 48304‐1303
MR DANIEL J BANAS         1575 LOWELL ST                                                                        ELYRIA           OH 44035‐4868
MR DANIEL J BRIDGES       117 WHITE LN                                                                          BEDFORD          IN 47421‐9222
MR DANIEL J CARMONA       4656 BRANDON ST                                                                       DETROIT          MI 48209‐1379
MR DANIEL J COGGINS       2099 E BERGIN AVE APT 3                                                               BURTON           MI 48529‐1700
MR DANIEL J DUKE SR       1204 N UNION ST                                                                       KOKOMO           IN 46901‐2902
MR DANIEL J HODGES        423 BON AIR RD                                                                        LANSING          MI 48917‐2904
MR DANIEL J HURRY         2084 DELANEY ST                                                                       BURTON           MI 48509‐1023
MR DANIEL J LAVELLE       322 OAK ST                                                                            MOUNT MORRIS     MI 48458‐1929
MR DANIEL J LAWLESS       1075 FEATHERSTONE ST APT 6                                                            PONTIAC          MI 48342‐1893
MR DANIEL J LEIX          2071 KENNETH ST                                                                       BURTON           MI 48529‐1350
MR DANIEL J MITCHELL      3816 TOLEDO ST                                                                        DETROIT          MI 48216‐1059
MR DANIEL J ROBINSON      106 S LAURA CT                                                                        WILMINGTON       DE 19804‐2046
MR DANIEL J SKONEZNY      5273 COMMERCE PKWY W                                                                  CLEVELAND        OH 44130‐1272
MR DANIEL J ZERA          133 ALLEN ST                                                                          MASSENA          NY 13662‐1803
MR DANIEL JACKSON         2040 E BERGIN AVE                                                                     BURTON           MI 48529‐1702
MR DANIEL K TURNER        742 SPELLMAN DR                                                                       FLINT            MI 48503‐5228
MR DANIEL L AMAYA         2093 MORRIS AVE                                                                       BURTON           MI 48529‐2156
MR DANIEL L BUTCHER       2444 MOUNT PLEASANT RD                                                                BEDFORD          IN 47421‐8040
MR DANIEL L DEHMEL        347 BEACH ST                                                                          MOUNT MORRIS     MI 48458‐1901
MR DANIEL L FELLING       1966 HUNTERS RIDGE DR                                                                 BLOOMFIELD       MI 48304‐1036
MR DANIEL L GILKO         2147 E WHITTEMORE AVE                                                                 BURTON           MI 48529‐1725
MR DANIEL L HALL          1318 16TH ST                                                                          BEDFORD          IN 47421‐3709
MR DANIEL L HANIFAN       2043 COVERT RD                                                                        BURTON           MI 48509‐1010
MR DANIEL L LUX           1826 J ST                                                                             BEDFORD          IN 47421‐4241
MR DANIEL L MILLER        817 W CHAMPLAIN AVE                                                                   WILMINGTON       DE 19804‐2000
MR DANIEL L ROCKAFELLOW   230 BRYNFORD AVE                                                                      LANSING          MI 48917‐2990
MR DANIEL L TANNER        1621 2ND ST                                                                           BEDFORD          IN 47421‐1605
MR DANIEL L TEEPLE        2198 E BOATFIELD AVE                                                                  BURTON           MI 48529‐1716
MR DANIEL L WHITE         490 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐1622
MR DANIEL MILLER          629 NEWMAN LN                                                                         PONTIAC          MI 48340‐3301
MR DANIEL MORENO JR       604 N CATHERINE ST                                                                    LANSING          MI 48917‐4906
MR DANIEL N HAMBURG       447 WEYBRIDGE DR                                                                      BLOOMFIELD       MI 48304‐1079
MR DANIEL N ZEZENA SR     11180 RIVEREDGE DR                                                                    PARMA            OH 44130‐1255
MR DANIEL NELSON          3808 ALBERTA DR N                                                                     FREDERICKSBRG    VA 22408‐7713
MR DANIEL NEWLIN          410 IKE UNDERWOOD LN                                                                  BEDFORD          IN 47421‐1637
MR DANIEL O PEREZ SR      766 STANLEY AVE                                                                       PONTIAC          MI 48340‐2473
MR DANIEL R DUNN          1513 WEBBER AVE                                                                       BURTON           MI 48529‐2037
MR DANIEL R ETHINGTON     1516 E SCOTTWOOD AVE                                                                  BURTON           MI 48529‐1626
MR DANIEL R MORGAN JR     8436 TOD AVE SW                                                                       WARREN           OH 44481‐9628
MR DANIEL R NAVARRO SR    131 BLAINE AVE                                                                        PONTIAC          MI 48342‐1102
MR DANIEL R NIXON         20 W FAIRMOUNT AVE                                                                    PONTIAC          MI 48340‐2732
MR DANIEL R TROPEANO      72 SCHOOL ST                                                                          CLARK            NJ 07066‐1424
MR DANIEL R WELCH         205 N GRACE ST                                                                        LANSING          MI 48917‐4909
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MR DANIEL RENDON         101 PUTNAM AVE                                                                       PONTIAC          MI 48342‐1267
MR DANIEL S BENEFIEL     1607 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2380
MR DANIEL S DEVINE       4107 WOODROW AVE                                                                     BURTON           MI 48509‐1051
MR DANIEL S HELKOWSKI    819 SOUTH ST                                                                         MOUNT MORRIS     MI 48458‐2028
MR DANIEL S HOPKINS      2116 E BUDER AVE                                                                     BURTON           MI 48529‐1734
MR DANIEL S JOHNSON      11220 DEBORAH DR                                                                     PARMA            OH 44130‐1324
MR DANIEL S RADY         11800 BROOKPARK RD TRLR 116                                                          CLEVELAND        OH 44130‐1100
MR DANIEL T SILSBEE      2031 CASHIN ST                                                                       BURTON           MI 48509‐1137
MR DANIEL V CALZADA      2319 CLARK ST                                                                        DETROIT          MI 48209‐1335
MR DANIEL V JUDD         3826 LORRAINE AVE                                                                    FLINT            MI 48506‐4238
MR DANIEL VALLANCE       32 BRIGHTON ST                                                                       MASSENA          NY 13662‐2228
MR DANIEL VAN EYCK       131 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1811
MR DANIEL W BORTNER      1220 M ST                                                                            BEDFORD          IN 47421‐2931
MR DANIEL W OZIMEK       11249 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1325
MR DANIEL W ROBERTSON    895 HELTONVILLE RD E                                                                 BEDFORD          IN 47421‐9254
MR DANIEL W STRICKLAND   812 KETTERING AVE                                                                    PONTIAC          MI 48340‐3251
MR DANIEL W TAYLOR SR    1150 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1734
MR DANIEL W TINSLEY      415 MOUNT PLEASANT RD                                                                BEDFORD          IN 47421‐9623
MR DANIEL W VANWINKLE    45 GROVE ST                                                                          MASSENA          NY 13662‐2129
MR DANIEL WATKINS        1708 W 9TH ST                                                                        MUNCIE           IN 47302‐2121
MR DANILO R SAGON        11800 BROOKPARK RD TRLR 130                                                          CLEVELAND        OH 44130‐1189
MR DANNY A PERRY         935 FEATHERSTONE ST                                                                  PONTIAC          MI 48342‐1829
MR DANNY BARKER          1408 W 10TH ST                                                                       MUNCIE           IN 47302‐2169
MR DANNY C CAMPBELL      1479 E WILLIAMSON ST                                                                 BURTON           MI 48529‐1627
MR DANNY C SIMMONS       653 NORTHVIEW CT                                                                     PONTIAC          MI 48340‐2457
MR DANNY C SIMMONS       33 KIMBALL ST                                                                        PONTIAC          MI 48342‐1257
MR DANNY D SILVERS       1325 S HOYT AVE                                                                      MUNCIE           IN 47302‐3191
MR DANNY E JOHNSON JR    5900 BRIDGE RD APT 614                                                               YPSILANTI        MI 48197‐7011
MR DANNY G GUY           674 LOUNSBURY AVE                                                                    PONTIAC          MI 48340‐2449
MR DANNY J KELLEY        1623 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐2223
MR DANNY J LAPRADE       12 HIGHLAND AVE                                                                      MASSENA          NY 13662‐1822
MR DANNY J LAWRENCE      2101 E BRISTOL RD                                                                    BURTON           MI 48529‐1320
MR DANNY L BUTCHER       2454 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8040
MR DANNY L EAVES         104 VANCE DR                                                                         FREDERICKSBRG    VA 22408‐2034
MR DANNY L ERICKSON      2124 S WALNUT ST                                                                     JANESVILLE       WI 53546‐6136
MR DANNY L JOHNSON       312 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1718
MR DANNY L JONES         215 BAILEY LN                                                                        BEDFORD          IN 47421‐9674
MR DANNY L PARISH        2006 S TERRACE ST                                                                    JANESVILLE       WI 53546‐6004
MR DANNY NEW             1319 4TH ST                                                                          BEDFORD          IN 47421‐1820
MR DANNY R ACORD         1522 N MARKET ST                                                                     KOKOMO           IN 46901‐2370
MR DANNY R FLYNN         1410 3RD ST                                                                          BEDFORD          IN 47421‐1708
MR DANNY R RATLIFF       721 W WILLARD ST                                                                     MUNCIE           IN 47302‐2229
MR DANNY R REDMAN        1314 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2354
MR DANNY R SCAGGS        502 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2911
MR DANNY R YOUNG         1431 W 14TH ST                                                                       MUNCIE           IN 47302‐2977
MR DANNY S ROUTH         1436 W 11TH ST                                                                       MUNCIE           IN 47302‐2171
MR DANNY SPIRESSPIRES    1812 K ST                                                                            BEDFORD          IN 47421‐4236
MR DANTE P WILSON        4373 COLUMBINE AVE                                                                   BURTON           MI 48529‐2168
MR DANY J RICHIEZ        244 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2623
MR DARAK E BLACKBURN     100 RIMROCK                                                                          BEDFORD          IN 47421‐9654
MR DAREL ADAMS           1407 GRAM ST                                                                         BURTON           MI 48529‐2039
MR DAREL SHELLY          957 KETTERING AVE                                                                    PONTIAC          MI 48340‐3258
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MR DARELL F BURTON       2140 SAVOY AVE                                                                       BURTON           MI 48529‐2174
MR DAREUS R ORNDORFF     10990 SHARON DR                                                                      CLEVELAND        OH 44130‐1429
MR DARNELL WALKER        11261 KAREN ST                                                                       LIVONIA          MI 48150‐3182
MR DARREL D PETERSON     1529 KING ST                                                                         JANESVILLE       WI 53546‐6027
MR DARREL E CRISP        2269 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2440
MR DARREL J MOORE        1708 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6144
MR DARREL L HILTZ        618 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1908
MR DARRELL A TESTER      2065 E BERGIN AVE                                                                    BURTON           MI 48529‐1701
MR DARRELL E TIPTON      120 DOE RUN                                                                          BEDFORD          IN 47421‐9637
MR DARRELL F BOSCHMA     2131 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐6104
MR DARRELL G SMITH JR    1407 S SHIPLEY ST                                                                    MUNCIE           IN 47302‐3759
MR DARRELL HOLT          1322 16TH ST STE 1                                                                   BEDFORD          IN 47421‐3759
MR DARRELL K SPAULDING   2603 MELISSA CT                                                                      FREDERICKSBRG    VA 22408‐8070
MR DARRELL L HOUK        1127 W 11TH ST                                                                       MUNCIE           IN 47302‐2220
MR DARRELL L MORRISON    2097 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2437
MR DARRELL L WHITE       612 W MEMORIAL DR                                                                    MUNCIE           IN 47302‐7623
MR DARREN FEEFEE         100 WATER ST                                                                         MASSENA          NY 13662‐2011
MR DARREN J CHEATHAM     1617 F ST                                                                            BEDFORD          IN 47421‐4325
MR DARREN J SCHNEIDER    1062 COLLINS AVE                                                                     MOUNT MORRIS     MI 48458‐2138
MR DARREN L FISCHER      40 BLAINE AVE                                                                        PONTIAC          MI 48342‐1100
MR DARREN L TROTT        1606 N WABASH AVE                                                                    KOKOMO           IN 46901‐2009
MR DARREN S CUTLER       228 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2907
MR DARRICK A DEJESUS     71 W YALE AVE                                                                        PONTIAC          MI 48340‐1859
MR DARRIE D CLARK SR     136 CHERRY HILL DR                                                                   PONTIAC          MI 48340‐1608
MR DARRIN K WATKINS      894 PALMER DR                                                                        PONTIAC          MI 48342‐1858
MR DARRIN R ASHLEY       812 17TH ST                                                                          BEDFORD          IN 47421‐4246
MR DARROLD A JARSTAD     1914 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐5960
MR DARRY L WILLIAM       106 SUMMIT ST                                                                        PONTIAC          MI 48342‐1165
MR DARRY P AUGUST        1611 S OPDYKE RD                                                                     BLOOMFIELD       MI 48304‐1043
MR DARRYL B NICHOLS      483 W COLUMBIA AVE APT 103                                                           PONTIAC          MI 48340‐1644
MR DARRYL G KIRKMAN      80 W LONGFELLOW AVE                                                                  PONTIAC          MI 48340‐1828
MR DARRYL J MELVIN       2901 HARWICK DR APT 6                                                                LANSING          MI 48917‐2354
MR DARRYL JONES          3057 24TH ST                                                                         DETROIT          MI 48216‐1077
MR DARRYL L GARDNER      9843 JULIE DR                                                                        YPSILANTI        MI 48197‐7092
MR DARRYL LEE            828 SARASOTA AVE                                                                     PONTIAC          MI 48340‐2368
MR DARRYL R CALLAWAY     1103 LINCOLN AVE                                                                     BEDFORD          IN 47421‐2924
MR DARVIN N ADAMS JR     52 PERRY PLACE DR                                                                    PONTIAC          MI 48340‐2176
MR DARVIS J BRITTON      308 N CATHERINE ST                                                                   LANSING          MI 48917‐2930
MR DARWIN J SUTTON JR    9695 BAYVIEW DR APT 218                                                              YPSILANTI        MI 48197‐7025
MR DARWIN L GROVES II    2122 BRADY AVE                                                                       BURTON           MI 48529‐2425
MR DARWIN L WARRELL      1305 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2253
MR DARWIN M TODD         666 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1359
MR DARWIN S BREWER       2060 N CENTER RD                                                                     BURTON           MI 48509‐1001
MR DARYL D SINGLETON     1235 LIZA BLVD                                                                       PONTIAC          MI 48342‐1988
MR DARYL G DICKERSON     7 READ AVE                                                                           WILMINGTON       DE 19804‐2033
MR DARYL J BACON         1125 BROOKE PARK DR                                                                  TOLEDO           OH 43612‐4217
MR DARYL J BOGUS         1416 M ST                                                                            BEDFORD          IN 47421‐3237
MR DARYL J DUFRANE       28 LAUREL AVE                                                                        MASSENA          NY 13662‐2086
MR DARYL R MARKEY        2085 KENNETH ST                                                                      BURTON           MI 48529‐1350
MR DARYL W FOX           1445 KENNETH ST                                                                      BURTON           MI 48529‐2209
MR DARYL WILSON          2701 MCKENZIE LN                                                                     FREDERICKSBRG    VA 22408‐8073
MR DAUNDRUELL L WATERS   5462 HARRY ST                                                                        FLINT            MI 48505‐1780
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Name                        Address1                        Address2            Address3         Address4         City            State Zip
MR DAVE A KOHN              251 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2741
MR DAVE E PARKER JR         125 EUCLID AVE                                                                        PONTIAC          MI 48342‐1115
MR DAVE HIGGINS             1512 N ST                                                                             BEDFORD          IN 47421‐3716
MR DAVE L HERRICK           2151 E MCLEAN AVE                                                                     BURTON           MI 48529‐1739
MR DAVE S STOOPS            2802 N SOUTH POOR FARM RD                                                             BEDFORD          IN 47421‐9272
MR DAVE STERLING            1428 W 9TH ST                                                                         MUNCIE           IN 47302‐2167
MR DAVE TAYLOR              126 SUMMIT ST                                                                         PONTIAC          MI 48342‐1165
MR DAVE TORPHY              1625 O ST                                                                             BEDFORD          IN 47421‐4116
MR DAVID A ALEXANDER        717 COLUMBIA DR                                                                       FLINT            MI 48503‐5207
MR DAVID A CARMICHAEL JR    953 CAMERON AVE                                                                       PONTIAC          MI 48340‐3215
MR DAVID A CORNELL          24 LEANEE LN                                                                          PONTIAC          MI 48340‐1650
MR DAVID A CRAWFORD         2117 S PINE ST                                                                        JANESVILLE       WI 53546‐6133
MR DAVID A DAVIS            211 W COLUMBIA AVE                                                                    PONTIAC          MI 48340‐1815
MR DAVID A DECASSERES       2702 MCKENZIE LN                                                                      FREDERICKSBRG    VA 22408‐8072
MR DAVID A DIETERLE         470 FOX HILLS DR N APT 7                                                              BLOOMFIELD       MI 48304‐1333
MR DAVID A FUGATE           10719 TRICIA PL                                                                       FREDERICKSBRG    VA 22408‐8068
MR DAVID A HANCOCK          1656 LOWELL ST                                                                        ELYRIA           OH 44035‐4871
MR DAVID A HARRINGTON       1804 N INDIANA AVE                                                                    KOKOMO           IN 46901‐2040
MR DAVID A HAYES            10805 SAMANTHA PL                                                                     FREDERICKSBRG    VA 22408‐8042
MR DAVID A HERTZBERG        1038 BETHANY ST                                                                       MOUNT MORRIS     MI 48458‐2222
MR DAVID A HOLLIS           2304 N ARMSTRONG ST                                                                   KOKOMO           IN 46901‐5873
MR DAVID A HUGHES           245 N GRACE ST                                                                        LANSING          MI 48917‐4909
MR DAVID A KELLER           1527 12TH ST                                                                          BEDFORD          IN 47421‐3101
MR DAVID A KING             12001 HALLER ST                                                                       LIVONIA          MI 48150‐2375
MR DAVID A KOLLIKER         11751 HARTEL ST                                                                       LIVONIA          MI 48150‐2380
MR DAVID A LUCE             1118 BROOKE PARK DR                                                                   TOLEDO           OH 43612‐4218
MR DAVID A LUCKEY           1923 N MORRISON ST                                                                    KOKOMO           IN 46901‐2146
MR DAVID A MCKINNEY         934 W LORDEMAN ST                                                                     KOKOMO           IN 46901‐2017
MR DAVID A MOOREHEAD        11250 RICHARD DR                                                                      PARMA            OH 44130‐1341
MR DAVID A MORAN            514 BECKER AVE                                                                        WILMINGTON       DE 19804‐2104
MR DAVID A OKRAGLY          1505 OAK HOLLOW DR                                                                    MILFORD          MI 48380‐4266
MR DAVID A OSWALD           3001 RISLEY DR                                                                        LANSING          MI 48917‐2391
MR DAVID A PENROD           1502 WOODCROFT AVE                                                                    FLINT            MI 48503‐3590
MR DAVID A SIMPSON          10827 SAMANTHA PL                                                                     FREDERICKSBRG    VA 22408‐8042
MR DAVID A SMITH            1522 I ST                                                                             BEDFORD          IN 47421‐3836
MR DAVID A SMITH            3826 PITKIN AVE                                                                       FLINT            MI 48506‐4235
MR DAVID A SMITH JR         1314 15TH ST                                                                          BEDFORD          IN 47421‐3704
MR DAVID A SPOERRY          1330 KELLOGG AVE                                                                      JANESVILLE       WI 53546‐6022
MR DAVID A TIBBITTS         85 W PRINCETON AVE                                                                    PONTIAC          MI 48340‐1839
MR DAVID A TREVINO          1131 EASTFIELD RD                                                                     LANSING          MI 48917‐2347
MR DAVID A TREXLER          2047 CLARK ST                                                                         DETROIT          MI 48209‐1668
MR DAVID A VAIL             11800 BROOKPARK RD TRLR 146                                                           CLEVELAND        OH 44130‐1189
MR DAVID A VINCENT          1515 S ROCHESTER AVE                                                                  MUNCIE           IN 47302‐2139
MR DAVID ALLEN RICHARDSON   355 BLACKSTONE BLVD, APT 326                                                          PROVIDENCE        RI 02906‐4950
MR DAVID ATKINS             1400 S KINNEY AVE                                                                     MUNCIE           IN 47302‐3140
MR DAVID B DYKHOUSE         9697 HARBOUR COVE CT                                                                  YPSILANTI        MI 48197‐6901
MR DAVID B ETHINGTON        5900 BRIDGE RD APT 508                                                                YPSILANTI        MI 48197‐7011
MR DAVID B FOSTER           791 MELROSE ST                                                                        PONTIAC          MI 48340‐3122
MR DAVID B HUZARSKI         799 WOODLAND AVE                                                                      PONTIAC          MI 48340‐2566
MR DAVID B KACZOROWSKI      2144 E JUDD RD                                                                        BURTON           MI 48529‐2405
MR DAVID B KENNAMER         833 ALBERT ST                                                                         MOUNT MORRIS     MI 48458‐2014
MR DAVID B RUTHERFORD       2000 N BELL ST                                                                        KOKOMO           IN 46901‐2307
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MR DAVID B RUTLEDGE       270 WHITE LN                                                                         BEDFORD          IN 47421‐9223
MR DAVID B TAYLOR         315 CENTRAL AVE                                                                      WILMINGTON       DE 19805‐2415
MR DAVID BELCHER          624 CAMERON AVE                                                                      PONTIAC          MI 48340‐3200
MR DAVID BETTY            961 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3109
MR DAVID BUTTS            415 W ELM ST                                                                         KOKOMO           IN 46901‐2830
MR DAVID C BARNUM         53 BRIDGES AVE                                                                       MASSENA          NY 13662‐1855
MR DAVID C GREENHALGH     1915 BOOTMAKER LN                                                                    BLOOMFIELD       MI 48304‐1003
MR DAVID C HAAS           1222 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐6020
MR DAVID C LUCAS          382 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1912
MR DAVID C POWELL         644 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3236
MR DAVID C SEBERO         1919 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐6047
MR DAVID C SIMS           2118 MORRIS AVE                                                                      BURTON           MI 48529‐2105
MR DAVID CREVIER          24 W STRATHMORE AVE                                                                  PONTIAC          MI 48340‐2770
MR DAVID D BUSSING        1213 BENNETT AVE                                                                     FLINT            MI 48506‐3201
MR DAVID D GRUBB          4153 COLUMBINE AVE                                                                   BURTON           MI 48529‐1773
MR DAVID D GULLEY         1520 1ST ST                                                                          BEDFORD          IN 47421‐1702
MR DAVID D KLEINEDLER     2205 E JUDD RD                                                                       BURTON           MI 48529‐2406
MR DAVID D MURRAY         161 WATER ST APT 1                                                                   MASSENA          NY 13662‐4026
MR DAVID D NIXON          2224 E MCLEAN AVE                                                                    BURTON           MI 48529‐1742
MR DAVID D PILLEN         2157 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2437
MR DAVID D SCOTT          DAVIS                          840 SCOTTWOOD ST                                      PONTIAC          MI 48340‐3153
MR DAVID D WATKINS        630 CAMERON AVE                                                                      PONTIAC          MI 48340‐3200
MR DAVID D ZAPPIA         3 PROSPECT AVE                                                                       MASSENA          NY 13662‐1749
MR DAVID DAVIS            1133 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
MR DAVID DEWITTE          200 JUDAH MEDICAL DR                                                                 BEDFORD          IN 47421‐5815
MR DAVID DIXON            1717 11TH ST                                                                         BEDFORD          IN 47421‐2807
MR DAVID E BOOTH          222 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1814
MR DAVID E BROWN          1411 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2381
MR DAVID E CASTLEMAN JR   139 ALLEN ST                                                                         MASSENA          NY 13662‐1803
MR DAVID E DERBY          2130 VALLEY GATE                                                                     MILFORD          MI 48380‐4247
MR DAVID E DRUMM          1313 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2253
MR DAVID E FISH           55 PARKER AVE                                                                        MASSENA          NY 13662‐2212
MR DAVID E PENCE          11800 BROOKPARK RD TRLR 129                                                          CLEVELAND        OH 44130‐1100
MR DAVID E TYSON SR       91 W CORNELL AVE                                                                     PONTIAC          MI 48340‐2719
MR DAVID E WALLACE        913 EMERSON AVE                                                                      PONTIAC          MI 48340‐3228
MR DAVID E WEBBER         2041 KENNETH ST                                                                      BURTON           MI 48529‐1350
MR DAVID E WILLIAMSON     1066 NUTANA BLVD                                                                     MOUNT MORRIS     MI 48458‐2121
MR DAVID ELI              11007 BEVIN DR                                                                       FREDERICKSBRG    VA 22408‐2073
MR DAVID F BROADBENT      43 ELM ST                                                                            MASSENA          NY 13662‐2808
MR DAVID F EAGAN          4114 PEERLESS RD                                                                     BEDFORD          IN 47421‐8113
MR DAVID F SMARCH JR      9825 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6924
MR DAVID FLORES           3243 LOCKWOOD ST                                                                     DETROIT          MI 48210‐3256
MR DAVID FLYNN            4080 HOMESTEAD DR                                                                    BURTON           MI 48529‐1610
MR DAVID G BAILEY         1410 E WILLIAMSON ST                                                                 BURTON           MI 48529‐1640
MR DAVID G GRANGAARD      1901 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6167
MR DAVID G MALDONADO      1309 N ST                                                                            BEDFORD          IN 47421‐3238
MR DAVID G MOORE          2019 BOOTMAKER LN                                                                    BLOOMFIELD       MI 48304‐1005
MR DAVID G SIMPSON        4227 RISEDORPH ST                                                                    BURTON           MI 48509‐1043
MR DAVID G VENIER         48 PHILLIPS ST                                                                       MASSENA          NY 13662‐2018
MR DAVID GRATZER          1030 15TH ST                                                                         BEDFORD          IN 47421‐3732
MR DAVID H GREEN          2010 JOLSON AVE                                                                      BURTON           MI 48529‐2032
MR DAVID H HAHN           1082 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1730
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Name                    Address1                         Address2            Address3         Address4         City            State Zip
MR DAVID H PETREA       708 GARNET RD                                                                          WILMINGTON       DE 19804‐2614
MR DAVID H POST         434 N DEERFIELD AVE                                                                    LANSING          MI 48917‐2986
MR DAVID H SCHEPIS      619 LOS ARBOLES DR                                                                     WOLVERINE LK     MI 48390‐2022
MR DAVID HAMEL          1502 N BELL ST                                                                         KOKOMO           IN 46901‐2334
MR DAVID HER            58 W HOPKINS AVE                                                                       PONTIAC          MI 48340‐1816
MR DAVID J ADAMS        1162 E HUMPHREY AVE                                                                    FLINT            MI 48505‐1526
MR DAVID J ARP          1601 J ST                                                                              BEDFORD          IN 47421‐3841
MR DAVID J BISTRICKY    3805 IVANHOE AVE                                                                       FLINT            MI 48506‐4239
MR DAVID J BRANSCOMB    2287 E BRISTOL RD                                                                      BURTON           MI 48529‐1326
MR DAVID J BROADBENT    134 CENTER ST APT 2                                                                    MASSENA          NY 13662‐1483
MR DAVID J CARLSON      423 N CATHERINE ST                                                                     LANSING          MI 48917‐4905
MR DAVID J DEMALINE     10779 RICHARD DR                                                                       CLEVELAND        OH 44130‐1308
MR DAVID J ELIAS        406 N GRACE ST                                                                         LANSING          MI 48917‐4910
MR DAVID J KEMPTER      2006 OLD OAKLAND AVE                                                                   LANSING          MI 48915‐1351
MR DAVID J KRAFT        1941 S CHATHAM ST                                                                      JANESVILLE       WI 53546‐6014
MR DAVID J MCLAREN II   1381 GRAM ST                                                                           BURTON           MI 48529‐2039
MR DAVID J MERVENNE     555 WEYBRIDGE DR                                                                       BLOOMFIELD       MI 48304‐1081
MR DAVID J PALMER       3889 W BRADFORD DR                                                                     BLOOMFIELD       MI 48301‐3358
MR DAVID J RALPH        1369 BRADY AVE                                                                         BURTON           MI 48529‐2009
MR DAVID J SPANKE       806 INGLEWOOD AVE                                                                      PONTIAC          MI 48340‐2313
MR DAVID J VEHONSKY     10599 DEBORAH DR                                                                       CLEVELAND        OH 44130‐1369
MR DAVID J YOST         2607 MELISSA CT                                                                        FREDERICKSBRG    VA 22408‐8070
MR DAVID JONES          504 E SPRAKER ST                                                                       KOKOMO           IN 46901‐2338
MR DAVID JORDAN         745 WEYBRIDGE DR                                                                       BLOOMFIELD       MI 48304‐1086
MR DAVID K BARBER       23 GERDON AVE                                                                          PONTIAC          MI 48342‐1118
MR DAVID K HALL         1822 W 7TH ST                                                                          MUNCIE           IN 47302‐2191
MR DAVID K HAUPT        1534 LOWELL ST                                                                         ELYRIA           OH 44035‐4869
MR DAVID K IKERD        1525 14TH ST                                                                           BEDFORD          IN 47421‐3630
MR DAVID K IRISH        1138 COLLINS AVE                                                                       MOUNT MORRIS     MI 48458‐2137
MR DAVID K IRISH        7244 HARVARD AVE                                                                       MOUNT MORRIS     MI 48458‐2143
MR DAVID K SAUTTER      380 BEACH ST                                                                           MOUNT MORRIS     MI 48458‐1902
MR DAVID K SPENCER      150 W STRATHMORE AVE                                                                   PONTIAC          MI 48340‐2774
MR DAVID L ANDERSON     3181 MOUNT PLEASANT RD                                                                 BEDFORD          IN 47421‐8047
MR DAVID L BARTLETT     500 GREENTREE DR APT 2                                                                 BEDFORD          IN 47421‐9675
MR DAVID L BOLEN        1369 GRAM ST                                                                           BURTON           MI 48529‐2039
MR DAVID L BRIESE       11250 SHARON DR                                                                        CLEVELAND        OH 44130‐1436
MR DAVID L BROWN        524 N DEERFIELD AVE                                                                    LANSING          MI 48917‐2911
MR DAVID L CONNER       4578 WILDWOOD LOOP                                                                     CLARKSTON        MI 48348‐1468
MR DAVID L DILL         8061 FOX HOLLOW RD                                                                     GOODRICH         MI 48438‐9233
MR DAVID L DODDS JR     1026 LINCOLN AVE                                                                       BEDFORD          IN 47421‐2923
MR DAVID L FEARS        1800 W MEMORIAL DR                                                                     MUNCIE           IN 47302‐6622
MR DAVID L GAITHER      3399 PEERLESS RD                                                                       BEDFORD          IN 47421‐8107
MR DAVID L GERACE       5 LAUREL AVE                                                                           MASSENA          NY 13662‐2030
MR DAVID L HAYS         126 HUDSON AVE                                                                         PONTIAC          MI 48342‐1129
MR DAVID L HERRICK      2161 E MCLEAN AVE                                                                      BURTON           MI 48529‐1739
MR DAVID L HOSNER       242 HIGH ST                                                                            PONTIAC          MI 48342‐1121
MR DAVID L HUGHES       98 W YALE AVE                                                                          PONTIAC          MI 48340‐1860
MR DAVID L KAY          57 W LONGFELLOW AVE                                                                    PONTIAC          MI 48340‐1827
MR DAVID L KENNEDY      111 HELTONVILLE RD W                                                                   BEDFORD          IN 47421‐9384
MR DAVID L KERN         112 N ST                                                                               BEDFORD          IN 47421‐1736
MR DAVID L LAWRENCE     2214 E WHITTEMORE AVE                                                                  BURTON           MI 48529‐1728
MR DAVID L MANN         3420 W SAGINAW ST                                                                      LANSING          MI 48917‐2203
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Name                    Address1                       Address2            Address3         Address4         City           State Zip
MR DAVID L MARTIN       724 WEYBRIDGE DR                                                                     BLOOMFIELD      MI 48304‐1084
MR DAVID L MASUR        3113 W GENESEE ST                                                                    LANSING         MI 48917‐2941
MR DAVID L MOODY        196 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐2738
MR DAVID L MOWERY       219 SHANDELL DR                                                                      BEDFORD         IN 47421‐9659
MR DAVID L MURRAY       1500 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1626
MR DAVID L PAUL         213 SUMMIT ST                                                                        PONTIAC         MI 48342‐1169
MR DAVID L PEREZ        2223 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1753
MR DAVID L RADEL        12 BOWERS ST                                                                         MASSENA         NY 13662‐2102
MR DAVID L REEVES       1518 BRADY AVE                                                                       BURTON          MI 48529‐2012
MR DAVID L SCHULTZ      1518 W 11TH ST                                                                       MUNCIE          IN 47302‐2149
MR DAVID L SELCK        2229 COMMONS AVE                                                                     JANESVILLE      WI 53546‐5965
MR DAVID L SIDELINKER   1082 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1610
MR DAVID L SMITH        244 W STRATHMORE AVE                                                                 PONTIAC         MI 48340‐2778
MR DAVID L STOVER JR    2015 N MORRISON ST                                                                   KOKOMO          IN 46901‐2144
MR DAVID L TAIT SR      1096 ANGOLA AVE                                                                      MOUNT MORRIS    MI 48458‐2139
MR DAVID L TERRELL      158 BROOMSAGE RD                                                                     BEDFORD         IN 47421‐7577
MR DAVID L WELLS        11 CLARK ST                                                                          MASSENA         NY 13662‐1811
MR DAVID L YOUNG        28 LYNBROOK RD                                                                       WILMINGTON      DE 19804‐2671
MR DAVID LABELLE        87 WATER ST                                                                          MASSENA         NY 13662‐2008
MR DAVID LEMMING        634 RILEY BLVD                                                                       BEDFORD         IN 47421‐9336
MR DAVID LIVINGSTON     745 N NEWTON ST                                                                      BEDFORD         IN 47421‐1737
MR DAVID M BENNETT      1319 13TH ST                                                                         BEDFORD         IN 47421‐3224
MR DAVID M CAZAN        11300 RIVEREDGE DR                                                                   CLEVELAND       OH 44130‐1259
MR DAVID M CREVIER      195 W KENNETT RD APT 308                                                             PONTIAC         MI 48340‐2683
MR DAVID M GARDNER      51 W ORVIS ST APT 1                                                                  MASSENA         NY 13662‐2803
MR DAVID M GRAVES       519 SCHAFFER AVE APT C9                                                              SYRACUSE        NY 13206‐1571
MR DAVID M HAHN         417 BRYNFORD AVE                                                                     LANSING         MI 48917‐2996
MR DAVID M HATHAWAY     448 ROLLING ROCK RD                                                                  BLOOMFIELD      MI 48304‐1051
MR DAVID M HILL         10970 RIVEREDGE DR                                                                   CLEVELAND       OH 44130‐1251
MR DAVID M HUMPHREYS    3834 PITKIN AVE                                                                      FLINT           MI 48506‐4235
MR DAVID M JONES JR     1325 N LAFOUNTAIN ST                                                                 KOKOMO          IN 46901‐2327
MR DAVID M KURTZ JR     2018 STONE HOLLOW CT                                                                 BLOOMFIELD      MI 48304‐1074
MR DAVID M LADA         11826 UNION ST                                                                       MOUNT MORRIS    MI 48458‐1745
MR DAVID M MACLENNAN    6 ROCKAWAY ST                                                                        MASSENA         NY 13662‐2109
MR DAVID M MOODY        4180 WOODROW AVE                                                                     BURTON          MI 48509‐1052
MR DAVID M MURRAY       678 WEYBRIDGE DR                                                                     BLOOMFIELD      MI 48304‐1082
MR DAVID M OTT          566 WALKER ST                                                                        MOUNT MORRIS    MI 48458‐1945
MR DAVID M POTTER       587 SEDGEFIELD DR                                                                    BLOOMFIELD      MI 48304‐1058
MR DAVID M SHEPP        2206 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1728
MR DAVID M SKRINE       877 CAMERON AVE                                                                      PONTIAC         MI 48340‐3211
MR DAVID M STUDEBAKER   908 W 7TH ST                                                                         MUNCIE          IN 47302‐2278
MR DAVID M WOLF         1320 STANLEY AVE                                                                     PONTIAC         MI 48340‐1748
MR DAVID MARSH          137 ANDREWS ST                                                                       MASSENA         NY 13662‐2805
MR DAVID MARTINEZ       117 PUTNAM AVE                                                                       PONTIAC         MI 48342‐3701
MR DAVID MULLETT        6128 ROBERT CIR                                                                      YPSILANTI       MI 48197‐8277
MR DAVID N MOLANDS      1214 BENNETT AVE                                                                     FLINT           MI 48506‐3202
MR DAVID NICHOLSON      209 N ST                                                                             BEDFORD         IN 47421‐1709
MR DAVID O BROCK        1021 O ST                                                                            BEDFORD         IN 47421‐2813
MR DAVID P DOGONSKI     11181 HALLER ST                                                                      LIVONIA         MI 48150‐3142
MR DAVID P KOLENA       2017 STONE HOLLOW CT                                                                 BLOOMFIELD      MI 48304‐1075
MR DAVID P MILLAN       924 KETTERING AVE                                                                    PONTIAC         MI 48340‐3257
MR DAVID P PARKER       1058 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1610
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Name                    Address1                       Address2            Address3         Address4         City            State Zip
MR DAVID PARKER         1310 16TH ST                                                                         BEDFORD          IN 47421‐3709
MR DAVID Q KIRKMAN      2506 LINKWOOD AVE                                                                    WILMINGTON       DE 19805‐2332
MR DAVID R ALLEN        1001 WESTFIELD RD                                                                    LANSING          MI 48917‐2374
MR DAVID R BEAVER       253 THE WOODS                                                                        BEDFORD          IN 47421‐9377
MR DAVID R BERMUDEZ     5636 SAINT HEDWIG ST                                                                 DETROIT          MI 48210‐3225
MR DAVID R BROOKING     1315 Q ST                                                                            BEDFORD          IN 47421‐3132
MR DAVID R CALLES       2153 HUBBARD ST                                                                      DETROIT          MI 48209‐3329
MR DAVID R CONANT       8432 MURRAY RIDGE RD                                                                 ELYRIA           OH 44035‐4749
MR DAVID R CRUMB        2244 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1754
MR DAVID R FARMER       10825 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8040
MR DAVID R GAJEWSKI     11060 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1253
MR DAVID R GUESSFORD    203 TERRY PL                                                                         WILMINGTON       DE 19804‐2035
MR DAVID R HALL         1130 WESTFIELD RD                                                                    LANSING          MI 48917‐2375
MR DAVID R IRWIN        701 EMERSON AVE                                                                      PONTIAC          MI 48340‐3220
MR DAVID R JACKSON      1425 W KILGORE AVE                                                                   MUNCIE           IN 47305‐2134
MR DAVID R JENKS        204 N CATHERINE ST                                                                   LANSING          MI 48917‐4902
MR DAVID R LYLE         6012 LAKE DR                                                                         YPSILANTI        MI 48197‐7012
MR DAVID R MILLER       1616 H ST                                                                            BEDFORD          IN 47421‐3834
MR DAVID R NETZLOFF     2118 COVERT RD                                                                       BURTON           MI 48509‐1066
MR DAVID R SCHULTHES    11323 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2038
MR DAVID R SHAW         609 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2107
MR DAVID R SMITH        126 ALLEN ST                                                                         MASSENA          NY 13662‐1846
MR DAVID R YOUNG        4819 BRANDON ST                                                                      DETROIT          MI 48209‐0916
MR DAVID RHUM           1217 14TH ST                                                                         BEDFORD          IN 47421‐3228
MR DAVID RICE           1601 N LEEDS ST                                                                      KOKOMO           IN 46901‐2065
MR DAVID ROSELLI        4 FLORENCE DR                                                                        CLARK            NJ 07066‐1211
MR DAVID RUMPTZ         NORTON' LATRICE                18034 INDIANA ST                                      DETROIT          MI 48221‐2419
MR DAVID S COOPER JR    1016 M ST                                                                            BEDFORD          IN 47421‐2927
MR DAVID S RARIDEN      1511 14TH ST                                                                         BEDFORD          IN 47421‐3630
MR DAVID S SHUMWAY      1309 15TH ST                                                                         BEDFORD          IN 47421‐3703
MR DAVID S SIKES        4616 BRANDON ST                                                                      DETROIT          MI 48209‐1379
MR DAVID SEWELL         2604 LINKWOOD AVE                                                                    WILMINGTON       DE 19805‐2334
MR DAVID SHEEHY         2053 E BRISTOL RD                                                                    BURTON           MI 48529‐1318
MR DAVID SHEEHY         2031 E BERGIN AVE                                                                    BURTON           MI 48529‐1701
MR DAVID SPARKS         800 W MEMORIAL DR                                                                    MUNCIE           IN 47302‐7627
MR DAVID STRAHAN        1437 W 11TH ST                                                                       MUNCIE           IN 47302‐2170
MR DAVID T BARCIA       2245 E JUDD RD                                                                       BURTON           MI 48529‐2406
MR DAVID T CRONKRIGHT   2080 E MCLEAN AVE                                                                    BURTON           MI 48529‐1738
MR DAVID T ECKHARDT     11001 NAOMI DR                                                                       CLEVELAND        OH 44130‐1553
MR DAVID T NERO         1635 TRAVIS DR                                                                       TOLEDO           OH 43612‐4059
MR DAVID T WALLACE      2120 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2436
MR DAVID V EAGAN        4080 PEERLESS RD                                                                     BEDFORD          IN 47421‐8112
MR DAVID V RUSSELL      1156 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1734
MR DAVID W BABCOCK      1920 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐6048
MR DAVID W BEAM SR      365 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1715
MR DAVID W COLLINS II   2058 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2434
MR DAVID W DEACON       3116 COURT ST APT 11                                                                 SYRACUSE         NY 13206‐1049
MR DAVID W EDWARDS      1118 N ST                                                                            BEDFORD          IN 47421‐2935
MR DAVID W GAWNE        11015 HARVARD CT                                                                     MOUNT MORRIS     MI 48458‐1972
MR DAVID W HOYT         1313 ANTHONY AVE                                                                     JANESVILLE       WI 53546‐6068
MR DAVID W MCCRAW       2190 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1716
MR DAVID W MORRIS       1319 N ST                                                                            BEDFORD          IN 47421‐3238
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Name                           Address1                           Address2            Address3         Address4                 City            State Zip
MR DAVID W REAMER              1265 UNIVERSITY DR                                                                               PONTIAC          MI 48342‐1970
MR DAVID W SCHERVISH           430 FOX HILLS DR N APT 2                                                                         BLOOMFIELD       MI 48304‐1327
MR DAVID W SCHOLFIELD          131 THE WOODS                                                                                    BEDFORD          IN 47421‐9300
MR DAVID W SETTLE              2193 E SCHUMACHER ST                                                                             BURTON           MI 48529‐2439
MR DAVID W STOCKINGER JR       2186 E BRISTOL RD                                                                                BURTON           MI 48529‐1323
MR DAVID W TOOLE               2121 E SCHUMACHER ST                                                                             BURTON           MI 48529‐2437
MR DAVID W VANORNUM            208 E ORVIS ST                                                                                   MASSENA          NY 13662‐2245
MR DAVID W WHITE JR            4089 WOODROW AVE                                                                                 BURTON           MI 48509‐1050
MR DAVID W WIRT                2063 KENNETH ST                                                                                  BURTON           MI 48529‐1350
MR DAVID WEST                  2098 BRADY AVE                                                                                   BURTON           MI 48529‐2425
MR DAVID WEST                  5671 MCGREGOR ST                                                                                 DETROIT          MI 48209‐1315
MR DAVIS BROACH JR             574 HARRIET ST                                                                                   FLINT            MI 48505‐4753
MR DAWAYNE A JACKSON           80 EUCLID AVE                                                                                    PONTIAC          MI 48342‐1112
MR DAYMON Q GUSTER             6207 LAKE DR                                                                                     YPSILANTI        MI 48197‐7053
MR DE E DU                     451 W FAIRMOUNT AVE                                                                              PONTIAC          MI 48340‐1621
MR DE HUANG                    502 W FAIRMOUNT AVE                                                                              PONTIAC          MI 48340‐1602
MR DE NEVE MARNIX              JEAN DE BETHUNELAAN 21                                                  9800 ST MARTENS LEERNE
                                                                                                       BEGIUM
MR DEAN A MILLS                4373 SHUBERT AVE                                                                                 BURTON          MI   48529‐2138
MR DEAN A NININGER             10801 SAMANTHA PL                                                                                FREDERICKSBRG   VA   22408‐8042
MR DEAN A TIMM                 1524 ROOSEVELT AVE                                                                               JANESVILLE      WI   53546‐6038
MR DEAN COX                    1378 PROPER AVE                                                                                  BURTON          MI   48529‐2044
MR DEAN H UTZIG                1815 ROOSEVELT AVE                                                                               JANESVILLE      WI   53546‐5968
MR DEAN J BROVICK              2212 S OAKHILL AVE                                                                               JANESVILLE      WI   53546‐9049
MR DEAN J GERMAINE             2279 E MCLEAN AVE                                                                                BURTON          MI   48529‐1778
MR DEAN M GABOURY              1963 HUNTERS RIDGE DR                                                                            BLOOMFIELD      MI   48304‐1037
MR DEAN SULLIVAN               1118 LINCOLN AVE                                                                                 BEDFORD         IN   47421‐2925
MR DEAN T MITCHELL             2170 E BERGIN AVE                                                                                BURTON          MI   48529‐1704
MR DEANDRE J MCFADDEN          2911 HARWICK DR APT 5                                                                            LANSING         MI   48917‐2356
MR DEARL D RUNYAN              1504 10TH ST                                                                                     BEDFORD         IN   47421‐2551
MR DEEPAK K GUPTA              1896 HUNTERS RIDGE DR                                                                            BLOOMFIELD      MI   48304‐1034
MR DEL M ISRAEL                4610 PLUMER ST                                                                                   DETROIT         MI   48209‐1470
MR DELANO L KARR               9930 LINDA DR                                                                                    YPSILANTI       MI   48197‐6916
MR DELBERT D CHAVERS           3006 HARWICK DR APT 10                                                                           LANSING         MI   48917‐2359
MR DELBERT E BURNETT SR        595 MELROSE ST                                                                                   PONTIAC         MI   48340‐3114
MR DELBERT L STUFFLEBEAN       433 FOX HILLS DR S APT 2                                                                         BLOOMFIELD      MI   48304‐1350
MR DELBERT S MCCORD            556 WALNUT ST                                                                                    MOUNT MORRIS    MI   48458‐1953
MR DELL R THOMAS               9 HIGHLAND AVE                                                                                   MASSENA         NY   13662‐1823
MR DELL W SEFTON SR            1415 N INDIANA AVE                                                                               KOKOMO          IN   46901‐2047
MR DELMAR W JOYNER JR          14 STANLEY AVE                                                                                   WILMINGTON      DE   19804‐2851
MR DELOREAN M CABIL            1152 AMOS ST                                                                                     PONTIAC         MI   48342‐1802
MR DELOW M MCDANIEL            1024 EASTFIELD RD                                                                                LANSING         MI   48917‐2346
MR DELYLE L SHERMAN            4164 MORRISON ST                                                                                 BURTON          MI   48529‐1672
MR DEMARCUS L HALL             2805 HARWICK DR APT 1                                                                            LANSING         MI   48917‐2351
MR DENIS G ALVARADO‐BARAHONA   740 CAMERON AVE                                                                                  PONTIAC         MI   48340‐3204
MR DENIS L EADS                4221 RISEDORPH ST                                                                                BURTON          MI   48509‐1043
MR DENNIS A COREY              108 LINCOLN AVE                                                                                  BEDFORD         IN   47421‐1613
MR DENNIS A GRAMMER            1127 N MORRISON ST                                                                               KOKOMO          IN   46901‐2763
MR DENNIS A HERBST             4403 MAGNOLIA ST                                                                                 DETROIT         MI   48210‐3150
MR DENNIS A REBLIN             79 W CORNELL AVE                                                                                 PONTIAC         MI   48340‐2719
MR DENNIS A SHARP              146 E ORVIS ST                                                                                   MASSENA         NY   13662‐2267
MR DENNIS A SPIVEY             1315 E HUMPHREY AVE                                                                              FLINT           MI   48505‐1760
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR DENNIS A TIMMONS        1020 W 15TH ST                                                                       MUNCIE           IN 47302‐3066
MR DENNIS B SIMINSKI       1480 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1626
MR DENNIS B STEPHEN        3846 IVANHOE AVE                                                                     FLINT            MI 48506‐4240
MR DENNIS BARRY            1129 DOWAGIAC AVE                                                                    MOUNT MORRIS     MI 48458‐2579
MR DENNIS C CANNON SR      1305 COLUMBIA CIR                                                                    FLINT            MI 48503‐5257
MR DENNIS C LEWIS          1477 E MCLEAN AVE                                                                    BURTON           MI 48529‐1613
MR DENNIS C LEWIS          1443 E SCHUMACHER ST                                                                 BURTON           MI 48529‐1621
MR DENNIS C O NEILL        101 E ORVIS ST                                                                       MASSENA          NY 13662‐2049
MR DENNIS COX              1117 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1735
MR DENNIS D JACKSON II     1235 E PRINCETON AVE                                                                 FLINT            MI 48505‐1754
MR DENNIS D LAVENE         1124 MORRIS HILLS PKWY                                                               MOUNT MORRIS     MI 48458‐2526
MR DENNIS D LEAPHEART      61 KAREN CT                                                                          PONTIAC          MI 48340‐1638
MR DENNIS D MAHONEY        1535 KING ST                                                                         JANESVILLE       WI 53546‐6027
MR DENNIS D ROSE           11215 N SAGINAW ST                                                                   MOUNT MORRIS     MI 48458‐2066
MR DENNIS D SEVERSON       1905 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐5970
MR DENNIS D SOLDAN II      247 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2763
MR DENNIS D TURNER         311 THE WOODS                                                                        BEDFORD          IN 47421‐9379
MR DENNIS D WEIER          1195 DOWAGIAC AVE                                                                    MOUNT MORRIS     MI 48458‐2577
MR DENNIS E CONNER         93 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2757
MR DENNIS E SCHEIBER       524 SEDGEFIELD DR                                                                    BLOOMFIELD       MI 48304‐1057
MR DENNIS G KEAGLE         501 BRYNFORD AVE                                                                     LANSING          MI 48917‐2927
MR DENNIS G MCCLARAN       1194 MORRIS HILLS PKWY                                                               MOUNT MORRIS     MI 48458‐2575
MR DENNIS G YOUNG II       122 W TENNYSON AVE                                                                   PONTIAC          MI 48340‐2672
MR DENNIS GROGAN           143 NEWTON ST                                                                        BEDFORD          IN 47421‐1742
MR DENNIS J BARNETT        2219 MORRIS AVE                                                                      BURTON           MI 48529‐2177
MR DENNIS J BIRD           1610 KING ST                                                                         JANESVILLE       WI 53546‐6075
MR DENNIS J DALEY          224 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1824
MR DENNIS J MEARS          1302 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐6022
MR DENNIS J SHAFFER        11470 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1328
MR DENNIS J THOMAS         670 KETTERING AVE                                                                    PONTIAC          MI 48340‐3243
MR DENNIS J WHEELER        2405 LINKWOOD AVE                                                                    WILMINGTON       DE 19805‐2372
MR DENNIS K DAULTON        316 O ST                                                                             BEDFORD          IN 47421‐1726
MR DENNIS KEMISON          12 GEORGE ST                                                                         MASSENA          NY 13662‐1020
MR DENNIS L ANDEN          2211 S TERRACE ST                                                                    JANESVILLE       WI 53546‐6121
MR DENNIS L DAVIS          2100 CASHIN ST                                                                       BURTON           MI 48509‐1140
MR DENNIS L GROGAN         147 NEWTON ST                                                                        BEDFORD          IN 47421‐1742
MR DENNIS L HAYES JR       48 W CORNELL AVE                                                                     PONTIAC          MI 48340‐2716
MR DENNIS L HOOD           612 W BUTLER ST                                                                      KOKOMO           IN 46901‐2165
MR DENNIS L KEFFER         10823 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8040
MR DENNIS L KOSCH SR       5491 ALEXANDER RD                                                                    CLEVELAND        OH 44130‐1321
MR DENNIS M COOK           2205 S WALNUT ST                                                                     JANESVILLE       WI 53546‐6173
MR DENNIS M KINGSLIEN SR   2234 SHERIDAN ST                                                                     JANESVILLE       WI 53546‐5983
MR DENNIS M LUTHER         1240 HOWARD ST                                                                       MOUNT MORRIS     MI 48458‐1767
MR DENNIS M POMAINVILLE    28 BRIGHTON ST                                                                       MASSENA          NY 13662‐2228
MR DENNIS M TATER          222 HIGH ST                                                                          PONTIAC          MI 48342‐1121
MR DENNIS M TEVERBAUGH     1037 E GRAND BLVD                                                                    FLINT            MI 48505‐1505
MR DENNIS MARTIN           360 W HOPKINS AVE APT 106                                                            PONTIAC          MI 48340‐1757
MR DENNIS MORRIS SR        1111 M ST                                                                            BEDFORD          IN 47421‐2928
MR DENNIS N AMES           2144 S WALNUT ST                                                                     JANESVILLE       WI 53546‐6136
MR DENNIS P KOBACK         2209 S ORCHARD ST                                                                    JANESVILLE       WI 53546‐5985
MR DENNIS R BENGRY         216 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2907
MR DENNIS R BENGRY         212 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2907
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Name                        Address1                        Address2            Address3         Address4         City           State Zip
MR DENNIS R CROUTCH         1114 E KURTZ AVE                                                                      FLINT           MI 48505‐1528
MR DENNIS R FLOWERS         1105 KELLOGG AVE TRLR B14                                                             JANESVILLE      WI 53546‐6087
MR DENNIS R FUNK            5 FLORENCE DR                                                                         CLARK           NJ 07066‐1210
MR DENNIS R NEAL            305 BAILEY SCALES RD                                                                  BEDFORD         IN 47421‐9394
MR DENNIS R NOVAK           10971 FAIRLAWN DR                                                                     CLEVELAND       OH 44130‐1215
MR DENNIS R RANSOM          1934 W 8TH ST                                                                         MUNCIE          IN 47302‐2183
MR DENNIS R WHITE           640 ELM ST                                                                            MOUNT MORRIS    MI 48458‐1918
MR DENNIS ROSEBERRY         1926 N BELL ST                                                                        KOKOMO          IN 46901‐2330
MR DENNIS S EZINSKI JR      11469 GABRIELLA DR                                                                    PARMA           OH 44130‐1338
MR DENNIS T DEMSKI          3842 MARMION AVE                                                                      FLINT           MI 48506‐4246
MR DENNIS W AUSTIN          702 E FOX HILLS DR                                                                    BLOOMFIELD      MI 48304‐1360
MR DENNY D REUTER           204 THE WOODS                                                                         BEDFORD         IN 47421‐9369
MR DENNY F KIRKSEY JR       10881 RIVEREDGE DR                                                                    CLEVELAND       OH 44130‐1250
MR DENNY H PRUITT           176 W YALE AVE                                                                        PONTIAC         MI 48340‐1864
MR DENNY W COOPER           2008 S GHARKEY ST                                                                     MUNCIE          IN 47302‐7617
MR DENVER L JONES           659 BOYD ST                                                                           PONTIAC         MI 48342‐1927
MR DEON S MONCRIEF          76 W YPSILANTI AVE                                                                    PONTIAC         MI 48340‐1871
MR DERALD E SCHOCK          1609 W MEMORIAL DR                                                                    MUNCIE          IN 47302‐2102
MR DEREK A BUTLER           1508 W MEMORIAL DR                                                                    MUNCIE          IN 47302‐2157
MR DEREK A DEVER            3826 HOLLY AVE                                                                        FLINT           MI 48506‐3109
MR DEREK CARTHRON           5900 BRIDGE RD APT 109                                                                YPSILANTI       MI 48197‐7010
MR DEREK D MCLEOD           632 E FOX HILLS DR                                                                    BLOOMFIELD      MI 48304‐1304
MR DEREK J FACEMYER         1115 N COURTLAND AVE                                                                  KOKOMO          IN 46901‐2755
MR DEREK J LANDIS           220 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2740
MR DEREK L ZYLEMA           724 VAUGHT ST                                                                         PONTIAC         MI 48340‐2372
MR DEREK LYNCH              255 BLOOMFIELD BLVD                                                                   BLOOMFIELD      MI 48302‐0511
MR DEREK P KUSIAK           12327 HARTEL ST                                                                       LIVONIA         MI 48150‐2378
MR DEREK R GENERES          4039 RISEDORPH ST                                                                     BURTON          MI 48509‐1039
MR DEREK T KIRBY            5442 BICENTENNIAL DR                                                                  MOUNT MORRIS    MI 48458‐9406
MR DEREK W POTTER           32 W CORNELL AVE                                                                      PONTIAC         MI 48340‐2716
MR DERICK TEAMER            991 DEWEY ST                                                                          PONTIAC         MI 48340‐2635
MR DERIK I JACKSON          1104 DOROTHY ST                                                                       MOUNT MORRIS    MI 48458‐2225
MR DERRICK CHRISTY          6 KAREN CT                                                                            PONTIAC         MI 48340‐1633
MR DERRICK G BRENT          711 NEWMAN LN                                                                         PONTIAC         MI 48340‐3305
MR DERRICK L BRITTON        1705 WILBERFORCE CIR                                                                  FLINT           MI 48503‐5243
MR DERRICK S MCDONALD       228 HIGHLAND AVE                                                                      BLOOMFIELD      MI 48302‐0631
MR DERRICK W EVERTS         2109 KENNETH ST                                                                       BURTON          MI 48529‐1382
MR DERRICK W MATTHEWS       629 JARED DR                                                                          PONTIAC         MI 48342‐1990
MR DERRICK WILLIAMS         781 MELROSE ST                                                                        PONTIAC         MI 48340‐3122
MR DERYL G PACE             81 E LONGFELLOW AVE                                                                   PONTIAC         MI 48340‐2743
MR DESIDERIO RODRIGUEZ JR   109 PUTNAM AVE                                                                        PONTIAC         MI 48342‐1267
MR DESMOND L BLAKSLEE       905 MORRIS AVE                                                                        LANSING         MI 48917‐2328
MR DETRICK LANCE            197 W SHEFFIELD AVE                                                                   PONTIAC         MI 48340‐1853
MR DEVERRICK J BONDS        64 PUTNAM AVE                                                                         PONTIAC         MI 48342‐1262
MR DEWAINE O WEST           1009 W 1ST ST                                                                         MUNCIE          IN 47305‐2102
MR DEWAYNE A MULLENIX       1013 W 13TH ST                                                                        MUNCIE          IN 47302‐3025
MR DEWAYNE M ARNETT         1092 CLOVERLAWN DR                                                                    PONTIAC         MI 48340‐1610
MR DEWAYNE R SIMS           340 THE WOODS                                                                         BEDFORD         IN 47421‐9378
MR DEWAYNE S ARNETT SR      1141 CLOVERLAWN DR                                                                    PONTIAC         MI 48340‐1615
MR DEWAYNE YOUNG            2010 KELLOGG AVE APT 208                                                              JANESVILLE      WI 53546‐5988
MR DEWITT TIMMONS           766 PENSACOLA AVE                                                                     PONTIAC         MI 48340‐2357
MR DEWUAN J NUNNERY         978 DEWEY ST                                                                          PONTIAC         MI 48340‐2634
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Name                       Address1                     Address2              Address3      Address4                 City           State Zip
MR DEWYANE D JERNAGIN      486 MOONLIGHT DR                                                                          PONTIAC         MI 48340‐1672
MR DEXTER GRAHAM           705 LOYOLA LN                                                                             FLINT           MI 48503‐5226
MR DEXTER H SIPES          2857 MOUNT PLEASANT RD                                                                    BEDFORD         IN 47421‐8044
MR DICK M CRAWLEY          1908 W 10TH ST                                                                            MUNCIE          IN 47302‐2145
MR DICKIE L GIBBS          1116 W 14TH ST                                                                            MUNCIE          IN 47302‐3059
MR DIEGO LUGO              5647 CHEVROLET BLVD APT 4                                                                 CLEVELAND       OH 44130‐8711
MR DIEGO OLIVEIRA          64 GUILD RD                                                                               FRAMINGHAM      MA 01702‐8763
MR DILLARD T BREWER SR     941 FEATHERSTONE ST                                                                       PONTIAC         MI 48342‐1829
MR DIMITRIOS M GELASAKIS   11865 HALLER ST                                                                           LIVONIA         MI 48150‐2375
MR DINDYAL D DINDYAL       11299 GABRIELLA DR                                                                        CLEVELAND       OH 44130‐1334
MR DINESHCHANDRA R SEVAK   575 SEDGEFIELD DR                                                                         BLOOMFIELD      MI 48304‐1058
MR DINIS R CALVAO          15 FOSS RD                                                                                FRAMINGHAM      MA 01702‐8709
MR DINO B GAMMALO          10651 AARON DR                                                                            CLEVELAND       OH 44130‐1354
MR DION WALTON             155 PUTNAM AVE                                                                            PONTIAC         MI 48342‐1268
MR DOLPH N MCPEEK          1808 N WABASH AVE                                                                         KOKOMO          IN 46901‐2005
MR DOMENICO CAPOCCIA       430 FOX HILLS DR N APT 1                                                                  BLOOMFIELD      MI 48304‐1327
MR DOMINGO ALMODOVAR       45 LYNBROOK RD                                                                            WILMINGTON      DE 19804‐2668
MR DOMINGO GONZALES        680 STIRLING ST                                                                           PONTIAC         MI 48340‐3161
MR DOMINIC C ZAPPIA II     12 CHERRY ST                                                                              MASSENA         NY 13662‐1806
MR DOMINIC P KINNEY        328 W HOPKINS AVE                                                                         PONTIAC         MI 48340‐1718
MR DOMINIQUE GORLLER       DEUTSCHE BANK SA/NV          AVENUE MARNIX 13‐15                 1000 BRUXELLES BELGIUM
MR DON C KANDLBINDER       1305 K ST APT 312                                                                         BEDFORD        IN   47421‐3242
MR DON C WASHINGTON        22 E YALE AVE                                                                             PONTIAC        MI   48340‐1975
MR DON G SOULES            1089 E COSTELLO ST                                                                        MOUNT MORRIS   MI   48458‐2239
MR DON I HIRSCH            1300 LOCKE ST                                                                             PONTIAC        MI   48342‐1947
MR DON L MONIERE SR        100 E ORVIS ST                                                                            MASSENA        NY   13662‐2047
MR DON MYERS               510 EMERSON AVE                                                                           PONTIAC        MI   48342‐1824
MR DON N MANZENBERGER      105 P ST                                                                                  BEDFORD        IN   47421‐1727
MR DON P NELSON            2266 E SCOTTWOOD AVE                                                                      BURTON         MI   48529‐1722
MR DON R ELLIOTT           2109 27TH ST                                                                              BEDFORD        IN   47421‐4943
MR DON R KACZMARCZYK       3725 GEORGE BUSBEE PKWY NW   APT 1703                                                     KENNESAW       GA   30144‐6644
MR DON RASTLEY             17 BRIGHTON ST                                                                            MASSENA        NY   13662‐2287
MR DON T BOYT              91 W BEVERLY AVE                                                                          PONTIAC        MI   48340‐2619
MR DON T HACKER            1508 E PARKWOOD AVE                                                                       BURTON         MI   48529‐1634
MR DON W BARNETT           204 W BROADWAY ST                                                                         KOKOMO         IN   46901‐2816
MR DONALD A GRAHAM         484 FOX HILLS DR N APT 3                                                                  BLOOMFIELD     MI   48304‐1336
MR DONALD A GRONDIN        1463 N LABADIE                                                                            MILFORD        MI   48380‐4233
MR DONALD A HART           1097 LORENE AVE                                                                           MOUNT MORRIS   MI   48458‐2112
MR DONALD A JOHNSON        961 CAMERON AVE                                                                           PONTIAC        MI   48340‐3215
MR DONALD B HOLLAND        2144 WEBBER AVE                                                                           BURTON         MI   48529‐2414
MR DONALD B HUGHES         1401 N COURTLAND AVE                                                                      KOKOMO         IN   46901‐2143
MR DONALD B KEANE          1220 15TH ST                                                                              BEDFORD        IN   47421‐3702
MR DONALD B SMITH JR       659 E FOX HILLS DR                                                                        BLOOMFIELD     MI   48304‐1305
MR DONALD BURCH            134 NEWTON ST                                                                             BEDFORD        IN   47421‐1743
MR DONALD C GARRISON       1069 STANLEY AVE                                                                          PONTIAC        MI   48340‐1779
MR DONALD C JOHNSON        1051 REDBUD LN                                                                            BEDFORD        IN   47421‐1549
MR DONALD D BEMIS          2117 CASHIN ST                                                                            BURTON         MI   48509‐1139
MR DONALD D BENNS          139 CHERRY HILL DR                                                                        PONTIAC        MI   48340‐1609
MR DONALD D BROWN          1424 CONNELL ST                                                                           BURTON         MI   48529‐2203
MR DONALD D MABIN          725 NEWMAN LN                                                                             PONTIAC        MI   48340‐3305
MR DONALD D MURRAY         10880 FAIRLAWN DR                                                                         PARMA          OH   44130‐1210
MR DONALD D PRICE          956 CAMERON AVE                                                                           PONTIAC        MI   48340‐3214
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Name                       Address1                       Address2             Address3        Address4         City            State Zip
MR DONALD DUNCAN           595 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1303
MR DONALD E ALLEN SR       903 BRYAN                                                                            LOCUST GROVE     OK 74352‐9025
MR DONALD E BLACKBURN II   104 RIMROCK                                                                          BEDFORD          IN 47421‐9654
MR DONALD E BLACKBURN II   109 CYPRESS PT                                                                       LORIDA           FL 33857‐9754
MR DONALD E BURNAINE       2038 READY AVE                                                                       BURTON           MI 48529‐2056
MR DONALD E DECESARE       CATHERINE F DECESARE           157 N SEIR HILL RD                                    NORWALK          CT 06850‐1333
MR DONALD E DIXON JR       880 CEDARGATE CT                                                                     WATERFORD        MI 48328‐2606
MR DONALD E HARRELL        236 THE WOODS                                                                        BEDFORD          IN 47421‐9376
MR DONALD E HASSLER        910 J ST                                                                             BEDFORD          IN 47421‐2631
MR DONALD E HERRICK        1050 DOROTHY ST                                                                      MOUNT MORRIS     MI 48458‐2225
MR DONALD E IHRKE SR       1144 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1704
MR DONALD E MCCORMICK SR   73 NIGHTENGALE AVE                                                                   MASSENA          NY 13662‐1717
MR DONALD E REBEDEW        446 BON AIR RD                                                                       LANSING          MI 48917‐2981
MR DONALD E TRUE           19 P ST                                                                              BEDFORD          IN 47421‐1717
MR DONALD E TUCKER         764 EMERSON AVE                                                                      PONTIAC          MI 48340‐3221
MR DONALD E WALLMAN        2034 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐5973
MR DONALD E WHITE SR       1258 E CORNELL AVE                                                                   FLINT            MI 48505‐1751
MR DONALD EUBANK           100 E MORGAN ST                                                                      KOKOMO           IN 46901‐2362
MR DONALD F CLUYSE         1411 N MCCANN ST                                                                     KOKOMO           IN 46901‐2676
MR DONALD F CONDON         2067 CASHIN ST                                                                       BURTON           MI 48509‐1137
MR DONALD F HAAS           10751 FAIRLAWN DR                                                                    CLEVELAND        OH 44130‐1209
MR DONALD F SPANN JR       690 EMERSON AVE                                                                      PONTIAC          MI 48340‐3217
MR DONALD G FORSYTH        4817 TOLEDO ST                                                                       DETROIT          MI 48209‐1374
MR DONALD G GATLIFF        1910 N MARKET ST                                                                     KOKOMO           IN 46901‐2366
MR DONALD G HALL JR        1405 EVERGREEN DR                                                                    JANESVILLE       WI 53546‐6178
MR DONALD G HAWLEY         322 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2909
MR DONALD G HENDERSON      1635 I ST                                                                            BEDFORD          IN 47421‐3837
MR DONALD G PORTER         1011 16TH ST                                                                         BEDFORD          IN 47421‐3733
MR DONALD G WHITED         921 W 13TH ST                                                                        MUNCIE           IN 47302‐7607
MR DONALD H GREEN          1125 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐6156
MR DONALD H WILLIAMS SR    1128 E HUMPHREY AVE                                                                  FLINT            MI 48505‐1526
MR DONALD HOUSE            811 W 5TH ST                                                                         MUNCIE           IN 47302‐2206
MR DONALD J CRONIN         547 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1940
MR DONALD J FRANKLIN       1496 E WILLIAMSON ST                                                                 BURTON           MI 48529‐1628
MR DONALD J LAIDLER        1079 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1731
MR DONALD J RANSOM         4188 WOODROW AVE                                                                     BURTON           MI 48509‐1052
MR DONALD J SMITH JR       2102 E JUDD RD                                                                       BURTON           MI 48529‐2405
MR DONALD J STAGMAN JR     2199 E BUDER AVE                                                                     BURTON           MI 48529‐1735
MR DONALD J THELEN         3325 W GENESEE ST                                                                    LANSING          MI 48917‐2945
MR DONALD K KURTZ SR       1452 E MCLEAN AVE                                                                    BURTON           MI 48529‐1614
MR DONALD K ROLLINS        10927 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8046
MR DONALD K SHELLEY        1225 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2921
MR DONALD K STEWART        1169 E YALE AVE                                                                      FLINT            MI 48505‐1518
MR DONALD L ARMSTRONG      1705 N WABASH AVE                                                                    KOKOMO           IN 46901‐2006
MR DONALD L BRIDGES        1305 K ST APT 420                                                                    BEDFORD          IN 47421‐3286
MR DONALD L BUSCH          627 N CATHERINE ST                                                                   LANSING          MI 48917‐4907
MR DONALD L CLEVELAND      38 WALNUT HEIGHTS RD                                                                 BEDFORD          IN 47421‐9122
MR DONALD L DICKS JR       1528 LOYOLA DR                                                                       FLINT            MI 48503‐5245
MR DONALD L FAIR           326 THE WOODS                                                                        BEDFORD          IN 47421‐9378
MR DONALD L GARDNER        1039 CLOVIS AVE                                                                      MOUNT MORRIS     MI 48458‐2503
MR DONALD L GRANLUND       1317 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐6108
MR DONALD L JACKSON        2102 N CENTER RD                                                                     BURTON           MI 48509‐1002
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Name                       Address1                           Address2            Address3         Address4         City            State Zip
MR DONALD L KIRBY          2020 S PIERCE ST                                                                         MUNCIE           IN 47302‐3013
MR DONALD L LEWIS SR       11220 FAIRLAWN DR                                                                        CLEVELAND        OH 44130‐1220
MR DONALD L NEWCOMB        2402 WHITNEY AVE                                                                         ONTARIO          OH 44906‐1198
MR DONALD L RAY            1415 GRAM ST                                                                             BURTON           MI 48529‐2039
MR DONALD L SHERWOOD       1604 W MEMORIAL DR                                                                       MUNCIE           IN 47302‐6621
MR DONALD L STANLEY        26 W YALE AVE                                                                            PONTIAC          MI 48340‐1856
MR DONALD L TURCOTTE       61 W LONGFELLOW AVE                                                                      PONTIAC          MI 48340‐1827
MR DONALD L TURPEN         308 HELTONVILLE RD W                                                                     BEDFORD          IN 47421‐9387
MR DONALD M GIBBONS        14 LYNBROOK RD                                                                           WILMINGTON       DE 19804‐2620
MR DONALD M MIRZOIAN       1951 HUNTERS RIDGE DR                                                                    BLOOMFIELD       MI 48304‐1037
MR DONALD M SCHUSTER JR    8502 MURRAY RIDGE RD                                                                     ELYRIA           OH 44035‐4751
MR DONALD M URBAN          11635 WASHINGTON AVE                                                                     MOUNT MORRIS     MI 48458‐1959
MR DONALD P FIRNSTEIN      52 HIGHLAND AVE                                                                          MASSENA          NY 13662‐1724
MR DONALD P KUS            11337 UNION ST                                                                           MOUNT MORRIS     MI 48458‐2210
MR DONALD P PORTOLESE SR   6 ELM CIR                                                                                MASSENA          NY 13662‐1824
MR DONALD P SWAIN          236 W YPSILANTI AVE                                                                      PONTIAC          MI 48340‐1877
MR DONALD P THOMAS         748 BON AIR RD                                                                           LANSING          MI 48917‐2316
MR DONALD PERRY            325 HELTONVILLE RD W                                                                     BEDFORD          IN 47421‐9388
MR DONALD R BROWN          1424 Q ST                                                                                BEDFORD          IN 47421‐3641
MR DONALD R DAMRON         846 INGLEWOOD AVE                                                                        PONTIAC          MI 48340‐2313
MR DONALD R DAMRON         780 CRITTENDEN ST                                                                        PONTIAC          MI 48340‐2418
MR DONALD R FOUST          101 LINCOLN AVE                                                                          BEDFORD          IN 47421‐1612
MR DONALD R JOHNSON        1303 15TH ST                                                                             BEDFORD          IN 47421‐3703
MR DONALD R LAVACK         9 LAUREL AVE APT 904                                                                     MASSENA          NY 13662‐2159
MR DONALD R LUCKEY         2207 N ARMSTRONG ST                                                                      KOKOMO           IN 46901‐5804
MR DONALD R MCCLURE        428 N DEERFIELD AVE                                                                      LANSING          MI 48917‐2986
MR DONALD R MINIEAR        7454 ALEXANDER ST                                                                        MOUNT MORRIS     MI 48458‐2927
MR DONALD R NORDHOFF       1728 G ST                                                                                BEDFORD          IN 47421‐4636
MR DONALD R PRICE          11610 TEMPERANCE ST                                                                      MOUNT MORRIS     MI 48458‐2031
MR DONALD R SCHUMANN SR    10929 STACY RUN                                                                          FREDERICKSBRG    VA 22408‐8046
MR DONALD R THORPE         1812 W MEMORIAL DR                                                                       MUNCIE           IN 47302‐6622
MR DONALD R WILLIAMS JR    641 NEWMAN LN                                                                            PONTIAC          MI 48340‐3301
MR DONALD R ZACHARIAS      11080 AARON DR                                                                           CLEVELAND        OH 44130‐1362
MR DONALD S CASE           608 ROLLING ROCK RD                                                                      BLOOMFIELD       MI 48304‐1055
MR DONALD S MCGOWAN JR     2601 MELISSA CT                                                                          FREDERICKSBRG    VA 22408‐8070
MR DONALD S ROQUEMORE      2135 HUBBARD ST APT 9                                                                    DETROIT          MI 48209‐3320
MR DONALD T UNDERWOOD      1414 17TH ST                                                                             BEDFORD          IN 47421‐4102
MR DONALD TURPEN           303 HELTONVILLE RD W                                                                     BEDFORD          IN 47421‐9388
MR DONALD W FRAZIER        707 17TH ST                                                                              BEDFORD          IN 47421‐4201
MR DONALD W HILL           1805 W 13TH ST                                                                           MUNCIE           IN 47302‐6618
MR DONALD W ISBELL         1416 ARBUTUS ST                                                                          JANESVILLE       WI 53546‐6105
MR DONALD W PATE           96 W YPSILANTI AVE                                                                       PONTIAC          MI 48340‐1872
MR DONALD W PATE           330 W COLUMBIA AVE                                                                       PONTIAC          MI 48340‐1712
MR DONALD W PITNER SR      2154 N MARKET ST                                                                         KOKOMO           IN 46901‐1451
MR DONALD W YEAGER         652 YEAGER DR                                                                            ONTARIO          OH 44906‐4004
MR DONALD WATSON           105 S LAURA CT                                                                           WILMINGTON       DE 19804‐2046
MR DONAVAN T KENNEDY       494 MOONLIGHT DR                                                                         PONTIAC          MI 48340‐1672
MR DONNALD JOLLY           2016 KELLOGG AVE APT 113                                                                 JANESVILLE       WI 53546‐5987
MR DONNEL E WORDEN         49 MARIE ST                                                                              MASSENA          NY 13662‐1106
MR DONNELL A CARTER        192 W YPSILANTI AVE                                                                      PONTIAC          MI 48340‐1875
MR DONNELL L HUNTER        518 E WITHERBEE ST                                                                       FLINT            MI 48505‐4776
MR DONNIE L HAYES          9 UNIVERSITY PLACE DR                                                                    PONTIAC          MI 48342‐1880
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MR DONNIE REYNOLDS        1221 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2921
MR DONOVAN N NETTLE       162 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2758
MR DONTA R ROGERS         1601 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2380
MR DONTANION Z GRIMES     171 WATER ST                                                                         MASSENA          NY 13662‐3604
MR DONTE R SMITH          5635 CHEVROLET BLVD APT 5                                                            PARMA            OH 44130‐8709
MR DORAID Z KENAYA        676 CESAR E CHAVEZ AVE                                                               PONTIAC          MI 48340‐2458
MR DORAN B DUCKWORTH      804 MORRIS AVE                                                                       LANSING          MI 48917‐2319
MR DORAN E VILLNAVE       54 PARKER AVE                                                                        MASSENA          NY 13662‐2214
MR DORIAN J VANNEST       1514 WEBBER AVE                                                                      BURTON           MI 48529‐2038
MR DORIN GABOR            11021 NAOMI DR                                                                       CLEVELAND        OH 44130‐1553
MR DOUG DAWKINS           3300 COURT ST                                                                        SYRACUSE         NY 13206‐1071
MR DOUG HUMPHREY          1900 W 9TH ST                                                                        MUNCIE           IN 47302‐2123
MR DOUG L HOOVER          1007 W 13TH ST                                                                       MUNCIE           IN 47302‐3025
MR DOUG M JONES           2211 E MCLEAN AVE                                                                    BURTON           MI 48529‐1741
MR DOUG MOORE             824 13TH ST APT 3                                                                    BEDFORD          IN 47421‐3338
MR DOUGLAS A BORROR       1600 W 13TH ST                                                                       MUNCIE           IN 47302‐2980
MR DOUGLAS A DANIELSON    830 INGLEWOOD AVE                                                                    PONTIAC          MI 48340‐2313
MR DOUGLAS A DELECKI JR   4070 WOODROW AVE                                                                     BURTON           MI 48509‐1012
MR DOUGLAS A DUMIRE       609 N WALNUT ST                                                                      WILMINGTON       DE 19804‐2623
MR DOUGLAS A PFEIFFER     781 PALMER DR                                                                        PONTIAC          MI 48342‐1860
MR DOUGLAS B HUBBARD      1405 N VIRGINIA AVE                                                                  FLINT            MI 48506‐4222
MR DOUGLAS B TILDEN       678 MAPLE ST                                                                         MOUNT MORRIS     MI 48458‐1927
MR DOUGLAS C KINNISH      3832 DAVISON RD                                                                      FLINT            MI 48506‐4208
MR DOUGLAS C RODGERSON    1114 COLLINS AVE                                                                     MOUNT MORRIS     MI 48458‐2137
MR DOUGLAS D DAWE         1365 OAK HOLLOW DR                                                                   MILFORD          MI 48380‐4262
MR DOUGLAS D DURLEY JR    2758 25TH ST                                                                         DETROIT          MI 48216‐1055
MR DOUGLAS D WALLACE      400 BON AIR RD                                                                       LANSING          MI 48917‐2981
MR DOUGLAS E GORMLEY      7 BRIGHTON ST                                                                        MASSENA          NY 13662‐2229
MR DOUGLAS E PROPER       749 DRYER FARM RD                                                                    LANSING          MI 48917‐2345
MR DOUGLAS E RACINE       1471 JAMES ST                                                                        BURTON           MI 48529‐1233
MR DOUGLAS E ROUTHIER     2090 CASHIN ST                                                                       BURTON           MI 48509‐1138
MR DOUGLAS F FULLER       10800 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1374
MR DOUGLAS FLEETWOOD      928 16TH ST                                                                          BEDFORD          IN 47421‐3824
MR DOUGLAS H SONGER SR    331 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2910
MR DOUGLAS J KIMLIN       6130 BOB DR                                                                          YPSILANTI        MI 48197‐7003
MR DOUGLAS J THORP        1915 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6167
MR DOUGLAS L NATIONS      1120 DOROTHY ST                                                                      MOUNT MORRIS     MI 48458‐2225
MR DOUGLAS L PANETTA      1010 GOULD RD                                                                        LANSING          MI 48917‐1755
MR DOUGLAS M CHASE        237 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1845
MR DOUGLAS M MOORE        89 PINGREE AVE                                                                       PONTIAC          MI 48342‐1160
MR DOUGLAS M PAPENMEIER   12 IANS XING                                                                         BEDFORD          IN 47421‐5812
MR DOUGLAS M SIMMS        11311 N CLUB DR                                                                      FREDERICKSBRG    VA 22408‐2056
MR DOUGLAS M WAUGH        5649 NATHAN DR                                                                       CLEVELAND        OH 44130‐1561
MR DOUGLAS MACPHERSON     1 GRASSMERE TER APT 1                                                                MASSENA          NY 13662‐2160
MR DOUGLAS MCCLOUD        2012 CLARKDALE ST                                                                    DETROIT          MI 48209‐3911
MR DOUGLAS P WESTPHAL     2175 E BRISTOL RD APT 1B                                                             BURTON           MI 48529‐1386
MR DOUGLAS R WAIAMAN      44 PUTNAM AVE                                                                        PONTIAC          MI 48342‐1261
MR DOUGLAS S LOVINS       156 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1873
MR DOUGLAS T AAVANG       1925 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐3906
MR DOUGLAS W CLARK        228 W YALE AVE                                                                       PONTIAC          MI 48340‐1866
MR DOUGLAS W HUFF         1519 BRADY AVE                                                                       BURTON           MI 48529‐2011
MR DOUGLAS W KUBIK JR     12181 CAMDEN ST                                                                      LIVONIA          MI 48150‐2359
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Name                      Address1                       Address2          Address3         Address4                 City            State Zip
MR DOUGLAS W KUBIK SR     22509 BOHN RD                                                                              BELLEVILLE       MI 48111‐8954
MR DOUGLAS W PRESTON      2044 E BRISTOL RD                                                                          BURTON           MI 48529‐1319
MR DOUGLAS W STEWART      2010 PROPER AVE                                                                            BURTON           MI 48529‐2048
MR DOYLE HENDERSON        35 AURORA ANN LN                                                                           BEDFORD          IN 47421‐6310
MR DOYLE L BYERS          1318 N ST                                                                                  BEDFORD          IN 47421‐3239
MR DR GOTTFRIED BEHRENS   GARTENSTR 49                                                      18114 ROSTOCK, GERMANY
MR DR THOMAS GLITZA       FRIEDRICHSHAINSTRASSE 2                                           22149 HAMBURG
MR DRAMELL L FULTON       2065 MILL RD APT 8                                                                         FLINT           MI   48532‐2531
MR DREW M BRYANT          448 FOX HILLS DR N APT 8                                                                   BLOOMFIELD      MI   48304‐1330
MR DUANE A BOSCH          925 KENILWORTH AVE                                                                         PONTIAC         MI   48340‐3109
MR DUANE A ELSTON         2073 E WHITTEMORE AVE                                                                      BURTON          MI   48529‐1723
MR DUANE A FORD           500 N GRACE ST                                                                             LANSING         MI   48917‐2950
MR DUANE A REDLAWSK       2062 DELANEY ST                                                                            BURTON          MI   48509‐1023
MR DUANE A ROE            1701 N APPERSON WAY                                                                        KOKOMO          IN   46901‐2349
MR DUANE C WRIGHT         2074 DELANEY ST                                                                            BURTON          MI   48509‐1023
MR DUANE CO               166 W LONGFELLOW AVE                                                                       PONTIAC         MI   48340‐1830
MR DUANE E WORDEN         1472 KENNETH ST                                                                            BURTON          MI   48529‐2210
MR DUANE G BRAINARD       21 LAUREL AVE                                                                              MASSENA         NY   13662‐2029
MR DUANE K STJOHN         4027 RISEDORPH ST                                                                          BURTON          MI   48509‐1039
MR DUANE L RICHARDS JR    7 HILLCREST AVE                                                                            MASSENA         NY   13662‐1820
MR DUANE O BROWN          132 W PRINCETON AVE                                                                        PONTIAC         MI   48340‐1840
MR DUANE P BILLS          1176 CLOVERLAWN DR                                                                         PONTIAC         MI   48340‐1614
MR DUANE P BILLS          71 W PRINCETON AVE                                                                         PONTIAC         MI   48340‐1837
MR DUANE R BILYEU         545 FOX RIVER DR                                                                           BLOOMFIELD      MI   48304‐1011
MR DUANE R RUSSELL        611 N DEERFIELD AVE                                                                        LANSING         MI   48917‐2989
MR DUANE R RUSSELL        613 N DEERFIELD AVE                                                                        LANSING         MI   48917‐2989
MR DUANE R RUSSELL        533 N DEERFIELD AVE                                                                        LANSING         MI   48917‐2912
MR DUNCAN E DORSEY        1 LLOYD ST                                                                                 WILMINGTON      DE   19804‐2819
MR DUNCAN E HAMILTON      717 SPELLMAN DR                                                                            FLINT           MI   48503‐5229
MR DUNG V LUONG           11012 STACY RUN                                                                            FREDERICKSBRG   VA   22408‐8074
MR DUSTIN J TURNER        548 FOX HILLS DR S                                                                         BLOOMFIELD      MI   48304‐1316
MR DUSTIN S MADDOX        4036 BRIARWOOD APTS APT B3                                                                 BEDFORD         IN   47421‐5804
MR DUSTIN SYPHERS         1501 W 10TH ST                                                                             MUNCIE          IN   47302‐2142
MR DUSTON L ANDERS        3825 MARMION AVE                                                                           FLINT           MI   48506‐4241
MR DUWAYNE A TROYER       765 E HAMILTON AVE                                                                         FLINT           MI   48505‐4707
MR DWAIN J ADAMS          1207 W 15TH ST                                                                             MUNCIE          IN   47302‐3071
MR DWAYNE ADAMS           893 MELROSE ST                                                                             PONTIAC         MI   48340‐3126
MR DWAYNE E HINDMAN       1021 EASTFIELD RD                                                                          LANSING         MI   48917‐2301
MR DWAYNE E KESTNER       610 HARRISON CIR                                                                           LOCUST GROVE    VA   22508‐5332
MR DWAYNE K WILSON        725 EMERSON AVE                                                                            PONTIAC         MI   48340‐3220
MR DWAYNE W DAVIS         179 W STRATHMORE AVE                                                                       PONTIAC         MI   48340‐2777
MR DWIGHT E SWANGO        1405 2ND ST                                                                                BEDFORD         IN   47421‐1703
MR DWYANE LAUDERDALE      1106 EASTFIELD RD                                                                          LANSING         MI   48917‐2344
MR DYLAN K ALI            910 STANLEY ST                                                                             LANSING         MI   48915‐1366
MR DYLAN L MCLEAN         125 BLAINE AVE                                                                             PONTIAC         MI   48342‐1102
MR EARL BLADE             2201 W CARPENTER RD APT 108C                                                               FLINT           MI   48505‐5426
MR EARL D GREEN           1 W KEYSTONE AVE                                                                           WILMINGTON      DE   19804‐2027
MR EARL E HAGAN           142 W YALE AVE                                                                             PONTIAC         MI   48340‐1862
MR EARL E HARNISH         1201 W 14TH ST                                                                             MUNCIE          IN   47302‐3061
MR EARL E MEYERS          2204 N WEBSTER ST                                                                          KOKOMO          IN   46901‐5860
MR EARL E PERRY           151 INMAN CT                                                                               BEDFORD         IN   47421‐9628
MR EARL G ANDIS           2141 E BERGIN AVE                                                                          BURTON          MI   48529‐1703
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Name                         Address1                           Address2            Address3         Address4               City           State Zip
MR EARL G CHASE              9 LAUREL AVE APT 204                                                                           MASSENA         NY 13662‐2054
MR EARL H COSNER SR          701 HARWOOD RD                                                                                 WILMINGTON      DE 19804‐2658
MR EARL J MOREY              637 W MOUNT MORRIS ST                                                                          MOUNT MORRIS    MI 48458‐1803
MR EARL J WELCH              1211 N MORRISON ST                                                                             KOKOMO          IN 46901‐2761
MR EARL L WHITE              86 PROSPECT AVE                                                                                MASSENA         NY 13662‐1742
MR EARL M STEINHART          993 KETTERING AVE                                                                              PONTIAC         MI 48340‐3258
MR EARL R SLOCUM             867 STANLEY AVE                                                                                PONTIAC         MI 48340‐2559
MR EARL SICKBERT             1413 N MORRISON ST                                                                             KOKOMO          IN 46901‐2156
MR EARL W ANDERSON           17 LIVINGSTON AVE                                                                              WILMINGTON      DE 19804‐2815
MR EARL W MALLORY            152 CHARLES LN                                                                                 PONTIAC         MI 48341‐2927
MR EARL W MCKINNEY           680 EMERSON AVE                                                                                PONTIAC         MI 48340‐3217
MR EARL W ROSS JR            8421 TOD AVE SW                                                                                WARREN          OH 44481‐9661
MR EARLY SCOTT               488 FOX HILLS DR S APT 3                                                                       BLOOMFIELD      MI 48304‐1357
MR EARNEST R HARVEY          1350 STANLEY AVE                                                                               PONTIAC         MI 48340‐1749
MR ECKHARD MADAUS            AM MITTELPFAD 13                                                        ERFTSTADT GERMANY D‐
                                                                                                     50374
MR ED DAVIS                  472 HOLLIS ST                                                                                  FRAMINGHAM     MA   01702‐8623
MR ED EMBREE                 1944 W 9TH ST                                                                                  MUNCIE         IN   47302‐2123
MR ED HARNER                 1124 N MORRISON ST                                                                             KOKOMO         IN   46901‐2764
MR ED T CRAWFORD             120 MAIN ST APT 3                                                                              MASSENA        NY   13662‐1998
MR EDDIE C BARNEY            1509 COLUMBIA DR                                                                               FLINT          MI   48503‐5217
MR EDDIE C PETERS            814 KENILWORTH AVE                                                                             PONTIAC        MI   48340‐3102
MR EDDIE F ELLISON           4326 MAGNOLIA ST                                                                               DETROIT        MI   48210‐3149
MR EDDIE J ARNOLD JR         11800 BROOKPARK RD TRLR I68                                                                    CLEVELAND      OH   44130‐1184
MR EDDIE L JOHNSON           1921 CHIPPEWA ST                                                                               FLINT          MI   48505‐4705
MR EDDIE L PERRYMOND 3D      131 PINGREE AVE                                                                                PONTIAC        MI   48342‐1174
MR EDDIE L PHILLIPS JR       92 W YALE AVE                                                                                  PONTIAC        MI   48340‐1860
MR EDDIE L WARREN            9 LANTERN LN # 9                                                                               PONTIAC        MI   48340‐1648
MR EDDIE M PORTER            421 FOX HILLS DR S APT 7                                                                       BLOOMFIELD     MI   48304‐1348
MR EDDIE MCNEIL              2001 N CENTER RD APT 111                                                                       FLINT          MI   48506‐3198
MR EDDIE MICKLER             1104 NEWPORT GAP PIKE                                                                          WILMINGTON     DE   19804‐2842
MR EDGAR I DIAZ              4832 TOLEDO ST                                                                                 DETROIT        MI   48209‐1375
MR EDGAR L BACK              41 W STRATHMORE AVE                                                                            PONTIAC        MI   48340‐2771
MR EDGAR L BEARD             44 W FAIRMOUNT AVE                                                                             PONTIAC        MI   48340‐2732
MR EDGAR M CAMPBELL          5900 BRIDGE RD APT 308                                                                         YPSILANTI      MI   48197‐7011
MR EDIRSON S CARVALHO        15 AARON ST                                                                                    FRAMINGHAM     MA   01702‐8746
MR EDISON C DEPAULA JR       573 HOLLIS ST                                                                                  FRAMINGHAM     MA   01702‐8620
MR EDMOND F CROUSORE         2131 N MAIN ST                                                                                 KOKOMO         IN   46901‐5827
MR EDMOND H FUYTINCK         671 ELM ST                                                                                     MOUNT MORRIS   MI   48458‐1917
MR EDMOND L DAILEY 3D        2256 E SCHUMACHER ST                                                                           BURTON         MI   48529‐2441
MR EDMOND M SAYLOR           1072 CLOVERLAWN DR                                                                             PONTIAC        MI   48340‐1610
MR EDMUND A MOORHOUSE        632 ROLLING ROCK RD                                                                            BLOOMFIELD     MI   48304‐1055
MR EDMUND LEWIS              1491 PROPER AVE                                                                                BURTON         MI   48529‐2045
MR EDMUND T ZYSIK            55 E ORVIS ST                                                                                  MASSENA        NY   13662‐2000
MR EDMUND T ZYSIK JR         67 E ORVIS ST                                                                                  MASSENA        NY   13662‐2007
MR EDMUNDO N TAN             151 THE WOODS                                                                                  BEDFORD        IN   47421‐9300
MR EDRIC SATO                82 HUDSON AVE                                                                                  PONTIAC        MI   48342‐1243
MR EDUARDO HURTADO           4671 MERRITT ST                                                                                DETROIT        MI   48209‐1354
MR EDUARDO MUNOZ             4231 BRANDON ST                                                                                DETROIT        MI   48209‐1331
MR EDUARDO R DE CRISTOFARO   76 SCHOOL ST                                                                                   CLARK          NJ   07066‐1424
MR EDUARDO TEIXEIRA          1400 WORCESTER RD APT 7621                                                                     FRAMINGHAM     MA   01702‐8936
MR EDUARDO YANES             3171 LOCKWOOD ST                                                                               DETROIT        MI   48210‐3211
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Name                      Address1                          Address2            Address3         Address4         City               State Zip
MR EDWARD A BOYLE JR      2200 LINKWOOD AVE                                                                       WILMINGTON          DE 19805‐2420
MR EDWARD A KEDZIERSKI    325 L ST                                                                                BEDFORD             IN 47421‐1809
MR EDWARD A RALEIGH       11606 CHURCH ST                                                                         MOUNT MORRIS        MI 48458‐2017
MR EDWARD A RAY           1704 W 13TH ST                                                                          MUNCIE              IN 47302‐2177
MR EDWARD A STOTTS        1306 OAK ST                                                                             BEDFORD             IN 47421‐1832
MR EDWARD A STOTTS        202012 PLAZA DR # 112                                                                   BEDFORD             IN 47421‐3550
MR EDWARD A STRONG        2203 HUBBARD ST                                                                         DETROIT             MI 48209‐3330
MR EDWARD A YOUDERIN      2217 COMMONS AVE                                                                        JANESVILLE          WI 53546‐5965
MR EDWARD ALLEN           165 CHERRY HILL DR                                                                      PONTIAC             MI 48340‐1609
MR EDWARD ARNOLD          299 W HOPKINS AVE                                                                       PONTIAC             MI 48340‐1717
MR EDWARD AXSOM           1305 K ST APT 104                                                                       BEDFORD             IN 47421‐3241
MR EDWARD BIEGAS          39914 WILMETTE DRIVE                                                                    STERLING HEIGHTS    MI 48313‐5661
MR EDWARD BRANTLEY        2108 N MARKET ST                                                                        KOKOMO              IN 46901‐1451
MR EDWARD C MILLER        172 W YPSILANTI AVE                                                                     PONTIAC             MI 48340‐1875
MR EDWARD C MUNGER JR     2163 BRADY AVE                                                                          BURTON              MI 48529‐2426
MR EDWARD C PORTOLESE     15 DANFORTH PL                                                                          MASSENA             NY 13662‐1813
MR EDWARD C YESS 3D       2233 MOUNT PLEASANT RD                                                                  BEDFORD             IN 47421‐8038
MR EDWARD D ELLINGSEN     825 MORRIS AVE                                                                          LANSING             MI 48917‐2326
MR EDWARD D FLEMING       7245 N SAGINAW RD APT 6                                                                 MOUNT MORRIS        MI 48458‐2100
MR EDWARD D LETHAM        82 PROSPECT AVE                                                                         MASSENA             NY 13662‐1742
MR EDWARD D RUSAW         134 ALLEN ST                                                                            MASSENA             NY 13662‐1846
MR EDWARD D SMITH         829 SOUTH ST                                                                            MOUNT MORRIS        MI 48458‐2028
MR EDWARD D UNDERWOOD     10 GRASSMERE AVE                                                                        MASSENA             NY 13662‐2035
MR EDWARD E KARRER        2137 E SCOTTWOOD AVE                                                                    BURTON              MI 48529‐1751
MR EDWARD E SCHMITZ       1026 SOUTH ST                                                                           MOUNT MORRIS        MI 48458‐2041
MR EDWARD E WATSON        197 W PRINCETON AVE                                                                     PONTIAC             MI 48340‐1843
MR EDWARD EPPES           10701 TRICIA PL                                                                         FREDERICKSBRG       VA 22408‐8068
MR EDWARD F BEQUETTE      9936 JULIE DR                                                                           YPSILANTI           MI 48197‐8292
MR EDWARD F HERERA        1348 E BRISTOL RD                                                                       BURTON              MI 48529‐2212
MR EDWARD F KOZICKI       10 W KEYSTONE AVE                                                                       WILMINGTON          DE 19804‐2028
MR EDWARD F SARGENT       1509 LOYOLA DR                                                                          FLINT               MI 48503‐5225
MR EDWARD F SHARKEY       11061 FAIRLAWN DR                                                                       CLEVELAND           OH 44130‐1217
MR EDWARD F SMITH         2316 N ARMSTRONG ST                                                                     KOKOMO              IN 46901‐5873
MR EDWARD F USEWICK 3D    2227 E BOATFIELD AVE                                                                    BURTON              MI 48529‐1783
MR EDWARD F WAGNER        11239 MAGDALA DR                                                                        PARMA               OH 44130‐1549
MR EDWARD F YOUNG         968 KENILWORTH AVE                                                                      PONTIAC             MI 48340‐3108
MR EDWARD FOX             1102 W 16TH ST                                                                          MUNCIE              IN 47302‐3079
MR EDWARD G COBB          1405 18TH ST                                                                            BEDFORD             IN 47421‐4107
MR EDWARD G DOYLE         776 E FOX HILLS DR                                                                      BLOOMFIELD          MI 48304‐1306
MR EDWARD G GRABLE JR     511 BRYNFORD AVE                                                                        LANSING             MI 48917‐2927
MR EDWARD G LAFOND        840 PALMER DR                                                                           PONTIAC             MI 48342‐1858
MR EDWARD G STELLARD      4333 WOODROW AVE                                                                        BURTON              MI 48509‐1125
MR EDWARD G WAGNER JR     1508 N ST                                                                               BEDFORD             IN 47421‐3716
MR EDWARD I GIBSON        509 W CHAMPLAIN AVE                                                                     WILMINGTON          DE 19804‐2015
MR EDWARD J AUSTIN        3006 HARWICK DR APT 9                                                                   LANSING             MI 48917‐2359
MR EDWARD J BARNETT       702 N AUGUSTINE ST                                                                      WILMINGTON          DE 19804‐2606
MR EDWARD J BISCHOF       10719 GABRIELLA DR                                                                      CLEVELAND           OH 44130‐1425
MR EDWARD J BOURBEAU JR   6051 GORDON RD                                                                          WATERFORD           MI 48327‐1739
MR EDWARD J BOURBEAU JR   765 STANLEY AVE                                                                         PONTIAC             MI 48340‐2474
MR EDWARD J DAMINSKI      2602 GLENDAS WAY                                                                        FREDERICKSBRG       VA 22408‐8071
MR EDWARD J FLYNN         290 E BERKSHIRE RD                                                                      BLOOMFIELD          MI 48302‐0616
MR EDWARD J HAMONS        100 W KEYSTONE AVE                                                                      WILMINGTON          DE 19804‐2030
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Name                         Address1                        Address2                          Address3   Address4                City            State Zip
MR EDWARD J KROK             17 SUBURBAN RD                                                                                       CLARK            NJ 07066‐1243
MR EDWARD J LUNNEY           10806 STACY RUN                                                                                      FREDERICKSBRG    VA 22408‐8041
MR EDWARD J PETERSMARCK JR   532 E FOX HILLS DR                                                                                   BLOOMFIELD       MI 48304‐1302
MR EDWARD J RAYMONT          805 GARNET RD                                                                                        WILMINGTON       DE 19804‐2672
MR EDWARD J SULLIVAN JR      518 OAK ST                                                                                           MOUNT MORRIS     MI 48458‐1933
MR EDWARD JORDAN             1249 E PRINCETON AVE                                                                                 FLINT            MI 48505‐1754
MR EDWARD K MILLS            610 BOXWOOD RD                                                                                       WILMINGTON       DE 19804‐2011
MR EDWARD KHMELEVSKY         #522 ELGIN MILLS ROAD WEST                                                   RICHMOND HILL ONTARIO
                                                                                                          L4C 4M2
MR EDWARD KHMELEVSKY         #522 ELGIN MILLS ROAD WEST      RICHMOND HILL, ONTARIO, L4C 4M2              CANADA

MR EDWARD L BAILEY           111 W YALE AVE                                                                                       PONTIAC         MI   48340‐1863
MR EDWARD L BROWN            1104 Q ST                                                                                            BEDFORD         IN   47421‐2824
MR EDWARD L CHILDS           2184 E BERGIN AVE                                                                                    BURTON          MI   48529‐1782
MR EDWARD L EARLS            1014 W 10TH ST                                                                                       MUNCIE          IN   47302‐2254
MR EDWARD L ERVIN II         2211 E BUDER AVE                                                                                     BURTON          MI   48529‐1735
MR EDWARD L HARMON           147 W LONGFELLOW AVE                                                                                 PONTIAC         MI   48340‐1831
MR EDWARD L MULLEN           1940 W 10TH ST                                                                                       MUNCIE          IN   47302‐2145
MR EDWARD L WILLETTS JR      4177 RISEDORPH ST                                                                                    BURTON          MI   48509‐1067
MR EDWARD LIVOCHKO           5601 CHEVROLET BLVD # 310                                                                            CLEVELAND       OH   44130‐1405
MR EDWARD M BIFFLE           840 BAY ST                                                                                           PONTIAC         MI   48342‐1902
MR EDWARD M CARTER           165 SUMMIT ST                                                                                        PONTIAC         MI   48342‐1167
MR EDWARD M CRISTINO         11349 GABRIELLA DR                                                                                   CLEVELAND       OH   44130‐1336
MR EDWARD M PEREZ            2521 JUNCTION ST                                                                                     DETROIT         MI   48209‐1346
MR EDWARD N DOERK JR         11010 FAIRLAWN DR                                                                                    CLEVELAND       OH   44130‐1216
MR EDWARD N WILSON           1438 GRAM ST                                                                                         BURTON          MI   48529‐2040
MR EDWARD P SPICER           30 DOUGLAS RD                                                                                        MASSENA         NY   13662‐2134
MR EDWARD P ZALEWSKI         3209 LOCKWOOD ST                                                                                     DETROIT         MI   48210‐3256
MR EDWARD R GOMEZ            774 CORWIN CT                                                                                        PONTIAC         MI   48340‐2414
MR EDWARD R NOALL            1978 HUNTERS RIDGE DR                                                                                BLOOMFIELD      MI   48304‐1036
MR EDWARD R SPISAK           11051 NAOMI DR                                                                                       CLEVELAND       OH   44130‐1553
MR EDWARD REYES              694 CAMERON AVE                                                                                      PONTIAC         MI   48340‐3202
MR EDWARD SHAUGHNESSY        5 LYNBROOK RD                                                                                        WILMINGTON      DE   19804‐2668
MR EDWARD T CHILES           8555 TOD AVE SW                                                                                      WARREN          OH   44481‐9661
MR EDWARD USEWICK 3D         2148 E MCLEAN AVE                                                                                    BURTON          MI   48529‐1740
MR EDWARD V BOROWIAK         2115 COVERT RD                                                                                       BURTON          MI   48509‐1010
MR EDWARD V KEISER           1872 HUNTERS RIDGE DR                                                                                BLOOMFIELD      MI   48304‐1034
MR EDWARD V LENTINI          6 NIPMUC RD                                                                                          FRAMINGHAM      MA   01702‐7228
MR EDWARD W CULBERSON        11641 WASHINGTON AVE                                                                                 MOUNT MORRIS    MI   48458‐1959
MR EDWARD W SIELSKI JR       10922 STACY RUN                                                                                      FREDERICKSBRG   VA   22408‐8047
MR EDWARD W STURGEON         582 FOX RIVER DR                                                                                     BLOOMFIELD      MI   48304‐1010
MR EDWARD W TRUBI SR         4622 PLUMER ST                                                                                       DETROIT         MI   48209‐1357
MR EDWARD Y SING             1962 FOX RIVER DR                                                                                    BLOOMFIELD      MI   48304‐1022
MR EDWIN B STEWART JR        647 BUENA VISTA ST APT 18                                                                            MOUNT MORRIS    MI   48458‐1935
MR EDWIN D WEBSTER           11330 RICHARD DR                                                                                     CLEVELAND       OH   44130‐1343
MR EDWIN J HOSLEY            5 CECIL AVE                                                                                          MASSENA         NY   13662‐2143
MR EDWIN L BRAGGS            744 STANLEY ST                                                                                       LANSING         MI   48915‐1364
MR EDWIN L EASTERDAY         702 12TH ST                                                                                          BEDFORD         IN   47421‐2904
MR EDWIN O MELENDEZ          2411 LINKWOOD AVE                                                                                    WILMINGTON      DE   19805‐2329
MR EDWIN R MCNEESE           5324 MANCHESTER RD                                                                                   DAYTON          OH   45449‐1937
MR EDWIN S JOHNS             51370 SYLVIA DR                                                                                      BELLEVILLE      MI   48111‐5029
MR EFIRD J MEETZE            2100 WILMAR ST                                                                                       BURTON          MI   48509‐1122
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Name                               Address1                          Address2                          Address3             Address4                  City            State Zip
MR EFRAIN ORTIZJR                  816 KETTERING AVE                                                                                                  PONTIAC          MI 48340‐3251
MR EFRAIN VARGAS                   742 LOUNSBURY AVE                                                                                                  PONTIAC          MI 48340‐2452
MR ELBERT MOLETT                   17 W LONGFELLOW AVE                                                                                                PONTIAC          MI 48340‐1827
MR ELDON J FISHELL                 408 ELM ST                                                                                                         MOUNT MORRIS     MI 48458‐1914
MR ELDON T LIGGONS                 227 N GRACE ST                                                                                                     LANSING          MI 48917‐4909
MR ELEFTHERI KARAOGLANIS           2 READ AVE                                                                                                         WILMINGTON       DE 19804‐2034
MR ELI A COLLINS                   722 KINNEY RD                                                                                                      PONTIAC          MI 48340‐2439
MR ELIAS VERA                      HC 2 BOX 9000                                                                                                      LAS MARIAS       PR 00670‐9018
MR ELIEZER YAFFE AND MRS NECHAMA   MR ELIEZER YAFFE AND              MRS NECHAMA YAFFE JTWROS          SIMTAT HAR DAFNA 7   56503 SAVION ISRAEL
YAFFE
MR ELIGAH M VIRES JR               1028 CLOVERLAWN DR                                                                                                 PONTIAC         MI   48340‐1610
MR ELIHUT A COLON JR               885 STIRLING ST                                                                                                    PONTIAC         MI   48340‐3166
MR ELISEO BERMUDEZ                 58 STEGMAN LN                                                                                                      PONTIAC         MI   48340‐1662
MR ELISHA C BURNES                 713 SPELLMAN DR                                                                                                    FLINT           MI   48503‐5229
MR ELLINGTON R KENNEDY             3542 LOVETT ST                                                                                                     DETROIT         MI   48210‐3139
MR ELLIS WOOD                      428 FOX HILLS DR S APT 3                                                                                           BLOOMFIELD      MI   48304‐1349
MR ELLIUT LOPES                    557 HOLLIS ST                                                                                                      FRAMINGHAM      MA   01702‐8619
MR ELMANE A NERE                   59 BATES RD                                                                                                        FRAMINGHAM      MA   01702‐8740
MR ELMER C MILLER                  220 W YALE AVE                                                                                                     PONTIAC         MI   48340‐1866
MR ELMER D GREER JR                707 CURTIS AVE                                                                                                     WILMINGTON      DE   19804‐2109
MR ELMER E FITZSIMMONS JR          407 EAST AVE                                                                                                       WILMINGTON      DE   19804‐2022
MR ELMER F MOELICH                 2017 E SPINNINGWHEEL LN                                                                                            BLOOMFIELD      MI   48304‐1064
MR ELMER GEE                       986 DEWEY ST                                                                                                       PONTIAC         MI   48340‐2634
MR ELMER J CRAFT                   4312 GREENLY ST                                                                                                    BURTON          MI   48529‐2061
MR ELMER R AUSTIN JR               138 W STRATHMORE AVE                                                                                               PONTIAC         MI   48340‐2774
MR ELMER R KANN                    610 W NORTH ST                                                                                                     KOKOMO          IN   46901‐2750
MR ELRAY R MANN                    74 SUMMIT ST                                                                                                       PONTIAC         MI   48342‐1162
MR ELTON K HILL                    292 HIGHLAND AVE                                                                                                   BLOOMFIELD      MI   48302‐0631
MR ELTON KASA                      651 MELROSE ST                                                                                                     PONTIAC         MI   48340‐3116
MR ELTON L LAING                   514 BRYNFORD AVE                                                                                                   LANSING         MI   48917‐2926
MR ELWOOD A PIERCE                 2217 S ORCHARD ST                                                                                                  JANESVILLE      WI   53546‐5985
MR ELWOOD SYRKES                   10806 COREYS WAY                                                                                                   FREDERICKSBRG   VA   22408‐2065
MR EMAD G KAMEL JR                 508 FOX RIVER DR                                                                                                   BLOOMFIELD      MI   48304‐1010
MR EMAD S KARIM                    193 W SHEFFIELD AVE                                                                                                PONTIAC         MI   48340‐1853
MR EMANUEL D SUMMERS JR            1309 E YALE AVE                                                                                                    FLINT           MI   48505‐1752
MR EMANUEL I JOHNSON 3D            141 W LONGFELLOW AVE                                                                                               PONTIAC         MI   48340‐1831
MR EMIL COOTER                     4251 DAVISON RD                                                                                                    BURTON          MI   48509‐1450
MR EMIL J KOVACS                   3744 IVANHOE AVE                                                                                                   FLINT           MI   48506‐4214
MR EMIL SABBAGH                    11930 CAMDEN ST                                                                                                    LIVONIA         MI   48150‐2351
MR EMILIANO SANTOS                 211 LAURA CT                                                                                                       WILMINGTON      DE   19804‐2016
MR EMILIO COLOMBO                  C/O D'ALESSANDRO & PARTNERS SGE   VIA ANFITEATRO LATERIZIO NO 290                        80035 NOLA NAPLES ITALY

MR EMILIO I RODRIGUEZ              193 W ANN ARBOR AVE                                                                                                PONTIAC         MI   48340‐1803
MR EMMANUEL JOHNSON JR             4206 RISEDORPH ST                                                                                                  BURTON          MI   48509‐1044
MR EMMETT M ALLEN                  12475 CAMDEN ST                                                                                                    LIVONIA         MI   48150‐2371
MR EMMITT H HOEFT                  2181 E WHITTEMORE AVE                                                                                              BURTON          MI   48529‐1727
MR ENOS J BRUTON                   167 THE WOODS                                                                                                      BEDFORD         IN   47421‐9300
MR ENRIQUE MARES                   1041 CLOVERLAWN DR                                                                                                 PONTIAC         MI   48340‐1611
MR EPIFANIO I GOMEZ 3D             231 W RUTGERS AVE                                                                                                  PONTIAC         MI   48340‐2763
MR EPIMENIO SOSA                   151 W TENNYSON AVE                                                                                                 PONTIAC         MI   48340‐2673
MR ERASMO F LOPEZ                  318 W YALE AVE                                                                                                     PONTIAC         MI   48340‐1753
MR ERASMO FLORES                   328 W YALE AVE                                                                                                     PONTIAC         MI   48340‐1753
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Name                    Address1                       Address2            Address3         Address4         City            State Zip
MR ERIC A CARLSON       602 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2604
MR ERIC A HENNING       2206 SHERIDAN ST                                                                     JANESVILLE       WI 53546‐5983
MR ERIC A JOHNSON       704 HARWOOD RD                                                                       WILMINGTON       DE 19804‐2659
MR ERIC A KOCH          1801 I ST                                                                            BEDFORD          IN 47421‐4223
MR ERIC A MCNABB        1817 W 9TH ST                                                                        MUNCIE           IN 47302‐6602
MR ERIC A WILTFANG      1157 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1705
MR ERIC ACHIRI          6 AARON ST                                                                           FRAMINGHAM       MA 01702‐8747
MR ERIC BRIMM           736 BAY ST                                                                           PONTIAC          MI 48342‐1920
MR ERIC C HALL          9140 HIGHWAY 6 N               APT 1114                                              HOUSTON          TX 77095‐2492
MR ERIC C SIMMONS       1917 ROOT ST                                                                         FLINT            MI 48505‐4751
MR ERIC D BRAUNE        3 LYNBROOK RD                                                                        WILMINGTON       DE 19804‐2619
MR ERIC D DOWLAND       11510 UNION ST                                                                       MOUNT MORRIS     MI 48458‐2215
MR ERIC D DUCHSCHERER   11 CHERRY ST                                                                         MASSENA          NY 13662‐1805
MR ERIC D JOHNSON       1324 K ST STE 100                                                                    BEDFORD          IN 47421‐3249
MR ERIC D WARREN        1232 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1706
MR ERIC D WESTCOTT      37 ELM ST                                                                            MASSENA          NY 13662‐1827
MR ERIC DANIEL          3205 LOCKWOOD ST                                                                     DETROIT          MI 48210‐0911
MR ERIC DRAKE           166 ALLEN ST                                                                         MASSENA          NY 13662‐1861
MR ERIC E SEITZ         806 STANLEY AVE                                                                      PONTIAC          MI 48340‐2558
MR ERIC E WRIGHT        328 BON AIR RD                                                                       LANSING          MI 48917‐2903
MR ERIC FOULADBASH      25 PUTNAM AVE                                                                        PONTIAC          MI 48342‐1265
MR ERIC H RICHTER SR    2126 E JUDD RD                                                                       BURTON           MI 48529‐2405
MR ERIC J FLICK         1301 11TH ST                                                                         BEDFORD          IN 47421‐2912
MR ERIC J HUND          28 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2754
MR ERIC J MAYER         809 SPYGLASS DR                                                                      BEDFORD          IN 47421‐9295
MR ERIC J ROESNER       3740 IVANHOE AVE                                                                     FLINT            MI 48506‐4214
MR ERIC K BERGERON      2129 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2445
MR ERIC L GREER         249 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1855
MR ERIC L PRICE         901 BAY ST                                                                           PONTIAC          MI 48342‐1905
MR ERIC L WHITE         3313 GOLDNER ST APT 1                                                                DETROIT          MI 48210‐0904
MR ERIC L WRIGHT        1933 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐2218
MR ERIC M KACHOREK      500 FOX HILLS DR N APT 1                                                             BLOOMFIELD       MI 48304‐1339
MR ERIC M LADISON       14 RANSOM AVE                                                                        MASSENA          NY 13662‐1736
MR ERIC M MCBRIDE       2184 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2438
MR ERIC M MILLER        2 HIGHLAND PARK                                                                      MASSENA          NY 13662‐1835
MR ERIC NELSON          1172 PANAMA AVE                                                                      MOUNT MORRIS     MI 48458‐2533
MR ERIC NICHOLSON       528 F ST                                                                             BEDFORD          IN 47421‐2235
MR ERIC P JOHNSON       5491 CHEVROLET BLVD APT B104                                                         PARMA            OH 44130‐1458
MR ERIC R HOLLER        743 HOLLISTER ST                                                                     PONTIAC          MI 48340‐2429
MR ERIC R KNIGHT        1238 LIZA BLVD                                                                       PONTIAC          MI 48342‐1984
MR ERIC R LEWANDOWSKI   11051 SHARON DR                                                                      CLEVELAND        OH 44130‐1432
MR ERIC R SCHLAK        738 LIVINGSTON AVE                                                                   PONTIAC          MI 48340‐2445
MR ERIC S RUNNALS       5432 HUBBARD DR                                                                      FLINT            MI 48506‐1154
MR ERIC SHELTON         5501 CHEVROLET BLVD APT B204                                                         PARMA HEIGHTS    OH 44130‐1459
MR ERIC T DAVIS         5100 LAUDERDALE DR                                                                   MORAINE          OH 45439‐2929
MR ERIC T JACOBSEN      24 GUILD RD                                                                          FRAMINGHAM       MA 01702‐8713
MR ERIC TERBUSH         1378 BRADY AVE                                                                       BURTON           MI 48529‐2010
MR ERIC TURPEN          911 17TH ST                                                                          BEDFORD          IN 47421‐4205
MR ERIC V SCHULZ        1628 N ST                                                                            BEDFORD          IN 47421‐3718
MR ERIC W TIPPETT       1131 E PRINCETON AVE                                                                 FLINT            MI 48505‐1515
MR ERIC WASHINGTON      756 NEWMAN LN                                                                        PONTIAC          MI 48340‐3304
MR ERICH S DORN         664 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1359
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Name                       Address1                           Address2              Address3   Address4                 City            State Zip
MR ERICK BLACKBURN         510 E MORGAN ST                                                                              KOKOMO           IN 46901‐2385
MR ERIK E COBHAM           2711 MCKENZIE LN                                                                             FREDERICKSBRG    VA 22408‐8073
MR ERIK L SALAS            1523 KING ST                                                                                 JANESVILLE       WI 53546‐6027
MR ERIK P CLAUSEN          9 HILLCREST AVE                                                                              MASSENA          NY 13662‐1820
MR ERIK S BECKMAN          1802 NEBRASKA AVE                                                                            FLINT            MI 48506‐4359
MR ERMAL E WILLIAMS        1400 N MORRISON ST                                                                           KOKOMO           IN 46901‐2157
MR ERNEST A ALLEN          2713 HARWICK DR                                                                              LANSING          MI 48917‐2348
MR ERNEST C FRYE           1078 CHERRYLAWN DR                                                                           PONTIAC          MI 48340‐1700
MR ERNEST C HASSELL        921 BON AIR RD                                                                               LANSING          MI 48917‐2317
MR ERNEST D BAILEY         1179 E GRAND BLVD                                                                            FLINT            MI 48505‐1521
MR ERNEST D KIRKENDOLPH    PO BOX 214012                                                                                AUBURN HILLS     MI 48321‐4012
MR ERNEST D UPCOTT         1014 DURANT AVE                                                                              PONTIAC          MI 48340‐2307
MR ERNEST E CASH JR        704 W 11TH ST                                                                                MUNCIE           IN 47302‐3131
MR ERNEST E SOWATZKI JR    2424 ASPEN ST                                                                                JANESVILLE       WI 53546‐6182
MR ERNEST F MIHLER         1448 W 14TH ST                                                                               MUNCIE           IN 47302‐2978
MR ERNEST G MANNING        520 15TH ST                                                                                  BEDFORD          IN 47421‐3804
MR ERNEST H YARBRO JR      730 EMERSON AVE                                                                              PONTIAC          MI 48340‐3219
MR ERNEST I JENKINS        1315 N BELL ST                                                                               KOKOMO           IN 46901‐2335
MR ERNEST J ROGER          606 HARRIET ST APT 3                                                                         FLINT            MI 48505‐4775
MR ERNEST L SAUMIER        177 MAIN ST APT 1                                                                            MASSENA          NY 13662‐2900
MR ERNEST L SHAFFNER       684 YEAGER DR                                                                                ONTARIO          OH 44906‐4004
MR ERNEST L SLEDGE         256 W KENNETT RD                                                                             PONTIAC          MI 48340‐2654
MR ERNEST R HINEGARDNER    10703 JOSHUA LN                                                                              FREDERICKSBRG    VA 22408‐8039
MR ERNEST S WOODHOUSE      1322 N MORRISON ST                                                                           KOKOMO           IN 46901‐2760
MR ERNEST STEPP            429 F ST                                                                                     BEDFORD          IN 47421‐2232
MR ERNEST W GROGG          2412 WHITNEY AVE                                                                             ONTARIO          OH 44906‐1198
MR ERNEST W WILSON JR      106 MEGHANS CT                                                                               WILMINGTON       DE 19804‐2045
MR ERNESTO HERRERA         332 W YPSILANTI AVE                                                                          PONTIAC          MI 48340‐1667
MR ERNESTO J FERNANDEZ     630 WEYBRIDGE DR                                                                             BLOOMFIELD       MI 48304‐1082
MR ERNIE BREEDLOVE         1514 2ND ST                                                                                  BEDFORD          IN 47421‐1706
MR ERNST F HAUER           18 DANFORTH PL                                                                               MASSENA          NY 13662‐1814
MR ERNST J VICK            837 SARASOTA AVE                                                                             PONTIAC          MI 48340‐2369
MR ERRIC SMITH             1126 AMOS ST                                                                                 PONTIAC          MI 48342‐1802
MR ERRICK T MARINO         1040 CLOVERLAWN DR                                                                           PONTIAC          MI 48340‐1610
MR ERROS M DACOSTA         2224 CHIPPEWA ST                                                                             FLINT            MI 48505‐4330
MR ERVIN G OTTE            2540 MOUNT PLEASANT RD                                                                       BEDFORD          IN 47421‐8041
MR ERVIN M PADILLA         1112 AMOS ST                                                                                 PONTIAC          MI 48342‐1802
MR ERWIN DE WEVER          DEUTSCHE BANK SA/NV                AVENUE MARNIX 13‐15              1000 BRUXELLES BELGIUM
MR ERWIN P SCHROEDER       6047 LAKE DR                                                                                 YPSILANTI       MI 48197‐7044
MR ESCO H HURST            237 W SHEFFIELD AVE                                                                          PONTIAC         MI 48340‐1855
MR ESPIRIDION M MUNIZ      271 BLOOMFIELD BLVD                                                                          BLOOMFIELD      MI 48302‐0511
MR ESTA ANTOINE OU MYRNA   BANQUE DE LEUROPE MERIDIONALE BEMO 16 BOULEVARD ROYAL               L 2449 LUXEMBOURG

MR ESTEBAN GONZALES II     11771 DAVISBURG RD                                                                           DAVISBURG       MI   48350‐2630
MR ESTEL L HANCOCK         1321 N APPERSON WAY                                                                          KOKOMO          IN   46901‐2353
MR ESTES J MITCHELL        2112 S HOYT AVE                                                                              MUNCIE          IN   47302‐3012
MR ESTIL L WORKMAN         1200 LAPORT AVE                                                                              MOUNT MORRIS    MI   48458‐2523
MR EUGENE A CHEERS         1208 NEWPORT GAP PIKE # A                                                                    WILMINGTON      DE   19804‐2844
MR EUGENE A SWINNERTON     643 E FOX HILLS DR                                                                           BLOOMFIELD      MI   48304‐1305
MR EUGENE B PAKES          2305 CENTER AVE                                                                              JANESVILLE      WI   53546‐8959
MR EUGENE E ABEL           118 WHITE LN                                                                                 BEDFORD         IN   47421‐9221
MR EUGENE E BURNS          50 W YPSILANTI AVE                                                                           PONTIAC         MI   48340‐1870
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Name                         Address1                         Address2                    Address3                    Address4           City           State Zip
MR EUGENE E KEMPF            1112 O ST                                                                                                   BEDFORD         IN 47421‐2816
MR EUGENE E LUXTON           2211 BRADY AVE                                                                                              BURTON          MI 48529‐2428
MR EUGENE F WALLS            1623 L ST APT G                                                                                             BEDFORD         IN 47421‐3754
MR EUGENE FLORES             1117 CLOVERLAWN DR                                                                                          PONTIAC         MI 48340‐1615
MR EUGENE G SMITH            10700 FAIRLAWN DR                                                                                           PARMA           OH 44130‐1208
MR EUGENE GAISSER            27 MARSHALL RD                                                                                              RIDGEFIELD      CT 06877
MR EUGENE J CHAPP JR         625 S SPINNINGWHEEL LN                                                                                      BLOOMFIELD      MI 48304‐1323
MR EUGENE J SOLGAT 3D        2817 HARWICK DR                                                                                             LANSING         MI 48917‐2350
MR EUGENE JOHNSON            415 BAILEY SCALES RD                                                                                        BEDFORD         IN 47421‐9396
MR EUGENE L LANDRY           980 KETTERING AVE                                                                                           PONTIAC         MI 48340‐3257
MR EUGENE L OSBORNE          1308 19TH ST                                                                                                BEDFORD         IN 47421‐4014
MR EUGENE L STONE            940 FULWELL DR                                                                                              ONTARIO         OH 44906‐1111
MR EUGENE L WILLSEY          2152 E SCOTTWOOD AVE                                                                                        BURTON          MI 48529‐1752
MR EUGENE M GOODMAN          613 LANCASTER LN                                                                                            PONTIAC         MI 48342‐1853
MR EUGENE P SMAIL            143 W TENNYSON AVE                                                                                          PONTIAC         MI 48340‐2673
MR EUGENE SMITH              118 CHARLES LN                                                                                              PONTIAC         MI 48341‐2927
MR EUGENE T PAGE             42 SUMMIT ST                                                                                                PONTIAC         MI 48342‐1162
MR EUGENE T SIMIONESCU       6107 ROBERT CIR                                                                                             YPSILANTI       MI 48197‐8281
MR EUGENE U MITCHELL         738 SPELLMAN DR                                                                                             FLINT           MI 48503‐5228
MR EUGENE W WALK             695 STIRLING ST                                                                                             PONTIAC         MI 48340‐3162
MR EUSEBIO DIMAYA JR         893 KENILWORTH AVE                                                                                          PONTIAC         MI 48340‐3105
MR EUSEBIO LANDA             157 W COLUMBIA AVE                                                                                          PONTIAC         MI 48340‐1811
MR EVAN W NUFFER             521 N CATHERINE ST                                                                                          LANSING         MI 48917‐2933
MR EVANS MONICA              1156 AMOS ST                                                                                                PONTIAC         MI 48342‐1802
MR EVERARDO B RUIZ           810 HARWOOD RD                                                                                              WILMINGTON      DE 19804‐2661
MR EVERARDO G MONTEMAYOR     4809 BRANDON ST                                                                                             DETROIT         MI 48209‐1393
MR EVERARDO M LUNA           62 GUILD RD                                                                                                 FRAMINGHAM      MA 01702‐8763
MR EVERETT F WYMAN SR        652 BUENA VISTA ST                                                                                          MOUNT MORRIS    MI 48458‐1910
MR EVO V FRANCESCANGELI      11140 RIVEREDGE DR                                                                                          CLEVELAND       OH 44130‐1255
MR EZEKIEL C BRADFORD        1182 AMOS ST                                                                                                PONTIAC         MI 48342‐1802
MR EZEQUIEL FERNANDEZ        20 CUNARD ST                                                                                                WILMINGTON      DE 19804‐2808
MR EZEQUIEL R REYES          584 CESAR E CHAVEZ AVE                                                                                      PONTIAC         MI 48342‐1054
MR FABIO F SCHIMMELPFENNEK   426 HOLLIS ST                                                                                               FRAMINGHAM      MA 01702‐8614
MR FABIO N SILVEIRA          410 HOLLIS ST                                                                                               FRAMINGHAM      MA 01702‐8614
MR FABRICIO ARAUJO           443 HOLLIS ST                                                                                               FRAMINGHAM      MA 01702‐8646
MR FAHAD SATTAR DERO         SWEET HOMES 25‐26                1ST FLOOR, DUBAI SHOPPING   OPPOSITE DEIRA CITY CENTER ‐ DUBAI‐UAE
                                                              CENTER                      NEXT TO NOVOTEL

MR FARO GERVASI              208 BRYNFORD AVE                                                                                            LANSING        MI   48917‐2990
MR FARON L JOHNSON           1131 M ST                                                                                                   BEDFORD        IN   47421‐2928
MR FAROOK A KHAN             443 FOX HILLS DR N                                                                                          BLOOMFIELD     MI   48304‐1309
MR FARRELL D SOWDER          923 I ST                                                                                                    BEDFORD        IN   47421‐2623
MR FAT Q TOM                 473 W FAIRMOUNT AVE                                                                                         PONTIAC        MI   48340‐1622
MR FAUSTINO GONZALEZ         220 W YPSILANTI AVE                                                                                         PONTIAC        MI   48340‐1877
MR FELIMON SOLORZANO JR      119 N DEERFIELD AVE                                                                                         LANSING        MI   48917‐2985
MR FELIPE SALAS              4643 BRANDON ST                                                                                             DETROIT        MI   48209‐1334
MR FELIX A CHALU             3416 W SAGINAW ST                                                                                           LANSING        MI   48917‐2203
MR FELIX GOMEZ               93 STEGMAN LN                                                                                               PONTIAC        MI   48340‐1664
MR FERNAND A GRANGER         47 PROSPECT AVE                                                                                             MASSENA        NY   13662‐1748
MR FERNANDO E FIALHO         464 HOLLIS ST                                                                                               FRAMINGHAM     MA   01702‐8623
MR FERNANDO JUAREZ           4112 WOLFF ST                                                                                               DETROIT        MI   48209‐1651
MR FERNANDO L ALVAREZ        2115 MCKINSTRY ST                                                                                           DETROIT        MI   48209‐1670
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Name                           Address1                      Address2              Address3       Address4                 City            State Zip
MR FERNANDO MEJIA‐SANCHEZ      4766 PLUMER ST                                                                              DETROIT          MI 48209‐1390
MR FERNANDO NUNEZ              378 ELM ST                                                                                  MOUNT MORRIS     MI 48458‐1912
MR FERNANDO PERALES‐HERNADEZ   474 MOONLIGHT DR                                                                            PONTIAC          MI 48340‐1672
MR FERNANDO PORTILLO SR        371 W KENNETT RD                                                                            PONTIAC          MI 48340‐1729
MR FERNANDO R AGUADO           54 LYNBROOK RD                                                                              WILMINGTON       DE 19804‐2670
MR FERNANDO SANCHEZ            4747 BRANDON ST                                                                             DETROIT          MI 48209‐1392
MR FERNANDO SANCHEZ            1827 GREEN FOREST RUN                                                                       JANESVILLE       WI 53546‐1292
MR FIDEL A GONZALES            750 DRYER FARM RD                                                                           LANSING          MI 48917‐2343
MR FIDEL A MORENO              2056 N CENTER RD                                                                            BURTON           MI 48509‐1001
MR FILIBERTO ACOSTA            236 W FAIRMOUNT AVE                                                                         PONTIAC          MI 48340‐2740
MR FJOHN J MCCARTHY            8 CLARK ST                                                                                  MASSENA          NY 13662‐1812
MR FLEMING A PAYTON            1605 BRISTOL COURT DR                                                                       MOUNT MORRIS     MI 48458‐2184
MR FLINT B TEMPLE              1430 E BRISTOL RD                                                                           BURTON           MI 48529‐2212
MR FLOYD A DESHANE             1 GRASSMERE TER APT 31                                                                      MASSENA          NY 13662‐2164
MR FLOYD A LAWRENCE            1206 N INDIANA AVE                                                                          KOKOMO           IN 46901‐2718
MR FLOYD E WIGGINS             680 MAPLE ST                                                                                MOUNT MORRIS     MI 48458‐1927
MR FLOYD J LOVE                1212 4TH ST                                                                                 BEDFORD          IN 47421‐1808
MR FLOYD J MCQUEEN             429 BRYNFORD AVE                                                                            LANSING          MI 48917‐2996
MR FLOYD J ROZELL              1500 EVERGREEN DR                                                                           JANESVILLE       WI 53546‐6179
MR FLOYD L GREER               552 EMERSON AVE                                                                             PONTIAC          MI 48342‐1826
MR FLOYD P ZIOLKOWSKI          3432 W SAGINAW ST                                                                           LANSING          MI 48917‐2203
MR FLOYD PREGER                2074 N CENTER RD                                                                            BURTON           MI 48509‐1001
MR FLOYD W PREGER              2078 N CENTER RD                                                                            BURTON           MI 48509‐1001
MR FLOYD WADE                  521 N JACKSON ST                                                                            BEDFORD          IN 47421‐1529
MR FORREST HALL                1215 4TH ST                                                                                 BEDFORD          IN 47421‐1807
MR FORRESTER WAGERS            1211 13TH ST                                                                                BEDFORD          IN 47421‐3208
MR FOX L GILBRATH              248 W HOPKINS AVE                                                                           PONTIAC          MI 48340‐1824
MR FRANCIS A KOPP              1257 CHERRYLAWN DR                                                                          PONTIAC          MI 48340‐1707
MR FRANCIS A PORTNOY           670 SEDGEFIELD DR                                                                           BLOOMFIELD       MI 48304‐1059
MR FRANCIS B LADUKE            127 ALLEN ST                                                                                MASSENA          NY 13662‐1803
MR FRANCIS BADLAM              9 WINTER ST                                                                                 MASSENA          NY 13662‐1818
MR FRANCIS C BESIO             5004 PRAIRIEVIEW DR                                                                         CAMILLUS         NY 13031‐9766
MR FRANCIS C HUNT              1137 LAPORT AVE                                                                             MOUNT MORRIS     MI 48458‐2535
MR FRANCIS CISNEROS            838 INGLEWOOD AVE                                                                           PONTIAC          MI 48340‐2313
MR FRANCIS DIRR                2171 E BERGIN AVE                                                                           BURTON           MI 48529‐1703
MR FRANCIS DUEZ                C/O DEUTSCHE BANK SA/NV       AVENUE MAMIX 13 15                   1000 BRUXELLES BELGIUM
MR FRANCIS DUEZ                DEUTSCHE BANK SA NV           AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MR FRANCIS E BAKER SR          465 FOX RIVER DR                                                                            BLOOMFIELD      MI   48304‐1009
MR FRANCIS F SALAMINO          111 BROOKLAND DR                                                                            SYRACUSE        NY   13208‐3212
MR FRANCIS H LALONDE           9 LAUREL AVE APT 709                                                                        MASSENA         NY   13662‐2058
MR FRANCIS J MILLER JR         2237 E SCOTTWOOD AVE                                                                        BURTON          MI   48529‐1753
MR FRANCIS L PERRINE II        4086 HAMPTON RIDGE BLVD                                                                     HOWELL          MI   48843‐5501
MR FRANCIS M DOMANICH          11460 AARON DR                                                                              CLEVELAND       OH   44130‐1265
MR FRANCIS M ROGOWSKI          4845 PEERLESS RD                                                                            BEDFORD         IN   47421‐8116
MR FRANCIS S TURNAGE           11205 MANSFIELD CLUB DR                                                                     FREDERICKSBRG   VA   22408‐2058
MR FRANCIS SHAW                507 W 11TH ST                                                                               MUNCIE          IN   47302‐3183
MR FRANCIS T KASSIN            1046 W ELSTNER ST                                                                           MOUNT MORRIS    MI   48458‐2104
MR FRANCIS X SOJA              304 S CLIFTON AVE                                                                           WILMINGTON      DE   19805‐2368
MR FRANCISCO ARANDA            143 EUCLID AVE                                                                              PONTIAC         MI   48342‐1115
MR FRANCISCO CALDERON‐MENDEZ   6230 HORATIO ST                                                                             DETROIT         MI   48210‐2432
MR FRANCISCO D RAMIREZ         771 CRITTENDEN ST                                                                           PONTIAC         MI   48340‐2419
MR FRANCISCO DEANDA            2144 S PINE ST                                                                              JANESVILLE      WI   53546‐6134
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Name                       Address1                      Address2              Address3       Address4                 City            State Zip
MR FRANCISCO J CHACON JR   36 READ AVE                                                                                 WILMINGTON       DE 19804‐2034
MR FRANCISCO J HERNANDEZ   4710 TOLEDO ST                                                                              DETROIT          MI 48209‐1373
MR FRANCISCO L URREA       1024 GOULD RD                                                                               LANSING          MI 48917‐1755
MR FRANCISCO M CORDOBA     1064 CLOVERLAWN DR                                                                          PONTIAC          MI 48340‐1610
MR FRANCISCO M MORALES     5510 ABRAHAM AVE                                                                            CLEVELAND        OH 44130‐1318
MR FRANCISCO RIVERA        754 W GRAND BLVD                                                                            DETROIT          MI 48216‐5511
MR FRANCOIS DEGUENT        C/O DEUTSCHE BANK SA/NV       AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR FRANK A BROWN JR        1900 N LAFOUNTAIN ST                                                                        KOKOMO          IN   46901‐2322
MR FRANK A FRASOLAK        11181 RIVEREDGE DR                                                                          CLEVELAND       OH   44130‐1256
MR FRANK A PERRY JR        4 HIGHLAND PARK                                                                             MASSENA         NY   13662‐1835
MR FRANK ACETO             16646 N 29TH DR                                                                             PHOENIX         AZ   85053
MR FRANK ALHORN JR         1221 17TH ST                                                                                BEDFORD         IN   47421‐4230
MR FRANK B YENSHAW         810 N AUGUSTINE ST                                                                          WILMINGTON      DE   19804‐2608
MR FRANK C BURINSKY        1963 FOX RIVER DR                                                                           BLOOMFIELD      MI   48304‐1023
MR FRANK C CHASE           2 KENT ST                                                                                   MASSENA         NY   13662‐2120
MR FRANK C COSNER          203 LAURA CT                                                                                WILMINGTON      DE   19804‐2016
MR FRANK C LESTER          1154 E PRINCETON AVE                                                                        FLINT           MI   48505‐1520
MR FRANK E BASINGER        118 HELTONVILLE RD W                                                                        BEDFORD         IN   47421‐9383
MR FRANK E DEAN            11605 CHURCH ST                                                                             MOUNT MORRIS    MI   48458‐2016
MR FRANK E DUFFIE          104 W HOPKINS AVE                                                                           PONTIAC         MI   48340‐1820
MR FRANK E RUSSELL JR      10711 TRICIA PL                                                                             FREDERICKSBRG   VA   22408‐8068
MR FRANK E WATTS           20 ARMADILLO TRL                                                                            LAKE PLACID     FL   33852‐6271
MR FRANK G BROWN           6 HIGHLAND AVE                                                                              MASSENA         NY   13662‐1822
MR FRANK G CIOCIOLA        607 BOXWOOD RD                                                                              WILMINGTON      DE   19804‐2010
MR FRANK GERATY            10862 ANDORA AVE                                                                            CHATSWORTH      CA   91311‐1303
MR FRANK H DEFREESE        2222 E WILLIAMSON ST                                                                        BURTON          MI   48529‐2446
MR FRANK H HALL            11161 FAIRLAWN DR                                                                           CLEVELAND       OH   44130‐1219
MR FRANK H THOMPSON        175 ALLEN ST                                                                                MASSENA         NY   13662‐1803
MR FRANK HOOD 3D           365 LAKESIDE DR                                                                             PONTIAC         MI   48340‐2316
MR FRANK IVEZAJ            90 BLAINE AVE                                                                               PONTIAC         MI   48342‐1100
MR FRANK J BASEN           11350 DEBORAH DR                                                                            CLEVELAND       OH   44130‐1326
MR FRANK J BRYANT          88 W STRATHMORE AVE                                                                         PONTIAC         MI   48340‐2772
MR FRANK J COLLIAS         492 CESAR E CHAVEZ AVE                                                                      PONTIAC         MI   48342‐1052
MR FRANK J COSTA           129 W BEVERLY AVE                                                                           PONTIAC         MI   48340‐2621
MR FRANK J FOX             11515 UNION ST                                                                              MOUNT MORRIS    MI   48458‐2214
MR FRANK J KUBASEK         2 FOXWOOD RD                                                                                WILMINGTON      DE   19804‐2610
MR FRANK J LINDELL JR      702 BECKER CT                                                                               WILMINGTON      DE   19804‐2100
MR FRANK J MITTIGA         23 NIGHTENGALE AVE                                                                          MASSENA         NY   13662‐1719
MR FRANK J RUBERTO         2300 LINKWOOD AVE                                                                           WILMINGTON      DE   19805‐2367
MR FRANK J SULLIVAN        1132 N ST                                                                                   BEDFORD         IN   47421‐2935
MR FRANK K MANDLEBAUM      4078 FOXPOINTE DR                                                                           W BLOOMFIELD    MI   48323‐2602
MR FRANK KING              715 KENILWORTH AVE                                                                          PONTIAC         MI   48340‐3241
MR FRANK L GELUSO          18424 MYRON ST                                                                              LIVONIA         MI   48152‐3027
MR FRANK L GRAVES          1906 N APPERSON WAY                                                                         KOKOMO          IN   46901‐2300
MR FRANK L HICKS           42 LYNBROOK RD                                                                              WILMINGTON      DE   19804‐2671
MR FRANK L TUCKER          4159 RISEDORPH ST                                                                           BURTON          MI   48509‐1067
MR FRANK M PUDDY           484 W KENNETT RD                                                                            PONTIAC         MI   48340‐1642
MR FRANK M SHIELDS         1498 E JUDD RD                                                                              BURTON          MI   48529‐2006
MR FRANK M VAJDIK          11560 AARON DR                                                                              CLEVELAND       OH   44130‐1267
MR FRANK MARTIN            3838 PITKIN AVE                                                                             FLINT           MI   48506‐4235
MR FRANK N BROUJOS JR      610 CURTIS AVE                                                                              WILMINGTON      DE   19804‐2108
MR FRANK P NARDELLI II     11281 GARDEN ST                                                                             LIVONIA         MI   48150‐3178
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Name                                 Address1                       Address2              Address3       Address4                 City            State Zip
MR FRANK Q FLORES                    93 W STRATHMORE AVE                                                                          PONTIAC          MI 48340‐2773
MR FRANK R DECKER                    204 HELTONVILLE RD W                                                                         BEDFORD          IN 47421‐9385
MR FRANK R PATE                      11270 DEBORAH DR                                                                             CLEVELAND        OH 44130‐1324
MR FRANK R SCHULTZ                   10910 GABRIELLA DR                                                                           CLEVELAND        OH 44130‐1466
MR FRANK T MAYKUT SR                 411 EAST AVE                                                                                 WILMINGTON       DE 19804‐2022
MR FRANK TRAYLOR JR                  920 WESTFIELD RD APT C                                                                       LANSING          MI 48917‐2395
MR FRANK VALU                        3818 MARMION AVE                                                                             FLINT            MI 48506‐4246
MR FRANK W KEEL                      11200 N CLUB DR                                                                              FREDERICKSBRG    VA 22408‐2053
MR FRANKLIN D HOLMES                 2172 WEBBER AVE                                                                              BURTON           MI 48529‐2414
MR FRANKLIN HOLT                     890 FULWELL DR                                                                               ONTARIO          OH 44906‐1109
MR FRANKLIN HORNSBY                  6022 VAN WORMER DR                                                                           TOLEDO           OH 43612‐4043
MR FRANKLIN L EVANS                  81 W STRATHMORE AVE                                                                          PONTIAC          MI 48340‐2773
MR FRANKLIN L HATCHETT               732 WEYBRIDGE DR                                                                             BLOOMFIELD       MI 48304‐1084
MR FRANKLYN L LEWIS SR               33 READ AVE                                                                                  WILMINGTON       DE 19804‐2033
MR FRANS GELDOF & MRS PAULA VERDRU   C/O DEUTSCHE BANK SA/NV        AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM

MR FRANZ IVEZAJ                      65 PUTNAM AVE                                                                                PONTIAC         MI   48342‐1266
MR FRANZ IVEZAJ                      188 W YPSILANTI AVE                                                                          PONTIAC         MI   48340‐1875
MR FRANZ IVEZAJ                      228 W COLUMBIA AVE                                                                           PONTIAC         MI   48340‐1814
MR FRANZ IVEZAJ                      1093 MEADOWLAWN DR                                                                           PONTIAC         MI   48340‐1731
MR FRANZ IVEZAJ                      936 KENILWORTH AVE                                                                           PONTIAC         MI   48340‐3108
MR FRANZ IVEZAJ                      811 ROBINWOOD ST                                                                             PONTIAC         MI   48340‐3145
MR FRANZ J IVEZAJ                    781 ROBINWOOD ST                                                                             PONTIAC         MI   48340‐3144
MR FRANZ J IVEZAJ                    87 PUTNAM AVE                                                                                PONTIAC         MI   48342‐1266
MR FRANZ ROJIK                       HAUPTSTRASSE 106                                                    65760 ESHBORN GERMANY
MR FRAZIER GLENN                     5611 CHEVROLET BLVD APT C406                                                                 PARMA           OH   44130‐1481
MR FRED A COWSER JR                  912 BAY ST                                                                                   PONTIAC         MI   48342‐1904
MR FRED A LEE                        4465 BRANDON ST                                                                              DETROIT         MI   48209‐1333
MR FRED A LEWIS                      1368 BRADY AVE                                                                               BURTON          MI   48529‐2010
MR FRED B MCANDREW                   1240 E COLDWATER RD                                                                          FLINT           MI   48505‐1702
MR FRED C MARSHALL                   8472 MURRAY RIDGE RD                                                                         ELYRIA          OH   44035‐4749
MR FRED D CRANKFIELD                 3896 SCOTTEN ST                                                                              DETROIT         MI   48210‐3162
MR FRED D KERN                       1227 L ST                                                                                    BEDFORD         IN   47421‐2920
MR FRED F FISHER II                  1540 ANTHONY AVE                                                                             JANESVILLE      WI   53546‐6010
MR FRED G PETRICK                    2401 S CHATHAM ST                                                                            JANESVILLE      WI   53546‐6181
MR FRED G REDWINE                    1445 W 15TH ST                                                                               MUNCIE          IN   47302‐2982
MR FRED J MOSER                      1525 N MCCANN ST                                                                             KOKOMO          IN   46901‐2059
MR FRED J OWEN                       11152 NAOMI DR                                                                               PARMA           OH   44130‐1554
MR FRED J SCHEFFEL                   1005 M ST                                                                                    BEDFORD         IN   47421‐2926
MR FRED L ISBILL                     1421 W KILGORE AVE                                                                           MUNCIE          IN   47305‐2134
MR FRED LAFLEUR                      1028 MEADOWLAWN DR                                                                           PONTIAC         MI   48340‐1730
MR FRED M GRANSON                    1821 N MORRISON ST                                                                           KOKOMO          IN   46901‐2148
MR FRED N LONG                       1616 W 11TH ST                                                                               MUNCIE          IN   47302‐6611
MR FRED R STOUT                      214 WHITE LN                                                                                 BEDFORD         IN   47421‐9223
MR FRED SARGENT                      55 BLAINE AVE                                                                                PONTIAC         MI   48342‐1101
MR FRED'S PALMER                     741 SEWARD ST                                                                                DETROIT         MI   48202‐2446
MR FREDDERICK D ARNOLD               5900 BRIDGE RD APT 806                                                                       YPSILANTI       MI   48197‐7009
MR FREDDIE L DANIEL                  780 EMERSON AVE                                                                              PONTIAC         MI   48340‐3221
MR FREDDIE L SMITH                   1113 BROOKE PARK DR                                                                          TOLEDO          OH   43612‐4217
MR FREDDY MCCAN                      603 N GRACE ST                                                                               LANSING         MI   48917‐4913
MR FREDERIC C MULDER                 8910 RIVER BEACH LANE                                                                        BOISE           ID   83714
MR FREDERICK A CURINGTON             69 UNIVERSITY PLACE DR                                                                       PONTIAC         MI   48342‐1887
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MR FREDERICK A FLETCHER     30150 PLYMOUTH RD                                                                    LIVONIA          MI 48150‐2117
MR FREDERICK C DEYOUNG      1472 READY AVE                                                                       BURTON           MI 48529‐2054
MR FREDERICK C LONDON       1167 STANLEY AVE                                                                     PONTIAC          MI 48340‐1780
MR FREDERICK C ROCHE        714 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2628
MR FREDERICK D WATKINS 3D   555 LANCASTER LN                                                                     PONTIAC          MI 48342‐1852
MR FREDERICK E SHIMER       610 W DOVER ST                                                                       MUNCIE           IN 47302‐2275
MR FREDERICK G ACORD        1611 N MCCANN ST                                                                     KOKOMO           IN 46901‐2075
MR FREDERICK H SPEER        72 LINCOLN AVE                                                                       BEDFORD          IN 47421‐1611
MR FREDERICK J BAHNS        2516 LEACH RD                                                                        ROCHESTER        MI 48309‐3556
MR FREDERICK J BLANCK II    927 DRYER FARM RD                                                                    LANSING          MI 48917‐2389
MR FREDERICK J CUSHING JR   3 GREENWOOD RD                                                                       WILMINGTON       DE 19804‐2663
MR FREDERICK J HYDER        7428 ALEXANDER ST                                                                    MOUNT MORRIS     MI 48458‐2927
MR FREDERICK J MOELLER JR   599 SEDGEFIELD DR                                                                    BLOOMFIELD       MI 48304‐1058
MR FREDERICK K MCCONNELL    105 SUMMIT ST                                                                        PONTIAC          MI 48342‐1167
MR FREDERICK M WARWICK      504 ROCHELLE AVE                                                                     WILMINGTON       DE 19804‐2120
MR FREDERICK M WILLI        2354 ASPEN ST                                                                        JANESVILLE       WI 53546‐6149
MR FREDERICK R DAVIS        1815 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2137
MR FREDERICK S SANDERS      241 BLOOMFIELD BLVD                                                                  BLOOMFIELD       MI 48302‐0511
MR FREDERICK THOMPSON       134 CENTER ST                                                                        MASSENA          NY 13662‐1483
MR FREDERICK W MARTIN       2613 GLENDAS WAY                                                                     FREDERICKSBRG    VA 22408‐8078
MR FREDERICK W RHORER       1103 O ST                                                                            BEDFORD          IN 47421‐2815
MR FREDERICK W SKUSA        210 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2907
MR FREDERICK W WASHBURN     762 BON AIR RD                                                                       LANSING          MI 48917‐2316
MR FREDLIFF A BAKER JR      704 STIRLING ST                                                                      PONTIAC          MI 48340‐3169
MR FREDRICK A WARREN        1035 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1701
MR FREDRICK J PERKINS       4349 WOODROW AVE                                                                     BURTON           MI 48509‐1125
MR FREDRICK L BROWN         5430 BERMUDA LN                                                                      FLINT            MI 48505‐1067
MR FREDRICK L COOPER        2 KAREN CT                                                                           PONTIAC          MI 48340‐1633
MR FREEMAN A HARRINGTON     2206 BRADY AVE                                                                       BURTON           MI 48529‐2427
MR FREEMAN L SHUPE JR       2707 MCKENZIE LN                                                                     FREDERICKSBRG    VA 22408‐8073
MR FRITZ W KIRKLIGHTER      10701 JOSHUA LN                                                                      FREDERICKSBRG    VA 22408‐8039
MR FUAD J HARB              2160 CONNELL ST                                                                      BURTON           MI 48529‐1335
MR GABRIEL G ACUNA          251 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1805
MR GABRIEL J CONLEY         1217 BALDWIN AVE                                                                     PONTIAC          MI 48340‐1907
MR GABRIEL R CAMPBELL       1709 W 11TH ST                                                                       MUNCIE           IN 47302‐2152
MR GABRIEL SANCHEZ MEND     66 BROOKWOOD LN                                                                      PONTIAC          MI 48340‐1405
MR GALE E ELLIS             141 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2737
MR GAMALIEL TORRES          669 BAY ST                                                                           PONTIAC          MI 48342‐1919
MR GARRETT K GREASON        1324 E HUMPHREY AVE                                                                  FLINT            MI 48505‐1761
MR GARRICK W REECE          2375 WHITNEY AVE                                                                     ONTARIO          OH 44906‐1195
MR GARRY D STONE            536 BON AIR RD                                                                       LANSING          MI 48917‐2905
MR GARRY J KELSER           1909 N MORRISON ST                                                                   KOKOMO           IN 46901‐2146
MR GARRY L BICKNELL SR      1601 W 10TH ST                                                                       MUNCIE           IN 47302‐6606
MR GARRY L GREENWAY         11314 UNION ST                                                                       MOUNT MORRIS     MI 48458‐2211
MR GARRY L MACK             660 CAMERON AVE                                                                      PONTIAC          MI 48340‐3202
MR GARRY L NICHOLS          2213 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1753
MR GARRY W DAVIS            100 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1840
MR GARTH A MOSHER           1185 LAPORT AVE                                                                      MOUNT MORRIS     MI 48458‐2574
MR GARTH G HILL             1102 ANGOLA AVE                                                                      MOUNT MORRIS     MI 48458‐2139
MR GARTH G SEVERN           519 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1940
MR GARY A BURROWS           2047 CASHIN ST                                                                       BURTON           MI 48509‐1137
MR GARY A DEGUZMAN          9671 HARBOUR COVE CT                                                                 YPSILANTI        MI 48197‐6901
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Name                           Address1                       Address2            Address3         Address4         City            State Zip
MR GARY A SMITH                708 W 5TH ST                                                                         MUNCIE           IN 47302‐2203
MR GARY A STOWE                2211 S PEARL ST                                                                      JANESVILLE       WI 53546‐6161
MR GARY B MARTIN               764 W GRAND BLVD                                                                     DETROIT          MI 48216‐1003
MR GARY B NORRIS               2220 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐1465
MR GARY BREWER                 1037 O ST                                                                            BEDFORD          IN 47421‐2813
MR GARY COMBS                  1805 W 11TH ST                                                                       MUNCIE           IN 47302‐6614
MR GARY D BYINGTON             47 PARKER AVE                                                                        MASSENA          NY 13662‐2213
MR GARY D CURLEE               1065 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1731
MR GARY D FRANCK               528 BON AIR RD                                                                       LANSING          MI 48917‐2905
MR GARY D HARRELL SOLE & SEP   3532 WINIFRED DR                                                                     FT WORTH         TX 76133
PROPERTY
MR GARY D KING                 841 E MOUNT MORRIS ST                                                                MOUNT MORRIS    MI   48458‐2053
MR GARY D STAGGS               812 17TH ST APT 2                                                                    BEDFORD         IN   47421‐4247
MR GARY D TERRELL              1312 I ST                                                                            BEDFORD         IN   47421‐3306
MR GARY D THOMAS               2144 COVERT RD                                                                       BURTON          MI   48509‐1066
MR GARY D WERTZ                1524 N MARKET ST                                                                     KOKOMO          IN   46901‐2370
MR GARY D WESSEL               314 BAILEY SCALES RD                                                                 BEDFORD         IN   47421‐9393
MR GARY E BEAVER               6127 ROBERT CIR                                                                      YPSILANTI       MI   48197‐8280
MR GARY E DUARARD JR           11921 HARTEL ST                                                                      LIVONIA         MI   48150‐5324
MR GARY E IRONS                283 W HOPKINS AVE                                                                    PONTIAC         MI   48340‐1717
MR GARY E SPENCER              1502 KENNETH ST                                                                      BURTON          MI   48529‐2210
MR GARY E STORTS               23 W PRINCETON AVE                                                                   PONTIAC         MI   48340‐1837
MR GARY E THELEN               3004 RISLEY DR                                                                       LANSING         MI   48917‐2364
MR GARY F FORDYCE              1467 E JUDD RD                                                                       BURTON          MI   48529‐2005
MR GARY F KRAMER               1010 SOUTH ST                                                                        MOUNT MORRIS    MI   48458‐2041
MR GARY G GARBRECHT            2115 ARBUTUS ST                                                                      JANESVILLE      WI   53546‐6160
MR GARY G GARTEE               34 W LONGFELLOW AVE                                                                  PONTIAC         MI   48340‐1826
MR GARY G GILLETTE             1456 READY AVE                                                                       BURTON          MI   48529‐2054
MR GARY G GILLETTE             1461 READY AVE                                                                       BURTON          MI   48529‐2053
MR GARY G LOWELL               563 SEDGEFIELD DR                                                                    BLOOMFIELD      MI   48304‐1058
MR GARY G SMALLEY              763 BON AIR RD                                                                       LANSING         MI   48917‐2315
MR GARY H COX                  1428 13TH ST                                                                         BEDFORD         IN   47421‐3227
MR GARY J FETZ                 11251 SHARON DR                                                                      CLEVELAND       OH   44130‐1437
MR GARY J FLANIGAN             932 MELROSE ST                                                                       PONTIAC         MI   48340‐3129
MR GARY J GUTOWSKI             603 CURTIS AVE                                                                       WILMINGTON      DE   19804‐2107
MR GARY K JOHNSON              G3494 S SAGINAW ST                                                                   BURTON          MI   48529‐1217
MR GARY L ADAMS                1609 N ST                                                                            BEDFORD         IN   47421‐3717
MR GARY L BEAVER               715 17TH ST                                                                          BEDFORD         IN   47421‐4201
MR GARY L BLEDSOE              809 ORLANDO AVE                                                                      PONTIAC         MI   48340‐2356
MR GARY L BLEVINS              2710 MCKENZIE LN                                                                     FREDERICKSBRG   VA   22408‐8072
MR GARY L COLEMAN              399 CENTER ST APT 112                                                                OTISVILLE       MI   48463‐9645
MR GARY L COOK                 9 GEORGE ST                                                                          MASSENA         NY   13662‐1021
MR GARY L CRONENVHET JR        2072 E WILLIAMSON ST                                                                 BURTON          MI   48529‐2442
MR GARY L DAVIS                1614 W BURBANK AVE                                                                   JANESVILLE      WI   53546‐6128
MR GARY L FRANKS               323 N CATHERINE ST                                                                   LANSING         MI   48917‐2931
MR GARY L GARNSEY              4171 RISEDORPH ST                                                                    BURTON          MI   48509‐1067
MR GARY L GONZALES             2118 VINEWOOD ST                                                                     DETROIT         MI   48216‐5507
MR GARY L GRIFFITH JR          4109 DURWOOD DR # 139                                                                FLINT           MI   48504‐1368
MR GARY L HAINES               853 STANLEY AVE                                                                      PONTIAC         MI   48340‐2559
MR GARY L KELSEY               2224 E SCOTTWOOD AVE                                                                 BURTON          MI   48529‐1754
MR GARY L KRYGER               1146 CLOVIS AVE                                                                      MOUNT MORRIS    MI   48458‐2505
MR GARY L MALIN JR             1419 BRADY AVE                                                                       BURTON          MI   48529‐2009
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Name                   Address1                       Address2            Address3         Address4         City            State Zip
MR GARY L PHILPOT      12000 HALLER ST                                                                      LIVONIA          MI 48150‐2373
MR GARY L PRATER       6052 LAKE DR                                                                         YPSILANTI        MI 48197‐7045
MR GARY L ROSEN        11430 SHARON DR APT D207                                                             PARMA            OH 44130‐1479
MR GARY L SANDERS      1120 N ST                                                                            BEDFORD          IN 47421‐2935
MR GARY L SMITH        933 W 13TH ST                                                                        MUNCIE           IN 47302‐7607
MR GARY L STEARLEY     181 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1803
MR GARY L VOIGTS       2337 ASPEN ST                                                                        JANESVILLE       WI 53546‐6150
MR GARY L WILSON       4300 MICHIGAN AVE                                                                    DETROIT          MI 48210‐3242
MR GARY LA DOUCEUR     138 CHERRY HILL DR                                                                   PONTIAC          MI 48340‐1608
MR GARY M BRIDWELL     1309 13TH ST                                                                         BEDFORD          IN 47421‐3224
MR GARY M COOTE        773 E MOUNT MORRIS ST APT 5                                                          MOUNT MORRIS     MI 48458‐2069
MR GARY M COOTE        351 OAK ST                                                                           MOUNT MORRIS     MI 48458‐1928
MR GARY M FORSYTH      695 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3239
MR GARY MONTGOMERY     5900 BRIDGE RD                 APT 915                                               YPSILANTI        MI 48197‐7011
MR GARY O CRAIG        664 BROOMSAGE RD                                                                     BEDFORD          IN 47421‐7589
MR GARY O YOUNGS       11350 GABRIELLA DR                                                                   PARMA            OH 44130‐1335
MR GARY P DRANSFIELD   1517 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐6023
MR GARY P HENDRICKS    31 RANSOM AVE                                                                        MASSENA          NY 13662‐1739
MR GARY P KAUTZ        4062 WOODROW AVE                                                                     BURTON           MI 48509‐1012
MR GARY P LACHANCE     9675 HARBOUR COVE CT                                                                 YPSILANTI        MI 48197‐6901
MR GARY P LENTZ        1112 W BURBANK AVE APT 104                                                           JANESVILLE       WI 53546‐6146
MR GARY R MAYHEW II    800 GARNET RD                                                                        WILMINGTON       DE 19804‐2616
MR GARY R SHERMAN      134 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2774
MR GARY R WEBER        4424 SANDHILL DR                                                                     JANESVILLE       WI 53546‐4421
MR GARY T CONLIN       18 GEORGE ST                                                                         FRAMINGHAM       MA 01702‐8711
MR GARY T COYLE        PO BOX 151                                                                           COLUMBIAVILLE    MI 48421‐0151
MR GARY T SELF         1500 W 10TH ST                                                                       MUNCIE           IN 47302‐2141
MR GARY UMSTEAD        29012 ELMIRA ST                                                                      LIVONIA          MI 48150‐3129
MR GARY V HUXHOLD      1516 W 13TH ST                                                                       MUNCIE           IN 47302‐2908
MR GARY W GRAY         216 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1844
MR GARY W JOHNSTON     10925 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8046
MR GARY W JONES        225 M ST                                                                             BEDFORD          IN 47421‐1814
MR GARY W RIGGINS      1308 1ST ST                                                                          BEDFORD          IN 47421‐1823
MR GARY W RUSSELL      1601 N MCCANN ST                                                                     KOKOMO           IN 46901‐2075
MR GARY W SANDERS      1218 14TH ST                                                                         BEDFORD          IN 47421‐3229
MR GARY WADE           1202 BRECKENRIDGE RD                                                                 BEDFORD          IN 47421‐1506
MR GAS INC             25204 RYAN RD                                                                        WARREN           MI 48091‐3775
MR GAYLES D SOUDER     500 GREENTREE DR APT 3                                                               BEDFORD          IN 47421‐9675
MR GENARD R MURILLO    107 W YALE AVE                                                                       PONTIAC          MI 48340‐1863
MR GENE A SANTOS       712 LOUNSBURY AVE                                                                    PONTIAC          MI 48340‐2452
MR GENE A TAYLOR       2065 MORRIS AVE                                                                      BURTON           MI 48529‐2156
MR GENE E COFFEY       2430 FERGUSON RD                                                                     ONTARIO          OH 44906‐1107
MR GENE F BAKER        1528 12TH ST                                                                         BEDFORD          IN 47421‐3102
MR GENE G PARHAM       428 6TH ST                                                                           BEDFORD          IN 47421‐9608
MR GENE H SWARTZ JR    196 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1802
MR GENE H WENDT        1105 KELLOGG AVE TRLR B9                                                             JANESVILLE       WI 53546‐6083
MR GENE HEAD           2111 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐5812
MR GENE JERVIS         310 W MORGAN ST                                                                      KOKOMO           IN 46901‐2251
MR GENE MEDARIS        70 VICTORIAN WAY                                                                     BEDFORD          IN 47421‐9280
MR GENE T RUFA         49 MAIN ST                                                                           MASSENA          NY 13662‐1913
MR GEOFFREY D BOUMA    1056 BALFOUR ST                                                                      GROSSE POINTE    MI 48230‐1325
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Name                         Address1                            Address2        Address3         Address4             City           State Zip
MR GEORG BUERGER             AM ATZELBERG 8                                                       60389 FRANKFURT AM
                                                                                                  MAIN GERMANY
MR GEORGE A ABIADAL          576 WEYBRIDGE DR                                                                          BLOOMFIELD     MI    48304‐1080
MR GEORGE A ATKINSON         2104 S WALNUT ST                                                                          JANESVILLE     WI    53546‐6136
MR GEORGE A NORTH SR         2060 E MCLEAN AVE                                                                         BURTON         MI    48529‐1738
MR GEORGE ARTHUR             884 SARASOTA AVE                                                                          PONTIAC        MI    48340‐2368
MR GEORGE ASSAF              435 ELM ST                                                                                MOUNT MORRIS   MI    48458‐1913
MR GEORGE B JOHNSON JR       502 WILSON DR                                                                             HOCKESSIN      DE    19707‐1917
MR GEORGE BCHARAH            578 FOX HILLS DR S                                                                        BLOOMFIELD     MI    48304‐1316
MR GEORGE COLSTON JR         7060 HARVARD AVE                                                                          MOUNT MORRIS   MI    48458‐2145
MR GEORGE D MALONEY          11011 RIVEREDGE DR                                                                        PARMA          OH    44130‐1254
MR GEORGE D METCALF          11390 DEBORAH DR                                                                          CLEVELAND      OH    44130‐1326
MR GEORGE D RIDILLA          486 E NORTH ST APT A                                                                      COLUMBUS       OH    43085‐3249
MR GEORGE D SHOOK JR         1810 N WABASH AVE                                                                         KOKOMO         IN    46901‐2005
MR GEORGE D THOMPSON         1300 W 13TH ST                                                                            MUNCIE         IN    47302‐2903
MR GEORGE DISHNER            2198 E JUDD RD                                                                            BURTON         MI    48529‐2407
MR GEORGE DUNICH             4158 WOODROW AVE                                                                          BURTON         MI    48509‐1052
MR GEORGE E CHEKLICH         663 WEYBRIDGE DR                                                                          BLOOMFIELD     MI    48304‐1083
MR GEORGE E FILLINGHAM       2911 HARWICK DR APT 3                                                                     LANSING        MI    48917‐2356
MR GEORGE E FLOOK            183 W CORNELL AVE                                                                         PONTIAC        MI    48340‐2723
MR GEORGE E HOLZWORTH        9656 MEADOWS RD                                                                           LOCUST GROVE   VA    22508‐9745
MR GEORGE E JACKSON          6116 LAKE DR                                                                              YPSILANTI      MI    48197‐7050
MR GEORGE E MILLER           742 CORWIN AVE                                                                            PONTIAC        MI    48340‐2412
MR GEORGE E SENG             639 RILEY BLVD                                                                            BEDFORD        IN    47421‐9337
MR GEORGE E SENG             505 4TH ST                                                                                BEDFORD        IN    47421‐2226
MR GEORGE E SERR 3D          665 EMERSON AVE                                                                           PONTIAC        MI    48340‐3218
MR GEORGE F BURTON SR        1340 GRAM ST                                                                              BURTON         MI    48529‐2022
MR GEORGE F MAY              725 MELROSE ST                                                                            PONTIAC        MI    48340‐3120
MR GEORGE F MAY JR           824 KENILWORTH AVE                                                                        PONTIAC        MI    48340‐3102
MR GEORGE FREIJ              AL KHOR PLAZA BUILDING AL GORHOUD   PO BOX 11154                     DUBAI UAE

MR GEORGE G ADAMS JR         697 LOUNSBURY AVE                                                                         PONTIAC        MI    48340‐2451
MR GEORGE H ARTHUR           872 SARASOTA AVE                                                                          PONTIAC        MI    48340‐2368
MR GEORGE H ARTHUR II        864 SARASOTA AVE                                                                          PONTIAC        MI    48340‐2368
MR GEORGE H HALL             8 HIGHLAND AVE                                                                            MASSENA        NY    13662‐1822
MR GEORGE H WOOTEN           1110 BRISTOL COURT DR                                                                     MOUNT MORRIS   MI    48458‐2179
MR GEORGE HALL               148 W LONGFELLOW AVE                                                                      PONTIAC        MI    48340‐1830
MR GEORGE I KIMIS            2454 WHITNEY AVE                                                                          ONTARIO        OH    44906‐1199
MR GEORGE J FIRMAN           113 W SHEFFIELD AVE                                                                       PONTIAC        MI    48340‐1851
MR GEORGE J HEDRICK JR       1110 N WEBSTER ST                                                                         KOKOMO         IN    46901‐2706
MR GEORGE J HOLLENSTEIN JR   1704 KELLOGG AVE                                                                          JANESVILLE     WI    53546‐6003
MR GEORGE J LAWICKI JR       5527 ALEXANDER RD                                                                         CLEVELAND      OH    44130‐1323
MR GEORGE KURI               1036 BOYNTON DR                                                                           LANSING        MI    48917‐1760
MR GEORGE L ALWARD           1440 E SCOTTWOOD AVE                                                                      BURTON         MI    48529‐1626
MR GEORGE L CRUMPTON JR      16500 APPOLINE ST                                                                         DETROIT        MI    48235‐4130
MR GEORGE L GRAVES JR        144 W HOPKINS AVE                                                                         PONTIAC        MI    48340‐1820
MR GEORGE L STEWART JR       810 NEWPORT GAP PIKE                                                                      WILMINGTON     DE    19804‐2836
MR GEORGE L TAYLOR           466 MOONLIGHT DR                                                                          PONTIAC        MI    48340‐1672
MR GEORGE M LASON JR         1462 E WILLIAMSON ST                                                                      BURTON         MI    48529‐1628
MR GEORGE NAILER JR          128 CHARLES LN                                                                            PONTIAC        MI    48341‐2927
MR GEORGE O ADDISON SR       2124 N MARKET ST                                                                          KOKOMO         IN    46901‐1451
MR GEORGE O MOLINA           115 TRIPP ST                                                                              FRAMINGHAM     MA    01702‐8775
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Name                       Address1                        Address2                 Address3                Address4              City            State Zip
MR GEORGE P ANDREZJEWSKI   51303 SYLVIA DR                                                                                        BELLEVILLE       MI 48111‐5029
MR GEORGE R ADAMS          304 RILEY BLVD                                                                                         BEDFORD          IN 47421‐9650
MR GEORGE R CAMPBELL SR    11420 RICHARD DR                                                                                       CLEVELAND        OH 44130‐1345
MR GEORGE R ENLOE          204 TERRY PL                                                                                           WILMINGTON       DE 19804‐2036
MR GEORGE R STURGIS JR     11000 STACY RUN                                                                                        FREDERICKSBRG    VA 22408‐8074
MR GEORGE R TRIPPANY       1 LAUREL AVE                                                                                           MASSENA          NY 13662‐2030
MR GEORGE R WESTRICK       1486 READY AVE                                                                                         BURTON           MI 48529‐2054
MR GEORGE S STEBBINS       159 EUCLID AVE                                                                                         PONTIAC          MI 48342‐1115
MR GEORGE T BROWN          705 14TH ST                                                                                            BEDFORD          IN 47421‐3323
MR GEORGE T PATTERSON      4403 1/2 DAVISON RD LOT 24                                                                             BURTON           MI 48509‐1400
MR GEORGE V BAILEY         2236 COMMONS AVE                                                                                       JANESVILLE       WI 53546‐5966
MR GEORGE V WRIGHT         1 GRASSMERE TER APT 48                                                                                 MASSENA          NY 13662‐2166
MR GEORGE W ADAMSON        11071 SHARON DR                                                                                        CLEVELAND        OH 44130‐1432
MR GEORGE W BIGELOW JR     381 OAK ST                                                                                             MOUNT MORRIS     MI 48458‐1928
MR GEORGE W IRWIN          612 N AUGUSTINE ST                                                                                     NEWPORT          DE 19804‐2604
MR GEORGE W MARVEL SR      20 LYNBROOK RD                                                                                         WILMINGTON       DE 19804‐2620
MR GEORGE W MOORE          835 STIRLING ST                                                                                        PONTIAC          MI 48340‐3166
MR GEORGE W OPALEWSKI      770 CAMERON AVE                                                                                        PONTIAC          MI 48340‐3206
MR GEORGE W PLANT          939 DEWEY ST                                                                                           PONTIAC          MI 48340‐2512
MR GEORGE YOUNG            307 O ST                                                                                               BEDFORD          IN 47421‐1725
MR GEORGIOS ALEVIZAKIS     MS ELESSA ALEVIZAKI             MR ANTONIOS ALEVIZAKIS   11 PAPARIGOIOULOU STR   VOULA, ATHENS 16673
                                                                                                            GREECE
MR GERALD A LIMEBERRY      36 LINCOLN AVE                                                                                         BEDFORD         IN   47421‐1611
MR GERALD A WIDOK SR       10910 RIVEREDGE DR                                                                                     PARMA           OH   44130‐1251
MR GERALD C LINCOLN JR     402 ELM ST                                                                                             MOUNT MORRIS    MI   48458‐1914
MR GERALD D ALBERS         1321 KELLOGG AVE                                                                                       JANESVILLE      WI   53546‐6021
MR GERALD D CRAIG          3442 PEERLESS RD                                                                                       BEDFORD         IN   47421‐8108
MR GERALD D KINGSBURY JR   1487 BRADY AVE                                                                                         BURTON          MI   48529‐2011
MR GERALD E BLAIR          2012 READY AVE                                                                                         BURTON          MI   48529‐2056
MR GERALD E COLBURN        1401 N APPERSON WAY                                                                                    KOKOMO          IN   46901‐2381
MR GERALD E EDGAR JR       116 EUCLID AVE                                                                                         PONTIAC         MI   48342‐1113
MR GERALD E HENN           1001 COUNTRY WAY SW                                                                                    WARREN          OH   44481‐9699
MR GERALD E HOUSIER        149 THE WOODS                                                                                          BEDFORD         IN   47421‐9300
MR GERALD E OVERBAUGH      116 W FAIRMOUNT AVE                                                                                    PONTIAC         MI   48340‐2736
MR GERALD F ELMAN          80 PROSPECT AVE                                                                                        MASSENA         NY   13662‐1742
MR GERALD F JACKSON        305 BENHAM CT                                                                                          NEWARK          DE   19711‐6010
MR GERALD FLEMMING         11800 BROOKPARK RD TRLR 124                                                                            CLEVELAND       OH   44130‐1100
MR GERALD J CHURCHILL      1514 ARBUTUS ST                                                                                        JANESVILLE      WI   53546‐6140
MR GERALD J CORLEW         1066 TERRY AVE                                                                                         MOUNT MORRIS    MI   48458‐2568
MR GERALD J GRANT SR       17 W CONRAD DR                                                                                         WILMINGTON      DE   19804‐2018
MR GERALD J ROCHELEAU      841 MILES ST                                                                                           PONTIAC         MI   48340‐2319
MR GERALD J ROCHELEAU II   34 SUMMIT ST                                                                                           PONTIAC         MI   48342‐1162
MR GERALD J SLUTSKY        12 CHAUCER RD                                                                                          MANALAPAN       NJ   07726‐3752
MR GERALD J ZOLDAK         10601 AARON DR                                                                                         CLEVELAND       OH   44130‐1354
MR GERALD L ENNIS          6122 BOB DR                                                                                            YPSILANTI       MI   48197‐7003
MR GERALD L ERWIN          2490 FERGUSON RD                                                                                       ONTARIO         OH   44906‐1107
MR GERALD L FORST          1930 S WALNUT ST                                                                                       JANESVILLE      WI   53546‐6067
MR GERALD L GELL           3834 MARMION AVE                                                                                       FLINT           MI   48506‐4246
MR GERALD L GREENE JR      5900 BRIDGE RD APT 616                                                                                 YPSILANTI       MI   48197‐7009
MR GERALD L KUPRES         569 HELEN ST                                                                                           MOUNT MORRIS    MI   48458‐1922
MR GERALD L MIELS          1920 W 10TH ST                                                                                         MUNCIE          IN   47302‐2145
MR GERALD L NELSON         2104 DELANEY ST                                                                                        BURTON          MI   48509‐1025
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Name                                Address1                             Address2                  Address3   Address4                 City            State Zip
MR GERALD L WILLIS                  380 OAK ST                                                                                         MOUNT MORRIS     MI 48458‐1929
MR GERALD M KRASZEWSKI              2055 E SCOTTWOOD AVE                                                                               BURTON           MI 48529‐1749
MR GERALD M LEWIS                   11271 RIVEREDGE DR                                                                                 CLEVELAND        OH 44130‐1258
MR GERALD N PITTS SR                10916 TIDEWATER TRL                                                                                FREDERICKSBRG    VA 22408‐2045
MR GERALD P SHARLOW                 11 CHESTNUT ST                                                                                     MASSENA          NY 13662‐1807
MR GERALD R BELAND                  PO BOX 2006                                                                                        MIDLOTHIAN       VA 23113‐9006
MR GERALD R MCKEEVER                909 CAMERON AVE                                                                                    PONTIAC          MI 48340‐3213
MR GERALD R NELSON                  1423 W 14TH ST                                                                                     MUNCIE           IN 47302‐2912
MR GERALD R PECK                    712 GARNET RD                                                                                      WILMINGTON       DE 19804‐2614
MR GERALD S CALDWELL SR             864 PALMER DR                                                                                      PONTIAC          MI 48342‐1858
MR GERALD S SHAFFER                 812 CAMERON AVE                                                                                    PONTIAC          MI 48340‐3212
MR GERALD S WILLIAMS                2764 25TH ST                                                                                       DETROIT          MI 48216‐1055
MR GERALD W SPROLES                 2202 BRADY AVE                                                                                     BURTON           MI 48529‐2427
MR GERALD W TARPLEY                 2056 POST HOUSE CT                                                                                 BLOOMFIELD       MI 48304‐1047
MR GERALD W WALKER                  423 BAILEY SCALES RD                                                                               BEDFORD          IN 47421‐9396
MR GERALD WESLEY                    76 W RUTGERS AVE                                                                                   PONTIAC          MI 48340‐2756
MR GERALDO C SOUZA                  417 HOLLIS ST                                                                                      FRAMINGHAM       MA 01702‐8646
MR GERALDO J COELHO                 17 FOSS RD                                                                                         FRAMINGHAM       MA 01702‐8709
MR GERARD T NORTHRUP                11200 OXBOW ST                                                                                     LIVONIA          MI 48150‐3193
MR GERARDO P VILLAROMAN             790 MELROSE ST                                                                                     PONTIAC          MI 48340‐3121
MR GERARDO SALAS                    88 STEGMAN LN                                                                                      PONTIAC          MI 48340‐1664
MR GERHARD LUITHLEN                 ROTEICHENRING 27                                                          MANNHEIM D‐68167
                                                                                                              GERMANY
MR GERMAN BAHENG                    1105 KELLOGG AVE TRLR A12                                                                          JANESVILLE      WI   53546‐6082
MR GERMAN LOPEZ                     2135 VINEWOOD ST                                                                                   DETROIT         MI   48216‐5509
MR GERMAN OSEIDA                    558 HOLLIS ST                                                                                      FRAMINGHAM      MA   01702‐8624
MR GERMAN TRACEY                    37 LEANEE LN                                                                                       PONTIAC         MI   48340‐1651
MR GERY VAN DEN BOSCH               DEUTSCHE BANK SA/NV                  AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MR GEWARD R KOCH SR                 125 THE WOODS                                                                                      BEDFORD         IN 47421‐9300
MR GHEORGHE TAROG                   5524 ABRAHAM AVE                                                                                   CLEVELAND       OH 44130‐1318
MR GHEORGHE TRAMBITAS               11271 FAIRLAWN DR                                                                                  CLEVELAND       OH 44130‐1221
MR GHISLAIN NISEN & MRS ANNE        C/O DEUTSCHE BANK SA/NV              AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
DEFEVRIMONT
MR GIFFORD J REYNOLDS JR            10951 SHARON DR                                                                                    PARMA           OH   44130‐1430
MR GIL J BELAIR                     42 RANSOM AVE                                                                                      MASSENA         NY   13662‐1735
MR GIL M HANNON                     5900 BRIDGE RD APT 705                                                                             YPSILANTI       MI   48197‐7010
MR GILBERT C CUNNINGHAM JR          1330 W BURBANK AVE                                                                                 JANESVILLE      WI   53546‐6102
MR GILBERT DE BECKER & MRS CLAUDE   DEUTSCHE BANK SA/NV                  AVENUE MARNIX 13‐15       1000                                BRUXELLES
ONDERET
MR GILBERT F COLLINS                8 N MAIN ST APT 1                                                                                  MASSENA         NY   13662‐1148
MR GILBERT L RAFF                   4258 WINDMILL FARMS                                                                                MILFORD         MI   48380‐4279
MR GILBERT S HELLMANN               1111 N COURTLAND AVE                                                                               KOKOMO          IN   46901‐2755
MR GILL A VISKOVICH                 32 RANSOM AVE                                                                                      MASSENA         NY   13662‐1735
MR GILLESPIE MICHAEL                1112 17TH ST APT A                                                                                 BEDFORD         IN   47421‐4229
MR GILMAR R PORTILLO                2193 HUBBARD ST                                                                                    DETROIT         MI   48209‐3329
MR GILVERTO R MANUELL               421 N CATHERINE ST                                                                                 LANSING         MI   48917‐4905
MR GING J MOY                       47 SUBURBAN RD                                                                                     CLARK           NJ   07066‐1243
MR GIOVANNI MARAGLIANO              LOMBARD ODIER DARIER HENTSCH & CIE   11 RUE DE LA CORRATERIE              CH‐1204 GENEVA
                                                                                                              SWITZERLAND
MR GIOVANNI MARAGLIANO              LOMBARD ODIER DARIER HENTSCH & CIE   RUE DE LA CORRATERIE 11              1204 GENEVA
                                                                                                              SWITZERLAND
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Name                           Address1                              Address2                          Address3   Address4                City           State Zip
MR GIUSEPPE DALE               C/O D'ALESSANDRO AND PARTNERS ‐ SAE   VIA ANFITEATRO LATERIZIO NO 290              80035 NOLA NAPLES ITALY

MR GLEN A GAMBLIN              1516 N MARKET ST                                                                                           KOKOMO          IN   46901‐2370
MR GLEN A SUDDETH              129 W SHEFFIELD AVE                                                                                        PONTIAC         MI   48340‐1851
MR GLEN COLLARD                657 E FOX HILLS DR                                                                                         BLOOMFIELD      MI   48304‐1305
MR GLEN E MCNEW                1425 W 10TH ST                                                                                             MUNCIE          IN   47302‐2168
MR GLEN E SIMMERMAN            1515 15TH ST                                                                                               BEDFORD         IN   47421‐3601
MR GLEN J POWELL               706 HARWOOD RD                                                                                             WILMINGTON      DE   19804‐2659
MR GLEN M CURLESS              2202 COMMONS AVE                                                                                           JANESVILLE      WI   53546‐5966
MR GLEN R FIVECOATE            1601 N INDIANA AVE                                                                                         KOKOMO          IN   46901‐2043
MR GLEN R FRANTZ               215 W CORNELL AVE                                                                                          PONTIAC         MI   48340‐2725
MR GLENDEN R RAYNER            547 FOX HILLS DR S APT 1                                                                                   BLOOMFIELD      MI   48304‐1358
MR GLENN A TATTERSON           1417 E BOATFIELD AVE                                                                                       BURTON          MI   48529‐1601
MR GLENN C HEDRICK JR          905 DRYER FARM RD                                                                                          LANSING         MI   48917‐2389
MR GLENN CRABTREE              1610 W 10TH ST                                                                                             MUNCIE          IN   47302‐6605
MR GLENN D MOSES               1072 MEADOWLAWN DR                                                                                         PONTIAC         MI   48340‐1730
MR GLENN J FENNER              1118 TERRY AVE                                                                                             MOUNT MORRIS    MI   48458‐2567
MR GLENN R DAVIS               121 W LONGFELLOW AVE                                                                                       PONTIAC         MI   48340‐1831
MR GLENN V GODSEY              9898 HANSON CEMETERY RD                                                                                    BEDFORD         IN   47421‐9173
MR GLENN VAILLANCOURT          104 E ORVIS ST                                                                                             MASSENA         NY   13662‐4028
MR GLENN W YARBROUGH           2120 E JUDD RD                                                                                             BURTON          MI   48529‐2405
MR GOEBEL C POTTER             1166 CHERRYLAWN DR                                                                                         PONTIAC         MI   48340‐1704
MR GOLDMAN WATERS              2016 S PIERCE ST                                                                                           MUNCIE          IN   47302‐3013
MR GOPAL D CHAKRAVARTHY        651 ROLLING ROCK RD                                                                                        BLOOMFIELD      MI   48304‐1056
MR GOPALAKRISHNA GOVINDARAJA   4447 CLARKE DR                                                                                             TROY            MI   48085‐4906
IYENGAR
MR GORDON A STELLWAG           615 W 10TH ST                                                                                              MUNCIE         IN    47302‐3126
MR GORDON BREWER               1033 O ST                                                                                                  BEDFORD        IN    47421‐2813
MR GORDON C LANG               2199 LANSING ST APT 100                                                                                    DETROIT        MI    48209‐1693
MR GORDON C ROBISON            316 W NORTH ST                                                                                             KOKOMO         IN    46901‐2844
MR GORDON C SMITH              2001 N LAFOUNTAIN ST                                                                                       KOKOMO         IN    46901‐2320
MR GORDON E FLEMING            3 CLARK ST APT 4                                                                                           MASSENA        NY    13662‐1897
MR GORDON E HENDERSON          312 N JACKSON ST                                                                                           BEDFORD        IN    47421‐1526
MR GORDON F BIRCHARD JR        268 HIGHLAND AVE                                                                                           BLOOMFIELD     MI    48302‐0631
MR GORDON HEMING               3 CLARK ST APT 2                                                                                           MASSENA        NY    13662‐1897
MR GORDON J DEROUCHIE          37 PARKER AVE                                                                                              MASSENA        NY    13662‐2213
MR GORDON L BOTHUN             2111 S WALNUT ST                                                                                           JANESVILLE     WI    53546‐6135
MR GORDON L SIBBALD JR         4 NIPMUC RD                                                                                                FRAMINGHAM     MA    01702‐7228
MR GORDON L TAYLOR             952 CAMERON AVE                                                                                            PONTIAC        MI    48340‐3214
MR GORDON M CHRISTENSEN JR     2113 S CHATHAM ST                                                                                          JANESVILLE     WI    53546‐6114
MR GORDON R SEIBEL             1488 E PARKWOOD AVE                                                                                        BURTON         MI    48529‐1634
MR GORDON S CARLSON            11251 FAIRLAWN DR                                                                                          CLEVELAND      OH    44130‐1221
MR GORDON W STEWART            318 M ST                                                                                                   BEDFORD        IN    47421‐1817
MR GOVERNOR DAVIS              1215 W POWERS ST                                                                                           MUNCIE         IN    47305‐2144
MR GRADY D GOSSETT SR          1425 PROPER AVE                                                                                            BURTON         MI    48529‐2043
MR GRADY E TIDWELL             543 WALNUT ST                                                                                              MOUNT MORRIS   MI    48458‐1952
MR GRADY ROGERS                3384 VINEWOOD ST                                                                                           DETROIT        MI    48208‐2361
MR GRADY T CALDWELL            631 KINNEY RD                                                                                              PONTIAC        MI    48340‐2431
MR GRANDELL SCOTT JR           600 LANCASTER LN                                                                                           PONTIAC        MI    48342‐1850
MR GRANT G MCKEE               221 W HOPKINS AVE                                                                                          PONTIAC        MI    48340‐1825
MR GRANT HARVEY                215 W COLUMBIA AVE                                                                                         PONTIAC        MI    48340‐1815
MR GRANT L VINCENT             1104 NUTANA BLVD                                                                                           MOUNT MORRIS   MI    48458‐2134
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR GRANVILLE S HART IV     701 WOODSEDGE RD                                                                     WILMINGTON       DE 19804‐2625
MR GRATUS INGRAM           5717 CHEVROLET BLVD APT A305                                                         PARMA            OH 44130‐8722
MR GRAYDON M WOODRUFF II   2275 E BUDER AVE                                                                     BURTON           MI 48529‐1775
MR GREEN LARRY             168 W WALTON BLVD                                                                    PONTIAC          MI 48340‐1164
MR GREG A BAKER            1224 BURKE ST                                                                        KOKOMO           IN 46901‐1902
MR GREG A SNYDER           808 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2608
MR GREG C OLDHAM           735 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2627
MR GREG L CUNNINGHAM       1317 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2353
MR GREG MAYSE              1712 W 13TH ST                                                                       MUNCIE           IN 47302‐2177
MR GREG ROBERTS            1618 L ST                                                                            BEDFORD          IN 47421‐3730
MR GREG SAMSON             30 E STRATHMORE AVE                                                                  PONTIAC          MI 48340‐2764
MR GREG W CONNER           1700 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐6620
MR GREGG A SYPHERS         1720 W 13TH ST                                                                       MUNCIE           IN 47302‐2177
MR GREGG C FIELDS          10816 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8041
MR GREGG D PAULSEN         1465 OAK HOLLOW DR                                                                   MILFORD          MI 48380‐4264
MR GREGOR A SHIELDS        75 PARKER AVE                                                                        MASSENA          NY 13662‐2212
MR GREGORY A BRANT         2005 PROPER AVE                                                                      BURTON           MI 48529‐2047
MR GREGORY A BUNDERSON     2343 ASPEN ST                                                                        JANESVILLE       WI 53546‐6150
MR GREGORY A DAVIS         547 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1311
MR GREGORY A FLETCHER      605 BOXWOOD RD                                                                       WILMINGTON       DE 19804‐2010
MR GREGORY A GRABITZ       3311 VINEWOOD ST                                                                     DETROIT          MI 48208‐2360
MR GREGORY A STOKES        1227 15TH ST                                                                         BEDFORD          IN 47421‐3701
MR GREGORY A WHITE         1516 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐6038
MR GREGORY B HOHN          4211 RISEDORPH ST                                                                    BURTON           MI 48509‐1043
MR GREGORY C GLIDDEN       11011 FAIRLAWN DR                                                                    CLEVELAND        OH 44130‐1217
MR GREGORY D CARR JR       5671 CHEVROLET BLVD APT 3                                                            PARMA            OH 44130‐8715
MR GREGORY D GILMER        468 OAK ST                                                                           MOUNT MORRIS     MI 48458‐1931
MR GREGORY D THURNER       2105 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6114
MR GREGORY DAVIS           711 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1307
MR GREGORY E DORSEY        911 W 14TH ST                                                                        MUNCIE           IN 47302‐7613
MR GREGORY E LUCAS         1317 13TH ST                                                                         BEDFORD          IN 47421‐3224
MR GREGORY F LORD          1924 HUNTERS RIDGE DR                                                                BLOOMFIELD       MI 48304‐1036
MR GREGORY G DAVIDSON      534 S SPINNINGWHEEL LN                                                               BLOOMFIELD       MI 48304‐1318
MR GREGORY G GILSON        693 LOUNSBURY AVE                                                                    PONTIAC          MI 48340‐2451
MR GREGORY G HARCZ         812 SOUTH ST                                                                         MOUNT MORRIS     MI 48458‐2027
MR GREGORY GRAPSIDIS       671 STIRLING ST                                                                      PONTIAC          MI 48340‐3162
MR GREGORY HETZER          324 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1902
MR GREGORY J KLIETZ        4309 SANDHILL DR                                                                     JANESVILLE       WI 53546‐4420
MR GREGORY J MATHIS        4403 1/2 DAVISON RD LOT 26                                                           BURTON           MI 48509‐1400
MR GREGORY J NIEMANN       1412 PROPER AVE                                                                      BURTON           MI 48529‐2044
MR GREGORY J WAISANEN      519 N CATHERINE ST                                                                   LANSING          MI 48917‐2933
MR GREGORY JURZAK          484 FOX HILLS DR N APT 5                                                             BLOOMFIELD       MI 48304‐1336
MR GREGORY K FEDRICK       1212 14TH ST                                                                         BEDFORD          IN 47421‐3229
MR GREGORY K PFEIFFER      6031 LAKE DR                                                                         YPSILANTI        MI 48197‐7016
MR GREGORY L ARMSTEAD      10930 TIDEWATER TRL APT B                                                            FREDERICKSBRG    VA 22408‐2045
MR GREGORY L FAJA          227 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2763
MR GREGORY L HORN          1338 BRADY AVE                                                                       BURTON           MI 48529‐2008
MR GREGORY L KELLEY        4104 WOODROW AVE                                                                     BURTON           MI 48509‐1052
MR GREGORY L LIFER         2000 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐5973
MR GREGORY L POMEROY       2066 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1724
MR GREGORY L WHITCOMB      4361 SHUBERT AVE                                                                     BURTON           MI 48529‐2138
MR GREGORY L WOODWARD      801 9TH ST                                                                           BEDFORD          IN 47421‐2605
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Name                         Address1                         Address2              Address3         Address4         City           State Zip
MR GREGORY M LEMANSKI        3323 W SAGINAW ST                                                                        LANSING         MI 48917‐2312
MR GREGORY M M OLDFORD       4181 WINDMILL FARMS                                                                      MILFORD         MI 48380‐4279
MR GREGORY M PAQUIN          154 ANDREWS ST                                                                           MASSENA         NY 13662‐1837
MR GREGORY O ALLEN           2001 N CENTER RD APT 222                                                                 FLINT           MI 48506‐3182
MR GREGORY P MANGETT         4403 1/2 DAVISON RD LOT 42                                                               BURTON          MI 48509‐1400
MR GREGORY P RUDDY           1891 HUNTERS RIDGE DR                                                                    BLOOMFIELD      MI 48304‐1035
MR GREGORY PRIDEGON SR       820 TULANE DR                                                                            FLINT           MI 48503‐5253
MR GREGORY R JORDAN          11609 TEMPERANCE ST                                                                      MOUNT MORRIS    MI 48458‐2030
MR GREGORY S ATKINS          1717 N APPERSON WAY                                                                      KOKOMO          IN 46901‐2349
MR GREGORY S BROUSSEAU       47 DOUGLAS RD                                                                            MASSENA         NY 13662‐2135
MR GREGORY S DALTON          922 W 15TH ST                                                                            MUNCIE          IN 47302‐3064
MR GREGORY S KORVELA         704 18TH ST                                                                              BEDFORD         IN 47421‐4210
MR GREGORY S LUTTRELL        178 WALNUT HEIGHTS RD                                                                    BEDFORD         IN 47421‐8168
MR GREGORY S OTTO            1921 W 8TH ST APT A                                                                      MUNCIE          IN 47302‐2174
MR GREGORY S PATTINSON       3838 WHITTIER AVE                                                                        FLINT           MI 48506‐3161
MR GREGORY W DOTSON          4235 RISEDORPH ST                                                                        BURTON          MI 48509‐1043
MR GREIG E LOVE SR           177 MAIN ST APT 2                                                                        MASSENA         NY 13662‐2900
MR GREY LUGO                 5601 CHEVROLET BLVD APT C306                                                             CLEVELAND       OH 44130‐1480
MR GRIFFITH R CANFIELD       2015 OLD OAKLAND AVE                                                                     LANSING         MI 48915‐1350
MR GROVER C ROSE JR          1261 STANLEY AVE                                                                         PONTIAC         MI 48340‐1746
MR GUADALUPE GARCIA 3D       3732 LORRAINE AVE                                                                        FLINT           MI 48506‐4216
MR GUERIN D MILLER           255 W FAIRMOUNT AVE                                                                      PONTIAC         MI 48340‐2741
MR GUIDO A PADOVANI          18 W CONRAD DR                                                                           WILMINGTON      DE 19804‐2040
MR GUIDO VANDEN CAMP & MRS   C/O DEUTSCHE BANK SA/NV          AVENUE MARNAX 13‐15   1000 BURXELLES   BELGIUM
HERMINE WALSCHOTS
MR GUILLERMO MELENDZ         987 DEWEY ST                                                                             PONTIAC        MI   48340‐2635
MR GUILLERMO SUARZ           3451 LOCKWOOD ST                                                                         DETROIT        MI   48210‐3254
MR GUILLERMO V CALZADA       5634 MERRITT ST                                                                          DETROIT        MI   48209‐1318
MR GUIXIAN LU                853 MELROSE ST                                                                           PONTIAC        MI   48340‐3126
MR GUO J ZHANG JR            221 RILEY BLVD                                                                           BEDFORD        IN   47421‐9646
MR GUS S ALMASY              654 ELM ST                                                                               MOUNT MORRIS   MI   48458‐1918
MR GUS T JOHNSON             576 HARRIET ST                                                                           FLINT          MI   48505‐4753
MR GUSTABO GAYTAN            144 W YPSILANTI AVE                                                                      PONTIAC        MI   48340‐1873
MR GUSTAV J MATHES           686 LOUNSBURY AVE                                                                        PONTIAC        MI   48340‐2449
MR GUSTAVAS L PEARSON        1114 AMOS ST                                                                             PONTIAC        MI   48342‐1802
MR GUSTAVE A LINELL          2373 N LABADIE                                                                           MILFORD        MI   48380‐4242
MR GUTIERREZ GRACIELA        710 CORWIN AVE                                                                           PONTIAC        MI   48340‐2412
MR GUY E MARTIN              36 PROSPECT AVE                                                                          MASSENA        NY   13662‐1744
MR GUY H RUMSEY              1709 O ST                                                                                BEDFORD        IN   47421‐4118
MR GUY J BLACKBURN           2005 FOX GLEN CT                                                                         BLOOMFIELD     MI   48304‐1007
MR GUY M STERLING            137 W RUTGERS AVE                                                                        PONTIAC        MI   48340‐2759
MR GUY OBRIEN                2139 CLARK ST                                                                            DETROIT        MI   48209‐3907
MR GUY PHILIP DEMOINES JR    100 BURTON AVE                                                                           CLARKSBURG     WY   26301‐4412
MR GUY R DESROCHERS          716 WEYBRIDGE DR                                                                         BLOOMFIELD     MI   48304‐1084
MR GUY S WEVER               1475 MOUNT PLEASANT RD                                                                   BEDFORD        IN   47421‐8032
MR GWENDLYNN L HALL          1709 W 9TH ST                                                                            MUNCIE         IN   47302‐2122
MR HAI L ZHANG               541 W FAIRMOUNT AVE                                                                      PONTIAC        MI   48340‐1602
MR HAIDER H ALAUGALY         11220 RIVEREDGE DR                                                                       PARMA          OH   44130‐1257
MR HALE F DUHR               1840 S CHATHAM ST                                                                        JANESVILLE     WI   53546‐6063
MR HALIM A GHAZALE           1035 ANGOLA AVE                                                                          MOUNT MORRIS   MI   48458‐2101
MR HALLOWED L HOWELL JR      2 LYNAM PL                                                                               WILMINGTON     DE   19804‐2032
MR HANDYMAN INTERNATIONAL    3948 RANCHERO DR                                                                         ANN ARBOR      MI   48108‐2775
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Name                      Address1                       Address2            Address3         Address4            City            State Zip
MR HANNS ‐ R OESER        SCHNEPFENWEG 5                                                      D‐30900 WEDEMARK
                                                                                              GERMANY
MR HANSEL L FULBRIGHT     2092 JAMES ST                                                                           BURTON          MI    48529‐1348
MR HARACIO RUBIO          1539 KELLOGG AVE                                                                        JANESVILLE      WI    53546‐6023
MR HARI B PUTCHAKAYALA    10500 FOUNTAIN LAKE DR         OFC                                                      STAFFORD        TX    77477‐3790
MR HARLAN A MURRAY        9 LAUREL AVE APT 307                                                                    MASSENA         NY    13662‐2054
MR HARLAN S MARTIN        33 HIGHLAND AVE                                                                         MASSENA         NY    13662‐1729
MR HARLEY B RAY           1026 NUTANA BLVD                                                                        MOUNT MORRIS    MI    48458‐2121
MR HARLEY D BROWN         162 THE WOODS                                                                           BEDFORD         IN    47421‐9300
MR HARMON SMITH JR        2225 E WILLIAMSON ST                                                                    BURTON          MI    48529‐2447
MR HARMON W THOMAS JR     272 W KENNETT RD                                                                        PONTIAC         MI    48340‐1724
MR HAROLD A BERRYMAN      10914 STACY RUN                                                                         FREDERICKSBRG   VA    22408‐8047
MR HAROLD A BUTLER        42 LINCOLN AVE                                                                          BEDFORD         IN    47421‐1611
MR HAROLD A FLYNN         18 BRIGHTON ST                                                                          MASSENA         NY    13662‐2228
MR HAROLD B LIXEY         185 13 COLONIES LN                                                                      FLINT           MI    48507‐5908
MR HAROLD C BORGMAN       11350 SHARON DR                                                                         PARMA           OH    44130‐1438
MR HAROLD C CLEGG         304 BON AIR RD                                                                          LANSING         MI    48917‐2903
MR HAROLD C HESS          176 W ANN ARBOR AVE                                                                     PONTIAC         MI    48340‐1802
MR HAROLD D CRYSTAL       1508 WEBBER AVE                                                                         BURTON          MI    48529‐2038
MR HAROLD E COPE          995 FULWELL DR                                                                          ONTARIO         OH    44906‐1110
MR HAROLD E CROSS         1101 W 1ST ST                                                                           MUNCIE          IN    47305‐2104
MR HAROLD E MILLOY        2152 MORRIS AVE                                                                         BURTON          MI    48529‐2105
MR HAROLD E MITCHELL      115 O ST                                                                                BEDFORD         IN    47421‐1713
MR HAROLD E MOUSER        1704 N LAFOUNTAIN ST                                                                    KOKOMO          IN    46901‐2324
MR HAROLD E RILEY         52 LYNBROOK RD                                                                          WILMINGTON      DE    19804‐2670
MR HAROLD E STONE SR      907 H ST                                                                                BEDFORD         IN    47421‐2617
MR HAROLD F HOUSE         2140 N ARMSTRONG ST                                                                     KOKOMO          IN    46901‐5801
MR HAROLD F JOHNSON JR    1256 LIZA BLVD                                                                          PONTIAC         MI    48342‐1984
MR HAROLD H EMMONS        309 N ROSEMARY ST                                                                       LANSING         MI    48917‐2975
MR HAROLD H SHAW          655 INGLEWOOD AVE                                                                       PONTIAC         MI    48340‐2310
MR HAROLD HILL            11009 N SAGINAW ST APT 1                                                                MOUNT MORRIS    MI    48458‐2029
MR HAROLD HOLLAND         578 JARED DR                                                                            PONTIAC         MI    48342‐1986
MR HAROLD J DOBBS         1617 W 7TH ST                                                                           MUNCIE          IN    47302‐2190
MR HAROLD J HALECKES      1509 W 6TH ST                                                                           MUNCIE          IN    47302‐2106
MR HAROLD J MORLEY        2106 E MCLEAN AVE                                                                       BURTON          MI    48529‐1740
MR HAROLD J VANETTEN      2228 E WHITTEMORE AVE                                                                   BURTON          MI    48529‐1728
MR HAROLD L BUTLER        1302 E YALE AVE                                                                         FLINT           MI    48505‐1753
MR HAROLD L COMBS         1517 EVERGREEN DR                                                                       JANESVILLE      WI    53546‐6175
MR HAROLD L JONES         1224 E KURTZ AVE                                                                        FLINT           MI    48505‐1765
MR HAROLD L LASLEY        226 RILEY BLVD                                                                          BEDFORD         IN    47421‐9648
MR HAROLD NEVILS JR       483 W COLUMBIA AVE APT 206                                                              PONTIAC         MI    48340‐1644
MR HAROLD R BEAMISH       536 EMERSON AVE                                                                         PONTIAC         MI    48342‐1826
MR HAROLD R CHALFANT      807 N AUGUSTINE ST                                                                      WILMINGTON      DE    19804‐2607
MR HAROLD R GILLAM        1721 N BELL ST                                                                          KOKOMO          IN    46901‐2331
MR HAROLD R LANGE         11800 BROOKPARK RD TRLR 143                                                             CLEVELAND       OH    44130‐1189
MR HAROLD R SCHULZE       2223 COMMONS AVE                                                                        JANESVILLE      WI    53546‐5965
MR HAROLD R SEIDLE        1411 DIVE RD                                                                            BEDFORD         IN    47421‐1521
MR HAROLD R STARK         10 RIDGEWOOD AVE                                                                        MASSENA         NY    13662‐2115
MR HAROLD R WILLIAMS      100 W RUTGERS AVE                                                                       PONTIAC         MI    48340‐2758
MR HAROLD STEVENSON       1305 K ST APT 226                                                                       BEDFORD         IN    47421‐3242
MR HAROLD T BURRIDGE JR   316 W YPSILANTI AVE                                                                     PONTIAC         MI    48340‐1667
MR HAROLD T PENNA         6063 LAKE DR                                                                            YPSILANTI       MI    48197‐7017
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Name                       Address1                     Address2            Address3         Address4                City            State Zip
MR HAROLD W BAKER          405 HELTONVILLE RD W                                                                      BEDFORD          IN 47421‐9390
MR HAROLD W MOUSSEAU JR    10 GROVE ST                                                                               MASSENA          NY 13662‐2031
MR HAROLD WHITE            9 LAUREL AVE APT 308                                                                      MASSENA          NY 13662‐2057
MR HARRIS W MATHENY        617 W 13TH ST                                                                             MUNCIE           IN 47302‐7601
MR HARRISON COLLINS        218 WALNUT HEIGHTS RD                                                                     BEDFORD          IN 47421‐8169
MR HARRY A RITSERT         104 ROSSER ST                                                                             FREDERICKSBRG    VA 22408‐2016
MR HARRY C SCOTT           695 CAMERON AVE                                                                           PONTIAC          MI 48340‐3203
MR HARRY J ABRESCH         2115 N ARMSTRONG ST                                                                       KOKOMO           IN 46901‐5802
MR HARRY J DALZELL         1957 HUNTERS RIDGE DR                                                                     BLOOMFIELD       MI 48304‐1037
MR HARRY J DUNN JR         730 LIVINGSTON AVE                                                                        PONTIAC          MI 48340‐2445
MR HARRY J JONES JR        2056 FOX GLEN CT                                                                          BLOOMFIELD       MI 48304‐1006
MR HARRY J NICKEL          1618 ARBUTUS ST                                                                           JANESVILLE       WI 53546‐6142
MR HARRY J ROSS            631 CAMERON AVE                                                                           PONTIAC          MI 48340‐3201
MR HARRY J WITKOP          8 SCHOOL ST                                                                               MASSENA          NY 13662‐1711
MR HARRY KACZMARCZYK       326 PENFIELD AVE                                                                          ELYRIA           OH 44035‐3237
MR HARRY L MARTIN          4090 HOMESTEAD DR APT 16                                                                  BURTON           MI 48529‐1657
MR HARRY L MCCULLOUGH JR   1147 CHESTNUT ST                                                                          PONTIAC          MI 48342‐1891
MR HARRY L SNELL SR        207 N DEERFIELD AVE                                                                       LANSING          MI 48917‐2908
MR HARRY N HAMBRIC         10905 STACY RUN                                                                           FREDERICKSBRG    VA 22408‐8046
MR HARRY ROACH             260 WALNUT HEIGHTS RD                                                                     BEDFORD          IN 47421‐8169
MR HARRY RODRIGUEZ         1017 STANLEY AVE                                                                          PONTIAC          MI 48340‐1779
MR HARRY S DUNCAN          413 E ST                                                                                  BEDFORD          IN 47421‐2242
MR HARRY T BROWN           775 KENILWORTH AVE                                                                        PONTIAC          MI 48340‐3101
MR HARRY TURNER            50 SUBURBAN RD                                                                            CLARK            NJ 07066‐1244
MR HARVEY J WATTS          11220 HALLER ST                                                                           LIVONIA          MI 48150‐3179
MR HARVEY L MILLER JR      3841 WHITTIER AVE                                                                         FLINT            MI 48506‐3160
MR HARVEY L WHITLOW        5260 COMMERCE PKWY W                                                                      CLEVELAND        OH 44130‐1271
MR HARVEY PLASKOV          12359 HARTEL ST                                                                           LIVONIA          MI 48150‐2378
MR HASIB AHMIC             11052 NAOMI DR                                                                            PARMA            OH 44130‐1552
MR HASSAN H PABRIZI        2372 FERGUSON RD                                                                          ONTARIO          OH 44906‐1177
MR HAYWARD J JACKSON JR    30114 WARREN RD # 118‐BM                                                                  WESTLAND         MI 48185‐2901
MR HBARRY B FOSTER         1169 UNIVERSITY DR                                                                        PONTIAC          MI 48342‐1874
MR HECTOR D GRANDE         115 LEGRANDE AVE                                                                          PONTIAC          MI 48342‐1135
MR HECTOR ESPARZA          49 W COLUMBIA AVE                                                                         PONTIAC          MI 48340‐1807
MR HECTOR GONZALEZ         4847 SAINT HEDWIG ST                                                                      DETROIT          MI 48210‐3222
MR HECTOR HERNANDEZ        28 BATES RD                                                                               FRAMINGHAM       MA 01702‐8704
MR HECTOR J GONZALEZ       146 W STRATHMORE AVE                                                                      PONTIAC          MI 48340‐2774
MR HECTOR L ALVAREZ JR     2199 LANSING ST APT 303                                                                   DETROIT          MI 48209‐2262
MR HECTOR L NAZARIO        686 STANLEY AVE                                                                           PONTIAC          MI 48340‐2469
MR HECTOR L SANTIAGO       4831 TOLEDO ST                                                                            DETROIT          MI 48209‐1374
MR HECTOR L VAZQUEZ        522 HOLLIS ST                                                                             FRAMINGHAM       MA 01702‐8645
MR HECTOR M HERNANDEZ      4756 PLUMER ST                                                                            DETROIT          MI 48209‐1390
MR HECTOR M SANCHEZ        125 KEMP ST                                                                               PONTIAC          MI 48342‐1445
MR HECTOR MATOS            236 W ANN ARBOR AVE                                                                       PONTIAC          MI 48340‐1804
MR HECTOR O IRIZARRY       792 MONTICELLO AVE                                                                        PONTIAC          MI 48340‐2322
MR HEE WAN LEE             PIET MODRIAN STR 64                                               51375 LEVERKUSEN
                                                                                             GERMANY
MR HEIN K TLUSTEK          369 BOYD LN                                                                               BEDFORD         IN   47421‐7571
MR HEIN TLUSTEK            1104 LINCOLN AVE                                                                          BEDFORD         IN   47421‐2925
MR HEINO A LIPPASSAAR      28 ROCKAWAY ST                                                                            MASSENA         NY   13662‐2107
MR HENDERSON GERMAN        804 PALMER DR                                                                             PONTIAC         MI   48342‐1858
MR HENRICH MEYER‐BORSTEL   HECKENROSENWEG 7                                                  38518 GIFHORN GERMANY
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Name                        Address1                          Address2            Address3         Address4               City            State Zip
MR HENRY A MANELSKI         202 TERRY PL                                                                                  WILMINGTON       DE 19804‐2036
MR HENRY ACEVEDO            838 E MOUNT MORRIS ST                                                                         MOUNT MORRIS     MI 48458‐2054
MR HENRY B KARAWAN JR       4722 PLUMER ST                                                                                DETROIT          MI 48209‐1390
MR HENRY C KRITZMAN         1169 STANLEY AVE                                                                              PONTIAC          MI 48340‐1780
MR HENRY C WALLACE          72 W YPSILANTI AVE                                                                            PONTIAC          MI 48340‐1871
MR HENRY CHOW               1969 HUNTERS RIDGE DR                                                                         BLOOMFIELD       MI 48304‐1037
MR HENRY COCHRAN            618 BRYNFORD AVE                                                                              LANSING          MI 48917‐4900
MR HENRY D WILBUR           3006 HARWICK DR APT 1                                                                         LANSING          MI 48917‐2359
MR HENRY G HARRIS           4227 TOLEDO ST                                                                                DETROIT          MI 48209‐1364
MR HENRY K ARMSTAD          3511 MCKINLEY ST                                                                              DETROIT          MI 48208‐2346
MR HENRY KOPPOE             11700 HALLER ST                                                                               LIVONIA          MI 48150‐2372
MR HENRY KRAUZIEWICZ        11160 KAREN ST                                                                                LIVONIA          MI 48150‐3145
MR HENRY L GATES JR         1294 LOCKE ST                                                                                 PONTIAC          MI 48342‐1946
MR HENRY L GOOD             36 W STRATHMORE AVE                                                                           PONTIAC          MI 48340‐2770
MR HENRY LEUNG JR           581 BEACH ST                                                                                  MOUNT MORRIS     MI 48458‐1905
MR HENRY M RUSSELL          162 W LONGFELLOW AVE                                                                          PONTIAC          MI 48340‐1830
MR HENRY N HOGG             1903 N LAFOUNTAIN ST                                                                          KOKOMO           IN 46901‐2321
MR HENRY P MARZENSKI JR     10780 DEBORAH DR                                                                              CLEVELAND        OH 44130‐1372
MR HENRY P MCCARTHY         10 CLARK ST                                                                                   MASSENA          NY 13662‐1812
MR HENRY P NADEAU           45 HIGHLAND AVE                                                                               MASSENA          NY 13662‐1728
MR HENRY PERRY              2199 LANSING ST APT 302                                                                       DETROIT          MI 48209‐2262
MR HENRY RHOADES            929 W 13TH ST                                                                                 MUNCIE           IN 47302‐7607
MR HENRY SCHOENSEE          77 EUCLID AVE                                                                                 PONTIAC          MI 48342‐1114
MR HENRY T ALFREE           618 BOXWOOD RD                                                                                WILMINGTON       DE 19804‐2011
MR HENRY T NASH             3026 VINEWOOD ST                                                                              DETROIT          MI 48216‐1086
MR HENRY T NASH             3237 VINEWOOD ST                                                                              DETROIT          MI 48216‐1022
MR HENRY VALERO             11470 SHARON DR APT D110                                                                      PARMA            OH 44130‐8703
MR HERB LEVITT              77 CENTRAL AVE STE 201                                                                        CLARK            NJ 07066‐1441
MR HERBERT A GIBSON 3D      408 FOX HILLS DR S APT 3                                                                      BLOOMFIELD       MI 48304‐1346
MR HERBERT C GRIFFITH       2408 LINKWOOD AVE                                                                             WILMINGTON       DE 19805‐2330
MR HERBERT C LANG SR        706 SPELLMAN DR                                                                               FLINT            MI 48503‐5228
MR HERBERT COLEMAN JR       2190 COVERT RD                                                                                BURTON           MI 48509‐1065
MR HERBERT E NUGENT         926 I ST                                                                                      BEDFORD          IN 47421‐2624
MR HERBERT ISAAC            989 UNIVERSITY DR STE 101                                                                     PONTIAC          MI 48342‐1885
MR HERBERT J ADAMS JR       54 W HOPKINS AVE                                                                              PONTIAC          MI 48340‐1816
MR HERBERT J PHILLIPS JR    965 CARLISLE ST                                                                               PONTIAC          MI 48340‐2626
MR HERBERT KING             1605 W 11TH ST                                                                                MUNCIE           IN 47302‐6612
MR HERBERT L ISAAC II       561 FOX RIVER DR                                                                              BLOOMFIELD       MI 48304‐1011
MR HERBERT L KEETON         800 W 11TH ST                                                                                 MUNCIE           IN 47302‐3171
MR HERBERT L PICKETT        11241 GARDEN ST                                                                               LIVONIA          MI 48150‐3178
MR HERBERT R KERLEY SR      1900 N MORRISON ST                                                                            KOKOMO           IN 46901‐2147
MR HERBERT S STEVENS        1905 W 8TH ST                                                                                 MUNCIE           IN 47302‐2117
MR HERBERT SCHMITZ & MRS.   HASENFELD 21                                                           52066 AACHEN GERMANY
HANNELORE KELSCH‐SCHMITZ
MR HERBERT T ELROD          2206 E WILLIAMSON ST                                                                          BURTON          MI   48529‐2446
MR HERIBERTO DIAZ           4653 TOLEDO ST                                                                                DETROIT         MI   48209‐1370
MR HERMAN DAVIS             1605 S GHARKEY ST                                                                             MUNCIE          IN   47302‐3178
MR HERMAN E MCKINNIE        1120 N COURTLAND AVE                                                                          KOKOMO          IN   46901‐2756
MR HERMAN F WILLIAMS JR     2700 MCKENZIE LN                                                                              FREDERICKSBRG   VA   22408‐8072
MR HERMAN G LARROW          29 DOUGLAS RD                                                                                 MASSENA         NY   13662‐2136
MR HERMAN L MICKENS         2075 E SPINNINGWHEEL LN                                                                       BLOOMFIELD      MI   48304‐1064
MR HERMAN M WHITE           2901 BROYHILL CT                                                                              FREDERICKSBRG   VA   22408‐2069
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Name                              Address1                            Address2            Address3         Address4             City            State Zip
MR HERMAN PREVO                   639 LOUNSBURY AVE                                                                             PONTIAC          MI 48340‐2448
MR HERMAN R PREVO                 635 LOUNSBURY AVE                                                                             PONTIAC          MI 48340‐2448
MR HERMANN ABESSER                BERGWINKEL 271                                                           A 5084 GROSSGMAIN
                                                                                                           AUSTRIA
MR HERMENEGILDO LEAL              4764 TOLEDO ST                                                                                DETROIT         MI   48209‐1373
MR HERNANDEZ NICOLAS              67 W BEVERLY AVE                                                                              PONTIAC         MI   48340‐2617
MR HERO                           ATTN: RISHIL PATEL                  5820 STUMPH RD                                            CLEVELAND       OH   44130‐1736
MR HERRICK T BULGER               8 PROSPECT AVE                                                                                MASSENA         NY   13662‐1745
MR HERSCHEL S CRAIN SR            2013 N LAFOUNTAIN ST                                                                          KOKOMO          IN   46901‐2320
MR HERSHAL O SMITH                2000 LINKWOOD AVE                                                                             WILMINGTON      DE   19805‐2418
MR HERSHEL L HOWE                 301 L ST                                                                                      BEDFORD         IN   47421‐1809
MR HERSIE L WOODALL               647 BUENA VISTA ST APT 14                                                                     MOUNT MORRIS    MI   48458‐1962
MR HILDEGARDO V SARABIA           46 SUBURBAN RD                                                                                CLARK           NJ   07066‐1244
MR HIPOLITO BAERGA                725 HOLLISTER ST                                                                              PONTIAC         MI   48340‐2429
MR HIRAM J HOWARD                 98 BROOKE DR                                                                                  FREDERICKSBRG   VA   22408‐2000
MR HIROYUKI NISHIHIRA             2006 PROPER AVE                                                                               BURTON          MI   48529‐2048
MR HOBART L TINGLEY               1709 N WEBSTER ST                                                                             KOKOMO          IN   46901‐2103
MR HOJJAT M SHAMLOO               137 THE WOODS                                                                                 BEDFORD         IN   47421‐9300
MR HOLLEN A WYATT                 40 READ AVE                                                                                   WILMINGTON      DE   19804‐2034
MR HOLLIS A TRAYWICK              1305 K ST APT 220                                                                             BEDFORD         IN   47421‐3241
MR HOLLIS X SMITH JR              1421 W 8TH ST                                                                                 MUNCIE          IN   47302‐2164
MR HOMER C BERRY                  1415 E BRISTOL RD                                                                             BURTON          MI   48529‐2213
MR HOMER C MOORE                  1523 1ST ST                                                                                   BEDFORD         IN   47421‐1701
MR HOMER G EDWARDS & MRS MARTHA   15053 ASHMONT BLVD SE                                                                         HUNTSVILLE      AL   35803
H EDWARDS
MR HOMER L GRUBB JR               78 LINCOLN AVE                                                                                BEDFORD         IN   47421‐1611
MR HOMER L MALLETTE SR            4063 RISEDORPH ST                                                                             BURTON          MI   48509‐1039
MR HOMER P MORRIS                 4 E KEYSTONE AVE                                                                              WILMINGTON      DE   19804‐2024
MR HOMERO A TAMEZ                 274 W COLUMBIA AVE                                                                            PONTIAC         MI   48340‐1710
MR HONG N YANG                    2665 COMPTON DR                                                                               WATERFORD       MI   48329‐3379
MR HORACE ANDERSON                1299 E CORNELL AVE                                                                            FLINT           MI   48505‐1750
MR HORACE M THOMPSON              854 BAY ST                                                                                    PONTIAC         MI   48342‐1902
MR HORATIU C LUNGU                10780 RIVEREDGE DR                                                                            CLEVELAND       OH   44130‐1245
MR HORST KARCHER                  GEWERBESTR 42                                                            75217 B▄RLENZFELD
                                                                                                           GERMANY
MR HOSEA K BOYKIN                 1926 W 8TH ST                                                                                 MUNCIE          IN   47302‐2183
MR HOWARD A STITES                1368 STANLEY AVE                                                                              PONTIAC         MI   48340‐1750
MR HOWARD BECKSTROM               2116 N WASHINGTON ST                                                                          KOKOMO          IN   46901‐5838
MR HOWARD C BELLROSE              59 GROVE ST                                                                                   MASSENA         NY   13662‐2128
MR HOWARD C KAMMERUD              1509 ARBUTUS ST                                                                               JANESVILLE      WI   53546‐6141
MR HOWARD C TOLBERT               717 BAY ST                                                                                    PONTIAC         MI   48342‐1921
MR HOWARD C WILLIAMSON            19 HILLCREST AVE                                                                              MASSENA         NY   13662‐1820
MR HOWARD D BAILEY                2014 JOLSON AVE                                                                               BURTON          MI   48529‐2032
MR HOWARD DARLEY                  2082 CASHIN ST                                                                                BURTON          MI   48509‐1138
MR HOWARD DAVIS                   724 KETTERING AVE                                                                             PONTIAC         MI   48340‐3246
MR HOWARD ELKINS                  709 OXFORD ST                                                                                 BEDFORD         IN   47421‐1539
MR HOWARD J BULLY                 1047 E GRAND BLVD                                                                             FLINT           MI   48505‐1505
MR HOWARD J GREFSHEIM             2135 S PEARL ST                                                                               JANESVILLE      WI   53546‐6118
MR HOWARD J PREMO                 6 HILLCREST AVE                                                                               MASSENA         NY   13662‐1821
MR HOWARD J SANTAMONT             9 LAUREL AVE APT 510                                                                          MASSENA         NY   13662‐2056
MR HOWARD L FOREMAN               910 W 14TH ST                                                                                 MUNCIE          IN   47302‐7614
MR HOWARD L TYLER                 1910 BRISTOL COURT DR                                                                         MOUNT MORRIS    MI   48458‐2187
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Name                       Address1                         Address2              Address3       Address4                 City            State Zip
MR HOWARD L WATKINS        45 UNIVERSITY PLACE DR                                                                         PONTIAC          MI 48342‐1882
MR HOWARD M LIEBMAN        30 AVENUE DE BOETENDAEL                                               1180 BRUSSELS BELGIUM
MR HOWARD P STANLEY        2151 WEBBER AVE                                                                                BURTON          MI   48529‐2413
MR HOWARD R SELEE          10970 GABRIELLA DR                                                                             CLEVELAND       OH   44130‐1466
MR HOWARD THOMPSON         10800 GABRIELLA DR                                                                             PARMA           OH   44130‐1464
MR HOWARD W HARMAN JR      312 HELTONVILLE RD W                                                                           BEDFORD         IN   47421‐9387
MR HOWARD W HARPER         815 H ST                                                                                       BEDFORD         IN   47421‐2615
MR HUBERT A PARISIAN       16 RANSOM AVE                                                                                  MASSENA         NY   13662‐1848
MR HUBERT A SHAW           123 N GRACE ST                                                                                 LANSING         MI   48917‐2947
MR HUBERT ESTIENNE         C/O DEUTSCHE BANK SA/NC          AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MR HUBERT F SABINS         87 GROVE ST                                                                                    MASSENA         NY 13662‐2615
MR HUBERT H HORN           1393 READY AVE                                                                                 BURTON          MI 48529‐2051
MR HUBERT R FLYNN          436 I ST                                                                                       BEDFORD         IN 47421‐2216
MR HUBERTUS VON BACHMAYR   45 RUE JEAN MERMOZ                                                    78620 L'ETANGLAVILLE
                                                                                                 FRANCE
MR HUGH A DUBRAY JR        169 ALLEN ST                                                                                   MASSENA         NY   13662‐1803
MR HUGH F KLUESNER         945 HELTONVILLE RD E                                                                           BEDFORD         IN   47421‐8184
MR HUGH F SEMPLE           1355 E KURTZ AVE                                                                               FLINT           MI   48505‐1766
MR HUGH J LEONARD          1930 N MORRISON ST                                                                             KOKOMO          IN   46901‐2147
MR HUGH P MITCHELL         409 SHANDELL DR                                                                                BEDFORD         IN   47421‐9662
MR HUGH W MCELHERAN        60 PROSPECT AVE                                                                                MASSENA         NY   13662‐1743
MR HUGO J LUTI             28 READ AVE                                                                                    WILMINGTON      DE   19804‐2034
MR HUGO R MENDEZ           54 GUILD RD                                                                                    FRAMINGHAM      MA   01702‐8713
MR HUMBERTO EMBARCADERO    52 BLAINE AVE                                                                                  PONTIAC         MI   48342‐1100
MR HY Y RICHMOND           1299 E HARVARD AVE                                                                             FLINT           MI   48505‐1758
MR IAN G SULLIVAN          2611 SYLVAN AVE                                                                                WILMINGTON      DE   19805‐2344
MR IAN H FOX               2002 WICKFORD CT                                                                               BLOOMFIELD      MI   48304‐1087
MR IAN I AGEE              1202 BRISTOL COURT DR                                                                          MOUNT MORRIS    MI   48458‐2180
MR IAN M JAGER             9827 JULIE DR                                                                                  YPSILANTI       MI   48197‐7092
MR IGOR J SENKOVSKI        536 E FOX HILLS DR                                                                             BLOOMFIELD      MI   48304‐1302
MR IGORS STEPANOUS         765 E FOX HILLS DR                                                                             BLOOMFIELD      MI   48304‐1343
MR IKE G WILSON            1122 W 16TH ST                                                                                 MUNCIE          IN   47302‐3079
MR IOAN CORNEA             11299 RICHARD DR                                                                               CLEVELAND       OH   44130‐1342
MR IOAN TRAMBITAS          11091 NAOMI DR                                                                                 CLEVELAND       OH   44130‐1553
MR IRA J SHERRILL          2239 MOUNT PLEASANT RD                                                                         BEDFORD         IN   47421‐8038
MR IRA V PEARSON           621 WALKER ST                                                                                  MOUNT MORRIS    MI   48458‐1946
MR IRVIN ZIMET             5403 BRANDY CIRCLE                                                                             FORT MYERS      FL   33919
MR IRVING E LUEBKE         2209 SHERIDAN ST                                                                               JANESVILLE      WI   53546‐5976
MR IRWIN STATEN            2604 MELISSA CT                                                                                FREDERICKSBRG   VA   22408‐8069
MR ISAAC D SELLERS         65 W FAIRMOUNT AVE                                                                             PONTIAC         MI   48340‐2733
MR ISAAC EPERSON           4233 W 20TH ST APT 107                                                                         CLEVELAND       OH   44109‐3455
MR ISAAC L JONES           2145 E BERGIN AVE                                                                              BURTON          MI   48529‐1703
MR ISADORE E TESTA 3D      101 MEGHANS CT                                                                                 WILMINGTON      DE   19804‐2045
MR ISIAH JONES             162 W STRATHMORE AVE                                                                           PONTIAC         MI   48340‐2774
MR ISIDORO B GARCIA        880 BAY ST                                                                                     PONTIAC         MI   48342‐1902
MR ISIDRO RAMOS            845 WOODLAND AVE                                                                               PONTIAC         MI   48340‐2567
MR ISMAEL C GUADIANA       4641 TOLEDO ST                                                                                 DETROIT         MI   48209‐1370
MR ISMAEL LOPEZ            208 W LONGFELLOW AVE                                                                           PONTIAC         MI   48340‐1834
MR ISRAEL C SALDANA JR     158 W TENNYSON AVE                                                                             PONTIAC         MI   48340‐2672
MR ISRAEL GUILLEN          4854 KONKEL ST                                                                                 DETROIT         MI   48210‐3208
MR ISRAEL J PETRO          1401 3RD ST                                                                                    BEDFORD         IN   47421‐1707
MR ISRAEL J PETRO          167 PINE DR                                                                                    MITCHELL        IN   47446‐5309
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Name                               Address1                      Address2              Address3       Address4                City            State Zip
MR ISRAEL L ROSADO                 81 W YPSILANTI AVE                                                                         PONTIAC          MI 48340‐1869
MR ISSAC DAVIS                     21 SALLEE LN                                                                               PONTIAC          MI 48340‐1656
MR IVAN C KOBOSH                   210 HIGHLAND AVE                                                                           BLOOMFIELD       MI 48302‐0631
MR IVAN E BONVILLE                 9 LAUREL AVE APT 208                                                                       MASSENA          NY 13662‐2054
MR IVAN MILLER                     1720 W 7TH ST                                                                              MUNCIE           IN 47302‐2111
MR IVAN NOEL II                    1511 1ST ST                                                                                BEDFORD          IN 47421‐1701
MR IVAN ULRICH                     2131 S PINE ST                                                                             JANESVILLE       WI 53546‐6133
MR IVAN VERSCHUEREN & MRS FREIDA   C/O DEUTSCHE BANK SA/NV       AVENUE MARNIX 13 15                  1000 BRUXELLES BEGIUM
VAN COTTHEM
MR IVORY DUNN                      561 BAY ST                                                                                 PONTIAC         MI   48342‐1916
MR IVORY J SHIELDS                 1127 STANLEY AVE                                                                           PONTIAC         MI   48340‐1780
MR IVORY J SHIELDS                 810 MONTICELLO AVE                                                                         PONTIAC         MI   48340‐2324
MR J A BRIGGS                      507 WALNUT ST                                                                              MOUNT MORRIS    MI   48458‐1952
MR J GLENN                         172 W HOPKINS AVE                                                                          PONTIAC         MI   48340‐1822
MR JACINTO R VELASQUEZ             10806 WALL ST                                                                              FREDERICKSBRG   VA   22408‐2068
MR JACK A DIAGOSTINO               36 N ALLEN ST                                                                              MASSENA         NY   13662‐1802
MR JACK A WISZ                     448 FOX HILLS DR N APT 3                                                                   BLOOMFIELD      MI   48304‐1330
MR JACK ALLEN                      1426 17TH ST                                                                               BEDFORD         IN   47421‐4102
MR JACK B NORMAN                   509 HARRIET ST                                                                             FLINT           MI   48505‐4711
MR JACK C GORDON                   1516 LINVAL ST                                                                             LANSING         MI   48910‐1753
MR JACK C JUDSON JR                225 W YPSILANTI AVE                                                                        PONTIAC         MI   48340‐1878
MR JACK C WINTERS II               1200 W 2ND ST                                                                              MUNCIE          IN   47305‐2113
MR JACK CLARK                      9829 GERALDINE ST                                                                          YPSILANTI       MI   48197‐6923
MR JACK D MEINHART                 613 MILL ST                                                                                ORTONVILLE      MI   48462‐9728
MR JACK D RYAN                     500 BEACH ST                                                                               MOUNT MORRIS    MI   48458‐1906
MR JACK D STIGALL                  1401 14TH ST                                                                               BEDFORD         IN   47421‐3232
MR JACK E BOYLE                    1504 W 13TH ST                                                                             MUNCIE          IN   47302‐2908
MR JACK E GROVES                   1700 N BUCKEYE ST                                                                          KOKOMO          IN   46901‐2222
MR JACK H ISELI                    2337 S OAKHILL AVE                                                                         JANESVILLE      WI   53546‐6101
MR JACK HIGDEN                     782 PENSACOLA AVE                                                                          PONTIAC         MI   48340‐2357
MR JACK J SMIT                     770 ROBINWOOD ST                                                                           PONTIAC         MI   48340‐3142
MR JACK L BOND JR                  2363 FERGUSON RD                                                                           ONTARIO         OH   44906‐1149
MR JACK L HAMILTON                 1708 W MEMORIAL DR                                                                         MUNCIE          IN   47302‐2159
MR JACK L RICHARDS JR              2143 WEBBER AVE                                                                            BURTON          MI   48529‐2413
MR JACK L ROBERSON                 25 APPLE LN                                                                                PONTIAC         MI   48340‐1600
MR JACK LARK JR                    604 E RANKIN ST                                                                            FLINT           MI   48505‐4324
MR JACK M HORTON                   1127 E HUMPHREY AVE                                                                        FLINT           MI   48505‐1525
MR JACK P STEWART                  2025 ARBUTUS ST                                                                            JANESVILLE      WI   53546‐6158
MR JACK QUACKENBUSH                2604 N SOUTH POOR FARM RD                                                                  BEDFORD         IN   47421‐9270
MR JACK R SHORT                    4025 BRANDON ST                                                                            DETROIT         MI   48209‐1378
MR JACK S BARNES JR                128 THE WOODS                                                                              BEDFORD         IN   47421‐9300
MR JACK S QUATE JR                 1521 W 9TH ST                                                                              MUNCIE          IN   47302‐2120
MR JACK SNYDER                     1433 W 13TH ST                                                                             MUNCIE          IN   47302‐2901
MR JACK T GARNER                   1486 PROPER AVE                                                                            BURTON          MI   48529‐2046
MR JACK T WALKER                   1714 13TH ST                                                                               BEDFORD         IN   47421‐3116
MR JACK TARBELL                    5 BOWERS ST                                                                                MASSENA         NY   13662‐2104
MR JACK V NOVINSKI SR              2310 N WEBSTER ST                                                                          KOKOMO          IN   46901‐8615
MR JACK W KALBFLEISCH              2154 JOLSON AVE                                                                            BURTON          MI   48529‐2131
MR JACK W RUMFELT                  2096 E SCHUMACHER ST                                                                       BURTON          MI   48529‐2436
MR JACKIE T HOLLIHAN               1601 S GHARKEY ST                                                                          MUNCIE          IN   47302‐3178
MR JACKSON T SHATRAW               52 BRIDGES AVE                                                                             MASSENA         NY   13662‐1828
MR JACKY EARLY                     G4165 S SAGINAW ST                                                                         BURTON          MI   48529‐1635
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Name                          Address1                           Address2            Address3         Address4         City            State Zip
MR JACKY L JORDAN             1202 W 16TH ST                                                                           MUNCIE           IN 47302‐3081
MR JACOB CLARK                712 W 5TH ST                                                                             MUNCIE           IN 47302‐2203
MR JACOB D FEVREY             509 N DEERFIELD AVE                                                                      LANSING          MI 48917‐2912
MR JACOB D TROTTER JR         2605 GLENDAS WAY                                                                         FREDERICKSBRG    VA 22408‐8078
MR JACOB GARRETSON            14313 ROCKSIDE RD                                                                        MAPLE HEIGHTS    OH 44137‐4007
MR JACOB J IBBOTSON           1057 COLLINS AVE                                                                         MOUNT MORRIS     MI 48458‐2120
MR JACOB J WUTKA              136 W YPSILANTI AVE                                                                      PONTIAC          MI 48340‐1873
MR JACOB KLIMASZEWSKI         1203 MORRIS HILLS PKWY                                                                   MOUNT MORRIS     MI 48458‐2581
MR JACOB M BAILEY             2111 S OAKHILL AVE                                                                       JANESVILLE       WI 53546‐6104
MR JACOB PEELER               2108 RODMAN BLVD                                                                         GALLATIN         TN 37066
MR JACOB SLOAN                1212 W 11TH ST                                                                           MUNCIE           IN 47302‐2262
MR JACOB WASHINGTON           21 KAREN CT                                                                              PONTIAC          MI 48340‐1634
MR JACQUE L PITTMAN           2901 BRIARWOOD LN                                                                        FREDERICKSBRG    VA 22408‐2067
MR JACQUES T HALL             5900 BRIDGE RD APT 914                                                                   YPSILANTI        MI 48197‐7010
MR JAGDISH M PATEL            2035 FOX GLEN CT                                                                         BLOOMFIELD       MI 48304‐1007
MR JAHASA W BREEDEN           1710 N MCCANN ST                                                                         KOKOMO           IN 46901‐2058
MR JAIME A LARA               4738 PLUMER ST                                                                           DETROIT          MI 48209‐1390
MR JAIME A NOGUEAS            60 PUTNAM AVE                                                                            PONTIAC          MI 48342‐1262
MR JAIME H RUVALCABA‐GUZMAN   1066 CHERRYLAWN DR                                                                       PONTIAC          MI 48340‐1700
MR JAIME JAIMES               34 READ AVE                                                                              WILMINGTON       DE 19804‐2034
MR JAIME RUVALCABA            210 HIGH ST                                                                              PONTIAC          MI 48342‐1121
MR JAIME YOGERST              154 WATER ST                                                                             MASSENA          NY 13662‐2011
MR JAKE H TURNBOW             2139 SAVOY AVE                                                                           BURTON           MI 48529‐2173
MR JAMAL M HAMMAD             2108 MCKINSTRY ST                                                                        DETROIT          MI 48209‐1671
MR JAMAR ROBINSON             11451 SHARON DR # 808                                                                    CLEVELAND        OH 44130‐1444
MR JAMEL WELLS                672 NEWMAN LN                                                                            PONTIAC          MI 48340‐3300
MR JAMELL D HUMPHERY          852 MELROSE ST                                                                           PONTIAC          MI 48340‐3125
MR JAMES A BELL               1201 CLOVERLAWN DR                                                                       PONTIAC          MI 48340‐1617
MR JAMES A BLACKBURN          712 18TH ST                                                                              BEDFORD          IN 47421‐4210
MR JAMES A BROOKS SR          1408 W 14TH ST                                                                           MUNCIE           IN 47302‐2911
MR JAMES A BRUCE              1008 SUGAR HILL ADDITION                                                                 BEDFORD          IN 47421‐8147
MR JAMES A CALLAHAN           10650 RIVEREDGE DR                                                                       PARMA            OH 44130‐1243
MR JAMES A CARAWAY            1001 N ST                                                                                BEDFORD          IN 47421‐2932
MR JAMES A CATINELLA          8 W CONRAD DR                                                                            WILMINGTON       DE 19804‐2019
MR JAMES A GARDNER II         115 E ORVIS ST                                                                           MASSENA          NY 13662‐2257
MR JAMES A HENSON             235 W CORNELL AVE                                                                        PONTIAC          MI 48340‐2725
MR JAMES A HENSON             152 W LONGFELLOW AVE                                                                     PONTIAC          MI 48340‐1830
MR JAMES A HOLLOWAY           2114 ARBUTUS ST                                                                          JANESVILLE       WI 53546‐6159
MR JAMES A HOWE               661 ELM ST                                                                               MOUNT MORRIS     MI 48458‐1917
MR JAMES A HOWE SR            507 ELM ST                                                                               MOUNT MORRIS     MI 48458‐1915
MR JAMES A HOWLETT            1020 BOYNTON DR                                                                          LANSING          MI 48917‐1760
MR JAMES A JACKSON JR         3597 29TH ST                                                                             DETROIT          MI 48210‐3107
MR JAMES A JOHNSTON           245 E BERKSHIRE RD                                                                       BLOOMFIELD       MI 48302‐0617
MR JAMES A LAMBRAKIS          11151 NAOMI DR                                                                           CLEVELAND        OH 44130‐1555
MR JAMES A LEWANDOWSKI        43 MARIE ST                                                                              MASSENA          NY 13662‐1106
MR JAMES A MASTIN             618 W 10TH ST                                                                            MUNCIE           IN 47302‐3125
MR JAMES A MCGAUGHY           1005 WESTFIELD RD                                                                        LANSING          MI 48917‐2374
MR JAMES A MOSER              220 W PRINCETON AVE                                                                      PONTIAC          MI 48340‐1844
MR JAMES A MURRAY             9 LAUREL AVE APT 907                                                                     MASSENA          NY 13662‐2159
MR JAMES A OMELIAN            1505 W BURBANK AVE                                                                       JANESVILLE       WI 53546‐6112
MR JAMES A SCOTT              1181 PANAMA AVE                                                                          MOUNT MORRIS     MI 48458‐2533
MR JAMES A WATSON             63 PARKER AVE                                                                            MASSENA          NY 13662‐2212
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MR JAMES ADKISSON           1386 PROPER AVE                                                                      BURTON           MI 48529‐2044
MR JAMES B BOWLING          1905 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6013
MR JAMES B DECARR II        55 CLARKSON AVE                                                                      MASSENA          NY 13662‐1758
MR JAMES B JOHNSON          1711 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2349
MR JAMES B STONOFF          702 W 10TH ST                                                                        MUNCIE           IN 47302‐3127
MR JAMES B VONDREHLE        422 FOX HILLS DR N APT 5                                                             BLOOMFIELD       MI 48304‐1325
MR JAMES B WILLIAMS         1005 FULWELL DR                                                                      ONTARIO          OH 44906‐1112
MR JAMES BALL               5441 CHEVROLET BLVD APT A202                                                         CLEVELAND        OH 44130‐1454
MR JAMES BRACE              2038 COVERT RD                                                                       BURTON           MI 48509‐1011
MR JAMES BRIDGMAN           1206 EASTFIELD RD                                                                    LANSING          MI 48917‐2390
MR JAMES C ANDERSON         106 HUDSON AVE                                                                       PONTIAC          MI 48342‐1246
MR JAMES C CONNELL          606 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2604
MR JAMES C COOLEY‐MURDOCK   1141 E YALE AVE                                                                      FLINT            MI 48505‐1518
MR JAMES C DANIELS          620 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1943
MR JAMES C DICKERSON        12314 CAMDEN ST                                                                      LIVONIA          MI 48150‐2370
MR JAMES C EDWARDS          28 RIDGEWOOD AVE                                                                     MASSENA          NY 13662‐2113
MR JAMES C JACKSON JR       3751 31ST ST                                                                         DETROIT          MI 48210‐3115
MR JAMES C JONES            692 NEWMAN LN                                                                        PONTIAC          MI 48340‐3300
MR JAMES C KILGORE          1171 CHESTNUT ST                                                                     PONTIAC          MI 48342‐1891
MR JAMES C KUERBITZ         751 ROBINWOOD ST                                                                     PONTIAC          MI 48340‐3144
MR JAMES C LEHMAN           1312 W 13TH ST                                                                       MUNCIE           IN 47302‐2903
MR JAMES C LYBROOK          1514 N MCCANN ST                                                                     KOKOMO           IN 46901‐2060
MR JAMES C MULHOLLAND       213 N GRACE ST                                                                       LANSING          MI 48917‐4909
MR JAMES C NORTON           114 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2002
MR JAMES C PHILLIPS         43 PARKER AVE                                                                        MASSENA          NY 13662‐2213
MR JAMES C RAMEY            1238 S HOYT AVE                                                                      MUNCIE           IN 47302‐3113
MR JAMES C WEAVER           710 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2606
MR JAMES C WILLIAMS         10812 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8043
MR JAMES CAMPER             1461 E WILLIAMSON ST # 3                                                             BURTON           MI 48529‐1627
MR JAMES COBB               1368 E HUMPHREY AVE                                                                  FLINT            MI 48505‐1763
MR JAMES COLEMAN            4108 DAVISON RD                                                                      BURTON           MI 48509‐1455
MR JAMES COMPOLI            200 ARTERIAL RD                                                                      SYRACUSE         NY 13206‐1501
MR JAMES CROUCH             1206 W 15TH ST                                                                       MUNCIE           IN 47302‐3070
MR JAMES D BASIGKOW         1262 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1706
MR JAMES D EDWARDS          6280 BUNTON RD                                                                       YPSILANTI        MI 48197‐9737
MR JAMES D LIVESAY JR       10710 TRICIA PL                                                                      FREDERICKSBRG    VA 22408‐8067
MR JAMES D LUCIUS           2001 N CENTER RD APT 102                                                             FLINT            MI 48506‐3198
MR JAMES D MCCONNELL        2081 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1723
MR JAMES D MEISINGER        774 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1306
MR JAMES D MODGLIN II       1804 W 6TH ST                                                                        MUNCIE           IN 47302‐2187
MR JAMES D OSHAUGHENESSY    34 HIGHLAND AVE                                                                      MASSENA          NY 13662‐1727
MR JAMES D PILOT            G4153 S SAGINAW ST APT 4                                                             BURTON           MI 48529‐1674
MR JAMES D REDD JR          2040 CASHIN ST APT 1                                                                 BURTON           MI 48509‐1107
MR JAMES D SHERMAN          2425 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐9061
MR JAMES D SMITH            900 FULWELL DR                                                                       ONTARIO          OH 44906‐1111
MR JAMES D STANFILL         2226 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1716
MR JAMES D STRATTON         6003 PARKDALE DR                                                                     DALLAS           TX 75227‐3612
MR JAMES D VANLANDUYT JR    725 MAPLE ST                                                                         MOUNT MORRIS     MI 48458‐2206
MR JAMES D WERT             1100 W 11TH ST                                                                       MUNCIE           IN 47302‐2232
MR JAMES E ADAMS            1121 W 14TH ST                                                                       MUNCIE           IN 47302‐3060
MR JAMES E ANDRYSIAK        2009 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2320
MR JAMES E APPLETON         474 FOX HILLS DR N APT 2                                                             BLOOMFIELD       MI 48304‐1334
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MR JAMES E ASPIN II      11324 CHURCH ST                                                                      MOUNT MORRIS     MI 48458‐2202
MR JAMES E ATKINSON JR   518 S SPINNINGWHEEL LN                                                               BLOOMFIELD       MI 48304‐1318
MR JAMES E BOYER         410 W HOPKINS AVE APT 105                                                            PONTIAC          MI 48340‐1776
MR JAMES E BROWN         1505 VANDERBILT DR                                                                   FLINT            MI 48503‐5246
MR JAMES E BURRELL       2712 MCKENZIE LN                                                                     FREDERICKSBRG    VA 22408‐8072
MR JAMES E CANFIELD      1183 DOWAGIAC AVE                                                                    MOUNT MORRIS     MI 48458‐2577
MR JAMES E CLAY          8392 TOD AVE SW                                                                      WARREN           OH 44481‐9628
MR JAMES E CORFMAN       1243 STANLEY AVE                                                                     PONTIAC          MI 48340‐1746
MR JAMES E CROTTIE SR    764 MELROSE ST                                                                       PONTIAC          MI 48340‐3121
MR JAMES E DALTON        421 N LAWRENCE ST                                                                    BEDFORD          IN 47421‐1557
MR JAMES E DURNELL       2439 MCKINSTRY ST                                                                    DETROIT          MI 48209‐1352
MR JAMES E DURNELL       4734 TOLEDO ST                                                                       DETROIT          MI 48209‐1373
MR JAMES E DURNELL       4724 TOLEDO ST                                                                       DETROIT          MI 48209‐1373
MR JAMES E EARNS         1488 E MCLEAN AVE                                                                    BURTON           MI 48529‐1614
MR JAMES E FISH          1374 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8031
MR JAMES E FRITZ         2117 COMMONS AVE                                                                     JANESVILLE       WI 53546‐3900
MR JAMES E HALL          1032 O ST                                                                            BEDFORD          IN 47421‐2814
MR JAMES E HALL          8232 N VASSAR RD                                                                     MOUNT MORRIS     MI 48458‐9760
MR JAMES E HARKNESS SR   4 READ AVE                                                                           WILMINGTON       DE 19804‐2034
MR JAMES E HOWELL JR     559 E PATERSON ST                                                                    FLINT            MI 48505‐4710
MR JAMES E JOHNSON       193 WALNUT HEIGHTS RD                                                                BEDFORD          IN 47421‐8168
MR JAMES E LIGGENS       4516 MICHIGAN AVE                                                                    DETROIT          MI 48210‐3244
MR JAMES E LOOMIS        4359 COLUMBINE AVE                                                                   BURTON           MI 48529‐2118
MR JAMES E MAYS JR       765 DRYER FARM RD                                                                    LANSING          MI 48917‐2345
MR JAMES E MCCREA        11369 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1327
MR JAMES E MCDONALD      81 W PRINCETON AVE                                                                   PONTIAC          MI 48340‐1839
MR JAMES E MOORE JR      2008 DREXEL RD                                                                       LANSING          MI 48915‐1213
MR JAMES E NEALIS        1005 W 14TH ST                                                                       MUNCIE           IN 47302‐3058
MR JAMES E OUTLAW        812 TULANE DR                                                                        FLINT            MI 48503‐5253
MR JAMES E SCHWABE SR    142 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MR JAMES E SHAWANIBIN    533 BRYNFORD AVE                                                                     LANSING          MI 48917‐2927
MR JAMES E SIMPLER JR    207 LAURA CT                                                                         WILMINGTON       DE 19804‐2016
MR JAMES E STAMPS JR     257 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1855
MR JAMES E SWORDS        252 W KENNETT RD                                                                     PONTIAC          MI 48340‐2654
MR JAMES E TERRELL       503 BAILEY SCALES RD                                                                 BEDFORD          IN 47421‐9398
MR JAMES E THOMPSON      1029 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1731
MR JAMES E TUTTLE        804 W 11TH ST                                                                        MUNCIE           IN 47302‐3171
MR JAMES E UMPHRESS      52 CORY LN                                                                           BEDFORD          IN 47421‐9231
MR JAMES E UMPHRESS      48 CORY LN                                                                           BEDFORD          IN 47421‐9231
MR JAMES E VORIS         1107 LINCOLN AVE                                                                     BEDFORD          IN 47421‐2924
MR JAMES E WRIGHTSON     2100 LINKWOOD AVE                                                                    WILMINGTON       DE 19805‐2419
MR JAMES F BERNARD       11201 KAREN ST                                                                       LIVONIA          MI 48150‐3182
MR JAMES F COFFREN       1912 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐5971
MR JAMES F COOPER        2918 HARWICK DR APT 1                                                                LANSING          MI 48917‐2358
MR JAMES F DIXSON        658 OJISTA AVE                                                                       PONTIAC          MI 48340‐2351
MR JAMES F HOUTCHINGS    317 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8140
MR JAMES F INGALLS       1413 14TH ST                                                                         BEDFORD          IN 47421‐3232
MR JAMES F LOMBARDO JR   661 EMERSON AVE                                                                      PONTIAC          MI 48340‐3218
MR JAMES F NUTTER II     1707 N MCCANN ST                                                                     KOKOMO           IN 46901‐2057
MR JAMES F PARK          1137 N WEBSTER ST                                                                    KOKOMO           IN 46901‐2705
MR JAMES F SPANGLER SR   1716 KING ST                                                                         JANESVILLE       WI 53546‐6030
MR JAMES F STARR JR      1550 BRECKENRIDGE RD                                                                 BEDFORD          IN 47421‐1512
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MR JAMES F TAYLOR JR     5900 BRIDGE RD APT 207                                                               YPSILANTI        MI 48197‐7011
MR JAMES F WILLIAMS JR   139 W TENNYSON AVE                                                                   PONTIAC          MI 48340‐2673
MR JAMES G BESSLER       2136 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐5811
MR JAMES G COBB          9669 HARBOUR COVE CT                                                                 YPSILANTI        MI 48197‐6901
MR JAMES G GILMORE       2173 COVERT RD                                                                       BURTON           MI 48509‐1064
MR JAMES G HENDERSON     327 N JACKSON ST                                                                     BEDFORD          IN 47421‐1525
MR JAMES G KLEINHENN     9667 BAYVIEW DR APT 313                                                              YPSILANTI        MI 48197‐7027
MR JAMES G PITTMAN       1516 14TH ST                                                                         BEDFORD          IN 47421‐3631
MR JAMES G SEIFERT JR    3226 TIMBER DR                                                                       LANSING          MI 48917‐2337
MR JAMES G SMITH         1615 1ST ST                                                                          BEDFORD          IN 47421‐1603
MR JAMES G TRINKLE       1601 14TH ST                                                                         BEDFORD          IN 47421‐3632
MR JAMES GOINS           1715 S GHARKEY ST                                                                    MUNCIE           IN 47302‐3180
MR JAMES GREEN           1158 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MR JAMES H BAUDER        1311 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2353
MR JAMES H BOARDMAN      1511 N BELL ST                                                                       KOKOMO           IN 46901‐2333
MR JAMES H CONTO         24 NIGHTENGALE AVE                                                                   MASSENA          NY 13662‐1715
MR JAMES H CORTEZ        2405 CENTER AVE                                                                      JANESVILLE       WI 53546‐9010
MR JAMES H EDWARDS       2045 E BRISTOL RD                                                                    BURTON           MI 48529‐1318
MR JAMES H ESCH          12101 CAMDEN ST                                                                      LIVONIA          MI 48150‐2359
MR JAMES H JOHNSON       591 ROLLING ROCK RD                                                                  BLOOMFIELD       MI 48304‐1054
MR JAMES H MCFARLAN      2720 N SOUTH POOR FARM RD                                                            BEDFORD          IN 47421‐9271
MR JAMES H MILLER JR     741 COLUMBIA DR                                                                      FLINT            MI 48503‐5207
MR JAMES H PAULUS        1396 E SCHUMACHER ST                                                                 BURTON           MI 48529‐1620
MR JAMES H ROSS JR       4376 COLUMBINE AVE                                                                   BURTON           MI 48529‐2170
MR JAMES H SKINNER       10834 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2047
MR JAMES H SPENCE        11800 BROOKPARK RD TRLR 128                                                          CLEVELAND        OH 44130‐1189
MR JAMES H STEPHENS SR   2236 S ARCH ST                                                                       JANESVILLE       WI 53546‐5956
MR JAMES HADDRILL        96 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2734
MR JAMES HARRIS          147 HUDSON AVE                                                                       PONTIAC          MI 48342‐1170
MR JAMES HINTON          820 HARWOOD RD                                                                       WILMINGTON       DE 19804‐2661
MR JAMES HOWELL SR       1502 TULANE CIR                                                                      FLINT            MI 48503‐5251
MR JAMES HSU             1618 8TH ST                                                                          BEDFORD          IN 47421‐2514
MR JAMES I SOWDERS       41 LINCOLN AVE                                                                       BEDFORD          IN 47421‐1610
MR JAMES J BRIGHT        1006 W 14TH ST                                                                       MUNCIE           IN 47302‐3057
MR JAMES J CASTELLO      64 SCHOOL ST                                                                         CLARK            NJ 07066‐1424
MR JAMES J CREEK         2126 CENTER AVE                                                                      JANESVILLE       WI 53546‐9006
MR JAMES J GLAND         704 GARNET RD                                                                        WILMINGTON       DE 19804‐2614
MR JAMES J HAIST II      4324 WOODROW AVE                                                                     BURTON           MI 48509‐1126
MR JAMES J HEYDENS       519 SCHAFFER AVE APT A1                                                              SYRACUSE         NY 13206‐1569
MR JAMES J JANDREW JR    115 MAIN ST                                                                          MASSENA          NY 13662‐1908
MR JAMES J LYON          5 RANSOM AVE                                                                         MASSENA          NY 13662‐1741
MR JAMES J PETERSON SR   2164 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1726
MR JAMES J PICKETT       2903 BROYHILL CT                                                                     FREDERICKSBRG    VA 22408‐2069
MR JAMES J ROBINSON      823 EMERSON AVE                                                                      PONTIAC          MI 48340‐3224
MR JAMES J ROCCO         2442 WHITNEY AVE                                                                     ONTARIO          OH 44906‐1199
MR JAMES JENKINS         1313 W 1ST ST                                                                        MUNCIE           IN 47305‐2108
MR JAMES K BENDO         117 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2721
MR JAMES K DAILY         812 W 5TH ST                                                                         MUNCIE           IN 47302‐2205
MR JAMES K HUME          1 GRASSMERE TER APT 26                                                               MASSENA          NY 13662‐2163
MR JAMES K LUMPKIN SR    9905 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6926
MR JAMES K NELSON        216 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2623
MR JAMES K RANDOLPH      1494 E OOLITIC RD                                                                    BEDFORD          IN 47421‐8625
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Name                    Address1                       Address2            Address3         Address4         City            State Zip
MR JAMES K WILHITE      1522 13TH ST                                                                         BEDFORD          IN 47421‐3112
MR JAMES KILGORE        1171 CHESTNUT ST                                                                     PONTIAC          MI 48342‐1891
MR JAMES KING           242 N GRACE ST                                                                       LANSING          MI 48917‐4908
MR JAMES L ADKISSON     1388 PROPER AVE                                                                      BURTON           MI 48529‐2044
MR JAMES L BROMLEY      1250 DIVE RD                                                                         BEDFORD          IN 47421‐1518
MR JAMES L CARVER       11315 N CLUB DR                                                                      FREDERICKSBRG    VA 22408‐2056
MR JAMES L COLEMAN      809 E MOUNT MORRIS ST                                                                MOUNT MORRIS     MI 48458‐2053
MR JAMES L COLLINS      352 MAIN ST                                                                          MASSENA          NY 13662‐2546
MR JAMES L COLVIN JR    1413 N BELL ST                                                                       KOKOMO           IN 46901‐2302
MR JAMES L CONLEY       1000 W 1ST ST                                                                        MUNCIE           IN 47305‐2101
MR JAMES L COYLE        1066 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1730
MR JAMES L JACKSON      163 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MR JAMES L JONES        195 W KENNETT RD APT 310                                                             PONTIAC          MI 48340‐2683
MR JAMES L JONES        1515 M ST                                                                            BEDFORD          IN 47421‐3711
MR JAMES L LECHNIR      1904 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6064
MR JAMES L MALCOMNSON   2183 E JUDD RD                                                                       BURTON           MI 48529‐2406
MR JAMES L MANNING      100 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2736
MR JAMES L MARTIN       414 N LAWRENCE ST                                                                    BEDFORD          IN 47421‐1557
MR JAMES L MINKER       713 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2627
MR JAMES L MONTROY      11280 HALLER ST                                                                      LIVONIA          MI 48150‐3179
MR JAMES L MOORE        4748 PLUMER ST                                                                       DETROIT          MI 48209‐1390
MR JAMES L MURPHY       1083 STANLEY AVE                                                                     PONTIAC          MI 48340‐1779
MR JAMES L MURPHY       10680 FAIRLAWN DR                                                                    CLEVELAND        OH 44130‐1206
MR JAMES L NICHOLLS     820 W NORTH ST                                                                       KOKOMO           IN 46901‐2768
MR JAMES L PICKENS      431 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1620
MR JAMES L RALSTON      20 BRIGHTON ST                                                                       MASSENA          NY 13662‐2228
MR JAMES L REAGOR       551 E PATERSON ST                                                                    FLINT            MI 48505‐4710
MR JAMES L REDDING      816 DURANT ST                                                                        LANSING          MI 48915‐1329
MR JAMES L REYNOLDS     327 BAILEY SCALES RD                                                                 BEDFORD          IN 47421‐9394
MR JAMES L RHODES       2124 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2436
MR JAMES L ROBINSON     33 CORY LN                                                                           BEDFORD          IN 47421‐9231
MR JAMES L SMITH        2211 CENTER AVE                                                                      JANESVILLE       WI 53546‐9013
MR JAMES L SMITH        1613 DAVIS RD                                                                        KOKOMO           IN 46901‐2245
MR JAMES L TURNER       61 LEANEE LN                                                                         PONTIAC          MI 48340‐1651
MR JAMES L VANKUREN     897 KETTERING AVE                                                                    PONTIAC          MI 48340‐3254
MR JAMES L VENIER       23564 CEDARWOOD LN                                                                   NORTH OLMSTED    OH 44070‐2941
MR JAMES LEWIS          1050 E HARVARD AVE                                                                   FLINT            MI 48505‐1508
MR JAMES LIU            2394 WHITNEY AVE                                                                     ONTARIO          OH 44906‐1194
MR JAMES LOMBARDO       142 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2720
MR JAMES LOMBARDO       887 KETTERING AVE                                                                    PONTIAC          MI 48340‐3254
MR JAMES LOMBARDO       810 EMERSON AVE                                                                      PONTIAC          MI 48340‐3223
MR JAMES LOMBARDO       785 MELROSE ST                                                                       PONTIAC          MI 48340‐3122
MR JAMES M BAILEY       PO BOX 90142                                                                         BURTON           MI 48509‐0142
MR JAMES M CANTRELL     10721 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1246
MR JAMES M CARTHON JR   899 PALMER DR                                                                        PONTIAC          MI 48342‐1861
MR JAMES M COTE         751 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2321
MR JAMES M DUFRESNE     56 CLARKSON AVE                                                                      MASSENA          NY 13662‐1756
MR JAMES M FLYNN        17 P ST                                                                              BEDFORD          IN 47421‐1717
MR JAMES M FRISCH       896 CAMERON AVE                                                                      PONTIAC          MI 48340‐3210
MR JAMES M GREER        151 EUCLID AVE                                                                       PONTIAC          MI 48342‐1115
MR JAMES M HALSTEAD     3338 JUNCTION ST                                                                     DETROIT          MI 48210‐3206
MR JAMES M HAMMOND      201 BAILEY SCALES RD                                                                 BEDFORD          IN 47421‐9392
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MR JAMES M HOLDER           2055 BRADY AVE                                                                       BURTON           MI 48529‐2424
MR JAMES M JOHNSON          1519 W 6TH ST                                                                        MUNCIE           IN 47302‐2106
MR JAMES M KICZENSKI        409 WALNUT ST                                                                        MOUNT MORRIS     MI 48458‐1950
MR JAMES M KING             106 CHARLES LN                                                                       PONTIAC          MI 48341‐2927
MR JAMES M LYBARGER         277 N ROSEMARY ST                                                                    LANSING          MI 48917‐4914
MR JAMES M MEECE            1207 W 1ST ST                                                                        MUNCIE           IN 47305‐2106
MR JAMES M MILIOTO          105 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2759
MR JAMES M MOORE            658 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1908
MR JAMES M NEUWIRTH         7116 HARVARD AVE                                                                     MOUNT MORRIS     MI 48458‐2144
MR JAMES M NEWCOMER         1878 HUNTERS RIDGE DR                                                                BLOOMFIELD       MI 48304‐1034
MR JAMES M OSTROM           2064 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1764
MR JAMES M PATTERSON        2128 SAVOY AVE                                                                       BURTON           MI 48529‐2174
MR JAMES M QUADERER         2033 E MCLEAN AVE                                                                    BURTON           MI 48529‐1737
MR JAMES M ROBERTS          1528 ANTHONY AVE                                                                     JANESVILLE       WI 53546‐6010
MR JAMES M SAMPLES JR       502 HELEN ST                                                                         MOUNT MORRIS     MI 48458‐1923
MR JAMES M SHELTON          6211 LAKE DR                                                                         YPSILANTI        MI 48197‐7052
MR JAMES M VOILES           926 W POWERS ST                                                                      MUNCIE           IN 47305‐2267
MR JAMES M WOODS            307 THE WOODS                                                                        BEDFORD          IN 47421‐9379
MR JAMES M YAGER            2014 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐5973
MR JAMES M YOUNG II         3300 25TH ST                                                                         DETROIT          MI 48208‐2462
MR JAMES MCDOUGALL          2076 E MCLEAN AVE                                                                    BURTON           MI 48529‐1738
MR JAMES N BARNETT          105 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1841
MR JAMES N DALTON           1002 W 15TH ST                                                                       MUNCIE           IN 47302‐3066
MR JAMES N EHRBAR           5629 NATHAN DR                                                                       CLEVELAND        OH 44130‐1561
MR JAMES N GARRETT          1224 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2932
MR JAMES N WILEY            1282 E CORNELL AVE                                                                   FLINT            MI 48505‐1751
MR JAMES O CONATSER         812 W 11TH ST                                                                        MUNCIE           IN 47302‐3171
MR JAMES O MCCHRISTION JR   2223 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1783
MR JAMES O STOCKMAN         148 PEERLESS CHURCH RD                                                               BEDFORD          IN 47421‐8118
MR JAMES O UNDERHILL        1605 W 10TH ST                                                                       MUNCIE           IN 47302‐6606
MR JAMES OSTROWSKI          1071 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1701
MR JAMES P GARDNER          125 CECIL AVE                                                                        MASSENA          NY 13662‐2138
MR JAMES P JENKINS          513 6TH ST                                                                           BEDFORD          IN 47421‐9610
MR JAMES P KLINE            1204 L ST                                                                            BEDFORD          IN 47421‐2921
MR JAMES P LARKIN           217 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1614
MR JAMES P LOGAN            2001 DREXEL RD                                                                       LANSING          MI 48915‐1206
MR JAMES P MAHER 3D         2703 GLENDAS WAY                                                                     FREDERICKSBRG    VA 22408‐8037
MR JAMES P MCCARTY          1351 E BRISTOL RD                                                                    BURTON           MI 48529‐2211
MR JAMES P MILLER           11010 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1253
MR JAMES P PIPKIN           2143 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1751
MR JAMES P THORP            1522 KING ST                                                                         JANESVILLE       WI 53546‐6028
MR JAMES P URBIN            2237 E JUDD RD                                                                       BURTON           MI 48529‐2406
MR JAMES PAVICH             2178 N CENTER RD                                                                     BURTON           MI 48509‐1041
MR JAMES PELON              4090 HOMESTEAD DR APT 19                                                             BURTON           MI 48529‐1657
MR JAMES PICKENS            922 O ST                                                                             BEDFORD          IN 47421‐2542
MR JAMES PORTER             74 HUDSON AVE                                                                        PONTIAC          MI 48342‐1243
MR JAMES R ADAMS            232 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2778
MR JAMES R ALESIA           1211 14TH ST                                                                         BEDFORD          IN 47421‐3228
MR JAMES R ALESIA           209 SHANDELL DR                                                                      BEDFORD          IN 47421‐9659
MR JAMES R ALLTOP           10705 TRICIA PL                                                                      FREDERICKSBRG    VA 22408‐8068
MR JAMES R BARBER           228 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1834
MR JAMES R BARNICLE SR      16 BATES RD                                                                          FRAMINGHAM       MA 01702‐8704
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MR JAMES R BARRETT        1206 O ST                                                                            BEDFORD          IN 47421‐3122
MR JAMES R BORLING        11010 GABRIELLA DR                                                                   PARMA HEIGHTS    OH 44130‐1468
MR JAMES R BOSCOE         187 ALLEN ST                                                                         MASSENA          NY 13662‐1803
MR JAMES R CURREN         1322 15TH ST                                                                         BEDFORD          IN 47421‐3704
MR JAMES R DOCKERTY       2314 N WEBSTER ST                                                                    KOKOMO           IN 46901‐8615
MR JAMES R DONAHUE        10780 RICHARD DR                                                                     CLEVELAND        OH 44130‐1307
MR JAMES R EASTON         1140 OAK HOLLOW DR                                                                   MILFORD          MI 48380‐4257
MR JAMES R FORKNER        1719 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2323
MR JAMES R FRAKES         1912 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2322
MR JAMES R GILL           1608 W 11TH ST                                                                       MUNCIE           IN 47302‐6611
MR JAMES R HUTCHINS       103 W ELM ST                                                                         KOKOMO           IN 46901‐2837
MR JAMES R IWANKOVITSCH   505 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1311
MR JAMES R KIRKMAN        887 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8145
MR JAMES R KONIECZKE      774 ROBINWOOD ST                                                                     PONTIAC          MI 48340‐3142
MR JAMES R KUHL           450 WALNUT ST                                                                        MOUNT MORRIS     MI 48458‐1951
MR JAMES R MCCREERY       1319 P ST                                                                            BEDFORD          IN 47421‐3127
MR JAMES R MCKINNON       2239 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1767
MR JAMES R MIDDLETON      1456 PROPER AVE                                                                      BURTON           MI 48529‐2046
MR JAMES R MONCRIEFF      G4206 S SAGINAW ST                                                                   BURTON           MI 48529‐1649
MR JAMES R PARKS          1716 W 11TH ST                                                                       MUNCIE           IN 47302‐2151
MR JAMES R PATTON         105 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9384
MR JAMES R PRUETT         660 BOYD ST                                                                          PONTIAC          MI 48342‐1926
MR JAMES R SHAFER         11280 OXBOW ST                                                                       LIVONIA          MI 48150‐3193
MR JAMES R STIGALL        1018 LINCOLN AVE                                                                     BEDFORD          IN 47421‐2923
MR JAMES R STOVER         1724 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2042
MR JAMES R STUCHELL       428 FOX HILLS DR S APT 5                                                             BLOOMFIELD       MI 48304‐1349
MR JAMES R SWAIN          483 W COLUMBIA AVE APT 104                                                           PONTIAC          MI 48340‐1644
MR JAMES R TERRELL        532 F ST                                                                             BEDFORD          IN 47421‐2235
MR JAMES R WAELTZ         112 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MR JAMES R WEBB           4260 COASTAL PARK WAY                                                                WHITELAKE        MI 48386
MR JAMES R WEBSTER        2956 HENRY ST                                                                        FLINT            MI 48506‐2432
MR JAMES R WEST           10914 COREYS WAY                                                                     FREDERICKSBRG    VA 22408‐2071
MR JAMES R WILLIAMS       11610 N SAGINAW ST                                                                   MOUNT MORRIS     MI 48458‐2021
MR JAMES S HARDEN         909 STANLEY AVE                                                                      PONTIAC          MI 48340‐2561
MR JAMES S HARRELL JR     220 W NORTH ST                                                                       KOKOMO           IN 46901‐2857
MR JAMES S MARSHALL       11625 WASHINGTON AVE                                                                 MOUNT MORRIS     MI 48458‐1959
MR JAMES S NICHOLS        2172 COVERT RD                                                                       BURTON           MI 48509‐1065
MR JAMES SAMUEL           1119 W 1ST ST                                                                        MUNCIE           IN 47305‐2104
MR JAMES SHELTON          1018 N WASHINGTON ST                                                                 KOKOMO           IN 46901‐2856
MR JAMES SMITH            2801 BRIARWOOD LN                                                                    FREDERICKSBRG    VA 22408‐2066
MR JAMES T ALLRED JR      2208 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1716
MR JAMES T BLACKBURN      9938 LINDA DR                                                                        YPSILANTI        MI 48197‐6916
MR JAMES T JACKSON JR     9828 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6921
MR JAMES T TRUAX          604 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2604
MR JAMES TANNER           20 BATES RD                                                                          FRAMINGHAM       MA 01702‐8704
MR JAMES TAZELAAR         154 E ORVIS ST                                                                       MASSENA          NY 13662‐2246
MR JAMES W FRANKE         2023 CONNELL ST                                                                      BURTON           MI 48529‐1332
MR JAMES W GOODE JR       1105 KELLOGG AVE TRLR C6                                                             JANESVILLE       WI 53546‐6084
MR JAMES W HUTTON II      645 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1013
MR JAMES W LONG JR        192 ALLEN ST                                                                         MASSENA          NY 13662‐1844
MR JAMES W MCKENZIE       3802 LORRAINE AVE                                                                    FLINT            MI 48506‐4238
MR JAMES W MINER          301 BON AIR RD                                                                       LANSING          MI 48917‐2904
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MR JAMES W MURPHY         1138 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1734
MR JAMES W NUTTER         1815 N WABASH AVE                                                                    KOKOMO           IN 46901‐2004
MR JAMES W PASTOOR JR     1104 COLLINS AVE                                                                     MOUNT MORRIS     MI 48458‐2137
MR JAMES W PENTZER        116 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9383
MR JAMES W SCOTT          12033 HARTEL ST                                                                      LIVONIA          MI 48150‐2331
MR JAMES W SEVCHEK        11800 BROOKPARK RD TRLR F46                                                          PARMA HEIGHTS    OH 44130‐1184
MR JAMES W SHIMOURA JR    675 SEDGEFIELD DR                                                                    BLOOMFIELD       MI 48304‐1060
MR JAMES W SMITH          1121 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2755
MR JAMES W SULLIVAN       10803 TIDES CT                                                                       FREDERICKSBRG    VA 22408‐8077
MR JAMES W TAYLOR JR      2065 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2435
MR JAMES W WASHAM JR      1227 S PORT AVE                                                                      MUNCIE           IN 47302‐2132
MR JAMES W WATKINS 3D     10826 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8043
MR JAMES W WRAY           806 18TH ST                                                                          BEDFORD          IN 47421‐4212
MR JAMES W YEARGIN SR     1325 UNIVERSITY DR                                                                   PONTIAC          MI 48342‐1972
MR JAMES WADE             1612 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐6621
MR JAMIE L MCDONALD       26 WALNUT AVE                                                                        MASSENA          NY 13662‐2023
MR JAMIE L ROLL           1826 H ST                                                                            BEDFORD          IN 47421‐4220
MR JAMIE P MACDORMOTT     284 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1716
MR JAMIE T BEAUMONT       219 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1815
MR JAMIEN B LONDON        38 KAREN CT                                                                          PONTIAC          MI 48340‐1635
MR JAMIL O COOPER         3944 VERNON AVE                                                                      BROOKFIELD        IL 60513‐2031
MR JAMIL P PERRY          197 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1823
MR JAMON T DUDLEY         213 E GENESEE ST                                                                     FLINT            MI 48505‐4260
MR JAN E ROCKWELL         7070 N SAGINAW RD                                                                    MOUNT MORRIS     MI 48458‐2141
MR JAN L BRADFIELD        621 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2989
MR JAN S JOHNSON          2786 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8043
MR JANAKIRAMA S VITHALA   724 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1084
MR JANUSZ A STACHON       812 W CHAMPLAIN AVE                                                                  WILMINGTON       DE 19804‐2007
MR JARED A DUNNE‐THAYER   15 CHESTNUT ST                                                                       MASSENA          NY 13662‐1807
MR JARED A FOWLER         1063 E COSTELLO ST                                                                   MOUNT MORRIS     MI 48458‐2239
MR JARED J JABAUT         14 CLARK ST                                                                          MASSENA          NY 13662‐1812
MR JAROD NORTON           825 MELROSE ST                                                                       PONTIAC          MI 48340‐3124
MR JARRETT A LEWIS        818 FISK DR                                                                          FLINT            MI 48503‐5249
MR JARRETT A TROMBLEY     1432 E JUDD RD                                                                       BURTON           MI 48529‐2063
MR JARRETT R ROSE         1605 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2043
MR JASMES E PHILLIPS      813 W 5TH ST                                                                         MUNCIE           IN 47302‐2206
MR JASON A BROUSSEAU      2197 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1767
MR JASON A CHILTON        102 ANDREWS ST                                                                       MASSENA          NY 13662‐1857
MR JASON A CRISS          11269 RICHARD DR                                                                     CLEVELAND        OH 44130‐1342
MR JASON A LINK           LOFTIN‐LINK                    4081 QUILLEN AVE                                      WATERFORD        MI 48329‐2053
MR JASON A PEREZ          2122 MORRIS AVE                                                                      BURTON           MI 48529‐2105
MR JASON C DUNKELBERG     18 1/2 N MAIN ST                                                                     MASSENA          NY 13662‐1130
MR JASON C STIGALL SR     1490 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8032
MR JASON C TARASKA        26 ELM ST                                                                            MASSENA          NY 13662‐1826
MR JASON D BENTER         2145 S PINE ST                                                                       JANESVILLE       WI 53546‐6133
MR JASON D GRAVES         1515 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2045
MR JASON D MOSIER         722 LINCOLN AVE                                                                      BEDFORD          IN 47421‐2118
MR JASON D SPOERRY        2228 COMMONS AVE                                                                     JANESVILLE       WI 53546‐5966
MR JASON D STOEHR         602 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2108
MR JASON E DORSHA         2336 ASPEN ST                                                                        JANESVILLE       WI 53546‐6149
MR JASON E ORCHARD        582 S SPINNINGWHEEL LN                                                               BLOOMFIELD       MI 48304‐1318
MR JASON E PREMO          196 ALLEN ST                                                                         MASSENA          NY 13662‐1844
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Name                       Address1                     Address2            Address3         Address4         City            State Zip
MR JASON E RICH            1109 BOYNTON DR                                                                    LANSING          MI 48917‐5706
MR JASON H APGER           2632 W 4TH ST                                                                      ONTARIO          OH 44906‐1211
MR JASON I WATTS           66 W YALE AVE                                                                      PONTIAC          MI 48340‐1856
MR JASON J FROST           1091 E COSTELLO ST                                                                 MOUNT MORRIS     MI 48458‐2239
MR JASON J HARRIS          2006 JOLSON AVE                                                                    BURTON           MI 48529‐2032
MR JASON JACKSON           1022 16TH ST                                                                       BEDFORD          IN 47421‐3734
MR JASON K YATES           10916 STACY RUN                                                                    FREDERICKSBRG    VA 22408‐8047
MR JASON L GOLETZ          45660 WOODWARD AVE APT D                                                           PONTIAC          MI 48340
MR JASON L OLIVER          1224 CLOVERLAWN DR                                                                 PONTIAC          MI 48340‐1616
MR JASON L SOUTHERN        1083 E GRAND BLVD                                                                  FLINT            MI 48505‐1505
MR JASON M CHINN           1712 14TH ST                                                                       BEDFORD          IN 47421‐3635
MR JASON M DEVRIES         521 BRYNFORD AVE                                                                   LANSING          MI 48917‐2927
MR JASON M LYONS           370 W YPSILANTI AVE                                                                PONTIAC          MI 48340‐1668
MR JASON M SWINNEY         692 E FOX HILLS DR                                                                 BLOOMFIELD       MI 48304‐1360
MR JASON MADDOX            1508 N LAFOUNTAIN ST                                                               KOKOMO           IN 46901‐2326
MR JASON NICHOLS           39 LYNBROOK RD                                                                     WILMINGTON       DE 19804‐2668
MR JASON O EBERLEIN        7374 ALEXANDER ST                                                                  MOUNT MORRIS     MI 48458‐2928
MR JASON P CADWELL         795 PENSACOLA AVE                                                                  PONTIAC          MI 48340‐2360
MR JASON P HOOVER          5900 BRIDGE RD APT 213                                                             YPSILANTI        MI 48197‐7010
MR JASON P HUBER           11261 HALLER ST                                                                    LIVONIA          MI 48150‐3180
MR JASON P MOORE           675 ELM ST                                                                         MOUNT MORRIS     MI 48458‐1917
MR JASON P OTTO            1604 W 13TH ST                                                                     MUNCIE           IN 47302‐2980
MR JASON P RENNON          125 W HOPKINS AVE                                                                  PONTIAC          MI 48340‐1821
MR JASON PATTERSON         5677 CHEVROLET BLVD APT 1                                                          CLEVELAND        OH 44130‐8716
MR JASON R HENDRY          4036 GRONDINWOOD LN                                                                MILFORD          MI 48380‐4221
MR JASON R STRASSER        335 W YALE AVE                                                                     PONTIAC          MI 48340‐1754
MR JASON R WARHUS          444 FOX HILLS DR N APT 8                                                           BLOOMFIELD       MI 48304‐1329
MR JASON R WILLIAMS        1515 11TH ST                                                                       BEDFORD          IN 47421‐2803
MR JASON RIVERA            505 N GRACE ST                                                                     LANSING          MI 48917‐2951
MR JASON S ADAMS           1453 KENNETH ST                                                                    BURTON           MI 48529‐2209
MR JASON S COSNER          257 THE WOODS                                                                      BEDFORD          IN 47421‐9377
MR JASON S MAY             1406 E WILLIAMSON ST                                                               BURTON           MI 48529‐1640
MR JASON S PULLY           2038 KINGSWOOD DR                                                                  FLINT            MI 48507‐3523
MR JASON T HAZELETT        204 W LONGFELLOW AVE                                                               PONTIAC          MI 48340‐1834
MR JASON T SCHEDA          2667 PENDLETON DR                                                                  BLOOMFIELD       MI 48304‐1642
MR JASON W BOWMAN          3806 PITKIN AVE                                                                    FLINT            MI 48506‐4235
MR JASON W COLEMAN         458 MOONLIGHT DR                                                                   PONTIAC          MI 48340‐1672
MR JASUN L MONACELLI       350 MAIN ST                                                                        MASSENA          NY 13662‐2546
MR JAVIER C RODRIGUEZ      2210 S PEARL ST                                                                    JANESVILLE       WI 53546‐6163
MR JAVIER L LANDEROS       4219 BRANDON ST                                                                    DETROIT          MI 48209‐1331
MR JAVIER L MEDINA         625 CAMERON AVE                                                                    PONTIAC          MI 48340‐3201
MR JAVIER LARA‐GUTIERREZ   4244 TOLEDO ST                                                                     DETROIT          MI 48209‐1365
MR JAVIER OZUNA            15 GERDON AVE                                                                      PONTIAC          MI 48342‐1118
MR JAVIER V HERNANDEZ      3305 GOLDNER ST                                                                    DETROIT          MI 48210‐3232
MR JAVONE L CASTLEBERRY    2901 HARWICK DR APT 1                                                              LANSING          MI 48917‐2354
MR JAWAD NOUFAL            2124 MCKINSTRY ST                                                                  DETROIT          MI 48209‐1671
MR JAWAUN C JOHNSON        1605 MARQUETTE DR                                                                  FLINT            MI 48503‐5238
MR JAY A DELISLE           26 PROSPECT AVE                                                                    MASSENA          NY 13662‐1744
MR JAY A JACKSON           474 FOX HILLS DR N APT 8                                                           BLOOMFIELD       MI 48304‐1334
MR JAY A RUSSELL           435 HOLLIS ST                                                                      FRAMINGHAM       MA 01702‐8646
MR JAY C MCKAY             209 LAURA CT                                                                       WILMINGTON       DE 19804‐2016
MR JAY C NEWMAN            1509 W MEMORIAL DR                                                                 MUNCIE           IN 47302‐2158
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Name                          Address1                           Address2              Address3       Address4                  City           State Zip
MR JAY D BUELOW               9717 HARBOUR COVE CT                                                                              YPSILANTI       MI 48197‐6902
MR JAY D JARDINS              1105 STANLEY AVE                                                                                  PONTIAC         MI 48340‐1780
MR JAY G SIMMONS              1211 KING ST APT 3                                                                                JANESVILLE      WI 53546‐6057
MR JAY L ELSTON               1141 E HARVARD AVE                                                                                FLINT           MI 48505‐1523
MR JAY L HANSON               2348 ASPEN ST                                                                                     JANESVILLE      WI 53546‐6149
MR JAY L VICKORY              1513 E MCLEAN AVE                                                                                 BURTON          MI 48529‐1613
MR JAY R LYGHT                2343 S CHATHAM ST                                                                                 JANESVILLE      WI 53546‐6152
MR JAY RUSHTON                1938 W 8TH ST                                                                                     MUNCIE          IN 47302‐2183
MR JAY S HOPKINS JR           1269 E PRINCETON AVE                                                                              FLINT           MI 48505‐1754
MR JAY W TAYLOR               158 ALLEN ST                                                                                      MASSENA         NY 13662‐1845
MR JAY W WHITE SR             2323 N ARMSTRONG ST                                                                               KOKOMO          IN 46901‐5874
MR JAYESHKUMAR A PATEL        240 ALLEGHENY BLVD STE D                                                                          BROOKVILLE      PA 15825‐2324
MR JB B ALEXANDER             811 FISK DR                                                                                       FLINT           MI 48503‐5248
MR JC C GIBSON                510 HARRIET ST                                                                                    FLINT           MI 48505‐4712
MR JC C PRATER JR             1710 N COURTLAND AVE                                                                              KOKOMO          IN 46901‐2139
MR JC C SELF                  1345 CHERRYLAWN DR                                                                                PONTIAC         MI 48340‐1709
MR JEAN BOUCHE & MRS GISELE   DEUTSCHE BANK SA/NV                AVENUE MARNIX 13 15                  1000 BRUXELLES, BELGIUM
WARNOTTE
MR JEAN FRANCOIS LAMBERT      C/O DEUTSCHE BANK SA/NV            AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR JEFF A ADAMS               1224 14TH ST                                                                                      BEDFORD        IN   47421‐3229
MR JEFF BOSMAN                709 S OPDYKE RD                                                                                   AUBURN HILLS   MI   48326‐3436
MR JEFF COOPER                1622 N ST                                                                                         BEDFORD        IN   47421‐3718
MR JEFF HOLMES                1416 EVERGREEN DR                                                                                 JANESVILLE     WI   53546‐6174
MR JEFF PARKINSON             4066 DAVISON RD                                                                                   BURTON         MI   48509‐1457
MR JEFF WALTHOUR              1916 W 8TH ST                                                                                     MUNCIE         IN   47302‐2183
MR JEFF YATOOMA               208 W ANN ARBOR AVE                                                                               PONTIAC        MI   48340‐1804
MR JEFFERY A ABNEY            1506 N BELL ST                                                                                    KOKOMO         IN   46901‐2334
MR JEFFERY A GAUNT            2003 N LAFOUNTAIN ST                                                                              KOKOMO         IN   46901‐2320
MR JEFFERY A SEXTON           1622 N BELL ST                                                                                    KOKOMO         IN   46901‐2303
MR JEFFERY A WIELING          4303 COLUMBINE AVE                                                                                BURTON         MI   48529‐2432
MR JEFFERY BOWEN SR           2263 E PARKWOOD AVE                                                                               BURTON         MI   48529‐1762
MR JEFFERY C HUDELSON         2430 MOUNT PLEASANT RD                                                                            BEDFORD        IN   47421‐8040
MR JEFFERY D ARNOLD           109 MADISON ST                                                                                    BEDFORD        IN   47421‐1825
MR JEFFERY D CAMPBELL         4 KAREN CT                                                                                        PONTIAC        MI   48340‐1633
MR JEFFERY D TIREY            520 N JACKSON ST                                                                                  BEDFORD        IN   47421‐1530
MR JEFFERY D TUCKER           PO BOX 1556                                                                                       BARBOURVILLE   KY   40906‐5556
MR JEFFERY J MORSE            1112 LAPORT AVE                                                                                   MOUNT MORRIS   MI   48458‐2576
MR JEFFERY K AUSTIN           983 W GRAND BLVD                                                                                  DETROIT        MI   48208‐2310
MR JEFFERY L FROST            2036 E WHITTEMORE AVE                                                                             BURTON         MI   48529‐1724
MR JEFFERY L HILL             285 HIGHLAND AVE                                                                                  BLOOMFIELD     MI   48302‐0632
MR JEFFERY L HUNTER           1913 N MAIN ST                                                                                    KOKOMO         IN   46901‐2266
MR JEFFERY M RINEHART         330 W COLUMBIA AVE                                                                                PONTIAC        MI   48340‐1712
MR JEFFERY N ESTEP            2197 E WILLIAMSON ST                                                                              BURTON         MI   48529‐2447
MR JEFFERY P RANDALL          1418 WEBBER AVE                                                                                   BURTON         MI   48529‐2034
MR JEFFERY S ESTES            2209 E SCOTTWOOD AVE                                                                              BURTON         MI   48529‐1753
MR JEFFERY S TAYLOR           2206 E BRISTOL RD                                                                                 BURTON         MI   48529‐1323
MR JEFFERY SUTTON             1009 NELSON ST                                                                                    FLINT          MI   48503‐1840
MR JEFFERY W BALLARD          1108 BOYNTON DR                                                                                   LANSING        MI   48917‐5704
MR JEFFERY W STEVENS          2080 E SCHUMACHER ST                                                                              BURTON         MI   48529‐2434
MR JEFFERY WRIGHT             120 VARNER ST SE                                                                                  WISE           VA   24293‐5302
MR JEFFREY A BAHN             9838 JULIE DR                                                                                     YPSILANTI      MI   48197‐8290
MR JEFFREY A CARR SR          178 PINGREE AVE                                                                                   PONTIAC        MI   48342‐1158
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Name                       Address1                            Address2            Address3         Address4         City            State Zip
MR JEFFREY A CAZY          1821 KELLOGG AVE                                                                          JANESVILLE       WI 53546‐5916
MR JEFFREY A CHAMBERS      917 W 10TH ST                                                                             MUNCIE           IN 47302‐3193
MR JEFFREY A CHAPMAN II    16 LAUREL AVE                                                                             MASSENA          NY 13662‐2028
MR JEFFREY A COLLINS       824 W MORGAN ST                                                                           KOKOMO           IN 46901‐2056
MR JEFFREY A CONNER        647 BUENA VISTA ST APT 23                                                                 MOUNT MORRIS     MI 48458‐1935
MR JEFFREY A FREEMAN       2230 E BERGIN AVE                                                                         BURTON           MI 48529‐1782
MR JEFFREY A HAJJ          92 SUMMIT ST                                                                              PONTIAC          MI 48342‐1164
MR JEFFREY A HOLDER        22 GROVE ST                                                                               MASSENA          NY 13662‐2137
MR JEFFREY A KNUTSON       2138 S OAKHILL AVE                                                                        JANESVILLE       WI 53546‐9048
MR JEFFREY A MACLEAN       341 PENFIELD AVE                                                                          ELYRIA           OH 44035‐3236
MR JEFFREY A SISK          11000 COREYS WAY                                                                          FREDERICKSBRG    VA 22408‐2074
MR JEFFREY A SMITH         3318 SYLVAN RD                                                                            LANSING          MI 48917‐2335
MR JEFFREY A VANHOUTEN     511 N GRACE ST                                                                            LANSING          MI 48917‐2951
MR JEFFREY ALLOR           9020 ISLAND LAKE RD                                                                       DEXTER           MI 48130‐9749
MR JEFFREY B BARBER        4259 LAFOREST DR                                                                          WATERFORD        MI 48329‐1220
MR JEFFREY B JONES         1608 W 6TH ST                                                                             MUNCIE           IN 47302‐2100
MR JEFFREY B MCINTYRE      106 RILEY BLVD                                                                            BEDFORD          IN 47421‐9644
MR JEFFREY B WESTFALL      1524 12TH ST                                                                              BEDFORD          IN 47421‐3102
MR JEFFREY BARBER          4259 LAFOREST DR                                                                          WATERFORD        MI 48329‐1220
MR JEFFREY C KIRKEY        15 PARKER AVE                                                                             MASSENA          NY 13662‐2213
MR JEFFREY C KIRKPATRICK   1325 ANTHONY AVE                                                                          JANESVILLE       WI 53546‐6068
MR JEFFREY C LEE           5900 BRIDGE RD APT 612                                                                    YPSILANTI        MI 48197‐7011
MR JEFFREY C NANK          509 EMERSON AVE                                                                           PONTIAC          MI 48342‐1822
MR JEFFREY C WELDON        427 6TH ST                                                                                BEDFORD          IN 47421‐9609
MR JEFFREY CHASE           4628 PEERLESS RD                                                                          BEDFORD          IN 47421‐8115
MR JEFFREY COLE            1405 W 10TH ST                                                                            MUNCIE           IN 47302‐2168
MR JEFFREY D ALLEN         1447 E OOLITIC RD                                                                         BEDFORD          IN 47421‐8625
MR JEFFREY D BAILEY        216 RAWLINS MILL RD                                                                       BEDFORD          IN 47421‐7648
MR JEFFREY D GANTT         2909 BRIARWOOD LN                                                                         FREDERICKSBRG    VA 22408‐2067
MR JEFFREY D HANNERS       1315 4TH ST                                                                               BEDFORD          IN 47421‐1820
MR JEFFREY D HICKS         747 HOLLISTER ST                                                                          PONTIAC          MI 48340‐2429
MR JEFFREY D KING          815 JASPER ST                                                                             KOKOMO           IN 46901‐2034
MR JEFFREY D LAMB          1508 N MARKET ST                                                                          KOKOMO           IN 46901‐2370
MR JEFFREY D MARES         11171 SHARON DR                                                                           CLEVELAND        OH 44130‐1434
MR JEFFREY D MUNDY         1427 13TH ST                                                                              BEDFORD          IN 47421‐3226
MR JEFFREY D SHOPHER       725 W WILLARD ST                                                                          MUNCIE           IN 47302‐2229
MR JEFFREY D VANCOBB       2805 HARWICK DR APT 9                                                                     LANSING          MI 48917‐2382
MR JEFFREY DALY            1512 E PARKWOOD AVE                                                                       BURTON           MI 48529‐1634
MR JEFFREY E ECKERSON      10827 STACY RUN                                                                           FREDERICKSBRG    VA 22408‐8040
MR JEFFREY E MARRIN        6 GRASSMERE AVE                                                                           MASSENA          NY 13662‐2035
MR JEFFREY F OHART         1728 I ST APT 1                                                                           BEDFORD          IN 47421‐4252
MR JEFFREY F SCOTT         11792 CAMDEN ST                                                                           LIVONIA          MI 48150‐2362
MR JEFFREY H WEBSTER       142 ANDREWS ST                                                                            MASSENA          NY 13662‐1838
MR JEFFREY HAWK            3712 PEERLESS RD                                                                          BEDFORD          IN 47421‐8111
MR JEFFREY I SHORT         2097 E BUDER AVE                                                                          BURTON           MI 48529‐1733
MR JEFFREY J MORGAN        2611 MELISSA CT                                                                           FREDERICKSBRG    VA 22408‐8070
MR JEFFREY J NEARING       739 MAPLE ST                                                                              MOUNT MORRIS     MI 48458‐2206
MR JEFFREY J ZWEIFEL       2318 S CHATHAM ST                                                                         JANESVILLE       WI 53546‐6151
MR JEFFREY K WREN          1410 N MCCANN ST                                                                          KOKOMO           IN 46901‐2675
MR JEFFREY L DEAN          2228 E WILLIAMSON ST                                                                      BURTON           MI 48529‐2446
MR JEFFREY L DWIGANS       1218 N INDIANA AVE                                                                        KOKOMO           IN 46901‐2718
MR JEFFREY L PICKARD       1607 N BUCKEYE ST                                                                         KOKOMO           IN 46901‐2223
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR JEFFREY L WALLACE       309 SHANDELL DR                                                                      BEDFORD          IN 47421‐9660
MR JEFFREY L WUSSOW        157 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2775
MR JEFFREY M DOBBINS       15 RANSOM AVE                                                                        MASSENA          NY 13662‐1740
MR JEFFREY M MORGAN        2305 S ARCH ST                                                                       JANESVILLE       WI 53546‐6125
MR JEFFREY M PINDEL        2475 FERGUSON RD                                                                     ONTARIO          OH 44906‐1106
MR JEFFREY M STANCROFF     1408 CONNELL ST                                                                      BURTON           MI 48529‐2203
MR JEFFREY P FOSNAUGH      1616 W 13TH ST                                                                       MUNCIE           IN 47302‐2980
MR JEFFREY P HOOPS         1 FLORENCE DR                                                                        CLARK            NJ 07066‐1210
MR JEFFREY P PAYNE         76 W LONGFELLOW AVE                                                                  PONTIAC          MI 48340‐1828
MR JEFFREY P SCOTT         4817 MERRITT ST                                                                      DETROIT          MI 48209‐1354
MR JEFFREY P SHERIDAN SR   38 LYNBROOK RD                                                                       WILMINGTON       DE 19804‐2671
MR JEFFREY R STENLAKE      5 RIVERSIDE PKWY                                                                     MASSENA          NY 13662‐1704
MR JEFFREY R TEWKSBURY     204 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1824
MR JEFFREY RATCLIFF        798 INGLEWOOD AVE                                                                    PONTIAC          MI 48340‐2311
MR JEFFREY S BEST          909 MORRIS AVE                                                                       LANSING          MI 48917‐2328
MR JEFFREY S BUTLER SR     2717 MCKENZIE LN                                                                     FREDERICKSBRG    VA 22408‐8073
MR JEFFREY S CHAPPELL      3545 SCOTTEN ST                                                                      DETROIT          MI 48210‐3159
MR JEFFREY S DORNAN        2123 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6160
MR JEFFREY S DUMAS         15 ROCKAWAY ST                                                                       MASSENA          NY 13662‐2111
MR JEFFREY S DZIELAK       2400 SYLVAN AVE                                                                      WILMINGTON       DE 19805‐2343
MR JEFFREY S SCHOOL        1035 E COSTELLO ST                                                                   MOUNT MORRIS     MI 48458‐2240
MR JEFFREY S WILLIAMS      1518 13TH ST                                                                         BEDFORD          IN 47421‐3112
MR JEFFREY T DATTE         608 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2108
MR JEFFREY T WALTERS       2137 COVERT RD                                                                       BURTON           MI 48509‐1010
MR JEFFREY T WILSON        1472 JOLSON AVE                                                                      BURTON           MI 48529‐2030
MR JEFFREY W BARTLETT      1224 15TH ST                                                                         BEDFORD          IN 47421‐3702
MR JEFFREY W CALLAHAN      1419 O ST                                                                            BEDFORD          IN 47421‐3621
MR JEFFREY W HOWELL        40 TIMBERLAND PASS                                                                   BEDFORD          IN 47421‐5810
MR JEFFREY W LAMBERSON     1129 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2755
MR JEFFREY W MCKENNA JR    24 E NEWPORT AVE                                                                     PONTIAC          MI 48340‐1253
MR JEFFREY W PRINCE        1121 13TH ST                                                                         BEDFORD          IN 47421‐3206
MR JEFFREY W SHIMMONS      1064 BETHANY ST                                                                      MOUNT MORRIS     MI 48458‐2244
MR JEFFRY H ONWELLER       3817 HOLLY AVE                                                                       FLINT            MI 48506‐3108
MR JEFFRY R RUSSELL        1210 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2718
MR JERE CHRISTIAN          9667 BAYVIEW DR APT 314                                                              YPSILANTI        MI 48197‐7027
MR JEREME L BUUCK          500 S WOODWARD AVE                                                                   WILMINGTON       DE 19805‐2365
MR JEREMIAH J WEBER        1414 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐6036
MR JEREMIAH M LEIDY        213 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1855
MR JEREMIAH M MCCARTHY     59 NIGHTENGALE AVE                                                                   MASSENA          NY 13662‐1718
MR JEREMIAH RITTER         1024 P ST                                                                            BEDFORD          IN 47421‐2818
MR JEREMIE G HAWLEY        1207 DOWAGIAC AVE                                                                    MOUNT MORRIS     MI 48458‐2577
MR JEREMIE PEREZ           5501 CHEVROLET BLVD APT B209                                                         CLEVELAND        OH 44130‐1490
MR JEREMY A FROST          2216 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1754
MR JEREMY A THOMPSON       739 BLAINE AVE                                                                       PONTIAC          MI 48340‐2401
MR JEREMY B DIEDERICH      1453 E BRISTOL RD                                                                    BURTON           MI 48529‐2214
MR JEREMY COX              177 SUMMIT ST                                                                        PONTIAC          MI 48342‐1167
MR JEREMY D BRYANT         9915 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6928
MR JEREMY D RODOCKER       2112 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1766
MR JEREMY DABROWSKI        301 S WOODWARD AVE                                                                   WILMINGTON       DE 19805‐2360
MR JEREMY DULL             1932 W 10TH ST                                                                       MUNCIE           IN 47302‐2145
MR JEREMY F STEWART        1600 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐6621
MR JEREMY GILBERT          721 EMERSON AVE                                                                      PONTIAC          MI 48340‐3220
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MR JEREMY H BATES        816 W NORTH ST                                                                       KOKOMO           IN 46901‐2768
MR JEREMY J JOHNSTON     791 CAMERON AVE                                                                      PONTIAC          MI 48340‐3207
MR JEREMY L CUCCO        2715 MCKENZIE LN                                                                     FREDERICKSBRG    VA 22408‐8073
MR JEREMY L DUNHAM       7707 GRANADA DR                                                                      FORT WAYNE       IN 46835‐4184
MR JEREMY L LIPNOS       11430 SHARON DR APT D206                                                             PARMA            OH 44130‐1479
MR JEREMY L MARENTETTE   205 BRYNFORD AVE                                                                     LANSING          MI 48917‐2991
MR JEREMY L VAN NESS     1904 N BELL ST                                                                       KOKOMO           IN 46901‐2330
MR JEREMY M PLUMMER      83 N ST                                                                              BEDFORD          IN 47421‐1733
MR JEREMY MOON           1517 S LIBERTY ST                                                                    MUNCIE           IN 47302‐3149
MR JEREMY NIXON          2014 PROPER AVE                                                                      BURTON           MI 48529‐2048
MR JEREMY R ANDERSON     2099 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1725
MR JEREMY R FARLEY       11041 RIVEREDGE DR                                                                   PARMA            OH 44130‐1254
MR JEREMY R JACKSON      2088 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1750
MR JEREMY S MARSHALL     3921 TUNNELTON RD                                                                    BEDFORD          IN 47421‐9286
MR JEREMY W BROOKMAN     921 E MOUNT MORRIS ST                                                                MOUNT MORRIS     MI 48458‐2055
MR JERMAINE BUTLER       3503 28TH ST                                                                         DETROIT          MI 48210‐3103
MR JERMAINE O MUIR       770 STIRLING ST                                                                      PONTIAC          MI 48340‐3163
MR JEROME A LANE         5900 BRIDGE RD APT 215                                                               YPSILANTI        MI 48197‐7010
MR JEROME H HALL         2347 CLARK ST                                                                        DETROIT          MI 48209‐1335
MR JEROME H PIRTLE SR    710 LOYOLA DR                                                                        FLINT            MI 48503‐5222
MR JEROME J FLESCH       2116 S PALM ST                                                                       JANESVILLE       WI 53546‐6117
MR JEROME J KRYSPIN JR   410 W CHAMPLAIN AVE                                                                  WILMINGTON       DE 19804‐2014
MR JEROME J KRYSPIN JR   9 E KEYSTONE AVE                                                                     WILMINGTON       DE 19804‐2023
MR JEROME M GUCANAC      11439 DEBORAH DR                                                                     PARMA            OH 44130‐1329
MR JEROME R LIGENZA      4687 PLUMER ST                                                                       DETROIT          MI 48209‐1356
MR JEROME W NIKLE        1130 E COLDWATER RD                                                                  FLINT            MI 48505‐1504
MR JERREY J MONTAGUE     2191 E JUDD RD                                                                       BURTON           MI 48529‐2406
MR JERROLD E HARNACK     2126 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐9048
MR JERRY A FELLOWS       355 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1911
MR JERRY A SKINNER       1179 E YALE AVE                                                                      FLINT            MI 48505‐1518
MR JERRY B DIXON         524 W 8TH ST                                                                         MUNCIE           IN 47302‐3161
MR JERRY B MCPHERSON     2119 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1751
MR JERRY B SHARLOW       72 CENTER ST APT 2                                                                   MASSENA          NY 13662‐1470
MR JERRY BYRD            527 15TH ST                                                                          BEDFORD          IN 47421‐3803
MR JERRY CHAMBLISS       11800 BROOKPARK RD TRLR I71                                                          CLEVELAND        OH 44130‐1184
MR JERRY CLIFT           1106 W 16TH ST                                                                       MUNCIE           IN 47302‐3079
MR JERRY D HARDWICK      15 P ST                                                                              BEDFORD          IN 47421‐1717
MR JERRY D LAWSON JR     725 STIRLING ST                                                                      PONTIAC          MI 48340‐3173
MR JERRY D LAWSON JR     721 STIRLING ST                                                                      PONTIAC          MI 48340‐3173
MR JERRY D PROCTOR       684 CORWIN AVE                                                                       PONTIAC          MI 48340‐2410
MR JERRY D SIMPSON       428 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1620
MR JERRY D WEST          1403 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2172
MR JERRY E FREGOE        30 NIGHTENGALE AVE                                                                   MASSENA          NY 13662‐1715
MR JERRY E MOORE         2133 N ARMSTRONG ST                                                                  KOKOMO           IN 46901‐5802
MR JERRY E RECTOR        1305 W 10TH ST                                                                       MUNCIE           IN 47302‐2261
MR JERRY ESTEP           2191 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2447
MR JERRY F MADDEN        1427 E BRISTOL RD                                                                    BURTON           MI 48529‐2213
MR JERRY G CAMPBELL      1621 W 13TH ST                                                                       MUNCIE           IN 47302‐2979
MR JERRY HARGO           862 STIRLING ST                                                                      PONTIAC          MI 48340‐3165
MR JERRY J PACE JR       2212 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐1465
MR JERRY JONES           1025 UNIVERSITY DR                                                                   PONTIAC          MI 48342‐1884
MR JERRY L ANDERSON      9940 JULIE DR                                                                        YPSILANTI        MI 48197‐8291
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR JERRY L BYRD            525 15TH ST                                                                          BEDFORD          IN 47421‐3803
MR JERRY L COFFIN          2022 JOLSON AVE                                                                      BURTON           MI 48529‐2032
MR JERRY L COFFIN          1485 READY AVE                                                                       BURTON           MI 48529‐2053
MR JERRY L DAVIS           1206 N MORRISON ST                                                                   KOKOMO           IN 46901‐2762
MR JERRY L DUNN            3216 TIMBER DR                                                                       LANSING          MI 48917‐2337
MR JERRY L FLOOD           1105 KELLOGG AVE TRLR C3                                                             JANESVILLE       WI 53546‐6084
MR JERRY L HAMILTON        187 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1833
MR JERRY L HIGHTOWER       1913 ROOT ST                                                                         FLINT            MI 48505‐4751
MR JERRY L HURLOCK JR      2132 N WEBSTER ST                                                                    KOKOMO           IN 46901‐5858
MR JERRY L LOFTON          19 KAREN CT                                                                          PONTIAC          MI 48340‐1634
MR JERRY L MORGAN          4098 CORAL ST                                                                        BURTON           MI 48509‐1013
MR JERRY L RUTHERFORD      985 EMERSON AVE                                                                      PONTIAC          MI 48340‐3230
MR JERRY L TAYLOR          1921 W 9TH ST                                                                        MUNCIE           IN 47302‐2124
MR JERRY L THOMPSON JR     51310 SYLVIA DR                                                                      BELLEVILLE       MI 48111‐5029
MR JERRY L WALKER          611 W 9TH ST                                                                         MUNCIE           IN 47302‐3122
MR JERRY L WORKMAN         1301 S MOUND ST                                                                      MUNCIE           IN 47302‐2225
MR JERRY LEDBETTER         1009 W 15TH ST                                                                       MUNCIE           IN 47302‐3067
MR JERRY LOVE              97 W YPSILANTI AVE                                                                   PONTIAC          MI 48340‐1869
MR JERRY M DISMUKE         98 W CORNELL AVE                                                                     PONTIAC          MI 48340‐2718
MR JERRY M JENSEN          10817 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8040
MR JERRY M MCCLURE         604 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2108
MR JERRY M NEIGHBOURS II   1482 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1634
MR JERRY MCLAY             2613 N APPERSON WAY                                                                  KOKOMO           IN 46901‐1455
MR JERRY MCPIKE            2499 PEERLESS RD                                                                     BEDFORD          IN 47421‐8103
MR JERRY MOORE             11800 BROOKPARK RD TRLR A8                                                           CLEVELAND        OH 44130‐1184
MR JERRY R BRYAN           101 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2737
MR JERRY R COLE            2922 E WOODLAND DR                                                                   PHOENIX          AZ 85048‐7761
MR JERRY R MILLIKAN        118 W YALE AVE                                                                       PONTIAC          MI 48340‐1862
MR JERRY R SAMPLES         2126 BRADY AVE                                                                       BURTON           MI 48529‐2425
MR JERRY R SHARP           12 CLARK ST                                                                          MASSENA          NY 13662‐1812
MR JERRY SAYLOR            1339 BRADY AVE                                                                       BURTON           MI 48529‐2007
MR JERRY W ALDERMAN        1309 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2253
MR JERRY W BRACKIN         2075 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1749
MR JERRY W BRACKIN         2278 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2441
MR JERRY W JORDAN SR       1920 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2038
MR JERRY W REDDING         1307 N MORRISON ST                                                                   KOKOMO           IN 46901‐2759
MR JERRY W WAGNER          1404 G ST                                                                            BEDFORD          IN 47421‐3322
MR JESSE A BURK            11744 HALLER ST                                                                      LIVONIA          MI 48150‐2372
MR JESSE A SOLDAN          914 MORRIS AVE                                                                       LANSING          MI 48917‐2309
MR JESSE F STAILEY         70 LINCOLN AVE                                                                       BEDFORD          IN 47421‐1611
MR JESSE G GONZALES JR     1202 N UNION ST                                                                      KOKOMO           IN 46901‐2902
MR JESSE H STARNES JR      2045 E JUDD RD                                                                       BURTON           MI 48529‐2402
MR JESSE L EARLY           1386 LOCKE ST                                                                        PONTIAC          MI 48342‐1948
MR JESSE L JOHNSON         803 GARNET RD                                                                        WILMINGTON       DE 19804‐2615
MR JESSE M SMITH           2188 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1754
MR JESSE QUINTANILLA       1146 E PRINCETON AVE                                                                 FLINT            MI 48505‐1520
MR JESSE R THOMAS JR       2600 GLENDAS WAY                                                                     FREDERICKSBRG    VA 22408‐8071
MR JESSE S CRAWFORD JR     1720 W 8TH ST                                                                        MUNCIE           IN 47302‐2115
MR JESSE V PAGE            2135 HUBBARD ST APT 32                                                               DETROIT          MI 48209‐3322
MR JESSE W STANLEY         1202 L ST                                                                            BEDFORD          IN 47421‐2921
MR JESSIE W SMART          1296 E KURTZ AVE                                                                     FLINT            MI 48505‐1765
MR JESUS A MARTINEZ        211 W ELM ST                                                                         KOKOMO           IN 46901‐2835
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MR JESUS BAEZ             309 W HILDA ST                                                                       TAMPA            FL 33603‐3534
MR JESUS J AGUADO         715 GARNET RD                                                                        WILMINGTON       DE 19804‐2613
MR JESUS J ARIAS          4738 TOLEDO ST                                                                       DETROIT          MI 48209‐1373
MR JESUS J VILLAGOMEZ     728 STANLEY AVE                                                                      PONTIAC          MI 48340‐2471
MR JESUS M GUTIERREZ      2164 LANSING ST                                                                      DETROIT          MI 48209‐1673
MR JESUS M ORTEGA         101 TRIPP ST                                                                         FRAMINGHAM       MA 01702‐8775
MR JESUS P OVIDEO         219 BRYNFORD AVE                                                                     LANSING          MI 48917‐2991
MR JESUS PENA             2166 SCOTTEN ST                                                                      DETROIT          MI 48209‐1667
MR JESUS REYES            850 INGLEWOOD AVE                                                                    PONTIAC          MI 48340‐2313
MR JESUS S GALVAN         3408 JUNCTION ST                                                                     DETROIT          MI 48210‐3006
MR JESUS ZAMUDIO          709 GARNET RD                                                                        WILMINGTON       DE 19804‐2613
MR JIHAD A NOUFAL         2130 MCKINSTRY ST                                                                    DETROIT          MI 48209‐1671
MR JIM BENDO              162 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2620
MR JIM D BARFIELD         2209 S ARCH ST                                                                       JANESVILLE       WI 53546‐5955
MR JIM D BELLUSH          1415 14TH ST                                                                         BEDFORD          IN 47421‐3232
MR JIM D HATFIELD         921 O ST                                                                             BEDFORD          IN 47421‐2541
MR JIM HURBERT            1524 W 7TH ST                                                                        MUNCIE           IN 47302‐2109
MR JIM I SOWDERS          1615 O ST                                                                            BEDFORD          IN 47421‐4116
MR JIM K GARGASOUKAS      233 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1805
MR JIM K SMITH            1601 W 7TH ST                                                                        MUNCIE           IN 47302‐2190
MR JIM W JENKINS          1029 BOYNTON DR                                                                      LANSING          MI 48917‐1759
MR JIMMIE C RYAN          2274 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2441
MR JIMMIE D RICHMOND      29 PUTNAM AVE                                                                        PONTIAC          MI 48342‐1265
MR JIMMIE D STARLING      11301 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2038
MR JIMMIE L ANDERSON 3D   781 CAMERON AVE                                                                      PONTIAC          MI 48340‐3207
MR JIMMIE L ANDERSON JR   695 MELROSE ST                                                                       PONTIAC          MI 48340‐3118
MR JIMMIE L BULLOCK       305 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1741
MR JIMMIE M MCMILLAN      2216 BRADY AVE                                                                       BURTON           MI 48529‐2427
MR JIMMIE R BRANTON JR    2152 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1714
MR JIMMIE R COFFELT       2106 N CENTER RD                                                                     BURTON           MI 48509‐1002
MR JIMMIE R SHARP SR      2212 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1754
MR JIMMIE S HATCHER       11505 N SAGINAW ST                                                                   MOUNT MORRIS     MI 48458‐2049
MR JIMMIE TURNER          716 WILBERFORCE DR                                                                   FLINT            MI 48503‐5235
MR JIMMY A SANTINO        749 W GRAND BLVD                                                                     DETROIT          MI 48216‐1056
MR JIMMY BIRCHFIELD       1319 F ST                                                                            BEDFORD          IN 47421‐3313
MR JIMMY BRIGGS           877 KETTERING AVE                                                                    PONTIAC          MI 48340‐3254
MR JIMMY C MILLER         4309 TOLEDO ST                                                                       DETROIT          MI 48209‐1366
MR JIMMY D PORTER         712 W TATE ST                                                                        KOKOMO           IN 46901‐2110
MR JIMMY E SMITH          230 RILEY BLVD                                                                       BEDFORD          IN 47421‐9648
MR JIMMY E WATSON         1711 N WABASH AVE                                                                    KOKOMO           IN 46901‐2006
MR JIMMY F KILGORE        1239 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1737
MR JIMMY L CRUMP          875 BAY ST                                                                           PONTIAC          MI 48342‐1903
MR JIMMY L GORDON         1406 N VIRGINIA AVE                                                                  FLINT            MI 48506‐4223
MR JIMMY ORTIZ            155 EUCLID AVE                                                                       PONTIAC          MI 48342‐1115
MR JIMMY P GARCIA         891 CAMERON AVE                                                                      PONTIAC          MI 48340‐3211
MR JIMMY R HEARN          1511 16TH ST                                                                         BEDFORD          IN 47421‐3609
MR JIMMY R POUNDS         806 LINCOLN AVE                                                                      BEDFORD          IN 47421‐2536
MR JIMMY T WILSON         4798 PLUMER ST                                                                       DETROIT          MI 48209‐1390
MR JIMMY THOMAS           609 W WILLARD ST                                                                     MUNCIE           IN 47302‐2227
MR JOACHIM H KOBINGER     2300 VALLEY GATE                                                                     MILFORD          MI 48380‐4251
MR JOAO P MIRANDA         35 SUBURBAN RD                                                                       CLARK            NJ 07066‐1243
MR JOAQUIN R TORRES       1092 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1700
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Name                       Address1                        Address2                  Address3   Address4             City            State Zip
MR JOCHEN BADERSCHNEIDER   VEICHTEDERPOINTWEG 33           84036 LANDSHUT, GERMANY
MR JOCHEN BADERSCHNEIDER   JOCHEN BADERSCHNEIDER           VEICHTEDERPOINTWEG 33                D 84036 LANDSHUT
                                                                                                GERMANY
MR JODY L RATHBURN         4214 RISEDORPH ST                                                                         BURTON          MI    48509‐1044
MR JODY R HUDDLESTON       26 RIDGEWOOD AVE                                                                          MASSENA         NY    13662‐2200
MR JOE A BARTON            1705 W 11TH ST                                                                            MUNCIE          IN    47302‐2152
MR JOE A GALLOWAY          1120 DOWAGIAC AVE                                                                         MOUNT MORRIS    MI    48458‐2580
MR JOE A LAKE JR           633 14TH ST                                                                               BEDFORD         IN    47421‐3309
MR JOE A ODLE              1801 W 11TH ST                                                                            MUNCIE          IN    47302‐6614
MR JOE ARMSTRONG           1710 BRISTOL COURT DR                                                                     MOUNT MORRIS    MI    48458‐2185
MR JOE B STEVENS           864 STANLEY AVE                                                                           PONTIAC         MI    48340‐2558
MR JOE B TOWNSEND          151 CHERRY HILL DR                                                                        PONTIAC         MI    48340‐1609
MR JOE D HARRELL           1011 O ST                                                                                 BEDFORD         IN    47421‐2813
MR JOE D HICKS             120 HICKS BRIDGE RD                                                                       BEDFORD         IN    47421‐5903
MR JOE D RIGSBY            245 W YPSILANTI AVE                                                                       PONTIAC         MI    48340‐1878
MR JOE DUSARD              1412 13TH ST                                                                              BEDFORD         IN    47421‐3227
MR JOE E COPELAND          1611 N BUCKEYE ST                                                                         KOKOMO          IN    46901‐2223
MR JOE E TERRELL           1308 F ST                                                                                 BEDFORD         IN    47421‐3314
MR JOE GIVENS JR           2001 N CENTER RD APT 210                                                                  FLINT           MI    48506‐3182
MR JOE H INGRAM 3D         922 ARLENE AVE                                                                            PONTIAC         MI    48340‐2900
MR JOE H PHELPS            3515 LOVETT ST                                                                            DETROIT         MI    48210‐3138
MR JOE HORVATH             8436 TOD AVE SW                                                                           WARREN          OH    44481‐9628
MR JOE J JOHNSON           136 WHITE LN                                                                              BEDFORD         IN    47421‐9221
MR JOE JARRETT             29 RANSOM AVE                                                                             MASSENA         NY    13662‐1739
MR JOE K HICKS JR          2321 N MAIN ST                                                                            KOKOMO          IN    46901‐5878
MR JOE L D'ACQUISTO        1715 KING ST                                                                              JANESVILLE      WI    53546‐6029
MR JOE L GIVAN             3599 LOVETT ST                                                                            DETROIT         MI    48210‐3138
MR JOE L KOENIG            1122 LINCOLN AVE                                                                          BEDFORD         IN    47421‐2925
MR JOE M DUNAWAY           3736 IVANHOE AVE                                                                          FLINT           MI    48506‐4214
MR JOE MCFADDEN            2404 N SOUTH POOR FARM RD                                                                 BEDFORD         IN    47421‐9268
MR JOE O FRIEND            1317 E PRINCETON AVE                                                                      FLINT           MI    48505‐1754
MR JOE R DOBKINS           1616 13TH ST                                                                              BEDFORD         IN    47421‐3114
MR JOE R VASQUEZ           124 N CATHERINE ST                                                                        LANSING         MI    48917‐2928
MR JOE T SANDERS JR        3327 JUNCTION ST                                                                          DETROIT         MI    48210‐3205
MR JOE VINCENT             1521 W 10TH ST                                                                            MUNCIE          IN    47302‐2142
MR JOE W AMERSON SR        10 KAREN CT                                                                               PONTIAC         MI    48340‐1633
MR JOE W BROWN             7117 ESTRELLE AVE                                                                         MOUNT MORRIS    MI    48458‐2148
MR JOE W ENGLAND SR        904 N BUCKEYE ST                                                                          KOKOMO          IN    46901‐3378
MR JOE YOPP                222 S GOSPEL ST                                                                           PAOLI           IN    47454‐1335
MR JOEL A MEYERS           1716 ARBUTUS ST                                                                           JANESVILLE      WI    53546‐6144
MR JOEL B MOTZ             668 SEDGEFIELD DR                                                                         BLOOMFIELD      MI    48304‐1059
MR JOEL B PITTMAN          10800 STACY RUN                                                                           FREDERICKSBRG   VA    22408‐8041
MR JOEL BERNARD‐QUILES     224 W BEVERLY AVE                                                                         PONTIAC         MI    48340‐2623
MR JOEL C JARRELL          512 CESAR E CHAVEZ AVE                                                                    PONTIAC         MI    48342‐1053
MR JOEL D HENRY JR         2016 FOX GLEN CT                                                                          BLOOMFIELD      MI    48304‐1006
MR JOEL FALCON             4801 BRANDON ST                                                                           DETROIT         MI    48209‐1393
MR JOEL G DELLOIACONO      34 SUBURBAN RD                                                                            CLARK           NJ    07066‐1244
MR JOEL J LUCSY            1467 READY AVE                                                                            BURTON          MI    48529‐2053
MR JOEL L ST HILAIRE       40 PROSPECT AVE                                                                           MASSENA         NY    13662‐1744
MR JOEL MONTGOMERY         227 MAIN ST                                                                               MASSENA         NY    13662‐1963
MR JOEL T HANSON           1229 KING ST                                                                              JANESVILLE      WI    53546‐6025
MR JOEL T LISEE SR         1106 LORENE AVE                                                                           MOUNT MORRIS    MI    48458‐2136
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Name                               Address1                          Address2            Address3         Address4         City             State Zip
MR JOESPH SOVA                     215 W STRATHMORE AVE                                                                    PONTIAC           MI 48340‐2779
MR JOEY J DADOUR                   1053 E GRAND BLVD                                                                       FLINT             MI 48505‐1505
MR JOEY K REEL                     909 W 14TH ST                                                                           MUNCIE            IN 47302‐7613
MR JOHN A BARTALO                  10 HIGHLAND AVE                                                                         MASSENA           NY 13662‐1822
MR JOHN A BAUCH                    784 MELROSE ST                                                                          PONTIAC           MI 48340‐3121
MR JOHN A CHELENYAK                11181 OXBOW ST                                                                          LIVONIA           MI 48150‐3146
MR JOHN A CONIGLIO                 10781 RIVEREDGE DR                                                                      PARMA             OH 44130‐1246
MR JOHN A EVANS                    664 BAY ST                                                                              PONTIAC           MI 48342‐1918
MR JOHN A FLIPPEN                  552 E PATERSON ST                                                                       FLINT             MI 48505‐4726
MR JOHN A GARCIA                   998 DEWEY ST                                                                            PONTIAC           MI 48340‐2634
MR JOHN A HACKMEYER                10918 STACY RUN                                                                         FREDERICKSBRG     VA 22408‐8047
MR JOHN A HUGHLEY                  953 KETTERING AVE                                                                       PONTIAC           MI 48340‐3258
MR JOHN A LUCKES                   259 W LONGFELLOW AVE                                                                    PONTIAC           MI 48340‐1835
MR JOHN A MEGGERT                  725 KINNEY RD                                                                           PONTIAC           MI 48340‐2440
MR JOHN A MURRAY                   45 BRIDGES AVE                                                                          MASSENA           NY 13662‐1855
MR JOHN A REDDEN                   11206 MANSFIELD CLUB DR                                                                 FREDERICKSBRG     VA 22408‐2046
MR JOHN A SCHELBERT                1201 N MORRISON ST                                                                      KOKOMO            IN 46901‐2761
MR JOHN A STANDHARDT               11212 GARDEN ST                                                                         LIVONIA           MI 48150‐3139
MR JOHN A SUND                     601 CURTIS AVE                                                                          WILMINGTON        DE 19804‐2107
MR JOHN A TRETHEWAY                1489 E SCHUMACHER ST                                                                    BURTON            MI 48529‐1621
MR JOHN A WILLIAMS JR              1117 14TH ST                                                                            BEDFORD           IN 47421‐3212
MR JOHN A WILLIAMS JR              1504 14TH ST                                                                            BEDFORD           IN 47421‐3631
MR JOHN ALTMAN                     609 W SPRAKER ST                                                                        KOKOMO            IN 46901‐2126
MR JOHN B COCHRAN JR               791 KENILWORTH AVE                                                                      PONTIAC           MI 48340‐3101
MR JOHN B HENRY                    1121 LORENE AVE                                                                         MOUNT MORRIS      MI 48458‐2112
MR JOHN B LAMBERT                  31 N ALLEN ST                                                                           MASSENA           NY 13662‐1801
MR JOHN B MANNER                   9815 JOAN CIR                                                                           YPSILANTI         MI 48197‐8295
MR JOHN B MCLAUGHLIN               6 COPA LN                                                                               WILMINGTON        DE 19804‐2050
MR JOHN B MILLER                   1411 BRADY AVE                                                                          BURTON            MI 48529‐2009
MR JOHN B NOBLE JR                 411 HOLLIS ST                                                                           FRAMINGHAM        MA 01702‐8646
MR JOHN BEAVER                     717 1/2 17TH ST                                                                         BEDFORD           IN 47421‐4201
MR JOHN BRADFORD                   138 W BEVERLY AVE                                                                       PONTIAC           MI 48340‐2620
MR JOHN BRADFORD                   97 W YALE AVE                                                                           PONTIAC           MI 48340‐1861
MR JOHN BURTON                     1514 N WABASH AVE                                                                       KOKOMO            IN 46901‐2011
MR JOHN C BANNACH AND MS EMILY E   276 LAKESIDE PARK DR                                                                    HENDERSONVILLE    TN 37075
BANNACH
MR JOHN C BOWEN                    1098 LORENE AVE                                                                         MOUNT MORRIS     MI   48458‐2136
MR JOHN C DOBELBOWER               1936 W 9TH ST                                                                           MUNCIE           IN   47302‐2123
MR JOHN C EVANS                    339 EXMORE AVE                                                                          WILMINGTON       DE   19805‐2321
MR JOHN C GOSS                     184 W BEVERLY AVE                                                                       PONTIAC          MI   48340‐2622
MR JOHN C HAURY                    1534 I ST                                                                               BEDFORD          IN   47421‐3836
MR JOHN C HAWKINS                  10703 TRICIA PL                                                                         FREDERICKSBRG    VA   22408‐8068
MR JOHN C HOWE                     1406 E BOATFIELD AVE                                                                    BURTON           MI   48529‐1602
MR JOHN C JOHNSON                  6129 LAKE DR                                                                            YPSILANTI        MI   48197‐7049
MR JOHN C KOT                      59 W ORVIS ST                                                                           MASSENA          NY   13662‐1880
MR JOHN C LEACH                    1207 MABEL AVE                                                                          FLINT            MI   48506‐3259
MR JOHN C MADER                    1800 W 13TH ST                                                                          MUNCIE           IN   47302‐6617
MR JOHN C MULLINS                  6133 LAKE DR                                                                            YPSILANTI        MI   48197‐7052
MR JOHN COLLINS                    4841 OTIS ST                                                                            DETROIT          MI   48210‐3215
MR JOHN COOKS                      161 WATER ST                                                                            MASSENA          NY   13662‐4026
MR JOHN COSTA                      320 CENTURY BLVD                                                                        WILMINGTON       DE   19808‐6270
MR JOHN CUYLER                     5541 CHEVROLET BLVD APT B505                                                            CLEVELAND        OH   44130‐1463
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Name                    Address1                           Address2            Address3         Address4         City            State Zip
MR JOHN D ABEL          708 18TH ST                                                                              BEDFORD          IN 47421‐4210
MR JOHN D BARTLETT      7 SOWDERS RD                                                                             BEDFORD          IN 47421‐8132
MR JOHN D CRATON        1308 15TH ST                                                                             BEDFORD          IN 47421‐3704
MR JOHN D DALEY         175 MAIN ST                                                                              MASSENA          NY 13662‐1948
MR JOHN D DALTON        643 N JACKSON ST                                                                         BEDFORD          IN 47421‐1531
MR JOHN D FEHER         2136 CONNELL ST                                                                          BURTON           MI 48529‐1335
MR JOHN D GYSIN II      522 WEYBRIDGE DR                                                                         BLOOMFIELD       MI 48304‐1080
MR JOHN D HANNIGAN      4148 WOODROW AVE                                                                         BURTON           MI 48509‐1052
MR JOHN D HUBBARD       818 LINCOLN AVE                                                                          BEDFORD          IN 47421‐2536
MR JOHN D HUGHES        1307 14TH ST                                                                             BEDFORD          IN 47421‐3230
MR JOHN D LEAHY         289 WHITE LN                                                                             BEDFORD          IN 47421‐9224
MR JOHN D LEWELLYN      4111 RISEDORPH ST                                                                        BURTON           MI 48509‐1067
MR JOHN D MARTINI       1490 JOLSON AVE                                                                          BURTON           MI 48529‐2030
MR JOHN D MAXWELL       166 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐2736
MR JOHN D MICHAUD 3D    48 MAIN ST APT 5                                                                         MASSENA          NY 13662‐1986
MR JOHN D MOORE         2075 CLARKDALE ST                                                                        DETROIT          MI 48209‐1691
MR JOHN D MORROW        2145 E BUDER AVE                                                                         BURTON           MI 48529‐1733
MR JOHN D PYTEL         604 N WALNUT ST                                                                          WILMINGTON       DE 19804‐2624
MR JOHN D REED          780 PALMER DR                                                                            PONTIAC          MI 48342‐1857
MR JOHN D ROGERS JR     1093 LORENE AVE                                                                          MOUNT MORRIS     MI 48458‐2112
MR JOHN D SMELTS        106 W YPSILANTI AVE                                                                      PONTIAC          MI 48340‐1873
MR JOHN D SPILKER       2188 WEBBER AVE                                                                          BURTON           MI 48529‐2416
MR JOHN D TYO           50 PARKER AVE                                                                            MASSENA          NY 13662‐4233
MR JOHN D WILCOXEN      814 17TH ST APT 2                                                                        BEDFORD          IN 47421‐4244
MR JOHN DENNY           320 HELTONVILLE RD W                                                                     BEDFORD          IN 47421‐9387
MR JOHN E ARENS         836 MORRIS AVE                                                                           LANSING          MI 48917‐2319
MR JOHN E BATCHELOR     646 KINNEY RD                                                                            PONTIAC          MI 48340‐2430
MR JOHN E BLANKENSHIP   212 BROOKE DR                                                                            FREDERICKSBRG    VA 22408‐2004
MR JOHN E BOYD JR       11390 RICHARD DR                                                                         CLEVELAND        OH 44130‐1343
MR JOHN E CAMPBELL      714 SPELLMAN DR                                                                          FLINT            MI 48503‐5228
MR JOHN E COOK          11121 OXBOW ST                                                                           LIVONIA          MI 48150‐3146
MR JOHN E CRAIG         1517 17TH ST                                                                             BEDFORD          IN 47421‐4103
MR JOHN E GOSSETT       9963 JOAN CIR                                                                            YPSILANTI        MI 48197‐6903
MR JOHN E HART          2174 E JUDD RD                                                                           BURTON           MI 48529‐2405
MR JOHN E HENERY JR     814 W CHAMPLAIN AVE                                                                      WILMINGTON       DE 19804‐2007
MR JOHN E HITE          2101 E MCLEAN AVE                                                                        BURTON           MI 48529‐1739
MR JOHN E JACOBS        1495 PROPER AVE                                                                          BURTON           MI 48529‐2045
MR JOHN E JONES         1040 SUGAR HILL ADDITION                                                                 BEDFORD          IN 47421‐8147
MR JOHN E KEMPSKI       600 N WALNUT ST                                                                          WILMINGTON       DE 19804‐2624
MR JOHN E LANDERS JR    2205 S HOYT AVE                                                                          MUNCIE           IN 47302‐3017
MR JOHN E MCCAUSLIN     584 SEDGEFIELD DR                                                                        BLOOMFIELD       MI 48304‐1057
MR JOHN E MCQUEEN JR    188 W ANN ARBOR AVE                                                                      PONTIAC          MI 48340‐1802
MR JOHN E NAWROCKI      208 GREENWOOD RD                                                                         WILMINGTON       DE 19804‐2653
MR JOHN E PEOPLES       874 GOLF DR                        APT 201                                               PONTIAC          MI 48341‐2394
MR JOHN E PLEVA JR      10860 SHARON DR                                                                          CLEVELAND        OH 44130‐1428
MR JOHN E REYNOLDS      2709 GLENDAS WAY                                                                         FREDERICKSBRG    VA 22408‐8037
MR JOHN E STALKER       1305 K ST APT 232                                                                        BEDFORD          IN 47421‐3242
MR JOHN E STARR         1105 KELLOGG AVE TRLR C9                                                                 JANESVILLE       WI 53546‐6084
MR JOHN E STRUCK JR     11220 SHARON DR                                                                          PARMA            OH 44130‐1436
MR JOHN E TYLER 3D      26 WESTERN AVE                                                                           SHERBORN         MA 01770‐1106
MR JOHN E WALKER 3D     704 WILBERFORCE DR                                                                       FLINT            MI 48503‐5235
MR JOHN F COLLIER SR    128 W LONGFELLOW AVE                                                                     PONTIAC          MI 48340‐1830
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Name                       Address1                        Address2            Address3         Address4         City            State Zip
MR JOHN F CRAIG            2410 LINKWOOD AVE                                                                     WILMINGTON       DE 19805‐2330
MR JOHN F DUESTERBECK JR   1815 KELLOGG AVE                                                                      JANESVILLE       WI 53546‐5916
MR JOHN F DUMMER           2125 S WALNUT ST                                                                      JANESVILLE       WI 53546‐6135
MR JOHN F EICHLER          10817 SAMANTHA PL                                                                     FREDERICKSBRG    VA 22408‐8042
MR JOHN F FERNATT          616 W 11TH ST                                                                         MUNCIE           IN 47302‐3129
MR JOHN F LACKS            615 SEDGEFIELD DR                                                                     BLOOMFIELD       MI 48304‐1060
MR JOHN F MEDLOCK          75 LINCOLN AVE                                                                        BEDFORD          IN 47421‐1610
MR JOHN F NOONAN JR        1995 HUNTERS RIDGE DR                                                                 BLOOMFIELD       MI 48304‐1037
MR JOHN F PANKHURST        1528 KELLOGG AVE                                                                      JANESVILLE       WI 53546‐6024
MR JOHN F SCOTT            158 W YALE AVE                                                                        PONTIAC          MI 48340‐1862
MR JOHN F SLOAN            6 THAYER ST                                                                           FRAMINGHAM       MA 01702‐8718
MR JOHN F STEVENSON JR     33 W STRATHMORE AVE                                                                   PONTIAC          MI 48340‐2771
MR JOHN F TRAYNOR          260 W MONTCALM ST                                                                     PONTIAC          MI 48342‐1149
MR JOHN F TRAYNOR          628 LOUNSBURY AVE                                                                     PONTIAC          MI 48340‐2447
MR JOHN FOX                742 LIVINGSTON AVE                                                                    PONTIAC          MI 48340‐2445
MR JOHN FOX                731 ROBINWOOD ST                                                                      PONTIAC          MI 48340‐3141
MR JOHN G ANDERSON         101 E KEYSTONE AVE                                                                    WILMINGTON       DE 19804‐2025
MR JOHN G COOPER JR        607 FOX HILLS DR N                                                                    BLOOMFIELD       MI 48304‐1313
MR JOHN G DOUGLAS          6 KENT ST                                                                             MASSENA          NY 13662‐2120
MR JOHN G ELKINS           535 RAWLINS MILL RD                                                                   BEDFORD          IN 47421‐7650
MR JOHN G FILLO            805 HARWOOD RD                                                                        WILMINGTON       DE 19804‐2660
MR JOHN G GAULD            867 SARASOTA AVE                                                                      PONTIAC          MI 48340‐2369
MR JOHN G GORCZYCA         1809 N APPERSON WAY                                                                   KOKOMO           IN 46901‐2378
MR JOHN G HAMM JR          9976 GERALDINE ST                                                                     YPSILANTI        MI 48197‐6929
MR JOHN G HOLT             805 W 7TH ST                                                                          MUNCIE           IN 47302‐2212
MR JOHN G LUCIO            120 MAIN ST APT 2                                                                     MASSENA          NY 13662‐1998
MR JOHN G NEILL 3D         2411 SYLVAN AVE                                                                       WILMINGTON       DE 19805‐2342
MR JOHN G WICKS JR         21 WESTERN AVE                                                                        SHERBORN         MA 01770‐1107
MR JOHN G WICKS JR         9 WESTERN AVE                                                                         SHERBORN         MA 01770‐1107
MR JOHN GOTTSCHALK         1016 MEADOWLAWN DR                                                                    PONTIAC          MI 48340‐1730
MR JOHN GROUNDS            2867 S WALNUT STREET PIKE                                                             BLOOMINGTON      IN 47401‐8402
MR JOHN GROUNDS            248 THE WOODS                                                                         BEDFORD          IN 47421‐9376
MR JOHN H ALLEN JR         2913 BROYHILL CT                                                                      FREDERICKSBRG    VA 22408‐2069
MR JOHN H ANDREWS          4 ANDREWS ST                                                                          FRAMINGHAM       MA 01702‐8702
MR JOHN H BERCAW JR        2458 FERGUSON RD                                                                      ONTARIO          OH 44906‐1107
MR JOHN H BLAND            158 CHARLES LN                                                                        PONTIAC          MI 48341‐2927
MR JOHN H BOYLE            2409 SYLVAN AVE                                                                       WILMINGTON       DE 19805‐2342
MR JOHN H BRIGGS           803 ROBINWOOD ST                                                                      PONTIAC          MI 48340‐3145
MR JOHN H BRIGGS           892 KETTERING AVE                                                                     PONTIAC          MI 48340‐3253
MR JOHN H CONDIFF          1608 14TH ST                                                                          BEDFORD          IN 47421‐3633
MR JOHN H DAMRON           4683 BRANDON ST                                                                       DETROIT          MI 48209‐1334
MR JOHN H DAVIS            680 KENILWORTH AVE                                                                    PONTIAC          MI 48340‐3238
MR JOHN H DIBBS            5900 BRIDGE RD APT 610                                                                YPSILANTI        MI 48197‐7011
MR JOHN H HARDEN           925 KETTERING AVE                                                                     PONTIAC          MI 48340‐3258
MR JOHN H MIRI             3260 JUNCTION ST                                                                      DETROIT          MI 48210‐3204
MR JOHN H SANDERS 3D       11470 SHARON DR APT D103                                                              PARMA            OH 44130‐1445
MR JOHN H TAYLOR           1063 E ELSTNER ST                                                                     MOUNT MORRIS     MI 48458‐2209
MR JOHN HIGHHOUSE          200 THE WOODS                                                                         BEDFORD          IN 47421‐9369
MR JOHN I GARZA            2004 N GENESEE DR                                                                     LANSING          MI 48915‐1231
MR JOHN INC                200 SMITH ST                                                                          KEASBEY          NJ 08832‐1159
MR JOHN J BAER             4870 SAINT HEDWIG ST                                                                  DETROIT          MI 48210‐3223
MR JOHN J BETZ             2 W CONRAD DR                                                                         WILMINGTON       DE 19804‐2019
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Name                     Address1                         Address2            Address3         Address4         City               State Zip
MR JOHN J BISCOVICH JR   89 W SHEFFIELD AVE                                                                     PONTIAC             MI 48340‐1849
MR JOHN J CLEMENTONI     322 EXMORE AVE                                                                         WILMINGTON          DE 19805‐2322
MR JOHN J CONNELL        693 E FOX HILLS DR                                                                     BLOOMFIELD          MI 48304‐1342
MR JOHN J DAVIS JR       3021 25TH ST                                                                           DETROIT             MI 48216‐1001
MR JOHN J DEWEESE II     2733 25TH ST                                                                           DETROIT             MI 48216‐1054
MR JOHN J DUNCAN         8 AARON ST STE 3                                                                       FRAMINGHAM          MA 01702‐8786
MR JOHN J FIORE          10 GOLD RD                                                                             WAPPINGERS FALLS    NY 12590‐3406
MR JOHN J GRAY           15 MAIN ST                                                                             MASSENA             NY 13662‐1914
MR JOHN J HORAN JR       39 PROSPECT AVE                                                                        MASSENA             NY 13662‐1748
MR JOHN J KAVEC          11221 FAIRLAWN DR                                                                      PARMA               OH 44130‐1221
MR JOHN J KISIELEWSKI    706 CURTIS AVE                                                                         WILMINGTON          DE 19804‐2110
MR JOHN J MATOTT         106 BROOKLAND DR                                                                       SYRACUSE            NY 13208‐3213
MR JOHN J MITCHELL JR    448 HOLLIS ST                                                                          FRAMINGHAM          MA 01702‐8623
MR JOHN J NEESON         2014 W BURBANK AVE                                                                     JANESVILLE          WI 53546‐5977
MR JOHN J NOWAK          1375 E BRISTOL RD                                                                      BURTON              MI 48529‐2213
MR JOHN J SKEETERS       8426 MURRAY RIDGE RD                                                                   ELYRIA              OH 44035‐4749
MR JOHN J SLAZINSKI      644 SEDGEFIELD DR                                                                      BLOOMFIELD          MI 48304‐1059
MR JOHN J SULAICA JR     785 BLAINE AVE                                                                         PONTIAC             MI 48340‐2403
MR JOHN J UMFLEET        11844 CAMDEN ST                                                                        LIVONIA             MI 48150‐2340
MR JOHN J VANCE          801 W 1ST ST                                                                           MUNCIE              IN 47305‐2213
MR JOHN JURKIEWICZ       9927 GERALDINE ST                                                                      YPSILANTI           MI 48197‐6928
MR JOHN K KUE            627 S OPDYKE RD                                                                        AUBURN HILLS        MI 48326‐3435
MR JOHN K MURRAY         9863 JOAN CIR                                                                          YPSILANTI           MI 48197‐8296
MR JOHN K ROBBINS        1181 MOUNT PLEASANT RD                                                                 BEDFORD             IN 47421‐8029
MR JOHN K THOMAS         1601 13TH ST                                                                           BEDFORD             IN 47421‐3113
MR JOHN K WILMORE        1022 BOXWOOD RD                                                                        WILMINGTON          DE 19804‐2002
MR JOHN L BOUGH          311 LINCOLN AVE                                                                        BEDFORD             IN 47421‐1608
MR JOHN L BURNETT JR     9820 GERALDINE ST                                                                      YPSILANTI           MI 48197‐6921
MR JOHN L CHAPMAN        1057 E COSTELLO ST                                                                     MOUNT MORRIS        MI 48458‐2239
MR JOHN L FALL           812 HELTONVILLE RD E                                                                   BEDFORD             IN 47421‐9253
MR JOHN L FALL           3446 STONINGTON RD                                                                     MITCHELL            IN 47446‐6251
MR JOHN L JOHNSON        64 W CORNELL AVE                                                                       PONTIAC             MI 48340‐2716
MR JOHN L KELLY          70 PROSPECT AVE                                                                        MASSENA             NY 13662‐1742
MR JOHN L LIDY           2218 N BUCKEYE ST                                                                      KOKOMO              IN 46901‐5813
MR JOHN L LOWTHER        806 HARWOOD RD                                                                         WILMINGTON          DE 19804‐2661
MR JOHN L MAY            1222 14TH ST                                                                           BEDFORD             IN 47421‐3229
MR JOHN L MORFIT         10814 SAMANTHA PL                                                                      FREDERICKSBRG       VA 22408‐8043
MR JOHN L PERRY          39 KENT ST                                                                             MASSENA             NY 13662‐2121
MR JOHN L SMITH          1010 16TH ST APT 2                                                                     BEDFORD             IN 47421‐3769
MR JOHN L SMITH II       5 STANLEY AVE                                                                          WILMINGTON          DE 19804‐2850
MR JOHN L WILSON         1078 DOWAGIAC AVE                                                                      MOUNT MORRIS        MI 48458‐2558
MR JOHN M ASMAR          587 JARED DR                                                                           PONTIAC             MI 48342‐1987
MR JOHN M BEISCHLAG SR   10911 AARON DR                                                                         CLEVELAND           OH 44130‐1361
MR JOHN M BULAT          406 W CHAMPLAIN AVE                                                                    WILMINGTON          DE 19804‐2014
MR JOHN M BYRNE          2116 S PINE ST                                                                         JANESVILLE          WI 53546‐6134
MR JOHN M CICHON JR      2445 N LABADIE                                                                         MILFORD             MI 48380‐4243
MR JOHN M GIFFORD        914 MAPLE ST                                                                           MOUNT MORRIS        MI 48458‐2208
MR JOHN M HANA           36 BATES RD                                                                            FRAMINGHAM          MA 01702‐8704
MR JOHN M MCKINNEY       2128 N WEBSTER ST                                                                      KOKOMO              IN 46901‐5858
MR JOHN M NEILL          324 HELTONVILLE RD W                                                                   BEDFORD             IN 47421‐9387
MR JOHN M OZECHOWSKI     928 LINCOLN AVE                                                                        BEDFORD             IN 47421‐2538
MR JOHN M RANKIN         11232 GARDEN ST                                                                        LIVONIA             MI 48150‐3139
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Name                    Address1                       Address2            Address3         Address4         City           State Zip
MR JOHN M ROEHRING      1040 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1700
MR JOHN M ROWIN JR      2217 SHERIDAN ST                                                                     JANESVILLE      WI 53546‐5976
MR JOHN M SEICHTER      1702 ARBUTUS ST                                                                      JANESVILLE      WI 53546‐6144
MR JOHN M SHEAN         32 PROSPECT AVE                                                                      MASSENA         NY 13662‐1744
MR JOHN M SMITH         1401 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1623
MR JOHN M STORMS        233 THE WOODS                                                                        BEDFORD         IN 47421‐9376
MR JOHN M TAYLOR        2149 E BUDER AVE                                                                     BURTON          MI 48529‐1733
MR JOHN M VELA II       6307 E PICCADILLY RD                                                                 MUNCIE          IN 47303‐4571
MR JOHN MCBRIDE         1520 I ST                                                                            BEDFORD         IN 47421‐3836
MR JOHN N MURPHY        38 W YALE AVE                                                                        PONTIAC         MI 48340‐1856
MR JOHN O WUNDERLIN     2137 S PINE ST                                                                       JANESVILLE      WI 53546‐6133
MR JOHN P BRESSARD      7 RIDGEWOOD AVE                                                                      MASSENA         NY 13662‐2117
MR JOHN P BRUSEWITZ     775 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1343
MR JOHN P BUCKLEY       206 TERRY PL                                                                         WILMINGTON      DE 19804‐2036
MR JOHN P CALLAHAN JR   605 FALLON AVE                                                                       WILMINGTON      DE 19804‐2111
MR JOHN P CARVEL        79 E ORVIS ST                                                                        MASSENA         NY 13662‐2050
MR JOHN P FAULI         PO BOX 214052                                                                        AUBURN HILLS    MI 48321‐4052
MR JOHN P KACZMAREK     2056 WICKFORD CT                                                                     BLOOMFIELD      MI 48304‐1087
MR JOHN P KELLEY        17 GEORGE ST                                                                         FRAMINGHAM      MA 01702‐8710
MR JOHN P LARNIS        35 GUILD RD                                                                          FRAMINGHAM      MA 01702‐8712
MR JOHN P REIN          11260 OXBOW ST                                                                       LIVONIA         MI 48150‐3193
MR JOHN P ROCHECK II    5441 CHEVROLET BLVD APT A205                                                         PARMA           OH 44130‐1454
MR JOHN P ROWE          11800 BROOKPARK RD TRLR A6                                                           CLEVELAND       OH 44130‐1184
MR JOHN P SHEEHAN JR    17 W ORVIS ST                                                                        MASSENA         NY 13662‐1833
MR JOHN PARKS           2079 BRADY AVE                                                                       BURTON          MI 48529‐2424
MR JOHN PREVOST         1256 E KURTZ AVE                                                                     FLINT           MI 48505‐1765
MR JOHN PURDY           127 PINGREE AVE                                                                      PONTIAC         MI 48342‐1174
MR JOHN R BALDWIN       601 E TATE ST                                                                        KOKOMO          IN 46901‐2413
MR JOHN R BAUGHMAN      665 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1907
MR JOHN R CASSIDY       2760 MOUNT PLEASANT RD                                                               BEDFORD         IN 47421‐8043
MR JOHN R COMBS         2130 S PALM ST                                                                       JANESVILLE      WI 53546‐6117
MR JOHN R DHARTE        2040 W SPINNINGWHEEL LN                                                              BLOOMFIELD      MI 48304‐1068
MR JOHN R GARDNER       86 E ORVIS ST                                                                        MASSENA         NY 13662‐2045
MR JOHN R GREENE        31 ELM ST                                                                            MASSENA         NY 13662‐1827
MR JOHN R GROTHE        1523 ANTHONY AVE                                                                     JANESVILLE      WI 53546‐6009
MR JOHN R HAGEMAN       636 S SPINNINGWHEEL LN                                                               BLOOMFIELD      MI 48304‐1322
MR JOHN R HARDEN        1278 E KURTZ AVE                                                                     FLINT           MI 48505‐1765
MR JOHN R HARDIN        1535 OAK HOLLOW DR                                                                   MILFORD         MI 48380‐4266
MR JOHN R HELDT         300 THE WOODS                                                                        BEDFORD         IN 47421‐9378
MR JOHN R HUDSON JR     906 KETTERING AVE                                                                    PONTIAC         MI 48340‐3255
MR JOHN R HUDSON JR     902 KETTERING AVE                                                                    PONTIAC         MI 48340‐3255
MR JOHN R KEY           1516 17TH ST                                                                         BEDFORD         IN 47421‐4104
MR JOHN R KONOPIK       480 FOX HILLS DR N APT 8                                                             BLOOMFIELD      MI 48304‐1335
MR JOHN R LYNCH         9125 N CENTER RD                                                                     CLIO            MI 48420‐9759
MR JOHN R MAY JR        450 MOONLIGHT DR                                                                     PONTIAC         MI 48340‐1672
MR JOHN R MCVETY        1717 N MAIN ST                                                                       KOKOMO          IN 46901‐2268
MR JOHN R MOORE         5501 CHEVROLET BLVD APT B210                                                         PARMA           OH 44130‐1490
MR JOHN R ROACH         222 MOUNT PLEASANT RD                                                                BEDFORD         IN 47421‐9665
MR JOHN R RUSSELL       303 MARION AVE                                                                       WILMINGTON      DE 19804‐2139
MR JOHN R STRATTON      3813 PITKIN AVE                                                                      FLINT           MI 48506‐4234
MR JOHN S HINE          10749 RICHARD DR                                                                     PARMA           OH 44130‐1308
MR JOHN S KENDRA II     1420 OAK HOLLOW DR                                                                   MILFORD         MI 48380‐4263
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Name                    Address1                       Address2                 Address3                 Address4         City            State Zip
MR JOHN S NOALL         11809 W WASHINGTON AVE APT 2                                                                      MOUNT MORRIS     MI 48458‐1558
MR JOHN S POLAND        10802 SAMANTHA PL                                                                                 FREDERICKSBRG    VA 22408‐8043
MR JOHN S SHARP         1527 LOWELL ST                                                                                    ELYRIA           OH 44035‐4868
MR JOHN S TERREL        2131 CONNELL ST                                                                                   BURTON           MI 48529‐1334
MR JOHN S TIMS II       1130 OAK HOLLOW DR                                                                                MILFORD          MI 48380‐4257
MR JOHN SCHONING        717 KINNEY RD                                                                                     PONTIAC          MI 48340‐2438
MR JOHN SOKOLOWSKI JR   4846 SAINT HEDWIG ST                                                                              DETROIT          MI 48210‐3223
MR JOHN STORMER         106 PINGREE AVE                                                                                   PONTIAC          MI 48342‐1103
MR JOHN STORMER         705 ROBINWOOD ST                                                                                  PONTIAC          MI 48340‐3141
MR JOHN STRANGE 3D      509 6TH ST                                                                                        BEDFORD          IN 47421‐9610
MR JOHN T EILER         420 W 9TH ST                                                                                      MUNCIE           IN 47302‐3117
MR JOHN T FRALEY        2430 WHITNEY AVE                                                                                  ONTARIO          OH 44906‐1199
MR JOHN T GAUSE         10814 STACY RUN                                                                                   FREDERICKSBRG    VA 22408‐8041
MR JOHN T GAWLIK        1945 HUNTERS RIDGE DR                                                                             BLOOMFIELD       MI 48304‐1037
MR JOHN T GRATZER       1205 18TH ST                                                                                      BEDFORD          IN 47421‐4233
MR JOHN T HORGAN        620 VIRGINIA PARK ST                                                                              DETROIT          MI 48202‐2012
MR JOHN T LEWIS         1970 FOX RIVER DR                                                                                 BLOOMFIELD       MI 48304‐1022
MR JOHN T PAWLEY        601 HARWOOD RD                                                                                    WILMINGTON       DE 19804‐2656
MR JOHN T PENNINGTON    1426 W 10TH ST                                                                                    MUNCIE           IN 47302‐2169
MR JOHN T SMITH         U/A/D 01/26/96                 FBO SMITH FAMILY TRUST   8824 116TH STREET ROAD                    OCALA            FL 34481
MR JOHN T TURNER JR     1705 MARQUETTE DR                                                                                 FLINT            MI 48503‐5239
MR JOHN TOTH            10880 AARON DR                                                                                    CLEVELAND        OH 44130‐1313
MR JOHN TOUSSAINT       641 MELROSE ST                                                                                    PONTIAC          MI 48340‐3116
MR JOHN V BURNS JR      112 W STRATHMORE AVE                                                                              PONTIAC          MI 48340‐2774
MR JOHN V MANIAL        1185 W SLOAN RD                                                                                   BURT             MI 48417‐9726
MR JOHN V MORABITO      10721 AARON DR                                                                                    CLEVELAND        OH 44130‐1356
MR JOHN VARGO           586 HELEN ST                                                                                      MOUNT MORRIS     MI 48458‐1923
MR JOHN VICK            16 W LONGFELLOW AVE                                                                               PONTIAC          MI 48340‐1826
MR JOHN W BROUGHTON     1102 BOYNTON DR                                                                                   LANSING          MI 48917‐5704
MR JOHN W CADE          1718 S GHARKEY ST                                                                                 MUNCIE           IN 47302‐3181
MR JOHN W CAROLIN       504 WEYBRIDGE DR                                                                                  BLOOMFIELD       MI 48304‐1080
MR JOHN W COFFEY 3D     1427 GATTEGNO ST                                                                                  YPSILANTI        MI 48198‐6509
MR JOHN W COOK          1521 N MCCANN ST                                                                                  KOKOMO           IN 46901‐2059
MR JOHN W COWDEN        1315 P ST APT A                                                                                   BEDFORD          IN 47421‐3127
MR JOHN W DUVALL        14 READ AVE                                                                                       WILMINGTON       DE 19804‐2034
MR JOHN W HARMON        11499 RICHARD DR                                                                                  CLEVELAND        OH 44130‐1346
MR JOHN W HENNESSY      30 RANSOM AVE                                                                                     MASSENA          NY 13662‐1735
MR JOHN W HEWITT        170 HIGH ST                                                                                       PONTIAC          MI 48342‐1119
MR JOHN W KELLER        1133 LORENE AVE                                                                                   MOUNT MORRIS     MI 48458‐2112
MR JOHN W KLUTTS        2054 CONNELL ST                                                                                   BURTON           MI 48529‐1333
MR JOHN W LEWIS JR      412 BON AIR RD                                                                                    LANSING          MI 48917‐2981
MR JOHN W MARTIN        1610 N BELL ST                                                                                    KOKOMO           IN 46901‐2303
MR JOHN W MEDDINGS      83 PROSPECT AVE                                                                                   MASSENA          NY 13662‐1746
MR JOHN W MONTNEY       645 ELM ST                                                                                        MOUNT MORRIS     MI 48458‐1917
MR JOHN W MONTNEY       655 ELM ST                                                                                        MOUNT MORRIS     MI 48458‐1917
MR JOHN W MYERS JR      2061 E MCLEAN AVE                                                                                 BURTON           MI 48529‐1737
MR JOHN W MYERS JR      11330 GABRIELLA DR                                                                                CLEVELAND        OH 44130‐1335
MR JOHN W PALMER        5 PROSPECT CIR                                                                                    MASSENA          NY 13662‐1701
MR JOHN W SHARP JR      4894 BRIDLE RUN APT 1C                                                                            YPSILANTI        MI 48197‐9159
MR JOHN W SNOW          801 W WILLARD ST                                                                                  MUNCIE           IN 47302‐2231
MR JOHN W WATSON        1326 F ST                                                                                         BEDFORD          IN 47421‐3314
MR JOHN W WILCOX        11613 CHURCH ST                                                                                   MOUNT MORRIS     MI 48458‐2016
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Name                          Address1                         Address2            Address3         Address4         City           State Zip
MR JOHN W ZOLLMAN             1307 O ST                                                                              BEDFORD         IN 47421‐3123
MR JOHN WADE                  1610 N LAFOUNTAIN ST                                                                   KOKOMO          IN 46901‐2315
MR JOHN WALLEN                2407 ASPEN ST                                                                          JANESVILLE      WI 53546‐6183
MR JOHN WALTON                284 W KENNETT RD                                                                       PONTIAC         MI 48340‐1724
MR JOHN‐MISCHA L LEVITTE      12263 HARTEL ST                                                                        LIVONIA         MI 48150‐2332
MR JOHNATHAN HELTMAN          2160 E PARKWOOD AVE                                                                    BURTON          MI 48529‐1766
MR JOHNATHAN TIPPY            119 E ORVIS ST                                                                         MASSENA         NY 13662‐4264
MR JOHNATHO BARTON            340 OAK ST                                                                             MOUNT MORRIS    MI 48458‐1929
MR JOHNATHON W MOORE          2061 WILMAR ST                                                                         BURTON          MI 48509‐1121
MR JOHNENE L HAWKINS          1117 N WASHINGTON ST                                                                   KOKOMO          IN 46901‐2803
MR JOHNEY J REED              144 EUCLID AVE                                                                         PONTIAC         MI 48342‐1113
MR JOHNIE J COLEMAN JR        567 HARRIET ST                                                                         FLINT           MI 48505‐4730
MR JOHNIE M HOLBROOK          1168 E HUMPHREY AVE                                                                    FLINT           MI 48505‐1526
MR JOHNNIE L BABCOCK          4296 GREENLY ST                                                                        BURTON          MI 48529‐2079
MR JOHNNIE L PERRY SR         188 W PRINCETON AVE                                                                    PONTIAC         MI 48340‐1842
MR JOHNNIE M SMITH            937 DEWEY ST                                                                           PONTIAC         MI 48340‐2512
MR JOHNNIE P MOORE            935 DEWEY ST                                                                           PONTIAC         MI 48340‐2512
MR JOHNNIE R BLAIR            1449 W 14TH ST                                                                         MUNCIE          IN 47302‐2977
MR JOHNNIE R BLAIR JR         1814 S PERKINS AVE                                                                     MUNCIE          IN 47302‐2163
MR JOHNNIE R MOORE            26 STEGMAN LN                                                                          PONTIAC         MI 48340‐1662
MR JOHNNIE R NORFOLK          128 W STRATHMORE AVE                                                                   PONTIAC         MI 48340‐2774
MR JOHNNIE SKINNER            702 KETTERING AVE                                                                      PONTIAC         MI 48340‐3245
MR JOHNNIE SMITH              1124 HERRINGTON LN                                                                     PONTIAC         MI 48342‐1835
MR JOHNNIE W GARDNER          960 EMERSON AVE                                                                        PONTIAC         MI 48340‐3229
MR JOHNNY A GUFFEY            1304 W 16TH ST                                                                         MUNCIE          IN 47302‐3023
MR JOHNNY A MASON             2102 E BRISTOL RD                                                                      BURTON          MI 48529‐1321
MR JOHNNY B HELTON            1141 CHERRYLAWN DR                                                                     PONTIAC         MI 48340‐1705
MR JOHNNY D WHITE             255 W LONGFELLOW AVE                                                                   PONTIAC         MI 48340‐1835
MR JOHNNY DONA                408 L ST                                                                               BEDFORD         IN 47421‐1812
MR JOHNNY E THOMPSON          1206 W 11TH ST                                                                         MUNCIE          IN 47302‐2262
MR JOHNNY LAMB                2108 CLARK ST                                                                          DETROIT         MI 48209‐3900
MR JOHNNY PINKSTON            1806 S GHARKEY ST                                                                      MUNCIE          IN 47302‐7618
MR JOHNNY R COLLIER‐BREHMER   51286 SYLVIA DR                                                                        BELLEVILLE      MI 48111‐1068
MR JOHNNY R COOPER            711 CURTIS AVE                                                                         WILMINGTON      DE 19804‐2109
MR JOHNNY R ULLMAN            600 W MEMORIAL DR                                                                      MUNCIE          IN 47302‐7623
MR JOHNNY W WHITMIRE          1900 W 10TH ST                                                                         MUNCIE          IN 47302‐2145
MR JON D FLORA                1933 S WALNUT ST                                                                       JANESVILLE      WI 53546‐6052
MR JON H ELLSWORTH            1496 E SCOTTWOOD AVE                                                                   BURTON          MI 48529‐1626
MR JON H PRAY                 208 N CATHERINE ST                                                                     LANSING         MI 48917‐4902
MR JON P BOZA                 8824 BEARD RD                                                                          BYRON           MI 48418‐9733
MR JON P NOBLE                1616 N BUCKEYE ST                                                                      KOKOMO          IN 46901‐2224
MR JON R HURTADO              526 FOX HILLS DR S                                                                     BLOOMFIELD      MI 48304‐1316
MR JON S ORI                  47 HIGHLAND AVE                                                                        MASSENA         NY 13662‐1728
MR JON W SILVERS              2515 MOUNT PLEASANT RD                                                                 BEDFORD         IN 47421‐8041
MR JONAS SMITH                680 NEWMAN LN                                                                          PONTIAC         MI 48340‐3300
MR JONATHAN A CHALFANT        1301 W 15TH ST                                                                         MUNCIE          IN 47302‐3092
MR JONATHAN C TIPPIE          119 E ORVIS ST APT 1                                                                   MASSENA         NY 13662‐4264
MR JONATHAN D BRADLEY         404 HELEN ST                                                                           MOUNT MORRIS    MI 48458‐1921
MR JONATHAN D SMITH           38 GLENN ST                                                                            MASSENA         NY 13662‐2019
MR JONATHAN E BRONSING        878 SARASOTA AVE                                                                       PONTIAC         MI 48340‐2368
MR JONATHAN E MOSS            443 FOX RIVER DR                                                                       BLOOMFIELD      MI 48304‐1009
MR JONATHAN F HELTMAN         1371 READY AVE                                                                         BURTON          MI 48529‐2051
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
MR JONATHAN L SPITZLEY   409 1/2 N ROSEMARY ST REAR                                                           LANSING         MI 48917‐4920
MR JONATHAN M HUGHES     6775 56TH AVE                                                                        HUDSONVILLE     MI 49426‐9722
MR JONATHAN M JAMES      40 READ AVE                                                                          WILMINGTON      DE 19804‐2034
MR JONATHAN M KIESEL     2053 STONE HOLLOW CT                                                                 BLOOMFIELD      MI 48304‐1075
MR JONATHAN M WHITE      11431 SHARON DR APT C911                                                             PARMA           OH 44130‐8701
MR JONATHAN P KOLINSKI   1228 HICKORY ST                                                                      LANSING         MI 48912‐1715
MR JONATHAN P SIEVERS    1101 NUTANA BLVD                                                                     MOUNT MORRIS    MI 48458‐2116
MR JONATHAN R MULLIS     315 L ST                                                                             BEDFORD         IN 47421‐1809
MR JONATHON A DEMOTT     2153 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2437
MR JONATHON C ANDRUS     3217 TIMBER DR                                                                       LANSING         MI 48917‐2338
MR JONATHON K BROGLIN    1319 M ST                                                                            BEDFORD         IN 47421‐3234
MR JONATHON T GROVE      2139 JOLSON AVE                                                                      BURTON          MI 48529‐2127
MR JONOTHAN MCMAHAON     152 E ORVIS ST                                                                       MASSENA         NY 13662‐2246
MR JOON U SO             2438 FERGUSON RD                                                                     ONTARIO         OH 44906‐1107
MR JORDAN KIMBERLY       148 PUTNAM AVE                                                                       PONTIAC         MI 48342‐1264
MR JORDAN M WYATT        1039 LORENE AVE                                                                      MOUNT MORRIS    MI 48458‐2111
MR JORDANG CHANG         781 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3101
MR JORGE A PEREZ         4741 PLUMER ST                                                                       DETROIT         MI 48209‐1356
MR JORGE CASTILLO        1705 W 13TH ST                                                                       MUNCIE          IN 47302‐2176
MR JORGE L COLON         880 BAY ST                                                                           PONTIAC         MI 48342‐1902
MR JORGE L NINO          278 W KENNETT RD                                                                     PONTIAC         MI 48340‐1724
MR JORGE LERMA           723 MORRIS AVE                                                                       LANSING         MI 48917‐2324
MR JORGE M LOPEZ         289 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1739
MR JOSE A ARANDA         844 BLAINE AVE                                                                       PONTIAC         MI 48340‐2408
MR JOSE A CRUZ           10781 AARON DR                                                                       CLEVELAND       OH 44130‐1356
MR JOSE A DAVILA         125 PUTNAM AVE                                                                       PONTIAC         MI 48342‐1267
MR JOSE A DOMINGUEZ      55 W YALE AVE                                                                        PONTIAC         MI 48340‐1858
MR JOSE A LOPEZ          4868 TOLEDO ST                                                                       DETROIT         MI 48209‐1375
MR JOSE A MALDONADO      509 BECKER AVE                                                                       WILMINGTON      DE 19804‐2103
MR JOSE A PEREZ          764 PENSACOLA AVE                                                                    PONTIAC         MI 48340‐2357
MR JOSE A PEREZ          4776 PLUMER ST                                                                       DETROIT         MI 48209‐1390
MR JOSE A ROMERO         11140 AARON DR                                                                       CLEVELAND       OH 44130‐1364
MR JOSE A SANCHEZ        2188 LANSING ST                                                                      DETROIT         MI 48209‐1673
MR JOSE ALFARO           60 PUTNAM AVE                                                                        PONTIAC         MI 48342‐1262
MR JOSE ANGULO           2042 CLARKDALE ST                                                                    DETROIT         MI 48209‐3911
MR JOSE B ALVARADO       4797 PLUMER ST                                                                       DETROIT         MI 48209‐1356
MR JOSE BARBA            4670 PLUMER ST                                                                       DETROIT         MI 48209‐1357
MR JOSE C CASARREAL      1155 WESTBURY CIR APT 5                                                              LANSING         MI 48917‐8991
MR JOSE C NAVARRETE      4429 TOLEDO ST                                                                       DETROIT         MI 48209‐1368
MR JOSE D GAMBOA         3832 SCOTTEN ST                                                                      DETROIT         MI 48210‐3162
MR JOSE D GUTIERREZ      4611 TOLEDO ST                                                                       DETROIT         MI 48209‐1370
MR JOSE D MARTINEZ       440 HOLLIS ST                                                                        FRAMINGHAM      MA 01702‐8623
MR JOSE D RABAGO         14781 MEMORIAL DR # 1843                                                             HOUSTON         TX 77079‐5210
MR JOSE D ROQUE          1311 UNIVERSITY DR                                                                   PONTIAC         MI 48342‐1972
MR JOSE D VELAZQUEZ      32 W RUTGERS AVE                                                                     PONTIAC         MI 48340‐2754
MR JOSE E GARCIA         36 EUCLID AVE                                                                        PONTIAC         MI 48342‐1110
MR JOSE E RAMIREZ        5693 CHEVROLET BLVD APT B213                                                         CLEVELAND       OH 44130‐8725
MR JOSE F YBARRA         154 W TENNYSON AVE                                                                   PONTIAC         MI 48340‐2672
MR JOSE G LOPEZ          5411 KOPERNICK ST                                                                    DETROIT         MI 48210‐3009
MR JOSE G RODRIGUEZ      81 STEGMAN LN                                                                        PONTIAC         MI 48340‐1664
MR JOSE G VAZQUEZ        774 PALMER DR                                                                        PONTIAC         MI 48342‐1857
MR JOSE HOVIS            1467 JAMES ST                                                                        BURTON          MI 48529‐1233
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Name                          Address1                           Address2            Address3         Address4         City            State Zip
MR JOSE J CASTILLO            539 EMERSON AVE                                                                          PONTIAC          MI 48342‐1825
MR JOSE J MAYORAL             181 HIGH ST                                                                              PONTIAC          MI 48342‐1120
MR JOSE J SUSTAYTA            35 STEGMAN LN                                                                            PONTIAC          MI 48340‐1662
MR JOSE L ELLIS               2051 MADDY LN                                                                            KEEGO HARBOR     MI 48320‐1163
MR JOSE L GAYTAN              1255 MEADOWLAWN DR                                                                       PONTIAC          MI 48340‐1737
MR JOSE L LULE                4225 BRANDON ST                                                                          DETROIT          MI 48209‐1331
MR JOSE L MARRERO SR          16 LYNBROOK RD                                                                           WILMINGTON       DE 19804‐2620
MR JOSE L RUIZ                718 GARNET RD                                                                            WILMINGTON       DE 19804‐2614
MR JOSE M DELVALLE‐GARCIA     136 HUDSON AVE                                                                           PONTIAC          MI 48342‐1129
MR JOSE M FRAUSTO             6330 BUNTON RD                                                                           YPSILANTI        MI 48197‐9737
MR JOSE M RAMIREZ             4711 BRANDON ST                                                                          DETROIT          MI 48209‐1392
MR JOSE MEDRANO               711 GARNET RD                                                                            WILMINGTON       DE 19804‐2613
MR JOSE MOJICA                3593 LOVETT ST                                                                           DETROIT          MI 48210‐3138
MR JOSE N CARRANZA JR         1007 KETTERING AVE                                                                       PONTIAC          MI 48340‐3260
MR JOSE N MARTINEZ            105 W COLUMBIA AVE                                                                       PONTIAC          MI 48340‐1811
MR JOSE NIEVES                166 W CORNELL AVE                                                                        PONTIAC          MI 48340‐2720
MR JOSE NIEVES                29 W CORNELL AVE                                                                         PONTIAC          MI 48340‐2717
MR JOSE NIEVES                45 W CORNELL AVE                                                                         PONTIAC          MI 48340‐2717
MR JOSE PEREZ                 4695 BRANDON ST                                                                          DETROIT          MI 48209‐1396
MR JOSE R LOPEZ               1123 CHERRYLAWN DR                                                                       PONTIAC          MI 48340‐1705
MR JOSE REYES                 245 HIGH ST                                                                              PONTIAC          MI 48342‐1122
MR JOSE RIBEIRO               55 BATES RD                                                                              FRAMINGHAM       MA 01702‐8740
MR JOSE T DEJESUS             2103 CLARKDALE ST                                                                        DETROIT          MI 48209‐1696
MR JOSE TRUJILLO              4797 BRANDON ST                                                                          DETROIT          MI 48209‐1392
MR JOSE VOILANTE              146 PINGREE AVE                                                                          PONTIAC          MI 48342‐1157
MR JOSEF K OPALUCH            10699 RICHARD DR                                                                         CLEVELAND        OH 44130‐1306
MR JOSEF ZEMAN                579 FOX HILLS DR N                                                                       BLOOMFIELD       MI 48304‐1311
MR JOSEPH A BONADIO           10631 AARON DR                                                                           CLEVELAND        OH 44130‐1354
MR JOSEPH A FALICKI           1972 POST CHAISE CT                                                                      BLOOMFIELD       MI 48304‐1045
MR JOSEPH A FISHER            1005 18TH ST                                                                             BEDFORD          IN 47421‐4215
MR JOSEPH A MCNESBY SR        13 W KEYSTONE AVE                                                                        WILMINGTON       DE 19804‐2027
MR JOSEPH A MEREDITH JR       2501 LINKWOOD AVE                                                                        WILMINGTON       DE 19805‐2331
MR JOSEPH A MOORE JR          702 CURTIS AVE                                                                           WILMINGTON       DE 19804‐2110
MR JOSEPH A PIETROCATELLI     2203 E PARKWOOD AVE                                                                      BURTON           MI 48529‐1767
MR JOSEPH A PRINT             11370 SHARON DR                                                                          PARMA            OH 44130‐1438
MR JOSEPH A ROESCH            508 FOX HILLS DR N APT 7                                                                 BLOOMFIELD       MI 48304‐1340
MR JOSEPH A SCHULTE           817 W 1ST ST                                                                             MUNCIE           IN 47305‐2279
MR JOSEPH A SOVA              179 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐2739
MR JOSEPH A SOVA              161 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐2737
MR JOSEPH A SPANO             2188 E SCHUMACHER ST                                                                     BURTON           MI 48529‐2438
MR JOSEPH A STOCKWELL         56 W CORNELL AVE                                                                         PONTIAC          MI 48340‐2716
MR JOSEPH A SWINGLE           12332 CAMDEN ST                                                                          LIVONIA          MI 48150‐2370
MR JOSEPH A VENTOLA           472 HOLLIS ST                                                                            FRAMINGHAM       MA 01702‐8623
MR JOSEPH A WALKER            610 E LORDEMAN ST                                                                        KOKOMO           IN 46901‐2422
MR JOSEPH A WIRTALA           11206 N CLUB DR                                                                          FREDERICKSBRG    VA 22408‐2053
MR JOSEPH B HULL JR           56 BRIDGES AVE                                                                           MASSENA          NY 13662‐1828
MR JOSEPH B JOHNSON           142 W BEVERLY AVE                                                                        PONTIAC          MI 48340‐2620
MR JOSEPH B MORRIS            1386 WEBBER AVE                                                                          BURTON           MI 48529‐2034
MR JOSEPH BERTRAND            1224 N WEBSTER ST                                                                        KOKOMO           IN 46901‐2704
MR JOSEPH BROOKS              1305 COLUMBIA CIR                                                                        FLINT            MI 48503‐5257
MR JOSEPH C AUSTIN            343 N DEERFIELD AVE                                                                      LANSING          MI 48917‐2910
MR JOSEPH C BARRETT‐RAYMOND   1366 LOCKE ST                                                                            PONTIAC          MI 48342‐1948
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Name                         Address1                       Address2            Address3         Address4         City            State Zip
MR JOSEPH C BENEDICT         2022 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐5973
MR JOSEPH C FERGUSON JR      37055 ECORSE RD                                                                      ROMULUS          MI 48174‐1351
MR JOSEPH C GHISLAIN         4000 GRONDINWOOD LN                                                                  MILFORD          MI 48380‐4221
MR JOSEPH C GIRALDO JR       11081 AARON DR                                                                       CLEVELAND        OH 44130‐1363
MR JOSEPH C GOETZ            11100 KAREN ST                                                                       LIVONIA          MI 48150‐3145
MR JOSEPH C GRABAUSKAS       700 FALLON AVE                                                                       WILMINGTON       DE 19804‐2114
MR JOSEPH C PIERCE           1515 OAK HOLLOW DR                                                                   MILFORD          MI 48380‐4266
MR JOSEPH CRUMP              9 LAUREL AVE APT 608                                                                 MASSENA          NY 13662‐2058
MR JOSEPH D BAKER            1611 2ND ST                                                                          BEDFORD          IN 47421‐1605
MR JOSEPH D BOURSAW          5572 MAPLE PARK DR                                                                   FLINT            MI 48507‐3915
MR JOSEPH D FOLLO            2039 E MCLEAN AVE                                                                    BURTON           MI 48529‐1737
MR JOSEPH D GARDNER          4002 TOLEDO ST                                                                       DETROIT          MI 48209‐1361
MR JOSEPH D GRENIG           11210 NAOMI DR                                                                       PARMA            OH 44130‐1556
MR JOSEPH D HERNANDEZ        1231 BENNETT AVE                                                                     FLINT            MI 48506‐3201
MR JOSEPH D KIRKHOFF         1604 KING ST                                                                         JANESVILLE       WI 53546‐6075
MR JOSEPH D KLUMPP           1611 14TH ST                                                                         BEDFORD          IN 47421‐3632
MR JOSEPH D SPIRES           118 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MR JOSEPH D STEWARD          1027 NUTANA BLVD                                                                     MOUNT MORRIS     MI 48458‐2115
MR JOSEPH D TVORIK           11221 AARON DR                                                                       PARMA            OH 44130‐1262
MR JOSEPH D WRAY             1319 10TH ST                                                                         BEDFORD          IN 47421‐2529
MR JOSEPH E KIMMEL           1412 17TH ST                                                                         BEDFORD          IN 47421‐4102
MR JOSEPH E KLEIN            1312 E KURTZ AVE                                                                     FLINT            MI 48505‐1765
MR JOSEPH E LEICH            447 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1309
MR JOSEPH E MILLER JR        902 GARNET RD                                                                        WILMINGTON       DE 19804‐2618
MR JOSEPH E ROBERTSON        765 PENSACOLA AVE                                                                    PONTIAC          MI 48340‐2358
MR JOSEPH E ROSADO           809 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2607
MR JOSEPH E SEDLACEK         10970 FAIRLAWN DR                                                                    CLEVELAND        OH 44130‐1214
MR JOSEPH E TAYLOR           1250 E KURTZ AVE                                                                     FLINT            MI 48505‐1765
MR JOSEPH E TAYLOR JR        1244 DIVE RD                                                                         BEDFORD          IN 47421‐1518
MR JOSEPH EVANCHO            11121 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1256
MR JOSEPH F GAWARZEWSKI 3D   405 W CHAMPLAIN AVE                                                                  WILMINGTON       DE 19804‐2013
MR JOSEPH F KEPIC            11300 RICHARD DR                                                                     CLEVELAND        OH 44130‐1343
MR JOSEPH F PASKOWSKI        11800 BROOKPARK RD TRLR A9                                                           CLEVELAND        OH 44130‐1184
MR JOSEPH F PRON             149 WALNUT AVE                                                                       CLARK            NJ 07066‐1201
MR JOSEPH F URBAN            1308 18TH ST                                                                         BEDFORD          IN 47421‐4135
MR JOSEPH FOLTZ              601 W 10TH ST                                                                        MUNCIE           IN 47302‐3126
MR JOSEPH G BAUCH            1172 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1734
MR JOSEPH G CARNEVALE        2062 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1724
MR JOSEPH G LEARNED          1411 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐6035
MR JOSEPH G TOCCO            3315 LOCKWOOD ST                                                                     DETROIT          MI 48210‐3212
MR JOSEPH GAROFOLA JR        1611 1ST ST                                                                          BEDFORD          IN 47421‐1603
MR JOSEPH GRANSON            1717 N WABASH AVE                                                                    KOKOMO           IN 46901‐2006
MR JOSEPH H STEVENS          730 PEERLESS RD                                                                      BEDFORD          IN 47421‐8094
MR JOSEPH H WIDMAR           3102 ENGLISH TURN CT                                                                 FREDERICKSBRG    VA 22408‐8050
MR JOSEPH J AUSTIN           19 BRIDGES AVE                                                                       MASSENA          NY 13662‐1831
MR JOSEPH J BOUDREAU         23 RIDGEWOOD AVE                                                                     MASSENA          NY 13662‐2117
MR JOSEPH J CENZORI          11222 NAOMI DR                                                                       CLEVELAND        OH 44130‐1556
MR JOSEPH J DEVERS           1015 W POWERS ST                                                                     MUNCIE           IN 47305‐2140
MR JOSEPH J DIMICHELE JR     204 GREENWOOD RD                                                                     WILMINGTON       DE 19804‐2653
MR JOSEPH J DUCHARME         2120 COVERT RD                                                                       BURTON           MI 48509‐1066
MR JOSEPH J LACLAIR SR       43 DOUGLAS RD                                                                        MASSENA          NY 13662‐2135
MR JOSEPH J LANZA            10719 RICHARD DR                                                                     CLEVELAND        OH 44130‐1308
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Name                                   Address1                       Address2            Address3         Address4            City            State Zip
MR JOSEPH J NAGRANT                    569 ROLLING ROCK RD                                                                     BLOOMFIELD       MI 48304‐1054
MR JOSEPH J SPAGNUOLO                  4185 STOBART RD                                                                         MILFORD          MI 48380‐3725
MR JOSEPH J WITKOWSKI                  430 W CHAMPLAIN AVE                                                                     WILMINGTON       DE 19804‐2043
MR JOSEPH K BINION JR                  25 GROVE ST                                                                             MASSENA          NY 13662‐2141
MR JOSEPH K DICKERSON                  1921 S ELLIOTT ST                                                                       MUNCIE           IN 47302‐3032
MR JOSEPH K JONES                      2215 LANSING ST APT 209                                                                 DETROIT          MI 48209‐1656
MR JOSEPH K MURPHY SR                  11 W CONRAD DR                                                                          WILMINGTON       DE 19804‐2018
MR JOSEPH KRAYNIK                      11800 BROOKPARK RD TRLR B15                                                             CLEVELAND        OH 44130‐1184
MR JOSEPH L BENFORD                    633 LANCASTER LN                                                                        PONTIAC          MI 48342‐1853
MR JOSEPH L CARSTEN                    1170 MORRIS HILLS PKWY                                                                  MOUNT MORRIS     MI 48458‐2575
MR JOSEPH L FIALA                      25 KENYON BROOK DR                                                                      WORTHINGTON      OH 43085‐3629
MR JOSEPH L HENLEY                     1419 13TH ST                                                                            BEDFORD          IN 47421‐3226
MR JOSEPH L SCHIAVONI                  804 HARWOOD RD                                                                          WILMINGTON       DE 19804‐2661
MR JOSEPH L WHITE                      10 PROSPECT CIR                                                                         MASSENA          NY 13662‐1702
MR JOSEPH L WHITEY                     1130 E PRINCETON AVE                                                                    FLINT            MI 48505‐1520
MR JOSEPH LOTRIDGE                     2163 E SCOTTWOOD AVE                                                                    BURTON           MI 48529‐1751
MR JOSEPH M BOYD                       1397 NATALIE DR                                                                         BURTON           MI 48529‐1615
MR JOSEPH M GADDY                      2105 S PEARL ST                                                                         JANESVILLE       WI 53546‐6118
MR JOSEPH M LOPEZ                      1200 N COURTLAND AVE                                                                    KOKOMO           IN 46901‐2754
MR JOSEPH M ROMANOWSKI                 19 READ AVE                                                                             WILMINGTON       DE 19804‐2033
MR JOSEPH M RYBALTOWSKI 3D             13 W CONRAD DR                                                                          WILMINGTON       DE 19804‐2018
MR JOSEPH M SANCHEZ                    11220 KAREN ST                                                                          LIVONIA          MI 48150‐3181
MR JOSEPH M SCHAAF                     10750 GABRIELLA DR                                                                      CLEVELAND        OH 44130‐1424
MR JOSEPH M TORRES JR                  10704 TRICIA PL                                                                         FREDERICKSBRG    VA 22408‐8067
MR JOSEPH M WEBER                      900 W WILLARD ST                                                                        MUNCIE           IN 47302‐2282
MR JOSEPH MALLORY                      306 E BROADWAY ST                                                                       KOKOMO           IN 46901‐2976
MR JOSEPH MARSHALL                     727 PREBLE ST                                                                           KOKOMO           IN 46901‐2732
MR JOSEPH NEAL BARRISTER & SOLICITOR   142 SIMOCE STREET NORTH                                             OSHAWA ON L1G 4S7

MR JOSEPH O ASAYA                      38 GUILD RD                                                                             FRAMINGHAM      MA   01702‐8713
MR JOSEPH P BOEBEL                     2465 WHITNEY AVE                                                                        ONTARIO         OH   44906‐1197
MR JOSEPH P CARROW                     102 S LAURA CT                                                                          WILMINGTON      DE   19804‐2046
MR JOSEPH P GRANT                      1503 JOLSON AVE                                                                         BURTON          MI   48529‐2029
MR JOSEPH P KELLY                      610 BECKER AVE                                                                          WILMINGTON      DE   19804‐2106
MR JOSEPH P KISH JR                    280 MAIN ST                                                                             MASSENA         NY   13662‐1901
MR JOSEPH P LAZORICK 3D                222 S CLIFTON AVE                                                                       WILMINGTON      DE   19805‐2309
MR JOSEPH P PROKOP                     9 E CONRAD DR                                                                           WILMINGTON      DE   19804‐2037
MR JOSEPH P RICHVALSKY                 G4383 S SAGINAW ST                                                                      BURTON          MI   48529‐2068
MR JOSEPH P SWARTER                    102 E KEYSTONE AVE                                                                      WILMINGTON      DE   19804‐2026
MR JOSEPH PARENT                       21 LYNBROOK RD                                                                          WILMINGTON      DE   19804‐2668
MR JOSEPH PREMO                        38 E ORVIS ST                                                                           MASSENA         NY   13662‐2045
MR JOSEPH R CASCARELLI                 3 FLORENCE DR                                                                           CLARK           NJ   07066‐1210
MR JOSEPH R DURFEE                     908 MORRIS AVE                                                                          LANSING         MI   48917‐2309
MR JOSEPH R DUVAL                      929 KENILWORTH AVE                                                                      PONTIAC         MI   48340‐3109
MR JOSEPH R EPPINGER                   1443 E SCOTTWOOD AVE                                                                    BURTON          MI   48529‐1625
MR JOSEPH R HARTLEY JR                 4354 BARNES AVE                                                                         BURTON          MI   48529‐2175
MR JOSEPH R HAYDEN                     2069 E BOATFIELD AVE                                                                    BURTON          MI   48529‐1711
MR JOSEPH R HERR SR                    1144 MEADOWLAWN DR                                                                      PONTIAC         MI   48340‐1734
MR JOSEPH R OEHRKE                     2106 ARBUTUS ST                                                                         JANESVILLE      WI   53546‐6159
MR JOSEPH R VAN SICKLE                 5104 LAUDERDALE DR                                                                      MORAINE         OH   45439‐2929
MR JOSEPH S BAUER JR                   10750 RIVEREDGE DR                                                                      CLEVELAND       OH   44130‐1245
MR JOSEPH S CATARINO                   62 SCHOOL ST                                                                            CLARK           NJ   07066‐1424
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Name                     Address1                         Address2            Address3         Address4         City           State Zip
MR JOSEPH S DYDEK        11250 FAIRLAWN DR                                                                      CLEVELAND       OH 44130‐1220
MR JOSEPH S LOMBARDO     1016 BOYNTON DR                                                                        LANSING         MI 48917‐1760
MR JOSEPH S RICHVALSKY   2088 E SCOTTWOOD AVE                                                                   BURTON          MI 48529‐1750
MR JOSEPH SALDANHA       569 HOLLIS ST                                                                          FRAMINGHAM      MA 01702‐8619
MR JOSEPH SORA           121 W FAIRMOUNT AVE                                                                    PONTIAC         MI 48340‐2737
MR JOSEPH SOVA           224 W FAIRMOUNT AVE                                                                    PONTIAC         MI 48340‐2740
MR JOSEPH SOVA           137 W PRINCETON AVE                                                                    PONTIAC         MI 48340‐1841
MR JOSEPH SOVA           232 W CORNELL AVE                                                                      PONTIAC         MI 48340‐2724
MR JOSEPH T DAVID        2231 E BOATFIELD AVE                                                                   BURTON          MI 48529‐1783
MR JOSEPH T KING         1408 W 9TH ST                                                                          MUNCIE          IN 47302‐2167
MR JOSEPH T MARCOZZI     308 DOVE DR                                                                            NEWARK          DE 19713‐1212
MR JOSEPH T MARRO JR     2910 CHRISTIANA MDWS                                                                   BEAR            DE 19701‐2857
MR JOSEPH T MARTINEZ     814 ORLANDO AVE                                                                        PONTIAC         MI 48340‐2355
MR JOSEPH T PROULX       21 DOUGLAS RD                                                                          MASSENA         NY 13662‐2042
MR JOSEPH T RICKARDS     600 BOXWOOD RD                                                                         WILMINGTON      DE 19804‐2011
MR JOSEPH TAYLOR         1815 BRISTOL COURT DR                                                                  MOUNT MORRIS    MI 48458‐2186
MR JOSEPH TESTA          4178 RISEDORPH ST                                                                      BURTON          MI 48509‐1042
MR JOSEPH V MORGAN       2103 E WHITTEMORE AVE                                                                  BURTON          MI 48529‐1725
MR JOSEPH W BROOKS 3D    821 DURANT ST                                                                          LANSING         MI 48915‐1328
MR JOSEPH W BROWN        4 CHERRY ST                                                                            MASSENA         NY 13662‐1806
MR JOSEPH W JEFFERSON    111 CHARLES LN                                                                         PONTIAC         MI 48341‐2928
MR JOSEPH W LEAHY        709 KINNEY RD                                                                          PONTIAC         MI 48340‐2438
MR JOSEPH W VORIS        1126 LINCOLN AVE                                                                       BEDFORD         IN 47421‐2925
MR JOSEPH W WALKER       2211 N BUCKEYE ST                                                                      KOKOMO          IN 46901‐5814
MR JOSEPH ZEZULAK        10228 PAMELA DR                                                                        STRONGSVILLE    OH 44149‐1337
MR JOSH A JOHNSON        2313 S CHATHAM ST                                                                      JANESVILLE      WI 53546‐6152
MR JOSH J SORRELL        604 W 10TH ST                                                                          MUNCIE          IN 47302‐3125
MR JOSH KARNES           1406 2ND ST                                                                            BEDFORD         IN 47421‐1704
MR JOSH MORTIN           1127 HERRINGTON LN                                                                     PONTIAC         MI 48342‐1837
MR JOSHUA A BEECHLER     810 E MOUNT MORRIS ST                                                                  MOUNT MORRIS    MI 48458‐2054
MR JOSHUA A TEAGUE       1507 READY AVE                                                                         BURTON          MI 48529‐2053
MR JOSHUA COCKRELL       1710 N APPERSON WAY                                                                    KOKOMO          IN 46901‐2350
MR JOSHUA D DENNEY       32 RIDGEWOOD AVE APT B                                                                 MASSENA         NY 13662‐2152
MR JOSHUA D GILLIHAN     1517 12TH ST                                                                           BEDFORD         IN 47421‐3101
MR JOSHUA D HUNT         1270 UNIVERSITY DR                                                                     PONTIAC         MI 48342‐1969
MR JOSHUA D LEWIS        115 THE WOODS                                                                          BEDFORD         IN 47421‐9300
MR JOSHUA D PATE         2009 N NEW YORK AVE                                                                    MUNCIE          IN 47304‐2766
MR JOSHUA D SCHMITZ      2104 CONNELL ST                                                                        BURTON          MI 48529‐1333
MR JOSHUA DEVREISE       PO BOX 190031                                                                          BURTON          MI 48519‐0031
MR JOSHUA E RUBLE        1620 N COURTLAND AVE                                                                   KOKOMO          IN 46901‐2141
MR JOSHUA F JOCK         3 GARVIN AVE APT 4                                                                     MASSENA         NY 13662‐1800
MR JOSHUA G DAVES        9841 GERALDINE ST                                                                      YPSILANTI       MI 48197‐6925
MR JOSHUA G VANOOYEN     11121 KAREN ST                                                                         LIVONIA         MI 48150‐3144
MR JOSHUA J WALKER       1525 W 15TH ST                                                                         MUNCIE          IN 47302‐2920
MR JOSHUA K HUBBARD      1407 E BOATFIELD AVE                                                                   BURTON          MI 48529‐1601
MR JOSHUA L GRUBB        1411 10TH ST                                                                           BEDFORD         IN 47421‐2531
MR JOSHUA LEDESMA        2135 CLARK ST                                                                          DETROIT         MI 48209‐3907
MR JOSHUA M SMITH        2004 S HEMLOCK RD                                                                      MUNCIE          IN 47302‐1959
MR JOSHUA M THOMPSON     2134 SCOTTEN ST                                                                        DETROIT         MI 48209‐1667
MR JOSHUA N BURCH        1410 BRISTOL COURT DR                                                                  MOUNT MORRIS    MI 48458‐2182
MR JOSHUA N MILLIGAN     5900 BRIDGE RD APT 801                                                                 YPSILANTI       MI 48197‐7009
MR JOSHUA R BACKUS       224 BRYNFORD AVE                                                                       LANSING         MI 48917‐2990
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Name                        Address1                         Address2              Address3       Address4                 City           State Zip
MR JOSHUA R CUSHING         712 WOODTOP RD                                                                                 WILMINGTON      DE 19804‐2628
MR JOSHUA ROYSTER           11035 HARVARD CT APT 11                                                                        MOUNT MORRIS    MI 48458‐1986
MR JOSHUA S LOVEGROVE       1009 W 9TH ST                                                                                  MUNCIE          IN 47302‐2245
MR JOSHUA T COURTNEY        1222 KING ST                                                                                   JANESVILLE      WI 53546‐6026
MR JOSHUA T ENERSON         1221 KELLOGG AVE                                                                               JANESVILLE      WI 53546‐6019
MR JOSHUA T JOHNSON         617 W 10TH ST                                                                                  MUNCIE          IN 47302‐3126
MR JOSHUA T OSTRANDER       1120 BOYNTON DR                                                                                LANSING         MI 48917‐5704
MR JOSPEH SCHNEIDER         1515 N HAYFORD AVE                                                                             LANSING         MI 48912‐3437
MR JOSUE PEREZ              31 GERDON AVE                                                                                  PONTIAC         MI 48342‐1118
MR JOUA L YANG              321 W YALE AVE                                                                                 PONTIAC         MI 48340‐1754
MR JOZEF DE HERTOGH         C/O DEUTSCHE BANK SA/NV          AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR JUAN A FLORES            135 W TENNYSON AVE                                                                             PONTIAC        MI   48340‐2673
MR JUAN A HERRERA SR        162 W PRINCETON AVE                                                                            PONTIAC        MI   48340‐1840
MR JUAN A QUILES            23 LEANEE LN                                                                                   PONTIAC        MI   48340‐1651
MR JUAN BECERRA             29 STEGMAN LN                                                                                  PONTIAC        MI   48340‐1662
MR JUAN C HERMOCILLO        2170 LANSING ST                                                                                DETROIT        MI   48209‐1673
MR JUAN C RAMIREZ           260 W RUTGERS AVE                                                                              PONTIAC        MI   48340‐2762
MR JUAN CANTU               666 OJISTA AVE                                                                                 PONTIAC        MI   48340‐2351
MR JUAN DE DIOS HERRERA P   CALLEYARACUY QTA ANA GABRIELA                                         URB EL MARQUES CARACAS
                                                                                                  ESTADO MIRANDA
                                                                                                  VENEZUELA ZP 1060
MR JUAN F FILOMENO          144 SUMMIT ST # 2                                                                              PONTIAC        MI   48342‐1165
MR JUAN G SALAZAR           177 W ANN ARBOR AVE                                                                            PONTIAC        MI   48340‐1803
MR JUAN GARCIA              4812 BRANDON ST                                                                                DETROIT        MI   48209‐1389
MR JUAN GARCIA              4824 BRANDON ST                                                                                DETROIT        MI   48209‐1389
MR JUAN GUEL JR             714 KINNEY RD                                                                                  PONTIAC        MI   48340‐2437
MR JUAN J CANTU             674 OJISTA AVE                                                                                 PONTIAC        MI   48340‐2351
MR JUAN J LUCIO             767 EMIRY ST                                                                                   PONTIAC        MI   48340‐2423
MR JUAN J PENA JR           872 EMERSON AVE                                                                                PONTIAC        MI   48340‐3225
MR JUAN J RAMIREZ           3088 ROOSEVELT ST                                                                              DETROIT        MI   48216‐1020
MR JUAN LOPEZ               3015 TIMBER DR                                                                                 LANSING        MI   48917‐2385
MR JUAN M AGUILERA          608 BOXWOOD RD                                                                                 WILMINGTON     DE   19804‐2011
MR JUAN M AVILA‐LOPEZ       702 WOODTOP RD                                                                                 WILMINGTON     DE   19804‐2628
MR JUAN M GARCIA‐VARGAS     2220 MCKINSTRY ST                                                                              DETROIT        MI   48209‐1671
MR JUAN M PEREZ             11645 SPADINA ST APT 2                                                                         MOUNT MORRIS   MI   48458‐1981
MR JUAN MERCADO             4654 TOLEDO ST                                                                                 DETROIT        MI   48209‐1371
MR JUAN MORENO              993 EMERSON AVE                                                                                PONTIAC        MI   48340‐3230
MR JUAN O HINOJOSA          187 W STRATHMORE AVE                                                                           PONTIAC        MI   48340‐2777
MR JUAN P HEREDIA           633 E FOX HILLS DR                                                                             BLOOMFIELD     MI   48304‐1341
MR JUAN P LOPEZ‐SOTO        3598 28TH ST                                                                                   DETROIT        MI   48210‐3104
MR JUAN P SULAICA           248 W COLUMBIA AVE                                                                             PONTIAC        MI   48340‐1814
MR JUAN PAGAN               700 HARWOOD RD                                                                                 WILMINGTON     DE   19804‐2659
MR JUAN R GONZALEZ          702 BOXWOOD RD                                                                                 WILMINGTON     DE   19804‐2047
MR JUAN R LARA              2196 E BUDER AVE                                                                               BURTON         MI   48529‐1736
MR JUAN R PAUL              98 BLAINE AVE                                                                                  PONTIAC        MI   48342‐1100
MR JUAN RAMIREZ             37 W FAIRMOUNT AVE                                                                             PONTIAC        MI   48340‐2733
MR JUAN RUELAS              650 LOUNSBURY AVE                                                                              PONTIAC        MI   48340‐2447
MR JUAN RUIZ                236 W HOPKINS AVE                                                                              PONTIAC        MI   48340‐1824
MR JUDAH BRANCH             1323 K ST                                                                                      BEDFORD        IN   47421‐3214
MR JUDD A FRENCH            10 PROSPECT AVE                                                                                MASSENA        NY   13662‐1745
MR JUDE THOMPSON            918 16TH ST STE 500                                                                            BEDFORD        IN   47421‐3861
MR JULES M VANPASSEL SR     7 COPA LN                                                                                      WILMINGTON     DE   19804‐2050
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Name                        Address1                       Address2            Address3         Address4         City           State Zip
MR JULIAN F ALLENDER        2311 MCKINSTRY ST                                                                    DETROIT         MI 48209‐3193
MR JULIO C RUIZ             113 HUDSON AVE                                                                       PONTIAC         MI 48342‐1248
MR JULIOUS O CANNON         2032 POST HOUSE CT                                                                   BLOOMFIELD      MI 48304‐1047
MR JULIUS E MATSEY          2320 SCOTTEN ST                                                                      DETROIT         MI 48209‐1359
MR JULIUS H HANDLEY 3D      1372 E GRAND BLVD                                                                    FLINT           MI 48505‐1549
MR JULIUS L WILLIAMS        1141 AMOS ST                                                                         PONTIAC         MI 48342‐1803
MR JULIUS M SPARKMAN SR     591 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1311
MR JUSTICE ROWE             1043 ANGOLA AVE                                                                      MOUNT MORRIS    MI 48458‐2101
MR JUSTIN A GIBBS           6051 MORLEY ST                                                                       WESTLAND        MI 48185‐7678
MR JUSTIN B SPIRES          307 LINCOLN AVE                                                                      BEDFORD         IN 47421‐1608
MR JUSTIN D PRESCOTT        11120 KAREN ST                                                                       LIVONIA         MI 48150‐3145
MR JUSTIN D WOODARD         6108 ROBERT CIR                                                                      YPSILANTI       MI 48197‐8275
MR JUSTIN E WILLIAMS        318 W BARKDOL ST                                                                     KOKOMO          IN 46901‐5809
MR JUSTIN F PIERSON         1037 W COSTELLO ST                                                                   MOUNT MORRIS    MI 48458‐2159
MR JUSTIN J CARDINAL        12 BRIGHTON ST                                                                       MASSENA         NY 13662‐2228
MR JUSTIN J SKYLIS          761 PALMER DR                                                                        PONTIAC         MI 48342‐1860
MR JUSTIN KELLAMS           815 15TH ST                                                                          BEDFORD         IN 47421‐3811
MR JUSTIN KOWALLEK          11699 BROOKPARK RD                                                                   CLEVELAND       OH 44130‐1135
MR JUSTIN L DILLON          1623 L ST APT D                                                                      BEDFORD         IN 47421‐3754
MR JUSTIN L SHORT           1109 N COURTLAND AVE                                                                 KOKOMO          IN 46901‐2755
MR JUSTIN M GRIZZLE         2114 E MCLEAN AVE                                                                    BURTON          MI 48529‐1740
MR JUSTIN M KELLAR          18 SUMMIT ST                                                                         PONTIAC         MI 48342‐1162
MR JUSTIN M KISER           774 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3100
MR JUSTIN M LABOND          1912 E SPINNINGWHEEL LN                                                              BLOOMFIELD      MI 48304‐1061
MR JUSTIN M SERNA           931 FAIRVIEW AVE                                                                     PONTIAC         MI 48340‐2522
MR JUSTIN M WINTER          35 BLAINE AVE                                                                        PONTIAC         MI 48342‐1101
MR JUSTIN MEYER             509 BOXWOOD RD                                                                       WILMINGTON      DE 19804‐2009
MR JUSTIN N SCANLON         4101 WOODROW AVE                                                                     BURTON          MI 48509‐1051
MR JUSTIN N SPOONMORE       63 N ST                                                                              BEDFORD         IN 47421‐1733
MR JUSTIN R REICHARD        11451 SHARON DR APT C808                                                             PARMA           OH 44130‐8702
MR JUSTIN R SOKELAND        306 WHITE LN                                                                         BEDFORD         IN 47421‐9261
MR JUSTIN S FOELLER         9916 JULIE DR                                                                        YPSILANTI       MI 48197‐8291
MR JUSTIN W FRENCH          302 SHANDELL DR                                                                      BEDFORD         IN 47421‐9653
MR JUSTIN W SASSER          231 ROOSEVELT DR                                                                     DAVISON         MI 48423‐8550
MR JUSTIN WISLEY            2016 7TH ST                                                                          BEDFORD         IN 47421‐2410
MR JUSTUS L TURPIN          1825 J ST                                                                            BEDFORD         IN 47421‐4240
MR JUVENAL GASPAR           340 NORTH AVE E STE 1                                                                CRANFORD        NJ 07016‐2461
MR JUVENAL GUILLEN          3406 LOCKWOOD ST                                                                     DETROIT         MI 48210‐3213
MR JUVENTINO R PRIETO       872 MELROSE ST                                                                       PONTIAC         MI 48340‐3125
MR K HOLLIS                 665 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3239
MR KAI CRIVEA               741 ROBINWOOD ST                                                                     PONTIAC         MI 48340‐3141
MR KAI LIU                  524 FOX HILLS DR S                                                                   BLOOMFIELD      MI 48304‐1316
MR KAMEL BOCTOR             317 N DEERFIELD AVE                                                                  LANSING         MI 48917‐2910
MR KARL E BRINEGAR          1601 16TH ST                                                                         BEDFORD         IN 47421‐3611
MR KARL E FREDERICKSEN 3D   207 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2763
MR KARL K LANGENAU          2064 E BOATFIELD AVE                                                                 BURTON          MI 48529‐1712
MR KARL R ELSON             2222 N WEBSTER ST                                                                    KOKOMO          IN 46901‐5860
MR KARL R RICHARDSON JR     245 HIGHLAND AVE                                                                     BLOOMFIELD      MI 48302‐0632
MR KARL W HARNS             133 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1874
MR KARL W RICHESON          611 CURTIS AVE                                                                       WILMINGTON      DE 19804‐2107
MR KARMIT L RICHARDSON      1216 N UNION ST                                                                      KOKOMO          IN 46901‐2902
MR KAYING VUE               112 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1840
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Name                        Address1                       Address2            Address3         Address4         City         State Zip
MR KEEFE M RILEY            16 HILLCREST AVE                                                                     MASSENA       NY 13662‐1821
MR KEITH A FINLEY           670 BAY ST                                                                           PONTIAC       MI 48342‐1918
MR KEITH A JEWELL           212 E BROADWAY ST APT 2                                                              KOKOMO        IN 46901‐2979
MR KEITH A MARTIN           1611 N APPERSON WAY                                                                  KOKOMO        IN 46901‐2380
MR KEITH A PATRICK          19 LAUREL AVE                                                                        MASSENA       NY 13662‐2030
MR KEITH A THOMPSON         6112 ROBERT CIR                                                                      YPSILANTI     MI 48197‐8274
MR KEITH BEESON             5581 CHEVROLET BLVD APT C203                                                         PARMA         OH 44130‐1403
MR KEITH D BUSSE            319 L ST                                                                             BEDFORD       IN 47421‐1809
MR KEITH D DICK             1004 NORWOOD RD                                                                      LANSING       MI 48917‐2360
MR KEITH D HOLLIMON         1034 PREMONT AVE                                                                     WATERFORD     MI 48328‐3846
MR KEITH D HORNAK           10861 GABRIELLA DR                                                                   PARMA         OH 44130‐1465
MR KEITH D LAUDER           1823 H ST                                                                            BEDFORD       IN 47421‐4219
MR KEITH D SMITH            341 W YALE AVE                                                                       PONTIAC       MI 48340‐1754
MR KEITH E ALLEN            2073 BRADY AVE                                                                       BURTON        MI 48529‐2424
MR KEITH E BAKER            41 W FAIRMOUNT AVE                                                                   PONTIAC       MI 48340‐2733
MR KEITH E KNOOP            34 W PRINCETON AVE                                                                   PONTIAC       MI 48340‐1836
MR KEITH E LUXTON SR        2132 E PARKWOOD AVE                                                                  BURTON        MI 48529‐1766
MR KEITH G WADSWORTH        1507 15TH ST                                                                         BEDFORD       IN 47421‐3601
MR KEITH L BLACKWELL        26 E STRATHMORE AVE                                                                  PONTIAC       MI 48340‐2764
MR KEITH L CHIN             573 FOX HILLS DR N                                                                   BLOOMFIELD    MI 48304‐1311
MR KEITH M LAWRENCE         3 THAYER ST                                                                          FRAMINGHAM    MA 01702‐8717
MR KEITH P PIERCE           3000 COURT ST                                                                        SYRACUSE      NY 13208‐3219
MR KEITH R MELANGE          11944 HALLER ST                                                                      LIVONIA       MI 48150‐5323
MR KEITH W JONES            1017 N PURDUM ST                                                                     KOKOMO        IN 46901‐3039
MR KEL CROSSLAND            927 W 15TH ST                                                                        MUNCIE        IN 47302‐3065
MR KELDON K SCOTT           607 N CATHERINE ST                                                                   LANSING       MI 48917‐4907
MR KELLY E GWINN SR         1466 CONNELL ST                                                                      BURTON        MI 48529‐2205
MR KEN A KEW                2018 S PEARL ST                                                                      JANESVILLE    WI 53546‐6032
MR KEN HYLA                 11440 RICHARD DR                                                                     CLEVELAND     OH 44130‐1345
MR KENDALL H COLE           2041 WILMAR ST                                                                       BURTON        MI 48509‐1121
MR KENDALL KERSCHNER        2302 N WASHINGTON ST                                                                 KOKOMO        IN 46901‐5841
MR KENNARD L GILBREATH      489 TALLAHASSEE AVE                                                                  PONTIAC       MI 48340‐2371
MR KENNETH A MERCER         12410 CAMDEN ST                                                                      LIVONIA       MI 48150‐2371
MR KENNETH A SADLER         1054 E KURTZ AVE                                                                     FLINT         MI 48505‐1512
MR KENNETH A VERBOWSKI      2034 JAMES ST                                                                        BURTON        MI 48529‐1348
MR KENNETH B BARNETT        240 W PRINCETON AVE                                                                  PONTIAC       MI 48340‐1844
MR KENNETH B BARNETT II     236 W PRINCETON AVE                                                                  PONTIAC       MI 48340‐1844
MR KENNETH B JACKSON SR     874 BAY ST                                                                           PONTIAC       MI 48342‐1902
MR KENNETH B KOZLOWSKI      205 W ANN ARBOR AVE                                                                  PONTIAC       MI 48340‐1805
MR KENNETH B SENCHEREY      715 STIRLING ST                                                                      PONTIAC       MI 48340‐3173
MR KENNETH C SOMMERFELDT    1549 ANTHONY AVE                                                                     JANESVILLE    WI 53546‐6009
MR KENNETH C STEVENS        744 MOUNT PLEASANT RD                                                                BEDFORD       IN 47421‐7643
MR KENNETH C WEAVER SR      711 VARSITY LN                                                                       BEAR          DE 19701‐3909
MR KENNETH CROOMS           2814 VINEWOOD ST                                                                     DETROIT       MI 48216‐1085
MR KENNETH D FLANNERY       81 PROSPECT AVE                                                                      MASSENA       NY 13662‐1746
MR KENNETH D FRITTS         113 W RUTGERS AVE                                                                    PONTIAC       MI 48340‐2759
MR KENNETH D KURTZ          1444 E MCLEAN AVE                                                                    BURTON        MI 48529‐1614
MR KENNETH D LAJEUNESSE     2210 E JUDD RD                                                                       BURTON        MI 48529‐2407
MR KENNETH D LAUER          2218 S PINE ST                                                                       JANESVILLE    WI 53546‐6171
MR KENNETH D LOCK           2035 E SCOTTWOOD AVE                                                                 BURTON        MI 48529‐1749
MR KENNETH D NOLLEY         1402 N MARKET ST                                                                     KOKOMO        IN 46901‐2339
MR KENNETH D POFFENBERGER   2235 CENTER AVE APT 1                                                                JANESVILLE    WI 53546‐8970
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR KENNETH D POLZIN        1486 E WILLIAMSON ST                                                                 BURTON           MI 48529‐1628
MR KENNETH D SELF          1100 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1702
MR KENNETH D SELF          43 W PRINCETON AVE                                                                   PONTIAC          MI 48340‐1837
MR KENNETH D SELF          34 W HOPKINS AVE                                                                     PONTIAC          MI 48340‐1816
MR KENNETH D SPEER         513 15TH ST # 1‐2                                                                    BEDFORD          IN 47421‐3803
MR KENNETH D STAGGS        811 HELTONVILLE RD E                                                                 BEDFORD          IN 47421‐9254
MR KENNETH D WOODS         1073 COLLINS AVE                                                                     MOUNT MORRIS     MI 48458‐2102
MR KENNETH E BROOKING      1519 17TH ST                                                                         BEDFORD          IN 47421‐4103
MR KENNETH E BROOKS SR     244 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2762
MR KENNETH E BRUMBAUGH     201 RILEY BLVD                                                                       BEDFORD          IN 47421‐9646
MR KENNETH E CLARK         263 WHITE LN                                                                         BEDFORD          IN 47421‐9224
MR KENNETH E CORTHALS      1456 CONNELL ST                                                                      BURTON           MI 48529‐2205
MR KENNETH E HAWS          1721 H ST                                                                            BEDFORD          IN 47421‐4217
MR KENNETH E HENRY         500 FOX HILLS DR N APT 6                                                             BLOOMFIELD       MI 48304‐1339
MR KENNETH E LARCHE        4 HIGHLAND AVE                                                                       MASSENA          NY 13662‐1822
MR KENNETH E SMITH         420 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2986
MR KENNETH E SPEER JR      1308 O ST                                                                            BEDFORD          IN 47421‐3124
MR KENNETH E THOMPSON      102 W YALE AVE                                                                       PONTIAC          MI 48340‐1862
MR KENNETH E WRIGHT JR     2107 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐5963
MR KENNETH F BEEHLER       2183 E MCLEAN AVE                                                                    BURTON           MI 48529‐1741
MR KENNETH F BUTTERFIELD   2135 HUBBARD ST APT 21                                                               DETROIT          MI 48209‐3321
MR KENNETH F DELONG        613 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2603
MR KENNETH F ORTH          600 FALLON AVE                                                                       WILMINGTON       DE 19804‐2112
MR KENNETH FENDER          929 L ST                                                                             BEDFORD          IN 47421‐2533
MR KENNETH FIELDS          31 UNIVERSITY PLACE DR                                                               PONTIAC          MI 48342‐1881
MR KENNETH FORD            1114 17TH ST                                                                         BEDFORD          IN 47421‐4229
MR KENNETH G CYGANSKI      39310 NORTHHAMPTON ST                                                                WESTLAND         MI 48186‐3715
MR KENNETH G FARRALL       10806 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8043
MR KENNETH G MACDONNELL    80 ANDREWS ST                                                                        MASSENA          NY 13662‐1858
MR KENNETH G SMITH         1100 E HARVARD AVE                                                                   FLINT            MI 48505‐1508
MR KENNETH GREGORY         35 W HOPKINS AVE                                                                     PONTIAC          MI 48340‐1817
MR KENNETH H EMMICK        11240 HALLER ST                                                                      LIVONIA          MI 48150‐3179
MR KENNETH H OBER          604 BOXWOOD RD                                                                       WILMINGTON       DE 19804‐2011
MR KENNETH H SMITH         240 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2778
MR KENNETH HAMBY           804 STIRLING ST                                                                      PONTIAC          MI 48340‐3170
MR KENNETH HEARNS          630 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1943
MR KENNETH HILL            G3492 S SAGINAW ST                                                                   BURTON           MI 48529‐1217
MR KENNETH J BORSO         724 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1361
MR KENNETH J FAHR II       1204 N CHESTNUT ST                                                                   HUNTINGBURG      IN 47542‐9688
MR KENNETH J FREDERICK     204 FREDERICK LN                                                                     WILMINGTON       DE 19805‐2324
MR KENNETH J HACKNEY       608 SPRING DR                                                                        BEDFORD          IN 47421‐9630
MR KENNETH J PRIMUS        1219 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐6106
MR KENNETH J WAGMAN        1923 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6167
MR KENNETH K GHOSTLAW      2 LAUREL AVE APT 2                                                                   MASSENA          NY 13662‐2098
MR KENNETH L BLACKMON      1068 CLOVIS AVE                                                                      MOUNT MORRIS     MI 48458‐2504
MR KENNETH L COLDEN        1083 CLOVERLAWN DR                                                                   PONTIAC          MI 48340‐1611
MR KENNETH L DENEEN        141 CHERRY HILL DR                                                                   PONTIAC          MI 48340‐1609
MR KENNETH L DRISCOLL      471 E WOODLAND DR                                                                    BELOIT           WI 53511‐1544
MR KENNETH L HOSE          220 THE WOODS                                                                        BEDFORD          IN 47421‐9369
MR KENNETH L JONES         181 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1876
MR KENNETH L LUCAS         2184 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1728
MR KENNETH L MILLER        606 BECKER AVE                                                                       WILMINGTON       DE 19804‐2106
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR KENNETH L NELSON        251 W MONTCALM ST                                                                    PONTIAC          MI 48342‐1146
MR KENNETH L ROSEBUSH      1125 CLOVIS AVE                                                                      MOUNT MORRIS     MI 48458‐2544
MR KENNETH L ROSEBUSH II   1150 CLOVIS AVE                                                                      MOUNT MORRIS     MI 48458‐2505
MR KENNETH L THIEKE        1622 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐2224
MR KENNETH L THOMPSON      103 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2001
MR KENNETH M BOOKER        647 BUENA VISTA ST APT 17                                                            MOUNT MORRIS     MI 48458‐1962
MR KENNETH M BOURDON       1 GRASSMERE TER APT 4                                                                MASSENA          NY 13662‐2160
MR KENNETH M MCDOWELL      2602 MELISSA CT                                                                      FREDERICKSBRG    VA 22408‐8069
MR KENNETH M PINNOW        2708 MCCANN DR                                                                       JANESVILLE       WI 53546‐4422
MR KENNETH M PLUMMER JR    23 Q ST                                                                              BEDFORD          IN 47421‐1601
MR KENNETH M VOLAN         11500 AARON DR                                                                       CLEVELAND        OH 44130‐1267
MR KENNETH MCCLELLEN       216 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2623
MR KENNETH MCQUOID         48 DOUGLAS RD                                                                        MASSENA          NY 13662‐2133
MR KENNETH N BOGARD        1528 N WASHINGTON ST                                                                 KOKOMO           IN 46901‐2211
MR KENNETH N MACLACHLAN    684 MELROSE ST                                                                       PONTIAC          MI 48340‐3117
MR KENNETH N PLUMMER II    74 LINCOLN AVE                                                                       BEDFORD          IN 47421‐1611
MR KENNETH P ERICKSON      5900 BRIDGE RD APT 603                                                               YPSILANTI        MI 48197‐7010
MR KENNETH P KOOLWICK      540 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1080
MR KENNETH P WARNER        1381 PROPER AVE                                                                      BURTON           MI 48529‐2043
MR KENNETH PLUMMER         1133 LINCOLN AVE                                                                     BEDFORD          IN 47421‐2924
MR KENNETH R BLY           2009 JOLSON AVE                                                                      BURTON           MI 48529‐2031
MR KENNETH R COPELAND      4188 RISEDORPH ST                                                                    BURTON           MI 48509‐1042
MR KENNETH R CORSON JR     10913 BEVIN DR                                                                       FREDERICKSBRG    VA 22408‐2072
MR KENNETH R FORD JR       510 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1916
MR KENNETH R JOSLIN JR     1467 BRADY AVE                                                                       BURTON           MI 48529‐2011
MR KENNETH R LAFFERTY      1327 GRAM ST                                                                         BURTON           MI 48529‐2021
MR KENNETH R MEACHAM       1623 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2380
MR KENNETH R MERNER        12455 WEST JANESVILLE ROAD     UNIT 405                                              MUSKEGO          WI 53150‐2958
MR KENNETH R PEARSON       2115 N MAIN ST                                                                       KOKOMO           IN 46901‐5827
MR KENNETH R SEIGFRIED     251 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2725
MR KENNETH R TEAGUE        1310 13TH ST                                                                         BEDFORD          IN 47421‐3225
MR KENNETH R WHITE         243 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1835
MR KENNETH R WRIGHT        1143 WESTFIELD RD                                                                    LANSING          MI 48917‐2376
MR KENNETH ROSARIO         15 HILLCREST AVE                                                                     MASSENA          NY 13662‐1820
MR KENNETH S GIFFELS       2111 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1725
MR KENNETH S WILSON        562 FOX HILLS DR S                                                                   BLOOMFIELD       MI 48304‐1316
MR KENNETH S YANCHIK       1309 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐6108
MR KENNETH T SIGLER        615 N GRACE ST                                                                       LANSING          MI 48917‐4913
MR KENNETH THATCHER        928 E SYCAMORE ST                                                                    KOKOMO           IN 46901‐4821
MR KENNETH W BIRELEY       855 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8145
MR KENNETH W HILLIER       2124 DELANEY ST                                                                      BURTON           MI 48509‐1025
MR KENNETH W HOUSTON       1137 E COLDWATER RD                                                                  FLINT            MI 48505‐1503
MR KENNETH W JOSEPH        2037 CASHIN ST                                                                       BURTON           MI 48509‐1137
MR KENNETH W WELLS         21 RANSOM AVE                                                                        MASSENA          NY 13662‐1740
MR KENNEY R BUCK           1521 S SAMPSON AVE                                                                   MUNCIE           IN 47302‐2208
MR KENNY B DECKARD         1070 SUGAR HILL ADDITION                                                             BEDFORD          IN 47421‐8147
MR KENNY E GORDON          550 E WITHERBEE ST                                                                   FLINT            MI 48505‐4703
MR KENNY HELTON            1511 3RD ST                                                                          BEDFORD          IN 47421‐1719
MR KENNY HELTON            228 M ST                                                                             BEDFORD          IN 47421‐1815
MR KENNY L REUTER          1210 4TH ST                                                                          BEDFORD          IN 47421‐1808
MR KENNY RICHARDSON        197 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8138
MR KENT A ULLIUS           2116 SHERIDAN ST                                                                     JANESVILLE       WI 53546‐3909
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Name                   Address1                     Address2            Address3         Address4         City           State Zip
MR KENT L BRUNER       1700 W 9TH ST                                                                      MUNCIE          IN 47302‐2121
MR KENT L CROSBY       1401 13TH ST                                                                       BEDFORD         IN 47421‐3226
MR KENT L WATSON       1812 H ST APT 2                                                                    BEDFORD         IN 47421‐4264
MR KENT S BROWN        208 W BROADWAY ST                                                                  KOKOMO          IN 46901‐2816
MR KENT W ROBBINS      216 MOUNT PLEASANT RD                                                              BEDFORD         IN 47421‐9665
MR KENT W ROBERTS      45 DOUGLAS RD                                                                      MASSENA         NY 13662‐2135
MR KENTON E WOOD       618 W 5TH ST                                                                       MUNCIE          IN 47302‐2201
MR KENTON R BARLOW     1600 W 10TH ST                                                                     MUNCIE          IN 47302‐6605
MR KEON HAYES          887 CAMERON AVE                                                                    PONTIAC         MI 48340‐3211
MR KEON M ALLEN        548 W FAIRMOUNT AVE # 548                                                          PONTIAC         MI 48340‐1602
MR KERRY A KUMRITS     562 HELEN ST                                                                       MOUNT MORRIS    MI 48458‐1923
MR KERRY D MILLER      1224 N MORRISON ST                                                                 KOKOMO          IN 46901‐2762
MR KERRY L TOLBERT     759 KENILWORTH AVE                                                                 PONTIAC         MI 48340‐3101
MR KETAN PATEL         1923 M ST                                                                          BEDFORD         IN 47421‐4031
MR KEVIN A KLEMM       470 FOX HILLS DR N APT 2                                                           BLOOMFIELD      MI 48304‐1333
MR KEVIN A WARD        2053 WICKFORD CT                                                                   BLOOMFIELD      MI 48304‐1088
MR KEVIN C ANDRY       1406 17TH ST                                                                       BEDFORD         IN 47421‐4102
MR KEVIN C GRAHAM      164 CHERRY HILL DR                                                                 PONTIAC         MI 48340‐1608
MR KEVIN C TRIM        384 ELM ST                                                                         MOUNT MORRIS    MI 48458‐1912
MR KEVIN D ANTHONY     811 MELROSE ST                                                                     PONTIAC         MI 48340‐3124
MR KEVIN D BAILEY      46 GROVE ST                                                                        MASSENA         NY 13662‐2126
MR KEVIN D GARRISON    113 PUTNAM AVE                                                                     PONTIAC         MI 48342‐1267
MR KEVIN D YEARY       1707 G ST                                                                          BEDFORD         IN 47421‐4635
MR KEVIN DOWNARD       1015 W MEMORIAL DR                                                                 MUNCIE          IN 47302‐3050
MR KEVIN DUMAS         1481 PROPER AVE                                                                    BURTON          MI 48529‐2045
MR KEVIN E EMERSON     9815 JULIE DR                                                                      YPSILANTI       MI 48197‐7091
MR KEVIN E SHAW        238 HIGH ST                                                                        PONTIAC         MI 48342‐1121
MR KEVIN G BUELL       2001 N CENTER RD APT 101                                                           FLINT           MI 48506‐3198
MR KEVIN G DAVIS       1714 N INDIANA AVE                                                                 KOKOMO          IN 46901‐2042
MR KEVIN G HUFFAKER    9945 GERALDINE ST                                                                  YPSILANTI       MI 48197‐6928
MR KEVIN GIPSON        150 W TENNYSON AVE                                                                 PONTIAC         MI 48340‐2672
MR KEVIN H BLUE        2183 E SCHUMACHER ST                                                               BURTON          MI 48529‐2439
MR KEVIN HARTSHORNE    12210 CAMDEN ST                                                                    LIVONIA         MI 48150‐2329
MR KEVIN HATTEN        1102 W 1ST ST                                                                      MUNCIE          IN 47305‐2103
MR KEVIN J BOWMAN      449 FOX HILLS DR N                                                                 BLOOMFIELD      MI 48304‐1309
MR KEVIN J CLOUSE      2048 WILMAR ST                                                                     BURTON          MI 48509‐1122
MR KEVIN J CONDLIN     43 NIGHTENGALE AVE                                                                 MASSENA         NY 13662‐1719
MR KEVIN J MITCHELL    315 BON AIR RD                                                                     LANSING         MI 48917‐2904
MR KEVIN J SHARLOW     6 RIDGEWOOD AVE                                                                    MASSENA         NY 13662‐2115
MR KEVIN K CRAN        1946 FOX RIVER DR                                                                  BLOOMFIELD      MI 48304‐1022
MR KEVIN K LOR         322 W HOPKINS AVE                                                                  PONTIAC         MI 48340‐1718
MR KEVIN KALLEY        1713 W 9TH ST                                                                      MUNCIE          IN 47302‐2122
MR KEVIN L GARNER      2181 E PARKWOOD AVE                                                                BURTON          MI 48529‐1767
MR KEVIN L HODGE       734 KINNEY RD                                                                      PONTIAC         MI 48340‐2439
MR KEVIN L LYNN        2073 CONNELL ST                                                                    BURTON          MI 48529‐1332
MR KEVIN L MULROONEY   300 S CLIFTON AVE                                                                  WILMINGTON      DE 19805‐2368
MR KEVIN L MURRAY      4175 WOODROW AVE                                                                   BURTON          MI 48509‐1051
MR KEVIN L PHILLIPS    984 FAIRVIEW AVE                                                                   PONTIAC         MI 48340‐2638
MR KEVIN L RUSSELL     4059 WOODROW AVE                                                                   BURTON          MI 48509‐1050
MR KEVIN M BEASLEY     1515 13TH ST                                                                       BEDFORD         IN 47421‐3111
MR KEVIN M BUNDY       16 W CONRAD DR                                                                     WILMINGTON      DE 19804‐2040
MR KEVIN M CLAIR       564 FOX HILLS DR S                                                                 BLOOMFIELD      MI 48304‐1316
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Name                          Address1                        Address2              Address3       Address4                 City            State Zip
MR KEVIN M CONCANNON          54 GUILD RD APT 1                                                                             FRAMINGHAM       MA 01702‐8713
MR KEVIN M FOGARTY            704 N AUGUSTINE ST                                                                            WILMINGTON       DE 19804‐2606
MR KEVIN M HOLLAND            1717 W GLENN ELLYN DR                                                                         MUNCIE           IN 47304‐2220
MR KEVIN M KELLY              2105 S OAKHILL AVE                                                                            JANESVILLE       WI 53546‐6104
MR KEVIN M KINCAID            1516 E BUDER AVE                                                                              BURTON           MI 48529‐1606
MR KEVIN M RODVILL            567 WALKER ST                                                                                 MOUNT MORRIS     MI 48458‐1944
MR KEVIN M SOUTHERN           672 BUENA VISTA ST                                                                            MOUNT MORRIS     MI 48458‐1910
MR KEVIN M WITEK              1087 CLOVIS AVE                                                                               MOUNT MORRIS     MI 48458‐2503
MR KEVIN M YOULES             11804 CAMDEN ST                                                                               LIVONIA          MI 48150‐2340
MR KEVIN P PURDY              10821 STACY RUN                                                                               FREDERICKSBRG    VA 22408‐8040
MR KEVIN P SWINDLEHURST       520 N CATHERINE ST                                                                            LANSING          MI 48917‐2932
MR KEVIN R GREENWALD          113 W STRATHMORE AVE                                                                          PONTIAC          MI 48340‐2775
MR KEVIN R JONES              107 PINGREE AVE                                                                               PONTIAC          MI 48342‐1174
MR KEVIN R MYERS              10706 TRICIA PL                                                                               FREDERICKSBRG    VA 22408‐8067
MR KEVIN S LITBAK             10911 RIVEREDGE DR                                                                            CLEVELAND        OH 44130‐1252
MR KEVIN S VERHEY             87 PINGREE AVE                                                                                PONTIAC          MI 48342‐1160
MR KEVIN SCHWALL              1702 WILBERFORCE CIR                                                                          FLINT            MI 48503‐5242
MR KEVIN T DOUGLAS            115 N CATHERINE ST                                                                            LANSING          MI 48917‐2929
MR KEVIN T RACE               10818 SAMANTHA PL                                                                             FREDERICKSBRG    VA 22408‐8043
MR KEVIN V ARGUE              1392 READY AVE                                                                                BURTON           MI 48529‐2052
MR KEVIN W CODDINGTON         617 E FOX HILLS DR                                                                            BLOOMFIELD       MI 48304‐1341
MR KEVIN WEBB                 1500 W MEMORIAL DR                                                                            MUNCIE           IN 47302‐6629
MR KEVIN WILLIAMS             638 PALMER DR                                                                                 PONTIAC          MI 48342‐1854
MR KEVIN WILSON               117 PUTNAM AVE APT 3                                                                          PONTIAC          MI 48342‐3701
MR KEVIN WITEK                1091 CLOVIS AVE                                                                               MOUNT MORRIS     MI 48458‐2503
MR KEVYN J MOREHEAD           2374 WHITNEY AVE                                                                              ONTARIO          OH 44906‐1194
MR KEYWAN CLARK               46 LANTERN LN                                                                                 PONTIAC          MI 48340‐1649
MR KHAJENDR A ATLURI          451 FOX HILLS DR S APT 8                                                                      BLOOMFIELD       MI 48304‐1353
MR KHALID FAROOQ              804 N AUGUSTINE ST                                                                            WILMINGTON       DE 19804‐2608
MR KIANO D BLACK              626 KETTERING AVE                                                                             PONTIAC          MI 48340‐3267
MR KIETH LAFRANCE             922 NORTH AVE                                                                                 SYRACUSE         NY 13206‐1645
MR KILEY F FELCH              731 CANAAN RD                                                                                 ELLENBURG DEP    NY 12935‐2627
MR KIN S AU                   425 BEACH ST                                                                                  MOUNT MORRIS     MI 48458‐1903
MR KINGSLEY A THOMAS          989 UNIVERSITY DR STE 105                                                                     PONTIAC          MI 48342‐1885
MR KIPLING C WILSON           400 N CATHERINE ST                                                                            LANSING          MI 48917‐4904
MR KIPP E WALLACE             821 SPYGLASS DR                                                                               BEDFORD          IN 47421‐9295
MR KIRBY N PRIDDY             2268 PEERLESS RD                                                                              BEDFORD          IN 47421‐8102
MR KIRK D RICHARDS            7190 HARVARD AVE                                                                              MOUNT MORRIS     MI 48458‐2144
MR KIRK J NORDBERG            2154 E WHITTEMORE AVE                                                                         BURTON           MI 48529‐1726
MR KIRK SANDVOSS              10 BOWERS ST                                                                                  MASSENA          NY 13662‐2102
MR KIRLEW Y ROACH             680 MELROSE ST                                                                                PONTIAC          MI 48340‐3117
MR KIRT D ROWE                2055 WILMAR ST                                                                                BURTON           MI 48509‐1121
MR KISHOR K SHRESTHA          13845 CORTEZ CT                                                                               ROGERS           AR 72758‐9508
MR KOENRAAD WAUTERS           C/O DEUTSCHE BANK SA NV         AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR KOLEETA H TONKIN           1206 N ST                                                                                     BEDFORD         IN 47421‐2940
MR KONG LEE                   37 W LONGFELLOW AVE                                                                           PONTIAC         MI 48340‐1827
MR KONSTANTINOS MICHAILIDIS   MRS DAVINA MICHAELIDES          13 TROIAS STR         VOULA          ATHENS 16673 GREECE
MR KRAIG COATTA               97 W FAIRMOUNT AVE                                                                            PONTIAC         MI   48340‐2735
MR KRIS R SCHWANDT            1022 MEADOWLAWN DR                                                                            PONTIAC         MI   48340‐1730
MR KRISTOPHER C HARRIS        1997 W SPINNINGWHEEL LN                                                                       BLOOMFIELD      MI   48304‐1067
MR KRISTOPHER J CYRUS         17 KENT ST                                                                                    MASSENA         NY   13662‐2122
MR KRISTOPHER N BRITTON       2059 CONNELL ST                                                                               BURTON          MI   48529‐1332
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Name                       Address1                         Address2            Address3         Address4         City            State Zip
MR KURT A BOSEN            2123 SAVOY AVE                                                                         BURTON           MI 48529‐2173
MR KURT A KLUG             5659 NATHAN DR                                                                         CLEVELAND        OH 44130‐1561
MR KURT J DAHLBY           2419 WHITNEY AVE                                                                       ONTARIO          OH 44906‐1197
MR KURT J VELASCO          11360 UNION ST                                                                         MOUNT MORRIS     MI 48458‐2211
MR KURT L FENSKE           3398 LOON LAKE CT                                                                      WATERFORD        MI 48329‐4219
MR KURT M HALLER           9922 GERALDINE ST                                                                      YPSILANTI        MI 48197‐6929
MR KURT O OSTHEIM          2035 STONE HOLLOW CT                                                                   BLOOMFIELD       MI 48304‐1075
MR KURT W GALLAGHER        580 BEACH ST                                                                           MOUNT MORRIS     MI 48458‐1906
MR KURT W SEIBERT          710 KINNEY RD                                                                          PONTIAC          MI 48340‐2437
MR KURT W STEBBINS         2047 E WHITTEMORE AVE                                                                  BURTON           MI 48529‐1723
MR KURTIS J HISSONG        7126 ESTRELLE AVE                                                                      MOUNT MORRIS     MI 48458‐2149
MR KYLE A CUMMINGS         822 SPYGLASS DR                                                                        BEDFORD          IN 47421‐9295
MR KYLE BROWN              1102 O ST                                                                              BEDFORD          IN 47421‐2816
MR KYLE DARLING            664 MAPLE ST                                                                           MOUNT MORRIS     MI 48458‐1927
MR KYLE E LAWSON           2063 E BUDER AVE                                                                       BURTON           MI 48529‐1731
MR KYLE J OGLE             1225 W MEMORIAL DR                                                                     MUNCIE           IN 47302‐2243
MR KYLE J POWELL           252 W PRINCETON AVE                                                                    PONTIAC          MI 48340‐1844
MR KYLE K FISHER           2278 E BUDER AVE                                                                       BURTON           MI 48529‐1776
MR KYLE R BIGNESS          19 ROCKAWAY ST                                                                         MASSENA          NY 13662‐2111
MR KYLE R HUTTON           220 RILEY BLVD                                                                         BEDFORD          IN 47421‐9648
MR KYLE R JOHNSON          1304 W 13TH ST                                                                         MUNCIE           IN 47302‐2903
MR KYLE R LOSEE            1535 ANTHONY AVE                                                                       JANESVILLE       WI 53546‐6009
MR KYLE S HARRIS           10926 STACY RUN                                                                        FREDERICKSBRG    VA 22408‐8047
MR KYLE V GAGE             181 W PRINCETON AVE                                                                    PONTIAC          MI 48340‐1843
MR KYLE W JONES            1912 W 10TH ST                                                                         MUNCIE           IN 47302‐2145
MR LADARRIUS M DAVIS       735 NEWMAN LN                                                                          PONTIAC          MI 48340‐3305
MR LAFAYETTE OSBORNE       2135 HUBBARD ST APT 17                                                                 DETROIT          MI 48209‐3320
MR LAMAR E PETERSON        161 THE WOODS                                                                          BEDFORD          IN 47421‐9300
MR LAMAR N WINSATT         2201 AVENUE A                                                                          FLINT            MI 48505‐4309
MR LAMARE J ROBERTSON      600 KETTERING AVE                                                                      PONTIAC          MI 48340‐3267
MR LAMOND E LOWERY         5900 BRIDGE RD APT 704                                                                 YPSILANTI        MI 48197‐7009
MR LANCE G ADAMS           1704 11TH ST                                                                           BEDFORD          IN 47421‐2808
MR LANCE G LAVIGNE         499 HELEN ST                                                                           MOUNT MORRIS     MI 48458‐1920
MR LANCE H BERRIER         2924 RISLEY DR                                                                         LANSING          MI 48917‐2364
MR LANCE M LACEY           713 GARNET RD                                                                          WILMINGTON       DE 19804‐2613
MR LANE A PERRAS           5 BRIGHTON ST                                                                          MASSENA          NY 13662‐2229
MR LANSING BYERS JR        1510 17TH ST                                                                           BEDFORD          IN 47421‐4104
MR LARKIN LESTER           1912 W 8TH ST                                                                          MUNCIE           IN 47302‐2183
MR LARON WALDEN            8270 JOHN R ST                                                                         DETROIT          MI 48202‐2500
MR LARON WELLONS           106 E COLGATE AVE                                                                      PONTIAC          MI 48340‐1225
MR LARRY A COLE            706 W 11TH ST                                                                          MUNCIE           IN 47302‐3131
MR LARRY A DEGRAFFENREID   1241 N COURTLAND AVE                                                                   KOKOMO           IN 46901‐2753
MR LARRY A GRAY            2127 MORRIS AVE                                                                        BURTON           MI 48529‐2179
MR LARRY A NEAVES          11610 CHURCH ST                                                                        MOUNT MORRIS     MI 48458‐2017
MR LARRY A RENFROW         1525 16TH ST                                                                           BEDFORD          IN 47421‐3609
MR LARRY ADKINS            105 W HOPKINS AVE                                                                      PONTIAC          MI 48340‐1821
MR LARRY ANDERSON          130 WOODLAND DR                                                                        BEDFORD          IN 47421‐6306
MR LARRY B HOWELL          1319 2ND ST                                                                            BEDFORD          IN 47421‐1801
MR LARRY BRYANT            1501 MOUNT PLEASANT RD                                                                 BEDFORD          IN 47421‐8033
MR LARRY D ARNOLD          697 LIVINGSTON AVE                                                                     PONTIAC          MI 48340‐2444
MR LARRY D DUARARD         11961 HARTEL ST                                                                        LIVONIA          MI 48150‐5324
MR LARRY D FRENCH          209 W YPSILANTI AVE                                                                    PONTIAC          MI 48340‐1878
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Name                    Address1                       Address2            Address3         Address4         City         State Zip
MR LARRY D GORDON SR    1344 STANLEY AVE                                                                     PONTIAC       MI 48340‐1749
MR LARRY D GREEN        156 W WALTON BLVD                                                                    PONTIAC       MI 48340‐1164
MR LARRY D HANNAH       263 W RUTGERS AVE                                                                    PONTIAC       MI 48340‐2763
MR LARRY D KERN         1324 K ST STE 17                                                                     BEDFORD       IN 47421‐3246
MR LARRY D KERN         1525 4TH ST                                                                          BEDFORD       IN 47421‐1723
MR LARRY D MAIN         401 N GRACE ST                                                                       LANSING       MI 48917‐4911
MR LARRY D PENLEY       2148 N ARMSTRONG ST                                                                  KOKOMO        IN 46901‐5801
MR LARRY D ROBERTS      1801 N WABASH AVE                                                                    KOKOMO        IN 46901‐2004
MR LARRY D ROBERTSON    1231 N SANDSTONE RD                                                                  BEDFORD       IN 47421‐9642
MR LARRY D SANDERS      1207 O ST                                                                            BEDFORD       IN 47421‐3121
MR LARRY D SAVETSKI     5561 CHEVROLET BLVD APT C103                                                         PARMA         OH 44130‐1402
MR LARRY D SINSABAUGH   1081 STANLEY AVE                                                                     PONTIAC       MI 48340‐1779
MR LARRY D WHITE        1468 E PARKWOOD AVE                                                                  BURTON        MI 48529‐1634
MR LARRY D WILLIAMS     955 HELTONVILLE RD E                                                                 BEDFORD       IN 47421‐8184
MR LARRY D WISLER       1517 E MCLEAN AVE                                                                    BURTON        MI 48529‐1613
MR LARRY E BADTKE       2140 S TERRACE ST                                                                    JANESVILLE    WI 53546‐6120
MR LARRY E BRADLEY      1515 N MCCANN ST                                                                     KOKOMO        IN 46901‐2059
MR LARRY E CARVER       817 W NORTH ST                                                                       KOKOMO        IN 46901‐2746
MR LARRY E DUDLEY       926 W 15TH ST                                                                        MUNCIE        IN 47302‐3064
MR LARRY E JAMES        218 N CATHERINE ST                                                                   LANSING       MI 48917‐4902
MR LARRY E KYER         46 PARKER AVE                                                                        MASSENA       NY 13662‐2215
MR LARRY E MATTISON     13 RIDGEWOOD AVE                                                                     MASSENA       NY 13662‐2117
MR LARRY E PRICE        3813 PALMER AVE                                                                      FLINT         MI 48506‐4236
MR LARRY E THORNE       514 EMERSON AVE                                                                      PONTIAC       MI 48342‐1824
MR LARRY E WILL SR      350 THE WOODS                                                                        BEDFORD       IN 47421‐9378
MR LARRY F JOHNSON SR   746 CORWIN AVE                                                                       PONTIAC       MI 48340‐2412
MR LARRY F WOLD         2235 SHERIDAN ST                                                                     JANESVILLE    WI 53546‐5976
MR LARRY FALLS          581 W WILSON AVE                                                                     MUNCIE        IN 47305‐2148
MR LARRY G ARNOLD SR    2385 WHITNEY AVE                                                                     ONTARIO       OH 44906‐1195
MR LARRY G DEWITT       1724 N WABASH AVE                                                                    KOKOMO        IN 46901‐2007
MR LARRY G GARNER SR    246 HIGHLAND AVE                                                                     BLOOMFIELD    MI 48302‐0631
MR LARRY G GRIMES       703 WOODSEDGE RD                                                                     WILMINGTON    DE 19804‐2625
MR LARRY G HOWARD       204 W YPSILANTI AVE                                                                  PONTIAC       MI 48340‐1877
MR LARRY G KIDWELL      102 SHANDELL DR                                                                      BEDFORD       IN 47421‐9620
MR LARRY G SHAVALIER    370 W HOPKINS AVE APT 308                                                            PONTIAC       MI 48340‐1762
MR LARRY GOOD           2011 ARBUTUS ST                                                                      JANESVILLE    WI 53546‐6158
MR LARRY HAGGART        460 FOX HILLS DR S APT 6                                                             BLOOMFIELD    MI 48304‐1354
MR LARRY HARRISON       124 N DEERFIELD AVE                                                                  LANSING       MI 48917‐2984
MR LARRY J BRINEGAR     1603 16TH ST                                                                         BEDFORD       IN 47421‐3611
MR LARRY J FOUNTAINE    4 HAMILTON ST                                                                        MASSENA       NY 13662‐2124
MR LARRY J HEDLEY       1376 LOCKE ST                                                                        PONTIAC       MI 48342‐1948
MR LARRY J HUDGINS      1252 E YALE AVE                                                                      FLINT         MI 48505‐1753
MR LARRY J MANATREY     1983 FOX RIVER DR                                                                    BLOOMFIELD    MI 48304‐1023
MR LARRY J MCPIKE       3046 MOUNT PLEASANT RD                                                               BEDFORD       IN 47421‐8046
MR LARRY J REETZ        2043 ROOSEVELT AVE                                                                   JANESVILLE    WI 53546‐5946
MR LARRY J SCHULTZ      1440 ROOSEVELT AVE                                                                   LANSING       MI 48915
MR LARRY J TARBURTON    803 HARWOOD RD                                                                       WILMINGTON    DE 19804‐2660
MR LARRY K ARMSTRONG    1108 SUMMIT LN                                                                       BEDFORD       IN 47421‐2550
MR LARRY K LAFFERTY     1324 14TH ST                                                                         BEDFORD       IN 47421‐3231
MR LARRY K WILLIAMS     1507 2ND ST                                                                          BEDFORD       IN 47421‐1705
MR LARRY L BROWNING     620 BRADFORD CIR APT D                                                               KOKOMO        IN 46902‐8452
MR LARRY L COWELL       530 EMERSON AVE                                                                      PONTIAC       MI 48342‐1824
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Name                       Address1                         Address2            Address3         Address4         City            State Zip
MR LARRY L DAVIS           1094 COLLINS AVE                                                                       MOUNT MORRIS     MI 48458‐2137
MR LARRY L HENRY           1129 ANGOLA AVE                                                                        MOUNT MORRIS     MI 48458‐2123
MR LARRY L HORTON          1510 E BUDER AVE                                                                       BURTON           MI 48529‐1606
MR LARRY L METSKER         1928 W 11TH ST                                                                         MUNCIE           IN 47302‐2153
MR LARRY L RYBOLT          1324 N MARKET ST                                                                       KOKOMO           IN 46901‐2372
MR LARRY L TAYLOR          1010 W POWERS ST                                                                       MUNCIE           IN 47305‐2139
MR LARRY M CONYERS         611 LANCASTER LN                                                                       PONTIAC          MI 48342‐1853
MR LARRY M DAVIS           481 MOONLIGHT DR                                                                       PONTIAC          MI 48340‐1672
MR LARRY M POLLITT         46 LYNBROOK RD                                                                         WILMINGTON       DE 19804‐2670
MR LARRY MILES             1346 GRAM ST                                                                           BURTON           MI 48529‐2022
MR LARRY N IKERD           223 MOUNT PLEASANT RD                                                                  BEDFORD          IN 47421‐9665
MR LARRY O RAY             626 WARREN ST                                                                          FLINT            MI 48505‐4306
MR LARRY P SEARS JR        2406 SYLVAN AVE                                                                        WILMINGTON       DE 19805‐2343
MR LARRY P SMART           2135 CONNELL ST                                                                        BURTON           MI 48529‐1334
MR LARRY PANGBORN          867 MONTICELLO AVE                                                                     PONTIAC          MI 48340‐2327
MR LARRY R EUDY            316 N DEERFIELD AVE                                                                    LANSING          MI 48917‐2909
MR LARRY R LANGBEEN        3818 LORRAINE AVE                                                                      FLINT            MI 48506‐4238
MR LARRY R MARSHALL        356 W COLUMBIA AVE                                                                     PONTIAC          MI 48340‐1714
MR LARRY R OLSON           599 RAWLINS MILL RD                                                                    BEDFORD          IN 47421‐7650
MR LARRY R TAYLOR          11335 CHURCH ST                                                                        MOUNT MORRIS     MI 48458‐2201
MR LARRY R WISEMAN JR      508 BECKER AVE                                                                         WILMINGTON       DE 19804‐2104
MR LARRY S BERGLAN         CGM SEP IRA CUSTODIAN            10628 WOODRIDDEN                                      OKLAHOMA CITY    OK 73170‐3202
MR LARRY S URIBE           131 BRYNFORD AVE                                                                       LANSING          MI 48917‐2923
MR LARRY T LOGAN           21 HIGHLAND AVE                                                                        MASSENA          NY 13662‐1823
MR LARRY TACKETT           1037 NELSON ST                                                                         FLINT            MI 48503‐1840
MR LARRY THOMPSON          645 S OPDYKE RD                                                                        AUBURN HILLS     MI 48326‐3435
MR LARRY V ROOP            1400 LOWELL ST                                                                         ELYRIA           OH 44035‐4867
MR LARRY W BELLINGAR       4196 WOODROW AVE                                                                       BURTON           MI 48509‐1052
MR LARRY W LARIMORE        502 E SPRAKER ST                                                                       KOKOMO           IN 46901‐2338
MR LARRY W MORGAN SR       1500 W 7TH ST                                                                          MUNCIE           IN 47302‐2109
MR LARRY W MORIN           157 THE WOODS                                                                          BEDFORD          IN 47421‐9300
MR LARRY W PERKINS         1804 W 11TH ST                                                                         MUNCIE           IN 47302‐6613
MR LARRY W PERKINS         1271 DAVISON RD                                                                        FLINT            MI 48506‐3246
MR LARRY W WRAY            1521 4TH ST                                                                            BEDFORD          IN 47421‐1723
MR LARRY W YOUNG           1609 N WEBSTER ST                                                                      KOKOMO           IN 46901‐2105
MR LARRY W ZIMBORSKI       2009 KELLOGG AVE                                                                       JANESVILLE       WI 53546‐3905
MR LARRY WHITNEY           11304 UNION ST                                                                         MOUNT MORRIS     MI 48458‐2211
MR LARRY WILLIAMS          2208 N BUCKEYE ST                                                                      KOKOMO           IN 46901‐5813
MR LARY D MICHAEL          1400 WEBBER AVE                                                                        BURTON           MI 48529‐2034
MR LASHAWA N JACKSON       1084 E HUMPHREY AVE                                                                    FLINT            MI 48505‐1510
MR LAVERNE N WILLSON       122 N DEERFIELD AVE                                                                    LANSING          MI 48917‐2984
MR LAWERANCE J MARION      10 ALVERN AVE                                                                          MASSENA          NY 13662‐2145
MR LAWRANCE D TURNER       2135 HUBBARD ST APT 26                                                                 DETROIT          MI 48209‐3322
MR LAWRENC HENDERSHOT      1721 W 6TH ST                                                                          MUNCIE           IN 47302‐2108
MR LAWRENCE AWDISH         207 W LONGFELLOW AVE                                                                   PONTIAC          MI 48340‐1835
MR LAWRENCE BRODHEAD       1608 N WEBSTER ST                                                                      KOKOMO           IN 46901‐2106
MR LAWRENCE BURNS          42 KAREN CT                                                                            PONTIAC          MI 48340‐1635
MR LAWRENCE C AUBUCHON     101 ANDREWS ST APT 2                                                                   MASSENA          NY 13662‐1847
MR LAWRENCE C COBURN       224 W YALE AVE                                                                         PONTIAC          MI 48340‐1866
MR LAWRENCE C GORNIAK      1637 TRAVIS DR                                                                         TOLEDO           OH 43612‐4059
MR LAWRENCE D TRINCIA SR   705 FALLON AVE                                                                         WILMINGTON       DE 19804‐2113
MR LAWRENCE DIXON          88 W LONGFELLOW AVE                                                                    PONTIAC          MI 48340‐1828
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Name                       Address1                          Address2            Address3         Address4         City            State Zip
MR LAWRENCE E BEAVER       125 W MORGAN ST                                                                         KOKOMO           IN 46901‐2254
MR LAWRENCE E LYONS        207 W FAIRMOUNT AVE                                                                     PONTIAC          MI 48340‐2741
MR LAWRENCE E MCMILLEN     311 N CATHERINE ST                                                                      LANSING          MI 48917‐2931
MR LAWRENCE E WARREN       8 GEORGE ST                                                                             MASSENA          NY 13662‐1020
MR LAWRENCE G ROBERTS      9810 JULIE DR                                                                           YPSILANTI        MI 48197‐8288
MR LAWRENCE J BURNS SR     50 LEANEE LN                                                                            PONTIAC          MI 48340‐1650
MR LAWRENCE J CHARLES      17 W RUTGERS AVE                                                                        PONTIAC          MI 48340‐2755
MR LAWRENCE J CUSACK       435 ROLLING ROCK RD                                                                     BLOOMFIELD       MI 48304‐1052
MR LAWRENCE J HODGE        24 ALVERN AVE                                                                           MASSENA          NY 13662‐2218
MR LAWRENCE J LAPENCKAS    726 CORWIN AVE                                                                          PONTIAC          MI 48340‐2412
MR LAWRENCE J PATNODE      2 PADDOCK ST                                                                            MASSENA          NY 13662‐1411
MR LAWRENCE MC MILLEN      314 N CATHERINE ST                                                                      LANSING          MI 48917‐2930
MR LAWRENCE P RUSH         25 N ALLEN ST                                                                           MASSENA          NY 13662‐1801
MR LAWRENCE P THOUIN       249 W HOPKINS AVE                                                                       PONTIAC          MI 48340‐1825
MR LAWRENCE P TILLMAN      67 PINGREE AVE                                                                          PONTIAC          MI 48342‐1159
MR LAWRENCE R ROMINE       228 THE WOODS                                                                           BEDFORD          IN 47421‐9376
MR LAWRENCE T PILGRIM      961 KENILWORTH AVE                                                                      PONTIAC          MI 48340‐3109
MR LAWRENCE W FRASIER      4358 BARNES AVE                                                                         BURTON           MI 48529‐2175
MR LAWRENCE YEPEZ          2110 VINEWOOD ST                                                                        DETROIT          MI 48216‐5515
MR LC C LARD               1106 AMOS ST                                                                            PONTIAC          MI 48342‐1802
MR LC C WILSON             945 KETTERING AVE                                                                       PONTIAC          MI 48340‐3258
MR LEAMON T BRUMLEY JR     2028 READY AVE                                                                          BURTON           MI 48529‐2056
MR LEANDRO S LAMBARIA JR   510 SPRUCE ST                                                                           MOUNT MORRIS     MI 48458‐1941
MR LEE A GIBSON            1403 E MCLEAN AVE                                                                       BURTON           MI 48529‐1611
MR LEE A PLUMMER           22 Q ST                                                                                 BEDFORD          IN 47421‐1602
MR LEE A SEEBACK           113 WINSTEAD ST                                                                         KNOXVILLE        TN 37920‐4007
MR LEE C WHITNEY           11722 HALLER ST                                                                         LIVONIA          MI 48150‐2372
MR LEE D JOHNSON           205 W SHEFFIELD AVE                                                                     PONTIAC          MI 48340‐1855
MR LEE D WARNER            51 W ORVIS ST APT 2                                                                     MASSENA          NY 13662‐2803
MR LEE E OSBURNE           4034 TOLEDO ST                                                                          DETROIT          MI 48209‐1361
MR LEE H SULLIVAN          407 LINCOLN AVE                                                                         BEDFORD          IN 47421‐1696
MR LEE J CHAPMAN           1054 E HUMPHREY AVE                                                                     FLINT            MI 48505‐1510
MR LEE P OLIVER            3088 24TH ST                                                                            DETROIT          MI 48216‐1033
MR LEE R MCKINNEY JR       706 BOXWOOD RD                                                                          WILMINGTON       DE 19804‐2047
MR LEE R MONROE            4337 COLUMBINE AVE                                                                      BURTON           MI 48529‐2116
MR LEE R PARKS             725 COLUMBIA DR                                                                         FLINT            MI 48503‐5207
MR LEE R TAYLOR            701 LOYOLA LN                                                                           FLINT            MI 48503‐5226
MR LEE TAYLOR              3551 ROOSEVELT ST                                                                       DETROIT          MI 48208‐2356
MR LEE V MOORE             3569 29TH ST                                                                            DETROIT          MI 48210‐3107
MR LEE VANG                36 PUTNAM AVE                                                                           PONTIAC          MI 48342‐1261
MR LEENARD WILLIAMS        120 CHAPARRAL TRCE                                                                      TYRONE           GA 30290‐1954
MR LEIF E HANSEN           301 N ST                                                                                BEDFORD          IN 47421‐1711
MR LELAND R SCOTT JR       323 N GRACE ST                                                                          LANSING          MI 48917‐2949
MR LEMUEL L TATE           42 W PRINCETON AVE                                                                      PONTIAC          MI 48340‐1836
MR LEMUEL R SMITH          33 E ANN ARBOR AVE                                                                      PONTIAC          MI 48340‐1901
MR LEN E RUSSELL           703 WOODTOP RD                                                                          WILMINGTON       DE 19804‐2627
MR LENNEL ADDISON          1175 AMOS ST                                                                            PONTIAC          MI 48342‐1803
MR LENNY PERINO            29 W LONGFELLOW AVE                                                                     PONTIAC          MI 48340‐1827
MR LEO C SANCHEZ           2168 PALMS ST                                                                           DETROIT          MI 48209‐1665
MR LEO E KNUTH             2003 ARBUTUS ST                                                                         JANESVILLE       WI 53546‐6158
MR LEO F MARTIN            1820 ROCKLEDGE LN                                                                       BLOOMFIELD       MI 48304‐1049
MR LEO F SHACKELFORD       11207 MANSFIELD CLUB DR                                                                 FREDERICKSBRG    VA 22408‐2058
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Name                                Address1                           Address2              Address3       Address4                 City           State Zip
MR LEO H RYAN                       159 E ORVIS ST                                                                                   MASSENA         NY 13662‐2257
MR LEO J DAYS SR                    1437 E PARKWOOD AVE                                                                              BURTON          MI 48529‐1631
MR LEO J WEAVER JR                  1311 10TH ST                                                                                     BEDFORD         IN 47421‐2529
MR LEO MCFADDEN                     3205 LOCKWOOD ST                                                                                 DETROIT         MI 48210‐0911
MR LEO T FAIS                       122 N CATHERINE ST                                                                               LANSING         MI 48917‐2928
MR LEON A RAPUANO 3D                711 FALLON AVE                                                                                   WILMINGTON      DE 19804‐2113
MR LEON ARNOLD                      1493 E JUDD RD                                                                                   BURTON          MI 48529‐2005
MR LEON BENNETT JR                  1306 COLUMBIA CIR                                                                                FLINT           MI 48503‐5258
MR LEON BROUIR & MRS DANIELLE       C/O DEUTSCHE BANK SA/NV            AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
SCARCEZ
MR LEON D LAYMAN                    81 W LONGFELLOW AVE                                                                              PONTIAC        MI   48340‐1829
MR LEON E LOONEY JR                 1232 UNIVERSITY DR                                                                               PONTIAC        MI   48342‐1969
MR LEON H UNDERWOOD                 33 UNIVERSITY PLACE DR                                                                           PONTIAC        MI   48342‐1882
MR LEON J RAPUANO                   313 CENTRAL AVE                                                                                  WILMINGTON     DE   19805‐2415
MR LEON J SANTAMONT                 61 NIGHTENGALE AVE                                                                               MASSENA        NY   13662‐1718
MR LEON L LOGUE JR                  1332 ANTHONY AVE                                                                                 JANESVILLE     WI   53546‐6069
MR LEON L MINTZ                     223 W CORNELL AVE                                                                                PONTIAC        MI   48340‐2725
MR LEON PEARSON                     2001 N CENTER RD APT 109                                                                         FLINT          MI   48506‐3198
MR LEON PRENTIS                     141 W YALE AVE                                                                                   PONTIAC        MI   48340‐1863
MR LEON S PENELL                    2120 E COLVIN ST                                                                                 SYRACUSE       NY   13210‐3406
MR LEON T GUENTHER                  2137 S WALNUT ST                                                                                 JANESVILLE     WI   53546‐6135
MR LEON VERELSI & MRS GERMANIA RENS DEUTSCHE BANK SA/NV                AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM

MR LEONARD C THORNTON SR            330 M ST                                                                                         BEDFORD        IN   47421‐1817
MR LEONARD D KOCHENDERFER           684 MAPLE ST                                                                                     MOUNT MORRIS   MI   48458‐1927
MR LEONARD D MCANINCH               205 W ELM ST                                                                                     KOKOMO         IN   46901‐2835
MR LEONARD F HATCH                  11779 HALLER ST                                                                                  LIVONIA        MI   48150‐2375
MR LEONARD G SCHENKELBERG           10660 AARON DR                                                                                   CLEVELAND      OH   44130‐1353
MR LEONARD H MCCARNEY               1521 WEBBER AVE                                                                                  BURTON         MI   48529‐2037
MR LEONARD J HARTNET                313 BRIGHTON AVE                                                                                 WILMINGTON     DE   19805‐2407
MR LEONARD JAMES                    2001 N CENTER RD APT 112                                                                         FLINT          MI   48506‐3198
MR LEONARD KEENE                    490 HELEN ST                                                                                     MOUNT MORRIS   MI   48458‐1921
MR LEONARD L DAVIS                  231 N GRACE ST                                                                                   LANSING        MI   48917‐4909
MR LEONARD M CARTER                 3817 IVANHOE AVE                                                                                 FLINT          MI   48506‐4239
MR LEONARD M COX                    1408 W 13TH ST                                                                                   MUNCIE         IN   47302‐2906
MR LEONARD PERSON                   1046 E KURTZ AVE                                                                                 FLINT          MI   48505‐1512
MR LEONARD T CUSACK JR              303 CENTRAL AVE                                                                                  WILMINGTON     DE   19805‐2415
MR LEONARD T WOLSCHLAGER            311 W PRINCETON AVE                                                                              PONTIAC        MI   48340‐1741
MR LEONARD W GIBBS                  86 W YPSILANTI AVE                                                                               PONTIAC        MI   48340‐1872
MR LEONIAS R KNAPP                  621 MALTESE DR                                                                                   ATLANTA        GA   30349‐8872
MR LEOTIS W PRATER                  940 MELROSE ST                                                                                   PONTIAC        MI   48340‐3129
MR LEQUAN T LOVELESS                2805 HARWICK DR APT 8                                                                            LANSING        MI   48917‐2382
MR LERON SEATON                     2062 E SCHUMACHER ST                                                                             BURTON         MI   48529‐2434
MR LEROY C KNUDSON II               2225 BRADY AVE                                                                                   BURTON         MI   48529‐2428
MR LEROY C SWARTZ                   845 MILES ST                                                                                     PONTIAC        MI   48340‐2319
MR LEROY E CRONKRIGHT               2213 E WILLIAMSON ST                                                                             BURTON         MI   48529‐2447
MR LEROY J STRATTON                 1054 LAPORT AVE                                                                                  MOUNT MORRIS   MI   48458‐2522
MR LEROY J WILLIAMS SR              615 ROLLING ROCK RD                                                                              BLOOMFIELD     MI   48304‐1056
MR LEROY R PORTSER JR               655 S SPINNINGWHEEL LN                                                                           BLOOMFIELD     MI   48304‐1324
MR LEROY ROBERSON                   505 EMERSON AVE                                                                                  PONTIAC        MI   48342‐1822
MR LEROY SHINABARGER                2052 E BERGIN AVE                                                                                BURTON         MI   48529‐1702
MR LEROY V GOODALL                  11201 HALLER ST                                                                                  LIVONIA        MI   48150‐3180
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR LEROY W LAU SR          440 WALNUT ST                                                                        MOUNT MORRIS     MI 48458‐1951
MR LES E GRUBB SR          1219 L ST                                                                            BEDFORD          IN 47421‐2920
MR LES J WILSON            52 NIGHTENGALE AVE                                                                   MASSENA          NY 13662‐1715
MR LESLIE H CHAMBERS       767 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1343
MR LESLIE L YOUNG          1442 NATALIE DR                                                                      BURTON           MI 48529‐1644
MR LESLIE M GREER          2107 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1713
MR LESTER B BAUMGART       1063 COLLINS AVE                                                                     MOUNT MORRIS     MI 48458‐2120
MR LESTER B CRAFT          740 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3240
MR LESTER D WILSON         2316 N ARMSTRONG ST                                                                  KOKOMO           IN 46901‐5873
MR LESTER E MCMENAMIN JR   3103 ENGLISH TURN CT                                                                 FREDERICKSBRG    VA 22408‐8050
MR LESTER L TREECE         1723 J ST                                                                            BEDFORD          IN 47421‐4257
MR LESTER M MILLER         808 W 14TH ST                                                                        MUNCIE           IN 47302‐7612
MR LESTER TREECE           1729 J ST                                                                            BEDFORD          IN 47421‐4225
MR LESTER W PETERSON       2223 S ARCH ST                                                                       JANESVILLE       WI 53546‐5955
MR LEVAN C MARGOSIAN 3D    16 DANFORTH PL                                                                       MASSENA          NY 13662‐1814
MR LEVAN S BUGGS           989 CARLISLE ST                                                                      PONTIAC          MI 48340‐2626
MR LEVI M ARRITT           204 N GRACE ST                                                                       LANSING          MI 48917‐4908
MR LEVI R PATTINSON        1412 N BELL ST                                                                       KOKOMO           IN 46901‐2301
MR LEW CARRIER             613 W BUTLER ST                                                                      KOKOMO           IN 46901‐2164
MR LEWIS B JARVIS JR       1410 BRADY AVE                                                                       BURTON           MI 48529‐2010
MR LEWIS D LACROSS         1515 E JUDD RD                                                                       BURTON           MI 48529‐2005
MR LEWIS G SHAFFER         103 ROSSER ST                                                                        FREDERICKSBRG    VA 22408‐2016
MR LEWIS J SMORCH          11650 TEMPERANCE ST                                                                  MOUNT MORRIS     MI 48458‐2039
MR LEWIS LATTEA 3D         1205 3RD ST                                                                          BEDFORD          IN 47421‐1803
MR LEWIS T HICKSON         693 ROLLING ROCK RD                                                                  BLOOMFIELD       MI 48304‐1056
MR LEWIS WOODY             1075 E KURTZ AVE                                                                     FLINT            MI 48505‐1511
MR LEWIS WOODY JR          1061 E KURTZ AVE                                                                     FLINT            MI 48505‐1511
MR LIAM R GIROUARD         41 BATES RD                                                                          FRAMINGHAM       MA 01702‐8740
MR LINCOLN H TRUAX         241 MAIN ST                                                                          MASSENA          NY 13662‐1904
MR LINCOLN T REYNOLDS      309 WHITE LN                                                                         BEDFORD          IN 47421‐9261
MR LINDELL R KOSITZKE JR   821 DRYER FARM RD                                                                    LANSING          MI 48917‐2388
MR LINDSAY WALKER          1309 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2253
MR LINDSEY H REESE         1051 E KURTZ AVE                                                                     FLINT            MI 48505‐1511
MR LINO KASPAR             2105 KENNETH ST                                                                      BURTON           MI 48529‐1382
MR LINO M MARQUEZ          4232 TOLEDO ST                                                                       DETROIT          MI 48209‐1365
MR LINUS F HOKE            662 YEAGER DR                                                                        ONTARIO          OH 44906‐4004
MR LINWOOD I NIGHTINGALE   195 E ORVIS ST                                                                       MASSENA          NY 13662‐2256
MR LIONEL H QUACKENBUSH    415 N JACKSON ST                                                                     BEDFORD          IN 47421‐1527
MR LJ HENDRICKSON          2136 N WASHINGTON ST                                                                 KOKOMO           IN 46901‐5838
MR LLEWIS E WITT           3656 BITTERSWEET DR                                                                  COLUMBIAVILLE    MI 48421‐8925
MR LLOYD COMPO             9 LAUREL AVE APT 901                                                                 MASSENA          NY 13662‐2058
MR LLOYD D HARDING         1519 14TH ST                                                                         BEDFORD          IN 47421‐3630
MR LLOYD D OLDS            3831 PALMER AVE                                                                      FLINT            MI 48506‐4236
MR LLOYD D SCHUETZ         2227 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1753
MR LLOYD E BIERMANN        519 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1081
MR LLOYD F INGRAM          9819 JOAN CIR                                                                        YPSILANTI        MI 48197‐8296
MR LLOYD G HAZEN JR        392 W KENNETT RD                                                                     PONTIAC          MI 48340‐1639
MR LLOYD H HALE            1884 HUNTERS RIDGE DR                                                                BLOOMFIELD       MI 48304‐1034
MR LLOYD J SEVERSEN        1112 W BURBANK AVE APT 212                                                           JANESVILLE       WI 53546‐6146
MR LLOYD J WOOD            15 GROVE ST                                                                          MASSENA          NY 13662‐2131
MR LOGAN BRIEN             33 WALNUT AVE                                                                        MASSENA          NY 13662‐2024
MR LON C MASTERSON         400 W NORTH ST APT 5                                                                 KOKOMO           IN 46901‐2978
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Name                     Address1                      Address2                 Address3              Address4                 City            State Zip
MR LON N SUCHANKO        430 N DEERFIELD AVE                                                                                   LANSING          MI 48917‐2986
MR LONIE C HARRIS        1358 E BRISTOL RD                                                                                     BURTON           MI 48529‐2212
MR LONNIE CAIN II        2953 25TH ST                                                                                          DETROIT          MI 48216‐1001
MR LONNIE G MCCLAIN      370 W HOPKINS AVE APT 103                                                                             PONTIAC          MI 48340‐1760
MR LONNIE GRAY           7113 CANTON AVE                                                                                       CLEVELAND        OH 44105‐3606
MR LONNIE MORRIS         2028 WILMAR ST                                                                                        BURTON           MI 48509‐1122
MR LONNIE R EPPERSON     637 W 8TH ST                                                                                          MUNCIE           IN 47302‐3114
MR LONNIE R JONES SR     1554 E OOLITIC RD                                                                                     BEDFORD          IN 47421‐8626
MR LONNIE R MOORE JR     1008 ESTATE DR                                                                                        FLINT            MI 48506‐5259
MR LONNY J PEASE         575 WALKER ST                                                                                         MOUNT MORRIS     MI 48458‐1944
MR LORAN D HUFF          1023 MILDRED ST                                                                                       FLUSHING         MI 48433‐1756
MR LOREN A NIXON         1702 N ST                                                                                             BEDFORD          IN 47421‐4114
MR LOREN C SHELTRAW      1395 PROPER AVE                                                                                       BURTON           MI 48529‐2043
MR LOREN J ROBERTS       258 WHITE LN                                                                                          BEDFORD          IN 47421‐9223
MR LOREN PICKENS         29 LINCOLN AVE                                                                                        BEDFORD          IN 47421‐1610
MR LOREN R HOOK          1376 STANLEY AVE                                                                                      PONTIAC          MI 48340‐1750
MR LOREN R YOUNG JR      4206 WOODROW AVE                                                                                      BURTON           MI 48509‐1054
MR LORENZO A FLORES      755 PENSACOLA AVE                                                                                     PONTIAC          MI 48340‐2358
MR LORENZO C VAUGHAN     1492 WEBBER AVE                                                                                       BURTON           MI 48529‐2038
MR LORENZO W JACKSON     1229 E HAMILTON AVE                                                                                   FLINT            MI 48506‐3210
MR LORETO D CASALE       103 MEGHANS CT                                                                                        WILMINGTON       DE 19804‐2045
MR LORNE L TAYLOR        101 ROSSER ST                                                                                         FREDERICKSBRG    VA 22408‐2016
MR LOUIS A DIXON         10804 SAMANTHA PL                                                                                     FREDERICKSBRG    VA 22408‐8043
MR LOUIS A GRESOCK JR    11131 SHARON DR                                                                                       PARMA            OH 44130‐1434
MR LOUIS C WILBORN       1244 E HUMPHREY AVE                                                                                   FLINT            MI 48505‐1761
MR LOUIS D CLARKE SR     1312 E CORNELL AVE                                                                                    FLINT            MI 48505‐1751
MR LOUIS DALTON          1922 J ST                                                                                             BEDFORD          IN 47421‐4243
MR LOUIS E STEPHENSON    421 RAWLINS MILL RD                                                                                   BEDFORD          IN 47421‐7649
MR LOUIS H POULIN        511 OAK ST                                                                                            MOUNT MORRIS     MI 48458‐1932
MR LOUIS J BUZA JR       11160 AARON DR                                                                                        PARMA            OH 44130‐1364
MR LOUIS J MOORE         1087 MEADOWLAWN DR                                                                                    PONTIAC          MI 48340‐1731
MR LOUIS J TISCHLER      10 DOUGLAS RD APT 1                                                                                   MASSENA          NY 13662‐2048
MR LOUIS J ZANCHI        13 GEORGE ST                                                                                          FRAMINGHAM       MA 01702‐8710
MR LOUIS M HEIT          2173 E JUDD RD                                                                                        BURTON           MI 48529‐2404
MR LOUIS R COSTANZO JR   308 BRIGHTON AVE                                                                                      WILMINGTON       DE 19805‐2408
MR LOUIS T PAGE          165 PUTNAM AVE                                                                                        PONTIAC          MI 48342‐1268
MR LOUIS T SMITH JR      795 CAMERON AVE                                                                                       PONTIAC          MI 48340‐3207
MR LOUIS V FALZARANO     10699 DEBORAH DR                                                                                      CLEVELAND        OH 44130‐1371
MR LOUKAS GEORGIOU       MRS KONSTANTINA GEORGIOU      MR PANAGIOTIS GEORGIOU   62 CHRONOPOULOU STR   P FALIRO, ATHENS 17563
                                                                                                      GREECE
MR LOVELACE R HAMILTON   730 SPELLMAN DR                                                                                       FLINT           MI   48503‐5228
MR LOVELL L CARR         883 KETTERING AVE                                                                                     PONTIAC         MI   48340‐3254
MR LOWELL M WILSON SR    2379 FERGUSON RD                                                                                      ONTARIO         OH   44906‐1149
MR LOWELL R LOGAN        1102 W 14TH ST                                                                                        MUNCIE          IN   47302‐3059
MR LOYD G GATICA         1169 PANAMA AVE                                                                                       MOUNT MORRIS    MI   48458‐2533
MR LOYDE R MELTON        1015 W 1ST ST                                                                                         MUNCIE          IN   47305‐2102
MR LU J JACKSON          1704 WILBERFORCE DR                                                                                   FLINT           MI   48503‐5241
MR LUC VAN AUTRYVE       C/O DEUTSCHE BANK SA/NV       AVENUE MARNIX 13‐15                            1000 BRUXELLES BELGIUM
MR LUCAS G MAGELI        811 W FITZGERALD ST APT 2                                                                             DURAND          MI   48429‐1590
MR LUCAS J BOERMA        831 BON AIR RD                                                                                        LANSING         MI   48917‐2315
MR LUCAS PEEK            1711 G ST                                                                                             BEDFORD         IN   47421‐4635
MR LUCIOUS D WELLS SR    296 W YALE AVE                                                                                        PONTIAC         MI   48340‐1751
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Name                      Address1                       Address2              Address3       Address4                 City            State Zip
MR LUCKY J TURNER         1510 DIVE RD                                                                                 BEDFORD          IN 47421‐1524
MR LUDOVIC THOONEN        DEUTSCHE BANK SA/NV            AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MR LUIS A ASIA JR         11491 SHARON DR APT C707                                                                     PARMA           OH   44130‐8704
MR LUIS A FIGUEROA        641 KENILWORTH AVE                                                                           PONTIAC         MI   48340‐3237
MR LUIS A POBLETE         10809 STACY RUN                                                                              FREDERICKSBRG   VA   22408‐8040
MR LUIS A SUAREZ          3251 LOCKWOOD ST                                                                             DETROIT         MI   48210‐3256
MR LUIS A TIRADO          705 MELROSE ST                                                                               PONTIAC         MI   48340‐3120
MR LUIS C DIAZ            737 LIVINGSTON AVE                                                                           PONTIAC         MI   48340‐2446
MR LUIS CASTILLO JR       1305 ANTHONY AVE                                                                             JANESVILLE      WI   53546‐6068
MR LUIS CONTRERAS         13 SALLEE LN                                                                                 PONTIAC         MI   48340‐1656
MR LUIS D FONTANEZ        5501 CHEVROLET BLVD APT B211                                                                 CLEVELAND       OH   44130‐1490
MR LUIS E DELGADO         2120 FERDINAND ST                                                                            DETROIT         MI   48209‐1652
MR LUIS L LOPEZ           137 EUCLID AVE                                                                               PONTIAC         MI   48342‐1115
MR LUIS M NINO            2732 25TH ST                                                                                 DETROIT         MI   48216‐1055
MR LUIS O ENCARNACION     4321 TOLEDO ST                                                                               DETROIT         MI   48209‐1366
MR LUIS ROMAN             77 LEGRANDE AVE                                                                              PONTIAC         MI   48342‐1134
MR LUIZ A MIRANDA         400 HOLLIS ST APT 2                                                                          FRAMINGHAM      MA   01702‐8614
MR LUKE J FREUND          3326 W SAGINAW ST                                                                            LANSING         MI   48917‐2311
MR LUONG LIM              99 E ORVIS ST                                                                                MASSENA         NY   13662‐2049
MR LW FRANKLIN            2134 HUBBARD ST APT 1A                                                                       DETROIT         MI   48209‐3309
MR LYLE D DUMERS          14 HIGHLAND AVE                                                                              MASSENA         NY   13662‐1822
MR LYLE H MILLER          2307 N MAIN ST                                                                               KOKOMO          IN   46901‐5878
MR LYLE W PHILO           608 N GRACE ST                                                                               LANSING         MI   48917‐4912
MR LYMAN L PEMBERTON      21 W STRATHMORE AVE                                                                          PONTIAC         MI   48340‐2771
MR LYNELL EVANS           1252 E YALE AVE                                                                              FLINT           MI   48505‐1753
MR MACK HYDER             1398 CONNELL ST                                                                              BURTON          MI   48529‐2203
MR MADISON PURYEAR        5599 NATHAN DR                                                                               CLEVELAND       OH   44130‐1559
MR MAHLON J PARR          84 E ORVIS ST                                                                                MASSENA         NY   13662‐2045
MR MAHMOUD M NIMER        3015 E MICHIGAN AVE                                                                          YPSILANTI       MI   48198‐7813
MR MALCOLM C MACKAY       2222 BRADY AVE                                                                               BURTON          MI   48529‐2427
MR MALIK J JOHNSON        747 E FOX HILLS DR                                                                           BLOOMFIELD      MI   48304‐1343
MR MAMOUN DABBAGH         1525 UNIVERSITY DR                                                                           AUBURN HILLS    MI   48326‐2673
MR MANGIA J ROBINSON JR   104 CHARLES LN                                                                               PONTIAC         MI   48341‐2927
MR MANOEL HENRIQUE        2 AARON ST                                                                                   FRAMINGHAM      MA   01702‐8747
MR MANOJKUMAR K PATEL     687 SEDGEFIELD DR                                                                            BLOOMFIELD      MI   48304‐1060
MR MANUEL A BUSTAMANTE    1016 CLOVERLAWN DR                                                                           PONTIAC         MI   48340‐1610
MR MANUEL A MORALES       42 PARKER AVE                                                                                MASSENA         NY   13662‐2215
MR MANUEL ALANIZ          2135 PALMS ST                                                                                DETROIT         MI   48209‐1645
MR MANUEL ALDAPE          4320 TOLEDO ST                                                                               DETROIT         MI   48209‐1367
MR MANUEL C ANDRABE       4865 SAINT HEDWIG ST                                                                         DETROIT         MI   48210‐3222
MR MANUEL C ANDRADE JR    3248 JUNCTION ST                                                                             DETROIT         MI   48210‐3204
MR MANUEL C LOPEZ         15 CUNARD ST                                                                                 WILMINGTON      DE   19804‐2807
MR MANUEL G NEGRETE SR    108 W YALE AVE                                                                               PONTIAC         MI   48340‐1862
MR MANUEL J GARCIA        1022 CLOVERLAWN DR                                                                           PONTIAC         MI   48340‐1610
MR MANUEL L CANTU JR      98 W TENNYSON AVE                                                                            PONTIAC         MI   48340‐2670
MR MANUEL MELENDEZ JR     2013 DREXEL RD                                                                               LANSING         MI   48915‐1206
MR MANUEL ROBLERO         3335 LOCKWOOD ST                                                                             DETROIT         MI   48210‐3212
MR MANUEL VELASCO         2214 MCKINSTRY ST                                                                            DETROIT         MI   48209‐1671
MR MARC A BIELECKI        10940 GABRIELLA DR                                                                           CLEVELAND       OH   44130‐1466
MR MARC A DEROUCHIE       7 CHERRY ST                                                                                  MASSENA         NY   13662‐1805
MR MARC A WEINER          2035 WICKFORD CT                                                                             BLOOMFIELD      MI   48304‐1088
MR MARC D ALEXANDER       55 KAREN CT                                                                                  PONTIAC         MI   48340‐1638
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Name                      Address1                           Address2            Address3         Address4         City            State Zip
MR MARC F WATSON          1801 N LABADIE                                                                           MILFORD          MI 48380‐4237
MR MARC J BEAULIEU        87 E ORVIS ST                                                                            MASSENA          NY 13662‐2050
MR MARC L KIRTS           60 W FAIRMOUNT AVE                                                                       PONTIAC          MI 48340‐2732
MR MARC P LAROSE          2709 MCKENZIE LN                                                                         FREDERICKSBRG    VA 22408‐8073
MR MARC R TOMPSON         11325 UNION ST                                                                           MOUNT MORRIS     MI 48458‐2210
MR MARC T ISOM            1062 E KURTZ AVE                                                                         FLINT            MI 48505‐1512
MR MARCIAL GOMEZ          2202 MCKINSTRY ST                                                                        DETROIT          MI 48209‐1671
MR MARCIAL U CAMPECHANO   1211 ANTHONY AVE APT 4                                                                   JANESVILLE       WI 53546‐6059
MR MARCIANA I RUSSELL     1177 E PRINCETON AVE                                                                     FLINT            MI 48505‐1515
MR MARCO A FLORES         809 WOODLAND AVE                                                                         PONTIAC          MI 48340‐2567
MR MARCO A LOPEZ          108 W LONGFELLOW AVE                                                                     PONTIAC          MI 48340‐1830
MR MARCO D WILLIAMS       419 FOX HILLS DR N                                                                       BLOOMFIELD       MI 48304‐1309
MR MARCO O JIMENEZ        906 NEWPORT GAP PIKE                                                                     WILMINGTON       DE 19804‐2838
MR MARCO P MONEA          11292 MIDDLEBELT RD                                                                      LIVONIA          MI 48150‐3080
MR MARCO VASQUEZ          611 KENILWORTH AVE                                                                       PONTIAC          MI 48340‐3237
MR MARCOS E LOPEZ         754 KENILWORTH AVE                                                                       PONTIAC          MI 48340‐3100
MR MARCOS M RIOJAS        732 CORTWRIGHT ST                                                                        PONTIAC          MI 48340‐2304
MR MARCOS MIRANDA         111 TRIPP ST                                                                             FRAMINGHAM       MA 01702‐8775
MR MARCOS MUNOZ           3456 LOCKWOOD ST                                                                         DETROIT          MI 48210‐3213
MR MARCUS B PICKENS       4238 TOLEDO ST                                                                           DETROIT          MI 48209‐1365
MR MARCUS CARRINGTON      506 E WITHERBEE ST                                                                       FLINT            MI 48505‐4762
MR MARCUS CHAMBERLAIN     3206 MENOMINEE AVE                                                                       FLINT            MI 48507‐1942
MR MARCUS D JONES         429 FOX HILLS DR N                                                                       BLOOMFIELD       MI 48304‐1309
MR MARCUS D KELLEY        590 ROLLING ROCK RD                                                                      BLOOMFIELD       MI 48304‐1053
MR MARCUS JENKINS         796 W GRAND BLVD                                                                         DETROIT          MI 48216‐1003
MR MARCUS L RACINE        88 E ORVIS ST                                                                            MASSENA          NY 13662‐2045
MR MARCUS POTTS           1211 KING ST APT 5                                                                       JANESVILLE       WI 53546‐6057
MR MARCUS WHITEHEAD       316 W BARKDOL ST                                                                         KOKOMO           IN 46901‐5809
MR MARCUS WILDER          45 W YALE AVE                                                                            PONTIAC          MI 48340‐1858
MR MAREK M KOSTYSZYN      207 GREENWOOD RD                                                                         WILMINGTON       DE 19804‐2652
MR MARGARITO P MAYA JR    780 BLAINE AVE                                                                           PONTIAC          MI 48340‐2402
MR MARIANO AVILA          2089 CLARK ST                                                                            DETROIT          MI 48209‐1668
MR MARIO A LEDESMA        238 N GRACE ST                                                                           LANSING          MI 48917‐4908
MR MARIO A RIDDLE         2001 N CENTER RD APT 128                                                                 FLINT            MI 48506‐3168
MR MARIO CASTANEDA        706 WOODSEDGE RD                                                                         WILMINGTON       DE 19804‐2626
MR MARIO GELSI            488 FOX HILLS DR S APT 1                                                                 BLOOMFIELD       MI 48304‐1357
MR MARIO L VELOZ          57 BATES RD                                                                              FRAMINGHAM       MA 01702‐8740
MR MARION WASHINGTON JR   1514 TULANE CIR                                                                          FLINT            MI 48503‐5251
MR MARK A ATKINS          617 CURTIS AVE                                                                           WILMINGTON       DE 19804‐2107
MR MARK A BAUR            245 ELMSHAVEN DR                                                                         LANSING          MI 48917‐3512
MR MARK A BERRY           1387 BRADY AVE                                                                           BURTON           MI 48529‐2009
MR MARK A BROWN           910 NEWPORT GAP PIKE                                                                     WILMINGTON       DE 19804‐2838
MR MARK A CACCHIO         2373 FERGUSON RD                                                                         ONTARIO          OH 44906‐1149
MR MARK A CHAPDELAINE     6068 HOMESTEAD PL                                                                        GRAND BLANC      MI 48439‐9137
MR MARK A CLANCY          9795 TEXTILE RD                                                                          YPSILANTI        MI 48197‐7039
MR MARK A COGGINS         2109 CONNELL ST                                                                          BURTON           MI 48529‐1332
MR MARK A CRAIN           1612 N COURTLAND AVE                                                                     KOKOMO           IN 46901‐2141
MR MARK A DOWNING         1456 E SCHUMACHER ST                                                                     BURTON           MI 48529‐1622
MR MARK A ERICKSON        1429 PARKCREST DR                                                                        WATERFORD        MI 48327‐4804
MR MARK A GEOGHAGAN       3006 HARWICK DR APT 6                                                                    LANSING          MI 48917‐2359
MR MARK A GRANT           2150 N WEBSTER ST                                                                        KOKOMO           IN 46901‐5858
MR MARK A HALL            356 SPRUCE ST                                                                            MOUNT MORRIS     MI 48458‐1937
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Name                      Address1                         Address2            Address3         Address4         City            State Zip
MR MARK A HENRY           1616 12TH ST                                                                           BEDFORD          IN 47421‐3104
MR MARK A HOPKINS         804 TULANE DR                                                                          FLINT            MI 48503‐5253
MR MARK A JOHNSON         863 KENILWORTH AVE                                                                     PONTIAC          MI 48340‐3105
MR MARK A KEATING         772 CRITTENDEN ST                                                                      PONTIAC          MI 48340‐2418
MR MARK A KILLBREATH      372 BEACH ST                                                                           MOUNT MORRIS     MI 48458‐1902
MR MARK A KORMANYOS       28 PROSPECT AVE                                                                        MASSENA          NY 13662‐1744
MR MARK A KWILOS          29214 ELMIRA ST                                                                        LIVONIA          MI 48150‐3168
MR MARK A LLOYD           1413 W 9TH ST                                                                          MUNCIE           IN 47302‐2166
MR MARK A MARCONI JR      2606 SYLVAN AVE                                                                        WILMINGTON       DE 19805‐2345
MR MARK A MCKINNEY        1937 S OAKHILL AVE                                                                     JANESVILLE       WI 53546‐6047
MR MARK A MOORE           1418 P ST                                                                              BEDFORD          IN 47421‐3625
MR MARK A MORGAN          2805 HARWICK DR APT 2                                                                  LANSING          MI 48917‐2351
MR MARK A MOSS            1128 NUTANA BLVD                                                                       MOUNT MORRIS     MI 48458‐2134
MR MARK A NEUMANN         6205 SHELDON ST                                                                        YPSILANTI        MI 48197‐8221
MR MARK A PAYNE           599 JARED DR                                                                           PONTIAC          MI 48342‐1987
MR MARK A RICE            1419 N LAFOUNTAIN ST                                                                   KOKOMO           IN 46901‐2310
MR MARK A SCHMIDT         1428 CONNELL ST                                                                        BURTON           MI 48529‐2203
MR MARK A SKUTA           3311 JUNCTION ST                                                                       DETROIT          MI 48210‐3205
MR MARK A SPICER          4283 BARNES AVE                                                                        BURTON           MI 48529‐2418
MR MARK A STEWART SR      821 HARWOOD RD                                                                         WILMINGTON       DE 19804‐2660
MR MARK A THORNTON        206 GREENWOOD RD                                                                       WILMINGTON       DE 19804‐2653
MR MARK A WHEATON         2407 CENTER AVE                                                                        JANESVILLE       WI 53546‐9010
MR MARK A WHITE           1038 COLLINS AVE APT 3                                                                 MOUNT MORRIS     MI 48458‐2168
MR MARK A WILLCUTT        1616 P ST                                                                              BEDFORD          IN 47421‐4123
MR MARK B PERRY           226 N GRACE ST                                                                         LANSING          MI 48917‐4908
MR MARK B TEPEN           9683 HARBOUR COVE CT                                                                   YPSILANTI        MI 48197‐6901
MR MARK C OWSLEY          917 W NORTH ST                                                                         KOKOMO           IN 46901‐2659
MR MARK C PIERCE          1395 OAK HOLLOW DR                                                                     MILFORD          MI 48380‐4262
MR MARK C PRESS           2033 COVERT RD                                                                         BURTON           MI 48509‐1010
MR MARK COREY             910 O ST                                                                               BEDFORD          IN 47421‐2542
MR MARK D CLEPHANE        2917 MOUNT PLEASANT RD                                                                 BEDFORD          IN 47421‐8045
MR MARK D FISH            2478 MOUNT PLEASANT RD                                                                 BEDFORD          IN 47421‐8040
MR MARK D MCINTYRE        1008 EASTFIELD RD                                                                      LANSING          MI 48917‐2346
MR MARK D MURPHY          427 WALNUT ST                                                                          MOUNT MORRIS     MI 48458‐1950
MR MARK D NEY             753 STANLEY AVE                                                                        PONTIAC          MI 48340‐2474
MR MARK D VITTONE         2130 S PINE ST                                                                         JANESVILLE       WI 53546‐6134
MR MARK DAVIS             1015 17TH ST                                                                           BEDFORD          IN 47421‐4207
MR MARK E BLUM            307 N ROSEMARY ST                                                                      LANSING          MI 48917‐2975
MR MARK E CURLEE          1086 MEADOWLAWN DR                                                                     PONTIAC          MI 48340‐1730
MR MARK E DEVOSS          2136 CASHIN ST                                                                         BURTON           MI 48509‐1140
MR MARK E DUPREY          277 W KENNETT RD                                                                       PONTIAC          MI 48340‐1725
MR MARK E HAFER           2052 KENNETH ST                                                                        BURTON           MI 48529‐1351
MR MARK E KOSLOSKI        900 STANLEY ST                                                                         LANSING          MI 48915‐1366
MR MARK E MOATS           2609 GLENDAS WAY                                                                       FREDERICKSBRG    VA 22408‐8078
MR MARK E PEREZ           1413 E SCHUMACHER ST                                                                   BURTON           MI 48529‐1619
MR MARK E PETERSON        776 CAMERON AVE                                                                        PONTIAC          MI 48340‐3206
MR MARK E RUFFNER         2462 WHITNEY AVE                                                                       ONTARIO          OH 44906‐1199
MR MARK E SCHERSCHEL II   1405 M ST                                                                              BEDFORD          IN 47421‐3236
MR MARK E SMILEY          1010 BOYNTON DR                                                                        LANSING          MI 48917‐1760
MR MARK ENGELHART         2200 S OPDYKE RD                                                                       PONTIAC          MI 48341‐3156
MR MARK FERGUSON          754 NEWMAN LN                                                                          PONTIAC          MI 48340‐3304
MR MARK G AARSTAD         2144 S OAKHILL AVE                                                                     JANESVILLE       WI 53546‐9048
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Name                    Address1                       Address2            Address3         Address4         City           State Zip
MR MARK H COLPO         7 LYNBROOK RD                                                                        WILMINGTON      DE 19804‐2668
MR MARK H SNIDER        18 DOUGLAS RD                                                                        MASSENA         NY 13662‐2040
MR MARK HOPPER          68 W BEVERLY AVE                                                                     PONTIAC         MI 48340‐2616
MR MARK I BOWLIN        1613 W 6TH ST                                                                        MUNCIE          IN 47302‐2186
MR MARK J DOYLE         505 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1905
MR MARK J LONG JR       101 W KEYSTONE AVE                                                                   WILMINGTON      DE 19804‐2029
MR MARK J MANGAN        11369 GABRIELLA DR                                                                   CLEVELAND       OH 44130‐1336
MR MARK J MCFADDEN      11800 BROOKPARK RD TRLR B13                                                          CLEVELAND       OH 44130‐1184
MR MARK J PIETRANGELO   4277 WOODROW AVE                                                                     BURTON          MI 48509‐1166
MR MARK J REAGAN        43 BRIDGES AVE                                                                       MASSENA         NY 13662‐1855
MR MARK J SCHAFER       527 N CATHERINE ST                                                                   LANSING         MI 48917‐2933
MR MARK J SCHAFER       413 N DEERFIELD AVE                                                                  LANSING         MI 48917‐2987
MR MARK J STRUEBIN      1310 KELLOGG AVE                                                                     JANESVILLE      WI 53546‐6022
MR MARK J WEHNER        804 BON AIR RD                                                                       LANSING         MI 48917‐2316
MR MARK K ENDRIS        1526 11TH ST                                                                         BEDFORD         IN 47421‐2804
MR MARK K WOOD          367 OAK ST                                                                           MOUNT MORRIS    MI 48458‐1928
MR MARK L CLARK         11329 DEBORAH DR                                                                     PARMA           OH 44130‐1327
MR MARK L GOULETTE      2049 CONNELL ST                                                                      BURTON          MI 48529‐1332
MR MARK L JACKSON       1129 HERRINGTON LN                                                                   PONTIAC         MI 48342‐1837
MR MARK L PARROTT       37 WALNUT AVE                                                                        MASSENA         NY 13662‐2024
MR MARK L PYSCHER       315 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1901
MR MARK L RYAN          1811 W BURBANK AVE                                                                   JANESVILLE      WI 53546‐5957
MR MARK L RYFA          501 W CHAMPLAIN AVE                                                                  WILMINGTON      DE 19804‐2015
MR MARK L SHEPPARD      24 W STRATHMORE AVE                                                                  PONTIAC         MI 48340‐2770
MR MARK LATEVIS         666 SPRUCE ST                                                                        MOUNT MORRIS    MI 48458‐1943
MR MARK MABILANGAN      4218 WOODROW AVE                                                                     BURTON          MI 48509‐1054
MR MARK MANKOWSKI       1030 W ELSTNER ST                                                                    MOUNT MORRIS    MI 48458‐2104
MR MARK N KRANZO        531 ELM ST                                                                           MOUNT MORRIS    MI 48458‐1915
MR MARK N KRANZO        705 MAPLE ST                                                                         MOUNT MORRIS    MI 48458‐2206
MR MARK NEAL            409 ELM ST                                                                           MOUNT MORRIS    MI 48458‐1913
MR MARK NORMAN          1887 US HIGHWAY 50 E                                                                 BEDFORD         IN 47421‐8659
MR MARK OWSLEY          614 PREBLE ST                                                                        KOKOMO          IN 46901‐2735
MR MARK PINKNEY         1201 W 110TH ST APT 12                                                               CLEVELAND       OH 44102‐1562
MR MARK PURVIANCE       2414 W 4TH ST                                                                        ONTARIO         OH 44906‐1207
MR MARK R DUVALL        1602 ROOSEVELT AVE                                                                   JANESVILLE      WI 53546‐6040
MR MARK R GALE          811 INGLEWOOD AVE                                                                    PONTIAC         MI 48340‐2314
MR MARK R LITTLE        1316 W BURBANK AVE                                                                   JANESVILLE      WI 53546‐6109
MR MARK R MC LEAN       628 ELM ST                                                                           MOUNT MORRIS    MI 48458‐1918
MR MARK R MIDDLETON     11328 CHURCH ST                                                                      MOUNT MORRIS    MI 48458‐2202
MR MARK R PAQUIN        68 E ORVIS ST APT H                                                                  MASSENA         NY 13662‐2034
MR MARK R SHARLOW       16 BRIGHTON ST                                                                       MASSENA         NY 13662‐2228
MR MARK S BAUER         2807 N SOUTH POOR FARM RD                                                            BEDFORD         IN 47421‐9272
MR MARK S BENSTIN       120 THE WOODS                                                                        BEDFORD         IN 47421‐9300
MR MARK S BIELAK        108 BROOKLAND DR                                                                     SYRACUSE        NY 13208‐3213
MR MARK S CLARK         4069 RISEDORPH ST                                                                    BURTON          MI 48509‐1039
MR MARK S DECKARD       717 17TH ST                                                                          BEDFORD         IN 47421‐4201
MR MARK S KOSINSKI      107 MEGHANS CT                                                                       WILMINGTON      DE 19804‐2045
MR MARK S MORALES       46 BRIDGES AVE                                                                       MASSENA         NY 13662‐1828
MR MARK S PALADINO SR   4260 GRONDINWOOD LN                                                                  MILFORD         MI 48380‐4225
MR MARK S RILEY         18 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1881
MR MARK S ROWELL        10 DANFORTH PL                                                                       MASSENA         NY 13662‐1814
MR MARK S SKAISTIS      566 FOX RIVER DR                                                                     BLOOMFIELD      MI 48304‐1010
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Name                          Address1                       Address2              Address3       Address4                 City            State Zip
MR MARK S WARDELL             1089 NUTANA BLVD                                                                             MOUNT MORRIS     MI 48458‐2116
MR MARK SCHUMAKER             183 PINGREE AVE                                                                              PONTIAC          MI 48342‐1161
MR MARK SELEYMAN              1800 W 10TH ST                                                                               MUNCIE           IN 47302‐6607
MR MARK SELEYMAN              1722 W 10TH ST                                                                               MUNCIE           IN 47302‐2143
MR MARK STELLINI              590 CENTURY BLVD                                                                             WILMINGTON       DE 19808‐6272
MR MARK T GILL                1035 CLOVIS AVE                                                                              MOUNT MORRIS     MI 48458‐2503
MR MARK T SHERIDAN            1401 N LAFOUNTAIN ST                                                                         KOKOMO           IN 46901‐2310
MR MARK V IMPROTA             1903 HUNTERS RIDGE DR                                                                        BLOOMFIELD       MI 48304‐1037
MR MARK W GILLETT             4403 1/2 DAVISON RD LOT 25                                                                   BURTON           MI 48509‐1400
MR MARK W LUNDE               1512 E SCOTTWOOD AVE                                                                         BURTON           MI 48529‐1626
MR MARK W OLIVER              2165 WEBBER AVE                                                                              BURTON           MI 48529‐2413
MR MARK W RILEY               2457 FERGUSON RD                                                                             ONTARIO          OH 44906‐1106
MR MARK W TRUCKNER            1125 TERRY AVE                                                                               MOUNT MORRIS     MI 48458‐2540
MR MARLAN D MILTON            819 PENSACOLA AVE                                                                            PONTIAC          MI 48340‐2362
MR MARLAND E MOREAU           4301 CUSTER AVE                                                                              FLINT            MI 48507‐2780
MR MARLIN CHIN                11201 GARDEN ST                                                                              LIVONIA          MI 48150‐3178
MR MARLIN V REE               1207 W BURBANK AVE                                                                           JANESVILLE       WI 53546‐6106
MR MARLON VAUGHN              2720 VINEWOOD ST                                                                             DETROIT          MI 48216‐1021
MR MARQUES A HARRIS           45 STEGMAN LN                                                                                PONTIAC          MI 48340‐1662
MR MARSHALL A WATERS II       136 THE WOODS                                                                                BEDFORD          IN 47421‐9300
MR MARSHALL B CLIFFORD        614 W 9TH ST                                                                                 MUNCIE           IN 47302‐3121
MR MARSHALL S HALL            6360 BUNTON RD APT 1                                                                         YPSILANTI        MI 48197‐7082
MR MARSHALL T KINCAID         843 INGLEWOOD AVE                                                                            PONTIAC          MI 48340‐2314
MR MARSHALL V BOLDEN          5659 CHEVROLET BLVD APT 1                                                                    PARMA            OH 44130‐8713
MR MARTELLES J OWENS          1903 BRISTOL COURT DR                                                                        MOUNT MORRIS     MI 48458‐2187
MR MARTIN A CORDOVA JR        124 W YALE AVE                                                                               PONTIAC          MI 48340‐1862
MR MARTIN A SMITH             2128 HUBBARD ST APT 2W                                                                       DETROIT          MI 48209‐3336
MR MARTIN BURNASH             3829 IVANHOE AVE                                                                             FLINT            MI 48506‐4239
MR MARTIN CANTRELL            4307 DAVISON RD                                                                              BURTON           MI 48509‐1407
MR MARTIN COULTER             1305 K ST APT 225                                                                            BEDFORD          IN 47421‐3242
MR MARTIN D GALLAHER          2223 E JUDD RD                                                                               BURTON           MI 48529‐2406
MR MARTIN D SHONTS            4382 BARNES AVE                                                                              BURTON           MI 48529‐2175
MR MARTIN G RODRIGUEZ         1109 N ARMSTRONG ST                                                                          KOKOMO           IN 46901‐2821
MR MARTIN HERNANDEZ           223 W LONGFELLOW AVE                                                                         PONTIAC          MI 48340‐1835
MR MARTIN J BLASIUS           729 MORRIS AVE                                                                               LANSING          MI 48917‐2324
MR MARTIN J ELLMAN            11330 SHARON DR                                                                              PARMA            OH 44130‐1438
MR MARTIN J FOLLO             1500 BRADY AVE                                                                               BURTON           MI 48529‐2012
MR MARTIN J GLYNN SR          612 FALLON AVE                                                                               WILMINGTON       DE 19804‐2112
MR MARTIN J PIOTROWSKI        566 HELEN ST                                                                                 MOUNT MORRIS     MI 48458‐1923
MR MARTIN K CUMMINS           11003 STACY RUN                                                                              FREDERICKSBRG    VA 22408‐8075
MR MARTIN K POMPLUN           1112 W BURBANK AVE APT 310                                                                   JANESVILLE       WI 53546‐6146
MR MARTIN L MARQUEZ           279 W PRINCETON AVE                                                                          PONTIAC          MI 48340‐1739
MR MARTIN M HEBERLING II      350 PENFIELD AVE                                                                             ELYRIA           OH 44035‐3237
MR MARTIN M MIRANDA‐CORDERO   50 PINGREE AVE                                                                               PONTIAC          MI 48342‐1155
MR MARTIN P MAURICIO JR       12241 HARTEL ST                                                                              LIVONIA          MI 48150‐2332
MR MARTIN STREETER            9 LAUREL AVE APT 101                                                                         MASSENA          NY 13662‐2054
MR MARTIN TRAYLOR             1926 ROOT ST                                                                                 FLINT            MI 48505‐4752
MR MARTIN V ENDRIS            2302 I ST                                                                                    BEDFORD          IN 47421‐4816
MR MARTIN VUSHAJ              17 PINGREE AVE                                                                               PONTIAC          MI 48342‐1159
MR MARUICE PROCUREUR          C/O DEUTSCHE BANK SA/NV        AVENUE MARNIX 13‐15                  1000 BURXELLES BELGIUM
MR MARVIN CHAPMAN             606 WARREN ST                                                                                FLINT           MI 48505‐4306
MR MARVIN D BORDEN            1301 4TH ST                                                                                  BEDFORD         IN 47421‐1820
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MR MARVIN D SCRUGGS       207 W COLUMBIA AVE                                                                   PONTIAC         MI 48340‐1815
MR MARVIN E MAUCH         577 S SPINNINGWHEEL LN                                                               BLOOMFIELD      MI 48304‐1321
MR MARVIN E WALLING       1305 W 13TH ST                                                                       MUNCIE          IN 47302‐2904
MR MARVIN H JACKSON JR    1220 AMOS ST                                                                         PONTIAC         MI 48342‐1804
MR MARVIN J FARRINGTON    2212 E BUDER AVE                                                                     BURTON          MI 48529‐1736
MR MARVIN L FLENTROY      811 EMERSON AVE                                                                      PONTIAC         MI 48340‐3224
MR MARVIN L JOHNSON       28 KAREN CT                                                                          PONTIAC         MI 48340‐1633
MR MARVIN L VEST          302 O ST                                                                             BEDFORD         IN 47421‐1726
MR MARVIN LEWIS           740 STIRLING ST                                                                      PONTIAC         MI 48340‐3169
MR MARVIN MERRIWEATHER    71 SUMMIT ST                                                                         PONTIAC         MI 48342‐1163
MR MARVIN MILLIMAKI       187 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2761
MR MARVIN R FRIED         106 BLAINE AVE                                                                       PONTIAC         MI 48342‐1173
MR MARVIN R ROLOFF        1511 KING ST                                                                         JANESVILLE      WI 53546‐6027
MR MARVIN ROSS            1018 17TH ST                                                                         BEDFORD         IN 47421‐4208
MR MARVIN W CANADA        21 P ST                                                                              BEDFORD         IN 47421‐1717
MR MASSIMO LIBURDI        610 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3236
MR MASSIMO M MALIZIA      11800 BROOKPARK RD TRLR J77                                                          CLEVELAND       OH 44130‐1184
MR MATHEW DEWITT          940 E BROADWAY ST                                                                    KOKOMO          IN 46901‐3114
MR MATHEW J ADKISSON      1478 JOLSON AVE                                                                      BURTON          MI 48529‐2030
MR MATHEW S NORDHOFF      1008 16TH ST                                                                         BEDFORD         IN 47421‐3734
MR MATT A MARZENSKI       11161 GABRIELLA DR                                                                   CLEVELAND       OH 44130‐1471
MR MATT J BRESNAHAN       1211 ANTHONY AVE APT 6                                                               JANESVILLE      WI 53546‐6059
MR MATT L PAULSON         1050 E HUMPHREY AVE                                                                  FLINT           MI 48505‐1510
MR MATT WOOD              1919 S ELLIOTT ST                                                                    MUNCIE          IN 47302‐3032
MR MATTHEW A EISBURY      1802 S GHARKEY ST                                                                    MUNCIE          IN 47302‐7618
MR MATTHEW A TERRY        2117 E BUDER AVE                                                                     BURTON          MI 48529‐1733
MR MATTHEW A VANETTEN     2050 JAMES ST                                                                        BURTON          MI 48529‐1348
MR MATTHEW B BOOKER       3354 25TH ST                                                                         DETROIT         MI 48208‐2462
MR MATTHEW BELANGER       32 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2732
MR MATTHEW C GRUBB        2047 WEBBER AVE                                                                      BURTON          MI 48529‐2411
MR MATTHEW C YONTOSH      5629 CHEVROLET BLVD APT 6                                                            CLEVELAND       OH 44130‐8708
MR MATTHEW D COAKLEY      4524 SANDHILL DR                                                                     JANESVILLE      WI 53546‐4419
MR MATTHEW D CREW         701 FALLON AVE                                                                       WILMINGTON      DE 19804‐2113
MR MATTHEW D MCGINNIS     5900 BRIDGE RD APT 711                                                               YPSILANTI       MI 48197‐7011
MR MATTHEW DAVIS          5647 CHEVROLET BLVD APT 2                                                            CLEVELAND       OH 44130‐8711
MR MATTHEW F KULICK       719 S OPDYKE RD                                                                      AUBURN HILLS    MI 48326‐3436
MR MATTHEW G MAY          31 W HOPKINS AVE                                                                     PONTIAC         MI 48340‐1817
MR MATTHEW HARDIN         999 DEWEY ST                                                                         PONTIAC         MI 48340‐2635
MR MATTHEW J CAPISTRANT   184 W HOPKINS AVE                                                                    PONTIAC         MI 48340‐1822
MR MATTHEW J CONNOR       654 NORTHVIEW CT                                                                     PONTIAC         MI 48340‐2456
MR MATTHEW J FARRELL      10 BRIGHTON ST                                                                       MASSENA         NY 13662‐2228
MR MATTHEW J HERRIFF      855 W JEFFERSON ST LOT 118                                                           GRAND LEDGE     MI 48837‐1360
MR MATTHEW J KELLY        2203 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2439
MR MATTHEW J LEBIRE       41 DOUGLAS RD APT 1/2                                                                MASSENA         NY 13662‐2135
MR MATTHEW J MCDANIELS    234 N DEERFIELD AVE                                                                  LANSING         MI 48917‐2907
MR MATTHEW K BENTLEY      2167 E PARKWOOD AVE                                                                  BURTON          MI 48529‐1765
MR MATTHEW K DEMPSEY      285 ECKFORD DR                                                                       TROY            MI 48085‐4769
MR MATTHEW L GORDON       4058 MORRISON ST                                                                     BURTON          MI 48529‐1656
MR MATTHEW L OWENS        514 BARLOW LN                                                                        BEDFORD         IN 47421‐9664
MR MATTHEW MOELLER        1014 DURANT AVE                                                                      PONTIAC         MI 48340‐2307
MR MATTHEW R DELAY        1418 READY AVE                                                                       BURTON          MI 48529‐2052
MR MATTHEW R WOODHULL     6035 LAKE DR                                                                         YPSILANTI       MI 48197‐7015
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Name                       Address1                       Address2              Address3       Address4                 City                 State Zip
MR MATTHEW ROBERTS         1405 CONNELL ST                                                                              BURTON                MI 48529‐2202
MR MATTHEW S JACOBS        204 WHITE LN                                                                                 BEDFORD               IN 47421‐9223
MR MATTHEW S KOSTECKE      11250 RIVEREDGE DR                                                                           PARMA                 OH 44130‐1257
MR MATTHEW S MAGEE         4030 FALL HARVEST DR                                                                         JANESVILLE            WI 53546‐4432
MR MATTHEW S PARKER        1315 15TH ST                                                                                 BEDFORD               IN 47421‐3703
MR MATTHEW S WILSON        10705 JOSHUA LN                                                                              FREDERICKSBRG         VA 22408‐8039
MR MATTHEW SILVERS         202 R ST                                                                                     BEDFORD               IN 47421‐1629
MR MATTHEW STEVENS         101 STEGMAN LN                                                                               PONTIAC               MI 48340‐1669
MR MATTHEW STEWART         1704 M ST                                                                                    BEDFORD               IN 47421‐4227
MR MATTHEW STEWART         100 WATER ST                                                                                 MASSENA               NY 13662‐2011
MR MATTHEW T FRICK         1004 WYOMING CIR                                                                             LINCOLN UNIVERSITY    PA 19352‐9420
MR MATTHEW T HICKES        10810 COREYS WAY                                                                             FREDERICKSBRG         VA 22408‐2065
MR MATTHEW T MICEK         2014 S OAKHILL AVE                                                                           JANESVILLE            WI 53546‐6001
MR MATTHEW T RAYSIN        4323 WOODROW AVE                                                                             BURTON                MI 48509‐1125
MR MATTHEW W DEEDLER       11770 CAMDEN ST                                                                              LIVONIA               MI 48150‐2362
MR MATTHEW W MUNN          4290 WINDMILL FARMS                                                                          MILFORD               MI 48380‐4279
MR MATTHEW W ROBINSON      1703 11TH ST                                                                                 BEDFORD               IN 47421‐2807
MR MATTHEW W SMITH         616 BOXWOOD RD                                                                               WILMINGTON            DE 19804‐2011
MR MAURICE A GONZALES SR   907 KETTERING AVE                                                                            PONTIAC               MI 48340‐3256
MR MAURICE A NEWLIN        120 W HOPKINS AVE                                                                            PONTIAC               MI 48340‐1820
MR MAURICE C HINSON        14 LIVINGSTON AVE                                                                            WILMINGTON            DE 19804‐2816
MR MAURICE D DAVIS JR      1216 BRISTOL COURT DR                                                                        MOUNT MORRIS          MI 48458‐2180
MR MAURICE G WOODSON II    1301 COLUMBIA CIR                                                                            FLINT                 MI 48503‐5257
MR MAURICE HALL            1129 CLOVERLAWN DR                                                                           PONTIAC               MI 48340‐1615
MR MAURICE P LUCY          2095 COVERT RD                                                                               BURTON                MI 48509‐1010
MR MAURICE PROCUREUR       DEUTSCHE BANK SA NV            AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MR MAURICE RUALES          197 WALNUT AVE                                                                               CLARK                 NJ   07066‐1239
MR MAURICE STROHE          WIETHASESTR 58                                                      KOLN GERMANY D‐50933
MR MAURICIO AMAYA          37 BATES RD                                                                                  FRAMINGHAM           MA    01702‐8703
MR MAURO V REYES           2037 CLARKDALE ST                                                                            DETROIT              MI    48209‐1691
MR MAX A SHARLOW           2052 E BUDER AVE                                                                             BURTON               MI    48529‐1732
MR MAX E BRUDER JR         PO BOX 123                                                                                   CLIO                 MI    48420‐0123
MR MAX E HOWARD            994 DEWEY ST                                                                                 PONTIAC              MI    48340‐2634
MR MAX L KING              1100 W 14TH ST                                                                               MUNCIE               IN    47302‐3059
MR MAXIMINO RODRIGUEZ      896 STANLEY AVE                                                                              PONTIAC              MI    48340‐2558
MR MAXWELL EMPSON          6035 LAKE DR                                                                                 YPSILANTI            MI    48197‐7015
MR MEGUEL GAYTAN           75 PINGREE AVE                                                                               PONTIAC              MI    48342‐1159
MR MELFORD L CRUMB         1134 AMOS ST                                                                                 PONTIAC              MI    48342‐1802
MR MELVIN D PANKEY         30 E YPSILANTI AVE                                                                           PONTIAC              MI    48340‐1977
MR MELVIN D SMITH          1928 W 10TH ST                                                                               MUNCIE               IN    47302‐2145
MR MELVIN E ATKINS         2077 COVERT RD                                                                               BURTON               MI    48509‐1010
MR MELVIN E OTT            310 N GRACE ST                                                                               LANSING              MI    48917‐2948
MR MELVIN E RUFF           2046 E BOATFIELD AVE                                                                         BURTON               MI    48529‐1712
MR MELVIN E TEMPLETON      704 CORTWRIGHT ST                                                                            PONTIAC              MI    48340‐2302
MR MELVIN E TEMPLETON      1036 WILLOW GROVE CT                                                                         ROCHESTER            MI    48307‐2545
MR MELVIN F DEAN           1190 MORRIS HILLS PKWY                                                                       MOUNT MORRIS         MI    48458‐2575
MR MELVIN H CRAMER         1300 OAK HOLLOW DR                                                                           MILFORD              MI    48380‐4261
MR MELVIN H PETERSON       1330 ROOSEVELT AVE                                                                           JANESVILLE           WI    53546‐6034
MR MELVIN J HOFFMAN        5579 NATHAN DR                                                                               CLEVELAND            OH    44130‐1559
MR MELVIN L LETSON JR      413 N ROSEMARY ST APT 4                                                                      LANSING              MI    48917‐2982
MR MELVIN L VOELKER        810 SOUTH ST                                                                                 MOUNT MORRIS         MI    48458‐2027
MR MELVIN N MCINTOSH 3D    11541 SHARON DR APT C505                                                                     CLEVELAND            OH    44130‐1450
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Name                       Address1                           Address2            Address3         Address4         City            State Zip
MR MELVIN R KEHRER         9941 GERALDINE ST                                                                        YPSILANTI        MI 48197‐6927
MR MELVIN R MONDE          1301 W 14TH ST APT 5                                                                     MUNCIE           IN 47302‐3196
MR MELVIN R RENFROW JR     257 HIGHLAND AVE                                                                         BLOOMFIELD       MI 48302‐0632
MR MELVIN R WALKER         2208 S ORCHARD ST                                                                        JANESVILLE       WI 53546‐5967
MR MELVIN S DANIELS        305 HUGHES AVE                                                                           PONTIAC          MI 48341‐2451
MR MELVIN SMILEY           943 DEWEY ST                                                                             PONTIAC          MI 48340‐2512
MR MEREDITH E BOGETT JR    120 MAIN ST APT 4                                                                        MASSENA          NY 13662‐1998
MR MEREL J MILLER          1115 E YALE AVE                                                                          FLINT            MI 48505‐1518
MR MERLIN E HAMKE          1320 DIVE RD                                                                             BEDFORD          IN 47421‐1520
MR MERLON T BAXTER         6 CECIL AVE                                                                              MASSENA          NY 13662‐2140
MR MERRILL HAGENS          326 N GRACE ST                                                                           LANSING          MI 48917‐2948
MR MERRILL J BELL          27 GROVE ST                                                                              MASSENA          NY 13662‐2141
MR MERRITT A NYE           1512 BRADY AVE                                                                           BURTON           MI 48529‐2012
MR MICHAEL A ADAMS         1132 AMOS ST                                                                             PONTIAC          MI 48342‐1802
MR MICHAEL A AVILES        733 WOODTOP RD                                                                           WILMINGTON       DE 19804‐2627
MR MICHAEL A BARR          2022 E BOATFIELD AVE                                                                     BURTON           MI 48529‐1712
MR MICHAEL A BROOKS        1396 READY AVE                                                                           BURTON           MI 48529‐2052
MR MICHAEL A DAVIS         7106 HARVARD AVE                                                                         MOUNT MORRIS     MI 48458‐2144
MR MICHAEL A DRUMMER       64 SALEM CIR                                                                             SALINE           MI 48176‐9135
MR MICHAEL A EDWARDS       764 DRYER FARM RD                                                                        LANSING          MI 48917‐2343
MR MICHAEL A FANROY        668 E FOX HILLS DR                                                                       BLOOMFIELD       MI 48304‐1359
MR MICHAEL A ILER          11240 OXBOW ST                                                                           LIVONIA          MI 48150‐3193
MR MICHAEL A JACKSON       619 FOX HILLS DR N                                                                       BLOOMFIELD       MI 48304‐1313
MR MICHAEL A JAVOR         200 OLD OAK CT APT 208                                                                   PONTIAC          MI 48340‐2196
MR MICHAEL A JOHNSON       202 MOUNT PLEASANT RD                                                                    BEDFORD          IN 47421‐9665
MR MICHAEL A KENNEDY       1134 DOWAGIAC AVE                                                                        MOUNT MORRIS     MI 48458‐2580
MR MICHAEL A KIM           11009 STACY RUN                                                                          FREDERICKSBRG    VA 22408‐8075
MR MICHAEL A LOBRAICO 3D   1520 ARBUTUS ST                                                                          JANESVILLE       WI 53546‐6140
MR MICHAEL A PAUL          458 FOX HILLS DR N APT 2                                                                 BLOOMFIELD       MI 48304‐1332
MR MICHAEL A PLASHA        2236 BRADY AVE                                                                           BURTON           MI 48529‐2427
MR MICHAEL A POHLMAN       405 E NORTH ST                                                                           KOKOMO           IN 46901‐2954
MR MICHAEL A POPOVICH      1548 KING ST                                                                             JANESVILLE       WI 53546‐6028
MR MICHAEL A REHM          636 E FOX HILLS DR                                                                       BLOOMFIELD       MI 48304‐1345
MR MICHAEL A SMITH         4294 BARNES AVE                                                                          BURTON           MI 48529‐2417
MR MICHAEL A SNEYD         685 ROLLING ROCK RD                                                                      BLOOMFIELD       MI 48304‐1056
MR MICHAEL A SWAIN         812 HARWOOD RD                                                                           WILMINGTON       DE 19804‐2661
MR MICHAEL A VIOLI         44 ELM ST                                                                                MASSENA          NY 13662‐1826
MR MICHAEL A WILCOX        2154 E WILLIAMSON ST                                                                     BURTON           MI 48529‐2444
MR MICHAEL A WOMACK        100 W HOPKINS AVE                                                                        PONTIAC          MI 48340‐1820
MR MICHAEL A ZEMITES       10931 STACY RUN                                                                          FREDERICKSBRG    VA 22408‐8046
MR MICHAEL ALLOS           25 W CORNELL AVE                                                                         PONTIAC          MI 48340‐2717
MR MICHAEL ANDREWS         223 M ST                                                                                 BEDFORD          IN 47421‐1814
MR MICHAEL ANTHONY         929 KETTERING AVE                                                                        PONTIAC          MI 48340‐3258
MR MICHAEL B KAY           434 FOX HILLS DR N APT 3                                                                 BLOOMFIELD       MI 48304‐1328
MR MICHAEL B MATEVIA       9831 JULIE DR                                                                            YPSILANTI        MI 48197‐7091
MR MICHAEL B MULLIS        212 HAYDEN DR                                                                            BEDFORD          IN 47421‐9225
MR MICHAEL B TAYLOR        1305 K ST APT 325                                                                        BEDFORD          IN 47421‐3242
MR MICHAEL B THIEL         2191 E WHITTEMORE AVE                                                                    BURTON           MI 48529‐1727
MR MICHAEL BROWN           714 STIRLING ST                                                                          PONTIAC          MI 48340‐3169
MR MICHAEL BURENE          4231 COLUMBINE AVE                                                                       BURTON           MI 48529‐2431
MR MICHAEL C BERRY         2036 E BOATFIELD AVE                                                                     BURTON           MI 48529‐1712
MR MICHAEL C COOPER        837 SPYGLASS DR                                                                          BEDFORD          IN 47421‐9295
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR MICHAEL C CUNDIFF       1013 W 15TH ST                                                                       MUNCIE           IN 47302‐3067
MR MICHAEL C DRENNAN       10717 TRICIA PL                                                                      FREDERICKSBRG    VA 22408‐8068
MR MICHAEL C DYKEMAN       2204 S WALNUT ST                                                                     JANESVILLE       WI 53546‐6162
MR MICHAEL C DZIAK II      2805 E MICHIGAN AVE                                                                  YPSILANTI        MI 48198‐6050
MR MICHAEL C GETZ          1014 FARRAND ST                                                                      LANSING          MI 48906‐5407
MR MICHAEL C KLEIN         10681 FAIRLAWN DR                                                                    CLEVELAND        OH 44130‐1207
MR MICHAEL C SMITH         113 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2737
MR MICHAEL C THOMAS        33 PARKER AVE                                                                        MASSENA          NY 13662‐2213
MR MICHAEL C WARD          28 CLARK ST                                                                          MASSENA          NY 13662‐1812
MR MICHAEL CHAIT           2 KINGS MILL RD                                                                      MONROE TWP       NJ 08831
MR MICHAEL CLEVENGER       1914 W 8TH ST                                                                        MUNCIE           IN 47302‐2183
MR MICHAEL COOK            193 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1843
MR MICHAEL CRAVER          192 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1822
MR MICHAEL CURRIE          711 MELROSE ST                                                                       PONTIAC          MI 48340‐3120
MR MICHAEL D ADDINGTON     1501 W 14TH ST                                                                       MUNCIE           IN 47302‐2914
MR MICHAEL D ARSENAULT     791 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8144
MR MICHAEL D BABB          817 HARWOOD RD                                                                       WILMINGTON       DE 19804‐2660
MR MICHAEL D BELCHER       3501 WOODWARD AVE              APT 416                                               DETROIT          MI 48201‐2419
MR MICHAEL D DRISKILL      523 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1915
MR MICHAEL D DRUMMOND      151 ALLEN ST                                                                         MASSENA          NY 13662‐1803
MR MICHAEL D GOURLEY       10713 TRICIA PL                                                                      FREDERICKSBRG    VA 22408‐8068
MR MICHAEL D HALL          1167 AMOS ST                                                                         PONTIAC          MI 48342‐1803
MR MICHAEL D HODGES JR     738 LOUNSBURY AVE                                                                    PONTIAC          MI 48340‐2452
MR MICHAEL D INMAN         2062 KENNETH ST                                                                      BURTON           MI 48529‐1351
MR MICHAEL D KALBFLEISCH   PO BOX 214                                                                           LEWISTON         MI 49756‐0214
MR MICHAEL D KERN          241 THE WOODS                                                                        BEDFORD          IN 47421‐9376
MR MICHAEL D MACCONNELL    30 RIDGEWOOD AVE                                                                     MASSENA          NY 13662‐2113
MR MICHAEL D MATTHEWS      605 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MR MICHAEL D MAYETTE       1 HIGHLAND PARK                                                                      MASSENA          NY 13662‐1836
MR MICHAEL D MCCARREN      192 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2738
MR MICHAEL D ORR           235 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2779
MR MICHAEL D PESSES        11521 SHARON DR APT C604                                                             PARMA            OH 44130‐1449
MR MICHAEL D RADKA         236 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2623
MR MICHAEL D ROBINSON      657 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1013
MR MICHAEL D SCHROEDER     2164 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2444
MR MICHAEL D SHARP         1318 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2354
MR MICHAEL D TRIPLETT      10911 GABRIELLA DR                                                                   PARMA            OH 44130‐1467
MR MICHAEL D VIKE          2317 S ARCH ST                                                                       JANESVILLE       WI 53546‐6125
MR MICHAEL D WICKER        1155 CHESTNUT ST                                                                     PONTIAC          MI 48342‐1891
MR MICHAEL DRINKARD        130 SUMMIT ST                                                                        PONTIAC          MI 48342‐1165
MR MICHAEL E BAUMAN        11725 N SAGINAW ST APT 5                                                             MOUNT MORRIS     MI 48458‐2061
MR MICHAEL E BOYD          1084 W ELSTNER ST                                                                    MOUNT MORRIS     MI 48458‐2161
MR MICHAEL E CLEMONS       115 HUDSON AVE                                                                       PONTIAC          MI 48342‐1248
MR MICHAEL E CREWS         292 SMITH ST APT 129                                                                 CLIO             MI 48420‐2038
MR MICHAEL E DRINKARD      137 SUMMIT ST                                                                        PONTIAC          MI 48342‐1167
MR MICHAEL E FORREST       89 WATER ST                                                                          MASSENA          NY 13662‐2008
MR MICHAEL E GARTMAN       11031 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1469
MR MICHAEL E HICKS         1536 I ST                                                                            BEDFORD          IN 47421‐3836
MR MICHAEL E JONES         414 N ST                                                                             BEDFORD          IN 47421‐2120
MR MICHAEL E LAGRANGE      30 CORY LN                                                                           BEDFORD          IN 47421‐9231
MR MICHAEL E MILLER        1058 ANGOLA AVE                                                                      MOUNT MORRIS     MI 48458‐2122
MR MICHAEL E NOWICKI       448 FOX HILLS DR N APT 1                                                             BLOOMFIELD       MI 48304‐1330
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Name                         Address1                       Address2            Address3         Address4         City            State Zip
MR MICHAEL E PATTON          10801 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1248
MR MICHAEL E RABER           3821 MARMION AVE                                                                     FLINT            MI 48506‐4241
MR MICHAEL E SEARS           460 OAK ST                                                                           MOUNT MORRIS     MI 48458‐1931
MR MICHAEL E VOIGHT          25 W STRATHMORE AVE                                                                  PONTIAC          MI 48340‐2771
MR MICHAEL F ALEXANDER SR    112 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1820
MR MICHAEL F CRAIG           503 N JACKSON ST                                                                     BEDFORD          IN 47421‐1529
MR MICHAEL F DIENER          1435 WEBBER AVE                                                                      BURTON           MI 48529‐2033
MR MICHAEL F FIGLAR          11299 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1325
MR MICHAEL F HUGHES          600 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2108
MR MICHAEL F ILG             5691 CHEVROLET BLVD APT D201                                                         CLEVELAND        OH 44130‐1427
MR MICHAEL F JESKEWICH       1316 13TH ST                                                                         BEDFORD          IN 47421‐3225
MR MICHAEL F MACKIEWICZ      11705 HARTEL ST                                                                      LIVONIA          MI 48150‐2380
MR MICHAEL F MELLEN          871 INGLEWOOD AVE                                                                    PONTIAC          MI 48340‐2314
MR MICHAEL F MOHAN           2022 BOOTMAKER LN                                                                    BLOOMFIELD       MI 48304‐1004
MR MICHAEL F RAYOME          9 LAUREL AVE APT 306                                                                 MASSENA          NY 13662‐2054
MR MICHAEL F SHIELDS         872 KETTERING AVE                                                                    PONTIAC          MI 48340‐3253
MR MICHAEL F SPODEN          11160 SHARON DR                                                                      CLEVELAND        OH 44130‐1433
MR MICHAEL G BAKER           27 APPLE LN                                                                          PONTIAC          MI 48340‐1600
MR MICHAEL G CONNIFF         3540 VINEWOOD ST                                                                     DETROIT          MI 48208‐2363
MR MICHAEL G DEGAN           12001 TECH CENTER DR                                                                 LIVONIA          MI 48150‐2122
MR MICHAEL G EIKENBERRY      2308 N ARMSTRONG ST                                                                  KOKOMO           IN 46901‐5873
MR MICHAEL G GINGRAS         180 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1812
MR MICHAEL G HORN            1215 15TH ST                                                                         BEDFORD          IN 47421‐3701
MR MICHAEL G KELLEY          228 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2740
MR MICHAEL G KING            12 FOSS RD                                                                           FRAMINGHAM       MA 01702‐8765
MR MICHAEL G KNAPP           612 HELEN ST                                                                         MOUNT MORRIS     MI 48458‐1923
MR MICHAEL G MISSENTZIS JR   1022 TERRY AVE                                                                       MOUNT MORRIS     MI 48458‐2568
MR MICHAEL G PATTERSON       8 E CONRAD DR                                                                        WILMINGTON       DE 19804‐2038
MR MICHAEL G PAYNE JR        2081 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1711
MR MICHAEL G SCHAUBER        1036 CENTERVILLE RD                                                                  WILMINGTON       DE 19804‐2051
MR MICHAEL G SOVA            379 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1911
MR MICHAEL G WALKER          7164 HARVARD AVE                                                                     MOUNT MORRIS     MI 48458‐2144
MR MICHAEL G YACHICK         1483 JAMES ST                                                                        BURTON           MI 48529‐1233
MR MICHAEL GARRETT           138 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1800
MR MICHAEL GILBERT           1055 LAPORT AVE                                                                      MOUNT MORRIS     MI 48458‐2557
MR MICHAEL H CHRISTIAN       6015 LAKE DR                                                                         YPSILANTI        MI 48197‐7016
MR MICHAEL H DARDARIAN       416 FOX HILLS DR S APT 2                                                             BLOOMFIELD       MI 48304‐1347
MR MICHAEL H SHIELDS         2075 CASHIN ST                                                                       BURTON           MI 48509‐1137
MR MICHAEL HANEY             1822 W 9TH ST                                                                        MUNCIE           IN 47302‐6601
MR MICHAEL HUBBARD           1118 17TH ST                                                                         BEDFORD          IN 47421‐4229
MR MICHAEL J ADCOCK          713 W SPRAKER ST                                                                     KOKOMO           IN 46901‐2124
MR MICHAEL J AUMAND          15 CHERRY ST                                                                         MASSENA          NY 13662‐1805
MR MICHAEL J BAKER           433 I ST                                                                             BEDFORD          IN 47421‐2215
MR MICHAEL J BARKLEY         44 NIGHTENGALE AVE                                                                   MASSENA          NY 13662‐1715
MR MICHAEL J BARTLETT        257 WHITE LN                                                                         BEDFORD          IN 47421‐9224
MR MICHAEL J BEHL            216 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2623
MR MICHAEL J BERNATH         321 N ROSEMARY ST                                                                    LANSING          MI 48917‐2975
MR MICHAEL J BERO            12 GRASSMERE AVE                                                                     MASSENA          NY 13662‐2035
MR MICHAEL J BOCK            615 WALNUT ST                                                                        MOUNT MORRIS     MI 48458‐1954
MR MICHAEL J BROWN           10920 COREYS WAY                                                                     FREDERICKSBRG    VA 22408‐2071
MR MICHAEL J CARLIN          4286 VALLEY RD                                                                       CLEVELAND        OH 44109‐3480
MR MICHAEL J CIABATTONI JR   3 W CONRAD DR                                                                        WILMINGTON       DE 19804‐2018
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Name                         Address1                          Address2            Address3         Address4         City            State Zip
MR MICHAEL J DAILY           311 W BROADWAY ST                                                                       KOKOMO           IN 46901‐2813
MR MICHAEL J DEANGELO        705 BECKER CT                                                                           WILMINGTON       DE 19804‐2100
MR MICHAEL J DEYO            516 N GRACE ST                                                                          LANSING          MI 48917‐2950
MR MICHAEL J DIGGINS         305 BRIGHTON AVE                                                                        WILMINGTON       DE 19805‐2407
MR MICHAEL J DOOLEY          6141 LAKE DR                                                                            YPSILANTI        MI 48197‐7052
MR MICHAEL J FLANIGAN        1390 OAK HOLLOW DR                                                                      MILFORD          MI 48380‐4261
MR MICHAEL J GERBASI         8450 MURRAY RIDGE RD                                                                    ELYRIA           OH 44035‐4749
MR MICHAEL J GILPIN          227 N DEERFIELD AVE                                                                     LANSING          MI 48917‐2908
MR MICHAEL J GRAHAM          2502 LINKWOOD AVE                                                                       WILMINGTON       DE 19805‐2332
MR MICHAEL J GURSKE SR       1320 N WASHINGTON ST                                                                    KOKOMO           IN 46901‐2215
MR MICHAEL J HANLEY          2130 S CHATHAM ST                                                                       JANESVILLE       WI 53546‐6115
MR MICHAEL J HOWE            1191 CHERRYLAWN DR                                                                      PONTIAC          MI 48340‐1705
MR MICHAEL J KELLY           11213 MANSFIELD CLUB DR                                                                 FREDERICKSBRG    VA 22408‐2058
MR MICHAEL J KISSINGER       512 W ELM ST                                                                            KOKOMO           IN 46901‐2745
MR MICHAEL J LACEY           2038 KENNETH ST                                                                         BURTON           MI 48529‐1351
MR MICHAEL J LAFORCE         151 ANDREWS ST                                                                          MASSENA          NY 13662‐3800
MR MICHAEL J LIVINGSTON II   108 PARK AVE                                                                            FLUSHING         MI 48433
MR MICHAEL J MALEK           10629 DEBORAH DR                                                                        CLEVELAND        OH 44130‐1371
MR MICHAEL J MCCREA          11991 HARTEL ST                                                                         LIVONIA          MI 48150‐5324
MR MICHAEL J MCFARLAND       2605 SYLVAN AVE                                                                         WILMINGTON       DE 19805‐2344
MR MICHAEL J MEAD            2006 ROOSEVELT AVE                                                                      JANESVILLE       WI 53546‐5973
MR MICHAEL J MYERS           10708 TRICIA PL                                                                         FREDERICKSBRG    VA 22408‐8067
MR MICHAEL J NEMETH          10940 FAIRLAWN DR                                                                       CLEVELAND        OH 44130‐1214
MR MICHAEL J PARROTT         72 PROSPECT AVE                                                                         MASSENA          NY 13662‐1742
MR MICHAEL J PAVLICK 3D      742 HOLLISTER ST                                                                        PONTIAC          MI 48340‐2428
MR MICHAEL J PIFHER          2207 E BUDER AVE                                                                        BURTON           MI 48529‐1735
MR MICHAEL J POKORZYNSKI     244 W FAIRMOUNT AVE                                                                     PONTIAC          MI 48340‐2740
MR MICHAEL J PRICHARD        1462 READY AVE                                                                          BURTON           MI 48529‐2054
MR MICHAEL J RHODES          4838 TOLEDO ST                                                                          DETROIT          MI 48209‐1375
MR MICHAEL J RULAND          1134 LINCOLN AVE                                                                        BEDFORD          IN 47421‐2925
MR MICHAEL J SELF            691 STANLEY AVE                                                                         PONTIAC          MI 48340‐2470
MR MICHAEL J SHERIDAN        209 W BROADWAY ST                                                                       KOKOMO           IN 46901‐2815
MR MICHAEL J SLINKARD        1399 PROPER AVE                                                                         BURTON           MI 48529‐2043
MR MICHAEL J SMELA           1909 HUNTERS RIDGE DR                                                                   BLOOMFIELD       MI 48304‐1037
MR MICHAEL J SNYDER          34 E LONGFELLOW AVE                                                                     PONTIAC          MI 48340‐2742
MR MICHAEL J STOLNICKI       2083 E SPINNINGWHEEL LN                                                                 BLOOMFIELD       MI 48304‐1064
MR MICHAEL J SUDBERRY JR     520 N DEERFIELD AVE                                                                     LANSING          MI 48917‐2911
MR MICHAEL J SUMMERS         25 W RUTGERS AVE                                                                        PONTIAC          MI 48340‐2755
MR MICHAEL J TAGG            2433 WHITNEY AVE                                                                        ONTARIO          OH 44906‐1197
MR MICHAEL J TIBERI          44 LYNBROOK RD                                                                          WILMINGTON       DE 19804‐2670
MR MICHAEL J URICEK          2103 COVERT RD                                                                          BURTON           MI 48509‐1010
MR MICHAEL J VIERNO          130 MAIN ST                                                                             MASSENA          NY 13662‐1906
MR MICHAEL J WALLOS          2052 E WILLIAMSON ST                                                                    BURTON           MI 48529‐2442
MR MICHAEL J WILLIAMS SR     422 W CHAMPLAIN AVE                                                                     WILMINGTON       DE 19804‐2014
MR MICHAEL J WILSON          729 COLUMBIA DR                                                                         FLINT            MI 48503‐5207
MR MICHAEL J YORK            1400 BRADY AVE                                                                          BURTON           MI 48529‐2010
MR MICHAEL J YORK            2075 KENNETH ST                                                                         BURTON           MI 48529‐1350
MR MICHAEL J ZABLOSKI        11350 RICHARD DR                                                                        CLEVELAND        OH 44130‐1343
MR MICHAEL J ZENKOVICH       600 BURNET DR                                                                           KELLER           TX 76248‐8378
MR MICHAEL J ZURLO JR        619 CURTIS AVE                                                                          WILMINGTON       DE 19804‐2107
MR MICHAEL K ANDERSON        917 I ST                                                                                BEDFORD          IN 47421‐2623
MR MICHAEL K EKLUND          2149 E WILLIAMSON ST                                                                    BURTON           MI 48529‐2445
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Name                               Address1                        Address2              Address3       Address4                 City           State Zip
MR MICHAEL K KENNY                 3743 PITKIN AVE                                                                               FLINT           MI 48506‐4220
MR MICHAEL K KUCHOLICK             1909 N LAFOUNTAIN ST                                                                          KOKOMO          IN 46901‐2321
MR MICHAEL K RIEMAN                2090 E WHITTEMORE AVE                                                                         BURTON          MI 48529‐1724
MR MICHAEL K SOUTHERS              1841 S CHATHAM ST                                                                             JANESVILLE      WI 53546‐6012
MR MICHAEL K THOMAS                1087 CHERRYLAWN DR                                                                            PONTIAC         MI 48340‐1701
MR MICHAEL KENT                    1329 N WABASH AVE                                                                             KOKOMO          IN 46901‐2601
MR MICHAEL KING                    1615 W 13TH ST                                                                                MUNCIE          IN 47302‐2979
MR MICHAEL KLEPPER & MRS SUZANNE   DEUTSCHE BANK SA/NV             AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
VANDERPERRE
MR MICHAEL L ALLEN                 1424 BRADY AVE                                                                                BURTON         MI   48529‐2010
MR MICHAEL L BAINES                18 HIGHLAND AVE                                                                               MASSENA        NY   13662‐1737
MR MICHAEL L BARRATT               551 SEDGEFIELD DR                                                                             BLOOMFIELD     MI   48304‐1058
MR MICHAEL L BENFORD JR            1226 AMOS ST                                                                                  PONTIAC        MI   48342‐1804
MR MICHAEL L BIRCH                 857 MILES ST                                                                                  PONTIAC        MI   48340‐2319
MR MICHAEL L CASTRO                832 SARASOTA AVE                                                                              PONTIAC        MI   48340‐2368
MR MICHAEL L COLLINS               229 MARION AVE                                                                                WATERFORD      MI   48328‐3229
MR MICHAEL L CONRAD                1404 E SCOTTWOOD AVE                                                                          BURTON         MI   48529‐1624
MR MICHAEL L DANIELS               169 LEGRANDE AVE                                                                              PONTIAC        MI   48342‐1137
MR MICHAEL L HOLT                  1522 WEBBER AVE                                                                               BURTON         MI   48529‐2038
MR MICHAEL L HULL                  4350 WOODROW AVE                                                                              BURTON         MI   48509‐1126
MR MICHAEL L JENNINGS JR           9811 JULIE DR LOT 55                                                                          YPSILANTI      MI   48197‐7092
MR MICHAEL L JOHNSON               213 LUTHER AVE                                                                                PONTIAC        MI   48341‐2776
MR MICHAEL L KEYES                 5431 CHEVROLET BLVD APT A110                                                                  CLEVELAND      OH   44130‐1485
MR MICHAEL L KRAFJACK SR           2935 S OAKHILL AVE                                                                            JANESVILLE     WI   53546‐8920
MR MICHAEL L LIPKA                 52 W CORNELL AVE                                                                              PONTIAC        MI   48340‐2716
MR MICHAEL L LUTKINS               19 UNIVERSITY PLACE DR                                                                        PONTIAC        MI   48342‐1881
MR MICHAEL L MAY                   1616 15TH ST                                                                                  BEDFORD        IN   47421‐3604
MR MICHAEL L MERTZ                 1000 W 15TH ST                                                                                MUNCIE         IN   47302‐3066
MR MICHAEL L NEWELL                1721 W 8TH ST                                                                                 MUNCIE         IN   47302‐2116
MR MICHAEL L OLIVER                901 PALLISTER ST APT 416                                                                      DETROIT        MI   48202‐2680
MR MICHAEL L PEFFLEY               778 PENSACOLA AVE                                                                             PONTIAC        MI   48340‐2357
MR MICHAEL L RATCLIFF              7439 ALEXANDER ST                                                                             MOUNT MORRIS   MI   48458‐2904
MR MICHAEL L SEYMOUR               34 LYNBROOK RD                                                                                WILMINGTON     DE   19804‐2671
MR MICHAEL L STEWART               1812 W 11TH ST                                                                                MUNCIE         IN   47302‐6613
MR MICHAEL L TRENT                 1821 N BELL ST                                                                                KOKOMO         IN   46901‐2306
MR MICHAEL M ASHBY                 2100 CONNELL ST                                                                               BURTON         MI   48529‐1333
MR MICHAEL M JAMES                 1029 LORENE AVE                                                                               MOUNT MORRIS   MI   48458‐2111
MR MICHAEL M MORGAN                4175 GRONDINWOOD LN                                                                           MILFORD        MI   48380‐4224
MR MICHAEL M SHINEDLING            102 W TENNYSON AVE                                                                            PONTIAC        MI   48340‐2672
MR MICHAEL MCDOWELL                302 S WOODWARD AVE                                                                            WILMINGTON     DE   19805‐2361
MR MICHAEL MITTENDORF              1420 I ST                                                                                     BEDFORD        IN   47421‐3324
MR MICHAEL MONT                    820 ALBERT ST                                                                                 MOUNT MORRIS   MI   48458‐2015
MR MICHAEL MURRAY                  1112 W BURBANK AVE APT 113                                                                    JANESVILLE     WI   53546‐6146
MR MICHAEL N FREEMAN               2182 N CENTER RD                                                                              BURTON         MI   48509‐1041
MR MICHAEL N TWEED                 1316 N COURTLAND AVE                                                                          KOKOMO         IN   46901‐2752
MR MICHAEL NICELY                  1403 W MEMORIAL DR                                                                            MUNCIE         IN   47302‐2172
MR MICHAEL O COBB                  249 THE WOODS                                                                                 BEDFORD        IN   47421‐9377
MR MICHAEL P BIN                   12026 HALLER ST                                                                               LIVONIA        MI   48150‐2373
MR MICHAEL P BURT                  45096 KLINGKAMMER ST                                                                          UTICA          MI   48317‐5765
MR MICHAEL P CHARLILLO             10971 RIVEREDGE DR                                                                            CLEVELAND      OH   44130‐1252
MR MICHAEL P CREAZZO               1 WINTER ST                                                                                   MASSENA        NY   13662‐1818
MR MICHAEL P CULLEN II             607 FALLON AVE                                                                                WILMINGTON     DE   19804‐2111
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Name                        Address1                       Address2            Address3         Address4         City           State Zip
MR MICHAEL P DANBOISE       200 E HATFIELD ST                                                                    MASSENA         NY 13662‐3296
MR MICHAEL P DONNELLY       5900 BRIDGE RD APT 809                                                               YPSILANTI       MI 48197‐7010
MR MICHAEL P FINNEGAN       4315 TOLEDO ST                                                                       DETROIT         MI 48209‐1366
MR MICHAEL P FOURNIER       47 NIGHTENGALE AVE                                                                   MASSENA         NY 13662‐1719
MR MICHAEL P GUILDAY        1 E KEYSTONE AVE                                                                     WILMINGTON      DE 19804‐2023
MR MICHAEL P HERRINGTON     2042 E JUDD RD                                                                       BURTON          MI 48529‐2403
MR MICHAEL P KUHARIK        11221 RIVEREDGE DR                                                                   CLEVELAND       OH 44130‐1258
MR MICHAEL P MANZA          1996 HUNTERS RIDGE DR                                                                BLOOMFIELD      MI 48304‐1036
MR MICHAEL P SACKAWICZ II   601 FALLON AVE                                                                       WILMINGTON      DE 19804‐2111
MR MICHAEL P WHITING        615 MELROSE ST                                                                       PONTIAC         MI 48340‐3116
MR MICHAEL PANEK            1066 E HARVARD AVE                                                                   FLINT           MI 48505‐1508
MR MICHAEL PAUL II          1093 E COLDWATER RD                                                                  FLINT           MI 48505‐1501
MR MICHAEL PEMBERTON        1117 13TH ST                                                                         BEDFORD         IN 47421‐3206
MR MICHAEL PENA             482 CESAR E CHAVEZ AVE                                                               PONTIAC         MI 48342‐1051
MR MICHAEL Q HERRING        2200 SHERIDAN ST                                                                     JANESVILLE      WI 53546‐5983
MR MICHAEL R ALLMAN         406 SHANDELL DR                                                                      BEDFORD         IN 47421‐9656
MR MICHAEL R BELLCOUR       2229 SHERIDAN ST                                                                     JANESVILLE      WI 53546‐5976
MR MICHAEL R GRIMES JR      2053 KENNETH ST                                                                      BURTON          MI 48529‐1350
MR MICHAEL R GUIMOND        14 BOWERS ST                                                                         MASSENA         NY 13662‐2102
MR MICHAEL R LANE           1316 PEERLESS RD                                                                     BEDFORD         IN 47421‐8100
MR MICHAEL R MCGINNIS II    2146 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1726
MR MICHAEL R VAUGHN         7429 ALEXANDER ST                                                                    MOUNT MORRIS    MI 48458‐2904
MR MICHAEL R VOELKER        121 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1874
MR MICHAEL R WHEELOCK       816 H ST                                                                             BEDFORD         IN 47421‐2616
MR MICHAEL R WILLIAMS       1112 W BURBANK AVE APT 315                                                           JANESVILLE      WI 53546‐6146
MR MICHAEL R WISE           820 MORRIS AVE                                                                       LANSING         MI 48917‐2319
MR MICHAEL R WRIGHT JR      1369 PROPER AVE                                                                      BURTON          MI 48529‐2043
MR MICHAEL RAGONE           1528 L ST                                                                            BEDFORD         IN 47421‐3724
MR MICHAEL S BRIGGS         77 NIGHTENGALE AVE                                                                   MASSENA         NY 13662‐1717
MR MICHAEL S CARTER         217 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1845
MR MICHAEL S DUNLAP         1901 N BELL ST                                                                       KOKOMO          IN 46901‐2329
MR MICHAEL S EPPS           758 BON AIR RD                                                                       LANSING         MI 48917‐2316
MR MICHAEL S FAULTERSACK    2006 E SPINNINGWHEEL LN                                                              BLOOMFIELD      MI 48304‐1063
MR MICHAEL S FERRIS         2210 BRADY AVE                                                                       BURTON          MI 48529‐2427
MR MICHAEL S HARRISON       1808 N MCCANN ST                                                                     KOKOMO          IN 46901‐2076
MR MICHAEL S KOSTOWSKI      4230 WOODROW AVE                                                                     BURTON          MI 48509‐1054
MR MICHAEL S KOWALSKI       1527 W BURBANK AVE                                                                   JANESVILLE      WI 53546‐6112
MR MICHAEL S LANGE          11219 RICHARD DR                                                                     CLEVELAND       OH 44130‐1342
MR MICHAEL S LYNN           316 CENTRAL AVE                                                                      WILMINGTON      DE 19805‐2416
MR MICHAEL S MARTIN         430 6TH ST                                                                           BEDFORD         IN 47421‐9608
MR MICHAEL S MEHLER         11240 KAREN ST                                                                       LIVONIA         MI 48150‐3181
MR MICHAEL S MONTNEY        1251 MEADOWLAWN DR                                                                   PONTIAC         MI 48340‐1737
MR MICHAEL S MOTZ           2917 HARWICK DR APT 4                                                                LANSING         MI 48917‐2357
MR MICHAEL S NASHEF         3204 UPTON RD                                                                        LANSING         MI 48917‐2321
MR MICHAEL S PNIEWSKI       162 W HOPKINS AVE                                                                    PONTIAC         MI 48340‐1820
MR MICHAEL S SMITH          1810 N MARKET ST                                                                     KOKOMO          IN 46901‐2343
MR MICHAEL SMITH            1034 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1700
MR MICHAEL SPARKS           2145 JOLSON AVE                                                                      BURTON          MI 48529‐2127
MR MICHAEL T CHATTERTON     23 DOUGLAS RD                                                                        MASSENA         NY 13662‐2042
MR MICHAEL T HUGHES JR      1008 NORWOOD RD                                                                      LANSING         MI 48917‐2360
MR MICHAEL T KEEFE          1000 EAST AVE APT 110                                                                ROCHESTER       NY 14607‐2203
MR MICHAEL T MCKENNEY       11041 FAIRLAWN DR                                                                    CLEVELAND       OH 44130‐1217
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Name                      Address1                       Address2              Address3       Address4                 City           State Zip
MR MICHAEL T MCKIRSTRY    1207 N ARMSTRONG ST                                                                          KOKOMO          IN 46901‐2819
MR MICHAEL T POKORNY      11290 AARON DR                                                                               PARMA           OH 44130‐1261
MR MICHAEL T UNDERWOOD    209 W SHEFFIELD AVE                                                                          PONTIAC         MI 48340‐1855
MR MICHAEL TERMINELLI     23 WALNUT AVE                                                                                MASSENA         NY 13662‐2026
MR MICHAEL V BOUGHNER     166 W BEVERLY AVE                                                                            PONTIAC         MI 48340‐2620
MR MICHAEL V MARINO       2181 E BERGIN AVE                                                                            BURTON          MI 48529‐1780
MR MICHAEL V SCHNEIDER    216 W KENNETT RD                                                                             PONTIAC         MI 48340‐2652
MR MICHAEL VICK           27 W PRINCETON AVE                                                                           PONTIAC         MI 48340‐1837
MR MICHAEL W BARRY        507 N GRACE ST                                                                               LANSING         MI 48917‐2951
MR MICHAEL W BEESON       221 N CATHERINE ST                                                                           LANSING         MI 48917‐4903
MR MICHAEL W BROWN        2045 DELANEY ST                                                                              BURTON          MI 48509‐1022
MR MICHAEL W BUSCH        1418 G ST                                                                                    BEDFORD         IN 47421‐3322
MR MICHAEL W CULLEN       368 W YPSILANTI AVE                                                                          PONTIAC         MI 48340‐1668
MR MICHAEL W DENKER       2162 E JUDD RD                                                                               BURTON          MI 48529‐2405
MR MICHAEL W HARDIMAN     183 W LONGFELLOW AVE                                                                         PONTIAC         MI 48340‐1833
MR MICHAEL W HIRZEL       12441 CAMDEN ST                                                                              LIVONIA         MI 48150‐2371
MR MICHAEL W MCCURDY      3337 SYLVAN RD                                                                               LANSING         MI 48917‐2336
MR MICHAEL W MORRIS       87 RAWSONVILLE RD                                                                            BELLEVILLE      MI 48111‐1051
MR MICHAEL W RICHARDSON   18 E YALE AVE                                                                                PONTIAC         MI 48340‐1975
MR MICHAEL W RICHARDSON   165 THE WOODS                                                                                BEDFORD         IN 47421‐9300
MR MICHAEL W TAYLOR       650 N JACKSON ST                                                                             BEDFORD         IN 47421‐1532
MR MICHAEL W TEEPLE       33 W RUTGERS AVE                                                                             PONTIAC         MI 48340‐2755
MR MICHAEL W WALSH II     2267 E MCLEAN AVE                                                                            BURTON          MI 48529‐1778
MR MICHAEL WHITE          723 BLAINE AVE                                                                               PONTIAC         MI 48340‐2401
MR MICHAEL WILLIAMS       1102 BRISTOL COURT DR                                                                        MOUNT MORRIS    MI 48458‐2179
MR MICHAEL WILLIAMS       804 EMERSON AVE                                                                              PONTIAC         MI 48340‐3223
MR MICHAEL WINZER         770 EMERSON AVE                                                                              PONTIAC         MI 48340‐3221
MR MICHAEL ZHU            532 W FAIRMOUNT AVE                                                                          PONTIAC         MI 48340‐1602
MR MICHALE C STLOUIS      812 STANLEY AVE                                                                              PONTIAC         MI 48340‐2558
MR MICHEAL BUCK           504 W MEMORIAL DR                                                                            MUNCIE          IN 47302‐7621
MR MICHEAL CRAIG          416 W 7TH ST                                                                                 MUNCIE          IN 47302‐3104
MR MICHEL JAUMOTTE        C/O DEUTSCHE BANK SA/NV        AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MR MICKEY A SMITH         838 STANLEY AVE                                                                              PONTIAC        MI   48340‐2558
MR MICKHEL SANTANA        112 SUMMIT ST                                                                                PONTIAC        MI   48342‐1165
MR MIGUEL A ALICEA        740 EMERSON AVE                                                                              PONTIAC        MI   48340‐3219
MR MIGUEL A COLLAZO       965 CAMERON AVE                                                                              PONTIAC        MI   48340‐3215
MR MIGUEL A LOPEZ         5561 CHEVROLET BLVD APT C111                                                                 CLEVELAND      OH   44130‐1477
MR MIGUEL A RODRIGUEZ     141 EUCLID AVE                                                                               PONTIAC        MI   48342‐1115
MR MIGUEL A TRINIDAD      78 W YPSILANTI AVE                                                                           PONTIAC        MI   48340‐1871
MR MIGUEL A VALDEZ        4416 OHEREN ST                                                                               BURTON         MI   48529‐1829
MR MIGUEL FLORES          902 CAMERON AVE                                                                              PONTIAC        MI   48340‐3208
MR MIGUEL G CASTELLANOS   2042 CLARKDALE ST                                                                            DETROIT        MI   48209‐3911
MR MIGUEL GUZMAN          414 HOLLIS ST                                                                                FRAMINGHAM     MA   01702‐8614
MR MIGUEL L CARRERO       41 LEANEE LN                                                                                 PONTIAC        MI   48340‐1651
MR MIGUEL PALMA           1226 N APPERSON WAY                                                                          KOKOMO         IN   46901‐2932
MR MIGUEL PEREZ SOMALO    C/ ALCALA N║ 104 3C                                                 28009 MADRID SPAIN
MR MIGUEL RUBIO           1180 MORRIS HILLS PKWY                                                                       MOUNT MORRIS   MI   48458‐2575
MR MIGUEL ZAMORA          4628 PLUMER ST                                                                               DETROIT        MI   48209‐1357
MR MIKE C SWAN            909 W 5TH ST                                                                                 MUNCIE         IN   47302‐2242
MR MIKE CURTIS            2000 N SAGINAW ST                                                                            FLINT          MI   48505‐4770
MR MIKE D PETERSEN        11800 BROOKPARK RD TRLR 126                                                                  CLEVELAND      OH   44130‐1100
MR MIKE E REYNOLDS        1517 W 9TH ST                                                                                MUNCIE         IN   47302‐2120
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Name                        Address1                      Address2            Address3        Address4         City            State Zip
MR MIKE IMBLER              1508 N INDIANA AVE                                                                 KOKOMO           IN 46901‐2046
MR MIKE J BURGER            11439 GABRIELLA DR                                                                 CLEVELAND        OH 44130‐1338
MR MIKE J GARCIA            4092 COUNTRY RD                                                                    OTTER LAKE       MI 48464‐9431
MR MIKE J STRANGE           1310 N WABASH AVE                                                                  KOKOMO           IN 46901‐2602
MR MIKE JONES               54 GROVE ST                                                                        MASSENA          NY 13662‐2126
MR MIKE K CHEN              1821 H ST                                                                          BEDFORD          IN 47421‐4219
MR MIKE MURPHY              97 W LONGFELLOW AVE                                                                PONTIAC          MI 48340‐1829
MR MIKE PULLEY              1708 KING ST                                                                       JANESVILLE       WI 53546‐6030
MR MIKE R KINSER            1315 13TH ST                                                                       BEDFORD          IN 47421‐3224
MR MIKE R MCDONALD          1025 W 10TH ST                                                                     MUNCIE           IN 47302‐2255
MR MIKE RHORER              985 MOUNT PLEASANT RD                                                              BEDFORD          IN 47421‐8027
MR MIKE S FOREHAND SR       617 W 11TH ST                                                                      MUNCIE           IN 47302‐3130
MR MIKE TROWBRIDGE          370 F ST                                                                           BEDFORD          IN 47421‐2231
MR MIKE WILLIAMS            512 LAFAYETTE AVE                                                                  OOLITIC          IN 47451‐9606
MR MIKE WILSON              709 W 10TH ST                                                                      MUNCIE           IN 47302‐3128
MR MIKE'S                   ATTN: MICHEAL BYRD            6064 WOODWARD AVE                                    DETROIT          MI 48202‐3596
MR MIKE'S LOUNGE            ATTN: EMANUEL KOUTSOGIANNIS   PO BOX 980294                                        YPSILANTI        MI 48198‐0294
MR MIKEL J ROHR             3373 VINEWOOD ST                                                                   DETROIT          MI 48208‐2360
MR MILBURN E HATFIELD       427 W MORGAN ST                                                                    KOKOMO           IN 46901‐2248
MR MILBURN E HATFIELD       410 W MORGAN ST                                                                    KOKOMO           IN 46901‐2249
MR MILLARD H WIDDEKIND      829 HARWOOD RD                                                                     WILMINGTON       DE 19804‐2662
MR MILLARD L TARRANCE       1453 JOLSON AVE                                                                    BURTON           MI 48529‐2029
MR MILLARD R BATES          714 JASPER ST                                                                      KOKOMO           IN 46901‐2129
MR MILTON G KOVACHEVICH     2161 E WILLIAMSON ST                                                               BURTON           MI 48529‐2445
MR MILTON H PARRY JR        875 INGLEWOOD AVE                                                                  PONTIAC          MI 48340‐2314
MR MILTON J LANGLOIS JR     11 BOWERS ST                                                                       MASSENA          NY 13662‐2104
MR MILTON L ADKINS          205 BROOKE DR                                                                      FREDERICKSBRG    VA 22408‐2003
MR MITCHELL A HUGGINS       1930 W 8TH ST                                                                      MUNCIE           IN 47302‐2183
MR MITCHELL G KOVACHEVICH   2165 E WILLIAMSON ST                                                               BURTON           MI 48529‐2445
MR MITCHELL J CAZA          245 N MAIN ST                                                                      MASSENA          NY 13662‐1120
MR MITCHELL J FRANKS        4306 FARMCREST ST                                                                  BURTON           MI 48509‐1106
MR MITCHELL R ALEN          10 EUCLID AVE                                                                      PONTIAC          MI 48342‐1110
MR MITCHELL R DELK          805 W 5TH ST                                                                       MUNCIE           IN 47302‐2206
MR MITCHELL R DELK          804 W 5TH ST                                                                       MUNCIE           IN 47302‐2205
MR MIZANUR RAHMAN           637 S SPINNINGWHEEL LN                                                             BLOOMFIELD       MI 48304‐1324
MR MOHAMMED M RAHMAN        174 W COLUMBIA AVE                                                                 PONTIAC          MI 48340‐1812
MR MOHAMMED M RAHMAN        25 W COLUMBIA AVE                                                                  PONTIAC          MI 48340‐1807
MR MOHAMMED S RAHIM         609 N AUGUSTINE ST                                                                 WILMINGTON       DE 19804‐2603
MR MOHAMMED Z HAQUE         2000 STONE HOLLOW CT                                                               BLOOMFIELD       MI 48304‐1074
MR MOJTABA IFTIKHAR         2064 POST HOUSE CT                                                                 BLOOMFIELD       MI 48304‐1047
MR MOMFRED BERNADEAU        402 HOLLIS ST                                                                      FRAMINGHAM       MA 01702‐8614
MR MONDO L TATUM            38060 CLYDESDALE DR                                                                ROMULUS          MI 48174‐6400
MR MONICO AVILA             117 W YALE AVE                                                                     PONTIAC          MI 48340‐1863
MR MONROE OWENS             712 CORTWRIGHT ST                                                                  PONTIAC          MI 48340‐2302
MR MONTANA T GOOCH SR       1234 E HARVARD AVE                                                                 FLINT            MI 48505‐1759
MR MOREY A RUSSELL          1822 I ST                                                                          BEDFORD          IN 47421‐4224
MR MORRELL P HASKETT        201 SHANDELL DR                                                                    BEDFORD          IN 47421‐9659
MR MORRIS C MYERS           505 W BROADWAY ST                                                                  KOKOMO           IN 46901‐2715
MR MORRIS C MYERS JR        1110 N COURTLAND AVE                                                               KOKOMO           IN 46901‐2756
MR MORRIS D NORMAN          207 HELTONVILLE RD W                                                               BEDFORD          IN 47421‐9386
MR MORRIS F COLEMAN         6722 S MERLEING LOOP                                                               FLORAL CITY      FL 34436
MR MORRIS L CHAMBERLAIN     4161 WOODROW AVE                                                                   BURTON           MI 48509‐1051
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Name                      Address1                       Address2            Address3         Address4               City            State Zip
MR MORRIS M JOHNSON       2485 WHITNEY AVE                                                                           ONTARIO          OH 44906‐1197
MR MOSE DEATON            2106 E BRISTOL RD                                                                          BURTON           MI 48529‐1321
MR MOSES AIKENS           4695 BRANDON ST                                                                            DETROIT          MI 48209‐1396
MR MOSES WILEY JR         252 W HOPKINS AVE                                                                          PONTIAC          MI 48340‐1824
MR MOUSTAFA ELFAOUJ       18 LIVINGSTON AVE                                                                          WILMINGTON       DE 19804‐2816
MR MUHAMMAD A SHAD        15 READ AVE                                                                                WILMINGTON       DE 19804‐2033
MR MUHAMMAD A SUMBAL      200 N DEERFIELD AVE                                                                        LANSING          MI 48917‐2907
MR MUHAMMAD Z KHALID      208 N GRACE ST                                                                             LANSING          MI 48917‐4908
MR MURL D HEAD            137 W MORGAN ST                                                                            KOKOMO           IN 46901‐2254
MR MURRAY M LAUZON        29 GROVE ST                                                                                MASSENA          NY 13662‐2130
MR MURRAY W COON          2126 E WHITTEMORE AVE                                                                      BURTON           MI 48529‐1726
MR MUSTAFA A ALY          659 N MAIN ST                                                                              DUNKIRK          IN 47336‐1617
MR MYRON D LARRISON JR    1803 N MORRISON ST                                                                         KOKOMO           IN 46901‐2148
MR MYRON E PASTOCK        12 READ AVE                                                                                WILMINGTON       DE 19804‐2034
MR MYRON R JORDAN         5695 CHEVROLET BLVD APT B112                                                               PARMA            OH 44130‐1409
MR MYUNG J YOO            585 FOX HILLS DR N                                                                         BLOOMFIELD       MI 48304‐1311
MR NABOR BARAJAS          4642 TOLEDO ST                                                                             DETROIT          MI 48209‐1371
MR NACI KARAKAS           OST PRELISSENDAMM 54 A                                              12207 BERLIN GERMANY
MR NADIR S GILLANI        11001 BEVIN DR                                                                             FREDERICKSBRG   VA   22408‐2073
MR NADIR S GILLANI        11015 BEVIN DR                                                                             FREDERICKSBRG   VA   22408‐2073
MR NADIR S GILLANI        11013 BEVIN DR                                                                             FREDERICKSBRG   VA   22408‐2073
MR NADIR S GILLANI        11011 BEVIN DR                                                                             FREDERICKSBRG   VA   22408‐2073
MR NARAYANAN P MENON      1936 HUNTERS RIDGE DR                                                                      BLOOMFIELD      MI   48304‐1036
MR NATE POOLE             9967 JOAN CIR                                                                              YPSILANTI       MI   48197‐6904
MR NATHAN A MAZE          9943 JULIE DR                                                                              YPSILANTI       MI   48197‐7095
MR NATHAN C KOPEK         4147 WOODROW AVE                                                                           BURTON          MI   48509‐1051
MR NATHAN E RUFF          2061 E BOATFIELD AVE                                                                       BURTON          MI   48529‐1711
MR NATHAN G NIKIRK        1602 14TH ST                                                                               BEDFORD         IN   47421‐3633
MR NATHAN J KOOP          240 W YPSILANTI AVE                                                                        PONTIAC         MI   48340‐1877
MR NATHAN M CONWAY        2044 W BURBANK AVE                                                                         JANESVILLE      WI   53546‐5980
MR NATHAN M KRISTAN       1214 OAK MNR                                                                               BEDFORD         IN   47421‐2737
MR NATHAN M KRISTAN       511 N JACKSON ST                                                                           BEDFORD         IN   47421‐1529
MR NATHAN P CHAVEZ        2135 HUBBARD ST APT 29                                                                     DETROIT         MI   48209‐3322
MR NATHAN S SMITH         1377 READY AVE                                                                             BURTON          MI   48529‐2051
MR NATHAN T URBAN         1404 GRAM ST                                                                               BURTON          MI   48529‐2040
MR NATHANIAL CWIKLINSKI   2057 E WILLIAMSON ST                                                                       BURTON          MI   48529‐2443
MR NATHANIEL COOKS        89 W STRATHMORE AVE                                                                        PONTIAC         MI   48340‐2773
MR NATHANIEL D KINNICK    2317 N ARMSTRONG ST                                                                        KOKOMO          IN   46901‐5874
MR NATHANIEL E HARPER     1907 I ST                                                                                  BEDFORD         IN   47421‐4651
MR NATHANIEL W LARUE JR   702 FALLON AVE                                                                             WILMINGTON      DE   19804‐2114
MR NATHANIEL W LARUE SR   614 BOXWOOD RD                                                                             WILMINGTON      DE   19804‐2011
MR NEAL A WELKER          19 BALSAM RD                                                                               WILMINGTON      DE   19804‐2642
MR NEAL K CARTIN          46 HIGHLAND AVE                                                                            MASSENA         NY   13662‐1725
MR NEAL P SMITH           11330 AARON DR                                                                             CLEVELAND       OH   44130‐1263
MR NEAL R WARNE           68 W CORNELL AVE                                                                           PONTIAC         MI   48340‐2716
MR NEARIE T THACH         901 STIRLING ST                                                                            PONTIAC         MI   48340‐3175
MR NED A CROW             1400 W 11TH ST                                                                             MUNCIE          IN   47302‐2171
MR NED E INSKEEP JR       1510 W 6TH ST                                                                              MUNCIE          IN   47302‐2105
MR NEIL G MARAJ           501 S WOODWARD AVE                                                                         WILMINGTON      DE   19805‐2364
MR NEIL J HANNIBAL        5619 NATHAN DR                                                                             PARMA           OH   44130‐1561
MR NEIL W THOMAS          1445 OAK HOLLOW DR                                                                         MILFORD         MI   48380‐4264
MR NELSON CIURO           95 HUDSON AVE                                                                              PONTIAC         MI   48342‐1247
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Name                      Address1                     Address2                       Address3            Address4               City            State Zip
MR NELSON E DURNELL       4728 TOLEDO ST                                                                                         DETROIT          MI 48209‐1373
MR NELSON E WILSON        1255 AMOS ST                                                                                           PONTIAC          MI 48342‐1805
MR NELSON G FRANKLIN      4195 WOODROW AVE                                                                                       BURTON           MI 48509‐1051
MR NELSON JOHNSON         4245 BARNES AVE                                                                                        BURTON           MI 48529‐2421
MR NELSON LOPEZ           673 INGLEWOOD AVE                                                                                      PONTIAC          MI 48340‐2310
MR NELSON PACHECO         5831 N MARSH BANK LN         APT 203                                                                   CLARKSTON        MI 48346‐4703
MR NELSON R SMITH         11216 MANSFIELD CLUB DR                                                                                FREDERICKSBRG    VA 22408‐2046
MR NELSON W ROCK          4298 COLUMBINE AVE                                                                                     BURTON           MI 48529‐2433
MR NEMESIO P CAMARGO      11252 NAOMI DR                                                                                         PARMA            OH 44130‐1556
MR NGAR L LEW             410 W FAIRMOUNT AVE                                                                                    PONTIAC          MI 48340‐1620
MR NICHOLAS A HARDY       507 ROCHELLE AVE                                                                                       WILMINGTON       DE 19804‐2119
MR NICHOLAS A SIPES       4223 PEERLESS RD                                                                                       BEDFORD          IN 47421‐8114
MR NICHOLAS B LEE         1945 W 9TH ST                                                                                          MUNCIE           IN 47302‐2124
MR NICHOLAS C DEAN        610 E PATERSON ST APT 1                                                                                FLINT            MI 48505‐4744
MR NICHOLAS C RICCARDI    89 W TENNYSON AVE                                                                                      PONTIAC          MI 48340‐2671
MR NICHOLAS D BURNETT     1426 KENNETH ST                                                                                        BURTON           MI 48529‐2208
MR NICHOLAS D DAVIDSON    52 EUCLID AVE                                                                                          PONTIAC          MI 48342‐1112
MR NICHOLAS GIBBS         1300 W 1ST ST                                                                                          MUNCIE           IN 47305‐2107
MR NICHOLAS J GUGLIELMO   41 GUILD RD                                                                                            FRAMINGHAM       MA 01702‐8762
MR NICHOLAS J MONDELLA    11161 HALLER ST                                                                                        LIVONIA          MI 48150‐3142
MR NICHOLAS J STELLMAN    454 FOX HILLS DR N APT 6                                                                               BLOOMFIELD       MI 48304‐1331
MR NICHOLAS LUNA          710 WOODSEDGE RD                                                                                       WILMINGTON       DE 19804‐2626
MR NICHOLAS MATTHEWS      11280 KAREN ST                                                                                         LIVONIA          MI 48150‐3181
MR NICHOLAS R BODIE       1117 NELSON ST                                                                                         FLINT            MI 48503‐1823
MR NICHOLAS R LOPEZ       151 PUTNAM AVE                                                                                         PONTIAC          MI 48342‐1268
MR NICHOLAS S MOSS        2094 KENNETH ST                                                                                        BURTON           MI 48529‐1351
MR NICHOLAS T PATOUHAS    903 LOWELL ST                                                                                          ELYRIA           OH 44035‐4846
MR NICHOLAS TAYLOR        2039 E BERGIN AVE                                                                                      BURTON           MI 48529‐1701
MR NICHOLAS V RHOADS      8 LYNBROOK RD                                                                                          WILMINGTON       DE 19804‐2620
MR NICHOLAS W BARKSDALE   173 W PRINCETON AVE                                                                                    PONTIAC          MI 48340‐1843
MR NICHOLAS W SKIVER      1410 WEBBER AVE                                                                                        BURTON           MI 48529‐2034
MR NICHOLAS WASHINGTON    35 E HURON ST                                                                                          PONTIAC          MI 48342‐2203
MR NICHOLAS WHEATLEY      794 EMERSON AVE                                                                                        PONTIAC          MI 48340‐3221
MR NICK A GLASSBURN       2127 N BUCKEYE ST                                                                                      KOKOMO           IN 46901‐5812
MR NICK D JACKMAN         11451 SHARON DR APT C801                                                                               PARMA            OH 44130‐1444
MR NICK E PITTAS          21 READ AVE                                                                                            WILMINGTON       DE 19804‐2033
MR NICK FIELDS            402 BAILEY SCALES RD                                                                                   BEDFORD          IN 47421‐9394
MR NICK MOUHOS            3583 28TH ST                                                                                           DETROIT          MI 48210‐3103
MR NICKOLAS R ALLEN       1045 NELSON ST                                                                                         FLINT            MI 48503‐1840
MR NICKOLAS R CALDWELL    2087 E BUDER AVE                                                                                       BURTON           MI 48529‐1731
MR NICKY GRIFFIN          592 KETTERING AVE                                                                                      PONTIAC          MI 48340‐3242
MR NICOLAS D RENDON JR    938 FAIRVIEW AVE                                                                                       PONTIAC          MI 48340‐2521
MR NICOLAS MOSES          1175 BALDWIN AVE                                                                                       PONTIAC          MI 48340‐2709
MR NICOLAS R LENARES      1518 N LAFOUNTAIN ST                                                                                   KOKOMO           IN 46901‐2326
MR NICOLAS RAMIREZ        2194 LANSING ST                                                                                        DETROIT          MI 48209‐1673
MR NICOS JOHN YIANNAKIS   MRS AIMILIA CHOUTOPOULOU     MISS ELENI EFROSYNI YIANNAKI   SYROU 6, HOLARGOS   155 62 ATHENS GREECE
MR NIGEL A PARRIS         62 LYNBROOK RD                                                                                         WILMINGTON      DE 19804‐2670
MR NIKOLAOS MOIRASGETIS   MRS RACHIL MOIRASGETI        MR ALEXANDROS MOIRASGETIS      10 IGOUMENITSIS     VOULA ATTICA 16673
                                                                                                          GREECE
MR NIKOLAY LOPATIK        1725 FOX RIVER DR                                                                                      BLOOMFIELD      MI 48304‐1019
MR NILE C BURGER          2163 E BERGIN AVE                                                                                      BURTON          MI 48529‐1703
MR NILS G GALLECK         786 STANLEY AVE                                                                                        PONTIAC         MI 48340‐2556
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Name                           Address1                       Address2            Address3         Address4         City            State Zip
MR NIMAN JAMALIYA              11225 N SAGINAW ST                                                                   MOUNT MORRIS     MI 48458‐2066
MR NITHYASARA V SUNDARARAJAN   509 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1311
MR NOBLE D LEE                 225 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1855
MR NOBLE NEW                   1401 10TH ST                                                                         BEDFORD          IN 47421‐2531
MR NOEL E KESTER               1489 JAMES ST                                                                        BURTON           MI 48529‐1233
MR NOEL E WESTLEY              19 W CONRAD DR                                                                       WILMINGTON       DE 19804‐2018
MR NOEL M MORALES JR           705 EMERSON AVE                                                                      PONTIAC          MI 48340‐3220
MR NOEL QUINONEZ               30 LYNBROOK RD                                                                       WILMINGTON       DE 19804‐2671
MR NOEL SHANGRAW               281 MAIN ST                                                                          MASSENA          NY 13662‐1983
MR NOEL W SUTTON               91 PUTNAM AVE                                                                        PONTIAC          MI 48342‐1266
MR NONDUS M CRAIG              418 W 7TH ST                                                                         MUNCIE           IN 47302‐3104
MR NORMAL L MELTON             5900 BRIDGE RD APT 911                                                               YPSILANTI        MI 48197‐6900
MR NORMAN A UNDERWOOD          2086 COVERT RD                                                                       BURTON           MI 48509‐1011
MR NORMAN C BEVINS             76 PROSPECT AVE                                                                      MASSENA          NY 13662‐1742
MR NORMAN D KLAWENDER          29228 ELMIRA ST                                                                      LIVONIA          MI 48150‐3168
MR NORMAN D STIGALL            1531 J ST                                                                            BEDFORD          IN 47421‐3839
MR NORMAN E ARENS              1932 W 9TH ST                                                                        MUNCIE           IN 47302‐2123
MR NORMAN E GIFFORD            7230 HARVARD AVE                                                                     MOUNT MORRIS     MI 48458‐2143
MR NORMAN E GRAHAM             1137 CLOVERLAWN DR                                                                   PONTIAC          MI 48340‐1615
MR NORMAN E LESZCZ             11800 BROOKPARK RD TRLR 134                                                          CLEVELAND        OH 44130‐1189
MR NORMAN E LINDLEY            904 W 10TH ST                                                                        MUNCIE           IN 47302‐3192
MR NORMAN E SNYDER             1511 N WABASH AVE                                                                    KOKOMO           IN 46901‐2010
MR NORMAN F GRINNAGE JR        23 LLOYD ST                                                                          WILMINGTON       DE 19804‐2819
MR NORMAN F SKUDERIN           5481 ALEXANDER RD                                                                    CLEVELAND        OH 44130‐1321
MR NORMAN J DUNCAN             919 GOULD RD                                                                         LANSING          MI 48917‐1753
MR NORMAN NIEHAUS              2028 N MORRISON ST                                                                   KOKOMO           IN 46901‐2145
MR NORMAN P BOGIA SR           501 BOXWOOD RD                                                                       WILMINGTON       DE 19804‐2009
MR NORMAN R BRILLHART          2199 LANSING ST APT 105                                                              DETROIT          MI 48209‐2288
MR NORMAN R CAINE              1230 S HOYT AVE                                                                      MUNCIE           IN 47302‐3113
MR NORMAN R OLSON              1725 M ST                                                                            BEDFORD          IN 47421‐4226
MR NORMAN RUSSELL              809 W 11TH ST                                                                        MUNCIE           IN 47302‐3170
MR NORMAN W HECKARD            2975 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8045
MR NORRIS WALKER               760 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3100
MR OBIE L BLACK                1134 W 16TH ST                                                                       MUNCIE           IN 47302‐3079
MR OCIE I BROWN                233 MADISON ST                                                                       BEDFORD          IN 47421‐1829
MR OCIE JOHNSON                558 E WITHERBEE ST                                                                   FLINT            MI 48505‐4703
MR OCTAVIO E WILLIAMS JR       1518 TULANE CIR                                                                      FLINT            MI 48503‐5251
MR ODELL BROWN                 2052 E BERGIN AVE                                                                    BURTON           MI 48529‐1702
MR OLAF D BENTLEY              4091 RISEDORPH ST                                                                    BURTON           MI 48509‐1067
MR OLIN R KIRKMAN              412 BAILEY SCALES RD                                                                 BEDFORD          IN 47421‐9395
MR OLIVER C PRYOR JR           10800 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8043
MR OLIVER E CHAPMAN            2009 AVENUE A                                                                        FLINT            MI 48505‐4615
MR OLIVER E CHASTAIN SR        1716 K ST                                                                            BEDFORD          IN 47421‐4235
MR OLIVER SEAH                 1120 LORENE AVE                                                                      MOUNT MORRIS     MI 48458‐2136
MR OMAN FERNANDEZ              100 LAKEVIEW AVE APT 3A                                                              CLIFTON          NJ 07011
MR OMAR D TAME JR              794 PENSACOLA AVE                                                                    PONTIAC          MI 48340‐2359
MR OMAR F SINN                 924 I ST                                                                             BEDFORD          IN 47421‐2624
MR OMAR FACUNDO                4733 MERRITT ST                                                                      DETROIT          MI 48209‐1354
MR OMAR MORA                   163 W TENNYSON AVE                                                                   PONTIAC          MI 48340‐2673
MR OMAR ROSARIO                804 ROBINWOOD ST                                                                     PONTIAC          MI 48340‐3143
MR OMER D BREWER               86 W BEVERLY AVE                                                                     PONTIAC          MI 48340‐2618
MR OMER D BREWER               1132 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1734
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Name                       Address1                       Address2            Address3         Address4             City            State Zip
MR ONEAL ALLEN JR          220 W HOPKINS AVE                                                                        PONTIAC          MI 48340‐1824
MR OREEDA R FOSTER         1937 W 9TH ST                                                                            MUNCIE           IN 47302‐2124
MR ORLANDO ROBERTSON       215 W KENNETT RD                                                                         PONTIAC          MI 48340‐2653
MR ORRICK F JOHNSON JR     203 BROOKE DR                                                                            FREDERICKSBRG    VA 22408‐2003
MR ORVAL J MCGINNIS        666 HELEN ST                                                                             MOUNT MORRIS     MI 48458‐1925
MR ORVILLE C SKAGGS        1408 S KINNEY AVE                                                                        MUNCIE           IN 47302‐3140
MR ORVILLE G SCHAEFER      141 LEGRANDE AVE                                                                         PONTIAC          MI 48342‐1136
MR OSCAR A GOMEZ           2110 VINEWOOD ST                                                                         DETROIT          MI 48216‐5515
MR OSCAR A SCOTT           4807 MERRITT ST                                                                          DETROIT          MI 48209‐1354
MR OSCAR D CLINE           414 ELM ST                                                                               MOUNT MORRIS     MI 48458‐1914
MR OSCAR D WALTMIRE        1515 PATTENGILL AVE                                                                      LANSING          MI 48910‐1110
MR OSCAR HALL              1526 N MCCANN ST                                                                         KOKOMO           IN 46901‐2060
MR OSCAR L LOPEZ JR        151 W ANN ARBOR AVE                                                                      PONTIAC          MI 48340‐1801
MR OSCAR LAVALAIS          814 MELROSE ST                                                                           PONTIAC          MI 48340‐3123
MR OSCAR MENDEZ            4871 KONKEL ST                                                                           DETROIT          MI 48210‐3207
MR OSCAR TORRES            249 HIGH ST                                                                              PONTIAC          MI 48342‐1122
MR OSCAR TORRES            662 KENILWORTH AVE                                                                       PONTIAC          MI 48340‐3238
MR OSVALDO C CAO           415 BRYNFORD AVE                                                                         LANSING          MI 48917‐2996
MR OSVALDO S LOPEZ         3407 LOCKWOOD ST                                                                         DETROIT          MI 48210‐3254
MR OSWALDO HERNANDEZ       4610 PLUMER ST                                                                           DETROIT          MI 48209‐1470
MR OTIS CANNON             900 BAY ST                                                                               PONTIAC          MI 48342‐1904
MR OTIS ECHOLS II          25 STEGMAN LN                                                                            PONTIAC          MI 48340‐1662
MR OTIS F ROGERS           1461 JOLSON AVE                                                                          BURTON           MI 48529‐2029
MR OTIS J PICKENS          2734 VINEWOOD ST                                                                         DETROIT          MI 48216‐1021
MR OTIS L GREEN            1422 N LAFOUNTAIN ST                                                                     KOKOMO           IN 46901‐2309
MR OTIS L HARRIS           1401 N BELL ST                                                                           KOKOMO           IN 46901‐2302
MR OTIS M HARRIS           208 BLOOMFIELD BLVD                                                                      BLOOMFIELD       MI 48302‐0510
MR OTIS M WATT             1100 NEWPORT GAP PIKE                                                                    WILMINGTON       DE 19804‐2842
MR OTIS O JERNAGIN         380 W HOPKINS AVE APT 206                                                                PONTIAC          MI 48340‐1765
MR OTTO BECK               KUHSTEIGGASSE 26                                                    D‐72581 DETTINGEN
                                                                                               GERMANY
MR OTTO D GHEE             78 1/2 S MARSHALL ST                                                                     PONTIAC         MI   48342‐2954
MR OWEN CLARK              74 PINGREE AVE                                                                           PONTIAC         MI   48342‐1155
MR OWEN Y REAGAN           1616 W 9TH ST                                                                            MUNCIE          IN   47302‐2199
MR OZZIE L PAYNE           816 PALMER DR                                                                            PONTIAC         MI   48342‐1858
MR PABLO ALEJANDRE         4648 TOLEDO ST                                                                           DETROIT         MI   48209‐1371
MR PABLO CORTEZ            3293 GOLDNER ST                                                                          DETROIT         MI   48210‐3232
MR PABLO ESCALANTE         196 W YALE AVE                                                                           PONTIAC         MI   48340‐1864
MR PABLO HRYZODUB          3345 GOLDNER ST                                                                          DETROIT         MI   48210‐3232
MR PABLO L CORREA SR       198 W RUNDELL ST                                                                         PONTIAC         MI   48342‐1271
MR PABLO LOPEZ             808 CORWIN CT                                                                            PONTIAC         MI   48340‐2416
MR PABLO MAGANA            2405 SYLVAN AVE                                                                          WILMINGTON      DE   19805‐2342
MR PABLO MORAN JR          370 W HOPKINS AVE APT 207                                                                PONTIAC         MI   48340‐1761
MR PABLO R GARCIA 3D       636 LANCASTER LN                                                                         PONTIAC         MI   48342‐1851
MR PALLACE U HARRELL       5900 BRIDGE RD APT 110                                                                   YPSILANTI       MI   48197‐7010
MR PANKAJKUMAR B JHAVERI   6060 N SAGINAW RD                                                                        MOUNT MORRIS    MI   48458‐2402
MR PAO L LOR               257 W BEVERLY AVE                                                                        PONTIAC         MI   48340‐2625
MR PAO LOR                 397 W COLUMBIA AVE                                                                       PONTIAC         MI   48340‐1619
MR PASCUAL E TORMEN        3325 SYLVAN RD                                                                           LANSING         MI   48917‐2336
MR PASQUALE F TOFANI       4 BRACKETT RD                                                                            FRAMINGHAM      MA   01702‐8741
MR PAT D WILLIAMSON        1620 N INDIANA AVE                                                                       KOKOMO          IN   46901‐2044
MR PAT HANEY               500 SCHAFFER AVE                                                                         SYRACUSE        NY   13206‐1556
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Name                                Address1                       Address2              Address3       Address4                 City           State Zip
MR PATRIC TRENKLE                   MUHLWEG 38                                                          76799 SCHEIBENHARDT
                                                                                                        GERMANY
MR PATRICIO V BUTAY                 407 HOLLIS ST                                                                                FRAMINGHAM     MA    01702‐8646
MR PATRICK A BRONCHETTI             57 PROSPECT AVE                                                                              MASSENA        NY    13662‐1747
MR PATRICK A LAVEAN                 53 NIGHTENGALE AVE                                                                           MASSENA        NY    13662‐1719
MR PATRICK A NICKEO                 209 RILEY BLVD                                                                               BEDFORD        IN    47421‐9646
MR PATRICK A NICKEO                 9134 E 10TH ST APT 5                                                                         INDIANAPOLIS   IN    46229‐2582
MR PATRICK A POWELL                 21 BALSAM RD                                                                                 WILMINGTON     DE    19804‐2642
MR PATRICK A SMITH                  146 E ORVIS ST                                                                               MASSENA        NY    13662‐2267
MR PATRICK D BEARD                  1209 W MEMORIAL DR                                                                           MUNCIE         IN    47302‐2243
MR PATRICK D NEPH                   2068 E BERGIN AVE                                                                            BURTON         MI    48529‐1702
MR PATRICK F GRAYBILL               865 STIRLING ST                                                                              PONTIAC        MI    48340‐3166
MR PATRICK G GARDNER                2 STRAWBERRY HILL RD                                                                         SOUTHBOROUGH   MA    01772‐1443
MR PATRICK H MATTUCCI               607 N WALNUT ST                                                                              WILMINGTON     DE    19804‐2623
MR PATRICK J FRIEL PHD              FMT CO CUST FBO                389 W DOERR PATH                                              HERNANDO       FL    34442
MR PATRICK J JOHNSON                39 SALLEE LN                                                                                 PONTIAC        MI    48340‐1656
MR PATRICK J OMALLEY                2128 E WILLIAMSON ST                                                                         BURTON         MI    48529‐2444
MR PATRICK J PARKS                  17 READ AVE                                                                                  WILMINGTON     DE    19804‐2033
MR PATRICK J TERRY                  1211 M ST                                                                                    BEDFORD        IN    47421‐2930
MR PATRICK JENKINS                  13 LYNBROOK RD                                                                               WILMINGTON     DE    19804‐2668
MR PATRICK K DONOVAN                11121 AARON DR                                                                               CLEVELAND      OH    44130‐1365
MR PATRICK KELLY                    686 E FOX HILLS DR                                                                           BLOOMFIELD     MI    48304‐1360
MR PATRICK L HUNTOON                69 W RUTGERS AVE                                                                             PONTIAC        MI    48340‐2755
MR PATRICK L VANDERWORP             210 W YALE AVE                                                                               PONTIAC        MI    48340‐1866
MR PATRICK LEMMENS                  DEUTSCHE BANK SA/NV            AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MR PATRICK LEMMENS & MRS KATHLEEN   C/O DEUTSCHE BANK SA/NV        AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
ROMBOUT
MR PATRICK LEMMES                   C/O DEUTSCHE BANK SA NV        AVENUE MARNIX 13‐15                  1000 BRUXEILES BELGIUM
MR PATRICK M CASEY                  55 BRIDGES AVE                                                                               MASSENA        NY    13662‐1855
MR PATRICK M GHOSTLAW               64 ANDREWS ST                                                                                MASSENA        NY    13662‐1858
MR PATRICK M MCCURDY                517 OAK ST                                                                                   MOUNT MORRIS   MI    48458‐1932
MR PATRICK M WOOD                   36 NIGHTENGALE AVE                                                                           MASSENA        NY    13662‐1715
MR PATRICK MOJET                    863 INGLEWOOD AVE                                                                            PONTIAC        MI    48340‐2314
MR PATRICK O HINTON                 110 PUTNAM AVE                                                                               PONTIAC        MI    48342‐1263
MR PATRICK O MARTIN                 1082 DOWAGIAC AVE                                                                            MOUNT MORRIS   MI    48458‐2558
MR PATRICK O'MALLEY                 2125 E WILLIAMSON ST                                                                         BURTON         MI    48529‐2445
MR PATRICK OVERTON                  1137 M ST                                                                                    BEDFORD        IN    47421‐2928
MR PATRICK R HERMSTEIN              1442 E SCHUMACHER ST                                                                         BURTON         MI    48529‐1622
MR PATRICK R LONEY                  5647 CHEVROLET BLVD APT 1                                                                    PARMA          OH    44130‐8711
MR PATRICK RICHARDSON               1105 N MAIN ST                                                                               KOKOMO         IN    46901‐2850
MR PATRICK S BYRNE                  2056 E SCOTTWOOD AVE                                                                         BURTON         MI    48529‐1750
MR PATRICK T DURNER                 751 DURANT ST                                                                                LANSING        MI    48915‐1381
MR PATRICK T PRAY                   1060 DOROTHY ST                                                                              MOUNT MORRIS   MI    48458‐2225
MR PATRICK TUBBS                    570 BEACH ST                                                                                 MOUNT MORRIS   MI    48458‐1906
MR PATRICK W HUNT                   2038 WICKFORD CT                                                                             BLOOMFIELD     MI    48304‐1087
MR PATRICK W KEMPER                 2002 N MARKET ST                                                                             KOKOMO         IN    46901‐2345
MR PATRICK W LEWIS                  23 SALLEE LN                                                                                 PONTIAC        MI    48340‐1656
MR PATRICK W ROBBINS                405 SHANDELL DR                                                                              BEDFORD        IN    47421‐9661
MR PATRICK W SMITH                  22 KENT ST                                                                                   MASSENA        NY    13662‐2119
MR PAUL A BEARD                     2474 WHITNEY AVE                                                                             ONTARIO        OH    44906‐1199
MR PAUL A BURKS                     1618 W 8TH ST                                                                                MUNCIE         IN    47302‐2193
MR PAUL A BUSUTTIL                  1162 CHERRYLAWN DR                                                                           PONTIAC        MI    48340‐1704
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Name                              Address1                       Address2              Address3       Address4                 City            State Zip
MR PAUL A COOK                    1909 S PERKINS AVE                                                                           MUNCIE           IN 47302‐6620
MR PAUL A DAGLEY                  2918 HARWICK DR APT 7                                                                        LANSING          MI 48917‐2358
MR PAUL A DAIGLE II               20 GUILD RD                                                                                  FRAMINGHAM       MA 01702‐8713
MR PAUL A DONNELLY                4027 WOODROW AVE                                                                             BURTON           MI 48509‐1050
MR PAUL A FRANKLIN                604 PAGE ST                                                                                  FLINT            MI 48505‐4736
MR PAUL A HAGGETT                 17 NIGHTENGALE AVE                                                                           MASSENA          NY 13662‐1720
MR PAUL A ILG                     1265 CHERRYLAWN DR                                                                           PONTIAC          MI 48340‐1707
MR PAUL A KELSEY                  547 WALNUT ST                                                                                MOUNT MORRIS     MI 48458‐1952
MR PAUL A LONG JR                 1403 ROOSEVELT AVE                                                                           JANESVILLE       WI 53546‐6035
MR PAUL A LOVE                    125 WHITE LN                                                                                 BEDFORD          IN 47421‐9222
MR PAUL A MEEHLEDER               1601 N CENTER RD                                                                             FLINT            MI 48506‐4203
MR PAUL A MILLER II               604 FOX RIVER DR                                                                             BLOOMFIELD       MI 48304‐1012
MR PAUL A RUFA                    19 CHESTNUT ST                                                                               MASSENA          NY 13662‐1807
MR PAUL A RUTKOWSKI               39 READ AVE                                                                                  WILMINGTON       DE 19804‐2033
MR PAUL A SCHULTZ                 1228 KELLOGG AVE                                                                             JANESVILLE       WI 53546‐6020
MR PAUL A SMITH                   1108 AMOS ST                                                                                 PONTIAC          MI 48342‐1802
MR PAUL A SOWATZKI                1105 KELLOGG AVE TRLR B1                                                                     JANESVILLE       WI 53546‐6083
MR PAUL A WHITE                   229 MAIN ST # 1                                                                              MASSENA          NY 13662‐1904
MR PAUL A WILLER                  12 PROSPECT AVE                                                                              MASSENA          NY 13662‐1745
MR PAUL B CHIRICH                 1711 N CENTER RD                                                                             FLINT            MI 48506‐4204
MR PAUL B MACKEY                  1 GENERAL MOTORS DR STE 1                                                                    SYRACUSE         NY 13206‐1122
MR PAUL B SCHMANSKY               2036 FOX GLEN CT                                                                             BLOOMFIELD       MI 48304‐1006
MR PAUL BALLEGEER                 C/O DEUTSCHE BANK SA/NV        AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR PAUL BERNSTEIN                 2000 BOOTMAKER LN                                                                            BLOOMFIELD      MI   48304‐1004
MR PAUL C CICCHINI                663 S SPINNINGWHEEL LN                                                                       BLOOMFIELD      MI   48304‐1324
MR PAUL C DENESHA JR              125 WOODLAND DR                                                                              BEDFORD         IN   47421‐6306
MR PAUL C KIRBY                   815 MORRIS AVE                                                                               LANSING         MI   48917‐2326
MR PAUL C OWENS                   2001 N CENTER RD APT 310                                                                     FLINT           MI   48506‐3183
MR PAUL C RODRIGUEZ               810 KENILWORTH AVE                                                                           PONTIAC         MI   48340‐3102
MR PAUL C WILLIAMS JR             1808 W 6TH ST                                                                                MUNCIE          IN   47302‐2187
MR PAUL CRISWELL                  905 W 14TH ST                                                                                MUNCIE          IN   47302‐7613
MR PAUL D BLEACHER                2611 LINKWOOD AVE                                                                            WILMINGTON      DE   19805‐2333
MR PAUL D MCQUIRTER               1159 CHESTNUT ST                                                                             PONTIAC         MI   48342‐1891
MR PAUL D PETERSON                1321 2ND ST                                                                                  BEDFORD         IN   47421‐1801
MR PAUL DE SCHUTTER & MRS HILDA   DEUTSCHE BANK SA/NV            AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
PATTEET
MR PAUL DECIECHI                  121 W CORNELL AVE                                                                            PONTIAC         MI   48340‐2721
MR PAUL E BALL                    2429 FERGUSON RD                                                                             ONTARIO         OH   44906‐1106
MR PAUL E FISHER                  1115 W 16TH ST                                                                               MUNCIE          IN   47302‐3080
MR PAUL E MILLER JR               1224 L ST                                                                                    BEDFORD         IN   47421‐2921
MR PAUL E MUNGER                  1490 BRADY AVE                                                                               BURTON          MI   48529‐2012
MR PAUL E WEBER                   2412 N SOUTH POOR FARM RD                                                                    BEDFORD         IN   47421‐9268
MR PAUL F MEYER                   1513 16TH ST                                                                                 BEDFORD         IN   47421‐3609
MR PAUL F MURPHY                  203 E ORVIS ST                                                                               MASSENA         NY   13662‐2254
MR PAUL G BAWOL                   2700 JUNCTION ST                                                                             DETROIT         MI   48209‐1330
MR PAUL G PEREZ                   1119 E PRINCETON AVE                                                                         FLINT           MI   48505‐1515
MR PAUL G TRADER                  2206 LINKWOOD AVE                                                                            WILMINGTON      DE   19805‐2420
MR PAUL G TYSON                   2180 PALMS ST                                                                                DETROIT         MI   48209‐1665
MR PAUL H CUMMINGS                2605 MELISSA CT                                                                              FREDERICKSBRG   VA   22408‐8070
MR PAUL H DAILEY                  1250 STANLEY AVE                                                                             PONTIAC         MI   48340‐1745
MR PAUL H HOPPE                   514 ELM ST                                                                                   MOUNT MORRIS    MI   48458‐1916
MR PAUL H KING                    2 SCHOOL ST                                                                                  MASSENA         NY   13662‐1712
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Name                                Address1                      Address2             Address3        Address4                 City            State Zip
MR PAUL H POSCHEL                   9721 HARBOUR COVE CT                                                                        YPSILANTI        MI 48197‐6902
MR PAUL HARRIGAN                    50 N ALLEN ST                                                                               MASSENA          NY 13662‐2802
MR PAUL HOOLEY                      302 BRIGHTON AVE                                                                            WILMINGTON       DE 19805‐2408
MR PAUL ILG                         624 KENILWORTH AVE                                                                          PONTIAC          MI 48340‐3236
MR PAUL J CRESCENZO SR              36 LYNBROOK RD                                                                              WILMINGTON       DE 19804‐2671
MR PAUL J DINETTA                   5 W KEYSTONE AVE                                                                            WILMINGTON       DE 19804‐2027
MR PAUL J DISHAW                    1 GRASSMERE TER APT 14                                                                      MASSENA          NY 13662‐2161
MR PAUL J DOWDY                     14 GUILD RD                                                                                 FRAMINGHAM       MA 01702‐8713
MR PAUL J DUDLEY                    1035 MEADOWLAWN DR                                                                          PONTIAC          MI 48340‐1731
MR PAUL J GRABINSKI                 7 LYNAM PL                                                                                  WILMINGTON       DE 19804‐2031
MR PAUL J HIBBENS                   6142 BOB DR                                                                                 YPSILANTI        MI 48197‐7004
MR PAUL J HRITZ                     679 HELEN ST                                                                                MOUNT MORRIS     MI 48458‐1924
MR PAUL J KRUEGER                   5526 QUEENS HWY                                                                             CLEVELAND        OH 44130‐1316
MR PAUL J KWASNEY                   42 N ALLEN ST                                                                               MASSENA          NY 13662‐1802
MR PAUL J MADDEN JR                 1298 LOCKE ST                                                                               PONTIAC          MI 48342‐1946
MR PAUL J SANAZARO                  10824 SAMANTHA PL                                                                           FREDERICKSBRG    VA 22408‐8043
MR PAUL J SUCHY                     5500 QUEENS HWY                                                                             CLEVELAND        OH 44130‐1316
MR PAUL J WHITING 3D                1520 OAK HOLLOW DR                                                                          MILFORD          MI 48380‐4265
MR PAUL K PRATT                     1520 N INDIANA AVE                                                                          KOKOMO           IN 46901‐2046
MR PAUL L KNOWLES JR                1047 CHERRYLAWN DR                                                                          PONTIAC          MI 48340‐1701
MR PAUL L STAGER                    366 W KENNETT RD                                                                            PONTIAC          MI 48340‐1728
MR PAUL L WAGGONER                  1215 N LAFOUNTAIN ST                                                                        KOKOMO           IN 46901‐2921
MR PAUL M ELLISON                   3 LLOYD ST                                                                                  WILMINGTON       DE 19804‐2819
MR PAUL M MUHLSTADT                 11271 AARON DR                                                                              CLEVELAND        OH 44130‐1262
MR PAUL M SULAICA JR                9253 EVEE RD                                                                                CLARKSTON        MI 48348‐3011
MR PAUL M WILLIAMS                  1416 W 9TH ST                                                                               MUNCIE           IN 47302‐2167
MR PAUL NICHOLS                     1431 W 11TH ST                                                                              MUNCIE           IN 47302‐2170
MR PAUL P SHERMAN                   1116 COOPER AVE                                                                             LANSING          MI 48918
MR PAUL POTTER                      830 ORLANDO AVE                                                                             PONTIAC          MI 48340‐2355
MR PAUL R DOSECK                    8310 MURRAY RIDGE RD                                                                        ELYRIA           OH 44035‐4747
MR PAUL R FERRIBY                   2227 E BERGIN AVE                                                                           BURTON           MI 48529‐1780
MR PAUL R HIGHETT                   510 S SPINNINGWHEEL LN                                                                      BLOOMFIELD       MI 48304‐1318
MR PAUL R JACOBS                    1246 E WALTON BLVD            APT 114                                                       PONTIAC          MI 48340‐1580
MR PAUL R WAGNER                    10649 DEBORAH DR                                                                            PARMA HEIGHTS    OH 44130‐1371
MR PAUL R ZUHLKE SR                 2103 DELANEY ST                                                                             BURTON           MI 48509‐1024
MR PAUL S GRATZER                   1107 18TH ST                                                                                BEDFORD          IN 47421‐4232
MR PAUL S HITTLE                    2077 E MCLEAN AVE                                                                           BURTON           MI 48529‐1737
MR PAUL S HYNSON                    2610 SYLVAN AVE                                                                             WILMINGTON       DE 19805‐2345
MR PAUL S WILSEY                    103 BROOKLAND DR                                                                            SYRACUSE         NY 13208‐3212
MR PAUL S YOUNG                     2272 E BUDER AVE                                                                            BURTON           MI 48529‐1776
MR PAUL SCHOETERS & MRS FRANCOISE   C/O DEUTSCHE BANK SA/NV       AVENUE MAMIX 13 15                   1000 BRUXELLES BELGIUM
GERARD
MR PAUL SCHOETERS & MRS FRANCOISE   DEUTSCHE BANK SA NV           AVENUE MARNIX                        1000 BRUXELLES BELGIUM
GERARD
MR PAUL SHIPMAN                     1408 18TH ST                                                                                BEDFORD         IN   47421‐4108
MR PAUL T CHILKOTT                  714 CORWIN AVE                                                                              PONTIAC         MI   48340‐2412
MR PAUL T RINZ                      1493 JAMES ST                                                                               BURTON          MI   48529‐1233
MR PAUL T ROBERTS                   1173 CHERRYLAWN DR                                                                          PONTIAC         MI   48340‐1705
MR PAUL ULBRICH                     LILIENCRONSTR 16                                                   D‐12167 BERLIN GERMANY
MR PAUL V KIVELA SR                 339 N DEERFIELD AVE                                                                         LANSING         MI 48917‐2910
MR PAUL V MARKELL                   1105 MEADOWLAWN DR                                                                          PONTIAC         MI 48340‐1733
MR PAUL V MERCURIO SR               16 BRACKETT RD                                                                              FRAMINGHAM      MA 01702‐8741
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MR PAUL W HILDERBRAND    1723 N ST                                                                            BEDFORD          IN 47421‐4113
MR PAUL W LUCAS          3315 UPTON RD                                                                        LANSING          MI 48917‐2340
MR PAUL W MCARTOR        1207 3RD ST                                                                          BEDFORD          IN 47421‐1803
MR PAUL W POLK           224 W BUTLER ST                                                                      KOKOMO           IN 46901‐2261
MR PAUL W SIMONDS JR     210 GREENWOOD RD                                                                     WILMINGTON       DE 19804‐2653
MR PAUL W SIMONDS SR     725 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2627
MR PAUL W STOUT          801 W 5TH ST                                                                         MUNCIE           IN 47302‐2206
MR PAUL W WESTERMEYER    2904 BROYHILL CT                                                                     FREDERICKSBRG    VA 22408‐2069
MR PAUL ZUHLKE           2029 DELANEY ST                                                                      BURTON           MI 48509‐1022
MR PAUL ZULHKE           2066 DELANEY ST                                                                      BURTON           MI 48509‐1023
MR PAULO H SILVA         15 NIPMUC RD                                                                         FRAMINGHAM       MA 01702‐7227
MR PDAVID D RUOPP        480 FOX HILLS DR S APT 2                                                             BLOOMFIELD       MI 48304‐1356
MR PECHONE L REAVES      11282 MIDDLEBELT RD                                                                  LIVONIA          MI 48150‐3080
MR PEDRO A GRISALES      447 HOLLIS ST                                                                        FRAMINGHAM       MA 01702‐8646
MR PEDRO ABARCA          53 STEGMAN LN                                                                        PONTIAC          MI 48340‐1662
MR PEDRO ARAGON          710 ROBINWOOD ST                                                                     PONTIAC          MI 48340‐3139
MR PEDRO C SALDANA SR    939 FAIRVIEW AVE                                                                     PONTIAC          MI 48340‐2522
MR PEDRO CERVANTES       3362 GOLDNER ST                                                                      DETROIT          MI 48210‐3200
MR PEDRO D COSS          2750 VINEWOOD ST                                                                     DETROIT          MI 48216‐1021
MR PEDRO FLORES          1035 CLOVERLAWN DR                                                                   PONTIAC          MI 48340‐1611
MR PEDRO GUTERREZ        4677 BRANDON ST                                                                      DETROIT          MI 48209‐1334
MR PEDRO J BERMUDEZ JR   949 EMERSON AVE                                                                      PONTIAC          MI 48340‐3230
MR PEDRO J DEJESUS       117 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MR PEDRO MONTES          28 W STRATHMORE AVE                                                                  PONTIAC          MI 48340‐2770
MR PEDRO R GONZALES JR   2116 DELANEY ST                                                                      BURTON           MI 48509‐1025
MR PEDRO TORRES          611 MELROSE ST                                                                       PONTIAC          MI 48340‐3116
MR PELZIE L TEASLEY JR   198 HIGH ST                                                                          PONTIAC          MI 48342‐1119
MR PENDRELL Y JACKSON    512 FOX HILLS DR S                                                                   BLOOMFIELD       MI 48304‐1316
MR PERRY C DAWSON        1161 AMOS ST                                                                         PONTIAC          MI 48342‐1803
MR PERRY DAVIDSON        1161 AMOS ST                                                                         PONTIAC          MI 48342‐1803
MR PERRY E LANDERS       342 THE WOODS                                                                        BEDFORD          IN 47421‐9378
MR PERRY J GLASGOW       1138 M ST                                                                            BEDFORD          IN 47421‐2929
MR PERRY J NICHOLSON     43 EUCLID AVE                                                                        PONTIAC          MI 48342‐1111
MR PERRY L CLARK         2051 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐5962
MR PERRY T EAST          1311 STALKER AVE                                                                     BEDFORD          IN 47421‐2547
MR PERRY T EAST          46 NEWTON ST                                                                         BEDFORD          IN 47421‐1740
MR PETE CIRINCIONE       835 PENSACOLA AVE                                                                    PONTIAC          MI 48340‐2362
MR PETE G EDWARDS        324 MOUNT PLEASANT RD                                                                BEDFORD          IN 47421‐9621
MR PETE M NEDELJKOVIC    11349 DEBORAH DR                                                                     PARMA            OH 44130‐1327
MR PETER A DELORENZO     4 BANK                                                                               NORFOLK          NY 13667‐2103
MR PETER A MALEY         660 S SPINNINGWHEEL LN                                                               BLOOMFIELD       MI 48304‐1322
MR PETER A PARISI        2402 SYLVAN AVE                                                                      WILMINGTON       DE 19805‐2343
MR PETER A POLK          224 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1854
MR PETER A RENAI         712 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2110
MR PETER B KINASZ JR     10750 RICHARD DR                                                                     CLEVELAND        OH 44130‐1307
MR PETER BAUMANN         1941 W SPINNINGWHEEL LN                                                              BLOOMFIELD       MI 48304‐1067
MR PETER C MAPUNDA       11521 SHARON DR APT C605                                                             CLEVELAND        OH 44130‐1449
MR PETER C SMITH         926 STANLEY ST                                                                       LANSING          MI 48915‐1366
MR PETER DALTON          9 BATES RD                                                                           FRAMINGHAM       MA 01702‐8703
MR PETER E GALANES       811 HARWOOD RD                                                                       WILMINGTON       DE 19804‐2660
MR PETER E GORDON        2016 N MARKET ST                                                                     KOKOMO           IN 46901‐2345
MR PETER E REITH         3116 COURT ST APT 7                                                                  SYRACUSE         NY 13206‐1049
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Name                               Address1                         Address2              Address3      Address4                 City            State Zip
MR PETER F NORONHA                 620 S SPINNINGWHEEL LN                                                                        BLOOMFIELD       MI 48304‐1322
MR PETER J DALY                    3222 TIMBER DR                                                                                LANSING          MI 48917‐2337
MR PETER J FOLLO                   2034 E MCLEAN AVE                                                                             BURTON           MI 48529‐1738
MR PETER J LOMBARDO                192 W BEVERLY AVE                                                                             PONTIAC          MI 48340‐2622
MR PETER J LOMBARDO                784 EMERSON AVE                                                                               PONTIAC          MI 48340‐3221
MR PETER J LOMBARDO                804 MELROSE ST                                                                                PONTIAC          MI 48340‐3123
MR PETER J ORAZI                   9 GUILD RD                                                                                    FRAMINGHAM       MA 01702‐8712
MR PETER K NESS                    2058 BOOTMAKER LN                                                                             BLOOMFIELD       MI 48304‐1004
MR PETER L BRESLIN                 514 N WALNUT ST                                                                               NEWPORT          DE 19804‐2622
MR PETER L MCNALLEY                1460 OAK HOLLOW DR                                                                            MILFORD          MI 48380‐4263
MR PETER L MINISTRELLI             11799 CAMDEN ST                                                                               LIVONIA          MI 48150‐2361
MR PETER N SAIDOO                  4218 DAVISON RD                                                                               BURTON           MI 48509‐1406
MR PETER P RUFA                    190 ALLEN ST                                                                                  MASSENA          NY 13662‐1860
MR PETER PI                        4828 MICHIGAN AVE                                                                             DETROIT          MI 48210‐3250
MR PETER PRENTICE                  24 LAUREL AVE                                                                                 MASSENA          NY 13662‐2027
MR PETER R COFFIN                  11227 N CLUB DR                                                                               FREDERICKSBRG    VA 22408‐2054
MR PETER WESSEL                    C/O BANKHAUS DONNER MR LEDERER   DALLINDAMM 27                       20095 HAMBURG
MR PETUR SIGURDSSON                2015 ROOSEVELT AVE                                                                            JANESVILLE      WI   53546‐5972
MR PHALANDA L TRAVIS               12 KAREN CT                                                                                   PONTIAC         MI   48340‐1633
MR PHIL HARGRAVE                   1410 16TH ST                                                                                  BEDFORD         IN   47421‐3710
MR PHILIP A CUTHBERTSON            196 W CORNELL AVE                                                                             PONTIAC         MI   48340‐2722
MR PHILIP A LABORDO                10651 RIVEREDGE DR                                                                            CLEVELAND       OH   44130‐1244
MR PHILIP A ZWIEG                  2339 S CHATHAM ST                                                                             JANESVILLE      WI   53546‐6152
MR PHILIP B MITTIGA                24 WATER ST                                                                                   MASSENA         NY   13662‐2012
MR PHILIP B MITTIGA                20 WATER ST                                                                                   MASSENA         NY   13662‐2012
MR PHILIP C ORSBORN                1416 14TH ST                                                                                  BEDFORD         IN   47421‐3233
MR PHILIP D FLYNN                  2005 DREXEL RD                                                                                LANSING         MI   48915‐1206
MR PHILIP E WALKER                 1251 E HAMILTON AVE                                                                           FLINT           MI   48506‐3210
MR PHILIP J MINCIK                 11800 BROOKPARK RD TRLR 101                                                                   CLEVELAND       OH   44130‐1187
MR PHILIP J NORRIS                 5564 ABRAHAM AVE                                                                              CLEVELAND       OH   44130‐1319
MR PHILIP M EDELY                  2135 HUBBARD ST APT 7                                                                         DETROIT         MI   48209‐3308
MR PHILIP M MARTIN                 11 E KEYSTONE AVE                                                                             WILMINGTON      DE   19804‐2023
MR PHILIP W SMITH                  17 DANFORTH PL                                                                                MASSENA         NY   13662‐1813
MR PHILIPPE ANDRE & MRS ADRIENNE   C/O DEUTSCHE BANK SA/NV          AVENUE MARNIX 13‐15                 1000 BRUXELLES BELGIUM
GIVRON
MR PHILLIP A BARNHART              G4258 S SAGINAW ST                                                                            BURTON          MI   48529‐1648
MR PHILLIP A BROWN                 70 KAREN CT                                                                                   PONTIAC         MI   48340‐1637
MR PHILLIP A DIMAMBRO              525 ROLLING ROCK RD                                                                           BLOOMFIELD      MI   48304‐1054
MR PHILLIP A DOYLE                 1987 HUNTERS RIDGE DR                                                                         BLOOMFIELD      MI   48304‐1037
MR PHILLIP A MCCARTT               12375 CAMDEN ST                                                                               LIVONIA         MI   48150‐2370
MR PHILLIP A MODESTO JR            2609 SYLVAN AVE                                                                               WILMINGTON      DE   19805‐2344
MR PHILLIP A PULLIAM               3591 29TH ST                                                                                  DETROIT         MI   48210‐3107
MR PHILLIP C GUNTHER               6086 LEWIS RD                                                                                 MOUNT MORRIS    MI   48458‐2573
MR PHILLIP C MARTINEZ              7094 HARVARD AVE                                                                              MOUNT MORRIS    MI   48458‐2145
MR PHILLIP E ENNIS                 1713 N MCCANN ST                                                                              KOKOMO          IN   46901‐2057
MR PHILLIP E MARTIN                1099 HERRINGTON LN                                                                            PONTIAC         MI   48342‐1836
MR PHILLIP J ENDERS                53 W STRATHMORE AVE                                                                           PONTIAC         MI   48340‐2771
MR PHILLIP J FENBY                 1119 WESTFIELD RD                                                                             LANSING         MI   48917‐2376
MR PHILLIP J MARLOW                9 LAUREL AVE APT 805                                                                          MASSENA         NY   13662‐2058
MR PHILLIP J RANDAZZO              84 W STRATHMORE AVE                                                                           PONTIAC         MI   48340‐2772
MR PHILLIP J SHRADER               848 SARASOTA AVE                                                                              PONTIAC         MI   48340‐2368
MR PHILLIP J SPRAGUE               735 CORTWRIGHT ST                                                                             PONTIAC         MI   48340‐2305
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Name                       Address1                          Address2              Address3       Address4                 City           State Zip
MR PHILLIP L HERT          1108 LINCOLN AVE                                                                                BEDFORD         IN 47421‐2925
MR PHILLIP M BLASKA        767 E MOUNT MORRIS ST                                                                           MOUNT MORRIS    MI 48458‐2006
MR PHILLIP M CARNEY        5561 CHEVROLET BLVD APT C101                                                                    CLEVELAND       OH 44130‐1402
MR PHILLIP M QUADE         2014 S CHATHAM ST                                                                               JANESVILLE      WI 53546‐6016
MR PHILLIP P PARKER        1007 M ST                                                                                       BEDFORD         IN 47421‐2926
MR PHILLIP R COX           1119 W 10TH ST                                                                                  MUNCIE          IN 47302‐2257
MR PHILLIP SHEPARD         940 CAMERON AVE                                                                                 PONTIAC         MI 48340‐3214
MR PHILLIP W ADAMS         1519 1ST ST                                                                                     BEDFORD         IN 47421‐1701
MR PHILLIP W CHRISTIAN     1305 K ST APT 101                                                                               BEDFORD         IN 47421‐3241
MR PHILLIP W COOPER        1126 N MORRISON ST                                                                              KOKOMO          IN 46901‐2764
MR PHILLIP W FARRAR SR     4100 RISEDORPH ST                                                                               BURTON          MI 48509‐1042
MR PHILLIP W GRICE         901 W MEMORIAL DR                                                                               MUNCIE          IN 47302‐7628
MR PHILLIP W INGRAM        2072 E PARKWOOD AVE                                                                             FLINT           MI 48529‐1764
MR PHILLIP W INGRAM JR     1508 READY AVE                                                                                  BURTON          MI 48529‐2054
MR PHILLIP W SHEPARD       941 CAMERON AVE                                                                                 PONTIAC         MI 48340‐3215
MR PHILLIP WALKER          1610 N WEBSTER ST                                                                               KOKOMO          IN 46901‐2106
MR PIERRE D HAWKINS        3745 BANGOR ST                                                                                  DETROIT         MI 48210‐3119
MR PIERRE FORAIN           C/O DEUTSCHE BANK SA/NV           AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR PIERRE FORAIN           DEUTSCHE BANK SA NV               AVENUE MARNIX 13 15                  1000 BRUXELLES
MR PINKNEY SMITH SR        13 LIVINGSTON AVE                                                                               WILMINGTON     DE   19804‐2815
MR PIO W GROSSI            4166 WOODROW AVE                                                                                BURTON         MI   48509‐1052
MR PITA                    ATTN: EDDIE ROMAYA                7338 WESTBURY BLVD                                            W BLOOMFIELD   MI   48322‐2814
MR POWELL MATHANLEEN       1161 AMOS ST                                                                                    PONTIAC        MI   48342‐1803
MR PRACHIN SOOKTHIS        406 W FAIRMOUNT AVE                                                                             PONTIAC        MI   48340‐1620
MR PRAKASH B GANDHI        12360 CAMDEN ST                                                                                 LIVONIA        MI   48150‐2370
MR PRATIM KUMAR DAS
MR PREM KUMAR              1 COPA LN                                                                                       WILMINGTON     DE   19804‐2050
MR PRESTON D EATON         931 FULWELL DR                                                                                  ONTARIO        OH   44906‐1110
MR PRESTON L ELKINS        206 SHANDELL DR                                                                                 BEDFORD        IN   47421‐9658
MR PRESTON LEAVY           2827 HARWICK DR APT 4                                                                           LANSING        MI   48917‐2352
MR QUANTE D WILSON         65 KAREN CT                                                                                     PONTIAC        MI   48340‐1638
MR QUAVATIS A THOMSON      776 NEWMAN LN                                                                                   PONTIAC        MI   48340‐3304
MR QUAWN GREEN             685 NEWMAN LN                                                                                   PONTIAC        MI   48340‐3302
MR QUENTIN M BUMPOUS       660 PALMER DR                                                                                   PONTIAC        MI   48342‐1854
MR QUINTO L COLLINS        106 UNIVERSITY PLACE DR                                                                         PONTIAC        MI   48342‐1889
MR R NANDAN                2104 MCKINSTRY ST                                                                               DETROIT        MI   48209‐1671
MR RAFAEL A ROJAS          71 LEGRANDE AVE                                                                                 PONTIAC        MI   48342‐1134
MR RAFAEL C TURNER         717 WILBERFORCE LN                                                                              FLINT          MI   48503‐5240
MR RAFAEL C VENEGAS        111 PINGREE AVE                                                                                 PONTIAC        MI   48342‐1174
MR RAFAEL E CANEPA         805 DRYER FARM RD                                                                               LANSING        MI   48917‐2388
MR RAFAEL GUAJARDO         2129 CLARK ST                                                                                   DETROIT        MI   48209‐3907
MR RAFAEL GUAJARDO         2131 CLARK ST                                                                                   DETROIT        MI   48209‐3907
MR RAFAEL M VICENS         348 W KENNETT RD                                                                                PONTIAC        MI   48340‐1728
MR RAFAEL R ROLLE          87 HUDSON AVE                                                                                   PONTIAC        MI   48342‐1244
MR RAFAEL RODRIGUEZ        2215 LANSING ST APT 308                                                                         DETROIT        MI   48209‐0230
MR RAFI MOHAMMED           738 CORWIN AVE                                                                                  PONTIAC        MI   48340‐2412
MR RALF BRAEVER            NEVE STRASSE 11                                                        63589 LINSENGERICHT
                                                                                                  GERMANY
MR RALF ENGELS LINDEMANN   BREND AMOURSTR 80                                                      40545 DUSSELDORF
                                                                                                  GERMANY
MR RALPH A REID            2335 WALKINS LAKE RD                                                                            WATERFALL      MI 48328
MR RALPH B FISH            1114 M ST                                                                                       BEDFORD        IN 47421‐2929
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MR RALPH B PARKS JR       1405 READY AVE                                                                       BURTON          MI 48529‐2051
MR RALPH C FERDON         191 W KENNETT RD APT 204                                                             PONTIAC         MI 48340‐2680
MR RALPH D WILSON         1705 N LAFOUNTAIN ST                                                                 KOKOMO          IN 46901‐2323
MR RALPH E ADKINS         2226 MCKINSTRY ST                                                                    DETROIT         MI 48209‐1671
MR RALPH E ANDERSON       1602 I ST                                                                            BEDFORD         IN 47421‐3859
MR RALPH E ANDERSON       631 16TH ST                                                                          BEDFORD         IN 47421‐3818
MR RALPH E BIRNELL        1708 N INDIANA AVE                                                                   KOKOMO          IN 46901‐2042
MR RALPH E FREEMAN        84 SPENCER PIKE RD                                                                   SPRINGVILLE     IN 47462‐5361
MR RALPH E MALOTT II      1612 2ND ST                                                                          BEDFORD         IN 47421‐1606
MR RALPH E MAROTZ         121 W COLUMBIA AVE                                                                   PONTIAC         MI 48340‐1811
MR RALPH E RHAMY          1601 W 13TH ST                                                                       MUNCIE          IN 47302‐2979
MR RALPH G RIDENOUR       545 BEER RD                                                                          ONTARIO         OH 44906‐1214
MR RALPH G THIBAULT       12 GARVIN AVE                                                                        MASSENA         NY 13662‐1817
MR RALPH H BROSMER        1530 N ST                                                                            BEDFORD         IN 47421‐3716
MR RALPH H DODD           500 GREENTREE DR APT 7                                                               BEDFORD         IN 47421‐9675
MR RALPH H PENA           142 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2758
MR RALPH J COUGHLAN JR    518 BECKER AVE                                                                       WILMINGTON      DE 19804‐2104
MR RALPH J DANIELS        11800 BROOKPARK RD TRLR 125                                                          CLEVELAND       OH 44130‐1189
MR RALPH L HARRELL        216 HELTONVILLE RD W                                                                 BEDFORD         IN 47421‐9385
MR RALPH L MELVIN         1007 18TH ST                                                                         BEDFORD         IN 47421‐4215
MR RALPH M ELLIOT JR      425 HOLLIS ST                                                                        FRAMINGHAM      MA 01702‐8646
MR RALPH O HATT JR        1936 N BUCKEYE ST                                                                    KOKOMO          IN 46901‐2219
MR RALPH P BAKER SR       4219 TOLEDO ST                                                                       DETROIT         MI 48209‐1364
MR RALPH R FERDON         1076 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1610
MR RALPH ROYSDEN          1700 W 8TH ST                                                                        MUNCIE          IN 47302‐2115
MR RALPH T ROYSDEN        809 W 9TH ST                                                                         MUNCIE          IN 47302‐3102
MR RALPH W BENEDICT       2220 SHERIDAN ST                                                                     JANESVILLE      WI 53546‐5983
MR RALPH W ROWE           9885 TEXTILE RD                                                                      YPSILANTI       MI 48197‐7037
MR RALPH W SMITH          7 STANLEY AVE                                                                        WILMINGTON      DE 19804‐2850
MR RAMAKRISHNA EMMADI     535 S SPINNINGWHEEL LN                                                               BLOOMFIELD      MI 48304‐1319
MR RAMESH B KALARI        130 THE WOODS                                                                        BEDFORD         IN 47421‐9300
MR RAMESH K JAJOO         1912 HUNTERS RIDGE DR                                                                BLOOMFIELD      MI 48304‐1036
MR RAMIRO GONZALES        2018 CLARKDALE ST                                                                    DETROIT         MI 48209‐3911
MR RAMIRO H TORREZ SR     718 DURANT ST                                                                        LANSING         MI 48915‐1327
MR RAMON DELAO            343 W KENNETT RD                                                                     PONTIAC         MI 48340‐1729
MR RAMON E COLON SR       297 W YALE AVE                                                                       PONTIAC         MI 48340‐1752
MR RAMON G SANCHEZ JR     256 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐2740
MR RAMON GONZALEZ JR      2055 DELANEY ST                                                                      BURTON          MI 48509‐1022
MR RAMON MATOS            700 MELROSE ST                                                                       PONTIAC         MI 48340‐3119
MR RAMON R NUNEZ          4214 TOLEDO ST                                                                       DETROIT         MI 48209‐1365
MR RAMON W HYDE           59 BRIDGES AVE                                                                       MASSENA         NY 13662‐1855
MR RANDALL B ASBURY       1396 WEBBER AVE                                                                      BURTON          MI 48529‐2034
MR RANDALL D COSS         612 17TH ST                                                                          BEDFORD         IN 47421‐4312
MR RANDALL D RESLER II    1301 W MEMORIAL DR                                                                   MUNCIE          IN 47302‐2253
MR RANDALL D SWANBERG     1228 ANTHONY AVE                                                                     JANESVILLE      WI 53546‐6008
MR RANDALL E DELPHIA      1715 G ST                                                                            BEDFORD         IN 47421‐4635
MR RANDALL E SCHISLER     12048 PARKLANE ST                                                                    MOUNT MORRIS    MI 48458‐1434
MR RANDALL GAY            794 ROBINWOOD ST                                                                     PONTIAC         MI 48340‐3142
MR RANDALL J HERRINGTON   793 CRITTENDEN ST                                                                    PONTIAC         MI 48340‐2419
MR RANDALL J MACEK        1482 BRADY AVE                                                                       BURTON          MI 48529‐2012
MR RANDALL K FROST JR     1430 E MCLEAN AVE                                                                    BURTON          MI 48529‐1612
MR RANDALL L ELLIOTT      1451 PROPER AVE                                                                      BURTON          MI 48529‐2045
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MR RANDALL L HUNTER         1404 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2382
MR RANDALL L HUNTER SR      1404 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2382
MR RANDALL L ROY            2074 COVERT RD                                                                       BURTON           MI 48509‐1011
MR RANDALL L SCHOFIELD II   2245 E MCLEAN AVE                                                                    BURTON           MI 48529‐1741
MR RANDALL P JURCZAK        640 HELEN ST                                                                         MOUNT MORRIS     MI 48458‐1925
MR RANDALL W LUNSFORD       1511 N MCCANN ST                                                                     KOKOMO           IN 46901‐2059
MR RANDALL WILKINSON        1422 W 10TH ST                                                                       MUNCIE           IN 47302‐2169
MR RANDELL D ARTHUR         1515 23RD ST                                                                         BEDFORD          IN 47421‐4701
MR RANDOLPH C MICHAELS      11613 TEMPERANCE ST                                                                  MOUNT MORRIS     MI 48458‐2030
MR RANDOLPH J HINES         6 N MAIN ST APT 4                                                                    MASSENA          NY 13662‐1156
MR RANDOLPH R LOTTRELL      11001 PIERSON DR STE H                                                               FREDERICKSBRG    VA 22408‐2079
MR RANDY A CHULOCK          10910 FAIRLAWN DR                                                                    CLEVELAND        OH 44130‐1214
MR RANDY A HARDENBURGH      333 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1741
MR RANDY A LUEBKE           4408 SANDHILL DR                                                                     JANESVILLE       WI 53546‐4421
MR RANDY A NEAL             9 LAUREL AVE APT 902                                                                 MASSENA          NY 13662‐2159
MR RANDY A STEPHENS         7101 N SAGINAW RD                                                                    MOUNT MORRIS     MI 48458‐2129
MR RANDY B GERARD           517 E NORTH ST                                                                       KOKOMO           IN 46901‐3056
MR RANDY B MONY             483 W COLUMBIA AVE APT 205                                                           PONTIAC          MI 48340‐1644
MR RANDY C GALLIMORE        243 N ROSEMARY ST                                                                    LANSING          MI 48917‐4914
MR RANDY CHASTAIN           1721 J ST APT 2                                                                      BEDFORD          IN 47421‐4256
MR RANDY E KLAMERT          2540 SUMMER OAKS CIR                                                                 SUMMERTOWN       TN 38483‐9205
MR RANDY E RODGERS          37 E LONGFELLOW AVE                                                                  PONTIAC          MI 48340‐2743
MR RANDY G BROOKS           108 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2002
MR RANDY G DELOSH           59 PROSPECT AVE                                                                      MASSENA          NY 13662‐1747
MR RANDY G RIGGLE           634 RILEY BLVD # A                                                                   BEDFORD          IN 47421‐9336
MR RANDY HATFIELD           1020 17TH ST                                                                         BEDFORD          IN 47421‐4208
MR RANDY J STARNES          1387 READY AVE                                                                       BURTON           MI 48529‐2051
MR RANDY J ZIMMERMAN        1435 PROPER AVE                                                                      BURTON           MI 48529‐2043
MR RANDY L BIRKELO          2228 S ARCH ST                                                                       JANESVILLE       WI 53546‐5956
MR RANDY L CLAYTON SR       2072 BRADY AVE                                                                       BURTON           MI 48529‐2423
MR RANDY L CURRIER          PO BOX 5324                                                                          MASSENA          NY 13662‐5324
MR RANDY L DURECKI          1158 PANAMA AVE                                                                      MOUNT MORRIS     MI 48458‐2533
MR RANDY L HILL             33 W CORNELL AVE                                                                     PONTIAC          MI 48340‐2717
MR RANDY L JONES            1820 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐6622
MR RANDY L MYERS            1527 N BUCKEYE ST APT A                                                              KOKOMO           IN 46901‐2270
MR RANDY L PENIX            2221 MORRIS AVE                                                                      BURTON           MI 48529‐2177
MR RANDY L RICHARDS         4280 DAVISON RD                                                                      BURTON           MI 48509‐1406
MR RANDY L VANWORMER        42 W HOPKINS AVE                                                                     PONTIAC          MI 48340‐1816
MR RANDY L WILKINS          1184 DOWAGIAC AVE                                                                    MOUNT MORRIS     MI 48458‐2578
MR RANDY PETERS             1000 LINCOLN AVE                                                                     BEDFORD          IN 47421‐2923
MR RANDY R HAVER            4143 RISEDORPH ST                                                                    BURTON           MI 48509‐1067
MR RANDY R OBSENICA         1948 HUNTERS RIDGE DR                                                                BLOOMFIELD       MI 48304‐1036
MR RANDY REED               1095 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1836
MR RANDY SCHOVAN            116 SUMMIT ST                                                                        PONTIAC          MI 48342‐1165
MR RANDY STILES             170 1/2 WATER ST                                                                     MASSENA          NY 13662‐2089
MR RANDY VANWORMER          1066 E HARVARD AVE                                                                   FLINT            MI 48505‐1508
MR RANDY W HODGESON         2087 E MCLEAN AVE                                                                    BURTON           MI 48529‐1737
MR RANDY W SHIPPEY          636 LOUNSBURY AVE                                                                    PONTIAC          MI 48340‐2447
MR RANDY WHITENER           370 W HOPKINS AVE APT 104                                                            PONTIAC          MI 48340‐1760
MR RAPHAEL M MELCHOR        1425 E BRISTOL RD                                                                    BURTON           MI 48529‐2213
MR RASOOL A ARRAHMAAN       522 E WITHERBEE ST                                                                   FLINT            MI 48505‐4762
MR RAUL A GARCIA JR         6215 LAKE DR                                                                         YPSILANTI        MI 48197‐7053
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MR RAUL F AVILA SR        2027 SCOTTEN ST                                                                      DETROIT          MI 48209‐3910
MR RAUL FELICIANO         5654 KONKEL ST                                                                       DETROIT          MI 48210‐3267
MR RAUL G GARZA           2087 CLARKDALE ST                                                                    DETROIT          MI 48209‐1691
MR RAUL PATINO            609 BOXWOOD RD                                                                       WILMINGTON       DE 19804‐2010
MR RAUL R TOVAR           912 STANLEY AVE                                                                      PONTIAC          MI 48340‐2560
MR RAUL RODRIGUES         651 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3237
MR RAULBETIS A FERREIRA   2 BRACKETT RD UNIT F                                                                 FRAMINGHAM       MA 01702‐8706
MR RAY BRADSHAW JR        G4065 S SAGINAW ST                                                                   BURTON           MI 48529‐1646
MR RAY E GILSTRAP         703 OXFORD ST                                                                        BEDFORD          IN 47421‐1539
MR RAY E HARDY            6020 LAKE DR                                                                         YPSILANTI        MI 48197‐7012
MR RAY E MARPLE JR        1821 N WABASH AVE                                                                    KOKOMO           IN 46901‐2004
MR RAY F LAPRADE          26 ALVERN AVE                                                                        MASSENA          NY 13662‐2218
MR RAY GODSEY             146 PEERLESS QUARRY RD                                                               BEDFORD          IN 47421‐8120
MR RAY KRAWCZYK           61 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2755
MR RAY L BATES            401 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1913
MR RAY L ODEGAARD         1603 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐6039
MR RAY O BAILEY           7441 S SAINT CLAIR RD                                                                SAINT JOHNS      MI 48879‐9138
MR RAY R MARTINEZ         1191 DOWAGIAC AVE                                                                    MOUNT MORRIS     MI 48458‐2577
MR RAY SALINAS            4751 TOLEDO ST                                                                       DETROIT          MI 48209‐1372
MR RAY T BEALS SR         53 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2733
MR RAY W GILL JR          10938 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2023
MR RAY W ROBISON          1608 H ST                                                                            BEDFORD          IN 47421‐3834
MR RAYFIELD A HARMON      13 CUNARD ST                                                                         WILMINGTON       DE 19804‐2807
MR RAYMOND A DENNIE       345 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1936
MR RAYMOND A RICHARDS     11 KENT ST                                                                           MASSENA          NY 13662‐2123
MR RAYMOND A RUSSELL JR   704 FALLON AVE                                                                       WILMINGTON       DE 19804‐2114
MR RAYMOND A SIMMONDS     10715 TRICIA PL                                                                      FREDERICKSBRG    VA 22408‐8068
MR RAYMOND B WYSOCKI      384 W KENNETT RD                                                                     PONTIAC          MI 48340‐1639
MR RAYMOND BOROVICH       11800 BROOKPARK RD TRLR G55                                                          CLEVELAND        OH 44130‐1184
MR RAYMOND C GREEN JR     710 STIRLING ST                                                                      PONTIAC          MI 48340‐3169
MR RAYMOND C MARX         2036 E BUDER AVE                                                                     BURTON           MI 48529‐1732
MR RAYMOND C PARIS        10750 AARON DR                                                                       PARMA            OH 44130‐1355
MR RAYMOND CRUZ           2169 LANSING ST                                                                      DETROIT          MI 48209‐1672
MR RAYMOND D HENSON       105 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1851
MR RAYMOND D WALDORF      2175 VALLEY GATE                                                                     MILFORD          MI 48380‐4248
MR RAYMOND DIXON          1267 E CORNELL AVE                                                                   FLINT            MI 48505‐1750
MR RAYMOND E COLEMAN      4830 SAINT HEDWIG ST                                                                 DETROIT          MI 48210‐3223
MR RAYMOND E KIBBY        1716 OAK ST                                                                          FLINT            MI 48503‐3810
MR RAYMOND E RIDGE        2823 W IONIA ST                                                                      LANSING          MI 48917‐2953
MR RAYMOND E SCOTT        1129 PANAMA AVE                                                                      MOUNT MORRIS     MI 48458‐2533
MR RAYMOND E SKINNER      625 BUENA VISTA ST APT 9                                                             MOUNT MORRIS     MI 48458‐1984
MR RAYMOND E WENDLING     2056 E BRISTOL RD                                                                    BURTON           MI 48529‐1319
MR RAYMOND F BUBONIC      11431 SHARON DR APT C902                                                             PARMA            OH 44130‐1443
MR RAYMOND F JONES        1801 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐6623
MR RAYMOND F LAWRENCE     5 THAYER ST                                                                          FRAMINGHAM       MA 01702‐8717
MR RAYMOND G MATHERLY     11211 MANSFIELD CLUB DR                                                              FREDERICKSBRG    VA 22408‐2058
MR RAYMOND G WOZNUK       11441 AARON DR                                                                       CLEVELAND        OH 44130‐1266
MR RAYMOND H SHANKS       665 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1980
MR RAYMOND J CURTIN       420 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1008
MR RAYMOND J GAMELIN SR   4277 COLUMBINE AVE                                                                   BURTON           MI 48529‐2401
MR RAYMOND J KING         1818 N MARKET ST                                                                     KOKOMO           IN 46901‐2343
MR RAYMOND J NAULT SR     639 ROLLING ROCK RD                                                                  BLOOMFIELD       MI 48304‐1056
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Name                       Address1                       Address2            Address3         Address4               City             State Zip
MR RAYMOND J SAYERS        408 FOX HILLS DR S APT 2                                                                   BLOOMFIELD        MI 48304‐1346
MR RAYMOND JOHNSON         1318 15TH ST                                                                               BEDFORD           IN 47421‐3704
MR RAYMOND JOHNSON         2005 ROOT ST                                                                               FLINT             MI 48505‐4751
MR RAYMOND K ABNEY         2018 N BELL ST                                                                             KOKOMO            IN 46901‐2307
MR RAYMOND K ABNEY         1608 N MORRISON ST                                                                         KOKOMO            IN 46901‐2153
MR RAYMOND K BRADSHAW      470 CESAR E CHAVEZ AVE                                                                     PONTIAC           MI 48342‐1298
MR RAYMOND L DARLING       1097 E HARVARD AVE                                                                         FLINT             MI 48505‐1507
MR RAYMOND L GUILL         2339 FERGUSON RD                                                                           ONTARIO           OH 44906‐1149
MR RAYMOND L JOHNSON       1042 ROLLOVER ACCOUNT          402 CLYDE CT                                                MCDONOUGH         GA 30252‐4499
MR RAYMOND L KERN          1310 13TH ST                                                                               BEDFORD           IN 47421‐3225
MR RAYMOND L MERE          5 KENT ST                                                                                  MASSENA           NY 13662‐2123
MR RAYMOND L STIPP         160 THE WOODS                                                                              BEDFORD           IN 47421‐9300
MR RAYMOND L UTZIG         1716 W BURBANK AVE                                                                         JANESVILLE        WI 53546‐6130
MR RAYMOND M SHELL         1441 W 15TH ST                                                                             MUNCIE            IN 47302‐2982
MR RAYMOND M WASIK         11252 MAGDALA DR                                                                           CLEVELAND         OH 44130‐1548
MR RAYMOND MARKOWITZ       4816 MARBLE HL                                                                             LAFAYETTE HILL    PA 19444
MR RAYMOND R CAINE         1420 W 9TH ST                                                                              MUNCIE            IN 47302‐2167
MR RAYMOND R HAMILTON      5501 CHEVROLET BLVD APT B202                                                               CLEVELAND         OH 44130‐1459
MR RAYMOND R MOSE          2047 E BOATFIELD AVE                                                                       BURTON            MI 48529‐1711
MR RAYMOND R ZADZILKA      10649 RICHARD DR                                                                           CLEVELAND         OH 44130‐1306
MR RAYMOND S SHEGOS        752 SAINT MARY ST                                                                          MOUNT MORRIS      MI 48458‐2249
MR RAYMOND SMOLINSKI       2172 E SCHUMACHER ST                                                                       BURTON            MI 48529‐2436
MR RAYMOND SUMMERVILLE     562 HARRIET ST                                                                             FLINT             MI 48505‐4753
MR RAYMOND SYKES           621 14TH ST                                                                                BEDFORD           IN 47421‐3309
MR RAYMOND T HUNTER        1933 HUNTERS RIDGE DR                                                                      BLOOMFIELD        MI 48304‐1037
MR RAYMOND VAJDIK          11540 AARON DR                                                                             CLEVELAND         OH 44130‐1267
MR RAYMOND W JOHNSON II    247 W FAIRMOUNT AVE                                                                        PONTIAC           MI 48340‐2741
MR RAYMOND W LEE           816 STANLEY AVE                                                                            PONTIAC           MI 48340‐2558
MR RAYSHON N BARNES        PO BOX 321211                                                                              DETROIT           MI 48232‐1211
MR RAZA‐ALI B BOKHARI      627 WEYBRIDGE DR                                                                           BLOOMFIELD        MI 48304‐1083
MR REGAL C YANEY           403 M ST                                                                                   BEDFORD           IN 47421‐1818
MR REGINALD D BURRELL      152 CLIFFORD ST                                                                            PONTIAC           MI 48342‐3317
MR REGINALD D CROSS        27 ELM ST                                                                                  MASSENA           NY 13662‐1827
MR REGINALD L HATTAWAY     1042 BOYNTON DR                                                                            LANSING           MI 48917‐1760
MR REGINALD M JEHNSEN      2240 E PARKWOOD AVE                                                                        BURTON            MI 48529‐1768
MR REGINALD THOMAS         1053 NORTH ST                                                                              ROCHESTER         NY 14621‐4935
MR REGINALD W BRADLEY      10813 STACY RUN                                                                            FREDERICKSBRG     VA 22408‐8040
MR REGINALD W JACKSON SR   694 KENILWORTH AVE                                                                         PONTIAC           MI 48340‐3238
MR REINHARD GIESE          HAUS‐HEYDEN‐STR 252                                                 D‐52134 HERZOGENRATH
                                                                                               GERMANY
MR REINHOLD VOSSLER        1130 BOYNTON DR                                                                            LANSING          MI   48917‐5704
MR RENE A HART             6 N MAIN ST APT 2                                                                          MASSENA          NY   13662‐1156
MR RENO T BATES            1714 15TH ST                                                                               BEDFORD          IN   47421‐3606
MR RENZO A MAZZETTI JR     321 EXMORE AVE                                                                             WILMINGTON       DE   19805‐2321
MR REUBEN E DAY JR         4862 TOLEDO ST                                                                             DETROIT          MI   48209‐1375
MR REX A LACY              1511 W 9TH ST                                                                              MUNCIE           IN   47302‐2120
MR REX L PORTER            1214 13TH ST                                                                               BEDFORD          IN   47421‐3209
MR REX W CAVERLY           11640 TEMPERANCE ST                                                                        MOUNT MORRIS     MI   48458‐2039
MR REXFORD G SHELDON       14 HILLCREST AVE                                                                           MASSENA          NY   13662‐1821
MR REYNALDO C SOLIS JR     1809 I ST                                                                                  BEDFORD          IN   47421‐4223
MR REYNALDO OROZCO         581 JARED DR                                                                               PONTIAC          MI   48342‐1987
MR RI W TILLMAN JR         207 FREDERICK LN                                                                           WILMINGTON       DE   19805‐2324
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR RICARDO CHAPA           4826 PLUMER ST                                                                       DETROIT          MI 48209‐1391
MR RICARDO DIAZ            108 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2758
MR RICARDO E JONES         231 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2741
MR RICARDO LOPEZ           395 W KENNETT RD                                                                     PONTIAC          MI 48340‐1640
MR RICARDO MARTINEZ        4837 TOLEDO ST                                                                       DETROIT          MI 48209‐1374
MR RICARDO MEJIA           3352 GOLDNER ST                                                                      DETROIT          MI 48210‐3239
MR RICARDO MOLINA          869 STANLEY AVE                                                                      PONTIAC          MI 48340‐2559
MR RICARDO N BOTELLO       426 BRYNFORD AVE                                                                     LANSING          MI 48917‐2992
MR RICARDO TORRES          3757 31ST ST                                                                         DETROIT          MI 48210‐3115
MR RICHARA R TALLEY        5697 CHEVROLET BLVD APT B306                                                         CLEVELAND        OH 44130‐8717
MR RICHARD A AMBURGEY JR   1620 1ST ST                                                                          BEDFORD          IN 47421‐1604
MR RICHARD A BARSODA       1704 N WABASH AVE                                                                    KOKOMO           IN 46901‐2007
MR RICHARD A BURGESS       90 W CORNELL AVE                                                                     PONTIAC          MI 48340‐2718
MR RICHARD A COPLIEN       1525 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐6023
MR RICHARD A GARCIA        6 STEGMAN LN                                                                         PONTIAC          MI 48340‐1662
MR RICHARD A GARDNER       1321 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐6108
MR RICHARD A GIFFORD       1121 E HUMPHREY AVE                                                                  FLINT            MI 48505‐1525
MR RICHARD A HALLETT       2136 S PALM ST                                                                       JANESVILLE       WI 53546‐6117
MR RICHARD A HENRY         13697 LAWRENCE 2037                                                                  MILLER           MO 65707‐9144
MR RICHARD A LAWRENCE SR   32 DOUGLAS RD                                                                        MASSENA          NY 13662‐2134
MR RICHARD A MANGINI       715 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2627
MR RICHARD A MEYER         2127 S PEARL ST                                                                      JANESVILLE       WI 53546‐6118
MR RICHARD A NOELL         205 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1845
MR RICHARD A ONIBASA       1420 S KINNEY AVE                                                                    MUNCIE           IN 47302‐3140
MR RICHARD A PERKINS JR    2606 GLENDAS WAY                                                                     FREDERICKSBRG    VA 22408‐8071
MR RICHARD A ROMEO         16 BOWERS ST                                                                         MASSENA          NY 13662‐2102
MR RICHARD A SCHNEIDER     915 MELROSE ST                                                                       PONTIAC          MI 48340‐3128
MR RICHARD ALDRICH         607 N ROSEMARY ST                                                                    LANSING          MI 48917‐8400
MR RICHARD AUSTIN          759 MELROSE ST                                                                       PONTIAC          MI 48340‐3122
MR RICHARD B MORROW        915 FULWELL DR                                                                       ONTARIO          OH 44906‐1110
MR RICHARD B SCANLAN       18 GERDON AVE                                                                        PONTIAC          MI 48342‐1117
MR RICHARD B WOLFROM       2705 MCKENZIE LN                                                                     FREDERICKSBRG    VA 22408‐8073
MR RICHARD BERNARDE        71 MC NOMEE ST                                                                       OAKLAND          NJ 07436‐2608
MR RICHARD BURGE           717 W WILLARD ST                                                                     MUNCIE           IN 47302‐2229
MR RICHARD BUTLER          1619 W 8TH ST                                                                        MUNCIE           IN 47302‐2194
MR RICHARD C BOVAY JR      163 ALLEN ST                                                                         MASSENA          NY 13662‐1803
MR RICHARD C CRAWFORD      9933 LINDA DR                                                                        YPSILANTI        MI 48197‐6917
MR RICHARD C MORROW        1408 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2309
MR RICHARD CRABTREE        1442 W 15TH ST                                                                       MUNCIE           IN 47302‐2981
MR RICHARD D GILMORE       611 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2603
MR RICHARD D KIMBALL       1452 JOLSON AVE                                                                      BURTON           MI 48529‐2030
MR RICHARD D LILLY         9925 LINDA DR                                                                        YPSILANTI        MI 48197‐6917
MR RICHARD D MITCHELL      1245 OAK HOLLOW DR                                                                   MILFORD          MI 48380‐4260
MR RICHARD D PARKS         944 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3108
MR RICHARD D RATKUS        5421 KOPERNICK ST                                                                    DETROIT          MI 48210‐3009
MR RICHARD D RICHTER       2219 S TERRACE ST                                                                    JANESVILLE       WI 53546‐6121
MR RICHARD D WILL          706 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2606
MR RICHARD DESONIA         2169 E JUDD RD                                                                       BURTON           MI 48529‐2404
MR RICHARD DYBOWSKI        112 BLAINE AVE                                                                       PONTIAC          MI 48342‐1173
MR RICHARD E ABBOTT        622 W 10TH ST                                                                        MUNCIE           IN 47302‐3125
MR RICHARD E CURLESS       1511 ANTHONY AVE                                                                     JANESVILLE       WI 53546‐6009
MR RICHARD E FARRELL       105 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2737
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Name                      Address1                       Address2           Address3         Address4         City            State Zip
MR RICHARD E GILES        3295 WATKINS LAKE RD APT 311                                                        WATERFORD        MI 48328‐1553
MR RICHARD E HOUGH        2080 CLARKDALE ST                                                                   DETROIT          MI 48209‐3911
MR RICHARD E HUTTON SR    125 LINCOLN AVE                                                                     BEDFORD          IN 47421‐1612
MR RICHARD E LUDWIG II    110 W BEVERLY AVE                                                                   PONTIAC          MI 48340‐2620
MR RICHARD E MCQUEARY     3810 HOLLY AVE                                                                      FLINT            MI 48506‐3109
MR RICHARD E MORRIS SR    1913 W 8TH ST                                                                       MUNCIE           IN 47302‐2117
MR RICHARD E PITCHER      484 FOX HILLS DR N APT 8                                                            BLOOMFIELD       MI 48304‐1336
MR RICHARD E RUSSELL      1234 N MORRISON ST APT 1                                                            KOKOMO           IN 46901‐2774
MR RICHARD E WILKENSON    172 W YALE AVE                                                                      PONTIAC          MI 48340‐1864
MR RICHARD F AHLFELD      4 RIDGEWOOD AVE                                                                     MASSENA          NY 13662‐2115
MR RICHARD F BUSCHUR      2148 BRADY AVE                                                                      BURTON           MI 48529‐2425
MR RICHARD F JACKSON      617 HELEN ST                                                                        MOUNT MORRIS     MI 48458‐1924
MR RICHARD F KILPATRICK   2229 S ORCHARD ST                                                                   JANESVILLE       WI 53546‐5985
MR RICHARD F MAYER        30 ALVERN AVE                                                                       MASSENA          NY 13662‐2218
MR RICHARD F NIMBACH      591 S SPINNINGWHEEL LN                                                              BLOOMFIELD       MI 48304‐1321
MR RICHARD F TUMA         2001 STONE HOLLOW CT                                                                BLOOMFIELD       MI 48304‐1075
MR RICHARD FRANCHINO      910 DRYER FARM RD                                                                   LANSING          MI 48917‐2387
MR RICHARD FULLER         679 BUENA VISTA ST                                                                  MOUNT MORRIS     MI 48458‐1909
MR RICHARD G CURTIS       420 N CATHERINE ST                                                                  LANSING          MI 48917‐4904
MR RICHARD G GAGG         3808 N WRIGHT RD APT 125                                                            JANESVILLE       WI 53546‐4252
MR RICHARD G JOHNSON      1053 MEADOWLAWN DR                                                                  PONTIAC          MI 48340‐1731
MR RICHARD GARCIA         316 N CATHERINE ST                                                                  LANSING          MI 48917‐2930
MR RICHARD GOIKE          1462 CONNELL ST                                                                     BURTON           MI 48529‐2205
MR RICHARD H BRAY         6 PROSPECT AVE                                                                      MASSENA          NY 13662‐1745
MR RICHARD H DELAPORTE    20 RANSOM AVE                                                                       MASSENA          NY 13662‐1848
MR RICHARD H DILLON       10816 SAMANTHA PL                                                                   FREDERICKSBRG    VA 22408‐8043
MR RICHARD H DOUGLAS      478 MOONLIGHT DR                                                                    PONTIAC          MI 48340‐1672
MR RICHARD H KIRK         462 MOONLIGHT DR                                                                    PONTIAC          MI 48340‐1672
MR RICHARD H KROLL        29044 ELMIRA ST                                                                     LIVONIA          MI 48150‐3129
MR RICHARD H LITTS        1510 M ST                                                                           BEDFORD          IN 47421‐3712
MR RICHARD H MURPHY       43 LYNBROOK RD                                                                      WILMINGTON       DE 19804‐2668
MR RICHARD H WIND         11421 AARON DR                                                                      CLEVELAND        OH 44130‐1266
MR RICHARD I CHAPLIN      1230 N INDIANA AVE                                                                  KOKOMO           IN 46901‐2718
MR RICHARD J BITTNER      2466 FERGUSON RD                                                                    ONTARIO          OH 44906‐1107
MR RICHARD J BLANCHARD    9 LAUREL AVE APT 909                                                                MASSENA          NY 13662‐2159
MR RICHARD J BURG         2155 E WHITTEMORE AVE                                                               BURTON           MI 48529‐1725
MR RICHARD J CLARKE       3408 COURT ST                                                                       SYRACUSE         NY 13206‐1073
MR RICHARD J FORD         1115 CLOVIS AVE                                                                     MOUNT MORRIS     MI 48458‐2544
MR RICHARD J GMYR         15 GEORGE ST                                                                        MASSENA          NY 13662‐1021
MR RICHARD J HETZER       2311 CALUMET ST                                                                     FLINT            MI 48503‐2810
MR RICHARD J HIGDON       2043 WEBBER AVE                                                                     BURTON           MI 48529‐2411
MR RICHARD J HIRTZEL      11254 GARDEN ST                                                                     LIVONIA          MI 48150‐3139
MR RICHARD J LONG         405 FOX HILLS DR N                                                                  BLOOMFIELD       MI 48304‐1309
MR RICHARD J MARSHALL     3 ELM CIR                                                                           MASSENA          NY 13662‐1825
MR RICHARD J MERUSI       547 HOLLIS ST                                                                       FRAMINGHAM       MA 01702‐8619
MR RICHARD J PRINGLE      245 W COLUMBIA AVE                                                                  PONTIAC          MI 48340‐1815
MR RICHARD J RHOADES      2212 E BERGIN AVE                                                                   BURTON           MI 48529‐1782
MR RICHARD J SHORE        233 W HOPKINS AVE                                                                   PONTIAC          MI 48340‐1825
MR RICHARD J SIMON        4417 SANDHILL DR                                                                    JANESVILLE       WI 53546‐4421
MR RICHARD J WARD         2216 E BERGIN AVE                                                                   BURTON           MI 48529‐1782
MR RICHARD J WEAVER       80 PUTNAM AVE                                                                       PONTIAC          MI 48342‐1262
MR RICHARD J WOOD         1539 E OOLITIC RD                                                                   BEDFORD          IN 47421‐8626
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Name                       Address1                        Address2            Address3         Address4         City           State Zip
MR RICHARD K BOWERS        707 HARWOOD RD                                                                        WILMINGTON      DE 19804‐2658
MR RICHARD K BRENNAN       2013 BOYNTON AVE                                                                      CLARK           NJ 07066‐1103
MR RICHARD K PAYNE         162 CHERRY HILL DR                                                                    PONTIAC         MI 48340‐1608
MR RICHARD K PICKENS       1812 W 9TH ST                                                                         MUNCIE          IN 47302‐6601
MR RICHARD K SANDERS       412 HELEN ST                                                                          MOUNT MORRIS    MI 48458‐1921
MR RICHARD K SHOUP         3822 IVANHOE AVE                                                                      FLINT           MI 48506‐4240
MR RICHARD K STAHL         1204 W 16TH ST                                                                        MUNCIE          IN 47302‐3081
MR RICHARD K ZELINKA       11440 AARON DR                                                                        CLEVELAND       OH 44130‐1265
MR RICHARD KIRK            1023 CHERRYLAWN DR                                                                    PONTIAC         MI 48340‐1701
MR RICHARD L ARNOLD        909 W 10TH ST                                                                         MUNCIE          IN 47302‐3193
MR RICHARD L BALL          6110 BOB DR                                                                           YPSILANTI       MI 48197‐8284
MR RICHARD L BAUER         6456 BUNTON RD                                                                        YPSILANTI       MI 48197‐9737
MR RICHARD L BOHLING       410 SHANDELL DR                                                                       BEDFORD         IN 47421‐9656
MR RICHARD L BRADY         1047 MEADOWLAWN DR                                                                    PONTIAC         MI 48340‐1731
MR RICHARD L GEISER        11 HILLCREST AVE                                                                      MASSENA         NY 13662‐1820
MR RICHARD L GOEN SR       4834 PEERLESS RD                                                                      BEDFORD         IN 47421‐8116
MR RICHARD L HAWORTH       1825 N WEBSTER ST                                                                     KOKOMO          IN 46901‐2101
MR RICHARD L HOOVER        2044 E MCLEAN AVE                                                                     BURTON          MI 48529‐1738
MR RICHARD L HUMMEL        227 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2741
MR RICHARD L KOLC SR       45 E FAIRMOUNT AVE                                                                    PONTIAC         MI 48340‐2727
MR RICHARD L MITCHELL      1710 N WASHINGTON ST                                                                  KOKOMO          IN 46901‐2208
MR RICHARD L SHAFER        1516 W 8TH ST                                                                         MUNCIE          IN 47302‐2113
MR RICHARD L ZINGER        835 PALMER DR                                                                         PONTIAC         MI 48342‐1861
MR RICHARD LASHOMB         18 CECIL AVE                                                                          MASSENA         NY 13662‐2139
MR RICHARD LESLIE          2133 JOLSON AVE                                                                       BURTON          MI 48529‐2127
MR RICHARD LUGWIG          188 W BEVERLY AVE                                                                     PONTIAC         MI 48340‐2622
MR RICHARD M CULLEN        199 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2739
MR RICHARD M MUSTO         143 WALNUT AVE                                                                        CLARK           NJ 07066‐1201
MR RICHARD M ROWE          4236 RISEDORPH ST                                                                     BURTON          MI 48509‐1044
MR RICHARD M RUGGIRRLLO    1255 RARITAN RD                                                                       CLARK           NJ 07066‐1257
MR RICHARD M TYLER         750 ROBINWOOD ST                                                                      PONTIAC         MI 48340‐3142
MR RICHARD M WARNER        10620 AARON DR                                                                        CLEVELAND       OH 44130‐1353
MR RICHARD MCKENZIE        109 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1889
MR RICHARD MOORE           1904 W 8TH ST                                                                         MUNCIE          IN 47302‐2183
MR RICHARD N JEFFERSON     2001 N CENTER RD APT 216                                                              FLINT           MI 48506‐3182
MR RICHARD P ANDERSON JR   232 W KENNETT RD                                                                      PONTIAC         MI 48340‐2652
MR RICHARD P HAINES        863 STANLEY AVE                                                                       PONTIAC         MI 48340‐2559
MR RICHARD P MUELLER       600 SEDGEFIELD DR                                                                     BLOOMFIELD      MI 48304‐1059
MR RICHARD P SMITH         87 PROSPECT AVE                                                                       MASSENA         NY 13662‐1746
MR RICHARD P VIEU          3825 LORRAINE AVE                                                                     FLINT           MI 48506‐4237
MR RICHARD R BIESZK        621 MAPLE ST                                                                          MOUNT MORRIS    MI 48458‐1926
MR RICHARD R CASTILLO      219 W LONGFELLOW AVE                                                                  PONTIAC         MI 48340‐1835
MR RICHARD R COLLINS       1885 HUNTERS RIDGE DR                                                                 BLOOMFIELD      MI 48304‐1035
MR RICHARD R LACOUNT       1105 KELLOGG AVE TRLR B15                                                             JANESVILLE      WI 53546‐6087
MR RICHARD R LORENZ        77 BLAINE AVE                                                                         PONTIAC         MI 48342‐1101
MR RICHARD R MOORE         11820 UNION ST                                                                        MOUNT MORRIS    MI 48458‐1798
MR RICHARD R REHAK         5900 BRIDGE RD APT 103                                                                YPSILANTI       MI 48197‐7009
MR RICHARD R SCHOEFFEL     11010 AARON DR                                                                        CLEVELAND       OH 44130‐1362
MR RICHARD R SPARKS        1375 GRAM ST                                                                          BURTON          MI 48529‐2039
MR RICHARD S ALLEN         735 BON AIR RD                                                                        LANSING         MI 48917‐2314
MR RICHARD S BIDDLE        1929 N COURTLAND AVE                                                                  KOKOMO          IN 46901‐2135
MR RICHARD S BURKE         4246 DAVISON RD                                                                       BURTON          MI 48509‐1406
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Name                         Address1                        Address2            Address3         Address4         City         State Zip
MR RICHARD S CRAMER          1417 E ST                                                                             BEDFORD       IN 47421‐3341
MR RICHARD S KATZ            23 SUBURBAN RD                                                                        CLARK         NJ 07066‐1243
MR RICHARD S LAZARCHUCK      20 GRASSMERE AVE                                                                      MASSENA       NY 13662‐2033
MR RICHARD S WEGENER         1106 17TH ST APT 1                                                                    BEDFORD       IN 47421‐4294
MR RICHARD SMITH             6575 WHITEHEAD ST                                                                     DETROIT       MI 48210‐2354
MR RICHARD SMITH             1731 N CENTER RD                                                                      FLINT         MI 48506‐4204
MR RICHARD STIVERS           1118 O ST                                                                             BEDFORD       IN 47421‐2816
MR RICHARD STREFFON          5642 SAINT HEDWIG ST                                                                  DETROIT       MI 48210‐3225
MR RICHARD T ARMSTRONG       1218 12TH ST                                                                          BEDFORD       IN 47421‐2917
MR RICHARD T BOCHENEK        3230 LOCKWOOD ST                                                                      DETROIT       MI 48210‐3257
MR RICHARD T BYRON           12 LYNBROOK RD                                                                        WILMINGTON    DE 19804‐2620
MR RICHARD T GIEM            68 E ORVIS ST APT G                                                                   MASSENA       NY 13662‐2034
MR RICHARD T HOWELL II       145 RAINMAKER ST                                                                      BEDFORD       IN 47421‐9358
MR RICHARD T KADLEC JR       1121 N WEBSTER ST                                                                     KOKOMO        IN 46901‐2705
MR RICHARD T MILLER          615 N AUGUSTINE ST                                                                    WILMINGTON    DE 19804‐2603
MR RICHARD T MILLER          286 W COLUMBIA AVE                                                                    PONTIAC       MI 48340‐1710
MR RICHARD T MITCHELL        11419 RICHARD DR                                                                      CLEVELAND     OH 44130‐1346
MR RICHARD TUCHOLSKI SR      10390 VALLEY FORGE DR APT E7                                                          CLEVELAND     OH 44130‐4587
MR RICHARD V ASHLEY          277 MAIN ST                                                                           MASSENA       NY 13662‐1904
MR RICHARD W ATALLIAN        808 HARWOOD RD                                                                        WILMINGTON    DE 19804‐2661
MR RICHARD W COLE            3801 MARMION AVE                                                                      FLINT         MI 48506‐4241
MR RICHARD W COLLINS         44 PROSPECT AVE                                                                       MASSENA       NY 13662‐1744
MR RICHARD W COPE            26 LAUREL AVE                                                                         MASSENA       NY 13662‐2027
MR RICHARD W DERNBERGER JR   740 E FOX HILLS DR                                                                    BLOOMFIELD    MI 48304‐1361
MR RICHARD W DOWNEY          645 BOYD ST                                                                           PONTIAC       MI 48342‐1927
MR RICHARD W GREGORY         9939 JOAN CIR                                                                         YPSILANTI     MI 48197‐6903
MR RICHARD W HASSENFELT      1534 KELLOGG AVE                                                                      JANESVILLE    WI 53546‐6024
MR RICHARD W HOCHSTETLER     1225 GRANDY ST                                                                        FLINT         MI 48503‐1815
MR RICHARD W LYLES SR        1995 FOX RIVER DR                                                                     BLOOMFIELD    MI 48304‐1023
MR RICHARD W MACIAS          791 ROBINWOOD ST                                                                      PONTIAC       MI 48340‐3144
MR RICHARD W MCDANIEL        1030 BOYNTON DR                                                                       LANSING       MI 48917‐1760
MR RICHARD W MYERS           2089 BRADY AVE                                                                        BURTON        MI 48529‐2424
MR RICHARD W PAYER           11419 GABRIELLA DR                                                                    CLEVELAND     OH 44130‐1338
MR RICHARD W SMITH           20 HIGHLAND AVE                                                                       MASSENA       NY 13662‐1737
MR RICHARD W TRACY           2180 E PARKWOOD AVE                                                                   BURTON        MI 48529‐1768
MR RICHARD W YOVICH          833 SOUTH BLVD E                                                                      PONTIAC       MI 48341‐3133
MR RICHARD WHEELER           4060 DAVISON RD                                                                       BURTON        MI 48509‐1457
MR RICK A FLYNN              1123 N ST                                                                             BEDFORD       IN 47421‐2934
MR RICK A MITCHELL           1530 15TH ST                                                                          BEDFORD       IN 47421‐3602
MR RICK ALLEY                2052 E BUDER AVE                                                                      BURTON        MI 48529‐1732
MR RICK BADAWI               416 N CATHERINE ST                                                                    LANSING       MI 48917‐4904
MR RICK BRASSINE             1305 K ST APT 421                                                                     BEDFORD       IN 47421‐3286
MR RICK D ULLMAN             1501 W 11TH ST                                                                        MUNCIE        IN 47302‐2150
MR RICK J LAROCQUE           2078 E PARKWOOD AVE                                                                   BURTON        MI 48529‐1764
MR RICK JENSEN               2141 E SCOTTWOOD AVE                                                                  BURTON        MI 48529‐1751
MR RICK L CHRISTOPHER        1445 W MEMORIAL DR                                                                    MUNCIE        IN 47302‐2101
MR RICK L COLLINS            2628 W 4TH ST                                                                         ONTARIO       OH 44906‐1211
MR RICK NORMAN               1108 12TH ST                                                                          BEDFORD       IN 47421‐2915
MR RICK RUSSELL              904 W 7TH ST                                                                          MUNCIE        IN 47302‐2278
MR RICKEY D PIERCE JR        712 WOODSEDGE RD                                                                      WILMINGTON    DE 19804‐2626
MR RICKEY D STEPHENS         882 STIRLING ST                                                                       PONTIAC       MI 48340‐3165
MR RICKEY D WESSEL           422 G ST                                                                              BEDFORD       IN 47421‐2219
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR RICKEY J HERNE          113 MAIN ST                                                                          MASSENA          NY 13662‐1908
MR RICKEY J LEBLANC JR     159 MAIN ST                                                                          MASSENA          NY 13662‐1907
MR RICKEY K LOW            2146 CONNELL ST                                                                      BURTON           MI 48529‐1335
MR RICKEY L WHITE JR       11431 SHARON DR APT C905                                                             PARMA            OH 44130‐1443
MR RICKEY L WILLIAMS       1317 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2253
MR RICKEY SIGGAL JR        949 KETTERING AVE                                                                    PONTIAC          MI 48340‐3258
MR RICKEY STINSON          1940 W 8TH ST                                                                        MUNCIE           IN 47302‐2183
MR RICKIE J STONE          2149 E BRISTOL RD                                                                    BURTON           MI 48529‐1320
MR RICKIE V GRIMES         232 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1834
MR RICKY A GOODWIN         140 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1840
MR RICKY C MILLER          908 WESTSTAR CT                                                                      OLD HICKORY      TN 37138‐3847
MR RICKY D LARRISON        1722 N MORRISON ST                                                                   KOKOMO           IN 46901‐2151
MR RICKY D MUSSELMAN       102 ROSSER ST                                                                        FREDERICKSBRG    VA 22408‐2016
MR RICKY D OWENS           2312 MCKINSTRY ST                                                                    DETROIT          MI 48209‐1351
MR RICKY GREEN             78 E ORVIS ST                                                                        MASSENA          NY 13662‐2045
MR RICKY H WEBSTER         4355 COLUMBINE AVE                                                                   BURTON           MI 48529‐2118
MR RICKY J MCCLIMENT       2396 FERGUSON RD                                                                     ONTARIO          OH 44906‐1177
MR RICKY L BRUCE           1146 TERRY AVE                                                                       MOUNT MORRIS     MI 48458‐2567
MR RICKY L HELM            154 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2774
MR RICKY L HURST           158 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1830
MR RICKY L KESSLER         1374 BRADY AVE                                                                       BURTON           MI 48529‐2010
MR RICKY L KUERBITZ JR     325 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1713
MR RICKY L ROBINSON JR     20 CREEKVIEW CT                                                                      SPRINGBORO       OH 45066‐1153
MR RICKY L WEBB            290 W KENNETT RD                                                                     PONTIAC          MI 48340‐1724
MR RICKY L WHITE           4074 RISEDORPH ST                                                                    BURTON           MI 48509‐1040
MR RICKY N DEJESUS         114 W YALE AVE                                                                       PONTIAC          MI 48340‐1862
MR RICKY O NEWTON          1198 DOWAGIAC AVE                                                                    MOUNT MORRIS     MI 48458‐2578
MR RICKY PALMER            1139 E HUMPHREY AVE                                                                  FLINT            MI 48505‐1525
MR RICKY T CARPENTER       1809 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2318
MR RICKY T ERICKSON        2374 S STATE RD                                                                      DAVISON          MI 48423‐8600
MR RICKY V SYKES           2017 FOX GLEN CT                                                                     BLOOMFIELD       MI 48304‐1007
MR RICS CLEANERS           1324 US HIGHWAY 82 W                                                                 LEESBURG         GA 31763‐5335
MR RIGOBERTO PAGAN         798 KETTERING AVE                                                                    PONTIAC          MI 48340‐3250
MR RIGOBERTO S REYNA       223 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2741
MR RILEY J FORD            547 FOX HILLS DR S APT 3                                                             BLOOMFIELD       MI 48304‐1358
MR RIOS ALICIA             4733 TOLEDO ST                                                                       DETROIT          MI 48209‐1372
MR RIOS FERNANDO           4712 BRANDON ST APT 1                                                                DETROIT          MI 48209‐0920
MR ROBBIE D LINDER         1406 W 13TH ST                                                                       MUNCIE           IN 47302‐2906
MR ROBBIN L KNOWLTON       860 SARASOTA AVE                                                                     PONTIAC          MI 48340‐2368
MR ROBERT A ALBO           37 W COLUMBIA AVE                                                                    PONTIAC          MI 48340‐1807
MR ROBERT A BEASLEY        1069 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8028
MR ROBERT A BEYERS         206 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1615
MR ROBERT A BOISVERT       27 ALVERN AVE                                                                        MASSENA          NY 13662‐2291
MR ROBERT A BOYER          311 N GRACE ST                                                                       LANSING          MI 48917‐2949
MR ROBERT A CAMERON        1 GRASSMERE TER APT 13                                                               MASSENA          NY 13662‐2161
MR ROBERT A CHILTON        96 ANDREWS ST                                                                        MASSENA          NY 13662‐1857
MR ROBERT A CRULO          1404 18TH ST                                                                         BEDFORD          IN 47421‐4108
MR ROBERT A FERRERI        669 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1305
MR ROBERT A FLARO          12 DANFORTH PL                                                                       MASSENA          NY 13662‐1814
MR ROBERT A FULGINITI JR   729 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2627
MR ROBERT A GREEN          1405 FOXBORO LN                                                                      FLINT            MI 48532‐3702
MR ROBERT A GRIMES         620 W NORTH ST                                                                       KOKOMO           IN 46901‐2750
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Name                      Address1                        Address2            Address3         Address4         City              State Zip
MR ROBERT A GRISWOLD SR   1324 UNIVERSITY DR                                                                    PONTIAC            MI 48342‐1974
MR ROBERT A HANSON        1901 KELLOGG AVE                                                                      JANESVILLE         WI 53546‐3906
MR ROBERT A HAZLETON      7 BOWERS ST                                                                           MASSENA            NY 13662‐2104
MR ROBERT A HOUSE         2142 E WILLIAMSON ST                                                                  BURTON             MI 48529‐2444
MR ROBERT A IHRKE         366 W COLUMBIA AVE                                                                    PONTIAC            MI 48340‐1714
MR ROBERT A JAMES         906 CAMERON AVE                                                                       PONTIAC            MI 48340‐3208
MR ROBERT A JARVIS        4336 COLUMBINE AVE                                                                    BURTON             MI 48529‐2117
MR ROBERT A JEFFERSON     422 W 9TH ST                                                                          MUNCIE             IN 47302‐3117
MR ROBERT A KERR          12458 CAMDEN ST                                                                       LIVONIA            MI 48150‐2371
MR ROBERT A MARZULLO      2083 E WHITTEMORE AVE                                                                 BURTON             MI 48529‐1723
MR ROBERT A MCCARTHY SR   11270 SHARON DR                                                                       PARMA              OH 44130‐1436
MR ROBERT A MONROE        814 FISK DR                                                                           FLINT              MI 48503‐5249
MR ROBERT A MORIAN        1954 FOX RIVER DR                                                                     BLOOMFIELD         MI 48304‐1022
MR ROBERT A MOUNT         2189 E JUDD RD                                                                        BURTON             MI 48529‐2406
MR ROBERT A NAGY          1081 E COLDWATER RD                                                                   FLINT              MI 48505‐1501
MR ROBERT A NIKIRK        307 HELTONVILLE RD W                                                                  BEDFORD            IN 47421‐9388
MR ROBERT A PETTYJOHN     220 LINCOLN AVE                                                                       BEDFORD            IN 47421‐1615
MR ROBERT A RAISON        707 WOODTOP RD                                                                        WILMINGTON         DE 19804‐2627
MR ROBERT A RAVAIOLI      68 SCHOOL ST                                                                          CLARK              NJ 07066‐1424
MR ROBERT A REID          217 W YALE AVE                                                                        PONTIAC            MI 48340‐1867
MR ROBERT A REYNOLDS      1306 1ST ST                                                                           BEDFORD            IN 47421‐1823
MR ROBERT A RUSSELL       344 MAIN ST                                                                           MASSENA            NY 13662‐2546
MR ROBERT A RYAN          1152 CROOKED LAKE RD                                                                  FENTON TOWNSHIP    MI 48501
MR ROBERT A SEDLACEK      4215 WOODROW AVE                                                                      BURTON             MI 48509‐1053
MR ROBERT A SIMMONS       1134 E PRINCETON AVE                                                                  FLINT              MI 48505‐1520
MR ROBERT A SLYMAN        14 LAUREL AVE                                                                         MASSENA            NY 13662‐2028
MR ROBERT A THIBODEAU     11081 GABRIELLA DR                                                                    CLEVELAND          OH 44130‐1469
MR ROBERT A TODD II       164 ALLEN ST                                                                          MASSENA            NY 13662‐1845
MR ROBERT A WAGNER        1313 N COURTLAND AVE                                                                  KOKOMO             IN 46901‐2751
MR ROBERT A WHITE         2208 COVERT RD                                                                        BURTON             MI 48509‐1015
MR ROBERT ADAMSON         1619 M ST BOX 775                                                                     BEDFORD            IN 47421‐3736
MR ROBERT B CLARK         1801 W 8TH ST                                                                         MUNCIE             IN 47302‐2196
MR ROBERT B HARTSHORN     507 W 10TH ST                                                                         MUNCIE             IN 47302‐3124
MR ROBERT B KING JR       11161 KAREN ST                                                                        LIVONIA            MI 48150‐3144
MR ROBERT B MINARD        936 MELROSE ST                                                                        PONTIAC            MI 48340‐3129
MR ROBERT B O'BRIAN       966 FULWELL DR                                                                        ONTARIO            OH 44906‐1111
MR ROBERT B POTTER        934 FAIRVIEW AVE                                                                      PONTIAC            MI 48340‐2521
MR ROBERT B SEAY          841 ORLANDO AVE                                                                       PONTIAC            MI 48340‐2356
MR ROBERT B STALNAKER     206 W LORDEMAN ST                                                                     KOKOMO             IN 46901‐2234
MR ROBERT B THOMAS JR     701 CURTIS AVE                                                                        WILMINGTON         DE 19804‐2109
MR ROBERT B YOUNG         10810 SAMANTHA PL                                                                     FREDERICKSBRG      VA 22408‐8043
MR ROBERT BEY             606 HARRIET ST APT 2                                                                  FLINT              MI 48505‐4775
MR ROBERT BLUME           115 1/2 W ELM ST                                                                      KOKOMO             IN 46901‐2839
MR ROBERT BRIGGS          102 PINGREE AVE                                                                       PONTIAC            MI 48342‐1103
MR ROBERT C CUMMINGS SR   644 HELEN ST                                                                          MOUNT MORRIS       MI 48458‐1925
MR ROBERT C HYNDS         1465 E SCOTTWOOD AVE                                                                  BURTON             MI 48529‐1625
MR ROBERT C JACKSON       1130 N WEBSTER ST                                                                     KOKOMO             IN 46901‐2706
MR ROBERT C LEE           108 VANCE DR                                                                          FREDERICKSBRG      VA 22408‐2034
MR ROBERT C MASON         1497 BRADY AVE                                                                        BURTON             MI 48529‐2011
MR ROBERT C PETER         1132 DOWAGIAC AVE                                                                     MOUNT MORRIS       MI 48458‐2580
MR ROBERT CASTILLO        4825 BRANDON ST                                                                       DETROIT            MI 48209‐1393
MR ROBERT D BAILIE        4113 WOODROW AVE                                                                      BURTON             MI 48509‐1051
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Name                       Address1                      Address2            Address3         Address4         City            State Zip
MR ROBERT D BASALLA        11389 DEBORAH DR                                                                    CLEVELAND        OH 44130‐1327
MR ROBERT D BENNETT        2701 GLENDAS WAY                                                                    FREDERICKSBRG    VA 22408‐8037
MR ROBERT D BESSTTE        17 BOWERS ST                                                                        MASSENA          NY 13662‐2104
MR ROBERT D BOOTH          116 W HOPKINS AVE                                                                   PONTIAC          MI 48340‐1820
MR ROBERT D BREWER         6224 SHELDON ST                                                                     YPSILANTI        MI 48197‐8223
MR ROBERT D BROWN          322 THE WOODS                                                                       BEDFORD          IN 47421‐9378
MR ROBERT D COLE           1522 N WABASH AVE                                                                   KOKOMO           IN 46901‐2011
MR ROBERT D DENNISTON      1907 MOUNT PLEASANT RD                                                              BEDFORD          IN 47421‐8036
MR ROBERT D FLEETWOOD      1786 US HIGHWAY 50 E                                                                BEDFORD          IN 47421‐8658
MR ROBERT D KRUMLAUF       1185 MORRIS HILLS PKWY                                                              MOUNT MORRIS     MI 48458‐2581
MR ROBERT D LEWIS          1388 PEERLESS RD                                                                    BEDFORD          IN 47421‐8100
MR ROBERT D MARSH          2708 N SOUTH POOR FARM RD                                                           BEDFORD          IN 47421‐9271
MR ROBERT D MARTIN         4023 HARVARD CIR APT 102                                                            KANSAS CITY      MO 64133‐1343
MR ROBERT D MCALLISTER     2098 E WHITTEMORE AVE                                                               BURTON           MI 48529‐1726
MR ROBERT D MEADOWS        3568 PEERLESS RD                                                                    BEDFORD          IN 47421‐8109
MR ROBERT D PETRONE        3801 LORRAINE AVE                                                                   FLINT            MI 48506‐4237
MR ROBERT D PURDY          1202 N ST                                                                           BEDFORD          IN 47421‐2940
MR ROBERT D SLATTERY JR    665 MAPLE ST                                                                        MOUNT MORRIS     MI 48458‐1926
MR ROBERT D SLATTERY SR    675 MAPLE ST                                                                        MOUNT MORRIS     MI 48458‐1926
MR ROBERT D SOUTHERN       1615 13TH ST                                                                        BEDFORD          IN 47421‐3113
MR ROBERT D STONE JR       2150 E BUDER AVE                                                                    BURTON           MI 48529‐1734
MR ROBERT D TINDALL        420 N ST                                                                            BEDFORD          IN 47421‐2120
MR ROBERT D WALTON         2211 E PARKWOOD AVE                                                                 BURTON           MI 48529‐1767
MR ROBERT D WATSON         1408 W 11TH ST                                                                      MUNCIE           IN 47302‐2171
MR ROBERT D WILKINS        31 GROVE ST                                                                         MASSENA          NY 13662‐2130
MR ROBERT DAVID HURT       10030 TREE HAVEN COURT                                                              SAN DIEGO        CA 92131
MR ROBERT DOCKERTY         1218 N WASHINGTON ST                                                                KOKOMO           IN 46901‐2802
MR ROBERT DRUMMOND         961 EMERSON AVE                                                                     PONTIAC          MI 48340‐3230
MR ROBERT DUNCAN           1601 2ND ST                                                                         BEDFORD          IN 47421‐1605
MR ROBERT DUNCAN           1210 W POWERS ST                                                                    MUNCIE           IN 47305‐2143
MR ROBERT DUNSMORE         1481 CONNELL ST                                                                     BURTON           MI 48529‐2204
MR ROBERT DUNSMORE         1506 E BUDER AVE                                                                    BURTON           MI 48529‐1606
MR ROBERT E BENJAMIN       1316 18TH ST                                                                        BEDFORD          IN 47421‐4135
MR ROBERT E BRIGGS         872 STIRLING ST                                                                     PONTIAC          MI 48340‐3165
MR ROBERT E CALVERT        1618 W 10TH ST                                                                      MUNCIE           IN 47302‐6605
MR ROBERT E CASEY          1493 E WILLIAMSON ST                                                                FLINT            MI 48529‐1627
MR ROBERT E CONKLIN        708 WEYBRIDGE DR                                                                    BLOOMFIELD       MI 48304‐1084
MR ROBERT E CRAWFORD       5 LYNAM PL                                                                          WILMINGTON       DE 19804‐2031
MR ROBERT E DAVIS          941 SUGAR HILL ADDITION                                                             BEDFORD          IN 47421‐8146
MR ROBERT E DOUGLASS       9719 TEXTILE RD                                                                     YPSILANTI        MI 48197‐7039
MR ROBERT E DWYRE          4397 BARNES AVE                                                                     BURTON           MI 48529‐2166
MR ROBERT E GEISLER        2027 S TERRACE ST                                                                   JANESVILLE       WI 53546‐6005
MR ROBERT E GORDON         9681 BAYVIEW DR APT 315                                                             YPSILANTI        MI 48197‐7026
MR ROBERT E GRANDBERRY     121 W BEVERLY AVE                                                                   PONTIAC          MI 48340‐2621
MR ROBERT E HADLEY         1706 FOX RIVER DR                                                                   BLOOMFIELD       MI 48304‐1018
MR ROBERT E HENDERSON JR   704 EMERSON AVE                                                                     PONTIAC          MI 48340‐3219
MR ROBERT E JACKSON        972 KETTERING AVE                                                                   PONTIAC          MI 48340‐3257
MR ROBERT E JONES          11279 MAGDALA DR                                                                    CLEVELAND        OH 44130‐1549
MR ROBERT E JORDAN         434 BEACH ST                                                                        MOUNT MORRIS     MI 48458‐1904
MR ROBERT E JORDAN         1088 LORENE AVE                                                                     MOUNT MORRIS     MI 48458‐2136
MR ROBERT E KALLAY JR      11390 SHARON DR                                                                     CLEVELAND        OH 44130‐1438
MR ROBERT E KINARY         5660 NATHAN DR                                                                      PARMA            OH 44130‐1560
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Name                       Address1                         Address2            Address3         Address4         City            State Zip
MR ROBERT E KINNEY JR      736 MONTICELLO AVE                                                                     PONTIAC          MI 48340‐2320
MR ROBERT E LEMMONS        1219 9TH ST                                                                            BEDFORD          IN 47421‐2517
MR ROBERT E LISTON JR      10904 STACY RUN                                                                        FREDERICKSBRG    VA 22408‐8047
MR ROBERT E MATTHEWS       1401 COLUMBIA DR                                                                       FLINT            MI 48503‐5233
MR ROBERT E NEELY          1126 W 11TH ST                                                                         MUNCIE           IN 47302‐2219
MR ROBERT E REEL           101 HOMELAWN AVE                                                                       KOKOMO           IN 46901‐5821
MR ROBERT E ROW            816 J ST                                                                               BEDFORD          IN 47421‐2629
MR ROBERT E SMOOT          553 FOX HILLS DR N                                                                     BLOOMFIELD       MI 48304‐1311
MR ROBERT E TAYLOR JR      11225 N CLUB DR                                                                        FREDERICKSBRG    VA 22408‐2054
MR ROBERT E THOMPSON       2139 CASHIN ST                                                                         BURTON           MI 48509‐1139
MR ROBERT E TRAURIG        599 FOX HILLS DR N                                                                     BLOOMFIELD       MI 48304‐1311
MR ROBERT E WELLS          1314 2ND ST                                                                            BEDFORD          IN 47421‐1802
MR ROBERT F BEECKMAN       550 FOX RIVER DR                                                                       BLOOMFIELD       MI 48304‐1010
MR ROBERT F BROWN          49 DOUGLAS RD                                                                          MASSENA          NY 13662‐2135
MR ROBERT F ELLER II       12025 HALLER ST                                                                        LIVONIA          MI 48150‐2375
MR ROBERT F FARRINGTON     7 FLORENCE DR                                                                          CLARK            NJ 07066‐1210
MR ROBERT F FISH           4 THAYER ST                                                                            FRAMINGHAM       MA 01702‐8718
MR ROBERT F MAHER SR       99 S LAURA CT                                                                          WILMINGTON       DE 19804‐2044
MR ROBERT F MORGAN         54 BRIDGES AVE                                                                         MASSENA          NY 13662‐1828
MR ROBERT F WALTEMATH JR   11271 NAOMI DR                                                                         PARMA            OH 44130‐1557
MR ROBERT F WHICHARD       1106 W 11TH ST                                                                         MUNCIE           IN 47302‐2219
MR ROBERT FORD             600 W 8TH ST                                                                           MUNCIE           IN 47302‐3155
MR ROBERT G ADAMS          804 RACQUETTE RD # 804                                                                 POTSDAM          NY 13676‐1208
MR ROBERT G BOBO JR        717 GARNET RD                                                                          WILMINGTON       DE 19804‐2613
MR ROBERT G CONOMON SR     41 LYNBROOK RD                                                                         WILMINGTON       DE 19804‐2668
MR ROBERT G FOURNIER       1509 BRADY AVE                                                                         BURTON           MI 48529‐2011
MR ROBERT G FROST          1241 E HAMILTON AVE                                                                    FLINT            MI 48506‐3210
MR ROBERT G GREEN          14 CHERRY ST                                                                           MASSENA          NY 13662‐1806
MR ROBERT G HOLT           666 KETTERING AVE                                                                      PONTIAC          MI 48340‐3243
MR ROBERT G HOWELL         133 N GRACE ST                                                                         LANSING          MI 48917‐2947
MR ROBERT G HYDE           528 N DEERFIELD AVE                                                                    LANSING          MI 48917‐2911
MR ROBERT G LATHER         3018 TIMBER DR                                                                         LANSING          MI 48917‐2383
MR ROBERT G LEBRASSEUR     4291 FARMCREST ST                                                                      BURTON           MI 48509‐1105
MR ROBERT G LESSNAU        2037 BOOTMAKER LN                                                                      BLOOMFIELD       MI 48304‐1005
MR ROBERT G MARICLE        11035 HARVARD CT APT 5                                                                 MOUNT MORRIS     MI 48458‐1985
MR ROBERT G MARSH          605 N WALNUT ST                                                                        WILMINGTON       DE 19804‐2623
MR ROBERT G MCCLELLAND     199 W STRATHMORE AVE                                                                   PONTIAC          MI 48340‐2777
MR ROBERT G NOECKER        502 BON AIR RD                                                                         LANSING          MI 48917‐2905
MR ROBERT G PENCE          1164 CLOVERLAWN DR                                                                     PONTIAC          MI 48340‐1614
MR ROBERT G PING           12163 CAMDEN ST                                                                        LIVONIA          MI 48150‐2359
MR ROBERT G QUELLOS        10990 GABRIELLA DR                                                                     CLEVELAND        OH 44130‐1466
MR ROBERT G REYNOLDS       569 RAWLINS MILL RD                                                                    BEDFORD          IN 47421‐7650
MR ROBERT G SMITH          820 N MORRISON ST                                                                      KOKOMO           IN 46901‐3354
MR ROBERT G WILLIAMS       236 W STRATHMORE AVE                                                                   PONTIAC          MI 48340‐2778
MR ROBERT GALLOWAY         1235 N COURTLAND AVE                                                                   KOKOMO           IN 46901‐2753
MR ROBERT GUTIERREZ        4276 S SHORE ST                                                                        WATERFORD        MI 48328‐1157
MR ROBERT H BRADLEY JR     106 VANCE DR                                                                           FREDERICKSBRG    VA 22408‐2034
MR ROBERT H CROSS JR       1601 S PIERCE ST                                                                       MUNCIE           IN 47302‐2215
MR ROBERT H MAYO JR        421 HOLLIS ST                                                                          FRAMINGHAM       MA 01702‐8646
MR ROBERT H PAGE           1066 TERRY AVE                                                                         MOUNT MORRIS     MI 48458‐2568
MR ROBERT H WILLIAMS JR    4239 TOLEDO ST                                                                         DETROIT          MI 48209‐1364
MR ROBERT HEICHELBECH      526 15TH ST                                                                            BEDFORD          IN 47421‐3804
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Name                      Address1                           Address2            Address3         Address4         City            State Zip
MR ROBERT I HOLLIDAY      264 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐2740
MR ROBERT I PETTIGREW     444 FOX HILLS DR N APT 2                                                                 BLOOMFIELD       MI 48304‐1329
MR ROBERT J BELFORD       2199 COVERT RD                                                                           BURTON           MI 48509‐1014
MR ROBERT J BURDETTE      40 BLAINE AVE                                                                            PONTIAC          MI 48342‐1100
MR ROBERT J CAMPBELL JR   2911 HARWICK DR APT 7                                                                    LANSING          MI 48917‐2356
MR ROBERT J CATHELL SR    502 BECKER AVE                                                                           WILMINGTON       DE 19804‐2104
MR ROBERT J CIESLIGA      416 FOX HILLS DR S APT 5                                                                 BLOOMFIELD       MI 48304‐1347
MR ROBERT J COURTER       1121 LAPORT AVE                                                                          MOUNT MORRIS     MI 48458‐2535
MR ROBERT J DEANS         177 W SHEFFIELD AVE                                                                      PONTIAC          MI 48340‐1853
MR ROBERT J DEMBOWSKI     2600 MELISSA CT                                                                          FREDERICKSBRG    VA 22408‐8069
MR ROBERT J DUBREUIL      11405 UNION ST                                                                           MOUNT MORRIS     MI 48458‐2212
MR ROBERT J FRANCIS JR    40 HIGHLAND AVE                                                                          MASSENA          NY 13662‐1726
MR ROBERT J GALLO         877 STANLEY AVE                                                                          PONTIAC          MI 48340‐2559
MR ROBERT J HENDRICKSON   2103 E BERGIN AVE                                                                        BURTON           MI 48529‐1703
MR ROBERT J HINES         789 CORWIN CT                                                                            PONTIAC          MI 48340‐2415
MR ROBERT J JEFFERY       409 EAST AVE                                                                             WILMINGTON       DE 19804‐2022
MR ROBERT J JOBACK        205 WALNUT AVE                                                                           CLARK            NJ 07066‐1239
MR ROBERT J KLINE         2201 SHERIDAN ST                                                                         JANESVILLE       WI 53546‐5976
MR ROBERT J KOSTIN        707 RILEY BLVD                                                                           BEDFORD          IN 47421‐9228
MR ROBERT J LAFORTUNE     11504 MIDDLEBELT RD                                                                      LIVONIA          MI 48150‐3055
MR ROBERT J LERMA         182 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐2738
MR ROBERT J LOONEY JR     507 W CHAMPLAIN AVE                                                                      WILMINGTON       DE 19804‐2015
MR ROBERT J MCCURDY       9663 BAYVIEW DR APT 311                                                                  YPSILANTI        MI 48197‐7028
MR ROBERT J MOSSOW        279 MAIN ST                                                                              MASSENA          NY 13662‐1904
MR ROBERT J MULHERIN JR   1330 W ALEXIS RD LOT 52                                                                  TOLEDO           OH 43612‐4263
MR ROBERT J MURPHY        395 HOLLIS ST                                                                            FRAMINGHAM       MA 01702‐8618
MR ROBERT J MYERS JR      823 W CHAMPLAIN AVE                                                                      WILMINGTON       DE 19804‐2017
MR ROBERT J NILES         9954 LINDA DR                                                                            YPSILANTI        MI 48197‐6916
MR ROBERT J ORMAN         1141 PANAMA AVE                                                                          MOUNT MORRIS     MI 48458‐2533
MR ROBERT J PIERCE        1511 N LAFOUNTAIN ST                                                                     KOKOMO           IN 46901‐2325
MR ROBERT J PLANCK        407 W FENTON ST                                                                          UNION CITY       MI 49094‐1228
MR ROBERT J PROVOST       20 ALVERN AVE                                                                            MASSENA          NY 13662‐2144
MR ROBERT J ROSS          1109 W 15TH ST                                                                           MUNCIE           IN 47302‐3069
MR ROBERT J RUFA          26 NIGHTENGALE AVE                                                                       MASSENA          NY 13662‐1715
MR ROBERT J SCHWARTZ JR   111 BROOKE DR                                                                            FREDERICKSBRG    VA 22408‐2001
MR ROBERT J SHEPPARD      1397 WEBEER AVE                                                                          BURTON           MI 48529‐2033
MR ROBERT J STRINGER      1504 WEBBER AVE                                                                          BURTON           MI 48529‐2038
MR ROBERT J THOMPSON      615 CURTIS AVE                                                                           WILMINGTON       DE 19804‐2107
MR ROBERT J TRIBBITT      401 EXMORE AVE                                                                           WILMINGTON       DE 19805‐2323
MR ROBERT J WARREN        2964 MOUNT PLEASANT RD                                                                   BEDFORD          IN 47421‐8045
MR ROBERT J WHITE         1 GRASSMERE TER APT 11                                                                   MASSENA          NY 13662‐2161
MR ROBERT J WHITE         2194 E SCOTTWOOD AVE                                                                     BURTON           MI 48529‐1754
MR ROBERT J WILLER JR     10 HIGHLAND PARK                                                                         MASSENA          NY 13662‐1834
MR ROBERT J ZANETTI       923 WESTFIELD RD                                                                         LANSING          MI 48917‐2372
MR ROBERT JACKSON         548 CAMERON AVE                                                                          PONTIAC          MI 48342‐1814
MR ROBERT JAMES           209 E ORVIS ST                                                                           MASSENA          NY 13662‐2254
MR ROBERT JENKINS         700 PORT ST APT 122                                                                      EASTON           MD 21601‐8187
MR ROBERT JONES           2500 JUNCTION ST APT 2                                                                   DETROIT          MI 48209‐1469
MR ROBERT K CLARK JR      434 FOX HILLS DR N APT 1                                                                 BLOOMFIELD       MI 48304‐1328
MR ROBERT K DOWNING       7175 OZGA ST                                                                             ROMULUS          MI 48174‐1325
MR ROBERT K DUMAS         5 PROSPECT AVE                                                                           MASSENA          NY 13662‐1749
MR ROBERT K PAYSON JR     9 W KEYSTONE AVE                                                                         WILMINGTON       DE 19804‐2027
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Name                       Address1                           Address2            Address3         Address4         City            State Zip
MR ROBERT K SNOW 3D        145 THE WOODS                                                                            BEDFORD          IN 47421‐9300
MR ROBERT K STAUBLE        200 W CORNELL AVE                                                                        PONTIAC          MI 48340‐2724
MR ROBERT KENT             3589 28TH ST                                                                             DETROIT          MI 48210‐3103
MR ROBERT L ADAMS          2106 MORRIS AVE                                                                          BURTON           MI 48529‐2105
MR ROBERT L ALLEN          10721 FAIRLAWN DR                                                                        PARMA            OH 44130‐1209
MR ROBERT L ALLEN          1515 TULANE CIR                                                                          FLINT            MI 48503‐5252
MR ROBERT L ASHBA JR       1211 L ST                                                                                BEDFORD          IN 47421‐2920
MR ROBERT L BENNETT        412 N CATHERINE ST                                                                       LANSING          MI 48917‐4904
MR ROBERT L BISHOP         172 WATER ST APT C                                                                       MASSENA          NY 13662‐3600
MR ROBERT L BROWN          1548 ANTHONY AVE                                                                         JANESVILLE       WI 53546‐6010
MR ROBERT L BRYANT JR      600 HARWOOD RD                                                                           WILMINGTON       DE 19804‐2657
MR ROBERT L CHANEY JR      807 PENSACOLA AVE                                                                        PONTIAC          MI 48340‐2362
MR ROBERT L CHAPA          827 INGLEWOOD AVE                                                                        PONTIAC          MI 48340‐2314
MR ROBERT L COLE JR        54 W PRINCETON AVE                                                                       PONTIAC          MI 48340‐1836
MR ROBERT L DAILEY         1727 M ST                                                                                BEDFORD          IN 47421‐4226
MR ROBERT L ELLIS          1210 W 16TH ST                                                                           MUNCIE           IN 47302‐3081
MR ROBERT L FISCHER        4041 WOODROW AVE                                                                         BURTON           MI 48509‐1050
MR ROBERT L FISHER         401 HELEN ST                                                                             MOUNT MORRIS     MI 48458‐1920
MR ROBERT L FORTNER        3631 PEERLESS RD                                                                         BEDFORD          IN 47421‐8110
MR ROBERT L GILBERT SR     2402 LINKWOOD AVE                                                                        WILMINGTON       DE 19805‐2330
MR ROBERT L GRUENWALD      2137 S OAKHILL AVE                                                                       JANESVILLE       WI 53546‐6104
MR ROBERT L HAIGHT         4288 GREENLY ST                                                                          BURTON           MI 48529‐2079
MR ROBERT L HARRIS         2236 E WILLIAMSON ST                                                                     BURTON           MI 48529‐2446
MR ROBERT L HOJNOWSKI      3269 GOLDNER ST                                                                          DETROIT          MI 48210‐3232
MR ROBERT L HUTSON         684 STIRLING ST                                                                          PONTIAC          MI 48340‐3161
MR ROBERT L JOHNSON        318 N CATHERINE ST                                                                       LANSING          MI 48917‐2930
MR ROBERT L KOZLOWSKI      2429 MCKINSTRY ST                                                                        DETROIT          MI 48209‐1352
MR ROBERT L LAWRENCE       789 BAY ST                                                                               PONTIAC          MI 48342‐1901
MR ROBERT L LINDSEY        2202 E BERGIN AVE                                                                        BURTON           MI 48529‐1782
MR ROBERT L MILLER         2208 S ARCH ST                                                                           JANESVILLE       WI 53546‐5956
MR ROBERT L MOSLEY         2332 S OAKHILL AVE                                                                       JANESVILLE       WI 53546‐9063
MR ROBERT L PARKS          117 UNIVERSITY PLACE DR                                                                  PONTIAC          MI 48342‐1890
MR ROBERT L RODRIGUEZ JR   797 CORWIN CT                                                                            PONTIAC          MI 48340‐2415
MR ROBERT L SHIMMEL        3465 BARNES AVE                                                                          BURTON           MI 48529‐1317
MR ROBERT L SMITH          391 W COLUMBIA AVE                                                                       PONTIAC          MI 48340‐1619
MR ROBERT L SOLLES SR      1417 ARBUTUS ST                                                                          JANESVILLE       WI 53546‐6139
MR ROBERT L STANTON        138 BRYNFORD AVE                                                                         LANSING          MI 48917‐2922
MR ROBERT L TAYLOR         1435 BRADY AVE                                                                           BURTON           MI 48529‐2009
MR ROBERT L TAYLOR         896 BAY ST                                                                               PONTIAC          MI 48342‐1902
MR ROBERT L WALTERS        1123 SUMMIT LN                                                                           BEDFORD          IN 47421‐2549
MR ROBERT L WATSON         1515 N MORRISON ST                                                                       KOKOMO           IN 46901‐2154
MR ROBERT L WILLIAMS JR    1414 S COUNCIL ST                                                                        MUNCIE           IN 47302‐3133
MR ROBERT L WILSON         1446 W 13TH ST                                                                           MUNCIE           IN 47302‐2902
MR ROBERT L WINANS         1476 READY AVE                                                                           BURTON           MI 48529‐2054
MR ROBERT LEROUX           197 E ORVIS ST                                                                           MASSENA          NY 13662‐2256
MR ROBERT M BATTERSHIELD   104 TRIPP ST                                                                             FRAMINGHAM       MA 01702‐8778
MR ROBERT M COLTER JR      10812 COREYS WAY                                                                         FREDERICKSBRG    VA 22408‐2065
MR ROBERT M COURTNEY       38 READ AVE                                                                              WILMINGTON       DE 19804‐2034
MR ROBERT M FINKLE         2114 E BRISTOL RD                                                                        BURTON           MI 48529‐1321
MR ROBERT M FOURNIER       65 DOUGLAS RD                                                                            MASSENA          NY 13662‐2135
MR ROBERT M GIFFORD        1239 N MORRISON ST APT 1                                                                 KOKOMO           IN 46901‐2776
MR ROBERT M GILLIS         123 THE WOODS                                                                            BEDFORD          IN 47421‐9300
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MR ROBERT M HARRIS        9923 JOAN CIR                                                                        YPSILANTI        MI 48197‐6903
MR ROBERT M KENDRICK      89 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2735
MR ROBERT M MOSER SR      10881 AARON DR                                                                       PARMA            OH 44130‐1359
MR ROBERT M MOSS          40 W LONGFELLOW AVE                                                                  PONTIAC          MI 48340‐1826
MR ROBERT M NAMY          5502 QUEENS HWY                                                                      CLEVELAND        OH 44130‐1316
MR ROBERT M PAGE          3 BRIGHTON ST                                                                        MASSENA          NY 13662‐2229
MR ROBERT M SABINE        2160 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2444
MR ROBERT M SABINE        2258 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2449
MR ROBERT M STOUT JR      2393 WHITNEY AVE                                                                     ONTARIO          OH 44906‐1195
MR ROBERT M WAGNER        2281 VALLEY GATE                                                                     MILFORD          MI 48380‐4250
MR ROBERT MCPEEK          1804 N WABASH AVE                                                                    KOKOMO           IN 46901‐2005
MR ROBERT MCTEAGUE        4527 ST ANDREWS DRIVE                                                                BOYNTON BEACH    FL 33436‐4425
MR ROBERT N BURROWS II    55 LEANEE LN                                                                         PONTIAC          MI 48340‐1651
MR ROBERT N PLUMMER       1609 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8034
MR ROBERT N SENG          9896 JOAN CIR                                                                        YPSILANTI        MI 48197‐6911
MR ROBERT N WYKOFF JR     500 GREENTREE DR APT 4                                                               BEDFORD          IN 47421‐9675
MR ROBERT NANN            4744 70TH ST UNIT 2                                                                  LA MESA          CA 91942
MR ROBERT OATMAN          83 HUDSON AVE                                                                        PONTIAC          MI 48342‐1244
MR ROBERT ORTIZ           852 EMERSON AVE                                                                      PONTIAC          MI 48340‐3225
MR ROBERT P GAZSO         1488 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1626
MR ROBERT P MCCLAY        411 W CHAMPLAIN AVE                                                                  WILMINGTON       DE 19804‐2013
MR ROBERT P METZ          10799 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1373
MR ROBERT P PAQUETTE SR   11756 CAMDEN ST                                                                      LIVONIA          MI 48150‐2362
MR ROBERT P SMITH         1437 W 9TH ST                                                                        MUNCIE           IN 47302‐2166
MR ROBERT P WOLFE         1104 BALDWIN AVE                                                                     PONTIAC          MI 48340‐2704
MR ROBERT PHILLIPS        1516 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐6024
MR ROBERT R BELL JR       919 BAY ST                                                                           PONTIAC          MI 48342‐1905
MR ROBERT R BURKS         2001 N CENTER RD APT 115                                                             FLINT            MI 48506‐3198
MR ROBERT R CUNNINGHAM    4350 COLUMBINE AVE                                                                   BURTON           MI 48529‐2119
MR ROBERT R EGRES         232 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2740
MR ROBERT R GALLAGHER     10880 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1249
MR ROBERT R HALL          1606 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6142
MR ROBERT R HOAGUE        2145 S WALNUT ST                                                                     JANESVILLE       WI 53546‐6135
MR ROBERT R KERN SR       826 SOUTH ST                                                                         MOUNT MORRIS     MI 48458‐2027
MR ROBERT R MARCUS        514 N CATHERINE ST                                                                   LANSING          MI 48917‐2932
MR ROBERT R MOULTRIE      610 E PATERSON ST                                                                    FLINT            MI 48505‐4744
MR ROBERT R PATZELT       2036 STONE HOLLOW CT                                                                 BLOOMFIELD       MI 48304‐1074
MR ROBERT R WALSH         2 E CONRAD DR                                                                        WILMINGTON       DE 19804‐2039
MR ROBERT RAMOS JR        3552 28TH ST                                                                         DETROIT          MI 48210‐3104
MR ROBERT S ADAMS         2244 WEBBER AVE                                                                      BURTON           MI 48529‐2416
MR ROBERT S BESSON JR     236 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2762
MR ROBERT S FLOYD         12000 TECH CENTER DR                                                                 LIVONIA          MI 48150‐2121
MR ROBERT S GILCHRIST     167 W TENNYSON AVE                                                                   PONTIAC          MI 48340‐2673
MR ROBERT S HENRY         2116 N CENTER RD                                                                     BURTON           MI 48509‐1002
MR ROBERT S KELLAMS       1227 13TH ST                                                                         BEDFORD          IN 47421‐3208
MR ROBERT S KNOX JR       1022 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1700
MR ROBERT S LAKE          1130 DOROTHY ST                                                                      MOUNT MORRIS     MI 48458‐2225
MR ROBERT S LARSON        1933 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6014
MR ROBERT S MARENTETTE    40 W CORNELL AVE                                                                     PONTIAC          MI 48340‐2716
MR ROBERT S MURANY II     11308 UNION ST                                                                       MOUNT MORRIS     MI 48458‐2211
MR ROBERT S OGLAGEO       1810 N WASHINGTON ST TRLR 6                                                          KOKOMO           IN 46901‐2277
MR ROBERT S SINTON        10934 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8047
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Name                       Address1                       Address2              Address3       Address4                 City            State Zip
MR ROBERT S SMITH          2035 E BUDER AVE                                                                             BURTON           MI 48529‐1731
MR ROBERT S WELLS          56 GROVE ST                                                                                  MASSENA          NY 13662‐2126
MR ROBERT SCHOFIELD        1075 CENTRAL AVE                                                                             CLARK            NJ 07066‐1116
MR ROBERT SIERRA           77 CENTRAL AVE STE 214                                                                       CLARK            NJ 07066‐1441
MR ROBERT SINGLETON        730 STIRLING ST                                                                              PONTIAC          MI 48340‐3169
MR ROBERT STANDFIELD       54 W YPSILANTI AVE                                                                           PONTIAC          MI 48340‐1870
MR ROBERT STONE            2072 E JUDD RD                                                                               BURTON           MI 48529‐2403
MR ROBERT SULLIVAN         238 RAWLINS MILL RD                                                                          BEDFORD          IN 47421‐7648
MR ROBERT T FAY            117 ANDREWS ST                                                                               MASSENA          NY 13662‐1839
MR ROBERT T FREGOE SR      37 GROVE ST                                                                                  MASSENA          NY 13662‐2130
MR ROBERT T MENEELY        584 FOX HILLS DR S                                                                           BLOOMFIELD       MI 48304‐1316
MR ROBERT T PIERCE         505 BECKER AVE                                                                               WILMINGTON       DE 19804‐2103
MR ROBERT T STRASSER       28 W CORNELL AVE                                                                             PONTIAC          MI 48340‐2716
MR ROBERT T STUBBS         8 KENT ST                                                                                    MASSENA          NY 13662‐2120
MR ROBERT TILKIN           C/O DEUTSCHE BANK SA/NV        AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR ROBERT TOWNSEND         5641 CHEVROLET BLVD APT 3                                                                    PARMA           OH   44130‐8710
MR ROBERT V BURGHDOFF      129 N CATHERINE ST                                                                           LANSING         MI   48917‐2929
MR ROBERT V MCGRAIN        118 LEROY ST APT L6                                                                          POTSDAM         NY   13676‐1629
MR ROBERT VANGILDER        209 N CATHERINE ST                                                                           LANSING         MI   48917‐4903
MR ROBERT W ASHBROOK       4315 WOODROW AVE                                                                             BURTON          MI   48509‐1125
MR ROBERT W BEACH          715 ROBINWOOD ST                                                                             PONTIAC         MI   48340‐3141
MR ROBERT W BRAATZ         10880 SHARON DR                                                                              PARMA           OH   44130‐1428
MR ROBERT W COCHRANE       108 ANDREWS ST APT 3                                                                         MASSENA         NY   13662‐2806
MR ROBERT W CURTIS JR      1265 STANLEY AVE                                                                             PONTIAC         MI   48340‐1746
MR ROBERT W DAVIS          1811 N LAFOUNTAIN ST                                                                         KOKOMO          IN   46901‐2318
MR ROBERT W DODGE          1001 KETTERING AVE                                                                           PONTIAC         MI   48340‐3260
MR ROBERT W EWRY           1717 S GHARKEY ST                                                                            MUNCIE          IN   47302‐3180
MR ROBERT W FERREIRA       60 GROVE ST                                                                                  MASSENA         NY   13662‐2126
MR ROBERT W GARRETT JR     10924 STACY RUN                                                                              FREDERICKSBRG   VA   22408‐8047
MR ROBERT W GLENCER        9959 JOAN CIR                                                                                YPSILANTI       MI   48197‐6904
MR ROBERT W HARGESHEIMER   1217 L ST                                                                                    BEDFORD         IN   47421‐2920
MR ROBERT W INGRAM         1454 E JUDD RD                                                                               BURTON          MI   48529‐2006
MR ROBERT W LIPSCOMB       507 W 9TH ST                                                                                 MUNCIE          IN   47302‐3120
MR ROBERT W MARSH          3817 MARMION AVE                                                                             FLINT           MI   48506‐4241
MR ROBERT W MCNEIL         11725 N SAGINAW ST APT 2                                                                     MOUNT MORRIS    MI   48458‐2061
MR ROBERT W MOFFATT        1112 17TH ST                                                                                 BEDFORD         IN   47421‐4229
MR ROBERT W MOTT           9 LAUREL AVE APT 1009                                                                        MASSENA         NY   13662‐2159
MR ROBERT W MURAL          11340 BROOKPARK RD                                                                           CLEVELAND       OH   44130‐1129
MR ROBERT W OSBORN         1706 N WASHINGTON ST                                                                         KOKOMO          IN   46901‐2208
MR ROBERT W OSBORN         1700 N WASHINGTON ST                                                                         KOKOMO          IN   46901‐2208
MR ROBERT W PARKS          1125 N COURTLAND AVE                                                                         KOKOMO          IN   46901‐2755
MR ROBERT W SMITH          1941 W 9TH ST                                                                                MUNCIE          IN   47302‐2124
MR ROBERT W STEPHENSON     58 BRIDGES AVE                                                                               MASSENA         NY   13662‐1828
MR ROBERT W TASH           2201 N LAFOUNTAIN ST                                                                         KOKOMO          IN   46901‐1405
MR ROBERT W TEAGUE         2118 CASHIN ST                                                                               BURTON          MI   48509‐1140
MR ROBERT W VILLABOL       813 ORLANDO AVE                                                                              PONTIAC         MI   48340‐2356
MR ROBERT WHITE            712 E 7TH ST                                                                                 MUNCIE          IN   47302‐3422
MR ROBERT WILLER           49 PARKER AVE                                                                                MASSENA         NY   13662‐2213
MR ROBERT WILSON           102 SUMMIT ST                                                                                PONTIAC         MI   48342‐1165
MR ROBERT YOUNG            1612 S GHARKEY ST                                                                            MUNCIE          IN   47302‐3179
MR ROBERT Z RAMIREZ        4352 SHUBERT AVE                                                                             BURTON          MI   48529‐2161
MR ROBERTO C DEGRO         144 W COLUMBIA AVE                                                                           PONTIAC         MI   48340‐1810
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Name                        Address1                       Address2            Address3         Address4         City           State Zip
MR ROBERTO CAMARENA         2175 LANSING ST                                                                      DETROIT         MI 48209‐1672
MR ROBERTO G CAMARENA       2188 LANSING ST                                                                      DETROIT         MI 48209‐1673
MR ROBERTO GAYTAN           820 EMERSON AVE                                                                      PONTIAC         MI 48340‐3223
MR ROBERTO GUZMAN           4610 PLUMER ST                                                                       DETROIT         MI 48209‐1470
MR ROBERTO J PRADO‐OROZCO   2042 CLARK ST                                                                        DETROIT         MI 48209‐1669
MR ROBERTO LOPEZ            24 APPLE LN                                                                          PONTIAC         MI 48340‐1600
MR ROBERTO ORTIZ            835 KETTERING AVE                                                                    PONTIAC         MI 48340‐3254
MR ROBERTO REYES            814 HARWOOD RD                                                                       WILMINGTON      DE 19804‐2661
MR ROBERTO RUIZ             2172 HUBBARD ST                                                                      DETROIT         MI 48209‐3318
MR ROBIN L KOERNER          5 E KEYSTONE AVE                                                                     WILMINGTON      DE 19804‐2023
MR ROBIN L MCNALLY          1368 WEBBER AVE                                                                      BURTON          MI 48529‐2034
MR ROBRET O OLSON           1210 ANTHONY AVE APT 2                                                               JANESVILLE      WI 53546‐6060
MR ROC O POSHEDLEY          11081 FAIRLAWN DR                                                                    CLEVELAND       OH 44130‐1217
MR ROCK R TRAINOR           1914 S CHATHAM ST                                                                    JANESVILLE      WI 53546‐6064
MR ROCKLAND L RICHARDSON    1087 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1611
MR ROCKY S PICCIONE         1508 ARBUTUS ST                                                                      JANESVILLE      WI 53546‐6140
MR RODERICK L OWENS         140 CHARLES LN                                                                       PONTIAC         MI 48341‐2927
MR RODERICK Q CARPENTER     1131 BOYNTON DR                                                                      LANSING         MI 48917‐5706
MR RODGER D LEE             704 ROBINWOOD ST                                                                     PONTIAC         MI 48340‐3139
MR RODGER S SONTOS          544 CAMERON AVE                                                                      PONTIAC         MI 48342‐1814
MR RODNEY A HOLT            1425 S HOYT AVE                                                                      MUNCIE          IN 47302‐3190
MR RODNEY A SWACKHAMER      207 W CORNELL AVE                                                                    PONTIAC         MI 48340‐2725
MR RODNEY B BUNCH           2637 MOUNT PLEASANT RD                                                               BEDFORD         IN 47421‐8042
MR RODNEY B CRARY           125 ALLEN ST                                                                         MASSENA         NY 13662‐1803
MR RODNEY D DURFORD         711 BAY ST                                                                           PONTIAC         MI 48342‐1921
MR RODNEY D KARAS           2087 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2435
MR RODNEY D KIGER           803 W WILLARD ST                                                                     MUNCIE          IN 47302‐2231
MR RODNEY E DOUGLAS         4 SCHOOL ST                                                                          MASSENA         NY 13662‐1712
MR RODNEY E PRATER          815 W GRAND BLVD                                                                     DETROIT         MI 48216‐1056
MR RODNEY J JOHNSON         4194 WINDMILL FARMS                                                                  MILFORD         MI 48380‐4279
MR RODNEY J LOWE            240 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐2740
MR RODNEY J MEECE           1205 W 1ST ST                                                                        MUNCIE          IN 47305‐2106
MR RODNEY J MEECE           1024 W 2ND ST                                                                        MUNCIE          IN 47305‐2109
MR RODNEY J MOORE           794 ORLANDO AVE                                                                      PONTIAC         MI 48340‐2353
MR RODNEY L CURRAN          2 LAUREL AVE APT 1                                                                   MASSENA         NY 13662‐2098
MR RODNEY L ELLIS           11030 AARON DR                                                                       CLEVELAND       OH 44130‐1362
MR RODNEY L MALONE          291 HENRY ST APT 104                                                                 BELLEVILLE      MI 48111‐2963
MR RODNEY L MCCORMICK       2128 CASHIN ST                                                                       BURTON          MI 48509‐1140
MR RODNEY L MILLER          1112 W BURBANK AVE APT 301                                                           JANESVILLE      WI 53546‐6146
MR RODNEY L WINTERS         1493 BRADY AVE                                                                       BURTON          MI 48529‐2011
MR RODNEY P HAINES          370 LAKESIDE DR                                                                      PONTIAC         MI 48340‐2315
MR RODNEY P HAINES          1117 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1705
MR RODNEY R BOMSTA          575 HELEN ST                                                                         MOUNT MORRIS    MI 48458‐1922
MR RODNEY SPANGLER          6240 N PLACATA DE ROJELIO                                                            TUCSON          AZ 85718‐2738
MR RODOLFO DELD FUENTE      1210 KING ST                                                                         JANESVILLE      WI 53546‐6058
MR RODOLFO L GAYTAN         91 W YALE AVE                                                                        PONTIAC         MI 48340‐1861
MR RODOLFO MEJIA            1170 MEADOWLAWN DR                                                                   PONTIAC         MI 48340‐1734
MR RODRIGO G GAYTAN         63 W PRINCETON AVE                                                                   PONTIAC         MI 48340‐1837
MR RODRIGO P PIRES          502 HOLLIS ST APT 1                                                                  FRAMINGHAM      MA 01702‐8645
MR RODRIQUEZ MCGRUDER       PO BOX 980176                                                                        YPSILANTI       MI 48198‐0176
MR ROGELIO J FERNANDEZ      232 N DEERFIELD AVE                                                                  LANSING         MI 48917‐2907
MR ROGELIO M LARA           2079 CLARKDALE ST                                                                    DETROIT         MI 48209‐1691
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR ROGER A JULIAN SR       11800 BROOKPARK RD TRLR 145                                                          CLEVELAND        OH 44130‐1189
MR ROGER A PASQUERELLO     859 MELROSE ST                                                                       PONTIAC          MI 48340‐3126
MR ROGER D GABRIEL         4074 WOODROW AVE                                                                     BURTON           MI 48509‐1012
MR ROGER D JONES           808 W 11TH ST                                                                        MUNCIE           IN 47302‐3171
MR ROGER D LEEP            1212 N WASHINGTON ST                                                                 KOKOMO           IN 46901‐2802
MR ROGER D MILLS JR        705 LIVINGSTON AVE                                                                   PONTIAC          MI 48340‐2446
MR ROGER D ROBERTSON       326 BURROUGHS AVE                                                                    FLINT            MI 48507‐2709
MR ROGER D VANDIVER        1717 N MCCANN ST                                                                     KOKOMO           IN 46901‐2057
MR ROGER E HAUSE           14 W CONRAD DR                                                                       WILMINGTON       DE 19804‐2040
MR ROGER E MARTIN          2049 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2443
MR ROGER H COLLIER         1904 J ST                                                                            BEDFORD          IN 47421‐4243
MR ROGER J LYONS           483 W COLUMBIA AVE APT 201                                                           PONTIAC          MI 48340‐1644
MR ROGER J OLSON           2339 CENTER AVE                                                                      JANESVILLE       WI 53546‐8959
MR ROGER J POMMIER         2808 N LABADIE                                                                       MILFORD          MI 48380‐2920
MR ROGER K NINNESS         1525 W 13TH ST APT 5                                                                 MUNCIE           IN 47302‐3194
MR ROGER L BROWN           3367 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8048
MR ROGER L CONLEY          1422 READY AVE                                                                       BURTON           MI 48529‐2052
MR ROGER L HESTON          2419 FERGUSON RD                                                                     ONTARIO          OH 44906‐1106
MR ROGER L LASHOMB         20 ROCKAWAY ST                                                                       MASSENA          NY 13662‐2150
MR ROGER L OWEN            153 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2737
MR ROGER L STEEN           415 N GRACE ST                                                                       LANSING          MI 48917‐4911
MR ROGER L WILLIAMS        706 BECKER CT                                                                        WILMINGTON       DE 19804‐2100
MR ROGER M BENNETT         30 PROSPECT AVE                                                                      MASSENA          NY 13662‐1744
MR ROGER M CHARLTON        55 DOUGLAS RD                                                                        MASSENA          NY 13662‐2135
MR ROGER M IKERD           1231 9TH ST                                                                          BEDFORD          IN 47421‐2517
MR ROGER M SMITH           2900 VINEWOOD ST                                                                     DETROIT          MI 48216‐1085
MR ROGER N KEMPF           30 W YALE AVE                                                                        PONTIAC          MI 48340‐1856
MR ROGER N VOCK            2099 MORRIS AVE                                                                      BURTON           MI 48529‐2179
MR ROGER P RYEA            45 MAIN ST                                                                           MASSENA          NY 13662‐1913
MR ROGER R RILEY           5 CUNARD ST                                                                          WILMINGTON       DE 19804‐2807
MR ROGER R WILLIAMS        1511 TULANE CIR                                                                      FLINT            MI 48503‐5252
MR ROGER S WRIGHT          1936 N WASHINGTON ST                                                                 KOKOMO           IN 46901‐2204
MR ROGER S WRIGHT          225 W BUTLER ST                                                                      KOKOMO           IN 46901‐2260
MR ROGER S WYKOFF          630 RILEY BLVD                                                                       BEDFORD          IN 47421‐9600
MR ROGER SCHULTZ           52 PEERLESS QUARRY RD                                                                BEDFORD          IN 47421‐8119
MR ROGER SISK              1551 HAY ROAD                                                                        BEAVERTON        MI 48612
MR ROGER T DAVIS SR        11419 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1329
MR ROGER W BURGESS         209 N ROSEMARY ST                                                                    LANSING          MI 48917‐4914
MR ROGER W BURGESS         213 N ROSEMARY ST                                                                    LANSING          MI 48917‐4914
MR ROGER W HILL            132 W LORDEMAN ST                                                                    KOKOMO           IN 46901‐2236
MR ROGER W KOLVER          36695 ECORSE RD                                                                      ROMULUS          MI 48174‐1312
MR ROGER W LEIFHEIT        2016 OLD OAKLAND AVE                                                                 LANSING          MI 48915‐1351
MR ROGERS JONES            1126 EASTFIELD RD                                                                    LANSING          MI 48917‐2344
MR ROHAN R BAKER           10828 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8043
MR ROI L COLEMAN           601 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1313
MR ROLAND A TREVINO        1223 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1707
MR ROLAND DOBBINS          47 KAREN CT                                                                          PONTIAC          MI 48340‐1636
MR ROLAND FOUST            4036 BRIARWOOD APTS APT D4                                                           BEDFORD          IN 47421‐5804
MR ROLAND L CARUTHERS JR   610 E RANKIN ST                                                                      FLINT            MI 48505‐4324
MR ROLAND L RODELL         1503 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐6037
MR ROLEN M FOSTER          746 KETTERING AVE                                                                    PONTIAC          MI 48340‐3248
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Name                        Address1                           Address2            Address3         Address4                 City           State Zip
MR ROLLER (2004) INC        6889 REXWOOD RD UNIT 2                                                  MISSISSAUGA ON L4V 1R2
                                                                                                    CANADA
MR ROLLER 2000 2004 INC     4 PAGET ROAD UNIT # 9                                                   BRAMPTON CANADA ON
                                                                                                    L6T 5G3 CANADA
MR ROMMEL R JOHNSON JR      5900 BRIDGE RD APT 216                                                                           YPSILANTI      MI    48197‐7010
MR ROMMELL JOHNSON          1040 W GRAND BLVD                                                                                DETROIT        MI    48208‐2337
MR ROMULO M LIMA            109 TRIPP ST                                                                                     FRAMINGHAM     MA    01702‐8775
MR RON AULT                 2201 S HOYT AVE                                                                                  MUNCIE         IN    47302‐3017
MR RON L BRANAMAN           1514 4TH ST                                                                                      BEDFORD        IN    47421‐1724
MR RON PORTER               1020 16TH ST                                                                                     BEDFORD        IN    47421‐3734
MR RON SOPHER               2205 N ARMSTRONG ST                                                                              KOKOMO         IN    46901‐5804
MR RONALD A AMEY            2120 KENNETH ST                                                                                  BURTON         MI    48529‐1353
MR RONALD A BROWN           2131 S WALNUT ST                                                                                 JANESVILLE     WI    53546‐6135
MR RONALD A DAY             1120 HERRINGTON LN                                                                               PONTIAC        MI    48342‐1835
MR RONALD A GODWIN          2500 LINKWOOD AVE                                                                                WILMINGTON     DE    19805‐2332
MR RONALD A GOODWIN         10720 DEBORAH DR                                                                                 CLEVELAND      OH    44130‐1372
MR RONALD A HARRISON SR     189 W SHEFFIELD AVE                                                                              PONTIAC        MI    48340‐1853
MR RONALD A REOME           44 PARKER AVE                                                                                    MASSENA        NY    13662‐2215
MR RONALD A TAYLOR          9 COPA LN                                                                                        WILMINGTON     DE    19804‐2050
MR RONALD A. JOHNSON
MR RONALD B HICKEY          2123 E BOATFIELD AVE                                                                             BURTON         MI    48529‐1713
MR RONALD B REID            1043 LAPORT AVE                                                                                  MOUNT MORRIS   MI    48458‐2557
MR RONALD C DAVID           1422 N MCCANN ST                                                                                 KOKOMO         IN    46901‐2675
MR RONALD C MCGOWAN         209 SUMMIT ST                                                                                    PONTIAC        MI    48342‐1169
MR RONALD C ROSS JR         203 W FAIRMOUNT AVE                                                                              PONTIAC        MI    48340‐2741
MR RONALD C SMITH JR        11430 WASHINGTON AVE                                                                             MOUNT MORRIS   MI    48458‐1958
MR RONALD D ARBUCKLE        1719 J ST                                                                                        BEDFORD        IN    47421‐4225
MR RONALD D CORBIN          3085 PEERLESS RD                                                                                 BEDFORD        IN    47421‐8105
MR RONALD D CUMMINGS        1612 12TH ST                                                                                     BEDFORD        IN    47421‐3104
MR RONALD D FANDRICK JR     333 STOLL RD                                                                                     LANSING        MI    48917‐3418
MR RONALD D HAYES           124 PINGREE AVE APT 2                                                                            PONTIAC        MI    48342‐1103
MR RONALD D HOLTZ           2219 S PALM ST                                                                                   JANESVILLE     WI    53546‐6116
MR RONALD D HULL            2036 E BERGIN AVE                                                                                BURTON         MI    48529‐1702
MR RONALD D HYDE            612 N CATHERINE ST                                                                               LANSING        MI    48917‐4906
MR RONALD D JAMES           2077 WILMAR ST                                                                                   BURTON         MI    48509‐1121
MR RONALD D SMITH           11832 UNION ST APT 2                                                                             MOUNT MORRIS   MI    48458‐1792
MR RONALD D SMITH           10681 AARON DR                                                                                   CLEVELAND      OH    44130‐1354
MR RONALD E AMOSS           2093 CASHIN ST                                                                                   BURTON         MI    48509‐1137
MR RONALD E COBB            1472 E SCHUMACHER ST                                                                             BURTON         MI    48529‐1622
MR RONALD E CROWDER         1089 E HARVARD AVE                                                                               FLINT          MI    48505‐1507
MR RONALD E HOOD 3D         1308 STANLEY AVE                                                                                 PONTIAC        MI    48340‐1748
MR RONALD E JOHNSON         908 SUGAR HILL ADDITION                                                                          BEDFORD        IN    47421‐8146
MR RONALD E THOMAS          506 HARRIET ST                                                                                   FLINT          MI    48505‐4712
MR RONALD E TREANOR         1079 SUGAR HILL ADDITION                                                                         BEDFORD        IN    47421‐8147
MR RONALD F BUGH            412 L ST                                                                                         BEDFORD        IN    47421‐1812
MR RONALD F FHAY            10650 FAIRLAWN DR                                                                                CLEVELAND      OH    44130‐1206
MR RONALD F STEINMAYER II   1930 HUNTERS RIDGE DR                                                                            BLOOMFIELD     MI    48304‐1036
MR RONALD FISHER            2078 E BOATFIELD AVE                                                                             BURTON         MI    48529‐1712
MR RONALD G HAWLEY JR       1157 E HUMPHREY AVE                                                                              FLINT          MI    48505‐1525
MR RONALD G NELSON          3841 PALMER AVE                                                                                  FLINT          MI    48506‐4236
MR RONALD H BELL            1406 BRADY AVE                                                                                   BURTON         MI    48529‐2010
MR RONALD H FERRELL         625 KENILWORTH AVE                                                                               PONTIAC        MI    48340‐3237
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MR RONALD H SUTTON SR      701 BECKER CT                                                                        WILMINGTON       DE 19804‐2100
MR RONALD H UNGEMACH       11220 RICHARD DR                                                                     PARMA            OH 44130‐1341
MR RONALD HAYES            208 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2623
MR RONALD HOERNER          290 MAIN ST                                                                          MASSENA          NY 13662‐1901
MR RONALD I MCCORD         1917 W 8TH ST                                                                        MUNCIE           IN 47302‐2117
MR RONALD I PERRY SR       159 WATER ST APT 1                                                                   MASSENA          NY 13662‐2046
MR RONALD J BACON          1610 L ST                                                                            BEDFORD          IN 47421‐3730
MR RONALD J CALVANESO      639 SEDGEFIELD DR                                                                    BLOOMFIELD       MI 48304‐1060
MR RONALD J DEROCHER       111 W TENNYSON AVE                                                                   PONTIAC          MI 48340‐2673
MR RONALD J HEIMBROCK      62 PROSPECT AVE                                                                      MASSENA          NY 13662‐1743
MR RONALD J RADMER JR      1904 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐5960
MR RONALD J SMITH          64 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2754
MR RONALD J STUDEBAKER     9932 JULIE DR                                                                        YPSILANTI        MI 48197‐8291
MR RONALD K AXLINE         2912 TIMBER DR                                                                       LANSING          MI 48917‐2367
MR RONALD K IVY            1469 PROPER AVE                                                                      BURTON           MI 48529‐2045
MR RONALD K KNIFFEN        608 N CATHERINE ST                                                                   LANSING          MI 48917‐4906
MR RONALD KINNEY           1138 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1704
MR RONALD L BARELA         2000 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐2217
MR RONALD L COLLINS        10860 FAIRLAWN DR                                                                    PARMA            OH 44130‐1210
MR RONALD L CUIP SR        11140 KAREN ST                                                                       LIVONIA          MI 48150‐3145
MR RONALD L JOHNSON        166 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2758
MR RONALD L JONES          5659 CHEVROLET BLVD APT 3                                                            CLEVELAND        OH 44130‐8713
MR RONALD L MALBURG        188 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1822
MR RONALD L MARTIN         629 W 8TH ST                                                                         MUNCIE           IN 47302‐3114
MR RONALD L NAROLEWSKI     11011 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1469
MR RONALD L PERRIN         10914 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2045
MR RONALD L ROBERTS        495 TALLAHASSEE AVE                                                                  PONTIAC          MI 48340‐2371
MR RONALD L WELLS          1611 L ST                                                                            BEDFORD          IN 47421‐3729
MR RONALD L WIGGINS        2437 FERGUSON RD                                                                     ONTARIO          OH 44906‐1106
MR RONALD L YOUNG          2087 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2443
MR RONALD M EDISON         114 PUTNAM AVE APT 1                                                                 PONTIAC          MI 48342‐1290
MR RONALD M GIBSON         2096 N CENTER RD                                                                     BURTON           MI 48509‐1001
MR RONALD M RILE           1512 12TH ST                                                                         BEDFORD          IN 47421‐3102
MR RONALD P MASSIE         705 W 10TH ST                                                                        MUNCIE           IN 47302‐3128
MR RONALD P NOEL           820 STANLEY ST                                                                       LANSING          MI 48915‐1365
MR RONALD P PARADIS        550 N JACKSON ST                                                                     BEDFORD          IN 47421‐1530
MR RONALD R DELIKTA        1220 LIZA BLVD                                                                       PONTIAC          MI 48342‐1984
MR RONALD R RAST           2222 S ORCHARD ST                                                                    JANESVILLE       WI 53546‐5967
MR RONALD R RUSH           11800 BROOKPARK RD TRLR 119                                                          CLEVELAND        OH 44130‐1187
MR RONALD R SIEDENBERG     1613 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐6127
MR RONALD R STAMPS         809 COLUMBIA DR                                                                      FLINT            MI 48503‐5254
MR RONALD ROBERTS          179 PINGREE AVE                                                                      PONTIAC          MI 48342‐1161
MR RONALD S GRALEWSKI JR   613 N WALNUT ST                                                                      WILMINGTON       DE 19804‐2623
MR RONALD S MARCH          4045 RISEDORPH ST                                                                    BURTON           MI 48509‐1039
MR RONALD S WILKES SR      125 N CATHERINE ST                                                                   LANSING          MI 48917‐2929
MR RONALD T GOSS           1249 S CEDAR ST                                                                      OWOSSO           MI 48867‐4225
MR RONALD T MCGREGOR       31 PARKER AVE                                                                        MASSENA          NY 13662‐2213
MR RONALD W DILLON         64 DOUGLAS RD                                                                        MASSENA          NY 13662‐2132
MR RONALD W FULLERTON      191 WALNUT AVE                                                                       CLARK            NJ 07066‐1239
MR RONALD W KARRER         2092 N CENTER RD                                                                     BURTON           MI 48509‐1001
MR RONALD W SIMMONS        237 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1878
MR RONALD W SNODGRASS      905 W 10TH ST                                                                        MUNCIE           IN 47302‐3193
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Name                       Address1                       Address2              Address3       Address4                 City           State Zip
MR RONALD W WILSON         1713 N MORRISON ST                                                                           KOKOMO          IN 46901‐2150
MR RONDA SMITH             2197 E BRISTOL RD                                                                            BURTON          MI 48529‐1322
MR RONNIE BICKERS          1616 F ST                                                                                    BEDFORD         IN 47421‐4326
MR RONNIE D WATSON         508 15TH ST                                                                                  BEDFORD         IN 47421‐3804
MR RONNIE D WATSON         1402 F ST                                                                                    BEDFORD         IN 47421‐3316
MR RONNIE E LENOAR         101 W YALE AVE                                                                               PONTIAC         MI 48340‐1863
MR RONNIE G STAUDE         2117 S PALM ST                                                                               JANESVILLE      WI 53546‐6116
MR RONNIE J DIXON          40 LYNBROOK RD                                                                               WILMINGTON      DE 19804‐2671
MR RONNIE L GLASSBURN      901 W LINCOLN RD                                                                             KOKOMO          IN 46902‐3457
MR RONNIE L HIGH           939 DEWEY ST                                                                                 PONTIAC         MI 48340‐2512
MR RONNIE L STEPHENS       2024 JAMES ST APT A                                                                          BURTON          MI 48529‐1348
MR RONNIE L STEPHENS       1381 CONNELL ST                                                                              BURTON          MI 48529‐2202
MR RONNIE M BABBS          812 18TH ST                                                                                  BEDFORD         IN 47421‐4212
MR RONNIE R PINNOCK        678 CORTWRIGHT ST                                                                            PONTIAC         MI 48340‐2300
MR RONNIE REYNOLDS         105 LINCOLN AVE                                                                              BEDFORD         IN 47421‐1612
MR RONNIE SHUMAN           1160 E COLDWATER RD                                                                          FLINT           MI 48505‐1504
MR RONNIE SHUMON           1154 E COLDWATER RD                                                                          FLINT           MI 48505‐1504
MR RONNIE W ELZIE JR       3564 28TH ST                                                                                 DETROIT         MI 48210‐3104
MR RONNY DE RIDDER         C/O DEUTSCHE BANK SA/NV        AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR RONWUEL M ROBBINS       1262 MEADOWLAWN DR                                                                           PONTIAC        MI   48340‐1736
MR ROOSEVELT BELL          410 W HOPKINS AVE APT 304                                                                    PONTIAC        MI   48340‐1777
MR ROOSEVELT H FOSTER      889 PALMER DR                                                                                PONTIAC        MI   48342‐1861
MR ROOSEVELT L NARD JR     530 HURLEY ST                                                                                FLINT          MI   48505‐4346
MR ROQUE G ZAMORA‐GUZMAN   4827 TOLEDO ST                                                                               DETROIT        MI   48209‐1374
MR RORY C OBRIEN           205 E BERKSHIRE RD                                                                           BLOOMFIELD     MI   48302‐0617
MR RORY D NELSON           1500 N MARKET ST                                                                             KOKOMO         IN   46901‐2370
MR RORY I JOHNSON          9893 JOAN CIR                                                                                YPSILANTI      MI   48197‐8298
MR RORYE L DAVIS           305 W YALE AVE                                                                               PONTIAC        MI   48340‐1754
MR ROSALIO NACIACENO JR    895 WOODLAWN                                                                                 PONTIAC        MI   48340
MR ROSCOE GIBSON           1933 W 9TH ST                                                                                MUNCIE         IN   47302‐2124
MR ROSEVELT WILLIAMS       1614 BRISTOL COURT DR                                                                        MOUNT MORRIS   MI   48458‐2184
MR ROSS A GUZIK            421 THE WOODS                                                                                BEDFORD        IN   47421‐9380
MR ROSS D DEPOUW           49 W FAIRMOUNT AVE                                                                           PONTIAC        MI   48340‐2733
MR ROSS E WARD             195 W LONGFELLOW AVE                                                                         PONTIAC        MI   48340‐1833
MR ROSS F ARTH             511 E NORTH ST                                                                               KOKOMO         IN   46901‐3056
MR ROY A MARCONI JR        105 W KEYSTONE AVE                                                                           WILMINGTON     DE   19804‐2029
MR ROY A MATTESON          3100 W IONIA ST                                                                              LANSING        MI   48917‐2958
MR ROY A MURDOCK           11800 BROOKPARK RD TRLR H67                                                                  CLEVELAND      OH   44130‐1184
MR ROY A PORTOLESE         33 ELM ST                                                                                    MASSENA        NY   13662‐1827
MR ROY C COENEN            416 OAK ST                                                                                   MOUNT MORRIS   MI   48458‐1931
MR ROY C SEVERN            1039 TERRY AVE                                                                               MOUNT MORRIS   MI   48458‐2539
MR ROY D LOVE              (DECEASED 8/2004)              2045 CLARKDALE ST                                             DETROIT        MI   48209‐1691
MR ROY E BENNINGFIELD      103 S LAURA CT                                                                               WILMINGTON     DE   19804‐2046
MR ROY E DAVIS             2048 E BERGIN AVE                                                                            BURTON         MI   48529‐1702
MR ROY E HOLLIS            158 W STRATHMORE AVE                                                                         PONTIAC        MI   48340‐2774
MR ROY E MARTIN            1 GRASSMERE TER APT 5                                                                        MASSENA        NY   13662‐2160
MR ROY E MEYERS            2210 N ARMSTRONG ST                                                                          KOKOMO         IN   46901‐5803
MR ROY E REAGON            1301 W 14TH ST APT 7                                                                         MUNCIE         IN   47302‐3196
MR ROY G DEAN              4817 BRANDON ST APT 1F                                                                       DETROIT        MI   48209‐0915
MR ROY G DEAN              4813 BRANDON ST                                                                              DETROIT        MI   48209‐1393
MR ROY G SEAMAN            417 W CHAMPLAIN AVE                                                                          WILMINGTON     DE   19804‐2013
MR ROY HUNSINGOR           1857 GRONDINWOOD CT                                                                          MILFORD        MI   48380‐4282
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Name                      Address1                         Address2            Address3         Address4             City               State Zip
MR ROY J CLAYTON JR       192 W KENNETT RD                                                                           PONTIAC             MI 48340‐2648
MR ROY L CRISWELL         1422 N APPERSON WAY                                                                        KOKOMO              IN 46901‐2382
MR ROY L HALL SR          4020 WOODROW AVE                                                                           BURTON              MI 48509‐1012
MR ROY L LONG             843 MELROSE ST                                                                             PONTIAC             MI 48340‐3126
MR ROY L THOMAS           225 W HOPKINS AVE                                                                          PONTIAC             MI 48340‐1825
MR ROY L TOWNSEND         1145 E HARVARD AVE                                                                         FLINT               MI 48505‐1523
MR ROY M WHITMIRE         1925 W 10TH ST                                                                             MUNCIE              IN 47302‐2146
MR ROY R HUNSINGER        1857 GRONDINWOOD CT                                                                        MILFORD             MI 48380‐4282
MR ROY R NAGEL            620 FOX RIVER DR                                                                           BLOOMFIELD          MI 48304‐1012
MR ROY S SMALL            300 BRIGHTON AVE                                                                           WILMINGTON          DE 19805‐2408
MR ROY T GARNER SR        914 W 1ST ST                                                                               MUNCIE              IN 47305‐2214
MR ROY T KESSLER          5900 BRIDGE RD APT 315                                                                     YPSILANTI           MI 48197‐7010
MR ROY W BRADLEY          2714 VINEWOOD ST                                                                           DETROIT             MI 48216‐1021
MR ROYCE R HARTSOE        543 W FAIRMOUNT AVE                                                                        PONTIAC             MI 48340‐1602
MR RSHAWN S GRAY          56 E ORVIS ST                                                                              MASSENA             NY 13662‐2045
MR RUBEN A CORDOVA        247 W CORNELL AVE                                                                          PONTIAC             MI 48340‐2725
MR RUBEN C LOPEZ SR       2112 MCKINSTRY ST                                                                          DETROIT             MI 48209‐1671
MR RUBEN J MCGILL         1915 S WALNUT ST                                                                           JANESVILLE          WI 53546‐6051
MR RUBEN LOPEZ JR         89 BLAINE AVE                                                                              PONTIAC             MI 48342‐1101
MR RUBEN N VASQUEZ        2036 WILMAR ST                                                                             BURTON              MI 48509‐1122
MR RUDOLF LOOS            WIDMAIERSTR. 165 A                                                    D 70567 STUTTGART
                                                                                                GERMANY
MR RUDOLPH A GERM         11440 DEBORAH DR                                                                           CLEVELAND          OH   44130‐1328
MR RUDOLPH A MASRY        CGM IRA CUSTODIAN                17 LEAWOOD DR                                             BRIARCLIFF MANOR   NY   10510‐1316
MR RUDOLPH A ZACCAGNINI   775 EMIRY ST                                                                               PONTIAC            MI   48340‐2423
MR RUDOLPH M MEYER        2175 E BRISTOL RD APT 2                                                                    BURTON             MI   48529‐1386
MR RUDY ARREDONDO         468 FOX HILLS DR S APT 8                                                                   BLOOMFIELD         MI   48304‐1355
MR RUEBEN E AMBROSE       30 UNIVERSITY PLACE DR                                                                     PONTIAC            MI   48342‐1881
MR RUFUS DUNCAN           744 WILBERFORCE DR                                                                         FLINT              MI   48503‐5236
MR RUFUS R ROBINSON JR    195 W KENNETT RD APT 210                                                                   PONTIAC            MI   48340‐2682
MR RULO R CHAPMAN JR      1501 N MCCANN ST                                                                           KOKOMO             IN   46901‐2059
MR RUSSEL D HUGHES        752 PENSACOLA AVE                                                                          PONTIAC            MI   48340‐2357
MR RUSSELL A BOST         1301 W 14TH ST APT 4                                                                       MUNCIE             IN   47302‐3196
MR RUSSELL A LAROCHELLE   1162 CLOVIS AVE                                                                            MOUNT MORRIS       MI   48458‐2505
MR RUSSELL A LARSON       110 W TENNYSON AVE                                                                         PONTIAC            MI   48340‐2672
MR RUSSELL B KRAMER       463 ROLLING ROCK RD                                                                        BLOOMFIELD         MI   48304‐1052
MR RUSSELL D HOLCOMB SR   11491 AARON DR                                                                             CLEVELAND          OH   44130‐1266
MR RUSSELL D WATSON       626 14TH ST                                                                                BEDFORD            IN   47421‐3310
MR RUSSELL E BARSTOW      3 PROSPECT PARK                                                                            MASSENA            NY   13662‐1703
MR RUSSELL E CARR         1609 W 7TH ST                                                                              MUNCIE             IN   47302‐2190
MR RUSSELL E CONNER       2055 BOOTMAKER LN                                                                          BLOOMFIELD         MI   48304‐1005
MR RUSSELL E DAVIS        296 W PRINCETON AVE                                                                        PONTIAC            MI   48340‐1738
MR RUSSELL E OWEN JR      500 GREENTREE DR APT 1                                                                     BEDFORD            IN   47421‐9675
MR RUSSELL G LEE SR       25 LYNBROOK RD                                                                             WILMINGTON         DE   19804‐2668
MR RUSSELL GIVENS         82 STEGMAN LN                                                                              PONTIAC            MI   48340‐1664
MR RUSSELL H LINSTAD JR   24 CLARK ST                                                                                MASSENA            NY   13662‐1812
MR RUSSELL H MARTENS II   11261 GARDEN ST                                                                            LIVONIA            MI   48150‐3178
MR RUSSELL H SPARKS       2087 E SCOTTWOOD AVE                                                                       BURTON             MI   48529‐1749
MR RUSSELL J HIGGINS      1225 W POWERS ST                                                                           MUNCIE             IN   47305‐2144
MR RUSSELL L BAZZELL      2128 E SCHUMACHER ST                                                                       BURTON             MI   48529‐2436
MR RUSSELL L PHILLIPS     1038 W COSTELLO ST                                                                         MOUNT MORRIS       MI   48458‐2103
MR RUSSELL L STEVENS JR   3805 HOLLY AVE                                                                             FLINT              MI   48506‐3108
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MR RUSSELL M JOHNSON        346 PENFIELD AVE                                                                     ELYRIA           OH 44035‐3237
MR RUSSELL RITSEN           3841 IVANHOE AVE                                                                     FLINT            MI 48506‐4239
MR RUSSELL SHARKEY          1014 NORWOOD RD                                                                      LANSING          MI 48917‐2360
MR RUSSELL W NEIDIGH        1 WALNUT HEIGHTS RD                                                                  BEDFORD          IN 47421‐9122
MR RV V LAW                 3866 SCOTTEN ST                                                                      DETROIT          MI 48210‐3162
MR RYAN A COOPER            1309 W 13TH ST                                                                       MUNCIE           IN 47302‐2904
MR RYAN A GLASS             2045 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐5961
MR RYAN BEATTY              503 BRYNFORD AVE                                                                     LANSING          MI 48917‐2927
MR RYAN C JONES             817 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2325
MR RYAN C JONES             821 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2325
MR RYAN D HOSKEY            2083 DELANEY ST                                                                      BURTON           MI 48509‐1022
MR RYAN D RISAK             189 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1823
MR RYAN D ZUMHINGST         901 14TH ST                                                                          BEDFORD          IN 47421‐3327
MR RYAN DECARLO             4 MAIN ST                                                                            MASSENA          NY 13662‐1911
MR RYAN F GREEN             676 BAY ST                                                                           PONTIAC          MI 48342‐1918
MR RYAN FOSTER              409 N ROSEMARY ST                                                                    LANSING          MI 48917‐4915
MR RYAN L MARTIN            1121 BROOKE PARK DR                                                                  TOLEDO           OH 43612‐4217
MR RYAN L ZAPSIC            10751 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1246
MR RYAN M DUSTIN            1023 E ELSTNER ST APT 1                                                              MOUNT MORRIS     MI 48458‐2260
MR RYAN M PENNYPACKER       21 W CONRAD DR                                                                       WILMINGTON       DE 19804‐2018
MR RYAN M STEPHENSON        1124 LAPORT AVE                                                                      MOUNT MORRIS     MI 48458‐2576
MR RYAN M SURBEY            1521 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2045
MR RYAN S MCCLAIN           744 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1361
MR RYAN T HICKS             192 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2776
MR RYAN W BOIS              4 BRACKETT RD                                                                        FRAMINGHAM       MA 01702‐8741
MR RYAN W FELIX             508 FOX HILLS DR N APT 6                                                             BLOOMFIELD       MI 48304‐1340
MR RYAN W MCNEIL            11725 N SAGINAW ST APT 1                                                             MOUNT MORRIS     MI 48458‐2061
MR RYAN W OHERRIN           2662 SHAMROCK LN                                                                     JANESVILLE       WI 53546‐4429
MR RYAN X CURRAN            2609 MELISSA CT                                                                      FREDERICKSBRG    VA 22408‐8070
MR RYLAND C GLADDING        146 E ORVIS ST                                                                       MASSENA          NY 13662‐2267
MR SABASTAN J NIGHT         567 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1311
MR SABIR A KANG             530 BON AIR RD                                                                       LANSING          MI 48917‐2905
MR SAL A WILSON             315 N GRACE ST                                                                       LANSING          MI 48917‐2949
MR SALEM DJEBILI            1500 E WILLIAMSON ST                                                                 BURTON           MI 48529‐1628
MR SALEM SWIDAM             147 SUMMIT ST                                                                        PONTIAC          MI 48342‐1167
MR SALINAS ELVIDA           718 W GRAND BLVD                                                                     DETROIT          MI 48216‐1004
MR SALVADOR A MEDINA        147 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1811
MR SALVADOR CANARENA        2042 CLARKDALE ST                                                                    DETROIT          MI 48209‐3911
MR SALVADOR GONZALEZ        4715 BRANDON ST                                                                      DETROIT          MI 48209‐1392
MR SALVADOR GONZALEZ        775 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2321
MR SALVADOR GONZALEZ        809 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2325
MR SALVADOR S NARCIO JR     2150 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2444
MR SALVADOR U GUTIERREZ     80 W PRINCETON AVE                                                                   PONTIAC          MI 48340‐1838
MR SALVATORE J PROVENZOLA   11805 HALLER ST                                                                      LIVONIA          MI 48150‐2375
MR SAM A CARNIOL            10829 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8042
MR SAM D HOLLAND            490 MOUNT PLEASANT RD                                                                BEDFORD          IN 47421‐9623
MR SAM FOUNTEAS             1927 HUNTERS RIDGE DR                                                                BLOOMFIELD       MI 48304‐1037
MR SAM OLIVER               620 N JACKSON ST                                                                     BEDFORD          IN 47421‐1532
MR SAM STEPHENS             1404 S EMERSON CT                                                                    MUNCIE           IN 47302‐3807
MR SAM W CRAWFORD           829 E MOUNT MORRIS ST APT 1                                                          MOUNT MORRIS     MI 48458‐2071
MR SAMIR M CHAHIN           400 BRYNFORD AVE                                                                     LANSING          MI 48917‐2992
MR SAMMIE L HARRIS JR       740 DURANT ST                                                                        LANSING          MI 48915‐1382
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Name                      Address1                      Address2             Address3        Address4             City            State Zip
MR SAMMY BISHOP           630 LANCASTER LN                                                                        PONTIAC          MI 48342‐1851
MR SAMMY FURLOW           1414 10TH ST                                                                            BEDFORD          IN 47421‐2532
MR SAMPSON C ISON         208 W CORNELL AVE                                                                       PONTIAC          MI 48340‐2724
MR SAMUAL BADELALLA       771 KENILWORTH AVE                                                                      PONTIAC          MI 48340‐3101
MR SAMUEL A HINOJOSA      2101 LANSING ST                                                                         DETROIT          MI 48209‐1672
MR SAMUEL A MISCISIN      1502 LOYOLA LN                                                                          FLINT            MI 48503‐5227
MR SAMUEL B ZOLLMAN 3D    2903 BRIARWOOD LN                                                                       FREDERICKSBRG    VA 22408‐2067
MR SAMUEL BANKS           2215 LANSING ST APT 315                                                                 DETROIT          MI 48209‐1657
MR SAMUEL BANKS           2199 LANSING ST APT 106                                                                 DETROIT          MI 48209‐2288
MR SAMUEL DOWE            470 CESAR E CHAVEZ AVE                                                                  PONTIAC          MI 48342‐1298
MR SAMUEL E MURRAY        43 PROSPECT AVE                                                                         MASSENA          NY 13662‐1748
MR SAMUEL GOTLIB          6061 N SAGINAW RD                                                                       MOUNT MORRIS     MI 48458‐2438
MR SAMUEL H DURRETT       1522 W 9TH ST                                                                           MUNCIE           IN 47302‐2119
MR SAMUEL H HADDAN        54 LINCOLN AVE                                                                          BEDFORD          IN 47421‐1611
MR SAMUEL HINES           9695 BAYVIEW DR APT 318                                                                 YPSILANTI        MI 48197‐7025
MR SAMUEL J EYTCHISON     1519 W MEMORIAL DR                                                                      MUNCIE           IN 47302‐2158
MR SAMUEL L CAPP II       9815 JOAN CIR                                                                           YPSILANTI        MI 48197‐8295
MR SAMUEL L COLE 3D       3402 COMANCHE AVE                                                                       FLINT            MI 48507‐4309
MR SAMUEL L SKEANS JR     46 W STRATHMORE AVE                                                                     PONTIAC          MI 48340‐2770
MR SAMUEL M ROGERS        11520 SPADINA ST                                                                        MOUNT MORRIS     MI 48458‐1900
MR SAMUEL MCGLOCKLIN      50 PEARL ST                                                                             BEDFORD          IN 47421‐9357
MR SAMUEL MORALES         4712 BRANDON ST                                                                         DETROIT          MI 48209‐0920
MR SAMUEL PRATT           100 EUCLID AVE                                                                          PONTIAC          MI 48342‐1113
MR SAMUEL R GOODWIN       10916 COREYS WAY                                                                        FREDERICKSBRG    VA 22408‐2071
MR SAMUEL S YUNG          663 ROLLING ROCK RD                                                                     BLOOMFIELD       MI 48304‐1056
MR SANDER M SMITH         2142 E SCHUMACHER ST                                                                    BURTON           MI 48529‐2436
MR SANFORD NICKLES        2016 KELLOGG AVE APT 106                                                                JANESVILLE       WI 53546‐5986
MR SANTIAGO E GARCIA      801 ROBINWOOD ST                                                                        PONTIAC          MI 48340‐3145
MR SATISH MALLAJOSYULA    471 FOX HILLS DR N                                                                      BLOOMFIELD       MI 48304‐1309
MR SAVAJD J SOUKAMNEWTH   1402 E BOATFIELD AVE                                                                    BURTON           MI 48529‐1602
MR SAVERIO RIZZUTI        BANCA FINNAT EURAMERICA SPA   PIAZZA DEL GESU 49                   00187 ROMA ITALY
MR SCOT B FRITCHER        933 CAMERON AVE                                                                         PONTIAC         MI   48340‐3215
MR SCOTT A AMY            2229 E JUDD RD                                                                          BURTON          MI   48529‐2406
MR SCOTT A BRACK          594 WEYBRIDGE DR                                                                        BLOOMFIELD      MI   48304‐1080
MR SCOTT A BUCKSHAW       2059 WEBBER AVE                                                                         BURTON          MI   48529‐2411
MR SCOTT A DEBUSK         9803 JOAN CIR                                                                           YPSILANTI       MI   48197‐7096
MR SCOTT A HAFER          2040 E PARKWOOD AVE                                                                     BURTON          MI   48529‐1764
MR SCOTT A LAVERGNE       727 BLAINE AVE                                                                          PONTIAC         MI   48340‐2401
MR SCOTT A LIKE           2122 E MCLEAN AVE                                                                       BURTON          MI   48529‐1740
MR SCOTT A MCCALLISTER    145 W HOPKINS AVE                                                                       PONTIAC         MI   48340‐1821
MR SCOTT A ZEIGLER        464 FOX RIVER DR                                                                        BLOOMFIELD      MI   48304‐1008
MR SCOTT ATCHISON         915 L ST                                                                                BEDFORD         IN   47421‐2533
MR SCOTT B CHASE          2443 WHITNEY AVE                                                                        ONTARIO         OH   44906‐1197
MR SCOTT B SMITH          11626 CHURCH ST                                                                         MOUNT MORRIS    MI   48458‐2017
MR SCOTT BEADLE           320 SAGAMORE AVE                                                                        AKRON           OH   44305‐3910
MR SCOTT C ARMAN          3748 IVANHOE AVE                                                                        FLINT           MI   48506‐4214
MR SCOTT C CARPER         1390 WEBBER AVE                                                                         BURTON          MI   48529‐2034
MR SCOTT D BROCK          321 N MADISON ST                                                                        BEDFORD         IN   47421‐1830
MR SCOTT D BROWN          11200 HALLER ST                                                                         LIVONIA         MI   48150‐3179
MR SCOTT D GLESSNER       8 CLARK ST                                                                              MASSENA         NY   13662‐1812
MR SCOTT D HOOVER         1420 W 15TH ST                                                                          MUNCIE          IN   47302‐2917
MR SCOTT D MANLEY         39 NIGHTENGALE AVE                                                                      MASSENA         NY   13662‐1719
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
MR SCOTT D MILLER        1548 KELLOGG AVE                                                                     JANESVILLE      WI 53546‐6024
MR SCOTT D PARKS SR      2006 READY AVE                                                                       BURTON          MI 48529‐2056
MR SCOTT E AKEY          24 BRIGHTON ST                                                                       MASSENA         NY 13662‐2228
MR SCOTT E DUCIAUME SR   6 BUCKTOWN ROAD EXT                                                                  MASSENA         NY 13662‐3203
MR SCOTT E HILYARD       6 N MAIN ST APT 1                                                                    MASSENA         NY 13662‐1156
MR SCOTT E HUBERT        17 CHERRY ST                                                                         MASSENA         NY 13662‐1805
MR SCOTT E HUFFORD       2380 WHITNEY AVE                                                                     ONTARIO         OH 44906‐1194
MR SCOTT E KOSA          200 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1877
MR SCOTT E KUERBITZ      650 BOYD ST                                                                          PONTIAC         MI 48342‐1926
MR SCOTT E MCLAUGHLIN    5900 BRIDGE RD APT 706                                                               YPSILANTI       MI 48197‐7010
MR SCOTT F BINDER        566 S SPINNINGWHEEL LN                                                               BLOOMFIELD      MI 48304‐1318
MR SCOTT G DAMPIER       1514 EVERGREEN DR                                                                    JANESVILLE      WI 53546‐6179
MR SCOTT G MUNRO         2074 WILMAR ST                                                                       BURTON          MI 48509‐1122
MR SCOTT H WALDMAN       1475 OAK HOLLOW DR                                                                   MILFORD         MI 48380‐4264
MR SCOTT J GALLAGHER     506 E PATERSON ST                                                                    FLINT           MI 48505‐4742
MR SCOTT J GROULX        3742 MARMION AVE                                                                     FLINT           MI 48506‐4218
MR SCOTT J LAVEEN        2208 COMMONS AVE                                                                     JANESVILLE      WI 53546‐5966
MR SCOTT J MANGRUM       1381 WEBBER AVE                                                                      BURTON          MI 48529‐2033
MR SCOTT J SAWINSKI      30 PARKER AVE                                                                        MASSENA         NY 13662‐2215
MR SCOTT K ZIEGLER       1038 NUTANA BLVD                                                                     MOUNT MORRIS    MI 48458‐2121
MR SCOTT L BRAZEE        2915 RISLEY DR                                                                       LANSING         MI 48917‐2365
MR SCOTT L KLIDA         2057 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1723
MR SCOTT L LARANGE       462 CESAR E CHAVEZ AVE                                                               PONTIAC         MI 48342‐1051
MR SCOTT LANGERAK        2060 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1750
MR SCOTT LASHLEY         1100 W 2ND ST                                                                        MUNCIE          IN 47305‐2111
MR SCOTT M BLANCHARD     53 DOUGLAS RD                                                                        MASSENA         NY 13662‐2135
MR SCOTT M DOUILLET      17 1/2 PARKER AVE                                                                    MASSENA         NY 13662‐2213
MR SCOTT M GREEN         1120 COLLINS AVE                                                                     MOUNT MORRIS    MI 48458‐2137
MR SCOTT M NEWMAN        1441 CONNELL ST                                                                      BURTON          MI 48529‐2204
MR SCOTT M TKACH         10751 AARON DR                                                                       CLEVELAND       OH 44130‐1356
MR SCOTT M WOOD          33 E LONGFELLOW AVE                                                                  PONTIAC         MI 48340‐2743
MR SCOTT MURPHY          350 F ST                                                                             BEDFORD         IN 47421‐2231
MR SCOTT R AMBLER        11219 DEBORAH DR                                                                     PARMA           OH 44130‐1325
MR SCOTT R THOMAS        4021 RISEDORPH ST                                                                    BURTON          MI 48509‐1039
MR SCOTT S KAUFMAN       1823 I ST                                                                            BEDFORD         IN 47421‐4223
MR SCOTT SHOLTY          5 SOUTHDOWNS DR                                                                      KOKOMO          IN 46902‐5116
MR SCOTT SOMMERS         4126 SOMERS DR                                                                       BURTON          MI 48529‐2279
MR SCOTT T CLARK         2260 MOUNT PLEASANT RD                                                               BEDFORD         IN 47421‐8038
MR SCOTT T CRUMRINE      2347 1/2 FERGUSON RD                                                                 ONTARIO         OH 44906‐1149
MR SCOTT T NAFTZGER      10750 DEBORAH DR                                                                     CLEVELAND       OH 44130‐1372
MR SCOTT T ROBERTS       118 DAVID RD                                                                         WILMINGTON      DE 19804‐2665
MR SCOTT T YENCER        1474 E BUDER AVE                                                                     BURTON          MI 48529‐1606
MR SCOTT W HOLT          11389 RICHARD DR                                                                     CLEVELAND       OH 44130‐1344
MR SCOTTE C SPENCER      407 W KENNETT RD                                                                     PONTIAC         MI 48340‐1641
MR SCOTTIE D MCCOWAN     1202 N MORRISON ST                                                                   KOKOMO          IN 46901‐2762
MR SCOTTY BIX            1506 PEERLESS RD                                                                     BEDFORD         IN 47421‐8101
MR SEAMUS CONNOLLY       5144 SW 27TH DR                                                                      GAINESVILLE     FL 32608‐3979
MR SEAMUS T OBRIEN       11249 RICHARD DR                                                                     CLEVELAND       OH 44130‐1342
MR SEAN C MEHAN          104 E KEYSTONE AVE                                                                   WILMINGTON      DE 19804‐2026
MR SEAN D CULLEN         914 WESTFIELD RD APT A                                                               LANSING         MI 48917‐2370
MR SEAN D MILLEDGE       195 W KENNETT RD APT 307                                                             PONTIAC         MI 48340‐2682
MR SEAN K ALLEN          45 W LONGFELLOW AVE                                                                  PONTIAC         MI 48340‐1827
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Name                          Address1                           Address2                 Address3    Address4         City            State Zip
MR SEAN K HUDSON              11301 AARON DR                                                                           CLEVELAND        OH 44130‐1264
MR SEAN L TURNER              110 UNIVERSITY PLACE DR                                                                  PONTIAC          MI 48342‐1890
MR SEAN M FAUCHER             22 CLARK ST                                                                              MASSENA          NY 13662‐1812
MR SEAN M GOOSLIN             1172 E HUMPHREY AVE                                                                      FLINT            MI 48505‐1526
MR SEAN P ANDERSON            8 APPLE LN                                                                               PONTIAC          MI 48340‐1600
MR SEAN P SMITH               3 KENT ST                                                                                MASSENA          NY 13662‐2123
MR SEANELL Q DIXON            1265 LIZA BLVD                                                                           PONTIAC          MI 48342‐1988
MR SEBASTIAN A SKRZESZEWSKA   11735 HARTEL ST                                                                          LIVONIA          MI 48150‐2380
MR SEE LY                     427 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐1620
MR SEELEY L MANGUS SR         282 W COLUMBIA AVE                                                                       PONTIAC          MI 48340‐1710
MR SELWYN LOONEY              2133 E SCHUMACHER ST                                                                     BURTON           MI 48529‐2437
MR SELWYN R CUMMINGS          2608 MELISSA CT                                                                          FREDERICKSBRG    VA 22408‐8069
MR SENNAN S ALKARAWI          2082 E SPINNINGWHEEL LN                                                                  BLOOMFIELD       MI 48304‐1065
MR SEQUOYAH L BLAIR           3364 25TH ST                                                                             DETROIT          MI 48208‐2462
MR SERGEY MAGEROVSKIY         759 E FOX HILLS DR                                                                       BLOOMFIELD       MI 48304‐1343
MR SERGIO C VEGA              2063 CLARK ST                                                                            DETROIT          MI 48209‐1668
MR SERGIO GRANDA              644 LOUNSBURY AVE                                                                        PONTIAC          MI 48340‐2447
MR SERGIO J GONZALEZ          1010 CHERRYLAWN DR                                                                       PONTIAC          MI 48340‐1700
MR SETH VAUGHN                904 W 5TH ST                                                                             MUNCIE           IN 47302‐2233
MR SETH W PARRAGA             1119 N MORRISON ST                                                                       KOKOMO           IN 46901‐2763
MR SEYDOU DIOP                442 FOX RIVER DR                                                                         BLOOMFIELD       MI 48304‐1008
MR SEYMOUR WEINMAN            182 CLARKEN DR                                                                           WEST ORANGE      NJ 07052
MR SHADRICK S LIUZZO          45521 HECKER DR                                                                          UTICA            MI 48317‐5752
MR SHADRICK S LIUZZO          735 HOLLISTER ST                                                                         PONTIAC          MI 48340‐2429
MR SHAFEEQ A BANDAGI          2001 E SPINNINGWHEEL LN                                                                  BLOOMFIELD       MI 48304‐1064
MR SHAHID N ASGHAR            733 CORWIN AVE                                                                           PONTIAC          MI 48340‐2413
MR SHANE BOUTON               2338 CENTER AVE                                                                          JANESVILLE       WI 53546‐9007
MR SHANE D MURPHY             11011 N SAGINAW ST APT 4                                                                 MOUNT MORRIS     MI 48458‐2036
MR SHANE E CONN               138 W CORNELL AVE                                                                        PONTIAC          MI 48340‐2720
MR SHANE JACKSON              1057 NUTANA BLVD                                                                         MOUNT MORRIS     MI 48458‐2115
MR SHANE JOHNSON              1918 J ST APT 2                                                                          BEDFORD          IN 47421‐4279
MR SHANE SHEPARD              2082 E BRISTOL RD                                                                        BURTON           MI 48529‐1319
MR SHANE W CASKINETT          7 WINTER ST                                                                              MASSENA          NY 13662‐1818
MR SHANE W CREMEANS           127 HARBOR WAY                                                                           ANN ARBOR        MI 48103‐6628
MR SHANNON K POWELL           56 W YPSILANTI AVE                                                                       PONTIAC          MI 48340‐1870
MR SHARP JOHN                 SHARP JR                           4894 BRIDLE RUN APT 1C                                YPSILANTI        MI 48197‐9159
MR SHAUN D MCLAY              1219 N COURTLAND AVE                                                                     KOKOMO           IN 46901‐2753
MR SHAUN E BENNS              244 W LONGFELLOW AVE                                                                     PONTIAC          MI 48340‐1834
MR SHAUN M ASHLEY             29 CENTER ST                                                                             MASSENA          NY 13662‐1430
MR SHAUN P LYNCH              841 MORRIS AVE                                                                           LANSING          MI 48917‐2326
MR SHAUN P MAHAFFEY           1607 ARBUTUS ST                                                                          JANESVILLE       WI 53546‐6143
MR SHAUN R FITZGERALD         554 HOLLIS ST                                                                            FRAMINGHAM       MA 01702‐8624
MR SHAWN A COLEMAN            1271 LIZA BLVD                                                                           PONTIAC          MI 48342‐1988
MR SHAWN A FREDRICKSON        2144 E BOATFIELD AVE                                                                     BURTON           MI 48529‐1714
MR SHAWN A REID               859 SARASOTA AVE                                                                         PONTIAC          MI 48340‐2369
MR SHAWN A STEVENS            10709 TRICIA PL                                                                          FREDERICKSBRG    VA 22408‐8068
MR SHAWN C WHITEHEAD          11340 GARDEN ST                                                                          LIVONIA          MI 48150‐3139
MR SHAWN COOPER               1612 W 14TH ST                                                                           MUNCIE           IN 47302‐2976
MR SHAWN D BAILEY             102 SUMMIT ST                                                                            PONTIAC          MI 48342‐1165
MR SHAWN D BROCK              1603 12TH ST                                                                             BEDFORD          IN 47421‐3103
MR SHAWN D PERKINS            1824 H ST                                                                                BEDFORD          IN 47421‐4220
MR SHAWN F CARROLL            102 MEGHANS CT                                                                           WILMINGTON       DE 19804‐2045
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Name                      Address1                      Address2            Address3         Address4         City              State Zip
MR SHAWN H SCARPELLI      205 W ANN ARBOR AVE                                                                 PONTIAC            MI 48340‐1805
MR SHAWN L WILLIAMS       2722 MCKENZIE LN                                                                    FREDERICKSBRG      VA 22408‐8072
MR SHAWN M TRAINOR        503 BECKER AVE                                                                      WILMINGTON         DE 19804‐2103
MR SHAWN T GAGNON         2410 SYLVAN AVE                                                                     WILMINGTON         DE 19805‐2343
MR SHEDEL M WASHINGTON    215 SCHOONER DR                                                                     LANSING            MI 48917‐3447
MR SHERWYN W DAVIS        3345 ROOSEVELT ST                                                                   DETROIT            MI 48208‐2354
MR SHLOMO REVACH          2197 E JUDD RD                                                                      BURTON             MI 48529‐2406
MR SHON Y HART            709 SPELLMAN DR                                                                     FLINT              MI 48503‐5229
MR SIDDHARTHA PATNAIK     85 W STRATHMORE AVE                                                                 PONTIAC            MI 48340‐2773
MR SIDDHARTHA PATNAIK     50 W PRINCETON AVE                                                                  PONTIAC            MI 48340‐1836
MR SIDNEY L SMITH JR      19 W FAIRMOUNT AVE                                                                  PONTIAC            MI 48340‐2733
MR SIDNEY L STOFFER       465 WEYBRIDGE DR                                                                    BLOOMFIELD         MI 48304‐1079
MR SILAS R VOILES         1715 N MCCANN ST                                                                    KOKOMO             IN 46901‐2057
MR SILVANO CHAVARRIA      33 STEGMAN LN                                                                       PONTIAC            MI 48340‐1662
MR SILVINO G SAUCEDO      891 STANLEY AVE                                                                     PONTIAC            MI 48340‐2559
MR SILVIO B MENNA         1307 10TH ST                                                                        BEDFORD            IN 47421‐2529
MR SIMEON CHIKILDIN       1604 W 11TH ST                                                                      MUNCIE             IN 47302‐6611
MR SIMEON J SIEROCKI      11061 RIVEREDGE DR                                                                  PARMA              OH 44130‐1254
MR SIMON A BURNS          804 GARNET RD                                                                       WILMINGTON         DE 19804‐2616
MR SIMS JOHNSON 3D        1409 VANDERBILT DR                                                                  FLINT              MI 48503‐5247
MR SINCLAIR S SHIRES      1313 E HARVARD AVE                                                                  FLINT              MI 48505‐1758
MR SINCLAIR SHIRES        1307 E HARVARD AVE                                                                  FLINT              MI 48505‐1758
MR SOL BAIN               1018 ELLESMERE A                                                                    DEERFIELD BEACH    FL 33442
MR SOL BIDERMAN
MR SOMSAK SOOKTHIS        441 W FAIRMOUNT AVE                                                                 PONTIAC           MI   48340‐1621
MR SONG YANG              1106 MEADOWLAWN DR                                                                  PONTIAC           MI   48340‐1732
MR SONNY J SHORT          3126 WILMAN DR                                                                      CLIO              MI   48420‐1927
MR SONNYJAMES W MORGAN    1061 CLOVIS AVE                                                                     MOUNT MORRIS      MI   48458‐2503
MR SONY MORTON            25 KAREN CT                                                                         PONTIAC           MI   48340‐1634
MR SOUHEIL H KHOURY       652 S SPINNINGWHEEL LN                                                              BLOOMFIELD        MI   48304‐1322
MR SPENCER E ELLIS        1424 17TH ST                                                                        BEDFORD           IN   47421‐4102
MR SPENCER E MICUNEK      12243 CAMDEN ST                                                                     LIVONIA           MI   48150‐2329
MR SPENCER J DOWELL II    12667 E HOUGHTON LAKE DR                                                            HOUGHTON LAKE     MI   48629‐9690
MR SRINIVASA NARASIMHAN   611 FOX HILLS DR N                                                                  BLOOMFIELD        MI   48304‐1313
MR STACEY O ROSS          676 E FOX HILLS DR                                                                  BLOOMFIELD        MI   48304‐1359
MR STACY BLAIR            942 FAIRVIEW AVE                                                                    PONTIAC           MI   48340‐2521
MR STAN L LEE             842 MELROSE ST                                                                      PONTIAC           MI   48340‐3125
MR STAN ROMBOLD           2215 N ARMSTRONG ST                                                                 KOKOMO            IN   46901‐5804
MR STANLEY A REBBER       1101 N WASHINGTON ST                                                                KOKOMO            IN   46901‐2803
MR STANLEY B PODCASY      209 TERRY PL                                                                        WILMINGTON        DE   19804‐2035
MR STANLEY CONSTANTIN     1199 RARITAN RD # 202                                                               CLARK             NJ   07066‐1308
MR STANLEY D DRIVER       1805 N APPERSON WAY                                                                 KOKOMO            IN   46901‐2378
MR STANLEY D ECKSTEIN     1101 ANGOLA AVE                                                                     MOUNT MORRIS      MI   48458‐2123
MR STANLEY DUBRAY         6 N MAIN ST                                                                         MASSENA           NY   13662‐1156
MR STANLEY E GLENN        112 INMAN CT                                                                        BEDFORD           IN   47421‐9628
MR STANLEY E LONG         322 W COLUMBIA AVE                                                                  PONTIAC           MI   48340‐1712
MR STANLEY E PHILLIPS     408 HELTONVILLE RD W                                                                BEDFORD           IN   47421‐9389
MR STANLEY E WOLSKI       700 BECKER CT                                                                       WILMINGTON        DE   19804‐2100
MR STANLEY F PRZEBIENDA   4837 SAINT HEDWIG ST                                                                DETROIT           MI   48210‐3222
MR STANLEY HINDERS        208 W ELM ST                                                                        KOKOMO            IN   46901‐2855
MR STANLEY J GRATZER      1716 M ST                                                                           BEDFORD           IN   47421‐4227
MR STANLEY J JOSWICK      1 LYNBROOK RD                                                                       WILMINGTON        DE   19804‐2669
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Name                                Address1                           Address2              Address3       Address4                 City            State Zip
MR STANLEY J KAMINSKI               10970 SHARON DR                                                                                  CLEVELAND        OH 44130‐1429
MR STANLEY J PATTERSON 3D           1051 E COSTELLO ST                                                                               MOUNT MORRIS     MI 48458‐2239
MR STANLEY J WEISS                  1038 TERRY AVE                                                                                   MOUNT MORRIS     MI 48458‐2568
MR STANLEY J WODEK                  11300 DEBORAH DR                                                                                 PARMA            OH 44130‐1326
MR STANLEY L DUFFANO                3330 N SUMMERS RD                                                                                IMLAY CITY       MI 48444‐8990
MR STANLEY L DUFFANO                810 PENSACOLA AVE                                                                                PONTIAC          MI 48340‐2361
MR STANLEY L KAPELUCH               184 W STRATHMORE AVE                                                                             PONTIAC          MI 48340‐2776
MR STANLEY O PEAVEY SR              826 KETTERING AVE                                                                                PONTIAC          MI 48340‐3251
MR STANLEY R EATON                  2120 E HILL RD                     APT 27A                                                       GRAND BLANC      MI 48439‐5133
MR STANLEY RILEY                    2008 N GENESEE DR                                                                                LANSING          MI 48915‐1231
MR STANLEY S DEPTULA SR             517 BECKER AVE                                                                                   WILMINGTON       DE 19804‐2103
MR STANLEY W HOWERTON               209 W YALE AVE                                                                                   PONTIAC          MI 48340‐1867
MR STANLEY W WITKOWSKI SR           409 W CHAMPLAIN AVE                                                                              WILMINGTON       DE 19804‐2013
MR STANTON W GIBSON                 701 W 10TH ST                                                                                    MUNCIE           IN 47302‐3128
MR STEFAN HASDORF AND MRS CLAUDIA   STOBERLSTR 1                                                            80687 MUNCHEN
OSWALD                                                                                                      GERMANY
MR STEFAN HEFFELS                   C/O DEUTSCHE BANK SA/NV            AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
MR STEFANO G BARLETTA               113 BROOKLAND DR                                                                                 SYRACUSE        NY 13208‐3212
MR STEPHAN OR MRS SUSANNE SCHOLL    HAELDENSTR 28A                                                          75236 KAEMPFELBACK /
                                                                                                            GERMANY
MR STEPHAN P CUBBA                  474 FOX HILLS DR N APT 6                                                                         BLOOMFIELD      MI 48304‐1334
MR STEPHAN WALDER                   ROEMERWEG 7/4                                                           A‐2345 BRUNN A. GEB
                                                                                                            AUSTRIA
MR STEPHEN A COKER                  1801 W 13TH ST                                                                                   MUNCIE          IN   47302‐6618
MR STEPHEN A GREER                  1136 BOYNTON DR                                                                                  LANSING         MI   48917‐5704
MR STEPHEN A RICHARDS               80A E ORVIS ST                                                                                   MASSENA         NY   13662‐2045
MR STEPHEN A SCHMIDT                3833 IVANHOE AVE                                                                                 FLINT           MI   48506‐4239
MR STEPHEN A SPARKS                 216 W STRATHMORE AVE                                                                             PONTIAC         MI   48340‐2778
MR STEPHEN A WAYLAND                3833 HOLLY AVE                                                                                   FLINT           MI   48506‐3108
MR STEPHEN ABRAM                    1902 W 8TH ST                                                                                    MUNCIE          IN   47302‐2183
MR STEPHEN ADAIR                    11327 TIDEWATER TRL                                                                              FREDERICKSBRG   VA   22408‐2038
MR STEPHEN B HANS                   8 WESTWOOD DR                                                                                    MASSENA         NY   13662‐1707
MR STEPHEN C PAUL                   1916 W 9TH ST                                                                                    MUNCIE          IN   47302‐2123
MR STEPHEN D FORD                   1604 2ND ST                                                                                      BEDFORD         IN   47421‐1606
MR STEPHEN D LANDO                  10702 TRICIA PL                                                                                  FREDERICKSBRG   VA   22408‐8067
MR STEPHEN D MOBERLY                524 5TH ST                                                                                       BEDFORD         IN   47421‐2247
MR STEPHEN D SPEER                  51 BRIDGES AVE                                                                                   MASSENA         NY   13662‐1855
MR STEPHEN E GUY                    508 FOX HILLS DR S                                                                               BLOOMFIELD      MI   48304‐1316
MR STEPHEN E SUNDE                  4212 WOODROW AVE                                                                                 BURTON          MI   48509‐1054
MR STEPHEN G SANDERS                67 PARKER AVE                                                                                    MASSENA         NY   13662‐2212
MR STEPHEN H BAUMGARTNER            191 W FAIRMOUNT AVE                                                                              PONTIAC         MI   48340‐2739
MR STEPHEN H KOPP                   1824 I ST                                                                                        BEDFORD         IN   47421‐4224
MR STEPHEN H MILLWOOD               1465 E JUDD RD                                                                                   BURTON          MI   48529‐2005
MR STEPHEN H SANDERS SR             1312 1ST ST                                                                                      BEDFORD         IN   47421‐1823
MR STEPHEN HANCOCK                  671 CAMERON AVE                                                                                  PONTIAC         MI   48340‐3203
MR STEPHEN HANCOCK                  750 CAMERON AVE                                                                                  PONTIAC         MI   48340‐3206
MR STEPHEN J ADAMS                  527 N ROSEMARY ST                                                                                LANSING         MI   48917‐2977
MR STEPHEN J BOSHEARS               334 THE WOODS                                                                                    BEDFORD         IN   47421‐9378
MR STEPHEN J BROWDER                2202 E BRISTOL RD                                                                                BURTON          MI   48529‐1323
MR STEPHEN J CHADY                  1229 ANTHONY AVE                                                                                 JANESVILLE      WI   53546‐6007
MR STEPHEN J IEVOLI                 331 EXMORE AVE                                                                                   WILMINGTON      DE   19805‐2321
MR STEPHEN K DEFORD                 114 THE WOODS                                                                                    BEDFORD         IN   47421‐9300
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Name                                Address1                        Address2            Address3         Address4         City            State Zip
MR STEPHEN K MINNOCK JR             3806 MARMION AVE                                                                      FLINT            MI 48506‐4246
MR STEPHEN K WADDELL                1900 N COURTLAND AVE                                                                  KOKOMO           IN 46901‐2136
MR STEPHEN L BROOKING               1211 REDBUD LN                                                                        BEDFORD          IN 47421‐1553
MR STEPHEN L HALE                   124 THE WOODS                                                                         BEDFORD          IN 47421‐9300
MR STEPHEN L LASHOMB                34 BRIGHTON ST                                                                        MASSENA          NY 13662‐2228
MR STEPHEN L PARTYKA                4861 SAINT HEDWIG ST                                                                  DETROIT          MI 48210‐3222
MR STEPHEN L RANDEL                 1972 HUNTERS RIDGE DR                                                                 BLOOMFIELD       MI 48304‐1036
MR STEPHEN L WRIGHT                 13 WESTERN AVE                                                                        SHERBORN         MA 01770‐1107
MR STEPHEN LAFRENIERE               1054 BETHANY ST                                                                       MOUNT MORRIS     MI 48458‐2244
MR STEPHEN M BARLOW                 1516 W 15TH ST                                                                        MUNCIE           IN 47302‐2919
MR STEPHEN M HATHAWAY               1621 W 14TH ST                                                                        MUNCIE           IN 47302‐2969
MR STEPHEN M MELNYCZUK              332 PENFIELD AVE                                                                      ELYRIA           OH 44035‐3237
MR STEPHEN M RUTKOWSKI              41 READ AVE                                                                           WILMINGTON       DE 19804‐2033
MR STEPHEN M SHOEMAKER              1904 N MARKET ST                                                                      KOKOMO           IN 46901‐2366
MR STEPHEN M SOMMERVILLE            4193 GRONDINWOOD LN                                                                   MILFORD          MI 48380‐4224
MR STEPHEN M VINCENT                1016 SOUTH ST                                                                         MOUNT MORRIS     MI 48458‐2041
MR STEPHEN O BRANDON                2048 POST HOUSE CT                                                                    BLOOMFIELD       MI 48304‐1047
MR STEPHEN P HENNING                1904 ROOSEVELT AVE                                                                    JANESVILLE       WI 53546‐5971
MR STEPHEN R EAST                   429 6TH ST                                                                            BEDFORD          IN 47421‐9609
MR STEPHEN R HARRELL, SOLE & SEP.   701 GLEN GARRY DR                                                                     FLOWER MOUND     TX 75022
PROPERTY
MR STEPHEN R PETTIT                 1299 E WALTON BLVD APT 202                                                            PONTIAC         MI   48340‐1577
MR STEPHEN R RAKOWICZ               488 FOX HILLS DR S APT 5                                                              BLOOMFIELD      MI   48304‐1357
MR STEPHEN R WICKS                  400 W NORTH ST APT 4                                                                  KOKOMO          IN   46901‐2978
MR STEPHEN S BLAIR                  612 W 8TH ST                                                                          MUNCIE          IN   47302‐3155
MR STEPHEN S GRATZER                919 L ST                                                                              BEDFORD         IN   47421‐2533
MR STEPHEN S SHIELDS                1938 FOX RIVER DR                                                                     BLOOMFIELD      MI   48304‐1022
MR STEPHEN SOUTHARD                 1905 W 10TH ST                                                                        MUNCIE          IN   47302‐2146
MR STEPHEN U HILLARD                41 PARKER AVE                                                                         MASSENA         NY   13662‐2213
MR STEPHEN W HARTY                  1024 W 10TH ST                                                                        MUNCIE          IN   47302‐2254
MR STEPHEN W ROURKE                 328 OAK ST                                                                            MOUNT MORRIS    MI   48458‐1929
MR STERLING M FISH                  1336 GRAM ST                                                                          BURTON          MI   48529‐2022
MR STEVAN D NATZEL                  2239 E BOATFIELD AVE                                                                  BURTON          MI   48529‐1783
MR STEVE A SMITH                    1315 N WABASH AVE                                                                     KOKOMO          IN   46901‐2601
MR STEVE B BENNETT                  G4153 S SAGINAW ST APT 6                                                              BURTON          MI   48529‐1674
MR STEVE C ALEXANDER JR             871 PALMER DR                                                                         PONTIAC         MI   48342‐1861
MR STEVE CRESS                      9964 GERALDINE ST                                                                     YPSILANTI       MI   48197‐6937
MR STEVE CURTIS                     2123 CONNELL ST                                                                       BURTON          MI   48529‐1334
MR STEVE D ALEXANDER JR             1166 AMOS ST                                                                          PONTIAC         MI   48342‐1802
MR STEVE D CAUDILL                  3821 LORRAINE AVE                                                                     FLINT           MI   48506‐4237
MR STEVE E DECKARD                  1418 M ST                                                                             BEDFORD         IN   47421‐3237
MR STEVE E FULTS                    1416 13TH ST                                                                          BEDFORD         IN   47421‐3227
MR STEVE F SIMMONS                  107 HELTONVILLE RD W                                                                  BEDFORD         IN   47421‐9384
MR STEVE FERICH                     173 W YPSILANTI AVE                                                                   PONTIAC         MI   48340‐1876
MR STEVE HARDEN                     485 MOUNT PLEASANT RD                                                                 BEDFORD         IN   47421‐9623
MR STEVE J BOUTOT                   23 ALVERN AVE                                                                         MASSENA         NY   13662‐2219
MR STEVE J GERZSENY                 2059 COVERT RD                                                                        FLINT           MI   48509‐1010
MR STEVE J SCHUSTER                 8510 MURRAY RIDGE RD                                                                  ELYRIA          OH   44035‐4751
MR STEVE K HART                     1802 N MARKET ST                                                                      KOKOMO          IN   46901‐2343
MR STEVE KINCHEN                    10918 COREYS WAY                                                                      FREDERICKSBRG   VA   22408‐2071
MR STEVE L WEBB                     3448 PEERLESS RD                                                                      BEDFORD         IN   47421‐8108
MR STEVE M DEMAND                   2180 E BERGIN AVE                                                                     BURTON          MI   48529‐1782
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Name                      Address1                       Address2            Address3         Address4         City               State Zip
MR STEVE M KOPSHO         2610 MOUNT PLEASANT RD                                                               BEDFORD             IN 47421‐8042
MR STEVE MARTIN           613 N CATHERINE ST                                                                   LANSING             MI 48917‐4907
MR STEVE MIDDLETON JR     18 E YPSILANTI AVE                                                                   PONTIAC             MI 48340‐1977
MR STEVE S SAPIKOWSKI     2505 N LABADIE                                                                       MILFORD             MI 48380‐4244
MR STEVE W TYREE          71 N ST                                                                              BEDFORD             IN 47421‐1733
MR STEVE WILSON           59 SUMMIT ST                                                                         PONTIAC             MI 48342‐1163
MR STEVEN A BEAVER        1209 14TH ST                                                                         BEDFORD             IN 47421‐3228
MR STEVEN A BURCHAM       1727 O ST                                                                            BEDFORD             IN 47421‐4118
MR STEVEN A CAMPBELL      1095 ANGOLA AVE                                                                      MOUNT MORRIS        MI 48458‐2123
MR STEVEN A FILICE        1007 NORWOOD RD                                                                      LANSING             MI 48917‐2361
MR STEVEN A GRANGER       33 KENT ST                                                                           MASSENA             NY 13662‐2121
MR STEVEN A GRAY          1451 CONNELL ST                                                                      BURTON              MI 48529‐2204
MR STEVEN A HENDRIKSEN    2147 E BOATFIELD AVE                                                                 BURTON              MI 48529‐1713
MR STEVEN A JOHNSTON      2136 N MARKET ST                                                                     KOKOMO              IN 46901‐1451
MR STEVEN A MELENCHUK     2539 MOUNT PLEASANT RD                                                               BEDFORD             IN 47421‐8041
MR STEVEN A MUNCH         110 S LAURA CT                                                                       WILMINGTON          DE 19804‐2046
MR STEVEN A SHARETTE      462 CESAR E CHAVEZ AVE                                                               PONTIAC             MI 48342‐1051
MR STEVEN A SUCHEK        717 MORRIS AVE                                                                       LANSING             MI 48917‐2324
MR STEVEN B PERRY         2473 WHITNEY AVE                                                                     ONTARIO             OH 44906‐1197
MR STEVEN B TATGE         2204 S CHATHAM ST                                                                    JANESVILLE          WI 53546‐6169
MR STEVEN BOSE            530 CAMERON AVE                                                                      PONTIAC             MI 48342‐1813
MR STEVEN BROWN           4075 RISEDORPH ST                                                                    BURTON              MI 48509‐1039
MR STEVEN BROWN           808 W 10TH ST                                                                        MUNCIE              IN 47302‐3169
MR STEVEN C MCKEE         321 W ELM ST                                                                         KOKOMO              IN 46901‐2833
MR STEVEN D GOODMAN       824 H ST                                                                             BEDFORD             IN 47421‐2616
MR STEVEN D MILLER        100 MURRY HOLT RD                                                                    BEDFORD             IN 47421‐9131
MR STEVEN D SANFORD       102 W KEYSTONE AVE                                                                   WILMINGTON          DE 19804‐2030
MR STEVEN D TODD          4217 GRONDINWOOD LN                                                                  MILFORD             MI 48380‐4226
MR STEVEN E GAMBLE        96 W HOPKINS AVE                                                                     PONTIAC             MI 48340‐1818
MR STEVEN E GILBERT       1617 K ST                                                                            BEDFORD             IN 47421‐3725
MR STEVEN E MACK          1101 HERRINGTON LN                                                                   PONTIAC             MI 48342‐1837
MR STEVEN E MALONE        2388 FERGUSON RD                                                                     ONTARIO             OH 44906‐1177
MR STEVEN E PELCH         2152 E SCHUMACHER ST                                                                 BURTON              MI 48529‐2436
MR STEVEN G AUTREY        2714 MCKENZIE LN                                                                     FREDERICKSBRG       VA 22408‐8072
MR STEVEN G BROYLES       12182 CAMDEN ST                                                                      LIVONIA             MI 48150‐2360
MR STEVEN H CLARK         2234 E WILLIAMSON ST                                                                 BURTON              MI 48529‐2446
MR STEVEN H MATTOS        10921 STACY RUN                                                                      FREDERICKSBRG       VA 22408‐8046
MR STEVEN J ANDERSON      4705 BUCKAROO DR                                                                     COLORADO SPRINGS    CO 80918‐5228
MR STEVEN J BESSIRE       1549 KING ST                                                                         JANESVILLE          WI 53546‐6027
MR STEVEN J BIB           2600 LINKWOOD AVE                                                                    WILMINGTON          DE 19805‐2334
MR STEVEN J BROCK         2078 MORRIS AVE                                                                      BURTON              MI 48529‐2180
MR STEVEN J CAIRNS        483 W COLUMBIA AVE APT 211                                                           PONTIAC             MI 48340‐1644
MR STEVEN J COUGHLIN      2111 CASHIN ST                                                                       BURTON              MI 48509‐1139
MR STEVEN J JONES         385 HILLCREST WAY                                                                    BEDFORD             IN 47421‐5807
MR STEVEN J KARLE         2119 HARVARD RD                                                                      BERKLEY             MI 48072‐1749
MR STEVEN J MILLS         624 16TH ST                                                                          BEDFORD             IN 47421‐3819
MR STEVEN J NUNNALLY II   2106 N MARKET ST                                                                     KOKOMO              IN 46901‐1451
MR STEVEN J OSMAR         1002 EASTFIELD RD                                                                    LANSING             MI 48917‐2346
MR STEVEN J SUHR          2037 W BURBANK AVE                                                                   JANESVILLE          WI 53546‐5961
MR STEVEN J TAYLOR        480 SPRUCE ST                                                                        MOUNT MORRIS        MI 48458‐1939
MR STEVEN J TAYLOR        1400 E COLDWATER RD                                                                  FLINT               MI 48505‐1704
MR STEVEN J WEBB          410 W HOPKINS AVE APT 205                                                            PONTIAC             MI 48340‐1777
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Name                      Address1                          Address2        Address3         Address4         City            State Zip
MR STEVEN K BROWNING      452 BEACH ST                                                                        MOUNT MORRIS     MI 48458‐1904
MR STEVEN K DILLMAN       1605 N LAFOUNTAIN ST                                                                KOKOMO           IN 46901‐2316
MR STEVEN K FLEMING       6144 LAKE DR                                                                        YPSILANTI        MI 48197‐7051
MR STEVEN KIRKPATRICK     1210 KELLOGG AVE APT 1                                                              JANESVILLE       WI 53546‐6061
MR STEVEN L BAIZE         1804 W 13TH ST                                                                      MUNCIE           IN 47302‐6617
MR STEVEN L BAIZE         1501 W 7TH ST                                                                       MUNCIE           IN 47302‐2110
MR STEVEN L BLACK         784 STIRLING ST                                                                     PONTIAC          MI 48340‐3163
MR STEVEN L KATONA        1468 E MCLEAN AVE                                                                   BURTON           MI 48529‐1614
MR STEVEN L MICHAUD       3 SCHOOL ST                                                                         MASSENA          NY 13662‐1714
MR STEVEN L MOOMEY        9922 JOAN CIR                                                                       YPSILANTI        MI 48197‐6913
MR STEVEN L PARKMAN       97 PINGREE AVE APT 2                                                                PONTIAC          MI 48342‐1160
MR STEVEN L PARRY         839 INGLEWOOD AVE                                                                   PONTIAC          MI 48340‐2314
MR STEVEN L PHELIX        9 LAUREL AVE APT 707                                                                MASSENA          NY 13662‐2058
MR STEVEN L PYLES SR      131 SUMMIT ST                                                                       PONTIAC          MI 48342‐1167
MR STEVEN L SILVA         815 W CHAMPLAIN AVE                                                                 WILMINGTON       DE 19804‐2000
MR STEVEN L WALKER        3825 HOLLY AVE                                                                      FLINT            MI 48506‐3108
MR STEVEN L WILLIAMS      771 ROBINWOOD ST                                                                    PONTIAC          MI 48340‐3144
MR STEVEN L YEHLE         2422 W FARRAND RD                                                                   CLIO             MI 48420‐1015
MR STEVEN M BORUFF        1015 N WASHINGTON ST                                                                KOKOMO           IN 46901‐2805
MR STEVEN M CRUZ          190 HIGH ST                                                                         PONTIAC          MI 48342‐1119
MR STEVEN M GIERA         779 E FOX HILLS DR                                                                  BLOOMFIELD       MI 48304‐1343
MR STEVEN M HOWARTH       11455 N SAGINAW ST APT 4                                                            MOUNT MORRIS     MI 48458‐2067
MR STEVEN M MILLER        321 BRYNFORD AVE                                                                    LANSING          MI 48917‐2925
MR STEVEN M NIGHTINGALE   1601 EVERGREEN DR                                                                   JANESVILLE       WI 53546‐6177
MR STEVEN M SHAW          2237 S ARCH ST                                                                      JANESVILLE       WI 53546‐5955
MR STEVEN MYERS JR        2132 E BOATFIELD AVE                                                                BURTON           MI 48529‐1714
MR STEVEN P EAGAN         1521 15TH ST                                                                        BEDFORD          IN 47421‐3601
MR STEVEN P ELMER         1604 ANTHONY AVE                                                                    JANESVILLE       WI 53546‐6071
MR STEVEN P WOLF          1508 N WASHINGTON ST                                                                KOKOMO           IN 46901‐2211
MR STEVEN R ALLBRIGHT     1438 E OOLITIC RD                                                                   BEDFORD          IN 47421‐8625
MR STEVEN R GILBERT       7126 N SAGINAW RD                                                                   MOUNT MORRIS     MI 48458‐2132
MR STEVEN R HAMBURG       9915 JOAN CIR                                                                       YPSILANTI        MI 48197‐8297
MR STEVEN R PAYNE         86 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1611
MR STEVEN R POWELL        128 W HOPKINS AVE                                                                   PONTIAC          MI 48340‐1820
MR STEVEN R YOUNG         2005 ROOSEVELT AVE                                                                  JANESVILLE       WI 53546‐5972
MR STEVEN RAY             3080 ROOSEVELT ST                                                                   DETROIT          MI 48216‐1020
MR STEVEN S BARNETT       10992 W 400 N                                                                       KOKOMO           IN 46901‐8621
MR STEVEN S BRASSINE      906 L ST                                                                            BEDFORD          IN 47421‐2534
MR STEVEN T POLCSIK       2115 VALLEY GATE                                                                    MILFORD          MI 48380‐4248
MR STEVEN W HUDSON        10901 BEVIN DR                                                                      FREDERICKSBRG    VA 22408‐2072
MR STEVEN W JACKSON JR    1134 N MORRISON ST                                                                  KOKOMO           IN 46901‐2764
MR STEVEN W JACKSON SR    1722 N WABASH AVE                                                                   KOKOMO           IN 46901‐2007
MR STEVEN W JOYNER        4170 GRONDINWOOD LN                                                                 MILFORD          MI 48380‐4223
MR STEVEN W MARSHALL      617 WALKER ST                                                                       MOUNT MORRIS     MI 48458‐1946
MR STEVEN W SYKES         1323 2ND ST                                                                         BEDFORD          IN 47421‐1801
MR STEW KERR              1515 W 8TH ST                                                                       MUNCIE           IN 47302‐2114
MR STEWART A JACKSON      2062 E BUDER AVE                                                                    BURTON           MI 48529‐1732
MR STEWART F CHASE        144 MAIN ST APT 1                                                                   MASSENA          NY 13662‐1995
MR STUART B DAVIS         46145 VILLAGE GREEN LN APT A122                                                     BELLEVILLE       MI 48111‐3132
MR STUART F EDICK         2610 GLENDAS WAY                                                                    FREDERICKSBRG    VA 22408‐8071
MR STUART H LEVINE        480 FOX HILLS DR N # A‐5                                                            BLOOMFIELD       MI 48304‐1335
MR STUART J JELINEK       241 W HOPKINS AVE                                                                   PONTIAC          MI 48340‐1825
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Name                            Address1                         Address2            Address3         Address4         City         State Zip
MR STUART J WILEY               1223 MEADOWLAWN DR                                                                     PONTIAC       MI 48340‐1737
MR STUART L BURTON              232 THE WOODS                                                                          BEDFORD       IN 47421‐9376
MR STUART P HASTINGS            4048 WOODROW AVE                                                                       BURTON        MI 48509‐1012
MR STUART R MCALPIN             2115 BOOTMAKER CT                                                                      BLOOMFIELD    MI 48304‐1301
MR SUBHASH C GULATI             521 S SPINNINGWHEEL LN                                                                 BLOOMFIELD    MI 48304‐1319
MR SUPACHAI J DOROSCH           529 BON AIR RD                                                                         LANSING       MI 48917‐2906
MR SURESH BOMMANABOINA          595 FOX HILLS DR N                                                                     BLOOMFIELD    MI 48304‐1311
MR SUTINUN A SOOKTHIS           404 W FAIRMOUNT AVE                                                                    PONTIAC       MI 48340‐1620
MR SY VANG                      40 PUTNAM AVE                                                                          PONTIAC       MI 48342‐1261
MR SYBOUNREUANG CHANTHARANGSY   403 W FAIRMOUNT AVE                                                                    PONTIAC       MI 48340‐1620

MR SYDNEY W NELSON              11260 KAREN ST                                                                         LIVONIA      MI   48150‐3181
MR SYLVESTER G LABARGE JR       102 WATER ST                                                                           MASSENA      NY   13662‐2011
MR SYLVESTER J CAPUANO          224 S CLIFTON AVE                                                                      WILMINGTON   DE   19805‐2309
MR SZCZEPAN J RADWANSKI         1038 NORTHVILLE DR                                                                     TOLEDO       OH   43612‐4232
MR TADEUSZ BIELAWSKI            280 HIGHLAND AVE                                                                       BLOOMFIELD   MI   48302‐0631
MR TAESOO J KIM                 4 PROSPECT CIR                                                                         MASSENA      NY   13662‐1702
MR TAKAAKI KAGAWA               554 ROLLING ROCK RD                                                                    BLOOMFIELD   MI   48304‐1053
MR TARIQ O HASHIM               536 ROLLING ROCK RD                                                                    BLOOMFIELD   MI   48304‐1053
MR TARIQ Y SHOMALI              2185 E BRISTOL RD                                                                      BURTON       MI   48529‐1322
MR TARRANT D MOORE SR           181 SUMMIT ST                                                                          PONTIAC      MI   48342‐1167
MR TARREL T BREWER              2001 N CENTER RD APT 117                                                               FLINT        MI   48506‐3198
MR TATE ANTHONY                 1058 CHERRYLAWN DR                                                                     PONTIAC      MI   48340‐1700
MR TAUREAN B TRASK              62 SUGAR HILL ADDITION                                                                 BEDFORD      IN   47421‐8136
MR TED E ISON                   1201 N WEBSTER ST                                                                      KOKOMO       IN   46901‐2703
MR TED L MARTIN                 410 N LAWRENCE ST                                                                      BEDFORD      IN   47421‐1557
MR TED R HAMMON                 2173 E BOATFIELD AVE                                                                   BURTON       MI   48529‐1713
MR TED W ANDERSON               1215 18TH ST                                                                           BEDFORD      IN   47421‐4233
MR TEDDY A HARKINS              400 N GRACE ST                                                                         LANSING      MI   48917‐4910
MR TENNYSON J DUNTON            2243 E BERGIN AVE                                                                      BURTON       MI   48529‐1780
MR TEOFILO H RIVERA             795 CORWIN CT                                                                          PONTIAC      MI   48340‐2415
MR TERAH L HAZARD               724 ROBINWOOD ST                                                                       PONTIAC      MI   48340‐3139
MR TERENCE A STEPHAN            1092 MEADOWLAWN DR                                                                     PONTIAC      MI   48340‐1730
MR TERENCE A TOUCHSTONE         795 EMERSON AVE                                                                        PONTIAC      MI   48340‐3222
MR TERENCE D MARES              11272 NAOMI DR                                                                         CLEVELAND    OH   44130‐1556
MR TERRANCE B BRYANT JR         691 MELROSE ST                                                                         PONTIAC      MI   48340‐3118
MR TERRANCE E JORDAN JR         28 N ALLEN ST                                                                          MASSENA      NY   13662‐1802
MR TERRANCE L FRANKLIN          1610 LOYOLA DR                                                                         FLINT        MI   48503‐5244
MR TERRANCE P CARLISLE          685 KENILWORTH AVE                                                                     PONTIAC      MI   48340‐3239
MR TERRANCE P MELVIN            326 N DEERFIELD AVE                                                                    LANSING      MI   48917‐2909
MR TERRENCE E COYNE             11132 NAOMI DR                                                                         CLEVELAND    OH   44130‐1554
MR TERRENCE J STRANGE           240 W YALE AVE                                                                         PONTIAC      MI   48340‐1866
MR TERRILL L STANLEY            2010 OLD OAKLAND AVE                                                                   LANSING      MI   48915‐1351
MR TERRY A HENDRICKSON          4090 HOMESTEAD DR APT 17                                                               BURTON       MI   48529‐1657
MR TERRY A STEWART              1500 W 11TH ST                                                                         MUNCIE       IN   47302‐2149
MR TERRY A WILSON               1017 MEADOWLAWN DR                                                                     PONTIAC      MI   48340‐1731
MR TERRY BUTLER                 32 W LONGFELLOW AVE                                                                    PONTIAC      MI   48340‐1826
MR TERRY C BYRD                 1080 E PRINCETON AVE                                                                   FLINT        MI   48505‐1514
MR TERRY C MOSSOW               29 NIGHTENGALE AVE                                                                     MASSENA      NY   13662‐1719
MR TERRY CHASTAIN               412 M ST                                                                               BEDFORD      IN   47421‐1819
MR TERRY D MOYER                1447 W 13TH ST                                                                         MUNCIE       IN   47302‐2901
MR TERRY D SULLIVAN             2219 S PINE ST                                                                         JANESVILLE   WI   53546‐6172
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Name                       Address1                           Address2            Address3         Address4         City           State Zip
MR TERRY DOLL              2274 E SCOTTWOOD AVE                                                                     BURTON          MI 48529‐1722
MR TERRY E WALKER          745 DURANT ST                                                                            LANSING         MI 48915‐1381
MR TERRY EATON             29 UNIVERSITY PLACE DR                                                                   PONTIAC         MI 48342‐1881
MR TERRY F JUNE            2165 E SCHUMACHER ST                                                                     BURTON          MI 48529‐2437
MR TERRY GRIFFITH          2132 RIVERSIDE DR                                                                        FLINT           MI 48506‐3240
MR TERRY H DEMO SR         14 GROVE ST                                                                              MASSENA         NY 13662‐2031
MR TERRY H HOULT           479 W FAIRMOUNT AVE                                                                      PONTIAC         MI 48340‐1622
MR TERRY HAINES            151 W HOPKINS AVE                                                                        PONTIAC         MI 48340‐1821
MR TERRY J WHITE           2173 WEBBER AVE                                                                          BURTON          MI 48529‐2413
MR TERRY K WILLOUGHBY      240 WHITE LN                                                                             BEDFORD         IN 47421‐9223
MR TERRY KUHNS             812 W 14TH ST                                                                            MUNCIE          IN 47302‐7612
MR TERRY L GIBBS           2228 RIVERSIDE DR                                                                        FLINT           MI 48506‐3242
MR TERRY L JENTZEN         11343 CHURCH ST                                                                          MOUNT MORRIS    MI 48458‐2201
MR TERRY L JOHNSON SR      957 FULWELL DR                                                                           ONTARIO         OH 44906‐1110
MR TERRY L MCINTYRE        1311 11TH ST                                                                             BEDFORD         IN 47421‐2912
MR TERRY L NELSON          1285 E YALE AVE                                                                          FLINT           MI 48505‐1752
MR TERRY L POWELL          952 KETTERING AVE                                                                        PONTIAC         MI 48340‐3257
MR TERRY L RANGUETTE       1231 STANLEY AVE                                                                         PONTIAC         MI 48340‐1744
MR TERRY L SMITH           82 PUTNAM AVE                                                                            PONTIAC         MI 48342‐1262
MR TERRY L THACHER         9681 BAYVIEW DR APT 216                                                                  YPSILANTI       MI 48197‐7026
MR TERRY L WEBB JR         2164 SAVOY AVE                                                                           BURTON          MI 48529‐2174
MR TERRY M PETERSON SR     2213 S PINE ST                                                                           JANESVILLE      WI 53546‐6172
MR TERRY M ROSS            609 PAGE ST                                                                              FLINT           MI 48505‐4735
MR TERRY O BULTMAN         806 16TH ST                                                                              BEDFORD         IN 47421‐3823
MR TERRY PREMO             25 CENTER ST                                                                             MASSENA         NY 13662‐1430
MR TERRY R KNIGHTS         2116 N BUCKEYE ST                                                                        KOKOMO          IN 46901‐5811
MR TERRY R LAUDERMILT      1609 W 13TH ST                                                                           MUNCIE          IN 47302‐2979
MR TERRY R TWEED           1816 N MCCANN ST                                                                         KOKOMO          IN 46901‐2076
MR TERRY R WORLEY          273 W COLUMBIA AVE                                                                       PONTIAC         MI 48340‐1711
MR TERRY RUSSELL           1201 N MCCANN ST                                                                         KOKOMO          IN 46901‐2663
MR TERRY S WRIGHT          1171 E COLDWATER RD                                                                      FLINT           MI 48505‐1503
MR TERRY W BLAIR           2135 HUBBARD ST APT 24                                                                   DETROIT         MI 48209‐3321
MR TERRY W HARRISON JR     3338 SYLVAN RD                                                                           LANSING         MI 48917‐2335
MR TERRY WRIGHT            820 W 11TH ST                                                                            MUNCIE          IN 47302‐3171
MR TEX J ZUNDA JR          670 STIRLING ST                                                                          PONTIAC         MI 48340‐3161
MR THADDEUS A HESLEP       4066 RISEDORPH ST                                                                        BURTON          MI 48509‐1040
MR THEODORE B MANKO        447 BON AIR RD                                                                           LANSING         MI 48917‐2904
MR THEODORE C HEGELMAN     422 FOX HILLS DR N APT 2                                                                 BLOOMFIELD      MI 48304‐1325
MR THEODORE J WILEY        1311 E CORNELL AVE                                                                       FLINT           MI 48505‐1750
MR THEODORE M HICKS        704 MELROSE ST                                                                           PONTIAC         MI 48340‐3119
MR THEODORE R FRAZIER JR   680 BAY ST                                                                               PONTIAC         MI 48342‐1918
MR THEODORE R LEISMER SR   78 W CORNELL AVE                                                                         PONTIAC         MI 48340‐2718
MR THEODORE R YOUNGEN      5041 MAYS AVE                                                                            MORAINE         OH 45439‐2930
MR THEODORE V CONCILIO     92 ANDREWS ST                                                                            MASSENA         NY 13662‐1857
MR THEOPHIL J BIELECKI     11180 FAIRLAWN DR                                                                        CLEVELAND       OH 44130‐1218
MR THERMON H BURNS         2112 KENNETH ST                                                                          BURTON          MI 48529‐1353
MR THERON C STUART         4351 COLUMBINE AVE                                                                       BURTON          MI 48529‐2118
MR THERON WASHINGTON       753 W GRAND BLVD                                                                         DETROIT         MI 48216‐1056
MR THOMAS A BEHLING        1613 ARBUTUS ST                                                                          JANESVILLE      WI 53546‐6143
MR THOMAS A BRUMBER        13 1/2 MAIN ST # 2                                                                       MASSENA         NY 13662‐1914
MR THOMAS A CHERNEY        1964 POST CHAISE CT                                                                      BLOOMFIELD      MI 48304‐1045
MR THOMAS A DOERR          7245 N SAGINAW RD APT 2                                                                  MOUNT MORRIS    MI 48458‐2100
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Name                     Address1                          Address2            Address3         Address4         City            State Zip
MR THOMAS A GIRAUD       6157 ROBERT CIR                                                                         YPSILANTI        MI 48197‐8281
MR THOMAS A GLAESER      5496 ABRAHAM AVE                                                                        PARMA            OH 44130‐1317
MR THOMAS A HAMADE       572 E FOX HILLS DR                                                                      BLOOMFIELD       MI 48304‐1312
MR THOMAS A HARDY        69 NIGHTENGALE AVE                                                                      MASSENA          NY 13662‐1717
MR THOMAS A KELLY        10749 GABRIELLA DR                                                                      CLEVELAND        OH 44130‐1425
MR THOMAS A MARINARI     2710 GLENDAS WAY                                                                        FREDERICKSBRG    VA 22408‐8036
MR THOMAS A MCKAY        2172 E SCOTTWOOD AVE                                                                    BURTON           MI 48529‐1752
MR THOMAS A POWERS       807 BON AIR RD                                                                          LANSING          MI 48917‐2315
MR THOMAS A RUSS         3597 LOVETT ST                                                                          DETROIT          MI 48210‐3138
MR THOMAS A SHULTS       668 S SPINNINGWHEEL LN                                                                  BLOOMFIELD       MI 48304‐1322
MR THOMAS A SOSNOWSKI    67 W COLUMBIA AVE                                                                       PONTIAC          MI 48340‐1807
MR THOMAS A SUTTON       2003 BOOTMAKER LN                                                                       BLOOMFIELD       MI 48304‐1005
MR THOMAS A TADDIE       2820 E MICHIGAN AVE                                                                     YPSILANTI        MI 48198‐6051
MR THOMAS B BARLATIER    464 HOLLIS ST                                                                           FRAMINGHAM       MA 01702‐8623
MR THOMAS B CONNOLLY     22 SUBURBAN RD                                                                          CLARK            NJ 07066‐1244
MR THOMAS B DAVIS        807 W 14TH ST                                                                           MUNCIE           IN 47302‐7611
MR THOMAS B NELLIS       175 APOLLO CIR                                                                          FLUSHING         MI 48433‐9321
MR THOMAS B REYES JR     1035 STANLEY AVE                                                                        PONTIAC          MI 48340‐1779
MR THOMAS B ROY          1118 E BOULEVARD DR                                                                     FLINT            MI 48503‐1800
MR THOMAS B RYAN         2425 CENTER AVE                                                                         JANESVILLE       WI 53546‐9010
MR THOMAS BONNER         1811 AVENUE A                                                                           FLINT            MI 48505‐4611
MR THOMAS BRAY           824 17TH ST                                                                             BEDFORD          IN 47421‐4249
MR THOMAS C GARRETT      1421 W 9TH ST                                                                           MUNCIE           IN 47302‐2166
MR THOMAS C LIGHTFOOT    8 RANSOM AVE                                                                            MASSENA          NY 13662‐1736
MR THOMAS C MARTIN JR    PO BOX 1482                                                                             BELLEVILLE       MI 48112‐1482
MR THOMAS C RAYSIN       4360 WOODROW AVE                                                                        BURTON           MI 48509‐1126
MR THOMAS C ROBINSON     1420 DIVE RD                                                                            BEDFORD          IN 47421‐1522
MR THOMAS C TURPIN       11425 N SAGINAW ST                                                                      MOUNT MORRIS     MI 48458‐2010
MR THOMAS D HYDE         25 ELM ST                                                                               MASSENA          NY 13662‐1827
MR THOMAS D LATURNEAU    89 STEGMAN LN                                                                           PONTIAC          MI 48340‐1664
MR THOMAS D NENNEAU      11110 N SAGINAW ST                                                                      MOUNT MORRIS     MI 48458‐2005
MR THOMAS D OLIVER       1430 W 13TH ST                                                                          MUNCIE           IN 47302‐2902
MR THOMAS D WALZ         409 N ROSEMARY ST                                                                       LANSING          MI 48917‐4915
MR THOMAS E BEATSON SR   13 LYNBROOK RD                                                                          WILMINGTON       DE 19804‐2668
MR THOMAS E BRADSHAW     316 EXMORE AVE                                                                          WILMINGTON       DE 19805‐2322
MR THOMAS E BROOKS       1417 S COUNCIL ST                                                                       MUNCIE           IN 47302‐3134
MR THOMAS E CARLSON      3229 TIMBER DR                                                                          LANSING          MI 48917‐2338
MR THOMAS E CONDON       49 NIGHTENGALE AVE                                                                      MASSENA          NY 13662‐1719
MR THOMAS E CONE         1217 N ARMSTRONG ST                                                                     KOKOMO           IN 46901‐2819
MR THOMAS E EMERSON      2186 E BOATFIELD AVE                                                                    BURTON           MI 48529‐1716
MR THOMAS E FAUNCE       3214 LOCKWOOD ST APT 1                                                                  DETROIT          MI 48210‐0910
MR THOMAS E HUNTER       2151 N APPERSON WAY                                                                     KOKOMO           IN 46901‐1421
MR THOMAS E LEE 3D       11201 MANSFIELD CLUB DR                                                                 FREDERICKSBRG    VA 22408‐2058
MR THOMAS E LUCK SR      331 BEACH ST                                                                            MOUNT MORRIS     MI 48458‐1901
MR THOMAS E MACAULAY     27 PARKER AVE                                                                           MASSENA          NY 13662‐2213
MR THOMAS E MCCLAIN SR   944 MELROSE ST                                                                          PONTIAC          MI 48340‐3129
MR THOMAS E MULLIN JR    129 THE WOODS                                                                           BEDFORD          IN 47421‐9300
MR THOMAS E NAGY         176 W HOPKINS AVE                                                                       PONTIAC          MI 48340‐1822
MR THOMAS E NOWACEK      62 EUCLID AVE                                                                           PONTIAC          MI 48342‐1112
MR THOMAS E STRAUCH      1412 W 10TH ST                                                                          MUNCIE           IN 47302‐2169
MR THOMAS F BISHOP       3321 UPTON RD                                                                           LANSING          MI 48917‐2340
MR THOMAS F DAGATA       5285 COMMERCE PKWY W                                                                    CLEVELAND        OH 44130‐1272
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Name                      Address1                        Address2            Address3         Address4         City            State Zip
MR THOMAS F REID          10780 AARON DR                                                                        CLEVELAND        OH 44130‐1355
MR THOMAS F TOMASZEWSKI   10781 FAIRLAWN DR                                                                     PARMA            OH 44130‐1209
MR THOMAS F WILLIAMS JR   11203 MANSFIELD CLUB DR                                                               FREDERICKSBRG    VA 22408‐2058
MR THOMAS G FERRIER       419 W CHAMPLAIN AVE                                                                   WILMINGTON       DE 19804‐2013
MR THOMAS G FOX           1313 KING ST                                                                          JANESVILLE       WI 53546‐6073
MR THOMAS G HOSLER        1198 MORRIS HILLS PKWY                                                                MOUNT MORRIS     MI 48458‐2575
MR THOMAS G MONTGOMERY    550 E FOX HILLS DR                                                                    BLOOMFIELD       MI 48304‐1302
MR THOMAS G REXFORD JR    2128 E BOATFIELD AVE                                                                  BURTON           MI 48529‐1714
MR THOMAS G SULLIVAN      1 WESTWOOD DR                                                                         MASSENA          NY 13662‐1710
MR THOMAS G TBAROHA       1930 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1022
MR THOMAS G TERRANCE      28 WINTER ST                                                                          MASSENA          NY 13662‐1819
MR THOMAS H BALLARD       471 WALNUT ST                                                                         MOUNT MORRIS     MI 48458‐1950
MR THOMAS H BURKE         408 FOX HILLS DR S APT 4                                                              BLOOMFIELD       MI 48304‐1346
MR THOMAS H DELCOLLO      56 LYNBROOK RD                                                                        WILMINGTON       DE 19804‐2670
MR THOMAS H FORBES        4242 WINDMILL FARMS                                                                   MILFORD          MI 48380‐4279
MR THOMAS H HAMLER        547 FOX HILLS DR S APT 8                                                              BLOOMFIELD       MI 48304‐1358
MR THOMAS H HARRIS        2130 E BRISTOL RD                                                                     BURTON           MI 48529‐1321
MR THOMAS H HARRIS        2118 E BRISTOL RD                                                                     BURTON           MI 48529‐1321
MR THOMAS H MC KAY        1700 N WABASH AVE                                                                     KOKOMO           IN 46901‐2007
MR THOMAS H RAY           1209 NORWOOD RD                                                                       LANSING          MI 48917‐2302
MR THOMAS H WALLS         1426 14TH ST                                                                          BEDFORD          IN 47421‐3233
MR THOMAS H WALLS JR      1522 15TH ST                                                                          BEDFORD          IN 47421‐3602
MR THOMAS H WOOSTER SR    809 HARWOOD RD                                                                        WILMINGTON       DE 19804‐2660
MR THOMAS J CARTER        39 ELM ST                                                                             MASSENA          NY 13662‐1827
MR THOMAS J CHAPMAN       40 ELM ST                                                                             MASSENA          NY 13662‐1826
MR THOMAS J DAVIS         1915 BRISTOL COURT DR                                                                 MOUNT MORRIS     MI 48458‐2187
MR THOMAS J DONALL        812 DURANT ST                                                                         LANSING          MI 48915‐1329
MR THOMAS J HEARD         655 PALMER DR                                                                         PONTIAC          MI 48342‐1856
MR THOMAS J HOPPER        1223 10TH ST                                                                          BEDFORD          IN 47421‐2527
MR THOMAS J KELLY SR      510 ROCHELLE AVE                                                                      WILMINGTON       DE 19804‐2120
MR THOMAS J KLEMP         2 ELM CIR                                                                             MASSENA          NY 13662‐2809
MR THOMAS J KUBISZAK      11040 FAIRLAWN DR                                                                     PARMA            OH 44130‐1216
MR THOMAS J LAFNEAR       1228 CLOVERLAWN DR                                                                    PONTIAC          MI 48340‐1616
MR THOMAS J LANCASTER     7 E KEYSTONE AVE                                                                      WILMINGTON       DE 19804‐2023
MR THOMAS J LAWRENCE      2128 KENNETH ST                                                                       BURTON           MI 48529‐1353
MR THOMAS J LEONARD       1419 LOWELL ST                                                                        ELYRIA           OH 44035‐4866
MR THOMAS J RICHARDS      1086 COLLINS AVE                                                                      MOUNT MORRIS     MI 48458‐2137
MR THOMAS J ROACH         9665 HARBOUR COVE CT                                                                  YPSILANTI        MI 48197‐6901
MR THOMAS J SMITH JR      22 GERDON AVE                                                                         PONTIAC          MI 48342‐1117
MR THOMAS J SWERC         1440 OAK HOLLOW DR                                                                    MILFORD          MI 48380‐4263
MR THOMAS J TILSON        303 N DEERFIELD AVE                                                                   LANSING          MI 48917‐2910
MR THOMAS J TINCHER       1628 16TH ST                                                                          BEDFORD          IN 47421‐3612
MR THOMAS J WALLER JR     470 CESAR E CHAVEZ AVE APT 1                                                          PONTIAC          MI 48342‐1298
MR THOMAS J WILSON        1029 CLOVERLAWN DR                                                                    PONTIAC          MI 48340‐1611
MR THOMAS J WIRTH JR      2908 BROYHILL CT                                                                      FREDERICKSBRG    VA 22408‐2069
MR THOMAS J WITHEROW      7245 OZGA ST                                                                          ROMULUS          MI 48174‐1325
MR THOMAS K SAVINO        85 W COLUMBIA AVE                                                                     PONTIAC          MI 48340‐1809
MR THOMAS K ST PIER       14 CECIL AVE                                                                          MASSENA          NY 13662‐2139
MR THOMAS K THOMPSON      447 SPRUCE ST                                                                         MOUNT MORRIS     MI 48458‐1938
MR THOMAS L BENNETT       2224 E BERGIN AVE                                                                     BURTON           MI 48529‐1782
MR THOMAS L CUMMINGS JR   2164 E SCOTTWOOD AVE                                                                  BURTON           MI 48529‐1752
MR THOMAS L ERWIN         1821 W 10TH ST                                                                        MUNCIE           IN 47302‐6608
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Name                      Address1                         Address2            Address3         Address4         City          State Zip
MR THOMAS L HALTER        1817 N MCCANN ST                                                                       KOKOMO         IN 46901‐2077
MR THOMAS L MITCHELL      507 N JACKSON ST                                                                       BEDFORD        IN 47421‐1529
MR THOMAS L PARKINSON     2 GARVIN AVE                                                                           MASSENA        NY 13662‐1817
MR THOMAS L PETERSON      231 W COLUMBIA AVE                                                                     PONTIAC        MI 48340‐1815
MR THOMAS LAMONS          1805 N BELL ST                                                                         KOKOMO         IN 46901‐2306
MR THOMAS M BELL          525 E MORGAN ST                                                                        KOKOMO         IN 46901‐2355
MR THOMAS M BRITON        279 W HOPKINS AVE                                                                      PONTIAC        MI 48340‐1717
MR THOMAS M BURDETT       136 W HOPKINS AVE                                                                      PONTIAC        MI 48340‐1820
MR THOMAS M DESCO         3837 PITKIN AVE                                                                        FLINT          MI 48506‐4234
MR THOMAS M HEYWORTH      3748 IVANHOE AVE                                                                       FLINT          MI 48506‐4214
MR THOMAS M JOHNSTON      603 E SPRAKER ST                                                                       KOKOMO         IN 46901‐2445
MR THOMAS M JONES         2120 SW GOOSEBERRY LN                                                                  LEES SUMMIT    MO 64082‐4138
MR THOMAS M KOBLINSKI     1420 CONNELL ST                                                                        BURTON         MI 48529‐2203
MR THOMAS M LEY           6157 LAKE DR                                                                           YPSILANTI      MI 48197‐7052
MR THOMAS M LONG          2717 HARWICK DR                                                                        LANSING        MI 48917‐2348
MR THOMAS M MASSEAU       304 N CATHERINE ST                                                                     LANSING        MI 48917‐2930
MR THOMAS M ROWDEN        724 STANLEY AVE                                                                        PONTIAC        MI 48340‐2471
MR THOMAS M RUTHERFORD    97 W PRINCETON AVE                                                                     PONTIAC        MI 48340‐1839
MR THOMAS M SCHMITT       2107 MORRIS AVE                                                                        BURTON         MI 48529‐2179
MR THOMAS M SMITH         5333 MANCHESTER RD                                                                     DAYTON         OH 45449‐1937
MR THOMAS M STETINA       512 BECKER AVE                                                                         WILMINGTON     DE 19804‐2104
MR THOMAS M WESLEY        1205 BOYNTON DR                                                                        LANSING        MI 48917‐5707
MR THOMAS MC VICKAR       200 W PRINCETON AVE                                                                    PONTIAC        MI 48340‐1844
MR THOMAS MODGLIN JR      624 W MEMORIAL DR                                                                      MUNCIE         IN 47302‐7623
MR THOMAS N BALDWIN       1524 N BELL ST                                                                         KOKOMO         IN 46901‐2334
MR THOMAS N TUONI SR      1612 IRONSIDE RD                                                                       NEWARK         DE 19702‐1010
MR THOMAS P HIRSH         96 TRIPP ST                                                                            FRAMINGHAM     MA 01702‐8751
MR THOMAS P LAMONS        1907 N BELL ST                                                                         KOKOMO         IN 46901‐2329
MR THOMAS P OCHOCKI       11120 AARON DR                                                                         PARMA          OH 44130‐1364
MR THOMAS R EMBREE        2083 MOUNT PLEASANT RD                                                                 BEDFORD        IN 47421‐8037
MR THOMAS R EMBREE        2065 MOUNT PLEASANT RD                                                                 BEDFORD        IN 47421‐8037
MR THOMAS R ERNSBERGER    1002 WESTFIELD RD                                                                      LANSING        MI 48917‐2373
MR THOMAS R FAY           17 N ALLEN ST                                                                          MASSENA        NY 13662‐1801
MR THOMAS R FISCEL        1112 W 1ST ST                                                                          MUNCIE         IN 47305‐2103
MR THOMAS R FRANCIS       3317 SYLVAN RD                                                                         LANSING        MI 48917‐2336
MR THOMAS R HOPSON        1472 E WILLIAMSON ST                                                                   BURTON         MI 48529‐1628
MR THOMAS R KENDIG        1303 Q ST                                                                              BEDFORD        IN 47421‐3132
MR THOMAS R LONGWELL      2420 FERGUSON RD                                                                       ONTARIO        OH 44906‐1107
MR THOMAS R MCGRATH JR    611 FALLON AVE                                                                         WILMINGTON     DE 19804‐2111
MR THOMAS R SERPE         2412 SYLVAN AVE                                                                        WILMINGTON     DE 19805‐2343
MR THOMAS R SLATINSKY     4784 PLUMER ST                                                                         DETROIT        MI 48209‐1390
MR THOMAS RAYSIN          2127 CASHIN ST                                                                         BURTON         MI 48509‐1139
MR THOMAS S ABERNATHY     1076 MEADOWLAWN DR                                                                     PONTIAC        MI 48340‐1730
MR THOMAS S DISTEFANO     104 MEGHANS CT                                                                         WILMINGTON     DE 19804‐2045
MR THOMAS S FREGOE        162 MAIN ST APT 4                                                                      MASSENA        NY 13662‐1918
MR THOMAS W FELDMAN       1605 ANTHONY AVE                                                                       JANESVILLE     WI 53546‐6070
MR THOMAS W GILLOTTE SR   1053 CLOVERLAWN DR                                                                     PONTIAC        MI 48340‐1611
MR THOMAS W KASON         11331 FAIRLAWN DR                                                                      CLEVELAND      OH 44130‐1223
MR THOMAS W MCCORMICK     11391 AARON DR                                                                         PARMA          OH 44130‐1264
MR THOMAS W SPURLOCK      1203 W 15TH ST                                                                         MUNCIE         IN 47302‐3071
MR THOMAS W SYROMI        2141 E BUDER AVE                                                                       BURTON         MI 48529‐1733
MR THOMAS W TIPPETT       2111 E BOATFIELD AVE                                                                   BURTON         MI 48529‐1713
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Name                          Address1                      Address2            Address3         Address4         City           State Zip
MR THOMAS W VANCE             802 16TH ST                                                                         BEDFORD         IN 47421‐3823
MR THOMAS WASHINGTON          2119 N APPERSON WAY                                                                 KOKOMO          IN 46901‐1421
MR THOMAS WILLIAMS            662 KETTERING AVE                                                                   PONTIAC         MI 48340‐3243
MR THOMAS YBARRA              722 LIVINGSTON AVE                                                                  PONTIAC         MI 48340‐2445
MR THOR N COONS               1008 I ST                                                                           BEDFORD         IN 47421‐2625
MR THORSTEN L BEACON          2159 SAVOY AVE                                                                      BURTON          MI 48529‐2173
MR TIHOMIR PALAMETA           448 FOX HILLS DR S APT 7                                                            BLOOMFIELD      MI 48304‐1352
MR TILFORD O PAULSRUD         1216 ANTHONY AVE                                                                    JANESVILLE      WI 53546‐6008
MR TILMON J SWINNEY           1363 BRADY AVE                                                                      BURTON          MI 48529‐2009
MR TIM HILVERS                6040 LAKE DR                                                                        YPSILANTI       MI 48197‐7013
MR TIM KELLING                PO BOX 113                                                                          NISLAND         SD 57762‐0113
MR TIM L SUMPTER              1311 M ST                                                                           BEDFORD         IN 47421‐3234
MR TIM LOUK                   1511 W 14TH ST                                                                      MUNCIE          IN 47302‐2914
MR TIM MOSE                   2066 BRADY AVE                                                                      BURTON          MI 48529‐2423
MR TIM S GRANTHAM             2112 N APPERSON WAY                                                                 KOKOMO          IN 46901‐1422
MR TIM SALISBURY              670 MELROSE ST                                                                      PONTIAC         MI 48340‐3117
MR TIMMIE T SMITH             PO BOX 80853                                                                        LANSING         MI 48908‐0853
MR TIMMIE W SIMPSON           1232 LIZA BLVD                                                                      PONTIAC         MI 48342‐1984
MR TIMMOTHY J VANHENTENRYCK   56 SUMMIT ST                                                                        PONTIAC         MI 48342‐1162
MR TIMMY D BREWER             855 INGLEWOOD AVE                                                                   PONTIAC         MI 48340‐2314
MR TIMMY GREGORY              605 W 8TH ST                                                                        MUNCIE          IN 47302‐3114
MR TIMMY L MARTINEZ           2034 KENNETH ST                                                                     BURTON          MI 48529‐1351
MR TIMMY T BRACEWELL          1004 MEADOWLAWN DR                                                                  PONTIAC         MI 48340‐1730
MR TIMOTHY A BURLEY           27 NIGHTENGALE AVE                                                                  MASSENA         NY 13662‐1719
MR TIMOTHY A COTE             184 W RUTGERS AVE                                                                   PONTIAC         MI 48340‐2760
MR TIMOTHY A MCNIEL           1382 GRAM ST                                                                        BURTON          MI 48529‐2040
MR TIMOTHY A NAGEL            9963 JULIE DR                                                                       YPSILANTI       MI 48197‐8285
MR TIMOTHY A PEAK             11350 AARON DR                                                                      PARMA           OH 44130‐1263
MR TIMOTHY A RICHARDS         1511 EVERGREEN DR                                                                   JANESVILLE      WI 53546‐6175
MR TIMOTHY A WASHINGTON       721 SPELLMAN DR                                                                     FLINT           MI 48503‐5229
MR TIMOTHY A WEST             623 MONROE ST                                                                       FLINT           MI 48503‐3833
MR TIMOTHY BARBERO            3735 MARMION AVE                                                                    FLINT           MI 48506‐4217
MR TIMOTHY C BROCKWAY         1903 W BURBANK AVE                                                                  JANESVILLE      WI 53546‐5959
MR TIMOTHY C FRIAR            1101 N WEBSTER ST                                                                   KOKOMO          IN 46901‐2705
MR TIMOTHY C MALONEY          892 MELROSE ST                                                                      PONTIAC         MI 48340‐3125
MR TIMOTHY C WEISER           11241 HALLER ST                                                                     LIVONIA         MI 48150‐3180
MR TIMOTHY CARTER             2209 COVERT RD                                                                      BURTON          MI 48509‐1014
MR TIMOTHY CROSKEY            694 EMERSON AVE                                                                     PONTIAC         MI 48340‐3217
MR TIMOTHY D AUSTIN           630 W 9TH ST                                                                        MUNCIE          IN 47302‐3121
MR TIMOTHY D DIMOCK           551 S SPINNINGWHEEL LN                                                              BLOOMFIELD      MI 48304‐1320
MR TIMOTHY D HORNIG           1968 W SPINNINGWHEEL LN                                                             BLOOMFIELD      MI 48304‐1066
MR TIMOTHY D KIDWELL          1701 N MORRISON ST                                                                  KOKOMO          IN 46901‐2150
MR TIMOTHY E FLANAGIN         1315 BRISTOL COURT DR                                                               MOUNT MORRIS    MI 48458‐2181
MR TIMOTHY E RABER            1814 S CHATHAM ST                                                                   JANESVILLE      WI 53546‐6062
MR TIMOTHY E RAMSAY           2702 N SOUTH POOR FARM RD                                                           BEDFORD         IN 47421‐9271
MR TIMOTHY E WIRTH            698 E FOX HILLS DR                                                                  BLOOMFIELD      MI 48304‐1360
MR TIMOTHY F TELISKY          89 W LONGFELLOW AVE                                                                 PONTIAC         MI 48340‐1829
MR TIMOTHY F TELISKY          84 W LONGFELLOW AVE                                                                 PONTIAC         MI 48340‐1828
MR TIMOTHY FOSTER             2145 E MCLEAN AVE                                                                   BURTON          MI 48529‐1739
MR TIMOTHY FULLER             409 N ROSEMARY ST                                                                   LANSING         MI 48917‐4915
MR TIMOTHY G ATTIX JR         109 S LAURA CT                                                                      WILMINGTON      DE 19804‐2046
MR TIMOTHY G BRADY            703 BECKER CT                                                                       WILMINGTON      DE 19804‐2100
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Name                        Address1                       Address2            Address3         Address4         City           State Zip
MR TIMOTHY G MCMAHON        11140 GABRIELLA DR                                                                   CLEVELAND       OH 44130‐1470
MR TIMOTHY J BAUHOF         10800 FAIRLAWN DR                                                                    CLEVELAND       OH 44130‐1210
MR TIMOTHY J BECKSTED       9 LAUREL AVE APT 809                                                                 MASSENA         NY 13662‐2058
MR TIMOTHY J BENNETT        127 LINCOLN AVE                                                                      BEDFORD         IN 47421‐1612
MR TIMOTHY J BRYDGES        1042 COLLINS AVE                                                                     MOUNT MORRIS    MI 48458‐2138
MR TIMOTHY J CARNEY         11420 DEBORAH DR                                                                     CLEVELAND       OH 44130‐1328
MR TIMOTHY J CZAJKA         3215 LOCKWOOD ST                                                                     DETROIT         MI 48210‐3256
MR TIMOTHY J HOFFMAN        1312 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2181
MR TIMOTHY J MURPHY         1705 H ST                                                                            BEDFORD         IN 47421‐4217
MR TIMOTHY J MURPHY         462 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐1621
MR TIMOTHY J O'ROURKE       14 P ST                                                                              BEDFORD         IN 47421‐1718
MR TIMOTHY J SEARS          2122 S HOYT AVE                                                                      MUNCIE          IN 47302‐3012
MR TIMOTHY J SOPKO          10749 DEBORAH DR                                                                     CLEVELAND       OH 44130‐1373
MR TIMOTHY J WALTON         785 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3101
MR TIMOTHY JONES            1117 13TH ST                   #2                                                    BEDFORD         IN 47421‐3206
MR TIMOTHY L DECKARD        401 SHANDELL DR                                                                      BEDFORD         IN 47421‐9661
MR TIMOTHY L DOUGLAS        12117 CAMDEN ST                                                                      LIVONIA         MI 48150‐2359
MR TIMOTHY L EDSON          7442 ALEXANDER ST                                                                    MOUNT MORRIS    MI 48458‐2927
MR TIMOTHY L FAIRCHILD      628 W 7TH ST                                                                         MUNCIE          IN 47302‐3107
MR TIMOTHY L HELTON         626 NORTHVIEW CT                                                                     PONTIAC         MI 48340‐2456
MR TIMOTHY L LAPEER         1613 W 10TH ST                                                                       MUNCIE          IN 47302‐6606
MR TIMOTHY L MARRIWEATHER   724 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3240
MR TIMOTHY L SHANNON        1071 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1611
MR TIMOTHY L SINNOTT        3746 PITKIN AVE                                                                      FLINT           MI 48506‐4221
MR TIMOTHY L TATE           1500 N WEBSTER ST                                                                    KOKOMO          IN 46901‐2123
MR TIMOTHY L THOMAS         1115 COLLINS AVE                                                                     MOUNT MORRIS    MI 48458‐2102
MR TIMOTHY LUCAS            101 W BUTLER ST                                                                      KOKOMO          IN 46901‐2262
MR TIMOTHY M BAKER          6048 LAKE DR                                                                         YPSILANTI       MI 48197‐7046
MR TIMOTHY M DUFF           11795 HARTEL ST                                                                      LIVONIA         MI 48150‐2380
MR TIMOTHY M GRANSON        1501 N WABASH AVE                                                                    KOKOMO          IN 46901‐2010
MR TIMOTHY M HOUSE          24 W RUTGERS AVE                                                                     PONTIAC         MI 48340‐2754
MR TIMOTHY M HRYCKEWYCZ     823 HARWOOD RD                                                                       WILMINGTON      DE 19804‐2662
MR TIMOTHY M KRAFT          573 WEYBRIDGE DR                                                                     BLOOMFIELD      MI 48304‐1081
MR TIMOTHY M LONG           7 ELM CIR                                                                            MASSENA         NY 13662‐1825
MR TIMOTHY M MATHESON       676 MAPLE ST                                                                         MOUNT MORRIS    MI 48458‐1927
MR TIMOTHY M MATTICE        13 PROSPECT CIR                                                                      MASSENA         NY 13662‐1701
MR TIMOTHY M PLYLER         400 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1904
MR TIMOTHY M SHOENS         11618 CHURCH ST                                                                      MOUNT MORRIS    MI 48458‐2017
MR TIMOTHY M VAUGHN         625 BUENA VISTA ST APT 7                                                             MOUNT MORRIS    MI 48458‐1984
MR TIMOTHY M WORPELL        11865 CAMDEN ST                                                                      LIVONIA         MI 48150‐2361
MR TIMOTHY P COSTIGAN       3408 W SAGINAW ST                                                                    LANSING         MI 48917‐2203
MR TIMOTHY P DOUD           8 HIGHLAND PARK                                                                      MASSENA         NY 13662‐1834
MR TIMOTHY P FOSTER         4338 HAZEL ST                                                                        CLARKSTON       MI 48348‐1433
MR TIMOTHY P WOODBURY       2081 KENNETH ST                                                                      BURTON          MI 48529‐1350
MR TIMOTHY R HEDGES         323 M ST                                                                             BEDFORD         IN 47421‐1800
MR TIMOTHY R MCDERMOTT      188 E ORVIS ST                                                                       MASSENA         NY 13662‐2245
MR TIMOTHY RITTER           9900 JOAN CIR                                                                        YPSILANTI       MI 48197‐6912
MR TIMOTHY S HUGHES         5491 CHEVROLET BLVD APT B105                                                         PARMA           OH 44130‐1458
MR TIMOTHY S KNAFLER        11300 SHARON DR                                                                      CLEVELAND       OH 44130‐1438
MR TIMOTHY V DUBETZ         11800 BROOKPARK RD TRLR 148                                                          CLEVELAND       OH 44130‐1189
MR TIMOTHY VALENTI II       5431 CHEVROLET BLVD APT A107                                                         PARMA           OH 44130‐1485
MR TIMOTHY W HILL           376 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1902
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
MR TIMOTHY W KIENBAUM    1545 KELLOGG AVE                                                                     JANESVILLE      WI 53546‐6023
MR TIMOTHY W MARTIN      902 EMERSON AVE                                                                      PONTIAC         MI 48340‐3227
MR TIMOTHY W MCBEE       11160 HALLER ST                                                                      LIVONIA         MI 48150‐3143
MR TIMOTHY W WATSON      1114 SUMMIT LN                                                                       BEDFORD         IN 47421‐2550
MR TINO RAYNER           444 FOX HILLS DR N APT 1                                                             BLOOMFIELD      MI 48304‐1329
MR TJ SCHUMACHER         1112 W BURBANK AVE APT 105                                                           JANESVILLE      WI 53546‐6146
MR TOBY G ADAMS          2584 MOUNT PLEASANT RD                                                               BEDFORD         IN 47421‐8041
MR TOBY L BLACKWOOD      207 WHITE LN                                                                         BEDFORD         IN 47421‐9224
MR TOBY L HARRISON       524 15TH ST                                                                          BEDFORD         IN 47421‐3804
MR TOBY L HORNER         679 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1342
MR TOBY L SMITH          233 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1878
MR TOBY R BOX            1210 13TH ST APT 1                                                                   BEDFORD         IN 47421‐3283
MR TOBY W SYKES          405 N ST                                                                             BEDFORD         IN 47421‐2119
MR TOD E NORMAN          1606 16TH ST                                                                         BEDFORD         IN 47421‐3612
MR TOD R MONTANYE        1605 W BURBANK AVE                                                                   JANESVILLE      WI 53546‐6127
MR TODD A BRIGHT         1929 W 9TH ST                                                                        MUNCIE          IN 47302‐2124
MR TODD A CRAWLEY        413 N ROSEMARY ST APT 5                                                              LANSING         MI 48917‐2982
MR TODD A DOLL           1209 N COURTLAND AVE                                                                 KOKOMO          IN 46901‐2753
MR TODD A LITTLE         2000 N APPERSON WAY                                                                  KOKOMO          IN 46901‐2348
MR TODD A MARTIN         3818 HOLLY AVE                                                                       FLINT           MI 48506‐3109
MR TODD A NAGY           404 WALNUT ST                                                                        MOUNT MORRIS    MI 48458‐1951
MR TODD A TYO            8 PROSPECT CIR                                                                       MASSENA         NY 13662‐1702
MR TODD A WILLIAMS       1626 ARBUTUS ST                                                                      JANESVILLE      WI 53546‐6142
MR TODD A WOODS          126 THE WOODS                                                                        BEDFORD         IN 47421‐9300
MR TODD A YOTT           11098 W GLEN                                                                         CLIO            MI 48420‐1989
MR TODD C LANG           830 ORLANDO AVE                                                                      PONTIAC         MI 48340‐2355
MR TODD C SNEED          311 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1901
MR TODD D WEST           2019 JOLSON AVE                                                                      BURTON          MI 48529‐2031
MR TODD F BYRNE          1528 KING ST                                                                         JANESVILLE      WI 53546‐6028
MR TODD J FERGUSON       706 FALLON AVE                                                                       WILMINGTON      DE 19804‐2114
MR TODD L FISHER         4385 SHUBERT AVE                                                                     BURTON          MI 48529‐2138
MR TODD L HUTTON         2158 MORRIS AVE                                                                      BURTON          MI 48529‐2105
MR TODD M CRONKRIGHT     4341 WOODROW AVE                                                                     BURTON          MI 48509‐1125
MR TODD M JONES          1075 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1611
MR TODD M REMTEMA        4294 GRONDINWOOD LN                                                                  MILFORD         MI 48380‐4225
MR TODD M SZARKA         30 CLARK ST                                                                          MASSENA         NY 13662‐1812
MR TODD P MANNING        23 GROVE ST                                                                          MASSENA         NY 13662‐2131
MR TODD R ARTHUR‐BOONE   730 LOYOLA DR                                                                        FLINT           MI 48503‐5222
MR TODD R SHUPE          4186 GRONDINWOOD LN                                                                  MILFORD         MI 48380‐4223
MR TODD R WHITE          2157 WEBBER AVE                                                                      BURTON          MI 48529‐2413
MR TODD S STILES         521 N DEERFIELD AVE                                                                  LANSING         MI 48917‐2912
MR TODD V BERG           1319 ANTHONY AVE                                                                     JANESVILLE      WI 53546‐6068
MR TODD W HOUSTON        40 BATES RD                                                                          FRAMINGHAM      MA 01702‐8700
MR TODDRAE K TURNER      448 FOX HILLS DR S APT 5                                                             BLOOMFIELD      MI 48304‐1352
MR TOM F ROBERTS         198 WALNUT HEIGHTS RD                                                                BEDFORD         IN 47421‐8168
MR TOM J MAY             2908 MOUNT PLEASANT RD                                                               BEDFORD         IN 47421‐8045
MR TOM L SPICER          1226 17TH ST                                                                         BEDFORD         IN 47421‐4231
MR TOM R CADWELL         602 N DEERFIELD AVE                                                                  LANSING         MI 48917‐2988
MR TOM R LANE            1320 PEERLESS RD                                                                     BEDFORD         IN 47421‐8100
MR TOM S SMITH           1238 N INDIANA AVE                                                                   KOKOMO          IN 46901‐2718
MR TOM SRYGLEY           1703 14TH ST                                                                         BEDFORD         IN 47421‐3634
MR TOM VANDEBURG         1123 HERRINGTON LN                                                                   PONTIAC         MI 48342‐1837
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Name                      Address1                            Address2                           Address3   Address4                  City            State Zip
MR TOMAS LEDESMA          200 LAURA CT                                                                                                WILMINGTON       DE 19804‐2016
MR TOMAS QUINTANILLA JR   1075 E PRINCETON AVE                                                                                        FLINT            MI 48505‐1513
MR TOMAS R VALENCIA       783 CRITTENDEN ST                                                                                           PONTIAC          MI 48340‐2419
MR TOMMASO D'AVINO        C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290              80035 NOLA NAPLES ITALY

MR TOMMIE L PSALMS        554 E WITHERBEE ST                                                                                          FLINT           MI   48505‐4703
MR TOMMY A MOSS JR        2148 WEBBER AVE                                                                                             BURTON          MI   48529‐2414
MR TOMMY C LAWRENCE       2223 E BERGIN AVE                                                                                           BURTON          MI   48529‐1780
MR TOMMY E LEWIS          2057 E BERGIN AVE                                                                                           BURTON          MI   48529‐1701
MR TOMMY G DEAN           109 W YPSILANTI AVE                                                                                         PONTIAC         MI   48340‐1874
MR TOMMY J WRIGHT         1334 E KURTZ AVE                                                                                            FLINT           MI   48505‐1767
MR TOMMY L BROWN          1280 BROADWAY BLVD                                                                                          FLINT           MI   48506‐3230
MR TOMMY L JEFFERSON      408 FOX HILLS DR S APT 5                                                                                    BLOOMFIELD      MI   48304‐1346
MR TOMMY L WALLACE        920 W 15TH ST                                                                                               MUNCIE          IN   47302‐3064
MR TOMMY R BACON          681 CAMERON AVE                                                                                             PONTIAC         MI   48340‐3203
MR TOMMY W WYATT II       239 W FAIRMOUNT AVE                                                                                         PONTIAC         MI   48340‐2741
MR TONEY L SAYLOR         11845 HALLER ST                                                                                             LIVONIA         MI   48150‐2375
MR TONG CHENG             163 W SHEFFIELD AVE                                                                                         PONTIAC         MI   48340‐1851
MR TONG P LEE             116 W BEVERLY AVE                                                                                           PONTIAC         MI   48340‐2620
MR TONY A RHINEBARGER     1323 N MORRISON ST                                                                                          KOKOMO          IN   46901‐2759
MR TONY BELCHER           238 N DEERFIELD AVE                                                                                         LANSING         MI   48917‐2907
MR TONY G VAN PELT        404 M ST                                                                                                    BEDFORD         IN   47421‐1819
MR TONY J D'ARIENZO       124 ALLEN ST                                                                                                MASSENA         NY   13662‐1846
MR TONY J ROLAND          2610 MELISSA CT                                                                                             FREDERICKSBRG   VA   22408‐8069
MR TONY L SMITH           1605 N BELL ST                                                                                              KOKOMO          IN   46901‐2304
MR TONY PERRY             1432 1/2 W 9TH ST                                                                                           MUNCIE          IN   47302‐2167
MR TONY PYLES             1009 W POWERS ST                                                                                            MUNCIE          IN   47305‐2140
MR TONY S CLEVENGER       1929 W 11TH ST                                                                                              MUNCIE          IN   47302‐2154
MR TORIANO A HOWARD       5611 CHEVROLET BLVD APT C409                                                                                PARMA           OH   44130‐1481
MR TORIBIO CASTRO         33 WOODLAND ROAD                                                                                            ROSLYN          NY   11576
MR TOU W VANG             790 ORLANDO AVE                                                                                             PONTIAC         MI   48340‐2353
MR TRACY A SIMPKINS       2051 E MCLEAN AVE                                                                                           BURTON          MI   48529‐1737
MR TRACY E TRIPLETT       1501 VANDERBILT DR                                                                                          FLINT           MI   48503‐5246
MR TRANQUILINO CHAIRES    3236 HUBBARD ST                                                                                             DETROIT         MI   48210‐3238
MR TRANSPORTATIN INC      8171 YONGE STREET SUITE # 323                                                     THORNHILL CANADA ON
                                                                                                            L3T 2C6 CANADA
MR TRAVIS A MILLER        5900 BRIDGE RD APT 309                                                                                      YPSILANTI       MI   48197‐7009
MR TRAVIS A MURPHY        1316 KELLOGG AVE                                                                                            JANESVILLE      WI   53546‐6022
MR TRAVIS E HOWE          405 L ST                                                                                                    BEDFORD         IN   47421‐1811
MR TRAVIS G CARPENTER     2085 WILMAR ST                                                                                              BURTON          MI   48509‐1121
MR TRAVIS L DOUILLET      79 GROVE ST                                                                                                 MASSENA         NY   13662‐2127
MR TRAVIS L ROSS          2304 SCOTTEN ST                                                                                             DETROIT         MI   48209‐1359
MR TRAVIS M STANLEY       17 KAREN CT                                                                                                 PONTIAC         MI   48340‐1634
MR TRAVIS M WILLIAMSON    172 MAIN ST                                                                                                 MASSENA         NY   13662‐1905
MR TRAVIS W COLBY         2186 E MCLEAN AVE                                                                                           BURTON          MI   48529‐1742
MR TRENT BOUGH            1602 2ND ST                                                                                                 BEDFORD         IN   47421‐1606
MR TREVOR A DAVIS         433 FOX HILLS DR S APT 7                                                                                    BLOOMFIELD      MI   48304‐1350
MR TREVOR B TINKER        1385 PROPER AVE                                                                                             BURTON          MI   48529‐2043
MR TREVOR D MARTIN        248 W FAIRMOUNT AVE                                                                                         PONTIAC         MI   48340‐2740
MR TREVOR J BRUEGGER      1905 S WALNUT ST                                                                                            JANESVILLE      WI   53546‐6051
MR TREVOR M GORANG        1121 BOYNTON DR                                                                                             LANSING         MI   48917‐5706
MR TRINIDAD MARTINEZ      72 PUTNAM AVE                                                                                               PONTIAC         MI   48342‐1262
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Name                       Address1                          Address2            Address3         Address4         City            State Zip
MR TROY A AXSOM            256 SUGAR HILL ADDITION                                                                 BEDFORD          IN 47421‐8139
MR TROY A CLARK            1712 N BELL ST                                                                          KOKOMO           IN 46901‐2332
MR TROY A OUSLEY           1710 N WEBSTER ST                                                                       KOKOMO           IN 46901‐2104
MR TROY A STODGELL         1203 N INDIANA AVE                                                                      KOKOMO           IN 46901‐2717
MR TROY A WHITAKER         1608 W 9TH ST                                                                           MUNCIE           IN 47302‐2199
MR TROY BUTLER             309 S GHARKEY ST 2                                                                      MUNCIE           IN 47305‐2239
MR TROY D JOHNS            1051 COLLINS AVE                                                                        MOUNT MORRIS     MI 48458‐2120
MR TROY E MCPHAIL          670 ELM ST                                                                              MOUNT MORRIS     MI 48458‐1918
MR TROY HOWE               115 WALNUT HEIGHTS RD                                                                   BEDFORD          IN 47421‐8168
MR TROY KELLY              1712 S PIERCE ST                                                                        MUNCIE           IN 47302‐2216
MR TROY L ABBOTT           2201 E JUDD RD                                                                          BURTON           MI 48529‐2406
MR TROY L BROOKS           1208 NEWPORT GAP PIKE                                                                   WILMINGTON       DE 19804‐2844
MR TROY L HOWELL           2324 N MAIN ST                                                                          KOKOMO           IN 46901‐5877
MR TROY L KIRKMAN          1102 Q ST                                                                               BEDFORD          IN 47421‐2824
MR TROY L KIRKMAN          PO BOX 1415                                                                             BEDFORD          IN 47421‐1415
MR TROY S BEARD            38 E LONGFELLOW AVE                                                                     PONTIAC          MI 48340‐2742
MR TROY V WOOD             305 N ROSEMARY ST                                                                       LANSING          MI 48917‐2975
MR TROY W BLACKWELL        46 CORY LN                                                                              BEDFORD          IN 47421‐9231
MR TROY W SALLEE           1312 M ST                                                                               BEDFORD          IN 47421‐3235
MR TUAN DANG               11688 HALLER ST                                                                         LIVONIA          MI 48150‐2334
MR TUAN DANG               11686 HALLER ST                                                                         LIVONIA          MI 48150‐2334
MR TY MULLEN               2013 N BELL ST                                                                          KOKOMO           IN 46901‐2308
MR TYE T CHRISTY           2404 FERGUSON RD                                                                        ONTARIO          OH 44906‐4000
MR TYLER BIGELOW           8 FLORENCE DR                                                                           CLARK            NJ 07066‐1211
MR TYLER BUCK              707 W WILLARD ST                                                                        MUNCIE           IN 47302‐2229
MR TYLER L SANDFORD        105 MEGHANS CT                                                                          WILMINGTON       DE 19804‐2045
MR TYLER W DEARDUFF        419 W 6TH ST                                                                            MUNCIE           IN 47302‐3101
MR TYLER W LADUE           2615 GLENDAS WAY                                                                        FREDERICKSBRG    VA 22408‐8078
MR TYNELL A GAITHER        729 NEWMAN LN                                                                           PONTIAC          MI 48340‐3305
MR TYRONE A DAVIS          1041 E KURTZ AVE                                                                        FLINT            MI 48505‐1511
MR TYRONE DAVIS            4018 TOLEDO ST                                                                          DETROIT          MI 48209‐1361
MR TYRONE FLAGG            550 LANCASTER LN                                                                        PONTIAC          MI 48342‐1848
MR TYRONE HENNIE           822 PALMER DR                                                                           PONTIAC          MI 48342‐1858
MR TYRONE HUMPHRIES        1718 N LAFOUNTAIN ST                                                                    KOKOMO           IN 46901‐2360
MR TYRONE L GAMBLE         529 N DEERFIELD AVE                                                                     LANSING          MI 48917‐2912
MR TYRONE PARKER           1134 BALDWIN AVE                                                                        PONTIAC          MI 48340‐2706
MR UBALDO R RODRIGUEZ      913 KETTERING AVE                                                                       PONTIAC          MI 48340‐3256
MR ULYSSES LOFTON          1451 E 135TH ST                                                                         CLEVELAND        OH 44112‐2460
MR UMEKO S ARNHOLT         5558 ABRAHAM AVE                                                                        CLEVELAND        OH 44130‐1319
MR UN KNOWN                2258 E BUDER AVE                                                                        BURTON           MI 48529‐1776
MR UNBRYANT A SNELL        1288 E CORNELL AVE                                                                      FLINT            MI 48505‐1751
MR UNSEL L BROWN           5900 BRIDGE RD APT 210                                                                  YPSILANTI        MI 48197‐7009
MR URIAH R RATLIFF         807 W WILLARD ST                                                                        MUNCIE           IN 47302‐2231
MR VAL F JAJOU             411 N DEERFIELD AVE                                                                     LANSING          MI 48917‐2987
MR VAL JAJOU               3201 W SAGINAW ST                                                                       LANSING          MI 48917‐5300
MR VAL JAJOU               429 N DEERFIELD AVE                                                                     LANSING          MI 48917‐2987
MR VAL SCHILKE             93 W SHEFFIELD AVE                                                                      PONTIAC          MI 48340‐1849
MR VALENTINE S RODRIGUEZ   7420 ALEXANDER ST                                                                       MOUNT MORRIS     MI 48458‐2927
MR VAN A BRIDWELL II       932 SUGAR HILL ADDITION                                                                 BEDFORD          IN 47421‐8146
MR VAN C ROBERTS           710 SPELLMAN DR                                                                         FLINT            MI 48503‐5228
MR VANCE E WILMOTH SR      859 BAY ST                                                                              PONTIAC          MI 48342‐1903
MR VANDER ALMEIDA          2 BRACKETT RD APT B                                                                     FRAMINGHAM       MA 01702‐8706
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Name                          Address1                       Address2            Address3         Address4         City         State Zip
MR VAROUJAN C ALMASIAN        31 GLENN ST STE 2                                                                    MASSENA       NY 13662‐2002
MR VASA GROZA                 5461 ALEXANDER RD                                                                    CLEVELAND     OH 44130‐1321
MR VASHAN R COATS             2112 E WILLIAMSON ST                                                                 BURTON        MI 48529‐2444
MR VASILE M BAZAN             5530 ABRAHAM AVE                                                                     CLEVELAND     OH 44130‐1318
MR VASILIOS M PIPERIS         11060 SHARON DR                                                                      CLEVELAND     OH 44130‐1431
MR VAUGHN HATFIELD            1714 N ST                                                                            BEDFORD       IN 47421‐4114
MR VAUGHN J LINDSTROM         150 W ANN ARBOR AVE                                                                  PONTIAC       MI 48340‐1800
MR VAUGHN MOURADIAN           1345 OAK HOLLOW DR                                                                   MILFORD       MI 48380‐4262
MR VAUGHN W SHANAHAN          3965 MIDLAND RD E                                                                    WATERFORD     MI 48329‐2035
MR VENITO MEJIA               2105 E SCHUMACHER ST                                                                 BURTON        MI 48529‐2437
MR VENKATESWARLU JASTI        615 FOX HILLS DR N                                                                   BLOOMFIELD    MI 48304‐1313
MR VENKATRAMANAN SRINIVASAN   530 FOX HILLS DR S                                                                   BLOOMFIELD    MI 48304‐1316
MR VERGIL STORY               370 W HOPKINS AVE APT 301                                                            PONTIAC       MI 48340‐1761
MR VERL R TAYLOR              203 LINCOLN AVE                                                                      BEDFORD       IN 47421‐1614
MR VERLIN F STOGDILL          1398 GRAM ST                                                                         BURTON        MI 48529‐2040
MR VERLIN P COLTER            703 KIRK ST                                                                          KOKOMO        IN 46901‐2119
MR VERNON A COOP SR           3461 BARNES AVE                                                                      FLINT         MI 48529‐1317
MR VERNON BAKKUM              30 ELM ST                                                                            MASSENA       NY 13662‐1826
MR VERNON D HARMON            925 W WILLARD ST                                                                     MUNCIE        IN 47302‐2281
MR VERNON D LUTTON            631 W 7TH ST                                                                         MUNCIE        IN 47302‐3108
MR VERNON H ANDERSON          1112 W BURBANK AVE APT 307                                                           JANESVILLE    WI 53546‐6146
MR VERNON L SAWYER JR         18 1/2 N MAIN ST                                                                     MASSENA       NY 13662‐1130
MR VERNON P TERRY             65 UNIVERSITY PLACE DR                                                               PONTIAC       MI 48342‐1887
MR VERNON R GOULD             822 J ST                                                                             BEDFORD       IN 47421‐2629
MR VERON SHEDRICK WARD        21 LEANEE LN                                                                         PONTIAC       MI 48340‐1651
MR VESTER L ARMES             772 BLAINE AVE                                                                       PONTIAC       MI 48340‐2402
MR VICENTE GUZMAN             4770 PLUMER ST                                                                       DETROIT       MI 48209‐1390
MR VICENTE P SANCHEZ          4777 PLUMER ST                                                                       DETROIT       MI 48209‐1356
MR VICTOR A CAPALDI JR        484 FOX HILLS DR N APT 7                                                             BLOOMFIELD    MI 48304‐1336
MR VICTOR A DUNCAN            1432 PROPER AVE                                                                      BURTON        MI 48529‐2044
MR VICTOR A DUNCAN            2192 E BERGIN AVE                                                                    BURTON        MI 48529‐1782
MR VICTOR A VEPRAUSKAS        1472 PROPER AVE                                                                      BURTON        MI 48529‐2046
MR VICTOR CHAVEZ              3346 GOLDNER ST                                                                      DETROIT       MI 48210‐3200
MR VICTOR D AKEY              17 PARKER AVE                                                                        MASSENA       NY 13662‐4265
MR VICTOR D LAVALLIS          1008 KETTERING AVE                                                                   PONTIAC       MI 48340‐3259
MR VICTOR E POZZIE            88 EDGEWOOD DR                                                                       GRAFTON       OH 44044‐1506
MR VICTOR G FREGOE SR         39 PARKER AVE                                                                        MASSENA       NY 13662‐2213
MR VICTOR GAMEZ               22 BROOKWOOD LN                                                                      PONTIAC       MI 48340‐1402
MR VICTOR H CORONA            4765 BRANDON ST                                                                      DETROIT       MI 48209‐1392
MR VICTOR I COLTHORP          233 N CATHERINE ST                                                                   LANSING       MI 48917‐4903
MR VICTOR J LABUTTA SR        11021 SHARON DR                                                                      CLEVELAND     OH 44130‐1432
MR VICTOR MALDONADO           751 WEYBRIDGE DR                                                                     BLOOMFIELD    MI 48304‐1086
MR VICTOR S ISON              957 CAMERON AVE                                                                      PONTIAC       MI 48340‐3215
MR VICTOR WARD                1130 N WASHINGTON ST                                                                 KOKOMO        IN 46901‐2804
MR VICTORIANO ZAMORA          4731 PLUMER ST                                                                       DETROIT       MI 48209‐1356
MR VICTORY L HOGAN            519 E NORTH ST                                                                       KOKOMO        IN 46901‐3056
MR VIJAY K SAINI              170 E SQUARE LAKE RD                                                                 BLOOMFIELD    MI 48304‐1649
MR VINCE J KONOPKA            10860 AARON DR                                                                       PARMA         OH 44130‐1313
MR VINCE SINISHTAJ            119 SUMMIT ST                                                                        PONTIAC       MI 48342‐1167
MR VINCENT A DELSANTER        11500 DEBORAH DR                                                                     PARMA         OH 44130‐1330
MR VINCENT D CALLES           2173 HUBBARD ST                                                                      DETROIT       MI 48209‐3329
MR VINCENT D GRAVALLESE       2 THAYER ST                                                                          FRAMINGHAM    MA 01702‐8718
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Name                         Address1                        Address2            Address3         Address4         City            State Zip
MR VINCENT E BOYEA           14 NIGHTENGALE AVE                                                                    MASSENA          NY 13662‐1716
MR VINCENT E EGGLES          455 N JACKSON ST                                                                      BEDFORD          IN 47421‐1527
MR VINCENT J GEORGE          48 HIGHLAND AVE                                                                       MASSENA          NY 13662‐1725
MR VINCENT K LAURENT         11269 GABRIELLA DR                                                                    PARMA            OH 44130‐1334
MR VINCENT L BATES JR        1121 E KURTZ AVE                                                                      FLINT            MI 48505‐1527
MR VINCENT LANDFERT          1701 W 7TH ST                                                                         MUNCIE           IN 47302‐2112
MR VINCENT M LEWIS           806 FISK DR                                                                           FLINT            MI 48503‐5249
MR VINCENT M MIRELES         1270 BROADWAY BLVD                                                                    FLINT            MI 48506‐3230
MR VINCENT MIRELAS           1270 BROADWAY BLVD                                                                    FLINT            MI 48506‐3230
MR VINCENT S JACKSON         1347 GRAM ST                                                                          BURTON           MI 48529‐2021
MR VINCENT W LILEY           10 LEANEE LN                                                                          PONTIAC          MI 48340‐1650
MR VINCENT W WALDROOP        555 EMERSON AVE                                                                       PONTIAC          MI 48342‐1825
MR VINCET T LIGUORI JR       6 FLORENCE DR                                                                         CLARK            NJ 07066‐1211
MR VINIRA Z FARBOTNIK        73 MAIN ST                                                                            MASSENA          NY 13662‐1913
MR VIPULCHANDRA C PADHIYAR   200 N CATHERINE ST                                                                    LANSING          MI 48917‐4902
MR VIRAN D MARSHALL          1701 BRISTOL COURT DR                                                                 MOUNT MORRIS     MI 48458‐2185
MR VIRGEL L GOANS            986 KETTERING AVE                                                                     PONTIAC          MI 48340‐3257
MR VIRGIL MONTGOMERY         1526 N BELL ST                                                                        KOKOMO           IN 46901‐2334
MR VITO J GRUTTA             734 E FOX HILLS DR                                                                    BLOOMFIELD       MI 48304‐1361
MR VIVALDO G DASILVA         4251 GRONDINWOOD LN                                                                   MILFORD          MI 48380‐4226
MR VLADIMIR I LUTSIK         11370 AARON DR                                                                        CLEVELAND        OH 44130‐1263
MR VOISLAV V PAVLOVIC        11520 AARON DR                                                                        CLEVELAND        OH 44130‐1267
MR VUE XIONG                 834 STIRLING ST                                                                       PONTIAC          MI 48340‐3165
MR W C ROSS                  1925 CHIPPEWA ST                                                                      FLINT            MI 48505‐4705
MR WADE E HALEY              1485 E SCHUMACHER ST                                                                  BURTON           MI 48529‐1621
MR WADE G BURTON             1817 I ST                                                                             BEDFORD          IN 47421‐4223
MR WADE M HALL               2452 W 4TH ST                                                                         ONTARIO          OH 44906‐1207
MR WAI T CHEUNG              483 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐1622
MR WALLA E WINDHAM           2476 FERGUSON RD                                                                      ONTARIO          OH 44906‐1107
MR WALLACE B WRIGHT          672 YEAGER DR                                                                         ONTARIO          OH 44906‐4004
MR WALLACE F JOHNSON         38084 CLYDESDALE DR                                                                   ROMULUS          MI 48174‐6400
MR WALLACE H GIESE           1510 ROOSEVELT AVE                                                                    JANESVILLE       WI 53546‐6038
MR WALLACE J PLUTA II        2035 KENNETH ST                                                                       BURTON           MI 48529‐1350
MR WALLACE K MASHER          1614 14TH ST                                                                          BEDFORD          IN 47421‐3633
MR WALLACE P GROSINSKY JR    241 W ANN ARBOR AVE                                                                   PONTIAC          MI 48340‐1805
MR WALLACE RADGE             155 PINGREE AVE                                                                       PONTIAC          MI 48342‐1174
MR WALLACE STOVALL           140 SUMMIT ST APT 1                                                                   PONTIAC          MI 48342‐1172
MR WALTER A LASKOWSKI SR     2125 S PALM ST                                                                        JANESVILLE       WI 53546‐6116
MR WALTER ALLEMEERSCH        592 SEDGEFIELD DR                                                                     BLOOMFIELD       MI 48304‐1057
MR WALTER C AIKENS           11768 HALLER ST                                                                       LIVONIA          MI 48150‐2372
MR WALTER D PENN             3374 25TH ST                                                                          DETROIT          MI 48208‐2462
MR WALTER E CARRIGAN         1425 OAK HOLLOW DR                                                                    MILFORD          MI 48380‐4264
MR WALTER E COFFMAN          1304 19TH ST                                                                          BEDFORD          IN 47421‐4014
MR WALTER E SCHELL           49 WALNUT HEIGHTS RD                                                                  BEDFORD          IN 47421‐9122
MR WALTER E SMITH            1614 13TH ST                                                                          BEDFORD          IN 47421‐3114
MR WALTER J BEASON           1807 N WABASH AVE                                                                     KOKOMO           IN 46901‐2004
MR WALTER J DEMKOWSKI        10901 STACY RUN                                                                       FREDERICKSBRG    VA 22408‐8046
MR WALTER J HOUSTON          705 WILBERFORCE LN                                                                    FLINT            MI 48503‐5240
MR WALTER J KAMINSKAS        1924 S WALNUT ST                                                                      JANESVILLE       WI 53546‐6067
MR WALTER J PARIS            3184 LOCKWOOD ST                                                                      DETROIT          MI 48210‐3211
MR WALTER JONES              1609 BRISTOL COURT DR                                                                 MOUNT MORRIS     MI 48458‐2184
MR WALTER K WOERNER          672 E FOX HILLS DR                                                                    BLOOMFIELD       MI 48304‐1359
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MR WALTER KLOCEK         4841 SAINT HEDWIG ST                                                                 DETROIT          MI 48210‐3222
MR WALTER L JOHNSON II   203 W ELM ST                                                                         KOKOMO           IN 46901‐2835
MR WALTER L LITTLE       790 W GRAND BLVD                                                                     DETROIT          MI 48216‐1003
MR WALTER L NATION       1412 18TH ST                                                                         BEDFORD          IN 47421‐4108
MR WALTER L RAYFORD      617 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MR WALTER L WILLETT JR   2050 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1724
MR WALTER LYNN           911 I ST                                                                             BEDFORD          IN 47421‐2623
MR WALTER M FRONTIERA    745 CORTWRIGHT ST                                                                    PONTIAC          MI 48340‐2305
MR WALTER P SCHMIDT      1405 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1631
MR WALTER P WOODS        530 CESAR E CHAVEZ AVE                                                               PONTIAC          MI 48342‐1053
MR WALTER R DAVENPORT    2079 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1763
MR WALTER R HUNDT        2325 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6152
MR WALTER S FITZGERALD   5461 CHEVROLET BLVD APT A303                                                         PARMA            OH 44130‐1455
MR WALTER S FRAZIER JR   1301 LOCKE ST                                                                        PONTIAC          MI 48342‐1950
MR WALTER S LLOYD        10800 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1247
MR WALTER S MEDDING      204 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2004
MR WALTER T HABEK        309 BON AIR RD                                                                       LANSING          MI 48917‐2904
MR WALTER W BIRGE JR     1420 BRADY AVE                                                                       BURTON           MI 48529‐2010
MR WALTER W WALLS        209 GREENWOOD RD                                                                     WILMINGTON       DE 19804‐2652
MR WARE                  1251 AVENUE OF THE AMERICAS                                                          NEW YORK         NY 10020
MR WARREN A GEBHART      611 BEER RD                                                                          ONTARIO          OH 44906‐1215
MR WARREN DIXON          76 W STRATHMORE AVE                                                                  PONTIAC          MI 48340‐2772
MR WARREN E DAVENPORT    9 LAUREL AVE APT 1006                                                                MASSENA          NY 13662‐2159
MR WARREN E SCOTT        10822 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8043
MR WARREN H TRACEY       11019 WASHINGTON AVE                                                                 MOUNT MORRIS     MI 48458‐1956
MR WARREN L MCCREERY     603 17TH ST                                                                          BEDFORD          IN 47421‐4311
MR WARREN P NUNLEE JR    38 E COLUMBIA AVE                                                                    PONTIAC          MI 48340‐2710
MR WARREN S GESAMAN      761 CAMERON AVE                                                                      PONTIAC          MI 48340‐3207
MR WARREN T RAMEY        425 H ST                                                                             BEDFORD          IN 47421‐2211
MR WARREN WITHERS        794 STANLEY AVE                                                                      PONTIAC          MI 48340‐2556
MR WAYNE A GREEN         217 W KENNETT RD                                                                     PONTIAC          MI 48340‐2653
MR WAYNE A HAASE         1025 SUGAR HILL ADDITION                                                             BEDFORD          IN 47421‐8147
MR WAYNE A HOLMES        1316 Q ST                                                                            BEDFORD          IN 47421‐3133
MR WAYNE A KERN          1822 N ST                                                                            BEDFORD          IN 47421‐4143
MR WAYNE A MONTNEY       2212 E MCLEAN AVE                                                                    BURTON           MI 48529‐1742
MR WAYNE A RICHARDS      1902 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6166
MR WAYNE A WIGDAL        4409 SANDHILL DR                                                                     JANESVILLE       WI 53546‐4421
MR WAYNE B WIDRICK       49 BRIDGES AVE                                                                       MASSENA          NY 13662‐1855
MR WAYNE BERNAL          165 S OPDYKE RD LOT 95                                                               AUBURN HILLS     MI 48326‐3160
MR WAYNE C MICHAUD       84 PROSPECT AVE                                                                      MASSENA          NY 13662‐1742
MR WAYNE D LEWIS         1521 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6141
MR WAYNE E BLACKWELL     48 CORY LN                                                                           BEDFORD          IN 47421‐9231
MR WAYNE E BROWN         233 N ROSEMARY ST                                                                    LANSING          MI 48917‐4914
MR WAYNE E LYNCH         9 LAUREL AVE APT 107                                                                 MASSENA          NY 13662‐2054
MR WAYNE F BUSHEY        1370 READY AVE                                                                       BURTON           MI 48529‐2052
MR WAYNE H TAGG          548 WALKER ST                                                                        MOUNT MORRIS     MI 48458‐1945
MR WAYNE J ESTES         1413 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1623
MR WAYNE JONES           3134 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8047
MR WAYNE K ADDISON       2205 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐1405
MR WAYNE L BARNES JR     1171 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
MR WAYNE L FRANKLIN      1814 N WABASH AVE                                                                    KOKOMO           IN 46901‐2005
MR WAYNE LOCEY           1614 W 8TH ST                                                                        MUNCIE           IN 47302‐2193
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Name                         Address1                          Address2            Address3         Address4              City            State Zip
MR WAYNE M MORRELL           627 SEDGEFIELD DR                                                                            BLOOMFIELD       MI 48304‐1060
MR WAYNE M SNODGRASS         620 W 7TH ST                                                                                 MUNCIE           IN 47302‐3107
MR WAYNE P LOVE              70 GROVE ST                                                                                  MASSENA          NY 13662‐2126
MR WAYNE R CARLSON           722 MORRIS AVE                                                                               LANSING          MI 48917‐2323
MR WAYNE R DURANT            30 WALNUT AVE                                                                                MASSENA          NY 13662‐2021
MR WAYNE ROSE                3810 PITKIN AVE                                                                              FLINT            MI 48506‐4235
MR WAYNE T WOODS             1420 ROOSEVELT AVE                                                                           JANESVILLE       WI 53546‐6036
MR WAYNE W MAEDER            351 ELM ST                                                                                   MOUNT MORRIS     MI 48458‐1911
MR WELDON E PETERSON         19 ALVERN AVE                                                                                MASSENA          NY 13662‐2147
MR WELDON MILLER             1714 N MARKET ST APT 3                                                                       KOKOMO           IN 46901‐2368
MR WELLINGTON E DAVIS        1417 PROPER AVE                                                                              BURTON           MI 48529‐2043
MR WEN T CHUANG              572 ROLLING ROCK RD                                                                          BLOOMFIELD       MI 48304‐1053
MR WENDELL L STEITZER        95 W CORNELL AVE                                                                             PONTIAC          MI 48340‐2719
MR WENDELL M HILL            516 MOUNT PLEASANT RD                                                                        BEDFORD          IN 47421‐9663
MR WENDELL O ONLEY           106 E KEYSTONE AVE                                                                           WILMINGTON       DE 19804‐2026
MR WENDELL W CRUSENBERRY     11004 STACY RUN                                                                              FREDERICKSBRG    VA 22408‐8074
MR WESLEY G FAUST            312 N GRACE ST                                                                               LANSING          MI 48917‐2948
MR WESLEY K RUSSELL JR       801 W 11TH ST                                                                                MUNCIE           IN 47302‐3170
MR WESLEY M STEPHENSON JR    1408 M ST                                                                                    BEDFORD          IN 47421‐3237
MR WESLEY R JONES            1609 16TH ST                                                                                 BEDFORD          IN 47421‐3611
MR WESLEY T OGDEN            751 BLAINE AVE                                                                               PONTIAC          MI 48340‐2401
MR WEST ALDRIDGE             3012 25TH ST                                                                                 DETROIT          MI 48216‐1002
MR WESTON ELLIS              705 W 11TH ST                                                                                MUNCIE           IN 47302‐3132
MR WEYMOUTH K BECKSTEAD      9 PROSPECT AVE                                                                               MASSENA          NY 13662‐1749
MR WILBERN E TERRELL         1008 M ST                                                                                    BEDFORD          IN 47421‐2927
MR WILBERN E TERRELL         1004 M ST                                                                                    BEDFORD          IN 47421‐2927
MR WILBERT D CROSLEY         84 W HOPKINS AVE                                                                             PONTIAC          MI 48340‐1818
MR WILBERT J THOMAS          570 HARRIET ST                                                                               FLINT            MI 48505‐4753
MR WILBUR CHIEN              4TH FL NO 4 LANE 20               PAO AN ST           HSINTIEN         231 TAIPEI TAIWAN
MR WILBUR G SECONDER JR      836 KETTERING AVE                                                                            PONTIAC         MI   48340‐3253
MR WILBUR J DAVIS            18 NIGHTENGALE AVE                                                                           MASSENA         NY   13662‐1716
MR WILBURN E RUSSELL         130 W TENNYSON AVE                                                                           PONTIAC         MI   48340‐2672
MR WILBURN L RAYLE           288 SUGAR HILL ADDITION                                                                      BEDFORD         IN   47421‐8139
MR WILFRED R TULL            1501 N INDIANA AVE                                                                           KOKOMO          IN   46901‐2045
MR WILFREDO T DELAPAZ        5639 NATHAN DR                                                                               CLEVELAND       OH   44130‐1561
MR WILIAM MACINTOSH          511 HARDING AVE                                                                              W HEMPSTEAD     NY   11552
MR WILLARD A QUILLEN         3420 CLEARVIEW AVE                                                                           MORAINE         OH   45439‐1112
MR WILLARD D OUSNAMER        1059 CHERRYLAWN DR                                                                           PONTIAC         MI   48340‐1701
MR WILLARD W MORRIS JR       892 CAMERON AVE                                                                              PONTIAC         MI   48340‐3210
MR WILLIAM A ALDRIDGE        704 CAMERON AVE                                                                              PONTIAC         MI   48340‐3204
MR WILLIAM A ATCHLEY         2123 E SCHUMACHER ST                                                                         BURTON          MI   48529‐2437
MR WILLIAM A BABCOCK         7 HIGHLAND AVE                                                                               MASSENA         NY   13662‐1823
MR WILLIAM A COLE JR         3116 COURT ST APT 15                                                                         SYRACUSE        NY   13206‐1059
MR WILLIAM A CORRELL         1615 N ST                                                                                    BEDFORD         IN   47421‐3717
MR WILLIAM A FIELDS          1316 L ST                                                                                    BEDFORD         IN   47421‐3211
MR WILLIAM A FIKE            2243 E WILLIAMSON ST                                                                         BURTON          MI   48529‐2447
MR WILLIAM A FLYNN           1417 10TH ST                                                                                 BEDFORD         IN   47421‐2531
MR WILLIAM A GEIGER          2093 DELANEY ST                                                                              BURTON          MI   48509‐1022
MR WILLIAM A GRATZER         301 LINCOLN AVE                                                                              BEDFORD         IN   47421‐1608
MR WILLIAM A HIRST           1513 W BURBANK AVE                                                                           JANESVILLE      WI   53546‐6112
MR WILLIAM A KILPATRICK 3D   701 WOODTOP RD                                                                               WILMINGTON      DE   19804‐2627
MR WILLIAM A KING            831 PENSACOLA AVE                                                                            PONTIAC         MI   48340‐2362
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Name                      Address1                      Address2            Address3         Address4         City           State Zip
MR WILLIAM A MARTIN       1139 STANLEY AVE                                                                    PONTIAC         MI 48340‐1780
MR WILLIAM A ROBBINS      822 DURANT ST                                                                       LANSING         MI 48915‐1329
MR WILLIAM A ROEHL        1814 W BURBANK AVE                                                                  JANESVILLE      WI 53546‐5958
MR WILLIAM A THOMAS SR    4040 GRONDINWOOD LN                                                                 MILFORD         MI 48380‐4221
MR WILLIAM A WENDT        4509 SANDHILL DR                                                                    JANESVILLE      WI 53546‐4419
MR WILLIAM ATKINSON       1118 NORWOOD RD                                                                     LANSING         MI 48917‐2362
MR WILLIAM B PARSONS      919 KENNY STREET                                                                    GALLATIN        TN 37066
MR WILLIAM B ROSE JR      529 EMERSON AVE                                                                     PONTIAC         MI 48342‐1822
MR WILLIAM B THOMAS       325 W YALE AVE                                                                      PONTIAC         MI 48340‐1754
MR WILLIAM BELL           777 WALNUT AVE                                                                      CRANFORD        NJ 07016‐3374
MR WILLIAM BOGAN          32 STEGMAN LN                                                                       PONTIAC         MI 48340‐1662
MR WILLIAM BUTLER         2119 SAVOY AVE                                                                      BURTON          MI 48529‐2173
MR WILLIAM C ADAMS SR     2271 E MCLEAN AVE                                                                   BURTON          MI 48529‐1778
MR WILLIAM C ALLEN        322 M ST                                                                            BEDFORD         IN 47421‐1817
MR WILLIAM C BRITTON      1217 W POWERS ST                                                                    MUNCIE          IN 47305‐2144
MR WILLIAM C COUCH        1449 BRADY AVE                                                                      BURTON          MI 48529‐2011
MR WILLIAM C DANIELS      637 BEACH ST                                                                        MOUNT MORRIS    MI 48458‐1907
MR WILLIAM C DANIELS II   633 BEACH ST                                                                        MOUNT MORRIS    MI 48458‐1907
MR WILLIAM C EDWARDS      66 PARKER AVE                                                                       MASSENA         NY 13662‐2214
MR WILLIAM C HARRINGTON   9709 TEXTILE RD                                                                     YPSILANTI       MI 48197‐7039
MR WILLIAM C HAYES        327 PENFIELD AVE                                                                    ELYRIA          OH 44035‐3236
MR WILLIAM C LEDGER       2271 E WILLIAMSON ST                                                                BURTON          MI 48529‐2448
MR WILLIAM C LYNCH        41 RANSOM AVE                                                                       MASSENA         NY 13662‐1738
MR WILLIAM C MAGUIRE      CGM IRA ROLLOVER CUSTODIAN    44 LA CANADA                                          CLAYTON         CA 94517
MR WILLIAM C POORE        1204 BRISTOL COURT DR                                                               MOUNT MORRIS    MI 48458‐2180
MR WILLIAM C ROBINSON     1138 NUTANA BLVD                                                                    MOUNT MORRIS    MI 48458‐2134
MR WILLIAM C RUNYON       415 W 8TH ST                                                                        MUNCIE          IN 47302‐3110
MR WILLIAM C SILVERS      120 LINCOLN AVE                                                                     BEDFORD         IN 47421‐1613
MR WILLIAM C WALLACE      473 FOX RIVER DR                                                                    BLOOMFIELD      MI 48304‐1009
MR WILLIAM C WAYNE        1317 KING ST                                                                        JANESVILLE      WI 53546‐6073
MR WILLIAM CEPEDA         508 W LORDEMAN ST                                                                   KOKOMO          IN 46901‐2118
MR WILLIAM D ANDERSON     2146 N CENTER RD                                                                    BURTON          MI 48509‐1070
MR WILLIAM D BARCLAY      1249 N LAFOUNTAIN ST                                                                KOKOMO          IN 46901‐2921
MR WILLIAM D ENGLISH      264 W STRATHMORE AVE                                                                PONTIAC         MI 48340‐2778
MR WILLIAM D EVANS        61 LINCOLN AVE                                                                      BEDFORD         IN 47421‐1610
MR WILLIAM D FURDEN       2063 E PARKWOOD AVE                                                                 BURTON          MI 48529‐1763
MR WILLIAM D HALL         2146 SAVOY AVE                                                                      BURTON          MI 48529‐2174
MR WILLIAM D HARBIN       708 LOUNSBURY AVE                                                                   PONTIAC         MI 48340‐2452
MR WILLIAM D HARBIN       243 W KENNETT RD                                                                    PONTIAC         MI 48340‐2655
MR WILLIAM D HARBIN       825 ROBINWOOD ST                                                                    PONTIAC         MI 48340‐3145
MR WILLIAM D LINEBERRY    18 E YALE AVE                                                                       PONTIAC         MI 48340‐1975
MR WILLIAM D MCKAY        644 ELM ST                                                                          MOUNT MORRIS    MI 48458‐1918
MR WILLIAM D MORRISON     8447 TOD AVE SW                                                                     WARREN          OH 44481‐9661
MR WILLIAM D STANLEY      9865 JOAN CIR                                                                       YPSILANTI       MI 48197‐8295
MR WILLIAM DENTON         609 E PATERSON ST                                                                   FLINT           MI 48505‐4781
MR WILLIAM E ADAMS JR     1001 W 14TH ST                                                                      MUNCIE          IN 47302‐3058
MR WILLIAM E BAKER        1305 K ST APT 320                                                                   BEDFORD         IN 47421‐3242
MR WILLIAM E BLEDSOE      1143 AMOS ST                                                                        PONTIAC         MI 48342‐1803
MR WILLIAM E CHALOUX      10700 RICHARD DR                                                                    CLEVELAND       OH 44130‐1307
MR WILLIAM E CLEVELAND    969 EMERSON AVE                                                                     PONTIAC         MI 48340‐3230
MR WILLIAM E CORBIN       722 E FOX HILLS DR                                                                  BLOOMFIELD      MI 48304‐1361
MR WILLIAM E CRAMER       1465 E OOLITIC RD                                                                   BEDFORD         IN 47421‐8625
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Name                       Address1                      Address2            Address3         Address4         City           State Zip
MR WILLIAM E CUNEAZ        2095 WILMAR ST                                                                      BURTON          MI 48509‐1121
MR WILLIAM E DECKARD       1632 N ST                                                                           BEDFORD         IN 47421‐3718
MR WILLIAM E EPPERSON      1709 W 13TH ST                                                                      MUNCIE          IN 47302‐2176
MR WILLIAM E GRAY JR       1095 COLLINS AVE                                                                    MOUNT MORRIS    MI 48458‐2102
MR WILLIAM E GRICE JR      7078 HARVARD AVE                                                                    MOUNT MORRIS    MI 48458‐2145
MR WILLIAM E HILL          2911 HARWICK DR APT 12                                                              LANSING         MI 48917‐2356
MR WILLIAM E KUNDTZ        11500 GABRIELLA DR                                                                  CLEVELAND       OH 44130‐1339
MR WILLIAM E LEE           233 W YALE AVE                                                                      PONTIAC         MI 48340‐1867
MR WILLIAM E MAYNARD       530 BRYNFORD AVE                                                                    LANSING         MI 48917‐2926
MR WILLIAM E PREISLER      11270 RICHARD DR                                                                    CLEVELAND       OH 44130‐1341
MR WILLIAM E REYNOLDS      1507 13TH ST                                                                        BEDFORD         IN 47421‐3111
MR WILLIAM E RIVERA II     4340 WOODROW AVE                                                                    BURTON          MI 48509‐1126
MR WILLIAM E SUFFIX        463 HELEN ST                                                                        MOUNT MORRIS    MI 48458‐1920
MR WILLIAM E WITHERSPOON   1249 E KURTZ AVE                                                                    FLINT           MI 48505‐1764
MR WILLIAM E YORK 3D       229 W YPSILANTI AVE                                                                 PONTIAC         MI 48340‐1878
MR WILLIAM F BELDING       3275 SHEFFIELD RD                                                                   DAYTON          OH 45449‐2752
MR WILLIAM F BLUME         11120 RIVEREDGE DR                                                                  CLEVELAND       OH 44130‐1255
MR WILLIAM F CONNERNEY     11 AARON ST                                                                         FRAMINGHAM      MA 01702‐8746
MR WILLIAM F COX           709 BOYD ST                                                                         PONTIAC         MI 48342‐1979
MR WILLIAM F ESSON         11160 FAIRLAWN DR                                                                   CLEVELAND       OH 44130‐1218
MR WILLIAM F GODWIN        161 W STRATHMORE AVE                                                                PONTIAC         MI 48340‐2775
MR WILLIAM F JUMPER        2131 N BUCKEYE ST                                                                   KOKOMO          IN 46901‐5812
MR WILLIAM F PAWLICK       2022 W SPINNINGWHEEL LN                                                             BLOOMFIELD      MI 48304‐1068
MR WILLIAM F SCHUBERT      239 W COLUMBIA AVE                                                                  PONTIAC         MI 48340‐1815
MR WILLIAM F SNIDER        15 DOUGLAS RD                                                                       MASSENA         NY 13662‐2042
MR WILLIAM F STRENGTH      12288 CAMDEN ST                                                                     LIVONIA         MI 48150‐2329
MR WILLIAM F TOTH          28 NIGHTENGALE AVE                                                                  MASSENA         NY 13662‐1715
MR WILLIAM F WILBER SR     513 W 11TH ST                                                                       MUNCIE          IN 47302‐3183
MR WILLIAM G BERO          40 PARKER AVE                                                                       MASSENA         NY 13662‐2215
MR WILLIAM G CALDERHEAD    709 HARWOOD RD                                                                      WILMINGTON      DE 19804‐2658
MR WILLIAM G GIROSKI       10679 RICHARD DR                                                                    CLEVELAND       OH 44130‐1306
MR WILLIAM G HADDEN JR     1196 LAPORT AVE                                                                     MOUNT MORRIS    MI 48458‐2523
MR WILLIAM G HAZELETT      180 W LONGFELLOW AVE                                                                PONTIAC         MI 48340‐1832
MR WILLIAM G HEALY         2200 E WHITTEMORE AVE                                                               BURTON          MI 48529‐1728
MR WILLIAM G MILLER II     2153 COVERT RD                                                                      BURTON          MI 48509‐1010
MR WILLIAM G SLEVA         1215 M ST                                                                           BEDFORD         IN 47421‐2942
MR WILLIAM G SOMMERFIELD   32 ELM ST                                                                           MASSENA         NY 13662‐1826
MR WILLIAM G TERRELL       917 W 11TH ST                                                                       MUNCIE          IN 47302‐3172
MR WILLIAM G TYGART        1240 N LAFOUNTAIN ST                                                                KOKOMO          IN 46901‐2922
MR WILLIAM G WHEELER       415 OAK ST                                                                          MOUNT MORRIS    MI 48458‐1930
MR WILLIAM G WHITE         320 W ELM ST                                                                        KOKOMO          IN 46901‐2834
MR WILLIAM GIAMBELLUCA     92 WATER ST                                                                         MASSENA         NY 13662‐3603
MR WILLIAM GWIN            431 N ST                                                                            BEDFORD         IN 47421‐2119
MR WILLIAM H BALL          2127 S CHATHAM ST                                                                   JANESVILLE      WI 53546‐6114
MR WILLIAM H BERO          9 LAUREL AVE APT 710                                                                MASSENA         NY 13662‐2058
MR WILLIAM H DAVIS         2919 TIMBER DR                                                                      LANSING         MI 48917‐2325
MR WILLIAM H DEROMEDI      1119 EASTFIELD RD                                                                   LANSING         MI 48917‐2347
MR WILLIAM H EDISON        256 BLOOMFIELD BLVD                                                                 BLOOMFIELD      MI 48302‐0510
MR WILLIAM H EDISON JR     1143 HERRINGTON LN                                                                  PONTIAC         MI 48342‐1837
MR WILLIAM H FLYNN         1219 N INDIANA AVE                                                                  KOKOMO          IN 46901‐2717
MR WILLIAM H GRUNO         1117 TERRY AVE                                                                      MOUNT MORRIS    MI 48458‐2540
MR WILLIAM H HAGEMANN      1312 ANTHONY AVE                                                                    JANESVILLE      WI 53546‐6069
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Name                      Address1                         Address2            Address3         Address4         City            State Zip
MR WILLIAM H HASSON JR    11092 NAOMI DR                                                                         PARMA            OH 44130‐1552
MR WILLIAM H HENSLEY      2005 N GENESEE DR                                                                      LANSING          MI 48915‐1230
MR WILLIAM H KENNEDY      15 NIGHTENGALE AVE                                                                     MASSENA          NY 13662‐1720
MR WILLIAM H LLOYD        1402 13TH ST                                                                           BEDFORD          IN 47421‐3227
MR WILLIAM H MAGLIN II    2723 MCKENZIE LN                                                                       FREDERICKSBRG    VA 22408‐8073
MR WILLIAM H MULLINS      2065 BRADY AVE                                                                         BURTON           MI 48529‐2424
MR WILLIAM H PERSINGER    505 ROCHELLE AVE                                                                       WILMINGTON       DE 19804‐2119
MR WILLIAM H SCHIELE      825 KETTERING AVE                                                                      PONTIAC          MI 48340‐3252
MR WILLIAM H SMITH JR     1226 LIZA BLVD                                                                         PONTIAC          MI 48342‐1984
MR WILLIAM H SPOONER      64 CENTER ST APT 5                                                                     MASSENA          NY 13662‐1403
MR WILLIAM H STRATTON     2156 CONNELL ST                                                                        BURTON           MI 48529‐1335
MR WILLIAM H WEISS        1079 TERRY AVE                                                                         MOUNT MORRIS     MI 48458‐2539
MR WILLIAM HAMMON         2089 KENNETH ST                                                                        BURTON           MI 48529‐1350
MR WILLIAM HARBORT        18 E FAIRMOUNT AVE                                                                     PONTIAC          MI 48340‐2726
MR WILLIAM J BADDERS      1212 S MOUND ST                                                                        MUNCIE           IN 47302‐2222
MR WILLIAM J BOGDAN       33 ROCKAWAY ST                                                                         MASSENA          NY 13662‐2110
MR WILLIAM J BOHLEN       4742 HAYMAN DR                                                                         WARREN           MI 48092‐2374
MR WILLIAM J BRADNER      9927 JOAN CIR                                                                          YPSILANTI        MI 48197‐6904
MR WILLIAM J BUCHER       1290 UNIVERSITY DR                                                                     PONTIAC          MI 48342‐1973
MR WILLIAM J CASSIDY      105 MADISON ST                                                                         BEDFORD          IN 47421‐1825
MR WILLIAM J COUNTER      1304 ANTHONY AVE                                                                       JANESVILLE       WI 53546‐6069
MR WILLIAM J COWDEN       1808 W MEMORIAL DR                                                                     MUNCIE           IN 47302‐6622
MR WILLIAM J DONALDSON    938 I ST                                                                               BEDFORD          IN 47421‐2640
MR WILLIAM J FALBERG      1918 HUNTERS RIDGE DR                                                                  BLOOMFIELD       MI 48304‐1036
MR WILLIAM J GLADY        418 ELM ST                                                                             MOUNT MORRIS     MI 48458‐1914
MR WILLIAM J HERRON       152 PINGREE AVE                                                                        PONTIAC          MI 48342‐1157
MR WILLIAM J HETRICK      412 W CHAMPLAIN AVE                                                                    WILMINGTON       DE 19804‐2014
MR WILLIAM J HURKMAN      2304 S ARCH ST                                                                         JANESVILLE       WI 53546‐6126
MR WILLIAM J IRWIN JR     11330 CHURCH ST                                                                        MOUNT MORRIS     MI 48458‐2202
MR WILLIAM J KING         1118 N WEBSTER ST                                                                      KOKOMO           IN 46901‐2706
MR WILLIAM J LOTT         3838 LORRAINE AVE                                                                      FLINT            MI 48506‐4238
MR WILLIAM J MORRISSETT   2133 E BRISTOL RD                                                                      BURTON           MI 48529‐1320
MR WILLIAM J PIASECKI     10941 FAIRLAWN DR                                                                      CLEVELAND        OH 44130‐1215
MR WILLIAM J ROWLEY       5900 BRIDGE RD APT 904                                                                 YPSILANTI        MI 48197‐6935
MR WILLIAM J SIMS         13 CONNOR CT                                                                           BEDFORD          IN 47421‐5813
MR WILLIAM J STEMPLE SR   1036 SOUTH ST                                                                          MOUNT MORRIS     MI 48458‐2041
MR WILLIAM J TRACY        176 MAIN ST                                                                            MASSENA          NY 13662‐1905
MR WILLIAM J TURPEN       505 SHANDELL DR                                                                        BEDFORD          IN 47421‐9657
MR WILLIAM J WAGNER       6 P ST                                                                                 BEDFORD          IN 47421‐1718
MR WILLIAM J WALLACE      156 W HOPKINS AVE                                                                      PONTIAC          MI 48340‐1820
MR WILLIAM J WATT JR      125 W BEVERLY AVE                                                                      PONTIAC          MI 48340‐2621
MR WILLIAM J WHALEN       28 LAUREL AVE APT 1                                                                    MASSENA          NY 13662‐2086
MR WILLIAM J WHEATON      2063 DELANEY ST                                                                        BURTON           MI 48509‐1022
MR WILLIAM J WILSON       344 MAIN ST                                                                            MASSENA          NY 13662‐2546
MR WILLIAM J YANKOVITZ    10700 RIVEREDGE DR                                                                     CLEVELAND        OH 44130‐1245
MR WILLIAM JAMES          3955 DOBBINS PIKE                                                                      PORTLAND         TN 37148
MR WILLIAM K ASCHER JR    180 W YALE AVE                                                                         PONTIAC          MI 48340‐1864
MR WILLIAM K CHAPMAN II   11276 GARDEN ST                                                                        LIVONIA          MI 48150‐3139
MR WILLIAM K ESTES        3342 25TH ST                                                                           DETROIT          MI 48208‐2462
MR WILLIAM K LEE          11041 AARON DR                                                                         CLEVELAND        OH 44130‐1363
MR WILLIAM KIRCHOFF       9960 JOAN CIR                                                                          YPSILANTI        MI 48197‐6914
MR WILLIAM L CURTIS SR    1113 W 14TH ST                                                                         MUNCIE           IN 47302‐3060
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MR WILLIAM L DESHANE        22 LAUREL AVE                                                                        MASSENA          NY 13662‐2027
MR WILLIAM L GARDNER        907 W 14TH ST                                                                        MUNCIE           IN 47302‐7613
MR WILLIAM L INGLE          1607 1ST ST                                                                          BEDFORD          IN 47421‐1603
MR WILLIAM L JONES          1622 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2315
MR WILLIAM L JONES          5669 NATHAN DR                                                                       CLEVELAND        OH 44130‐1561
MR WILLIAM L JOSLYN JR      11250 UNION ST                                                                       MOUNT MORRIS     MI 48458‐2251
MR WILLIAM L LOGAN          2118 S PIERCE ST                                                                     MUNCIE           IN 47302‐3014
MR WILLIAM L MCFADDEN       202 SHANDELL DR                                                                      BEDFORD          IN 47421‐9658
MR WILLIAM L MEACHAM        201 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1805
MR WILLIAM L PARKES         2726 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8043
MR WILLIAM L PEARCE         1239 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2717
MR WILLIAM L PINNICK        1708 13TH ST                                                                         BEDFORD          IN 47421‐3116
MR WILLIAM L VECCHIOLLI     1612 W 6TH ST                                                                        MUNCIE           IN 47302‐2100
MR WILLIAM L WONNACOTT      448 FOX HILLS DR N APT 5                                                             BLOOMFIELD       MI 48304‐1330
MR WILLIAM M AGARDI         10990 AARON DR                                                                       CLEVELAND        OH 44130‐1360
MR WILLIAM M BAILEY         2113 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2437
MR WILLIAM M BURNS          525 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1011
MR WILLIAM M CALLAHAN       1090 E COSTELLO ST                                                                   MOUNT MORRIS     MI 48458‐2241
MR WILLIAM M DAVIDSON       2882 N LABADIE                                                                       MILFORD          MI 48380‐2920
MR WILLIAM M DENVER         609 FALLON AVE                                                                       WILMINGTON       DE 19804‐2111
MR WILLIAM M EIDSON         1444 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1634
MR WILLIAM M FISHER         1617 W 13TH ST                                                                       MUNCIE           IN 47302‐2979
MR WILLIAM M FREDELL        11637 TEMPERANCE ST                                                                  MOUNT MORRIS     MI 48458‐2038
MR WILLIAM M MCCAFFREY SR   100 BROOKLAND DR                                                                     SYRACUSE         NY 13208‐3213
MR WILLIAM M PETERS JR      1 LAUREL AVE                                                                         MASSENA          NY 13662‐2030
MR WILLIAM M SCHLICHT       2106 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐5964
MR WILLIAM M SUPER          12 P ST                                                                              BEDFORD          IN 47421‐1718
MR WILLIAM M WEBBER         1156 TERRY AVE                                                                       MOUNT MORRIS     MI 48458‐2567
MR WILLIAM MERRIWATHER      1408 N MORRISON ST                                                                   KOKOMO           IN 46901‐2157
MR WILLIAM METCALFE         3806 HOLLY AVE                                                                       FLINT            MI 48506‐3109
MR WILLIAM N GREENLESS II   106 SPRINGBROOK CIR                                                                  ELYRIA           OH 44035‐8968
MR WILLIAM O CARROLL        2006 LINKWOOD AVE                                                                    WILMINGTON       DE 19805‐2418
MR WILLIAM O KING           811 PENSACOLA AVE                                                                    PONTIAC          MI 48340‐2362
MR WILLIAM O KOPP           2137 E BUDER AVE                                                                     BURTON           MI 48529‐1733
MR WILLIAM O SHROYER        1401 W 8TH ST                                                                        MUNCIE           IN 47302‐2164
MR WILLIAM P ALBORN         12 FLORENCE DR                                                                       CLARK            NJ 07066‐1211
MR WILLIAM P DESMARAIS      2707 GLENDAS WAY                                                                     FREDERICKSBRG    VA 22408‐8037
MR WILLIAM P MAHON SR       503 ROCHELLE AVE                                                                     WILMINGTON       DE 19804‐2119
MR WILLIAM P MILLER         1200 S MOUND ST                                                                      MUNCIE           IN 47302‐2222
MR WILLIAM P POLK           1622 N MARKET ST                                                                     KOKOMO           IN 46901‐2341
MR WILLIAM P WALKER         1099 COLLINS AVE                                                                     MOUNT MORRIS     MI 48458‐2102
MR WILLIAM R BALDWIN        1704 N BELL ST                                                                       KOKOMO           IN 46901‐2332
MR WILLIAM R BARTLEY        5620 FEDERAL ST                                                                      DETROIT          MI 48209‐1219
MR WILLIAM R BROOKING       1230 L ST                                                                            BEDFORD          IN 47421‐2921
MR WILLIAM R CHADWICK       104 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2002
MR WILLIAM R CIESLIGA       416 FOX HILLS DR S APT 8                                                             BLOOMFIELD       MI 48304‐1347
MR WILLIAM R COOPER         112 UNIVERSITY PLACE DR                                                              PONTIAC          MI 48342‐1890
MR WILLIAM R COX            83 LINCOLN AVE                                                                       BEDFORD          IN 47421‐1610
MR WILLIAM R DIXON          40 BLAINE AVE                                                                        PONTIAC          MI 48342‐1100
MR WILLIAM R ENGEL          1712 W 11TH ST                                                                       MUNCIE           IN 47302‐2151
MR WILLIAM R HOWGATE        11541 SHARON DR APT C509                                                             CLEVELAND        OH 44130‐8706
MR WILLIAM R IDE            1233 E YALE AVE                                                                      FLINT            MI 48505‐1752
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Name                        Address1                           Address2            Address3         Address4         City            State Zip
MR WILLIAM R IDES           1245 E YALE AVE                                                                          FLINT            MI 48505‐1752
MR WILLIAM R JERMAN         10909 STACY RUN                                                                          FREDERICKSBRG    VA 22408‐8046
MR WILLIAM R KEANE          1407 17TH ST                                                                             BEDFORD          IN 47421‐4101
MR WILLIAM R LAY            1614 N MCCANN ST                                                                         KOKOMO           IN 46901‐2074
MR WILLIAM R NIEMUTH        2443 S OAKHILL AVE                                                                       JANESVILLE       WI 53546‐9061
MR WILLIAM R PARKIN         780 CAMERON AVE                                                                          PONTIAC          MI 48340‐3206
MR WILLIAM R PARKIN         784 CAMERON AVE                                                                          PONTIAC          MI 48340‐3206
MR WILLIAM R ROYER          1013 P ST                                                                                BEDFORD          IN 47421‐2817
MR WILLIAM R RUTTER         222 N CATHERINE ST                                                                       LANSING          MI 48917‐4902
MR WILLIAM R SAMPSON JR     2134 S TERRACE ST                                                                        JANESVILLE       WI 53546‐6120
MR WILLIAM R SMITH          408 N DEERFIELD AVE                                                                      LANSING          MI 48917‐2986
MR WILLIAM R THATCHER       545 FOX HILLS DR N                                                                       BLOOMFIELD       MI 48304‐1311
MR WILLIAM R YOUNG          1045 COLLINS AVE                                                                         MOUNT MORRIS     MI 48458‐2120
MR WILLIAM REYES            48 W YALE AVE                                                                            PONTIAC          MI 48340‐1856
MR WILLIAM S BRANDT         1915 ROOSEVELT AVE                                                                       JANESVILLE       WI 53546‐5970
MR WILLIAM S GOOD           PO BOX 210024                                                                            AUBURN HILLS     MI 48321‐0024
MR WILLIAM S ROHRER         705 GARNET RD                                                                            WILMINGTON       DE 19804‐2613
MR WILLIAM SHAFFER          1225 N ARMSTRONG ST                                                                      KOKOMO           IN 46901‐2819
MR WILLIAM SNYDER           90 MAIN ST                                                                               MASSENA          NY 13662‐1909
MR WILLIAM T BLAIR          48 PROSPECT AVE                                                                          MASSENA          NY 13662‐1744
MR WILLIAM T BROWNING       1412 O ST                                                                                BEDFORD          IN 47421‐3622
MR WILLIAM T LINDSEY        635 SPRUCE ST                                                                            MOUNT MORRIS     MI 48458‐1942
MR WILLIAM T LINDSEY        419 ELM ST                                                                               MOUNT MORRIS     MI 48458‐1913
MR WILLIAM T LINT           43 N ALLEN ST                                                                            MASSENA          NY 13662‐1801
MR WILLIAM T MATWIJIW       10910 SHARON DR                                                                          CLEVELAND        OH 44130‐1429
MR WILLIAM T PATTRICK       2825 E MICHIGAN AVE                                                                      YPSILANTI        MI 48198‐6050
MR WILLIAM T SCHEIB         121 DAVID RD                                                                             WILMINGTON       DE 19804‐2664
MR WILLIAM THOMAS           143 PINGREE AVE                                                                          PONTIAC          MI 48342‐1174
MR WILLIAM W ABRAHAM        2119 S CHATHAM ST                                                                        JANESVILLE       WI 53546‐6114
MR WILLIAM W BARD JR        1159 HERRINGTON LN                                                                       PONTIAC          MI 48342‐1837
MR WILLIAM W LEW            434 FOX HILLS DR N APT 4                                                                 BLOOMFIELD       MI 48304‐1328
MR WILLIAM W MCCAULLEY      236 W COLUMBIA AVE                                                                       PONTIAC          MI 48340‐1814
MR WILLIAM W THORNBURG      1812 W 10TH ST                                                                           MUNCIE           IN 47302‐6607
MR WILLIAM W WATSON         1411 ARBUTUS ST                                                                          JANESVILLE       WI 53546‐6139
MR WILLIAMS R NICHOLS       1314 N LAFOUNTAIN ST                                                                     KOKOMO           IN 46901‐2328
MR WILLIE C CAREY JR        858 PALMER DR                                                                            PONTIAC          MI 48342‐1858
MR WILLIE C HARGROVE        680 DELAWARE ST APT 807                                                                  DETROIT          MI 48202‐4409
MR WILLIE E HOOKS           4000 TOLEDO ST                                                                           DETROIT          MI 48209‐1361
MR WILLIE F BETTS           111 W YPSILANTI AVE                                                                      PONTIAC          MI 48340‐1874
MR WILLIE G WESLEY JR       913 STANLEY AVE                                                                          PONTIAC          MI 48340‐2561
MR WILLIE H MONTGOMERY II   454 FOX HILLS DR N APT 4                                                                 BLOOMFIELD       MI 48304‐1331
MR WILLIE J BENNETT         671 NEWMAN LN                                                                            PONTIAC          MI 48340‐3301
MR WILLIE J HUDSON          2969 25TH ST                                                                             DETROIT          MI 48216‐1001
MR WILLIE J MORTON JR       9663 BAYVIEW DR APT 212                                                                  YPSILANTI        MI 48197‐7028
MR WILLIE J ODNEAL          311 W HOPKINS AVE                                                                        PONTIAC          MI 48340‐1719
MR WILLIE J RAMSEY          11 PINGREE AVE                                                                           PONTIAC          MI 48342‐1159
MR WILLIE J SARGENT         801 EMIRY ST                                                                             PONTIAC          MI 48340‐2425
MR WILLIE L HARRIS          5900 BRIDGE RD APT 907                                                                   YPSILANTI        MI 48197‐7009
MR WILLIE L JERNAGIN        645 KINNEY RD                                                                            PONTIAC          MI 48340‐2431
MR WILLIE L WILLIAMS        1234 E YALE AVE                                                                          FLINT            MI 48505‐1753
MR WILLIE LUMPKIN 3D        103 W YPSILANTI AVE                                                                      PONTIAC          MI 48340‐1874
MR WILLIE M BROWN           1925 W 11TH ST                                                                           MUNCIE           IN 47302‐2154
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Name                         Address1                            Address2              Address3        Address4                  City            State Zip
MR WILLIE M FENDER           800 W 10TH ST                                                                                       MUNCIE           IN 47302‐3169
MR WILLIE M THOMAS           560 LANCASTER LN                                                                                    PONTIAC          MI 48342‐1848
MR WILLIE MATSEY JR          2318 SCOTTEN ST                                                                                     DETROIT          MI 48209‐1359
MR WILLIE N MCCHESTER        1404 E KURTZ AVE                                                                                    FLINT            MI 48505‐1767
MR WILLIE P LUMPKIN JR       224 BLOOMFIELD BLVD                                                                                 BLOOMFIELD       MI 48302‐0510
MR WILLIE R WOODARD JR       247 W STRATHMORE AVE                                                                                PONTIAC          MI 48340‐2779
MR WILLIE T LONG             1613 N COURTLAND AVE                                                                                KOKOMO           IN 46901‐2140
MR WILLIE T WILSON           603 N DEERFIELD AVE                                                                                 LANSING          MI 48917‐2989
MR WILLIS A STEPHENS JR      141 W PRINCETON AVE                                                                                 PONTIAC          MI 48340‐1841
MR WILLIS C JENSEN SR        1315 E YALE AVE                                                                                     FLINT            MI 48505‐1752
MR WILLIS W HAWKINS          1602 1ST ST                                                                                         BEDFORD          IN 47421‐1604
MR WILSON D BARNES           3830 PITKIN AVE                                                                                     FLINT            MI 48506‐4235
MR WILSON HUBBARD JR         302 E BROADWAY ST                                                                                   KOKOMO           IN 46901‐2976
MR WILSON S COOK             210 BROOKE DR                                                                                       FREDERICKSBRG    VA 22408‐2004
MR WILTON BANGUIL            65 W BEVERLY AVE                                                                                    PONTIAC          MI 48340‐2617
MR WILTON M BENNETT JR       714 LOYOLA DR                                                                                       FLINT            MI 48503‐5222
MR WINDALL E MORROW          4026 PEERLESS RD                                                                                    BEDFORD          IN 47421‐8112
MR WINDSOR H MENDENHALL JR   207 BROOKE DR                                                                                       FREDERICKSBRG    VA 22408‐2003
MR WINFERD B BRIDGES         460 PEERLESS RD                                                                                     BEDFORD          IN 47421‐1544
MR WINFRED MCGEE             244 W YPSILANTI AVE                                                                                 PONTIAC          MI 48340‐1877
MR WINFRED T SCHULER         810 WILBERFORCE DR                                                                                  FLINT            MI 48503‐5237
MR WING Y YU                 11 PROSPECT AVE                                                                                     MASSENA          NY 13662‐1749
MR WINSTON R LANNIGAN        2068 E MCLEAN AVE                                                                                   BURTON           MI 48529‐1738
MR WM H BARNETT              320 W NORTH ST                                                                                      KOKOMO           IN 46901‐2844
MR WM J DAVIS                33 DOUGLAS RD                                                                                       MASSENA          NY 13662‐2136
MR WM S HUTCHISON            154 ALLEN ST                                                                                        MASSENA          NY 13662‐1845
MR WOODFIN PATTY             28 GROVE ST                                                                                         MASSENA          NY 13662‐2137
MR WOODIE SMITH              1509 W 10TH ST                                                                                      MUNCIE           IN 47302‐2142
MR WOODROW E THOMPSON        1714 KELLOGG AVE                                                                                    JANESVILLE       WI 53546‐6003
MR WOODROW W LOVE            2204 S HOYT AVE                                                                                     MUNCIE           IN 47302‐3020
MR WOODROW W WILLIAMS        315 W YALE AVE                                                                                      PONTIAC          MI 48340‐1754
MR WULF SEIDEL               IM HUBHOF 2                                                               FREIBURG 79112 GERMANY
MR XAVIER J FREDERICK        807 FISK DR                                                                                         FLINT           MI   48503‐5248
MR XAVIER Y YANAS JR         2115 CLARK ST                                                                                       DETROIT         MI   48209‐3907
MR YANCY FERCHAK             1365 READY AVE                                                                                      BURTON          MI   48529‐2051
MR YANCY FERCHAK             2209 E WHITTEMORE AVE                                                                               BURTON          MI   48529‐1727
MR YARLAGADDA K PRASAD       609 WEYBRIDGE DR                                                                                    BLOOMFIELD      MI   48304‐1083
MR YAT C TANG                458 FOX HILLS DR N APT 3                                                                            BLOOMFIELD      MI   48304‐1332
MR YIU LEUNG WAI             MR YIU LEUNG WAI/MS WUN PIK JALAN   FLAT 1 1/F BLOCK 46   HENG FA CHUEN   100 SHING TAI ROAD HONG
                             KWOK                                                                      KONG
MR YOUNG H HWANG             436 FOX HILLS DR S APT 6                                                                            BLOOMFIELD      MI   48304‐1351
MR YUAN X ZHANG              2371 FERGUSON RD                                                                                    ONTARIO         OH   44906‐1149
MR YUI C BABA                2040 BOOTMAKER LN                                                                                   BLOOMFIELD      MI   48304‐1004
MR YUNUS T BURHANI           11181 KAREN ST                                                                                      LIVONIA         MI   48150‐3144
MR YVES PASLEAU              DEUTSCHE BANK SA/NV                 AVENUE MAMIX 13 15                    1000 BRUXELLES BELGIUM
MR ZACHARY A SELLERS         10800 COREYS WAY                                                                                    FREDERICKSBRG   VA   22408‐2065
MR ZACHARY BOROS             412 SPRUCE ST                                                                                       MOUNT MORRIS    MI   48458‐1939
MR ZACHARY CLIFTON           2719 MCKENZIE LN                                                                                    FREDERICKSBRG   VA   22408‐8073
MR ZACHARY L TOWNSEND        2245 WEBBER AVE                                                                                     BURTON          MI   48529‐2415
MR ZACHARY R PARSONS         2011 OLD OAKLAND AVE                                                                                LANSING         MI   48915‐1350
MR ZACHARY SHINABARGER       2162 E BERGIN AVE                                                                                   BURTON          MI   48529‐1704
MR ZACHARY T RUBLE           1417 N MORRISON ST                                                                                  KOKOMO          IN   46901‐2156
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Name                                  Address1                            Address2                           Address3                   Address4                   City                     State Zip
MR ZACHARY WASHAM                     1830 N MCCANN ST                                                                                                             KOKOMO                    IN 46901‐2076
MR ZACKERY WALLER                     11007 BEVIN DR                                                                                                               FREDERICKSBRG             VA 22408‐2073
MR ZAHID RAZI                         430 N GRACE ST                                                                                                               LANSING                   MI 48917‐4910
MR ZEBULUN J ROSS SR                  1030 BOXWOOD RD                                                                                                              WILMINGTON                DE 19804‐2002
MR ZT WU                              458 W FAIRMOUNT AVE                                                                                                          PONTIAC                   MI 48340‐1621
MR. & MRS BRUCE LINHART
MR. & MS. DELLENEY RUFF               516 SIMS AVE                                                                                                                 COLUMBIA                  SC   29205
MR. ALBERTO BERINI                    C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290 NOLA                                                    NAPLES                         80035

MR. ALBERTO BERINI                    C/O D'ALESSANDRO & PARTNERS ‐ SGE                                      VIA ANFITEATRO LATERIZIO                              NOLA (NAPLES)                  80035
                                                                                                             NO. 290
MR. AND MRS. DONALD DEVORRIS AND      3018 PLEASANT VALLEY BLVD.                                                                                                   ALTOONA                  PA 16602
MR. AND MRS. BETRAM B. LEOPOLD

MR. AND MRS. LARRY R FOSTER           2290 W 276TH ST                                                                                                              SHERIDAN                  IN   46069‐9355
MR. ANIELLO RUSSO, MS. MARIA TERESA   C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290                                                         NOLA (NAPLES)                  80035
PISC
MR. ANIELLO RUSSO, MS. MARIA TERESA   D'ALESSANDRO & PARTNERS ‐ SGE       VIA ANFITEATRO LATERIZIO NO. 290                                                         NAPLES                         80035
PISC
MR. AUTO ELECTRIC                     7160 24TH ST                                                                                                                 SACRAMENTO               CA 95822‐4409
MR. BARRY C. LAUESEN                  1024 LA FONT RD SW                                                                                                           ALBUQUERQUE              NM 87105‐3796
MR. BLAISE THOMAS
MR. C GERALD TAYLOR                   1042 ROLLOVER ACCOUNT               424 RIVERWALK                                                                            MCDONOUGH                GA 30252‐9013
MR. CLAUDIO GARELLA                   C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290                                                         NOLA (NAPLES)               80035

MR. CONSUMER
MR. DANIEL PATULSKI, U.S.             OFFICE OF RCRA û REGION 5           77 WEST JACKSON BLVD.              HRP‐8J                                                CHICAGO                   IL   60604‐3590
ENVIRONMENTAL PROTECTION AGENCY

MR. DANIEL PATULSKI, U.S.             77 WEST JACKSON BOULEVARD                                                                                                    CHICAGO                   IL   60604‐3590
ENVIRONMENTAL PROTECTION AGENCY,
REGION 5
MR. DAVID SEELY, U.S. ENVIRONMENTAL   OFFICE OF RCRA û REGION 5           77 WEST JACKSON BOULEVARD                                                                CHICAGO                   IL   60604‐3590
PROTECTION AGENCY

MR. DIETER FAHLE, MRS. ROSI FAHLE     C/O DR. KLOKE U. KOLL.              BAHNSTR. 1                                                    34431 MARSBERG
                                                                                                                                        GERMANY
MR. DONALD URQUHART, JR.              7515 AIRPORT BOULEVARD                                                                                                       MOBILE                    AL   36608
MR. EFSTRATIOS GIANNAKOULIS           MRS. CHRISTINA‐MARIA GIANNAKOULI    MR. NIKOLAOS GIANNAKOULIS          1, TZAVELA STR             P. FALIRO ATHENS 17563
                                                                                                                                        GREECE
MR. EMILIO COLOMBO                    C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290                              NOLA, 80035 NAPLES ITALY

MR. ENRICO CERVATI                    C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290 NOLA                                                    NAPLES                         80035

MR. FERNANDO GIACCARDI                MR. ENRIQUE IGLESIAS                690 HARBOR STREET, #7                                                                    VENICE                   CA 90291
MR. GARY COBRAN
MR. GARY D. HARRELL, SOLE & SEP.      GARY D. HARRELL                     3532 WINIFRED DR.                                                                        FT. WORTH                 TX   76133
PROPERTY
MR. GERMAIN DERUYTTER                 C/O DEUTSCHE BANK SA/NV             AVENUE MARNIX 13‐15                                                                      1000 BRUXELLES BELGIUM
MR. GINO IACOBELLI                    C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290                              80035 NOLA NAPLES ITALY                                   80035
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Name                                 Address1                             Address2                         Address3                     Address4                  City            State Zip
MR. GINO PASQUALINI AND MS. TERESINA C/O D'ALESSANDRO & PARTNERS ‐ SGE    VIA ANFITEATRO LATERIZIO NO. 290                                                        NOLA (NAPLES)         80035
AVI
MR. GIUSEPPE DALE'                   C/O D'ALESSANDRO & PARTNERS ‐ SGE    VIA ANFITEATRO LATERIZIO NO. 290 NOLA                                                   NAPLES                80035

MR. GIUSEPPE ORTENZI                 C/O D'ALESSANDRO & PARTNERS ‐ SGE    VIA ANFITEATRO LATERIZIO NO. 290 NOLA                                                   NAPLES                80035

MR. HERBERT SCHMITZ MRS. HANNELORE   HASENFELD 21                         52066 AACHEN
KELSC
MR. IRA BUTLER                       603 W.T. WAGGONER BUILDING                                                                                                   FORT WORTH       TX
MR. IRVIN ZIMET                      5403 BRANDY CIRCLE                                                                                                           FORT MYERS       FL   33919
MR. IVAN HONORE                      C/O DEUTSCHE BANK SA/NV              AVENUE MARNIX 13 15                                           1000 BRUXELLES BELGIUM
MR. JAMES H. PARKINSON               1 AUTO CENTER DR                                                                                                             TUSTIN           CA 92782‐8406
MR. JEAN PAUL BALLEGEER & MRS RITA   C/O DEUTSCHE BANK SA/NV              AVENUE MARNIX 13‐15                                           1000 BRUXELLES BELGIUM
DEWAELE
MR. JOHN GALASSO, LUCENT             101 CRAWFORDS CORNER ROAD, MAIL                                                                                              HOLMDEL          NJ   07733‐3030
TECHNOLOGIES, C/O KANE & LOMBARD     DROP: 2J132
PRP GROUP
MR. JOHN SALTER                      EXECUTIVE DIRECTOR, SALES            ONE DAUCH DRIVE                                                                         DETROIT          MI 48211
MR. KATSUMI IKEDA                    GENERAL MANAGER, INTERNATIONAL       LEGAL DIVISION ,TOYOTA MOTOR       1 TOYOTA‐CHO, TOYOTA‐SHI   AICHI 471‐8571 ,JAPAN
                                     LEGAL AFFAIRS DEPT.                  CORPORATION
MR. KAY KAHUS                        16009 N 61 ST                                                                                                                SCOTTSDALE       AZ   85254
MR. LOUIS PERGE
MR. M'S AUTO SERVICE CENTRE          30 CHARLES ST.                                                                                     NEWMARKET ON L3Y 3V8
                                                                                                                                        CANADA
MR. MALCOM G. SEARS                  67171 WEST ST                                                                                                                BEND            OR 97701
MR. MARIAN Z. AUGUSTYNIAK
MR. MATTHEW OHL, U.S.                77 WEST JACKSON BOULEVARD            S‐6J                                                                                    CHICAGO          IL   60604‐3590
ENVIRONMENTAL PROTECTION AGENCY,
REGION 5
MR. MICHEI SOLOMON
MR. MUFFLER                          1981 E 9 MILE RD                                                                                                             FERNDALE         MI 48220‐2061
MR. NIGHTRAVEN                       MR. NIGHTRAVEN                       NA                               NA                                                     NAHMA            MI
MR. PAOLO GIUSEPPE GARELLA           C/O D'ALESSANDRO & PARTNERS ‐ SGE    VIA ANFITEATRO LATERIZIO NO. 290                                                        NOLA (NAPLES)       80035

MR. PAOLO MODESTINI                  D'ALESSANDRO & PARTNERS ‐ SGE        VIA ANFITEATRO LATERIZIO NO. 290                                                        NOLA (NAPLES)         80035

MR. PAOLO MODESTINI                  C/O D'ALESSANDRO & PARTNERS ‐ SGE    VIA ANFITEATRO LATERIZIO NO. 290                              80035 NOLA NAPLES ITALY                         80035

MR. PERIKLIS GIANNOPOULOS            MRS. MARIA GIANNOPOULOU AND          ELENI GIANNOPOULOU JTWROS          10A OLIMPIAS, ANOHARAVGI ‐ ATHENS 17236 GREECE
                                                                                                             DAFNI
MR. PIETRO COSTANTINO                C/O D'ALESSANDRO & PARTNERS ‐ SGE    VIA ANFITEATRO LATERIZIO NO. 290                                                        NOLA (NAPLES)         80035

MR. PIETRO COSTANTINO AND MS. ROSA C/O D'ALESSANDRO & PARTNERS ‐ SGE      VIA ANFITEATRO LATERIZIO NO. 290                                                        NOLA (NAPLES)         80035
COST
MR. PIETRO COSTANTINO MS. GIUSEPPINA C/O D'ALESSANDRO & PARTNERS ‐ SGE    VIA ANFITEATRO LATERIZIO NO. 290                                                        NOLA (NAPLES)         80035
MAS
MR. PIETRO COSTANTINO, MS. GIUSEPPINA C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290                                                        NOLA (NAPLES)         80035
MA
MR. PIETRO COSTANTINO, MS. ROSA       C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290                                                        NOLA (NAPLES)         80035
COSTANTI
MR. QUICK TUNE                        5941 STAGE RD                                                                                                               BARTLETT        TN 38134‐4521
MR. RAYMOND L JOHNSON                 402 CLYDE CT                                                                                                                MCDONOUGH       GA 30252‐4499
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Name                                  Address1                               Address2                        Address3   Address4                 City               State Zip
MR. RICHARD COCKS, TR.                7355 DE MAR RD                                                                                             CINCINNATI          OH 45243
MR. ROBERT J J DEVINE                 21426 W BASSWOOD LN                                                                                        PLAINFIELD           IL 60544
MR. ROBERT POTAMKIN                   GRANT AVENUE AND ACADEMY ROAD                                                                              PHILADELPHIA        PA 19114
MR. RODNEY SUTCH, DE MAXIMIS, INC     C/O I.JONES RECYCLING û COVINGTON RD   450 MONTBROOK LN                                                    KNOXVILLE           TN 37919‐2705
                                      SITE PRP GROUP
MR. ROLLER/ST LAUREN                  525 HODGE                                                                         ST. LAURENT PQ H4N 2A3
                                                                                                                        CANADA
MR. STEPHEN R. HARRELL, SOLE & SEP.   701 GLEN GARRY DR.                                                                                         FLOWER MOUND        TX   75022
PROPERTY
MR. TED M. GANS, ATTORNEY AT LAW      39533 WOODWARD AVE                     STE 200                                                             BLOOMFIELD         MI 48304‐5103
MR. TIMOTHY M. BURKE                  27420 YNEZ RD                          P.O. BOX 892830                                                     TEMECULA           CA 92591‐4638
MR. TOMMASO D'AVINO                   C/O D'ALESSANDRO & PARTNERS ‐ SGE      VIA ANFITEATRO LATERIZIO NO. 290 NOLA      80035 NAPLES ITALY

MR. VOLVO                             7215 FAIRMOUNT DR. S.E.                                                           CALGARY AB T2H 0X6
                                                                                                                        CANADA
MR. WILLIAM A MUCCI, SR.              6441 CAMINO DEL LAGO                                                                                       RANCHO MURIETA     CA 95683‐9240
MR. WILLIAM MILES RAVENSCROFT         PO BOX 4026                                                                                                SANTA BARBARA      CA 93140‐4026
MR.H.VAFADAR
MR.HAUK                               11000 PLACIDA RD                       APT 801                                                             PLACIDA            FL 33946
MR.KENNETH KUJAWA                     NATIONAL GRID                          144 KENSINGTON AVE                                                  BUFFALO            NY 14214
MR.KIM MORRIS
MR.WU
MR/MRS EDMUND S HIGGS                 5037 N EVANS AVE                                                                                           EVANSVILLE         IN 47711
MRA INDUSTRIES                        ATTN: CORPORATE OFFICER/AUTHORIZED     PO BOX 673696                                                       DETROIT            MI 48267‐3696
                                      AGENT
MRA INDUSTRIES INC                    44785 MACOMB INDUSTRIAL DR                                                                                 CLINTON TOWNSHIP   MI    48036‐1147
MRA INDUSTRIES INC.                   JIM VANWAMBEKE                         44785 MACOMB INDUSTRIAL DR.                                         ATHENS             GA    30601
MRA/CLINTON TOWNSHIP                  44785 MACOMB INDUSTRIAL DR                                                                                 CLINTON TOWNSHIP   MI    48036‐1147
MRACHINA, MARC M                      3234 GRAND CIRCLE PARK                 PARK                                                                ORION              MI    48359‐1596
MRACHINA, MARC M                      51076 FORSTER LN                                                                                           SHELBY TWP         MI    48316‐3869
MRACNA, AUGUSTA S                     1226 ADAMS ST                                                                                              OWOSSO             MI    48867‐1655
MRACNA, AUGUSTA S                     1226 ADAMS STREET                                                                                          OWOSSO             MI    48867‐1655
MRACNA, CONSTANCE A                   3647 OAKMONTE BLVD 23                                                                                      ROCHESTER          MI    48306
MRACNA, STEPHEN J.                    3161 DENTON RD                                                                                             CANTON             MI    48188‐2106
MRAK DENTON                           1320 PARKWOOD AVE                                                                                          YPSILANTI          MI    48198‐5900
MRAK, ANNA                            21000 N VINE AVE                                                                                           EUCLID             OH    44119‐2436
MRAK, VINCENT S                       8140 MANCHESTER DR                                                                                         GRAND BLANC        MI    48439‐9584
MRAKA, JAROSLAW H                     PO BOX 57                                                                                                  ACWORTH            GA    30101‐0057
MRAKAVA, GERALD F                     3650 BROWN RD                                                                                              DURAND             MI    48429‐9738
MRAKAVA‐BLACKBURN, MILDRED M          5201 WOODHAVEN CT APT 403                                                                                  FLINT              MI    48532‐4172
MRAKITSCH, THOMAS V                   2022 LAKEVIEW DR                                                                                           BROOKLYN           MI    49230‐9336
MRAKOVICH, MATTHEW J                  3442 JOHNSON FARM DR                                                                                       CANFIELD           OH    44406‐9246
MRAKOVICH, MICHAEL P                  5008 ARAVESTA AVE                                                                                          YOUNGSTOWN         OH    44512‐2003
MRAKOVICH, THERESA L.                 8275 W CALLA RD                                                                                            CANFIELD           OH    44406‐9456
MRASEK, LINDA M                       2084 BELLE MEADE DR                                                                                        DAVISON            MI    48423‐2057
MRAVEC JR, JAMES P                    11320 YOST RD                                                                                              PITTSFORD          MI    49271‐9671
MRAVEC SR, JAMES P                    1501 RED BUD DR                                                                                            NORTHWOOD          OH    43619‐2409
MRAVEC, RUDOLPH J                     928 WARDELL ST                                                                                             TOLEDO             OH    43605‐3742
MRAZ, DONALD J                        8032 BECKER TRL                                                                                            SAINT HELEN        MI    48656‐9486
MRAZ, ELOISE M                        12624 PAGELS DR # 104                                                                                      GRAND BLANC        MI    48439‐2400
MRAZ, JOSEPH                          1016 SILVER MAPLE LN                                                                                       PORTLAND           TN    37148‐5294
MRAZ, MICHAEL A                       82 BERKLEY AVE                                                                                             BELLE MEAD         NJ    08502‐4621
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Name                       Address1                             Address2                          Address3                    Address4            City               State Zip
MRAZ, ROBERT M             45 JADE CIR                                                                                                            CANFIELD            OH 44406‐9661
MRAZ, RONALD               6273 COLD SPRING TRL R                                                                                                 GRAND BLANC         MI 48439
MRAZ, RUTH P               360 N MAIN APT 40                                                                                                      TIPTON              IN 46072‐1315
MRAZ, RUTH P               360 N MAIN ST APT 40                                                                                                   TIPTON              IN 46072‐1315
MRAZEK, DALE E             PO BOX 345                                                                                                             DAVISON             MI 48423‐0345
MRAZEK, DARYL J            3445 S CENTER RD                                                                                                       BURTON              MI 48519‐1455
MRAZEK, LOUIS J            5886 E KINLEY RD                                                                                                       SAINT JOHNS         MI 48879‐9065
MRAZIK, LISA C             652 APPLE DR                                                                                                           BREA                CA 92821‐3601
MRAZIK, MICHAEL T          5259 PLEASANT HILL DR                                                                                                  FENTON              MI 48430‐9336
MRAZIK, MICHAEL THOMAS     5259 PLEASANT HILL DR                                                                                                  FENTON              MI 48430‐9336
MRC HOLDINGS INC           E OBRIEN TRAVELLERS GROUP            388 GREENWICH ST 20TH FL                                                          NEW YORK            NY 10013
MRC INDUSTRIAL GROUP INC   KERMIT KNUPPENBURG                   13201 STEPHENS RD                                             MATTIGHOFEN 5230
                                                                                                                              AUSTRIA
MRC INDUSTRIAL GROUP INC   UAW LOCAL 155                        400 GALLERIA OFFICENTRE , 27710                                                   SOUTHFIELD         MI 48034
                                                                NORTHWESTERN HWY STE 117

MRC PUBLISHING, INC.
MRC RECEIVABLES CORP       30500 NORTHWESTERN HWY STE 500                                                                                         FARMINGTON HILLS   MI   48334‐3180
MRDEZA, SCOTT C            11260 E CORUNNA RD                                                                                                     LENNON             MI   48449‐9654
MRDUTT, JAMES S            PO BOX 977                                                                                                             PRUDENVILLE        MI   48651‐0977
MREEN, JEANETTE A          9719 CRAYFORD RD APT A                                                                                                 SAINT LOUIS        MO   63123‐5484
MREEN, JEANETTE A          9719 CRAYFORD DRIVE                  UNIT A                                                                            ST. LOUIS          MO   63123
MREEN, MARVIN W            9719 CRAYFORD RD APT A                                                                                                 SAINT LOUIS        MO   63123
MRENAK, EDWARD W           8415 VAN DR                                                                                                            POLAND             OH   44514‐2950
MRH OF LAKELAND INC        STICHTER REIDEL BLAIN & PROSSER PA   110 EAST MADISON ST SUITE 200                                                     TAMPA              FL   33602
MRH OF LAKELAND INC        THOMAS CHEVROLET INC T               STICHTER REIDEL BLAIN & PROSSER   110 EAST MADISON ST SUITE                       TAMPA              FL   33602
                                                                PA                                200
MRI & IMAGING OF GEORGIA   3200 COBB GALLERIA PKWY STE 120                                                                                        ATLANTA            GA   30339‐5919
MRIDULA GUPTA              33911 LAKEWOOD DR                                                                                                      STERLING HEIGHTS   MI   48312‐6497
MRIDULA SEHGAL             1068 AUGUSTA DR                                                                                                        TROY               MI   48085‐6124
MRKICH, NICK               25284 TARA LN                                                                                                          BROWNSTOWN         MI   48134‐9077
MRLA, MICHAEL E            9135 HICKORYWOOD ST                                                                                                    WHITE LAKE         MI   48386‐4047
MRLIK, RITA M              4953 OCEAN SHORES WAY                                                                                                  LAS VEGAS          NV   89130‐2072
MRM                        622 3RD AVE FL 3                                                                                                       NEW YORK           NY   10017‐6724
MRM INC                    22660 HESLIP DR UPDATE PER LTR                                                                                         NOVI               MI   48375
MRM INC                    PO BOX 354                                                                                                             NOVI               MI   48375
MRM PARTNERS               600 BATTERY ST                                                                                                         SAN FRANCISCO      CA   94111
MRM PARTNERS               ESMERALDA 1080 PLANTA BAJA           CP C1007ABN BUENOS AIRES                                      COLUMBIA COLOMBIA
MRM TRUCKING               PO BOX 95                                                                                                              JEFFERSON          OH   44047‐0095
MRM WORLDWIDE/MCCANN       622 3RD AVE                                                                                                            NEW YORK           NY   10017
MRMC INC                   125 OLD GATE LN                      REACTV FOR ZERO CHK                                                               MILFORD            CT   06460
MRNAREVIC, RITA T          336 KNOTTY PINE CIR APT D1                                                                                             GREENACRES         FL   33463‐9166
MRO AMERICA                PO BOX 298                                                                                                             STOCKBRIDGE        MI   49285‐0298
MRO CORPORATION            PO BOX 61507                                                                                                           KING OF PRUSSIA    PA   19406‐0907
MRO PROPERTIES INC         1901 NW EXPRESSWAY STE K                                                                                               OKLAHOMA CITY      OK   73118
MRO SOFTWARE               100 CROSBY DR                                                                                                          BEDFORD            MA   01730
MRO SOFTWARE INC           979 SPAULDING AVE SE                                                                                                   GRAND RAPIDS       MI   49546
MRO SOFTWARE INC           6670 HARTMAN DR SE                                                                                                     CALEDONIA          MI   49316‐8431
MRO SOFTWARE INC
MRO SOFTWARE INC           ATTN: CONTRACTS ADMINISTRATOR        100 CROSBY DR.                                                                    BEDFORD            MA 01730
MRO SOFTWARE, INC.         ATTN: CONTRACTS ADMINISTRATOR        100 CROSBY DR.                                                                    BEDFORD            MA 01730
MROCHKOWSKI, SOPHIE P      112 LANDS END                                                                                                          LAKESIDE CITY      TX 76308‐000
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Name                             Address1                         Address2               Address3    Address4         City               State Zip
MROCK, ALLEN G                   1782 LAVERNE CT                                                                      OXFORD              MI 48371‐4448
MROCZEK, CONSTANCE M             833 STOWELL DR APT 8                                                                 ROCHESTER           NY 14616‐1843
MROCZEK, CONSTANCE M             833‐8 STOWELL DRIVE                                                                  ROCHESTER           NY 14616‐1843
MROCZEK, ELIZABETH A             3167 DRAPER AVE SE                                                                   WARREN              OH 44484‐3322
MROCZEK, JAMES W                 2053 CLARA MATHIS RD                                                                 SPRING HILL         TN 37174‐7575
MROCZEK, LAWRENCE J              808 KENILWORTH AVE NE                                                                WARREN              OH 44483‐4483
MROCZEK, PAUL J                  33 HILLCREST DR                                                                      LOCKPORT            NY 14094‐1705
MROCZEK, WANDA                   6904 BROOKHAVEN RD                                                                   NIAGARA FALLS       NY 14304‐3034
MROCZEK, WIESLAW L               1113 S BEECH ST                                                                      BRYAN               OH 43506‐2022
MROCZKA, RICHARD T               35328 COLLINGWOOD DR                                                                 STERLING HTS        MI 48312‐4232
MROCZKA, SUSAN J                 167 CROSWELL ST                                                                      ROMEO               MI 48065‐5111
MROCZKOWSKI MICHAEL R (454769)   SIMMONS FIRM                     PO BOX 559                                          WOOD RIVER           IL 62095‐0559
MROCZKOWSKI, ALFRED J            161 SHELL PT W                                                                       MAITLAND            FL 32751‐5844
MROCZKOWSKI, JUANITA             207 2ND ST                       P.O. BOX 105                                        LANGELOTH           PA 15054‐1102
MROCZKOWSKI, JUANITA             207 EAST SECOND AVE              P.O. BOX 105                                        LANGELOTH           PA 15054
MROCZKOWSKI, MICHAEL R           SIMMONS FIRM                     PO BOX 559                                          WOOD RIVER           IL 62095‐0559
MROFCHAK, PATRICK J              10328 BENT BROOK PL                                                                  LAS VEGAS           NV 89134‐5147
MROFCHAK, STEVE E                3180 MEADOW LN NE                                                                    WARREN              OH 44483‐2634
MROFCHAK, STEVE E                3180 MEADOW LANE N.E.                                                                WARREN              OH 44483‐2634
MROFCHAK, TIMOTHY J              PO BOX 144                                                                           BROOKFIELD          OH 44403‐0144
MROFCHAK, TODD P                 4054 SODOM HUTCHINGS RD                                                              CORTLAND            OH 44410‐9725
MROFCHAK, WILLIAM E              389 BONNIE BRAE                                                                      VIENNA              OH 44473‐9643
MROFKA JR., JOHN                 6607 WEST 181ST ST                                                                   TINLEY PARK          IL 60477
MROHS, JOHN M                    6670 BEAVER RD                                                                       GRAYLING            MI 49738‐8586
MROOZIAN, EDDIE H                2639 3RD ST                                                                          WYANDOTTE           MI 48192‐5104
MROSEWSKE, WILLIAM T             3490 W CHERRY CREEK RD                                                               MIO                 MI 48647‐8777
MROSKO, DALE R                   2725 KEITH RD                                                                        BRETHREN            MI 49619‐9773
MROSKO, DENNIS G                 160 MEADOWS CIR W                                                                    WIXOM               MI 48393‐4044
MROSKO, DENNIS GERARD            160 MEADOWS CIR W                                                                    WIXOM               MI 48393‐4044
MROSKO, JENNIE                   1797 SHIPMAN BLVD                                                                    BIRMINGHAM          MI 48009‐1934
MROSKO, JENNIE L                 3765 STAUNTON DR                                                                     YOUNGSTOWN          OH 44505‐1941
MROSZ, PAUL R                    PO BOX 80903                                                                         ROCHESTER           MI 48308‐0903
MROTEK, GARY L                   8056 S 66TH CT                                                                       FRANKLIN            WI 53132‐9283
MROWCA, DAVID G                  22349 HAIG ST                                                                        TAYLOR              MI 48180‐3668
MROWCZYNSKI, COURTNEY J          15649 MCGUIRE STREET                                                                 TAYLOR              MI 48180‐5058
MROWCZYNSKI, DANIEL              15075 FINCH AVE                                                                      PLYMOUTH            MI 48170‐2510
MROWCZYNSKI, GERALD B            4970 BEDFORD ST                                                                      DEARBORN HTS        MI 48125‐3404
MROWIEC MONICA                   MROWIEC, MONICA                  431 6TH ST                                          ROCHESTER           MI 48307‐1401
MROWIEC, AGNES                   27940 WALKER DR.                                                                     WARREN              MI 48092‐3064
MROWIEC, AGNES                   27940 WALKER AVE                                                                     WARREN              MI 48092‐3064
MROWIEC, GARY S                  6404 MARINE CITY HWY                                                                 CHINA               MI 48054‐4419
MROWIEC, JAMES S                 3440 PINE TRAIL DR                                                                   SHERIDAN            MI 48884‐8329
MROWKA, KAREN                    4431 STONY RIVER DR                                                                  BLOOMFIELD HILLS    MI 48301‐3654
MROWKA, WAYNE T                  1412 CHATHAM ST                                                                      RACINE              WI 53402‐4942
MROWKA, WAYNE THEODORE           1412 CHATHAM ST                                                                      RACINE              WI 53402‐4942
MROZ JR, THADDEUS                PO BOX 230                                                                           OLIVET              MI 49076
MROZ, CECILIA M                  45201 NORTHPOINTE BLVD APT 402                                                       UTICA               MI 48315‐5882
MROZ, DANIEL A                   76 N PRINCE DR                                                                       DEPEW               NY 14043‐4750
MROZ, DANIEL A                   13409 3RD AVE E                                                                      BRADENTON           FL 34212‐9536
MROZ, EDWARD F                   2269 SHETLAND DR NE                                                                  GRAND RAPIDS        MI 49505‐6390
MROZ, GARY M                     8805 JEFFREYS ST UNIT 1063                                                           LAS VEGAS           NV 89123‐4881
MROZ, GARY M                     UNIT 1063                        8805 JEFFREYS STREET                                LAS VEGAS           NV 89123‐4881
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Name                               Address1                         Address2                        Address3               Address4            City               State Zip
MROZ, GEORGE P                     2312 OCEAN SHORE BLVD                                                                                       ORMOND BEACH        FL 32176‐2832
MROZ, GERALD G                     9235 N KLUG RD                                                                                              MILTON              WI 53563‐9327
MROZ, GLORIA Y                     39847 CHEVIOT RD                                                                                            CANTON              MI 48188‐1523
MROZ, GREGORY R                    160 GRANGE HALL RD                                                                                          ORTONVILLE          MI 48462‐8836
MROZ, JEFFREY M                    712 PEMBERLY COURT                                                                                          NOBLESVILLE         IN 46060‐5432
MROZ, JEFFREY M                    712 PEMBERLY CT                                                                                             NOBLESVILLE         IN 46060‐5432
MROZ, JOHN                         4617 BAYLEAF DR                                                                                             STERLING HTS        MI 48314‐4025
MROZ, JOHN J                       5800 MARY LOU ST                                                                                            PAHRUMP             NV 89061‐8267
MROZ, JOHN M                       1475 GRACEDALE DR                                                                                           ROCHESTER HILLS     MI 48309‐2261
MROZ, LORRAINE                     PO BOX 573                                                                                                  CHELSEA             MI 48118‐0573
MROZ, RONALD E                     4475 MERWIN RD                                                                                              LAPEER              MI 48446‐9690
MROZ, STANLEY A                    8170 GERALD                                                                                                 WARREN              MI 48093‐7101
MROZ, STEPHANIE E                  7938 HOWE DR                                                                                                PRAIRIE VILLAGE     KS 66208
MROZ,JOHN M                        1475 GRACEDALE DR                                                                                           ROCHESTER HILLS     MI 48309‐2261
MROZEK, DORIS C                    2653 HILLVIEW LANE                                                                                          SAINT JOSEPH        MI 49085‐3104
MROZEK, EDWARD P                   31 ARKANSAS ST                                                                                              BUFFALO             NY 14213‐1744
MROZEK, FRANCES R                  74 WILMA DR                                                                                                 LANCASTER           NY 14086‐2720
MROZEK, GERALD S                   81 KAREN LN                                                                                                 DEPEW               NY 14043‐1911
MROZEK, GERALD STEVEN              81 KAREN LN                                                                                                 DEPEW               NY 14043‐1911
MROZEK, MAUREEN M                  38624 COURTLAND DR                                                                                          WILLOUGHBY          OH 44094‐7506
MROZEK, PATRICK H                  153 CHAPEL GLEN DR                                                                                          HAMBURG             NY 14075‐4607
MROZEK, PATRICK HENRY              153 CHAPEL GLEN DR                                                                                          HAMBURG             NY 14075‐4607
MROZEK, PAUL M                     36687 MAAS DR                                                                                               STERLING HEIGHTS    MI 48312‐2836
MROZEK, PAULA M                    15043 HARVEST MEADOWS DR                                                                                    STERLING HEIGHTS    MI 48313‐5781
MROZEK, RICHARD                    6189 FAUSSETT RD                                                                                            HOWELL              MI 48855‐9238
MROZEK, ROSE                       5629 CLIFFSIDE DRIVE                                                                                        TROY                MI 48085‐3844
MROZEK, STANISLAS                  52602 WILDWOOD DR                                                                                           MACOMB              MI 48042‐3571
MROZIK, DOUGLAS E                  5023 PLAINFIELD AVE NE                                                                                      GRAND RAPIDS        MI 49525‐1050
MROZINSKI THOMAS                   LYNNE KIZIS, ESQ                 WILENTZ, GOLDMAN, AND SPITZER   90 WOODBRIDGE CENTER                       WOODBRIDGE          NJ 07095
                                                                                                    DRIVE
MROZINSKI, ALBERT E                2055 LONE RD                                                                                                FREELAND           MI   48623‐8878
MROZINSKI, CHESTER J               2800 WIENEKE RD                                                                                             SAGINAW            MI   48603‐5665
MROZINSKI, DAVID D                 1304 CARNTON LN                                                                                             FRANKLIN           TN   37064‐3258
MROZINSKI, EDMOND J                449 OLD ORCHARD DR                                                                                          ESSEXVILLE         MI   48732‐9638
MROZINSKI, FREDERICK L             PO BOX 296                                                                                                  LINWOOD            MI   48634‐0296
MROZINSKI, GERARD                  27 BROOKS DR                                                                                                STONY POINT        NY   10980‐1725
MROZINSKI, JAMES A                 1804 S JEFFERSON ST                                                                                         BAY CITY           MI   48708‐7971
MROZINSKI, LEONARD J               1414 S JACKSON ST                                                                                           BAY CITY           MI   48708‐8068
MROZINSKI, MIKE P                  8632 BROWN RD                                                                                               VERMONTVILLE       MI   49096‐9748
MROZINSKI, MIKE PAUL               8632 BROWN RD                                                                                               VERMONTVILLE       MI   49096‐9748
MROZINSKI, NANCY M                 4668 ELM DR                                                                                                 BAY CITY           MI   48706‐9414
MROZINSKI, PAUL F                  5575 CHRISTYWAY CT                                                                                          BAY CITY           MI   48706‐3104
MROZINSKI, PAUL FRANCIS            5575 CHRISTYWAY CT                                                                                          BAY CITY           MI   48706‐3104
MROZINSKI, RAYMOND A               1316 HINE ST                                                                                                BAY CITY           MI   48708‐4909
MROZINSKI, RICHARD F               5134 BAXMAN RD                                                                                              BAY CITY           MI   48706‐3054
MROZINSKI, ROBB MICHAEL            PO BOX 296                                                                                                  LINWOOD            MI   48634‐0296
MROZOWSKI, BILL                    247 E MAIN ST                                                                                               ELKTON             MD   21921‐5723
MROZOWSKI, DEBRA                   247 E MAIN ST                                                                                               ELKTON             MD   21921‐5723
MRP AUTO REPAIR                    21 ELROSE AVE                                                                           WESTON ON M9M 2H5
                                                                                                                           CANADA
MRP SERVICE AGREEMENT CORPORATION 300 GALLERIA OFFICENTRE                                                                                      SOUTHFIELD         MI 48034
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Name                                  Address1                        Address2              Address3       Address4               City            State Zip
MRS AGNES GEORGE                      DEUTSCHE BANK SA/NV             AVENUE MARMIX 13‐15                  1000 BRUXELLES BELGIUM
MRS AGNES GEORGE                      DEUTSCHE BANK SA/NV             AVENUE MARNIX 13 15   1000                                  BRUXELLES
MRS ALICE R CONANT                    9 LAUREL AVE APT 702                                                                        MASSENA          NY   13662‐2058
MRS ALICE T WHITE                     464 W FAIRMOUNT AVE                                                                         PONTIAC          MI   48340‐1621
MRS ALVA P DALTON                     187 W FAIRMOUNT AVE                                                                         PONTIAC          MI   48340‐2739
MRS AMY J BAKER                       105 W STRATHMORE AVE                                                                        PONTIAC          MI   48340‐2775
MRS ANGELA A VERSAILLES               2187 E SCOTTWOOD AVE                                                                        BURTON           MI   48529‐1753
MRS ANGELA M BRASHEAR                 604 W 8TH ST                                                                                MUNCIE           IN   47302‐3155
MRS ANN E ROBINSON                    716 E FOX HILLS DR                                                                          BLOOMFIELD       MI   48304‐1361
MRS ANN M HOWE                        1364 BRADY AVE                                                                              BURTON           MI   48529‐2010
MRS ANN M MOSE                        1436 READY AVE                                                                              BURTON           MI   48529‐2052
MRS ANNE A BROUWER                    252 W BEVERLY AVE                                                                           PONTIAC          MI   48340‐2623
MRS ANNE HALLER                       473 SUMMIT DR                                                                               PITTSBURGH       PA   15228
MRS ANNETTE HUTO                      9 LAUREL AVE APT 609                                                                        MASSENA          NY   13662‐2058
MRS ARTEMIS STYLIANOU & DIMITRIOS     14 DIMOKRATIAS STREET                                                15452 ATHENS PALIO
STYLIANOU                                                                                                  PSYCHIKO GREECE
MRS ARTEMIS STYLIANOU AND DIMITRIOS   14 DIMOKRATIAS STREET                                                15452 ATHENS PALIO
STYLIANOS                                                                                                  PSYCHIKO GREECE
MRS ASTRID SOLTAU                     1 LUENKENBERG                                                        22609 HAMBURG
MRS BARBARA BURRER                    TIEFENBRONNER STR 22                                                 75175 PFORZHEIM
                                                                                                           GERMANY
MRS BARBARA E COFFMAN                 1382 WEBBER AVE                                                                             BURTON           MI   48529‐2034
MRS BARBARA K JESTER                  700 WOODTOP RD                                                                              WILMINGTON       DE   19804‐2628
MRS BARBARA M DIMOND                  2076 E SCHUMACHER ST                                                                        BURTON           MI   48529‐2434
MRS BARBARA M FENECH                  11276 MIDDLEBELT RD                                                                         LIVONIA          MI   48150‐3080
MRS BARBARA MULLINS                   PO BOX 6383                                                                                 KAMUELA          HI   96743‐6383
MRS BARBARA S ARNOLD                  4085 CORAL ST                                                                               BURTON           MI   48509‐1008
MRS BARBARA T PORTER                  4 N MAIN ST APT 1                                                                           MASSENA          NY   13662‐1155
MRS BEATE ITTIG                       MINDERHEIDEWEG 1                                                     D‐32425 MINDEN
MRS BERNADETTE HENNIN                 C/O DEUTSCHE BANK SA/NV         AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MRS BERNADIN L PHILLIPS               11 LEANEE LN                                                                                PONTIAC          MI 48340‐1651
MRS BERNARD J HART                    10926 TIDEWATER TRL                                                                         FREDERICKSBRG    VA 22408‐2045
MRS BERNHILD STROHE                   WIETHASESTR 58                                                       KOLN (COLOGNE)
                                                                                                           GERMANY D‐50933
MRS BERTHA L JACKSON                  2834 VINEWOOD ST                                                                            DETROIT          MI   48216‐1085
MRS BETTIE A HANNAH                   997 FAIRVIEW AVE                                                                            PONTIAC          MI   48340‐2639
MRS BETTY J HALL                      1417 17TH ST                                                                                BEDFORD          IN   47421‐4101
MRS BETTY J LOCKWOOD                  907 BON AIR RD                                                                              LANSING          MI   48917‐2317
MRS BETTY J STAHL                     408 W BUTLER ST                                                                             KOKOMO           IN   46901‐2257
MRS BETTY L BACHE                     11203 TIDEWATER TRL                                                                         FREDERICKSBRG    VA   22408‐2040
MRS BETTY L DUNN                      10044 US HIGHWAY 50 W                                                                       BEDFORD          IN   47421‐8325
MRS BETTY WISE                        1472 HERON RIDGE BLVD                                                                       GREENWOOD        IN   46143
MRS BEVERLY A SHEPPARD                1913 W 11TH ST                                                                              MUNCIE           IN   47302‐2154
MRS BRANDY C JOHNSON                  1721 W 7TH ST                                                                               MUNCIE           IN   47302‐2112
MRS BRENDA J CROCKER                  656 E FOX HILLS DR                                                                          BLOOMFIELD       MI   48304‐1345
MRS BRIGITTE GRUENTER                 FELDSTR 11                                                           DUREN 52355 GERMANY
MRS BRIGITTE WOUTERS                  DEUTSCHE BANK SA/NV             AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MRS CANDACE H LAWSON                  1115 N ARMSTRONG ST                                                                         KOKOMO           IN 46901‐2821
MRS CARMEN A REYES                    3231 LOCKWOOD ST                                                                            DETROIT          MI 48210‐3256
MRS CAROL MORSE                       1002 E COLBY ST                                                                             WHITEHALL        MI 49461
MRS CAROLINE COUVREUR                 C/O DEUTSCHE BANK SA/NV         AVENUE MARNIX 13 15                  1000 BURXELLES BELGIUM
MRS CAROLYN K DAWSON                  2203 N BUCKEYE ST                                                                           KOKOMO           IN   46901‐5814
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Name                              Address1                       Address2              Address3       Address4                  City           State Zip
MRS CAROLYN S HAMMOND             6 PITCAIRN PL                                                                                 NEWARK          DE 19702‐1433
MRS CATHERINE R HARKIN            11051 BUSTLETON AVE                                                                           PHILADELPHIA    PA 19116
MRS CATHRYN M HEWES               37 LYNBROOK RD                                                                                WILMINGTON      DE 19804‐2668
MRS CHARLENE L BLACKBURN          6118 BOB DR                                                                                   YPSILANTI       MI 48197‐8284
MRS CHARLENE Y ROBERTS            1400 E SCHUMACHER ST                                                                          BURTON          MI 48529‐1620
MRS CHERYL D ALLEN                560 BEACH ST                                                                                  MOUNT MORRIS    MI 48458‐1906
MRS CHERYL G ARAUJO               50 GUILD RD                                                                                   FRAMINGHAM      MA 01702‐8713
MRS CHERYL L MEYERS               1137 WESTFIELD RD                                                                             LANSING         MI 48917‐2376
MRS CHRISTINA M RAPUANO           104 MEGHANS CT                                                                                WILMINGTON      DE 19804‐2045
MRS CINDY D COX                   1610 ROOSEVELT AVE                                                                            JANESVILLE      WI 53546‐6040
MRS CLAIRE SOLYOM                 DEUTSCHE BANK SA/NV            AVENUE MARNIX 13 15   1000                                     BRUXELLES
MRS COLETTE ANTOINE               DEUTSCHE BANK SA/NV            AVENUE MARNIX 13 15                  1000 BRUXELLES, BELGIUM
MRS CONSTANCE C WING              31 NIGHTENGALE AVE                                                                            MASSENA        NY   13662‐1719
MRS DEANNA R FLORES               131 W TENNYSON AVE                                                                            PONTIAC        MI   48340‐2673
MRS DEANNA S ELMORE               415 FOX HILLS DR N                                                                            BLOOMFIELD     MI   48304‐1309
MRS DEBORAH A CASH                400 HOLLIS ST APT 3                                                                           FRAMINGHAM     MA   01702‐8614
MRS DEBORAH A NANCE               507 BOXWOOD RD                                                                                WILMINGTON     DE   19804‐2009
MRS DEBORAH K WASSON SOLE & SEP   C/O MRS DEBORAH K WASSON       706 VANDERSLICE DR                                             LONGVIEW       TX   75602
PROPERTY
MRS DEBORAH O HAUGABOOK           448 FOX HILLS DR S APT 4                                                                      BLOOMFIELD     MI   48304‐1352
MRS DEBORAH S SPICER              1614 2ND ST                                                                                   BEDFORD        IN   47421‐1606
MRS DEBRA A FORTENBERRY           1103 E PRINCETON AVE                                                                          FLINT          MI   48505‐1513
MRS DELORES A GILMAN              756 DRYER FARM RD                                                                             LANSING        MI   48917‐2343
MRS DELORES M VANGALDER           1211 ANTHONY AVE APT 2                                                                        JANESVILLE     WI   53546‐6059
MRS DIANA J BIRCHFIELD            512 14TH ST                                                                                   BEDFORD        IN   47421‐3308
MRS DIANA L PARISOT               1312 E HARVARD AVE                                                                            FLINT          MI   48505‐1759
MRS DIANE M WALKER                834 INGLEWOOD AVE                                                                             PONTIAC        MI   48340‐2313
MRS DOLORES M KURTZ               317 BIDDLE DR                                                                                 EXTON          PA   19341‐1710
MRS DONNA K MARTINEZ              2136 E PARKWOOD AVE                                                                           BURTON         MI   48529‐1766
MRS DONNA L SMITH                 11800 BROOKPARK RD TRLR 123                                                                   CLEVELAND      OH   44130‐1100
MRS DONNA M BROCKWAY              2033 ROOSEVELT AVE                                                                            JANESVILLE     WI   53546‐5946
MRS DORA A HAIRSTON               104 S LAURA CT                                                                                WILMINGTON     DE   19804‐2046
MRS DORIS NADDER                  1551 WINNETKA RD                                                                              GLENVIEW       IL   60025
MRS DOROTHY M MADDEN              25 NIGHTENGALE AVE                                                                            MASSENA        NY   13662‐1719
MRS EDITH L SAJDERA               1713 W 13TH ST                                                                                MUNCIE         IN   47302‐2176
MRS ELENA PANINA                  MEMORLAR 14‐88                 NAVOI 706800                         UZBEKISTAN
MRS ELIZABETH A CHRISTIANSON      16 APPLE LN                                                                                   PONTIAC        MI   48340‐1600
MRS ELIZABETH A NETSCHKE          1831 ROCKLEDGE LN                                                                             BLOOMFIELD     MI   48304‐1050
MRS ELIZABETH M HAMMOND           2119 E JUDD RD                                                                                BURTON         MI   48529‐2404
MRS ELSIE E BIGGER                248 W YALE AVE                                                                                PONTIAC        MI   48340‐1866
MRS EMOGENE GERALDS               9963 GERALDINE ST                                                                             YPSILANTI      MI   48197‐6927
MRS ERICA L HENRY                 10 N MAIN ST APT 4                                                                            MASSENA        NY   13662‐1149
MRS ERIN M SHANKS                 2145 S PALM ST                                                                                JANESVILLE     WI   53546‐6116
MRS ESTHER MONTABETTI             7230 NW 8TH COURT                                                                             MARGATE        FL   33063
MRS ETHEL D HILLIE                646 PALMER DR                                                                                 PONTIAC        MI   48342‐1854
MRS EUGENIE HAMLIN                2937 HOPETON ROAD                                                                             LA CRESCENTA   CA   91214
MRS EVA E STULTZ                  16 P ST                                                                                       BEDFORD        IN   47421‐1718
MRS EVELINE DAGMAR LUNDERSTADT    LANDSHUTER STR 32                                                   D‐12309 BERLIN GERMANY
MRS EVELYN B CROWELL              7335 MANDERLY WAY                                                                             KNOXVILLE      TN   37909
MRS EVELYN M COMINS               9 LAUREL AVE APT 103                                                                          MASSENA        NY   13662‐2054
MRS EVELYN ROMERO                 904 GARNET RD                                                                                 WILMINGTON     DE   19804‐2618
MRS FATIMA READER & ADVISOR       1193 RARITAN RD                                                                               CLARK          NJ   07066‐1308
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Name                            Address1                       Address2              Address3       Address4                  City            State Zip
MRS FRANKIE J HOLSEY            1010 MEADOWLAWN DR                                                                            PONTIAC          MI 48340‐1730
MRS GAIL J TAYLOR               66 KAREN CT                                                                                   PONTIAC          MI 48340‐1637
MRS GAYLE A MCCLELLAND          510 BRYNFORD AVE                                                                              LANSING          MI 48917‐2926
MRS GEORGEANN A PORACH          10941 GABRIELLA DR                                                                            CLEVELAND        OH 44130‐1467
MRS GISELA A FLORES             615 KENILWORTH AVE                                                                            PONTIAC          MI 48340‐3237
MRS GISELA ROTH                 UAISERALLEE 15A                                                     FRG‐76133 KARLSCUHE
                                                                                                    GERMANY
MRS GLADYS A ALLEN              34 CENTER ST                                                                                  MASSENA         NY   13662‐1479
MRS GLORIA J KILDOW             212 W FAIRMOUNT AVE                                                                           PONTIAC         MI   48340‐2740
MRS GLORIA J LOFTON             675 KENILWORTH AVE                                                                            PONTIAC         MI   48340‐3239
MRS GLORIA L CARLISLE           1287 LOCKE ST                                                                                 PONTIAC         MI   48342‐1949
MRS GOTTSCHALK, AYLINE KATRIN   DOTZHEIMER STR 178                                                  D65197 WIESBADEN,
                                                                                                    GERMANY
MRS GRACE M KINSEY              6023 LAKE DR                                                                                  YPSILANTI       MI 48197‐7016
MRS GWENDOLYN KIDD              1094 E PRINCETON AVE                                                                          FLINT           MI 48505‐1514
MRS H VAN ECK                   OUDE LUNTERSEWEG 34                                                 6718 W P EDE
                                                                                                    NETHERLANDS
MRS HAN DE KESEL                DEUTSCHE BANK SA/NV            AVENUE MARNIX 13‐15                  1000 BRUXELLES, BELGIUM
MRS HEATHER A MONIERE           250 MAIN ST APT 1                                                                             MASSENA         NY   13662‐1917
MRS HEATHER L ADAMS             700 W 11TH ST                                                                                 MUNCIE          IN   47302‐3131
MRS HEATHER L SIENKIEWYCZ       16 CHESTNUT ST                                                                                MASSENA         NY   13662‐1808
MRS HELEN A HOBBS               2048 JOLSON AVE                                                                               BURTON          MI   48529‐2032
MRS HELEN C HAYES               41 BRIDGES AVE                                                                                MASSENA         NY   13662‐1855
MRS HELEN L CROUCH              612 SPRING DR                                                                                 BEDFORD         IN   47421‐9630
MRS HELEN L FORD                1617 2ND ST                                                                                   BEDFORD         IN   47421‐1605
MRS HELEN L PARKER              480 FOX HILLS DR S APT 1                                                                      BLOOMFIELD      MI   48304‐1356
MRS HELEN N TUCK                1601 W 6TH ST                                                                                 MUNCIE          IN   47302‐2186
MRS HELEN T OPALECKY            11131 NAOMI DR                                                                                CLEVELAND       OH   44130‐1555
MRS HELENA R JEBB               500 BECKER AVE                                                                                WILMINGTON      DE   19804‐2104
MRS HILDA F BRIMM               1495 E SCOTTWOOD AVE                                                                          BURTON          MI   48529‐1625
MRS HILDA K MUNRO               64 CENTER ST APT 6                                                                            MASSENA         NY   13662‐1403
MRS HOLLY J GOMMEL              1936 W 10TH ST                                                                                MUNCIE          IN   47302‐2145
MRS IDA B COWLEY                PO BOX 802                                                                                    ELIZABETHTOWN   KY   42702
MRS IDA M TRUSTY                1016 CENTERVILLE RD                                                                           WILMINGTON      DE   19804‐2004
MRS IGNACIA RIOS                819 W GRAND BLVD                                                                              DETROIT         MI   48216‐1056
MRS INGRID ANTHOON              C/O DEUTSCHE BANK SA/NV        AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MRS IRMA E BARR‐HEIBECK         610 N AUGUSTINE ST                                                                            WILMINGTON      DE   19804‐2604
MRS JACQUELINE A KESTER         718 LIVINGSTON AVE                                                                            PONTIAC         MI   48340‐2445
MRS JAMES H BAKER               18 RIDGEWOOD AVE                                                                              MASSENA         NY   13662‐2114
MRS JANET A MANLEY              2215 E BUDER AVE                                                                              BURTON          MI   48529‐1735
MRS JANET A SCOTT               17 GROVE ST                                                                                   MASSENA         NY   13662‐2131
MRS JANET C MANSFIELD           619 LANCASTER LN                                                                              PONTIAC         MI   48342‐1853
MRS JANET L KUBASEK             715 WOODSEDGE RD                                                                              WILMINGTON      DE   19804‐2625
MRS JANET M BOUCHEY             1 GRASSMERE TER APT 19                                                                        MASSENA         NY   13662‐2162
MRS JEANNE M LYONS              227 W STRATHMORE AVE                                                                          PONTIAC         MI   48340‐2779
MRS JEANNE W GREEN              25401 ANNS CHOICE WAY                                                                         WARMINSTER      PA   18974‐3365
MRS JEANNETTE G LAVIGNE         6123 LAKE DR                                                                                  YPSILANTI       MI   48197‐7048
MRS JENNIFER S STEPNEY          625 BUENA VISTA ST APT 4                                                                      MOUNT MORRIS    MI   48458‐1961
MRS JILL M BROWN                608 FALLON AVE                                                                                WILMINGTON      DE   19804‐2112
MRS JOAN DANYLAK                111‐20 73RD AVE APT 7A                                                                        FOREST HILLS    NY   11375‐5537
MRS JOANN A BALCOMB             4108 WOODROW AVE                                                                              BURTON          MI   48509‐1052
MRS JOANN B SANDERS             720 MELROSE ST                                                                                PONTIAC         MI   48340‐3119
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Name                        Address1                         Address2              Address3       Address4                  City            State Zip
MRS JOANNA L STEMMER        211 W STRATHMORE AVE                                                                            PONTIAC          MI 48340‐2779
MRS JOHANNA F LANGE         1516 ANTHONY AVE                                                                                JANESVILLE       WI 53546‐6010
MRS JOSEE DUPUIS            6340 AV DES JALESNES                                                  ANJOU QC H1M 1Y2
                                                                                                  CANADA
MRS JOSEPHIN GORDON         3814 PITKIN AVE                                                                                 FLINT           MI   48506‐4235
MRS JUANITA W GREEN         288 BLOOMFIELD BLVD                                                                             BLOOMFIELD      MI   48302‐0510
MRS JUDITH A LESTER         9940 JULIE DR                                                                                   YPSILANTI       MI   48197‐8291
MRS JULIA M MCLAIN          2243 E BUDER AVE                                                                                BURTON          MI   48529‐1735
MRS JULIE DE JONG           DEUTSCHE BANK SA/NV              AVENUE MARNIX 13 15                  1000 BRUXELLES, BELGIUM
MRS JULIE M PEREZ           2108 BRADY AVE                                                                                  BURTON          MI   48529‐2425
MRS JULIE S DUMAS           67 ROOSEVELT RD                                                                                 MASSENA         NY   13662‐3373
MRS JULIETTE F FARAH        1241 E HAMILTON AVE                                                                             FLINT           MI   48506‐3210
MRS JUNE M WOOLARD          4269 COLUMBINE AVE                                                                              BURTON          MI   48529‐2401
MRS JUNE P NEWSOME          1810 N WASHINGTON ST TRLR 9                                                                     KOKOMO          IN   46901‐2277
MRS KAREN A MCNALLY         2219 E PARKWOOD AVE                                                                             BURTON          MI   48529‐1767
MRS KAREN D PRICE           709 BECKER CT                                                                                   WILMINGTON      DE   19804‐2100
MRS KATHARINA BILOWITZKI    PARKSTRASSE 79                                                        22605 HAMBURG
                                                                                                  GERMANY
MRS KATHLEEN A WAHLERS      1024 W POWERS ST                                                                                MUNCIE          IN   47305‐2139
MRS KATHLEEN G DEYMAN       8928 ORANGE HUNT LN                                                                             ANNANDALE       VA   22003‐4125
MRS KATHLEEN GRUWELL        604 W 9TH ST                                                                                    MUNCIE          IN   47302‐3121
MRS KATHLEEN J MYERS        705 WEYBRIDGE DR                                                                                BLOOMFIELD      MI   48304‐1085
MRS KATHLEEN KEEFE‐RAFFEL   MR COREY RAFFEL                  102 ASHBOURNE RD                                               BEXLEY          OH   43209‐1451
MRS KATHLEEN M BOYEA        69 PROSPECT AVE                                                                                 MASSENA         NY   13662‐1746
MRS KATHLEEN M MADIGAN      625 E FOX HILLS DR                                                                              BLOOMFIELD      MI   48304‐1341
MRS KATHRYN F MOSHER        3829 HOLLY AVE                                                                                  FLINT           MI   48506‐3108
MRS KATRINA S STAFFORD      600 W 10TH ST                                                                                   MUNCIE          IN   47302‐3125
MRS KERSTIN GRUENTER        FELDSTR 11                                                            DUREN 52355 GERMANY
MRS KIM A GREETHAM          109 SUMMIT ST                                                                                   PONTIAC         MI   48342‐1167
MRS LAURIE L HUFF           1402 OCONNOR AVE                                                                                LINCOLN PARK    MI   48146‐1741
MRS LAVERNE R COLOMBO       11300 GABRIELLA DR                                                                              PARMA           OH   44130‐1335
MRS LAVONNE B REIL          19 1/2 ROCKAWAY ST                                                                              MASSENA         NY   13662‐2111
MRS LAWANDA A KITTS         133 LEGRANDE AVE                                                                                PONTIAC         MI   48342‐1136
MRS LEILA R HAMMER          460 NEPTUNE AVE 15F                                                                             BROOKLYN        NY   11224
MRS LENORE B OTTO           488 CESAR E CHAVEZ AVE                                                                          PONTIAC         MI   48342‐1052
MRS LINA WAHLIG             BRUCKNERSTR 11 E                                                      D 76744 WORTH / RHEIN
                                                                                                  GERMANY
MRS LINA WAHLIG             BRUCKNERSTR 11E                                                       D 76744 WORTH/RHEIN
                                                                                                  GERMANY
MRS LINDA L GORDON          2213 N LAFOUNTAIN ST                                                                            KOKOMO          IN   46901‐1405
MRS LINDA L HENTHORN        1604 EVERGREEN DR                                                                               JANESVILLE      WI   53546‐6176
MRS LINDA L LUCAS           1825 N BELL ST                                                                                  KOKOMO          IN   46901‐2306
MRS LINDA R MCCLELLAND      211 W RUTGERS AVE                                                                               PONTIAC         MI   48340‐2763
MRS LISA A BERRY            740 DRYER FARM RD                                                                               LANSING         MI   48917‐2343
MRS LISA R CRAVEN           12177 HARTEL ST                                                                                 LIVONIA         MI   48150‐2331
MRS LUCIE DE KONINCK        C/O DEUTSCHE BANK SA/NV          AVENUE MARIX 13 15                   1000 BRUXELLES BELGIUM
MRS LYDIA SCHMAUDER         BERGER STR 310                                                        60385 FRANKFURT
                                                                                                  GERMANY
MRS LYN H BLANK             11005 STACY RUN                                                                                 FREDERICKSBRG   VA 22408‐8075
MRS LYNDA R LACONO          603 HARWOOD RD                                                                                  WILMINGTON      DE 19804‐2656
MRS M WYTEN                 44 SPRINGFIELD AVE                                                    T4N 0C7 RED DEAR AB
                                                                                                  CANADA
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Name                            Address1                      Address2              Address3       Address4                 City           State Zip
MRS MADELYN F COLE              105 LAKE ST                                                                                 HOLLY           MI 48442‐1206
MRS MAE G SCOTT                 3605 LOVETT ST                                                                              DETROIT         MI 48210‐3138
MRS MARCELLA F HUSTED           704 E FOX HILLS DR                                                                          BLOOMFIELD      MI 48304‐1360
MRS MARCELLA L KENNON           3544 MCKINLEY ST                                                                            DETROIT         MI 48208‐2347
MRS MARIA E BERNARD             142 HUDSON AVE                                                                              PONTIAC         MI 48342‐1129
MRS MARIA M DIAZ                989 FAIRVIEW AVE                                                                            PONTIAC         MI 48340‐2639
MRS MARIANNA I EMERY            6 LLOYD ST                                                                                  WILMINGTON      DE 19804‐2820
MRS MARIANNE FRANK              WIESENTAL ST 75                                                    70771 LEINFALDEN‐
                                                                                                   ECHTERDINGEN GERMANY
MRS MARIE LANGBEIN MALKEY       61 ECHO LANE                                                                                LARCHMONT      NY 10538‐2203
MRS MARLENE GOLLNISCH           AM GIBBELSBERG 14                                                  50933 KOLN GERMANY
MRS MARLENE RUTLEDGE            718 SPELLMAN DR                                                                             FLINT          MI 48503‐5228
MRS MARTHA B WILLS              1110 BLACKSHEAR RD                                                                          CORDELE        GA 31015
MRS MARTHA ENGEL                SCHNEPFENWEG 5                                                     D‐30900 WEDEMARK
                                                                                                   GERMANY
MRS MARY A SNIDER               2140 SCOTTEN ST                                                                             DETROIT        MI   48209‐1667
MRS MARY CAMPBELL               38 WHITNEY CIRCLE                                                                           GLEN COVE      NY   11542‐1316
MRS MARY E AKINS                842 ORLANDO AVE                                                                             PONTIAC        MI   48340‐2355
MRS MARY E MEYERS               2285 E BUDER AVE                                                                            BURTON         MI   48529‐1775
MRS MARY J MCLAUGHLIN           908 W 15TH ST                                                                               MUNCIE         IN   47302‐3064
MRS MARY R CRYSTAL              601 N AUGUSTINE ST                                                                          WILMINGTON     DE   19804‐2603
MRS MARY W BOLIN                2121 N APPERSON WAY                                                                         KOKOMO         IN   46901‐1421
MRS MATTIE R THORNTON           501 14TH ST                                                                                 BEDFORD        IN   47421‐3307
MRS MAXINE R SMITH              1919 FOX RIVER DR                                                                           BLOOMFIELD     MI   48304‐1023
MRS MAYME L CLEVELAND           G5402 HORTON ST                                                                             FLINT          MI   48505‐1784
MRS MEGAN K RANGER              2172 E PARKWOOD AVE                                                                         BURTON         MI   48529‐1766
MRS MELANIE GRUENTER            FELDSTR 11                                                         DUREN 52355 GERMANY
MRS MILDRED ARTHUR              1525 3RD ST                                                                                 BEDFORD        IN 47421‐1719
MRS MITTIE L MORGAN             4372 BARNES AVE                                                                             BURTON         MI 48529‐2175
MRS MONIKA GONIN FRISCHKNECHT   VORACKERRAIN N.4                                                   3073 GUMLIGEN AUSTRIA
MRS MONIQUE MALVAUX             DEUTSCHE BANK SA/NV           AVENUE MARNIX 13‐15   1000                                    BRUXELLES
MRS MONIQUE VAN DEN NOOTGATE    C/O DEUTSCHE BANK SA/NV       AVENUE MARNIX 13 15                  1000 BRUXELLES BELGIUM
MRS MORITA E SPERRA             MRS MORITA E SPERRA           2 ASHMONT CT                                                  WHITING        NJ   08759
MRS NANCY A CASS                2157 N ARMSTRONG ST                                                                         KOKOMO         IN   46901‐5802
MRS NANCY J HOWARD              1244 STANLEY AVE                                                                            PONTIAC        MI   48340‐1745
MRS NANCY L HOWELL              6150 ROBERT CIR                                                                             YPSILANTI      MI   48197‐8278
MRS NANCY R THICK               192 W LONGFELLOW AVE                                                                        PONTIAC        MI   48340‐1832
MRS NICOLE M TARANTINO          707 BECKER CT                                                                               WILMINGTON     DE   19804‐2100
MRS NORMA J FOSTER              311 N DEERFIELD AVE                                                                         LANSING        MI   48917‐2910
MRS NORNA L SMITH               1289 E PRINCETON AVE                                                                        FLINT          MI   48505‐1754
MRS ODENA M CORLEW              45 W ORVIS ST APT 3                                                                         MASSENA        NY   13662‐1863
MRS ODILE G LACOMB              34 GROVE ST                                                                                 MASSENA        NY   13662‐2100
MRS PATRICIA A THOMAS           905 CENTERVILLE RD                                                                          WILMINGTON     DE   19804‐2633
MRS PATRICIA CARTER             ACCT OF MICHAEL CARTER        3 PALOMINO CT                                                 SPOTSYLVANIA   VA   22551‐8822
MRS PATRICIA R TAMBOURELLI      202 LAURA CT                                                                                WILMINGTON     DE   19804‐2016
MRS PAULA A LOFORESE            1018 BOYNTON DR                                                                             LANSING        MI   48917‐1760
MRS PAULA Y ELLIS               645 LANCASTER LN                                                                            PONTIAC        MI   48342‐1853
MRS PAULINE M DOBIS             2100 E SCHUMACHER ST                                                                        BURTON         MI   48529‐2436
MRS PENNY K STROUSE             1920 W 11TH ST                                                                              MUNCIE         IN   47302‐2153
MRS PHYLLIS J MERWIN            29124 ELMIRA ST                                                                             LIVONIA        MI   48150‐3161
MRS RAYMOND F KRUPA             312 CENTRAL AVE                                                                             WILMINGTON     DE   19805‐2416
MRS REGINA TOSCAN               C/O DEUTSCHE BANK SA/NV       AVENUE MARNIX 13‐15                  1000 BRUXELLES BELGIUM
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Name                            Address1                          Address2                      Address3        Address4                  City              State Zip
MRS RHONDA L SLOAN              1221 1/2 W POWERS ST                                                                                      MUNCIE             IN 47305‐2144
MRS ROBERTA JANE DAREY          976 APPLE BLOSSOM LANE                                                                                    ORREVILLE          OH 44667
MRS ROBERTA R ECKLEY            1155 NORTH LISBON ST                                                                                      CARROLLTON         OH 44615
MRS ROSA TAYLOR                 408 LINCOLN AVE                                                                                           BEDFORD            IN 47421‐2112
MRS ROSALINDA ANDRADE           4877 SAINT HEDWIG ST                                                                                      DETROIT            MI 48210‐3222
MRS ROSEMARY BEHLES             2216 S ARCH ST                                                                                            JANESVILLE         WI 53546‐5956
MRS ROSEMARY C SAMMARCO         1865 EILEEN WAY                                                                                           POINT PLEASANT     NJ 08742
MRS RUBY M GULLEY               197 WOLFE ST                                                                                              PONTIAC            MI 48342‐1575
MRS RUTH A MOORMAN              1709 S BIRCH ST                                                                                           MUNCIE             IN 47302‐2269
MRS RUTH L LONG                 21 W CORNELL AVE                                                                                          PONTIAC            MI 48340‐2717
MRS RUTH M CLARKSON             22 GRASSMERE AVE                                                                                          MASSENA            NY 13662‐2033
MRS SABINE L PEREZ              3376 GOLDNER ST                                                                                           DETROIT            MI 48210‐3200
MRS SALLY M KRAMER              116 THE WOODS                                                                                             BEDFORD            IN 47421‐9300
MRS SANDRA J MUTCHLER           1324 KING ST                                                                                              JANESVILLE         WI 53546‐6026
MRS SANDRA M ANDERSON           1080 E HUMPHREY AVE                                                                                       FLINT              MI 48505‐1510
MRS SANORI SANDRA               VIA FRESCOBALDI 15                                                              36060 ROMANO DEZZELINO
                                                                                                                VICENZA ITALY
MRS SARAH J DAVIS               721 E FOX HILLS DR                                                                                        BLOOMFIELD        MI   48304‐1307
MRS SHANNON G CLARK             430 FOX HILLS DR N APT 3                                                                                  BLOOMFIELD        MI   48304‐1327
MRS SHARON P COX                456 W FAIRMOUNT AVE                                                                                       PONTIAC           MI   48340‐1621
MRS SHERRY W WIGGINS‐BAKER      580 FOX HILLS DR S                                                                                        BLOOMFIELD        MI   48304‐1316
MRS SIMONE DE ROY               C/O DEUTSCHE BANK SA/NV           AVENUE MARNIX 13 15                           1000 BRUXELLES BELGIUM
MRS STEPHANIE K LOKKEN          655 BUENA VISTA ST                                                                                        MOUNT MORRIS      MI   48458‐1909
MRS SUE A SPENCER               2095 E WHITTEMORE AVE                                                                                     BURTON            MI   48529‐1725
MRS SUSAN H HAUER               40 NIGHTENGALE AVE                                                                                        MASSENA           NY   13662‐1715
MRS SUSAN J SARDINA             5531 CHEVROLET BLVD APT B408                                                                              PARMA             OH   44130‐1492
MRS SUSAN L YOH                 33 SUMMIT ST                                                                                              PONTIAC           MI   48342‐1163
MRS TAMMY MCCONNAUGHEY          1901 W 8TH ST                                                                                             MUNCIE            IN   47302‐2117
MRS TANYA A LASHOMB             45 W ORVIS ST APT 7                                                                                       MASSENA           NY   13662‐1863
MRS TERRI L GREEN               2151 E SCOTTWOOD AVE                                                                                      BURTON            MI   48529‐1751
MRS TERRY L LOVE                718 LOYOLA DR                                                                                             FLINT             MI   48503‐5222
MRS THELMA L MAYERNIK           11121 GABRIELLA DR                                                                                        CLEVELAND         OH   44130‐1471
MRS THERESA B CHESERONE         803 N AUGUSTINE ST                                                                                        WILMINGTON        DE   19804‐2607
MRS URSULA STEINAU              DR BOETTCHER‐STR 15                                                             D‐81245 MUNCHEN
                                                                                                                GERMANY
MRS VANESSA N DENBY             710 BOXWOOD RD                                                                                            WILMINGTON        DE 19804‐2047
MRS VASSILIKI KARYSTINOV        MRS ALEXANDRA KARYSTINOV          MRS SOFIA KARYSTINOV          PO BOX 78523    17602 TZITZIFIES ATHENS
                                                                                                                GREECE
MRS VERA SCHNEIDER, TOD JASON   SCHNEIDER, JONATHON SCHNEIDER &   LIANE DISTEFANO SUBJECT STA   61‐19 76TH ST                             MIDDLE VLG        NY 11379
                                                                  RULES
MRS VICTORIA L CLIMIE           2066 E BUDER AVE                                                                                          BURTON            MI   48529‐1732
MRS VIRGINIA A IRWIN            25 E YPSILANTI AVE                                                                                        PONTIAC           MI   48340‐1978
MRS VIRGINIA L SMITH            108 UNIVERSITY PLACE DR                                                                                   PONTIAC           MI   48342‐1889
MRS WANDA L MULLIGAN            603 N WALNUT ST                                                                                           WILMINGTON        DE   19804‐2623
MRS WILLA M COYNE               1709 W 10TH ST                                                                                            MUNCIE            IN   47302‐2144
MRS WILMA L HOBBS               1810 N MORRISON ST                                                                                        KOKOMO            IN   46901‐2149
MRS YOLANDA M KELLER            1710 N LAFOUNTAIN ST                                                                                      KOKOMO            IN   46901‐2324
MRS YVONNE B HALL               191 W KENNETT RD APT 303                                                                                  PONTIAC           MI   48340‐2680
MRS YVONNE G FOSTER             1402 2ND ST                                                                                               BEDFORD           IN   47421‐1704
MRS. ALICIA Z GURNE             2105 FLINTON VIEW CIR                                                                                     ROCHESTER HILLS   MI   48309
MRS. DOUGLAS ANN SLUSHER        4729 BARCLAY SQUARE                                                                                       ROANOKE           VA   24018
MRS. FRANCIS LYNN LENARD
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Name                                 Address1                             Address2                      Address3                Address4                City            State Zip
MRS. HASSAN                          935 VAUXHALL ST. EXT                                                                                               QUAKER HILL      CT 06375
MRS. JOSEPHINE MORABITO              600 BREEZE PARK DR                   APT 301                                                                       ST CHARLES       MO 63304
MRS. KATHY SMITH
MRS. M. S. T.
MRS. TEDDY CARUSO
MRS. WILLIAM ELLIOTT                 10 DUBSON CIR                                                                                                      DENVER          PA 17517
MRS.BARBARA PASSEY                   630 STORMONT ST.                                                                           PETERBOROUGH ON K9M
                                                                                                                                6A6 CANADA
MRSE/CHARLTN CTY                     PO BOX 836                           ATTN: ACCOUNTS RECEIVABLE                                                     CHARLTON CITY   MA 01508‐0836
MRT ROBOTIC                          125 RUE DES PME                                                                            SHERBROOKE CANADA PQ
                                                                                                                                J1C 0R2 CANADA
MRT ROBOTIQUE INC                    125 RUE DES PME                                                                            SHERBROOKE QC J1C 0R2
                                                                                                                                CANADA
MRT STEERING COMMITTEE               C/O P DEVEAU/SOMMER & BARNARD        PO BOX 44363                                                                  INDIANAPOLIS    IN   46244‐0363
MRUCZEK, CHARLES B                   1012 OLD HARBOUR PL                                                                                                YOUNGSTOWN      OH   44511‐3715
MRUDULA K VYAS                       2472 VALLEY LN                                                                                                     GRAND BLANC     MI   48439
MRUGALA, DOUGLAS M                   195 WOODLAND DR                                                                                                    KENMORE         NY   14223‐1657
MRUGALSKI JR, ALFRED S               112 SOUTHERN PKWY                                                                                                  CHEEKTOWAGA     NY   14225‐4153
MRUK JOSEPH (ESTATE OF)
MRUK JOSEPH (ESTATE OF) (499116)     (NO OPPOSING COUNSEL)
MRUK JOSEPH (ESTATE OF) (499116) ‐   (NO OPPOSING COUNSEL)
SACCENTE JACQUELINE
MRUK, BEVERLY J                      11191 MACKINAW STRAITS DR                                                                                          CHEBOYGAN       MI   49721‐8625
MRUS, CALEE S                        420 BUTLER RD NE                                                                                                   WARREN          OH   44483‐5606
MRUS, JANE L                         2158 FIRESTONE WAY                                                                                                 LAKELAND        FL   33810‐3810
MRUS, MARIE J                        5785 EMERSON AVE NW                                                                                                WARREN          OH   44483‐1119
MRUS, ROSEANN F                      5489 MAHONING AVE NW                                                                                               WARREN          OH   44483‐1133
MRUS, TIMOTHY J                      PO BOX 351731                                                                                                      PALM COAST      FL   32135‐1731
MRUS, WALTER E                       173 STATE RD NW                                                                                                    WARREN          OH   44483‐1619
MRUZIK, GEORGE W                     15124 COLSON ST                                                                                                    DEARBORN        MI   48126‐3008
MRYNCZA GARY G (475925)              ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                    BALTIMORE       MD   21202
                                                                          CHARLES CENTER 22ND FLOOR
MRYNCZA, GARY G                      ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                                     BALTIMORE       MD 21202‐3804
                                                                          CHARLES CENTER 22ND FLOOR
MRYTLE GOOCH                         1 COUNTRY LN RM L113                                                                                               BROOKVILLE      OH   45309‐7207
MS & CO                              C/O JOSEPH CASTELLANO                338 SANDSTONE RD                                                              BUDD LAKE       NJ   07828
MS & CO C/F                          CHARLES T SANDERS                    3283 MOLINO RD                                                                MOLINO          FL   32577
MS & CO C/F                          BERNARD KRAISMAN                     IRA STANDARD DATED 3/19/07    303 E 57TH ST APT 16D                           NEW YORK        NY   10022
MS & CO C/F                          JOHN DE BLOOIS                       IRA STD/SEP                   307 HUNTERS RIDGE WAY                           MAGNOLIA        DE   19962
MS & CO C/F                          C/O CARTER & RUBY IRA STANDARD DTD   2610 CORDELIA RD                                                              LOS ANGELES     CA   90049‐1220
                                     9/7/84
MS & CO C/F                          C/O PAULINE E LITCHFIELD             1331 W FEEMSTER                                                               VISALIA         CA   93277‐4534
MS & CO C/F                          S BRUCE HARRISON                     IRA ROLLOVER DATED 11/10/95   3856 HANLEY RD                                  CINCINNATI      OH   45247‐5043
MS & CO C/F                          C/O EUGENE L SPECK                   2228 CHATSWORTH COURT                                                         HENDERSON       NY   89074
MS & CO C/F                          JEROME HRUSKA                        PO BOX 80540                                                                  LAS VEGAS       NV   89180‐0540
MS & CO C/F                          DONNA L HRUSKA                       PO BOX 80540                                                                  LAS VEGAS       NV   89180‐0540
MS & CO C/F                          ABRAHAM SCHINDLER                    IRA ROLLOVER DATED 12/06/06   16 PIEDMONT A                                   DELRAY BEACH    FL   33484‐5003
MS & CO C/F                          JANICE MATSON                        1106 VALLEY AVE                                                               ALBERT LEA      MN   56007
MS & CO C/F                          C/O DANIEL LOUIS WASNICK             IRA ROLLOVER DTD 02/25/86     555 E SANDRA AVE                                TULARE          CA   93274
MS & CO C/F                          DONALD G SLOO                        8116 RUMFORD ROAD                                                             INDIANAPOLIS    IN   46219‐3961
MS & CO C/F                          GARY M MASTRY                        6851 CYPRESS GROVE CIRCLE                                                     PUNTA GORDA     FL   33992‐9697
MS & CO C/F                          BERNARD A KUTE                       IRA ROLLOVER DATED 6/20/83    1600 VIA TURQUESA                               LAS CRUCES      NM   88007‐8918
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Name                                     Address1                         Address2                       Address3                   Address4         City           State Zip
MS & CO C/F                              JACQUELINE KIBIN                 16819 ASPEN WAY                                                            SOUTHGATE       MI 48195
MS & CO C/F                              THEODORE AIN                     C/O KENT REALTY                136‐48 39TH AVE                             FLUSHING        NY 11354
MS & CO C/F                              WILFRED SCHWANDT                 IRA ROLLOVER DATED 01/24/03    12635 N PIOMEER WAY                         TUCSON          AZ 85755‐8930
MS & CO C/F                              EDWARD FINN                      IRA ROLLOVER DATED 02/03/03    3 LYON COURT                                MANCHESTER      NJ 08759‐6284
MS & CO C/F                              ROBERT AMADIO                    IRA STANDARD DATED 11/10/03    434 RAMSEY RD                               YARDLEY         PA 19067‐4639
MS & CO C/F                              ANDREW O ZIRNGIBL                IRA STANDARD DATED 8/23/08     10715 FOOTPRINT LANE                        PORT RICHEY     FL 34668‐2713
MS & CO C/F                              ANN MORGAN BROCK                 IRA STD/ROLLOVER DTD 3/14/91   1513 SYLVAN DR                              ARLINGTON       TX 76012‐2424
MS & CO C/F ARNOLD GREENBERG             84 ACORN PONDS DRIVE                                                                                        ROSLYN          NY 11576
MS & CO C/F C/F DON JOHNSON              194 FAIRWAY DR                                                                                              SEQUIM          WA 98382
MS & CO C/F DAVID LEHMAN                 IRA ROLLOVER DTD 01/22/2003      5658 WEDGE LANE                                                            ALLENTOWN       PA 18106‐7682
MS & CO C/F EDMUND KOENIG IRA            ROUTE 597 CANAAN RD                                                                                         WAYMART         PA 18472
MS & CO C/F ERNEST C FILICE SR           IRA ROLLOVER DATE 3/29/96        5500 1‐E PASEO DEL LAGO WEST                                               LAGUNA WOODS    CA 92673
MS & CO C/F GEORGE SNOLLENBERGER         IRA ROLLOVER                     547 ROBYS LANDING                                                          COLDWATER       MI 49036
MS & CO C/F IRA OF                       JOSEPH FICARA                    324 CROCE AVE                                                              GIBBSTOWN       NJ 08027‐1620
MS & CO C/F MARY JANE KENNARD            IRA ROLLOVER DTD 7/24/00         698 HOLIDAY DR                                                             WILLARD         OH 44890
MS & CO C/F MARY JANE KENNARD            IRA ROLLOVER DATED 7/24/00       698 HOLIDAY DR                                                             WILLARD         OH 44890
MS & CO CF                               JEANETTE ROSENBERGER             IRA ROLLOVER DATED 11/30/90    737 S DEQUINCY ST                           INDIANAPOLIS    IN 46203‐1626
MS & CO CUST FBO VINCENT J OLIVERI IRA   15 FRANCELLA ROAD                                                                                           METHVEN         MA 01844

MS & COMPANY C/F                         JACKSON H CUNDIFF IRA ROLLOVER   DATED 2/18/03                  5473 TIMBER CREEK CIRCLE                    PACE           FL   32571‐6201
MS + CO ALBERT BLAKENSHIP JR             2912 N TUCSON BLVD                                                                                          TUCSON         AZ   85716
MS ABBY J SHELLEY                        814 I ST                                                                                                    BEDFORD        IN   47421‐2622
MS ABBY L GRIFFITHS                      25 LAUREL AVE                                                                                               MASSENA        NY   13662‐2029
MS ABBY W BURGER                         29 ELM ST                                                                                                   MASSENA        NY   13662‐1827
MS ADA CLARK                             1937 W 10TH ST                                                                                              MUNCIE         IN   47302‐2146
MS ADA F WALTERS                         1526 N MCCANN ST                                                                                            KOKOMO         IN   46901‐2060
MS ADA I ANTWINE                         16 KENT ST                                                                                                  MASSENA        NY   13662‐2119
MS ADA M HALEY                           606 PEERLESS RD                                                                                             BEDFORD        IN   47421‐1548
MS ADA P SIMONETTA                       450 HOLLIS ST                                                                                               FRAMINGHAM     MA   01702‐8623
MS ADELE HOPKINS                         2073 FOX GLEN CT                                                                                            BLOOMFIELD     MI   48304‐1007
MS ADELINE DOMINGUEZ                     58 GUILD RD                                                                                                 FRAMINGHAM     MA   01702‐8763
MS ADELLE M SCANSAROLI                   29 BATES RD                                                                                                 FRAMINGHAM     MA   01702‐8703
MS ADRENA S WILBON                       1505 BRISTOL COURT DR                                                                                       MOUNT MORRIS   MI   48458‐2183
MS ADRIANA ANDRADE                       445 HOLLIS ST                                                                                               FRAMINGHAM     MA   01702‐8646
MS ADRIANNE E SANDTVEIT                  4394 DONCASTER AVE                                                                                          HOLT           MI   48842‐2066
MS ADRIENNE DAVIS                        1242 AMOS ST                                                                                                PONTIAC        MI   48342‐1804
MS ADRIENNE N SMITH                      1101 PARKSIDE RD                                                                                            CLEVELAND      OH   44108‐2969
MS AERAN LEE                             680 ROLLING ROCK RD                                                                                         BLOOMFIELD     MI   48304‐1055
MS AGNES A OVADEK                        1031 ANGOLA AVE                                                                                             MOUNT MORRIS   MI   48458‐2101
MS AGNES F UNIATOWSKI                    1 GREENWOOD RD                                                                                              WILMINGTON     DE   19804‐2650
MS AGNES J CASHMAN                       605 E FOX HILLS DR                                                                                          BLOOMFIELD     MI   48304‐1303
MS AGNES K BYARS                         2120 SAVOY AVE                                                                                              BURTON         MI   48529‐2174
MS AGNES M DAWLEY                        20 MONROE PKWY                                                                                              MASSENA        NY   13662‐1217
MS AILEEN HILLMAN                        103 W TENNYSON AVE                                                                                          PONTIAC        MI   48340‐2673
MS AILEEN M ENGLAND                      2145 E WILLIAMSON ST                                                                                        BURTON         MI   48529‐2445
MS AIMEE D HIRTZ                         4036 BRIARWOOD APTS APT E2                                                                                  BEDFORD        IN   47421‐5804
MS AIMEE J MUNSON                        88 ANDREWS ST APT 2                                                                                         MASSENA        NY   13662‐1888
MS AIRELE M TILLMAN                      755 NEWMAN LN                                                                                               PONTIAC        MI   48340‐3306
MS AKEYA N MCLAUGHLIN                    1905 BRISTOL COURT DR                                                                                       MOUNT MORRIS   MI   48458‐2187
MS ALANA M MATTHEWS                      1478 WEBBER AVE                                                                                             BURTON         MI   48529‐2038
MS ALANA R MUNDY                         511 FOX HILLS DR N                                                                                          BLOOMFIELD     MI   48304‐1311
MS ALDENE R MUHLSTADT                    11351 AARON DR                                                                                              CLEVELAND      OH   44130‐1264
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Name                        Address1                     Address2            Address3         Address4         City           State Zip
MS ALDOCIA BRITTEN          1266 E KURTZ AVE                                                                   FLINT           MI 48505‐1765
MS ALECIA S ROBINSON        451 FOX HILLS DR S APT 7                                                           BLOOMFIELD      MI 48304‐1353
MS ALEJANDRA B OROZCO       2353 CLARK ST                                                                      DETROIT         MI 48209‐1335
MS ALEMNESH T JIMMA         129 CHARLES LN                                                                     PONTIAC         MI 48341‐2928
MS ALESHA S GEORGE          8268 JOHN R ST                                                                     DETROIT         MI 48202‐2500
MS ALESIA F HERRING         243 W CORNELL AVE                                                                  PONTIAC         MI 48340‐2725
MS ALESIA F SCOTT           594 LANCASTER LN                                                                   PONTIAC         MI 48342‐1849
MS ALETHA M MUHAMMAD        1412 BRISTOL COURT DR                                                              MOUNT MORRIS    MI 48458‐2182
MS ALETHIA WILLIAMS         643 LANCASTER LN                                                                   PONTIAC         MI 48342‐1853
MS ALEXANDRA C MARKELL      1904 STATE HIGHWAY 420                                                             MASSENA         NY 13662‐3344
MS ALEXANDRA C SMITH        609 E FOX HILLS DR                                                                 BLOOMFIELD      MI 48304‐1303
MS ALEXANDRA CREMEANS       5629 CHEVROLET BLVD APT 1                                                          PARMA           OH 44130‐8708
MS ALEXANDRA R DELBRIDGE    3821 HOLLY AVE                                                                     FLINT           MI 48506‐3108
MS ALEXANDRIA G RODRIGUEZ   42 W YPSILANTI AVE                                                                 PONTIAC         MI 48340‐1870
MS ALEXANDRIA L WERT        G4111 S SAGINAW ST                                                                 BURTON          MI 48529‐1636
MS ALEXIS F HAYMER          8243 BURKSHIRE CIR 107                                                             SWARTZ CREEK    MI 48473‐1832
MS ALEXIS L TAYLOR          510 E WITHERBEE ST                                                                 FLINT           MI 48505‐4762
MS ALEYCE M JOSHUA          40750 WOODWARD AVE UNIT 31                                                         BLOOMFIELD      MI 48304‐5113
MS ALIA A ALLEN             757 W GRAND BLVD                                                                   DETROIT         MI 48216‐1056
MS ALIA H AHMAD             536 FOX RIVER DR                                                                   BLOOMFIELD      MI 48304‐1010
MS ALICE A PAQUETTE         3829 LORRAINE AVE                                                                  FLINT           MI 48506‐4237
MS ALICE B RAYMOND          1328 GRAM ST                                                                       BURTON          MI 48529‐2022
MS ALICE D HARDMAN          1300 E CORNELL AVE                                                                 FLINT           MI 48505‐1751
MS ALICE D STEPHENSON       817 BLAINE AVE                                                                     PONTIAC         MI 48340‐2407
MS ALICE G BARBER           45 W ORVIS ST APT 4                                                                MASSENA         NY 13662‐1863
MS ALICE J PERRY            3520 ROOSEVELT ST                                                                  DETROIT         MI 48208‐2357
MS ALICE L BENDALL          1370 GRAM ST                                                                       BURTON          MI 48529‐2040
MS ALICE M BUDD             1 READ AVE                                                                         WILMINGTON      DE 19804‐2033
MS ALICE M HAMMOND          858 KETTERING AVE                                                                  PONTIAC         MI 48340‐3253
MS ALICE M HART             1317 19TH ST                                                                       BEDFORD         IN 47421‐4013
MS ALICE M SIRLET           2060 E BERGIN AVE                                                                  BURTON          MI 48529‐1702
MS ALICE M SMITHERS         1012 W 14TH ST                                                                     MUNCIE          IN 47302‐3057
MS ALICE M WHALEN           1410 16TH ST                                                                       BEDFORD         IN 47421‐3710
MS ALICE N BARNES           1806 N BELL ST                                                                     KOKOMO          IN 46901‐2305
MS ALICIA CRUZ              3048 ROOSEVELT ST                                                                  DETROIT         MI 48216‐1020
MS ALICIA D SANTOS          77 KAREN CT                                                                        PONTIAC         MI 48340‐1638
MS ALICIA D SCHARER         426 FOX HILLS DR N APT 2                                                           BLOOMFIELD      MI 48304‐1326
MS ALICIA GREGORY           1424 W 9TH ST                                                                      MUNCIE          IN 47302‐2167
MS ALICIA K PARIS           237 W HOPKINS AVE                                                                  PONTIAC         MI 48340‐1825
MS ALICIA M BASILIO         10 LYNBROOK RD                                                                     WILMINGTON      DE 19804‐2620
MS ALICIA M DANIELS         1229 E PRINCETON AVE                                                               FLINT           MI 48505‐1754
MS ALICIA M LUCIO           764 ROBINWOOD ST                                                                   PONTIAC         MI 48340‐3142
MS ALICIA PORTER            155 W TENNYSON AVE                                                                 PONTIAC         MI 48340‐2673
MS ALICIA S BURNS           1313 BRISTOL COURT DR                                                              MOUNT MORRIS    MI 48458‐2181
MS ALICIA T HOLGUIN         422 N CATHERINE ST                                                                 LANSING         MI 48917‐4904
MS ALICIA WALL              5647 CHEVROLET BLVD APT 5                                                          PARMA           OH 44130‐8711
MS ALINA M COCKLIN          2211 MORRIS AVE                                                                    BURTON          MI 48529‐2177
MS ALISHA D BASKA           1055 COLLINS AVE                                                                   MOUNT MORRIS    MI 48458‐2120
MS ALISHA L ELAM            51 SALLEE LN                                                                       PONTIAC         MI 48340‐1656
MS ALISHA M CURTISS         670 SPRUCE ST                                                                      MOUNT MORRIS    MI 48458‐1943
MS ALISHA N BROWN           886 STIRLING ST                                                                    PONTIAC         MI 48340‐3165
MS ALISON ALMASIAN          55 MAIN ST                                                                         MASSENA         NY 13662‐1913
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Name                       Address1                           Address2            Address3         Address4         City            State Zip
MS ALISON ALMASIAN         31 GLENN ST                                                                              MASSENA          NY 13662‐2002
MS ALISSA G GARDNER        1012 W 15TH ST                                                                           MUNCIE           IN 47302‐3066
MS ALIYA M BARBOUR         11009 BEVIN DR                                                                           FREDERICKSBRG    VA 22408‐2073
MS ALLANA S HOPKINS        1526 I ST                                                                                BEDFORD          IN 47421‐3836
MS ALLENE D CLINE          2212 S PIERCE ST                                                                         MUNCIE           IN 47302‐3015
MS ALLIE A CLARK           165 W LONGFELLOW AVE                                                                     PONTIAC          MI 48340‐1831
MS ALLISON A LITT          956 FULWELL DR                                                                           ONTARIO          OH 44906‐1111
MS ALLISON E PATTON        404 N ST                                                                                 BEDFORD          IN 47421‐2120
MS ALLISON E WARD          1804 N MCCANN ST                                                                         KOKOMO           IN 46901‐2076
MS ALLISON M SHIFLET       611 BON AIR RD                                                                           LANSING          MI 48917‐2906
MS ALLISON O ELLIOTT       129 MAIN ST                                                                              MASSENA          NY 13662‐1908
MS ALLISON V SCHREIN       659 NEWMAN LN                                                                            PONTIAC          MI 48340‐3301
MS ALMA B GILES            1512 3RD ST                                                                              BEDFORD          IN 47421‐1720
MS ALMA B LYTLE            9 LAUREL AVE APT 502                                                                     MASSENA          NY 13662‐2056
MS ALMA D MYERS            729 16TH ST                                                                              BEDFORD          IN 47421‐3820
MS ALMA K BAKER            1616 H ST                                                                                BEDFORD          IN 47421‐3834
MS ALMA L FOWLER           2031 CONNELL ST                                                                          BURTON           MI 48529‐1332
MS ALMA M SCOTT            851 STIRLING ST                                                                          PONTIAC          MI 48340‐3166
MS ALMA R SUDDETH          140 EUCLID AVE                                                                           PONTIAC          MI 48342‐1113
MS ALMA STARKEY            2027 E BERGIN AVE                                                                        BURTON           MI 48529‐1701
MS ALMYRA M DAVID          501 W 9TH ST                                                                             MUNCIE           IN 47302‐3120
MS ALONA S JOSEPH          1145 AMOS ST                                                                             PONTIAC          MI 48342‐1803
MS ALVA P JOHNSON          3306 SYLVAN RD                                                                           LANSING          MI 48917‐2335
MS ALVRETTA E CROZIER      24 LYNBROOK RD                                                                           WILMINGTON       DE 19804‐2620
MS ALWILDA M MOJET         285 W YALE AVE                                                                           PONTIAC          MI 48340‐1752
MS ALWILDA M MOSS          285 W YALE AVE                                                                           PONTIAC          MI 48340‐1752
MS ALYSSA BENSON           5900 BRIDGE RD APT 404                                                                   YPSILANTI        MI 48197‐7010
MS ALYSSA J KADIN          3 THAYER ST APT 1                                                                        FRAMINGHAM       MA 01702‐8717
MS ALYSSA M KING           227 MAIN ST                                                                              MASSENA          NY 13662‐1963
MS AMANDA APPLINGTON       1513 N LAFOUNTAIN ST                                                                     KOKOMO           IN 46901‐2325
MS AMANDA B FILHART        2130 WEBBER AVE                                                                          BURTON           MI 48529‐2414
MS AMANDA BAIRD            849 STANLEY AVE                                                                          PONTIAC          MI 48340‐2559
MS AMANDA BROWN            909 STANLEY AVE                                                                          PONTIAC          MI 48340‐2561
MS AMANDA CHASTAIN         1311 4TH ST                                                                              BEDFORD          IN 47421‐1820
MS AMANDA DEAN             510 EMERSON AVE                                                                          PONTIAC          MI 48342‐1824
MS AMANDA DURHAM           1113 N WEBSTER ST                                                                        KOKOMO           IN 46901‐2705
MS AMANDA E JOHNSON        1101 NELSON ST                                                                           FLINT            MI 48503‐1823
MS AMANDA G LAUGHLIN       1717 14TH ST                                                                             BEDFORD          IN 47421‐3634
MS AMANDA HELGESON         1227 BENNETT AVE                                                                         FLINT            MI 48506‐3201
MS AMANDA J BAUMANN        2164 E BOATFIELD AVE                                                                     BURTON           MI 48529‐1714
MS AMANDA J JUSHKA         2661 SHAMROCK LN                                                                         JANESVILLE       WI 53546‐4429
MS AMANDA J TROMBLEY       3829 MARMION AVE                                                                         FLINT            MI 48506‐4241
MS AMANDA J VACHO          4532 SANDHILL DR                                                                         JANESVILLE       WI 53546‐4419
MS AMANDA K CERGOL         782 KENILWORTH AVE                                                                       PONTIAC          MI 48340‐3100
MS AMANDA K JACKSON        2123 N WASHINGTON ST                                                                     KOKOMO           IN 46901‐5839
MS AMANDA K JOHNSON        782 KENILWORTH AVE                                                                       PONTIAC          MI 48340‐3100
MS AMANDA K SAVAGE‐PLANK   9835 JULIE DR                                                                            YPSILANTI        MI 48197‐7092
MS AMANDA L CHANDLER       661 STIRLING ST                                                                          PONTIAC          MI 48340‐3162
MS AMANDA L FORD           11495 UNION ST                                                                           MOUNT MORRIS     MI 48458‐2212
MS AMANDA L HANEY          1028 W COSTELLO ST                                                                       MOUNT MORRIS     MI 48458‐2103
MS AMANDA L HARVEY         1039 NUTANA BLVD                                                                         MOUNT MORRIS     MI 48458‐2115
MS AMANDA L SEGO           11438 N SAGINAW ST APT 2                                                                 MOUNT MORRIS     MI 48458‐2080
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Name                       Address1                       Address2            Address3         Address4         City           State Zip
MS AMANDA LAVALLEY         498 S MAIN ST APT 6                                                                  MASSENA         NY 13662‐2556
MS AMANDA M COWELL         3845 PITKIN AVE                                                                      FLINT           MI 48506‐4234
MS AMANDA M DRUMM          145 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2759
MS AMANDA M HALL           201 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1878
MS AMANDA M HALL           1210 KELLOGG AVE APT 2                                                               JANESVILLE      WI 53546‐6061
MS AMANDA M OLEARY         1407 CONNELL ST                                                                      BURTON          MI 48529‐2202
MS AMANDA MATTINGLY        1621 G ST                                                                            BEDFORD         IN 47421‐3829
MS AMANDA MISHLEAU         2005 1/2 S OAKHILL AVE                                                               JANESVILLE      WI 53546‐9051
MS AMANDA MULDER           3003 TIMBER DR                                                                       LANSING         MI 48917‐2385
MS AMANDA N PRATT          11420 UNION ST                                                                       MOUNT MORRIS    MI 48458‐2213
MS AMANDA N STEPHENSON     1115 W 14TH ST                                                                       MUNCIE          IN 47302‐3060
MS AMANDA SHAUGER          2106 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1752
MS AMANDA SPERZA           ESPARZA AMANDA                 33 MORELAND AVE                                       PONTIAC         MI 48342‐2323
MS AMANDA STILES           1522 1ST ST                                                                          BEDFORD         IN 47421‐1702
MS AMANDA WATSON           106 N ST                                                                             BEDFORD         IN 47421‐1736
MS AMANDA WYNN             234 WHITE LN                                                                         BEDFORD         IN 47421‐9223
MS AMANDA WYNN             PO BOX 472                                                                           BLOOMFIELD      IN 47424‐0472
MS AMARA PHILEBAUM         1301 W 14TH ST APT 2                                                                 MUNCIE          IN 47302‐3196
MS AMBER DENNIS            408 M ST                                                                             BEDFORD         IN 47421‐1819
MS AMBER E GEORGE          1325 DIVE RD                                                                         BEDFORD         IN 47421‐1519
MS AMBER J BRAY            2911 CHEROKEE DR APT 6                                                               WATERFORD       MI 48328‐3173
MS AMBER J MILLER          127 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2759
MS AMBER L CROUCH          1405 BRECKENRIDGE RD                                                                 BEDFORD         IN 47421‐1509
MS AMBER LEARNED           1010 W 14TH ST                                                                       MUNCIE          IN 47302‐3057
MS AMBER M NOREAU          18 PARKER AVE                                                                        MASSENA         NY 13662‐2215
MS AMBER M THIERING        2010 KELLOGG AVE APT 217                                                             JANESVILLE      WI 53546‐5989
MS AMBER N CASEY           1117 BROOKE PARK DR                                                                  TOLEDO          OH 43612‐4217
MS AMBER N FRYE            5541 CHEVROLET BLVD APT B511                                                         CLEVELAND       OH 44130‐1493
MS AMBER NICKLES           1210 KING ST                                                                         JANESVILLE      WI 53546‐6058
MS AMBER WEST              1705 S BIRCH ST                                                                      MUNCIE          IN 47302‐2269
MS AMELIA A GRAVES         1305 K ST APT 208                                                                    BEDFORD         IN 47421‐3241
MS AMELIA DELGADOKOECHIG   137 W ANN ARBOR AVE                                                                  PONTIAC         MI 48340‐1801
MS AMELIA J PALMER         1404 WEBBER AVE                                                                      BURTON          MI 48529‐2034
MS AMIE PORTUGUES          540 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1302
MS AMY BORSELLINO          4 PRATT PL                                                                           MASSENA         NY 13662‐2005
MS AMY C MILLAN            741 STANLEY AVE                                                                      PONTIAC         MI 48340‐2474
MS AMY E KILLACKEY         494 FOX HILLS DR N APT 6                                                             BLOOMFIELD      MI 48304‐1338
MS AMY E STIFTER           3665 N 161ST AVE                                                                     GOODYEAR        AZ 85395‐8050
MS AMY GREEN               17 PARKER AVE                                                                        MASSENA         NY 13662‐4265
MS AMY HALL                6104 ROBERT CIR                                                                      YPSILANTI       MI 48197‐8274
MS AMY J HARRINGTON        65 W CORNELL AVE                                                                     PONTIAC         MI 48340‐2717
MS AMY J LEONARD           905 W 15TH ST                                                                        MUNCIE          IN 47302‐3065
MS AMY J SHELLITO          234 N GRACE ST                                                                       LANSING         MI 48917‐4908
MS AMY J TRAMBA            11470 RICHARD DR                                                                     CLEVELAND       OH 44130‐1345
MS AMY J VANDEVUSSE        130 N DEERFIELD AVE                                                                  LANSING         MI 48917‐2984
MS AMY JAHNKE              2016 KELLOGG AVE APT 108                                                             JANESVILLE      WI 53546‐5986
MS AMY KINTINK             1175 E HARVARD AVE                                                                   FLINT           MI 48505‐1523
MS AMY L GARRISON          1715 O ST                                                                            BEDFORD         IN 47421‐4118
MS AMY L HAND              113 BLAINE AVE                                                                       PONTIAC         MI 48342‐1102
MS AMY L HART              157 INMAN CT                                                                         BEDFORD         IN 47421‐9628
MS AMY L HILTUNEN          1204 BOYNTON DR                                                                      LANSING         MI 48917‐5705
MS AMY L HOLBROOK          1021 N ST                                                                            BEDFORD         IN 47421‐2932
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Name                                Address1                        Address2                      Address3                 Address4         City                State Zip
MS AMY L HRISO                      1719 O ST                                                                                               BEDFORD              IN 47421‐4118
MS AMY L MATYSZEWSKI                9905 JOAN CIR                                                                                           YPSILANTI            MI 48197‐8297
MS AMY L PRUITT                     429 FOX HILLS DR N                                                                                      BLOOMFIELD           MI 48304‐1309
MS AMY L RYGWELSKI                  2069 E BERGIN AVE                                                                                       BURTON               MI 48529‐1701
MS AMY L SNOW                       1611 KING ST                                                                                            JANESVILLE           WI 53546‐6074
MS AMY L WIMBLEY                    1917 W 10TH ST                                                                                          MUNCIE               IN 47302‐2146
MS AMY L YOKES                      1153 STANLEY AVE                                                                                        PONTIAC              MI 48340‐1780
MS AMY M EMPEY                      196 W PRINCETON AVE                                                                                     PONTIAC              MI 48340‐1842
MS AMY M GRATTON                    174 E ORVIS ST                                                                                          MASSENA              NY 13662‐2245
MS AMY M HANSON                     1101 W BURBANK AVE                                                                                      JANESVILLE           WI 53546‐6156
MS AMY M LINCOLN                    1421 E WILLIAMSON ST                                                                                    BURTON               MI 48529‐1639
MS AMY M MANKER                     310 N DEERFIELD AVE                                                                                     LANSING              MI 48917‐2909
MS AMY M MOORE                      1440 E BUDER AVE                                                                                        BURTON               MI 48529‐1606
MS AMY M TINDLE                     617 W JACKSON ST APT 1                                                                                  MUNCIE               IN 47305‐3613
MS AMY MAJEWSKI                     2117 S WALNUT ST                                                                                        JANESVILLE           WI 53546‐6135
MS AMY MONTGOMERY                   30 E LONGFELLOW AVE                                                                                     PONTIAC              MI 48340‐2742
MS AMY MOSS                         1126 N WEBSTER ST                                                                                       KOKOMO               IN 46901‐2706
MS AMY MUSIEL                       25 SALLEE LN                                                                                            PONTIAC              MI 48340‐1656
MS AMY R OLSEN                      462 CESAR E CHAVEZ AVE APT 1                                                                            PONTIAC              MI 48342‐1051
MS AMY R WASHINGTON                 754 MELROSE ST                                                                                          PONTIAC              MI 48340‐3121
MS AMY RILEY                        708 WOODSEDGE RD                                                                                        WILMINGTON           DE 19804‐2626
MS AMY S HENSHAW                    2051 DELANEY ST                                                                                         BURTON               MI 48509‐1022
MS AMY SLICK                        501 6TH ST                                                                                              BEDFORD              IN 47421‐9610
MS AMY WEBSTER                      2634 MOUNT PLEASANT RD                                                                                  BEDFORD              IN 47421‐8042
MS AMY WILLIAMS                     720 W CENTENNIAL AVE            APT 45C                                                                 MUNCIE               IN 47303‐2972
MS ANA R CASTELLO                   4646 PLUMER ST                                                                                          DETROIT              MI 48209‐1357
MS ANA R GUTIERREZ‐GONZALEZ         4664 PLUMER ST                                                                                          DETROIT              MI 48209‐1357
MS ANA R MARTINEZ                   34 WALNUT AVE                                                                                           MASSENA              NY 13662‐2021
MS ANASTASIA J FLORES               8051 KENSINGTON BLVD APT 83                                                                             DAVISON              MI 48423‐2296
MS ANASTASIA MASTERS                650 E FOX HILLS DR                                                                                      BLOOMFIELD           MI 48304‐1345
MS AND CO C/F                       PATRICIA O WHELAN               1379 CHATEAU COMMON                                                     LIVERMORE            CA 94550‐6819
MS AND CO C/F                       JOHN WILSON                     IRA ROLLOVER DATED 10/9/95      16800 EDGAR ST                          PACIFIC PALISADES    CA 90272‐3227
MS AND CO C/F                       JERRY L BICKEL                  IRA ROLLOVER DATED 09/23/99     5007 BIRCH GROVE DR                     GROVEPORT            OH 43125‐9123
MS AND CO C/F                       BARBARA BURROUGHS               9942 GRAPEWOOD COURT                                                    MANASSAS             VA 20110‐3840
MS AND CO C/F                       HARRY BURROUGHS                 IRA STANDARD DATED 04/03/84     9942 GRAPEWOOD COURT                    MANASSAS             VA 20110‐3840
MS AND CO C/F                       DOROTHY E BURKE                 IRA STANDARD DATED 08/31/95     3432 TALLYWOOD CIR                      SARASOTA             FL 34237‐3221
MS AND CO C/F DAVID M REYNOLDS      IRA STD/ROLLOVER                13020 PACIFIC PROMENADE APT 304                                         PLAYA VISTA          CA 90094‐4018

MS AND CO C/F HENRY OWENS           IRA STD/ROLLOVER DTD 8/14/03    1012 E 172ND ST                                                         SOUTH HOLLAND       IL   60473
MS AND CO C/F PHILLIP M SCHLESSER   IRA ROLLOVER DATED 10/24/01     15813 RIDGELAND AVE                                                     OAK FOREST          IL   60452
MS AND CO C/F THOMAS V LISLE        IRA STANDARD DATED 4/23/03      PO BOX 549                                                              LAKESIDE            MI   49116‐0549
MS AND CO C/F TONY Z TORRES         IRA ROLLOVER DATED 8/7/03       731 BISHOP GATE                                                         NEW LENOX           IL   60451
MS ANDREA B MANLOVE                 10 STANLEY AVE                                                                                          WILMINGTON          DE   19804‐2851
MS ANDREA C CLAUDIO‐ALONS           502 ROCHELLE AVE                                                                                        WILMINGTON          DE   19804‐2120
MS ANDREA C DELLAPENNA‐GRAJ         11431 SHARON DR APT C907                                                                                PARMA               OH   44130‐8701
MS ANDREA CRUMBS                    1130 HERRINGTON LN                                                                                      PONTIAC             MI   48342‐1835
MS ANDREA GIBSON                    1514 W 14TH ST                                                                                          MUNCIE              IN   47302‐2913
MS ANDREA HALSTEAD                  814 17TH ST                     APT 3                                                                   BEDFORD             IN   47421‐4244
MS ANDREA J GRADY                   2135 HUBBARD ST APT A3                                                                                  DETROIT             MI   48209‐3320
MS ANDREA J MARGRIF                 1446 E BUDER AVE                                                                                        BURTON              MI   48529‐1606
MS ANDREA J SUTHERLAND              2913 TIMBER DR                                                                                          LANSING             MI   48917‐2325
MS ANDREA KONOPKA                   220 W ANN ARBOR AVE                                                                                     PONTIAC             MI   48340‐1804
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Name                          Address1                       Address2            Address3         Address4         City            State Zip
MS ANDREA L JOHNSON           11004 COREYS WAY                                                                     FREDERICKSBRG    VA 22408‐2074
MS ANDREA L JONES             730 MELROSE ST                                                                       PONTIAC          MI 48340‐3119
MS ANDREA L POWELL            3834 LORRAINE AVE                                                                    FLINT            MI 48506‐4238
MS ANDREA M KUHL              5900 BRIDGE RD APT 615                                                               YPSILANTI        MI 48197‐7009
MS ANDREA M MCCLENDON         149 CHARLES LN                                                                       PONTIAC          MI 48341‐2928
MS ANDREA M MULL              1120 BROOKE PARK DR                                                                  TOLEDO           OH 43612‐4218
MS ANDREA M PRIEST            13 GEORGE ST                                                                         FRAMINGHAM       MA 01702‐8710
MS ANDREA N NORTON            81 S MERRIMAC ST                                                                     PONTIAC          MI 48340‐2535
MS ANDREA N SEVERN            2069 BRADY AVE                                                                       BURTON           MI 48529‐2424
MS ANDREA NEWBERRY            211 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2908
MS ANDREA PICKETT             1608 W 13TH ST                                                                       MUNCIE           IN 47302‐2980
MS ANDREA S HANSON            608 N CATHERINE ST                                                                   LANSING          MI 48917‐4906
MS ANDREA WHALEY              644 PALMER DR                                                                        PONTIAC          MI 48342‐1854
MS ANGEL S ROBINSON‐HUBBARD   405 W PULASKI AVE                                                                    FLINT            MI 48505‐3391
MS ANGELA A JOHNSON           800 BAY ST                                                                           PONTIAC          MI 48342‐1902
MS ANGELA A QUIRE             1301 S MOUND ST                                                                      MUNCIE           IN 47302‐2225
MS ANGELA ALAIMO              35 E ORVIS ST                                                                        MASSENA          NY 13662‐4076
MS ANGELA BARNARD             1107 W 15TH ST                                                                       MUNCIE           IN 47302‐3069
MS ANGELA C ARNOTT            116 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1873
MS ANGELA C KEEN              1408 F ST                                                                            BEDFORD          IN 47421‐3316
MS ANGELA C MCCARTHY          1448 E SCHUMACHER ST                                                                 BURTON           MI 48529‐1622
MS ANGELA CROCKETT            5719 CHEVROLET BLVD APT A312                                                         CLEVELAND        OH 44130‐1484
MS ANGELA D CONYER            7409 ALEXANDER ST                                                                    MOUNT MORRIS     MI 48458‐2904
MS ANGELA D JONES             595 LANCASTER LN                                                                     PONTIAC          MI 48342‐1852
MS ANGELA DIAZ                9843 JULIE DR                                                                        YPSILANTI        MI 48197‐7092
MS ANGELA DIXON               11671 HARTEL ST                                                                      LIVONIA          MI 48150‐2387
MS ANGELA E LEARY             79 NIGHTENGALE AVE                                                                   MASSENA          NY 13662‐1717
MS ANGELA F SAARI             2081 MORRIS AVE                                                                      BURTON           MI 48529‐2156
MS ANGELA FORD                6219 SHELDON ST                                                                      YPSILANTI        MI 48197‐8224
MS ANGELA H BENTLEY           830 ORLANDO AVE                                                                      PONTIAC          MI 48340‐2355
MS ANGELA HOWELL              2217 COVERT RD                                                                       BURTON           MI 48509‐1014
MS ANGELA K BELT              320 E BROADWAY ST                                                                    KOKOMO           IN 46901‐2980
MS ANGELA K DUMAS             2152 E BRISTOL RD                                                                    BURTON           MI 48529‐1321
MS ANGELA K WARD              2254 E BERGIN AVE                                                                    BURTON           MI 48529‐1706
MS ANGELA L BRANCHE           5653 CHEVROLET BLVD APT 2                                                            CLEVELAND        OH 44130‐8712
MS ANGELA L RUCKER            1400 W 13TH ST                                                                       MUNCIE           IN 47302‐2906
MS ANGELA M FRYE              1501 N MORRISON ST                                                                   KOKOMO           IN 46901‐2154
MS ANGELA M HARMON            137 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2737
MS ANGELA M HOWE              515 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1915
MS ANGELA M JOHNSON           5659 CHEVROLET BLVD APT 6                                                            PARMA            OH 44130‐8713
MS ANGELA M MORRISSETT        1441 E BRISTOL RD                                                                    BURTON           MI 48529‐2214
MS ANGELA M SANTIAGO          758 NEWMAN LN                                                                        PONTIAC          MI 48340‐3304
MS ANGELA M STOVALL           940 KETTERING AVE                                                                    PONTIAC          MI 48340‐3257
MS ANGELA M ZAVADA            5717 CHEVROLET BLVD APT A105                                                         PARMA            OH 44130‐1416
MS ANGELA MOORE               1224 W POWERS ST                                                                     MUNCIE           IN 47305‐2143
MS ANGELA N BEARD             5561 CHEVROLET BLVD APT C106                                                         PARMA            OH 44130‐1402
MS ANGELA N REYNOLDS          545 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1905
MS ANGELA P PARKER            69 STEGMAN LN                                                                        PONTIAC          MI 48340‐1663
MS ANGELA R GARLAND           430 N JACKSON ST                                                                     BEDFORD          IN 47421‐1528
MS ANGELA S ELLIS             1139 AMOS ST                                                                         PONTIAC          MI 48342‐1883
MS ANGELA T SICKING           5501 CHEVROLET BLVD APT B205                                                         PARMA            OH 44130‐1459
MS ANGELA YOUNG               370 W HOPKINS AVE APT 309                                                            PONTIAC          MI 48340‐1762
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Name                      Address1                     Address2            Address3         Address4         City           State Zip
MS ANGELA ZAPATA          115 W TENNYSON AVE                                                                 PONTIAC         MI 48340‐2673
MS ANGELE M SHRINER       2137 E BOATFIELD AVE                                                               BURTON          MI 48529‐1713
MS ANGELENE F CONNOLLY    829 BAY ST                                                                         PONTIAC         MI 48342‐1903
MS ANGELIA D SHARP        49 W CORNELL AVE                                                                   PONTIAC         MI 48340‐2717
MS ANGELIA M BROWN        2225 N LAFOUNTAIN ST                                                               KOKOMO          IN 46901‐1405
MS ANGELIA M WEISS        1395 GRAM ST                                                                       BURTON          MI 48529‐2039
MS ANGELIC M WOOD         706 W 5TH ST                                                                       MUNCIE          IN 47302‐2203
MS ANGELICA CUSTODIO      433 FOX HILLS DR N                                                                 BLOOMFIELD      MI 48304‐1309
MS ANGELICA FLORES        4420 CASPER ST                                                                     DETROIT         MI 48210‐2733
MS ANGELICA MARTINEZ      4616 PLUMER ST                                                                     DETROIT         MI 48209‐1357
MS ANGELINA GONZALES      3387 29TH ST                                                                       DETROIT         MI 48210‐3231
MS ANGELINA R VELASQUEZ   11600 AARON DR                                                                     CLEVELAND       OH 44130‐1269
MS ANGELINA RANDAZZO      9 LAUREL AVE APT 209                                                               MASSENA         NY 13662‐2054
MS ANGELINA SEARER        66 E BEVERLY AVE                                                                   PONTIAC         MI 48340‐2610
MS ANGELINE B PRICE       237 N ROSEMARY ST                                                                  LANSING         MI 48917‐4914
MS ANGELINE C MCKERCHIE   410 ELM ST                                                                         MOUNT MORRIS    MI 48458‐1914
MS ANGELINE L MARANDO     123 DAVID RD                                                                       WILMINGTON      DE 19804‐2664
MS ANGELITA DROUIN        1397 WEBBER AVE                                                                    BURTON          MI 48529‐2033
MS ANGELITA DROUIN        2113 BRADY AVE                                                                     BURTON          MI 48529‐2426
MS ANGELITA DROUIN        1413 WEBBER AVE                                                                    BURTON          MI 48529‐2033
MS ANGELLA F SPRINKEL     263 W FAIRMOUNT AVE                                                                PONTIAC         MI 48340‐2741
MS ANGIE BRITA            16 NIPMUC RD                                                                       FRAMINGHAM      MA 01702‐7228
MS ANGIE D HERRON         179 PINGREE AVE                                                                    PONTIAC         MI 48342‐1161
MS ANGIE K BOWEN          1718 O ST                                                                          BEDFORD         IN 47421‐4119
MS ANGIE M HUDSON         1305 K ST APT 417                                                                  BEDFORD         IN 47421‐3286
MS ANGLE DAWSON           132 PINGREE AVE                                                                    PONTIAC         MI 48342‐1157
MS ANGLEA WATSON          152 CHERRY HILL DR                                                                 PONTIAC         MI 48340‐1608
MS ANIA T OKWEREOGU       4417 CHADBURNE DR                                                                  LANSING         MI 48911‐2746
MS ANISSA J VAVRO         6015 COMMANCHE CT APT G                                                            CLEVELAND       OH 44130‐9090
MS ANITA E TROTTY         762 NEWMAN LN                                                                      PONTIAC         MI 48340‐3304
MS ANITA HERNANDEZ        1105 KELLOGG AVE TRLR B3                                                           JANESVILLE      WI 53546‐6083
MS ANITA K KESSLER        608 W BUTLER ST                                                                    KOKOMO          IN 46901‐2165
MS ANITA KING             48 W YPSILANTI AVE                                                                 PONTIAC         MI 48340‐1870
MS ANITA L DAVIDSON       1519 W 7TH ST                                                                      MUNCIE          IN 47302‐2110
MS ANITA L MCVAY          116 W LORDEMAN ST                                                                  KOKOMO          IN 46901‐2236
MS ANITA L MOQUIN         430 SPRUCE ST                                                                      MOUNT MORRIS    MI 48458‐1939
MS ANITA L SCHLINKER      2127 E SCOTTWOOD AVE                                                               BURTON          MI 48529‐1751
MS ANITA M ALEXANDRE      679 KINNEY RD                                                                      PONTIAC         MI 48340‐2434
MS ANITA M BOWDEN         1820 W 11TH ST                                                                     MUNCIE          IN 47302‐6613
MS ANITA M HAMILL         1105 KELLOGG AVE TRLR A9                                                           JANESVILLE      WI 53546‐6082
MS ANITA M MURRAY         11 BRIGHTON ST                                                                     MASSENA         NY 13662‐2229
MS ANITRIA L SEAY         1149 HERRINGTON LN                                                                 PONTIAC         MI 48342‐1837
MS ANN E ASH              61 PARKER AVE                                                                      MASSENA         NY 13662‐2212
MS ANN GRAHAM             4870 KONKEL ST                                                                     DETROIT         MI 48210‐3208
MS ANN H SHERBIN          548 E FOX HILLS DR                                                                 BLOOMFIELD      MI 48304‐1302
MS ANN L KELLY            11208 N SAGINAW ST                                                                 MOUNT MORRIS    MI 48458‐2005
MS ANN M BEITZ            11035 HARVARD CT APT 6                                                             MOUNT MORRIS    MI 48458‐1985
MS ANN M BEVILACQUA       576 HOLLIS ST                                                                      FRAMINGHAM      MA 01702‐8625
MS ANN M GUZMAN           204 W BEVERLY AVE                                                                  PONTIAC         MI 48340‐2623
MS ANN M HERR             100 MIAMI RD APT B5                                                                PONTIAC         MI 48341‐1577
MS ANN M HERR             822 STANLEY AVE                                                                    PONTIAC         MI 48340‐2558
MS ANN M KINGSBURY        2047 E SCHUMACHER ST                                                               BURTON          MI 48529‐2435
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MS ANN M LOCKARD          2040 CASHIN ST APT 7                                                                 BURTON           MI 48509‐1107
MS ANN M MAY              873 KETTERING AVE                                                                    PONTIAC          MI 48340‐3254
MS ANN M PAGE             38 RANSOM AVE                                                                        MASSENA          NY 13662‐1735
MS ANN M PRESLEY          620 ROLLING ROCK RD                                                                  BLOOMFIELD       MI 48304‐1055
MS ANN P PACIUNAS         185 WALNUT AVE                                                                       CLARK            NJ 07066‐1239
MS ANN W WOOLFORDSING     12503 MORTAR LN                                                                      SPOTSYLVANIA     VA 22551‐8206
MS ANNA B JEWELL          3230 UPTON RD                                                                        LANSING          MI 48917‐2321
MS ANNA BROWN             917 W POWERS ST                                                                      MUNCIE           IN 47305‐2268
MS ANNA BURNS             2401 SYLVAN AVE                                                                      WILMINGTON       DE 19805‐2342
MS ANNA C REIMER          611 N WALNUT ST                                                                      WILMINGTON       DE 19804‐2623
MS ANNA D BAKER           111 W LORDEMAN ST                                                                    KOKOMO           IN 46901‐2235
MS ANNA DAVIDIAN          10630 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1370
MS ANNA H KOCH            11800 BROOKPARK RD TRLR D30                                                          CLEVELAND        OH 44130‐1184
MS ANNA HICKMAN           1218 W POWERS ST                                                                     MUNCIE           IN 47305‐2143
MS ANNA J FACELLO         992 KETTERING AVE                                                                    PONTIAC          MI 48340‐3257
MS ANNA J PIALOGLOUS      75 ANDREWS ST                                                                        MASSENA          NY 13662‐1841
MS ANNA M CRAFTON         1421 N WABASH AVE                                                                    KOKOMO           IN 46901‐2679
MS ANNA M DURBROW         212 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2762
MS ANNA M HUDSON          1510 2ND ST                                                                          BEDFORD          IN 47421‐1706
MS ANNA M KING            554 WALNUT ST                                                                        MOUNT MORRIS     MI 48458‐1953
MS ANNA M PENIX           1427 READY AVE                                                                       BURTON           MI 48529‐2051
MS ANNA M RAMIREZ         2064 MORRIS AVE                                                                      BURTON           MI 48529‐2157
MS ANNA V RANGEL          11330 UNION ST                                                                       MOUNT MORRIS     MI 48458‐2211
MS ANNABEL FIELDS         1440 DIVE RD                                                                         BEDFORD          IN 47421‐1522
MS ANNABELLE B CLOUSE     1401B L ST                                                                           BEDFORD          IN 47421‐3218
MS ANNAMAE M VICE         1 GRASSMERE TER APT 47                                                               MASSENA          NY 13662‐2166
MS ANNE A AVERY           20 WALNUT AVE                                                                        MASSENA          NY 13662‐2023
MS ANNE C BADE            11307 N CLUB DR                                                                      FREDERICKSBRG    VA 22408‐2056
MS ANNE C KLAVON          1982 FOX RIVER DR                                                                    BLOOMFIELD       MI 48304‐1022
MS ANNE D RODEN           466 ROLLING ROCK RD                                                                  BLOOMFIELD       MI 48304‐1051
MS ANNE H HENSLEY         36873 ECORSE RD                                                                      ROMULUS          MI 48174‐1382
MS ANNE K NUCKOLS         100 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2002
MS ANNE M PELOTTE         38 KENT ST                                                                           MASSENA          NY 13662‐2118
MS ANNE M PETERSON        1005 NELSON ST                                                                       FLINT            MI 48503‐1840
MS ANNE M WALD            420 BRYNFORD AVE                                                                     LANSING          MI 48917‐2992
MS ANNE MEANS             1420 Q ST                                                                            BEDFORD          IN 47421‐3641
MS ANNE SHARP             3 RANSOM AVE                                                                         MASSENA          NY 13662‐1741
MS ANNETTE A AL‐MAAMARI   2162 E BRISTOL RD                                                                    BURTON           MI 48529‐1321
MS ANNETTE A TROMBLEY     9 LAUREL AVE APT 603                                                                 MASSENA          NY 13662‐2056
MS ANNETTE BAILEY         2001 N CENTER RD APT 7                                                               FLINT            MI 48506‐3181
MS ANNETTE CHALFANT       1004 W POWERS ST                                                                     MUNCIE           IN 47305‐2139
MS ANNETTE HERRING        798 STANLEY AVE                                                                      PONTIAC          MI 48340‐2556
MS ANNETTE HINMAN         2081 CONNELL ST                                                                      BURTON           MI 48529‐1332
MS ANNETTE K STILLINGS    2021 WICKFORD CT                                                                     BLOOMFIELD       MI 48304‐1088
MS ANNETTE L SMITH        19 GROVE ST                                                                          MASSENA          NY 13662‐2131
MS ANNETTE M HARDEN       550 WALNUT ST                                                                        MOUNT MORRIS     MI 48458‐1953
MS ANNETTE M LYNCH        3262 FARLEY ST                                                                       BURTON           MI 48519‐1014
MS ANNETTE M THOMPSON     360 W HOPKINS AVE APT 207                                                            PONTIAC          MI 48340‐1757
MS ANNETTE R COOK         3078 24TH ST                                                                         DETROIT          MI 48216‐1033
MS ANNETTE TRUMBLE        187 MAIN ST                                                                          MASSENA          NY 13662‐1907
MS ANNETTE TURNER         1511 DIVE RD                                                                         BEDFORD          IN 47421‐1523
MS ANNIE L BROWN          630 CAMERON AVE                                                                      PONTIAC          MI 48340‐3200
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Name                        Address1                       Address2            Address3         Address4         City           State Zip
MS ANNIE L FELDER           16 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1880
MS ANNIE LONDON             1216 AMOS ST                                                                         PONTIAC         MI 48342‐1804
MS ANNIE M CALLUM           1283 E PRINCETON AVE                                                                 FLINT           MI 48505‐1754
MS ANNIE M MOY              146 W TENNYSON AVE                                                                   PONTIAC         MI 48340‐2672
MS ANNIE P BAKER            553 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐1602
MS ANNIE P WAUGH            1093 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1701
MS ANNIE R VAUGHN           241 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1845
MS ANNISE I STEELE          75 KAREN CT                                                                          PONTIAC         MI 48340‐1638
MS ANNMARIE R ARTEAGA       1500 E BUDER AVE                                                                     BURTON          MI 48529‐1606
MS ANQUIATTA T TOLER        565 BAY ST                                                                           PONTIAC         MI 48342‐1916
MS ANTIONETTE RUCKER        1803 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2186
MS ANTOINETTE E HICKS       177 W HOPKINS AVE                                                                    PONTIAC         MI 48340‐1823
MS ANTOINETTE T TRIVELLIN   1150 E COLDWATER RD                                                                  FLINT           MI 48505‐1504
MS ANTOINETTE Y WINFIELD    30 PINGREE AVE                                                                       PONTIAC         MI 48342‐1155
MS ANTONETTE ROLAND         435 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1309
MS ANTONIA SANDERS          67 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1887
MS APRIL A HOWE             400 W HOPKINS AVE APT 301                                                            PONTIAC         MI 48340‐1773
MS APRIL BOSTNER            1220 N ST                                                                            BEDFORD         IN 47421‐2943
MS APRIL COOPER             1106 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2179
MS APRIL DAVIS              1601 N WEBSTER ST                                                                    KOKOMO          IN 46901‐2105
MS APRIL KONSUL             87 ANDREWS ST                                                                        MASSENA         NY 13662‐1841
MS APRIL L CARPENTER        2045 CONNELL ST                                                                      BURTON          MI 48529‐1332
MS APRIL L SMITH            1118 HERRINGTON LN                                                                   PONTIAC         MI 48342‐1835
MS APRIL L SPRAGUE          1500 JOLSON AVE                                                                      BURTON          MI 48529‐2030
MS APRIL M BROWN            264 W BEVERLY AVE                                                                    PONTIAC         MI 48340‐2623
MS APRIL M JONES            617 BOXWOOD RD                                                                       WILMINGTON      DE 19804‐2010
MS APRIL M YOUNG            633 NEWMAN LN                                                                        PONTIAC         MI 48340‐3301
MS APRIL OSBORNE            1608 N LAFOUNTAIN ST                                                                 KOKOMO          IN 46901‐2315
MS APRIL R CHRISTOPHER      PO BOX 193                                                                           FENTON          MI 48430‐0193
MS APRIL RICHMOND           2079 E MCLEAN AVE                                                                    BURTON          MI 48529‐1737
MS APRIL S WRIGHT           3382 25TH ST                                                                         DETROIT         MI 48208‐2462
MS AQUILINA HERNANDEZ       4054 WOLFF ST                                                                        DETROIT         MI 48209‐1649
MS ARDALE L BABINYECZ       11220 GABRIELLA DR                                                                   CLEVELAND       OH 44130‐1333
MS ARDITH M WOOD            4157 WOODROW AVE                                                                     BURTON          MI 48509‐1051
MS ARETTA J ADKINS          30 W HOPKINS AVE                                                                     PONTIAC         MI 48340‐1816
MS ARIANE L MCASEE          703 DESOTA PL                                                                        PONTIAC         MI 48342‐1620
MS ARLENA K BUTLER          1960 HUNTERS RIDGE DR                                                                BLOOMFIELD      MI 48304‐1036
MS ARLENE A CECIL           11270 FAIRLAWN DR                                                                    PARMA           OH 44130‐1220
MS ARLENE C MILILMAKI       122 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐2736
MS ARLENE H WYNSTRA         1832 S CHATHAM ST                                                                    JANESVILLE      WI 53546‐6063
MS ARLENE I MCLAREN         2918 HARWICK DR APT 6                                                                LANSING         MI 48917‐2358
MS ARLENE J BLADORN         2110 S PALM ST                                                                       JANESVILLE      WI 53546‐6117
MS ARLENE K THOMAS          639 LANCASTER LN                                                                     PONTIAC         MI 48342‐1853
MS ARLENE M ATKINS          580 CESAR E CHAVEZ AVE                                                               PONTIAC         MI 48342‐1054
MS ARLENE M SUDDETH         77 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2735
MS ARLESSA NICHOLS‐NAYLOR   PO BOX 7643                                                                          BLOOMFIELD      MI 48302‐7643
MS ARLINDA HOPKINS          1276 E PRINCETON AVE                                                                 FLINT           MI 48505‐1755
MS ARMEKA D GEE             1236 AMOS ST                                                                         PONTIAC         MI 48342‐1804
MS ARMENA JONES             593 JARED DR                                                                         PONTIAC         MI 48342‐1987
MS ARMETHIA L SIMS          5900 BRIDGE RD APT 104                                                               YPSILANTI       MI 48197‐7009
MS ARNESHA N MILLS          1238 AMOS ST                                                                         PONTIAC         MI 48342‐1804
MS ARNITA S EVANS           1109 LAPORT AVE                                                                      MOUNT MORRIS    MI 48458‐2535
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MS ARTRI N LEE            1158 W GRAND BLVD                                                                    DETROIT         MI 48208‐2339
MS ARUNDHUTI B BANERJEE   644 S SPINNINGWHEEL LN                                                               BLOOMFIELD      MI 48304‐1322
MS ARVESTA E GROVES       909 BAY ST                                                                           PONTIAC         MI 48342‐1905
MS ASHLEE M SWEENEY       36 DOUGLAS RD                                                                        MASSENA         NY 13662‐2134
MS ASHLEIGH M FITCH       37 SALLEE LN                                                                         PONTIAC         MI 48340‐1656
MS ASHLEIGH ROWDEN        1814 N BELL ST                                                                       KOKOMO          IN 46901‐2305
MS ASHLEY A DOYLE         1213 GRANDY ST                                                                       FLINT           MI 48503‐1815
MS ASHLEY L CROSS         23 TUCKER TER                                                                        MASSENA         NY 13662‐3118
MS ASHLEY LAWSON          604 W MOUNT MORRIS ST APT 2                                                          MOUNT MORRIS    MI 48458‐1849
MS ASHLEY N BALDWIN       63 LEANEE LN                                                                         PONTIAC         MI 48340‐1651
MS ASHLEY S COUCH         824 STANLEY ST                                                                       LANSING         MI 48915‐1365
MS ATHANASIA DAGIANTIS    137 WALNUT AVE                                                                       CLARK           NJ 07066‐1201
MS ATTIYA K HENRY         764 NEWMAN LN                                                                        PONTIAC         MI 48340‐3304
MS AUBREY L WILLIAMS      9915 JOAN CIR                                                                        YPSILANTI       MI 48197‐8297
MS AUDREY B WINCHESTER    1105 KELLOGG AVE TRLR B6                                                             JANESVILLE      WI 53546‐6083
MS AUDREY E KENNEDY       249 W YALE AVE                                                                       PONTIAC         MI 48340‐1867
MS AUDREY F FIELD         1305 K ST APT 301                                                                    BEDFORD         IN 47421‐3242
MS AUDREY J BRAGGS        2450 W GRAND BLVD APT 1016                                                           DETROIT         MI 48208‐1256
MS AUDREY L TISDALE       5900 BRIDGE RD APT 502                                                               YPSILANTI       MI 48197‐7010
MS AUDREY L WALKER        472 HOLLIS ST APT 2                                                                  FRAMINGHAM      MA 01702‐8623
MS AUDREY M CHAPMAN       1086 DOWAGIAC AVE                                                                    MOUNT MORRIS    MI 48458‐2558
MS AUDREY M GERDING       2130 BRADY AVE                                                                       BURTON          MI 48529‐2425
MS AUDREY MAGEE           563 LANCASTER LN                                                                     PONTIAC         MI 48342‐1852
MS AUDREY R MATTHEWS      3326 ROOSEVELT ST                                                                    DETROIT         MI 48208‐2355
MS AUDREY R WATSON        12 STANLEY AVE                                                                       WILMINGTON      DE 19804‐2851
MS AUDREY W WATSON        11160 OXBOW ST                                                                       LIVONIA         MI 48150‐3147
MS AUDREY WRITTENHOUSE    1714 S GHARKEY ST                                                                    MUNCIE          IN 47302‐3181
MS AUGUSTA D ROBINSON     87 PUTNAM AVE                                                                        PONTIAC         MI 48342‐1266
MS AURELIA L OCHOA        223 W COLUMBIA AVE                                                                   PONTIAC         MI 48340‐1815
MS AURELIA T RANJO        448 FOX HILLS DR S APT 3                                                             BLOOMFIELD      MI 48304‐1352
MS AUTUMN I GIBSON        1475 JOLSON AVE                                                                      BURTON          MI 48529‐2029
MS AUTUMN L POLK          1324 HENDRICKS WAY                                                                   WATERFORD       MI 48328‐4235
MS AVA N HORTON           1305 K ST APT 313                                                                    BEDFORD         IN 47421‐3242
MS AVEREE LITTLEJOHN      1702 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2185
MS B WHITE                3820 MAGNOLIA ST                                                                     DETROIT         MI 48208‐2345
MS BAHATI E FLETCHER      3945 TOLEDO ST                                                                       DETROIT         MI 48216‐1060
MS BARBARA A BAXTER       250 MAIN ST APT 2                                                                    MASSENA         NY 13662‐1917
MS BARBARA A CALLES       4477 BRANDON ST                                                                      DETROIT         MI 48209‐1333
MS BARBARA A CARPENTER    9813 GERALDINE ST                                                                    YPSILANTI       MI 48197‐6923
MS BARBARA A GAUTHIER     9 LAUREL AVE APT 409                                                                 MASSENA         NY 13662‐2057
MS BARBARA A JACOBS       6055 LAKE DR                                                                         YPSILANTI       MI 48197‐7017
MS BARBARA A MAHONEY      771 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1343
MS BARBARA A MINNIEAR     1464 JOLSON AVE                                                                      BURTON          MI 48529‐2030
MS BARBARA A MULLINS      5900 BRIDGE RD APT 415                                                               YPSILANTI       MI 48197‐7009
MS BARBARA A PEIFER       5900 BRIDGE RD APT 413                                                               YPSILANTI       MI 48197‐7009
MS BARBARA A RICHARDS     2062 JAMES ST                                                                        BURTON          MI 48529‐1348
MS BARBARA A SHARPE       11800 BROOKPARK RD TRLR C21                                                          CLEVELAND       OH 44130‐1184
MS BARBARA A SMITH        802 WILBERFORCE DR                                                                   FLINT           MI 48503‐5237
MS BARBARA A VALKS        221 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1878
MS BARBARA A WEST         200 W BEVERLY AVE                                                                    PONTIAC         MI 48340‐2623
MS BARBARA A WRIGHT       1509 N INDIANA AVE                                                                   KOKOMO          IN 46901‐2045
MS BARBARA B LAMBERT      11241 KAREN ST                                                                       LIVONIA         MI 48150‐3182
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Name                       Address1                           Address2            Address3         Address4         City             State Zip
MS BARBARA C SZELAG        4864 SAINT HEDWIG ST                                                                     DETROIT           MI 48210‐3223
MS BARBARA CAMPBELL        1 AARON ST                                                                               FRAMINGHAM        MA 01702‐8746
MS BARBARA CATANZARITE     9 LAUREL AVE APT 203                                                                     MASSENA           NY 13662‐2054
MS BARBARA E LACEY         1808 W 8TH ST                                                                            MUNCIE            IN 47302‐2195
MS BARBARA E LOWE          1236 UNIVERSITY DR                                                                       PONTIAC           MI 48342‐1969
MS BARBARA E TAYLOR        1213 N ARMSTRONG ST                                                                      KOKOMO            IN 46901‐2819
MS BARBARA E VIOLI         24 WALNUT AVE                                                                            MASSENA           NY 13662‐2023
MS BARBARA F MCDOWELL      556 E FOX HILLS DR                                                                       BLOOMFIELD        MI 48304‐1312
MS BARBARA FRANCE          215 W CORNELL AVE                                                                        PONTIAC           MI 48340‐2725
MS BARBARA J ANDERSON      1051 TERRY AVE                                                                           MOUNT MORRIS      MI 48458‐2539
MS BARBARA J BOUCHARD      2037 DELANEY ST                                                                          BURTON            MI 48509‐1022
MS BARBARA J BROWNELL      20 RIDGEWOOD AVE                                                                         MASSENA           NY 13662‐2114
MS BARBARA J CARNES        1305 K ST APT 401                                                                        BEDFORD           IN 47421‐3285
MS BARBARA J DENNIS        576 HELEN ST                                                                             MOUNT MORRIS      MI 48458‐1923
MS BARBARA J DIPPEL        742 BON AIR RD                                                                           LANSING           MI 48917‐2316
MS BARBARA J ENTSMINGER    1421 W MEMORIAL DR                                                                       MUNCIE            IN 47302‐2101
MS BARBARA J FISHER        490 FOX HILLS DR N APT 2                                                                 BLOOMFIELD        MI 48304‐1337
MS BARBARA J HUGHES        722 NEWMAN LN                                                                            PONTIAC           MI 48340‐3304
MS BARBARA J KEEN          2155 E BOATFIELD AVE                                                                     BURTON            MI 48529‐1713
MS BARBARA J LEE           526 WALNUT ST                                                                            MOUNT MORRIS      MI 48458‐1953
MS BARBARA J LOCK          1701 N BELL ST                                                                           KOKOMO            IN 46901‐2331
MS BARBARA J MAYES         622 E RANKIN ST                                                                          FLINT             MI 48505‐4324
MS BARBARA J MCCRAY        2103 BRADY AVE                                                                           BURTON            MI 48529‐2426
MS BARBARA J NICHOLS       2116 E WHITTEMORE AVE                                                                    BURTON            MI 48529‐1726
MS BARBARA J PAVELICK      833 SARASOTA AVE                                                                         PONTIAC           MI 48340‐2369
MS BARBARA J PRATT         1373 WEBBER AVE                                                                          BURTON            MI 48529‐2033
MS BARBARA J QUENNEVILLE   11784 US HIGHWAY 11                                                                      NORTH LAWRENCE    NY 12967‐1534
MS BARBARA J SHREVES       78 WALNUT HEIGHTS RD                                                                     BEDFORD           IN 47421‐9122
MS BARBARA J SLOAN         2019 READY AVE                                                                           BURTON            MI 48529‐2055
MS BARBARA J SPRAGUE       58 W YALE AVE                                                                            PONTIAC           MI 48340‐1856
MS BARBARA J TINDER        2205 N MARKET ST                                                                         KOKOMO            IN 46901‐1448
MS BARBARA J TRIMBLE       991 ARGYLE AVE                                                                           PONTIAC           MI 48341‐2302
MS BARBARA KEEN            2171 E SCOTTWOOD AVE                                                                     BURTON            MI 48529‐1751
MS BARBARA KNIGHT          1514 11TH ST                                                                             BEDFORD           IN 47421‐2804
MS BARBARA KUZMINSKA       604 BECKER AVE                                                                           WILMINGTON        DE 19804‐2106
MS BARBARA L EARLS         1708 W 13TH ST                                                                           MUNCIE            IN 47302‐2177
MS BARBARA L KRIEGER       10779 GABRIELLA DR                                                                       CLEVELAND         OH 44130‐1425
MS BARBARA L PEEL          2216 WEBBER AVE                                                                          BURTON            MI 48529‐2416
MS BARBARA L SNELL         1005 DEWEY ST                                                                            PONTIAC           MI 48340‐2637
MS BARBARA M BYRD          1138 E COLDWATER RD                                                                      FLINT             MI 48505‐1504
MS BARBARA M FISH          1312 K ST                                                                                BEDFORD           IN 47421‐3215
MS BARBARA M WOOD          6149 LAKE DR                                                                             YPSILANTI         MI 48197‐7052
MS BARBARA MORAN           620 W 10TH ST                                                                            MUNCIE            IN 47302‐3125
MS BARBARA N HENRICH       444 FOX HILLS DR N APT 5                                                                 BLOOMFIELD        MI 48304‐1329
MS BARBARA R ELDRED        2406 LINKWOOD AVE                                                                        WILMINGTON        DE 19805‐2330
MS BARBARA R ROCK          PO BOX 457                                                                               MOUNT MORRIS      MI 48458‐0457
MS BARBARA S BENJAMIN      738 E FOX HILLS DR                                                                       BLOOMFIELD        MI 48304‐1361
MS BARBARA S LANGLEY       940 EMERSON AVE                                                                          PONTIAC           MI 48340‐3229
MS BARBARA S PRAY          450 N JACKSON ST                                                                         BEDFORD           IN 47421‐1528
MS BARBARA S WYNN          2344 SCOTTEN ST                                                                          DETROIT           MI 48209‐1359
MS BARBARA SHARPLEY        957 EMERSON AVE                                                                          PONTIAC           MI 48340‐3230
MS BARBARA T DODGE         45 PROSPECT AVE                                                                          MASSENA           NY 13662‐1748
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Name                        Address1                       Address2            Address3         Address4         City           State Zip
MS BARBARA T HADRANYI       903 W POWERS ST                                                                      MUNCIE          IN 47305‐2268
MS BARBARA TIGNON           120 MAIN ST APT 7                                                                    MASSENA         NY 13662‐1998
MS BARBARA V HOLTON         1041 BOYNTON DR                                                                      LANSING         MI 48917‐1759
MS BARBARA Y YOUNG‐MILLER   549 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1311
MS BASILISA PEREZ           2084 CLARKDALE ST                                                                    DETROIT         MI 48209‐3911
MS BEATRICE A MILLARD       1404 READY AVE                                                                       BURTON          MI 48529‐2052
MS BEATRICE C ROBINSON      830 ALBERT ST                                                                        MOUNT MORRIS    MI 48458‐2015
MS BEATRICE E HUDSON        522 PAGE ST                                                                          FLINT           MI 48505‐4734
MS BEATRICE EWING           674 NEWMAN LN                                                                        PONTIAC         MI 48340‐3300
MS BEATRICE I BROTHERS      9 LAUREL AVE APT 403                                                                 MASSENA         NY 13662‐2057
MS BEATRICE L WILTON        1618 N LAFOUNTAIN ST                                                                 KOKOMO          IN 46901‐2315
MS BEATRICE LEROY           527 SEDGEFIELD DR                                                                    BLOOMFIELD      MI 48304‐1058
MS BEATRICE MCCRAY          1253 E YALE AVE                                                                      FLINT           MI 48505‐1752
MS BEATRICE R CLAFFEY       1 GRASSMERE TER APT 35                                                               MASSENA         NY 13662‐2164
MS BEATRICE T GRAY          716 MORRIS AVE                                                                       LANSING         MI 48917‐2323
MS BEBA B PENNY             1324 KELLOGG AVE                                                                     JANESVILLE      WI 53546‐6022
MS BECKY A HEDGE            1716 G ST                                                                            BEDFORD         IN 47421‐4636
MS BECKY EASTON             3035 N SAFFRON                                                                       MESA            AZ 85215‐0906
MS BECKY L PAYNE            102 BLAINE AVE                                                                       PONTIAC         MI 48342‐1173
MS BECKY M SPARKS           1305 K ST APT 332                                                                    BEDFORD         IN 47421‐3243
MS BECKY MORAY              233 N GRACE ST                                                                       LANSING         MI 48917‐4909
MS BECKY SAUNDERS           808 W 14TH ST                                                                        MUNCIE          IN 47302‐7612
MS BELINDA A JILES‐MASON    857 PALMER DR                                                                        PONTIAC         MI 48342‐1861
MS BELINDA F SPILLERS       632 LANCASTER LN                                                                     PONTIAC         MI 48342‐1851
MS BELINDA G DUPREE         8 COPA LN                                                                            WILMINGTON      DE 19804‐2050
MS BELINDA J BONNER         1120 LAPORT AVE                                                                      MOUNT MORRIS    MI 48458‐2576
MS BELINDA M BURNETT‐LETT   5697 CHEVROLET BLVD APT B205                                                         PARMA           OH 44130‐8700
MS BERLINDA C BRANNER       317 W HOPKINS AVE                                                                    PONTIAC         MI 48340‐1719
MS BERNADENE E GRIM         1823 W 8TH ST                                                                        MUNCIE          IN 47302‐2196
MS BERNADET TAYLOR          46 NIGHTENGALE AVE                                                                   MASSENA         NY 13662‐1715
MS BERNADETT DAVIS          1320 E HARVARD AVE                                                                   FLINT           MI 48505‐1759
MS BERNADETTE M DONOHUE     539 SEDGEFIELD DR                                                                    BLOOMFIELD      MI 48304‐1058
MS BERNADINE TOLIVER        1187 E KURTZ AVE                                                                     FLINT           MI 48505‐1527
MS BERNICE E JAMES          700 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1360
MS BERNICE M ALHORN         1611 F ST                                                                            BEDFORD         IN 47421‐4325
MS BERNICE M BRANT          5109 LAUDERDALE DR                                                                   MORAINE         OH 45439‐2928
MS BERNICE M ERVIN          1226 E PRINCETON AVE                                                                 FLINT           MI 48505‐1755
MS BERNICE QUILES           43 LEANEE LN                                                                         PONTIAC         MI 48340‐1651
MS BERNIECE M DEWITT        2124 N MARKET ST                                                                     KOKOMO          IN 46901‐1451
MS BERTHA A SOLIS           2508 JUNCTION ST                                                                     DETROIT         MI 48209‐1347
MS BERTHA A THOMPSON        130 N CATHERINE ST                                                                   LANSING         MI 48917‐2928
MS BERTHA ANDERSON          436 BON AIR RD                                                                       LANSING         MI 48917‐2981
MS BERTHA H JIMENEZ         2048 CLARKDALE ST                                                                    DETROIT         MI 48209‐3911
MS BERTHA I PANGBORN        856 MORRIS AVE                                                                       LANSING         MI 48917‐2319
MS BERTHA KAJKOWSKI         29200 ELMIRA ST                                                                      LIVONIA         MI 48150‐3168
MS BERTHA MORGAN            9 LAUREL AVE APT 906                                                                 MASSENA         NY 13662‐2159
MS BERTHA S PAJEWSKI        7 E CONRAD DR                                                                        WILMINGTON      DE 19804‐2037
MS BERTINA W SEATON         567 LANCASTER LN                                                                     PONTIAC         MI 48342‐1852
MS BESSIE L MANN            2188 E BUDER AVE                                                                     BURTON          MI 48529‐1736
MS BESSIE L RYAN            2145 E JUDD RD                                                                       BURTON          MI 48529‐2404
MS BESSIE M EVERHARRT       818 W LORDEMAN ST                                                                    KOKOMO          IN 46901‐2019
MS BESSIE R DONALDSON       104 MARCY CT                                                                         PONTIAC         MI 48340‐1652
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
MS BETH A AXSOM          643 RILEY BLVD                                                                       BEDFORD         IN 47421‐9337
MS BETH A BONNET         1415 18TH ST                                                                         BEDFORD         IN 47421‐4107
MS BETH A COLF           1124 BOYNTON DR                                                                      LANSING         MI 48917‐5704
MS BETH A HOEFT          1029 NELSON ST                                                                       FLINT           MI 48503‐1840
MS BETH A KOHLHORST      590 CAMPBELL BRANCH RD                                                               HADDIX          KY 41339‐7031
MS BETH A WOOD           629 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1907
MS BETH A ZIMMERMAN      1113 W 15TH ST                                                                       MUNCIE          IN 47302‐3069
MS BETH HATFIELD         901 W 10TH ST                                                                        MUNCIE          IN 47302‐3193
MS BETH M CALKINS        2619 S US HIGHWAY 51                                                                 JANESVILLE      WI 53546‐9101
MS BETH M MILES          212 N CATHERINE ST                                                                   LANSING         MI 48917‐4902
MS BETHANY A DEROUCHIA   13 KENT ST                                                                           MASSENA         NY 13662‐2123
MS BETHANY A GOEKE       21 DANFORTH PL                                                                       MASSENA         NY 13662‐1813
MS BETHANY A VADER       2110 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1752
MS BETHANY J ELDRIDGE    11491 SHARON DR APT C709                                                             PARMA           OH 44130‐8704
MS BETHANY L PARKS       8060 GRENARD CT                                                                      GRAND BLANC     MI 48439‐8158
MS BETHANY R DUSTIN      1309 LELAND ST                                                                       FLINT           MI 48507‐5342
MS BETHZAIDA VAZQUEZ     800 MELROSE ST                                                                       PONTIAC         MI 48340‐3123
MS BETSY L BERNARD       718 WOODSEDGE RD                                                                     WILMINGTON      DE 19804‐2626
MS BETTE A DERUCHIA      20 KENT ST                                                                           MASSENA         NY 13662‐2119
MS BETTE J MORRIS        1701 13TH ST                                                                         BEDFORD         IN 47421‐3115
MS BETTI A DUNCAN        3274 SHEFFIELD RD                                                                    DAYTON          OH 45449‐2766
MS BETTIE J JAMES        547 FOX HILLS DR S APT 2                                                             BLOOMFIELD      MI 48304‐1358
MS BETTIE J MASON        483 W COLUMBIA AVE APT 204                                                           PONTIAC         MI 48340‐1644
MS BETTIE L KELLY        658 PALMER DR                                                                        PONTIAC         MI 48342‐1854
MS BETTIE M ROBINSON     722 STIRLING ST                                                                      PONTIAC         MI 48340‐3169
MS BETTY A FORD          6056 GEORGE ST                                                                       MOUNT MORRIS    MI 48458‐2524
MS BETTY A GREEN         5581 CHEVROLET BLVD APT C209                                                         PARMA           OH 44130‐1478
MS BETTY E LOWERY        11800 BROOKPARK RD TRLR J76                                                          CLEVELAND       OH 44130‐1184
MS BETTY EVANS           795 MONTICELLO AVE                                                                   PONTIAC         MI 48340‐2323
MS BETTY I GILLISON      3105 W SAGINAW ST                                                                    LANSING         MI 48917‐2308
MS BETTY I GILLSON       615 BRYNFORD AVE                                                                     LANSING         MI 48917‐4901
MS BETTY J ANDERSON      1911 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2187
MS BETTY J BAKER         508 W 9TH ST                                                                         MUNCIE          IN 47302‐3119
MS BETTY J BUNDY         422 M ST                                                                             BEDFORD         IN 47421‐1819
MS BETTY J CLOUGH        1529 ANTHONY AVE                                                                     JANESVILLE      WI 53546‐6009
MS BETTY J GONZALEZ      789 ORLANDO AVE                                                                      PONTIAC         MI 48340‐2354
MS BETTY J HIGHTOWER     1601 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2184
MS BETTY J KIRKSEY       398 W COLUMBIA AVE                                                                   PONTIAC         MI 48340‐1618
MS BETTY J MANLOVE       2102 LINKWOOD AVE                                                                    WILMINGTON      DE 19805‐2419
MS BETTY J MELTON        369 SPRUCE ST                                                                        MOUNT MORRIS    MI 48458‐1936
MS BETTY J MIMS          1436 WEBBER AVE                                                                      BURTON          MI 48529‐2034
MS BETTY J MONROE        123 N DEERFIELD AVE                                                                  LANSING         MI 48917‐2985
MS BETTY J NOVAK         115 DAIRYLAND DR                                                                     MILTON          WI 53563‐1013
MS BETTY J SUPER         1511 4TH ST                                                                          BEDFORD         IN 47421‐1723
MS BETTY J TENANT        504 WALNUT ST                                                                        MOUNT MORRIS    MI 48458‐1953
MS BETTY J THOMAS        317 W HOPKINS AVE                                                                    PONTIAC         MI 48340‐1719
MS BETTY J WILKE         11800 BROOKPARK RD TRLR 144                                                          CLEVELAND       OH 44130‐1100
MS BETTY J WRAY          2236 E BUDER AVE                                                                     BURTON          MI 48529‐1736
MS BETTY L BEAULIEU      36 PARKER AVE                                                                        MASSENA         NY 13662‐2215
MS BETTY L CLARK         3562 MCKINLEY ST                                                                     DETROIT         MI 48208‐2347
MS BETTY L FIELDS        110 PINGREE AVE # 1                                                                  PONTIAC         MI 48342‐1103
MS BETTY L MORRISON      1500 W 14TH ST                                                                       MUNCIE          IN 47302‐2913
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Name                      Address1                        Address2            Address3         Address4         City            State Zip
MS BETTY L TURNER         11221 GARDEN ST                                                                       LIVONIA          MI 48150‐3178
MS BETTY M NIGHTINGALE    58 BRIDGES AVE                                                                        MASSENA          NY 13662‐1828
MS BETTY M ROUSE          2101 CASHIN ST                                                                        BURTON           MI 48509‐1139
MS BETTY M WOOD           571 HELEN ST                                                                          MOUNT MORRIS     MI 48458‐1922
MS BETTY NOEL             1600 W 8TH ST                                                                         MUNCIE           IN 47302‐2193
MS BETTY R PHILLIPS       1501 S LIBERTY ST                                                                     MUNCIE           IN 47302‐3149
MS BETTY RICE             86 W CORNELL AVE                                                                      PONTIAC          MI 48340‐2718
MS BETTY S PETERS         2141 E BRISTOL RD                                                                     BURTON           MI 48529‐1320
MS BETTY WHALEN           28 LAUREL AVE                                                                         MASSENA          NY 13662‐2086
MS BETTY YEE              2917 S ATLANTIC AVE APT 905                                                           DAYTONA BEACH    FL 32118
MS BETZAIDA DEJESUS       705 KENILWORTH AVE                                                                    PONTIAC          MI 48340‐3241
MS BEULAH M DYKES         1397 E SCHUMACHER ST                                                                  BURTON           MI 48529‐1619
MS BEULAH M MILLER        52 DOUGLAS RD                                                                         MASSENA          NY 13662‐2133
MS BEVERLEY A WILLARD     3833 MARMION AVE                                                                      FLINT            MI 48506‐4241
MS BEVERLY A BASS         2004 W BURBANK AVE                                                                    JANESVILLE       WI 53546‐5977
MS BEVERLY A GAFFNEY      812 BON AIR RD                                                                        LANSING          MI 48917‐2316
MS BEVERLY A HODSON       421 N GRACE ST                                                                        LANSING          MI 48917‐4911
MS BEVERLY A HUGGINS      1900 W MEMORIAL DR                                                                    MUNCIE           IN 47302‐2161
MS BEVERLY A LATNIE       326 BON AIR RD                                                                        LANSING          MI 48917‐2903
MS BEVERLY A SCUDDY       1112 W BURBANK AVE APT 103                                                            JANESVILLE       WI 53546‐6146
MS BEVERLY A VANDAGRIFF   330 W PRINCETON AVE                                                                   PONTIAC          MI 48340‐1740
MS BEVERLY A WILLIAMS     5623 CHEVROLET BLVD APT 6                                                             PARMA            OH 44130‐8707
MS BEVERLY BERRY          33 LEANEE LN                                                                          PONTIAC          MI 48340‐1651
MS BEVERLY CORL           124 MAIN ST                                                                           MASSENA          NY 13662‐1916
MS BEVERLY D MCMAHAN      1478 E BUDER AVE                                                                      BURTON           MI 48529‐1606
MS BEVERLY E CURRAN       31 CLARK ST                                                                           MASSENA          NY 13662‐1811
MS BEVERLY J BROWN        2138 WEBBER AVE                                                                       BURTON           MI 48529‐2414
MS BEVERLY J DOTTS        439 SUGAR HILL ADDITION                                                               BEDFORD          IN 47421‐8141
MS BEVERLY J SCOUGALE     119 N CATHERINE ST                                                                    LANSING          MI 48917‐2929
MS BEVERLY J SUITER       1112 W BURBANK AVE APT 309                                                            JANESVILLE       WI 53546‐6146
MS BEVERLY J TROWBRIDGE   929 I ST                                                                              BEDFORD          IN 47421‐2639
MS BEVERLY J WYLES        609 WALKER ST                                                                         MOUNT MORRIS     MI 48458‐1946
MS BEVERLY KEENE          490 HELEN ST                                                                          MOUNT MORRIS     MI 48458‐1921
MS BEVERLY KNOX           2826 VINEWOOD ST                                                                      DETROIT          MI 48216‐1085
MS BEVERLY S MAGGARD      1208 W 16TH ST                                                                        MUNCIE           IN 47302‐3081
MS BEVERLY WILKINSON      601 BOXWOOD RD                                                                        WILMINGTON       DE 19804‐2010
MS BIANCA L PEJUAN        4865 KONKEL ST                                                                        DETROIT          MI 48210‐3207
MS BIANCA LOGAN           1213 BRISTOL COURT DR                                                                 MOUNT MORRIS     MI 48458‐2180
MS BIANCA POMPA           585 SOUTH BLVD E                                                                      PONTIAC          MI 48341‐3163
MS BILLIE A HENSON        2188 E BERGIN AVE                                                                     BURTON           MI 48529‐1782
MS BILLIE B RODR          189 W YALE AVE                                                                        PONTIAC          MI 48340‐1865
MS BILLIE J MITCHELL      1013 W 1ST ST                                                                         MUNCIE           IN 47305‐2102
MS BIRDIE L BROOKS        5637 MERRITT ST                                                                       DETROIT          MI 48209‐1317
MS BLANCA ARELLANO        3800 CENTERPOINT PKWY                                                                 PONTIAC          MI 48341‐3161
MS BLANCA LARA            72 BLAINE AVE                                                                         PONTIAC          MI 48342‐1100
MS BLANCHE B LA ROSE      107 TRIPP ST                                                                          FRAMINGHAM       MA 01702‐8775
MS BLANCHE E STEWART      826 W NORTH ST                                                                        KOKOMO           IN 46901‐2768
MS BOBBI DAILEY           1618 P ST                                                                             BEDFORD          IN 47421‐4123
MS BOBBI J PERKINS        13 CLARK ST APT A                                                                     MASSENA          NY 13662‐2807
MS BOBBIE A ALLEN         731 STIRLING ST                                                                       PONTIAC          MI 48340‐3173
MS BOBBIE F BLECKLEY      883 MONTICELLO AVE                                                                    PONTIAC          MI 48340‐2329
MS BOBBIE I COX           2172 E BRISTOL RD                                                                     BURTON           MI 48529‐1321
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
MS BOBBIE J BULAR        2205 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1727
MS BOBBIE J MARTINEZ     189 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1843
MS BOBBIE J ZAHORODNIJ   11430 SHARON DR APT D203                                                             PARMA           OH 44130‐1442
MS BOBBIE R JAGADE       191 W KENNETT RD APT 104                                                             PONTIAC         MI 48340‐2679
MS BOBBIE R WARRELL      1209 W 16TH ST                                                                       MUNCIE          IN 47302‐3082
MS BOBBYE GARRETTE       1720 S GHARKEY ST                                                                    MUNCIE          IN 47302‐3181
MS BOBETTE A RODRIQUEZ   1155 AMOS ST                                                                         PONTIAC         MI 48342‐1803
MS BONDA M VOGEL         2338 CENTER AVE                                                                      JANESVILLE      WI 53546‐9007
MS BONITA J CAMERON      630 MELROSE ST                                                                       PONTIAC         MI 48340‐3115
MS BONITTA L DAVIS       1111 HERRINGTON LN                                                                   PONTIAC         MI 48342‐1837
MS BONNIE BANTER         1905 N BELL ST                                                                       KOKOMO          IN 46901‐2329
MS BONNIE C MARCUM       150 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2758
MS BONNIE D DUNCAN       700 W 5TH ST                                                                         MUNCIE          IN 47302‐2203
MS BONNIE E FLORES       2075 E PARKWOOD AVE                                                                  BURTON          MI 48529‐1763
MS BONNIE ELROD          1105 KELLOGG AVE TRLR B22                                                            JANESVILLE      WI 53546‐6088
MS BONNIE FREEMAN        4689 BRANDON ST                                                                      DETROIT         MI 48209‐1334
MS BONNIE J BENNETT      6360 BUNTON RD APT 4                                                                 YPSILANTI       MI 48197‐7082
MS BONNIE J BURKE        36 ELM ST                                                                            MASSENA         NY 13662‐1826
MS BONNIE J HANSEN       741 NEWMAN LN                                                                        PONTIAC         MI 48340‐3305
MS BONNIE J HOWARD       9979 JOAN CIR                                                                        YPSILANTI       MI 48197‐6903
MS BONNIE J LANCTOT      77 W YALE AVE                                                                        PONTIAC         MI 48340‐1859
MS BONNIE J PATMORE      1126 N COURTLAND AVE                                                                 KOKOMO          IN 46901‐2756
MS BONNIE K JACKSON      1408 E MCLEAN AVE                                                                    BURTON          MI 48529‐1612
MS BONNIE L CADWELL      806 ORLANDO AVE                                                                      PONTIAC         MI 48340‐2355
MS BONNIE L CONWAY       339 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1741
MS BONNIE L FYE          1508 4TH ST                                                                          BEDFORD         IN 47421‐1724
MS BONNIE L KEGLER       1150 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1704
MS BONNIE L MARCUM       251 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2763
MS BONNIE L STEWARD      128 EUCLID AVE                                                                       PONTIAC         MI 48342‐1113
MS BONNIE L VANGORDEN    15 BRIDGES AVE APT 1                                                                 MASSENA         NY 13662‐1876
MS BONNIE M AMPS         17 CHERRY HILL DR                                                                    PONTIAC         MI 48340‐1605
MS BONNIE M BEARD        1433 W 10TH ST                                                                       MUNCIE          IN 47302‐2168
MS BONNIE M BURNS        1305 KING ST                                                                         JANESVILLE      WI 53546‐6073
MS BONNIE M FLINTOFF     1233 N UNION ST                                                                      KOKOMO          IN 46901‐2901
MS BONNIE M GAGNE        34 KENT ST                                                                           MASSENA         NY 13662‐2118
MS BONNIE OLSON          124 ANDREWS ST                                                                       MASSENA         NY 13662‐1852
MS BONNIE R SPARKS       219 W STRATHMORE AVE                                                                 PONTIAC         MI 48340‐2779
MS BONNIE RAY            824 17TH ST                                                                          BEDFORD         IN 47421‐4249
MS BONNIE S BANKS        41 KAREN CT                                                                          PONTIAC         MI 48340‐1636
MS BONNIE SCHULTZ        5500 LAURENT DR APT 217                                                              CLEVELAND       OH 44129‐5992
MS BONNITA M RAFTER      119 E ORVIS ST                                                                       MASSENA         NY 13662‐4264
MS BRANDI A AMA          237 N GRACE ST                                                                       LANSING         MI 48917‐4909
MS BRANDI D KING         2202 LINKWOOD AVE                                                                    WILMINGTON      DE 19805‐2420
MS BRANDI L REYNOLDS     120 WARWOOD TER                                                                      WHEELING        WV 26003‐7162
MS BRANDI M BRENT        1516 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2183
MS BRANDI M MARION       707 OXFORD ST                                                                        BEDFORD         IN 47421‐1539
MS BRANDI M UMPHREY      860 ORLANDO AVE                                                                      PONTIAC         MI 48340‐2355
MS BRANDI N BENNETT      650 PALMER DR                                                                        PONTIAC         MI 48342‐1854
MS BRANDI SOPKOVICH      5511 CHEVROLET BLVD APT A30                                                          CLEVELAND       OH 44130‐1461
MS BRANDI T MABIN        210 W RUNDELL ST                                                                     PONTIAC         MI 48342‐1272
MS BRANDY DOUGLAS        73 PUTNAM AVE                                                                        PONTIAC         MI 48342‐1266
MS BRANDY E ZINN         1373 NORTON ST                                                                       BURTON          MI 48529‐1258
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MS BRANDY HINSBERG       177 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1853
MS BRANDY L BROWN        1234 BENNETT AVE                                                                     FLINT            MI 48506‐3255
MS BRENDA A GAINES       221 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1845
MS BRENDA A JONES        739 NEWMAN LN                                                                        PONTIAC          MI 48340‐3305
MS BRENDA A SCRIVNER     1802 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2186
MS BRENDA CROSS          2235 E BUDER AVE                                                                     BURTON           MI 48529‐1735
MS BRENDA DUNCAN         107 O ST                                                                             BEDFORD          IN 47421‐1713
MS BRENDA ELDRIDGE       36880 ECORSE RD                                                                      ROMULUS          MI 48174‐1395
MS BRENDA G ABCUMBY      622 KETTERING AVE                                                                    PONTIAC          MI 48340‐3267
MS BRENDA HERRING        45 SALLEE LN                                                                         PONTIAC          MI 48340‐1656
MS BRENDA J BURGESS      86 W YALE AVE                                                                        PONTIAC          MI 48340‐1860
MS BRENDA J DOTY         6146 SANDY LN                                                                        BURTON           MI 48519‐1310
MS BRENDA J MONTGOMERY   1712 O ST                                                                            BEDFORD          IN 47421‐4119
MS BRENDA J SCHLUTER     2403 FERGUSON RD                                                                     ONTARIO          OH 44906‐1106
MS BRENDA J TURNER       4300 WOODROW AVE                                                                     BURTON           MI 48509‐1126
MS BRENDA JOHNSON        195 WALNUT HEIGHTS RD                                                                BEDFORD          IN 47421‐8168
MS BRENDA K MCCLURE      909 E JOLLY RD APT 10                                                                LANSING          MI 48910‐6844
MS BRENDA L DEBUS        1414 BRADY AVE                                                                       BURTON           MI 48529‐2010
MS BRENDA L DINKINS      901 W 15TH ST                                                                        MUNCIE           IN 47302‐3065
MS BRENDA L DODGE        54 RANSOM AVE                                                                        MASSENA          NY 13662‐1734
MS BRENDA L NELSON       203 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1835
MS BRENDA L WRIGHT       58 W YPSILANTI AVE                                                                   PONTIAC          MI 48340‐1870
MS BRENDA L ZADROZNY     12301 HARTEL ST                                                                      LIVONIA          MI 48150‐2378
MS BRENDA LOWERY         1412 N WABASH AVE                                                                    KOKOMO           IN 46901‐2669
MS BRENDA MCKEE          804 W NORTH ST                                                                       KOKOMO           IN 46901‐2768
MS BRENDA OWEN           827 SOUTH BLVD E                                                                     PONTIAC          MI 48341‐3133
MS BRENDA S BALLARD      183 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1813
MS BRENDA S CLARK        2121 N WASHINGTON ST                                                                 KOKOMO           IN 46901‐5839
MS BRENDA S CLARK        2086 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1712
MS BRENDA S HILL         11204 MANSFIELD CLUB DR                                                              FREDERICKSBRG    VA 22408‐2046
MS BRENDA S JORDAN       1461 E SCHUMACHER ST                                                                 BURTON           MI 48529‐1621
MS BRENDA S MANNING      790 NEWMAN LN                                                                        PONTIAC          MI 48340‐3304
MS BRENDA S MEYERS       2187 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1767
MS BRENDA SWEARINGEN     1519 W 8TH ST                                                                        MUNCIE           IN 47302‐2114
MS BRENDA T HALEY        11200 MANSFIELD CLUB DR                                                              FREDERICKSBRG    VA 22408‐2046
MS BRENDA TALLEY         5717 CHEVROLET BLVD APT A208                                                         PARMA            OH 44130‐8721
MS BRENDA W PHILLIPS     5623 CHEVROLET BLVD APT 3                                                            PARMA            OH 44130‐8707
MS BRENDA WILEY          1154 E HARVARD AVE                                                                   FLINT            MI 48505‐1524
MS BREONA I MOORE        3116 COURT ST APT 10                                                                 SYRACUSE         NY 13206‐1049
MS BRIDGET L SPENCER     1455 READY AVE                                                                       BURTON           MI 48529‐2053
MS BRIDGET N SCHIEFER    91 W COLUMBIA AVE                                                                    PONTIAC          MI 48340‐1809
MS BRIDGETT M CONDON     60 DOUGLAS RD                                                                        MASSENA          NY 13662‐2132
MS BRIDGETT TATE         110 SUMMIT ST                                                                        PONTIAC          MI 48342‐1165
MS BRIDGETTE M SIMS      1501 LOYOLA DR                                                                       FLINT            MI 48503‐5225
MS BRIEL S EASLEY        1801 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2186
MS BRINN N PHILLIPS      29244 ELMIRA ST                                                                      LIVONIA          MI 48150‐3168
MS BRIONNA N GRAY        110 HUDSON AVE                                                                       PONTIAC          MI 48342‐1246
MS BRISIE L WILLIAMS     195 W KENNETT RD APT 110                                                             PONTIAC          MI 48340‐2682
MS BRITTANY HUBSON       915 WESTFIELD RD                                                                     LANSING          MI 48917‐2368
MS BRITTANY J REGER      2196 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1768
MS BRITTANY M GONZALEZ   624 LANCASTER LN                                                                     PONTIAC          MI 48342‐1851
MS BRITTANY N CLAUSEN    68 E ORVIS ST APT E                                                                  MASSENA          NY 13662‐2034
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Name                       Address1                       Address2            Address3         Address4         City         State Zip
MS BRITTANY SWOVELAND      1115 W 10TH ST                                                                       MUNCIE        IN 47302‐2257
MS BRITTANY TUCKER         1900 N MARKET ST                                                                     KOKOMO        IN 46901‐2366
MS BRITTNEY EDWARDS        26 E LONGFELLOW AVE                                                                  PONTIAC       MI 48340‐2742
MS BUNICE GREEN            801 W GRAND BLVD                                                                     DETROIT       MI 48216‐1056
MS BURNETTA A STARK        162 W YPSILANTI AVE                                                                  PONTIAC       MI 48340‐1873
MS C MARTIN                1417 E PARKWOOD AVE                                                                  BURTON        MI 48529‐1631
MS C STOVALL               1008 W POWERS ST                                                                     MUNCIE        IN 47305‐2139
MS CALANDRA RUSH           407 W 8TH ST                                                                         MUNCIE        IN 47302‐3110
MS CAMELIA J GETZ          1705 W 9TH ST                                                                        MUNCIE        IN 47302‐2122
MS CAMILLE M DANCY         5611 CHEVROLET BLVD APT C403                                                         PARMA         OH 44130‐1407
MS CANDACE HARDRICK        1200 W POWERS ST                                                                     MUNCIE        IN 47305‐2143
MS CANDACE J CARR          730 VAUGHT ST                                                                        PONTIAC       MI 48340‐2372
MS CANDACE M KONEN         609 FOX HILLS DR N                                                                   BLOOMFIELD    MI 48304‐1313
MS CANDICE M FOREMAN       1204 EASTFIELD RD                                                                    LANSING       MI 48917‐2390
MS CANDICE M PATTON        2001 N CENTER RD APT 326                                                             FLINT         MI 48506‐3167
MS CANDICE S SANBORN       2128 CONNELL ST                                                                      BURTON        MI 48529‐1335
MS CANDICE S SYKES         1305 K ST APT 302                                                                    BEDFORD       IN 47421‐3242
MS CANDISE R TAYLOR        15 CLARK ST                                                                          MASSENA       NY 13662‐1811
MS CANDRA C BAILEY         5641 CHEVROLET BLVD APT 4                                                            PARMA         OH 44130‐8710
MS CANDRA D PAYNE          2176 LANSING ST                                                                      DETROIT       MI 48209‐1673
MS CANDY R GEETER          162 W ANN ARBOR AVE                                                                  PONTIAC       MI 48340‐1800
MS CARA B FIELDS           1102 N ST                                                                            BEDFORD       IN 47421‐2935
MS CAREN S MALM            317 CENTRAL AVE                                                                      WILMINGTON    DE 19805‐2415
MS CARI A CRAMER           702 HARWOOD RD                                                                       WILMINGTON    DE 19804‐2659
MS CARI NICKELS            1106 N INDIANA AVE                                                                   KOKOMO        IN 46901‐2720
MS CARINA B CONOVER        601 17TH ST                                                                          BEDFORD       IN 47421‐4311
MS CARLA A WORKMAN         5691 CHEVROLET BLVD APT D103                                                         CLEVELAND     OH 44130‐1482
MS CARLA F AMARAL          502 HOLLIS ST                                                                        FRAMINGHAM    MA 01702‐8645
MS CARLA F FACELLO         714 ROBINWOOD ST                                                                     PONTIAC       MI 48340‐3139
MS CARLA J SNELL           39 WALNUT AVE                                                                        MASSENA       NY 13662‐2024
MS CARLA M ROBERTS         1507 TULANE CIR                                                                      FLINT         MI 48503‐5252
MS CARLA R JACKSON         1302 N LAFOUNTAIN ST                                                                 KOKOMO        IN 46901‐2328
MS CARLA S MCMICHAEL       179 W CORNELL AVE                                                                    PONTIAC       MI 48340‐2723
MS CARLENE A WHITE         523 15TH ST                                                                          BEDFORD       IN 47421‐3803
MS CARLENE J KRALL         10941 RIVEREDGE DR                                                                   CLEVELAND     OH 44130‐1252
MS CARLETTA R PARKER       5665 CHEVROLET BLVD APT 1                                                            CLEVELAND     OH 44130‐8714
MS CARLIN J RICHARDS       605 E RANKIN ST                                                                      FLINT         MI 48505‐4323
MS CARLINE D GUERRERO      2135 HUBBARD ST APT 6                                                                DETROIT       MI 48209‐3308
MS CARLOTTA A COX          309 L ST                                                                             BEDFORD       IN 47421‐1809
MS CARLOTTA EDMONDS        4038 WOODROW AVE                                                                     BURTON        MI 48509‐1012
MS CARMELA L HOWELL        57 PUTNAM AVE                                                                        PONTIAC       MI 48342‐1266
MS CARMELA MUELLER         280 W YPSILANTI AVE                                                                  PONTIAC       MI 48340‐1755
MS CARMELETIA N WILLIAMS   1133 AMOS ST                                                                         PONTIAC       MI 48342‐1883
MS CARMEN CANADAY          1818 W 7TH ST                                                                        MUNCIE        IN 47302‐2191
MS CARMEN G GUZMAN         4855 KONKEL ST                                                                       DETROIT       MI 48210‐3207
MS CARMEN GUZMAN           4840 KONKEL ST                                                                       DETROIT       MI 48210‐3208
MS CARMEN L ELTRINGHAM     2215 N BUCKEYE ST                                                                    KOKOMO        IN 46901‐5814
MS CARMEN M CHEEK          5900 BRIDGE RD APT 810                                                               YPSILANTI     MI 48197‐7010
MS CARMEN M MCKINNON       205 W YPSILANTI AVE                                                                  PONTIAC       MI 48340‐1878
MS CARMEN N CRUZ           146 HUDSON AVE                                                                       PONTIAC       MI 48342‐1129
MS CARMEN S MELLADO        151 W SHEFFIELD AVE                                                                  PONTIAC       MI 48340‐1851
MS CARMEN S PAQUIN         9 CHERRY ST                                                                          MASSENA       NY 13662‐1805
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Name                           Address1                       Address2            Address3         Address4         City            State Zip
MS CAROL A CREED               1445 READY AVE                                                                       BURTON           MI 48529‐2053
MS CAROL A DRAKE               1006 NELSON ST                                                                       FLINT            MI 48503‐1841
MS CAROL A DRAKE               1016 NELSON ST                                                                       FLINT            MI 48503‐1841
MS CAROL A GARZA               531 N ROSEMARY ST                                                                    LANSING          MI 48917‐2977
MS CAROL A HAMILTON            1505 PROPER AVE                                                                      BURTON           MI 48529‐2045
MS CAROL A PEPPER              1055 E HUMPHREY AVE                                                                  FLINT            MI 48505‐1509
MS CAROL A PORTER              63 GROVE ST                                                                          MASSENA          NY 13662‐2128
MS CAROL A PORTER              716 18TH ST                                                                          BEDFORD          IN 47421‐4210
MS CAROL A PRYOR               704 PALMER DR                                                                        PONTIAC          MI 48342‐1857
MS CAROL A SCHERSCHEL          1311 14TH ST                                                                         BEDFORD          IN 47421‐3230
MS CAROL A SHELL               6119 ROBERT CIR                                                                      YPSILANTI        MI 48197‐8280
MS CAROL A SYTEK               4240 WOODROW AVE                                                                     BURTON           MI 48509‐1054
MS CAROL A ZAROBELL            11010 SHARON DR                                                                      CLEVELAND        OH 44130‐1431
MS CAROL C MALBOUEF            203 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2779
MS CAROL COOPER                27 SALLEE LN                                                                         PONTIAC          MI 48340‐1656
MS CAROL DEROUCHIE             9 LAUREL AVE APT 703                                                                 MASSENA          NY 13662‐2058
MS CAROL E EGBO                716 CORTWRIGHT ST                                                                    PONTIAC          MI 48340‐2302
MS CAROL E LACY                75 GROVE ST                                                                          MASSENA          NY 13662‐2127
MS CAROL E STACKER             9 LAUREL AVE APT 802                                                                 MASSENA          NY 13662‐2058
MS CAROL F ERWIN               1816 W 11TH ST                                                                       MUNCIE           IN 47302‐6613
MS CAROL F MASCIO              4364 SHUBERT AVE                                                                     BURTON           MI 48529‐2161
MS CAROL F MCDOWELL            103 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2621
MS CAROL GARDNER               44 BRIDGES AVE                                                                       MASSENA          NY 13662‐1829
MS CAROL HARPER                1419 P ST                                                                            BEDFORD          IN 47421‐3624
MS CAROL J BOWMAN              4334 WOODROW AVE                                                                     BURTON           MI 48509‐1126
MS CAROL J COATES              4135 RISEDORPH ST                                                                    BURTON           MI 48509‐1067
MS CAROL J DUNCAN              29 READ AVE                                                                          WILMINGTON       DE 19804‐2033
MS CAROL J FORBEY              1323 E HARVARD AVE                                                                   FLINT            MI 48505‐1758
MS CAROL J KELLISON            21 WALNUT AVE                                                                        MASSENA          NY 13662‐2026
MS CAROL J MCCLELLAN           1310 E YALE AVE                                                                      FLINT            MI 48505‐1753
MS CAROL J STRANNAHAN          3 W KEYSTONE AVE                                                                     WILMINGTON       DE 19804‐2027
MS CAROL JOHNSON               11329 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2038
MS CAROL L HARPER              48 LINCOLN AVE                                                                       BEDFORD          IN 47421‐1611
MS CAROL L SAMSON              721 ROBINWOOD ST                                                                     PONTIAC          MI 48340‐3141
MS CAROL L SMYTH               317 BON AIR RD                                                                       LANSING          MI 48917‐2904
MS CAROL L ZIMMERMAN           59 BLAINE AVE                                                                        PONTIAC          MI 48342‐1101
MS CAROL LASHOMB               151 WATER ST                                                                         MASSENA          NY 13662‐2046
MS CAROL R HELBING             2 GREENWOOD RD                                                                       WILMINGTON       DE 19804‐2651
MS CAROL R TAYLOR              12 LAUREL AVE                                                                        MASSENA          NY 13662‐2028
MS CAROL S LAWRENCE            651 SEDGEFIELD DR                                                                    BLOOMFIELD       MI 48304‐1060
MS CAROL S MIDDLETON           811 W SPRAKER ST                                                                     KOKOMO           IN 46901‐2033
MS CAROL TOROK                 11580 AARON DR                                                                       CLEVELAND        OH 44130‐1267
MS CAROLE A ABARE              1232 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1736
MS CAROLE A BAIER              252 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1804
MS CAROLE A CUMMINGS           1603 3RD ST                                                                          BEDFORD          IN 47421‐1607
MS CAROLE A DUDKOWSKI          1508 11TH ST                                                                         BEDFORD          IN 47421‐2804
MS CAROLE A HICKS‐PICCIRILLI   102 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2002
MS CAROLE A REYNOLDS           924 18TH ST                                                                          BEDFORD          IN 47421‐4214
MS CAROLE A WEBB               1399 READY AVE                                                                       BURTON           MI 48529‐2051
MS CAROLE R BAKER              102 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9383
MS CAROLEE P COUNTERMAN        4095 WOODROW AVE                                                                     BURTON           MI 48509‐1050
MS CAROLINA FERNANDEZ          14 FLORENCE DR                                                                       CLARK            NJ 07066‐1211
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Name                         Address1                           Address2            Address3         Address4         City           State Zip
MS CAROLINE A EDMONDS        387 WALNUT ST                                                                            MOUNT MORRIS    MI 48458‐1948
MS CAROLINE A MICHEL         53762 SHINNECOCK DR                                                                      SOUTH LYON      MI 48178‐9074
MS CAROLINE L THOMAS         650 KETTERING AVE                                                                        PONTIAC         MI 48340‐3243
MS CAROLINE R DUPERON        319 W COLUMBIA AVE                                                                       PONTIAC         MI 48340‐1713
MS CAROLINE S COX            1520 E OOLITIC RD                                                                        BEDFORD         IN 47421‐8626
MS CAROLINE TROWBRIDGE       504 14TH ST                                                                              BEDFORD         IN 47421‐3308
MS CAROLYN A COMERFORD       10991 RIVEREDGE DR                                                                       PARMA           OH 44130‐1252
MS CAROLYN A HARDGE          702 LOYOLA DR                                                                            FLINT           MI 48503‐5222
MS CAROLYN A RADFORD         401 FOX HILLS DR N                                                                       BLOOMFIELD      MI 48304‐1309
MS CAROLYN A WALKER          11300 FAIRLAWN DR                                                                        CLEVELAND       OH 44130‐1222
MS CAROLYN C STANLEY         611 BOXWOOD RD                                                                           WILMINGTON      DE 19804‐2010
MS CAROLYN D SMITH           1099 DOWAGIAC AVE                                                                        MOUNT MORRIS    MI 48458‐2513
MS CAROLYN D STEPHENS        126 CHARLES LN                                                                           PONTIAC         MI 48341‐2927
MS CAROLYN E JACKSON         3588 MCKINLEY ST                                                                         DETROIT         MI 48208‐2347
MS CAROLYN H JONES           52 SALLEE LN                                                                             PONTIAC         MI 48340‐1655
MS CAROLYN J GRIGG           145 MAIN ST                                                                              MASSENA         NY 13662‐1908
MS CAROLYN J JACKSON         407 FOX HILLS DR N                                                                       BLOOMFIELD      MI 48304‐1309
MS CAROLYN J STRAUSSER       87 W YALE AVE                                                                            PONTIAC         MI 48340‐1861
MS CAROLYN J TAYLOR‐WASHIN   1071 E KURTZ AVE                                                                         FLINT           MI 48505‐1511
MS CAROLYN JACKSON           1130 AMOS ST                                                                             PONTIAC         MI 48342‐1802
MS CAROLYN K HENDERSON       700 CURTIS AVE                                                                           WILMINGTON      DE 19804‐2110
MS CAROLYN L ANDRADE‐LEE     1713 N BELL ST                                                                           KOKOMO          IN 46901‐2331
MS CAROLYN L MCBEE           9819 JULIE DR                                                                            YPSILANTI       MI 48197‐7092
MS CAROLYN L NEWTON          127 W YPSILANTI AVE                                                                      PONTIAC         MI 48340‐1874
MS CAROLYN L YOUNG           90 SEWARD ST APT 90                                                                      DETROIT         MI 48202‐2428
MS CAROLYN M SMITH           2814 HARWICK DR                                                                          LANSING         MI 48917‐2349
MS CAROLYN M WALKER          694 CORWIN AVE                                                                           PONTIAC         MI 48340‐2411
MS CAROLYN MURPHY            2173 E BUDER AVE                                                                         BURTON          MI 48529‐1733
MS CAROLYN MURPHY            2196 E BERGIN AVE                                                                        BURTON          MI 48529‐1782
MS CAROLYN R LANEY           446 W FAIRMOUNT AVE                                                                      PONTIAC         MI 48340‐1621
MS CAROLYN S BEAUGARD        2001 N CENTER RD APT 204                                                                 FLINT           MI 48506‐3182
MS CAROLYN S GOOD            1321 16TH ST                                                                             BEDFORD         IN 47421‐3708
MS CAROLYN S HAMMOND         99 LINCOLN AVE                                                                           BEDFORD         IN 47421‐1610
MS CAROLYN SHANNON           386 SUGAR HILL ADDITION                                                                  BEDFORD         IN 47421‐8140
MS CAROLYN WARRITAY          488 FOX HILLS DR S APT 7                                                                 BLOOMFIELD      MI 48304‐1357
MS CAROLYN Z NUDI            564 HELEN ST                                                                             MOUNT MORRIS    MI 48458‐1923
MS CARRA K WILSON            6039 LAKE DR                                                                             YPSILANTI       MI 48197‐7016
MS CARRI NAGAR               554 E FOX HILLS DR                                                                       BLOOMFIELD      MI 48304‐1302
MS CARRIE A OTTO             17 LAUREL AVE                                                                            MASSENA         NY 13662‐2030
MS CARRIE CHARIZ             610 MELROSE ST                                                                           PONTIAC         MI 48340‐3115
MS CARRIE D HELTON           1509 13TH ST                                                                             BEDFORD         IN 47421‐3111
MS CARRIE E STOFFEL          36 WALNUT AVE                                                                            MASSENA         NY 13662‐2021
MS CARRIE J NICOLOFF         1824 ROOSEVELT AVE                                                                       JANESVILLE      WI 53546‐5969
MS CARRIE J VANFOSSEN        4090 CORAL ST                                                                            BURTON          MI 48509‐1013
MS CARRIE L GEORGE           2057 CASHIN ST                                                                           BURTON          MI 48509‐1137
MS CARRIE L THAMES           567 HARRIET ST                                                                           FLINT           MI 48505‐4730
MS CARRIE MANENDEZ           12026 HALLER ST                                                                          LIVONIA         MI 48150‐2373
MS CARRIE WHITE              1321 LOCKE ST                                                                            PONTIAC         MI 48342‐1950
MS CARRIERS INC              PO BOX 840532                                                                            DALLAS          TX 75284‐0532
MS CARYN E SINKS             9817 GERALDINE ST                                                                        YPSILANTI       MI 48197‐6924
MS CARYN S JENSEN            1023 STANLEY AVE                                                                         PONTIAC         MI 48340‐1779
MS CASIE G LANDON            2695 BONITA DR                                                                           WATERFORD       MI 48329‐4823
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Name                           Address1                       Address2            Address3         Address4         City            State Zip
MS CASONDIA L MOORE            18 E FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2726
MS CASSANDIA R EGGERSON        1146 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MS CASSANDRA D HUBBARD         712 WILBERFORCE DR                                                                   FLINT            MI 48503‐5235
MS CASSANDRA D ROYAL           1091 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1836
MS CASSANDRA L DUNN            926 DRYER FARM RD                                                                    LANSING          MI 48917‐2387
MS CASSANDRA L ROBBINS         816 HARWOOD RD                                                                       WILMINGTON       DE 19804‐2661
MS CASSANDRA M HAYES           763 NEWMAN LN                                                                        PONTIAC          MI 48340‐3306
MS CASSANDRA M MOORE           550 LANCASTER LN                                                                     PONTIAC          MI 48342‐1848
MS CASSANDRA M WARREN          1003 UNIVERSITY DR                                                                   PONTIAC          MI 48342‐1869
MS CASSANDRA ROBARGE           4251 DAVISON RD STE 6                                                                BURTON           MI 48509‐1450
MS CASSANDRA S DREW            10803 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8042
MS CATALINA NUNEZ              349 W KENNETT RD                                                                     PONTIAC          MI 48340‐1729
MS CATHERINE A ROACH           53 CLARKSON AVE                                                                      MASSENA          NY 13662‐1758
MS CATHERINE B RUBY            2203 S ORCHARD ST                                                                    JANESVILLE       WI 53546‐5985
MS CATHERINE C BELL            110 CHARLES LN                                                                       PONTIAC          MI 48341‐2927
MS CATHERINE E COLEMAN‐MERCK   490 FOX HILLS DR N APT 4                                                             BLOOMFIELD       MI 48304‐1337
MS CATHERINE H HUNT            1473 READY AVE                                                                       BURTON           MI 48529‐2053
MS CATHERINE L AYLWARD         474 FOX HILLS DR N APT 1                                                             BLOOMFIELD       MI 48304‐1334
MS CATHERINE L DORAN           1112 W BURBANK AVE APT 218                                                           JANESVILLE       WI 53546‐6146
MS CATHERINE L GRUNO           1113 TERRY AVE                                                                       MOUNT MORRIS     MI 48458‐2540
MS CATHERINE L HOLMES          2253 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2448
MS CATHERINE M BROUGH          132 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1820
MS CATHERINE M HOLIASTOS       426 FOX HILLS DR N APT 6                                                             BLOOMFIELD       MI 48304‐1326
MS CATHERINE M IRIZARRY        11620 N SAGINAW ST # A                                                               MOUNT MORRIS     MI 48458‐2021
MS CATHERINE M KLARR           10799 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1425
MS CATHERINE M MOONEY          19 WESTERN AVE                                                                       SHERBORN         MA 01770‐1107
MS CATHERINE MOORE             83 STEGMAN LN                                                                        PONTIAC          MI 48340‐1664
MS CATHERINE N SANDLIN         5900 BRIDGE RD APT 710                                                               YPSILANTI        MI 48197‐7010
MS CATHERINE R SPRINGER        318 BON AIR RD                                                                       LANSING          MI 48917‐2903
MS CATHERINE T WRIGHT          1301 LINCOLN AVE                                                                     FLINT            MI 48507‐1598
MS CATHERINE TALLEY            10907 BEVIN DR                                                                       FREDERICKSBRG    VA 22408‐2072
MS CATHLEEN J PHILLIPS         9944 JULIE DR                                                                        YPSILANTI        MI 48197‐8292
MS CATHREEN HANKERSON          2802 VINEWOOD ST                                                                     DETROIT          MI 48216‐1085
MS CATHY A STAKEN              11800 BROOKPARK RD TRLR B11                                                          CLEVELAND        OH 44130‐1184
MS CATHY C CARR                4094 RISEDORPH ST                                                                    BURTON           MI 48509‐1040
MS CATHY GILLEM                12025 TECH CENTER DR                                                                 LIVONIA          MI 48150‐2122
MS CATHY HEARD                 615 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1341
MS CATHY J VINCENT             1209 W 15TH ST                                                                       MUNCIE           IN 47302‐3071
MS CATHY K EMERY               4064 HOMESTEAD DR                                                                    BURTON           MI 48529‐1610
MS CATHY L CLOUSE              1812 H ST                                                                            BEDFORD          IN 47421‐4263
MS CATHY L WADDELL             1461 E WILLIAMSON ST APT 1                                                           BURTON           MI 48529‐1627
MS CATHY L WILSON              415 W 6TH ST                                                                         MUNCIE           IN 47302‐3101
MS CATHY ROBERTS               11010 HARVARD CT                                                                     MOUNT MORRIS     MI 48458‐1978
MS CATRINA F LEE               641 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MS CEANNA BERRY                3819 PALMER AVE                                                                      FLINT            MI 48506‐4236
MS CECELIA H CARLSON           2634 JUNCTION ST                                                                     DETROIT          MI 48209‐1349
MS CECELIA M SCHUSTER          8513 MURRAY RIDGE RD                                                                 ELYRIA           OH 44035‐4750
MS CECELIA R WISNIEWSKI        11800 BROOKPARK RD TRLR 152                                                          CLEVELAND        OH 44130‐1189
MS CECILE L CHARTIER           9 GRASSMERE AVE                                                                      MASSENA          NY 13662‐2039
MS CECILE M RAFTER             16 ALVERN AVE                                                                        MASSENA          NY 13662‐2144
MS CECILE M SOJKA              19 GEORGE ST                                                                         FRAMINGHAM       MA 01702‐8710
MS CECILIA M DAY               613 E BAKER ST                                                                       FLINT            MI 48505‐4345
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Name                       Address1                       Address2            Address3         Address4         City           State Zip
MS CECILY D JONES          5541 CHEVROLET BLVD APT B501                                                         CLEVELAND       OH 44130‐1463
MS CEDONIA A STYRON        10 W ORVIS ST                                                                        MASSENA         NY 13662‐1815
MS CELESTA A ZANGER        740 WEYBRIDGE DR                                                                     BLOOMFIELD      MI 48304‐1084
MS CELESTE N SAXTON        136 PINGREE AVE                                                                      PONTIAC         MI 48342‐1157
MS CELESTE P ARMSTRONG     2056 WILMAR ST                                                                       BURTON          MI 48509‐1122
MS CELESTE TURNER          2746 COPPER CHASE DR APT 101                                                         ARLINGTON       TX 76006‐3522
MS CELTRICIA A CRUELL      1065 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1611
MS CESSILY C DAVIS         3439 28TH ST                                                                         DETROIT         MI 48210‐3101
MS CHA VANG                32 PUTNAM AVE                                                                        PONTIAC         MI 48342‐1261
MS CHANDRA D MCDOUGALE     309 CENTRAL AVE APT B                                                                WILMINGTON      DE 19805‐2421
MS CHANDRA L CALDWELL      32 WATER ST APT 8                                                                    MASSENA         NY 13662‐2025
MS CHANDRA R GRANT         4058 GOLF RIDGE DR E                                                                 BLOOMFIELD      MI 48302‐1726
MS CHANTEL J WILKINSON     11800 BROOKPARK RD TRLR 153                                                          CLEVELAND       OH 44130‐1196
MS CHANTEL M SCONIERS      1714 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2185
MS CHANTELL R LAVRACK      2039 E JUDD RD                                                                       BURTON          MI 48529‐2402
MS CHARICE E COOPER        2114 CONNELL ST                                                                      BURTON          MI 48529‐1333
MS CHARISSE A COZART       6142 STUMPH RD APT 303                                                               PARMA           OH 44130‐1859
MS CHARISSE PARRISH        1609 W 9TH ST                                                                        MUNCIE          IN 47302‐6600
MS CHARISSE Y MOORE        1511 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2183
MS CHARITA R SMITH         625 BUENA VISTA ST APT 8                                                             MOUNT MORRIS    MI 48458‐1984
MS CHARITY ANDERSON        1618 M ST                                                                            BEDFORD         IN 47421‐3714
MS CHARITY J SALDANA       155 EUCLID AVE                                                                       PONTIAC         MI 48342‐1115
MS CHARITY L CORTESE       12 CHESTNUT ST                                                                       MASSENA         NY 13662‐1808
MS CHARITY R PARKER        1215 REDBUD LN                                                                       BEDFORD         IN 47421‐1553
MS CHARLAYNE M WATKINS     451 FOX HILLS DR S APT 3                                                             BLOOMFIELD      MI 48304‐1353
MS CHARLENE A HUMMEL       400 EAST AVE                                                                         WILMINGTON      DE 19804‐2054
MS CHARLENE A MAGLIO       4 BATES RD                                                                           FRAMINGHAM      MA 01702‐8704
MS CHARLENE A WELCH        2110 S PINE ST                                                                       JANESVILLE      WI 53546‐6134
MS CHARLENE F KRUSAC       9663 BAYVIEW DR APT 312                                                              YPSILANTI       MI 48197‐7028
MS CHARLENE HENDERSON      1809 N INDIANA AVE                                                                   KOKOMO          IN 46901‐2039
MS CHARLENE L FLAGG        2233 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2439
MS CHARLENE L FRARY        45 GUILD RD                                                                          FRAMINGHAM      MA 01702‐8762
MS CHARLENE L GREGG        206 LAURA CT                                                                         WILMINGTON      DE 19804‐2016
MS CHARLENE L SHRIDER      528 16TH ST                                                                          BEDFORD         IN 47421‐3817
MS CHARLENE M ADAMS        9823 JOAN CIR                                                                        YPSILANTI       MI 48197‐8295
MS CHARLENE M WILLIAMS     523 E HAMILTON AVE                                                                   FLINT           MI 48505‐4759
MS CHARLENE R VARGO        141 W COLUMBIA AVE                                                                   PONTIAC         MI 48340‐1811
MS CHARLENE S NOONE        1369 WEBBER AVE                                                                      BURTON          MI 48529‐2033
MS CHARLETTA LUTTRELL      717 17TH ST                                                                          BEDFORD         IN 47421‐4201
MS CHARLETTE J KHRUCELL    22 KAREN CT                                                                          PONTIAC         MI 48340‐1633
MS CHARLINA F NORMAN       46 KAREN CT                                                                          PONTIAC         MI 48340‐1635
MS CHARLOTTE A CHURCHILL   701 GARNET RD                                                                        WILMINGTON      DE 19804‐2613
MS CHARLOTTE A COLEGROVE   11800 BROOKPARK RD TRLR 114                                                          CLEVELAND       OH 44130‐1187
MS CHARLOTTE D ESSEX       11630 N SAGINAW ST                                                                   MOUNT MORRIS    MI 48458‐2021
MS CHARLOTTE J MCCOY       824 BAY ST                                                                           PONTIAC         MI 48342‐1902
MS CHARLOTTE K REINHARDT   1146 E HUMPHREY AVE                                                                  FLINT           MI 48505‐1526
MS CHARLOTTE L KELLAR      30 SUMMIT ST                                                                         PONTIAC         MI 48342‐1162
MS CHARLOTTE L ROTTET      904 LINCOLN AVE                                                                      BEDFORD         IN 47421‐2538
MS CHARLOTTE M BARAJAS     506 ELM ST                                                                           MOUNT MORRIS    MI 48458‐1916
MS CHARLOTTE M WEBB        5679 MCGREGOR ST                                                                     DETROIT         MI 48209‐1315
MS CHARLOTTE MCCOSLIN      2084 BRADY AVE                                                                       BURTON          MI 48529‐2423
MS CHARLOTTE SANABRIA      187 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1876
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MS CHARLSIE E SPRADLING   1109 W 10TH ST                                                                       MUNCIE           IN 47302‐2257
MS CHARMAINE F WHITE      1491 WEBBER AVE                                                                      BURTON           MI 48529‐2037
MS CHARYENC FREEMAND      601 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MS CHASITY A COFFEY       4771 PLUMER ST                                                                       DETROIT          MI 48209‐1356
MS CHASTITY L BAXTER      56 PARKER AVE APT 3                                                                  MASSENA          NY 13662‐4266
MS CHELETTE M ROBINSON    3056 ROOSEVELT ST                                                                    DETROIT          MI 48216‐1020
MS CHELITA S SCHULTZ      41 UNIVERSITY PLACE DR                                                               PONTIAC          MI 48342‐1882
MS CHELSEA BAILEY         1505 1ST ST                                                                          BEDFORD          IN 47421‐1701
MS CHELSEA E RANGEL       6360 BUNTON RD APT 3                                                                 YPSILANTI        MI 48197‐7082
MS CHELSEA HULSE          116 N SYCAMORE ST # 6904                                                             GALVESTON        IN 46932‐5028
MS CHELSEA L JOLLEY       253 W YALE AVE                                                                       PONTIAC          MI 48340‐1867
MS CHELSEA SAHNK          1313 W KILGORE AVE                                                                   MUNCIE           IN 47305‐2161
MS CHENITA L JONES        826 E MOUNT MORRIS ST                                                                MOUNT MORRIS     MI 48458‐2054
MS CHERI L BARNES         316 L ST                                                                             BEDFORD          IN 47421‐1810
MS CHERI L FARNSWORTH     153 ANDREWS ST                                                                       MASSENA          NY 13662‐1866
MS CHERI L MINNICK        1719 W 9TH ST                                                                        MUNCIE           IN 47302‐2122
MS CHERI R PEDLEY         1122 E YALE AVE                                                                      FLINT            MI 48505‐1519
MS CHERIE J COURSEY       907 HELTONVILLE RD E                                                                 BEDFORD          IN 47421‐8184
MS CHERKESHA A COPENY     1207 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2180
MS CHERRY THOMPSON        1087 LAPORT AVE                                                                      MOUNT MORRIS     MI 48458‐2557
MS CHERUB B THOMAS        5900 BRIDGE RD APT 512                                                               YPSILANTI        MI 48197‐7011
MS CHERYL A CARTER        1527 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐2269
MS CHERYL A COLEMAN       714 E MOUNT MORRIS ST                                                                MOUNT MORRIS     MI 48458‐2019
MS CHERYL A DUSHANE       2117 DELANEY ST                                                                      BURTON           MI 48509‐1024
MS CHERYL A KENNEDY       24 PINE ST                                                                           MASSENA          NY 13662‐1137
MS CHERYL A SCHALM        717 LIVINGSTON AVE                                                                   PONTIAC          MI 48340‐2446
MS CHERYL A SIMERSON      354 OAK ST                                                                           MOUNT MORRIS     MI 48458‐1929
MS CHERYL A SIMS          432 HOLLIS ST                                                                        FRAMINGHAM       MA 01702‐8623
MS CHERYL A WILKS         538 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1302
MS CHERYL A WILSON        1160 HARTMAN ST                                                                      MOUNT MORRIS     MI 48458‐2521
MS CHERYL C HOFF          1810 ROOSEVELT AVE                                                                   JANESVILLE       WI 53546‐5969
MS CHERYL C WELCH         101 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2001
MS CHERYL DONNELLY        11800 BROOKPARK RD TRLR 141                                                          CLEVELAND        OH 44130‐1189
MS CHERYL E HEWLETT       700 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2606
MS CHERYL E JAMERSON      1149 AMOS ST                                                                         PONTIAC          MI 48342‐1803
MS CHERYL F APOIAN        718 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1361
MS CHERYL F BENNETT       912 EMERSON AVE                                                                      PONTIAC          MI 48340‐3227
MS CHERYL G O'CONNOR      140 SCHOOL ST                                                                        CLARK            NJ 07066‐1413
MS CHERYL H EVERHART      1237 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2921
MS CHERYL HOFFMAN         5695 CHEVROLET BLVD APT B110                                                         CLEVELAND        OH 44130‐1409
MS CHERYL HOLDINSKI       4671 BRANDON ST                                                                      DETROIT          MI 48209‐1334
MS CHERYL J FIELDS        1722 N ST # A                                                                        BEDFORD          IN 47421‐4114
MS CHERYL L BROWN         1222 AMOS ST                                                                         PONTIAC          MI 48342‐1804
MS CHERYL L CHAU          11785 CAMDEN ST                                                                      LIVONIA          MI 48150‐2361
MS CHERYL L GRANDSTAFF    254 HIGH ST                                                                          PONTIAC          MI 48342‐1121
MS CHERYL L JONES         1059 CLOVERLAWN DR                                                                   PONTIAC          MI 48340‐1611
MS CHERYL L KOKENOS       11286 MIDDLEBELT RD                                                                  LIVONIA          MI 48150‐3080
MS CHERYL L LITTLE        74 PARKER AVE                                                                        MASSENA          NY 13662‐2214
MS CHERYL L LOPEZ         10664 JOHNSTON BLVD                                                                  SAINT HELEN      MI 48656‐8203
MS CHERYL L OVERTON       714 CAMERON AVE                                                                      PONTIAC          MI 48340‐3204
MS CHERYL L ROUSSEAU      2038 CLINE CT APT 107                                                                LAKE ORION       MI 48359‐1290
MS CHERYL L VANA          2107 S TERRACE ST                                                                    JANESVILLE       WI 53546‐6119
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MS CHERYL L WINTON         127 CHARLES LN                                                                       PONTIAC          MI 48341‐2928
MS CHERYL M ANDERSON       10069 LAPEER RD                                                                      DAVISON          MI 48423‐8117
MS CHERYL M WOODWARD       10 N MAIN ST APT 3                                                                   MASSENA          NY 13662‐1149
MS CHERYL NAVARRE          1066 E HARVARD AVE                                                                   FLINT            MI 48505‐1508
MS CHERYL O HILL           1018 GOULD RD                                                                        LANSING          MI 48917‐1755
MS CHEWANNA G COPELAND     741 LOUNSBURY AVE                                                                    PONTIAC          MI 48340‐2453
MS CHEYENNE RUFF           28 LLOYD ST                                                                          WILMINGTON       DE 19804‐2820
MS CHIA THAO               996 FAIRVIEW AVE                                                                     PONTIAC          MI 48340‐2638
MS CHIFFON R BERRY         2822 RISLEY DR                                                                       LANSING          MI 48917‐2364
MS CHIQUITA K MORRIS       1127 AMOS ST                                                                         PONTIAC          MI 48342‐1883
MS CHIRSTIE L RAMSEY       9833 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6924
MS CHRISA M COLLIER        1329 PEERLESS RD                                                                     BEDFORD          IN 47421‐8100
MS CHRISSANDIA S WALKER    636 PALMER DR                                                                        PONTIAC          MI 48342‐1854
MS CHRISTA RAGSDALE        1010 16TH ST APT 1                                                                   BEDFORD          IN 47421‐3769
MS CHRISTA SY              418 W ELM ST                                                                         KOKOMO           IN 46901‐2831
MS CHRISTAL E SHIELDS      2201 N MAIN ST                                                                       KOKOMO           IN 46901‐5829
MS CHRISTAL NILES‐LYNCH    158 ANDREWS ST                                                                       MASSENA          NY 13662‐1837
MS CHRISTEHIA F FAOUAR     617 E BAKER ST                                                                       FLINT            MI 48505‐4345
MS CHRISTENA DAMMEN        1105 KELLOGG AVE TRLR C4                                                             JANESVILLE       WI 53546‐6084
MS CHRISTI M FORSTNER      2041 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1711
MS CHRISTI MARGESON        11 FLORENCE DR                                                                       CLARK            NJ 07066‐1210
MS CHRISTIA CALEB          654 PALMER DR                                                                        PONTIAC          MI 48342‐1854
MS CHRISTIE L ADAMS        828 NORTH ST APT 14                                                                  MOUNT MORRIS     MI 48458‐1757
MS CHRISTIE L STEVENS      1315 3RD ST                                                                          BEDFORD          IN 47421‐1805
MS CHRISTIE M AMEZCUA      800 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2608
MS CHRISTIE R HAMMOCK      230 HIGH ST                                                                          PONTIAC          MI 48342‐1121
MS CHRISTIN RUPPE          690 STIRLING ST                                                                      PONTIAC          MI 48340‐3161
MS CHRISTINA A PHILLIPS    58 GROVE ST                                                                          MASSENA          NY 13662‐2126
MS CHRISTINA A REID        620 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3236
MS CHRISTINA A THOMAS      1720 S SAMPSON AVE                                                                   MUNCIE           IN 47302‐2283
MS CHRISTINA ARNOLD        2086 KENNETH ST                                                                      BURTON           MI 48529‐1351
MS CHRISTINA BENNETT       564 LANCASTER LN                                                                     PONTIAC          MI 48342‐1848
MS CHRISTINA D BROOKS      10800 WALL ST                                                                        FREDERICKSBRG    VA 22408‐2068
MS CHRISTINA D ROOT        1208 M ST                                                                            BEDFORD          IN 47421‐2931
MS CHRISTINA J RUDE        55 W PRINCETON AVE                                                                   PONTIAC          MI 48340‐1837
MS CHRISTINA JACKSON       291 W YALE AVE                                                                       PONTIAC          MI 48340‐1752
MS CHRISTINA JOHNSON       1500 W MEMORIAL DR APT 3                                                             MUNCIE           IN 47302‐6630
MS CHRISTINA L COWART      576 KETTERING AVE                                                                    PONTIAC          MI 48340‐3242
MS CHRISTINA L FULGENZI    2173 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2445
MS CHRISTINA L HILL        150 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2720
MS CHRISTINA L LANTZ       1507 12TH ST                                                                         BEDFORD          IN 47421‐3101
MS CHRISTINA L YODER       1330 I ST APT B                                                                      BEDFORD          IN 47421‐3300
MS CHRISTINA M CUSKIE      612 SEDGEFIELD DR                                                                    BLOOMFIELD       MI 48304‐1059
MS CHRISTINA M HOWE        6 W CONRAD DR                                                                        WILMINGTON       DE 19804‐2019
MS CHRISTINA M JAMISON     1407 4TH ST                                                                          BEDFORD          IN 47421‐1721
MS CHRISTINA M PRYOR       657 PALMER DR                                                                        PONTIAC          MI 48342‐1856
MS CHRISTINA M RIDGE       1716 15TH ST                                                                         BEDFORD          IN 47421‐3606
MS CHRISTINA M SANDERS     652 NEWMAN LN                                                                        PONTIAC          MI 48340‐3300
MS CHRISTINA MACIAS        785 EMERSON AVE                                                                      PONTIAC          MI 48340‐3222
MS CHRISTINA R FARTHING    400 W NORTH ST APT 1                                                                 KOKOMO           IN 46901‐2978
MS CHRISTINA R MOTSINGER   216 N ST                                                                             BEDFORD          IN 47421‐1710
MS CHRISTINA R WILLIAMS    797 W GRAND BLVD APT 1                                                               DETROIT          MI 48216‐1092
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Name                         Address1                        Address2            Address3         Address4         City           State Zip
MS CHRISTINA ROOKER          2050 E SCOTTWOOD AVE                                                                  BURTON          MI 48529‐1750
MS CHRISTINA S AYERS         1121 COLLINS AVE                                                                      MOUNT MORRIS    MI 48458‐2102
MS CHRISTINA WILBER          1203 W 1ST ST APT 2                                                                   MUNCIE          IN 47305‐2158
MS CHRISTINE A CHRISTOPHER   2110 E JUDD RD                                                                        BURTON          MI 48529‐2405
MS CHRISTINE A GREEN         28 W LONGFELLOW AVE                                                                   PONTIAC         MI 48340‐1826
MS CHRISTINE A HARRIS        15 STEGMAN LN                                                                         PONTIAC         MI 48340‐1662
MS CHRISTINE A PRIESKORN     2232 E SCOTTWOOD AVE                                                                  BURTON          MI 48529‐1754
MS CHRISTINE BENTON          44 LEANEE LN                                                                          PONTIAC         MI 48340‐1650
MS CHRISTINE C DAVIS         607 N GRACE ST                                                                        LANSING         MI 48917‐4913
MS CHRISTINE COLLINS         1419 S COUNCIL ST                                                                     MUNCIE          IN 47302‐3134
MS CHRISTINE F LINDON        1911 W SPINNINGWHEEL LN                                                               BLOOMFIELD      MI 48304‐1067
MS CHRISTINE G DECK          1521 N MORRISON ST                                                                    KOKOMO          IN 46901‐2154
MS CHRISTINE I GEIGER        1712 N MORRISON ST                                                                    KOKOMO          IN 46901‐2151
MS CHRISTINE K NEMITZ        1507 E MCLEAN AVE                                                                     BURTON          MI 48529‐1613
MS CHRISTINE L RODABAUGH     1075 CLOVIS AVE                                                                       MOUNT MORRIS    MI 48458‐2503
MS CHRISTINE M BUNDY         2020 S TERRACE ST                                                                     JANESVILLE      WI 53546‐6000
MS CHRISTINE M FUNARO        708 CURTIS AVE                                                                        WILMINGTON      DE 19804‐2110
MS CHRISTINE M GOLDMAN       110 BROOKLAND DR                                                                      SYRACUSE        NY 13208‐3213
MS CHRISTINE M LARSON        29 E YPSILANTI AVE                                                                    PONTIAC         MI 48340‐1978
MS CHRISTINE M LEWIS         3205 LOCKWOOD ST APT 3F                                                               DETROIT         MI 48210‐0911
MS CHRISTINE M SHERMAN       2053 E BERGIN AVE                                                                     BURTON          MI 48529‐1701
MS CHRISTINE M STOCK         241 W YPSILANTI AVE                                                                   PONTIAC         MI 48340‐1878
MS CHRISTINE M TARNECY       1116 W 15TH ST                                                                        MUNCIE          IN 47302‐3068
MS CHRISTINE MAC COMBIE      2301 TEALL AVE                                                                        SYRACUSE        NY 13206‐1691
MS CHRISTINE P TOMASSINI     29136 ELMIRA ST                                                                       LIVONIA         MI 48150‐3161
MS CHRISTINE T MUTZ          2128 E BUDER AVE                                                                      BURTON          MI 48529‐1734
MS CHRISTY A LANSER          12621 SOBIESKI AVE                                                                    CLEVELAND       OH 44135‐4865
MS CHRISTY A RODACKER        2215 E BOATFIELD AVE                                                                  BURTON          MI 48529‐1783
MS CHRISTY E AREL            12 RANSOM AVE                                                                         MASSENA         NY 13662‐1736
MS CHRISTY HOBBS             1440 W 11TH ST                                                                        MUNCIE          IN 47302‐2171
MS CHRISTY L DIENER          5388 W VIENNA RD                                                                      CLIO            MI 48420‐9460
MS CHRISTY R LUCKEY          717 PREBLE ST                                                                         KOKOMO          IN 46901‐2732
MS CHRISTY WESTON            426 FOX HILLS DR N APT 3                                                              BLOOMFIELD      MI 48304‐1326
MS CHRYSTAL L CARNIHAN       6216 SHELDON ST                                                                       YPSILANTI       MI 48197‐8223
MS CHRYSTAL MILLS            1114 W 2ND ST                                                                         MUNCIE          IN 47305‐2111
MS CHRYSTAL N JACOBS         42 SALLEE LN                                                                          PONTIAC         MI 48340‐1655
MS CHUEN S DEBOIS            7093 ESTRELLE AVE                                                                     MOUNT MORRIS    MI 48458‐2150
MS CHYSTAL KLOCEK            1022 M ST                                                                             BEDFORD         IN 47421‐2927
MS CINDI J GOULD             1318 L ST                                                                             BEDFORD         IN 47421‐3211
MS CINDI K OLSON             647 BUENA VISTA ST APT 20                                                             MOUNT MORRIS    MI 48458‐1935
MS CINDIE CRINGLE            35 NIGHTENGALE AVE                                                                    MASSENA         NY 13662‐1719
MS CINDY A FENDER            1515 Q ST                                                                             BEDFORD         IN 47421‐3626
MS CINDY A JUDD              1105 KELLOGG AVE TRLR B2                                                              JANESVILLE      WI 53546‐6083
MS CINDY C GEORGE            1300 S HOYT AVE                                                                       MUNCIE          IN 47302‐3116
MS CINDY L GARCIA            697 NEWMAN LN                                                                         PONTIAC         MI 48340‐3302
MS CINDY L HUNTER            1608 15TH ST                                                                          BEDFORD         IN 47421‐3604
MS CINDY L KETTLE            1909 W BURBANK AVE                                                                    JANESVILLE      WI 53546‐5959
MS CINDY L MONROE            279 W COLUMBIA AVE                                                                    PONTIAC         MI 48340‐1711
MS CINDY L QUENNEVILLE       27 ALVERN AVE APT C                                                                   MASSENA         NY 13662‐2291
MS CINDY L RUSHLOW           7 MAIN ST                                                                             MASSENA         NY 13662‐1914
MS CINDY L WARNER            201 W YALE AVE                                                                        PONTIAC         MI 48340‐1867
MS CINDY M DEBOIS            327 N CATHERINE ST                                                                    LANSING         MI 48917‐2931
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Name                     Address1                       Address2                   Address3   Address4         City           State Zip
MS CINDY R COX           1309 W MEMORIAL DR                                                                    MUNCIE          IN 47302‐2253
MS CINDY S HALVORSEN     2016 KELLOGG AVE APT 107                                                              JANESVILLE      WI 53546‐5986
MS CINNAMON A NELSON     2189 E BOATFIELD AVE                                                                  BURTON          MI 48529‐1783
MS CLAIRE M BLANCA       11209 SHARON DR                                                                       CLEVELAND       OH 44130‐1437
MS CLARA A RAMIREZ       191 W KENNETT RD APT 202                                                              PONTIAC         MI 48340‐2679
MS CLARA ACEVEDO         741 LIVINGSTON AVE                                                                    PONTIAC         MI 48340‐2446
MS CLARA B NORRIS        725 BAY ST                                                                            PONTIAC         MI 48342‐1921
MS CLARA WHITE           1260 AMOS ST                                                                          PONTIAC         MI 48342‐1804
MS CLARE C PASTRANA      11541 SHARON DR APT C504                                                              CLEVELAND       OH 44130‐1450
MS CLARE F SAGE          873 KENILWORTH AVE                                                                    PONTIAC         MI 48340‐3105
MS CLARE T CUSACK        310 EXMORE AVE                                                                        WILMINGTON      DE 19805‐2322
MS CLARICE E SPICER      912 PALMER DR                                                                         PONTIAC         MI 48342‐1859
MS CLARISSA I BERMUDEZ   390 W HOPKINS AVE APT 208                                                             PONTIAC         MI 48340‐1769
MS CLARISSA RICHARDSON   227 W COLUMBIA AVE                                                                    PONTIAC         MI 48340‐1815
MS CLAUDEEN W WATKEINS   1 RANSOM AVE                                                                          MASSENA         NY 13662‐1741
MS CLAUDETTE ELLISON     587 FOX HILLS DR N                                                                    BLOOMFIELD      MI 48304‐1311
MS CLAUDIA COHEE         1502 S PLATE ST APT B4                                                                KOKOMO          IN 46902‐2369
MS CLAUDIA FIELDS        66 STEGMAN LN                                                                         PONTIAC         MI 48340‐1663
MS CLAUDIA GARZIA        3463 CHALICE RD                                                                       LAKE ORION      MI 48359‐1120
MS CLAUDIA GARZIA        827 BLAINE AVE                                                                        PONTIAC         MI 48340‐2407
MS CLAUDIA M JOHNSON     5635 CHEVROLET BLVD APT 6                                                             PARMA           OH 44130‐8709
MS CLAUDIA R DONASE      533 FOX HILLS DR N                                                                    BLOOMFIELD      MI 48304‐1311
MS CLAUDIA W MAYFIELD    825 DURANT ST                                                                         LANSING         MI 48915‐1328
MS CLAUDIA WEILAND       1112 W BURBANK AVE APT 215                                                            JANESVILLE      WI 53546‐6146
MS CLETA R RICHARDSON    700 WOODSEDGE RD                                                                      WILMINGTON      DE 19804‐2626
MS CLETA V JONES         2059 E SCOTTWOOD AVE                                                                  BURTON          MI 48529‐1749
MS CLINTONES L ROYAL     95 STEGMAN LN                                                                         PONTIAC         MI 48340‐1664
MS CLINTONESE M CROFT    554 LANCASTER LN                                                                      PONTIAC         MI 48342‐1848
MS CO                    RICHARD GREY                   409 CAMINO DEL RIO SOUTH   STE 303                     SAN DIEGO       CA 92108‐3507
MS COLEEN M HELLING      2429 CENTER AVE                                                                       JANESVILLE      WI 53546‐9010
MS COLETTE M COLLARDEY   2278 E MCLEAN AVE                                                                     BURTON          MI 48529‐1777
MS COLLEEN A MUHS        2141 S PEARL ST                                                                       JANESVILLE      WI 53546‐6118
MS COLLEEN J COUNELIS    1083 LORENE AVE                                                                       MOUNT MORRIS    MI 48458‐2112
MS COLLEEN M COCHRAN     903 CENTERVILLE RD                                                                    WILMINGTON      DE 19804‐2633
MS COLLEEN M LABAFF      1 GRASSMERE TER APT 40                                                                MASSENA         NY 13662‐2165
MS COLLEEN ONEILL        11260 HALLER ST                                                                       LIVONIA         MI 48150‐3179
MS COLLEEN R MCAULIFFE   4299 WOODROW AVE                                                                      BURTON          MI 48509‐1166
MS COLLEEN UHAN          179 SUMMIT ST                                                                         PONTIAC         MI 48342‐1167
MS COLLIE M CAVANAUGH    1117 ANGOLA AVE                                                                       MOUNT MORRIS    MI 48458‐2123
MS CONCEPCION BABB       4300 TOLEDO ST                                                                        DETROIT         MI 48209‐1367
MS CONCEPCION GUERRERO   5657 MCGREGOR ST                                                                      DETROIT         MI 48209‐1315
MS CONCRETE CO., INC.                                   3850 N COMMERCE ST                                                     NV 89032
MS CONISHIA A KIRKLAND   62 KAREN CT                                                                           PONTIAC         MI 48340‐1637
MS CONNEE J MADER        11800 BROOKPARK RD TRLR 122                                                           CLEVELAND       OH 44130‐1100
MS CONNIE A THOMPSON     2104 S TERRACE ST                                                                     JANESVILLE      WI 53546‐6120
MS CONNIE BERRY          121 N TILDEN AVE                                                                      WATERFORD       MI 48328‐3773
MS CONNIE D BALLARD      2001 N CENTER RD APT 120                                                              FLINT           MI 48506‐3198
MS CONNIE D HOOVER       900 W 13TH ST                                                                         MUNCIE          IN 47302‐7608
MS CONNIE E DUFFY        65 PARKER AVE                                                                         MASSENA         NY 13662‐2212
MS CONNIE J CALLIS       1240 N INDIANA AVE                                                                    KOKOMO          IN 46901‐2718
MS CONNIE L BROWN        5900 BRIDGE RD APT 905                                                                YPSILANTI       MI 48197‐6935
MS CONNIE L JESSEE       1804 W 7TH ST                                                                         MUNCIE          IN 47302‐2191
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MS CONNIE L MILLS‐COLBERT   3515 28TH ST                                                                         DETROIT          MI 48210‐3103
MS CONNIE M GODWIN          8420 MURRAY RIDGE RD                                                                 ELYRIA           OH 44035‐4749
MS CONNIE M RENDER          141 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1801
MS CONNIE R MCKIM           413 N CATHERINE ST                                                                   LANSING          MI 48917‐4905
MS CONNIE R SIMONI          120 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1840
MS CONNIE S BROWN           29 SALLEE LN                                                                         PONTIAC          MI 48340‐1656
MS CONNIE S CHASTAIN        1625 1ST ST                                                                          BEDFORD          IN 47421‐1600
MS CONNIE S CHRISTENSEN     1305 K ST APT 210                                                                    BEDFORD          IN 47421‐3241
MS CONNIE S HAYES           1518 W 14TH ST                                                                       MUNCIE           IN 47302‐2913
MS CONNIE S KIKER           11305 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2038
MS CONNIE S MULHOLLAND      754 STIRLING ST                                                                      PONTIAC          MI 48340‐3163
MS CONNIE S NEELEY          1702 O ST                                                                            BEDFORD          IN 47421‐4148
MS CONNIE Y CAUDILL         2104 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2444
MS CONSTANCE A GEETER       843 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3105
MS CONSTANCE A VEBBER       180 MAIN ST APT 1                                                                    MASSENA          NY 13662‐1968
MS CONSTANCE A VETTER       1623 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2043
MS CONSTANCE AHLFELD        16 CECIL AVE                                                                         MASSENA          NY 13662‐2139
MS CONSTANCE D GRANT        908 NEWPORT GAP PIKE                                                                 WILMINGTON       DE 19804‐2838
MS CONSTANCE D MAXWELL      10914 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8047
MS CONSTANCE E WELSH        2211 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6170
MS CONSTANCE H ISENEGGER    9915 JULIE DR                                                                        YPSILANTI        MI 48197‐7093
MS CONSTANCE L CENTER       3269 SHEFFIELD RD                                                                    DAYTON           OH 45449‐2752
MS CONSTANCE L HUMPHRIES    1507 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2183
MS CONSTANCE M SHAW         3312 SYLVAN RD                                                                       LANSING          MI 48917‐2335
MS CONSTANCE R WHITFIELD    59 LEANEE LN                                                                         PONTIAC          MI 48340‐1651
MS CONSUELO ARREGUIN        4634 TOLEDO ST                                                                       DETROIT          MI 48209‐1371
MS CONSUELO PELCASTRE       4861 KONKEL ST                                                                       DETROIT          MI 48210‐3207
MS COOKIE'S CORNER          1713 N BELL ST                                                                       KOKOMO           IN 46901‐2331
MS CORA A MULHALL           5695 CHEVROLET BLVD APT B109                                                         CLEVELAND        OH 44130‐1409
MS CORA B PITTMAN           123 PINGREE AVE                                                                      PONTIAC          MI 48342‐1174
MS CORA L KIDD              1415 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2172
MS CORA L THOMPSON          514 WARREN ST                                                                        FLINT            MI 48505‐4352
MS CORA M FOY               612 W 11TH ST                                                                        MUNCIE           IN 47302‐3129
MS CORA M JACKSON           1168 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MS CORA T NALLS             575 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1311
MS CORI L BIGILOW           2117 E BERGIN AVE                                                                    BURTON           MI 48529‐1703
MS CORINNE G MICHAUD        12 NIPMUC RD                                                                         FRAMINGHAM       MA 01702‐7228
MS CORNELIA D VANOY         5900 BRIDGE RD APT 602                                                               YPSILANTI        MI 48197‐7009
MS CORRIE M HOEY            571 HARRIET ST                                                                       FLINT            MI 48505‐4730
MS CORRINA M WISE           1617 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐2223
MS COTINA STUBBS            1132 E HARVARD AVE                                                                   FLINT            MI 48505‐1524
MS COURTNIE M STOUDEMIRE    5900 BRIDGE RD APT 208                                                               YPSILANTI        MI 48197‐7009
MS CRISTIN REYNA            1132 CLOVERLAWN DR                                                                   PONTIAC          MI 48340‐1614
MS CRISTINA JONES           1907 1/2 N APPERSON WAY                                                              KOKOMO           IN 46901‐2347
MS CRISTINA R WALLACE       809 W 10TH ST                                                                        MUNCIE           IN 47302‐3185
MS CRYSTAL A LOCHRIDGE      15 LEANEE LN                                                                         PONTIAC          MI 48340‐1651
MS CRYSTAL BELLOMY          703 BLAINE AVE                                                                       PONTIAC          MI 48340‐2401
MS CRYSTAL C BURROW         559 BAY ST                                                                           PONTIAC          MI 48342‐1916
MS CRYSTAL C FLORES         408 FOX HILLS DR S APT 7                                                             BLOOMFIELD       MI 48304‐1346
MS CRYSTAL CASTERLOW        2201 S ROSEMONT AVE                                                                  MUNCIE           IN 47302‐4753
MS CRYSTAL DENSEL           5900 BRIDGE RD APT 411                                                               YPSILANTI        MI 48197‐7009
MS CRYSTAL DUROCHER         346 MAIN ST                                                                          MASSENA          NY 13662‐2546
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MS CRYSTAL E TARRANTS     706 15TH ST                                                                          BEDFORD          IN 47421‐3808
MS CRYSTAL G LEISMER      937 LEDYARD ST                                                                       WATERFORD        MI 48328‐4142
MS CRYSTAL G MAGGARD      516 CESAR E CHAVEZ AVE                                                               PONTIAC          MI 48342‐1053
MS CRYSTAL HUGHES         11321 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2038
MS CRYSTAL KLOECKNER      414 M ST                                                                             BEDFORD          IN 47421‐1819
MS CRYSTAL L BENCO        1720 N MCCANN ST                                                                     KOKOMO           IN 46901‐2058
MS CRYSTAL L FINGERLE     1416 KENNETH ST                                                                      BURTON           MI 48529‐2208
MS CRYSTAL L HILDEBRANT   350 HARVARD CT APT 3                                                                 MOUNT MORRIS     MI 48458‐1987
MS CRYSTAL L HINKLE       1134 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MS CRYSTAL L WRIGHT       3225 W IONIA ST                                                                      LANSING          MI 48917‐2961
MS CRYSTAL M MATZAN       14 DOUGLAS RD                                                                        MASSENA          NY 13662‐2040
MS CRYSTAL M NAUMOFF      4170 RISEDORPH ST                                                                    BURTON           MI 48509‐1042
MS CRYSTAL M TELLEZ       2311 MCKINSTRY ST                                                                    DETROIT          MI 48209‐3193
MS CRYSTAL MINOR          1510 N MARKET ST                                                                     KOKOMO           IN 46901‐2370
MS CRYSTAL MULLIS         2406 S MULBERRY ST                                                                   MUNCIE           IN 47302‐4137
MS CRYSTAL MURRAY         71A MAPLE ST                                                                         MASSENA          NY 13662‐1049
MS CRYSTAL NEALY          1423 S PERKINS AVE                                                                   MUNCIE           IN 47302‐2294
MS CRYSTAL P NUTTER       1600 LOWELL ST                                                                       ELYRIA           OH 44035‐4871
MS CRYSTAL PERIGO         221 W KENNETT RD                                                                     PONTIAC          MI 48340‐2653
MS CRYSTAL S ASTLE        6138 BOB DR                                                                          YPSILANTI        MI 48197‐7003
MS CRYSTAL S MCMILLIAN    5900 BRIDGE RD APT 716                                                               YPSILANTI        MI 48197‐7011
MS CRYSTAL U FULFORD      5665 CHEVROLET BLVD APT 6                                                            PARMA            OH 44130‐8714
MS CRYSTALEE LENTZ        628 RILEY BLVD # B                                                                   BEDFORD          IN 47421‐9600
MS CYNDI MARTIN           3750 PITKIN AVE                                                                      FLINT            MI 48506‐4221
MS CYNTHIA A BAILEY       2199 LANSING ST APT B2                                                               DETROIT          MI 48209‐1693
MS CYNTHIA A CHESTNUT     1418 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1632
MS CYNTHIA A COLDEN       127 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2775
MS CYNTHIA A ELMS         818 INGLEWOOD AVE                                                                    PONTIAC          MI 48340‐2313
MS CYNTHIA A ELMS         108 BLAINE AVE                                                                       PONTIAC          MI 48342‐1173
MS CYNTHIA A KLINE        1212 N MORRISON ST                                                                   KOKOMO           IN 46901‐2762
MS CYNTHIA A NEAL         3082 24TH ST                                                                         DETROIT          MI 48216‐1033
MS CYNTHIA A NELSON       4090 HOMESTEAD DR APT 24                                                             BURTON           MI 48529‐1657
MS CYNTHIA BEETS          510 E MORGAN ST APT 2                                                                KOKOMO           IN 46901‐2386
MS CYNTHIA C LEE          122 CHARLES LN                                                                       PONTIAC          MI 48341‐2927
MS CYNTHIA D STRELEC      627 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1341
MS CYNTHIA G EARLY        92 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2756
MS CYNTHIA G MASK         665 HELEN ST                                                                         MOUNT MORRIS     MI 48458‐1924
MS CYNTHIA H WINTER       431 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2987
MS CYNTHIA HUDSON         1312 10TH ST                                                                         BEDFORD          IN 47421‐2530
MS CYNTHIA J FRONTCZAK    11251 NAOMI DR                                                                       PARMA            OH 44130‐1557
MS CYNTHIA J OSBORNE      483 W COLUMBIA AVE APT 213                                                           PONTIAC          MI 48340‐1644
MS CYNTHIA K BLAKE        1307 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2181
MS CYNTHIA K KONONCHUK    2385 S VASSAR RD                                                                     DAVISON          MI 48423‐2301
MS CYNTHIA L ATCHINSON    51274 SYLVIA DR                                                                      BELLEVILLE       MI 48111‐1068
MS CYNTHIA L CAMPBELL     514 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1941
MS CYNTHIA L HUMPHRES     1112 W BURBANK AVE APT 203                                                           JANESVILLE       WI 53546‐6146
MS CYNTHIA L JOHNSON      72 PERRY PLACE DR                                                                    PONTIAC          MI 48340‐2176
MS CYNTHIA L MCKEEVER     1075 TERRY AVE                                                                       MOUNT MORRIS     MI 48458‐2539
MS CYNTHIA L SMITH        239 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2763
MS CYNTHIA L WILKERSON    10809 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8042
MS CYNTHIA M GONZALES     1122 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MS CYNTHIA M LORD         1485 E WILLIAMSON ST                                                                 BURTON           MI 48529‐1627
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Name                       Address1                       Address2            Address3         Address4         City           State Zip
MS CYNTHIA M ROBERTS       56 W STRATHMORE AVE                                                                  PONTIAC         MI 48340‐2770
MS CYNTHIA M WATKINS       654 KETTERING AVE                                                                    PONTIAC         MI 48340‐3243
MS CYNTHIA OBRIEN‐WALKER   556 WALKER ST                                                                        MOUNT MORRIS    MI 48458‐1945
MS CYNTHIA R KING          1 GRASSMERE TER APT 49                                                               MASSENA         NY 13662‐2166
MS CYNTHIA TORRANCE        1820 W 7TH ST                                                                        MUNCIE          IN 47302‐2191
MS CYNTHIA V KUNKLE        653 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1305
MS CYNTHIA WILLIAMS        53 W YALE AVE                                                                        PONTIAC         MI 48340‐1858
MS CYNTHIA Y SHOUSE        928 W 11TH ST                                                                        MUNCIE          IN 47302‐3173
MS DAINA MAROLF            22 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1881
MS DAISY B BALL            5441 CHEVROLET BLVD APT A20                                                          CLEVELAND       OH 44130‐1454
MS DAISY B PAYNE           436 FOX HILLS DR S APT 3                                                             BLOOMFIELD      MI 48304‐1351
MS DAISY B REFFITT         516 W 9TH ST                                                                         MUNCIE          IN 47302‐3119
MS DAISY D MOLINA          1010 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1700
MS DAISY D OTT             943 FAIRVIEW AVE                                                                     PONTIAC         MI 48340‐2522
MS DAISY MOORE             1244 E PRINCETON AVE                                                                 FLINT           MI 48505‐1755
MS DAISY MUNOZ             3754 31ST ST                                                                         DETROIT         MI 48210‐3116
MS DALE E SWANSEY          6044 LAKE DR # 96                                                                    YPSILANTI       MI 48197‐7045
MS DALE L RODRIGUEZ        141 W SHEFFIELD AVE                                                                  PONTIAC         MI 48340‐1851
MS DALONDA S HILL          1305 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2181
MS DALORIS D COON          3845 IVANHOE AVE                                                                     FLINT           MI 48506‐4239
MS DANA A BLISS            1032 SOUTH ST                                                                        MOUNT MORRIS    MI 48458‐2041
MS DANA A LAMBERT          300 S WOODWARD AVE                                                                   WILMINGTON      DE 19805‐2361
MS DANA G PARNABY          24 HIGHLAND AVE                                                                      MASSENA         NY 13662‐1737
MS DANA L CALDWELL         1122 E HARVARD AVE                                                                   FLINT           MI 48505‐1524
MS DANA L GREER            541 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1311
MS DANA L HARPER           1523 11TH ST                                                                         BEDFORD         IN 47421‐2803
MS DANA L LINDERMAN        749 NEWMAN LN                                                                        PONTIAC         MI 48340‐3306
MS DANA M HALL             1401 GRAM ST                                                                         BURTON          MI 48529‐2039
MS DANA M KENNEDY          454 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐1621
MS DANA M RICHARDS         803 FISK DR                                                                          FLINT           MI 48503‐5248
MS DANA M ROOT             559 WALNUT ST                                                                        MOUNT MORRIS    MI 48458‐1952
MS DANA MARSHALL           208 O ST                                                                             BEDFORD         IN 47421‐1716
MS DANA R AUZINS           10881 GABRIELLA DR                                                                   PARMA           OH 44130‐1465
MS DANA R PADUANO          3 RIVERSIDE PKWY                                                                     MASSENA         NY 13662‐1704
MS DANA ROGERS             2097 E WILLIAMSON ST                                                                 BURTON          MI 48529‐2445
MS DANETTE L BREWER        253 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1845
MS DANIELLE A BUSH         9822 JOAN CIR                                                                        YPSILANTI       MI 48197‐6908
MS DANIELLE C WORRALL      137 W SHEFFIELD AVE                                                                  PONTIAC         MI 48340‐1851
MS DANIELLE COOPER         760 NEWMAN LN                                                                        PONTIAC         MI 48340‐3304
MS DANIELLE D JUDAY        35 LEANEE LN                                                                         PONTIAC         MI 48340‐1651
MS DANIELLE K DEWEY        1817 W BURBANK AVE                                                                   JANESVILLE      WI 53546‐5957
MS DANIELLE L ELAM         780 NEWMAN LN                                                                        PONTIAC         MI 48340‐3304
MS DANIELLE L PATNODE      55 LIBERTY AVE                                                                       MASSENA         NY 13662‐1545
MS DANIELLE M HASCALL      1704 K ST                                                                            BEDFORD         IN 47421‐4235
MS DANIELLE M SANFORD      710 NEWMAN LN                                                                        PONTIAC         MI 48340‐3304
MS DANIELLE N THOMAS       24 BRIERWOOD LN                                                                      PONTIAC         MI 48340‐1400
MS DANIELLE R ARBLE        11798 CAMDEN ST                                                                      LIVONIA         MI 48150‐2362
MS DANIELLE ROSS           186 E ORVIS ST                                                                       MASSENA         NY 13662‐2281
MS DANIELLE S WEIN         9951 JULIE DR                                                                        YPSILANTI       MI 48197‐8286
MS DANIELLE TARRENCE       4403 1/2 DAVISON RD LOT 16                                                           BURTON          MI 48509‐1400
MS DANITA J BRINSON        750 STIRLING ST                                                                      PONTIAC         MI 48340‐3163
MS DANNELLA DUNCAN         195 W KENNETT RD APT 212                                                             PONTIAC         MI 48340‐2682
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MS DANNIELLE CROSE         2911 BRIARWOOD LN                                                                    FREDERICKSBRG    VA 22408‐2067
MS DANYA D SMITH           480 FOX HILLS DR S APT 4                                                             BLOOMFIELD       MI 48304‐1356
MS DANYA S DELMONCO        60 GUILD RD                                                                          FRAMINGHAM       MA 01702‐8763
MS DANYALE N MOORE         813 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2325
MS DANYEL S EVANS          213 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1805
MS DANYELL WINSTON         1813 CRICKET HILL DR                                                                 KOKOMO           IN 46902‐4508
MS DANYELLE JOHNSON        2175 E BRISTOL RD                                                                    BURTON           MI 48529‐1386
MS DAPHNE A CHRISTOPHER    11451 SHARON DR APT C804                                                             CLEVELAND        OH 44130‐1444
MS DAPHNE E SMITH          1613 N MCCANN ST                                                                     KOKOMO           IN 46901‐2075
MS DARA L WINNINGHAM       1805 W 10TH ST                                                                       MUNCIE           IN 47302‐6608
MS DARCEL J KEYES          25 W LONGFELLOW AVE                                                                  PONTIAC          MI 48340‐1827
MS DARIA A MENEAR          2003 LINKWOOD AVE                                                                    WILMINGTON       DE 19805‐2417
MS DARILIS BERMUDEZ        5 LEANEE LN                                                                          PONTIAC          MI 48340‐1651
MS DARLA I MALONE          1713 ROOT ST                                                                         FLINT            MI 48505‐4747
MS DARLA J ELLIS           2206 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1768
MS DARLA J MOORE           532 BON AIR RD                                                                       LANSING          MI 48917‐2905
MS DARLA J SWITZER         2192 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2438
MS DARLEEN J SANDERS       9930 JOAN CIR                                                                        YPSILANTI        MI 48197‐6913
MS DARLENA K SYVERSON      812 W 10TH ST                                                                        MUNCIE           IN 47302‐3169
MS DARLENE A LING          34 GLENN ST                                                                          MASSENA          NY 13662‐4029
MS DARLENE A WHITE         451 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1938
MS DARLENE B BOCSKOR       7 CHESTNUT ST                                                                        MASSENA          NY 13662‐1807
MS DARLENE E BOUIE         844 KETTERING AVE                                                                    PONTIAC          MI 48340‐3253
MS DARLENE I ELKINS        191 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2723
MS DARLENE KARL            725 CESAR E CHAVEZ AVE                                                               PONTIAC          MI 48340‐2464
MS DARLENE M FREDRICKSON   7189 OZGA ST                                                                         ROMULUS          MI 48174‐1325
MS DARLENE M MINNICK       2018 S PIERCE ST                                                                     MUNCIE           IN 47302‐3013
MS DARLENE PLAMONDON       1167 E KURTZ AVE                                                                     FLINT            MI 48505‐1527
MS DARLENE R JACOBSON      2212 S PALM ST                                                                       JANESVILLE       WI 53546‐6117
MS DARLENE R WILMOTH       437 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1621
MS DARLENE S MCSOLEY       1013 LINCOLN AVE                                                                     BEDFORD          IN 47421‐2922
MS DARLENE S MCSOLEY       917 15TH ST RM 1                                                                     BEDFORD          IN 47421‐3848
MS DARLENE V BOSTON        483 W COLUMBIA AVE APT 207                                                           PONTIAC          MI 48340‐1644
MS DATONYA J GREEN         139 CHARLES LN                                                                       PONTIAC          MI 48341‐2928
MS DATONYA L JENKINS       380 W HOPKINS AVE APT 208                                                            PONTIAC          MI 48340‐1765
MS DAWN BALDWIN            611 E TATE ST                                                                        KOKOMO           IN 46901‐2413
MS DAWN D REYNOLDS         11805 HARTEL ST                                                                      LIVONIA          MI 48150‐5324
MS DAWN E TRAPP            434 FOX HILLS DR N APT 5                                                             BLOOMFIELD       MI 48304‐1328
MS DAWN F JONES            1709 WILBERFORCE CIR                                                                 FLINT            MI 48503‐5243
MS DAWN GREIN              ACCT OF EDWARD GREIN           808 CLINTON ST                                        LOCKPORT          IL 60441‐2828
MS DAWN HEATH              1317 S HOYT AVE                                                                      MUNCIE           IN 47302‐3191
MS DAWN K WOLFE            723 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1307
MS DAWN M ANDERSON         552 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1602
MS DAWN M BADEN            904 STANLEY AVE                                                                      PONTIAC          MI 48340‐2560
MS DAWN M BARRENTINE       2144 JOLSON AVE                                                                      BURTON           MI 48529‐2131
MS DAWN M BURCH            506 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2911
MS DAWN M CONDON           124 E ORVIS ST A                                                                     MASSENA          NY 13662‐2246
MS DAWN M CORLISS          9 LAUREL AVE APT 210                                                                 MASSENA          NY 13662‐2054
MS DAWN M EVANS            107 CHARLES LN                                                                       PONTIAC          MI 48341‐2928
MS DAWN M GARNETT          1451 E SCHUMACHER ST                                                                 BURTON           MI 48529‐1621
MS DAWN M GEIGER           474 FOX HILLS DR N APT 7                                                             BLOOMFIELD       MI 48304‐1334
MS DAWN M HERRICK          2089 MORRIS AVE                                                                      BURTON           MI 48529‐2156
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
MS DAWN M MACK           10720 AARON DR                                                                       CLEVELAND       OH 44130‐1355
MS DAWN M MAGEE          563 E PATERSON ST                                                                    FLINT           MI 48505‐4710
MS DAWN M MCPHERSON      180 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2760
MS DAWN M MILLER         1131 LAPORT AVE                                                                      MOUNT MORRIS    MI 48458‐2535
MS DAWN M MUTH           403 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1309
MS DAWN M PERRYMAN       2101 E JUDD RD                                                                       BURTON          MI 48529‐2404
MS DAWN M SKARSTEN       153 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2759
MS DAWN M SNOW           11440 INDUSTRIAL ST                                                                  MOUNT MORRIS    MI 48458‐2205
MS DAWN M THOMAS         35 PARKER AVE                                                                        MASSENA         NY 13662‐2213
MS DAWN M VINTON         2047 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1749
MS DAWN MOORE            662 SPRUCE ST                                                                        MOUNT MORRIS    MI 48458‐1943
MS DAWN Y SNEED          1011 W 13TH ST                                                                       MUNCIE          IN 47302‐3025
MS DAWNA M CARAVEO       1918 N MORRISON ST                                                                   KOKOMO          IN 46901‐2147
MS DEANAH M ALPHONSE     58 LEANEE LN                                                                         PONTIAC         MI 48340‐1650
MS DEANDRA M LUSTER      76 EUCLID AVE                                                                        PONTIAC         MI 48342‐1112
MS DEANNA E SCHROCK      49 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1886
MS DEANNA J BAKER        807 SPYGLASS DR                                                                      BEDFORD         IN 47421‐9295
MS DEANNA J BEARD        1011 MEADOWLAWN DR                                                                   PONTIAC         MI 48340‐1731
MS DEANNA J STURK        2005 READY AVE                                                                       BURTON          MI 48529‐2055
MS DEANNA K LARAMORE     1368 PROPER AVE                                                                      BURTON          MI 48529‐2044
MS DEANNA L BOGART       241 N CATHERINE ST                                                                   LANSING         MI 48917‐4903
MS DEANNA L EADS         1630 1ST ST                                                                          BEDFORD         IN 47421‐1604
MS DEANNA M COMSTOCK     2078 E BRISTOL RD                                                                    BURTON          MI 48529‐1319
MS DEANNA M INMAN        2001 N CENTER RD APT 315                                                             FLINT           MI 48506‐3183
MS DEANNA SHUPE          992 FAIRVIEW AVE                                                                     PONTIAC         MI 48340‐2638
MS DEBBIE A DRAKE        87 N ST                                                                              BEDFORD         IN 47421‐1733
MS DEBBIE C KING         38 WALNUT HEIGHTS RD                                                                 BEDFORD         IN 47421‐9122
MS DEBBIE FISHER         5717 S ROGERS ST                                                                     BLOOMINGTON     IN 47403‐4637
MS DEBBIE J GULLIAN      11420 GABRIELLA DR                                                                   PARMA           OH 44130‐1337
MS DEBBIE JOHNSON        2237 COMMONS AVE                                                                     JANESVILLE      WI 53546‐5965
MS DEBBIE KESSLER        187 W COLUMBIA AVE                                                                   PONTIAC         MI 48340‐1813
MS DEBBIE L BLACK        3006 HARWICK DR APT 2                                                                LANSING         MI 48917‐2359
MS DEBBIE L PRICE        2139 N ARMSTRONG ST                                                                  KOKOMO          IN 46901‐5802
MS DEBBIE S BAKER        1015 W GRISSOM AVE                                                                   MITCHELL        IN 47446‐1672
MS DEBBIE THOMPSON       1202 18TH ST                                                                         BEDFORD         IN 47421‐4248
MS DEBORAH A ALLEN       1104 NEWPORT GAP PIKE APT 1                                                          WILMINGTON      DE 19804‐2842
MS DEBORAH A BEAVER      1117 N ST                                                                            BEDFORD         IN 47421‐2934
MS DEBORAH A BLUE        4255 BRANDON ST                                                                      DETROIT         MI 48209‐1331
MS DEBORAH A DEAN        524 ROLLING ROCK RD                                                                  BLOOMFIELD      MI 48304‐1053
MS DEBORAH A DOUGHERTY   2 LYNBROOK RD                                                                        WILMINGTON      DE 19804‐2620
MS DEBORAH A FINCH       421 W CHAMPLAIN AVE                                                                  WILMINGTON      DE 19804‐2013
MS DEBORAH A GIBSON      3103 ROOSEVELT ST                                                                    DETROIT         MI 48216‐1017
MS DEBORAH A MURRAY      786 W GRAND BLVD                                                                     DETROIT         MI 48216‐1003
MS DEBORAH A WELLONS     983 DEWEY ST                                                                         PONTIAC         MI 48340‐2635
MS DEBORAH A WILKE       521 N GRACE ST                                                                       LANSING         MI 48917‐2951
MS DEBORAH C GARRETT     380 W HOPKINS AVE APT 203                                                            PONTIAC         MI 48340‐1765
MS DEBORAH C STIELL      3804 29TH ST                                                                         DETROIT         MI 48210‐3110
MS DEBORAH CARR          653 PALMER DR                                                                        PONTIAC         MI 48342‐1856
MS DEBORAH CARRY         11800 BROOKPARK RD TRLR F44                                                          CLEVELAND       OH 44130‐1165
MS DEBORAH CAVANESS      2158 SCOTTEN ST                                                                      DETROIT         MI 48209‐1667
MS DEBORAH COPELAND      1405 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2182
MS DEBORAH D COBB        1315 11TH ST                                                                         BEDFORD         IN 47421‐2912
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Name                            Address1                       Address2            Address3         Address4         City           State Zip
MS DEBORAH FIELDS               624 E MULBERRY ST A                                                                  KOKOMO          IN 46901‐8706
MS DEBORAH GARRETT              67 KAREN CT                                                                          PONTIAC         MI 48340‐1638
MS DEBORAH H PEREZ              1026 ARGYLE AVE                                                                      PONTIAC         MI 48341‐2303
MS DEBORAH J BARCUS             704 WOODTOP RD                                                                       WILMINGTON      DE 19804‐2628
MS DEBORAH J CHRISTENSEN        1481 CONNELL ST # 1                                                                  BURTON          MI 48529‐2204
MS DEBORAH J DUCKHAM            1319 N MORRISON ST                                                                   KOKOMO          IN 46901‐2759
MS DEBORAH J GREEN              903 KETTERING AVE                                                                    PONTIAC         MI 48340‐3256
MS DEBORAH K ANDERSON           46 LEANEE LN                                                                         PONTIAC         MI 48340‐1650
MS DEBORAH K MCFADDEN           10701 AARON DR                                                                       CLEVELAND       OH 44130‐1356
MS DEBORAH K TAYLOR             1912 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2187
MS DEBORAH L BROWN              4024 TOLEDO ST                                                                       DETROIT         MI 48209‐1361
MS DEBORAH L BURKETT            145 LEGRANDE AVE                                                                     PONTIAC         MI 48342‐1136
MS DEBORAH L BUTLER             1624 16TH ST                                                                         BEDFORD         IN 47421‐3612
MS DEBORAH L CAROL              1432 GRAM ST                                                                         BURTON          MI 48529‐2040
MS DEBORAH L CRAINE             2166 N CENTER RD                                                                     BURTON          MI 48509‐1070
MS DEBORAH L HAAS               1106 E PRINCETON AVE                                                                 FLINT           MI 48505‐1514
MS DEBORAH L JACKSON            4608 BRANDON ST                                                                      DETROIT         MI 48209‐1379
MS DEBORAH L MAWERY             809 CENTERVILLE RD                                                                   WILMINGTON      DE 19804‐2631
MS DEBORAH L MUNSON             591 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1303
MS DEBORAH L RICHER             1170 TERRY AVE                                                                       MOUNT MORRIS    MI 48458‐2567
MS DEBORAH L SCHOOLEY           9937 LINDA DR                                                                        YPSILANTI       MI 48197‐6919
MS DEBORAH M DUFFY              1705 N APPERSON WAY                                                                  KOKOMO          IN 46901‐2349
MS DEBORAH M HOPKINS‐SNELLING   901 STANLEY AVE                                                                      PONTIAC         MI 48340‐2561
MS DEBORAH MEIER                19 HIGHLAND AVE                                                                      MASSENA         NY 13662‐1823
MS DEBORAH N SYKES              821 I ST                                                                             BEDFORD         IN 47421‐2621
MS DEBORAH PRIDEMORE            18 E YALE AVE                                                                        PONTIAC         MI 48340‐1975
MS DEBORAH S FREDERICK          1705 W 7TH ST                                                                        MUNCIE          IN 47302‐2112
MS DEBORAH S HENSON             2266 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2441
MS DEBORAH S MILAN              2925 RISLEY DR                                                                       LANSING         MI 48917‐2365
MS DEBORAH S WHITE              140 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1873
MS DEBORAH WILFONG              1106 17TH ST                                                                         BEDFORD         IN 47421‐4295
MS DEBRA A BAKER                1317 18TH ST                                                                         BEDFORD         IN 47421‐4134
MS DEBRA A CHARLES              2016 KELLOGG AVE APT 102                                                             JANESVILLE      WI 53546‐5986
MS DEBRA A CHAVIS               11771 HARTEL ST                                                                      LIVONIA         MI 48150‐2380
MS DEBRA A COOLICH              2104 E BUDER AVE                                                                     BURTON          MI 48529‐1734
MS DEBRA A HUFF                 3569 28TH ST                                                                         DETROIT         MI 48210‐3103
MS DEBRA A MYERS                716 PALMER DR                                                                        PONTIAC         MI 48342‐1857
MS DEBRA A ONEAL                695 KINNEY RD                                                                        PONTIAC         MI 48340‐2436
MS DEBRA A POWERS               1492 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1626
MS DEBRA A WARNER               17409 FISH LAKE RD                                                                   HOLLY           MI 48442‐8975
MS DEBRA BOGUSKE                1517 W 14TH ST                                                                       MUNCIE          IN 47302‐2914
MS DEBRA D BRANCHEAU            3837 PALMER AVE                                                                      FLINT           MI 48506‐4236
MS DEBRA D CHEERS               14 LEANEE LN                                                                         PONTIAC         MI 48340‐1650
MS DEBRA D CHEERS               7 KAREN CT                                                                           PONTIAC         MI 48340‐1634
MS DEBRA D CHURCH               1610 KELLOGG AVE                                                                     JANESVILLE      WI 53546‐6072
MS DEBRA E BAILEY               1154 TERRY AVE                                                                       MOUNT MORRIS    MI 48458‐2567
MS DEBRA ENNIS                  400 W NORTH ST APT 3                                                                 KOKOMO          IN 46901‐2978
MS DEBRA HARTMAN                4154 RISEDORPH ST                                                                    BURTON          MI 48509‐1042
MS DEBRA HORNE                  74 W YPSILANTI AVE                                                                   PONTIAC         MI 48340‐1871
MS DEBRA J LEESE                1041 MEADOWLAWN DR                                                                   PONTIAC         MI 48340‐1731
MS DEBRA J ROBERTSON            11431 SHARON DR APT C904                                                             CLEVELAND       OH 44130‐1443
MS DEBRA J SCHULTZ              1101 LESTER AVE                                                                      YPSILANTI       MI 48198‐6435
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MS DEBRA J TATRO          2073 E BERGIN AVE                                                                    BURTON          MI 48529‐1701
MS DEBRA J WALLING        4365 BARNES AVE                                                                      BURTON          MI 48529‐2103
MS DEBRA K ABRAHAM        2141 E MCLEAN AVE                                                                    BURTON          MI 48529‐1739
MS DEBRA K BALOK          2338 FERGUSON RD                                                                     ONTARIO         OH 44906‐1150
MS DEBRA K BURKE          2059 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2435
MS DEBRA K CREWSE         7170 ESTRELLE AVE                                                                    MOUNT MORRIS    MI 48458‐2147
MS DEBRA K PENNINGTON     1415 13TH ST                                                                         BEDFORD         IN 47421‐3226
MS DEBRA K PUSEY          1126 LORENE AVE                                                                      MOUNT MORRIS    MI 48458‐2136
MS DEBRA L ALVARADO       723 BON AIR RD                                                                       LANSING         MI 48917‐2314
MS DEBRA L ATCHISON       714 LIVINGSTON AVE                                                                   PONTIAC         MI 48340‐2445
MS DEBRA L FAZAKERLEY     2902 RISLEY DR                                                                       LANSING         MI 48917‐2364
MS DEBRA L GOODMAN        516 N CATHERINE ST                                                                   LANSING         MI 48917‐2932
MS DEBRA L HURST          11800 BROOKPARK RD TRLR B9                                                           CLEVELAND       OH 44130‐1184
MS DEBRA L JOHNSON        2045 E WILLIAMSON ST                                                                 BURTON          MI 48529‐2443
MS DEBRA L WEGNER         4036 BRIARWOOD APTS APT D1                                                           BEDFORD         IN 47421‐5804
MS DEBRA M ZACEK          1093 DOWAGIAC AVE                                                                    MOUNT MORRIS    MI 48458‐2513
MS DEBRA PERRY            2143 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2437
MS DEBRA R MENDENHALL     1408 N WABASH AVE                                                                    KOKOMO          IN 46901‐2669
MS DEBRA S DECKARD        1509 J ST                                                                            BEDFORD         IN 47421‐3839
MS DEBRA S DODGE          1206 NORWOOD RD                                                                      LANSING         MI 48917‐2363
MS DEBRA STEWART          1712 W 8TH ST                                                                        MUNCIE          IN 47302‐2115
MS DEBRA Y WOOTEN         336 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1740
MS DEBROAH A LEE‐TYISKA   734 SPELLMAN DR                                                                      FLINT           MI 48503‐5228
MS DEE JENKINS            1169 HERRINGTON LN                                                                   PONTIAC         MI 48342‐1837
MS DEE LONG               1600 S BIRCH ST                                                                      MUNCIE          IN 47302‐2266
MS DEEANDRA K QUILLEN     4024 RISEDORPH ST                                                                    BURTON          MI 48509‐1040
MS DEEANN K HENRY         350 HARVARD CT APT 2                                                                 MOUNT MORRIS    MI 48458‐1987
MS DEEANNA M CALABRESE    735 MELROSE ST                                                                       PONTIAC         MI 48340‐3120
MS DEENA COVEY            308 L ST                                                                             BEDFORD         IN 47421‐1810
MS DEIDRA D GRAHAM        775 NEWMAN LN                                                                        PONTIAC         MI 48340‐3306
MS DEIRDRE JASPER         1169 AMOS ST                                                                         PONTIAC         MI 48342‐1803
MS DEIRDRE Y LUNSFORD     24 W STRATHMORE AVE                                                                  PONTIAC         MI 48340‐2770
MS DEITRA D ANDERSON      1506 2ND ST                                                                          BEDFORD         IN 47421‐1706
MS DELIA M MACK           PO BOX 970704                                                                        YPSILANTI       MI 48197‐0812
MS DELISHA P UPSHAW       29355 ELMIRA ST                                                                      LIVONIA         MI 48150‐3154
MS DELLA A CHUBB          608 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1304
MS DELOIS G DELONEY       471 OAK ST                                                                           MOUNT MORRIS    MI 48458‐1930
MS DELONDIA L SMITH       977 KETTERING AVE                                                                    PONTIAC         MI 48340‐3258
MS DELORES A COMSTOCK     8438 MURRAY RIDGE RD                                                                 ELYRIA          OH 44035‐4749
MS DELORES A EMENHISER    1616 S GHARKEY ST                                                                    MUNCIE          IN 47302‐3179
MS DELORES A GARVES       2125 S OAKHILL AVE                                                                   JANESVILLE      WI 53546‐6104
MS DELORES B GADANY       2001 N CENTER RD APT 314                                                             FLINT           MI 48506‐3183
MS DELORES GREEN          PO BOX 1001                                                                          BLOOMFIELD      MI 48303‐1001
MS DELORES HARRISON       488 FOX HILLS DR S APT 8                                                             BLOOMFIELD      MI 48304‐1357
MS DELORES KING           1305 K ST APT 230                                                                    BEDFORD         IN 47421‐3242
MS DELORES KREBBS         302 L ST                                                                             BEDFORD         IN 47421‐1810
MS DELORES M FRY          620 W MEMORIAL DR                                                                    MUNCIE          IN 47302‐7623
MS DELORIES G HALL        880 PALMER DR                                                                        PONTIAC         MI 48342‐1858
MS DELORIS A ODOM         726 LOYOLA DR                                                                        FLINT           MI 48503‐5222
MS DELORIS HOFFMAN        1218 9TH ST                                                                          BEDFORD         IN 47421‐2518
MS DELORIS J BUDZINSKI    1729 N MCCANN ST                                                                     KOKOMO          IN 46901‐2057
MS DELORIS M JENKINS      815 W 1ST ST                                                                         MUNCIE          IN 47305‐2279
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Name                         Address1                       Address2            Address3         Address4         City            State Zip
MS DELORIS S WIGGINS         10514 COLES LN                                                                       FREDERICKSBRG    VA 22408‐2088
MS DEMETRIA D REESE          2277 S GROVE ST                APT 324                                               YPSILANTI        MI 48198‐9244
MS DEMETRIA JOHNSON          725 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3241
MS DEMETRIA N HODGES         142 PINGREE AVE                                                                      PONTIAC          MI 48342‐1157
MS DENEE HARLAN              2160 E BRISTOL RD                                                                    BURTON           MI 48529‐1321
MS DENICE S JACKSON          480 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1008
MS DENINE M GOULD            11221 NAOMI DR                                                                       CLEVELAND        OH 44130‐1557
MS DENISE A MITCHELL         9946 LINDA DR                                                                        YPSILANTI        MI 48197‐6916
MS DENISE A THOMPSON         675 NEWMAN LN                                                                        PONTIAC          MI 48340‐3301
MS DENISE D DYSON            9926 LINDA DR                                                                        YPSILANTI        MI 48197‐6915
MS DENISE D HEINZEN          1312 KING ST                                                                         JANESVILLE       WI 53546‐6026
MS DENISE G ROESNER          567 E PATERSON ST                                                                    FLINT            MI 48505‐4710
MS DENISE HURT               1010 W 2ND ST                                                                        MUNCIE           IN 47305‐2109
MS DENISE J BROWN            11444 WASHINGTON AVE                                                                 MOUNT MORRIS     MI 48458‐1958
MS DENISE J DORAZIO          11271 SHARON DR                                                                      PARMA            OH 44130‐1437
MS DENISE J YOTT             7065 ESTRELLE AVE                                                                    MOUNT MORRIS     MI 48458‐2152
MS DENISE L SHEARER          5900 BRIDGE RD APT 509                                                               YPSILANTI        MI 48197‐7011
MS DENISE L TUCKER           829 E MOUNT MORRIS ST APT 4                                                          MOUNT MORRIS     MI 48458‐2071
MS DENISE M DREGELY          11060 FAIRLAWN DR                                                                    PARMA            OH 44130‐1216
MS DENISE M GILLIES          535 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1915
MS DENISE M MUFFLEY          2323 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐5876
MS DENISE M TYO              195 ALLEN ST                                                                         MASSENA          NY 13662‐1803
MS DENISE MITCHELL           1329 LOCKE ST                                                                        PONTIAC          MI 48342‐1950
MS DENISE PHILLIPS           239 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1835
MS DENISE R JOHNSON          1169 E PRINCETON AVE                                                                 FLINT            MI 48505‐1515
MS DENISE R RINE             173 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1853
MS DENISE R RONQUILLO        86 W TENNYSON AVE                                                                    PONTIAC          MI 48340‐2670
MS DENISE SOLOMON            946 FAIRVIEW AVE                                                                     PONTIAC          MI 48340‐2521
MS DENISE T NORFOLK          613 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MS DENISE WILLSON            413 W 8TH ST                                                                         MUNCIE           IN 47302‐3110
MS DENISE Z PETERSON         123 ANDREWS ST                                                                       MASSENA          NY 13662‐1839
MS DENITRA R WILLIAMS        1261 CRIMSON ROSE DR                                                                 MOUNT MORRIS     MI 48458‐2371
MS DEONNA L MARTIN           706 LIVINGSTON AVE                                                                   PONTIAC          MI 48340‐2445
MS DEPT OF HUMAN SVCS CRDU   DIVISION OF CS ENFORCEMENT     PO BOX 4301                                           JACKSON          MS 39296‐4301
MS DESHAINE EADES            59 SEWARD ST APT 818                                                                 DETROIT          MI 48202‐4434
MS DESHAINE U EADES          9 LANTERN LN # 9                                                                     PONTIAC          MI 48340‐1648
MS DESHAWN R HOOD            1364 CONCORD DR                                                                      YPSILANTI        MI 48198‐8482
MS DESIREE HARMEYER          1425 W 9TH ST                                                                        MUNCIE           IN 47302‐2166
MS DESIREE L POINTER         427 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1309
MS DESPINA A ZANGANA         11673 HALLER ST                                                                      LIVONIA          MI 48150‐2333
MS DESTANY J WATTERS         4140 WOODROW AVE                                                                     BURTON           MI 48509‐1052
MS DESTINY GOOD              1387 CONNELL ST                                                                      BURTON           MI 48529‐2202
MS DETRICE L SCHULTZ         3251 CHRISTOPHER LN APT 312                                                          KEEGO HARBOR     MI 48320‐1341
MS DEUNGELA C JACKSON        1234 AMOS ST                                                                         PONTIAC          MI 48342‐1804
MS DEVENIA D CLAYTER         47 UNIVERSITY PLACE DR                                                               PONTIAC          MI 48342‐1882
MS DEVOIA PONCE              2011 CLARKDALE ST                                                                    DETROIT          MI 48209‐1691
MS DIAMOND W KING            666 NEWMAN LN                                                                        PONTIAC          MI 48340‐3300
MS DIAN D BROWN              121 CHARLES LN                                                                       PONTIAC          MI 48341‐2928
MS DIAN Y HUANG              411 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1620
MS DIANA A GOLDER            125 DAVID RD                                                                         WILMINGTON       DE 19804‐2664
MS DIANA C JOHNSON           77 LEANEE LN                                                                         PONTIAC          MI 48340‐1651
MS DIANA D DIEKNEIT          1908 N MORRISON ST                                                                   KOKOMO           IN 46901‐2147
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
MS DIANA F WILEY         1305 E CORNELL AVE                                                                   FLINT           MI 48505‐1750
MS DIANA GARDNER         3040 ROOSEVELT ST                                                                    DETROIT         MI 48216‐1020
MS DIANA GRIFFITHS       648 WALKER ST                                                                        MOUNT MORRIS    MI 48458‐1947
MS DIANA HERNANDEZ       1105 CLOVERLAWN BLVD                                                                 LINCOLN PARK    MI 48146‐4215
MS DIANA HOLEMAN         805 W 15TH ST                                                                        MUNCIE          IN 47302‐3063
MS DIANA J MILLS         1813 W 8TH ST                                                                        MUNCIE          IN 47302‐2196
MS DIANA L PITTS         1394 CONNELL ST                                                                      BURTON          MI 48529‐2203
MS DIANA L UNDERWOOD     2510 N SOUTH POOR FARM RD                                                            BEDFORD         IN 47421‐9269
MS DIANA R BUSTAMANTE    53 W COLUMBIA AVE                                                                    PONTIAC         MI 48340‐1807
MS DIANA R LASHURE       1807 N MCCANN ST                                                                     KOKOMO          IN 46901‐2077
MS DIANA R RIGBY         165 W BEVERLY AVE                                                                    PONTIAC         MI 48340‐2621
MS DIANE E MCCLENTHEN    8794 SHEFFIELD DR                                                                    BELVIDERE        IL 61008‐8690
MS DIANE E SHERMAN       145 W CORNELL AVE                                                                    PONTIAC         MI 48340‐2721
MS DIANE K BROWN         2019 ARBUTUS ST                                                                      JANESVILLE      WI 53546‐6158
MS DIANE K OREFICE       650 MAPLE ST                                                                         MOUNT MORRIS    MI 48458‐1927
MS DIANE KNOWLES         643 NORTHVIEW CT                                                                     PONTIAC         MI 48340‐2457
MS DIANE L CASEY         5531 CHEVROLET BLVD APT B403                                                         CLEVELAND       OH 44130‐1462
MS DIANE L PRUETT        1133 CLOVIS AVE                                                                      MOUNT MORRIS    MI 48458‐2544
MS DIANE L SAIENNI       205 LAURA CT                                                                         WILMINGTON      DE 19804‐2016
MS DIANE M CLAFFEY       1 GRASSMERE TER APT 24                                                               MASSENA         NY 13662‐2163
MS DIANE M HAMMOCK       2502 FERGUSON RD                                                                     ONTARIO         OH 44906‐1136
MS DIANE M HAUCK         11221 KAREN ST                                                                       LIVONIA         MI 48150‐3182
MS DIANE M KOPEC         2205 E WILLIAMSON ST                                                                 BURTON          MI 48529‐2447
MS DIANE M MORSE         350 HARVARD CT APT 8                                                                 MOUNT MORRIS    MI 48458‐1988
MS DIANE M NEWMAN        2159 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1725
MS DIANE M NUSSBAUM      914 WESTFIELD RD APT C                                                               LANSING         MI 48917‐2370
MS DIANE M ROBINSON      675 MELROSE ST                                                                       PONTIAC         MI 48340‐3118
MS DIANE M SMITH         6 LYNAM PL                                                                           WILMINGTON      DE 19804‐2032
MS DIANE M WIGGINS       7012 N BRAY RD                                                                       MOUNT MORRIS    MI 48458‐8988
MS DIANE MANLEY          666 PALMER DR                                                                        PONTIAC         MI 48342‐1854
MS DIANE MOSS            803 MELROSE ST                                                                       PONTIAC         MI 48340‐3124
MS DIANE O ROBINSON      43 SALLEE LN                                                                         PONTIAC         MI 48340‐1656
MS DIANE R MACCHI        2911 HARWICK DR APT 6                                                                LANSING         MI 48917‐2356
MS DIANE S KELLEY        730 DRYER FARM RD                                                                    LANSING         MI 48917‐2343
MS DIANE S RIDDLE        9959 JULIE DR                                                                        YPSILANTI       MI 48197‐8286
MS DIANNA K QUEEN        1426 E MCLEAN AVE                                                                    BURTON          MI 48529‐1612
MS DIANNE HOLLY          1120 E CLARK RD                                                                      YPSILANTI       MI 48198‐3114
MS DIANNE L BUTLER       22 LEANEE LN                                                                         PONTIAC         MI 48340‐1650
MS DIANNE M RESEIGH      563 OAK ST                                                                           MOUNT MORRIS    MI 48458‐1932
MS DIANNE M SHAMBO       35 DOUGLAS RD                                                                        MASSENA         NY 13662‐2136
MS DIKEETA S MOSES       5511 CHEVROLET BLVD APT A303                                                         CLEVELAND       OH 44130‐1461
MS DIONNE R KING         213 CARR ST                                                                          PONTIAC         MI 48342‐1607
MS DIXIE M WALDRON       4719 PLUMER ST                                                                       DETROIT         MI 48209‐1356
MS DM M LEE              1153 LAPORT AVE                                                                      MOUNT MORRIS    MI 48458‐2535
MS DOELLA RELEFORD       2211 AVENUE A                                                                        FLINT           MI 48505‐4309
MS DOLLIE M HUDSON       1254 UNIVERSITY DR                                                                   PONTIAC         MI 48342‐1969
MS DOLLY HOLTZCLAW       1511 W 14TH ST                                                                       MUNCIE          IN 47302‐2914
MS DOLORES A CHIAPETTA   11181 FAIRLAWN DR                                                                    CLEVELAND       OH 44130‐1219
MS DOLORES A RUSKOWSKI   11330 DEBORAH DR                                                                     PARMA           OH 44130‐1326
MS DOLORES E SARASIN     4770 BRANDON ST                                                                      DETROIT         MI 48209‐1300
MS DOLORES V REED        661 HELEN ST                                                                         MOUNT MORRIS    MI 48458‐1924
MS DOLORES W LEE         77 W RUTGERS AVE                                                                     PONTIAC         MI 48340‐2757
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Name                     Address1                       Address2            Address3         Address4         City         State Zip
MS DOMINIKE J JACKSON    31 STEGMAN LN                                                                        PONTIAC       MI 48340‐1662
MS DOMINIQUE D GARRETT   674 KENILWORTH AVE                                                                   PONTIAC       MI 48340‐3238
MS DONA F BRAGG          56 W LONGFELLOW AVE                                                                  PONTIAC       MI 48340‐1826
MS DONI J DOERING        1112 P ST                                                                            BEDFORD       IN 47421‐2820
MS DONNA BROOKS          1300 W 11TH ST                                                                       MUNCIE        IN 47302‐2264
MS DONNA C POLASEK       300 W YALE AVE                                                                       PONTIAC       MI 48340‐1753
MS DONNA DEAN            507 W 8TH ST                                                                         MUNCIE        IN 47302‐3112
MS DONNA F VANHOUTEN     1349 CHERRYLAWN DR                                                                   PONTIAC       MI 48340‐1709
MS DONNA GEORGE          2672 MOUNT PLEASANT RD                                                               BEDFORD       IN 47421‐8042
MS DONNA J DAICHENDT     141 W RUTGERS AVE                                                                    PONTIAC       MI 48340‐2759
MS DONNA J FRYE          104 W RUTGERS AVE                                                                    PONTIAC       MI 48340‐2758
MS DONNA J FRYE          988 FAIRVIEW AVE                                                                     PONTIAC       MI 48340‐2638
MS DONNA J GEORGE        2672 MOUNT PLEASANT RD                                                               BEDFORD       IN 47421‐8042
MS DONNA J GEORGE        2721 MOUNT PLEASANT RD                                                               BEDFORD       IN 47421‐8043
MS DONNA J HANCOCK       1412 N MARKET ST                                                                     KOKOMO        IN 46901‐2339
MS DONNA J LEWIS         415 L ST                                                                             BEDFORD       IN 47421‐1811
MS DONNA J PARRELLA      986 FULWELL DR                                                                       ONTARIO       OH 44906‐1111
MS DONNA J PRESTON       6132 ROBERT CIR                                                                      YPSILANTI     MI 48197‐8276
MS DONNA J SCHWANTES     1940 S CHATHAM ST                                                                    JANESVILLE    WI 53546‐6065
MS DONNA JONES           1821 W 11TH ST                                                                       MUNCIE        IN 47302‐6614
MS DONNA L GILLIS        5471 CHEVROLET BLVD APT A410                                                         CLEVELAND     OH 44130‐1488
MS DONNA L HADDRILL      1420 PROPER AVE                                                                      BURTON        MI 48529‐2044
MS DONNA L RAMSEY        1471 KENNETH ST                                                                      BURTON        MI 48529‐2209
MS DONNA L ST JOHN       245 W ANN ARBOR AVE                                                                  PONTIAC       MI 48340‐1805
MS DONNA L VERCH         1941 S WALNUT ST                                                                     JANESVILLE    WI 53546‐6052
MS DONNA L WADE          815 PREBLE ST                                                                        KOKOMO        IN 46901‐2769
MS DONNA M CHEEK         228 RICHARD AVE                                                                      PONTIAC       MI 48340‐1155
MS DONNA M ENRIGHT       422 HOLLIS ST                                                                        FRAMINGHAM    MA 01702‐8614
MS DONNA M HUMPHRIES     2219 E BUDER AVE                                                                     BURTON        MI 48529‐1735
MS DONNA M LOCKE         1087 STANLEY AVE                                                                     PONTIAC       MI 48340‐1779
MS DONNA M MORGAN        2121 E BUDER AVE                                                                     BURTON        MI 48529‐1733
MS DONNA M SCHOEN        68 ANDREWS ST                                                                        MASSENA       NY 13662‐2804
MS DONNA M SCHROEDER     1417 W BURBANK AVE                                                                   JANESVILLE    WI 53546‐6110
MS DONNA M STOWERS       2130 S OAKHILL AVE                                                                   JANESVILLE    WI 53546‐9048
MS DONNA M ZAMBINO       506 ROCHELLE AVE                                                                     WILMINGTON    DE 19804‐2120
MS DONNA R HOPEWELL      210 SUGAR HILL ADDITION                                                              BEDFORD       IN 47421‐8139
MS DONNA ROBINSON        139 BRYNFORD AVE                                                                     LANSING       MI 48917‐2923
MS DONNA S CASE          1411 M ST                                                                            BEDFORD       IN 47421‐3236
MS DONNA S WESTBERG      962 KETTERING AVE                                                                    PONTIAC       MI 48340‐3257
MS DONNA S WILLIAMS      4801 TOLEDO ST                                                                       DETROIT       MI 48209‐1374
MS DONNA THOMAS          2500 JUNCTION ST                                                                     DETROIT       MI 48209‐1468
MS DONNETRA S MCGHEE     557 BAY ST                                                                           PONTIAC       MI 48342‐1916
MS DONNETTE S LINTON     204 W FAIRMOUNT AVE                                                                  PONTIAC       MI 48340‐2740
MS DONNISHA K ROUSER     671 BAY ST                                                                           PONTIAC       MI 48342‐1919
MS DONNITA L FIRNSTEIN   45 NIGHTENGALE AVE                                                                   MASSENA       NY 13662‐1719
MS DORA D MARTIN         3351 GOLDNER ST APT 1                                                                DETROIT       MI 48210‐3310
MS DORA I SANCHEZ        4836 SAINT HEDWIG ST                                                                 DETROIT       MI 48210‐3223
MS DORA L DANIELS        990 DEWEY ST                                                                         PONTIAC       MI 48340‐2634
MS DORA M MARDIS         23 W HOPKINS AVE                                                                     PONTIAC       MI 48340‐1817
MS DORA M ROBBINS        1523 2ND ST                                                                          BEDFORD       IN 47421‐1705
MS DOREEN G HAFFNER      260 W BEVERLY AVE                                                                    PONTIAC       MI 48340‐2623
MS DOREEN PLOURDE        10 LAUREL AVE                                                                        MASSENA       NY 13662‐2028
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MS DOREEN S WEBER         1613 2ND ST                                                                          BEDFORD         IN 47421‐1605
MS DORI A GRIER           48 KAREN CT                                                                          PONTIAC         MI 48340‐1635
MS DORIMAR P FIGUEROA     177 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1876
MS DORINDA STACKHOUSE     1905 N BUCKEYE ST                                                                    KOKOMO          IN 46901‐2218
MS DORIS A FISH           627 MAPLE ST                                                                         MOUNT MORRIS    MI 48458‐1926
MS DORIS A JACKSON        45739 LAKEVIEW CT APT 13202                                                          NOVI            MI 48377‐3833
MS DORIS A PIERSON        1114 W 1ST ST                                                                        MUNCIE          IN 47305‐2103
MS DORIS B SHARPSTEN      36 GROVE ST                                                                          MASSENA         NY 13662‐2100
MS DORIS D HITE           520 BECKER AVE                                                                       WILMINGTON      DE 19804‐2104
MS DORIS E DUCKETT        116 UNIVERSITY PLACE DR                                                              PONTIAC         MI 48342‐1890
MS DORIS E ELTRICH        5629 NATHAN DR                                                                       CLEVELAND       OH 44130‐1561
MS DORIS E KRIEGER        2056 E BOATFIELD AVE                                                                 BURTON          MI 48529‐1712
MS DORIS E MONTAGUE       2153 E WILLIAMSON ST                                                                 BURTON          MI 48529‐2445
MS DORIS E SAMPSON        1045 LORENE AVE                                                                      MOUNT MORRIS    MI 48458‐2111
MS DORIS G SMITH          1457 E WILLIAMSON ST                                                                 BURTON          MI 48529‐1627
MS DORIS GRISSOM          252 WHITE LN                                                                         BEDFORD         IN 47421‐9223
MS DORIS HARMON           86 PINGREE AVE                                                                       PONTIAC         MI 48342‐1156
MS DORIS J DATES          714 EMERSON AVE                                                                      PONTIAC         MI 48340‐3219
MS DORIS J JOHNSON        44 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1882
MS DORIS L EARLY          2172 SAVOY AVE                                                                       BURTON          MI 48529‐2174
MS DORIS L FENSCH         9967 GERALDINE ST                                                                    YPSILANTI       MI 48197‐6928
MS DORIS L HARMON         78 PINGREE AVE                                                                       PONTIAC         MI 48342‐1155
MS DORIS M CATTELL        11800 BROOKPARK RD TRLR 142                                                          CLEVELAND       OH 44130‐1189
MS DORIS M DANIELS        2009 E SPINNINGWHEEL LN                                                              BLOOMFIELD      MI 48304‐1064
MS DORIS P ROBINSON       50 DOUGLAS RD                                                                        MASSENA         NY 13662‐2133
MS DORLETHA J PAUL        1705 N INDIANA AVE                                                                   KOKOMO          IN 46901‐2041
MS DORNA L GRAHL          31 PUTNAM AVE                                                                        PONTIAC         MI 48342‐1265
MS DOROTEA J DEBRANSKI    1 GRASSMERE TER APT 18                                                               MASSENA         NY 13662‐2162
MS DOROTHEA Z CARTHON     649 PALMER DR                                                                        PONTIAC         MI 48342‐1856
MS DOROTHY A BAKER        2262 E BUDER AVE                                                                     BURTON          MI 48529‐1776
MS DOROTHY A DOVE         612 BOXWOOD RD                                                                       WILMINGTON      DE 19804‐2011
MS DOROTHY A KELLY        9928 JULIE DR                                                                        YPSILANTI       MI 48197‐8292
MS DOROTHY A LOOKABAUGH   1002 KETTERING AVE                                                                   PONTIAC         MI 48340‐3259
MS DOROTHY A NASH         638 RILEY BLVD                                                                       BEDFORD         IN 47421‐9336
MS DOROTHY A WRIGHT       1252 E PRINCETON AVE                                                                 FLINT           MI 48505‐1755
MS DOROTHY B MATTISON     2001 CHIPPEWA ST                                                                     FLINT           MI 48505‐4705
MS DOROTHY B RUMSEY       551 OAK ST                                                                           MOUNT MORRIS    MI 48458‐1932
MS DOROTHY D TAYLOR       905 STANLEY AVE                                                                      PONTIAC         MI 48340‐2561
MS DOROTHY E CHRISTIAN    2047 E JUDD RD                                                                       BURTON          MI 48529‐2402
MS DOROTHY E HAHN         PO BOX 6797                                                                          KOKOMO          IN 46904‐6797
MS DOROTHY E HUTCHINS     8 BRIGHTON ST                                                                        MASSENA         NY 13662‐2228
MS DOROTHY G MAJORS       9699 HARBOUR COVE CT                                                                 YPSILANTI       MI 48197‐6901
MS DOROTHY H CULPEPPER    733 DURANT ST                                                                        LANSING         MI 48915‐1381
MS DOROTHY I GOOD         233 W SHEFFIELD AVE                                                                  PONTIAC         MI 48340‐1855
MS DOROTHY I GOOD         229 W SHEFFIELD AVE                                                                  PONTIAC         MI 48340‐1855
MS DOROTHY J ANDREWS      657 BAY ST                                                                           PONTIAC         MI 48342‐1919
MS DOROTHY J KELLER       11800 BROOKPARK RD TRLR 102                                                          CLEVELAND       OH 44130‐1184
MS DOROTHY J LYONS        9 LAUREL AVE APT 303                                                                 MASSENA         NY 13662‐2054
MS DOROTHY J PERRIEN      1164 AMOS ST                                                                         PONTIAC         MI 48342‐1802
MS DOROTHY J RIGGS        912 17TH ST                                                                          BEDFORD         IN 47421‐4206
MS DOROTHY J ROMEO        16 RIDGEWOOD AVE                                                                     MASSENA         NY 13662‐2114
MS DOROTHY J WITHERS      2901 HARWICK DR APT 7                                                                LANSING         MI 48917‐2354
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Name                               Address1                       Address2            Address3         Address4         City            State Zip
MS DOROTHY J YOUNG                 10906 COREYS WAY                                                                     FREDERICKSBRG    VA 22408‐2071
MS DOROTHY JONES                   647 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MS DOROTHY L BONCZKOWSKI           2164 WEBBER AVE                                                                      BURTON           MI 48529‐2414
MS DOROTHY L LADD                  920 W 11TH ST                                                                        MUNCIE           IN 47302‐3173
MS DOROTHY L MONGENE               220 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2724
MS DOROTHY L MORRIS                2 GRINNELL AVE                                                                       MASSENA          NY 13662‐1492
MS DOROTHY L STEWART               5623 CHEVROLET BLVD APT 1                                                            CLEVELAND        OH 44130‐8707
MS DOROTHY L VALENTI               508 ROCHELLE AVE                                                                     WILMINGTON       DE 19804‐2120
MS DOROTHY LALONE                  1805 W 7TH ST APT A                                                                  MUNCIE           IN 47302‐2192
MS DOROTHY M KARLEN                2213 S PALM ST                                                                       JANESVILLE       WI 53546‐6116
MS DOROTHY M MCNEELY               184 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1842
MS DOROTHY M PRICE                 825 PALMER DR                                                                        PONTIAC          MI 48342‐1861
MS DOROTHY M RHODES                1800 N WABASH AVE                                                                    KOKOMO           IN 46901‐2005
MS DOROTHY M SWEARINGEN            1514 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐2157
MS DOROTHY M TANNER                252 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1814
MS DOROTHY R SPEARS                16 LEANEE LN                                                                         PONTIAC          MI 48340‐1650
MS DOROTHY SPEARS                  39 KAREN CT                                                                          PONTIAC          MI 48340‐1636
MS DOROTHY V BIGGS                 979 EMERSON AVE                                                                      PONTIAC          MI 48340‐3230
MS DOROTHY V BIGGS                 976 CAMERON AVE                                                                      PONTIAC          MI 48340‐3214
MS DORRIS R SMIRES                 2884 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8044
MS DORTHEA J HOYT                  563 WALNUT ST                                                                        MOUNT MORRIS     MI 48458‐1952
MS DOSHANA P POWELL                1137 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
MS DOTTIE L TOWLER‐CURTISS‐RITCH   9807 JOAN CIR                                                                        YPSILANTI        MI 48197‐8295
MS DOTTIE RITCHIE                  9807 JOAN CIR                                                                        YPSILANTI        MI 48197‐8295
MS DOVIE C CHASTAIN                1519 Q ST                                                                            BEDFORD          IN 47421‐3626
MS DREAMA M HOLT                   11240 AARON DR                                                                       CLEVELAND        OH 44130‐1261
MS DUFERIA A WHITE                 2914 RISLEY DR                                                                       LANSING          MI 48917‐2364
MS DYAN M WELSH                    1410 M ST                                                                            BEDFORD          IN 47421‐3237
MS EARLINE PAGE                    1050 E GRAND BLVD                                                                    FLINT            MI 48505‐1506
MS EARNESTINE ENGLAND              121 BLAINE AVE                                                                       PONTIAC          MI 48342‐1102
MS EARNSTINE DIGGS                 1161 CHESTNUT ST                                                                     PONTIAC          MI 48342‐1891
MS EATHEL M FISH                   501 SHANDELL DR                                                                      BEDFORD          IN 47421‐9657
MS EBONY D ROBINSON                407 N GRACE ST                                                                       LANSING          MI 48917‐4911
MS EBONY L AMOS                    325 E SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1970
MS EBONY S JOHNSON                 25 LEANEE LN                                                                         PONTIAC          MI 48340‐1651
MS EDDIE M CONLEY                  9 APPLE LN                                                                           PONTIAC          MI 48340‐1600
MS EDDIE M SAMPLES                 483 W COLUMBIA AVE APT 105                                                           PONTIAC          MI 48340‐1644
MS EDIE HAMMAN                     214 W LORDEMAN ST                                                                    KOKOMO           IN 46901‐2234
MS EDILENA F SOUZA                 502 HOLLIS ST APT 2                                                                  FRAMINGHAM       MA 01702‐8645
MS EDITH D BURNETTE                928 MELROSE ST                                                                       PONTIAC          MI 48340‐3129
MS EDITH E LOCK                    823 W LORDEMAN ST                                                                    KOKOMO           IN 46901‐2018
MS EDITH E SIVALSKI                11101 KAREN ST                                                                       LIVONIA          MI 48150‐3144
MS EDITH F THOMAS                  581 LANCASTER LN                                                                     PONTIAC          MI 48342‐1852
MS EDITH K ANGER                   1083 CLOVIS AVE                                                                      MOUNT MORRIS     MI 48458‐2503
MS EDITH L NOLD                    3813 MARMION AVE                                                                     FLINT            MI 48506‐4241
MS EDITH M HERBELL                 11080 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1468
MS EDITH M OSTROM                  1094 CLOVIS AVE                                                                      MOUNT MORRIS     MI 48458‐2504
MS EDITH M WATKINS                 2056 E BUDER AVE                                                                     BURTON           MI 48529‐1732
MS EDITH T ASPLUND                 4403 1/2 DAVISON RD LOT 41                                                           BURTON           MI 48509‐1400
MS EDNA A WHITLEY                  124 PINGREE AVE # 1                                                                  PONTIAC          MI 48342‐1103
MS EDNA D MULLINS                  255 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2725
MS EDNA L WOOD                     1301 W 14TH ST APT 1                                                                 MUNCIE           IN 47302‐3196
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Name                      Address1                            Address2                        Address3   Address4              City            State Zip
MS EDNA M BROWN           708 WILBERFORCE DR                                                                                   FLINT            MI 48503‐5235
MS EDNA M DYER            816 W 11TH ST                                                                                        MUNCIE           IN 47302‐3171
MS EDNA R FLUELLEN        44 KAREN CT                                                                                          PONTIAC          MI 48340‐1635
MS EDNA R FOGLE           186 W COLUMBIA AVE                                                                                   PONTIAC          MI 48340‐1812
MS EDNA R MCCRUMB         1701 N LAFOUNTAIN ST                                                                                 KOKOMO           IN 46901‐2323
MS EDWINA W SANDERS       745 COLUMBIA DR                                                                                      FLINT            MI 48503‐5207
MS EDYTHE E CRAIG         1710 M ST                                                                                            BEDFORD          IN 47421‐4227
MS EDYTHE E CRAIG         1714 M ST                                                                                            BEDFORD          IN 47421‐4227
MS EDYTHE LOTKIN          APT K2                              2302 LUCAYA LN                                                   COCONUT CREEK    FL 33066
MS EDYTHE LOTKIN          2302 LUCAYA LN APT K2                                                                                COCONUT CREEK    FL 33066
MS EILEEN F TAYLOR        1320 Q ST                                                                                            BEDFORD          IN 47421‐3133
MS EILEEN JOHNSON         64 UNIVERSITY PLACE DR                                                                               PONTIAC          MI 48342‐1887
MS EILEEN M COOK          2161 E BRISTOL RD                                                                                    BURTON           MI 48529‐1320
MS EILEEN M GRANDAGE      6810 IRON GATE DR                                                                                    N ROYALTON       OH 44133‐1983
MS EILENE C HURST         302 S CLIFTON AVE                                                                                    WILMINGTON       DE 19805‐2368
MS ELAINE A OUSNAMER      117 EUCLID AVE                                                                                       PONTIAC          MI 48342‐1115
MS ELAINE B DAVIS         3742 PITKIN AVE                                                                                      FLINT            MI 48506‐4221
MS ELAINE BELL            2001 N CENTER RD APT 121                                                                             FLINT            MI 48506‐3198
MS ELAINE C BATES         4403 1/2 DAVISON RD LOT 37                                                                           BURTON           MI 48509‐1400
MS ELAINE C OLENDERSKI    35 READ AVE                                                                                          WILMINGTON       DE 19804‐2033
MS ELAINE F KUS           1401 N VIRGINIA AVE                                                                                  FLINT            MI 48506‐4222
MS ELAINE K BRANCHEAU     675 BUENA VISTA ST                                                                                   MOUNT MORRIS     MI 48458‐1909
MS ELAINE L LA ROSE       1700 W 10TH ST                                                                                       MUNCIE           IN 47302‐2143
MS ELAINE M DENNIS        609 E PATERSON ST APT 1W                                                                             FLINT            MI 48505‐4778
MS ELAINE M LAWSON        4056 WOODROW AVE                                                                                     BURTON           MI 48509‐1012
MS ELAINE M STOKES        521 E PATERSON ST                                                                                    FLINT            MI 48505‐4741
MS ELAINE M STOKES        520 E PATERSON ST                                                                                    FLINT            MI 48505‐4742
MS ELAINE MOORE           3345 25TH ST                                                                                         DETROIT          MI 48208‐2461
MS ELAINE MUNIAK          5431 CHEVROLET BLVD APT A105                                                                         PARMA            OH 44130‐1453
MS ELAINE S HENDERSON     5699 CHEVROLET BLVD APT B201                                                                         CLEVELAND        OH 44130‐8718
MS ELAINE S SCOTT         10701 RIVEREDGE DR                                                                                   CLEVELAND        OH 44130‐1246
MS ELAINE S SHEDD         1321 14TH ST                                                                                         BEDFORD          IN 47421‐3230
MS ELAINE S WRIGHT        1347 CHERRYLAWN DR                                                                                   PONTIAC          MI 48340‐1709
MS ELAINE T WEEKS         2501 N 140TH AVE                                                                                     CADOTT           WI 54727‐9002
MS ELAINE WILLIAMS        622 LANCASTER LN                                                                                     PONTIAC          MI 48342‐1851
MS ELAYNE BALLANCE        810 MORRIS AVE                                                                                       LANSING          MI 48917‐2319
MS ELEANOR GREGORY        1100 W 15TH ST                                                                                       MUNCIE           IN 47302‐3068
MS ELEANOR I SKINNER      2113 E MCLEAN AVE                                                                                    BURTON           MI 48529‐1739
MS ELEANOR M MATTHEWS     2098 DELANEY ST                                                                                      BURTON           MI 48509‐1023
MS ELEANOR P MAKUCH       542 E FOX HILLS DR                                                                                   BLOOMFIELD       MI 48304‐1302
MS ELEANOR V RAYMO        81 GROVE ST                                                                                          MASSENA          NY 13662‐2127
MS ELENA COLOMBO          C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290 NOLA      NAPLES 80035 ITALY

MS ELENA VILLA            906 MELROSE ST                                                                                       PONTIAC         MI   48340‐3127
MS ELENORA HADLEY         155 CHARLES LN                                                                                       PONTIAC         MI   48341‐2928
MS ELIA S REYES           455 W FAIRMOUNT AVE                                                                                  PONTIAC         MI   48340‐1621
MS ELIDA CINTRON          146 CHERRY HILL DR                                                                                   PONTIAC         MI   48340‐1608
MS ELIN K JACOB           1301 O ST                                                                                            BEDFORD         IN   47421‐3123
MS ELISA REYNOSO          6561 MCDONALD ST                                                                                     DETROIT         MI   48210‐1569
MS ELISA TERRIQUEZ        1105 CLOVERLAWN BLVD                                                                                 LINCOLN PARK    MI   48146‐4215
MS ELISANGELA M DAROCHA   2 AARON ST                                                                                           FRAMINGHAM      MA   01702‐8747
MS ELISE C KEARNS         5195 MATTAWA DR                                                                                      CLARKSTON       MI   48348‐3125
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Name                         Address1                       Address2            Address3         Address4         City           State Zip
MS ELIZABET COOK             916 W 14TH ST                                                                        MUNCIE          IN 47302‐7614
MS ELIZABET LACEY            1909 W 11TH ST                                                                       MUNCIE          IN 47302‐2154
MS ELIZABET PLESCHAKOW       576 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1312
MS ELIZABET SMITH            1720 O ST                                                                            BEDFORD         IN 47421‐4119
MS ELIZABETH A BROWN         1611 12TH ST                                                                         BEDFORD         IN 47421‐3103
MS ELIZABETH A CRANE         2056 E JUDD RD                                                                       BURTON          MI 48529‐2403
MS ELIZABETH A DURANT        4 RANSOM AVE                                                                         MASSENA         NY 13662‐1736
MS ELIZABETH A ECKSTEIN      7151 ESTRELLE AVE                                                                    MOUNT MORRIS    MI 48458‐2146
MS ELIZABETH A FRANCE        1916 S WALNUT ST                                                                     JANESVILLE      WI 53546‐6067
MS ELIZABETH A HATFIELD      5561 CHEVROLET BLVD APT C105                                                         PARMA           OH 44130‐1402
MS ELIZABETH A MALEY         928 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3108
MS ELIZABETH A MARKER        9837 GERALDINE ST                                                                    YPSILANTI       MI 48197‐6923
MS ELIZABETH A MAURICIO      750 CORWIN AVE                                                                       PONTIAC         MI 48340‐2412
MS ELIZABETH A MCLAUCHLAN    1457 E BRISTOL RD                                                                    FLINT           MI 48529‐2214
MS ELIZABETH A MERGEL        615 S SPINNINGWHEEL LN                                                               BLOOMFIELD      MI 48304‐1323
MS ELIZABETH A MULLINS       1130 W 16TH ST                                                                       MUNCIE          IN 47302‐3079
MS ELIZABETH A PHILLIPS      590 HELEN ST                                                                         MOUNT MORRIS    MI 48458‐1923
MS ELIZABETH A SAYLOR        219 W CORNELL AVE                                                                    PONTIAC         MI 48340‐2725
MS ELIZABETH A SMITH         1113 WESTFIELD RD                                                                    LANSING         MI 48917‐2376
MS ELIZABETH A SUMMERS       3025 BAY VIEW DR                                                                     FENTON          MI 48430‐3302
MS ELIZABETH A WREN          339 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1901
MS ELIZABETH ALBERT          1302 E KURTZ AVE                                                                     FLINT           MI 48505‐1765
MS ELIZABETH B BEHREND       10940 AARON DR                                                                       CLEVELAND       OH 44130‐1360
MS ELIZABETH B KELLY         2325 N LABADIE                                                                       MILFORD         MI 48380‐4242
MS ELIZABETH B SKINNER       1521 14TH ST                                                                         BEDFORD         IN 47421‐3630
MS ELIZABETH BISHOP          2001 N CENTER RD APT 218                                                             FLINT           MI 48506‐3182
MS ELIZABETH BURT            17 GRASSMERE AVE                                                                     MASSENA         NY 13662‐2037
MS ELIZABETH C BALDWIN       969 CARLISLE ST                                                                      PONTIAC         MI 48340‐2626
MS ELIZABETH C NARVAEZ       48 W LONGFELLOW AVE                                                                  PONTIAC         MI 48340‐1826
MS ELIZABETH C OCHOA         1516 15TH ST                                                                         BEDFORD         IN 47421‐3602
MS ELIZABETH CONN            4218 BRANDON ST                                                                      DETROIT         MI 48209‐1332
MS ELIZABETH COVEY           317 W BROADWAY ST                                                                    KOKOMO          IN 46901‐2813
MS ELIZABETH D BURT          1 GRASSMERE TER APT 17                                                               MASSENA         NY 13662‐2162
MS ELIZABETH D JOHNSON       861 STIRLING ST                                                                      PONTIAC         MI 48340‐3166
MS ELIZABETH D LEWIS         625 MELROSE ST                                                                       PONTIAC         MI 48340‐3116
MS ELIZABETH D MELENDEZ      819 HARWOOD RD                                                                       WILMINGTON      DE 19804‐2660
MS ELIZABETH DAJCS           1387 WEBBER AVE                                                                      BURTON          MI 48529‐2033
MS ELIZABETH DAJCS           1462 WEBBER AVE                                                                      BURTON          MI 48529‐2038
MS ELIZABETH DOBBS           1615 W 8TH ST                                                                        MUNCIE          IN 47302‐2194
MS ELIZABETH E BOYLES        1508 N MORRISON ST                                                                   KOKOMO          IN 46901‐2155
MS ELIZABETH H BARNES        44 RANSOM AVE                                                                        MASSENA         NY 13662‐1735
MS ELIZABETH HELM            814 LINCOLN AVE                                                                      BEDFORD         IN 47421‐2536
MS ELIZABETH J ARNOVITS      3117 W GENESEE ST                                                                    LANSING         MI 48917‐2941
MS ELIZABETH J BOGUSLAWSKI   3336 JUNCTION ST                                                                     DETROIT         MI 48210‐3206
MS ELIZABETH J BOURLAND      89 LINCOLN AVE                                                                       BEDFORD         IN 47421‐1610
MS ELIZABETH J KELLS         8 N ALLEN ST                                                                         MASSENA         NY 13662‐1862
MS ELIZABETH J SWEENEY       41 DOUGLAS RD                                                                        MASSENA         NY 13662‐2135
MS ELIZABETH L BARINGER      310 CENTRAL AVE                                                                      WILMINGTON      DE 19805‐2416
MS ELIZABETH L BORN          493 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1309
MS ELIZABETH L HART          9 LAUREL AVE APT 407                                                                 MASSENA         NY 13662‐2057
MS ELIZABETH M EMMANS        252 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2762
MS ELIZABETH M FLETCHER      46 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1882
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Name                          Address1                          Address2                          Address3   Address4                  City           State Zip
MS ELIZABETH M HUBBLE         1125 EASTFIELD RD                                                                                        LANSING         MI 48917‐2347
MS ELIZABETH M KESNAR         2225 N MARKET ST                                                                                         KOKOMO          IN 46901‐1448
MS ELIZABETH M MOORE          67 LEANEE LN                                                                                             PONTIAC         MI 48340‐1651
MS ELIZABETH MAURICIO         64 STEGMAN LN                                                                                            PONTIAC         MI 48340‐1663
MS ELIZABETH NICOLSON         3660 NEWGATE LN                                                                                          INDIANAPOLIS    IN 46235‐2380
MS ELIZABETH P MEIXNER        6211 SHELDON ST                                                                                          YPSILANTI       MI 48197‐8218
MS ELIZABETH R SCHUSTER       5719 CHEVROLET BLVD APT A309                                                                             CLEVELAND       OH 44130‐1484
MS ELIZABETH S HITCHCOCK      1111 13TH ST                                                                                             BEDFORD         IN 47421‐3206
MS ELIZABETH T NOVAK          7 PROSPECT AVE                                                                                           MASSENA         NY 13662‐1749
MS ELIZABETH TRIGUEROS        401 HOLLIS ST                                                                                            FRAMINGHAM      MA 01702‐8646
MS ELIZABETH V WALTER         1000 AHLERS BLVD                                                                                         WILMINGTON      DE 19804‐2641
MS ELIZABETH W MONROE         298 W COLUMBIA AVE                                                                                       PONTIAC         MI 48340‐1710
MS ELLA J BARRETT             543 EMERSON AVE                                                                                          PONTIAC         MI 48342‐1825
MS ELLA L HALL                584 KETTERING AVE                                                                                        PONTIAC         MI 48340‐3242
MS ELLA L NOWDEN              2199 LANSING ST APT 202                                                                                  DETROIT         MI 48209‐2098
MS ELLA L RILEY               580 KETTERING AVE                                                                                        PONTIAC         MI 48340‐3242
MS ELLA M JONES               1070 E KURTZ AVE                                                                                         FLINT           MI 48505‐1512
MS ELLA M TRUITT              706 GARNET RD                                                                                            WILMINGTON      DE 19804‐2614
MS ELLEN CURTIS               1520 W 15TH ST                                                                                           MUNCIE          IN 47302‐2919
MS ELLEN E LEONZIO            709 FALLON AVE                                                                                           WILMINGTON      DE 19804‐2113
MS ELLEN E MCCONNELL          1614 1ST ST                                                                                              BEDFORD         IN 47421‐1604
MS ELLEN J PERRITT            3021 W GENESEE ST                                                                                        LANSING         MI 48917‐2939
MS ELLEN K FERGUSON           603 SEDGEFIELD DR                                                                                        BLOOMFIELD      MI 48304‐1060
MS ELLEN L KEGERREIS          1208 W 1ST ST                                                                                            MUNCIE          IN 47305‐2105
MS ELLEN L ZIELINSKI          11080 FAIRLAWN DR                                                                                        PARMA           OH 44130‐1216
MS ELLEN LARRISON             1801 N MORRISON ST                                                                                       KOKOMO          IN 46901‐2148
MS ELLEN N COFFMAN            1007 EASTFIELD RD                                                                                        LANSING         MI 48917‐2301
MS ELLEN O PRIVETT            1315 N MORRISON ST                                                                                       KOKOMO          IN 46901‐2759
MS ELLEN R FERGUSON           9 LAUREL AVE APT 1005                                                                                    MASSENA         NY 13662‐2159
MS ELLEN RANDT                1405 E WILLIAMSON ST                                                                                     BURTON          MI 48529‐1639
MS ELMA CAMPOS                2077 CLARK ST                                                                                            DETROIT         MI 48209‐1668
MS ELMA J LAFORCE             9 LAUREL AVE APT 202                                                                                     MASSENA         NY 13662‐2054
MS ELNA E MARCUM              2272 E WILLIAMSON ST                                                                                     BURTON          MI 48529‐2449
MS ELOISE BRIDGES             3570 28TH ST                                                                                             DETROIT         MI 48210‐3104
MS ELSA L PERALES             1804 BRISTOL COURT DR                                                                                    MOUNT MORRIS    MI 48458‐2186
MS ELSIE ARVIN                1244 CHERRYLAWN DR                                                                                       PONTIAC         MI 48340‐1706
MS ELSIE B LYNESS             11 W KEYSTONE AVE                                                                                        WILMINGTON      DE 19804‐2027
MS ELSIE I SIMPSON            1023 E GRAND BLVD                                                                                        FLINT           MI 48505‐1505
MS ELSIE K MULLIS             1001 J ST                                                                                                BEDFORD         IN 47421‐2632
MS ELSIE M RICHER             2138 E MCLEAN AVE                                                                                        BURTON          MI 48529‐1740
MS ELVENIA K CARTER           191 WHITTEMORE ST                                                                                        PONTIAC         MI 48342‐3068
MS ELVIA MCKELTON             742 W GRAND BLVD                                                                                         DETROIT         MI 48216‐1003
MS ELVIRA D POSADA            1617 N WABASH AVE                                                                                        KOKOMO          IN 46901‐2008
MS EMA I FISH                 205 O ST                                                                                                 BEDFORD         IN 47421‐1715
MS EMANUELA COLOMBO           C/O D'ALESSANDRO & PARTNERS SGE   VIA ANFITEATRO LATERIZIO NO 290              80035 NOLA NAPLES ITALY

MS EMELINE HALE               1325 S HOYT AVE                                                                                          MUNCIE         IN   47302‐3191
MS EMELY MONTANEZ‐RODRIGUEZ   11491 SHARON DR APT C704                                                                                 CLEVELAND      OH   44130‐1446
MS EMIKO T RILEY              2001 N CENTER RD APT 303                                                                                 FLINT          MI   48506‐3183
MS EMILIA BARAJAS             770 W GRAND BLVD                                                                                         DETROIT        MI   48216‐1003
MS EMILIA LOPEZ               4700 BRANDON ST                                                                                          DETROIT        MI   48209‐1300
MS EMILY A ANTHONY            5900 BRIDGE RD APT 607                                                                                   YPSILANTI      MI   48197‐7010
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Name                       Address1                      Address2            Address3         Address4         City           State Zip
MS EMILY A FREEHAFER       309 BRIGHTON AVE                                                                    WILMINGTON      DE 19805‐2407
MS EMILY JORDAN            1604 12TH ST                                                                        BEDFORD         IN 47421‐3104
MS EMILY K WOOD            84 APPLEWOOD DR                                                                     FAIRFIELD       OH 45014‐5297
MS EMILY M KIENBAUM        2024 ARBUTUS ST                                                                     JANESVILLE      WI 53546‐6157
MS EMILY MATUSZCZAK        699 E FOX HILLS DR                                                                  BLOOMFIELD      MI 48304‐1342
MS EMILY OROLOGIO          7 MAIN ST                                                                           MASSENA         NY 13662‐1914
MS EMILY S BARRETT         74 HUDSON AVE                                                                       PONTIAC         MI 48342‐1243
MS EMMA D LEWIS            1109 BRISTOL COURT DR                                                               MOUNT MORRIS    MI 48458‐2179
MS EMMA J CARPER           2147 E SCHUMACHER ST                                                                BURTON          MI 48529‐2437
MS EMMA J HANKINS          522 FOX HILLS DR S                                                                  BLOOMFIELD      MI 48304‐1316
MS EMMA M BUSH             6 BRIGHTON ST                                                                       MASSENA         NY 13662‐2228
MS ENGRACIA PAPAHATZIS     4872 TOLEDO ST                                                                      DETROIT         MI 48209‐1375
MS ERICA J STODDARD        717 E FOX HILLS DR                                                                  BLOOMFIELD      MI 48304‐1307
MS ERICA JACKSON           876 STANLEY AVE                                                                     PONTIAC         MI 48340‐2558
MS ERICA JORDAN            87 LEANEE LN                                                                        PONTIAC         MI 48340‐1651
MS ERICA L FRANKLIN        2333 S CHATHAM ST                                                                   JANESVILLE      WI 53546‐6152
MS ERICA L MCMILLIN        350 HARVARD CT APT 4                                                                MOUNT MORRIS    MI 48458‐1987
MS ERICA PORTOLESE         15 BRIDGES AVE APT 3                                                                MASSENA         NY 13662‐1876
MS ERICKA DIAZ             151 W SHEFFIELD AVE                                                                 PONTIAC         MI 48340‐1851
MS ERICKA L WEAVER         636 NEWMAN LN                                                                       PONTIAC         MI 48340‐3300
MS ERICKA M PRICE          1115 BOYNTON DR                                                                     LANSING         MI 48917‐5706
MS ERIKA A PALACIOS NAVA   56 STEGMAN LN                                                                       PONTIAC         MI 48340‐1662
MS ERIKA ANGULO            2170 LANSING ST                                                                     DETROIT         MI 48209‐1673
MS ERIKA D DUNLAP          1208 BRISTOL COURT DR                                                               MOUNT MORRIS    MI 48458‐2180
MS ERIKA J MCCONNELL       1015 EASTFIELD RD                                                                   LANSING         MI 48917‐2301
MS ERIKA L KLEINOW         12026 HALLER ST                                                                     LIVONIA         MI 48150‐2373
MS ERIKA M RUSH            626 LANCASTER LN                                                                    PONTIAC         MI 48342‐1851
MS ERIKA N SCHILLMAN       2219 E BERGIN AVE                                                                   BURTON          MI 48529‐1780
MS ERIN E DOUGHERTY        311 BRYNFORD AVE                                                                    LANSING         MI 48917‐2925
MS ERIN K MOORE            9966 JULIE DR                                                                       YPSILANTI       MI 48197‐8294
MS ERIN L HATFIELD         310 M ST                                                                            BEDFORD         IN 47421‐1817
MS ERIN M GARDNER          29 HIGHLAND AVE                                                                     MASSENA         NY 13662‐1730
MS ERIN M VERHULST         11788 CAMDEN ST                                                                     LIVONIA         MI 48150‐2362
MS ERIN R MURPHY           542 S SPINNINGWHEEL LN                                                              BLOOMFIELD      MI 48304‐1318
MS ERIN T ONG              5900 BRIDGE RD APT 302                                                              YPSILANTI       MI 48197‐7010
MS ERMA L BELCHER          1039 LUCHARLES AVE                                                                  MOUNT MORRIS    MI 48458‐2113
MS ERMA R BRADLEY          1950 W SPINNINGWHEEL LN                                                             BLOOMFIELD      MI 48304‐1066
MS ERNESTINE A JOHNSON     1526 13TH ST                                                                        BEDFORD         IN 47421‐3112
MS ERNESTINE ASHLEY        8245 E HILDALE ST                                                                   DETROIT         MI 48234‐3605
MS ERNESTINE JEFFERSON     144 CHARLES LN                                                                      PONTIAC         MI 48341‐2927
MS ESPERANZA R GONZALES    137 CHERRY HILL DR                                                                  PONTIAC         MI 48340‐1609
MS ESSIE B SHIELDS         2200 S PIERCE ST                                                                    MUNCIE          IN 47302‐3015
MS ESTELA F LEFLER         762 STANLEY AVE                                                                     PONTIAC         MI 48340‐2473
MS ESTELA HERNANDEZ        819 W CHAMPLAIN AVE                                                                 WILMINGTON      DE 19804‐2000
MS ESTELLA HAMAD           144 SUMMIT ST APT 1                                                                 PONTIAC         MI 48342‐1165
MS ESTELLA HERNANDEZ       4785 PLUMER ST                                                                      DETROIT         MI 48209‐1356
MS ESTELLA P THOMPSON      2205 AVENUE A                                                                       FLINT           MI 48505‐4309
MS ESTHER E LONG           1608 N COURTLAND AVE                                                                KOKOMO          IN 46901‐2141
MS ESTHER E WRIGHT         1925 W 8TH ST                                                                       MUNCIE          IN 47302‐2117
MS ESTHER L BARRETT        1407 E SCOTTWOOD AVE                                                                BURTON          MI 48529‐1623
MS ESTHER L HATTER         2018 E SPINNINGWHEEL LN                                                             BLOOMFIELD      MI 48304‐1063
MS ESTHER L LEPPER         752 MONTICELLO AVE                                                                  PONTIAC         MI 48340‐2320
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MS ESTHER L STEVENS       774 STIRLING ST                                                                      PONTIAC         MI 48340‐3163
MS ESTHER M RICHARDS      2108 E BOATFIELD AVE                                                                 BURTON          MI 48529‐1714
MS ESTHER ROX             534 E BAKER ST                                                                       FLINT           MI 48505‐4320
MS ETHEL J DURHAM         3806 MAGNOLIA ST                                                                     DETROIT         MI 48208‐2345
MS ETHEL L CASTLE         67 W PRINCETON AVE                                                                   PONTIAC         MI 48340‐1837
MS ETHEL L JACKSON        315 W ELM ST                                                                         KOKOMO          IN 46901‐2833
MS ETHELENE L TAYLOR      2209 E BERGIN AVE                                                                    BURTON          MI 48529‐1780
MS ETTA M PEYTON          59 N ST                                                                              BEDFORD         IN 47421‐1733
MS ETTA R HALL            1121 SUMMIT LN                                                                       BEDFORD         IN 47421‐2549
MS ETTA R SANDERS         1501 13TH ST                                                                         BEDFORD         IN 47421‐3111
MS ETTIS A WHITE          2001 N CENTER RD APT 228                                                             FLINT           MI 48506‐3166
MS EUFEMIA COSME          811 STIRLING ST                                                                      PONTIAC         MI 48340‐3174
MS EULA M HAYNES          948 EMERSON AVE                                                                      PONTIAC         MI 48340‐3229
MS EULIA MCCOY            755 MELROSE ST                                                                       PONTIAC         MI 48340‐3122
MS EUNICE POMEROY         2063 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1749
MS EVA A LATIMER          615 LOWELL ST                                                                        PONTIAC         MI 48340‐3020
MS EVA D YLOVCHAN         805 W 10TH ST                                                                        MUNCIE          IN 47302‐3185
MS EVA GONZALEZ           2005 S WALNUT ST                                                                     JANESVILLE      WI 53546‐6053
MS EVA JOHNSON            1201 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2180
MS EVA L PAVON‐ORTEZ      92 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2734
MS EVA M CRAINE           370 ELM ST                                                                           MOUNT MORRIS    MI 48458‐1912
MS EVA RAMIREZ            749 CORTWRIGHT ST                                                                    PONTIAC         MI 48340‐2305
MS EVA Z MERUSI           543 HOLLIS ST                                                                        FRAMINGHAM      MA 01702‐8619
MS EVALENA CARNEY         664 STIRLING ST                                                                      PONTIAC         MI 48340‐3161
MS EVANUEL M BRADLEY      29 KAREN CT                                                                          PONTIAC         MI 48340‐1634
MS EVELYN A ABDUL‐AZEEZ   1239 E KURTZ AVE                                                                     FLINT           MI 48505‐1764
MS EVELYN C GROGAN        88 W RUTGERS AVE                                                                     PONTIAC         MI 48340‐2756
MS EVELYN CHEVALIER       2146 E MCLEAN AVE                                                                    BURTON          MI 48529‐1740
MS EVELYN E KING          521 WALNUT ST                                                                        MOUNT MORRIS    MI 48458‐1952
MS EVELYN EDINGTON        1524 N WASHINGTON ST                                                                 KOKOMO          IN 46901‐2211
MS EVELYN F CONNER        804 W 10TH ST                                                                        MUNCIE          IN 47302‐3169
MS EVELYN G PURDY         2223 E MCLEAN AVE                                                                    BURTON          MI 48529‐1741
MS EVELYN HILL            144 CHERRY HILL DR                                                                   PONTIAC         MI 48340‐1608
MS EVELYN JORDAN          11440 BROOKPARK RD                                                                   CLEVELAND       OH 44130‐1131
MS EVELYN K FARNSWORTH    47 W ORVIS ST APT 3                                                                  MASSENA         NY 13662‐1865
MS EVELYN L CARR          1391 WEBBER AVE                                                                      BURTON          MI 48529‐2033
MS EVELYN L JOE           209 W KENNETT RD                                                                     PONTIAC         MI 48340‐2653
MS EVELYN L LEON          857 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3105
MS EVELYN M CHEVALIER     2278 E SCOTTWOOD AVE                                                                 BURTON          MI 48529‐1722
MS EVELYN M HUGHLEY       360 W HOPKINS AVE APT 301                                                            PONTIAC         MI 48340‐1758
MS EVELYN M MILLER        11800 BROOKPARK RD TRLR 136                                                          CLEVELAND       OH 44130‐1189
MS EVELYN PREVETT         615 ELM ST                                                                           MOUNT MORRIS    MI 48458‐1917
MS EVELYN Y HODGES        256 W YALE AVE                                                                       PONTIAC         MI 48340‐1866
MS EVELYN Y HODGES        217 W YALE AVE                                                                       PONTIAC         MI 48340‐1867
MS EVERETT E YEDDO        15 N ALLEN ST                                                                        MASSENA         NY 13662‐1801
MS EVERGRACE SEAY         209 BLOOMFIELD BLVD                                                                  BLOOMFIELD      MI 48302‐0511
MS EVERLINA BERRY         3075 24TH ST                                                                         DETROIT         MI 48216‐1077
MS EVON A KERN            14 APPLE LN                                                                          PONTIAC         MI 48340‐1600
MS EVON R URBAN           1026 TERRY AVE                                                                       MOUNT MORRIS    MI 48458‐2568
MS EVONNE PRYOR           436 FOX HILLS DR S APT 2                                                             BLOOMFIELD      MI 48304‐1351
MS EVY FRY                5900 BRIDGE RD APT 605                                                               YPSILANTI       MI 48197‐7010
MS EXIE M HILL            1268 E HARVARD AVE                                                                   FLINT           MI 48505‐1759
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Name                            Address1                            Address2                          Address3   Address4              City            State Zip
MS FADWA TAYFOUR                918 E MOUNT MORRIS ST                                                                                  MOUNT MORRIS     MI 48458‐2085
MS FAITH C MORSE                1021 WESTFIELD RD                                                                                      LANSING          MI 48917‐2374
MS FAITH IVY                    1113 W 1ST ST                                                                                          MUNCIE           IN 47305‐2104
MS FAITH JACOBSON               28701 PLYMOUTH RD                                                                                      LIVONIA          MI 48150‐2335
MS FAITH L PARKER               407 1/2 W CHAMPLAIN AVE APT B                                                                          WILMINGTON       DE 19804‐2053
MS FAITH WILLIAMS               9931 JOAN CIR                                                                                          YPSILANTI        MI 48197‐6903
MS FANNY WHITTAKER              1212 N UNION ST                                                                                        KOKOMO           IN 46901‐2902
MS FATIMA WALKER                642 NEWMAN LN                                                                                          PONTIAC          MI 48340‐3300
MS FAY F VANDERPOOL             992 EMERSON AVE                                                                                        PONTIAC          MI 48340‐3229
MS FAY G CARBERRY               1403 N MORRISON ST                                                                                     KOKOMO           IN 46901‐2156
MS FAYE M OSBORNE               24 CHARLES LN                                                                                          PONTIAC          MI 48341‐2925
MS FEDERICA DALE                C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO 290   NOLA       80035 NAPLES ITALY

MS FELECITAS C KELLY            329 EXMORE AVE                                                                                         WILMINGTON      DE   19805‐2321
MS FELICIA B ROBINSON           5653 CHEVROLET BLVD APT 4                                                                              PARMA           OH   44130‐8712
MS FELICIA BUSHELL              504 OLD OAK CT                                                                                         PONTIAC         MI   48340‐2148
MS FELICIA C DAVIS              5900 BRIDGE RD APT 313                                                                                 YPSILANTI       MI   48197‐7009
MS FELICIA E GEETER             715 CAMERON AVE                                                                                        PONTIAC         MI   48340‐3205
MS FELICIA GAGE                 670 CORTWRIGHT ST                                                                                      PONTIAC         MI   48340‐2300
MS FELICIA GUYTON               4303 TOLEDO ST                                                                                         DETROIT         MI   48209‐1366
MS FELICIA L GRIFFIN            1207 CLOVERLAWN DR                                                                                     PONTIAC         MI   48340‐1617
MS FELICIA M BANKS              1038 E HARVARD AVE                                                                                     FLINT           MI   48505‐1508
MS FELICIA M DYJAK              3801 STOBART RD                                                                                        MILFORD         MI   48380‐3722
MS FELICIA M HUNTER             1176 AMOS ST                                                                                           PONTIAC         MI   48342‐1802
MS FELICIA M WILLIAMS           47 LEANEE LN                                                                                           PONTIAC         MI   48340‐1651
MS FELICIA M WILLIAMS           2199 LANSING ST APT 101                                                                                DETROIT         MI   48209‐1693
MS FELICIA R CONLEY             1151 CHESTNUT ST                                                                                       PONTIAC         MI   48342‐1891
MS FELICIA R NICHOLS            430 W FAIRMOUNT AVE                                                                                    PONTIAC         MI   48340‐1620
MS FELICIA R SUMLER             565 LANCASTER LN                                                                                       PONTIAC         MI   48342‐1852
MS FELICIA SIMS                 5701 CHEVROLET BLVD APT C216                                                                           CLEVELAND       OH   44130‐8729
MS FERNANDA D ALMEIDA           19 BRACKETT RD APT B                                                                                   FRAMINGHAM      MA   01702‐8745
MS FERNANDA L KAIN              10912 COREYS WAY                                                                                       FREDERICKSBRG   VA   22408‐2071
MS FIDELIA H CANTU              212 W STRATHMORE AVE                                                                                   PONTIAC         MI   48340‐2778
MS FLEETA VAUX                  1916 N APPERSON WAY                                                                                    KOKOMO          IN   46901‐2300
MS FLEURETTE M LASHOMB          72 GROVE ST                                                                                            MASSENA         NY   13662‐2126
MS FLOR M BELMARES              724 CORTWRIGHT ST                                                                                      PONTIAC         MI   48340‐2304
MS FLORA GIBSON                 102 SUMMIT ST                                                                                          PONTIAC         MI   48342‐1165
MS FLORA L HACKWORTH            409 W 9TH ST                                                                                           MUNCIE          IN   47302‐3118
MS FLORA R STILTNER             4446 TOLEDO ST                                                                                         DETROIT         MI   48209‐1369
MS FLORAREEN SMITH              625 BUENA VISTA ST APT 3                                                                               MOUNT MORRIS    MI   48458‐1961
MS FLORE GJOKAJ                 2130 MORRIS AVE                                                                                        BURTON          MI   48529‐2105
MS FLORENCE A YADDOW            9 LAUREL AVE APT 508                                                                                   MASSENA         NY   13662‐2056
MS FLORENCE BLEICHER            5266 GRAFTON RD APT 2B                                                                                 BRUNSWICK       OH   44212‐1061
MS FLORENCE CHAMBERLAIN         1025 NELSON ST                                                                                         FLINT           MI   48503‐1840
MS FLORENCE D BECK              1026 CHERRYLAWN DR                                                                                     PONTIAC         MI   48340‐1700
MS FLORENCE K KLEIN             37207 ECORSE RD                                                                                        ROMULUS         MI   48174‐1351
MS FLORENCE M CUNNINGHAM JOHN   1 BRADLEY CIR                                                                                          MIDDLETOWN      DE   19709‐7943
EDWA
MS FLORENCE M STEGALL           9707 HARBOUR COVE CT                                                                                   YPSILANTI       MI   48197‐6902
MS FLORENCE V GERARDO           3096 ROOSEVELT ST                                                                                      DETROIT         MI   48216‐1020
MS FLORICE ORTIZ                554 HOLLIS ST                                                                                          FRAMINGHAM      MA   01702‐8624
MS FLOSSIE M BLANTON            1701 W 13TH ST                                                                                         MUNCIE          IN   47302‐2176
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Name                              Address1                         Address2            Address3         Address4         City            State Zip
MS FLOY N NOBLE                   11370 GABRIELLA DR                                                                     CLEVELAND        OH 44130‐1335
MS FONDA L WILLIAMS               765 STIRLING ST                                                                        PONTIAC          MI 48340‐3164
MS FRANCES A BRYANT               804 PALMER DR                                                                          PONTIAC          MI 48342‐1858
MS FRANCES C FLYNN                1703 L ST                                                                              BEDFORD          IN 47421‐4238
MS FRANCES C PELCIN               10940 RIVEREDGE DR                                                                     CLEVELAND        OH 44130‐1251
MS FRANCES D BLACKSON             103 W KEYSTONE AVE                                                                     WILMINGTON       DE 19804‐2029
MS FRANCES E FRANCIS              918 BON AIR RD                                                                         LANSING          MI 48917‐2369
MS FRANCES E NIEDFELDT            1320 W BURBANK AVE                                                                     JANESVILLE       WI 53546‐6102
MS FRANCES H CHAPMAN              749 E FOX HILLS DR                                                                     BLOOMFIELD       MI 48304‐1343
MS FRANCES HAMMEL                 2230 E JUDD RD                                                                         BURTON           MI 48529‐2407
MS FRANCES J ROLLINS              5034 MAYS AVE                                                                          MORAINE          OH 45439‐2931
MS FRANCES L OVERBAY              1403 W 10TH ST                                                                         MUNCIE           IN 47302‐2168
MS FRANCES LEATHERMAN             1315 F ST                                                                              BEDFORD          IN 47421‐3313
MS FRANCES P JOHNSON              45 KAREN CT                                                                            PONTIAC          MI 48340‐1636
MS FRANCES S PFAFF                4026 WOODROW AVE                                                                       BURTON           MI 48509‐1012
MS FRANCES T MAJOR                6 LYNBROOK RD                                                                          WILMINGTON       DE 19804‐2620
MS FRANCHESKA CRONZALEZ           2127 SCOTTEN ST                                                                        DETROIT          MI 48209‐1666
MS FRANCYNE DENHAM                20 EUCLID AVE                                                                          PONTIAC          MI 48342‐1110
MS FRANKIE M GREEN                1007 UNIVERSITY DR                                                                     PONTIAC          MI 48342‐1869
MS FREDDIE S SLOCUM               917 DRYER FARM RD                                                                      LANSING          MI 48917‐2389
MS FREDERICA F MUNSON             370 W HOPKINS AVE APT 205                                                              PONTIAC          MI 48340‐1761
MS FREEDA M WESCOTT               50 BLAINE AVE                                                                          PONTIAC          MI 48342‐1100
MS GABBY E BECERRIL               3512 LOVETT ST                                                                         DETROIT          MI 48210‐3139
MS GAIL A BISHOP                  1721 N COURTLAND AVE                                                                   KOKOMO           IN 46901‐2138
MS GAIL A WAGONER                 1524 14TH ST                                                                           BEDFORD          IN 47421‐3631
MS GAIL E REYNOLDS                420 N LAWRENCE ST                                                                      BEDFORD          IN 47421‐1557
MS GAIL J VANETTEN                1420 PROPER AVE                                                                        BURTON           MI 48529‐2044
MS GAIL JOYCE                     1184 AMOS ST                                                                           PONTIAC          MI 48342‐1802
MS GAIL L KIRCHOFF                166 W TENNYSON AVE                                                                     PONTIAC          MI 48340‐2672
MS GAIL L WADE                    444 FOX HILLS DR N APT 4                                                               BLOOMFIELD       MI 48304‐1329
MS GAIL M GRANDERSON              213 W ANN ARBOR AVE                                                                    PONTIAC          MI 48340‐1805
MS GAIL M LEWIS                   243 W FAIRMOUNT AVE                                                                    PONTIAC          MI 48340‐2741
MS GAIL M LONGDO                  2816 RISLEY DR                                                                         LANSING          MI 48917‐2364
MS GAIL ZAREMBA                   2148 E JUDD RD                                                                         BURTON           MI 48529‐2405
MS GAIZELLIS J HUNT               517 FOX HILLS DR N                                                                     BLOOMFIELD       MI 48304‐1311
MS GALE B HUDDLESTON              1305 K ST APT 106                                                                      BEDFORD          IN 47421‐3241
MS GALE B WORKMAN                 901 W 5TH ST                                                                           MUNCIE           IN 47302‐2242
MS GARMARYI L COCHRAN             2199 LANSING ST APT 204                                                                DETROIT          MI 48209‐2098
MS GAYE L COPELAND                1125 14TH ST                                                                           BEDFORD          IN 47421‐3212
MS GAYLA R BOWEN                  11626 TEMPERANCE ST                                                                    MOUNT MORRIS     MI 48458‐2039
MS GAYLA SHORE                    75 SUMMIT ST                                                                           PONTIAC          MI 48342‐1163
MS GAYLE I REED                   672 HELEN ST                                                                           MOUNT MORRIS     MI 48458‐1925
MS GAYLE J ENGLAND                777 W GRAND BLVD                                                                       DETROIT          MI 48216‐1056
MS GAYLE J ENGLAND                810 W GRAND BLVD                                                                       DETROIT          MI 48216‐1003
MS GAYLE L BRENT                  10809 WALL ST                                                                          FREDERICKSBRG    VA 22408‐2068
MS GEISHA L BRECKENRIDGE          1194 AMOS ST                                                                           PONTIAC          MI 48342‐1802
MS GENA M JOHNSON                 507 FOX HILLS DR N                                                                     BLOOMFIELD       MI 48304‐1311
MS GENA R DEMPSEY                 20 READ AVE                                                                            WILMINGTON       DE 19804‐2034
MS GENE MARSALL & LUKE MARSHALL
MS GENELLA K GWINN                2060 E BOATFIELD AVE                                                                   BURTON          MI 48529‐1712
MS GENESIS C JOHNSON              5900 BRIDGE RD APT 401                                                                 YPSILANTI       MI 48197‐7010
MS GENEVA F FRITZ                 1110 W 14TH ST                                                                         MUNCIE          IN 47302‐3059
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Name                        Address1                            Address2                          Address3   Address4              City              State Zip
MS GENEVIA H TAYLOR         562 E WITHERBEE ST                                                                                     FLINT              MI 48505‐4703
MS GENEVIEVE A WEVER        426 N ST                                                                                               BEDFORD            IN 47421‐2120
MS GENEVIEVE A ZIELINSKI    3424 LOCKWOOD ST                                                                                       DETROIT            MI 48210‐3213
MS GENEVIEVE KOTLARZ        4652 PLUMER ST                                                                                         DETROIT            MI 48209‐1357
MS GENOLA DAWSON            263 W COLUMBIA AVE                                                                                     PONTIAC            MI 48340‐1815
MS GEORGIA A SPARKS         232 W PRINCETON AVE                                                                                    PONTIAC            MI 48340‐1844
MS GEORGIA B BROWN          3014 TIMBER DR                                                                                         LANSING            MI 48917‐2383
MS GEORGIA L COMPTON        648 E FOX HILLS DR                                                                                     BLOOMFIELD         MI 48304‐1345
MS GEORGIA L COX            1431 E MCLEAN AVE                                                                                      BURTON             MI 48529‐1611
MS GEORGIA M TIPOLT         1131 HERRINGTON LN                                                                                     PONTIAC            MI 48342‐1837
MS GEORGIANN SHAY           1104 W 15TH ST                                                                                         MUNCIE             IN 47302‐3068
MS GEORGINA HALL            3086 24TH ST                                                                                           DETROIT            MI 48216‐1033
MS GEORGINA SCOTT           556 PAGE ST                                                                                            FLINT              MI 48505‐4728
MS GERALDINE A PALMENTERA   11491 SHARON DR APT C708                                                                               PARMA              OH 44130‐8704
MS GERALDINE CARR           9934 GERALDINE ST                                                                                      YPSILANTI          MI 48197‐6930
MS GERALDINE DOUGLAS        1812 S ELLIOTT ST                                                                                      MUNCIE             IN 47302‐3030
MS GERALDINE F JONES        403 CENTRAL AVE                                                                                        WILMINGTON         DE 19805‐2489
MS GERALDINE FINEGOLD       5402 CAROL RUN W                                                                                       WEST BLOOMFIELD    MI 48322‐2111
MS GERALDINE H GLASFORD     9 LAUREL AVE APT 701                                                                                   MASSENA            NY 13662‐2058
MS GERALDINE J SYRO         11151 SHARON DR                                                                                        PARMA              OH 44130‐1434
MS GERALDINE KROMM          11885 HALLER ST                                                                                        LIVONIA            MI 48150‐2375
MS GERALDINE L MONTGOMERY   2203 CENTER AVE                                                                                        JANESVILLE         WI 53546‐9013
MS GERALDINE M WILSON       17 PARKER AVE APT 1                                                                                    MASSENA            NY 13662‐4265
MS GERALDINE N CASTLE       3842 WHITTIER AVE                                                                                      FLINT              MI 48506‐3161
MS GERALDINE R SUELL        3334 LOCKWOOD ST                                                                                       DETROIT            MI 48210‐3255
MS GERLDINE JOHNSON         49 KAREN CT                                                                                            PONTIAC            MI 48340‐1636
MS GERMAINE L LANEHART      56 LEANEE LN                                                                                           PONTIAC            MI 48340‐1650
MS GERRI L WHITESIDE        143 CHERRY HILL DR                                                                                     PONTIAC            MI 48340‐1609
MS GERRILYN L PERRY         19 RANSOM AVE                                                                                          MASSENA            NY 13662‐1740
MS GERTRUDE B BUTLER        1289 E HUMPHREY AVE                                                                                    FLINT              MI 48505‐1760
MS GERTRUDE L PETERSON      2235 E BERGIN AVE                                                                                      BURTON             MI 48529‐1780
MS GETRUDYS M LOPEZ         65 BATES RD                                                                                            FRAMINGHAM         MA 01702‐8740
MS GIANINE W GIFFORD        1517 KING ST                                                                                           JANESVILLE         WI 53546‐6027
MS GILDA A JOHNSTON         11808 MIDDLEBELT RD                                                                                    LIVONIA            MI 48150‐2311
MS GILDA CRUZ               236 W LONGFELLOW AVE                                                                                   PONTIAC            MI 48340‐1834
MS GINA A FORBES            4320 FARMCREST ST                                                                                      BURTON             MI 48509‐1106
MS GINA BRANCHEAU           2154 WEBBER AVE                                                                                        BURTON             MI 48529‐2414
MS GINA L ORTEGA            161 W BEVERLY AVE                                                                                      PONTIAC            MI 48340‐2621
MS GINA L PALADINO          667 INGLEWOOD AVE                                                                                      PONTIAC            MI 48340‐2310
MS GINA L PRIDEMORE         103 MADISON ST                                                                                         BEDFORD            IN 47421‐1825
MS GINA M BONNICI           6215 LAKE DR                                                                                           YPSILANTI          MI 48197‐7053
MS GINA M DANKO             3738 MARMION AVE                                                                                       FLINT              MI 48506‐4218
MS GINA M GIBSON            6215 LAKE DR                                                                                           YPSILANTI          MI 48197‐7053
MS GINA M GOMEZ             45 W STRATHMORE AVE                                                                                    PONTIAC            MI 48340‐2771
MS GINA M KEARNS            22 WALNUT AVE                                                                                          MASSENA            NY 13662‐2023
MS GINA R BROWN             1708 BRISTOL COURT DR                                                                                  MOUNT MORRIS       MI 48458‐2185
MS GINGER M ERNST           1324 WALNUT ST                                                                                         BEDFORD            IN 47421‐1834
MS GINI L ICE               1820 W 6TH ST                                                                                          MUNCIE             IN 47302‐2187
MS GIUSEPPE DALE'           C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO 290   NOLA       80035 NAPLES ITALY

MS GLADYS CASPER            145 CHERRY HILL DR                                                                                     PONTIAC           MI 48340‐1609
MS GLADYS D CLARKE          3603 29TH ST                                                                                           DETROIT           MI 48210‐3107
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MS GLADYS E KAYHS        2131 S PALM ST                                                                       JANESVILLE       WI 53546‐6116
MS GLADYS E YOUNG        805 MORRIS AVE                                                                       LANSING          MI 48917‐2326
MS GLADYS L SOURS        1909 W 10TH ST                                                                       MUNCIE           IN 47302‐2146
MS GLADYS M COLE         1600 W 14TH ST                                                                       MUNCIE           IN 47302‐2976
MS GLADYS M DENNIE       1809 W 7TH ST                                                                        MUNCIE           IN 47302‐2192
MS GLADYS M FAGAN        11214 MANSFIELD CLUB DR                                                              FREDERICKSBRG    VA 22408‐2046
MS GLADYS V HARPER       123 RILEY BLVD                                                                       BEDFORD          IN 47421‐9645
MS GLADYS WILLIAMS       223 N CATHERINE ST                                                                   LANSING          MI 48917‐4903
MS GLADYS WILLIAMS       228 N CATHERINE ST                                                                   LANSING          MI 48917‐4902
MS GLENDA F BOWLING      808 W 15TH ST                                                                        MUNCIE           IN 47302‐3062
MS GLENDA F JACKSON      517 BELMONT DR                                                                       YPSILANTI        MI 48198‐8470
MS GLENDA HART           2078 JAMES ST                                                                        BURTON           MI 48529‐1348
MS GLENDA J WELLMAN      126 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1650
MS GLENDA JARVIS         824 17TH ST APT A                                                                    BEDFORD          IN 47421‐4250
MS GLENDA M MCLEOD       618 KETTERING AVE                                                                    PONTIAC          MI 48340‐3267
MS GLENDA R DARDEN       400 W HOPKINS AVE APT 209                                                            PONTIAC          MI 48340‐1773
MS GLENDA ROVIRA         237 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1805
MS GLENDA S COX          2114 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐5811
MS GLENIA L DRENKHAHN    263 W ANN ARBOR AVE                                                                  PONTIAC          MI 48340‐1805
MS GLORIA A COLE         451 MOONLIGHT DR                                                                     PONTIAC          MI 48340‐1672
MS GLORIA A PASCAL       1517 VANDERBILT DR                                                                   FLINT            MI 48503‐5246
MS GLORIA A TEARMAN      2032 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6157
MS GLORIA BERRY          8 GROVE ST                                                                           MASSENA          NY 13662‐2031
MS GLORIA CARTIN         7 GRASSMERE AVE                                                                      MASSENA          NY 13662‐2039
MS GLORIA CHACON         423 HOLLIS ST                                                                        FRAMINGHAM       MA 01702‐8646
MS GLORIA D SIMMONS      1506 TULANE CIR                                                                      FLINT            MI 48503‐5251
MS GLORIA D SMITH        416 FOX HILLS DR S APT 6                                                             BLOOMFIELD       MI 48304‐1347
MS GLORIA DYER           664 NEWMAN LN                                                                        PONTIAC          MI 48340‐3300
MS GLORIA E GOMEZ        787 EMIRY ST                                                                         PONTIAC          MI 48340‐2423
MS GLORIA J CARTER       1015 WESTFIELD RD                                                                    LANSING          MI 48917‐2374
MS GLORIA J GUYTON       133 CHARLES LN                                                                       PONTIAC          MI 48341‐2928
MS GLORIA J MONTGOMERY   416 FOX HILLS DR S APT 1                                                             BLOOMFIELD       MI 48304‐1347
MS GLORIA J PERRY        1 GRASSMERE TER APT 30                                                               MASSENA          NY 13662‐2164
MS GLORIA J ROBILLARD    15 ALVERN AVE                                                                        MASSENA          NY 13662‐2148
MS GLORIA J ROGERS       1105 EASTFIELD RD                                                                    LANSING          MI 48917‐2347
MS GLORIA J ROOT         413 N ROSEMARY ST APT 3                                                              LANSING          MI 48917‐2982
MS GLORIA J SMITHBACK    2124 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6115
MS GLORIA J STRADER      186 E ORVIS ST APT 1                                                                 MASSENA          NY 13662‐2281
MS GLORIA J SULLIVAN     720 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1361
MS GLORIA J WILSON       721 COLUMBIA DR                                                                      FLINT            MI 48503‐5207
MS GLORIA J WITOWSKI     10779 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1373
MS GLORIA M CLARK        4619 TOLEDO ST                                                                       DETROIT          MI 48209‐1370
MS GLORIA M LAUX         420 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1939
MS GLORIA M SUITER       821 CAROLINE ST                                                                      JANESVILLE       WI 53545‐1660
MS GLORIA R CLARK        4445 TOLEDO ST                                                                       DETROIT          MI 48209‐1368
MS GLORIA S PRICE        579 LANCASTER LN                                                                     PONTIAC          MI 48342‐1852
MS GLORY L BOUIE         659 PALMER DR                                                                        PONTIAC          MI 48342‐1856
MS GOLDA P THOMPSON      4 LYNBROOK RD                                                                        WILMINGTON       DE 19804‐2620
MS GOLDIE I SKINNER      137 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1811
MS GOLDIE M JONES        1055 E HARVARD AVE                                                                   FLINT            MI 48505‐1507
MS GOLDIE P MYERS        195 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2739
MS GRACE CONIGLIARO      806 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2608
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MS GRACE E HESTER           334 W YALE AVE                                                                       PONTIAC          MI 48340‐1753
MS GRACE H PATTERSON        1040 LUCHARLES AVE                                                                   MOUNT MORRIS     MI 48458‐2125
MS GRACE M WALTERS          2021 PROPER AVE                                                                      BURTON           MI 48529‐2047
MS GRACE O DAVIS            714 GARNET RD                                                                        WILMINGTON       DE 19804‐2614
MS GRACE PETRONE            9 FLORENCE DR                                                                        CLARK            NJ 07066‐1210
MS GRACE SIPFLE             269 HIGHLAND AVE                                                                     BLOOMFIELD       MI 48302‐0632
MS GRACIE DAVIS             75 HUDSON AVE                                                                        PONTIAC          MI 48342‐1244
MS GUADALUPE M HERNANDEZ    607 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MS GWENDA L BARTLETT        2992 25TH ST                                                                         DETROIT          MI 48216‐1002
MS GWENDOLYN BROWN          11 APPLE LN                                                                          PONTIAC          MI 48340‐1600
MS GWENDOLYN D WASHINGTON   833 BAY ST                                                                           PONTIAC          MI 48342‐1903
MS GWENDOLYN L BULTMAN      1520 15TH ST                                                                         BEDFORD          IN 47421‐3602
MS GWENDOLYN L ROBINSON     360 W HOPKINS AVE APT 205                                                            PONTIAC          MI 48340‐1757
MS GWENDOLYN P YOGI         1401 BRADY AVE                                                                       BURTON           MI 48529‐2009
MS GWENDOLYN SEABERRY       757 NEWMAN LN                                                                        PONTIAC          MI 48340‐3306
MS GWENDOLYN SMITH          795 CAMERON AVE                                                                      PONTIAC          MI 48340‐3207
MS GWINDA D MCDOWELL        483 W COLUMBIA AVE APT 114                                                           PONTIAC          MI 48340‐1644
MS HA T LAM                 443 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1621
MS HALI E HYNDS             3514 LEWIS ST                                                                        FLINT            MI 48506‐2744
MS HANESHA R MCCLELLAN      661 PALMER DR                                                                        PONTIAC          MI 48342‐1856
MS HANH H HUA               544 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1602
MS HANH T NGUYEN            1239 AMOS ST                                                                         PONTIAC          MI 48342‐1805
MS HANNAH L GROSS           2163 E MCLEAN AVE                                                                    BURTON           MI 48529‐1739
MS HANNAH L TITUS           2961 25TH ST                                                                         DETROIT          MI 48216‐1001
MS HANNAH M SIMA            432 HOLLIS ST                                                                        FRAMINGHAM       MA 01702‐8623
MS HARRIET A BURACK         10859 BOCA WOODS LN                                                                  BOCA RATON       FL 33428
MS HARRIET K SHARLOW        204 E CENTER ST                                                                      BEREA            OH 44017‐2105
MS HARRIETT M LEE           422 G ST                                                                             BEDFORD          IN 47421‐2219
MS HASANA N ABDULLAH        5900 BRIDGE RD APT 405                                                               YPSILANTI        MI 48197‐7011
MS HATTIE JOHNSON           1300 NE OAK ST APT 7104                                                              ARCADIA          FL 34266‐5790
MS HAZEL A KNISELY          843 SARASOTA AVE                                                                     PONTIAC          MI 48340‐2369
MS HAZEL D WATSON           11825 HARTEL ST                                                                      LIVONIA          MI 48150‐5324
MS HAZEL G RAISLER          1925 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐6047
MS HAZEL GERKINS            1018 O ST                                                                            BEDFORD          IN 47421‐2814
MS HAZEL L JOHNSON          812 13TH ST                                                                          BEDFORD          IN 47421‐3302
MS HAZEL M GERKIN           1115 SUMMIT LN                                                                       BEDFORD          IN 47421‐2549
MS HAZEL P NORMAN           1019 N ST                                                                            BEDFORD          IN 47421‐2932
MS HAZEL SPEECE             5400 N FOX RUN LN                                                                    MUNCIE           IN 47304‐5903
MS HC LLC                   PO BOX 1049                                                                          COCKEYSVILLE     MD 21030‐6048
MS HC LLC                   PO BOX 1048                                                                          COCKEYSVILLE     MD 21030‐6048
MS HEATHER A GODDARD        11321 CHURCH ST                                                                      MOUNT MORRIS     MI 48458‐2201
MS HEATHER A WENTZ          11470 SHARON DR APT D101                                                             PARMA            OH 44130‐1445
MS HEATHER BELL             1105 KELLOGG AVE TRLR K5                                                             JANESVILLE       WI 53546‐6081
MS HEATHER D BRADLEY        500 HOLLIS ST                                                                        FRAMINGHAM       MA 01702‐8645
MS HEATHER D CONDIFF        1526 3RD ST                                                                          BEDFORD          IN 47421‐1720
MS HEATHER D FERGUSON       9959 JULIE DR                                                                        YPSILANTI        MI 48197‐8286
MS HEATHER D GRIGSBY        9011 MCALISTER CT                                                                    FREDERICKSBRG    VA 22408‐1747
MS HEATHER D WEBSTER        409 MOUNT PLEASANT RD                                                                BEDFORD          IN 47421‐9623
MS HEATHER E CLARKSON       3415 UPTON RD                                                                        LANSING          MI 48917‐2261
MS HEATHER E WITHERELL      28985 GLENARDEN ST                                                                   FARMINGTON       MI 48334‐2706
MS HEATHER GIFFORD          1918 J ST APT 3                                                                      BEDFORD          IN 47421‐4279
MS HEATHER J GILSON         705 WOODSEDGE RD                                                                     WILMINGTON       DE 19804‐2625
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Name                       Address1                       Address2            Address3         Address4         City         State Zip
MS HEATHER KRAMER          522 CAMERON AVE                                                                      PONTIAC       MI 48342‐1813
MS HEATHER L MENDOZA       122 W STRATHMORE AVE                                                                 PONTIAC       MI 48340‐2774
MS HEATHER L VIEAU         4224 WOODROW AVE                                                                     BURTON        MI 48509‐1054
MS HEATHER L WEATHERFORD   1487 CONNELL ST                                                                      BURTON        MI 48529‐2204
MS HEATHER M ALBAUGH       1501 N LAFOUNTAIN ST                                                                 KOKOMO        IN 46901‐2325
MS HEATHER M BRITT         1799 N LABADIE                                                                       MILFORD       MI 48380‐4236
MS HEATHER M DOE           29 PROSPECT AVE                                                                      MASSENA       NY 13662‐1748
MS HEATHER M FELSKE        825 ORLANDO AVE                                                                      PONTIAC       MI 48340‐2356
MS HEATHER M HERRINGTON    236 W YALE AVE                                                                       PONTIAC       MI 48340‐1866
MS HEATHER M PARKINS       616 W BUTLER ST                                                                      KOKOMO        IN 46901‐2165
MS HEATHER M RUPP          2044 JAMES ST                                                                        BURTON        MI 48529‐1348
MS HEATHER MARTIN          1516 S GHARKEY ST                                                                    MUNCIE        IN 47302‐3164
MS HEATHER MEADORS         1508 W 8TH ST                                                                        MUNCIE        IN 47302‐2113
MS HEATHER PAYTON          1020 17TH ST                                                                         BEDFORD       IN 47421‐4208
MS HEDWIG L ELLIOTT        422 FOX HILLS DR N APT 3                                                             BLOOMFIELD    MI 48304‐1325
MS HEIDI GRACE             2223 S ORCHARD ST                                                                    JANESVILLE    WI 53546‐5985
MS HEIDI J ABNER           601 15TH ST                                                                          BEDFORD       IN 47421‐3805
MS HEIDI MORGAN            1518 W 9TH ST                                                                        MUNCIE        IN 47302‐2119
MS HEIDI R CULLEN          9869 JOAN CIR                                                                        YPSILANTI     MI 48197‐8296
MS HEIDI ROSSITER          2212 S WALNUT ST                                                                     JANESVILLE    WI 53546‐6162
MS HELEN A LACKEY          2113 E SCOTTWOOD AVE                                                                 BURTON        MI 48529‐1751
MS HELEN A NAVARRO         385 W COLUMBIA AVE                                                                   PONTIAC       MI 48340‐1619
MS HELEN ANDREWS           11800 BROOKPARK RD TRLR C23                                                          CLEVELAND     OH 44130‐1184
MS HELEN B ADAMI           752 E FOX HILLS DR                                                                   BLOOMFIELD    MI 48304‐1306
MS HELEN B SUBACH          9 READ AVE                                                                           WILMINGTON    DE 19804‐2033
MS HELEN BURKE             4724 BRANDON ST                                                                      DETROIT       MI 48209‐1300
MS HELEN D REYNOLDS        1305 K ST APT 334                                                                    BEDFORD       IN 47421‐3243
MS HELEN D SIMPSON         4 COPA LN                                                                            WILMINGTON    DE 19804‐2050
MS HELEN G HERGATT         2640 W 4TH ST                                                                        ONTARIO       OH 44906‐1211
MS HELEN GODSEY            1507 4TH ST                                                                          BEDFORD       IN 47421‐1723
MS HELEN HENKLE            10 AARON ST                                                                          FRAMINGHAM    MA 01702‐8747
MS HELEN L BEST            516 E MORGAN ST                                                                      KOKOMO        IN 46901‐2356
MS HELEN L DANKO           3739 MARMION AVE                                                                     FLINT         MI 48506‐4217
MS HELEN L DYE             2395 FERGUSON RD                                                                     ONTARIO       OH 44906‐1149
MS HELEN L MEADER          4220 RISEDORPH ST                                                                    BURTON        MI 48509‐1044
MS HELEN L MURRAY          529 BRYNFORD AVE                                                                     LANSING       MI 48917‐2927
MS HELEN M ARNO            1 GRASSMERE TER APT 42                                                               MASSENA       NY 13662‐2165
MS HELEN M CLINE           851 SARASOTA AVE                                                                     PONTIAC       MI 48340‐2369
MS HELEN M COATS           51 LEANEE LN                                                                         PONTIAC       MI 48340‐1651
MS HELEN M HELTON          334 W HOPKINS AVE                                                                    PONTIAC       MI 48340‐1718
MS HELEN M SEYBERT         1 APPLE LN                                                                           PONTIAC       MI 48340‐1600
MS HELEN M SILKOWSKY       706 CORWIN AVE                                                                       PONTIAC       MI 48340‐2412
MS HELEN M VINCELLETTE     182 HIGHLAND RD RM 218‐1                                                             MASSENA       NY 13662‐3281
MS HELEN R LOPEZ           2160 PALMS ST                                                                        DETROIT       MI 48209‐1665
MS HELEN R SCHULZ          1604 KELLOGG AVE                                                                     JANESVILLE    WI 53546‐6072
MS HELEN T MELNIK          88 SUMMIT ST                                                                         PONTIAC       MI 48342‐1164
MS HELENA G ABUTINEH       2158 LANSING ST                                                                      DETROIT       MI 48209‐1673
MS HELENA L PENTECOST      46 SUMMIT ST                                                                         PONTIAC       MI 48342‐1162
MS HELENE LEVANDOVSKY      597 E FOX HILLS DR                                                                   BLOOMFIELD    MI 48304‐1303
MS HELENE M DOOLEY         515 WINDSOR ST                                                                       READING       PA 19601
MS HENRIETT GRIGSBY        125 CHARLES LN                                                                       PONTIAC       MI 48341‐2928
MS HENRIETTA JONES         548 CAMERON AVE                                                                      PONTIAC       MI 48342‐1814
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Name                          Address1                       Address2            Address3         Address4         City           State Zip
MS HERMA M HACKNEY            205 RILEY BLVD                                                                       BEDFORD         IN 47421‐9646
MS HERMELINDA SANCHEZ         4753 BRANDON ST                                                                      DETROIT         MI 48209‐1392
MS HERSHEY MEDICAL C          PO BOX 856                                                                           HERSHEY         PA 17033‐0856
MS HILDA HICKS                974 EMERSON AVE                                                                      PONTIAC         MI 48340‐3229
MS HOA B THIEU                424 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐1620
MS HODA M ASKAR               11451 SHARON DR APT C810                                                             CLEVELAND       OH 44130‐8702
MS HOLLIE G YARBROUGH‐WHITE   648 PALMER DR                                                                        PONTIAC         MI 48342‐1854
MS HOLLY A HUFFER             1623 N MORRISON ST                                                                   KOKOMO          IN 46901‐2152
MS HOLLY HAHN                 1420 W 14TH ST                                                                       MUNCIE          IN 47302‐2911
MS HOLLY J CARRO              1112 W BURBANK AVE APT 311                                                           JANESVILLE      WI 53546‐6146
MS HOLLY J GORDON             2058 JAMES ST                                                                        BURTON          MI 48529‐1348
MS HOLLY KIMBLEY              916 LINCOLN AVE                                                                      BEDFORD         IN 47421‐2538
MS HOLLY L ALVARADO           89 W HOPKINS AVE                                                                     PONTIAC         MI 48340‐1819
MS HOLLY L COOKE              3 IANS XING                                                                          BEDFORD         IN 47421‐5812
MS HOLLY L DELEEL             3 GROVE ST                                                                           MASSENA         NY 13662‐2032
MS HOLLY L WILLSON            735 KINNEY RD                                                                        PONTIAC         MI 48340‐2440
MS HOLLY LEMONDE              129 W CORNELL AVE                                                                    PONTIAC         MI 48340‐2721
MS HOLLY R TOMRELL            1026 COLLINS AVE # 1                                                                 MOUNT MORRIS    MI 48458‐2138
MS HOLLY S BELL               1466 S COLONY DR                                                                     YORKTOWN        IN 47396‐1083
MS HOLLY S WITEK              709 STANLEY AVE                                                                      PONTIAC         MI 48340‐2472
MS HOPE MURPHY                7 MAIN ST                                                                            MASSENA         NY 13662‐1914
MS HOPE STILES                1 PRATT PL APT 2                                                                     MASSENA         NY 13662‐2085
MS HYWEEDA HODGES             1186 E KURTZ AVE                                                                     FLINT           MI 48505‐1528
MS IDA C APONTE               5490 ABRAHAM AVE                                                                     CLEVELAND       OH 44130‐1317
MS IDA E CHURCHILL            1507 E WILLIAMSON ST                                                                 BURTON          MI 48529‐1627
MS IDA M ROMAN                1286 E KURTZ AVE                                                                     FLINT           MI 48505‐1765
MS IDA S KERSEY               1234 UNIVERSITY DR                                                                   PONTIAC         MI 48342‐1969
MS IJEOMA A AJIRI             400 W HOPKINS AVE APT 302                                                            PONTIAC         MI 48340‐1773
MS ILA D FINLEY               2120 N APPERSON WAY                                                                  KOKOMO          IN 46901‐1422
MS ILANA TLUSTEK              1728 O ST                                                                            BEDFORD         IN 47421‐4119
MS IMELDA ROCHA               2125 MCKINSTRY ST                                                                    DETROIT         MI 48209‐1670
MS IMOGENE L DAVID            1404 E SCHUMACHER ST                                                                 BURTON          MI 48529‐1620
MS IMOGENE M MURPHY           1017 O ST                                                                            BEDFORD         IN 47421‐2813
MS INA MURDOC                 901 W 11TH ST                                                                        MUNCIE          IN 47302‐3172
MS INA R WOODARD              2746 25TH ST                                                                         DETROIT         MI 48216‐1055
MS INGE HILLHOUSE             220 PRESTWYCK WAY N                                                                  STOCKBRIDGE     GA 30281
MS IOLA M MILLER              763 PENSACOLA AVE                                                                    PONTIAC         MI 48340‐2358
MS IRAIDA ORTIZ               808 KETTERING AVE                                                                    PONTIAC         MI 48340‐3251
MS IRAIDA ORTIZ               855 KETTERING AVE                                                                    PONTIAC         MI 48340‐3254
MS IRENE A CHMURA             11140 FAIRLAWN DR                                                                    CLEVELAND       OH 44130‐1218
MS IRENE A VOORHIES           2045 E BRISTOL RD                                                                    BURTON          MI 48529‐1318
MS IRENE B RENNPAGE           630 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1908
MS IRENE C LORENZ             177 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1843
MS IRENE F LASHOMB            9 LAUREL AVE APT 304                                                                 MASSENA         NY 13662‐2054
MS IRENE G RODRIGUEZ          332 RUSSELL ST                                                                       PONTIAC         MI 48342‐3348
MS IRENE GREEN                4695 BRANDON ST                                                                      DETROIT         MI 48209‐1396
MS IRENE L GILL               1 FOXWOOD RD                                                                         WILMINGTON      DE 19804‐2609
MS IRENE M CLARK              1591 OLD US HIGHWAY 50 E                                                             BEDFORD         IN 47421‐7362
MS IRENE M CORDOVA            1047 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1611
MS IRENE M SHASKI             2237 BRADY AVE                                                                       BURTON          MI 48529‐2428
MS IRENE N NAZAR              4363 DAVISON RD                                                                      BURTON          MI 48509‐1453
MS IRENE RODRIGUEZ            17 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1881
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Name                         Address1                       Address2            Address3         Address4              City           State Zip
MS IRENE T ROSEWELL          10921 SHARON DR                                                                           CLEVELAND       OH 44130‐1430
MS IRENE Y COBB              185 W PRINCETON AVE                                                                       PONTIAC         MI 48340‐1843
MS IRESHIA N DANIEL          726 NEWMAN LN                                                                             PONTIAC         MI 48340‐3304
MS IRIS B JAMISON            370 W HOPKINS AVE APT 105                                                                 PONTIAC         MI 48340‐1760
MS IRIS J WOOD               604 SPRING DR                                                                             BEDFORD         IN 47421‐9630
MS IRIS LEAK                 326 W PRINCETON AVE                                                                       PONTIAC         MI 48340‐1740
MS IRIS LEWELLEN             1209 N UNION ST                                                                           KOKOMO          IN 46901‐2901
MS IRIS N ALECEA             10 EUCLID AVE                                                                             PONTIAC         MI 48342‐1110
MS IRMA BOROWSKI             2736 ROOSEVELT ST                                                                         DETROIT         MI 48216‐1018
MS IRMA I GARCIA             2054 E SCHUMACHER ST                                                                      BURTON          MI 48529‐2434
MS IRMA RODRIGUEZ            2738 ROOSEVELT ST                                                                         DETROIT         MI 48216‐1018
MS IRMA T CALLES             2169 HUBBARD ST                                                                           DETROIT         MI 48209‐3329
MS ISABEL GALEANA            98 STEGMAN LN                                                                             PONTIAC         MI 48340‐1664
MS ISABEL GRAY               2827 HARWICK DR                                                                           LANSING         MI 48917‐2352
MS ISABEL M GARZA            4791 MERRITT ST # 1R                                                                      DETROIT         MI 48209‐1453
MS ISABELL M SHANKS          1315 W 1ST ST                                                                             MUNCIE          IN 47305‐2108
MS ISABELLA A MCCLEAVE       252 MAIN ST                                                                               MASSENA         NY 13662‐1901
MS ISABELLE J STOCKMAN       181 PEERLESS CHURCH RD                                                                    BEDFORD         IN 47421‐8118
MS ISLA M ARCHER             1624 N WEBSTER ST                                                                         KOKOMO          IN 46901‐2106
MS JACINDA L JONES           9947 JOAN CIR                                                                             YPSILANTI       MI 48197‐6903
MS JACKIE E QUILLEN          3421 CLEARVIEW AVE                                                                        MORAINE         OH 45439‐1111
MS JACKIE L MILLER           901 W 14TH ST                                                                             MUNCIE          IN 47302‐7613
MS JACKIE R VARNELL          1803 N APPERSON WAY                                                                       KOKOMO          IN 46901‐2378
MS JACKIE R WEST             807 EMIRY ST                                                                              PONTIAC         MI 48340‐2425
MS JACKLYN SABATIER          202 HILLCREST WAY                                                                         BEDFORD         IN 47421‐5808
MS JACKLYNN SMITH            81 EUCLID AVE                                                                             PONTIAC         MI 48342‐1114
MS JACKQUELINE P HUMPHREY    81 KAREN CT                                                                               PONTIAC         MI 48340‐1638
MS JACQUELIN A LEGGUE        32 ROCKAWAY ST                                                                            MASSENA         NY 13662‐2107
MS JACQUELINE A AMBORY       527 FOX HILLS DR N                                                                        BLOOMFIELD      MI 48304‐1311
MS JACQUELINE A CHILDERS     1407 M ST                                                                                 BEDFORD         IN 47421‐3236
MS JACQUELINE A KESTER       840 BLAINE AVE                                                                            PONTIAC         MI 48340‐2408
MS JACQUELINE A KESTER       726 LIVINGSTON AVE                                                                        PONTIAC         MI 48340‐2445
MS JACQUELINE BUNT           551 WATERLOO STREET                                                 LONDON, ONTARIO N6B
                                                                                                 2R1 CANADA
MS JACQUELINE CONYERS        1716 N LAFOUNTAIN ST                                                                      KOKOMO         IN   46901‐2324
MS JACQUELINE D HOUSTON      1715 BRISTOL COURT DR                                                                     MOUNT MORRIS   MI   48458‐2185
MS JACQUELINE E PEAKS        687 E FOX HILLS DR                                                                        BLOOMFIELD     MI   48304‐1342
MS JACQUELINE E SKINNER      806 PENSACOLA AVE                                                                         PONTIAC        MI   48340‐2361
MS JACQUELINE E THOMAS       259 W CORNELL AVE                                                                         PONTIAC        MI   48340‐2725
MS JACQUELINE HAMRICK        2341 CLARK ST                                                                             DETROIT        MI   48209‐1335
MS JACQUELINE L ARNOLD       11329 CHURCH ST                                                                           MOUNT MORRIS   MI   48458‐2201
MS JACQUELINE L MOSLEY       36 LEANEE LN                                                                              PONTIAC        MI   48340‐1650
MS JACQUELINE M BOONE        2001 N CENTER RD APT 220                                                                  FLINT          MI   48506‐3182
MS JACQUELINE M CURRY        7 SALLEE LN                                                                               PONTIAC        MI   48340‐1656
MS JACQUELINE M LEON         3271 BLOOMFIELD LN APT 609                                                                AUBURN HILLS   MI   48326‐3661
MS JACQUELINE M MCWILLIAMS   455 MOONLIGHT DR                                                                          PONTIAC        MI   48340‐1672
MS JACQUELINE M POOLE        5900 BRIDGE RD APT 201                                                                    YPSILANTI      MI   48197‐7011
MS JACQUELINE M VAUGHN       1133 STANLEY AVE                                                                          PONTIAC        MI   48340‐1780
MS JACQUELINE MOONEY         836 LINCOLN AVE                                                                           BEDFORD        IN   47421‐2150
MS JACQUELINE R BROOKS       646 E FOX HILLS DR                                                                        BLOOMFIELD     MI   48304‐1345
MS JACQUELINE R LUZZI        3116 COURT ST APT 17                                                                      SYRACUSE       NY   13206‐1059
MS JACQUELINE SKINNER        780 MAE CT                                                                                PONTIAC        MI   48340‐2454
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Name                           Address1                        Address2               Address3      Address4         City            State Zip
MS JACQUELINE STURGESS         STURGIS                         152 S EDITH ST # 152                                  PONTIAC          MI 48342‐3262
MS JACQUELINE TAYLOR           410 W HOPKINS AVE APT 208                                                             PONTIAC          MI 48340‐1777
MS JACQUELINE V EVANS          905 W 5TH ST                                                                          MUNCIE           IN 47302‐2242
MS JACQUELYN A SPENCER         1036 BOXWOOD RD                                                                       WILMINGTON       DE 19804‐2002
MS JACQUETTA‐LYNET A DELONEY   1703 BRISTOL COURT DR                                                                 MOUNT MORRIS     MI 48458‐2185
MS JACQUIE L RUDOLPH           5511 ALEXANDER RD                                                                     CLEVELAND        OH 44130‐1323
MS JALEESA C COOPER            117 W HOPKINS AVE                                                                     PONTIAC          MI 48340‐1821
MS JALENA M HOLLOWAY           220 PIONEER DR                                                                        PONTIAC          MI 48341‐1849
MS JALICIA K MOSLEY            1180 AMOS ST                                                                          PONTIAC          MI 48342‐1802
MS JAMELIA E BULLOCK           683 NEWMAN LN                                                                         PONTIAC          MI 48340‐3302
MS JAMELLE E SCHLYTTER         4295 FARMCREST ST                                                                     BURTON           MI 48509‐1105
MS JAMIE A PELKA               51327 SYLVIA DR                                                                       BELLEVILLE       MI 48111‐5029
MS JAMIE L CURTIS              5900 BRIDGE RD APT 303                                                                YPSILANTI        MI 48197‐7011
MS JAMIE L EDWARDS             1301 S ROCHESTER AVE APT B                                                            MUNCIE           IN 47302‐6633
MS JAMIE L GORE                651 SUGAR HILL ADDITION                                                               BEDFORD          IN 47421‐8143
MS JAMIE L KEHRES              11301 RIVEREDGE DR                                                                    PARMA            OH 44130‐1260
MS JAMIE L MILLER              848 ORLANDO AVE                                                                       PONTIAC          MI 48340‐2355
MS JAMIE L ROBINSON            6215 LAKE DR                                                                          YPSILANTI        MI 48197‐7053
MS JAMIE LEMUS                 765 CORWIN CT                                                                         PONTIAC          MI 48340‐2415
MS JAMIE M DENT                54 LEANEE LN                                                                          PONTIAC          MI 48340‐1650
MS JAMIE M MCPHERSON           2111 WEBBER AVE                                                                       BURTON           MI 48529‐2413
MS JAN E HEFTY                 2124 S PALM ST                                                                        JANESVILLE       WI 53546‐6117
MS JAN E OWENS                 244 THE WOODS                                                                         BEDFORD          IN 47421‐9376
MS JAN K RANDOLPH              9695 BAYVIEW DR APT 117                                                               YPSILANTI        MI 48197‐7025
MS JANA L GREEN                1300 S MOUND ST                                                                       MUNCIE           IN 47302‐2224
MS JANE A GANNAWAY             438 BON AIR RD                                                                        LANSING          MI 48917‐2981
MS JANE A GANNAWAY             432 BON AIR RD                                                                        LANSING          MI 48917‐2981
MS JANE C COVEY                1712 12TH ST                                                                          BEDFORD          IN 47421‐3106
MS JANE E SYKES                625 14TH ST                                                                           BEDFORD          IN 47421‐3309
MS JANE J JORDAN               1920 W 8TH ST                                                                         MUNCIE           IN 47302‐2183
MS JANE M CLARK                1216 KING ST                                                                          JANESVILLE       WI 53546‐6026
MS JANE M FALKOWSKI            4 LYNAM PL                                                                            WILMINGTON       DE 19804‐2032
MS JANE M LAGENOUR             1623 L ST APT C                                                                       BEDFORD          IN 47421‐3754
MS JANE M TYO                  42 NIGHTENGALE AVE                                                                    MASSENA          NY 13662‐1715
MS JANE UMANA                  11012 COREYS WAY                                                                      FREDERICKSBRG    VA 22408‐2074
MS JANE WILLIAMS               1819 N INDIANA AVE                                                                    KOKOMO           IN 46901‐2039
MS JANEEN N RABIDEAU           109 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2759
MS JANEL J VANACKER            1210 ANTHONY AVE APT 7                                                                JANESVILLE       WI 53546‐6060
MS JANELIS COLON               816 KETTERING AVE                                                                     PONTIAC          MI 48340‐3251
MS JANELL C HEARNS             703 E FOX HILLS DR                                                                    BLOOMFIELD       MI 48304‐1342
MS JANELL DAVIDSON             916 MAPLE ST                                                                          MOUNT MORRIS     MI 48458‐2208
MS JANELL L DAVIDSON           646 BEACH ST                                                                          MOUNT MORRIS     MI 48458‐1908
MS JANENE L GRACE              1127 BOYNTON DR                                                                       LANSING          MI 48917‐5706
MS JANET A WATSON              542 FOX HILLS DR S                                                                    BLOOMFIELD       MI 48304‐1316
MS JANET ATKINS                1412 W MEMORIAL DR                                                                    MUNCIE           IN 47302‐2173
MS JANET C JONES               681 MAPLE ST                                                                          MOUNT MORRIS     MI 48458‐1926
MS JANET C SPARROW             483 TALLAHASSEE AVE                                                                   PONTIAC          MI 48340‐2371
MS JANET COOPER                1305 K ST APT 213                                                                     BEDFORD          IN 47421‐3241
MS JANET E FREW                2127 N MAIN ST                                                                        KOKOMO           IN 46901‐5827
MS JANET E HALSTED             712 E FOX HILLS DR                                                                    BLOOMFIELD       MI 48304‐1360
MS JANET E NIX                 9907 JULIE DR                                                                         YPSILANTI        MI 48197‐7095
MS JANET E PORTER              9907 JULIE DR                                                                         YPSILANTI        MI 48197‐7095
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Name                     Address1                        Address2            Address3         Address4         City           State Zip
MS JANET E SPLINTER      1515 ARBUTUS ST                                                                       JANESVILLE      WI 53546‐6141
MS JANET G HOWELL        1545 J ST                                                                             BEDFORD         IN 47421‐3839
MS JANET K MGREW         1238 DAVISON RD                                                                       FLINT           MI 48506‐3247
MS JANET K PHILLIPS      20665 TELEGRAPH RD TRLR 155                                                           TRENTON         MI 48183‐1362
MS JANET L ALBER         737 DURANT ST                                                                         LANSING         MI 48915‐1381
MS JANET L HOCHSTETLER   520 5TH ST                                                                            BEDFORD         IN 47421‐2247
MS JANET L TESAR         10800 RICHARD DR                                                                      CLEVELAND       OH 44130‐1309
MS JANET M HUNGERMAN     11451 SHARON DR APT C807                                                              CLEVELAND       OH 44130‐8702
MS JANET M KOONS         1301 W 14TH ST APT 3                                                                  MUNCIE          IN 47302‐3196
MS JANET M LAVELLE       327 BEACH ST                                                                          MOUNT MORRIS    MI 48458‐1901
MS JANET M MITTIGA       1 HIGHLAND AVE                                                                        MASSENA         NY 13662‐1823
MS JANET M STYBERT       2050 COVERT RD                                                                        BURTON          MI 48509‐1011
MS JANET R BARNHOUSE     2012 S GHARKEY ST                                                                     MUNCIE          IN 47302‐7617
MS JANET R DAVIS         2448 FERGUSON RD                                                                      ONTARIO         OH 44906‐1107
MS JANET R MCLAUCHLAN    2149 BRADY AVE                                                                        BURTON          MI 48529‐2426
MS JANET R TYLER         180 W ANN ARBOR AVE                                                                   PONTIAC         MI 48340‐1802
MS JANET S BELLUSH       1420 13TH ST                                                                          BEDFORD         IN 47421‐3227
MS JANET S HARDEN        906 KENILWORTH AVE                                                                    PONTIAC         MI 48340‐3106
MS JANET S HUTTON        122 RILEY BLVD                                                                        BEDFORD         IN 47421‐9644
MS JANET S LUTTON        2225 S HOYT AVE APT 7                                                                 MUNCIE          IN 47302‐3052
MS JANET S PIERCE        276 RAWLINS MILL RD                                                                   BEDFORD         IN 47421‐7648
MS JANET S SKILLMAN      1402 L ST                                                                             BEDFORD         IN 47421‐3219
MS JANETTE M REXFORD     838 BON AIR RD                                                                        LANSING         MI 48917‐2316
MS JANI L WHITE          1442 LINCOLN DR                                                                       FLINT           MI 48503‐3556
MS JANICE A ANGERS       2190 E WHITTEMORE AVE                                                                 BURTON          MI 48529‐1728
MS JANICE A BURNS        1140 E HARVARD AVE                                                                    FLINT           MI 48505‐1524
MS JANICE A HALL         163 W YPSILANTI AVE                                                                   PONTIAC         MI 48340‐1874
MS JANICE B STEWART      1206 AMOS ST                                                                          PONTIAC         MI 48342‐1804
MS JANICE C LEE          206 W RUNDELL ST                                                                      PONTIAC         MI 48342‐1272
MS JANICE C STALTER      7 ALVERN AVE                                                                          MASSENA         NY 13662‐2158
MS JANICE C WILLING      1804 W BURBANK AVE                                                                    JANESVILLE      WI 53546‐5958
MS JANICE E KELLISON     184 E ORVIS ST                                                                        MASSENA         NY 13662‐2245
MS JANICE E VANGILDER    1416 GRAM ST                                                                          BURTON          MI 48529‐2040
MS JANICE I LEVERING     924 MELROSE ST                                                                        PONTIAC         MI 48340‐3129
MS JANICE J SEITZ        1800 N INDIANA AVE                                                                    KOKOMO          IN 46901‐2040
MS JANICE K CAMPBELL     9840 GERALDINE ST                                                                     YPSILANTI       MI 48197‐6922
MS JANICE K COPE         3565 28TH ST                                                                          DETROIT         MI 48210‐3103
MS JANICE K HASKE        1931 S OAKHILL AVE                                                                    JANESVILLE      WI 53546‐6047
MS JANICE K NUNNALLY     2140 N MARKET ST                                                                      KOKOMO          IN 46901‐1451
MS JANICE K OSTROWSKI    20 UNIVERSITY PLACE DR                                                                PONTIAC         MI 48342‐1881
MS JANICE K THOMPSON     1104 BRISTOL COURT DR                                                                 MOUNT MORRIS    MI 48458‐2179
MS JANICE L BURKETT      46 W YPSILANTI AVE                                                                    PONTIAC         MI 48340‐1870
MS JANICE L FLETCHER     3809 HOLLY AVE                                                                        FLINT           MI 48506‐3108
MS JANICE L GIBSON       1020 SOUTH ST                                                                         MOUNT MORRIS    MI 48458‐2041
MS JANICE L GRIFFIN      1494 READY AVE                                                                        BURTON          MI 48529‐2054
MS JANICE L STRAMPLE     2212 S CHATHAM ST                                                                     JANESVILLE      WI 53546‐6169
MS JANICE M BATES        4 APPLE LN                                                                            PONTIAC         MI 48340‐1600
MS JANICE M HILL         484 FOX HILLS DR N APT 6                                                              BLOOMFIELD      MI 48304‐1336
MS JANICE M LOOMIS       165 W COLUMBIA AVE                                                                    PONTIAC         MI 48340‐1811
MS JANICE RANGER         4313 FARMCREST ST                                                                     BURTON          MI 48509‐1105
MS JANICE V KELLEY       3825 PALMER AVE                                                                       FLINT           MI 48506‐4236
MS JANIE L MOORE         1063 TERRY AVE                                                                        MOUNT MORRIS    MI 48458‐2539
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Name                       Address1                           Address2            Address3         Address4         City           State Zip
MS JANINE L ERNEST         1051 E HARVARD AVE                                                                       FLINT           MI 48505‐1507
MS JANIS A COREY           162 W TENNYSON AVE                                                                       PONTIAC         MI 48340‐2672
MS JANIS HERRICK           2087 E JUDD RD                                                                           BURTON          MI 48529‐2402
MS JANIS N NEIDRICK        24 GERDON AVE                                                                            PONTIAC         MI 48342‐1117
MS JANIS PATRICK           815 9TH ST                                                                               BEDFORD         IN 47421‐2636
MS JANISHA R FREEMAN       700 OLD OAK CT APT 708                                                                   PONTIAC         MI 48340‐3604
MS JANNIE M POWELL         4008 TOLEDO ST                                                                           DETROIT         MI 48209‐1361
MS JANONNE M LLOYD         136 W PRINCETON AVE                                                                      PONTIAC         MI 48340‐1840
MS JARVAE M FRANKLIN       5900 BRIDGE RD APT 111                                                                   YPSILANTI       MI 48197‐7010
MS JASMINE A DICKERSON     3450 VAN ZANDT RD                                                                        WATERFORD       MI 48329‐3262
MS JASMINE FOSTER          474 SELVILLE BLVD                                                                        PONTIAC         MI 48340‐1060
MS JASMINE MCKNIGHT        2214 N WEBSTER ST                                                                        KOKOMO          IN 46901‐5860
MS JASMINE R DANIEL        656 NEWMAN LN                                                                            PONTIAC         MI 48340‐3300
MS JASMINE STEVENS         636 RILEY BLVD                                                                           BEDFORD         IN 47421‐9336
MS JASMYN S THOMASON       11 SALLEE LN                                                                             PONTIAC         MI 48340‐1656
MS JAUKYETA EDWARDS        706 KETTERING AVE                                                                        PONTIAC         MI 48340‐3245
MS JAUNITA KNIAT           1191 E CORNELL AVE                                                                       FLINT           MI 48505‐1617
MS JAYNE A LUEDEKE         5308 MANCHESTER RD                                                                       DAYTON          OH 45449‐1937
MS JAZMINE B HAYES         718 NEWMAN LN                                                                            PONTIAC         MI 48340‐3304
MS JEAN B BURTON           830 SCOTT LAKE RD                                                                        WATERFORD       MI 48328‐2546
MS JEAN B FREGOE           2 LAUREL AVE                                                                             MASSENA         NY 13662‐2098
MS JEAN BINDA              152 CENTRAL AVE STE 202                                                                  CLARK           NJ 07066‐1101
MS JEAN E BROWN            2034 JOLSON AVE                                                                          BURTON          MI 48529‐2032
MS JEAN E GRAY             1517 LOWELL ST                                                                           ELYRIA          OH 44035‐4868
MS JEAN E HIRSCH           2 LEANEE LN                                                                              PONTIAC         MI 48340‐1650
MS JEAN G SWANSON          1107 BRISTOL COURT DR                                                                    MOUNT MORRIS    MI 48458‐2179
MS JEAN I KUSCHEL          1918 ROOSEVELT AVE                                                                       JANESVILLE      WI 53546‐5971
MS JEAN KUNTZ              1105 KELLOGG AVE TRLR C7                                                                 JANESVILLE      WI 53546‐6084
MS JEAN L ROBINETTE        9935 JOAN CIR                                                                            YPSILANTI       MI 48197‐6904
MS JEAN L SUPERNAULT       45 W ORVIS ST APT 2                                                                      MASSENA         NY 13662‐1854
MS JEAN L WEISER           6015 VAN WORMER DR                                                                       TOLEDO          OH 43612‐4042
MS JEAN M BURCH            260 W FAIRMOUNT AVE                                                                      PONTIAC         MI 48340‐2740
MS JEAN M CHINN            1702 15TH ST                                                                             BEDFORD         IN 47421‐3606
MS JEAN M GINDER           71 NIGHTENGALE AVE                                                                       MASSENA         NY 13662‐1717
MS JEAN M MEDLEY           420 BAILEY SCALES RD                                                                     BEDFORD         IN 47421‐9395
MS JEAN M ZAGROBELNY       53 GROVE ST                                                                              MASSENA         NY 13662‐2129
MS JEAN M ZERBE            703 HARWOOD RD                                                                           WILMINGTON      DE 19804‐2658
MS JEAN P BLANCHETTE       2111 CLARK ST                                                                            DETROIT         MI 48209‐3907
MS JEAN Q PHAM             4401 SANDHILL DR                                                                         JANESVILLE      WI 53546‐4421
MS JEAN R PARKINSON        1736 NEW YORK AVE                                                                        FLINT           MI 48506‐3333
MS JEAN S CASLER           241 N GRACE ST                                                                           LANSING         MI 48917‐4909
MS JEAN SHOPTAW            200 W YALE AVE                                                                           PONTIAC         MI 48340‐1866
MS JEAN TILLMAN            613 LANCASTER LN                                                                         PONTIAC         MI 48342‐1853
MS JEANETTA L JACKSON      535 W FAIRMOUNT AVE                                                                      PONTIAC         MI 48340‐1602
MS JEANETTE C RHOTEHAMEL   2026 COVERT RD                                                                           BURTON          MI 48509‐1011
MS JEANETTE DANLEY         153 W CORNELL AVE                                                                        PONTIAC         MI 48340‐2721
MS JEANETTE DEAMOUR        235 MAIN ST APT 2                                                                        MASSENA         NY 13662‐1927
MS JEANETTE F SUNDLAND     3223 TIMBER DR                                                                           LANSING         MI 48917‐2338
MS JEANETTE G WEBER        1728 N ST                                                                                BEDFORD         IN 47421‐4114
MS JEANETTE H MARINCHAK    11260 AARON DR                                                                           CLEVELAND       OH 44130‐1261
MS JEANETTE L DENESHA      93 ANDREWS ST                                                                            MASSENA         NY 13662‐1840
MS JEANETTE L EMBRY        89 LEANEE LN                                                                             PONTIAC         MI 48340‐1651
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Name                         Address1                           Address2            Address3         Address4         City            State Zip
MS JEANETTE M BANKS          726 DURANT ST                                                                            LANSING          MI 48915‐1327
MS JEANETTE M DANLEY         48 W FAIRMOUNT AVE                                                                       PONTIAC          MI 48340‐2732
MS JEANETTE M WALKER         1164 E CORNELL AVE                                                                       FLINT            MI 48505‐1614
MS JEANETTE R DOMINY         2218 S TERRACE ST                                                                        JANESVILLE       WI 53546‐6122
MS JEANETTE TAN              739 E FOX HILLS DR                                                                       BLOOMFIELD       MI 48304‐1307
MS JEANETTE W WALKER         1095 E GRAND BLVD                                                                        FLINT            MI 48505‐1505
MS JEANETTE WHITLOCK         714 5TH ST                                                                               HENDERSON        KY 42420‐3058
MS JEANIE M WEBER            10681 RIVEREDGE DR                                                                       PARMA            OH 44130‐1244
MS JEANINE F ANDERSON        409 FOX HILLS DR N                                                                       BLOOMFIELD       MI 48304‐1309
MS JEANINE Y LEBOEUF         17 GRASSMERE AVE                                                                         MASSENA          NY 13662‐2037
MS JEANNE A WAGNER           8 P ST                                                                                   BEDFORD          IN 47421‐1718
MS JEANNE C BECKNER          4 NIPMUC RD                                                                              FRAMINGHAM       MA 01702‐7228
MS JEANNE GOULD              6102 BOB DR                                                                              YPSILANTI        MI 48197‐8284
MS JEANNE K GOODRICH         32 WATER ST APT 3                                                                        MASSENA          NY 13662‐2025
MS JEANNE M DESHAIES         91 PROSPECT AVE                                                                          MASSENA          NY 13662‐1746
MS JEANNE M ELSTER           8468 HAZELTON ST                                                                         DEARBORN HTS     MI 48127‐1551
MS JEANNE R CHRISTINASON     1513 ROOSEVELT AVE                                                                       JANESVILLE       WI 53546‐6037
MS JEANNETTE HINES           240 W ANN ARBOR AVE                                                                      PONTIAC          MI 48340‐1804
MS JEANNETTE J STACEY        10 CHERRY ST                                                                             MASSENA          NY 13662‐1806
MS JEANNIE A STEPHENS        1114 W 14TH ST                                                                           MUNCIE           IN 47302‐3059
MS JEANNIE B TIERNEY         113 BROOKE DR                                                                            FREDERICKSBRG    VA 22408‐2001
MS JEANNIE G SWANSON         11011 N SAGINAW ST APT 6                                                                 MOUNT MORRIS     MI 48458‐2036
MS JEANNIE OSGA              2116 KENNETH ST                                                                          BURTON           MI 48529‐1353
MS JEANNIECOLE M BROOKS      2134 HUBBARD ST APT BA                                                                   DETROIT          MI 48209‐3334
MS JEANNINE G STEELE         2001 N CENTER RD APT 103                                                                 FLINT            MI 48506‐3198
MS JEDCER J BASILIO          1014 DURANT AVE                                                                          PONTIAC          MI 48340‐2307
MS JEMETTA L HATHORN         78 KAREN CT                                                                              PONTIAC          MI 48340‐1637
MS JENEKA L GRANT            508 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐1602
MS JENESHA L MOODY           1233 AMOS ST                                                                             PONTIAC          MI 48342‐1805
MS JENI PARSON               2010 KELLOGG AVE APT 207                                                                 JANESVILLE       WI 53546‐5988
MS JENICE A KNEIP            1142 CLOVIS AVE                                                                          MOUNT MORRIS     MI 48458‐2505
MS JENICE N BAILEY           1128 AMOS ST                                                                             PONTIAC          MI 48342‐1802
MS JENIFER GROLEAU           1815 N LAFOUNTAIN ST                                                                     KOKOMO           IN 46901‐2318
MS JENNA B MARCUM            11141 OXBOW ST                                                                           LIVONIA          MI 48150‐3146
MS JENNET L MORSE            1137 PANAMA AVE                                                                          MOUNT MORRIS     MI 48458‐2533
MS JENNETTE KING             1284 BROADWAY BLVD                                                                       FLINT            MI 48506‐3230
MS JENNI SOMMERS             829 E MILWAUKEE ST APT 4                                                                 JANESVILLE       WI 53545‐3175
MS JENNIE EARL L             108 ILONA CT                                                                             STAFFORD         VA 22554‐7539
MS JENNIE J TROJANOWSKI      1237 E HAMILTON AVE                                                                      FLINT            MI 48506‐3210
MS JENNIE L HARTMAN          1413 E WILLIAMSON ST                                                                     BURTON           MI 48529‐1639
MS JENNIE L SUTTON           14 E KEYSTONE AVE                                                                        WILMINGTON       DE 19804‐2024
MS JENNIFER A CAUNT          698 CORWIN AVE                                                                           PONTIAC          MI 48340‐2411
MS JENNIFER A DINEHART       3248 LOCKWOOD ST                                                                         DETROIT          MI 48210‐3257
MS JENNIFER A EDDINGER       1115 BROOKE PARK DR                                                                      TOLEDO           OH 43612‐4217
MS JENNIFER A KUNKEL         473 FOX HILLS DR N                                                                       BLOOMFIELD       MI 48304‐1309
MS JENNIFER A MANZENBERGER   416 M ST                                                                                 BEDFORD          IN 47421‐1819
MS JENNIFER A PRESTI         10971 GABRIELLA DR                                                                       CLEVELAND        OH 44130‐1467
MS JENNIFER A PURCELL        1141 M ST                                                                                BEDFORD          IN 47421‐2928
MS JENNIFER C BREWER         140 W STRATHMORE AVE                                                                     PONTIAC          MI 48340‐2774
MS JENNIFER C FAULKNER       710 WOODTOP RD                                                                           WILMINGTON       DE 19804‐2628
MS JENNIFER C HARDEN         12015 HARTEL ST                                                                          LIVONIA          MI 48150‐2331
MS JENNIFER CHITTICK         2050 BRADY AVE                                                                           BURTON           MI 48529‐2423
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Name                         Address1                       Address2            Address3         Address4         City            State Zip
MS JENNIFER CONNELLY         1 BRIGHTON ST                                                                        MASSENA          NY 13662‐2229
MS JENNIFER CROUCH           1210 KELLOGG AVE APT 6                                                               JANESVILLE       WI 53546‐6061
MS JENNIFER D BULLOCK        2905 BROYHILL CT                                                                     FREDERICKSBRG    VA 22408‐2069
MS JENNIFER D CLAIRDAY       1821 W 9TH ST                                                                        MUNCIE           IN 47302‐6602
MS JENNIFER E BUCK           610 FALLON AVE                                                                       WILMINGTON       DE 19804‐2112
MS JENNIFER E COOK           651 MAPLE ST                                                                         MOUNT MORRIS     MI 48458‐1926
MS JENNIFER E PEACOCK        176 E ORVIS ST                                                                       MASSENA          NY 13662‐2245
MS JENNIFER F GEORGER        1304 KING ST                                                                         JANESVILLE       WI 53546‐6026
MS JENNIFER FRANCIS          1833 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6012
MS JENNIFER G WHITE          26 PARKER AVE                                                                        MASSENA          NY 13662‐2215
MS JENNIFER HABIG            2025 N WABASH AVE                                                                    KOKOMO           IN 46901‐2063
MS JENNIFER I WALLACE        720 LOUNSBURY AVE                                                                    PONTIAC          MI 48340‐2452
MS JENNIFER J BRONIAK        2208 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐1465
MS JENNIFER J BROWN          613 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2107
MS JENNIFER J GAUDIELLO      717 WOODSEDGE RD                                                                     WILMINGTON       DE 19804‐2625
MS JENNIFER J KELLY          517 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2912
MS JENNIFER J QURESHI        605 BRYNFORD AVE                                                                     LANSING          MI 48917‐4901
MS JENNIFER L AMICK          913 13TH ST                                                                          BEDFORD          IN 47421‐3303
MS JENNIFER L BARNETT        8 E KEYSTONE AVE                                                                     WILMINGTON       DE 19804‐2024
MS JENNIFER L BRINK          1190 ADAMS RD                                                                        BURTON           MI 48509‐2300
MS JENNIFER L CABRERA        9904 JOAN CIR                                                                        YPSILANTI        MI 48197‐6911
MS JENNIFER L DURANCEAU      9 LAUREL AVE APT 708                                                                 MASSENA          NY 13662‐2058
MS JENNIFER L FREDERICK      827 HARWOOD RD                                                                       WILMINGTON       DE 19804‐2662
MS JENNIFER L GAMBLE         1157 CHESTNUT ST                                                                     PONTIAC          MI 48342‐1891
MS JENNIFER L GORDON         2100 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1714
MS JENNIFER L GRIFFITH       2002 S OAKHILL AVE                                                                   JANESVILLE       WI 53546‐6001
MS JENNIFER L HURLBUT        33 E ORVIS ST APT 1                                                                  MASSENA          NY 13662‐3602
MS JENNIFER L JOHANNSMEIER   1214 SYCAMORE AVE                                                                    WILMINGTON       DE 19805‐5041
MS JENNIFER L KAFKA          1505 EVERGREEN DR                                                                    JANESVILLE       WI 53546‐6175
MS JENNIFER L LOCKWOOD       670 BOYD ST                                                                          PONTIAC          MI 48342‐1926
MS JENNIFER L LOFORESE       849 MORRIS AVE                                                                       LANSING          MI 48917‐2326
MS JENNIFER L MACKENZIE      3230 WESTMONT AVE                                                                    LANSING          MI 48906‐2548
MS JENNIFER L MCCAULLEY      138 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2758
MS JENNIFER L RODGERS        2008 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐2217
MS JENNIFER L ROOT           2044 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1764
MS JENNIFER L ROWDEN         121 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1821
MS JENNIFER L RYAN           10821 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8042
MS JENNIFER L SINKCO         704 WOODSEDGE RD                                                                     WILMINGTON       DE 19804‐2626
MS JENNIFER L SPROUSE        180 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2776
MS JENNIFER L THOMPSON       1120 TERRACE CT                                                                      JANESVILLE       WI 53546‐6168
MS JENNIFER L ZAJAC          1619 14TH ST                                                                         BEDFORD          IN 47421‐3632
MS JENNIFER M APPLEBECK      456 SEVILLE BLVD                                                                     PONTIAC          MI 48340‐1060
MS JENNIFER M DAVIN          1215 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2753
MS JENNIFER M ELLIOTT        721 WOODTOP RD                                                                       WILMINGTON       DE 19804‐2627
MS JENNIFER M HALL           3080 E MOUNT MORRIS RD                                                               MOUNT MORRIS     MI 48458‐8991
MS JENNIFER M HELT           2016 KELLOGG AVE APT 103                                                             JANESVILLE       WI 53546‐5986
MS JENNIFER M HOLBROOK       5511 CHEVROLET BLVD APT A302                                                         CLEVELAND        OH 44130‐1461
MS JENNIFER M SOLARI         1114 O ST                                                                            BEDFORD          IN 47421‐2816
MS JENNIFER M VARGA          5502 ABRAHAM AVE                                                                     CLEVELAND        OH 44130‐1318
MS JENNIFER M YERSE          1139 FULWELL DR                                                                      ONTARIO          OH 44906‐1161
MS JENNIFER MCCORMICK        1000 W 11TH ST                                                                       MUNCIE           IN 47302‐2279
MS JENNIFER MENSZYK          5431 CHEVROLET BLVD APT A111                                                         CLEVELAND        OH 44130‐1485
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Name                          Address1                       Address2            Address3         Address4         City           State Zip
MS JENNIFER MINSHALL          1109 10TH ST                                                                         BEDFORD         IN 47421‐2525
MS JENNIFER R BLACK           2016 KELLOGG AVE APT 105                                                             JANESVILLE      WI 53546‐5986
MS JENNIFER R CRAMPTON        5697 CHEVROLET BLVD APT B307                                                         CLEVELAND       OH 44130‐8717
MS JENNIFER R HARDY           846 STANLEY AVE                                                                      PONTIAC         MI 48340‐2558
MS JENNIFER R HEINTZ          852 BLAINE AVE                                                                       PONTIAC         MI 48340‐2408
MS JENNIFER S KRESSBACH       1011 STANLEY AVE                                                                     PONTIAC         MI 48340‐1779
MS JENNIFER S WELCH           4034 RISEDORPH ST                                                                    BURTON          MI 48509‐1040
MS JENNIFER SLONE             213 N 6TH ST APT 12                                                                  MITCHELL        IN 47446‐1451
MS JENNIFER WOOLFREY          95 TRIPP ST                                                                          FRAMINGHAM      MA 01702‐8750
MS JENNIFER ZARAGOZA          1003 18TH ST                                                                         BEDFORD         IN 47421‐4215
MS JENNY E ROMLEIN            725 ROBINWOOD ST                                                                     PONTIAC         MI 48340‐3141
MS JENNY EMBERTON             115 LINCOLN AVE                                                                      BEDFORD         IN 47421‐1612
MS JENNY KNOWLTON             619 16TH ST                                                                          BEDFORD         IN 47421‐3818
MS JENNY M GARNER             2231 E JUDD RD                                                                       BURTON          MI 48529‐2406
MS JENNY RYAN                 2052 E BERGIN AVE                                                                    BURTON          MI 48529‐1702
MS JENNY STAMPS               241 W YALE AVE                                                                       PONTIAC         MI 48340‐1867
MS JERALDINE L MCCLERKIN      1705 N BELL ST                                                                       KOKOMO          IN 46901‐2331
MS JERI CAIN                  246 WHITE LN                                                                         BEDFORD         IN 47421‐9223
MS JERI EASTHAM               4403 1/2 DAVISON RD LOT 19                                                           BURTON          MI 48509‐1400
MS JERRI L GOUCHER            1037 COLLINS AVE                                                                     MOUNT MORRIS    MI 48458‐2120
MS JERRI LAKE                 224 M ST                                                                             BEDFORD         IN 47421‐1815
MS JERRIE L PERKINS           97 PINGREE AVE                                                                       PONTIAC         MI 48342‐1160
MS JESSICA A DORSEY           2115 DUPONT DR                                                                       JANESVILLE      WI 53546‐3128
MS JESSICA BAROTH             559 OAK ST                                                                           MOUNT MORRIS    MI 48458‐1932
MS JESSICA COLLIER            1515 3RD ST                                                                          BEDFORD         IN 47421‐1719
MS JESSICA DOTSON             2199 LANSING ST APT 102                                                              DETROIT         MI 48209‐1693
MS JESSICA DOWNHAM            880 MOUNT PLEASANT RD                                                                BEDFORD         IN 47421‐7644
MS JESSICA F ANTHONY          713 WILBERFORCE LN                                                                   FLINT           MI 48503‐5240
MS JESSICA G FANNIN           400 W HOPKINS AVE APT 306                                                            PONTIAC         MI 48340‐1774
MS JESSICA G FLOERKE          1029 P ST                                                                            BEDFORD         IN 47421‐2817
MS JESSICA I AYALA‐SANTIAGO   597 LANCASTER LN                                                                     PONTIAC         MI 48342‐1852
MS JESSICA J TASKEY           1415 N MCCANN ST                                                                     KOKOMO          IN 46901‐2676
MS JESSICA L BAILEY           204 BAILEY LN                                                                        BEDFORD         IN 47421‐9674
MS JESSICA L BUTZIN           9663 BAYVIEW DR APT 211                                                              YPSILANTI       MI 48197‐7028
MS JESSICA L CARTER           4057 RISEDORPH ST                                                                    BURTON          MI 48509‐1039
MS JESSICA L GALVAN           6734 HOUGHTON ST                                                                     CASS CITY       MI 48726‐1508
MS JESSICA L GRAY             1376 GRAM ST                                                                         BURTON          MI 48529‐2040
MS JESSICA L GREENE           9964 GERALDINE ST                                                                    YPSILANTI       MI 48197‐6937
MS JESSICA L KULESZA          711 WOODSEDGE RD                                                                     WILMINGTON      DE 19804‐2625
MS JESSICA L LARAWAY          6162 ROBERT CIR                                                                      YPSILANTI       MI 48197‐8279
MS JESSICA L WILSON           1718 S GHARKEY ST                                                                    MUNCIE          IN 47302‐3181
MS JESSICA LANNING            17 BRIDGES AVE                                                                       MASSENA         NY 13662‐1831
MS JESSICA M RUDDY            80 E ORVIS ST APT 1                                                                  MASSENA         NY 13662‐4032
MS JESSICA M ULRICH           8538 N GENESEE RD                                                                    MOUNT MORRIS    MI 48458‐8706
MS JESSICA N SMITH            179 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2761
MS JESSICA NORRIS             1435 W 8TH ST                                                                        MUNCIE          IN 47302‐2164
MS JESSICA R LAZO             2119 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1725
MS JESSICA RAMAGE             513 1/2 15TH ST                                                                      BEDFORD         IN 47421‐3803
MS JESSICA RAMOS              240 W BEVERLY AVE                                                                    PONTIAC         MI 48340‐2623
MS JESSICA RISRINGER          1245 CLOVERLAWN DR                                                                   PONTIAC         MI 48340‐1617
MS JESSICA S BYRD             764 CAMERON AVE                                                                      PONTIAC         MI 48340‐3206
MS JESSICA WHEAT              617 W MEMORIAL DR                                                                    MUNCIE          IN 47302‐7622
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Name                      Address1                        Address2            Address3         Address4         City           State Zip
MS JESSICA Y THOMPSON     3702 SHEUWATER DR                                                                     EAST LANSING    MI 48823
MS JESSICA Y WILLIAMS     4472 TOLEDO ST                                                                        DETROIT         MI 48209‐1369
MS JESSICA YOUNG          5900 BRIDGE RD APT 814                                                                YPSILANTI       MI 48197‐7011
MS JESSIE CARTAGENE       151 W COLUMBIA AVE                                                                    PONTIAC         MI 48340‐1811
MS JESSIE J HARRIS        1316 E CORNELL AVE                                                                    FLINT           MI 48505‐1751
MS JESSIE L WALKER        1159 AMOS ST                                                                          PONTIAC         MI 48342‐1803
MS JEWEL J COUSINO        2033 JOLSON AVE                                                                       BURTON          MI 48529‐2031
MS JEWELL L CHASTAIN      202 RILEY BLVD                                                                        BEDFORD         IN 47421‐9647
MS JIAN R KUANG           518 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐1602
MS JILL C CORLETT         34 CENTER ST                                                                          MASSENA         NY 13662‐1479
MS JILL L BOWLING         825 W 15TH ST                                                                         MUNCIE          IN 47302‐3063
MS JILL M POWER           12 HIGHLAND PARK                                                                      MASSENA         NY 13662‐1834
MS JILL MARTIN            66 PINGREE AVE                                                                        PONTIAC         MI 48342‐1155
MS JILLIAN A COLE         2099 E BERGIN AVE APT 2                                                               BURTON          MI 48529‐1700
MS JILLIAN R DOMBROWSKI   715 E FOX HILLS DR                                                                    BLOOMFIELD      MI 48304‐1307
MS JO A CAMPBELL          2107 LANSING ST                                                                       DETROIT         MI 48209‐1672
MS JO A HOLLAND           117 W YPSILANTI AVE                                                                   PONTIAC         MI 48340‐1874
MS JO A LAWRENCE          1913 N APPERSON WAY                                                                   KOKOMO          IN 46901‐2347
MS JO A SHARLOW           2068 KENNETH ST                                                                       BURTON          MI 48529‐1351
MS JO A SMITH             7415 ALEXANDER ST                                                                     MOUNT MORRIS    MI 48458‐2904
MS JOAN A WILSON          620 MAPLE ST                                                                          MOUNT MORRIS    MI 48458‐1927
MS JOAN B LUCHETTI        7 TERRACE DRIVE                                                                       WEST WYOMING    PA 18644
MS JOAN C BALDWIN         1154 E YALE AVE                                                                       FLINT           MI 48505‐1519
MS JOAN E CLYNE           700 CAMERON AVE                                                                       PONTIAC         MI 48340‐3204
MS JOAN E CLYNE           1005 EMERSON AVE                                                                      PONTIAC         MI 48340‐3232
MS JOAN E LEWIS           1506 4TH ST                                                                           BEDFORD         IN 47421‐1724
MS JOAN E WALLER          1411 E ST                                                                             BEDFORD         IN 47421‐3311
MS JOAN H CLAIBORN        249 MOUNT VERNON ST                                                                   DETROIT         MI 48202‐2519
MS JOAN JONES             1211 W POWERS ST                                                                      MUNCIE          IN 47305‐2144
MS JOAN L CATANZARITE     31 HIGHLAND AVE                                                                       MASSENA         NY 13662‐1730
MS JOAN L RAY             165 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2737
MS JOAN M HOULT           792 BLAINE AVE                                                                        PONTIAC         MI 48340‐2402
MS JOAN M LEAR            8358 BARTON DR                                                                        STRONGSVILLE    OH 44149‐1017
MS JOAN M URBANCZYK       3412 LOCKWOOD ST                                                                      DETROIT         MI 48210‐3213
MS JOAN MCKENZIE          830 MAPLE ST                                                                          MOUNT MORRIS    MI 48458‐2208
MS JOAN P BOGART          1058 E HARVARD AVE                                                                    FLINT           MI 48505‐1508
MS JOAN P BOGART          1059 E HARVARD AVE                                                                    FLINT           MI 48505‐1507
MS JOAN P GREEN           896 SARASOTA AVE                                                                      PONTIAC         MI 48340‐2368
MS JOAN R KELLEY          253 W SHEFFIELD AVE                                                                   PONTIAC         MI 48340‐1855
MS JOAN S DE LARM         74 ANDREWS ST                                                                         MASSENA         NY 13662‐1858
MS JOAN S WHITEHEAD       666 BEACH ST                                                                          MOUNT MORRIS    MI 48458‐1908
MS JOAN SEARS             1711 K ST                                                                             BEDFORD         IN 47421‐4234
MS JOANI E WITT           11330 FAIRLAWN DR                                                                     CLEVELAND       OH 44130‐1222
MS JOANN A GEORGE         107 LINCOLN AVE                                                                       BEDFORD         IN 47421‐1612
MS JOANN B SANDERS        1808 BRISTOL COURT DR                                                                 MOUNT MORRIS    MI 48458‐2186
MS JOANN BRAWNER          217 W YALE AVE                                                                        PONTIAC         MI 48340‐1867
MS JOANN D GREEN          1273 UNIVERSITY DR                                                                    PONTIAC         MI 48342‐1970
MS JOANN D KIDLE          2039 E BUDER AVE                                                                      BURTON          MI 48529‐1731
MS JOANN D SHAFFER        9749 TEXTILE RD                                                                       YPSILANTI       MI 48197‐7039
MS JOANN G ALEXANDER      1050 LUCHARLES AVE                                                                    MOUNT MORRIS    MI 48458‐2125
MS JOANN GIBBS            1071 E KURTZ AVE                                                                      FLINT           MI 48505‐1511
MS JOANN M CIHLA          1105 KELLOGG AVE TRLR B11                                                             JANESVILLE      WI 53546‐6087
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Name                       Address1                            Address2            Address3         Address4         City           State Zip
MS JOANN M JOHNSON         1231 COLONY LN                      APT 331                                               PONTIAC         MI 48340‐2283
MS JOANN M KNEPP           647 BUENA VISTA ST APT 19                                                                 MOUNT MORRIS    MI 48458‐1935
MS JOANN M MCALISTER       996 KETTERING AVE                                                                         PONTIAC         MI 48340‐3257
MS JOANNA A FLUELLEN       2844 VINEWOOD ST                                                                          DETROIT         MI 48216‐1085
MS JOANNA H BERRY          1011 W 1ST ST                                                                             MUNCIE          IN 47305‐2102
MS JOANNA K ZARKO          2051 E SCHUMACHER ST                                                                      BURTON          MI 48529‐2435
MS JOANNA L ROYSDEN        1813 W MEMORIAL DR                                                                        MUNCIE          IN 47302‐6623
MS JOANNA M CHORRUSHI      1206 N UNION ST                                                                           KOKOMO          IN 46901‐2902
MS JOANNA M MONGILLO       612 BECKER AVE                                                                            WILMINGTON      DE 19804‐2106
MS JOANNA N WILSON         699 NEWMAN LN                                                                             PONTIAC         MI 48340‐3302
MS JOANNA PARTIN           6061 N SAGINAW RD STE 1                                                                   MOUNT MORRIS    MI 48458‐2438
MS JOANNA S LEWIS          915 W POWERS ST                                                                           MUNCIE          IN 47305‐2268
MS JOANNE A WALTERS        251 W FAIRMOUNT AVE                                                                       PONTIAC         MI 48340‐2741
MS JOANNE B SCATASTI       12 LYNAM PL                                                                               WILMINGTON      DE 19804‐2032
MS JOANNE E KRUEGER        2209 COMMONS AVE                                                                          JANESVILLE      WI 53546‐5965
MS JOANNE HILL             227 MAIN ST APT 2                                                                         MASSENA         NY 13662‐1963
MS JOANNE M BACKHERMS      134 W FULTON ST 1                                                                         EPHRATA         PA 17522‐1937
MS JOANNE M BAILEY         2218 S CHATHAM ST                                                                         JANESVILLE      WI 53546‐6169
MS JOANNE M JOHNSON        163 CHERRY HILL DR                                                                        PONTIAC         MI 48340‐1609
MS JOANNE R GIBBS          1064 E COLDWATER RD                                                                       FLINT           MI 48505‐1502
MS JOANNE S MORRIS         1177 HERRINGTON LN                                                                        PONTIAC         MI 48342‐1837
MS JOCQUELINE M KEELS      1192 AMOS ST                                                                              PONTIAC         MI 48342‐1802
MS JODI E SCHWARTZ         12500 CAMDEN ST                                                                           LIVONIA         MI 48150‐2371
MS JODI G CHILDERS         4151 RISEDORPH ST                                                                         BURTON          MI 48509‐1067
MS JODI L BELAIR           22 WINTER ST                                                                              MASSENA         NY 13662‐1819
MS JODI L COLEMAN          11205 N SAGINAW ST                                                                        MOUNT MORRIS    MI 48458‐2066
MS JODIE L GILLOTTE        161 W RUTGERS AVE                                                                         PONTIAC         MI 48340‐2759
MS JODIMARIE M MASLEY      3203 LOCKWOOD ST APT 5R                                                                   DETROIT         MI 48210‐3296
MS JODY BAKER              146 THE WOODS                                                                             BEDFORD         IN 47421‐9300
MS JODY D COBB             347 THE WOODS                                                                             BEDFORD         IN 47421‐9379
MS JODY L BACON            68 W RUTGERS AVE                                                                          PONTIAC         MI 48340‐2754
MS JODY M KLINE            51279 SYLVIA DR                                                                           BELLEVILLE      MI 48111‐1069
MS JOHANNA E TAIT          9 LAUREL AVE APT 105                                                                      MASSENA         NY 13662‐2054
MS JOHANNAH A GARRETT      20 BALSAM RD                                                                              WILMINGTON      DE 19804‐2643
MS JOHANNE I WILLIAMS      2004 LINKWOOD AVE                                                                         WILMINGTON      DE 19805‐2418
MS JOHNNA L HULING         17 GUILD RD                                                                               FRAMINGHAM      MA 01702‐8712
MS JOHNNIE B EDWARDS       7 APPLE LN                                                                                PONTIAC         MI 48340‐1600
MS JONA M CALDWELL         70 BLAINE AVE                                                                             PONTIAC         MI 48342‐1100
MS JONI L DONALDSON        2127 SAVOY AVE                                                                            BURTON          MI 48529‐2173
MS JONI L VORE             517 W 9TH ST                                                                              MUNCIE          IN 47302‐3120
MS JONNE M BURNS           3301 KINGS LN                                                                             BURTON          MI 48529‐1148
MS JOSEE J KING            27 KENT ST                                                                                MASSENA         NY 13662‐2122
MS JOSEFA D FLORES         845 WOODLAND AVE                                                                          PONTIAC         MI 48340‐2567
MS JOSEFINA CASTRO         3540 28TH ST                                                                              DETROIT         MI 48210‐3104
MS JOSEPHINE A DUDEK       5641 MERRITT ST                                                                           DETROIT         MI 48209‐1317
MS JOSEPHINE E PRZYWARA    704 CURTIS AVE                                                                            WILMINGTON      DE 19804‐2110
MS JOSEPHINE FERENCE       5501 ALEXANDER RD                                                                         CLEVELAND       OH 44130‐1323
MS JOSEPHINE HELLER        1305 K ST APT 110                                                                         BEDFORD         IN 47421‐3241
MS JOSEPHINE J TESTER      1468 KENNETH ST                                                                           BURTON          MI 48529‐2210
MS JOSEPHINE M MANNI       77 W STRATHMORE AVE                                                                       PONTIAC         MI 48340‐2773
MS JOSEPHINE M PACHECO     1245 BROADWAY BLVD                                                                        FLINT           MI 48506‐3206
MS JOSEPHINE P MACKENZIE   23 ELM ST                                                                                 MASSENA         NY 13662‐1827
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Name                    Address1                       Address2            Address3         Address4         City            State Zip
MS JOSEPHINE ROACH      1108 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2756
MS JOSEPHINE ROMERO     4649 BRANDON ST                                                                      DETROIT          MI 48209‐1334
MS JOSEPHINE SARDEGNA   9 LAUREL AVE APT 509                                                                 MASSENA          NY 13662‐2056
MS JOSIE E GIBSON       251 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1835
MS JOSIE R SAXBY        30 ROCKAWAY ST                                                                       MASSENA          NY 13662‐2107
MS JOY ARNOLD           249 N CATHERINE ST                                                                   LANSING          MI 48917‐4903
MS JOY E HAMMEL         1420 O ST                                                                            BEDFORD          IN 47421‐3622
MS JOY E SHEARER        8 GARVIN AVE                                                                         MASSENA          NY 13662‐1817
MS JOY GAGNON           10804 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8041
MS JOY H HACKER         1513 13TH ST                                                                         BEDFORD          IN 47421‐3111
MS JOY L WARDLAW        116 CHARLES LN                                                                       PONTIAC          MI 48341‐2927
MS JOY M SMITH          525 N GRACE ST                                                                       LANSING          MI 48917‐2951
MS JOY NORRIS           228 WHITE LN                                                                         BEDFORD          IN 47421‐9223
MS JOY WALLACE          11007 BEVIN DR                                                                       FREDERICKSBRG    VA 22408‐2073
MS JOYCE A HARRINGTON   1815 N APPERSON WAY                                                                  KOKOMO           IN 46901‐2378
MS JOYCE A JEWELL       1235 N MARKET ST                                                                     KOKOMO           IN 46901‐2968
MS JOYCE A JOHNSON      10714 TRICIA PL                                                                      FREDERICKSBRG    VA 22408‐8067
MS JOYCE A PERKINS      629 E RANKIN ST                                                                      FLINT            MI 48505‐4323
MS JOYCE A REICHARD     109 SUMMIT ST                                                                        PONTIAC          MI 48342‐1167
MS JOYCE A SHEPHERD     33 MADISON ST                                                                        BEDFORD          IN 47421‐1831
MS JOYCE A SMITH        2228 S ORCHARD ST                                                                    JANESVILLE       WI 53546‐5967
MS JOYCE A STEWART      2001 N CENTER RD APT 108                                                             FLINT            MI 48506‐3198
MS JOYCE A THOMPSON     792 CORWIN CT                                                                        PONTIAC          MI 48340‐2414
MS JOYCE ADDISON        2126 N ARMSTRONG ST                                                                  KOKOMO           IN 46901‐5801
MS JOYCE ADDISON        2128 N ARMSTRONG ST                                                                  KOKOMO           IN 46901‐5801
MS JOYCE C BARRY        103 WATER ST                                                                         MASSENA          NY 13662‐2008
MS JOYCE C HUBRED       1707 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐6002
MS JOYCE D SKOGLUND     12244 CAMDEN ST                                                                      LIVONIA          MI 48150‐2329
MS JOYCE E CORK         173 HIGH ST                                                                          PONTIAC          MI 48342‐1120
MS JOYCE E JOHNSON      2200 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2438
MS JOYCE E MAIN         4179 WOODROW AVE                                                                     BURTON           MI 48509‐1051
MS JOYCE E MUNSELL      1130 SOUTH ST                                                                        MOUNT MORRIS     MI 48458‐2902
MS JOYCE E NEILSON      10 SCHOOL ST                                                                         MASSENA          NY 13662‐1711
MS JOYCE E WEBER        182 SUMMIT ST                                                                        PONTIAC          MI 48342‐1168
MS JOYCE E WILLIAMS     2119 S PEARL ST                                                                      JANESVILLE       WI 53546‐6118
MS JOYCE GRAHAM         1503 N WABASH AVE                                                                    KOKOMO           IN 46901‐2010
MS JOYCE H MITCHELL     9 LAUREL AVE APT 808                                                                 MASSENA          NY 13662‐2058
MS JOYCE I WARD         1505 E BRISTOL RD                                                                    BURTON           MI 48529‐2214
MS JOYCE KILLEBREW      1214 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2922
MS JOYCE L ROLL         410 BAILEY SCALES RD                                                                 BEDFORD          IN 47421‐9395
MS JOYCE L STEFFENS     1132 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1704
MS JOYCE M ALLMAN       5691 CHEVROLET BLVD APT D102                                                         CLEVELAND        OH 44130‐1482
MS JOYCE M BREWER       2146 N ARMSTRONG ST                                                                  KOKOMO           IN 46901‐5801
MS JOYCE M CROSSLAND    1106 W 14TH ST                                                                       MUNCIE           IN 47302‐3059
MS JOYCE M GRACEY       1602 LOYOLA DR                                                                       FLINT            MI 48503‐5244
MS JOYCE M JEFFRIES     104 WALNUT HEIGHTS RD                                                                BEDFORD          IN 47421‐8168
MS JOYCE M JOHNSON      537 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1311
MS JOYCE M TULLIS       1112 W BURBANK AVE APT 313                                                           JANESVILLE       WI 53546‐6146
MS JOYCE N WILLIAMS     2133 E MCLEAN AVE                                                                    BURTON           MI 48529‐1739
MS JOYCE R COLBY        110 E ORVIS ST                                                                       MASSENA          NY 13662‐2047
MS JOYE L TOWER         224 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2907
MS JOZETTA T BRAND      1187 RIVER VALLEY DR APT 3                                                           FLINT            MI 48532‐2951
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Name                     Address1                           Address2            Address3         Address4         City           State Zip
MS JUAN F SMITH          1606 LOYOLA DR                                                                           FLINT           MI 48503‐5244
MS JUANA G MARQUEZ       2335 CLARK ST                                                                            DETROIT         MI 48209‐1335
MS JUANITA C ROACH       38 WALNUT HEIGHTS RD                                                                     BEDFORD         IN 47421‐9122
MS JUANITA D VITCENDA    2033 S TERRACE ST                                                                        JANESVILLE      WI 53546‐6005
MS JUANITA E HAZARD      846 BAY ST                                                                               PONTIAC         MI 48342‐1902
MS JUANITA E TAYLOR      610 N JACKSON ST                                                                         BEDFORD         IN 47421‐1532
MS JUANITA J COOPER      5900 BRIDGE RD APT 113                                                                   YPSILANTI       MI 48197‐7010
MS JUANITA K JOHNSON     244 W PRINCETON AVE                                                                      PONTIAC         MI 48340‐1844
MS JUANITA M CRAWFORD    632 LOUNSBURY AVE                                                                        PONTIAC         MI 48340‐2447
MS JUANITA V YOUNG       1912 J ST                                                                                BEDFORD         IN 47421‐4243
MS JUDI D ROSECRANTS     40 BLAINE AVE                                                                            PONTIAC         MI 48342‐1100
MS JUDITE M DALCOLMO     108 TRIPP ST                                                                             FRAMINGHAM      MA 01702‐8778
MS JUDITH A BIGELOW      2203 S ARCH ST                                                                           JANESVILLE      WI 53546‐5955
MS JUDITH A CONLEY       1305 K ST APT 107                                                                        BEDFORD         IN 47421‐3241
MS JUDITH A FAHNESTOCK   1100 N WEBSTER ST                                                                        KOKOMO          IN 46901‐2706
MS JUDITH A FAVORS       1709 W MEMORIAL DR                                                                       MUNCIE          IN 47302‐2160
MS JUDITH A GARCIA       719 WOODTOP RD                                                                           WILMINGTON      DE 19804‐2627
MS JUDITH A KIMBERLY     671 E FOX HILLS DR                                                                       BLOOMFIELD      MI 48304‐1305
MS JUDITH A PEARSON      714 W BROADWAY ST                                                                        KOKOMO          IN 46901‐2712
MS JUDITH A RACE         430 FOX HILLS DR N APT 7                                                                 BLOOMFIELD      MI 48304‐1327
MS JUDITH A RAMSEY       6102 BOB DR                                                                              YPSILANTI       MI 48197‐8284
MS JUDITH A ROBEL        2009 DREXEL RD                                                                           LANSING         MI 48915‐1206
MS JUDITH A SMITH        1372 E KURTZ AVE                                                                         FLINT           MI 48505‐1767
MS JUDITH A THOMAS       124 W HOPKINS AVE                                                                        PONTIAC         MI 48340‐1820
MS JUDITH A ZALESKY      2144 S PALM ST                                                                           JANESVILLE      WI 53546‐6117
MS JUDITH C AMAREL       9 LAUREL AVE APT 606                                                                     MASSENA         NY 13662‐2058
MS JUDITH D RUMPLE       624 15TH ST                                                                              BEDFORD         IN 47421‐3806
MS JUDITH E NIEDJELSKI   137 W LONGFELLOW AVE                                                                     PONTIAC         MI 48340‐1831
MS JUDITH E STEVENS      106 W TENNYSON AVE                                                                       PONTIAC         MI 48340‐2672
MS JUDITH K GILLIAM      1122 N ARMSTRONG ST                                                                      KOKOMO          IN 46901‐2822
MS JUDITH K MCWILLIAMS   1900 W 8TH ST                                                                            MUNCIE          IN 47302‐2183
MS JUDITH K MCWILLIAMS   1932 W 8TH ST                                                                            MUNCIE          IN 47302‐2183
MS JUDITH K MILLER       219 W RUTGERS AVE                                                                        PONTIAC         MI 48340‐2763
MS JUDITH KIMBALL        45 W ORVIS ST APT 1                                                                      MASSENA         NY 13662‐1854
MS JUDITH L MILLER       600 W NORTH ST                                                                           KOKOMO          IN 46901‐2750
MS JUDITH L PRIESTLEY    3805 LORRAINE AVE                                                                        FLINT           MI 48506‐4237
MS JUDITH L SMITH        115 N GRACE ST                                                                           LANSING         MI 48917‐2947
MS JUDITH L WISNE        4033 GRONDINWOOD LN                                                                      MILFORD         MI 48380‐4222
MS JUDITH LESSARD        179 LEGRANDE AVE                                                                         PONTIAC         MI 48342‐1137
MS JUDITH M ANDRESS      60 W BEVERLY AVE                                                                         PONTIAC         MI 48340‐2616
MS JUDITH M DAUGHERTY    2054 STONE HOLLOW CT                                                                     BLOOMFIELD      MI 48304‐1074
MS JUDITH M JOHNSON      330 19TH ST SW                                                                           NAPLES          FL 34117‐3326
MS JUDITH M LEWIS        412 N GRACE ST                                                                           LANSING         MI 48917‐4910
MS JUDITH S DESTAFNEY    2607 SYLVAN AVE                                                                          WILMINGTON      DE 19805‐2344
MS JUDITH SOMMER         15 VENUS ROAD                                                                            SYOSSET         NY 11791
MS JUDY A BAKER          117 W RUTGERS AVE                                                                        PONTIAC         MI 48340‐2759
MS JUDY A JACKSON        11448 N SAGINAW ST                                                                       MOUNT MORRIS    MI 48458‐2068
MS JUDY A JOHNSON        1077 BRECKENRIDGE RD                                                                     BEDFORD         IN 47421‐1501
MS JUDY A REYNOLDS       207 N ST                                                                                 BEDFORD         IN 47421‐1709
MS JUDY A TURNER         1702 12TH ST                                                                             BEDFORD         IN 47421‐3106
MS JUDY A YATES          1421 O ST                                                                                BEDFORD         IN 47421‐3621
MS JUDY B TUBOLINO       2 RANSOM AVE                                                                             MASSENA         NY 13662‐1736
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MS JUDY BALKOUN           7057 ESTRELLE AVE                                                                    MOUNT MORRIS     MI 48458‐2152
MS JUDY C DIXON           993 FAIRVIEW AVE                                                                     PONTIAC          MI 48340‐2639
MS JUDY C GRIFFITH        5441 CHEVROLET BLVD APT A207                                                         CLEVELAND        OH 44130‐1486
MS JUDY C LACAILLE        614 W NORTH ST                                                                       KOKOMO           IN 46901‐2750
MS JUDY C SALGAT          4403 1/2 DAVISON RD LOT 1                                                            BURTON           MI 48509‐1400
MS JUDY CROSS             1405 N ST                                                                            BEDFORD          IN 47421‐3205
MS JUDY D PHILPOTT        1820 J ST                                                                            BEDFORD          IN 47421‐4241
MS JUDY E KOHN            1127 NUTANA BLVD                                                                     MOUNT MORRIS     MI 48458‐2116
MS JUDY E PERRY           509 W 6TH ST                                                                         MUNCIE           IN 47302‐3100
MS JUDY G DUNNINGTON      100 VANCE DR                                                                         FREDERICKSBRG    VA 22408‐2034
MS JUDY HERVEY            605 WARREN ST                                                                        FLINT            MI 48505‐4300
MS JUDY K TODD            214 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1615
MS JUDY L CHANH           483 W COLUMBIA AVE APT 214                                                           PONTIAC          MI 48340‐1644
MS JUDY L GORDON          2044 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1750
MS JUDY L KIKER           11303 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2038
MS JUDY L STATON          709 LIVINGSTON AVE                                                                   PONTIAC          MI 48340‐2446
MS JUDY M DANIELS         1103 COLLINS AVE                                                                     MOUNT MORRIS     MI 48458‐2102
MS JUDY MACARTHUR         2259 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2440
MS JUDY MCCOY             3386 VINEWOOD ST                                                                     DETROIT          MI 48208‐2361
MS JUDY O LEARY           57 BRIDGES AVE                                                                       MASSENA          NY 13662‐1855
MS JUDY R LOCY            51 GROVE ST                                                                          MASSENA          NY 13662‐2129
MS JUDY RALSTIN           135 W MORGAN ST                                                                      KOKOMO           IN 46901‐2254
MS JULEIGH M BEASLEY      1404 17TH ST                                                                         BEDFORD          IN 47421‐4102
MS JULIA A EMENY          483 W COLUMBIA AVE APT 113                                                           PONTIAC          MI 48340‐1644
MS JULIA A ENYART         593 RAWLINS MILL RD                                                                  BEDFORD          IN 47421‐7650
MS JULIA A FITZGERALD     1105 KELLOGG AVE TRLR B13                                                            JANESVILLE       WI 53546‐6087
MS JULIA A FORD           1709 N ST                                                                            BEDFORD          IN 47421‐4113
MS JULIA A SOWDER         1418 14TH ST                                                                         BEDFORD          IN 47421‐3233
MS JULIA A VAUGHN         9834 JOAN CIR                                                                        YPSILANTI        MI 48197‐6907
MS JULIA C BROWN          856 EMERSON AVE                                                                      PONTIAC          MI 48340‐3225
MS JULIA CERDA            4835 PLUMER ST                                                                       DETROIT          MI 48209‐1356
MS JULIA H LUCAS          1116 M ST                                                                            BEDFORD          IN 47421‐2929
MS JULIA L KIPP           2112 SAVOY AVE                                                                       BURTON           MI 48529‐2174
MS JULIA M LINDSAY        1172 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MS JULIA R MEREDITH       126 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1873
MS JULIE A BEASON         2121 N MARKET ST                                                                     KOKOMO           IN 46901‐1450
MS JULIE A BREIDENSTEIN   2202 S ORCHARD ST                                                                    JANESVILLE       WI 53546‐5967
MS JULIE A BUTLER         4220 PEERLESS RD                                                                     BEDFORD          IN 47421‐8114
MS JULIE A DAVIS          1707 12TH ST                                                                         BEDFORD          IN 47421‐3105
MS JULIE A DUNCAN         301 E NORTH ST                                                                       KOKOMO           IN 46901‐2956
MS JULIE A GLOVER         873 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2327
MS JULIE A TRIPP          2092 WILMAR ST                                                                       BURTON           MI 48509‐1122
MS JULIE A VALLIER        610 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2988
MS JULIE A YOUNG          109 BROOKLAND DR                                                                     SYRACUSE         NY 13208‐3212
MS JULIE C JOHNSON        1419 Q ST                                                                            BEDFORD          IN 47421‐3640
MS JULIE D HOLKEBOER      720 PALMER DR                                                                        PONTIAC          MI 48342‐1857
MS JULIE D PAUL           2236 E MCLEAN AVE                                                                    BURTON           MI 48529‐1742
MS JULIE E GRANT          735 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1307
MS JULIE E KANDLER        9866 CHARLOTTE CT                                                                    YPSILANTI        MI 48197‐6998
MS JULIE HEAD             1705 W 8TH ST                                                                        MUNCIE           IN 47302‐2116
MS JULIE J HEWETSON       1318 14TH ST                                                                         BEDFORD          IN 47421‐3231
MS JULIE J RAPTIS         428 FOX HILLS DR S APT 1                                                             BLOOMFIELD       MI 48304‐1349
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MS JULIE K HOPPE         411 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1913
MS JULIE K MELL          328 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1667
MS JULIE M BAUMGARTNER   670 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1359
MS JULIE M DAVID         3841 LORRAINE AVE                                                                    FLINT            MI 48506‐4237
MS JULIE RUNYON          810 W 15TH ST                                                                        MUNCIE           IN 47302‐3062
MS JUNE C SMITH          1914 ROOT ST                                                                         FLINT            MI 48505‐4752
MS JUNE E COKER          200 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1834
MS JUNE G EDWARDS        1420 N ST                                                                            BEDFORD          IN 47421‐3240
MS JUNE G PHAIR          1459 E MCLEAN AVE                                                                    BURTON           MI 48529‐1613
MS JUNE L MEYER          4333 COLUMBINE AVE                                                                   BURTON           MI 48529‐2116
MS JUNE W SMITH          1022 LORENE AVE                                                                      MOUNT MORRIS     MI 48458‐2124
MS JUSTINA DREJAJ        28 SUBURBAN RD                                                                       CLARK            NJ 07066‐1244
MS K VANDERSYPEN         G4381 S SAGINAW ST                                                                   BURTON           MI 48529‐2068
MS KACINDA K PAYNE       12 LEANEE LN                                                                         PONTIAC          MI 48340‐1650
MS KAI LIU               628 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1304
MS KAILA M JUSTUS        2199 LANSING ST APT 201                                                              DETROIT          MI 48209‐2098
MS KAITLIN ESSICK        1010 18TH ST                                                                         BEDFORD          IN 47421‐4216
MS KALYANI R RAGHAVAN    692 ROLLING ROCK RD                                                                  BLOOMFIELD       MI 48304‐1055
MS KANCHAN KUMAR         11 BRACKETT RD # A                                                                   FRAMINGHAM       MA 01702‐8743
MS KANCHAN KUMAR         11A BRACKETT RD                                                                      FRAMINGHAM       MA 01702‐8743
MS KANDIS D GROLEAU      1243 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1737
MS KANIQUE J MORAND      6 LEANEE LN                                                                          PONTIAC          MI 48340‐1650
MS KANISHA T POWELL      1253 LIZA BLVD                                                                       PONTIAC          MI 48342‐1988
MS KARA L BOSER          416 FOX HILLS DR S APT 3                                                             BLOOMFIELD       MI 48304‐1347
MS KARA S MANSER         4297 COLUMBINE AVE                                                                   BURTON           MI 48529‐2432
MS KAREN A BULAT         5 E CONRAD DR                                                                        WILMINGTON       DE 19804‐2037
MS KAREN A CALLEJA       458 FOX HILLS DR N APT 5                                                             BLOOMFIELD       MI 48304‐1332
MS KAREN A HABURT        10650 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1370
MS KAREN A LAFRANCE      9 AARON ST                                                                           FRAMINGHAM       MA 01702‐8746
MS KAREN A WILLIAMS      1242 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1736
MS KAREN A WILLING       1508 EVERGREEN DR                                                                    JANESVILLE       WI 53546‐6179
MS KAREN BRAKE           2608 GLENDAS WAY                                                                     FREDERICKSBRG    VA 22408‐8071
MS KAREN D GILYARD       948 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3108
MS KAREN E CHAMBERS      2135 BRADY AVE                                                                       BURTON           MI 48529‐2426
MS KAREN E JUSTICE       2370 S TERRACE ST                                                                    JANESVILLE       WI 53546‐6209
MS KAREN E QUIN          67 TREGENT ST                                                                        PONTIAC          MI 48342‐1371
MS KAREN HERNANDEZ       4802 PLUMER ST                                                                       DETROIT          MI 48209‐1391
MS KAREN IOVINE          9 LAUREL AVE APT 605                                                                 MASSENA          NY 13662‐2058
MS KAREN K FRAELICH      3529 S RINIEL RD                                                                     DURAND           MI 48429‐9038
MS KAREN L BOWLING       5653 CHEVROLET BLVD APT 3                                                            CLEVELAND        OH 44130‐8712
MS KAREN L CHAFFIN       223 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2763
MS KAREN L FLEURY        9 BOWERS ST                                                                          MASSENA          NY 13662‐2104
MS KAREN L LACKNEY       1481 E MCLEAN AVE                                                                    BURTON           MI 48529‐1613
MS KAREN L LAUGHTON      2043 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2435
MS KAREN L PLEW          1028 LORENE AVE                                                                      MOUNT MORRIS     MI 48458‐2124
MS KAREN L SUMMERS       PO BOX 314                                                                           CONVERSE         IN 46919‐0314
MS KAREN L SWEGER        2231 E BUDER AVE                                                                     BURTON           MI 48529‐1735
MS KAREN M BARD          623 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MS KAREN M BORDEAU       1416 NATALIE DR                                                                      BURTON           MI 48529‐1616
MS KAREN M BRADLEY       1111 N ST                                                                            BEDFORD          IN 47421‐2934
MS KAREN M DEPERRO       29361 ELMIRA ST                                                                      LIVONIA          MI 48150‐3154
MS KAREN M DESHANO       625 BUENA VISTA ST APT 10                                                            MOUNT MORRIS     MI 48458‐1984
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Name                       Address1                       Address2            Address3         Address4         City           State Zip
MS KAREN M KUERBITZ        60 LEANEE LN                                                                         PONTIAC         MI 48340‐1650
MS KAREN MATHES            1224 9TH ST                                                                          BEDFORD         IN 47421‐2518
MS KAREN POMEROY           540 OAK ST                                                                           MOUNT MORRIS    MI 48458‐1933
MS KAREN R HAGGERTY        455 BEACH ST                                                                         MOUNT MORRIS    MI 48458‐1903
MS KAREN R TURNBULL        2084 E BUDER AVE                                                                     BURTON          MI 48529‐1732
MS KAREN RUBLE             405 I ST                                                                             BEDFORD         IN 47421‐2215
MS KAREN S FITCH           79 STEGMAN LN                                                                        PONTIAC         MI 48340‐1664
MS KAREN S HADSALL         4106 RISEDORPH ST                                                                    BURTON          MI 48509‐1042
MS KAREN S MIKUSAK         4819 TOLEDO ST                                                                       DETROIT         MI 48209‐1374
MS KAREN SMITH             1216 S MOUND ST                                                                      MUNCIE          IN 47302‐2222
MS KAREN STEWART           801 W 10TH ST                                                                        MUNCIE          IN 47302‐3185
MS KAREN TORRES            722 LIVINGSTON AVE                                                                   PONTIAC         MI 48340‐2445
MS KAREN U CARTER          53 KAREN CT                                                                          PONTIAC         MI 48340‐1638
MS KAREN W MARROQUIN       1038 LEWERENZ ST                                                                     DETROIT         MI 48209‐2243
MS KAREN Z ZIMLICH         346 OAK ST                                                                           MOUNT MORRIS    MI 48458‐1929
MS KARI A NIXON            1716 OAK ST                                                                          FLINT           MI 48503‐3810
MS KARI S FORESTER         1119 W PARKWOOD AVE                                                                  FLINT           MI 48507‐3631
MS KARINA M BAXTER         2112 BRADY AVE                                                                       BURTON          MI 48529‐2425
MS KARINA M JONES          4322 GREENLY ST                                                                      BURTON          MI 48529‐2081
MS KARISHA R NICHOLS       677 NEWMAN LN                                                                        PONTIAC         MI 48340‐3301
MS KARLA M WILLIAMS        1134 AMOS ST                                                                         PONTIAC         MI 48342‐1802
MS KARLA MALARK            207 E ORVIS ST                                                                       MASSENA         NY 13662‐2254
MS KARLA S FLYNN           50 N ALLEN ST APT 4                                                                  MASSENA         NY 13662‐2802
MS KARMEN CARUSO           1533 J ST                                                                            BEDFORD         IN 47421‐3839
MS KARMEN L GLASPY         2324 N ARMSTRONG ST                                                                  KOKOMO          IN 46901‐5873
MS KARON S BOWLIN          1543 TRAVIS DR                                                                       TOLEDO          OH 43612‐4036
MS KASSANDRA SCHIANO       1120 N WASHINGTON ST                                                                 KOKOMO          IN 46901‐2804
MS KASSIE A KEATON         2148 E BRISTOL RD                                                                    BURTON          MI 48529‐1321
MS KATALIN MAYER           130 BRYNFORD AVE                                                                     LANSING         MI 48917‐2922
MS KATE E WADSWORTH        2152 E JUDD RD                                                                       BURTON          MI 48529‐2405
MS KATE N STEDRY           3837 HOLLY AVE                                                                       FLINT           MI 48506‐3108
MS KATELYNN M SULAICA      1470 PAUL BLVD                                                                       LAKE ORION      MI 48362‐3741
MS KATHERINE BARRY         16 HIGHLAND AVE                                                                      MASSENA         NY 13662‐1737
MS KATHERINE E DANIELS     1153 CHESTNUT ST                                                                     PONTIAC         MI 48342‐1891
MS KATHERINE E HULLINGER   2325 N BUCKEYE ST                                                                    KOKOMO          IN 46901‐5876
MS KATHERINE J CLARK       770 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1306
MS KATHERINE JENKINS       790 W GRAND BLVD                                                                     DETROIT         MI 48216‐1003
MS KATHERINE L LOVE        1414 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2182
MS KATHERINE M HALTERMAN   776 MAE CT                                                                           PONTIAC         MI 48340‐2454
MS KATHERINE M IRMSCHER    497 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1309
MS KATHERINE M TRUDEAU     736 STANLEY ST                                                                       LANSING         MI 48915‐1364
MS KATHERINE S FINLEY      3339 MOUNT PLEASANT RD                                                               BEDFORD         IN 47421‐8048
MS KATHERINE T BARLETTA    407 1/2 W CHAMPLAIN AVE                                                              WILMINGTON      DE 19804‐2053
MS KATHI A LUCAS           9 LAUREL AVE APT 301                                                                 MASSENA         NY 13662‐2054
MS KATHI L GRAVES          239 W CORNELL AVE                                                                    PONTIAC         MI 48340‐2725
MS KATHLEEN A ABEL         1107 N ST                                                                            BEDFORD         IN 47421‐2934
MS KATHLEEN A CLARK        9873 JOAN CIR                                                                        YPSILANTI       MI 48197‐8295
MS KATHLEEN A EVANS        5697 CHEVROLET BLVD APT B207                                                         CLEVELAND       OH 44130‐8700
MS KATHLEEN A KAMM         310 F ST                                                                             BEDFORD         IN 47421‐2231
MS KATHLEEN A KAMM         643 RILEY BLVD                                                                       BEDFORD         IN 47421‐9337
MS KATHLEEN A KAMM         641 RILEY BLVD                                                                       BEDFORD         IN 47421‐9337
MS KATHLEEN A MARTHREL     610 E DAYTON ST                                                                      FLINT           MI 48505‐4327
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Name                           Address1                       Address2            Address3         Address4         City           State Zip
MS KATHLEEN A SERVISS          17 ROCKAWAY ST                                                                       MASSENA         NY 13662‐2111
MS KATHLEEN A SMITH            1314 N MORRISON ST                                                                   KOKOMO          IN 46901‐2760
MS KATHLEEN A STEPHAN          746 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1361
MS KATHLEEN A TROMBLEY         2104 KENNETH ST                                                                      BURTON          MI 48529‐1300
MS KATHLEEN D ARCHBALD         3433 LOCKWOOD ST                                                                     DETROIT         MI 48210‐0907
MS KATHLEEN E MCCARTHY         1112 W BURBANK AVE APT 207                                                           JANESVILLE      WI 53546‐6146
MS KATHLEEN HUSTON             159 CHERRY HILL DR                                                                   PONTIAC         MI 48340‐1609
MS KATHLEEN J BONEBRIGHT       4433 SANDHILL DR                                                                     JANESVILLE      WI 53546‐4421
MS KATHLEEN J JACKSON          483 WEYBRIDGE DR                                                                     BLOOMFIELD      MI 48304‐1079
MS KATHLEEN L DOWDELL          10680 RIVEREDGE DR                                                                   CLEVELAND       OH 44130‐1243
MS KATHLEEN L VANHECKE         2100 E BOATFIELD AVE                                                                 BURTON          MI 48529‐1714
MS KATHLEEN L WOLFE            2195 E BUDER AVE                                                                     BURTON          MI 48529‐1735
MS KATHLEEN M BURLISON         87 W YPSILANTI AVE                                                                   PONTIAC         MI 48340‐1869
MS KATHLEEN M DEMEULEMEESTER   501 WEYBRIDGE DR                                                                     BLOOMFIELD      MI 48304‐1081
MS KATHLEEN M IRISH            1036 E ELSTNER ST                                                                    MOUNT MORRIS    MI 48458‐2224
MS KATHLEEN M LEVERETTE        558 HARRIET ST                                                                       FLINT           MI 48505‐4753
MS KATHLEEN M MAXEY            727 WOODTOP RD                                                                       WILMINGTON      DE 19804‐2627
MS KATHLEEN M VAUGHN           1468 E BUDER AVE                                                                     BURTON          MI 48529‐1606
MS KATHLEEN M VITTONE          2347 S CHATHAM ST                                                                    JANESVILLE      WI 53546‐6152
MS KATHLEEN MUNSELL            420 FALLON LN                                                                        GREENFIELD      IN 46140‐3090
MS KATHLEEN R BARKER           413 BRYNFORD AVE                                                                     LANSING         MI 48917‐2996
MS KATHLEEN RODES              460 FOX HILLS DR S APT 7                                                             BLOOMFIELD      MI 48304‐1354
MS KATHLEEN S DAHL             192 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1842
MS KATHLEEN S DESHAIES         105 ANDREWS ST                                                                       MASSENA         NY 13662‐1840
MS KATHLEEN S MARTINEZ         2240 E WILLIAMSON ST                                                                 BURTON          MI 48529‐2446
MS KATHLEEN S MASON            19 ELM ST                                                                            MASSENA         NY 13662‐1827
MS KATHLEEN SMITH              1461 E WILLIAMSON ST                                                                 BURTON          MI 48529‐1627
MS KATHLEEN T MCGOWAN          304 BRIGHTON AVE                                                                     WILMINGTON      DE 19805‐2408
MS KATHLEEN TAYLOR             506 E DAYTON ST                                                                      FLINT           MI 48505‐4344
MS KATHLEEN TURNER             1306 F ST                                                                            BEDFORD         IN 47421‐3314
MS KATHRINE EAGLE              5581 CHEVROLET BLVD APT C20                                                          PARMA           OH 44130‐1403
MS KATHRYN A DAVIDSON          710 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1360
MS KATHRYN A HELTON            180 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1842
MS KATHRYN A MILLER            351 PENFIELD AVE                                                                     ELYRIA          OH 44035‐3236
MS KATHRYN A OLMSTEAD          304 N GRACE ST                                                                       LANSING         MI 48917‐2948
MS KATHRYN A SCHULTZ           6145 LAKE DR                                                                         YPSILANTI       MI 48197‐7053
MS KATHRYN CHOATE              1922 W 9TH ST                                                                        MUNCIE          IN 47302‐2123
MS KATHRYN D OAKLEY            633 N JACKSON ST                                                                     BEDFORD         IN 47421‐1531
MS KATHRYN E WHITTICO          236 W CORNELL AVE                                                                    PONTIAC         MI 48340‐2724
MS KATHRYN F SANDERS           1309 E PRINCETON AVE                                                                 FLINT           MI 48505‐1754
MS KATHRYN HORN                1425 W 13TH ST                                                                       MUNCIE          IN 47302‐2901
MS KATHRYN I MCDOUGALL         2259 E MCLEAN AVE                                                                    BURTON          MI 48529‐1778
MS KATHRYN J GRATON            172 WATER ST APT A                                                                   MASSENA         NY 13662‐3600
MS KATHRYN K GAMBLE            2080 CLARKDALE ST                                                                    DETROIT         MI 48209‐3911
MS KATHRYN L CASSEL            513 15TH ST                                                                          BEDFORD         IN 47421‐3803
MS KATHRYN L HASSETT           91 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2735
MS KATHY A COUGHLIN            202 E ORVIS ST                                                                       MASSENA         NY 13662‐2245
MS KATHY A MYERS               32119 GENESSEE ST                                                                    WESTLAND        MI 48186‐4783
MS KATHY A WILKINSON           2083 COVERT RD                                                                       BURTON          MI 48509‐1010
MS KATHY C JOHNSON             45 LEANEE LN                                                                         PONTIAC         MI 48340‐1651
MS KATHY D BROWN               2210 N WEBSTER ST                                                                    KOKOMO          IN 46901‐5860
MS KATHY F FORRESTER           1150 TERRY AVE                                                                       MOUNT MORRIS    MI 48458‐2567
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MS KATHY J PHILLIPS      602 N GRACE ST                                                                       LANSING          MI 48917‐4912
MS KATHY L JACKSON       284 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1738
MS KATHY NEWTON          1902 I ST                                                                            BEDFORD          IN 47421‐4652
MS KATHY R PERKINS       72 PARKER AVE                                                                        MASSENA          NY 13662‐2214
MS KATHY S WHITTENBURG   1620 W 6TH ST                                                                        MUNCIE           IN 47302‐2100
MS KATHY V LOR           713 LIVINGSTON AVE                                                                   PONTIAC          MI 48340‐2446
MS KATHY V LOR           7551 SPUGEON RD                                                                      JOPLIN           MO 64804‐8441
MS KATI DAUGHERITY       202 MIDDLE DR                                                                        YPSILANTI        MI 48197‐5310
MS KATIE BROOKS          1226 W 13TH ST                                                                       MUNCIE           IN 47302‐2900
MS KATIE J KVISTAD       2011 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐3905
MS KATIE L RACHAR        680 HELEN ST APT 1                                                                   MOUNT MORRIS     MI 48458‐2200
MS KATIE M PETTRY        5693 CHEVROLET BLVD                                                                  PARMA            OH 44130‐1494
MS KATIE R ADAMS         1233 E HAMILTON AVE                                                                  FLINT            MI 48506‐3210
MS KATINA L MCDONALD     673 NEWMAN LN                                                                        PONTIAC          MI 48340‐3301
MS KATLYN M HENLEY       585 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1940
MS KATRINA D BRADLEY     726 SPELLMAN DR                                                                      FLINT            MI 48503‐5228
MS KATRINA D STANLEY     3433 LOCKWOOD ST APT 2                                                               DETROIT          MI 48210‐0907
MS KATRINA J CEDAR       2000 DREXEL RD                                                                       LANSING          MI 48915‐1213
MS KATRINA KEYS          11005 COREYS WAY                                                                     FREDERICKSBRG    VA 22408‐2074
MS KATRINA M PHELPS      79 KAREN CT                                                                          PONTIAC          MI 48340‐1638
MS KATRINA MILLS         29 MELVIN LN                                                                         HOGANSBURG       NY 13655‐3142
MS KATRINA MOODY         1120 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1835
MS KATRINA WIGGAM        205 W ELM ST                                                                         KOKOMO           IN 46901‐2835
MS KATURA E WHITE        1113 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
MS KATY M EAREGOOD       1139 E PRINCETON AVE                                                                 FLINT            MI 48505‐1515
MS KAY A ANGER           1065 CLOVIS AVE                                                                      MOUNT MORRIS     MI 48458‐2503
MS KAY A CONVERSE        44 GROVE ST                                                                          MASSENA          NY 13662‐2126
MS KAY E BLISS           1714 ILLINOIS AVE                                                                    FLINT            MI 48506‐4337
MS KAY F DELONEY         740 WILBERFORCE DR                                                                   FLINT            MI 48503‐5236
MS KAY L ROBINSON        11007 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8075
MS KAY RODMAN            1702 11TH ST                                                                         BEDFORD          IN 47421‐2808
MS KAYE A DOUGLAS        22 CENTER ST                                                                         MASSENA          NY 13662‐1437
MS KAYLA J METRO         2030 KENNETH ST                                                                      BURTON           MI 48529‐1351
MS KAYLA PLUMP           689 NEWMAN LN                                                                        PONTIAC          MI 48340‐3302
MS KAYLEEN R THEODORE    3841 PITKIN AVE                                                                      FLINT            MI 48506‐4234
MS KAYLYN WELLMAN        11225 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2040
MS KEA L COLLIER         1256 AMOS ST                                                                         PONTIAC          MI 48342‐1804
MS KEEAH M HARGETT       2001 N CENTER RD APT 124                                                             FLINT            MI 48506‐3198
MS KEEMA D ALLEN         632 NEWMAN LN                                                                        PONTIAC          MI 48340‐3300
MS KEESHA D PFEIFFER     336 W IROQUOIS RD                                                                    PONTIAC          MI 48341‐1537
MS KEIONNA S SMITH       4307 TOLEDO ST                                                                       DETROIT          MI 48209‐1366
MS KEISHA L BRANNER      43 STEGMAN LN                                                                        PONTIAC          MI 48340‐1662
MS KEISHA L HAMMETT      606 E PATERSON ST                                                                    FLINT            MI 48505‐4744
MS KELECHI A EJIKE       616 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1304
MS KELLI A CAVANAUGH     365 SUMMER RD                                                                        EAST BOSTON      MA 02128
MS KELLI A JEFFERS       1925 W 9TH ST                                                                        MUNCIE           IN 47302‐2124
MS KELLI K HOBBINS       3442 W SAGINAW ST                                                                    LANSING          MI 48917‐2203
MS KELLI MCKNIGHT        1313 4TH ST                                                                          BEDFORD          IN 47421‐1820
MS KELLIE J BELL         351 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1901
MS KELLY A BRUMLEY       1462 E BUDER AVE                                                                     BURTON           MI 48529‐1606
MS KELLY A HUNTINGTON    5601 CHEVROLET BLVD APT C307                                                         PARMA            OH 44130‐1480
MS KELLY A KURAS         480 FOX HILLS DR N APT 3                                                             BLOOMFIELD       MI 48304‐1335
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MS KELLY A MCFARLAN      2236 E SCOTTWOOD AVE                                                                 BURTON           MI 48529‐1754
MS KELLY A MOLLET        1209 15TH ST                                                                         BEDFORD          IN 47421‐3701
MS KELLY A WOJTON        11250 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1333
MS KELLY A WOOD          307 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2910
MS KELLY CERVATES        93 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2757
MS KELLY D GOODALE       682 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1360
MS KELLY D SEATON        2087 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1763
MS KELLY F FOUST         2079 E BERGIN AVE                                                                    BURTON           MI 48529‐1701
MS KELLY J LESSIG        226 M ST                                                                             BEDFORD          IN 47421‐1815
MS KELLY JOHNSON         643 RILEY BLVD APT A                                                                 BEDFORD          IN 47421‐9337
MS KELLY K AVERILL       3278 W WILSON RD                                                                     CLIO             MI 48420‐1957
MS KELLY KIMBREU         311 W YALE AVE                                                                       PONTIAC          MI 48340‐1754
MS KELLY L ARMS          602 BECKER AVE                                                                       WILMINGTON       DE 19804‐2106
MS KELLY L COFFMAN       906 BON AIR RD                                                                       LANSING          MI 48917‐2369
MS KELLY L STRUDER       11009 N SAGINAW ST APT 5                                                             MOUNT MORRIS     MI 48458‐2029
MS KELLY L TANNER        814 W JEFFERSON ST                                                                   KOKOMO           IN 46901‐4349
MS KELLY M DENNINGS      4403 1/2 DAVISON RD LOT 6                                                            BURTON           MI 48509‐1400
MS KELLY M LEE           211 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1835
MS KELLY M LEE           1163 AMOS ST                                                                         PONTIAC          MI 48342‐1803
MS KELLY M MOLLARD       5503 ALEXANDER RD                                                                    CLEVELAND        OH 44130‐1323
MS KELLY M ULMER         845 BLAINE AVE                                                                       PONTIAC          MI 48340‐2409
MS KELLY PIATT           12948 S US ROUTE 31 TRLR 92                                                          KOKOMO           IN 46901‐6045
MS KELLY S BOLINGER      1235 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2921
MS KELLY S PERRY         260 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2778
MS KELLY S SNODDY        120 BROOKE DR                                                                        FREDERICKSBRG    VA 22408‐2002
MS KELLY S STOUGH        1924 W 11TH ST                                                                       MUNCIE           IN 47302‐2153
MS KELLY WALKER          918 W MEMORIAL DR                                                                    MUNCIE           IN 47302‐7629
MS KELSEY M WINDSOR      2152 CONNELL ST                                                                      BURTON           MI 48529‐1335
MS KELSEY N VANWAGONER   23 UNIVERSITY PLACE DR                                                               PONTIAC          MI 48342‐1881
MS KENDRA ANDERSON       900 W 5TH ST                                                                         MUNCIE           IN 47302‐2233
MS KENDRA D LEWIS        63 W HOPKINS AVE                                                                     PONTIAC          MI 48340‐1817
MS KENDRA M DELANEY      2141 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1713
MS KENITA D WILLIAMS     691 NEWMAN LN                                                                        PONTIAC          MI 48340‐3302
MS KENITRIA U JOHNSON    847 SARASOTA AVE                                                                     PONTIAC          MI 48340‐2369
MS KENNA A WILLARD       2317 CENTER AVE                                                                      JANESVILLE       WI 53546‐8959
MS KENNA R GAY           PO BOX 63                                                                            SILVERTHORNE     CO 80498‐0063
MS KENYA D BURKETT       590 LANCASTER LN                                                                     PONTIAC          MI 48342‐1849
MS KENYA L REDDIC        1710 WILBERFORCE CIR                                                                 FLINT            MI 48503‐5242
MS KENYADA A HUMPHREY    982 DEWEY ST                                                                         PONTIAC          MI 48340‐2634
MS KENYATTA DAVIS        92 EUCLID AVE                                                                        PONTIAC          MI 48342‐1112
MS KENYUA P WHITFIELD    827 GLENDALE AVE                                                                     PONTIAC          MI 48341‐1514
MS KERRI MILLER          25 E ANN ARBOR AVE                                                                   PONTIAC          MI 48340‐1901
MS KERRIE L HOLLEY       5699 CHEVROLET BLVD APT B303                                                         PARMA            OH 44130‐8719
MS KERRY A CHAVEZ        155 SUMMIT ST                                                                        PONTIAC          MI 48342‐1167
MS KERRY A GILBERT       2114 MORRIS AVE                                                                      BURTON           MI 48529‐2105
MS KERRY D MEADOWS       2799 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8043
MS KESHA N WEBB          1310 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2181
MS KEYA S JONES          468 FOX HILLS DR S APT 7                                                             BLOOMFIELD       MI 48304‐1355
MS KEYONNA D ELLISON     768 NEWMAN LN                                                                        PONTIAC          MI 48340‐3304
MS KHANISHA T HAMMOND    370 W HOPKINS AVE APT 305                                                            PONTIAC          MI 48340‐1762
MS KHARA A STERN         2035 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2435
MS KIA L KOCHERT         937 E NORTH ST                                                                       KOKOMO           IN 46901‐3149
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Name                      Address1                       Address2          Address3         Address4         City            State Zip
MS KIA L LOR              316 W PRINCETON AVE                                                                PONTIAC          MI 48340‐1740
MS KIERRA K BUGGS         2001 N CENTER RD APT 202                                                           FLINT            MI 48506‐3182
MS KIERSTEN WHEELOCK      1509 Q ST                                                                          BEDFORD          IN 47421‐3626
MS KIESHA BELLAFANT       1713 BRISTOL COURT DR                                                              MOUNT MORRIS     MI 48458‐2185
MS KIESHA L MCFADDEN      1690 S HILL BLVD                                                                   BLOOMFIELD       MI 48304‐1131
MS KIESHA M MUNN          698 KINNEY RD                                                                      PONTIAC          MI 48340‐2435
MS KIM D BROWN            1396 BYNAN LN APT G208                                                             PONTIAC          MI 48340‐2180
MS KIM E KUSCHEL          227 N ROSEMARY ST                                                                  LANSING          MI 48917‐4914
MS KIM GIRODANO           93 CAMPBELL BAY RD                                                                 SWANTON          VT 05488‐8152
MS KIM K EAGANS           1107 10TH ST                                                                       BEDFORD          IN 47421‐2525
MS KIM L LINDSTROM        441 FOX HILLS DR N                                                                 BLOOMFIELD       MI 48304‐1309
MS KIM M TUBBS            660 EMERSON AVE                                                                    PONTIAC          MI 48340‐3217
MS KIM MALLORY            15 UNIVERSITY PLACE DR                                                             PONTIAC          MI 48342‐1880
MS KIM P LEONARD          9971 JOAN CIR                                                                      YPSILANTI        MI 48197‐6903
MS KIM SIMMONS            195 W KENNETT RD APT 109                                                           PONTIAC          MI 48340‐2682
MS KIM SUMMITT            1928 W 9TH ST                                                                      MUNCIE           IN 47302‐2123
MS KIM Y ELLIOTT          2135 HUBBARD ST APT 14                                                             DETROIT          MI 48209‐3320
MS KIM Y MARKS‐RYBARZ     66 UNIVERSITY PLACE DR                                                             PONTIAC          MI 48342‐1887
MS KIM Y RYBARZ           1124 AMOS ST                                                                       PONTIAC          MI 48342‐1802
MS KIMBERLY A AL‐JUHAIM   4261 BRANDON ST                                                                    DETROIT          MI 48209‐1331
MS KIMBERLY A CRAIN       1522 KELLOGG AVE                                                                   JANESVILLE       WI 53546‐6024
MS KIMBERLY A CUMMINGS    3511 CEDAR LOOP                                                                    CLARKSTON        MI 48348‐1318
MS KIMBERLY A CUMMINGS    804 MONTICELLO AVE                                                                 PONTIAC          MI 48340‐2324
MS KIMBERLY A DAVIS       614 BON AIR RD                                                                     LANSING          MI 48917‐2983
MS KIMBERLY A DOUGLAS     208 W RUTGERS AVE                                                                  PONTIAC          MI 48340‐2762
MS KIMBERLY A EAKES       4083 WOODROW AVE                                                                   BURTON           MI 48509‐1050
MS KIMBERLY A FROST       1431 E SCHUMACHER ST                                                               BURTON           MI 48529‐1619
MS KIMBERLY A GRIFFITHS   303 BRIGHTON AVE                                                                   WILMINGTON       DE 19805‐2407
MS KIMBERLY A HOULE       504 HOLLIS ST                                                                      FRAMINGHAM       MA 01702‐8645
MS KIMBERLY A OSTRANDER   129 N GRACE ST                                                                     LANSING          MI 48917‐2947
MS KIMBERLY A PHILLIPS    1540 LILLIAN RD                                                                    STOW             OH 44224‐2535
MS KIMBERLY A PREVO       1405 BRADY AVE                                                                     BURTON           MI 48529‐2009
MS KIMBERLY A SPARROW     11812 HALLER ST                                                                    LIVONIA          MI 48150‐2372
MS KIMBERLY A STOCKER     5538 ABRAHAM AVE                                                                   CLEVELAND        OH 44130‐1318
MS KIMBERLY A TAYLOR      61 SUMMIT ST                                                                       PONTIAC          MI 48342‐1163
MS KIMBERLY A VARNER      252 THE WOODS                                                                      BEDFORD          IN 47421‐9377
MS KIMBERLY A WATTS       5677 CHEVROLET BLVD APT 6                                                          CLEVELAND        OH 44130‐8716
MS KIMBERLY C HACK        154 PINGREE AVE                                                                    PONTIAC          MI 48342‐1157
MS KIMBERLY D ANNORH      597 NEVADA AVE                                                                     PONTIAC          MI 48341‐2554
MS KIMBERLY D MCFARLAND   1135 OAK HOLLOW DR                                                                 MILFORD          MI 48380‐4258
MS KIMBERLY D WELLS       521 PAGE ST                                                                        FLINT            MI 48505‐4733
MS KIMBERLY E SHELBY      1397 ALLEN ST                                                                      BURTON           MI 48529‐1203
MS KIMBERLY ELLISON       1901 W KILGORE AVE                                                                 MUNCIE           IN 47304‐4926
MS KIMBERLY GRANDISON     370 W HOPKINS AVE APT 107                                                          PONTIAC          MI 48340‐1760
MS KIMBERLY HARLOW        2406 E 8TH ST                                                                      MUNCIE           IN 47302‐3802
MS KIMBERLY J ELIAS       10815 STACY RUN                                                                    FREDERICKSBRG    VA 22408‐8040
MS KIMBERLY J FLOYD       1827 H ST                                                                          BEDFORD          IN 47421‐4219
MS KIMBERLY J KOSAK       708 E FOX HILLS DR                                                                 BLOOMFIELD       MI 48304‐1360
MS KIMBERLY J ROBERTS     210 WALNUT HEIGHTS RD                                                              BEDFORD          IN 47421‐8169
MS KIMBERLY J WATSON      324 BAILEY SCALES RD                                                               BEDFORD          IN 47421‐9393
MS KIMBERLY K WHITCOMB    1040 E MOUNT MORRIS ST APT 3                                                       MOUNT MORRIS     MI 48458‐2073
MS KIMBERLY L LOREN       118 N DEERFIELD AVE                                                                LANSING          MI 48917‐2984
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Name                             Address1                           Address2            Address3         Address4         City            State Zip
MS KIMBERLY L MCGEE              2036 CLARK ST                                                                            DETROIT          MI 48209‐1669
MS KIMBERLY L PALFALVI           9951 JOAN CIR                                                                            YPSILANTI        MI 48197‐6904
MS KIMBERLY L TALCOTT            131 ANDREWS ST APT 3                                                                     MASSENA          NY 13662‐1850
MS KIMBERLY M DAVIS              628 LANCASTER LN                                                                         PONTIAC          MI 48342‐1851
MS KIMBERLY M MARTINE            407 1/2 W CHAMPLAIN AVE                                                                  WILMINGTON       DE 19804‐2053
MS KIMBERLY M MULLEN             201 W SHEFFIELD AVE                                                                      PONTIAC          MI 48340‐1855
MS KIMBERLY M MULLINS            5900 BRIDGE RD APT 206                                                                   YPSILANTI        MI 48197‐7011
MS KIMBERLY PEPPER               1611 BRISTOL COURT DR                                                                    MOUNT MORRIS     MI 48458‐2184
MS KIMBERLY R AUSTEN             1042 W ELSTNER ST                                                                        MOUNT MORRIS     MI 48458‐2104
MS KIMBERLY R KALE               602 BOXWOOD RD                                                                           WILMINGTON       DE 19804‐2011
MS KIMBERLY S ADAMS              804 W MEMORIAL DR                                                                        MUNCIE           IN 47302‐7627
MS KIMBERLY S BARNES             926 LINCOLN AVE                                                                          BEDFORD          IN 47421‐2538
MS KIMBERLY S BEACH              2073 MORRIS AVE                                                                          BURTON           MI 48529‐2156
MS KIMBERLY S WALKER             1701 S GOYER RD                                                                          KOKOMO           IN 46902‐2732
MS KIMBERLY SIBLEY               3802 IVANHOE AVE                                                                         FLINT            MI 48506‐4240
MS KIMBERLY SIBLEY               3828 DAVISON RD                                                                          FLINT            MI 48506‐4208
MS KIMBERLY SIBLEY               3816 DAVISON RD                                                                          FLINT            MI 48506‐4208
MS KIMBERLY SIMPSON              941 DEWEY ST                                                                             PONTIAC          MI 48340‐2512
MS KIMBERLY THOMPSON             287 FLORAWOOD BLVD                                                                       WATERFORD        MI 48327‐2430
MS KIMBERLY WALKER               471 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐1622
MS KIMBERLY Y WHITE              1129 CLOVERLAWN DR                                                                       PONTIAC          MI 48340‐1615
MS KINDA A PALMER                433 FOX HILLS DR S APT 4                                                                 BLOOMFIELD       MI 48304‐1350
MS KINYATTA MULLEN               578 E FOX HILLS DR                                                                       BLOOMFIELD       MI 48304‐1312
MS KIRA WICKINGS                 2716 STEWARD CT                                                                          HIGHLAND         MI 48357‐3784
MS KIRSTY STEVENS                2004 DREXEL RD                                                                           LANSING          MI 48915‐1213
MS KITTY CHEWNING                11217 TIDEWATER TRL                                                                      FREDERICKSBRG    VA 22408‐2040
MS KIWANEE A WILLIAMS            731 KENILWORTH AVE                                                                       PONTIAC          MI 48340‐3241
MS KLARA M PETERSSON             204 W PRINCETON AVE                                                                      PONTIAC          MI 48340‐1844
MS KLORETTA A JOHNSON            2144 PALMS ST                                                                            DETROIT          MI 48209‐1665
MS KLYNN L KLIER                 300 S MAIN ST APT 338                                                                    DAVISON          MI 48423‐1635
MS KONICA C BURKNETT             493 KUHN ST                                                                              PONTIAC          MI 48342‐1943
MS KORRINA M ROBINSON            11602 CHURCH ST                                                                          MOUNT MORRIS     MI 48458‐2017
MS KORTNEY L BRISBON             1212 AMOS ST                                                                             PONTIAC          MI 48342‐1804
MS KRISTAL ARENDALL              2039 E SCOTTWOOD AVE                                                                     BURTON           MI 48529‐1749
MS KRISTALEE I FELIZ             3370 GOLDNER ST                                                                          DETROIT          MI 48210‐3271
MS KRISTEN A THOMPSON            790 CORWIN CT                                                                            PONTIAC          MI 48340‐2414
MS KRISTEN L ZAWASKI             426 FOX HILLS DR N APT 8                                                                 BLOOMFIELD       MI 48304‐1326
MS KRISTEN M LETT                10 ROCKAWAY ST                                                                           MASSENA          NY 13662‐2109
MS KRISTEN R NEMETH              401 S WOODWARD AVE                                                                       WILMINGTON       DE 19805‐2362
MS KRISTEN WALSH                 105 BROOKLAND DR                                                                         SYRACUSE         NY 13208‐3212
MS KRISTI L WEAVER               1816 W 10TH ST                                                                           MUNCIE           IN 47302‐6607
MS KRISTI LESTER                 1318 10TH ST                                                                             BEDFORD          IN 47421‐2530
MS KRISTI M COMSTOCK             208 W STRATHMORE AVE                                                                     PONTIAC          MI 48340‐2778
MS KRISTIANA M VALDEZ            82 W CORNELL AVE                                                                         PONTIAC          MI 48340‐2718
MS KRISTIE L JEWELL              1312 N MARKET ST                                                                         KOKOMO           IN 46901‐2372
MS KRISTIE L JORDAN              163 LEGRANDE AVE                                                                         PONTIAC          MI 48342‐1137
MS KRISTIN M WINTIN              1305 11TH ST                                                                             BEDFORD          IN 47421‐2912
MS KRISTINA L VICKERY            24 W LONGFELLOW AVE                                                                      PONTIAC          MI 48340‐1826
MS KRISTINA M GARICA‐HERNANDEZ   731 BLAINE AVE                                                                           PONTIAC          MI 48340‐2401
MS KRISTINA SHAW                 1106 17TH ST                                                                             BEDFORD          IN 47421‐4295
MS KRISTINA STERNER              11240 BROOKPARK RD                                                                       CLEVELAND        OH 44130‐1127
MS KRISTINE A TERRY              17 HIGHLAND AVE                                                                          MASSENA          NY 13662‐1823
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MS KRISTINE E POEPPEL     2018 ARBUTUS ST                                                                      JANESVILLE      WI 53546‐6157
MS KRISTINE K MORRISSEY   562 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1312
MS KRISTINE L KASH        1022 LINCOLN AVE                                                                     BEDFORD         IN 47421‐2923
MS KRISTINE M DUROCHER    765 CAMERON AVE                                                                      PONTIAC         MI 48340‐3207
MS KRISTY L BUCKLEY       2775 ACORN RD                                                                        BLOOMFIELD      MI 48302‐1001
MS KRISTY L FORGETTE      1471 BRADY AVE                                                                       BURTON          MI 48529‐2011
MS KRYSTAL GARCIA         3800 LOVETT ST APT B                                                                 DETROIT         MI 48210‐3179
MS KRYSTAL J WILCOX       1207 DOWAGIAC AVE                                                                    MOUNT MORRIS    MI 48458‐2577
MS KRYSTAL K SOWDERS      16 KNOB CREEK RD                                                                     HELTONVILLE     IN 47436‐8509
MS KRYSTAL L MORIN        1010 E BOULEVARD DR                                                                  FLINT           MI 48503‐1812
MS KRYSTAL R GOSS         2065 WEBBER AVE                                                                      BURTON          MI 48529‐2411
MS KRYSTAL R SMITH        2270 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2441
MS KRYSTLE L BURGOYNE     34 PARKER AVE                                                                        MASSENA         NY 13662‐2215
MS KURSTON M CONGDON      1814 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2186
MS KUTASSHIA K WILSON     28 PUTNAM AVE                                                                        PONTIAC         MI 48342‐1261
MS KWEONA M WILSON        1501 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2183
MS KYLIE HAWLEY           4000 WESTBROOK DR APT 510                                                            CLEVELAND       OH 44144‐1251
MS KYMBERLY A KISSER      753 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1343
MS L ALLEN                723 NEWMAN LN                                                                        PONTIAC         MI 48340‐3305
MS LA D MOTE              1514 N MARKET ST                                                                     KOKOMO          IN 46901‐2370
MS LACEY D KRZESZEWSKI    1501 BRADY AVE                                                                       BURTON          MI 48529‐2011
MS LACHELLE D SINGLETON   1705 POLLY ST                                                                        FLINT           MI 48505‐2411
MS LACONDA R HOLMAN       3085 ROOSEVELT ST                                                                    DETROIT         MI 48216‐1019
MS LADAWN N JONES         1123 BROOKE PARK DR                                                                  TOLEDO          OH 43612‐4217
MS LADETRA A BRIDGES      2976 25TH ST                                                                         DETROIT         MI 48216‐1002
MS LAFARAN S FRAZIER      519 SCHAFFER AVE APT B8                                                              SYRACUSE        NY 13206‐1570
MS LAFONDRA HIGH          724 PALMER DR                                                                        PONTIAC         MI 48342‐1857
MS LAJOYCE J TABRON       816 TULANE DR                                                                        FLINT           MI 48503‐5253
MS LAKEISHA M UNDERWOOD   40 PUTNAM AVE APT 1                                                                  PONTIAC         MI 48342‐1261
MS LAKENYA D KEYES        146 CHARLES LN                                                                       PONTIAC         MI 48341‐2927
MS LAKESHA PINR           98 HUDSON AVE                                                                        PONTIAC         MI 48342‐1245
MS LAKESHIA L HARDIE      92 PURDUE ST                                                                         AUBURN HILLS    MI 48326‐3045
MS LAKIA BRADLEY          676 NEWMAN LN                                                                        PONTIAC         MI 48340‐3300
MS LAKIESHA T TERRY       650 NEWMAN LN                                                                        PONTIAC         MI 48340‐3300
MS LAKIEYA M GOODE        81 LEANEE LN                                                                         PONTIAC         MI 48340‐1651
MS LAKISHA D KELLAM       11 KAREN CT                                                                          PONTIAC         MI 48340‐1634
MS LAKISHA MARYLAND       3650 30TH ST                                                                         DETROIT         MI 48210‐3112
MS LALA L HINOJOSA        126 W TENNYSON AVE                                                                   PONTIAC         MI 48340‐2672
MS LALANI W JAYASURIYA    755 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1343
MS LAMONA GRIFFIN         134 CHERRY HILL DR                                                                   PONTIAC         MI 48340‐1608
MS LANA G MORGAN          1218 M ST                                                                            BEDFORD         IN 47421‐2931
MS LANA J THOMASTON       1275 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1708
MS LANA L EICLES          1222 9TH ST                                                                          BEDFORD         IN 47421‐2518
MS LANEKO R ROBERTSON     672 PALMER DR                                                                        PONTIAC         MI 48342‐1854
MS LANITA G GOINS         1416 W 11TH ST                                                                       MUNCIE          IN 47302‐2171
MS LANITA S SCHMIDT       1508 N WABASH AVE                                                                    KOKOMO          IN 46901‐2011
MS LAQUANDA A HOLLINS     610 STIRLING ST                                                                      PONTIAC         MI 48340‐3168
MS LAQUINTA HUMPHREY      130 HUDSON AVE                                                                       PONTIAC         MI 48342‐1129
MS LARASHIA J JONES       4114 TRUMBULL AVE                                                                    FLINT           MI 48504‐2170
MS LARHONDA M CROCKET     1513 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2183
MS LARISSA J MALONE       37 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1882
MS LARRETA L WHITE        738 NEWMAN LN                                                                        PONTIAC         MI 48340‐3304
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MS LASHAELA T CLAYTON       1308 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2181
MS LASHAWN D GOINS          2827 HARWICK DR APT 5                                                                LANSING          MI 48917‐2352
MS LASHAWN M HAYES          14 KAREN CT                                                                          PONTIAC          MI 48340‐1633
MS LASHAWNDA R OSLEY        46 SALLEE LN                                                                         PONTIAC          MI 48340‐1655
MS LASHAWNDA T WILLIAMS     1125 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
MS LASHAWNDALA R GRIFFIN    5900 BRIDGE RD APT 314                                                               YPSILANTI        MI 48197‐7009
MS LASHAY BLANCHARD         5721 CHEVROLET BLVD                                                                  CLEVELAND        OH 44130‐1495
MS LASHAY JENKINS           1210 KING ST                                                                         JANESVILLE       WI 53546‐6058
MS LASHAYE R TAYLOR         3545 ROOSEVELT ST                                                                    DETROIT          MI 48208‐2356
MS LASHEA D LAW             5641 CHEVROLET BLVD APT 5                                                            PARMA            OH 44130‐8710
MS LASHINTAE E STEVERSON    50 SUMMIT ST                                                                         PONTIAC          MI 48342‐1162
MS LASHONDA R SINGLETON     5701 CHEVROLET BLVD APT C317                                                         PARMA            OH 44130‐1413
MS LASONYA R FOY            5900 BRIDGE RD APT 107                                                               YPSILANTI        MI 48197‐7010
MS LASONYA T TAYLOR         734 NEWMAN LN                                                                        PONTIAC          MI 48340‐3304
MS LATANYA D POPE           2001 N CENTER RD APT 212                                                             FLINT            MI 48506‐3182
MS LATASHA JERNAGIN         704 NEWMAN LN                                                                        PONTIAC          MI 48340‐3304
MS LATASHA L ANDERSON       748 STANLEY AVE                                                                      PONTIAC          MI 48340‐2473
MS LATASHA M SHEELY         1228 E HARVARD AVE                                                                   FLINT            MI 48505‐1759
MS LATASHA M SUMMERS        5623 CHEVROLET BLVD APT 5                                                            CLEVELAND        OH 44130‐8707
MS LATASHA N PAULING        524 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1602
MS LATEISHA L BRISBANE      2199 LANSING ST APT 206                                                              DETROIT          MI 48209‐2099
MS LATICE BOOKER            721 WILBERFORCE LN                                                                   FLINT            MI 48503‐5240
MS LATISHA A BATES          682 NEWMAN LN                                                                        PONTIAC          MI 48340‐3300
MS LATOYA J MORRIS          558 LANCASTER LN                                                                     PONTIAC          MI 48342‐1848
MS LATOYA L HATHORN         30 KAREN CT                                                                          PONTIAC          MI 48340‐1635
MS LATOYA M BELL            747 NEWMAN LN                                                                        PONTIAC          MI 48340‐3306
MS LATOYA M TAYLOR          370 W HOPKINS AVE APT 307                                                            PONTIAC          MI 48340‐1762
MS LATOYA N CLABON          2700 SHIMMONS RD LOT 123                                                             AUBURN HILLS     MI 48326‐2046
MS LATOYA S ROBERTS         1147 AMOS ST                                                                         PONTIAC          MI 48342‐1803
MS LATOYIA T WILLIAMS       113 CHARLES LN                                                                       PONTIAC          MI 48341‐2928
MS LATRENA T ROSS           1118 NUTANA BLVD                                                                     MOUNT MORRIS     MI 48458‐2134
MS LATRICE R CHATMAN        1230 AMOS ST                                                                         PONTIAC          MI 48342‐1804
MS LATRINA A TAYLOR‐JOLLY   9302 DEXTER AVE # 1                                                                  DETROIT          MI 48206‐1810
MS LATRINA MABIN            454 CESAR E CHAVEZ AVE                                                               PONTIAC          MI 48342‐1051
MS LATRISHA A ALEXANDER     634 NEWMAN LN                                                                        PONTIAC          MI 48340‐3300
MS LATRISHA D HULL          500 FOX HILLS DR N APT 7                                                             BLOOMFIELD       MI 48304‐1339
MS LATWANA L COLLINS        668 PALMER DR                                                                        PONTIAC          MI 48342‐1854
MS LAUPA D SHAW             1427 14TH ST                                                                         BEDFORD          IN 47421‐3232
MS LAURA A CARTWRIGHT       29 W RUTGERS AVE                                                                     PONTIAC          MI 48340‐2755
MS LAURA A DROWN            1439 W 13TH ST                                                                       MUNCIE           IN 47302‐2901
MS LAURA A KILPATRICK       784 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1306
MS LAURA A MCLONE           10946 E LANSING RD                                                                   DURAND           MI 48429‐1822
MS LAURA A SINGLETON        468 FOX HILLS DR S APT 4                                                             BLOOMFIELD       MI 48304‐1355
MS LAURA B MILLER           11180 KAREN ST                                                                       LIVONIA          MI 48150‐3145
MS LAURA C ASHER            2159 HUBBARD ST                                                                      DETROIT          MI 48209‐3329
MS LAURA C BOWDEN           1112 LINCOLN AVE                                                                     BEDFORD          IN 47421‐2925
MS LAURA CATT               2200 N WEBSTER ST                                                                    KOKOMO           IN 46901‐5860
MS LAURA D ZIEGLER          2917 HARWICK DR APT 9                                                                LANSING          MI 48917‐2357
MS LAURA DEVERA             18560 ROYALTON RD APT 203                                                            STRONGSVILLE     OH 44136‐5167
MS LAURA HERRERA            111 HUDSON AVE                                                                       PONTIAC          MI 48342‐1248
MS LAURA J BUNCHER          10860 GABRIELLA DR                                                                   PARMA HEIGHTS    OH 44130‐1473
MS LAURA L ALLEN            2052 E SCHUMACHER ST                                                                 FLINT            MI 48529‐2434
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MS LAURA L AYERS          1717 W 11TH ST                                                                       MUNCIE          IN 47302‐2152
MS LAURA L WALDROP        11030 SHARON DR                                                                      CLEVELAND       OH 44130‐1431
MS LAURA M EDMINSON       1404 READY AVE                                                                       BURTON          MI 48529‐2052
MS LAURA M HILL           231 W STRATHMORE AVE                                                                 PONTIAC         MI 48340‐2779
MS LAURA M MARCUM         4077 WOODROW AVE                                                                     BURTON          MI 48509‐1050
MS LAURA M MARTINEZ       455 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1309
MS LAURA M MATHOUS        60 WILLOW ST APT 5                                                                   MASSENA         NY 13662‐1567
MS LAURA M THOMAS         2917 HARWICK DR APT 10                                                               LANSING         MI 48917‐2357
MS LAURA M WILLIAMS       11800 BROOKPARK RD TRLR 137                                                          CLEVELAND       OH 44130‐1189
MS LAURA R SANTOS         1112 HERRINGTON LN                                                                   PONTIAC         MI 48342‐1835
MS LAURA S DAVIS          2133 N MAIN ST                                                                       KOKOMO          IN 46901‐5827
MS LAURAL A BONDS         139 PINGREE AVE                                                                      PONTIAC         MI 48342‐1174
MS LAURALEE A ROCHA       744 DURANT ST                                                                        LANSING         MI 48915‐1382
MS LAUREN A ALTENBERNT    9689 HARBOUR COVE CT                                                                 YPSILANTI       MI 48197‐6901
MS LAUREN A FAIRBANKS     11713 HARTEL ST                                                                      LIVONIA         MI 48150‐2380
MS LAUREN GORDEN          20 WINTER ST                                                                         MASSENA         NY 13662‐1819
MS LAUREN M BREWER        813 H ST                                                                             BEDFORD         IN 47421‐2615
MS LAUREN M WILLETTE      941 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3109
MS LAUREN R BOWLES        810 W CHAMPLAIN AVE                                                                  WILMINGTON      DE 19804‐2007
MS LAURETTA B TAILLON     5 GRINNELL AVE                                                                       MASSENA         NY 13662‐1418
MS LAURIE A CANTU         960 KENILWORTH AVE                                                                   PONTIAC         MI 48340‐3108
MS LAURIE A HANNOCK       17 BRIGHTON ST APT 2                                                                 MASSENA         NY 13662‐2287
MS LAURIE A HOLBROOK      134 BRYNFORD AVE                                                                     LANSING         MI 48917‐2922
MS LAURIE B KONOPKA       802 N AUGUSTINE ST                                                                   WILMINGTON      DE 19804‐2608
MS LAURIE L APPLE         8 STEGMAN LN                                                                         PONTIAC         MI 48340‐1662
MS LAURIE L JAKUBOS       147 HUDSON AVE                                                                       PONTIAC         MI 48342‐1170
MS LAURIE L SLADE         263 W STRATHMORE AVE                                                                 PONTIAC         MI 48340‐2779
MS LAURIE LOVEGROVE       1312 N MORRISON ST                                                                   KOKOMO          IN 46901‐2760
MS LAURIE M BAKER         2108 E BOATFIELD AVE                                                                 BURTON          MI 48529‐1714
MS LAURIE MORENO          993 EMERSON AVE                                                                      PONTIAC         MI 48340‐3230
MS LAURIE S SLAGENWHITE   426 FOX HILLS DR N APT 7                                                             BLOOMFIELD      MI 48304‐1326
MS LAVERN C HARTIN        2319 S OAKHILL AVE                                                                   JANESVILLE      WI 53546‐6101
MS LAVERN E HARPER        864 BAY ST                                                                           PONTIAC         MI 48342‐1902
MS LAVERN NELSON          1088 E PRINCETON AVE                                                                 FLINT           MI 48505‐1514
MS LAVERNE D KINGSBURY    11355 N SAGINAW ST                                                                   MOUNT MORRIS    MI 48458‐2008
MS LAVIDA S BAY           746 NEWMAN LN                                                                        PONTIAC         MI 48340‐3304
MS LAVINA M BELL          80 W FAIRMOUNT AVE                                                                   PONTIAC         MI 48340‐2734
MS LAVONIA H BATTLE       3381 25TH ST                                                                         DETROIT         MI 48208‐2461
MS LAVONNE WILLIAMS       1301 W 16TH ST                                                                       MUNCIE          IN 47302‐3026
MS LAWANDA FED            329 W YALE AVE                                                                       PONTIAC         MI 48340‐1754
MS LAZETTE M BOIKIN       1351 CHERRYLAWN DR                                                                   PONTIAC         MI 48340‐1709
MS LEA H HAMMOND          71 HUDSON AVE                                                                        PONTIAC         MI 48342‐1244
MS LEAH A MILLER          567 HELEN ST                                                                         MOUNT MORRIS    MI 48458‐1922
MS LEAH M ARELLANO        645 SPRUCE ST                                                                        MOUNT MORRIS    MI 48458‐1980
MS LEANN FERRELL          977 CARLISLE ST                                                                      PONTIAC         MI 48340‐2626
MS LEANN J BLENDOWSKI     1215 17TH ST                                                                         BEDFORD         IN 47421‐4230
MS LEANN M SCHALAU        1314 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2181
MS LEANNE M JOHNSON       32 KAREN CT                                                                          PONTIAC         MI 48340‐1635
MS LEATHA M WEST          1413 W 8TH ST                                                                        MUNCIE          IN 47302‐2164
MS LEEA R DAVENPORT       1200 AMOS ST                                                                         PONTIAC         MI 48342‐1804
MS LEECIE M JONES         1074 E KURTZ AVE                                                                     FLINT           MI 48505‐1512
MS LEETTA M ADAMSON       1020 N ST                                                                            BEDFORD         IN 47421‐2933
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Name                    Address1                           Address2            Address3         Address4         City            State Zip
MS LEISA D CASE         1936 W 11TH ST                                                                           MUNCIE           IN 47302‐2153
MS LEKESHA D PAGE       158 SUMMIT ST                                                                            PONTIAC          MI 48342‐1165
MS LELA M FLAGG         60 UNIVERSITY PLACE DR                                                                   PONTIAC          MI 48342‐1886
MS LENA C HARDING       746 DAMON ST                                                                             FLINT            MI 48505‐3919
MS LENA E WEBSTER       1901 N COURTLAND AVE                                                                     KOKOMO           IN 46901‐2135
MS LENA J VINCENT       1501 W 15TH ST                                                                           MUNCIE           IN 47302‐2920
MS LENA M CZATYNSKI     701 BOXWOOD RD                                                                           WILMINGTON       DE 19804‐2012
MS LENA M MANCHESTER    592 LANCASTER LN                                                                         PONTIAC          MI 48342‐1849
MS LENORA A BROOKS      3375 25TH ST                                                                             DETROIT          MI 48208‐2461
MS LENORE S LEVINE      25 PROSPECT AVE                                                                          MASSENA          NY 13662‐1748
MS LEOLA CLARK          660 MELROSE ST                                                                           PONTIAC          MI 48340‐3117
MS LEOLA LANEHART       1258 AMOS ST                                                                             PONTIAC          MI 48342‐1804
MS LEONA E DYE          1316 E KURTZ AVE                                                                         FLINT            MI 48505‐1765
MS LEONA MCGRATH        1 GRASSMERE TER APT 8                                                                    MASSENA          NY 13662‐2161
MS LEONA R SPRAGUE      2237 E MCLEAN AVE                                                                        BURTON           MI 48529‐1741
MS LEOTA C CLARK        2102 COVERT RD                                                                           BURTON           MI 48509‐1011
MS LESA R JOUBRAN       3851 DAVISON RD                                                                          FLINT            MI 48506‐4200
MS LESA R WILSON        3581 ROOSEVELT ST                                                                        DETROIT          MI 48208‐2356
MS LESIA R KING         1807 BRISTOL COURT DR                                                                    MOUNT MORRIS     MI 48458‐2186
MS LESLEA S KINCAID     1611 ANTHONY AVE                                                                         JANESVILLE       WI 53546‐6070
MS LESLIE A SECREST     470 FOX HILLS DR N APT 4                                                                 BLOOMFIELD       MI 48304‐1333
MS LESLIE G ANDRUS      11261 OXBOW ST                                                                           LIVONIA          MI 48150‐3194
MS LESLIE J GIBSON      2126 MORRIS AVE                                                                          BURTON           MI 48529‐2105
MS LESLIE K SPANN       662 CAMERON AVE                                                                          PONTIAC          MI 48340‐3202
MS LESLIE L YOUMANS     2215 E PARKWOOD AVE                                                                      BURTON           MI 48529‐1767
MS LESLIE S GARNER      1503 BRISTOL COURT DR                                                                    MOUNT MORRIS     MI 48458‐2183
MS LESSIE L GREEN       981 CARLISLE ST                                                                          PONTIAC          MI 48340‐2626
MS LETHIA CARTER        1109 HERRINGTON LN                                                                       PONTIAC          MI 48342‐1837
MS LETICIA A MARTINEZ   21 UNIVERSITY PLACE DR                                                                   PONTIAC          MI 48342‐1881
MS LETICIA ZAMORA       50 LYNBROOK RD                                                                           WILMINGTON       DE 19804‐2670
MS LETITIA COOK         3800 LOVETT ST                                                                           DETROIT          MI 48210‐3179
MS LEVINA M BAKER       4231 WOODROW AVE                                                                         BURTON           MI 48509‐1053
MS LEXIE R HOLTSCLAW    1415 4TH ST                                                                              BEDFORD          IN 47421‐1721
MS LIA F YANG           833 WOODLAND AVE                                                                         PONTIAC          MI 48340‐2567
MS LIANA R TARPLAY      1142 AMOS ST                                                                             PONTIAC          MI 48342‐1802
MS LICY J PAZ           115 TRIPP ST                                                                             FRAMINGHAM       MA 01702‐8775
MS LILIAM CINTRON       795 KINNEY RD                                                                            PONTIAC          MI 48340‐2442
MS LILIANA GUSEILA      11329 RICHARD DR                                                                         PARMA            OH 44130‐1344
MS LILLIAM CINTRON      795 KINNEY RD                                                                            PONTIAC          MI 48340‐2442
MS LILLIAN A TROST      2078 DELANEY ST                                                                          BURTON           MI 48509‐1023
MS LILLIAN B PEASE      222 N GRACE ST                                                                           LANSING          MI 48917‐4908
MS LILLIAN M BOVE       107 W KEYSTONE AVE                                                                       WILMINGTON       DE 19804‐2029
MS LILLIAN M GIBSON     1620 W MEMORIAL DR                                                                       MUNCIE           IN 47302‐6621
MS LILLIAN V BREEDEN    10920 TIDEWATER TRL                                                                      FREDERICKSBRG    VA 22408‐2045
MS LILLIE B HEADING     568 E FOX HILLS DR                                                                       BLOOMFIELD       MI 48304‐1312
MS LILLIE M STEWART     623 JARED DR                                                                             PONTIAC          MI 48342‐1990
MS LILLIE M WALKER      12 UNIVERSITY PLACE DR                                                                   PONTIAC          MI 48342‐1880
MS LILLIE QUARLES       104 E TATE ST                                                                            KOKOMO           IN 46901‐2374
MS LINA J AYAR          422 FOX HILLS DR N APT 4                                                                 BLOOMFIELD       MI 48304‐1325
MS LINA K NASHIF        11141 KAREN ST                                                                           LIVONIA          MI 48150‐3144
MS LINDA A CARLINE      2 APPLE LN                                                                               PONTIAC          MI 48340‐1600
MS LINDA A COLE         1026 EASTFIELD RD                                                                        LANSING          MI 48917‐2346
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MS LINDA A FITZPATRICK   1811 H ST                                                                            BEDFORD          IN 47421‐4219
MS LINDA A KELLEGHAN     2229 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2447
MS LINDA A MADISON       11080 SHARON DR                                                                      CLEVELAND        OH 44130‐1431
MS LINDA A MOORE         500 GREENTREE DR APT 10                                                              BEDFORD          IN 47421‐9675
MS LINDA A PUTNAM        2207 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1783
MS LINDA A WOODEN        10823 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8042
MS LINDA AXSOM           933 LINCOLN AVE                                                                      BEDFORD          IN 47421‐2537
MS LINDA B MCINTOSH      2137 S PALM ST                                                                       JANESVILLE       WI 53546‐6116
MS LINDA BATZ            1919 KELLOGG AVE                                                                     JANESVILLE       WI 53546‐3906
MS LINDA C FORSTER       2099 E BERGIN AVE APT 1                                                              BURTON           MI 48529‐1700
MS LINDA C KREH          563 HELEN ST                                                                         MOUNT MORRIS     MI 48458‐1922
MS LINDA C PARKER        20 DOUGLAS RD                                                                        MASSENA          NY 13662‐2040
MS LINDA CALANGELO       3210 COURT ST                                                                        SYRACUSE         NY 13206‐1070
MS LINDA D ARMOUR        1137 TERRY AVE                                                                       MOUNT MORRIS     MI 48458‐2540
MS LINDA D JACKSON       21 PINGREE AVE                                                                       PONTIAC          MI 48342‐1159
MS LINDA D JOHNSON       985 KETTERING AVE                                                                    PONTIAC          MI 48340‐3258
MS LINDA D MINOR         2909 BROYHILL CT                                                                     FREDERICKSBRG    VA 22408‐2069
MS LINDA DECKARD         470 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8141
MS LINDA DONALDSON       615 17TH ST                                                                          BEDFORD          IN 47421‐4311
MS LINDA E MARICAS       121 W SHEFFIELD AVE                                                                  PONTIAC          MI 48340‐1851
MS LINDA F FLENTROY      107 LEGRANDE AVE                                                                     PONTIAC          MI 48342‐1135
MS LINDA F PARTIN        1011 W 14TH ST                                                                       MUNCIE           IN 47302‐3058
MS LINDA F SANDERS       1169 CHERRYLAWN DR                                                                   PONTIAC          MI 48340‐1705
MS LINDA FRARY           68 ANDREWS ST                                                                        MASSENA          NY 13662‐2804
MS LINDA G WYATT         191 W KENNETT RD APT 206                                                             PONTIAC          MI 48340‐2680
MS LINDA GARDNER         902 W 15TH ST                                                                        MUNCIE           IN 47302‐3064
MS LINDA GILCHRIST       1112 W BURBANK AVE APT 106                                                           JANESVILLE       WI 53546‐6146
MS LINDA H ZACHOW        11281 KAREN ST                                                                       LIVONIA          MI 48150‐3182
MS LINDA J DUNGER        5623 CHEVROLET BLVD APT 2                                                            CLEVELAND        OH 44130‐8707
MS LINDA J FIACCO        8 CHERRY ST                                                                          MASSENA          NY 13662‐1806
MS LINDA J JEFFERSON     1301 W KILGORE AVE                                                                   MUNCIE           IN 47305‐2161
MS LINDA J LUSTER        722 SPELLMAN DR                                                                      FLINT            MI 48503‐5228
MS LINDA J NORTHERN      1252 AMOS ST                                                                         PONTIAC          MI 48342‐1804
MS LINDA J OLIVER        4 WALNUT HEIGHTS RD                                                                  BEDFORD          IN 47421‐9122
MS LINDA K BURROW        694 KETTERING AVE                                                                    PONTIAC          MI 48340‐3244
MS LINDA K CALDWELL      805 ORLANDO AVE                                                                      PONTIAC          MI 48340‐2356
MS LINDA K FRYE          1211 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2180
MS LINDA K FRYE          60 BLAINE AVE                                                                        PONTIAC          MI 48342‐1100
MS LINDA K MURRAY        1114 BOYNTON DR                                                                      LANSING          MI 48917‐5704
MS LINDA K PRASHAW       161 WATER ST                   APT 2                                                 MASSENA          NY 13662‐4026
MS LINDA K PTACEK        4150 RISEDORPH ST                                                                    BURTON           MI 48509‐1042
MS LINDA K SAGADY        3841 HOLLY AVE                                                                       FLINT            MI 48506‐3108
MS LINDA K SEXTON        1618 H ST APT 4                                                                      BEDFORD          IN 47421‐3812
MS LINDA K SIMMONS       810 FISK DR                                                                          FLINT            MI 48503‐5249
MS LINDA K TUTTLE        41 PROSPECT AVE                                                                      MASSENA          NY 13662‐1748
MS LINDA L ADAMS         9805 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6923
MS LINDA L APSEGA        11219 GABRIELLA DR                                                                   CLEVELAND        OH 44130‐1334
MS LINDA L BILBREY       1605 W 7TH ST                                                                        MUNCIE           IN 47302‐2190
MS LINDA L BLACK         745 STANLEY AVE                                                                      PONTIAC          MI 48340‐2474
MS LINDA L BOND          1058 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1730
MS LINDA L BREWER        2001 N CENTER RD APT 206                                                             FLINT            MI 48506‐3182
MS LINDA L DISHAW        1449 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1633
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Name                    Address1                       Address2            Address3         Address4         City            State Zip
MS LINDA L FIELD        3322 SYLVAN RD                                                                       LANSING          MI 48917‐2335
MS LINDA L FORDING      1801 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2137
MS LINDA L HARRIS       482 MOONLIGHT DR                                                                     PONTIAC          MI 48340‐1672
MS LINDA L KILMAN       435 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1620
MS LINDA L KISSICK      1117 W 10TH ST                                                                       MUNCIE           IN 47302‐2257
MS LINDA L MCDONALD     41 ELM ST                                                                            MASSENA          NY 13662‐1827
MS LINDA L MCDONALD     9 LAUREL AVE APT 807                                                                 MASSENA          NY 13662‐2058
MS LINDA L MURRAY       795 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3101
MS LINDA L SCHONEMAN    199 W LONGFELLOW AVE                                                                 PONTIAC          MI 48340‐1833
MS LINDA L SNELLINGS    10924 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2045
MS LINDA L SPICER       557 LANCASTER LN                                                                     PONTIAC          MI 48342‐1852
MS LINDA L SPURLOCK     918 W 1ST ST                                                                         MUNCIE           IN 47305‐2214
MS LINDA L TUMEY        1003 DIVE RD                                                                         BEDFORD          IN 47421‐1513
MS LINDA L WHITNEY      806 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2324
MS LINDA L WINER        2108 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2436
MS LINDA L ZAVESKY      5492 QUEENS HWY                                                                      CLEVELAND        OH 44130‐1315
MS LINDA L ZEMMER       9701 HARBOUR COVE CT                                                                 YPSILANTI        MI 48197‐6902
MS LINDA LEWIS          912 W 14TH ST                                                                        MUNCIE           IN 47302‐7614
MS LINDA M ADAMS        853 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3105
MS LINDA M ASHLEY       344 1/2 MAIN ST                                                                      MASSENA          NY 13662‐2546
MS LINDA M BRAMMER      1616 11TH ST                                                                         BEDFORD          IN 47421‐2806
MS LINDA M CARUTHERS    1301 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2181
MS LINDA M CRAWFORD     2050 E MCLEAN AVE                                                                    BURTON           MI 48529‐1738
MS LINDA M GIFFORD      608 N AUGUSTINE ST                                                                   WILMINGTON       DE 19804‐2604
MS LINDA M GOECKS       1332 ANTHONY AVE                                                                     JANESVILLE       WI 53546‐6069
MS LINDA M GRANDBERRY   24 KAREN CT                                                                          PONTIAC          MI 48340‐1633
MS LINDA M GRATZ        11161 RIVEREDGE DR                                                                   CLEVELAND        OH 44130‐1256
MS LINDA M GROOM        2228 SHERIDAN ST                                                                     JANESVILLE       WI 53546‐5983
MS LINDA M HYNE         1709 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6145
MS LINDA M LECHNER      602 W ELM ST                                                                         KOKOMO           IN 46901‐2743
MS LINDA M LEE          1407 F ST                                                                            BEDFORD          IN 47421‐3315
MS LINDA M MIRACLE      11161 OXBOW ST                                                                       LIVONIA          MI 48150‐3146
MS LINDA M PULEO        11800 BROOKPARK RD TRLR 131                                                          CLEVELAND        OH 44130‐1100
MS LINDA M REMY         1523 N COURTLAND AVE                                                                 KOKOMO           IN 46901‐2142
MS LINDA M SKOTT        62 DOUGLAS RD                                                                        MASSENA          NY 13662‐2132
MS LINDA M SLATER       2319 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6152
MS LINDA M TONES        820 W BROADWAY ST                                                                    KOKOMO           IN 46901‐2710
MS LINDA M WARREN       634 LANCASTER LN                                                                     PONTIAC          MI 48342‐1851
MS LINDA NAGENGAST      1193 MORRIS HILLS PKWY                                                               MOUNT MORRIS     MI 48458‐2581
MS LINDA P ARCHACKI     11338 UNION ST                                                                       MOUNT MORRIS     MI 48458‐2211
MS LINDA P EDWARDS      1302 18TH ST                                                                         BEDFORD          IN 47421‐4135
MS LINDA P PALMER       472 HOLLIS ST # 1                                                                    FRAMINGHAM       MA 01702‐8623
MS LINDA R STONE        5520 QUEENS HWY                                                                      CLEVELAND        OH 44130‐1316
MS LINDA R WRIGHT       1110 SUMMIT LN                                                                       BEDFORD          IN 47421‐2550
MS LINDA S BENCH        511 BECKER AVE                                                                       WILMINGTON       DE 19804‐2103
MS LINDA S CHANDLER     1017 W MEMORIAL DR                                                                   MUNCIE           IN 47302‐3050
MS LINDA S ERICKSON     1717 ARBUTUS ST                                                                      JANESVILLE       WI 53546‐6145
MS LINDA S FIELDS       1201 W 15TH ST                                                                       MUNCIE           IN 47302‐3071
MS LINDA S MALLEY       67 W STRATHMORE AVE                                                                  PONTIAC          MI 48340‐2771
MS LINDA S PAUL         1713 S GHARKEY ST                                                                    MUNCIE           IN 47302‐3180
MS LINDA S RAMIREZ      70 W PRINCETON AVE                                                                   PONTIAC          MI 48340‐1836
MS LINDA S SMITH        1025 UNIVERSITY DR APT 5                                                             PONTIAC          MI 48342‐1884
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Name                    Address1                          Address2         Address3         Address4         City            State Zip
MS LINDA S SMITH        15 BOWERS ST                                                                         MASSENA          NY 13662‐2104
MS LINDA S SPANBAUER    1 GRASSMERE TER APT 7                                                                MASSENA          NY 13662‐2160
MS LINDA S VANCE        223 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2779
MS LINDA S VINCENT      1337 W 14TH ST                                                                       MUNCIE           IN 47302‐2984
MS LINDA SHORTER        615 LANCASTER LN                                                                     PONTIAC          MI 48342‐1853
MS LINDA SMITH          5900 W COUNTY ROAD 350 N LOT 34                                                      MUNCIE           IN 47304‐9125
MS LINDA T GREEN        3355 COUNTRY BROOK ST                                                                COLUMBUS         IN 47201‐7166
MS LINDA TAYLOR         714 PALMER DR                                                                        PONTIAC          MI 48342‐1857
MS LINDA VESPIE         1411 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1631
MS LINDA WILSON         151 ANDREWS ST                                                                       MASSENA          NY 13662‐3800
MS LINDSAY A BOEGNER    636 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1918
MS LINDSAY M WHITE      433 FOX HILLS DR S APT 8                                                             BLOOMFIELD       MI 48304‐1350
MS LINDSEY A GALLAHER   2264 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2441
MS LINETTE J JACKSON    1000 FULWELL DR                                                                      ONTARIO          OH 44906‐1113
MS LINNIE WAUGHFIELD    1309 W 1ST ST                                                                        MUNCIE           IN 47305‐2108
MS LISA A AMBRIS        7061 W VIENNA RD LOT 39                                                              CLIO             MI 48420‐9499
MS LISA A FRANKS        11971 CAMDEN ST                                                                      LIVONIA          MI 48150‐2361
MS LISA A NORDIN        704 BECKER CT                                                                        WILMINGTON       DE 19804‐2100
MS LISA A O'KELLY       560 FOX HILLS DR S                                                                   BLOOMFIELD       MI 48304‐1316
MS LISA A SCHMIDT       416 FOX HILLS DR S APT 4                                                             BLOOMFIELD       MI 48304‐1347
MS LISA A VARNER        551 WALNUT ST                                                                        MOUNT MORRIS     MI 48458‐1952
MS LISA BARRET          9836 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6921
MS LISA C GDANIEC       9926 JOAN CIR                                                                        YPSILANTI        MI 48197‐6914
MS LISA C MAY           1450 W 14TH ST                                                                       MUNCIE           IN 47302‐2978
MS LISA C WASHINGTON    2604 GLENDAS WAY                                                                     FREDERICKSBRG    VA 22408‐8071
MS LISA D SHORTER       5900 BRIDGE RD APT 214                                                               YPSILANTI        MI 48197‐7010
MS LISA FOLLETT         138 MAIN ST                                                                          MASSENA          NY 13662‐1906
MS LISA GUZMAN          679 NEWMAN LN                                                                        PONTIAC          MI 48340‐3302
MS LISA HEFLIN          11311 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2038
MS LISA HOSKINS         108 W HOPKINS AVE                                                                    PONTIAC          MI 48340‐1820
MS LISA I GLENN         2187 HUBBARD ST                                                                      DETROIT          MI 48209‐3329
MS LISA J DUBAY         2074 WEBBER AVE                                                                      BURTON           MI 48529‐2412
MS LISA J RENO          13 HIGHLAND AVE                                                                      MASSENA          NY 13662‐1823
MS LISA J THIEKE        2011 1/2 N MORRISON ST                                                               KOKOMO           IN 46901‐2144
MS LISA J WALKER        1107 W 14TH ST                                                                       MUNCIE           IN 47302‐3060
MS LISA K FOSTER        50 SALLEE LN                                                                         PONTIAC          MI 48340‐1655
MS LISA K HITCHCOCK     821 MORRIS AVE                                                                       LANSING          MI 48917‐2326
MS LISA K NICHOLS       826 MAPLE ST                                                                         MOUNT MORRIS     MI 48458‐2208
MS LISA L BAKER         1166 E KURTZ AVE                                                                     FLINT            MI 48505‐1528
MS LISA L DEVINE        1301 W 1ST ST                                                                        MUNCIE           IN 47305‐2108
MS LISA L SCOTT         4811 MERRITT ST                                                                      DETROIT          MI 48209‐1354
MS LISA L SIMON         561 LANCASTER LN                                                                     PONTIAC          MI 48342‐1852
MS LISA L WALCZAK       6018 VAN WORMER DR                                                                   TOLEDO           OH 43612‐4043
MS LISA M ATKINS        2099 DELANEY ST                                                                      BURTON           MI 48509‐1022
MS LISA M GIBBS         823 BLAINE AVE                                                                       PONTIAC          MI 48340‐2407
MS LISA M GREEN         33 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2733
MS LISA M HORTON        50 BRIDGES AVE                                                                       MASSENA          NY 13662‐1828
MS LISA M LEACH         1623 L ST APT A                                                                      BEDFORD          IN 47421‐3754
MS LISA M LIMONES       1541 KING ST                                                                         JANESVILLE       WI 53546‐6027
MS LISA M MONK          3083 W MOTT AVE                                                                      FLINT            MI 48504‐6842
MS LISA M NATHAN        608 N CATHERINE ST                                                                   LANSING          MI 48917‐4906
MS LISA M ROSS          1099 LAPORT AVE                                                                      MOUNT MORRIS     MI 48458‐2557
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Name                      Address1                       Address2            Address3         Address4         City           State Zip
MS LISA M SCOTT           2052 DELANEY ST                                                                      BURTON          MI 48509‐1023
MS LISA M SMITH           301 S CLIFTON AVE                                                                    WILMINGTON      DE 19805‐2310
MS LISA M SMITH           153 PEERLESS CHURCH RD                                                               BEDFORD         IN 47421‐8118
MS LISA M WATKINS         58 PARKER AVE                                                                        MASSENA         NY 13662‐2214
MS LISA M ZUEHLKE         606 BRYNFORD AVE                                                                     LANSING         MI 48917‐4900
MS LISA R BATTLE          3028 25TH ST                                                                         DETROIT         MI 48216‐1002
MS LISA R NORTON          661 CAMERON AVE                                                                      PONTIAC         MI 48340‐3203
MS LISA R ZINN            659 ELM ST                                                                           MOUNT MORRIS    MI 48458‐1917
MS LISA RENEE             9941 LINDA DR                                                                        YPSILANTI       MI 48197‐6920
MS LISA S GOBLE           1401 N INDIANA AVE                                                                   KOKOMO          IN 46901‐2047
MS LISA SMITH             23 LAUREL AVE                                                                        MASSENA         NY 13662‐2029
MS LISA STEFANCIN         5544 ABRAHAM AVE                                                                     PARMA           OH 44130‐1318
MS LISA VANWINKLE         1414 N MORRISON ST                                                                   KOKOMO          IN 46901‐2157
MS LISAMARIE M PICARRO    414 W CHAMPLAIN AVE                                                                  WILMINGTON      DE 19804‐2014
MS LISANDRA R REYES       408 W CHAMPLAIN AVE                                                                  WILMINGTON      DE 19804‐2014
MS LISBETH A SHAWHAN      1911 CENTRAL AVE                                                                     BEDFORD         IN 47421‐3907
MS LISSETTE A VELAZQUEZ   2002 LINKWOOD AVE                                                                    WILMINGTON      DE 19805‐2418
MS LITHA L HILL           779 NEWMAN LN                                                                        PONTIAC         MI 48340‐3306
MS LIWAYWAY DUENAS        5697 CHEVROLET BLVD APT B206                                                         PARMA           OH 44130‐8700
MS LIYA RONG              475 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐1622
MS LIZ GOBLE              9909 JOAN CIR                                                                        YPSILANTI       MI 48197‐8298
MS LIZZIE I MENDEZ        850 MORRIS AVE                                                                       LANSING         MI 48917‐2319
MS LIZZIE L GANDY         215 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐2741
MS LODISKA R BARNES       295 W HOPKINS AVE                                                                    PONTIAC         MI 48340‐1717
MS LOIS E LOHMILLER       2087 CONNELL ST                                                                      BURTON          MI 48529‐1332
MS LOIS E MYERS           621 W 10TH ST                                                                        MUNCIE          IN 47302‐3126
MS LOIS J FLORES          245 W SHEFFIELD AVE                                                                  PONTIAC         MI 48340‐1855
MS LOIS M ASHLEY          1 GRASSMERE TER APT 16                                                               MASSENA         NY 13662‐2162
MS LOIS M COOK            422 ELM ST                                                                           MOUNT MORRIS    MI 48458‐1914
MS LOIS M TRAVENY         440 PEERLESS RD                                                                      BEDFORD         IN 47421‐1544
MS LOIS SPEER             1502 1ST ST                                                                          BEDFORD         IN 47421‐1702
MS LOISANNE F WILLIAMS    251‐B WHITE LN                                                                       BEDFORD         IN 47421‐9299
MS LOISANNE F WILLIAMS    9406 S LAKE RIDGE DR                                                                 BLOOMINGTON     IN 47401‐9505
MS LOLA B CRANE           1505 E ST                                                                            BEDFORD         IN 47421‐3809
MS LOLA L RINGBLOM        66 W HOPKINS AVE                                                                     PONTIAC         MI 48340‐1816
MS LOLA M BURKE           4016 TOLEDO ST                                                                       DETROIT         MI 48209‐1361
MS LOLLY O DYE            724 CAMERON AVE                                                                      PONTIAC         MI 48340‐3204
MS LORA DOBBS             936 W 13TH ST                                                                        MUNCIE          IN 47302‐7608
MS LORA GILBERT           3314 PEERLESS RD                                                                     BEDFORD         IN 47421‐8107
MS LORA K HARRIS          406 SPRINGBROOK CIR                                                                  ELYRIA          OH 44035‐8962
MS LORA LUNDY             55 N ST                                                                              BEDFORD         IN 47421‐1733
MS LOREA L FUESTER        2131 BRADY AVE                                                                       BURTON          MI 48529‐2426
MS LORELEI A GRAHAM       2132 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2436
MS LORELEI FISH           418 18TH ST                                                                          BEDFORD         IN 47421‐4406
MS LORENA L POWELL        1400 S HOYT AVE                                                                      MUNCIE          IN 47302‐3187
MS LORENA LISBOA          439 HOLLIS ST                                                                        FRAMINGHAM      MA 01702‐8646
MS LORENE G JOHNSON       2110 S WALNUT ST                                                                     JANESVILLE      WI 53546‐6136
MS LORENE HARRIS          550 HARRIET ST                                                                       FLINT           MI 48505‐4753
MS LORENE M DERUSHIA      28 PARKER AVE                                                                        MASSENA         NY 13662‐2215
MS LORENE R POWELL        4064 MORRISON ST                                                                     BURTON          MI 48529‐1656
MS LORETTA A DANIEL       11800 BROOKPARK RD TRLR 109                                                          CLEVELAND       OH 44130‐1100
MS LORETTA J HARRISON     2217 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1727
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Name                        Address1                       Address2            Address3         Address4         City           State Zip
MS LORETTA J JOHNSON        511 BOXWOOD RD                                                                       WILMINGTON      DE 19804‐2009
MS LORETTA J MIXON          2001 N CENTER RD APT 205                                                             FLINT           MI 48506‐3182
MS LORETTA J OWEN           1711 12TH ST                                                                         BEDFORD         IN 47421‐3105
MS LORETTA L BRISON         15 LIVINGSTON AVE                                                                    WILMINGTON      DE 19804‐2815
MS LORETTA L WESTMORELAND   1221 9TH ST                                                                          BEDFORD         IN 47421‐2517
MS LORETTA M LAZORE         9 LAUREL AVE APT 106                                                                 MASSENA         NY 13662‐2054
MS LORETTA ROGERS           1101 W 15TH ST                                                                       MUNCIE          IN 47302‐3069
MS LORI A BURDEN            360 W HOPKINS AVE APT 203                                                            PONTIAC         MI 48340‐1757
MS LORI A CAVANAUGH         48 MAIN ST APT 1                                                                     MASSENA         NY 13662‐1986
MS LORI A LYNCH             409 N GRACE ST                                                                       LANSING         MI 48917‐4911
MS LORI A WILDER            43 UNIVERSITY PLACE DR                                                               PONTIAC         MI 48342‐1882
MS LORI A ZEIGLER           2380 FERGUSON RD                                                                     ONTARIO         OH 44906‐1177
MS LORI C ST PETER          559 HOLLIS ST                                                                        FRAMINGHAM      MA 01702‐8619
MS LORI E KENNEDY           1203 M ST                                                                            BEDFORD         IN 47421‐2930
MS LORI ELLINGTON           1301 S ROCHESTER AVE APT C                                                           MUNCIE          IN 47302‐6633
MS LORI J SUTTER            35 ELM ST                                                                            MASSENA         NY 13662‐1827
MS LORI K KEENE             2124 E BOATFIELD AVE                                                                 BURTON          MI 48529‐1714
MS LORI L GRAY              1417 WEBBER AVE                                                                      BURTON          MI 48529‐2033
MS LORI M EWALD             2111 SAVOY AVE                                                                       BURTON          MI 48529‐2173
MS LORI M GURKA             5461 CHEVROLET BLVD APT A310                                                         CLEVELAND       OH 44130‐1487
MS LORI MOORE               1106 17TH ST                                                                         BEDFORD         IN 47421‐4295
MS LORI STAHL               1206 W 13TH ST                                                                       MUNCIE          IN 47302‐2900
MS LORIE A SMITH            1419 W 8TH ST                                                                        MUNCIE          IN 47302‐2164
MS LORIE L FELDMANN         6067 LAKE DR                                                                         YPSILANTI       MI 48197‐7044
MS LORIE M EMMONS           1315 BRECKENRIDGE RD                                                                 BEDFORD         IN 47421‐1507
MS LORINDA M BUCKINGHAM     53 W RUTGERS AVE                                                                     PONTIAC         MI 48340‐2755
MS LORNA D DOWNS            5601 CHEVROLET BLVD APT C311                                                         CLEVELAND       OH 44130‐1480
MS LORNA M POPP             1324 ANTHONY AVE                                                                     JANESVILLE      WI 53546‐6069
MS LORRAINE ANDREWS         1114 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2179
MS LORRAINE BIES            6220 SHELDON ST                                                                      YPSILANTI       MI 48197‐8222
MS LORRAINE C THOMPSON      2128 SCOTTEN ST                                                                      DETROIT         MI 48209‐1667
MS LORRAINE E PEARSON       220 W RUTGERS AVE                                                                    PONTIAC         MI 48340‐2762
MS LORRAINE J BROWN         3822 LORRAINE AVE                                                                    FLINT           MI 48506‐4238
MS LORRAINE J NEWMAN        4226 BARNES AVE                                                                      BURTON          MI 48529‐2452
MS LORRAINE L LAMB          1821 W MEMORIAL DR                                                                   MUNCIE          IN 47302‐6623
MS LORRAINE M SCOTT         2028 ROOSEVELT AVE                                                                   JANESVILLE      WI 53546‐5973
MS LORRAINE SNEAD           1924 S GHARKEY ST                                                                    MUNCIE          IN 47302‐7616
MS LORRAINE V ZAPPIA        6 GRASSMERE AVE                                                                      MASSENA         NY 13662‐2035
MS LORRAINE V ZAPPIA        1 GRASSMERE TER APT 6                                                                MASSENA         NY 13662‐2160
MS LORRIE A HAYES           1377 WEBBER AVE                                                                      BURTON          MI 48529‐2033
MS LORRISSA L JACKSON       191 ALLEN ST                                                                         MASSENA         NY 13662‐1803
MS LOSSIE M PRICE           1385 E HUMPHREY AVE                                                                  FLINT           MI 48505‐1762
MS LOTTIE B BRYAN           1612 N WASHINGTON ST                                                                 KOKOMO          IN 46901‐2209
MS LOTTIE B BRYAN           1616 N WASHINGTON ST                                                                 KOKOMO          IN 46901‐2209
MS LOTTIE L BISHOP          6 W KEYSTONE AVE                                                                     WILMINGTON      DE 19804‐2028
MS LOU E WILLIAMS           11709 CAMDEN ST                                                                      LIVONIA         MI 48150‐2361
MS LOUISA J DELVALLE        410 W HOPKINS AVE APT 300                                                            PONTIAC         MI 48340‐1777
MS LOUISE A TERRY           2120 E BUDER AVE                                                                     BURTON          MI 48529‐1734
MS LOUISE ANTWINE           1173 AMOS ST                                                                         PONTIAC         MI 48342‐1803
MS LOUISE J SMITH           633 E DAYTON ST                                                                      FLINT           MI 48505‐4326
MS LOUISE L HUNT            1066 E GRAND BLVD                                                                    FLINT           MI 48505‐1506
MS LOUISE LEWIS             815 KETTERING AVE                                                                    PONTIAC         MI 48340‐3252
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Name                       Address1                        Address2            Address3         Address4         City            State Zip
MS LOUISE M CRUTE          11061 GABRIELLA DR                                                                    CLEVELAND        OH 44130‐1469
MS LOUVETTA M WILLIAMS     1254 AMOS ST                                                                          PONTIAC          MI 48342‐1804
MS LOUVIA J FORSTNER       2271 E BUDER AVE                                                                      BURTON           MI 48529‐1775
MS LOWRENE BRANYON         1145 HERRINGTON LN                                                                    PONTIAC          MI 48342‐1837
MS LOYOLA C VALADE         1 LAUREL AVE                                                                          MASSENA          NY 13662‐2030
MS LUANN D PFEIFER         204 BRYNFORD AVE                                                                      LANSING          MI 48917‐2990
MS LUANN E BARRETT         1520 W 8TH ST                                                                         MUNCIE           IN 47302‐2113
MS LUANN T ROBINSON        779 MONTICELLO AVE                                                                    PONTIAC          MI 48340‐2321
MS LUCETTA C MAYHEW        3011 HARWICK DR                                                                       LANSING          MI 48917‐2392
MS LUCILLE A RETHLAKE      1223 N MORRISON ST                                                                    KOKOMO           IN 46901‐2761
MS LUCILLE EDWARDS         56 KAREN CT                                                                           PONTIAC          MI 48340‐1637
MS LUCILLE FIELDS          5653 CHEVROLET BLVD APT 1                                                             PARMA            OH 44130‐8712
MS LUCILLE J BROWNELL      1 PRATT PL APT 1                                                                      MASSENA          NY 13662‐2085
MS LUCINDA A HOLSINGTON    814 PENSACOLA AVE                                                                     PONTIAC          MI 48340‐2361
MS LUCY A MCCAIN           815 MELROSE ST                                                                        PONTIAC          MI 48340‐3124
MS LUCY I WRIGHT           3223 W IONIA ST                                                                       LANSING          MI 48917‐2961
MS LUCY L TIGUE            2165 PALMS ST                                                                         DETROIT          MI 48209‐1645
MS LUELLA D BELLINGEN      1 GRASSMERE TER APT 20                                                                MASSENA          NY 13662‐2162
MS LUELLA D BELLINGER      20 GRASSMERE AVE                                                                      MASSENA          NY 13662‐2033
MS LUJUANA L SPILLERS      2001 N CENTER RD APT 306                                                              FLINT            MI 48506‐3183
MS LUMMIE C BLACK          2924 VINEWOOD ST                                                                      DETROIT          MI 48216‐1085
MS LUPE VALADEZ            1206 N APPERSON WAY                                                                   KOKOMO           IN 46901‐2932
MS LURA BARRETT            337 W KENNETT RD                                                                      PONTIAC          MI 48340‐1727
MS LUVENIA TALTON          1926 ROOT ST                                                                          FLINT            MI 48505‐4752
MS LUZ A QUINTEROS         468 HOLLIS ST                                                                         FRAMINGHAM       MA 01702‐8623
MS LUZ N MCADAMS           459 MOONLIGHT DR                                                                      PONTIAC          MI 48340‐1672
MS LUZ ROMAN               4249 BRANDON ST                                                                       DETROIT          MI 48209‐1331
MS LUZ VICENS              121 W YALE AVE                                                                        PONTIAC          MI 48340‐1863
MS LYDIA A JENSEN          4101 GRONDINWOOD LN                                                                   MILFORD          MI 48380‐4224
MS LYDIA A WATSON          2000 N GENESEE DR                                                                     LANSING          MI 48915‐1231
MS LYDIA M GREEN           10910 TIDEWATER TRL                                                                   FREDERICKSBRG    VA 22408‐2045
MS LYDIA S MARLAR          24 DOUGLAS RD                                                                         MASSENA          NY 13662‐2040
MS LYKETTA L HODGES        33 KAREN CT                                                                           PONTIAC          MI 48340‐1636
MS LYN E SNYDER            400 S WOODWARD AVE                                                                    WILMINGTON       DE 19805‐2363
MS LYNDA A KENNEDY         1030 KETTERING AVE                                                                    PONTIAC          MI 48340‐3259
MS LYNDA L STRONG          1032 TERRY AVE                                                                        MOUNT MORRIS     MI 48458‐2568
MS LYNDA L WALDROP         10720 FAIRLAWN DR                                                                     CLEVELAND        OH 44130‐1208
MS LYNETTE M HATTER        722 LOYOLA DR                                                                         FLINT            MI 48503‐5222
MS LYNETTE SMITH           48 PARKER AVE                                                                         MASSENA          NY 13662‐2215
MS LYNETTE WOMACK          2291 VILLAGE PARK CT                                                                  ONTARIO          OH 44906‐1167
MS LYNN CHELSEA            87 SUZANNE BLVD                                                                       WHITE LAKE       MI 48386‐1975
MS LYNN LEWIS              821 ORLANDO AVE                                                                       PONTIAC          MI 48340‐2356
MS LYNN M BRINEGAR         1527 11TH ST                                                                          BEDFORD          IN 47421‐2803
MS LYNN M GREEN            1316 W 11TH ST                                                                        MUNCIE           IN 47302‐2264
MS LYNN M RAMOS            1109 WESTFIELD RD                                                                     LANSING          MI 48917‐2376
MS LYNN S NEWTON           1098 MEADOWLAWN DR                                                                    PONTIAC          MI 48340‐1730
MS LYNNE M CASTELL         520 WALNUT ST                                                                         MOUNT MORRIS     MI 48458‐1953
MS LYNNE P LEWIS           798 PENSACOLA AVE                                                                     PONTIAC          MI 48340‐2359
MS LYNNE T OLSON           1130 NORWOOD RD                                                                       LANSING          MI 48917‐2362
MS LYNNETTE DUGGER         1603 1/2 P ST                                                                         BEDFORD          IN 47421‐4122
MS LYNNETTE J CURTIS       4403 1/2 DAVISON RD LOT 10                                                            BURTON           MI 48509‐1400
MS LYNNETTE M MCCLELLAND   322 BON AIR RD                                                                        LANSING          MI 48917‐2903
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MS LYNNETTE M SHORTER      3097 ROOSEVELT ST                                                                    DETROIT          MI 48216‐1078
MS LYNNETTE M SMENDA       10981 SHARON DR                                                                      CLEVELAND        OH 44130‐1430
MS LYNSEY M DAWSON         84 O ST                                                                              BEDFORD          IN 47421‐1738
MS LYTRA R WILSON          480 FOX HILLS DR S APT 7                                                             BLOOMFIELD       MI 48304‐1356
MS MABEL F FORTNER         320 HELTONVILLE RD W                                                                 BEDFORD          IN 47421‐9387
MS MABLE B DENO            2040 CASHIN ST APT 6                                                                 BURTON           MI 48509‐1107
MS MABLE C ROSS            2096 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1714
MS MABLE L FARR            3826 SCOTTEN ST                                                                      DETROIT          MI 48210‐3162
MS MABLE V JEFFRIES        1343 E HARVARD AVE                                                                   FLINT            MI 48505‐1716
MS MABLE WIGFALL           1112 W BURBANK AVE APT 208                                                           JANESVILLE       WI 53546‐6146
MS MACIE A COOPER          4 KAREN CT                                                                           PONTIAC          MI 48340‐1633
MS MADELINE B MERIWETHER   2083 CASHIN ST                                                                       FLINT            MI 48509‐1137
MS MADELINE M ACKERMAN     1499 E JUDD RD                                                                       BURTON           MI 48529‐2005
MS MADELINE MARTINEZ       61 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2733
MS MADELYN C HERSTON       1706 G ST                                                                            BEDFORD          IN 47421‐4636
MS MADELYN H PRUSKI        PO BOX 327                                                                           HANNAWA FALLS    NY 13647‐0327
MS MADGE E MAC DONALD      121 LINCOLN AVE                                                                      BEDFORD          IN 47421‐1612
MS MADGE L SMITH           618 E BAKER ST                                                                       FLINT            MI 48505‐4357
MS MADONNA K BOLTON        1916 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2038
MS MAE M PENIX             1412 E SCHUMACHER ST                                                                 BURTON           MI 48529‐1620
MS MAE MARTIN              253 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8139
MS MAGDA J FIGUEROA        590 MELROSE ST                                                                       PONTIAC          MI 48340‐3113
MS MAGDALEAN BLOUNT        1197 E CORNELL AVE                                                                   FLINT            MI 48505‐1617
MS MAGDALENA J HERNANDEZ   3559 28TH ST                                                                         DETROIT          MI 48210‐3103
MS MAGDALENA KRAWCSYK      661 MELROSE ST                                                                       PONTIAC          MI 48340‐3118
MS MAGDALENA V PACQUING    1980 POST CHAISE CT                                                                  BLOOMFIELD       MI 48304‐1045
MS MAGDALENE THRELKELD     857 KETTERING AVE                                                                    PONTIAC          MI 48340‐3254
MS MAGGIE L KING           641 RILEY BLVD # A                                                                   BEDFORD          IN 47421‐9337
MS MAIA CAMPBELL           1706 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2185
MS MALANI T JONES          842 GOLF DR APT 201                                                                  PONTIAC          MI 48341‐2385
MS MALEEKA S GLOVER        1165 AMOS ST                                                                         PONTIAC          MI 48342‐1803
MS MALINDA G KIRBY         1904 W 9TH ST                                                                        MUNCIE           IN 47302‐2123
MS MALISA D CHESHIER       11305 N SAGINAW ST                                                                   MOUNT MORRIS     MI 48458‐2008
MS MALOREE A KISH          34 GLENN ST                                                                          MASSENA          NY 13662‐4029
MS MANDI VAN NATTER        1821 N WEBSTER ST                                                                    KOKOMO           IN 46901‐2101
MS MANDY L HIPPS           670 BEACH ST                                                                         MOUNT MORRIS     MI 48458‐1908
MS MARABETH S FLETCHER     5415 WEA DR                                                                          KOKOMO           IN 46902‐5472
MS MARCELLA A FOULIS       720 EMERSON AVE                                                                      PONTIAC          MI 48340‐3219
MS MARCELLA D MAY          1123 AMOS ST                                                                         PONTIAC          MI 48342‐1883
MS MARCELLA M GARCIA       735 NEWMAN LN                                                                        PONTIAC          MI 48340‐3305
MS MARCELLA R SCURLOCK     4010 TOLEDO ST                                                                       DETROIT          MI 48209‐1361
MS MARCIA A YOUNGBLOOD     PO BOX 430926                                                                        PONTIAC          MI 48343‐0926
MS MARCIA COLLINS          49 W LONGFELLOW AVE                                                                  PONTIAC          MI 48340‐1827
MS MARCIA DAVIS            1722 N BUCKEYE ST                                                                    KOKOMO           IN 46901‐2222
MS MARCIA K JONES          1409 W 9TH ST                                                                        MUNCIE           IN 47302‐2166
MS MARCIA L MILLIMAKI      87 PUTNAM AVE APT A                                                                  PONTIAC          MI 48342‐1266
MS MARCIA L PEREZ          410 BRYNFORD AVE                                                                     LANSING          MI 48917‐2992
MS MARCIA M FLYNN          29306 ELMIRA ST                                                                      LIVONIA          MI 48150‐3171
MS MARCIA S ANDERSON       22 P ST                                                                              BEDFORD          IN 47421‐1718
MS MARCIE A WASHINGTON     1409 E WILLIAMSON ST                                                                 BURTON           MI 48529‐1639
MS MARCY A GARLAND         390 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8140
MS MARCY HARROUN           69 W CORNELL AVE                                                                     PONTIAC          MI 48340‐2717
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Name                         Address1                       Address2            Address3         Address4         City           State Zip
MS MARCY L WILKS             483 W COLUMBIA AVE APT 107                                                           PONTIAC         MI 48340‐1644
MS MARCYLENE P IALO          464 HOLLIS ST                                                                        FRAMINGHAM      MA 01702‐8623
MS MARDA C SCHMIDT           200 N GRACE ST                                                                       LANSING         MI 48917‐4908
MS MARE G GARLAND            2168 E WILLIAMSON ST                                                                 BURTON          MI 48529‐2444
MS MARESSA STIDHAM           712 H ST                                                                             BEDFORD         IN 47421‐2614
MS MARGARET A BEALL          606 W 11TH ST                                                                        MUNCIE          IN 47302‐3129
MS MARGARET A BLAIR          8 N MAIN ST APT 2                                                                    MASSENA         NY 13662‐1148
MS MARGARET A DOWNEY         1821 W 7TH ST                                                                        MUNCIE          IN 47302‐2192
MS MARGARET A HENDERSON      1486 BRADY AVE                                                                       BURTON          MI 48529‐2012
MS MARGARET A JOHNSON        713 NEWMAN LN                                                                        PONTIAC         MI 48340‐3305
MS MARGARET A KEPLER         3116 COURT ST APT 8                                                                  SYRACUSE        NY 13206‐1049
MS MARGARET A NELSON         1613 W 11TH ST                                                                       MUNCIE          IN 47302‐6612
MS MARGARET A PARTEE         1040 MEADOWLAWN DR                                                                   PONTIAC         MI 48340‐1730
MS MARGARET A RONQUILLO      110 W YPSILANTI AVE                                                                  PONTIAC         MI 48340‐1873
MS MARGARET A SABO           11270 RIVEREDGE DR                                                                   CLEVELAND       OH 44130‐1257
MS MARGARET A SCHWARZ        738 HOLLISTER ST                                                                     PONTIAC         MI 48340‐2428
MS MARGARET A WIEGAND        10720 RICHARD DR                                                                     CLEVELAND       OH 44130‐1307
MS MARGARET CORRIGAN         10420 DALE AVE # DOWN                                                                CLEVELAND       OH 44111‐3850
MS MARGARET D HARBERT        682 BAY ST                                                                           PONTIAC         MI 48342‐1918
MS MARGARET D YACKIN         11330 RIVEREDGE DR                                                                   CLEVELAND       OH 44130‐1259
MS MARGARET E BELL           1515 W 14TH ST                                                                       MUNCIE          IN 47302‐2914
MS MARGARET E BITNER         1525 N BUCKEYE ST                                                                    KOKOMO          IN 46901‐2225
MS MARGARET E POTTER         145 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1841
MS MARGARET E WENZEL         1331 KELLOGG AVE                                                                     JANESVILLE      WI 53546‐6021
MS MARGARET GRAPPIN          216 W LONGFELLOW AVE                                                                 PONTIAC         MI 48340‐1834
MS MARGARET H BOHNHOFF       420 N GRACE ST                                                                       LANSING         MI 48917‐4910
MS MARGARET H WILSON         608 BECKER AVE                                                                       WILMINGTON      DE 19804‐2106
MS MARGARET HUMPHREY         11800 BROOKPARK RD TRLR C19                                                          CLEVELAND       OH 44130‐1184
MS MARGARET J ACKERMAN       9 LAUREL AVE APT 803                                                                 MASSENA         NY 13662‐2058
MS MARGARET J BAKER          524 IKE UNDERWOOD LN                                                                 BEDFORD         IN 47421‐1640
MS MARGARET J BAUMGART       7158 ESTRELLE AVE                                                                    MOUNT MORRIS    MI 48458‐2147
MS MARGARET L CHANNEL        1502 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2183
MS MARGARET L HALE           13 LEANEE LN                                                                         PONTIAC         MI 48340‐1651
MS MARGARET M CREGER, TTEE   2719 PROVINCETOWN CT                                                                 ANN ARBOR       MI 48103‐2355
MS MARGARET M GALLAGHER      1171 STANLEY AVE                                                                     PONTIAC         MI 48340‐1780
MS MARGARET M HOLLOWAY       77 E ORVIS ST                                                                        MASSENA         NY 13662‐2050
MS MARGARET M JONES          1720 N WEBSTER ST                                                                    KOKOMO          IN 46901‐2104
MS MARGARET M OGLE           875 W AVON RD APT 233C                                                               ROCHESTER       MI 48307‐2778
MS MARGARET M PRIOR          470 FOX HILLS DR N APT 3                                                             BLOOMFIELD      MI 48304‐1333
MS MARGARET M WENDLAND       1510 KELLOGG AVE                                                                     JANESVILLE      WI 53546‐6024
MS MARGARET M WILLHELM       1400 NATALIE DR                                                                      BURTON          MI 48529‐1616
MS MARGARET POLIVKA          10861 RIVEREDGE DR                                                                   CLEVELAND       OH 44130‐1250
MS MARGARET SHELBY PARSONS   919 KENNY ST                                                                         GALLATIN        TN 37066
MS MARGARET STEVING          10750 FAIRLAWN DR                                                                    CLEVELAND       OH 44130‐1208
MS MARGARETA PEREZ           2157 LANSING ST                                                                      DETROIT         MI 48209‐1672
MS MARGARETTE J SHERRILL     1103 HERRINGTON LN                                                                   PONTIAC         MI 48342‐1837
MS MARGARITA CORDOVA         909 STANLEY AVE                                                                      PONTIAC         MI 48340‐2561
MS MARGARITA CORDOVA         770 PENSACOLA AVE                                                                    PONTIAC         MI 48340‐2357
MS MARGARITA O CORDOVA       748 CORTWRIGHT ST                                                                    PONTIAC         MI 48340‐2304
MS MARGARITA RESTO           2609 LINKWOOD AVE                                                                    WILMINGTON      DE 19805‐2333
MS MARGARITA SOLIZ           939 DEWEY ST                                                                         PONTIAC         MI 48340‐2512
MS MARGARITA V LOPEZ         1112 NORWOOD RD                                                                      LANSING         MI 48917‐2362
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Name                               Address1                        Address2            Address3         Address4              City           State Zip
MS MARGE D ALLEN                   2008 AVENUE A                                                                              FLINT           MI 48505‐4614
MS MARGIE E ADDINGTON              3813 LORRAINE AVE                                                                          FLINT           MI 48506‐4237
MS MARGIE E TERRELL                222 M ST                                                                                   BEDFORD         IN 47421‐1815
MS MARGIE E TERRELL                2212 M ST APT 2A                                                                           BEDFORD         IN 47421‐1815
MS MARGIE EVANS                    712 W 7TH ST                                                                               MUNCIE          IN 47302‐2211
MS MARGIE M BLACK                  1501 W 9TH ST                                                                              MUNCIE          IN 47302‐2120
MS MARGIE MORRISON                 1312 18TH ST                                                                               BEDFORD         IN 47421‐4135
MS MARGIE O WILLBANKS              2163 E BOATFIELD AVE                                                                       BURTON          MI 48529‐1713
MS MARGIE PITTS                    1044 E COLDWATER RD                                                                        FLINT           MI 48505‐1502
MS MARGO HARRIS                    902 MELROSE ST                                                                             PONTIAC         MI 48340‐3127
MS MARGO M UPTON                   442 WALNUT ST                                                                              MOUNT MORRIS    MI 48458‐1951
MS MARGOT C MCFALL                 620 E FOX HILLS DR                                                                         BLOOMFIELD      MI 48304‐1304
MS MARGOT K PFEIFFER               4101 FERN AVE                                                                              BURTON          MI 48529‐1772
MS MARGRIT V ZINGGELER             9663 HARBOUR COVE CT                                                                       YPSILANTI       MI 48197‐6901
MS MARGUARITE L AMES               1112 W BURBANK AVE APT 204                                                                 JANESVILLE      WI 53546‐6146
MS MARGUERITE J JONAGAN            14265 MIDDLEBELT RD APT 239                                                                LIVONIA         MI 48154‐4570
MS MARGUERITE L BATES              1507 KENNETH ST                                                                            BURTON          MI 48529‐2209
MS MARGUERITE P SPICER             638 E FOX HILLS DR                                                                         BLOOMFIELD      MI 48304‐1345
MS MARGUERITE R MCSOLEY            1506 13TH ST                                                                               BEDFORD         IN 47421‐3112
MS MARGUERITE ROSSELLI             215 SUNSET LANE                                                                            HOWELL          NJ 07731
MS MARGUERITE WILSON               191 W RUTGERS AVE                                                                          PONTIAC         MI 48340‐2761
MS MARI C LOPEZ                    407 BRYNFORD AVE                                                                           LANSING         MI 48917‐2996
MS MARIA A CARROTHERS              2895 DEERFIELD APT 203                                                                     LAKE ORION      MI 48360‐2397
MS MARIA A CONTRERAS               780 STIRLING ST                                                                            PONTIAC         MI 48340‐3163
MS MARIA A CYARS                   9822 JULIE DR                                                                              YPSILANTI       MI 48197‐8287
MS MARIA A ESCUTIA                 4716 PLUMER ST                                                                             DETROIT         MI 48209‐1390
MS MARIA A GALINDO                 2033 CLARK ST                                                                              DETROIT         MI 48209‐1668
MS MARIA A KILCLINE                423 W BROADWAY ST                                                                          KOKOMO          IN 46901‐2811
MS MARIA A MONKRESS                9929 LINDA DR                                                                              YPSILANTI       MI 48197‐6918
MS MARIA A RODRIGUEZ               1131 CHERRYLAWN DR                                                                         PONTIAC         MI 48340‐1705
MS MARIA ALLEN                     108 CHARLES LN                                                                             PONTIAC         MI 48341‐2927
MS MARIA BARNETSON                 734 CORWIN AVE                                                                             PONTIAC         MI 48340‐2412
MS MARIA BORG                      9929 LINDA DR                                                                              YPSILANTI       MI 48197‐6918
MS MARIA C HERNANDEZ               4704 TOLEDO ST                                                                             DETROIT         MI 48209‐1373
MS MARIA C MUNOZ                   4610 PLUMER ST                                                                             DETROIT         MI 48209‐1470
MS MARIA C RAMIREZ‐CALLES          2147 HUBBARD ST                                                                            DETROIT         MI 48209‐3329
MS MARIA D BRIONES                 92 STEGMAN LN                                                                              PONTIAC         MI 48340‐1664
MS MARIA D GALVAN                  707 NEWMAN LN                                                                              PONTIAC         MI 48340‐3303
MS MARIA D HERNANDEZ               3221 LOCKWOOD ST                                                                           DETROIT         MI 48210‐3256
MS MARIA D REGALADO                4213 BRANDON ST                                                                            DETROIT         MI 48209‐1331
MS MARIA D SALCIDO                 3953 TOLEDO ST                                                                             DETROIT         MI 48216‐1060
MS MARIA DOLORES CASTILLO GARCIA   C/ PASEO N 56                                                        CIEZA MURCIA 30 530
                                                                                                        SPAIN
MS MARIA DOLORES CASTILLO GARCIA   C/ PASEO N 56 2                                                      CIEZA MURCIA 30 530
                                                                                                        SPAIN
MS MARIA E ALVARADO                872 STANLEY AVE                                                                            PONTIAC        MI   48340‐2558
MS MARIA E HERNANDEZ               2917 HARWICK DR APT 3                                                                      LANSING        MI   48917‐2357
MS MARIA E MARTINEZ                45 W COLUMBIA AVE                                                                          PONTIAC        MI   48340‐1807
MS MARIA E RAMOS                   2095 CLARKDALE ST                                                                          DETROIT        MI   48209‐1691
MS MARIA E RAMOS                   2093 CLARKDALE ST                                                                          DETROIT        MI   48209‐1691
MS MARIA E SAID                    618 E FOX HILLS DR                                                                         BLOOMFIELD     MI   48304‐1304
MS MARIA F PENA                    306 W YALE AVE                                                                             PONTIAC        MI   48340‐1753
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Name                          Address1                            Address2                          Address3   Address4              City            State Zip
MS MARIA FRYE                 1907 N LAFOUNTAIN ST                                                                                   KOKOMO           IN 46901‐2321
MS MARIA G FIGUEROA           226 HIGH ST                                                                                            PONTIAC          MI 48342‐1121
MS MARIA G ROMERO             95 PUTNAM AVE                                                                                          PONTIAC          MI 48342‐1266
MS MARIA G ROSS               2300 SCOTTEN ST                                                                                        DETROIT          MI 48209‐1359
MS MARIA GRAZIA SEREGNI       C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO 290   NOLA       80035 NAPLES ITALY

MS MARIA GRAZIA SEREGNI       C/O D ALESSANDRO & PARTNERS SGE     VIA ANFITEATRO LATERIZIO NO 290   NOLA       NAPLES 80035 ITALY

MS MARIA H MAKAROV            448 FOX HILLS DR N APT 6                                                                               BLOOMFIELD      MI   48304‐1330
MS MARIA I CRUZ               2606 MELISSA CT                                                                                        FREDERICKSBRG   VA   22408‐8069
MS MARIA I MOLINA             530 N GRACE ST                                                                                         LANSING         MI   48917‐2950
MS MARIA J ORTIZ‐CANDELARIO   4742 TOLEDO ST                                                                                         DETROIT         MI   48209‐1373
MS MARIA K VIOLLI             18 PROSPECT AVE                                                                                        MASSENA         NY   13662‐1745
MS MARIA L LOPEZ              2509 CENTER AVE                                                                                        JANESVILLE      WI   53546‐9011
MS MARIA L MCGRAW             801 HARWOOD RD                                                                                         WILMINGTON      DE   19804‐2660
MS MARIA L RAMOS              746 W GRAND BLVD                                                                                       DETROIT         MI   48216‐1003
MS MARIA L SERMENO            2258 E SCOTTWOOD AVE                                                                                   BURTON          MI   48529‐1722
MS MARIA L TALIANO            10 RANSOM AVE                                                                                          MASSENA         NY   13662‐1736
MS MARIA M OROZCO             4699 BRANDON ST                                                                                        DETROIT         MI   48209‐1334
MS MARIA M REED               1410 GRAM ST                                                                                           BURTON          MI   48529‐2040
MS MARIA MORGAN               326 N CATHERINE ST                                                                                     LANSING         MI   48917‐2930
MS MARIA N GOLLIHER           1901 W 11TH ST                                                                                         MUNCIE          IN   47302‐2154
MS MARIA NOBEL                9929 LINDA DR                                                                                          YPSILANTI       MI   48197‐6918
MS MARIA O GLOVER             4765 PLUMER ST                                                                                         DETROIT         MI   48209‐1356
MS MARIA ORTIZ                605 MELROSE ST                                                                                         PONTIAC         MI   48340‐3116
MS MARIA QUATTROCIOCCHI       628 S SPINNINGWHEEL LN                                                                                 BLOOMFIELD      MI   48304‐1322
MS MARIA R PAPPAS             547 FOX HILLS DR S APT 6                                                                               BLOOMFIELD      MI   48304‐1358
MS MARIA RAMIREZ              4717 BRANDON ST                                                                                        DETROIT         MI   48209‐1392
MS MARIA RIBEIRO              6131 ROBERT CIR                                                                                        YPSILANTI       MI   48197‐8281
MS MARIA T CUEVAS             2141 PALMS ST                                                                                          DETROIT         MI   48209‐1645
MS MARIA T GAMET              264 W RUTGERS AVE                                                                                      PONTIAC         MI   48340‐2762
MS MARIA T MAGRIE             644 E FOX HILLS DR                                                                                     BLOOMFIELD      MI   48304‐1345
MS MARIA T UBALLE             1129 MEADOWLAWN DR                                                                                     PONTIAC         MI   48340‐1735
MS MARIA VALIENTE             1137 MEADOWLAWN DR                                                                                     PONTIAC         MI   48340‐1735
MS MARIA VILLAGOMEZ           41 W COLUMBIA AVE                                                                                      PONTIAC         MI   48340‐1807
MS MARIA W BUMBREY            2911 BROYHILL CT                                                                                       FREDERICKSBRG   VA   22408‐2069
MS MARIA WARREN               1025 UNIVERSITY DR APT 6                                                                               PONTIAC         MI   48342‐1884
MS MARIAN C MYERS             2153 E JUDD RD                                                                                         BURTON          MI   48529‐2404
MS MARIAN D LEHMAN            339 W HOPKINS AVE                                                                                      PONTIAC         MI   48340‐1719
MS MARIAN P MCMANUS           1 PROSPECT PARK                                                                                        MASSENA         NY   13662‐1703
MS MARIANNE C FLORES          380 W HOPKINS AVE APT 207                                                                              PONTIAC         MI   48340‐1765
MS MARIANNE K WENDLING        11884 CAMDEN ST                                                                                        LIVONIA         MI   48150‐2340
MS MARIE A BENNETT            1073 LAPORT AVE                                                                                        MOUNT MORRIS    MI   48458‐2557
MS MARIE A GRANEY             602 ROCHELLE PL                                                                                        WILMINGTON      DE   19804‐2048
MS MARIE C BRASSEUR           3809 IVANHOE AVE                                                                                       FLINT           MI   48506‐4239
MS MARIE C KMET               9983 JOAN CIR                                                                                          YPSILANTI       MI   48197‐6904
MS MARIE D DELEWSKY           1480 OAK HOLLOW DR                                                                                     MILFORD         MI   48380‐4263
MS MARIE E FUER               20 BRACKETT RD                                                                                         FRAMINGHAM      MA   01702‐8741
MS MARIE E PIERSON            170 EUCLID AVE                                                                                         PONTIAC         MI   48342‐1116
MS MARIE FISHER               1401 W 11TH ST                                                                                         MUNCIE          IN   47302‐2170
MS MARIE GARZA                4695 BRANDON ST                                                                                        DETROIT         MI   48209‐1396
MS MARIE J GUIZAR             4201 BRANDON ST                                                                                        DETROIT         MI   48209‐1331
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Name                         Address1                       Address2            Address3         Address4         City            State Zip
MS MARIE K BLANKENSHIP       3332 SPRING VALLEY DR                                                                FLINT            MI 48504‐1716
MS MARIE K YARBRO            72 KAREN CT                                                                          PONTIAC          MI 48340‐1637
MS MARIE KUEBLER             797 CORWIN CT                                                                        PONTIAC          MI 48340‐2415
MS MARIE L BOURDAGE          1425 KENNETH ST                                                                      BURTON           MI 48529‐2207
MS MARIE L EARNS             1485 E MCLEAN AVE                                                                    BURTON           MI 48529‐1613
MS MARIE R MAYNARD           21 KENT ST                                                                           MASSENA          NY 13662‐2122
MS MARIE T KLAPATAS          2143 SCOTTEN ST                                                                      DETROIT          MI 48209‐1666
MS MARIE V GUNNELS           11205 WASHINGTON AVE                                                                 MOUNT MORRIS     MI 48458‐1957
MS MARIETTA MITCHELL         138 CHARLES LN                                                                       PONTIAC          MI 48341‐2927
MS MARIETTA WILSON           824 STIRLING ST                                                                      PONTIAC          MI 48340‐3170
MS MARILYN A GILLUM‐MURPHY   1435 W 8TH ST                                                                        MUNCIE           IN 47302‐2164
MS MARILYN BECK              1922 W 8TH ST                                                                        MUNCIE           IN 47302‐2183
MS MARILYN C SANCHEZ         155 EUCLID AVE                                                                       PONTIAC          MI 48342‐1115
MS MARILYN E SMITH           747 BLAINE AVE                                                                       PONTIAC          MI 48340‐2401
MS MARILYN ENGLAND           1290 LOCKE ST                                                                        PONTIAC          MI 48342‐1946
MS MARILYN HILL              1510 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2183
MS MARILYN J GOLLINGER       3 ROCKAWAY ST                                                                        MASSENA          NY 13662‐2112
MS MARILYN J ISOM            153 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MS MARILYN M MORGAN          625 BUENA VISTA ST APT 1                                                             MOUNT MORRIS     MI 48458‐1961
MS MARILYN MACK              2052 E BERGIN AVE                                                                    BURTON           MI 48529‐1702
MS MARILYN N SMITH           11008 STACY RUN                                                                      FREDERICKSBRG    VA 22408‐8074
MS MARILYN R LAPETER         148 ANDREWS ST APT 2                                                                 MASSENA          NY 13662‐1851
MS MARILYN R MCCREADY        2310 VILLAGE PARK CT                                                                 ONTARIO          OH 44906‐1166
MS MARILYN R SULLIVAN        612 4TH ST                                                                           BEDFORD          IN 47421‐2229
MS MARILYN S JOHNSON         163 W YALE AVE                                                                       PONTIAC          MI 48340‐1863
MS MARILYN S SMITH           479 FOX RIVER DR                                                                     BLOOMFIELD       MI 48304‐1009
MS MARILYN S ZACHARIAS       1022 W POWERS ST                                                                     MUNCIE           IN 47305‐2139
MS MARILYNDIA I PARRISH      815 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3103
MS MARILYNN ROSE             773 E FOX HILLS DR                                                                   BLOOMFIELD       MI 48304‐1343
MS MARINA I CONTRERAS        800 CESAR E CHAVEZ AVE                                                               PONTIAC          MI 48340‐2467
MS MARINA S CARTER           599 LANCASTER LN                                                                     PONTIAC          MI 48342‐1852
MS MARION A GILSTRAP         1420 I ST                                                                            BEDFORD          IN 47421‐3324
MS MARION C CRUME            1307 N WABASH AVE                                                                    KOKOMO           IN 46901‐2601
MS MARION D ELEY             1270 E KURTZ AVE                                                                     FLINT            MI 48505‐1765
MS MARION E COMPTON          9950 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6930
MS MARION E FARROW           1163 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
MS MARION F BENJAMIN         812 STANLEY ST                                                                       LANSING          MI 48915‐1365
MS MARION F RUBA             8 LYNAM PL                                                                           WILMINGTON       DE 19804‐2032
MS MARION I HAWLEY           814 STIRLING ST                                                                      PONTIAC          MI 48340‐3170
MS MARION I STEVENS          35 BOWERS ST                                                                         MASSENA          NY 13662‐2103
MS MARION J PIKE             881 STIRLING ST                                                                      PONTIAC          MI 48340‐3166
MS MARION J SHOCKLEY         1200 W 11TH ST                                                                       MUNCIE           IN 47302‐2262
MS MARION L BINDSCHATEL      1050 COLLINS AVE                                                                     MOUNT MORRIS     MI 48458‐2138
MS MARION L SHREVE           333 OAK ST                                                                           MOUNT MORRIS     MI 48458‐1928
MS MARION LAMBERT            811 18TH ST                                                                          BEDFORD          IN 47421‐4211
MS MARION R FAIRBANKS        11800 BROOKPARK RD TRLR F42                                                          CLEVELAND        OH 44130‐1184
MS MARION T HARPER           2009 N BELL ST                                                                       KOKOMO           IN 46901‐2308
MS MARION T KING             6 ANDREWS ST                                                                         FRAMINGHAM       MA 01702‐8702
MS MARION Y SYKES            1129 AMOS ST                                                                         PONTIAC          MI 48342‐1883
MS MARISA A FLYNN            434 HOLLIS ST                                                                        FRAMINGHAM       MA 01702‐8623
MS MARISA R KONDYLES         2065 E JUDD RD                                                                       BURTON           MI 48529‐2402
MS MARISELA VILLARTA         494 FOX HILLS DR N APT 1                                                             BLOOMFIELD       MI 48304‐1338
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MS MARISSA GONZALEZ      2113 CLARK ST                                                                        DETROIT          MI 48209‐3907
MS MARISSA R HUFF        10804 COREYS WAY                                                                     FREDERICKSBRG    VA 22408‐2065
MS MARITZA RIVERA        2215 LANSING ST APT 109                                                              DETROIT          MI 48209‐1654
MS MARJORIE A DIEHL      31 LYNBROOK RD                                                                       WILMINGTON       DE 19804‐2668
MS MARJORIE C BARTLETT   67 N ST                                                                              BEDFORD          IN 47421‐1733
MS MARJORIE E VALLANCE   8 CLARK ST                                                                           MASSENA          NY 13662‐1812
MS MARJORIE H KILCLINE   1225 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2717
MS MARJORIE K LUMBARD    912 KETTERING AVE                                                                    PONTIAC          MI 48340‐3255
MS MARJORIE L BARTLETT   79 N ST                                                                              BEDFORD          IN 47421‐1733
MS MARJORIE L DEMPSEY    1138 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1835
MS MARJORIE L LEWIS      1804 H ST                                                                            BEDFORD          IN 47421‐4220
MS MARJORIE R AVERY      195 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2761
MS MARJORIE S BROWN      11227 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2040
MS MARJORIE S DAUSCH     310 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8140
MS MARJORIE T CARMAN     4097 FERN AVE                                                                        BURTON           MI 48529‐1772
MS MARJORY A STARNES     410 THE WOODS                                                                        BEDFORD          IN 47421‐9380
MS MARJORY N DILLON      1411 W 11TH ST                                                                       MUNCIE           IN 47302‐2170
MS MARKITA C NELSON      380 W HOPKINS AVE APT 308                                                            PONTIAC          MI 48340‐1766
MS MARKITA GRIGGS        121 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2759
MS MARKITA M WILLIAMS    556 LANCASTER LN                                                                     PONTIAC          MI 48342‐1848
MS MARLA D SCHAFER       1125 WESTFIELD RD                                                                    LANSING          MI 48917‐2376
MS MARLENE A BARNES      255 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1815
MS MARLENE A GREEN       149 WATER ST                                                                         MASSENA          NY 13662‐2046
MS MARLENE A KULICK      4831 SAINT HEDWIG ST                                                                 DETROIT          MI 48210‐3222
MS MARLENE CHRISTIAN     1151 AMOS ST                                                                         PONTIAC          MI 48342‐1803
MS MARLENE D CLARK       411 HELEN ST                                                                         MOUNT MORRIS     MI 48458‐1920
MS MARLENE E WOODS       1977 W SPINNINGWHEEL LN                                                              BLOOMFIELD       MI 48304‐1067
MS MARLENE F ROCK        7400 ALEXANDER ST                                                                    MOUNT MORRIS     MI 48458‐2927
MS MARLENE M KELLY       681 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1083
MS MARLENE M SOLOWAY     64 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2732
MS MARLENE SMITH         158 WATER ST                                                                         MASSENA          NY 13662‐2011
MS MARLENEA A DUNSMORE   1001 W 9TH ST                                                                        MUNCIE           IN 47302‐2245
MS MARNAY L SPENCER      1540 KING ST                                                                         JANESVILLE       WI 53546‐6028
MS MARNIESHA L HOWARD    490 FOX HILLS DR N APT 5                                                             BLOOMFIELD       MI 48304‐1337
MS MARSHA HORTON         1510 15TH ST                                                                         BEDFORD          IN 47421‐3602
MS MARSHA M SPIKER       147 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MS MARTA G MONTALVO      4727 MERRITT ST                                                                      DETROIT          MI 48209‐1354
MS MARTA MOSS            1229 N UNION ST                                                                      KOKOMO           IN 46901‐2901
MS MARTHA A CONTRERAS    1211 KING ST APT 4                                                                   JANESVILLE       WI 53546‐6057
MS MARTHA A COX          991 SUGAR HILL ADDITION                                                              BEDFORD          IN 47421‐8146
MS MARTHA A DAILEY       1810 N WASHINGTON ST TRLR 4                                                          KOKOMO           IN 46901‐2277
MS MARTHA A OWENS        803 PENSACOLA AVE                                                                    PONTIAC          MI 48340‐2362
MS MARTHA A RAY          2132 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2444
MS MARTHA E JONES        227 BRYNFORD AVE                                                                     LANSING          MI 48917‐2991
MS MARTHA HODGES         2 HIGHLAND AVE                                                                       MASSENA          NY 13662‐1822
MS MARTHA J CIKANEK      1202 O ST                                                                            BEDFORD          IN 47421‐3122
MS MARTHA J CONNORS      25 WALNUT AVE                                                                        MASSENA          NY 13662‐2026
MS MARTHA J DOUGLAS      1101 15TH ST                                                                         BEDFORD          IN 47421‐3719
MS MARTHA J KOONS        1215 S HOYT AVE                                                                      MUNCIE           IN 47302‐3115
MS MARTHA K BUGHER       1101 1/2 N ARMSTRONG ST                                                              KOKOMO           IN 46901‐2821
MS MARTHA KEMP           1308 OAK ST                                                                          BEDFORD          IN 47421‐1832
MS MARTHA L HEINTZ       44 GLENN ST                                                                          MASSENA          NY 13662‐2019
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Name                   Address1                       Address2            Address3         Address4         City            State Zip
MS MARTHA L HOCH       9681 BAYVIEW DR APT 215                                                              YPSILANTI        MI 48197‐7026
MS MARTHA L POWELL     107 LEGRANDE AVE APT A                                                               PONTIAC          MI 48342‐1135
MS MARTHA M REED       40 KAREN CT                                                                          PONTIAC          MI 48340‐1635
MS MARTHA M WILLS      1515 W 10TH ST                                                                       MUNCIE           IN 47302‐2142
MS MARTHA O MARTINEZ   71 W COLUMBIA AVE                                                                    PONTIAC          MI 48340‐1809
MS MARTHA PAGE         18 E FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2726
MS MARTHA VARGAS       47 SALLEE LN                                                                         PONTIAC          MI 48340‐1656
MS MARTHA VASQUEZ      117 W STRATHMORE AVE                                                                 PONTIAC          MI 48340‐2775
MS MARUITA L RUSSELL   97 PINGREE AVE                                                                       PONTIAC          MI 48342‐1160
MS MARVALYN S WRIGHT   433 FOX HILLS DR S APT 3                                                             BLOOMFIELD       MI 48304‐1350
MS MARVIE G WEST       3304 ROOSEVELT ST                                                                    DETROIT          MI 48208‐2355
MS MARVILLA NOLES      1310 W 11TH ST                                                                       MUNCIE           IN 47302‐2264
MS MARY A BRANSCUM     2211 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1783
MS MARY A CARTER       1706 W 6TH ST                                                                        MUNCIE           IN 47302‐2107
MS MARY A CHAFFIN      310 W COLUMBIA AVE                                                                   PONTIAC          MI 48340‐1712
MS MARY A CLAY         141 CHARLES LN                                                                       PONTIAC          MI 48341‐2928
MS MARY A CRAINE       2023 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2320
MS MARY A CULHAN       1429 15TH ST                                                                         BEDFORD          IN 47421‐3705
MS MARY A CZESZEWSKI   29024 ELMIRA ST                                                                      LIVONIA          MI 48150‐3129
MS MARY A DANKO        4537 TRAILS END                                                                      LAPEER           MI 48446‐2893
MS MARY A DISTEFANO    709 CURTIS AVE                                                                       WILMINGTON       DE 19804‐2109
MS MARY A FIDDLER      500 GREENTREE DR APT 11                                                              BEDFORD          IN 47421‐9675
MS MARY A HAMPTON      205 RAEBURN ST                                                                       PONTIAC          MI 48341‐3047
MS MARY A HANDLEY      724 WILBERFORCE DR                                                                   FLINT            MI 48503‐5235
MS MARY A HEPPERLY     2144 S CHATHAM ST                                                                    JANESVILLE       WI 53546‐6115
MS MARY A JENKINS      1019 16TH ST                                                                         BEDFORD          IN 47421‐3733
MS MARY A LANEHART     39 LEANEE LN                                                                         PONTIAC          MI 48340‐1651
MS MARY A MURPHY       26 GEORGE ST                                                                         FRAMINGHAM       MA 01702‐8711
MS MARY A PEPERDINE    2064 WEBBER AVE                                                                      BURTON           MI 48529‐2412
MS MARY A POST         14 PROSPECT CIR                                                                      MASSENA          NY 13662‐1702
MS MARY A RICHARDS     32 LYNBROOK RD                                                                       WILMINGTON       DE 19804‐2671
MS MARY A SAWCHAK      10700 DEBORAH DR                                                                     CLEVELAND        OH 44130‐1372
MS MARY A SCHULTZ      5541 W COUNTY ROAD A                                                                 JANESVILLE       WI 53548‐8698
MS MARY A SOLOMON      1300 E HUMPHREY AVE                                                                  FLINT            MI 48505‐1761
MS MARY A STEVENS      1029 O ST                                                                            BEDFORD          IN 47421‐2813
MS MARY A WALSH        694 MELROSE ST                                                                       PONTIAC          MI 48340‐3117
MS MARY A YOUNG        1112 W BURBANK AVE APT 306                                                           JANESVILLE       WI 53546‐6146
MS MARY B LOPEZ        11638 TEMPERANCE ST                                                                  MOUNT MORRIS     MI 48458‐2039
MS MARY B LYNCH        606 FALLON AVE                                                                       WILMINGTON       DE 19804‐2112
MS MARY B MANNING      457 HOLLIS ST                                                                        FRAMINGHAM       MA 01702‐8647
MS MARY B OWENS        53 LEANEE LN                                                                         PONTIAC          MI 48340‐1651
MS MARY B PRUNTY       1409 18TH ST APT 1                                                                   BEDFORD          IN 47421‐4100
MS MARY B ROSS         128 INMAN CT                                                                         BEDFORD          IN 47421‐9628
MS MARY BOBEE          4743 BRANDON ST                                                                      DETROIT          MI 48209‐0918
MS MARY BUTLER         1220 W 1ST ST                                                                        MUNCIE           IN 47305‐2105
MS MARY C FANNING      500 FOX HILLS DR N APT 2                                                             BLOOMFIELD       MI 48304‐1339
MS MARY C MCEWEN       4403 1/2 DAVISON RD LOT 13                                                           BURTON           MI 48509‐1400
MS MARY C PINKERTON    10819 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8042
MS MARY C TWEED        1420 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2048
MS MARY CARR           1151 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
MS MARY COLON          841 STANLEY AVE                                                                      PONTIAC          MI 48340‐2559
MS MARY D BURROUGHS    1141 HERRINGTON LN                                                                   PONTIAC          MI 48342‐1837
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Name                   Address1                        Address2            Address3         Address4         City           State Zip
MS MARY DANESCU        12215 HARTEL ST                                                                       LIVONIA         MI 48150‐2332
MS MARY DANESCU        448 FOX HILLS DR N APT 4                                                              BLOOMFIELD      MI 48304‐1330
MS MARY E ABNEY        1321 N LAFOUNTAIN ST                                                                  KOKOMO          IN 46901‐2327
MS MARY E ARMSTRONG    1109 NELSON ST                                                                        FLINT           MI 48503‐1823
MS MARY E BRYANT       59 W YALE AVE                                                                         PONTIAC         MI 48340‐1858
MS MARY E CARSON       2993 25TH ST                                                                          DETROIT         MI 48216‐1001
MS MARY E CASSELMAN    13 GROVE ST                                                                           MASSENA         NY 13662‐2131
MS MARY E DEERING      39 GERDON AVE                                                                         PONTIAC         MI 48342‐1118
MS MARY E DICAMPLI     320 EXMORE AVE                                                                        WILMINGTON      DE 19805‐2322
MS MARY E FOUTY        3438 W SAGINAW ST                                                                     LANSING         MI 48917‐2203
MS MARY E GLASS        1323 N COURTLAND AVE                                                                  KOKOMO          IN 46901‐2751
MS MARY E HALCOMB      1312 E HARVARD AVE                                                                    FLINT           MI 48505‐1759
MS MARY E HALL         604 16TH ST                                                                           BEDFORD         IN 47421‐3853
MS MARY E HAWES        760 STIRLING ST                                                                       PONTIAC         MI 48340‐3163
MS MARY E KOEHLER      416 N DEERFIELD AVE                                                                   LANSING         MI 48917‐2986
MS MARY E LARGURA      1009 M ST                                                                             BEDFORD         IN 47421‐2926
MS MARY E LUNEY        1364 GRAM ST                                                                          BURTON          MI 48529‐2040
MS MARY E MCCARTHY     530 HOLLIS ST                                                                         FRAMINGHAM      MA 01702‐8645
MS MARY E MINTON       1103 W 1ST ST                                                                         MUNCIE          IN 47305‐2104
MS MARY E MORGAN       563 S SPINNINGWHEEL LN                                                                BLOOMFIELD      MI 48304‐1320
MS MARY E ORMSBY       1201 N ARMSTRONG ST                                                                   KOKOMO          IN 46901‐2819
MS MARY E OUTTEN       510 BECKER AVE                                                                        WILMINGTON      DE 19804‐2104
MS MARY E PASTORI      1897 HUNTERS RIDGE DR                                                                 BLOOMFIELD      MI 48304‐1035
MS MARY E REYNOLDS     907 I ST                                                                              BEDFORD         IN 47421‐2623
MS MARY E RUMBERGER    1425 E MCLEAN AVE                                                                     BURTON          MI 48529‐1611
MS MARY E UHRIG        4403 1/2 DAVISON RD LOT 27                                                            BURTON          MI 48509‐1400
MS MARY E WEISSE       1908 W 8TH ST                                                                         MUNCIE          IN 47302‐2183
MS MARY E WOLFE        2220 E BUDER AVE                                                                      BURTON          MI 48529‐1736
MS MARY F DELL         2033 DELANEY ST                                                                       BURTON          MI 48509‐1022
MS MARY F GRANFORS     11172 NAOMI DR                                                                        CLEVELAND       OH 44130‐1554
MS MARY F LINDSAY      11200 KAREN ST                                                                        LIVONIA         MI 48150‐3181
MS MARY F PRICE        748 NEWMAN LN                                                                         PONTIAC         MI 48340‐3304
MS MARY F WADE         1416 17TH ST                                                                          BEDFORD         IN 47421‐4102
MS MARY FERGUSON       517 HARRIET ST                                                                        FLINT           MI 48505‐4711
MS MARY FERRELL        630 CAMERON AVE                                                                       PONTIAC         MI 48340‐3200
MS MARY G GROVE        3818 LOVETT ST                                                                        DETROIT         MI 48210‐3141
MS MARY G PEREZ        696 STANLEY AVE                                                                       PONTIAC         MI 48340‐2469
MS MARY G THORSBY      339 LINCOLN AVE                                                                       MOUNT MORRIS    MI 48458‐1169
MS MARY H GUZMAN       635 KENILWORTH AVE                                                                    PONTIAC         MI 48340‐3237
MS MARY H MCKILLOP     1 GRASSMERE TER APT 39                                                                MASSENA         NY 13662‐2165
MS MARY H PELLEGRINO   9 LAUREL AVE APT 601                                                                  MASSENA         NY 13662‐2056
MS MARY HALABURDA      1458 E BUDER AVE                                                                      BURTON          MI 48529‐1606
MS MARY HEARN          2228 CHIPPEWA ST                                                                      FLINT           MI 48505‐4330
MS MARY HOSTETTER      1028 P ST                                                                             BEDFORD         IN 47421‐2818
MS MARY J BLACKMORE    2097 E SCOTTWOOD AVE                                                                  BURTON          MI 48529‐1751
MS MARY J BOLIA        71 PARKER AVE                                                                         MASSENA         NY 13662‐2212
MS MARY J CANNEDY      1011 17TH ST                                                                          BEDFORD         IN 47421‐4207
MS MARY J FELDMAN      2204 S PALM ST                                                                        JANESVILLE      WI 53546‐6117
MS MARY J FENNELLY     5460 QUEENS HWY                                                                       CLEVELAND       OH 44130‐1315
MS MARY J GILLIS       84 W YPSILANTI AVE                                                                    PONTIAC         MI 48340‐1872
MS MARY J GONZALES     779 CORWIN CT                                                                         PONTIAC         MI 48340‐2415
MS MARY J IRONSIDE     676 S SPINNINGWHEEL LN                                                                BLOOMFIELD      MI 48304‐1322
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Name                   Address1                           Address2            Address3               Address4                  City            State Zip
MS MARY J JACKSON      165 CHARLES LN                                                                                          PONTIAC          MI 48341‐2928
MS MARY J KOENIG       794 KENILWORTH AVE                                                                                      PONTIAC          MI 48340‐3100
MS MARY J LAMB         1174 E YALE AVE                                                                                         FLINT            MI 48505‐1519
MS MARY J LAROCK       3019 TIMBER DR                                                                                          LANSING          MI 48917‐2385
MS MARY J LLOYD        500 FOX HILLS DR N APT 4                                                                                BLOOMFIELD       MI 48304‐1339
MS MARY J LYNN         766 NEWMAN LN                                                                                           PONTIAC          MI 48340‐3304
MS MARY J MARVIN       103 E KEYSTONE AVE                                                                                      WILMINGTON       DE 19804‐2025
MS MARY J PIZZO        1711 HYLAND ST                                                                                          LANSING          MI 48915‐1336
MS MARY J RICH         1804 W 9TH ST                                                                                           MUNCIE           IN 47302‐6601
MS MARY J RICHEY       105 E ORVIS ST                                                                                          MASSENA          NY 13662‐2049
MS MARY J RICKS        335 THE WOODS                                                                                           BEDFORD          IN 47421‐9379
MS MARY J SNOW         1617 N ST                                                                                               BEDFORD          IN 47421‐3717
MS MARY J TOTTINGHAM   782 STANLEY AVE                                                                                         PONTIAC          MI 48340‐2556
MS MARY JONES          1420 17TH ST                                                                                            BEDFORD          IN 47421‐4102
MS MARY K KATOR        1305 OAK HOLLOW DR                                                                                      MILFORD          MI 48380‐4262
MS MARY K KITTREDGE    1711 BRISTOL COURT DR                                                                                   MOUNT MORRIS     MI 48458‐2185
MS MARY K MAY          11281 HALLER ST                                                                                         LIVONIA          MI 48150‐3180
MS MARY L ALEXANDER    3807 SCOTTEN ST                                                                                         DETROIT          MI 48210‐3161
MS MARY L COATS        1450 W 15TH ST                                                                                          MUNCIE           IN 47302‐2981
MS MARY L COURSON      1 GRASSMERE TER APT 43                                                                                  MASSENA          NY 13662‐2166
MS MARY L HALL         12 RIDGEWOOD AVE                                                                                        MASSENA          NY 13662‐2115
MS MARY L HARRISON     4039 DAVISON RD                                                                                         BURTON           MI 48509‐1463
MS MARY L HEAD         7260 HARVARD AVE                                                                                        MOUNT MORRIS     MI 48458‐2143
MS MARY L KNIGHT       817 ORLANDO AVE                                                                                         PONTIAC          MI 48340‐2356
MS MARY L KREGER       125 LEGRANDE AVE                                                                                        PONTIAC          MI 48342‐1136
MS MARY L MCLEMORE     739 HOLLISTER ST                                                                                        PONTIAC          MI 48340‐2429
MS MARY L MCNEELY      808 TULANE DR                                                                                           FLINT            MI 48503‐5253
MS MARY L ROMANO       8408 MURRAY RIDGE RD                                                                                    ELYRIA           OH 44035‐4749
MS MARY L ROSADO       719 STANLEY AVE                                                                                         PONTIAC          MI 48340‐2472
MS MARY L ROUSER       138 W TENNYSON AVE                                                                                      PONTIAC          MI 48340‐2672
MS MARY L RUSSO        438 HOLLIS ST                                                                                           FRAMINGHAM       MA 01702‐8623
MS MARY L SLUBOWSKI    4090 WOODROW AVE                                                                                        BURTON           MI 48509‐1012
MS MARY L STEELE       1115 W 15TH ST                                                                                          MUNCIE           IN 47302‐3069
MS MARY L STRAUB       9855 JOAN CIR                                                                                           YPSILANTI        MI 48197‐8295
MS MARY L TALLEY       510 EMERSON AVE                                                                                         PONTIAC          MI 48342‐1824
MS MARY L TRETHEWEY    1438 NATALIE DR                                                                                         BURTON           MI 48529‐1644
MS MARY L WALKER       454 FOX HILLS DR N APT 7                                                                                BLOOMFIELD       MI 48304‐1331
MS MARY L YOUNG        1482 KENNETH ST                                                                                         BURTON           MI 48529‐2210
MS MARY LOU REESE      CGM IRA CUSTODIAN                  DTD 09/27/00        700 SE 7TH AVE #3                                POMPANO BEACH    FL 33060
MS MARY LOU REESE      TOD JOHN M FARNELL &               MICHAEL FARNELL     SUBJ TO FL TOD RULES   700 SE 7TH AVE #3         POMPANO BEACH    FL 33060
MS MARY M CARROLL      32 PARKER AVE                                                                                           MASSENA          NY 13662‐2215
MS MARY M GEAR         2447 FERGUSON RD                                                                                        ONTARIO          OH 44906‐1106
MS MARY M HOWLAND      11 THAYER ST                                                                                            FRAMINGHAM       MA 01702‐8717
MS MARY M JONES        1413 N LAFOUNTAIN ST                                                                                    KOKOMO           IN 46901‐2310
MS MARY M LEININGER    754 E FOX HILLS DR                                                                                      BLOOMFIELD       MI 48304‐1306
MS MARY M STIPP        1903 I ST                                                                                               BEDFORD          IN 47421‐4651
MS MARY MURI           4031 MEADOWLANE DR                                                                                      BLOOMFIELD       MI 48304‐3237
MS MARY N BOYER        1412 14TH ST                                                                                            BEDFORD          IN 47421‐3233
MS MARY P LATHAM       520 BRYNFORD AVE                                                                                        LANSING          MI 48917‐2926
MS MARY R DOLPHIN      506 BECKER AVE                                                                                          WILMINGTON       DE 19804‐2104
MS MARY R GOEN         1112 SUMMIT LN                                                                                          BEDFORD          IN 47421‐2550
MS MARY R HAMBICK      726 PALMER DR                                                                                           PONTIAC          MI 48342‐1857
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MS MARY R HAMILTON          1618 K ST                                                                            BEDFORD          IN 47421‐3726
MS MARY R HAVERLAND         1415 15TH ST                                                                         BEDFORD          IN 47421‐3705
MS MARY R HEADRICK          321 N JACKSON ST                                                                     BEDFORD          IN 47421‐1525
MS MARY R RUNELS            4061 WOLFF ST                                                                        DETROIT          MI 48209‐1688
MS MARY R STILES            1107 M ST                                                                            BEDFORD          IN 47421‐2928
MS MARY R TURPIN            153 INMAN CT                                                                         BEDFORD          IN 47421‐9628
MS MARY R VAN SUU           435 BRYNFORD AVE                                                                     LANSING          MI 48917‐2996
MS MARY ROBINSON            803 E VAILE AVE                                                                      KOKOMO           IN 46901‐5509
MS MARY S CECOT             42 ELM ST                                                                            MASSENA          NY 13662‐1826
MS MARY S CORLESS           1477 PROPER AVE                                                                      BURTON           MI 48529‐2045
MS MARY S FISH              2133 E BERGIN AVE                                                                    BURTON           MI 48529‐1703
MS MARY S RYAN              193 ALLEN ST                                                                         MASSENA          NY 13662‐1803
MS MARY SANCHEZ             4667 BRANDON ST                                                                      DETROIT          MI 48209‐1334
MS MARY SMILEY              43 KAREN CT                                                                          PONTIAC          MI 48340‐1636
MS MARY T BREWER            11210 MANSFIELD CLUB DR                                                              FREDERICKSBRG    VA 22408‐2046
MS MARY T FARRELL           2601 SYLVAN AVE                                                                      WILMINGTON       DE 19805‐2344
MS MARY T GUERRIRO          9 THAYER ST                                                                          FRAMINGHAM       MA 01702‐8717
MS MARY T LERMA             831 MORRIS AVE                                                                       LANSING          MI 48917‐2326
MS MARY V LOWE              2811 HARWICK DR                                                                      LANSING          MI 48917‐2350
MS MARY V MAHLICH           340 PENFIELD AVE                                                                     ELYRIA           OH 44035‐3237
MS MARY WILLIAMS            812 17TH ST                                                                          BEDFORD          IN 47421‐4246
MS MARY Y FORD              484 FOX HILLS DR N APT 2                                                             BLOOMFIELD       MI 48304‐1336
MS MARY Y STEWART‐GRIGGS    1253 E HARVARD AVE                                                                   FLINT            MI 48505‐1758
MS MARY Z ALMANZA           842 INGLEWOOD AVE                                                                    PONTIAC          MI 48340‐2313
MS MARYETTA S BALL          1320 11TH ST                                                                         BEDFORD          IN 47421‐2913
MS MARYLYNN D FREDRICKSON   1480 E SCHUMACHER ST                                                                 BURTON           MI 48529‐1622
MS MATIKA D DONOHUE         400 W HOPKINS AVE APT 205                                                            PONTIAC          MI 48340‐1773
MS MATREVA L CUMMINS        51 PINGREE AVE                                                                       PONTIAC          MI 48342‐1159
MS MATTIE HAYES             1269 E YALE AVE                                                                      FLINT            MI 48505‐1752
MS MAUDE E BURKETT          128 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2736
MS MAURA K JOHNSTON         29 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2733
MS MAUREEN A HAERTERICH     2019 W BURBANK AVE                                                                   JANESVILLE       WI 53546‐5961
MS MAUREEN A HAUPRICH       PO BOX 352                                                                           MASSENA          NY 13662‐0352
MS MAUREEN A KANE           426 FOX HILLS DR N APT 4                                                             BLOOMFIELD       MI 48304‐1326
MS MAUREEN BLANCHARD        135 WESTERN AVE                                                                      FRAMINGHAM       MA 01702‐7400
MS MAUREEN E MITCHELL       468 FOX HILLS DR S APT 6                                                             BLOOMFIELD       MI 48304‐1355
MS MAUREEN M KELLY          10780 FAIRLAWN DR                                                                    PARMA            OH 44130‐1208
MS MAVIS F STREET           3316 ROOSEVELT ST                                                                    DETROIT          MI 48208‐2355
MS MAXINE A HALL            188 W CORNELL AVE                                                                    PONTIAC          MI 48340‐2722
MS MAXINE D BELL            3825 IVANHOE AVE                                                                     FLINT            MI 48506‐4239
MS MAXINE DUVALL            795 SUNSET DR                                                                        NOBLESVILLE      IN 46060‐1228
MS MAXINE E DUNNING         3801 HOLLY AVE                                                                       FLINT            MI 48506‐3108
MS MAXINE E FERGUSON        2085 E BOATFIELD AVE                                                                 BURTON           MI 48529‐1711
MS MAXINE H MURPHY          510 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐1602
MS MAXINE HARTMAN           633 W 8TH ST                                                                         MUNCIE           IN 47302‐3114
MS MAXINE J STIGALL         141 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MS MAXINE L LANGE           4403 1/2 DAVISON RD LOT 32                                                           BURTON           MI 48509‐1400
MS MAXINE M SMITH           1608 12TH ST                                                                         BEDFORD          IN 47421‐3104
MS MAXINE R DAVIS           5441 CHEVROLET BLVD APT 209                                                          PARMA            OH 44130‐1454
MS MAXINE RICKETTS          228 W KENNETT RD                                                                     PONTIAC          MI 48340‐2652
MS MAY M CLARKE             10904 COREYS WAY                                                                     FREDERICKSBRG    VA 22408‐2071
MS MAY S MITCHELL           460 FOX HILLS DR S APT 3                                                             BLOOMFIELD       MI 48304‐1354
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
MS MAY X YANG             720 KENILWORTH AVE                                                                   PONTIAC          MI 48340‐3240
MS MAYBELLINE WHITE       2105 CLARKDALE ST                                                                    DETROIT          MI 48209‐1696
MS MAYLYNN W YEN          525 FOX HILLS DR N                                                                   BLOOMFIELD       MI 48304‐1311
MS MAYRA BERNABE‐BUSTOS   718 CORWIN AVE                                                                       PONTIAC          MI 48340‐2412
MS MAZIE H MATTHEWS       11278 MIDDLEBELT RD                                                                  LIVONIA          MI 48150‐3080
MS MEAGAN N DUNCAN        26273 ETON AVE                                                                       DEARBORN HTS     MI 48125‐1444
MS MEGAN B HUGHES         1608 13TH ST                                                                         BEDFORD          IN 47421‐3114
MS MEGAN DOW              5 HIGHLAND AVE                                                                       MASSENA          NY 13662‐1823
MS MEGAN L CAVANAUGH      107 S LAURA CT                                                                       WILMINGTON       DE 19804‐2046
MS MEGAN M WARREN         3376 E MOUNT MORRIS RD                                                               MOUNT MORRIS     MI 48458‐8958
MS MEGAN R HOLCOMB        2270 E MCLEAN AVE                                                                    BURTON           MI 48529‐1777
MS MEGHAN A KRAMER        5990 W MAJESTIC WOODS DR                                                             BLOOMINGTON      IN 47404‐9106
MS MEGHAN M MURWIN        4425 SANDHILL DR                                                                     JANESVILLE       WI 53546‐4421
MS MEGHAN MURWIN          4432 SANDHILL DR                                                                     JANESVILLE       WI 53546‐4421
MS MEGHAN S CARTER        1879 HUNTERS RIDGE DR                                                                BLOOMFIELD       MI 48304‐1035
MS MELANI B RIVERA        45 E ANN ARBOR AVE                                                                   PONTIAC          MI 48340‐1901
MS MELANIE A ISENHAUER    401 N ROSEMARY ST                                                                    LANSING          MI 48917‐4915
MS MELANIE A MURPHEY      11500 RICHARD DR                                                                     PARMA            OH 44130‐1347
MS MELANIE L PORTER       11420 N SAGINAW ST APT 1                                                             MOUNT MORRIS     MI 48458‐2052
MS MELANIE M MURRAY       9833 GERALDINE ST                                                                    YPSILANTI        MI 48197‐6924
MS MELANIE S COLE         1224 MEADOWLAWN DR                                                                   PONTIAC          MI 48340‐1736
MS MELBA J PRESTON        2300 N WASHINGTON ST                                                                 KOKOMO           IN 46901‐5841
MS MELBA J RHODES         11009 N SAGINAW ST APT 2                                                             MOUNT MORRIS     MI 48458‐2029
MS MELINA M MIRON         4140 RISEDORPH ST                                                                    BURTON           MI 48509‐1042
MS MELINDA A LYONS        390 W HOPKINS AVE APT 300                                                            PONTIAC          MI 48340‐1769
MS MELINDA COMBS          429 W 6TH ST                                                                         MUNCIE           IN 47302‐3101
MS MELINDA D RILEY        1127 N WEBSTER ST                                                                    KOKOMO           IN 46901‐2705
MS MELINDA E PENA         731 MONTICELLO AVE                                                                   PONTIAC          MI 48340‐2321
MS MELINDA L COX          389 ELM ST                                                                           MOUNT MORRIS     MI 48458‐1911
MS MELINDA L WILLIAMS     2001 N CENTER RD APT 116                                                             FLINT            MI 48506‐3198
MS MELINDA M ESCOBEDO     253 S WILLIAMS LAKE RD                                                               WATERFORD        MI 48327‐3677
MS MELINDA S CABELLO      1490 PROPER AVE                                                                      BURTON           MI 48529‐2046
MS MELINDA S MOTZ         2917 HARWICK DR APT 6                                                                LANSING          MI 48917‐2357
MS MELINDA WILSON         2 GRINNELL AVE                                                                       MASSENA          NY 13662‐1492
MS MELISA M WOODS         44 MARTIN ST APT 2                                                                   MASSENA          NY 13662‐1181
MS MELISA WILHITE         11203 TIDEWATER TRL                                                                  FREDERICKSBRG    VA 22408‐2040
MS MELISSA A BUSH         9955 JOAN CIR                                                                        YPSILANTI        MI 48197‐6903
MS MELISSA A BUTCHER      5715 CHEVROLET BLVD APT A103                                                         CLEVELAND        OH 44130‐1415
MS MELISSA A DANIEL       3203 LOCKWOOD ST APT 4R                                                              DETROIT          MI 48210‐3296
MS MELISSA A DUNCAN       614 KETTERING AVE                                                                    PONTIAC          MI 48340‐3267
MS MELISSA A DUVAL        54 GUILD RD                                                                          FRAMINGHAM       MA 01702‐8713
MS MELISSA A HILL         2135 S TERRACE ST                                                                    JANESVILLE       WI 53546‐6119
MS MELISSA A JIMENEZ      1191 UNIVERSITY DR                                                                   PONTIAC          MI 48342‐1874
MS MELISSA A JOSLYN       1497 E MCLEAN AVE                                                                    BURTON           MI 48529‐1613
MS MELISSA A MCCLEARN     2126 E MCLEAN AVE                                                                    BURTON           MI 48529‐1740
MS MELISSA A NAVARRE      119 W TENNYSON AVE                                                                   PONTIAC          MI 48340‐2673
MS MELISSA A SPACE        10820 SAMANTHA PL                                                                    FREDERICKSBRG    VA 22408‐8043
MS MELISSA BARTLETT       906 16TH ST STE 1                                                                    BEDFORD          IN 47421‐3845
MS MELISSA D DESILETS     609 E PATERSON ST APT 1                                                              FLINT            MI 48505‐4781
MS MELISSA D HANKIN       814 INGLEWOOD AVE                                                                    PONTIAC          MI 48340‐2313
MS MELISSA E MELENDEZ     61 BATES RD                                                                          FRAMINGHAM       MA 01702‐8740
MS MELISSA M JAMES        734 HOLLISTER ST                                                                     PONTIAC          MI 48340‐2428
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MS MELISSA M KELLING        845 E MOUNT MORRIS ST                                                                MOUNT MORRIS     MI 48458‐2053
MS MELISSA M KIRKLAND       1391 BRADY AVE                                                                       BURTON           MI 48529‐2009
MS MELISSA M REEF           4668 PEERLESS RD                                                                     BEDFORD          IN 47421‐8115
MS MELISSA M SMITH          11636 CHURCH ST                                                                      MOUNT MORRIS     MI 48458‐2060
MS MELISSA MELTON           707 W WILLARD ST                                                                     MUNCIE           IN 47302‐2229
MS MELISSA MOHAMED          11 DEERFIELD LN                                                                      PONTIAC          MI 48340‐1228
MS MELISSA MORTON           829 E MOUNT MORRIS ST                                                                MOUNT MORRIS     MI 48458‐2071
MS MELISSA R GULLEY         62 W BEVERLY AVE                                                                     PONTIAC          MI 48340‐2616
MS MELISSA R WEST           1430 W 11TH ST                                                                       MUNCIE           IN 47302‐2171
MS MELISSA R WEST           1432 W 11TH ST                                                                       MUNCIE           IN 47302‐2171
MS MELISSA RIZZO            21 ROCKAWAY ST                                                                       MASSENA          NY 13662‐2111
MS MELISSA SISCO            5461 CHEVROLET BLVD APT A302                                                         PARMA            OH 44130‐1455
MS MELISSA STEVENSON        2338 CENTER AVE                                                                      JANESVILLE       WI 53546‐9007
MS MELISSANDE R DEARDURFF   9903 JULIE DR                                                                        YPSILANTI        MI 48197‐7093
MS MELLISSA A BUHL          2305 PINE LAKE AVE                                                                   KEEGO HARBOR     MI 48320‐1428
MS MELLISSA BICKERSON       1407 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2182
MS MELODEE M MURRAY         4185 WOODROW AVE                                                                     BURTON           MI 48509‐1051
MS MELODY B NORMAN          290 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1755
MS MELODY E VANOY           5900 BRIDGE RD APT 604                                                               YPSILANTI        MI 48197‐7010
MS MELODY J GRAVLEE         17 BRIGHTON ST APT 1                                                                 MASSENA          NY 13662‐2287
MS MELODY M HAGAR           7070 HARVARD AVE                                                                     MOUNT MORRIS     MI 48458‐2145
MS MELONIE AUSTIN           1304 OAK ST                                                                          BEDFORD          IN 47421‐1832
MS MELVINIA D GAINES        608 PAGE ST                                                                          FLINT            MI 48505‐4736
MS MENDY J TRACY            1424 W 9TH ST                                                                        MUNCIE           IN 47302‐2167
MS MENROSE E ELLIOTT        1352 LOCKE ST                                                                        PONTIAC          MI 48342‐1948
MS MERIAN S REDMAN          417 SPRUCE ST                                                                        MOUNT MORRIS     MI 48458‐1938
MS MERIEL M CLARK           4409 N NEW YORK AVE                                                                  MUNCIE           IN 47304‐1159
MS MERILYN S AUSTIN         1189 E HARVARD AVE                                                                   FLINT            MI 48505‐1523
MS MERLETTA M GOSS          1323 GRAM ST                                                                         BURTON           MI 48529‐2021
MS MERLYN A BROWN           1186 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MS MERRY A COX              1411 Q ST                                                                            BEDFORD          IN 47421‐3640
MS MERTIS J PERRAS          283 MAIN ST APT 1                                                                    MASSENA          NY 13662‐1954
MS MI R HONG                10804 TIDES CT                                                                       FREDERICKSBRG    VA 22408‐8076
MS MIA M MOTT               737 NEWMAN LN                                                                        PONTIAC          MI 48340‐3305
MS MICAELA GARZA            729 STANLEY AVE                                                                      PONTIAC          MI 48340‐2472
MS MICARLE E FELTON         665 STIRLING ST                                                                      PONTIAC          MI 48340‐3162
MS MICHAELE NELSON          2001 N CENTER RD APT 305                                                             FLINT            MI 48506‐3183
MS MICHAELEE BINGE          52 UNIVERSITY PLACE DR                                                               PONTIAC          MI 48342‐1886
MS MICHELE BEYNON           155 WALNUT AVE                                                                       CLARK            NJ 07066‐1201
MS MICHELE DALTON           1205 BRISTOL COURT DR                                                                MOUNT MORRIS     MI 48458‐2180
MS MICHELE KEIFER           800 W LINDWETH PL # 100                                                              MUNCIE           IN 47303‐2948
MS MICHELE L BUSH           2066 E JUDD RD                                                                       BURTON           MI 48529‐2403
MS MICHELE L SMART          1320 E CORNELL AVE                                                                   FLINT            MI 48505‐1751
MS MICHELE L TAYLOR         3749 IVANHOE AVE                                                                     FLINT            MI 48506‐4213
MS MICHELE M CHRISTENSEN    2205 S PALM ST                                                                       JANESVILLE       WI 53546‐6116
MS MICHELE M LIGHTLE        581 HELEN ST                                                                         MOUNT MORRIS     MI 48458‐1922
MS MICHELE MCDONNELL        402 S WOODWARD AVE                                                                   WILMINGTON       DE 19805‐2363
MS MICHELE MITCHELL         4841 TOLEDO ST                                                                       DETROIT          MI 48209‐1374
MS MICHELE R HUBBLE         203 W RUTGERS AVE                                                                    PONTIAC          MI 48340‐2763
MS MICHELL JOHNSON          1716 W 10TH ST                                                                       MUNCIE           IN 47302‐2143
MS MICHELL K KINNETT        1935 W 8TH ST                                                                        MUNCIE           IN 47302‐2117
MS MICHELLE A AGUILAR       4086 RISEDORPH ST                                                                    BURTON           MI 48509‐1040
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Name                        Address1                       Address2            Address3         Address4         City            State Zip
MS MICHELLE A DOUCETTE      1140 AMOS ST                                                                         PONTIAC          MI 48342‐1802
MS MICHELLE A HARLEY        2918 HARWICK DR APT 11                                                               LANSING          MI 48917‐2358
MS MICHELLE A POSTELL       494 FOX HILLS DR N APT 2                                                             BLOOMFIELD       MI 48304‐1338
MS MICHELLE A POSTELL       15 APPLE LN                                                                          PONTIAC          MI 48340‐1600
MS MICHELLE A SANDULA       2237 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2447
MS MICHELLE A STEVENSON     315 N DEERFIELD AVE                                                                  LANSING          MI 48917‐2910
MS MICHELLE CAMPBELL        11832 UNION ST                                                                       MOUNT MORRIS     MI 48458‐1792
MS MICHELLE D DARDEN        370 W HOPKINS AVE APT 303                                                            PONTIAC          MI 48340‐1762
MS MICHELLE D KNISLEY       57 W BEVERLY AVE                                                                     PONTIAC          MI 48340‐2617
MS MICHELLE DENNIS          707 WOODSEDGE RD                                                                     WILMINGTON       DE 19804‐2625
MS MICHELLE DRAGOS          PO BOX 36                                                                            BELLEVILLE       MI 48112‐0036
MS MICHELLE E PANZER        1510 KING ST                                                                         JANESVILLE       WI 53546‐6028
MS MICHELLE E RICHTER       340 W YALE AVE                                                                       PONTIAC          MI 48340‐1753
MS MICHELLE E WARREN        2199 E MCLEAN AVE                                                                    BURTON           MI 48529‐1741
MS MICHELLE ELLIS           537 WEYBRIDGE DR                                                                     BLOOMFIELD       MI 48304‐1081
MS MICHELLE JOHNSON         1609 W 6TH ST                                                                        MUNCIE           IN 47302‐2186
MS MICHELLE L CURRIER       15 PROSPECT AVE                                                                      MASSENA          NY 13662‐1749
MS MICHELLE L GREENBERG     5701 CHEVROLET BLVD APT C218                                                         PARMA HEIGHTS    OH 44130‐8729
MS MICHELLE L ISAAC         1239 N LAFOUNTAIN ST                                                                 KOKOMO           IN 46901‐2921
MS MICHELLE L NATIONS       2224 E WHITTEMORE AVE                                                                BURTON           MI 48529‐1728
MS MICHELLE L RAGON         1008 N INDIANA AVE                                                                   KOKOMO           IN 46901‐2722
MS MICHELLE L RUSSO         211 W FAIRMOUNT AVE                                                                  PONTIAC          MI 48340‐2741
MS MICHELLE L SHAFF         138 THE WOODS                                                                        BEDFORD          IN 47421‐9300
MS MICHELLE L SMITH         83 W YALE AVE                                                                        PONTIAC          MI 48340‐1861
MS MICHELLE L TWICHELL      816 MORRIS AVE                                                                       LANSING          MI 48917‐2319
MS MICHELLE L WHITEHEAD     2140 E PARKWOOD AVE                                                                  BURTON           MI 48529‐1766
MS MICHELLE LAWRENCE        10 DODGE ST                                                                          MASSENA          NY 13662‐1344
MS MICHELLE M FROMWILLER    2052 E WILLIAMSON ST                                                                 BURTON           MI 48529‐2442
MS MICHELLE M GRAMBUSH      513 E BARRETT AVE                                                                    MADISON HTS      MI 48071‐4301
MS MICHELLE M SHULER‐GAUL   1116 CLOVERLAWN DR                                                                   PONTIAC          MI 48340‐1614
MS MICHELLE M SRAMKOSKI     2111 MORRIS AVE                                                                      BURTON           MI 48529‐2179
MS MICHELLE M TEALL         2412 OAKWOOD DR                                                                      FLINT            MI 48504‐6509
MS MICHELLE M WISE          7085 ROOT ST LOT 230                                                                 MOUNT MORRIS     MI 48458‐9411
MS MICHELLE MATISON         2175 COUNTY ROUTE 49                                                                 WINTHROP         NY 13697‐3207
MS MICHELLE N BIRCHETT      5900 BRIDGE RD APT 211                                                               YPSILANTI        MI 48197‐7009
MS MICHELLE OAKLEY          1704 14TH ST                                                                         BEDFORD          IN 47421‐3635
MS MICHELLE P KRAMPE        2035 WILMAR ST                                                                       BURTON           MI 48509‐1121
MS MICHELLE PRITCHETT       1097 MOUNT PLEASANT RD                                                               BEDFORD          IN 47421‐8028
MS MICHELLE R BASSETT       1459 KENNETH ST                                                                      BURTON           MI 48529‐2209
MS MICHELLE R BURKHART      2366 FERGUSON RD                                                                     ONTARIO          OH 44906‐1177
MS MICHELLE R CERVI         29379 ELMIRA ST                                                                      LIVONIA          MI 48150‐3154
MS MICHELLE R HAGGARD       2040 E SCHUMACHER ST                                                                 BURTON           MI 48529‐2434
MS MICHELLE R HUFFER        830 MORRIS AVE                                                                       LANSING          MI 48917‐2319
MS MICHELLE R JONES         1016 EASTFIELD RD                                                                    LANSING          MI 48917‐2346
MS MICHELLE R REID          327 W PRINCETON AVE                                                                  PONTIAC          MI 48340‐1741
MS MICHELLE R RUBLE         1610 1ST ST                                                                          BEDFORD          IN 47421‐1604
MS MICHELLE R WOODARD       1615 N MORRISON ST                                                                   KOKOMO           IN 46901‐2152
MS MICHELLE ROBERTSON       704 ROBINWOOD ST                                                                     PONTIAC          MI 48340‐3139
MS MICHELLE SILVA           1447 E BRISTOL RD                                                                    BURTON           MI 48529‐2214
MS MICHELLE W RAMSDELL      46 RANSOM AVE                                                                        MASSENA          NY 13662‐1735
MS MICHELLE WICKES          1114 W 2ND ST # 3                                                                    MUNCIE           IN 47305‐2111
MS MICKIE A PETERS          5715 CHEVROLET BLVD APT A302                                                         CLEVELAND        OH 44130‐1483
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
MS MICKIE J HOOD         709 W 11TH ST                                                                        MUNCIE          IN 47302‐3132
MS MIGDALY CARRERO       28 GERDON AVE                                                                        PONTIAC         MI 48342‐1117
MS MIKA ONODA            614 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1304
MS MILAGROS M FLORES     44 STEGMAN LN                                                                        PONTIAC         MI 48340‐1662
MS MILDRED A BURTON      284 W YALE AVE                                                                       PONTIAC         MI 48340‐1751
MS MILDRED E WEDDLE      328 M ST                                                                             BEDFORD         IN 47421‐1817
MS MILDRED J CONOFF      3205 LOCKWOOD ST                                                                     DETROIT         MI 48210‐0911
MS MILDRED L CUMMINGS    1101 M ST                                                                            BEDFORD         IN 47421‐2928
MS MILDRED M STOWE       9 LAUREL AVE APT 804                                                                 MASSENA         NY 13662‐2058
MS MILDRED MILLER        2700 N WASHINGTON ST TRLT 38                                                         KOKOMO          IN 46901‐5843
MS MILDRED O DESTAFNEY   107 E KEYSTONE AVE                                                                   WILMINGTON      DE 19804‐2025
MS MILDRED R MYERS       1608 W 14TH ST                                                                       MUNCIE          IN 47302‐2976
MS MILDRED R STALLA      11440 GABRIELLA DR                                                                   CLEVELAND       OH 44130‐1337
MS MILDRED SPEER         620 PEERLESS RD                                                                      BEDFORD         IN 47421‐1548
MS MILLIE C SMITH        1020 17TH ST                                                                         BEDFORD         IN 47421‐4208
MS MINDIE N BOWEN        2151 E BERGIN AVE                                                                    BURTON          MI 48529‐1703
MS MINDY BEASLEY         1522 12TH ST                                                                         BEDFORD         IN 47421‐3102
MS MINDY FIEBIG          5581 CHEVROLET BLVD APT C202                                                         CLEVELAND       OH 44130‐1403
MS MINERVA DROPPS        149 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐2737
MS MINERVA STRONG        709 LOYOLA LN                                                                        FLINT           MI 48503‐5226
MS MINNIE E BARD         881 BAY ST                                                                           PONTIAC         MI 48342‐1903
MS MINNIE K GUTHERY      1178 DUDLEY AVE                                                                      PONTIAC         MI 48342‐1929
MS MINNIE K GUTHERY      803 MONTICELLO AVE                                                                   PONTIAC         MI 48340‐2325
MS MINNIE L JAMISON      137 W BEVERLY AVE                                                                    PONTIAC         MI 48340‐2621
MS MINNIE L WILLIAMS     551 HARRIET ST                                                                       FLINT           MI 48505‐4730
MS MINNIE M HOBGOOD      104 W PRINCETON AVE                                                                  PONTIAC         MI 48340‐1840
MS MINNIE M NICHOLS      5291 HARRY ST                                                                        FLINT           MI 48505‐1729
MS MINNIE NICHOLS        1294 E CORNELL AVE                                                                   FLINT           MI 48505‐1751
MS MIRACA S JACKSON      1154 AMOS ST                                                                         PONTIAC         MI 48342‐1802
MS MIRANDA D LEE         536 CAMERON AVE                                                                      PONTIAC         MI 48342‐1814
MS MIRANDA N MOSS        1437 READY AVE                                                                       BURTON          MI 48529‐2051
MS MIRANDA WOODS         69 MAIN ST                                                                           MASSENA         NY 13662‐1964
MS MIREYA ALLEN          1109 EASTFIELD RD                                                                    LANSING         MI 48917‐2347
MS MIRIAM AGUILA         63 BATES RD                                                                          FRAMINGHAM      MA 01702‐8740
MS MIRIAM L JOHNSON      742 E FOX HILLS DR                                                                   BLOOMFIELD      MI 48304‐1361
MS MIRIAM R CUNHA        51 BATES RD                                                                          FRAMINGHAM      MA 01702‐8740
MS MIRJANKA RADOJCIN     11671 HARTEL ST APT 2                                                                LIVONIA         MI 48150‐2387
MS MISHELLE M DERMINER   2161 E JUDD RD                                                                       BURTON          MI 48529‐2404
MS MISHELLE M DERMINER   2240 E SCHUMACHER ST                                                                 BURTON          MI 48529‐2438
MS MISSY WRAY            1528 16TH ST                                                                         BEDFORD         IN 47421‐3697
MS MISTY JOYNER          1211 3RD ST                                                                          BEDFORD         IN 47421‐1803
MS MISTY MEYERS          2229 E WHITTEMORE AVE                                                                BURTON          MI 48529‐1727
MS MISTY MORRIS          229 WHITE LN                                                                         BEDFORD         IN 47421‐9224
MS MIYA ARMSTRONG        576 S HARRINGTON ST                                                                  DETROIT         MI 48209‐2874
MS MOHAMMAD A ALIAN      425 FOX HILLS DR N                                                                   BLOOMFIELD      MI 48304‐1309
MS MOLLY A FLAGG         38 PARKER AVE                                                                        MASSENA         NY 13662‐2215
MS MOLLY J WAMBOLD       2001 N CENTER RD APT 329                                                             FLINT           MI 48506‐3167
MS MONA K FLYNN          1305 K ST APT 234                                                                    BEDFORD         IN 47421‐3242
MS MONA Z OBEIDY         28801 PLYMOUTH RD                                                                    LIVONIA         MI 48150‐2385
MS MONICA BROWN          1401 S KINNEY AVE                                                                    MUNCIE          IN 47302‐3154
MS MONICA D JORDAN       1404 BRISTOL COURT DR                                                                MOUNT MORRIS    MI 48458‐2182
MS MONICA EMBRY          1038 E GRAND BLVD                                                                    FLINT           MI 48505‐1506
